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                  UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF NEW YORK
______________________________________________________________________

JESSIE J. BARNES,
                                                     Plaintiff,
             v.                                                         9:19-CV-109
                                                                        (ECC/MJK)

DONALD UHLER, et al.,
                                            Defendants.
______________________________________________________________________
JESSIE J. BARNES, Plaintiff, pro se
THOMAS A. CULLEN, Asst. Attorney General, for Defendant

MITCHELL J. KATZ, U.S. Magistrate Judge

TO THE HONORABLE ELIZABETH C. COOMBE, U.S. DISTRICT JUDGE:

                   ORDER and REPORT-RECOMMENDATION

      This matter has been referred to me for Report and Recommendation by United

States District Judge Elizabeth C. Coombe, pursuant to 28 U.S.C. § 636(b) and Local

Rule N.D.N.Y. 72.3(c). Plaintiff, a prolific pro se litigant in this district, commenced

this action by filing a civil rights complaint on January 28, 2019, alleging various

constitutional violations that occurred while he was incarcerated at Upstate Correctional

Facility (“Upstate C.F.”), in the custody of the New York State Department of

Corrections and Community Supervision (“DOCCS”). ( . No. 1).

      The procedural history of this case is lengthy and complex. The original filed 77-

page complaint named 106 individuals as defendants, and plaintiff sought to proceed in


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forma pauperis. (“IFP”). (Dkt. Nos. 1, 2). On April 8, 2019, the court issued a decision

and order granting plaintiff’s IFP application and accepting plaintiff’s complaint for

filing with respect to some claims and dismissing the remainder of the claims asserted.

(Dkt. No. 14). On October 15, 2019, defendants filed a partial motion to dismiss, which

the court granted on May 5, 2020. (Dkt. Nos. 95, 130). On October 28, 2020, plaintiff

filed an amended complaint. (Dkt. No. 166) (Amended Complaint (“AC”)). Named

defendant Annucci filed a motion to dismiss on March 4, 2021, and the non-moving

defendants filed answers to the amended complaint. (Dkt. Nos. 206, 230). The court

granted Annucci’s motion to dismiss on October 20, 2021. (Dkt. No. 260). The

remaining defendants and claims in this action are as follows:

      1.     Eighth Amendment excessive force and/or failure to intervene claims:

             (a) February 8, 2016, as to defendants Dustin Hollenbeck (“CO
                 Hollenbeck”), Austin Helms (“CO Helms”), and Ronald Pryce (“CO
                 Pryce”);

             (b) March 23, 2016, as to defendants Scott Santamore (“Sgt. Santamore”),
                 Justin Russell (“CO Russell”), and CO Hollenbeck;

             (c) March 26, 2016, as to defendants Jon Ayers (“CO Ayers”), Corey Law
                 (“CO Law”), CO Hollenbeck, Benjamin Page (“CO B. Page”), Richard
                 Scott (“CO Scott”), and Bruce Dimick (“CO Dimick”);

             (d) April 12, 2016, as to defendants Bruce Truax (“Sgt. Truax”), B. Fleury
                (“CO Fleury”), Garth Stephen (“CO Stephen”), CO Helms, CO Pryce,
                James Lord (“CO Lord”), Jessica Page (“CO J. Page”), and Kevin St.
                Mary (“CO St. Mary”);

             (e) February 13, 2017, as to defendants Nathan Locke (“CO Locke”),

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            Jarrod Cook (“CO Cook”), Robert Lamica, III (“CO Lamica”), CO
            Ayers, Mark Baily (“CO Baily”), Wes Lincoln (“CO Lincoln”),
            William Hoffnagle (“Sgt. Hoffnagle”), and Brett Derouchie (“Sgt.
            Derouchie”);

         (f) June 21, 2018, as to defendants CO Hollenbeck, Sgt. Fletcher, and
             Stephen Salls (“Lt. Salls”); and

         (g) June 22, 2018, as to defendants Lt. Salls, Robert Barkman (“Lt.
            Barkman”), Jaime Burroughs (“CO Burroughs”) Barry Burdette (“CO
            Burdette”), Cory King (“CO King”), Eric Marshall (“CO Marshall”),
            Marshall Bush (“Sgt. Bush”), and Thomas Smith (“CO Smith”).

   2.    Eighth Amendment conditions of confinement claims against defendants
         CO Hollenbeck, Sgt. Fletcher, and Lt. Salls related to plaintiff’s placement
         in a cell near incarcerated individual Raszell Reeder.

   3.    Eighth Amendment conditions of confinement claims against defendants
         Sgt. Fletcher, CO Hollenbeck, Donald Uhler (“Superintendent Uhler”),
         Earl Bell (“Superintendent Bell”), and Paul Woodruff (“DSS Woodruff”)
         related to Fixed Protective Hatch Covers and Retention Straps.

   4.    First Amendment retaliation claims:

         (a) February 8, 2016, as to defendants CO Hollenbeck and Roxanne
             Leclerc (“ORC Leclerc”);

         (b) October 14, 2016, October 19, 2016, and November 17, 2016, as to
             defendant Randal Smith (“Sgt. Smith”);

         (c) February 13, 2017, as to defendants Sgt. Derouchie and CO Baily;

         (d) March 14-15, 2018, as to defendant Sgt. Fletcher;

         (e) June 20-21, 2018, as to defendants Jonathan Howell (“CO Howell”),
             CO Hollenbeck, Lt. Salls, Albert Gravlin, Jr. (“Capt. Gravlin”) and Sgt.
             Fletcher; and

         (f) June 22, 2018, as to defendants CO Marshall and Lt. Salls.

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         5.          Fourteenth Amendment due process claims against defendants
                     Superintendent Uhler, Superintendent Bell and DSS Woodruff related to
                     the implementation of restraint orders.

(See Dkt. Nos. 165 at 23; 245; 257; 260).

         Presently before the court is defendants’ motion for summary judgment pursuant

to Fed. R. Civ. P. 56 seeking dismissal of the amended complaint in its entirety. (Dkt.

Nos. 380, 382, 383, 384). Plaintiff did not file a response to the defendants’ motion,

despite the court affording him multiple extensions of time to do so. (Dkt. Nos. 387,

388, 389, 390, 391, 392, 393, 395). For the reasons set forth below, the court

recommends granting defendants’ motion for summary judgment in part and denying

defendants’ motion in part.

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I.        Summary Judgment
          “Summary judgment is proper if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” ING Bank N.V. v. M/V TEMARA, IMO, 892 F.3d 511, 518 (2d Cir. 2018). In

ruling on a summary judgment motion, the district court must first “determine whether

there is a genuine dispute as to a material fact, raising an issue for trial.” McCarthy v.

Dun & Bradstreet Corp., 482 F.3d 184, 202 (2d Cir. 2007) (internal quotations and

citations omitted).

          In reviewing the record to determine whether there is a genuine issue for trial, the

court must “construe the evidence in the light most favorable to the non-moving party,”

Costello v. City of Burlington, 632 F. 3d 41, 45 (2d. Cir. 2011), and “resolve all

ambiguities, and credit all factual inferences that could rationally be drawn, in favor of

the party opposing summary judgment.” Kessler v. Westchester County Dep’t of Social

Services, 461 F.3d 199, 206 (2d Cir. 2006). “Where the record taken as a whole could

not lead a rational trier of fact to find for the nonmoving party, there is no genuine issue



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for trial.” Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587

(1986)).

      “The moving party bears the initial burden of ‘showing that there is no genuine

dispute as to a material fact.’” CILP Assocs., L.P. v. PriceWaterhouse Coopers LLP,

735 F.3d 114, 123 (2d Cir. 2013) (quoting Vivenzio v. City of Syracuse, 611 F.3d 98,

108 (2d Cir. 2010). “When the moving party has carried its burden under Rule 56(c),

its opponent must do more than simply show that there is some metaphysical doubt as

to the material facts.” Matsushita Elec., 475 U.S. at 586. “The nonmoving party may

not rely on mere conclusory allegations nor speculation, but instead must offer some

hard evidence showing that its version of the events is not wholly fanciful.” D’Amico v.

City of New York, 132 F.3d 145,149 (2d Cir. 1998).

      “If the defendant in a run-of-the-mill civil case moves for summary judgment . . .,

the judge must ask [him or herself] not whether he thinks the evidence unmistakably

favors one side or the other but whether a fair-minded jury could return a verdict for the

plaintiff on the evidence presented. The mere existence of a scintilla of evidence in

support of the plaintiff’s position will be insufficient; there must be evidence on which

the jury could reasonably find for the plaintiff.” Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 252 (1986). “A court cannot credit a plaintiff’s merely speculative or

conclusory assertions.” DiStiso v. Cook, 691 F.3d 226, 230 (2d Cir. 2012).



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        When a party moves for summary judgment against a pro se litigant, the Second

Circuit requires that “pro se litigants have actual notice, provided in an accessible

manner, of the consequence of the pro se litigant’s failure to comply with the

requirements of Rule 56.” Irby v. New York City Transit Auth.,262 F.3d 412, 414 (2d

Cir. 2001). When such notice is given 1, courts in this district have routinely held that if

a pro se plaintiff fails to respond to a motion for summary judgment, the Court may

accept defendant’s factual assertions in the Statement of Material Facts as true to the

extent they are supported by the evidence in the record. See, Jackson v. Moore, No.

9:21-CV-1001 (GTS/ATB), 2023 WL 4710869, at *2 (N.D.N.Y. Apr. 14, 2023), report

and recommendation adopted, 2023 WL 4711091 (N.D.N.Y. July 24, 2023); Price v.

Oropallo, No. 9:13-CV-563 (GTS/TWD), 2014 WL 4146276, at *5 (N.D.N.Y. 2014);

Ahmed v. Frazer & Jones, Co., No. 5:13-CV-573, 2015 WL 470648 at *2 (N.D.N.Y.

2015); see also Local Rule 56.1(b).

        While courts are required to give due deference to a plaintiff’s pro se status, that

status “does not relieve [a pro se] plaintiff of his duty to meet the requirements

necessary to defeat a motion for summary judgment.” Salaam v. Stock, No. 9:19-CV-

00689(AMN/TWD), 2023 WL 3853811, at *2 (N.D.N.Y. Feb. 27, 2023), report and

recommendation adopted, 2023 WL 3579770 (N.D.N.Y. May 22, 2023) (citing



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 The Notice of Due Date to Respond to Motion for Summary Judgment was served upon the plaintiff by regular mail. Dkt.
No. 381.
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Jorgensen v. Epic/Sony Records, 351 F.3d 46, 50 (2d Cir. 2003)); Meagher v. State

Univ. Constr. Fund, No. 1:17-CV-0903 (GTS/C.F.H), 2020 WL 5504011, at *16

(N.D.N.Y. Sept. 11, 2020) (“where a non-movant willfully fails to respond to a motion

for summary judgment, a district court has no duty to perform an independent review of

the record to find proof of a factual dispute–even if that non-movant is proceeding pro

se”). “This requirement is not a mere formality; rather ‘this and other local rules

governing summary judgment are essential tools intended to relieve the district court of

the onerous task of hunting through voluminous records without guidance from the

parties.’” Id., citing Cao-Bossa v. New York State Dep’t of Lab., No. 1:18-CV-0509

(GTS/TWD), 2021 WL 3674745, at *1 (N.D.N.Y. Aug. 19, 2021). The Second Circuit

has ruled that “[a] district court has broad discretion to determine whether to overlook a

party’s failure to comply with local court rules,” including local rules relating to

requirements regarding the submission of and response to statements of material facts

on summary judgment motions, and to “conduct an assiduous review of the record.” Id.

(citing Holtz v. Rockefeller & Co., Inc., 258 F.3d 62, 73 (2d Cir. 2001) (citation and

internal quotation marks omitted)).

II. Excessive Force/Failure to Intervene

             A.     Legal Standard
      Incarcerated individuals enjoy Eighth Amendment protection against the use of
excessive force and may recover damages under 42 U.S.C. § 1983 for a violation of


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those rights. Hudson v. McMillian, 503 U.S. 1, 9-10 (1992). To sustain a claim of
excessive force, a plaintiff must establish both the objective and subjective elements of
an Eighth Amendment claim. Blyden v. Mancusi, 186 F.3d 252, 262 (2d Cir. 1999);
Romano v. Howarth, 998 F.2d 101, 105 (2d Cir. 1993).
      To satisfy the objective element of the constitutional standard for excessive force,
a defendant’s conduct must be “inconsistent with the contemporary standards of
decency.” Whitely v. Albers, 475 U.S. 312, 327 (1986) (citation omitted); Hudson, 503
U.S. at 9. The malicious use of force to cause harm constitutes a per se Eighth
Amendment violation, regardless of the seriousness of the injuries. Blyden, 186 F.3d at
263 (citing Hudson, 503 U.S. at 9). “The Eighth Amendment’s prohibition of ‘cruel and
unusual’ punishments necessarily excludes from constitutional recognition de minimis
uses of physical force, provided that the use of force is not of a sort repugnant to the
conscience of mankind.” Hudson, 503 U.S. at 9-10 (citations omitted). “Not every push
or shove, even if it may later seem unnecessary in the peace of a judge’s chambers,
violates a prisoner’s constitutional rights.” Sims v. Artuz, 230 F.3d 14, 22 (2d Cir. 2000)
(citation omitted). With respect to this element, the law is clear that “a claim of
excessive force may be established even if the victim does not suffer ‘serious’ . . . or
‘significant’ injury, . . . provided that the amount of force used is more than ‘de
minimis,’ or involves force that is ‘repugnant to the conscience of mankind.’ ” Hudson,
503 U.S. at 7-10.
      The subjective element requires a plaintiff to demonstrate the “necessary level of
culpability, shown by actions characterized by wantonness.” Id. at 21 (citation omitted).
The wantonness inquiry “turns on ‘whether force was applied in a good-faith effort to


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maintain or restore discipline, or maliciously and sadistically to cause harm.’ ” Id.
(quoting Hudson, 503 U.S. at 7). In determining whether defendants acted in a
malicious or wanton manner, the Second Circuit has identified five factors to consider:
             the extent of the injury and the mental state of the defendant; the
             need for the application of force; the correlation between that
             need and the amount of force used; the threat reasonably
             perceived by the defendants; and any efforts made by the
             defendants to temper the severity of a forceful response.

Scott v. Coughlin, 344 F.3d 282, 291 (2d Cir. 2003).
      To prevail on a claim of failure to intervene under Section 1983, a plaintiff must
show that the defendant saw and had reason to know that: (1) excessive force was being
used, or a person was being wrongfully arrested, or a constitutional violation was being
committed; and (2) the officer had a realistic opportunity to intervene and prevent the
harm from occurring. Universal Calvary Church v. City of N.Y., No. 96-CV-4606, 2000
WL 1538019, at *9 (S.D.N.Y. Oct. 17, 2000) (citing Anderson v. Branen, 17 F.3d 552
(2d Cir. 1994)); see also O’Neill v. Krzeminski, 839 F.2d 9, 11–12 (2d Cir. 1988)
(affirming grant of summary judgment with respect to a claim based on excessive force
an officer “had no realistic opportunity to attempt to prevent”).
      B.     Analysis
             1.     February 8, 2016 – Hollenbeck, Helms and Pryce
      Plaintiff alleges that on the morning of February 8, 2016, he was removed from
his cell by CO Helms and CO Hollenbeck and placed “on [the] wall.” (AC at ¶ 35).
Plaintiff’s transfer was due to maintenance work taking place on the recreation pen door
in his cell. (Id. at ¶ 36). Plaintiff alleges that he was initially handcuffed behind his
back with a retention strap applied to his handcuffs, and that the retention strap was

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removed once he was placed on the wall. (Id. at ¶ 35). Plaintiff alleges that CO
Hollenbeck then “pat-frisked” plaintiff, “purposely grabb[ing]” plaintiff’s genitals and
buttocks “very rough” to “provoke a confrontation.” (Id.).
        Plaintiff further alleges that upon later being returned to his cell, he placed his
cuffed hands with retention strap out of the tray slot for the restraints to be removed.
(AC at ¶ 37). Plaintiff asserts that CO Hollenbeck began to “maliciously and sinisterly
bend [plaintiff’s] fingers back inflicting extreme outrageous intense shock of pain
unnecessarily without any probable cause or justification.” (Id. at ¶ 38). Plaintiff
asserts that his reaction to the “excruciating pain” caused by CO Hollenbeck was to
“instinctively [pull] out of [CO Hollenbeck’s] death grip on his fingers[.]” (Id. at ¶ 39).
At this point, plaintiff alleges that CO Hollenbeck and CO Helms pulled plaintiff’s arm
out of the tray-slot and fixed protective hatch cover. (Id.). He further alleges that they
were “joined by” CO Pryce. (Id.). According to plaintiff, the incident caused his hands
to go numb with pain for “many many months.” (Id.).
        At his deposition, plaintiff provided additional detail surrounding these alleged
instances of excessive force. Plaintiff described the pat-frisk by CO Hollenbeck as
follows:
                 He was roughhousing me, grabbing my buttocks and stuff like,
                 you know, going up at me, you know, going up to my private
                 parts. He was . . . really roughhousing me.

(Plaintiff’s Deposition Transcript (“Pl. Dep.”) at 108) 2 (Dkt. No. 383-2). Plaintiff
testified that CO Hollenbeck’s hands remained on the outside of plaintiff’s pants



2
 Citations to the deposition transcript and documentary evidence refer to the pagination generated by CM/ECF at the
headers of the page, not to the pagination of the individual documents.
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throughout the pat-frisk. (Id. at 109-110). Plaintiff described the incident as a “grab-
frisk[.]” (Id. at 111). He did not sustain any bruising or other physical injuries. (Id.).
The pat-frisk lasted “maybe a minute or two.” (Id.). Other than the “roughhousing” and
“grab-frisking,” CO Hollenbeck did not use any other means of force during the pat-
frisk. (Id. at 112).
       With respect to the subsequent use-of-force incident, plaintiff testified that there
was no force used on him during his escort back to his cell. (Pl. Dep. at 115). He
further testified that upon placing his hands in the tray slot, the defendants did not take
his cuffs off right away, but “just . . . started bending [his] fingers and stuff.” (Id.).
Plaintiff asserts that the cuffs were “real tight,” and the defendants were pulling down
on plaintiff’s cuffs until plaintiff could not feel his hands anymore. (Id.). When asked
if he tried to pull his hands into the tray slot, plaintiff responded “I don’t – I don’t – no,
I don’t – no, I didn’t.” (Id. at 118).
       In support of their motion for summary judgment, defendants have submitted the
sworn declaration of CO Hollenbeck, who denies using excessive force by grabbing
plaintiff’s genitals and buttocks to provoke a confrontation on the morning of February
8, 2016. (Hollenbeck Decl. at ¶ 12) (Dkt. No. 380-18).
       CO Hollenbeck further describes the circumstances surrounding the subsequent
use of force, upon plaintiff’s later return to his cell, as follows:
              After the mechanical restraints were removed from
              plaintiff’s right hand, plaintiff turned around and grabbed
              my left arm with both hands and pulled my arm into the
              cell. COs Pryce, Helms, and I used body holds to pull
              plaintiff’s arm out of the cell, releasing plaintiff’s grip on
              my left arm. CO Pryce removed the mechanical restraints,
              and the feed-up hatch was secured.

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(Id. at ¶ 8). Defendants have also submitted video evidence depicting plaintiff’s return
to his cell on the morning of February 8th, and use-of-force incident that ensued.
(Cullen Aff. Ex. P-1). Additionally, defendants have submitted various incident reports
documenting the subsequent incident.3 (Cullen Aff. Ex. C) (Dkt. No. 383-3).
        With respect to the pat-frisk, the Second Circuit Court of Appeals has provided
specific, albeit changing, guidance regarding the application of Eighth Amendment
standards to cases involving searches of incarcerated individuals. In Boddie v.
Schnieder, Plaintiff alleged that he was physically and sexually harassed by a female
corrections officer, who on one occasion touched his penis and called him a “sexy black
devil,” and then 15 days later, pinned him to a door and pressed “her whole body . . .
against [his] penis.” 105 F.3d 857, 860 (2d Cir. 1997). The Second Circuit ruled that the
alleged limited conduct, even if true, did not violate the Eighth Amendment. Id. at 862.
The Second Circuit did acknowledge that sexual abuse of a prisoner by a corrections
officer may in some circumstances violate the prisoner’s right to be free from cruel and
unusual punishment. Id. at 860-61. (“There can be no doubt that severe or repetitive
sexual abuse of an inmate by a prison officer can be ‘objectively, sufficiently serious’
enough to constitute an Eighth Amendment violation.”). However, the Second Circuit
held that the “small number of incidents in which [Boddie] allegedly was verbally
harassed, touched, and pressed against without his consent . . . do not involve a harm of
federal constitutional proportions.” Id. at 861.



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  The court would take this opportunity to remind the parties that, although not required by the statute,
it is usually best practice to authenticate business records provided in support of a motion for summary
judgment whenever possible.
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      That decision remained the guiding law in the Second Circuit until August 11,
2015, when the Circuit re-examined the issue in Crawford v. Cuomo, 796 F.3d 252 (2d
Cir. 2015). In that case two incarcerated individuals, plaintiffs Crawford and Corley,
claimed that the defendants fondled their genitals during facility pat-frisks, and that
other defendants who were present were deliberately indifferent to the incarcerated
individuals’ plight. Crawford, 796 F.3d at 255. As to Plaintiff Corley, Defendant
Prindle allegedly told him that he was going to make sure Corley did not have an
erection, and thereafter ordered him to stand against the wall and spread his legs, and
when he did so, Defendant Prindle paused to fondle and squeezed Corley's penis. Id. As
to Crawford, it was alleged that Correction Officer Prindle grabbed and held his penis,
and asked, “what is that?” Upon the response, “that’s my penis, man,” Prindle pushed
him to the wall, continued to squeeze and fondle the area and roamed his hands down
Crawford’s thigh. Id.
      The district court dismissed the Plaintiffs’ claims of an Eighth Amendment
violation based upon Boddie. Crawford v. Cuomo, 2014 WL 897046, at *5 (N.D.N.Y.
Mar. 6, 2014). Upon review, the Second Circuit reversed the district court’s decision,
calling into question the continued application of Boddie to circumstances such as that
presented in the case. Crawford, 796 F.3d at 254. The Circuit noted that contemporary
standards of decency had evolved since Boddie was decided 15 years earlier, and that
the outcome in Boddie may have been different if decided in 2015. Id. at 259-60. In
particular, the Court noted that while there was no allegation of repetitive conduct, there
was also no penological interest that was being served by Defendant’s conduct. Id. at
258. (“There is no penological justification for checking to see if an inmate has an


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erection.”). Further, the timing of the search (in the middle of defendant Corley’s visit
with his wife), together with the defendant’s statements, were sufficient to suggest that
the frisk was a pretext for sexual abuse. Id. Similarly, as to Crawford, the squeezing and
fondling of Plaintiff’s genitalia, together with the roaming of the COs hands and
simultaneously taunting comments, was not done in pursuit of, or in the course of, any
legitimate duties. Id. at 258-59. In sum, the Second Circuit noted that the application of
Boddie “must change as the basic mores of society change.” Id. at 260. To this end, the
Second Circuit held that “[a] corrections officer’s intentional contact with an inmate’s
genitalia or other intimate area, which serves no penological purpose and is undertaken
with the intent to gratify the officer’s sexual desire or humiliate the inmate, violates the
Eighth Amendment.” Id. at 257.
    Here, plaintiff’s assertions as to the pat-frisk by CO Hollenbeck on February 8,
2016 are insufficient to sustain a claim for excessive force/sexual abuse even under the
evolving standards as expressed in Crawford and its progeny. At the outset, the court
seriously questions whether the evidence presented by plaintiff is sufficient to show that
CO Hollenbeck’s conduct was objectively serious for purposes of establishing an
Eighth Amendment violation. Although plaintiff describes the pat-frisk as “rough” and
involved the “grabbing” of his genitals and touching of his buttock, he also avers that it
left no physical injuries or bruising, that CO Hollenbeck’s hands remained on the
outside of plaintiff’s clothes, and that the incident in total lasted “maybe a minute or
two.”
        Moreover, the evidence is insufficient to establish that CO Hollenbeck acted with
a sufficiently culpable state of mind. Plaintiff does not contest that a legitimate


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penological purpose existed for the pat-frisk, to the extent he was being transferred to
another cell due to maintenance work in his cell. Moreover, plaintiff does not allege
that CO Hollenbeck made any verbal comments, or inappropriate gestures, during the
pat-frisk that would indicate a non-penological purposes or intent to gratify the officer’s
sexual desire/humiliate plaintiff. Even in post-Crawford cases, the courts in this district
have awarded summary judgment in the absence of such evidence, and under similar
circumstances suggesting a “run-of-the-mill pat down” insufficient to support an Eighth
Amendment claim. Cole v. Suffolk Cnty. Corr. Facility, No. 20-CV-1883, 2020 WL
2113205, at *4 (E.D.N.Y. May 4, 2020) (dismissing Eighth Amendment claim because
two instances of officer groping inmate’s genitals were not “particularly lengthy or
violent” and were “too similar to the type of incidental contact accompanying a run-of-
the-mill pat down to reasonably infer any inappropriate touching or malicious
intention”); see Carzoglio v. Abrams, No. 18-CV-04198, 2022 WL 2193376, at *8
(S.D.N.Y. June 17, 2022) (dismissing Eighth Amendment claim that was based on
corrections officer groping of inmate’s buttocks for “no more than three seconds on two
different occasions” during appropriately ordered pat frisks); Lynch v. Cnty. of
Herkimer, No. 9:20-CV-63, 2022 WL 866745, at *12-14 (N.D.N.Y. Feb. 16, 2022)
(granting summary judgment against pretrial detainee where corrections officer’s
“routine pat search” of detainee was “undisputedly warranted,” supported by “a
legitimate penological basis,” and caused no pain or other injury to detainee other than
humiliation and shame, despite search including officer “rubb[ing] [detainee’s] chest
and squeez[ing] his right buttock for between five to ten seconds”); Vann v. Sudranski,
No. 16-CV-7367, 2020 WL 3001072, at *6 (S.D.N.Y. June 4, 2020) (no Eighth


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Amendment claim where corrections officer made only brief contact with inmate’s fully
clothed genital area during “routine and necessary pat frisk” to search for contraband);
Washington v. Piper, No. 18-CV-7783, 2019 WL 6343516, at *5 (S.D.N.Y. Nov. 26,
2019) (“Plaintiff’s bare allegations of a poke to the groin while he was . . . inside . . . his
housing unit fail to assert sufficient facts” to establish “an act which is sufficiently
severe and serious” under the Eighth Amendment); Dozier v. Franco, No. 17-CV-3348,
2018 WL 3094935, at *3 (S.D.N.Y. June 22, 2018) (no Eighth Amendment claim where
inmate alleged “a single incident that took place during a routine pat frisk to which all
inmates were subjected on their way to the . . . recreation area,” and where inmate failed
to allege “facts that would demonstrate that the conduct was undertaken to humiliate
him or to sexually gratify [corrections officer]”) (internal quotation marks omitted)).
      Plaintiff alleges that CO Hollenbeck had a history of being “aggressive” and
“confrontational” toward him. (AC at ¶ 31). Plaintiff also asserts that between January
28, 2016 and February 1, 2016, he submitted grievances concerning sexually harassing
comments made by CO Hollenbeck. (AC at ¶ 33). Of note is copy of a February 1,
2016 grievance submitted by plaintiff in support of his amended complaint, in which
plaintiff complains of, among other things, CO Hollenbeck threatening to “shove
something up [plaintiff’s] ass . . . .” (Dkt. No. 166-2 at 24). However, even assuming
the truth of plaintiff’s assertions, the court does not find that such non-contemporaneous
comments raise a material question of fact as to whether CO Hollenbeck’s “rough” pat-
frisk on February 8, 2016 - which was conducted pursuant to a transfer out of plaintiff’s
cell, left no physical injuries, and did not involve any sexually harassing comments -
rose to the level of an Eighth Amendment violation. See Joseph v. Annucci, No. 18-


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CV-7197, 2020 WL 409744, at *8 (S.D.N.Y. Jan. 23, 2020) (The Court recognizes that
“a pat frisk, involving some physical contact, is a standard procedure inside a prison.”).
Accordingly, the court recommends granting summary judgment on plaintiff’s Eighth
Amendment claim arising out of CO Hollenbeck’s pat-frisk on February 8, 2016.
      Turning to the latter use-of-force incident alleged to have occurred on February
8th, there is no dispute, and the video evidence substantiates, that plaintiff was not
subject to any force during his escort to his cell, or while being placed inside of his cell.
Notably, the video evidence shows that, without any apparent physical provocation,
plaintiff was screaming vulgarities and being openly hostile to the defendant corrections
officers during the approximate one-minute period during which he was escorted down
the hall and placed in his cell. (Cullen Aff. Ex. P-1 at 10:08:21-10:09:08). The video
evidence, although not ideal in quality, also contradicts plaintiff’s allegations as set
forth in his initial grievance concerning this incident – in which he states that CO
Hollenbeck “rough housed” plaintiff outside of his cell door, and that CO Hollenbeck
further “jerked” plaintiff back and “pushed” plaintiff up against the wall while
“screaming, ‘I ain’t tell you to go in the cell.’” (See Cullen Aff. Ex. C at 27).
      In his amended complaint, plaintiff alleges that excessive force was applied once
he placed his cuffed hands out of the tray slot for his mechanical restraints to be
removed, at which time Defendant Hollenbeck “ben[t]” plaintiff’s fingers back. (AC at
¶ 39). At his deposition, plaintiff also described the force as “pulling down on the
cuffs” and “twisting” his hands/fingers. (Pl. Dep. at 119-20). Even viewing the
evidence in a light most favorable to plaintiff, courts have held that force like that
allegedly used by CO Hollenbeck in pulling, bending, and/or twisting plaintiff’s hands


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in conjunction with removing his handcuffs constitutes a de minimus use of force. See
Smith v. Fischer, No. 13-CV-6127, 2016 WL 3004670, at *13 (W.D.N.Y. May 23,
2016) (“The force used here, which amounts to a pull of an arm, was de minimis.”);
Montrond v. Spencer, No. 17-CV-10505, 2024 WL 1115937, at *17 (D. Mass. Mar. 14,
2024) (“unnecessary twists, squeeezes, and excessive force on [plaintiff’s] wrists and
hands, including excessive squeezes on his arms” did not rise to the level of an Eight
Amendment excessive force violation).
      Plaintiff’s allegations are inconsistent as to what transpired next. In his initial
grievance, plaintiff asserted that “without provocation,” CO Helms and CO Hollenbeck
began bending his fingers and then pulled plaintiff’s “left arm to shoulder” out of his
cell. (Cullen Aff. Ex. C at 26). In his amended complaint, plaintiff admits that he
instinctively pulled out of CO Hollenbeck’s grip due to the pain caused by the
twisting/bending of his hand/fingers. (AC at ¶ 39). However, at his deposition,
plaintiff denied trying to pull his hands away from the defendant corrections officers.
(Pl. Dep. at 118). The defendants’ account is consistent with the allegations in
plaintiff’s amended complaint, establishing that while the defendants were in the
process of removing the mechanical restraints on plaintiff’s wrist, plaintiff pulled his
hand, and consequently CO Hollenbeck’s arm, into the cell. (Hollenbeck Decl. ¶ 9;
Cullen Aff. Ex. C at 33-38, 42-45, 51). In response to this conduct, which plaintiff does
not plausibly dispute was in violation of a direct order, defendants aver, as is reflected
in the video evidence, that they “used body holds to pull plaintiff’s arm out of the cell,”
at which time they were able to remove the mechanical restraints. (Cullen Aff. Ex. P at
10:09:20-10:09:45; Pryce Decl. at ¶ 7, Dkt. No. 380-31).


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      On this record and considering the plaintiff’s undisputed resistance to the
corrections officers and their order to keep his hands out, no reasonable juror could
conclude that the defendants’ pulling on plaintiff’s arm to remove his mechanical
restraints was objectively unreasonable. See Casiano v. Ashley, 515 F. Supp. 3d 19, 26
(W.D.N.Y. 2021) (“Given plaintiff’s steadfast refusal to comply with the deputies’
directives, it was objectively reasonable for them to enter the room and to use some
force to get her to comply with their commands.”); Jackson v. Fiorini, No. 5:20-CV-
1215(GTS/ML), 2024 WL 942367, at *18 (N.D.N.Y. Mar. 5, 2024) (force applied by
defendant, which consisted primarily of holding plaintiff’s abdomen and left arm to
keep him in place and his hands away from his pants and helping to bring him to the
ground with the assistance of other officers when plaintiff continued to resist, was
“objectively reasonable under the circumstances known to defendant at the time the
altercation occurred.”); Berman v. Williams, No. 17-CV-2757, 2019 WL 4450810, at *6
(S.D.N.Y. Sept. 17, 2019) (“The defendants’ use of force during the Intake Search Area
incident was objectively reasonable because it was proportionate to the plaintiff’s
resistance. The plaintiff refused to comply with orders to remove his clothing in the
Intake Search Area, which was a legitimate command”). Plaintiff has not proffered any
evidence raising a material question of fact in this regard. Accordingly, the court
recommends granting summary judgment as to the excessive force/failure to intervene
claims against CO Hollenbeck, CO Helms and CO Pryce concerning the plaintiff’s
placement in his cell on February 8, 2016.




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                    2. March 23, 2016 – Santamore, Russell, and Hollenbeck
       Plaintiff alleges that on March 23, 2016, Sgt. Santamore approached plaintiff’s
cell after lunch and informed plaintiff that he would be “returning to pull [plaintiff] out
to speak to an investigator from the Inspector General’s office[.]” (AC at ¶ 44).
Plaintiff alleges that Sgt. Santamore returned to plaintiff’s cell at approximately 1:15
p.m. with CO Hollenbeck and CO Russell, to escort plaintiff to the interview. (Id. at ¶
45). CO Hollenbeck proceeded to place mechanical restraints on plaintiff’s wrists
“extremely tight,” about which plaintiff complained to Sgt. Santamore prior to being
removed from the cell. (Id. at ¶¶ 46-47). Plaintiff alleges that Sgt. Santamore stated
that he would check the restraints when plaintiff came out of his cell. (Id. at ¶ 48).
       Plaintiff then alleges that, while restrained behind his back with a retention strap
attached, he was removed from his cell and placed on the wall to be pat-frisked. (Id. at
¶¶ 49-50). At this time, plaintiff alleges that CO Hollenbeck “rough-house pat-frisked”
plaintiff, “grabbing [plaintiff’s] penis and testic[les] as well as jabbing his hand between
[plaintiff’s] ‘buttocks.’” (Id. at ¶ 50). Plaintiff alleges that when he complained about
“this outrageous conduct,” Sgt. Santamore abruptly stated, “Oh put him back in his cell
now.” (Id. at ¶¶ 51-52). Plaintiff was placed back in his cell, at which time CO
Hollenbeck proceeded to “bend [plaintiff’s] fingers and without any justification began
to . . . pull” on the retention strap with CO Russell, as Sgt. Santamore watched. (Id. at ¶
53).
       At his deposition, plaintiff denied being threatened by any of the defendants
when he was first told about the interview with the Inspector General’s office. (Pl. Dep.
at 138). Plaintiff further denied that CO Hollenbeck used any other force on plaintiff


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while applying the mechanical restraints, other than applying them “awful tight.” (Id. at
140). Contrary to his initial allegations, plaintiff also testified that he was “never pat
frisked” on March 23, 2016 by CO Hollenbeck, or any of the other purportedly
involved defendants. (Id. at 141). Instead, plaintiff testified that when he asked for his
mechanical restraints to be loosened, the defendants put him back in his cell. (Id. at
140-41). Plaintiff recalls that one of the defendants, upon placing him back in the cell,
“was like bending [his] fingers,” and “did pull the retention strap a little bit.” (Id. at
141-42).
      In moving for summary judgment as to this claim, CO Hollenbeck denies placing
mechanical restraints on plaintiff “extremely tight.” (Hollenbeck Decl. at ¶ 18) (Dkt.
No. 380-18). CO Hollenbeck submits that the pat-frisk conducted in conjunction with
removing plaintiff from his cell on March 23, 2016 was “in accordance to set policy and
procedure,” and did not involve aggressive sexual conduct as described by plaintiff.
(Id. at ¶¶ 16, 18). Defendants further contend that during the pat-frisk, plaintiff would
not comply with staff direction and was becoming boisterous and refused to follow staff
directions. (Hollenbeck Decl. at ¶ 15; Santamore Decl. at ¶ 7, Dkt. No. 380-36). For
this reason, plaintiff was sent back into his cell. (Santamore Decl. at ¶ 7). CO
Hollenbeck also denies twisting plaintiff’s hands while removing plaintiff’s mechanical
restraints. (Hollenbeck Decl. at ¶ 16).
      Plaintiff testified that he did not break any bones or sustain any bruising as a
result of this incident. (Pl. Dep. at 142). He does allege that it “re-injured” his wrists,
with respect to numbness, tingling, burning sensations. (Pl. Dep. at 143). According to
the evidence submitted by defendants, Plaintiff was seen by medical staff that day with


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complaints that defendants had “squeezed” his hands while in mechanical restraints,
however a contemporaneous assessment of plaintiff by the medical staff revealed no
signs or symptoms of injury, and that plaintiff exhibited full range of motion. (Cullen
Aff. Ex. B at 167) (Dkt. No. 384).
      At the outset, plaintiff’s claim against CO Russell relative to March 23, 2016
should be dismissed. Plaintiff has failed to overcome the defendants’ evidence
establishing that CO Russell was not in the employ of Upstate C.F. until 2017. (Russell
Decl. at ¶ 4, Ex. A). Accordingly, no reasonable factfinder could conclude that he was
personally involved in the asserted constitutional violations.
      Moreover, even assuming the truth of plaintiff’s allegations with respect to the
way mechanical restraints were applied and removed from his wrists on March 23,
2016, plaintiff has failed to establish a claim of constitutionally cognizable proportion.
To be sure, overly tight handcuffing can in some circumstances constitute excessive
force. See Kerman v. City of New York, 261 F.3d 229, 239-40 (2d Cir. 2001). “In
evaluating the reasonableness of handcuffing, the Court is to consider evidence that:
1) the handcuffs were unreasonably tight; 2) the defendants ignored the plaintiff’s pleas
that the handcuffs were too tight; and 3) the degree of injury to the wrists.” Lynch ex
rel. Lynch v. City of Mount Vernon, 567 F. Supp. 2d 459, 468 (S.D.N.Y. 2008) (citation,
quotation marks, and alteration omitted). “The injury requirement is particularly
important.” Towns v. Stannard, No. 1:16-CV-01545 (BKS/DJS), 2017 WL 11476416,
at *3 (N.D.N.Y. Dec. 20, 2017) (quoting Usavage v. Port Auth. Of N.Y. & N.J., 932 F.
Supp. 2d 575, 592 (S.D.N.Y. Mar. 26, 2013) (internal quotation marks omitted)).
“These injuries need not be ‘severe or permanent,’ but must be more than merely ‘de


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minimis.’ ” Id. (quoting Vogeler v. Colbath, No. 04-CV-6071, 2005 WL 2482549, at *9
(S.D.N.Y. Oct. 6, 2005)). Furthermore, “[t]here is a consensus among courts in this
circuit that tight handcuffing does not constitute excessive force unless it causes some
injury beyond temporary discomfort.” Lynch, 567 F. Supp. 2d at 468; see also
Gonzalez, 2000 WL 516682, at *4 (E.D.N.Y. Mar. 7, 2000) (“[I]f the application of
handcuffs was merely uncomfortable or caused pain, that is generally insufficient to
constitute excessive force.”).
      Here, it is undisputed that immediately upon complaining of the tightness of his
handcuffs, Sgt. Santamore stated that he would check the cuffs when plaintiff came out
of his cell. It is also undisputed that due to plaintiff’s conduct when he came out of the
cell, the corrections officers decided to place him back in his cell, where they removed
his handcuffs and the retention strap. Plaintiff has offered no evidence to establish that
any of the defendants applied or removed the restraints “maliciously and sadistically
[to] cause[] harm,” or that his complaints were ignored. Courts in this district
“routinely dismiss claims of excessive force based on tight handcuffing where an
inmate asserts only a de minimis injury without plausible allegations of wantonness or
maliciousness.” Livingston v. Hoffnagle, No. 9:19-CV-0353 (GLS/C.F.H), 2019 WL
7500501, at *4 (N.D.N.Y. Nov. 8, 2019) (listing cases); see also Burroughs v. Mitchell,
325 F. Supp.3d 249, 265 (N.D.N.Y. 2018) (dismissing pro se inmate’s excessive force
claim where he alleged only that the defendants “handcuffed him tightly, which caused
cuts to his wrist”) (internal quotation marks omitted); Burroughs v. Petrone, 138 F.
Supp. 3d 182, 213 (N.D.N.Y. 2015) (dismissing excessive force claim based on tight
handcuffing where the complaint alleged, without more, that the handcuffs caused


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“pain, swelling, and bruising”) (internal quotation marks and brackets omitted).
      Last, the court recommends summary judgment dismissing plaintiff’s claim of
sexual abuse/excessive force relative to a pat-frisk conducted by CO Hollenbeck on
March 23, 2016. Credibility assessments and the choice between conflicting versions
of a story are generally for a jury to resolve. Rule v. Brine, Inc. 85 F.3d 1002, 1011 (2d
Cir. 1996). However, the Second Circuit recognized an exception to this rule in Jeffreys
v. City of New York, 426 F.3d 549 (2d Cir. 2005). In Jeffreys, the court held that
summary judgment may be granted in the rare case, “where there is nothing in the
record to support the plaintiff's allegations, aside from his own contradictory and
incomplete testimony, and even after drawing all inferences in the light most favorable
to the plaintiff, the court determines that ‘no reasonable person’ could credit . . . his
testimony.” Quick v. Quinn, No. 9:12-CV-1529 (DNH/DEP), 2014 WL 4627106, at *4
(N.D.N.Y. Sept. 11, 2014) (quoting Jeffreys, 426 F.3d at 54-55). In order for the court
to apply the Jeffreys exception, the defendant must satisfy each of the following: (1)
“the plaintiff must rely ‘almost exclusively on his own testimony,’ ” (2) the plaintiff’s
“testimony must be ‘contradictory or incomplete,’ ” and (3) the plaintiff’s testimony
must be contradicted by evidence produced by the defense. Id. (quoting Benitez v. Ham,
No. 04-CV-1159 (NAM/GHL), 2009 WL 3486379, at *20-21 (N.D.N.Y. Oct. 21, 2009)
(adopting report and recommendation) (quoting Jeffreys, 426 F.3d at 554)).
      In this case, plaintiff’s claim arising from the pat-frisk by CO Hollenbeck on
March 23, 2016 is based solely on plaintiff’s allegations. Furthermore, plaintiff’s
testimony as to what occurred during the pat-frisk is contradictory, to the extent that, at
his deposition, he insisted that he has “no claims against Hollenbeck for the pat frisk . .


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.,” and that his only complaint was the manner in which the defendants applied and
removed the mechanical restraints to his wrists. (Pl. Dep. at 141-42). To this end, the
defendants have produced party affirmations and documentary evidence substantiating
their contention that the pat-frisk conducted by CO Hollenbeck on March 23rd was
performed in accordance to set policy and procedure, and did not involve aggressive
sexual conduct. Accordingly, plaintiff’s testimony alone, which is replete with
inconsistencies as to what occurred during the pat-frisk on March 23rd, does not give
rise to a genuine dispute of material fact.
                           3.     March 26, 2016 – Ayers, Law, Hollenbeck, Page,
                                  Scott, and Dimick

      Plaintiff alleges that on March 26, 2016, he was escorted to a holding pen for a

search to be conducted of his cell. (AC at ¶¶ 54-57). When it came time for plaintiff to

be escorted back to his cell, plaintiff was removed from the holding pen with his hands

restrained behind his back, with CO Ayers “as his primary handler[.]” (Id. at ¶ 63).

Plaintiff alleges that a retention strap was applied to his mechanical restraints. (Id.). At

his cell, plaintiff was instructed to “turn and enter [his] cell[.]” (Id. at ¶ 64). Plaintiff

alleges that at that time, “without any provocation,” COs Ayers, Dimick, Law,

Hollenbeck, Page, and Scott “pull[ed plaintiff’s] cuffed hands needlessly and

senselessly with retention strap causing excruciating intense pain and suffering and

further damage to nerves in [plaintiff’s] wrists and hands.” (AC at ¶ 64).

      At his deposition, plaintiff elaborated that he initially refused to come out of his

cell at the direction of CO Hollenbeck. (Pl. Dep. at 146-47). Plaintiff eventually,
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voluntarily left his cell when CO Page and CO Ayers came to his cell. (Id. at 147-48).

Upon later being returned to his cell by CO Hollenbeck and “a bunch” of other

corrections officers, plaintiff was placed inside the cell, the door was closed, and he put

his hands through the slot to get the restraints off, without incident. (Id. at 154-55).

Plaintiff further testified that, at this point, “they” started pulling on the cuffs with the

retention strap. (Id. at 155-56). Plaintiff testified that he could not recall any other

force being used other than the pulling on the retention strap. (Id. at 156). He could not

estimate how long the pulling lasted. (Id.). He alleged the “reaggravat[ion]” of his hand

injuries, and that he “couldn’t feel his hands for a long time . . . . [and] had that stinging

numb burning sensation in [his] hand for a long time for some months [sic].” (Id. at

157).

        In moving for summary judgment as to plaintiff’s excessive force claim premised

on the March 26th incident, defendants maintain that once plaintiff was inside of his

cell, plaintiff “pulled the mechanical restraints into the cell. At which time force became

necessary.” (Cullen Aff. Ex E at 77) (Dkt. No. 383-5). Defendants assert that only an

appropriate amount of force was used to maintain control of the retention strap and

remove the mechanical restraints from plaintiff, which included pulling rearward on the

retention strap with both hands, gaining control of plaintiff’s hand and arms, and then

removing the mechanical restraints from plaintiff’s wrists, at which time all force

ceased. (Law Decl. at ¶¶ 7-8, Dkt. No. 380-24; Page Decl. ¶¶ 7-8, Dkt. No. 380-30;

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Dimick Decl. ¶¶7-8, Dkt. No. 380-13; Scott Decl. ¶ 8, Dkt. No. 380-37; Hollenbeck

Decl. ¶¶ 19-20, Dkt. No. 380-18). Defendants maintain that this is evidenced from the

video footage provided as an exhibit to their motion, as well as the contemporaneous

reports prepared in response to the incident. (See Cullen Exs. E; P-2 at 18:51:40-

18:52:40). Defendants have also submitted evidence that plaintiff was seen by a nurse

following the incident, at which time it was noted that plaintiff had a ¼ inch abrasion on

his right hand over the second knuckle without any bleeding, and good range of motion

to his hands and fingers. (Cullen Aff. Ex. E at 21, 78, 80). No swelling or bruising was

noted, and no further treatment was indicated. (Id.).

      As with plaintiff’s prior excessive force claims premised on general allegations

that the defendants pulled on his retention strap and/or twisted his hands in the context

of applying/removing plaintiff’s handcuffs, such conduct is insufficiently serious to

support plaintiff’s Eighth Amendment claim. The video evidence establishes that no

more than approximately 30 seconds transpired between the time plaintiff was placed in

his cell and the termination of any force by the defendants used in the process of

removing plaintiff’s mechanical restraints. As discussed, the general pulling of a

retention strap in the context of removing mechanical restraints, coupled with a de

minimus injury, does not amount to an Eighth Amendment violation. Accordingly, the

court recommends granting summary judgment to the defendants as to plaintiff’s



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excessive force and failure to intervene claims premised on the events of March 26,

2016.

                            4.     April 12, 2016 – Truax, Fleury, Stephen, Helms,
                                   Pryce, Lord, Page, St. Mary

        Plaintiff alleges that on April 12, 2016, he was escorted to the facility barber by

CO Fleury, CO Stephens, and Sgt. Truax. (AC at ¶ 24). The barber, who plaintiff refers

to as a “cadre,” was an incarcerated individual from general population who was given

a work assignment in the facility. (Pl.’s Dep. at 150-51). Plaintiff was handcuffed

behind his back during the escort, and remained handcuffed when he sat down in the

barber’s chair. (AC at ¶¶ 24-25). Plaintiff alleges that the barber “placed the

barbercloth around [his] neck so tight it was practically choking [plaintiff.]” (Id. at ¶

25). Plaintiff proceeds to allege that the barber “used his right hand to literally choke

[plaintiff] with his fingers in [plaintiff’s] neck cutting of [plaintiff’s] air circulation

completely[,]” as Sgt. Truax, CO Helms, CO Fleury, CO Stephens, CO Pryce and CO

Lord “all intently watched laughing hilariously at the . . . physical abuse of plaintiff[.]”

(Id. at ¶ 25). The barber proceeded to take his hand off of plaintiff’s neck, and then

“put his hand in a round vice-grip c-cup and wantonly slammed [the] palm of his hand

into [plaintiff’s] throat,” then “gripped [plaintiff’s] neck with his finger tips squeezing

madly choking [plaintiff] relentlessly” as the previously named corrections officers

“persisted to laugh hysterically . . . .” (Id. at ¶ 26). Plaintiff then alleges that Sgt. Truax


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“finally stepped up and stated ‘If you do not stop choking him right now Rasta I will

have to take you down because you are choking him to[o] much and to[o] hard.” (Id. at

¶ 27). There were no reports prepared concerning the use of force by the barber on

plaintiff. (Id. at ¶ 27). Plaintiff’s deposition testimony is mostly consistent with the

allegations in his complaint concerning this incident. Plaintiff alleges that he was

sitting in the chair when the barber grabbed him around the throat and choked him

“right in front of all the police[,]” while they were laughing. (Pl. Dep. at 160).

      Defendants proffer a much different description of the events surrounding

plaintiff’s haircut on April 12, 2016. According to the sworn declaration of Sgt. Truax,

the barber “use[d] his free hand to control plaintiff’s head by placing it under the chin

of plaintiff so he could cut plaintiff’s hair safely.” (Truax Decl. ¶ 8, Dkt. No. 380-41;

Cullen Aff. Ex. F at 10, Dkt. No. 383-6). Sgt. Truax purports to have observed the

barber cut hair several time prior to this incident, always using the same technique of

controlling the head so the hair cut can be done safely and correctly. (Truax Decl. ¶ 10;

Cullen Aff. Ex. F at 10). On this occasion, Sgt. Truax observed plaintiff to “grow

agitated, and . . . beg[in] to move his head backwards” when the barber placed his hand

under plaintiff’s chin. (Truax Decl. ¶ 9; Cullen Aff. Ex. F at 10). Upon seeing plaintiff

grow agitated, Sgt. Truax terminated the haircut and sent plaintiff back to his cell “to

avoid an incident,” to which the plaintiff complied. (Id.).



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      In seeking summary judgment, defendants first argue that no liability for failure

to intervene can attach to the defendant-corrections officers in this instance, because the

barber was not a “state actor,” and thus there is no underlying constitutional violation.

(See Def. MOL at 17). While the defendants correctly state this general premise, they

miss the point. “In order to establish liability on the part of a defendant under a failure

to intervene theory, a plaintiff must prove the use of excessive force by someone other

than the individual.” Lewis v. Mollette, 752 F. Supp. 2d 233, 244 (N.D.N.Y. 2010). The

courts in this Circuit have consistently recognized Eighth Amendment violations

premised on an officer’s failure to intervene in an ongoing attack by another

incarcerated individual. See Staton v. Farrell, No. 1:20-CV-01120, 2023 WL

10354380, at *7 (W.D.N.Y. Sept. 29, 2023), report and recommendation adopted, 2024

WL 1051986 (W.D.N.Y. Mar. 11, 2024) (“Indeed, an officer’s failure to intervene when

an inmate is attacked can constitute a violation of the inmate’s rights under the Eighth

Amendment.”) (citing Davidson v. Cannon, 474 U.S. 344, 348 (1986)).

      To establish liability on the part of a defendant under a failure to intervene theory

under these circumstances, plaintiff must establish that (1) the officer observed or had

reason to know that plaintiff was involved in a physical altercation with another

incarcerated individual; (2) the officer had reasonable opportunity to intervene; (3) the

officer failed to intervene; and (4) the officer’s failure to intervene was the proximate

cause of injuries sustained by the plaintiff. Rosen v. City of N.Y., 667 F. Supp. 2d 355,

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355 (S.D.N.Y. 2009); accord Williams v. Russo, 01-CV-6401, 2009 U.S. Dist. LEXIS

5086 (W.D.N.Y. Jan. 26, 2009). Stated another way, a corrections officer can be held

liable for failure to intervene in an attack on an incarcerated individual if the officer

“displays deliberate indifference when he has adequate time to assess a serious threat

against an inmate and a fair opportunity to protect the inmate without risk to himself,

yet fails to intervene.” Rosen, 667 F. Supp. at 360.

      Here, the competing narratives present a genuine issue of material fact as to

whether the event as described by plaintiff took place and whether at least some of the

named defendants had a reasonably opportunity to intervene if it did. Crediting

plaintiff’s version of the events, a reasonable jury could conclude that these defendants

exhibited deliberate indifference to a serious threat against plaintiff as they sat,

observed, and laughed at plaintiff being assaulted. Moreover, the court is not prepared,

on this summary judgment record, to conclude that plaintiff’s injuries were so de

minimus to render plaintiff’s claim inactionable.

      Notwithstanding this court’s recommendation that plaintiff’s failure-to-intervene

claim survive summary judgment, plaintiff has failed to establish a material question of

fact as to whether CO Lord and CO Pryce were personally involved in the purported

failure to intervene. When defense counsel asked plaintiff at his deposition whether

James Lord was present, plaintiff responded “I don’t know him.” (Pl. Dep. at 162).

Likewise, when plaintiff was asked if Ronald Pryce was present, he stated “I can’t

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remember. He might have been. I just can’t recall.” (Id.). CO Lord and CO Pryce have

both submitted sworn declarations stating that they were not present during the alleged

incident on April 12th. (Lord Decl. ¶ 6, Dkt. No. 380-28; Pryce Decl. ¶ 12, Dkt. No.

380-31). Moreover, plaintiff did not identify these defendant corrections officers as

being involved in the April 12th incident in his underlying grievance complaining of

said events. (Cullen Aff. Ex. F at 6). Accordingly, plaintiff has failed to demonstrate

that a genuine dispute of material fact exists as to CO Lord and CO Pryce’s personal

involvement in the alleged failure-to-intervene, and summary judgment should be

granted to these defendants as to this claim.

                           5.    February 13, 2017
      Plaintiff alleges two separate incidents of excessive force/failure to intervene

occurring on February 13, 2017.

                                 i.      Return to Cell - Locke
      Plaintiff alleges that on February 13th he was being returned to his cell by CO

Locke and CO Trombley after a disciplinary hearing, during which time a search of

plaintiff’s cell had been conducted. (AC at ¶¶ 78-83). As plaintiff was being escorted

to his cell, he “noticed” his cell was “totally ravaged” and “ ‘only’ repeatedly requested

to speak with dut[y] seargent.” (Id. at ¶ 84). Plaintiff alleges that despite the fact he

was restrained, and that he only requested to speak with the sergeant on duty, CO Locke

“screamed ‘Take him down,’ and proceeded to body slam plaintiff to [the] floor where


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[CO Locke] struck [plaintiff] in [the] face maliciously and sadistically several times

with a closed fist then heartlessly took his fist with a finger bent knuckle sticking out

and viciously jabbed his finger in [plaintiff’s] temple repeatedly twisting it to intensify

pain and suffering as well as jabbing [plaintiff] in [his] []neck and choking [plaintiff].”

(Id. at ¶ 85).

       At his deposition, plaintiff testified that after he asked to see a sergeant, CO

Locke told plaintiff to go into his cell. (Pl. Dep. at 185). Plaintiff replied “no, I’m –

I’m going to stay right here on the wall until the sergeant come.” (Id. at 185-86). Then,

as plaintiff “stood there,” CO Locke told CO Trombley to take plaintiff to the ground.

(Id.at 186). Plaintiff testified that he was jabbed in the neck, and “one of them” was

twisting his handcuffs. (Id. at 186). Plaintiff stated that “maybe” he was punched in the

back, but that he was not hit in the face. (Id. at 186-87).

       In support of their motion for summary judgment, defendants confirm that CO

Locke and CO Trombley were escorting plaintiff to his cell from a disciplinary hearing

on February 13, 2017. (Locke Decl. at ¶ 6) (Dkt. No. 380-27). Defendants also

confirm that plaintiff refused to enter his cell until he spoke with a sergeant, and that

plaintiff was “yelling loudly and turning towards [CO Locke] aggressively.” (Id. at ¶

7). CO Locke proceeded to “force[d] plaintiff to the floor using both of [his] hands on

[plaintiff’s] upper torso area.” (Id. at ¶ 8). CO Locke “then gained control of

[plaintiff’s] right arm using both [his] hands.” (Id.). Defendants aver that plaintiff

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continued resisting and attempted to bite CO Trombley and CO Locke. (Id.).

According to CO Locke, once compliance was gained, he assisted plaintiff to his feet

and all force ceased. (Id.). Defendants have submitted video evidence depicting the

underlying incident. (Cullen Aff. Ex. P-3 at 14:30:30-14:32:40).

        In this instance, the record evidence, even considered in the light most favorable

to plaintiff, demonstrates no dispute of material fact as to whether the force used by CO

Locke can satisfy either the objective or subjective components of an excessive force

analysis. To be sure, plaintiff’s allegations with respect to this claim are replete with

inconsistencies. With respect to the objective component, plaintiff testified that the

injuries he suffered from this incident included a sore rib, neck, and hands. (Pl. Dep. at

188). Although plaintiff alleges in his amended complaint that he was “struck . . . in

[the] face . . . several times with a closed fist” (AC at ¶ 85), he conceded at his

deposition that he was not hit in the face during this incident (Pl. Dep. at 187-88).

      Moreover, as plaintiff conceded at his deposition, CO Locke used force only

because of plaintiff’s explicit refusal to obey orders. The video evidence submitted by

defendants substantiates their argument that plaintiff was yelling as he was being

escorted to his cell, and shows plaintiff pulling away from the officers, exclaiming,

“Nah man, I ain’t going in there, man.” The video evidence further substantiates the

defendants’ position that, in response to plaintiff’s refusal to obey and resistance to the

corrections officers, CO Locke assisted with forcing plaintiff to the ground to gain

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compliance. Defendants contend, and the video evidence corroborates, that plaintiff

continued to be argumentative and noncompliant as the two officers attempted to

subdue him, and even directed him to “stand up.” All force ceased, and plaintiff was

assisted up from the ground, after approximately forty-five seconds. (Cullen Aff. Ex.

P3 at 14:30:30-14:32:00).

      Considering all this evidence together, no rational factfinder could conclude that

force was used against plaintiff in a malicious or sadistic manner, or that the force used

was not in a “good faith effort . . . to restore discipline.” Hudson, 503 U.S. at 6; see

also Bradshaw v. City of New York, 855 F. App’x 6, 9 (2d Cir. 2021) (“[The plaintiff]

clearly failed to prove the culpability of [the defendants’] states of mind when they

tackled and restrained him. It is uncontroverted that [the plaintiff] refused to interlace

his fingers behind his head when [the defendant] ordered him to do so, and the split-

second decision to bring [the plaintiff] to the ground and subdue him to eliminate the

security risk that the officers believed he posed was not excessive. Thus, the district

court properly granted summary judgment on [the plaintiff's] excessive force claim as it

relates to the initial tackle.”); Bermudez v. Waugh, No. 9:11-CV-0947(MAD/DEP),

2013 WL 654414, at *5 (N.D.N.Y. Jan. 29, 2013), report and recommendation adopted,

2013 WL 654401 (N.D.N.Y. Feb. 21, 2013) (finding allegations that defendant

“charged” plaintiff like a football player, hitting or punching plaintiff in the chest, upon

his explicit refusal to obey multiple orders insufficient to support an excessive force

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claim); Gillard v. Hamel, No. 09–CV–0431, 2012 WL 967064, at *4–6 (N.D.N.Y. Feb.

24, 2012) report and recommendation adopted, 2012 WL 960967 (N.D.N.Y. Mar. 21,

2012) (finding allegations that a defendant took the plaintiff’s hands, twisted his wrists,

placed his knee on his neck, and rubbed his face on the ground while trying to subdue

him in the course of an altercation with a fellow incarcerated individual insufficient to

establish an Eighth Amendment cruel and unusual punishment claim). Accordingly, the

court recommends granting defendants’ motion for summary judgment to the extent it

seeks dismissal of the excessive force claim against CO Locke premised on the use-of-

force incident that occurred as plaintiff was being escorted back to his cell on February

13, 2017.

                           ii.    Lower Holding Pen - Locke, Cook, Lamica, Ayers,
                                  Baily, Lincoln, Hoffnagle, Derouchie

      Plaintiff alleges that after the initial use of force on February 13th, he was

escorted to the lower holding pen where he was “held in [the] corner facing [the] wall,”

by CO Cook on his left side and CO Lamica on his right side. (AC at ¶ 88). Plaintiff

alleges that his hands were restrained in handcuffs locked to a waist chain. (Id. at ¶ 89).

According to plaintiff, CO Lamica used excessive force “by choking [plaintiff] . . . with

[plaintiff’s] shirt and striking [plaintiff] with a closed fist several times.” (Id.). Plaintiff

alleges that CO Cook observed this conduct and failed to intervene. (Id. at ¶ 90).

Plaintiff alleges that Sgt. Derouchie also observed CO Lamica’s conduct, and stated,


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             Jessie you are delusional he is not doing that to you and whining
             to me will not do you any good to be frank with you, you know I
             owe you Jessie for those two lawsuits you filed against me. The
             one you settled and the one you got pending against me now as
             we speak so you are gonna get what you got coming from me.

(Id. at ¶ 91). “After several more minutes” CO Lamica “ceased his . . . assault” on

plaintiff. (Id. at ¶ 92). Plaintiff then contends that, as his left handcuff restraint was

removed, during which time CO Cook held plaintiff’s handcuffed right hand, CO

Lamica “struck” plaintiff in the eye. (Id. at ¶¶ 93-94). Plaintiff was “then slammed to

[the] floor” by CO Lamica, CO Cook, and CO Ayers as CO Baily and CO Lincoln

“charged” into the holding cell, at which time they “pounced” on plaintiff. (Id. at ¶ 95).

Plaintiff alleges that all five defendant corrections officers were “repeatedly kicking,

stomping, and punching plaintiff.” (Id.). Sgt. Hoffnagle then walked over and “kicked

plaintiff in his face as [he] lay on the floor with [five] other officers on top of [plaintiff]

pummeling [him].” (Id. at ¶ 97). Plaintiff alleges that he was screaming in pain, yelling

“Oh my finger they are going to br[eak] it [sic] I am not resisting.” (Id. at ¶¶ 96, 98).

      At his deposition, plaintiff reiterated that CO Lamica was “choking him with

[his] shirt, twisting it,” and “punching [plaintiff] in the back and the ribs.” (Pl. Dep. at

190-91). Plaintiff explained that Sgt. Derouchie was “standing outside the pen, and

[plaintiff] was talking to him.” (Id. at 192). Plaintiff then testified that after some

period of time the corrections officers “went to remove” his hands from the mechanical

restraints. (Pl. Dep. at 193). Plaintiff admits that he “tried to hit” CO Lamica at that

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point, because CO Lamica had been choking him and plaintiff was “upset.” (Pl. Dep. at

193-95). Plaintiff denies that he actually made contact with CO Lamica. (Id. at 194).

Plaintiff testified that there was not any force being used on him at the time that he

attempted to hit CO Lamica. (Id. at 195). Plaintiff testified that CO Lamica proceeded

to “punch [plaintiff] in the face,” and then the defendant corrections officers “jumped”

on plaintiff and “took [him] down.” (Id. at 195-97).

      In seeking summary judgment, defendants have submitted sworn declarations,

documentary evidence, and video evidence as support for their contention that the

degree of force used by the corrections officers in the lower holding cell was, as a

matter of law, appropriate to restore discipline. (Cullen Aff. Exs. P-3, H at 131, 158-

169, Dkt. No. 383-8; Baily Decl. ¶¶ 7, 8, Dkt. No. 380-5; Lamica Decl. ¶ 6, Dkt. No.

380-23; Cook Decl. ¶ 6, Dkt. No. 380-11). Notably, the evidence proffered by

defendants, including CO Lamica’s sworn declaration and the reports prepared

contemporaneously with the February 13, 2017 incident, suggests that plaintiff did in

fact strike CO Lamica in the mouth/jaw area with a closed left hand blow. (Lamica

Decl. at ¶¶ 6-7; Cullen Aff. Ex. H at 20).

      Notwithstanding the undisputed fact that plaintiff at least attempted, if not

actually succeeded, to assault CO Lamica, the parties’ competing narratives preclude a

finding of summary judgment as to whether the totality of the defendants’ use of force

in the holding cell was reasonable as a matter of law. With respect to plaintiff’s

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complaints that CO Lamica was initially choking plaintiff and punching him in the back

and the ribs, defendants have failed to proffer any evidence showing that there is no

genuine dispute as to material facts concerning the amount of force used. The video

evidence submitted by the defendants, which does not include audio, merely shows that

CO Lamica held plaintiff by the neck area, with plaintiff’s face held against the holding

pen wall, for over seven minutes. Otherwise, the video evidence provides no greater

insight into what amount of force CO Lamica was applying to plaintiff’s neck during

this period of time, whether CO Lamica was in fact choking plaintiff with the collar of

his shirt, or what CO Lamica was doing with his right hand. Nor have the defendants

submitted evidence explaining what penological reason existed for CO Lamica to exert

the degree of force alleged by plaintiff for such a period of time.

      Furthermore, although there is no dispute that some degree of force was

appropriate to restrain plaintiff and restore discipline after plaintiff attempted

to/succeeded in assaulting CO Lamica, a reasonable jury could conclude, based on

plaintiff’s allegations, that the defendants maliciously used force against plaintiff after

he was subdued. See, e.g., Griffin v. Crippen, 193 F.3d 89, 90-92 (2d Cir. 1999)

(although plaintiff could offer only his own testimony and evidence of a bruised shin

and a swollen left knee in support of his excessive force claim, dismissal was

inappropriate because there were genuine issues of material fact concerning whether

correction officers, whom plaintiff admittedly assaulted, maliciously used force against

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him after he was subdued and handcuffed); Sims v. Artuz, 103 Fed. App’x 434, 437 (2d

Cir. 2004) (plaintiff’s allegations that he was kicked and punched while being removed

from his cell after causing a disruption, corroborated in part by documented minor

injuries were sufficient to withstand a summary judgement motion); Dallio v.

Sanatamore, 9:06-CV-1154 (GTS/DRH), 2010 WL 125774, at *9 (N.D.N.Y. Jan. 7,

2010) (because the court should not weigh the evidence or make credibility

determinations, summary judgment would be denied where plaintiff alleged that he was

repeatedly kicked and punched after he was subdued and restrained by correction

officers, notwithstanding the relatively minor injuries the plaintiff suffered and the

substantial contrary evidence proffered by the defendants); Cicio v. Lamora, 9:08-CV-

431 (GLS/DEP), 2010 WL 1063875, at *7-8 (N.D.N.Y. Feb. 24, 2010) (denying

summary judgment on plaintiff’s claim that defendant correction officer hit inmate

several times after he was subdued and helpless, despite “seemingly overwhelming”

contradictory evidence, including the fact that plaintiff suffered only a minor bruise).

Moreover, the competing narratives as to Sgt. Derouchie’s involvement in, and

knowledge of, the use-of-force precludes a finding of summary judgment.

      Accordingly, the court recommends denying summary judgment as to plaintiff’s

excessive force claim premised specifically on the events taking place in the lower-

holding cell on February 13, 2017.



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                           6.     June 21, 2018 – Hollenbeck, Fletcher, Salls

       Plaintiff alleges that on June 21, 2018, he learned he was going to be transferred

to a cell “one (1) cell away” from Raszell Reeder, another incarcerated individual who

plaintiff had previously encountered “kicking . . . steel door or banging on steel desk,

stool . . . desk, bed, sink or door to recreation pen all night every night for over two (2)

consecutive years.” (AC at ¶ 114). Plaintiff alleges that Upstate C.F. staff

“encourages” this individual’s compulsions by putting other incarcerated individuals

“they do not like or desire to abuse next to or a cell away” from him, and “rewarding”

him “with extra food to bang more persistently.” (Id. at ¶ 115).

       According to plaintiff, there came a time when Capt. Gravlin approached

plaintiff’s cell to “reconvene” a disciplinary hearing. (Id. at ¶116). Plaintiff then

alleges that, at 11:30 a.m., Capt. Gravlin, CO Salls and Sgt. Fletcher approached

plaintiff’s cell and “propel[ed] chemical aerosol in [plaintiff’s] cell causing fear of

death, cutting off [plaintiff’s] ability to breath, head-aches, [and extreme] chest pains . .

. .” (Id. at ¶ 118).

       Plaintiff’s deposition testimony provides additional facts surrounding this

incident, somewhat inconsistent with the allegations in his amended complaint.

Plaintiff testified that the incident on June 21st was based on accusations that plaintiff

was inappropriately disposing of certain garbage from his cell. (Pl. Dep. at 212-17).

Sgt. Fletcher was eventually called to plaintiff’s cell, and he informed plaintiff that

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plaintiff that he was going to be removed from his cell for a search. (Id. at 217).

Plaintiff initially testified that he could not recall whether he refused to come out of his

cell (Id. at 218), however subsequently conceded that he “told them [he] wasn’t going”

to be transferred to a different cell (Id.). Plaintiff specifically testified, “I wasn’t going

to let them move me in that cell.” (Id. at 219). At this point, the cell extraction team

was called to plaintiff’s cell, and plaintiff was sprayed which chemical agents. (Id. at

221). Plaintiff alleges that in addition to the chemical agents, he was subject to tight

handcuffs and being “drowned” in the shower while they were decontaminating him.

(Id. at 222, 229).

       The defendants’ submissions, including sworn declarations, documentary

evidence, and video footage, render summary judgment appropriate as to this claim, as

there is no genuine dispute whether the defendants conduct constituted excessive force.

Specifically, the video evidence substantiates the undisputed fact that plaintiff refused

to exit his cell, despite multiple orders to do so. This resulted in an extraction team

responding to plaintiff’s cell, at which time plaintiff was given additional orders to exit

his cell. Plaintiff refused to comply. At that time, Lt. Salls directed Sgt. Fletcher to

apply one application of chemical agents consisting of two one-second bursts of spray

to plaintiff. (Cullen Aff. Ex. P-4; Ex. J at 19, Dkt. No. 383-10). After Sgt. Fletcher

administered the chemical agent, plaintiff complied with further orders and exited the

cell without incident. (Id.). The video evidence does not otherwise support plaintiff’s

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contentions that he was subject to excessive force in the manner that his handcuffs were

subsequently applied, or that he was “drowned” during the decontamination shower.

        In the context of the Eighth Amendment, courts in this district have consistently

found that the use of a chemical agent to restore discipline and subdue an incarcerated

individual, who refuses to comply with orders, does not constitute excessive force.

Reeder v. Hogan, No. 9:09-CV-520 (NAM/ATB), 2013 WL 2632600, at *5 (N.D.N.Y.

June 11, 2013) (use of chemical agent by cell extraction team to remove noncompliant

plaintiff from his cell did not constitute excessive force); Boomer v. Lanigan, No. 00-

CV-5540, 2002 WL 31413804, at *5-6 (S.D.N.Y. Oct. 25, 2002) (correction officer did

not use excessive force when he sprayed “chemical agent” at pre-trial detainee, after

detainee refused to follow repeated orders to remove his arm from food slot in his cell);

Beauvoir v. Falco, 345 F. Supp. 3d 350, 369 (S.D.N.Y. 2018) (granting defendants

summary judgment in a § 1983 case because the “use of the pepper spray . . . was

permissible in the context of needing to maintain a baseline of order in the prison

system,” where “Plaintiff repeatedly resisted multiple officers’ orders”); Alston v.

Butkiewicus, No. 3:09-CV-207, 2012 WL 6093887 (D. Conn. Dec. 7, 2012) (use of

chemical agent did not constitute excessive force when incarcerated individual refused

to comply with direct orders).4


4
 Courts have also declined to find similar uses-of-force objectively unreasonable in the context of the
Fourteenth Amendment, which presents a stricter standard for assessing excessive force claims under

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       In this case, plaintiff disregarded repeated orders and efforts of the corrections

staff to exit his cell, and the defendants’ evidence establishes that, after deploying one

application of the chemical agent which resulted in plaintiff voluntarily exiting his cell,

corrections staff ceased the use of the chemical agent. Accordingly, defendants have

demonstrated an absence of a genuine issue of material fact as to this incident, as no

reasonable juror could find from the record evidence that defendants violated plaintiff’s

Eighth Amendment rights. The court therefore recommends granting summary

judgment as to plaintiff’s excessive force claim premised on the June 21, 2018 cell

extraction.

                             7.     June 22, 2018 – Salls, Barkman, Burroughs,
                                    Burdette, King, Marshall, Bush, Smith

                                    i.      Cell Extraction with Chemical Agent
       According to the amended complaint, plaintiff was returned to his cell from a

separate “suicide watch” room on the morning of June 22, 2018, at which time he

observed “over 100,000 page[s] of [his] legal documents . . . demolished.” (AC at ¶¶




the due process clause. See, e.g., Taylor v. Nieves, No. 17-CV-07360, 2020 WL 7028907, at *3
(S.D.N.Y. Nov. 30, 2020) (granting summary judgment on qualified immunity grounds in Fourteenth
Amendment excessive force case where pepper spray was used against an uncooperative detainee);
Quinones v. Rollison, No. 18-CV-01170, 2020 WL 6420181, at *4 (S.D.N.Y. Nov. 1, 2020) (granting
summary judgment on a Fourteenth Amendment excessive force claim where “the amount of force
used was small” and defendant “used only a two-second burst of pepper spray” against plaintiff);
Vazquez v. Spear, No. 12-CV-06883, 2014 WL 3887880, at *5 (S.D.N.Y. Aug. 5, 2014) (“[T]he . . .
single burst of a chemical agent, which is not a dangerous quantity, is not an unacceptable means of
controlling an unruly or disruptive inmate.” (internal quotation marks omitted))

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124, 126). At approximately 12:00 p.m., Lt. Salls approached plaintiff’s cell and stated

“close your recreation pen door right now you piece of shit and don’t pussy out when I

come to ex[tract] you from cell [sic].” 5 (Id. at ¶ 134). At approximately 12:45 p.m., Lt.

Salls, Sgt. Bush, CO Marshall, Sgt. Smith, CO King, CO Burroughs and CO Burdette

approached plaintiff’s cell dressed in riot gear. (Id. at ¶ 135). Sgt. Bush proceeded to

administer “blasts of chemical agent” in the plaintiff’s cell, at the direction of Lt. Salls

and Lt. Barkman, “to extract” plaintiff from his cell. (Id. at ¶ 135). Plaintiff was

thereafter handcuffed behind his back, removed from his cell, and escorted to

decontamination and a medical examination. (Id. at ¶ 136). He alleges injuries

including “cutting off his ability to breath,” extreme intense pain and suffering,

headaches and chest pains. (Id. at ¶135).

        At his deposition, plaintiff explained that there came a time that morning around

11:00 a.m. that he refused to close his recreation pen door. (Pl. Dep. at 235). He

admitted this was in response to the corrections officers’ intention to transfer him to a

cell next to incarcerated individual Reeder. (Id. at 235, 295). Plaintiff could not recall

at his deposition whether he was told that he would be extracted if he didn’t close his

recreation pen door. (Id. at 236-37). He confirmed that he was given orders to comply

before an extraction occurred, and that he eventually closed it – however could not


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  Plaintiff alleges that this interaction occurred on June 15, 2018, however read in the context of the
claim it appears that this is a typographical error, and this interaction actually occurred immediately
prior to the cell extraction on Jun 22, 2018.
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testify whether he closed it before or after the chemical agent was administered. (Id. at

239-40). He further testified that after the chemical agent was deployed, the defendants

were “roughhousing” plaintiff, applying handcuffs “real tight” and “pulling down” on

them with their body weight. (Id. at 240-41). He also alleges that the defendants “tried

to drown [him] again” in decontamination. (Id. at 241).

      The defendants’ submissions, including sworn declarations, documentary

evidence, and video footage, render summary judgment appropriate as to this claim, as

there is no genuine dispute whether the defendants conduct constituted excessive force.

(Cullen Aff. Exs K; P-6; Salls Decl. at ¶¶ 21-25, Dkt. No. 380-34; Barkman Decl. at ¶¶

6-9, Dkt. No. 380-6; Burroughs Decl. at ¶¶ 6-9, Dkt. No. 380-9; Burdette Decl. at ¶¶ 6-

9, Dkt. No. 380-8; King Decl. at ¶¶ 6-9, Dkt. No. 380-22; Marshall Decl. at ¶¶ 6-9, Dkt.

No. 380-29; Bush Decl. at ¶¶ 6-9, Dkt. No. 380-10). Video evidence substantiates the

undisputed fact that plaintiff refused to comply with the orders of the defendant

corrections officers, to the extent he refused to close his rec pen door. The video

evidence further establishes that plaintiff defied multiple orders to exit his cell

voluntarily. Plaintiff has not put forward any plausible evidence that suggests the

application of chemical spray was done in a way other than to restore discipline and

compel plaintiff’s compliance, and the video evidence establishes that any force used on

plaintiff after he was extracted from the cell, i.e. pulling on his handcuffs, was de



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minimus, at most. Accordingly, the court recommends granting summary judgment as

to plaintiff’s excessive force claim premised on the June 22, 2018 cell extraction.

                                  ii.   Forcing Plaintiff’s Hands Inside Cell

      After plaintiff’s physical examination and decontamination post-cell extraction,

he was escorted back to his cell by Lt. Salls, Sgt. Bush, Lt. Barkman, and CO Smith,

who were accompanied by CO King, CO Marshall, CO Burroughs, and CO Burdette.

(AC at ¶ 137). Plaintiff states that upon his placement in his cell, his handcuff restraints

were removed, and he held his hands inside of the “fixed protective hatch cover security

box on his cell which is pure steel and once it is closed it neutralizes any or all threats”

of plaintiff coming into physical contact with staff. (Id. at ¶ 138). Nevertheless, CO

Marshall, “without any legitimate reason, justification or provocation . . . abruptly

grabbed” plaintiff’s right ring finger and bent it repeatedly until plaintiff “heard it crack

. . . .” (Id. at ¶ 139). Plaintiff then alleges that CO King “began to slam the sliding door

of [the] tray slot on [plaintiff’s] forearm[,]” while the other defendants watched. (Id. at

¶ 140).

      At his deposition, plaintiff testified as follows:

      Q: What happened when you got back to your cell?

      A: They took me back to my cell and they took the cuffs off me and I just – I had
      my hands in the box, and I said, I want to see somebody.

      Q: Your hands were in the fixed prot[ective] hatch?

      A: Yea. And [CO Marshall] just grabbed my hand and started twisting my finger,
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          pop, and I heard my finger crack . . . you can hear it, my finger went – it
          cracked, and it’s been bent ever since.

(Pl. Dep. at 243-44). When asked if he was refusing to put his hands in his cell,

plaintiff testified: “I didn’t have time to before I can say anything . . . he just grabbed

me, didn’t give me a chance . . . . [T]here wasn’t no warning, no nothing.” (Id. at 246).

      CO Marshall has submitted a sworn declaration in support of the defendants’

motion for summary judgment, in which he avers that plaintiff failed to comply with

orders to bring his hands in his cell after CO Marshall removed his mechanical

restraints. (Marshall Dec. at ¶ 7). CO Marshall was then “ordered to force plaintiff’s

hands in the cell.” (Id.). With his right hand, CO Marshall “attempted to force

plaintiff’s right arm in the cell[,]” but was unsuccessful. (Id.). CO King was able to

force plaintiff’s left arm into the cell, and Lt. Salls subsequently ordered force to stop

and to close the fixed protective hatch cover. (Id.). Defendants have also submitted

video evidence in support of their motion. (Cullen Aff. Ex. P-6).

             On this record, the court recommends granting summary judgment as to

this incident, as no reasonable juror could conclude that plaintiff’s Eighth Amendment

rights were violated. Plaintiff does not meaningfully dispute that he did not remove his

hands from the fixed protective hatch cover, despite continued orders from the

corrections officers to do so. This is corroborated by the video evidence submitted by

defendants, showing plaintiff screaming “I don’t give a fuck” and “I ain’t doing it” in


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response to the correction’s officers repeated orders to “put [his] hands in.” (Cullen Ex.

P-6 at 18:00). Considering the degree of force alleged to have been applied in the

context of pushing plaintiff’s hands in his cell, the undisputed penological justification

the defendants had in forcing plaintiff’s hands inside his cell in order to shut the feed-up

hatch, and plaintiff’s failure to show that the defendants used more force than was

necessary to gain his compliance, plaintiff has failed to establish a violation of his

Eighth Amendment rights in this instance.

III.   Conditions of Confinement

             A.     Legal Standards
       The Eighth Amendment protects prisoners from “cruel and unusual punishment”

in the form of “unnecessary and wanton infliction of pain” at the hands of prison

officials. Wilson v. Seiter, 501 U.S. 294, 297 (1991); Estelle v. Gamble, 429 U.S. 97,

104 (1976); Sims v. Artuz, 230 F.3d 14, 20 (2d Cir. 2000). The constitutional

prohibition against cruel and unusual punishment includes the right to be free from

conditions of confinement that impose an excessive risk to an incarcerated individual’s

health or safety. Farmer v. Brennan, 511 U.S. 825, 837 (1994); Hathaway v. Coughlin,

37 F.3d 63, 66 (2d Cir. 1994). To establish an Eighth Amendment claim based on

unsafe or medically inappropriate living conditions, a plaintiff must establish that (1) he

was incarcerated under conditions which posed a substantial risk of serious harm, and




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(2) prison officials acted with deliberate indifference to his health or safety. See

Farmer, 511 U.S. at 834.

      “The deliberate indifference standard embodies both an objective and a

subjective prong.” Hathaway v. Coughlin, 37 F.3d 63, 66 (2d Cir. 1994). Under the

objective standard, a plaintiff must allege a deprivation “sufficiently serious” to

constitute a constitutional violation. Hathaway, 37 F.3d at 66 (quoting Wilson v. Seiter,

501 U.S. at 298)). “Because society does not expect or intend prison conditions to be

comfortable, only extreme deprivations are sufficient to sustain a ‘conditions-of-

confinement’ claim.” Blyden v. Mancusi, 186 F.3d 252, 263 (2d Cir. 1999) (citing

Hudson v. McMillan, 503 U.S. 1, 9 (1992)) (only those deprivations denying “the

minimal civilized measures of life’s necessities” are sufficiently serious to form the

basis of an Eighth Amendment violation) (internal quotations and citations omitted).

      The subjective element of the Eighth Amendment analysis focuses on whether

the defendant official acted with “a sufficiently culpable state of mind.” Salahuddin v.

Goord, 467 F.3d 263, 280 (2d Cir. 2006) (citing Wilson v. Seiter, 501 U.S. at 300).

“Deliberate indifference” requires more than negligence, but less than conduct

undertaken for the very purpose of causing harm. Farmer, 511 U.S. at 835. For a prison

official to act with deliberate indifference, he must know of and disregard an excessive

risk to an incarcerated individual’s health or safety. Hathaway, 37 F.3d at 66. The



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official must both be aware of facts from which the inference could be drawn that a

substantial risk of serious harm exists, and he must also draw the inference. Id.

              B.    Analysis
                           1.    Noise Complaint – Hollenbeck, Fletcher, Salls

       Plaintiff alleges that CO Hollenbeck, Sgt. Fletcher, and Lt. Salls intermittently

moved plaintiff either next to or “one cell away” from incarcerated individual Reeder

who was “kicking [the] steel door or banging on steel desk, stool of desk [sic], sink or

door to recreation pen all night every night for over two (2) consecutive years.” (AC at

¶¶ 114, 189-91, 209-15). Plaintiff alleges that the defendants intentionally moved him

because they knew that Reeder “has been in [SHU] over twenty-three (23) years and he

bangs[.]” (Id. at ¶ 115). Plaintiff further alleges that “all Upstate staff encourages [this

inmate’s] compulsion by putting people they do not like or desire to abuse next to or a

cell away from [him] and officer[s] on gallery rewarding him [sic] with extra food to

bang more persistently.” (Id. at ¶ 115, 205). Plaintiff claims that, as a result of his

exposure to the noise generated by Reeder, he suffered.

              sleeplessness, nightmares, anxiety, weight-loss, rectal bleeding,
              worriation [sic], gastro-intestinal complications, head-aches,
              ringing in ears, mental anguish, mental confusion, extreme
              outrageous gross negligent infliction of emotional distress,
              stomach pains, lack of energy, paranoia, frustration, mental
              duress stress and strain, body aches and pains.

(Id. at ¶ 209).



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      At his deposition plaintiff testified that he was kept “like a cell away from”

Reeder for around three years. (Pl. Dep. at 88). He “never got a full two or three hours

of sleep ever on the company while [Reeder] was there, period” (Id. at 95), and testified

that he would have to have been separated by “a lot” of cells from Reeder to not have

been as affected by the noise as he was. (Id. at 94). Plaintiff conceded that Reeder did

not do anything else other than “banging.” (Id. at 102-103).

      Defendants maintain that the decision to move an incarcerated individual from

one cell to another is communicated by a corrections officer to the sergeant in charge,

who ultimately approves or denies the request. (Hollenbeck Decl. at ¶ 24; Salls Decl. at

¶ 12). Defendants further explain that incarcerated individuals are moved for many

reasons, including the transitioning of incoming and outgoing inmates, cell maintenance

and changing Progressive Inmate Movement System (“PIMS”) levels. (Hollenbeck

Decl. at ¶ 26; Fletcher Decl. at ¶ 8; Salls Decl. at ¶ 11). According to the defendants,

Reeder

             was a known disruptive individual who was moved similarly to
             other incarcerated individuals. He was known to repeatedly kick
             the plate on his cell door which would require maintenance, or if
             he broke his door, parts would need to be fixed or replaced,
             requiring Reeder to be moved to an available cell.

(Hollenbeck Decl. at ¶ 27; Fletcher Decl. at ¶ 9). CO Hollenbeck, Sgt. Fletcher, and Lt.

Salls each deny ever having transferred plaintiff to a cell next to or near Reeder for the



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purpose of punishing or torturing plaintiff. (Hollenbeck Decl. at ¶ 25; Fletcher Decl. at

¶ 7; Salls Decl. at ¶¶ 10, 14).

        It has been stated that sleep is “critical to human existence, and conditions that

prevent sleep have been held to violate the Eighth Amendment.” Walker v. Schult, 717

F.3d 119, 126 (2d Cir. 2013) (citing cases); see also See Rhem v. Malcolm, 371 F. Supp.

594, 607–08, 628 (S.D.N.Y.), supplemented, 377 F. Supp. 995 (S.D.N.Y. 1974), aff’d

and remanded, 507 F.2d 333 (2d Cir. 1974) (finding Eighth Amendment was violated

where volume of noise was “intolerable”). Here, with respect to the objective element,

plaintiff has alleged, and defendants do not dispute for purposes of summary judgment,

that he was subjected to constant noise at a level so persistent that it caused him

significant sleep deprivation for three years. Accordingly, as to this issue there remains

a question of material fact precluding summary judgment.6

        Moreover, with respect to the subjective element, defendants’ affirmation that

they did not put plaintiff in proximity to Reeder to intentionally harm or punish him



6
  The court notes that noise generated by Reeder at Upstate C.F. has been the subject of at least one
other Eighth Amendment conditions of confinement claim in this district. See White v. Smith, No.
9:17-CV-1094 (LEK/ATB), 2021 WL 5989600, at *4 (N.D.N.Y. Oct. 15, 2021), report and
recommendation adopted, 2021 WL 5988626 (N.D.N.Y. Dec. 17, 2021). The district court in White
dismissed the plaintiff’s conditions of confinement claim at the summary judgment stage, on the basis
that (1) plaintiff’s general allegations of the effect of Reeder’s noise level were insufficient to satisfy
the objective element, and (2) there was no indication that defendant was responsible for plaintiff’s
cell placement, nor that defendant was deliberately indifferent to a serious risk to plaintiff’s health as a
result of his placement near Reeder. Here, the court does not find that the summary judgment record
compels the same outcome.

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does not speak to, nor does it eliminate a question of material fact as to, whether they

were deliberately indifferent to the alleged conditions imposed on plaintiff. Defendants

concede that they were aware that Reeder was disruptive and imply their knowledge

that he generated ongoing noise that was significant enough to cause damage to his cell

that required repeated attention. There is also evidence that plaintiff complained about

Reeder during the period in question. Thus, the issue of whether the defendants knew

of, and disregarded, an excessive risk to plaintiff’s health and safety also remains a

question of material fact that precludes summary judgement.

      Accordingly, the court recommends denying defendants motion for summary

judgment on plaintiff’s Eighth Amendment conditions of confinement claim premised

on the volume of noise generated by Reeder.

                          2.     Fixed Protective Hatch Cover and Retention Straps
                                 - Fletcher, Hollenbeck, Uhler, Bell, Woodruff

      Plaintiff alleges that he was exposed to “extreme unconstitutional conditions”

because of the enforcement of a retention strap (“RS”) and fixed protective hatch cover

(“FPHC”) orders in place for “eight consecutive years.” (AC at ¶ 216). A FPHC is a

metal box placed over the tray slot, also referred to as a feed-up hatch, on a cell door.

(Cullen Aff. Ex. Q at 17-21, Dkt. No. 383-20; Woodruff Decl. at ¶ 30, Dkt. No. 380-46;

Pl. Dep. at 31-32). According to DOCCS, the purpose of the FPHC is to act as a

protective measure in the Special Housing Unit (“SHU”), for staff engaging with


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“disruptive inmates who . . . engage in misbehavior and capitalize on the vulnerability

of staff when the hatch is open.” (Cullen Aff Ex. Q at 17). Examples of such

misbehavior through the feed-up hatch include throwing of objects, grabbing or striking

staff, and refusing to keep hands inside cell. (Id.). The FPCH allows staff to safely

deliver food and other items to incarcerated individuals without the risk of assault.

(Woodruff Decl. at ¶ 31). To deliver food and other items to an incarcerated individual

when a FPHC is in place, items are placed inside the FPHC, and the lid closed and

secured before the feed-up hatch is opened and the incarcerated individual can remove

items from the FPHC. (Cullen Aff. Ex. Q at 18-19; Woodruff Decl. at ¶ 30; Pl. Dep. at

32-33).

      Likewise, an RS is a mechanism placed on restraint equipment, such as

handcuffs, utilized in cases “where an inmate has displayed a history of refusing to

return restraint equipment and/or presents a threat to the safety or security of himself,

other persons or state property.” (Cullen Aff. Ex. Q at 16; Pl. Dep. at 39-40).

According to DOCCS, incarcerated individuals confined to SHU placed on an RS order

“will have the retention strap placed on the restraints prior to being removed or returned

to their cell. The retention strap will be immediately removed following the inmate

exiting the cell and will not be used while the inmate is being escorted.” (Cullen Aff.

Ex. Q at 16).



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      Plaintiff’s Eighth Amendment conditions of confinement claim arises out of the

orders for implementation of a FPHC and RS on plaintiff and/or his cell that he alleges

were imposed over the course of eight years. (AC at ¶ 230). Accordingly, to prevail on

this claim, plaintiff must establish that the defendants were deliberately indifferent to a

substantial harm. Moreover, courts have held that under the deliberate indifference

standard, “[t]he imposition of a restraint order only violates Eighth Amendment

protections if imposed restraint is ‘totally without penological justification, grossly

disproportionate, or involves the unnecessary and wanton infliction of pain.’ ” Walker v.

LaValley, 2014 WL 47447835, at *16 (quoting Horne v. Coughlin, 155 F.3d 26, 31 (2d

Cir. 1998)). “This is because prison officials are granted wide latitude to place restraints

on inmates.” Id.

      Here, even considering the specific manner in which plaintiff alleges the FPHC

and RS orders were applied to him, plaintiff has failed to establish a material question

of fact as to this claim. Plaintiff enjoyed a lengthy assignment to the Upstate C.F. SHU

due to his substantial disciplinary history. The record evidence demonstrates that, while

in the Upstate C.F. SHU, plaintiff was, at times, subject to restraint orders due to his

“assaultive behavior or the threat he posed to the safety or security of himself and

staff.” (Uhler Decl. at ¶ 37) (Dkt. No. 380-42). Defendants have submitted significant

documentation outlining the dates on which various restraint orders were imposed on

plaintiff and the basis for said orders – which included refusing to bring his hands in

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from the feed-up hatch, breaking the lower hatch of the cell door, and attempting to pull

the mechanical restraints into his cell resulting in injury to staff. (Cullen Aff. Ex. L)

(Dkt. No. 383-12). Notably, there is undisputed evidence in the summary judgment

record evidencing incidents of plaintiff engaging in the same conduct giving rise to the

bases for several of the restraint orders, including his refusal to pull his hands out of the

feed-up hatch, and assaulting staff. The record also reflects that these restraint orders

were withdrawn when plaintiff was determined to have “become compliant” and

demonstrated “a willingness to [follow] staff direction.” (Id.).

      Plaintiff has not submitted any plausible evidence to raise a material question of

fact as to whether the FPHC and RS orders were imposed without penological

justification, were grossly disproportionate, or involved the unnecessary and wonton

infliction of pain, other than his general and conclusory allegations. Accordingly, the

court recommends granting defendants’ motion for summary judgment as to plaintiff’s

conditions of confinement claim premised on the FPHC and RS orders.

IV.   Retaliation

             A.     Legal Standard
      To state a First Amendment claim of retaliation, an inmate must allege facts

plausibly suggesting that (1) the speech or conduct at issue was protected, (2) the

defendant took adverse action against the plaintiff, and (3) there was a causal

connection between the protected conduct and the adverse action. Holland v. Goord,

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758 F.3d 215, 225 (2d Cir. 2014) (citations omitted). “Regardless of the presence of

retaliatory motive, . . . a defendant may be entitled to summary judgment if he can show

. . . that even without the improper motivation the alleged retaliatory action would have

occurred.” Scott v. Coughlin, 344 F.3d 282, 287-88 (2d Cir. 2003) (citing Mt. Healthy

City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 287 (1977)).

      The court must keep in mind that claims of retaliation are “easily fabricated” and

“pose a substantial risk of unwarranted judicial intrusion into matters of general prison

administration.” Faulk v. Fisher, 545 F. App’x 56, 58 (2d Cir. 2013) (quoting Bennett v.

Goord, 343 F.3d 133, 137 (2d Cir. 2003)). In other words, we must examine prisoners’

claims of retaliation with “skepticism and particular care.” Rivera v. Goord, 119 F.

Supp. 2d 327, 339 (S.D.N.Y. 2000) (quoting Colon v. Coughlin, 58 F.3d 865, 872 (2d

Cir. 1995), abrogated on other grounds, Tangreti v. Bachmann, 983 F.3d 609 (2d Cir.

2020)). Accordingly, a First Amendment retaliation claim must be supported by

“specific and detailed factual allegations,” and not stated in “wholly conclusory terms.”

Dolan v. Connolly, 794 F.3d 290, 295 (2d. Cir. 2015) (quoting Flaherty v. Coughlin,

713 F.2d 10, 13 (2d Cir. 1983), overruled on other grounds, Swierkiewicz v. Sorema

N.A., 534 U.S. 506 (2002)).




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               B.    Analysis
                           1.     February 8, 2016
                                  i.      Leclerc

         Plaintiff alleges that on February 1, 2016, while conducting her rounds, ORC

Leclerc conducted a quarterly review report on plaintiff. (AC at ¶ 17). During the

review, plaintiff “informed [ORC] Leclerc of sexual harassment by [CO] Hollenbeck

committed . . . between January 27-29, 2016.” (Id.). ORC Leclerc allegedly responded,

“Are you sure you want to report this to me, because you will pay for getting me

involved and I am going to get you for doing it.” (Id.). Plaintiff then alleges that on

February 8, 2016, ORC Leclerc filed a “premeditated fraudulent” sexual harassment

misbehavior report in retaliation for him reporting CO Hollenbeck’s conduct to her.

(Id.).

         According to ORC Leclerc, she took plaintiff’s allegations of sexual harassment

seriously, and included them in her quarterly review report. (Leclerc Decl. ¶ 6) (Dkt.

No. 380-25). ORC Leclerc also notes that she had received letters from plaintiff prior

to February 1st that “contained accusations about [her] conduct with other individuals.”

(Id. ¶ 7). On February 8, 2016, ORC Leclerc was conducting a “routine round” in

plaintiff’s gallery, and advised plaintiff “that his concerns were unfounded and to

discontinue writing letters of such nature to” her. (Id. ¶ 8). Plaintiff responded, “I

know what you did, you told those officers that I was jerking off to you.” (Id. ¶ 9).


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ORC Leclerc informed plaintiff that she had “no idea what he was talking about[.]”

(Id.). She then observed plaintiff “with his hands down his pants and his right arm

stroking his penis.” (Id.). ORC Leclerc gave plaintiff a direct order to put his hands on

the window, but plaintiff refused. (Id.). Plaintiff “became belligerent yelling insults

and obscenities.” (Id.). ORC Leclerc “walked away from his cell and he continued to

yell obscenities” at her. (Id.). ORC Leclerc filed a misbehavior report against plaintiff

on February 8, 2016 because his actions were in violation of the Inmate Standards of

Behavior. (Id. ¶ 10; Cullen Aff. Ex. C at 116). Plaintiff denies that he engaged in the

conduct giving rise to the misbehavior report. (Pl. Dep. at 131).

      Defendants have not established that they are entitled to summary judgment as to

plaintiff’s claim of retaliation against ORC Leclerc. As to the first element, “[a]lthough

not all oral speech by an inmate constitutes protected activity, some courts within the

Second Circuit have determined that verbal or oral complaints about the conduct of

prison officials or conditions of confinement may constitute protected speech in the

context of a First Amendment retaliation claim.” Id.; see, e.g., Mazyck v. Keller, No.

6:20-CV-06055, 2021 WL 1201224, at *8 (W.D.N.Y. Mar. 31, 2021) (finding that the

plaintiff “plausibly alleged that he engaged in protected activity for purposes of his First

Amendment claim” where the plaintiff alleged to have verbally reported an assault by a

correctional officer to a supervisor, and as a result, faced retaliation); Smith v. Woods,

No. 03-CV-480 (DNH), 2006 WL 1133247, at *10 (N.D.N.Y. Apr. 24, 2006) (noting

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that “the First Amendment protects, not only the filing of written grievances and

complaints, but under some circumstances, the making of oral complaints to correction

officers.”), aff’d, 219 F. App’x 110 (2d Cir. 2007) (summary order) (citation omitted).

Here, defendants do not dispute that plaintiff reported instances of sexual assault to

ORC Leclerc. Thus, at the very least, a question of material fact remains as to whether

plaintiff’s report of sexual harassment to ORC Leclerc, which she described as “PREA 7

concerns” (Cullen Aff. Ex. C at 94), was protected conduct.

        With respect to adverse action, the filing of a false misbehavior report that results

in some form of punishment that cannot be labeled as de minimis has been found

sufficient to constitute adverse action. See, e.g., Reed v. Doe No. 1, No. 9:11-CV-250

(TJM/DEP), 2012 WL 4486086, at *5 (N.D.N.Y. July 26, 2012) (finding that the “filing

of a false misbehavior report can qualify as an adverse action for the purposes of a First

Amendment retaliation” where the report resulted in a fourteen-day term in keeplock

confinement), report and recommendation adopted, 2012 WL 4486085 (N.D.N.Y. Sept.

27, 2012); Tafari v. McCarthy, 714 F. Supp. 2d 317, 373 (N.D.N.Y. 2010) (finding that

a misbehavior report that resulted in SHU confinement constituted an adverse action).

Here, the record evidence establishes that plaintiff was found guilty of the disciplinary

charges asserted in ORC Leclerc’s misbehavior report, with a resulting penalty of “a



7
 The Prison Rape Elimination Act (“PREA”) creates a relaxed exhaustion requirement for allegations
concerning incidents of sexual assault. See 7 N.Y.C.R.R. § 701.3(i).
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seven-day restricted diet.” (Cullen Aff. Ex. C at 160). Upon finding plaintiff guilty of

the charges, the hearing officer explained that the imposition of additional SHU time

would serve no purpose, because at the time plaintiff had already accumulated over six

years of SHU time still to be served, due to prior disruptive behavior. (Id. at 160-61).

Thus, the restricted diet was chosen to “impress upon [plaintiff] that behavior that he

presents to staff will not be tolerated.” (Id. at 161). Defendants do not argue that a false

misbehavior report resulting in a seven-day restricted diet cannot constitute adverse

action for purposes of a plaintiff’s retaliation claim. Because it is plausible that such a

penalty “would deter a similarly situated individual of ordinary firmness from

exercising . . . constitutional rights” Gill v. Pidlypchak, 389 F.3d 379, 381 (2d Cir.

2004) (quoting Davis v. Goord, 320 F.3d 346, 353 (2d Cir. 2003), summary judgment is

not warranted on this basis.

      As to third element of plaintiff’s retaliation claim, in determining whether a

causal connection exists between a plaintiff's protected activity and a prison official’s

actions, a court may consider several factors including “(i) the temporal proximity

between the protected activity and the alleged retaliatory act; (ii) the inmate’s prior

good disciplinary record; (iii) vindication at a hearing on the matter; and (iv) statements




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by the defendant concerning his motivation.” 8 Baskerville v. Blot, 224 F. Supp. 2d 723,

732 (S.D.N.Y. 2002) (citing Colon v. Coughlin, 58 F.3d 865, 872–73 (2d Cir. 1995)).

        Here, the court acknowledges the evidence of record referencing plaintiff’s

significant disciplinary record, as well as the fact that plaintiff was ultimately found

guilty of all charges brought against him in the subject misbehavior report. However,

the court also notes that the temporal proximity between plaintiff’s complaint to ORC

Leclerc and the issuance of the subject misbehavior report is circumstantial evidence of

a retaliatory motive. This is particularly true considering plaintiff’s allegation that ORC

Leclerc threatened him for getting her involved with his complaints. See Washington v.

Afify, 681 F. App’x 43, 46 (2d Cir. 2017) (reversing grant of summary judgment on

retaliation claim where inmate alleged that correction officers confronted him directly

about his practice of filing grievances before they issued an allegedly false misbehavior

report against him).

        The court recognizes defendants’ argument that, notwithstanding any retaliatory

animus, summary judgment is warranted because ORC Leclerc would have issued the

misbehavior report regardless. However, ORC Leclerc issued the misbehavior report

based on plaintiff’s inappropriate conduct on February 8th, which plaintiff denies ever


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  The court notes that factors (ii) and (iii) are generally employed when an inmate claims a prison
disciplinary or administrative action is taken in retaliation, see, e.g., Faulk v. Fisher, 545 F. App’x 56,
59 (2d Cir. 2013); Morris v. Rabsatt, 2012 WL 976035, at *7 (N.D.N.Y. 2012), and are of dubious
relevance when an inmate claims security officers have physically assaulted him.

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having occurred. Thus, the competing evidence as to this issue is sufficient to create a

material issue of fact, as “court cannot conclude that [ORC Leclerc] would have issued

the misbehavior report regardless of any retaliatory animus [s]he may have had against

plaintiff.” Santos v. Schroeder, No. 9:19-CV-1610 (BKS/TWD), 2023 WL 9377500, at

*3 (N.D.N.Y. Nov. 3, 2023). Because plaintiff has raised an issue of fact as to whether

retaliatory animus was the but-for cause of ORC Leclerc’s actions, the court

recommends denying summary judgment as to plaintiff’s retaliation claim against her.

                    ii.   Hollenbeck

      Plaintiff alleges that on January 27 and 28, 2016, CO Hollenbeck “persisted to

belittle, degrade, bully and assail” plaintiff “with racial or sexually charged derogatory

comments . . . together with promotion of inmate violence against [plaintiff.]” (AC ¶

32). Between January 28, 2016 and February 1, 2016, plaintiff submitted grievances

pursuant to the PREA, as well as made a verbal report to ORC Leclerc, concerning CO

Hollenbeck’s sexual harassment. (AC ¶ 33).

      Plaintiff alleges that on February 8, 2016, CO Hollenbeck stated to him: “Jessica

you rat snitch, I got something special for your today when you come out.” (Id. ¶ 34).

Plaintiff proceeds to allege that CO Hollenbeck physically and sexually assaulted him

(see, supra, Part II.B.1. of this Report and Recommendation), and filed a misbehavior

report against him, in retaliation for his complaints. (AC ¶¶ 35-41).



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        Because plaintiff has failed to raise a material question of fact as to whether CO

Hollenbeck’s alleged conduct constitutes adverse action, summary judgment is

warranted as to this claim. Physical assault may, depending on its severity, constitute

an adverse action for purposes of a First Amendment retaliation claim. See Flemming v.

King, No. 14-CV-316, 2016 WL 5219995, at *5 (N.D.N.Y. June 20, 2016), report and

recommendation adopted, 2016 WL 5173282 (N.D.N.Y. Sept. 21, 2016); see also

Baskerville v. Blot, 224 F. Supp. 2d 723, 731-32 (S.D.N.Y. 2002) (holding that a

“retaliatory assault” sufficiently described an adverse action for purposes of a retaliation

claim). Notably, “the alleged assault need not rise to the level of an Eighth Amendment

excessive force violation in order to be considered an adverse action for purposes of

First Amendment retaliation analysis.” Flemming, 2016 WL 5219995, at *5. However,

even considering this lower standard, CO Hollenbeck’s alleged conduct is still

insufficient to constitute an adverse action.

        First, assuming that a correction officer’s “rough” conduct during a pat-frisk of

an incarcerated individual can constitute adverse action for purposes of a retaliation

claim, 9 courts in this circuit have concluded that conduct described at a similar level of


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  Several district courts seem to conclude that a pat-frisk cannot constitute adverse action as required
to support a First Amendment retaliation claim, regardless of whether plaintiff was physically or
sexually assaulted during the pat-frisk, because prisoners have no legitimate expectation of privacy.
See Houston v. Coveny, No. 14-CV-6609, 2020 WL 1151345, at *6 (W.D.N.Y. Mar. 9, 2020); see also
Joseph v. Annucci, No. 18-CV-7197, 2020 WL 409744, at *5 (S.D.N.Y. Jan. 23, 2020) (holding a “pat
frisk . . . in which [officer] ‘squeez[ed]’ and ‘pok[ed]’ [plaintiff's] chest, arms, legs, and ‘private parts’

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force is de minimis for purposes of a retaliation claim, and is not sufficient to satisfy the

adverse action element. See Morgan v. Luft, No. 15-CV-0024, 2017 WL 3511158, at *8

(N.D.N.Y. June 22, 2017) (allegations that the defendant conducted “a rough pat frisk”

are not sufficient); see also Flynn v. Ward, No. 15-CV-1028, 2018 WL 3195095, at *9

(N.D.N.Y. June 7, 2018) (concluding that the plaintiff’s allegations that the defendant

“push[ed] him around” were de minimis and does not constitute adverse action); Sloane

v. Mazzuca, No. 04-CV-8266, 2006 WL 3096031, at *13-14 (S.D.N.Y. Oct. 31, 2006)

(concluding that throwing a food tray at the plaintiff does not constitute adverse action);

Rivera v. Goord, 119 F. Supp. 2d 327, 340 (S.D.N.Y. 2000) (“[The plaintiff] states only

that [the defendants] ‘shoved’ him while taking him to the . . . Special Housing Unit . . .

. . Such actions, even if proven at trial, would not chill a person of ordinary firmness

from continuing to engage in First Amendment activity.”).




was not retaliatory); Amaker, 2014 WL 8663246, at *8 (holding an officer's pat frisk consisting of
“rubbing plaintiff’s penis, fondling and squeezing plaintiff's buttocks and running his index finger
across plaintiff’s anus” was not retaliatory). However, a recent, unpublished decision from the Second
Circuit raises some doubt as to this conclusion. Hundley v. Frunzi, No. 23-581-PR, 2024 WL
3886996, at *3 (2d Cir. Aug. 21, 2024) (commenting, in the context of reconciling jury verdicts as to
excessive force and retaliation claims surrounding a pat-frisk, during which plaintiff alleged he was
assaulted and suffered a broken rib, that “the jury could have found . . . that the pat-frisk of Hundley,
immediately prior to the use of force, was performed solely to retaliate against Hundley for filing
grievances about inappropriate and unwarranted pat-frisks in the Facility, and would deter a similarly
situated individual from exercising his First Amendment rights, thereby providing a basis for liability
on the retaliation claim.).




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      For the same reasons, the court reaches a similar conclusion with respect to CO

Hollenbeck’s alleged conduct in returning plaintiff to his cell on February 8, 2016.

“The cases in which courts have recognized assault as a form of adverse action have

involved markedly more violent conduct than that alleged here[,]” where the allegations

are limited to bending and twisting of hands and fingers in the course of removing

mechanical wrist restraints. George v. Cnty. Of Westchester, No. 20-CV-1723, 2021

WL 4392485, at *8 (S.D.N.Y. Sept. 24, 2021) (listing cases recognizing the level of

force sufficient to constitute adverse action).

      With respect to the purportedly false misbehavior report, which could constitute

adverse action if it resulted in more than a de minimus form of punishment, defendants

have met their burden of showing by a preponderance of the evidence that CO

Hollenbeck would have issued the misbehavior report notwithstanding the existence of

any retaliatory animus. Mount Healthy, 429 U.S. at 287. Plaintiff admits in his

amended complaint, and the video evidence corroborates, that he pulled his hands into

his cell while his mechanical restraints were being removed, in violation of the

defendants’ direct orders. This undisputed conduct was the basis for CO Hollenbeck’s

issuance of a misbehavior report against plaintiff. Thus, because “plaintiff committed

the most serious, if not all, of the prohibited conduct charged in the misbehavior report”

Flynn v. Ward, 15-CV-1028, 2018 WL 3195095, at *12 (N.D.N.Y. June 7, 2018)

(quoting Gayle v. Gonyea, 313 F.3d 677, 682 (2d Cir. 2002)) he cannot sustain a First

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Amendment retaliation claim on this basis. See Logan v. Graham, No. 9:18-CV-0291

(DNH/ML), 2019 WL 8015209, at *14 (N.D.N.Y. Nov. 26, 2019), report and

recommendation adopted, 2020 WL 871197 (N.D.N.Y. Feb. 21, 2020) (defendants met

burden to show that they would have taken alleged adverse action even in the absence

of the protected conduct where plaintiff admitted some of the allegations contained in

the misbehavior report); Hynes v. Squillace, 143 F.3d 653, 657 (2d Cir. 1998) (where

plaintiff admitted to committing the most serious, if not all, of the prohibited conduct

charged in the misbehavior report, “defendants met their burden of demonstrating

proper, non-retaliatory reasons for filing the misbehavior report.”). Accordingly, the

court recommends granting summary judgment as to plaintiff’s retaliation claim against

CO Hollenbeck concerning the events of February 8, 2016.

                    2. October 14, October 19, and November 17, 2016 – R. Smith

      Plaintiff alleges that he filed a flurry of grievances against Sgt. Smith in 2016.

(AC at ¶ 165). Plaintiff attached many of these grievances to his amended complaint as

exhibits, suggesting that plaintiff filed at least four grievances against Sgt. Smith

between August and September of 2016. (See Dkt. No. 166-2 at 107, 110, 113, 114).

In addition, plaintiff filed a grievance against Sgt. Smith on October 14, 2016, alleging

that Sgt. Smith “accosted” plaintiff while conducting a grievance investigation. (Cullen

Aff. Ex. G at 133) (Dkt. No. 383-7).




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      Plaintiff alleges that Sgt. Smith filed three “copy cat” misbehavior reports against

plaintiff on October 14, October 19, and November 17, 2016, in retaliation for the

grievances he filed against Sgt. Smith. (AC ¶ 165-68). The court will address each

instance of alleged retaliation in turn.

                                  i.       October 14, 2016 Misbehavior Report

      On October 14, 2016, Sgt. Smith came to plaintiff’s cell to investigate a separate

grievance filed against another member of DOCCS’ staff related to complaints

concerning sexual harassment. (Pl. Dep. at 168; Smith Decl. ¶ 6, Dkt. No. 380-38).

According to Sgt. Smith, plaintiff began to yell racial slurs and threats at Sgt. Smith,

and “pull[ed] his penis out in . . . full view of the cell door window, looked directly at

[Sgt. Smith] and started masturbating.” (Smith Decl. ¶ 6). Sgt. Smith “gave plaintiff

several orders” to stop, but plaintiff refused to comply. (Id.). Sgt. Smith then

“terminated the interview[,]” however plaintiff “continued to yell out racial slurs,

obscenities, and create a disturbance.” (Id). Sgt. Smith prepared a misbehavior report

that day detailing the incident and citing plaintiff for multiple violations. (Cullen Aff.

Ex. G at 10). At the disciplinary hearing held in relation to the October 14th

misbehavior report, plaintiff was found guilty of all charges, and issued penalties

including 180 days of SHU time. (Id. at 5).

      For purposes of this Report and Recommendation, the court assumes that the

record contains sufficient evidence with respect to the first two prongs of plaintiff’s

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retaliation claim. Specifically, plaintiff’s grievances constituted protected conduct, see

Johnson v. Eggersdorf, 8 F. App’x 140, 144 (2d Cir. 2001) (holding that a grievance is

constitutionally protected conduct), and the filing of a false misbehavior report is

considered an adverse action where it results in some form of punishment that cannot be

labelled de minimis, see Tafari v. McCarthy, 714 F. Supp. 2d 317, 373 (N.D.N.Y. 2010)

(finding that a misbehavior report that resulted in SHU confinement constituted an

adverse action).

      Nevertheless, the court agrees that plaintiff’s retaliation claim as to the October

14, 2016 misbehavior report fails on the third element. “To satisfy the causal element

of a retaliation claim, a plaintiff must ‘introduce evidence sufficient to support the

inference that the speech played a substantial part in the adverse action.’ ” Morrow v.

Bauersfeld, No. 21-2928-CV, 2022 WL 17097590, at *2 (2d Cir. Nov. 22, 2022)

(quoting inter alia Brandon, 938 F.3d at 40). In the absence of direct evidence,

circumstantial evidence may satisfy a plaintiff’s burden if it is “sufficiently

compelling.” Bennett v. Goord, 343 F.3d 133, 139 (2d Cir. 2003). In this case, the

temporal proximity between plaintiff’s grievances against Sgt. Smith and the October

14th misbehavior report favors plaintiff’s claim, however as previously discussed the

Second Circuit has “consistently required some further evidence of retaliatory animus

before permitting a prisoner to proceed to trial on a retaliation claim.” Washington v.

Afify, 681 F. App’x 43, 46 (2d Cir. 2017). To this end, plaintiff has failed to proffer any

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further direct or circumstantial evidence of retaliatory intent on the part of Sgt. Smith as

of October 14, 2016. In consideration of the remaining factors suggesting retaliatory

animus, the summary judgment record evidences plaintiff’s significant disciplinary

record, and the notable amount of SHU time - over five years - he has accumulated

during his incarceration as a result of his disciplinary history. In addition, plaintiff was

found guilty of five out of the six offenses cited in the October 19th misbehavior report,

presumably because the conduct cited did not rise to the level of the sex offense

violation that was “removed at review.” (Cullen Aff. Ex. G at 5-8, 10, 73-74).

Moreover, plaintiff has failed to allege statements made by Sgt. Smith concerning any

retaliatory motivation he had for issuing plaintiff the misbehavior report. Plaintiff’s

conclusory allegations in his amended complaint, and at his deposition, that Sgt.

Smith’s conduct as of October 14th was retaliatory is insufficient evidence on which to

proceed. Accordingly, the court recommends granting defendants’ motion for

summary judgment as to plaintiff’s retaliation claim premised on the October 14, 2016

misbehavior report.

                                 ii.    October 19, 2016 Misbehavior Report
      According to Sgt. Smith, on October 19, 2016, he was conducting rounds when

he had to stop at plaintiff’s cell and order plaintiff to “again remove the strings from his

ceiling vent.” (Smith Decl. ¶ 9). Plaintiff began “yelling in a loud voice” and directing

“racial slurs” at Sgt. Smith. (Id.). Plaintiff’s yelling continued, “gaining the attention

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of other incarcerated individuals on the gallery, and causing a disturbance.” (Id.).

Plaintiff then proceeded to “balance on the end of his bottom bunk, pull his penis out in

full view of the cell door window, look directly at [Sgt. Smith] and started

masturbating.” (Id.). Plaintiff then stated, “[I]f I get a chance I’m gonna fuck you in

the ass” and “suck my dick cracker.” (Id.). Sgt. Smith gave plaintiff “several orders to

stop” engaging in the referenced conduct, however plaintiff “refused to comply[.]”

(Id.). At that time, Sgt. Smith “terminated contact with plaintiff,” as plaintiff

“continued” to create a disturbance. (Id.). The misbehavior report authored by Sgt.

Smith reflects these facts and indicates that Sgt. Smith ultimately charged plaintiff with

the following rule violations: sex offense, lewd conduct, refusing a direct order, threats,

creating a disturbance, and harassment. (Cullen Aff. Ex. G at 31). After a Tier III

disciplinary hearing was held, plaintiff was found not guilty of the sex offense violation,

and guilty of the remaining violations. (Cullen Aff. Ex. G at 86, 129). Plaintiff’s guilty

dispositions resulted in penalties including 180 days of SHU time and loss of certain

privileges. (Id.). Plaintiff denies engaging in the conduct alleged in the October 19th

misbehavior report. (Pl. Dep. at 174-75).

      Once again, the first and second elements of plaintiff’s retaliation claim are not

reasonably disputed by defendant for purposes of the summary judgment motion.

However, as to the third element, the direct and circumstantial evidence surrounding

Sgt. Smith’s alleged retaliatory animus for filing the October 19, 2016 misbehavior

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report presents a closer call. In particular, the court notes the substantive similarities

between the October 14th and October 19th misbehavior reports, as well as the fact that

the October 19th report appears to have initially been dated October 14, 2016, but was

later corrected. (Compare Cullen Aff. Ex. G at 10 with Id. at 31). Of some further,

potential relevance is the fact that the November 17, 2016 misbehavior report, which

also bears substantive similarities to the October 14th and October 19th misbehavior

reports, was erroneously dated as October 14, 2016. (Id. at 197). It is also undisputed

that as of October 19, 2016, Sgt. Smith was aware of the October 14th grievance

plaintiff filed against him, if not those filed in August and September as well. (Smith

Decl. ¶ 18).

      “The fact that there is no evidence that [Defendant] made a statement of

retaliatory intent is a factor to consider, but that Plaintiff cannot adduce evidence of

such a statement is not fatal to his claim.” Young v. Shipman, 18-CV-0782, 2020 WL

1329159, at *5 (N.D.N.Y. Mar. 23, 2020) (citing Gayle v. Gonyea, 313 F.3d 677, 684

(2d Cir. 2002)) (rejecting defendants’ argument that plaintiff “failed to meet his

evidentiary burden because he has failed to submit direct evidence that the

[misbehavior] report was filed as a retaliatory measure”); see also Vaher v. Town of

Orangetown, 133 F. Supp. 3d 574, 596 (S.D.N.Y. 2015) (“Direct evidence of retaliatory

intent is not required” to overcome summary judgment on a First Amendment

retaliation claim)). Otherwise, the court considers the circumstantial evidence of

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retaliatory animus in this instance, including the temporal proximity, defendant’s

knowledge of the grievance(s) filed against him, and plaintiff’s consistent denial in

engaging in the almost identical conduct alleged to have occurred on October 14th and

October 19th. On this record, the court finds a genuine issue of material fact as to

whether Sgt. Smith filed the October 19, 2016 misbehavior report in retaliation for

plaintiff filing grievances against him. Accordingly, the court recommends denying

defendants’ summary judgment motion as to this claim.

                                 iii.   November 17, 2016 Misbehavior Report
      Sgt. Smith filed a third misbehavior report against plaintiff, dated October 14,

2016, citing to plaintiff’s conduct during an incident that took place on November 17,

2016. (Cullen Aff. Ex. G at 197). According to Sgt. Smith, the misbehavior report

“was not properly dated” and was ultimately dismissed as untimely. (Smith Decl. ¶ 15).

It is undisputed that this misbehavior report was never processed, and thus had no

disciplinary effect on plaintiff. (Pl. Dep. at 177-78; Smith Decl. ¶¶ 15, 16). Because

plaintiff has failed to establish that he suffered any adverse consequences because of

this misbehavior report, it is recommended that defendants’ motion for summary

judgment as to this retaliation claim be granted. See Gilmore v. Blair, No. 9:18-CV-463

(GLS/DJS), 2020 WL 5792467, at *6 (N.D.N.Y. June 30, 2020), report and

recommendation adopted, 2020 WL 5775203 (N.D.N.Y. Sept. 28, 2020) (“[T]he mere




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filing of a misbehavior report alone, without evidence of other repercussions, does not

constitute an adverse action.”) (listing cases).

                           3.     February 13, 2017 – Baily, Derouchie

      As discussed (see supra Part II.B.5.ii. of this Report and Recommendation),

plaintiff alleges that he was subject to excessive force on February 13, 2017, while

being held in the lower holding pen at Upstate C.F. following a use-of-force incident

occurring earlier that day. (AC ¶¶ 78-100). In conjunction with this incident, plaintiff

alleges that Sgt. Derouchie and CO Baily’s conduct constituted retaliation.

      Specifically, plaintiff alleges that Sgt. Derouchie failed to intervene while CO

Lamica was choking and punching plaintiff in the lower holding cell, in retaliation for

prior lawsuits plaintiff filed against him. (AC ¶ 91). Defendants do not reasonably

dispute that the first and second elements of retaliation are established for purposes of

the summary judgment motion. In seeking summary judgment, the defendants argue

that the “video evidence demonstrates that [Sgt.] Derouchie did not observe any

excessive force being used against plaintiff on February 13, 2017, and did not observe

any actions that would lead a reasonable corrections official to believe that excessive

force was being used on an inmate.” (Def. MOL at 43). The court disagrees that the

video evidence, without more, eliminates any question of fact as to whether Sgt.

Derouchie failed to intervene in an alleged use of force taking place. Furthermore,

plaintiff has alleged circumstantial evidence, including contemporaneous statements

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made by Sgt. Derouchie of his retaliatory intent. (See supra Part II.B.5.ii. of this Report

and Recommendation). Accordingly, defendants’ motion for summary judgment

should be denied as to plaintiff’s retaliation claim against Sgt. Derouchie.

      With respect to CO Baily, plaintiff alleges that CO Baily used force on plaintiff

in the holding pen on February 13, 2017, in retaliation for grievances plaintiff had

previously filed against CO Baily. Specifically, plaintiff refers to Grievance No. UST

60176, dated January 15, 2017 and filed on January 20, 2017, (AC ¶ 78, Dkt. No. 166-2

at 167-68), and Grievance No. UST 60192-17, dated January 19, 2017 and filed on

January 23, 2017 (AC ¶ 78, Dkt. No. 166-2 at 169). With respect to CO Baily’s

purportedly retaliatory conduct, plaintiff alleges that after plaintiff attempted to strike

CO Lamica in the holding cell on February 13, 2017, which prompted CO Lamica to

“maliciously and sadistically” strike plaintiff in the face, CO Lamica “slammed”

plaintiff to the floor and CO Baily, among other corrections officers, “charged from

around [the] corner on [the] outside of [the] holding pen where they [were] positioned

and pounced on the [plaintiff.]” (AC ¶¶ 94-95). Plaintiff alleges that CO Baily and

other corrections officers repeatedly kicked, stomped, and punched plaintiff as he was

screaming in pain. (Id. at ¶¶ 94-96).

      Once again, plaintiff’s claim hinges on the third element of his retaliation claim.

Defendants move for summary judgment on the grounds that plaintiff has failed to

demonstrate that CO Baily knew about the relevant grievances, and that in the face of

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CO Baily’s sworn declaration “denying knowledge of the grievances,” plaintiff cannot

overcome summary judgment. However, the court’s review of CO Baily’s declaration

does not reveal any such denial by this defendant. (See Generally Baily Decl.). His

declaration does, however, establish that he was required to respond with force to

plaintiff striking CO Lamica in the holding pen on February 13th. (Baily Decl. ¶ 7). CO

Baily asserts that he then entered the holding pen from the holding pen door, where he

had been positioned, and once plaintiff was on the floor, “assisted in maintaining

control of plaintiff by placing both hands on his lower back until mechanical restraints

were in place.” (Id. ¶ 8). CO Baily further denies using excessive force to physically

assault plaintiff during the incident, as well as denies retaliating against plaintiff for

filing grievances. (Id. ¶¶ 13, 15).

      Conversely, plaintiff offers no evidence to corroborate his claim that CO Baily’s

use of force was motivated by retaliatory intent, as opposed to his duty to respond to

plaintiff’s assault on another correction officer. Assuming plaintiff has established a

temporal proximity between the filing of his grievances against CO Baily and the

alleged use of force, this alone is insufficient evidence of retaliatory intent at the

summary judgment stage. Otherwise, plaintiff does not allege that CO Baily made any

contemporaneous statements concerning his motivation during the use of force, nor

does he proffer any other evidence of motivation other than his vague assertion that CO

Baily was “always” at his cell, threatening him “all the time” about grievances. (Pl.

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Dep. at 206). Thus, because no reasonable factfinder could conclude on this record that

CO Baily’s actions were substantially motivated by an intent to retaliate for his

participation in protected conduct, summary judgment is recommended as to this

claim. 10

                              4.      March 14-15, 2018 – Fletcher
         Plaintiff alleges that Sgt. Fletcher transferred plaintiff to the cell neighboring

incarcerated individual Reeder in retaliation for the grievance plaintiff previously filed

against Sgt. Fletcher and other corrections officers at Upstate C.F. (AC ¶¶ 208, 210).

         As to the second element of plaintiff’s retaliation claim, courts have found that a

cell transfer can constitute “adverse action” for the purposes of a retaliation claim. See

Phillips v. Roy, 2011 WL 3847265, at *11 (citing Holmes v. Grant, 03 Civ. 3426, 2006

WL 851753, at *15 (S.D.N.Y. Mar. 31, 2006) (a transfer to SHU, which the plaintiff

alleged to be noisy and unhygienic, could serve as the basis for a retaliation claim);

Phillips v. LeCuyer, No. 9:08-CV-878 (FJS/ATB), 2013 WL 1024667, at *30

(N.D.N.Y. Feb. 19, 2013), report and recommendation adopted, 2013 WL 1021599

(N.D.N.Y. Mar. 14, 2013) (assuming that a cell transfer within the same SHU unit can



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  The court does not find this outcome to be inconsistent with its contemporaneous recommendation
that the excessive force claim arising from the events that took place in the holding cell on February
13, 2017, in which CO Baily is a named defendant, proceed to trial. There are material questions of
fact as to whether the defendants subjected plaintiff to an unreasonable degree of force in the holding
cell on February 13, 2017, once plaintiff was subdued and on the ground. There is, however, no
indicia of retaliatory animus in this circumstance on the part of CO Baily in responding to plaintiff’s
assault on a CO Lamica, whether or not the degree of force used was unreasonable.
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constitute “adverse action” for the purposes of a retaliation claim). Defendants argue,

however, that plaintiff’s transfer in this case did not constitute adverse action, because

plaintiff has proffered no evidence as to how the transfer adversely affected him. The

court agrees. It is undisputed that during the approximately two-hour time period

during which plaintiff was housed next to Reeder in this instance, Reeder did not create

any noise disturbance and plaintiff was not subjected to any unreasonable conditions.

(Plt. Dep. at 210; Fletcher Decl. ¶ 10, Dkt. No. 380-14). See Tripathy v. Brotz, No.

6:22-CV-06469, 2023 WL 4032831, at *8 (W.D.N.Y. June 15, 2023), aff’d, 103 F.4th

106 (2d Cir. 2024) (“The transfer of a prisoner is not considered an adverse action

unless it results in the prisoner being subjected to more onerous conditions.”) (citing

Coleman v. Sutton, 530 F. Supp. 2d 451, 453 (W.D.N.Y. 2008)); see also Roman v.

Cnty. of Chester, No. CV 23-1662, 2024 WL 4844792, at *12 (E.D. Pa. Nov. 20, 2024)

(“[C]ell transfers that result in only ‘[t]emporary inconveniences . . . do not meet [the

adverse action] standard.”) (citation omitted). On this basis, the court recommends

granting defendant’s motion for summary judgment as to plaintiff’s retaliation claim

against Sgt. Fletcher premised on the March 2018 cell transfer.

      Plaintiff also claims that Sgt. Fletcher conducted a “reign of terror” cell search in

retaliation for plaintiff protesting his cell transfer – i.e. refusing to close his rec pen door

notwithstanding the officers’ direct orders to do so. (AC at ¶ 212). At the outset, this

court has not been presented with any caselaw suggesting that plaintiff’s “protest” of his

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cell transfer constituted protected conduct for purposes of a retaliation claim. “[W]here

a prisoner’s conduct violates a reasonable prison rule or regulation, he has not engaged

[in] protected conduct and cannot state a constitutional claim if he is disciplined for

violating that rule or regulation by engaging in such prohibited conduct.” Aiello v.

Lamitie, No. 9:16-CV-53 (MAD/CFH), 2020 WL 918989, at *15 (N.D.N.Y. Feb. 26,

2020) (quoting Bacon v. Phelps, No. 9:15-CV-1508, 2017 WL 4220465, *4 (N.D.N.Y.

July 6, 2017)); see also Shaheen v. McIntyre, No. 9:05-CV-0173, 2007 WL 3274835, at

*10 (N.D.N.Y. Nov. 5, 2007) (“[I]t is rather well settled that ‘[t]he violation of a prison

regulation . . . is not protected conduct.’ ”) (citation omitted). Here, plaintiff chose to

disobey staff directions and violate facility rules, rather than utilize the grievance

process available to him, to make his complaints known. Thus, plaintiff was not

engaging in any protected conduct on which to base his First Amendment claim.

      Even if plaintiff had established protected conduct, his claim also fails at the

adverse action inquiry. Several courts within the Second Circuit have held that

wrongful conduct occurring during a retaliatory cell search can constitute an adverse

action for purposes of a First Amendment retaliation claim if that conduct would

meaningfully deter an incarcerated individual from engaging in a protected activity.

Rodriguez v. McClenning, 399 F. Supp. 2d 228, 239–40 (S.D.N.Y. 2005) (explaining

that, although the plaintiff “had no constitutional right to be free from cell searches of

any kind, including retaliatory searches,” he could maintain a retaliation claim for the

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defendant's allegedly retaliatory conduct “in conjunction with the cell search”

(emphasis added)); Phelan v. Thomas, No. 9:10-CV-11 (GLS/DJS), 2017 WL 519246,

at *3 (N.D.N.Y. Feb. 8, 2017) (“Adverse action, as it relates to a retaliatory cell search,

requires more than a search alone . . . . Indeed, the plaintiff must demonstrate a search

and ‘other wrongful conduct,’ such as the destruction or confiscation of property, that

evinces the requisite deterrent of a similarly situated inmate of ordinary firmness from

exercising his or her constitutional right.” (citation omitted)); Stewart v. Richardson,

No. 15 CV 9034, 2016 WL 7441708, at *5 (S.D.N.Y. Dec. 27, 2016) (holding that a

plaintiff stated a retaliation claim arising from the defendant's allegedly retaliatory cell

search and destruction of personal property).

      In this case, defendants have submitted evidence establishing that, several hours

after Reed transferred cells on March 14, 2018, a search of plaintiff’s cell was

conducted, and a “dragline” was confiscated and disposed of. (Fletcher Decl. ¶ 19).

Defendants have also submitted evidence that incarcerated inmate’s cells were subject

to both unannounced, as well as routine periodic, searches to eliminate the presence of

contraband within the facility and ensure the safety of inmates, employees, visitors, and

the community. (Id. ¶¶ 13-15). Plaintiff has failed to allege some sort of adverse action

in conjunction with the purportedly improper cell search for purposes of his retaliation

claim, including any facts surrounding the “reign of terror” cell search indicating that he

was put at an enhanced risk of harm, or that any actual harm resulted, in conjunction

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with the search. C.f. Wright v. Snyder, No. 3:21-CV-104, 2023 WL 6379451, at *10

(D. Conn. Sept. 30, 2023) (finding genuine dispute of material fact regarding adverse

action element of retaliation claim where plaintiff “demonstrated more than just a

retaliatory cell search; he also attests that Defendant left his cell in disarray and

drenched his personal items—such as his boombox, clothes, mattress, and legal

materials—in water, which effectively destroyed the boombox.”); Stewart v.

Richardson, No. 15-CV-9034, 2019 WL 719638, at *4 (S.D.N.Y. Feb. 20, 2019)

(“While courts in this district have concluded that a retaliatory cell search does not

constitute adverse action sufficient to support a First Amendment retaliation claim, the

destruction of a ‘substantial amount’ of permissible personal property can qualify as an

adverse action.”) (internal citations omitted).

       Accordingly, the court alternatively recommends granting defendant’s motion

for summary judgment as to plaintiff’s retaliation claim against Sgt. Fletcher based on

the purportedly improper cell search for failure to establish an adverse action sufficient

to sustain the §1983 claim.

                           5.     June 20-21, 2018
                                  i.      Howell

      Plaintiff alleges that on June 20, 2018, CO Howell threatened to “get [plaintiff]”

for the grievances plaintiff previously filed against other Upstate C.F. officials. (AC ¶

107). Plaintiff further alleges that the next day, on June 21, 2018, CO Howell falsely


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accused plaintiff of disposing of feces in a trash bag, which triggered a search of

plaintiff’s cell that involved the use of force. (AC ¶¶ 108-10, 118).

         According to the defendants, CO Howell was collecting feed-up trays following

morning chow on June 21, 2018. (Howell Decl. at ¶ 6) (Dkt. No. 380-19). Upon

reaching plaintiff’s cell, CO Howell received a “Sahor bag” 11 through the feed-up

protective hatch cover. (Id.). Once CO Howell opened the bag to check for all the

mess-hall items that had to be returned, he observed feces in the bag. (Id.). According

to CO Howell,

               Plaintiff had placed his own feces in several of the mess-hall
               containers and on top of the other trash that was in the bag. He
               had then closed the bag so [CO Howell] would have to open it to
               check for the mess-hall items and find the feces.

(Id.). CO Howell authored a Misbehavior Report detailing this incident on June 21,

2018. (Id. at ¶ 7; Cullen Aff. Ex. J at 34, Dkt. No. 383-10).

         Defendants do not advance any argument as to whether plaintiff has or has not

established the requisite elements of his retaliation claim. (See Def. MOL at 45-46).

However, even assuming plaintiff had met his burden in this regard, defendants have


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  Although the parties to this action do not provide such clarification, other courts have taken judicial
notice that “sahur” is the “light pre-dawn meal eaten by Muslims during Ramadan.” Shakur v.
Graham, No. 9:14-CV-00427, 2015 WL 1968492, at *9 n. 2 (N.D.N.Y. May 1, 2015). Other courts
have also recognized that a sahur bag, also referred to as a sahor bag, in the prison setting context,
“contain[s] a meal [for an incarcerated individual] to be consumed in the early morning prior to the
daily fast[.]” Eleby v. Graham, No. 9:14-CV-1468 (GTS/ATB), 2016 WL 11480167, at *1 (N.D.N.Y.
Sept. 21, 2016), report and recommendation adopted, 2016 WL 6157887 (N.D.N.Y. Oct. 24, 2016).


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demonstrated that CO Howell issued the subject misbehavior report because of

plaintiff’s undisputed act of putting feces and toilet paper in the Sahor bag, photographs

of which are included as exhibits to the defendants’ motion. (Cullen Aff. Ex. J at 22-

26). Plaintiff did not deny putting such “garbage” into the Sahor bag at his deposition

(Pl. Dep. at 214-15), nor has plaintiff produced any evidence to refute CO Howell’s

description of the events leading him to issue the misbehavior report. Accordingly,

because defendants have established that CO Howell would have taken the action

complained of regardless of any retaliatory animus he may have held against plaintiff, it

is recommended that plaintiff’s First Amendment retaliation claim against CO Howell

be dismissed.

                                 ii.   Hollenbeck, Salls, Gravlin, Fletcher
      Plaintiff alleges that CO Hollenbeck approached plaintiff’s cell as CO Howell

discovered the feces in plaintiff’s Sahor bag and stated, among other things,

             You are one stupid nigger, you are gonna pay I will get you this
             time for those crappy grievance you keep filing [sic] Sergeant
             Fletcher is investigating on me everyday Jessie Barnes.

(AC at ¶ 111). Plaintiff then alleges that Sgt. Fletcher approached his cell and stated,

             Oh Jessie Barnes will [sic] be searching your cell you spook rat,
             are you com[]ing out if you refuse I get the chance to take care
             of you myself you piece of shit because I am sick of investigating
             your bullshit grievances everyday you file on staff in this block.
             The [one] I had yesterday had my name on it and today I received
             a grievance with more of your delusional lies on staff and I am
             fed up with you and your shit.

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(Id. ¶ 112). Plaintiff further alleges that Lt. Salls subsequently approached his cell and

stated,

              Jessie Barnes I want to search your cell and I can see an apple
              contraband now and I do not care about your lawsuit it do not
              mean nothing to me. When I get finished with you today you will
              have a reason to file another lawsuit if we do not kill you first
              because I can do whatever I want to do to you nigger you are an
              inmate.

(AC at ¶ 113). Plaintiff also alleges that Lt. Salls and Sgt. Fletcher expressed their

intention to move plaintiff “one (1) cell away from” Reeder. (AC ¶ 114-15; Pl. Dep. at

218).

        Plaintiff’s allegations as to why he was eventually ordered to come of out his cell

on June 21st are inconsistent. In his amended complaint, plaintiff alleges that Capt.

Gravlin approached plaintiff’s cell to “reconvene” plaintiff’s previously adjourned

disciplinary hearing on a separate matter. (Id. at ¶ 116). However, at his deposition,

plaintiff testified that Sgt. Fletcher and CO Hollenbeck approached his cell and

informed him he was “coming out” for a cell search. (Pl. Dep. at 217). When they

further informed plaintiff that they were going to move him one cell away from Reeder,

plaintiff told them he “wasn’t going to go down there.” (Pl. Dep. at 218-19). Based on

plaintiff’s response, “they went and got a cell extraction team.” (Pl. Dep. at 219).

Plaintiff was ultimately extracted from his cell by use of a chemical agent, as previously

discussed (see supra, Part II.B.6 of this Report and Recommendation). Plaintiff alleges


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that the defendants released the chemical agent into his cell in retaliation for the

lawsuits and/or grievances plaintiff had previously filed against them.

         Even assuming plaintiff had raised a material question of fact as to each element

of this retaliation claim, defendants have established that they would have taken the

adverse action – extracting plaintiff from his cell by way of the application of a

chemical agent – notwithstanding the existence of any retaliatory animus. See Lewis v.

Hanson, No. 9:18-CV-0012 (LEK/DJS), 2022 WL 991729, at *27 (N.D.N.Y. Mar. 31,

2022) (“[I]f taken for both proper and improper reasons, state action may be upheld if

the action would have been taken based on the proper reasons alone.”) (quoting

Graham v. Henderson, 89 F.3d 75, 79 (2d Cir. 1996). Here, notwithstanding plaintiff’s

inconsistent accounts for why he was ordered to exit his cell – whether due to a cell

search because of the Sahor bag incident, or to attend a disciplinary hearing - the

defendants have established, and plaintiff does not dispute, that he refused to do so. 12

(Hollenbeck Decl. at ¶¶ 2-3; Cullen Aff. Ex. J at 31, 35; Pl. Dep. 218). In his sworn

declaration, Supt. Uhler, who authorized the extraction of plaintiff on June 21st by use




12
 The defendants’ papers suggest that plaintiff was being ordered to exit his cell for a “cell frisk and
move.” (Cullen Aff. Ex. J at 31).

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of chemical agent, asserts that such force was “justified and necessary” under the

circumstances, pursuant to DOCCS directives.13 (Uhler Decl. ¶ 16, Ex. B).

         The burden shifts back to the plaintiff to demonstrate by competent evidence that

‘the legitimate reasons offered by the defendant were not its true reasons, but were a

pretext for [retaliation].’ ” Dillion v. Suffolk County Dept. of Health Servs., 917 F. Supp.

2d 196, 204 (E.D.N.Y. 2013) (quoting Patterson v. Cnty. of Oneida, N.Y., 375 F.3d 206,

221 (2d Cir. 2004)). “[T]he conclusion that the state action would have been taken in

the absence of improper motives is readily drawn in the context of prison administration

where [courts] have been cautioned to recognize that prison officials have broad

administrative and discretionary authority over the institutions they manage.” Hynes v.

Squillace, 143 F.3d 653, 657 (2d Cir. 1998) (quoting Lowrance v. Achtyl, 20 F.3d 529,

535 (2d Cir. 1994)).

         As previously noted, it is undisputed that plaintiff refused to exit his cell on June

21st, despite DOCCS staff’s repeated orders that he do so. Considering plaintiff’s

failure to present any argument in opposition to the defendants’ motion, and because

plaintiff has failed to present evidence which would allow a juror to conclude that

defendant’s reasons for extracting him from his cell were pretextual, the court


13
  In addition, this court has previously recognized that DOCCS Directive 4903 “authorizes the use of
chemical agents when necessary to remove an inmate from his cell.” Reeder v. Bell, No. 9:15-CV-
01078 (MAD/TWD), 2019 WL 2997513, at *2 (N.D.N.Y. May 7, 2019), report and recommendation
adopted, 2019 WL 2264990 (N.D.N.Y. May 28, 2019).

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recommends granting summary judgment as to the retaliation claim arising from the

June 21st cell extraction.

                             6.   June 22, 2018

      Plaintiff alleges that CO Marshall and Lt. Salls used excessive force against him

during his extraction from, and return to, his cell on June 22, 2018, in retaliation for

previously filed grievances and lawsuits. (AC at ¶ 142). Of note, defendants have

established that plaintiff was refusing to comply with directives and orders to shut his

exercise pen door, and plaintiff does not meaningfully dispute this fact. (See Pl. Dep. at

238-40).

                                        i.     Lt. Salls

      Plaintiff alleges that within an hour prior to being extracted from his cell on June

22nd, Lt. Salls approached plaintiff’s cell and stated, “close your recreation pen door

right now you piece of shit and don’t pussy out when I come to ex[tract] you from cell

[sic].” (AC at ¶ 134). Less than 45 minutes later, Lt. Salls and other DOCCS staff

extracted plaintiff from his cell by use of chemical agent. (Id. at 135).

      When asked to explain the basis for his retaliation claim against Lt. Salls,

plaintiff testified that he was

             the same person that they keep gassing me out or forcing me to
             move next to this dude Reeder so he can bang me out. I mean,
             they all together actively . . . participated in the same pattern of
             conduct on many occasions. And he threatened me. I just can’t
             remember what he said.

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(Pl. Dep. at 248).

      Lt. Salls avers that he responded to plaintiff’s cell on June 22, 2018 in an effort to

gain compliance from plaintiff to secure the exercise pen door. (Salls Decl. at ¶ 21).

Upon Capt. Barkman’s final order to plaintiff to comply, which plaintiff refused, Capt.

Barkman directed the use of necessary force to gain compliance. (Id.). At that time, Lt.

Salls directed Sgt. Bush to apply chemical agents into plaintiff’s cell. (See supra Part

II.B.7.i. of this Report and Recommendation).

      Defendants do not meaningfully challenge whether plaintiff engaged in a

protected activity or whether the use of chemical agents on plaintiff constituted adverse

action. The linchpin is whether plaintiff has raised a triable issue of fact as to a causal

connection between plaintiff’s prior lawsuit and the use of force on June 22nd. With

respect to temporal proximity, plaintiff alleges that a decision denying summary

judgment to Lt. Salls in a separate federal lawsuit was issued on March 16, 2018,

approximately three months prior to the June 22nd extraction. (AC at ¶ 142, citing

Barnes v. Fischer, No. 9:13-CV-164 (GLS/DJS)). Lt. Salls does not deny having

knowledge of plaintiff’s ongoing litigation against him.

      Even assuming plaintiff has established temporal proximity, and (at least) a

question of fact as to whether Lt. Salls was aware of plaintiff’s lawsuit, plaintiff has

failed to advance any other circumstantial or direct evidence of a retaliatory motivation,

other than his general allegation that the staff at Upstate C.F. was collectively taking

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retributive action against him. See Vogelfang, 889 F. Supp. 2d at 517 (holding that

“repeatedly assert[ing] that [the plaintiff’s] perceived mistreatment is a result of

retaliatory animus on the part of the defendants,” without “any specific and detailed

factual allegations to support that assertion,” is insufficient to establish a causal

connection (quoting Friedl v. City of New York, 210 F.3d 79, 85–86 (2d Cir. 2000) ) ).

Indeed, Lt. Salls’s verbal “threat” cited by plaintiff in his amended complaint, while

perhaps hostile, makes no reference to plaintiff’s lawsuit, nor can it be construed to

infer any retaliatory animus.

      Even assuming plaintiff had established a question of fact as to the elements of

his retaliation claim against Lt. Salls, defendants have satisfied their burden of offering

a legitimate, non-discriminatory reason for the adverse action. It is undisputed that

plaintiff refused to shut his recreation pen door, despite numerous orders and directives

to do so. Based on these circumstances, authorization was obtained through the

appropriate chain of command to use force to extract plaintiff from his cell. As

discussed, and as evidenced by the documentary and video evidence, there is nothing to

suggest that the cell extraction exceeded the degree of force necessary to obtain

plaintiff’s compliance. Plaintiff has failed to advance any evidence of pretext in

response to the defendant’s evidence to survive summary judgment. Accordingly, the

court recommends granting summary judgment to Lt. Salls as to the June 22, 2018

retaliation claim against him.

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                                        ii.    Marshall

      To the extent plaintiff alleges that CO Marshall’s involvement in plaintiff’s cell

extraction on June 22nd was in retaliation for grievances plaintiff filed against CO

Marshall and/or CO Marshall’s “wife” (See Pl. Dep. at 247), for the reasons previously

stated summary judgment is recommended to CO Marshall. Defendants have satisfied

their burden of offering a legitimate reason for plaintiff’s cell extraction, and the

summary judgment record does not plausibly support the existence of any pretext such

that a question of material fact remains.

      However, plaintiff also alleges that when CO Marshall retrieved plaintiff from

the infirmary on the morning of June 22nd, CO Marshall “rough house pat-frisk[ed]

plaintiff, and then while applying restraints to plaintiff, CO Marshall “mumbled under

his breath or whispered: ‘I got your grievance today your lying rat bitch and I am going

to get you.’ ” (AC at ¶ 124). Later that morning, Sgt. Bush “approached plaintiff’s cell

to conduct an investigation” of the grievance. (Id. at ¶ 128).

      Sometime after this interaction, plaintiff was extracted from his cell. Plaintiff

alleges that after the extraction, he was eventually escorted back to his cell. (AC at ¶

137). Plaintiff alleges that upon being placed in his cell and placing his hands in the

fixed protective hatch cover, CO Marshall “grabbed,” “twisted,” and/or “bent”

plaintiff’s right ring finger. (AC at ¶ 139). Plaintiff heard a crack and screamed

“Marshall you are br[ea]king my finger.” (Id.). As discussed, it is undisputed that

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plaintiff did not immediately remove his hands from the fixed protective hatch cover,

despite continued orders from the corrections officers to do so. Plaintiff admits that he

had his hands in the fixed protective hatch cover because he “want[ed] to see

somebody” (Plt. Dep. at 243-44), and the video evidence shows plaintiff screaming “I

don’t give a fuck” and “I ain’t doing it” in response to the correction’s officers orders to

“put [his] hands in.” (Cullen Ex. P6 at 18:00).

      In his sworn declaration submitted in support of defendants’ motion for summary

judgment, CO Marshall states that upon escorting plaintiff back to his cell, he removed

the mechanical restraints and ordered plaintiff to bring his hands in the cell, but

“plaintiff did not comply.” (Marshall Decl. ¶ 7). CO Marshall then attempted to “force

plaintiff’s right arm in the cell,” but was unsuccessful. (Id.). Eventually, Lt. Salls

“ordered force to stop and to close the fixed protective hatch cover.” (Id.). CO

Marshall denies ever having assaulted, harassed, threatened, or used racial slurs against

plaintiff, and denies retaliating against plaintiff for any reason. (Id. ¶¶ 15, 18).

      On this record, the court recommends granting defendants’ motion for summary

judgment as to the retaliation claim premised on the force used by CO Marshall to push

plaintiff’s hands into his cell on June 22nd. As discussed, adverse action taking the form

of physical assault need not rise to the level of an Eighth Amendment excessive force

violation for purposes of a retaliation claim. See Flemming v. King, No. 14-CV-316,

2016 WL 5219995, at *5 (N.D.N.Y. June 20, 2016), report and recommendation

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adopted, 2016 WL 5173282 (N.D.N.Y. Sept. 21, 2016). However, to be considered an

adverse action, the force must be more than de minimis. For example, courts have

found that shoving an inmate, or comparable conduct, is insufficient to constitute an

adverse action. George v. Cnty. Of Westchester, No. 20-CV-1723, 2021 WL 4392485,

at *8 (S.D.N.Y. Sept. 24, 2021) (listing cases). On this record and based on the caselaw

previously cited in this Report-Recommendation, the court seriously questions whether

the force used by CO Marshall in pushing plaintiff’s hands into the feed-up hatch

amounted to more than de minimis force.

      Moreover, CO Marshall has established a non-retaliatory basis for pushing

plaintiff’s hands inside the feed-up hatch, as plaintiff was undisputedly violating the

corrections officers’ directions to place his hands inside to be locked in. Accordingly,

the court recommends granting defendants’ motion for summary judgment as to the

retaliation claim against CO Marshall stemming from the June 22, 2016 incident.

V.    Fourteenth Amendment Due Process – Uhler, Bell, Woodruff

      As the district court previously noted with some skepticism, the amended

complaint provides “a marginally more cogent basis for plaintiff’s due process

challenges concerning the FPHC and retention strap orders imposed on him during his

confinement at Upstate C.F.” than what was alleged in plaintiff’s original complaint.

(See Dkt. No. 165). Nevertheless, plaintiff was afforded the opportunity to proceed on

his due process claims, which the court liberally construes to assert both a substantive

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and procedural due process violation. (AC ¶¶ 217-23). For the following reasons, the

court recommends granting defendants summary judgment on both plaintiff’s

substantive and procedural due process claims.

              A.    Procedural Due Process
      Plaintiff’s procedural due process claim appears to be premised on his allegation

that the policy in place at Upstate C.F. governing the implementation of retention strap

and FPHC orders is “devoid of a legitimate process of notification, review or appeal,”

and that all of plaintiff’s “complaints, appeals, grievances, and lawsuits” challenging

these orders were “ignored” over the course of eight years. (AC at ¶¶ 218-223; Pl. Dep.

46-47, 53).

      In response to plaintiff’s motion, defendants have proffered substantial evidence

showing that review and appeal processes was not only available to plaintiff with

respect to his restraint orders, but that plaintiff readily availed himself of these

processes throughout his incarceration at Upstate C.F. Defendants submit that, in

compliance with DOCCS Directive 4933, any inmate assigned to SHU who has a

history of assaultive behavior and/or who presents a threat to the safety or security of

himself and staff may be placed under a restraint order by the Deputy Superintendent

for Security or, in his/her absence, the Officer of the Day or other higher-ranking

authority. (Cullen Aff. Ex. N3 at 14) (Dkt. No. 383-16). Directive 4933 further states

that a restraint order will be valid for no more than seven days and may be renewed by

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the DSS or, in his/her absence, the Officer of the Day or a higher-ranking authority.

(Id.). To this end, defendants have submitted documentation indicating that plaintiff’s

restraint orders were subject to weekly reviews in compliance with Directive 4933.

(See, e.g., Cullen Aff. Ex. L at 5). They have also submitted sworn declarations

indicating that restraint orders could be appealed internally through the prison grievance

system. (Woodruff Decl. ¶ 37, Dkt. No. 380-46; Uhler Decl. ¶ 42, Dkt. No. 380-42).

Plaintiff admittedly filed multiple grievances relative to the implementation of his

restraint orders. (See Pl. Dep. at 54, 60-61; Cullen Aff. Ex. T, Dkt. No. 383-23). 14

         Plaintiff has failed to advance any evidence sufficient to raise a material question

of fact as to whether he was denied due process. There is no evidence in the summary

judgment record suggesting that plaintiff’s restraint orders were not reviewed in

compliance with Directive 4933, or that plaintiff was without any opportunity to grieve

his restraint orders. Consequently, the court finds that plaintiff was provided with

sufficient due process and recommends granting defendants summary judgment as to

this claim. See Dawes v. Coughlin, 964 F. Supp. 652, 658 (N.D.N.Y. 1997) (“It has

been held that the daily review of deprivation orders, the availability of the inmate




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  Specifically, grievance UST-0615-22 “retaliation/fixed protective hatch cover” (Cullen Aff. Ex. T at
3); grievance CL-0473-21 “cell shield/retention strap orders unjust” (Id. at 4); UST-0722-20
“harassment/retaliation/hatch order” (Id.at 6); UST-0429-20 “retaliation/fixed protective hatch
cover/retention strap” (Id. at 7); UST-260-20 “change directive regarding FPHC/retention strap
orders” (Id.); UST-65395-19 “remove FPHC” (Id. at 8); UST-62522-18 “wants FPHC
removed/retaliation” (Id. at 10); UST-61080-17 “retaliation FPHC/retention strap” (Id.).
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grievance program, and the fact that an inmate has a judicial remedy to challenge

deprivation orders, and restraining orders, under CPLR article 78 clearly provide due

process of law.”), aff’d, 159 F.3d 1346 (2d Cir. 1998); see also Black v. Goord, No. 03-

CV-6155, 2007 WL 3076998, at *5 (W.D.N.Y. Oct. 19, 2007) (dismissing procedural

due process claim involving restraint orders where plaintiff had an extensive record of

violence, his restraint status was reviewed on a weekly basis, he was entitled to write to

the DSS to argue for the removal of the full restraints, and he maintained the option of

filing an Article 78 proceeding); Kemp v. LeClaire, No. 03-CV-844S, 2007 WL

776416, at *8 (W.D.N.Y. Mar. 12, 2007).

             B.    Substantive Due Process
      Defendants contend that plaintiff’s substantive due process claims should be

dismissed as they complain of the same conduct underlying his conditions of

confinement claim brought under the Eighth Amendment regarding the implementation

of retention strap and FPHC orders. The court agrees. “Where another provision of the

Constitution provides an explicit textual source of constitutional protection, a court

must assess a plaintiff’s claims under that explicit provision and not the more

generalized notion of substantive due process.” Conn v. Gabbert, 526 U.S. 286, 293

(1999). Accordingly, where a plaintiff pleads both a substantive due process claim and

a more specific constitutional claim based on the same occurrence, the substantive due

process claims must be dismissed as duplicative. See Garraway v. Smith, No. 12-CV-

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924S, 2019 WL 2135479, at *5 (W.D.N.Y. May 16, 2019) (dismissing due process

claim premised on allegation that conditions of confinement while in SHU constituted a

deprivation of liberty interest as duplicative of conditions of confinement claim);see

also Kavanagh v. Vill. of Green Island, No. 14-CV-01244, 2016 WL 7495813, at *5

(N.D.N.Y. Dec. 30, 2016) (substantive due process claims dismissed as duplicative of

excessive force claim).

      Even if plaintiff’s substantive due process claims were not duplicative, his

allegations surrounding the effects of the restraint orders on his PIMS level do not rise

to the level of a Fourteenth Amendment claim. “PIMS is a security classification that

affords more or less privileges based upon proper adjustment or behavior, like any

security classification, it does not create a liberty interest protected by due process.”

Cicio v. Williams, No. 11-CV-1196, 2013 WL 3101692, at *5 (N.D.N.Y. June 18, 2013);

see also White v. Marinelli, No. 9:17-CV-1094 (LEK/ATB), 2017 WL 11849516, at *14

(N.D.N.Y. Nov. 17, 2017) (dismissing due process claim premised on denial of PIMS

classification level due to absence of protected liberty interest); Rucano v. Annucci, No.

9:18-CV-218 (GTS/C.F.H), 2021 WL 3293504, at *27 (N.D.N.Y. May 19, 2021), report

and recommendation adopted, 2021 WL 3292394 (N.D.N.Y. Aug. 2, 2021) (same).

      Accordingly, the court recommends granting defendants’ motion for summary

judgment as to plaintiff’s substantive due process claim.



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VI.   Qualified Immunity

      In the final section of their motion, defendants advance that they are entitled to

qualified immunity. (Def. MOL at 52-53). After reciting the applicable law, they

present the following argument:

             Based upon the above discussions of law and the uncontroverted
             facts, Defendants are entitled to qualified immunity and
             Plaintiff’s claims against them must be dismissed. XXX
(Def. MOL at 53).

      “The Second Circuit has made clear that defendants bear the burden of

‘adequately develop[ing]’ and ‘proving’ a qualified immunity defense. Soley v. Cnty. of

Nassau, No. 18-CV-377, 2024 WL 1494383, at *16 (E.D.N.Y. Mar. 4, 2024) (quoting

Blissett v. Coughlin, 66 F.3d 531, 538 (2d Cir. 1995)). Here, defendants fail to even

reference the specific claims at issue in their discussion of qualified immunity, much

less “develop” or “prove” an argument for it. Although the court recognizes the

magnitude of plaintiff’s claims, and the defendants’ summary judgment motion in

general, the court finds that defendants’ conclusory argument fails to meet their burden

of establishing an entitlement to qualified immunity. See Shechter v. Comptroller of

N.Y.C., 79 F.3d 265, 270 (2d Cir. 1996) (concluding that a “bald assertion” of qualified

immunity “provides no basis for a ruling” and fails to meet defendant’s burden);

Crawford v. Coughlin, No. 94-CV-494, 1996 WL 227864, at *4 (W.D.N.Y. Apr. 26,

1996) (finding that a “cursory analysis of qualified immunity clearly fails to meet


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defendants’ burden of proof on the affirmative defense”); Murray v. Coleman, No. 08-

CV-6383L, 2014 WL 2993748, at *7 (W.D.N.Y. July 2, 2014) (“It is not this Court’s

responsibility to do counsel’s work for them by scouring the record to determine

whether counsel’s conclusory arguments hold water.”).

      WHEREFORE, based on the findings above, it is

      RECOMMENDED, that defendants’ motion for summary judgment be

GRANTED in part and DENIED in part, and it is further

      RECOMMENDED, that defendants’ motion for summary judgment be

DENIED as to the following claims:

      1.    Eighth Amendment failure to intervene claim against defendants Truax,
            Fleury, Stephen, Helms, Page, and St. Mary premised on the alleged
            assault by another incarcerated individual on April 12, 2016,

      2.    Eighth Amendment excessive force claim against defendants Cook,
            Lamica, Ayers, Baily, Lincoln, Hoffnagle, and Derouchie premised on the
            alleged incident in the lower holding cell on February 13, 2017,

      3.    Eighth Amendment conditions of confinement claim against defendants
            Hollenbeck, Fletcher, and Salls premised on alleged noise pollution,

      4.    First Amendment retaliation claim against defendant Leclerc premised on
            the issuance of a false misbehavior report on February 8, 2016,

      5.    First Amendment retaliation claim against defendant Smith premised on
            the issuance of a false misbehavior report on October 19, 2016, and
      6.    First Amendment retaliation claim against defendant Derouchie premised
            on his alleged failure to intervene/protect plaintiff on February 13, 2017;
            and it is further



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      RECOMMENDED, that defendants’ motion for summary judgment otherwise

be GRANTED, and the remaining claims and defendants be DISMISSED from this

action with prejudice.

      Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(c), the parties have

fourteen (14) days within which to file written objections to the foregoing report.

These objections shall be filed with the Clerk of the Court. FAILURE TO OBJECT

TO THIS REPORT WITHIN FOURTEEN DAYS WILL PRECLUDE

APPELLATE REVIEW. Roldan v. Racette, 984 F.2d 85, 89 (2d Cir. 1993) (citing

Small v. Sec’y of Health & Hum. Servs., 892 F.2d 15 (2d Cir. 1989)); 28 U.S.C. §

636(b)(1); Fed. R. Civ. P. 72.



Dated: February 21, 2025




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                                                                  which relief may be granted pursuant to 28 U.S.C. § 1915 and
                    2023 WL 4710869                               28 U.S.C. § 1915A. (Dkt. No. 4). The court granted plaintiff
      Only the Westlaw citation is currently available.           leave to amend his complaint to “correct[ ] the pleading
       United States District Court, N.D. New York.               defects” identified with his original complaint. (Id. at 10).
                                                                  Plaintiff availed himself of the opportunity to amend, and
                Dumar JACKSON, Plaintiff,                         the court received plaintiff's amended pleading on or about
                          v.                                      November 18, 2021. (Dkt. No. 6, “Am. Compl.”).
                 N. MOORE, Defendant.
                                                                  On February 9, 2022, I determined, pursuant to my initial
                  9:21-CV-1001 (GTS/ATB)                          review of the complaint, that plaintiff's amended complaint
                             |                                    was accepted for filing and that the only active defendant was
                    Signed April 14, 2023                         C.O. Moore. (Dkt. No. 7 at 3). C.O. Moore filed an answer
                                                                  to the amended complaint on April 14, 2022. (Dkt. No. 12).
Attorneys and Law Firms                                           On December 15, 2022, defendant filed this instant motion
                                                                  for summary judgment (Dkt. No. 16), to which plaintiff
DUMAR JACKSON, Plaintiff, pro se.
                                                                  responded on February 16, 2023 (Dkt. No. 20).
RACHAEL S. OUIMET, Assistant Attorney General, for
Defendant.
                                                                     B. Summary of Complaint
                                                                  The complaint alleges that on September 6, 2018, while
                                                                  plaintiff was confined in Clinton C.F., he was attacked by
            REPORT-RECOMMENDATION                                 another inmate when they were released from their keep-
                                                                  lock cells at the same time. (Am. Comp. at 4). Although
ANDREW T. BAXTER, United States Magistrate Judge
                                                                  facility policies and procedures prohibited C.O. Moore from
 *1 In this pro se civil rights action, plaintiff alleges         releasing the other inmate “until [plaintiff] was ... back in
that the defendant violated his Eighth Amendment rights           general population,” C.O. Moore nevertheless released both
when he failed to protect plaintiff from another inmate.          inmates simultaneously, knowing that plaintiff did not have
Presently before the court is defendant Correctional Officer      an escort at the time. Id. C.O. Moore also “knew there was a
(“C.O.”) Moore's motion for summary judgment. (Dkt. No.           race war going on in [Clinton C.F.] with the bloods and the
16). This matter has been referred to me for Report and           Spanish gangs and let [plaintiff] out of [his] cell with a known
Recommendation by United States District Judge Glenn T.           gang member posed [sic] a substantial risk of serious harm
Suddaby, pursuant to 28 U.S.C. § 636(b) and Local Rule            to [him].” Id. Although C.O. Moore observed the inmate run
N.D.N.Y. 72.3(c). For the reasons set forth below, this court     into plaintiff's cell and attack him, C.O. Moore “did nothing
will recommend granting defendant's motion and dismissing         to prevent it from happening.” Plaintiff was returned to keep-
the complaint in its entirety.                                    lock after the incident and remained there for an additional 70
                                                                  days, until November 15, 2018. (Dkt. No. 16-3, Pl.’s Dep. at
                                                                  18, 27, 79, 88, 95; Internal Movement History, Dkt. No. 20-1
I. Background                                                     at 31).

   A. Procedural History
In this civil rights action, plaintiff alleges a constitutional   II. Summary Judgment
violation occurred while he was incarcerated at Clinton            *2 Summary judgment is appropriate where there exists no
Correctional Facility (“Clinton C.F.”), in the custody            genuine issue of material fact and, based on the undisputed
of the New York State Department of Corrections and               facts, the moving party is entitled to judgment as a matter of
Community Supervision (“DOCCS”). Plaintiff filed the              law. Fed. R. Civ. P. 56; Salahuddin v. Goord, 467 F.3d 263,
original complaint on September 10, 2021. (Dkt. No. 1). On        272-73 (2d Cir. 2006). Rule 56(b) provides that a party may
October 25, 2021, the court issued a Decision and Order           file a motion for summary judgment “at any time until 30
granting plaintiff's application to proceed in the action in      days after the close of all discovery.” Fed. R. Civ. P. 56(b).
forma pauperis (“IFP”), and conditionally dismissing the          Thus, a party may move for summary judgment in lieu of
original complaint because it failed to state a claim upon        an answer. See, e.g., Anderson v. Rochester-Genesee Reg'l


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Transp. Auth., 337 F.3d 201, 202 (2d Cir. 2003); Crenshaw          motion. See Govan v. Campbell, 289 F. Supp. 2d 289, 295-96
v. Syed, 686 F. Supp. 2d 234, 236 (W.D.N.Y. 2010); Riehl v.        (N.D.N.Y. 2003).
Martin, No. 9:13-CV-439 (GLS/TWD), 2014 WL 1289601,
at *1-2 (N.D.N.Y. Mar. 31, 2014).                                  1      Defense counsel specifically advised plaintiff of
                                                                          the consequences of failing to respond to the
The moving party has the burden to show the absence of                    summary judgment motion. (Dkt. No. 16). Counsel
disputed material facts by informing the court of portions                forwarded, to plaintiff, a copy of the court's form
of pleadings, depositions, and affidavits which support the               Notification of the Consequences of Failing to
motion. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).               Respond to a Summary Judgment Motion, which
If the moving party satisfies its burden, the nonmoving party             provided in pertinent part:
must move forward with specific facts showing that there is                  If you do not file a proper response to this
a genuine issue for trial. Salahuddin v. Goord, 467 F.3d at                  motion, the Court may grant the motion and
273. In that context, the nonmoving party must do more than                  dismiss some or all of your claims. Under
“simply show that there is some metaphysical doubt as to the                 Local Rules 7.1(b) and 56.1(b), to file a proper
material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio                 response to this motion, you must submit the
Corp., 475 U.S. 574, 586 (1986). However, in determining                     following papers:
whether there is a genuine issue of material fact, a court must                 (1) A response to the defendants’ statement
resolve all ambiguities, and draw all inferences, against the                   of material facts that admits and/or denies
movant. See United States v. Diebold, Inc., 369 U.S. 654,                       each of the defendants’ assertions in matching
655 (1962); Salahuddin, 467 F.3d at 272. “Only disputes over                    numbered paragraphs, 1 and that supports
[‘material’] facts that might affect the outcome of the suit                    each denial with citations to record evidence.
under the governing law will properly preclude the entry of               ***
summary judgment.” Anderson v. Liberty Lobby, 477 U.S.                       WARNING: If you do not submit a proper
242, 248 (1986). It must be apparent that no rational finder of              response to the defendants’ statement of material
fact could find in favor of the non-moving party for a court                 facts, the Court may deem you to have admitted
to grant a motion for summary judgment. Gallo v. Prudential                  the defendants’ factual statements.
Residential Servs., 22 F.3d 1219, 1224 (2d Cir. 1994).                    (Dkt. No. 16 at 4).

While courts are required to give due deference to a plaintiff's
                                                                   III. Exhaustion of Administrative Remedies
pro se status, that status “does not relieve plaintiff of his
duty to meet the requirements necessary to defeat a motion            A. Legal Standards
for summary judgment.” Jorgensen v. Epic/Sony Records,              *3 The Prison Litigation Reform Act, (“PLRA”), 42 U.S.C.
351 F.3d 46, 50 (2d Cir. 2003). Where a party has failed           § 1997e(a), requires an inmate to exhaust all available
to respond to the movant's statement of material facts as          administrative remedies prior to bringing a federal civil rights
required by Local Rule 7.1(a)(3), the facts in the movant's        action. The exhaustion requirement applies to all inmate suits
statement will be accepted as true (1) to the extent they are      about prison life, whether they involve general circumstances
supported by evidence in the record, and (2) the non-movant,       or particular episodes, and regardless of the subject matter of
if proceeding pro se, has been specifically advised of the         the claim. See Giano v. Goord, 380 F.3d 670, 675-76 (2d Cir.
possible consequences of failing to respond to the motion.         2004), (citing Porter v. Nussle, 534 U.S. 516, 532 (2002)),
Champion v. Artuz, 76 F.3d 483, 486 (2d Cir. 1996).                abrogated on other grounds, Ross v. Blake, 578 U.S. 632
                                                                   (2016). Inmates must exhaust their administrative remedies
Although plaintiff received proper notice of his obligation        even if they are seeking only money damages that are not
to respond to defendant's summary judgment motion in               available in prison administrative proceedings. Id. at 675.
accordance with Local Rules, the plaintiff did not file a
Statement of Material Facts that addressed many of the factual     In order to properly exhaust an inmate's administrative
allegations in defendant's Statement, as required by Local         remedies, the inmate must complete the administrative review
Rule 7.1(a)(3). 1 Consequently, the court may accept the           process in accordance with the applicable state rules. Jones
properly supported facts contained in the defendants’ Rule         v. Bock, 549 U.S. 199, 218-19 (2007) (citing Woodford
7.1 statement (Dkt. No. 16-2) as true for purposes of this         v. Ngo, 548 U.S. 81 (2006)). In Woodford, the court



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held that “proper” exhaustion means that the inmate must          “special circumstances.” Ross v. Blake, 578 U.S. 632, 640
complete the administrative review process in accordance          (2016). “[M]andatory exhaustion statutes like the PLRA
with the applicable procedural rules, including deadlines, as     establish mandatory exhaustion regimes, foreclosing judicial
a prerequisite to bringing suit in federal court. Woodford, 548   discretion.” Riles v. Buchanan, 656 F. App'x 577, 580 (2d Cir.
U.S. at 90-103.                                                   2016) (quoting Ross, 578 U.S. at 639). Although Ross has
                                                                  eliminated the “special circumstances” exception, the other
The grievance procedure in New York is a three-tiered             two factors in Hemphill – availability and estoppel – are still
process. The inmate must first file a grievance with the          valid. The court in Ross referred to “availability” as a “textual
Incarcerated 2 Grievance Resolution Committee (“IGRC”).           exception” to mandatory exhaustion, and “estoppel” has
N.Y. Comp. Codes R. & Regs., tit. 7 §§ 701.5(a)(1) and            become one of the three factors in determining availability.
(b). An adverse decision of the IGRC may be appealed to           Ross, 578 U.S. at 642. Courts evaluating whether an inmate
the Superintendent of the Facility. Id. § 701.5(c). Adverse       has exhausted his or her administrative remedies must also
decisions at the Superintendent's level may be appealed           consider whether those remedies were “available” to the
to the Central Office Review Committee (“CORC”). Id. §            inmate. Id.; see also Riles, 2016 WL 4572321 at *2.
701.5(d). The court also notes that the regulations governing
the Incarcerated 3 Grievance Program (“IGP”) encourage               B. Analysis
the inmate to “resolve his/her complaints through the              *4 Defendant C.O. Moore argues that plaintiff's failure-to-
guidance and counseling unit, the program area directly           protect claim is subject to dismissal, for failure to exhaust
affected, or other existing channels (informal or formal)         administrative remedies, because plaintiff did not file an
prior to submitting a grievance.” Id. § 701.3(a) (Inmate's        initial grievance prior to bringing suit, nor did he appeal
Responsibility). There is also a special section for complaints   the denial of any grievance concerning this claim to CORC.
of harassment. Id. § 701.8. Complaints of harassment are          (Dkt. No. 16-1, Defendant's Memorandum of Law at 14).
handled by an expedited procedure which provides that such        In support of his position, defendant has attached to his
grievances are forwarded directly to the Superintendent of        motion papers the sworn declarations of Rachael Seguin
the facility, after which the inmate must appeal any negative     (“Seguin Decl.”) (Dkt. No. 16-7), the Director of the IGP
determination to the CORC. Id. §§ 701.8(h) and (I), 701.5.        for DOCCS, and Christine Gregory, the IGP Supervisor
                                                                  at Clinton C.F. (“Gregory Decl.”) (Dkt. No. 16-6). These
2                                                                 declarations, and the evidence attached as exhibits thereto,
       This committee was formerly known as the
       “Inmate Grievance Resolution Committee,” but               indicate that plaintiff neither filed an initial grievance related
       has recently been renamed.                                 to his claim that C.O. Moore failed to protect him from
                                                                  another inmate on September 6, 2018, nor did plaintiff submit
3      The program was formerly known as the “Inmate              an appeal to CORC. (See Gregory Decl. ¶¶ 16-20; Seguin
       Grievance Program,” but has recently been                  Decl. ¶¶ 12-14, Ex. A).
       renamed.
Prior to Ross v. Blake, supra, the Second Circuit utilized        In opposition to defendant's motion, plaintiff alleges that,
a three-part inquiry to determine whether an inmate had           while confined in his keep-lock cell, he attempted to file a
properly exhausted his administrative remedies. See Brownell      grievance relating to the incident with C.O. Moore by putting
v. Krom, 446 F.3d 305, 311-12 (2d Cir. 2006) (citing              a sealed letter on the gate for mail pickup. (Dkt. No. 20 at 2-3;
Hemphill v. State of New York, 380 F.3d 680, 686 (2d              Pl.’s Dep. at 87-89). Plaintiff testified that he remembered the
Cir. 2004)). The Hemphill inquiry asked (1) whether the           grievance being picked up by an unnamed officer, but does
administrative remedies were available to the inmate; (2)         not remember the exact day he mailed the grievance. 4 (Dkt.
whether defendants’ own actions inhibiting exhaustion estops      No. 16-3, Pl.’s Dep. at 87-89, 93). Plaintiff speculates that an
them from raising the defense; and (3) whether “special           unnamed officer on duty threw his grievance away. (Dkt. No.
circumstances” justify the inmate's failure to comply with the    20 at 2-3; Pl.’s Dep. at 87-89)
exhaustion requirement. Id.

In Ross, the Supreme Court made it clear that courts
may not excuse a prisoner's failure to exhaust because of



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4                                                                          ¶ 16; Seguin Decl. ¶ 11). Plaintiff also testified that
       Plaintiff testified that he filed the grievance “it was
                                                                           he filed a grievance for an unrelated matter after the
       in like the same – I want to say around like the 22 nd
                                                                           incident and received an unfavorable decision and
       or so.” (Pl.’s Dep. at 87-88).
                                                                           appealed that decision. (Pl.’s Dep. 90-91).
Plaintiff acknowledged that he never followed up with respect
                                                                   7
to his grievance for the 70 days after the incident when he was            I agree with Magistrate Judge Peebles’ cogent
confined on keeplock; but he alleges that he asked sergeants,              analysis that, while the burden of production may
officers, and counselors about the status of his grievance and             shift to a plaintiff with respect to certain aspects
they told plaintiff “they'll get back to you.” (Pl.’s Dep. at              of the exhaustion issue, “the ultimate burden
93-94). Plaintiff admitted that he did not retain any copies               of proof with respect to the exhaustion defense
of the purported grievances relative to his complaints against             remains, at all times, with the defendant.” See,
                                                                           e.g., Bailey v. Fortier, No. 9:09-CV-0742 (GLS/
C.O. Moore. (Id. at 88). 5
                                                                           DEP), 2012 WL 6935254, at *5-6 (N.D.N.Y. Oct. 4,
                                                                           2012), report and recommendation adopted, 2013
5      Plaintiff alleges that he was told “it was a code                   WL 310306 (N.D.N.Y. Jan. 25, 2013); Nelson v.
       49 and that it had to go to the superintendent                      Plumley, No. 9:12-CV-422 (TJM/DEP), 2015 WL
       office.” (Dkt. No. 20 at 3).                                        4326762, at *7-8 (N.D.N.Y. July 14, 2015), report
Plaintiff further testified that he not only understood the                and recommendation adopted, 2013 WL 1305338
grievance process, but also that he participated in an                     (N.D.N.Y. Mar. 18, 2013).
orientation program at Clinton C.F. about how the grievance         *5 Liberally construed, plaintiff appears to argue that
process works at the facility. (Id. at 85-86). He admitted that    administrative remedies were unavailable to him as a result of
he filed “a couple” of grievances after the incident concerning    C.O. Moore trying “to cover his mistakes up”. (Dkt. No. 20
other matters, while still residing at Clinton C.F. (Id. at 90).   at 2-3). Plaintiff does not offer any support for his claim other
                                                                   than his statement “officers talk like inmates talk. So knowing
The record before this court clearly established that the          the incident, knowing I put in a grievance, they wanted to be
defendant did not exhaust administrative remedies with             nosey [sic], and they opened it and never let it get to where
respect to the failure-to-protect claim against C.O. Moore.        it was supposed to go once it was read.” (Pl.’s Dep. at 89).
Given that an initial grievance was never filed, nor was the       During his deposition, plaintiff specifically stated that C.O.
claim ever appealed to CORC, the question becomes whether          Moore was not the person who picked up the grievance. (Pl.’s
plaintiff's failure to exhaust should be excused.                  Dep. at 88-89). Furthermore, plaintiff testified the alleged
                                                                   grievance was sealed, so the unnamed C.O. would have no
The defendant has satisfied his initial burden of                  way of knowing what conduct the grievance was referring to
“establishing ... that a grievance process exist[ed] and           unless (s)he opened the envelope. (Pl.’s Dep. at 92).
applie[d] to the underlying dispute.” Hubbs v. Suffolk
County Sheriff's Dep't, 788 F.3d 54, 59 (2d Cir. 2015)             As noted above, plaintiff was on keep-lock status when he
(citation omitted). 6 Thus, plaintiff assumes the burden           allegedly attempted to submit a grievance relating to the
of producing evidence that one of the exceptions to the            claim in this action by leaving a sealed envelope for C.O.s
administrative exhaustion requirement applies, excusing his        to deliver. “Keeplock is a form of disciplinary confinement
failure to exhaust and permitting his claim to survive             segregating an inmate from other inmates and depriving him
summary judgment. Id. (“If the defendants meet this                of participation in normal prison activities.” Green v. Bauvi,
initial burden, administrative remedies may nonetheless be         46 F.3d 189, 192 (2d Cir. 1995); N.Y. Comp. Codes R.
deemed unavailable if the plaintiff can demonstrate that           & Regs. tit. 7, § 301.6. While “[k]eep-lock is similar to
other factors ... rendered a nominally available procedure         serving time in a Special Housing Unit ... [with the inmate]
unavailable as a matter of fact.”) 7                               remain[ing] in their assigned cell” (Dkt. No. 16-5, Terry Allen
                                                                   Declaration ¶ 7), plaintiff acknowledged that keep-lock status
6                                                                  is “not like if you were in the SHU” (Pl.’s Dep. at 35).
       IGP Supervisors Gregory and Seguin stated
       Clinton C.F. had a fully functioning IGP program at         In Williams v. Priatno, 829 F.3d 118, 123-27 (2d Cir.
       all times relevant to the complaint. (Gregory Decl.         2016), the Second Circuit considered whether administrative



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remedies had been “actually available” to an inmate plaintiff       July 19, 2016) (finding that the Second Circuit's decision
under Ross, after the district court granted the defendants’        in Williams “hinged on the ‘extraordinary circumstances’
motion to dismiss for failure to exhaust. The plaintiff alleged     specific to the case before it”)); Blake v. Porlier, No. 9:18-
that, while housed in a SHU, he drafted a grievance that he         CV-1008 (DNH/CFH), 2019 WL 7484052, at *6 (N.D.N.Y.
delivered to a correction officer to forward to the grievance       Oct. 4, 2019) (“Courts have taken an inmate's housing and
office on his behalf. Id. at 120-121. Approximately two weeks       level of segregation from the general population into account
later, the plaintiff was transferred to a different facility. Id.   when determining the availability of grievance procedures.”)
at 121. He never received a response to his grievance, and          (citing Rodriguez v. Cross, No. 15-CV-1079 (GTS/CFH),
alleged that it was never filed by the officer to whom he had       2017 WL 2791063, at *7 (N.D.N.Y. May 9, 2017) (holding
given it. It was undisputed that plaintiff never appealed the       that a plaintiff in keeplock was not entitled to an exhaustion
grievance. Id.                                                      exception when he alleged that his grievance had not been
                                                                    filed due to mail tampering, and subsequently never inquired
The defendants in Williams argued that even if the grievance        about it), report and recommendation adopted, 2017 WL
was never filed, the plaintiff was required to appeal it and        2790530 (N.D.N.Y. June 27, 2017)).
complete the grievance process. Id. at 124. The defendants
relied on a DOCCS regulation that provided that “an inmate          9
                                                                           In Medina v. Napoli, 725 F. App'x at 53-54,
may appeal a grievance ‘to the next step’ if he does not
                                                                           the Second Circuit followed Williams in a case
receive a timely response.” Id. (quoting N.Y. Comp. Codes                  involving a SHU inmate, but absent the additional
R. & Regs. tit. 7, § 701.6(g)(2)). The Second Circuit rejected             circumstance of a transfer to a different facility,
this argument and held that, for an inmate in the plaintiff's              which might have further complicated the inmate's
situation, the regulatory scheme was so “opaque” and                       ability to file a grievance.
“confusing” as to be practically unavailable. Id. The Second
Circuit found that DOCCS regulations “only contemplate               *6 In any event, unsupported assertions that a plaintiff
appeals of grievances that [have been] actually filed ... [and]     “filed a grievance but that it was somehow lost or destroyed”
give no guidance whatsoever to an inmate whose grievance            have generally been found “insufficient to establish a genuine
was never filed.” Id. Thus, Williams holds that “the process to     issue of fact.” Blake v. Porlier, 2019 WL 7484052, at *5
appeal an unfiled and unanswered grievance is prohibitively         (“Courts within the Second Circuit have continuously held
opaque, such that no inmate could actually make use of it.”         that ‘mere contentions or speculation of grievances being
                                                                    misplaced by officers do not create a genuine issue of material
Id. at 126. 8 See also Medina v. Napoli, 725 F. App'x 51,
                                                                    fact when there is no evidence to support the allegations.’
53-54 (2d Cir. 2018) (following Williams in the context of a
                                                                    ”) (quoting Rodriguez v. Cross, 2017 WL 2791063, at *5);
summary judgment motion).
                                                                    Artis v. Dishaw, No. 9:14-CV-1116 (MAD/ATB), 2016 WL
                                                                    11266599, at *7 n.13 (N.D.N.Y. Sept. 12, 2016) (finding
8
        My summary of Williams tracks that of Magistrate            the plaintiff's failure to exhaust was not excusable, in part,
        Judge Stewart in Berman v. Durkin, No. 9:13-                because while the plaintiff “state[d] that some grievances
        CV-136 (LEK/DJS), 2017 WL 1215814, at                       were destroyed ... he ha[d] not submitted any copies of
        *8 (N.D.N.Y. Mar. 10, 2017), report and                     these grievances, nor d[id] he specify when he attempted
        recommendation adopted, 2017 WL 1207834                     to file them”), report and recommendation adopted, 2017
        (N.D.N.Y. Mar. 31, 2017).                                   WL 1076343 (N.D.N.Y. Mar. 22, 2017); Engles v. Jones,
Some district court cases in the Second Circuit suggest that        No. 6:13-CV-6461, 2018 WL 6832085, at *10 (W.D.N.Y.
Williams should be limited to its particular facts, e.g., by        Dec. 28, 2018) (“Plaintiff's unsupported assertion that he filed
not applying its holding to plaintiffs who are not confined         a grievance but that it was somehow lost or destroyed is
                                                                    insufficient to establish a genuine issue of material fact.”)
in a SHU. 9 See, e.g., Shaw v. Ortiz, No. 15-CV-8964, 2016
                                                                    (citing Scott v. Kastner-Smith, 298 F. Supp. 3d 545, 555
WL 7410722, at *6 (S.D.N.Y. Dec. 21, 2016) (“the factual
                                                                    (W.D.N.Y. 2018)).
scenario here is different from that in Williams where the
Second Circuit found that part of the IGP's regulatory scheme
                                                                    Moreover, courts in this Circuit have granted summary
was ‘so opaque and so confusing that ... no reasonable
                                                                    judgment for failure to exhaust administrative remedies, even
prisoner c[ould] use’ it.”) (citing Mena v. City of New
                                                                    for a prisoner confined to a SHU whose ability to directly file
York, No. 13-CV-2430, 2016 WL 3948100, at *5 (S.D.N.Y.
                                                                    a grievance or make a copy may be limited, when the plaintiff


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provided no documentation or minimal corroborative details.          him “not to worry” with any documentary evidence. See, e.g.,
See, e.g., Sankara v. Montgomery, No. 9:16-CV-00885 (FJS/            Belile v. Griffin, No. 9:11-CV-0092 (TJM/DEP), 2013 WL
TWD), 2018 WL 4610686, at *8 (N.D.N.Y. June 25, 2018)                1776086, at *8 (N.D.N.Y. Feb. 12, 2013) (“Plaintiff's mere
(“Plaintiff's conclusory allegations that the DOCCS IGP              threadbare allegations that his grievances were intercepted
was unavailable to him [while confined to the SHU] were              and discarded, without evidence to support such allegation,
insufficient to withstand summary judgment,” where the               including any evidence that identifies which defendant, in
plaintiff “provided no evidence that he actually did write           particular, is responsible for discarding the grievances, are
grievances; when they were written; the content of the               insufficient to excuse his failure to comply with the IGP
grievances ... the officers named in the grievance(s) ...; the       [process]”), report and recommendation adopted, 2013 WL
specific steps taken by Plaintiff to provide them to an officer      1291720 (N.D.N.Y. Mar. 27, 2013).
to send to the grievance office; and any specific follow up
with the grievance office[.]”), report and recommendation             *7 For the above reasons, the court concludes that plaintiff's
adopted, 2018 WL 3408135 (N.D.N.Y. July 13, 2018);                   completely unsupported and vague claim that a grievance
Simpson v. Price, No. 9:19-CV-1413 (MAD/ATB), 2021 WL                he attempted to file against C.O. Moore relative to the
7367083, at *9 (N.D.N.Y. Dec. 29, 2021) (in the absence of           September 6, 2018 incident was not properly processed does
any documentary evidence to corroborate plaintiff's alleged          not suffice to avoid summary judgment. Accordingly, the
attempt to file a grievance from the SHU, the court concludes        court recommends that C.O. Moore be granted summary
that plaintiff's completely unsupported, unclear, and vague          judgment and the second amended complaint be dismissed
implication that the grievance was not properly processed            against him, on the ground that plaintiff failed to exhaust his
does not suffice to avoid summary judgment), report and              administrative remedies.
recommendation adopted, 2022 WL 336540 (N.D.N.Y. Feb.
4, 2022); Ozzborn v. Cornell, No. 9:17-CV-1039 (MAD/                 Dismissal with prejudice is appropriate where the plaintiff had
ATB), 2021 WL 2227829, at *5 (N.D.N.Y. June 2, 2021)                 the opportunity to exhaust administrative remedies, failed to
(Plaintiff claimed that he filed a grievance from the SHU            do so, and is unable to cure his failure to exhaust. Berry v.
by leaving a plain envelope addressed to the grievance               Kerik, 366 F.3d 85, 87 (2d Cir. 2004). Here, plaintiff's time
committee for the mail personnel to collect; but, because he         to file the relevant grievance to CORC in accordance with
never received a response, he presumed that the grievance was        the rules and regulations has already passed, 11 rendering his
never submitted. Because plaintiff never followed up on his          failure to exhaust his administrative remedies incurable at this
grievance and successfully filed numerous other grievances           time. As a result, I recommend that plaintiff's complaint be
in the recent past, he has failed to demonstrate that his            dismissed with prejudice as to these claims. See Livingston v.
administrative remedies were unavailable to him). 10                 Hoffnagle, No. 17-CV-1158 (MAD/DEP), 2019 WL 409366,
                                                                     at *7 (N.D.N.Y. Feb. 1, 2019) (dismissing without leave to
10                                                                   amend, where the exhaustion error would not be cured by
        District Judge D'Agostino distinguished Williams
                                                                     permitting the plaintiff leave to amend).
        v. Priatno by noting the various ways in which the
        plaintiff in Williams specified how he followed up
                                                                     11
        with respect to the grievance that he left for delivery             “Ordinarily, an inmate must first submit ‘a
        from the SHU, which was never filed with the IGP.                   complaint,’ or grievance, to the facility's IGP clerk
        Id. at *4.                                                          within twenty-one days of the alleged occurrence
                                                                            giving rise to his complaint. 7 N.Y.C.R.R. §
Here, the court does not merely rely on plaintiff's lack of direct
                                                                            701.5(a). Relief from the twenty-one day time limit
evidence, such as copies of the relevant grievances, in finding
                                                                            may be granted by the IGP supervisor based upon
that he has failed to establish a genuine issue of material fact
                                                                            mitigating circumstances, provided, however, that
as to unavailability. Plaintiff in this case has done nothing
                                                                            ‘[a]n exception to the time limit may not be granted
more than allege in conclusory fashion that he attempted to
                                                                            if the request was made more than 45 days after an
file a grievance concerning a the September 6, 2018 incident.
                                                                            alleged occurrence.’ ” Nelson v. Plumley, 2015 WL
Plaintiff's testimony about when he attempted to submit the
                                                                            4326762, at *2 (citing N.Y.C.R.R. § 701.6(g)(1)(i)
grievance was vague and he did not identify the officer who
                                                                            (a)).
allegedly collected it. Likewise, he has not supported his
claim that unnamed sergeants, officers, and counselors told
                                                                     IV. Eighth Amendment Failure to Protect Claim


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Defendant also seeks summary judgment on the merits of
plaintiff's failure to protect claim, arguing, among other
things, that plaintiff has failed to establish C.O. Moore               B. Analysis
was acting with deliberate indifference to conditions that           With due regard for plaintiff's status as a pro se litigant,
posed a substantial risk of serious harm to plaintiff. For the       plaintiff has failed to establish that C.O. Moore knew of a
following reasons, the court agrees that summary judgment is         particular risk to plaintiff's safety or that C.O. Moore was
warranted, in the alternative, on the merits of plaintiff's Eighth   deliberately indifferent for failing to protect plaintiff. Plaintiff
Amendment claim.                                                     merely offers conclusory, general allegations that C.O. Moore
                                                                     knew about an alleged gang and/or race war happening at
                                                                     Clinton C.F. (Dkt. No. 20 at 2). However, C.O. Moore has, in
   A. Legal Standards                                                his sworn declaration, denied having any knowledge about a
In order to state an Eighth Amendment claim for failure              race war at Clinton C.F. or having any access to information
to protect an inmate, the plaintiff must show that he was            regarding an inmate's gang status. (Moore Decl. ¶¶ 21, 23).
incarcerated under conditions posing a substantial risk of           Even if C.O. Moore did have access to such records, plaintiff
serious harm, and prison officials acted with deliberate             testified that he is not a member of a gang. (Jackson Dep. at
indifference to that risk and the inmate's safety. Farmer v.         19). Thus, there is nothing in the record other than plaintiff's
Brennan, 511 U.S. 825, 836, 114 S. Ct. 1970 (1994). The              conclusory allegations establishing that C.O. Moore knew
plaintiff must show that prison officials actually knew of and       plaintiff was at a substantial risk of harm because of an alleged
disregarded an excessive risk of harm to the inmate's health         gang war.
and safety. Id. at 837, 114 S. Ct. 1970. The defendant must be
aware of the facts from which the inference can be drawn that        Plaintiff's claim is further undermined by his sworn testimony
a substantial risk of serious harm exists, and the defendant         admitting that he had not had any prior interactions with
must also draw that inference. Id.                                   the inmate who attacked him before the underlying incident.
                                                                     (Jackson Dep. at 19-20); Gillard v. Jarvis, No. 9:11-CV-1021
The failure of corrections officers to employ reasonable             (LEK/ATB), 2012 WL 7037734, at *7 (N.D.N.Y. Nov.
measures to protect an inmate from violence by other inmates         6, 2012), report and recommendation adopted, 2013 WL
may rise to the level of an Eighth Amendment violation. See          474384 (N.D.N.Y. Feb. 7, 2013) (“If plaintiff did not know the
Ayers v. Coughlin, 780 F.2d 205, 209 (2d Cir. 1985) (citing          inmate who assaulted him, he cannot claim that defendants
United States v. Bailey, 444 U.S. 394, 423 (1980)). “Reckless        “knew” and disregarded the serious risk that plaintiff would
disregard” of plaintiff's right to be free from attacks by other     be assaulted at Clinton by this unknown individual.”).
inmates may be shown by the existence of a “pervasive risk of        Plaintiff has not alleged that he was threatened by the other
harm to inmates from other prisoners and a failure by prison         inmate, or any member of the other inmate's race or gang,
officials to reasonably respond to that risk.” Knowles v. New        prior to this incident. Additionally, neither inmate was in
York City Dep't of Corr., 904 F. Supp. 217, 221-22 (S.D.N.Y.         protective custody when they were released form their cells.
1995) (citing Rucco v. Howard, No. 91 Civ. 6762, 1993 WL             (Moore Decl. ¶ 14). Plaintiff also testified he never asked for
299296, at *4 (S.D.N.Y. Aug. 4, 1993); Martin v. White, 742          protective custody before or after the incident. (Jackson Dep.
F.2d 469, 474 (8th Cir. 1984)).                                      at 73).

 *8 An isolated omission by corrections officers generally           “Courts routinely deny deliberate indifference claims based
does not support a claim for deliberate indifference                 upon surprise attacks.” Zimmerman v. Macomber, No. 95 Civ.
absent circumstances involving evil intent, recklessness, or         0882, 2001 WL 946383, at *5 (S.D.N.Y. Aug. 21, 2001)
deliberate indifference. Coronado v. Goord, No. 99 Civ.              (granting summary judgment in favor of the defendants where
1674, 2000 WL 1372834, at *4 (S.D.N.Y. Sept. 25, 2000)               the plaintiff failed to carry his burden to establish that the
(citing Ayers v. Coughlin, 780 F.2d at 209). Plaintiff may           defendant had knowledge of a substantial risk to plaintiff's
allege a constitutional claim by alleging that the substantial       health or safety from an inmate attacker). Here, plaintiff
risk of inmate attacks was longstanding, pervasive, well-            has failed to allege defendants knew of a prior altercation
documented, or expressly noted by prison officials in the past,      between the plaintiff and his attacker, or of any threats that
and that the officials being sued were exposed to information        had been made against the plaintiff. Fernandez v. N.Y.C.
concerning the risk and thus, must have known about it. Id.          Dep't of Corr., No. 08 Civ. 4294, 2010 WL 1222017, at *4
(citing Farmer, 511 U.S. at 842-43).                                 (S.D.N.Y. Mar. 29, 2010); Clark v. Gardner, 256 F. Supp.3d


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                                                                         Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(c), the
154, 168 (N.D.N.Y. 2017). Because plaintiff has alleged no
                                                                         parties have fourteen (14) days within which to file written
facts suggesting that C.O. Moore knew of a particular risk to
                                                                         objections to the foregoing report. Such objections shall be
the plaintiff's safety, he has failed to raise a material question
                                                                         filed with the Clerk of the Court. FAILURE TO OBJECT
of fact as to whether C.O. Moore was deliberately indifferent,
                                                                         TO THIS REPORT WITHIN FOURTEEN DAYS WILL
and summary judgment is warranted. Parris v. New York State
                                                                         PRECLUDE APPELLATE REVIEW. Roldan v. Racette,
Dep't Corr. Servs., 947 F. Supp.2d 354, 363 (S.D.N.Y. 2013).
                                                                         984 F.2d 85, 89 (2d Cir. 1993) (citing Small v. Sec'y of Health
*9 WHEREFORE, based on the findings above, it is                         and Hum. Servs., 892 F.2d 15 (2d Cir. 1989)); 28 U.S.C. §
                                                                         636(b)(1); Fed. R. Civ. P. 6(a), 6(e), 72.
RECOMMENDED, that Defendant's motion for summary
judgment (Dkt. No. 16) be GRANTED, and the complaint be                  All Citations
DISMISSED WITH PREJUDICE.
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                                                                        no clear error in the Report-Recommendation: Magistrate
                    2023 WL 4711091                                     Judge Baxter employed the proper standards, accurately
      Only the Westlaw citation is currently available.                 recited the facts, and reasonably applied the law to those
       United States District Court, N.D. New York.                     facts. As a result, the Court accepts and adopts the Report-
                                                                        Recommendation for the reasons stated therein, and Plaintiff's
               Dumar JACKSON, Plaintiff,                                Complaint is dismissed with prejudice.
                            v.
                                                                        1
             Officer MOORE, Corr. Fac. Ofcr.,                                   When only a general objection is made to a portion
              Clinton Corr. Fac., Defendant.                                    of a magistrate judge's report-recommendation,
                                                                                the Court subjects that portion of the report-
                   9:21-CV-1001 (GTS/ATB)                                       recommendation to only a clear error review.
                                |                                               Fed. R. Civ. P. 72(b)(2),(3); Fed. R. Civ. P.
                      Signed July 24, 2023                                      72(b), Advisory Committee Notes: 1983 Addition;
                                                                                see also Brown v. Peters, 95-CV-1641, 1997
Attorneys and Law Firms
                                                                                WL 599355, at *2-3 (N.D.N.Y. Sept. 22, 1997)
DUMAR JACKSON, 18-A-2746, Plaintiff, Pro Se, Five                               (Pooler, J.) [collecting cases], aff'd without opinion,
Points Correctional Facility, Caller Box 19, Romulus, New                       175 F.3d 1007 (2d Cir. 1999). Similarly, when
York 14541.                                                                     no objection is made to a portion of a report-
                                                                                recommendation, the Court subjects that portion of
HON. LETITIA A. JAMES, Attorney General for the State                           the report-recommendation to only a clear error
of New York, RACHEL OUIMET, ESQ., Assistant U.S.                                review. Fed. R. Civ. P. 72(b), Advisory Committee
Attorney, Counsel for Defendant, The Capitol, Albany, New                       Notes: 1983 Addition. When performing such a
York 12224.                                                                     “clear error” review, “the court need only satisfy
                                                                                itself that there is no clear error on the face of the
                                                                                record in order to accept the recommendation.” Id.
                  DECISION and ORDER                                    ACCORDINGLY, it is

GLENN T. SUDDABY, United States District Judge
                                                                        ORDERED that Magistrate Judge Baxter's Report-
 *1 Currently before the Court, in this pro se prisoner                 Recommendation (Dkt. No. 21) is ACCEPTED and
civil rights action filed by Dumar Jackson (“Plaintiff”)                ADOPTED in its entirety; and it is further
against Correctional Officer Moore (“Defendant”), are (1)
Defendant's motion for summary judgment, (2) United                     ORDERED that Defendant's motion for summary judgment
States Magistrate Judge Andrew T. Baxter's Report-                      (Dkt. No. 16) is GRANTED in its entirety; and it is further
Recommendation recommending that Defendant's motion
be granted and Plaintiff's Complaint be dismissed, and (3)              ORDERED that Plaintiff's Complaint (Dkt. No. 1) is
Plaintiff's Objection to the Report-Recommendation. (Dkt.               DISMISSED with prejudice.
Nos. 16, 21, 22.) Because Plaintiff's one-page (four-sentence)
Objection fails to specifically challenge any portion of the
                                                                        All Citations
Report-Recommendation, the Court need review that Report-
Recommendation for only clear error. 1 After carefully                  Not Reported in Fed. Supp., 2023 WL 4711091
reviewing the relevant filings in this action, the Court can find

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                                                                     First, with regard to Plaintiff's claims against Defendants
                                                                     Battiste and Bezio, the Court notes that the verified Complaint
      KeyCite Yellow Flag - Negative Treatment                       does not allege facts plausibly suggesting, or adduce
Distinguished by Sheffer v. Fleury, N.D.N.Y., September 18, 2019
                                                                     admissible evidence establishing, that Plaintiff sent letters to
                                                                     Battiste or Bezio at an appropriate address and by appropriate
                   2014 WL 4146276
                                                                     means. (Dkt. No. 1, at ¶ 6.) In any event, even if he had
      Only the Westlaw citation is currently available.
                                                                     done so, the Complaint alleges facts plausibly suggesting, or
               United States District Court,
                                                                     adduces admissible evidence establishing, that a response by
                     N.D. New York.
                                                                     officials at his correctional facility followed the sending of
                    Chris PRICE, Plaintiff,                          the letters. (Id.)
                               v.
                                                                     Second, as an alternative ground for the dismissal of the
      J. OROPALLO, Sergeant, Upstate Corr. Facility;
                                                                     Complaint, the Court accepts Defendants' failure-to-exhaust
     Norman H. Bezio, Dir. of Shu, Inmate Disciplinary
                                                                     argument because, even assuming Plaintiff was in fact told
         Program, Nys Docs; and Phillip Battiste, Dir.
                                                                     that his complaint was not grievable, he filed the grievance
           of Security Staff, Nys Docs, Defendants.                  and knew he was “suppose[d] to ... receive[ ]” a response to it.
                                                                     (Dkt. No. 1, at 4.) More important, he could have, and should
                No. 9:13–CV–0563 (GTS/TWD).
                                                                     have, filed an appeal from his non-response (which he did not
                              |
                                                                     do). 7 N.Y.C.R.R. § 701.6(g) (“[M]atters not decided within
                     Signed Aug. 19, 2014.
                                                                     the time limits may be appealed to the next step.”); see also
Attorneys and Law Firms                                              Smith v. Kelly, 985 F.Supp.2d 275, 281–82 (N.D.N.Y.2013)
                                                                     (collecting cases). Such an appeal could have proved fruitful,
Chris Price, Auburn, NY, pro se.                                     given that the issue was indeed grievable. (Dkt. No. 25,
                                                                     Attach. 5. at ¶ 3 [Hale Decl.].)
Hon. Eric T. Schneiderman, Attorney General for the State of
New York, Keith J. Starlin, Esq., Assistant Attorney General,        For all of these reasons, Defendants' motion is granted, and
of Counsel, Albany, NY, for Defendants.                              Plaintiff's Complaint is dismissed.

                                                                     ACCORDINGLY, it is
                   DECISION and ORDER
                                                                     ORDERED that Magistrate Judge Dancks' Report–
GLENN T. SUDDABY, District Judge.
                                                                     Recommendation (Dkt. No. 28) is ACCEPTED and
 *1 Currently before the Court, in this pro se prisoner civil        ADOPTED in its entirety; and it is further
rights action filed by Chris Price (“Plaintiff”) against the three
above-captioned New York State correctional employees                ORDERED that Defendants' motion for summary judgment
(“Defendants”), are Defendants' motion for summary                   (Dkt. No. 25) is GRANTED; and it is further
judgment, and United States Magistrate Judge Therese
Wiley Dancks' Report–Recommendation recommending that                ORDERED that Plaintiff's Complaint (Dkt. No. 1) is
Defendants' motion be granted. (Dkt.Nos.25, 28.) Plaintiff has       DISMISSED in its entirety.
not filed an Objection to the ReportRecommendation, and
the deadline by which to do so has expired. (See generally
Docket Sheet.) After carefully reviewing the relevant filings              ORDER and REPORT–RECOMMENDATION
in this action, the Court can find no clear error in the Report–
Recommendation: Magistrate Judge Dancks employed the                 THÉRÈSE WILEY DANCKS, United States Magistrate
proper standards, accurately recited the facts, and reasonably       Judge.
applied the law to those facts. (Dkt. No. 28.) To that analysis,
                                                                     Pro se Plaintiff Chris Price, an inmate currently confined
the Court would add only two points.
                                                                     in the Auburn Correctional Facility, has commenced this
                                                                     action pursuant to 42 U.S.C. § 1983 alleging Defendants



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failed to protect him in violation of his Eighth Amendment         letter in which Plaintiff disclosed that he had been forced to
rights by placing a member of a rival gang in his cell. (Dkt.      fight on December 8, 2011, and had been threatened with a
No. 1.) Plaintiff has sued Corrections Sergeant Jon Oropallo       scalpel by members of the Bloods. (Dkt. No. 25–3 at ¶ 4 and
(“Oropallo”); Phillip Battiste (“Battiste”), New York State        p. 6.) In his December 12, 2011, letter Plaintiff indicated that
Department of Corrections and Community Supervision                he was writing to create a paper trail regarding safety issues
(“DOCCS”) Director of Security Staff; and Norman R.                he had raised with corrections officers and sergeants. (Dkt.
Bezio (“Bezio”), DOCCS Director of Special Housing/                No. 25–3 at p. 6.) Plaintiff wrote:
Inmate Disciplinary Program Id. at 1.

 *2 Defendants filed an Answer to Plaintiff's Complaint (Dkt.                   I used to be a well known crip gang
No. 12) and have now moved for summary judgment pursuant                        member. The bloods still label me
to Rule 56 of the Federal Rules of Civil Procedure. (Dkt. No.                   as being a crip gang member. So to
25.) Plaintiff has not opposed the motion or sought additional                  back myself up, I'm [writing] to all
time within which to do so. For the reasons set forth below,                    people that I think should be notified
the Court recommends that Defendants' motion for summary                        of my situation of safety. On the 8th of
judgment be granted.                                                            this month for this particular reasons
                                                                                I stated above, I was [threatened] and
                                                                                forced to fight. I fear for my life while
I. BACKGROUND
                                                                                I'm here [incarcerated]. I just wanna
While Plaintiff was confined at the Upstate Correctional
                                                                                do the time that I have and hopeful[ly]
Facility (“Upstate”), his membership in the Crips gang was
                                                                                get a reversal on my appeals. Are
known to prison officials. (Dkt. No. 1 at ¶ 7.) Plaintiff
                                                                                there any ways that, I can be bunked
expressed concerns for his safety to officials at Upstate,
                                                                                up with someone who isn't labeled a
at least in part because according to Plaintiff, Defendant
                                                                                bloods gang member, because I was
Oropallo had previously forced him to fight with members of
                                                                                threatened with a scalpel. I notified the
the Bloods, a rival gang. Id. at 6. In a Declaration submitted
                                                                                proper personnel and I wasn't taken
in support of Defendants' motion for summary judgment,
                                                                                serious [ly] until I started kicking the
Oropallo denies ever having forced Plaintiff to fight with
                                                                                cell door I was in, I was taken out to
another inmate. (Dkt. No. 25–4 at ¶ 4.)
                                                                                be forced to fight in another cell. I fear
                                                                                I'm a get hurt or I'm a hurt someone.
The evidence shows that Oropallo did issue a misbehavior
                                                                                Can you help me? Thank you for your
report on Plaintiff on December 8, 2011, after observing
                                                                                time and [patience].
Plaintiff and his cell mate Williams fighting. (Dkt. No. 25–4
at ¶ 8 and p. 23.) 1 The fight investigation form reveals that
Plaintiff did not want protection and neither he nor Williams
                                                                   *3 Id.
wanted to press charges in connection with the fight. Id.
at p. 24. Donald Uhler (“Uhler”), Deputy Superintendent
                                                                   According to Uhler, Lt. Lumbard (“Lumbard”) investigated
of Security at Upstate, reviewed Plaintiff's security file and
                                                                   the letter on December 21, 2011. Id. at ¶ 5. Lumbard reported
found no request by him for protective custody. (Dkt. No. 25–
                                                                   that Plaintiff told him that he was a member of the Crips gang
3 at ¶ 10.)
                                                                   and had been having trouble with members of the Bloods
                                                                   gang. Id. at p. 5. When asked about being threatened with
1      Page numbers cited herein are those assigned by the         a scalpel, Plaintiff refused to provide any information. Id.
       Case Management/Electronic Case File (CM/ECF)               Plaintiff did tell Lumbard that he was getting along well with
       system.                                                     his current cell mate, and that they had no issues. Id. Lumbard
Plaintiff claims that as a result of being forced to fight         indicated that the cell block staff had been notified about the
members of the Bloods gang, he filed a grievance and began         situation and advised to leave Plaintiff with his cell mate and,
speaking with officials at Upstate regarding his safety in the     if possible, to move the cell mate with him when he was
fall of 2011. (Dkt. No. 1 at ¶ 6.) Plaintiff's file from Upstate   moved upstairs. Id.
contains a December 12, 2011, “To Whom it May Concern”


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Plaintiff was dissatisfied with the resolution of his grievance
and claims to have written to Defendants Battiste and Bezio            A. General Legal Standards for Summary Judgment
about his safety concerns. Id. Plaintiff was subsequently              Motions
told by Upstate officials that the safety issues of which he         *4 Summary judgment may be granted only if the
had complained would be handled, and he would not have              submissions of the parties taken together “show that there
to worry about being placed in the same cell with known             is no genuine issue of material fact and that the moving
members of the Bloods. Id. Nonetheless, on August 9, 2012,          party is entitled to judgment as a matter of law.” Fed.R.Civ.P.
inmate Adams, a member of the Bloods, was brought in to             56(c); see Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
bunk with Plaintiff. (Dkt. No. 1 at ¶ 6 .) Plaintiff and Adams      251–52, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). The party
got into what both described as a gang related fight in the cell    moving for summary judgment bears the initial burden of
within minutes after the officer placing Adams in the cell left,    showing, through the production of admissible evidence,
and Plaintiff sustained a non-displaced fracture of his nose        that no genuine issue of material fact exists. Salahuddin v.
and a laceration on his nose which required stitches. Id .; Dkt.    Goord, 467 F.3d 263, 272–73 (2d Cir.2006). A dispute of
Nos. 25–3 at 12; 25–4 at 8–9; 26 at 8–12.                           fact is “genuine” if “the [record] evidence is such that a
                                                                    reasonable jury could return a verdict for the nonmoving
Prior to Adams being placed in the cell with Plaintiff,             party.” Anderson, 477 U.S. at 248.
Oropallo had no personal knowledge or information that
would have led him to believe that Adams was gang related or        Only after the moving party has met this burden is the
would pose a threat to Plaintiff. (Dkt. No. 25–4 at ¶ 7.) Adams     nonmoving party required to produce evidence demonstrating
had never told Oropallo he was in a gang, and nothing about         that genuine issues of material fact exist. Salahuddin, 467
the December 8, 2011, fight between Plaintiff and Williams          F.3d at 272–73. The nonmoving party must do more than
led Oropallo to believe Adams would be a threat to Plaintiff.       “rest upon the mere allegations ... of the [plaintiff's] pleading”
Id. at ¶ 10. Furthermore, the assignment of inmates for double      or “simply show that there is some metaphysical doubt as
cell housing was not within the scope of Oropallo's authority.      to the material facts.” Matsushita Elec. Indus. Co. v. Zenith
Id. at ¶ 9.                                                         Radio Corp., 475 U.S. 574, 585–86, 106 S.Ct. 1348, 89
                                                                    L.Ed.2d 538 (1986). “Conclusory allegations, conjecture and
DOCCS maintains an “enemies” list for inmates based upon            speculation ... are insufficient to create a genuine issue of fact.
information provided by the inmate and from his disciplinary        Kerzer v. Kingly Mfg., 156 F.3d 396, 400 (2d Cir.1998).
record. Id. at ¶ 6. Uhler has explained in his Declaration
that DOCCS does not recognize street gangs, and inmates             A party opposing summary judgment is required to submit
frequently do not disclose gang affiliations to prison officials,   admissible evidence. See Spiegel v. Schulmann, 604 F.3d 72,
although if there is information of gang affiliation, a notation    81 (2d Cir.2010) (“It is well established that in determining
might appear on the inmate's personal characteristics screen,       the appropriateness of a grant of summary judgment, [the
his security file, or be made by a counselor during intake. Id.     court] ... may rely only on admissible evidence.”) (citation
at ¶ 7. Uhler reviewed the DOCCS files on Adams and found           and internal quotation marks omitted). A plaintiff's verified
no notations indicating that he was gang affiliated. Id. at ¶       complaint is to be treated as an affidavit. 2 Colon v. Coughlin,
8; see also Adams' Personal Characteristics Form and Inmate         58 F.3d 865, 872 (2d Cir.1995) (“A verified complaint is to
Security Classification Form, neither of which identifies him       be treated as an affidavit ... and therefore will be considered
as a member of the Bloods gang. Id. at pp. 9–10.                    in determining whether material issues of fact exist ....”)
                                                                    (citations omitted).
A misbehavior report was filed against Plaintiff as a result
of the August 9, 2012, fight. (Dkt. No. 25–4 at 8.) Plaintiff       2       Plaintiff's Complaint (Dkt. No. 1) was properly
was found guilty of violent conduct and assault and was given               verified under 28 U.S.C. § 1746. See LeBoeuf,
four months in the Special Housing Unit, loss of packages,                  Lamb, Greene & MacRae, L.L.P. v. Worsham, 185
commissary, ear phones, recreation, and good time, with two                 F.3d 61, 65–66 (2d Cir.1999) (use of the language
months suspended as an incentive for Plaintiff to improve his               “under penalty of perjury” substantially complies
behavior. Id. at 5–6.                                                       with 28 U.S.C. § 1746).
                                                                    In determining whether a genuine issue of material fact exists,
II. APPLICABLE LEGAL STANDARDS                                      the court must resolve all ambiguities and draw all reasonable


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inferences against the moving party. Major League Baseball                  evidence in the record supports the assertion.”)
Props., Inc. v. Salvino, Inc., 542 F.3d 290, 309 (2d Cir.2008).             (citation omitted).
Where a party is proceeding pro se, the court is obliged to           *5 A pro se plaintiff's failure to oppose a summary judgment
“read [the pro se party's] supporting papers liberally, and ...      motion does not mean that the defendant's motion is to
interpret them to raise the strongest arguments that they            be granted automatically. An unopposed summary judgment
suggest.” Burgos v. Hopkins, 14 F.3d 787, 790 (2d Cir.1994).         motion may properly be granted “only if the facts as to which
However, “a pro se party's ‘bald assertion,’ unsupported by          there is no genuine dispute show that the moving party is
evidence, is not sufficient to overcome a motion for summary         entitled to judgment as a matter of law.” Champion v. Artuz,
judgment.” Cole v. Artuz, No. 93 Civ. 5981(WHP)(JCF), 1999           76 F.3d 483, 486 (2d Cir.1996) (internal quotes and citations
WL 983876 at *3, 1999 U .S. Dist. LEXIS 16767 at *8                  omitted).
(S.D.N.Y. Oct. 28, 1999) (citing Carey v. Crescenzi, 923 F.2d
18, 21 (2d Cir.1991)). 3                                             A district court has no duty to perform an independent review
                                                                     of the record to find proof of a factual dispute where the
3                                                                    nonmovant fails to respond to a summary judgment motion.
        Copies of unpublished decisions cited herein will
        be provided to Plaintiff in accordance with Lebron           See Amnesty America. v. Town of West Hartford, 288 F.3d
        v. Sanders, 557 F.3d 76, 79 (2009) (per curiam ).            467, 470 (2d Cir.2000). This is so even where a plaintiff is
        [Editor's Note: Attachments of Westlaw case copies           appearing pro se because even pro se plaintiffs must obey
        deleted for online display.]                                 the Court's procedural rules. See McNeil v. United States,
                                                                     508 U.S. 106, 113, 113 S.Ct. 1980, 124 L.Ed.2d 21 (1993).
  B. Summary Judgment When a Pro Se Plaintiff Fails                  Although not obligated to do so, the Court has elected
  to Oppose the Motion                                               to conduct a review of the entire record in this case. See
Plaintiff has not opposed Defendants' summary judgment               Monahan v. New York City Dept. of Corrections, 214 F.3d
motion. N .D.N.Y. L.R. 56.2 requires the moving party to             275, 292 (2d Cir.2000) (a court may, in its discretion, “choose
notify a pro se litigant of the consequences of failing to           to conduct an assiduous review of the record” even when a
                                                                     party has failed to file a statement of material facts). Because
respond to the summary judgment motion. 4 Where a party
                                                                     Plaintiff's Complaint is verified, the Court will treat it as an
has been given satisfactory notice of the consequences of
                                                                     affidavit in opposition to Defendants' motion. See Colon, 58
failing to respond to a motion for summary judgment, the
                                                                     F.3d at 872.
nonmovant's failure to respond to the movant's statement of
material facts will result in the facts set forth in the statement
being accepted as true to the extent they are supported by the       III. ANALYSIS
                        5
evidence in the record. See L.R. 7.1(a) (3) (“The Court shall
deem admitted any properly supported facts set forth in the            A. Administrative Exhaustion
Statement of Material Facts that the opposing party does not         Defendants argue that they are entitled to summary judgment
                                                                     based upon Plaintiff's failure to exhaust his administrative
specifically controvert.” ) (emphasis in original).
                                                                     remedies with regard to Defendants' alleged failure to protect
                                                                     him from a Bloods gang member in violation of his Eighth
4       A Notice of the Consequences of Failing to                   Amendment rights. (Dkt. No. 25–6 at 5–6.)
        Respond to a Summary Judgment Motion was
        served with Defendants' motion papers in this case.
        (Dkt. No. 25 at 3.)                                             1. Exhaustion Under The Prison Litigation Reform Act
5                                                                    The Prison Litigation Reform Act (“PLRA”) provides that
        See Vermont Teddy Bear Co., Inc. v. 1–800                    “[n]o action shall be brought with respect to prison conditions
        Beargram Co., 373 F.3d 241, 244 (2d Cir.2004)                under section 1983 ... or any other Federal law, by a
        (“[I]n determining whether the moving party has              prisoner confined in any jail, prison, or other correctional
        met [its] burden of showing the absence of a                 facility until such administrative remedies as are available
        genuine issue for trial, the district court may              are exhausted.” 42 U .S.C. § 1997(e). The PLRA requires
        not rely solely on the statement of undisputed               “proper exhaustion” of prison administrative remedies, which
        facts contained in the moving party's Rule 56.1              includes compliance with agency deadlines and procedural
        Statement. It must be satisfied that the citation to         rules. See Woodford v. Ngo, 548 U.S. 81, 90, 126 S.Ct. 2378,


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165 L.Ed.2d 368 (2006). “[P]roper exhaustion ... means using       inquiry for district courts. 6 First, courts must determine if
all steps that the agency holds out and doing so properly          administrative remedies were in fact available to plaintiff.
(so that the agency addresses the issues on the merits).”          In Hemphill, the Second Circuit stated that “[t]he test for
Id. Exhaustion is mandatory, and an inmate cannot satisfy          deciding whether the ordinary grievance procedures were
the PLRA's exhaustion requirement by filing an untimely or         available must be an objective one: that is, would ‘a similarly
administratively defective grievance or appeal. Id. at 84–85.      situated individual of ordinary firmness' have deemed them
                                                                   available.” Hemphill, 380 F.3d at 688.
The DOCCS Inmate Grievance Procedure (“IGP”) has
three stages which prison inmates must complete. See N.Y.          6
                                                                          Subsequent to Hemphill, the Supreme Court
Comp.Codes R. & Regs. tit. 7, § 701.5; see also Hernandez
                                                                          decided Woodford v. Ngo, 548 U.S. 81, 126 S.Ct.
v. Coffey, 582 F.3d 303, 305 (2d Cir.2009). First a grievance
                                                                          2378, 165 L.Ed.2d 368 (2006). The question
complaint must be submitted to the Inmate Grievance
                                                                          addressed in Woodford was whether “a prisoner
Resolution Committee (“IGRC”) for an initial determination
                                                                          can satisfy the [PLRA's] exhaustion requirement
within twenty-one calendar days of the alleged occurrence.
                                                                          by filing an untimely or otherwise procedurally
Id. at § 701.5(a). Next, if the IGRC decision is adverse
                                                                          defective administrative grievance or appeal.” Id.
to the inmate, he has seven calendar days to appeal to
                                                                          at 83–84. The Supreme Court resolved the question
the prison superintendent. Id. at § 701.5(c). If dissatisfied
                                                                          in the negative, explaining that PLRA requires
with the superintendent's decision, the inmate has another
                                                                          “proper exhaustion”—“using all steps that the
seven calendar days to appeal the superintendent's decision
                                                                          agency holds out, and doing so properly (so that the
to the Central Office Review Committee (“CORC”). Id. at §
                                                                          agency addressed the issues on the merits).” Id. at
701 .5(d).
                                                                          90 (citation omitted). Although the Second Circuit
                                                                          has acknowledged that there is some question as
 *6 An inmate must follow through on all three steps to
                                                                          to whether the estoppel and special circumstances
complete the exhaustion process. See Morrison v. Stefaniak,
                                                                          inquiries in Hemphill survived Woodford, the Court
523 F. App'x 51 (2d Cir.2013) (summary order) (upholding
                                                                          has as yet found it unnecessary to decide the
dismissal of complaint because plaintiff failed to appeal
                                                                          issue and appears to still be considering all three
IGRC's decision); Belile v. Griffin, No. 9:11–CV0092 (TJM/
                                                                          Hemphill inquiries in exhaustion cases. See, e.g.,
DEP), 2013 WL 1776086, at *3–4, 7, 2013 U.S. Dist. LEXIS
                                                                          Amador v. Andrews, 655 F.3d 89, 102–03 (2d
47137, at *10, 22–23 (N.D.N.Y. Feb.12, 2013) (plaintiff failed
                                                                          Cir.2011) (finding it unnecessary to decide whether
to exhaust his administrative remedies because he had not
                                                                          Hemphill is still good law because plaintiff had
followed through on all of the steps, i.e., he did not appeal to
                                                                          failed to establish that defendants were estopped
the superintendent of the facility or appeal any unfavorable
                                                                          from raising non-exhaustion as an affirmative
decision of the superintendent to CORC).
                                                                          defense) (internal quotation marks omitted).
Because failure to exhaust is an affirmative defense,              Second, courts must determine if the defendants are
defendants bear the burden of showing that a plaintiff has         estopped from presenting nonexhaustion as an affirmative
failed to exhaust his available administrative remedies. See       defense because they prevented the plaintiff inmate from
Murray v. Palmer, No. 9:03–CV–1010 (GTS/GHL), 2010                 exhausting his administrative remedies by conduct such as
WL 1235591, at *4, 2010 U.S. Dist. LEXIS 32014, at                 “ ‘beating him, threatening him, denying him grievance
* 16 (N.D.N.Y. Mar.31, 2010). If a defendant meets that            forms and writing implements, and transferring him to
burden, however, a plaintiff's failure to exhaust does not         another correctional facility.’ “ Hemphill, 380 F.3d at 688
end the review. “[O]nce a defendant has adduced reliable           (citing Ziemba v. Wezner, 366 F.3d 161, 162 (2d Cir.2004)).
evidence that administrative remedies were available to            Generally, defendants cannot be estopped from asserting a
Plaintiff and that Plaintiff nevertheless failed to exhaust        non-exhaustion affirmative defense based upon the actions
those administrative remedies, Plaintiff must then ‘counter’       or inaction of other individuals. Murray, 2010 WL 1235591,
Defendants' assertion by showing exhaustion unavailability,        at *5 & n. 26 (collecting cases); McCloud v. Tureglio, No.
estoppel, or ‘special circumstances' [under Hemphill v. State      07–CV–0650, 2008 WL 1772305, at * 12, 2008 U.S. Dist.
of New York, 380 F.3d 680, 686 (2d Cir.2004) ].” Murray,           LEXIS 124388, at *44 (N.D.N.Y. Apr. 15, 2008) (Lowe,
2010 WL 1235591, at *4. Hemphill sets forth a three-part           M.J.) (“None of those documents allege facts plausibly



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suggesting that Defendant's own actions inhibited Plaintiff's       Hemphill. 7 See, e.g., Partee v. Goord,, No. 06–15528, 2007
exhaustion of remedies during the time in question.”). Third,       WL 2164529(SAS), at *4, 2007 U.S. Dist. LEXIS, at *14
the Second Circuit explained in Hemphill that there are certain     (S.D.N.Y. July 25, 2007) (excusing exhaustion requirement
“special circumstances” in which even though administrative         because plaintiff was told in reply to his grievance that his
remedies may have been available and the defendants may             claim was outside the purview of the IGRC, and he reasonably
not be estopped from asserting a nonexhaustion defense, the         understood this to mean his dispute was not grievable); Lewis
inmate's failure to exhaust may be justified. Hemphill, 380         v. Cunningham, No. 05–9243(GBD), 2007 WL 2412258, at
F.3d at 686.                                                        *2, 2007 U.S. Dist. LEXIS 62346, at *5 (S.D.N.Y. Aug.23,
                                                                    2007) (finding special circumstances justifying failure to
                                                                    exhaust remedies because a supervisor told plaintiff that filing
   2. Exhaustion Analysis
                                                                    a grievance was not the proper way to address a complaint,
 *7 In his Complaint, Plaintiff has alleged that he asked to file
                                                                    and to instead write a letter to the Chief Medical Officer at the
a grievance with regard to the placement of a known Bloods
                                                                    Department of Health, which he did); Jeffers v. Goord, No.
gang member in his cell. (Dkt. No. 1 at ¶ 4.) According to
                                                                    9:99–CV–0335 (FJS/GHL), 2005 WL 928628, at *6, 2005
Plaintiff, he was told by the grievance officer that the issue
                                                                    U.S. Dist. LEXIS 39309, at *16–17 (N.D.N.Y. Apr.4, 2005)
was not grievable and, as a result, never received a response
                                                                    (“[p]rison official may prevent a prisoner from utilizing a
to his grievance. Id. Jeffrey Hale (“Hale”), Assistant Director
                                                                    remedy by incorrectly representing to the prisoner that his
for the DOCCS IGP, has stated in his Declaration that the
                                                                    complaint is not grievable, or that it is grievable only through
IGP is the appropriate vehicle for inmates to use to address
                                                                    another avenue.”).
issues regarding the person with whom they are housed and
complaints against staff. (Dkt. No. 25–5 at ¶ 3.) Defendants
                                                                    7
have not, however, submitted evidence disputing Plaintiff's                 Courts have noted that there is significant overlap
claim that he was told his complaint was not grievable.                     in the three Hemphill considerations. See, e.g.,
                                                                            Barksdale v. Frenya, No. 9:10–CV–00831 (MAD/
Instead, Defendants have focused on a grievance filed by                    DEP), 2012 WL 4107805, at *6 n. 11, 2012
Plaintiff with regard to the medical care he received for                   U.S. Dist. LEXIS 134738, at *21 n. 11 (N.D.N.Y.
the injuries he sustained in the fight with Adams and have                  Sept.19, 2012) (“In practicality these three prongs
relied upon Plaintiff's failure to appeal from the denial of that           of the prescribed test, though perhaps intellectually
grievance as evidence of failure to exhaust the claim asserted              distinct, plainly admit of significant overlap.”). A
in this lawsuit. (Dkt. Nos. 25–3 at ¶ 9 and pp. 11–13; 25–                  failure to exhaust as a result of being given false
6 at 6.) In Grievance No. UST–50552, Plaintiff referenced                   information on whether a complaint was grievable
the fight in his cell but only in the context of the fight as the           by a non-defendant could arguably fit within either
cause of his broken nose. Id. at p. 11. Plaintiff's complaint               the first or third consideration.
was that it took five days for the medical staff at Upstate to       *8 Defendants' failure to submit evidence refuting or
send him out for x-rays. Id. The investigative report on the        explaining Plaintiff's claim that he was told his complaint
grievance references only the medical care given Plaintiff,         was not grievable leaves material issues of fact regarding the
and the grievance was denied solely on the grounds that there       applicability of one or more of the Hemphill considerations.
was no urgent need for an x-ray. Id. at p. 13. In short, the        Therefore, the Court recommends that Defendants' request
grievance has no direct relevance to Plaintiff's exhaustion of      for summary judgment on the grounds that Plaintiff failed
the failure to protect claim asserted in this lawsuit.              to exhaust his administrative remedies be denied without
                                                                    prejudice.
The relevant exhaustion issue on this motion is whether the
allegation in Plaintiff's Complaint regarding his unsuccessful
attempt to grieve the failure to protect issue is sufficient by        B. Battiste and Bezio
itself to raise an issue of fact under any of the Hemphill          The Eighth Amendment to the United States Constitution
considerations. A number of district courts in the Second           “requires prison officials to take reasonable measures to
Circuit have found either that the IGP is unavailable to            guarantee the safety of inmates in their custody.” Hayes v.
an inmate who has been told by a prison official that his           New York City Dep't of Corr., 84 F.3d 614, 620 (2d Cir.1996).
complaint was not grievable, or that the misinformation             Prison officials are liable under the Eighth Amendment for
constitutes a special circumstance excusing exhaustion under        harm incurred by an inmate if they act with deliberate


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indifference to the inmate's safety. Morales v. New York State        at *6, 2012 U.S. Dist. LEXIS 25367, at *22–23 (N.D.N.Y.
Dep't of Corr., 842 F.2d 27, 30 (2d Cir.1988) (“[A] state             Feb.28, 2012) (citing McKinnon, 568 F.2d at 934); see also
prison guard's deliberate indifference to the consequences of         Richardson v. Goord, 347 F.3d 431, 435 (2d Cir.2003) (a
his conduct for those under his control and dependent upon            “mere ‘linkage in the prison chain of command’ is insufficient
him may support a claim under § 1983.”); see also Hendricks           to implicate a state commissioner of corrections ... in a § 1983
v. Coughlin, 942 F.2d 109, 113 (2d Cir.1991) (“[A]n inmate's          claim”) (citing Ayers, 780 F.2d at 210). Therefore, “a plaintiff
claim that prison officials failed, as a result of their deliberate   must ... allege a tangible connection between the acts of a
indifference, to protect [the inmate] from the violent actions        defendant and the injuries suffered .” Bass v. Jackson, 790
of other inmates may state a viable § 1983 cause of action.”);        F.2d 260, 263 (2d Cir.1986).
Ayers v. Coughlin, 780 F.2d 205, 209 (2d Cir.1985) (“The
failure of custodial officers to employ reasonable measures to         *9 The Second Circuit has held that personal involvement
protect an inmate from violence by other prison residents has         by a supervisor necessary to state a claim under § 1983 may
been considered cruel and unusual punishment”); Wassmann              be found where: “(1) the defendant participated directly in the
v. County of Ulster, 528 F. App'x 105, 106 (2d Cir.2013)              alleged constitutional violation, (2) the defendant, after being
(“Officers at correctional facilities have a duty to protect          informed of the violation through a report or appeal, failed
inmates from violence at the hands of other inmates.”) (citing        to remedy the wrong, (3) the defendant created a policy or
Farmer v. Brennan, 511 U.S. 825, 833, 114 S.Ct. 1970, 128             custom under which unconstitutional practices occurred, or
L.Ed.2d 811 (1994)).                                                  allowed the continuance of such a policy or custom, (4) the
                                                                      defendant was grossly negligent in supervising subordinates
To prevail on a failure to protect claim, an inmate must              who committed the wrongful acts, or (5) the defendant
show that (1) he was incarcerated under conditions posing             exhibited deliberate indifference to the rights of inmates by
a substantial risk of serious harm; and (2) prison officials          failing to act on information indicating that unconstitutional
exhibited deliberate indifference. Farmer, 511 U.S. at 837.           acts were occurring.” Colon, 58 F.3d at 873. 8
In order to establish deliberate indifference where a prison
official has failed to protect an inmate from violence by             8
                                                                             The Supreme Court's decision in Ashcroft v. Igbal,
another inmate, a plaintiff must prove that the defendant
                                                                             556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d
official actually knew of and disregarded an excessive risk
                                                                             868 (2009) has arguably nullified some of the
of harm to the plaintiff's safety. Hayes, 84 F.3d at 620. Even
                                                                             categories set forth in Colon. See Sash v. United
assuming that the allegations in Plaintiff's Complaint are
                                                                             States, 674 F.Supp.2d 531, 543–44 (S.D.N.Y.2009)
sufficient to satisfy, or at least raise a question of fact on
                                                                             (collecting cases). However, the Second Circuit has
the issue of substantial risk of harm, the summary judgment
                                                                             yet to issue a decision addressing Igbal's effect
record is devoid of evidence that Battiste and Bezio exhibited
                                                                             on the Colon categories, and I will assume for
deliberate indifference to Plaintiff's safety in placing Adams
                                                                             purposes of this motion that Colon remains good
in his cell.
                                                                             law.
The law is clear that “personal involvement of defendants             Plaintiff claims that he wrote to Defendants Battiste and Bezio
in alleged constitutional deprivations is a prerequisite to an        with respect to his safety concerns with regard to sharing a
award of damages under § 1983.” McKinnon v. Patterson, 568            cell with a Bloods gang member after he was dissatisfied with
F.2d 930, 934 (2d Cir.1977). “Because vicarious liability is          the response of Upstate officials to his complaints in the fall
inapplicable to ... § 1983 suits, a plaintiff must plead that each    or winter of 2011. (Dkt. No. 1 at ¶ 6.) According to Plaintiff
Government-official defendant, through the official's own             after he sent the letters to Battiste and Bezio he was told by
individual actions, has violated the Constitution.” Ashcroft          Upstate officials that his safety issue had been addressed. Id.
v. Iqbal, 556 U.S. 662, 676, 129 S.Ct. 1937, 173 L.Ed.2d
868 (2009). (“Government officials may not be held liable             Battiste and Bezio did not submit evidence regarding whether
for the unconstitutional conduct of their subordinates under          they received letters from Plaintiff and, if so, took any action
a theory of respondeat superior.”). “Holding a position in a          in response. Instead, they rely upon an attorney's declaration
hierarchical chain of command, without more, is insufficient          stating upon information and belief that a search was made of
to support a showing of personal involvement.” Groves v.              records in the DOCCS Central Office and no correspondence
Davis, No. 9:11–CV–1317 (GTS/RFT), 2012 WL 651919,                    to or from Plaintiff was found. (Dkt. No. 25–2 at ¶ 3.) The



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source of counsel's information and belief appears to be the     presented.”) (citation and internal quotation marks omitted).
July 25, 2013, unsworn letter from a DOCCS senior attorney       Defendants have not satisfied their burden of production with
annexed as an exhibit. Id. at p. 4.                              respect to Plaintiff's claim that he wrote to Battiste and Bezio
                                                                 regarding his concerns about Bloods.
“[O]nly admissible evidence need be considered by the trial
court in ruling on a motion for summary judgment.” Raskin v.      *10 Nonetheless, because Plaintiff has not alleged facts in
Wyatt Co., 125 F.3d 55, 66 (2d Cir.1997); see also Salahuddin,   his Complaint showing that Battiste or Bezio had knowledge
467 F.3d at 272–73 (movant bears the initial burden of           of, or personal involvement in, Adams being placed in a
showing through the production of admissible evidence that       cell with him, or that they were aware of Adams' Bloods
he is entitled to judgment as a matter of law). An attorney's    affiliation, he has failed to state an Eighth Amendment claim
affidavit that is not based upon personal knowledge and relies   against the two supervisory officials for failure to protect
upon an attached letter not sworn as required by Rule 56(e)      him from the injuries he sustained in the fight with Adams.
is not admissible evidence and not properly considered on        See McKinnon, 568 F.2d at 934 (personal involvement in
a summary judgment motion. 9 See Beyah v. Coughlin, 789          constitutional deprivation is a prerequisite to an award of
F.2d 986, 989 (2d Cir.1986); see also Sepanski v. Jani–King,     damages under § 1983); Hayes, 84 F.3d at 620 (defendant
Inc., No. 10–CV–518S, 2013 WL 4455412, at *2–3, *8, 2013         official must actually have known of and disregarded an
U.S. Dist. LEXIS 116437, at *8 (W.D.N.Y. Aug.16, 2013)           excessive risk of harm to the plaintiff's safety to establish
(holding that three unsworn letters submitted by plaintiff       deliberate indifference).
could not be considered in connection with a motion for
summary judgment).                                               Therefore, the Court recommends that Battiste and Bezio
                                                                 be granted summary judgment dismissing the Complaint as
9                                                                against them.
       Statements in Defendants' Statement Pursuant
       to Rule 7.1(a)(3) are deemed admitted on an
       unopposed summary judgment motion only to                    C. Oropallo
       the extent they are supported by admissible               Even assuming, arguendo, that the allegations in Plaintiff's
       evidence. See Amaker v. Foley, 274 F.3d 677,              Complaint are sufficient to satisfy, or at least raise a question
       681 (2d Cir.2001) (“court may not rely solely             of fact, on the issue of substantial risk of harm, the evidence
       upon statement of undisputed facts in determining         in the summary judgment record establishes that Defendant
       whether movant has met this burden of showing             Oropallo did not know of and disregard an excessive risk of
       the absence of a genuine issue for trial; court           harm to Plaintiff's safety in connection with Adams being
       must be satisfied that the citation to evidence           placed in Plaintiff's cell. See Hayes, 84 F.3d at 620. The prison
       in the record supports the assertion). Paragraph          files on inmate Adams contained no notations indicating
       13 of Defendants' Rule 7.1(a)(3) Statement (Dkt.          that he was gang related. (Dkt. No. 25–3 at ¶ 8.) The
       No. 25–1), stating that “[t]here is no evidence           DOCCS “enemies” list did not identify Plaintiff and Adams
       to demonstrate that Defendants Bezio or Battiste          as enemies. Id. at ¶ 6. Moreover, Plaintiff's security file
       received correspondence from Plaintiff,” relies           contained no requirements for protective custody. Id. at ¶ 10.
       upon an attorney's declaration that is not based
       upon personal knowledge and an unsworn letter,            According to Oropallo, prior to the altercation between
       neither of which constitutes admissible evidence.         Plaintiff and Adams, he had no personal knowledge or
       See Beyah v. Coughlin, 789 F.2d 986, 989 (2d              information that would have led him to believe that Adams
       Cir.1986).                                                was gang affiliated or would pose a threat to Plaintiff. (Dkt.
A movant's burden of demonstrating the absence of a question     No. 25–4 at ¶ 7.) Adams had not told Oropallo he was in
of material fact remains the same where the motion is            a gang before being placed in Plaintiff's cell. Id. at ¶ 10.
unopposed. See Vt. Teddy Bear Co. v. 1–800 Beargram Co.,         Moreover, the assignment of inmates in double cell housing
373 F.3d 241, 244 (2d Cir.2004) (“If the evidence submitted      was not within Oropallo's authority. Id. at ¶ 9.
in support of the summary judgment motion does not meet
the movant's burden of production, then summary judgment         Since Plaintiff has failed to submit opposition to Defendants'
must be denied even if no opposing evidentiary matter is         motion, the Court can look only to his verified Complaint
                                                                 for evidence demonstrating that a genuine issue of material


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fact exists as to whether Oropallo knew of and disregarded
                                                                        RECOMMENDED that Defendants' motion for summary
an excessive risk of harm to the plaintiff's safety. Id. Mere
                                                                        judgment (Dkt. No. 25) be GRANTED; and it is further
allegations in Plaintiff's Complaint, especially conclusory
allegations or conjecture and speculation, are insufficient to
                                                                        ORDERED that the Clerk provide Plaintiff with copies of the
create a genuine issue of fact. See Matsushita, 475 U.S. at
                                                                        unpublished decisions cited herein.
585–86; Kerzer, 156 F.3d at 400.

                                                                        Pursuant to 28 U.S.C. § 636(b)(1), the parties have
None of the allegations in Plaintiff's verified Complaint
                                                                        fourteen days within which to file written objections
contradicts Defendants' evidence that prison records did not
                                                                        to the foregoing report. Such objections shall be filed
identify Adams as a member of the Bloods gang, that Oropallo
                                                                        with the Clerk of the Court. FAILURE TO OBJECT
had no knowledge that Adams was a member of the Bloods
                                                                        TO THIS REPORT WITHIN FOURTEEN DAYS WILL
gang at the time he was placed in Plaintiff's cell, and that
                                                                        PRECLUDE APPELLATE REVIEW. Roldan v. Racette,
Oropallo had no authority with regard to the assignment of
                                                                        984 F.2d 85 (2d Cir.1993) (citing Small v. Sec'y of Health
inmates in double cells. Therefore, Plaintiff has failed to raise
                                                                        and Human Servs., 892F.2d 15 (2d Cir.1989) (per curiam); 28
a question of fact as to whether Oropallo was deliberately
                                                                        U.S.C. § 636(b) (1); Federal Rules of Civil Procedure 72, 6(a).
indifferent to his safety, a necessary element of proof on an
Eighth Amendment claim for cruel and inhuman punishment
based upon a failure to protect. See Farmer, 511 U.S. at 837.           Filed June 18, 2014.
Therefore, the Court recommends that Oropallo's motion for
summary judgment be granted.                                            All Citations

*11 ACCORDINGLY, it is hereby                                           Not Reported in F.Supp.3d, 2014 WL 4146276


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                                                                   The following material facts were asserted and supported
                    2015 WL 470648                                 by Defendant in its Local Rule 7.1 Statement and not
      Only the Westlaw citation is currently available.            controverted by Plaintiff in any Local Rule 7.1 Response,
               United States District Court,                       despite the fact that he was twice given specific notice of
                     N.D. New York.                                the consequences of failing to so respond (and the fact that
                                                                   he previously received a courtesy copy of both the Court's
             Yousif AHMED, Plaintiff,                              Local Rules of Practice and Pro Se Handbook). (Dkt. No. 18,
                       v.                                          Attach. 3 [Def.'s Rule 7.1 Statement]; Dkt. No. 18, Attach.
       FRAZER & JONES COMPANY, Defendant.                          4 [First Notification of Consequences]; Dkt. No. 21 [Second
                                                                   Notification of Consequences]; Dkt. No. 3 [Notice of Pro Se
               No. 5:13–CV–0573 (GTS/TWD).                         Handbook and Local Rules].)
                              |
                     Signed Feb. 4, 2015.                          1. Defendant is a high-quality ductile and malleable iron
                                                                   foundry that has been in business for over 150 years in
Attorneys and Law Firms                                            Syracuse, New York.

Yousif Ahmed, Syracuse, NY, pro se.
                                                                   2. Plaintiff was hired on November 11, 2006, to work as
Bond, Schoeneck & King, PLLC, Thomas G. Eron, Esq.,                a Hard Iron Sorter at Defendant's manufacturing facility in
Kerry W. Langan, Esq., of Counsel, Syracuse, NY, for               Syracuse, New York.
Defendant.
                                                                   3. Plaintiff was a member of the Communication Workers of
                                                                   America, Local 81300 (“Union”).
                  DECISION and ORDER
                                                                   4. On September 2, 2011, Defendant suspended Plaintiff,
GLENN T. SUDDABY, District Judge.                                  pending investigation, for pushing and threatening a co-
                                                                   worker.
 *1 Currently before the Court, in this employment
discrimination action filed pro se by Yousif Ahmed                 5. On September 6, 2011, Defendant terminated Plaintiff for
(“Plaintiff”) against Frazer & Jones Company (“Defendant”)         his conduct on September 2, 2011.
pursuant to Title VII of the Civil Rights Act of 1964,
is Defendant's unopposed motion for summary judgment               6. Pursuant to the collective bargaining agreement between
pursuant to Fed.R.Civ.P. 56. (Dkt. No. 18.) For the reasons set    Defendant and the Union, the Union was promptly notified
forth below, Defendant's motion is granted.                        of Plaintiff's termination and represented him throughout the
                                                                   termination process.

I. RELEVANT BACKGROUND
                                                                   7. On October 4, 2012, Plaintiff filed a complaint with the
   A. Summary of Plaintiff's Claims                                New York State Division of Human Rights (“Division”)
Generally, liberally construed, Plaintiff's Complaint claims       claiming that he was discriminated against because of an
that, in September of 2011, Defendant discriminatorily             alleged disability.
suspended then terminated his employment based on his race/
color and national origin in violation of Title VII of the Civil   8. On October 10, 2012, the Division dismissed Plaintiff's
Rights Act of 1964. (Dkt. No. 1.) Familiarity with the factual     complaint for untimeliness because it was not filed within one
allegations supporting these claims in Plaintiff's Complaint       year of the alleged discrimination.
is assumed in this Decision and Order, which is intended
                                                                   9. Plaintiff's Division complaint was cross-filed with the
primarily for the review of the parties. (Id.)
                                                                   Equal Employment Opportunity Commission (“EEOC”).

  B. Undisputed Material Facts                                     10. On February 26, 2013, the EEOC issued a Dismissal and
                                                                   Notice of Rights.



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                                                                   to the motion for summary judgment.) 2 As has often been
11. The EEOC Dismissal and Notice of Rights stated that            recognized by both the Supreme Court and Second Circuit,
Plaintiff's charge was dismissed for lack of jurisdiction          even pro se litigants must obey a district court's procedural
because the charge was not timely filed.
                                                                   rules. 3 For this reason, this Court has often enforced Local
                                                                   Rule 7.1(a)(3) by deeming facts set forth in a moving party's
 *2 12. On April 28, 2014, Defendant was served with a
                                                                   properly supported Statement of Material Facts to have been
Summons and Complaint, later filed by Plaintiff with this
                                                                   admitted where the nonmoving party has failed to properly
Court on May 17, 2013, alleging that Defendant discriminated
against him based on his race/color and national origin.           respond to that statement 4 —even where the nonmoving
                                                                   party is proceeding pro se in a civil rights case. 5

   C. Briefing on Defendant's Motion                               1
                                                                           Cusamano v. Sobek, 604 F.Supp.2d 416, 426 & n.
Generally, in support of its motion for summary judgment,
                                                                           2 (N.D.N.Y.209) (Suddaby, J.) (citing cases).
Defendant argues that Plaintiff's Complaint must be dismissed
as untimely for the following reasons: (1) an individual may       2
                                                                           Cusamano, 604 F.Supp.2d at 426 & n. 3 (citing
not maintain a cause of action pursuant to Title VII unless he             cases).
has first filed a claim with the EEOC or an equivalent state
agency within 300 days of the alleged discriminatory act; (2)      3
                                                                           Cusamano, 604 F.Supp.2d at 426–27 & n. 4 (citing
a discriminatory termination is considered a “discrete act”;               cases).
(3) here, Plaintiff was terminated on September 6, 2011, 300
                                                                   4
days after which was July 2, 2012; and (4) however, he did                 Among other things, Local Rule 7.1(a)(3) requires
not file with the Division until October 4, 2012. (Dkt. No. 18,            that the nonmoving party file a response to the
Attach. 1 [Def.'s Memo. of Law].)                                          moving party's Statement of Material Facts, which
                                                                           admits or denies each of the moving party's factual
Plaintiff did not file an opposition memorandum of law                     assertions in matching numbered paragraphs, and
(or any opposition paper), despite having been twice given                 supports any denials with a specific citation to the
specific notice of the consequences of failing to do so (Dkt.              record where the factual issue arises. N.D.N.Y. L.R.
No. 18, Attach. 4 [First Notification of Consequences]; Dkt.               7.1(a)(3).
No. 21 [Second Notification of Consequences] ); and the            5
                                                                           Cusamano, 604 F.Supp.2d at 427 & n. 6 (citing
deadline by which to do so expired more than seven-and-a-
                                                                           cases).
half months ago (see generally Docket Sheet).
                                                                   Second, in this District, when a non-movant fails to oppose
                                                                   a legal argument asserted by a movant in a properly filed
II. RELEVANT LEGAL STANDARD                                        memorandum of law (submitted in support of a motion for
Because Defendant, in its memorandum of law, accurately            summary judgment), the movant's burden with regard to
summarizes the legal standard governing motions for                that argument is lightened such that, in order to succeed
summary judgment, the Court will not recite that well-known        on that argument, the movant need only show that the
legal standard. (Dkt. No. 18, Attach. 1, at Part I [Def.'s Memo.   argument possess facial merit, which has appropriately been
of Law].) To that summary, the Court would add only two            characterized as a “modest” burden. See N.D.N.Y. L.R. 7.1(b)
brief points.                                                      (3) (“Where a properly filed motion is unopposed and the
                                                                   Court determined that the moving party has met its burden to
First, implied in the burden-shifting standard referenced by       demonstrate entitlement to the relief requested therein ....”);
Defendant is the fact that, where a nonmoving party fails          Rusyniak v.. Gensini, 07–CV–0279, 2009 WL 3672105, at *1,
to adequately respond to a properly supported Statement of         n. 1 (N.D.N.Y. Oct. 30, 2009) (Suddaby, J.) (collecting cases);
Material Facts, a district court has no duty to perform an         Este–Green v. Astrue, 09–CV–0722, 2009 WL2473509, at *2
independent review of the record to find proof of a factual        & nn. 2, 3 (N.D.N.Y. Aug. 7, 2009) (Suddaby, J.) (collecting
dispute-even if that nonmoving party is proceeding pro se. 1       cases). Again, this rule applies even to pro se litigants,
(This is because the Court extends special solicitude to the       especially ones who have received notice of the consequence
pro se litigant largely by ensuring that he or she has received    of that failure to respond. 6
notice of the consequences of failing to properly respond


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                                                                   III. ANALYSIS
6                                                                   *3 After carefully considering the matter, the Court finds,
      Alternatively, the court can deem the challenged
      claim abandoned (regardless of the facial merit              for the reasons stated in Defendant's memorandum of law,
      of the unresponded-to argument). See Jackson v.              that Defendant has met its modest burden of showing the
      Federal Exp., No. 12–1475, 2014 WL 4412333,                  facial merit of its argument that Plaintiff's Complaint must be
      at *6 (2d Cir.2014) (“Where a partial response to            dismissed as untimely. (See, supra, Part I.C. of this Decision
      a motion is made—i.e., referencing some claims               and Order.)
      or defenses but not others—a distinction between
      pro se and counseled responses is appropriate. In            ACCORDINGLY, it is
      the case of a pro se, the district court should
      examine every claim or defense with a view to                ORDERED that Defendant's motion for summary judgment
      determining whether summary judgment is legally              (Dkt. No. 18) is GRANTED; and it is further
      and factually appropriate. In contrast, in the case of
      a counseled party, a court may, when appropriate,            ORDERED that Plaintiff's Complaint (Dkt. No. 1) is
      infer from a party's partial opposition that                 DISMISSED.
      relevant claims or defenses that are not defended
      have been abandoned. In all cases in which                   The Clerk is directed to enter judgment for Defendant and
      summary judgment is granted, the district court              close this action.
      must provide an explanation sufficient to allow
      appellate review. This explanation should, where
      appropriate, include a finding of abandonment of             All Citations
      undefended claims or defenses.”).
                                                                   Not Reported in F.Supp.3d, 2015 WL 470648

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                                                                Under Rule 56 of the Federal Rules of Civil Procedure,
                    2023 WL 3853811                             summary judgment is warranted if “there is no genuine
      Only the Westlaw citation is currently available.         dispute as to any material fact and the movant is entitled
       United States District Court, N.D. New York.             to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see
                                                                Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250-52 (1986).
              Rashad SALAAM, Plaintiff,                         The moving party bears the initial burden of demonstrating
                        v.                                      “the absence of a genuine issue of material fact.” Celotex
     Gordon STOCK and Travis M. Zehr, Defendants.               Corp. v. Catrett, 477 U.S. 317, 323 (1986); Salahuddin v.
                                                                Gourd, 467 F.3d 263, 272-73 (2d Cir. 2006). A fact is
                 9:19-cv-00689-AMN-TWD                          “material” if it “might affect the outcome of the suit under the
                             |                                  governing law,” and is genuinely in dispute “if the evidence
                  Signed February 27, 2023                      is such that a reasonable jury could return a verdict for the
                                                                nonmoving party.” Anderson, 477 U.S. at 248; see Jeffreys
Attorneys and Law Firms                                         v. City of New York, 426 F.3d 549, 553 (2d Cir. 2005). The
                                                                movant may meet this burden by showing that the nonmoving
RASHAD SALAAM, Plaintiff, pro se, 14-A-3363, Clinton
                                                                party has “fail[ed] to make a showing sufficient to establish
Correctional Facility, P.O. Box 2001, Dannemora, NY 12929.
                                                                the existence of an element essential to that party's case, and
LETITIA JAMES, Attorney General of the State of New             on which that party will bear the burden of proof at trial.”
York, STEVE NGUYEN, ESQ., Assistant Attorney General,           Celotex, 477 U.S. at 322.
Attorney for Defendants, The Capitol, Albany, NY 12224.
                                                                If the moving party satisfies its burden, the nonmoving party
                                                                must move forward with specific facts showing there is a
                                                                genuine issue for trial. Salahuddin, 467 F.3d at 273. In that
    REPORT-RECOMMENDATION AND ORDER
                                                                context, the nonmoving party must do more than “simply
THÉRÈSE WILEY DANCKS, United States Magistrate                  show that there is some metaphysical doubt as to the material
Judge                                                           facts.” Matsushita Electric Industrial Co., Ltd. v. Zenith Radio
                                                                Corp., 475 U.S. 574, 586 (1986). “Conclusory allegations,
   I. INTRODUCTION                                              conjecture and speculation ... are insufficient to create a
 *1 This matter has been referred for a report and              genuine issue of fact.” Kerzer v. Kingly Mfg., 156 F.3d 396,
recommendation by the Hon. Anne M Nardacci, United States       400 (2d Cir. 1998).
District Judge, pursuant to 28 U.S.C. § 636(b) and Local Rule
72.3(c). On May 30, 2019, pro se Plaintiff Rashad Salaam        The Second Circuit instructs that on summary judgment
(“Plaintiff”), an inmate in the custody of the New York         motions, “[t]he mere existence of a scintilla of evidence in
State Department of Corrections and Community Supervision       support of the plaintiff's position will be insufficient; there
(“DOCCS”), commenced this action pursuant to 42 U.S.C.          must be evidence on which the jury could reasonably find
§ 1983 (“Section 1983”). (Dkt. No. 1.) Plaintiff's fourth       for the plaintiff.” Jeffreys, 426 F.3d at 554 (emphasis in
amended complaint was accepted for filing on August 11,         original). In other words, “a nonmoving party must offer
2021, and alleged Fourteenth Amendment equal protection         some hard evidence showing that [his] version of the events
and Eighth Amendment failure to protect claims against          is not wholly fanciful.” Id. (citation and internal quotation
Correction Officer (“CO”) Gordon Stock and CO Travis M.         marks omitted). Accordingly, statements “that are devoid of
Zehr. (Dkt. No. 83.)                                            any specifics, but replete with conclusions, are insufficient to
                                                                defeat a properly supported motion for summary judgment.”
Currently before the Court is Defendants’ motion for            Bickerstaff v. Vassar Coll., 196 F.3d 435, 452 (2d Cir. 1999).
summary judgment. (Dkt. No. 108.) For the reasons set forth
below, the Court recommends Defendants’ motion be granted        *2 In determining whether a genuine issue of material
in part and denied in part.                                     fact exists, the court must resolve all ambiguities and draw
                                                                all reasonable inferences against the moving party. Major
                                                                League Baseball Props., Inc. v. Salvino, Inc., 542 F.3d 290,
  II. LEGAL STANDARD
                                                                309 (2d Cir. 2008). Where a party is proceeding pro se, the



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court is obligated to “read [the pro se party's] supporting         judgment motions, and to “conduct an assiduous review of the
papers liberally, and ... interpret them to raise the strongest     record.” Holtz v. Rockefeller & Co., Inc., 258 F.3d 62, 73 (2d
arguments that they suggest.” Burgos v. Hopkins, 14 F.3d 787,       Cir. 2001) (citation and internal quotation marks omitted).
790 (2d Cir. 1994). However, that status “does not relieve [a
pro se] plaintiff of his duty to meet the requirements necessary    In deference to Plaintiff's pro se status, the Court has reviewed
to defeat a motion for summary judgment.” Jorgensen v. Epic/        the entire record. See Parker v. Fantasia, 425 F. Supp. 3d
Sony Records, 351 F.3d 46, 50 (2d Cir. 2003).                       171, 176 n.2 (S.D.N.Y. 2019) (noting that special solicitude
                                                                    afforded to pro se litigants suggests that courts should review
In applying the summary judgment standard, the district             the record when pro se plaintiff fails to appropriately respond
court should not weigh evidence or assess the credibility of        to defendants’ properly supported statement of material
witnesses. Hayes v. New York City Dep't of Corr., 84 F.3d 614,      facts).
619 (2d Cir. 1996); Rule v. Brine, Inc., 85 F.3d 1002, 1011 (2d
Cir. 1996) (“Assessments of credibility and choices between
conflicting versions of the events are matters for the jury, not       IV. BACKGROUND
for the court on summary judgment”).                                Plaintiff's claims stem from two specific incidents: the
                                                                    first on July 22, 2017, and the second on July 25, 2017.
                                                                    Plaintiff alleges on July 22, 2017, CO Stock was overlooking
   III. DEFICIENCIES IN PLAINTIFF'S OPPOSITION                      the gallery as he opened the cells for breakfast around
   SUBMISSION                                                       7:30AM and during that time, another inmate, Jason Williams
While courts are required to give due deference to a plaintiff's    (“Williams”), was able to enter Plaintiff's cell and sexually
pro se status, that status “does not relieve [a pro se] plaintiff   assault him. (Dkt. No. 83 at 3; Dkt. No. 108-4 at 22-23, 25;
of his duty to meet the requirements necessary to defeat            Dkt. No. 110 at 2-3.) The incident lasted around 3 minutes.
a motion for summary judgment.” Jorgensen, 351 F.3d at              (Dkt. No. 108-4 at 25.) Williams threatened to kill Plaintiff
50. In opposing Defendants’ motion for summary judgment,            if he told anyone about the attack. (Dkt. No. 108-4 at 25-27.)
Plaintiff failed to respond to the statement of material facts      Plaintiff alleges he would not have been assaulted if CO Stock
filed by Defendants in the manner required under Local Rule         would have made his rounds on time or pulled a pin during
56.1(b). 1 (See Dkt. No. 110.) “This requirement is not a           the attack. (Dkt. No. 83 at 1.)
mere formality; rather ‘this and other local rules governing
summary judgment are essential tools intended to relieve             *3 Plaintiff alleges CO Stock knew he was at serious risk of
the district court of the onerous task of hunting through           harm due to his background. Plaintiff was sexually assaulted
voluminous records without guidance from the parties.’ ”            at other facilities and previously identified as transgender.
Cao-Bossa v. New York State Dep't of Lab., No. 1:18-                (Dkt. No. 83 at 2-3; Dkt. No. 108-4 at 48.) This information
CV-0509 (GTS/TWD), 2021 WL 3674745, at *1 (N.D.N.Y.                 had supposedly spread throughout his block and the prison.
Aug. 19, 2021).                                                     (Dkt. No. 83 at 2-3; Dkt. No. 108-4 at 48.) As a result,
                                                                    other inmates loudly taunted him, but the COs did nothing
1                                                                   about it. Id. Plaintiff claims CO Stock would overhear the
        Local Rule 56.1(b) requires the opposing party
                                                                    inmates in other tiers harassing him and would then walk past
        to file a Response to the movant's Statement of
                                                                    Plaintiff's cell grinning at him “in a childlike manner” while
        Material Facts. Under the rule, the Response “shall
                                                                    he continued his rounds. (Dkt. No. 83 at 2-3.)
        mirror the movant's Statement of Material Facts
        by admitting and/or denying each of the movant's
                                                                    On July 25, 2017, CO Zehr was opening cells for the inmates
        assertions in a short and concise statement, in
                                                                    after recreation at or around 10PM. (Dkt. No. 83 at 3-4; Dkt.
        matching numbered paragraphs. Each denial shall
                                                                    No. 108-4 at 36.) The same inmate who assaulted Plaintiff
        set forth a specific citation to the record where the
                                                                    three days prior, Williams, came up behind Plaintiff and
        factual issue arises.” L.R. 56.1(b).
                                                                    cut his face with a razor. (Dkt. No. 108-4 at 35.) Plaintiff
Nevertheless, the Second Circuit has ruled that “[a] district       went back into his cell, but Williams followed him and cut
court has broad discretion to determine whether to overlook         Plaintiff's right arm before returning to his own cell. (Dkt.
a party's failure to comply with local court rules,” including      No. 108-4 at 35, 39-40.) The incident lasted about a minute
local rules relating to requirements regarding the submission       and a half. (Dkt. No. 108-4 at 38.) CO Zehr allegedly stood
of and response to statements of material facts on summary          at the end of the gallery watching as this occurred. (Dkt. No.


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83 at 3-4.) According to Plaintiff, CO Zehr did not pull a pin      compared with other similarly situated individuals if
or give attention to the situation. Id. Plaintiff also claims CO    ‘such selective treatment was based on impermissible
Zehr walked by his cell “smiling in a childish way” four to         considerations such as race, religion, intent to inhibit or
five minutes after the incident while Plaintiff was bleeding        punish the exercise of constitutional rights, or malicious or
from his arm and face. (Dkt. No. 108-4 at 35-36, 40.) Plaintiff     bad faith intent to injure a person.’ ” Bizzarro v. Miranda,
alleges he had to call CO Zehr back and ask him to go to the        394 F.3d 82, 86 (2d Cir. 2005) (quoting LeClair v. Saunders,
infirmary. (Dkt. No. 108-4 at 35-36.) CO Zehr allegedly told        627 F.2d 606, 609-10 (2d Cir. 1980)). Governmental action
Plaintiff to wait, did his rounds, and then sent Plaintiff to the   may also violate the Equal Protection Clause where the
infirmary. (Dkt. No. 108-4 at 36.) Plaintiff still has scars on     defendants intentionally treat the plaintiff “differently from
his face and arm from the incident. (Dkt. No. 108-4 at 46.)         others with no rational basis for the difference in treatment.”
                                                                    Id. (citing Vill. of Willowbrook v. Olech, 528 U.S. 562, 564
Plaintiff claims as a result of the attacks on July 22 and July     (2000)). Thus, a plaintiff asserting an equal protection claim
25, 2017, other inmates have “tried” 2 him in the shower and        must allege facts plausibly suggesting that (1) he was treated
while using the phone; spit in his food at every meal; took his     differently from similarly situated individuals; and (2) the
commissary and packages; and extorted his mother for money          defendants treated him differently due to his membership in
—resulting in the police being called. (Dkt. No. 83 at 4.)          a suspect class, inhibited his exercise of a fundamental right,
                                                                    acted out of malice, or acted irrationally and arbitrarily.
2       The Court interprets “tried” to mean other inmates
                                                                     *4 When a suspect classification is not at issue, the Equal
        attempted to assault or start an altercation with
                                                                    Protection Clause still requires that individuals be treated
        Plaintiff.
                                                                    the same as “similarly situated” individuals. Fortress Bible
                                                                    Church v. Feiner, 694 F.3d 208, 222 (2d Cir. 2012). Thus, a
   V. DISCUSSION                                                    plaintiff may bring a “class of one” equal protection claim
Plaintiff claims COs Stock and Zehr failed to protect him           “where the plaintiff alleges that [he] has been intentionally
from the July 22, 2017, and July 25, 2017, incidents,               treated differently from others similarly situated and that
violating his Eighth Amendment rights. (Dkt. No. 83 at              there is no rational basis for the difference in treatment.”
1-4.) Plaintiff also claims COs Stock and Zehr treated him          Vill. of Willowbrook, 528 U.S. at 564. In the Second Circuit,
differently because he previously identified as transgender         class of one plaintiffs “must show an extremely high degree
and because he murdered someone related to a CO, violating          of similarity between themselves and the persons to whom
his Fourteenth Amendment equal protection rights. (Dkt. No.         they compare themselves.” Clubside v. Valentin, 468 F.3d
83 at 3.) Defendants assert Plaintiff's claims fail as a matter     144, 159 (2d Cir. 2006) (citation omitted). A high level of
of law because (1) COs Stock and Zehr were unaware of               similarity between the plaintiff and comparators provides
Plaintiff's risk of harm at the time of the two incidents; (2)      “an inference that the plaintiff was intentionally singled
Plaintiff was not a member of a protected class or treated          out for reasons that so lack any reasonable nexus with a
differently from others similarly situated; and (3) Defendants’     legitimate governmental policy that an improper purpose—
actions were not discriminatory. (Dkt. 108-5 at 7-14.) In the       whether personal or otherwise—is all but certain.” See Witt
alternative, Defendants claim they are entitled to qualified        v. Vill. of Mamaroneck, No. 12-CV-8778 (ER), 2015 WL
immunity. (Dkt. 108-5 at 15.)                                       1427206, at *5 (S.D.N.Y. Mar. 27, 2015), aff'd, 639 F. App'x
                                                                    44 (2d Cir. 2016).

    A. Fourteenth Amendment Equal Protection Claim                  To summarize, to state a class of one claim, a plaintiff must
                                                                    allege (1) that he was intentionally treated differently from
The Equal Protection Clause provides that “no State shall ...       other similarly situated individuals; and (2) that the disparate
deny to any person within its jurisdiction the equal protection     treatment was either (a) “irrational and wholly arbitrary” or
of the laws.” U.S. Const. amend. XIV, § 1. This is “essentially     (b) motivated by animus. Assoko v. City of New York, 539 F.
a direction that all persons similarly situated should be treated   Supp. 2d 728, 735 (S.D.N.Y. 2008).
alike.” City of Cleburne v. Cleburne Living Ctr., 473 U.S.
432, 439 (1985). The Equal Protection Clause “bars the
government from selective adverse treatment of individuals



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                                                                in the aggregate or specified by offense are not a suspect
                                                                class”); Mathie v. Dennison, No. 06 CIV. 3184(GEL), 2007
                       1. Suspect Class
                                                                WL 2351072, at *8 (S.D.N.Y. Aug. 16, 2007), aff'd, 381 F.
Plaintiff claims COs Stock and Zehr “neglected” to protect      App'x 26 (2d Cir. 2010) (“Prisoners are not a suspect class....
or “ignored” Plaintiff because he had previously identified     Nor are violent prisoners a suspect class.” A history of violent
as transgender and because he murdered someone related          crime is the very opposite of a morally irrelevant, immutable
to a CO. (Dkt. No. 83 at 3.) To start, Plaintiff has not        trait: it reflects a voluntary choice by the offender to commit
demonstrated he was a member of a suspect class due to his      a dangerous and harmful criminal act when he could have
gender identity. This Circuit has previously grappled with      complied with the law); Scott v. Dennison, 739 F. Supp. 2d
what level of scrutiny to apply to transgender individuals      342, 362 (W.D.N.Y. 2010) (“neither violent felons nor non-
and whether transgender individuals are a suspect class for     violent felons are a ‘suspect class’ under the United States
equal protection purposes. See Adkins v. City of New York,      Constitution.”) Therefore, Plaintiff has not demonstrated he
143 F. Supp. 3d 134 (S.D.N.Y. 2015); White v. City of New       was a member of a suspect class at the time the incidents
York, 206 F. Supp. 3d 920 (S.D.N.Y. 2016). However, Plaintiff   occurred.
no longer identified as transgender by the time the incidents
occurred. (Dkt. No. 108-4 at 19-20.) Plaintiff testified he
identified as transgender from 2009 to 2011. Id. In 2011, he                           2. Class of One
began to identify as a cisgender 3 man again. Id. Because
Plaintiff no longer identified as transgender at the time the    *5 Plaintiff has also not sufficiently demonstrated he is a
incidents occurred in 2017, the Court need not determine        class of one for equal protection purposes. Plaintiff must
which level of scrutiny applies to transgender individuals      demonstrate both (1) he was intentionally treated differently
or whether transgender individuals are a suspect class. See     from other similarly situated individuals; and (2) the disparate
generally Adkins, 143 F. Supp. 3d at 134; White, 206 F. Supp.   treatment was either (a) “irrational and wholly arbitrary”
3d at 920. Alternatively, Plaintiff has not demonstrated any    or (b) motivated by animus. Assoko, 539 F. Supp. 2d at
of the criteria needed to qualify “individuals who previously   735. Plaintiff has provided no examples of similarly situated
                                                                individuals for use of comparison. Ruggiero v. Fischer, 807
identified as transgender” as a suspect class. 4
                                                                F. App'x 70, 74 (2d Cir. 2020) (finding the district court
                                                                properly granted summary judgment on an equal protection
3      Cisgender means “of, relating to, or being               claim when Plaintiff “made no showing at all that he was
       a person whose gender identity corresponds               treated differently from SHU inmates at other institutions”
       with the sex the person had or was identified            and “did not attempt to identify a specific comparator at [his
       as having at birth.” Cisgender, Merriam-                 facility] or another facility with whom he had a high degree
       Webster,       https://www.merriam-webster.com/          of similarity.”); Rasheen v. Adner, 356 F. Supp. 3d 222, 242
       dictionary/cisgender (last accessed Feb. 27, 2023.)      (N.D.N.Y. 2019) (dismissing complaint when Plaintiff failed
4                                                               “to allege any facts suggesting how he was treated differently
       In Adkins, the court used the four factors
                                                                than any similarly situated inmate” and “Plaintiff's vague
       outlined in Windsor v. United States, 699
                                                                and conclusory allegations [were] insufficient to plausibly
       F.3d 169 (2d Cir. 2012) in its determination
                                                                suggest an equal protection violation.”); Ippolito v. Goord,
       that transgender individuals are a quasi-suspect
                                                                No. 05-CV-6683 MAT, 2012 WL 4210125, at *19 (W.D.N.Y.
       class: (1) the group has suffered a history of
                                                                Sept. 19, 2012) (“Plaintiff has offered no evidence that
       persecution and discrimination; (2) the group has
                                                                he was treated differently from other, similarly situated
       sufficiently discernable characteristic(s); (3) the
                                                                inmates. Accordingly, his ‘class of one’ equal protection
       group's characteristic(s) have no relation to ability
                                                                claim fails as a matter of law and is dismissed.”). As a
       to contribute to society; (4) the group is politically
                                                                result, the Court cannot determine if disparate treatment
       weakened or powerless. Adkins, 143 F. Supp. 3d at
                                                                existed, and Plaintiff has not demonstrated he was a class
       139-40.
                                                                of one for equal protection purposes. Therefore, the Court
Moreover, Plaintiff was not a member of a suspect class         recommends granting Defendants’ motion as to Plaintiff's
as someone convicted of murder. Lee v. Governor of State        Fourteenth Amendment equal protection claim. (Dkt. No.
of N.Y., 87 F.3d 55, 60 (2d Cir. 1996) (“prisoners either       108-5 at 10-16.)



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                                                                     Hayes, 84 F.3d at 620; Hathaway, 37 F.3d at 66 (“Deliberate
                                                                     indifference requires more than negligence, but less than
                                                                     conduct undertaken for the very purpose of causing harm.”).
     B. Eighth Amendment Failure to Protect Claims

The Eighth Amendment explicitly prohibits the infliction of          In this case, Defendants do not deny the lacerations Plaintiff
“cruel and unusual punishments,” U.S. Const. amend. VIII,            received constitute a serious harm for purposes of the
and requires prison officials to take “reasonable measures to        objective prong. (Dkt. No. 108-5 at 7.) However, they do
guarantee the safety of inmates in their custody.” Hayes v.          argue Plaintiff offered no evidence to satisfy the subjective
New York City Dep't of Corr., 84 F.3d 614, 620 (2d Cir. 1996)        prong of the test as to CO Stock or CO Zehr. Id.
(citing Farmer v. Brennan, 511 U.S. 825, 832-33 (1994)). In
particular, prison officials “have a duty ... to protect prisoners
from violence at the hands of other prisoners.” Farmer, 511                                   1. CO Stock
U.S. at 833 (quoting Cortes-Quinones v. Jimenez-Nettleship,
842 F.2d 556, 558 (1st Cir. 1988)). Prison officials are liable       *6 There is no indication CO Stock was aware of facts from
under the Eighth Amendment for harm incurred by an inmate            which an inference could be drawn that Plaintiff was at a
if they act with deliberate indifference to the inmate's safety.     substantial risk of serious harm during the July 22, 2017,
Morales v. New York State Dep't of Corr., 842 F.2d 27, 30 (2d        attack. CO Stock stated in his declaration on July 22, 2017, at
Cir. 1988) (“[A] state prison guard's deliberate indifference to     7:30AM, the First Officer went around to each company in A-
the consequences of his conduct for those under his control          Block and let the residents out for breakfast. (Dkt. No. 108-2
and dependent upon him may support a claim under [Section]           at 2). CO Stock served as Second Officer and followed behind
1983.”).                                                             the First Officer to inspect every A-Block cell to confirm it
                                                                     was vacant. Id. This is known as the “chow run.” Id. CO Stock
To prevail on a failure to protect claim, a plaintiff must           started from the fifth floor and made his way down to the
demonstrate two elements, one objective and one subjective.          second floor, where Plaintiff was housed in A-9. Id. CO Stock
To satisfy the objective prong, “the inmate must show that           states he did not observe, encounter, or interact with Plaintiff
he is incarcerated under conditions posing a substantial             on chow run that day. (Dkt. No. 108-2 at 3.) He further states
risk of serious harm.” Farmer, 511 U.S. at 834. That is,             he did not witness Williams enter Plaintiff's cell or assault him
the deprivation “must be, in objective terms, ‘sufficiently          at any point on July 22, 2017. Id.
serious.’ ” Hathaway v. Coughlin, 37 F.3d 63, 66 (2d Cir.
1994) (quoting Wilson v. Seiter, 501 U.S. 294, 298 (1991)).          Plaintiff alleges the July 22, 2017, attack occurred sometime
The standard “contemplates ‘a condition of urgency, one that         between 7 and 7:30AM. (Dkt. No. 108-4 at 23.) Plaintiff
may produce death, degeneration, or extreme pain.’ ” Id.             testified CO Stock was not nearby during the attack but was
(quoting Nance v. Kelly, 912 F.2d 605, 607 (2d Cir. 1990)).          above him on “[the] second or third floor.” (Dkt. No. 108-4
Under this standard, the plaintiff “must demonstrate that this       at 28.) Additionally, the summary judgment record does not
grave harm was ‘actual or imminent.’ ” Dublin v. New York            demonstrate CO Stock was present in A-9 between 7 and
City Law Dep't, No. 10 Civ. 2971 (LAP), 2012 WL 4471306,             7:30AM on July 22, 2017. (Dkt. No. 108-2 at 2-3; Dkt. No.
at *5 (S.D.N.Y. Sept. 26, 2012) (quoting Benjamin v. Fraser,         108-4 at 28.) If CO Stock was not in A-9 during the attack,
343 F.3d 35, 51 (2d Cir. 2003)).                                     it does not appear it would have been possible for him to
                                                                     see or hear the attack, as companies on the same floor face
As to the second prong, “[t]o prove deliberate indifference,         away from each other and companies on separate floors are
the plaintiff must show that the ‘official [knew] of and             separated by concrete floors and walls. (Dkt. No. 108-2 at
disregard[ed] an excessive risk to inmate health or safety.’         2-3.) Therefore, it appears CO Stock was not and could not
” Celestin v. Premo, No. 9:12-cv-301 (GLS/RFT), 2014 WL              have been aware of a substantial risk of serious harm to
272443, at *5 (N.D.N.Y. Jan. 24, 2014) (quoting Farmer,              Plaintiff during the attack.
511 U.S. at 836) (alterations in original). Indeed, “[t]he
official must both be aware of facts from which the inference        Nor is there any evidence suggesting CO Stock was aware
could be drawn that a substantial risk of serious harm exists,       of a substantial risk of serious harm to Plaintiff prior to the
and he must also draw the inference.” Id. (emphasis in               attack. Plaintiff alleges CO Stock was aware of Plaintiff's
original). Mere negligence by a prison official will not suffice.    risk of harm prior to the incident on July 22, 2017, due



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to the other inmates’ loud taunting of Plaintiff about his           cell bars” but “could not determine whose cell it belonged to”
gender identity and the sexual assaults at other prisons. (Dkt.      at the time. Id. He could not “observe who was inside or what
No. 83 at 2-3; Dkt. No 108-4 at 47-48.) Plaintiff further            Williams was doing with his extended hand.” Id. However, he
claims CO Stock and other COs neglected him because he               claims at the time he “believed Williams was trying to pass a
previously identified as transgender and because he murdered         pack of cigarettes or something similar.” (Dkt. No. 108-3 at
a CO's relative. (Dkt. No. 83 at 3.) However, the record             3.) He confirmed Plaintiff's “cell bars were already closed”
evidence does not demonstrate CO Stock had any prior                 but “[s]hortly afterward” he “observed another incarcerated
altercations with Plaintiff or had any prior knowledge of            individual obstruct[ing] [his] view of the company.” Id. CO
Plaintiff's gender identity or prior crimes; the sexual assaults     Zehr then instructed Williams and the other inmate “to return
at other prisons; or the other inmates’ taunting of Plaintiff.       to their cells, and they complied.” Id. When all of the A-9
(Dkt. No. 108-2 at 2; Dkt. No. 108-4 at 34.) Plaintiff offers        residents were locked in their cells, CO Zehr conducted
no proof to the contrary beyond the conclusory allegation            the count at 10:10PM. Id. When he approached Plaintiff's
that CO Stock knew this information. (Dkt. No. 83 at 2-3.)           cell, he observed Plaintiff “was bleeding from his face and
“Conclusory allegations, conjecture and speculation ... are          arm,” “immediately” notified his sergeant of the incident, and
insufficient to create a genuine issue of fact.” Kerzer v.           escorted Plaintiff to medical. Id. CO Zehr issued an Inmate
Kingly Mfg., 156 F.3d 396, 400 (2d Cir. 1998). Therefore, the        Misbehavior Report to Williams as a result of the incident and
Court recommends granting Defendants’ motion on Plaintiff's          testified at his August 8, 2017, disciplinary hearing. Id.
Eighth Amendment failure to protect claim against CO Stock.
(Dkt. No. 108-5 at 7-9.)                                             CO Zehr claims he had no prior altercations with Plaintiff or
                                                                     prior knowledge of his gender identity or previous crimes.
                                                                     (Dkt. No. 108-3 at 2.) He further claims he was not
                                                                     deliberately indifferent because “at no point on July 25, 2017,
                          2. CO Zehr
                                                                     did [he] witness Williams cut [Plaintiff];” he did not have
The Court comes to a different recommendation with regard            reason to suspect Plaintiff was at risk of being harmed; and he
to the Eighth Amendment claim against CO Zehr. According             was unaware Plaintiff had been assaulted until he approached
to Plaintiff, on July 25, 2017, CO Zehr was opening cells for        his cell. (Dkt. No. 108-3 at 3-4.)
the inmates after recreation at or around 10PM. (Dkt. No. 83
at 3-4; Dkt. No. 108-4 at 36.) During that time, Williams came       However, CO Zehr's testimony at Williams’ August 8, 2017,
up behind Plaintiff and cut his face with a razor. (Dkt. No.         disciplinary hearing calls into question what he actually saw
108-4 at 35-36.) Plaintiff went back into his cell, but Williams     and inferred at the time of the July 25, 2017, incident. 5 (Dkt.
followed him and cut Plaintiff's right arm before returning          No. 108-3 at 16, 17.) At the hearing, CO Zehr testified he saw
to his own cell. (Dkt. No. 108-4 at 35, 39-41.) The incident         Williams walking toward 21 cell and watched as Williams
lasted about a minute and a half. (Dkt. No. 108-4 at 38.) CO         “stop[ped], talk[ed], reach[ed] his hand in [Plaintiff's cell]
Zehr allegedly stood at the end of the gallery watching as this      and start[ed] making violent swinging motions inside the
occurred. (Dkt. No. 83 at 4). According to Plaintiff, CO Zehr        cell.” (Dkt. No. 108-3 at 20 (emphasis added).) While he
did not pull a pin or give attention to the situation. Id. As with   testified he could see down the company, he claimed he could
CO Stock, Plaintiff claimed CO Zehr ignored or neglected             not see a weapon from where he was positioned. (Dkt. No.
him due to his prior gender identity and because he murdered         108-3 at 19-20.) While this was occurring, another inmate was
someone related to a CO. (Dkt. No. 83 at 3.)                         acting as a “look out” and was watching CO Zehr “to see if
                                                                     [he] was paying attention to ... what was going on.” (Dkt. No.
 *7 CO Zehr states in his declaration that on the evening of         108-3 at 20.) Interestingly, at this point of the hearing, the
July 25, 2017, he was assigned to A-9. (Dkt. No 108-3 at             hearing officer seemingly misstates CO Zehr's prior testimony
2.) At approximately 10:05PM, the A-9 residents returned to          by replying “now you couldn't see what was happening inside
their cells from recreation by walking up a stairwell. Id. CO        the cell, you saw his arm kind of moving” to which CO Zehr
Zehr was stationed between the stairwell and the front of the        replied “[y]up.” CO Zehr then went on to testify he did not
company, which is closest to Cell 1, directing residents to their    know what was happening in the cell at the time; he did not
respective cells. Id. He further states because he was the only      see a weapon; and he “thought maybe [Williams] was trying
officer in A-9 he could not leave his post. Id. At one point         to pass a pack of cigarettes or something.” (Dkt. No. 108-3
he observed Williams’ “outstretched arm through [Plaintiff's]        at 24-25.) When asked what he normally does if he sees an



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inmate being assaulted or someone attempting to assault an            Mar. 31, 2022) (citing Franklin v. Oneida Corr. Facility, No.
inmate, CO Zehr testified “[u]sually I will call a response on        03-CV-1452 (LEK), 2008 WL 2690243, at *9 (N.D.N.Y.
my radio or if I have to yell to another officer. And then I wait     July 1, 2008) (“As tempting as it may be to conclude
for additional staff to arrive to properly deal with the situation.   that defendants will ultimately prevail at trial, defendants’
Then, as soon as that happens, we notify the supervisor and           invitation to make a credibility determination and reject
he also responds.” (Dkt. No. 108-3 at 23.)                            plaintiff's version of the events on motion for summary
                                                                      judgment is plainly unwarranted.”)); see, e.g., Cicio v.
5                                                                     Lamora, No. 08-CV-431, 2010 WL 1063875, at *8 (N.D.N.Y.
        Defendants provide the August 8, 2017 disciplinary
        hearing transcript as Exhibit D of their Motion for           Feb. 24, 2010), report-recommendation adopted by 2010 WL
        Summary Judgment. (Dkt. No. 108-3 at 15.)                     1063864 (N.D.N.Y. Mar. 22, 2010) (“Plaintiff's testimony
                                                                      that he was beaten by [Defendant] stands in contrast to the
Plaintiff asserts CO Zehr watched as he was attacked by               seemingly overwhelming evidence that it did not occur as
Williams the night of July 25, 2017, and did nothing. (Dkt.           he alleges. Nonetheless, the weighing of such competing
No. 83 at 3-4.) CO Zehr testified both that he believed               evidence, no matter how weak plaintiff's claim may appear,
Williams was handing Plaintiff cigarettes or something                presents a question of credibility that must be left to the trier
similar and that he saw Williams “making violent swinging             of fact.”).
motions inside [Plaintiff's] cell.” (Dkt. No. 108-3 at 20,
24-25.) Crediting Plaintiff's claims and CO Zehr's hearing            Relatedly, the Court finds CO Zehr is not entitled to qualified
testimony, a reasonable jury could find CO Zehr knew of               immunity at this stage of the proceeding. See Villante v.
and disregarded an excessive risk to inmate health and safety         Vandyke, No. 9:04CV759 FJS DRH, 2008 WL 163596, at
upon observing Williams’ and the other inmate's actions               *3 (N.D.N.Y. Jan. 15, 2008) (“Since [p]laintiff has raised an
—rendering CO Zehr deliberately indifferent. See Mills v.             issue of fact about whether [d]efendants stood by and allowed
Fenger, 216 F. App'x 7, 10 (2d Cir. 2006) (“[T]he state of the        other inmates to attack him ... [d]efendants are not entitled to
defendant's knowledge is normally a question of fact to be            qualified immunity”); Decayette v. Goord, No. 9:06-CV-783,
determined after trial.”) (internal quotation marks omitted);         2009 WL 1606753, at *12 (N.D.N.Y. June 8, 2009) (finding
see also Heisler v. Kralik, 981 F. Supp. 830, 837 (S.D.N.Y.           defendant should not be entitled to summary judgment on
1997), aff'd sub nom. Heisler v. Rockland Cnty., 164 F.3d             qualified immunity claim because triable issues of fact existed
618 (2d Cir. 1998) (denying defendant's motion for summary            as to whether she was deliberately indifferent to a serious
judgment where the plaintiff alleged that another inmate,             medical need of Plaintiff's and as to whether she was liable
whom plaintiff had no alleged previous altercations with,             for failing to intervene during the alleged beating of Plaintiff);
attacked him while he was being held as a pretrial detainee,          Rosen v. City of New York, 667 F. Supp. 2d 355, 362 (S.D.N.Y.
and officers witnessed the assault but failed to intercede to         2009) (denying summary judgment on defendants’ qualified
stop it); Stewart v. Schiro, No. 13-CV-3613 (NGG)(VMS),               immunity claim where genuine issue of material fact existed
2015 WL 1854198, at *8 (E.D.N.Y. Apr. 22, 2015) (“[U]nder             as to whether it was reasonable for city corrections officer
certain circumstances, the commencement of an inmate-to-              to believe that shouting at inmates to stop beating pretrial
inmate altercation could put a prison official on sufficient          detainee fulfilled his duty to protect detainee).
notice to render the prison official deliberately indifferent if
he or she then fails to intervene in an appropriate manner”);         In sum, as to the July 25, 2017, incident, Defendants
Candelaria v. Coughlin, No. 91 Civ. 2978, 1996 WL 88555, at           have not met their burden of showing there is no genuine
*9 (S.D.N.Y. Mar. 1, 1996) (inaction by a correction officer to       issue of material fact as to Plaintiff's Eighth Amendment
intercede and halt an attack by a fellow prisoner is sufficient       failure to protect claim against CO Zehr. Accordingly, the
basis for deliberate indifference).                                   Court recommends denying Defendants’ motion for summary
                                                                      judgment as to this claim.
 *8 In short, the record evidence provides differing accounts
of what transpired on the night of the July 25, 2017, incident
and resolving what happened is a question for the jury.               VI. CONCLUSION
“While the weight of the evidence may favor [Defendants],             After carefully reviewing the record, the parties’ submissions,
the evidence is not so conclusive that a reasonable jury could        and the applicable law, and for the reasons stated herein, it is
not believe Plaintiff's assertions.” Lewis v. Hanson, No. 18-         hereby
CV-0012 (LEK/DJS), 2022 WL 991729, at *9 (N.D.N.Y.


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RECOMMENDED that Defendants’ motion for summary                     984 F.2d 85 (2d Cir. 1993) (citing Small v. Sec'y of Health
judgment (Dkt. No. 108) be GRANTED in part and DENIED               and Human Servs., 892 F.2d 15 (2d Cir. 1989)); 28 U.S.C. §
in part as follows: (1) the Fourteenth Amendment equal              636(b)(1); Fed. R. Civ. P. 72.
protection claim against both Defendants be dismissed; (2)
the Eighth Amendment failure to protect claim against               6
                                                                            If you are proceeding pro se and are served with this
Defendant CO Stock be dismissed; and (3) the Eighth                         Order and Report-Recommendation by mail, three
Amendment failure to protect claim against Defendant CO                     additional days will be added to the fourteen-day
Zehr proceed to trial; and it is further                                    period, meaning that you have seventeen days from
                                                                            the date the Order and Report-Recommendation
ORDERED that the Clerk provide to Plaintiff a copy of this                  was mailed to you to serve and file objections. Fed.
Order and Report-Recommendation, along with copies of the                   R. Civ. P. 6(d). If the last day of that prescribed
unpublished decisions cited herein in accordance with the                   period falls on a Saturday, Sunday, or legal holiday,
Second Circuit decision in Lebron v. Sanders, 557 F.3d 76 (2d               then the deadline is extended until the end of the
Cir. 2009) (per curiam).                                                    next day that is not a Saturday, Sunday, or legal
                                                                            holiday. Fed. R. Civ. P. 6(a)(1)(C).
Pursuant to 28 U.S.C. § 636(b)(1), the parties have fourteen
                                                                    *9 SO ORDERED.
(14) days within which to file written objections to the
foregoing report. 6 Such objections shall be filed with
the Clerk of the Court. FAILURE TO OBJECT TO                        All Citations
THIS REPORT WITHIN FOURTEEN (14) DAYS WILL
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PRECLUDE APPELLATE REVIEW. Roldan v. Racette,

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                                                               which to file written objections and that failure to object
                    2023 WL 3579770                            to the Report-Recommendation within fourteen days would
      Only the Westlaw citation is currently available.        preclude appellate review. Id. Plaintiff timely filed a response
       United States District Court, N.D. New York.            to the Report-Recommendation. Dkt. No. 116.

              Rashad SALAAM, Plaintiff,                        For the reasons stated herein, the Court adopts the
                        v.                                     recommendations in the Report-Recommendation.
     Gordon STOCK and Travis M. Zehr, Defendants.

                9:19-cv-00689 (AMN/TWD)                        II. BACKGROUND 1
                             |                                 1     Plaintiff's factual allegations are detailed in the
                    Signed May 22, 2023                               Report-Recommendation. See Dkt. No. 115 at 5-6.

Attorneys and Law Firms                                        Plaintiff alleges that he 2 was sexually assaulted on July
                                                               22, 2017, and physically assaulted on July 25, 2017, by
RASHAD SALAAM, 14-A-3363, Clinton Correctional
                                                               another inmate, Jason Williams (“Williams”), while he was
Facility, P.O. Box 2001, Dannemora, NY 12929, Plaintiff, pro
                                                               incarcerated at Auburn Correctional Facility (“Auburn C.F.”).
se.
                                                               See Dkt. No. 83. According to Plaintiff, at approximately 7:30
LETITICA JAMES, Attorney General of the State of New           a.m. on July 22, 2017, Williams entered Plaintiff's cell and
York, STEVE NGUYEN, ESQ., The Capitol, Albany, NY              sexually assaulted him for approximately three minutes while
12224, Attorney for Defendant, Assistant Attorney General.     CO Stock was overlooking the gallery and opening the cells
                                                               for breakfast in Plaintiff's cell block. Dkt. No. 83 at 3; Dkt.
                                                               No. 108-4 at 22-23, 25. 3 Plaintiff did not report the attack
      MEMORANDUM-DECISION AND ORDER                            at the time because Williams threatened to kill him if he told
                                                               anyone about the attack. Dkt. No. 108-4 at 25-27. Plaintiff
Anne M. Nardacci, United States District Judge:                contends that he would not have been assaulted if CO Stock
                                                               had made his rounds on time or pulled a pin during the attack.
I. INTRODUCTION                                                Dkt. No. 83 at 1.
 *1 On May 30, 2019, plaintiff pro se Rashad Salaam
(“Plaintiff”), an inmate in the custody of the New York        2      Because Plaintiff has alleged and testified that he
State Department of Corrections and Community Supervision
                                                                      no longer identifies as transgender, the Court will
(“DOCCS”), commenced this action pursuant to 42 U.S.C. §
                                                                      refer to Plaintiff as “he” or “him” herein.
1983. See Dkt. No. 1. Plaintiff sought and was granted leave
to proceed in forma pauperis. Dkt. Nos. 11 & 15. Plaintiff's   3      Citations to Court documents utilize the pagination
fourth amended complaint (“FAC”) was accepted for filing              generated by CM/ECF docketing system and not
on August 11, 2021, in which Plaintiff alleged Fourteenth             the documents’ internal pagination.
Amendment equal protection and Eighth Amendment failure
to protect claims against Corrections Officer (“CO”) Gordon    Plaintiff alleges that he was physically assaulted on July 25,
Stock and CO Travis Zehr (collectively, “Defendants”).         2017, by Williams, when CO Zehr was opening cells for
See Dkt. No. 83. On July 20, 2022, Defendants filed a          inmates after recreation at or around 10 p.m. Dkt. No. 83 at
motion for summary judgment seeking dismissal of the           3-4; Dkt. No. 108-4 at 36. According to Plaintiff, Williams
FAC. See Dkt. No. 108. This matter was referred to             came up behind him and cut his face with a razor. Dkt. No.
United States Magistrate Judge Thérèse Wiley Dancks, who,      108-4 at 35. Plaintiff went back into his cell, but Williams
on February 27, 2023, issued a Report-Recommendation           followed him and cut Plaintiff's right arm before returning to
and Order (“Report-Recommendation”), recommending that         his own cell. Dkt. No. 108-4 at 35, 39-40. Plaintiff contends
Defendants’ motion for summary judgment, Dkt. No. 108,         that CO Zehr stood at the end of the gallery watching as
be granted in part and denied in part. See Dkt. No. 115        Williams assaulted him. Dkt. No. 83 at 3-4. Plaintiff alleges
at 19. Magistrate Judge Dancks advised that under 28           that CO Zehr did not pull a pin or otherwise give attention to
U.S.C. § 636(b)(1), the parties had fourteen days within       the situation. Id. Plaintiff also claims CO Zehr walked by his
                                                               cell “smiling in a childish way” four to five minutes after the


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incident while Plaintiff was bleeding from his face and arm.      favor of the nonmoving party. See Chambers, 43 F.3d at 36
Dkt. No. 108-4 at 35-36, 40. Plaintiff further alleges he had     (citing, inter alia, Anderson, 477 U.S. at 255). 4 Where a
to call CO Zehr back and ask him to go to the infirmary. Dkt.     party is proceeding pro se, like here, the court must “read his
No. 108-4 at 35-36. CO Zehr allegedly told Plaintiff to wait,     supporting papers liberally, and ... interpret them to raise the
completed his rounds, and then sent Plaintiff to the infirmary.   strongest arguments that they suggest.” Burgos v. Hopkins,
Dkt. No. 108-4 at 36. Plaintiff still has scars on his face and   14 F.3d 787, 790 (2d Cir. 1994); accord Soto v. Walker, 44
arm from the incident. Dkt. No. 108-4 at 46.                      F.3d 169, 173 (2d Cir. 1995). “However, a pro se party's
                                                                  ‘bald assertion,’ completely unsupported by evidence, is not
 *2 Plaintiff contends that he was “neglected” or “ignored”       sufficient to overcome a motion for summary judgment.” Lee
by CO Stock and CO Zehr because he previously identified          v. Coughlin, 902 F. Supp. 424, 429 (S.D.N.Y. 1995) (quoting
as transgender and because he was convicted of murdering          Carey v. Crescenzi, 923 F.2d 18, 21 (2d Cir. 1991)).
someone who was related to a CO. Dkt. No. 83 at 3. Plaintiff
further contends that the fact that he previously identified as   4      Where, as here, the non-movant fails to dispute the
transgender and had a history of being sexually assaulted in
                                                                         movant's statement of material facts, the court may
other DOCCS facilities had spread throughout his block and
                                                                         not rely solely on the moving party's Rule 56.1
the prison. Dkt. No. 83 at 2-3; Dkt. No. 108-4 at 48. As a
                                                                         statement; rather, the court must be satisfied that
result, other inmates loudly taunted him, and thus the Auburn
                                                                         the citations to evidence in the record support the
C.F. COs had knowledge of Plaintiff's background. See Dkt.
                                                                         movant's assertions. See Giannullo v. City of N.Y.,
No. 83 at 2-3.
                                                                         322 F.3d 139, 143 n. 5 (2d Cir. 2003) (holding
                                                                         that not verifying in the record the assertions in a
III. STANDARD OF REVIEW                                                  motion for summary judgment “would derogate the
                                                                         truth-finding functions of the judicial process by
   A. Summary Judgment                                                   substituting convenience for facts”).
A court may grant a motion for summary judgment only if
it determines that there is no genuine issue of material fact        B. Review of Report-Recommendation
to be tried and that the facts as to which there is no such       A district court reviews de novo those portions of a
issue warrant judgment for the movant as a matter of law.         magistrate judge's report-recommendations that have been
See Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29, 36              properly preserved with a specific objection. 28 U.S.C. §
(2d Cir. 1994) (citations omitted). “The mere existence of        636(b)(1)(C). “To be ‘specific,’ the objection must, with
a scintilla of evidence in support of the plaintiff's position    particularity, ‘identify [1] the portions of the proposed
will be insufficient; there must be evidence on which the         findings, recommendations, or report to which it has an
jury could reasonably find for the plaintiff.” Jeffreys v. City   objection and [2] the basis for the objection.’ ” Petersen
of New York, 426 F.3d 549, 554 (2d Cir. 2005) (quoting            v. Astrue, 2 F. Supp. 3d 223, 228-29 (N.D.N.Y. 2012)
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986))        (alteration in original) (quoting N.D.N.Y. Local Rule 72.1(c)).
(emphasis in original). In other words, “a nonmoving party        When a party files “[g]eneral or conclusory objections,
must offer some hard evidence showing that [his] version of       or objections which merely recite the same arguments
the events is not wholly fanciful.” Id. (citation and internal    [previously] presented to the magistrate judge,” the district
quotation marks omitted). Moreover, the court “cannot try         court reviews a magistrate judge's report-recommendations
issues of fact; it can only determine whether there are issues    for clear error. O'Diah v. Mawhir, No. 9:08-CV-322 (TJM)
to be tried.” See Chambers, F.3d at 36-37 (quotation and          (DRH), 2011 WL 933846, at *1 (N.D.N.Y. Mar. 16, 2011)
other citation omitted). Any assessments of credibility and all   (citations omitted); accord Mario v. P & C Food Markets,
choices between available inferences are matters to be left for   Inc., 313 F.3d 758, 766 (2d Cir. 2002) (a “statement, devoid
a jury, not matters to be decided by the Court on summary         of any reference to specific findings or recommendations to
judgment. See Celotex Corp. v. Catrett, 477 U.S. 317 (1986)       which [the plaintiff] objected and why, and unsupported by
(citing Fed. R. Civ. P. 56(c), (e)).                              legal authority, was not sufficient to preserve” a claim).

In assessing the record to determine whether any issues            *3 “[I]n a pro se case, the court must view the submissions
of material fact exist, the court is required to resolve all      by a more lenient standard than that accorded to ‘formal
ambiguities and draw all reasonable factual inferences in         pleadings drafted by lawyers.’ ” Govan v. Campbell, 289


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F. Supp. 2d 289, 295 (N.D.N.Y. 2007) (quoting Haines
v. Kerner, 404 U.S. 519, 520 (1972)) (additional citations
                                                                                         i. Legal Standard
omitted). The Second Circuit has held that courts are
obligated to “ ‘make reasonable allowances to protect pro se       “The Equal Protection Clause of the Fourteenth Amendment
litigants’ ” from inadvertently forfeiting legal rights merely     requires that all persons similarly situated be treated in the
because they lack a legal education. Govan, 289 F. Supp. 2d        same manner.” Allen v. Cuomo, 100 F.3d 253, 260 (2d
at 295 (quoting Traguth v. Zuck, 710 F.2d 90, 95 (2d Cir.          Cir. 1996) (citing City of Cleburne v. Cleburne Living Ctr.,
1983)). That said, “even a pro se party's objections to a Report   473 U.S. 432, 439 (1985)). “To prove an equal protection
and Recommendation must be specific and clearly aimed at           violation, claimants must prove purposeful discrimination,
particular findings in the magistrate's proposal ....” Machicote   directed at an identifiable or suspect class.” Giano v.
v. Ercole, No. 06 Civ. 13320 (DAB)(JCF), 2011 WL 3809920,          Senkowski, 54 F.3d 1050, 1057 (2d Cir. 1995) (citations
at *2, (S.D.N.Y. Aug. 25, 2011) (citation omitted); accord         omitted). Where there are no allegations of membership in a
Caldwell v. Petros, No. 1:22-cv-567 (BKS/CFH), 2022 WL             suspect or protected class, the plaintiff may still prevail on an
16918287, at *1 (N.D.N.Y. Nov. 14, 2022). After appropriate        equal protection claim under either a selective enforcement
review, “the court may accept, reject or modify, in whole or in
                                                                   or a class of one theory. 6 See Cobb v. Pozzi, 363 F.3d 89,
part, the findings or recommendations made by the magistrate
                                                                   109-11 (2d Cir. 2004); Vaher v. Town of Orangetown, N.Y.,
[judge].” 28 U.S.C. § 636(b)(1)(C).
                                                                   916 F. Supp. 2d 404, 433 (S.D.N.Y. 2013); see also Emblen
                                                                   v. Port Authority of New York/New Jersey, No. 00 Civ. 8877
IV. DISCUSSION                                                     (AGS), 2002 WL 498634, at *7 (S.D.N.Y. Mar. 29, 2002)
Defendants did not file objections to the Report-                  (allowing plaintiff's equal protection claim under the class of
Recommendation.        In    response      to  the     Report-     one theory to proceed where the plaintiff was not homosexual
Recommendation, Plaintiff submitted a document docketed            but alleged that he was perceived and discriminated against
as an objection. Dkt. No. 116. However, Plaintiff's submission     as such) (citing Harlen Assocs. v. Incorporated Village of
restates certain of the allegations in the FAC, compare Dkt.       Mineola, 273 F.3d 494, 499 (2d Cir. 2001)).
No. 116, with Dkt. No. 83, and does not reference the Report-
Recommendation or identify any objection to the analysis           6       The Second Circuit treats claims under the selective
                                   5                                       enforcement theory and the class of one theory as
in the Report-Recommendation. Plaintiff has thus failed
to preserve an objection. Therefore, the Court reviews the                 separate claims. See Casciani v. Nesbitt, 392 F.
Report-Recommendation for clear error.                                     App'x. 887, 888 (2d Cir. 2010) (summary order);
                                                                           Gentile v. Nulty, 769 F. Supp. 2d 573, 579 (S.D.N.Y.
5                                                                          2011) (noting that courts in the Second Circuit
       Although it is titled “Written Objection,” Plaintiff's
                                                                           “have generally treated selective enforcement and
       document presents as more akin to a settlement
                                                                           class of one theories as distinct theories with
       demand than as an objection to the Report-
                                                                           distinct elements of proof.” (citations and internal
       Recommendation. See Dkt. No. 116. Instead
                                                                           quotation marks omitted)).
       of the $100,000 in monetary damages initially
       sought, Plaintiff states that he now seeks $5,000            *4 To state a claim under the selective enforcement theory,
       in monetary damages to resolve his Eighth                   “a plaintiff must allege facts supporting a conclusion that
       Amendment failure to protect claim against CO               1) he was ‘treated differently from other similarly situated’
       Zehr. See id.                                               comparators, and 2) ‘that such differential treatment was
                                                                   based on impermissible considerations such as race, religion,
   A. Plaintiff's Equal Protection Claim                           intent to inhibit or punish the exercise of constitutional rights,
Magistrate Judge Dancks recommended that Plaintiff's               or malicious or bad faith intent to injure a person.’ ” Missere
Fourteenth Amendment equal protection claim against                v. Gross, 826 F. Supp. 2d 542, 560 (S.D.N.Y. 2011) (quoting
Defendants be dismissed. Dkt. No. 115 at 19. For the reasons       Cine SK8, Inc. v. Town of Henrietta, 507 F.3d 778, 790
stated below, the Court adopts Magistrate Judge Dancks’            (2d Cir. 2007) (internal quotation marks omitted)). Finally, a
recommendation.                                                    plaintiff can state an equal protection claim under the “class
                                                                   of one” theory by alleging that he has been intentionally and
                                                                   “irrationally singled out.” Engquist v. Or. Dep't of Agric., 553



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U.S. 591, 601 (2008). A plausible class of one claim requires      Magistrate Judge Dancks’ recommendation that Plaintiff's
the plaintiff to demonstrate an “extremely high degree of          equal protection claim against CO Stock be dismissed.
similarity” with the person to whom he is comparing himself
to. Ruston v. Town Bd. for Town of Skaneateles, 610 F.3d           8       Plaintiff alleges that he was sexually assaulted by
55, 59 (2d Cir. 2010) (citation and internal quotation marks               Williams because CO Stock failed to pull a pin
omitted).                                                                  and/or failed to timely complete his rounds. Dkt.
                                                                           No. 83 at 1. Plaintiff's allegations are refuted by
                                                                           the summary judgment record. First, CO Stock
                        ii. Application                                    could not have pulled a pin because he was not
                                                                           present—and was not supposed to be present—on
Plaintiff contends that his Fourteenth Amendment rights were               Plaintiff's cell block at the time the alleged assault
violated on two separate occasions by two different DOCCS                  occurred, and second, CO Stock performed his
corrections officers. 7 See Dkt. No. 83. Plaintiff alleges that            duties consistent with his established schedule. See
CO Stock violated his Fourteenth Amendment rights when                     Dkt. No. 108-2 at 2-3; Dkt. No. 108-4 at 27-28.
he failed to protect him from being sexually assaulted by
Williams on July 22, 2017. Id. at 1. Plaintiff also alleges that
CO Zehr failed to protect him from being physically assaulted                                2. CO Zehr
by Williams on July 25, 2017. Id. at 3-4. Plaintiff contends
                                                                   The Court also adopts Magistrate Judge Dancks’
that Defendants failed to protect him from being assaulted
                                                                   recommendation that Plaintiff's equal protection claim against
for two reasons: (1) because he was convicted of murdering
                                                                   CO Zehr be dismissed. Magistrate Judge Dancks correctly
someone related to a CO; and (2) because he previously
                                                                   found that Plaintiff's equal protection claim against CO Zehr
identified as transgender. Id. at 3.
                                                                   fails as a matter of law. See Dkt. No. 115 at 7-10.

7      Plaintiff uses the words “neglected” and “ignored”           *5 The Court will first address whether Plaintiff is a member
       to describe the basis for his equal protection claim        of an identifiable or suspect class. Plaintiff alleges two
       against Defendants. Dkt. No. 83 at 3. Construing            different bases for his equal protection claim, which the Court
       Plaintiff's submissions and arguments liberally,            will analyze separately. Beginning with Plaintiff's contention
       the Court understands Plaintiff to be alleging              that CO Zehr failed to protect him because he was convicted
       that Defendants failed to protect him from being            of murdering someone related to a corrections officer—
       sexually and physically assaulted by Williams.              Plaintiff is not a member of a suspect class because he was
                                                                   convicted of murdering someone related to a corrections
                                                                   officer. See Lee v. Governor of State of N.Y., 87 F.3d 55, 60 (2d
                         1. CO Stock                               Cir. 1996) (“prisoners either in the aggregate or specified by
                                                                   offense are not a suspect class”); Mathie v. Dennison, No. 06
As an initial matter, Plaintiff has no legally cognizable claim
                                                                   CIV. 3184 (GEL), 2007 WL 2351072, at *8 (S.D.N.Y. Aug.
under the Fourteenth Amendment against CO Stock. It is
                                                                   16, 2007), aff'd, 381 F. App'x 26 (2d Cir. 2010) (“Prisoners
undisputed that CO Stock was not physically present for,
                                                                   are not a suspect class .... Nor are violent prisoners a suspect
involved in, or a witness to Plaintiff's alleged sexual assault
                                                                   class. A history of violent crime is the very opposite of a
by Williams on July 22, 2017. See Dkt. No. 108-2 at 2-3;
                                                                   morally irrelevant, immutable trait: it reflects a voluntary
Dkt. No. 108-4 at 27-28. The summary judgment record,
                                                                   choice by the offender to commit a dangerous and harmful
including Plaintiff's testimony, demonstrates that CO Stock
                                                                   criminal act when he could have complied with the law.”);
was not present at the time the sexual assault occurred. 8 Id.     Scott v. Dennison, 739 F. Supp. 2d 342, 362 (W.D.N.Y. 2010)
Therefore, the evidence before the Court fails to establish        (“neither violent felons nor non-violent felons are a ‘suspect
that CO Stock treated Plaintiff differently than those similarly   class’ under the United States Constitution”).
situated—he simply was not present in Plaintiff's cell block
at the time of the alleged assault and thus could not              The Court next addresses Plaintiff's contention that CO Zehr
have engaged in any treatment of Plaintiff whatsoever with         failed to protect him because he previously identified as
respect to the alleged assault. Id. Therefore, the Court adopts    transgender. Defendants argue that Plaintiff is not a member



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of a suspect class because Plaintiff did not identify as          factors[,]” because transgender individuals have “suffered
transgender at the time the alleged assaults occurred. See        a history of persecution and discrimination,” “transgender
Dkt. No. 108-5 at 12-13. Defendants also argue that even          status bears no relation to the ability to contribute to society,”
if Plaintiff was transgender at the time the alleged assaults     “transgender status is a sufficiently discernable characteristic
occurred, Plaintiff would not be entitled to heightened           to define a discrete minority class,” and “transgender people
scrutiny because there is no Supreme Court or Second Circuit      are a politically powerless minority.” 10 Id. at 139. Thus,
case addressing whether transgender individuals are members       the Adkins court held that Windsor clearly established equal
of a protected or suspect class. See id. at 12.                   protection rights for not only homosexual individuals, but
                                                                  also transgender individuals. Id. at 139-140; see also Johnson
First, Defendants are correct that Plaintiff is not a member of   v. Padin, No. 3:20-CV-637 (CSH), 2020 WL 4818363, at
a protected or suspect class because he previously identified     *3 (D. Conn. Aug. 16, 2020). By contrast, in White, which
as transgender. Plaintiff testified that he was born a male and   was decided approximately a month later than Adkins, the
currently identifies as male. Dkt. No. 108-4 at 18. Plaintiff     court declined to extend the holding in Windsor to transgender
also testified that he identified as transgender from 2009 to     plaintiffs. White, 206 F. Supp. 3d at 933 (“While there is
2011 but ceased to do so when he was incarcerated in 2011.        certainly an argument to be made that the Windsor holding
Id. at 19. Thus, for purposes of resolving CO Zehr's motion       should be expanded to transgender persons ... it [is] not the
for summary judgment as to Plaintiff's equal protection claim,    clearly established law of this Circuit ...”); see Shtilman v.
the Court need not determine whether transgender persons are      Makram, No. 14-CV-6589 (NSR), 2018 WL 3745670, at *7
members of a protected or suspect class because Plaintiff in      (S.D.N.Y. Aug. 6, 2018) (stating that neither the Supreme
this action does not currently identify as transgender. 9         Court nor the Second Circuit has held that transgender
                                                                  individuals are members of a protected class).
9      The Court notes that Plaintiff need not be a
       member of a protected or suspect class to proceed          10
                                                                          Although Adkins found that the plaintiff established
       with an equal protection claim under a selective                   a violation of the Fourteenth Amendment, the
       enforcement or class of one theory. The Court                      court granted the individual defendants’ motion
       assesses the sufficiency of such claims infra.                     to dismiss because qualified immunity applied.
However, the Court notes that Defendants are correct in                   Adkins, 143 F. Supp. 3d at 140. The court held
that neither the Supreme Court nor the Second Circuit has                 that qualified immunity applied because plaintiff's
provided guidance on this point. Moreover, there is a lack                rights were not clearly established at the time of his
of uniformity among the district courts in this Circuit that              arrest, which occurred a year prior to the decision
have addressed the question of whether transgender plaintiffs             in Windsor v. United States. Id.
are members of a protected class whose equal protection            *6 Even assuming arguendo that Plaintiff still identified as
claims are entitled to heightened scrutiny. Compare Adkins        transgender at the time of the alleged assaults and adequately
v. City of New York, 143 F. Supp. 3d 134, 139 (S.D.N.Y.           alleged intentional or purposeful discrimination on the part
2016) (concluding that transgender persons are a quasi-           of CO Zehr, Plaintiff's equal protection claim against CO
suspect class and are thus entitled to intermediate scrutiny)     Zehr would be dismissed because CO Zehr is entitled to
with White v. City of New York, 206 F. Supp. 3d 920, 933          qualified immunity. Qualified immunity shields government
(S.D.N.Y. 2016) (concluding that neither the Supreme Court        officials from liability for money damages for violation of
nor the Second Circuit has held that transgender persons are      a right under federal law if “their conduct does not violate
members of a protected or suspect class whose claims are          clearly established statutory or constitutional rights of which a
entitled to heightened scrutiny). The Adkins court relied on      reasonable person would have known.” Harlow v. Fitzgerald,
the four-factor test set forth in Windsor v. United States, 699   457 U.S. 800, 818 (1982). It allows government officials
F.3d 169 (2d Cir. 2012), in which the Second Circuit held         to make reasonable judgments and is said to protect “all
that homosexual persons are a quasi-suspect class and are         but the plainly incompetent or those who knowingly violate
entitled to intermediate scrutiny. 143 F. Supp. 3d at 139-140.    the law.” Malley v. Briggs, 475 U.S. 335, 341 (1986).
The Adkins court acknowledged that although transgender           “Qualified immunity bars a plaintiff's claim unless (1) the
individuals and homosexual individuals are not identical, they    official violated a statutory or constitutional right, and (2) that
are “similarly situated with respect to each of Windsor's four    right was clearly established at the time of the challenged



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conduct.” Matzell v. Annucci, 64 F.4th 425, 434 (2d Cir. 2023)      Plaintiff's pro se status. Accordingly, the Court adopts
(citing Francis v. Fiacco, 942 F.3d 126, 139 (2d Cir. 2019)).       Magistrate Judge Dancks’ recommendation that Defendants’
A right is clearly established when “[t]he contours of the          motion for summary judgment be granted as to Plaintiff's
right [are] sufficiently clear that a reasonable official would     Fourteenth Amendment equal protection claim against CO
understand that what he is doing violates that right.” Anderson     Zehr.
v. Creighton, 483 U.S. 635, 640 (1987); see Jackler v. Byrne,
658 F.3d 225, 242 (2d Cir. 2011). “To determine whether a
law is clearly established, this Court considers ‘the specificity      B. Plaintiff's Failure to Protect Claim
with which a right is defined, the existence of Supreme             Magistrate Judge Dancks recommended that Plaintiff's Eighth
Court or Court of Appeals case law on the subject, and the          Amendment failure to protect claim against CO Stock be
understanding of a reasonable officer in light of preexisting       dismissed, but that Plaintiff's Eighth Amendment failure to
law.’ ” Matzell, 64 F.4th at 434 (quoting Terebesi v. Torreso,      protect claim against CO Zehr proceed to trial. Dkt. No. 115
764 F.3d 217, 231 (2d Cir. 2014)). Because it was not (and          at 19. For the reasons stated below, the Court adopts these
still is not) the clearly established law of this Circuit that      recommendations.
transgender plaintiffs are members of a protected or suspect
class whose equal protection claims are entitled to heightened      To prevail on a failure to protect claim, a plaintiff must
scrutiny, CO Zehr “could not be expected to anticipate              demonstrate two elements, one that is subjective, and one that
that [his] actions would be subject to any standard more            is objective. See Farmer v. Brennan, 511 U.S. 825, 828-34
stringent than rational basis review,” see White, 206 F. Supp.      (1994). To satisfy the objective prong, “the inmate must show
3d at 933, and is therefore entitled to qualified immunity          that he is incarcerated under conditions posing a substantial
on Plaintiff's equal protection claim. See id. (holding that        risk of serious harm.” Id. at 834. To satisfy the subjective
qualified immunity applied to the individual defendants             prong, the plaintiff must prove deliberate indifference on
because plaintiff's rights were not clearly established at the      the part of the official. See Hayes v. New York City Dep't
time of the alleged discrimination occurred); Adkins, 143 F.        of Corr., 84 F.3d 614, 620 (2d Cir. 1996) (citing Farmer,
Supp. 3d at 140 (same).                                             511 U.S. at 833). That is, “the plaintiff must show that
                                                                    the ‘official [knew] of and disregard[ed] an excessive risk
The Court next considers whether Plaintiff has alleged a            to inmate health or safety.’ ” Celestin v. Premo, No. 9:12-
cognizable equal protection claim under either a selective          cv-301 (GLS/RFT), 2014 WL 272443, at *5 (N.D.N.Y. Jan.
enforcement or a class of one theory. The Court finds that          24, 2014) (quoting Farmer, 511 U.S. at 836) (alterations
Plaintiff has failed to do so. Plaintiff's claim under these        in original). Moreover, the “official must both be aware
theories fails because he does not allege any facts from            of facts from which the inference could be drawn that a
which the Court can discern that he was treated differently         substantial risk of serious harm exists, and he must also draw
from similarly situated inmates. See Mosdos Chofetz Chaim,          the inference.” Id. (emphasis in original). Mere negligence
Inc. v. Village of Wesley Hills, 815 F. Supp. 2d 679, 693           by a prison official will be insufficient to establish deliberate
(S.D.N.Y. 2011) (“There are two types of equal protection           indifference. See Hathaway v. Coughlin, 37 F.3d 63, 66
claims that require similarly situated comparators ... selective    (2d Cir. 1994) (“Deliberate indifference requires more than
enforcement or selective treatment claims ... [and] ‘class          negligence, but less than conduct undertaken for the very
of one’ claims ...”); see also Ruggiero v. Fischer, 807             purpose of causing harm.”).
F. App'x 70, 74 (2d Cir. 2020) (“[C]lass-of-one plaintiffs
must show an extremely high degree of similarly between              *7 Magistrate Judge Dancks correctly concluded that
themselves and persons to whom they compare themselves.”)           Plaintiff cannot satisfy the elements of a failure to protect
(quoting Clubside, Inc. v. Valentin, 468 F.3d 144, 159 (2d          claim against CO Stock. See Dkt. No. 115 at 12-14. As a
Cir. 2006)). Plaintiff only alleges that he was “ignored” and       threshold matter, Plaintiff's failure to protect claim against
“neglected” by CO Zehr because he previously identified as          CO Stock fails for the same reason his equal protection claim
transgender and/or because he was convicted of murdering            against CO Stock fails. As discussed in Section IV.A.ii.1
someone related to a CO. Dkt. No. 83 at 3. He identifies            supra, there is simply no evidence that CO Stock was on
no comparators. See generally Dkt. No. 83. These factual            Plaintiff's cell block at the time Plaintiff alleges the sexual
allegations are insufficient to demonstrate disparate treatment     assault occurred. See Dkt. No. 108-2 at 2-3; Dkt. No. 108-4
from those similarly situated, even with recognition of             at 28. As such, CO Stock could not have prevented Williams
                                                                    from allegedly sexually assaulting Plaintiff on July 22, 2017.


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Moreover, Plaintiff has not adequately alleged that CO Stock          commencement of an inmate-to-inmate altercation could put a
was aware prior to (or at the time of) the sexual assault that        prison official on sufficient notice to render the prison official
Plaintiff previously identified as transgender and that he had        deliberately indifferent if he or she then fails to intervene
been sexually assaulted at previous DOCCS facilities, such            in an appropriate manner”); Candelaria v. Coughlin, No. 91
that there was a substantial risk of serious harm to Plaintiff        Civ. 2978, 1996 WL 88555, at *9 (S.D.N.Y. Mar. 1, 1996)
to which CO Stock was deliberately indifferent. 11 In sum,            (inaction by a correction officer to intercede and halt an
Plaintiff has failed to allege facts sufficient to establish a        attack by a fellow prisoner is sufficient basis for deliberate
failure to protect claim against CO Stock. Accordingly, the           indifference). Additionally, the Court agrees with Magistrate
Court adopts Magistrate Judge Dancks’ recommendation that             Judge Dancks’ finding that CO Zehr is not entitled to qualified
Defendants’ motion for summary judgment as to Plaintiff's             immunity, see Dkt. No. 115 at 18, because Plaintiff has
Eighth Amendment failure to protect claim against CO Stock            raised a question of fact with respect to this claim. See, e.g.,
be granted.                                                           Decayette v. Goord, No. 9:06-CV-783, 2009 WL 1606753,
                                                                      at *12 (N.D.N.Y. June 8, 2009) (finding defendant was not
11                                                                    entitled to summary judgment on qualified immunity grounds
        In the FAC, Plaintiff simply refers to “he” in the
                                                                      because triable issues of fact existed as to whether she was
        sentences in which he describes his bases for why
                                                                      deliberately indifferent to a serious medical need of Plaintiff's
        he believes that the COs “allowed” him to be
                                                                      and as to whether she was liable for failing to intervene during
        assaulted by Williams. See Dkt. No. 83 at 2 (“He
                                                                      the alleged beating of Plaintiff).
        overheard inmates from the other tiers harassing
        me about my sexuality and everything else. He
                                                                      Having reviewed the Report-Recommendation for clear error,
        knew this were (sic) an ongoing issue of mine,
                                                                      and found none, the Court adopts the recommendations in the
        where I have been raped on several occasions
                                                                      Report-Recommendation.
        at other facilities.” (emphasis added)). Even with
        recognition of Plaintiff's pro se status and the
        solicitude afforded therewith, the Court cannot               V. CONCLUSION
        speculate as to who “he” is—“he” could be CO                   *8 Accordingly, the Court hereby
        Stock, CO Zehr, or some unnamed CO. See also
        Dkt. 115 at 13-14.                                            ORDERS that the recommendations in the Report-
In addition, Magistrate Judge Dancks correctly concluded              Recommendation, Dkt. No. 115, are ADOPTED for the
that Plaintiff's Eighth Amendment failure to protect claim            reasons stated herein; and the Court further
against CO Zehr should proceed to trial because a reasonable
jury could find that CO Zehr was deliberately indifferent             ORDERS that Defendants’ motion for summary judgment,
to an excessive risk to inmate health and safety when he              Dkt. No. 108, is GRANTED in part and DENIED in part.
failed to intervene at the time that he saw Williams “making          The motion is granted in that the following claims are
violent swinging motions” inside Plaintiff's cell during the          DISMISSED: the Fourteenth Amendment equal protection
alleged assault on July 25, 2017. Dkt. No. 115 at 15                  claim against both Defendants and the Eighth Amendment
(citing Dkt. No. 108-3 at 20). The Court adopts Magistrate            failure to protect claim against Defendant CO Stock. The
Judge Dancks’ recommendation that Defendants’ motion                  motion is DENIED as to the Eighth Amendment failure to
for summary judgment be denied as to Plaintiff's Eighth               protect claim against Defendant CO Zehr; and the Court
Amendment failure to protect claim against CO Zehr. See,              further
e.g., Heisler v. Kralik, 981 F. Supp. 830, 837 (S.D.N.Y. 1997),
aff'd sub nom. Heisler v. Rockland Cnty., 164 F.3d 618 (2d Cir.       ORDERS that the Clerk serve a copy of this Memorandum-
1998) (denying defendant's motion for summary judgment                Decision and Order on all parties in accordance with the Local
where the plaintiff alleged that another inmate, whom plaintiff       Rules.
had no alleged previous altercations with, attacked him while
he was being held as a pretrial detainee, and officers witnessed      IT IS SO ORDERED.
the assault but failed to intercede to stop it); Stewart v. Schiro,
No. 13-CV-3613 (NGG)(VMS), 2015 WL 1854198, at *8
(E.D.N.Y. Apr. 22, 2015) (“under certain circumstances, the



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                                                                   of 1964 (“Title VII”); (2) a claim for retaliation in violation
                    2020 WL 5504011                                of Title VII; (3) a claim that Defendants Haelen and Di
       United States District Court, N.D. New York.                Stefano violated her right to equal protection pursuant to
                                                                   the Fourteenth Amendment of the United States Constitution
               Terese MEAGHER, Plaintiff,                          and 28 U.S.C. § 1983; (4) a claim that Defendants Haelen
                              v.                                   and Di Stefano retaliated against her in violation of the First
         STATE UNIVERSITY CONSTRUCTION                             Amendment of the United States Constitution and 28 U.S.C.
                                                                   § 1983; (5) a claim that Defendants Haelen and Di Stefano
          FUND; Robert Haelen, in his official and
                                                                   violated her substantive due process rights pursuant to the
       individual capacity; and Joanne Di Stefano, in
                                                                   Fourteenth Amendment of the United States Constitution and
      her official and individual capacity, Defendants.
                                                                   28 U.S.C. § 1983; (6) a claim for gender and familial status
                   1:17-CV-0903 (GTS/CFH)                          discrimination in violation of the New York State Human
                               |                                   Rights Law (“NYSHRL”); and (7) a claim for retaliation in
                       Signed 09/11/2020                           violation of the NYSHRL. 1 (Dkt. No. 42 [Pl.’s Compl.].)

Attorneys and Law Firms                                            1       As Plaintiff acknowledges in her Second Amended
TABNER, RYAN & KENIRY, LLP, Counsel for Plaintiff,                         Complaint, the first, third, fourth, fifth, and sixth
18 Corporate Woods Boulevard, Albany, NY 12211, OF                         of these claims were dismissed by the Court in its
COUNSEL: THOMAS R. FALLATI, ESQ.                                           Decision and Order of June 21, 2018.
                                                                   As a result of the Court's Decision and Order of June 21, 2018,
HON. LETITIA JAMES, Attorney General for the State of
                                                                   only the following claims survive at the time of this motion
New York, Counsel for Defendants, The Capitol, Albany,
                                                                   for summary judgment: (1) Plaintiff's claim for retaliation
NY 12224, OF COUNSEL: BRIAN W. MATULA, ESQ.,
                                                                   pursuant to Title VII; (2) Plaintiff's claim for discrimination/
Assistant Attorney General
                                                                   hostile work environment pursuant to the NYSHRL based
GIRVIN & FERLAZZO, P.C., Co-Counsel for Defendants,                on her familial status; and (3) Plaintiff's claim for retaliation
20 Corporate Woods Boulevard, Albany, NY 12211, OF                 pursuant to the NYSHRL. (Dkt. No. 17 [Decision and Order
COUNSEL: PATRICK J. FITZGERALD III, ESQ.                           filed June 21, 2018].)


                                                                      B. Undisputed Material Facts on Defendants’ Motion
                 DECISION and ORDER                                   for Summary Judgment
                                                                   The following facts were asserted and supported with
Glenn T. Suddaby, Chief U.S. District Judge
                                                                   accurate record citations by Defendants in their Statement of
 *1 Currently before the Court, in this employment                 Material Facts and either expressly admitted by Plaintiff or
discrimination action filed by Terese Meagher (“Plaintiff”)        denied without appropriate record citations in her response
against the State University Construction Fund (“Fund”),           thereto. (Compare Dkt. No. 59, Attach. 1 [Defs.’ Rule 7.1
Robert Haelen, and Joanne Di Stefano (“Defendants”), is            Statement] with Dkt. No. 66 [Pl.’s Rule 7.1 Resp.].)
Defendants’ motion for summary judgment. (Dkt. No. 59.)
For the reasons set forth below, Defendants’ motion is             1. The Fund is a New York public benefit corporation which
granted.                                                           oversees the construction of projects for the State University
                                                                   of New York system.

I. RELEVANT BACKGROUND                                             2. Plaintiff was hired in June 2009 as an Associate Counsel in
                                                                   the Fund's legal department.
   A. Plaintiff's Second Amended Complaint
Generally, in her Second Amended Complaint, Plaintiff              3. Plaintiff's primary job responsibilities were advising the
asserts the following seven claims against all Defendants          Fund regarding legal issues, particularly those involving
(unless otherwise indicated): (1) a claim for gender               construction contracts and insurance, and handling pending
discrimination in violation of Title VII of the Civil Rights Act



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and threatened litigation involving the Fund, which included           the statement is offered for the truth of the matter
assisting the New York State Attorney General's office.                asserted for the purposes of Fed. R. Evid. 801(c)(2)
                                                                       or merely the effect on the listener, the Court has
 *2 4. Bill Barczak, the Fund Counsel at the time Plaintiff            no reason to believe that Mr. Barczak would not be
was hired, was Plaintiff's direct supervisor and was the only          available to testify at trial.
other attorney in the Fund's legal department from the time     11. After Mr. Barczak retired, Plaintiff struggled to keep up
Plaintiff was hired until his retirement in March 2015.         with the workload.

5. Shortly after becoming employed by the Fund, Plaintiff       12. After Mr. Barczak retired, the legal department fell behind
went on maternity leave from July to November 2009 for the      on its work, and Defendant Haelen received complaints from
birth of her first child.                                       the legal department's constituents about the legal department
                                                                taking too long to complete tasks. 3
6. After her maternity leave, Plaintiff returned to the Fund
part-time, working an 80% schedule until November 2011.
                                                                3      Plaintiff again argues that this statement involves
7. In November 2011, Mr. Barczak told Plaintiff that                   inadmissible hearsay. (Dkt. No. 66, at ¶ 12 [Pl.’s
she would need to work full-time to be considered for                  Rule 7.1 Resp.].) As an initial matter, the Court
advancement, and Plaintiff accordingly began working full-             is not convinced that this statement would be
time.                                                                  inadmissible hearsay if it is presented to establish
                                                                       merely that Defendant Haelen received such
8. With Mr. Barczak's retirement in March 2015, Plaintiff              complaints, rather than to establish that the legal
became the only attorney in the Fund's legal department, but           department was indeed taking too long to complete
retained the title of Associate Counsel.                               tasks. See Fed. R. Evid. 801(c) (“ ‘Hearsay’ means
                                                                       a statement that: [1] the declarant does not make
9. After Mr. Barczak retired, Plaintiff was appointed to his           while testifying at the current trial or hearing;
former role as Secretary of the Fund's Board of Trustees.              and [2] a party offers in evidence to prove the
                                                                       truth of the matter asserted in the statement.”).
10. When Mr. Barczak retired, he told Defendant Haelen                 Additionally, as discussed above in note 2 of
that Plaintiff should not be promoted to his position as Fund          this Decision and Order, it is not apparent that
Counsel because she was not ready for that role. 2                     this evidence could not be presented in a form
                                                                       admissible at trial. Smith, 697 F. App'x at 89. For
2                                                                      example, the Court has no reason to believe that
       Plaintiff argues that this statement is inadmissible
                                                                       none of the legal department's constituents would
       hearsay and thus should not be admitted. (Dkt.
                                                                       be available to testify at trial, or that none of these
       No. 66, at ¶ 10 [Pl.’s Rule 7.1 Resp.].) However,
                                                                       complaints survive in written form.
       because it is not apparent that this evidence could
       not be presented in a form admissible at trial,           *3 13. In the summer of 2015, Plaintiff initiated a
       the Court declines to exclude this evidence for          conversation with Defendant Haelen to discuss her difficulties
       the purposed of Defendants’ motion for summary           with her workload.
       judgment. See Smith v. City of New York, 697
       F. App'x 88, 89 (2d Cir. 2017) (finding that the         14. In this conversation, Plaintiff stated that she wanted to
       Court did not need to review whether the relevant        spend more time with her children and that her workload was
       evidence met one of the hearsay exceptions because       interfering with this goal.
       “material relied on at summary judgment need not
       be admissible in the form presented to the district      15. In this conversation, Defendant Haelen told Plaintiff
       court. Rather, so long as the evidence in question       that he would confer with the human resources department
       ‘will be presented in admissible form at trial,’         regarding providing the legal department with staffing to help
       it may be considered on summary judgment’ ”)             reduce Plaintiff's workload.
       (quoting Santos v. Murdock, 243 F.3d 681, 683
       [2d Cir. 2001]). For example, setting aside whether


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16. Mary Jo Lais, the Fund's Director of Human Resources,                26 [Defs.’ Rule 7.1 Statement] with Dkt. No.
also had conversations with Plaintiff during the summer of               66, at ¶ 26 [Pl.’s Rule 7.1 Resp.].) The Court
2015 regarding the legal department's workload.                          has reformulated the asserted fact to reflect the
                                                                         undisputed facts that could be gleaned from the
17. On August 7, 2015, Defendant Haelen informed Plaintiff               evidence cited by Defendants and Plaintiff.
that he had selected Defendant Di Stefano (the Fund's
                                                                  26. In her role as Deputy Counsel in the legal department,
Corporate Integrity and Ethics Officer) to join the legal
                                                                  Defendant Di Stefano became Plaintiff's direct supervisor.
department as Deputy Counsel, and that Plaintiff would not
be promoted.
                                                                  27. In her role as Deputy Counsel in the legal department,
                                                                  Defendant Di Stefano was given the authority to assign and
18. Defendant Haelen also advised Plaintiff that Defendant
                                                                  review Plaintiff's work.
Di Stefano would be taking over the role of Secretary for the
Board of Trustees.
                                                                  28. In her role as Deputy Counsel in the legal department,
                                                                  Defendant Di Stefano had no ownership interest in the Fund
19. Plaintiff responded that, due to the hiring of Defendant Di
                                                                  and lacked any authority to hire or fire Fund employees. 5
Stefano, she wished to return to an 80% schedule.

                                                                  5
20. Defendant Haelen explained to Plaintiff that he would                Plaintiff objects to this asserted fact, arguing that
have to consult with Defendant Di Stefano about her request              it sets forth a legal conclusion rather than a factual
for a part-time schedule.                                                assertion. (Dkt. No. 66, at ¶ 29 [Pl.’s Rule 7.1
                                                                         Resp.].) However, whether Defendant Di Stefano
21. Plaintiff reiterated that her current workload was too               had an ownership interest or the authority to
burdensome.                                                              hire and fire employees are clearly factual issues
                                                                         that can be proven or disproven by evidence.
22. Defendant Haelen acknowledged Plaintiff's concern and                Defendants have cited evidence supporting the
reassured her that he did not want her to “burn out.”                    asserted fact, while Plaintiff has not adduced
                                                                         evidence to establish a genuine dispute of material
23. Defendant Haelen explained that adding Defendant Di                  fact regarding Defendant Di Stefano's ownership
Stefano to the legal department would serve to reduce                    interest or authority to hire and fire employees. As
Plaintiff's workload and enable Plaintiff to focus more                  a result, this asserted fact is deemed admitted.
exclusively on litigation.                                         *4 29. Plaintiff had conversations with Defendant Di
                                                                  Stefano shortly after Defendant Di Stefano became Deputy
24. In her new role as Deputy Counsel of the legal department,    Counsel regarding Plaintiff's ongoing struggles with her
Defendant Di Stefano was tasked by Defendant Haelen with          current workload.
addressing the department's backlog of work.
                                                                  30. In these conversations, Plaintiff noted that she had
25. At various times, different employees at the Fund have        frequently been working on nights and weekends and
had different authorizations to sign documents on behalf          expressed her desire for a decreased workload that would
of the Fund. Between Mr. Barczak's retirement in March            enable her to spend more time with her family.
2015 and Defendant Di Stefano's appointment to the role
of Deputy Counsel in August 2015, Plaintiff was the only          31. In one of these conversations, Plaintiff complained about
attorney in the Fund's legal department and thus was given        a recent instance in which she had done work at home on a
greater signatory authority after Mr. Barczak's retirement.       weekend after her children had gone to bed.
That signatory authority was later reduced after Defendant Di
Stefano became Deputy Counsel. 4                                  32. In these conversations, Defendant Di Stefano assured
                                                                  Plaintiff that she would help alleviate Plaintiff's workload by
4                                                                 taking on some of the responsibilities that Plaintiff had been
       The Court finds that portions of Defendants’
       asserted fact are properly disputed by Plaintiff's         handling.
       denial. (Compare Dkt. No. 59, Attach. 1, at ¶


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33. Defendant Di Stefano personally took on much of the legal
department's day-to-day transactional work.                          45. Defendant Di Stefano also felt that the page showed
                                                                     very little effort on Plaintiff's part to provide the information
34. Defendant Di Stefano frequently spent in excess of 70            Defendant Di Stefano had requested.
hours per week (including nights and weekends) on her
responsibilities to the Fund.                                        46. Defendant Di Stefano emailed Plaintiff that same day,
                                                                     requesting a more thorough analysis, including more detailed
35. In another meeting with Defendant Di Stefano in                  project descriptions, timeframes for completion of projects,
November 2015, Plaintiff again expressed her desire to work          and deadlines.
fewer hours.
                                                                     47. Defendant Di Stefano believed at that time that
36. Plaintiff also reiterated a request she had made to              Plaintiff's submission of January 11, 2016, reflected Plaintiff's
Defendant Haelen in July 2015 for compensatory time off for          disinterest in collaborating with her to find a solution for the
“excess” work hours.                                                 workload problem.

37. Following the meeting on November 10, 2015, Defendant             *5 48. In a meeting on January 28, 2016, after Plaintiff had
Di Stefano conferred with the Fund's human resources                 returned from a vacation, Defendant Di Stefano remarked
department and determined that Plaintiff was not entitled to         that she was “personally and professionally offended” by
compensatory time under the Fund's then-current policies.            Plaintiff's submission.

38. On December 7, 2015, Defendant Di Stefano and Ms.                49. Plaintiff protested that she had spent a lot of time trying
Lais met with Plaintiff to confirm that she was not entitled to      to prepare the workload analysis.
receive compensatory time.
                                                                     50. Plaintiff offered to provide Defendant Di Stefano with
39. Plaintiff approached Defendant Di Stefano on December            copies of her timesheets and a litigation log of pending
23, 2015, with a new proposal for reducing her work hours.           lawsuits, but Defendant Di Stefano stated that these items
                                                                     were not helpful to gain a full understanding of Plaintiff's
40. On December 23, 2015, Plaintiff asked Defendant Di               current workload. 6
Stefano for approval of a part-time work schedule consisting
of two hours off every other Tuesday plus a full day off every       6       Plaintiff denies this asserted fact, but the evidence
other Thursday, and noted that she wanted to spend this time
                                                                             that she cites in opposition does not dispute the
with her children.
                                                                             fact that Defendant Di Stefano told Plaintiff that the
                                                                             proffered documents would not be helpful. (Dkt.
41. On January 7, 2016, Defendant Di Stefano asked Plaintiff
                                                                             No. 66, at ¶ 54 [Pl.’s Rule 7.1 Resp.].) This asserted
for a workload analysis to enable her to evaluate Plaintiff's
                                                                             fact is therefore deemed admitted.
request for a part-time schedule.
                                                                     51. On February 3, 2016, during a meeting with Plaintiff,
42. On January 11, 2016, Plaintiff gave Defendant Di Stefano         Defendant Di Stefano reiterated that she still wanted a
a handwritten page containing notations related to tasks for         thorough written workload analysis.
various matters being handled by the legal department.
                                                                     52. Plaintiff requested a template to guide her in preparing an
43. This page did not include any details such as deadlines          analysis of her workload.
or estimates of the amount of time Plaintiff would need to
complete the listed tasks.                                           53. Defendant Di Stefano responded that she did not have
                                                                     a template for Plaintiff to use, but she reiterated what
44. Upon receiving this page, Defendant Di Stefano was               information she wanted included in the analysis. 7
greatly frustrated because it lacked the critical details that she
felt were necessary for her to gain a meaningful understanding       7       Plaintiff denies this asserted fact, but the evidence
of Plaintiff's current workload.
                                                                             she cites in opposition does not dispute the fact


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        that Defendant Di Stefano did not have a format               *6 56. Mr. Feldman raised serious concerns about Plaintiff's
        to give Plaintiff. (Dkt. No. 66, at ¶ 54 [Pl.’s              involvement in lawsuits in which the Attorney General's
        Rule 7.1 Resp.].) In her affidavit, Plaintiff states         office was representing the Fund. 10
        that Defendant Di Stefano specifically said, “I
        won't even comment on that,” in response to her              10      Plaintiff again argues that this statement involves
        request for a format, but Plaintiff's notes (to which
                                                                             inadmissible hearsay. (Dkt. No. 66, at ¶ 12 [Pl.’s
        she refers in the cited paragraph of her affidavit)
                                                                             Rule 7.1 Resp.].) The Court rejects this argument
        indeed state that “JD said she does not have a
                                                                             for the reasons discussed in note 8 of this Decision
        format.” (Dkt. No. 59, Attach. 31, at 3.) The
                                                                             and Order.
        Court finds nothing in Plaintiff's purported denial
        that actually denies the asserted fact and thus the          57. Mr. Feldman complained that, among other things,
        asserted fact is deemed admitted.                            Plaintiff was requesting excessive extensions, was
                                                                     uncooperative with the Attorney General's office in handling
54. As of early 2016, the legal department's constituents,
including the Attorney General's office and other Fund               cases, and was not timely in responding to issues. 11
personnel who relied on the legal department for advice
and support, were continuing to express dissatisfaction with         11      Plaintiff again argues that this statement involves
             8                                                               inadmissible hearsay. (Dkt. No. 66, at ¶ 12 [Pl.’s
Plaintiff.
                                                                             Rule 7.1 Resp.].) The Court rejects this argument
8                                                                            for the reasons discussed in note 8 of this Decision
        Plaintiff again argues that this statement involves
                                                                             and Order.
        inadmissible hearsay. (Dkt. No. 66, at ¶ 12
        [Pl.’s Rule 7.1 Resp.].) As discussed in note                58. Due to these concerns, Mr. Feldman conveyed that the
        3 of this Decision and Order, these statements               Attorney General's office no longer wanted to work with
        would not be hearsay if they were offered                    Plaintiff. 12
        to establish that complaints were made about
        Plaintiff's performance, rather than to establish            12      Plaintiff again argues that this statement involves
        the truth of the substance of those complaints.
                                                                             inadmissible hearsay. (Dkt. No. 66, at ¶ 12 [Pl.’s
        Alternatively, the Court has no reason to believe
                                                                             Rule 7.1 Resp.].) As discussed above in note 2
        that the complainants would be unavailable to
                                                                             of this Decision and Order, it is not apparent that
        testify at trial. As a result, the Court finds that it may
                                                                             this evidence could not be presented in a form
        consider this evidence on this motion for summary
                                                                             admissible at trial. Smith, 697 F. App'x at 89.
        judgment.
                                                                     59. Pursuant to her meeting with Mr. Feldman, as well as other
55. At some point around January 2016, Defendant Di Stefano
                                                                     previous and subsequent requests by the Attorney General's
(without Plaintiff) met with Bruce Feldman, an attorney from
                                                                     office for her personal assistance with litigation matters,
the Attorney General's office, to discuss issues relating to their
                                                                     Defendant Di Stefano began taking a more active role in the
offices’ joint handling of litigation. 9
                                                                     department's litigation work. 13
9       Plaintiff denies this asserted fact, but she fails           13      Plaintiff again argues that this statement involves
        to cite admissible evidence to support her denial.
                                                                             inadmissible hearsay. (Dkt. No. 66, at ¶ 12 [Pl.’s
        (Dkt. No. 66, at ¶ 12 [Pl.’s Rule 7.1 Resp.].) In
                                                                             Rule 7.1 Resp.].) The Court rejects this argument
        Plaintiff's own deposition, she testified that her
                                                                             for the reasons discussed in note 8 of this Decision
        “understanding of the meeting was to discuss with
                                                                             and Order. Additionally, as discussed above in note
        the Office of Attorney General the handling of
                                                                             2 of this Decision and Order, it is not apparent
        Fund litigation by the AG's Office.” (Dkt. No. 59,
                                                                             that this evidence could not be presented in a form
        Attach. 4, at 95 [Pl.’s Dep.].) The Court also rejects
                                                                             admissible at trial. Smith, 697 F. App'x at 89.
        Plaintiff's assertion that this asserted fact contains
        hearsay. This asserted fact is therefore deemed              60. Defendant Di Stefano became involved with a lawsuit
        admitted.                                                    entitled Sano-Rubin at the specific request of the Attorney



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General's office after Mr. Feldman expressed displeasure with         time she had taken a less demanding, lower-paying job to
Plaintiff's unwillingness to prioritize a time-sensitive task.   14   be able to spend more time with her daughter. In making
                                                                      these statements, Defendant Di Stefano felt that she was being
14                                                                    empathetic to Plaintiff based on her own personal experiences
        Plaintiff again argues that this statement involves
        inadmissible hearsay. (Dkt. No. 66, at ¶ 12 [Pl.’s            in her career. 16
        Rule 7.1 Resp.].) The Court rejects this argument
        for the reasons discussed in note 8 of this Decision          16      Plaintiff denies this asserted fact. (Dkt. No. 66, at ¶
        and Order. Additionally, as discussed above in note                   71 [Pl.’s Rule 7.1 Resp.].) However, Plaintiff does
        2 of this Decision and Order, it is not apparent                      not cite any evidence to support her denial of the
        that this evidence could not be presented in a form                   portion of the fact related to Defendant Di Stefano's
        admissible at trial. Smith, 697 F. App'x at 89.                       feelings or motivations, and the Court does not feel
                                                                              that Defendants’ characterization of Defendant Di
61. During a meeting with Plaintiff on February 9, 2016,
                                                                              Stefano's words is inaccurate or misleading. This
Defendant Di Stefano remarked on the legal department's
                                                                              asserted fact is therefore deemed admitted.
ongoing backlog of time-sensitive work and reiterated her
continuing need for a workload analysis so that she could             66. As a result of the meeting of February 9, 2016, Defendant
consider Plaintiff's request for a part-time schedule.   15           Di Stefano repeated her request for a detailed workload
                                                                      analysis, which she now asked Plaintiff to complete by
15                                                                    February 19, 2016.
        Plaintiff denies the asserted fact, arguing that the
        “backlog” was not of her own litigation work.
                                                                      67. On February 12, 2016, Defendant Di Stefano (without
        (Dkt. No. 66, at ¶ 67 [Pl.’s Rule 7.1 Resp.].)
                                                                      Plaintiff) attended a meeting on a lawsuit entitled Christa v.
        However, the asserted fact specifically refers to
                                                                      Fund.
        “the department's” backlog, not merely Plaintiff's
        litigation work, and Plaintiff cites no evidence to
                                                                      68. When Plaintiff and Defendant Di Stefano met again on
        establish that the department as a whole did not
                                                                      February 16, 2016, Plaintiff presented a log of her workload.
        have a backlog. (Dkt. No. 59, Attach. 1, at ¶ 67
        [Defs.’ Rule 7.1 Statement].) This fact is therefore
                                                                      69. Defendant Di Stefano noted that the log (although
        deemed admitted.
                                                                      appreciably more detailed than Plaintiff's previous
 *7 62. As of February 9, 2016, Plaintiff had still not prepared      submission) still did not include the time estimates she had
a workload analysis that was satisfactory to Defendant Di             requested; she asked Plaintiff to add this information.
Stefano.
                                                                      70. In mid-February 2016, Defendant Di Stefano directed
63. In response to Defendant Di Stefano's statement that she          Plaintiff to complete a litigation analysis for Defendant
was still determining whether Plaintiff could be switched             Haelen so that he could evaluate several important lawsuits
to a part-time schedule that permitted Plaintiff to take              involving the Fund, and she set a deadline of February 26,
time off on Tuesdays and Thursdays as she had requested,              2016, for Plaintiff to complete that analysis.
Plaintiff indicated that she wanted to spend more time with
her children in the immediate future because her younger              71. Defendant Di Stefano and Plaintiff both attended a
daughter was starting school that fall.                               meeting with other Fund staff regarding the Christa case on
                                                                      February 29, 2016.
64. Defendant Di Stefano responded by observing that she
was herself working extremely long hours to the detriment             72. Defendant Di Stefano felt that Plaintiff had been grossly
of her personal and family time due to the department's very          unprepared for the meeting, and subsequently expressed
heavy workload.                                                       concern about Plaintiff's lack of preparation. 17

65. At other times during conversations with Plaintiff,               17
Defendant Di Stefano discussed the difficulties of balancing                  Plaintiff denies this asserted fact, but provides no
work demands and parenthood, and mentioned that at one                        evidence that would create a genuine dispute of
                                                                              material fact as to whether this was indeed what


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        Defendant Di Stefano felt. (Dkt. No. 66, at ¶
        78 [Pl.’s Rule 7.1 Resp.].) This asserted fact is            81. Defendant Di Stefano stated that she had not approved
        therefore deemed admitted.                                   a part-time schedule as requested by Plaintiff because she
                                                                     did not have the information she felt that she needed to
73. Meanwhile, also on February 29, 2016, Plaintiff received
                                                                     determine if a part-time schedule was compatible with the
an email from a SUNY attorney complaining about a default
                                                                     legal department's obligations.
judgment that had been entered in a lawsuit entitled Green
Depot v. SUNY after the Fund's failure to answer the complaint
                                                                     82. At this point in the meeting, Plaintiff began crying and
in that case. 18
                                                                     looked away.

18      Plaintiff denies this asserted fact, but her denial          83. Defendant Di Stefano responded by leaning towards
        is based entirely on a denial of the implied fact            Plaintiff from the opposite side of the conference room table
        that the Fund was responsible for answering the              and asking Plaintiff to look at her so that she could confirm
        complaint in that matter. (Dkt. No. 66, at ¶ 78 [Pl.’s       that Plaintiff had heard her. 19
        Rule 7.1 Resp.].) See also Yetman v. Capital Dis.
        Trans. Auth., 12-CV-1670, 2015 WL 4508362, at                19      Plaintiff disputes that the purpose of Defendant
        *10 (N.D.N.Y. July 23, 2015) (Suddaby, J.) (citing
                                                                             Di Stefano's actions was to confirm that Plaintiff
        authority for the point of law that the summary
                                                                             understood her, but Plaintiff cites no evidence to
        judgment procedure involves the disputation of
                                                                             support that denial. (Dkt. No. 66, at ¶ 78 [Pl.’s Rule
        asserted facts, not the disputation of implied
                                                                             7.1 Resp.].) This asserted fact is therefore deemed
        facts). However, Plaintiff has not denied the actual
                                                                             admitted.
        asserted fact, and thus that fact is deemed admitted.
                                                                     84. Defendant Di Stefano followed up on this strained
 *8 74. Plaintiff told Defendant Di Stefano that, due to other
                                                                     meeting by sending emails to all of the legal department's
work, she could not address Green Depot immediately, so
                                                                     employees on March 2 and March 5, 2016, indicating that
Defendant Di Stefano took the Green Depot file to handle the
                                                                     those employees were required to make advance written
issue herself.
                                                                     requests for time off for the purposes of accountability and to
                                                                     ensure that Fund staff could be reached if needed.
75. On March 7, 2016, Defendant Haelen extended a written
apology to SUNY for “how poorly the Green Depot matter
                                                                     85. Defendant Di Stefano granted Plaintiff's request to take
was handled by the Fund.”
                                                                     a day off on Thursday, March 3, 2016, but asked Plaintiff to
                                                                     cover a meeting on Tuesday, March 8, 2016.
76. As of February 29, 2016, Plaintiff had not completed the
litigation analysis which had been due on February 26, 2016.
                                                                     86. When Plaintiff indicated that she did not have childcare
                                                                     arranged for March 8 because she had planned to take time
77. During a meeting on March 1, 2016, Defendant Di Stefano
                                                                     off that morning, Defendant Di Stefano approved Plaintiff's
further commented on Plaintiff's performance at the February
                                                                     request for time off on that date.
29 meeting, stating that she felt that Plaintiff was not efficient
in how she approached her workload and assignments.
                                                                     87. On March 5, 2016, Defendant Di Stefano assigned
                                                                     Plaintiff an insurance procedure drafting project and set a
78. Defendant Di Stafano asked Plaintiff to make an effort to
                                                                     deadline of March 14, 2016, for its completion.
complete more tasks more efficiently.

                                                                     88. On March 7, 2016, Defendant Di Stefano asked Plaintiff
79. Defendant Di Stefano advised that, in light of the legal
                                                                     to complete the litigation analysis assignment for Defendant
department's demanding workload, Plaintiff might have to
                                                                     Haelen by March 14, 2016; that analysis had initially been
work long hours, including nights and weekends on an as-
                                                                     due by February 26, 2016, but had not been completed.
needed basis, just as Defendant Di Stefano had been doing.

80. Plaintiff protested that Defendant Di Stefano had already
approved her request for a part-time schedule.



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89. On March 8, 2016, Plaintiff informed Defendant Di             because another Fund employee (who was not part of the legal
Stefano that she “[did] not expect to meet” the March 14          department) was attending the meeting; Defendant Di Stefano
deadline for the insurance project assignment.                    did not see this email until after the meeting had already taken
                                                                  place. 21
 *9 90. On the evening of Friday, March 11, Plaintiff then
requested an extension of the March 14 deadline for the           21
                                                                          Plaintiff disputes the asserted fact, but her denial
litigation analysis assignment, stating that she could not work
                                                                          is merely an attempt to state additional disputed
on it that weekend because her daughter had a birthday
                                                                          facts, which more properly belong in a Statement of
celebration that would span the entire weekend.
                                                                          Additional Material Facts that she contends are in
                                                                          dispute pursuant to Local Rule 7.1(a)(3). (Dkt. No.
91. Defendant Di Stefano replied that they should meet on
                                                                          66, at ¶ 102 [Pl.’s Rule 7.1 Resp.].) This asserted
the morning of Monday, March 14 to discuss the deadline
                                                                          fact is therefore deemed admitted.
extension.
                                                                  97. In January, February, and March 2016, Defendant Di
92. Defendant Di Stefano was unable to make that meeting on       Stefano continued to receive complaints from constituents
time, but thereafter asked Plaintiff to give her what Plaintiff   about Plaintiff's failures to complete tasks in a timely
had so far on the litigation assignment and her workload          manner. 22
       20
log.
                                                                  22      Plaintiff again argues that this statement involves
20                                                                        inadmissible hearsay. (Dkt. No. 66, at ¶ 12 [Pl.’s
            The Court notes that Defendants’ assertion that
            Defendant Di Stefano “advised Plaintiff to keep               Rule 7.1 Resp.].) The Court rejects this argument
            working on the project” does not appear to be                 for the reasons discussed in note 8 of this Decision
            supported by the evidence cited by Defendants.                and Order.
            (Dkt. No. 59, Attach. 1, at ¶ 98 [Defs.’ Rule 7.1     98. As of early March 2016, Defendant Di Stefano and
            Statement].)                                          Ms. Lais were having discussions regarding their options for
93. On March 14, 2016, Plaintiff sent a series of emails          addressing the alleged issues with Plaintiff's performance,
from her work email address to her personal email address         including the preparation of a performance improvement plan
containing successive drafts of a journal which chronicled her    (“PIP”).
experience at the Fund.
                                                                  99. It was decided that a PIP would be prepared for Plaintiff.
94. On the morning of March 14, 2016, Defendant Di Stefano
commented that Plaintiff had not proposed an alternative          100. Ms. Lais emailed Defendant Di Stefano a rough draft
deadline by which she would have the litigation assignment        of the PIP on March 8, 2016, that reflected their previous
completed, informed Plaintiff that she would be reviewing the     discussions.
assignment before giving the materials to Defendant Haelen,
expressed concern whether there would be adequate time             *10 101. Defendant Di Stefano added more detailed
to review the assignment before a Thursday meeting, and           descriptions to the PIP throughout the month of March.
asked Plaintiff to print an update “of where you are with the
litigation analysis assignment as soon as possible.”              102. Defendant Di Stefano's March 29, 2016, version of
                                                                  the draft PIP set forth numerous issues with Plaintiff's
95. Plaintiff emailed Defendant Di Stefano a draft of only one    performance.
of the three case analyses that had been assigned to her.
                                                                  103. Plaintiff and Defendant Di Stefano met again on March
96. Later that day, Defendant Di Stefano asked Plaintiff to       16, 2016.
attend a quarterly meeting with other State agencies that
Defendant Di Stefano was unable to attend. Plaintiff did          104. Defendant Di Stefano expressed her frustration with
not attend and instead asked Defendant Di Stefano by email        Plaintiff's tardiness as to the completion of work assignments
whether she could “take this off my calendar due to workload”



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and the substance of Plaintiff's work product on the litigation    115. Ms. Lais’ email confirmed receipt of Plaintiff's voicemail
analysis project.                                                  and invited Plaintiff to schedule a time for them to discuss the
                                                                   complaint.
105. Defendant Di Stefano also advised Plaintiff at that
meeting that she could not grant Plaintiff's request for a part-   116. Ms. Lais’ email also notified Plaintiff that Ms. Lais,
time schedule in the face of the legal department's workload       Defendant Di Stefano, and Defendant Haelen had been
and its need to meet its obligations.                              developing a PIP “for the past several weeks” based on “on-
                                                                   going discussions for the past several months regarding [her]
106. When Plaintiff asked whether she was expected to work         performance.”
nights and weekends, Defendant Di Stefano responded that
Plaintiff's responsibilities could sometimes require that, and     117. Ms. Lais assured Plaintiff that there would be a separate
stressed that Plaintiff needed to find a way to get her work       meeting to discuss the PIP and the issues raised therein.
done.
                                                                   118. On March 21, 2016, after a senior staff meeting
107. Plaintiff met with Defendant Haelen on March 17, 2016,        during which Defendant Di Stefano had been unaware of
and discussed her difficulties working with Defendant Di           certain communications between Plaintiff and another Fund
Stefano.                                                           employee related to contract changes, Defendant Di Stefano
                                                                   directed Plaintiff that “[p]er previous discussions, please send
108. Defendant Haelen advised Plaintiff that he agreed with        me an email or copy/forward to me emails regarding your
Defendant Di Stefano that Plaintiff's responsiveness and           dealings with staff on various matters or when approached for
handling of her workload were not up to par and that Plaintiff     new work/questions so that we keep on the same page and
needed to become more efficient.                                   don't work at cross purposes in providing advice to the Fund.”

109. Defendant Haelen noted that struggles with balancing           *11 119. Plaintiff and Ms. Lais met on March 30, 2016, to
work and family time were part of the nature of fast-paced         discuss Plaintiff's bullying complaint.
jobs, and he shared that he, as a parent himself, had sometimes
had to sacrifice parenting time for work.                          120. Ms. Lais advised Plaintiff that the PIP would not be
                                                                   implemented until Plaintiff's complaint had been addressed.
110. On March 18, 2016, Plaintiff left a voicemail for Ms. Lais
in which she stated that she felt “the need to make a complaint    121. Ultimately, the PIP was never implemented because
on the anti-bullying policy.”                                      Plaintiff went on medical leave before Ms. Lais finished
                                                                   investigating her complaint.
111. Plaintiff confirmed at her deposition that she had
referenced the Fund's “Bullying in the Workplace” policy           122. During their meeting on March 30, 2016, Plaintiff
when she made her complaint to Ms. Lais.                           presented Ms. Lais with an eight-page document that
                                                                   chronicled various interactions between herself, Defendant Di
112. Plaintiff also testified that she was specifically aware of   Stefano, and Defendant Haelen.
the “Bullying in the Workplace” policy due to an update sent
out by the human resources department around December              123. During their meeting on March 30, 2016, Plaintiff
2015 when the policy was added to the Fund's Employee              explained to Ms. Lais that the document set forth the basis for
Handbook.                                                          her bullying complaint against Defendant Di Stefano.

113. The Employee Handbook also includes an anti-                  124. Pursuant to a Board resolution drafted by Defendant
discrimination policy that is separate from the “Bullying in       Haelen's staff on or prior to March 17, 2016, Defendant Di
the Workplace” policy.                                             Stefano was appointed as the Secretary of the Fund's Board of
                                                                   Trustees in April 2016 at its first meeting following Defendant
114. Ms. Lais responded to Plaintiff's voicemail by sending        Di Stefano's appointment as Deputy Counsel.
an email to Plaintiff on March 18, 2016.




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125. In her deposition, Plaintiff admitted that she was            139. The Fund eventually terminated Plaintiff in October
excluded from some meetings before she made her complaint.         2018 (after she had been out on medical leave for more than
                                                                   two years with no anticipated date for her to return to work)
126. After she made her complaint, Plaintiff continued to be       so that it could hire another candidate to fill her position.
included in some meetings, but not others.
                                                                   140. Every member of the legal department throughout the
127. In her deposition, Plaintiff admitted that some of her        time period relevant to this litigation was a parent, including
responsibilities were taken before she made her bullying           Plaintiff, Defendant Di Stefano, and the department's two
complaint to Ms. Lais.                                             non-attorney administrative staff employees.

128. Throughout the spring of 2016, Plaintiff remained
involved in a variety of litigation and non-litigation matters,      C. Parties’ Briefing on Defendants’ Motion for
and Defendant Di Stefano continued to solicit input and              Summary Judgment
participation from Plaintiff.
                                                                              1. Defendants’ Memorandum of Law
129. As of June 2016, Plaintiff had enough work remaining
that she was still struggling to juggle competing projects.         *12 Generally, in their motion for summary judgment,
                                                                   Defendants makes seven arguments. (Dkt. No. 59, Attach. 2
130. In her deposition, Plaintiff could not identify any           [Defs.’ Mem. of Law].) First, Defendants argue that Plaintiff
requests for time off (other than her longstanding request for     did not engage in any protected activity for the purposes of her
a part-time schedule) that Defendant Di Stefano had denied.        Title VII retaliation claim. (Id. at 20-22.) More specifically,
                                                                   Defendants argue that Plaintiff could not have had an
131. In mid-June 2016, Defendant Di Stefano approved a             objectively reasonable belief that she was reporting gender
request from Plaintiff to take a week off for a family vacation.   discrimination because there is no admissible evidence of any
                                                                   comments suggestive of gender-based discrimination, and
132. Ms. Lais completed her investigation of Plaintiff's           because Plaintiff specifically brought her complaint pursuant
complaint on June 20, 2016.                                        to the Fund's anti-bullying policy (rather than the Fund's anti-
                                                                   discrimination policy) and did not reference anything about
133. Ms. Lais’ investigation report found insufficient             that bullying conduct being motivated by her gender. (Id.)
evidence to establish bullying by Defendant Di Stefano,
but acknowledged the existence of a “dysfunctional                 Second, Defendants argue that Plaintiff did not put
work environment” and a “lack of communication and                 Defendants on notice that she was making a discrimination
cooperation” between Plaintiff and Defendant Di Stefano.           complaint. (Id. at 22-23.) More specifically, Defendants
                                                                   argue that Plaintiff never identified any relationship between
134. The last day on which Plaintiff reported to work at the       Defendant Di Stefano's conduct towards her and her gender,
Fund was June 17, 2016.                                            and thus there was no basis for Defendants to construe her
                                                                   complaint as raising an issue of discrimination. (Id.)
135. On June 17, 2016, Plaintiff left work early and later
notified Ms. Lais that she was taking medical leave.               Third, Defendants argue that Plaintiff has not shown that she
                                                                   was retaliated against for her complaint. (Id. at 23-27.) More
136. Plaintiff never returned to work, and she remained on         specifically, Defendants argue that Plaintiff has not shown
medical leave for more than two years.                             that she suffered any adverse action because the actions she
                                                                   complains of are either not supported by the evidence or are
137. Plaintiff received sick leave benefits during her medical     not sufficiently serious to qualify as an adverse action. (Id. at
leave.                                                             23-24.) Defendants also argue that Plaintiff has not shown that
                                                                   her complaint was the but-for cause of any of the actions taken
138. Plaintiff provided the Fund with successive doctor's          against her because some of these actions had also occurred
notes indicating that she was unable to work.                      before she made her complaint or were a mere continuation
                                                                   of policies or decisions made before she made her complaint



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(such as excluding her from certain meetings, taking work          childless employees different than employees with children.
from her, declining to grant her an ongoing part-time work         (Id.)
schedule, having her keep them apprised of her workload, and
preparing the PIP). (Id. at 24-27.)                                 *13 Seventh, Defendants argue that Defendant Di Stefano
                                                                   cannot be held liable under the NYSHRL because (a) she has
Fourth, Defendants argue that, if the Court grants summary         no ownership in the Fund, (b) she lacks the ability to hire
judgment and dismisses Plaintiff's Title VII claim, the Court      and fire employees, and (c) given that Plaintiff's accusations
should decline to exercise supplemental jurisdiction over          related to conduct taken by Defendant Di Stefano, she cannot
Plaintiff's remaining state-law claims because those claims        be held liable as an “aider or abettor” because she is not
involve state-law matters. (Id. at 27.)                            facilitating the discriminatory acts of another individual. (Id.
                                                                   at 37.)
Fifth, Defendants argue that Plaintiff's retaliation claims
under the NYSHRL should be dismissed for substantially
the same reasons as her Title VII claim should be dismissed
                                                                         2. Plaintiff's Opposition Memorandum of Law
because she has not adduced evidence to support her claim
that she complained about discrimination based on either           Generally, in her opposition memorandum of law, Plaintiff
gender or familial status, much less that a retaliatory action     makes seven arguments. (Dkt. No. 67 [Pl.’s Opp'n Mem. of
was taken against her based on such discrimination. (Id. at        Law].) First, Plaintiff argues that she has sufficiently shown
27-28.)                                                            that she had a belief that she was reporting conduct that
                                                                   is outlawed by Title VII to survive a motion for summary
Sixth, Defendants argue that, as to her discrimination claim       judgment. (Id. at 21.) More specifically, Plaintiff argues that
pursuant to the NYSHRL, Plaintiff has failed to establish that     the evidence adduced sufficiently shows that Defendants
she was discriminated against based on her familial status.        made comments about her being a mother with young
(Id. at 28-37.) More specifically, Defendants argue as follows:    children and that she felt that she needed to choose between
(a) any actions taken by Defendants before January 19, 2016,       being a mother and working at the Fund, both of which
cannot be considered because that is the date on which the         establish a basis for believing Defendants’ actions violated
amendment of the NYSHRL adding “familial status” as a              VII despite her reliance on the bullying policy. (Id. at 22-23.)
protected class became effective; (b) the NYSHRL explicitly
does not require an employer to provide accommodations             Second, Plaintiff argues that Defendants had notice that she
based on familial status including those related to “an            was reporting protected activity based both on her reports to
individual's particular needs relative to childrearing,” but       Ms. Lais in the bullying complaint itself and on the knowledge
merely must not discriminate against a parent specifically         of Defendants Di Stefano and Haelen from their participation
based on their status as a parent, and thus Plaintiff's argument   in the relevant events. (Id. at 23-24.)
that Defendants denied her a part-time shift to spend more
time with her children cannot establish a claim for familial       Third, Plaintiff argues that there is a genuine dispute of
status discrimination; (c) it is not clear that the NYSHRL         material fact remaining as to whether Defendants retaliated
amendments related to familial status allow for hostile work       against her for her complaint. (Id. at 24-31.) More specifically,
environment claims; (d) even if a hostile work environment         Plaintiff argues as follows: (a) the threat of a PIP and
claim can be brought, the conduct Plaintiff has shown does not     slights about her job performance constitute an adverse action
rise to level of a hostile work environment; (e) Plaintiff has     because (i) PIPs were rarely issued, (ii) the poor performance
also not shown that the alleged hostile conduct was causally       noted in the PIP is inconsistent with the previously positive
related to her status as a parent, particularly because there      reports Plaintiff had been receiving about her work, and (iii)
is ample evidence that Plaintiff had demonstrated problems         having the PIP “hanging over her head” during the pendency
managing her workload and dealing with her work efficiently        of the investigation of her complaint negatively impacted
and effectively; and (f) there is no evidence that Defendants      Plaintiff's ability to act; (b) the increased supervision by
raised the issue of Plaintiff's familial status, but rather it     Defendant Di Stefano (i.e., Defendant Di Stefano's request
was Plaintiff who brought up her children and her desires          that she be copied on all of Plaintiff's correspondences with
as a parent, and there is no evidence that Defendants treated      Fund staff) was a deviation from previous practice and
                                                                   constituted an adverse action; (c) the reduction of Plaintiff's



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responsibilities constituted an adverse action; (d) Defendant       environment on the basis of her familial status; and (d) there is
Di Stefano's exclusion of Plaintiff from meetings and actions       no requirement for Plaintiff to show that other employees with
in isolating Plaintiff from others in the Fund (for example,        a similar familial status were also treated in a hostile manner
by telling her she could no longer use a conference room to         to establish her claim. (Id.)
do her litigation work) constituted adverse actions; and (e)
Defendants’ various reactions to her filing of a complaint          Seventh, Plaintiff argues that there is no basis for dismissing
(including Defendant Haelen telling her that it would be            the NYSHRL claims against Defendant Di Stefano because
“painful” if she filed a complaint, the warning about the           Defendant Di Stefano was an “employer” based on the fact
PIP, the fact that Defendants and Ms. Lais all met the              that she was a supervisor who actually participated in the
day following Plaintiff's indication that she would file a          conduct giving rise to the alleged discrimination, and thus she
complaint, and the failure to conduct the investigation into        can be held liable under the NYSHRL as a principal actor. (Id.
her complaint in a timely manner) also serve as evidence of         at 36.) In the alternative, Plaintiff argues, Defendant Haelen is
retaliation. (Id. at 24-28.)                                        undisputedly an “employer” for the purposes of the NYSHRL
                                                                    and was alleged to have participated in the discriminatory
Plaintiff also argues that she has sufficiently shown causation     actions, and therefore Defendant Di Stefano can, at the very
based on the timing of various conduct relative to the filing       least, be held liable as an aider and abettor. (Id. at 36-37.)
of her complaint, as well as based on direct evidence.
(Id. at 28-29.) Plaintiff additionally argues that Defendants’
proffered reason is pretextual based on (a) the long history
                                                                           3. Defendants’ Reply Memorandum of Law
of positive performance reviews of Plaintiff's work, (b) the
fact that Defendant Di Stefano was involved in the conduct          Generally, in their reply memorandum of law, Defendants
and “was obviously laboring in February and March 2016 to           make six arguments. (Dkt. No. 72 [Defs.’ Reply Mem. of
create a paper trail,” and (c) the lack of evidence corroborating   Law].) First, Defendants argue that Plaintiff did not engage
Defendants’ version of events. (Id. at 29-30.) Further, Plaintiff   in protected activity because she has failed to show that
argues that her termination of employment clearly constitutes       she held an objectively reasonable belief that the “bullying”
an adverse action that occurred after she filed her complaint       conduct she was reporting was in violation of Title VII or the
and after she filed an EEOC complaint in December 2016.             NYSHRL, and has failed to adduce any evidence to support
(Id. at 30-31.)                                                     her assertions that she believed she was targeted based on her
                                                                    gender. (Id. at 4-6.)
 *14 Fourth, Plaintiff argues that, even if her Title VII
claim is dismissed, the Court should exercise supplemental          Second, Defendants argue that they were not on notice
jurisdiction over her NYSHRL claims because they do not             that Plaintiff was reporting conduct proscribed by Title VII
raise any novel issues of state law. (Id. at 32.)                   because Plaintiff's complaint and reports to Ms. Lais and
                                                                    Defendants Di Stefano and Haelen merely indicate that
Fifth, Plaintiff argues that there is no basis to dismiss her       Plaintiff was expressing that she desired more time off to
retaliation claim based on the NYSHRL for the same reasons          spend with her children, but did not reasonably indicate
as argued related to her Title VII retaliation claim. (Id. at       that Plaintiff was asserting that her requests were denied
32-33.)                                                             specifically because she was a woman or a parent. (Id. at 6-7.)

Sixth, Plaintiff argues that she has established a hostile          Third, Defendants argue that the admissible evidence
work environment claim based on familial status under the           fails to show retaliation against Plaintiff. (Id. at 8-13.)
NYSHRL. (Id. at 33-35.) More specifically, Plaintiff argues as      More specifically, Defendants argue as follows: (a) the
follows: (a) she is not raising a failure to accommodate claim;     overwhelming evidence shows that, in context, the actions
(b) because other protected classes listed in the NYSHRL            taken against Plaintiff were not related to her bullying
allow hostile work environment claims and the amendment             complaint; (b) the request to copy Defendant Di Stefano
does not include anything to suggest such claims would be           on emails was based on conversations that occurred before
excluded for a claim based on familial status, Defendants’          Plaintiff made her complaint and on a meeting regarding
argument on this point is unsupported; (c) Plaintiff has            which Defendant Di Stefano was “out of the loop”; (c) her
provided sufficient evidence to establish a hostile work            eventual phase-out from the Board of Trustees began before



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her complaint and she continued to be involved for some            that Defendant Di Stefano's actions could be considered to aid
time after her complaint; (d) Plaintiff has offered no evidence    and abet his conduct. (Id. at 16.)
as to how her signatory authority changed and admits that
the signatory authority is updated only annually, and thus
the timing of the alleged change in her signatory authority        II. LEGAL STANDARD GOVERNING A MOTION
does not provide an inference of retaliation; (e) she has          FOR SUMMARY JUDGMENT
offered no evidence to establish that she was excluded from        Under Fed. R. Civ. P. 56, summary judgment is warranted if
more meetings after her complaint and acknowledges that            “the movant shows that there is no genuine dispute as to any
she did not attend every meeting even before her complaint;        material fact and that the movant is entitled to a judgment as
(f) the PIP was being prepared before Plaintiff made her           a matter of law.” Fed. R. Civ. P. 56(a). A dispute of fact is
complaint and thus it cannot constitute evidence of retaliation    “genuine” if “the [record] evidence is such that a reasonable
for that complaint, and withholding any negative feedback          jury could return a verdict for the [non-movant].” Anderson
from Plaintiff during the pendency of the investigation does       v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). 23 As for
not constitute an adverse action, particularly because Plaintiff   the materiality requirement, a dispute of fact is “material” if
was already aware of most of the instances included in the         it “might affect the outcome of the suit under the governing
PIP; (g) any delay by Ms. Lais in investigating Plaintiff's        law .... Factual disputes that are irrelevant or unnecessary will
complaint cannot constitute an adverse action because it did       not be counted.” Anderson, 477 U.S. at 248.
not change the circumstances of Plaintiff's employment in any
way; and (h) Plaintiff's termination in October 2018 was not       23       As a result, “[c]onclusory allegations, conjecture
an adverse action because it occurred more than two years                   and speculation ... are insufficient to create a
after she made her complaint and only after she had been                    genuine issue of fact.” Kerzer v. Kingly Mfg., 156
out on medical leave for two years with no expectation of                   F.3d 396, 400 (2d Cir. 1998) [citation omitted].
returning. (Id.)                                                            As the Supreme Court has explained, “[The non-
                                                                            movant] must do more than simply show that there
 *15 Fourth, Defendants argue that the Court should decline                 is some metaphysical doubt as to the material
to exercise supplemental jurisdiction if it dismisses her Title             facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith
VII claim because family status was so recently added to                    Radio Corp., 475 U.S. 574, 585-86 (1986).
the NYSHRL that claims based on that new protected class
present a matter of first impression that should be decided by     In determining whether a genuine issue of material fact exists,
the state court. (Id. at 14.)                                      the Court must resolve all ambiguities and draw all reasonable
                                                                   inferences against the movant. Anderson, 477 U.S. at 255.
Fifth, Defendants argue that Plaintiff was not subjected to a      In addition, “[the movant] bears the initial responsibility of
hostile work environment based on her familial status, but         informing the district court of the basis for its motion, and
rather was lawfully denied accommodations to care for her          identifying those portions of the ... [record] which it believes
children in the way she desired to, and that the mere fact         demonstrate[s] the absence of any genuine issue of material
that she made those requests for reasons that implicate her        fact.” Celotex v. Catrett, 477 U.S. 317, 323-24 (1986).
familial status does not transform Defendants’ actions into        However, when the movant has met its initial burden, the
a negative bias against employees who are parents. (Id. at         non-movant must come forward with specific facts showing
14-16.) Additionally, Defendants argue that Plaintiff's own        a genuine issue of material fact for trial. Fed. R. Civ. P. 56(a),
admissions that the workload of the legal department had           (c), (e). 24
increased during the relevant time shows that Defendants’
reason that there was simply too much work to grant Plaintiff's    24       Among other things, Local Rule 7.1(a)(3) requires
request for a part-time schedule was not pretextual. (Id. at                that the non-movant file a response to the movant's
15-16.)                                                                     Statement of Material Facts, which admits or
                                                                            denies each of the movant's factual assertions in
Sixth, Defendants argue that Defendant Di Stefano cannot be                 matching number paragraphs, and supports any
held liable under the NYSHRL because (a) she did not have                   denials with a specific citation to the record where
the power to make personnel decisions, and (b) Plaintiff has                the factual issue arises. N.D.N.Y. L. R. 7.1(a)(3).
not shown that Defendant Haelen was a principle actor such



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 *16 Implied in the above-stated burden-shifting standard is             denials with a specific citation to the record where
the fact that, where a non-movant willfully fails to respond to          the factual issue arises. N.D.N.Y. L. R. 7.1(a)(3).
a motion for summary judgment, a district court has no duty
                                                                  29
to perform an independent review of the record to find proof             Cusamano, 604 F. Supp. 2d at 427 & n.6 (citing
of a factual dispute–even if that non-movant is proceeding pro           cases).

se. 25 (This is because the Court extends special solicitude      Similarly, in this District, where a non-movant has willfully
to the pro se litigant by ensuring that he or she has received    failed to respond to a movant's properly filed and facially
notice of the consequences of failing to properly respond to      meritorious memorandum of law, the non-movant is deemed
                                                                  to have “consented” to the legal arguments contained in that
the motion for summary judgment.) 26 As has often been
recognized by both the Supreme Court and Second Circuit,          memorandum of law under Local Rule 7.1(b)(3). 30 Stated
even pro se litigant must obey a district court's procedural      another way, when a non-movant fails to oppose a legal
                                                                  argument asserted by a movant, the movant may succeed
rules. 27
                                                                  on the argument by showing that the argument possess
                                                                  facial merit, which has appropriately been characterized as
25
        Cusamano v. Sobek, 604 F. Supp. 2d 416, 426 &             a “modest” burden. See N.D.N.Y. L.R. 7.1(b)(3) (“Where a
        n.2 (N.D.N.Y. 209) (Suddaby, J.) (citing cases).          properly filed motion is unopposed and the Court determined
26                                                                that the moving party has met its burden to demonstrate
        Cusamano, 604 F. Supp. 2d at 426 & n.3 (citing
                                                                  entitlement to the relief requested therein ....”); Rusyniak
        cases).
                                                                  v. Gensini, 07-CV-0279, 2009 WL 3672105, at *1, n.1
27                                                                (N.D.N.Y. Oct. 30, 2009) (Suddaby, J.) (collecting cases);
        Cusamano, 604 F. Supp. 2d at 426-27 & n.4 (citing
        cases).                                                   Este-Green v. Astrue, 09-CV-0722, 2009 WL 2473509, at
                                                                  *2 & n.3 (N.D.N.Y. Aug. 7, 2009) (Suddaby, J.) (collecting
Of course, when a non-movant willfully fails to respond to a
                                                                  cases).
motion for summary judgment, “[t]he fact that there has been
no [such] response ... does not ... [by itself] mean that the
                                                                  30
motion is to be granted automatically.” Champion v. Artuz,               See, e.g., Beers v. GMC, 97-CV-0482, 1999 U.S.
76 F.3d 483, 486 (2d Cir. 1996). Rather, as indicated above,             Dist. LEXIS 12285, 1999 WL 325378, at *27-31
the Court must assure itself that, based on the undisputed               (N.D.N.Y. March 17, 1999) (McCurn, J.) (deeming
material facts, the law indeed warrants judgment for the                 plaintiff's failure, in his opposition papers, to
movant. Champion, 76 F.3d at 486; Allen v. Comprehensive                 oppose several arguments by defendants in their
Analytical Group, Inc., 140 F. Supp.2d 229, 232 (N.D.N.Y.                motion for summary judgment as consent by
2001) (Scullin, C.J.); N.D.N.Y. L.R. 7.1(b)(3). What the non-            plaintiff to the granting of summary judgment
movant's failure to respond to the motion does is lighten the            for defendants with regard to the claims that the
movant's burden.                                                         arguments regarded, under Local Rule 7.1[b][3];
                                                                         Devito v. Smithkline Beecham Corp., 02-CV-0745,
For these reasons, this Court has often enforced Local Rule              2004 WL 3691343, at *3 (N.D.N.Y. Nov. 29, 2004)
7.1(a)(3) by deeming facts set forth in a movant's statement             (McCurn, J.) (deeming plaintiff's failure to respond
of material facts to be admitted, where (1) those facts are              to “aspect” of defendant's motion to exclude expert
supported by evidence in the record, and (2) the non-movant              testimony as “a concession by plaintiff that the
                                                                         court should exclude [the expert's] testimony” on
has willfully failed to properly respond to that statement 28 –
                                                                         that ground).
even where the non-movant was proceeding pro se. 29
                                                                  III. ANALYSIS
28      Among other things, Local Rule 7.1(a)(3) requires
        that the non-movant file a response to the movant's         A. Whether Plaintiff's Retaliation Claim Pursuant to
        Statement of Material Facts, which admits or                Title VII Must Be Dismissed
        denies each of the movant's factual assertions in          *17 After careful consideration, the Court answers this
        matching numbered paragraphs, and supports any            question in the affirmative for the reasons stated in
                                                                  Defendants’ memoranda of law. (Dkt. No. 59, Attach. 2, at
                                                                  20-22, 23-27 [Defs.’ Mem. of Law].); Dkt. No. 72, at 4-6,


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8-13 [Defs.’ Reply Mem. of Law].) To those reasons, the            that statute.”); Sharpe v. Utica Mut. Ins. Co., 756 F. Supp.
Court adds the following analysis.                                 2d 230, 240 (N.D.N.Y. 2010) (Hurd, J.) (noting that, in order
                                                                   to meet the protected activity prong, the plaintiff need only
Title VII makes it unlawful “for an employer to discriminate       show that she had a “good faith, reasonable belief that she
against any of his employees or applicants for employment ...      was opposing an employment practice made unlawful by Title
to discriminate against any individual ... because he has          VII”). Whether a belief is reasonable is an objective standard
opposed any practice made an unlawful employment practice          that is “to be evaluated from the perspective of a reasonable
by this subchapter, or because he has made a charge, testified,    similarly situated person.” Kelly v. Howard I. Shapiro &
assisted, or participated in any manner in any investigation,      Assocs. Consulting Engineers, P.C., 716 F.3d 10, 16-17 (2d
proceeding, or hearing under this subchapter.” 42 U.S.C. §         Cir. 2013).
2000e-3(a). To establish a prima facie case of retaliation under
Title VII, a plaintiff must show the following four things:        31     To the extent that Plaintiff argues that Defendants
“(1) she engaged in a protected activity; (2) her employer
                                                                          retaliated against her for making requests for
was aware of this activity; (3) the employer took adverse
                                                                          time off and for schedule changes, such requests
employment action against her; and (4) a causal connection
                                                                          do not constitute a protected activity that can
exists between the alleged adverse action and the protected
                                                                          be the basis for a retaliation claim. Protected
activity.” Russell v. Aid to Developmentally Disabled, Inc.,
                                                                          activities under Title VII include opposition
753 F. App'x 9, 14 (2d Cir. 2018) (quoting Summa v. Hofstra
                                                                          to a discriminatory employment practice or
Univ., 708 F.3d 115, 125 [2d Cir. 2013]). “Once a prima facie             participation in an investigation, hearing, or
case of retaliation is established, the burden of production
                                                                          proceeding under Title VII. Hubbard v. Total
shifts to the employer to demonstrate that a legitimate,
                                                                          Communications, Inc., 347F. App'x 679, 680-81
nondiscriminatory reason existed for its action.” Summa, 708
                                                                          (2d Cir. 2009) (citing 42 U.S.C. § 2000e-3[a]).
F.3d at 125. “If the employer demonstrates such a reason, the
                                                                          There is no evidence establishing that Plaintiff's
burden shifts back to the plaintiff to adduce evidence from
                                                                          requests for time off were in any way related
which a rational finder of fact could infer ‘that the desire to
                                                                          to opposing a discriminatory practice. Rather, the
retaliate was the but-for cause of the challenged employment
                                                                          evidence shows that they were rooted in her desire
action.’ ” Russell, 753 F. App'x at 14 (quoting Ya-Chen Chen
                                                                          to spend more time with her children and to
v. City Univ. of New York, 805 F.3d 59, 70 [2d Cir. 2015]).               return to the part-time schedule she had before
                                                                          she voluntarily went to a full-time schedule in
As to whether Plaintiff participated in protected activity, 31            2011. A request for a change of schedule or other
Plaintiff has provided evidence that she raised her concerns              accommodation for purely personal reasons like a
about Defendant Di Stefano's treatment of her to Defendant                desire to spend more time at home with children
Haelen on March 17, 2016, and it is undisputed that Plaintiff             does not constitute protected activity. See Taylor v.
called Ms. Lais on March 18, 2016, to make a complaint                    Family Residences and Essential Enterprises, Inc.,
about conduct that she had been subjected to in the workplace.            03-CV-6122, 2008 WL 268801, at *13 (E.D.N.Y.
Defendants argue that this complaint does not constitute                  Jan. 30, 2008) (finding that refusing to accept a
protected activity because Plaintiff made it under the auspices           certain shift because it would interfere with the
of Defendant Fund's “anti-bullying policy” rather than its                plaintiff's ability to get to his second job on time
anti-discrimination policy, and thus she could not have                   did not constitute protected activity). As a result,
reasonably believed that she was reporting conduct that was               any retaliatory actions in response to her requests
unlawful under Title VII; they also argue that Plaintiff has              for time off are not actionable under Title VII.
not adduced evidence to support that she had an objectively
                                                                    *18 The Court is not convinced that the fact that Plaintiff
reasonable belief that Defendants’ alleged conduct towards
                                                                   explicitly referenced the anti-bullying policy when making
her was based on a class protected by Title VII (in this case,
                                                                   her complaint to Ms. Lais is by itself sufficient to merit a
her sex). See Summa, 708 F.3d at 126 (“To establish that she
                                                                   finding that she did not have a good faith, reasonable belief
engaged in protected activity, Summa need not establish that
                                                                   that the conduct that she was reporting was a violation of Title
the conduct she opposed was actually a violation of Title VII,
                                                                   VII. A plaintiff is not required to cite to Title VII (or any
but only that she possessed a good faith, reasonable belief
                                                                   specific statute) in order to make a complaint that constitutes
that the underlying employment practice was unlawful under
                                                                   protected activity. Title VII also applies to harassment and


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thus Title VII can apply to conduct that would be covered by       am talking about being a parent, whether it is a mom or dad,
the anti-bullying policy. The Court will therefore focus on the    this is parent-child.” (Id. at 40.)
substance of what Plaintiff reported as part of that complaint
rather than any bare statement of what policy it might fall        It is well established that parental status is not a protected
under.                                                             characteristic for the purposes of Title VII. Rotondo v. Best
                                                                   Buy Stores LLC, 17-CV-0522, 2019 WL 4805374, at *8
In her deposition, Plaintiff testified that, at the time she was   n.8 (N.D.N.Y. Oct. 1, 2019) (Hurd, J.). As noted above,
speaking with Ms. Lais regarding her complaint, she “felt that     the evidence (including Plaintiff's own notes about the
[she] was being now asked to make a choice between being a         situation) indicates that she was reporting discrimination and/
mother spending time with her child and having a job at the        or harassment based on her status as a “mother.” However,
Fund.” (Dkt. No. 59, Attach. 4, at 151 [Pl.’s Dep.].) She also     even if Plaintiff believed that she was being discriminated
testified that she felt that Defendant Di Stefano had become       against or harassed because she is a mother, she has not
hostile towards her after she made her request to spend time       adduced any admissible evidence from which a reasonable
with her daughter (i.e., to move to the equivalent of an 80%       factfinder could conclude either that (a) she believed that the
work schedule). (Id. at 152.) The notes that Plaintiff submitted   treatment was based specifically on her status as a mother
to Ms. Lais as part of her complaint reflect instances in which    (as opposed to a father) and thus on her status as a woman,
her status as a parent was the subject of work tensions, but do    or (b) any belief that she was targeted as a mother/woman
not contain any indication from which a reasonable factfinder      specifically was an objectively reasonable belief. 32
could conclude that Plaintiff believed that this treatment was
based specifically on her sex. (Dkt. No. 59, Attach. 31.) In       32     On June 18, 2020, Plaintiff filed a letter, citing
her affidavit submitted in opposition to Defendants’ motion,
                                                                          to the Supreme Court's recent decision in Bostock
Plaintiff raises many of the same parental-related concerns,
                                                                          v. Clayton Cnty., Georgia, 140 S.Ct. 1731 (June
specifically stating that, by February 2016, “Di Stefano had
                                                                          15, 2020), as supplemental authority supporting
become increasingly hostile and belittling towards me,” and
                                                                          her argument that she has sufficiently shown
“[i]t was evident to me that she was using my desire to
                                                                          that Defendants’ conduct was based on her sex.
spend time with my daughters as the rationale for this hostile
                                                                          However, Bostock is inapposite. In particular, the
behavior.” (Dkt. No. 64, at ¶ 63 [Pl.’s Aff.].) Notably, of all
                                                                          Court has no doubt that an individual's reporting
the specific statements that Plaintiff asserts Defendants Di
                                                                          that she is being discriminated against because she
Stefano and Haelen made to her about work-life balance and
                                                                          is a mother can, under the right circumstances,
being parents (e.g., that working long hours impacted their
                                                                          be sufficient to show a reasonable belief that she
personal lives and required sacrifice, that they made choices
                                                                          is being discriminated against based on her sex.
about their careers in order to spend more time with their
                                                                          However, those are not the circumstances here. As
children, that Plaintiff had longstanding problems with work-
                                                                          discussed above, Plaintiff has not provided any
parenting balance, and “wouldn't it be nice if we could go
                                                                          evidence that Defendants’ treatment of her was
home and eat dinner with our families”), none of them directly
                                                                          related to her sex in any way, but rather her gender-
implicate anything about Plaintiff's sex. (Dkt. No. 64, at ¶¶
                                                                          neutral status as a parent. Notably, unlike being gay
56, 76, 82 [Pl.’s Aff.].) In her deposition, Plaintiff testified
                                                                          or transgender (which, as the Supreme Court found,
that she did not know whether Defendant Di Stafano's conduct
                                                                          cannot be defined or considered without reference
would have been different if she had been a father asking
                                                                          to sex), being a parent does not have inherent
to spend more time with his children, but that she thought
                                                                          gender implications. Although Plaintiff reported
that Defendant Di Stefano “probably” would have treated a
                                                                          that she felt like she was being forced to choose
father in the same situation the same way that she treated
                                                                          between being a mother and her job, her specific
Plaintiff, stating specifically that she thought “this [would]
                                                                          use of the term “mother” does not automatically
have happened if a parent-child issue was in front of [Di
                                                                          mean that she believed her sex was implicated
Stefano], whether it was a mom or dad.” (Dkt. No. 59, Attach.
                                                                          in Defendants’ conduct because Plaintiff herself
4, at 39-40, 202 [Pl.’s Dep.] [attaching errata sheet changing
                                                                          testified that it was her status of being a parent
“wouldn't” to “would” in the above quote].) When asked
                                                                          that was at issue and she thought that Defendant
whether she had any evidence to support a belief that a father
                                                                          Di Stefano would probably have treated a father
would have been treated differently, she further stated, “No, I
                                                                          the same way under the same circumstances. (Dkt.


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        No. 59, Attach. 4, at 39-40 [Pl.’s Dep.].) Thus,                     work that were found to constitute gender-plus
        unlike in a situation involving an individual's status               discrimination in those cases. Back, 365 F.3d at
        as a gay or transgender person, Plaintiff's own                      118-21. Rather, in this case, Defendants wanted
        evidence indicates that the conduct here was, even                   Plaintiff to work a full-time schedule, and it was
        in Plaintiff's subjective mind, truly gender-neutral.                Plaintiff who was consistently seeking to work less
        There is simply no evidence to support Plaintiff's                   due to her parental obligations.
        argument that she reasonably believed that she was
                                                                     In the alternative, the Court finds that, even if it were to
        reporting discrimination based on her sex merely
                                                                     find that Plaintiff's complaint constituted protected activity,
        because she referred to herself as a mother.
                                                                     no reasonable fact finder could conclude, based on the
 *19 Plaintiff argues that she has sufficiently shown that           admissible evidence, that any adverse action she suffered
she reasonably believed that her conduct was covered by              was causally connected to her complaint. As an initial
a “gender-plus” theory (with the “plus” being her parental           matter, the Court notes that it is axiomatic that an action
status), whether or not she can sustain a claim on that basis.       taken against an individual before he or she engaged in
(Dkt. No. 67, at 21-22 [Pl.’s Opp'n Mem. of Law].) However,          protected activity cannot constitute an adverse action for
Plaintiff's argument ignores the fact that, even in a “gender-       the purposes of a retaliation claim. See Slattery v. Swiss
plus” case, she must still show that her gender played some          Reinsurance Am. Corp., 248 F.3d 87, 95 (2d Cir. 2001)
role. As already discussed, although Plaintiff frames it as          (finding that an inference of retaliation could not arise where
her feeling that she was required to choose between being            the plaintiff's termination was the end result of “an extensive
a mother and her job, there is no admissible evidence to             period of progressive discipline” that began five months
establish that she believed that it was the fact that she was a      before he engaged in protected activity); Doroz v. Columbia
mother specifically (and thus a woman) as opposed to that she        Place Assocs., LLC, 13-CV-1135, 2014 WL 5475289, at
was a parent that caused Defendants to act in the ways that          *7 (N.D.N.Y. Oct. 29, 2014) (Hurd, J.) (finding that the
they did. See Back v. Hastings On Hudson Union Free Sch.             plaintiff's termination a year before his protected activity
Dist., 365 F.3d 107, 119 (2d Cir. 2004) (“The relevant issue is      could not show retaliation); Grant v. New York State Office for
not whether a claim is characterized as ‘sex plus’ or ‘gender        People with Developmental Disabilities, 12-CV-4729, 2013
plus,’ but rather, whether the plaintiff provides evidence of        WL 3973168, at *9 (E.D.N.Y. July 30, 2013) (finding that
purposefully sex-discriminatory acts.”) (emphasis added). In         the plaintiff could not establish a causal connection between
particular, none of the evidence (including the statements           any protected activity and the adverse action where all of
by Defendants Di Stefano and Haelen) reasonably indicate             the alleged adverse actions occurred before the plaintiff ever
that their treatment of Plaintiff was based on the fact that         engaged in the protected activity). As a result, Plaintiff cannot
Plaintiff was a woman or on any kind of stereotype about             rely on any actions that were taken against her before her
working mothers, or that they would have treated a male              March 17, 2016, meeting with Defendant Haelen, which,
father in a different manner. The fact that Plaintiff subjectively   as discussed above, was the first apparent instance when
felt that the long hours she was being asked to work were            Plaintiff reported feeling like Defendant Di Stefano was
interfering with her ability to spend more time with her             forcing her to “choose between being employed at the Fund
children (and thus to be a parent) does not turn Defendants’         and being a mother.” (Dkt. No. 64, at ¶ 81 [Pl.’s Decl.].)
treatment of her into gender-based discrimination, nor does it
show that she reasonably believed that Defendants’ conduct           As Defendants argue, many of the specific types of conduct
was motivated by the fact that she is a woman specifically.          that Plaintiff asserts as adverse actions began before she
The Court therefore rejects Plaintiff's argument that she has        made her complaint. Specifically, it is undisputed that (a) the
sufficiently shown that she reasonably believed she was              resolution to name Defendant Di Stafano as Secretary of the
reporting “gender-plus” discrimination or harassment. 33             Fund's Board of Trustees was made before Plaintiff made her
                                                                     complaint, even if she was not appointed until after; 34 (b)
33                                                                   Defendant Di Stefano and Ms. Lais began preparing the PIP
        The cases Plaintiff cites in support of her gender-
        plus theory are inapposite, because there is                 before Plaintiff made her complaint; (c) Defendant Di Stefano
        no admissible evidence to show that Plaintiff                expressed dissatisfaction with Plaintiff's work completion and
        was subjected to any of the stereotypes about                work product before she made her complaint; (d) Defendants
        the incompatibility of motherhood and full-time              Haelen and Di Stafano engaged in delays in responding to
                                                                     and approving her requests for time off, including her request


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for a return to an 80% schedule or a schedule with time           language behind Plaintiff's back or changing Plaintiff's work
off on various Tuesdays and Thursdays before she made             product without telling her, and taking over various litigation
her complaint; (e) Defendant Di Stefano cancelled meetings        matters; (c) the fact that Defendant Di Stefano excluded
with Plaintiff frequently both before and after she made her      her from any involvement with the Board of Trustees, even
complaint; (f) Defendant Di Stefano worked with members           though the previous Fund Counsel had her assist him with
of the other Departments without consulting Plaintiff both        Board matters when he was the Secretary; (d) the fact that she
before and after she made her complaint, including an             was excluded from a Counsel's Office Staff meeting around
instance in or before February 2016 when Plaintiff asserts        June 10, 2016; (e) the fact that she was told she could not
Defendant Di Stefano unilaterally drafted language for a          work in the Counsel's Office conference room and was told
contract that “undermined” Plaintiff's relationship with that     to instead do that work in the file room; (f) the fact that, on
Department; and (g) Defendant Di Stefano sent an email            June 8, 2016, she was notified that her signatory authority had
indicating that requests for time off needed to copy all          been reduced to vendor responsibility forms; 35 and (g) the
Counsel's Office staff before Plaintiff made her complaint.       fact that Defendants disputed her right for a waiver related
(See, supra, Part II of this Decision and Order, at ¶124; Dkt.    to her health benefits in September 2017 and terminated her
No. 59, Attach. 6, at 5-6, 10-12; Dkt. No. 64, at ¶¶ 38-39,       employment in October 2018. (Dkt. No. 64, at ¶¶ 109-10,
41-42, 45-55, 59, 61, 65, 68, 72.) Because all of this conduct    112-24, 126-32, 140, 142, 144, 163-64.)
was occurring before her complaint, the fact that some of it
merely continued to occur after she made her complaint does       35     Plaintiff admitted in her deposition that, although
not reasonably suggest that Defendants retaliated against her.
                                                                         she did not receive notice in the change of signatory
                                                                         authority until June 2016, she does not know when
34     Notably, in her deposition, Plaintiff testified that,             that authority was actually changed. (Dkt. No. 59,
       although Defendant Di Stefano became Secretary                    Attach. 4, at 124-25 [Pl.’s Dep.].)
       officially in April 2016, Defendant Haelen had
                                                                  The Court is not convinced that a reasonable factfinder could
       told Plaintiff “that he didn't expect [Plaintiff] to
                                                                  conclude, based on the admissible evidence, that these alleged
       continue in that role as [S]ecretary” as early as the
       summer of 2015. (Dkt. No. 59, Attach. 4, at 22-23          actions rose to the level of adverse actions. 36 Rather, they
       [Pl.’s Dep.].)                                             are more in line with “petty slights or minor annoyances”
                                                                  than materially adverse actions, whether or not Plaintiff
 *20 The Court also agrees with Defendants that it is logically
                                                                  subjectively felt humiliated and excluded. See Ziyan Shi v.
inconsistent for Plaintiff to argue that Defendants retaliated
                                                                  New York Dep't of State, Division of Licensing Servs., 393 F.
against her by taking work away from her and diminishing
                                                                  Supp. 3d 329, 337-39 (S.D.N.Y. 2019) (finding that assigning
her responsibilities and also argue that Defendant Di Stefano
                                                                  the plaintiff a challenging workload, giving the plaintiff
had acted in an inappropriate manner by “loading up her
                                                                  a counseling memorandum without adverse consequences,
workload” with more work than she could handle around the
                                                                  yelling and screaming at the plaintiff, and failing to include
beginning of March. (Dkt. No. 64, at ¶¶ 70.) Specifically,
                                                                  the plaintiff on an email to all the other investigators did
there is no evidence to suggest that her responsibilities
                                                                  not rise to the level of an adverse employment action);
were diminished so much that a reasonable factfinder could
                                                                  Lyman v. New York State OASAS, 928 F. Supp. 2d 509,
conclude that the lessening of her work load rose to the level
                                                                  523 (N.D.N.Y. 2013) (D'Agostino, J.) (finding that actions
of an adverse action.
                                                                  including requiring the plaintiff to call into the office and
                                                                  inform them of his whereabouts when he was working outside
The remaining asserted retaliatory actions include the
                                                                  the office, communicating with the plaintiff's estranged ex-
following: (a) an email on March 21, 2016, in which
                                                                  wife, harassing the plaintiff at work, reassigning certain
Defendant Di Stefano requested that Plaintiff copy her on or
                                                                  assignments from the plaintiff without decreasing his pay
forward to her emails between Plaintiff and staff on work
                                                                  or position, informing plaintiff that he was being laid off
matters or work questions so that she was aware of what was
                                                                  for budgetary reasons, and placing a memorandum in the
going on and they would not be working at “cross-purposes”;
                                                                  plaintiff's file did not constitute adverse actions to show
(b) the fact that Defendant Di Stefano took over various
                                                                  retaliation).
responsibilities that used to be Plaintiff's without telling
her, including cancelling or not inviting her to meetings or
not including her on emails, independently drafting contract


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36                                                                 For all of the above reasons, the Court grants Defendants’
       The exception to this finding is Defendants’ alleged
                                                                   motion for summary judgment as to Plaintiff's Title VII
       actions related to Plaintiff's health benefits and
                                                                   retaliation claim. The Court also finds that Plaintiff's claim
       her termination, both of which would arguably
                                                                   for retaliation under the NYSHRL must be dismissed because
       dissuade a reasonable worker from making a charge
                                                                   the standards for liability under Title VII and NYSHRL
       against her employer. However, these actions
                                                                   are the same. Specifically, even if Plaintiff's complaint
       occurred more than a year after she made her
                                                                   about discrimination or a hostile work environment based
       complaint and there were numerous intervening
                                                                   on her parental status would constitute protected activity
       circumstances (most notably, Plaintiff's being on
                                                                   under NYSHRL (because parental status is a protected
       leave for a significant portion of time without
                                                                   classification under that statute and thus she had a good
       any indication of when she would return to work)
                                                                   faith reasonable belief that she was reporting conduct that
       that would break any causal connection between
                                                                   violated the statute), the same deficiencies in her ability
       her complaint and these actions. See Placide-
                                                                   to prove an adverse action or a causal connection between
       Eugene v. Visiting Nurse Service of New York, 86
                                                                   any adverse action and her protected activity apply to her
       F. Supp. 3d 132, 150 (E.D.N.Y. 2015) (noting that
                                                                   NYSHRL claim. See Henry v. NYC Health & Hosp. Corp.,
       an “intervening event dispels an inference of a
                                                                   18 F. Supp. 3d 396, 413 (S.D.N.Y. Mar. 10, 2014) (finding
       causal relationship between the protected activity
                                                                   it appropriate to exercise supplemental jurisdiction over
       and Plaintiff's termination, thus defeating Plaintiff's
                                                                   NYSHRL claim despite having dismissed the Title VII claims
       prima facie case of unlawful retaliation”).
                                                                   because “the standards of liability under the two statutes
 *21 Additionally, even if these actions did constitute adverse    are coterminous,” and thus it was in the interests of judicial
actions when considered together, Plaintiff cannot show that       economy, convenience, fairness, and comity to dismiss those
those actions are causally connected to her complaint of           claims together).
March 18, 2016. Although the above actions are somewhat
different conduct than what Plaintiff dealt with before she
made her complaint, they represent a variation on the same            B. Whether the Court Should Exercise Supplemental
theme: there is nothing in the admissible evidence to show            Jurisdiction Over Plaintiff's Remaining NYSHRL
that Defendant Di Stefano or Defendant Haelen treated                 Claim
Plaintiff worse than they had before she made her complaint.       After careful consideration, the Court answers this question in
Without any such worsening, Plaintiff cannot show that             the negative for the reasons stated in Defendants’ memoranda
Defendants’ post-complaint actions were retaliation for her        of law. (Dkt. No. 59, Attach. 2, at 27 [Defs.’ Mem. of Law];
complaint, as opposed to a mere continuation of Defendants’        Dkt. No. 72, at 11-12 [Defs.’ Reply Mem. of Law].) To those
previous pattern of conduct towards her. See Chamberlin            reasons, the Court adds the following analysis.
v. Principi, 247 F. App'x 251, 254 (2d Cir. 2007) (noting
that, “where, as here, timing is the only basis for a claim        A district court “may decline to exercise supplemental
of retaliation, and gradual adverse job actions began well         jurisdiction over a claim” if it has “dismissed all claims
before the plaintiff ever engaged in any protected activity,       over which it has original jurisdiction.” 28 U.S.C. § 1367(c).
an inference of retaliation does not arise,” and finding           In deciding whether to exercise supplemental jurisdiction,
that, because the facts “document a pattern of attempts            the court should balance “values of judicial economy,
to undermine and exclude him that began well before the            convenience, fairness, and comity.” Carnegie Mellon Univ.
filing of the first EEOC complaint and that continued after        v. Cohill, 484 U.S. 343, 350 (1988). However, as a general
the complaint was filed,” no causal connection was shown           rule, “when the federal claims are dismissed, the state claims
between those acts and the protected activity); Hardy v.           should be dismissed as well,” and the ordinary case “will
Rochester Genesee Regional Transp. Auth., 906 F. Supp. 2d          point toward declining jurisdiction over the remaining state-
178, 185 (W.D.N.Y. 2012) (noting that “temporal proximity          law claims.” In re Merrill Lynch Ltd. P'ships Litig., 154 F.3d
alone does not create an inference of retaliation when the         56, 61 (2d Cir. 1998).
adverse action is part of, or the culmination of, a disciplinary
process that was already underway prior to the protected           The Court notes that Plaintiff's NYSHRL claim for
activity”).                                                        discrimination and/or hostile work environment based on
                                                                   her familial status remains to be decided. As discussed
                                                                   above in Part I of this Decision and Order, Plaintiff's


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                                                                     assessment of primarily state law given that Title VII has no
discrimination/hostile work environment claim under Title
                                                                     equivalent protection based on familial status.
VII was dismissed on a previous motion due to her failure
to state a claim, in particular based on her failure to allege
                                                                     ACCORDINGLY, it is
facts plausibly suggesting that she was discriminated against
based on her sex. However, because Title VII does not include
                                                                     ORDERED that Defendants’ motion for summary judgment
familial status as a protected class, the Court has not had
                                                                     (Dkt. No. 59) is GRANTED; and it is further
the opportunity to reach the merits of Plaintiff's claim for
discrimination based on her familial status. Additionally,
                                                                     ORDERED that Plaintiff's retaliation claims under Title VII
because familial status is protected under New York law only
                                                                     and the NYSHRL are DISMISSED with prejudice; and it is
(and not also federal law), any decision on that claim would
                                                                     further
involve a deeper assessment of New York state law, even if the
general analytical framework is the same as that used under
                                                                     ORDERED that Plaintiff's discrimination claim based on
federal law.
                                                                     familial status under the NYSHRL is DISMISSED without
 *22 Because the Court has already dismissed the remaining           prejudice to refiling in state court within the applicable time
                                                                     limits; and it is further
federal law claim in this action and was not required
to make a determination on the merits of any Title VII
                                                                     ORDERED that Plaintiff's Complaint (Dkt. No. 1) is
discrimination and/or hostile work environment claim on this
                                                                     DISMISSED.
motion for summary judgment, the Court declines to exercise
supplemental jurisdiction over Plaintiff's NYSHRL claim for
familial status discrimination. In particular, the Court finds       All Citations
that this is the typical case in which the relevant factors
point towards that conclusion, as any decision will require an       Not Reported in Fed. Supp., 2020 WL 5504011, 2020 Fair
                                                                     Empl.Prac.Cas. (BNA) 347,387

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                                                                        Employment Act (“ADEA”). (Dkt. No. 25 [Pl.’s Second
                                                                        Am. Compl.].) In support of her claims, Plaintiff alleges that
     KeyCite Yellow Flag - Negative Treatment                           Defendant discriminated against her by (a) refusing to hire
Supplemented by Cao-Bossa v. New York State Dep't of Labor, N.D.N.Y.,
                                                                        her for a position for which she interviewed in March 2016,
November 16, 2021
                                                                        and (b) terminating her employment in another position after
                     2021 WL 3674745                                    six months. (Id.) More specifically, Plaintiff, who is Chinese
       Only the Westlaw citation is currently available.                and was 45 years old at the time of her termination, alleges
        United States District Court, N.D. New York.                    that she received unfairly poor performance reviews based
                                                                        on a few sporadic mistakes that resulted in her termination,
              Weili CAO-BOSSA, Plaintiff,                               but that other American and/or younger employees did not
                         v.                                             receive similar negative performance reviews and were not
            NEW YORK STATE DEPARTMENT                                   terminated. (Id.)
                 OF LABOR, Defendant.
                                                                           B. Undisputed Material Facts on Defendant's Motion
                    1:18-CV-0509 (GTS/TWD)
                                                                           for Summary Judgment
                                |
                                                                        Under N.D.N.Y. Local Rule 56.1 (formerly Local Rule
                        Signed 08/19/2021
                                                                        7.1[a][3]), a party opposing summary judgment must file a
Attorneys and Law Firms                                                 response to the moving party's Statement of Material Facts
                                                                        that “shall mirror the movant's Statement of Material Facts
WEILI CAO-BOSSA, Plaintiff, Pro Se, 1912 East Country                   by admitting and/or denying each of the movant's assertions
Club Drive, Schenectady, NY 12309.                                      in a short and concise statement, in matching numbered
                                                                        paragraphs,” supported by “a specific citation to the record
HON. LETITIA JAMES, Attorney General for the State of
                                                                        where the factual issue arises.” N.D.N.Y. Local R. 56.1(b).
New York, Counsel for Defendant, 300 South State Street,
                                                                        This requirement is not a mere formality; rather “this and
Suite 300, Syracuse, NY 13202, OF COUNSEL: AIMEE
                                                                        other local rules governing summary judgment are essential
COWAN, ESQ., Assistant Attorney General.
                                                                        tools intended to relieve the district court of the onerous
                                                                        task of hunting through voluminous records without guidance
                                                                        from the parties.” LaFever v. Clarke, 17-CV-1206, 2021 WL
                   DECISION and ORDER                                   921688, at *6 (N.D.N.Y. Mar. 11, 2021) (Hurd, J.) (quoting
                                                                        Frantti v. New York, 414 F. Supp. 3d 257, 284 [N.D.N.Y.
Glenn T. Suddaby, Chief U.S. District Judge
                                                                        2019] [Hurd, J.]). Indeed, “[a] proper response to a movant's
 *1 Currently before the Court, in this employment                      statement of material facts streamlines the summary judgment
discrimination action filed by Weili Cao-Bossa (“Plaintiff”)            analysis ‘by allocating responsibility for flagging genuine
against the New York State Department of Labor                          factual disputes on the participants ostensibly in the best
(“Defendant”), are the following two motions: (1)                       position to do so: the litigants themselves.’ ” LaFever, 2021
Defendant's motion for summary judgment; and (2)                        WL 921688, at *7 (quoting Alke v. Adams, 16-CV-0845, 2018
Defendant's letter-motion to strike Plaintiff's sur-reply. (Dkt.        WL 5297809, at *2 [N.D.N.Y. Oct. 25, 2018] [Hurd, J.]).
Nos. 58, 70.) For the reasons set forth below, Defendant's              “The Court may deem admitted any properly supported facts
motion for summary judgment is granted, and its motion to               set forth in the Statement of Material Facts that the opposing
strike Plaintiff's sur-reply is denied.                                 party does not specifically controvert.” N.D.N.Y. Local R.
                                                                        56.1(b).

I. RELEVANT BACKGROUND                                                  In this case, Plaintiff entirely failed to provide any response
                                                                        to Defendant's Statement of Material Facts, much less one
   A. Plaintiff's Second Amended Complaint                              that complies with Local Rule 56.1. Where a party has failed
Generally, in her Second Amended Complaint, Plaintiff                   to respond to the movant's statement of material facts in
claims that Defendant discriminated against her based on                the manner required under Local Rule 56.1, the facts in the
her national origin and age in violation of Title VII of the            movant's statement will be accepted as true (1) to the extent
Civil Rights Act of 1964 and the Age Discrimination in                  that they are supported by evidence in the record, and (2)


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provided that the nonmovant, if proceeding pro se, has been         to dispute the asserted facts. (Dkt. No. 66 [Def.’s Rule 56.1
specifically advised of the possible consequences of failing        Statement].)
to respond to the motion. Champion v. Artuz, 76 F.3d 483,
486 (2d Cir. 1996). 1 Here, Defendant served on Plaintiff           1. Plaintiff was born on September 21, 1972.
the standard form for this District entitled “Notification of
the Consequences of Failing to Respond to a Summary                 2. Plaintiff is of Chinese national origin.
Judgment Motion,” which includes a specific notification of
the requirement to respond to the defendant's statement of          3. Plaintiff obtained a bachelor's degree in Agriculture in 1996
material facts in matching numbered paragraphs with citation        from Ocean University of China.
to supporting evidence as well as a warning that failure to
do so could result in the Court deeming facts to be true that       4. Plaintiff also received a certificate from Austin Community
are not properly disputed. (Dkt. No. 58, Attach. 2.) Moreover,      College in Austin, Texas, in 2012 for “professional accountant
four days later, the Court served Plaintiff with a duplicate        with high technology.”
copy of that Notification. (Dkt. No. 59.) Eight days later,
Plaintiff requested an extension of the response deadline.          5. Plaintiff did not have her Certified Public Accountant
(Dkt. No. 60.) Plaintiff has therefore received sufficient notice   (“CPA”) license at the time of her deposition.
of the possible consequences of her failure to respond to
Defendant's Statement of Material Facts.                            6. In 2016, Plaintiff did not have the requisite one year of
                                                                    accounting experience, supervised by a CPA, required for
1                                                                   CPA licensing.
        Notably, although “courts are required to give due
        deference to a plaintiff's pro se status, that status
                                                                    7. Plaintiff testified that she passed her CPA examinations in
        ‘does not relieve [a pro se] plaintiff of his duty
                                                                    2014.
        to meet the requirements necessary to defeat a
        motion for summary judgment.’ ” Salaam v. Stock,
                                                                    8. Plaintiff did not have any formal accounting experience
        19-CV-0689, 2021 WL 2367123, at *2 (N.D.N.Y.
                                                                    before she immigrated from China to the United States in
        May 12, 2021) (Dancks, M.J.) (quoting Jorgensen
                                                                    2008.
        v. Epic/Sony Records, 351 F.3d 46, 50 [2d Cir.
        2003]), report-recommendation adopted by 2021
                                                                    9. The first accounting position Plaintiff held after arriving in
        WL 2102242 (N.D.N.Y. May 24, 2021) (Sannes,
                                                                    the United States in 2008 was her position with Defendant in
        J.).
                                                                    2016.
 *2 Although the Court has ensured that Defendant's asserted
facts are supported by the cited record evidence, it does not       10. Defendant is an executive agency of the State of New
have the duty to scour the record for any and all evidence          York, established pursuant to Article 2 of the New York State
that may contradict those asserted facts. See Amnesty Am. v.        Labor Law.
Town of W. Hartford, 288 F.3d 467, 470 (2d Cir.2002) (“We
agree with those circuits that have held that Fed. R. Civ. P. 56    11. Defendant's Administrative Finance Bureau (“AFB”)
does not impose an obligation on a district court to perform        is responsible for the budgeting, fiscal management,
an independent review of the record to find proof of a factual      accounting, and expenditure of all department funds.
dispute.”); Monahan v. New York City Dep't of Corr., 214 F.3d
275, 291 (2d Cir. 2000) (noting that the Local Rules require        12. The AFB also maintains and ensures the accuracy
the parties “to clarify the elements of the substantive law         of Defendant's payroll system, provides support operations
which remain at issue because they turn on contested facts”         services, including all procurement and payment activities,
and the Court “is not required to consider what the parties fail    and provides property management services covering leasing,
to point out”) (internal quotation marks and citations omitted).    space planning, project oversight, and building maintenance.
As a result, the following facts were asserted and supported
with accurate record citations by Defendant in its Statement        13. Additionally, the AFB is responsible for the management
of Material Facts and deemed admitted by Plaintiff due to           of Defendant's federal grant funding and ensuring compliance
her failure to respond and failure to provide any evidence          with state and federal reporting requirements.



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                                                                      24. Plaintiff emailed Director Elfeldt after the interview,
14. The AFB is divided into multiple sub-units, each with             asking “[W]hy you set such an interview if government
managers who reported to Kathleen Elfeldt when she was the            working experience is a necessity to this job?”
Director of Finance from 2014 until January 2018.
                                                                      25. Director Elfeldt responded that government work
15. The Financial Management Unit (“FMU”) is one of the               experience was not a job requirement for the position, but that
sub-units of the AFB.                                                 the federal grant funding and reporting requirements made the
                                                                      Department of Labor different than a typical state agency, and
16. In March 2016, Defendant posted a job vacancy                     the position Plaintiff interviewed for was not in the accounting
announcement for an Accountant Trainee 1 & 2 (Grades 14               office and would not be entering data into an accounting
and 16) and Senior Accountant (Grade 18) position within the          system.
AFB's FMU.
                                                                      26. Director Elfeldt indicated that Plaintiff's work experience
17. In order to be eligible for the Accountant Trainee position,      did not make her a good fit for the position.
a candidate must pass a Civil Service examination and possess
a bachelor's degree in accounting, auditing or taxation, or a         27. Plaintiff alleges that she did not receive this position
bachelor's degree or higher degree with 24 semester credit            because she was discriminated against based on her age and
hours of accounting, auditing or taxation courses.                    national origin.

18. A list of candidates who meet these requirements is               28. Plaintiff does not know the basis for her belief that
provided to Defendant by the New York State Department of             Director Elfeldt discriminatorily denied her the position based
Civil Service.                                                        on her age and national origin, other than that “there is no
                                                                      other explanation.”
19. Plaintiff was the fourth candidate on the Accountant
Trainee list, with a score of 90, and thus she was eligible for       29. Plaintiff admitted at her deposition that she did not have
an interview.                                                         the right experience for this position.

20. On July 12, 2016, Plaintiff was interviewed for the open          30. On July 15, 2016, Defendant posted another job vacancy
Accountant Trainee position, and then was interviewed by              for an Accountant Trainee 1 & 2 and Senior Accountant, this
Director Elfeldt the following day.                                   one in the Accounting Unit.

21. During the second interview, Director Elfeldt explained           31. Plaintiff was again reachable for this position on the Civil
that the position for which Plaintiff was interviewing was            Service list.
within the AFB's FMU, which manages Defendant's finances
related to federal grants and federal programs.                       32. Plaintiff claims that Director Elfeldt had her assistant call
                                                                      Plaintiff to let her know that there was another position open.
 *3 22. Director Elfeldt informed Plaintiff that federal
requirements made the FMU position unique, but that in the            33. On July 19, 2016, Plaintiff interviewed for the position in
future she expected that there would be open positions in the         the Accounting Unit.
Accounting Office that could be a better fit for Plaintiff's skills
and experience.                                                       34. On September 13, 2016, Margaret “Peg” Farrell, the
                                                                      Project Director for the State Financial System (“SFS”)
23. At the time of her interview, Plaintiff did not have any          Project in the Accounting Unit at the time, requested that
experience reviewing federal guidance or regulations and              Plaintiff be hired for a Senior Accountant Trainee position.
was not familiar with federal grant funding and guidance
requirements.                                                         35. Plaintiff's hiring was approved by Michelle Daly, the
                                                                      Director of the Accounting Office, and Director Elfeldt.




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36. Plaintiff accepted the offer, and her employment began on      49. Plaintiff recalled at her deposition that Ms. Pulcher and
October 6, 2016.                                                   Ms. Farrell discussed during this meeting that she needed to
                                                                   choose her wording carefully in emails and on the telephone.
37. Plaintiff was hired as a trainee on a probationary basis and
her salary grade was equivalent to a Grade 14.                     50. Plaintiff recalled at her deposition that Ms. Pulcher and
                                                                   Ms. Farrell discussed that she is not entitled to “flex time” and
38. Plaintiff's probationary period was to run concurrently        was not allowed to leave early if she arrived to work early.
with her two-year traineeship.
                                                                   51. Plaintiff recalled at her deposition that Ms. Pulcher
39. After she was hired, Plaintiff was assigned to the             and Ms. Farrell discussed that she needed to complete her
Accounting Office's SFS Project Team.                              assignments in the format that her supervisor had requested.

40. Plaintiff's direct supervisor was Project Assistant Lindsay    52. At no point during the meeting did either Ms. Pulcher or
Pulcher and the team manager was Ms. Farrell.                      Ms. Farrell discuss Plaintiff's age or national origin.

41. Ms. Farrell was Ms. Pulcher's direct supervisor.               53. At no point during the meeting did Plaintiff raise any
                                                                   concerns about discrimination.
42. Ms. Pulcher was the Project Assistant for the SFS Project
Team from April 2014 to April 2017.                                54. However, following the meeting of December 5, 2016,
                                                                   Plaintiff continued to have issues with her job performance.
43. Supervisors for probationary trainees such as Plaintiff are
required to present trainees with an Individual Development        55. On January 6, 2017, Plaintiff received a three-month
Plan and quarterly probationary evaluations, as well as            performance evaluation which indicated that she needed to
traineeship evaluations at six-month intervals during the          improve in almost all aspects of her job performance.
traineeship.
                                                                   56. The three-month evaluation was completed by Ms.
44. On October 26, 2016, Plaintiff met with Ms. Pulcher            Pulcher and reviewed by Ms. Farrell.
and was provided an Individual Development Plan that listed
the activities, tasks, and performance standards that were         57. A meeting was held with Plaintiff on January 6, 2017,
expected of her in her position.                                   in which Ms. Pulcher and Ms. Farrell gave the three-month
                                                                   evaluation to Plaintiff.
 *4 45. However, during the month of November 2016,
Plaintiff had many issues completing basic tasks and               58. Ms. Pulcher took notes of the meeting, indicating what
assignments that were required in her position.                    was reviewed with Plaintiff and Plaintiff's responses.

46. On or about December 5, 2016, Ms. Pulcher and                  59. Plaintiff admits that she made mistakes during the first
Ms. Farrell met with Plaintiff to review her Individual            three months of her probationary term.
Development Plan to ensure that Plaintiff understood the
requirements of her position and what was expected of her.         60. During the meeting, Ms. Pulcher showed Plaintiff an
                                                                   example of an email in which Plaintiff used a harsh,
47. During the meeting, Plaintiff was reminded about the           inappropriate tone.
tasks she needed to complete as part of her position and
she was reminded as to how she should be completing her            61. Plaintiff testified at her deposition that she disagrees with
assignments.                                                       Ms. Pulcher's assessment of her performance.

48. Plaintiff was also reminded during this meeting that her       62. Following receipt of her three-month evaluation, Plaintiff
position was a two-year traineeship during which she was on        met with Lin Arbab, a Human Resources Specialist for
probation and could be terminated for poor performance.            Defendant.




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63. During this meeting, Ms. Arbab explained to Plaintiff          71. Following the three-month performance evaluation,
that managers and supervisors may appropriately issue              Plaintiff continued to have job performance issues.
evaluations that accurately reflect the quality of an employee's
performance.                                                       72. Ms. Farrell kept a log of some of the performance issues
                                                                   that Plaintiff exhibited for approximately nine weeks after her
64. Ms. Arbab explained that sometimes an employee's               three-month evaluation:
performance will be rated as “needs improvement” in certain
areas, and that it is not unusual for an employee to receive            a. On January 23, 2017, Ms. Pulcher noted that Plaintiff
an evaluation that indicates performance areas that need                   downloaded the wrong NHRP files.
improvement.
                                                                        b. On February 1, 2017, Plaintiff's Monthly Mod Accrual
                                                                           and Stat Ledger queries were for December 2015
65. Ms. Arbab explained that Plaintiff's three-month
                                                                           rather than December 2016.
evaluation reflected her supervisor's assessment of her
performance and included examples of the noted performance              c. On February 6, 2017, Ms. Farrell notified Plaintiff that
deficiencies.                                                              she had made mistakes on the monthly query, to which
                                                                           Plaintiff responded, “[S]orry for the negligence. Will
 *5 66. At the time, Plaintiff did not express to Ms. Arbab                be more careful in the future.”
any belief that the three-month evaluation was the result of
discrimination.                                                         d. Also on February 6, 2017, Ms. Pulcher was forced
                                                                           to remind Plaintiff to download the NHRP522 and
67. On January 12, 2017, Plaintiff wrote an email to Ms.                   NHRP530 files despite the fact that this had been a
Pulcher and Ms. Farrell, in which she stated that she                      recurring task for several pay periods.
“appreciate[d] you letting me know your concerns about
                                                                        e. On February 22, 2017, Ms. Pulcher spoke with
my performance in the first quarter evaluation,” and that
                                                                           Plaintiff about her failure to prioritize assignments
she “enjoys very much working” with Ms. Pulcher and Ms.
                                                                           correctly.
Farrell and “can learn something new every day with [their]
help.”                                                                  f. On February 27, 2017, Ms. Pulcher emailed Plaintiff
                                                                           to inform her that she
68. In the email of January 12, 2017, Plaintiff also listed
her plans to improve her performance, including promising                 was enrolled in mandatory training courses, but that
to review her emails before sending them to other people,                 those courses were not a priority since they did not
pay attention to formatting details for biweekly downloading              need to be completed for eight months, and to identify
and monthly queries, submit a summary of the work she                     which assignments were a priority. However, Plaintiff
performed that day before she left work every day, take notes             completed these training courses before the priority
so she can stop “asking the same stupid questions,” and charge            assignments despite Ms. Pulcher's directions.
personal time whenever she has to use work time.
                                                                        g. On Mar h 1, 2017, Ms. Farrell asked Plaintiff to
69. Plaintiff also asked Ms. Pulcher to remind her if she                  complete an assignment immediately, but Plaintiff
asks the “same stupid questions” and stated, “Please help me               submitted the assignment the following day,
improve my management skills of work assignments. I will                   incorrectly. The assignment was still incorrect the
improve my quality of work and other virtues required for my               second time Plaintiff submitted it.
work.”
                                                                        h. On March 3, 2017, Ms. Farrell asked Plaintiff to
                                                                           create a tab with a pivot table for each ledger on an
70. In the email of January 12, 2017, Plaintiff did not
                                                                           Excel spreadsheet. Plaintiff submitted the assignment
complain about feeling like she was being discriminated
                                                                           incorrectly and Ms. Farrell was forced to follow up.
against, and did not express disagreement with the three-
month performance evaluation.                                           *6 i. Also on March 3, 2017, Ms. Pulcher contacted
                                                                         Plaintiff regarding an assignment that she submitted
                                                                         incorrectly the previous day. Plaintiff responded, “You



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       are right ... I guess I was kind of in a hurry. Sorry for
       the abbreviation.”                                          83. On April 13, 2017, Plaintiff emailed Director Elfeldt,
                                                                   stating “[T]here were errors in my work because of careless
     j. On March 8, 2017, Ms. Pulcher requested that Plaintiff     [sic] and inexperience, but they had nothing to do with
        provide a summary of an accounting training class          working abilities.”
        Plaintiff had attended; however, Plaintiff did not
        provide that summary and Ms. Pulcher was forced to         84. At her deposition, Plaintiff acknowledged that she
        follow up on March 21, 2017, at which time Plaintiff       admitted she was careless and inexperienced during her six
        still had not completed the assignment.                    months working for Defendant.

73. Ms. Farrell recorded at least 13 separate instances between    85. Plaintiff did not allege in her email of April 13, 2017, that
January 11, 2017, and March 20, 2017, on which Plaintiff           she felt discriminated against.
submitted an incorrect or incomplete assignment or needed to
be reminded to complete an assignment.                             86. She did, however, thank Director Elfeldt for giving her
                                                                   a chance “to see how unique and complicated the DOL
74. On April 3, 2017, Plaintiff received a six-month               accounting could be.”
evaluation from Ms. Pulcher.
                                                                   87. The first time Plaintiff ever expressed that she felt
75. Ms. Pulcher recommended that Plaintiff be terminated           discriminated against while working for Defendant was in an
based on her unsatisfactory performance.                           email to Ms. Arbab on April 10, 2017.

76. Ms. Farrell approved Ms. Pulcher's recommendation for          88. At no point during her employment with Defendant did
Plaintiff's termination.                                           anyone make any remarks about Plaintiff's national origin or
                                                                   age.
77. Director Elfeldt also agreed with the recommendation for
termination.                                                       89. There were “many” employees in Plaintiff's specific unit
                                                                   who were Plaintiff's age or older.
78. Ultimately, termination decisions are made by the
Personnel Department.                                              90. On July 17, 2017, Plaintiff filed a complaint with the New
                                                                   York State Division of Human Rights (“NYSDHR”).
79. The recommendation was forwarded to Lisa Burrell,
Associate Director of Human Resources for Defendant,               91. Her complaint was amended on or about August 2, 2017,
who made the final determination approving Plaintiff's             and in it she alleged that she was subjected to discrimination
termination.                                                       based on her age and national origin in violation of the New
                                                                   York State Human Rights Law, Title VII, and the ADEA.
80. Plaintiff was presented with the six-month evaluation
at a meeting, during which Ms. Pulcher indicated the main           *7 92. On December 20, 2017, the NYSDHR issued a
reasons why her employment was being terminated, including         Determination and Order After Investigation, in which it
the fact that her assignments were often not completed per         determined that there was no probable cause to believe
instructions and follow-up was often required, the fact that       that Defendant engaged in or was engaging in the unlawful
she needed to be reminded of the same issues repeatedly, and       discriminatory practices Plaintiff alleged.
the fact that she did not make the best use of her time or exert
a consistent effort.                                               93. On January 26, 2018, the Equal Employment Opportunity
                                                                   Commission (“EEOC”) adopted the findings of the
81. Plaintiff signed the evaluation that recommended her           NYSDHR.
termination.
                                                                   94. Plaintiff alleges in her Second Amended Complaint that
82. When she received her six-month evaluation, Plaintiff          two or three other employees were treated more favorably
did not complain that her evaluation was the result of             than her because of their national origin.
discrimination.


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95. Specifically, Plaintiff alleges that Richard Deitz was        102. The only basis for Plaintiff's belief that Ms. O'Hara was
treated more favorably than her because of his national           treated differently than her is because there is no mention of
origin. However, Plaintiff does not know what position            “one-time incident[s]” or “learning process” on Ms. O'Hara’s
Mr. Dietz held or who he is, and she admits that his job          evaluation. Ms. O'Hara’s performance evaluation shows that
responsibilities were different than her job responsibilities.    she met performance expectations for her position.
She also “guesses” that he is “American.”
                                                                  103. Plaintiff also alleges that these employees were treated
96. According to Mr. Deitz's evaluation in the record, his        more favorably than her based on her age.
supervisor was Michelle Daly, not Ms. Pulcher, and Ms.
Pulcher has never supervised or evaluated Mr. Deitz.               *8 104. However, Plaintiff admits that Mr. Shavel and Mr.
                                                                  Deitz are both as old or older than her: Mr. Deitz was 45 years
97. The basis for Plaintiff's belief that Mr. Deitz was treated   old in 2017, and Plaintiff testified that Mr. Shavel is “older
differently than her is that he was praised for “taking           than sixty, in his sixties or something .... He's older than me.”
initiative” while she was not.                                    Mr. Shavel was in fact 61 years old in 2017.

98. Plaintiff also alleges that Frank Shavel was treated more     105. Ms. O'Hara was 27 years old in 2017.
favorably than her because of his national origin. However,
Plaintiff is unaware of where Mr. Shavel worked within            106. Ms. Pulcher was not aware of either Ms. O'Hara’s or
Defendant's organization, she did not know what position he       Plaintiff's ages in 2017.
held, she did not know who supervised him, she has never
worked with him and has never seen him in person, she             107. The basis for Plaintiff's belief that she was treated
does not know what his salary grade is, and she does not          differently because of her age was “some clues from [Ms.
know whether he was a permanent or probationary employee.         Pulcher],” such as when Ms. Pulcher “mentioned something
Plaintiff also does not know his ethnic background.               about older people. She just didn't believe older people could
                                                                  do good job.”
99. The only basis for Plaintiff's belief that Mr. Shavel
was treated more favorably than her is that he was given          108. Specifically, Plaintiff alleges that Ms. Pulcher
a counseling memorandum about failing to complete a               commented that a receptionist, Donna, who is around
mandatory training rather than being terminated, while she        retirement age, “didn't know what she was doing.”
did not receive any memoranda before her termination.
                                                                  109. Plaintiff also alleges that Ms. Pulcher made a comment
100. However, Plaintiff does not know whether Mr. Shavel          about a “guy who's doing payroll” and how he needs to retire.
failed to complete other tasks or training beyond the one
related to the counseling memorandum.                             110. Ms. Pulcher denies ever making any comments about
                                                                  “Donna” or “a guy who's doing payroll” with respect to
101. Plaintiff also alleges that Kayla O'Hara was treated more    their age or ability to perform their job, and denies making
favorably than her because of her national origin. However,       any comments to Plaintiff during her employment about any
Plaintiff admitted that she does not know Ms. O'Hara’s            employees’ ages or how their ages impact their ability to
national origin (but she guesses that it is American), she        perform their jobs.
has never worked with Ms. O'Hara or observed her work
performance, she has never spoken with anyone who worked          111. Director Elfeldt was 57 years old at the time of Plaintiff's
with or supervised Ms. O'Hara, she does not know whether          termination.
Ms. O'Hara made similar mistakes to the ones that are detailed
in Plaintiff's own evaluations, and she does not know whether     112. Assistant Director Cathryn Piccirillo was 51 years old at
Ms. O'Hara was ever counseled about her time or attendance.       the time of Plaintiff's termination.
Additionally, unlike Plaintiff, who was hired as a Grade 14
Accountant Trainee, Ms. O'Hara was hired as a Grade 18            113. Ms. Farrell was 50 years old at the time of Plaintiff's
Senior Budget Analyst effective September 21, 2017.               termination.



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                                                                  other regulatory considerations that were a feature of that
114. Associate Director of Human Resources Ms. Burrell was        specific position. (Id.)
48 years old at the time of Plaintiff's termination.
                                                                   *9 Second, Defendant argues that Plaintiff's national
115. Plaintiff was not the only employee of Asian descent         origin discrimination claim pursuant to Title VII should be
in the AFB at the time Plaintiff was employed there, and          dismissed. (Id. at 15-33.) Specifically, Defendant argues as
there are currently employees of Asian descent employed in        follows: (a) Plaintiff cannot establish a prima facie case
Defendant's Finance Bureau.                                       of discrimination regarding her termination because (i) she
                                                                  was not qualified for her position in that she did not meet
116. On April 7, 2017, Ms. Burrell sent a letter to               legitimate employer expectations of job performance as
Plaintiff indicating that she concurred with the termination      evidenced by the job evaluations showing unsatisfactory
recommendation effective close of business April 14, 2017.        performance, and (ii) the circumstances of her termination do
                                                                  not give rise to an inference of discriminatory intent given
117. On April 10, 2017, Plaintiff emailed Ms. Burrell and         that there was evidence that Plaintiff did many things wrong
stated that she felt Ms. Pulcher was an “inexperienced and        and there have been no comments alleged to have been made
inapt [sic] supervisor” who was not qualified and who did not     about her ethnic group, and, in particular, the other employees
provide her with proper training and help, as well as that she    identified by Plaintiff are not sufficiently similarly situated
felt that Ms. Pulcher was mean to her and that she had been       to her to raise such an inference; (b) even if Plaintiff can
discriminated against.                                            show a prima facie case, Defendant had a legitimate reason
                                                                  for terminating her employment, namely her repeated poor
118. Nowhere in the email of April 10, 2017, does Plaintiff       performance despite having meetings and reviews in which
mention that she felt discriminated against specifically based    she was informed of the ways in which she was not meeting
on her age or national origin.                                    expectations; and (c) Plaintiff cannot show that Defendant's
                                                                  legitimate reason for terminating her employment was a
119. At no point during her employment with Defendant did         pretext for discrimination because she has no evidence that
Plaintiff ever complain to Director Elfeldt that she believed     her national origin was even a factor in that decision, and her
she was being discriminated against in any way.                   own subjective belief that it was is not sufficient to sustain
                                                                  her claim. (Id.)

  C. Parties’ Briefing on Defendant's Motion for                  Third, Defendant argues that Plaintiff's age discrimination
  Summary Judgment                                                claim pursuant to the ADEA should be dismissed. (Id.
                                                                  at 33-43.) Specifically, Defendant argues as follows: (a)
           1. Defendant's Memorandum of Law                       Plaintiff cannot establish a prima facie case of discrimination
                                                                  regarding her termination because (i) she cannot show that she
Generally, in its motion for summary judgment, Defendant          was performing her job satisfactorily (as already discussed),
makes three arguments. (Dkt. No. 58, Attach. 1, at                and (ii) she cannot show that her termination occurred under
12-43 [Def.’s Mem. of Law].) First, Defendant argues              circumstance giving rise to an inference of discrimination
that Plaintiff's discrimination claims should be dismissed        based on her age given that the only alleged co-employee who
as untimely to the extent they are based on Defendant's           was younger than her is not sufficiently comparable, and any
failure to hire her for a position with the FMU in July           comments that may have been made by Ms. Pulcher about the
2016. (Id. at 12-15.) Specifically, Defendant argues that         ages of other employees were merely stray remarks and Ms.
this alleged act of discrimination occurred more than             Pulcher was nonetheless not the ultimate decisionmaker as to
300 days before Plaintiff filed her complaint with the            Plaintiff's termination; (b) even if Plaintiff can show a prima
NYSDHR on July 17, 2017, and thus any portion of her              facie case, Defendant had a legitimate reason for terminating
claims based on that alleged act of discrimination must be        her employment (as discussed above); and (c) Plaintiff cannot
dismissed. (Id.) Defendant additionally argues that, timeliness   show that Defendant's legitimate reason for terminating her
notwithstanding, Defendant's actions in not hiring her for that   employment was a pretext for discrimination because her
position in July 2016 were not based on discrimination, but       subjective belief that she was discriminated against and a few
rather because she lacked experience with federal grants and      stray remarks about employees other than Plaintiff do not



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show that her age was the but-for cause of her termination.       that Defendant had requested or been granted permission to
(Id.)                                                             file an overlong brief with 10 additional pages, and that,
                                                                  because she was not aware of this, she “filed the motion of
                                                                  rejection and was waiting for the Judge's further directions
                                                                  about the allowable length.” (Id. at 1.) She argues that
     2. Plaintiff's Opposition Memorandum of Law
                                                                  Defendant's brief exceeds the extended page limit because
In her response to Defendant's motion, Plaintiff requests that    the Conclusion section was on page 36 of that brief and that
the Court deny that motion, noting the reasons she had needed     Conclusion section is “substantive enough to be counted.” (Id.
to request an extension in the past to file her response, and     at 2.) Plaintiff again requests that the Court deny Defendant's
noting that, “[w]hile preparing Plaintiff's Memorandum of         motion for being improperly overlong, noting that she
Law, I found out Defendant's Memorandum of Law did not            “completed [her] response to Defendant's Material Facts Not
follow L.R. 7.1. It was 36 pages in length, and it was 45 pages   in Dispute before [she] filed [her] rejection” and indicating
in total with Table of Contents and the cover page.” (Dkt.        that “I will submit my response in whole when Defendant
No. 67, at 1-2 [Pl.’s Opp'n Mem. of Law].) Plaintiff does not     submit [sic] proper memorandum of law or as further directed
address any of the substantive arguments made by Defendant,       by the court if otherwise.” (Id.)
nor does she submit any response to Defendant's Statement
of Material Facts, as already discussed above in Part I.B. of
this Decision and Order.                                                         5. Defendant's Letter-Motion
                                                                                 to Strike Plaintiff's Sur-Reply

                                                                  Defendant filed a motion to strike Plaintiff's sur-reply because
       3. Defendant's Reply Memorandum of Law
                                                                  such responses are not permitted without permission under
Generally, in its reply, Defendant makes three arguments.         the Local Rules of this Court, but that, even if the Court
(Dkt. No. 68 [Def.’s Reply].) First, Defendant argues that it     considers the sur-reply, Plaintiff was provided with a copy of
did not violate the Local Rules of Practice for this Court by     Defendant's request for additional pages for its memorandum
filing an overlong brief because the pages for the cover page,    and the Court's order granting that request was served on
the table of contents, and the signature block do not count       Plaintiff by regular mail, and thus she has no basis for
toward the overall page count, and Defendant's substantive        claiming she was not reasonably made aware of Defendant's
brief was 35 pages as allowed by this Court's Text Order of       increased page limit. (Dkt. No. 70.)
December 21, 2020. (Id. at 4.)

                                                                  II. LEGAL STANDARD GOVERNING A MOTION
Second, Defendant argues that the Court should accept its
                                                                  FOR SUMMARY JUDGMENT
asserted facts as true due to Plaintiff's failure to respond to
                                                                  Under Fed. R. Civ. P. 56, summary judgment is warranted if
its Statement of Material Facts as required by Local Rule
                                                                  “the movant shows that there is no genuine dispute as to any
56.1 because, even though Plaintiff is pro se, she was twice
                                                                  material fact and that the movant is entitled to a judgment as
provided notice of the consequences of failing to do so. (Id.
                                                                  a matter of law.” Fed. R. Civ. P. 56(a). A dispute of fact is
at 5-6.)
                                                                  “genuine” if “the [record] evidence is such that a reasonable
                                                                  jury could return a verdict for the [non-movant].” Anderson
Third, Defendant argues that Plaintiff's claims should be
deemed to have been abandoned because Plaintiff failed to         v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). 2 As for
address or oppose any of Defendant's legal arguments. (Id. at     the materiality requirement, a dispute of fact is “material” if
6-7.)                                                             it “might affect the outcome of the suit under the governing
                                                                  law .... Factual disputes that are irrelevant or unnecessary will
                                                                  not be counted.” Anderson, 477 U.S. at 248.

                  4. Plaintiff's Sur-Reply                        2       As a result, “[c]onclusory allegations, conjecture
 *10 Plaintiff also submitted a sur-reply without the                     and speculation ... are insufficient to create a
permission of the Court. (Dkt. No. 69 [Pl.’s Sur-Reply].)                 genuine issue of fact.” Kerzer v. Kingly Mfg., 156
In this sur-reply, Plaintiff asserts that she was not informed            F.3d 396, 400 (2d Cir. 1998) [citation omitted].


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           As the Supreme Court has explained, “[The non-            76 F.3d 483, 486 (2d Cir. 1996). Rather, as indicated above,
           movant] must do more than simply show that there          the Court must assure itself that, based on the undisputed
           is some metaphysical doubt as to the material             material facts, the law indeed warrants judgment for the
           facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith       movant. Champion, 76 F.3d at 486; Allen v. Comprehensive
           Radio Corp., 475 U.S. 574, 585-86 (1986).                 Analytical Group, Inc., 140 F. Supp.2d 229, 232 (N.D.N.Y.
                                                                     2001) (Scullin, C.J.); N.D.N.Y. L.R. 7.1(b)(3). What the non-
In determining whether a genuine issue of material fact exists,
                                                                     movant's failure to respond to the motion does is lighten the
the Court must resolve all ambiguities and draw all reasonable
                                                                     movant's burden.
inferences against the movant. Anderson, 477 U.S. at 255.
In addition, “[the movant] bears the initial responsibility of
                                                                     For these reasons, this Court has often enforced Local Rule
informing the district court of the basis for its motion, and
                                                                     56.1 by deeming facts set forth in a movant's statement
identifying those portions of the ... [record] which it believes
                                                                     of material facts to be admitted, where (1) those facts are
demonstrate[s] the absence of any genuine issue of material
                                                                     supported by evidence in the record, and (2) the non-movant
fact.” Celotex v. Catrett, 477 U.S. 317, 323-24 (1986).
However, when the movant has met its initial burden, the             has willfully failed to properly respond to that statement 6 –
non-movant must come forward with specific facts showing             even where the non-movant was proceeding pro se. 7
a genuine issue of material fact for trial. Fed. R. Civ. P. 56(a),
(c), (e). 3                                                          6      Among other things, Local Rule 56.1(b) requires
                                                                            that the non-movant file a response to the movant's
3                                                                           Statement of Material Facts, which admits or
           Among other things, Local Rule 7.1(a)(3) requires
           that the non-movant file a response to the movant's              denies each of the movant's factual assertions in
           Statement of Material Facts, which admits or                     matching numbered paragraphs, and supports any
           denies each of the movant's factual assertions in                denials with a specific citation to the record where
           matching number paragraphs, and supports any                     the factual issue arises. N.D.N.Y. L. R. 56.1(b).
           denials with a specific citation to the record where      7
                                                                            Cusamano, 604 F. Supp. 2d at 427 & n.6 (citing
           the factual issue arises. N.D.N.Y. L. R. 7.1(a)(3).
                                                                            cases).
Implied in the above-stated burden-shifting standard is the
                                                                     Similarly, in this District, where a non-movant has willfully
fact that, where a non-movant willfully fails to respond to a
                                                                     failed to respond to a movant's properly filed and facially
motion for summary judgment, a district court has no duty to
                                                                     meritorious memorandum of law, the non-movant is deemed
perform an independent review of the record to find proof of
                                                                     to have “consented” to the legal arguments contained in that
a factual dispute–even if that non-movant is proceeding pro
                                                                     memorandum of law under Local Rule 7.1(a)(3). 8 Stated
se. 255 (This is because the Court extends special solicitude
                                                                     another way, when a non-movant fails to oppose a legal
to the pro se litigant by ensuring that he or she has received
                                                                     argument asserted by a movant, the movant may succeed
notice of the consequences of failing to properly respond
                                                                     on the argument by showing that the argument possess
to the motion for summary judgment.). 4 As has often been            facial merit, which has appropriately been characterized as
recognized by both the Supreme Court and Second Circuit,             a “modest” burden. See N.D.N.Y. L.R. 7.1(a)(3) (“Where a
even pro se litigant must obey a district court's procedural         properly filed motion is unopposed and the Court determined
rules. 5                                                             that the moving party has met its burden to demonstrate
                                                                     entitlement to the relief requested therein ....”); Rusyniak
4                                                                    v. Gensini, 07-CV-0279, 2009 WL 3672105, at *1, n.1
           Cusamano v. Sobek, 604 F. Supp. 2d 416, 426 &
           n.2 (N.D.N.Y. 209) (Suddaby, J.) (citing cases).          (N.D.N.Y. Oct. 30, 2009) (Suddaby, J.) (collecting cases);
                                                                     Este-Green v. Astrue, 09-CV-0722, 2009 WL 2473509, at
5
           Cusamano, 604 F. Supp. 2d at 426-27 & n.4 (citing         *2 & n.3 (N.D.N.Y. Aug. 7, 2009) (Suddaby, J.) (collecting
           cases).                                                   cases).
 *11 Of course, when a non-movant willfully fails to respond
to a motion for summary judgment, “[t]he fact that there has         8
                                                                            See, e.g., Beers v. GMC, 97-CV-0482, 1999
been no [such] response ... does not ... [by itself] mean that              U.S. Dist. LEXIS 12285, at *27-31 (N.D.N.Y.
the motion is to be granted automatically.” Champion v. Artuz,              March 17, 1999) (McCurn, J.) (deeming plaintiff's


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       failure, in his opposition papers, to oppose several       Contents and Authorities); In re Marina Dev., Inc., 05-
       arguments by defendants in their motion for                CV-1349, 2007 WL 9752855, at *1-2 (N.D.N.Y. Jan. 11,
       summary judgment as consent by plaintiff to the            2007) (Hurd, J.) (noting that the Local Rules applied to brief
       granting of summary judgment for defendants with           format in bankruptcy cases, and concluding that the appellees’
       regard to the claims that the arguments regarded,          briefs should therefore not exceed 25 pages, “exclusive of
       under Local Rule 7.1[b][3]; Devito v. Smithkline           pages containing the table of contents, table of citations or
       Beecham Corp., 02-CV-0745, 2004 WL 3691343,                similar material”). Additionally, although Plaintiff argues that
       at *3 (N.D.N.Y. Nov. 29, 2004) (McCurn, J.)                Defendant's one-sentence conclusion is “substantive enough
       (deeming plaintiff's failure to respond to “aspect”        to be counted,” the Court disagrees because that conclusion
       of defendant's motion to exclude expert testimony          is merely a brief restatement of Defendant's request that the
       as “a concession by plaintiff that the court should        Court grant its motion to dismiss Plaintiff's Second Amended
       exclude [the expert's] testimony” on that ground).         Complaint that contains no additional substantive argument.
                                                                  (Dkt. No. 58, Attach. 1, at 44 [Def.’s Mem. of Law].) Even
III. ANALYSIS                                                     if the conclusion were considered to be substantive, the
                                                                  proper course of action in this case would be to merely
   A. Whether Plaintiff's Sur-Reply Should Be Stricken            not consider any pages beyond the allowed amount, not
Although Defendant is correct that sur-replies are not            to strike the entire motion as Plaintiff requests. See Helen
permitted under Local Rule 56.1 without permission from           Cross v. Colvin, 16-CV-0111, 2016 WL 7011477, at *4
the Court, the Court finds that whether or not it considers       n.3 (N.D.N.Y. Dec. 1, 2016) (Suddaby, C.J.) (noting that,
Plaintiff's sur-reply is immaterial to the ultimate outcome of    “[b]ecause Plaintiff has exceeded the page limit, the Court
Defendant's motion because the arguments Plaintiff makes          will not consider the arguments contained in pages eleven
within that sur-reply are not meritorious.                        through fifteen of her counsel's reply affidavit”). The Court
                                                                  therefore finds that there is no basis for Plaintiff's arguments
 *12 Plaintiff's argument that she never received the             that Defendant's motion should be denied based on the length
Court's Text Order of December 21, 2020, is unpersuasive.         of its memorandum of law.
As Defendant argues, there is sufficient evidence that
Plaintiff was reasonably apprised of the Court's Text Order       Also unpersuasive is Plaintiff's argument that she has
granting Defendant's request for 10 additional pages for its      prepared a more detailed substantive response to Defendant's
memorandum. (Dkt. No. 48 [noting specifically that a copy         motion (including a response to Defendant's Statement
of the Text Order was served upon Plaintiff via regular           of Material Facts), but has not yet filed her “response
mail].) There is no indication that Plaintiff had changed         in whole” because she has been waiting for this Court's
mailing addresses, that the Text Order had been returned as       “further directions about the allowable length” of Defendant's
undeliverable, or that there has been any difficulty with her     memorandum of law. (Dkt. No. 69 [Pl.’s Sur-Reply].) Even
receiving mail throughout the course of this litigation. (See     considering Plaintiff's pro se status, there is no justification
Dkt. No. 1 [Pl.’s Comp.] [listing her address at the time of      for Plaintiff's blatant failure to comply with the Local Rules
filing in April 2018 as the same address on file with the Court   by essentially ignoring the Court's imposed deadlines and
as her current address].) As a result, there is no reason that    manufacturing her own procedure that she now expects the
Plaintiff should not have reasonably known about the request      Court to follow. Plaintiff was provided with notice that her
for (and grant of) the additional pages.                          response to Defendant's motion for summary judgment was
                                                                  due by February 19, 2021, a notice that she received because
Similarly, Plaintiff's argument that Defendant's motion           she subsequently requested (and was granted) two separate
should be denied because the non-substantive portions of          60-day extensions of time on that deadline, such that her
Defendant's memorandum were in excess of 35 pages is              response was not ultimately due until June 21, 2021. (Dkt.
unavailing. Non-substantive matter such as cover page, table      Nos. 59, 60, 61, 62, 64.) The Notification of the Consequences
of contents, and signature block do not count toward the          of Failing to Respond to a Summary Judgment form that
substantive page limit. See Moore v. Syracuse City Sch. Dist.,    was filed along with Defendant's motion clearly states that
05-CV-0005, 2009 WL 890576, at *2 n.8 (N.D.N.Y. Mar.              a failure to file a proper response to the motion including
31, 2009) (Scullin, J.) (noting that it repaginated plaintiff's   a response to the Statement of Material Facts, copies of
memorandum by starting page one following the Table of            all pertinent record evidence, and a response memorandum



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containing legal arguments could result in dismissal of some
or all of the claims. (Dkt. No. 58, Attach. 2.)                        As a result, the Court denies Defendant's motion to strike the
                                                                       sur-reply because the sur-reply offers Plaintiff no relief even
 *13 Despite being made aware of the need to respond                   if considered.
fully and despite being granted multiple lengthy extensions
to do so, Plaintiff, without any permission or direction from
the Court, chose to instead file a brief “motion” to dismiss             B. Whether Plaintiff's Discrimination Claim Based on
Defendant's memorandum due to an alleged failure to comply               the July 2016 Failure to Hire Must Be Dismissed as
with the page limits in the Local Rules and seemingly                    Untimely
expected (again, without any permission or direction from              After careful consideration, the Court answers this question
the Court) that such counter-motion held the deadline for              in the affirmative for the reasons stated in Defendant's
submitting a substantive response to Defendant's motion in             memorandum of law. (Dkt. No. 58, Attach. 1 [Def.’s Mem.
abeyance. However, Plaintiff's misunderstanding of the rules           of Law].) To those reasons, the Court adds the following
of procedure based on her pro se status do not excuse                  analysis.
her failure to comply with those rules of procedure. See
Alzawahra v. Albany Medical Ctr., 546 F. App'x 53, 54 (2d              “To sustain Title VII or ADEA claims, a plaintiff must file
Cir. 2013) (noting that, “[a]lthough a pro se litigant is entitled     administrative charges with the EEOC within 300 days of the
to a liberal construction of his filings, ... his pro se status does   alleged act of discrimination.” Betterson v. HSBC Bank USA,
not relieve him of his obligation to comply with the relevant          N.A., 661 F. App'x 87, 89 (2d Cir. 2016) (citing Van Zant v.
procedural rules”). This is particularly so given that Plaintiff       KLM Royal Dutch Airlines, 80 F.3d 708, 712 [2d Cir. 1996];
was informed of what she was required to submit in response            Tewksbury v. Ottaway Newspapers, 192 F.3d 322, 328 [2d Cir.
to Defendant's motion, and the consequences for failing to do          1999]). Thus, any conduct that occurred more than 300 days
so.                                                                    before the charge is filed is barred in a federal lawsuit unless
                                                                       an exception applies. Betterson, 661 F. App'x at 89.
Finally, the Court finds that it would not serve the interests
of judicial efficiency to allow Plaintiff to submit any further        Here, Plaintiff filed her complaint with the NYSDHR on
substantive filings in response to Defendant's motion for              July 14, 2017. (Dkt. No. 58, Attach. 12, at 1, 23.) As a
summary judgment at this point. As already noted, Plaintiff            result, only alleged acts of discrimination that occurred on or
was granted an additional 120 days in which to file her                after September 17, 2016, are covered under that complaint.
response. In granting her second request to extend that                Because the failure to hire that Plaintiff alleges occurred in
deadline, the Court stated that no more extensions would be            July 2016, any claim related to that alleged action is barred
granted without documentary evidence that extension was                unless Plaintiff meets one of the defined exceptions to the
warranted due to medical issues, and noted that this case has          300-day requirement.
been pending for more than three years. (Dkt. No. 64 [Text
Order filed Apr. 19, 2021].) Because Plaintiff's response and           *14 Recognized exceptions to the 300-day requirement
sur-reply indicate that her failure to file a full response by         include waiver, estoppel, equitable tolling, or the existence of
the deadline was due to her decision to wait to see what the           a continuing violation. Barr v. Bass Pro Outdoor World, LLC,
Court ruled as to the propriety of the length of Defendant's           17-CV-0378, 2019 WL 6828987, at *9 (N.D.N.Y. Dec. 13,
memorandum rather than due to any medical or other issue,              2019) (Sannes, J.). None of these exceptions are applicable
there is no basis for allowing Plaintiff additional time to            here. There is no apparent basis for applying waiver or
submit a full and proper response. Notably, allowing Plaintiff         estoppel.
to do so would require Defendant to expend additional
time and effort to prepare yet another reply memorandum                As to equitable tolling, a plaintiff must show that (1) she has
despite having already filed a reply and a motion to strike in         been pursuing her rights diligently, but (2) some extraordinary
response to Plaintiff's sur-reply. Lastly, the Court notes that,       circumstance stood in the way and prevented timely filing.
having reviewed the record on this motion, it is unlikely that         Barr, 2019 WL 6828987, at *9 (citing Bolarinwa v. Williams,
providing Plaintiff with additional opportunity to respond to          593 F.3d 226, 231 [2d Cir. 2010]). There is no indication of
Defendant's motion would result in a different outcome on              any circumstances between July 2016 and September 2016
that motion.                                                           that would have prevented her from filing a charge as to the



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allegedly discriminatory failure to hire in July 2016, much          to show that the defendant's explanation is a pretext for
less an extraordinary one.                                           discrimination. Id. As to this last step, “once the [defendant]
                                                                     has made a showing of a neutral reason for the complained
There is also no basis for applying the continuing violation         of action, to defeat summary judgment ... the [plaintiff's]
doctrine here. “Under the continuing violation exception to          admissible evidence must show circumstances that would be
the ... limitations period, if a ... plaintiff files an EEOC         sufficient to permit a rational finder of fact to infer that the
charge that is timely as to any incident of discrimination           [defendant's] employment decision was more likely than not
in furtherance of an ongoing policy of discrimination, all           based in whole or in part on discrimination.” Id. (quoting
claims of discrimination under the policy would be timely            Terry v. Ashcroft, 336 F.3d 128, 137 [2d Cir. 2003]).
even if they would be untimely standing alone.” Chin v. Port
Auth. Of New York & New Jersey, 685 F.3d 135, 156 (2d                 *15 “To establish a prima facie case of discrimination
Cir. 2012). However, “discrete discriminatory acts are not           under Title VII, a plaintiff must demonstrate [the following
actionable if time barred, even when they are related to acts        four elements]: (1) membership in a protected class; (2)
alleged in timely filed charges.” Nat'l R.R. Passenger Corp.         satisfactory job performance; (3) an adverse employment
v. Morgan, 536 U.S. 101, 113 (2002). A discrete act is one           action; and (4) circumstances surrounding the employment
that “necessarily ‘constitutes a separate actionable unlawful        action give rise to an inference of discrimination.”
employment practice’ ” that would be individually actionable,        Fahrenkrug v. Verizon Servs. Corp., 652 F. App.’x 54, 56
such as “termination, failure to promote, denial of transfer, or     (2d Cir. 2016). In this case, Defendant concedes that Plaintiff
refusal to hire.” Chin, 685 F.3d at 157 (citing Morgan, 536          has established the first and third of these requirements, but
U.S. at 114). It is well recognized that discrete acts that fall     disputes that Plaintiff can show that (a) she had satisfactory
outside the limitations period “cannot be brought within it,         job performance, and (b) her termination occurred under
even when undertaken pursuant to a general policy that results       circumstances giving rise to an inference of discrimination.
in other discrete acts occurring within the limitations period.”
Chin, 685 F.3d at 157). Because the alleged failure to hire is a     As to the second element, “[i]n determining whether an
discrete act that was actionable in its own right, the continuing    employee's job performance is satisfactory, courts may—
violation doctrine cannot be used to make it timely.                 as they often must—rely on the evaluations rendered by
                                                                     supervisors,” because “job performance cannot be assessed in
For all of the above stated reasons, the Court finds that the        a vacuum” and “the ultimate inquiry is whether an employee's
portions of Plaintiff's discrimination claims that are based on      performance ‘meets his employer's legitimate expectations.’
the failure to hire her in July 2016 are barred due to her failure   ” Meiri v. Dacon, 759 F.2d 989, 995 (2d Cir. 1985); see
to file a timely charge as to that act and must be dismissed.        Manko v. Deutsche Bank, 554 F. Supp. 2d 467, 477 (S.D.N.Y.
                                                                     2008) (noting that “courts routinely rely on evaluations
                                                                     from the plaintiff's supervisors in determining satisfactory
  C. Whether Defendant's Motion Should Be Granted                    job performance”). Whether performance is satisfactory
  as to Plaintiff's Title VII Claim                                  “depends on the employer's criteria for the performance of
After careful consideration, the Court answers this question         the job—not the standards that may seem reasonable to the
in the affirmative for the reasons stated in Defendant's             jury or judge.” Thornley v. Penton Publishers, 104 F.3d
memorandum of law. (Dkt. No. 58, Attach. 1 [Def.’s Mem.              26, 29 (2d Cir. 1997). “Although courts must refrain from
of Law].) To those reasons, the Court adds the following             intruding into an employer's policy apparatus or second-
analysis.                                                            guessing a business's decisionmaking process, ... they must
                                                                     also allow employees ‘to show that the employer's demands
Claims for discrimination under Title VII are subject to the         were illegitimate or arbitrary.’ ” Meiri, 759 F.2d at 995.
McDonnell Douglas burden-shifting standard. Kirkland v.
Cablevision Systems, 760 F.3d 223, 225 (2d Cir. 2014). As            Here, it is undisputed that Plaintiff was a probationary
an initial matter, the plaintiff must proffer sufficient evidence    trainee employee during the relevant time period, and
to state a prima facie case of discrimination. Kirkland, 760         thus subject to termination if she did not meet employer
F.3d at 225. If the plaintiff can make a prima facie case of         expectations. (Dkt. No. 58, Attach. 3, at ¶ 5 [Arbab
discrimination, the burden shifts to the defendant to provide        Decl.]; Dkt. No. 58, Attach. 9.) Under the terms of this
a legitimate, non-discriminatory reason for its actions. Id. If      probationary trainee employment, her supervisors were
the defendant does so, the burden shift back to the plaintiff


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required to provide an Individual Development Plan and             Farrell provided fairly significant feedback and reminders to
quarterly probationary evaluations as well as traineeship          Plaintiff about her tasks and duties. (Dkt. No. 58, Attachs.
evaluations at six-month intervals during the traineeship          28-33, 39-41, 43, 45-54.) Based on the record before the
period. (Dkt. No. 58, Attach. 3, at ¶ 6 [Arbab Decl.].)            Court, no reasonable factfinder could conclude that Plaintiff
Plaintiff was provided with her Individual Development Plan        performed her job satisfactorily.
(which she acknowledged with a signature) on October 25,
2016; this document outlined activities and performance            In the alternative, the Court finds that Plaintiff also has not
standards for her Grade 14 position. (Dkt. No. 58, Attach.         shown that the circumstances surrounding her termination
5.) On January 6, 2017, Plaintiff was provided with a              give rise to an inference of discrimination. Notably, the
three-month probation evaluation signed by Ms. Pulcher             record is devoid of any indication that any of Defendant's
and Ms. Farrell, in which Plaintiff was rated as “needs            employees ever referenced Plaintiff's national origin during
improvement” in all listed areas except “relationships,”           her employment or made any kind of disparaging remarks
with details related to those areas written in the comments        about her national origin. Additionally, the three employees
section that highlight the specific tasks and ways in which        that Plaintiff holds out as comparators who received
Plaintiff was noted to not be performing up to expected            better treatment because they were not terminated are not
standards. (Dkt. No. 58, Attach. 6.) On April 3, 2017,             sufficiently similar to her to give rise to an inference of
Plaintiff was provided with a six-month probation evaluation       discrimination based on national origin for two reasons. First,
signed by Ms. Pulcher and Ms. Farrell, in which it was             Plaintiff's deposition makes clear that she is not even certain
noted that Plaintiff was rated as “unsatisfactory” in the          what the national origins of these individuals are, but she
areas of management of work assignments, quality of work,          merely assumes that they are “American.” (Dkt. No. 58,
productivity, personal work characteristics, and problem           Attach. 15, at 102-03, 105-06, 109 [Pl.’s Dep.].) Second,
solving/decision-making, “needs improvement” in the areas          there is no evidence to show that these individuals were
of attendance and communications, and “meets expectations”         in comparable positions with comparable responsibilities
in the area of relationships; again, the evaluation includes       and that they made comparable mistakes to those made by
written comments regarding the specific tasks and ways             Plaintiff. To raise an inference of discrimination from more
in which Plaintiff was not performing up to specific               favorable treatment towards similarly situated individuals
expectations. (Dkt. No. 58, Attach. 7.) Plaintiff was also         outside of the protected group, “a plaintiff ‘must show she was
provided with a six-month performance evaluation, in which         similarly situated in all material respects to the individuals
concerns about her performance as to the activities and tasks      with whom she seeks to compare herself.’ ” De Jesus-Hall v.
outlined in the Individual Development Plan were noted.            New York Unified Court Sys., 2021 WL 1259581, at *1 (2d
(Dkt. No. 58, Attach. 8.)                                          Cir. 2021) (quoting Graham v. Long Island R.R., 230 F.3d 34,
                                                                   39 [2d Cir. 2000]).
 *16 Based on the evidence, it is clear both what the standards
of Plaintiff's position were and the reasons that Plaintiff's      As to Ms. O'Hara, although her job tasks and objectives are
performance did not meet those standards. As discussed             similar to Plaintiff's, the evidence shows that Ms. O'Hara was
above in Part I.B. of this Decision and Order, Plaintiff herself   hired as Grade 18 Senior Budget Analyst/Senior Accountant
acknowledged that she made some mistakes in the course             (while Plaintiff was a Grade 14 Senior Accountant Trainee)
of her performance of her duties, and additional evidence          and her performance reviews show that she overwhelmingly
from Ms. Pulcher and Ms. Farrell substantiates multiple            performed tasks up to expectations, with the exception
specific mistakes. (Dkt. No. 58, Attachs. 28-33, 44, 47-54.)       of “needs improvement” on her three-month probation
Additionally, there is nothing in the record to show that          evaluation in the areas of managing work assignments and
these expectations were in any way illegitimate or arbitrary.      problem solving/decision-making, where it was noted that she
Plaintiff has offered no evidence to support her claim but her     needed to improve on working more efficiently to complete
own subjective belief that her performance was not as bad as       her assignments in a timely manner and in completing
her supervisors stated. In an email to Ms. Arbab on April 10,      analyses and problem solving more independently, and
2017, Plaintiff stated that she believed Ms. Pulcher provided      “needs improvement” on her six-month probation evaluation
inadequate training or communication to her; however, there        in the area of problem solving/decision-making, where it was
is no evidence to substantiate this subjective belief and the      noted she needed to improve on completing analyses and
undisputed record reflects that both Ms. Pulcher and Ms.           problem solving more independently; it was noted that she



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had improved in these areas and was meeting expectations by           that the treatment Mr. Shavel received raises an inference of
the time of her nine-month probation evaluation. (Dkt. No.            discrimination.
58, Attach. 58.) The evidence therefore shows that, even if
Plaintiff and Ms. O'Hara performed the same or similar jobs,          Because Plaintiff has not provided evidence which can prove
Ms. O'Hara did so with fewer mistakes and she gradually               a prima facie case of national origin discrimination under
improved her performance over the course of the documented            Title VII and because there is no outstanding issue of material
time, whereas Plaintiff's evaluations showed that she made far        fact evident from the parties’ submissions, the Court grants
more extensive mistakes and did not show improvement. As              Defendant's motion for summary judgment on this claim.
a result, the Court finds that Ms. O'Hara is not sufficiently
similar and thus the disparate treatment between her and
Plaintiff would not allow a reasonable fact finder to infer             D. Whether Defendant's Motion Should Be Granted
discrimination.                                                         as to Plaintiff's ADEA Claim
                                                                      After careful consideration, the Court answers this question
 *17 As to Mr. Deitz, he was a Grade 18 Senior Accountant             in the affirmative for the reasons stated in Defendant's
in a different section or unit than Plaintiff, and his listed tasks   memorandum of law. (Dkt. No. 58, Attach. 1 [Def.’s Mem.
and objectives are not similar to those listed in Plaintiff's         of Law].) To those reasons, the Court adds the following
Individual Development Plan. (Compare Dkt. No. 25, at                 analysis.
21-24 with Dkt. No. 58, Attach. 5, at 1-2; see Dkt. No. 58,
Attach. 15, at 111-12 [Pl.’s Dep.] [testifying that she did not do    “ ‘In order to establish a prima facie case of age
many of the tasks listed on Mr. Deitz's tasks and objectives list     discrimination,’ the plaintiff ‘must show (1) that she was
and admitting that his responsibilities were “different” than         within the protected age group, (2) that she was qualified for
hers].) Additionally, Mr. Deitz was supervised by Melinda             the position, (3) that she experienced adverse employment
Hansen and Michelle Daly, not Ms. Pulcher and Ms. Farrell,            action, and (4) that such action occurred under circumstances
and a summary of his performance completed by Ms. Daly                giving rise to an inference of discrimination.’ ” Green v. Town
indicates that Mr. Deitz performed his job satisfactorily in          of East Haven, 952 F.3d 394, 403 (2d Cir. 2020) (quoting
all noted respects. (Dkt. No. 25, at 24, 26-27.) Because there        Gorzynski v. JetBlue Airways Corp., 596 F.3d 93, 107 [2d
is no evidence that Mr. Deitz was a trainee, the evidence             Cir. 2010]). In this case, Defendant concedes that Plaintiff
shows that he had different job responsibilities and different        has established the first and third of these requirements, but
supervisors than Plaintiff, and there is no evidence of ongoing       disputes that Plaintiff can show that she (a) was qualified
job performance issues, the Court finds that no reasonable fact       for the position, and (b) her termination occurred under
finder could conclude that the treatment Mr. Deitz received           circumstances giving rise to an inference of discrimination.
raises an inference of discrimination.
                                                                      Regarding whether Plaintiff was qualified, under the law of
As to Mr. Shavel, there is little evidence about the details          this Circuit, “a plaintiff only needs to demonstrate that she
of his employment. Plaintiff's only allegation regarding Mr.          possesses the basic skills necessary for performance of the
Shavel is that he was given a counseling memorandum                   job.” Sista v. CDC Ixis N. Am., Inc., 445 F.3d 161, 171
for failing to complete mandatory training, but did not               (2d Cir. 2006) (quoting Owens v. New York City Housing
have his employment terminated. (Dkt. No. 25, at 31.)                 Auth., 934 F.2d 405, 409 [2d Cir 1991]). Notably, although
However, there is no evidence to suggest that Mr. Shavel had          misconduct is not a basis for finding an employee lacks the
engaged in any other actions that made his job performance            basic qualifications for a position, evidence of performance
unsatisfactory, much less that he committed mistakes similar          based on evaluations of an employee's work is appropriate
to those documented related to Plaintiff's job performance.           evidence for making that determination. Owens, 934 F.2d
Additionally, there is no evidence to suggest that Mr. Shavel         at 409 (clarifying that it is the ability to perform job duties
was a trainee employee or that he worked in a similar position        that is important, not whether the conduct is inappropriate
or with similar tasks and objectives as Plaintiff's position,         or offensive); Ralkin v. New York City Transit Auth., 62
and the counseling memorandum suggests that Mr. Shavel                F. Supp. 2d 989, 998 (E.D.N.Y. 1999) (finding summary
was supervised in some way by Ms. Hansen, not Ms. Pulcher             judgment appropriate on the issue of whether the plaintiff was
or Ms. Farrell. (Dkt. No. 25, at 31.) Based on the evidence,          qualified for the position because there was no “competing
the Court finds that no reasonable fact finder could conclude         evidence” against the unsatisfactory performance evaluations
                                                                      to create an issue of fact about the plaintiff's performance,


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and no evidence that the negative evaluations were unfair          person who made the decision to hire, it is difficult to impute
or incorrect). Here, Plaintiff has offered no evidence that        to her an invidious motivation that would be inconsistent with
the performance evaluations were inaccurate other than her         the decision to hire.” Schnabel v. Abramson, 232 F.3d 83, 91
own general assertions at her deposition that she does not         (2d Cir. 2000) (quoting Grady v. Affiliated Cent., Inc., 130
believe they accurately reflect her performance. Because           F.3d 553, 560 [2d Cir. 1997]); see also Downey v. Adloox, Inc.,
her unsubstantiated assertions and beliefs cannot outweigh         789 F. App'x 903, 907 (2d Cir. 2019) (affirming district court's
the other evidence, the Court finds that Plaintiff has not         dismissal of age discrimination claim based in part on the fact
sufficiently shown that there is a genuine dispute of material     that plaintiffs were hired and fired by the same executives
fact about whether she was qualified for her position as that      within a short period of time). Here, Plaintiff's hiring was
term is defined by the law.                                        prompted by a request from Ms. Farrell, and Ms. Farrell
                                                                   also was one of the persons who approved her termination
 *18 Regarding whether Plaintiff has raised an inference           approximately six months later. (Dkt. No. 58, Attach. 25, at
of discrimination, as already discussed above in Part III.C.       ¶¶ 5, 27 [Farrell Decl.].) Although it is unclear who precisely
of this Decision and Order, Plaintiff's attempt to show            had the last authoritative say about Plaintiff's termination,
that she was treated less favorably than younger similarly         Ms. Farrell's involvement in both Plaintiff's hiring and firing
situated individuals is unavailing. Notably, it is undisputed      is a factor to consider in determining whether the evidence
that Ms. O'Hara was the only individual of the three               can be reasonably interpreted as raising an inference of
named that was not as old or older than Plaintiff. However,        discrimination based on age.
as discussed previously, Ms. O'Hara is nonetheless not
sufficiently similarly situated to Plaintiff because there is no   Unlike the national origin claim, which is unsupported by
evidence that Ms. O'Hara made the same or similar mistakes         any evidence of statements made by Plaintiff's supervisors
as Plaintiff did at the level and frequency at which Plaintiff     about her or other employee's national origins, there is a
made those mistakes. Rather, the evidence shows that Ms.           genuine dispute of material fact as to whether Ms. Pulcher
O'Hara was reported to have made fewer overall mistakes            made comments to Plaintiff about certain other employees
and that she improved with each probation evaluation that          being too old to do their jobs effectively. Plaintiff asserts
was conducted. It is undisputed that Plaintiff is not personally   that Ms. Pulcher made such comments, while Ms. Pulcher
familiar with Ms. O'Hara or her work abilities, and that           denies making such comments. It is undisputed that the
Plaintiff has no knowledge as to how well or not Ms.               two employees about whom Ms. Pulcher allegedly made the
O'Hara performed her job on a day-to-day basis. As a result,       comments were at, near, or beyond retirement age, while
disparate treatment here does not give rise to an inference of     Plaintiff was 45 at the time she was employed by Defendant.
discrimination based on Plaintiff's age any more than it does      (Dkt. No. 58, Attach. 15, at 114-18 [Pl.’s Dep.] [testifying
related to her national origin.                                    that Ms. Pulcher said that the employees in question did
                                                                   not know what they were doing and should have retired].)
The Court also acknowledges Defendant's correct argument           However, even if a fact finder were to accept Plaintiff's
that many courts recognize that “an allegation that a              testimony that Ms. Pulcher made these comments, it would
decision is motivated by age animus is weakened when the           be insufficient to raise an inference of discrimination in light
decisionmakers are of the protected class,” and also where         of all of the other evidence, including the fact that Ms. Farrell
“Plaintiff was well within the protected age group when she        (who was not alleged to have made any comments about
was hired.” Ehrbar v. Forest Hills Hosp., 131 F. Supp. 3d 5,       age) was personally aware of Plaintiff's work performance
25 (E.D.N.Y. 2015) (collecting cases). However, these factors      through working directly with her, and also signed Plaintiff's
are not dispositive. Ehrbar, 131 F. Supp. 3d at 26. Here,          probationary evaluations and recommended her termination.
Plaintiff was within the protected age group when she was          Put another way, even if Ms. Pulcher had made comments
hired, and Ms. Farrell, who was 50 at the relevant time,           suggesting possible age bias, those comments and any
approved her termination, as did Ms. Burrell, who was 48           inference of discrimination on her part cannot be imputed
at the relevant time. (Dkt. No. 58, Attach. 3, at ¶ 13 [Arbab      to Ms. Farrell in the absence of evidence she was aware
Decl.]; Dkt. No. 58, Attach. 25, at ¶¶ 5, 29 [Farrell Decl.].)     of any bias Ms. Pulcher may have held, particularly given
Ms. Pulcher, however, was not in the protected age group.          that Ms. Farrell was directly and independently familiar with
(Dkt. No. 58, Attach. 3, at ¶ 13 [Arbab Decl.].) Additionally,     Plaintiff's performance issues. As a result, the Court finds that
“where the person who made the decision to fire was the same       Plaintiff has not established that a reasonable fact finder could



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                                                                       evidence discussed above related to Plaintiff's failure to show
conclude there was an inference of discrimination even if they
                                                                       an inference of discrimination. No reasonable fact finder
resolved the issue about Ms. Pulcher's comments in Plaintiff's
                                                                       could conclude that Plaintiff would not have been terminated
favor.
                                                                       despite her performance reviews if not for her age.
 *19 In the alternative, even if a reasonable fact finder
                                                                       Because Plaintiff cannot establish a prima facie case
could conclude that Plaintiff was qualified and Ms. Pulcher's
                                                                       and cannot show that her age was the but-for cause of
statements raised an inference of discrimination, denial of
                                                                       her termination, the Court grants Defendant's motion for
summary judgment is inappropriate here because Plaintiff
                                                                       summary judgment on this claim.
cannot meet her ultimate burden to show that Defendant's
proffered non-discriminatory explanation (i.e., that Plaintiff's
                                                                       ACCORDINGLY, it is
performance was poor) was a pretext for discrimination. To
establish a claim for discrimination under the ADEA, the
                                                                       ORDERED that Defendant's motion for summary judgment
plaintiff “must prove, by a preponderance of the evidence,
                                                                       (Dkt. No. 58) is GRANTED; and it is further
that age was the ‘but-for’ cause of the challenged adverse
employment action and not just a contributing or motivating
                                                                       ORDERED that Plaintiff's claims for national origin and
factor.” Green, 952 F.3d at 403 (citing Gorzynski, 596 F.3d
                                                                       age discrimination pursuant to Title VII and the ADEA are
at 106). In other words, Plaintiff's age does not need to have
                                                                       DISMISSED; and it is further
been the only consideration, but rather she still must show
that she would not have been terminated without her age
                                                                       ORDERED that Plaintiff's Second Amended Complaint
being considered. Perez v. Cnty of Rensselaer, New York,
                                                                       (Dkt. No. 25) is DISMISSED.
14-CV-0950, 2018 WL 3420014, at *4 (N.D.N.Y. July 13,
2018) (Sharpe, J.) (citing Delaney v. Bank of Am. Corp., 766
F.3d 163, 169 [2d Cir. 2014]). A few isolated comments that            All Citations
were not even directed at Plaintiff are insufficient to allow
a reasonable fact finder to conclude that Plaintiff's age was          Not Reported in Fed. Supp., 2021 WL 3674745
the but-for cause of her termination in light of all of the

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                                                                           Officer Charles Barberi (“Barberi), Deputy
                    2000 WL 1538019                                        Chief George Brown (“Brown”), Officer
      Only the Westlaw citation is currently available.                    Kevin Brunner (“Brunner”), Chief Wilbur
       United States District Court, S.D. New York.                        Chapman (“Chapman”), Officer Kevin Craig
                                                                           (“Craig”), Officer Dominick De Lorenzo
    UNIVERSAL CALVARY CHURCH, et al., Plaintiffs,                          (“De Lorenzo”), Deputy Inspector Patrick
                      v.                                                   Devlin (“Devlin”), Officer Richard Difede
        CITY OF NEW YORK, et al., Defendants.                              (“Difede”), Officer Chris Lesiewicz (“Lesiewicz”),
                                                                           Deputy Commissioner Jack Maple (“Maple”),
          No. 96CIV.4606(RPP)99CIV, 99CIV.9228,                            Officer    Michael      Moloney        (“Moloney”),
          99CIV.9227, 99CIV.12193, 99CIV12182,                             Officer Brian O'Connor (“O'Connor”), Officer
          99CIV.12236, 99CIV.12247, 99CIV.9230.                            James O'Hagan (“O'Hagan”), Officer Alex
                              |                                            Papagiannis (“Papagiannis”), Sergeant Phillip
                       Oct. 17, 2000.                                      Parrish (“Parrish”), Officer Patrick Prendergast
                                                                           (“Prendergast”), Sergeant Walter Picht (“Picht”),
Attorneys and Law Firms                                                    Officer Eric Single (“Single”), Detective Joanne
                                                                           Toole (“Toole”), Officer John Webber (“Webber”),
Rheingold, Valet, Rheingold & Shkolnik, P.C., New York, By
                                                                           and Detective Denis Wiencko (“Wiencko”). For
Paul D. Rheingold, Esq., Terrence McCartney, Esq., The Law
                                                                           the purposes of this opinion, all of the Defendants'
Office of Ronald L. Kuby, New York, By Ronald L. Kuby,
                                                                           names have been spelled according to the master
Esq., Daniel M. Perez, Esq., Counsel for Plaintiffs.
                                                                           list dated October 10, 2000, that Corporation
Michael D. Hess, Corporation Counsel for the City of New                   Counsel provided to the Court.
York, New York, By Norma Kerlin, Esq., Charles Horn,                On January 9, 1998, the Court denied the UCC's motion
Counsel for Defendants.                                             for class certification and ordered each individual Plaintiff
                                                                    to file individual complaints. After some delay, Plaintiffs'
                                                                    counsel filed individual complaints and, for some individuals,
                           OPINION                                  amended complaints, ending on or about December 21, 1999.
                                                                    All the complaints, rather than constituting individualized
PATTERSON, D.J.                                                     complaints, by and large, contain the same causes of action
                                                                    and name all the same Defendants as did the proposed
 *1 This Opinion rules on in limine summary judgment
                                                                    class action complaint. Defendants have now moved for
motions made in eleven separate cases, all of which have been
                                                                    summary judgment with respect to each of the complaints
grouped together and identified as Group A–1 cases for the
                                                                    filed. 3 Most of the complaints contain some or all of the
purposes of trial. 1 The original action, Universal Calvary
                                                                    following claims against various Defendants: 1) excessive
Church, et al. v. The City of New York, et al., 96 Civ. 4606, was
                                                                    force (physical acts and noxious gas) under 42 U.S.C. § 1983,
commenced as a class action encompassing numerous claims
                                                                    in violation of the Fourth and Fourteenth Amendments; 2)
concerning events that occurred on August 20 and August 21,
                                                                    false arrest and imprisonment under 42 U.S .C. § 1983, in
1995 between over two hundred Plaintiffs, all members of the
                                                                    violation of the Fourth and Fourteenth Amendments; 3) denial
Universal Calvary Church (“UCC”), and Defendants, twenty-
                                                                    of medical treatment under 42 U.S.C. § 1983 in violation
two individually named police officers, officials of the City
                                                                    of the Fourteenth Amendment; 4) failure to intervene or
of New York, and a number of unidentified defendants. 2 The         protect Plaintiffs under 42 U.S.C. § 1983 in violation of the
parties have completed discovery.                                   Fourth and Fourteenth Amendments; 5) failure to properly
                                                                    supervise under 42 U.S .C. § 1983 in violation of the Fourth
1                                                                   and Fourteenth Amendments; 6) unlawful retaliation under
        Keith Williams was originally designated as a
        Plaintiff in Group A–1 but has since been                   42 U.S.C. § 1983 for exercise of Plaintiff's right to free
        reassigned to an as yet undetermined group.                 exercise of his religion in violation of the First Amendment;
                                                                    7) municipal liability for policies, customs, and practices
2       The twenty-two named Defendants are as                      causing the aforesaid unconstitutional conduct; 8) malicious
        follows: Chief Louis Anemone (“Anemone”),                   prosecution under State common law; 9) assault and battery


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(physical acts and noxious gas) under State common law;
10) false arrest and imprisonment under State common law;           5      Voluminous motions, papers, exhibits, and
11) intentional infliction of emotional distress under State               documents have been submitted in this case. This
common law; 12) negligent infliction of emotional distress
                                                                           footnote is to explain the various citations used
under State common law; 13) conspiracy under State common                  throughout the Opinion. When citing to papers
law; 14) negligence under state common law; 15) negligence                 submitted on behalf of all the Plaintiffs, the citation
by City of New York in hiring, screening detention, and                    will be to “Pls.' Gen. 56.1 Stmt.¶ 1” or “Pls.'
supervision under State law; 16) respondeat superior liability             Mot. in Opp. at 1.” When citing to papers for the
against the City for state law violations; and (17) prima facie            Defendants, the name of the particular Plaintiff will
tort. The liability of the City of New York for state and federal
                                                                           also be designated, as in “Defs.' Mem. in Supp.
constitutional violations and negligent hiring, screening,                 Bennett at 1” or “Defs.' Reply Mem. Bennett at 1.”
retention, supervision, and training has been severed and is                  In referencing the 56.1 statement, the
not at issue in this first trial. (Order dated May 31, 2000.) 4               Defendants' Statements are cited when they
On July 19, 2000, all Plaintiff withdrew all of their prima                   are admitted by Plaintiffs or not properly
facie tort claims and withdrew all claims as against Brown.                   denied by Plaintiffs together with reference to
(McCartney Decl. ¶¶ 10–11.)                                                   evidentiary support. (For example, “Defs.' 56.1
                                                                              Stmt. Bennett ¶ 1.” is cited as an admission of
3                                                                             the statement if both sides agree.) If the Plaintiff
        The Defendants have made summary judgment
        motions for almost every Defendant on almost                          denies a statement in accordance with R. 56.1,
        every claim of every Plaintiff. The individual                        then the citation to the denial is, “Bennett's Resp.
        complaints submitted by the Plaintiffs are, in                        to Defs.' 56.1 Stmt. ¶ 1.” A citation to the
        some and substance, a regurgitation of the initial                    Plaintiff's separate 56.1 Statements is “Bennett's
        class claim that was denied. They lack the                            56.1 Stmt. ¶ 1.” The same is true for citations
        specificity of claims based on their individual                       to exhibits attached to the submitted statements.
        factual situation that was the very reason for                        (For example, “Defs.' 56.1 Stmt. Bennett, Ex. 1,
        denying class certification. The extensive summary                    at 1” or “Bennett's 56.1 Stmt., Ex. 1, at 1.”) It was
        judgment motions are, therefore, necessary to get                     often necessary to look to the exhibits directly for
        the individual complaints into the proper form for                    support because the parties, at times, misstated
        the long scheduled trial.                                             the evidence in their 56.1 Statements.

4       Upon consent of the parties, the May 31, 2000
                                                                    Statement of Background Facts 6
        Order servered all of the Plaintiffs' Monell and            6
        negligent supervision etcetera claims. (May 31,                    Federal Rule of Civil Procedure 56(e) states:
        2000 Order ¶ 1.) As to the Plaintiffs' claims                          When a motion for summary judgment is
        of respondeat superior liability of the City for                       made and supported as provided in this rule,
        state law violations, the Court held, “In view of                      an adverse party may not rest upon the mere
        defendants' failure to respond to plaintiffs' letter                   allegations or denials of the adverse party's
        dated April 13, 2000, defendants are deemed to                         pleadings, but the adverse party's response, by
        have stipulated that each individual defendant                         affidavits or as otherwise provided in this rule,
        police officer was acting within the scope of his/her                  must set forth specific facts showing that there
        employment and that any verdict against any police                     is a genuine issue for trial.
        officer will permit a judgment to be entered against                 Furthermore, the Southern District of New York
        the City of New York on the theory of respondeat                     Local Rule 56.1 states:
        superior.” (Id.)                                                       (a) Upon any motion for summary judgment
                                                                               pursuant to Rule 56 of the Federal Rules of
 *2 The general factual section below presents an overview                     Civil Procedure, there shall be annexed to the
of the case. To the extent that each individual Plaintiff has                  notice of motion a separate, short and concise
facts specific to his or her own case, they are outlined                       statement of the material facts as to which
separately. 5                                                                  the moving party contends there is no genuine



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            issue to be tried. Failure to submit such a                   statement based upon the factual record” is not
            statement may constitute grounds for denial of                a sufficient response to establish a disputed fact.
            the motion.                                                   Local Rule 56.1 clearly states that the moving
            (b) The papers opposing a motion for                          party's 56.1 statement “will be deemed to be
            summary judgment shall include a separate,                    admitted unless controverted,” Rule 56.1(c), and
            short and concise statement of the material                   requires that such denials be supported by a
            facts as to which it is contended that there                  specific citation to admissible evidence, Rule
            exists a genuine issue to be tried.                           56.1(d). As such, any of the Defendants' 56.1
            (c) All material facts set forth in the statement             Statements that Plaintiffs do not specifically
            required to be served by the moving party will                deny and support such denial with specific
            be deemed to be admitted unless controverted                  evidence, and any of Plaintiffs' 56.1 Statements
            by the statement required to be served by the                 not supported by reference to specific evidence,
            opposing party.                                               will be deemed admitted for purposes of this
            (d) Each statement of material fact by                        summary judgment motion. See Fed.R.Civ.P. 56;
            a movant or opponent must be followed                         Local Civ. R. 56.1; see also Millus v. D'Angelo,
            by citation to evidence which would be                        No. 00–7001, 2000 WL 1283747, at *1 (2d Cir.
            admissible, set forth as required by Federal                  Sept. 12, 2000) (noting that the district court
            Rule of Civil Procedure 56(e).                                properly “granted summary judgment in favor of
         In this case, Plaintiffs' papers are woefully short              defendants following Millus's failure to deny, in
         of specific facts and evidence to support their                  accordance with Rule 56.1 of the court's local
         various claims. Despite the clear language of                    rules” various allegations of the defendants);
         Rule 56 requiring specificity, Plaintiffs rarely                 Cooper v. Gottlieb, No. 95 Civ. 10543(JGK),
         offers an exact cite in support of their version                 2000 WL 1277593, at *4 (S.D.N.Y. Sept. 8,
         of the facts. In a majority of the allegations,                  2000) (holding that a denial without evidence to
         rather than citing to a particular paragraph of                  support the denial is “conclusory” and “wholly
         the Plaintiff's individual 56.1 statements or citing             inadequate under Local Civil Rule 56.1(d)”);
         to a particular exhibit, Plaintiffs simply cite to               Wenzhou Wanli Food Co., Ltd., v. Hop Chong
         “Plaintiffs' General Rule 56.1 Statement and                     Trading Co., Inc., No. 98 Civ. 5045(JFK), 2000
         Exhibits.” Given that the General Rule 56.1                      WL 964944, at *3 (S.D.N.Y. July 11, 2000)
         Statement is nonspecific and designed to be                      (noting that “[u]nsupported allegations will not
         a general description for all 21 of the Group                    suffice” in responding to a motion for summary
         A Plaintiffs, and given that 116 exhibits are                    judgment); Aztar Corp. v. N.Y. Entertainment,
         attached to this general statement, a vague cite to              LLC, 15 F.Supp.2d 252, 254 n. 1 (E.D.N.Y.1998)
         all of the exhibits is simply unacceptable. This                 (noting that “Defendants' 56.1 Statement is
         places an immense burden on the Court to sift                    replete with responses of ‘lack knowledge or
         through enormous amounts of evidence without                     information sufficient to either admit or deny.’
         any guidance or direction from the Plaintiffs as to              Defendants have not created any issue of fact
         what evidence in particular, if any, supports their              through this artifice.”), aff'd 210 F.3d 354 (2d
         claims. Furthermore, the inadequacy of citations                 Cir.2000).
         by the Plaintiffs is a main reason for both the
                                                                The Plaintiffs in this case are some of a large number of
         problems in sorting out the disputed facts and
                                                                persons who attended an outdoor revival meeting at the
         the difficulty in deciding the motions. Overall,
                                                                Universal Calvary Church, an evangelical fundamentalist
         Plaintiffs have failed to satisfy the requirements
                                                                church, on Sutphin Boulevard in Queens County, New York,
         of responding to a summary judgment motion as
                                                                on August 20, 1995. During the service, a physical altercation
         defined by Fed.R.Civ.P. 56 and Local R. 56.1.
                                                                arose when a retired police detective named Clifford Warsop,
         In addition, as Defendants point out in their
                                                                tried to enter the church grounds. 7 During the altercation
         September 13, 2000 Letter from Norma Kerlin
                                                                with several church ushers, Warsop's gun was taken, and he
         (“Kerlin Letter, 9/13/00”), an answer that
                                                                was injured.
         “Plaintiff can neither admit nor deny this



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7                                                                   fenced and had a gate which was closed. During this time,
        Warsop is the estranged common law husband of a
                                                                    mace was used by the police around the gate. A helicopter
        UCC member, Ms. Angela Pennicooke. (Pls.' Gen.
                                                                    hovered overhead.
        56.1 Stmt., Ex. 27A, ¶ 3; Defs.' 56 .1 Stmt. Bennett,
        Ex J, ¶ 3.) Warsop attempted to enter the revival to
                                                                    Thereafter, Anemone, Maple, Chapman, and Devlin from the
        visit his children. (Pl.s' Gen. 27A, ¶ 3; Defs.' 56.1
                                                                    Police Department arrived, and the pastor of the church had
        Stmt. Bennett, Ex. J, ¶ 2.) Warsop apparently is not
                                                                    several talks with one or more of the police executives. The
        and has never been a UCC member. (Pls.' Gen. Ex.
                                                                    pastor and police executives finally reached an agreement that
        27A, ¶ 3; Defs.' 56.1 Stmt. Bennett, Ex. J, ¶ 3.) He is
                                                                    remaining members of the congregation and the police force
        not a party to this or any other lawsuit in connection
                                                                    could leave. They left around 4 a.m.
        with the events of August 20–21, 1995.
A member of the congregation called 911 and reported “man            *3 Because of the similar legal claims made by each of the
with a gun.” Defendants Barberi and Difede responded to             eleven Plaintiffs, this opinion will outline the elements of each
the 911 call in a police car, called an ambulance for Warsop,       cause of action and analyze the law in the claims for the initial
retrieved the gun, tried to find out what happened, and called      Plaintiffs. As the opinion progresses to later Plaintiffs, it will
for supervisory assistance. A supervisory sergeant arrived and      present the specific factual situations of that Plaintiff and then
was denied interview with the church ushers, as the revival         refer to the legal analysis conducted in previous sections.
meeting was still going on. The sergeant and his supervisor
determined that no arrests should be made at that time.

Barberi accompanied Warsop in the ambulance to the Mary                                        Discussion
Immaculate Hospital, and then returned to his precinct. He
                                                                    Summary Judgment Standards
was ordered to give a report of the incident to detectives for
                                                                    Rule 56(c) requires summary judgment if “the pleadings,
investigation. He did that, and defendants Detectives Toole
                                                                    depositions, answers to interrogatories, and admissions on
and Wiencko were assigned to the case. They went with
                                                                    file, together with the affidavits, if any, show that there is
Barberi to the hospital where Toole conducted an interview
                                                                    no genuine issue as to any material fact and that the moving
of Warsop. Warsop was discharged from the hospital and
                                                                    party is entitled to judgment as a matter of law.” Fed.R.Civ.P.
expressed a desire to identify the persons he said had
                                                                    56(c); Transco Prods., Inc. v. Performance Contracting, Inc.,
participated in the attack on him. He had twenty-three stitches
                                                                    38 F.3d 551, 555 (2d Cir.1994). The moving party has the
around one of his eyes.
                                                                    burden of clearly establishing the absence of any triable
                                                                    issue of fact. See Celotex Corp. v. Catrett, 477 U.S. 317,
Toole, Wiencko, Barberi, and Warsop went back to the
                                                                    327 (1986). Pointing to the absence of necessary evidence
church. It was about 11:20 p.m., and the revival meeting had
                                                                    can satisfy the movant's burden on summary judgment. See
just ended. The detectives' car went around the block, and
                                                                    id. at 325; Goenaga, 51 F.3d at 18. Once the moving party
Warsop identified Nedley Walters, a plaintiff in a related case,
                                                                    offers specific evidence or identifies the lack of evidence to
as one who head-butted him and plaintiff Horace Gordon as
                                                                    support his or her motion, the burden shifts to the opposing
the man who had taken his gun.
                                                                    party to offer some evidence beyond the initial pleadings.
                                                                    See Celotex, 477 U.S. at 324 (“Rule 56(e) permits a proper
Detectives Toole and Wiencko approached Gordon and an
                                                                    summary judgment motion to be opposed by any of the kinds
altercation occurred. When they attempted to arrest Gordon,
                                                                    of evidentiary materials listed in Rule 56(c), except the mere
a large number of persons from the congregation came to
                                                                    pleadings themselves, and it is from this list that one would
his assistance, and another altercation occurred. The officers
                                                                    normally expect the nonmoving party to make the showing
made radio calls for assistance and many police arrived.
                                                                    to which we have referred.”); Williams v. Smith, 781 F.2d
Also, a police mobilization alert was announced. Plaintiffs
                                                                    319, 323 (2d Cir.1986) (“When, however, a party moves for
Gordon, Cornelius Caliz, Oneil Thompson, Michael Bennett,
                                                                    summary judgment, and documents his motion, setting forth
Woodrow Campbell, and two men who are not plaintiffs in
                                                                    specific facts denying the claims, the opposing party must,
this trial, were arrested. Several other plaintiffs were injured.
                                                                    ‘set forth specific facts showing that there is a genuine issue
During the altercation, blows were struck and mace or pepper
                                                                    for trial.’ Mere conclusory allegations or denials will not
spray was used. More police arrived, and the members of the
                                                                    suffice.” (internal quotations omitted)).
congregation ran back into the church grounds, which were


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                                                                  actions are ‘objectively reasonable’ in light of the facts and
To survive summary judgment, the nonmoving party must             circumstances confronting them.” Id. at 397.
identify specific evidence that shows a genuine issue of
material fact, not simply any factual dispute. See Anderson v.    Here, Gordon's deposition testimony raises a genuine issue of
Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986); Paragon         material fact as to whether the arresting officers, 8 particularly
Podiatry Laboratory, Inc. v. KLM Laboratories, Inc., 984 F.2d     Barberi and Toole, used excessive force and whether the
1182, 1184–85 (2d Cir.1993). All inferences drawn from the        other arresting officers either used excessive force themselves
underlying facts must be viewed in the light most favorable       or should have intervened to prevent Barberi's and Toole's
to the nonmoving party, see Transco, 38 F.3d at 555, and          excessive use of force to effect the arrest. In his deposition,
summary judgment will be precluded “if the evidence is            Gordon testified that the officers approached him from behind
such that a reasonable jury could return a verdict for the        and did not identify themselves. (Gordon's 56.1 Stmt. ¶ 8.)
nonmoving party.” Anderson, 477 U.S. at 248; Cas–Cath Inc.        Gordon has made specific allegations of the use of excessive
v. Mahurkar, 935 F.2d 1555, 1560 (2d Cir.1991).                   force against Toole, Barberi, Wiencko, and Moloney. (Id.
                                                                  ¶¶ 8–13.) Crediting the Plaintiff's version of events for the
                                                                  purpose of summary judgment motions, a genuine dispute
                  Horace Gordon's Claims                          exists regarding the way in which these Defendants arrested
                                                                  Gordon and the amount of force they used.
I. Excessive Force Claims (physical acts)
In his Complaint, Plaintiff Gordon alleges, “The conduct          8       Toole is listed as the official arresting officer
and actions of defendants Barberi, Parrish, Toole, Wiencko,
                                                                          on the police paperwork. The other Defendants,
and Moloney, acting individually and in concert with each
                                                                          with the exception of Parrish, were involved in
other, acting under color of law, in assaulting plaintiff by
                                                                          restraining and apprehending Gordon. Plaintiff
pushing, hitting, striking, grabbing, dragging, choking him
                                                                          offers no evidence that Parrish was involved in or
with a nightstick, was done intentionally, maliciously, with
                                                                          present during the arrest of Gordon.
a deliberate indifference and/or with a reckless disregard for
the natural and probable consequences of his acts, was done       The question of whether or not these Defendants' actions,
without lawful justification or reason, and was designed to       from an objective point of view, were so unreasonable as to
and did cause specific and serious harm, pain and suffering       constitute excessive force is a question for the jury. Summary
in violation of plaintiff's Constitutional rights as guaranteed   judgment is denied as to Barberi, Toole, Wiencko, and
under 42 U.S.C. § 1983, and the Fourth and Fourteenth             Moloney on the claim of excessive force. Summary judgment
Amendments to the United States Constitution.” (Gordon            is granted as to Defendant Parrish. Plaintiffs do not offer
Compl. ¶ 101.) Defendants move for summary judgment on            any evidence connecting Parrish with the arrest or allegations
Gordon's claim of excessive force. The motion for summary         of force. There is no showing that he was involved in or
judgment is denied as to Defendants Barberi, Toole, Wiencko,      even present at the time the arrest or use of force occurred. 9
and Moloney, and the motion for summary judgment is               Given the absence of evidence connecting Parrish to the use
granted as to Defendant Parrish.                                  of excessive force against Gordon, summary judgment is
                                                                  granted on Gordon's excessive force claim as to Parrish.
 *4 It is undisputed that Gordon's claims of excessive
force originate from actions he alleges the Defendants took       9       According to Parrish's deposition, when he arrived
in an effort to arrest him. Therefore, Gordon's claims for
                                                                          at the scene at 11:20 p.m., four arrests were already
excessive force arise under the Fourth Amendment of the
                                                                          made. (Pls.' Gen. 56.1 Stmt ., Ex. 19, at 102–03,
Constitution. See Graham v. Connor, 490 U.S. 386, 395
                                                                          09.) Plaintiffs point to no evidence to the contrary.
(1989) (holding that “all claims that law enforcement officers
have used excessive force—deadly or not—in the course
                                                                  II. False Arrest and False Imprisonment Claim
of an arrest, investigatory stop, or other ‘seizure’ of a free
                                                                  In his Complaint, Gordon alleges, “The conduct and actions
citizen should be analyzed under the Fourth Amendment
                                                                  of defendants Parrish, Toole, Wiencko, Barberi, and Moloney,
and its ‘reasonableness' standard”). The test for excessive
                                                                  acting individually and in concert with each other, acting
force under the Fourth Amendment is “whether the officers'
                                                                  under color of law, in arresting and imprisoning plaintiff
                                                                  without probable cause, was done intentionally, maliciously,


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with a deliberate indifference and/or with a reckless disregard     for false arrest,’ whether that action is brought under state
for the natural and probable consequences of his acts, was          law or under § 1983.” (quoting Bernard v. United States, 25
done without lawful justification or reason, and was designed       F.3d 98, 102 (2d Cir.1994))). Thus, if the police had probable
to and did cause specific and serious harm, pain and suffering      cause to arrest Gordon, his claim for false arrest must fail
in violation of plaintiff's Constitutional rights as guaranteed     against all Defendants. See Singer, 63 F.3d at 118; Bernard,
under 42 U.S.C. § 1983, and the Fourth and Fourteenth               25 F.3d at 102–03. The burden of establishing the existence of
Amendments to the United States Constitution.” (Gordon              probable cause for an arrest is on the Defendants. See Raysor
Compl. ¶ 104.) Defendants argue that Gordon's claim of false        v. Port Auth., 768 F.2d 34, 39–40 (2d Cir.1985); Broughton,
arrest and imprisonment must be dismissed against Toole,            373 N.Y.2d at 94–95; Williams v. Moore, 602 N.Y.S.2d 199,
Wiencko, Barberi, Moloney, and Parrish because Toole, who           201–202 (2d Dep't 1993).
initiated the arrest of Gordon, had probable cause to arrest
and detain him and because the other police officers, who           The police have probable cause to arrest a person “when
participated in the arrest of Gordon, assisted her in the lawful    the officers have knowledge or reasonably trustworthy
exercise of her duties. Gordon argues that Defendants lacked        information of facts and circumstances that are sufficient
probable cause to arrest him because Warsop's account of an         to warrant a person of reasonable caution in the belief that
assault and robbery was not sufficiently trustworthy, and the       the person to be arrested has committed or is committing a
Defendants were not reasonable in relying on it.                    crime.” Weyant, 101 F.3d at 852; Singer, 63 F.3d at 118–19.
                                                                    Whether or not an officer had probable cause to make an
 *5 The Second Circuit has held that a false arrest claim           arrest is a question of what the officer knew at the time of the
arising under § 1983 is “substantially the same” as a false         arrest and whether she or he was reasonable in relying on that
arrest claim arising under state law. See Weyant v. Okst,           knowledge. See Ricciuti v. New York City Transit Auth., 124
101 F.3d 845, 852 (2d Cir.1996) (citations omitted); Hygh v.        F.3d 123, 128 (2d Cir.1997) (account of complaining witness
Jacobs, 961 F.2d 359, 366 (2d Cir.1992); Posr v. Doherty, 944       and officer's personal observations sufficient to establish
F.2d 91, 96 (2d Cir.1991); Dukes v. City of New York, 879           probable cause). Probable cause is not dependent on the
F.Supp. 335, 340 (S.D.N.Y.1995). Gordon's false arrest claim        ultimate accurateness and truthfulness of that knowledge.
is therefore governed by New York State law. 10 To establish        See Bernard, 25 F.3d at 102 (“[P]robable cause can exist
a claim for false arrest under New York law, the plaintiff          even where it is based on mistaken information, so long as
must show that “ ‘(1) the defendant intended to confine [the        the arresting officer acted reasonably and in good faith in
plaintiff], (2) the plaintiff was conscious of the confinement,     relying on that information.” (citing Colon v. City of New
(3) the plaintiff did not consent to the confinement and (4) the    York, 468 N.Y.S.2d 453 (1983)); Haussman v. Fergus, 894
confinement was not otherwise privileged .” ’ Singer v. Fulton      F.Supp. 142, 147 (S.D.N.Y.1995) (“[I]t should be noted that
County Sheriff, 63 F.3d 110, 118 (2d Cir.1995) (quoting             the validity of an arrest does not depend upon an ultimate
Broughton v. State, 373 N.Y.S.2d, 87, 93 (1975)). Defendants        finding of guilt or innocence. Rather, the soundness of the
assert that Plaintiff has not presented any evidence to show        arrest hinges on the existence of probable cause at the time
the fourth element and that, because Toole had probable cause       the arrest was made.” (citing Pierson v. Ray, 386 U.S. 547,
to arrest Gordon, the confinement was privileged.                   555 (1967))). The Second Circuit has recently reiterated
                                                                    that a police officer may have probable cause to make an
10                                                                  arrest based on the statement of a complainant. See Martinez
        Because a claim of false arrest is the same as
                                                                    v. Simonetti, 202 F.3d 625, 634 (2d Cir.2000) (“Moreover,
        a claim of false imprisonment, Gordon's claims
                                                                    ‘it is well-established that a law enforcement official has
        will be analyzed under the same standard as one
                                                                    probable cause to arrest if he received his information from
        claim. See Posr v. Doherty, 944 F.2d 91, 96
                                                                    some person, normally the putative victim or eyewitness.”
        (2d Cir.1991) (citations omitted); see also Singer
                                                                    ’ (quoting Miloslavsky v. AES Eng'g Soc'y, 808 F.Supp. 351,
        v. Fulton County Sheriff, 63 F.3d 110, 118 (2d
                                                                    355 (S.D.N.Y.1992), aff'd, 993 F.2d 1534 (2d Cir.1993));
        Cir.1995).
                                                                    Ricciuti, 124 F.3d at 128 (finding that officer was entitled
It is clearly established in the Second Circuit that an arrest      to believe visibly injured complainant despite protestations
is justified if there was probable cause to arrest. See Weyant,     of innocence from arrestee); see also Welch v. City of New
101 F.3d at 852 (“The existence of probable cause to arrest         York, No. 95–Civ. 8953, 1997 WL 436382 (S.D.N.Y. Aug. 4,
constitutes justification and ‘is a complete defense to an action   1997), aff'd. 166 F.3d 1203 (2nd Cir.1998) (holding officer



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reasonably relied on witness's complaint, despite plaintiff's               on what the complainant told the police, the police
denial and contrary explanation).                                           had probable cause. Similarly the facts that the
                                                                            charges against all five arrested Plaintiffs were later
 *6 Gordon acknowledges that Toole was assigned to                          dismissed, that Warsop was criminally prosecuted,
investigate the alleged robbery (Defs.' 56.1 Stmt. Gordon ¶                 and that there was an Order of Protection, which
36; Gordon's Resp. to Defs.' 56.1 Stmt. ¶ 36), and has offered              was issued but not served on Warsop at the time
no evidence contradicting the following facts as to how Toole               of the UCC incident, do not effect the issue of
conducted her investigation and made the arrest of Gordon.                  whether Toole had probable cause to make the
                                                                            arrests based on the information she had at the
At about 10:20 p.m., on August 20, 1995, Toole listened                     time they made the arrests. If Warsop told Toole
to Barberi recount his findings of the alleged assault and                  that Gordon and Walters assaulted and robbed him,
robbery of Warsop. (Toole Dep., 2/19/97, at 58.) She did                    she had probable cause to arrest them if she was
not read his draft report of the incident. (Id. at 60.) Toole               reasonable in believing Warsop.
discussed the case with her supervisor, Moynahan, as to             In the course of her interview, Toole asked Warsop if his wife
whether the case should be assigned as a robbery to the             had an order of protection against him, and Warsop stated that
Robbery Investigation Project (“RIP”) or as an assault to the
                                                                    there was no order of protection. 12 He also disclosed that
other detectives. Moynahan approved Toole's suggestion that
                                                                    he was on “three quarters,” meaning he was retired from the
she interview Warsop at the hospital. (Id. at 68–69.) Toole,
                                                                    police department due to a line of duty injury. (Id. at 86–87.)
accompanied by Wiencko and Barberi, found Warsop at Mary
Immaculate Hospital. She observed that Warsop had blood
                                                                    12
over his eye and his shirt. The doctor informed her Warsop                  Although an order of protection had been issued
had received ten stitches inside his left eyebrow and thirteen              against Warsop, the order was never served on him.
stitches outside his left eyebrow wound, as well as contusions              The reasons for this oversight are not revealed in
to the left cheek and a superficial cut of the right eye. (Id. at           the motion papers.
81; Pls.' Gen. 56.1 Stmt., Ex. 27A.) Toole then proceeded to        Warsop expressed a belief that he could identify his attackers
conduct an interview of Warsop in the emergency room.               and stated that he wanted to return to the UCC area and
                                                                    canvass to see if the perpetrators were still present. (Id. at
According to Warsop, 11 he went to the UCC to visit his two         88.) Warsop explained that this was the last night of the
children, but when he arrived, a man at the gate refused him        revival, after which the tent was coming down, therefore
entry. Warsop told Toole that this man summoned several             the perpetrators would soon be dispersed. (Id.) According
other men from inside the tent, who then started shoving and        to Toole, she found Warsop's story believable when coupled
punching him. In the course of the scuffle, Warsop claims           with his visible injuries and Barberi's verbal report. (Id. at 87–
that one of the men surrounding him took his gun from his           89.) She felt she had probable cause to arrest. (Id. at 88–92.)
waistband. (Toole Dep., 2/19/97, at 83–84.)                         Toole, Wiencko, Barberi, and Warsop then proceeded to leave
                                                                    the hospital to return to the UCC to look for perpetrators, and
11                                                                  it was Toole's intent to arrest any perpetrators identified to her
        All of the Plaintiffs, especially the Group A–
        1 Plaintiffs who were arrested, focus their                 by Warsop. (Id.) 13
        argument on discrediting Warsop's account of
        events and establishing their own. Although                 13      Plaintiffs focus much of their argument for false
        Plaintiffs' accounts may be completely accurate,                    arrest, as well as for their case in general, on
        Plaintiffs fail to realize that what actually happened              the allegation that Toole, Wiencko, and Barberi
        when Warsop attempted to enter the UCC gate                         used poor judgment in returning to the scene
        is not controlling on the issue of probable cause.                  and attempting to arrest Gordon in view of
        Rather, what information the arresting police had                   the congregation. What Plaintiffs fail to realize
        when she approached Gordon is what establishes                      is that whether or not Defendants used poor
        whether or not there was probable cause to arrest                   judgment is really inapposite for purposes of
        him. If a complainant tells the police a version of                 their claims here. The existence of probable
        events that later turns out to be factually inaccurate,             cause is determined by examining whether or not
        there is still probable cause for the arrests if, based


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       Defendants had sufficient information to believe
       that Plaintiffs committed a crime. If they had              A person is guilty of robbery in the second degree when he
       sufficient information and, therefore, probable             forcibly steals property and when:
       cause to effect arrests, the fact that they may have
                                                                      1. He is aided by another person actually present; or
       used poor judgment in doing so does not create a
       false arrest claim.                                            2. In the course of the commission of the crime or of
When they arrived in the vicinity of Sutphin Boulevard and            immediate flight therefrom, he or another participant in
Ferndale Avenue, Warsop pointed out Walters and stated,               the crime:
“That's the one who head-butted me” (id. at 100) and, after
                                                                        (a) Causes physical injury to any person who is not a
their unmarked car circled the block, pointed out Gordon and
                                                                        participant in the crime; or ....
stated, “That's the one who took my gun and—and either beat
me or—something like that” (id.). At this point, Toole stopped     Robbery in the second degree is a class C felony.
the car, got out, and approached Gordon.
                                                                 At the time Toole arrested Gordon, she had reason to believe
 *7 According to Gordon, the UCC revival had ended, and he       that Warsop had been criminally assaulted and his gun taken
was standing outside his parked car at the corner of Ferndale    from him. There is no evidence that she was aware that, as
and Sutphin, using his keys to unlock the driver-side door,      Gordon maintains, he had taken the gun for safekeeping and,
when three unidentified people approached him from behind
                                                                 thus, that there had been no larcenous intent. 15 Gordon has
and began attacking him. (Gordon Dep., 5/16/97, at 189–95.)
                                                                 not presented evidence showing that there is a genuine issue
Gordon claims that they never identified themselves as police.
                                                                 of material fact as to whether Toole had probable cause to
Gordon testified to a variety of specific acts of force used
                                                                 arrest Gordon for criminal assault or robbery in violation of
against him, including that Toole grabbed his hands and penis,
                                                                 160.10 or 160.05 of the Penal Law of New York. See People
Wiencko slapped him, and Barberi choked and kicked him.
                                                                 v. Jones, 556 N.Y.S.2d 579 (1st Dep't 1990) (affirming guilty
(Id.) Gordon acknowledges that Toole attempted to handcuff
                                                                 verdict against defendants for a violation of New York Penal
him. 14 The Defendants agree that it was Toole who made the      Law § 160.05 for theft of headset and radio during physical
arrest of Gordon. (Defs.' 56.1 Stmt. Gordon ¶ 4.)
                                                                 confrontation in subway). 16

14     Both Plaintiff Gordon's account and the testimony         15     Gordon claims that he took the gun from Warsop
       of the Defendants suggest that Toole was the
                                                                        for safety reasons and gave it to Barberi as soon as
       officer who initiated the arrest of Gordon, although
                                                                        he saw the police approach. (Gordon Dep., 5/16/97,
       Gordon maintains that Toole, Wiencko, and
                                                                        at 159–175.) Barberi admits that he recovered the
       Barberi approached him simlutaneously. (Gordon
                                                                        gun from Gordon, but he claims that Gordon turned
       Dep., 5/16/97, at 191, 197; Toole Dep., 2/19/97, at
                                                                        over the gun only after three or four demands
       101–02.)
                                                                        for production of the gun were made by Barberi.
Section 160.05 of the Penal Law of New York reads as                    (Barberi Dep., 2/5/97, at 57–65.)
follows:
                                                                 16     Plaintiff asserts that his experts will testify that
                                                                        “ ‘the standard of proof for probable cause
            A person is guilty of robbery in the                        for the arrest for robbery, riot and assault was
            third degree when he forcibly steals                        not met,’ and that ‘the officers involved gave
            property. Robbery in [sic] the third                        Mr. Warsop preferential treatment with malicious
            degree is a class D felony.                                 intent.” ’ (Gordon's Mem. in Opp. at 17.) This
                                                                        evidence is inadmissible. See Peterson v. City
                                                                        of Plymouth, 60 F.3d 469, 475 (8th Cir.1995)
                                                                        (the proffered expert opinions regarding Fourth
Section 160.10 of the Penal Law of New York reads as                    Amendment standards are conclusory and would
follows:                                                                not “ ‘assist the trier of fact to understand the
                                                                        evidence or to determine a fact in issue” ’ (quoting



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       Fed.R.Evid. 702)); DiBella v. Suffolk County, 574           Summary judgment is granted for all of the Defendants on the
       F.Supp. 151 (E.D.N.Y.1983), aff'd., 762 F.2d 990            claim of false arrest and imprisonment.
       (2d Cir.1985).
                                                                   17
Warsop's account of events to Toole and his identification                Plaintiffs' General Statement of Facts allege that
of Walters and Gordon was sufficient to give Toole reason                 Parrish is liable because he encouraged Barberi
to believe that Walters and Gordon had committed a crime.                 to disobey Betts' orders. (Pls.' Gen. 56.1 Stmt. ¶
Warsop's account of events, coupled with his visible injuries             8.) The Plaintiffs do not offer specific evidence to
and Barberi's account of events, gave Toole reason to                     show the exact order Barberi allegedly disobeyed
find Warsop's account trustworthy. Plaintiff's unsupported                or how Parrish encouraged him to do this. Parrish
allegation that Warsop received special treatment from the                testified that approximately four arrests had been
Defendants because he was a retired police officer is                     made before he arrived at Sutphin and Ferndale.
speculation and is insufficient to establish that Toole acted in          (Pls.' Gen. 56.1 Stmt., Ex. 19, at 109.) Regardless,
bad faith.                                                                the issue is mute because there was probable cause
                                                                          for the arrest of Gordon.
Because Toole had probable cause to believe that an assault
and robbery had taken place and that Gordon had participated       III. Denial of Medical Treatment
in it, she had probable cause for the arrest, and the arrest is    Gordon's next claim alleges that Defendants Anemone,
privileged. Toole is entitled to qualified immunity for that       Maple, Chapman, Brown, Devlin, Picht, Parrish, Prendergast,
action. As governmental officials performing a discretionary       Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,
function, police officers are entitled to qualified immunity,      O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
which shields them from civil damages and liability, so            Papagiannis denied medical assistance and aid to Gordon in
long as their conduct “ ‘does not violate clearly established      violation of 42 U.S.C. § 1983 and the Fourteenth Amendment
statutory or constitutional rights of which a reasonable person    by refusing to provide prompt medical treatment to Gordon
would have known.” ’ Simms v. Village of Albion, 115 F.3d          after he was arrested. (Gordon Compl. ¶ 110.) Defendants
1098, 1106 (2d Cir.1997) (quoting Harlow v. Fitzgerald,            moved for summary judgment on the grounds that Gordon
457 U.S. 800, 818 (1982)). The doctrine provides protection        did not have a serious medical need, and he was not denied
“to all but the plainly incompetent or those who knowingly         treatment.
violate the law.” Malley v. Briggs, 475 U.S. 335, 341 (1986).
The relevant inquiry is “whether a reasonable official could       A custodian of a pretrial detainee may be found liable for
have believed [his or her conduct] to be lawful, in light of       violating the detainee's due process rights if the official
clearly established law and the information the [ ] officers       (1) denied treatment needed to remedy a serious medical
possessed.” Anderson v. Creighton, 483 U.S. 635, 641 (1987).       condition and (2) did so because of his deliberate indifference
Qualified immunity may be decided before trial. See Blisset        to that need. See Weyant v. Okst, 101 F.3d 845, 856 (2d
v. Coughlin, 66 F.3d 531, 538 (2d Cir.1995) (“[Q]ualified          Cir.1996); Farmer v.. Brennan, 511 U.S. 825, 833–34 (1994).
immunity may provide a defense from suit altogether where          Although there is a factual dispute as to the extent of Gordon's
a defendant can show, in a motion for summary judgment,            injuries and whether or not he had a serious medical injury, 18
that ‘he could, as a matter of law, reasonably have believed       Gordon has offered no evidence that any of these Defendants
[his conduct] was lawful.” ’ (quoting Anderson, 483 U.S. at        denied him medical assistance and aid. The undisputed
641)). Toole and the officers who assisted her in enforcing        evidence shows that: the officers attempted to arrest Gordon
her decision to arrest—Barberi, Wiencko, and Moloney—are           at about 11:25 p.m. on August 20, 1995; during the arrest
protected from liability under 42 U.S.C. § 1983 for violation      a considerable physical altercation involving a large crowd
of Horace Gordon's Fourth Amendment right to be free of            occurred; Gordon was brought to the precinct at 12:10 a.m.
unlawful seizure. See Bernard, 25 F.2d at 102.                     on Monday, August 21, 1995; he left for Queens General
                                                                   Hospital at 12:40 a.m. (Defs.' 56.1 Stmt. Gordon, Ex. M); and
*8 Plaintiffs papers do not include any facts specific as to       he was examined at 1:10 a.m. at the hospital (Id. at Ex. O).
Defendant Parrish. Whatever their theory of his liability, 17      There is no showing that Gordon was in the custody of any of
Parrish's participation in Gordon's arrest, if any, is also        the Defendants after he was transported from the scene.
privileged under the above analysis. Since Toole had probable
cause for the arrest, Gordon's false arrest claims fails.


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18                                                                  Lexis 129 *20 (S.D.N.Y. January 12, 1999) (an hour and
        Gordon testified that his injuries include bleeding
                                                                    a half between the time plaintiff was shot and taken to the
        from his mouth, forehead, upper lip, and elbow
                                                                    hospital not sufficient to assert claim of denial of medical
        (Gordon Dep., 5/20/97, at 256–57); scratches on his
        hand (id. at 256); swollen wrist (id . at 258); and         attention). 19 Summary judgment is granted to all Defendants
        eventually a loss of consciousness (id. at 277–78).         on Gordon's claim of denial of medical treatment.

Gordon does point to evidence supporting his need for
                                                                    19
medical treatment, but he points to no evidence that, once                 Indeed, Plaintiff Michael Bennett testified that
evidenced, the necessary treatment was denied. In fact, all                Gordon's injuries to his arm, which is the most
of the evidence suggests that Gordon received the necessary                serious injury Gordon claims, occurred in the van
medical attention. To establish a claim under § 1983, Plaintiff            during a sharp turn as they arrived at the precinct,
must show a denial of medical treatment because of deliberate              not before he was put in the van. (Bennett's 56.1
indifference to a serious medical need.                                    Stmt., Ex. 1, at 84.)

“The deliberate indifference standard embodies both an              IV. Failure to Intervene and Protect Claim
objective and a subjective prong. First, the alleged deprivation    Gordon's next § 1983 claim against Anemone, Maple,
must be, in objective terms, ‘sufficiently serious,’ [and]          Chapman, Brown, Devlin, Picht, Parrish, Prendergast,
[s]econd, the charged official must act with a sufficiently         Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,
culpable state of mind.” Hathaway v. Coughlin, 37 F.3d 63,          O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Burner, and
66 (2d Cir.1994) (internal citations omitted). To meet the          Papagiannis alleges failure to intervene and protect Plaintiff
objective prong, plaintiffs must show a serious medical need,       from unjustified and unreasonable treatment at the hands of
which is one that “contemplates ‘a condition of urgency, one        other Defendants. Defendants argue that Plaintiff has failed
that may produce death, degeneration, or extreme pain.” ’           to show evidence supporting a specific failure to intervene by
Id. (quoting Nance v. Kelly, 912 F.2d 605, 607 (2d Cir.1990)        any Defendant.
(Pratt, J., dissenting). To meet the subjective prong, plaintiffs
must show that a specific defendant was both “aware of facts        Under Anderson v. Branen, 17 F.3d 552 (2d Cir.1994),
from which the inference could be drawn that a substantial          an officer is not liable for preventable harm caused by
risk of serious harm exists” and that the defendant drew the        another officer unless the officer observes and has reason
inference. Farmer v. Brennan, 511 U.S. 825, 837 (1994).             to know that: (1) excessive force is being used; (2) a
The subjective element of deliberate indifference “entails          citizen has been unjustifiably arrested; or (3) a constitutional
something more than mere negligence ... [but] something less        violation has been committed; and (4) the officer had a
than acts or omissions for the very purpose of causing harm         realistic opportunity to intervene and prevent the harm from
or with knowledge that harm will result.” Id. at 835.               occurring. See id. at 557. Plaintiff's own evidence fails to
                                                                    show that Defendants Anemone, Maple, Chapman, Brown,
 *9 Here, Gordon offers no evidence to support that any             Devlin, Picht, Parrish, Prendergast, Difede, Webber, Craig,
Defendant denied him treatment or that any delay in treatment       O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Burner, and
was the result of deliberate indifference by any Defendant.         Papagiannis were even present at the scene at the time Gordon
Gordon received medical attention within one and one-half           was allegedly subjected to excessive force and arrested. 20
to two hours of his injuries. (Defs.' 56.1 Stmt. Gordon, Exs.       Summary judgment is granted as to all those Defendants
M, O.) To the extent that he was visibly injured at the time        because Gordon has presented no proof that any of them were
of the arrest, his visible injuries were not so urgent as to        present at the time of such alleged treatment, were aware
require immediate attention, particularly considering there is      of such alleged unauthorized, unjustified, and unreasonable
no evidence that he requested treatment. When he got to the         treatment, or had a reasonable opportunity to intervene and
precinct and loss consciousness, he was taken to the hospital.
                                                                    prevent that treatment. 21
(Gordon Dep., 5/20/97, at 277–82.)
                                                                    20
There is no evidentiary showing of deliberate indifference                 As Plaintiff cites in his own memorandum
to Gordon's medical needs. See Estelle v. Gamble, 429 U.S.                 of law (Gordon's Mem. in Opp. at 23), “It
97, 105–106 (1976); Hathaway v. Coughlin, 99 F.3d 550                      is widely recognized that all law enforcement
(2d Cir.1996); Rivera v. State of New York, 1999 U.S. Dist.                officials have an affirmative duty to intervene to


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       protect the constitutional rights of citizens from          in concert with each other, in arresting, assaulting, detaining,
       infringement by other law enforcement officers              imprisoning, failing to protect, conspiring against, subjecting
       in their presence.” Anderson v. Branen, 17 F.3d             to harassing comments and maliciously prosecuting and
       552, 557 (2d Cir.1994). Although a failure to               intentionally inflicting emotional distress upon the plaintiff,
       intervene and protect claim does not require a              was a direct result of defendants' animus toward plaintiff and/
       showing of presence, it does require the officer            or as a direct result of plaintiff's having exercised his First
       to have observed or have reason to know of the              Amendment rights to free exercise of his religion ... [and]
       alleged violation. See Anderson at 557. Gordon has          was therefore an unlawful, oppressive and malicious attempt
       identified evidence demonstrating neither.                  to harass, intimidate, and punish plaintiff for exercising his
                                                                   constitutional rights, in violation of the First, Fourth and
21     Gordon tries to base a failure to intervene claim on        Fourteenth Amendments to the United States Constitution
       the evidence that the supervisors did not prevent           and 42 U.S.C. § 1983.” (Gordon Compl. ¶ 113.) Defendants
       Barberi, Toole, and Wiencko from returning to               move for summary judgment.
       the scene to make arrests. Plaintiff's evidence,
       however, does not show that there was an order not          To establish a claim of unlawful retaliation for First
       to make any later arrests in regard to the Warsop           Amendment conduct, Plaintiff must show that (1) his
       incident. All admissible evidence shows an order            conduct was protected by the First Amendment and that (2)
       to make no summary arrests, meaning no arrests              Defendants' conduct was “motivated by or substantially cause
       at the initial scene. (Pls.' Gen. 56.1 Stmt., Exs. 13,      by” this protected conduct. Gagliardi v.. Village of Pawling,
       17.) Furthermore, even if Plaintiff had evidence            18 F.3d 188, 194–95 (2d Cir.1994). If Plaintiff shows this,
       suggesting that a supervisor knew the officers were         the burden shifts to the Defendants to show that they would
       returning to the scene when there was a direct order        have engaged in the same conduct even in the absence of
       not to return, that is not sufficient to show that          Plaintiff's protected conduct. See Mt. Healthy City Sch. Dist.
       they had knowledge that constitutional violations           Bd. of Educ. v. Doyle, 429 U.S. 274, 287 (1977).
       would occur. To the extent that Plaintiff's may
       have evidence to support a claim that one or more           There is no evidence that Plaintiff was engaged in a First
       of Betts, Picht, or Parrish were negligent in their         Amendment activity when he was allegedly assaulted and
       supervision in that they failed to clarify orders           arrested. Plaintiff apparently bases his claim on the facts
       (Betts, Picht) or follow them (Parrish), there is no        that he had recently left a religious service prior to his
       evidence presented that this negligence rose to the         arrest and that during or after the ensuing melee several
       level required for a claim of failure to intervene          individuals heard unidentified officers make derogatory
       or protect as outlined in Anderson v. Branen. To            religious comments not to Gordon but to other UCC members.
       the extent that such evidence supports a common             Furthermore, there is no showing that any of the Defendants
       law negligent supervision claim, the parties are            who interacted with Gordon—Toole, Wiencko, Barberi, and
       reminded that this claim has been severed, along            Moloney—engaged in the conduct they did because of
       with Monell claims, and is not at issue in this trial.
                                                                   any First Amendment activity. 22 As to the other named
As for the remaining Defendants—Toole, Wiencko, Barberi,           Defendants, Plaintiff has offered no evidence connecting
and Moloney—Plaintiff's evidence supports individual               them to any activities relating to this specific Plaintiff.
claims of excessive force, not a failure to intervene or prevent
a constitutional violation. Summary judgment is granted as to      22     According to Plaintiff's own papers, his theory for
all Defendants.
                                                                          the officer's return to the UCC and arrest of Gordon
                                                                          was not that Gordon was a member of the UCC but
V. Unlawful Retaliation for First Amendment Conduct Claim                 that Warsop was a retired police officer. (Gordon's
 *10 Gordon alleges that “the conduct of defendants                       Mem. in Opp. at 17.)
Anemone, Maple, Chapman, Brown, Devlin, Picht, Parrish,            Plaintiff has offered no evidence, direct or circumstantial,
Prendergast, Toole, Wiencko, Barberi, Difede, Webber,              showing any of the Defendants' acts were a direct result
Moloney, Craig, O'Connor, Single, O'Hagan, Lesiewicz, De           of Defendants' animus toward Plaintiff for having exercised
Lorenzo, Brunner, and Papagiannis, acting individually and



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his First Amendment rights to free exercise of his religion.      24      The criminal complaint pertaining to the initial
Summary judgment is granted as to all Defendants.                         Warsop incident charges Gordon, along with
                                                                          Bennett and Walters, with assault in the second
                                                                          and third degree. (Pls.' Gen. 56.1 Stmt., Ex. 27(I).)
VI. Malicious Prosecution Claim
                                                                          The criminal complaint pertaining to activities
Plaintiff claims Defendants Parrish, Wiencko, Barberi, and
                                                                          during Gordon's arrest charges Gordon, along with
Moloney maliciously prosecuted him in violation of his
                                                                          Campbell, with assault in the second degree (two
statutory and common law rights under New York State
                                                                          counts), riot in the fist degree, inciting to riot,
law. (Gordon Compl. ¶ 145.) Defendants move for summary
                                                                          obstructing governmental administration in the
judgment on the grounds that Gordon cannot establish two of
                                                                          second degree, and resisting arrest. (Id., Ex. 27(H).)
the necessary elements of such a claim.
                                                                          Both criminal complaints were signed by Toole on
                                                                          August 21, 1995 and filed with the Criminal Court
*11 To state a claim of malicious prosecution under New
                                                                          of the State of New York in the County of Queens.
York law, 23 a plaintiff must show: (1) commencement or
continuation of a criminal proceeding by the defendants           Toole had probable cause for initiating the criminal
against the plaintiff; (2) termination of the proceeding in       proceeding against Gordon relating to the initial Warsop
favor of the plaintiff; (3) absence of probable cause for         incident. The reasoning outlined in the section on false
the criminal proceeding; and (4) malice. See Brown v. City        arrest applies here. Toole signed the criminal complaint
of New York, 459 N.Y.S.2d 589, 590 (1st Dep't 1983);              against Gordon based on the allegations of Warsop. Toole
Howland v. State of New York, 487 N.Y.S.2d 956, 957               was entitled to rely on Warsop's allegations and, thus, had
(Ct.Cl.1985). Plaintiff presents no evidence of Defendants        probable cause for the arrest. Plaintiff offers no evidence
Parrish, Wiencko, Barberi, or Moloney taking any action to        that Toole had received evidence to the contrary by the
commence the proceedings against the Plaintiff that were          time she signed the complaint. Thus, summary judgment is
brought by the Queens District Attorney's office. Plaintiff       granted as to Gordon's claim of malicious prosecution based
also presents no evidence of any of these four Defendants         on the criminal complaint charging Gordon with the assault
taking any action to continue the proceedings against him.        of Warsop.
Gordon offers no evidence that these four Defendants signed
a criminal complaint or in any way participated in his criminal   Summary judgment is denied as to Toole for Gordon's claim
prosecution. To the extent that they were involved in his         of malicious prosecution based on the criminal complaint
arrest, they had probable cause. See False Arrest Section         Toole signed charging Gordon with assault in the second
above. Thus, summary judgment is granted on Gordon's              degree (two counts), riot in the first degree, inciting to
claim of malicious prosecution as against Defendants Parrish,     riot, obstructing governmental administration in the second
Wiencko, Barberi, and Moloney.                                    degree, and resisting arrest. (Pls.' Gen. 56.1 Stmt., Ex. 27H.)
                                                                  There is conflicting evidence as to whether or not Toole
23                                                                had probable cause to initiate criminal proceedings against
       It is undisputed that New York law is applicable to
                                                                  Gordon based on his actions during the arrest. Toole testifies
       Plaintiff's malicious prosecution claim.
                                                                  that, after identifying herself as police, Gordon resisted arrest,
The analysis for Toole is different. Toole signed two separate    assaulted Toole, and incited other UCC members to help
criminal complaints against Gordon, one pertaining to the         him resist arrest. (Toole Dep., 2/19/97, at 105–12.) Gordon's
alleged robbery and assault of Warsop and one pertaining          deposition denies this account of events and claims that
to Gordon's actions when he was arrested. 24 By signing           neither Toole nor any of the other officers involved identified
criminal complaints against Gordon, Toole did commence            themselves as police. (Gordon Dep., 5/16/97, at 193.) He
criminal proceedings against Gordon. All charges from both        also maintains that he did not shove, kick, hit, or in any
criminal complaints were eventually dismissed by the District     other way assault Toole or the other police and that he
Attorney. (Certificate of Disposition for Gordon, Nos. 14657,     was the one assaulted. (Gordon Dep., 5/20/97 at 242–43.)
14658, Dated 12/06/96.) Each criminal complaint must be           Because plaintiff's version is credited as true for the purposes
analyzed separately to determine whether or not there was an      of deciding summary judgment motions, Toole's testimony
absence of probable cause for the proceedings.                    showing that she had probable cause to file this criminal
                                                                  complaint against Gordon cannot be deemed correct. If a
                                                                  jury credits Gordon's account of the arrest and his claims


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of excessive force, it could find that Toole did not have        probability of causing, severe emotional distress; (3) a causal
probable cause to file the criminal complaint that commenced     connection between the conduct and injury; and (4) severe
proceedings against Gordon for his actions allegedly taken in    emotional distress. See Bender v. City of New York, 78 F.3d
the course of his arrest. 25 Summary judgment is denied as to    787, 790 (2d Cir.1996) (citing Howell v. New York Post Co.,
Gordon's claim of malicious prosecution against Toole based      81 N.Y.2d 115, 121, 596 N.Y.S.2d 350, 353, 612 N.E.2d 699,
on this criminal complaint.                                      702 (1993)). The standard is very high, and the law requires
                                                                 that the conduct must be “so outrageous ... and so extreme ...
25                                                               as to go beyond all possible bounds of decency.” Id. Under the
       The fact that Gordon admits to struggling with
                                                                 circumstances here, Gordon's claim for intentional infliction
       the individuals he later discovered were police
                                                                 of emotional distress is subsumed under his excessive force
       does not alter this analysis. In order to maintain
                                                                 claim. See Bender v. City of New York, 78 F.3d 787, 790,
       a charge of resisting arrest against an individual,
                                                                 791–92 (2d Cir.1996) (acknowledging that traditional torts
       that individual must have been aware that he was
                                                                 may encompass claims for emotional distress); Fischer v.
       being arrested. See People v. Saitta, 434 N.Y.S.2d
                                                                 Maloney, 43 N.Y.2d 553, 553 (1978) ( “Indeed, it may be
       719, 720 (2d. Dep't 1981) (reversing a conviction
                                                                 questioned whether the doctrine of liability for intentional
       for resisting arrest because testimony supported
                                                                 infliction of extreme emotional distress should be applicable
       defendant's version of events that he was not
                                                                 where the conduct complained of falls well within the
       informed of the police's identity and that “without
                                                                 ambit of other traditional tort liability.”); Anatsui v. Food
       being aware of the fact that he was being arrested,
                                                                 Emporium, No. 99 Civ. 1337(JGK), 2000 WL 1239068, at
       defendant could not have intentionally resisted
                                                                 *7–*8 (S.D.N.Y. Sept. 1, 2000) (holding that derogatory
       arrest”). Whether or not the police identified
                                                                 comments and termination are “insufficient to constitute
       themselves before attempting to arrest Gordon is a
                                                                 intentional infliction of emotional distress under New York
       question of fact for the jury.
                                                                 law” (citations omitted)); Muhlrad v. Mitchell, No. 96 Civ.
                                                                 3568(DLC), 1997 WL 182614, at *8 (S.D.N.Y. Apr. 14,
VII. Intentional Infliction of Emotional Distress                1997) (holding that allegations were insufficient to satisfy the
 *12 Plaintiff's alleges intentional infliction of emotion       element of outrageous conduct and noting “the New York
distress against Anemone, Maple, Chapman, Brown, Devlin,         Court of Appeals has never upheld a claim for intentional
Picht, Parrish, Prendergast, Toole, Wiencko, Barberi, Difede,    infliction of emotional distress”). Gordon's emotional distress
Webber, Moloney, Craig, O'Connor, Single, O'Hagan,               resulting from the circumstances of his apprehension will be
Lesiewicz, De Lorenzo, Brunner, and Papagiannis for their        an element the jury may take into account in awarding any
“extreme and outrageous conduct, conduct utterly intolerable
                                                                 damages on the other claims. 26
in a civilized community, which intentionally caused severe
emotional distress to plaintiff.” (Gordon Compl. ¶ 147.)
                                                                 26
Defendants move for summary judgment on the grounds that                Gordon's testimony does present evidence of what
Gordon offers no evidence to support this claim.                        might be outrageous conduct. Specifically, Gordon
                                                                        testified to numerous acts of excessive force
Summary judgment is granted for Defendants Anemone,                     by Barberi, Toole, Wiencko, and Moloney, and
Maple, Chapman, Brown, Devlin, Picht, Parrish, Prendergast,             testified that Barberi referred to Gordon as a
Difede, Webber, Craig, O'Connor, Single, O'Hagan,                       “nigger” and “fucker” in the course of his arrest.
Lesiewicz, De Lorenzo, Brunner, and Papagiannis because                 (Gordon Dep., 5/16/97, at 205.) To the extent
Gordon has offered no evidence of these defendants taking               that such actions support a claim for intentional
any action against him.                                                 infliction of emotional distress, this Court finds that
                                                                        they are covered under Gordon's excessive force
Summary judgment is also granted on the claims against                  claim. Gordon will be able to present any evidence
Toole, Wiencko, Moloney, and Barberi because the                        of emotional damages in connection with this event
allegations against them do not meet the stringent test                 if he succeeds on the excessive force claim. The
required under New York law. To maintain a claim for                    emotional damages Gordon claims includes post
intentional infliction of emotional distress, a plaintiff must          traumatic stress disorder, post traumatic headaches,
show: (1) extreme and outrageous conduct; (2) with the                  cognitive disorder, sexual difficulties, flashbacks,
intent to cause, or with reckless disregard of the substantial


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       fear, and guilt. (Gordon's Resp. to Defs.' 56.1 Stmt.            action for negligent supervision has been severed
       ¶¶ 25–26.)                                                       and is not an issue in this trial. (May 31, 2000
                                                                        Order.)
VIII. Claims of Negligent Infliction of Emotional Distress
and Negligence                                                  IX. Conspiracy
 *13 Plaintiff's claims for negligent infliction of emotional   Plaintiff alleges that Defendants “conspired together and
distress and for negligence are dismissed against all           maliciously and willfully entered into a scheme to deprive
Defendants because Plaintiff's testimony about Toole,           plaintiff of his rights, liberty, well-being and to commit
Wiencko, Barberi, and Moloney does not bespeak of               the above-alleged unlawful acts.” (Gordon Compl. ¶ 153.)
negligence but of intentional conduct. 27 Under the law in      Defendants move for summary judgment on the grounds that
New York, once intentional conduct has been established,        Plaintiff offers no evidence to support such a claim. Plaintiff's
the actor is liable for assault and not negligence, even        claim for conspiracy is dismissed as to all Defendants.
when physical injuries have been inflicted inadvertently. See   Plaintiff has presented no proof that the acts of Defendants
Mazzaferro v. Albany Motel Enterprises, Inc., 515 N.Y.S.2d      flowed from a common scheme or plan. See Schlotthauer v.
631, 633 (3d Dep't 1987) (negligence and assault and battery    Sanders, 545 N.Y.S.2d 196, 197 (2d Dep't 1989). In addition,
claims are mutually exclusive); Pranda v. City of Albany, 956   Plaintiff's Memorandum of Law does not even address
F.Supp. 174, 183 (N.D.N.Y.1997). Furthermore, Plaintiff has     his conspiracy claim, and his 56.1 Statement in response
failed to identify any evidence suggesting either a bystander   to Defendants' claim that there is no evidence to support
or a direct duty theory of negligent infliction of emotional    conspiracy simply cites to all of the general statements and
distress as is required under New York law. See Mortise v.      exhibits without providing specific evidence. (Gordon's Resp.
United States, 102 F.3d 693, 696 (2d Cir.1996). As for the      to Defs.' 56.1 Stmt. ¶ 60.) Summary judgment is granted for
claims against supervisors, Plaintiff has offered no specific   all Defendants on Gordon's conspiracy claim.
evidence that each of the individual supervisors were present
or aware of the arrest of Gordon or use of excessive force by   Prior to this opinion, all Plaintiffs withdrew all claims for
                                                                prima facie tort and all claims against Defendant Brown.
officers. 28 Summary judgment is granted for all Defendants.
                                                                (McCartney Decl. ¶¶ 10–11.) In his Complaint, Gordon
                                                                failed to plead any common law claim for assault and
27     Even Plaintiff's own motion papers do not                battery. Gordon moves to amend the Complaint to allow for
       support claims of negligence. Plaintiff's argument       the addition of this claim, citing “ ‘law office error” ’ as
       addresses failure to take action after imprisoning       the reason for the omission. (Letter from Paul Rheingold,
       parishioners inside the fence. (Gordon's Mem. in         Dated 10/10/2000.) Because Gordon clearly plead excessive
       Opp. at 34, 38.) It is undisputed that Gordon            force under § 1983 and the same facts establish a common
       was arrested and in the police van and was never         law assault and battery claim, Gordon's motion to amend
       imprisoned inside the fence.                             is granted. Therefore, Gordon also has a New York State
28                                                              common law claim for assault and battery (physical acts)
       Plaintiff bases his claim of negligence against
                                                                against Barberi, Toole, Wiencko, and Moloney.
       the supervisors on the allegation that Barberi
       “maliciously convinced his colleagues to return to
       the Church against the express order of Captain          Conclusion
       Betts.” (Gordon's Mem. in Opp. at 37–38.) The             *14 Summary judgment is denied on the following claims
       evidence Plaintiff cites for this, however, is an        by Gordon:
       expert report, which is not admissible for this
       purpose. In addition, even if Plaintiff had evidence       1. § 1983 excessive force against Barberi, Toole, Wiencko,
       to support this theory, it should still be intentional        Moloney
       conduct as to Barberi. As for his supervisors,
                                                                  2. § 1983 malicious prosecution against Toole on the basis
       Plaintiff offers the theory that they should have
                                                                     of the criminal complaint alleging assault in the second
       known of Barberi's intentions and were negligent
                                                                     degree (two counts), riot in the first degree, inciting
       in failing to prevent his return. However, Plaintiff
                                                                     to riot, obstructing governmental administration in the
       cites to no specific part of any admissible evidence
                                                                     second degree, and resisting arrest
       to support this allegation. Furthermore, the cause of


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                                                                   of the named Defendants claim involvement with the Bennett
Summary judgment is granted on the remaining claims by             arrest, even though they did offer information that they
Gordon:                                                            were involved in the arrests of other Plaintiffs. Defendants'
                                                                   explanation for Bennett's arrest is that Warsop pointed out
  1. § 1983 excessive force against Parrish                        Bennett, who he claims was involved in his attack, to an
                                                                   uniformed officer and that this uniformed officer arrested
  2. § 1983 false arrest against all Defendants
                                                                   Bennett on the basis of Warsop's identification. (Defs.' 56 .1
  3. § 1983 refusal to address serious medical needs against       Stmt. Bennett, Warsop Aff. ¶¶ 4–5 (“Sometime before 11:15
     all Defendants                                                p.m. on August 20, 1995, I observed a male black individual
                                                                   at or near the corner of Sutphin and Ferndale, and recognized
  4. § 1983 failure to intervene or protect against all            this person as one of the individuals who had assaulted
    Defendants                                                     me several hours earlier. I pointed this male black out
                                                                   to an uniformed police officer. The officer handcuffed the
  5. § 1983 unlawful retaliation for First Amendment conduct       individual I had identified and removed him from the location
     against all Defendants                                        where I was.”);Pls.' Gen. 56.1 Stmt., Ex. 27A.) The next
                                                                   day, Toole showed Warsop a picture of Bennett, and Warsop
  6. common law malicious prosecution against Parrish,
                                                                   identified the man in the picture as “one of the individuals
    Barberi, Wiencko, Moloney, and Toole on the criminal
                                                                   who had participated in the assault upon me the previous
    complaint filed pertaining to Warsop's assault
                                                                   evening ... [and] the same male black that I identified to the
  7. common law intentional infliction of emotional distress       uniformed police officer on August 20, 1995.” (Defs.' 56.1
     against all Defendants                                        Stmt. Bennett, Warsop Aff. ¶ 7.) On the basis of this post-
                                                                   arrest confirmatory identification, Toole signed a criminal
  8. common law negligent infliction of emotional distress         complaint against Bennett for the assault of Warsop. (Pls.'
     against all Defendants                                        Gen. 56.1 Stmt., Ex. 27A; Toole Dep., 2/19/97, at 176–81.)

  9. common law conspiracy against all Defendants
                                                                    *15 Bennett denies any involvement in the effort to prevent
  10. common law negligence against all Defendants                 Warsop from entering the UCC grounds. (Bennett's 56.1 Stmt.
                                                                   ¶ 3.) Bennett maintains that he was in the tent area and
                                                                   nowhere near the gate when the altercation occurred and
                                                                   that his only involvement with the police was when they
                  Michael Bennett's Claims                         returned to the UCC the second time. (Id.) According to
                                                                   Bennett, after the UCC service had ended, a woman from the
On August 20, 1995, Michael Bennett was arrested and
                                                                   congregation ran into the gated area yelling, “They are going
charged with assault in the second and third degrees.
                                                                   to kill him.” (Defs.' 56.1 Stmt. Bennett, Ex. B, at 71.) Bennett
(Bennett's 56.1 Stmt. ¶ 19; Defs.' 56.1 Stmt. Bennett ¶ 14.)
                                                                   walked out the gate and approached several individuals whom
He was apprehended by an unidentified uniformed officer.
                                                                   he observed beating Gordon and inquired, “What did he
(Pls.' Gen. 56.1 Stmt., Ex. 27A; Toole Dep., 2/19/97, at 172–
                                                                   do?” (Bennett's 56.1 Stmt. ¶¶ 4–5.) Bennett alleges that, in
79.) The official arresting officer on the paperwork was Toole.
                                                                   response, officers, whom he cannot identify, attacked and
(Id.) Upon motion of the District Attorney, the Queens County
                                                                   arrested him. (Id. ¶¶ 5–6; Defs.' 56.1 Stmt. Bennett ¶¶ 3–6.)
Criminal Court, Judge Griffin dismissed all charges against
                                                                   Specifically, Bennett testified that he was hit from behind with
Plaintiff on February 5, 1996 (Bennett's 56.1 Stmt. ¶ 22; Defs.'
                                                                   an object that felt like a bat or a stick (Bennett's 56.1 Stmt.,
56.1 Stmt. Bennett ¶ 15.)
                                                                   Ex. 1, at 72), that he was thrown against a fence (id.), hit
                                                                   in the shoulder and thrown against a police car, and he was
The identity of the uniformed police officer who apprehended
                                                                   handcuffed (id. at 73; Bennett's 56.1 Stmt. ¶ 6). Bennett was
Bennett has not been established by either party. Defendants
                                                                   then placed in the police van with Gordon, transported to the
Toole, Wiencko, Barberi, and Moloney were all in the vicinity
                                                                   precinct, and detained until his arraignment.
and participating in Gordon's arrest around the same time
Bennett was arrested, but Bennett has not identified any of
                                                                   The identity of the officers who attacked and apprehended
them, either in his deposition, his CCRB complaint, in an
                                                                   Bennett is unknown to the Plaintiff and Defendants. The
affidavit in opposition, or in any other way. In addition, none


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only physical description Bennett can give is that the                *16 Because Bennett's claim of excessive force occurred
people attacking Gordon were “four guys” (Defs.' 56.1 Stmt.          in the course of his arrest, his claim arises under the Fourth
Bennett, Ex. B, at 69) in plainclothes, none in uniform (id.         Amendment. See Graham v. Connor, 490 U.S. 386, 394
at 70), all in jeans, and one in a gray t-shirt (id.). They were     (1989). The testimony of Bennett raises a genuine issue of
“tall, big ... white guys,” one of whom had a nightstick and         material fact regarding the manner in which he was arrested
one of whom had short blond hair. (Id. at 71.) When asked,           and the force that was used, therefore, his excessive force
“Do you know who the four guys or any of them were that              claim should survive summary judgment and go before a jury.
were holding Horace Gordon?” he answered no. (Bennett's              Summary judgment is granted for all Defendants, however,
56.1 Stmt., Ex. 1, at 69.) When asked, “Do you know who it           because Bennett offers no evidence identifying or in any other
was that hit you from behind either by physical description or       way connecting any of the named officers as the ones that
any other identifying characteristics?” Bennett answered no.         used force against him.
(Id. at 73.) Bennett described the officer who cuffed him as
“a plainclothes officer, other [sic] gray shirt and jeans” (Defs.'   Bennett cannot show the required direct or personal
56.1 Stmt. Bennett, Ex. B, at 74), and that this was one of the      involvement necessary to hold a defendant liable in his
four that had previously been with Gordon (id.). It is unclear       or her individual capacity for a § 1983 claim. 30 Plaintiff
how many officers Bennett is alleging used force against him         acknowledges that personal involvement is necessary for a
and whether or not one of those officers is also the one who         finding of liability under § 1983 and maintains that he has
cuffed him. It is also unclear whether or not the officers who       satisfied this requirement by pointing to facts that show the
used force against him are the same ones who were arresting          named Defendants were personally present at the scene of the
Gordon. 29                                                           incident. For certain Defendants, Plaintiff's sole showing of
                                                                     personal involvement is evidence of the Defendant's presence
29                                                                   at the scene of the incident at some point in time on the night
        Plaintiff continues to cite Bennett's 56.1 Stmt. ¶¶
                                                                     in question. (Pls.' Gen. 56.1 Stmt.) For other Defendants,
        5–6 for the proposition that Bennett was hit and
                                                                     Plaintiff offers evidence that they were involved in specific
        arrested by one of the officers who was involved in
                                                                     acts. Bennett, however, has never identified any of the
        the Gordon arrest. The cited deposition, however, is
                                                                     Defendants by name, description, or in any other way.
        not supportive. Bennett never testified that he was
        hit by the same officers who arrested Gordon, nor
                                                                     30
        does he offer an opposing affidavit containing such                 This analysis applies to all of the Plaintiffs' § 1983
        a claim.                                                            claims.
                                                                     In order to survive the motion for summary judgment on the
I. § 1983 Excessive Force Claim                                      § 1983 claims, there must be some evidence of the personal
In his Amended Complaint, Bennett alleges that, “The                 involvement of each Defendant. “ ‘[P]ersonal involvement
conduct and actions of defendants Barberi, Parrish, Toole,           of defendants in alleged constitutional deprivations is a
Wiencko, and Moloney, acting individually and in concert             prerequisite to an award of damages under § 1983.” ’ Moffitt
with each other, acting under color of law, in assaulting            v. Town of Brookfield, 950 F.2d 880, 886 (2d Cir.1991)
plaintiff by repeatedly striking his body with a nightstick, was     (quoting McKinnon v. Patterson, 568 F.2d 930, 934 (2d
done intentionally, maliciously, with a deliberate indifference      Cir.1977)). Whether a Defendant is a supervisor or not, the
and/or with a reckless disregard for the natural and                 Plaintiff must allege some form of personal involvement for
probable consequences of his acts, was done without lawful           each Defendant. Without evidence supporting a Defendant's
justification or reason, and was designed to and did cause           personal involvement, the motions for summary judgment
specific and serious harm, pain and suffering in violation of        on the § 1983 claims must be granted. If there is evidence
plaintiff's Constitutional rights as guaranteed under 42 U.S.C.      to support personal involvement, any dispute is a question
§ 1983, and the Fourth and Fourteenth Amendments to the              of fact for the jury. See Williams v. Smith, 781 F.2d 319,
United States Constitution.” (Bennett Am. Compl. ¶ 93.)              323 (2d Cir.1986); Moffitt, 950 F.2d at 886. However, there
Defendants move for summary judgment because Bennett                 still must be a supported allegation of personal involvement.
cannot identify any Defendant and because any force used             Plaintiff must allege “a tangible connection between the acts
was reasonable. The legal elements of this claim are discussed       of a defendant and the injuries suffered .” Bass v. Jackson,
in the Gordon section above.                                         790 F.2d 260, 263 (2d Cir.1986)



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                                                                           1995.” (Bennett's Resp. to Defs.' 56.1 Stmt. ¶
Plaintiff continuously argues that defendants cannot show                  8.) This is not a denial supported by specific,
non-involvement and, therefore, a factual dispute about                    admissible evidence as is required under Rule 56.1.
personal involvement exists, and it must go to a jury. (Pls.'              As such, it is deemed admitted.
Mem. in Opp. at 3–9; Letter from Daniel Perez, Dated July          Plaintiff is correct that, in certain situations, the burden must
31, 2000 (“Perez Letter, 7/31/00”).) Although Plaintiff is         shift to each defendant to disprove his or her involvement.
correct that the burden of identifying by name and badge           Here, Bennett has not offered facts showing that such a
number every police officer who allegedly participated in          situation exists. The cases Bennett relies on hold that,
the incident cannot be placed on Plaintiff, it does not follow     once plaintiff has proven each defendant acted tortiously,
that the burden shifts to each and every individually named        the burden of proving which tortious defendant caused the
Defendant to prove his or her non-involvement. In arguing for      particular harm or what part of the particular harm shifts to
a burden shift, plaintiff relies in part on the case of Williams   each tortious defendant. Each defendant then has the burden
v. Smith, 781 F.2d 319 (2d Cir.1986), and cases following it,      of proving his or her tortious conduct did not cause the harm
and in part on a series of cases adopting the RESTATEMENT          or only caused part of the harm. The burden of proving
(SECOND) OF TORTS § 433 (1965).                                    that each defendant acted tortiously, however, remains on the
                                                                   plaintiff. For example, in Rutherford v. Berkeley, 780 F.2d
 *17 Contrary to Plaintiff's insinuation, Williams does not        1444, 1448 (9th Cir.1986), the plaintiff could identify the
stand for the proposition that Defendants must submit              three defendant officers as among the five or six surrounding
affidavits of non-involvement, nor does it suggest that a          him while he was assaulted, although he could not clearly
plaintiff is relieved from showing personal involvement.           state they had assaulted him. The Ninth Circuit found that
Rather, Williams addresses the extent to which plaintiffs          this was sufficient evidence to go to a jury for consideration.
must respond to defendants' motions for summary judgment           See id. Similarly, in Grandstaff v. City of Borger, 767 F.2d
based on a lack of personal involvement. Once the defendant        161, 168 (5th Cir.1985), the Fifth Circuit held that the plaintiff
“documented his assertion of no personal involvement” by           did not need to prove which officer, of the four officers
specifying in a summary judgment motion the extent of his          who fired shots at plaintiff, fired the bullet that actually
involvement and denying involvement in ways alleged, the           killed plaintiff in order to be found liable under § 1983. The
defendant had made a motion sufficient to require response         court found each defendant “as much at fault as the others,
by the plaintiff. Williams, 781 F.2d at 324.                       and all are liable for the foreseeable consequences.” Id.;
                                                                   see also RESTATEMENT (SECOND) OF TORTS § 433B,
Here, the parties agree that Toole's involvement in the arrest     cmt. g (1965) (stating that the burden shifting rule “has no
was only after the actual apprehension. Bennett does not even      application to cases of alternative liability, where there is no
mention a woman in his testimony regarding the incident.           proof that the conduct of more than one actor has been tortious
There is no evidence to support Toole's involvement on an          at all. In such a case the plaintiff has the burden of proof both
excessive force claim. With respect to Barberi, Wiencko,           as to the tortious conduct and as to the causal relation.”).
Moloney, and Parrish, Bennett testified that the police officers
he observed with Gordon and the officers who arrested and           *18 In his § 1983 claim, Bennett makes specific allegations
put handcuffs on him were in plain clothes. (Defs.' 56.1 Stmt.     of the use of force by one or more specific persons. He has not
Bennett, Ex. B, at 70–77.) Barberi, Moloney, and Parrish           shown that any of the named Defendants were the ones that
all wore uniforms on August 20, 1995. (Defs.' 56.1 Stmt.           either used force or stood by and watched as others did. He
Bennett ¶ 8.) 31 At the time of Gordon's arrest, Wiencko           has not shown that they were aware of his particular situation.
was the only male officer in plain clothes. (Defs.' 56.1 Stmt.     He has not identified them as the officers who were present.
Bennett ¶ 9.) Although Defendants assert that Detectives do        Although the Court understands that, in a chaotic situation
not carry nightsticks, the citation they offer does not support    such as this one, it is difficult to observe and remember
that assertion. (Id. ¶ 10.)                                        every detail, all of the Plaintiffs in the various UCC cases
                                                                   have been through extensive discovery lasting several years.
31                                                                 The Plaintiff attorneys have photographs of all of the named
       Plaintiff's response to this statement is, “Plaintiff
       can neither admit nor deny this statement based             Defendants. In addition, many of the Plaintiffs engaged in
       upon the factual record. Defendants may have                CCRB proceedings in which they also had the opportunity
       changed clothes at various times on August 20,              to identify the Defendants. Bennett has never identified



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any of the named Defendants, either by name, description,             did cause specific and serious harm, pain and suffering in
photograph, or witness testimony at any time in the course            violation of plaintiff's Constitutional rights as guaranteed
of this lawsuit. Bennett has not filed an opposing affidavit          under 42 U.S.C. § 1983, and the Fourth and Fourteenth
stating that he recognizes any of the named Defendants as             Amendments to the United States Constitution.” (Bennett
an officer who used force against him. In the motion papers,          Am. Compl. ¶ 96.) Defendants move for summary judgment
Bennett's attorneys have failed to point to specific evidence         on the grounds that Toole had probable cause to arrest Bennett
that identifies any of the named Defendants as being involved         and that Bennett has failed to identify any of the other named
in Bennett's arrest. The closest the attorneys offer is the fact      Defendants and, therefore, cannot sustain an action under §
that Barberi was carrying a flashlight and was “using it in the       1983. The elements for a false arrest claim are outlined in the
vicinity of Bennett's arrest.” (Bennett's 56.1 Stmt. ¶ 6.)            Gordon section above.

Contrary to Plaintiffs' assertion, this Court is not requiring        Toole signed the criminal complaint based on Warsop's
Plaintiffs “to recite from memory the name of his or her              confirmation that the individual in the picture was the
assailant.” (Pls.' Mem. in Opp. at 9.) Plaintiff argues that          individual who assaulted him the night before and the
“Plaintiffs similarly situated have reconstructed the events          individual whom he had then identified to the uniformed
giving rise to their claims from an amalgam of police records,        officer. Based on this statement, Toole had probable cause to
statements and testimony from police officers, and statements         sign the criminal complaint against Bennett for the arrest of
and testimony of witnesses.” (Id.) Plaintiffs have failed to do       Gordon. Summary judgment is therefore granted for Toole on
this, and the Court is not responsible for the Plaintiffs' failure.   Bennett's false arrest claim.
The 56.1 Statements and motion papers lack the recitation
of evidence that supports, circumstantially or otherwise, the         As discussed above, Toole was Bennett's official arresting
personal involvement of any Defendant. The best Plaintiffs            officer, but she was not the one who apprehended Bennett and
offer with respect to some Defendants is a time at which they         detained him initially. For Bennett's arrest to be privileged, the
arrived. For other Defendants, they do not even offer this.           Defendants must show that this apprehending officer, who is
Aside from the claims against the supervisors, which will             not identified, had probable cause to arrest. The Defendants'
be addressed separately under the appropriate sections, mere          evidence for probable cause is Warsop's affidavit stating
presence at the site of a melee involving hundreds of people          that he identified Bennett to the officer. Warsop's affidavit,
is not evidence of personal involvement for the purpose               however, does not state exactly what he told the unidentified
of holding individual defendants liable for constitutional            apprehending officer. His affidavit simply states, “I pointed
violations.                                                           this male black out to an uniformed officer. The officer
                                                                      handcuffed the individual I had identified and removed him
Bennett does not offer any evidence connecting any of the             from the location where I was.” (Defs.' 56.1 Stmt., Warsop
Defendants to his attack or arrest. Without any evidence              Aff. ¶ 4.) Furthermore, as Bennett describes the events, there
linking any of the Defendants to the use of force in any way,         would have been little opportunity for Warsop to identify him
this Court cannot allow the charge to go to trial when the            to anyone because he was arrested soon after he approached
Defendants are being held personally liable for constitutional        Gordon. 32
violations. Summary judgment is granted for all Defendants
on Bennett's excessive force claim.                                   32      The Court notes that Plaintiff Andre Pierre's
                                                                              testimony contradicts both Warsop's and Bennett's
II. § 1983 False Arrest & Imprisonment Claim                                  version of events. Pierre testified that, when he
 *19 In his Amended Complaint, Plaintiff alleges that                         observed Plaintiff Cornelius Caliz get arrested, he
“The conduct and actions of defendants Parrish, Toole,                        also saw Bennett and heard Bennett ask the police,
Wiencko, Barberi, and Moloney, acting individually and                        “ ‘Why are you arresting Caliz?’ ... ‘can I come
in concert with each other, acting under color of law,                        down to the precinct with him’ and [the officer]
in arresting and imprisoning plaintiff without probable                       says, ‘Oh you want to come with him.” ’ (Pierre's
cause, was done intentionally, maliciously, with a deliberate                 56.1 Stmt., Ex. 1, at 53.)
indifference and/or with a reckless disregard for the natural         On the basis of this evidence, it is not clear what Warsop
and probable consequences of his acts, was done without               told the unidentified officer or whether or not this information
lawful justification or reason, and was designed to and


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was sufficient to give that officer probable cause to arrest         33     Bennett testified that he had the following injuries:
Bennett. Despite this fact, Plaintiff has offered no evidence               back pain, pain in his left hand, and tightness in his
in any way tying any of the named Defendants to the officer                 thighs. (Bennett's 56.1 Stmt., Ex. 1, at 118–19.)
who cuffed him. As discussed above, there must be a showing
of personal involvement to make a claim under § 1983.                34     The statement that receiving medical attention
Therefore, summary judgment is granted for all Defendants                   would result in a delay in going before a judge
on Bennett's § 1983 false arrest and imprisonment claim.                    is not a threat but a statement of fact. Because
                                                                            going to the hospital to receive medical treatment
                                                                            takes time, it often increase the time between arrest
III. § 1983 Denial of Medical Treatment                                     and arraignment. Such a delay does not constitute
 *20 Bennett alleges that Defendants Anemone, Maple,                        unnecessary delay for purposes of Fed.R.Crim.P.
Chapman, Brown, Devlin, Picht, Parrish, Prendergast,
                                                                            5(a). See United States v. Isom, 588 F.2d 858,
Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,
                                                                            862 (2d Cir.1978) (denying motion to suppress
O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
                                                                            statements made after arrest but before arraignment
Papagiannis unlawfully denied him medical treatment by                      because “The period during which appellant
“refusing to take any steps to provide plaintiff with medical
                                                                            received medical treatment (at his request) and
care to address a serious medical need, despite having full                 overnight lodging at the MCC should not be
knowledge that it was necessary and warranted under the
                                                                            counted in computing unnecessary delay” (citing
circumstances, and in refusing to allow plaintiff to seek
                                                                            United States v. Marrero, 450 F.2d 373, 378 (2d
prompt medical treatment for his injuries.” (Bennett Am.
                                                                            Cir.1971)).
Compl. ¶ 99.) Defendants move for summary judgment on
the basis that Bennett did not have apparent medical injuries        Summary judgment is granted for all Defendants on Bennett's
and did not seek medical assistance, despite his knowledge           claim of denial of medical treatment.
that it was available. Bennett maintains that he did have
serious injuries and was denied treatment. The relevant law is
                                                                     IV. § 1983 Failure to Intervene or Protect
presented in the Gordon section above.
                                                                     Bennett's claim for failure to intervene or protect alleges
                                                                     that Defendants Anemone, Maple, Chapman, Brown, Devlin,
While Bennett has offered evidence of injuries, 33 he has            Picht, Parrish, Prendergast, Toole, Wiencko, Barberi, Difede,
failed to offer evidence showing that he was denied treatment.       Webber, Moloney, Craig, O'Connor, O'Hagan, Lesiewicz,
The basis of Bennett's claim that the Defendants denied him          De Lorenzo, Brunner, and Papagiannis failed “to take any
medical treatment is that he told an officer at the precinct that    steps to intervene or protect plaintiff from the unauthorized,
he was in need of medical care, and the officer responded that       unjustified, and unreasonable treatment at the hands of the
if he sought medical attention, he would not be able to see          other defendants herein.” (Bennett Am. Compl. ¶ 102.)
the judge that day. Bennett testified that he replied, “[O]kay, I    Defendants move for summary judgment on the grounds
don't mind if I die in here, I just want to see the judge so I get   that there is no evidence showing that any Defendant had
out of here.” (Bennett's 56.1 Stmt., Ex. 1, at 109.) This does       knowledge of or reason to know of what happened to Bennett.
not constitute a denial of medical treatment. Bennett offers no      The relevant law is presented in the Gordon section above.
evidence that he was visibly injured, and he does not testify
that he was told he could not receive medical treatment. In           *21 Bennett offers no evidence that any of the supervisory
fact, his testimony suggests that he decided he would rather         Defendants were present when Bennett was arrested or that
forego immediate treatment and see the judge as quickly as           they had knowledge of his arrest or the use of force against
possible. 34 In addition, Bennett admits that Plaintiff Caliz,       him. The point in time at which Bennett was arrested appears
who was in the same cell as Bennett, accepted an offer of            to be during the beginning of the melee, before ranking
medical treatment from the police. (Bennett's 56.1 Stmt., Ex.        supervisors were on the scene or in control. As to the officers
1, at 86.) In addition, Bennett admits that he was in the same       who were at the scene initially—Toole, Barberi, Wiencko,
cell as Gordon (id.), and the evidence suggests that he was          and Moloney—Bennett offers no evidence identifying any of
therefore present when the police took Gordon to the hospital.       them or in any way connecting them to his arrest.




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Summary judgment is granted for all Defendants on Bennett's         comments (Bennett's 56.1 Stmt. ¶¶ 8–9) and that one non-
failure to intervene or protect claim.                              UCC member was arrested but released for the commission
                                                                    of a crime (id . ¶ 13). This evidence does not support a
                                                                    claim for unlawful retaliation under the relevant standard.
V. § 1983 Failure to Properly Supervise                             Bennett failed to offer evidence showing that the Defendants'
Bennett's next claim alleges that Defendants Anemone,               conduct—arresting and using excessive force against him—
Maple, Chapman, Brown, Devlin, Picht, Parrish, and                  was motivated by whatever First Amendment activity he was
Prendergast failed to properly supervise Toole, Wiencko,            engaged in. Plaintiff's assertion that the arrest and release of
Barberi, Difede, Parrish, Webber, Moloney, Single, Craig,           a non-UCC member establishes that he was arrested simply
O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and              because he was a church member is without merit. According
Papagiannis and “failed to exercise appropriate command             to Bennett's own evidence, Officer Lefebure, who is not
functions, thereby acquiescing to and acknowledging the             named as a defendant here, arrested a man for disorderly
improper actions of the defendants.” (Bennett Am. Compl. ¶          conduct because he was being loud and refused to leave.
105.)                                                               (Bennett's 56.1 Stmt ., Ex. 4, at 10–11.) This individual
                                                                    was issued a summons and released because “he met the
Bennett does not offer evidence of a failure to supervise that      parameters of being released on the scene” (id. at 15); that is,
is specific to the facts of his situation. Bennett admits that he   his proof of identification was valid, and he was only charged
was arrested before Anemone, Maple, Chapman, and Brown              with a violation (id. at 15–16, 18).
arrived on the scene (Bennett's Resp. to Defs.' 56.1 Stmt. ¶¶
41–42) and admits Prendergast was not a supervisor (id. ¶            *22 Bennett offers no evidence of any UCC member
43). As for Devlin and Parrish, Bennett has failed to identify      arrested for a similar charge—a violation—who had valid
evidence showing either personal wrongdoing or knowledge            identification and was not released. All of the arrested UCC
of or an opportunity to prevent violations of his rights. Bennett   members, including Bennett, were arrested for and charged
has not connected any of the supervisor Defendants to him,          with, among other things, the crime of assault. The fact that
and he has not connected any of the subordinate Defendants          a non-UCC member who was charged with the violation of
to him.                                                             disorderly conduct was issued a summons and released does
                                                                    not show animus or retaliation by any Defendant. Summary
Summary judgment is granted for all Defendants on Bennett's         judgment is granted for all Defendants on Bennett's claim of
claim for failure to supervise.                                     unlawful retaliation for First Amendment conduct.


VI. § 1983 Unlawful Retaliation for First Amendment                 VII. Common Law Assault and Battery
Conduct                                                             Bennett alleges that Defendants Toole, Wiencko, Barberi,
Bennett claims that Defendants Anemone, Maple, Chapman,             Parrish, and Moloney engaged in conduct constituting assault
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,         and battery. (Bennett Am. Compl. ¶ 136.) Defendants move
Barberi, Difede, Webber, Moloney, Craig, O'Connor, Single,          for summary judgment on the grounds that Bennett “cannot
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis            identify anyone who assaulted him. Therefore, he cannot
actions were “a direct result of defendants' animus toward          prove intent.” (Defs.' Mem. In Supp. Bennett at 9.)
plaintiff and/or [ ] a direct result of plaintiff's having
exercised his First Amendment rights to free exercise of his        Defendants have not cited any law supporting the position
religion.” (Bennett Am. Compl.¶ 108.) Defendants move for           that intent cannot be proved without identification of the
summary judgment on the grounds that there is no evidence           perpetrator of an assault and battery. Assault is “an intentional
showing Bennett was engaged in First Amendment activity             placing of another person in fear of imminent harmful or
at the time of his arrest or that any of the Defendants             offensive contact.” United Nat'l Ins. Co. v. Waterfront New
were connected to Bennett's arrest or knew his religion. The        York Realty Corp., 994 F .2d 105, 108 (2d Cir.1993). Battery
elements of the cause of action are outlined in the Gordon          is “an intentional wrongful physical contact with another
section above.                                                      person without consent.” Id. (citations omitted). Intent is
                                                                    an element of both torts, but the plaintiff need only offer
As evidence of his unlawful retaliation claim, Bennett alleges      evidence that “there was bodily contact; that such contact
that after his arrest several officers made derogatory religious    was offensive; and that the defendant intended to make the


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contact.” Masters v. Becker, 254 N.Y.S.2d 633, 635 (2d Dep't              the City of New York on the theory of respondeat
1964). Plaintiffs need only show that a defendant intended the            superior.” (May 31, 2000 Order ¶ 1.) Given this
contact, not that they intended the specific harm. See Rivera v.          stipulation, the Plaintiff could receive a judgment
Puerto Rican Home Attendants Servs. Inc., 930 F.Supp. 124,                against the City if the jury finds that an unidentified
133 (S .D.N.Y.1996) (recognizing that “the intent requisite               officer assaulted and battered him, even though he
to an assault under New York law is the intent either to                  could not receive judgment against any particular
inflict personal injury or to arouse apprehension of harmful or           defendant.
offensive bodily contact. To prove battery, the required intent
is merely that the defendant intentionally made bodily contact     VIII. Common Law False Arrest & Imprisonment
and that the intended contact was itself offensive or without      Bennett alleges that Defendants Parrish, Toole, Wiencko,
consent.” (internal citations omitted)). The question of intent    Barberi, and Moloney acted to falsely arrest and imprison
is a question of fact for the jury. See Casimir v. Hoffman, 213    him without probable cause. (Bennett Am. Compl. ¶ 139.)
N.Y.S.2d 499, 500 (2d Dep't 1961).                                 Defendants move for summary judgment. The elements of a
                                                                   false arrest claim are presented in the Gordon section above.
Crediting Bennett's version of events, there is sufficient         The standard for false arrest is the same under § 1983 and
evidence that an assault and battery occurred. Plaintiff did       common law. See Weyant v. Okst, 101 F.3d 845, 852 (2d
not consent to any touching and, based on the evidence             Cir.1996.)
he presents, the acts resulting in the physical contact were
intentional, not accidental.                                       Summary judgment is granted for Toole on Bennett's claim
                                                                   for false arrest and imprisonment. Toole had probable cause
Summary judgment is granted on Bennett's assault and battery       to arrest Bennett based on the post-arrest identification by
claim against Defendants Toole and Parrish. Bennett's own          Warsop. See Bennett's § 1983 section above. Summary
testimony does not support a claim that Toole or Parrish were      judgment is granted for Parrish. The evidence suggests that
involved in the use of force. In addition, summary judgment        Parrish did not arrive on the scene until after approximately
is granted for Defendants Barberi, Wiencko, and Moloney.           four arrests. (Pls.' Gen. 56.1 Stmt., Ex. 19, at 109.)
Bennett has not identified these Defendants as the ones who        Summary judgment is also granted for Defendants Barberi,
assaulted and battered him. To deny summary judgment and           Wiencko, and Moloney. There is no showing that any of
allow the claim to proceed against these Defendants simply         these Defendants were involved with the arrest of Bennett.
because Bennett names them in his Amended Complaint                Summary judgment is granted for all named Defendants.
would only be inviting the jury to speculate without sufficient
evidence. Summary judgment is granted for all named                Based on the analysis in Bennett's § 1983 false arrest
Defendants.                                                        claim above, the Defendants have not established that the
                                                                   unidentified officer who arrested Bennett had probable cause
 *23 Defendants do not cite any law holding that a plaintiff       to do so. Defendants have not cited any law holding that a
may not proceed on this claim as against unidentified              plaintiff cannot proceed with a false arrest claim against an
defendant police officers. The police officers on the scene        unidentified defendant police officer. Therefore, Bennett will
were the authorized agents of the City of New York. Bennett's      be allowed to present his claim that an unidentified officer
testimony supports a claim of assault and battery. A principal     falsely arrested him because he lacked probable cause.
is generally liable for the acts of its agents acting within
the scope of their authority. Therefore, Bennett may proceed
with his common law claim of assault and battery against           IX. Common Law Malicious Prosecution
                                                                   Bennett claims that Defendants Parrish, Toole, Wiencko,
unidentified police officers. 35
                                                                   Barberi, and Moloney are liable for maliciously prosecuting
                                                                   him. (Bennett Am. Compl. ¶ 142.) Defendants move for
35     The parties are reminded of the Court's Order               summary judgment. The elements of a malicious prosecution
       stating, “[D]efendants are deemed to have                   claim are explained in the Gordon section above.
       stipulated that each individual defendant police
       officer was acting within the scope of his/her              Summary judgment is granted for all Defendants on Bennett's
       employment and that any verdict against any police          claim for malicious prosecution. There is no evidence
       officer will permit a judgment to be entered against


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connecting Bennett, Wiencko, Parrish, or Moloney to the           Compl. ¶ 151.) Defendants move for summary judgment. The
criminal prosecution of Bennett. The only Defendant who is        relevant law is identified in the Gordon section above.
connected to the prosecution of Bennett is Toole, who signed
the criminal complaint against him. (Pls.' Gen. 56 .1 Stmt.,      Summary judgment is granted for all Defendants on Bennett's
Ex. 271.) As discussed above, Toole had probable cause for        claim for conspiracy. Bennett fails to offer evidence to support
the arrest of Bennett based on the post-arrest identification     the claim.
of him by Warsop. Plaintiff does not point to evidence
that Toole received information contradicting this basis for
probable cause by the time she signed the criminal complaint.     XIII. Common Law Negligence
Therefore, Toole had probable cause to sign the complaint         Bennett alleges that Defendants Anemone, Maple, Chapman,
and initiate criminal proceedings against Bennet. Summary         Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
judgment is granted for all Defendants.                           Barberi, Difede, Webber, Moloney, Craig, O'Connor, Single,
                                                                  O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
                                                                  negligently caused him severe injuries and emotional distress.
X. Common Law Intentional Infliction of Emotional Distress        (Bennett Am. Compl. ¶ 154.) Defendants move for summary
 *24 Bennett alleges that Defendants Anemone, Maple,              judgment. The relevant law is identified in the Gordon section
Chapman, Brown, Devlin, Picht, Parrish, Prendergast,              above.
Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,
O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,        Summary judgment is granted for all Defendants on Bennett's
and Papagiannis acted to intentionally inflict emotional          claim for negligence. Bennett fails to offer evidence to
distress on him. (Bennett Am. Compl. ¶ 145.) Defendants           support the claim.
move for summary judgment. The relevant law is identified
in the Gordon section above.                                      Prior to this opinion, all Plaintiffs withdrew all claims for
                                                                  prima facie tort and all claims against Defendant Brown.
Summary judgment is granted for all Defendants on Bennett's       (McCartney Decl. ¶¶ 10–11.)
claim for intentional infliction of emotional distress. Bennett
fails to offer evidence to support the claim.
                                                                  Conclusion
                                                                  Summary judgment is denied on the following claims by
XI. Common Law Negligent Infliction of Emotional Distress         Bennett:
Bennett alleges that Defendants Anemone, Maple, Chapman,
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,         1. common law assault and battery against unidentified
Barberi, Difede, Webber, Moloney, Craig, O'Connor, Single,             police officers
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
                                                                    2. common law false arrest & imprisonment against
acted to negligently inflict emotional distress on him.
                                                                      unidentified police officers
(Bennett Am. Compl. ¶ 148.) Defendants move for summary
judgment. The relevant law is identified in the Gordon section
                                                                  Summary judgment is granted on the remaining claims by
above.
                                                                  Bennett:

Summary judgment is granted for all Defendants on Bennett's         1. § 1983 excessive force (physical acts) against all
claim for negligent infliction of emotional distress. Bennett         Defendants
fails to offer evidence to support the claim.
                                                                    2. § 1983 false arrest and imprisonment against all
                                                                      Defendants
XII. Common Law Conspiracy
Bennett alleges that Defendants Anemone, Maple, Chapman,             *25 3. § 1983 denial of medical treatment against all
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,           Defendants
Barberi, Difede, Webber, Moloney, Craig, O'Connor, Single,
                                                                    4. § 1983 failure to intervene or protect against all
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
                                                                      Defendants
conspired against him to violate his rights. (Bennett Am.



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                                                                    excessive force against him. 36 However, Single testified that
  5. § 1983 failure to properly supervise against all
                                                                    his arrest of Caliz was a struggle in which the two of them
    Defendants
                                                                    fought over his baton and fell to the ground. (Defs.' 56.1 Stmt.
  6. § 1983 unlawful retaliation for First Amendment conduct        Caliz, Ex. D.) Single also admits to using his pepper spray.
     against all Defendants                                         Lesiewicz also testified that he was involved in the arrest. (Id.,
                                                                    Ex. E.) Caliz claims he was hit from behind and attacked.
  7. common law assault and battery against Defendants              (Caliz's 56.1 Stmt., Ex. 1, at 65.) Based on this evidence,
     Toole, Wiencko, Moloney, Barberi, Parrish                      summary judgment is denied as to Single and Lesiewicz, the
                                                                    apprehending officers. Summary judgment is granted for all
  8. common law false arrest and imprisonment against               Defendants.
    Defendants Toole, Wiencko, Molorey, Barberi, Parrish
                                                                    36
  9. common law malicious prosecution against all                           Although discovery revealed that both Single and
    Defendants                                                              Lesiewicz participated in the arrest, neither admit
                                                                            to using excessive force (physical acts) against
  10. common law intentional infliction of emotional distress               Caliz. Furthermore, after Plaintiff discovered the
    against all Defendants                                                  identity of some of the officers involved in the
                                                                            arrests, he did not file an amended complaint,
  11. common law negligent infliction of emotional distress
                                                                            submit an affidavit, or in any other way indicate
    against all Defendants
                                                                            that he now could identify the officers who used
  12. common law conspiracy against all Defendants                          excessive force against him.

  13. common law negligence against all Defendants                  II. § 1983 Excessive Force (noxious gas)
                                                                    Caliz alleges that Defendants Barberi, Webber, Craig, Single,
                                                                    Lesiewicz, De Lorenzo, Brunner, Papagiannis, Parrish,
                   Cornelius Caliz's Claims                         Anemone, Maple, Chapman, Brown, and Devlin used
                                                                    excessive force against him in the form of noxious gas. (Caliz
Cornelius Caliz arrived at the UCC for the revival around 6:30      Compl. ¶ 128.) Defendants move for summary judgment.
p.m. on August 20, 1995. (Caliz' 56.1 Stmt. ¶ 1.) There is no
evidence that he was involved in the initial Warsop incident.        *26 Caliz has identified evidence showing that Single
Caliz testified that as he was leaving the service, he observed     used pepper spray on him in the course of the arrest.
several people beating Gordon. (Id. ¶ 4.) Caliz approached          (Defs.' 56.1 Stmt. Caliz ¶¶ 7–8, 12.) Caliz has therefore the
the group, asked “what's the matter,” and did not receive a         shown personal involvement of Single sufficient to survive
response. (Id. ¶ 5.) At this point, Caliz attempted to return to    a summary judgment motion. Whether or not the use of
the gated entrance to the UCC, but he was pushed, sprayed,          pepper spray constitutes excessive force is a question for the
beaten, and handcuffed. (Id. ¶ 6.) Caliz was not able to identify   jury. Summary judgment is denied on Caliz's excessive force
any of the people who attacked him (Id., Ex. 1, at 67.), but        claim for pepper spray against Single. Because Caliz offers
Officers Single and Lesiewicz have admitted participating in        no other evidence supporting the personal involvement of any
the arrest (Defs .' 56.1 Stmt. ¶¶ 6–12).                            Defendant in spraying him, summary judgment is granted for
                                                                    all other Defendants.

I. § 1983 Excessive Force (physical acts)
In his Complaint, Caliz alleged that “unnamed defendant             III. § 1983 False Arrest and Imprisonment
police officers” used excessive force against him in the course     Caliz alleges Defendants Anemone, Maple, Chapman,
of his arrest. (Caliz Compl. ¶ 125.) Caliz failed to amend          Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
his complaint to name any specific Defendants as having             Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
used force against him. In his deposition, Caliz testified that     O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
he could not identify the officers who he alleges used force        falsely arrested and imprisoned him. (Caliz Compl. ¶¶ 131,
against him. (Caliz 56.1 Stmt., Ex. 1, at 65–67.) Caliz has         146.) Defendants move for summary judgment. The elements
not shown the personal involvement of any officer in using


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of a false arrest claim are outline in the Gordon and Bennett
sections above.                                                     VI. Common Law Assault and Battery (physical acts)
                                                                     *27 Caliz alleges that unidentified police officers who
Defendants have the burden of showing probable cause for            “tackled [him] from behind and struck him with nightsticks”
the arrest. Defendants claim that Single had probable cause to      are liable for assault and battery. (Caliz's Compl. ¶ 178.)
arrest Caliz because Caliz assaulted him by head butting him.       Defendants move for summary judgment. The elements are
Defendants argue that “Single's account should be credited,         set forth in the Bennett section above.
and Caliz's claim for false arrest dismissed.” (Defs.' Mem.
in Supp. Caliz at 4.) Caliz's version of events is contrary         Caliz has alleged sufficient physical acts to support a claim
to Defendants. Caliz claims he was walking toward the               for assault and battery. The evidence shows that Single and
gate when he was hit from behind and attacked. (Caliz'              Lesiewicz were involved in Caliz's apprehension and alleged
56.1 Stmt. ¶ 6.) For the purposes of a summary judgment             attack. Caliz also testified that there were other officers
motion, Plaintiff's version of events must be credited as true.     who were involved, but he has not presented evidence to
According to Caliz's account, he did not assault Single, and        establish their identities. Summary judgment is denied as to
there was no probable cause for his arrest. Which version of        Single, Lesiewicz, and unidentified police officers. Summary
events to believe is a credibility determination for the jury.      judgment is granted to all other Defendants.
Caliz identifies evidence showing the personal involvement
of Single and Lesiewicz in his arrest and imprisonment.
                                                                    VII. Common Law Assault and Battery (noxious gas)
(Defs.' 56.1 Stmt. Caliz ¶ 43.) Summary judgment is denied
                                                                    Caliz alleges that Defendants Barberi, Webber, Craig, Single,
on Caliz's false arrest claim against Single and Lesiewicz.
                                                                    Lesiewicz, De Lorenzo, Brunner, Papagiannis, Parrish,
Summary judgment is granted for all other Defendants
                                                                    Anemone, Maple, Chapman, Brown, and Devlin inflicted
because there is no showing of their personal involvement.
                                                                    assault and battery on him by spraying him with noxious gas.
                                                                    (Caliz Am. Compl. ¶ 181.) Defendants move for summary
IV. § 1983 Failure to Intervene and Protect; § 1983 Failure         judgment.
to Supervise
Caliz alleges that Defendants are liable for failure to intervene   Single admits to spraying Caliz with pepper spray. (Defs.' 56.1
and protect and failure to supervise. (Caliz Compl. ¶¶ 134,         Stmt. Caliz ¶ 7.) Such action can constitute assault and battery.
137.)                                                               Summary judgment is denied as to Single.


Summary judgment is granted for all Defendants. Caliz, who          Summary judgment is granted on Caliz's assault and battery
was arrested early on in the melee, does not show that any          claim for noxious gas against all other Defendants. Caliz
Defendants other than Single and Lesiewicz were on the              offers no evidence that any of the other Defendants sprayed
scene, aware of the incident, or in a position to supervise.        him or authorized the spraying of noxious gas on him.



V. § 1983 Denial of Medical Treatment; § 1983 Unlawful              VIII. Common Law False Arrest and Imprisonment
Retaliation for First Amendment Conduct                             Caliz alleges that Defendants Single, Parrish, Barberi, and
Caliz alleges Defendants are liable for denying him necessary       Lesiewicz acted to falsely arrest and imprison him. (Caliz
medical treatment and for unlawfully retaliating against him.       Compl. ¶ 187.) 37 Defendants moved for summary judgment.
(Caliz Compl. ¶¶ 140, 143.)                                         The relevant law is set forth in the Gordon and Bennett
                                                                    sections above.
Summary judgment is granted for all Defendants on Caliz's
denial of medical treatment and unlawful retaliation claims.        37      In his Complaint, Caliz makes two claims for
Caliz has not identified any evidence of a Defendant who                    false arrest and imprisonment: one specifically
denied him medical treatment. He has not shown that any                     against Single, Parrish, Barberi, and Lesiewicz
Defendant retaliated against him for his religious conduct.                 for falsely arresting and imprisoning him (Caliz
Summary judgment is granted on both claims.                                 Compl. ¶ 187) and one against Defendants
                                                                            Anemone, Maple, Chapman, Brown, Devlin,



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       Picht, Parrish, Prendergast, Toole, Wiencko,,               engaged in conduct that constitutes intentional infliction of
       Barberi, Difede, Webber, Moloney, Craig, Single,            emotional harm. (Caliz Compl. ¶ 193.) Plaintiff fails to
       O'Connor, O'Hagan, Lesiewicz, De Lorenzo,                   offer evidence sufficient to meet the stringent test required
       Brunner, and Papagiannis specifically for false             under New York law. Summary judgment is granted for all
       imprisonment (Id. ¶ 184). The later claim appears           Defendants.
       to refer to the mass imprisonment of the UCC
       members during the surrounding of the UCC
       grounds. Because Caliz was already arrested prior           XI. Common Law Negligent Infliction of Emotional Distress
       to that alleged imprisonment, the Court grants              Caliz claims that Defendants Anemone, Maple, Chapman,
       summary judgment as to this claim. To the                   Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
       extent that Caliz has a false arrest claim against          Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
       the specific Defendants who participated in his             O'Hagan, Lesiewicz, De Lorenzo, Brunner and Papagiannis
       apprehension and arrest, it is considered above.            negligently caused him severe emotional distress. (Caliz
                                                                   Compl. ¶ 196.) Caliz offers no evidence of any negligent acts
Caliz has shown the personal involvement of Single and             resulting in severe emotional distress. Summary judgment is
Lesiewicz in his arrest. See § 1983 false arrest claim above.      granted for all Defendants.
A common law and § 1983 claim have the same elements.
Therefore, summary judgment is denied for Single and
Lesiewicz.                                                         XII. Common Law Conspiracy
                                                                   Caliz alleges that the Defendants conspired together to
Summary judgment is granted for Defendants Parrish and             deprive him of his rights. (Caliz Compl. ¶ 199.)
Barberi. Caliz does not shown that either Defendant was
involved in apprehending him.                                      Caliz's claim for conspiracy is dismissed as to all Defendants.
                                                                   Caliz offers no evidence of any conspiracy. Summary
                                                                   judgment is granted for all Defendants.
IX. Common Law Malicious Prosecution
Caliz alleges malicious prosecution against Defendants
Single, Parrish, Barberi, and Lesiewicz. (Caliz Compl. ¶ 190.)     XIII. Common Law Negligence
Defendants move for summary judgment. The elements of the          Caliz alleges that Defendants Anemone, Maple, Chapman,
tort of malicious prosecution are outlined in the Gordon and       Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
Bennett sections above.                                            Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
                                                                   O'Hagan, Lesiewicz, De Lorenzo, Brunner and Papagiannis
The only evidence Caliz offers connecting any of the               “negligently caused severe physical injuries, and caused
Defendants to his prosecution is Single, who initiated             extreme emotional distress.” (Caliz Compl. ¶ 202.) Caliz has
the arrest and signed the criminal complaint against him.          failed to offer evidence to establish this claim. Summary
Crediting Caliz's version of the facts, there was no probable      judgment is granted for all Defendants.
cause for his arrest or prosecution. Therefore, there was no
probable cause to sign a criminal complaint to initiate criminal   Prior to this opinion, all Plaintiffs withdrew all claims for
proceedings. Summary judgment is denied as to Single.              prima facie tort and all claims against Defendant Brown.
                                                                   (McCartney Decl. ¶¶ 10–11.)
Caliz offers no evidence that any other Defendant was
connected with his criminal prosecution. Summary judgment
is granted for Defendants Parrish, Barberi, and Lesiewicz.         Conclusion
                                                                   Summary judgment is denied on the following claims by
                                                                   Caliz:
X. Common Law Intentional Infliction of Emotional Distress
*28 Caliz alleges Defendants Anemone, Maple, Chapman,                1. § 1983 excessive force (physical acts) against Single,
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,             Lesiewicz
Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
                                                                     2. § 1983 excessive force (noxious gas) against Single
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis



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  3. § 1983 false arrest and imprisonment against Single,        11. common law intentional infliction of emotional distress
     Lesiewicz                                                     against all Defendants

  4. common law assault and battery (physical acts) against      12. common law negligent infliction of emotional distress
     Single, Lesiewicz unidentified officers                       against all Defendants

  5. common law assault and battery (noxious gas) against        13. common law conspiracy against all Defendants
     Single
                                                                 14. common law negligence against all Defendants
  6. common law false arrest and imprisonment against
    Single, Lesiewicz

  7. common law malicious prosecution against Single                           Woodrow Campbell's Claims

                                                               Woodrow Campbell arrived at the UCC between 6:30 and
Summary judgment is granted on the following claims by
                                                               7 p.m. on August 20, 1995. (Campbell's 56.1 Stmt. ¶ 1.)
Caliz:
                                                               The parties offer no evidence that Campbell was involved
  1. § 1983 excessive force (physical acts) against all        in the initial Warsop incident. Campbell testified that, after
    Defendants other than Single, Lesiewicz                    the service ended, he heard a commotion at the corner of
                                                               Sutphin and Ferndale, and he went to take pictures. (Id. ¶¶
  2. § 1983 excessive force (noxious gas) against Barberi,     4–5.) At some point, an officer told Campbell to stop taking
     Webber, Craig, Lesiewicz, De Lorenzo, Brunner,            pictures. (Id. ¶ 6; Defs.' 56.1 Stmt. Campbell ¶ 3.) When
     Papagiannis, Parrish, Anemone, Maple, Chapman,            Campbell, who was standing on the hood of a car, did not stop
     Brown, and Devlin                                         taking pictures, the officer struck him on the leg numerous
                                                               times (Campbell's 56.1 Stmt. ¶ 7; Defs.' 56.1 Stmt. Campbell
  3. § 1983 false arrest and imprisonment against Anemone,     ¶ 3) and also hit him in the chest and knee (Defs.' 56.1
     Maple, Chapman, Brown, Devlin, Picht, Parrish,            Stmt. Campbell ¶ 6.) Campbell testified that he was pushed
     Prendergast, Toole, Wiencko, Barberi, Difede, Webber,     against a car, handcuffed, arrested, and dragged to a police
     Moloney, Craig, O'Connor, O'Hagan, De Lorenzo,            car. (Campbell's 56.1 Stmt. ¶ 9; Defs.' 56.1 Stmt. Campbell ¶¶
     Brunner, and Papagiannis                                  7–12 .) Campbell also testified that he was struck in the head,
                                                               neck, and back. (Defs.' 56.1 Stmt. Campbell ¶¶ 12–18.) It is
   *29 4. § 1983 failure to intervene or protect against all
                                                               unclear exactly how many officers were involved. Campbell's
    Defendants
                                                               testimony suggests that at least two officers used force against
  5. § 1983 failure to supervise against all Defendants        him and that more participated in his handcuffing and arrest.
                                                               (Campbell 56.1 Stmt ., Ex. 1, at 128–51.)
  6. § 1983 denial of medical treatment against all
    Defendants
                                                               I. § 1983 Excessive Force (physical acts)
  7. § 1983 unlawful retaliation for First Amendment conduct   Campbell alleges that Defendants Toole, Parrish, Prendergast,
     against all Defendants                                    Wiencko, Barberi, Webber, Moloney, and Craig used
                                                               excessive force against him in the course of his false arrest.
  8. common law assault and battery (noxious gas)
                                                               (Campbell Compl. ¶¶ 121.) Defendants move for summary
    against Barberi, Webber, Craig, Lesiewicz, De Lorenzo,
                                                               judgment on the grounds that Campbell has not been able to
    Brunner, Papagiannis, Parrish, Anemone, Maple,
                                                               identify any of the named Defendants and, therefore, cannot
    Chapman, Brown, and Devlin
                                                               show the necessary personal involvement for a § 1983 claim
  9. common law false arrest as to Parrish, Barberi            against those Defendants. The relevant law is presented in the
                                                               Gordon and Bennett sections above.
  10. common law malicious prosecution against Parrish,
    Barberi, Lesiewicz                                         Campbell does not identify, by name, photograph,
                                                               description, or otherwise, any Defendant sufficient to



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establish a showing of personal involvement. See Bennett         and Craig, summary judgment is granted for those
section on § 1983excessive force claims and personal             Defendants.
involvement above. Campbell could not describe the officer
who told him to stop taking pictures except to say that he       Summary judgment is denied on the false arrest claim against
was a male in uniform. (Defs.' 56.1 Stmt. Campbell ¶ 4 .)        Toole. Campbell has filed an affidavit in opposition stating
In addition, he was not able to identify any of the involved     that he did not commit a crime or strike a police officer.
officers from photographs that he had viewed prior to his        (Campbell's 56.1 Stmt., Ex. 6.) In addition, it is undisputed
deposition. (Campbell's 56.1 Stmt., Ex. 1, at 129.) He also      that Toole was Campbell's official arresting officer. (Pls.' Gen.
admits that he does not allege that a female assaulted him.      56.1 Stmt., Ex. 27 A, E, H.) Furthermore, Defendants do not
(Defs.' 56.1 Stmt. Campbell ¶ 29; Campbell's Resp. to Defs.'     contest that there are material facts in dispute as to Toole's
56.1 Stmt. ¶ 29.) The only other testimony Campbell offers       involvement in Campbell's arrest. (Defs.' 56.1 Stmt. Campbell
is that one of the officers who hit him in the chest was tall.   ¶ 42.)
(Campbell's 56.1 Stmt., Ex. 1, at 134.) The exact number
of officers Campbell claims were involved in the attack and
arrest is also unclear from his deposition. Campbell does not    III. § 1983 Failure to Intervene or Protect
point to any evidence or opposing affidavit establishing the     Campbell alleges that Anemone, Maple, Chapman, Brown,
personal involvement of any named Defendant in the use of        Devlin, Picht, Parrish, Prendergast, Toole, Wiencko, Barberi,
excessive force against him; therefore, summary judgment is      Difede, Webber, Moloney, Craig, O'Connor, Single, O'Hagan,
                                                                 Lesiewicz, De Lorenzo, Brunner, and Papagiannis are
granted on his claim of excessive force for all Defendants. 38
                                                                 liable for failure to intervene and protect him against the
                                                                 unauthorized and unjustified acts of other officers. (Campbell
38     The only evidence connecting any Defendant to             Compl. ¶ 130.) Defendants move for summary judgment. The
       Campbell appears to be from the Defendants. In her        relevant law is explained in the Gordon section above.
       deposition, Toole testified that she was in physical
       contact with Campbell in that he was punching             Campbell fails to offer evidence supporting this § 1983
       and kicking her. (Toole Dep., 2/19/97, at 116; Pls.'      claim. He does not offer evidence showing that any of
       Gen. 56.1 Stmt., Ex. 27 A, E, H.) Although this           these Defendants had knowledge or reason to know of the
       evidence supports the claim that Toole was in             alleged excessive force, false arrest, or any other violation,
       contact with Campbell, it does not show Toole's           or that there was an opportunity to intervene. See Anderson
       personal involvement for the excessive force claim        v. Branen, 17 F.3d 552, 557 (2d Cir.1994.) Campbell's own
       because it does not support the allegation that she       testimony establishes that the excessive force and arrest
       used force of any kind against Campbell; in fact, it      occurred during the melee when everything was chaotic. He
       supports the opposite. Furthermore, Campell's own         states that the forced used against him occurred in a matter
       deposition never mentions Toole or any woman              of seconds. (Campbell's 56.1 Stmt., Ex. 1, at 145.) He has
       officer in describing the use of force against him,       not shown awareness or opportunity for any Defendant to
       and his testimony suggests that he did not interact       intervene. Under the circumstances, Campbell has not made
       with Toole until she questioned him the day after         a prima facie case against any of the named Defendants.
       his arrest. (Defs.' 56.1 Stmt. Campbell, Ex. C, at        Summary judgment is granted for all Defendants.
       159–160.)

II. § 1983 False Arrest                                          IV. § 1983 Failure to Supervise
 *30 Campbell also alleges that Defendants Toole, Parrish,       Campbell alleges that Defendants Anemone, Maple,
Prendergast, Wiencko, Barberi, Webber, Moloney, and Craig        Chapman, Brown, Devlin, Picht, Parrish, and Prendergast
falsely arrested him without probable cause. (Campbell           failed to properly supervise Defendants Toole, Wiencko,
Comp. ¶ 142.) Defendants move for summary judgment. The          Barberi, Difede, Webber, Moloney, Single, Craig, O'Connor,
relevant law is outlined in the Gordon and Bennett sections      O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis.
above.                                                           (Campbell Compl. ¶ 133.) Defendants move for summary
                                                                 judgment. The relevant law is presented in the Bennett and
Because Campbell does not show personal involvement for          Abraham sections.
Parrish, Prendergast, Wiencko, Barberi, Webber, Moloney,


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Plaintiff admits that the excessive force and false arrest          that his injuries were visible or that any of the named
occurred before Anemone, Maple, Chapman, and Brown                  Defendants had reason to know of them. Campbell did not
arrived on the scene (Defs.' 56.1 Stmt. Campbell ¶ 30) and          ask for treatment. (Campbell 56.1 Stmt., Ex. 1, at 161.) He
that Prendergast was not a supervisor in August of 1995             testified that he heard an officer in the precinct say that going
(Id ¶ 31). Although Plaintiffs deny Defs.' 56.1 Stmt. ¶ 32          to the hospital for medical treatment would delay the amount
that “There is no evidence in the record demonstrating that         of time for which the arrestees would be held and that this
Picht or Parrish had any knowledge of the alleged assault           made him afraid to ask for medical treatment. (Campbell's
of Woodrow Campbell,” they cite only to Pls.' Gen. 56.1             Response to Defs.' 56.1 Stmt. ¶ 35.) 40 The police officer's
Stmts. and Exhibits and do not identify specific evidence           statement does not rise to the level of showing deliberate
contradicting this statement. (Campbell's Resp. to Defs.' 56.1      indifference. Furthermore, Plaintiff has not identified the
Stmt. ¶ 32.) Under Local Rule 56.1, this is an insufficient         person who made the statement. The evidence presented by
response to Defendants' 56.1 Statement. Campbell has not            Campbell in support of this claim does not amount to a prima
shown the personal involvement of any of these supervisors          facie case against any named Defendants.
in the ways required by Williams v. Smith, 781 F.2d 319,
323–24 (2d Cir.1986) and Blyden v. Mancusi, 186 F.3d 252,           39      Campbell testified to injuries including pain in his
264–65 (2d Cir.1999). Summary judgment is granted for all
                                                                            chest (Campbell 56.1 Stmt, Ex. 1, at 167), breathing
Defendants.
                                                                            problems (Id.), headaches (Id. at 168), pain in his
                                                                            knee (Id.), and stated that he regularly visits a
V. § 1983 Denial of Medical Treatment                                       physical therapist for the pains in his knee and back
 *31 Campbell alleges that Defendants Anemone, Maple,                       (Id. at 173–75).
Chapman, Brown, Devlin, Picht, Parrish, Prendergast,                40      The statement that receiving medical attention
Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,
                                                                            would result in a delay in going before a judge
O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
                                                                            is not so much a threat as a statement of fact.
and Papagiannis denied him necessary medical treatment.
                                                                            Because going to the hospital to receive medical
(Campbell Compl. ¶ 136.) Defendants move for summary
                                                                            treatment takes time, it often increase the time
judgment on the grounds that Campbell did not have a
                                                                            between arrest and arraignment. Such a delay does
serious medical condition and that Campbell was aware of
                                                                            not constitute unnecessary delay for purposes of
the availability of, but did not seek, medical treatment. (Defs.'
                                                                            Fed.R.Crim.P. 5(a). See United States v. Isom,
56.1 Stmt. Campbell, Ex. C, at 161.) The elements of a
                                                                            588 F.2d 858, 862 (2d Cir.1978) (denying motion
denial of medical treatment claim are presented in the Gordon
                                                                            to suppress statements made after arrest but
section above.
                                                                            before arraignment because “The period during
                                                                            which appellant received medical treatment (at
Campbell testified that he did not seek medical treatment
                                                                            his request) and overnight lodging at the MCC
because he was afraid and did not want to remain in jail.
                                                                            should not be counted in computing unnecessary
(Campbell 56.1 Stmt., Ex. 1, at 161.) He did seek treatment a
                                                                            delay” (citing United States v. Marrero, 450 F.2d
number of times after his release, and each time he was told
                                                                            373, 378 (2d Cir.1971)).
he had bruises, no broken bones. (Id. at 167–77.) Campbell
maintains that he suffered a number of injuries as a result of      Summary judgment is granted for all Defendants.
the incident. (Campbell's 56.1 Stmt. ¶ 17.)

This Court cannot assess the seriousness of Campbell's              VI. § 1983 Unlawful Retaliation for First Amendment
injuries on the evidence before it. Campbell does not               Conduct
                                                                    In his Complaint, Campbell claims that Defendants
demonstrate that his injuries were obvious. 39 Campbell did
                                                                    Anemone, Maple, Chapman, Brown, Devlin, Picht, Parrish,
testify about the general nature of his injuries (Campbell's
                                                                    Prendergast, Toole, Wiencko, Barberi, Difede, Webber,
56.1 Stmt., Ex. 1, at 161–72), but he has not shown that
                                                                    Moloney, Craig, O'Connor, Single, O'Hagan, Lesiewicz, De
his injuries were brought to the attention of any Defendant
                                                                    Lorenzo, Brunner, and Papagiannis engaged in retaliatory
and that that Defendant acted with deliberate indifference and
                                                                    conduct because of animus toward his exercise of the right
denied him medical treatment. Plaintiff offers no evidence
                                                                    to free exercise of religion. (Campbell Compl. ¶ 139.)


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Defendants move for summary judgment. The elements of the         In his Complaint, Campbell alleges that Defendants Toole,
claim are presented in the Gordon and Bennett sections above.     Parrish, Prendergast, Wiencko, Barberi, Webber, Moloney,
For the reasons stated in those sections, Campbell has failed     and Craig falsely arrested and imprisoned him. (Campbell
to identify sufficient evidence to support this claim. Summary    Compl. ¶ 183.) Defendants move for summary judgment on
judgment is granted for all Defendants.                           the grounds that the only Defendant Campbell can connect to
                                                                  his arrest is Toole. The relevant law is outlined in the Gordon
                                                                  and Bennett sections above.
VII. Common Law Assault and Battery (physical acts)
 *32 Campbell alleges that Defendants Toole, Parrish,             The elements of false arrest are the same under both §
Prendergast, Wiencko, Barberi, Webber, Moloney, and Craig         1983 and common law. The Defendants have the burden
are liable for assault and battery because they struck him with   of establishing probable cause for the arrest. Crediting
nightsticks. (Campbell Compl. ¶ 174.) Defendants move for         Campbell's version for the purpose of summary judgment,
summary judgment on the grounds that Campbell identifies          there is a genuine dispute of material fact over whether or
no evidence connecting any of the above Defendants to his         not there was probable cause for the arrest of Campbell.
assault and battery. The elements of assault and battery are      Campbell claims that he was simply taking pictures when he
outlined in the Bennett section.                                  was assaulted and arrested. (Campbell 56.1 Stmt. ¶¶ 5–8.)
                                                                  Toole claims that Campbell was involved in the altercation
Defendants do not address the common law assault and              surrounding Gordon and that Campbell physically assaulted
battery claim in their Supporting Memorandum of Law; they         her. (Toole Dep., 2/19/97, at 114–18.) Defendants concede
first address it in their Reply papers. Defendants focus on the   that there is a material factual dispute with respect to Toole
argument that any contact between Campbell and the police         on this claim. (Defs.' 56.1 Stmt. Campbell ¶ 47.) Summary
was justified or privileged because it occurred in the course     judgment is therefore denied on Campbell's false arrest claim
of a lawful arrest. (Defs.' Reply Mem. Campbell at 16–17.)        against Toole and unidentified police officers who assisted in
Whether there was a lawful arrest and whether the force used      his apprehension. Because Campbell does not offer evidence
to effect it was reasonable are issues for the jury to resolve.   identifying any of the other named Defendants as being
                                                                  involved in his arrest, summary judgment is granted as to the
Campbell has identified sufficient evidence to support a claim    remaining named Defendants.
of assault and battery. His testimony describing his arrest
and attack show intentional, physical contact by a number
of officers, some of which could be found by a jury to be         IX. Common Law Malicious Prosecution
excessive. Defendants are correct that Campbell does not           *33 Campbell alleges that Toole, Parrish, Prendergast,
identity any particular Defendant as the officer who came         Wiencko, Barberi, Webber, Moloney, and Craig are liable for
into physical contact with him. On a summary judgment             malicious prosecution. (Campbell Compl. ¶ 186.) Defendants
motion, however, the Defendants have the burden of showing        move for summary judgment. The elements of malicious
the plaintiff has no claim as a matter of law. Here, Plaintiff    prosecution have been set forth the Gordon section above.
claims that the assaults and batteries were by uniformed police
officers. Since these officers were the authorized agents of      The only Defendant shown by any evidence to have been
the City of New York, Campbell has a claim for assault            involved in the prosecution of Campbell is Toole, who signed
and battery based on physical acts against unidentified police    a criminal complaint alleging that he assaulted her. (Pls.' Gen.
officers.                                                         56.1 Stmt., Ex. 27H.) Campbell does not offer any evidence
                                                                  that any of the other named Defendants were involved in his
Because Campbell has not offered any evidence or a                prosecution. Accordingly, summary judgment is granted for
supporting affidavit identifying any of the named Defendants      Defendants Parrish, Prendergast, Wiencko, Barberi, Webber,
as his attackers, summary judgment is granted against all         Moloney, and Craig.
named Defendants, but Campbell will be allowed to proceed
with his assault and battery against unidentified police          There is a genuine dispute of material fact with regard
officers.                                                         to Defendant Toole. Toole signed the criminal complaint
                                                                  that initiated the prosecution of Campbell. (Id.) Crediting
                                                                  Campbell's version of events, Toole did not have probable
VIII. Common Law False Arrest                                     cause to arrest him or to initiate criminal proceedings against


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him. Defendants agree that this is in dispute. (Defs.' 56.1 Stmt.   distress on him. (Campbell Compl. ¶ 192.) Defendants move
Campbell ¶ 47.) Furthermore, Campbell has offered sufficient        for summary judgment. The elements of this tort are discussed
evidence of malice to survive summary judgment. Plaintiffs          in the Gordon section above.
are not required to show direct evidence of malice. If the jury
finds Campbell's testimony credible, they may find that Toole        *34 Campbell does not show negligent acts resulting
initiated the criminal prosecution for the improper motive          in severe emotional distress. The acts he testifies to are
of covering up his false arrest. 41 Juries may infer malice         intentional, not negligent. Summary judgment is granted for
from a lack of probable cause. See id. (“New York courts            all Defendants.
have held that the existence of malice may be inferred from
a finding that defendants lacked probable cause to initiate
                                                                    XII. Common Law Conspiracy
criminal proceedings.” (citing Maxwell v. City of New York,
                                                                    In his Complaint, Campbell claims that Defendants
554 N.Y.S.2d 502, 505–506 (1st Dep't 1990)).
                                                                    Anemone, Maple, Chapman, Brown, Devlin, Picht, Parrish,
                                                                    Prendergast, Toole, Wiencko, Barberi, Difede, Webber,
41
        See Rounseville v. Zahl, 13 F.3d 625, 631                   Moloney, Craig, O'Connor, Single, O'Hagan, Lesiewicz, De
        (2d Cir.1994) (noting that “New York courts                 Lorenzo, Brunner, and Papagiannis conspired against him.
        traditionally consider the issue of malice to be a          (Campbell Compl. ¶ 195.) Defendants move for summary
        jury question” (citations omitted)).                        judgment.
Summary judgment is denied on Campbell's malicious
prosecution claim against Toole.                                    Campbell presents no evidence of a conspiracy. Summary
                                                                    judgment is granted for all Defendants.

X. Common Law Intentional Infliction of Emotional Distress
Campbell alleges that Defendants Anemone, Maple,                    XIII. Common Law Negligence
Chapman, Brown, Devlin, Picht, Parrish, Prendergast,                Campbell alleges that Defendants Anemone, Maple,
Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,            Chapman, Brown, Devlin, Picht, Parrish, Prendergast,
O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,          Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,
and Papagiannis are liable for intentionally inflicting             O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
emotional distress on him. (Campbell Compl. ¶ 189.)                 and Papagiannis are liable for negligently causing severe
Campbell's claims of emotional distress include insomnia,           physical injuries and extreme emotional distress. (Campbell
headaches, loss of appetite, fearfulness, flashbacks, and           Compl. ¶ 198.) Defendants move for summary judgment.
nightmares. (Campbell 56.1 Stmt. ¶ 17.) The elements of this
tort are outlined in the Gordon section above.                      Campbell's claims are for intentional acts against him. He
                                                                    has failed to offer evidence to support a claim of negligence.
However, Campbell does not offer evidence sufficient to             Summary judgment is granted for all Defendants.
support this claim. There is no showing that any Defendant
intentionally engaged in “extreme and outrageous conduct.”          Prior to this opinion, all Plaintiffs withdrew all claims for
To the extent that Campbell suffered emotional distress, he         prima facie tort and all claims against Defendant Brown.
may present evidence of these injuries in the damages phase         (McCartney Decl. ¶¶ 10–11.)
of his claims for false arrest and assault and battery.

                                                                    Conclusion
Summary judgment is granted for all Defendants.
                                                                    Summary judgment is denied on the following claims by
                                                                    Campbell:
XI. Common Law Negligent Infliction of Emotional Distress
                                                                      1. § 1983 false arrest against Toole
Campbell alleges that Defendants Anemone, Maple,
Chapman, Brown, Devlin, Picht, Parrish, Prendergast,                  2. common law assault and battery (physical acts) against
Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,                 unidentified officers
O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
and Papagiannis are liable for negligently inflicting emotional


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                                                                Warsop incident occurred. (Id. ¶ 3.) After the service ended,
  3. common law false arrest against Toole and unidentified     Thompson was standing outside the gate on Sutphin, talking
     officers                                                   with Campbell, when Sister Jewel Fraser ran toward them
                                                                screaming, “They are beating on Horace .” (Thompson's
  4. common law malicious prosecution against Toole.
                                                                56.1 Stmt., Ex. 1, at 57–58.) In his deposition, Thompson
                                                                testified that he approached the corner of Ferndale and
Summary judgment is granted on the following claims by
                                                                Sutphin and observed someone hitting Gordon. (Id. at 59–60.)
Campbell:
                                                                He described this person as a white male, between six foot
  1. § 1983 excessive force (physical acts) against all         five and six foot six, in plain clothes with a walkie-talkie and
    Defendants                                                  a flashlight. (Id. at 61–62.) He also testified that this person
                                                                was Barberi. (Id. at 127–28.) In his CCRB interview, which
  2. § 1983 false arrest against Parrish, Prendergast,          occurred a little over three months before his deposition, he
    Wiencko, Barberi, Webber, Moloney, Craig                    described this individual as a white male, approximately six
                                                                foot five, two hundred fifty pounds, in his twenties. (Defs.'
  3. § 1983 failure to intervene or protect against all
                                                                56.1 Stmt. Thompson, Ex. J, at 3–4.)
    Defendants

  4. § 1983 failure to properly supervise against all           *35 According to Thompson, as he and others approached
    Defendants                                                  Barberi and Gordon, Barberi told everyone to move back, and
                                                                then he started spraying mace at everyone. 42 (Thompson's
  5. § 1983 denial of medical treatment against all             56.1 Stmt., Ex. 1, at 63.) Thompson testified that he got
    Defendants                                                  sprayed in the eyes. (Thompson's 56.1 Stmt. ¶ 5.)

  6. § 1983 unlawful retaliation for First Amendment conduct
                                                                42
     against all Defendants                                            Barberi testified that he sprayed mace into the
                                                                       crowd assembling around Gordon in order to
  7. common law assault and battery (physical acts) against            defend himself from their attacks. (Barberi Dep.,
     Toole, Parrish, Prendergast, Wiencko, Barberi, Webber,            2/5/97, at 136.)
     Moloney, Craig
                                                                At this point, Thompson started to go back to the church
  8. common law false arrest against Parrish, Prendergast,      when an officer grabbed him and threw him to the ground
     Wiencko, Barberi, Webber, Moloney, Craig                   (Thompson's 56.1 Stmt. ¶ 6; Defs.' 56.1 Stmt. Thompson ¶
                                                                21.) Thompson testified that he was then punched and kicked,
  9. common law malicious prosecution against Parrish,          he was thrown against the windshield of a car, hitting his head,
    Prendergast, Wiencko, Barberi, Webber, Moloney, Craig       he was slammed against a police van, and he was handcuffed
                                                                and taken to a police car. (Thompson's 56.1 Stmt. ¶ 7; Defs.'
  10. common law intentional infliction of emotional distress   56.1 Stmt. Thompson ¶¶ 21–27).
    against all Defendants
                                                                There is a dispute over the number and identities of officers
  11. common law negligent infliction of emotional distress
                                                                involved in this alleged excessive force and false arrest.
    against all Defendants
                                                                According to Thompson's testimony, it appears that at least
  12. common law conspiracy against all Defendants              two and as many as six officers were involved. (Defs.' 56.1
                                                                Stmt Thompson., Ex. J, at 5; Thompson's 56.1 Stmt., Ex. 1, at
  13. common law negligence against all Defendants              64–78.) Thompson cannot offer descriptions for some of the
                                                                officers, but for others he describes race, weight, and height.
                                                                (Defs.' 56.1 Stmt. Thompson ¶¶ 22, 25, 28, 29, 30, 31, 32, 37;
                                                                Thompson's 56.1 Stmt. ¶¶ 5–7.) In addition, Plaintiff Brian
                 Oniel Thompson's Claims
                                                                Abraham testified that he observed Barberi use physical force
Oniel Thompson arrived at the UCC to attend the revival         against Thompson. 43 (Abraham 56.1 Stmt., Ex. 1, at 84–
around 10 p.m. on August 20, 1995. (Thompson's 56.1             85, 90–93, 97.) The only other officer Thompson identifies
Stmt. ¶ 1.) He was not present at the UCC at the time the       is Toole, who he claims did not participate in the attack but



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was standing near Gordon, Barberi, and himself. (Defs.' 56.1              against the specific Defendants who participated in
Stmt., Ex. J, at 7–8, 15.)                                                his apprehension and arrest, it is considered above.
                                                                   In his Complaint, Thompson alleges that Defendants Parrish,
43     Abraham testified, “I observed this Officer Barberi,        Toole, Wiencko, Barberi, O'Connor, and Moloney falsely
       I'm not sure of his name. He had a young man with           arrested and imprisoned him. (Thompson Compl. ¶ 117.)
       his arm twisted up in the back, and he slammed              Defendants moved for summary judgment on the grounds that
       him up against the car, and then he slammed him             only Toole was involved in Thompson's arrest and that she
       on the hood of the car. He slammed him down                 had probable cause because Thompson tried to grab her gun.
       on the ground.” (Abraham's 56.1 Stmt., Ex. 1,               The elements of false arrest are outlined in the Gordon and
       at 84.) He later identifies the “young man” as              Bennett sections above.
       Oniel Thompson. (Id. at 85.) Although Abraham
       originally, stated he was unsure of Barberi's name,         Although Thompson testified that several officers
       both he and the attorney asking the questions               participated in his apprehension and arrest, the only
       continue to refer to him as Barberi.                        Defendants shown by the evidence presented on this motion
                                                                   to have had personal involvement in Thompson's arrest are
According to Toole, she was in the course of attempting to
                                                                   Toole and Barberi. Therefore, summary judgment is granted
arrest Gordon when a mob of people came at her. (Toole Dep.,
                                                                   on Thompson's false arrest claim for Parrish, Wiencko,
2/19/97, at 112–18.) She testified that Thompson tried to take
                                                                   O'Connor, and Moloney.
her gun, at which point she pushed him. (Id.) She also testified
that Thompson and Campbell were punching and kicking her.
                                                                    *36 Summary judgment is denied on Thompson's false
(Id.) Although Thompson identifies Toole as being at the
                                                                   arrest claim against Toole. Crediting Thompson's version of
scene, he does not claim that she used excessive force against
                                                                   events, Toole did not have probable cause to arrest him.
him. (Defs.' 56.1 Stmt. Thompson, Ex. J, at 15 (“Did O'Toole
                                                                   Thompson testified that he was attempting to get away from
[sic] ever put her hands on you?” “No.”).) Thompson told the
                                                                   Barberi, who was spraying him with mace, when he was
CCRB interviewer that he may have bumped into Toole while
                                                                   identified by Toole as “He's the one,” and the officers and
trying to get away from the macing but that he did not try to
                                                                   arrested. (Defs.' 56.1 Stmt. Thompson ¶ 17.) There is a
take her gun. (Defs.' 56.1 Stmt. Thompson, ¶ 16.)
                                                                   conflict between Toole's and Thompson's testimony. Whether
                                                                   or not Thompson attempted to take Toole's gun and assaulted
I. § 1983 False Arrest 44                                          her is an issue of fact for the jury to decide. Summary
44                                                                 judgment is denied as to Toole.
        In his Complaint,      Thompson makes two
       claims for false arrest and imprisonment: one               Summary judgment is granted on Thompson's false arrest
       specifically against Parrish, Toole, Wiencko,               claim against Barberi. The evidence supplied by Abraham is
       Barberi, O'Connor, and Moloney for falsely                  sufficient to show that Barberi was personally involved in his
       arresting and imprisoning him (Thompson Compl.              arrest. Nonetheless, the evidence is insufficient to support a
       ¶ 117) and one against Defendants Anemone,                  false arrest claim against Barberi. Thompson testified that he
       Maple, Chapman, Brown, Devlin, Picht, Parrish,              was attacked and arrest by unidentified police officers after
       Prendergast, Toole, Wiencko,, Barberi, Difede,              Toole identified Thompson by stating, “He's the one.” (Defs.'
       Webber, Moloney, Craig, Single, O'Connor,                   56.1 Stmt. Thompson, Ex. G, at 64–76, Ex. J, at 7.) The arrest
       O'Hagan, Lesiewicz, De Lorenzo, Brunner, and                and assault on Thompson occurred after his identification by
       Papagiannis specifically for false imprisonment             Toole. (Defs.' 56.1 Stmt. Thompson, Ex. J, at 7.) Barberi, an
       (¶ 126). The later claim appears to refer to the            apprehending officer, was entitled to rely on the statement
       mass imprisonment of the UCC members during                 of his fellow officer in arresting Thompson in the same way
       the surrounding of the UCC grounds. Because                 that police are entitled to rely on the statements of civilian
       the evidence shows that Thompson was already                complaining witnesses. See Martinez v. Simonetti, 202 F.3d
       arrested before that imprisonment occurred, the             625, 634 (2d Cir.2000) (holding that officers “are also entitled
       Court grants summary judgment as to this claim. To          to rely on the allegations of fellow police officers” (citing
       the extent that Thompson has a false arrest claim           Bernard v. United States, 25 F.3d 98, 102–03 (2d Cir.1994)).
                                                                   Any involvement he had in the arrest is privileged. Summary



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judgment is granted for Barberi on Thompson's false arrest           in plain clothes. Defendants also argue that any use of force
claim.                                                               was justified.

                                                                     Thompson testified that one officer who was approximately
II. § 1983 Excessive Force (physical acts)                           six foot six sprayed him (and the crowd) with mace. Barberi
In his complaint, Thompson alleges that “The conduct and
                                                                     is the only Defendant who fits Thompson's description. 45 At
actions of the unnamed defendant police officers, acting under
                                                                     one point in his testimony, Thompson identified the officer
color of law, in assaulting Oniel Thompson, by hitting and
                                                                     who sprayed him as Barberi. Although he does not admit
pushing him into two parked vehicles, was done intentionally,
                                                                     to spraying Thompson in particular, Barberi does admit that
maliciously, with a deliberate indifference and/or with a
                                                                     he sprayed mace into the crowd gathering around Gordon's
reckless disregard for the natural and probable consequences
                                                                     arrest. In addition, Thompson's description of the officer
of their acts.” (Thompson Compl. ¶ 120.) Defendants move
                                                                     who maced him and who he later identified as Barberi
for summary judgment stating that Thompson was not able
                                                                     is not entirely inconsistent. Thompson has presented no
to identify any Defendants who used physical force against
                                                                     evidence that any other individual sprayed him with mace.
him and, even if he could, their actions were objectively
                                                                     Thompson's factual account of events does not support a
reasonable. The law of excessive force used in the course of
                                                                     claim for excessive force based on noxious gas against anyone
an arrest is outlined in the Gordon section above.
                                                                     but Barberi. Summary judgment is granted for Defendants
                                                                     Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,
Defendants acknowledge that Thompson testified to
                                                                     Papagiannis, Parrish, Anemone, Maple, Chapman, Brown,
numerous actions of physical force used against him. (Defs.'
                                                                     and Devlin.
56.1 Stmt. Thompson ¶¶ 21–39; Thompson 56.1 Stmt. ¶¶
5–7.) This testimony describes actions sufficiently serious,
                                                                     45
and the Court cannot find that, as a matter of law, they were               Thompson's description of the sex, race, weight,
objectively reasonable. Whether the degree of force used was                height, and age of the officer are consistent with a
reasonable in arresting Thompson is a question for the jury.                description of Barberi. In addition, Barberi admits
                                                                            to being present and involved in the struggle
Based on the record on this motion, there is evidence                       with Gordon and admits to spraying mace on the
that Barberi participated in the physical attack against him;               approaching crowd. Thompson's description of the
therefore, summary judgment is denied as to Barberi. Because                officer as being in plain clothes instead of uniform
Thompson has not offered evidence identifying any other                     is not consistent with a description of Barberi.
officer who participated in the use of force against him, no         Summary judgment is denied on Thompson's claim of
other officers are liable in his § 1983 action for excessive force   excessive force based on noxious gas against Barberi.
based on physical acts. A § 1983 action cannot be maintained
against unknown defendants. See the Bennett section on
excessive force above. Summary judgment is granted for               IV. § 1983 Failure to Intervene or Protect
“unnamed defendant police officers” on this claim.                   Thompson alleges Defendants Anemone, Maple, Chapman,
                                                                     Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
                                                                     Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
III. § 1983 Excessive Force (noxious gas)                            Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
 *37 Thompson also brings an excessive force claim against           Papagiannis are liable for failing to intervene or protect
Defendants Barberi, Webber, Craig, Single, Lesiewicz, De             him from the unauthorized, unjustified, and unreasonable
Lorenzo, Brunner, Papagiannis, Parrish, Anemone, Maple,              treatment he was subjected to by the various Defendants.
Chapman, Brown, and Devlin on the allegation that they,              (Thompson Compl. ¶ 129.) Defendants move for summary
“acting individually and in concert with each other” assaulted       judgment on the basis that no named Defendant was involved
Thompson by spraying him with and exposing him to                    in or aware of what happened to Thompson. The law on
noxious gas. (Thompson Compl. ¶ 123.) Defendants move                failure to intervene claims is outlined in the Gordon section
for summary judgment on the grounds that, in his deposition,         above.
Thompson testified that he was sprayed by an officer in plain
clothes and that, of the named Defendants, only Maple was            Summary judgment is granted for all Defendants on this
                                                                     claim. Thompson, like Campbell and the other arrested


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Plaintiffs, has not identified evidence supporting this claim.     this evidence, crediting either version, Thompson does show
He has not offered any evidence to show that any Defendant         that he requested but was denied medical treatment. This is
was in a position to intervene. See Campbell section above.        not, however, the test for the constitutional claim of denial of
Summary judgment is granted for all Defendants.                    medical treatment. As is discussed in the Gordon and Bennett
                                                                   sections above, a plaintiff must show that a named defendant
                                                                   denied him medical treatment for a serious medical condition
V. § 1983 Failure to Properly Supervise                            due to deliberate indifference. See Weyant v. Okst, 101F.3d
Thompson alleges that Defendants Anemone, Maple,                   845, 856 (2d Cir.1996).
Chapman, Brown, Devlin, Picht, Parrish, Prendergast are
liable for failing to supervise their subordinate officers,        Thompson has not offered evidence to support his claim that
Defendants Toole, Wiencko, Barberi, Difede, Webber,                any injuries he sustained were serious. Plaintiff does not
Moloney, Single, Craig, O'Connor, O'Hagan, Lesiewicz, De           offer evidence of any medical treatment before the date of
Lorenzo, Brunner, and Papagiannis. (Campbell Compl. ¶              July 25, 1996, eleven months after the incident. (Thompson
132.) Defendants move for summary judgment because                 56.1 Stmt., Ex. 5.) In response to the question “Were there
Thompson has not submitted any evidence to show that any           any medical conditions for which you required immediate
supervisory personnel who were or should have been aware           attention that evening?” he answered “No.” (Thompson's
of Thompson's arrest and assault.                                  56.1 Stmt., Ex. 1, at 109.) Furthermore, Thompson has not
                                                                   identified evidence suggesting that he was visibly injured or
 *38 Like Campbell, Thompson has not shown facts                   that he had any immediate injuries other than that his eyes
sufficient to make this claim. Although Thompson need              were burning from the mace. Summary judgment is granted
not show direct participation by each Defendant, he must           for all Defendants.
make some showing of personal involvement as explained
in Williams v. Smith, 781 F.2d 319, 323–24 (2d Cir.1986)
and Blyden v. Mancusi, 186 F.3d 252, 264–65 (2d Cir.1999).         VII. § 1983 Unlawful Retaliation for First Amendment
Plaintiff has failed to do so. Summary judgment is granted for     Conduct
all Defendants.                                                    Thompson alleges Defendants Anemone, Maple, Chapman,
                                                                   Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
                                                                   Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
VI. § 1983 Denial of Medical Treatment                             Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
In his Complaint, Thompson alleges that Defendants                 Papagiannis unlawfully retaliated against him because he
Anemone, Maple, Chapman, Brown, Devlin, Picht, Parrish,            exercised his right to freedom of religion. (Thompson Compl.
Prendergast, Toole, Wiencko, Barberi, Difede, Webber,              ¶ 138.) Defendants move for summary judgment. The
Moloney, Craig, Single, O'Connor, Single, O'Hagan,                 relevant law is outlined in the Gordon section above.
Lesiewicz, De Lorenzo, Brunner, and Papagiannis denied
him necessary medical treatment. (Thompson Compl. ¶ 135.)           *39 Thompson fails to provide evidentiary support for his
Defendants move for summary judgment on the grounds that           claim of unlawful retaliation for his participation in a First
Thompson did not have injuries and did not seek treatment.         Amendment activity. Summary judgment is granted for all
The relevant law is explained in the Gordon and Bennett            Defendants.
sections above.

In his deposition, Thompson testified that, when he arrived at     VIII. Common Law Assault and Battery (physical acts)
the precinct after his arrest, he asked an officer for treatment   Thompson makes a claim for assault and battery against “the
for the effects of the noxious gas, and that the officer said      unidentified defendant police officers who hit and pushed
nothing. (Thompson's 56.1 Stmt., Ex. 1, at 108–09.) In             [him] into two parked vehicles.” (Thompson Compl. ¶ 170.)
addition, in his CCRB interview, Thompson testified that           Defendants move for summary judgment on the grounds that
when he was in the patrol car after he was arrested, he            the force used was “reasonable and not actionable.” (Defs.'
asked the officer who closed the door if he could get medical      Mem. in Supp. Thompson at 9.) The law of assault and battery
treatment “ ‘so I can get this mace out of my eyes,” ’ and         is outlined in the Bennett section above.
that the officer just looked at him and closed the car door.
(Defs.' 56.1 Stmt. Thompson, Ex. J, at 20.) On the basis of


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Thompson offers evidence of the use of force by Barberi         Thompson cannot prove the elements of lack of probable
and several other unidentified officers who participated in     cause and malice. The relevant law is outlined in the Bennett
his apprehension. See § 1983 excessive force section for        section above.
Thompson above. He has presented sufficient evidence to
survive a motion for summary judgment. Summary judgment          *40 Thompson does not show that Defendants Parrish,
is denied for Barberi and unidentified police officers on       Wiencko, Barberi, O'Connor, and Moloney were involved
Thompson's claim of assault and battery for physical acts.      in his prosecution. Summary judgment is granted for those
                                                                Defendants.

IX. Common Law Assault and Battery (noxious gas)                Summary judgment is denied for Toole. If the jury credits
Thompson also brings an assault and battery claim against       Thompson's testimony, they could find that Toole did not
Defendants Barberi, Webber, Craig, Single, Lesiewicz, De        have probable cause to arrest Thompson and that she signed
Lorenzo, Brunner, Papagiannis, Parrish, Anemone, Maple,         participated in his criminal prosecution out of malice. See
Chapman, Brown, and Devlin for spraying him with or             Campbell section above.
exposing him to noxious gas. (Thompson Compl. ¶ 173.)
Defendants move for summary judgment.
                                                                XII. Common Law Intentional Infliction of Emotional
Thompson testifies that Barberi sprayed him with mace. He       Distress
does not offer any evidence that he was sprayed by anyone       Thompson alleges that Defendants Anemone, Maple,
else or that he felt the effects of mace in the air. Because    Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
Thompson does not present evidence of the use of mace           Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
by anyone but Barberi, summary judgment is granted for          O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
Defendants Webber, Craig, Single, Lesiewicz, De Lorenzo,        and Papagiannis are liable for intentional infliction of
Brunner, Papagiannis, Parrish, Anemone, Maple, Chapman,         emotional distress. (Thompson Compl. ¶ 185.) Defendants
Brown, and Devlin.                                              move for summary judgment.

Evidence of the direct spraying of mace is sufficient to make   Thompson has not presented sufficient evidence to support
out an assault and battery claim. See Abraham section above.    this claim. Summary judgment is granted for all Defendants.
Summary judgment is denied for Barberi.

                                                                XIII. Common Law Negligent Infliction of Emotional
X. Common Law False Arrest                                      Distress
Thompson alleges that Defendants Parrish, Toole, Wiencko,       Thompson alleges that Defendants Anemone, Maple,
Barberi, O'Connor, and Moloney falsely arrested and             Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
imprisoned him without probable cause. (Thompson Compl.         Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
¶ 176.) Defendants move for summary judgment and argue          O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
that Toole had probable cause to arrest Thompson.               and Papagiannis negligently inflicted emotional distress on
                                                                him. (Thompson Compl. ¶ 188.) Defendants move for
A claim for false arrest is the same under § 1983 and           summary judgment.
common law. Based on the analysis in Thompson's § 1983
claim, summary judgment is granted for Defendants Parrish,      Thompson has not presented evidence of negligent conduct.
Wiencko, Barberi, O'Connor, and Moloney, and summary            Summary judgment is granted for all Defendants.
judgment is denied for Defendant Toole.

                                                                XIV. Common Law Conspiracy
XI. Common Law Malicious Prosecution                            Thompson alleges that Defendants Anemone, Maple,
In his Complaint, Thompson alleges that Defendants              Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
Parrish, Toole, Wiencko, Barberi, O'Connor, and Moloney         Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
maliciously prosecuted him. (Thompson Compl. ¶ 179.)            O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
Defendants move for summary judgment on the grounds that        and Papagiannis conspired against him to deprive him of his



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Constitutional and common law rights. (Thompson Compl. ¶
191.) Defendants move for summary judgment.                        3. § 1983 excessive force (noxious gas) against
                                                                     Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,
Thompson offers no evidence to support his claim of a                Papagiannis, Parrish, Anemone, Maple, Chapman,
conspiracy. Summary judgment is granted for all Defendants.          Brown, and Devlin

                                                                   4. § 1983 failure to intervene for all Defendants
XV. Common Law Negligence
                                                                   5. § 1983 failure to supervise for all Defendants
Thompson alleges that Defendants Anemone, Maple,
Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,        6. § 1983 denial of medical treatment for all Defendants
Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,         7. § 1983 unlawful retaliation for First Amendment conduct
and Papagiannis are liable for damages he alleges he sustained        for all Defendants
as a result of their negligent conduct. (Thompson Compl. ¶
                                                                   8. common law assault and battery (noxious gas) against
194.) Defendants move for summary judgment.
                                                                      Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,
                                                                      Papagiannis, Parrish, Anemone, Maple, Chapman,
Thompson does not offer evidence of negligent conduct.
                                                                      Brown, and Devlin
Summary judgment is granted for all Defendants.
                                                                   9. common law false arrest against Defendants Parrish,
Prior to this opinion, all Plaintiffs withdrew all claims for         Wiencko, O'Connor, Moloney, Barberi
prima facie tort and all claims against Defendant Brown.
(McCartney Decl. ¶¶ 10–11.)                                        10. common law malicious prosecution against Defendants
                                                                     Parrish, Wiencko, O'Connor, Moloney, Barberi

Conclusion                                                         11. common law intentional infliction of emotional distress
Summary judgment is denied on the following claims by                for all Defendants
Thompson:
                                                                   12. common law negligent infliction of emotional distress
  1. § 1983 false arrest against Toole                               for all Defendants

  2. § 1983 excessive force (physical acts) against Barberi        13. common law conspiracy for all Defendants

  3. § 1983 excessive force (noxious gas) against Barberi          14. common law negligence for all Defendants

   *41 4. common law assault and battery (physical acts)
    against Barberi and unidentified police officers
                                                                                   Brian Abraham's Claims
  5. common law assault and battery (noxious gas) against
     Barberi                                                     Abraham arrived at the UCC to attend the revival around 7
                                                                 p.m. on August 20, 1995. (Abraham's 56.1 Stmt. ¶ 1.) After
  6. common law false arrest against Toole                       the service, Abraham and his wife walked to their car to
                                                                 leave when they noticed a commotion at the corner of Sutphin
  7. common law malicious prosecution against Toole              and Ferndale Avenues. (Id. ¶ 2.) According to Abraham, he
                                                                 observed Barberi using force against Thompson. (Id. ¶ 3;
Summary judgment is granted on the remaining claims by
                                                                 Defs.' 56.1 Stmt. Abraham ¶ 2.) Abraham testified that as he
Thompson:
                                                                 approached Barberi, Barberi shoved him in the chest, and he
  1. § 1983 false arrest against Defendants Parrish, Wiencko,    stumbled back. (Abraham 56.1 Stmt. ¶ 4; Defs.' 56.1 Stmt.
     O'Connor, Moloney, Barberi                                  Abraham ¶ 3.) As a result of this contact, Abraham suffered
                                                                 “minor bumps and bruises.” (Abraham 56.1 Stmt. ¶ 5.)
  2. § 1983 excessive force (physical acts) against unnamed
     Defendants



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Abraham was also one of the numerous UCC members who               Barberi shoved him. Because the physical force Abraham
was contained within the fence following the general melee.        testified about was not in the context of an arrest or seizure,
He asserts that he was detained against his will and was unable    the Fourteenth Amendment applies. See Rodriguez v. Phillips,
to leave until the morning of August 21, 1995. (Abraham            66 F.3d 470, 477 (2d Cir.1995); Hemphill v. Schott, 141 F.3d
56.1 Stmt. ¶ 11; Abraham Resp. to Defs.' 56.1 Stmt. ¶ 16.)         412, 418 (2d Cir.1998). Thus, the test for excessive force is
Abraham also claims that he experienced a burning sensation        whether or not Barberi's conduct “shocks the conscience.”
as a result of the pepper spray. (Defs.' 56.1 Stmt. Abraham        See Rodriguez, 66 F.3d at 477. This Court finds that a single
¶ 9.) It is unclear whether or not he was directly sprayed. In     push that caused no more than minor injuries would not shock
his deposition, Abraham testified only that he saw Barberi         the conscience of a reasonable jury. Abraham approached
spraying pepper spray at the gate and that he later felt pepper    an individual whom he knew to be a police officer while
spray in the air. (Defs.' 56.1 Stmt. Abraham, Ex. B, at 119.) 46   that officer was attempting to arrest an individual. Abraham's
                                                                   testimony describing the incident is, “What we are looking at,
46                                                                 as if he is the officer, and he is in charge, and he wants a free
       Abraham denies Defs.' 56.1 Stmt. ¶ 8 that he
                                                                   rein to arrest this guy or whatever. And here I am standing
       was not sprayed directly, stating, “Defendants
                                                                   there. He just reached out and pushed me back (indicating) as
       did not ask plaintiff if he had been directly
                                                                   though to get out of the way and—or whatever the case may
       sprayed during his deposition. Plaintiff was directly
                                                                   be.” (Abraham's 56.1 Stmt., Ex. 1, at 96.) Given the chaotic
       sprayed.” (Abraham's Resp. to Defs.' 56.1 Stmt.
                                                                   atmosphere at the time and the fact that Abraham approached
       ¶ 8.) The exhibit cited in support, however, is
                                                                   an officer attempting to arrest an individual, a single shove
       Abraham's Response 33 to Defs.' Second Set of
                                                                   that caused him to fall either to the ground or against a tree
       Interrogatories, which states, “Yes. I was sprayed
                                                                   and that resulted in only “minor bumps and bruises” does not
       twice by Officer Barberi. I was near the Sutphin
       Boulevard gate the first time, and in the fenced in         shock the conscience. 47 (Abraham's 56.1 Stmt., Ex. 1, at 95–
       area, halfway between the Sutphin Boulevard gate            97.) Accordingly, motion for summary judgment is granted
       and Ferndale Avenue the second time.” Although              for Barberi on Abraham's excessive force claim based on
       answers to interrogatories are generally admissible         physical acts.
       under Federal Rule of Civil Procedure 56(c),
       Abraham's answers are not signed by him in                  47      Even if such conduct would shock the conscience
       accordance with the requirements of Rule 33(a)(2).                  of a reasonable jury, Barberi is evidently entitled to
       Therefore, the responses to the interrogatories are                 qualified immunity because the conduct occurred
       not admissible evidence and cannot be considered                    before the Second Circuit “clearly established [a]
       by the Court on these motions for summary                           substantive due process right to be free from use
       judgment.                                                           of excessive force” for non-arrestees and non-
                                                                           prisoners. Rodriguez, 66 F.3d at 477.
I. § 1983 Excessive Force (physical force)
 *42 Abraham alleges that Barberi used excessive force             II. § 1983 Excessive Force (noxious gas)
against him by pushing him in violation of his constitutional      Abraham also makes a claim for excessive force against
rights under 42 U.S.C. § 1983 and the Fourth and Fourteenth        Defendants Barberi, Webber, Craig, Single, Lesiewicz, De
Amendments to the Constitution. (Abraham Compl. ¶ 98.)             Lorenzo, Brunner, Papagiannis, Parrish, Anemone, Maple,
Barberi moves for summary judgment on the grounds that             Chapman, Brown, and Devlin on the grounds that they used
the allegation of excessive force did not occur in the context     excessive force against him “by spraying with or otherwise
of an arrest or seizure and that the allegation of non-arrest      exposing to each plaintiff a noxious gas, to wit, either mace
force does not shock the conscience. Abraham argues that the       or pepper spray.” (Abraham Compl. ¶ 104.) Defendants move
use of force occurred within the context of a seizure, that the    for summary judgment.
Fourth Amendment applies, and that, under any standard, the
allegation should survive summary judgment.                        Summary judgment is granted for all Defendants. Although
                                                                   Parrish, De Lorenzo, and others acknowledge using pepper
According to Abraham's own testimony, Barberi shoved him           spray during an altercation at the gate and Abraham testified
before he was enclosed in the fenced area. In fact, it appears     that he saw Barberi using pepper spray at the gate (Abraham's
Abraham was able to enter and exit the fenced area after           56.1 Stmt., Ex. 1, at 119), Abraham also testified that he was


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not at the gate (Id. at 103–04). Abraham testified that he later   was conscious of the confinement, (3) the plaintiff did not
felt pepper spray in the air and that the pepper spray caused      consent to the confinement and (4) the confinement was not
burning, especially in his eyes. (Defs.' 56.1 Stmt. Abraham,       otherwise privileged.” ’ Singer v. Fulton County Sheriff, 63
Ex. B, at 103–04, 119.) 48 Abraham presents no evidence that       F.3d 110, 118 (2d Cir.1995) (quoting Broughton v. State, 373
he was directly sprayed with pepper spray. He also admits          N.Y.S.2d 451, 456 (1975)).
that he did not report any injury to the police or EMS or seek
medical care for the burning. (Defs.' 56.1 Stmt. Abraham ¶         Abraham has identified evidence supporting each of these
32.) Abraham has not presented evidence that he was sprayed        elements. Which Defendants are responsible is a separate
by Barberi or another other particular Defendant; he has only      question. Abraham offers evidence establishing the arrival
testified that he observed Barberi spraying at the gate and        times of several supervisory officers and shows that they
that he later felt the effects of mace in the air. This is not a   were present for part of the time of the alleged imprisonment.
sufficient showing of personal involvement of a defendant for      Specifically, Anemone, Maple, Chapman, Devlin, and Parrish
a § 1983 claim of excessive force. See the Bennett section         were all present and in charge during at least part of the
above.                                                             police deployment and mobilization during which the UCC
                                                                   was surrounded by police. 49 (Pls.' Gen. 56.1 Stmt. ¶¶ 3, 4,
48                                                                 5, 6, 8.) Plaintiff has shown that all of these supervisors were
       As explained above, Abraham's attorney's
                                                                   in charge at some point in time during the period he testified
       Response 33 to Defendants' Second Set of
                                                                   he believed that he was not free to leave. In particular, Parrish
       Interrogatories does not comply with the Federal
                                                                   has testified that he was the ranking officer on the scene until
       Rules of Civil Procedure and therefore cannot be
                                                                   he was relieved by Devlin and that he proceeded immediately
       considered as evidence.
                                                                   to the mouth of the gate and gave the order to spray mace
*43 Summary judgment is granted for all Defendants.                at the people. (Id., Ex. 20, at 130–38.) Summary judgment
                                                                   is therefore denied on Abraham's false imprisonment claim
                                                                   against Defendants Anemone, Maple, Chapman, Devlin, and
III. § 1983 False Imprisonment
                                                                   Parrish.
In his Complaint, Abraham alleges that Defendants
Anemone, Maple, Chapman, Brown, Devlin, Picht, Parrish,
                                                                   49
Prendergast, Toole, Wiencko, Barberi, Difede, Webber,                      This activity apparently initiated the ensuing false
Moloney, Craig, Single, O'Connor, O'Hagan, Lesiewicz, De                   imprisonment period which ended some four hours
Lorenzo, Brunner, and Papagiannis imprisoned him against                   later.
his will. (Abraham Compl. ¶ 107.) Defendants move for              Summary judgment is granted for the remaining Defendants.
summary judgment on the grounds that there is no evidence          To the extent that Plaintiff can establish any of these
that Abraham was involuntarily confined. Abraham argues            Defendants even participated in the false imprisonment, there
that the police presence surrounding the UCC fence prevented       is no evidence that they were doing anything other than
him from leaving. The elements of a claim for false arrest and     following orders from superiors and could not have left the
false imprisonment are the same. See Posr v. Doherty, 944          scene had they wanted to. Therefore these individual acts
F.2d 91, 96 (2d Cir.1991). The law is analyzed in the Gordon       did not amount to false imprisonment and the remaining
and Bennett sections above.                                        Defendants are entitled to qualified immunity for any
                                                                   participation in the false imprisonment.
Because a claim for false arrest is “substantially the same”
whether it arises under § 1983 or New York law, both claims
will be analyzed under the same standard. See Weyant v.            IV. § 1983 Failure to Intervene
Okst, 101 F.3d 845, 852 (2d Cir.1996) (citations omitted);          *44 Abraham alleges that Defendants Anemone, Maple,
Posr v. Doherty, 944 F.2d 91, 96 (2d Cir.1991) (noting             Chapman, Brown, Devlin, Picht, Parrish, Prendergast,
that, “save for the requirement that the constitutional tort       Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,
be under color of state law, both torts are ‘substantially the     O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
same” ’ (quoting Raysor v. Port Auth., 768 F.2d 34, 39–            and Papagiannis failed to intervene or protect him from “the
40 (2d Cir.1985))). To establish a claim for false arrest or       unauthorized, unjustified, and unreasonable treatment at the
false imprisonment, a plaintiff must show that “ ‘(1) the          hands of the other defendants.” (Abraham Compl. ¶ 110.)
defendant intended to confine [the plaintiff], (2) the plaintiff   Defendants move for summary judgment on the grounds that


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Abraham has not offered specific evidence showing a failure       Abraham claims Defendants Anemone, Maple, Chapman,
to intervene by any Defendant. The relevant law is identified     Brown, Devlin, Picht, Parrish, and Prendergast “failed to
in the Gordon section above.                                      exercise appropriate command functions, thereby acquiescing
                                                                  to and acknowledging the improper actions” of Toole,
Summary judgment is denied for Defendants Anemone and             Wiencko, Barberi, Difede, Webber, Moloney, Single, Craig,
Maple. Abraham has offered evidence to show a genuine             O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
dispute of material fact for those Defendants. Abraham has        Papagiannis. (Abraham Compl. ¶ 116.) Defendants moved for
presented evidence that these Defendants were present at          summary judgment.
the time of his alleged false imprisonment, were aware
of such alleged unauthorized, unjustified, and unreasonable       Supervisors may be liable for the constitutional violations
treatment, and had a reasonable opportunity to intervene and      of their subordinates if there is a showing of personal
prevent that treatment. This is sufficient to meet the standard   involvement. A supervisor can be personally involved by: (1)
of Anderson v. Branen, 17 F.3d 552, 559 (2d Cir.1994)             directly participating in a violation, see Williams v. Smith, 781
with respect to his claim of false imprisonment. Summary          F.2d 319, 323–24 (2d Cir.1986) (citations omitted); Moffitt
judgment is denied for Defendants Maple and Anemone. 50           v. Town of Brookfield, 950 F.2d 880, 886–87 (2d Cir.1991)
                                                                  (citations omitted); (2) learning of a violation and failing to
50                                                                correct it, see Williams, 781 F.2d at 323–24; (3) creating or
       Abraham may proceed with his claim of failure to
                                                                  allowing the continuance of a policy or custom under which
       intervene and protect against Anemone and Maple
                                                                  violations occur, see id.; (4) grossly negligent management,
       only as it relates to their failures to intervene in
                                                                  see id.; or (5) demonstrating “gross negligence” or “deliberate
       the false imprisonment. There is no evidence that
                                                                  indifference” by “failing to act on information indicating that
       these Defendants were present or in a position to
                                                                  unconstitutional practices are taking place,” see Wright v.
       intervene during the general melee. Plaintiff may
                                                                  Smith, 21 F.3d 496, 501 (2d Cir.1994) (citations omitted).
       not present evidence of this claim as it relates to
                                                                  As the Second Circuit has defined personal involvement,
       events other than false imprisonment.
                                                                  Plaintiff must show that a supervisor participated in the
Summary judgment is granted for all other Defendants.             violation, had knowledge of the violation, or should have had
Abraham identifies no specific evidence that any other            knowledge of a violation in order to be personally liable under
Defendant who was present was in an authoritative position,       § 1983. See Blyden v. Mancusi, 186 F.3d 252, 264–65 (2d
was aware of the imprisonment and failed to intervene.            Cir.1999). Holding a high position in the administration alone
                                                                  is not enough. See Colon v. Coughlin, 58 F.3d 865, 874 (2d
                                                                  Cir.1995). Likewise, there is no respondeat superior liability
V. Unlawful Retaliation for First Amendment Conduct               for supervisors in § 1983 claims. See Bass v. Jackson, 790
Abraham alleges that Defendants Anemone, Maple,                   F.2d 260, 263 (2d Cir.1986) (citing McKinnon v. Patterson,
Chapman, Brown, Devlin, Picht, Parrish, Prendergast,              568 F.2d 930, 934 (2d Cir.1977)). Knowledge alone, however,
Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,          can be enough for liability. See, e.g., Rivera v. Coughlin, No.
O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,        92 Civ. 3404(SS), 1994 WL 263417, at *5 (S.D.N.Y. June 13,
and Papagiannis unlawfully retaliated against him for his First   1994) (noting that “[a]n informed official who knows of an
Amendment conduct. (Abraham Compl. § 113.) Defendants             illegal policy or custom and permits it to continue is liable
move for summary judgment. The relevant law is identified         under § 1983” (citations omitted)). Whether the defendant
in the Gordon section above.                                      is a supervisor or not, a plaintiff must allege some form of
                                                                  personal involvement for each defendant.
Abraham has offered no evidence that shows any of the
Defendants' actions were a result of the Defendants' animus        *45 Summary judgment is denied for Defendants Anemone
toward Abraham for having exercised his First Amendment           and Maple on Abraham's claim of failure to supervise as
rights to free exercise of his religion. Summary judgment is      it related to the alleged false imprisonment violation. As
granted against all Defendants.                                   explained in the failure to intervene and protect section above,
                                                                  Abraham has offered sufficient evidence that Anemone and
                                                                  Maple failed to properly supervise their subordinates and that
VI. § 1983 Failure to Supervise
                                                                  this contributed to the false imprisonment.



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                                                                     medical condition. Abraham testified that he did not report
Summary judgment is granted for all other Defendants as it           the burning he felt from the mace or any other injuries to
relates to the false imprisonment claim and for all Defendants       the police or EMS. (Defs .' 56.1 Stmt. Abraham, Ex. B, at
for any failure to supervise relating to the physical acts against   119–20.) In addition, he testified that he took his wife to the
Abraham by Barberi. There is no evidence showing that any            hospital following the incident on August 21, 1995, but he
specific Defendant was present and aware of that act.                did not seek treatment for himself. (Id. at 116–17.) Abraham
                                                                     offers no evidence that he ever sought medical treatment
                                                                     or that he suffered serious injuries. Summary judgment is
VII. § 1983 Denial of Medical Treatment                              granted to all Defendants on Gordon's claim of denial of
Abraham alleges that Defendants Anemone, Maple,                      medical treatment
Chapman, Brown, Devlin, Picht, Parrish, Prendergast,
Toole, Wiencko, Barberi, Difede, Webber, Moloney, Craig,
O'Connor, Single, O'Hagan, Lesiewicz, De Lorenzo, Brunner,           VIII. Common Law Assault and Battery (physical acts)
and Papagiannis “refus[ed] to take any steps to provide               *46 Abraham alleges that Barberi “did inflict assault and
[him] with medical care to address a serious medical need,           battery upon [him] by pushing him.” (Abraham Compl. ¶
despite having full knowledge that it was necessary and              151.) Barberi moves for summary judgment. The elements of
warranted under the circumstances.” (Abraham Compl. §                assault and battery are explained in the Bennett section above.
119.) Defendants move for summary judgment on the grounds
that Abraham did not seek medical treatment and was not              Abraham testified that Barberi hit him in the chest, causing
injured. The elements of the cause of action are outlined in         him to fall backward. Abraham has offered sufficient
the Gordon section above.                                            evidence of the elements of both assault and battery. Summary
                                                                     judgment is denied against Barberi on Abraham's assault and
To establish a claim of denial of medical treatment, a plaintiff     battery claim for physical acts.
must show both that an official denied him treatment needed
to remedy a serious medical condition and that he did so
because of his deliberate indifference to that need. See Farmer      IX. Common Law Assault and Battery (noxious gas)
v. Brennan, 511 U.S. 825, 834 (1994); Weyant v. Okst, 101            Abraham alleges Barberi, Webber, Craig, Single, Lesiewicz,
F.3d 845, 856 (2d Cir.1996). To be liable for deliberate             De Lorenzo, Brunner, Papagiannis, Parrish, Anemone,
indifference, the charged official “must both be aware of facts      Maple, Chapman, Brown, and Devlin committed assault and
from which the inference could be drawn that a substantial           battery “by spraying with or otherwise exposing to each
risk of serious harm exists, and he must also draw the               plaintiff a noxious gas.” (Abraham Compl. ¶ 157.) Defendants
inference.” Farmer, 511 U.S. at 837.                                 move for summary judgment. The elements of assault and
                                                                     battery are outlined in the Bennett section above.
Here, there is a showing that Abraham was denied medical
treatment for the time while he was imprisoned in the church         Abraham has presented evidence that he felt burning from
yard. Abraham may be able to show deliberate indifference            mace sprayed by the police and that mace that was “in the
based on the evidence that police officers were spraying             air.” As to the mace that was “in the air,” Abraham has shown
mace in a crowd of people, after which the people were               a battery by his testimony that the act of spraying mace by
not allowed to leave for a period of time, and during which          Barberi and other officers was intentional. Abraham need
medical attention has not been shown to have been made               not show that a particular Defendant sprayed him directly
available. Although the extent of injuries from mace may             with mace. He has shown that officers intentionally sprayed
vary from person to person, the fact that the Defendants             mace and that he came into physical contact with the mace,
were aware that mace had been sprayed puts them on notice            causing burning. The doctrine of transferred intent applies to
that people may be injured, specifically when those people           the torts of assault and battery. If Plaintiff can show that the
were denied access from leaving. Under the circumstances,            act of spraying mace was intentional, the fact that the mace
a denial of opportunity to leave to obtain medical treatment         made physical contact with him rather than the intended target
may constitute an unconstitutional denial of rights.                 does not foreclose his battery claim. See American Ins. Co.
                                                                     v. Saulnier, 242 F.Supp. 257, 261 (D.Conn.1965) (“ ‘If the
Although there may be enough to show a denial of treatment,          defendant intends to commit an assault or a battery upon a
in Abraham's case there is no showing of a need or a serious         third person, but succeeds instead in causing an unintended


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harmful or offensive contact with the person of the plaintiff,     for summary judgment. The relevant law is presented in the
the latter may recover as though the act were intended to affect   Gordon section above.
him.... The intent is said to be ‘transferred’ to the victim.”
' (quoting W. PAGE KEETON ET AL., PROSSER AND                      Plaintiff fails to offer evidence sufficient to meet the stringent
KEETON ON THE LAW OF TORTS, at 33 (2d ed.1955));                   test required under New York law. 51 Summary judgment is
RESTATEMENT (THIRD) OF TORTS § 1 (1999). Thus, if                  granted for all Defendants.
Abraham can show that he came into physical contact with
the mace sprayed by Defendants, he has a claim for battery.        51      To the extent that Abraham claims emotional
                                                                           damages from the assault and false imprisonment,
Summary judgment is denied on Abraham's battery
                                                                           he may testify as to these damages in the course
claim against Defendants Barberi, Webber, Craig, Single,
                                                                           of his testimony for the specific torts. This may
Lesiewicz, De Lorenzo, Brunner, Papagiannis, and Parrish.
                                                                           include any emotional damages he suffered from
Plaintiffs have shown evidence that each of these Defendants
                                                                           hearing derogatory comments directed at him
sprayed mace around the church yard during the night. (Pls.'
                                                                           while he was imprisoned, as well as emotional
Gen. 56.1 Stmt., Exs. 21, 22, 37, 47, 51, 55, 68, 71.) Because
                                                                           damages resulting from the acts of battery and false
Abraham offers evidence only of physical contact and not of
                                                                           imprisonment themselves.
apprehension of such contact, summary judgment is granted
for all Defendants on Abraham's assault claim.
                                                                   XII. Common Law Negligent Infliction of Emotional
Because Abraham offers no evidence that Defendants                 Distress
Anemone, Maple, Chapman, or Devlin sprayed mace or                 Abraham claims that Defendants Anemone, Maple,
authorized that spraying, summary judgment is granted for          Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
those defendants.                                                  Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
                                                                   O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
                                                                   Papagiannis negligently cause severe emotional distress
X. Common Law False Imprisonment                                   to him. (Abraham Compl. ¶ 166.) Defendants move for
 *47 Abraham alleges common law false imprisonment                 summary judgment.
against Defendants Anemone, Maple, Chapman, Brown,
Devlin, Picht, Parrish, Prendergast, Toole, Wiencko, Barberi,      Abraham offers no evidence of any negligent acts resulting in
Difede, Webber, Moloney, Craig, Single, O'Connor, O'Hagan,         severe emotional distress. Summary judgment is granted for
Lesiewicz, De Lorenzo, Brunner, and Papagiannis on the             all Defendants.
same facts alleged in his § 1983 false imprisonment claim.
(Abraham Compl. ¶ 160.) Because a claim for false arrest
is analyzed under the same standard for both a § 1983              XIII. Common Law Conspiracy
and a common law claim, the above § 1983 analysis                  Abraham alleges that Defendants Anemone, Maple,
applies. Summary judgment is denied on Abraham's false             Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
imprisonment claim against Defendants Anemone, Maple,              Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
Chapman, Devlin, and Parrish, but granted for the remaining        O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
Defendants.                                                        Papagiannis conspired together to deprive him of his rights.
                                                                   (Abraham Compl. ¶ 168.) Defendants move for summary
                                                                   judgment.
XI. Common Law Intentional Infliction of Emotional
Distress                                                           Abraham's claim for conspiracy is dismissed as to all
Abraham alleges Defendants Anemone, Maple, Chapman,                Defendants. He has offered no proof of a common plan or
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,        scheme, Schlotthauer v.. Sanders, 545 N.Y.S.2d 196, 197 (2d
Barberi, Difede, Webber, Moloney, Craig, O'Connor, Single,         Dept.1989), and did not even address the claim in his motion
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis           papers other than to offer a general denial.
engaged in conduct that constitutes intentional infliction of
emotional harm. (Abraham Compl. ¶ 163.) Defendants move
                                                                   XIV. Common Law Negligence



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Abraham alleges that Defendants Anemone, Maple,
Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,       4. § 1983 failure to intervene against Chapman, Devlin,
Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,            Picht, Parrish, Prendergast, Toole, Wiencko, Barberi,
O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and               Webber, Moloney, Craig, Single, O'Connor, O'Hagan,
Papagiannis “negligently caused severe physical injuries, and        Lesiewicz, De Lorenzo, Brunner, and Papagiannis
caused extreme emotional distress.” (Abraham Compl. ¶
                                                                  5. § 1983 unlawful retaliation for First Amendment conduct
171.) Defendants move for summary judgment.
                                                                     against all Defendants

 *48 Abraham's testimony of the use of physical force and         6. 1983 failure to supervise against Chapman, Devlin,
false imprisonment are not evidence of negligence but of            Picht, Parrish, Prendergast, Toole, Wiencko, Barberi,
intentional acts. Thus, summary judgment is granted for all         Webber, Moloney, Craig, Single, O'Connor, O'Hagan,
Defendants.                                                         Lesiewicz, De Lorenzo, Brunner, and Papagiannis

Prior to this opinion, all Plaintiffs withdrew all claims for     7. § 1983 denial of medical treatment against all
prima facie tort and all claims against Defendant Brown.            Defendants
(McCartney Decl. ¶¶ 10–11.)
                                                                  8. common law assault (noxious gas) against Barberi,
                                                                    Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,
Conclusion                                                          Papagiannis, Parrish
Summary judgment is denied on the following claims by
                                                                  9. common law assault and battery (noxious gas) against
Abraham:
                                                                     Anemone, Maple, Chapman, Devlin
  1. § 1983 false imprisonment against Anemone, Maple,
                                                                  10. common law false imprisonment against Picht,
     Chapman, Devlin, Parrish
                                                                    Prendergast, Toole, Wiencko, Barberi, Webber,
  2. § 1983 failure to intervene and protect against Anemone,       Moloney, Craig, Single, O'Connor, O'Hagan, Lesiewicz,
     Maple                                                          De Lorenzo, Brunner, and Papagiannis

  3. § 1983 failure to supervise against Anemone, Maple           11. common law intentional infliction of emotional distress
                                                                    against all Defendants
  4. common law assault and battery (physical acts) against
     Barberi                                                      12. common law negligent infliction of emotional distress
                                                                    against all Defendants
  5. common law battery (noxious gas) against Barberi,
    Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,        13. common law conspiracy against all Defendants
    Papagiannis, Parrish
                                                                  14. common law negligence against all Defendants
  6. common law false imprisonment against Anemone,
    Maple, Chapman, Devlin, Parrish
                                                                                Gerald Bloomfield's Claims
Summary judgment is granted on the remaining claims by
Abraham:                                                        Gerald Bloomfield arrived at the UCC between 7 and 8
                                                                p.m. on August 20, 1995 to attend the revival. (Bloomfield's
  1. § 1983 excessive force (physical acts) against Barberi     56.1 Stmt. ¶ 1.) The parties offer no evidence to suggest
                                                                that Bloomfield was involved in the initial incident with
  2. § 1983 excessive force (noxious gas) against all
                                                                Warsop. After the service had ended, Bloomfield noticed
    Defendants
                                                                people running outside the gate, at which point he and Keno
  3. § 1983 false imprisonment against Picht, Prendergast,      Reefer also ran out the gate. (Defs.' 56.1 Stmt. Bloomfield
     Toole, Wiencko, Barberi, Webber, Moloney, Craig,           ¶¶ 3–4.) According to his testimony, Bloomfield and Reefer
     Single, O'Connor, O'Hagan, Lesiewicz, De Lorenzo,          ran to the corner of Ferndale and Sutphin where they
     Brunner, and Papagiannis                                   saw an officer choking Gordon. (Id. ¶¶ 4–5.) Bloomfield



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asked the officer why he was choking Gordon. (Id. ¶¶               Therefore, summary judgment is granted for Defendants
4–6.) Although Bloomfield testified that he had trouble            Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,
remembering everything, it appears that next Reefer grabbed        Papagiannis, Anemone, Maple, Chapman, Brown, and Devlin
Gordon around his chest (Id. ¶¶ 7–10), and Bloomfield helped       on Bloomfield's claim of excessive force for physical acts.
to protect Gordon from other officers who were around them
(Id. ¶ 12). Bloomfield and Reefer both got directly sprayed in
the face and neck with pepper spray by a police officer. (Id. ¶    II. § 1983 Excessive Force (noxious gas)
13; Bloomfield's 56.1 Stmt. ¶ 4.) Bloomfield then jumped on        Bloomfield alleges Defendants Barberi, Webber, Craig,
top of a car, and the same officer who sprayed him with pepper     Single, Lesiewicz, De Lorenzo, Brunner, Papagiannis,
spray struck him repeatedly in the leg, causing Bloomfield to      Anemone, Maple, Chapman, Brown, and Devlin used
fall off the car onto the ground. (Bloomfield's 56.1 Stmt. ¶¶      excessive force against him by spraying him with or
5–6; Defs.' 56.1 Stmt. Bloomfield ¶¶ 17–20.) Some church           exposing him to noxious gas. (Bloomfield Am. Compl. ¶ 99.)
members then took Bloomfield back into the church yard.            Defendants move for summary judgment. The relevant law is
(Defs.' 56.1 Stmt. Bloomfield ¶ 21.) It is undisputed that         outlined in the Caliz section above
Bloomfield testified that it was Barberi who sprayed him and
that he was not told the identity of Barberi until the next day.   Bloomfield offers evidence showing the personal
                                                                   involvement of Barberi; therefore, summary judgment is
(Defs.' 56.1 Stmt. Bloomfield ¶¶ 22–23.) 52
                                                                   denied on Bloomfield's claim of excessive force as to
                                                                   Barberi for spraying him in the face and neck with noxious
52     In his deposition, Bloomfield described the officer         gas. Bloomfield offers no evidence showing the personal
       who sprayed him and hit him with flashlight as              involvement of any of the other named Defendants. Summary
       follows: “He was tall, extremely tall, he's the tallest     judgment is granted for Defendants Webber, Craig, Single,
       one that I could see out there, he had on a police          Lesiewicz, De Lorenzo, Brunner, Papagiannis, Anemone,
       uniform.” (Defs.' 56.1 Stmt. Bloomfield, Ex. B at           Maple, Chapman, Brown, and Devlin on Bloomfield's claim
       139.) When asked if he ever learned the name of             of excessive force with noxious gas.
       the officer who hit and sprayed him, he replied “I
       was told his name was Barberi.” (Id.)
                                                                   III. § 1983 False Imprisonment
I. § 1983 Excessive Force (physical acts)                          In his Complaint, Bloomfield alleges that Defendants
 *49 Bloomfield alleges Defendants Barberi, Webber,                Anemone, Maple, Chapman, Brown, Devlin, Picht, Parrish,
Craig, Single, Lesiewicz, De Lorenzo, Brunner, Papagiannis,        Prendergast, Toole, Wiencko, Barberi, Difede, Webber,
Anemone, Maple, Chapman, Brown, and Devlin used                    Moloney, Craig, Single, O'Connor, O'Hagan, Lesiewicz, De
excessive force against him in that they physically hit            Lorenzo, Brunner, and Papagiannis acted to falsely imprison
him. (Bloomfield Am. Compl. ¶ 96.) Defendants move for             him against his will. (Bloomfield Am. Compl. ¶ 102.)
summary judgment. The relevant law is set forth in the             Defendants move for summary judgment. The elements of
Gordon and Abraham sections above.                                 this claim are explained in the Gordon and Abraham sections
                                                                   above.
Bloomfield offers evidence showing the personal
involvement of Barberi in the use of force against him. His        Summary judgment is denied as to Defendants Anemone,
testimony, however, only states that he was struck in the leg.     Maple, Chapman, Devlin, and Parrish. Summary judgment
(Bloomfield's 56.1 Stmt. ¶¶ 5–6.) This action did not occur        is granted as to all other Defendants. See Abraham section
within the course of an arrest. Given that Bloomfield admits       above.
that he was approaching and attempting to interfere with an
officer making an arrest, this Court finds that such action does
                                                                   IV. § 1983 Failure to Intervene or Protect
not shock the conscience. Summary judgment is granted for
                                                                   Bloomfield claims Defendants Anemone, Maple, Chapman,
Barberi on Bloomfield's claim of excessive force for physical
                                                                   Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
acts.
                                                                   Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
                                                                   O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
Bloomfield offers no other evidence showing the personal
                                                                   failed to intervene or protect him from the unjustified
involvement of any of the remaining named Defendants.


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actions of other Defendants. (Bloomfield Am. Compl. ¶ 105.)
Defendants move for summary judgment.                            VII. § 1983 Unlawful Retaliation for First Amendment
                                                                 Conduct
 *50 Summary judgment is denied as to Defendants                 Bloomfield alleges that Defendants Anemone, Maple,
Anemone and Maple with respect to Bloomfield's claim for         Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
false imprisonment. Summary judgment is granted as to all        Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
other Defendants. See Abraham section above.                     O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
                                                                 Papagiannis unlawfully retaliated against him for his First
                                                                 Amendment conduct. (Bloomfield Am. Compl. ¶ 114.)
V. § 1983 Failure to Supervise                                   Defendants move for summary judgment.
Bloomfield claims Defendants Anemone, Maple, Chapman,
Brown, Devlin, Picht, Parrish, and Prendergast failed to         Bloomfield has offered no evidence that shows any of the
properly supervise Defendants Toole, Wiencko, Barberi,           Defendants' actions were a result of their animus toward
Difede, Webber, Moloney, Single, Craig, O'Connor,                Bloomfield for having exercised his First Amendment rights
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis.        to free exercise of his religion. Summary judgment is granted
Defendants move for summary judgment.                            against all Defendants.

Summary judgment is denied as to Defendants Anemone
and Maple on Plaintiff's false imprisonment claim. Summary       VIII. Common Law Assault and Battery (physical force)
judgment is granted for all other Defendants as it relates to    Bloomfield claims Defendants Barberi, Webber, Craig,
the false imprisonment and for all Defendants as it relates to   Single, Lesiewicz, De Lorenzo, Brunner, Papagiannis,
Plaintiff's other claims.                                        Anemone, Maple, Chapman, Brown, and Devlin engaged
                                                                 in acts constituting assault and battery. (Bloomfield Am.
                                                                 Compl. ¶ 146.) Defendants move for summary judgment
VI. § 1983 Denial of Medical Treatment                           on the grounds that he was not seriously injured, he was
Bloomfield alleges Defendants Anemone, Maple, Chapman,           simply attempting to rescue Gordon, and that his claims “are
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,      frivolous” and an example of “raw vigilantism.” (Defs.' Mem.
Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,       in Supp. Bloomfield at 9.)
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
denied him medical treatment in violation of his rights.         Summary judgment is granted on Bloomfield's assault and
(Bloomfield Am. Compl. ¶ 111 .) Defendants move for              battery claim against Webber, Craig, Single, Lesiewicz, De
summary judgment.                                                Lorenzo, Brunner, Papagiannis, Parrish, Anemone, Maple,
                                                                 Chapman, Brown, and Devlin. Bloomfield presents no
Although Bloomfield does claim he sustained some                 evidence connecting these Defendants to any attack on him.
injuries, 53 he has not shown a deliberate indifference. There   Summary judgment is denied on his claim against Barberi and
is no evidence that he attempted to seek medical treatment       unidentified police officers. See the Bennett section above.
from any Defendant. Bloomfield has failed to show that
any defendants showed deliberate indifference to his medical
                                                                 IX. Common Law Assault and Battery (noxious gas)
condition. Summary judgment is granted for all Defendants
                                                                  *51 Bloomfield claims Defendants Barberi, Webber, Craig,
on Bloomfield's denial of medical treatment claim.
                                                                 Single, Lesiewicz, De Lorenzo, Brunner, Papagiannis,
                                                                 Anemone, Maple, Chapman, Brown, and Devlin engaged in
53     Bloomfield testified that “[M]y eyes was [sic]            acts constituting assault and battery. (Bloomfield Am. Compl.
       burning, my chest was scarred up, my face was             ¶ 149.) Defendants move for summary judgment.
       itching, burning, whatever the spray had done, I
       believe my shirt was open or torn, I was in pain. I       Summary judgment is denied on the noxious gas assault and
       remember kind of limping around. I was breathing          battery claim against Defendant Barberi. Summary judgment
       heavy.” (Defs.' 56.1 Stmt. Bloomfield, Ex. B, at          is granted for Anemone, Maple, Chapman, Brown, Devlin,
       170; Bloomfield 56.1 Stmt. ¶ 7 (injuires to leg,          Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner, and
       back, hand).)



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Papagiannis since there is no evidence that their actions       even address the claim in his motion papers other than to offer
caused Bloomfield to be the victim of assault and battery.      a general denial.


X. Common Law False Imprisonment                                XIV. Common Law Negligence
Bloomfield claims Defendants Anemone, Maple, Chapman,           Bloomfield alleges that Defendants Anemone, Maple,
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,     Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,      Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis        O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
falsely imprisoned him. (Bloomfield Am. Compl. ¶ 152.)          Papagiannis “negligently caused severe injuries, and caused
Defendants move for summary judgment.                           extreme emotional distress.” (Bloomfield Am. Compl. ¶ 164.)
                                                                Bloomfield has not presented evidence to support a claim of
A false imprisonment claim is analyzed in the same way          negligence. Summary judgment is granted for all Defendants.
under § 1983 and common law. See Abraham section above.         See Abraham section above.
Therefore, Summary judgment is denied for Defendants
Anemone, Maple, Chapman, Devlin, and Parrish, and                *52 Prior to this opinion, all Plaintiffs withdrew all claims
summary judgment is granted for the remaining Defendants.       for prima facie tort and all claims against Defendant Brown.
                                                                (McCartney Decl. ¶¶ 10–11.)

XI. Common Law Intentional Infliction of Emotional
Distress                                                        Conclusion
Bloomfield alleges Defendants Anemone, Maple, Chapman,          Summary judgment is denied on the following claims by
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,     Bloomfield:
Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
engaged in conduct that constitutes intentional infliction of     1. § 1983 excessive force (noxious gas) against Barberi
emotional harm. (Bloomfield Am. Compl. ¶ 155.) Plaintiff
                                                                  2. § 1983 false imprisonment against Anemone, Maple,
fails to offer evidence sufficient to meet the stringent test
                                                                  Chapman, Devlin, Parrish
required under New York law. Summary judgment is granted
for all Defendants.                                             3. § 1983 failure to intervene against Anemone, Maple

                                                                4. § 1983 failure to supervise as to the false imprisonment
XII. Common Law Negligent Infliction of Emotional               against Anemone, Maple
Distress
Bloomfield claims that Defendants Anemone, Maple,               5. common law assault and battery (physical acts) against
Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,     Barberi, unidentified police officers
Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
                                                                6. common law assault and battery (noxious gas) against
O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
                                                                Barberi
Papagiannis negligently cause severe emotional distress to
him. (Bloomfield Am. Compl. ¶ 158.) Bloomfield offers no        7. common law false imprisonment against Anemone,
evidence of any negligent acts resulting in severe emotional    Maple, Chapman, Devlin, Parrish
distress. Summary judgment is granted for all Defendants.       Summary judgment is granted on the remaining claims by
                                                                Bloomfield:
XIII. Common Law Conspiracy
Bloomfield's claim for conspiracy is dismissed as to all          1. § 1983 excessive force (physical acts) against all
Defendants. (Bloomfield Am. Compl. ¶ 161.) He has offered         Defendants
no proof of a common plan or scheme, Schlotthauer v.
Sanders, 545 N.Y.S.2d 196, 197 (2d Dept.1989), and did not        2. § 1983 excessive force (noxious gas) against Webber,
                                                                  Craig, Single, Lesiewicz, De Lorenzo, Brunner,



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  Papagiannis, Parrish, Anemone, Maple, Chapman, and           Jason Parke arrived at the UCC for the revival between 6 and
  Devlin                                                       7 p.m. on August 20, 1995. (Parke's 56.1 Stmt. ¶ 1.) Neither
                                                               party offers evidence that Parke was involved in the initial
3. § 1983 false imprisonment against Picht, Prendergast,       Warsop incident. After the service, Parke went to his car and
Toole, Wiencko, Barberi, Webber, Moloney, Craig, Single,       was driving on Ferndale toward Sutphin when he observed
O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and         Barberi and two or three other officers around Gordon. (Id.
Papagiannis                                                    ¶¶ 3–4; Defs.' 56.1 Stmt. Parke ¶ 3.) Parke testified that he
                                                               observed Barberi drag Gordon with a nightstick to a patrol car.
4. § 1983 failure to intervene against Chapman, Devlin,
                                                               (Parke's 56.1 Stmt., Ex. 1, at 128–133.) According to Parke,
Picht, Parrish, Prendergast, Toole, Wiencko, Barberi,
                                                               at this point in time police were jumping on and trampling
Webber, Moloney, Craig, Single, O'Connor, O'Hagan,
                                                               people. (Id. at 133.) Parke then jumped out of his car and
Lesiewicz, De Lorenzo, Brunner, and Papagiannis
                                                               ran toward the church because his family was supposed to
5. § 1983 unlawful retaliation for First Amendment conduct     be waiting by the church gate for him to pick them up. (Id.)
against all Defendants                                         Before Parke got to the gate, Barberi took his nightstick and
                                                               shoved him against a tree, causing him to slip and fall and
6. 1983 failure to supervise against Chapman, Devlin, Picht,   fracture his finger. (Id. at 137–41.) Parke also testified that,
Parrish, Prendergast, Toole, Wiencko, Barberi, Webber,         during this confrontation, Barberi's nightstick and fists came
Moloney, Craig, Single, O'Connor, O'Hagan, Lesiewicz, De       into contact with Parke's chest. (Defs.' 56.1 Stmt. Parke ¶¶ 8–
Lorenzo, Brunner, and Papagiannis                              9.) According to Parke, after he fell to the ground, he ran into
                                                               the church yard. (Id. ¶ 10.)
7. § 1983 denial of medical treatment against all Defendants

8. common law assault and battery (noxious gas) against         *53 Parke also testified that he was sprayed with mace twice,
Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,         once in the back (Defs.' 56.1 Stmt. Parke, Ex. B, at 170), and
Papagiannis, Parrish, Anemone, Maple, Chapman, Devlin          once directly on his face (Id. at 170). Parke has not identified
                                                               who sprayed him either time. (Defs.' 56.1 Stmt. Parke ¶ 20.)
9. common law false imprisonment against Picht,                In addition to the allegations of force, Parke claims that he
Prendergast, Toole, Wiencko, Barberi, Webber, Moloney,         was imprisoned in the UCC yard. (Parke's 56.1 Stmt. ¶¶ 10,
Craig, Single, O'Connor, O'Hagan, Lesiewicz, De Lorenzo,       11, 14.)
Brunner, and Papagiannis

10. common law intentional infliction of emotional distress    I. § 1983 Excessive Force (physical acts)
against all Defendants                                         Parke alleges that defendants used excessive force against him
                                                               by “assaulting [him] by striking [his body] with nightsticks
11. common law negligent infliction of emotional distress      and fists, shoving [him], and causing [him] to fall to the
against all Defendants                                         ground.” (Parke Compl. ¶ 75.) Defendants move for summary
                                                               judgment and argue that the alleged conduct does not shock
12. common law conspiracy against all Defendants
                                                               the conscience.
13. common law negligence against all Defendants
                                                               Barberi is the only Defendant who Parke testified made
                                                               physical contact with him; therefore, summary judgment is
                  Jason Parke's Claims 54                      granted for all other Defendants. 55
54     Unlike the other Group A–1 Plaintiffs, Parke does       55     Defendants argue that the Court should dismiss
       not specify individual defendants for each claim.
                                                                      Parke's claims against Barberi because they are not
       Rather, he alleges each cause of action against
                                                                      plausible. In support of this argument, Defendants
       “defendants.” The Court will assume for purposes
                                                                      claim that Parke “suddenly” identified Barberi
       of this motion that Parke is alleging each cause
                                                                      during his deposition even though he had failed to
       of action against each of the twenty-two named
                                                                      do so in his CCRB complaint and his interview
       Defendants.
                                                                      with the Queens District Attorney. (Defs.' Mem. in



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       Supp. Parke at 4; Defs.' 56.1 Stmt. Parke ¶¶ 11–            was allegedly imprisoned. (Defs.' 56.1 Stmt. Parke ¶¶ 22–24.)
       12.) Parke denies this allegation as to the CCRB            Parke disputes this evidence. (Parke's 56.1 Stmt. ¶ 10; id., Ex.
       complaint. (Parke's Resp. to Defs.' 56.1 Stmt. ¶            1, at 189–91; Parke's Resp. to Defs.' 56.1 Stmt. ¶¶ 22–24.)
       12.) Parke neither admits nor denies as to the DA
       interview. (Id. at ¶ 11.) Parke's credibility is not a       *54 Parke has presented sufficient evidence of false
       matter to be decided by the Court on a summary              imprisonment to survive this summary judgment motion.
       judgment motion. It is an issue for determination           Parke and all of the non-arrested Group A–1 Plaintiffs have
       by the jury.                                                presented evidence that the there was a large police response
                                                                   to the UCC and that the police were deployed at the exits to
According to Parke's testimony, he was not under arrest
or seized by the police when Barberi shoved him with his           the church premises. See Abraham section above. Whether
nightstick held between his fists. (Defs.' 56.1 Stmt. Parke, Ex.   or not Parke was imprisoned for a period of time or whether
B, at 146–47.) Because the alleged excessive force did not         he felt free to leave the UCC premises is a question of
occur within the context of an arrest or seizure, the Fourteenth   fact for the jury. For the reasons stated in the Abraham
                                                                   section above, summary judgment is denied for Defendants
Amendment applies. See Abraham and Bloomfield sections
                                                                   Anemone, Maple, Chapman, Devlin, and Parrish. Summary
above. Given Parke's own account of event, UCC members
                                                                   judgment is granted for all other Defendants.
and police officers were running everywhere at the time when
he was shoved by Barberi. During such a chaotic event,
this Court does not find that the actions of Barberi against
                                                                   IV. § 1983 Failure to Intervene and Protect
Parke were sufficiently heinous for a reasonable jury to find
                                                                   Parke brings a claim against supervisory officer Defendants
that they shock the conscience. Furthermore, since the event
                                                                   for failing to intervene and protect him from the unlawful
occurred prior to Rodriguez v. Phillips, 66 F.3d 470, 477 (2d      conduct of the subordinate defendants. (Parke Compl. ¶ 90.)
Cir.1995), Barberi is entitled to qualified immunity for those     Defendants move for summary judgment.
acts. Summary judgment is granted for Barberi.
                                                                   Summary judgment is denied for Defendants Anemone and
                                                                   Maple on Parke's claim that they failed to intervene and
II. § 1983 Excessive Force (noxious gas)
                                                                   protect him during the alleged false imprisonment. Summary
In his Complaint, Parke claims that Defendants deliberately
                                                                   judgment is granted for all other Defendants and for any
sprayed his face and head with a noxious gas. (Parke Compl.
                                                                   claims relating to the use of force by Barberi. See Abraham
78.) Defendants move for summary judgment.
                                                                   section above.
It is undisputed that Parke was sprayed in the back and face.
(Defs.' 56.1 Stmt. Parke ¶¶ 18–19.) It is also undisputed
                                                                   V. § 1983 Failure to Supervise
that Parke has not identified who sprayed him. (Id. at ¶ 20.)      Parke brings a claim against supervisory officer Defendants
Because Parke has not shown the personal involvement of any        for failing properly to supervise the subordinate defendants.
Defendant in the spraying of mace, Parke cannot maintain an        (Parke Compl. ¶ 90.) Defendants move for summary
action under § 1983. See Bennett section above. Summary            judgment.
judgment is granted for all Defendants.
                                                                   Summary judgment is denied for Defendants Anemone
                                                                   and Maple on Parke's claim that they failed properly to
III. § 1983 False Imprisonment
                                                                   supervise Defendants who were in authority during the false
Parke alleges that Defendants imprisoned him within the
                                                                   imprisonment. Summary judgment is granted for all other
church yard without probable cause. (Parke Compl. ¶ 81.)
                                                                   Defendants and for any claims for failure to supervise the
Defendants move for summary judgment on the ground that
                                                                   claimed use of force by Barberi. See Abraham section above.
Parke was not confined. The elements of false imprisonment
are explained in the Gordon and Abraham sections above.
                                                                   VI. § 1983 Denial of Medical Treatment
In support of their argument that Parke was not falsely            Parke alleges that the Defendants denied him necessary
imprisoned, the Defendants cite evidence that Parke was able       medical treatment for his injuries. (Parke Compl. ¶ 84.)
to go outside the gate twice during the four hour period that he   Defendants move for summary judgment on the grounds that



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Parke had no serious medical injuries. The relevant law for         Parke alleges that the Defendants “did inflict assault and
this claim is outlined in the Gordon and Abraham sections           battery upon [him].” (Parke Compl. ¶ 109.) Defendants move
above.                                                              for summary judgment on the grounds that Parke has failed
                                                                    to show intent and injury.
Parke testified that he experienced burning from the mace
(Parke's 56.1 Stmt., Ex. 1, at 170) and that he sustained           Parke testified that Barberi shoved him with his nightstick.
other injuries, including a swollen finger, pains in his back,      There is no evidence to suggest that this was not an intentional
chest, and neck (Defs.' 56.1 Stmt. Parke, Ex. B, at 206–09).        act. Parke has offered sufficient evidence of an assault and
However, Parke admits that he did not seek medical treatment        battery. Summary judgment is denied as to Barberi. Summary
on August 20 or 21, 1995. (Defs.' 56.1 Stmt. Parke ¶ 36.)           judgment is granted for all other Defendants.
Based on the evidence before the Court, it appears Parke did
not seek any medical treatment until June 27, 1996 (Parke's
56.1 Stmt., Ex. 5 (report from Greater Metropolitan Medical         IX. Common Law Assault and Battery (noxious gas)
Services) and September 12, 1996 (Parke's 56.1 Stmt., Ex.           Parke also asserts an assault and battery claim against
3 (psychological evaluation)). The seriousness of Parke's           Defendants for the spraying of noxious gas. (Parke Compl. ¶
injuries is not clear.                                              109.) Defendants move for summary judgment on the grounds
                                                                    that Parke has not identified who sprayed him. The relevant
Although Parke has offered evidence supporting his claim            law for this claim is outlined in the Abraham and Bloomfield
of injuries, he has not shown that he was denied medical            sections above.
treatment by the any of Defendants' deliberate indifference
to his visible injuries. Summary judgment is granted for all        It is undisputed that Parke was twice sprayed with mace.
Defendants.                                                         There is no evidence to suggest that these were not intentional
                                                                    acts. Evidence has been presented on the motion that
                                                                    Defendants Barberi, Webber, Craig, Single, Lesiewicz, De
VII. § 1983 Unlawful Retaliation for First Amendment                Lorenzo, Brunner, Papagiannis, and Parrish discharged their
Conduct                                                             mace canisters during the August 20–21 incident. Many of
 *55 Parke alleges that the Defendants' conduct constitutes         these officers admit to discharging mace at the gate, where
unlawful retaliation for his First Amendment conduct. (Parke        Parke has testified he was maced in the face. Parke is
Compl. ¶ 95.) Defendants move for summary judgment.                 allowed to proceed with his assault and battery claim against
                                                                    these Defendants. Summary judgment is granted for all other
Parke fails to offer evidence to support this claim. The only       Defendants.
evidence he cites is that he was properly on church property
at the time of the incident and that an unidentified officer said
to him, “Let your God feed the baby.” (Parke's 56.1 Stmt. ¶         X. Common Law False Imprisonment
14.) This is insufficient to show that any Defendants' conduct      Parke alleges that Defendants falsely imprisoned him without
was motivated by animus for Parke's exercise of his right to        cause by surrounding the UCC grounds. (Parke Compl. ¶
                                                                    112.) Defendants move for summary judgment. The relevant
freedom of religion. 56 Summary judgment is granted for all
                                                                    law is outlined in the Abraham section above.
Defendants.

                                                                    A claim for false imprisonment is the same under § 1983 and
56      To the extent that Parke is alleging emotional and          common law. Summary judgment is denied as to Defendants
        psychological damages from this comment and                 Anemone, Maple, Chapman, Devlin, and Parrish. Summary
        several other comments containing racial epithets,          judgment is granted for all other Defendants.
        Parke may offer evidence of the comments and the
        distress they caused in presenting the damages he
        has suffered from any false imprisonment or from            XI. Common Law Intentional Infliction of Emotional
        any assault and battery against him.                        Distress
                                                                    Parke brings a cause of action against Defendants for
VIII. Common Law Assault and Battery (physical acts)                intentional infliction of emotional distress. (Parke Compl. ¶
                                                                    115.) Defendants move for summary judgment.



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Parke fails to present sufficient evidence of this claim. See      1. § 1983 false imprisonment against Anemone, Maple,
sections above. To the extent that Parke claims emotional          Chapman, Devlin, Parrish
distress from the use of force, the use of mace, and the false
                                                                   2. § 1983 failure to intervene and protect during the false
imprisonment, his claim is subsumed under those specific
                                                                   imprisonment against Anemone, Maple
causes of action. To the extent that Parke claims emotional
distress from the comments unidentified Defendants made to       3. § 1983 failure to supervise during the false imprisonment
him while he was falsely imprisoned, he may present evidence     against Anemone, Maple
of any comments and the distress they caused him during his
testimony on false imprisonment.                                 4. common law assault and battery (physical acts) against
                                                                 Barberi

XII. Common Law Negligent Infliction of Emotional                5. common law assault and battery (noxious gas) against
Distress                                                         Barberi, Webber, Craig, Single, Lesiewicz, De Lorenzo,
 *56 Parke alleges that Defendants negligently caused him        Brunner, Papagiannis, Parrish
severe emotional distress. (Parke Compl. ¶ 118.) Defendants
                                                                 6. common law false imprisonment against Anemone,
move for summary judgment.
                                                                 Maple, Chapman, Devlin, Parrish
                                                                 Summary judgment is granted on the following claims by
Parke's testimony shows intentional acts by the Defendants,
                                                                 Parke:
not negligent acts. Summary judgment is granted for all
Defendants.
                                                                   1. § 1983 excessive force (physical acts) against all
                                                                   Defendants
XIII. Common Law Conspiracy
Parke alleges that the Defendants conspired against him to         2. § 1983 excessive force (noxious gas) against all
deprive him of his rights. (Parke Compl. ¶ 121.) Defendants        Defendants
move for summary judgment.
                                                                 3. § 1983 false imprisonment against remaining Defendants
Parke does not present evidence of a conspiracy. Summary
judgment is granted for all Defendants.                          4. § 1983 failure to intervene and protect against remaining
                                                                 Defendants

XIV. Common Law Negligence                                       5. § 1983 failure to supervise against remaining Defendants
Parke alleges that Defendants negligently caused him injuries
                                                                 6. § 1983 denial of medical treatment against all Defendants
and distress. (Parke Compl. ¶ 124.) Defendants move for
summary judgment.                                                7. § 1983 unlawful retaliation for First Amendment conduct
                                                                 against all Defendants
Parke's testimony shows intentional acts by the Defendants,
not negligent acts. Summary judgment is granted for all          8. common law assault and battery (physical acts) against
Defendants                                                       remaining Defendants

Prior to this opinion, all Plaintiffs withdrew all claims for    9. common law assault and battery (noxious gas) against
prima facie tort and all claims against Defendant Brown.         remaining Defendants
(McCartney Decl. ¶¶ 10–11.)
                                                                 10. common law false imprisonment against remaining
                                                                 Defendants
Conclusion
                                                                 11. common law intentional infliction of emotional distress
Summary judgment is denied on the following claims by
                                                                 against all Defendants
Parke:




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12. common law negligent infliction of emotional distress            I. § 1983 Excessive Force (physical acts)
against all Defendants                                               Williams alleges that unnamed Defendants used excessive
                                                                     force against him by pushing him. (Williams Compl. ¶ 114.)
13. common law conspiracy against all Defendants                     In his deposition, Williams was able to identify this officer
                                                                     as Barberi. Defendants move for summary judgment on
14. common law negligence against all Defendants
                                                                     the grounds that Williams' identification of Barberi is not
                                                                     credible and that, if true, the actions alleged do not shock the
                   Elisha Williams' Claims                           conscience. The relevant law is outlined in the Abraham and
                                                                     Lewis sections above.
Elisha Williams arrived at the UCC for the revival around
7:15 p.m. on August 20, 1995. (Williams' 56.1 Stmt. ¶ 1.)
                                                                     Williams does not allege sufficient evidence to make out
After the revival ended, Williams saw a crowd of people
                                                                     a claim of excessive force. Although he does identify
including both UCC members and police officers gathering
                                                                     Barberi sufficiently as the officer who pushed him and raised
outside the gate around Gordon, and, as he moved toward the
                                                                     his nightstick, these actions did not occur in the course
crowd, he observed police officers pulling Gordon. (Williams'
                                                                     of an arrest. The relevant test, therefore, is found in the
56.1 Stmt., Ex. 1, at 42–45.) Williams testified that he saw
                                                                     Fourteenth Amendment. Williams' own description of the
the police handcuff Gordon and put him in a squad car, at
                                                                     event suggests a chaotic scene with both church members
which point the police returned to the crowd and started
                                                                     and officers running everywhere as officers tried to grab and
grabbing people. (Id. at 45.) According to Williams, “the            arrest certain people. In context of the melee, a reasonable
tall police officer” whom he was able to identify as Barberi         jury could not find a push sufficient force to shock the
then pushed him to the ground and lifted his nightstick to hit       conscience. Furthermore, under the circumstances revealed
him but did not in fact hit him. (Defs.' 56.1 Stmt. Williams         by the evidence, Barberi would be entitled to qualified
¶¶ 2–3.) Bloomfield said, “Leave him alone, just leave him
                                                                     immunity for Williams' § 1983 claim based on Rodriguez v.
alone.” (Defs.' 56.1 Stmt. Williams, Ex. 1, at 46.) At this point,
                                                                     Phillips, 66 F.3d 470 (2d Cir.1995). Summary judgment is
Williams tried to return inside the gate. (Williams' 56.1 Stmt.,
                                                                     granted for all Defendants.
Ex. 1, at 46 .) Before he got to the gate, he observed an officer
spraying mace, and Williams' eyes started to burn. (Id. at 47.)
It is not clear from the testimony whether the officer sprayed       II. § 1983 Excessive Force (noxious gas)
Williams directly or was spraying in the air. (Id.) Williams         Williams also brings an excessive force claim against
cannot identify the officer who sprayed the mace. (Defs.' 56.1       Defendants Barberi, Webber, Craig, Single, Lesiewicz, De
Stmt. Williams ¶¶ 17–18; Williams' Resp. to Defs.' 56.1 Stmt.        Lorenzo, Brunner, Papagiannis, Parrish, Anemone, Maple,
¶¶ 17–18.) At this point, Williams ran in the gate and under         Chapman, Brown, and Devlin for spraying him with noxious
the tent. (Williams' 56.1 Stmt., Ex. 1, at 48.)                      gas. (Williams Compl. ¶ 123.) Defendants move for summary
                                                                     judgment.
 *57 According to Williams, during the chaos some people
inside the UCC grounds closed the gate. (Defs.' 56.1 Stmt.           Williams testified that he was affected by noxious gas sprayed
Williams ¶ 25.) Some UCC members were still outside the              by an officer before he went back into the church grounds
gate and had to enter through the Glassboro gate. (Williams'         (Defs.' 56.1 Stmt. Williams, Ex. B, at 46–47), but he was
56.1 Stmt., Ex. 1, at 48–50.) Williams also testified that           not able to identify the officer. Williams has not presented
unidentified officers pushed on the gate, trying to get in, while    evidence of the personal involvement of any of the named
UCC members pushed back, trying to keep the gate closed.             Defendants sufficient to sustain a § 1983 claim. When asked
Williams was able to leave the UCC at daylight the next              in his deposition if the officer who sprayed him was the
morning. (Defs.' 56.1 Stmt. Williams, Ex. B, at 57.) As he           same one who pushed him, he answered, “No, no, no, I
left, Williams testified that he initially went to the ambulances    don't think it was him, no.” (Williams' 56.1 Stmt., Ex. 1, at
outside the church to receive medical attention but that he          47.) Williams has presented no other evidence showing the
left before receiving treatment because he was afraid of being       personal involvement of any Defendant.
arrested. (Id. at 52–53.)
                                                                     *58 Summary judgment is granted for all Defendants.




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                                                                    supervise their subordinates. (Williams Compl. ¶¶ 129, 132.)
III. § 1983 False Imprisonment                                      Defendants move for summary judgment.
Williams alleges that Defendants Anemone, Maple,
Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,         Both parties present the same facts as they have for each
Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,           proceeding Plaintiff. The analysis for Williams is the same
O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and              as for all of the non-arrested Group A–1 Plaintiffs. Summary
Papagiannis falsely imprisoned him against his will and             judgment is denied for Anemone and Maple as to the failure
without probable cause. (Williams Compl. ¶ 126.) Defendants         to intervene or supervise while the Plaintiff was falsely
move for summary judgment on the grounds that Williams has          imprisoned. Summary judgment is granted for all remaining
not shown that he was involuntarily detained. The relevant          Defendants.
law is outlined in the Abraham section above.

Plaintiff has presented sufficient evidence to support a claim      V. § 1983 Denial of Medical Treatment
of false imprisonment. Williams has testified that, due to the       *59 Williams alleges that Defendants Anemone, Maple,
police deployment, he was not able to leave the UCC grounds         Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
during the night. When asked in his deposition if he tried to       Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
leave before the morning, he answered, “You can't leave, they       O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
came in the line there all night, no one could leave, you can't     and Papagiannis denied him necessary medical treatment.
leave.” (Defs.' 56.1 Stmt. Williams, Ex. B, at 57.) Defendants      (Williams Compl. ¶ 135.) Defendants move for summary
are correct that Williams also testified that it was the UCC        judgment on the grounds that medical treatment was available
people, not the police who closed the gate and that people          and that Williams did not have a serious medical need. The
were able to enter the UCC grounds through a different gate         relevant law is outlined in the sections above.
on Glassboro. (Defs.' 56.1 Stmt. Williams ¶¶ 25, 29.) Both
of these statements, however, appear to be referring to the         Williams testified that when he was allowed to leave the
beginning of the event as to which there is evidence of false       church on the morning of August 21, 1995, he initially
imprisonment. It is not sufficient for Defendants to show that      stopped at the ambulance for treatment to his eyes and
Williams was able to leave later on in the evening or at any        shoulder but that he left before receiving treatment. (Defs.'
time before the next morning. If the Plaintiff was imprisoned       56.1 Stmt. Williams, Ex. B., at 60–64.) According to
without reasonable cause for any period of time there is a false    Williams, he left without receiving treatment because he
imprisonment. The issues of if and why the UCC members              heard from other UCC members that the police were arresting
enclosed themselves within the fence, and whether or not the        people. (Id. at 52, 60–64) Williams claims that he needed
police deployment caused them to do so or prevented them            treatment for injuries to his shoulder and back and for
from leaving are questions for the jury, as is the period of time   the effects of the mace on his eyes and chest. (Williams'
and reasonableness of any imprisonment.                             56.1 Stmt. ¶¶ 7–8.) He does testify that he saw three
                                                                    doctors, including a psychiatrist, for his injuries, but the
Summary judgment is denied for Defendants Anemone,                  evidence before the Court does not reveal the dates of these
Maple, Chapman, Devlin, and Parrish. Summary judgment is            appointments or the diagnoses. (Defs.' 56.1 Stmt. Williams,
granted for all remaining Defendants. See Abraham section           Ex. B, at 60–72.)
above.
                                                                    Williams has not presented evidence that any Defendant was
                                                                    aware of his injuries and that the Defendants denied him
IV. § 1983 Failure to Intervene and Protect; § 1983 Failure         medical treatment with deliberate indifference. Furthermore,
to Supervise                                                        according to his own testimony, medical treatment was, in
Like the other non-arrested Group A–1 Plaintiffs, Williams          fact, made available. Williams testified that he did not stay
alleges that Defendants Anemone, Maple, Chapman, Brown,             in the ambulance to receive treatment because he heard that
Devlin, Picht, Parrish, Prendergast, Toole, Wiencko, Barberi,       UCC members were being arrested. That testimony does not
Difede, Webber, Moloney, Craig, Single, O'Connor, O'Hagan,          establish that a Defendant denied Williams medical treatment,
Lesiewicz, De Lorenzo, Brunner, and Papagiannis failed to           nor does it show deliberate indifference by a Defendant.
intervene and protect him from the unjustified treatment he
received and that the supervisory officers failed to properly       Summary judgment is granted for all Defendants.


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                                                                  Williams testified that he observed an officer spraying mace
                                                                  and that, as a result, his eyes and chest began to burn.
VI. § 1983 Unlawful Retaliation for First Amendment               Although Williams does not identify which officer sprayed
Conduct                                                           the mace, evidence has been submitted on this motion that
Williams alleges that Defendants Anemone, Maple,                  Defendants Barberi, Webber, Craig, Single, Lesiewicz, De
Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,       Lorenzo, Brunner, Papagiannis, and Parrish all sprayed mace
Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,         during the altercation that night. Williams does not have
O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and            to establish that a Defendant intended to spray him with
Papagiannis acted in the ways alleged because of their animus     mace, only that the act of spraying mace by police officers
toward him and because he was exercising his right to the free    was intentional. Williams has therefore presented sufficient
exercise of religion. (Williams Compl. ¶ 138.) Defendants         evidence to proceed with a claim of battery.
move for summary judgment. The elements of this claim are
outlined in the Gordon section above.                             Summary judgment is denied for Defendants Barberi,
                                                                  Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,
For the reasons stated in the sections above, this Court          Papagiannis, and Parrish. Williams does not present evidence
finds that Williams has failed to present sufficient evidence     that Defendants Anemone, Maple, Chapman, or Devlin
to support his claim for unlawful retaliation for First           sprayed mace; therefore, summary judgment is granted for
Amendment conduct. Summary judgment is granted for all            these Defendants.
Defendants.

                                                                  IX. Common Law False Imprisonment
VII. Common Law Assault and Battery (physical acts)               Williams alleges that Defendants Anemone, Maple,
In his Complaint, Williams alleges that an unnamed defendant      Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
police officer inflicted assault and battery on him by pushing    Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
him. (Williams Compl. ¶ 170.) Defendants move for summary         O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
judgment. The law is presented in the Bennett and Abraham         Papagiannis are liable for falsely imprisoning him against
sections above.                                                   his will without probable cause. (Williams Compl. ¶ 182.)
                                                                  Defendants move for summary judgment.
 *60 Williams testified that Barberi pushed him to the ground
and then raised his nightstick to hit him, but did not actually   As is explained in the sections above, a false imprisonment
hit him. For the reasons outlined in sections above, this         claim is the same under both § 1983 and common law.
is sufficient evidence of assault and battery to survive a        Summary judgment is denied for Defendants Anemone,
summary judgment motion. Summary judgment is denied for           Maple, Chapman, Devlin, and Parrish. Summary judgment is
Barberi.                                                          granted for the remaining Defendants.

Williams does not offer any other evidence of physical acts
against him; therefore, Summary judgment is granted for all       X. Common Law Intentional Infliction of Emotional Distress
other Defendants.                                                 Williams alleges that Defendants Anemone, Maple,
                                                                  Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
                                                                  Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
VIII. Common Law Assault and Battery (noxious gas)                O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and
Williams also brings an assault and battery claim against         Papagiannis engaged in extreme and outrageous conduct that
Defendants Barberi, Webber, Craig, Single, Lesiewicz, De          intentionally inflicted emotional distress on him. (Williams
Lorenzo, Brunner, Papagiannis, Parrish, Anemone, Maple,           Compl. ¶ 185.) Defendants move for summary judgment.
Chapman, Brown, and Devlin alleging that they sprayed him
with or exposed him to noxious gas. (Williams Compl. ¶ 179.)      As explained in the sections above, Williams has not
Defendants move for summary judgment. The law is outlined         presented sufficient evidence of this claim. To the extent that
in sections above.                                                Williams has evidence that he suffered emotional distress,
                                                                  he may present that evidence of damages in conjunction




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with his other claims. Summary judgment is granted for all      Summary judgment is denied on the following claims by
Defendants.                                                     Williams:

                                                                  1. § 1983 false imprisonment against Anemone, Maple,
XI. Common Law Negligent Infliction of Emotional Distress            Chapman, Devlin, Parrish
 *61 Williams alleges that Defendants Anemone, Maple,
Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,       2. § 1983 failure to intervene and protect (as to the false
Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,            imprisonment) against Anemone, Maple
O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
                                                                  3. § 1983 failure to supervise (as to the false imprisonment)
and Papagiannis negligently caused him severe emotional
                                                                     against Anemone, Maple
distress. (Williams Compl. ¶ 188.) Defendants move for
summary judgment.                                                 4. common law assault and battery (physical acts) against
                                                                     Barberi
Williams' testimony shows intentional acts by the Defendants,
not negligent acts. Summary judgment is granted for all           5. common law assault and battery (noxious gas) against
Defendants.                                                          Barberi, Webber, Craig, Single, Lesiewicz, De Lorenzo,
                                                                     Brunner, Papagiannis, Parrish

XII. Common Law Conspiracy                                        6. common law false imprisonment against Anemone,
Williams alleges that Defendants Anemone, Maple,                    Maple, Chapman, Devlin, Parrish
Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,       Summary judgment is granted on the remaining claims by
O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and          Williams:
Papagiannis conspired against him to deprive him of his
                                                                  1. § 1983 excessive force (physical acts) against all
rights. (Williams Compl. ¶ 191.) Defendants move for
                                                                    Defendants
summary judgment.
                                                                  2. § 1983 excessive force (noxious gas) against all
Williams has not presented evidence of a conspiracy.                Defendants
Summary judgment is granted for all Defendants.
                                                                  3. § 1983 false imprisonment against Picht, Prendergast,
                                                                     Toole, Wiencko, Barberi, Difede, Webber, Moloney,
XIII. Common Law Negligence                                          Craig, Single, O'Connor, O'Hagan, Lesiewicz, De
Williams alleges that Defendants Anemone, Maple,                     Lorenzo, Brunner, Papagiannis
Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,         4. § 1983 failure to intervene and protect against
O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner, and              Chapman, Devlin, Parrish, Picht, Prendergast, Toole,
Papagiannis negligently caused him injuries and distress.           Wiencko, Barberi, Difede, Webber, Moloney, Craig,
(Williams Compl. ¶ 194.) Defendants move for summary                Single, O'Connor, O'Hagan, Lesiewicz, De Lorenzo,
judgment.                                                           Brunner, Papagiannis

Williams' testimony shows intentional acts by the Defendants,     5. § 1983 failure to supervise against Chapman, Devlin,
not negligent acts. Summary judgment is granted for all              Parrish, Picht, Prendergast, Toole, Wiencko, Barberi,
Defendants                                                           Difede, Webber, Moloney, Craig, Single, O'Connor,
                                                                     O'Hagan, Lesiewicz, De Lorenzo, Brunner, Papagiannis
Prior to this opinion, all Plaintiffs withdrew all claims for
                                                                  *62 6. § 1983 denial of medical treatment for all
prima facie tort and all claims against Defendant Brown.
                                                                   Defendants
(McCartney Decl. ¶¶ 10–11.)
                                                                  7. § 1983 unlawful retaliation for First Amendment conduct
                                                                     for all Defendants
Conclusion



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                                                                          sound alike when spoken aloud and that this
  8. common law assault and battery (noxious gas) against                 discrepancy could be the result of something as
     Anemone, Maple, Chapman, Devlin                                      minor as court reporter error. Furthermore, the
                                                                          CCRB report, which the Defendants cite, is not
  9. common law false imprisonment against Picht,
                                                                          admissible evidence. This report is a summary
    Prendergast, Toole, Wiencko, Barberi, Difede, Webber,
                                                                          of the interview, not a transcript of the interview
    Moloney, Craig, Single, O'Connor, O'Hagan, Lesiewicz,
                                                                          itself. The Court will hear the evidence identifying
    De Lorenzo, Brunner, Papagiannis
                                                                          Defendant Craig.
  10. common law intentional infliction of emotional distress
    against all Defendants                                         I. § 1983 Excessive Force (physical acts)
                                                                   In her Complaint, Lewis alleges that Defendant Craig used
  11. common law negligent infliction of emotional distress        excessive force against her because, when he hit the fence,
    against all Defendants                                         her finger was injured. (Defs.' 56.1 Stmt. Lewis, Ex. B, at
                                                                   55, 60.) Defendants move for summary judgment on the
  12. common law conspiracy against all Defendants
                                                                   grounds that this act does not constitute excessive force under
  13. common law negligence against all Defendants                 the Fourteenth Amendment. The law is outlined in sections
                                                                   above.

                                                                   Lewis does not present sufficient evidence to show that she
                     Gaye Lewis' Claims                            was seized at the time her injury occurred. According to her
                                                                   own testimony, it was she and other UCC members who were
Gaye Lewis arrived at the UCC for the revival around 7:20
                                                                   trying to close the gate. She injured her finger and fell when
p.m. on August 20, 1995. (Lewis' 56.1 Stmt. ¶ 1.) She
                                                                   Craig hit the fence. (Lewis' 56.1 Stmt., Ex. 1, at 54–56.) She
was preparing to leave after the service when she heard
                                                                   was not injured in the course of an arrest or a seizure because
a commotion outside the gate and, staying on the fenced
                                                                   the officers were trying to keep the gate open, not close the
church grounds, went to the corner of Sutphin Boulevard
                                                                   people in. Therefore, the Fourteenth Amendment Due Process
and Ferndale to see what was going on. (Id. 2.) She testified
                                                                   Clause applies. Under these circumstances, the Defendants
that she observed several white, male police officers beating
                                                                   are entitled to qualified immunity. See Rodriguez v. Phillips,
and arresting Gordon. (Id. 3.) According to Lewis, she was
                                                                   66 F.3d 470, 477 (2d Cir.1995). The conduct of Craig does
then sprayed through the fence with pepper spray by Barberi.
                                                                   not shock the conscience, given the context of the melee.
(Defs.' 56.1 Stmt. Lewis, Ex. B, at 34–35.) Lewis testified that
she knew it was Barberi because she was able to see his name
                                                                   Summary judgment is granted for Defendant Craig.
plate. 57 (Defs.' 56.1 Stmt. Lewis ¶ 14.) Lewis also testified
that later when she was trying to close the gate, she tripped,
fell, and hurt her knee. ((Lewis' 56.1 Stmt., Ex. 1, at 54.)       II. § 1983 Excessive Force (noxious gas)
Finally, Lewis testified that “Officer Greg” hit the fence when     *63 Lewis alleges that Defendants Barberi, Webber,
they were trying to close it, causing pain and swelling. (Defs.'   Craig, Single, Lesiewicz, De Lorenzo, Brunner, Papagiannis,
56.1 Stmt. Lewis ¶¶ 2–5.) 58                                       Parrish, Anemone, Maple, Chapman, Brown, and Devlin
                                                                   used excessive force against her in that they sprayed her
57                                                                 with or exposed her to noxious gas. (Lewis Compl. ¶ 130.)
       Lewis' 56.1 Stmt. ¶ 4 states that she was sprayed not
                                                                   Defendants move for summary judgment on the ground that
       only by Barberi but also by other police officers.
                                                                   such conduct does not shock the conscience.
       Plaintiff presents no admissible evidence to support
       this. Based on Lewis' deposition, the only Officer
                                                                   Lewis does not present evidence that Defendants Webber,
       she claims sprayed her with mace is Barberi. (Defs.'
                                                                   Craig, Single, Lesiewicz, De Lorenzo, Brunner, Papagiannis,
       56 .1 Stmt. Lewis, Ex. B, at 34–35.)
                                                                   Parrish, Anemone, Maple, Chapman, Brown, or Devlin
58                                                                 sprayed her with mace. In her deposition, Lewis testified
       Defendants argue that Lewis' identification of the
       officer as “Greg” and not “Craig” casts doubt on            that Barberi sprayed her through the fence. She does not
       her credibility. The Court notes that both names            present evidence that she was sprayed by anyone else.



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Therefore, summary judgment is granted for Defendants               supervise their subordinates. (Lewis Compl. ¶¶ 136, 139.)
Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,              Defendants move for summary judgment.
Papagiannis, Parrish, Anemone, Maple, Chapman, Brown,
and Devlin.                                                          *64 Both parties present the same facts as they have for each
                                                                    proceeding Plaintiff. The analysis for Lewis is the same as
Summary judgment is denied on Lewis' excessive force                for all of the non-arrested Group A–1 Plaintiffs. See sections
claim against Barberi. According to her testimony, Barberi          above.
sprayed her and others through the fence near Sutphin and
Ferndale. Although there is evidence that the scene was             Summary judgment is denied for Anemone and Maple as to
chaotic, there is no evidence that the people who were              the failure to intervene and supervise the false imprisonment
watching Barberi and Gordon from behind a fence were a              situation. Summary judgment is granted for all remaining
danger to Barberi. Whether or not, under the circumstances          Defendants.
that the evidence shows Barberi was facing, his spraying of
mace on people who were separated from him by a fence
shocks the conscience is a question for the jury.                   V. § 1983 Denial of Medical Treatment
                                                                    Lewis alleges that Defendants Anemone, Maple, Chapman,
                                                                    Brown, Devlin, Picht, Parrish, Pendergast, Toole, Wiencko,
III. § 1983 False Imprisonment                                      Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
Lewis alleges that Defendants Anemone, Maple, Chapman,              O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
Brown, Devlin, Picht, Parrish, Pendergast, Toole, Wiencko,          denied her necessary medical treatment. (Lewis Compl. ¶
Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,          142.) Defendants move for summary judgment on the grounds
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis            that Lewis did not have a serious medical need. The relevant
falsely imprisoned her against her will. (Lewis Compl. ¶ 133.)      law is outlined in the sections above.
Defendants move for summary judgment on the grounds that
Lewis was not involuntarily confined.                               Lewis has not presented evidence that she was denied medical
                                                                    treatment. Furthermore, she has not shown that her injuries
Lewis' claim is similar to Williams' in that both parties present   were sufficiently obvious or serious to support a constitutional
evidence of voluntary movement at certain points in time            claim. Lewis testified that she sought medical attention for
and inability to leave the church grounds at other points in        her knee and finger, but not her eyes. The Plaintiff's evidence
time. Whether or not and when Lewis was able to leave the           does not establish when she sought this treatment.
UCC grounds is a question of fact for the jury. Lewis has
presented sufficient evidence of a large police deployment          Lewis has made no showing that a Defendant was aware of
to maintain a false imprisonment claim. See Abraham and             her injuries and denied her medical treatment out of deliberate
Williams sections above.                                            indifference to those injuries. Summary judgment is granted
                                                                    for all Defendants.
Summary judgment is denied for Defendants Anemone,
Maple, Chapman, Devlin, and Parrish. Summary judgment is
granted for all remaining Defendants.                               VI. § 1983 Unlawful Retaliation for First Amendment
                                                                    Conduct
                                                                    Lewis alleges that Defendants Anemone, Maple, Chapman,
IV. § 1983 Failure to Intervene and Protect; § 1983 Failure         Brown, Devlin, Picht, Parrish, Pendergast, Toole, Wiencko,
to Supervise                                                        Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
Like the other non-arrested Group A–1 Plaintiffs, Lewis             O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
alleges that Defendants Anemone, Maple, Chapman, Brown,             acted in the ways alleged because of their animus toward her
Devlin, Picht, Parrish, Pendergast, Toole, Wiencko, Barberi,        and because she was exercising her right to the free exercise
Difede, Webber, Moloney, Craig, Single, O'Connor, O'Hagan,          of religion. (Lewis Compl. ¶ 145.) Defendants move for
Lesiewicz, De Lorenzo, Brunner, and Papagiannis failed to           summary judgment. The elements of this claim are outlined
intervene and protect her from the unjustified treatment she        in the Gordon section above.
received and that the supervisory officers failed to properly




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For the reasons stated in the sections above, summary
judgment is granted for all Defendants. Lewis has not            IX. Common Law False Imprisonment
identified sufficient evidence to support her claim.             Lewis alleges that Defendants Anemone, Maple, Chapman,
                                                                 Brown, Devlin, Picht, Parrish, Pendergast, Toole, Wiencko,
                                                                 Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
VII. Common Law Assault and Battery (physical acts)              O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
Lewis alleges that Defendant Craig is liable for assault and     falsely imprisoned her against her will. (Lewis Compl. ¶ 189.)
battery because when he hit the fence, her finger was injured.   Defendants move for summary judgment on the grounds that
(Lewis Compl. ¶ 180; Defs.' 56.1 Stmt. Lewis, Ex. B., at 54–     Lewis was not involuntarily confined.
56.) Defendants move for summary judgment on the grounds
that this Lewis' claims are not credible. The law is outlined    A false imprisonment claim is the same under § 1983
in sections above.                                               and common law. Based on the analysis above, Summary
                                                                 judgment is denied for Defendants Anemone, Maple,
Lewis presents sufficient evidence of an intentional physical    Chapman, Devlin, and Parrish. Summary judgment is granted
act to proceed with a claim of assault and battery. According    for all remaining Defendants.
to her own testimony, Craig hit the fence, and her finger
was injured. (Lewis' 56.1 Stmt., Ex. 1, at 54–56.) She claims
that Craig's acts caused her injuries to her finger and knees.   X. Common Law Intentional Infliction of Emotional Distress
(Id.) Although this Lewis' account does not support an act       Lewis alleges that Defendants Anemone, Maple, Chapman,
sufficiently severe to show a § 1983 violation, she has          Brown, Devlin, Picht, Parrish, Pendergast, Toole, Wiencko,
presented sufficient evidence of a common law assault and        Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
battery. Summary judgment is denied for Craig.                   O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
                                                                 engaged in extreme and outrageous conduct that intentionally
                                                                 inflicted emotional distress on her. (Lewis Compl. ¶ 192.)
VIII. Common Law Assault and Battery (noxious gas)               Defendants move for summary judgment.
 *65 Lewis alleges that Defendants Barberi, Webber,
Craig, Single, Lesiewicz, De Lorenzo, Brunner, Papagiannis,      As explained in the sections above, Lewis has not presented
Parrish, Anemone, Maple, Chapman, Brown, and Devlin              sufficient evidence of this claim. To the extent that Williams
used excessive force against her in that they sprayed her        has evidence that she suffered emotional distress, she may
with or exposed her to noxious gas. (Lewis Compl. ¶ 186.)        present that evidence in conjunction with her surviving
Defendants move for summary judgment on the ground that          claims. Summary judgment is granted for all Defendants.
such conduct does not shock the conscience.

Lewis does not present evidence that Defendants Webber,          XI. Common Law Negligent Infliction of Emotional Distress
Defendants Craig, Single, Lesiewicz, De Lorenzo, Brunner,        Lewis alleges that Defendants Anemone, Maple, Chapman,
Papagiannis, Parrish, Anemone, Maple, Chapman, Brown,            Brown, Devlin, Picht, Parrish, Pendergast, Toole, Wiencko,
or Devlin sprayed her with mace. In her deposition, Lewis        Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
testified that Barberi sprayed her through the fence. She        O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
does not present evidence that she was sprayed by anyone         negligently caused her severe emotional distress. (Lewis
else. Therefore, summary judgment is granted for Defendants      Compl. ¶ 195.) Defendants move for summary judgment.
Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,
Papagiannis, Parrish, Anemone, Maple, Chapman, Brown,             *66 Lewis presents evidence of intentional acts by the
and Devlin.                                                      Defendants, not negligent acts. Summary judgment is granted
                                                                 for all Defendants.
Summary judgment is denied on Lewis' assault and battery
with noxious gas claim against Barberi. According to her
                                                                 XII. Common Law Conspiracy
testimony, Barberi sprayed her and others through the fence
                                                                 Lewis alleges that Defendants Anemone, Maple, Chapman,
near Sutphin and Ferndale. This is sufficient evidence of an
                                                                 Brown, Devlin, Picht, Parrish, Pendergast, Toole, Wiencko,
assault and battery.
                                                                 Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,



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O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
conspired against her to deprive her of her rights. (Lewis      1. § 1983 excessive force (physical acts) against Craig
Compl. ¶ 198.) Defendants move for summary judgment.
                                                                2. § 1983 excessive force (noxious gas) against
                                                                  Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,
Lewis has not presented evidence of a conspiracy. Summary
                                                                  Papagiannis, Parrish, Anemone, Maple, Chapman,
judgment is granted for all Defendants.
                                                                  Brown, Devlin

                                                                3. § 1983 false imprisonment against Picht, Prendergast,
XIII. Common Law Negligence
                                                                   Toole, Wiencko, Barberi, Difede, Webber, Moloney,
Lewis alleges that Defendants Anemone, Maple, Chapman,
                                                                   Craig, Single, O'Connor, O'Hagan, Lesiewicz, De
Brown, Devlin, Picht, Parrish, Pendergast, Toole, Wiencko,
                                                                   Lorenzo, Brunner, Papagiannis
Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis        4. § 1983 failure to intervene and protect against Anemone,
negligently caused her injuries and distress. (Lewis Compl. ¶      Maple, Chapman, Devlin, Parrish, Picht, Prendergast,
201.) Defendants move for summary judgment.                        Toole, Wiencko, Barberi, Difede, Webber, Moloney,
                                                                   Craig, Single, O'Connor, O'Hagan, Lesiewicz, De
The evidence presented by Lewis shows intentional acts by          Lorenzo, Brunner, Papagiannis
the Defendants, not negligent acts. Summary judgment is
granted for all Defendants.                                     5. § 1983 failure to supervise on the false imprisonment
                                                                   against Anemone, Maple, Chapman, Devlin, Parrish,
Prior to this opinion, all Plaintiffs withdrew all claims for      Picht, Prendergast, Toole, Wiencko, Barberi, Difede,
prima facie tort and all claims against Defendant Brown.           Webber, Moloney, Craig, Single, O'Connor, O'Hagan,
(McCartney Decl. ¶¶ 10–11.)                                        Lesiewicz, De Lorenzo, Brunner, Papagiannis

                                                                6. § 1983 denial of medical treatment against all
Conclusion                                                        Defendants
Summary judgment is denied on the following claims by
                                                                7. § 1983 unlawful retaliation for First Amendment conduct
Lewis:
                                                                   against all Defendants
  1. § 1983 excessive force (noxious gas) against Barberi
                                                                *67 8. common law assault and battery (noxious
  2. § 1983 false imprisonment against Anemone, Maple,           gas) against Webber, Craig, Single, Lesiewicz, De
     Chapman, Devlin, Parrish                                    Lorenzo, Brunner, Papagiannis, Parrish, Anemone,
                                                                 Maple, Chapman, Brown, Devlin
  3. § 1983 failure to intervene and protect on the false
     imprisonment against Anemone, Maple                        9. common law false imprisonment against Picht,
                                                                  Prendergast, Toole, Wiencko, Barberi, Difede, Webber,
  4. § 1983 failure to supervise on the false imprisonment        Moloney, Craig, Single, O'Connor, O'Hagan, Lesiewicz,
     against Anemone, Maple                                       De Lorenzo, Brunner, Papagiannis

  5. common law assault and battery (physical acts) against     10. common law intentional infliction of emotional distress
     Craig                                                        against all Defendants

  6. common law assault and battery (noxious gas) against       11. common law negligent infliction of emotional distress
     Barberi                                                      against all Defendants

  7. common law false imprisonment against Anemone,             12. common law conspiracy against all Defendants
    Maple, Chapman, Devlin, Parrish
                                                                13. common law negligence against all Defendants
Summary judgment is granted on the remaining claims by
Lewis:




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                                                                      *68 Pierre's own account of the event is that he approached
                                                                     Barberi while Barberi was attempting to arrest Gordon and
                     Andre Pierre's Claims
                                                                     that Barberi pushed him back in order to get him away from
Andre Pierre arrived at the UCC to attend the arrival around         the site of the arrest. This conduct as testified to by Pierre
6:30 p.m. on August 20, 1995. (Pierre's 56.1 Stmt. ¶ 1.) After       would not be sufficient for a reasonable jury to find it would
the service, Pierre was at the corner of Sutphin on Ferndale         shock the conscience and thus constitute excessive force
when he observed a struggle between Gordon and Barberi and           under the Due Process Clause.
another officer. (Pierre's 56.1 Stmt., Ex. 1, at 45–46.) Pierre
testified that he recognized Barberi from the earlier incident       Summary judgment is granted for Defendant Barberi.
with Warsop and that he approached Barberi to ask, “What's
going on here? What's the matter?” (Id at 46.) According to
                                                                     II. § 1983 Excessive Force (noxious gas)
Pierre, Barberi said, “ ‘just get back, get back,” ’ swung a
                                                                     Pierre alleges that Defendants Barberi, Webber, Craig, Single,
black object at him, striking him on his elbow and poking him
                                                                     Lesiewicz, De Lorenzo, Brunner, Papagiannis, Parrish,
in his stomach. (Id.) It is undisputed that Pierre testified that
                                                                     Anemone, Maple, Chapman, Brown, and Devlin used
Barberi hit and poked him “in order to get [him] back from
                                                                     excessive force against him in that they sprayed him with
the area where police officers were struggling with Horace
                                                                     or exposed him to noxious gas. (Pierre Compl. ¶ 143.)
Gordon.” (Defs.' 56.1 Stmt. ¶ 2; Pierre's Resp. to Defs.' 56.1
                                                                     Defendants move for summary judgment on the ground that
Stmt. ¶ 2.)
                                                                     Pierre has not testified that Barberi sprayed him.
According to Pierre, after observing Caliz, Bennett, and
                                                                     Pierre does not present evidence that Defendants Webber,
Campbell get arrested, he and other UCC members went get
                                                                     Craig, Single, Lesiewicz, De Lorenzo, Brunner, Papagiannis,
back into the gated area of the church and tried to close
                                                                     Parrish, Anemone, Maple, Chapman, Brown, or Devlin
the gate. (Pierre's 56.1 Stmt., Ex. 1, at 58–59.) Next, police
                                                                     sprayed him with mace. Summary judgment is granted for
surrounded the church, and the members were not allowed to
                                                                     these Defendants.
leave. (Id. at 60.) Pierre testified that he specifically said and
heard officers tell people that they could not leave. (Id. at 60–
                                                                     In his deposition, Pierre testified that he saw Barberi and
61.)
                                                                     another officer spraying mace through the gate. (Pierre's 56.1
                                                                     Stmt., Ex. 1, at 64.) Pierre also testified that he was sprayed
Pierre also testified that he saw two officers at the gate
                                                                     with the mace by Barberi and the other Officer through the
entrance attempting to push open the gate and spraying mace
                                                                     gate. (Id. at 65.) Pierre has offered sufficient evidence of
on the people near the gate. (Id. at 64–65.) He recognized one
                                                                     excessive force by use of noxious gas to proceed. Summary
of these officers as Barberi, but he has not identified the other
                                                                     judgment for Barberi is denied on this claim. See Lewis
one. (Id.) According to Pierre, “[T]hey were just spraying at
                                                                     above.
random. They were just spraying down the line. I mean, I got
sprayed. Everybody next to me, the people in front of me, the
side of me. Everybody that was at the fence at that particular       III. § 1983 False Imprisonment
moment, you know, got sprayed or affected by the spray.” (Id.        Pierre alleges that Defendants Anemone, Maple, Chapman,
at 65.) As a result of the spraying mace, Pierre experienced         Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
burning his eyes and shoulders. (Id. at 73–74.)                      Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
                                                                     O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
                                                                     falsely imprisoned him against his will. (Pierre Compl. ¶ 146.)
I. § 1983 Excessive Force (physical acts)
                                                                     Defendants move for summary judgment on the grounds that
Pierre alleges that Defendant Barberi used excessive force
                                                                     Pierre was not involuntarily confined.
against him when he hit and pushed him. (Pierre Compl.
¶ 134.) Defendants move for summary judgment on the
                                                                     Pierre's claim is similar to that of Williams and Lewis in
grounds that this act does not constitute excessive force under
                                                                     that both parties present evidence of voluntary movement at
the Fourteenth Amendment. The law is outlined in sections
                                                                     certain points in time and inability to leave at other points
above.
                                                                     in time. Pierre has presented sufficient evidence of a police
                                                                     deployment around the perimeter of the church grounds to


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maintain a false imprisonment claim. He testified that he         Defendant was aware of the extent of his injury or his need
heard officers specifically tell people they could not leave.     for medical treatment. (Defs.' 56.1 Stmt. Pierre ¶ 32.)
(Pierre's 56.1 Stmt., Ex. 1, at 59–61.) He also testified that
the police surrounded the church and were lined up the entire     Pierre has not presented evidence that he had a serious
length of Sutphin Boulevard. (Id.) Whether or not and for         medical injury that required treatment. Summary judgment is
what period of time Pierre was not free to leave the UCC          granted for all Defendants.
grounds is a question of fact for the jury. See Abraham and
Williams sections above.
                                                                  VI. § 1983 Unlawful Retaliation for First Amendment
Summary judgment is denied for Defendants Anemone,                Conduct
Maple, Chapman, Devlin, and Parrish. Summary judgment is          Pierre alleges that Defendants Anemone, Maple, Chapman,
granted for all remaining Defendants.                             Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
                                                                  Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
                                                                  O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
IV. § 1983 Failure to Intervene and Protect; § 1983 Failure       unlawfully retaliated against him for his religious beliefs.
to Supervise                                                      (Pierre Compl. ¶ 158.) Defendants move for summary
 *69 Like the other non-arrested Group A–1 Plaintiffs, Pierre     judgment. The elements of this claim are outlined in the
alleges that Defendants Anemone, Maple, Chapman, Brown,           Gordon section above.
Devlin, Picht, Parrish, Prendergast, Toole, Wiencko, Barberi,
Difede, Webber, Moloney, Craig, Single, O'Connor, O'Hagan,        For the reasons stated in the sections above, summary
Lesiewicz, De Lorenzo, Brunner, and Papagiannis failed to         judgment is granted for all Defendants. Pierre has not
intervene and protect him from the unjustified treatment he       presented sufficient evidence to support his claim.
received and that the supervisory officers failed to properly
supervise their subordinates. (Pierre Compl. ¶¶ 149, 152.)
Defendants move for summary judgment.                             VII. Common Law Assault and Battery (physical acts)
                                                                  Pierre alleges that Defendant Barberi is liable for assault and
Both parties present the same facts as they have for each         battery because he hit and pushed him. (Pierre Compl. ¶ 190.)
proceeding Plaintiff. The analysis for Pierre is the same as      Defendants move for summary judgment. The law is outlined
for all of the non-arrested Group A–1 Plaintiffs. See sections    in sections above.
above.
                                                                  Pierre has identified sufficient evidence of an intentional
Summary judgment is denied for Anemone and Maple.                 physical act to proceed with a claim of assault and battery.
Summary judgment is granted for all remaining Defendants.         According to his testimony, Barberi hit and pushed him.
                                                                  Whether such acts were reasonable under the circumstances
                                                                  is a jury question. Summary judgment is denied as to Barberi.
V. § 1983 Denial of Medical Treatment
Pierre alleges that Defendants Anemone, Maple, Chapman,
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,       VIII. Common Law Assault and Battery (noxious gas)
Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,         *70 Pierre alleges that Defendants Barberi, Webber,
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis          Craig, Single, Lesiewicz, De Lorenzo, Brunner, Papagiannis,
denied him necessary medical treatment. (Pierre Compl. ¶          Parrish, Anemone, Maple, Chapman, Brown, and Devlin used
155.) Defendants move for summary judgment on the grounds         excessive force against him by spraying him with noxious
that Pierre did not have a serious medical need. The relevant     gas. (Pierre Compl. ¶ 199.) Defendants move for summary
law is outlined in the sections above.                            judgment.


Pierre testified that he experienced a burning sensation in his   Pierre testified that Barberi and another officer sprayed mace
eyes and shoulders. (Pierre's Resp. to Defs.' 56.1 Stmt. ¶¶ 29,   on the people behind the gate. Pierre does not have to establish
31.) Pierre admits that he never sought medical treatment for     that either officer specifically intended to spray him to make
this injury from any Defendant and he has not shown that any      out an assault and battery claim. See Abraham section above.




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Pierre identifies Barberi as a police officer who intentionally   in conjunction with his surviving claims. Summary judgment
used mace against the persons behind the gate; therefore,         is granted for all Defendants.
summary judgment is denied for Barberi. Although Pierre has
not identified the other officer, the evidence is sufficient to   59     Pierre testified that heard some officers make
establish that Defendants Webber, Craig, Single, Lesiewicz,              comments taunting the UCC members, such as
De Lorenzo, Brunner, Papagiannis, and Parrish all sprayed                “ ‘[Y]ou call yourself church people, you are
mace at some point during the incident. Defendants are                   nothing, but a bunch of black savages.” ’ (Defs.'
correct that this is not enough to establish personal                    56 .1 Stmt., Ex. B, at 58.) He also described
involvement under § 1983, but it is sufficient for a common              feelings of anxiety in dealing with police and stated
law claim. Summary judgment is denied for Defendants
                                                                         that he saw a doctor for his emotional condiction.
Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,
                                                                         (Id. at 82–85.) He did not testify that any of the
Papagiannis, and Parrish.
                                                                         Defendants engaged in this conduct.

Because Pierre does not offer evidence that Defendants
                                                                  XI. Common Law Negligent Infliction of Emotional Distress
Anemone, Maple, Chapman, Brown, or Devlin sprayed mace
                                                                   *71 Pierre alleges that Defendants Anemone, Maple,
or were present or aware of the macing when it occurred,
                                                                  Chapman, Brown, Devlin, Picht, Parrish, Prendergast, Toole,
summary judgment is granted for these Defendants.
                                                                  Wiencko, Barberi, Difede, Webber, Moloney, Craig, Single,
                                                                  O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
IX. Common Law False Imprisonment                                 and Papagiannis negligently caused him severe emotional
Pierre alleges that Defendants Anemone, Maple, Chapman,           distress. (Pierre Compl. ¶ 208.) Defendants move for
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,       summary judgment.
Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis          Pierre presents evidence of intentional acts by the Defendants,
falsely imprisoned him against her will. (Pierre Compl. ¶         not negligent acts. Summary judgment is granted for all
202.) Defendants move for summary judgment on the grounds         Defendants.
that Pierre was not involuntarily confined.

                                                                  XII. Common Law Conspiracy
A false imprisonment claim is the same under § 1983
                                                                  Pierre alleges that Defendants Anemone, Maple, Chapman,
and common law. Based on the analysis above, Summary
                                                                  Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
judgment is denied for Defendants Anemone, Maple,
                                                                  Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
Chapman, Devlin, and Parrish. Summary judgment is granted
                                                                  O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
for all remaining Defendants.
                                                                  conspired against him to deprive him of his rights. (Pierre
                                                                  Compl. ¶ 211.) Defendants move for summary judgment.
X. Common Law Intentional Infliction of Emotional Distress
Pierre alleges that Defendants Anemone, Maple, Chapman,           Pierre has not presented evidence of a conspiracy. Summary
Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,       judgment is granted for all Defendants.
Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
                                                                  XIII. Common Law Negligence
engaged in extreme and outrageous conduct that intentionally
                                                                  Pierre alleges that Defendants Anemone, Maple, Chapman,
inflicted emotional distress on him. (Pierre Compl. ¶ 205.)
                                                                  Brown, Devlin, Picht, Parrish, Prendergast, Toole, Wiencko,
Defendants move for summary judgment.
                                                                  Barberi, Difede, Webber, Moloney, Craig, Single, O'Connor,
                                                                  O'Hagan, Lesiewicz, De Lorenzo, Brunner, and Papagiannis
As explained in the sections above, Pierre has not presented
                                                                  negligently caused him injuries and distress. (Pierre Compl. ¶
sufficient evidence that the Defendants engaged in extreme
                                                                  214.) Defendants move for summary judgment.
and outrageous conduct with the intent to inflict emotional
distress on him. To the extent that Pierre has evidence that he
suffered emotional distress, 59 he may present that evidence



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The evidence presented by Pierre shows intentional acts by              3. § 1983 false imprisonment against Picht, Prendergast,
the Defendants, not negligent acts. Summary judgment is                    Toole, Wiencko, Barberi, Difede, Webber, Moloney,
granted for all Defendants.                                                Craig, Single, O'Connor, O'Hagan, Lesiewicz, De
                                                                           Lorenzo, Brunner, Papagiannis
Prior to this opinion, all Plaintiffs withdrew all claims for
prima facie tort and all claims against Defendant Brown.                4. § 1983 failure to intervene and protect against
(McCartney Decl. ¶¶ 10–11.)                                               Chapman, Devlin, Parrish, Picht, Prendergast, Toole,
                                                                          Wiencko, Barberi, Difede, Webber, Moloney, Craig,
                                                                          Single, O'Connor, O'Hagan, Lesiewicz, De Lorenzo,
Conclusion                                                                Brunner, Papagiannis
Summary judgment is denied on the following claims by
Pierre:                                                                  *72 5. § 1983 failure to supervise against Chapman,
                                                                          Devlin, Parrish, Picht, Prendergast, Toole, Wiencko,
  1. § 1983 excessive force (noxious gas) against Barberi                 Barberi, Difede, Webber, Moloney, Craig, Single,
                                                                          O'Connor, O'Hagan, Lesiewicz, De Lorenzo, Brunner,
  2. § 1983 false imprisonment against Anemone, Maple,
                                                                          Papagiannis
     Chapman, Devlin, Parrish
                                                                        6. § 1983 denial of medical treatment for all Defendants
  3. § 1983 failure to intervene and protect (as to the false
     imprisonment) against Anemone, Maple                               7. § 1983 unlawful retaliation for First Amendment conduct
                                                                           for all Defendants
  4. § 1983 failure to supervise (as to the false imprisonment)
     against Anemone, Maple                                             8. common law assault and battery (noxious gas) against
                                                                           Anemone, Maple, Chapman, Devlin
  5. common law assault and battery (physical acts) against
     Barberi                                                            9. common law false imprisonment against Picht,
                                                                          Prendergast, Toole, Wiencko, Barberi, Difede, Webber,
  6. common law assault and battery (noxious gas) against
                                                                          Moloney, Craig, Single, O'Connor, O'Hagan, Lesiewicz,
     Barberi, Webber, Craig, Single, Lesiewicz, De Lorenzo,
                                                                          De Lorenzo, Brunner, Papagiannis
     Brunner, Papagiannis, Parrish
                                                                        10. common law intentional infliction of emotional distress
  7. common law false imprisonment against Anemone,
                                                                          against all Defendants
    Maple, Chapman, Devlin, Parrish
                                                                        11. common law negligent infliction of emotional distress
Summary judgment is granted on the remaining claims by                    against all Defendants
Pierre:
                                                                        12. common law conspiracy against all Defendants
  1. § 1983 excessive force (physical acts) against all
    Defendants                                                          13. common law negligence against all Defendants

  2. § 1983 excessive force (noxious gas) against                     IT IS SO ORDERED.
    Webber, Craig, Single, Lesiewicz, De Lorenzo, Brunner,
    Papagiannis, Parrish, Anemone, Maple, Chapman,
    Brown, Devlin                                                     All Citations

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                                                                     (“DOCCS”), he was sexually abused on a single occasion by
                                                                     a corrections officer. Defendants move (Dkt. No. 9) to dismiss
      KeyCite Red Flag - Severe Negative Treatment                   the complaint (Dkt. No. 1). As set forth below, the Court
Reversed and Remanded by Crawford v. Cuomo, 2nd Cir.(N.Y.), August
                                                                     grants the motion and dismisses the complaint.
11, 2015


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      Only the Westlaw citation is currently available.                                     COMPLAINT
               United States District Court,
                     N.D. New York.                                  At the time of the events alleged in the complaint (Dkt. No. 1),
                                                                     plaintiffs were inmates at ECF. 1 The complaint alleges that
   James CRAWFORD and Thaddeus Corley, Plaintiffs,
                                                                     on March 12, 2011, defendant Simon Prindle, a corrections
                              v.                                     officer at ECF, sexually abused plaintiff Thaddeus Corley,
       Andrew CUOMO, as Governor of the State of                     and that on March 16, 2011, Prindle sexually abused plaintiff
     New York, in his official capacity; Brian Fischer,              James Crawford. Specifically, the complaint alleges that, on
     Commissioner of Department Of Corrections and                   March 12, 2011, while Thaddeus Corley was engaged in a
     Community Supervision, in his official capacity;                visit with his wife, Prindle ordered him to stop the visit and
   Superintendent William P. Brown, in his personal and              escorted him out of the visiting room. Prindle stated he was
   official capacities; Superintendent William Larkin, in            “going to make sure Mr. Corley did not have an erection”;
  his official capacity; Corrections Officer Simon Prindle;          ordered Corley to “put his hands against the wall held high
                                                                     with his feet spread apart”; and pat frisked him. According to
    and John Doe Corrections Officers 1–8, Defendants.
                                                                     the complaint, “[d]uring the pat frisk, Officer Prindle paused
                No. 9:13–CV–406 (NAM/CFH).                           to fondle and squeeze Mr. Corley's penis.” In response, Corley
                               |                                     “jumped off the wall and asked Officer Prindle what he
                     Signed March 5, 2014.                           was doing.” Prindle responded “by threatening Mr. Corley
                               |                                     and telling him to get back on the wall.” Corley adds that,
                      Filed March 6, 2014.                           upon information and belief, John Doe Officers 2, 3 and 4
                                                                     personally witnessed the incident but did nothing to intervene.
Attorneys and Law Firms
                                                                     1
Office of Adam D. Perlmutter, PC, Adam D. Perlmutter, Esq.,                 According to the complaint, plaintiff James
of counsel, Office of Zachary Margulis–Ohnuma, Zachary                      Crawford has recently been released on parole;
A. Margulis–Ohnuma, Esq., of counsel, New York, NY, for                     plaintiff Thaddeus Corley continues in DOCCS
Plaintiffs.                                                                 custody at ECF.
                                                                     The complaint further alleges that on March 16, 2011, as
Hon. Eric T. Schneiderman, Attorney General of the State             James Crawford was exiting the dining mess hall, Prindle
of New York, Richard Lombardo, Esq., Assistant New York              stopped him and told him to place his hands on the wall.
State Attorney, Albany, NY, for Defendants.                          Prindle began to search Crawford; “ran his hands down Mr.
                                                                     Crawford's chest area and paused around Crawford's crotch”;
                                                                     and “grabbed Crawford's penis, held it, and asked ‘what's
      MEMORANDUM–DECISION AND ORDER                                  that?’ “ When Crawford flinched, Prindle grabbed him tightly
                                                                     around his neck and warned him to remain against the wall.
Hon. NORMAN A. MORDUE, Senior District Judge.
                                                                     Crawford responded, “That's my penis, man. What the hell
                                                                     are you doing?” Then Prindle “tightened his grip around the
                      INTRODUCTION                                   hood of the sweatshirt Mr. Crawford was wearing”; “pinned
                                                                     Mr. Crawford to the wall with Officer Prindle's knee in Mr.
 *1 In this action under 42 U.S.C. § 1983, each of the               Crawford's back area”; “reached around Mr. Crawford and
two plaintiffs claims that, while an inmate at Eastern               grabbed Mr. Crawford's crotch area”; “squeezed and roamed
Correctional Facility (“ECF”) in the custody of New York             with his hands around Mr. Crawford's penis and down his
State Department of Corrections and Community Supervision            thigh, stating, ‘stay on the fucking wall before I ram your



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head into the concrete’ “; and, when Crawford flinched again,     an injunction enjoining defendants “from permitting Officer
stated: “That doesn't feel like a penis to me.” Prindle then      Prindle from having any contact with inmates.”
“pulled Mr. Crawford's pants tightly up past Mr. Crawford's
waist.” Crawford asked, “What are you doing?” and Prindle
responded, “Stay on the fucking wall. You wanna go to the
                                                                                           DISCUSSION
box?” Crawford understood this as a threat to place him
in solitary confinement. Prindle asked Crawford whether           To survive a Rule 12(b)(6) dismissal motion, “a complaint
he had on sweat pants. When Crawford responded in the             must plead ‘enough facts to state a claim to relief that
affirmative, Prindle asked, “What are you hiding in there?”       is plausible on its face.’ “ Ruotolo v. City of N.Y., 514
According to the complaint, “[d]uring this time, Officer          F.3d 184, 188 (2d Cir.2008) (quoting Bell Atl. Corp. v.
Prindle continued to squeeze and fondle the area around           Twombly, 550 U.S. 544, 570 (2007)). A plaintiff “must
Mr. Crawford's penis.” Crawford responded, “I'm not hiding        provide the grounds upon which his claim rests through
nothing. That's my dick you're holding.” Crawford then told       factual allegations sufficient ‘to raise a right to relief above the
Prindle that his search and frisk were not in accordance with     speculative level.’ “ ATSI Commc'ns, Inc. v. Shaar Fund, Ltd.,
the procedures; Prindle responded, “You don't have any rights     493 F.3d 87, 98 (2d Cir.2007) (quoting Twombly, 550 U.S.
in here. Any search I conduct is in accordance with the           at 555). A court must accept as true all factual allegations in
directive's search and frisk policies, now shut the fuck up and   the complaint and draw all reasonable inferences in plaintiff's
face the wall. I'll run my hands up the crack of your ass if I    favor. See ATSI, 493 F.3d at 98. The court is not, however,
want to.” Prindle “then proceeded to run his hands down Mr.       required to accept a complaint's legal conclusions as true. See
Crawford's legs, around the area of Mr. Crawford's ankles,        Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Rather, the court
and on the inside of the back of Crawford's boots.” Then          must determine whether the factual allegations plausibly give
an unknown officer, John Doe # 3, approached and asked,           rise to an entitlement to relief. See id.
“What's the problem?” Prindle responded, “Nothing. These
bastards are always complaining about being searched around       Plaintiffs' first four causes of action are federal claims based
here.” When Crawford attempted to look at the unknown             on section 1983. “Recovery under 42 U.S.C. § 1983 is
officer, Prindle screamed, “Face the fucking wall,” and told      premised upon a showing, first, that the defendant has denied
Crawford that if he moved again Prindle would have him “in        the plaintiff a federal constitutional or statutory right and,
‘the box’ ‘quicker than [he] could blink.’ “ Prindle ordered      second, that such denial was effected under color of state law.”
Crawford to continue on to his destination and advised him,       Patterson v. Coughlin, 761 F.2d 886, 890 (2d Cir.1985). The
“Better not look back.” Crawford then left the area.              section 1983 causes of action are based on the contention that
                                                                  defendants violated plaintiffs' Eighth Amendment protection
 *2 The complaint sets forth the following causes of              against cruel and unusual punishment.
action: first, a claim against Prindle under 42 U.S.C. §
1983 (“section 1983”) asserting that his conduct towards          Defendants' primary argument is that, even accepting
both plaintiffs violated their Eighth Amendment protection        plaintiffs' allegations as true, the complaint fails to state
against cruel and unusual punishment; second, a section           Eighth Amendment claims. In addressing the Eighth
1983 Eighth Amendment claim for supervisory liability             Amendment in the context of an inmate's allegations of sexual
against defendant Superintendent William P. Brown; third,         abuse by a corrections officer, the Second Circuit explains:
a section 1983 Eighth Amendment claim against the John
Doe defendants for deliberate indifference and failure to           The Eighth Amendment sets constitutional boundaries
intervene in the two incidents alleged; fourth, a section           on the conditions of imprisonment. The “unnecessary
1983 claim for injunctive relief against all defendants; fifth,     and wanton infliction of pain” on a prisoner constitutes
a New York common law assault claim against Prindle;                cruel and unusual punishment in violation of the Eighth
sixth, a claim of violation of N.Y. Penal Law § 130.52              Amendment. First, the alleged punishment must be,
against Prindle; seventh, a claim of violation of N.Y. Penal        objectively, sufficiently serious. Under the objective
Law § 130.55 against Prindle; and eighth, an aiding and             standard, conditions that cannot be said to be cruel
abetting claim against the John Doe defendants. Plaintiffs          and unusual under contemporary standards are not
seek compensatory damages, reasonable attorneys fees, and           unconstitutional.




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   *3 Second, the prison official involved must have a                 Third, Boddie alleges that on March 19, 1993, in Officer
  sufficiently culpable state of mind. Because sexual abuse            D. DeWald's presence, Schnieder stopped Boddie, accused
  by a corrections officer may constitute serious harm                 him of wearing an orange sweatshirt, and told him to take
  inflicted by an officer with a sufficiently culpable state of        off the sweatshirt. According to Boddie, he resisted, stating
  mind, allegations of such abuse are cognizable as Eighth             that he was a cardiac patient, that the hallway was very
  Amendment claims.                                                    cold, and that he would give the sweatshirt to her when
                                                                       they returned to his cellblock. When Boddie began to walk
  Sexual abuse may violate contemporary standards of                   past the officers, Schnieder stopped him, “bumping into
  decency and can cause severe physical and psychological              [his] chest with both her breast so hard [he] could feel the
  harm. For this reason, there can be no doubt that severe or          points of her nipples against [his] chest.” Boddie states that
  repetitive sexual abuse of an inmate by a prison officer can         Schnieder did this to Boddie twice, pinning him to a door.
  be objectively, sufficiently serious enough to constitute an         When he tried to pass her again, Schnieder again bumped
  Eighth Amendment violation. Moreover, like the rape of an            into him, this time “with her whole body vagina against
  inmate by another inmate, sexual abuse of a prisoner by a            penis pinning [him] to the door .”
  corrections officer has no legitimate penological purpose,
  and is simply not part of the penalty that criminal offenders     *4 Id. at 859–60 (footnote omitted, alterations in original).
  pay for their offenses against society.                          The Boddie court affirmed the district court's Rule 12(b)(6)
                                                                   dismissal of the Eighth Amendment claim of sexual abuse,
  The subjective element of the Eighth Amendment test              stating:
  may also be met by claims of sexual abuse. Where no
  legitimate law enforcement or penological purpose can be
  inferred from the defendant's alleged conduct, the abuse
                                                                                   [W]e agree with the district court
  itself may, in some circumstances, be sufficient evidence
                                                                                   that Boddie ... failed to state an
  of a culpable state of mind. It is therefore apparent, even
                                                                                   Eighth Amendment claim. He asserts
  without considering exactly what mens rea is necessary to
                                                                                   a small number of incidents in which
  show a wanton state of mind for a claim of sexual abuse,
                                                                                   he allegedly was verbally harassed,
  that a prison official who sexually abuses a prisoner can be
                                                                                   touched, and pressed against without
  found to have a sufficiently culpable state of mind to violate
                                                                                   his consent. No single incident that
  the prisoner's constitutional rights.
                                                                                   he described was severe enough to
  Accordingly, allegations of sexual abuse may meet both the                       be “objectively, sufficiently serious.”
  subjective and the objective elements of the constitutional                      Nor were the incidents cumulatively
  test, thereby stating an Eighth Amendment claim under                            egregious in the harm they inflicted.
  Section 1983.                                                                    The isolated episodes of harassment
                                                                                   and touching alleged by Boddie are
Boddie v. Schnieder, 105 F.3d 857, 861 (2d Cir.1997)                               despicable and, if true, they may
(citations and quotation marks omitted).                                           potentially be the basis of state tort
                                                                                   actions. But they do not involve a harm
In Boddie, the plaintiff, a male inmate, made the following                        of federal constitutional proportions as
allegations of sexual abuse by Officer B. Schneider, a female                      defined by the Supreme Court.
corrections officer:

  First, Boddie maintains that on March 3, 1993, Officer B.
  Schnieder, a female corrections officer, “made a statement”      Id. at 861. 2
  that Boddie believed to be “a pass” at him, but that he
  “could not be sure.”                                             2
                                                                            The Court rejects plaintiffs' contention that Boddie
                                                                            v. Schneider, 105 F.3d 857 (2d Cir.1997), no longer
  Second, Boddie claims that on the next day, Schnieder                     represents the Eighth Amendment sexual abuse
  squeezed his hand, touched his penis, and said, “[Y]ou                    standard in this Circuit. The Second Circuit has
  know your [sic] sexy black devil, I like you.”                            not revised the standard since issuing the Boddie


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        decision in 1997. Indeed, it has occasionally cited         Prindle then pinned Crawford to the wall, pushed his knee
        Boddie in connection with Eighth Amendment                  in Crawford's back, again grabbed Crawford's crotch area;
        sexual assault claims. See, e.g., Cash v. County            “squeezed and roamed with his hands around Mr. Crawford's
        of Erie, 654 F.3d 324, 337, n. 6 (2d Cir.2011)              penis and down his thigh,” and then “pulled Mr. Crawford's
        (citing Boddie for the observation that “sexual             pants tightly up past Mr. Crawford's waist.” Prindle instructed
        abuse of a prisoner by a corrections officer short          Crawford to stay on the wall and “continued to squeeze
        of sexual assault may, in some circumstances,               and fondle the area around Mr. Crawford's penis.” Prindle
        violate the prisoner's right to be free from cruel and      “then proceeded to run his hands down Mr. Crawford's legs,
        unusual punishment”), cert. denied Erie County,             around the area of Mr. Crawford's ankles, and on the inside
        N.Y. v. Cash, 132 S.Ct. 1741 (2012); Morales                of the back of Crawford's boots.” After once more instructing
        v. Mackalm, 278 F.3d 126, 132 (2d Cir.2002)                 Crawford to face the wall, Prindle ordered him to continue on
        ( “Because [plaintiff's] allegations do not even rise       to his destination, and Crawford left the area.
        to the level of those made by the plaintiff in Boddie,
        they do not state a claim for sexual harassment in          3
                                                                           The Court notes that Boddie was decided under the
        violation of the Eighth Amendment to the United                    pre-Twombly standard, which allowed dismissal
        States Constitution.”), abrogated on other grounds                 of a complaint only where it appeared “beyond
        by Porter v. Nussle, 534 U.S. 516 (2002); Boddie                   doubt that the plaintiff can prove no set of facts
        v. Davis, 242 F.3d 364, *1 (2d Cir.2000) (Table)                   in support of his claim which would entitle him
        (affirming dismissal of sexual harassment claim on                 to relief.” Conley v. Gibson, 355 U.S. 41, 45–46
        ground that allegations were insufficiently serious);              (1957). The Twombly case, decided in 2007, held
        United States v. Walsh, 194 F.3d 37, 49 and n. 8 (2d               that pleadings must contain “enough facts to state a
        Cir.1999) (stating that “sexual abuse of a prisoner                claim to relief that is plausible on its face.” 550 U.S.
        by a corrections officer may constitute cruel and                  at 570. Therefore, the instant complaint is subject
        unusual punishment”; noting that “the isolated                     to a higher pleading standard than that applied in
        incidents of unwanted touching in Boddie [were]                    Boddie.
        insufficiently serious to state a cause of action.”).
        A multitude of district court decisions, some of            Crawford alleges conduct that is no more objectively severe
        which are cited herein, have applied Boddie in              than the conduct found insufficient in Boddie and numerous
        evaluating inmate sexual abuse claims. The holding          district court cases. He alleges only a single incident, which
        in Rodriguez v. McClenning, 399 F.Supp.2d 228,              was not excessive in duration. See, e.g., Harry v. Suarez,
        236–38 (S.D.N.Y.2005), relied upon by plaintiff, is         2012 WL 2053533, *3 (S.D.N.Y. Jun. 4, 2012) (granting
        contrary to Second Circuit precedent, see Boddie,           summary judgment dismissing claim that corrections officer
        105 F.3d at 861, as well as the vast majority               “groped [plaintiff's] genitals, buttocks, and inner thighs for
        of district court decisions. See Hilson v. Maltese,         up to fifty three seconds in the course of a frisk.”); Irvis
        2012 WL 6965105, *8, n. 12 (N.D.N.Y. Dec. 14,               v. Seally, 2010 WL 5759149, *1, *4 (N.D.N.Y. Sept. 2,
        2012), report and rec. adopted 2013 WL 375489               2010), report and rec. adopted 2011 WL 454792 (N.D.N.Y.
        (N.D.N.Y. Jan. 30, 2013); Harry v. Suarez, 2012             Feb. 4, 2011) (dismissing claim alleging three instances of
        WL 2589080 (S.D.N.Y. Jul. 3, 2012).                         sexual touching during strip searches); Montero v. Crusie, 153
                                                                    F.Supp.2d 368, 373, 375 (S.D.N.Y.2001) (granting summary
Applying Boddie to the claims herein, the Court finds that          judgment where plaintiff alleged that “on several occasions”
plaintiffs' Eighth Amendment sexual abuse claims fail to            corrections officer squeezed his genitals while pat-frisking
“state a claim to relief that is plausible on its face.” Twombly,   him). Crawford was fully clothed during the incident, and he
550 U .S. at 570. 3 The Court first addresses the March             does not allege that Prindle touched him beneath his clothing.
16, 2011 incident involving James Crawford. Summarized,             Compare, e.g., Castro–Sanchez v. N.Y.S. Dep't of Corr. Servs.,
Crawford's allegations are as follows. Prindle stopped him as       2012 WL 4474154, *1 (S.D.N.Y. Sept. 28, 2012) (denying as
he was leaving the mess hall, told him to place his hands on        futile leave to amend complaint to add Eighth Amendment
the wall, and began to search him. In the course of the search,     claim alleging that corrections officer pulled down plaintiff's
Prindle ran his hands down Crawford's chest area, grabbed           pants and groped his buttocks); Morrison v. Cortright,
Crawford's penis and held it, then grabbed Crawford tightly         397 F.Supp.2d 424, 425 (W.D.N.Y.2005) (dismissing Eighth
around his neck and warned him to remain against the wall.          Amendment claim which included allegations that corrections


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officer rubbed his penis against inmate's buttocks during                    to describe his oral sex techni[que].’ ”); Montero,
strip frisk); Williams v. Keane, 1997 WL 527677, *1,                         153 F.Supp.2d at 373, 375 (granting summary
*11 (S.D.N.Y. Aug. 25, 1997) (dismissing claim based                         judgment dismissing claim that corrections officer
on allegation that corrections officer put his hand down                     squeezed plaintiff's genitals while pat-frisking him,
inmate's pants and fondled inmate's genitals during pat frisk).              offered plaintiff extra privileges in exchange for
Crawford does not allege Pridle touched him with any part of                 sexual favors, and made a series of death threats
his body except his hands (and, briefly, his knee). Compare,                 when plaintiff refused).
e.g., Boddie, 105 F.3d at 859–61 (affirming dismissal of              *5 For the same reasons, Thaddeus Corley's allegations fail
claim alleging female corrections officer twice bumped into          to state an Eighth Amendment claim. The complaint alleges
plaintiff's chest with her breasts, pinning him to a door, then      that Prindle interrupted Corley's spousal visit; escorted him
bumped into him “with her whole body vagina against penis            out of the visiting room; stated he was “going to make sure
pinning [him] to the door.”); Morrison, 397 F.Supp.2d at 424–        Mr. Corley did not have an erection”; ordered Corley to “put
25 (dismissing claim alleging corrections officer rubbed his         his hands against the wall held high with his feet spread
penis against inmate's buttocks during strip frisk). Further,        apart”; and pat frisked him, pausing “to fondle and squeeze
Crawford does not allege physical injury, penetration, or            Mr. Corley's penis.” When Corley “jumped off the wall and
pain. Compare, e.g., Jones v. Rock, 2013 WL 4804500, *19             asked Officer Prindle what he was doing,” Prindle responded
(N.D.N.Y. Sept. 26, 2013) (dismissing sexual abuse claim             “by threatening Mr. Corley and telling him to get back on the
alleging corrections officer “pulled plaintiffs pants up as high     wall.” This single, brief incident was not severe enough to be
as they would go causing him to winch [sic ] in pain”;               objectively, sufficiently serious as required by Boddie.
“shoved his fingers between plaintiffs buttock[s] with such
force that one of his fingers ... ultimately invad[ed] plaintiff's   Based on the above, the Court finds that, under settled Second
anus”; and “groped plaintiff genitals and squeezed them until        Circuit law, the first cause of action fails to state an Eighth
plaintiff cried out in pain”; court noted that plaintiff did not     Amendment claim on behalf of either plaintiff. The first cause
allege physical injury); McEachin v. Bek, 2012 WL 1113584,           of action is dismissed.
*6 (W.D.N.Y. Apr. 2, 2012) (granting summary judgment
dismissing claim based on one incident in which plaintiff            The second cause of action asserts section 1983 supervisory
was touched without his consent, and which did not involve           liability claims against Superintendent William P. Brown for
actual penetration); Sanders v. Gifford, 2011 WL 1792589,            deliberate indifference to Prindle's sexual abuse of inmates
*1–*2 (N.D.N.Y. Apr. 5, 2011), report and rec. adopted 2011          in violation of their Eighth Amendment rights. To establish
WL 1792917 (N.D.N.Y. May 11, 2011) (dismissing under 28              supervisory liability, a plaintiff must establish the supervisor's
U.S.C. § 1915A and 28 U .S.C. § 1915(e)(2)(B)(ii) plaintiff's        personal involvement in a constitutional violation by showing
claim alleging corrections officer grabbed his scrotum and           that he participated directly in the constitutional violation;
squeezed hard causing him “severe pain and suffering.”). In          was informed of the violation but failed to remedy the
sum, Crawford's claim is indistinguishable from the claims           wrong; created or permitted a policy or custom under which
dismissed by numerous district courts in this Circuit on the         unconstitutional practices occurred; was grossly negligent
ground that “isolated instances ... of fondling and groping” are     in supervising subordinates who committed unconstitutional
not sufficiently severe to support an Eighth Amendment cause         acts; and/or exhibited deliberate indifference to the rights of
of action. 4 Harry, 2012 WL 2053533 at *3 (quoting Garcia            inmates by failing to act on evidence that unconstitutional
v. Watts, 2009 WL 2777085, *7 (S.D.N.Y. Sept. 1, 2009)).             acts were occurring. See Colon v. Coughlin, 58 F.3d 865,
                                                                     873 (2d Cir.1995). Here, plaintiffs do not plead that Brown
4                                                                    participated directly in the alleged constitutional violations.
        The alleged threats and sexual comments do not
        elevate the incident to one of federal constitutional        Rather, plaintiffs claim that Brown “was personally aware that
        proportions. See, e.g., Irvis, 2010 WL 5759149 at            Officer Prindle had repeatedly engaged in the sexual abuse
        *1, *4 (dismissing complaint alleging corrections            of inmates” at ECF; “personally signed off on more [than]
        officer engaged in three instances of sexual                 twenty grievances alleging similar or identical conduct by
        touching during strip searches and on another                Officer Prindle in 2010 and 2011”; “nonetheless permitted
        occasion offered plaintiff cigarettes for sexual             Officer Prindle to continue to engage in pat frisks and other
        favors and “told plaintiff that he would ‘satisfy            hands-on contact with inmates, thus affording him multiple
        [plaintiff] better than any woman could and began            opportunities to continue to abuse them sexually”; and “thus



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either intentionally caused Officer Prindle to sexually abuse        permitting Officer Prindle from having any contact with
inmates as a means of controlling them, or was deliberately          inmates.” Because the complaint does not plausibly plead
indifferent to a serious risk to the safety of all inmates           that Prindle violated Corley's constitutional rights, there is
who came into contact with Officer Prindle.” Inasmuch as             no basis for an injunction on behalf of Corley. Corley lacks
plaintiffs fail to plead plausible claims that Prindle's alleged     standing to request an injunction on behalf of other inmates.
conduct towards them violated their Eighth Amendment                 The fourth cause of action is dismissed.
rights, they cannot plausibly plead that Brown violated their
Eighth Amendment rights by failing to remedy Prindle's               5      As noted, the complaint states that Crawford has
conduct; by creating or permitting a policy or custom pursuant              recently been released on parole and that Corley
to which Prindle's conduct occurred; by supervising Prindle
                                                                            continues in custody at ECF.
in a grossly negligent manner; or by exhibiting deliberate
indifference to their Eighth Amendment rights. Thus, there           Plaintiffs do not seek leave to file an amended complaint. The
is no basis for plaintiffs to pursue section 1983 supervisory        complaint, prepared by counsel, sets forth detailed allegations
liability claims against Brown arising from Prindle's alleged        regarding both incidents, the essential facts of which are
conduct towards them. To the extent that plaintiffs intend to        within plaintiffs' own knowledge. There is no indication
assert supervisory liability claims on behalf of other inmates,      that plaintiffs are in possession of additional facts regarding
they lack standing to do so. See generally Allen v. Wright, 468      the two incidents. Rather than seeking leave to amend,
U.S. 737, 751 (1984) (“A plaintiff must allege personal injury       plaintiffs consistently argue that the facts detailed in the
fairly traceable to the defendant's allegedly unlawful conduct       complaint are sufficient to state valid Eighth Amendment
and likely to be redressed by the requested relief.”); Warth         claims. The problem with plaintiffs' federal causes of action
v. Seldin, 422 U.S. 490, 499 (1975) (“[A] plaintiff generally        “is substantive; better pleading will not cure it.” Cuoco v.
must assert his own legal rights and interests, and cannot           Moritsugu, 222 F.3d 99, 112 (2d Cir.2000). Thus, the first four
rest his claim to relief on the legal rights or interests of third   causes of action are dismissed without leave to replead.
parties.”). The second cause of action is dismissed.
                                                                     The remaining causes of action—the fifth cause of action
 *6 The third cause of action alleges deliberate indifference        for common law assault, the sixth and seventh for violations
on the part of the John Doe defendants for failing to intervene      of New York's Penal Law, and the eighth against the John
in Prindle's violation of plaintiffs' rights during the two          Doe defendants for aiding and abetting—assert only state
alleged incidents. See O'Neill v. Krzeminski, 839 F.2d 9, 11         law claims. 6 Having dismissed all federal law claims,
(2d Cir.1988) (“A law enforcement officer has an affirmative         and in view of the very early stage of the case and the
duty to intercede on behalf of a citizen whose constitutional        number of state law claims, the Court finds that judicial
rights are being violated in his presence by other officers.”).      economy, convenience, fairness, and comity all point toward
Having failed to plead facts supporting plausible claims             relinquishing jurisdiction. See Carnegie–Mellon Univ. v.
that Prindle violated their Eighth Amendment rights during           Cohill, 484 U.S. 343, 350 (1988); Kolari v. New York–
the two incidents, plaintiffs fail to plead viable Eighth            Presbyterian Hosp., 455 F.3d 118, 119 (2d Cir.2006).
Amendment claims against the John Doe defendants. See,               Therefore, the Court does not address causes of action five
e.g., Tavares v. City of N.Y., 2011 WL 5877550, *7 (S.D.N.Y.         through eight. They are dismissed without prejudice.
Oct. 17, 2011) (“There can be no failure to intervene ...
where there was no constitutional violation.”), report and rec.      6      Violations of state law that do not rise to the level
adopted 2011 WL 5877548 (S.D.N.Y. Nov 23, 2011). The                        of federal constitutional violations cannot form the
third cause of action is dismissed.                                         basis of a federal claim under 42 U.S.C. § 1983. See
                                                                            Cook v. Sheldon, 41 F.3d 73, 77 (2d Cir.1994).
The fourth cause of action seeks section 1983 injunctive
relief, alleging that “the ongoing presence of defendant
Prindle as an officer at [ECF] presents an immediate, ongoing                              CONCLUSION
risk to Mr. Corley['s] health, safety and well-being” and
that “Mr. Corley is at imminent risk of again having his             *7 It is therefore
Constitutional rights violated.” 5 The “Wherefore” clause of
the complaint asks the Court to enjoin defendants “from



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ORDERED that defendants' motion (Dkt. No. 9) to dismiss
the complaint is granted and the complaint is dismissed in its       All Citations
entirety.
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IT IS SO ORDERED.

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                                                                    The first incident occurred when plaintiff was pulled out of
                                                                    his cell for a pat frisk. Plaintiff alleges that he was instructed
      KeyCite Yellow Flag - Negative Treatment                      to exit his cell and place his hands on the bars for the search.
Distinguished by Russell v. Scott, D.Vt., April 10, 2024
                                                                    During the frisk, “Correction Officer John Doe #1 pulled
                                                                    [plaintiff's] uniform pants back [along with] his underwear
                     2020 WL 2113205
                                                                    and looked at [his] rear end and then pulled them up into
       Only the Westlaw citation is currently available.
                                                                    [his] rear end.” The next day, plaintiff filed a complaint with
        United States District Court, E.D. New York.
                                                                    Internal Affairs and met with investigators the day after that.
              Anthony M. COLE, Plaintiff,
                          v.                                        The second incident occurred a few weeks later. Upon
                                                                    returning from the prison medical unit, plaintiff “inquired
          SUFFOLK COUNTY CORRECTIONAL
                                                                    with Correction Officer John Doe #2 if [he] would be allowed
              FACILITY et al., Defendants.
                                                                    to receive the remaining time out for recreation.” Plaintiff
                     20-cv-1883 (BMC) (AYS)                         also asked if, as an alternative, he could use his remaining
                                 |                                  recreation time to make a phone call. Apparently without
                        Signed 05/02/2020                           receiving an answer, plaintiff began walking outside when the
                                 |                                  corrections officer started to yell at him, saying things like
                         Filed 05/04/2020                           “[d]on't you turn your back to me when I'm talking to you” and
                                                                    “[y]ou're going to end up like the other s__t that came back
Attorneys and Law Firms                                             from medical [who] [h]ad the nerve to give me mouth.” Later
                                                                    that day, the same corrections officer again berated plaintiff
Anthony M. Cole, Riverhead, NY, pro se.                             about “running [his] mouth,” although plaintiff maintains he
                                                                    never said anything else to the officer. Presumably because
                                                                    of this interaction, plaintiff was denied one hour of exercise
       MEMORANDUM DECISION AND ORDER                                time, one hour of phone usage, and the ability to take a shower
                                                                    that day.
COGAN, District Judge.
                                                                    The third incident occurred in February 2020 when, at the
 *1 Plaintiff pro se, a prisoner in the Suffolk County
                                                                    “booking section” of the Yaphank Correctional Facility, a
Correctional Facility, brings this § 1983 lawsuit against
                                                                    sheriff's deputy (who plaintiff refers to as Sheriff Deputy John
two correctional facilities, the Suffolk County Sheriff's
                                                                    Doe #1) began to pat frisk plaintiff. During the frisk, the
Office, three sheriff's deputies, and three corrections officers.
                                                                    deputy groped plaintiff's genitals. Later, while the inmates
Although plaintiff's complaint identifies several acts of
                                                                    were boarding the bus back to Suffolk County Correctional
misconduct by certain prison and law enforcement personnel,
                                                                    Facility, that same deputy took a photograph of plaintiff with
none of the alleged acts rises to the level of a constitutional
                                                                    his phone camera. Plaintiff filed a grievance regarding the
violation.
                                                                    deputy's conduct, but no administrative action was taken.

                                                                    The fourth incident occurred about a month later, again in
                        BACKGROUND                                  the “booking section of Yaphank Correctional Facility during
                                                                    the Riverhead Correctional Facility return run.” This time,
Plaintiff is currently incarcerated in the Suffolk County
                                                                    however, it was “Sheriff Deputy John Doe #2” who groped
Correctional Facility in Riverhead, New York, although it
                                                                    plaintiff “several times.” After the first time, plaintiff told
isn't clear whether he is a pre-trial detainee or a convicted
                                                                    the deputy to “watch his hands.” In response, the deputy
prisoner. He alleges two separate instances of genital contact
                                                                    “became more aggressive while pat frisking [plaintiff]”
by two different sheriff's deputies; one instance of allegedly
                                                                    and continued to grope plaintiff's penis and scrotum. Upon
inappropriate contact during a frisk search by a corrections
                                                                    plaintiff complaining to the deputy that this conduct violated
officer; one instance of verbal mistreatment by a corrections
                                                                    his rights, “Sheriff Deputy #3” approached plaintiff from
officer; and various instances of being denied access to court
                                                                    behind and whispered in his ear that plaintiff should be quiet,
proceedings and certain prison amenities.
                                                                    “or else.”



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                                                                    the wrongdoing or misconduct complained of. See Farrell v.
 *2 Plaintiff also alleges that, on various occasions in 2019       Burke, 449 F.3d 470, 484 (2d Cir. 2006) (quoting Wright v.
and 2020, he was denied certain privileges, including “the          Smith, 21 F.3d 496, 501 (2d Cir. 1994)).
right of access to the courts,” the “right to make electronic
testimony before Bronx Family Court,” and “the right to make        Most of this complaint evidences nothing more than that
an appearance” at several other court proceedings despite           plaintiff wasn't treated kindly by the prison staff overseeing
court documents ordering that he attend via telephone.              him, which does not state a claim under § 1983. See
                                                                    Banks v. Cty of Westchester, 168 F. Supp. 3d 682, 691
Based on the foregoing, plaintiff alleges that he suffered          (S.D.N.Y. 2016) (“[C]ourts have consistently held that ‘the
psychological and emotional harm from defendants’ physical          mere allegation of verbal abuse, however repugnant it may
and sexual abuse, excessive force, and official misconduct.         be, does not rise to the level of a constitutional violation
For these various claimed injuries, plaintiff seeks $7,000,000      and is not cognizable under § 1983.”) (quoting Webster v.
in damages.                                                         Fischer, 694 F. Supp. 2d 163, 187 (N.D.N.Y. 2000), aff'd,
                                                                    398 F. App'x 683 (2d Cir. 2010) and citing cases). Moreover,
                                                                    even certain recognized protections from state intrusion and
                                                                    mistreatment in the normal course are voided while under
                        DISCUSSION
                                                                    incarceration. See Hudson v. Palmer, 468 U.S. 517, 542
Pro se complaints are “held to less stringent standards than        (1983) (“[I]mprisonment carries with it the circumscription
formal pleadings drafted by lawyers.” Erickson v. Pardus,           or loss of many significant rights.”); Bell v. Wolfish, 441
551 U.S. 89, 94 (2007) (internal quotation marks and citation       U.S. 520, 546 (1979) (“[M]aintaining institutional security
omitted). However, they must still plead “enough facts to state     and preserving internal order and discipline are essential
a claim to relief that is plausible on its face,” Bell Atlantic     goals that may require limitation or retraction of the retained
Corp. v. Twombly, 550 U.S. 544, 570 (2007), and to “allow[ ]        constitutional rights of both convicted prisoners and pretrial
the court to draw the reasonable inference that the defendant       detainees.”).
is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556
U.S. 662, 678 (2009). Although the Court assumes all factual         *3 Thus, to the extent plaintiff is pursuing causes of action
allegations contained in the complaint to be true, this principle   for verbal abuse and the limited curtailment of his phone,
is “inapplicable to legal conclusions.” Id.                         recreation, and shower privileges, his allegations do not state
                                                                    a claim under the Constitution or laws of the United States.
Under 28 U.S.C. § 1915(e)(2)(B), the Court must dismiss an          In addition, although plaintiff complains of not receiving
in forma pauperis action if it determines that the action “(i)      access to the courts on certain dates, the instant complaint
is frivolous or malicious; (ii) fails to state a claim on which     demonstrates that his rights in this regard have not been
relief may be granted; or (iii) seeks monetary relief from a        cut off completely, even if they have been delayed. See
defendant who is immune from such relief.” An action “is            Banks, 168 F. Supp. 3d at 693-94 (“Plaintiff's ability to
frivolous when either: (1) the factual contentions are clearly      ultimately pursue his legal claims in this Court necessarily
baseless, such as when allegations are the product of delusion      precludes a constitutional claim based on denial of access to
or fantasy; or (2) the claim is based on an indisputably            the courts.”). 1
meritless legal theory.” Livingston v. Adirondack Beverage
Co., 141 F.3d 434, 437 (2d Cir. 1998) (internal quotation           1       Plaintiff also alleges that he was “denied the
marks and citation omitted).
                                                                            right to make an appearance” in Bronx Family
                                                                            Court, where he was scheduled to “make electronic
A claim alleging deprivation of rights under 42 U.S.C. §
                                                                            testimony” before Magistrate Judge Paul Ryneski.
1983 requires that a plaintiff demonstrate that the challenged
                                                                            However, the Court isn't aware of a federal
conduct was “committed by a person acting under color of
                                                                            provision safeguarding a right to testify in a civil
state law,” and that the conduct “deprived [the plaintiff] of
                                                                            case. To the extent plaintiff suffered any negative
rights, privileges, or immunities secured by the Constitution
                                                                            repercussions from not testifying or appearing –
or laws of the United States.” Cornejo v. Bell, 592 F.3d 121,
                                                                            which might conceivably trigger some due process
127 (2d Cir. 2010). Furthermore, a plaintiff must show that
                                                                            concerns – he has not stated so in his complaint.
each of the named defendants was personally involved in



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Turning to the allegations concerning physical contact,             Harry v. Suarez, No. 10-cv-6756, 2012 WL 2053533, at *2
plaintiff's description of the deputies’ genital groping is         n.3 (S.D.N.Y. June 4, 2012) (citing cases). 3
inadequate to state a claim under § 1983. Instances of
sexual contact by prison officials violate the constitution         3       However, some cases indicate that the Fourteenth
if they disturb “contemporary standards of decency” and
                                                                            Amendment standard may be satisfied by a
are “objectively, sufficiently serious enough.” See Boddie
                                                                            lesser showing than is required under the Eighth
v. Schneider, 105 F.3d 857, 861 (2d Cir. 1997) (colatus 2 );                Amendment. See Lewis, 2020 WL 1244254, at
see also Thompson, 284 F.3d at 416-18; Liner, 196 F.3d at                   *9 (colatus) (“[I]t is presently unclear whether
135. “[A]n inmate pursuing a sexual abuse claim under the                   both prongs required for Eighth Amendment sexual
Eighth Amendment must allege both subjective and objective
                                                                            abuse claims are also required for claims of sexual
elements, namely that the ‘officer's intentional contact with
                                                                            abuse under the Fourteenth Amendment.”).
an inmate's genitalia or other intimate area ... serves no
penological purpose and is undertaken with the intent to             *4 In this case, the complaint fails to state a claim under
gratify the officer's sexual desire or humiliate the inmate.’ ”     either the Eighth or Fourteenth Amendment. Plaintiff alleges
Lewis v. Huebner, No. 17-cv-8101, 2020 WL 1244254, at *9            two instances of “groping,” which is itself a vague term.
(S.D.N.Y. Mar. 16, 2020) (quoting Crawford v. Cuomo, 796            And those instances do not appear to have been particularly
F.3d 252, 257 (2d Cir. 2015)).                                      lengthy or violent, as the frisks were carried out in the public
                                                                    “booking section” of a correctional facility in the presence
2                                                                   of a busload of other people. The better-described incident
        I.e., edited citation.
                                                                    of the two, in which plaintiff alleges that the deputy, while
In applying this standard, courts have held that “brief             performing a frisk, “grop[ed] my penis and scrotum and then
contact with an arrestee's ... genital area during a pat-down,      br[ought] his forearm into my scrotum,” is too similar to
without more, is insufficient” to state a constitutional claim.     the type of incidental contact accompanying a run-of-the-mill
Scalpi v. Amorim, No. 14-cv-2126, 2018 WL 1606002,                  pat down to reasonably infer any inappropriate touching or
at *18 (S.D.N.Y. Mar. 29, 2018). Even allegations that a            malicious intention. The other incident, about which plaintiff
corrections officer “rub[bed] plaintiff's inner thighs, buttocks,   only alleges that the deputy “also groped my genitals during
and genitals in increments of four to five ... seconds ...          the pat frisk,” describes even less contact, although the fact
lasting between forty-three and fifty-three seconds” during         that the deputy later took a photograph of plaintiff on the bus is
a frisk have been held insufficient to sustain an Eighth            certainly a detail that could point to his “intent to ... humiliate
Amendment claim. See Harry v. Suarez, No. 10-cv-6756,               the inmate.’ ” Lewis, 2020 WL 1244254, at *9. In sum, neither
2012 WL 2053533, at *3 (S.D.N.Y. June 4, 2012). And                 of these incidents, as set forth in the complaint, “involve
allegations that a corrections officer repeatedly fondled a         a harm of federal constitutional proportions as defined by
prisoner's testicles during a frisk have likewise failed to state   the Supreme Court.” See Boddie, 105 F.3d at 861-62 (citing
an Eighth Amendment claim. See Williams v. Keane, No. 95-           Farmer v. Brennan, 511 U.S. 825, 833-34 (1994); Rhodes v.
cv-379, 1997 WL 527677, at *9-11 (S.D.N.Y. Aug. 25, 1997).          Chapman, 452 U.S. 337, 348-49 (1981)).

Although a convicted prisoner's sexual abuse claims are             Nor does the allegation that “Correction Officer John Doe
analyzed under the Eighth Amendment, a “pretrial detainee's         #1 pulled [plaintiff's] uniform pants back [along with] his
claims of unconstitutional conditions of confinement are            underwear and looked at [his] rear end and then pulled them
governed by the Due Process Clause of the Fourteenth                up into [his] rear end” state a claim under § 1983. Slight
Amendment.” See Darnell v. Pineiro, 849 F.3d 17, 29 (2d             contact of this sort is to be expected during a frisk. Plaintiff
Cir. 2017). In general, a pretrial detainee's “due process          does not aver that the officer was particularly rough or that he
rights ... are at least as great as the Eighth Amendment            acted with aggression towards plaintiff or that he caused any
protections available to a convicted prisoner.” City of             injury. At most, the Court can infer from plaintiff's description
Revere v. Massachusetts, 463 U.S. 239, 244 (1983). Yet              is that he suffered a mild wedgie as a result of the officer
despite differences between the Eighth and Fourteenth               pulling plaintiff's pants back up.
Amendments in certain contexts, courts in this Circuit apply
“the established Eighth Amendment framework for claims of
sexual abuse by prison officials” to pretrial detainees. See



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                       CONCLUSION
                                                                        The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that
The complaint is dismissed. Plaintiff's [2] request to proceed          any appeal from this order would not be taken in good faith
in forma pauperis is granted. In light of plaintiff's pro se            and therefore in forma pauperis status is denied for purpose
status, the Court will permit him to file an amended complaint          of an appeal. See Coppedge v. United States, 369 U.S. 438,
within 20 days from the date of this Order if he believes that          444-45 (1962).
he left out any material information in his first complaint.
Plaintiff must also state whether he is a pre-trial detainee or a
                                                                        SO ORDERED.
convicted prisoner. The amended complaint must be labeled
“Amended Complaint” and include the index number of this                All Citations
case (20-cv-1883). This amended complaint will completely
replace plaintiff's original complaint.                                 Not Reported in Fed. Supp., 2020 WL 2113205

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                                                                   April 6, 2020, Defendant filed an Answer to the Amended
                                                                   Complaint. (Doc. 59). On April 27, 2020, WCDOC moved to
      KeyCite Yellow Flag - Negative Treatment                     dismiss the Amended Complaint for failure to state a claim for
Distinguished by Russell v. Scott, D.Vt., April 10, 2024
                                                                   relief. (Doc. 61). On February 3, 2021, the Court dismissed
                                                                   the four claims for relief in the Amended Complaint as
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                                                                   asserted against WCDOC. (Doc. 71).
       Only the Westlaw citation is currently available.
        United States District Court, S.D. New York.
                                                                   Discovery was completed on the four claims for relief alleged
                Angelo CARZOGLIO, Plaintiff,                       in the Amended Complaint against Defendant on August
                           v.                                      1, 2021. (Doc. 81). Defendant then filed his motion for
                                                                   summary judgment on December 16, 2021, in accordance
                Thomas ABRAMS, Defendant.
                                                                   with a briefing schedule set by the Court. (Doc. 98; Doc.
                        18-CV-04198 (PMH)                          99; Doc. 100, “Def. 56.1”; Doc. 101; Doc. 102, “Def. Br.”).
                                 |                                 Plaintiff, on January 6, 2022, filed a letter—which the Court
                         Signed 06/17/2022                         construes as his opposition to the instant motion—alongside
                                                                   a purported Rule 56.1 Statement. (Doc. 103, “Opp. Br.”;
Attorneys and Law Firms                                            Doc. 106, “Pltf. 56.1”). Plaintiff's 56.1 Statement, is dated
                                                                   December 16, 2021, one week past the deadline set by
Angelo A. Carzoglio, Attica, NY, Pro Se.                           this Court to file same. (Pltf. 56.1; see also Docs. 93, 95).
                                                                   Defendant seeks, on this basis, to preclude Plaintiff's Rule
Sean Timothy Carey, Westchester County Attorney's Office,
                                                                   56.1 Statement as untimely. (Doc. 107, “Reply” at 6-7).
White Plains, NY, for Defendant.
                                                                   The Court, in exercising its discretion, considers the content
                                                                   of Plaintiff's late statement in connection with the instant

       MEMORANDUM OPINION AND ORDER                                motion. 1 The Court, however, only considers those responses
                                                                   that are supported by admissible record evidence to controvert
PHILIP M. HALPERN, United States District Judge:                   the factual statements set forth in Defendant's Local Civil
                                                                   Rule 56.1 Statement. Statements made by Defendant that are
 *1 Angelo Carzoglio (“Plaintiff”), presently incarcerated         supported by admissible evidence and not refuted by Plaintiff
at the Attica Correctional Facility and proceeding pro se          will be deemed admitted. See Mirza v. Garnet Health, No. 20-
and in forma pauperis, brings this action under 42 U.S.C.          CV-00556, 2022 WL 826410, at *2 n.6 (S.D.N.Y. Mar. 17,
§ 1983 against Thomas Abrams (“Defendant”), a former               2022) (“[S]tatements in the 56.1 Counterstatement supported
captain in the Westchester County Department of Corrections        by admissible evidence and not refuted with citation to
(“WCDOC”). (Doc. 57, “Am. Compl.”). Plaintiff alleges that         admissible evidence provided to the Court are deemed
Defendant: (i) subjected him to a strip search in violation of
                                                                   admitted.”). 2
the Fourth Amendment; (ii) searched his cell in violation of
the Eighth Amendment; (iii) sexually abused him in violation
                                                                   1
of the Eighth Amendment; and (iv) denied him access to                    See Vasquez v. Yadali, No. 16-CV-00895, 2022
courts in violation of the First Amendment. (See generally                WL 1597693, at *2 n.6 (S.D.N.Y. May 19,
id.).                                                                     2022) (considering the substance of the plaintiff's
                                                                          arguments in various filings as responses to the
Plaintiff commenced this action on May 10, 2018. (Doc.                    defendants' Rule 56.1 statement even when the
2). On February 25, 2020, Judge Roman, before whom this                   plaintiff did not submit a statement of his own);
matter proceeded before it was reassigned to this Court on                Casanova v. Maldonado, No. 17-CV-01466, 2021
April 3, 2020, issued an Opinion and Order dismissing all                 WL 3621686, at *2 n.4 (S.D.N.Y. Aug. 16, 2021)
of Plaintiff's claims except for a Fourth Amendment claim                 (same, noting that “[w]hile pro se litigants are ... not
asserted against Defendant, and granting Plaintiff leave to file          excused from meeting the requirements of Local
an amended complaint. (Doc. 56 at 17-18). Plaintiff, on March             Rule 56.1 ... where a pro se plaintiff fails to submit
16, 2020, filed an Amended Complaint against Defendant                    a proper Rule 56, 1 Statement in opposition to
and WCDOC, alleging four claims for relief. (Doc. 57). On                 a summary judgment motion, the Court retains



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        some discretion to consider the substance of the            Defendant's last day working at WCJ was on June 6, 2017.
        plaintiff's arguments, where actually supported             (Id. at 12).
        by evidentiary submissions.” (quoting Wiggins v.
        Griffin, No. 18-CV-07559, 2021 WL 706720, at
        *1 n.1 (S.D.N.Y. Feb. 22, 2021) (alterations in                I. The May 19, 2017 Searches
        original))).                                                Five searches were conducted of Plaintiff on May 19, 2017.
                                                                    (Id. at 3). The “first search” occurred in the WCJ law
2
        See also Wilson v. Annucci, No. 18-CV-00391,                library at approximately 7:55 PM. (Id.). Defendant ordered
        2020 WL 1979210, at *3 (N.D.N.Y. Apr. 23,                   this search, whereby CO. Curry (“Curry”) conducted a pat
        2020) (noting that pro se plaintiff's opposing a            and frisk of Plaintiff and five other inmates. (Id. at 3-4;
        motion for summary judgment were “required to               Doc. 98-10 at 19:59:45-20:00:51). Sergeant Alfred Lombardo
        submit admissible evidence”), adopted by 2020               (“Lombardo”) saw Plaintiff shortly thereafter, on camera in
        WL 5229375 (N.D.N.Y. Sept. 2, 2020); Local Civil            the library, remove an unidentified object from an accordion
        Rule 56.1(d) (“Each statement by the movant or              folder and take it into an area of the library not visible to the
        opponent pursuant to 56.1(a) and (b), including             camera. Plaintiff remained out of view for nearly four seconds
        each statement controverting any statement of               until another inmate came to the same corner a few seconds
        material fact, must be followed by citation to              later. (Id. at 4; Doc. 98-10 at 20:03:57-20:04:21). Plaintiff
        evidence which would be admissible, set forth as            explains in his deposition that the corner in the blindspot is
        required by Fed. R. Civ. P. 56(c).”).                       where he stores legal documents in a filing cabinet that is
                                                                    only accessible to him and one other inmate, whom he could
 *2 Defendant's motion for summary judgment was fully
                                                                    not name. (Pltf. Dep. 24:15-26:24). Based on this activity,
submitted upon the filing of his reply brief on January 31,
                                                                    Lombardo ordered Curry and CO. Rodriguez (“Rodriguez”)
2022. For the reasons set forth below, Defendant's motion is
                                                                    to return to the law library and conduct the “second search”
GRANTED.
                                                                    and advised Defendant of his order, (Def. 56.1 at 5). During
                                                                    the second search, Plaintiff alleges that Curry inappropriately
                                                                    touched his buttocks. (Pltf. Dep. at 16:25-17:1).
                      BACKGROUND
                                                                    After reviewing video footage of the first two searches,
The Court recites the facts herein only to the extent necessary
                                                                    Defendant ordered Curry and Rodriguez to return to the
to adjudicate the extant motion and draws them from: (1) the
                                                                    law library for the third and fourth searches. (Def. 56.1 at
Amended Complaint; (2) Defendant's Rule 56.1 Statement;
                                                                    6). Defendant purports to have ordered the third and fourth
(3) Plaintiff's 56.1 Statement; and the Declaration of Sean
                                                                    searches in part due to knowledge of Plaintiff's discipline
T. Carey along with the exhibits annexed thereto (Doc. 98,
“Carey Decl.”), which include inter alia: (i) Defendant's           report from February 2016 for concealing a weapon. 4 (Id. at
Affidavit, sworn to on September 22, 2021 (Doc. 98-4, “Def.         5; see also Doc. 98-6).
Aff.”); (ii) a transcript of Plaintiff's deposition, conducted on
May 21, 2021 (Doc. 98-5, “Pltf. Dep.”); and relevant video          4       Plaintiff admits to having incurred this citation for
                        3                                                   concealing a piece of wood in his underwear. (Pltf.
footage (Doc. 98-10).
                                                                            Dep. at 67:19-20).
3                                                                   The “third search” occurred when Curry and Rodriguez
        Copies of the video recordings were provided to
        Chambers on a CD, The Court cites the placeholder           conducted a search of the law library, (Def. 56.1 at 6).
        docket entry number (i.e., Doc. 98-10) when                 The “fourth search” was a strip search conducted by Curry
        referencing portions of the videos herein.                  and Rodriguez in the male booking area of WCJ, where
                                                                    Sergeant Derrick McWilliams (“McWilliams”) was working
Plaintiff's claims all arise from a series of searches conducted
                                                                    as the booking supervisor. (Id. at 7). Plaintiff alleges that
on May 19, 2017 and June 8, 2017. (Def. 56.1 at 2). Plaintiff,
                                                                    McWilliams made “sexual comments” to Plaintiff while he
at all relevant times, was a convicted prisoner at Westchester
                                                                    was naked, and that Curry and Rodriguez were amused by the
County Jail (“WCJ”). (Id.). Defendant was a captain in
                                                                    comments. (Pltf. 56.1 at 3). Defendant ordered the final search
WCDOC at WCJ until he retired on June 12, 2017. (Id.).
                                                                    of May 19, 2017 at approximately 9:30 PM, after Plaintiff
                                                                    returned to his cell. (Def. 56.1 at 8). Defendant is unable to


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recall if he ordered this search because of Plaintiff's conduct     2007) (quoting Salahuddin v. Goord, 467 F.3d 263, 281 (2d
or if it was a random and/or routine search of Plaintiff's          Cir. 2006)). Claims simply cannot proceed in the absence of
housing block. (Id.). Plaintiff maintains that, during the “fifth   sufficient proof as to an essential element.
search,” Curry and Rodriguez searched his cell and that
Curry conducted another pat and frisk of Plaintiff, once again      “It is the movant's burden to show that no genuine factual
groping his buttocks and laughing while doing so. (Pltf. Dep.       dispute exists,” Vermont Teddy Bear Co. v. 1-800 Beargram
at 20:3-4).                                                         Co., 373 F.3d 241, 244 (2d Cir. 2004) (citing Adickes v. S.H.
                                                                    Kress & Co., 398 U.S. 144, 157 (1970)), and a court must
                                                                    “resolve all ambiguities and draw all reasonable inferences in
   II. The June 8, 2017 Searches                                    the non-movant's favor.” Id. (citing Giannullo v. City of New
 *3 Plaintiff alleges that, on June 8, 2017, two additional         York, 322 F.3d 139, 140 (2d Cir. 2003)). Once the movant
searches were conducted by WCJ staff—a search of the                has met its burden, the non-movant “must come forward
materials with him at the law library and a strip search in the     with specific facts showing that there is a genuine issue for
male booking area. (Pltf. 56.1 at 5-6). Although Defendant          trial.” Liverpool, 442 F. Supp. 3d at 722 (quoting Matsushita
was not working at WCJ on that day, Plaintiff argues that fact      Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87
“doesn't mean [Defendant] didn't order [the searches].” (Id.        (1986)). The non-movant cannot defeat a summary judgment
at 6). Plaintiff alleges that the officers who searched him on      motion by relying on “mere speculation or conjecture as to the
June 8th told him that Defendant ordered the searches. (Id.).       true nature of the facts ....” Id. (quoting Knight v. U.S. Fire Ins.
                                                                    Co., 804 F.2d 9, 12 (2d Cir. 1986)). However, “[i]f there is any
This litigation followed.                                           evidence from which a reasonable inference could be drawn
                                                                    in favor of the opposing party on the issue on which summary
                                                                    judgment is sought, summary judgment is improper.” Sood,
                 STANDARD OF REVIEW                                 2013 WL 1681261, at *2 (citing Sec. Ins. Co. of Hartford
                                                                    v. Old Dominion Freight Line Inc., 391 F.3d 77, 83 (2d Cir,
Under Federal Rule of Civil Procedure 56, a “court shall            2004)).
grant summary judgment if the movant shows that there is
no genuine dispute as to any material fact and the movant           Should there be no genuine issue of material fact, the movant
is entitled to judgment as a matter of law.” Fed. R. Civ. P.        must establish also its “entitlement to judgment as a matter
56(a). “A fact is ‘material’ if it ‘might affect the outcome        of law.” In re Davis New York Venture Fund Fee Litig., 805
of the suit under the governing law,’ and is genuinely in           F. App'x 79, 80 (2d Cir. 2020) (quoting FIH, LLC v. Found,
dispute ‘if the evidence is such that a reasonable jury could       Capital Partners LLC, 920 F.3d 134, 140 (2d Cir. 2019)).
return a verdict for the nonmoving party.’ ” Liverpool v.           Stated simply, the movant must establish that the law favors
Davis, 442 F. Supp. 3d 714, 722 (S.D.N.Y. 2020) (quoting            the judgment sought. Gonzalez v. Rutherford Corp., 881 F.
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).         Supp. 829, 834 (E.D.N.Y. 1995) (explaining “that summary
“ ‘Factual disputes that are irrelevant or unnecessary’ are         judgment is appropriate only when ... law supports the moving
not material and thus cannot preclude summary judgment.”            party”); Linares v. City of White Plains, 773 F. Supp. 559,
Sood v. Rampersaud, No. 12-CV-05486, 2013 WL 1681261,               560 (S.D.N.Y. 1991) (explaining that summary judgment is
at *1 (S.D.N.Y. Apr. 17, 2013) (quoting Anderson, 477 U.S. at       appropriate when “the law so favors the moving party that
248). The Court's duty, when determining whether summary            entry of judgment in favor of the movant ... is proper”).
judgment is appropriate, “is not to resolve disputed issues
of fact but to assess whether there are any factual issues           *4 The Court is, of course, mindful that “[p]ro se litigants
to be tried.” Id. (quoting Wilson v. Nw. Mut. Ins. Co., 625         are afforded a special solicitude,” which includes reading
F.3d 54, 60 (2d Cir. 2010)). Indeed, the Court's function is        their filings “to raise the strongest arguments they suggest.”
not to determine the truth or weigh the evidence; the task          Mortimer v. City of New York, No. 15-CV-07186, 2018 WL
is material issue spotting, not material issue determining.         1605982, at *9 (S.D.N.Y. Mar. 29, 2018) (internal quotation
Therefore, “where there is an absence of sufficient proof as        marks omitted). “It is through this lens of leniency towards
to one essential element of a claim, any factual disputes with      pro se litigants that this Court must consider a defendant's
respect to other elements of the claim are immaterial ....”         motion for summary judgment against a pro se plaintiff.”
Bellotto v. Cty. of Orange, 248 F. App'x 232, 234 (2d Cir.          Adams v. George, No. 18-CV-02630, 2020 WL 5504472, at



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*5 (S.D.N.Y. Sept. 8, 2020). This status does not, however,         claim under the Fourth Amendment; (ii) a cell search claim
excuse a pro se litigant from making the showing required           under the Eighth Amendment; (iii) a sexual abuse claim under
to defeat summary judgment; he or she must offer more than          the Eighth Amendment; and (iv) an access to courts claim
“bald assertions, completely unsupported by evidence” to            under the First Amendment. (See generally Am. Compl.). The
overcome the motion. Wisdom v. Loiodice, No. 17-CV-04837,           Court addresses these claims seriatim.
2020 WL 4431590, at *4 (S.D.N.Y. My 31, 2020); see also
Jorgensen v. Epic/Sony Records, 351 F.3d 46, 50 (2d Cir.
2003) (explaining that the mere fact that a litigant is pro se        I. Claim No. 1: The Strip Search Claim (Fourth
“does not relieve plaintiff of his duty to meet the requirements      Amendment)
necessary to defeat a motion for summary judgment” (internal        Plaintiff's first claim for relief is grounded in the Fourth
quotation marks omitted)); Ross v. Koenigsmann, No. 14-             Amendment and is based on the fourth search of May 19, 2017
CV-01321, 2017 WL 9511096, at *1 (N.D.N.Y. Aug. 16,                 and the strip search of June 8, 2017.
2017), adopted sub nom. Ross v. Mannava, 2017 WL 4338883
(N.D.N.Y. Sept. 29, 2017).
                                                                                     A. The May 19 Strip Search
However, the degree of special solicitude due a pro se litigant
depends upon that particular party's litigation experience, as      Although Plaintiff complains of five searches conducted on
“the degree of solicitude may be lessened where the particular      May 19, only the fourth search that day is relevant to the
pro se litigant is experienced in litigation and familiar with      strip search claim. Defendant admits that he ordered the
the procedural setting presented.” Tracy v. Freshwater, 623         fourth search. (Def. 56.1 at 6). During that search, Curry
F.3d 90, 102 (2d Cir. 2010). The Court takes note of Plaintiff's    and Rodriguez brought Plaintiff into the male booking area
litigation experience, as he described it in his deposition         and conducted a strip search with the booking supervisor,
on May 23, 2021. Plaintiff states therein that he is “[n]ot         McWilliams, present. (Id. at 7). Plaintiff contends that
only interest[ed] [in the law], but ... actually studying and       McWilliams, looking on, made “verbal, sexual comments” to
hopefully in the near future ... taking [the] Bar exam.” (id. at    him while he was naked. (Pltf. 56.1 at 3).
23:12-15), Plaintiff also states in the same deposition that he
is litigating four currently pending cases pro se—this matter,       *5 The Fourth Amendment prohibits only unreasonable
two civil cases, and a criminal case (id. at 14:5-8)—that he        searches, Carroll v. United States, 267. U.S. 132, 147
has “read a lot of case law” (id. at 62:5), and that he gives       (1925). “There is a long-established principle that the routine,
legal advice to other inmates in their ongoing cases (id. at 22).   random strip searches of inmates, including body cavity
Despite this purported wealth of legal experience, the Court        inspections, do not violate the Fourth Amendment.” Vaughn v.
will, nevertheless, grant Plaintiff pro se special solicitude in    Strickland, Nos. 12-CV-02696, 12-CV-03335, 12-CV-02995,
reviewing his opposition papers.                                    12-CV-03333, 2013 WL 3481413, at *4 (S.D.N.Y. July 11,
                                                                    2013) (internal quotation omitted). “Nevertheless, ‘the Fourth
                                                                    Amendment still requires all searches conducted within a
                                                                    prison, including strip searches, to be reasonable.’ ” Id.
                         ANALYSIS
                                                                    (quoting Jean-Laurent v. Wilkerson, 438 F. Supp. 2d 318, 323
Plaintiff's claims against Defendant are made pursuant to 42        (S.D.N.Y. 2006), aff'd, 461 F. App'x 18 (2d Cir. 2012)).
U.S.C. § 1983. That statute provides, in pertinent part, that
“[e]very person who, under color of any statute ... subjects,       The test of reasonableness under the Fourth Amendment
or causes to be subjected, any citizen of the United States ...     requires a balancing of the need for the search against the
to the deprivation of any rights, privileges, or immunities         invasion of personal rights that it entails. Bell v. Wolfish,
secured by the Constitution and laws, shall be liable to the        441 U.S. 520, 559 (1979). In that regard, “[a] detention
party injured ....” 42 U.S.C. § 1983. “[T]his language does         facility is a unique place fraught with serious security dangers.
not create substantive rights; rather, it creates a mechanism       Smuggling of money, drugs, weapons, and other contraband
by which individuals can vindicate the violation of rights          is all too common an occurrence.” Torres v. City of New
secured elsewhere.” Santucci v. Levine, No. 17-CV-10204,            York, No. 17-CV-06604, 2019 WL 4784756, at *5 (S.D.N.Y.
2021 WL 76337, at *3 (S.D.N.Y. Jan. 8, 2021). Plaintiff             Sept. 30, 2019). Notwithstanding, “inmates retain a limited
makes four claims for relief under § 1983: (i) a strip search       right to bodily privacy under the Fourth Amendment.” Harris



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v. Miller, 818 F.3d 49, 57 (2d Cir. 2016) (noting that                WL 4444250 at *3 (finding the manner of search reasonable
“maintenance of prison security is not burdened unduly by             where “there [were] no allegations of force or other abusive
the recognition that inmates do retain a limited right to bodily      behavior”).
privacy”).
                                                                      5       Even if McWilliams made inappropriate
“[I]f the inmate's Fourth Amendment claim challenges an                       comments, as Plaintiff maintains, that would
isolated search [such as the strip search on May 19], courts                  not alter the conclusion as to the second
typically apply the standard set forth in Bell v. Wolfish.”                   Bell factor. See Vann, 2018 WL 6199860,
Harris, 818 F.3d at 58 (internal citation omitted). The Bell                  at *5(“[A]n officer's inappropriate comments,
four-factor test of reasonableness requires courts to consider:               without additional allegations such as physical
(1) the scope of the intrusion; (2) the manner in which the                   or sexual abuse, do not make unreasonable an
search was conducted; (3) the justification for commencing                    otherwise reasonable search.”) (citing Malik v. City
the search; and (4) the place in which the search was                         of New York, 2012 WL 3345317, at *13 (S.D.N.Y.
conducted. Torres, 2019 WL 4784756, at *5 (citing Bell, 441                   Aug. 15, 2012)).
U.S. at 559).
                                                                       *6 As to the third Bell factor (i.e., the justification),
There is no doubt, upon application of the Bell factors, that         Defendant justified the search based on: (i) witnessing
the strip search on May 19 was reasonable.                            Plaintiff acting suspicious off camera; and (ii) knowledge
                                                                      of Plaintiff's previous discipline in WCJ for hiding
As regards the first Bell factor (i.e, the scope of the intrusion),   and possessing a weapon. (Def, Br. at 11). Plaintiff
the Second Circuit has stated that there are two relevant issues      does not dispute the facts underlying either of these
to consider: (i) the type of search; and (ii) the sex of the          purported justifications. (See Pltf. Dep. at 67:19-20; 25:9-15).
person conducting it. Harris, 818 F.3d at 58. It is undisputed        Defendant has met his burden of proving justification under
that the type of search conducted in the fourth search was a          these circumstances, even though, as Plaintiff argues, no
“strip search” (Def. 56.1 at 6; Pltf. 56.1 at 3), which is “an        contraband was ultimately found. See Crawford v. Cuomo,
inspection of a naked individual, without any scrutiny of the         796 F.3d 252, 257-59 (2d Cir. 2015) (“[s]earches that do not
subject's body cavities.” Harris, 818 F.3d at 58. Such a search       uncover contraband may be no less penologically justified
is inherently invasive because “[a] strip search that involves        than those that do”); see also Torres, 2019 WL 4784756, at
a stranger peering without consent at a naked individual,             *5 (finding a “legitimate penological reason” for conducting
and in particular at the most private portions of that person's       a body cavity search based on observations of plaintiff's
body, is a serious invasion of privacy.” Id. (internal quotation      suspicious conduct, which indicated that he was hiding
omitted). However, as to the person conducting the search,            contraband); Thomas v. Jacobs, No. 19-CV-06554, 2022 WL
the officers were the same sex as the Plaintiff, (Def. 56.1 at        504787 at *9 (same).
6). Thus, unlike in Harris, the first Bell factor as to the scope
of the intrusion weighs in favor reasonableness. Harris, 818          Finally, as to the fourth Bell factor (i.e., the location), it is
F.3d at 59 (finding cross-gender strip searches to aggravate          undisputed that the search occurred in the male booking area
the scope of the intrusion); see also Sankara v. Plaskett, No.        at WCJ. (Def. 56.1 at 6). The male booking area is an off-
15-CV-08470, 2017 WL 4444250, at *3 (finding reasonable               camera area designed to provide privacy for inmates while
a strip search performed by a member of the same sex).                being strip searched. (Def. Br. at 11). These circumstances
                                                                      weigh in favor of reasonableness under the fourth Bell factor.
The remaining Bell factors similarly weigh in favor of                See Thomas, 2022 WL 504787 at *9 (“The search here was
reasonableness. The propriety of the manner of the strip              conducted in a private strip-frisk room ... this does not strike
search, which did not involve any inappropriate touching, is          the Court as excessive or unnecessary, and weighs in favor of
uncontroverted. (Def. 56.1 at 6-7; Pltf. Dep. at 31:13-20).           reasonableness.”).
“A strip search conducted in a professional manner is more
reasonable than one that is not.” Harris, 818 F.3d at *59-60.         The Court concludes, based upon the undisputed facts, that
The record here is barren of any evidence that the search was         the May 19 strip search was reasonable in light of all four Bell
conducted in anything but a professional manner, as there             factors.

was no violence or coercion involved. 5 See Sankara, 2017



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                                                                    all relevant times, Plaintiff was a convicted prisoner at WCJ.
                                                                    (Def. Br. at 6, n.2; Am. Compl. at 2). Therefore, the Court
                  B. The June 8 Strip Search
                                                                    must assess Plaintiff's cell search claim under the strictures
Plaintiff claims that Defendant is liable under § 1983 in           of the Eighth Amendment. Darnell v. Pineiro, 849 F.3d 17,
connection with the strip search conducted on June 8, 2017.         29 (2d Cir. 2017). Prisoners, unlike pretrial detainees, retain
However, as a fundamental prerequisite “[t]o establish[ing] a       no Fourth Amendment reasonable expectation of privacy
§ 1983 claim, a plaintiff must show the defendants' personal        against searches of their cells, even those made to harass.
involvement in the alleged constitutional violation.” Boley         Willis v. Artuz, 301 F.3d 65, 68-69 (2d Cir. 2002). “The only
v. Burets, 687 F. App'x 40, 41 (2d Cir. 2017) (citing Wright        constitutional limit on the search of a prison cell is imposed
v. Smith, 21 F.3d 496, 501 (2d Cir. 1994)). That Defendant          by the Eighth Amendment's bar against cruel and unusual
was not involved in the events of June 8 renders any claim          punishment.” Jones v. Harris, 665 F. Supp. 2d 384, 394-95
based on the events of that day “fatally defective on its           (S.D.N.Y. Oct. 13, 2009).
face.” Alfaro Motors, Inc. v. Ward, 814 F.2d 883, 886 (2d
Cir. 1987) (internal quotation marks omitted). Simply being         An Eighth Amendment claim based on a cell search requires
a supervisor is not enough to impute personal involvement           a showing that Defendant “ ‘ordered the search ... with the
onto a defendant; liability exists only where the “defendant,       specific intent to cause plaintiff harm and that the search ...
through the official's own individual actions, has violated the     in fact caused him harm.’ ” Id. (quoting Lashley v. Wakefield,
Constitution.” Tangreti v. Bachmann, 983 F.3d 609, 618 (2d          367 F. Supp. 2d 461, 470 (W.D.N.Y. 2005)). Moreover, the
Cir. 2020) (internal quotation omitted).                            violation must be; (i) objectively serious, and (ii) committed
                                                                    by a defendant with subjective culpability. See id. There is no
It is undisputed that Defendant was not working at WCJ on           dispute that Defendant ordered a single search of Plaintiff's
June 8, 2017. (Pltf. 56.1 at 6). Plaintiff, however, contends       cell, (See generally Def 56.1 at 8-9). A single cell search is not
that Defendant was personally involved in the events of June        objectively serious enough to violate the Eighth Amendment
8 because Defendant ordered the searches before leaving             under Second Circuit case law. Stewart v. Richardson, No.
work on June 6. (Id.). Defendant denies this outright and           15-CV-09034, 2019 WL 719638, at *5-6 (S.D.N.Y. Feb. 20,
Plaintiff provides no evidence to the contrary besides his own      2019) (collecting cases and finding three cell searches in the
speculation. (See Def. Aff. at 1; Pltf. 56.1 at 6). Simply having   span of five weeks was not objectively serious, noting only
been a supervisor of the guards who conducted the June 8            that courts have found daily searches over the span of more
searches is not sufficient to impute liability to Defendant.        than a month to be objectively serious); see also Corley v. City
Tangreti, 983 F.3d at 618. Given Defendant's express denial         of New York, No. 14-CV-03202, 2017 WL 4357662, at *15
of knowledge or responsibility, and in the absence of proof to      (S.D.N.Y. Sept. 28, 2017) (dismissing a Fourth Amendment
the contrary, Plaintiff's conclusory allegations are insufficient   claim made by a pretrial detainee for 30 cell searches as not an
to raise an issue of fact and to avoid summary judgment. See        excessive amount). Plaintiff points to no case—and the Court
Brown v. Artus, 647 F. Supp. 2d 190, 200 (N.D.N.Y. 2009)            has not found any—in which a single cell search was deemed
(citing Poe v. Leonard, 282 F.3d 123, 140 (2d Cir. 2002) and        objectively serious. Therefore, regardless of Defendant's state
Russo v. City of Bridgeport, 479 F.3d 196, 210-11 (2d Cir.          of mind, the cell search claim fails as a matter of law. See
2007)). The Court concludes that the June 8 strip search is not     generally Jones, 665 F. Supp. 2d at 395. 6
actionable against Defendant in light of his lack of personal
involvement.                                                        6
                                                                            Assuming, arguendo, that the objective prong was
                                                                            met, Plaintiff does not dispute the facts underlying
The Court therefore grants Defendant's motion for summary
                                                                            Defendant's purported rationale for the search,
judgment as to the strip search claim, with regard to both the
                                                                            which was to look for weapons based on Plaintiff's
May 19 and June 8 searches.
                                                                            history—which, as discussed supra, is a legitimate
                                                                            penological interest. See Nilsson v. Coughlin, No.
  II. Claim No. 2: The Cell Search Claim (Eighth                            86-CV-07135, 1987 WL 12823, at *4 (S.D.N.Y.
  Amendment)                                                                June 18, 1987) (“[A] prisoner maintains the right
 *7 Plaintiff's second claim is that the fifth search on May                under the Eighth Amendment to be free from
18, 2017, a cell search, violated his constitutional rights. At             searches which are unrelated to prison needs, but
                                                                            rather calculated to harass.” (emphasis added)).


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       Defendant, therefore, would be entitled to summary          Boddie, 105 F.3d at 861 (upholding dismissal of sexual abuse
       judgment on this claim under the subjective prong           claim based on an officer grabbing an inmate's penis and
       as well.                                                    making lewd comments toward him); Cole v. Suffolk Cnty.
The Court therefore grants Defendant's motion for summary          Corr. Facility, No. 20-CV-01883, 2020 WL 2113205, at *3-4
judgment as to the cell search claim.                              (E.D.N.Y. May 4, 2020) (finding two instances of an officer
                                                                   groping an inmate's penis to be “too similar to the type of
                                                                   incidental contact accompanying a run-of-the-mill pat down
  III. Claim No. 3: The Sexual Abuse Claim (Eighth                 to reasonably infer any inappropriate touching or malicious
  Amendment)                                                       intention.”); Scalpi v. Amorim, No. 14-CV-02126, 2018 WL
Plaintiff's sexual abuse claim is based on three of the searches   1606002 (S.D.N.Y. Mar. 29, 2018) (collecting cases and
conducted on May 18, 2017, 7 and the strip search conducted        finding that courts in the Second Circuit consistently find no
on June 8, 2017. In light of the Court's findings herein, the      violation for brief contact with an inmate's breasts or genitals
actionable events remaining in this claim are the second and       during a pat down); Castro-Sanchez, 2012 WL 4474154, at
                                                                   *2-3 (officer's groping of inmate's buttocks not sufficiently
fifth searches on May 18, 2017. 8
                                                                   serious); cf. Crawford, 196 F.3d 252 (fondling plaintiff's penis
                                                                   in front of plaintiff's wife with accompanying demeaning
7      Those three searches are: (a) the second search,            comments was sufficiently serious). Even assuming, as
       a pat and frisk conducted by Curry; (b) the                 Plaintiff alleges, that Curry groped his buttocks for no more
       fourth search, a strip search conducted by Curry,           than three seconds on two different occasions, this does not
       Rodriguez, and McWilliams; and (c) the fifth                meet the level of objective seriousness set forth in relevant
       search, a pat and frisk conducted by Curry while            Second Circuit case law.
       Rodriguez conducted the cell search.
8                                                                  Moreover, even if the conduct were objectively serious, there
       As set forth supra, Defendant was not personally            is no evidence that Defendant was subjectively culpable.
       involved in any conduct occurring on June 8,                When analyzing the subjective prong of a sexual abuse claim,
       2017, and the fourth search on May 18, 2017                 “the principal inquiry is whether the contact is incidental to
       was a reasonable, constitutionally appropriate strip        legitimate official duties, such as a justifiable pat frisk or strip
       search.                                                     search, or by contrast whether it is undertaken to arouse or
 *8 Plaintiff's sexual abuse claim, as with his cell search        gratify the officer or humiliate the inmate.” Crawford, 796
claim, is assessed under the strictures of the Eighth              F.3d at 257-58. Plaintiff's sole evidence as to the subjective
Amendment. “Under the Eighth Amendment, conditions of              prong is that Curry (i.e., not Defendant) laughed at him
confinement ‘must not involve the wanton and unnecessary           while conducting the second pat and frisk. As a matter
infliction of pain.’ ” Vann, 2018 WL 6199860, at *6 (quoting       of law, this does not raise an issue of material fact as to
Rhodes v. Chapman, 452 U.S. 337, 347 (1981)). “[S]exual            subjective culpability, even if the claim were proceeding
abuse of a prisoner by a corrections officer may in some           against Curry. See e.g., Castro-Sanchez, 2012 WL 4474154,
circumstances violate the prisoner's right to be free from cruel   at *3 (officer calling inmate a “sexy black devil” during
and unusual punishment.” Boddie v. Schnieder, 105 F.3d 857,        a pat and frisk insufficient for the Eighth Amendment).
860-61 (2d Cir. 1997). Moreover, the violation must be (i)         Moreover, there is simply no evidence as to Defendant's
objectively serious, and (ii) committed by a defendant with        state of mind. Defendant denies outright having ordered the
subjective culpability. See e.g., Castro-Sanchez v. N.Y.S. Dep't   searches to be conducted in a sexually abusive way (Def.
of Corr. Servs., No. 10-CV-08314, 2012 WL 4474154, at *2-3         Aff. at 6) and Plaintiff admits lacking personal knowledge
(S.D.N.Y. Sept. 28, 2012).                                         as to Defendant's state of mind. (Pltf. Dep. 44:17-45:25).
                                                                   Plaintiff did not speak to Defendant about the events, there
There is no evidence that the conduct complained of here was       is no evidence that Defendant watched the searches to gratify
objectively serious. Plaintiff testified that Curry's “groping”    himself, and no witness has stated that Defendant ordered
of Plaintiff's buttocks during each pat and frisk lasted for no    the searches to be conducted inappropriately other than the
more than 3 seconds. (Pltf. Dep. at 30:3-5; 35:5-10). Courts       speculation of one unnamed individual, who Plaintiff alleges
have consistently found such brief contact fails to establish      said that he “wouldn't be surprised” if that were the case. (Pltf.
an Eighth Amendment violation as a matter of law. See, e.g.,       Dep. 71:13-15). This unsubstantiated hearsay is insufficient



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                                                                     to establish actual injury for an access to courts claim.
evidence of Defendant's subjective state of mind to survive
summary judgment. Thus, Plaintiff's sexual abuse claim fails         See Stewart, 2019 WL 719638, at *8 (granting summary
as a matter of law under both the objective and subjective           judgment dismissing an inmate's access to courts claim where
prongs of Eighth Amendment analysis.                                 officers confiscated and destroyed plaintiff's legal papers, and
                                                                     plaintiff alleged that he lost lawsuits because of the missing
*9 For the foregoing reasons, the Court grants Defendant's           paperwork); Conley, 2017 WL 4357661, at *8 (dismissing
motion for summary judgment as to the sexual abuse claim.            an access to courts claim where prison officials destroyed
                                                                     and disorganized an inmate's legal papers because plaintiff
                                                                     alleged no actual injury even though he had to spend hours
   IV. Claim No. 4: The Access to Courts Claim (First                reorganizing), Plaintiff was not prejudiced in any of his legal
   Amendment)                                                        actions because of Defendant's conduct and thus, Plaintiff's
Plaintiff's fourth claim is that Defendant deprived him of           access to courts claim fails as a matter of law.
access to courts when, during the first and third searches on
May 19, Curry and Rodriguez “tampered” with Plaintiff's              The Court therefore grants Defendant's motion for summary
legal materials and “distracted” him from legal work on              judgment as to the access to courts claim.
another case. (Opp. Br. at 19). Access to courts claims are
grounded in the First Amendment. See Coke v. Koeningsman,
No. 19-CV-10038, 2021 WL 311543 8, at * 10 (S.D.N. Y.
                                                                                            CONCLUSION
July 22, 2021). “To establish a denial of access to courts
claim, plaintiff must demonstrate not only that defendants           For the foregoing reasons, the motion for summary
deliberately or maliciously ‘took or w[ere] responsible for          judgment is GRANTED and the Amended Complaint against
actions that hindered plaintiff's efforts to pursue a legal          Defendant is dismissed with prejudice in its entirety. The
claim,’ but ‘that the defendant[s'] actions resulted in actual       Clerk of the Court is respectfully directed to terminate the
injury to the plaintiff such as the dismissal of an otherwise        motion sequence pending at Doc. 98, enter judgment in favor
meritorious legal claim.’ ” Stewart, 2019 WL 719638, at              of Defendant, mail a copy of this Memorandum Opinion and
*8 (quoting Davis v. Goord, 320 F.3d 346, 351 (2d Cir.               Order to Plaintiff, and close this case.
2003)); see also Gunn v. Doe, No. 20-CV-00730, 2020 WL
1140746, at *2 (S.D.N.Y. Mar. 6, 2020). The record is devoid
of any evidence of actual injury. Ruffling through papers            All Citations
and distracting an inmate on a single occasion is insufficient
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                                                                    law. Fed. R. Civ. P. 56; Salahuddin v. Goord, 467 F.3d 263,
                                                                    272-73 (2d Cir. 2006). “Only disputes over [“material”] facts
      KeyCite Yellow Flag - Negative Treatment                      that might affect the outcome of the suit under the governing
Distinguished by Russell v. Scott, D.Vt., April 10, 2024
                                                                    law will properly preclude the entry of summary judgment.”
                                                                    Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986). It must
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                                                                    be apparent that no rational finder of fact could find in favor
       Only the Westlaw citation is currently available.
                                                                    of the non-moving party for a court to grant a motion for
        United States District Court, N.D. New York.
                                                                    summary judgment. Gallo v. Prudential Residential Servs., 22
              Eric LYNCH, Plaintiff,                                F.3d 1219, 1224 (2d Cir. 1994).
                       v.
                                                                    The moving party has the burden to show the absence of
       COUNTY OF HERKIMER, et al., Defendants.
                                                                    disputed material facts by informing the court of portions
                      9:20-CV-63 (BKS/ATB)                          of pleadings, depositions, and affidavits which support the
                                 |                                  motion. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
                         Signed 02/16/2022                          If the moving party satisfies its burden, the nonmoving party
                                                                    must move forward with specific facts showing that there is
Attorneys and Law Firms                                             a genuine issue for trial. Salahuddin v. Goord, 467 F.3d at
                                                                    273. In that context, the nonmoving party must do more than
ERIC LYNCH, Plaintiff, pro se.                                      “simply show that there is some metaphysical doubt as to
                                                                    the material facts.” Matsushita Electric Industrial Co., Ltd. v.
GREGG T. JOHNSON, ESQ., for Defendants.
                                                                    Zenith Radio Corp., 475 U.S. 574, 586 (1986). In determining
                                                                    whether there is a genuine issue of material fact, a court must
                                                                    resolve all ambiguities, and draw all inferences, against the
              REPORT-RECOMMENDATION
                                                                    movant. See United States v. Diebold, Inc., 369 U.S. 654, 655
ANDREW T. BAXTER, United States Magistrate Judge                    (1962); Salahuddin, 467 F.3d at 272.

 *1 This matter has been referred to me for Report and
Recommendation, pursuant to 28 U.S.C. § 636(b) and Local            II. Facts
Rules N.D.N.Y. 72.3(c). In this civil rights complaint, plaintiff   Plaintiff was remanded to the custody of the HCJ on March 9,
raises various constitutional claims related to events allegedly    2017, where he remained incarcerated as a pretrial detainee at
having occurred during his confinement as a pretrial detainee       all times relevant to the underlying complaint. (Compl. ¶¶12–
at Herkimer County Jail (“HCJ”). (Complaint (“Compl.”))             13). The following is a summary of the facts as stated in the
(Dkt. No 2). Plaintiff filed his original complaint in New York     complaint. To the extent that additional facts were developed
State Supreme Court, Herkimer County. Defendants removed            through discovery, and included in the summary judgment
the action to the Northern District of New York on January 16,      motion, I will discuss them during my analysis of the pending
2020. (Dkt. No. 1). The defendants answered the complaint           claims.
through counsel, and discovery ensued. (Dkt. Nos. 6, 51).
                                                                      A. Medical Care
Presently before the court is the defendants’ motion for
summary judgment pursuant to Fed. R. Civ. P. 56. (Dkt. No.
55). Plaintiff has responded in opposition to the motion (Dkt.                      1. Mental Health Treatment
No. 69), and defendants filed a reply (Dkt. No 72). Plaintiff
                                                                     *2 While in custody at HCJ, plaintiff “filed several
filed a sur-reply, which was subsequently accepted by the
                                                                    sick call request[s] to see mental health due to plaintiff's
court for filing. (Dkt. Nos. 79, 80).
                                                                    history of PTSD, regarding anxieties, reoccurring nightmares,
                                                                    and depression.” (Id. ¶16(a)). “These requests went
I. Summary Judgment                                                 unanswered.” (Id.). Plaintiff filed a grievance on April 27,
Summary judgment is appropriate where there exists no               2017, presumably with respect to his unanswered sick call
genuine issue of material fact and, based on the undisputed         requests. (Id. ¶16(b)). The grievance was “returned and
facts, the moving party is entitled to judgment as a matter of      signed” on April 28, 2017, by non-party HCJ Lieutenant


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Coddington, advising plaintiff that medical issues were not          On December 13, 2017, plaintiff “noticed a red circle on his
“grievable.” (Id. ¶16(c)).                                           left ankle.” (Id. ¶16(m)). Non-party HCJ Nurse Practitioners
                                                                     Char Macri and Deninno examined plaintiff and concluded
                                                                     that he had an ingrown hair. (Id.). Plaintiff's ankle was
                                                                     examined by a visiting facility physician on December 22,
                        2. Knee Injury
                                                                     2017, who alternatively diagnosed plaintiff with a staph
On August 26, 2017, plaintiff was instructed to clean the            infection, and prescribed him antibiotics. (Id. ¶16(n)). The
showers at HCJ. (Id. ¶16(d)). In the course of doing so,             physician informed plaintiff that he was “lucky [the infection]
plaintiff “slipped and fell, injuring his right knee.” (Id.). Non-   didn't spread and become drug resistant,” and that “plaintiff
party HCJ Nurse Urtz examined plaintiff's knee and provided          should've been seen sooner.” (Id.).
him with an ice pack and a cane. (Id.). Plaintiff requested a
knee brace, but was “told by medical that they did not have          In January 2018, plaintiff submitted a sick call slip concerning
that medical device in stock.” (Id. ¶16(e)). Plaintiff's mother      “a severe case of bite marks on plaintiff's stomach, back,
was authorized to purchase a knee brace for plaintiff to use         and head[.]” (Id. ¶16(o)). Plaintiff was seen by a nurse who
at HCJ. (Id.). Plaintiff was eventually taken to the emergency       “immediately determined that the bite marks were from bed
room, and has had ongoing knee pain since. (Id. ¶16(f)).             bugs[.]” (Id. ¶16(p)). The nurse commented that HCJ was
                                                                     “infested with them,” and that plaintiff could change his
                                                                     cell location. (Id.). He was not provided treatment for the
                                                                     bites or itching. (Id.). Plaintiff asserts that the conditions at
                     3. Kidney Condition
                                                                     the HCJ were “deplorable” and “filthy,” as evidenced by an
Plaintiff alleges that “medical staff knew that plaintiff had        “infestation of bed bugs throughout” the facility. (Id. ¶17).
kidney problems ... [including] one functioning kidney, which
was borderline renal failure.” (Id. ¶16(g)). Plaintiff was taken
                                                                        B. Access to Legal Resources
for monthly blood work to check on his kidney function, and
                                                                      *3 Plaintiff and the rest of the general population at HCJ
was also treated by an outside nephrologist. (Id.).                  were “not allowed to contact their lawyers during law library
                                                                     visits based upon a policy of the HCJ legal coordinator,” non-
In February 2018, plaintiff “had blood in his urine.” (Id.           party John Korce. (Id. ¶16(k)). Korce also denied access to the
¶16(h)). A subsequent test conducted the following day               legal research kiosk and other legal supplies if he was “mad
showed blood “still in [his] urine.” (Id.). Plaintiff “pleaded”      or upset with a particular detainee.” (Id.).
to be taken to the emergency room, but his request was
denied because there was no transport officer available. (Id.).
After waiting five days, plaintiff was “finally” taken to the           C. HCJ Grievance Procedure
emergency room. (Id. ¶16(i)). Plaintiff was informed that            Plaintiff alleges, generally, that the “[grievance] system
he had passed a kidney stone, and the emergency room                 at HCJ is broken.” (Id. ¶16(l)). He asserts that while
physician “explained what a kidney stone could do to an              grievances involving “minor issues” will be answered,
already damaged kidney.” (Id.). The physician also stated that       “anything serious” requires an inmate to keep submitting
the kidney stone could have been “broken up” to prevent              grievances “continuously.” (Id.).
further damage to plaintiff's kidneys, had it been found earlier.
(Id.).
                                                                        D. Sexual Assault
On July 13, 2018, plaintiff underwent a CT scan which                On December 25, 2017 at approximately 7 p.m., defendant
showed “scarring of the right kidney.” (Id. ¶16(j)). His             correctional officer (“C.O.”) Andrew Sheppard “ordered
nephrologist stated that this was consistent with damage from        [certain inmates, including plaintiff,] to grab the wall,” in
a kidney stone. (Id.).                                               order to conduct a search prior to transporting the inmates
                                                                     to church services. (Id. ¶18). Plaintiff immediately asked
                                                                     defendant C.O. Adrienne Aiello if she would conduct the pat
                                                                     search instead of C.O. Sheppard, due to the fact that C.O.
              4. Staph Infection/Bed Bug Bites                       Sheppard, who was “new,” “constantly made homosexual
                                                                     comments, that he passed of[f] as jokes,” to plaintiff and



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other inmates. (Id. ¶19). C.O. Aiello replied that “this was
[C.O. Sheppard's] thing,” and denied plaintiff's request. (Id.
¶20). C.O. Sheppard proceeded to conduct a pat search of the         IV. Exhaustion of Administrative Remedies
inmates, “with [C.O.] Aiello standing nearby observing.” (Id.
                                                                        A. Legal Standards
¶21). When he got to plaintiff, C.O. Sheppard “began
                                                                      *4 The Prison Litigation Reform Act, (“PLRA”), 42 U.S.C.
squeezing [plaintiff's] right buttocks repeatedly, while at the
                                                                     § 1997e(a), requires an inmate to exhaust all available
same time rubbing [plaintiff's] chest from behind.” (Id. ¶22).
                                                                     administrative remedies prior to bringing a federal civil rights
Plaintiff “stiffen[ed]” and looked directly at C.O. Aiello, who
                                                                     action. The exhaustion requirement applies to all inmate suits
“put her hand over her mouth and turned away from what was
                                                                     about prison life, whether they involve general circumstances
happening.” (Id.). C.O. Aiello then stated to C.O. Sheppard,
                                                                     or particular episodes, and regardless of the subject matter
“are you going to at least buy him dinner afterwards[?]” (Id.).
                                                                     of the claim. See Giano v. Goord, 380 F.3d 670, 675-76 (2d
                                                                     Cir. 2004) (citing Porter v. Nussle, 534 U.S. 516, 532 (2002)).
After the church service, plaintiff was returned to his
                                                                     Inmates must exhaust their administrative remedies even if
cell block. (Id. ¶23). There, plaintiff informed non-
                                                                     they are seeking only money damages that are not available
party C.O. Minosh “what had happened.” (Id.). C.O.
                                                                     in prison administrative proceedings. Id. at 675.
Minosh “immediately went downstairs and informed [non-
party] Sergeant Harrod” of plaintiff's complaint. (Id.).
                                                                     The failure to exhaust is an affirmative defense that must
Sergeant Harrod came to plaintiff's cell, and directed
                                                                     be raised by the defendants. Jones v. Bock, 549 U.S. 199,
plaintiff to write to non-party Captain McGrail. (Id.
                                                                     216 (2007); Johnson v. Testman, 380 F.3d 691, 695 (2d
¶24). Plaintiff “immediately wrote to Captain McGrail
                                                                     Cir. 2004). As an affirmative defense, it is the defendants’
and gave [the correspondence] to C.O. Minosh to deliver
                                                                     burden to establish that plaintiff failed to meet the exhaustion
to Captain McGrail's mailbox[,] per Sergeant Harrod's
                                                                     requirements. See, e.g., Key v. Toussaint, 660 F. Supp. 2d 518,
instructions.” (Id.). Plaintiff never received a reply from
                                                                     523 (S.D.N.Y. 2009) (citations omitted).
Captain McGrail, and “nothing was done.” (Id. ¶25).
                                                                     The Supreme Court has held that in order to properly
                                                                     exhaust an inmate's administrative remedies, the inmate must
                        DISCUSSION                                   complete the administrative review process in accordance
                                                                     with the applicable state rules. Jones, 549 U.S. at 218-19
III. Defendant C.O. Jonathan Hadden                                  (citing Woodford v. Ngo, 548 U.S. 81 (2006)). In Woodford,
C.O. Hadden is identified as a defendant in one of the               the Court held that “proper” exhaustion means that the
introductory paragraphs of plaintiff's complaint. (Compl. ¶3).       inmate must complete the administrative review process in
C.O. Hadden is not, however, listed as a defendant in the            accordance with the applicable procedural rules, including
plaintiff's state summons (Id. at CM/ECF p. 1), nor in the           deadlines, as a prerequisite to bringing suit in federal court.
Request for Judicial Intervention (Id. at CM/ECF p. 15).             548 U.S. at 90-103.
Moreover, C.O. Hadden is not referenced in the body of
plaintiff's complaint, relative to any of the factual allegations.   Until recently, the Second Circuit utilized a three-part inquiry
(See id., generally). Accordingly, defendants argue that the         to determine whether an inmate had properly exhausted his
complaint should be dismissed as against C.O. Hadden for             administrative remedies. See Brownell v. Krom, 446 F.3d 305,
lack of his personal involvement in any of the alleged               311-12 (2d Cir. 2006) (citing Hemphill v. State of New York,
constitutional violations. (Defendants’ Memorandum of Law            380 F.3d 680, 686 (2d Cir. 2004)). The Hemphill inquiry
(“Def.’s MOL”) at 28) (Dkt. No. 55-22). In his response to the       asked (1) whether the administrative remedies were available
summary judgment motion, plaintiff has requested that C.O.           to the inmate; (2) whether defendants’ own actions inhibiting
Hadden be dismissed from this action. (Plaintiff's Opposition        exhaustion estops them from raising the defense; and (3)
to SJM (“Pl.’s Opposition”) at CM/ECF p. 3) (Dkt. No. 69). In        whether “special circumstances” justify the inmate's failure to
light of the plaintiff's request for a voluntary dismissal, and in   comply with the exhaustion requirement. Id.
the absence of any factual allegations alleging C.O. Hadden's
personal involvement in the underlying causes of action, this        However, the Supreme Court has now made clear that courts
court recommends that the complaint be dismissed as against          may not excuse a prisoner's failure to exhaust because of
C.O. Hadden.                                                         “special circumstances.” Ross v. Blake, 578 U.S. 632, 136


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S. Ct. 1850, 1857 (June 6, 2016). “ ‘[M]andatory exhaustion       Handbook”). Defendants have also submitted as evidence a
statutes like the PLRA establish mandatory exhaustion             redacted copy of plaintiff's grievance log, as further proof that
regimes, foreclosing judicial discretion.’ ” Riles v. Buchanan,   plaintiff failed to file any grievances with respect to medical
656 F. App'x 577, 580 (2d Cir. Sept. 1, 2016) (quoting Ross,      care during his confinement at HCJ. (Def.’s SJM Ex. D
578 U.S. at ––––, 136 S. Ct. at 1857). Although Ross did          “Grievance Log”). In light of the aforementioned, the burden
away with the “special circumstances” exception, the other        of production accordingly shifts to plaintiff, compelling
two factors in Hemphill – availability and estoppel – are         him to present evidence that one of the exceptions to
still relevant. The court in Ross referred to “availability”      the administrative exhaustion requirement applies, excusing
as a “textual exception” to mandatory exhaustion, and             his failure to exhaust and permitting his claim to survive
“estoppel” has become one of the three factors in determining     summary judgment. Id.
availability. Ross, 578 U.S. at ––––, 136 S. Ct. at 1858.
Courts evaluating whether an inmate has exhausted his or          Plaintiff testified that he received a rule book upon his transfer
her administrative remedies must focus on whether those           into HCJ, through which he became familiar with the facility's
remedies were “available” to the inmate. Id.; see also            grievance process. (50-H Transcript at CM/ECF pp. 20–26)
Riles, 656 F. App'x at 580. An administrative procedure is        (Dkt. No. 55-7). However, plaintiff maintains that he was
“unavailable” when                                                consistently told by HCJ staff that medical issues were “not
                                                                  grievable.” (50-H Transcript at CM/ECF p. 35; Def.’s SJM
  (1) “it operates as a simple dead end – with officers unable    Ex. K “Notice to Admit” at CM/ECF pp. 30, 33–34; Plaintiff's
  or consistently unwilling to provide any relief to aggrieved    EBT Transcript at CM/ECF pp. 9–10, Dkt. No. 55-8). Plaintiff
  inmates”; (2) it is “so opaque that is [sic] becomes,           also maintains that the grievance process at HCJ was only
  practically speaking, incapable of use”; or (3) “prison         “available” to the extent an inmate had to inform an HCJ
  administrators thwart inmates from taking advantage of a        correctional officer about the subject of his or her grievance,
  grievance process through machination, misrepresentation,       before the correctional officer would “decided whether or not
  or intimidation.”                                               to give [the inmate] a grievance form” to fill out. (Notice
                                                                  to Admit at CM/ECF pp. 35–36). When plaintiff requested
*5 Ross, 578 U.S. at ––––, 136 S. Ct. at 1859-60.
                                                                  grievance forms for medical issues, he was “denied” a form
                                                                  and told the issue “was not grievable.” (Plaintiff's EBT
In Ross, the Supreme Court gave examples of the
                                                                  Transcript at CM/ECF pp. 9–10).
circumstances under which each of the above would apply. Id.
The first circumstance listed above involves a case in which
                                                                  “When questions of fact and issues of credibility exist
the relevant “administrative procedure” lacks the authority to
                                                                  regarding the failure to exhaust administrative remedies,
provide “any” relief. Id. at 1859. The second example is when
                                                                  a court should neither engage in fact finding nor make
the administrative procedure “exists,” but is so complicated or
                                                                  determinations as to credibility in addressing a defendant's
“opaque” that no ordinary prisoner could “discern or navigate
                                                                  motion for summary judgment for failure to exhaust.”
it.” Id. Finally, administrative remedies are not available if
                                                                  Curtis v. Bola, No. 9:15-CV-00718 (GLS/TWD), 2016
prison administrators prevent inmates from taking advantage
                                                                  WL 7735755, at *9 (N.D.N.Y. Nov. 1, 2016), report and
of the grievance process by misleading or threatening them,
                                                                  recommendation adopted, 2017 WL 120945 (N.D.N.Y. Jan.
preventing their use of the administrative procedure. Id. at
                                                                  12, 2017) (listing cases). In this case, there is, arguably,
1860.
                                                                  an existing question of fact as to whether the conduct of
                                                                  HCJ staff, as alleged by plaintiff, so precluded him from
   B. Application                                                 filing grievances about his medical issues as to render them
The defendants argue that plaintiff failed to exhaust his         “unavailable” pursuant to Ross. However, because the court is
administrative remedies with respect to claims regarding the      recommending dismissal of plaintiff's claims surrounding his
allegedly deficient medical care he received at HCJ. (Def.’s      medical care based on the merits of those claims, as further
MOL at 33). Through their papers, the defendants have             discussed below, there is no need for an evidentiary hearing
established “that a grievance process exist[ed] and applie[d]     on the issue of exhaustion.
to the underlying dispute.” Hubbs v. Suffolk County Sheriff's
Dept., 788 F.3d 54, 59 (2d Cir. 2015) (citation omitted).
                                                                  V. Municipal Liability - County of Herkimer
(Def.’s SJM Exs. E “HCJ Grievance Policy;” F “Inmate



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                                                                    thought of as a city ‘policy or custom’ that is actionable under
   A. Legal Standards                                               § 1983.’ ” Id. (quoting Canton, 489 U.S. at 389).
 *6 A municipality may only be named as a defendant in
certain circumstances. In Monell v. Dep't of Soc. Servs., 436
U.S. 658 (1978), the Supreme Court outlined the limited               B. Application
circumstances under which a municipality may be liable              Plaintiff alleges injury as the result of a multitude of
under Section 1983. A municipality may not be held liable           constitutional violations having occurred at HCJ. The
solely because it employs a tortfeasor. LaVertu v. Town of          majority of plaintiff's claims attempt to assert liability not on
Huntington, No. 13-CV-4378, 2014 WL 2475566, at *3                  any individual actors operating within the HCJ, but instead
(E.D.N.Y. Apr. 4, 2014) (citing inter alia Los Angeles County,      on the defendant County of Herkimer (the “County”). 1
Cal. v. Humphries, ––– U.S. ––––, 131 S. Ct. 447, 452               The defendants have devoted the majority of their motion
(2010)), report recommendation adopted in relevant part,            papers, and the evidence attached thereto, to arguing the
2014 WL 2506217 (E.D.N.Y. June 2, 2014). Only when the              merits of plaintiff's § 1983 claims, asserting that plaintiff has
municipality, through the execution of its policies, actually       failed to raise a triable issue of fact with respect to medical
deprives an individual of his constitutional rights, is it liable   indifference, access to courts, conditions of confinement, and
for the injury. Monell, 436 U.S. at 694.                            sexual abuse. (Def.’s MOL at 5–26, 27–31). However, the
                                                                    defendants also argue that liability cannot attach to the County
“The existence of a municipal policy that gives rise to             defendant for any of the asserted constitutional violations
Monell liability can be established in four ways: (1) a formal      under Monell. (Id. at 26–27). For the following reasons, this
policy endorsed by the municipality; (2) actions directed           court agrees that plaintiff's complaint should be dismissed as
by the government's ‘authorized decisionmakers’ or ‘those           against the County.
who establish governmental policy;’ (3) a persistent and
widespread practice that amounts to a custom of which               1       Plaintiff's sexual abuse and failure to intervene
policymakers must have been aware; or (4) a constitutional
                                                                            claims being the exception.
violation resulting from policymakers’ failure to train
municipal employees[.]” Deferio v. City of Syracuse, 770             *7 With respect to plaintiff's medical care claims, plaintiff
F. App'x 587, 590 (2d Cir. 2019)(cleaned up). “Once a               alleges that the County “created or allowed an unwritten
plaintiff has demonstrated the existence of a municipal policy,     practice to continue within its jail by allowing the detainees in
a plaintiff must then establish a causal connection, or an          their care to be denied proper medical treatment for serious [ ]
‘affirmative link,’ between the policy and the deprivation          medical needs[.]” (Id. ¶28). “To prove the third Monell kind
of his constitutional rights.” Id. (citing Vippolis v. Vill. of     of liability—custom or usage—the plaintiff must establish a
Haverstraw, 768 F.2d 40, 44 (2d Cir. 1985)); see also Bd. of        longstanding practice or custom which constitutes standard
the Cty. Comm'rs v. Brown, 520 U.S. 397, 404 (1997) (holding        operating procedure.” Gleeson v. Cty. of Nassau, No. 15-
that plaintiff must “demonstrate that, through its deliberate       CV-6487, 2019 WL 4754326, at *15 (E.D.N.Y. Sept. 30,
conduct, the municipality was the ‘moving force’ behind the         2019) (citing Jett v. Dallas Independent School Dist., 491
injury alleged”).                                                   U.S. 701, 737 (1989)). “The policy must be ‘so manifest as to
                                                                    imply the constructive acquiescence of senior policy-making
A municipality's culpability for a deprivation of rights is         officials.’ ” Id. (quoting Byvalets v. NYC Housing Authority,
at its most tenuous where a claim turns on a failure to             No. 16-CV-6785, 2017 WL 7793638, at *16 (E.D.N.Y. July
train. Connick v. Thompson, 563 U.S. 51, 61 (2011) (citing          28, 2017)); see also Board of County Comm'rs. v. Brown,
Oklahoma City v. Tuttle, 471 U.S. 808, 822–823 (1985)) (“[A]        520 U.S. 397, 404 (1997) (The relevant custom must be “so
‘policy’ of ‘inadequate training’ ” is “far more nebulous, and      widespread as to have the force of law.”).
a good deal further removed from the constitutional violation,
than was the policy in Monell”). To satisfy the statute, the        In this case, plaintiff concedes that HCJ provided him with
municipality's “failure to train its employees in a relevant        medical care to some extent, namely for his mental health
respect must amount to “ ‘deliberate indifference to the rights     conditions, kidney issues, knee injury, and bed bug bites/staph
of persons with whom the [untrained employees] come into            infection. At the outset, the court seriously questions whether
contact.’ ” ” Id. (quoting Canton v. Harris, 489 U.S. 378,          most of plaintiff's claims of constitutionally deficient medical
388 (1989)). “Only then ‘can such a shortcoming be properly         care would have survived, had they been brought against the
                                                                    HCJ medical staff personally involved in his care. See Askins


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v. Doe No. 1, 727 F.3d 248, 253 (2d Cir. 2013) (“Unless a           has not produced evidence of, much less referenced, any other
plaintiff shows that he has been the victim of a federal law tort   inmate's experience of deficient medical care at HCJ.
committed by persons for whose conduct the municipality can
be responsible, there is no basis for holding the municipality       *8 Moreover, plaintiff's conclusory allegations of a custom
liable. Monell does not create a stand-alone cause of action        or policy sustained by the County with respect to medical
under which a plaintiff may sue over a governmental policy,         care, without more, do not suffice to establish the County's
regardless of whether he suffered the infliction of a tort          liability. Specifically, plaintiff claims that the general act
resulting from the policy.”); LeClair v. Raymond, No. 1:19-         he alleges the County has engaged in – allowing pretrial
CV-0028(BKS/DJS), 2020 WL 5027278, at *13 (N.D.N.Y.                 detainees to be denied adequate medical care – is the
Aug. 25, 2020) (quoting Aquino v. City of New York, No. 16-         actionable custom or policy. However, plaintiff has not
CV-1577, 2017 WL 2223921, at *1 (S.D.N.Y. May 19, 2017))            proffered evidence of an “affirmative link” between this
(“It is well-established that a plaintiff must prove the denial     alleged custom and constitutional violations he was subject
of a constitutional right by a municipal officer in order to hold   to. See Mayes v. Village of Hoosick Falls, 162 F. Supp. 3d
a municipality liable under Monell.”). 2                            67, 96 n. 12 (N.D.N.Y. 2016) (“Plaintiffs do not specify
                                                                    or produce evidence of any failure to train or inappropriate
2                                                                   policy leading to any particular unconstitutional conduct and
        But see Van Hoven v. City of New York, No. 16-
                                                                    thus cannot make out a direct causal link between the alleged
        CV-2080, 2018 WL 5914858, at *8 (S.D.N.Y.
                                                                    municipal failing and any constitutional deprivation.”); see
        Aug. 21, 2018), report and recommendation
                                                                    also Ying Jing Gan v. City of New York, 996 F.2d 522,
        adopted, 2018 WL 4417842 (S.D.N.Y. Sept. 17,
                                                                    536 (2d Cir. 1993) (affirming dismissal of complaint where
        2018) (“Monell carries with it no prerequisite
                                                                    the Monell allegations “contained only conclusory and
        that individual liability be established before the
                                                                    speculative assertions” that the alleged conduct occurred
        municipality can be held responsible for a Section
                                                                    “pursuant to the practice, custom, policy and particular
        1983 violation; indeed, a plaintiff may proceed on a
                                                                    direction of” the policymaker) (quotation marks omitted);
        Monell claim without even naming any individual
                                                                    Bradley v. City of New York, No. 08-CV-1106, 2009 WL
        actors as defendants.”); Barrett v. Orange Cty.
                                                                    1703237, at *3 (E.D.N.Y. June 18, 2009) (“The Complaint's
        Human Rights Comm'n, 194 F.3d 341, 350 (2d
                                                                    conclusory, boilerplate language ... is insufficient to raise an
        Cir. 1999) (holding that district court erred, as a
                                                                    inference of the existence of a custom or policy, let alone
        matter of law, in instructing jury that the liability of
                                                                    that such a policy caused” the plaintiff's injuries). Plaintiff
        the municipal defendants was contingent upon the
                                                                    has failed to advance any specific policies or allegations other
        liability of the individual defendants, and finding
                                                                    than those generally asserted in his complaint relative to the
        that County Human Rights Commission as a whole
                                                                    County's overall provision of medical care at HCJ, despite
        could have violated the plaintiff's constitutional
                                                                    the opportunity for further discovery. Accordingly, plaintiff's
        rights, even if individual Commission members did
                                                                    claim against the County with respect to this issue should be
        not).
                                                                    dismissed.
However, even assuming that plaintiff could establish some
unconstitutional conduct, a section 1983 claim against a            Plaintiff further asserts that the County “knew or should
municipality for the existence of a policy, custom or practice      have known through reports/complaints that the grievance
cannot be sustained “by inference solely from evidence of           system [at HCJ] was broken,” and that grievances were
the occurrence of the incident in question.” Fiacco v. City of      “systematically not being answered[.]” (Id. ¶29). However, it
Rensselaer, 783 F.2d 319, 328 (2d Cir. 1986); see also Ricciuti     is “well established that a prison inmate has no constitutional
v. New York City Transit Auth., 941 F.2d 119, 123 (2d Cir.          right of access to an internal grievance process.” Johnson v.
1991) (a single incident alleged in a complaint, especially if it   Cty. of Saratoga, No. 9:18-CV-0096 (DNH/DEP), 2018 WL
involved only actors below the policy-making level, does not        10910777, at *9 (N.D.N.Y. Apr. 16, 2018); see also Rhodes
suffice to show a municipal policy). Here, plaintiff appears        v. Hoy, No. 05-CV-0836, 2007 WL 1343649, at *6 (N.D.N.Y.
to infer a municipal custom of providing deficient medical          May 5, 2007) (noting that inmates have “no constitutional
care solely on the basis of his isolated personal experiences,      right of access to the established inmate grievance program”).
which would vitiate his claim for municipal liability even if       The same applies to the plaintiff here, notwithstanding his
his constitutional rights had been violated. Indeed, plaintiff      status as a pretrial detainee. See Bell v. Beebe, No. 9:06–



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CV–544 (NAM/GJD), 2007 WL 1879767, at *4 (N.D.N.Y.                  any actions taken or decisions made by ... policymaking
June 29, 2007) (violation of state inmate grievance procedures      officials” ... or any “factual indicia from which this Court
“does not give rise to a claim under section 1983, under            could infer the existence of a policy or custom”); see also
the due process clause or otherwise”); Johnson v. New               Figueroa v. Cty. of Rockland, No. 16-CV-6519, 2018 WL
York City Dep't of Health, No. 06 Civ. 13699, 2008 WL               3315735, at *9 (S.D.N.Y. July 5, 2018) (dismissing pretrial
5378124, at *3 (S.D.N.Y. Dec. 22, 2008) (pretrial detainee's        detainee's Monell claim alleging unsanitary conditions of
allegations that inmate medical complaints were knowingly           confinement where complaint contained allegations of a
excluded from the institutional grievance process did not           “single incident,” without “a single allegation tying any of
state a constitutional claim). Thus, given the absence of           the alleged unlawful conduct to an overarching policy or
an underlying constitutional violation, plaintiff's allegations     custom.”).
against the County with respect to the “broken” grievance
system at HCJ cannot state a claim under Monell. See,                *9 Although the plaintiff does not list any specific causes of
e.g., Schultz v. Inc. Vill. of Bellport, 479 Fed. App'x 358,        action against the County for his purportedly restricted access
360 (2d Cir. 2012) (“Because [the plaintiff] was unable             to legal materials and communication, the court assumes for
to establish an underlying violation of his constitutional          purposes of this motion that those claims are also intended
rights ..., his ...Monell claim necessarily fail[s] as well.”).     to be asserted against the County, considering the absence of
                                                                    any other named defendant who appears to be even remotely
Plaintiff has also raised a claim of unconstitutional conditions    connected to those allegations. Nevertheless, plaintiff has
of confinement against the County, claiming that “no                failed to establish a Monell claim under any of the available
exterminator was called to eradicate” the bed bugs that caused      theories. There is no allegation, or evidence, to suggest that
“bite marks throughout his body.” (Id. ¶30). Construing the         the County acted pursuant to a formal municipal policy, or
facts in a light most favorable to the non-moving party,            an informal custom or practice, with respect to the alleged
plaintiff has established an isolated, one time incident in         difficulty plaintiff experienced accessing legal resources at
December 2017, wherein he was assessed to have suffered             HCJ. Nor has plaintiff advanced any evidence that similar
“scattered bug bites” on his body. The undisputed record            deprivations occurred as to other inmates. Plaintiff merely
reflects that upon discovering plaintiff's bites, HCJ staff         alleges that the demand for the only available legal research
moved him to a different cell, disinfected his mattress, and        kiosk was so great among the inmates that he often did not get
replaced his sheets. (Compl. ¶¶16(o)-(p); Defendants’ SJM           a turn to use it on his visits to the law library, and that the other
Ex. I at CM/ECF p. 5, Dkt. No. 55-16). There is no evidence         legal resources available to him were “old.” (Plaintiff EBT
outside of plaintiff's conclusory allegation suggesting that        Transcript at CM/ECF pp. 12–14). Plaintiff also testified to an
HCJ had an ongoing bug infestation issue, that any other            incident wherein the HCJ law library coordinator refused to
inmate at HCJ suffered from similar bug bites, or that an           allow plaintiff to pay for printouts relevant to plaintiff's legal
alleged “infestation” was brought to the attention of, or should    research. (50-H Transcript at CM/ECF pp. 51–52). However,
have been known by, the County defendant.                           plaintiff concedes that he had been permitted to pay for and
                                                                    retain printouts from the law library “multiple times in the
On these facts, plaintiff cannot sustain a claim based on his       past” – thus indicating that the challenged conduct at issue
allegations of the County's consistent and widespread practice      was not a policy promulgated by the County, but merely the
of allowing bug infestations at HCJ, where he is relying “on        isolated actions of an individual correctional officer. (Id.).
his own experiences and then extrapolating to the entire jail
population.” Rutherford v. Westchester Cty., No. 18-CV-4872,        Furthermore, plaintiff has not provided any evidence of the
2020 WL 433841, at *12 (S.D.N.Y. Jan. 28, 2020). This,              training provided to HCJ staff employed in the law library,
combined with the absence of any “factual indicia from which        or advanced any theory as to how a training deficiency
this court could infer the existence of a policy or custom,”        by the County prevented him from sufficiently accessing
proves fatal to plaintiff's claim against the County with respect   necessary legal resources. See Amnesty Am. v. Town of W.
to the conditions of his confinement. Mercedes v. Westchester       Hartford, 361 F.3d 113, 130 (2d Cir. 2004) (“It is impossible
County, No. 18-CV-4087, 2019 WL 1429566, at *5 (S.D.N.Y.            to prevail on a claim that the Town's training program was
Mar. 29, 2019) (dismissing Monell claim alleging that the           inadequate without any evidence as to whether the Town
plaintiff was served unhygienic and inedible food where             trained its officers between the two demonstrations, how
the plaintiff did not allege “the existence of any policy,          the training was conducted, how better or different training



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could have prevented the challenged conduct, or how ‘a                 Amendment, as “pretrial detainees have not been convicted of
hypothetically well-trained officer would have acted under             a crime and thus may not be punished in any manner—neither
the circumstances’ to remove passively resisting protesters.”).        cruelly and unusually nor otherwise.” Darnell v. Pineiro, 849
For these reasons, plaintiff's claim against the County further        F.3d 17, 29 (2d Cir. 2017) (internal quotation marks, citations,
fails.                                                                 and alterations omitted). However, courts in this Circuit have
                                                                       noted that it is not yet clear whether a pretrial detainee's
Purportedly referring to the alleged incident of sexual abuse          sexual abuse claim under the Fourteenth Amendment—
by C.O. Sheppard, and C.O. Aiello's failure to intervene,              as opposed to an excessive force claim—is subject to an
plaintiff attempts to attribute fault to the County by alleging        objective or subjective mens rea requirement. See, e.g., Lewis
that, “through its policies, customs [written and/or unwritten],       v. Huebner, No. 17 Civ. 8101, 2020 WL 1244254, at *9
practices, usage, [the County] failed to properly train its staff      (S.D.N.Y. Mar. 16, 2020) (“[I]t is presently unclear whether
when coming into contact with its detainees.” (Compl. ¶27).            both prongs required for Eighth Amendment sexual abuse
At the outset, plaintiff's claim based on an alleged failure           claims are also required for claims of sexual abuse under
to train once again fails because plaintiff does not “identify         the Fourteenth Amendment.” (citation and internal quotation
a specific deficiency in the [county's] training program and           marks omitted)); Gilliam v. Black, No. 18 Civ. 1740, 2019 WL
establish that that deficiency is closely related to [plaintiff's]     3716545, at *10 (D. Conn. Aug. 7, 2019) (“[T]he Supreme
ultimate injury, such that it actually caused [his] constitutional     Court has ruled in Kingsley that only an objective standard is
deprivation.” Green v. City of New York, 465 F.3d 65, 81               appropriate when analyzing claims of excessive force brought
(2d Cir. 2006). Moreover, for the reasons discussed below              by pre-trial detainees, it is unclear to what extent this ruling
this court is recommending that plaintiff's claims against             is applicable to a pretrial detainee's claims of sexual abuse
C.O. Sheppard and C.O. Aiello be dismissed for failure                 under the Fourteenth Amendment.”). In general, protections
to raise a question of material fact sufficient to survive             under the Fourteenth Amendment are “at least as great as
summary judgment. Accordingly, plaintiff cannot sustain a              the Eighth Amendment protections available to a convicted
claim against the County based on the conduct of C.O.                  prisoner.” Darnell, 849 F.3d at 29 (citation and quotation
Sheppard and C.O. Aiello, in the absence of any constitutional         marks omitted).
deprivation therein.


VI. Sexual Assault/Failure to Intervene                                                   2. Failure to Intervene

  A. Legal Standards                                                    *10 When a pretrial detainee plaintiff brings § 1983 claims
                                                                       alleging failure to protect or intervene, the plaintiff must
                                                                       satisfy a two-prong test by showing: “(1) he is incarcerated
                       1. Sexual Assault                               under conditions posing a substantial risk of serious harm ...
                                                                       and (2) the defendant-official acted intentionally ... or
In Crawford v. Cuomo, 796 F.3d 252 (2d Cir. 2015), the
                                                                       recklessly failed to act with reasonable care to mitigate the
Second Circuit explained that an inmate pursuing a sexual
                                                                       risk ... even though the defendant-official knew, or should
abuse claim under the Eighth Amendment must allege both
                                                                       have known, that the condition posed an excessive risk
subjective and objective elements, namely that the “officer's
                                                                       to health or safety.” Barnes v. Harling, 368 F. Supp. 3d
intentional contact with an inmate's genitalia or other intimate
                                                                       573, 596 (W.D.N.Y. 2019) (internal citations and quotations
area ... serves no penological purpose and is undertaken with
                                                                       omitted) (citing inter alia Darnell v. Pineiro, 849 F.3d
the intent to gratify the officer's sexual desire or humiliate the
                                                                       17, 30, 35 (2d Cir. 2017)); see, e.g., Taylor v. City of
inmate[.]” 796 F.3d at 257. The “principal inquiry” a court
                                                                       New York, No. 16 Civ. 7857, 2018 WL 1737626, at *11
must make “is whether the contact is incidental to legitimate
                                                                       (S.D.N.Y. Mar. 27, 2018) (“Although Darnell involved a
official duties, such as a justifiable pat frisk or strip search, or
                                                                       Fourteenth Amendment challenge to a prisoner's conditions
by contrast whether it is taken to arouse or gratify the officer
                                                                       of confinement, its holding applies with equal measure to
or humiliate the inmate.” Id. at 257–58.
                                                                       failure to protect claims.”); Molina v. County of Westchester,
                                                                       No. 16-CV-3421, 2017 WL 1609021, at *2–3 (S.D.N.Y.
A pretrial detainee's claim of sexual abuse against a
                                                                       Apr. 28, 2017) (applying the deliberate indifference standard
correctional officer is governed by the due process clause
                                                                       articulated in Darnell to a failure to protect claim).
of the Fourteenth Amendment, and not by the Eighth


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                                                                    at CM/ECF pp. 18–19). Plaintiff also testified that other
                                                                    correctional officers had grazed the outside of his buttocks
   B. Application                                                   during prior, routine pat searches. (Id. at CM/ECF p. 20).
In his complaint, plaintiff alleges that he was sexually abused
during a pat search at HCJ when C.O. Sheppard “intentionally         *11 Defendants dispute that plaintiff was subject to sexual
squeezed plaintiff's right buttocks while rubbing plaintiff's       abuse during the pat search conducted by C.O. Sheppard.
chest simultaneously, making low sounds, as if he were              In support of their motion, defendants have submitted
‘getting off.’ ” (Compl. ¶34). Plaintiff also asserts that C.O.     C.O. Sheppard's sworn declaration describing the underlying
Aiello is culpable for observing C.O. Sheppard's conduct, and       incident. (Declaration of Andrew Sheppard (“Sheppard
failing to intervene and stop the sexual abuse. (Id. ¶37).          Decl.”)) (Dkt. No. 55-5). C.O. Sheppard began working as
                                                                    a correctional officer at HCJ in the fall of 2017, and was
The facts as asserted by plaintiff were further developed           apparently working there on a part-time basis at the time of
throughout the course of discovery. At his 50-H hearing,            the underlying incident, while simultaneously attending the
plaintiff testified that C.O. Sheppard made him feel                New York State Police Academy. (Sheppard Decl. ¶3). Before
“uncomfortable” during his confinement at HCJ. (50-H                working independently as a correctional officer at the HCJ,
Transcript at CM/ECF p. 41) (Dkt. No. 55-7). Plaintiff              however, C.O. Sheppard was required to, and did, complete
elaborated that C.O. Sheppard made “homosexual” jokes               an on-the-job training program. (Id.). On December 25, 2017,
directed at the inmates. (Id.). With respect to the subject pat     C.O. Sheppard and non-party C.O. Minosh were summoned
search, plaintiff testified that on December 25, 2017, C.O.         from the booking office at HCJ to transport a group of three
Sheppard approached the inmates waiting to be searched              inmates, one of which was plaintiff, to the recreation room on
before attending church services, and instructed them to put        the second floor. (Id. ¶8). It was a routine security practice
their hands on the wall and spread their legs. (Id. at CM/          at HCJ to pat search an inmate when he was transported to
ECF p. 44). Plaintiff and the other inmates complied. (Id. at       or from a group activity, in order to control and prevent the
CM/ECF pp. 44–45). Plaintiff testified that the purpose of the      transfer of contraband. (Id.). C.O. Sheppard performed a pat
search was to ensure that the inmates did not have contraband       search of the three inmates under the direct observation of
in their possession. (Id. at CM/ECF p. 45). Plaintiff was the       C.O. Minosh, a more experienced officer, as well as in the
third inmate to be patted down by C.O. Sheppard. (Id. at            view of C.O. Aiello, who was “at a post down the hallway
CM/ECF p. 46). Plaintiff testified that during the pat search,      near the entrance of the recreation room.” (Id.). He conducted
C.O. Sheppard squeezed and grabbed plaintiff's right buttocks       the pat search in the same manner he had conducted all pat
for between five and ten seconds. (Id.). C.O. Sheppard also         searches of inmates since his initial training, which included
“wrapped his arm around [plaintiff] and rubbed [his] chest          the following sequence:
from behind,” with one hand, for approximately ten to fifteen
seconds. (Defendants’ Reply Declaration Ex. N at CM/ECF
pp. 4–5, 6) (Dkt. No. 72-1). Plaintiff testified that C.O.
                                                                                having the inmate face the wall;
Sheppard did not say anything to him during the pat search.
                                                                                have the inmate place their hands
(50-H Transcript at CM/ECF p. 47). Plaintiff did not say
                                                                                on the wall and spread their legs;
anything to C.O. Sheppard, as he was “stunned, shocked,
                                                                                start pat down process at the shirt
[and] nervous.” (Id.). C.O. Sheppard proceeded to search
                                                                                collar and work [his] way down
the rest of the inmates. (Id.). At this time, C.O. Aiello was
                                                                                patting the inmate with both hands
positioned at the end of the hall. (Id. at CM/ECF p. 49).
                                                                                paying particular attention to the
Plaintiff did not hear C.O. Aiello say anything during the pat
                                                                                collar, waistband and front pocket
search conducted by C.O. Sheppard. (Id.). Another inmate
                                                                                looking for potential contraband; and
later told plaintiff that C.O. Sheppard had performed the same
                                                                                finish the pat down at the inmate's feet
act on him during the pat search, however plaintiff did not
                                                                                and pant legs before instructing them
observe this. (Id. at CM/ECF pp. 48–49).
                                                                                to put their shoes back on.

Plaintiff provided further testimony at his examination before
trial. There, he testified that prior to December 25, 2017, other
                                                                    (Id.). C.O. Sheppard further avers that “conducting pat
correctional officers had come in contact with his chest during
                                                                    searches is always a serious and unpleasant procedure, so
the course of routine pat searches. (Plaintiff's EBT Transcript


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it is not [his] practice to joke around or even speak with         Decl.”)) (Dkt. No. 55-2). In December 2017, Sheriff Scherer
the inmates during such searches unless [he is] giving them        worked as the Undersheriff in the Herkimer County Sheriff's
further instructions.” (Id.). C.O. Sheppard's only purpose         Office. (Id. ¶2). There came a time when Sheriff Scherer was
for conducting pat searches of the inmates at HCJ was to           made aware of the allegations made by plaintiff against C.O.
comply with security procedures, and he disputes plaintiff's       Sheppard with respect to the subject pat search. (Id. ¶12).
allegations otherwise as “false and ridiculous.” (Id.). C.O.       He discussed the allegations with the then acting Sheriff and
Sheppard became aware of plaintiff's “false” allegation            Captain, jointly reaching a decision to formally investigate
of sexual abuse within a few days after the fact. (Id.).           the allegation, considering the nature of the claim and the fact
C.O. Sheppard had “very little contact” with plaintiff after       that C.O. Sheppard was new to the HCJ. (Id.). After assigning
December 25, 2017, and he asserts that HCJ administrators          a professional investigator from the criminal division of
“attempted to assign [him] to posts at locations away from         the Sheriff's Office to conduct an impartial investigation,
plaintiff in order to protect [C.O. Sheppard] from additional      plaintiff's allegations were deemed to be unfounded. (Id.).
false allegations.” (Id. ¶9).                                      C.O. Sheppard has “continued to work effectively as a HCJ
                                                                   C.O. since that date.” (Id.).
Defendants have also submitted the sworn declaration of
Adrienne Aiello in support of their summary judgment               Based on the record presently before this court, plaintiff has
motion. (Declaration of Adrienne Aiello (“Aiello Decl.”))          failed to raise a material question of fact in order to sustain
(Dkt. No. 55-4). In December 2017, C.O. Aiello was                 his sexual abuse claim against C.O. Sheppard. At the outset,
employed as a correctional officer assigned at the HCJ.            plaintiff has failed to satisfy the objective prong of his claim,
(Id. ¶1). C.O. Aiello specifically recalls the events of           whether assessed under the Eighth or Fourteenth Amendment.
December 25, 2017 because they were subject to an “internal        See Horace v. Gibbs, 802 F. App'x 11, 14 (2d Cir. 2020)
investigation conducted by the Sheriff's Office.” (Id. ¶7). At     (“For both the Eighth and Fourteenth Amendments, the
the time in issue, C.O. Aiello was assigned to a post in the       objective prong poses the same standard.”); Bellotto v. Cty.
second floor hallway, from which she could see the hallway         of Orange, 248 F. App'x 232, 235 (2d Cir. 2007) (citing
and also see into the recreation room. (Id.). It was C.O.          the “objectively, sufficiently serious” standard and writing
Aiello's responsibility to observe the inmates in the recreation   that “[w]e apply the same standard of law to excessive force
room, operate the secure door between the rooms and the            claims brought by pretrial detainees, which arise under the
hallways, and observe activities in the hallway. (Id.). It was     Fourteenth Amendment rather than the Eighth.”). In order
a routine security practice to subject any inmate transported      to survive summary judgment, plaintiff must establish a
to or from a group activity to a pat search, in order to control   material question of fact as to whether C.O. Sheppard acted
and prevent the transfer of contraband. (Id.). In accordance       in a manner objectively “sufficiently severe or serious” to
with that security practice, C.O. Aiello observed C.O. Minosh      “constitute conduct that was sufficiently harmful enough to
and C.O. Sheppard place three inmates against the wall,            offend contemporary standards of decency.” Gilliam, 2019
one of which was plaintiff. (Id.). She then observed C.O.          WL 3716545, at *10. At most, plaintiff has established
Sheppard conduct a pat search of the three inmates under           that during the course of a routine pat search, which was
the supervision of C.O. Minosh, the more senior correctional       undisputedly warranted, C.O. Sheppard rubbed plaintiff's
officer. (Id.). C.O. Aiello did not hear anything that was said    chest and squeezed his right buttock for between five to ten
to, or by, any of the inmates searched by C.O. Sheppard. (Id.).    seconds. Despite plaintiff's initial allegations, his subsequent
She did not observe anything unusual about the manner or           sworn testimony reflects that C.O. Sheppard did not say
duration of the pat searches completed by C.O. Sheppard.           anything to plaintiff during the encounter. Plaintiff also
(Id.). C.O. Aiello “did not say anything” to the inmates while     concedes that some contact with his chest and buttock is
they were being searched. (Id.). She observed the pat search       the sort to be expected during a pat search, and which he
performed by C.O. Sheppard of plaintiff to be “similar to the      had experienced to some extent during searches performed
hundreds of routine pat searches she had observed by male          by other correctional officers. Even construing the facts in
C.O.s in the HCJ.” (Id.).                                          a light most favorable to plaintiff, 3 the events as described
                                                                   by him are “too similar to the type of incidental contact
 *12 Last, defendants have submitted the declaration of            accompanying a run-of-the-mill pat down to reasonably infer
Sheriff Scott Scherer in support of their motion for summary       any inappropriate touching or malicious intention.” Cole
judgment. (Declaration of Sheriff Scott Scherer (“Scherer          v. Suffolk Cty. Corr. Facility, No. 20-CV-1883, 2020 WL



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2113205, at *4 (E.D.N.Y. May 4, 2020) (dismissing pretrial                 decided Crawford, wherein the court indicated that
detainee's sexual assault claim alleging that deputy, while                “while the standard articulated in Boddie remains
performing a frisk, “grop[ed] my penis and scrotum and then                the same, its applicability must change as the basic
br[ought] his forearm into my scrotum”).                                   mores of society change.” Crawford v. Cuomo, 796
                                                                           F.3d 252, 260 (2d Cir. 2015) (punctuation omitted).
3                                                                          “Accordingly, conduct that might not have been
       C.O. Sheppard denies that he ever came into
       contact with plaintiff's buttock during the subject                 seen to rise to the severity of an Eighth Amendment
       pat search. (Plaintiff's Opp. at CM/ECF p. 22).                     violation 18 years ago may now violate community
                                                                           standards of decency, and for that reason” the
Moreover, courts in this district have dismissed sexual abuse              Second Circuit surmised that the officers’ conduct
claims that alleged either equivalent or more serious conduct              in Boddie would flunk its own test today. Id.
than that attributed to C.O. Sheppard in this case, even
                                                                    *13 There is, furthermore, no evidence that plaintiff suffered
post-Crawford. 4 See Hernandez v. Oswinski, No. 18 CV
                                                                   injuries from the pat search, other than his conclusory
7365, 2019 WL 4274377, at *2 (S.D.N.Y. Sept. 10, 2019)
                                                                   allegation that he was “humiliated” and “shamed” by C.O.
(correctional officers alleged to have “tapped” plaintiff on the
                                                                   Sheppard, and suffers “mental anxiety” as a result. (Compl.
buttock during one search, and “touched his private parts”
                                                                   ¶36). See Washington v. Fitzpatrick, No. 20 CV 911, 2021
during another); Perez v. Ponte, 236 F. Supp. 3d 590, 618
                                                                   WL 966085, at *4 (S.D.N.Y. Mar. 15, 2021) (plaintiff failed
(E.D.N.Y. Feb. 14, 2017) (plaintiff alleged that correctional
                                                                   to satisfy objective prong of sexual abuse claim where no
officer put his hand between the plaintiff's buttocks during a
                                                                   physical injuries were sustained and plaintiff offered “no
strip search and then removed his fingers and told the plaintiff
                                                                   factual allegations to suggest that [the] pat frisk was not
that he “smelled sweet”); Dozier v. Franco, No. 17-CV-3348,
                                                                   ‘incidental to legitimate official duties’ ”). Accordingly,
2018 WL 3094935, at *3 (S.D.N.Y. June 22, 2018) (while
                                                                   plaintiff has not adduced sufficient evidence that C.O.
being pat frisked before walking to recreation, correctional
                                                                   Sheppard's conduct was sufficiently harmful enough to offend
officer “squeezed, grabbed, and fondled” plaintiff's “genital
                                                                   contemporary standards of decency in order to satisfy the
area twice”); Bey v. Griffin, No. 16 CV 3807, 2017 WL
                                                                   objective prong of his sexual abuse claim. See Crawford
5991791, at *3 (S.D.N.Y. Dec. 1, 2017) (during pat frisk,
                                                                   v. Cuomo, 796 F.3d at 256 (To state a claim for sexual
correctional officer's hands were “in [plaintiff's] pants,” and
                                                                   abuse, an inmate plaintiff “must allege that the conduct was
that he felt him “up in down” and touched his “private parts”).
                                                                   objectively ‘harmful enough’ or ‘sufficiently serious’ to reach
                                                                   constitutional dimensions.”).
4
       Prior to 2015, the standard set forth in Boddie
       v. Schnieder, 105 F.3d 857, 861 (2d Cir. 1997)              With respect to the mens rea prong of plaintiff's sexual
       governed Eighth Amendment claims arising from               abuse claim, plaintiff has not advanced more than conclusory
       sexual abuse in prison. “Although Boddie held that          evidence of overtly sexual comments or conduct from which
       inmate sexual abuse could, in principle, violate            this court could adduce that C.O. Sheppard acted with an
       the Eighth Amendment, it concluded that a ‘small            intent to gratify his own sexual desire, or to humiliate plaintiff.
       number of incidents in which the plaintiff allegedly        In an effort to overcome summary judgment, plaintiff has
       was verbally harassed, touched, and pressed against         produced the voluntary statement of C.O. Sheppard, which
       without his consent’ were insufficient to state a           was apparently prepared by the Herkimer County Sheriff's
       claim.” Crawford v. Cuomo, 721 Fed. App'x 57, 59            Office in conjunction with its internal investigation of
       (2d Cir. 2018)(quoting Boddie, 105 F.3d at 861).            plaintiff's allegations of sexual abuse. (Pl.’s Opposition Ex.
       Thus, “the court [in Boddie] held that the plaintiff's      A at CM/ECF p. 22) (Dkt. No. 69-1). C.O. Sheppard's
       Eighth Amendment rights were not violated where             description of the pat search in his voluntary statement
       the plaintiff claimed a corrections officer ‘made           generally aligns with that contained in the declaration he
       a pass’ at him, squeezed [his] hand, touched his            has since submitted in support of the defendants’ motion.
       penis, called him a ‘sexy black devil,’ and pressed         However, in his voluntary statement to the Sheriff's Office,
       her breasts to his chest and her vagina to his              C.O. Sheppard additionally asserts:
       penis.” Williams v. Cmty. Sols., Inc., 932 F. Supp.
       2d 323, 330 (D. Conn. 2013) (quoting Boddie, 105
       F.3d at 859). However, in 2015 the Second Circuit



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                                                                   *14 Moreover, the parties do not dispute that C.O. Sheppard
                                                                  had a legitimate, penological basis for conducting the pat
               As far as comments made regarding                  search of plaintiff before he was transported to another
               sexual acts, I have made comments,                 area within the HCJ. Thus, the court finds that plaintiff has
               both to inmates and C.O.s, in joking               adduced only conclusory allegations that, based on prior
               manners in the past. This is something             inappropriate comments made by C.O. Sheppard, and the
               that does occur as people are standing             discomfort plaintiff felt around him, C.O. Sheppard obtained
               around joking. I may have made                     some sexual gratification from the December 25, 2017 pat
               comments to [plaintiff] in the past, but           search. See Grant v. Norfleett, No. 17-CV-328, 2017 WL
               don't recall specific comments made to             1902150, at *3 (D. Conn. May 9, 2017) (“[T]he Complaint
               him.                                               includes only a conclusory allegation that the defendants
                                                                  conducted the search for their own sexual gratification, and
                                                                  an assertion that on occasions after the plaintiff was strip
                                                                  searched, the defendants ‘watched him like a piece of meat.’
(Id.).
                                                                  ”); Lewis v. Huebner, 2020 WL 1244254, at *9 (pretrial
Although not in direct conflict with his sworn declaration        detainee did not meet subjective prong of sexual abuse
prepared for purposes of the pending motion, C.O. Sheppard's      claim where she did not allege any overtly sexual comments
admission casts some doubt on his purported aversion              or conduct; “rather, she simply asserts knowledge of [the
                                                                  defendant's] intent and state of mind in conclusory fashion”);
to “joking around” with inmates during pat searches. 5
                                                                  compare Wiley v. Kirkpatrick, 801 F.3d 51, 56-57, 61, 69-70
(Sheppard Decl. ¶8). Notwithstanding, C.O. Sheppard's
                                                                  (2d Cir. 2015) (vacating district court's order dismissing
remote history of making sexually charged jokes to the
                                                                  harassment claim based on allegation that correction officer
plaintiff and other inmates on prior, separate occasions,
                                                                  “lick[ed] his lips” and “bl[ew] kisses” toward plaintiff
however reprehensible considering his position of authority,
                                                                  inmate while plaintiff was showering). Accordingly, the court
does not suffice to create a material question of fact as
                                                                  recommends that plaintiff's claim of sexual abuse against C.O.
to his intentions during the subject pat search of plaintiff.
                                                                  Sheppard be dismissed.
In his complaint, plaintiff alleges that C.O. Sheppard was
making “low sounds” during the pat search, from which
                                                                  Based on my recommendation that defendants’ motion for
plaintiff extrapolated that C.O. Sheppard was obtaining
                                                                  summary judgment be granted with respect to plaintiff's
some sexual gratification from the incident. However, in his
                                                                  sexual abuse claim against C.O. Sheppard, “it follows that
subsequent, sworn testimony, plaintiff conceded that C.O.
                                                                  the claim against [C.O. Aiello] for failure to intervene is
Sheppard did not speak to him at all during the search.
                                                                  moot.” Maxwell v. Miller, No. 9:16-CV-0275(LEK/DEP),
See Medina v. Angrignon, No. 15-CV-427-A, 2021 WL
                                                                  2018 WL 3095834, at *7 (N.D.N.Y. May 21, 2018), report
1817046, at *7 (W.D.N.Y. May 6, 2021) (quoting Thomas
                                                                  and recommendation adopted, 2018 WL 3069210 (N.D.N.Y.
v. Westchester Cty. Health Care Corp., 232 F. Supp. 2d
                                                                  June 21, 2018) (citing Holland v. City of N.Y., 197 F. Supp.
273, 279 (S.D.N.Y. 2002)) (“Faced with [a] confounding
                                                                  3d 529, 549 (S.D.N.Y. 2016)) (discussing that, if an officer's
contradiction [between plaintiff's allegations in her complaint
                                                                  conduct does not violate a constitutional right, the analysis
and her sworn testimony], the Court has no basis for accepting
                                                                  ends, because failure to intervene claims are contingent upon
as true the vague statements in [the] [c]omplaint as opposed to
                                                                  the underlying claims); see also Sankara v. Plaskett, No.
[plaintiff's] sworn testimony....”). There is no other evidence
                                                                  15-CV-8470, 2017 WL 4444250, at *5 (S.D.N.Y. Oct. 4,
before this court of any overtly sexual actions or comments
                                                                  2017) (“Failure to intervene claims are contingent upon the
contemporaneously made by C.O. Sheppard.
                                                                  disposition of the primary claims underlying the failure to
                                                                  intervene claim.”). Accordingly, because the court finds that
5         As does the statement of C.O. Sheppard's                plaintiff has not established a constitutional violation against
          coworker, who apparently made comments to               C.O. Sheppard, the claim against C.O. Aiello necessarily
          plaintiff, such as “do you want [C.O.] Sheppard to      fails. 6
          cuddle with you,” as a “joke,” within days after the
          subject pat search. (Pl.’s Opposition at CM/ECF p.      6
          23).                                                               Plaintiff contends that video footage from the
                                                                             “2 North Camera” inside of the HCJ, recorded


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      on December 25, 2017 between 6:35 p.m. and
                                                                Pursuant to 28 U.S.C. § 636(b)(1), the parties have 14 days
      6:40 p.m., shows that C.O. Aiello was “standing
                                                                within which to file written objections to the foregoing report.
      alongside” C.O. Sheppard and observed C.O.
                                                                Such objections shall be filed with the Clerk of the Court.
      Sheppard sexually abuse plaintiff. The court has
                                                                FAILURE TO OBJECT TO THIS REPORT WITHIN
      had an opportunity to view this video footage, as
                                                                14 DAYS WILL PRECLUDE APPELLATE REVIEW.
      was submitted by the defendants in their reply
      papers. (Defendants’ Reply Declaration Ex. O)             Roldan v. Racette, 984 F.2d 85 (2d Cir. 1993) (citing Small v.
      (Dkt. No. 72). The relevant video footage, however,       Secretary of Health and Human Services, 892 F.2d 15 (2d Cir.
      does not depict C.O. Aiello, nor does it capture          1989)); 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72, 6(a), 6(e).
      C.O. Sheppard's pat search of plaintiff in any
      respect.                                                  All Citations
WHEREFORE, based on the findings above, it is
                                                                Not Reported in Fed. Supp., 2022 WL 866745
RECOMMENDED, that defendants’ motion for summary
judgment (Dkt. No. 55) be GRANTED, and the complaint
DISMISSED IN ITS ENTIRETY WITH PREJUDICE.

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                                                                   For the reasons set forth below, the motion is GRANTED IN
                                                                   PART and DENIED IN PART.
      KeyCite Yellow Flag - Negative Treatment
Distinguished by Russell v. Scott, D.Vt., April 10, 2024
                                                                   The Court has subject matter jurisdiction pursuant to 28
                                                                   U.S.C. § 1331.
                     2020 WL 3001072
       Only the Westlaw citation is currently available.
        United States District Court, S.D. New York.
                                                                                        BACKGROUND
                  Kouriockein VANN, Plaintiff,
                                v.                                 Defendants have submitted memoranda of law, a statement of
               Correction Officer Y. SUDRANSKI                     material facts pursuant to Local Civil Rule 56.1, declarations,
               and Lieutenant S. Hann, Defendants.                 and supporting exhibits. Plaintiff has submitted memoranda
                                                                   of law with an incorporated statement of material facts,
                         16 CV 7367 (VB)                           and a collection of documents in support of his position.
                                 |                                 Together, the parties’ submissions reflect the following
                         Signed 06/04/2020                         factual background.

Attorneys and Law Firms                                            On July 12, 2015, in a Green Haven recreational yard, a
                                                                   fight broke out between two inmates, during which one of
Kouriokein Vann, Fallsburg, NY, pro se.
                                                                   the two inmates sustained a laceration to his left arm. On-
Jennifer Rose Gashi, State of New York Office of the               duty medical personnel determined the injury was caused by
Attorney General, White Plains, NY, Neil Shevlin, New York         an unrecovered weapon. Thereafter, for safety and security
State Office of the Attorney General, New York, NY, for            reasons, the yard was ordered closed and several Green Haven
Defendants.                                                        officers performed pat frisks on all inmates who were in
                                                                   the yard, including plaintiff, in an attempt to recover any
                                                                   weapons.

                   OPINION AND ORDER
                                                                   C.O. Sudranski was tasked with frisking plaintiff and several
Briccetti, J.:                                                     other inmates who were in the yard. According to plaintiff,
                                                                   upon patting plaintiff's clothed inner and outer legs, C.O.
 *1 Plaintiff Kouriockein Vann, proceeding pro se and              Sudranski “struck plaintiff forcefully with a ‘reverse karate
in forma pauperis, brings this action under 42 U.S.C. §            chop’ to his testicle and groin area, and then, reached around
1983, alleging Correction Officer (“C.O.”) Y. Sudranski and        and groped plaintiff's penis.” (Doc. #158 (“Pl. Mem.”) at
Lieutenant (“Lt.”) S. Hann, employees of the New York State        1). Plaintiff says C.O. Sudranski told plaintiff to walk to his
Department of Corrections and Community Supervision,               housing block following the pat frisk.
violated plaintiff's Eighth Amendment rights while he was
incarcerated at Green Haven Correctional Facility (“Green          C.O. Sudranski denies using excessive force against plaintiff,
           1                                                       assaulting plaintiff, or touching plaintiff in an inappropriate
Haven”).
                                                                   manner. According to C.O. Sudranski, the frisk was
1                                                                  performed without incident, after which plaintiff walked to
        Plaintiff also brought claims against several other
                                                                   his housing block.
        Green Haven employees. By Opinion and Order
        dated December 20, 2017, the Court dismissed
                                                                   Lt. Hann supervised the frisks on July 12, 2015, which were
        those claims and terminated those defendants from
                                                                   performed by several correction officers. Plaintiff claims
        this action. (Doc. #64).
                                                                   that while walking toward his housing block, he attempted
Before the Court is defendants’ motion for summary                 to speak with Lt. Hann about C.O. Sudranski's alleged
judgment. (Doc. #145).                                             misconduct. According to plaintiff, C.O. Sudranski then
                                                                   shouted: “[Y]ou can't stop and talk to her. You must proceed
                                                                   back to your block.” (Pl. Mem. at 2). Plaintiff acknowledges



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Lt. Hann did not directly participate in the frisk of plaintiff,     A dispute about a material fact is genuine if there is sufficient
and that because Lt. Hann was supervising several officers           evidence upon which a reasonable jury could return a verdict
conducting frisks, plaintiff does not know whether Lt. Hann          for the non-moving party. See Anderson v. Liberty Lobby,
witnessed C.O. Sudranski's allegedly improper frisk.                 Inc., 477 U.S. at 248. The Court “is not to resolve disputed
                                                                     issues of fact but to assess whether there are any factual issues
 *2 Plaintiff claims that after he returned to his housing unit,     to be tried.” Wilson v. Nw. Mut. Ins. Co., 625 F.3d 54, 60
he told non-party C.O. Blackmon about the incident with              (2d Cir. 2010). It is the moving party's burden to establish the
C.O. Sudranski, and that C.O. Blackmon then told Lt. Hann.           absence of any genuine issue of material fact. Zalaski v. City
According to plaintiff, Lt. Hann instructed C.O. Blackmon to         of Bridgeport Police Dep't, 613 F.3d 336, 340 (2d Cir. 2010).
provide plaintiff a sick call slip so that plaintiff could be seen
by medical personnel. Plaintiff was evaluated by a nurse the         If the non-moving party fails to make a sufficient showing
following day, July 13, 2015.                                        on an essential element of his case on which he has the
                                                                     burden of proof, then summary judgment is appropriate.
According to plaintiff, upon speaking with C.O. Blackmon             Celotex Corp. v. Catrett, 477 U.S. at 322–23. If the non-
on July 12, 2015, and learning of plaintiff's complaints, Lt.        moving party submits “merely colorable” evidence, summary
Hann should have interviewed plaintiff immediately, created          judgment may be granted. Anderson v. Liberty Lobby, Inc.,
a report of the incident, and sent plaintiff for a medical           477 U.S. at 249–50. The non-moving party “must do more
evaluation.                                                          than simply show that there is some metaphysical doubt as to
                                                                     the material facts, and may not rely on conclusory allegations
On July 20, 2015, plaintiff submitted a grievance respecting         or unsubstantiated speculation.” Brown v. Eli Lilly & Co., 654
C.O. Sudranski's alleged misconduct. Plaintiff wrote: “C.O.          F.3d 347, 358 (2d Cir. 2011). The mere existence of a scintilla
Sudranski deliberately hit me in the testicle area. Then, [h]e       of evidence in support of the non-moving party's position is
fondled my groin area in the front with his left hand. Causing       likewise insufficient; there must be evidence on which the
great discomfort and pain. I tried to speak with the Lieutenant      jury reasonably could find for him. Dawson v. County of
on [s]ite. But was immediately told to keep going, there's no        Westchester, 373 F.3d 265, 272 (2d Cir. 2004).
stopping.” (Doc. #148 (“Gashi Decl.”) Ex. C at 1).
                                                                     On summary judgment, the Court construes the facts, resolves
                                                                     all ambiguities, and draws all permissible factual inferences
                                                                     in favor of the non-moving party. Dallas Aerospace, Inc. v.
                        DISCUSSION
                                                                     CIS Air Corp., 352 F.3d 775, 780 (2d Cir. 2003). If there is any
I. Standard of Review                                                evidence from which a reasonable inference could be drawn
The Court must grant a motion for summary judgment if                in the non-movant's favor on the issue on which summary
the pleadings, discovery materials before the Court, and any         judgment is sought, summary judgment is improper. Sec. Ins.
affidavits show there is no genuine issue as to any material         Co. of Hartford v. Old Dominion Freight Line, Inc., 391 F.3d
fact and it is clear the moving party is entitled to judgment as     77, 83 (2d Cir. 2004).
a matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett,
477 U.S. 317, 322 (1986).                                             *3 In deciding a motion for summary judgment, the Court
                                                                     need consider only evidence that would be admissible at
A fact is material when it “might affect the outcome of the suit     trial. Nora Beverages, Inc. v. Perrier Grp. of Am., Inc., 164
under the governing law.... Factual disputes that are irrelevant     F.3d 736, 746 (2d Cir. 1998). The burden to proffer evidence
or unnecessary” are not material and thus cannot preclude            admissible pursuant to the Federal Rules of Evidence applies
summary judgment. Anderson v. Liberty Lobby, Inc., 477               “equally to pro se litigants.” Varughese v. Mt. Sinai Med. Ctr.,
                                                                     2015 WL 1499618, at *4 (S.D.N.Y. Mar. 27, 2015) (citing
U.S. 242, 248 (1986). 2
                                                                     Holtz v. Rockefeller & Co., 258 F.3d 62, 73 (2d Cir. 2001)). 3
2                                                                    Accordingly, bald assertions, completely unsupported by
        Unless otherwise indicated, case quotations omit
                                                                     admissible evidence, are not sufficient to overcome summary
        all internal citations, quotations, footnotes, and
                                                                     judgment. Carey v. Crescenzi, 923 F.2d 18, 21 (2d Cir. 1991).
        alterations.




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3                                                                  v. Goord, 554 F.3d at 268. “The test of whether use of force
       Plaintiff will be provided copies of all unpublished
                                                                   in prison constitutes excessive force contrary to the Eighth
       opinions cited in this decision. See Lebron v.
                                                                   Amendment is whether the force was used in a good-faith
       Sanders, 557 F.3d 76, 79 (2d Cir. 2009).
                                                                   effort to maintain or restore discipline, or maliciously and
                                                                   sadistically to cause harm.” Scott v. Coughlin, 344 F.3d 282,
II. Excessive Force Claim
                                                                   291 (2d Cir. 2003) (citing Hudson v. McMillian, 503 U.S. at
Defendants argue plaintiff fails as a matter of law to establish
                                                                   7).
an Eighth Amendment excessive force claim with respect to
C.O. Sudranski's pat frisk of plaintiff.                               To determine whether defendants acted maliciously or
                                                                       wantonly, a court must examine several factors including:
The Court agrees inasmuch as plaintiff alleges an excessive            the extent of the injury and the mental state of the
force claim against Lt. Hann, but disagrees as to plaintiff's          defendant, as well as “the need for the application of force;
excessive force claim against C.O. Sudranski.                          the correlation between that need and the amount of force
                                                                       used; the threat reasonably perceived by the defendants;
                                                                       and any efforts made by the defendants to temper the
   A. Legal Standard
                                                                       severity of a forceful response.”
There are two components to a claim of cruel and unusual
punishment in violation of the Eighth Amendment: one               *4 Id. (quoting Romano v. Howarth, 998 F.2d 101, 105 (2d
objective and one subjective. Wright v. Goord, 554 F.3d 255,       Cir. 1993)).
268 (2d Cir. 2009). The objective inquiry focuses on the harm
done in light of “contemporary standards of decency.” Wright
v. Goord, 554 F.3d at 268 (quoting Hudson v. McMillian,               B. C.O. Sudranski
503 U.S. 1, 8 (1992)). An inmate must show “the alleged            There are genuine issues of material fact as to whether C.O.
wrongdoing was objectively ‘harmful enough’ to establish a         Sudranski used excessive force while performing a pat frisk
constitutional violation.” Id. (quoting Hudson v. McMillian,       on plaintiff on July 12, 2015. With respect to the first prong
503 U.S. at 8). “But when prison officials use force to cause      of the Eighth Amendment analysis, plaintiff has presented
harm maliciously and sadistically, ‘contemporary standards         evidence that the alleged wrongdoing was objectively
of decency always are violated.... This is true whether or not     harmful. Indeed, plaintiff testified at his deposition that during
significant injury is evident.’ ” Id. at 268–69 (quoting Hudson    the frisk, C.O. Sudranski “forcibly reverse[ ] karate chopped
v. McMillian, 503 U.S. at 9).                                      and hit me in my groin, my testicles and then he leaned
                                                                   on my back with his right arm and he reached with his
                                                                   left hand around and fondled my groin area and shook
             Although not every push or shove,                     it.” (See Doc. # 148-2 (“Pl. Dep.”) at 40). Plaintiff further
             even if it may later seem unnecessary                 testified he told C.O. Blackmon about the alleged incident
             in the peace of a judge's chambers,                   immediately after it occurred (id. at 44), and on July 20,
             violates a prisoner's constitutional                  2015, plaintiff filed a grievance respecting C.O. Sudranski's
             rights, a showing of extreme injury                   alleged misconduct. (See Doc. #148-3). Moreover, attached
             is not required to bring an excessive                 to plaintiff's opposition are records of plaintiff's complaints
             force claim if the alleged conduct                    to medical personnel of testicular pain following the incident,
             involved unnecessary and wanton                       one of which, dated July 13, 2015—the day after the frisk—
             infliction of pain.                                   notes tenderness in plaintiff's testicles and minor trauma. (Pl.
                                                                   Mem. at ECF 62). 4 Whether plaintiff's story is true is for a
                                                                   jury to determine.
Toliver v. N.Y.C. Dep't of Corr., 202 F. Supp. 3d 328, 334–
35 (S.D.N.Y. 2016).                                                4        Citations to “ECF __” refer to page numbers
                                                                            automatically assigned by the Court's Electronic
To establish the subjective inquiry, an inmate must show the                Case Filing system.
defendant “had the necessary level of culpability, shown by
                                                                   Defendants nevertheless argue the record evidence
actions characterized by ‘wantonness’ in light of the particular
                                                                   demonstrates C.O. Sudranski's use of force was de minimis
circumstances surrounding the challenged conduct.” Wright


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and applied for the legitimate, penological purpose of
performing a routine pat frisk to ensure safety and maintain
order at Green Haven. Even still, the material factual                             Supervisor liability under § 1983
dispute respecting what occurred on July 12, 2015, precludes                       can be shown in one or more of
summary judgment in C.O. Sudranski's favor. Defendants                             the following ways: (1) actual direct
would have the Court overlook plaintiff's testimony and                            participation in the constitutional
instead rely only on defendants’ factual recitation of the                         violation, (2) failure to remedy a
incident—that the force used was de minimis and appropriate                        wrong after being informed through
under the circumstances. But “as a general rule, a district                        a report or appeal, (3) creation of
court may not discredit a witness's deposition testimony on                        a policy or custom that sanctioned
a motion for summary judgment, because the assessment of                           conduct amounting to a constitutional
a witness's credibility is a function reserved for the jury.”                      violation, or allowing such a policy
Fincher v. Depository Tr. & Clearing Corp., 604 F.3d 712, 725                      or custom to continue, (4) grossly
(2d Cir. 2010). Again, plaintiff's credibility is a jury question.                 negligent supervision of subordinates
                                                                                   who committed a violation, or
With respect to the subjective prong of the inquiry, a triable                     (5) failure to act on information
issue of fact exists regarding whether the alleged force was                       indicating that unconstitutional acts
used in a good-faith effort to conduct a routine frisk, or                         were occurring.
maliciously and sadistically to cause harm. The record is
devoid of evidence suggesting C.O. Sudranski needed to use
any amount of force to maintain plaintiff's compliance during         Richardson v. Goord, 347 F.3d 431, 435 (2d Cir. 2003)
the frisk, or evidence suggesting plaintiff failed to follow
                                                                      (citing Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995)). 5
C.O. Sudranski's orders during same. In other words, there
                                                                      Moreover, Section 1983 liability cannot be predicated on a
appears to have been no need for C.O. Sudranski to employ a
                                                                      theory of respondeat superior. See City of Canton v. Harris,
forceful strike or motion during the frisk, if in fact that is what
                                                                      489 U.S. 378, 385 (1989). Indeed, “[t]he bare fact that
he did. Moreover, defendants do not convincingly suggest
                                                                      [a defendant] occupies a high position in the New York
that such force, if used, would have been justified under the
                                                                      prison hierarchy is insufficient to sustain [a] claim.” Colon v.
circumstances.
                                                                      Coughlin, 58 F.3d at 874.
 *5 Instead, defendants contend no reasonable jury could find
                                                                      5
that C.O. Sudranski's alleged use of force was malicious or                  After Ashcroft v. Iqbal, district courts within the
sadistic because he and plaintiff had no prior relationship,                 Second Circuit have been divided as to whether
and because C.O. Sudranski was unaware plaintiff took                        claims alleging personal involvement under the
issue with the frisk when it occurred. This argument fails.                  second, fourth, and fifth of these factors remain
First, it presupposes that an excessive force claim cannot                   viable. See Marom v. City of New York, 2016 WL
lie absent retaliatory intent, and second, it inappropriately                916424, at *15 (S.D.N.Y. Mar. 7, 2016) (collecting
deflects focus of the inquiry to plaintiff's reaction to the                 cases). The Second Circuit has yet to resolve this
allegedly unconstitutional conduct.                                          dispute. Id.
                                                                      Here, plaintiff concedes Lt. Hann did not directly participate
In short, genuine issues of material fact preclude summary            in the frisk conducted by C.O. Sudranski. In fact, according
judgment on the excessive force claim against C.O.                    to plaintiff, he (plaintiff) attempted to discuss the incident
Sudranski.                                                            with Lt. Hann after the incident had occurred. Accordingly,
                                                                      because Lt. Hann had no personal involvement in the alleged
                                                                      constitutional violation, she is entitled to summary judgment
  C. Lt. Hann
                                                                      on the excessive force claim.
“[P]ersonal involvement of defendants in alleged
constitutional deprivations is a prerequisite to an award of
damages under Section 1983.” Wright v. Smith, 21 F.3d 496,            III. Sexual Abuse Claim
501 (2d. Cir. 1994).



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Defendants next argue plaintiff, as a matter of law, cannot         The Court agrees.
establish an Eighth Amendment sexual abuse claim against
C.O. Sudranski.                                                     “[A]ll law enforcement officials have an affirmative duty
                                                                    to intervene to protect the constitutional rights of citizens
The Court agrees.                                                   from infringement by other law enforcement officers in their
                                                                    presence.” Anderson v. Branen, 17 F.3d 552, 557 (2d Cir.
“Instances of sexual contact by prison officials violate            1994). “Failure to intercede results in liability where an
the constitution if they disturb ‘contemporary standards of         officer observes excessive force is being used or has reason
decency’ and are ‘objectively, sufficiently serious enough.”        to know that it will be.” Jean-Laurent v. Wilkerson, 461 F.
Cole v. Suffolk Cty. Corr. Facility, 2020 WL 2113205, at            App'x 18, 21 (2d Cir. 2012) (summary order) (citing Curley v.
*3 (E.D.N.Y. May 4, 2020) (quoting Boddie v. Schneider,             Village of Suffern, 268 F.3d 65, 72 (2d Cir. 2001)). “However,
105 F.3d 857, 861 (2d Cir. 1997)). “In determining whether          ‘in order for liability to attach, there must have been a realistic
an Eighth Amendment violation has occurred, the principal           opportunity to intervene to prevent the harm from occurring.’
inquiry is whether the contact is incidental to legitimate          ” Id. (citing Anderson v. Branen, 17 F.3d at 557).
official duties, such as a justifiable pat frisk or strip search,
or by contrast whether it is undertaken to arouse or gratify        Here, the record evidence, including plaintiff's testimony,
the officer or humiliate the inmate.” Crawford v. Cuomo,            demonstrates the complained-of force involved, at most, “one
796 F.3d 252, 258 (2d Cir. 2015) (citing Whitley v. Albers,         strike” to plaintiff's groin area. (See Pl. Dep. at 85; see also
475 U.S. 312, 320–21 (1986)). Courts in the Second Circuit          Pl. Mem. at 1 (“Sudranski struck plaintiff forcefully with a
have consistently held that “brief contact with an arrestee's ...   ‘reverse karate chop’ to his testicle and groin area.”)). The
genital area during a pat-down, without more, is insufficient”      evidence does not support any claim that Lt. Hann witnessed
to state a constitutional claim. Scalpi v. Amorim, 2018 WL          the allegedly unlawful conduct, encouraged or acquiesced in
1606002, at *18 (S.D.N.Y. Mar. 29, 2018) (collecting cases).        such conduct, or had a realistic opportunity to prevent the
                                                                    alleged use of excessive force from occurring.
 *6 Here, the undisputed record evidence demonstrates C.O.
Sudranski made, at most, brief contact with plaintiff's genital     For these reasons, Lt. Hann is entitled to summary judgment
area during a routine and necessary pat frisk. “Slight contact      on this claim. 6
of this sort is to be expected during a frisk,” Cole v. Suffolk
Cty. Corr. Facility, 2020 WL 2113205, at *4, and is inherent        6       Because plaintiff's failure to intervene claim
in an officer's pat-down of an inmate's person to search
                                                                            against Lt. Hann fails as a matter of law, the Court
for contraband. The undisputed evidence demonstrates the
                                                                            need not address whether plaintiff exhausted this
contact was not lengthy, and plaintiff's legs, pelvic, and groin
                                                                            claim.
areas were clothed during the frisk. Moreover, the frisk was
conducted in the presence of several other officers, inmates,
and at least one supervisor, and was incidental to legitimate       V. Qualified Immunity
penological duties. Simply, there is no evidence to suggest         Finally, C.O. Sudranski argues that, to the extent the record
C.O. Sudranski frisked plaintiff in a sexually inappropriate        supports an Eighth Amendment excessive force claim,
manner, even though, as noted above, there is a material issue      such claim should be dismissed on the basis of qualified
of fact respecting the amount of force C.O. Sudranski used          immunity. 7
during the frisk.
                                                                    7       Because plaintiff's claims against Lt. Hann fail as a
Thus, defendants are entitled to summary judgment on the                    matter of law, the Court need not address whether
sexual abuse claim.                                                         Lt. Hann is entitled to qualified immunity.
                                                                    The Court disagrees.
IV. Failure to Intervene Claim
Defendants further argue plaintiff, as a matter of law, cannot      Qualified immunity shields government officials whose
establish an Eighth Amendment failure to intervene claim            conduct “does not violate clearly established statutory or
against Lt. Hann.                                                   constitutional rights of which a reasonable person would have
                                                                    known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).


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                                                                      by forcefully striking plaintiff in the groin during a routine
The scope of qualified immunity is broad, and it protects
                                                                      pat frisk.
“all but the plainly incompetent or those who knowingly
violate the law.” Malley v. Briggs, 475 U.S. 335, 341 (1986).
                                                                      Accordingly, factual issues preclude summary judgment in
“A qualified immunity defense is established if (a) the
                                                                      favor of C.O. Sudranski on basis of qualified immunity.
defendant's action did not violate clearly established law, or
(b) it was objectively reasonable for the defendant to believe
that his action did not violate such law.” Salim v. Proulx,
93 F.3d 86, 89 (2d Cir. 1996). “Where a factual issue exists                                 CONCLUSION
on the issue of motive or intent, a defendant's motion for
summary judgment on the basis of qualified immunity must              The motion for summary judgment is GRANTED IN PART
fail.” Johnson v. Ganim, 342 F.3d 105, 117 (2d Cir. 2003); see        and DENIED IN PART.
also Atkins v. County of Orange, 372 F. Supp. 2d 377, 403–04
(S.D.N.Y. 2005) (precluding summary judgment on defense               Plaintiff's Eighth Amendment excessive force claim against
of qualified immunity as to plaintiff's excessive force claim),       C.O. Sudranski shall proceed. All other claims are dismissed.
aff'd sub nom. Bellotto v. County of Orange, 248 F. App'x 232
(2d Cir. 2007) (amended summary order).                               Plaintiff and defense counsel are directed to appear for a
                                                                      telephone status conference on July 8, 2020, at 11:00 a.m., at
 *7 Here, there is a genuine factual dispute concerning               which time the Court will discuss the scheduling of a trial.
whether C.O. Sudranski used excessive force against plaintiff         Defense counsel shall make all necessary arrangements for
during the July 12, 2015, frisk. Plaintiff's Eighth Amendment         plaintiff to appear by telephone. Plaintiff and defense counsel
right to be free from the use of excessive force was clearly          shall attend the conference by calling the following number
established at the time of the allegedly unlawful conduct,            and entering the access code when requested:
and it would not have been objectively reasonable for C.O.
Sudranski to have believed he could lawfully violate that right
 Dial-In Number:                                         (888) 363-4749 (toll free) or (215) 446-3662
 Access Code:                                            1703567

The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that
                                                                      SO ORDERED.
any appeal from this order would not be taken in good
faith, and therefore in forma pauperis status is denied for the
purpose of an appeal. See Coppedge v. United States, 369 U.S.         All Citations
438, 444–45 (1962).
                                                                      Not Reported in Fed. Supp., 2020 WL 3001072
The Clerk is instructed to terminate the motion (Doc. #145)
and terminate Lt. Hann as a defendant in this action.

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                                                                  on March 5, 2018, and during the days that followed, as a
                    2019 WL 6343516                               pre-trial detainee. On March 5, 2018, at approximately 5:45
      Only the Westlaw citation is currently available.           a.m. while in the “E-2 Dormitory” of the facility, Plaintiff was
       United States District Court, S.D. New York.               subjected to the poking of his groin by C.O. Piper. Plaintiff
                                                                  subsequently filed a grievance which was denied as meritless.
         Kenneth Eric WASHINGTON, Plaintiff,                      Plaintiff seeks to recover $750,000 in damages for mental
                            v.                                    anguish, and he requests that officers receive better training
    C.O. L. PIPER; Sheriff Carl E. DuBois, Defendants.            in preventing sexual assault and managing cases of alleged
                                                                  sexual assault.
                      18 CV 7783 (NSR)
                              |
                      Signed 11/26/2019
                                                                                   STANDARD OF REVIEW
Attorneys and Law Firms
                                                                  Rule 12(b) 6
                                                                  Rule 12(b) 6 provides in relevant part that a party may motion
Kenneth Eric Washington, Goshen, NY, pro se.
                                                                  to dismiss a complaint for “failure to state a claim upon
Karen D. Edelman-Reyes, New York County District                  which relief can be granted.” Fed. R. Civ. P. 12. “To survive a
Attorney's Office, New York, NY, for Defendants.                  motion to dismiss, a complaint must contain sufficient factual
                                                                  matter, accepted as true, to ‘state a claim to relief that is
                                                                  plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678
                    OPINION & ORDER                               (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
                                                                  570 (2007)). In evaluating the sufficiency of a complaint,
NELSON S. ROMÁN, United State District Judge                      “[a] court ‘can choose to begin by identifying pleadings that,
                                                                  because they are no more than conclusions, are not entitled
 *1 Pro se inmate Plaintiff Kenneth Eric Washington               to the assumption of truth.’ ” Hayden v. Paterson, 594 F.3d
(“Plaintiff”) commenced the instant action on August 23,          150, 161 (2d Cir. 2010) (quoting Iqbal, 556 U.S. at 679). “At
2018 asserting 42 U.S.C. § 1983 (“Section 1983”) claims           the second step, a court should determine whether the ‘well-
against Defendants. (ECF No. 2). In his Complaint, Plaintiff      pleaded factual allegations,’ assumed to be true, ‘plausibly
alleges Defendants violated his Eighth Amendment rights           give rise to entitlement to relief.’ ” Hayden, 594 F.3d at 161
against cruel and unusual punishment. Plaintiff asserts direct    (citing Iqbal, 556 U.S. at 679); accord Harris v. Mills, 572
claims against Defendant Correction Officer L. Piper (“C.O.       F.3d 66, 72 (2d Cir. 2009).
Piper”) and supervisory liability claims against Defendant
Sheriff DuBois (“DuBois”). As against DuBois, Plaintiff           “A claim has facial plausibility when the plaintiff pleads
asserts he displayed gross indifference as a supervisor of the    factual content that allows the court to draw the reasonable
correctional facility during the time of the alleged violation.   inference that the defendant is liable for the misconduct
Presently before the Court is Defendants’ motion to dismiss       alleged.” Iqbal, 556 U.S. at 678. “The plausibility standard
the Complaint pursuant to Rule 12(b) 6 of the Federal Rules       is not akin to a probability requirement, but it asks for more
of Civil Procedure. (“Rule 12(b) 6”). (ECF No. 19.) For the       than a sheer possibility that a defendant has acted unlawfully.”
following reasons, Defendants’ motion is Granted.                 Id. (internal quotations omitted). “Where a complaint pleads
                                                                  facts that are merely consistent with a defendant's liability, it
                                                                  stops shorts of the line between possibility and plausibility of
                     BACKGROUND                                   entitlement to relief.” Id. (internal quotations omitted).

For the purposes of this motion, all facts in Plaintiff's          *2 Although documents filed pro se are to be liberally
Complaint are taken as true and are construed in the light most   construed, see Hill v. Curcione, 657 F.3d 116, 122 (2d
favorable to pro se Plaintiff.                                    Cir. 2011), even pro se pleadings “must contain factual
                                                                  allegations sufficient to raise a ‘right to relief above the
Pro se Plaintiff Kenneth Eric Washington (“Plaintiff”) was        speculative level.’ ” Dawkins v. Gonyea, 646 F. Supp.2d 594,
housed at the Orange County Correctional Facility (“Jail”)        603 (S.D.N.Y. 2009), quoting Twombly, 550 U.S. at 555. A



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complaint that “tenders ‘naked assertions’ devoid of ‘further        responsible for a constitutional deprivation, Plaintiff must
factual enhancement’ ” is insufficient. Iqbal, 550 U.S. at 678       demonstrate, inter alia, the defendant's personal involvement.
quoting Twombly, 550 U.S. at 557. Thus, while the Court              Grullon v. City of New Haven, 720 F.3d 133, 138-39 (2d
is “ ‘obligated to draw the most favorable inferences’ ” that        Cir. 2013). “[P]ersonal involvement of Defendants in alleged
the complaint supports, it “ ‘cannot invent factual allegations      constitutional deprivations is a prerequisite to an award of
that [the plaintiff] has not pled.’ ” Parris v. New York State       damages under [42 U.S.C. § 1983.]” McKinnon v. Patterson,
Dep't Corr. Servs., 947 F. Supp. 2d 354, 361 (S.D.N.Y. 2013)         568 F.2d 930, 934 (2d Cir. 1977). “The general doctrine of
(quoting Chavis v. Chappius, 618 F.3d 162, 170 (2d Cir.              respondeat superior does not suffice and a showing of some
2010)). In other words, “the duty to liberally construe a            personal responsibility of the Defendant is required.” Al-
plaintiff's complaint is not the equivalent of a duty to re-         Jundi v. Estate of Rockefeller, 885 F.2d 1060 (2d Cir. 1989);
write it for him.” Joyner v. Greiner, 195 F. Supp.2d 500, 503        Monell v. New York City Dept. of Social Services, 436 U.S.
(S.D.N.Y. 2002).                                                     658, 692-95 (1978). Supervisory officials may be personally
                                                                     involved within the meaning of Section 1983 only if he or
                                                                     she participated in unlawful conduct. See Williams v. Smith,
Section 1983                                                         781 F.2d 319, 323-24 (2d Cir. 1986). “A Plaintiff must thus
Section 1983 provides that “[e]very person who, under color          allege a tangible connection between the acts of a Defendant
of any statute, ordinance, regulation, custom, or usage, of any      and the injuries suffered.” Bass v. Jackson, 790 F.2d 260,
State ... subjects, or causes to be subjected, any citizen of the    263 (2d Cir. 1986). “[A] Plaintiff must plead that each
United States ... to the deprivation of any rights, privileges,      Government-official defendant, through the official's own
or immunities secured by the Constitution and laws, shall be         individual actions, has violated the Constitution.” Ashcroft v.
liable to the party injured.” 42 U.S.C. § 1983. Section 1983         Iqbal, 556 U.S. 662, 676 (2009). In the context of a prisoner's
“is not itself a source of substantive rights, but a method          lawsuit, a Plaintiff must show “more than the linkage in
for vindicating federal rights elsewhere conferred by those          the prison chain of command” to state a claim against a
parts of the United States Constitution and federal statutes         supervisory defendant. Ayers v. Coughlin, 780 F.2d 205, 210
that it describes.” Baker v. McCollan, 443 U.S. 137, 144 n.3         (2d Cir. 1985).
(1979); see Patterson v. County of Oneida, 375 F.3d 206,
225 (2d Cir. 2004). To state a claim under § 1983, a plaintiff        *3 Here, Plaintiff fails to allege facts of any personal
must allege “(1) the challenged conduct was attributable to          involvement by Defendant DuBois. There is merely the
a person who was acting under color of state law and (2)             allegation of supervisory approval of the alleged Section
the conduct deprived the plaintiff of a right guaranteed by          1983 violation. Within this circuit, courts have held that the
the U.S. Constitution.” Castilla v. City of New York, No. 09-        mere allegation of supervisory approval, without more, is
CV-5446(SHS), 2013 WL 1803896, at *2 (S.D.N.Y. April                 insufficient to show any personal involvement. See Gomez v.
25, 2013); see Cornejo v. Bell, 592 F.3d 121, 127 (2d Cir.           Sepiol, 11-cv-1017 (SR), 2014 WL 1575872 at *6 (W.D.N.Y.,
2010). Therefore, a § 1983 claim has two essential elements:         Apr. 11, 2014), (Court noting that merely rubber stamping
(1) the defendant acted under color of state law, and (2) as a       the results of a disciplinary hearing is insufficient to establish
result of the defendant's actions, the plaintiff suffered a denial   personal involvement in a § 1983 claim); Rodriguez v. The
of his federal statutory rights, or his constitutional rights or     City of New York, 644 F. Supp.2d 168, 199 (E.D.N.Y., 2008)
privileges. See Annis v. County of Westchester, 136 F.3d 239,        (Complaint against several individual defendants dismissed
245 (2d Cir. 1998); Quinn v. Nassau Cty. Police Dep't, 53 F.         where Court held that the approval of an employment decision
Supp. 2d 347, 354 (E.D.N.Y. 1999) (Section 1983 “furnishes           to terminate plaintiff in reliance on other individuals did not
a cause of action for the violation of federal rights created by     constitute personal involvement for § 1983 purposes); Allah v.
the Constitution.”) (citation omitted).                              Poole, 506 F.Supp.2d 174, 190 (W.D.N.Y., 2007) (dismissing
                                                                     complaint against defendant where sole allegation was that
                                                                     he, as a supervisor, approved the recommendation of another
                        DISCUSSION                                   employee to transfer plaintiff to a restrictive housing unit
                                                                     within a correctional facility, holding that mere approval did
Personal Involvement                                                 not establish sufficient personal involvement).
Plaintiff fails to assert personal involvement on the part of
Defendant DuBois in this matter. In order to hold a defendant



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For the aforementioned reasons, the claim against Defendant       Courts following Boddie, have noted that where the allegation
DuBois is dismissed for lack of personal involvement.             is “a single incident of sexual abuse” it must be “sufficiently
                                                                  severe or serious,” in order to objectively violate the
                                                                  Eighth Amendment in that the act alleged must demonstrate
8 th Amendment                                                    “intentional contact with an inmate's genitalia ... which
The Eighth Amendment of the United States Constitution            serves no penological purpose and is undertaken with the
prohibits cruel and unusual punishment against a prisoner.        intent to gratify the officer's sexual desire or humiliate the
Whitley v. Albers, 475 U.S. 312, 319 (1986). Sexual abuse of      inmate.” Crawford, 796 F.3d at 257-58 (finding objective
a prisoner by a corrections officer may be the basis for an       prong satisfied where officer was alleged to have “fondl[ed]
8 th Amendment claim under § 1983. Boddie v. Schneider,           and squeeze[ed] [the inmate's] penis,” “roamed” the inmate's
105 F.3d 857, 859 (2d Cir. 1997). To establish a violation of     thigh, to “make sure [he] did not have an erection”); see
the Eighth Amendment, the following two elements must be          also Shannon v. Venetozzi, 670 Fed.Appx. 29, 31 (2d Cir.
met: (1) The alleged abuse must be “objectively, sufficiently     2016) (allegations that officer hit and fondled the inmate's
serious”; and (2) the prison official must have a “sufficiently   genitals and rubbed his buttocks while stating that “[t]his
culpable state of mind.” Farmer v. Brennan, 511 U.S. 825,         is my visiting room and I run it the way I want,” on
834 (1994).                                                       four occasions sufficient for Eighth Amendment violation);
                                                                  Shepherd v. Fischer, 08-cv-9297 (RA), 2018 WL 3122053 at
Even though Plaintiff does no specifically discern in his         *2 (S.D.N.Y. June 26, 2018) (inmate allegations that officer
Complaint, he was a pre-trial detainee. (ECF No. 20).             “rammed” a metal wand “between [his] ... butt cheeks,”
Therefore, Plaintiff's allegations must sufficiently state        and stating to inmate that he “should ... ‘f’ [Plaintiff] with
a claim against Defendant Piper under the Fourteenth              it,” sufficient for Eighth Amendment violation); cf. Shtilman
Amendment standard applicable to pretrial detainees. See          v. Makram, 14-cv-6589 (NSR), 2018 WL 3745670 at *5,
Darnell v. Pineiro, 849 F.3d 17, 35 (2d Cir. 2017) citing         (S.D.N.Y. Aug. 6, 2018) (officer alleged to have “nearly stuck
Kingsley v. Hendrickson, U.S., 135 S.Ct. 2466, 2476 (2015).       their fingers ... between [Plaintiff's] buttcheeks [sic],” not
                                                                  sufficient to establish an Eighth Amendment claim).
Under the objective standard, 1 the sexual abuse must be
                                                                   *4 In the present matter, Plaintiff alleges that he was
“objectively, sufficiently serious” considering “contemporary
                                                                  subjected to a single incident of a poke to “the groin
standards of decency, but “conditions that cannot be said
                                                                  (penis).” (ECF No. 2). Accepting Plaintiff's version of the
to be cruel and unusual under contemporary standards are
                                                                  facts as true, these allegations fail to rise to the level of
not unconstitutional.” Boddie v. Schneider, 105 F.3d 857,
                                                                  a constitutional violation to support a Section 1983 claim.
861 (2d Cir. 1997) quoting Rhodes v. Chapman, 452 U.S.
                                                                  See Boddie, infra, Crawford, infra. Plaintiff also failed to
337, 347 (1981); see also Crawford v. Cuomo, 796 F.3d 252
                                                                  allege sufficient facts concerning the severity of the poke. The
(2d Cir. 2015). In Boddie, infra, though the Court held that
                                                                  allegations fail to identify any physical injury. The Complaint
certain allegations of sexual abuse may violate contemporary
                                                                  is simply devoid of any facts which would contextualize the
standards of decency and constitute a violation of the Eighth
                                                                  poke to such a degree that it would support a finding that it
Amendment, it noted that the alleged abuse must be “severe
                                                                  was an effort to “arouse or gratify the officer or humiliate the
or repetitive” to establish that the conduct complained of
                                                                  inmate.” Crawford v. Cuomo, 796 F.3d at 257-58.
was objectively, sufficiently serious. See Boddie v. Schneider,
105 F.3d at 861. The Boddie Court rejected allegations of
                                                                  As noted by the court in Boddie, though the isolated episodes
a small number of incidents in which the defendant made
                                                                  of alleged touching may be unsavory, “they do not involve
inappropriate comments, touched Plaintiff's genitals and
                                                                  a harm of federal constitutional proportions as defined by
pressed against Plaintiff without his consent, and the Court
                                                                  the Supreme Court.” See Montero v. Crusie, 153 F.Supp.2d
found this was not in violation of the Eighth Amendment. Id.
                                                                  368, 373, 375 (S.D.N.Y. 2001) (allegation that correctional
                                                                  officer squeezed inmate's genitalia while pat-frisking him not
1      An assessment of the objective standard remains            sufficient to sustain an Eighth Amendment claim, especially
       pursuant to the same standards as the Eight                where no allegation of injury); Harry v. Suarez, 2012 WL
       Amendment proscribed prior to Darnell v. Pineiro,          2053533, at *3 (S.D.N.Y., June 4, 2012) (allegations that
       849 F.3d 17, 35 (2d Cir. 2017).                            corrections officer groped plaintiff's genitals, buttocks, and



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inner thighs for up to 53 seconds during frisk insufficient to       Cuomo, supra, at 257-58; Shtilman v. Makram, 14-cv-6589
sustain Eighth Amendment claim); Williams v. Keane, 1997             (NSR), 2018 WL 3745670 at *5, (S.D.N.Y. Aug. 6, 2018)
WL 527677, *9-11 (S.D.N.Y., Aug. 25, 1997) (dismissing               (officer alleged to have “nearly stuck their fingers ... between
the Eighth Amendment claim as insufficient where defendant           [Plaintiff's] buttcheeks [sic],” not sufficient to establish an
put his hand down plaintiff's pants and fondled plaintiff's          Eighth Amendment claim).
testicles).
                                                                      *5 Plaintiff's bare allegations of a poke to the groin while
Plaintiff's allegation of minimal contact by Defendant Piper         he was in inside of his housing unit fail to assert sufficient
is an example of a single incident which is not “sufficiently        facts. The Plaintiff does not assert any injury to Plaintiff,
severe or serious,” and does not objectively violate the             allegations of statement or comment by Defendant Piper,
Constitution. See Crawford v. Cuomo, 796 F.3d 252, 257-58            provide further description of the surrounding circumstances,
(2d Cir. 2015) (finding objective prong satisfied where officer      nor indicate whether he was awake or asleep just prior to
was alleged to have “fondl[ed] and squeeze[ed] [the inmate's]        the incident. Plaintiff fails to allege sufficient objective facts
penis,” “roamed” the inmate's thigh, to “make sure [he] did          of an act which is sufficiently severe and serious. Plaintiff
not have an erection”).                                              also fails to allege facts of Defendant Piper's culpable state
                                                                     of mind as required under the Fourteenth Amendment. See
While the subjective prong, requires an assessment of                Shepherd v. Fisher, 08-cv-9297 (RA), 2017 WL 666213, at
“whether the contact is incidental to legitimate official duties,    *18 (S.D.N.Y. Feb. 16, 2017) (“squeezing and fondling of
such as justifiable pat frisk or strip search, or by contrast        Plaintiff's genitalia, combined with the accompanying threats
whether it is undertaken to arouse or gratify the officer or         of sexual violence or retaliation, would allow a reasonable
humiliate the inmate,” the analysis must take place in the           factfinder to find that the corrections officer ... intended to
context of Plaintiff's status as a pretrial detainee. Crawford v.    sexually gratify themselves, to humiliate [ ], or both.”); see
Cuomo, 796 at 257-58; see also Darnell v. Pineiro, 849 F.3d          also Shannon v. Venettozzi, 670 Fed.Appx. at 31 (“[sexually-
17, 35 (2d Cir. 2017) (Plaintiff's claims as pretrial detainee       explicit] statements, in conjunction with ... description of the
are “governed by the Due Process Clause of the Fourteenth            forcefulness of ... the pat-downs were sufficient to plausibly
Amendment, rather than ... the Eighth Amendment”). As                allege that [the officer] conducted the pat-downs” to gratify
a pretrial detainee, Plaintiff need only establish that his          himself or humiliate the inmate).
detention conditions were “ ‘sufficiently serious to constitute
objective deprivations of the right to due process’ and that         For the aforementioned reasons, Plaintiff's complaint fails to
the officer acted intentionally or with at least deliberate          state a claim of an 8 th Amendment violation.
indifference to the challenged conditions.” Noonan v. New
York City Police Department Officer Carlos Becker, 14-
cv-4084 (LTS) (JLC), 2017 WL 3638201 at *4 (S.D.N.Y.                 COMPENSATORY DAMAGES
Aug. 23, 2017), quoting Darnell v. Pineiro, 849 F.3d at 29, 35.      Plaintiff seeks seven hundred fifty thousand dollars
                                                                     ($750,000.00) in damages for the alleged violations of his
Under the subjective prong, the Plaintiff must allege that           constitutional rights. However, Plaintiff failed to specifically
Defendant Piper's poke to the groin was “ ‘sufficiently              denominate what type of injury he sustained. Section
serious to constitute objective deprivations of the right to         1997e(e) of the PLRA states that – “No Federal civil action
due process’ and that the officer acted intentionally or with        may be brought by a prisoner confined in a jail, prison, or
at least deliberate indifference to the challenged conditions.”      other correctional facility, for mental or emotional injury
Id. quoting Darnell v. Pineiro, 849 F.3d at 29, 35. While            suffered while in custody without a prior showing of physical
“where no legitimate law enforcement or penological purpose          injury.” Plaintiff does not allege any physical injury resulting
can be inferred from the defendant's alleged conduct, the            from the claimed deprivation of his constitutional rights –
abuse itself may, in some circumstances be sufficient evidence       rather, he only alleges emotional harm. (ECF No. 2). For
of a culpable state of mind,” Boddie, supra, 861, “the               claims seeking damages for mental or emotional damages, a
principal inquiry is whether the contact is incidental to            defendant must “make a prior showing of physical injury.”
legitimate official duties, such as justifiable pat frisk or strip   Jenkins v. Haubert, 179 F.3d 19, 28 (2d Cir. 1999). In this
search, or by contrast whether it is undertaken to arouse            matter, Plaintiff failed to assert sufficient facts to support a
or gratify the officer or humiliate the inmate.” Crawford v.         finding of a requisite harm of physical injury.



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                                                                         grounds, Pearson v. Callahan, 555 U.S. 223 (2009). “[T]he
Separately, to the extent that plaintiff's claim for damages             question to be answered is whether the defendant officer,
includes punitive damages, such measure of damages is not                confronted with the facts as alleged by the plaintiff, could
warranted. Plaintiff has not alleged any facts indicating that           reasonably have believed that his actions did not violate some
defendants’ conduct was “motivated by evil motive or intent”             settled constitutional right.” 5 Borough Pawn, LLC v. City of
or that defendants exhibited “reckless or callous indifference”          New York, 640 F.Supp.2d 268, 285 (S.D.N.Y. 2009); accord
to his federally protected rights which is a pre-requisite to            Dawkins, supra, at 613.
the imposition of punitive damages. Lee v. Edwards, 101 F.3d
805, 808 (2d Cir. 1996) (quoting Smith v. Wade, 461 U.S. 30,              *6 The facts as alleged are insufficient to establish a
56 (1983)).                                                              constitutional or statutory violation on the part of Defendant
                                                                         Piper. It was objectively reasonable for a correctional officer
                                                                         to believe that his actions were lawful, if true, under the
QUALIFIED IMMUNITY                                                       circumstances. No facts were alleged as to the conduct
Qualified immunity protects government officials from                    by Defendant DuBois. Therefore, Defendants is entitled to
liability as long as their actions are discretionary in nature and       qualified immunity, and the operative Complaint is dismissed
do not violate clearly established statutory or constitutional           against Defendants Piper under Rule 12(b)6.
rights of which a reasonable person should have known.”
Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). “Qualified
immunity is available ‘when the undisputed facts establish
                                                                                                CONCLUSION
that it was objectively reasonable for the defendants to believe
that their actions did not violate clearly established rights.’          For the aforementioned reasons, Defendants’ motion to
” Dawkins v. Gonyea, 646 F.Supp.2d 594, 613 (S.D.N.Y.                    dismiss the Complaint is granted in its entirety. The Clerk of
2009), quoting Before v. Premore, 86 F.3d 48, 50 (2d Cir.                the Court is respectfully directed to terminate the motion at
1996). “A right is clearly established if (1) the law is                 ECF No. 19, to close the case, to mail a copy of this Opinion
defined with reasonable clarity, (2) the Supreme Court or the            and Order to Plaintiff's last known address and to show proof
Second Circuit has recognized the right, and (3) a reasonable            on the docket.
defendant [would] have understood from the existing law
that [his] conduct was unlawful.” Johnson v. Goord, 487 F.               SO ORDERED.
Supp.2d 377, 398 (S.D.N.Y. 2007), aff'd 305 Fed. Appx. 815
(2d Cir. 2009) (internal quotations and citations omitted).
The Supreme Court has urged courts to decide the issue of                All Citations
qualified immunity at the earliest possible opportunity, See
                                                                         Not Reported in Fed. Supp., 2019 WL 6343516
Saucier v. Katz, 533 U.S. 194, 200 (2001), overruled on other

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                                                                   recreation”, Plaintiff was subjected to a frisk by a corrections
                                                                   officer. (Id. at 3.) All inmates must be frisked before they
      KeyCite Yellow Flag - Negative Treatment                     enter “keeplock recreation.” (Id.) Franco performed the frisk
Distinguished by Russell v. Scott, D.Vt., April 10, 2024
                                                                   of Plaintiff, and “squeezed, grabbed, and fondled [Plaintiff's]
                                                                   genital area twice.” (Id.) While he was doing so, he attempted
                     2018 WL 3094935
                                                                   to loosen Plaintiff's “belt and go threw [sic] [his] boxers to
       Only the Westlaw citation is currently available.
                                                                   do it again.” (Id.) Plaintiff contends that as a result of this
        United States District Court, S.D. New York.
                                                                   incident, he was given pain medication, but suffers “constant
                Gary Lee DOZIER, Jr., Plaintiff,                   pain in [his] genital area” and “a permanent phobia of being
                            v.                                     pat frisked.” (Id.) Plaintiff alleges no other facts.
                 C.O. FRANCO, Defendants.
                                                                   1      Plaintiff now resides at Sing Sing Correctional
                         17-cv-3348 (NSR)                                 Facility. (See Compl. at 1.)
                                 |
                                                                   2
                         Signed 06/22/2018                                As Plaintiff is proceeding pro se and his Complaint
                                                                          is the standard, fillable 42 U.S.C. § 1983 complaint,
Attorneys and Law Firms                                                   all citations thereto will be to pages, not paragraphs.

Gary Lee Dozier, Jr., Fishkill, NY, pro se.
                                                                                      LEGAL STANDARD
Amanda Shoffel, NYS Office of the Attorney General, New
York, NY, for Defendants.                                          I. 12(b)(6)
                                                                   Dismissal is proper on a 12(b)(6) motion to dismiss unless
                                                                   the complaint “contain[s] sufficient factual matter, accepted
                    OPINION AND ORDER                              as true, to ‘state a claim to relief that is plausible on its
                                                                   face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
NELSON S. ROMÁN, United States District Judge                      Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) ). The
                                                                   critical inquiry is whether the plaintiff has pled sufficient
 *1 Plaintiff Gary Lee Dozier, Jr. (“Plaintiff”), proceeding
                                                                   facts to nudge the claims “across the line from conceivable to
pro se, commenced this action on May 4, 2017, pursuant to
                                                                   plausible.” Twombly, 550 U.S. at 555.
42 U.S.C. § 1983 for alleged Eighth Amendment violations,
(see Complaint (“Compl.”), (ECF No. 1) ), against Defendant
                                                                   Courts must construe pro se pleadings in a particularly liberal
CO. Franco (“Franco” or “Defendant”). Presently before the
                                                                   fashion, Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009), and
Court is Defendant's motion to dismiss Plaintiff's Complaint
                                                                   interpret them “to raise the strongest arguments that they
for failure to state a cause of action and for sovereign
                                                                   suggest,” Harris v. City of N.Y., 607 F.3d 18, 24 (2d Cir. 2010)
immunity pursuant to Federal Rules of Civil Procedure
                                                                   (internal quotations and citation omitted). Nevertheless, a
12(b)(6) and 12(b)(1), respectively (“Defendant's Motion”).
                                                                   pro se plaintiff's pleading must contain factual allegations
(See Defendant's Brief in Support of his Motion to Dismiss
                                                                   that sufficiently “raise a right to relief above the speculative
(“Def. Br.”) (ECF No. 14).) Plaintiff has failed to oppose
                                                                   level,” Jackson v. N.Y.S. Dep't of Labor, 709 F. Supp. 2d 218,
Defendant's Motion. The Court deems the motion fully
                                                                   224 (S.D.N.Y. 2010), and the Court's duty to construe the
submitted and renders the following decision on the merits.
                                                                   complaint liberally is not “the equivalent of a duty to re-write
For the following reasons, Defendant's Motion is GRANTED.
                                                                   it,” Geldzahler v. New York Medical College, 663 F. Supp. 2d
                                                                   379, 387 (S.D.N.Y. 2009).

                 FACTUAL BACKGROUND
                                                                   II. 12(b)(1)
The incident that is central to this case occurred while            *2 Without subject matter jurisdiction, the Court is devoid
Plaintiff was an inmate at Sing Sing Correctional Facility         of the “power to adjudicate the merits of the case.” Carter v.
(“Sing Sing”). 1 (See Compl. at 2.) 2 On January 22, 2017,         HealthPort Tech., LLC, 822 F.3d 47, 55 (2d Cir. 2016); see
at approximately 9:30 a.m., before walking to “keeplock            also Morrison v. Nat'l Australia Bank Ltd., 547 F.3d 167, 170


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(2d Cir. 2008), aff'd, 561 U.S. 247 (2010); Alliance for Envt'l
Renewal, Inc. v. Pyramid Crossgates Co., 436 F.3d 82, 87-88
(2d Cir. 2006). If an official or entity is entitled to sovereign    II. Eighth Amendment Claim
immunity, a court has no subject matter jurisdiction to hear         The crux of Defendant's Motion is that Plaintiff's Complaint
the case. See Cooper v. N.Y. State Dep't of Mental Health, No.       must be dismissed for failure to allege facts indicating that the
01-CV-943 (AGS), 2001 WL 456348, at *1 (S.D.N.Y. May 1,              alleged sexual misconduct that occurred during pat frisk rises
2001); see also Trotman v. Palisades Interstate Park Comm'n,         to the level of an Eighth Amendment claim. (See Def. Br. at
557 F.2d 35, 37-38 (2d Cir. 1977).                                   1-4.) This Court agrees.

                                                                     To make out any Eighth Amendment claim, a Plaintiff must
                                                                     “satisfy a two-prong test with both objective and subjective
                        DISCUSSION                                   components.” Banks v. William, No. 11-CV-8667(GBD)
                                                                     (JLC), 2012 WL 4761502, at *3 (S.D.N.Y. Sept. 27, 2012),
I. Sovereign Immunity
                                                                     report and recommendation adopted by 2013 WL 764768
Defendant moves to dismiss all claims alleged against him
                                                                     (Feb. 28, 2013). There is no doubt that “sexual abuse by a
in his official capacity as barred by sovereign immunity.
                                                                     corrections officer can give rise to an Eighth Amendment
(See Def. Br. at 4-5.) Plaintiff's Complaint does not specify
                                                                     claim.” Crawford v. Cuomo, 796 F.3d 252, 257 (2d Cir.
whether he is suing Defendant in his individual capacity only,
                                                                     2015) (citing Boddie v. Schnieder, 105 F.3d 857, 859 (2d
or his individual and official capacity. (See generally Compl.)
                                                                     Cir. 1997) ). Such conduct amounts to an Eighth Amendment
To the extent Plaintiff's claims are asserted against Defendant
                                                                     violation where the alleged conduct “serves no penological
in his official capacity, they are barred by the doctrine of
                                                                     purpose and is undertaken with the intent to gratify the
sovereign immunity.
                                                                     officer's sexual desire or humiliate the inmate.” Id. (emphasis
                                                                     added.) Even a “single incident of sexual abuse, if sufficiently
It is axiomatic that a state is immune from suit in federal court,
                                                                     severe or serious, may violate” the inmate's rights. Id.
absent abrogation by Congress. See Seminole Tribe of Fla. v.
                                                                     Moreover, “even less severe but repetitive conduct may still
Florida, 517 U.S. 44, 54-56 (1996); Dube v. State Univ. of
                                                                     be cumulatively egregious enough to violate the constitution.”
New York, 900 F.2d 587, 594 (2d Cir. 1990). This immunity
                                                                     Shannon v. Venettozzi, 670 Fed.Appx. 29, 31 (2d Cir. 2016)
extends to agents and employees of DOCCS, as they are
                                                                     (summary order). The critical inquiry “is whether the contact
considered “arms of the state.” Dube, 900 F.2d at 594-95;
                                                                     is incidental to legitimate official duties, such as a justifiable
see also Matteo v. Perez, No. 16-CV-1837(NSR), 2017 WL
                                                                     pat frisk or strip search, or by contrast whether it was taken
4217142, at *7 (S.D.N.Y. Sept. 19, 2017). Section 1983 has
                                                                     to arouse or gratify the officer or humiliate the inmate.”
not carved out an exception to the doctrine of sovereign
                                                                     Crawford, 796 F.3d at 257 (citing Whitley v. Albers, 475 U.S.
immunity, thus claims against state agents in their official
                                                                     312 (1986) ). Plaintiff's facts, as alleged, simply do not give
capacity pursuant to Section 1983 are ripe for dismissal.
                                                                     rise to an Eighth Amendment violation.
Matteo, 2017 WL 4217142, at *7 (citing Reynolds v. Barrett,
685 F.3d 193, 204 (2d Cir. 2012) and Koehl v. Dalsheim, 85
                                                                      *3 Preliminarily, Plaintiff's facts regarding the description
F.3d 86, 88-89 (2d Cir. 1996) for proposition that Section
                                                                     of the event are scant, leaving this Court little room to
1983 claims based on official capacity “barred by sovereign
                                                                     ascertain the true nature of the conduct. Additionally, this
immunity”). Defendant's Motion is granted in this regard.
                                                                     was a single incident that took place during a routine pat
                                                                     frisk to which all inmates were subjected on their way to
Any state law claims asserted against Defendant in his
                                                                     the “keeplock recreation” area, (see Compl. at 3), unlike
official capacity are likewise barred and hereby dismissed.
                                                                     in Crawford, where Plaintiff Corley's incident occurred
See Parris, 947 F. Supp. 2d at 365; Baker v. Coughlin, 77
                                                                     during his visit with his wife, Crawford, 796 F.3d at 298.
F.3d 12, 15-16 (2d Cir. 1996) (state law claims arising “from
                                                                     Most compellingly, Plaintiff fails to allege facts that would
acts or omissions within the scope of their employment at
                                                                     demonstrate that the conduct was undertaken to humiliate him
DOCCS” dismissible for lack of subject matter jurisdiction);
                                                                     or to sexually gratify Defendant. Compare Bey v. Griffin, No.
see also N.Y. Corr. Law § 24 (requiring that lawsuits related
                                                                     16-CV-3807(VB), 2017 WL 5991791, at *3 (S.D.N.Y. Dec.
to DOCCS employees' conduct within the scope of their
                                                                     1, 2017) (dismissing claim in absence of facts “to suggest
employment, be brought in New York Court of Claims against
                                                                     the pat frisk was conducted with the intention of humiliating
the State).
                                                                     [plaintiff], for the sexual gratification of the C.O.s., or for a


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                                                                    Complaint that alleges more facts to that would shed light on
malicious purpose”); Banks, 2012 4761502, at *4 (dismissing
                                                                    Defendant's intent (such as comments he made at the time)
claim where officer “fondled [plaintiff] on a single occasion
                                                                    or the circumstances surrounding the frisk, in line with this
during a pat-down frisk”) with Crawford, 796 F.3d at 298
                                                                    opinion. To the extent Plaintiff intends to file an Amended
(conduct sufficiently serious where officer made comment
                                                                    Complaint, he must do so on or before July 23, 2018. The
that he wanted to “make sure [plaintiff] did not have an
                                                                    Clerk of the Court is respectfully requested to terminate the
erection” when he fondled and squeezed his penis); Shannon,
                                                                    motion at ECF No. 13. Upon review of the DOCCS records,
670 Fed.Appx. at 31 (noting that conduct occurred on four
                                                                    the Court has discovered that Plaintiff is no longer housed
occasions, the pat frisks were described as “aggressive and
                                                                    at Downstate Correctional Facility. The Clerk of the Court is
very provocative”, and plaintiff was told that if he did not
                                                                    therefore directed to mail a copy of this Opinion and Order
“want to be searched and sexually assaulted” he should “stop
                                                                    to Plaintiff at Gary Lee Dozier, Jr., 11-A-1948, Sing Sing
coming to prison”). Plaintiff's claim must be dismissed.
                                                                    Correctional Facility, 354 Hunter Street, Ossining, New York
                                                                    10562 and update the docket to reflect this address. Plaintiff
                                                                    is advised that it is his obligation to inform this Court of any
                     CONCLUSION                                     and all address changes he has.

For the foregoing reasons, Defendants' Motion is GRANTED
                                                                    SO ORDERED.
in its entirety and Plaintiffs Complaint is dismissed. The
claims raised against Defendant in his official capacity
are dismissed with prejudice. The claims for an Eighth              All Citations
Amendment violation against Defendant in his individual
capacity, however, are dismissed without prejudice, and             Not Reported in Fed. Supp., 2018 WL 3094935
Plaintiff is granted leave to re-plead and file an Amended

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                                                                 1       Defendants Ginger Eggler, “Ginsin,” and Alan
                     2020 WL 409744                                      Hanson have not been served. (See ECF Nos. 10,
      Only the Westlaw citation is currently available.                  11, and 15; Defendants’ Memorandum of Law in
       United States District Court, S.D. New York.                      Support of Their Motion to Dismiss, ECF No. 80
                                                                         (“Defs.’ Mot.”) at 8, n.1.)
               Rodney JOSEPH, Plaintiff,
                                                                 Pursuant to Federal Rule of Civil Procedure 12(b)(1) and
                         v.
                                                                 12(b)(6), the Represented Defendants have moved to dismiss
          Anthony ANNUCCI, et al., Defendants.
                                                                 the Complaint. (See ECF No. 79.) Plaintiff has not responded
                        18-cv-7197 (NSR)                         to the motion; thus, per a memorandum endorsement dated
                                |                                August 5, 2019, the Court deemed the motion fully submitted.
                        Signed 01/23/2020                        (See ECF No. 81.) For the following reasons, the Represented
                                                                 Defendants’ unopposed motion to dismiss is GRANTED in
Attorneys and Law Firms                                          part and DENIED in part.

Rodney Joseph, Napanoch, NY, pro se.

Rebecca Lynn Johannesen, NYS Office of the Attorney                                    BACKGROUND
General, New York, NY, for Defendants.
                                                                 I. Factual Allegations
                                                                 The following facts are derived from the Complaint or matters
                                                                 of which the Court may take judicial notice and are taken
                   OPINION & ORDER
                                                                 as true and constructed in the light most favorable to pro se
NELSON S. ROMÁN, United States District Judge:                   Plaintiff for the purposes of this motion. See Ashcroft v. Iqbal,
                                                                 556 U.S. 662, 678 (2009); Nicosia v. Amazon.com, Inc., 834
 *1 Pro se Plaintiff, Rodney Joseph (“Plaintiff”), formerly      F.3d 220, 230 (2d Cir. 2016).
incarcerated at Sullivan Correctional facility, brings this
action under 42 U.S.C. § 1983, asserting claims of deliberate
indifference to his medical needs, forcible touching, assault,      a. Plaintiff's Medical Condition and Treatment
retaliation, denial of due process, and impeding religious       Plaintiff asserts that in or about 2008, after suffering a heart
practice. (See Complaint (“Compl.”), ECF No. 2.) Plaintiff       attack, he was placed on diabetic medications by a Sullivan
sues 44 medical staff members, kitchen staff members,            Correctional Facility (“Sullivan”) doctor. (Compl. at 18.)
correctional officers, and correctional officials employed       Sometime in 2016, however, he was taken off the diabetic
by the New York State Department of Corrections and              medications by the medical staff at Sullivan. (Id.) Shortly after
Community Supervision (“DOCCS”), including Anthony               being taken off the diabetic medications, Plaintiff began to
Annucci, William Keyser, Edward Burnett, Gail Williams,          suffer pain in his arms, difficulty breathing, and an increased
Angelo Justiniano, Corey Proscia, Joseph Maxwell, Lane           heart rate. (Id.) He complained to the Medical Department
Kortright, Swany Reid, Frank Decker, Samuel Encarnacion,         on a sick call visit, but only received 30 days off from work.
Stainislaus Ogbonna, Jefrysson Aldana, Scott Christie,           (Id.) Plaintiff asserts that the pain got worse and he kept going
Colleen Bennett, Tanya Pomeroy, Wladyslaw Sidorowicz,            to sick call but nothing was done to alleviate his pain. (Id.)
Janice Wolf, S.T. Herman, Epifanio Tolentio, Kevin Miller,       In or about June 2017, after going to emergency sick call
Wayne Jordan, William Beach, Renee Askew, Michael Wood,          with “unbearable pain,” Plaintiff suffered another heart attack
Van Fuller, Gina Maliga, Heather Wyatt, William Elberth,         and was rushed to a hospital where he underwent quadruple-
Kellyanne Giminiani, Christopher Conway, Blain Reddish,          bypass heart surgery. (Id.) Plaintiff asserts the following: the
Mark Puerschner, David Jurgens, Edward Bonnell, Shaun            medical staff taking him off the diabetic medications led to
Braisington, Joseph Franke, Matthew DeFrank, Chester             his heart attack; he is presently in severe pain but is not
Stungis, Robert Depaolo, and Adam Jarosz (the “Represented       receiving all of the recommended medications prescribed by
                                                                 a specialist; and he is possibly suffering the symptoms of
Defendants”). 1 (Id.)
                                                                 another imminent heart attack or stroke. (Id. at 18–19.)




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                                                                      sends unspecified threatening messages to him through other
   b. January 11, 2018 Incident                                       correction officers. (Id.)
 *2 Plaintiff also asserts forcible touching and assault claims
against Defendant Correctional Officer Wyatt (“Wyatt”)
stemming from an incident that occurred on or about January
11, 2018. (Id. at 19.) Plaintiff alleges that, on January 10,                              LEGAL STANDARD
2018, he filed a grievance against Wyatt. (Id.) He alleges that
                                                                      I. Rule 12(b)(6)
after he filed the grievance, when he delivered feed-up bags
                                                                      To survive a 12(b)(6) motion to dismiss, “a complaint must
for other inmates, Wyatt ordered him on the wall for a pat frisk
                                                                      contain sufficient factual matter, accepted as true, to ‘state a
although he had previously been pat frisked when he left the
                                                                      claim for relief that is plausible on its face.’ ” Ashcroft v. Iqbal,
kitchen. (Id.) Plaintiff claims that while he was on the wall,
                                                                      556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
Wyatt “started squeezing and poking in the areas where [he]
                                                                      550 U.S. 554, 570 (2007)). Factual allegations must “nudge
had [his] quadruple-by-pass surgery, chest, arms, legs, and
                                                                      [a plaintiff's] claim from conceivable to plausible.” Twombly,
private parts.” (Id. at 20.) Plaintiff alleges that Wyatt's actions
                                                                      550 U.S. at 570. A claim is plausible when the plaintiff pleads
caused him chest pains and led to a one-week hospital stay
                                                                      facts which allow the court to draw a reasonable inference
at Albany Medical Center because most of his arteries were
                                                                      the defendant is liable. Iqbal, 556 U.S. at 678. To assess the
blocked. (Id.)
                                                                      sufficiency of a complaint, the court is “not required to credit
                                                                      conclusory allegations or legal conclusions couched as factual
   c. Officers’ Retaliation                                           allegations.” Rothstein v. UBS AG, 708 F.3d 82, 94 (2d Cir.
Plaintiff asserts that Wyatt acted in retaliation for Plaintiff's     2013). While legal conclusions may provide the “framework
filing of the grievance against her. (Id.) Plaintiff also claims      of a complaint,” “threadbare recitals of the elements of a
that he was subjected to retaliation by other correction officers     cause of action, supported by mere conclusory statements, do
for the filing of grievances. (Id.) He claims the following           not suffice.” Iqbal, 556 U.S. at 678–79. When a motion to
retaliatory actions: he was issued a fabricated misbehavior           dismiss a complaint is unopposed, a court should nevertheless
report and his job assignment was taken away on or about              “assume the truth of a pleading's factual allegations and test
June 20, 2018, despite an “excellent work evaluation”;                only its legal sufficiency.” McCall v. Pataki, 232 F.3d 321,
DOCCS staff would not allow him to notify his family when             322 (2d Cir. 2000).
he was admitted to an outside hospital, or allow him to call his
family; his cell was unreasonably searched five out of seven           *3 Pro se complaints are to be liberally construed. Estelle
days; he was denied access to medication; and his religious           v. Gamble, 429 U.S. 97, 106 (1976). They must be held to
callout was cancelled without a security reason. (Id. at 21–22.)      less stringent standards than complaints written by lawyers,
                                                                      and only dismissed when the plaintiff can prove “no set of
                                                                      facts in support of his claim which would entitle him to
   d. Incident with Correctional Officer Elberth                      relief.” Estelle, 429 U.S at 106 (quoting Conley v. Gibson,
Finally, Plaintiff alleges that while conducting a pat frisk,         335 U.S. 41, 45–46 (1957)). This “is particularly so when
Correctional Officer Elberth (“Elberth”) told him to reach            the pro se plaintiff alleges that [his] civil rights have been
back with his left hand and take off his right boot. (Id.             violated.” Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185,
at 22.) When Plaintiff told Elberth that he was unable to             191 (2d Cir. 2008). Pro se complaints must be interpreted as
stretch out like that because of his medical issues, Elberth          raising the strongest claims they suggest, but “must still state
grabbed his left leg and pulled it back in a manner that caused       a plausible claim for relief.” Hogan v. Fischer, 738 F.3d 509,
Plaintiff's chest and face to hit the wall, causing him pain.         515 (2d Cir. 2013).
(Id.) Plaintiff claims that Elberth then did the same thing to
his right leg, despite Plaintiff informing Elberth that he was
in pain. (Id.) After the incident, Plaintiff went to emergency        II. Rule 12(b)(1)
medical and had to be rushed to the hospital for a “minor             “A case is properly dismissed for lack of subject matter
heart attack.” (Id.) Plaintiff claims that the attack was caused      jurisdiction under Rule 12(b)(1) when the district court
by Elberth's actions, and now every time he sees Elberth, the         lacks the statutory or constitutional power to adjudicate it.”
officer threatens him. (Id.) Plaintiff asserts that Elberth also      Makarova v. U.S., 201 F.3d 110, 113 (2d Cir. 2000). A plaintiff
                                                                      asserting subject matter jurisdiction in a federal court bears



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the burden of proving that jurisdiction by the preponderance       Grullon v. City of New Haven, 720 F.3d 133, 138–39 (2d
of the evidence. Id. The court must take all facts in the          Cir. 2013). “[P]ersonal involvement of Defendants in alleged
complaint as true and draw all inferences in favor of the party    constitutional deprivations is a prerequisite to an award of
asserting jurisdiction. Fountain v. Karim, 838 F.3d 129, 134       damages under [42 U.S.C. § 1983.]” McKinnon v. Patterson,
(2d Cir. 2000). As with Rule 12(b)(6), when dealing with           568 F.2d 930, 934 (2d Cir. 1977). “The general doctrine
Rule 12(b)(1), the Court construes the allegations in a pro se     of respondeat superior does not suffice and a showing of
plaintiff's complaint in the light most favorable to the pro se    some personal responsibility of the Defendant is required.”
plaintiff. Makarova, 201 F.3d at 113.                              Al-Jundi v. Estate of Rockefeller, 885 F.2d 1060 (2d Cir.
                                                                   1989); Monell v. New York City Dept. of Social Services,
                                                                   436 U.S. 658, 692–95 (1978). Supervisory officials may be
III. 42 U.S.C. § 1983 Claims                                       personally involved within the meaning of § 1983 only if he
Section 1983 provides, in relevant part, that: “[e]very person     or she participated in unlawful conduct. See Williams v. Smith,
who, under color of any statute, ordinance, regulation,            781 F.2d 319, 323–24 (2d Cir. 1986). “A Plaintiff must thus
custom, or usage, of any State ... subjects, or causes to          allege a tangible connection between the acts of a Defendant
be subjected, any citizen of the United States ... to the          and the injuries suffered.” Bass v. Jackson, 790 F.2d 260,
deprivation of any rights, privileges, or immunities secured       263 (2d Cir. 1986). “[A] Plaintiff must plead that each
by the Constitution and laws, shall be liable to the party         Government-official defendant, through the official's own
injured.” 42 U.S.C. § 1983. Section 1983 “is not itself a source   individual actions, has violated the Constitution.” Ashcroft v.
of substantive rights, but a method for vindicating federal        Iqbal, 556 U.S. 662, 676 (2009). In the context of a prisoner's
rights elsewhere conferred by those parts of the United States     lawsuit, a Plaintiff must show “more than the linkage in
Constitution and federal statutes that it describes.” Baker v.     the prison chain of command” to state a claim against a
McCollan, 443 U.S. 137, 144 n.3 (1979); see Cornejo v. Bell,       supervisory defendant. Ayers v. Coughlin, 780 F.2d 205, 210
592 F.3d 121, 127 (2d Cir. 2010). To state a claim under           (2d Cir. 1985).
§ 1983, a plaintiff must allege two essential elements: “(1)
that the defendants deprived him of a right ‘secured by the         *4 Here, Plaintiff fails to allege facts of any personal
Constitution or laws of the United States’; and (2) that they      involvement by the 40 aforementioned defendants. They
did so ‘under color of state law.’ ” Giordano v. City of New       are named in the caption only. The body of the Complaint
York, 274 F.3d 740, 750 (2d Cir. 2001) (quoting Am. Mfrs.          does not contain any factual allegations naming them, or
Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 49–50 (1999)).             indicating that they violated the law or injured the Plaintiff in
                                                                   some manner. For this reason, the claims against Defendants
                                                                   Annucci, Keyser, Burnett, Williams, Justiniano, Proscia,
                       DISCUSSION                                  Maxwell, Kortright, Reid, Decker, Encarnacion, Ogbonna,
                                                                   Aldana, Christie, Eggler, Bennett, Pomeroy, Sidorowicz,
I. Defendants Who Are Only Named in the Caption                    Wolf, Herman, Jordan, Tolentio, Miller, Beach, Askew,
As an initial matter, Defendants Annucci, Keyser, Burnett,         Wood, Maliga, Giminiani, Conway, Reddish, Puerschner,
Williams, Justiniano, Proscia, Maxwell, Kortright, Reid,           Ginsin, Jurgens, Bonnell, Braisington, Franke, Defrank,
Decker, Encarnacion, Ogbonna, Aldana, Christie, Eggler,            Depaolo, Stungis, and Jarosz are dismissed without prejudice
Bennett, Pomeroy, Sidorowicz, Wolf, Herman, Jordan,                for lack of personal involvement.
Tolentio, Miller, Beach, Askew, Wood, Maliga, Giminiani,
Conway, Reddish, Puerschner, Ginsin, Jurgens, Bonnell,
Braisington, Franke, Defrank, Depaolo, Stungis, and Jarosz         II. Eighth Amendment Medical Indifference
are only named in the caption and the complaint contains           The Eighth Amendment prohibits the infliction of “cruel
no allegations that they violated the law or otherwise caused      and unusual punishments.” U.S. Const. amend. VIII.
injury to the Plaintiff.                                           Consequently, the government is obligated to provide
                                                                   adequate medical care to incarcerated people, and the failure
Plaintiff fails to assert personal involvement on the part of      to do so is a violation of the Eighth Amendment and gives
these 40 defendants in this matter. In order to hold a defendant   rise to a deliberate indifference claim under § 1983. Estelle
responsible for a constitutional deprivation, Plaintiff must       v. Gamble, 429 U.S. 97, 103–05 (1976). In order to make a
demonstrate, inter alia, the defendant's personal involvement.     claim of medical indifference, a prisoner must show that there
                                                                   is: (1) an objectively serious medical need and (2) subjective


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deliberate indifference, which measures whether the prison         to Plaintiff's alleged medical indifference claim, Plaintiff is
official acted with a sufficiently culpable state of mind.         granted leave to replead that claim.
Harrison v. Barkley, 219 F.3d 132, 136–38 (2d Cir. 2000). The
defendant must have actual notice of the prisoner's serious
medical need. Koehl v. Dalsheim, 85 F.3d 86, 88 (2d Cir.           III. Retaliation Under the First Amendment
1986). The subjective standard for deliberate indifference is       *5 Plaintiff's claims against several prison officials
essentially criminal recklessness: the official must “know[ ] of   regarding alleged retaliatory action sound in the First
and disregard[ ] an excessive risk to inmate health or safety.”    Amendment. To properly assert a First Amendment
Farmer v. Brennan, 511 U.S. 825, 837 (1994). Therefore, “the       retaliation claim, a plaintiff has the burden of demonstrating:
defendant's belief that his conduct poses no serious harm ...      “(1) that the speech or conduct at issue was protected, (2) that
need not be sound as long as it is sincere.” Salahuddin v.         the defendant took adverse action against the plaintiff, and
Goord, 467 F.3d 263, 281 (2d Cir. 2006). Further, the charged      (3) that there was a causal connection between the protected
official must be aware that there is a substantial risk of harm.   speech and the adverse action.” Scott v. Coughlin, 344 F.3d
Id.                                                                282, 287 (2d Cir. 2003). “Only retaliatory conduct that would
                                                                   deter a similarly situated individual of ordinary firmness
Defendant does not allege that any Defendant was involved          from exercising his or her constitutional rights constitutes
in his medical care or treatment—his Complaint mentions            an adverse action for a claim of retaliation ... Otherwise the
that “DOCCS Staff” took him off the diabetic medications,          retaliatory act is simply de minimis and therefore outside the
and that he made complaints to the “Medical Department”            ambit of constitutional protection.” Dawes v. Walker, 239
at sick call. (See Compl. at 18.) While chest pain resulting       F.3d 489, 493 (2d Cir. 2001), overruled on other grounds,
from clogged arteries and heart attacks surely constitute          Swierkewicz v. Sorema, 534 U.S. 506 (2002) (citations
                                                                   omitted).
serious medical conditions, 2 Plaintiff has failed to allege
any Defendant's involvement in, let alone any Defendant's
                                                                   “Prisoners may be required to tolerate more than public
deliberate indifference to, Plaintiff's medical care. Therefore,
                                                                   employees, who may be required to tolerate more than
Plaintiff's Eighth Amendment claim is dismissed without
                                                                   average citizens, before a [retaliatory] action taken against
prejudice.
                                                                   them is considered adverse.” Id. In addition, the “casual
                                                                   connection” element requires plaintiffs to prove that an
2      “[S]evere chest pain, a symptom consistent with a           adverse action relates to protected First Amendment activity
       heart attack, is a serious medical condition under          —that is, the plaintiff must present evidence from which
       the objective prong of the Eighth Amendment's               a jury could conclude that the plaintiffs protected First
       deliberate indifference standard.” Melvin v. Cty.           Amendment activity was “a substantial or motivating factor”
       of Westchester, No. 14-CV-2995 (KMK), 2016                  in the prison official's adverse action against the plaintiff.
       WL 1254394, at *5 (S.D.N.Y. Mar. 29, 2016)                  Graham v. Henderson, 89 F.3d 75, 79 (2d Cir. 1996). “To
       (quoting Mata v. Saiz, 427 F.3d 745, 754 (10th              survive a motion to dismiss, such claims must be ‘supported
       Cir. 2005)); Mandala v. Coughlin, 920 F. Supp.              by specific and detailed factual allegations,’ not stated ‘in
       342, 353 (E.D.N.Y. 1996) (noting that “ignoring             wholly conclusory terms.’ ” Friedl v. City of New York, 210
       a prisoner's complaints of chest pains where the            F.3d 79, 85-86 (2d Cir. 2000) (quoting Flaherty v. Coughlin,
       prisoner later died of a heart attack” has been found       713 F.2d 10, 13 (2d Cir. 1983)).
       to constitute a sufficiently serious injury).
It is possible that Plaintiff intended to bring claims against     The Second Circuit has repeatedly held that a court must
certain named defendants from the caption, whom he has             assess a claim of retaliation with “skepticism and particular
identified as serving in medical roles at Sullivan: Ginger         care” because such claims are “easily fabricated” by inmates.
Eggler (Nurse Administrator 1); Colleen Bennett (Nurse             Dawes, 239 F.3d at 491. Such claims create a “substantial
Administrator 2); Wladyslaw Sidorowicz (Facility Doctor);          risk of unwarranted judicial intrusion into matters of general
and Janice Wolf a/k/a Janice Wolf-Friedman (Facility               prison administration” because:
Doctor). To the extent that Plaintiff can provide more factual
allegations relating to these four defendants with respect




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                                                                    First Amendment rights”). Furthermore, the Complaint does
                                                                    not link the cell searches to any particular defendant. (See
             virtually any adverse action taken                     Compl. at 21.) Accordingly, even if retaliatory in nature,
             against a prisoner by a prison official                Plaintiff's claims against Defendants Wyatt, Hanson, and any
             —even those otherwise not rising                       other defendants regarding these incidents must be dismissed
             to the level of a constitutional                       with prejudice. 3
             violation—can be characterized as a
             constitutionally proscribed retaliatory                3       To the extent that Plaintiff's allegation suggest
             act.... Given that such adversity
                                                                            that Defendant Wyatt used excessive force, these
             is an ever-present concomitant of
                                                                            allegations also fail to state a claim upon which
             prison life, the opportunities to
                                                                            relief can be granted. The actions alleged by
             characterize its manifestations as
                                                                            Plaintiff do not rise to the level of a constitutional
             actionable retaliation are far greater
                                                                            violation. See Kalwasinski v. Artuz, No. 02 CV
             than that for society at large.
                                                                            2582 (LBS), 2003 WL 22973420, at *7 (S.D.N.Y.
                                                                            Dec. 18, 2003) (rejecting Eighth Amendment claim
                                                                            where defendant's action in pressing plaintiff's
Id. (internal citations and quotations omitted).                            face into a wall while conducting a pat frisk was
                                                                            “consistent with a good faith attempt to maintain
                                                                            prison discipline and order” and lacked “malicious”
   a. January 11, 2018 Incident and Cell Searches
                                                                            intent).
Plaintiff alleges that Defendant Wyatt retaliated against him
                                                                            To the extent that Plaintiff alleges that Defendant
because he filed a grievance against Wyatt on January 10,
                                                                            Wyatt committed offenses under the New York
2018, when Plaintiff discussed the grievance with Defendant
                                                                            State Penal Law, this claim must be dismissed
Sergeant Fuller. (Compl. at 19.) Plaintiff alleges that this
                                                                            because the law does not provide a private right
retaliation took the form of a pat frisk on January 11, 2018,
                                                                            of action to enforce rights allegedly created by this
in which Wyatt “squeez[ed]” and “pok[ed]” his chest, arms,
                                                                            provision. See Casey Sys., Inc. v. Firecom, Inc.,
legs, and “private parts.” (Id. at 20.) Plaintiff further alleges
                                                                            No. 94 CIV. 9327 (KTD), 1995 WL 704964, at
that Area Sergeant Defendant Hanson told him that “if [he]
                                                                            *3 (S.D.N.Y. Nov. 29, 1995) (“As a general rule,
did not sign off on this grievance, [he] was going to have
                                                                            when a statute is contained solely within the Penal
a whole lot of problems.” (Id. at 20.) Additionally, Plaintiff
                                                                            Law Section, the legislature intended it as a police
alleges that his cell was searched in an “unreasonable manner”
                                                                            regulation to be enforced only by a court of criminal
five out of seven days. (Id. at 21.)
                                                                            jurisdiction.”).

On these issues, Plaintiff has failed to state a claim for
                                                                       b. Loss of Job Assignment
relief because “cell searches and pat frisks, even if conducted
                                                                     *6 Plaintiff further alleges that his job assignment was taken
for retaliatory reasons, cannot constitute an adverse action
                                                                    away from him due to a “fabricated misbehavior report”
as required to support a First Amendment retaliation
                                                                    as retaliation for Plaintiff's filing of harassment grievances.
claim.” Amaker v. Fischer, No. 10-CV-0977A SR, 2014
                                                                    (Compl. at 21.) Plaintiff notes that despite his “excellent
WL 8663246, at *8 (W.D.N.Y. Aug. 27, 2014), report
                                                                    work evaluation,” the proffered basis for his termination was
and recommendation adopted, No. 10-CV-0977, 2015 WL
                                                                    that Plaintiff “do[es] not get along with other inmates and
1822541 (W.D.N.Y. Apr. 22, 2015). This is “because inmates
                                                                    staff.” (Id.) This claim similarly fails on the pleadings.
have no reasonable expectation of privacy in their prison
cells” and therefore “no constitutional right to be free from
                                                                    Defendants are correct that inmates do not have any
cell searches of any kind, including retaliatory cell searches.”
                                                                    constitutional, statutory, or regulatory right to any prison job.
Rodriguez v. McClenning, 399 F. Supp. 2d 228, 239 (S.D.N.Y.
                                                                    Gill v. Mooney, 824 F.2d 192, 194 (2d Cir. 1987) (“New
2005); see also Henry v. Annetts, No. 08 Civ. 286, 2010
                                                                    York law does not give a prisoner ‘any statutory, regulatory
WL 3220332, at *2 (S.D.N.Y. July 22, 2010) (“Cell searches
                                                                    or precedential right to his prison job.’ ”). Furthermore,
and pat frisks are an ordinary part of prison life and ... do
                                                                    the thin allegations contained in the complaint are “wholly
not deter the average inmate from continuing to exercise ...
                                                                    conclusory with no plausible nexus between the grievance


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and the misbehavior report.” White v. Bergenstock, No. 08            McKinnon v. Patterson, 568 F.2d 930, 934 (2d Cir. 1977), this
Civ. 717, 2009 WL 4544390, at *7 (N.D.N.Y. Nov. 25, 2009).           claim must be dismissed without prejudice.
Plaintiff's Complaint does not contain any allegations as to
the nature of the misbehavior report that led to the loss of his
job, who wrote the misbehavior report, nor does it connect           V. First Amendment Free Exercise
the writer of that misbehavior report to the grievances in            *7 Plaintiff's next claim pertains to the exercise of his
any way. See Bouknight v. Shaw, No. 08 CIV 5187(PKC),                religious beliefs, which he claims were infringed by an
2009 WL 969932, at *6 (S.D.N.Y. Apr. 6, 2009) (finding               “intentional” cancellation of his religious “call-out.” (Compl.
plaintiff's allegation that officer “wrote [him] up for revenge”     at 22.) Plaintiff alleges that “there is no security reason for
was conclusory and insufficient to state a plausible retaliation     this.” (Id.)
claim).
                                                                     “The Free Exercise Clause of the First Amendment is an
Consequently, these claims are dismissed without prejudice.          ‘unflinching pledge to allow our citizenry to explore ...
To the extent that Plaintiff can provide more factual                religious beliefs in accordance with the dictates of their
allegations relating to the author of the misbehavior report and     conscience.’ ” Jackson v. Mann, 196 F.3d 316, 320 (2d
a connection between Plaintiff's grievance, the misbehavior          Cir. 1999) (quoting Patrick v. LeFevre, 745 F.2d 153, 157
report, and loss of Plaintiff's job, Plaintiff is granted leave to   (2d Cir. 1984)). “Prisoners have long been understood to
replead his claim.                                                   retain some measure of the constitutional protection afforded
                                                                     by the First Amendment's Free Exercise Clause.” Ford v.
                                                                     McGinnis, 352 F.3d 582, 588 (2d Cir. 2003). The Second
IV. First Amendment Freedom of Speech                                Circuit has acknowledged, however, that “although prisoners
Plaintiff additionally asserts that “DOCCS staff” did not            do not abandon their constitutional rights at the prison door,
allow him to notify his family about his treatment at an             lawful incarceration brings about the necessary withdrawal
outside hospital, and that he was not allowed to call them.          or limitation of many privileges and rights, a retraction
(Compl. at 21.) This amounts to a First Amendment freedom            justified by the considerations underlying our penal system.”
of speech claim, which is a cognizable claim under §                 Salahuddin v. Goord, 467 F.3d 263, 274 (2d Cir. 2006)
1983. See Morgan v. LaVallee, 526 F.2d 221, 225 (2d                  (internal quotation marks and citations omitted).
Cir. 1975) (“A prison inmate's rights to communicate with
family and friends are essentially First Amendment rights            To establish a free exercise claim, courts in this Circuit have
subject to § 1983 protection.”). First Amendment rights “may         generally required inmate plaintiffs to plead that the disputed
not be infringed without good cause,” and “there must be             conduct substantially burdened a sincerely held religious
a showing of a substantial governmental interest serving             belief. See Turner v. Sidorowicz, No. 12-CV-7048 (NSR),
the legitimate and reasonable needs and exigencies of the            2016 WL 3938344, at *5 (S.D.N.Y. July 18, 2016); Holland
institutional environment ... to warrant such limitations upon       v. Goord, 758 F.3d 215, 220–23 (2d Cir. 2014). Defendants
an individual inmate's rights to communicate.” Id. (internal         “then bear the relatively limited burden of identifying the
citations omitted). But, as courts considering prison telephone      legitimate penological interests that justify the impinging
restrictions have agreed, “an inmate has no right to unlimited       conduct[.]” Salahuddin, 467 F.3d at 275.
telephone use.” Pitsley v. Ricks, No. 96-CV-0372NAMDRH,
2000 WL 362023, at *4 (N.D.N.Y. Mar. 31, 2000) (citing               In the present action, Plaintiff has again failed to allege
support from First, Sixth, Seventh, Eighth, Fifth, and Ninth         that any Defendant was involved in the cancellation of
Courts of Appeals). The same holds true with regard to               his religious call out. Plaintiff does not specify how often
mailing non-legal letters. See Corby v. Conboy, 457 F.2d 251,        or why his callout was canceled. Without more, Plaintiff
254 (2d Cir. 1972) (“[A] prisoner's right to mail letters to his     cannot plausibly allege that his sincerely held religious beliefs
family or friends is not absolute.”).                                were “substantially burdened.” See Williams v. Weaver,
                                                                     No. 9:03CV0912(LEK/GHL), 2006 WL 2794417, at *5
In any case, allegations of infringement of rights must have         (N.D.N.Y. Sept. 26, 2006) (denial of access to two weekly
some specificity. Again, Plaintiff has failed to allege that         religious services does not constitute substantial burden);
any Defendant in this action was involved in this denial. For        c.f. George v. Cty. of Westchester, NY, No. 13 CV 4511
the reasons outlined above, because a defendant's personal           VB, 2014 WL 1508612, at *4 (S.D.N.Y. Apr. 10, 2014)
involvement is a necessary element of a 1983 claim, see              (finding substantial burden plausibly alleged where plaintiff


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was denied congregate religious services “repeatedly” over         (Id.) Plaintiff further specifies that Elberth retorted, “How
two periods totaling approximately ten months). Accordingly,       does that feel?”, to which Plaintiff responded that he was in
this claim is also dismissed without prejudice.                    pain. (Id.) Elberth then repeated the action using Plaintiff's
                                                                   right leg. (Id.) Subsequently, Plaintiff suffered a “minor heart
                                                                   attack.” (Id.)
VI. Eighth Amendment Excessive Force
Next, Plaintiff's description of the incident with Correctional    Defendants argue that the amount of force described by
Officer Elberth may be read to present an Eighth Amendment         Plaintiff was commensurate with the need to conduct a pat
excessive force claim. The Eighth Amendment prohibits the          frisk and does not rise to the level of a constitutional violation.
infliction of “cruel and unusual punishments.” U.S. Const.         The Court recognizes that “a pat frisk, involving some
amend. VIII. For a prisoner to prevail on a claim asserting that   physical contact, is a standard procedure inside a prison.”
he was subjected to cruel and unusual punishment, he must          Beckles v. Bennett, No. 05 CIV. 2000 (JSR), 2008 WL 821827,
prove both “an objective element—that the prison officials’        at *20 (S.D.N.Y. Mar. 26, 2008). As such, allegations of
transgression was ‘sufficiently serious’—and a subjective          aggressive pat frisks have generally not been found to be
element—that the officials acted, or failed to act, with a         “sufficiently serious” to present viable excessive force claims.
‘sufficiently culpable state of mind.’ ” Phelps v. Kapnolas,       See Tavares v. City of New York, No. 08 CIV. 3782 PAE JCF,
308 F.3d 180, 185 (2d Cir. 2002) (quoting Farmer v. Brennan,       2011 WL 5877550, at *6 (S.D.N.Y. Oct. 17, 2011), report and
511 U.S. 825, 834 (1994)).                                         recommendation adopted, No. 08 CIV. 3782 PAE, 2011 WL
                                                                   5877548 (S.D.N.Y. Nov. 23, 2011) (finding “actions taken
 *8 The objective prong, requiring the alleged conduct to be       consistent with a forceful pat frisk—the most serious contact
“ ‘sufficiently serious’ to reach constitutional dimensions,”      alleged by the plaintiff—are not sufficiently ‘repugnant to the
Hogan v. Fischer, 738 F.3d 509, 515 (2d Cir. 2013), is a           conscience of mankind,’ to give rise to an Eighth Amendment
context-specific standard that focuses on the harm done given      claim.”); Kalwasinski v. Artuz, No. 02 CV 2582 (LBS), 2003
“contemporary standards of decency.” Wright v. Goord, 554          WL 22973420, at *6 (S.D.N.Y. Dec. 18, 2003) (pressing
F.3d 255, 268 (2d Cir. 2009) (quoting Hudson v. McMillian,         inmate's face into the wall while conducting pat frisk was
503 U.S. 1, 8 (1992)). The Supreme Court has explained that        “commensurate with the need to conduct a pat frisk”); Rivera
“[w]hen prison officials maliciously and sadistically use force    v. Goord, 119 F. Supp. 2d 327, 342 (S.D.N.Y. 2000) (finding
to cause harm, contemporary standards of decency always are        level of force applied in “aggressive pat frisks” does not rise to
violated.” Hudson, 503 U.S. at 9. Therefore, “the malicious        a constitutional violation); see also Anderson v. Sullivan, 702
use of force to cause harm constitutes an ‘Eighth Amendment        F. Supp. 424, 427 (S.D.N.Y. 1988) (no excessive force found
violation[ ] per se ... whether or not significant injury is       where, while handcuffing plaintiff, officer pulled plaintiff's
evident.” Griffin v. Crippen, 193 F.3d 89, 91 (2d Cir. 1999).      hands behind his back and pushed him against a bar).
Nevertheless, “a de minimis use of force will rarely suffice to
state a constitutional claim.” Romano v. Howarth, 998 F.2d         While the level of force alleged here by Plaintiff may not, on
101, 105 (2d Cir. 1993). “Not every push or shove, even            its own, rise to the level of a constitutional violation, Plaintiff
if it may later seem unnecessary in the peace of a judge's         has alleged extenuating circumstances that distinguish his
chambers, violates a prisoner's constitutional rights.” Lebron     case from those involving run-of-the-mill pat frisks. Plaintiff
v. Mrzyglod, No. 14-CV-10290(KMK), 2019 WL 3239850,                alleges that he informed Elberth of his medical condition
at *14 (S.D.N.Y. July 18, 2019).                                   and heart surgery, which prevented him from moving his
                                                                   body as Elberth had instructed. Plaintiff further alleges
                                                                   that he did suffer physical pain as a result of Elberth's
   a. Excessive Force Analysis
                                                                   actions—and informed Elberth of this—but that Elberth
Here, during the course of a pat frisk, Plaintiff alleges that
                                                                   disregarded Plaintiff's condition and continued to forcefully
Elberth instructed him to reach back with his left hand and
                                                                   move Plaintiff's legs. Plaintiff has thus averred sufficient facts
take off his right boot. (Compl. at 22.) Plaintiff did not
                                                                   to plausibly claim that force was applied “maliciously and
comply, and instead told Elberth that “he could not reach
                                                                   sadistically for the very purpose of causing harm,” rather
back like that because he had a Qua[dru]ple By Pass and
                                                                   than “in a good faith effort to maintain or restore discipline.”
was unable to stretch back like that.” (Id.) In response,
                                                                   Hudson, 503 U.S. at 6; see also Santiago v. Westchester Cty.,
Elberth grabbed Plaintiff's left leg and pulled it back in a
                                                                   No. 13–CV–1886, 2014 WL 2048201, at *5 (S.D.N.Y. May
manner that caused Plaintiff's chest and face to hit the wall.


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19, 2014) (finding allegations that a prison official “threw        dismiss can only be sustained if plaintiff cannot state any facts
[the] [p]laintiff to the ground, twisted his arm, [and] picked      that would prevent the application of qualified immunity).
him up off the ground while squeezing his throat ... lead to a
plausible inference that the force inflicted was malicious and      It is well-settled that freedom from the use of excessive force
wanton”).                                                           is a clearly established constitutional right. See, e.g., Atkins
                                                                    v. Cty. of Orange, 372 F. Supp. 2d 377, 401 (S.D.N.Y. 2005),
 *9 This conclusion is reached by construing the allegations        aff'd on other grounds sub nom. Bellotto v. Cty. of Orange,
in the Complaint in a light most favorable to Plaintiff, and        248 F. App'x 232 (2d Cir. 2007). As discussed above, the
bearing in mind Plaintiff's status as a pro se litigant. Evidence   Complaint sufficiently alleges a violation of Plaintiff's clearly
uncovered during discovery may ultimately prove that the            established constitutional right to be free from excessive force
force employed by Defendant Elberth was done in a good              under the Eighth Amendment. Further, “nothing at this stage
faith effort to maintain or restore discipline, but such a          of the proceedings suggests that [the defendant] reasonably
determination is best resolved on a motion for summary              believed his actions to be lawful at the time of the challenged
judgment or at trial. See Olutosin v. Lee, No. 14-CV-685            act.” Santiago, 2014 WL 2048201, at *5. Consequently, the
(NSR), 2016 WL 2899275, at *9 (S.D.N.Y. May 16, 2016);              Court does not find the application of qualified immunity to
Landy v. Irizarry, 884 F. Supp. 788, 797 (S.D.N.Y. 1995)            be warranted at this juncture.
(“[T]he fact intensive inquiry of whether a particular use
of force was reasonable is best left for a jury to decide.”)
(collecting cases). As such, Defendants’ motion to dismiss          VII. Defendant Fuller
is denied as to Plaintiff's excessive force claims against          The only other Defendant named in the Complaint, Defendant
Defendant Elberth.                                                  Fuller, is also not alleged to have been personally involved
                                                                    in any constitutional violation. Plaintiff's only allegation
                                                                    against Defendant Fuller is that Plaintiff and Defendant
   b. Qualified Immunity Defense                                    Fuller engaged in a discussion about Plaintiff's intent to
Defendants argue that Defendant Elberth should be entitled to       file a grievance against Defendant Wyatt. (Compl. at 19.)
the defense of qualified immunity. The doctrine of qualified        These allegations fail to show Defendant Fuller's personal
immunity gives officials ‘breathing room to make reasonable         involvement in any constitutional violation, and for the same
but mistaken judgments about open legal questions.’ ”               reasons as previously stated, he is therefore dismissed from
Ziglar v. Abbasi, 137 S. Ct. 1843, 1866 (2017) (quoting             this action without prejudice.
Ashcroft v. al-Kidd, 563 U.S. 731, 743 (2011)). As such,
“qualified immunity shields both state and federal officials
from suit unless [1] the official violated a statutory or
                                                                                           CONCLUSION
constitutional right that [2] was clearly established at the time
of the challenged conduct.” Terebesi v. Torreso, 764 F.3d            *10 For the foregoing reasons, Defendants’ unopposed
217, 230 (2d Cir. 2014) (internal quotation marks omitted).         motion to dismiss is GRANTED in part and DENIED in part.
To determine whether a right was clearly established, the           The motion is denied as to Plaintiff's excessive force claims
Court looks to: (1) whether the right was defined with              against Defendant Elberth. The motion is granted as follows:
“reasonable specificity”; (2) whether the Supreme Court and
the applicable circuit court support the existence of the right;    The following of Plaintiff's claims are dismissed with
and (3) whether under existing law a reasonable defendant           prejudice:
would have understood that the conduct was unlawful. See
Gonzalez v. City of Schenectady, 728 F.3d 149, 161 (2d
Cir. 2013). “In this Circuit, a defendant may [raise qualified                   •     Plaintiff's First Amendment
immunity in a pre-answer motion to dismiss], but the defense                         retaliation    claims      against
is held to a higher standard than if it were asserted in a motion                    Defendants Wyatt, Hanson, and
for summary judgment.” Sledge v. Bernstein, No. 11 CV.                               any other defendants regarding the
7450(PKC)(HBP), 2012 WL 4761582, at *4 (S.D.N.Y. Aug.                                January 11, 2018 incident and cell
2, 2012); see also McKenna v. Wright, 386 F.3d 432, 436 (2d                          searches.
Cir. 2004) (a defense of qualified immunity in a motion to



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                                                                  The Clerk of the Court is respectfully directed to terminate
The following of Plaintiff's claims are dismissed without         Defendants Annucci, Keyser, Burnett, Williams, Justiniano,
prejudice:                                                        Proscia, Maxwell, Kortright, Reid, Decker, Encarnacion,
                                                                  Ogbonna, Aldana, Christie, Eggler, Bennett, Pomeroy,
  • Plaintiff's Eighth Amendment medical indifference             Sidorowicz, Wolf, Herman, Jordan, Tolentio, Miller, Beach,
    claims against Eggler, Bennett, Sidorowicz, and Wolf;         Askew, Wood, Maliga, Giminiani, Conway, Reddish,
                                                                  Puerschner, Ginsin, Jurgens, Bonnell, Braisington, Franke,
  • Plaintiff's First Amendment retaliation claim regarding
                                                                  Defrank, Depaolo, Stungis, Jarosz, Fuller, Wyatt, and Hanson.
    the loss of his job assignment;
                                                                  The Clerk of the Court is directed to mail a copy of this
  • Plaintiff's First Amendment freedom of speech claim;          Opinion to Plaintiff at his last address listed on ECF and file
                                                                  proof of service on the docket.
  • Plaintiff's First Amendment free exercise claim; and
                                                                  *11 SO ORDERED.
  • All remaining claims against Defendants Annucci,
    Keyser, Burnett, Williams, Justiniano, Proscia, Maxwell,
    Kortright, Reid, Decker, Encarnacion, Ogbonna,                Attachment
    Aldana, Christie, Eggler, Bennett, Pomeroy, Sidorowicz,
    Wolf, Herman, Jordan, Tolentio, Miller, Beach,
    Askew, Wood, Maliga, Giminiani, Conway, Reddish,
    Puerschner, Ginsin, Jurgens, Bonnell, Braisington,
    Franke, Defrank, Depaolo, Stungis, Jarosz, and Fuller.

Accordingly, the Clerk of the Court is respectfully directed to
terminate the Represented Defendants’ Motion to Dismiss at
ECF No. 79.

Plaintiff shall have thirty-five days from the date of this
Opinion, on or before February 27, 2020, to amend the
Complaint as to those claims that are dismissed without
prejudice. Because Plaintiff's amended complaint will
completely replace, not supplement, the original complaint,
any facts or claims that Plaintiff wishes to remain—aside from
those claims dismissed with prejudice per this Order—must
be included in the amended complaint. An Amended Civil
Rights Complaint form is attached to this Opinion. If Plaintiff
elects to file an amended complaint, Defendants shall have
thirty days from the date of Plaintiff's filing to respond.

If Plaintiff does not file an amended complaint within thirty-
five days, and he cannot show good cause to excuse such a
failure, those claims dismissed without prejudice by this order
will be deemed dismissed with prejudice, and the Complaint
(ECF No. 2) will serve as the operative complaint in this
action to which remaining Defendants should respond. The
remaining Defendant Elberth is directed to file an answer
to the Complaint on or before March 19, 2020. The parties
are directed to confer, complete, and submit to the Court the
attached case management plan on or before April 9, 2020.




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                                                                     affidavits, and exhibits that either repeat allegations in the
                    2016 WL 3004670                                  complaints or duplicate exhibits attached to the complaints.
      Only the Westlaw citation is currently available.              ECF Nos. 4; 5; 7; 11; 15; 18; 25; 26; 27; 28; 29; 31. 2 Based
       United States District Court, W.D. New York.                  on the complaint's captions, Smith is suing about 60 different
                                                                     defendants. 3
                    Jeremie SMITH, Plaintiff,
                              v.                                     2      Smith has also filed multiple letters and
                Brian FISCHER, et al., Defendants.
                                                                            declarations concerning both an alleged retaliatory
                       Case # 13-CV-6127-FPG                                transfer from Five Points to Great Meadow
                                  |                                         Correctional Facility (“Great Meadow”), and then
                         Signed 05/23/2016                                  various problems he had while at Great Meadow.
                                                                            ECF Nos. 6; 9; 17; 33. The issues in these letters
Attorneys and Law Firms                                                     and declarations are not properly before the Court,
                                                                            and it will correspond with Smith about these issues
Jeremie Smith, Fort Lauderdale, FL, pro se.                                 in a separate letter.
Hillel David Deutsch, NYS Attorney General's Office,                 3
                                                                            Smith is proceeding in forma pauperis, and thus
Department of Law, Rochester, NY, for Defendants.                           his complaints were subject to screening under 28
                                                                            U.S.C. § 1915. In a previous screening order, the
                                                                            Court dismissed a few of these defendants. 6208,
                     DECISION AND ORDER                                     ECF No. 7.
                                                                            The Court also notes that, based on the bodies of the
HON. FRANK P. GERACI, JR., Chief Judge
                                                                            complaints, Smith may actually be making claims
 *1 Before the Court is a motion to dismiss filed by various                against even more individuals than just those listed
defendants in this case. ECF No. 36.                                        in the complaints' captions.
                                                                     A global factual narrative of the complaints is not feasible
                                                                     as Smith's claims are based on a litany of separate factual
                                                                     scenarios. By way of brief background, at the time Smith filed
                         BACKGROUND
                                                                     his complaints, he was a prisoner at Five Points Correctional
This case is made up of two separate actions. The Court              Facility (“Five Points”) in Romulus, New York. Smith has
previously consolidated the action bearing case number 6:13-         since been released from prison. He brought this action pro
cv-6208 into the present action, which bears case number             se for money damages as well as declaratory and injunctive
6:13-cv-6127. ECF No. 35. Thus, for purposes of the pending          relief under 42 U.S.C. § 1983, the Americans with Disabilities
motion to dismiss (ECF No. 36), two complaints are at                Act (“ADA”), and the Rehabilitation Act. The defendants
                                                                     all appear to be officials who work for the New York
issue. 1
                                                                     State Department of Corrections and Community Supervision
                                                                     (“DOCCS”); almost all of them work specifically at Five
1          The Court will cite documents filed in the 6:13-          Points. Smith has sued all of them in their official and
           cv-6208 action prior to consolidation in the              individual capacities.
           following form: “6208, ECF No. ___.” Documents
           filed in the 6:13-cv-6127 action, both before and         Generally speaking, Smith's allegations revolve around
           after consolidation, will be cited in the Court's usual   confinement conditions at Five Points and various uses
           form: “ECF No. ___.”                                      of force by Five Points officials. For example, Smith
As the Court said in its consolidation order, the two                consistently references his “psychogenic dysphagia”—which
complaints filed by Plaintiff Jeremie Smith (“Smith”) are            is essentially a persistent fear of choking when eating—
“extraordinarily long and prolix”—they add up to about 230           and asserts that officials at Five Points did not feed him an
pages along with about 160 pages of exhibits. Id. at 1.              appropriately “soft” diet for 14 to 18 months. ECF No. 1 at,
Additionally, Smith has filed roughly 250 pages of letters,          e.g., ¶¶ 50-57, 60-67, 73, 136. Accordingly, Smith alleges that



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he could not eat the food he was served and thus suffered from
malnutrition. 4 Id. at, e.g., ¶¶ 60-67. Smith also alleges that,    Before addressing these arguments, the Court raises two
for instance, his in-cell toilet was broken for five days (id.      preliminary issues sua sponte. These issues relate to, first,
at ¶¶ 101—05) and that he was denied access to a razor for          Smith's claims for injunctive and declaratory relief, and
shaving for “over a month” (id. at ¶ 112). As for the excessive     second, to his claims for money damages under the ADA and
force claims, Smith alleges in one instance that an official        Rehabilitation Act.
struck his leg with an extraction shield after Smith, by his
own words, “urinated out of his feed up slot in his cell door...
                                                                       I. Claims for Injunctive and Declaratory Relief
[and] [t]hen stuck his leg out through the food slot in his cell
                                                                    Smith makes several claims for declaratory and injunctive
door and refused to pull his leg back into his cell.” 6208, ECF
                                                                    relief. Specifically, he requests a declaratory judgment stating
No. 1 at ¶ 53. In another separate instance, Smith alleges that
                                                                    that the defendants' medical care and uses-of-force violated
after he “began to verbally curse and threaten [an officer],” the
                                                                    the Eighth and Fourteenth Amendments. ECF No. 1 at
officer applied a metal waist chain excessively tight, causing
                                                                    ¶ 152(A); 6208, ECF No. 1 at p. 120. He also requests
Smith pain and suffering. ECF No. 1 at ¶ 109.
                                                                    injunctive relief in the form of a visit to an outside hospital,
                                                                    a dietary consultation, an audiological consultation, an
4       The voluminous exhibits Smith has filed are                 orthopedic consultation, and a psychiatric assessment. ECF
        illuminating as to the types of soft foods                  No. 1 at ¶ 152(B); 6208, ECF No. 1 at p. 120-21.
        Smith believed he could eat without choking.
        For example, he requested at various times hot              The docket reflects that Smith has been released from prison
        chocolate, peanut butter, ice cream, jelly, apple           since the time he requested this declaratory and injunctive
        sauce, pudding, and sugar. ECF Nos. 1 at p. 127; 12         relief. It is settled in the Second Circuit that an inmate's release
        at 42; 38-1 at 18. By contrast, he did not want meals       from prison moots his claims for declaratory and injunctive
        like the one he was served on June 16, 2012, which          relief against the prison's officials. See Salahuddin v. Goord,
        consisted of a “salad, a burnt piece of meat loaf and       467 F.3d 263, 272 (2d Cir. 2006); Mawhinney v. Henderson,
        mashed potatoes with skins mixed in them.” ECF              542 F.2d 1, 2 (2d Cir. 1976); see also Pugh v. Goord, 571
        No. 29 at 16.                                               F. Supp. 2d 477, 489 (S.D.N.Y. 2008) (“Where a prisoner
        Due to Smith's alleged inability to eat the food he         has been released from prison, his claims for injunctive
        was served, he was placed on “hunger strike” status         relief based on the conditions of his incarceration must be
        at Five Points. ECF No. 1 at ¶ 72. He remained              dismissed as moot.”) (emphasis in original). Accordingly,
        on hunger-strike status for an extended period of           Smith's claims for declaratory and injunctive relief, all of
        time because, as a nurse recounted in a medical             which are based on the conditions at Five Points, are now
        record that Smith filed along with his response to          dismissed as moot.
        the motion to dismiss, “[Smith] believes that his
        hunger strike status is part of the ‘proof that he
        needs to win a lawsuit against the State of New                II. Claims for Money Damages Under the ADA and
        York that he is being mistreated in prison.” ECF               Rehabilitation Act
        No. 38-1 at 55.                                             The Court next addresses Smith's claims for money damages
                                                                    under the ADA and Rehabilitation Act, both of which are
*2 These allegations will be discussed in detail below.
                                                                    specifically cited in one of Smith's complaints. ECF No. 1 at
                                                                    p. 2. Generally speaking, Title II of the ADA and Section 504
                                                                    of the Rehabilitation Act protect disabled individuals from
                        DISCUSSION                                  being excluded from public services. See 42 U.S.C. § 12132;
                                                                    29 U.S.C. § 794. Both provisions apply to inmates in state
In the pending motion, 24 of the defendants move to
                                                                    prisons. 5 See Pennsylvania Dep't of Corr. v. Yeskey, 524 U.S.
dismiss the claims against them under Rule 12(b)(6) of the
                                                                    206, 213 (1998) (ADA); Clarkson v. Coughlin, 898 F.Supp.
Federal Rules of Civil Procedure. ECF No. 36 at 2-16.
                                                                    1019, 1035-36 (S.D.N.Y. 1995) (Rehabilitation Act).
Additionally, the defendants have asked the Court to dismiss
both complaints without prejudice for failure to comply with
Rule 8 of the Federal Rules of Civil Procedure. Id. at 1.



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5                                                                  because they fail to comply with Rule 8 of the Federal Rules
       As a slight qualification that does not affect this
                                                                   of Civil Procedure.
       analysis, the Rehabilitation Act applies to inmates
       in state prisons as long as the prison is accepting
                                                                   Rule 8(a)(2) of the Federal Rules of Civil Procedure requires
       federal funding. See Clarkson v. Coughlin, 898
                                                                   that a complaint present a “short and plain statement of
       F.Supp. 1019, 1035-36 (S.D.N.Y. 1995).
                                                                   the claim showing that the pleader is entitled to relief.”
Neither the ADA nor the Rehabilitation Act, however,               Shortness and plainness are prescribed because the purpose
provide for liability against defendants in their individual       of a complaint is simply to provide the adverse party with
capacities. See Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009).   fair notice of the plaintiff's claim. Salahuddin v. Cuomo, 861
Accordingly, to the extent Smith is suing any defendants in        F.2d 40, 42 (2d Cir. 1998). “Unnecessary prolixity in [the
their individual capacities under the ADA or Rehabilitation        complaint] places an unjustified burden on the district judge
Act, those claims are dismissed. See 28 U.S.C. § 1915(e)(2)        and the party who must respond to it because they are forced
(B)(ii) (mandating dismissal of in forma pauperis actions “at      to ferret out the relevant material from a mass of verbiage.”
any time” if the court determines that the action fails to state   5 C. Wright & A. Miller, Fed. Prac. & Proc. Civ. § 1281 (3d
a claim).                                                          ed. 1998).

 *3 As for Smith's official-capacity claims under the ADA          There is no doubt that Smith has included a vast amount of
and Rehabilitation Act, the Court observes that “the State is      unnecessary detail in his two complaints. As will become
the real party in interest for ... claims against... individual    clear momentarily, Smith writes at length about what appear
defendants in their official capacities.” Fox v. State Univ.       to be, frankly, the relatively minor inconveniences associated
of N.Y., 497 F.Supp.2d 446, 451 (E.D.N.Y. 2007). Stated            with prison life. The Second Circuit has been clear, however,
differently, a judgment against a public official in his           that there is a difference between a complaint that simply
official capacity imposes liability on the entity he represents,   includes a large amount of unnecessary detail and a complaint
provided that the entity received notice and an opportunity to     that is wholly “unintelligible” and “defie[s] comprehension.”
respond. Brandon v. Holt, 469 U.S. 464, 471-72 (1985).             Shomo v. State of New York, 374 Fed.Appx. 180, 183 (2d Cir.
                                                                   2010) (citations and internal quotations omitted). Dismissal
Here, the entity represented by the defendants in this             under Rule 8 is generally warranted only in the second
case is DOCCS, and DOCCS has, of course, received                  category of cases where, in short, the complaint is so rambling
notice and an opportunity to respond to Smith's complaints.        that it is incomprehensible. See id. at 182-83. The case that
Because DOCCS is the real party in interest for the official-      the defendants rely on in seeking dismissal under Rule 8,
capacity claims, the Court hereby dismisses the ADA and            Ceparano v. Suffolk Cty., No. 10-CV-2030-SJF-ATK, 2010
Rehabilitation Act claims against the individual defendants in     WL 5437212, at *2 (E.D.N.Y. Dec. 15, 2010), is also clear on
their official capacities. See Hallett v. New York State Dep't     this point: “[D]ismissal of a complaint in its entirety should be
of Corr. Servs., 109 F. Supp. 2d 190, 199-200 (S.D.N.Y.            reserved for those cases in which the complaint is so confused,
2000) (“Because plaintiff is able to assert his ADA and            ambiguous, vague, or otherwise unintelligible that its true
Rehabilitation Act claims against DOCS directly ... there is       substance, if any is well disguised.” Id. at *3 (citations and
no justification for allowing plaintiff to also assert ADA and     internal quotations omitted).
Rehabilitation Act claims against the individual defendants
in their official capacities.”); see also B.D.S. v. Southold        *4 By contrast, where a complaint “enunciate[s]
Union Free Sch. Dist., No. CV-08-1319 SJF WDW, 2009                recognizable unconstitutional behavior” despite its
WL 1875942, at *21 (E.D.N.Y. June 24, 2009). DOCCS                 unnecessary length and detail, a district court should not
is now substituted as the sole defendant for the ADA and           dismiss the complaint, even without prejudice. See Shomo,
Rehabilitation Act claims.                                         374 Fed.Appx. at 182. Here, Smith's two complaints clearly
                                                                   fall into the first category of complaints; while they are
                                                                   certainly not models of clarity or brevity, they are also
  III. Dismissal Under Rule 8
                                                                   not “unintelligible” nor “a labrynthian prolixity of unrelated
The Court now turns to the arguments in the defendants'
                                                                   and vituperative charges that def[y] comprehension.” Prezzi
motion to dismiss. The defendants first argue that both of
                                                                   v. Schelter, 469 F.2d 691, 692 (2d Cir. 1972). Smith
Smith's complaints should be dismissed without prejudice
                                                                   has described, in clear handwriting and in a relatively



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understandable manner, multiple uses of force by Five Points           The Court makes one final preliminary point before turning
officials and, more generally, “the day-to-day events ...              to the individual defendants. As stated previously, Smith has
[that] concern the activities of his daily living.” Shomo, 374         sued all of the defendants in their official and individual
Fed.Appx. at 183. It is clear to the Court that his claims             capacities. ECF No. 1 at p. 2; ECF No. 1 at p. 2; 6208. To
“center[ ] around his disability and the alleged deliberate            the extent Smith seeks damages from the DOCCS officials in
indifference to his serious medical needs,” and that is enough         their official capacities under Section 1983, those claims are
at this stage in the litigation. Id. It is acknowledged, of course,    barred by the Eleventh Amendment. See Severino v. Negron,
that Smith's lengthy complaints place a heavy burden on both           996 F.2d 1439, 1441 (2d Cir. 1993) (“[I]t is clear that the
the New York Attorney General's Office, which represents all           Eleventh Amendment does not permit suit [under § 1983]
of the defendants in this action, and this Court. The law is,          for money damages against state officials in their official
however, unambiguous on this point—dismissal under Rule                capacities.”). Accordingly, all official capacity claims for
8 is not warranted for these types of complaints.                      money damages brought under § 1983 are hereby dismissed.
                                                                       See 28 U.S.C. § 1915(e)(2)(B)(iii) (mandating dismissal of in
                                                                       forma pauperis actions “at any time” if the court determines
   IV. Claims for Money Damages Under Section 1983                     that the defendants are immune from monetary relief).
The Court now addresses Smith's claims for money damages
under 42 U.S.C. § 1983. This statute imposes liability on              Below, the Court addresses the arguments of each defendant,
anyone who, under color of state law, deprives a person                and occasionally groups together those defendants who make
“of any rights, privileges, or immunities secured by the               similar arguments for dismissal.
Constitution and laws.” 42 U.S.C. § 1983. In other words, to
recover under this provision, a plaintiff must show a violation
of a federal constitutional or statutory right.                            A. Defendants Abbott, Lt. Gardener, and Patches
                                                                        *5 Defendants Abbott, Lt. Gardener, 6 and Patches are all
In the pending motion, as stated above, 24 of the defendants           corrections officials at Five Points. The only claims against
now move to dismiss the Section 1983 claims against them               them are straightforward. Smith alleges that on December 1,
under Rule 12(b)(6) of the Federal Rules of Civil Procedure.           2011, he was on “in cell ‘water deprivation,’ ” (ECF No. 1 at
In reviewing a motion to dismiss under Rule 12(b)(6), the              ¶ 101) (internal quotations in original) which—as is apparent
Court must accept the factual allegations in the complaint             from other parts of the complaints—is where officials turn
as true and draw all reasonable inferences in favor of the             off an inmate's in-cell sink and toilet water after the inmate
plaintiff. See Nechis v. Oxford Health Plans, Inc., 421 F.3d           is accused of intentionally flooding his cell (id. at ¶¶ 58-59).
96, 100 (2d Cir. 2005). To survive a motion to dismiss, “a             Smith alleges that on December 1, 2011 he asked Officer
complaint must contain sufficient factual matter ... ‘to state a       Filighera, another Five Points corrections official who is a
claim to relief that is plausible on its face.’ ” Ashcroft v. Iqbal,   defendant in this case, to turn his in-cell water back on. ECF
556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,          No. 1 at ¶ 101. Filighera turned on Smith's sink water but
550 U.S. 544, 570 (2007)). To meet this standard, the factual          “walked off... without turning on the [his] toilet water.” Id.
allegations must permit the court “to infer more than the mere         Later that day, Smith informed Officer Patches that his toilet
possibility of misconduct.” Iqbal, 556 U.S. at 679.                    water was still off, and Patches apparently came back to
                                                                       Smith's cell shortly therafter with Filighera. Id. at ¶ 102. Both
Because Smith is proceeding pro se, the Court must “construe           officers made “several attempts to turn on the plaintiff[']s
[the] complaint liberally and interpret it to raise the strongest      toilet water to no avail.” Id. at ¶ 102. Patches told Smith that
arguments that it suggests.” Chavis v. Chappius, 618 F.3d              the valve on Smith's toilet was broken, and that he would place
162, 170 (2d Cir. 2010) (citation and internal quotations              a work order for Smith's toilet to be fixed. Id. at ¶ 103.
omitted). “Even in a pro se case, however, ... threadbare
recitals of the elements of a cause of action, supported by            6       There appears to be both a “Gardener” who is
mere conclusory statements, do not suffice.” Id. (citations and
                                                                               a nurse and a “Gardener” who is a corrections
internal quotations omitted). So while the Court will draw
                                                                               officer. This analysis refers to the Gardener who is
the most favorable inferences that the complaint supports, it
                                                                               a corrections officer.
will not “invent factual allegations that [the plaintiff] has not
pled.” Id.                                                             The next day, December 2, 2011, Smith informed Officers
                                                                       Abbott and Lt. Gardener that his toilet was still broken.


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Id. at ¶ 103. “After several attempts were made to fix the          On these allegations, Smith has not at all indicated that
plaintiff[']s toilet,” Lt. Gardener and another official in this    Abbott, Lt. Gardener, or Patches were deliberately indifferent
case 7 informed Smith once again that his toilet valve was          to this admittedly unfortunate condition. For this reason, the
broken and that they would place another work order for             motions to dismiss by Abbott, Lt. Gardener, and Patches are
Smith's toilet to be fixed. Id. at ¶ 104. On December 5, 2011,      GRANTED.
a plumber fixed Smith's toilet. Id. at ¶ 105.

                                                                       B. Defendant Atwood
7       The claims against this official, Officer Terry, are         *6 Defendant Atwood is another corrections official at Five
        discussed in Part IV.Q, infra.                              Points. Smith attempts to state an excessive force claim
In sum, Smith alleges that for five days from December 1,           against Atwood by alleging as follows: On March 20, 2012,
2011 to December 5, 2011, he was left inside his cell “with         Smith “became mentally unstable and urinated out of his feed
accumulated waste and a broken toilet.” Id. at ¶ 105.               up slot in his cell door. The plaintiff then stuck his leg out
                                                                    through the food slot in his cell door and refused to pull his
Plaintiff is effectively attempting to state a conditions-          leg back into his cell.” 6208, ECF No. 1 at ¶ 53. Atwood then
of-confinement claim against the three officials at issue           allegedly “authorized” another official in this case to “sneak
under the Eighth Amendment, which prohibits “cruel and              up along side of the plaintiff[']s cell to ‘strike’ the plaintiff in
unusual punishments. U.S. Const, amend. VIII. To state a            the leg with the N.Y.S. DOCCS extraction shield without any
valid conditions-of-confinement claim, an inmate must allege        warning to the plaintiff.” Id. (quotations in original).
that: “(1) objectively, the deprivation the inmate suffered
was sufficiently serious that he was denied the minimal             Smith's claim for excessive force also arises under the
civilized measure of life's necessities, and (2) subjectively,      Eighth Amendment. To state an excessive force claim, an
the defendant official acted with a sufficiently culpable state     inmate must allege that: (1) “the conduct was objectively
of mind ..., such as deliberate indifference to inmate health       harmful enough or sufficiently serious to reach constitutional
or safety.” Walker v. Schult, 717 F.3d 119, 125 (2d Cir.            dimensions,” and (2) “the defendant acted with a subjectively
2013) (citations and internal quotations omitted) (ellipses in      sufficiently culpable state of mind,” which is “characterized
original).                                                          by wantonness in light of the particular circumstances
                                                                    surrounding the challenged conduct.” Harris v. Miller, ___
Smith's conditions-of-confinement claim against Abbott, Lt.         F.3d ____, No. 14-2957, 2016 WL 963904, at * 10-12 (2d Cir.
Gardener, and Patches fails to pass the motion-to-dismiss           Mar. 15, 2016) (citations and internal quotations omitted).
threshold. In short, regardless of whether a broken toilet with
“accumulated waste” is an objectively serious condition under       In his motion to dismiss, Defendant Atwood skips the
the Eighth Amendment, Smith has failed to show how he               excessive force analysis altogether by attempting to neatly
could satisfy the subjective prong of the test. In other words,     parse Smith's allegations. In short, Atwood argues that Smith
Smith has failed to allege that Abbott, Lt. Gardener, or Patches    never alleged in the complaint that another official actually
were deliberately indifferent to his health and safety. By          struck Smith in the leg with an extraction shield; rather, Smith
Smith's own words, Abbott, Lt. Gardener, and Patches were           merely alleged that Atwood “authorized” another officer to
actually quite diligent in trying to fix Smith's toilet: On the     strike Smith in the leg with a shield. ECF No. 36-1 at 3-4.
same day Smith told Officer Patches about the broken toilet,        Atwood thus asserts that because a mere verbal threat in
Patches made “several attempts to turn on the plaintiff[']s         a prison setting cannot rise to the level of a constitutional
toilet water” before then placing a work order for the toilet       violation, the § 1983 claim against him must be dismissed. Id.
to be fixed. On the next day, when Smith told Defendants
Abbott and Lt. Gardener about his broken toilet, Abbott and         While it is generally true that verbal harassment does not rise
Gardener also made “several attempts ... to fix the plaintiff's     to the level of a constitutional violation, the Court finds that
toilet” before placing yet another work order for it to be          the claim against Atwood can be dismissed more directly.
fixed. The toilet was then fixed five days after Smith's original   Even if an officer followed Atwood's order and struck Smith
complaint.                                                          in the leg, Smith has failed to make sufficient allegations
                                                                    to state an excessive force claim. First, as for the objective
                                                                    prong, Smith has failed to allege that he suffered any sort
                                                                    of injury or harm from the incident. Pesola v. City of New


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York, No. 15-CV-1917 (PKC)(SN), 2016 WL 1267797, at *7           defendant can be personally involved in a deprivation, see
(S.D.N.Y. Mar. 30, 2016) (“Courts in this Circuit regularly      Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995), but as a
hold that a plaintiff must have sustained some injury to         general rule, an official does not become personally involved
maintain a claim of excessive force. That injury, however,       by merely forwarding a prisoner's complaint to a subordinate.
need not be severe.”) (internal citations omitted) (collecting   See Rivera v. Fischer, 655 F. Supp. 2d 235, 238 (W.D.N.Y.
cases). Thus, Smith fails to satisfy the first prong of the      2009) (“[I]f an official receives a letter from an inmate and
excessive-force test.                                            passes it on to a subordinate for response or investigation, the
                                                                 official will not be deemed personally involved with respect
As for the subjective prong, Smith admits that the entire        to the subject matter of the letter.”). Here, Koenigsmann's
situation resulted from him urinating out of the feed-up slot    only alleged involvement in the alleged “medical neglect and
in his cell door, sticking his leg out of the slot, and then     abuse” was his receipt and forwarding of Smith's letters. This
refusing to pull his leg back into his cell. 6208, ECF No. 1     is not enough to support a § 1983 claim, and thus, Smith's
at ¶ 53. Given that the subjective prong is characterized by     claim regarding the matters raised in the letters he sent to Dr.
“wantonness in light of the particular circumstances,” Harris,   Koenigsmann is dismissed.
2016 WL 963904 at * 10 (emphasis added) (citations and
internal quotations omitted), these particular circumstances     Additionally, to the extent Smith is seeking to hold
show that the force used used was not malicious or wanton;       Koenigsmann liable for simply failing to investigate his
rather, it was an understandable effort to exert control over    complaints, the law is settled that “that inmates do not
an out-of-control inmate. Romano v. Howarth, 998 F.2d 101,       enjoy a constitutional right to an investigation of any kind
105 (2d Cir. 1993) (observing that a “a good-faith effort to     by government officials.” See McCloud v. Prack, 55 F.
maintain or restore discipline” does not support an excessive    Supp. 3d 478, 481 (W.D.N.Y. 2014) (citations and internal
force claim). Given that, once again, Smith has not alleged      quotations omitted). Accordingly, any claim based on a failure
that he suffered any injury, it also appears to have been a      to investigate is dismissed.
proportional effort exert such control. This sort of force is
antithetical to an excessive force claim.                        Smith makes similar allegations against Bellnier,
                                                                 Koenigsmann, and Van Buren as a group. By way of
*7 For these reasons, the motion to dismiss by Defendant         brief background, Smith asserts throughout the 6:12-cv-6127
Atwood is GRANTED.                                               complaint that he is afflicted with “psychogenic dysphagia,”
                                                                 which essentially is a persistent fear of choking when eating.
                                                                 ECF No. 1 at, e.g., ¶¶ 47-57. Smith further asserts throughout
   C. Defendants Bellnier, Koenigsmann, and Van Buren            this complaint that Five Points officials did not feed him an
Defendants Bellnier, Koenigsmann, and Van Buren are              appropriately “soft” diet over a period of 14 to 18 months, and
all DOCCS supervisory officials. Bellnier is the Deputy          thus he suffered from malnutrition. Id. at, e.g., ¶¶ 60-67, 136.
Commissioner for Correctional Facilities, Dr. Koenigsmann
is the Deputy Commissioner/Chief Medical Officer, and Van        With this background in mind, Smith asserts that an attorney
Buren is the Assistant Commissioner.                             at Prisoners' Legal Services of New York wrote to Bellnier,
                                                                 Koenigsmann, and Van Buren in November 2011 regarding
As for Dr. Koenigsmann, Smith alleges that he “sent              Smith's inadequate diet. Id. at ¶ 135. Smith alleges that despite
numerous complaints of medical neglect and abuse” to             this letter, Bellnier, Koenigsmann, and Van Buren “did not
Koenigsmann. ECF No. 1 at ¶ 134. Smith alleges                   intervene ... to prevent the abuse and neglect of the plaintiff.”
that Koenigsmann simply assigned the investigations of           ECF No. 1 at ¶ 136. In short, Smith alleges that they ignored
these complaints to subordinates without investigating the       the letter and did not provide him with a suitable diet. Id.
complaints himself. Id.
                                                                  *8 Smith has once again failed to adequately allege
The Court deals with these allegations briefly. As will be       that Bellnier, Koenigsmann, or Van Buren were personally
revisited throughout this Decision, for a plaintiff to receive   involved in the diet-related deprivation. In short, as a general
a damages award under § 1983, he must show that the              rule, an “allegation that a supervisory official ignored a
defendant in question was personally involved in the alleged     prisoner's letter protesting unconstitutional conduct is not
constitutional deprivation. See Gaston v. Coughlin, 249 F.3d     itself sufficient to allege the personal involvement of the
156, 164 (2d Cir. 2001). There are a variety of ways that a


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official so as to create liability under § 1983.” Richardson          (S.D.N.Y. June 26, 2009), aff'd sub nom. Bellamy v. Mount
v. Coughlin, 101 F. Supp. 2d 127, 132 (W.D.N.Y. 2000)                 Vernon Hosp., 387 Fed.Appx. 55 (2d Cir. 2010) (“[The
(citations and internal quotations omitted). Notably, the fact        plaintiff's] conclusory allegations that [the prison official]
that this letter was written on behalf of the prisoner as opposed     must have known about [the plaintiff's] plight is not enough
to by the prisoner himself is not legally significant. Whether        to impute section 1983 liability”).
an official becomes personally involved in a deprivation
after receiving a letter turns on the degree to which the             For these reasons, Bianconi's motion to dismiss is
official “personally look[ed] into the matters raised in the          GRANTED.
letter.” Rivera, 655 F. Supp. 2d at 238. Here, there are
no allegations that Bellnier, Koenigsmann, or Van Buren
“personally look[ed] into” the matters raised in the letter or           E. Defendant Bradley
responded in any way. Without these types of allegations,             Defendant Bradley is a corrections official at Five Points.
Smith has not stated a claim against Bellnier, Koenigsmann            Smith alleges that on March 28, 2012, Bradley came to
or Van Buren.                                                         Smith's cell to pass out his dinner. 6208, ECF No. 1 at ¶ 68.
                                                                      Bradley allegedly ordered Smith to go to the back of his cell,
Accordingly, Bellnier, Koenigsmann, and Van Buren's                   face the wall, get down his knees, and place his hands on his
motions to dismiss are GRANTED.                                       head. 8 Id. Smith, by his own admission, refused Bradley's
                                                                      order, and thus Bradley declined to give Smith his dinner
                                                                      that night. Id. Smith also alleges that Bradley told a nurse
   D. Defendant Bianconi                                              not to give Smith his nutritional supplement and psychiatric
Defendant Bianconi is a mental health therapist at Five Points.       medications. Id.
In a single paragraph of one of the complaints, Smith makes
the following brief allegations against Bianconi: “Bianconi           8      Based on exhibits Smith attached to a motion
[was] well aware of the plaintiff's psychiatric [d]iagnosis of
                                                                             for a preliminary injunction he previously filed
‘psychogenic dysphagia.’ ” ECF No. 1 at ¶ 137 (internal
                                                                             in this case, Smith was required to get in
quotations in original). Despite Bianconi's alleged awareness
                                                                             this position before receiving meals “[d]ue to
of Smith's condition, Bianconi “allowed [him] to be placed on
                                                                             numerous instances of unhygienic acts ... as well
an in cell ‘hunger strike’ from 12-25-2011-4-3-2012 without
                                                                             as obstructing the closing of feed-up hatches with
being properly monitored by [t]he [Five Points] medical and
                                                                             property or hands or feet.” ECF No. 12 at 62.
mental health staff.” Id. (internal quotations in original). Here,
the Court notes that Smith's allegation that he was “placed           *9 Smith also adds that his cell on March 28, 2012
on ... hunger strike” refers to the fact that Five Points officials   was “completely bare,” that is, it was missing sheets and
placed him on hunger-strike status as a precautionary measure         toiletries. 9 Id. (internal quotations omitted). Accordingly,
because he was unwilling or unable to eat the food he was             Smith asked Bradley to provide him with certain items
served. Id. at, e.g., ¶ 72 (internal quotations omitted); see also    including bed sheets, a blanket, toilet paper, soap, and
supra note 4.                                                         toothpaste. Id. Bradley allegedly “denied the plaintiff these
                                                                      [items], and advised the plaintiff to speak with RMHU
Smith is effectively attempting to state a claim for deliberate       Security Captain P. Piccolo in order to receive [them].” Id.
medical indifference against Bianconi. Once again, however,
Smith has failed to sufficiently alleged that Bianconi                9      It appears that Smith's cell was “completely bare”
was personally involved in the diet-related deprivation, so
                                                                             on March 28, 2012 due to concerns over his
Bianconi cannot be liable for damages under § 1983. See
                                                                             mental health. Smith had spent the previous five
Gaston, 249 F.3d at 164. In short, the only allegation against
                                                                             days, from March 23, 2012 to March 28, 2012, in
Bianconi—she was “well aware” of Smith's problem yet
                                                                             the Residential Crisis Treatment Program at Five
did not nothing to resolve it—is exactly the type of bare,
                                                                             Points. 6208, ECF No. 1 at ¶¶ 66-67.
conclusory allegation that cannot be credited on a motion to
dismiss. Iqbal, 556 U.S. at 680 (disregarding as conclusory           The Court first addresses Bradley's alleged failure to give
allegations that officials “knew of” yet “condoned” harsh             Smith his dinner and nutritional supplement (which Smith
conditions of confinement); see also Bellamy v. Mount Vernon          drinks as a sort of meal replacement). In short, even assuming
Hosp., No. 07 CIV. 1801 (SAS), 2009 WL 1835939, at *6                 this allegation is true, it is clear in this Circuit that the


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failure to receive one or two meals in prison is a de               standard under the Eighth Amendment has two components:
minimis deprivation that does not support constitutional            “First, the alleged deprivation must be, in objective terms,
claim. See, e.g., Parker v. Peek-Co, No. 06-CV-1268, 2009           sufficiently serious. Second, the charged official must act
WL 211371, at *4 (N.D.N.Y. Jan. 27, 2009) (“While plaintiff         with a sufficiently culpable state of mind.” Hathaway v.
alleges that he was deprived of two meals on that date              Coughlin, 37 F.3d 63, 66 (2d Cir. 1994) (internal citations
as a result of the defendant's actions, such a deprivation,         and quotations omitted). Notably, the Second Circuit has
while not to be condoned, is de minimis and does not                provided guidance on the first prong when the basis for the
rise to a level of constitutional significance.”); Cagle v.         claim is a temporary disruption in medical treatment. Smith v.
Perry, No. 9:04CV1151 (TJM/GHL), 2007 WL 3124806, at                Carpenter, 316 F.3d 178, 185 (2d Cir. 2003). In short, instead
*14 (N.D.N.Y. Oct. 24, 2007), report and recommendation             of focusing on the inmate's “underlying medical condition
adopted, No. 9:04CV1151(TJM/GHL), 2007 WL 3124806, at               alone in analyzing whether the alleged deprivation is, in
*14 (N.D.N.Y. Oct. 24, 2007) (“[T]wo meal deprivations ...          ‘objective terms, sufficiently serious,’ ” the Court must focus
[are] not sufficiently numerous, prolonged or severe to rise        on the “challenged delay or interruption in treatment.” Id.
to the level of an Eighth Amendment violation.”) (emphasis          (emphasis in original) (quoting Chance, 143 F.3d at 702).
omitted). Thus, the claim against Bradley regarding his failure     Consequently, to satisfy the objective prong, a plaintiff who
to give Smith his dinner and nutritional supplement on March        temporarily did not receive his medication cannot just allege
28, 2012 is dismissed.                                              that he has an objectively serious medical condition like
                                                                    depression. Rather, the Court will look to, most importantly,
Similarly, Bradley's alleged refusal to provide Smith with bed      the “actual medical consequences that flow from the alleged
sheets, a blanket, and toiletries also falls squarely within the    denial of care” in determining whether the prong is satisfied.
realm of a de minimis deprivation. Notably, Smith has not           Smith, 316 F.3d at 187.
even alleged that he was without these items for the night
of March 28, 2012; he has merely alleged that Bradley told           *10 Here, Smith has failed to identify a single medical
him to talk to another official about the items. However, even      consequence that resulted from his alleged failure to receive
assuming Smith was without bed sheets, a blanket, and certain       his psychiatric medications on March 28, 2012. He has
toiletries on the night of March 28, 2012, such a brief and         simply alleged, without any other detail, that he failed to
intermittent deprivation of these sorts of items is de minimis.     receive his medications on a single night. Furthermore, even
See, e.g., Phelan v. Zenzen, No. 10-CV-6704 CJS, 2012 WL            apart from his failure to identify a medical consequence
5420423, at *5 (W.D.N.Y. Nov. 6, 2012) (holding that the            flowing from this interruption, the complaint is devoid of
denial of a pillow and razor for several nights did not violate     any other “relevant facts and circumstances” regarding the
constitutional rights); Loadholt v. Lape, No. 9:09-CV-0658,         deprivation that might allow him to survive a motion to
2011 WL 1135934, at *4 (N.D.N.Y. Mar. 3, 2011), report              dismiss. Id. (observing broadly that courts should examine the
and recommendation adopted, No. 9:09-CV-0658 LEK RFT,               “specific factual context of each case” to determine whether
2011 WL 1114253 (N.D.N.Y. Mar. 25, 2011) (“[C]ourts in this         the interruption in treatment is sufficiently serious). Notably,
Circuit have found the deprivations of better pain medicine, a      Smith also does not identify what drugs he was actually
cane, a mattress, a pillow, or better shoes, as the Plaintiff has   denied, and, more generally, he does not even say what
alleged, do not meet, neither singularly nor collectively, the      psychiatric problems he was suffering from on March 28,
objective standard under the Eighth Amendment.”). Simply            2012. Without providing this sort of information, Smith has
put, “the Constitution does not require comfortable prison          failed to adequately allege that the interruption in treatment
conditions.” Walker, 717 F.3d at 125 (2d Cir. 2013) (citations      was sufficiently serious. Accordingly, Bradley's motion to
and internal quotations omitted).                                   dismiss is GRANTED.

Finally, the Court addresses Bradley's alleged directive to a
nurse to not provide Smith with his psychiatric medications            F. Defendant Burri
on March 28, 2012.                                                  Defendant Burri is a corrections official at Five Points. All of
                                                                    the events involving Burri occurred on December 30, 2011.
Smith has effectively attempted to state a deliberate
indifference claim against Bradley for a temporary                  First, Smith alleges that while he was lying on a medical
interruption in medical treatment. The deliberate indifference      examination table with his shirt unbuttoned, Burri made the
                                                                    following remarks: “Smith! You should get your nipples


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pierced, I had mine done;” and “If I was locked in a cell all           For the reasons above, Burri's motion to dismiss is
day long all I would do is beat off and smoke weed.” ECF No.            GRANTED.
1 at ¶¶ 96-97. Additionally, while Burri and Parish—another
officer who is a defendant in this case—were escorting Smith
back to his cell, Parish said, “Smith! Whenever I jerk off all             G. Defendant Colvin
my fluids come out of my dick and I get dehydrated.” Id. at             Defendant Colvin is the Deputy Superintendent for Security
¶ 99. Burri and the other officers allegedly laughed at this            at Five Points. Colvin is a supervisory official, and Smith
comment. Id. Finally, Smith alleges that during the same walk           makes a variety of allegations against Colvin in his
back to his cell, Burri intentionally stepped on the back of            supervisory capacity.
Smith's shoe, causing the shoe to fall off. Id. at ¶ 100. Smith
apparently tried to turn around to pick up the shoe, but another         *11 First, Smith alleges that he filed a grievance on
officer tightly gripped Smith's waist chain and ordered Smith           December 21, 2011 regarding a nurse failing to wear gloves
to face forward. Id.                                                    while pouring his nutritional supplement into a Styrofoam
                                                                        cup. ECF No. 1 at ¶¶ 78-79. Colvin apparently responded
First, as for Burri's comments to Smith and his laughing                to the grievance as follows: “The investigation reveals that
at another officer's comments, it is well-settled that verbal           the pouring of Jevity [nutritional supplement] into a styro-
harassment by a corrections official is not a constitutional            foam cup does not require the use of a sterile procedure.
violation. Purcell v. Coughlin, 790 F.2d 263, 265 (2d Cir.              The grievant has the right to refuse the Jevity. Grievance
1986); Jones v. Harris, 665 F. Supp. 2d 384, 396 (S.D.N.Y.              [d]enied.” Id. at ¶ 79.
2009). Accordingly, the claims related to Burri's comments
to Smith and his laughing at another officer's comments are             Second, Smith alleges that he filed a grievance on January 6,
dismissed.                                                              2012 regarding a “destructive cell search.” Id. at ¶ 113. Smith
                                                                        further alleges, without any elaboration, that Colvin denied
Second, Burri stepping on the back of Smith's shoe does not             the grievance. Id.
rise to the level of a constitutional claim. Sims v. Artuz, 230
F.3d 14, 22 (2d Cir. 2000) (“[N]ot every push or shove, even            Third, Smith alleges that he wrote a letter to Defendant
if it may later seem unnecessary in the peace of a judge's              Sheahan, another supervisory official, on January 30, 2013
chambers, violates a prisoner's constitutional rights.”). This          regarding his request for a kosher diet. Id. at ¶ 141. Sheahan
is especially true as Smith has not alleged that he suffered            apparently forwarded the letter to Colvin, who then forwarded
“discernible injury” from the incident. Wilkins v. Gaddy, 559           the letter to another official. Id. That offical then responded
U.S. 34, 38 (2010).                                                     to Smith unfavorably. Id.


Finally, the Court notes that to the extent Smith is trying to          As for the first allegation, Smith has adequately alleged
hold Burri liable for participating in an incident where another        that Colvin was personally involved in the underlying
officer tightened Smith's waist chain, that allegation is also          incident. In short, Smith alleges that Colvin responded to
not actionable. It is a general rule in this Circuit that in a prison   Smith directly about his grievance regarding a nurse not
setting, an assertion that an official tightened handcuffs or           wearing gloves while handling a nutritional supplement.
waist chains is insufficient to support an excessive force claim        In his response, Colvin allegedly indicated that he had
“unless it causes some injury beyond temporary discomfort.”             conducted an “investigation” into the nurse not wearing
Lynch ex rel. Lynch v. City of Mount Vernon, 567 F.Supp.2d              gloves. That is enough to establish Colvin's personal
459, 468 (S.D.N.Y. 2008); Rosenberg v. Coon, No. 12 CV                  involvement in the incident at this stage. See Walker v.
3803 VB, 2013 WL 1223516, at *3 (S.D.N.Y. Mar. 27, 2013)                Pataro, No. 99CIV.4607(GBD)(AJP), 2002 WL 664040, at
(treating as legally equivalent the tightening of handcuffs             * 13 (S.D.N.Y. Apr. 23, 2002) (“[W]here a supervisory
and the tightening of waist chains). Here, Smith has not                official receives and acts on a prisoner's grievance (or
even alleged that he suffered temporary discomfort from                 substantively reviews and responds to some other form of
the waist-chain tightening incident. Accordingly, the claim             inmate complaint), personal involvement will be found ....”).
against Burri related to waist-chain tightening on December
30, 2011 is also dismissed.                                             Smith has not, however, alleged any Eighth Amendment
                                                                        claim underlying the grievance in question. Construed
                                                                        liberally, Smith is attempting to a state a claim for inadequate


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medical care. Such a claim must satisfy (1) an objective           will not be found unless the supervisor's response is detailed
component, where “the alleged deprivation of adequate              and specific ....”) (internal citations and quotations omitted).
medical care must be sufficiently serious,” and (2) a
subjective component, where the “official must act with a          Similarly, Colvin's forwarding of Smith's letter about a kosher
sufficiently culpable state of mind.” Salahuddin, 467 F.3d at      diet to another official does not show that Colvin was
279 (citations and internal quotations omitted).                   personally involved in the underlying incident. See supra Part
                                                                   IV.C; Rivera, 655 F. Supp. 2d at 238 (“[I]f an official receives
To satisfy the objective prong on a motion to dismiss, an          a letter from an inmate and passes it on to a subordinate
inmate typically must allege that he suffered some actual          for response or investigation, the official will not be deemed
harm due to the inadequate medical care. See Goolsby v.            personally involved with respect to the subject matter of the
Cicconi-Crozier, No. 13-CV-822-A, 2014 WL 1279066, at              letter.”). In short, the claims regarding Colvin's involvement
*4 (W.D.N.Y. Mar. 27, 2014) (“[P]laintiff's allegations fail to    in both the destructive cell search and Smith's kosher diet are
satisfy the objective component of a deliberate indifference       also dismissed.
claim because he does not allege that any actual harm
resulted ....”). Salahuddin, 467 F.3d at 280. At the very least,   For the reasons stated above, Colvin's motion to dismiss is
the inmate can satisfy the objective prong by alleging that        GRANTED.
future harm was likely or “very likely” to result from the
inadequate care. See Helling v. McKinney, 509 U.S. 25, 33
(1993). Here, Smith has not anywhere alleged that he suffered         H. Defendants Crance and O'Connor
actual harm from a nurse not wearing gloves while handling         Defendants Crance and O'Connor are corrections officials at
his nutritional supplement; he also has not alleged that he was    Five Points. Smith alleges that on May 23, 2012, Crance and
likely to suffer any future harm from the nurse not wearing        O'Connor came to Smith's cell to take him to a disciplinary
gloves. Smith has merely alleged that the nurse's “completely      hearing and to see a nurse. 6208, ECF No. 1 at ¶ 75. The
bare” hands were “germ infested” as a result of the nurse          officials first shackled Smith's ankles (id.), which Smith
“rub[bing] his face and eyes” and touching other prisoners'        contends they were not authorized to do (id. at ¶ 78). They
medications. ECF No. 1 at ¶ 79. This is not nearly enough to       then asked Smith to put his arms through the slot of his cell
show that the care Smith received was objectively inadequate.      door to be handcuffed. Id. at ¶ 75. After Smith put his hands
Accordingly, there is no underlying constitutional deprivation     through the food slot, Smith, by his own admission, “refused
related to the grievance filed on December 21, 2011, and thus,     to be placed into handcuffs and ... refused to pull his arms
that claim against Colvin is dismissed.                            back into his cell to allow N.Y.S. DOCCS staff to shut his food
                                                                   slot hatch.” Id. O'Connor subsequently grabbed Smith's arm
 *12 As for Smith's other allegations against Colvin, Smith        and both O'Connor and Crance “used force on the plaintiff
has not adequately alleged Colvin's personal involvement in        and began to pull the plaintiff[']s right arm through the feed
any underlying deprivation. Smith alleges in one instance          up slot in the plaintiff[']s cell door.” Id. at ¶ 76. Crance and
that Colvin denied his grievance relating to a destructive         O'Connor then brought Smith to the nurse, who “documented
cell search. Smith has not, however, provided any further          the plaintiff[']s injuries on a medical entry form” yet cleared
detail about Colvin's denial of the grievance. Without any         Smith without ever filing an official injury report. Id. at ¶¶
allegation that Colvin looked into the matters raised in the       76-77.
grievance or responded to the grievance in detail, Smith has
not established that Colvin was personally involved in the cell    Smith further alleges that O'Connor fabricated a misbehavior
search. See McClenton v. Menifee, No. 05 CIV.2844(JGK),            report regarding the incident. Id. at ¶ 79. O'Connor's allegedly
2006 WL 2474872, at *10 (S.D.N.Y. Aug. 22, 2006) (“[A]             false report stated that O'Connor and Crance grabbed Smith's
supervisor's mere denial of a grievance is insufficient to         arm because Smith made an “aggressive movement” towards
establish personal involvement. ...”); see also Brooks v.          the officers with his arm. Id, The misbehavior charge resulting
Chappius, 450 F. Supp. 2d 220, 226 (W.D.N.Y. 2006)                 from this report was apparently later dismissed by a hearing
(“[W]hile there is some authority from within this circuit that    officer. Id.
a supervisory official's denial of a grievance can suffice to
show personal involvement, in general personal involvement         The Court first addresses the excessive force claim against
                                                                   both O'Connor and Crance. A claim for excessive force
                                                                   requires a showing that (1) “the conduct was objectively


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harmful enough or sufficiently serious to reach constitutional     officials to place an inmate in foot shackles for a walk down
dimensions,” and (2) “the defendant acted with a subjectively      the hall certainly does not implicate constitutional rights.
sufficiently culpable state of mind.” Harris, 2016 WL 963904
at * 10-12. (citations and internal quotations omitted). The       Finally, the Court briefly addresses Smith's allegation that
clear implication from this standard is that “not ... every        O'Connor filed a false report in connection with the arm-
malevolent touch by a prison guard gives rise to a federal         grabbing incident. In short, the law is clear that “the issuance
cause of action.” Hudson v. McMillian, 503 U.S. 1, 9 (1992).       of false misbehavior reports against an inmate by corrections
In short, de mimimis uses of force do not support excessive        officers is insufficient on its own to establish a denial of due
force claims. Id. at 9-10.                                         process.” Sital v. Burgio, 592 F. Supp. 2d 355, 357 (W.D.N.Y.
                                                                   2009) (citations and internal quotations omitted); see also
 *13 The force used here, which amounts to a pull of an arm,       Moore v. Casselberry, 584 F. Supp. 2d 580, 582 (W.D.N.Y.
was de minimis. See, e.g., Brown v. Busch, 954 F. Supp. 588,       2008) (“There is no basis for a constitutional claim alleging
597 (W.D.N.Y. 1997) (holding that officers who “pushed,            the mere filing of a false report.”). An inmate may, however,
shoved and struck [inmate] while forcing him back into his         maintain a claim against an official for filing a false report
cell” used de minimis force); DeArmas v. Jaycox, No. 92 CIV.       if (1) he “was disciplined without adequate due process,
6139 (LMM), 1993 WL 37501, at * 1, 4 (S.D.N.Y. Feb. 8,             as a result of the report,” or (2) “the report was issued in
1993), aff'd, 14 F.3d 591 (2d Cir. 1993) (holding that force       retaliation for exercising a constitutionally protected right.”
used was de minimis where officers punched inmate in the           Sital v. Burgio, 592 F. Supp. 2d 355, 357 (W.D.N.Y. 2009).
arm and kicked him in the leg, causing the inmate to fall          Here, Smith has failed to make any allegation that satisfies
down); Anderson v. Sullivan, 702 F. Supp. 424, 427 (S.D.N.Y.       either prong. As for the first prong, Smith acknowledges that
1988) (holding that officers did not use excessive force when      the charge resulting from the allegedly false report was later
they pulled inmate's arms behind his back and pushed his           dismissed and, thus, he was not disciplined for the incident.
face into cell bars). Notably, Smith has not alleged that he       As for the second prong, Smith has not at all alleged that
suffered any specific injury from the arm grab; he makes only      O'Connor issued the false report with a retaliatory motive.
a vague reference to “injuries” in alleging that the nurse “only
documented the plaintiff[']s injuries on a medical entry form”     For the reasons above, Crance's motion to dismiss is
instead of an “inmate injury report.” 6208, ECF No. 1 at ¶         GRANTED. Additionally, although O'Connor did not file a
76 (internal quotations omitted). This sort of bare, conclusory    motion to dismiss, the Court sua sponte dismisses the claims
allegation need not be credited on a motion to dismiss. See        against him with prejudice.
Iqbal, 556 U.S. at 680.

Moreover, Smith admits that the arm-grabbing incident was             I. Defendants Fischer and Lempke
triggered by his refusal to allow O'Connor and Crance to           Defendant Fischer was the Commissioner of DOCCS during
handcuff him. In other words, the arm grab was quite clearly       Smith's incarceration at Five Points. Defendant Lempke was
not the result of malice, but rather the result of a “good faith   the Five Points Superintendent when Smith arrived at Five
effort to maintain or restore discipline.” Hudson, 503 U.S.        Points.
at 6 (citations and internal quotations omitted). Accordingly,
the force used was by no means excessive, and the claim that        *14 Smith's allegations against these two defendants are
arises out of it against Crance and O'Connor is dismissed.         straightforward. Smith alleges that he sent numerous written
                                                                   complaints to Fischer and Lempke. ECF No. 1 at ¶ 54, 133.
As for Smith's allegation that O'Connor and Crance did             These letters generally concerned “physical abuse, medical
not have the proper authorization to place him in foot             neglect and staff mistreatment” (id. at ¶ 133) as well Smith's
shackles, this allegation does not support any sort of             allegedly inadequate diet (id. at ¶ 54). Smith alleges that
constitutional claim. The Court observes that as a general         Fischer and Lempke simply forwarded the letters to other
matter, prison officials are “accorded wide-ranging deference      officials without investigating the complaints themselves. Id.
in the adoption and execution of policies and practices that       at ¶ 54, 133.
in their judgment are needed to preserve internal order and
discipline and to maintain institutional security.” Id. (1992)     These allegations are not enough to show that either Fischer
(citations and internal quotations omitted). The decision by       or Lempke were personally involved in the underlying
                                                                   deprivations. An official does not become personally


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involved in the matters raised in a prisoner's written complaint    confinement within prison, a court must consider “(1) whether
by simply forwarding the complaint to a subordinate. See            the plaintiff had a protected liberty interest in not being
Rivera, 655 F. Supp. 2d at 238; supra Part IV.C; Part IV.G.         [so] confined and, if so, (2) whether the deprivation of that
Accordingly, Smith has not stated a § 1983 claim for damages        liberty interest occurred without due process of law.” Tellier
related to the matters in these letters against either Fischer or   v. Fields, 280 F.3d 69, 79-80 (2d Cir. 2000) (citations, internal
Lempke.                                                             quotations, and internal alterations omitted).

Additionally, to the extent Smith is seeking to hold Fisher         As for the first prong, a court determines whether a plaintiff
and Lempke liable for simply failing to investigate his             has a protected liberty interest by looking at “how long
complaints, the law is settled that “that inmates do not enjoy      the confinement lasted, along with the conditions of the
a constitutional right to an investigation of any kind by           prisoner's segregated confinement relative to the conditions of
government officials.” McCloud, 55 F. Supp. 3d at 481.              the general prison population.” Nieves v. Prack, ___ F. Supp.
(citations and internal quotations omitted). Accordingly, any       3d ____, No. 6:15-CV-06101 EAW, 2016 WL 1165820, at *3
claim based on a failure to investigate is dismissed.               (W.D.N.Y. Mar. 24, 2016) (citations and internal quotations
                                                                    omitted). “Both the conditions and their duration must be
For these reasons, Fischer and Lempke's motions to dismiss          considered, since especially harsh conditions endured for a
are GRANTED.                                                        brief interval and somewhat harsh conditions endured for a
                                                                    prolonged interval might both be atypical.” Sealey v. Giltner,
                                                                    197 F.3d 578, 586 (2d Cir. 1999) (internal citation omitted).
  J. Defendant Levac
Defendant Levac is a Five Points official who acted as the           *15 There is no bright-line duration of time in segregated
hearing officer in one of Smith's disciplinary proceedings.         confinement that qualifies as a loss of a protected liberty
Levac apparently found Smith guilty of cursing at a nurse on        interest. Palmer v. Richards, 364 F.3d 60, 64 (2d Cir. 2004).
May 22, 2012, and thus he sentenced Smith on June 5, 2012 to        However, the Second Circuit has held that confinement for
an “additional 30 days of keeplock cell confinement, 10 [and]       fewer than 101 days, under normal keeplock or special
30 days loss of commissary, package and phone privileges.”          housing unit (“SHU”) 11 conditions, does not qualify as
ECF No. 1 at ¶¶ 84, 89. The Court notes here that it is unclear     an “atypical and significant hardship” that implicates due
what Smith means by his assertion that he was sentenced             process. Sealey, 197 F.3d at 589 (citations and internal
to an “additional 30 days” of keeplock confinement. Id. at          quotations omitted); see also Tafari v. McCarthy, 714 F.
¶ 89 (emphasis added). Construed in its strongest (that is,         Supp. 2d 317, 375 (N.D.N.Y. 2010) (observing that SHU
harshest) possible terms, Smith means that he was placed            confinement of 90 days or less implicates a liberty interest
in keeplock immediately following the incident on May 22,           only if the conditions are more severe than normal SHU
2012, and then Levac sentenced him to an additional 30 days         conditions). Moreover, there is broad agreement in this
in keeplock on June 5, 2012.                                        Circuit that “that keeplock or SHU confinement of 30 days
                                                                    or less in New York prisons” does not implicate due process.
10                                                                  Williams v. Keane, No. 95 CIV. 0379 AJP JGK, 1997
        “Keeplock” or “Keep Lock” generally refers to
        confinement where an inmate is locked in his cell           WL 527677, at *6 (S.D.N.Y. Aug. 25, 1997) (Peck, M.J.)
        for 23 hours per day.                                       (collecting cases).
Smith appears to allege that during the disciplinary hearing,
                                                                    11
Levac violated his rights by crediting false testimony. Id. at              SHU confinement is another form of segregated
¶¶ 85-88. For context, the supposedly false testimony relates               confinement where an inmate is typically locked in
to a peripheral issue—at the hearing, Smith and two nurses                  his cell for 23 hours per day.
disputed whether the nurse in question, before arriving at          Here, Smith appears to allege that as a result of the flawed
Smith's cell, touched a neighboring inmate's infection without      disciplinary proceeding, he was sentenced to keeplock for
wearing gloves. Id. at ¶¶ 81-88.                                    30 days, and he lost his “commissary, package and phone
                                                                    privileges” for the same amount of time. ECF No. 1 at
Construed liberally, Smith is arguing that Levac did not grant      ¶ 89. These allegations are not enough to support a due
him due process at the disciplinary hearing. In evaluating an       process claim because, in short, 30 days in keeplock generally
inmate's due process claim when the punishment is segregated


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does not qualify as the loss of a protected liberty interest.       Defendants can determine,... [Mosko] is not alleged to have
Furthermore, Smith has not made any sort of allegation that         committed any wrongdoing.” ECF No. 36-1. The Court
his 30 days in keeplock were characterized by “especially           directs defendants' counsel to paragraphs 99-100 of the
harsh conditions.” Sealey, 197 F.3d at 586. He has merely           complaint filed in the 6:12-cv-6208 action. Here, Smith
alleged that the confinement was coupled with the loss of           alleges that he was beaten by Mosko and another officer.
some other minor privileges that are typically associated with      6208, ECF No. 1 at ¶ 99-100.
general population confinement. Accordingly, Smith's due
process claim must fail.                                            Mosko's motion to dismiss is DENIED.

The Court makes one additional note to this analysis. Even if
Smith, in alleging that he was sentenced to an “additional 30         L. Defendant Parish
days” of keeplock confinement (id. at ¶ 89 (emphasis added)),       Defendant Parish is a corrections official at Five Points. Smith
means that he was already in keeplock for the incident at           makes a variety of allegations against him.
the time of the hearing, the conclusion here would be the
same. To restate the relevant timeline, Smith allegedly cursed      First, Smith alleges that on October 8, 2011, Parish instituted
at the nurse on May 22, 2012 and the ensuing disciplinary           an “in cell water deprivation” by shutting off Smith's in-cell
hearing took place on June 5, 2012. ECF No. 1 at ¶¶ 84,             sink and toilet water. ECF No. 1 at ¶ 58. Parish apparently
89. Accordingly, interpreting Smith's “additional 30 days”          shut off Smith's cell water because Smith was accused of
allegation in the strongest (or harshest) possible light, Smith     flooding his cell earlier that day. Id. at ¶ 59. Smith further
was placed in keeplock for the nurse-cursing incident on the        asserts that Parish did not provide him with either a “formal
very day he cursed at the nurse, May 22, 2012. He then              misbehavior report” or a hearing before shutting off his water.
remained in keeplock until his June 5, 2012 hearing, where          Id. As a result of both the in-cell water deprivation and
he was sentenced to an “additional 30 days” in keeplock.            his ongoing dietary issues, Smith alleges that he “physically
This would mean he stayed in keeplock for 44 days as a              deteriorate[d] from severe malnutrition and dehydration.”
result of cursing at a nurse. Even assuming this were true, a       Id. at ¶ 60. Furthermore, while Smith appears to allege in
44-day confinement still would not qualify as the loss of a         the complaint that his water was only shut off for one day
protected liberty interest. Once again, courts generally treat      (id. ¶ 59) (“The imposition of this 10-8-2011 in cell water
100 days of segregated confinement as the lower bound for           deprivation ... violated the plaintiff[']s 8th Amendment...
triggering a protected liberty interest. See Sealey, 197 F.3d       rights ....”), Smith notes in his reply papers that while he does
at 589; Palmer v. Richards, 364 F.3d 60, 64-65 (2d Cir.             not exactly know how long his in-cell water was turned off,
2004) (observing that when inmates are confined to SHU or           it was for “a lot longer than just [a] twenty four hour period.”
keeplock for an “intermediate duration,” i.e., “between 101         ECF No. 38 at 4.
and 305 days,” courts must take a close look at a “detailed
record of the conditions of the confinement” to determine           Second, Smith alleges that on December 30, 2011, while
whether a liberty interest is implicated) (citations and internal   Parish and other officers were escorting Smith back to his cell,
quotations omitted). Accordingly, in light of the fact that         Parish said, “Smith! Whenever I jerk off all my fluids come
Smith has not alleged that his stay in keeplock confinement         out of my dick and I get dehydrated.” 12 Id. at ¶ 99. Parish
was unusually harsh, a 44-day keeplock confinement still            and the other officers then laughed at this comment.
does not implicate due process rights.
                                                                    12      This incident was previously detailed with respect
For the reasons above, Smith has not stated a due process                   to Defendant Burri, see supra Part IV.F.
claim against Levac, and thus Levac's motion to dismiss is
GRANTED.                                                            Finally, Smith alleges that on January 18, 2012, two officers
                                                                    came to his cell to take him to the infirmary. 6208, ECF No. 1
                                                                    at ¶ 44. One of the officers allegedly squeezed Smith's waist
   K. Defendant Mosko                                               chain in an excessively tight manner, and then pushed Smith
 *16 Defendant Mosko is a corrections official at Five Points.      into a cell door. Id. at ¶ 48. Parish responded to the scene, and
Defendants' counsel has understandably missed Smith's               Smith told Parish that his waist chain was too tight. Id. at ¶
allegations against Mosko in the morass of the complaints,          50. Parish checked the waist chain and “disregarded” Smith's
arguing that Mosko should be dismissed because “[a]s best           complaint. Id.


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                                                                    dietary, water, and plastic shield restrictions were put in place,
As for the allegations related to Parish shutting off Smith's       the Court holds, as a matter of law, that his confinement
water, Smith appears to be making both a conditions-of-             was not sufficiently atypical to implicate a protected liberty
confinement claim and a due process claim. Each claim is            interest.”). Considering that there is a broad agreement in
addressed in turn.                                                  this Circuit that 30 days in segregated confinement—which
                                                                    typically means the inmate is locked in a cell for 23 hours
With regard to the conditions-of-confinement claim, as the          a day—does not qualify as the loss of a protected liberty
Court has already indicated, Smith must allege that (1) the         interest (see supra Part IV.J), the brief loss of in-cell water
deprivation was objectively serious in that Smith was “denied       privileges certainly does not qualify as the loss of a protected
the minimal civilized measure of life's necessities,” and (2)       liberty interest. Consequently, Smith was not entitled to due
Parish acted with deliberate indifference to Smith's health         process before Parish shut off his in-cell water, and thus his
and safety. Walker, 717 F.3d at 125 (citations and internal         due process claim fails.
quotations omitted).
                                                                    As for Smith's allegation that Parish made a lewd comment
Here, Smith has failed to allege that the in-cell water             toward him, the Court has already observed that verbal
deprivation was an objectively serious deprivation. In a            harassment by a corrections official is not a constitutional
Northern District of New York case that also addressed              violation. See Purcell, 790 F.2d at 265; supra Part IV.F.
an inmate's temporary loss of in-cell water privileges, the
court stated that “[n]owhere has it been held that prisoners        Similarly, as for the tightening of Smith's waist chain, the
are entitled to complete and unfettered access to water or          Court has also previously explained that the tightening of
showers.” Beckford v. Portuondo, 151 F. Supp. 2d 204, 211           handcuffs and waist chains does not support an excessive
(N.D.N.Y. 2001) (holding that a six day suspension of in-cell       force claim unless the tightening causes injury beyond
water privileges, instituted after the prisoner had flooded his     temporary discomfort. See Rosenberg, 2013 WL 1223516 at
cell, did not constitute an objectively serious deprivation); see   *3, supra Part IV.F. Smith has not alleged that he suffered any
also Johnson v. Comm'r of Corr. Servs., 699 F. Supp. 1071,          injury from the waist-chain tightening on January 18, 2012.
1072-74 (S.D.N.Y. 1988) (holding that an in-cell sink that
was inoperable for nine days did not establish a conditions-of-     For the foregoing reasons, Parish's motion to dismiss is
confinement claim under the Eighth Amendment). The Court            GRANTED. Notably, Parish did not specifically move to
stands by this statement. Notably, Smith has not at all alleged     dismiss the claim regarding his involvement in the tightening
that he was without access to water for any period of time; he      of Smith's waist chain on January 18, 2012. The Court sua
has merely alleged that his in-cell water was turned off after      sponte dismisses that claim with prejudice.
he was accused of flooding his cell. This sort of deprivation
does not constitute a denial of the “minimal civilized measure
of life's necessities.” Walker, 717 F.3d at 125 (citations and        M. Defendant Piccolo
internal quotations omitted). Accordingly, the conditions-of-       Defendant Piccolo is a corrections official at Five Points.
confinement claim against Parish related to the in-cell water
deprivation is dismissed.                                           The allegations against Piccolo revolve around Smith's
                                                                    dietary issues. Smith first alleges that a supervisory official,
 *17 Furthermore, Smith has failed to state any sort of due         L. Jones, approved his request for a kosher diet on January
process violation with regard to the in-cell water deprivation.     30, 2013. ECF No. 1 at ¶ 141. He next alleges that even
Once again, as a threshold matter, a valid due process claim        though this request was approved on January 30, corrections
requires the loss of a “protected liberty interest.” Tellier,       officers did not immediately serve him with the diet. ECF No.
280 F.3d at 79-80 (citations and internal quotations omitted).      1 at ¶ 141. Accordingly, Smith wrote a letter of complaint,
A “protected liberty interest” is, in turn, implicated if the       presumably on January 30, to an official who soon forwarded
alleged deprivation was “atypical and significant.” Id. Here,       the letter to Piccolo. Id. Piccolo wrote back to Smith in a
the Court determines that Smith did not have a protected            February 6, 2013 memorandum, saying that Smith's kosher-
liberty interest in continuous, uninterrupted access to running     diet request “was still pending approval from the Deputy
water in his cell. See Beckford, 151 F. Supp. 2d at 219             Superintendent of Programs.” Id. Smith then began receiving
(“In light of the minimal amount of time that Plaintiff's           the kosher diet on February 8, 2013. ECF No. 1 at ¶ 146.



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Construed liberally, Smith is attempting to state a First           policy by eating non-kosher food did not violate free exercise
Amendment claim against Piccolo for the delay in serving            rights). This is understandable as prison officials, while
him a kosher diet. There is a colorable basis for such a claim.     accommodating the beliefs of inmates, are also “charged
The Second Circuit has long recognized that the right of the        with complex duties arising from administration of the penal
people to freely exercise religion under the First Amendment        system.” Ford v. McGinnis, 352 F.3d 582, 588 (2d Cir. 2003)
includes “the right of prisoners to receive diets consistent        (citations and internal quotations omitted).
with their religious scruples.” Kahane v. Carlson, 527 F.2d
492, 495-96 (2d Cir. 1975). Therefore, an inmate is “entitled       Here, Smith has effectively attempted to hold Piccolo liable
to a reasonable accommodation of his ... religious dietary          for causing, at most, a nine-day delay in the distribution of
practices.” Davidson v. Murray, No. 92-CV-0283C, 2005 WL            his kosher diet. To restate the relevant allegations, Smith
1123756, at *3 (W.D.N.Y. May 10, 2005).                             alleges that he wrote to Piccolo on January 30, 2013 about
                                                                    not receiving his kosher diet. Piccolo wrote back on February
Traditionally, an inmate establishes a violation of his free        6, 2013, apparently believing that Smith's request was still
exercise rights by showing “[1] that he has a sincerely held        pending approval. In any event, Smith then received his
religious belief, [2] that it was substantially burdened, and       kosher diet on February 8, 2013, nine days after he wrote
[3] that defendants' conduct was not reasonably related to          the letter that reached Piccolo. Notably, before January 30,
some legitimate penological interest.” Barnes v. Furman, 629        2013, there is no indication that Piccolo had any knowledge
Fed.Appx. 52, 55 (2d Cir. 2015).                                    of Smith's request for a kosher diet, so that delay cannot
                                                                    be attributed to Piccolo. In short, this brief nine-day delay
Notably, the Second Circuit has recently observed that it           caused by Piccolo, without any kind of allegation that it was
is actually an open question whether an inmate must still           more than a reasonable processing-related delay, is the sort
show that the challenged practice “substantially burdened”          of de minimis deprivation that does not implicate the First
his religious beliefs. See Barnes, 629 Fed.Appx. at 55 n.3.         Amendment.
(“We have not decided whether the substantial burden test
remains viable in our Circuit. ...”). However, the Second           For these reasons, Piccolo's motion to dismiss is GRANTED.
Circuit has also noted that even “[r]ejecting the substantial
burden test” would not mean that “every possible restriction
on religious practices is a violation” of free exercise rights.        N. Defendant Seidel
McEachin v. McGuinnis, 357 F.3d 197, 203 n.6 (2d Cir. 2004).        Defendant Seidel is a corrections official at Five Points. Smith
In other words, regardless of whether the prong still applies,      first alleges that on April 2, 2012, Seidel and another officer
de minimis violations of free exercise rights are not actionable    placed Smith on a “shaving razor deprivation order.” ECF No.
under § 1983. See id.                                               1 at ¶ 112. Thus, Smith could not shave for over a month. Id.


 *18 In this vein, district courts in this Circuit have found       Second, Smith alleges that on October 5, 2011, Seidel
that where a delay in serving an inmate a religious diet is brief   wrote Smith a misbehavior report after Smith, by his own
and caused by “typical and acceptable institutional delay,”         admission, urinated on his cell floor. Id. at ¶ 139. Smith
the inmate's religious rights are not violated. Davidson, 2005      then alleges that Seidel did not provide him with any cell-
WL 1123756 at *4 (citations and quotations omitted) (finding        cleaning supplies in order to clean up the urine for two
that a 10-day delay in receiving a religious diet after the         days, so Smith and his neighboring inmates were “fed [their]
inmate transferred prisons did not violate free exercise rights);   breakfast, [l]unch and dinner meals with the lingering odor
Tapp v. Stanley, No. 04-CV-6400 CJS, 2008 WL 4934592,               of urine in the air, from the uncleaned urine in front of the
at * 1,7 (W.D.N.Y. Nov. 17, 2008) (finding that a 77-day            plaintiff[']s cell and on the plaintiff[']s cell floor.” Id.
delay in inmate receiving a special diet that was caused by
administrative processing did not violate religious rights); see    As for the claim regarding Seidel's failure to provide Smith a
also Dove v. Broome Cnty. Corr. Facility, No. 9:10-CV-0002          razor for shaving, this is the sort of de minimis deprivation that
DNH/DEP, 2011 WL 1118452, at *2, 8-9 (N.D.N.Y. Feb. 17,             does not concern the Constitution. See, e.g., McCoy v. Goord,
2011), report and recommendation adopted, No. 9:10-CV-02,           255 F. Supp. 2d 233, 260 (S.D.N.Y. 2003) (“[A] failure to
2011 WL 867072 (N.D.N.Y. Mar. 10, 2011) (finding that a             provide razors for shaving [does not] rise to the level of
30-day discontinuance of a kosher diet after inmate violated        constitutional concern”).



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Smith has also attempted to state a conditions-of-confinement       with any fluids or nourishment.” Id. Officers Scranton and
claim arising out of Smith urinating on his cell floor. As          Trombly subsequently “had the plaintiff discharged from the
for such a claim related to the exposure to waste, the              medical infirmary and sent back to his [mental health unit]
Court observes a distinction in this Circuit between an             cell without any proper medical clearance.” Id.
inmate's “continuous and chronic exposure to waste” versus
“intermittent or brief exposure.” Ortiz v. Dep't of Corr. of City   Construed liberally, Smith is making a claim against Scranton
of New York, No. 08 CIV. 2195 RJSHBP, 2011 WL 2638137,              and Trombly for deliberate indifference for discharging him
at *8 (S.D.N.Y. Apr. 29, 2011), report and recommendation           from the infirmary. In general, to state a claim for medical
adopted sub nom. Ortiz v. Hernandez, No. 08 CIV. 2195               indifference, Smith must allege that (1) objectively, the
RJSHBP, 2011 WL 2638140 (S.D.N.Y. July 5, 2011). Chronic            deprivation of medical care was sufficiently serious, and (2),
exposure to waste qualifies as an objectively serious condition     subjectively, the officials in question acted with deliberate
that implicates the Eighth Amendment. See Gaston, 249               indifference to his health. Salahuddin, 467 F.3d at 279-80.
F.3d at 165 (vacating summary judgment where plaintiff
asserted that for “several consecutive days ... his cell was        Here, Scranton and Trombly are both non-medical personnel.
filled with human feces, urine and sewage water”); LaReau           As the Supreme Court has noted, deliberate indifference
v. MacDougall, 473 F.2d 974, 977-79 (2d Cir. 1972) (finding         by non-medical personnel is manifested by “intentionally
that inmate who spent five days in small cell that contained        denying or delaying access to medical care or intentionally
only a grate-covered hole in the floor for a toilet was deprived    interfering with the treatment once prescribed.” Estelle v.
of Eighth Amendment rights). On the other hand, brief or            Gamble, 429 U.S. 97, 104-05 (1976).
intermittent exposure to waste does not does not qualify as an
objectively serious condition. See Ortiz, 2011 WL 2638137 at        On the allegations in the complaint, Smith has not sufficiently
*8 (dismissing claim where inmate was exposed to “sewage            pled that Scranton or Trombly denied or delayed access to
overflow” on the three separate occasions but for “probably         medical care or otherwise interfered with a prescribed course
less than 24 hours” total time); Evans v. Fogg, 466 F.Supp.         of treatment. They certainly did not deny or delay access
949, 950 (S.D.N.Y. 1979) (“To be kept in a refuse-strewn            to care—Smith was sent promptly to the infirmary for his
cell for 24 hours and in a flooded cell (a condition resulting      dehydration where a nurse on duty apparently decided he was
from [plaintiff's] own acts) for two days is a rough experience,    not in need of immediate care. Only at this point did Scranton
but, since neither condition persisted for more than a limited      and Trombly discharge him from the infirmary. They also did
period of time, it cannot be said that the condition amounted       not interfere with any course of treatment—once again, there
to cruel and unusual punishment.”).                                 was no immediate course of treatment. The Court also notes
                                                                    that to the extent that Smith's placement on “hunger strike
 *19 After comparing the postures of these cases to the facts       observation” is a form of care or course of treatment, Scranton
at hand, it is apparent that Smith's exposure to his own urine      and Trombly also did not at all interfere with that treatment
for two days is the type of brief or intermittent exposure          —upon Smith's discharge from the infirmary, he returned
to waste that fails to satisfy the objective element of a           to the mental health unit of the prison (id. at ¶ 74) where
conditions-of-confinement claim. Bolstering this conclusion         he remained on hunger-strike status until the next month,
is the fact that Smith has failed to allege that he suffered any    April 2012 (id. at ¶ 72). In short, Smith has not shown that
harm or health problems from the condition.                         Scranton or Trombly were deliberately indifferent to either his
                                                                    dehydration on March 20, 2012 or his hunger-strike status.
For these reasons, Seidel's motion to dismiss is GRANTED.
                                                                    Thus, Scranton and Trombly's motions to dismiss are
                                                                    GRANTED.
   O. Defendants Scranton and Trombly
Defendants Scranton and Trombly are corrections officials
at Five Points. Smith alleges that on March 20, 2012, a               P. Defendant Sheahan
nurse at Five Points diagnosed him with dehydration, placed         Defendant Sheahan is the Superintendent at Five Points.
him on “ ‘hunger strike’ observation,” and ordered that             Smith makes various allegations against Sheahan in his
he be sent to the infirmary. ECF No. 1 at ¶ 73 (internal            supervisory capacity.
quotations in original). Smith then went to the infirmary
where another nurse allegedly failed to “provide [him]


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First, Smith alleges that he filed a grievance regarding an             141. Sheahan forwarded the letter to another official, who
incident of “physical abuse and torture” that he suffered at            responded unfavorably to Smith. Id., see supra Part IV.M.
Five Points on November 2, 2012. Id. at ¶ 130. Sheahan
apparently “took no action to investigate” this grievance Id.           As the Court previously explained, the fact that Sheahan
Similarly, Smith alleges that he filed “numerous” grievances            forwarded a disciplinary decision or correspondence to
regarding his inadequate diet. ECF No. 1 at ¶ 64. He                    another official also does not establish that he was personally
notes, without elaboration, that Sheahan and the grievance              involved in the underlying matters. See Rivera, 655 F. Supp.
committee denied all of these grievances. Id.                           2d at 238; supra Part IV.C, Part IV.G; Part IV.I. Accordingly,
                                                                        he cannot be liable for damages for these matters under §
 *20 The Court addresses these allegations in short                     1983. See Gaston, 249 F.3d at 164. Thus, these claims against
order. Smith has not sufficiently alleged that Sheahan was              Sheahan are also dismissed.
personally involved in any of the alleged deprivations raised
in these grievances. First, it is well-settled that the “receipt of a   For the reasons stated above, Sheahan's motion to dismiss is
letter or grievance, without personally investigating or acting         GRANTED.
on the letter or grievance, is insufficient to establish personal
involvement.” Jones v. Fischer, No. 9:11-CV-774 GLS/
CFH, 2013 WL 4039377, at *10 (N.D.N.Y. Aug. 7, 2013).                      Q. Defendant Terry
Similarly, a supervisor's denial of a grievance—without any             Defendant Terry is a corrections official at Five Points.
further allegation that the supervisor provided a detailed or           Smith's first allegation against Terry is that he, along with
specific response to the prisoner—is generally not enough               three other officers, failed to fix Smith's toilet in December
to establish personal involvement. See Brooks, 450 F. Supp.             2011. ECF No. 1 at ¶¶ 102-05. The Court already discussed
2d at 226; supra Part IV.G. Without personal involvement,               this incident in Part IV.A and dismissed the conditions-of-
there can be no damages award under § 1983. See Gaston,                 confinement claims against the three other officers involved.
249 F.3d at 164. Accordingly, to the extent Smith is trying to          For the same reasons, it now dismisses the conditions-of-
hold Sheahan personally responsible under § 1983 for matters            confinement claim against Terry. See supra Part IV.A. In
raised in these grievances, those claims are dismissed.                 short, all of the officers appear to have been quite diligent, as
                                                                        opposed to indifferent, in dealing with the broken toilet.
The Court also notes that to the extent Smith is attempting
to state a due process claim based on Sheahan “t[aking]                 Smith references Terry in one other incident. By way of brief
no action to investigate” his grievance, that claim is also             background, Smith alleges that on November 2, 2012, he
dismissed. In short, “[i]t is well established ... that inmate          fell unconscious behind his cell toilet. ECF No. 1 at ¶ 123.
grievances procedures are undertaken voluntarily by the                 Multiple officers allegedly dragged Smith out from behind
states, that they are not constitutionally required, and                the toilet and “shoved” his face into the floor. Id. at ¶ 124. A
accordingly that a failure to process, investigate or respond           nurse then “shoved one smelling salt packet up each one of the
to a prisoner's grievances does not in itself give rise to a            plaintiff's nostrils.” Id. at ¶ 126. Smith alleges that he suffered
constitutional claim.” Swift v. Tweddell, 582 F. Supp. 2d 437,          a bloody nose and “visible facial injuries” from the incident.
445-46 (W.D.N.Y. 2008). In other words, Sheahan had no                  Id. at ¶¶ 127-28. Immediately following the incident, he was
responsibility under the Constitution to investigate Smith's            taken to the infirmary where the nurse cleaned his bloody nose
grievances.                                                             and conducted a brief checkup. ECF No. 1 at ¶ 127; 38-2 at 49.


The rest of Smith's allegations against Sheahan are also                 *21 As for Terry's involvement, Smith alleges that after he
straightforward. Smith alleges that on June 5, 2012, he                 was discharged from the infirmary later that day, he informed
was found guilty at a disciplinary hearing for cursing at               Terry about the “physical abuse” he had just endured. Id.
a nurse. ECF No. 1 at ¶¶ 81-89, see supra Part IV. J.                   at ¶ 128. Terry, however, “refused to take the plaintiff[']s
Smith appealed the decision to Sheahan, who forwarded it                complaint of physical abuse seriously and refused to have
to another official, who then affirmed the decision. ECF No.            photographs taken of the plaintiff[']s face.” Id.
1 at ¶ 90. Similarly, Smith alleges that he wrote a letter to
Sheahan in 2013 regarding his kosher-diet request. Id. at ¶             As an initial observation, it is unclear what exactly Smith
                                                                        means by his assertion that Terry “refused to take [his]
                                                                        complaint of physical abuse seriously.” Id. If Smith means


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that Terry ignored his injuries and thus Smith was denied         The Court observes at the outset that Terry did not directly
adequate medical care following the incident, that is             participate in this incident—Smith asserts that Terry showed
contradicted by both the complaint and by the exhibits Smith      up in his cell after the incident was over. ECF No. 1 at ¶ 128.
attached to his response to the motion to dismiss. In short,
Smith received prompt medical care after the incident. ECF        Likewise, the rest of the Colon possibilities for personal
No. 1 at ¶ 127 (“[M]y bleeding nose was then cleaned by           involvement are not supported by the allegations. In short,
medical nurse Kim Cheasman and [my] vital signs were              Smith's interaction with Terry appears to be isolated; with the
checked.”); 38-2 at 49 (medical record showing that a nurse       exception of this incident and the problem with Smith's toilet,
checked Smith's blood pressure, pulse, and oxygen saturation      Terry is not referenced a single other time in either complaint.
following the incident). Nowhere else in the complaint does       Thus, there is no indication that Terry was informed of a
Smith complain about the supposed injuries he suffered            wrong prior to the incident in question and failed to remedy
during the incident, so he has not alleged or otherwise implied   it or, similarly, was deliberately indifferent by failing to act
that he was ever in need of any further medical care. Thus,       on certain information. For the same reason, Smith has failed
there is no claim for deliberate medical indifference arising     to allege that this problem was caused by Terry's grossly
from this incident against Terry.                                 negligent supervision of subordinates or that Terry created or
                                                                  tolerated a policy which allowed this incident to happen. Once
If Smith means that Terry failed to appropriately respond to      again, Smith has merely alleged that he complained to Terry
a complaint of excessive force, Smith has not sufficiently        once about a use-of-force after it happened, and that Terry
alleged that Terry was personally involved in the underlying      “refused to take the ... complaint... seriously.” ECF No. 1 at
use-of-force. Once again, a defendant must be personally          ¶ 128. That is not enough to show that Terry was personally
involved in the alleged constitutional deprivation to be liable   involved in the incident.
for damages under § 1983. See Gaston, 249 F.3d at 164.
Personal involvement of a supervisory defendant may be             *22 Finally, the Court briefly addresses Smith's allegation
shown in a variety of ways:                                       that Terry “refused to have photographs taken of the
                                                                  plaintiff[']s face” following the alleged assault. Id. at ¶ 128.
                                                                  Smith is essentially asserting here that Terry failed to conduct
            (1) the defendant participated directly               a proper investigation of the alleged assault after it occurred.
            in the alleged constitutional violation,              As the Court has previously stated, the law is settled that “that
            (2) the defendant, after being informed               inmates do not enjoy a constitutional right to an investigation
            of the violation through a report or                  of any kind by government officials.” See McCloud, 55 F.
            appeal, failed to remedy the wrong,                   Supp. 3d at 481 (citations and internal quotations omitted).
            (3) the defendant created a policy or                 Accordingly, any claim against Terry arising from a failure to
            custom under which unconstitutional                   investigate is dismissed.
            practices occurred, or allowed the
            continuance of such a policy or                       For the above reasons, Terry's motion to dismiss is
            custom, (4) the defendant was grossly                 GRANTED.
            negligent in supervising subordinates
            who committed the wrongful acts, or
                                                                     R. Defendant Wuest
            (5) the defendant exhibited deliberate
                                                                  Defendant Wuest is a corrections official at Five Points. Smith
            indifference to the rights of [plaintiffs]
                                                                  alleges that on November 20, 2011, Wuest came to Smith's
            by failing to act on information
                                                                  cell after Smith made an emergency sick call request. ECF No.
            indicating that unconstitutional acts
                                                                  1 at ¶ 108. Wuest placed handcuffs on Smith and then ordered
            were occurring.
                                                                  Smith to turn around in his cell. Id. at ¶ 109. In Smith's own
                                                                  words, Smith “became seriously upset and began to verbally
                                                                  curse and threaten C.O.D. Wuest.” Id. Wuest then allegedly
Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995).
                                                                  applied Smith's waist chain in an excessively tight manner
                                                                  “and began to twist the plaintiff[']s metal waist chain with his
                                                                  hand, therefore causing the metal waist chain to[ ] dig into the
                                                                  plaintiff[']s waist causing the plaintiff pain and suffering.” Id.


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                                                                         damages against the defendants in their official capacities.
                                                                         Notably, the Court substitutes DOCCS as the defendant for
Smith has effectively attempted to state another claim of
                                                                         the official-capacity claims for money damages under the
excessive force for the tightening of a waist chain. In general,
                                                                         ADA and Rehabilitation Act.
an allegation that an official tightened handcuffs or waist
chains is insufficient to state an excessive force claim unless it
                                                                         Additionally, the motions to dismiss by the following
causes injury beyond temporary discomfort. See Rosenberg,
                                                                         defendants are GRANTED, and thus, they are dismissed
2013 WL 1223516 at *3, supra Part IV.F, Part IV.L. Smith
                                                                         from the case: Abbott, Atwood, Bellnier, Bianconi,
has not alleged that he suffered any injury beyond temporary
                                                                         Bradley, Burri, Colvin, Crance, Fischer, Lt. Gardener,
discomfort from this incident. Therefore, the claim fails, and
                                                                         Koenigsmann, Lempke, Levac, Parish, Patches, Piccolo,
Wuest's motion to dismiss is GRANTED.
                                                                         Scranton, Seidel, Sheahan, Terry, Trombly, Van Buren,
                                                                         and Wuest. Additionally, the Court sua sponte dismisses
                                                                         O'Connor from the case. The motion to dismiss by Mosko is
                       CONCLUSION                                        DENIED.

For the reasons stated above, the Court dismisses the
                                                                         IT IS SO ORDERED.
following claims sua sponte: (1) all claims for injunctive
and declaratory relief, (2) the ADA and Rehabilitation Act
claims for money damages against the defendants in their                 All Citations
individual capacities, (3) the ADA and Rehabilitation Act
claims for money damages against the defendants in their                 Not Reported in Fed. Supp., 2016 WL 3004670
official capacities, and (4) the § 1983 claims for money

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                                                                       punching him, pepper spraying him, involuntarily restraining
                                                                       him in the hospital, and subjecting him to a colonoscopy
     KeyCite Blue Flag – Appeal Notification                           procedure without his consent (“First Claim”). (Id. at ¶¶
Appeal Filed by Jackson v. The City of Syracuse, 2nd Cir., April 29,
                                                                       38-45.)
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                     2024 WL 942367                                    Second, Plaintiff claims that Defendant violated his rights
      Only the Westlaw citation is currently available.                under the Fourth and Fourteenth Amendments of the United
       United States District Court, N.D. New York.                    States Constitution by failing to intervene in the above-
                                                                       discussed use of excessive force (“Second Claim”). (Id. at ¶¶
               Torrance JACKSON, Plaintiff,                            46-50.)
                             v.
        Police Officer Anthony FIORINI, Defendant.
                                                                         B. Procedural History
                    5:20-CV-1215 (GTS/ML)                              On December 18, 2020, the five original Defendants in this
                               |                                       action 1 filed a motion for judgment on the pleadings. (Dkt.
                      Signed March 5, 2024                             No. 13.) On August 20, 2021, the Court granted that motion
                                                                       in part and denied it in part, dismissing the claims against
Attorneys and Law Firms
                                                                       the City of Syracuse 2 and Officers Abraham, Kittle, and
FRED B. LICHTMACHER, ESQ., THE LAW OFFICE OF                           Proccopio, as well as the claim against Defendant Fiorini for
FRED LICHTMACHER P.C., Counsel for Plaintiff, 116 West                 failure to intervene in the alleged use of excessive force while
23rd Street, Suite 500, New York, NY 10011.                            at the hospital, while leaving undisturbed the First Claim
                                                                       against Defendant Fiorini arising from the excessive force
TODD M. LONG, ESQ., Senior Assistant Corp. Counsel,                    used both during the traffic stop and at the hospital, and the
CITY OF SYRACUSE LAW DEPARTMENT, Counsel for                           Second Claim against Defendant Fiorini arising from a failure
Defendants, 233 East Washington Street, 300 City Hall,                 to intervene as it relates to the traffic stop. (Dkt. No. 19.)
Syracuse, NY 13202.
                                                                       1      The four other original Defendants in this
                                                                              action were Syracuse City Police Officer
                   DECISION and ORDER                                         Mamoun Abraham, Syracuse City Police Officer
                                                                              William Kittle, Syracuse Police Lieutenant David
GLENN T. SUDDABY, United States District Judge
                                                                              Proccopio, and the City of Syracuse. (Dkt. No. 1,
 *1 Currently before the Court, in this civil rights action                   at ¶¶ 4, 6.)
filed by Torrance Jackson (“Plaintiff”) against Police Officer         2      In addition to the claims described above, Plaintiff's
Anthony Fiorini (“Defendant”) pursuant to the Fourth and
                                                                              Complaint asserted a claim that Defendant
Fourteenth Amendments of the United States Constitution
                                                                              City of Syracuse should be held liable for
and 42 U.S.C. § 1983, is Defendant's motion for summary
                                                                              the violations of his rights through the above
judgment pursuant to Fed. R. Civ. P. 56. (Dkt. No. 73.) For
                                                                              actions on the basis that it was aware of
the reasons set forth below, Defendant's motion for summary
                                                                              the Syracuse Police Department's propensity to
judgment is granted and Plaintiff's Complaint is dismissed.
                                                                              commit unconstitutional acts but acted with
                                                                              deliberate indifference to that knowledge (“Third
I. RELEVANT BACKGROUND                                                        Claim”). (Dkt. No. 1, at ¶¶ 51-65.)
                                                                       On January 24, 2022, Plaintiff filed a motion to amend or
   A. Plaintiff's Complaint                                            correct the Complaint, but on February 23, 2022, United
Generally, in his Complaint, Plaintiff asserts two claims              States Magistrate Judge Miroslav Lovric denied that motion
against Defendant. (Dkt. No. 1.) First, Plaintiff claims that          without prejudice. (Dkt. No. 35.) Plaintiff never renewed that
Defendant used excessive and unnecessary force against him             motion. (See generally Docket Sheet.)
in violation of the Fourth and Fourteenth Amendments of
the United States Constitution by physically abusing him,



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                                                                   high crime and gang areas due to a recent spike in shots fired”
    C. Undisputed Material Facts on Defendant's Motion             calls.
    for Summary Judgment
Under N.D.N.Y. Local Rule 56.1, a party opposing summary           3. The driver of the Nissan Rogue activated his turn signal
judgment must file a response to the moving party's Statement      “just prior to making a right turn” in violation of New York
of Material Facts that “shall mirror the movant's Statement
                                                                   State Vehicle and Traffic Law Section 1163(b). 3
of Material Facts by admitting and/or denying each of the
movant's assertions in a short and concise statement, in
                                                                   3
matching numbered paragraphs,” supported by “a specific                   Plaintiff disputes that he violated any vehicle and
citation to the record where the factual issue arises.” N.D.N.Y.          traffic laws; however, the portion of Plaintiff's
L.R. 56.1(b). This requirement is not a mere formality; rather            deposition testimony cited in support of the denial
“this and other local rules governing summary judgment are                does not in fact contain a denial of the asserted fact;
essential tools intended to relieve the district court of the             rather, it indicates that, although Plaintiff believes
onerous task of hunting through voluminous records without                the purpose of the relevant individuals pulling his
guidance from the parties.” LaFever v. Clarke, 17-CV-1206,                vehicle over was to harass him, he admitted that
2021 WL 921688, at *6, 525 F.Supp.3d 305 (N.D.N.Y. Mar.                   they pulled him over for not having his “blinkers
11, 2021) (Hurd, J.) (quoting Frantti v. New York, 414 F.                 on at the stop sign.” (Dkt. No. 73, Attach. 4, at
Supp. 3d 257, 284 [N.D.N.Y. 2019] [Hurd, J.]). Indeed, “[a]               58-59.) Other evidence shows that Plaintiff was
proper response to a movant's statement of material facts                 charged with a violation of the above provision for
streamlines the summary judgment analysis ‘by allocating                  failure to signal during the 100 feet before a turn
responsibility for flagging genuine factual disputes on the               in violation of N.Y. Veh. & Traf. Law § 1163(b).
participants ostensibly in the best position to do so: the                (Dkt. No. 73, Attach. 2, at 5.) Because Plaintiff has
litigants themselves.’ ” LaFever, 2021 WL 921688, at *7,                  not cited evidence to show that he did not commit
525 F.Supp.3d 305 (quoting Alke v. Adams, 16-CV-0845,                     the relevant infraction, the asserted fact is deemed
2018 WL 5297809, at *2 [N.D.N.Y. Oct. 25, 2018] [Hurd,                    to be admitted.
J.]). “The Court may deem admitted any properly supported          4. Defendant recognized the front seat passenger, Dontray
facts set forth in the Statement of Material Facts that the        Sullivan, from prior incidents, but he had never before
opposing party does not specifically controvert.” N.D.N.Y.         encountered Plaintiff, who was the driver of the Nissan Rogue
L.R. 56.1(b).                                                      at that time.

 *2 Applying this legal standard here, the following facts         5. Plaintiff had picked up Mr. Sullivan (who is his cousin) on
have been asserted and supported by record citations by            Hall Avenue in the City of Syracuse, after which they drove
Defendant, and either expressly admitted or denied without a       to the Blue Star gas station to “grab an eighth of weed,” the
supporting record citation by Plaintiff.                           purchase of which, at the time of this incident, was a violation
                                                                   of the New York State Penal Code.


                     Initial Traffic Stop                          6. Plaintiff did not have his driver's license on him during the
                                                                   traffic stop; his license was suspended at that time.
1. On October 16, 2017, at approximately 12:34 PM,
Defendant, Officer Abraham, and Investigator Christopher           7. Plaintiff admits that his window was rolled down and that
Reidy from the New York State Attorney General's Office            he was making reaching movements for his ID during the
initiated a traffic stop at the 1900 block of South State Street   traffic stop when he was approached by Officer Abraham.
on a 2012 Nissan Rogue bearing New York State license plate
number HBA3283.                                                    8. In Defendant's training and experience, his observation
                                                                   that Plaintiff lifted his body while sitting in the car was
2. On that day, Defendant was a patrol officer for the Syracuse    “consistent with individuals attempting to conceal illegal
Police Department (“SPD”) who was working alongside                narcotics or other evidence within their rectum from officers
the Gang Violence Task Force with Officer Abraham and              on the scene.”
Investigator Reidy to conduct “a Street Operations detail in



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9. Defendant discovered that Plaintiff did not possess a valid     19. Officer Abraham also located “crumbs of a beige chunky
driver's license, and Plaintiff later pled guilty to the offense   substance” on the front seat of the vehicle where Plaintiff had
of driving without a valid license.                                been sitting at the time of the traffic stop. 5

10. Defendant and Officer Abraham “had [Plaintiff] exit the        5       Although Plaintiff does not expressly deny this
vehicle due [to] his furtive movements and to the fact that
                                                                           fact, he implicitly denies it by stating that he never
[they] were planning on towing the vehicle as there was no
                                                                           had crack cocaine in his car. (Dkt. No. 75, Attach.
licensed driver on scene.”
                                                                           1, at ¶ 20.) However, the asserted fact does not
                                                                           state that the substance found was crack cocaine,
 *3 11. Defendant smelled marijuana emanating from
                                                                           and Plaintiff does not directly dispute that some
Plaintiff as Plaintiff exited the vehicle.
                                                                           sort of beige chunky substance was found in his
                                                                           vehicle. The asserted fact is therefore deemed to be
12. The odor of marijuana caused Defendant to believe that
                                                                           admitted.
Plaintiff possessed marijuana.
                                                                   20. The beige chunky substance tested positive for the
13. Defendant “observed a clear knotted plastic baggie             presence of cocaine when Officer Abraham used a “NIK
sticking out of [Plaintiff's] front waistband, and Plaintiff       Cocaine Wipe” on it. 6
admitted at his deposition that this was where he had stored
his eighth of marijuana. 4                                         6       Although Plaintiff does not expressly deny this
                                                                           fact, he implicitly denies it by stating that no test
4                                                                          for cocaine was done in the field, citing his own
       Although Plaintiff does not expressly deny this
       fact, he implicitly denies it by citing his deposition              deposition testimony. (Dkt. No. 75, Attach. 1, at ¶
       testimony in which he testified that he was searched                21.) However, his testimony does not support an
       by Officer Abraham while Defendant searched Mr.                     assertion that no test of any kind was conducted
       Sullivan. (Dkt. No. 75, Attach. 1, at ¶ 14; Dkt. No.                at the scene. Rather, when asked whether anything
       74, Attach. 4, at 71.) However, the fact that Officer               was found in the vehicle, Plaintiff answered,
       Abraham may have searched him does not preclude                     “No. But he said he had a positive reaction to
       the possibility that Defendant visually observed the                something,” and elaborated, “He couldn't test it.
       bag, which Defendant stated was sticking out of                     Whatever it was, he couldn't test it because it was
       Plaintiff's waistband. This fact is therefore deemed                going after the test supposedly.” (Dkt. No. 73,
       to be admitted.                                                     Attach. 4, at 75.) Although Plaintiff's testimony is
                                                                           somewhat ambiguous, it clearly indicates that some
14. Defendant collected the baggie “which contained a green/
                                                                           sort of test was indeed performed because Plaintiff
brown plant-like substance.”
                                                                           acknowledged that (1) Defendant Abraham stated
                                                                           that there had been a “positive reaction” to
15. Based on Defendant's training and experience, he knew
                                                                           something in the car and (2) the substance “was
the “substance to be consistent with marijuana.”
                                                                           going after the test ....”. Further, the evidence
                                                                           includes a photograph of the test wipe showing
16. A Duquenois-Levine Reagent test kit tested positive for
                                                                           a blue “positive” spot on the wipe, but no beige
the presence of marijuana.
                                                                           chunky substance. (Dkt. No. 73, Attach. 27, at 3.)
                                                                           This appears to explain Plaintiff's statement that
17. The plastic sandwich bag retrieved from Plaintiff
                                                                           the substance “was going after the test,” meaning
contained marijuana.
                                                                           it was dissolving after it had been wiped with the
                                                                           test kit, leaving no additional residue to be tested in
18. Plaintiff also had “Goodsense sandwich bags” in the
                                                                           another manner. Under the circumstances, although
“pocket of his driver's door,” which are commonly used for
                                                                           the testimony is ambiguous, no reasonable person
packaging drugs for sale.
                                                                           could conclude based on Plaintiff's testimony
                                                                           (which is largely lacking in personal knowledge of
                                                                           what occurred outside of his field of vision) that no


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       test of any kind had been conducted. This fact is                 about Defendant's stated belief. Second, Plaintiff's
       therefore deemed to be admitted.                                  testimony that Defendant did not ride in the
                                                                         transport vehicle (which is prefaced by his
*4 21. After the NIK test showed the presence of cocaine,
                                                                         acknowledgment that “I really didn't get a good
Defendant placed Plaintiff into handcuffs. 7
                                                                         view”) is unequivocally contradicted by the video
                                                                         evidence from the sally port at the Justice Center,
7      This fact is deemed to be admitted for the same                   which shows Defendant stepping out of the
       reasons discussed above in Note 6 of this Decision                transport van with Plaintiff upon arrival at the
       and Order.                                                        Justice Center. (See Exh. V1, at 0:00:26.) To the
22. Plaintiff was arrested at the scene of the traffic stop on           extent that Plaintiff has testified contrary to what
the following charges: (a) Unlicensed Operation (N.Y. Veh. &             the video evidence clearly establishes, Plaintiff's
Traf. L. § 509.1); (b) Aggravated Unlicensed Operation in the            testimony cannot create a genuine dispute of
Third Degree (N.Y. Veh. & Traf. L. § 511[1][a]); (c) Unlawful            material fact. Scott v. Harris, 550 U.S. 372, 380,
Possession of Marijuana in the Second Degree (N.Y. Pen.                  127 S.Ct. 1769, 167 L.Ed.2d 686 (2007).
L. § 221.05); and (d) Criminal Possession of a Controlled
Substance in the Seventh Degree (N.Y. Pen. L § 220.03).
                                                                                  Events at the Justice Center

23. Plaintiff also received a traffic ticket for making an        30. Upon arrival at the Justice Center, Plaintiff was escorted
insufficient turn signal (N.Y. Veh. & Traf. L. 1163[b]).          from the transport vehicle to “the north cell,” which is a
                                                                  fenced holding cell area in the sally port garage of the Justice
24. Plaintiff was handcuffed and transported to the Onondaga      Center, and “instructed to stand up keeping his hands out of
County Justice Center (“Justice Center”).                         his pants.”

25. Plaintiff was not struck nor was any force used upon him      31. After Defendant closed the gate on the holding cell,
at the scene of his arrest.
                                                                  Plaintiff put his hands toward the back of his pants. 9

26. No force was used against Plaintiff while he was being
                                                                  9
transported to the Justice Center.                                       Plaintiff effectively denies the portion of the
                                                                         asserted fact that indicates he reached his hands
27. Plaintiff was never pepper sprayed at the scene of his               into the rear of his pants (and exclaimed that “it”
arrest nor while being transported by SPD to the Justice                 was inside the rear of his pants), because, in his
Center.                                                                  deposition testimony, he stated that, although he did
                                                                         reach towards the back of his pants while in the
28. Defendant, Officer Charles Lester, and Officer Kittell               holding cell, it was only to pull his pants up. (Dkt.
rode inside the transport vehicle with Plaintiff to have him be          No. 73, Attach. 4, at 81:19-22.)
booked at the Justice Center.                                      *5 32. Officer Kittell, Officer Lester, Officer Abraham, and
                                                                  Defendant, believing Plaintiff might have “shoved evidence
29. Defendant believed it was necessary to ride with              into his rectum,” entered the holding cell.
Plaintiff “due to [Plaintiff's] movements being consistent with
someone attempting to secret evidence from officers within        33. Plaintiff, as described in Defendant's report, reached for
                 8                                                the back of his pants while thrusting his hips forward, as was
their rectum.”
                                                                  visible from the perspective of Defendant and Officer Kittell
8                                                                 moments after Plaintiff entered the holding cell.
       Although Plaintiff does not expressly deny
       this fact, he implicitly denies it by stating
                                                                  34. The officers on the scene “assisted in escorting [Plaintiff]
       that Defendant did not ride in the transport
                                                                  to the ground” after having entered the holding cell and
       vehicle. (Dkt. No. 75, Attach. 1, at ¶ 30.)
       This denial is ineffective for two reasons. First,         attempting to force Plaintiff's hands away from his pants. 10
       Plaintiff's testimony does not contradict anything



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10                                                                          to the back of his pants when he needed to pull
        Plaintiff denies that there was any need for the
                                                                            them up, and there is nothing in the testimony to
        officers to force his hands out of his pants, citing to
                                                                            indicate he did not need to pull his pants up after
        deposition testimony that he put his hands near the
                                                                            being brought to the ground. This fact is therefore
        back of his pants only to pull them up. (Dkt. No.
                                                                            deemed to be admitted.
        75, Attach. 1, at ¶ 38.) Because there is a genuine
        dispute as to whether Plaintiff's hands were inside         39. Plaintiff claims his right hand and/or wrist were injured by
        his pants and because the video evidence is not             the officers’ actions in the sally port holding cell, but evidence
        sufficiently clear to establish that fact either way,       shows that the fracture in that hand/wrist occurred “about
        the Court has amended the asserted fact to more             1 month prior to his original visit” to Upstate University
        accurately reflect what is undisputed and what can          Hospital on October 18, 2017, or approximately three-and-a-
        be seen on the video evidence.                              half or four weeks before his arrest on October 16, 2017. 13
35. Plaintiff was brought to the ground, with Defendant on the
                                                                    13
left side of Plaintiff's body. 11                                           Plaintiff does not deny this fact other than to state
                                                                            that he “felt a fracture” around the area of his hand
11                                                                          and wrist after being brought to the ground by the
        Plaintiff denies Defendant's assertion that the
                                                                            officers, including Defendant, and cites his own
        force used to place him on the ground was
                                                                            deposition testimony. (Dkt. No. 75, Attach. 1, at ¶
        “limited.” (Dkt. No. 75, Attach. 1, at ¶ 39.) The
                                                                            43; Dkt. No. 73, Attach. 4, at 81-82.) The Court
        Court agrees that whether the force was “limited”
                                                                            finds this denial to be ineffective for each of two
        is both a matter of interpretation and a legal
                                                                            reasons. First, the assertion that Plaintiff “felt a
        conclusion. That portion of the fact has therefore
                                                                            fracture” does not actually controvert any portion
        been omitted.
                                                                            of the above-stated fact. Second, in any event,
36. While Plaintiff was being brought and held to the ground,               any assertion that Plaintiff's wrist broke during
Defendant never struck Plaintiff and never touched Plaintiff's              this incident (and not before it) is contradicted by
right hand, nor did his actions play any role in the pre-existing           the clear evidence in the record, particularly the
fracture of Plaintiff's right hand.                                         submitted medical records. Because no reasonable
                                                                            factfinder could credit Plaintiff's assertion in light
37. Defendant at all relevant times maintained control of                   of the other evidence, his testimony does not create
Plaintiff's left arm and hand while in the holding cell.                    a genuine dispute of material fact on this point.
                                                                            Scott, 550 U.S. at 380, 127 S.Ct. 1769.
38. Defendant never punched, kicked, or otherwise struck
                                                                     *6 40. Members of the Onondaga County Sheriff's
Plaintiff while Plaintiff was in the holding cell, but only
                                                                    Department (“Sheriff's Department”) observed Plaintiff “was
attempted to keep Plaintiff's left hand from the back of his
                                                                    screaming and yelling while attempting to pull away from”
pants and to keep him on the ground until he was moved to
                                                                    SPD officers.
the booking intake area. 12
                                                                    41. Following the incident in the sally port holding cell,
12      Plaintiff does not deny this fact other than to state       custody of Plaintiff was transferred to members of the
        that there was no need to keep his hands from his           Sheriff's Department.
        pants while he was on the ground, and cite his own
        deposition testimony. (Dkt. No. 75, Attach. 1, at ¶         42. Sheriff's Deputy Timothy Stanton then performed a pat
        42.) The Court finds this denial to be ineffective for      search of Plaintiff.
        each of two reasons. First, the fact asserts nothing
        about a “need” to keep Plaintiff's hands from his           43. At no point while Plaintiff was in booking intake with
        pants but only an “attempt[ ]” by Defendant to keep         the Sheriff's Department at the Justice Center did Defendant
        Plaintiff's hands from his pants. Second, in any            use any force on Plaintiff or make any physical contact with
        event, the testimony to which Plaintiff cites does          Plaintiff.
        not support his assertion, because in that testimony
        he admitted that, while in the cage, he put his hands



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44. Defendant never verbally directed any of the employees                the group that escorted Plaintiff to the strip search
at the Justice Center to conduct a strip search of Plaintiff.             room, Plaintiff has not created a genuine dispute of
                                                                          material fact as to the asserted fact. Scott, 550 U.S.
45. It is the policy of the Sheriff's Department's Custody                at 380, 127 S.Ct. 1769.
Division (which operates the Justice Center) to conduct a strip
                                                                  48. Sheriff's Deputy Sergeant Murphy decided to leave
search of every newly admitted inmate at the Justice Center
                                                                  Plaintiff handcuffed while he was being transported to the
(regardless of the reason for the inmate's arrest) as part of
                                                                  strip search room.
the booking intake process in order to check for any secreted
contraband (e.g., narcotics or weapons).
                                                                   *7 49. Before arriving at the strip search room, Deputy
                                                                  Pufky asked Plaintiff if he had drugs or anything else on
46. Pursuant to this policy, as part of the process of booking
                                                                  him that would be discovered during the search, and Plaintiff
Plaintiff at the Justice Center, Sheriff's Deputy William Pufky
                                                                  responded “no.”
escorted Plaintiff to the booking shower room (“strip search
room”) at approximately 1:10 P.M. to have the required strip
                                                                  50. Plaintiff's handcuffs were removed upon entering the strip
search performed on Plaintiff.
                                                                  search room.

47. Neither Defendant nor any other SPD officer was in
                                                                  51. Deputy Pufky then ordered Plaintiff to remove his
the group of Sheriff's Deputies who escorted Plaintiff to the
                                                                  clothing and Plaintiff complied.
booking shower room prior to his strip search. 14
                                                                  52. Deputy Pufky “ordered [Plaintiff] to raise his arms, open
14                                                                his mouth, lift his scrotum and [Plaintiff] complied.”
       Plaintiff denies this asserted fact, relying on his
       own deposition testimony. (Dkt No. 75, Attach.
       1, at ¶ 52.) The Court finds this denial to be             53. Deputy Pufky then “ordered [Plaintiff] to turn around
       ineffective for each of two reasons. First, elsewhere      and bend at the waist while spreading his buttocks apart.
       in his testimony, Plaintiff indicates a lack of            [Plaintiff] immediately placed his left arm behind his body
       personal knowledge of the above-stated fact: more          and inserted his left hand/fingers deeply into his buttocks
       specifically, the portion of deposition testimony          area.” 15
       relied on by Plaintiff was (1) prefaced by an
       acknowledgment that, while he was being taken              15      Plaintiff does not expressly deny this fact but
       to the strip out room, he “was incoherent,” (2)
                                                                          states that he “was given orders to strip his clothes
       followed by two acknowledgments that, while he
                                                                          and very shortly after was beaten.” (Dkt. No. 75,
       was in that room, he was “incoheren[t],” and (3)
                                                                          Attach. 1, at ¶ 58.) However, this not responsive to
       followed by an acknowledgment that he could not
                                                                          the asserted fact, and in any event the deposition
       remember if three officers were in the strip out
                                                                          testimony he cites does not support his denial.
       room with him. (Dkt. No. 73, Attach. 4, at 91-93.)
                                                                          Specifically, although he testified that it was only
       See Fed. R. Civ. P. 56(c)(4); Fed. R. Evid. 602;
                                                                          a short period of time between when he was
       Jeffreys v. City of New York, 426 F.3d 549, 554-55                 asked to strip and when he was beaten and pepper
       (2d Cir. 2005) (setting forth narrow exception                     sprayed, he does not say that nothing occurred
       to rule prohibiting the rendering of credibility                   between those two events. (Dkt. No. 73, Attach. 4,
       determinations on motion for summary judgment).                    at 92, 94-96.) This fact is therefore deemed to be
       Second, in any event, the video evidence from the                  admitted.
       surveillance cameras directly and unequivocally
       contradicts Plaintiff's testimony. (See Exh. V6, at        54. Sheriff's Deputy Joseph Lee, Deputy Stanton, and Deputy
       0:00:30-0:00:53 [showing that all of the officers          John Allen also observed Plaintiff reach his hand into his
       escorting him down the hall to the strip search            buttocks. 16
       room are wearing vests emblazoned with either
       “Sheriff” or “S.E.R.T,” with the exception of two          16      Plaintiff disputes the asserted fact, citing his own
       officers, neither of whom are Defendant].) Because                 deposition testimony in support of his statement
       the video clearly shows Defendant was not with


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       that he never reached his hands into his rectum.           58. “[Plaintiff] refused all of [Deputy Pufky's] orders and
       (Dkt. No. 75, Attach. 1, at ¶ 59.) However, this           continued to force his hand/fingers deeply into his buttocks
       denial is ineffective for similar reasons as were          area while attempting to pull away from” Deputy Pufky.” 20
       discussed above in Note 15 of this Decision and
       Order. The evidence cited does not state one way           20     Plaintiff's denial of this asserted fact is insufficient
       or the other whether Plaintiff reached his hand into
                                                                         for the reasons discussed above in Notes 16 and 18
       his rectum at the relevant time. This asserted fact is
                                                                         of this Decision and Order.
       therefore deemed to be admitted.
                                                                  59. Deputy Pufky then dispersed two one-second bursts of his
55. According to Deputy Allen, “[t]his action, to place his
                                                                  Vexor pepper spray to Plaintiff's facial area.
hand inside his rectum, is commonly associated with the
attempt to hide contraband from authorities.” 17                  60. Plaintiff continued to thrash his body and became
                                                                  combative.
17     Plaintiff does not expressly deny this fact other
       than to state that he never reached his hand into          61. Plaintiff was then “taken to the floor” by Sheriff's
       his rectum, citing his own deposition testimony.           Department officers and he continued to struggle and would
       Plaintiff's partial denial is insufficient for the         not place his hand behind his back.
       reasons discussed above in Note 16 of this Decision
       and Order.                                                 62. Deputy Pufky was holding Plaintiff's legs because
                                                                  Plaintiff was attempting to kick the officers.
56. Plaintiff “was ordered to show his hands several times and
refused all orders.” 18
                                                                  63. During this struggle, Plaintiff continued to try to push his
                                                                  hand into his buttocks.
18     Plaintiff denies this fact, but the cited evidence does
       not support his assertion that he was never ordered        64. Plaintiff “grabbed and squeezed” Deputy Stanton's left
       to move his hands. (Dkt. No. 75, Attach. 1, at ¶ 61.)      hand; when Deputy Stanton ordered him to let go, he refused,
       When asked if he was given a command to move               and therefore Deputy Stanton struck him several times in
       to his hands away from his backside, he answered,          the shoulder area with a closed fist until he released Deputy
       “I never heard that. I don't recall.” (Dkt. No. 73,        Stanton's hand.
       Attach. 4, at 96.) The fact that Plaintiff does not
       recall the order being spoken or did not hear it does      65. Deputy Lee gained control of Plaintiff's left wrist by
       not contradict the testimony that it was given. See        pulling it and placing it behind Plaintiff's back.
       Genger v. Genger, 663 F. App'x 44, 49 n.4 (2d
       Cir. 2016) (summary order) (noting that a statement        66. Defendant could hear a commotion with Plaintiff yelling.
       that one “ha[d] no recollection” of a fact “does not
       constitute a denial”); F.D.I.C. v. Nat'l Union Fire        67. While waiting for notification as to whether Plaintiff
       Ins. Co. of Pittsburgh, PA, 205 F.3d 66, 75 (2d Cir.       possessed illegal contraband, Defendant, Officer Abraham,
       2000) (“[V]ague denials and memory lapses ... do           and Officer Kittell observed several Sheriff's Deputies
       not create genuine issues of material fact.”). This        running toward the strip search room.
       fact is deemed to be admitted.
 *8 57. Deputy Pufky then “grabbed [Plaintiff's] left arm in      68. Defendant never entered the room where the strip search
an attempt to pull his arm and hand forward, while giving         of Plaintiff was conducted at any relevant time. 21
numerous orders to [Plaintiff] to give [Deputy Pufky] his
hand.” 19                                                         21     Plaintiff disputes this asserted fact, citing his
                                                                         own deposition testimony that he saw Defendant
19                                                                       in the strip search room. (Dkt. No. 75, Attach.
       Plaintiff's denial of this asserted fact is insufficient
       for the reasons discussed above in Notes 16 and 18                1, at ¶ 77.) The Court finds this denial to be
       of this Decision and Order.                                       ineffective for each of two reasons. First, elsewhere
                                                                         in his testimony, Plaintiff indicates a lack of


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       personal knowledge of the above-stated fact: more          76. Upon completing the search warrant and application,
       specifically, the portion of deposition testimony          Defendant proceeded to the residence of Syracuse City Court
       relied on by Plaintiff was (1) prefaced by an              Judge Rory A. McMahon (as an acting Onondaga County
       acknowledgment that, while he was being taken              Court Judge) to have the warrant application and search
       to the strip out room. he “was incoherent,” (2)            warrant reviewed and signed.
       followed by two acknowledgments that, while he
       was in that room, he was “incoheren[t],” and (3)           77. The warrant application was based on, among other
       followed by an acknowledgment that he could not            things, Defendant's observations as set forth in his own sworn
       remember if three officers were in the strip out           statement, Officer Abraham's observations, positive field tests
       room with him. (Dkt. No. 73, Attach. 4, at 91-93.)         for marijuana and cocaine, and Deputy Pufky's affidavit.
       See Fed. R. Civ. P. 56(c)(4); Fed. R. Evid. 602;
       Jeffreys, 426 F.3d at 554-55. Second, in any event,        78. The search warrant was signed by Judge McMahon on
       the video surveillance evidence from inside the            October 16, 2017.
       Justice Center clearly establishes that Defendant
       did not enter the strip search room at any time            79. The search warrant “directed” the following:
       while Plaintiff was in it; he walked to the hallway
       outside the door of that room while the search was           The person of Torrence L. Jackson, black male, [date of
       occurring, but he did not open the door or enter the         birth omitted] 6’03”, 240 lbs., black hair, brown eyes, to
       room. (Exh. V6, at 0:00:33-0:04:33.) See Scott, 550          include a search of all body cavities to include the rectum/
       U.S. at 380, 127 S.Ct. 1769. The asserted fact is            anus, as well as any areas of his clothing which are capable
       therefore deemed to be admitted.                             of concealing the narcotic controlled substance commonly
                                                                    known as cocaine and the illegal substance commonly
 *9 69. Defendant did not pepper spray Plaintiff, nor was he        known as marihuana as well as any and all illegal controlled
in the strip search room when Deputy Pufky dispersed the            substances, paraphernalia, weapons, moneys, compounds,
pepper spray.                                                       mixtures, cutting agents, used in the preparation of,
                                                                    possession of, use of, sale of, and/or concealment of the
70. Plaintiff passed Defendant in the hallway as he left the        narcotic controlled substance commonly known as cocaine
strip search room and was escorted by Sheriff's Deputies back       and the illegal substance commonly known as marihuana
to the booking intake room.                                         and/or illegal controlled substance and any and all item(s)
                                                                    (evidence) showing or tending to show preparation of,
71. In the booking intake room, Plaintiff was escorted to the       possession of, use of, sale of, and/or concealment of the
eyewash station, where cold water was applied to his eyes and       narcotic controlled substance commonly known as cocaine
face for decontamination.                                           and the illegal substance commonly known as marihuana,
                                                                    as well as any other illegal controlled substance(s), this
72. After Plaintiff was decontaminated, he was transferred          being in violation of sections 220.00 and 221.00 of the New
back to SPD custody and transported to the hospital.                York State Penal Law.

73. At no time while Plaintiff was at the Justice Center was        The court further allows for medical staff of St. Joseph's
he punched, kicked, or otherwise struck by Defendant.               Hospital to utilize any/all medicines and/or medical/
                                                                    surgical procedures to assist in said removal to include,
74. Plaintiff was then transported by ambulance to St. Joseph's     but not limited to, anesthesia, IV, x-ray/sonogram and/
Hospital.                                                           or physical manipulation, and any and all other medical
                                                                    procedures determined by said medical staff to be
                                                                    necessary and prudent to assist in the retrieval/removal
                                                                    of said illicit/illegal substances (evidence) located within
     Application for and Signing of Search Warrant
                                                                    the anal cavity of Torrence L. Jackson. Said medical
75. While other SPD officers monitored Plaintiff at St.             procedures to assist in the removal/recovery of said items to
Joseph's Hospital, Defendant proceeded to the Special               be conducted by medical staff with or without the consent
Investigation Division to complete a strip search warrant.          of Jackson.




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 *10 80. Defendant then traveled to St. Joseph's Hospital with      88. At 1:59 P.M., Nurse Manansala administered five
the signed search warrant.                                          milligrams of Haldol, fifty milligrams of Benadryl, and two
                                                                    milligrams of Ativan to Plaintiff.

                                                                    89. Neither Defendant Fiorini nor any other SPD officer
Plaintiff at St. Joseph's Hospital and His Sigmoidoscopy
                                                                    administered sedatives to Plaintiff.
81. Defendant was not at St. Joseph's Hospital when Plaintiff
arrived there at approximately 1:52 P.M.                            90. Nurse Manansala required assistance to hold Plaintiff
                                                                    down while administering the sedative medication, although
82. One of the reasons listed in the certified medical records      he does not remember who participated in restraining
for Plaintiff's visit was a “drug problem.”                         Plaintiff.


83. Plaintiff was placed in the “A” section of the St.              91. However, Dr. Paolo did not remember any police officers
Joseph's Emergency Department, which is where agitated or           restraining Plaintiff.
psychiatric patients are typically placed.
                                                                    92. Plaintiff never saw Defendant while he was at St. Joseph's
84. Dr. William Paolo was the attending physician assigned          Hospital.
to the “A” section when Plaintiff arrived at St. Joseph's
Hospital and he was supervising a resident doctor, Dr. Kavitha      93. Neither Dr. Paolo nor Nurse Manansala was able to
Muruganantham; Nurse Mark Manansala was the primary                 identify any of the SPD officers they encountered when
nurse assigned to Plaintiff.                                        Plaintiff was brought to the hospital.


85. Dr. Paolo noted that Plaintiff was “agitated, combative,        94. At 2:20 P.M., Nurse Manansala administered five
                                                                    milligrams of midazolam, an additional sedative medication.
and stat[ed] ‘I refuse everything.’ ” 22

                                                                    95. Nurse Manansala opined that crack cocaine located in an
22      Plaintiff does not expressly deny this fact, other          individual's rectum could be absorbed into the bloodstream.
        than to assert that he was not offered any treatment
        and was only calling for help, citing his own               96. At 2:32 P.M., Nurse Manansala removed the spit mask
        deposition testimony. (Dkt. No. 75, Attach. 1, at ¶         from Plaintiff's head and washed the pepper spray from his
        121.) However, Plaintiff testified at his deposition        eyes.
        that, although he recalls a doctor talking to him at
        some point and telling him about an x-ray, he was           97. Nurse Manansala did not recall Plaintiff complaining
        asleep much of the time in the hospital and does            about any distress from the pepper spray prior to his face
        not remember much of what happened there. (Dkt.             being cleaned.
        No. 73, Attach. 4, at 104-05.) See Fed. R. Civ. P.
        56(c)(4); Fed. R. Evid. 602; Genger, 663 F. App'x           98. Plaintiff did not make any subsequent complaints
        at 49 n.4; Nat'l Union Fire Ins. Co. of Pittsburgh,         regarding the pepper spray after his face was cleaned.
        PA, 205 F.3d at 75. This fact is therefore deemed to
        be admitted.                                                 *11 99. Dr. Paolo noted that Plaintiff's eyes exhibited no
86. Police also noted that, “[u]pon arrival to the ER [Plaintiff]   discharge and that he was in no respiratory distress.
was very aggressive and uncooperative towards police and
hospital staff.”                                                    100. Plaintiff did not complain to Nurse Manansala about pain
                                                                    anywhere else on his body.
87. Dr. Paolo was concerned that Plaintiff was a threat to
himself and others because he was combative and fighting.           101. Plaintiff also did not exhibit any behavior while at St.
                                                                    Joseph's Hospital that would indicate he sustained pain or
                                                                    injury to his right wrist.




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102. At 6:35 P.M., Dr. Paolo and Dr. Muruganantham ordered                is not appropriate when responding to a Local
an x-ray of Plaintiff's abdomen.                                          Rule Statement ....”). This asserted fact is therefore
                                                                          deemed to be admitted.
103. Although the x-ray did not show a “radiopaque foreign         112. Dr. Heller then called for hospital police because she and
body inside of Plaintiff,” Dr. Paolo stated that it would be       her hospital staff were not capable of holding patients down
possible that drugs would not appear on an x-ray; hospital
                                                                   to restrain them. 24
gastroenterologist Dr. Hui Hing Tin also opined that an x-ray
would only show density, not tell if there were drugs present
                                                                   24
inside of Plaintiff's body.                                               Plaintiff does not deny this fact, other than to
                                                                          assert that “[n]ursing staff are capable of restraining
104. At 7:25 P.M., Dr. Paolo turned Plaintiff's care over to Dr.          patients, and in fact do restrain plaintiff,” citing
Kishani Heller.                                                           to a portion of the deposition testimony from Dr.
                                                                          Heller. (Dkt. No. 75, Attach. 1, at ¶ 157.) Having
105. After Judge McMahon signed the search warrant,                       reviewed Dr. Heller's cited testimony in its entirety,
Defendant returned to St. Joseph's Hospital.                              the Court notes that Dr. Heller appears to use the
                                                                          word “restrain” in two different contexts in her
106. At some point, Dr. Heller spoke with a police officer who            testimony: in one context using “restrain” to mean
informed her that they had a court order to obtain a foreign              the physical restraint of a patient by individuals
body from Plaintiff's rectum; she was unable to recall the                to allow medical personnel to administer sedatives
officer's name or their appearance.                                       or other treatments (which restraints medical
                                                                          personnel do not apply), and in another context
107. Based on the information relayed to her, Dr. Heller                  using “restrain” to mean the application of devices
was concerned that there might be cocaine in Plaintiff's                  that would hold a patient to the bed for longer
gastrointestinal tract.                                                   periods of time (which restraints medical personnel
                                                                          do apply). (Compare Dkt. No. 73, Attach. 18,
108. Dr. Heller requested that Plaintiff drink a laxative                 at 34 [testifying that she called hospital police
beverage, which he refused.                                               when Plaintiff became violent because “we are
                                                                          not capable of restraining patients, I'm not capable
109. Dr. Heller then requested that the charge nurse page the             of it, or my nursing staff”] with Dkt. No. 73,
hospital attorney.                                                        Attach. 18, at 38-39 [testifying that it was one of
                                                                          the nurses who placed Plaintiff into the “violent
110. At 9:14 P.M., Dr. Heller noted that she “[s]poke with                adult restraints” ordered by Dr. Heller].) Because
hospital attorney Mr. Lowell Seifter, who had reviewed the                Dr. Heller's testimony is not self-contradictory but
court order and spoken with the judge who issued the court                successfully supports the asserted fact, that fact is
order and says the patient does not have the right to refuse.”            deemed to have been admitted.
                                                                    *12 113. At 10:04 P.M., Dr. Heller also ordered that Plaintiff
111. At 10:01 P.M., Dr. Heller informed Plaintiff of the plan      be placed in “violent adult restraints” because he became
to transfer him to the operating room for a sigmoidoscopy and      “combative and verbally threatening towards staff and SPD.”
Plaintiff became violent. 23
                                                                   114. Nurse Shannon Phillips placed Plaintiff into restraints
23                                                                 and monitored him in the restraints.
       Plaintiff does not expressly deny any part of this
       fact, and instead adds facts that fail to respond
       to this fact. (Dkt. No. 75, Attach. 1, at ¶ 156.)           115. At 10:06 P.M., an electrocardiogram of Plaintiff's heart
       See Nanos v. City of Stamford, 609 F. Supp.                 revealed signs of tachycardia and an elevated heart rate
       2d 260, 263 (D. Conn. 2009) (“Nanos does not                of 128; potential causes of an elevated heart rate include
       actually deny the City's factual allegations, but           agitation and ingesting drugs.
       simply adds commentary or analysis not related
       to the existence or non-existence of the facts
       alleged by the City. Such commentary or analysis


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116. Dr. Tin consulted with Dr. Heller, who informed him that        129. Plaintiff was transported back to the Justice Center and
“the warrant would want us to retrieve this object from the          arraigned and released on October 17, 2017.
rectum with any means.”

117. At 10:30 P.M., Dr. Tin noted that he had spoken with              D. Parties’ Arguments on Defendant's Motion for
hospital attorney, Mr. Seifter, who had stated the warrant was         Summary Judgment
valid and legally advised Dr. Tin that he was “obligated to
help the police under any means to retrieve the object.”                        1. Defendant's Memorandum of Law

118. The decision to perform the sigmoidoscopy was made              Generally, in his motion for summary judgment, Defendant
between Dr. Tin and Dr. Heller upon the legal advice of Mr.          makes three arguments. (Dkt. No. 73, Attach. 31.) First,
Seifter.                                                             Defendant argues that Plaintiff's remaining First Claim for
                                                                     excessive force against him (as to both the events during
119. Dr. Tin decided to perform a sigmoidoscopy because he           the traffic stop/at the Justice Center and when he was at the
did not know how far inside of Plaintiff the object could be or      hospital) must be dismissed as a matter of law, because the
what the object was at the time of the consultation.                 undisputed evidence shows that Defendant did not engage in
                                                                     any unreasonable force, and indeed did not participate in any
120. Crack cocaine, whether in a burst package or placed             of the alleged force that Plaintiff claims caused his injuries.
unpackaged into the rectum, could be absorbed by the body;           (Id. at 9-24.) Specifically, Defendant argues as follows: (a)
if placed inside the rectum without packaging, it could be           Plaintiff has admitted that no force was used at the scene of
absorbed within ten hours.                                           the traffic stop, or during transportation to the Justice Center;
                                                                     (b) the force Defendant used on Plaintiff while Plaintiff was
121. Members of SPD did not direct Dr. Tin to perform the            in the sally port holding cell when he arrived at the Justice
sigmoidoscopy.                                                       Center was reasonable because all he did was hold Plaintiff's
                                                                     torso and left arm in an effort to keep him from reaching
122. Dr. Tin performed the sigmoidoscopy at approximately            toward the back of his pants and to subdue him to the
11:42 P.M., which is approximately eleven hours after                ground when Plaintiff did not cooperate, and Plaintiff does
Plaintiff's traffic stop at 12:34 P.M.                               not allege any injury to his left hand or arm; (c) Defendant
                                                                     was not present when Plaintiff was pepper sprayed and was
123. The sigmoidoscopy procedure lasted approximately                not in the strip search room at all while Plaintiff was in
five-to-eight minutes.                                               there with Sheriff's Deputies for his search, and therefore
                                                                     there is no evidence to suggest he either pepper sprayed or
124. The sigmoidoscopy did not reveal a foreign body in the          hit Plaintiff during that altercation; (d) Defendant did not
area examined.                                                       restrain or sedate Plaintiff while he was at the hospital, and
                                                                     indeed Plaintiff acknowledges that he did not see Defendant
125. Dr. Tin did not recall seeing blood after the                   at the hospital at any relevant time, and it is undisputed
sigmoidoscopy.                                                       that Defendant did not arrive at the hospital until after he
                                                                     had secured a warrant to search Plaintiff; and (e) Defendant
126. At 12:28 A.M. on October 17, 2017, Dr. Heller ordered           did not use any force related to the sigmoidoscopy because
a rapid drug screen of Plaintiff, which showed positive results      that procedure was not only presumptively reasonable due to
for benzodiazepine, marijuana, and cocaine.                          the duly executed search warrant, but also it was performed
                                                                     by medical personnel under the direction of hospital legal
127. Plaintiff was discharged from St. Joseph's Hospital on          counsel, not by Defendant or at his specific direction. (Id.)
October 17, 2017, at 12:52 A.M.
                                                                      *13 Second, Defendant argues that, as to the remaining
128. Plaintiff testified that he saw eight or nine officers at the   Second Claim regarding failure to intervene in the events that
hospital but that he did not see Defendant.                          happened during the traffic stop/at the Justice Center, there is
                                                                     no admissible record evidence to show that excessive force
                                                                     was applied while Plaintiff was in the sally port holding cell,



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and the video evidence undisputedly shows that Defendant           Fourth, Plaintiff argues that Defendant is not entitled to
was not present at any time in the strip search room when          qualified immunity because (a) a constitutional right to be free
Plaintiff alleges he was pepper sprayed and beaten; and he         from unreasonable searches and seizures and unreasonable
therefore had no reasonable opportunity to intervene to the        force is clearly established, and (b) there are genuine disputes
extent any of those actions could be considered excessive          of material fact that must be resolved before it can be
force. (Id. at 9-17.)                                              determined whether his actions can be considered to be
                                                                   objectively reasonable. (Id. at 6-7.)
Third, Defendant argues that, even if Plaintiff can establish
either of his claims, Defendant is protected from liability
as a matter of law by the doctrine of qualified immunity,
                                                                          3. Defendant's Reply Memorandum of Law
because there is no case law clearly establishing that a body
cavity search based on a validly executed search warrant           Generally, in his reply to Plaintiff's opposition, Defendant
constitutes excessive force, and based on the current record       makes three arguments. (Dkt. No. 76.) First, Defendant
Defendant was objectively reasonable in believing his actions      argues that Plaintiff's claims for excessive force and failure
in subduing Plaintiff, seeking a search warrant based on the       to intervene during the initial traffic stop and at the Justice
facts known to him and his own observations, and bringing          Center fail for the following reasons: (a) it is undisputed
the search warrant to the hospital were constitutional. (Id. at    that no force was used during the traffic stop itself; (b)
24-29.)                                                            his co-occurring claim for failure to intervene during the
                                                                   traffic stop (about which Plaintiff has made no argument
                                                                   in his response) should also be dismissed given that there
     2. Plaintiff's Opposition Memorandum of Law                   was no allegation of any force used; (c) Defendant's actions
                                                                   in the sally port holding cell at the Justice Center do not
Generally, in opposition to Defendant's motion for summary         constitute excessive or unreasonable force, and the evidence
judgment, Plaintiff makes four arguments. (Dkt. No. 75.)           substantiates a finding that Plaintiff's right wrist was not
First, Plaintiff argues that factual disputes preclude the entry   fractured during that encounter and that Defendant never
of summary judgment on his First Claim of excessive force          touched that hand or arm or hit him; and (d) Defendant was
because, there is a genuine dispute of material fact regarding     not present in the strip search room when Plaintiff was pepper
whether the initial traffic stop and following events provided     sprayed, and the video evidence substantiates a finding that
sufficient suspicion that Plaintiff had drugs in his rectum,       he was indeed never in that room while Plaintiff was in there.
which in turn raises genuine questions regarding whether the       (Id. at 4-10.)
search warrant was valid. (Id. at 3-5.) Plaintiff argues that a
reasonable jury could determine that Defendant's testimony          *14 Second, Defendant argues that Plaintiff's claim for
and narrative supporting the warrant is false or not credible,     excessive force related to the events at the hospital also
and therefore find that the force used against him at the          fails for the following reasons: (a) there is no evidence to
hospital was unreasonable and excessive. (Id.)                     substantiate that Defendant physically restrained or medically
                                                                   sedated Plaintiff at the hospital; (b) Plaintiff has not provided
Second, Plaintiff argues that the video evidence should not        any evidence beyond his own testimony and suppositions to
be used as conclusive proof of any fact regarding whether          support his argument that the narrative on which Defendant
Defendant was present when force was used or whether               based the search warrant application was false, or that the
such force was reasonable, because factual disputes remain         search warrant it resulted in was invalid, and indeed the
that are not resolved by the video evidence and that require       search warrant was based in part on marijuana, a substance
submission to a jury. (Id. at 5.)                                  Plaintiff admits had already been found during the traffic
                                                                   stop, and also in part on an affidavit from Deputy Pufky
Third, Plaintiff argues that the fact that his injuries may have   regarding Plaintiff's conduct in the strip search room; and (c)
been arguably minor in nature does not preclude an excessive       the sigmoidoscopy was performed not by Defendant, or at
force claim and that, in any event, part of his injury is that     the direction of Defendant, but by medical personnel pursuant
he was subjected to an unnecessary, invasive, and humiliating      to the search warrant after consultation with counsel. (Id. at
medical procedure in addition to sedation. (Id. at 6.)             10-13.)




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Third, Defendant argues that he is entitled to qualified                  matching number paragraphs, and supports any
immunity, because he had a valid reason for arresting Plaintiff           denials with a specific citation to the record where
during the initial traffic stop, and the subsequent search                the factual issue arises. N.D.N.Y. L. R. 56.1(b).
warrant was based on probable cause under the undisputed           Implied in the above-stated burden-shifting standard is the
facts presented. (Id. at 13.)                                      fact that, where a non-movant willfully fails to respond to a
                                                                   motion for summary judgment, a district court has no duty to
                                                                   perform an independent review of the record to find proof of
II. LEGAL STANDARD GOVERNING A MOTION
                                                                   a factual dispute.
FOR SUMMARY JUDGMENT
Under Fed. R. Civ. P. 56, summary judgment is warranted if
                                                                   Of course, when a non-movant willfully fails to respond to a
“the movant shows that there is no genuine dispute as to any
                                                                   motion for summary judgment, “[t]he fact that there has been
material fact and that the movant is entitled to a judgment as
                                                                   no [such] response ... does not ... [by itself] mean that the
a matter of law.” Fed. R. Civ. P. 56(a). A dispute of fact is
                                                                   motion is to be granted automatically.” Champion v. Artuz,
“genuine” if “the [record] evidence is such that a reasonable
                                                                   76 F.3d 483, 486 (2d Cir. 1996). Rather, as indicated above,
jury could return a verdict for the [non-movant].” Anderson
                                                                   the Court must assure itself that, based on the undisputed
v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91
                                                                   material facts, the law indeed warrants judgment for the
L.Ed.2d 202 (1986). 25 As for the materiality requirement, a
                                                                   movant. Champion, 76 F.3d at 486; Allen v. Comprehensive
dispute of fact is “material” if it “might affect the outcome
                                                                   Analytical Group, Inc., 140 F. Supp.2d 229, 232 (N.D.N.Y.
of the suit under the governing law .... Factual disputes that
                                                                   2001) (Scullin, C.J.); N.D.N.Y. L.R. 7.1(a)(3). What the non-
are irrelevant or unnecessary will not be counted.” Anderson,
                                                                   movant's failure to respond to the motion does is lighten the
477 U.S. at 248, 106 S.Ct. 2505. In determining whether a
                                                                   movant's burden.
genuine issue of material fact exists, the Court must resolve
all ambiguities and draw all reasonable inferences against
                                                                    *15 For these reasons, this Court has often enforced Local
the movant. Anderson, 477 U.S. at 255, 106 S.Ct. 2505.
                                                                   Rule 56.1 by deeming facts set forth in a movant's statement
In addition, “[the movant] bears the initial responsibility of
                                                                   of material facts to be admitted, where (1) those facts are
informing the district court of the basis for its motion, and
                                                                   supported by evidence in the record, and (2) the non-movant
identifying those portions of the ... [record] which it believes
                                                                   has willfully failed to properly respond to that statement. 27
demonstrate[s] the absence of any genuine issue of material
fact.” Celotex v. Catrett, 477 U.S. 317, 323-24, 106 S.Ct.
                                                                   27
2548, 91 L.Ed.2d 265 (1986). However, when the movant                     Among other things, Local Rule 56.1(b) requires
has met its initial burden, the non-movant must come forward              that the non-movant file a response to the movant's
with specific facts showing a genuine issue of material fact              Statement of Material Facts, which admits or
for trial. Fed. R. Civ. P. 56(a), (c), (e). 26                            denies each of the movant's factual assertions in
                                                                          matching numbered paragraphs, and supports any
25                                                                        denials with a specific citation to the record where
        As a result, “[c]onclusory allegations, conjecture
                                                                          the factual issue arises. N.D.N.Y. L. R. 56.1(b).
        and speculation ... are insufficient to create a
        genuine issue of fact.” Kerzer v. Kingly Mfg., 156         Similarly, in this District, where a non-movant has willfully
        F.3d 396, 400 (2d Cir. 1998) [citation omitted].           failed to respond to a movant's properly filed and facially
        As the Supreme Court has explained, “[The non-             meritorious memorandum of law, the non-movant is deemed
        movant] must do more than simply show that there           to have “consented” to the legal arguments contained in that
        is some metaphysical doubt as to the material              memorandum of law under Local Rule 7.1(a)(3). 28 Stated
        facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith        another way, when a non-movant fails to oppose a legal
        Radio Corp., 475 U.S. 574, 585-86, 106 S.Ct. 1348,         argument asserted by a movant, the movant may succeed
        89 L.Ed.2d 538 (1986).                                     on the argument by showing that the argument possess
                                                                   facial merit, which has appropriately been characterized as
26      Among other things, Local Rule 56.1(b) requires            a “modest” burden. See N.D.N.Y. L.R. 7.1(a)(3) (“Where a
        that the non-movant file a response to the movant's        properly filed motion is unopposed and the Court determined
        Statement of Material Facts, which admits or               that the moving party has met its burden to demonstrate
        denies each of the movant's factual assertions in          entitlement to the relief requested therein ....”); Rusyniak


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v. Gensini, 07-CV-0279, 2009 WL 3672105, at *1, n.1                  specific and requires balancing the nature and quality of
(N.D.N.Y. Oct. 30, 2009) (Suddaby, J.) (collecting cases);           the intrusion on the plaintiff's Fourth Amendment interests
Este-Green v. Astrue, 09-CV-0722, 2009 WL 2473509, at                against the countervailing governmental interests at stake.”
*2 & n.3 (N.D.N.Y. Aug. 7, 2009) (Suddaby, J.) (collecting           Hulett, 253 F. Supp. 3d. at 491.
cases).
                                                                      *16 Factors the court should consider when making this
28                                                                   assessment include “(1) the nature and severity of the crime
        See, e.g., Beers v. GMC, 97-CV-0482, 1999 U.S.
                                                                     leading to the arrest, (2) whether the suspect poses an
        Dist. LEXIS 12285, at *27-31, 1999 WL 325378
                                                                     immediate threat to the safety of the officer or others, and (3)
        (N.D.N.Y. March 17, 1999) (McCurn, J.) (deeming
                                                                     whether the suspect was actively resisting arrest or attempting
        plaintiff's failure, in his opposition papers, to
                                                                     to evade arrest by flight.” Tracy v. Freshwater, 623 F.3d
        oppose several arguments by defendants in their
                                                                     90, 96 (2d Cir. 2010) (citing Graham, 490 U.S. at 396,
        motion for summary judgment as consent by
                                                                     109 S.Ct. 1865). However, the court should be “careful to
        plaintiff to the granting of summary judgment
                                                                     evaluate the record ‘from the perspective of a reasonable
        for defendants with regard to the claims that the
                                                                     officer on the scene, rather than with the 20/20 vision of
        arguments regarded, under Local Rule 7.1[b][3];
                                                                     hindsight[;]’ ... ‘Not every push or shove, even if it may
        Devito v. Smithkline Beecham Corp., 02-CV-0745,
                                                                     later seem unnecessary in the peace of a judge's chambers,
        2004 WL 3691343, at *3 (N.D.N.Y. Nov. 29, 2004)
                                                                     violates the Fourth Amendment.’ ” Tracy, 623 F.3d at 96
        (McCurn, J.) (deeming plaintiff's failure to respond
        to “aspect” of defendant's motion to exclude expert          (citing Graham, 490 U.S. at 396-97, 109 S.Ct. 1865).
        testimony as “a concession by plaintiff that the
        court should exclude [the expert's] testimony” on            There are three distinct portions of the encounter on October
        that ground).                                                16, 2017, that are relevant to Plaintiff's First Claim: actions
                                                                     taken during the initial traffic stop, actions taken at the Justice
                                                                     Center, and actions taken at St. Joseph's Hospital. With regard
III. ANALYSIS
                                                                     to the nature of the actions taken, in his Complaint, Plaintiff
   A. Whether Defendant Is Entitled to Summary                       alleges excessive force based on (1) “[a]mong other violent
   Judgment on Plaintiff's First Claim                               acts, [he] was punched and pepper sprayed,” and (2) he was
After careful consideration, the Court answers this question         “involuntarily restrained by the defendants in the hospital to
in the affirmative for the reasons stated in Defendant's             facilitate the illegal colonoscopy.” (Dkt. No. 1, at ¶¶ 41-42.)
memoranda of law. See, supra Parts I.D.1 and 3. To those
reasons, the Court adds the following analysis.
                                                                                              1. Traffic Stop
“The Fourth Amendment protects a free citizen from
excessive force in the course of an arrest or investigatory          As to the events that occurred during the traffic stop itself,
stop.” McDonald v. City of Troy, 542 F. Supp. 3d 161, 168-69         it is undisputed that Defendant did not use any force
(N.D.N.Y. 2021) (Hurd, J.) (citing Cugini v. City of N. Y.,          against Plaintiff. Plaintiff alleges that, “[i]n the process of
941 F.3d 604, 612 [2d Cir. 2019]). “[T]he right to make an           putting [him] under arrest, the defendants unnecessarily used
arrest or investigatory stop necessarily carries with it the right   excessive force punching and pepper spraying [him].” (Dkt.
to use some degree of physical coercion or threat thereof to         No. 1, at ¶ 15.) However, according to Plaintiff's own
effect it.” Graham v. Connor, 490 U.S. 386, 396, 109 S.Ct.           deposition testimony, the alleged punching and pepper
1865, 104 L.Ed.2d 443 (1989). “To succeed on a [Section]             spraying did not occur until after he had arrived at the Justice
1983 excessive force claim, a plaintiff must show that the           Center. Specifically, at his deposition, Plaintiff testified as
defendant's use of force was ‘objectively unreasonable in            follows related to the traffic stop: (1) Defendant and Officer
light of the facts and circumstances confronting them, without       Abraham approached his car; (2) Officer Abraham asked
regard to their underlying intent or motivation.’ ” Malarczyk        him for his license and registration and then “pulled” or
v. Lovgren, 19-CV-0042, 2022 WL 374271, at *9 (N.D.N.Y.              escorted him to the back of the car and handcuffed him; (3)
Feb. 8, 2022) (Hurd, J.) (quoting Hulett v. City of Syracuse,        Officer Abraham searched his car while “officers” searched
253 F. Supp. 3d 462, 491 [N.D.N.Y. 2017] [Hurd, J.]). The            his person; (4) while Plaintiff was being searched, Defendant
objective reasonableness inquiry is “necessarily case and fact       searched the passenger of the car; and (5) he was put into



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the police transport van and stated no force was used on him        cell. (Exh. V1, at 0:01:03; Exh. V2, at 0:01:02-0:01:05.) The
while he was in the van. (Dkt. No. 73, Attach. 4, at 66-80.)        other officer appears to grab Plaintiff's hands from behind,
Plaintiff affirmatively stated that officers did not strike him     while Defendant appears to take hold first of Plaintiff's right
or pepper spray him at the scene of the traffic stop. (Id. at 72,   shoulder before quickly switching his grip to Plaintiff's left
79.) Because even Plaintiff's own account does not indicate         shoulder and chest; he holds Plaintiff like that while the
any force was used against him before he arrived at the Justice     other officer appears to be patting Plaintiff down; he also
Center, much less that excessive force that was applied by          reaches around to the back of Plaintiff's left side while holding
Defendant specifically, the evidence does not support any           Plaintiff across the chest. (Exh. V1, at 0:01:07-0:01:15;
claim of excessive force related to the events of the traffic       Exh. V2, at 0:01:10-0:01:20.) Defendant eventually moves
stop.                                                               his hands to Plaintiff's left elbow as Plaintiff continues
                                                                    to visibly struggle against the officers’ grip. (Exh. V1, at
                                                                    0:01:15-0:01:22; Exh. V2, at 0:01:20-0:01:25.) Multiple other
                                                                    officers enter the holding cell and Plaintiff is gradually pushed
                      2. Justice Center
                                                                    toward one of the benches by the group of officers; while
Turning to the events that occurred at the Justice Center, there    Plaintiff is on the bench, Defendant is seen to be holding him
are two distinct types of such events: (1) events that occurred     with one hand still near the left side of his body, although
in the sally port holding cell when Plaintiff first arrived at      the other officers have taken a more active role at this point.
the Justice Center, and (2) events that occurred later when         (Exh. V1, at 0:01:22-0:01:40; Exh. V2, at 0:01:25-0:01:40.)
Plaintiff was taken into the strip search room to be searched       Defendant can be seen helping to bring Plaintiff down to the
for booking.                                                        ground, where Plaintiff is held by the officers. (Exh. V1, at
                                                                    0:01:40-0:02:30; Exh. V2, at 0:01:40-0:02:05.) At no point in
                                                                    this video did Defendant (or any of the other officers) punch
                                                                    or kick Plaintiff, although one officer (not Defendant) can be
                 a. Sally Port Holding Cell                         seen elbowing one of Plaintiff's limbs that another officer is
                                                                    either holding or (if it is indeed Plaintiff's arm) being held by.
The first of these events involved an altercation in the
                                                                    (Exh. V1, at 0:01:42-0:01:44.) Although stating that he was
sally port holding cell not long after Plaintiff arrived at the
                                                                    struck during the altercation, Plaintiff himself was unable to
Justice Center. Although there are disputed facts related to
                                                                    recall who struck him, testifying that he was too preoccupied
Plaintiff's actions that Defendant argues prompted the need
                                                                    with “trying not to let [his] head hit the bench,” and that,
to physically restrain him after he was placed in the holding
                                                                    although he “felt something” other than “pure falling,” he was
cell (specifically whether he reached or tried to reach into his
                                                                    disoriented and could not answer specifically where he was
pants or into his buttocks), Plaintiff admits in his deposition
                                                                    struck other than to assert that his wrist was broken. (Dkt. No.
testimony that, while he was in the holding cell, he put his
                                                                    73, Attach. 4, at 83-84.)
hands toward the back of his pants in order to pull them
up because, “[w]hatever type of clothing I was wearing was
                                                                    Setting aside the issue of whether Plaintiff's right wrist was
way below my behind.” (Dkt. No. 73, Attach. 4, at 83.)
                                                                    fractured during this altercation or whether he suffered any
There therefore is no genuine dispute of fact that he reached
                                                                    other injuries as a result of the officers’ conduct in the holding
towards the back of his pants at the relevant time. He further
acknowledges that it was after attempting to pull his pants up      cell, 29 the video evidence from the two cameras clearly
that the officers “rushed in and slammed [him] down to the          substantiates that, most relevantly, Defendant did not engage
ground.” (Id.)                                                      in any conduct that can be considered to be unreasonable
                                                                    excessive force. His actions consisted of holding Plaintiff in
 *17 The videos from the sally port cameras show Plaintiff          place around the abdomen and left arm, attempting to pull
in the holding cell, and, although the videos are not               Plaintiff's hands away from the back of his pants, and assisting
particularly clear, it can be seen that Plaintiff's hands (which    the other officers in subduing Plaintiff first to the bench and
are handcuffed behind his back) do appear to be pulling             then to the floor through means of gradual, controlled force
on his pants in some manner; it is not apparent whether             without striking or hitting him. This force was applied based
they are outside or inside of his pants. (Exh. V1, at               on the belief that Plaintiff was reaching into the back of his
0:00:53-0:01:05; Exh. V2, at 0:01:00.) While Plaintiff is           pants, where Defendant has stated he believed Plaintiff might
doing that, Defendant and another officer enter the holding         be hiding contraband based on previous observations of his



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behavior at the traffic stop and during transportation to the      make any such movements. (Dkt. No. 73, Attach. 4, at 67-68.)
Justice Center. (Dkt. No. 73, Attach. 2, at 6; Dkt. No. 73,        Defendant stated that he was in the police vehicle running
Attach. 3, at 42; Dkt. No. 73, Attach. 14, at 5-6.)                Plaintiff's license when he observed Plaintiff “lift the right
                                                                   side of his body up off the seat causing his head to come
29                                                                 completely out the front driver's side window,” an action that
       Whether Plaintiff suffered the fracture during the
                                                                   Defendant interpreted as consistent with an attempt to conceal
       altercation or weeks before his arrest does not
                                                                   narcotics; Plaintiff did admit that his window was open at
       answer the question of whether the force used
                                                                   the time during the traffic stop consistent with Defendant's
       was excessive, because “[t]he fact of injury alone
                                                                   account. (Dkt. No. 73, Attach. 2, at 6; Dkt. No. 73, Attach. 4,
       does not render the [force] used by the officers
                                                                   at 67-68; Dkt. No. 73, Attach. 14, at 5.) Further, Plaintiff did
       excessive.” Bancroft v. City of Mount Vernon, 672
                                                                   not deny, and has not presented any evidence to contradict,
       F. Supp. 2d 391, 405 (S.D.N.Y. 2009) (finding that
                                                                   Defendant's assertion, that, when he was placed in the holding
       excessive force was not used where the plaintiff
                                                                   cell, he was “instructed to stand up keeping his hands out of
       was injured in a fall after officers pushed him,
                                                                   his pants.” (Dkt. No. 73, Attach. 2, at 6.)
       because the fall itself was caused not by the push,
       but the fact the plaintiff slipped on water on the
                                                                    *18 Therefore, even omitting from consideration disputed
       floor after being pushed). As will be discussed
                                                                   facts regarding whether Plaintiff attempted to reach his hands
       below, even if Plaintiff's wrist was fractured in
                                                                   into his pants during the ride in the transport van or whether he
       the course of the officers restraining him to the
                                                                   made a statement to the effect that “I got it in there” to officers
       ground in the holding cell, the force they used to
                                                                   while he was in the holding cell, there is sufficient undisputed
       do so was not excessive or unreasonable under the
                                                                   evidence to give rise to a reasonable belief that Plaintiff
       circumstances.
                                                                   might have been hiding contraband in his pants or buttocks,
Although Plaintiff offers his own testimony that he did not        and evidence to suggest Defendant and other officers present
have contraband in his pants and did not attempt to reach          believed Plaintiff was violating the order to keep his hands out
into his pants at that time (but was merely attempting to          of his pants. This knowledge gave rise to a reasonable need
pull his pants up because they were sagging), his account          to ensure that Plaintiff did not attempt to hide that contraband
does not suffice to create a genuine dispute of material fact      further, a task which ultimately required a use of force given
regarding whether the force used in response to his actions        that the undisputed video clearly shows that Plaintiff was
was excessive. As was already discussed, the standard for          resisting the officers’ attempts to control his arms. The force
assessing whether force is excessive is not necessarily what       applied by Defendant specifically, which, again, consisted
the truth, learned after the fact, might be; it is whether the     primarily of holding Plaintiff's abdomen and left arm to
use of force was objectively reasonable from the perspective       keep him in place and his hands away from his pants and
of a reasonable officer on the scene with the knowledge he         helping to bring him to the ground with the assistance of other
or she possessed at the time. Hulett, 253 F. Supp. 3d. at          officers when Plaintiff continued to resist, as substantiated
491; Tracy, 623 F.3d at 96; Graham, 490 U.S. at 396-97,            by the video evidence, was objectively reasonable under the
109 S.Ct. 1865. Defendant and the other officers had already       circumstances known to Defendant at the time the altercation
found marijuana in Plaintiff's waistband and a small piece of a    occurred. Because the undisputed facts are sufficient to show
substance that tested positive for cocaine where Plaintiff was     that the force used by Defendant was reasonable based
seated in the car; Plaintiff's testimony that he did not possess   upon his own observations and knowledge at the time,
cocaine in the car cannot contradict the clear evidence of the     no reasonable factfinder could conclude that he violated
NIK Cocaine Wipe, at least to the extent that the positive         Plaintiff's constitutional rights through his actions in the
test result provided officers with reason to believe Plaintiff     holding cell.
possessed cocaine at the time of his arrest. (Dkt. No. 73,
Attach. 25, at ¶¶ 13-18.) They also found plastic sandwich         Further, to the extent that Plaintiff offers testimony regarding
bags that, in Officer Abraham's experience, are known to be        an improper motive for the eventual search of his rectum
commonly used for packaging drugs for sale. (Dkt. No. 73,          (namely that Defendant and Officer Abraham wished to
Attach. 25, at ¶¶ 10-11.) Further, although Plaintiff does not     harass him), the assessment of excessive force must be
make any mention of shifting in his seat between the time          whether the force used was reasonable “ ‘without regard to
the traffic stop occurred and when he was ordered to get out       their underlying intent or motivation.’ ” Malarczyk, 2022
of the car, he also does not affirmatively state he did not


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WL 374271, at *9 (quoting Hulett, 253 F. Supp. 3d at 491).        to stand across from the door out of sight of the camera.
Because there is sufficient evidence from which Defendant         (Exh. V6, at 0:03:02-0:03:28.) After a few of the Sheriff's
and the other officers could have reasonably believed Plaintiff   officers have exited, someone in the hallway (it is not clear
might be hiding contraband in his pants or buttocks at the time   who at this point, because the camera has a view only of
he was in the holding cell, the force used by Defendant to        their legs) leans against the door to the strip search room to
subdue Plaintiff and prevent him from reaching into his pants     partially open it and look inside, stepping halfway in before
is objectively reasonable regardless of any potential improper    exiting again to the hallway. (Exh. V6, at 0:03:25-0:03:38.)
motive as asserted by Plaintiff, and no reasonable factfinder     When that individual walks closer to the camera, it is clear
could conclude otherwise based on the evidence presented.         he is not Defendant, who emerges into frame next to him
                                                                  as they walk away from the strip search room. (Exh. V6,
For all of the above reasons, although Defendant undisputedly     at 0:03:38-0:03:52.) When the door to the strip search room
used force against Plaintiff in the holding cell at the Justice   opens and Plaintiff is escorted out, Defendant is clearly seen
Center, no reasonable factfinder could conclude that such         further away from the door near the camera. (Exh. V6, at
force was excessive under the circumstances presented.            0:04:33.) This video evidence therefore shows unequivocally
                                                                  that Defendant never entered the strip search room at any time
                                                                  while Plaintiff was inside.

                   b. Strip Search Room
                                                                   *19 Despite this clear, undisputable evidence, Plaintiff
Plaintiff also alleges that Defendant is responsible for the      argues that the video is in fact not conclusive, citing
excessive force used on him while he was in the strip search      to unspecified “factual disputes unresolved by the video
room at the Justice Center, during which time he alleges he       evidence” and the point of law that a jury should be the one
was physically attacked and pepper sprayed. The incident          to resolve what the evidence means and which competing
report completed by Deputy Pufky indicates that he was in the     account to believe. (Dkt. No. 75, at 5.) However, the Supreme
strip search room with Plaintiff, along with Timothy Stanton      Court has recognized that “[w]hen opposing parties tell two
and Kevin Murphy. (Dkt. No. 73, Attach. 12, at 6-7.) Witness      different stories, one of which is blatantly contradicted by the
statements were also submitted regarding the events in the        record, so that no reasonable jury could believe it, a court
strip search room by Kevin Robbins, Joseph Lee, and Jon           should not adopt that version of the facts for purposes of
Allen. (Dkt. No. 73, Attach. 12, at 9-19.) None of these          ruling on a motion for summary judgment.” Scott v. Harris,
statements mentions any SPD officers (much less specifically      550 U.S. 372, 380, 127 S.Ct. 1769, 167 L.Ed.2d 686 (2007).
Defendant) being in the strip search room at the relevant time.   Indeed, in that case, the Supreme Court specifically found that
Further, Defendant testified that he was not present when         the Court of Appeals erred in adopting the plaintiff's account
Plaintiff was being pepper sprayed. (Dkt. No. 73, Attach. 3,      of the facts because “it [was] so utterly discredited by” the
at 37.)                                                           video evidence of his dangerous driving that “it should have
                                                                  viewed the facts in the light depicted by the videotape.” Scott,
The surveillance camera video from the hallway outside of         550 U.S. at 380-81, 127 S.Ct. 1769; see also Jeffreys v. City of
the strip search room shows eleven individuals escorting          New York, 426 F.3d 549, 554-55 (2d Cir. 2005) (noting that,
Plaintiff to that room, all but two of whom are wearing a         while it is generally not the duty of a district court to weigh
vest with “Sheriff” or “S.E.R.T.” on the back. (Exh. V6,          the credibility of the parties on a summary judgment motion,
at 0:00:33-0:00:40.) It is clear that none of the individuals     a court may disregard a version of events that is based solely
is Defendant. Approximately two minutes later, another            on the party's own contradictory or incomplete testimony so
individual can be seen rushing to the strip search room,          long as there is no other evidence in the record upon which a
wearing a “S.E.R.T.” vest. (Exh. V6, at 0:02:17.) Following       reasonable factfinder could find in the party's favor). Because
that individual, two persons in “Police” vests, one of whom is    Plaintiff's unsupported assertions that he saw Defendant in
Defendant, and another unmarked person walk in the hallway        the strip search room (in the context of also admitting that
towards the strip search room and stand outside the closed        he was “incoherent” throughout this encounter and that he
door in the hallway; none of them enters the room or opens        has difficulty remembering what happened because of the
the door. (Exh. V6, at 0:02:20-0:03:00.) Someone inside the       trauma) are blatantly contradicted by the video evidence, no
strip search room opens the door and the Sheriff's officers       reasonable factfinder could interpret the evidence in Plaintiff's
begin to exit while Defendant and the other two men continue      favor, and, as a result, he has presented no genuine dispute



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of material fact regarding whether Defendant was in the strip     whether he had been physically held down when sedated or
search room, let alone that Defendant participated in the         who restrained him. (Dkt. No. 73, Attach. 4, at 110.) He
alleged use of force in that room. (Dkt. No. 73, Attach. 4, at    further did not know if Defendant was in the group of officers
91-95.)                                                           that were in his room when he regained awareness after the
                                                                  sigmoidoscopy was performed. (Id. at 112-13.)
Because the video evidence clearly shows that Defendant
never entered the strip search room, Plaintiff's claim that       Regarding the alleged sedation and restraint, the undisputed
Defendant used any force against him during this incident,        evidence shows that sedative medications were administered
much less excessive force, is not supported.                      by Nurse Manansala at approximately 1:59 P.M. and 2:20
                                                                  P.M., which was before Defendant arrived at the hospital.
                                                                  (Dkt. No. 73, Attach. 11, at 25, 26-30; Dkt. No. 73, Attach. 16,
                                                                  at 28, 34-35.) The only documented instance of Plaintiff being
                  3. St. Joseph's Hospital
                                                                  physically restrained by persons after Defendant arrived at
Lastly, Plaintiff alleges that he was subjected to excessive      the hospital occurred at approximately 10:04 P.M. (Dkt. No.
force while he was at St. Joseph's Hospital through being         73, Attach. 11, at 23; Dkt. No. 73, Attach. 18, at 33-36.)
physically and medically restrained and through being forced      Progress notes from Plaintiff's hospital stay indicate that
to undergo a sigmoidoscopy against his will. However,             Dr. Heller was presented with the signed search warrant by
Plaintiff has not adduced admissible record evidence to raise a   “police” at approximately 7:25 P.M., after which she spoke
genuine dispute of material fact that Defendant was the person    with another doctor to consult with the hospital attorney; Dr.
who applied any such force against him.                           Heller reported that the attorney, Mr. Seifter, told her that
                                                                  Plaintiff did not have the right to refuse intervention within
In his Complaint, Plaintiff alleges both that Defendant went      the scope of the warrant. (Dkt. No. 73, Attach. 11, at 23.) Dr.
to the police station to draft a search warrant while Plaintiff   Heller attempted to have Plaintiff drink a cathartic, 30 which
was at the hospital, and that “Defendant Fiorini returned to      was refused, as well as to conduct a body cavity search and
the hospital with the warrant around 6:36 p.m.” (Dkt. No. 1,      perform a CT of Plaintiff's abdomen, but Plaintiff refused
at ¶¶ 22-23.) There is no evidence to suggest that Defendant      to cooperate with those procedures; she then consulted with
was at the hospital any time prior to when he arrived with        gastroenterology and anesthesiology and Plaintiff was sent
the warrant. Defendant has testified that he went from the        for a sigmoidoscopy, at which point he became “violent”
Justice Center to the station to write the warrant application    and “hospital police” had to be called. (Dkt. No. 73, Attach.
and then proceeded to the home of Judge Rory McMahan              11, at 23; Dkt. No. 73, Attach. 18, at 30-33.) “Violent adult
to have the warrant signed. (Dkt. No. 73, Attach. 2, at 7;        restraints” were ordered by Dr. Heller and placed by Nurse
Dkt. No. 73, Attach. 3, at 38-39.) Plaintiff testified that he    Phillips. (Id. at 33-34.) Because Plaintiff himself has no
saw “officers” in the room when they were sedating him            memory of whether Defendant specifically restrained him,
upon his arrival at the hospital, but acknowledged that he was    and there is no admissible record evidence from which it
having difficulty seeing due to the spit mask and the after-      can be inferred based on anything more than speculation
effects of being pepper sprayed, and that his memory of being     or chance that Defendant did so, Plaintiff has not raised a
in the hospital is fuzzy due to being sedated; he affirmed        genuine dispute of fact regarding whether Defendant used
that he did not specifically see Defendant, but only that he      force against him in this respect at the hospital, let alone
saw “about eight, nine officers.” (Dkt. No. 73, Attach. 4, at     whether any such force was excessive.
100-04.) Because there is no admissible record evidence from
which a reasonable factfinder could conclude Defendant was        30     As Dr. Heller explained, a cathartic is “a liquid that
at the hospital before approximately 6:30 P.M., Plaintiff has
                                                                         is given so you can have a bowel movement.” (Dkt.
provided no basis for liability against him as to any alleged
                                                                         No. 73, Attach. 18, at 26.)
use of force that occurred before that time, including the
application of physical or medical restraints.                     *20 Regarding the sigmoidoscopy procedure, Defendant
                                                                  testified at his deposition that he did not approach the
As to events occurring after Defendant arrived at the hospital    doctors at the hospital to ask them to proceed with the
with the search warrant, Plaintiff testified that he had no       sigmoidoscopy, and he did not know who did so; he also
idea who administered the sedative medications to him, or         stated that he “never asked for a [sigmoidoscopy] to be



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conducted on [Plaintiff].... I have never asked anyone to have     undermine the probable cause underlying the warrant, which
a [sigmoidoscopy] conducted on him.” (Dkt. No. 73, Attach.         was supported not only by Defendant's own statements, but
3, at 50-51.) Dr. Tin, the gastroenterologist who performed        also those of Deputy Pufky, and which permitted a search for
the procedure, stated in the medical records related to the        evidence of not only cocaine but also marijuana, a substance
consultation that “I spoke to Mr. Seiser [sic] (hospital lawyer)   Plaintiff had already been found to have possessed at the
who states it's a valid warrant and we are obligated to help       time of his arrest), Plaintiff's argument does not address the
the police under any means to retrieve the object.” (Dkt. No.      fact that there is no admissible record evidence to support a
73, Attach. 11, at 47.) Because there is no admissible record      rational finding that Defendant ever personally and directly
evidence to suggest that Defendant did anything more than          used force against Plaintiff. See Livingston v. Hoffnagle, 19-
obtain the search warrant (i.e., there is no evidence that he      CV-0353, 2021 WL 3888283, at *5 (N.D.N.Y. Aug. 3, 2021)
directed hospital personnel to perform a sigmoidoscopy or          (Hummel, M.J.), report-recommendation adopted by 2021
in any way directed the course of conduct taken by hospital        WL 3885247 (N.D.N.Y. Sharpe, J.) (noting that, to meet the
personnel), Plaintiff also has not raised a genuine dispute of     requirement of direct participation underlying an excessive
material fact regarding whether Defendant used force against       force claim, the use of force by the individual officer “is
him related to that procedure, much less that any such force       always an affirmative act and never passive indifference”).
was excessive. 31                                                  While the invalidity of the warrant might impact whether the
                                                                   force used by the hospital personnel or other persons present
31                                                                 was excessive, it does not impute such force to Defendant,
       This is particularly true given that the warrant itself
                                                                   particularly given that it is undisputed that (1) Defendant did
       does not direct or order the medical staff at St.
                                                                   not direct hospital personnel to perform any specific actions
       Joseph's to specifically perform a sigmoidoscopy
                                                                   regarding sedation or the sigmoidoscopy, (2) Defendant did
       or any similar procedure; rather it states that
                                                                   not personally perform any of the medical interventions, (3)
       they are “allowed” to use “any/all” medication
                                                                   the warrant itself did not require performance of any specific
       or medical or surgical procedures to assist in the
                                                                   measure related to the search, and (4) the choices regarding
       removal of any marijuana or cocaine, including but
                                                                   what actions were to be taken were made by hospital
       not limited to “anesthesia, IV, x-ray/sonogram and/
                                                                   personnel and the hospital lawyer in light of Plaintiff's
       or physical manipulation, and any and all other
                                                                   agitation and refusal to submit to other, less-intrusive methods
       medical procedures determined by said medical
                                                                   of search. Thus, although the search warrant allowed for
       staff to be necessary and prudent to assist in
                                                                   the hospital staff to take the actions they did, there is no
       the retrieval/removal” of those substances. (Dkt.
                                                                   admissible record evidence to suggest that Defendant asserted
       No. 73, Attach. 14, at 1.) As discussed above,
                                                                   any control over the actions they chose to take. As a result,
       the evidence shows that, although the relevant
                                                                   the fact that Defendant secured the search warrant does not
       physicians were instructed by hospital counsel
                                                                   constitute a use of force against Plaintiff, and he cannot be
       that they were required to comply with the
       warrant, it was those sources and not Defendant             held directly liable for the actions of others. 32
       who determined that a sigmoidoscopy was the
       best method of retrieval under the circumstances.           32      Further, as was already discussed, Plaintiff's claim
       (Dkt. No. 73, Attach. 18, at 27-33.) Plaintiff has                  against Defendant for failure to intervene at the
       not offered any admissible record evidence to                       hospital was dismissed with prejudice on a prior
       show that the decisions regarding which medical                     motion. (Dkt. No. 19, at 23.) He therefore cannot be
       procedures to perform or medications to administer                  held liable in this action for any asserted failure to
       were made by anyone other than the medical                          stop hospital personnel or others from using force
       sources at St. Joseph's Hospital.                                   against Plaintiff.
Plaintiff attempts to circumvent the lack of evidence by            *21 For all of the above reasons, the Court finds that Plaintiff
arguing that the force used, particularly at the hospital, was     has not raised a genuine dispute of material fact regarding any
excessive because the warrant was based on a false narrative       use of excessive force against him by Defendant, and grants
and false statements by Defendant. (Dkt. No. 75, at 4-5.)          Defendant's motion for summary judgment on this claim.
However, even if Plaintiff's argument were accepted (which
it is not, given that Plaintiff has not provided any evidence to



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                                                                    force was used does not mean that such force was excessive,
   B. Whether Defendant Is Entitled to Summary                      nor does it inherently mean that Defendant specifically had
   Judgment on Plaintiff's Second Claim                             any reasonable opportunity to intervene in it. Each of these
After careful consideration, the Court answers this question        events will be discussed in turn.
in the affirmative for the reasons stated in Defendant's
memoranda of law. See, supra Parts I.D.1 and 3. To those
reasons, the Court adds the following analysis.
                                                                                     a. Sally Port Holding Cell
Having found that the force used by Defendant was not
                                                                    For many of the reasons discussed above in Part III.A.2.a
excessive, or that he did not directly participate in the
                                                                    of this Decision and Order, the force used by the officers
actions Plaintiff alleges to be excessive force, the Court
                                                                    to subdue Plaintiff in the holding cell cannot reasonably be
turns to Plaintiff's alternative argument that Defendant is
                                                                    found to be excessive under the circumstances. There was
nonetheless liable for failing to intervene to prevent the use of
                                                                    suspicion that Plaintiff might be hiding contraband in his
unconstitutional excessive force by others. “A police officer
                                                                    pants, and he was given an order to not reach into his pants
is under a duty to intercede and prevent fellow officers from
                                                                    when he was put into the holding cell. Plaintiff admits he
subjecting a citizen to excessive force, and may be held liable
                                                                    reached for the back of his pants, and that such movement
for his failure to do so if he observes the use of force and
                                                                    triggered the officers to come into the holding cell, first
has sufficient time to act to prevent it.” Figueroa v. Mazza,
                                                                    only Defendant and one other officer, and then multiple
825 F.3d 89, 106 (2d Cir. 2016). “For [a plaintiff] to succeed
                                                                    other officers joined when Plaintiff continued to resist their
on their failure to intervene claim, there must ‘have been a
                                                                    efforts to get his hands away from his pants, all of which is
realistic opportunity to intervene to prevent the harm from
                                                                    documented in the video evidence. The video shows that none
occurring.’ ” Smith v. Sawyer, 435 F. Supp. 3d 417, 438
                                                                    of the involved officers punched or kicked Plaintiff at any
(N.D.N.Y. 2020) (Sannes, J.) (quoting Felix v. City of New
                                                                    time, other than a single instance of an officer hitting one of
York, 408 F. Supp. 3d 304, 312 [S.D.N.Y. 2019]).
                                                                    Plaintiff's limbs with his elbow. Because there was no obvious
                                                                    excessive force occurring, and because Defendant would not
                                                                    have been reasonably able to preemptively stop a single blow
                        1. Traffic Stop                             from an officer's elbow (an action which was not repeated), no
                                                                    reasonable factfinder could conclude that Defendant had any
Because, as discussed above in Part III.A.1. of this Decision       duty to intervene to stop the conduct of the other officers in
and Order, it is undisputed that there was no force used            the holding cell. See Durr v. Slater, 558 F. Supp. 3d 1, at 20-21
during the traffic stop portion of the interaction on October       (N.D.N.Y. 2021) (D'Agostino, J.) (finding a single kick did
16, 2017, there also can be no valid claim for a failure            not constitute a use of excessive force of significant duration
to intervene in the use of excessive force regarding those          to have allowed the defendant to intervene) (citing O'Neill v.
events. See Livingston, 2021 WL 3888283, at *6 (“It is              Krzeminski, 839 F.2d 9, 11 [2d Cir. 1988]).
well settled that an underlying constitutional violation is
a precondition of a failure-to-intervene claim, ... and thus
[w]here the record does not disclose an underlying excessive
force violation, ... summary judgment on a duty to intercede                            b. Strip Search Room
claim is appropriate.”) (internal quotation marks and citations
                                                                     *22 Similarly, for many of the reasons discussed above in
omitted); accord Harig v. City of Buffalo, 22-30-cv, 2023 WL
                                                                    Part III.A.2.b of this Decision and Order, putting aside (for
3579367, at *5 (2d Cir. 2023).
                                                                    the sake of brevity) any assessment of whether the force
                                                                    used by Deputy Pufky and the other Sheriff's officers in
                                                                    the strip search room was excessive, there is no admissible
                      2. Justice Center                             record evidence to reasonably suggest that Defendant had a
                                                                    reasonable opportunity to intervene in the use of that force.
As to Plaintiff's claim regarding a failure to intervene in the     The video evidence clearly shows that he did not enter the
events at the Justice Center, the Court acknowledges that           strip search room at any time while Plaintiff was inside.
some force was used in both the altercation in the sally port       Further, the video establishes that, although Defendant was
holding cell and the strip search room. However, the fact that      standing in the hallway directly opposite that door for a



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portion of the time Plaintiff was in that room, the door was        claims, Defendant possessed a reasonable belief regarding
closed at all times until some of the Sheriff's officers began to   the constitutionality of his actions at all stages of the alleged
exit the room, after Deputy Pufky had already discharged his        encounter: he had a reasonable belief that Plaintiff was hiding
pepper spray. (Exh. V1, at 0:03:00-0:03:20.) It does appear         drugs in his pants or buttocks and restrained Plaintiff in a
from the video that Defendant would have been able to hear          fairly conservative manner to prevent him from being able
Plaintiff yelling from inside the strip search room, because        to hide those further despite Plaintiff's continuing to struggle
Plaintiff's yelling is audible even on the video from the           against officers; he was not involved in any force used on
booking circle where Defendant and others were initially            Plaintiff inside the Justice Center strip search room, and
waiting after Plaintiff was escorted to the strip search room;      did not have the opportunity to see whether the force being
he admitted that he did indeed hear Plaintiff's yelling at that     used was excessive, because he was never in the room; and
time. (Exh. V5, at 0:02:15-0:02:45; Dkt. No. 73, Attach. 2, at      he prepared the search warrant based on evidence collected
7.) However, there is no evidence to indicate that Defendant        and both his own statements and the affidavit of Deputy
was able to see what was happening in the strip search room         Pufky, had it signed by a qualified judge, and presented it to
at the relevant time, or that he had any knowledge of what          the hospital without directing hospital staff regarding what
was occurring, much less any reasonable chance to intervene.        procedures to use to comply with the warrant.
See Rahman v. Acevedo, 08-CV-4368, 2011 WL 6028212,
at *9 (S.D.N.Y. Dec. 5, 2011) (granting summary judgment            Plaintiff argues Defendant is not entitled to qualified
to defendant on failure-to-intervene claim where defendant          immunity because the rights against unconstitutional searches
“heard a commotion” from the levels below the prison mess           and use of excessive force are clearly established, and because
hall but could not see what was happening or discern it             “[i]t should not be considered ‘objectively reasonable’ for
from the noise, noting that “there is no evidence that she          an officer to harass a citizen under the false pretext of a
would have been able to determine from what she could hear          traffic stop, or for an officer to present a false narrative to
that the officers were employing excessive force rather than        a magistrate in order to obtain a warrant to unnecessarily
appropriately restraining a disruptive inmate”). Under these        search the citizen's body cavities.” (Dkt. No. 75, at 6-7.)
circumstances, no reasonable factfinder could conclude that         However, Plaintiff's conception of the rights involved here
Defendant had any reasonable opportunity to know that what          are far too broad despite the well-established dictate that
was occurring in the strip search room was unconstitutional         the right under scrutiny when determining whether qualified
as opposed to a normal search against which Plaintiff was           immunity applies should not “be defined at a high level
resisting, much less to intervene to stop the conduct of the        of generality,” but should focus “on the ‘specific factual
Sheriff's officers in that room.                                    situation the officers confronted.’ ” Martin v. Town of Ulster,
                                                                    21-CV-0597, 2023 WL 6977389, at *3 (N.D.N.Y. Oct. 23,
For the above reasons, summary judgement is granted to              2023) (Sharpe, J.) (quoting McKinney v. City of Middletown,
Defendant on Plaintiff's remaining Second Claim.                    49 F.4th 730, 738 [2d Cir. 2022]). Plaintiff has not offered
                                                                    any argument as to whether there was a clearly established
                                                                    constitutional right to be free from the actions taken in the
   C. Whether Defendant Is Entitled to the Defense of               specific circumstances that occurred here. Nor does the Court
   Qualified Immunity                                               see any precedent which makes it “sufficiently clear that every
In the alternative, the Court finds that, based on the current      reasonable official would have understood that what he is
record, Defendant would be shielded from liability as a matter      doing violates that right” or which has “placed the statutory
of law by the doctrine of qualified immunity, because it            or constitutional question beyond debate.” Rivas-Villegas v.
was objectively reasonable for him to believe his conduct           Cortesluna, 595 U.S. 1, 5, 142 S.Ct. 4, 211 L.Ed.2d 164
at the various times did not violate any clearly established        (2021) (quoting Mullenix v. Luna, 577 U.S. 7, 11, 136 S.Ct.
constitutional right. As was discussed above, Defendant's           305, 193 L.Ed.2d 255 [2015]; White v. Pauly, 580 U.S. 73,
undisputed actions involve (1) restraining Plaintiff and            78, 137 S.Ct. 548, 196 L.Ed.2d 463 [2017]).
helping bring him to the ground in the holding cell at the
Justice Center, (2) waiting outside of the strip search room         *23 Further, Plaintiff's characterization of the nature of
while the Sheriff's Deputies attempted to search Plaintiff, and     Defendant's conduct is based purely on speculation because,
(3) preparing and obtaining a search warrant and bringing           even with the disputed issues of fact that remain, there is
it to the hospital. Based on the evidence and analysis              no evidence beyond Plaintiff's unsubstantiated claims that
already discussed above related to Plaintiff's substantive


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                                                                        assertions do not suffice to show that Defendant's conduct was
Defendant wanted to harass him or falsified the statements
                                                                        objectively unreasonable.
in the search warrant application to support a finding that
either the traffic stop or the search warrant were not valid.
                                                                        For the above reasons, the Court finds that, in the alternative
The evidence instead shows that Plaintiff was charged with
                                                                        to a substantive resolution of Plaintiff's claims on the merits,
the relevant traffic infraction for which Defendant states he
                                                                        Defendant is entitled to summary judgment based on the
was stopped, he was arrested for driving without a license
                                                                        affirmative defense of qualified immunity.
and possessing marijuana (both of which he has admitted to
doing), and the warrant was based not only on Defendant's
                                                                        ACCORDINGLY, it is
statements, but also in part on the statements of Deputy Pufky
that Plaintiff continued to engage in behaviors that raised
                                                                        ORDERED that Defendant's motion for summary judgment
suspicion he was hiding drugs in his rectum while deputies
                                                                        (Dkt. No. 73) is GRANTED; and it is further
attempted to search him at the Justice Center, as well as
the fact that officers had already found him in possession of
                                                                        ORDERED that Plaintiff's Complaint (Dkt. No. 1) is
marijuana and at least a small amount of cocaine during the
traffic stop. Thus, regardless of the issues of fact that remain,       DISMISSED.
there has been no admissible record evidence presented
to raise a genuine dispute regarding either the validity of             All Citations
Plaintiff's arrest or the search warrant. Plaintiff's speculative
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                                                                        of law.” Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett,
                                                                        477 U.S. 317, 322-23 (1986); Gallo v. Prudential Residential
      KeyCite Yellow Flag - Negative Treatment                          Servs., Ltd. P'ship, 22 F.3d 1219, 1223 (2d Cir. 1994). “[T]he
Distinguished by Frost v. New York City Police Department,   2nd Cir.
                                                                        trial court's task at the summary judgment motion stage of
(N.Y.), November 12, 2020
                                                                        the litigation is carefully limited to discerning whether there
                    2019 WL 4450810                                     are any genuine issues of material fact to be tried, not to
      Only the Westlaw citation is currently available.                 deciding them. Its duty, in short, is confined at this point to
       United States District Court, S.D. New York.                     issue-finding; it does not extend to issue-resolution.” Gallo,
                                                                        22 F.3d at 1224. The moving party bears the initial burden
                Simon BERMAN, Plaintiff,                                of “informing the district court of the basis for its motion”
                          v.                                            and identifying the matter that “it believes demonstrate[s] the
           Captain WILLIAMS, et al., Defendants.                        absence of a genuine issue of material fact.” Celotex, 477 U.S.
                                                                        at 323. The substantive law governing the case will identify
                         17cv2757 (JGK)                                 those facts that are material and “[o]nly disputes over facts
                                |                                       that might affect the outcome of the suit under the governing
                        Signed 09/17/2019                               law will properly preclude the entry of summary judgment.”
                                                                        Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
Attorneys and Law Firms
                                                                        In determining whether summary judgment is appropriate, a
Simon Berman, Elmira, NY, pro se.
                                                                        court must resolve all ambiguities and draw all reasonable
Kiran Hans Rosenkilde, New York City Law Department,                    inferences against the moving party. See Matsushita Elec.
New York, NY, for Defendants.                                           Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).
                                                                        Summary judgment is improper if there is any evidence
                                                                        in the record from any source from which a reasonable
                                                                        inference could be drawn in favor of the nonmoving party. See
       MEMORANDUM OPINION AND ORDER
                                                                        Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29, 37 (2d Cir.
John G. Koeltl, District Judge:                                         1994). If the moving party meets its burden, the nonmoving
                                                                        party must produce evidence in the record and “may not rely
 *1 The plaintiff, Simon Berman, brought this pro se action             simply on conclusory statements or on contentions that the
against Correction Captains Williams and Agard, and Officers            affidavits supporting the motion are not credible.” Ying Jing
Octavio Perez, Brian Weise, Christopher Wong, Bobbitt,                  Gan v. City of New York, 996 F.2d 522, 532 (2d Cir. 1993).
Wallace, Jones, and one John Doe defendant (collectively,
the “defendants”) asserting claims pursuant to 42 U.S.C. §              Where, as here, a pro se litigant is involved, although the
1983 for alleged violations of his federal civil rights. The            same standards for dismissal applies, a court should give the
plaintiff alleges claims for excessive force and denial of              pro se litigant special latitude in responding to a summary
medical care. In a prior opinion, this Court dismissed all of the       judgment motion. See McPherson v. Coombe, 174 F.3d 276,
plaintiff's claims against Captain Agard. See Berman v. Perez,          279 (2d Cir. 1999) (courts “read the pleadings of a pro se
No. 17cv2757, 2018 WL 565269 (S.D.N.Y. Jan. 24, 2018).                  plaintiff liberally and interpret them ‘to raise the strongest
The remaining defendants now move for summary judgment                  arguments that they suggest’ ” (quoting Burgos v. Hopkins, 14
pursuant to Federal Rule of Civil Procedure 56 dismissing the           F.3d 787, 790 (2d Cir. 1994))). In particular, the pro se party
plaintiff's claims. The defendants' motion is unopposed.                must be given express notice of the consequences of failing
                                                                        to respond appropriately to a motion for summary judgment.
                                                                        See McPherson, 174 F.3d at 281; Vital v. Interfaith Med. Ctr.,
                                I.                                      168 F.3d 615, 620-21 (2d Cir. 1999).

The standard for granting summary judgment is well                       *2 The defendants provided express notice of the
established. “The Court shall grant summary judgment if the             consequences of a failure to respond to the plaintiff at
movant shows that there is no genuine dispute as to any                 Elmira Correctional Center, where the plaintiff is currently
material fact and the movant is entitled to judgment as a matter        incarcerated. The Court has extended the plaintiff's deadline



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to respond to the defendants' motion several times and               to. solitary housing. Id. ¶¶ 25-26. Although he is unsure who
informed the plaintiff that a failure to respond could result in     started the altercation, the plaintiff claims that Officer Perez
the dismissal of his case. As of June 17, 2019, the most recent      and possibly another corrections officer punched the plaintiff
deadline to respond, the plaintiff has not filed any response,       all over his body, kicked him, choked him, and slammed his
and the defendants' motion for summary judgment is therefore         head against the wall and the floor. Id. ¶¶ 23, 31-35. The
unopposed.                                                           plaintiff claims he received serious injuries as a result of the
                                                                     alleged beating. Id. ¶ 38.
However, “[e]ven when a motion for summary judgment is
unopposed, the district court is not relieved of its duty to         In contrast, the DOC “24 Hour Report,” which documents
decide whether the movant is entitled to judgment as a matter        all significant incidents occurring at the MDC -- including
of law.” Vt. Teddy Bear Co., Inc. v. 1-800 Beargram Co., 373         uses of excessive force -- made no mention of any use of
F.3d 241, 242 (2d Cir. 2004). The district court may not grant       force involving either the plaintiff or Officer Perez between
an unopposed motion for summary judgment “without first              6:00 AM on April 16 and 6:00 AM on April 17, 2014. Id.
examining the moving party's submission to determine if it           ¶¶ 22-24. However, Captain Garel, who is not named as a
has met its burden of demonstrating that no material issue of        defendant, documented a concern for the plaintiff's mental
fact remains for trial.” Amaker v. Foley, 274 F.3d 677, 681          state on the day in question. Id. ¶¶ 40-41. Captain Garel wrote
(2d Cir. 2001). “[I]n determining whether the moving party           a referral form, which stated that the plaintiff had failed to
has met this burden of showing the absence of a genuine issue        take his psychiatric medication and expressed a loss of. the
for trial, the district court may not rely solely on the statement   will to live. Id. Captain Garel and another non-defendant
of undisputed facts contained in the moving party's Rule 56.1        officer escorted the plaintiff to see Cynthia Hill, a mental
statement. It must be satisfied that the citation to evidence in     health professional. Id. ¶¶ 45-47. Ms. Hill's report from the
the record supports the assertion.” Vt. Teddy Bear, 373 F.3d         session indicates that the plaintiff used the time to “vent his
at 244; see also McClenton v. Menifee, No. 05cv2844, 2009            concerns” about being harassed by a housing area officer. Id.
WL 195764, at *2 (S.D.N.Y. Jan. 12, 2009).                           ¶ 48. During the session, the plaintiff neither mentioned nor
                                                                     showed signs of any physical injuries from the alleged use of
                                                                     force, even though the plaintiff admits the session occurred
                                                                     after the alleged use of force. See id. ¶¶ 38, 49, 51, 57.
                               II.

The following facts are undisputed unless otherwise
indicated.                                                                                         B.


                                                                                                    1.
                               A.
                                                                      *3 The plaintiff claims that a second series of incidents
On February 17, 2013, the plaintiff was admitted to the              occurred the following day, on April 17, 2014. The plaintiff
custody of the Department of Correction (“DOC”) on bond of           was escorted to the “Intake Search Area” of the MDC to be
$1,500,000 or bail of $750,000. Defs.' 56.1 Stmt. ¶¶ 12-14. On       strip searched on the way to solitary housing. Id. ¶¶ 59-60,
March 5, 2015, the plaintiff pleaded guilty to several crimes,       63. This is where the first alleged April 17 incident - the
“including attempting to bribe a public servant with more            “Intake Search Area incident” - took place. Officers Wong,
than $10,000, and undertaking a variety of acts to further           Weise, Jones, Bobbitt, Wallace, and Captain Williams were
a narcotics distribution conspiracy.” Id. ¶ 15. The plaintiff        present at the Intake Search Area. Id. ¶ 68. The plaintiff
alleges that the defendants used excessive force on him on           refused to comply with orders that he remove his clothes
three separate dates in 2014.                                        and protested, “I'm not a stripper.” Id. ¶¶ 72-75. After the
                                                                     plaintiff continued to refuse to remove his clothes, Captain
The plaintiff claims he was first subjected to excessive force       Williams ordered that the plaintiff be handcuffed. Id. ¶ 78.
on April 16, 2014 but admits he “can't really remember” the          When the plaintiff continued to resist, the defendant officers
events of the day in question. Id. ¶¶ 21, 25-28. The plaintiff       applied “upper body control holds” and fell to the floor trying
believes the incident occurred while he was incarcerated in the      to restrain the plaintiff. Id. ¶¶ 80-81. The plaintiff continued
Manhattan Detention Center (“MDC”) and being transferred             to resist even after his final article of clothing was removed


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and searched. Id. ¶ 83. Captain Williams warned the plaintiff        Immediately following the incident, the plaintiff ran to the
that continued resistance would result in the use of mace, but       front of the Intake area, which is called the “Intake Non-
the plaintiff continued to resist, and Captain Williams briefly      search Area.” Id. ¶ 110. This is where the second alleged use
sprayed the plaintiff's eyes. Id. ¶¶ 84-85. The plaintiff then       of force on April 17, 2014 took place.
struck Officer Wong in the face, causing Officer Wong's head
to slam against a wall. Id. ¶¶ 86-87. Officer Jones and Captain      The plaintiff threatened to spit on a non-defendant captain.
Williams both came to Officer Wong's aid by striking the             Id. ¶ 111. In response to this threat, several non-defendant
plaintiff in the upper torso. Id. ¶¶ 88-89. Finally, Officer Weise   officers, none of whom were involved in the previous uses of
was able to secure the plaintiff in handcuffs. Id. ¶ 90.             force, pushed the plaintiff up against the wall. Id. ¶¶ 112-15,
                                                                     117. These new officers immediately escorted the plaintiff to
The Intake Search Area incident was partially documented             the clinic to receive medical treatment for his injuries. Id. ¶¶
by video security cameras. Id. ¶¶ 91-98. At first, the plaintiff     118-19. The plaintiff alleges that, on the way to the clinic, the
complied with the officers' directions to remove his clothes         non-defendant officers threw him to the floor, stepped on his
and began removing his clothes for about forty seconds.              foot, and held him in a painful position with his face pressed
Rosenkilde Decl. Ex. P, Video from Camera 191.32-MDC-                against the floor. Id.
INTK-SEARCH3, at 00:30-01:10. Then, the footage shows
the six officers converging on the plaintiff, out of frame,          At the clinic, Dr. Landis L. Barnes diagnosed the plaintiff with
seemingly because the plaintiff stopped complying with the           “avulsions and abrasions, a cervical sprain/strain, thoracic
officers' direction. Id. at 01:15. In the following minutes,         sprain/strain and lumbar sprain.” Id. ¶ 125. The plaintiff's
the six officers appear to be struggling with the plaintiff out      x-rays showed no sign of fractures. Id. ¶ 127. Photographs
of frame. Id. at 01:15-10:30. During that time, the plaintiff        were also taken on April 17, 2014 of the plaintiff's injuries.
remains out of frame, and during that time the six officers          Rosenkilde Decl. Ex. O.
intermittently move in and out of frame, appearing to struggle
with the plaintiff throughout. Id. The footage ultimately
shows the plaintiff emerging back in to frame in handcuffs
                                                                                                    3.
wearing only his boxers. Id. at 10:35. The footage then shows
the plaintiff sitting in a chair just outside the intake search       *4 The plaintiff alleges yet another use of force by the probe
area for about one minute before leaping up, while still             team officers while he was at the clinic. The plaintiff alleges
handcuffed, and running away. Id. at 11:45. Several officers         that during this third April 17, 2014 use of force, either Officer
and medical officials then tend to Officer Wong out of frame         Perez or “Francois,” who is not a named defendant, attempted
before eventually removing him about thirty minutes later            to sodomize him; but the plaintiff was unable to describe
on a gurney while Officer Wong has on a neck brace and               the probe team officer who allegedly attempted to sodomized
sling. Id. at 36:30. Officer Wong's medical records show             him. Id. ¶¶ 130, 132. According to a report generated by a
that on April 17, 2014, he was brought to Bellevue Hospital          subsequent investigation, none of the named defendants were
Center, bounded and collared, and with perceived loss of             present at the clinic when the alleged use of force took place.
consciousness, head trauma, right wrist pain, and left back          Id. ¶¶ 129, 133.
pain. Defs.' 56.1 Stmt. ¶ 138.
                                                                     As a result of his conduct, the plaintiff was indicted for, and
The plaintiff denies having attacked any of the officers,            later pleaded guilty to, assaulting defendant Officers Jones,
including Officer Wong, who the plaintiff claims was faking          Wong, Wallace, and Weise. Id. ¶¶ 137, 139-40. In doing so,
his injuries. Id. ¶¶ 103-07. The plaintiff also alleges that         the plaintiff admitted to physically injuring the defendants,
he was punched over twenty times after the search was                including Officer Wong, who lost consciousness and was
completed and that he received injuries to his entire body from      transported to a hospital. Id. ¶¶ 139, 141. An investigation
the Intake Search Area incident. Id. ¶¶ 101-02, 108.                 of the April 17, 2014 incidents conducted by the DOC
                                                                     Intelligence Division exonerated the prison staff, including
                                                                     the defendant officers, from any wrongdoing. Id. ¶¶ 142-44.
                               2.                                    The investigation included a review of video surveillance,
                                                                     plaintiff's medical records, and staff reports. Id. ¶ 143.




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                                                                     plaintiff must plead that each Government-official defendant,
                                                                     through the official's own individual actions, has violated the
                               C.
                                                                     Constitution.” Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009);
The final instance of alleged excessive force occurred on            see also Floyd v. Bailey, No. 10cv7794, 2013 WL 929376, at
June 9, 2014. While incarcerated at Rikers' Island, the              *7 (S.D.N.Y. Mar. 12, 2013). “There is no respondeat superior
plaintiff alleges that he was subjected to excessive force           liability in § 1983 cases.” Green v. Bauvi, 46 F.3d 189, 194
by terminated defendant Captain Agard and one or two                 (2d Cir. 1995) (citing Monell v. Dep't of Soc. Servs., 436 U.S.
unknown officers. Id. ¶¶ 147-49; Rosenkilde Decl. Ex. H              658, 691 (1978)).
at 153. Neither of these two unknown officers were named
                                                                      *5 In this case, the plaintiff does not allege that any of the
as defendants in this case. 1 An “Injury to Inmate Report”
                                                                     named defendants participated in his alleged beating on June
generated after the incident indicated that the plaintiff was in a
                                                                     9, 2014. The plaintiff explicitly denied that Captain Williams
“stable condition,” “ha[d] no complaint,” and had “no visible
                                                                     and Officers Weise, Wong, Bobbitt, Wallace, and Jones were
injuries.” Defs.' 56.1 Stmt. ¶ 156 (quotation marks omitted).
                                                                     involved. Rosenkilde Decl. Ex. H at 164. Moreover, the
                                                                     plaintiff does not allege in his complaint that Officer Perez
1       The plaintiff described the unknown officers in              was involved. The only named party whom the plaintiff
        such a way that rules out either of the unknown              alleges was involved in the June 9, 2014 incident is Captain
        officers being Officer Perez. The plaintiff described        Agard. But this Court has already dismissed the plaintiff's
        Officer Perez as Spanish, weighing over 200                  claims against Captain Agard. See Berman, 2018 WL 565269
        pounds, “chubby,” and having “almost like a bald             at *4.
        head” and sporting facial hear consisting of a “little
        scruff or maybe like a low.” Defs.' 56.1 Stmt. ¶             Similarly, the plaintiff does not allege that any of the named
        152. In contrast, he described the unknown officers          defendants committed any of the alleged acts of excessive
        as both weighing around 180 pounds, each with                force that occurred on April 17, 2014 after the Intake
        a medium build. Id. ¶¶ 150-51. Moreover, the
                                                                     Search Area incident. 2 Therefore, the defendants' motion for
        plaintiff does not allege in his amended complaint
                                                                     summary judgment is granted with respect to the plaintiff's
        that Officer Perez was involved in the June 9, 2014
                                                                     excessive force claims regarding the June 9, 2014 incident and
        incident. Other than Officer Perez, the plaintiff
                                                                     the two April 17, 2014 incidents other than the Intake Search
        acknowledges that none of the other remaining
                                                                     Area incident.
        defendants were involved in the June 9, 2014
        incident. Id. ¶ 154.
                                                                     2      The plaintiff speculates that Officer Perez might
                                                                            have been one of the officers who allegedly
                               III.                                         attempted to sodomize him in the clinic. However,
                                                                            the officers were all wearing helmets, and thus the
The remaining defendants move for summary judgment on                       plaintiff was unable to describe any of the officers
the claims of excessive force and denial of medical care. The               at his deposition. See Defs.' 56.1 Stmt. ¶ 130.
plaintiff has failed to respond to the defendants' motion. For              The plaintiff's speculation about Officer Perez is
the reasons stated below, the defendants' motion is granted.                insufficient to create a dispute of material fact when
                                                                            countered by the reported list of officers who were
                                                                            involved in the alleged incident, none of whom are
                               A.                                           defendants. See Ying Jing Gan, 996 F.2d at 532.

The defendants argue that the plaintiff's excessive force
claims relating to the June 9, 2014 incident and the two April                                     B.
17, 2014 incidents other than the Intake Search Area incident
                                                                     The defendants move for summary judgment with respect
should be dismissed for lack of personal involvement.
                                                                     to the plaintiff's excessive force claim from April 16, 2014.
                                                                     The plaintiff claims that Officer Perez and other unnamed
To state a claim for a violation of § 1983, a plaintiff must
                                                                     officers beat him before he was taken to a psychiatrist.
plead the personal involvement of each defendant. That is, “a


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However, on April 16, Captain Garel referred the plaintiff          under the Due Process Clause of the Fourteenth Amendment.
to the psychiatrist for mental health concerns, and there was       Darnell v. Pineiro, 849 F.3d 17, 21 n.3 (2d Cir. 2017).
no referral for any sort of physical injuries. Moreover, the        To be liable for a deprivation of the plaintiff's Fourteenth
psychiatrist's report does not mention any physical injuries,       Amendment due process rights, the defendants must have
which the plaintiff claims were substantial and widespread.         acted purposefully or knowingly, “or possibly” recklessly.
Instead, despite being given the opportunity to “vent his           Kingsley v. Hendrickson, 135 S. Ct. 2466, 2472 (2015).
concerns,” Defs.' 56.1 Stmt. ¶ 48, the plaintiff complained         However, “negligently inflicted harm is categorically beneath
only about depression and a lack of will to live. The plaintiff's   the threshold of constitutional due process.” Id. (quotation
“inconsistent and self-serving testimony” should not be             marks and emphasis omitted).
credited at summary judgment when “directly contradicted
by the medical evidence.” Allah v. Wilson, No. 13cv4269,            In determining whether the force used was “excessive,” courts
2017 WL 4350611, at *3 (S.D.N.Y. July 31, 2017), appeal             apply a standard of objective reasonableness. Id. at 2472-73.
dismissed, No. 17-2727, 2018 WL 4489086 (2d Cir. Jan. 2,            An action is objectively reasonable when it is “rationally
2018), cert. denied, 139 S. Ct. 569 (2018).                         related to a legitimate governmental objective.” Edrei v.
                                                                    Macguire, 892 F.3d 525, 536 (2d Cir. 2018) (citing Kingsley,
Moreover, no other evidence in the record supports the              135 S. Ct. at 2473). An action is objectively unreasonable
plaintiff's version of events on April 16, 2014. The DOC            when it “can properly be characterized as arbitrary, or
24 Hour Report from that day, which catalogues all uses of          conscience shocking, in a constitutional sense.” Id. (quoting
force by officers and inmates, does not mention the plaintiff       City of Sacramento v. Lewis, 523 U.S. 833, 847 (1998)).
or Officer Perez. Nor did the plaintiff report the alleged          “[P]urposeful, knowing or (perhaps) reckless action that uses
excessive use of force to anyone. Given the strength of             an objectively unreasonable degree of force is conscience
the record, the plaintiff's mere conclusory allegations are         shocking.” Id. (emphasis removed); see also Vargas v. N.Y.C.
insufficient to create a dispute of material fact, especially       Dep't of Corrs., No. 17cv2544, 2018 WL 3392873, at *2
given that he admits that he cannot remember exactly what           (S.D.N.Y. July 12, 2018).
happened that day. See Jeffreys v. City of New York, 426
F.3d 549, 555 (2d Cir. 2005); Williams v. Shaaban, No.              The defendants' use of force during the Intake Search
16cv8439, 2019 WL 1438048, at *2 (S.D.N.Y. Mar. 29, 2019)           Area incident was objectively reasonable because it was
(“[A] pro se party's bald assertion, completely unsupported         proportionate to the plaintiff's resistance. The plaintiff refused
by evidence is not sufficient to overcome a motion for              to comply with orders to remove his clothing in the Intake
summary judgment.” (quotation marks omitted)). Therefore,           Search Area, 3 which was a legitimate command. See Israel v.
the defendants' motion for summary judgment dismissing the          City of New York, No. 11cv7726, 2012 WL 4762082, at *3-4
plaintiff's excessive force claim relating to the April 16, 2014    (S.D.N.Y. Oct. 5, 2012) (discussing the constitutional latitude
incident is granted.                                                the DOC receives in strip searching inmates).

                                                                    3       See Carmona v. City of New York, No. 13cv3273,
                               C.                                           2016 WL 4401179, at *3 (S.D.N.Y. Mar. 1, 2016)
                                                                            (noting that “[o]bvious security concerns arise”
 *6 The defendants move for summary judgment dismissing
                                                                            when an unsecured inmate refuses to obey orders);
the plaintiff's excessive force claims relating to the April 17,
                                                                            see Ramos v. Hicks, No. 87cv2272, 1988 WL
2014 Intake Search Area incident. They argue that any use of
                                                                            80176, at *2 (S.D.N.Y. July 25, 1988) (Sand, J.)
force was objectively reasonable in response to the threats the
                                                                            (finding a justified use of force when plaintiff
plaintiff posed and thus there was no constitutional violation,
                                                                            became upset and refused to comply with a
and that in any event they are entitled to qualified immunity.
                                                                            defendant officer's direct orders).
                                                                    The plaintiff presented an additional security risk when he
                                                                    physically resisted the officers. In such situations, officers
                               1.                                   have a legitimate governmental objective to quell security
                                                                    risks. See Kingsley, 135 S. Ct. at 2473 (stating that courts
Because the plaintiff was a state pretrial detainee at the time
                                                                    must “account for the legitimate interests that stem from
of his incident, his claims of excessive force are analyzed



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[the government's] need to manage the facility in which the         Because the defendant officers' use of force does not “shock[ ]
individual is detained, appropriately deferring to policies and     the conscious” and was objectively reasonable, the plaintiff
practices that in th[e] judgment of jail officials are needed       did not suffer a constitutional violation. See Edrei, 892 F.3d
to preserve internal order and discipline and to maintain           at 536.
institutional security” (quotation marks omitted, alterations
in original)). In this case, the force the defendant officers
employed upon the plaintiff -- punching and using one burst
                                                                                                   2.
of mace -- was reasonable given the security concerns that the
plaintiff's conduct raised. See Jones v. Diaz, No. 09cv2625,        In any event, the defendant officers are entitled to qualified
2011 WL 1202024, at *4 (S.D.N.Y. Mar. 23, 2011) (single             immunity. Qualified immunity protects government officials
spray of a chemical agent was not unreasonable force);              performing discretionary functions, such as arrests, “from
DeArmas v. Jaycox, No. 92cv6139, 1993 WL 37501, at *4               liability for civil damages insofar as their conduct does not
(S.D.N.Y. Feb. 8, 1993) (punching an inmate in the arm and          violate clearly established statutory or constitutional rights
kicking the inmate in the leg was not unreasonable force),          of which a reasonable person would have known.” Harlow
aff'd, 14 F.3d 591 (2d Cir. 1993). Indeed, following the Intake     v. Fitzgerald, 457 U.S. 800, 818 (1982); see also Plumhoff
Search Area incident, the plaintiff pleaded guilty to assaulting    v. Rickard, 572 U.S. 765, 778-79 (2014); Iqbal, 556 U.S.
several of the defendant officers, substantiating the threat he     at 672; Malley v. Briggs, 475 U.S. 335, 341 (1986) (“As
posed to the officers.                                              the qualified immunity defense has evolved, it provides
                                                                    ample protection to all but the plainly incompetent or those
 *7 The security video further undermines the plaintiff's           who knowingly violate the law.”). “Requiring the alleged
claim that the defendants used excessive force. “When the           violation of law to be clearly established balances the need
parties disagree as to the existence of a genuine dispute           to hold public officials accountable when they exercise
of a material fact, the Court may consult incontrovertible          power irresponsibly and the need to shield officials from
video evidence to determine whether summary judgment is             harassment, distraction, and liability when they perform their
nevertheless appropriate.” Wiles v. City of Mew York, No.           duties reasonably.” Wood v. Moss, 572 U.S. 744, 758 (2014)
13cv2898, 2016 WL 6238609, at *3 (S.D.N.Y. Oct. 25, 2016),          (citation and quotation marks omitted). As the Supreme
aff'd, 724 F. App'x 52 (2d Cir. 2018); see also Scott v. Harris,    Court has explained, “[t]he relevant, dispositive inquiry in
550 U.S. 372, 378-81 (2007). Although parts of the incident         determining whether a right is clearly established is whether
are obscured from view, the video footage shows the plaintiff       it would be clear to a reasonable officer that his conduct was
continually resisting the officers. It also illustrates that as a   unlawful in the situation he confronted.” Saucier v. Katz, 533
result of the struggle to subdue the plaintiff, Officer Wong        U.S. 194, 202 (2001) (citation omitted), overruled on other
suffered substantial injuries to his arm and his neck and head      grounds by Pearson v. Callahan, 555 U.S. 223 (2009); see
area to the point that he was immobile, and eventually had to       also McKay v. City of New York, 32 F. Supp. 3d 499, 506
be taken away on a gurney with his neck in a brace and his          (S.D.N.Y. 2014).
arm in a sling.
                                                                    As explained above, the defendant officers' use of force was
Finally, subsequent documentation of the plaintiff's injuries       objectively reasonable in light of clearly established law.
suggests that the defendants' use of force in the Intake            Therefore, they are entitled to qualified immunity from the
Search Area was objectively reasonable. Medical records             plaintiff's claims. See Munafo v. Metro. Transp. Auth., 285
- including x-rays - and photographs of the plaintiff from          F.3d 201, 210 (2d Cir. 2002).
the same day as the Intake Search Area incident show that
the plaintiff received relatively minor injuries, which were        The defendants' motion for summary judgment dismissing the
limited to sprains or strains, avulsions, and abrasions. Defs.'     plaintiff's excessive force claim relating to the April 17, 2014
56.1 ¶¶ 124-27; Rosenkilde Decl. Ex. O; see Rodriguez v.            Intake Search Area incident is granted.
City of New York, 802 F. Supp. 2d 477, 481 (S.D.N.Y. 2011)
(finding that the plaintiff's excessive force claim was belied
by photographs and an undisputed medical record).
                                                                                                  D.




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                                                                       safety.” (alterations in Andrew, quoting Farmer v. Brennan,
Finally, the plaintiff claims that the defendants denied him
                                                                       511 U.S. 825, 837 (1994))).
medical care following the alleged uses of force on all
three relevant days. However, reports show that medical
                                                                       These medical reports counter the plaintiff's conclusory
professionals treated the plaintiff on both April 16 and 17,
                                                                       allegations that the defendants failed to provide him with
2014, and that he was evaluated on June 9, 2014 but had no
                                                                       medical care such that no reasonable jury could find
injuries.
                                                                       in the plaintiff's favor. Therefore, the defendants' motion
                                                                       for summary judgment dismissing the plaintiff's failure to
 *8 On April 16, 2014, Captain Garel documented the
                                                                       provide medical care claims is granted.
plaintiff's psychological problems and escorted him to the
psychiatrist for treatment. There is no mention of injuries
in the psychiatrist's report despite plaintiff's allegation that
he had severe injuries, and despite the plaintiff's opportunity                               CONCLUSION
to relay any concerns to the psychiatrist. Moreover, the
plaintiff concedes that he was immediately taken to the clinic         The Court has considered all the arguments of the parties. To
on April 17, 2014, after the Intake Search Area incident,              the extent not specifically addressed above, the arguments are
where Dr. Barnes diagnosed and treated him and ordered x-              either moot or without merit. For the foregoing reasons, the
rays. See Estevez v. City of New York, No. 16cv073, 2017               defendants' motion for summary judgment is granted.
WL 1167379, at *5 (S.D.N.Y. Mar. 28, 2017) (holding that
a plaintiff's claims of inadequate medical care should be              The Clerk is directed to enter judgment dismissing the case.
dismissed after finding that doctors “promptly treated” the            The Clerk is also directed to close all pending motions and to
plaintiff by ordering x-rays and by prescribing medication).           close this case.
Finally, on June 9, 2014, the Injury to Inmate Report
stated that the plaintiff did not complain of any injuries
                                                                       SO ORDERED.
and none were visible. See Andrew v. Bellevue Hosp., No.
13cv8531, 2016 WL 7009018, at *3 (S.D.N.Y. Nov. 30,                    All Citations
2016) (noting that, to succeed on a failure to provide medical
care claim, the plaintiff must show that an official “kn[ew]           Not Reported in Fed. Supp., 2019 WL 4450810
of and disregard[ed] an excessive risk to inmate health or

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                                                                  the ground that they are time barred. (Id. at 8–11). Defendants
                   2017 WL 11476416                               further move to dismiss Plaintiff's claims against them in their
      Only the Westlaw citation is currently available.           official capacities as barred by the Eleventh Amendment,
       United States District Court, N.D. New York.               and Plaintiff's Fourth Amendment claims for excessive force,
                                                                  malicious prosecution, conspiracy, and racial discrimination
                Ramel M. TOWNS, Plaintiff,                        for failure to state a claim under Fed. R. Civ. P. 12(b)(6). (Dkt.
                               v.                                 No. 8-1, at 11–22). Additionally, Defendants move to dismiss
     New York State Trooper Theresa STANNARD, in                  Plaintiff's excessive force, malicious prosecution, conspiracy,
                                                                  and racial discrimination claims on the basis that Defendants
     her individual capacity, Investigator William Shea,
                                                                  are entitled to qualified immunity. (Id. at 22–24).
   in his individual capacity, Senior Investigator Karl
  Meybaum, in his individual capacity, Trooper Matthew
                                                                  Plaintiff states that his claims against Defendants in their
  Carniglia, in his individual capacity, Trooper Timothy          official capacities were brought “as an editing error” and
   Mallory, in his individual capacity, And Investigator          clarifies that his complaint is against Defendants in “their
   Warren Law, in his individual capacity, Defendants.
                                                                  individual capacities only.” 1 (Dkt. No. 13, at 2). Plaintiff
                  1:16-CV-01545 (BKS/DJS)                         does not dispute that his state-law claims are time barred (id.
                             |                                    at 3) and also withdraws his claim for malicious prosecution
                  Signed December 20, 2017                        because “by the time the criminal complaint was filed,”
                                                                  Defendants “did have probable cause to commence a criminal
Attorneys and Law Firms                                           prosecution against plaintiff,” (id. at 4). Accordingly, with
                                                                  regard to Plaintiff's official capacity claims, state-law claims,
Lewis B. Oliver, Jr., Oliver Law Office, 156 Madison Avenue,      and malicious prosecution claim, Defendants’ motion to
Albany, NY 12202, For Plaintiff.                                  dismiss is granted. Plaintiff's remaining claims for excessive
                                                                  force, conspiracy, and racial discrimination are considered in
Eric T. Schneiderman, Attorney General of the State of New
York, Helena O. Pederson, Assistant Attorney General, The         turn below. 2
Capitol, Albany, NY 12224, For Defendants.
                                                                  1       Accordingly, the Court has amended the caption to
                                                                          reflect dismissal of all claims against Defendants in
      MEMORANDUM-DECISION AND ORDER                                       their official capacities.
                                                                  2
Hon. Brenda K. Sannes, United States District Court Judge:                Defendants did not move to dismiss Plaintiff's
                                                                          illegal detention (Claim 1) or unlawful search and
I. INTRODUCTION                                                           seizure claims (Claim 5).
 *1 Plaintiff Ramel M. Towns (“Plaintiff”) brought this
action under 42 U.S.C. § 1983 alleging that Defendant
                                                                  II. BACKGROUND 3
New York State Troopers and Investigators violated his
                                                                  3
constitutionally protected rights when they stopped, searched,          The facts are taken from the Complaint and
and arrested him on September 8, 2014 in Warren County,                   assumed to be true for the purposes of this decision.
New York. (Dkt. No. 1, at 5–16). Specifically, Plaintiff                  Faber v. Metro. Life Ins. Co., 648 F.3d 98, 104 (2d
claims that Defendants’ conduct constituted: (1) illegal                  Cir. 2011).
detention, excessive use of force, unlawful search and seizure,   On September 8, 2014, Plaintiff was traveling northbound on
malicious prosecution, and conspiracy in violation of the         interstate I-87 as a passenger in a 2001 Pontiac Grand Am
Fourth Amendment; (2) racial discrimination in violation of       driven by James Hairston. (Dkt. No. 1, at 5). Plaintiff and
the Fourteenth Amendment and 42 U.S.C. § 1981; and (3)            Mr. Hairston, both African-American males, were traveling
false arrest, assault and battery, and malicious prosecution in   from Bronx, New York, to Burlington, Vermont, to visit one
violation of New York State common law. (Id. at 16–41).           of Plaintiff's family members. (Id. at 5, 7). At approximately
                                                                  mile marker 62, Defendant New York State Trooper Theresa
Defendants move to dismiss Plaintiff's state-law claims for       Stannard initiated a traffic stop on the vehicle “for allegedly
false arrest, assault and battery, and malicious prosecution on   speeding.” (Id. at 5). Trooper Stannard performed a “DMV


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check” of the driver, Mr. Hairston, and his vehicle, which         drug-sniffing canine. (Id. at 10). When the canine allegedly
indicated that his license had been suspended, that he had         positively alerted to the presence of drugs on the front
no insurance on file, and that the vehicle's registration had      passenger seat of the vehicle, the Troopers informed Plaintiff
been suspended for multiple unpaid parking violations. (Id.).      that he was under suspicion for the possession of drugs.
Trooper Stannard requested backup, and Senior Investigator         (Id. at 12). Trooper Carniglia performed a cavity search
Meybaum, Investigator Shea, and Investigator Law arrived           on Plaintiff that lasted approximately five minutes on the
shortly thereafter in response. (Id. at 5–6). Mr. Hairston         side of interstate I-87 in view of passing traffic. (Id. at 12).
was then placed under arrest for operating a vehicle with a        The search uncovered a “package” of a substance that a
suspended license and suspended registration. (Id. at 6). Mr.      field drug identification test indicated was crack cocaine.
Hairston was not cited for speeding. (Id.).                        (Id. at 13). An Investigator then read Plaintiff his Miranda
                                                                   rights and Plaintiff was transported to Lake George Town
 *2 The responding Troopers and Investigators ordered              Court for arraignment. (Id. at 14). Plaintiff was charged with
Plaintiff to exit out of the passenger-side door to be searched    possession of a controlled substance in the seventh degree, a
and questioned, having allegedly noticed “a small amount           misdemeanor, and released ninety-two days later on January
of marijuana particles” in the cup holder of the vehicle.          7, 2015. (Id.).
(Id.). In fact, “[t]here were no marijuana particles in the
cup holder.” (Id.). The Troopers questioned Plaintiff about        On October 22, 2015, a suppression hearing was held before
the reason for traveling to Vermont and asked whom he              the Town Justice of the Lake George Town Court. (Id. at 15).
intended to visit there. (Id. at 7). Plaintiff provided the        Following the hearing, Plaintiff's attorney determined that
Troopers with the name of a family member, but showed              mile marker 62, where the Troopers had stopped the vehicle in
them a different name in his cell phone—a discrepancy he           which Plaintiff was a passenger, was within the jurisdictional
explained to be the result of the family member using a            boundary of the town of Bolton, not Lake George. (Id.). On
childhood nickname, rather than the name Plaintiff initially       November 2, 2015, the Town Justice of the Lake George
told the police. (Id.). Plaintiff was then handcuffed with         Town Court dismissed charges against Plaintiff for “lack of
his hands “twisted” so that his “left palm was touching            geographic jurisdiction and an inability to transfer the matter
the back of his right wrist,” causing “extreme pain to his         to another court.” (Id.). The Warren County District Attorney,
wrist and shoulder.” (Id.). The Troopers and Investigators         despite being “free to file an accusatory instrument in the
then conducted a “vehicle impound and inventory search”            Town of Bolton,” did not pursue further charges against
of the vehicle that lasted approximately fifty minutes. (Id.).     Plaintiff in connection with the September 8, 2014 incident.
During this time the Defendants “repeatedly frisked and/           (Id. at 15).
or patted down and searched” Plaintiff. (Id. at 8). Finding
nothing, the Troopers and Investigators then asked Plaintiff
whether he had any drugs hidden in his rectum, and told            III. STANDARD OF REVIEW
him that a canine unit was being dispatched to determine           To survive a motion to dismiss brought pursuant to Rule 12(b)
whether Plaintiff was lying. (Id.). Plaintiff denied having        (6) of the Federal Rules of Civil Procedure, “a complaint
any drugs—when he objected to another pat-down search,             must provide ‘enough facts to state a claim to relief that is
an Investigator “stated words to the effect that ‘it's not like    plausible on its face.’ ” Mayor & City Council of Balt. v.
it's because you're black.’ ” (Id. at 9). Defendants also told     Citigroup, Inc., 709 F.3d 129, 135 (2d Cir. 2013) (quoting Bell
Plaintiff that he “should call his boy and tell him that the       Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167
package isn't coming and that [Plaintiff] had gotten popped,”      L.Ed.2d 929 (2007)). A claim is facially plausible “when the
and commented on the tightness of his pants. (Id. at 10–11).       plaintiff pleads factual content that allows the court to draw
During this time, Plaintiff repeatedly asked for water and to      the reasonable inference that the defendant is liable for the
be “re-handcuffed or handcuff[ed] ... with his hands in front of   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 679,
him,” but “Defendants refused to accommodate [P]laintiff's         129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). The plaintiff must
requests.” (Id. at 7).                                             provide factual allegations sufficient “to raise a right to relief
                                                                   above the speculative level.” Mayor & City Council of Balt.,
At approximately 2:00 pm, approximately four hours after           709 F.3d at 135 (quoting Twombly, 550 U.S. at 555, 127 S.Ct.
Plaintiff was initially handcuffed by the Troopers and             1955). The Court must accept as true all factual allegations
Investigators, Trooper Carniglia arrived at the scene with his     in the complaint and draw all reasonable inferences in the
                                                                   plaintiff's favor. See E.E.O.C. v. Port Auth. of N.Y. & N.J., 768


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F.3d 247, 253 (2d Cir. 2014). 4 Finally, “[a] court must deny       immediate threat to the safety of others and whether he is
a motion to dismiss ‘unless it appears beyond doubt that the        actively resisting arrest.” Sullivan v. Gagnier, 225 F.3d 161,
plaintiff can prove no set of facts in support of his claim which   165 (2d Cir. 2000). This “calculus of reasonableness must
would entitle him to relief.’ ” Aikman v. Cty. of Westchester,      embody allowance for the fact that police officers are often
491 F. Supp. 2d 374, 378 (S.D.N.Y. 2007) (quoting Stewart v.        forced to make split-second judgments—in circumstances
Jackson & Nash, 976 F.2d 86, 87 (2d Cir. 1992)).                    that are tense, uncertain, and rapidly evolving—about the
                                                                    amount of force that is necessary in a particular situation.”
4                                                                   Graham, 490 U.S. at 396–97, 109 S.Ct. 1865.
        The Court notes that Plaintiff has attached
        extensive documentary evidence to his response
                                                                    “Courts apply a separate standard to claims for excessive
        in opposition to Defendants’ motion to dismiss
                                                                    force in the use of handcuffs,” Sachs v. Cantwell, No. 10
        without providing any legal rationale to support
                                                                    Civ. 1663, 2012 U.S. Dist. LEXIS 125335 at *44, 2012 WL
        the Court's consideration of this evidence. (Dkt.
                                                                    3822220, at *14 (S.D.N.Y. Sept. 4, 2012), and courts within
        No. 13 at 4–6). When considering a motion to
                                                                    the Second Circuit have held that “overly tight handcuffing
        dismiss, however, a court “must limit itself ‘to
                                                                    can constitute excessive force,” Lynch v. City of Mount
        a consideration of the facts that appear on the
                                                                    Vernon, 567 F. Supp. 2d 459, 468 (S.D.N.Y. 2008). In
        face of the complaint,’ ” or convert the motion to
                                                                    determining “the reasonableness of handcuffing,” a Court is
        one for summary judgment. Vollinger v. Merrill
                                                                    to consider whether a plaintiff has sufficiently alleged that:
        Lynch & Co., 198 F. Supp. 2d 433, 437 (S.D.N.Y.
                                                                    “(1) the handcuffs were unreasonably tight; (2) the defendants
        2002) (quoting Ryder Energy Distrib. Corp. v.
                                                                    ignored the arrestee's pleas that the handcuffs were too tight;
        Merrill Lynch Commodities, Inc., 748 F.2d 774,
                                                                    (3) the degree of injury to the wrists.” Esmont v. City of
        779 (2d Cir. 1984)). The Court declines to convert
                                                                    New York, 371 F. Supp. 2d 202, 214–15 (E.D.N.Y. 2005)
        Defendants motion to one for summary judgment,
                                                                    (citations omitted). “The injury requirement is particularly
        and accordingly, disregards the exhibits attached to
                                                                    important.” Usavage v. Port Auth. Of N.Y. & N.J., 932
        Plaintiff's opposition papers. (Dkt. No. 13-1).
                                                                    F. Supp. 2d 575, 592 (S.D.N.Y. Mar. 26, 2013) (internal
                                                                    quotation marks omitted). “These injuries need not be ‘severe
IV. DISCUSSION                                                      or permanent,’ but must be more than merely ‘de minimis.’
                                                                    ” Id. (quoting Vogeler v. Colbath, No. 04-CV-6071 (LMS),
   A. Excessive Force (Claim 3)
                                                                    2005 U.S. Dist. LEXIS 44658 at *30, 2005 WL 2482549,
 *3 Defendants move to dismiss Plaintiff's excessive force
                                                                    at *9 (S.D.N.Y. Oct. 6, 2005)). Furthermore, “[t]here is a
claim on the basis that the Complaint “contains no allegation
                                                                    consensus among courts in this circuit that tight handcuffing
that [Plaintiff] suffered any type of injury as a result of the
                                                                    does not constitute excessive force unless it causes some
handcuffing, beyond temporary pain and discomfort.” (Dkt.
                                                                    injury beyond temporary discomfort.” Lynch, 567 F. Supp.
No. 8-1, at 12). Plaintiff responds that this is not a “simple
                                                                    2d at 468; see also Gonzalez, 2000 U.S. Dist. LEXIS 5230
handcuffing case,” and that “[f]ocusing only on whether the
                                                                    at *12, 2000 WL 516682, at *4 (E.D.N.Y. Mar. 7, 2000)
handcuffs injured a citizen fails to take into consideration
                                                                    (“[I]f the application of handcuffs was merely uncomfortable
the objective reasonableness of the use of force under all the
                                                                    or caused pain, that is generally insufficient to constitute
circumstances as required by the Fourth Amendment.” (Dkt.
                                                                    excessive force.”).
No. 13-2, at 13).

                                                                    Plaintiff requests that the Court view his excessive force
Any claim that police officers “have used excessive force—
                                                                    claims “in the context of the pretextual traffic stop and
deadly or not—in the course of an arrest, investigatory stop,
                                                                    intrusive strip search and body cavity search.” (Dkt. No. 13-2,
or other seizure of a free citizen should be analyzed under
                                                                    at 11). Although Plaintiff correctly argues that any alleged
the Fourth Amendment and its ‘reasonableness’ standard.”
                                                                    use of excessive force during an arrest or investigative stop
Graham v. Connor, 490 U.S. 386, 395, 109 S.Ct. 1865,
                                                                    must be considered within the totality of the circumstances
104 L.Ed.2d 443 (1989) (emphasis omitted). In determining
                                                                    of the incident, he fails to plead any facts indicating that
whether a particular use of force is “reasonable,” a court must
                                                                    the force used by Defendant Troopers and Investigators
evaluate “the totality of the circumstances, which requires
                                                                    was objectively unreasonable or more than de minimis—the
consideration of the specific facts in each case, including the
                                                                    only allegation of “force” in the Complaint is that Plaintiff
severity of the crime at issue, whether the suspect posed an


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was improperly handcuffed for approximately four hours.             the handcuffing was unreasonable, and accordingly, Plaintiff's
Although there are factors that indicate that this is “more         excessive force claim must be dismissed.
than a simple handcuffing case,” 5 (id.), Plaintiff does not
allege that the handcuffs were too tight—only that he was
                                                                       B. Conspiracy to Violate Civil Rights (Claim 8)
handcuffed with his hands twisted. Furthermore, Plaintiff
                                                                    In their motion to dismiss, Defendants argue that because
does not allege that he suffered any continuing injury beyond
                                                                    “Defendants are employees of the New York State Police,
the discomfort he experienced during the investigative stop
                                                                    a single public entity and ... were acting within the scope
and subsequent searches. See Lynch, 567 F. Supp. 2d at
                                                                    of their employment,” Plaintiff's conspiracy claim is barred
467 (“[T]he fact that the tight handcuffing did not cause
                                                                    by the intracorporate conspiracy doctrine. (Dkt. No. 8-1,
[plaintiff] any continuing injury is fatal to the excessive force
                                                                    at 19). In response, Plaintiff asserts that the intracorporate
claim.”). Although Plaintiff does allege that he experienced
                                                                    conspiracy doctrine is inapplicable because the “New York
“extreme pain to his wrist and shoulder,” (Dkt. No. 1 at
                                                                    State police are not a corporation like a private company or
7), this qualifies as the kind of “temporary discomfort that
                                                                    an incorporated village or county.” (Dkt. No. 13-2, at 9).
courts have consistently found cannot constitute a claim for
excessive force.” Bender v. City of New York, No. 09 CV
                                                                    To survive a motion to dismiss on a § 1983 conspiracy claim, a
3286 (BSJ), 2011 U.S. Dist. LEXIS 103947 at *18, 2011 WL
                                                                    plaintiff must allege: “(1) an agreement between two or more
4344203, at *6 (S.D.N.Y. Sep. 14, 2011) (internal quotation
                                                                    state actors ... (2) to act in concert to inflict an unconstitutional
marks omitted) (granting motion to dismiss where plaintiff
                                                                    injury; and (3) an overt act done in furtherance of that
alleged that she was handcuffed “extremely tightly for nearly
                                                                    goal causing damages.” Pangburn v. Culbertson, 200 F.3d
fourteen hours leaving indentations in plaintiff's forearms for
                                                                    65, 72 (2d Cir. 1999). Even where the requisite elements
over six hours”).
                                                                    are sufficiently alleged, however, “[e]mployees of a single
                                                                    corporate entity are legally incapable of conspiring together
5
        These factors include, inter alia, that (1)                 under the intracorporate conspiracy doctrine. This doctrine
        Defendants frisked Plaintiff at least five times            applies to public entities and their employees.” Lee v. City
        during the traffic stop; (2) Plaintiff requested water      of Syracuse, 603 F. Supp. 2d 417, 442 (N.D.N.Y. 2009)
        and repeatedly asked to be re-handcuffed in a more          (holding that plaintiff's conspiracy claim against Syracuse
        comfortable position; (3) Plaintiff was repeatedly          Police Department barred by the intracorporate conspiracy
        moved in and out of a police vehicle between                doctrine), overruled on other grounds, Widomski v. State Univ.
        searches; and (4) the searches culminated in a              of N.Y., 748 F.3d 471 (2d Cir. 2014). Courts within the Second
        cavity search in view of the public on the side of          Circuit have “squarely held that the intracorporate conspiracy
        I-87. (Dkt. No. 13-2, at 11–13).                            doctrine should be applied to § 1983 cases.” Rahman v.
 *4 Even taking into account the length of time Plaintiff was       Fischer, No. 9:10-CV-1496 (LEK/TWD), 2012 U.S. Dist.
handcuffed, courts have consistently dismissed excessive-           LEXIS 140455 at *40, 2012 WL 4492010, at *13 (N.D.N.Y.
force handcuffing claims as reasonable in cases where the           Sep. 28, 2012).
handcuffing lasted a similar amount of time or longer. See,
e.g., Muehler v. Mena, 544 U.S. 93, 100, 125 S.Ct. 1465,            Despite Plaintiff's contention to the contrary, courts within
161 L.Ed.2d 299 (2005) (two to three hours); Johnson v. City        this Circuit have repeatedly held that the intracorporate
of New York, 940 F. Supp. 631, 637 (S.D.N.Y. 1996) (four            conspiracy doctrine is applicable to police departments or
to five hours); Omor v. City of New York, 2015 U.S. Dist.           other law enforcement agencies as “public entities.” See,
LEXIS 24135, 2015 WL 857587, at *8 (S.D.N.Y. Feb. 27,               e.g., Zachary v. City of Newburgh, No. 13 CV 5737 (VB),
2015) (four to five hours); Bender, 2011 U.S. Dist. LEXIS           2015 U.S. Dist. LEXIS 129578 at *7, 2015 WL 5474245,
103947, at *18, 2011 WL 4344203, at *6 (fourteen hours). As         at *3 (S.D.N.Y. July 27, 2015) (explaining that “plaintiff is
the Supreme Court has noted, “[t]he risk of harm to both the        incorrect that the intracorporate conspiracy doctrine does not
police and the occupants is minimized if the officers routinely     apply” to police departments); Chamberlain v. City of White
exercise unquestioned command of the situation.” Michigan           Plains, 986 F. Supp. 2d 363, 389 (S.D.N.Y. 2013) (applying
v. Summers, 452 U.S. 692, 702–03, 101 S.Ct. 2587, 69                intracorporate conspiracy doctrine because “participants in
L.Ed.2d 340 (2005). Plaintiff has therefore failed to plead that    the conspiracy are officers with the White Plains Police
                                                                    Department”); Ferlito v. City of Oswego, 2006 U.S. Dist.
                                                                    LEXIS 54561 at *37, 2006 WL 2238939, at *12 (N.D.N.Y.


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Aug. 4, 2006) (“The intracorporate conspiracy doctrine                     brought under § 1983,” when a plaintiff brings
applies to individual defendants who are members of the same               claims under both statutes “and the defendants
police department.”). Thus, the intracorporate conspiracy                  are state actors, the claims merge and the § 1981
doctrine is plainly applicable to Defendants as it is undisputed           claim is treated exactly like the § 1983 claim.”
that they were all employees of the New York State Police at               Caidor v. M&T Bank, No. 5:05-CV-297, 2006
the time of the incident.                                                  U.S. Dist. LEXIS 22980, 2006 WL 839547, at
                                                                           *10 (N.D.N.Y. Mar. 27, 2006) (internal quotation
 *5 The only recognized exception to the intracorporate                    marks omitted). Accordingly, “a separate § 1981
conspiracy doctrine applies where the alleged participants in              analysis is not required, and the Court will consider
the conspiracy “pursue personal interests wholly separate and              Plaintiff's § 1981 claims only pursuant to § 1983.”
apart from the entity.” Orafan v. Goord, 411 F. Supp. 2d                   Anderson, 2012 U.S. Dist. LEXIS 182520, 2012
153, 165 (N.D.N.Y. 2006), vacated and remanded on other                    WL 6720694, at *3.
grounds, Orafan v. Rashid, 249 F. App'x 217 (2d Cir. 2007).         “The Equal Protection Clause of the Fourteenth Amendment
This exception, however, is inapplicable here—Plaintiff             commands that no State shall ‘deny to any person within
acknowledges that “it is within the scope of employment of          its jurisdiction the equal protection of the laws,’ which is
state troopers to apprehend speeding motorists and person           essentially a direction that all persons similarly situation
who possess controlled substances.” (Dkt. No. 13-2, at 9).          should be treated alike.” City of Cleburne v. Cleburne Living
Although Plaintiff attempts to argue that “the intracorporate
                                                                    Ctr., 473 U.S. 432, 439, 105 S.Ct. 3249, 87 L.Ed.2d 313
conspiracy doctrine should not be applied to excuse law
                                                                    (1985) (quoting U.S. Const. amend. XIV, § 1). To adequately
enforcement officers who knowingly violate [a] citizen's
                                                                    plead an “equal protection violation, claimants must prove
Fourth Amendment rights,” (id.), the Court is unable to find        purposeful discrimination directed at an identifiable or
any authority in support of this proposition. Accordingly,
                                                                    suspect class.” Giano v. Senkowski, 54 F.3d 1050, 1057 (2d
Plaintiff's conspiracy claim is dismissed as barred by the
                                                                    Cir. 1995). Although the Second Circuit has held “[m]erely
intracorporate conspiracy doctrine.
                                                                    conscious exercise of some selectivity in enforcement is not
                                                                    in itself a federal constitutional violation,” United States v.
  C. Racial Discrimination Claim (Claim 9)                          Berrios, 501 F.2d 1207, 1211 (2d Cir. 1974), “a plaintiff
Plaintiff alleges that Defendants’ conduct constituted a            who ... alleges that a facially neutral law or policy has
“violation of [P]laintiff's clearly established right not to        been applied in an intentionally discriminatory race based
be subjected to racial profiling and racial discrimination          manner ... is not obligated to show a better treated, similarly
under 42 U.S.C. § 1981 and the Equal Protection Clause              situated group of individuals of a different race in order
                                                                    to establish a claim of denial of equal protection.” Pyke v.
of the Fourteenth Amendment.” (Dkt. No. 1, at 39–40). 6
                                                                    Cuomo, 258 F.3d 107, 110 (2d Cir. 2001).
Defendants contend that Plaintiff's claim must be dismissed
because, “not only does it fail to allege that Defendants treated
                                                                     *6 The allegations contained within the Complaint are
him differently than similarly situated persons, he also fails
                                                                    sufficient to plausibly infer that the Defendants intentionally
to allege facts suggesting that Defendants were motivated by
                                                                    discriminated against him. Although the allegations of
any impermissible consideration.” (Dkt. No. 14, at 9).
                                                                    racial profiling are conclusory, the Complaint alleges that
                                                                    Defendant Trooper Stannard pulled over the vehicle on the
6       Courts in the Second Circuit “resolve Section 1981          morning in question because Plaintiff and Mr. Hairston were
        claims under Section 1983 standards.” Anderson              “African-American males” riding in “a vehicle in rural upstate
        v. City of New York, No. 06-CV-5726 (RRM)                   New York”; that the vehicle was not speeding, as Stannard
        (RER), 2012 U.S. Dist. LEXIS 182520, 2012 WL                had alleged; that Mr. Hairston was not subsequently cited
        6720694, at *3 (E.D.N.Y. Dec. 27, 2012); see                for a speeding violation; that there was not any illegal
        also Whaley v. City Univ. of New York, 555 F.               motor vehicle infraction; and that the stop was pretextual.
        Supp. 2d 381, 400 (S.D.N.Y. 2008) (“To the extent           (Dkt. No. 1, at 6, 9–11, 40). With respect to the remaining
        [plaintiff] seeks to vindicate any independent rights       Defendants charged with racial discrimination, the allegations
        under 42 U.S.C. § 1981, he must do so via claims            regarding the searches, which are incorporated into this count,
        under § 1983.”). Because § 1981 “provides no                include allegations that when Plaintiff complained about
        broader a remedy against a state actor than a suit          being searched again, after he had been repeatedly frisked


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and searched, the investigator responded “it's not like it's         ‘support the defense on the face of the complaint.’ ” Id.
because you're black,” (id. at 9); when Plaintiff's cell phone       (quoting McKenna, 386 F.3d at 435) (internal punctuation
began ringing, an investigator told Plaintiff that he should         omitted).
contact his “boy” and tell him he had “gotten popped,” (id.
at 10); the Plaintiff was detained for four hours on the side        Here, the facts of the Complaint do not support Defendants’
of the interstate (id. at 27–28); the Defendants falsely relied      qualified immunity defense. As noted above, Plaintiff has
on “marijuana particles” in the cup holder of the vehicle            sufficiently stated a claim for racial discrimination. As the
as a basis for the detention and repeated searches (id. at 6,        case progresses, development of relevant facts will determine
28); and the Defendants conducted an illegal “strip search           whether the unlawfulness of the traffic stop and subsequent
of the plaintiff's private bodily areas and body cavities” on        searches should have been apparent to a reasonable law
the side of the interstate “in broad daylight and in plain sight     enforcement officer. Accordingly, Defendants’ motion to
of passing motorists” without an adequate legal justification        dismiss based on qualified immunity is denied.
for the search (id. at 28). Drawing all inferences in favor
of Plaintiff, Plaintiff has sufficiently alleged that “a facially
neutral law”—the New York Vehicle and Traffic Code— and              V. LEAVE TO AMEND
facially neutral policies governing searches were “applied           Plaintiff requests leave to amend his claims “in the event the
in an intentionally discriminatory race-based manner.” Pyke,         Court finds that any one of these claims is not sufficiently
258 F.3d at 110; see Aikman v. Cty. of Westchester, 491 F.           plead.” (Dkt. No. 13-2, at 20). Plaintiff's request for leave
Supp. 2d 374, 377, 383 (S.D.N.Y. 2007).                              to amend his claim for excessive force is granted. Any
                                                                     amendment to Plaintiff's claim for conspiracy to violate civil
                                                                     rights, however, would be futile because the claim would
    D. Qualified Immunity 7                                          remain barred by the intracorporate conspiracy doctrine. See
7                                                                    Terry v. Inc. Vill. of Patchogue, 826 F.3d 631, 633 (2d
        As Plaintiff's excessive force, malicious
                                                                     Cir. 2016) (“[L]eave to amend need not be granted when
        prosecution, and conspiracy claims are dismissed
                                                                     amendment would be futile.”). Plaintiff's request for leave
        supra, Section VI(a)-(b), the Court considers
                                                                     to amend his claim for conspiracy to violate civil rights is
        Defendant's qualified immunity argument as to
                                                                     therefore denied.
        racial discrimination only.
“A government official sued under § 1983 is entitled to
qualified immunity unless the official violated a statutory or       VI. CONCLUSION
constitutional right that was clearly established at the time        For these reasons, it is
of the challenged conduct.” Carroll v. Carman, 574 U.S. 13,
135 S. Ct. 348, 350, 190 L.Ed.2d 311 (2014) (per curiam). “A         ORDERED that Plaintiff's claims against Defendants in their
right is clearly established only if its contours are sufficiently   official capacities are DISMISSED; and it is further
clear that ‘a reasonable official would understand that what
he is doing violates that right.’ ” Id. (quoting Anderson v.          *7 ORDERED that Defendants’ motion to dismiss (Dkt.
Creighton, 483 U.S. 635, 640, 107 S.Ct. 3034, 97 L.Ed.2d             8-1) is DENIED as to Plaintiff's racial discrimination claim;
523 (1987)). Further, when a defendant raises a qualified            and it is further
immunity defense at the motion to dismiss stage, “the plaintiff
is entitled to all reasonable inferences from the facts alleged,     ORDERED that Defendants’ motion to dismiss (Dkt. 8-1) is
not only those that support his claim, but also those that defeat    otherwise GRANTED in its entirety; and it is further
the immunity defense.” McKenna v. Wright, 386 F.3d 432,
436 (2d Cir. 2004). “Therefore, although possible, ‘usually,         ORDERED that Plaintiff is granted leave to file an Amended
the defense of qualified immunity cannot support the grant of        Complaint as set forth above within THIRTY DAYS of the
a Rule 12(b)(6) motion for failure to state a claim upon which       date of this Order; and it is further
relief can be granted.’ ” Hershey v. Goldstein, 938 F. Supp.
2d 491, 521 (S.D.N.Y. 2013) (quoting McKenna, 386 F.3d at            ORDERED that in the event Plaintiff fails to file an Amended
436) (internal punctuation omitted). It is premature to resolve      Complaint, the case will proceed only with respect to the
a qualified immunity defense on the basis of allegations             claims in the Complaint that have not been dismissed, that is
in a complaint when those allegations “do not sufficiently


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Plaintiff's First, Fifth and Ninth claims against the Defendants
in their individual capacities.                                        All Citations

IT IS SO ORDERED.                                                      Not Reported in Fed. Supp., 2017 WL 11476416

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                                                                         1
                                                                                See Docket Entry # 40, Stipulation and Order of
                                                                                Discontinuance as to Defendants Rockland County
      KeyCite Yellow Flag - Negative Treatment
Distinguished by Graham v. City of New York,     E.D.N.Y.,    March 6,          and Police Office Kevin Freeman.
2013

     KeyCite Overruling Risk - Negative Treatment
                                                                                                BACKGROUND
Overruling Risk Pearson v. Callahan, U.S., January 21, 2009

                                                                         The parties do not dispute the following facts that are material
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                                                                         to a decision in this case.
      Only the Westlaw citation is currently available.
               United States District Court,
                                                                         On the evening of May 1, 2003, Plaintiffs Christian Vogeler
                     S.D. New York.
                                                                         (“Vogeler”) and Derek Kiechle (“Kiechle”) were inside
                                                                         Room 308 at the Wellesley Inn (“Room 308,”) located in
    Christian VOGELER and Derek J. Kiechle Plaintiffs,
                                                                         Ramapo, New York, when the Rockland County Task Force
                            v.
                                                                         (“Task Force”) executed a no-knock search warrant on Room
      Police Officer Michael COLBATH, Defendant.
                                                                         308. Plaintiffs' Rule 56.1 Statement of Undisputed Material
                     No. 04 Civ. 6071(LMS).                              Facts (“Pls' Statement”) at ¶¶ 1, 13; Defendant's Rule 56.1
                                 |                                       Statement of Undisputed Material Facts (“Def's Statement”)
                          Oct. 6, 2005.                                  at ¶ 12. Defendant Michael Colbath (“Colbath,”) as a member
                                                                         of the Town of Ramapo Police Department, worked with
                                                                         the Task Force and was present when the no-knock search
                                                                         warrant was executed. Def's Statement at ¶ 1,7; Plaintiffs'
                   DECISION AND ORDER
                                                                         Response to Defendant's Rule 56.1 Statement of Undisputed
SMITH, Magistrate J.                                                     Material Facts (“Pls' Resp.”) at ¶¶ 1,7. The Task Force had
                                                                         been conducting an investigation into allegations of narcotics
 *1 This matter is before me by consent of the parties                   activity within Room 308. Def's Statement at ¶ 8; Pls' Resp.
pursuant to 28 U.S.C. § 636(c). Plaintiffs filed this cause              at ¶ 8. As a part of its investigation, the Task Force had
of action pursuant to 42 U.S.C. § 1983 against Rockland                  utilized the assistance of a confidential informant, and on
County, Town of Ramapo Police Officer Michael Colbath,                   two occasions had directed him to purchase narcotics from
Village of Spring Valley Police Officer Kevin Freeman,                   “Nino,” the suspected dealer, who was then located in Room
and Unknown Police Officers 1 through 5. In a stipulation                308. Def's Statement at ¶ 9; Pls' Resp. at ¶ 9.
agreed upon by the Plaintiffs and Defendant Colbath,
the claims against Rockland County and Police Officer                    On May 1, 2003, the Task Force obtained a search warrant
Kevin Freeman were dismissed with prejudice. Plaintiffs1                 from a Village of Airmont Justice Court Judge for Room 308.
claim that Defendant arrested them without probable cause,               Def's Statement at ¶ 10; Pls' Resp. at ¶ 10. The Task Force,
impermissibly searched their persons and conducted a strip               including the Defendant, executed the search warrant. Def's
search, maliciously prosecuted them, and exerted excessive               Statement at ¶ 12; Pls' Resp. at ¶ 12. Subsequent to execution
force during the course of their arrest. Defendant filed                 of the warrant, Plaintiffs Vogeler and Kiechle, along with
a motion for summary judgment pursuant to Rule 56(b)                     “Nino,” the suspected dealer, were arrested. Def's Statement
of the Federal Rules of Civil Procedure seeking to have                  at ¶ 19; Pls' Resp. at ¶ 19. Plaintiffs were handcuffed, placed
all claims against him dismissed. Plaintiffs then filed a                face-down on the floor, frisked and searched. Pls' Statement at
cross-motion for summary judgment pursuant to Rule 56(a).                ¶ 16; Defendant's Response to Plaintiffs' Rule 56.1 Statement
For the foregoing reasons, I grant the Defendant's motion                of Undisputed Material Facts (“Def's Resp.”) at ¶ 16. While
for summary judgment in its entirety and dismiss all                     no illegal substances were recovered from the Plaintiffs'
claims against him. Accordingly, Plaintiffs' cross-motion for            persons, Pls' Statement at ¶ 23; Def's Resp. at ¶ 23, the
summary judgment on all claims is denied.                                Task Force seized and removed from the room nine clear
                                                                         bags containing a white powder, subsequently identified as
                                                                         cocaine, nine clear bags containing a green leafy substance,
                                                                         later identified as marijuana, an additional sandwich bag



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containing marijuana, an electronic scale, numerous empty                  court must conduct a two-step analysis when
clear zip lock bags, and a sizable amount of U.S. currency.                determining whether a police officer is entitled to
Def's Statement at ¶ 17; Pls' Resp. at ¶ 17.                               qualified immunity. A court must first determine
                                                                           whether the defendant violated the plaintiff's
 *2 Plaintiffs were charged with Criminal Possession of                    constitutional rights. Id. If the court determines
a Controlled Substance in the Third Degree, N.Y. PENAL                     that the defendant's actions did not constitute a
LAW § 220.16(1) (Consol.2005), and Unlawful Possession                     violation, the qualified immunity analysis ends. Id.
of Marijuana, N.Y. PENAL LAW § 221.05 (Consol.2005).
                                                                    Because a review of the record in this case indicates that
Pls' Statement at ¶ 25; Def's Resp. at ¶ 25. After additional
                                                                    there are no genuine issues of material fact, I hereby grant the
investigation, the District Attorney dismissed the charges. Pls'
                                                                    Defendant's motion for summary judgment on all claims and
Statement at ¶ 27; Def's Resp. at ¶ 27. Plaintiffs then initiated
                                                                    deny the Plaintiffs' cross-motion for summary judgment.
this cause of action against the Defendants for false arrest
and false imprisonment, illegal search and seizure, malicious
prosecution and use of excessive force during the course of         B. Summary Judgment
arrest.                                                             Under the Federal Rules of Civil Procedure, summary
                                                                    judgment “shall be rendered forthwith if the pleadings,
                                                                    depositions, answers to interrogatories, and admissions on
                        DISCUSSION                                  file, together with the affidavits, if any, show that there is
                                                                    no genuine issue as to any material fact and that the moving
A. Introduction                                                     party is entitled to a judgment as a matter of law.” FED.
Plaintiffs assert that Defendant Colbath violated their Fourth      R. CIV. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317,
Amendment rights to be free from false arrest and false             320-23 (1986). “Upon any motion for summary judgment
imprisonment, to be free from unreasonable searches and             pursuant to Rule 56 of the Federal Rules of Civil Procedure,
seizures, to be free from malicious prosecution, and to be          there shall be annexed to the notice of motion a separate,
free from excessive force by the police when making an              short, and concise statement, in numbered paragraphs, of the
arrest. Plaintiffs' Complaint (“Pls' Compl.”) at ¶ 15. The          material facts as to which the moving party contends there
Defendant moves for summary judgment on the first three             is no genuine issue to be tried. Failure to submit such a
claims as he had probable cause to arrest the Plaintiffs and        statement may constitute grounds for denial of the motion.”
therefore cannot be liable. Defendant's Memorandum of Law           LOCAL CIV. R. 56.1(a). A fact is “material” when it may
in Support of Motion for Summary Judgment (“Def's Mem.”)            affect the outcome of a case under the governing substantive
at 1. The Defendant also seeks summary judgment on the              law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
Plaintiffs' claim of excessive force as there is no evidence        (1986). A dispute about a material fact is “genuine” if the
in the record indicating that it was the Defendant who lifted       evidence is such that a reasonable jury could return a verdict
the Plaintiffs from the ground. Def's Mem. at 6. Defendant          for the nonmoving party. Id. A trial judge may, therefore,
seeks summary judgment on this claim on the separate ground         grant summary judgment only if there is no genuine issue
that any force exerted during the arrest was reasonable, and        as to any material fact and if the moving party is entitled to
thus he is entitled to summary judgment as a matter of law.         judgment as a matter of law. Id. at 250. The inquiry performed
Id. Lastly, Defendant exerts a broad of claim of qualified          is the threshold inquiry of determining whether there are any
immunity insulating him from civil liability for his actions,       genuine factual issues that properly can be resolved only by
if any, which may have violated the Plaintiffs' constitutional      a finder of fact. Id.
rights. 2 Id. at 11.
                                                                     *3 Where a properly supported motion for summary
2                                                                   judgment is made, the adverse party “must set forth specific
        Although the Defendant invokes the protection of            facts showing that there is a genuine issue for trial.” FED.
        qualified immunity, I need not determine whether            R. CIV. P. 56. Under Local Rule 56.1(b), “the papers
        he is entitled to its protection because I conclude at      opposing a motion for summary judgment shall include
        no point did he violate the Plaintiffs' constitutional      a correspondingly numbered paragraph responding to each
        rights. Under the Supreme Court's holding in                numbered paragraph in the statement of the moving party,
        Saucier v. Katz, 533 U.S. 194, 201 (2001), a                and if necessary, additional paragraphs containing a separate,



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short and concise statement of the material facts as to which
it is contended that there exists a genuine issue to be tried.”     *4 Defendant is entitled to summary judgment on the
LOCAL CIV. R. 56.1(b). Summary judgment may be granted             claims of false arrest and false imprisonment because he
only “[i]f after discovery, the nonmoving party ‘has failed        had probable cause to arrest the Plaintiffs. Under the Fourth
to make a sufficient showing on an essential element of [its]      Amendment, a police officer must have probable cause
case with respect to which [it] has the burden of proof.” ’        to arrest an individual without an arrest warrant. Beck v.
Berger v. United States, 87 F.3d 60, 65 (2d Cir.1996) (quoting     Ohio, 379 U.S. 89, 91 (1964). A constitutionally valid arrest
Celotex, 477 U.S. at 323) (alteration in original). “The           turns upon whether the police had the requisite “facts and
nonmoving party must have ‘had the opportunity to discover         circumstances within their knowledge ... to warrant a prudent
information that is essential to his [or her] opposition’ to the   man in believing that the [individual] [has] committed or
motion for summary judgment.” Trebor Sportswear Co. v. The         was committing an offense.” Id. It is undisputed that on
Limited Stores, Inc., 865 F.2d 506, 511 (2d Cir.1989) (quoting     May 1, 2003, the Defendant entered Room 308 pursuant
Anderson, 477 U.S. at 250 n. 5). Moreover, a court should          to a search warrant issued by a Village of Airmont Justice
“constru[e] the evidence in the light most favorable to the        Court Judge. Def's Statement at ¶ 12; Pls' Resp. at ¶ 12. It is
nonmoving party and draw[ ] all reasonable inferences in its       also undisputed that the Plaintiffs were present in the room
favor.” Mount Vernon Fire Ins. Co. v. Belize NY, Inc., 277         when the search warrant was executed. Def's Statement at
F.3d 232, 236 (2d Cir.2002); Farias v. Instructional Sys., Inc.,   ¶ 16; Pls' Resp. at ¶ 16. Once in the room, the Defendant
259 F.3d 91, 97 (2d Cir.2001); Quinn v. Green Tree Credit          seized several transparent zip lock bags that were identified
Corp., 159 F.3d 759, 764 (2d Cir.1998); see also Anderson,         via field testing as containing cocaine and marijuana, an
477 U.S. at 261 n. 2. Thus, “[o]nly when no reasonable trier       electronic scale, and a large quantity of U.S. currency. 3 Def's
of fact could find in favor of the nonmoving party should          Statement at ¶ 17. Moreover, the Task Force's confidential
summary judgment be granted.” Cruden v. Bank of New York,          informant reported that a drug transaction had occurred in
957 F.2d 961, 975 (2d Cir.1992) (quoting H.L. Hayden Co.           Room 308 in the Plaintiffs' presence just prior to the officers'
of New York, Inc. v. Siemans Med. Sys. Inc., 879 F.2d 1005,        execution of the search warrant. Defendant's Affirmation
1011 (2d Cir.1989)).                                               in Reply and in Opposition to Plaintiffs' Cross-Motion for
                                                                   Summary Judgment (“Def's Opp'n Statement”), Ex. C.
In the present case, a review of the record shows that there
is no genuine issue of any material facts and that therefore,      3      The Plaintiffs correctly point out that there is
the Defendant, the moving party, is entitled to a judgment as
                                                                          an inconsistency in the Defendant's testimony
a matter of law, FED. R. CIV. P. 56(c), and Plaintiffs' cross-
                                                                          regarding the location of the currency seized
motion for summary judgment must be denied.
                                                                          from Room 308. Compare Pls' Statement Ex.
                                                                          9 at 7 (grand jury testimony of Defendant that
C. Plaintiffs' Causes of Action                                           U.S. currency recovered from clothing found
                                                                          within Room 308), with Pls' Statement Ex. 15
   1. False Arrest and False Imprisonment                                 at ¶ 4 (Defendant's affadavit stating that money
To successfully establish a cause of action for false arrest and          recovered from tabletop in corner of Room 308).
false imprisonment, each Plaintiff must show that: “(1) the               This discrepancy, however, is of no value to
defendant intended to confine [the plaintiff], (2) the plaintiff          the Plaintiffs because the issue surrounding the
was conscious of the confinement, (3) the plaintiff did not               currency's location within Room 308 is not a
consent to the confinement and (4) the confinement was                    material fact. In order for a fact to be material,
not otherwise privileged .” Singer v. Fulton County Sheriff,              and thus meaningful for this court to examine on a
63 F.3d 110, 118 (2d Cir.1995) (citations omitted); Boose                 motion for summary judgment, the fact must alter
v. Rochester, 421 N.Y.S.2d 740, 745 (N.Y.App. Div 1979).                  or possibly alter the outcome of the case. Anderson,
Probable cause is a complete defense to the claims of false               477 U.S. at 248. Immaterial facts have no bearing
arrest and false imprisonment. Bernard v. U.S., 25 F.3d 98,               on this court in deciding a motion for summary
102 (2d Cir.1994). The burden is on the Defendant to show                 judgment. Celotex Corp, 477 U.S. at 323.
the existence of probable cause as an affirmative defense.                   Moreover, Plaintiff Voegeler's grand jury
Broughton v. State of New York, et. al., 37 N.Y.2d 451, 458                  testimony and Plaintiff Kiechle's depositions
(1975).                                                                      are not without inconsistency either. Plaintiff


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          Vogeler claims that Plaintiff Kiechle was driving     in which they were located. Thus, the contentions Plaintiffs
          on the evening of May 1, 2003. See Pls'               raise regarding their awareness of narcotics in plain view and
          Statement Ex. 8 at 5, lines 12-14; see also Pls'      their personal proximity to the narcotics are of no issue. 4 The
          Statement Ex. 12 at 10-11, lines 25-1. Plaintiff      Plaintiffs' presence in Room 308 during an illegal narcotics
          Kiehcle, however, claims Plaintiff Vogeler was        distribution, as well as their presence in the room when illegal
          driving on the night of May 1, 2003. See Pls'         narcotics were seized, provided the requisite probable cause
          Statement Ex. 11 at 13 lines 16-24. While             to substantiate their arrest.
          this inconsistency does not go to a material
          fact either, it is worth noting that neither          4        Plaintiffs assert that they were unaware of the
          Plaintiffs' nor Defendant's statements are wholly
                                                                         presence of illegal narcotics within Room 308.
          consistent.
                                                                         Pls' Statement at ¶ 10. Their subjective awareness
The presence of illegal narcotics within Room 308, as well as            and proximity to the narcotics, however, is of no
the information relayed by the confidential informant, gave              importance in this instance because the Defendant
the Defendant sufficient probable cause to arrest the room's             had probable cause to arrest the Plaintiffs upon
occupants based upon the suspicion that they committed or                the seizure of illegal narcotics from the room. See,
were committing a criminal offense. See Beck, 379 U.S. at 91;            e.g. Maryland v. Pringle, 540 U.S. 366, 374 (2003)
Provost v. City of Newburgh, 262 F.3d 146, 157 (2d Cir.2001).            (holding officer had probable cause to believe
Defendant's motion for summary judgment on the Plaintiffs'               individual possessed cocaine and therefore could
claim of false arrest and false imprisonment must be granted             arrest individual, absent a warrant, based upon
therefore, because the Defendant had probable cause to arrest            presence of narcotics and money within car).
them. Broughton, 37 N.Y.2d at 458.
                                                                 *5 Because the Defendant had sufficient probable cause to
                                                                arrest the Plaintiffs, I must grant the Defendant's motion for
Defendant cites to N.Y. PENAL LAW § 220.25(2)
                                                                summary judgment on the Plaintiffs' false arrest and false
(Consol.2005) as additional support for his argument that
                                                                imprisonment causes of action.
he had sufficient probable cause to arrest the Plaintiffs
subsequent to the search warrant's execution. N.Y. PENAL
LAW § 220.25(2) provides, in part,                                  2. Illegal Search and Seizure

                                                                   a. Search of Plaintiffs' Persons
            [t]he presence of a narcotic drug,                  Plaintiffs additionally assert that the Defendant violated their
            narcotic preparation, marihuana or                  Fourth Amendment rights to be free from illegal searches and
            phencyclidine in open view in a                     seizures when the Defendant searched their persons. Because
            room, other than a public place, under              the Defendant entered Room 308 and searched the Plaintiffs'
            circumstances evincing an intent to                 persons pursuant to a valid search warrant, and permissibly
            unlawfully mix, compound, package                   searched their persons under the search-incident-to-arrest
            or otherwise prepare for sale such                  doctrine, the Defendant's motion for summary judgment must
            controlled substance is presumptive                 be granted.
            evidence of knowing possession
            thereof by each and every person in                 In accordance with the requirements established by the United
            close proximity to such controlled                  States Supreme Court, a search warrant is valid if it is issued
            substance at the time such controlled               by a neutral and disinterested magistrate upon a showing by
            substance was found....                             affidavit of probable cause. Dalia v. U.S., 441 U.S. 238, 255
                                                                (1979). The search warrant must also describe with sufficient
                                                                particularity the location to be searched, the items to be seized,
                                                                and the persons who may be searched. Id.
New York's statutory constructive possession presumption,
however, is subsidiary to the primary establishment of
                                                                In addition to these fundamental requirements, New York
probable cause to arrest the Plaintiffs stemming from the
                                                                courts recognize the constitutionality of an “all persons”
Defendant's seizure of illegal narcotics from the hotel room
                                                                search warrant, such as the one used here, when probable


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cause exists to believe that any and all individuals              In addition to the authority to search the Plaintiffs per the
found within a given location are involved in criminal            search warrant, the Defendant was also authorized to search
activity. Campbell v. Fernandez, 54 F.Supp.2d 195, 197            the Plaintiffs' persons under the “search incident to arrest”
(S.D.N.Y.1999); People v. Nieves, 36 N.Y.2d 396, 404              doctrine articulated by the Supreme Court in Chimel v.
(1975). Most commonly, “all persons” search warrants are          California, 395 U.S. 752 (1969). In Chimel, the Supreme
issued when the police suspect illegal narcotics trafficking      Court recognized that it is reasonable for a police officer to
or distribution from a particular location, but are unable to     conduct a search of the arrestee's person, and the area around
name the specific individuals to be searched. See, e.g. People    the aresstee's person, known as his or her wing span, even in
v. Miner, 510 N.Y.S.2d 300, 302 (N.Y.App. Div 1987) (“all         the absence of a warrant. 395 U.S. at 763.
persons” search warrant valid where probable cause existed to
believe area and persons involved in drug trafficking); People    Naturally, Chimel' s search-incident to arrest doctrine only
v. Soler, 460 N.Y.S.2d 537, 541 (N.Y.App.Div.1983) (search        applies when there is a valid basis for an arrest. As noted,
of bystander in room during execution of “all persons” search     supra, upon entering Room 308 to execute the valid search
warrant valid because of suspected drug trafficking).             warrant, the Defendant found several transparent zip lock
                                                                  bags, later identified as containing cocaine and marijuana,
The Defendant entered Room 308 pursuant to a validly              as well as an electronic scale and a large quantity of
executed search warrant authorizing the search of “all            U.S. currency. The presence of such narcotics and drug
persons” found within Room 308. Defendant's Affidavit             paraphernalia within Room 308 provided the Defendant
in Support of Motion for Summary Judgment (“Def's                 ample justification to arrest the Plaintiffs on the suspicion that
Aff.”), Ex. B. A neutral and disinterested judge issued a         they were involved in the commission of a crime. Because
sufficiently particular search warrant identifying the location   the Defendant had probable cause to arrest the Plaintiffs, the
to be searched and the items to be seized. Def's Aff., Ex.        Defendant was authorized to search their persons upon arrest
B. The judge issued the search warrant upon receiving             under Chimel.
the Defendant's affidavit establishing probable cause. The
Defendant developed probable cause to believe criminal            Plaintiffs cite to Ybarra v. Illinois, 444 U.S. 85 (1979), in
activity was taking place within Room 308 based upon the          support of the proposition that the search of their persons was
information provided by a confidential informant working          unconstitutional. Reliance on Ybarra, however, is mistaken.
with the Task Force. A police officer may rely upon the           Ybarra dealt with the execution of a no-knock search warrant
reports of an informant to establish probable cause when the      at a tavern. 444 U.S. at 88. The search warrant only authorized
“totality of the circumstances” indicates that the informant's    the police to search the tavern and one named suspect,
information is reliable and truthful. Illinois v. Gates, 462      the bartender. Id. Upon entering the tavern, however, the
U.S. 213, 238 (1983). The Defendant had reason to rely            police frisked all persons located within the tavern, including
on the confidential informant's information based upon two        petitioner Ybarra. Id . As a result of the frisk of Ybarra's
prior successful drug transactions the informant conducted        person, the police seized a package of cigarettes containing
with “Nino,” within Room 308, at the request of the Task          heroin. Id. at 89.
Force. Def's Aff., Ex. B at ¶¶ 5 & 6. Based upon these
transactions, the Defendant could conclude with sufficient        In suppressing the evidence of narcotics possession, the
probability that criminal activity was afoot in Room 308.         Supreme Court held that each person who entered the
People v. Miner, 510 N.Y.S.2d 300, 302 (N.Y.App. Div 1987)        tavern continued to hold his or her individualized Fourth
(two controlled purchases of illegal narcotics is sufficient      Amendment right to be free from unreasonable searches and
evidence to establish probable cause of “activity inconsistent    seizures. Id. at 91. The Court noted that “a search or seizure of
with innocent behavior.”).                                        a person must be supported by probable cause particularized
                                                                  with respect to that person.” Id. The Court held that the
 *6 Because the Defendant entered Room 308 and searched           reasonable suspicion required to frisk each occupant of the
the Plaintiffs' person pursuant to a valid search warrant, the    tavern could not be extrapolated from the probable cause
Defendant is entitled to summary judgment on the Plaintiffs'      supporting the issuance of the search warrant. Id.
claims of illegal search and seizure.
                                                                  The present situation, however, is markedly different from the
                                                                  one posed in Ybarra. Unlike Ybarra, where the search warrant



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only authorized the search of the premises and one individual,      The evidence put forth by Plaintiffs fails to identify the
here, the Defendant entered Room 308 with a search warrant          Defendant as the police officer who conducted the strip
authorizing him to search “[a]ll persons found within [Room         search. The deposition of Plaintiff Vogeler ends with the
308 of the Wellesley Inn].” Def's Aff., Ex. B. Additionally,        Plaintiff explicitly denying that he had “any interaction with
upon entry, the Defendant seized several clear bags containing      Police Officer Colbath” on the evening of May 1, 2003.
illegal narcotics from a table located towards the back of          Pls' Statement Ex. 12 at 48, lines 20-22. Plaintiff Kiechle's
the room. Pls' Statement Ex. 6 at 6-7, lines 18-4. Differing        deposition only affirms the fact that he was strip searched;
from Ybarra, here, illegal contraband was first found within        at no time does the Plaintiff identify who conducted the strip
the room and then the Defendant searched the Plaintiffs. In         search. Pls' Statement Ex. 11 at 43, lines 18-22.
Ybarra, just the opposite was true: the initial search of the
petitioner led the police to discover illegal contraband. Cf.       Plaintiffs assert that the Defendant's name on their arrest
Md. v. Pringle, 540 U.S. 366, 373 (2003) (noting the Fourth         reports establishes that the Defendant was the officer
Amendment protection recognized in Ybarra does not equally          who “oversaw” their respective strip searches. Plaintiffs'
apply to individuals in private locations who are in close          Memorandum of Law in Opposition to Defendant's Motion
proximity to illegal narcotics).                                    for Summary Judgment and in Support of Plaintiffs' Cross
                                                                    Motion for Summary Judgment (“Pls' Memo”) at 12. Such
 *7 Unlike Ybarra, in which the petitioner was frisked only         a nominal assertion on the part of the Plaintiffs, without
because of his presence in the bar, the Plaintiffs here were        more, does not create a genuine issue of material fact. See
arrested and searched due to the presence of illegal narcotics      Scotto v. Almenas, 143 F.3d 105, 114 (2d Cir.1998) (a “non-
within the room. Additionally, the properly issued search           moving party may not rely on conclusory allegations or
warrant authorized the searches of the Plaintiffs' persons.         unsubstantiated speculation” when attempting to establish a
Accordingly, the Defendant is entitled to summary judgment          genuine issue of material fact). The Defendant, however,
on Plaintiffs' claim of illegal search and seizure.                 testified that his presence in Room 308 was only to serve as
                                                                    the evidence officer, the individual responsible for gathering
                                                                    any illegal contraband seized during the execution of a
   b. Strip Search                                                  search warrant. Pls' Statement Ex. 6 at 6, lines 1-9. While
Plaintiffs additionally assert their constitutional right to be     Defendant's name is on the arrest report for both Plaintiffs,
free from illegal searches and seizures was violated when they      Pls's Statement Ex. 2 and Ex 4, absent more specific evidence
were subjected to full body strip searches subsequent to their      upon which a jury could find that the Defendant administered
arrest. Plaintiffs are correct in arguing that pre-trial detainee   or oversaw the challenged strip searches, this court must grant
strip searches are governed by the Fourth Amendment's               the Defendant's motion for summary judgment on the claim
reasonableness standard. Weber v. Dell, 804 F.2d 796, 802           of unconstitutional strip searches.
(2d Cir.1986). Plaintiffs are unable, however, to establish
that the Defendant was the individual who conducted the
strip searches. In order for Plaintiffs to succeed on their §          3. Malicious Prosecution
1983 claim for illegal search and seizure, Plaintiffs must           *8 Plaintiffs also assert a claim of malicious prosecution.
establish, with sufficient definiteness, the precise actor or       The elements of malicious prosecution in New York are: “(1)
actors who deprived them of their constitutional rights. See        the defendant commenced or continued a criminal proceeding
Blyden v. Mancusi, 186 F.3d 252, 264 (2d Cir.1994) (personal        against plaintiff, (2) the proceeding terminated in plaintiff's
involvement of defendant prerequisite to award of damages           favor, (3) there was no probable cause for the criminal
under 1983); McKinnon v. Patterson, 568 F.2d 930, 934               proceeding, and (4) the defendant initiated the criminal
(2d Cir.1977) (absence of evidence of defendant's personal          proceeding out of malice.” Bernard v. U.S., et al., 25 F.3d 98,
involvement in alleged deprivation of rights fatal to § 1983        104 (2d Cir.1994) (citation omitted). Some type of judicial
claim against defendant). Because the Plaintiffs have not           proceeding must occur prior to the complained of deprivation
provided sufficient evidence from which a finder of fact could      of rights because the “essence of malicious prosecution
conclude that the Defendant conducted or oversaw the strip          is the perversion of proper legal procedures.” Singer, 63
searches, their claim cannot survive the Defendant's motion         F.3d at 117 (quoting Broughton v. State of New York, 37
for summary judgment.                                               N.Y.2d 451, 457 (1975)). Generally, the required judicial
                                                                    proceeding is in the form of a warrant, an arraignment, or an
                                                                    indictment by a Grand Jury. Singer, 63 F.3d at 117. A claim


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for malicious prosecution cannot survive summary judgment           Force told Plaintiffs they “were in trouble,” upon arrest).
absent evidence of bad faith or malice on the part of the police.   This statement, alone, neither establishes actual malice, nor
Bernard, 25 F.3d at 104..                                           evinces bad faith on the part of the Defendant required
                                                                    for a successful malicious prosecution cause of action. 5
In the present case, the Defendant served as the affiant            Hernandez, 260 F.Supp.2d. at 615 (absence of evidence of
for the search warrant leading to the arrest and search of          improper motive fatal to malicious prosecution claim on
the Plaintiffs' persons. Pls' Statement at Ex. 7. Plaintiffs        summary judgment).
were subsequently charged with Criminal Possession of a
Controlled Substance in the Third Degree, N.Y. PENAL                5       Further supporting Defendant's motion for
LAW § 220.16(1) (Consol.2005), and Unlawful Possession
                                                                            summary judgment is the fact that this statement is
of Marijuana, N.Y. PENAL LAW § 221.05 (Consol.2005).
                                                                            not even firmly attributed to the Defendant. See Pls'
Akin to the absolute probable cause defense Defendant can
                                                                            Statement Ex 11 at 28, lines 7-12.
raise to the false arrest and false imprisonment claim, and the
illegal search and seizure claim, Defendant is also entitled        Because the Plaintiffs have failed to establish evidence of the
to summary judgment on the malicious prosecution charge             required actual malice for a successful malicious prosecution
because he acted pursuant to probable cause. Boyd v. City           claim, and because the Defendant had probable cause to
of New York, 336 F.3d 72, 76 (2d Cir.2003). As explained,           obtain a search warrant and arrest the Plaintiffs, Defendant's
supra, Defendant had probable cause to believe that criminal        motion for summary judgment on the Plaintiffs' malicious
activity was conducted within Room 308 of the Wellesley             prosecution claim is granted.
Inn based upon the information provided by the confidential
informant. See supra, Sections (C)(1) and (C)(2). Using this
information, the Defendant validly obtained a search warrant.          4. Excessive Force
Upon entry into Room 308, the Defendant seized several bags         Unlike Plaintiffs' three other causes of action, Plaintiffs' claim
of illegal narcotics, including cocaine and marijuana, arrested     for excessive force does not turn on whether the Defendant
the Plaintiffs, and conducted a valid search of their persons.      acted upon the requisite degree of probable cause, but whether
As such, the Plaintiffs cannot establish that the Defendant         the Defendant's conduct was “objectively reasonable” in light
acted without the requisite probable cause necessary to             of the facts and circumstances as presented to the Defendant at
establish a successful claim of malicious prosecution.              the time of the Plaintiffs' arrest. Graham v. Connor, 490 U.S.
                                                                    386, 397 (1989) (quoting Scott v. U.S., 436 U.S. 128, 137-139
Moreover, Plaintiffs have asserted no evidence of actual            (1978)). In order to succeed on a claim of excessive force,
malice on the part of the Defendant. Evidence of actual             the Plaintiffs must put forth evidence that the Defendant's
malice is required to establish an actionable claim for             conduct was “objectively sufficiently serious or harmful....”
malicious prosecution. Such evidence can be inferred from           U.S. v. Walsh, 194 F.3d 37, 50 (2d Cir.1999). Generally, the
a lack of probable cause, Sulkowska v. City of New York,            force used by the Defendant must be more than de minimis
129 F.Supp.2d. 274, 295 (S.D.N.Y.2001), by proof of the             in order for the Plaintiffs' claim to be actionable. Graham,
defendant's recklessly or grossly negligent conduct, Boose v.       490 U.S. at 397; Romano v. Howarth, 998 F.2d 101, 105 (2d
Rochester, 421 N.Y.S.2d 740, 749 (N.Y.App.Div.1979), or by          Cir.1993). Finally, Plaintiffs must also allege, and support
some evidence that the Defendant had an improper motive             with evidence, the personal involvement of the Defendant
for initiating the proceedings, Hernandez v. City of Rochester,     in the actions underlying their claim. Hernandez v. Keane,
260 F. Supp 2d 599, 615 (W.D.N.Y.2003).                             341 F.3d 137, 144 (2d Cir.2003) (personal involvement of
                                                                    Defendant is predicate for award for damages under § 1983).
 *9 In this case, actual malice cannot be inferred from
the lack of probable cause because the Defendant had the            Plaintiffs base their excessive force claim upon two separate
requisite probable cause to believe Room 308 was being used         instances during the course of their arrest. First, Plaintiffs
for criminal purposes, to arrest the Plaintiffs, and to search      claim they were both subjected to tight handcuffing when
their persons. Plaintiffs' only offer of evidence of Defendant's    arrested. Pls' Memo. at 13. Second, Plaintiffs claim they were
actual malice is a taunt, attributed to the Defendant by            lifted and dragged off the ground by their arms when their
Plaintiff Kiechle, upon the Plaintiffs' arrest. Pls' Statement      hands were cuffed behind their backs. Id. Like their other
Ex. 11 at 28, lines 7-12 (unidentified member of the Task           claims, because the record does not establish a genuine issue



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of material fact, I grant Defendant's motion for summary           excessive force, Hernandez, 341 F.3d at 144, nor have they
judgment.                                                          proven that they suffered any injury from the complained-
                                                                   of activity. Esmont, 371 F.Supp.2d. at 215. As such, the
                                                                   Plaintiffs fail to establish a triable issue of fact that can survive
   a. Tight Handcuffing                                            Defendant's motion for summary judgment.
When analyzing a claim of excessive force based upon the
use of handcuffs, in addition to evidence of the fact that the     While both Plaintiffs complain of being lifted from the ground
handcuffs were too tight and that the Plaintiffs' requests for     while handcuffed, Pls' Statement at ¶ 3, neither Plaintiff has
them to be loosened went unanswered, the court may consider        identified the offending officer. Both Plaintiffs' depositions
the degree of injury suffered by the Plaintiffs. Esmont v.         are replete with generic references to “the officers,” and
City of New York, 371 F. Supp 2d 202, 215 (E.D.N.Y.2005).          allusions to multiple police officers being present during the
While tight handcuffing, alone, can give rise to a cause of        course of their arrest. See, e.g. Pls' Statement Ex. 11 at 28;
action under § 1983, Simpson v. Saroff, 741 F.Supp. 1073,          Pls' Statement Ex. 12 at 22, 47. Plaintiff Kiechle is unable to
1078 (S.D.N.Y.1990), the plaintiffs must suffer some form of       identify the police officer or officers that physically handled
injury from the tight handcuffs in order for such a claim to       him that evening. Pls' Statement Ex. 11 at 66. Likewise,
be actionable. Id. (excessive force claim proper when tight        Plaintiff Vogeler cannot recall any police officer exhibiting
handcuffing lead to bloody wrist and scarring). Though the         any “vicious propensities” or using excessive force during the
Plaintiffs' injuries need not be severe or permanent, some         course of the arrest. Pls' Statement Ex. 12 at 33-34, lines 25-7.
injury must be asserted. Esmont, 371 F. Supp 2d at 215.            Most explicit, Plaintiff Vogeler claims he had no personal
                                                                   interaction with the Defendant on the night of his arrest, May
 *10 Both Plaintiffs claim they were tightly handcuffed
                                                                   1, 2003. Pls' Statement Ex. 12 at 48, lines 20-22. 6
when arrested, Pls' Statement Ex. 11 at 41, lines 12-13; Pls'
Statement Ex. 12 at 46 lines 9-11, and that their requests
                                                                   6
for their cuffs to be loosened went unheaded. Pls' Statement               In fact, this is the only time the Defendant is
Ex. 11 at 47, lines 2-7; Pls' Statement Ex. 12 at 46, lines                mentioned by name during the course of either
9-20. Despite these complaints, Plaintiff Kiechle testified that           Plaintiffs' deposition. Though having no legal
he was neither injured nor hurt during the course of arrest.               significance, it is interesting to note that the only
Pls' Statement Ex. 11 at 41, lines 66-67. Plaintiff Vogeler                reason the Defendant's name appears anywhere in
also testified that he was not hurt during the course of his               the course of either Plaintiffs' deposition provided
arrest. Pls' Statement Ex. 12 at 46, lines 21-23 and Ex. 12 at             to the court is because it was brought up by Mr.
47, lines 6-10. Neither Plaintiffs' testimony establishes they             Specht, an attorney for the Town of Ramapo.
suffered any harm, let alone any measurable harm. Unlike           Assuming, arguendo, that Plaintiffs could establish that the
prior excessive force cases where plaintiffs have survived         Defendant was the individual who physically lifted them from
summary judgment by putting forth evidence of bleeding and         the ground, the Defendant's actions would be assessed against
scarring, Simpson, 741 F. Supp at 1078, or prolonged bruising,     the Fourth Amendment's reasonableness standard. Saucier
Robinson v. Via, 821 F.2d 913 (2d Cir.1993), the Plaintiffs'       v. Katz, 533 U.S. 194, 204 (2001); Graham v. Connor, 490
mere claims of minor discomfort do not establish a triable         U.S. 386, 397 (1989). Under this standard, the police have
issue that can withstand Defendant's motion for summary            the latitude to “use some degree of physical coercion or
judgment. Esmont, 371 F.Supp.2d. at 215 (quoting Carter v.         threat thereof” to effectuate an arrest. Graham, 490 U.S.
Morris, 164 F.3d 215, 219, n. 3 (4 th Cir.1999)).                  at 396. Factors that a court may consider when evaluating
                                                                   an excessive force claim include the severity of the crime,
                                                                   whether the suspect posed a threat to the officers, and whether
   b. Handling of the Plaintiffs' Persons                          the suspect was resisting or attempting to evade arrest. Id.
Plaintiffs also claim that they were lifted off the ground by
their arms while lying handcuffed face down on the ground.          *11 In their motion for summary judgment, Plaintiffs
Pls' Statement Ex 11 at 68, lines 16-24; Pls' Statement Ex.        employ the tautological argument, “no use of force was
12 at 47, lines 8-10. This claim, however, suffers from many       permitted because none was required.” Pls' Mem. at 13. The
of the same defects that the Plaintiffs' other causes of action    standard articulated by the Supreme Court, however, is not
suffer. Plaintiffs have neither provided sufficient evidence to    whether force was required, but rather whether the use of
establish that the Defendant was personally involved in the


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                                                                      motion for summary judgment when plaintiff suffered from
force was reasonable under the circumstances as presented
                                                                      post-concussive syndrome).
to the officers at the time of arrest. Graham, 490 U.S. at
396. As has been quoted numerous times when assessing
                                                                      Because the Plaintiffs have failed to produce the requisite
excessive force causes of action, “[n]ot every push or shove,
                                                                      proof required to establish a “genuine issue of material
even if it may later seem unnecessary in the peace of a judge's
                                                                      fact” regarding their claims of excessive force against the
chambers, violates the Fourth Amendment.” Id. (internal
                                                                      Defendant, the Defendant's motion for summary judgment on
citations omitted).
                                                                      the claim for excessive force must be granted.
Plaintiffs' claim that the Defendant exerted “gratuitous and
unnecessary” force during the course of their arrest cannot
withstand Defendant's motion for summary judgment. While                                     CONCLUSION
Plaintiffs may have been lifted in an unconventional manner,
they have failed to show that such action was any more                For the foregoing reasons, I grant the Defendant's motion for
than de minimis force exerted during the course of an                 summary judgment in its entirety. Accordingly, I deny the
arrest following the raid of a suspected drug trafficking             Plaintiffs' cross-motion for summary judgment.
locale. See, e.g. Roundtree v. N.Y., 778 F. Supp 614, 622-23
                                                                           SO ORDERED
(E.D.N.Y.1991) (defendant's motion for summary judgment
on claim of excessive force proper when plaintiff suffered no
physical injuries and required no medical attention); but see,        All Citations
Maxwell v. City of New York, 380 F.3d 106, 109 (2d Cir.2004)
(allowing an excessive force claim to survive defendant's             Not Reported in F.Supp.2d, 2005 WL 2482549

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                                                                    was suspended. Gonzalez was then arrested for operating
                                                                    a vehicle with a suspended license. Plaintiff claims that he
     KeyCite Yellow Flag - Negative Treatment                       was “dragged to the front of the police vehicle, slammed
Disagreement Recognized by Stefanopoulos v. City of New York,
                                                                    against the hood of the vehicle and forcibly handcuffed by
E.D.N.Y., February 28, 2005
                                                                    P.O. Ryder ... then thrown in the back of the police vehicle.”
                     2000 WL 516682                                 Pl. Mem. at 2. At no time did plaintiff resist the arrest.
      Only the Westlaw citation is currently available.
       United States District Court, E.D. New York.                 Initially, plaintiff was rear-handcuffed. Shortly thereafter,
                                                                    plaintiff complained that the handcuffs hurt his wrists.
              Juan GONZALEZ Plaintiff,                              According to Officers Ryder and Stevens, plaintiff's
                           v.                                       handcuffs were adjusted so that his hands were in front of
    THE CITY OF NEW YORK, New York City Police                      him to relieve his discomfort. Ryder Dep at 38; Stevens Dep
     Department, and P.O. Joseph Ryder, Defendants.                 at 47-48. Plaintiff denies this took place. He maintains that
                                                                    until he was processed, which was a couple of hours after
                        No. 98-CV-3084.                             his arrest, he remained rear-handcuffed. Gonzalez 50-H Tr.
                                |                                   at 54. Plaintiff asserts that during that time, he continued to
                         March 7, 2000.                             complain about his wrists, but the officers refused to loosen
                                                                    the handcuffs. Gonzalez EBT Tr. at 62.


               MEMORANDUM AND ORDER                                 Plaintiff also alleges that when police could not start his car,
                                                                    he “was dragged out of the police vehicle and placed in his car
GLASSER, J.                                                         [and after he started it] he was then taken out of his vehicle
                                                                    and thrown back into the police vehicle.” Pl. Mem at 3.
 *1 This is a civil rights action brought by plaintiff Juan
Gonzalez (“Gonzalez”) pursuant to 42 U.S.C. § 1983 against
                                                                    The officers brought Gonzalez to the 61 st precinct, where the
defendant Police Officer Joseph Ryder (“Ryder”). Gonzalez
                                                                    arrest was processed. His handcuffs were eventually removed.
has also brought pendent state law claims for false arrest, false
                                                                    He claims that at that time he noticed scrapes and bruises
imprisonment, assault, and battery against Officer Ryder and
                                                                    on his wrists. Plaintiff mentioned these bruises in his 50-
the City of New York (the “City”). The Police Department
                                                                    H testimony, but did not refer to them in his deposition.
of the City of New York was dismissed from this action
                                                                    Gonzalez 50-H Tr. at 56.
on August 18, 1999 and plaintiff has withdrawn his Monell
claims against the City. Defendants now move for summary
                                                                    P.O. Ryder re-handcuffed Gonzalez and took him to Central
judgment. For the reasons stated below, that motion is granted
                                                                    Booking. Gonzalez contends that again the handcuffs were
in part and denied in part.
                                                                    too tight, he complained, and was ignored. Gonzalez EBT Tr.
                                                                    at 97-99. According to Gonzalez, it took about fifty minutes
                                                                    to get to Central Booking. Id. at 99. There, according to
                       BACKGROUND                                   defendants, a brief medical screening was conducted. The
                                                                    report of that screening indicates that plaintiff did not report
In the afternoon on May 4, 1997, plaintiff was driving on           that he was sick and did not complain of any injuries.
Coney Island Avenue in Brooklyn, New York. Plaintiff was            Central Booking Medical Screening Report, Cohen Dec. Ex.
pulled over by Police Officers Ryder and Stevens because his        G. Gonzalez testified that he does not recall receiving a
car had a heavy tinted plastic covering over his rear taillights,   medical screening at Central Booking. Gonzalez EBT Tr. at
which is a violation of the New York Vehicle and Traffic            110, 229-30. After spending a night in a cell, Gonzalez made
Law. According to plaintiff, he was not informed of the reason      his first appearance before the State Court and received an
he was stopped, nor was he issued a summons or a ticket.            adjournment contemplating dismissal concerning his arrest.
Officer Stevens asked plaintiff for his driver's licence, car       Cohen Dec. Ex. F.
registration, and insurance card and he produced a temporary
license that had expired in 1991. Officer Ryder checked the         *2 One week after being released from custody, Gonzalez
status of plaintiff's driver's license and discovered that it       went to Coney Island Hospital because of pain in his right



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wrist, hand, index finger, thumb, and arm. Hospital Record                     out of doors unescorted and becomes
dated May 12, 1999, Pl.Ex. J. Since that time, Gonzalez                        panicky any time he sees a uniformed
has had several medical examinations and received physical                     policeman.
therapy on a number of occasions. Gonzalez EBT Tr. at
175-76. He claims that his hand is injured as a result of the
incident and that he still cannot grip or hold anything in his   Pl.Ex. H.
right hand for more than two minutes. Id. at 191.

Dr. Irving Friedman, a neurologist, examined Gonzalez four
                                                                                          DISCUSSION
times between January 29, 1999 and October 15, 1999. In his
affidavit, Dr. Friedman states that based on his examination
                                                                 I. Summary Judgment Standard
and testing of the plaintiff, and on medical records that were
                                                                 Summary judgment under Rule 56 is proper “if the pleadings,
created after plaintiff's arrest, he believes:
                                                                 depositions, answers to interrogatories, and admissions on
                                                                 file together with the affidavits, if any, show that there is no
                                                                 genuine issue as to any material fact and that the moving party
            [a]s a result of the blunt trauma and                is entitled to judgment as a matter of law.” See Celotex Corp.
            the excessively tight handcuff, Mr.                  v. Catrett, 477 U.S. 317, 322 (1986). The moving party bears
            Gonzalez sustained serious injuries                  the burden of proof on such motion. See United States v. All
            including post-traumatic right radial                Funds, 832 F.Supp. 542, 550-51 (E.D.N.Y.1993).
            nerve palsy ... tear of the tendon of
            the right index finger ... chronic pain              If the summary judgment movant satisfies its initial burden
            syndrome, post-traumatic right wrist                 of production, the burden of proof shifts to the nonmovant
            arthropathy ... [and] post-traumatic                 who must demonstrate that a genuine issue of fact exists
            stress disorder ... It is also my opinion            for trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250
            that the prognosis for the right hand                (1986). A genuine factual issue exists if there is sufficient
            injury is poor and as of the date of                 evidence favoring the nonmovant such that a jury could return
            my last examination on October 15,                   a verdict in its favor. Id. The nonmoving party “must do more
            1999, Mr. Gonzalez had limited use of                than simply show that there is some metaphysical doubt as
            his right hand. Mr. Gonzalez remains                 to the material facts.” Matsushita Elec. Indus. Co., Ltd., v.
            with a significant and painful disability            Zenith Radio Corp., 475 U.S. 574, 586 (1986). Rule 56(e)
            at the [sic] as a result of the injuries             “requires the nonmoving party to go beyond the pleadings
            sustained on May 4, 1997.                            and by [its] own affidavits, or by the ‘depositions, answers
                                                                 to interrogatories, and admissions on file,’ designate ‘specific
                                                                 facts showing that there is a genuine issue for trial.” ’ Celotex,
Pl.Ex. G.                                                        477 U.S. at 324. Once the nonmovant has adduced evidence of
                                                                 a genuine issue of material fact, its “allegations [will be] taken
Richard Trachtman Ph.D., the Clinical Supervisor at the          as true, and [it] will receive the benefit of the doubt when
Jewish Board of Family and Children's Services, Inc., wrote      [its] assertions conflict with those of the movant.” Samuels v.
to plaintiff's counsel in October 1999 that Mr. Gonzalez is      Mockry, et al., 77 F.3d 34, 26 (2d Cir.1996).
being treated weekly with psychotherapy and medication:

                                                                 II. False Arrest and False Imprisonment
                                                                  *3 Probable cause is a complete defense to an action for false
            He reports suffering almost daily
                                                                 arrest or false imprisonment, under both federal and state law.
            flashbacks to a period when he was
                                                                 Weyant v. Okst, 101 F.3d 845, 852 (2d Cir.1996); Singer v.
            arrested and, allegedly, treated harshly
                                                                 Fulton County Sheriff, 63 F.3d 110, 118 (2d Cir.1995) cert
            by police. He spends most of his days
                                                                 denied, 517 U.S. 1189 (1996); Caracciola v. City of New York,
            isolated in a room with a dog where
            he feels safe. He reports crying often.              No. 95 Civ. 3896 CSH, 1999 WL 144481 * 6 (S.D.N.Y. March
            He finds it exceedingly difficult to go              17, 1999); Quigley v. City of Auburn, 701 N.Y.S.2d 580. 581



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(4 th Dep't 1999). “Probable cause is established when the        Section 140.10(1)(a) of N.Y.Crim. Proc. provides that a police
arresting officer has knowledge or reasonably trustworthy         officer may make an arrest without a warrant “when he has
information sufficient to warrant a person of reasonable          reasonable cause to believe that such a person has committed
caution in the belief that an offense has been committed by the   such offense in his presence.” Gonzalez was driving while
person to be arrested.” Singer 63 F.3d at 118; see also Weyant    suspended in the presence of Officer Ryder. Therefore, there
101 F.3d at 852.                                                  was probable cause for plaintiff's arrest and his claims for
                                                                  false arrest and false imprisonment under both federal and
In the present case, plaintiff was stopped because his car's      state law are dismissed.
taillights were covered by a heavy tinted plastic covering.
In New York, a car must have taillights, each of which are
                                                                  III. Plaintiff's § 1983 Excessive Force Claim
“red to amber” and each one must be visible from at least
                                                                  Section 1983 of Title 42 provides a civil claim for damages
five hundred feet. N.Y. Veh. & Traf. Law (“VTL”) § 375
                                                                  against any person who, acting under color of state law,
(McKinney 1999). 1 Plaintiff was then arrested because it         deprives another of a right, privilege or immunity secured by
was discovered that he was driving with a suspended license,      the Constitution or the laws of the United States. See Sykes v.
which is a misdemeanor. VTL § 511 (McKinney 1999) . 2             James, 13 F.3d 515, 519 (2d Cir.1993) cert. denied, 512 U .S.
                                                                  1240 (1994). Plaintiff alleges in his Complaint that defendants
1                                                                 used excessive force against him in violation of the Fourth
       N.Y. VTL § 375(40)(b) reads:
         Every motor vehicle, except a motorcycle,                Amendment See Graham v. Connor, 490 U.S. 386, 395 n. 10
         operated or driven upon the public highways              (1989).
         of the state, if manufactured on or after
         January first, nineteen hundred fifty-two, shall         Police are privileged to use reasonable force to effectuate
         be equipped with at least two stop lamps, one on         an arrest and to protect themselves from injury and dangers
         each side, each of which shall display a red to          posed by an escapee. N.Y. Penal Law § 35.30 (McKinney
         amber light visible at least five hundred feet from      1998); 3 Graham, 490 U.S. at 396 (“Our Fourth Amendment
         the rear of the vehicle when the brake of such           jurisprudence has long recognized that the right to make an
         vehicle is applied.                                      arrest or investigatory stop carries with it the right to use some
                                                                  degree of physical coercion or threat thereof to effectuate
2      N.Y. Veh. & Taf. Law § 511                                 it.”) The reasonableness of the use of force must be judged
         1. Aggravated unlicensed operation of a motor            from the perspective of “a reasonable officer at the scene.”
         vehicle in the third degree.                             Id. “Not every push and shove, even if it may later seem
         (a) A person is guilty of the offense of aggravated      unnecessary in the peace of a judge's chambers ... violates the
         unlicensed operation of a motor vehicle in the           Fourth Amendment.” Id. (citing Johnson v. Glick, 481 F.2d
         third degree when such person operates a motor           1028. 1033 (2d Cir.) cert. denied, 414 U.S. 1033 (1973)).
         vehicle upon a public highway while knowing
         or having reason to know that such person's              3       N.Y. Penal Law § 35.30 reads in part:
         license or privilege of operating such motor
                                                                            Justification; use of physical force in making an
         vehicle in this state or privilege of obtaining
                                                                            arrest or in preventing an escape
         a license to operate such motor vehicle issued
                                                                            1. A police officer or a peace officer, in the
         by the commissioner is suspended, revoked or
                                                                            course of effecting or attempting to effect an
         otherwise withdrawn by the commissioner.
                                                                            arrest, or of preventing or attempting to prevent
         (b) Aggravated unlicensed operation of a motor
                                                                            the escape from custody, of a person whom
         vehicle in the third degree is a misdemeanor.
                                                                            he reasonably believes to have committed an
         When a person is convicted of this offense, the
                                                                            offense, may use physical force when and to
         sentence of the court must be: (i) a fine of not
                                                                            the extent he reasonably believes such to be
         less than two hundred dollars nor more than five
                                                                            necessary to effect the arrest, or to prevent the
         hundred dollars; or (ii) a term of imprisonment
                                                                            escape from custody, or to defend himself or a
         of not more than thirty days; or (iii) both such
                                                                            third person from what he reasonably believes to
         fine and imprisonment.
                                                                            be the use or imminent use of physical force ...



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 *4 If a plaintiff sustains an injury during an arrest, this
                                                                     Plaintiff did not seek immediate medical assistance. One
is a relevant factor for the court in considering whether the
                                                                     week after his arrest he went to the Coney Island Hospital
force used was reasonable. However, reasonable force does
                                                                     complaining about his right wrist and hand. Plaintiff's medical
not become unconstitutional merely because it caused the
                                                                     expert testified that plaintiff suffered serious injuries resulting
plaintiff serious injury. Hudson v. McMillian, 503 U.S. 1, 7
                                                                     from his arrest on May 4, 1997. It is true that Dr. Friedman did
(1992).
                                                                     not examine plaintiff until more than a year after his arrest.
                                                                     Moreover, Dr. Friedman conceded that the MRI of plaintiff's
Courts have found that handcuffing can give rise to a §
                                                                     wrist showed that it was normal, and admitted that he relied
1983 excessive force claim where plaintiff suffers an injury
                                                                     exclusively on information from plaintiff and medical records
as a result. See Simpson v. Saroff, 741 F.Supp. 1073, 1078
                                                                     subsequent to May 4, 1997. Friedman Dep. at 38, 55-56, 61,
(S.D.N.Y.1990) (plaintiff had swollen and bleeding wrists
                                                                     63-65. Although these facts raise issues as to the credibility
from the tight handcuffs, as well as a faintly detectable scar on
                                                                     of plaintiff's expert, that is a matter that for the jury to decide.
her left wrist from the incident). However, if the application
of handcuffs was merely uncomfortable or caused pain, that
                                                                      *5 Viewing these facts in a light most favorable to Gonzalez,
is generally insufficient to constitute excessive force. See
                                                                     a factual dispute does exist as to whether Officer Ryder
Brumfield v. Jones, 849 F.2d 152, 156 (5 th Cir.1988); Van
                                                                     used excessive force and unreasonably caused injury to the
Houten v. Baughman, 663 F.Supp 887, 891 (C.D.Ill.1987).
                                                                     plaintiff.

“The Fourth Amendment inquiry is an exclusively objective
                                                                     Under the “reasonableness standard” of the Fourth
one, and requires consideration of the severity of the crime
                                                                     Amendment, Officer Ryder is not entitled to qualified
at issue, whether the suspect poses an immediate threat to
                                                                     immunity. Assuming Gonzalez's version of events is true, no
the safety of the officers or others, and whether the suspect
                                                                     reasonable officer could believe that the abusive application
is actively resisting arrest or attempting to evade arrest by
                                                                     of handcuffs was constitutional, given the fact that he
flight.” Hemphill v. Schott, 141 F.3d 412, 417 (2d Cir.1998)
                                                                     did not resist arrest. See Palmer v. Sanderson, 9 F.3d
(citing Graham, 490 U .S. at 396, 109 S.Ct. at 1872). In the
                                                                     1433, 1436 (9 th Cir.1993) (defendants not entitled to
present case, plaintiff was not charged with a serious crime,
                                                                     qualified immunity where officer refused to loosen plaintiff's
did not pose a threat to the safety of the officers, and was not
                                                                     handcuffs, resulting in bruises that lasted for several
resisting arrest. Officer Ryder testified that Gonzalez was a
                                                                     weeks); Quesinberry v. Rouppasong, 331 S.C. 589, 587
“gentleman,” Ryder Dep. at 68, and Officer Steven stated that
                                                                     (S.C.S.C.1998) (qualified immunity denied where plaintiff
he did not resist arrest. Stevens Dep. at 71.
                                                                     repeatedly claimed handcuffs were too tight and was later
                                                                     diagnosed with carpal tunnel syndrome.) Therefore summary
Plaintiff's version of the events on the day he was arrested,
                                                                     judgment as to plaintiff's § 1983 claim against Officer Ryder
along with the medical evidence he has put forward, raises a
                                                                     is denied.
genuine issue of fact for trial. If he is believed, plaintiff, who
was undisputedly not resisting arrest, was dragged to the front
of the police car, slammed against the hood of the vehicle and
forcibly handcuffed by Officer Ryder. He was placed in very                                   CONCLUSION
tight handcuffs for more than two hours, first, up until the
                                                                     For the reasons stated above, defendants' motion for summary
time he was taken to the 61 st precinct, and then when he
                                                                     judgment is granted with respect to the claims of false
was taken to Central Booking. During that time, he repeatedly
                                                                     imprisonment and false arrest under both federal and state
complained that his wrists hurt and asked that the handcuffs
                                                                     law. Summary judgment is denied as to plaintiff's § 1983
be loosened, but was ignored. As a result, he sustained serious
                                                                     claim against Ryder for excessive force and his state law
injury to his right hand.
                                                                     claims for assault and battery.
Defendants respond that plaintiff initially did complain
about his handcuffs, but they were quickly adjusted and no           All Citations
further complaints were made. They assert that plaintiff was
handcuffed for less time than he alleges. They also question         Not Reported in F.Supp.2d, 2000 WL 516682
the existence and seriousness of plaintiff's injuries.


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                                                                        District Judge Gary L. Sharpe dismissed certain
                    2019 WL 7500501                                     claims with and without prejudice. See Dkt.
      Only the Westlaw citation is currently available.                 No. 4. The Court dismissed plaintiff's Fourteenth
       United States District Court, N.D. New York.                     Amendment Due Process and Equal Protection
                                                                        Claims. See Dkt. Nos. 1, 4. Further, Judge Sharpe's
           Richard H. LIVINGSTON, Plaintiff,                            Decision and Order dismissed plaintiff's claims
                          v.                                            insofar as plaintiff sought monetary damages
         William HOFFNAGLE, et al., Defendants.                         against defendants in their official capacity
                                                                        pursuant to 28 U.S.C. § 1915(e) and 28 U.S.C. §
                No. 9:19-CV-0353 (GLS/CFH)                              1915(A) as barred by the Eleventh Amendment.
                              |                                         See Dkt. No. 4 at 8.
                      Signed 11/08/2019                          Presently pending before the Court is defendants’ motion to
                                                                 dismiss pursuant to Rule 12(b)(6) of the Federal Rules of
Attorneys and Law Firms
                                                                 Civil Procedure (“Fed. R. Civ. P.”). See Dkt. No. 12. Plaintiff
Richard H. Livingston, 326 N. Beech Street, Syracuse, New        did not file a response. 4 For the reasons that follow, it is
York 13207, Plaintiff pro se.                                    recommended that defendants’ motion be granted in part and
                                                                 denied in part.
OF COUNSEL: CHRISTOPHER J. HUMMEL, ESQ. 1 ,
Assistant Attorney General, Attorney General for the State of    4      In lieu of filing a response, plaintiff submitted
New York, The Capitol, Albany, New York 12224, Attorney
                                                                        a letter stating that he relied “solely” on a
for Defendants.
                                                                        previous report and recommendation in a separate
1                                                                       case arising out of largely the same facts
       The undersigned bears no relation to counsel for                 and circumstances as alleged herein in which
       defendants.                                                      Magistrate Judge Peebles recommended granting
                                                                        defendants’ motion to dismiss plaintiff's prior
                                                                        complaint on the basis that plaintiff failed to
                                                                        exhaust administrative remedies, but “note[d] that
    REPORT-RECOMMENDATION AND ORDER 2
                                                                        ‘the outcome could very well have been different if
2                                                                       plaintiff had, in fact, permitted the thirty-day period
       This matter was referred to the undersigned for
                                                                        to elapse prior to commencing [that] suit.” Dkt. No.
       Report-Recommendation and Order pursuant to 28
                                                                        14 (quoting Livingston v Hoffnagle et al., 9:17-
       U.S.C. § 636(b) and N.D.N.Y.L.R. 72.3(c).
                                                                        CV-1158 (MAD/DEP), Dkt. No. 28 at 18 n.11).

CHRISTIAN F. HUMMEL, U.S. MAGISTRATE JUDGE
                                                                                        I. Background
 *1 Plaintiff pro se Richard H. Livingston (“Plaintiff”), an
inmate who was, at all relevant times, in the custody of the
New York State Department of Corrections and Community                      A. Plaintiff's Recitation of the Facts
Supervision (“DOCCS”), brings this action pursuant to 42
U.S.C. § 1983, alleging that defendants Correctional Sergeant    The facts are related herein in the light most favorable to
(“Sgt.”) William Hoffnagle, Correction Officer (“C.O.”)          plaintiff as the non-moving party. See section II.A. infra. At
Dustin Hollenbeck, and C.O. Chris King—who, at all               all times relevant to this complaint, plaintiff was incarcerated
relevant times were employed at Upstate Correctional Facility    at Great Meadow Correctional Facility (“Great Meadow”).
(“Upstate”)—violated his constitutional rights under the First   See generally Compl. On August 1, 2017, plaintiff was
                                                                 transferred from Clinton Correctional Facility (“Clinton”) to
and Eight Amendments. See Dkt. No. 1 (“Compl.”). 3
                                                                 Upstate, 5 where he was to be housed in solitary confinement
3                                                                for six months as a result of his involvement in an altercation
       Following initial review of plaintiff's complaint         with another inmate at Clinton. See Compl. at 5 ¶ 8; Dkt. No.
       pursuant to 28 U.S.C. § 1915(e)(2)(B), Senior             1-1 at 2. Upon his arrival to Upstate, plaintiff requested that



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Sgt. Hoffnagle, the area supervisor, place him in protective          On September 25, 2017, plaintiff's grievance was denied.
custody because “he was in fear for his life and safety” as           See Dkt. No. 1-1 at 10-11. Plaintiff appealed the denial to
a result of the prior altercation, which he characterized as a        Central Office Review Committee (CORC). See id. at 12.
“gang attack.” Compl. at 5 ¶ 8. According to plaintiff, the           On December 12, 2018, CORC denied plaintiff's appeal as
inmate with whom he had engaged in an altercation at Clinton          without merit. See id. at 16.
was a gang member and had initiated the fight with plaintiff.
See id. However, plaintiff “had gotten the best of” him,
which plaintiff believed became widely known throughout
DOCCS. Id. Therefore, plaintiff asserts, he was worried that                                  II. Discussion 6
a gang member at Upstate would retaliate against him. See id.
                                                                      6
Plaintiff alleges that, in response to his request for protective             All unpublished opinions cited in this Report-
custody, Sgt. Hoffnagle directed his two subordinates, C.O.                   Recommendation and Order, unless otherwise
Hollenbeck and C.O. King, “to dissuade” plaintiff from                        noted, have been provided to plaintiff.
requesting protective custody. Id. at 12 ¶ 45.

                                                                                     A. Legal Standard for Motions
5       Upstate is a maximum security prison comprised                             Pursuant to Fed. R. Civ. P. 12(b)(6)
        exclusively of special housing unit (“SHU”) cells
        in which inmates are confined for twenty-three                Under Fed. R. Civ. P. 12(b)(6), a defendant may move
        hours each day, primarily for disciplinary reasons.           to dismiss a complaint for a plaintiff's “failure to state a
        Samuels v. Selsky, No. 01-CV-8235 (AGS), 2002                 claim upon which relief can be granted.” When considering
        WL 31040370, at *4 n.11 (S.D.N.Y. Sept. 12,                   such a motion, a court must “construe plaintiff[’s] complaint
        2002).                                                        liberally, accepting all factual allegations in the complaint
                                                                      as true, and drawing all reasonable inferences in plaintiff[’s]
 *2 Plaintiff states that defendants “tortured” him by locking
                                                                      favor.” Selevan v. N.Y. Thruway Auth., 584 F.3d 82, 88 (2d
him in a holding cell, “chained and handcuffed tightly,” with
                                                                      Cir. 2009) (quoting Holmes v. Grubman, 568 F.3d 329, 335
no food, water, or bathroom access between 1:00 P.M. and
                                                                      (2d Cir. 2009)) (internal quotation marks omitted). However,
6:30 P.M. Id. at 9 ¶ 39, 5 ¶ 12. He asked defendants “over
                                                                      this “tenet is inapplicable to legal conclusions, and threadbare
10 times” to loosen his chains and handcuffs, for water, and
                                                                      recitals of the elements of a cause of action, supported by mere
to use the bathroom “for relief,” but defendants ignored his
                                                                      conclusory statements, do not suffice.” Harris v. Mills, 572
requests. Id. at 6 ¶ 13, 10 ¶ 40. Between 5:30 P.M. and 6:30
                                                                      F.3d 66, 72 (2d Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S.
P.M., plaintiff “threaten[ed] to file grievances and lawsuits”
                                                                      662, 664 (2009)) (internal quotation marks and alterations
against defendants based on “constitutional violations.” Id. at
                                                                      omitted).
6 ¶ 15. In response, C.O. King told plaintiff that “the Sgt.
wants to write plaintiff a ticket” and that “he was instructed
                                                                      Accordingly, to survive a motion to dismiss, a complaint must
to write a misbehavior report” based on plaintiff's “refus[al]
                                                                      state a claim for relief that is “ ‘plausible on its face.’ ” Iqbal,
of a direct order to lock into a cell,” which plaintiff denies,
                                                                      556 U.S. at 678 (quoting Bell Atlantic Corp. v. Twombly,
stating that “this was not the case.” Id. at 6 ¶¶ 17, 18.
                                                                      550 U.S. 544, 570 (2007) (explaining that the plausibility
Sometime between 6:00 p.m. and 6:30 p.m., plaintiff was
                                                                      test “does not impose a probability requirement ... it simply
placed in a cell with a “violent gang banger,” purportedly in
                                                                      calls for enough fact to raise a reasonable expectation that
contravention of DOCCS Directive No. 4003B, and given a
                                                                      discovery will reveal evidence of illegal [conduct].”)); see
tray of food that was “freezer cold.” Id. at 6 ¶ 20. Plaintiff
                                                                      also Arar v. Ashcroft, 585 F.3d 559, 569 (2d Cir. 2009)
states that he was housed with this inmate as “punishment”
                                                                      (holding that “[o]n a motion to dismiss, courts require enough
for requesting protective custody. Id. at 6 ¶ 20, 7 ¶ 22. Plaintiff
                                                                      facts to state a claim to relief that is plausible....”) (internal
alleges that being housed with this “gang member” caused
                                                                      quotation marks and citation omitted). Determining whether
him “psychological pain” and loss of “sleep for days in fear
                                                                      plausibility exists is “a context-specific task that requires
of his life.” Id. at 11 ¶ 43.
                                                                      the reviewing court to draw on its judicial experience and
                                                                      common sense.” Iqbal, 556 U.S. at 679.
On August 3 and August 7, 2017, plaintiff filed two nearly
identical grievances concerning the events that occurred
on August 1, 2017. See id. at 7; Dkt. No. 1-1 at 4, 5.


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Where, as here, a party seeks judgment against a pro se
litigant, a court must afford the non-movant special solicitude.
                                                                                           1. Excessive Force
See Treistman v Fed. Bureau of Prisons, 470 F.3d 471, 477
(2d Cir. 2006). As the Second Circuit stated,                         Plaintiff alleges that defendants used excessive force in
                                                                      violation of his Eighth Amendment rights by applying his
                                                                      chains and handcuffs too tightly. Compl. at 10 ¶¶ 12, 41.
             [t]here are many cases in which we                       Plaintiff states that the tightness of the chains and handcuffs
             have said that a pro se litigant is                      caused “soreness.” Id. at 10 ¶ 41. He further contends that
             entitled to special solicitude, that a                   he “asked over 10 times” for his handcuffs and chains to be
             pro se litigant's submissions must                       loosened and “continued to complain about the tightness and
             be construed liberally, and that such                    soreness for [six] hours,” but defendants refused to loosen
             submissions must be read to raise the                    the chains and handcuffs. See id. at 6 ¶ 14. He alleges that
             strongest arguments that they suggest.                   the chains and handcuffs were applied tightly in order to
             At the same time, our cases have                         make him “break[ ] down and forget about wanting protective
             also indicated that we cannot read                       custody.” Compl. at 9 ¶ 37. Defendants argue that plaintiff has
             into pro se submissions claims that                      failed to state a claim for excessive force because plaintiff's
             are not consistent with the pro se                       alleged injury is de minimis for constitutional purposes. See
             litigant's allegations, or arguments that                Dkt. No. 12-1 at 5.
             the submissions themselves do not
             suggest, that we should not excuse                       Claims that prison officials applied restraints too tightly
             frivolous or vexatious filings by pro                    are analyzed under the Eighth Amendment as claims of
             se litigants, and that pro se status does                excessive force. See Davidson v. Flynn, 32 F.3d 27, 30 (2d Cir.
             not exempt a party from compliance                       1994). To bring a claim of excessive force under the Eighth
             with relevant rules of procedural and                    Amendment, a plaintiff must establish both objective and
             substantive law....                                      subjective elements. See Blyden v. Mancusi, 186 F.3d 252,
                                                                      262 (2d Cir. 1999). The objective element is “responsive to
                                                                      contemporary standards of decency” and requires a showing
 *3 Id. (internal quotation marks, citations, and footnote            “that the injury actually inflicted [is] sufficiently serious
omitted); see also Sealed Plaintiff v Sealed Defendant #1, 537        to warrant Eighth Amendment protection.” Hudson, 503
F.3d 185, 191 (2d Cir. 2008) (“On occasions too numerous              U.S. at 8 (internal quotation marks and citation omitted);
to count, we have reminded district courts that when [a]              Blyden, 186 F.3d at 262. “Not every push or shove, even
plaintiff proceeds pro se, ... a court is obligated to construe his   if it may later seem unnecessary in the peace of a judge's
pleadings liberally.”) (internal quotation marks and citations        chambers, violates a prisoner's constitutional rights.” Sims,
omitted).                                                             230 F.3d at 22 (internal quotation marks, alteration, and
                                                                      citation omitted). However, “the malicious use of force to
                                                                      cause harm[ ] constitute[s] [an] Eighth Amendment violation
                                                                      per se” regardless of the seriousness of the injuries. Blyden,
                    B. Eighth Amendment                               186 F.3d at 263 (citing Hudson, 503 U.S. at 9). “The Eighth
                                                                      Amendment's prohibition of cruel and unusual punishments
Inmates enjoy an Eighth Amendment protection against the
                                                                      necessarily excludes from constitutional recognition de
use of excessive force and may recover damages for its
                                                                      minimis uses of physical force, provided that the use of force
violation under § 1983. Hudson v. McMillian, 503 U.S. 1,
                                                                      is not of a sort repugnant to the conscience of mankind.”
9-10 (1992). The Eighth Amendment's prohibition against
                                                                      Hudson, 503 U.S. at 9-10 (internal quotation marks and
cruel and unusual punishment precludes the “unnecessary and
                                                                      citations omitted). “The absence of serious injury is therefore
wanton infliction of pain.” Sims v. Artuz, 230 F.3d 14, 20
                                                                      relevant to the Eighth Amendment inquiry, but does not end
(2d Cir. 2000) (quoting Gregg v. Georgia, 428 U.S. 153, 173
                                                                      it.” Id. at 7.
(1976)).

                                                                      The subjective element requires a plaintiff to demonstrate
                                                                      the “necessary level of culpability, shown by actions



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characterized by wantonness.” Sims, 230 F.3d at 21 (internal                      cause of action for an Eighth
quotation marks and citations omitted). Thus, the key inquiry                     Amendment violation: the handcuffs
into a claim of excessive force is “whether force was applied                     were allegedly placed on the plaintiff
in a good-faith effort to maintain or restore discipline, or                      too tightly, leading to serious
maliciously and sadistically [to] cause[ ] harm.” Hudson, 503                     and permanent physical injury (the
U.S. at 7 (internal quotation marks and citations omitted);                       objective component), and such
see also Wilkins v. Gaddy, 559 U.S. 34, 37 (2010) (per                            excessive force was applied to the
curiam) (Observing that the Supreme Court has emphasized                          plaintiff wantonly and maliciously in
that the nature of the force applied is the “core judicial                        retaliation for being a litigious inmate
inquiry” in excessive force cases—“not whether a certain                          (the subjective component).
quantum of injury was sustained.”) (internal quotation marks
and citation omitted). In determining whether defendants
acted in a malicious or wanton manner, the Second Circuit has        Id. at 30 (internal quotation marks and brackets omitted).
identified five factors to consider:
                                                                     By contrast, courts routinely dismiss claims of excessive force
                                                                     based on tight handcuffing where an inmate asserts only a de
              *4 the extent of the injury and the                    minimis injury without plausible allegations of wantonness
             mental state of the defendant[;] ...                    or maliciousness. 7 For instance, in Burroughs v. Mitchell,
             the need for the application of force;                  the Court dismissed a pro se inmate's excessive force claim
             the correlation between that need                       where he alleged only that the defendants “handcuffed him
             and the amount of force used; the                       tightly, which caused cuts to his wrist.” Burroughs v. Mitchell,
             threat reasonably perceived by the                      325 F. Supp.3d 249, 265 (N.D.N.Y. 2018) (internal quotation
             defendants; and any efforts made by                     marks omitted). Similarly, in Burroughs v. Petrone, the Court
             the defendants to temper the severity                   dismissed the pro se inmate's excessive force claim based on
             of a forceful response                                  tight handcuffing where the complaint alleged, without more,
                                                                     that the handcuffs caused “pain, swelling, and bruising.”
                                                                     Burroughs v. Petrone, 138 F. Supp. 3d 182, 213 (N.D.N.Y.
Scott v. Coughlin, 344 F.3d 282, 291 (2d Cir. 2003) (internal        2015) (internal quotation marks and brackets omitted).
quotation marks and citations omitted).
                                                                     7      As defendants observe, some relevant caselaw
“While handcuffs must be reasonably tight to be effective,
                                                                            appears to suggest that, in order to state an Eighth
overly tight handcuffing may constitute excessive force.”
                                                                            Amendment excessive force claim based on tight
Burroughs v Petrone, 138 F. Supp. 3d 182, 213 (N.D.N.Y.
                                                                            restraints, a plaintiff must allege a permanent
2015) (internal quotation marks and citation omitted). For
                                                                            injury. See Dkt. No. 12-1 (citing, among other
example, in Davidson, the plaintiff alleged that correction
                                                                            cases, Burroughs v. Petrone, 138. F. Supp. 3d
officers “placed ... handcuffs and leg irons and waist chain on
                                                                            182, 213 (N.D.N.Y. 2015) (“In the absence of any
[him] so tight as to cut into [his] flesh[,] reduce circulation[,]
                                                                            facts alleging any permanent injury as a result
and cause swelling,” which left a scar on his right ankle and
                                                                            of handcuffing, plaintiff's excessive force claims
numbness in the area, and caused his “wrists [to be] numb for
                                                                            against Weeks, S. King, Melendez, and McKeown
several months afterwards.” Davidson, 32 F.3d at 29. Further,
                                                                            fail to state a cause of action under § 1983.”)).
the plaintiff alleged that the defendants purposefully placed
                                                                            However, many of those cases assess excessive
the handcuffs and chains too tightly in retaliation for filing
                                                                            force claims under the Fourth Amendment. See
lawsuits, and that they refused his requests to loosen the
                                                                            Bourdon v. Roney, No. 9:99-CV-0769 (LEK/
restraints. See id. at 29, 30. The Second Circuit concluded that
                                                                            GLS), 2012 WL 21058177, at * 9-10 (N.D.N.Y.
the plaintiff's complaint in Davidson
                                                                            Mar. 6, 2003) (assessing an arestee's Fourth
                                                                            Amendment excessive force claim arising out of
                                                                            events that occurred during the course of the
             plainly allege[d] both the objective                           plaintiff's arrest); Jackson v. City of New York,
             and subjective components of a


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       939 F. Supp. 2d 219, 231 (E.D.N.Y. 2013) (same);           Moreover, in Wilson v. Woodbourne Corr. Facility, the pro
       Lynch ex rel. Lynch v. City of Mount Vernon, 567           se inmate alleged only that the defendants used excessive
       F. Supp. 2d 459, 468–69 (S.D.N.Y. 2008) (same);            force by applying “handcuffs ... too tightly when escorting
       Layou v. Crews, No. 9:11-CV-0114 (LEK/RFT),                [him].” Wilson v. Woodbourne Corr. Facility, No. 9:11-
       2013 WL 5494062, at *7 (N.D.N.Y. Sept. 30, 2013)           CV-1088 (DNH/ATB), 2012 WL 1377615, at *4 (N.D.N.Y.
       (same). It is well settled that Fourth Amendment           Mar. 21, 2012), report and recommendation adopted sub nom.
       excessive force claims are assessed under the              Wilson v. Depolo, No. 9:11-CV-1088, 2012 WL 1366590
       objective reasonableness standard, which does              (N.D.N.Y. Apr. 19, 2012). Noting the absence of any facts in
       not apply to post-conviction inmates and, unlike           the complaint alleging that the defendant correction officers
       the Eighth Amendment standard that includes                were aware that the restrains were causing pain or that the
       both objective and subjective elements, is an              plaintiff requested the restraints to be loosened, the Court
       “exclusively objective analysis” under which the           concluded that the “[p]laintiff's allegation, without more, ...
       defendant's “intent is irrelevant.” Franks v. New          [wa]s clearly de minimis, and ... certainly not repugnant to
       Rochelle Police Dep't, No. 13-CV-636 (ER), 2015            the conscience of mankind.” Id. (internal quotation marks
       WL 4922906, at *10 (S.D.N.Y. Aug. 18, 2015).               omitted).
       Further, the complaint in the Eighth Amendment
       excessive force case relied on by defendants,              Here, the undersigned finds that plaintiff has sufficiently
       which cites to cases assessing Fourth Amendment            pleaded a per se claim for excessive force because he has
       excessive force claims, lacked allegations of              alleged facts which plausibly suggest that the force asserted
       wantonness, which allowed the court to bypass              was done maliciously for the purpose of causing harm. See
       the subjective analysis and dismiss the Eighth             Hudson, 503 U.S. at 9-10. Although, as defendants correctly
       Amendment excessive force claim on the objective           contend, plaintiff's alleged injury resulting from the “tight”
       prong alone. See Petron, 138 F. Supp. 3d at                handcuffs and chain—“soreness”—is de minimis, Compl.
       213 (dismissing the plaintiff's Eighth Amendment           at 10 ¶¶ 12, 41; see Warren, 2004 WL 1970642, at *8
       excessive force claim where the complaint was              (holding that temporary pain, numbness and swelling as a
       devoid of allegations of malicious force and alleged       result of tight handcuffing was “more than likely to prove
       only a de minimis injury). As discussed in section         de minimis”); Ruggiero v Fisher, No. 15-CV-00962 (RJA/
       II.B.1., “[t]he appropriate test” for assessing an         JJM), 2018 WL 7892966, at *7 (W.D.N.Y. Sept. 27, 2018),
       excessive force claim brought “under the Eighth            report and recommendation adopted sub nom. Ruggiero v.
       Amendment involves both subjective and objective           Fisher, No. 15-CV-962-A, 2019 WL 1438810 (W.D.N.Y. Apr.
       elements.” Blyden v. Mancusi, 186 F.3d 252,                1, 2019 (temporary discomfort resulting from tight restraints
       262 (2d Cir. 1999). Accordingly, this Report-              held to be de minimis), “[t]he absence of serious injury [while]
       Recommendation & Order will apply the test                 relevant to the Eighth Amendment inquiry, ... does not end
       articulated in Blyden.                                     it.” Hudson, 503 U.S. at 7.
 *5 Further, where a pro se inmate's complaint alleged that
overly tight handcuffing caused “pain in his wrists and pain,     Plaintiff alleges that he asked defendants to “loosen the
numbness[,] and swelling in his foot and ankle,” the court        chains and [handcuffs] over ... 10 times,” “complain[ed] about
concluded that the alleged injuries were “more than likely        the tightness and soreness for [six] hours,” that defendants
to prove de minimis.” Warren v. Purcell, No. 03-CV-8736           ignored his “constant pleas and cries to loosen the chains
(GEL), 2004 WL 1970642, at *8 (S.D.N.Y. Sept. 3, 2004).           and [hand]cuffs” and tightly chained and handcuffed him in
However, the court in Warren declined to determine whether        order to make him “break[ ] down and forget about wanting
such injuries were sufficiently serious for purposes of the       protective custody.” Compl. at 6 ¶ 13, 9 ¶ 37. Based on
Eighth Amendment because it concluded that the complaint          these allegations, the undersigned finds that the complaint
failed to satisfy the subjective element, reasoning that the      sufficiently pleads facts plausibly suggesting that the use
complaint did not “attribute[ ] any improper or retaliatory       of force was malicious and done for the purpose to cause
motive to the defendant officers, either in attaching the cuffs   harm. See Griffin v. Crippen, 193 F.3d 89, 91 (2d Cir. 1999)
in ... the first instance, or in failing to loosen them once he   (“[T]he malicious use of force to cause harm constitutes
complained.” Id.                                                  an ‘Eighth Amendment violation per se ... whether or not
                                                                  significant injury is evident.’ ”) (quoting Blyden, 186 F.3d at



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263) (alteration omitted)). Thus, although plaintiff does not      66 (2d Cir. 1994) (quoting Wilson v. Seiter, 501 U.S.
allege that he suffered any significant or permanent injury as     294, 298 (1991) (internal quotation marks omitted)), and
a result of the tight handcuffs and chains, “any or even ...       “contemplate[ ] ‘a condition of urgency, one that may produce
no injuries resulting from the events plaintiff described could    death, degeneration, or extreme pain.’ ” Id. (quoting Nance v.
amount to a per se constitutional violation.” Brown v. Dubois,     Kelly, 912 F.2d 605, 607 (2d Cir. 1990) (Pratt, J. dissenting)).
No. 9:15-CV-1515 (LEK/CFH), 2017 WL 2983305, at *9                 “A substantial risk of serious harm can be demonstrated
(N.D.N.Y. June 16, 2017) (citing Baskerville v. Mulvaney,          where there is evidence of a previous altercation between
411 F.3d 45, 48-49 (2d Cir. 2005)); Cf. Warren, 2004 WL            a plaintiff and an attacker, coupled with a complaint by
1970642, at *8 (officers who placed prisoner in tight restraints   plaintiff regarding the altercation or a request by plaintiff to
did not violate constitution where prisoner suffered temporary     be separated from the attacker.” Gilmore v. Rivera, No. 13-
pain, numbness, and swelling, and no improper or wanton            CV-6955 (RWS), 2014 WL 1998227, at *3 (S.D.N.Y. May 14,
motive was alleged for the officers’ actions).                     2014); see Rivers v. Spinnella, No. 9:09-CV-309 (FJS/RFT),
                                                                   2010 WL 6428486, at *5 (N.D.N.Y. Nov. 4, 2010) (granting
 *6 Accordingly, it is recommended that defendants’ motion         the defendants’ motion for summary judgment where “there
to dismiss on this ground be denied.                               [were] no specific facts, nor even allegations, that indicate
                                                                   the [the d]efendant was aware that [the p]laintiff faced a
                                                                   substantial risk of serious harm until the altercation had
                                                                   already started.”).
                    2. Failure to Protect

Plaintiff next alleges that defendants failed to protect him       As to the subjective prong, the plaintiff must demonstrate
in violation of his Eighth Amendment rights by placing him         that prison officials actually knew of and disregarded an
in a holding cell with a “violent gang member” despite his         excessive risk of harm to the inmate's health and safety.
numerous requests to be placed in protective custody. Compl.       See Farmer, 511 U.S. at 837. The defendant “must both be
at 11 ¶ 42. He further alleges that as a result of being housed    aware of facts from which the inference could be drawn
with this other inmate, he was unable “to sleep for days in        that a substantial risk of serious harm exists, and he must
fear of his life” and experienced “psychological pain.” Id. at     also draw the inference.” Id. The plaintiff must “show that
11 ¶ 43. Defendants argue that plaintiff's claim fails to state    the defendants actually inferred from that disclosure that a
a cause of action for failure to protect because plaintiff “does   substantial risk of serious harm existed.” Murray v. Goord,
not allege that the inmate he was housed with assaulted him[ ]     668 F. Supp. 2d 344, 359 (N.D.N.Y. 2009). Negligence by
or caused any other injury whatsoever.” Dkt. No. 12-1 at 6.        a prison official is insufficient to amount to a constitutional
                                                                   violation. See Hathaway, 37 F.3d at 66.
“The Eighth Amendment requires prison officials to take
‘reasonable measures to guarantee the safety of inmates’ in         *7 As to the objective prong, plaintiff does not allege facts
their custody.” Hayes v. New York City Dep't of Corr., 84          plausibly suggesting that he faced a substantial risk of serious
F.3d 614, 620 (2d Cir. 1996) (citing Farmer v. Brennan,            harm from his cellmate. As urged by defendants, plaintiff
511 U.S. 825, 832-33 (1994)). “[A] state prison guard's            does not claim that the inmate with whom he was housed
deliberate indifference to the consequences of his conduct         on August 1, 2017, threatened or assaulted him in any way.
for those under his control and dependent upon him may             Rather, plaintiff alleges only that he could not sleep for some
support a claim under § 1983.” Morales v. New York                 uncertain amount of time and that he experienced unspecified
State Dep't of Corr., 842 F.2d 27, 30 (2d Cir. 1988).              “psychological pain” as a result of being housed with this
To state a claim for failure to protect under the Eighth           inmate. Compl. at 11 ¶ 43. Such conclusory and speculative
Amendment, a plaintiff must demonstrate that (1) he or she         fears certainly do not “ ‘contemplate[ ] ‘a condition of
was “incarcerated under conditions posing a substantial risk       urgency, ... that may produce death, degeneration, or extreme
of serious harm” (objective prong); and (2) prison officials       pain.’ ” Hathaway, 37 F.3d at 66 (quoting Nance, 912 F.2d
acted with deliberate indifference to that risk and the inmate's   at 607). Further, given the absence of allegations of actual
safety (subjective prong). Farmer, 511 U.S. at 834.                physical injury, plaintiff has failed to satisfy the objective
                                                                   element of the test. See Dzwonczyk v. Syracuse City Police
As to the objective prong, the deprivation must be                 Dep't, 710 F. Supp. 2d 248, 267 (N.D.N.Y. 2008) (“where,
“sufficiently serious,” Hathaway v. Coughlin, 37 F.3d 63,          as here, the plaintiff does not allege that he was assaulted or



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threatened by other inmates, or where plaintiff only alleges       claim under the Eighth Amendment), vacated in part on other
that he was in fear of an assault, a claim for failure to          grounds, 738 F.3d 509 (2d Cir. 2013). Thus, the complaint
protect must be dismissed”); Johnson v. Lynn-Caron, No.            does not sufficiently state a claim for failure to protect against
9:11-CV-386 (GLS/CFH), 2013 WL 5465594, *5 (N.D.N.Y.               defendants. 8
Sept. 30, 2013) (dismissing the plaintiff's failure to protect
claim where the plaintiff did not demonstrate actual physical      8
                                                                           In addition, to the extent that plaintiff also contends
harm); Jamison v. Hayden, No. 9:03-CV9-13 (FJS/DRH),
                                                                           that defendants violated DOCCS Directive 4003B
2008 WL 907316, at *3 (N.D.N.Y. Mar. 31, 2008) (dismissing
                                                                           by housing him with the alleged gang member, it
an inmate's failure to protect claim where the only injury
                                                                           is well settled that “[f]ailure to follow a DOCCS
alleged was “severe stress” in the absence of allegations of
                                                                           Directive does not give rise to a § 1983 claim.”
actual physical injury); Dolberry v. Levine, 567 F. Supp. 2d
                                                                           Alicea v. Maly, No. 9:12-CV-203 (MAD/TWD),
413, 418 (W.D.N.Y. 2008) (dismissing a failure to protect
                                                                           2015 WL 4326114, at *14 n.8 (N.D.N.Y. July
claim where the plaintiff failed to proffer evidence showing
                                                                           14, 2015); see Cabassa v. Gummerson, No. 9:01-
he was subjected to any physical harm); see also Garcia v.
                                                                           CV-1039 (DNH/GHL), 2008 WL 4416411, at *6
Rodriguez, No. 05-CV-5915 (JSR), 2007 WL 2456631, at *2
                                                                           n.24 (N.D.N.Y. Sept. 24, 2008) (violation of a
(S.D.N.Y. Aug. 24, 2007) (holding that even an isolated threat
                                                                           DOCCS Directive does not give the plaintiff a
from one inmate to another that an inmate would “get hurt,”
                                                                           claim under 42 U.S.C. § 1983); see also Ahlers
without any other present or past violent indications between
                                                                           v. Nowicki, No. 9:12-CV-0539 (DNH/RFT), 2014
the two inmates, does not demonstrate a substantial risk of
                                                                           WL 1056935, at *4 (N.D.N.Y. Mar. 18, 2014)
serious harm).
                                                                           (“[C]laims involving the improper adherence to
                                                                           proprietary facility policies are incognizable under
As to the subjective prong, plaintiff fails to contend that
                                                                           § 1983; only rights secured by the Constitution and
defendants actually knew of and disregarded an excessive risk
                                                                           federal law are actionable under § 1983.”).
to his safety. Although plaintiff alleges that he explained to
defendants “his reason for requesting [protective custody]”—        *8 Accordingly, it is recommended that plaintiff's failure to
that he had a general fear of retaliation for the altercation at   protect claim be dismissed.
Clinton—the complaint is devoid of any factual allegations
that he informed defendants that the particular inmate with
whom he was housed at Upstate had a connection to the
                                                                                   3. Conditions of Confinement
inmate involved in the altercation at Clinton, knew of
that incident, posed any specific risk to his safety as a          Reading plaintiff's allegations to raise the strongest arguments
result thereof, or engaged in any threatening or assaultive        they suggest, the complaint alleges that defendants subjected
behavior toward plaintiff. Compl. at 11 ¶ 42. Therefore, the       him to unconstitutional conditions of confinement in violation
complaint fails to allege sufficient factual allegations that      of his Eighth Amendment rights by placing him in a holding
defendants could have “actually inferred from that disclosure      cell for a maximum period of five and one-half hours, during
that a substantial risk of serious harm existed” as a result       which time he was handcuffed, denied access to a bathroom,
of plaintiff's placement with his cellmate. Murray, 668 F.         deprived of food and water, and housed with a “violent gang
Supp. 2d at 359. Indeed, it is well settled that a defendant's     member.” Compl. at 10 ¶ 40, 11 ¶ 43. Defendants argue that
knowledge of a plaintiff's generalized fear of harm is an          the alleged conditions of plaintiff's confinement do not rise
insufficient basis upon which to establish a failure to protect    to the level of an Eighth Amendment violation. See Dkt. No.
claim. See Burns v. Martuscello, No. 9:13-CV-0486 (LEK/            12-1 at 4-6.
CFH), 2015 WL 541293, at *13 (N.D.N.Y. Feb. 10, 2015)
(internal quotation marks omitted) (“Eighth Amendment              “The Constitution does not mandate comfortable prisons, but
failure to protect claims are not to be based on a defendant's     neither does it permit inhumane ones, and it is now settled that
knowledge of a general risk of harm to an inmate.”) (internal      the treatment a prisoner receives in prison and the conditions
quotation marks omitted); see also Hogan v. Fischer, No. 09-       under which he is confined are subject to scrutiny under
CV-6225, 2012 WL 4845609, at *6 (W.D.N.Y. Oct. 10, 2012)           the Eighth Amendment.” Farmer, 511 U.S. at 832 (internal
(holding the failure to protect the plaintiff against a general    quotation marks and citations omitted); see Blyden, 186 F.3d
threat of harm is insufficient to raise a failure to protect       at 263 (“society does not expect or intend prison conditions



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to be comfortable, [and] only extreme deprivations” of basic
human needs “are sufficient to sustain a [conditions of
confinement] claim.”) (internal quotation marks omitted). As
                                                                             i. Handcuffing/Denial of Bathroom Access
with other Eighth Amendment claims, a “plaintiff must satisfy
both an objective ... and subjective test.” Jolly v. Coughlin, 76     *9 “Individuals in custody do not have a constitutional
F.3d 468, 480 (2d Cir. 1996) (citations omitted). Objectively,       right to use the bathroom ... whenever they please.” Treat
the deprivation must be “sufficiently serious [such] that            v. Cent. New York Psychiatric Ctr., No. 9:12-CV-602, 2013
[the inmate] was denied the minimal civilized measure of             WL 6169746, at *2 (N.D.N.Y. Nov. 20, 2013). It is well
life's necessities.” Walker v. Schult, 717 F.3d 119, 125 (2d         settled held that “[t]he temporary deprivation of the right to
Cir. 2013) (internal quotation marks and citation omitted).          use the toilet, in the absence of serious physical harm or
The objective prong can be satisfied where the plaintiff             a serious risk of contamination, does not rise to the level
pleads “conditions [that] either alone or in combination, pose       of an Eighth Amendment violation.” Whitted v. Lazerson,
an unreasonable risk of serious damage to [the inmate's]             No. 96-CV-2746 (AGS), 1998 WL 259929, at *2 (S.D.N.Y.
health.” Darnell v. Pineiro, 849 F.3d 17, 30 (2d Cir. 2017)          May 21, 1998); see Odom v. Keane, No. 95-CV-9941
(quoting Walker, 717 F.3d at 125). There is no “static test” to      (SS), 1997 WL 576088, at *4-5 (S.D.N.Y. Sept. 17, 1997)
determine whether or not an alleged deprivation is sufficiently      (Sotomayor, J.) (concluding that, the absence of a working
serious to satisfy the objective prong. Id. (internal quotation      toilet in prison cell for approximately ten hours, without any
marks omitted). Rather, courts must determine whether the            allegation that the prisoner risked contamination by contact
conditions violate “contemporary standards of decency.” Id.          with human waste, did not rise to the level of cruel and
(quoting Blissett v. Coughlin, 66 F.3d 531, 537 (2d Cir. 1995))      unusual punishment). In the absence of allegations of serious
(additional citation omitted). To satisfy the subjective test,       physical harm or serious risk of contamination, courts have
the inmate must show that “the defendant official acted with         routinely rejected unconstitutional conditions of confinement
a sufficiently culpable state of mind ... such as deliberate         claims where plaintiffs have alleged that they experienced
indifference to [the inmate's] health or safety.” Id. (internal      pain or discomfort and were forced to relieve themselves in
quotation marks and citation omitted); see also Phelps v.            their clothing as a result of waiting to use a bathroom. See
Kapnolas, 308 F.3d 180, 185 (2d Cir. 2002).                          Whitted, 1998 WL 259929, at *2 (finding that the inmate
                                                                     failed to establish an objective injury where he was forced
Unconstitutional conditions of confinement have generally            to wait one and a half hours to use the bathroom, during
been found when the duration of the deprivation is sufficiently      which time he “was forced to hold his bowel movement at
long, or when the deprivation is an ongoing condition of             painful levels, and at times partially urinated and defecated
an inmate's confinement, rather than the result of a single,         in his clothing.”); Gill v Riddick, No. 9:03-CV-1456, 2005
isolated incident. See Hutto v. Finney, 437 U.S. 678, 686-87         WL 755745, at *16 (N.D.N.Y. Mar. 31, 2005) (concluding no
(1978) (“A filthy, overcrowded cell and a diet of grue might         Eighth Amendment violation in the absence of allegations of
be tolerable for a few days and intolerably cruel for weeks          serious injury to the inmate's health as a result of being forced
or months.”) (internal quotation marks omitted); Smith v.            to hold his urine for approximately 70 minutes); Bourdon v.
Copeland, 87 F.3d 265, 269 (8th Cir. 1996) (“[T]he length of         Roney, No. 9:99-CV-0769 (LEK/GLS), 2003 WL 21058177,
time a prisoner is subjected to harsh conditions is a critical       at *30-31 (N.D.N.Y. Mar. 6, 2003) (observing that “[t]he
factor in [an Eighth Amendment] analysis. Conditions such as         standard for analyzing a pre[-]trial detainee's [conditions of
a filthy cell that may be tolerable for a few days are intolerably   confinement] claim is the same as the Eighth Amendment
cruel for weeks or months.” (citations omitted)); Walker v.          standard,” and holding that the pre-trial detainee's allegations
Schriro, No. 11-CV-9299 (JPO), 2013 WL 1234930, at *13               of being deprived of bathroom privileges for a maximum of
(S.D.N.Y. 2013) (allegations that the plaintiff was temporarily      three hours while locked in a hot police car without water
deprived of food, shower, linens, running water or bathroom          “failed to adequately allege that he was denied minimal
were insufficient to state a claim “[g]iven that none of             necessities of civilized life for a substantial period of time”
the[ ] deprivations rose to an acute and conscience-shocking         in violation of his constitutional rights); see also Qawi v.
level, either alone or in combination, the relative brevity of       Howard, No. Civ-A-98-220 (GMS), 2000 WL 1010281, at
the [p]laintiff's mistreatment precludes a finding that [the         *3-4 (D. Del. July 7, 2000) (holding that the denial of the
p]laintiff can satisfy the requirement of an objectively serious     use of a bathroom for six hours during which the inmate was
deprivation”).                                                       forced to urinate in drinking cup and bowl and defecate into



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a paper bag did not constitute sufficiently serious deprivation   using the bathroom in his cell for approximately five hours
because the duration of the condition was brief and the inmate    until he was forced to urinate and defecate on himself. See
suffered no significant health risk).                             id. Here, by contrast, plaintiff asserts only that his handcuffs
                                                                  and chains were applied “tight” and that he requested that the
On the other hand, courts have, under certain circumstances,      handcuffs and chain be loosened but does not state any facts
found that the denial of bathroom access may give rise            from which the Court can infer that his handcuffs hindered
to an Eighth Amendment violation. For example, in Hart            him from relieving himself. Cf. Rock, 2011 WL 4478515,
v. City of New York, the Court refused to dismiss an              at *16. Thus, the present case appears more analogous to
inmate's Eighth Amendment claim where he alleged that the         cases in which an inmate has alleged an Eighth Amendment
defendant correction officers ignored his repeated requests       violation based on temporary discomfort due to a fairly brief
to use the bathroom for 12 hours, which forced plaintiff to       and isolated denial of bathroom access without any serious
“repeatedly soil himself and remain[ ] imprisoned in urine-       physical harm or serious risk of contamination. See Whitted,
soaked clothing,” despite having been informed that the           1998 WL 259929, at *2.
plaintiff suffered from multiple sclerosis which caused the
need for frequent urination. Hart v. City of New York, No.         *10 Similarly, concerning the application of “tight”
11-CV-4678 (RA), 2013 WL 6139648, at *7 (S.D.N.Y. Nov.            handcuffs and chain, the complaint fails to allege facts
18, 2013). Further, in DeBlasio v. Rock, the Court denied the     demonstrating that the use of these restraints while plaintiff
defendants’ motion for summary judgment as to an inmate's         was confined in his cell was sufficiently serious such that
Eighth Amendment claim of unconstitutional conditions of          it posed “an unreasonable risk of serious damage to [the
confinement where he alleged that the defendant correction        plaintiff's] health.” Darnell, 849 F.3d at 30 (quoting Walker,
officers handcuffed him behind his back and refused to            717 F.3d at 125). As discussed in detail in part II.B.1 supra,
“remove [his] handcuffs so that he could use the bathroom”        plaintiff alleged only that he suffered temporary “soreness” as
for five hours, ultimately forcing the inmate to urinate and      a result of the application of the chains and handcuffs and does
defecate on himself. DeBlasio v. Rock, No. 9:09-CV-1077           not allege that he sought or required medical attention, or that
(TJM/GHL), 2011 WL 4478515, at *16 (N.D.N.Y. Sept. 26,            he is currently suffering any injury as a result thereof. Compl.
2011).                                                            at 10 ¶ 41. Such minor discomfort cannot be said to pose
                                                                  an “unreasonable risk of serious damage to [the plaintiff's]
Here, plaintiff has not alleged any “serious physical harm        health.” Darnell, 849 F.3d at 30; see also Hudson, 503 U.S.
or a serious risk of contamination” as a result the denial        at 9 (“routine discomfort is part of the penalty that criminal
of bathroom access on August 1, 2017. Whitted, 1998 WL            offenders pay for their offenses against society” (internal
259929, at *2. Rather, plaintiff contends only in conclusory      quotation marks and citation omitted)). Thus, plaintiff's
terms that he requested “to use the restroom for relief.”         Eighth Amendment claim for unconstitutional conditions of
Compl. at 6 ¶ 13. The complaint does not allege that              confinement insofar as premised upon the application of tight
plaintiff experienced any pain or significant discomfort, that    handcuffs and temporary denial of bathroom access fails to
he was forced to urinate or defecate in his clothing, or that     satisfy the objective prong of the Eighth Amendment test.
he has suffered any persisting physical injury as a result        Accordingly, it is unnecessary to reach the subjective prong
of his experience. Cf. Whitted, 1998 WL 259929, at *2.            because “without a constitutional violation, [d]efendants
Further, unlike in Hart, plaintiff does not allege that he made   clearly could not have acted with ‘deliberate indifference.’
defendants aware of any medical condition which would             ” Gill, 2005 WL 755745, at *16 (quoting Odom, 1997 WL
necessitate an exceptional need for bathroom access, or that      576088, at *5).
this deprivation extended beyond the single, isolated incident
on August 1, 2017. Cf. Hart, 2013 WL 6139648, at *7; accord
Hutto, 437 U.S. at 686–87.
                                                                                  ii. Denial of Food and Water

Moreover, although Rock involved a handcuffed inmate              Plaintiff asserts that defendants subjected him to
who was deprived bathroom access for a comparable period          unconstitutional conditions of confinement in violation of
of time to plaintiff, that case appears distinguishable. The      his Eighth Amendment rights by depriving him of food
plaintiff in Rock specifically alleged that the defendants had    and water between 1:00 P.M. and sometime between 6:00
applied handcuffs behind his back, which prevented him from       P.M. and 6:30 P.M. on August 1, 2017, when he arrived at



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Upstate. See Compl. at 6 ¶ 20, 11 ¶ 43. He concedes that,          Dec. 4, 2012) (“[The plaintiff's] allegation that he was denied
“[b]etween 6[:00] p.m. [and] 6:30 p.m., [he] was offered a         a single meal while incarcerated ... does not give rise to a
hot tray of food, which was freezer cold.” Id. at 6 ¶ 20.          constitutional deprivation.”); Scarbrough v. Evans, No. 11-
Defendants contend that plaintiff fails to state a claim because   CV-131 (NAM/DRH), 2012 WL 4364511, at *5 (N.D.N.Y.
the temporary deprivation of food and water “has been              May 17, 2012) (“[T]he denial of a single meal is insufficient
routinely found insufficient to state a[n] [Eighth Amendment]      to state a claim for relief.”) (citations omitted).
conditions[ ]of[ ]confinement claim.” Dkt. No. 12-1 at 5.
                                                                    *11 Here, it is undisputed that plaintiff did not receive food
The deprivation of food, as any other deprivation, must be         from 1:00 P.M. until between 6:00 P.M. and 6:30 P.M. on
tested by the same Eighth Amendment analysis. In order             August 1, 2017—a deprivation which lasted, at most, five and
to rise to the level of an Eighth Amendment claim, the             one-half hours. See Compl. at 11 ¶ 43. Thus, plaintiff's claim
deprivation must be sufficiently serious, and the defendant        in this regard fails to satisfy the objective prong of the test,
must have been deliberately indifferent to the inmate's health     as he does not allege a deprivation of “the measure of food
or safety. See Farmer, 511 U.S. at 834. As the Second              necessary to maintain health, but rather ha[s] described the
Circuit has noted, courts have not explicitly held that the        sort of isolated withholding[ ] that do[es] not typically rise
denial of food is a per se violation of a prisoner's Eighth        to [the] level of constitutional significance.” Reeder, 2012
Amendment rights. See Robles v. Coughlin, 725 F.2d 12, 15          WL 4107822, at *18; see Zimmerman, 2007 WL 2080517,
(2d Cir. 1983) (citing Moss v. Ward, 450 F. Supp. 591, 596         at *27. 9 Further, as defendants argue, the lack of a meal
(W.D.N.Y. 1978)). However, “under certain circumstances[,]         over the course of five and one-half hours is “not an atypical
a substantial deprivation of food may well be recognized           experience for most people over the course of an ordinary
as being of constitutional dimension.” Id. For example,            day, let alone those ... subjected to the more restrictive ...
depriving a prisoner of all food for four consecutive days was     conditions of a prison setting.” Dkt. No. 12-1 at 7. Indeed,
held to have violated the Eighth Amendment. Moss, 450 F.           this alleged deprivation is less significant than deprivations
Supp. at 596-97.                                                   of food found to be insufficient to state a claim for cruel and
                                                                   unusual punishment. See Konovalchuk, 2014 WL 272428,
On the other hand, “isolated” deprivations of food do not          at *21; Zimmerman, 2007 WL 2080517, at *27. Thus, even
typically rise to the level of an Eighth Amendment violation.      affording the complaint the most liberal construction possible,
Reeder v. Hogan, No. 9:09-CV-520, 2012 WL 4107822, at              plaintiff does not even assert the denial of a single meal—a
*18 (N.D.N.Y. July 11, 2012), report and recommendation            legally insufficient basis to support a constitutional claim. See
adopted 2012 WL 4106740 (N.D.N.Y. Sept. 19, 2012).                 Hankerson, 2012 WL 6055019, at *3; Scarbrough v. Evans,
For example, allegations of intermittent deprivations for          2012 WL 4364511, at *5.
periods of approximately eight- and one-half hours, twenty-
three hours, and during periods of confinement, were held          9       Insofar as the complaint may be construed as
insufficient to state an Eighth Amendment conditions of
                                                                           alleging an Eighth Amendment violation based
confinement claim. See Little v. Mun. Corp., 51 F. Supp.
                                                                           on the provision of “freezer cold” food, plaintiff
3d 473, 490 (S.D.N.Y. 2014); see also Konovalchuk v.
                                                                           fails to state a claim. Compl. at 6 ¶ 20. It is well
Cerminaro, No. 9:11-CV-01344 (MAD/CFH), 2014 WL
                                                                           established that “[t]he provision of cold food, is
272428, at *21 (N.D.N.Y. Jan. 24, 2014) (holding that
                                                                           not, by itself, a violation of the Eighth Amendment
an inmate's claim that he missed two consecutive meals
                                                                           as long as it is nutritionally adequate and is
while being transported to-and-from the courthouse was
                                                                           prepared and served under conditions which do
“not substantial and d[id] not amount to cruel and unusual
                                                                           not present an immediate danger to the health
punishment.”); Zimmerman v. Seyfert, No. 9:03-CV-1389
                                                                           and well being of the inmates who consume it.”
(TJM), 2007 WL 2080517, at *27 (N.D.N.Y. July 19, 2007)
                                                                           Martin v. Oey, No. 9:16-CV-00717 (TJM/TWD),
(holding that requiring the plaintiff to go eleven hours without
                                                                           2017 WL 6614680, at *6 (N.D.N.Y. Nov. 28, 2017)
eating did not rise to the level of a constitutional claim).
                                                                           (internal quotation marks and citation omitted).
Moreover, courts in this Circuit have held that being denied a
                                                                           Here, the complaint is devoid of allegations that
single meal does not give rise to a constitutional deprivation.
                                                                           the food was prepared or served under conditions
See, e.g., Hankerson v. Nassau Cnty. Corr. Facility, No. 12-
                                                                           presenting an immediate danger to plaintiff's health
CV-5282 (SJF/WDW), 2012 WL 6055019, at *3 (E.D.N.Y.
                                                                           or wellbeing; therefore, the alleged provision of


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       cold food, without more, fails to state a claim             Despite plaintiff's conclusory assertion, he has failed to
       upon which relief may be granted. See id.; see also         proffer sufficient factual allegations to establish an Eighth
       Brooks v. NYC DOC Comm'r, No. 14-CV-6283                    Amendment claim based on his placement with his cellmate
       (RRM/CLP), 2016 WL 4530456, at *4-5 (E.D.N.Y.               at Upstate. Iqbal, 556 U.S. at 678. Even viewing the facts
       Aug. 29, 2016) (sua sponte dismissing cause of              in the light most favorable to plaintiff, he does not allege
       action based on the failure to provide hot meals            how being placed in the cell with this inmate “pose[d] an
       where there was no allegation that the inmate did           unreasonable risk of serious damage to [his] health.” Darnell,
       not receive nutritionally adequate meals).                  849 F.3d 17, 30 (2d Cir. 2017) (quoting Walker, 717 F.3d at
                                                                   125). As discussed in section II.B.2. supra, the complaint does
Plaintiff likewise fails to allege facts sufficient to state
                                                                   not state any factual allegations which could plausibly suggest
a claim for cruel and unusual punishment based on the
                                                                   that defendants’ act of housing him with the purported gang
temporary denial of drinking water. Liberally construing
                                                                   member placed him at risk of harm. Indeed, plaintiff does not
plaintiff's claim, his deprivation of drinking water coincided
                                                                   allege that his cellmate threatened or harmed him in any way,
with his deprivation of food. See Compl. at 5 ¶ 12. Therefore,
                                                                   and plaintiff has not alleged any communication between him
as plaintiff admits that he was provided a meal sometime
                                                                   and defendants indicating that he informed defendants that his
between 6:00 P.M. and 6:30 P.M., this claim, too, amounts
                                                                   cellmate presented any specific risk to him, or that defendants
only to a short, isolated deprivation and, therefore, does not
                                                                   were aware of, but disregarded, any such risk. See section
arise to the level of an Eighth Amendment violation. See
                                                                   II.B.2. supra.
Mortimer Excell v. Fischer, No. 9:08-CV-945, 2009 WL
3111711, at *5-6 (N.D.N.Y. Sept. 24, 2009) (holding that, to
                                                                   Further, plaintiff's vague assertion that he lost sleep for an
the extent the plaintiff alleged that he was denied water during
                                                                   unspecified number of days as a result of being housed
the same 24-hour period he was denied a meal, he failed to
                                                                   with this inmate fails to assert facts plausibly alleging an
state a constitutional claim); McGee v. Pallito, No. 10-CV-11,
                                                                   objectively serious injury. See generally Phelan v. Durniak,
2011 WL 6291954, at *13 (D. Vt. Aug. 3, 2011) (“temporary
                                                                   No. 9:10-CV-666 (FJS/RFT), 2014 WL 4759937, at *10
deprivations of drinking water are not unconstitutional”),
                                                                   (N.D.N.Y. Sept. 24, 2014) (holding that the plaintiff's
report and recommendation adopted, 2011 WL 6294202 (D.
                                                                   allegations that he was unable to sleep and suffered migraines
Vt. 2011); see also Beckford v. Portuondo, 151 F. Supp.
                                                                   because of the noise of the other inmates’ televisions and
2d 204, 211 (N.D.N.Y. 2001) (“Nowhere has it been held
                                                                   radios late at night failed to satisfy the objective element of
that prisoners are entitled to complete and unfettered access
                                                                   an Eighth Amendment claim); Cf. Mena v. City of New York,
to water or showers.”). Thus, plaintiff's Eighth Amendment
                                                                   No. 13-CV-2430 (RJS), 2014 WL 4652570, at *4 (S.D.N.Y.
claim premised on the denial of food and water fails to
                                                                   Sept. 18, 2014) (concluding that the plaintiff plausibly alleged
satisfy the objective element of the Eighth Amendment
                                                                   facts to support an inference that he was objectively prevented
test. Therefore, as plaintiff has failed to adequately plead
                                                                   from sleeping at all for approximately two and one half days
a constitutional violation, it is unnecessary to reach the
                                                                   from being forced to lie on a cold, wet floor in a cell large
subjective prong. See Gill, 2005 WL 755745, at *16 (quoting
                                                                   enough for only one inmate as opposed to the three inmates
Odom, 1997 WL 576088, at *5).
                                                                   who were housed there). Moreover, plaintiff's assertion that
                                                                   he suffered psychological pain is wholly conclusory and,
                                                                   as discussed in section II.B.2, the complaint contains no
                   iii. Plaintiff's Cellmate                       allegations that plaintiff ever sought therapy or other medical
                                                                   treatment following the alleged placement with his cellmate.
 *12 Liberally construed, the complaint also alleges that
                                                                   See Iqbal, 556 U.S. at 664. Plaintiff has, therefore, failed to
plaintiff was subjected to unconstitutional conditions of
                                                                   state an Eighth Amendment claim against defendants based
confinement because he was housed with a “violent gang
                                                                   on the alleged placement in the cell with a purported gang
member.” Compl. at 11 ¶ 43, 7 ¶ 22. Plaintiff contends that,
                                                                   member.
as a result of being housed with this inmate, he was unable to
“sleep for days” and experienced “psychological pain.” Id. at
                                                                   In sum, the complaint fails to allege “conditions [that] either
11 ¶43. Defendants posit that plaintiff fails to a claim in this
                                                                   alone or in combination, pose[d] an unreasonable risk of
regard because he “does not allege that he suffered any injury
                                                                   serious damage to [the plaintiff's] health.” Darnell, 849 F.3d
or harm as a result.” Dkt. No. 12-1 at 8.
                                                                   at 30 (quoting Walker, 717 F.3d at 125). Accordingly, it is



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recommended plaintiff's Eighth Amendment conditions of              or lawsuit constitutes protected activity. See Flemming v.
confinement claim be dismissed.                                     King, No. 14-CV-316 (DNH/CFH), 2016 WL 5219995, at
                                                                    *4 (N.D.N.Y. June 20, 2016) (concluding that inmate's threat
                                                                    to file lawsuit sufficient to establish protected activity),
                                                                    report and recommendation adopted, No. 9:14-CV-0316
              C. First Amendment Retaliation
                                                                    (DNH/DEP), 2016 WL 5173282 (N.D.N.Y. Sept. 21, 2016);
Plaintiff alleges that defendants retaliated against him by         Gibson v. Fischer, No. 9:10-CV-0968 (LEK/TWD), 2014 WL
placing him in a cell with a “violent gang member” for              7178346, at *15 (N.D.N.Y. Dec. 15, 2014) (denying summary
threatening to file grievances and a federal civil rights lawsuit   judgment as to retaliation claim where the plaintiff threatened
based on their denial of plaintiff's requests for protective        to file a grievance); Sprau v. Coughlin, 997 F. Supp. 390,
custody, to loosen his chains and handcuffs, food and water,        393 (W.D.N.Y. 1998) (finding a prisoner's threat to file a
and bathroom access, in violation of his First Amendment            complaint sufficient to establish protected activity). Here,
rights. Compl. at 9-10 ¶ 39. The complaint may also be              plaintiff's threat to file grievances and a lawsuit constitutes
construed as asserting a First Amendment retaliation claim          protected activity; therefore, the complaint satisfies the first
based on C.O. King's alleged threat to file a false misbehavior     prong of the First Amendment retaliation test. See Flemming,
report against plaintiff. See id. at 6 ¶¶ 17. Defendants contend    2016 WL 5219995, at *4; Gibson, 2014 WL 7178346, at *15;
that plaintiff fails to sufficiently plead a First Amendment        Sprau v. Coughlin, 997 F. Supp. at 393.
retaliation claim because “[p]laintiff's verbal requests for
protective custody ... do not constitute protected speech,” and     To adequately plead an “adverse action,” a plaintiff must
even if they did, “the alleged application of tight handcuffs       allege that he was subject to “retaliatory conduct that would
and chains” and the temporary denial of food, water, and            deter a similarly situated individual of ordinary firmness from
bathroom access does not constitute adverse action. Dkt. No.        exercising ... constitutional rights.” Gill, 389 F.3d at 381
12-1 at 10, 11.                                                     (internal quotation marks and citations omitted). Courts in this
                                                                    Circuit have found that a prison official defendant's “refusal
 *13 In order to establish a First Amendment retaliation claim      of protective custody” can be an “adverse action” for the
under Section 1983, a prisoner must allege the following: that      purposes of a First Amendment retaliation claim because it
“(1) the speech or conduct at issue was protected, (2) the          could cause a prisoner to “fear[ ] for his safety.” Cruz v.
defendant took adverse action against the plaintiff, and (3)        Grosso, No. 9:13-CV-30 (FJS/TWD), 2014 WL 2176256, at
there was a causal connection between the protected speech          *7 (N.D.N.Y. May 23, 2014); see also Cruz v. Lee, No. 14-
and the adverse action.” Espinal v. Goord, 558 F.3d 119,            CV-4870 (NSR/JCM), 2016 WL 1060330, at *7 (S.D.N.Y.
128 (2d Cir. 2009) (internal quotation marks and citations          Mar. 15, 2016) (“[p]laintiff alleges that [the d]efendants’
omitted). Because of the potential for abuse and the “ease with     denial of protective custody ... constitutes an adverse action
which claims of retaliation may be fabricated,” courts must         because [the p]laintiff feared for his safety without custodial
examine prisoner retaliation claims with “skepticism and            protection. It cannot be said, as a matter of law, that this fear
particular care.” Johnson v. Eggersdorf, 8 F. App'x 140, 144        would not deter a similarly situated individual from filing
(2d Cir. 2001) (summary order) (quoting Colon v. Coughlin,          further lawsuits or grievances. Therefore, [the p]laintiff has
58 F.3d 865, 872 (2d Cir. 1995)).                                   sufficiently alleged an adverse action.”).


It is well settled that the filing of administrative grievances     Here, plaintiff alleges that he requested protective custody out
and lawsuits constitutes protected speech. See Davis v.             of fear that a gang member would retaliate against him for his
Goord, 320 F.3d 346, 352-53 (2d Cir. 2003) (“the filing of          altercation at Clinton and that defendants denied his request.
prison grievances is a constitutionally protected activity”);       See Compl. at 5 ¶ 8. Thus, accepting plaintiff's allegations
Williams v. Ingraham, No. 04-CV-257 (GLS/DRH), 2005                 as true, defendants’ denial of protective custody could be
WL 3746222, at *2 (N.D.N.Y. Feb. 3, 2005) (“The                     considered adverse action. See Lee, 2016 WL 1060330, at *6;
[inmate's] conduct at issue—complaints to judicial officials,       Grosso, 2014 WL 2176256, at *6.
filing a lawsuit, and grievances—are clearly constitutionally
protected rights”) (citing Morales v. Mackalm, 278 F.3d 126,        *14 As for the third element,
131 (2d Cir. 2002)). Further, courts in this Circuit have
                                                                      “[p]roof of causal connection can be established indirectly
routinely found that a prisoner's threat of filing a grievance
                                                                      by showing that the protected activity was followed closely


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  by discriminatory treatment ... or through other evidence         the protected activity and adverse action, and noting that the
  such as disparate treatment of fellow employees who               defendant's statement “plausibly suggest[ed] a reason for the
  engaged in similar conduct, or directly through evidence          refusal of protective custody [that] related to retaliation,” the
  of retaliatory animus directed against a plaintiff by the         Court concluded that the inmate established the causation
  defendant.”                                                       prong for a First Amendment retaliation claim. Id.

DeCintio v. Westchester County Med. Ctr., 821 F.2d 111,             Here, although close in temporal proximity, as the complaint
116 (2d Cir. 1987) (internal citations omitted). With regard        makes clear, the adverse action of denying plaintiff's request
to temporal proximity, the Second Circuit “has not drawn a          for protective custody occurred prior to plaintiff threatening
bright line to define the outer limits beyond which a temporal      to file grievances and lawsuits, and well before plaintiff
relationship is too attenuated to establish a causal relationship   actually filed his two grievances or the present lawsuit. See
between the exercise of a federal constitutional right and an       Compl. at 6 ¶¶ 15, 20. Therefore, as the alleged adverse action
allegedly retaliatory action.” Gorman-Bakos v. Cornell Coop.        preceded plaintiff's threat to file grievances and a lawsuit,
Extension, 252 F.3d 545, 554 (2d Cir. 2001).                        plaintiff cannot show that defendants’ denial of protective
                                                                    custody was motivated by this conduct. See, e.g., Gustafson
However, as the Second Circuit explained:                           v. Vill. of Fairport, 106 F. Supp. 3d 340, 353 (W.D.N.Y. 2015)
                                                                    (holding that the plaintiff failed to establish a causal link
                                                                    to support his First Amendment retaliation claim where the
             [P]risoner retaliation claims are                      alleged adverse action of defendant police officers beating
             easily fabricated, and ... pose a                      him preceded his constitutionally-protected expression of
             substantial risk of unwarranted judicial               requesting an attorney).
             intrusion into matters of general
             prison administration. Accordingly,                     *15 Additionally, insofar plaintiff's claim can be read to
             while we have held that temporal                       allege that defendants retaliated against him in violation of
             proximity between protected conduct                    his First Amendment rights based on his repeated requests for
             and an adverse action constitutes                      protective custody, the complaint fails to state a claim because
             circumstantial evidence of retaliation,                such requests do not appear to be constitutionally-protected
             we have consistently required some                     speech. Rather, plaintiff's request for protective custody, in
             further evidence of retaliatory animus                 effect, constitutes a request for transfer to housing of his
             before permitting a prisoner to proceed                preference, which is not constitutionally protected speech.
             to trial on a retaliation claim.                       See Barrow v. Buren, No. 9:12-CV-01268 (MAD/CFH), 2015
                                                                    WL 417084, at *13 (N.D.N.Y. Jan. 30, 2015) (concluding
                                                                    that an inmate's transfer requests were not constitutionally-
Faulk v. Fisher, 545 F. App'x 56, 58 (2d Cir. 2013) (summary        protected speech); see generally McMahon v. Fischer, 446 F.
order) (internal citations and quotation marks omitted).            App'x 354, 357 (2d Cir. 2011) (summary order) (“A prisoner
For example, in Lee, the court concluded that an inmate             has no right to housing in a particular facility”). Plaintiff's
sufficiently established a causal connection where he alleged       position would yield absurd results, as every denial of an oral
facts demonstrating a “close temporal proximity” between the        request for protective custody status would give rise to a First
protected activity of filing a lawsuit and the adverse action of    Amendment retaliation claim. Therefore, the undersigned
defendants denying his requests for protective custody “taken       finds that the complaint fails to satisfy the first element for a
together with [the d]efendants’ knowledge of the protected          First Amendment retaliation claim in this regard.
activity and statements tending to demonstrate a retaliatory
motive.” Lee, 2016 WL 1060330, at *7. Similarly, in Grosso,         Moreover, to the extent that the complaint may be read as
the inmate alleged that he informed the defendant of his            alleging that defendants retaliated against plaintiff for stating
pending lawsuit the same day that the defendant refused him         his intention to file grievances and lawsuits based on C.O.
protective custody status and that the defendant stated the         King's purported threat to file a false misbehavior report, even
reason for denying protective custody was because the inmate        assuming arguendo that plaintiff's stated intention could be
was “go[ing] against [prison] [a]dministration.” Grosso, 2014       considered constitutionally-protected speech, plaintiff fails to
WL 2176256, at *7. Observing the temporal proximity of              state a First Amendment retaliation claim. See Compl. at 6 ¶



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16, 17. As articulated in the complaint, C.O. King informed           *16 In order to support a claim for conspiracy pursuant to §
plaintiff that he had been instructed to file a misbehavior          1983, there must be “(1) an agreement ...; (2) to act in concert
report and that “the Sgt. want[ed] to write [him] a ticket”          to inflict an unconstitutional injury; and (3) an overt act done
based on plaintiff's refusal to follow a direct order to lock into   in furtherance of that goal causing damages.” Ciambriello
a cell shortly after stating that he would file grievances and       v. County of Nassau, 292 F.3d 307, 324-25 (2d Cir. 2002);
lawsuits. See Compl. at 6 ¶¶ 17, 19. Plaintiff denies that he        Cusamano v. Sobek, 604 F. Supp. 2d 416, 468 (N.D.N.Y.
refused to follow a direct order from defendants. See id. at 6       2009). “An agreement must be proven with specificity as bare
¶¶ 18. Therefore, liberally construing the complaint, plaintiff      allegations of a conspiracy supported only by allegations of
appears to allege that C.O. King threatened to file a false          conduct easily explained as individual action is insufficient.”
misbehavior report.                                                  McRae v. Fischer, No. 9:17-CV-0146 (BKS/CFH), 2018
                                                                     WL 3432743, at *6 (N.D.N.Y. June 6, 2018), report and
As an initial matter, plaintiff does not allege that C.O. King       recommendation adopted, No. 9:17-CV-00146 (BKS/CFH),
actually wrote a misbehavior report, and no misbehavior              2018 WL 3432700 (N.D.N.Y. July 16, 2018). Although exact
report is contained in plaintiff's submissions; rather, plaintiff    specifics are not required, “the pleadings must present facts
merely asserts that C.O. King threatened write a misbehavior         tending to show agreement and concerted action.” Anilao v.
report. In any event, it is well settled that a correction           Spota, 774 F. Supp. 2d 457, 512-13 (E.D.N.Y. 2011) (citations
officer's filing of a false misbehavior report to prevent an         omitted). Conclusory, vague, and general allegations are
inmate from seeking redress does not rise to the level of a          insufficient to support a conspiracy claim. See Ciambriello,
constitutional violation in the absence of evidence that the         292 F.3d at 325.
filing of the false report actually hindered or prevented the
inmate from exercising his constitutional right to seek redress      Here, even construing the facts in the light most favorable
through either the prison grievance procedure or by filing a         to plaintiff, plaintiff has failed to advance anything more
lawsuit. See Nelson v. Michalko, 35 F. Supp. 2d 289, 294             than conclusory allegations of a conspiracy. There are no
(W.D.N.Y. 1999); Husbands v. McClellan, 957 F. Supp. 403,            allegations outlining with specificity when, why, or how an
407 (W.D.N.Y. 1997). Here, plaintiff does not allege that C.O.       alleged conspiracy occurred or the existence of an explicit
King's purported threat to file a false misbehavior report in        or implicit agreement between any or all of the defendants.
any way hindered or prevented him from exercising his First          Even though exacting specifics are unnecessary at the
Amendment right to file grievances and lawsuits. Indeed, it          pleading stage, the complaint is devoid of factual allegations
is undisputed that plaintiff, in fact, did file two grievances       establishing that defendants had any meeting of the minds
and this lawsuit subsequent to C.O. King's purported threat.         in which they contemplated “break[ing] plaintiff down”
Accordingly, based on the foregoing, it is recommended that          until he “forgot about wanting protective custody status.”
plaintiff's First Amendment retaliation claim be dismissed in        Compl. at 9 ¶ 37; see Anilao, 774 F. Supp. 2d at 512-13.
its entirety and that defendants’ motion be granted on this          Rather, plaintiff merely alleges, in conclusory fashion, that
ground.                                                              defendants “entered into an agreement” to do so. Compl. at 9
                                                                     ¶ 37. Likewise, plaintiff conclusorily alleges that defendants
                                                                     wanted to curtail him from requesting protective custody
                                                                     status in order to avoid “filing extra paperwork,” but fails to
                        D. Conspiracy
                                                                     offer any indication as to when, where, or how defendants
Plaintiff alleges that defendants “entered into an agreement         agreed to execute the purported conspiracy. Compl. at 9 ¶
that if [he] continue[d] to request protective custody status,       37. Beyond stating that C.O. King informed plaintiff that
and make their job extensive by filing extra paperwork[,]            Sgt. Hoffnagle wanted to write him a misbehavior report for
they ... [would] ... keep [him] locked in a holding cell, chained    failing to follow a direct order to lock into a cell, which
and tightly cuffed, without food, water or use of the bathroom,      plaintiff does not allege was ever filed, the complaint fails
until [he] br[oke] down and forg[ot] about wanting protective        to plead a “meeting of the minds between any of the[ ]
custody.” Compl. at 9 ¶ 37. Defendants argue that plaintiff's        [d]efendants to act in concert to inflict a constitutional injury
conspiracy claim must be dismissed because the underlying            on [p]laintiff.” Cusamano, 604 F. Supp. 2d at 432.
claims upon which it is based fail to state a claim for relief.
See Dkt. No. 12-1 at 10.                                             In any event, although not addressed by the parties, plaintiff's
                                                                     claim also fails as it is likely barred by intracorporate



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conspiracy doctrine. The intracorporate conspiracy doctrine       that defendants conspired to violate his constitutional rights
provides that officers, employees, and agents of a single         in retaliation for his repeated requests for protective custody,
corporate entity are legally incapable of conspiring together.    which would have “ma[de] their job extensive by” creating
See Hartline v. Gallo, 546 F.3d 95, 99 n.3 (2d Cir. 2008).        “extra paperwork” for them to file, Compl. at 9 ¶ 37, does
Although the Second Circuit has recognized that the doctrine      not appear to establish that defendants acted out of personal
applies in the Section 1985 context, see id., it has not passed   interests wholly separate and apart from Upstate. See, e.g.,
directly on the doctrine's applicability in the Section 1983      Richard v. Leclaire, No. 9:15-CV-00006 (BKS/TWD), 2017
context. However, district courts within the Circuit have         WL 9511181, at *13, (N.D.N.Y. July 10, 2017) (concluding
applied the doctrine to such claims. See Vega v. Artus,           that the pro se inmate failed to allege facts to establish the
610 F. Supp. 2d 185, 205-06 (N.D.N.Y. 2009) (dismissing           personal interest exception to the intracorporation conspiracy
conspiracy claim pursuant to intracorporate conspiracy            doctrine where he alleged that the defendants conspired to file
doctrine where all of the defendants were DOCCS employees         a false misbehavior report and rig a disciplinary hearing so
acting within the scope of their employment); see also            that he would be found guilty in retaliation for being found not
Williams v. Korines, No. 9:16-CV-1157 (FJS/TWD), 2018             guilty in a prior prison disciplinary proceeding). Indeed, the
WL 4521204, at *5 n.1 (N.D.N.Y. Sept. 21, 2018) (concluding       Complaint specifically alleges that, “[a]t all relevant times[,]
that the intracorporate conspiracy doctrine applied to an         defendants acted under color of law,” Compl. at 5 ¶ 6, which
inmate's Section 1983 conspiracy claim); Richard v. Dignean,      contradicts any claim that defendants acted out of personal
126 F. Supp. 3d 334, 338-39 (W.D.N.Y. 2015) (finding              interest wholly distinct from those of Upstate. See Dowd v.
intracorporate conspiracy doctrine applicable to claim by         DeMarco, 314 F. Supp. 3d 576, 588 (S.D.N.Y. 2018) (holding
inmate against prison officials for discrimination against        that the personal interest exception to the intracorporation
him based on race and religion); Toliver v. Fischer, No.          conspiracy doctrine did not apply where the inmate's
9:12-CV-00077 (MAD/ATB), 2015 WL 403133, at *22                   complaint alleged that the defendant correction officers’
(N.D.N.Y. Jan. 29, 2015) (dismissing conspiracy claim by          purported acts “were conducted within the scope of their
inmate against DOCCS personnel under the intracorporate           official duties or employment.” (internal quotation marks
conspiracy doctrine).                                             omitted)). Rather, plaintiff appears to allege that defendants
                                                                  acted out of personal bias against him, which is insufficient
 *17 An exception to the intracorporate conspiracy doctrine       to defeat the application of the intracorporate conspiracy
applies when the individuals are “pursuing personal interests     doctrine. See generally Medina, 2008 WL 4426748, at *8.
wholly separate and apart from the entity.” Ali v. Connick,
136 F. Supp. 3d 270, 282-83 (E.D.N.Y. 2015) (citation and         Accordingly, it is recommended that plaintiff's conspiracy
internal quotation marks omitted). However, a plaintiff must      claim be dismissed.
show more “than simply alleging that the defendants were
motivated by personal bias against the plaintiff.” Medina
v. Hunt, No. 9:05-CV-1460 (DNH), 2008 WL 4426748, at
                                                                                    E. Supervisory Liability
*8 (N.D.N.Y. Sept. 25, 2008); see also Vega, 610 F. Supp.
2d at 205 (holding that “in order to allege facts plausibly       Plaintiff alleges that, after he informed Sgt. Hoffnagle
suggesting that individuals were pursuing personal interests      that he desired to be placed on protective custody status,
wholly separate and apart from the entity” to overcome            Sgt. Hoffnagle “sent his subordinates[,]” C.O. King and
the intracorporate conspiracy doctrine “more is required of       C.O. Hollenbeck, to “dissuade [him from] checking into
a plaintiff than simply alleging that the defendants were         [protective custody] by threatening to issue a misbehavior
motivated by personal bias against plaintiff.”).                  report,” after which the alleged First and Eighth Amendment
                                                                  violations occurred. Compl. at 12 ¶ 45. Defendants argue
Here, all defendants were DOCCS employees during the              that plaintiff's supervisory claims against Sgt. Hoffnagle
period set forth in the Complaint and all were acting within      must be dismissed because the underlying First and Eighth
the scope of their employment. Therefore, the intracorporate      Amendment claims upon which they are based fail to state
conspiracy doctrine applies. See Vega, 610 F. Supp. 2d            claims upon which relief can be granted. See Dkt. No. 12-1
at 205-06. Additionally, plaintiff has not alleged facts to       at 8-9.
plausibly suggest that the exception to the intracorporate
conspiracy doctrine applies. Plaintiff's conclusory allegation



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 *18 Supervisory officials may not be held liable for their                 2010) (holding that “[o]nly the first and part of
subordinates’ constitutional violations merely because they                 the third Colon categories pass Iqbal’s muster....”);
are in a position of authority. Black v. Coughlin, 76 F.3d 72,              D'Olimpio v. Crisafi, 718 F. Supp. 2d 340, 347
74 (2d Cir. 1996). In this Circuit, the “ ‘personal involvement             (S.D.N.Y. 2010) (disagreeing that Iqbal eliminated
of defendants in alleged constitutional deprivations is a                   Colon’s personal involvement standard).
prerequisite to an award of damages under § 1983.’ ”                Construing the complaint liberally, plaintiff appears to allege
Wright v. Smith, 21 F.3d 496, 501 (2d Cir. 1994) (quoting           supervisory liability under Colon factor one. See Colon, 58
Moffitt v. Town of Brookfield, 950 F.2d 880, 885 (2d Cir.           F.3d at 873. As discussed in section II.B.1 supra, plaintiff has
1991) (additional citations omitted)). However, supervisory         plausibly asserted a claim for excessive force. Therefore, it
personnel may be considered personally involved in their            is recommended that defendants’ motion to dismiss plaintiff's
subordinate's conduct if:                                           supervisory liability claim against Sgt. Haffnagle, insofar as it
                                                                    is based upon his excessive force claim, be denied. However,
  (1) the defendant participated directly in the alleged
                                                                    as discussed in sections II.B.2.-D supra, plaintiff has failed to
  constitutional violation;
                                                                    adequately allege the remainder of his constitutional claims
  (2) the defendant, after being informed of the violation          and, therefore, cannot state a claim for § 1983 supervisory
  through report or appeal, failed to remedy the wrong;             liability based upon those allegations. See Elek, 815 F. Supp.
                                                                    2d at 808.
  (3) the defendant created a policy or custom under
  which unconstitutional practices occurred, or allowed the         Accordingly, it is recommended that defendants’ motion be
  continuance of such a policy or custom;                           granted as to plaintiff's supervisory liability claim against
                                                                    Sgt. Hoffnagle insofar as it is based upon plaintiff's Eighth
  (4) the defendant was grossly negligent in supervising
                                                                    Amendment failure to protect and conditions of confinement
  subordinates who committed the wrongful acts; or
                                                                    claims and First Amendment retaliation claim. It is further
  (5) the defendant exhibited deliberate indifference to the        recommended that defendants’ motion to dismiss plaintiff's
  rights of inmates by failing to act on information indicating     supervisory claim be denied insofar as it is based upon
  that unconstitutional acts were occurring.                        plaintiff's Eighth Amendment excessive force claim.

Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995) (citing
Wright, 21 F.3d at 501 (additional citation omitted)). 10                                  III. Conclusion
Absent a subordinate's underlying constitutional violation,
there can be no supervisory liability. Hernandez v. Keane, 341       *19 WHEREFORE, based on the findings set forth above,
F.3d 137, 145 (2d Cir. 2003); see Elek v. Inc. Vill. of Monroe,     it is hereby:
815 F. Supp. 2d 801, 808 (S.D.N.Y. 2011) (collecting cases
for the proposition that “because [p]laintiff has not established   RECOMMENDED, that defendants’ Motion to Dismiss
any underlying constitutional violation, she cannot state a         based upon Fed. R. Civ. P. 12(b)(6) (Dkt. No. 12) be
claim for 1983 supervisory liability.”).                            GRANTED IN PART and the following of plaintiff's claims
                                                                    be DISMISSED WITH PREJUDICE:
10      Various courts in the Second Circuit have                     (1) Eighth Amendment failure to protect claim;
        postulated how, if at all, the Iqbal decision affected
        the five Colon factors which were traditionally used          (2) Eighth Amendment conditions of confinement claim;
        to determine personal involvement. Pearce v. Estate
        of Longo, 766 F. Supp. 2d 367, 376 (N.D.N.Y.                  (3) Conspiracy claim; and
        2011) (recognizing that several District Courts in
                                                                      (4) First Amendment retaliation claim;
        the Second Circuit have debated Iqbal’s impact
        on the five Colon factors), rev'd in part on other            (5) Supervisory claim against Sgt. Hoffnagle insofar as
        grounds sub nom., Pearce v. Labella, 473 F. App'x                that claim is based upon plaintiff's Eighth Amendment
        16 (2d Cir. 2012) (summary order); Kleehammer v.                 failure to protect, conditions of confinement, and
        Monroe Cnty., 743 F. Supp. 2d 175, 185 (W.D.N.Y.



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                                                                   TO THIS REPORT WITHIN FOURTEEN (14) DAYS
    conspiracy claims, and First Amendment retaliation
                                                                   WILL PRECLUDE APPELLATE REVIEW. Roldan v.
    claim, and it is further
                                                                   Racette, 984 F.2d 85, 89 (2d Cir. 1993) (citing Small v.
                                                                   Secretary of Health and Human Servs., 892 F.2d 15 (2d Cir.
RECOMMENDED, that defendants’ motion to dismiss
based upon Fed. R. Civ. P. 12(b)(6) (Dkt. No. 12) be DENIED        1989)); 28 U.S.C. § 636(b)(1); Fed R. Civ. P. 6(a), 6(e), 72. 11
as to plaintiff's:
                                                                   11      If you are proceeding pro se and are served with
  (1) Eighth Amendment excessive force claim;
                                                                           this Order by mail, three additional days will be
  (2) Supervisory claim against Sgt. Hoffnagle insofar as                  added to the fourteen-day period, meaning that you
     that claim is based upon plaintiff's Eighth Amendment                 have seventeen days from the date the Report-
     excessive force claim; and it is further                              Recommendation & Order was mailed to you to
                                                                           serve and file objections. FED. R. CIV. P. 6(d).
ORDERED, that the Clerk of the Court serve a copy of                       If the last day of that prescribed period falls on
this Report-Recommendation and Order on all parties in                     a Saturday, Sunday, or legal holiday, then the
accordance with Local Rules.                                               deadline is extended until the end of the next day
                                                                           that is not a Saturday, Sunday, or legal holiday. Id.
IT IS SO ORDERED.                                                          § 6(a)(1)(C).


Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(c),          All Citations
the parties have fourteen days within which to file written
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objections to the foregoing report. Such objections shall be
filed with the Clerk of the Court. FAILURE TO OBJECT

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                                                               1. Defendants' motion for partial summary judgment is
                   2014 WL 4627106                             GRANTED;
      Only the Westlaw citation is currently available.
               United States District Court,                   2. Plaintiff's claims against defendant Sean Reilly are
                     N.D. New York.                            DISMISSED;

             Desmond QUICK, Plaintiff,                         3. This matter is referred back to Magistrate David E. Peebles
                          v.                                   for further proceedings consistent with this Decision and
  John QUINN, Lieutenant, Auburn Correctional Facility;        Order; and
 Chris Novack, Correctional Officer, Auburn Correctional
                                                               4. The Clerk is directed to serve a copy of this Decision and
   Facility; Sean Reilly, Correctional Officer, Auburn
                                                               Order upon plaintiff in accordance with the Local Rules.
  Correctional Facility; and Joseph Baney, Correctional
   Officer, Auburn Correctional Facility, Defendants.          IT IS SO ORDERED.
                   No. 9:12–CV–1529 (DNH/DEP).
                                  |
                        Signed Sept. 11, 2014.                            REPORT AND RECOMMENDATION

Attorneys and Law Firms                                        DAVID E. PEEBLES, United States Magistrate Judge.

Desmond Quick, Marcy, NY, pro se.                              Pro se plaintiff Desmond Quick, a New York State prison
                                                               inmate, has commenced this action pursuant to 42 U.S.C.
Hon. Eric T. Schneiderman, Attorney General for the State of   § 1983, alleging that four corrections officers employed at
New York, Rachel M. Kish, Esq., Ass't Attorney General, of     the facility in which he was confined at the relevant times
Counsel, Albany, NY, for Defendants.                           deprived him of his civil rights. Plaintiff contends that some
                                                               of the named defendants physically assaulted him, while
                                                               others either orchestrated the assault or failed to intervene and
                     DECISION and ORDER                        protect him.

DAVID N. HURD, District Judge.
                                                               Now that discovery in the action is closed, defendants have
 *1 Pro se plaintiff Desmond Quick brought this civil          moved for partial summary judgment dismissing plaintiff's
rights action pursuant to 42 U.S.C. § 1983. On August          claims against one of the corrections officers named in
11, 2014, the Honorable David E. Peebles, United States        plaintiff's complaint, arguing that he was not personally
Magistrate Judge, advised by Report–Recommendation that        involved in the alleged constitutional deprivations. For the
defendants' motion for partial summary judgment dismissing     reasons set forth below, I recommend that defendants' motion
plaintiff's claims against defendant Reilly be granted based   be granted.
upon lack of personal involvement. No objections to the
Report–Recommendation were filed.
                                                               I. BACKGROUND 1
                                                               1
Based upon a careful review of the entire file and the               In light of the procedural posture of the case, the
recommendations of the Magistrate Judge, the Report–                   following recitation is derived from the record now
Recommendation is accepted in whole. See 28 U.S.C. §                   before the court, with all inferences drawn and
636(b)(1).                                                             ambiguities resolved in plaintiff's favor. Terry v.
                                                                       Ashcroft, 336 F.3d 128, 137 (2d Cir.2003).
Therefore, it is                                               Plaintiff is a prison inmate currently being held in the
                                                               custody of the New York State Department of Corrections and
ORDERED that                                                   Community Supervision (“DOCCS”). See generallyDkt. No.
                                                               1. While he is currently incarcerated elsewhere, at the times
                                                               relevant to his claims in this action Quick was confined in


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the Mental Health Unit (“MHU”) at the Auburn Correctional            4      As a result of the incident, plaintiff was charged
Facility (“Auburn”), located in Auburn, New York. Dkt. No.                  with violating prison rules, including committing
1 at 5; Dkt. No. 43 at 1;see alsoDkt. No. 41–1 at 10.                       an unhygienic act and causing loss/damage to
                                                                            DOCCS property. Dkt. No. 41–1 at 17. Following
On April 16, 2012, while confined in an MHU cell at Auburn,                 a disciplinary hearing, plaintiff was found guilty
plaintiff spread feces over himself and his cell. Dkt. No. 1 at             of the charges and sentenced to two months and
5; Dkt. No. 41–1 at 10. As a result of plaintiff's actions, a call          twenty-three days of confinement in a facility
was placed by defendant John Quinn, a corrections lieutenant                special housing unit. Id.
and named-defendant, for assistance in connection with the
matter. Dkt. No. 1 at 5. According to plaintiff, in response,
                                                                     II. PROCEDURAL HISTORY
Corrections Officers Chris Novack, Sean Reilly, 2 and Joseph         Plaintiff commenced this action on October 9, 2012, with
Baney, all of whom are also named as defendants in Quick's           the filing of a complaint accompanied by an application
complaint, appeared in full extraction gear, prepared to             to proceed in the action in forma pauperis (“IFP”). Dkt.
remove him from his cell. Dkt. No. 1 at 5; Dkt. No. 41–1             Nos. 1, 2. Named as defendants in plaintiff's complaint are
at 10–11. Plaintiff alleges that defendants Novack and Reilly        Corrections Lieutenant John Quinn and Corrections Officers
restrained him, using handcuffs and a waist chain, and then          Chris Novack, Sean Reilly, and Joseph Baney. Dkt. No. 1 at 1–
“dragged” him to the shower. Dkt. No. 1 at 8; Dkt. No. 41–           2. The court granted plaintiff's IFP application on November
1 at 10. Upon arrival at the shower, defendants Novack and           21, 2012. Dkt. No. 7.
Reilly stripped plaintiff but left him handcuffed behind his
back. Dkt. No. 1 at 8. Plaintiff alleges that defendant Novack       On October 3, 2013, following the joinder of issue and
struck him in the face until he began to bleed and stepped on        completion of pretrial discovery, defendants filed a motion,
his right foot, knee, and thigh “numerous times.” Id. at 9; Dkt.     seeking the entry of partial summary judgment as against
No. 41–1 at 11. Defendant Reilly also allegedly bent plaintiff's     defendant Reilly. Dkt. No. 41. Defendants' motion is based
right arm and hand. 3 Dkt. No. 1 at 9. According to plaintiff,       exclusively upon their assertion that there is insufficient
although defendant Baney witnessed the incident, he stood by         record evidence from which a reasonable factfinder could
without intervening to protect plaintiff. Id.; Dkt. No. 41–1 at      conclude that defendant Reilly was personally involved in the
11. Plaintiff alleges he suffered bumps and bruises to the face,     incident on April 16, 2012, as alleged by plaintiff, since he
forehead, and right thigh, as well as a cut over his right eye.      was not working at Auburn on that date. Dkt. No. 41–3 at 5–
Dkt. No. 1 at 10.                                                    6. Plaintiff has since responded in opposition to defendants'
                                                                     motion. Dkt. No. 43. The pending motion, which is now fully
2                                                                    briefed and ripe for determination, has been referred to me
        Although plaintiff's complaint and the court's
                                                                     for the issuance of a report and recommendation, pursuant to
        records list this defendant as “C.O. Shawn Riely,”
                                                                     28 U.S.C. § 636(b)(1)(B) and Northern District of New York
        it appears from his declaration that his name is
                                                                     Local Rule 72.3(c). See Fed.R.Civ.P. 72(b).
        correctly spelled as “Sean Reilly.” Dkt. No. 41–
        2. The clerk is respectfully directed to adjust the
        court's records to reflect the correct the spelling of       III. DISCUSSION
        that defendant's name.
3                                                                       A. Summary Judgment Standard
        At his deposition, plaintiff testified that, in addition     Summary judgment motions are governed by Rule 56 of
        to bending his right arm and hand, defendant Reilly          the Federal Rules of Civil Procedure. Under that provision,
        bit him. Dkt. No. 41–1 at 11.                                the entry of summary judgment is warranted “if the movant
 *2 Following the assault, Corrections Officer Frantcezk,            shows that there is no genuine dispute as to any material facts
who is not named as a defendant, arrived at the shower and           and the movant is entitled to judgment as a matter of law.”
began videotaping plaintiff. Dkt. No. 1 at 9; Dkt. No. 41–1          Fed.R.Civ.P. 56(a); Tolan v. Cotton, 134 S.Ct. 1861, 1866
at 11. Plaintiff was then escorted to an MHU interview room,         (2014); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986);
where he was treated for his injuries by a prison nurse. 4 Dkt.      Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986);
No. 1 at 9–10; Dkt. No. 41–1 at 11.                                  Sec. Ins. Co. of Hartford v. Old Dominion Freight Line, Inc.,
                                                                     391 F.3d 77, 82–83 (2d Cir.2004). A fact is “material” for



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purposes of this inquiry, if it “might affect the outcome of         of a defendant and the injuries suffered .” Bass v. Jackson,
the suit under the governing law.” Anderson, 477 U.S. at 248;        790 F.2d 260, 263 (2d Cir.1986). “To be sufficient before
see also Jeffreys v. City of New York, 426 F.3d 549, 553 (2d         the law, a complaint must state precisely who did what and
Cir.2005) (citing Anderson). A material fact is genuinely in         how such behavior is actionable under law.” Hendrickson v.
dispute “if the evidence is such that a reasonable jury could        U.S. Attorney Gen., No. 91–CV8135, 1994 WL 23069, at *3
return a verdict for the nonmoving party.” Anderson, 477 U.S.        (S.D.N.Y. Jan. 24, 1994). 5
at 248.
                                                                     5      Copies of all unreported decisions cited in this
A party moving for summary judgment bears an initial burden
                                                                            document have been appended for the convenience
of demonstrating that there is no genuine dispute of material
                                                                            of the pro se plaintiff. [Editor's Note: Attachments
fact to be decided with respect to any essential element of the
                                                                            of Westlaw case copies deleted for online display.]
claim in issue, and the failure to meet this burden warrants
denial of the motion. Anderson, 477 U.S. at 250 n. 4; Sec. Ins.      In support of their motion, defendants have submitted a sworn
Co., 391 F .3d at 83. In the event this initial burden is met, the   declaration of defendant Reilly, in which he denies having had
opposing party must show, through affidavits or otherwise,           contact with plaintiff on April 16, 2012, and states that he was
that there is a material dispute of fact for trial. Fed.R.Civ.P.     not working at Auburn on that date because it was his regular
56(e); Celotex, 477 U.S. at 324; Anderson, 477 U.S. at 250.          day off. Dkt. No. 41–2 at 1–2. This assertion is supported by
When deciding a summary judgment motion, a court must                a copy of defendant Reilly's timecard which, though difficult
resolve any ambiguities, and draw all inferences, in a light         to read, appears to substantiate his statement that he did not
most favorable to the nonmoving party. Tolan, 134 S.Ct. at           work on April 16, 2012. Id. at 4.
1866; Jeffreys, 426 F.3d at 553; Wright v. Coughlin, 132 F.3d
133, 137–38 (2d Cir.1998). The entry of summary judgment             Defendant Reilly's contention that he did not work on
is justified only in the event of a finding that no reasonable       the day in question is contradicted by the allegations in
trier of fact could rule in favor of the non-moving party. Bldg.     plaintiff's complaint, Dkt. No. 1, which was signed under
Trades Employers' Educ. Ass'n v. McGowan, 311 F.3d 501,              penalty of perjury and thus carries the force and effect
507–08 (2d Cir.2002); see also Anderson, 477 U.S. at 250             of an affidavit. Colon v. Coughlin, 58 F.3d 865, 872 (2d
(finding summary judgment appropriate only when “there can           Cir.1995) (“A verified complaint is to be treated as an
be but one reasonable conclusion as to the verdict”).                affidavit for summary judgment purposes.”). In his opposition
                                                                     to defendants' pending motion, however, plaintiff does not
                                                                     squarely dispute defendant Reilly's assertion that he was not
   B. Personal Involvement                                           working at Auburn on April 16, 2012. See generally Dkt.
 *3 In their motion, defendants contend that, because                No. 43–1. Instead he contends that (1) the timecard submitted
defendant Reilly was not working at Auburn on April 16,              by defendant Reilly is not authentic and may have been
2012, there is insufficient record evidence from which a             altered, and (2) defendants failed to produce the MHU sign-
reasonable factfinder could conclude that he was personally          in logbook for April 16, 2012, which, according to plaintiff,
involved in the alleged assault of plaintiff at Auburn on that       “cannot be altered” and would show “who entered the facility
date. Dkt. No. 41–3 at 5–6 .                                         that day.” Id. at 6.

“Personal involvement of defendants in alleged constitutional        With respect to plaintiff's second contention, he maintains
deprivations is a prerequisite to an award of damages under          that he requested the logbook in his May 21, 2013 discovery
[section] 1983.” Wright v. Smith, 21 F.3d 496, 501 (2d               demand, but that the documents produced by defendants did
Cir.1994) (citing Moffitt v. Town of Brookfield, 950 F.2d 880,       not include the logbook. Dkt. No. 43–2 at 1–2. On February
885 (2d Cir.1991); McKinnon v. Patterson, 568 F.2d 930, 934          15, 2013, I issued a standard Rule 16 scheduling order in
(2d Cir.1977)). As the Supreme Court has noted, a defendant          this case requiring the parties to provide certain mandatory
may only be held accountable for his actions under section           disclosures. That order required, inter alia, that defendants
1983. See Iqbal, 556 U.S. at 683 (“[P]etitioners cannot be           provide the following documents within their possession,
held liable unless they themselves acted on account of a             custody, or control concerning plaintiff's excessive force
constitutionally protected characteristic.”). In order to prevail    claims:
on a section 1983 cause of action against an individual, a
plaintiff must show “a tangible connection between the acts


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                                                                  a genuine dispute of material fact exists for trial. Dkt. No.
                                                                  43–1 at 5–6; see Ying Jing Gan v. City of N.Y., 996 F.2d
             *4 Photographs, unusual incident                     522, 532 (2d Cir.1993) (holding that the nonmoving party
            reports,      use-of-force     reports,               may not defeat a motion for summary judgment based
            disciplinary      charges,      records               “simply on conclusory statements or on contentions that the
            (including transcripts) of disciplinary               affidavits supporting the motion are not credible”). In light
            hearings,       determinations        of              of plaintiff's verified complaint, however, which contains an
            disciplinary charges and appeals                      allegation that defendant Reilly was present and participated
            therefrom, videotapes, audiotapes, and                in the assault of plaintiff on April 16, 2012, I ordinarily
            medical records concerning treatment                  would conclude that such conflicting accounts would present
            for any injuries allegedly received                   a triable issue of fact, turning on witness credibility, that
            by the plaintiff as a result of the                   would preclude the entry of summary judgment. See Rule v.
            incident(s) alleged in the complaint.                 Brine, Inc. 85 F.3d 1002, 1011 (2d Cir.1996) (“Assessments
                                                                  of credibility and choices between conflicting versions of
                                                                  the events are matters for the jury, not for the court on
Id. at 6 (footnotes omitted). In a letter dated May 22, 2013,     summary judgment.”). The Second Circuit, however, has
the court was advised by defendants' counsel that defendants      recognized a very limited exception to this general rule in
had fully complied with that order. Dkt. No. 25.                  Jeffreys v. City of New York, 426 F.3d 549 (2d Cir.2005).
                                                                  In that case, the court held that summary judgment may be
On June 25, 2013, the court entertained oral argument             awarded in the rare circumstance where there is nothing in
concerning two applications by the plaintiff, one requesting      the record to support the plaintiff's allegations, aside from
an order compelling defendants to produce additional              his own contradictory and incomplete testimony, and even
documents, and the second requesting an extension of the          after drawing all inferences in the light most favorable to the
deadline for filing a further motion to compel discovery,         plaintiff, the court determines that “no reasonable person”
related to the discovery demands served on May 21, 2013.          could credit the his testimony. Jeffreys, 426 F.3d at 54–55.
Dkt. Nos. 28, 29. After noting that plaintiff's requests          To qualify for the Jeffreys exception, a defendant must satisfy
were untimely under this court's local rules, which require       each of the following three requirements: (1) “the plaintiff
that any discovery demands be served more than thirty             must rely ‘almost exclusively on his own testimony,’ “ (2) the
days prior to the close of discovery, I nonetheless ordered       plaintiff's “testimony must be ‘contradictory or incomplete,’
defendants to respond to the late discovery demands, and          “ and (3) the plaintiff's testimony must be contradicted by
specifically directed that defendants produce to plaintiff        evidence produced by the defense. Benitez v. Ham, No. 04–
certain documents, including “sign-in” sheets and logbooks,       CV–1159, 2009 WL 3486379, at *20–21 (N.D.N.Y. Oct. 21,
that would identify DOCCS personnel present in the MHU            2009) (Mordue, J., adopting report and recommendation by
at Auburn at any time during the 7:00 a.m. to 3:00 p.m. shift     Lowe, M.J.) (quoting Jeffreys, 426 F.3d at 554).
on April 16, 2012. Dkt. No. 30. Defendants were directed
t produce those documents on or before July 16, 2014. Id.          *5 In this instance I find that the requirements for invoking
Significantly, plaintiff did not request the court's assistance   the Jeffreys exception are satisfied. The only evidence
enforcing that order until he submitted his opposition to the     suggesting defendant Reilly's involvement in the relevant
pending motion for summary. Dkt. No. 43–2. In light of            events is plaintiff's uncorroborated allegation in his verified
plaintiff's delay in seeking court intervention, and because      complaint. See generally Dkt. No. 1. While, in support of
it appears that defendants have made a good faith effort to       his opposition to the pending motion, plaintiff has submitted
comply with the court's orders compelling production, I do        an affidavit from a fellow inmate concerning the incident,
not view this issue as an impediment to deciding the present      that inmate does not identify defendant Reilly as one of the
summary judgment motion.                                          corrections officers participating in the extraction of plaintiff
                                                                  from his cell. Dkt. No. 43–2 at 16. In addition, in response
Turning now to plaintiff's contention that the timecard           to the pending motion, plaintiff does not explicitly deny
submitted by defendant Reilly is not authenticated and may        defendants' contention that defendant Reilly was not at work
have been altered, I find it unsupported by any record            on April 16, 2012, but instead focuses on defendants' alleged
evidence and therefore not a basis upon which I may conclude      failure to comply with discovery orders. See generallyDkt.



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                                                                        Defendants have submitted convincing evidence that
No. 43–1. Finally, and perhaps most tellingly, in response to
                                                                        defendant Sean Reilly was not involved in the alleged use of
the portion of defendants' statement of undisputed material
                                                                        excessive force against plaintiff on April 16, 2012, and indeed
facts, submitted pursuant to rule 7.1(a)(3) of the local rules
                                                                        was not even working at Auburn on that date. To counter
of practice for this court, stating “[d]efendant Reilly was off
                                                                        that proof, plaintiff relies on his allegation in his verified
and not working in Auburn Correctional Facility on April
                                                                        complaint that Reilly was involved. In view of this and
16, 2012”, plaintiff responded that he “[l]ack [s] sufficient
                                                                        plaintiff's inability to admit or deny the portion of defendants'
knowledge to truthfully admit or deny.” Dkt. No. 43 at 3.
                                                                        rule 7.1(a)(3) statement regarding the matter, I conclude that
Under these circumstances, where the only record evidence
                                                                        no reasonable factfinder could find that defendant Reilly was
that exists to support the allegation that defendant Reilly
                                                                        present and involved. Accordingly, it is hereby respectfully
participated in the assault on April 16, 2012, is plaintiff's
self-serving and unsupported statement contained in his
                                                                         *6 RECOMMENDED that defendants' motion for partial
complaint, I find that no reasonable factfinder could conclude
                                                                        summary judgment (Dkt. No. 41 ) be GRANTED, and
that defendant Reilly participated in the incident giving rise
                                                                        that plaintiff's claims against defendant Sean Reilly be
to plaintiff's claims. See Anderson, 477 U.S. at 252 (“The
                                                                        DISMISSED with prejudice; and it is further
mere existence of a scintilla of evidence in support of the
plaintiff's position will be insufficient; there must be evidence
                                                                        ORDERED that the clerk is hereby respectfully directed to
on which the jury could reasonably find for the plaintiff.”);
                                                                        modify the court's records to reflect the correct spelling of
Jeffreys, 426 F.3d at 554 (“To defeat summary judgment,
                                                                        defendant Sean Reilly's name.
therefore, nonmoving parties ‘must do more than simply show
that there is some metaphysical doubt as to the material
                                                                        NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties
facts.’ “ (quoting Matsushita Elec. Indus. Co. v. Zenith Radio
                                                                        may lodge written objections to the foregoing report. Such
Corp., 475 U.S. 574, 586 (1986)); Trans Sport, Inc. v. Starter
                                                                        objections must be filed with the clerk of the court within
Sportswear, Inc., 964 F.2d 186, 188 (2d Cir.1992) (noting
                                                                        FOURTEEN days of service of this report. FAILURE
that summary judgment cannot be defeated “on the basis
                                                                        TO SO OBJECT TO THIS REPORT WILL PRECLUDE
of conjecture or surmise”); McMahon v. Fura, No. 10–CV–
                                                                        APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed.R.Civ.P.
1063, 2011 WL 6739519, at *10 (N.D.N.Y. Dec. 23, 2013)
                                                                        6(a), 6(d), 72; Roldan v. Racette, 984 F.2d 85 (2d Cir.1993).
(Lowe, M.J. (on consent)) (applying the Jeffreys exception
where the only evidence supporting the plaintiff's version of
                                                                        It is hereby ORDERED that the clerk of the court serve a
events was his testimony that “he ‘must have’ been tased by
                                                                        copy of this report and recommendation upon the parties in
‘an officer,’ “ and the defendants offered testimony from the
                                                                        accordance with this court's local rules.
only officer involved who had a taser that he did not use it).

Accordingly, I recommend that plaintiff's claims against                Filed Aug. 11, 2014.
defendant Reilly be dismissed based upon lack of personal
involvement.                                                            All Citations

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IV. SUMMARY AND RECOMMENDEATION

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                                                                           claims against Defendants Weissman and Richards arising
                                                                           from their treatment of Plaintiff's severe body itch, left wrist,
      KeyCite Yellow Flag - Negative Treatment                             and right ankle; (2) the claims against Defendant Ham; (3)
Distinguished by McRae v. City of Hudson,        N.D.N.Y.,   January 21,
                                                                           the claims against Defendants Brousseau and Donelli for
2015
                                                                           their handling of Plaintiff's grievance regarding Defendant
                    2009 WL 3486379                                        Ham; (4) the retaliation claim against Defendants Nephew,
       Only the Westlaw citation is currently available.                   Desotelle, and Snyder based on their filing of misbehavior
                United States District Court,                              reports against Plaintiff; (5) the claims against Defendants
                      N.D. New York.                                       Brousseau, Donelli, Girdich, and Eagen regarding their
                                                                           handling of Plaintiff's grievances regarding the events of
                   Henry BENITEZ, Plaintiff,                               January 2 and 3, 2003; (6) the claim against Defendant
                              v.                                           LaClair; (7) the claims against Defendant Bullis; and (8) the
                    HAM, et al., Defendant.                                Eighth Amendment claim against Defendants Weissman and
                                                                           Girdich for approving the imposition of the loaf diet.
                         No. 9:04–CV–1159.
                                  |                                        It is further ordered that the following claims are dismissed
                           Oct. 21, 2009.                                  sua sponte pursuant to 28 U.S.C. § 1915(e)(2)(B): (1)
                                                                           Plaintiff's retaliation claim against Defendants Weissman and
Attorneys and Law Firms                                                    Richards; and (2) the claim against Defendant Selsky.

Henry Benitez, Malone, NY, for Plaintiff.
                                                                           It is further ordered that the following claims survive
Hon. Andrew M. Cuomo, Attorney General for the State of                    summary judgment and sua sponte review and proceed to
New York, Timothy P. Mulvey, Esq., of Counsel, Syracuse,                   trial: (1) the conspiracy claim against Defendants Wright,
NY, for Defendants.                                                        Snyder, and Duprat; (2) the excessive force claim against
                                                                           Defendants Snyder, Duprat, Bogett, and Wright; (3) the
                                                                           retaliation claim against Defendants Snyder, Duprat, Bogett,
                                                                           and Wright arising from the use of excessive force; (4)
                              ORDER
                                                                           the retaliation claim against Wright arising from his filing
NORMAN A. MORDUE, Chief Judge.                                             of a misbehavior report against Plaintiff; (5) the failure to
                                                                           intervene claims against Defendants Bezio and Duprat; (6) the
 *1 The above matter comes to me following a Report–                       retaliation claim against Defendant Bezio; and (7) the Eighth
Recommendation by Magistrate Judge George H. Lowe, duly                    Amendment claims against Defendants Hensel, Goodwin,
filed on the 30th day of September 2009. Following ten                     Kuhlman, and Costello.
days from the service thereof, the Clerk has sent me the file,
including any and all objections filed by the parties herein.              3. The Clerk of the Court shall serve a copy of this Order upon
                                                                           all parties and the Magistrate Judge assigned to this case.
After careful review of all of the papers herein, including
the Magistrate Judge's Report–Recommendation, and no                       IT IS SO ORDERED.
objections submitted thereto, it is

ORDERED that:
                                                                                REPORT–RECOMMENDATION AND ORDER
1. The Report–Recommendation is hereby adopted in its                      GEORGE H. LOWE, United States Magistrate Judge.
entirety.
                                                                           This pro se prisoner civil rights action, commenced pursuant
2. Defendants' motion for summary judgment (Dkt. No.                       to 42 U.S.C. § 1983, has been referred to me for Report
92) is GRANTED IN PART AND DENIED IN PART.                                 and Recommendation by the Honorable Norman A. Mordue,
The following claims are dismissed pursuant to Defendants'                 Chief United States District Judge, pursuant to 28 U.S.C.
motion for summary judgment: (1) the Eighth Amendment                      § 636(b) and Local Rule 72.3(c). Plaintiff Henry Benitez



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alleges that 21 employees of the New York Department of
Correctional Services (“DOCS”) violated his constitutional
rights by subjecting him to excessive force, denying him                         non-formulary, which means we do
medical care, falsifying misbehavior reports, denying him                        not regularly stock that medication,
assistance to prepare for a disciplinary hearing, and imposing                   and special approval must be obtained
a loaf diet on him as punishment. Currently pending before the                   to issue that medication. However,
Court is Defendants' motion for summary judgment pursuant                        Vistaril and Hydroxyzine is the
to Federal Rule of Civil Procedure 56. (Dkt. No. 92.) For the                    substitute we use for the same
reasons that follow, I recommend that Defendants' motion be                      purpose as Atarax. Hydroxyzine is the
granted in part and denied in part.                                              generic form of Atarax. I prescribed
                                                                                 Vistaril for [P]laintiff on October
                                                                                 2, 2002 ... Dr. Richards requested
I. FACTUAL AND PROCEDURAL SUMMARY
                                                                                 approval for Atarax in April 2004
 *2 Unless otherwise noted, the facts in this summary are
                                                                                 and it was suggested that [P]laintiff
taken from Plaintiff's verified complaint 1 . Plaintiff, a New                   try Claritin, which had become a
York state prisoner, was transferred to Upstate Correctional                     formulary (regularly stocked) drug.
Facility on September 14, 2002. (Dkt. No. 1 ¶ 8.) Plaintiff                      Dr. Richards requested approval for
alleges that he was suffering from “ongoing severe pain                          Atarax again in June 2004, and the
in his left hand wrist and right foot ankle due to nerve                         response was that if the generic
damage.” (Dkt. No. 1 ¶ 9.) From the time he arrived at                           (Hydroxyzine) had not worked, it was
Upstate, he made “numerous requests” to Defendant Drs.                           unclear that the branded drug Atarax
Evelyn Weissman and Richards to receive a medication called                      would work ... Plaintiff's complaints
Atarax that had been prescribed to him previously at Auburn                      of itching were not ignored, and he
Correctional Facility, an MRI of his left wrist and right ankle,                 [was] constantly given medication for
and a referral to an orthopedist. (Dkt. No. 1 ¶ 12.) Plaintiff                   itching.
alleges that Defendants Weissman and Richards refused his
requests for Atarax, the MRI, and the referral “in retaliation
for his having filed numerous formal grievances against them
                                                                     (Weissman Aff. ¶¶ 4–10.)
[and other Upstate medical staff members] within a period of
two years, and for the purpose of preventing [Plaintiff] from
                                                                     As to Plaintiff's other claims, Dr. Weissman declares:
demonstrating in a civil rights action against prison officials
the extent of the injuries of his left hand and right foot.” (Dkt.     Regarding [P]laintiff's claim that his request for an MRI
No. 1 ¶ 12–13.) Plaintiff alleges that, as a result, he continues      was denied, Dr. Richards and I felt, in our medical
to experience severe pain in his left wrist and right ankle,           judgment, an MRI was not warranted. However, because
numbness in different areas of his left hand and right foot,           his pain and numbness was improving with time, Dr.
an inability to walk or stand for longer than ten minutes, and         Richards requested, and I approved, physical therapy
ongoing severe body itch. (Dkt. No. 1 ¶ 14.)                           for [P]laintiff beginning in January 2003. Regarding
                                                                       [P]laintiff's claim that his request for an orthopedic consult
1                                                                      was denied, that is incorrect. Dr. Richards requested an
        Only two of the named Defendants filed affidavits
        supporting Defendants' motion for summary                      orthopedic consult for [P]laintiff on August 19, 2003 and
        judgment. Only one of those affidavits-the affidavit           [P]laintiff saw an orthopedist on September 4, 2003. The
        of Defendant Dr. Evelyn Weissman—contradicts                   orthopedist ... did not suggest an MRI and determined that
        Plaintiff's version of events.                                 [P]laintiff was improving and “... there is not much else
                                                                       that I can suggest for Henry to improve or accelerate his
Regarding Plaintiff's requests for Atarax, Dr. Weissman
                                                                       healing. For the time being, I am just going to suggest that
declares that Atarax is
                                                                       he be patient.”

                                                                     *3 (Weissman Aff. ¶¶ 11–13.)




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Plaintiff was transferred to Elmira Correctional Facility                  alleged Fourth Amendment violation where he was
Reception Center on November 7, 2002, for a court                          subjected to repeated strip and body cavity searches
appearance. Upon arrival, Plaintiff informed Defendant                     that were not related to legitimate government
Correction Officer Ham that he suffered “ongoing severe pain               purposes and designed to punish); Covino, 967
in his left hand wrist and right foot ankle due to nerve damage,           F.2d at 80 (strip search accompanied by physical
and that the handcuffs and leg irons ... were too tight and                and verbal abuse is unconstitutional); Hodges
causing him swelling and enormous pain.” Ham observed                      v. Stanley, 712 F.2d 34, 35–36 (2d Cir.1983)
that Plaintiff's hands were swollen. However, he refused to                (second strip search performed soon after a first
remove or loosen the restraints. Plaintiff remained in the                 strip search served no legitimate interest when
restraints, suffering enormous pain and swelling, until he was             prisoner was under continuous escort); Jean–
transferred to Five Points Correctional Facility three hours               Laurent v. Wilkerson, 438 F.Supp.2d 318, 323
later. (Dkt. No. 1 ¶ 9.)                                                   (S.D.N.Y.2006).” Miller v. Bailey, No. 05–CV–
                                                                           5493, 2008 U.S. Dist. LEXIS 31863, at *1, 2008
Plaintiff was returned to the Elmira Correctional Facility                 WL 1787692, at *9 (E.D.N.Y. Apr. 17, 2008).
Reception Center on November 14, 2002. At that time,                       Plaintiff does not allege, and the evidence does
Plaintiff again informed Defendant Ham that the restraints                 not show, that Defendants conducted the strip-
were too tight and were causing him swelling and extreme                   frisk with an intent to intimidate, harass, or punish
pain. Defendant Ham “again verbally acknowledged that                      Plaintiff.
[Plaintiff]'s hands were ... swollen” but refused to remove
                                                                   Shortly thereafter, Defendant Lt. Wright approached Plaintiff
the restraints. Plaintiff remained in the restraints, suffering
                                                                   and asked him if he had spit at staff. Before Plaintiff could
enormous pain and swelling, until he was transferred out of
                                                                   respond, Defendant Wright ordered several guards to get a
the facility three hours later. (Dkt. No. 1 ¶ 10.)
                                                                   video camera and put a “spittle mask” on Plaintiff. After
                                                                   the guards did so, Defendant Wright escorted Plaintiff to his
On January 2, 2003, Defendant Correction Officers Nephew
                                                                   cell. He asked Plaintiff to explain what had happened in the
and Desotelle strip-frisked Plaintiff 2 in preparation for         frisk room. Plaintiff said that Defendant Wright would not
transferring Plaintiff for a court appearance. Defendant Sgt.      believe his account of the incident, accused Defendant Wright
Snyder was also in the room. When they had completed               of interfering with his court trip and unjustifiably putting
the search, Defendant Nephew ordered Plaintiff to put on           a spittle mask on him, and said he would sue Defendants
his coat. Plaintiff told Nephew that wearing the coat would        Wright and Snyder. Defendant Wright told Plaintiff that
“severely aggravate his continuing body itch stemming from         “transportation vans don't have cameras. You're going to learn
his hepatitis virus.” (Dkt. No. 1 ¶ 15.) Defendant Snyder          not to spit ... [at] staff and ... threaten us with lawsuits.” (Dkt.
called Plaintiff a “spick” and threatened to forcibly put the      No. 1 ¶ 16.)
coat on Plaintiff. Plaintiff told Defendants Snyder, Nephew,
and Desotelle that he would sue them if they used force. (Dkt.     After Defendant Wright left Plaintiff's cell, Defendant Capt.
No. 1 ¶ 15.)                                                       Bezio approached and asked Plaintiff to explain what
                                                                   happened in the frisk room. Plaintiff told Defendant Bezio
2                                                                  what had happened, denied that he had threatened to spit at
       Plaintiff does not allege that the strip-frisk violated
       his constitutional rights. Even if he did, I would          a staff member, and asked Defendant Bezio to protect him
       find that such a claim would not survive sua                while he was being transported to court. Defendant Bezio told
       sponte review under 28 U.S.C. § 1915(e)(2)(B).              Plaintiff to be “up and ready to go to court” and that “people
       Strip searches conducted in a prison setting are            don't like to get spat ... on.” 3 (Dkt. No. 1 ¶ 19.)
       constitutional if they are reasonably related to a
       legitimate penological goal and are conducted in a          3       In their motion for summary judgment, Defendants
       reasonable manner. Frazier v. Ward, 528 F.Supp.
                                                                           argue that Plaintiff cannot maintain a claim against
       80, 81 (N.D.N.Y.1981). “However, a strip search is
                                                                           Defendant Bezio for these statements because
       unconstitutional if it is unrelated to any legitimate
                                                                           (1) Plaintiff did not exhaust his administrative
       penological goal or if it is designed to intimidate,
                                                                           remedies regarding the statements; and (2) threats
       harass, or punish. See, e.g., Iqbal v. Hasty, 490
                                                                           are not actionable constitutional violations. (Dkt.
       F.3d 143, 172 (2d Cir.2007) (pretrial detainee


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        No. 92–10 at 35–36.) In his opposition to the                 by Upstate officials, that he was suffering severe pain in his
        motion, Plaintiff states that he did not intend to            head and right ear, and that he wanted to be examined by a
        maintain a separate claim against Defendant Bezio             doctor. Defendant Hensel refused to examine Plaintiff, made
        based on the statements. Rather, he included this             no record of his complaints, and refused to schedule Plaintiff
        allegation in his complaint to provide relevant               to see a doctor. 5 (Dkt. No. 1 ¶ 23.)
        information for his failure to intervene claim. (Dkt.
        No. 109 at 48.) Therefore, I will not address                 5       The medical records produced by Defendants in
        Defendants' arguments regarding these statements.
                                                                              support of their motion for summary judgment
*4 On January 3, 2003, Defendant Correction Officer                           do not reflect that Plaintiff saw Nurse Hensel on
Duprat escorted Plaintiff to the transportation van. Defendant                January 3, 2003. However, as the Court has noted
Duprat told Plaintiff to “remember what we told you about                     previously (Dkt. No. 99 at 3), a SHU log book
the van.” 4 As they were walking, Plaintiff saw Defendant                     entry for January 3, 2003, indicates that Plaintiff
Bezio and told him that Defendant Duprat had threatened to                    was “taken to strip frisk room for pictures and to be
“employ physical abuse” against him in the van. Defendant                     assessed by R/N Hensel.” (Defs.' Resp. to P.'s 1st
Bezio shrugged his shoulders. (Dkt. No. 1 ¶ 20.) Defendant                    Req. for Prod. of Docs., Ex. E at 11.) This document
Duprat drove Plaintiff in a van to a different building, where                corroborates Plaintiff's claim that he saw Defendant
he called Defendant Snyder “to arrange a beating” of Plaintiff.               Hensel on January 3, 2003. I note, however, that
After the phone call, Defendant Duprat drove Plaintiff back                   none of the parties included the log book entry in
to the first building. When they arrived, Defendant Snyder                    their moving or opposing papers.
entered the rear section of the van and told Plaintiff that “you      Plaintiff's medical record from Five Points indicates that on
like ... suing us. Wright, my boss, doesn't like that and sent this   January 3, 2003, the day he arrived, Plaintiff was seen by
as a reminder.” Defendant Snyder then punched and slapped             Nurse Nancy O'Connor Ryerson. She noted that Plaintiff
Plaintiff, who was in handcuffs and leg irons, in the face            arrived via van with cuffs and chains and spit net, and that
and the back of his head, knocking him unconscious. When              he complained of pain and itching. “It was noted that he
Plaintiff revived, Defendants Duprat and Correction Officer           takes Naprosyn and Benadryl, and he was escorted to 12
Bogett entered the rear section of the van and punched and            Building. Apparently Naprosyn was not sent with him and it
slapped Plaintiff several times in the head, chest, and right         is a medication for which he would need a prescription from
ear. When Plaintiff began to bleed from his right inner ear,          a doctor. Since this was not an emergency, the procedure is to
Defendants Duprat and Bogett tied a spittle mask on Plaintiff's       place the inmate on the regular physician call-out list for an
head. (Dkt. No. 1 ¶¶ 21–22.)                                          appointment. Nurse Ryerson also noted that he was Hepatitis
                                                                      C positive.” (Bannister Aff. ¶ 5.)
4       In their motion for summary judgment, Defendants
        argue that Plaintiff cannot maintain a claim against          On January 4, 2003, Plaintiff notified Defendant Nurse
        Defendant Duprat for this statement because                   Goodwin 6 that he needed emergency medical treatment
        (1) Plaintiff did not exhaust his administrative              because of severe pain in his liver, left wrist, and right ear, and
        remedies regarding the statement; and (2) threats             that he wanted medicine for his severe body itch. Defendant
        are not actionable constitutional violations. (Dkt.           Goodwin refused to examine Plaintiff, made no record of his
        No. 92–10 at 35–36.) In his opposition to the                 complaints, and did not provide any treatment to Plaintiff.
        motion, Plaintiff states that he did not intend to            (Dkt. No. 1 ¶ 24.)
        maintain a separate claim against Defendant Duprat
        based on the statement. Rather, he included it                6       The complaint refers to this defendant as Nurse
        in his complaint to provide relevant information
                                                                              “Good.” However, Defendants state that her name
        for his excessive force claim. (Dkt. No. 109 at
                                                                              is actually Goodwin. (Dkt. No. 92–10 at 1 n. 1.) I
        48.) Therefore, I will not address Defendants'
                                                                              will refer to her as Nurse Goodwin.
        arguments regarding these statements.
                                                                      Plaintiff's medical records from Five Points indicate that on
When Plaintiff arrived at Five Points Correctional Facility
                                                                      January 4, 2003, Plaintiff was seen by Nurse “Goon” at his
later that day, he notified Defendant Nurse Hensel that he
                                                                      cell after security staff told the nurse that Plaintiff stated his
had been bleeding from his inner right ear due to a beating



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asthma was acting up. Nurse “Goon” 's note indicated that          Plaintiff's medical records from Five Points show that
Plaintiff never acknowledged shortness of breath and that she      Defendant Costello saw him on January 6, 2003. She noted
checked Plaintiff's transfer form and the computer and found       that he was complaining that he needed an emergency
that he had no history of asthma. (Bannister Aff. ¶ 6.)            prescription for severe headache and severe itching. She noted
                                                                   that he requested a prompt examination by a physician. She
*5 On January 5, 2003, Plaintiff alleges that he informed          instructed him that she would have to find the chart or the
Defendant Nurse Kuhlman 7 that he had been bleeding from           transfer paperwork because nurses cannot give medications
his inner right ear and that he was suffering from an ongoing,     until they verify allergies and prescription orders. (Bannister
extreme body itch due to his hepatitis C and B virus.              Aff. ¶ 8.)
Defendant Kuhlman told Plaintiff that she would review
his medical chart and return to him. Defendant Kuhlman             Plaintiff's medical records from Five Points show that he was
refused to examine Plaintiff, made no record of his medical        seen again the next day by Defendant Costello. Plaintiff's
complaints, and refused to provide treatment. (Dkt. No. 1 ¶        chart was still not available, and he again requested a
25.)                                                               prescription for itching, Hepatitis C, and a physical exam.
                                                                   Defendant Costello again noted that she would have to verify
7                                                                  his requests and then possibly schedule an appointment.
       The complaint refers to this defendant as Nurse
                                                                   (Bannister Aff. ¶ 9.)
       Coleman. As discussed further below, Plaintiff did
       not serve this defendant. In his opposition to the
                                                                   Plaintiff's medical records from Five Points show that he was
       motion for summary judgment, Plaintiff states that
                                                                   seen later that day by non-defendant Nurse Gardner at the
       he ultimately learned through discovery that her
                                                                   request of security staff. Plaintiff stated “I was knocked out
       name is actually Nurse Kuhlman. (Dkt. No. 109
                                                                   and beaten everywhere” and claimed that he had a lump on
       at 6 n. 2.) I will refer to this defendant as Nurse
                                                                   his head. Nurse Gardner examined him and noted no redness,
       Kuhlman.
                                                                   bruising, or bump on head. (Bannister Aff. ¶ 10.)
Plaintiff's medical records from Five Points show that
Defendant Kuhlman saw Plaintiff on January 5, 2003.                Plaintiff alleges that Wright, Nephew, Desotelle, and Snyder
Her note indicates that she went to his cell for his 4:00          retaliated against him for his threat to sue them by filing
p.m. medications and he complained about the way she               false misbehavior reports. (Dkt. No. 1 ¶¶ 17–18.) Defendant
distributed the medication 8 . He stated that the nurse would be   Correction Officer LaClair was assigned to assist Plaintiff
getting a grievance. He was uncooperative and argumentative.       with preparing for the subsequent disciplinary hearing. (Defs.'
(Bannister Aff. ¶ 7.)                                              Ex. 14.)


8                                                                  According to a misbehavior report filed by Defendant
       It is not clear what medications Nurse Kuhlman
                                                                   LaClair, when he went to Plaintiff's cell to assist him, Plaintiff
       was distributing, since the Affidavit of Linda
                                                                   “stated ... that [LaClair] was to get him what he wanted.”
       Bannister establishes that “nurses cannot give
                                                                   Defendant LaClair “informed him that what he needed had
       medications until they verify allergies and
                                                                   to be pertained (sic) to the misbehavior report. [Plaintiff]
       prescription orders” and that as of January 6,
                                                                   then stated “Get what I want or I'll fuck you up.” Defendant
       the day after Nurse Kuhlman saw Plaintiff, this
                                                                   La Clair “informed him the interview was over and left the
       verification had not been completed. (Bannister
                                                                   area.” (Defs.' Ex. 15 at 2–3.) Plaintiff alleges that Defendant
       Aff. ¶ 8.)
                                                                   LaClair “falsified [the] misbehavior report against [Plaintiff]
On January 6, 2003, Plaintiff informed Defendant Nurse             in order to refrain” from assisting Plaintiff. (Dkt. No. 1 ¶ 35.)
Costello that he needed treatment due to great pain in his
right ear and his ongoing severe body itch. Defendant Costello      *6 On January 15, 2003, Defendant Bullis arrived at
refused to examine Plaintiff's right ear, made no record of his    Plaintiff's cell and informed him that he would conduct the
medical complaint, and refused to promptly provide medical         disciplinary hearing that day. He asked Plaintiff whether
treatment. (Dkt. No. 1 ¶ 26.)                                      he wanted to attend the hearing. Plaintiff said that he did
                                                                   not because Defendant LaClair had not assisted him, but
                                                                   asked Defendant Bullis to interview Defendant LaClair and



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an inmate witness about the events leading to Defendant
LaClair's refusal to provide assistance. Plaintiff asked             *7 On March 16, 2009, Plaintiff again moved for sanctions.
Defendant Bullis not to impose a loaf diet as a punishment if       (Dkt. No. 103.) I noted that the photographs from January
he found Plaintiff guilty because the loaf diet caused Plaintiff    3 and 10, 2003, were still missing. (Dkt. No. 107 at 1.)
severe abdominal pains and constipation due to his hepatitis.       I reiterated that Plaintiff could ask the Court to draw
(Dkt. No. 1 ¶ 36.)                                                  factual inferences favorable to him based upon the missing
                                                                    photographs. (Dkt. No. 107 at 2.)
Defendant Bullis did not interview Defendant LaClair or
the inmate witness. He found Plaintiff guilty and imposed a         Currently pending before the Court is Defendants' motion for
penalty of 21 days of the loaf diet. (Dkt. No. 1 ¶ 37.) Plaintiff   summary judgment. (Dkt. No. 92.) Plaintiff has opposed the
alleges that Defendants Weissman and Girdich “maliciously”          motion. (Dkt. No. 109.)
approved the penalty in “reckless disregard” of the pain it
would inflict on Plaintiff. (Dkt. No. 1 ¶ 38.) Plaintiff alleges
that “[d]ue to the danger that the ... loaf diet posed” to his      II. APPLICABLE LEGAL STANDARDS
well-being, he refused to eat it. As a result, he lost 33 pounds
                                                                       A. Legal Standard Governing Motions for Summary
and suffered severe abdominal pains and emotional distress
                                                                       Judgment
that exacerbated his hepatitis. (Dkt. No. 1 ¶ 39.)
                                                                    Under Federal Rule of Civil Procedure 56, summary
                                                                    judgment is warranted if “the pleadings, depositions, answers
Plaintiff alleges that Defendants Brousseau, Donelli, Selsky,
                                                                    to interrogatories, and admissions on file, together with the
Girdich, and Eagen mishandled the grievances and appeals he
                                                                    affidavits, if any, show that there is no genuine issue as
filed or attempted to file regarding his claims. (Dkt. No. 1 ¶¶
                                                                    to any material fact and that the moving party is entitled
28–34, 40.)
                                                                    to a judgment as a matter of law.” Fed.R.Civ.P. 56(c). The
                                                                    party moving for summary judgment bears the initial burden
Plaintiff filed this lawsuit on October 6, 2004. The parties
                                                                    of showing, through the production of admissible evidence,
proceeded to discovery, which proved contentious. Plaintiff
                                                                    that no genuine issue of material fact exists. Major League
successfully moved to compel responses to his discovery
                                                                    Baseball Properties, Inc. v. Salvino, Inc., 542 F.3d 290,
requests, and thereafter filed four motions for sanctions
                                                                    309 (2d Cir.2008). Only after the moving party has met
seeking Defendants' compliance with the order compelling
                                                                    this burden is the non-moving party required to produce
discovery. (Dkt.Nos.56, 73, 94, 103.) I granted each of those
                                                                    evidence demonstrating that genuine issues of material fact
motions in part. (Dkt. Nos.62, 79, 99, 107.) As is relevant
                                                                    exist. Salahuddin v. Goord, 467 F.3d 263, 272–73 (2d
here, I ruled that because not all of the pages of the Five
                                                                    Cir.2006). The nonmoving party must do more than “rest
Points Movement and Control Log Book for November 14,
                                                                    upon the mere allegations ... of the [plaintiff's] pleading” or
2003, had been provided to Plaintiff before the original
                                                                    “simply show that there is some metaphysical doubt as to
was destroyed, Plaintiff could ask the Court to draw factual
inferences favorable to him. (Dkt. No. 99 at 2.) I ruled            the material facts.” 9 Rather, “[a] dispute regarding a material
that because Defendants could not locate the SHU log book           fact is genuine if the evidence is such that a reasonable
for January 2003, Plaintiff could “ask the Court to draw            jury could return a verdict for the nonmoving party.” 10 In
factual inferences favorable to him based upon the missing          determining whether a genuine issue of material 11 fact exists,
pages for January 14, 2003” in opposition to Defendants'            the Court must resolve all ambiguities and draw all reasonable
motion for summary judgment. (Dkt. No. 99 at 1–2.) I noted
                                                                    inferences against the moving party. 12
that Defendants had told Plaintiff that photographs taken
of him on January 10, 2003, would be produced but that,
                                                                    9
without explanation, Defendants could no longer find the                   Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
photographs. Accordingly, I ruled that Plaintiff could ask the             475 U.S. 574, 585–86, 106 S.Ct. 1348, 89 L.Ed.2d
Court to draw factual inferences favorable to him based upon               538 (1986); Anderson v. Liberty Lobby, Inc., 477
the missing photographs. (Dkt. No. 99 at 2–3.) I ordered that              U.S. 242, 247–48, 106 S.Ct. 2505, 91 L.Ed.2d
if photographs taken of Plaintiff on January 3, 2003, no longer            202 (1986); see also Fed.R.Civ.P. 56(e) (“When a
existed, Plaintiff could similarly request favorable inferences.           motion for summary judgment is properly made
(Dkt. No. 99 at 3.)                                                        [by a defendant] and supported [as provided in



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       this rule], the [plaintiff] may not rely merely on                1915A(b), which provides that, “[o]n review, the
       allegations ... of the [plaintiff's] pleading ....”).             court shall ... dismiss the [prisoner's] complaint, or
                                                                         any portion of the complaint, if the complaint ... is
10
       Ross v. McGinnis, No. 00–CV–0275, 2004 U.S.                       frivolous, malicious, or fails to state a claim upon
       Dist. LEXIS 9367, at * 20–21, 2004 WL 1125177,                    which relief may be granted ....”
       at *8 (W.D.N.Y. Mar.29, 2004) (internal quotations
                                                                   *8 Under Federal Rule of Civil Procedure 12(b)(6), a
       omitted) (emphasis added).
                                                                  defendant may move to dismiss a complaint for “failure to
11                                                                state a claim upon which relief can be granted.” Fed.R.Civ.P.
       A fact is “material” only if it would have some
       effect on the outcome of the suit. Anderson v.             12(b)(6). It has long been understood that a defendant may
       Liberty Lobby, 477 U.S. 242, 248, 106 S.Ct. 2505,          base such a motion on either or both of two grounds: (1) a
       91 L.Ed.2d 202 (1986).                                     challenge to the “sufficiency of the pleading” under Federal

12                                                                Rule of Civil Procedure 8(a)(2); 14 or (2) a challenge to the
       Schwapp v. Town of Avon, 118 F.3d 106, 110 (2d
       Cir.1997) (citation omitted); Thompson v. Gjivoje,         legal cognizability 14 of the claim. 15
       896 F.2d 716, 720 (2d Cir.1990) (citation omitted).
                                                                  14
                                                                         See 5C Charles Alan Wright & Arthur R. Miller,
   B. Legal Standard Governing Motion to Dismiss for                     Federal Practice and Procedure § 1363 at 112 (3d
   Failure to State a Claim                                              ed. 2004) (“A motion to dismiss for failure to state
To the extent that a defendant's motion for summary judgment             a claim for relief under Rule 12(b)(6) goes to the
under Federal Rule of Civil Procedure 56 is based entirely               sufficiency of the pleading under Rule 8(a)(2).”)
on the allegations of the plaintiff's complaint, such a motion           (citations omitted); Princeton Indus., Inc. v. Rem,
is functionally the same as a motion to dismiss for failure to           39 B.R. 140, 143 (Bankr.S.D.N.Y.1984) ( “The
state a claim under Federal Rule of Civil Procedure 12(b)(6).            motion under F.R.Civ.P. 12(b)(6) tests the formal
As a result, “[w]here appropriate, a trial judge may dismiss             legal sufficiency of the complaint as to whether
for failure to state a cause of action upon motion for summary           the plaintiff has conformed to F.R.Civ.P. 8(a)(2)
judgment.” Schwartz v. Compagnise Gen. Transatlantique,                  which calls for a ‘short and plain statement’ that
405 F.2d 270, 273–74 (2d Cir.1968) (citations omitted);                  the pleader is entitled to relief.”); Bush v. Masiello,
accord, Katz v. Molic, 128 F.R.D. 35, 37–38 (S.D.N.Y.1989)               55 F.R.D. 72, 74 (S.D.N.Y.1972) (“This motion
(“This Court finds that ... a conversion [of a Rule 56 summary           under Fed.R.Civ.P. 12(b)(6) tests the formal legal
judgment motion to a Rule 12(b)(6) motion to dismiss the                 sufficiency of the complaint, determining whether
complaint] is proper with or without notice to the parties.”).           the complaint has conformed to Fed.R.Civ.P. 8(a)
Moreover, even where a defendant has not advanced such a                 (2) which calls for a ‘short and plain statement that
failure-to-state-a-claim argument on a motion for summary                the pleader is entitled to relief.’ ”).
judgment, a district court may, sua sponte, address whether a     15
pro se prisoner has failed to state a claim upon which relief            See Swierkiewicz v. Sorema N.A., 534 U.S. 506,
                                                                         514, 122 S.Ct. 992, 152 L.Ed.2d 1 (2002) (“These
may be granted. 13 For these reasons, it is appropriate to
                                                                         allegations give respondent fair notice of what
briefly summarize the legal standard governing Federal Rule
                                                                         petitioner's claims are and the grounds upon which
of Civil Procedure 12(b)(6) motions to dismiss.
                                                                         they rest.... In addition, they state claims upon
                                                                         which relief could be granted under Title VII and
13
       The authority to conduct this sua sponte analysis is              the ADEA.”); Wynder v. McMahon, 360 F.3d 73,
       derived from two sources: (1) 28 U.S.C. § 1915(e)                 80 (2d Cir.2004) (“There is a critical distinction
       (2)(B), which provides that “the court shall dismiss              between the notice requirements of Rule 8(a)
       [a] case [brought by a prisoner proceeding in forma               and the requirement, under Rule 12(b)(6), that a
       pauperis ] at any time if the court determines that ...           plaintiff state a claim upon which relief can be
       the action ... is frivolous or malicious[,] ... fails to          granted.”); Phelps v. Kapnolas, 308 F.3d 180, 187
       state a claim on which relief may be granted[,] ...               (2d Cir.2002) (“Of course, none of this is to say that
       or ... seeks monetary relief against a defendant who              a court should hesitate to dismiss a complaint when
       is immune from such relief”; and (2) 28 U.S.C. §                  the plaintiff's allegation ... fails as a matter of law.”)



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        (citation omitted); Kittay v. Kornstein, 230 F.3d          17
                                                                           Swierkiewicz, 534 U.S. at 514 (quoting Conley,
        531, 541 (2d Cir.2000) (distinguishing between
                                                                           355 U.S. at 48); see also Simmons v. Abruzzo,
        a failure to meet Rule 12[b][6]'s requirement
                                                                           49 F.3d 83, 86 (2d Cir.1995) (“Fair notice is that
        of stating a cognizable claim and Rule 8[a]'s
                                                                           which will enable the adverse party to answer
        requirement of disclosing sufficient information to
                                                                           and prepare for trial, allow the application of res
        put defendant on fair notice); In re Methyl Tertiary               judicata, and identify the nature of the case so it
        Butyl Ether Prods. Liab. Litig., 379 F.Supp.2d 348,                may be assigned the proper form of trial.”) (citation
        370 (S.D.N.Y.2005) ( “Although Rule 8 does not                     omitted); Salahuddin v. Cuomo, 861 F.2d 40, 42 (2d
        require plaintiffs to plead a theory of causation,                 Cir.1988) (“[T]he principle function of pleadings
        it does not protect a legally insufficient claim                   under the Federal Rules is to give the adverse party
        [under Rule 12(b)(6) ].”) (citation omitted); Util.                fair notice of the claim asserted so as to enable
        Metal Research & Generac Power Sys., Inc.,                         him to answer and prepare for trial.”) (citations
        No. 02–CV–6205, 2004 U.S. Dist. LEXIS 23314,                       omitted).
        at *4–5, 2004 WL 2613993, at *1–2 (E.D.N.Y.
        Nov. 18, 2004) (distinguishing between the legal           18
                                                                           Gonzales v. Wing, 167 F.R.D. 352, 355
        sufficiency of the cause of action under Rule 12[b]                (N.D.N.Y.1996) ( McAvoy, J.), aff'd, 113 F.3d
        [6] and the sufficiency of the complaint under Rule                1229 (2d Cir.1997) (unpublished table opinion);
        8[a] ); accord, Straker v. Metro Trans. Auth., 333                 accord, Hudson v. Artuz, 95–CV–4768, 1998 WL
        F.Supp.2d 91, 101–102 (E.D.N.Y.2004); Tangorre                     832708, at *2 (S.D.N.Y. Nov.30, 1998), Flores
        v. Mako's, Inc., No. 01–CV–4430, 2002 U.S. Dist.                   v. Bessereau, No. 98–CV–0293, 1998 U.S. Dist.
        LEXIS 1658, at *6–7, 2002 WL 313156 (S.D.N.Y.                      LEXIS 8750, 1998 WL 315087, at *1 (N.D.N.Y.
        Jan. 30, 2002) (identifying two sorts of arguments                 June 8, 1998) (Pooler, J.). Consistent with the
        made on a Rule 12(b)(6) motion—one aimed at                        Second Circuit's application of § 0.23 of the Rules
        the sufficiency of the pleadings under Rule 8(a),                  of the U.S. Court of Appeals for the Second
        and the other aimed at the legal sufficiency of the                Circuit, I cite this unpublished table opinion, not
        claims).                                                           as precedential authority, but merely to show the
Rule 8(a)(2) requires that a pleading contain “a short and                 case's subsequent history. See, e.g., Photopaint
plain statement of the claim showing that the pleader is                   Technol., LLC v. Smartlens Corp., 335 F.3d 152,
entitled to relief.” Fed.R.Civ.P. 8(a)(2) (emphasis added).                156 (2d Cir.2003) (citing, for similar purpose,
By requiring this “showing,” Rule 8(a)(2) requires that the                unpublished table opinion of Gronager v. Gilmore
pleading contain a short and plain statement that “give[s] the             Sec. & Co., 104 F.3d 355 (2d Cir.1996)).
defendant fair notice of what the plaintiff's claim is and the     “To survive a motion to dismiss, a complaint must contain
                                 16                                sufficient factual matter ... to ‘state a claim to relief that is
grounds upon which it rests.”         The main purpose of this
                                                                   plausible on its face.’ A claim has facial plausibility when
rule is to “facilitate a proper decision on the merits.” 17 A
                                                                   the plaintiff pleads factual content that allows the court to
complaint that fails to comply with this rule “presents far
                                                                   draw the reasonable inference that the defendant is liable
too heavy a burden in terms of defendants' duty to shape a
                                                                   for the misconduct alleged. The plausibility standard is not
comprehensive defense and provides no meaningful basis for
                                                                   akin to a probability requirement, but it asks for more than
the Court to assess the sufficiency of [plaintiff's] claims.” 18
                                                                   a sheer possibility that a defendant has acted unlawfully.”
                                                                   Ashcroft v. Iqbal, ––– U.S. ––––, 129 S.Ct. 1937, 1949, 173
16
        Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 125             L.Ed.2d 868 (2009) (quoting Bell Atlantic Corp. v. Twombly,
        S.Ct. 1627, 1634, 161 L.Ed.2d 577 (2005) (holding          550 U.S. 544, 556–57, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929
        that the complaint failed to meet this test) (citation     (2007)). Accordingly, “where the well-pleaded facts do not
        omitted; emphasis added); see also Swierkiewicz,           permit the court to infer more than the mere possibility of
        534 U.S. at 512 (citation omitted); Leathernman            misconduct, the complaint has alleged—but has not shown—
        v. Tarrant County Narcotics Intelligence and               that the pleader is entitled to relief.” Iqbal, 129 S.Ct. at 1950
        Coordination Unit, 507 U.S. 163, 168, 113 S.Ct.            (emphasis added).
        1160, 122 L.Ed.2d 517 (1993) (citation omitted).




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It should also be emphasized that, “[i]n reviewing a complaint            192, 195 [2d Cir.1987] [considering plaintiff's
for dismissal under Fed.R.Civ.P. 12(b)(6), the court must                 response affidavit on motion to dismiss] ).
accept the material facts alleged in the complaint as true and            Stated another way, “in cases where a pro se
construe all reasonable inferences in the plaintiff's favor.” 19          plaintiff is faced with a motion to dismiss, it is
“This standard is applied with even greater force where the               appropriate for the court to consider materials
plaintiff alleges civil rights violations or where the complaint          outside the complaint to the extent they ‘are
                                                                          consistent with the allegations in the complaint.’
is submitted pro se.” 20 In other words, while all pleadings
                                                                          ” Donhauser v. Goord, 314 F.Supp.2d 119, 212
are to be construed liberally under Rule 8(e), pro se civil
                                                                          (N.D.N.Y.2004) (considering factual allegations
rights pleadings are to be construed with an extra degree of
                                                                          contained in plaintiff's opposition papers) (citations
liberality.
                                                                          omitted), vacated in part on other grounds, 317
                                                                          F.Supp.2d 160 (N.D.N.Y.2004). This authority is
19
        Hernandez v. Coughlin, 18 F.3d 133, 136 (2d                       premised, not only on case law, but on Rule 15
        Cir.1994) (affirming grant of motion to dismiss)                  of the Federal Rules of Civil Procedure, which
        (citation omitted); Sheppard v. Beerman, 18 F.3d                  permits a plaintiff, as a matter of right, to amend
        147, 150 (2d Cir.1994).                                           his complaint once at any time before the service
20                                                                        of a responsive pleading-which a motion to dismiss
        Hernandez, 18 F.3d at 136 (citation omitted);
                                                                          is not. See Washington v. James, 782 F.2d 1134,
        Deravin v. Kerik, 335 F.3d 195, 200 (2d Cir.2003)
                                                                          1138–39 (2d Cir.1986) (considering subsequent
        (citations omitted); Vital v. Interfaith Med. Ctr., 168
                                                                          affidavit as amending pro se complaint, on motion
        F.3d 615, 619 (2d Cir.1999) (citation omitted).
                                                                          to dismiss) (citations omitted).
For example, the mandate to read the papers of pro se litigants
                                                                     22
generously makes it appropriate to consider a plaintiff's                 Cruz v. Gomez, 202 F.3d 593, 597 (2d Cir.2000)
papers in opposition to a defendant's motion to dismiss                   (finding that plaintiff's conclusory allegations of a
as effectively amending the allegations of the plaintiff's                due process violation were insufficient) (internal
complaint, to the extent that those factual assertions are                quotation and citation omitted).
consistent with the allegations of the plaintiff's complaint. 21     23
                                                                          Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir.2000)
Moreover, “courts must construe pro se pleadings broadly,                 (internal quotation and citation omitted); see also
and interpret them to raise the strongest arguments that                  Fed.R.Civ.P. 15(a) (leave to amend “shall be freely
they suggest.” 22 Furthermore, when addressing a pro se                   given when justice so requires”).
complaint, generally a district court “should not dismiss
                                                                     24
without granting leave to amend at least once when a liberal              Yang v. New York City Trans. Auth., No. 01–CV–
reading of the complaint gives any indication that a valid                3933, 2002 U.S. Dist. LEXIS 20223, 2002 WL
                                                                          31399119, at *2 (E.D.N.Y. Oct.24, 2002) (denying
claim might be stated.” 23 Of course, an opportunity to amend
                                                                          leave to amend where plaintiff had already
is not required where the plaintiff has already amended his
                                                                          amended complaint once); Advanced Marine Tech.
complaint. 24 In addition, an opportunity to amend is not                 v. Burnham Sec., Inc., 16 F.Supp.2d 375, 384
required where “the problem with [plaintiff's] causes of action           (S.D.N.Y.1998) (denying leave to amend where
is substantive” such that “[b]etter pleading will not cure it.” 25        plaintiff had already amended complaint once).
                                                                     25
21                                                                        Cuoco, 222 F.3d at 112 (finding that repleading
        “Generally, a court may not look outside the
                                                                          would be futile) (citation omitted); see also Cortec
        pleadings when reviewing a Rule 12(b)(6) motion
                                                                          Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 48 (2d
        to dismiss. However, the mandate to read the papers
                                                                          Cir.1991) (“Of course, where a plaintiff is unable
        of pro se litigants generously makes it appropriate
                                                                          to allege any fact sufficient to support its claim,
        to consider plaintiff's additional materials, such as
                                                                          a complaint should be dismissed with prejudice.”)
        his opposition memorandum.” Gadson v. Goord,
                                                                          (affirming, in part, dismissal of claim with
        No. 96–CV–7544, U.S. Dist. LEXIS 18131 1997
                                                                          prejudice) (citation omitted); see, e.g., See Rhodes
        WL 714878, at * 1, n. 2, 1997 (S.D.N.Y. Nov.17,
                                                                          v. Hoy, No. 05–CV–0836, 2007 U.S. Dist. LEXIS
        1997) (citing, inter alia, Gil v. Mooney, 824 F.2d


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       48370, 2007 WL 1343649, at *3, 7 (N.D.N.Y.                  26
                                                                        Sealed Plaintiff v. Sealed Defendant # 1, No. 06–
       May 5, 2007) (Scullin, J., adopting Report–
                                                                        1590, 2008 U.S.App. LEXIS 17113, 2008 WL
       Recommendation of Peebles, M.J.) (denying pro                    3294864, at *5 (2d Cir. Aug.12, 2008) (“[The
       se plaintiff opportunity to amend before dismissing              obligation to construe the pleadings of pro se
       his complaint because the error in his complaint-                litigants liberally] entails, at the very least, a
       the fact that plaintiff enjoyed no constitutional right          permissive application of the rules governing the
       of access to DOCS' established grievance process-                form of pleadings.”) [internal quotation marks and
       was substantive and not formal in nature, rendering
                                                                        citation omitted]; see also Traguth v. Zuck, 710 F.2d
       repleading futile); Thabault v. Sorrell, No. 07–CV–              90, 95 (2d Cir.1983) (“[R]easonable allowances to
       0166, 2008 U.S. Dist. LEXIS 62919, 2008 WL
                                                                        protect pro se litigants from inadvertent forfeiture
       3582743, at *2 (D.Vt. Aug. 13, 2008) (denying pro                of important rights because of their lack of legal
       se plaintiff opportunity to amend before dismissing              training ... should not be impaired by harsh
       his complaint because the errors in his complaint-               application of technical rules.”) (citation omitted).
       lack of subject-matter jurisdiction and lack of
       standing-were substantive and not formal in nature,         27
                                                                        See Prezzi v. Schelter, 469 F.2d 691, 692
       rendering repleading futile) (citations omitted);                (2d Cir.1972) (extra liberal pleading standard
       Hylton v. All Island Cab Co., No. 05–CV–2355,                    set forth in Haines v. Kerner, 404 U.S. 519,
       2005 WL 1541049, at *2 (E.D.N.Y. June 29,                        92 S.Ct. 594, 30 L.Ed.2d 652 (1972), did
       2005) (denying pro se plaintiff opportunity to                   not save pro se complaint from dismissal for
       amend before dismissing his complaint arising                    failing to comply with Fed.R.Civ.P. 8); accord,
       under 42 U.S.C. § 1983 because the errors in his                 Shoemaker v. State of Cal., 101 F.3d 108
       complaint-which included the fact that plaintiff                 (2d Cir.1996) (citing Prezzi v. Schelter, 469
       alleged no violation of either the Constitution or               F.2d 691) (unpublished disposition cited only to
       laws of the United States, but only negligence-were              acknowledge the continued precedential effect of
       substantive and not formal in nature, rendering                  Prezzi v. Schelter, 469 F.2d 691, within the Second
       repleading futile); Sundwall v. Leuba, No. 00–CV–                Circuit); accord, Praseuth v. Werbe, 99 F.3d 402
       1309, 2001 U.S. Dist. LEXIS 737, 2001 WL 58834,                  (2d Cir.1995).
       at *11 (D.Conn. Jan.23, 2001) (denying pro se
                                                                   28
       plaintiff opportunity to amend before dismissing                 See McNeil v. U.S., 508 U.S. 106, 113, 113
       his complaint arising under 42 U.S.C. § 1983                     S.Ct. 1980, 124 L.Ed.2d 21 (1993) (“While we
       because the error in his complaint-the fact that                 have insisted that the pleadings prepared by
       the defendants were protected from liability by                  prisoners who do not have access to counsel be
       Eleventh Amendment immunity-was substantive                      liberally construed ... we have never suggested
       and not formal in nature, rendering repleading                   that procedural rules in ordinary civil litigation
       futile).                                                         should be interpreted so as to excuse mistakes
                                                                        by those who proceed without counsel.”); Faretta
 *9 However, while this special leniency may somewhat
                                                                        v. California, 422 U.S. 806, 834, n. 46, 95
loosen the procedural rules governing the form of pleadings
                                                                        S.Ct. 2525, 45 L.Ed.2d 562 (1975) (“The right
(as the Second Circuit has observed), 26 it does not                    of self-representation is not a license ... not to
completely relieve a pro se plaintiff of the duty to satisfy            comply with relevant rules of procedural and
the pleading standards set forth in Rules 8, 10 and 12. 27              substantive law.”); Triestman v. Fed. Bureau of
Rather, as both the Supreme Court and Second Circuit have               Prisons, 470 F.3d 471, 477 (2d Cir.2006) (pro se
repeatedly recognized, the requirements set forth in Rules 8,           status “does not exempt a party from compliance
10 and 12 are procedural rules that even pro se civil rights            with relevant rules of procedural and substantive
plaintiffs must follow. 28 Stated more plainly, when a plaintiff        law”) (citation omitted); Traguth v. Zuck, 710 F.2d
is proceeding pro se, “all normal rules of pleading are not             90, 95 (2d Cir.1983) (pro se status “does not
                                                                        exempt a party from compliance with relevant
absolutely suspended.” 29
                                                                        rules of procedural and substantive law”) (citation
                                                                        omitted); cf. Phillips v. Girdich, 408 F.3d 124,



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        128, 130 (2d Cir.2005) (acknowledging that pro se           of an Eighth Amendment medical care claim requires two
        plaintiff's complaint could be dismissed for failing        inquiries. “The first inquiry is whether the prisoner was
        to comply with Rules 8 and 10 if his mistakes either        actually deprived of adequate medical care.” Salahuddin v.
        “undermine the purpose of notice pleading [ ]or             Goord, 467 F.3d 263, 279 (2d Cir.2006). The word “adequate”
        prejudice the adverse party”).                              reflects the reality that “[p]rison officials are not obligated
29                                                                  to provide inmates with whatever care the inmates desire.
        Stinson v. Sheriff's Dep't of Sullivan County., 499         Rather, prison officials fulfill their obligations under the
        F.Supp. 259, 262 & n. 9 (S.D.N.Y.1980).                     Eighth Amendment when the care provided is ‘reasonable.’ ”
                                                                    Jones v. Westchester County Dept. of Corr. Med. Dept., 557
III. ANALYSIS                                                       F.Supp.2d 408, 413 (S.D.N.Y.2008).

   A. Weissman/Richards Health Care
                                                                     *10 The second inquiry is “whether the inadequacy in
Plaintiff alleges that Defendant Drs. Weissman and Richards
                                                                    medical care is sufficiently serious. This inquiry requires the
violated his Eighth Amendment right to adequate medical
                                                                    court to examine how the offending conduct is inadequate
care by prescribing an ineffective medication for his body
                                                                    and what harm, if any, the inadequacy has caused or
itch, refusing to order an MRI of his left wrist and right ankle,
                                                                    will likely cause the prisoner.” Salahuddin, 467 F.3d at
and refusing to refer him to an orthopedist. (Dkt. No. 1 ¶
                                                                    280. The focus of the second inquiry depends on whether
12.) Defendants move for summary judgment of these claims,
                                                                    the prisoner claims to have been completely deprived of
arguing that (1) Plaintiff did not suffer from a serious medical
                                                                    treatment or whether he claims to have received treatment
need; and (2) Defendants were not deliberately indifferent.
                                                                    that was inadequate. Id. If “the unreasonable medical care
(Dkt. No. 92–10 at 13–14.)
                                                                    is a failure to provide any treatment for an inmate's medical
                                                                    condition, courts examine whether the inmate's medical
   1. Eighth Amendment Standard                                     condition is sufficiently serious.” Id. A “serious medical
The Eighth Amendment to the United States Constitution              need” is “a condition of urgency, one that may produce death,
prohibits “cruel and unusual” punishments. The word                 degeneration, or extreme pain.” Nance v. Kelly, 912 F.2d 605,
“punishment” refers not only to deprivations imposed as a           607 (2d Cir.1990) (Pratt, J. dissenting) (citations omitted),
sanction for criminal wrongdoing, but also to deprivations          accord, Hathaway v. Coughlin, 37 F.3d 63, 66 (2d Cir.1996),
suffered during imprisonment. Estelle v. Gamble, 429 U.S.           cert. denied, 513 U.S. 1154, 115 S.Ct. 1108, 130 L.Ed.2d
97, 102–03, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976). Punishment         1074 (1995); Chance v. Armstrong, 143 F.3d 698, 702 (2d
is “cruel and unusual” if it involves the unnecessary and           Cir.1998). Relevant factors to consider when determining
wanton infliction of pain or if it is incompatible with “the        whether an alleged medical condition is sufficiently serious
evolving standards of decency that mark the progress of a           include, but are not limited to: (1) the existence of an injury
maturing society.” Estelle, 429 U.S. at 102. Thus, the Eighth       that a reasonable doctor or patient would find important and
Amendment imposes on jail officials the duty to “provide            worthy of comment or treatment; (2) the presence of a medical
humane conditions of confinement” for prisoners. Farmer v.          condition that significantly affects an individual's daily
Brennan, 511 U.S. 825, 832, 114 S.Ct. 1970, 128 L.Ed.2d             activities; and (3) the existence of chronic and substantial
811 (1994). Thus, prison officials must “ensure that inmates        pain. Chance, 143 F.3d at 702–03.
receive adequate food, clothing, shelter, and medical care,
and must ‘take reasonable measures to guarantee the safety          If the claim is that treatment was provided that was
of the inmates.’ ” Farmer, 511 U.S. at 832 (quoting Hudson          inadequate, the second inquiry is narrower. Salahuddin, 467
v. Palmer, 468 U.S. 517, 526–27, 104 S.Ct. 3194, 82 L.Ed.2d         F.3d at 280. For example, “[w]hen the basis for a prisoner's
393 (1984)).                                                        Eighth Amendment claim is a temporary delay or interruption
                                                                    in the provision of otherwise adequate medical treatment, it is
A viable Eighth Amendment claim must contain both an                appropriate to focus on the challenged delay or interruption
objective and a subjective component. Farmer, 511 U.S. at           in treatment rather than the prisoner's underlying medical
834. To satisfy the objective component, “the deprivation           condition alone in analyzing whether the alleged deprivation”
alleged must be, objectively, ‘sufficiently serious.’ ” Id.         is sufficiently serious. Smith v. Carpenter, 316 F.3d 178, 185
(quoting Wilson v. Seiter, 501 U.S. 294, 298, 111 S.Ct. 2321,       (2d Cir.2003).
115 L.Ed.2d 271 (1991)). Analyzing the objective element



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To satisfy the subjective component of an Eighth Amendment        treatment plan “not on the basis of [his or her] medical views,
medical care claim, the defendant's behavior must be              but because of monetary incentives.” Chance, 143 F.3d at 704.
“wanton.” What is considered “wanton” must be determined
with “due regard for differences in the kind of conduct against
which an Eighth Amendment objection is raised.” Whitley v.           2. Atarax
Albers, 475 U.S. 312, 320, 106 S.Ct. 1078, 89 L.Ed.2d 251          *11 Plaintiff claims that Defendants Weissman and Richards
(1986). Where a prisoner claims that a defendant provided         violated his Eighth Amendment rights by refusing to
inadequate medical care, he must show that the defendant          prescribe Atarax. (Dkt. No. 1 ¶¶ 1, 12.) Defendants move for
acted with “deliberate indifference.” Estelle, 429 U.S. at 105;   summary judgment, arguing that Plaintiff's claim regarding
Wilson v. Seiter, 501 U.S. 294, 302–03, 111 S.Ct. 2321, 115       the Atarax medication fulfills neither the objective nor the
L.Ed.2d 271 (1991).                                               subjective prong of a viable Eighth Amendment claim. (Dkt.
                                                                  No. 92–10 at 13–14.)
Medical mistreatment rises to the level of deliberate
indifference only when it “involves culpable recklessness,        Regarding the objective prong, the parties' briefs focus
i.e., an act or a failure to act ... that evinces ‘a conscious    entirely on whether Plaintiff suffered from a serious medical
disregard of a substantial risk of serious harm.’ ” Chance, 143   need. 30 Applying the analytical framework described above,
F.3d at 703 (quoting Hathaway v. Coughlin, 99 F.3d 550, 553       I must first address whether Plaintiff was actually deprived
(2d Cir.1996)). Thus, to establish deliberate indifference, an    of adequate medical care. I find that there is a triable issue of
inmate must prove that (1) a prison medical care provider was     fact that the refusal to prescribe Atarax constituted a denial
aware of facts from which the inference could be drawn that       of adequate or reasonable care. I base this finding on the
the inmate had a serious medical need; and (2) the medical        fact that Defendant Dr. Richards twice requested approval
care provider actually drew that inference. Farmer, 511 U.S.      to prescribe Atarax, noting that he had already tried treating
at 837; Chance, 143 F.3d at 702–703. The inmate then              Plaintiff with Hydroxyzine, Vistril, Allegra, and Zytrec “all of
must establish that the provider consciously and intentionally    which worsened [Plaintiff's] condition.” (Weissman Aff. Ex.
disregarded or ignored that serious medical need. Farmer,         A–9.)
511 U.S. at 835; Ross v. Giambruno, 112 F.3d 505, at *2
(2d Cir.1997). An “inadvertent failure to provide adequate        30      Defendants argue that Plaintiff's severe body itch
medical care” does not constitute “deliberate indifference.”              was not a serious medical need because it was not a
Estelle, 429 U.S. at 105–06. Moreover, “a complaint that                  “condition of urgency, one that may produce death,
a physician has been negligent in diagnosing or treating                  degeneration, or extreme pain”. (Dkt. No. 92–10
a medical condition does not state a valid claim ... under                at 13.) Plaintiff argues that severe body itch was
the Eighth Amendment.” Id. Stated another way, “medical                   a symptom of his Hepatitis C, which is a serious
malpractice does not become a constitutional violation merely             medical need. (Dkt. No. 109 at 28–30.)
because the victim is a prisoner.” Id.; Smith v. Carpenter,
316 F.3d 178, 184 (2d Cir.2003) (“Because the Eighth              Because Plaintiff alleges that he was provided with
Amendment is not a vehicle for bringing medical malpractice       inadequate treatment, rather than completely deprived of
claims, nor a substitute for state tort law, not every lapse in   treatment, the next inquiry is whether the deprivation was
prison medical care will rise to the level of a constitutional    sufficiently serious. This requires an analysis of what harm,
violation.”). However, malpractice that amounts to culpable       if any, the failure to prescribe Atarax caused or will cause
recklessness constitutes deliberate indifference. Accordingly,    Plaintiff. Here, there is simply no evidence before the
“a physician may be deliberately indifferent if he or she         Court that being deprived of Atarax harmed or threatened
consciously chooses an easier and less efficacious treatment      to harm Plaintiff. Rather, the evidence shows that Plaintiff
plan.” Chance, 143 F.3d at 703 (citation omitted). Medical        suffered from a severe body itch. While this condition was
decisions that are contrary to accepted medical standards may     undoubtedly unpleasant, it simply does not rise to the level
constitute deliberate indifference if “the doctor has based his   of an Eighth Amendment violation. Therefore, I find that
judgment on something other than sound medical judgment.”         Plaintiff has not raised a triable issue of fact regarding the
Stevens v. Goord, 535 F.Supp.2d 373, 385 (S.D.N.Y.2008)           objective prong of his Eighth Amendment claim regarding
(citation omitted). For instance, a doctor may be deliberately    Defendant Weissman and Richards' failure to prescribe
indifferent if he opts for an easier and less efficacious         Atarax.



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Having found that there is not a triable issue of fact as to the          when their request for approval of knee surgery was
objective prong, it is not necessary to analyze the subjective            denied).
prong. However, I will briefly address the parties' contentions
for the sake of completeness. Defendants argue that the               3. MRI and Orthopedic Referral
refusal by Defendants Weissman and Richards to prescribe            *12 Plaintiff claims that Defendants Weissman and Richards
Atarax was not deliberate indifference because the decision        violated his Eighth Amendment rights by refusing to take
of “which medicine to prescribe for a particular condition         MRIs of his left wrist and right ankle or to refer him to an
amount[s] to nothing more than a disagreement with the             orthopedist who could determine if medical footwear was
course of treatment-not deliberate indifference.” (Dkt. No.        necessary to correct his right foot problem. (Dkt. No. 1 ¶ 12.)
92–10 at 13–14.) Defendants' argument regarding deliberate         Defendants argue that (1) any deprivation was not sufficiently
indifference is based entirely on the affidavit of Dr.             serious to trigger Eighth Amendment scrutiny; and (2) they
Weissman. 31 Interestingly, in contrast to her statements          were not deliberately indifferent. (Dkt. No. 92–10 at 13–14.)
regarding Plaintiff's orthopedic care (discussed below),           Defendants are correct.
Dr. Weissman does not state that the decision not to
prescribe Atarax was based on her medical judgment. Rather,        Even if one assumes that the deprivation was sufficiently
she states that Atarax is a “non-formulary” medication             serious to trigger Eighth Amendment scrutiny, the evidence
and “special approval must be obtained to issue that               does not raise a triable issue of fact that Defendants
medication.” (Weissman Aff. ¶ 4.) Dr. Weissman does                were deliberately indifferent. Regarding the MRIs, Dr.
not say who was authorized to approve the use of non-              Weissman declares that “Dr. Richards and I felt, in our
formulary drugs. Dr. Richards twice requested approval to          medical judgment, an MRI was not warranted.” Because
prescribe Atarax to Plaintiff. (Weissman Aff. ¶¶ 7–8, Ex.          Plaintiff's “pain and numbness was improving with time,
A–9 and A–10.) In one of these requests, he stated that            Dr. Richards requested, and I approved, physical therapy
the other medications he had tried “worsened” Plaintiff's          for [P]laintiff beginning in January 2003.” (Weissman Aff.
condition. (Weissman Aff. Ex. A–9.) His requests were              ¶ 11.) In September 2003, Dr. Richards referred Plaintiff to
denied. (Weissman Aff. ¶¶ 7–8, Ex. A–9 and A–10.) This             an orthopedist for treatment of his left wrist because, after
sequence of events raises two interesting and related issues:      completing physical therapy, Plaintiff was “still having [a]
does the acquiescence of Dr. Weissman and Dr. Richards to          considerable amount of pain.” (Weissman Aff. Ex. A–13.)
a course of treatment for Plaintiff with which they disagreed      The orthopedist examined Plaintiff and reported that Plaintiff
                                                                   “seems to be improving at this point and unfortunately, there
constitute deliberate indifference? 32 Or does the fact that
                                                                   is not much else I can suggest for Henry to improve or
the decision not to prescribe Atarax was made by someone
                                                                   accelerate his healing.” (Weissman Aff. Ex. A–14.)
other than Dr. Weissman and Dr. Richards indicate that
they were not personally involved with, and thus not liable
                                                                   Plaintiff filed a grievance a year after seeing the orthopedist
for, the decision? See Johnson v. Wright, 412 F.3d 398
                                                                   complaining that Dr. Richards and Dr. Weissman “willfully
(2d Cir.2005) (claims against administrators who refused to
                                                                   refused to examine my injuries, to provide medical treatment
approve treatment requested by treating physicians survived
                                                                   for said injuries, and to order an MRI test of said injuries
summary judgment; treating physicians were not named as
                                                                   conducted ... in an attempt to prevent me from proving the
defendants). The parties have not addressed these issues, and,
                                                                   precise nature and extent of my injuries in a court of law
due to my finding that there is no triable issue of fact as to
                                                                   and, thus, to dissuade me from suing.” (P.'s Decl. in Opp'n
the objective prong and in the absence of briefing, I decline
                                                                   to Aff. of Evelyn Weissman, Ex. D.) Plaintiff argues that
to do so.
                                                                   this grievance proves that he “continued to complain to these
                                                                   defendants about continuing severe pain in his left wrist and
31     Dr. Richards did not file an affidavit supporting           right ankle for more than one year after he had been evaluated
       Defendants' motion for summary judgment.                    by the orthopedist.” (Dkt. No. 109 at 24–25.) The grievance
32                                                                 Plaintiff cites does not mention any “continuing severe pain
       See Sulton v. Wright, 265 F.Supp.2d 292
                                                                   in his left wrist and right ankle.” Therefore, I recommend that
       (S.D.N.Y.2003) (holding that a prisoner stated an
                                                                   the Court grant Defendants' motion for summary judgment
       Eighth Amendment claim against a doctor and
                                                                   and dismiss Plaintiff's Eighth Amendment claims against
       physician's assistant who pursued less vigorous
       treatment than they had originally recommended              Defendants Weissman and Richards. 33



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                                                                         other wrong.” 35 The Department of Correctional Services
33                                                                       (“DOCS”) has available a well-established three-step inmate
        Plaintiff's complaint also asserts a retaliation claim
        against Defendants Weissman and Richards on                      grievance program. 36
        these facts. (Dkt. No. 1 ¶ 12.) Defendants have not
        addressed this claim. I find that it is subject to sua           34     42 U.S.C. § 1997e.
        sponte dismissal pursuant to 28 U.S.C. § 1915(e)
        (2)(B) because the evidence does not establish that              35
                                                                                Porter v. Nussle, 534 U.S. 516, 532, 122 S.Ct. 983,
        Defendants took adverse action. While the denial                        152 L.Ed.2d 12 (2002).
        of medical care may establish adverse action, see
                                                                         36
        e.g. Odom v. Poirier, No. 99 Civ. 4933, 2004 WL                         7 N.Y.C.R.R. § 701.7.
        2884409, at * 4 (S.D.N.Y. Dec.10, 2004), I have                  Generally, the DOCS Inmate Grievance Program (“IGP”)
        found that Defendants Weissman and Richards                      involves the following procedure for the filing of
        did not deny Plaintiff medical care. Therefore, I
                                                                         grievances. 37 First, an inmate must file a complaint with
        recommend that the Court dismiss this claim.
                                                                         the facility's IGP clerk within twenty-one (21) calendar days
                                                                         of the alleged occurrence. If a grievance complaint form
   B. Ham/Grievances
                                                                         is not readily available, a complaint may be submitted on
Plaintiff alleges that Defendant Ham violated his Eighth
                                                                         plain paper. A representative of the facility's inmate grievance
Amendment rights by refusing to loosen or remove his
                                                                         resolution committee (“IGRC”) has sixteen (16) calendar
restraints on November 7 and 14, 2002. (Dkt. No. 1 ¶¶ 9–
                                                                         days from receipt of the grievance to informally resolve the
10.) He further alleges that Defendants Brousseau and Donelli
                                                                         issue. If there is no such informal resolution, then the full
violated his constitutional rights by refusing to forward his
                                                                         IGRC conducts a hearing within sixteen (16) calendar days
grievance regarding Defendant Ham for an investigation.
                                                                         of receipt of the grievance, and issues a written decision
(Dkt. No. 1 ¶¶ 28–29.) Defendants argue that (1) Plaintiff
                                                                         within two (2) working days of the conclusion of the hearing.
failed to exhaust his administrative remedies regarding his
                                                                         Second, a grievant may appeal the IGRC decision to the
claims against Defendant Ham; (2) Plaintiff's allegations are
                                                                         facility's superintendent within seven (7) calendar days of
not “sufficiently serious” to implicate the Eighth Amendment;
                                                                         receipt of the IGRC's written decision. The superintendent is
and (3) Plaintiff's allegations regarding the handling of his
                                                                         to issue a written decision within twenty (20) calendar days of
grievance do not raise a constitutional claim. (Dkt. No. 92–
                                                                         receipt of the grievant's appeal. Third, a grievant may appeal
10 at 21–23, 38.)
                                                                         to the central office review committee (“CORC”) within
                                                                         seven (7) working days of receipt of the superintendent's
   1. Exhaustion of Administrative Remedies                              written decision. CORC is to render a written decision
 *13 Defendants argue that Plaintiff failed to exhaust                   within thirty (30) calendar days of receipt of the appeal. It
his administrative remedies regarding his claims against                 is important to note that any failure by the IGRC or the
Defendant Ham. (Dkt. No. 92–10 at 21–23.) I find that there              superintendent to timely respond to a grievance or first-
is a triable issue of fact that Plaintiff's failure to receive a final   level appeal, respectively, can be appealed to the next level,
decision on the merits of his grievance regarding Defendant              including CORC, to complete the grievance process. 38 If a
Ham was justified.                                                       prisoner has failed to properly follow each of the applicable
                                                                         steps prior to commencing litigation, he has failed to exhaust
The Prison Litigation Reform Act (“PLRA”) requires that                  his administrative remedies. Woodford v. Ngo, 548 U.S. 81,
prisoners who bring suit in federal court must first exhaust             126 S.Ct. 2378, 165 L.Ed.2d 368 (2006).
their available administrative remedies: “No action shall be
brought with respect to prison conditions under § 1983                   37
                                                                                7 N.Y.C.R.R. §§ 701.5, 701.6(g), 701.7; see also
... by a prisoner confined in any jail, prison, or other                        White v. The State of New York, No. 00–CV–3434,
correctional facility until such administrative remedies as                     2002 WL 31235713, at *2 (S.D.N.Y. Oct.3, 2002).
are available are exhausted.” 34 “[T]he PLRA's exhaustion
                                                                         38
requirement applies to all inmate suits about prison life,                      7 N.Y.C.R.R. § 701.6(g) (“[M]atters not decided
whether they involve general circumstances or particular                        within the time limits may be appealed to the
episodes, and whether they allege excessive force or some                       next step.”); Hemphill v. New York, 198 F.Supp.2d



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        546, 549 (S.D.N.Y.2002), vacated and remanded                  39     The inmate grievance procedures in place at the
        on other grounds, 380 F.3d 680 (2d Cir.2004);                         time of the incident required inmates to file
        see, e.g., Croswell v. McCoy, 01–CV–0547, 2003                        grievances within 14, rather than 21, days.
        U.S. Dist. LEXIS 3442, at *12, 2003 WL 962534,
        at *4 (N.D.N.Y. March 11, 2003) (Sharpe, M.J.)                 On December 18, 2002, Plaintiff submitted a grievance
        (“If a plaintiff receives no response to a grievance           complaining that Defendant Brousseau's refusal to accept
        and then fails to appeal it to the next level, he              the previous grievance violated his constitutional right of
        has failed to exhaust his administrative remedies              access to the courts because it prevented him from exhausting
        as required by the PLRA.”); Reyes v. Punzal,                   his claims against Defendant Ham. (Dkt. No. 92–4, Ex.
        206 F.Supp.2d 431, 433 (W.D.N.Y.2002) (“Even                   4.) The IGRC denied Plaintiff's grievance on December
        assuming that plaintiff never received a response              26, 2002. Id. The IGRC stated that Defendant Brousseau's
        to his grievance, he had further administrative                refusal was proper because Plaintiff “did not present any
        avenues of relief open to him.”); Nimmons v.                   mitigating circumstances that would warrant accepting the
        Silver, 03–CV–0671, Report–Recommendation, at                  [untimely] complaint ... [Plaintiff] had been back at the
        15–16 (N.D.N.Y. filed Aug. 29, 2006) (Lowe, M.J.)              facility since 11/15/02 and had filed one grievance during
        (recommending that the Court grant Defendants'                 this time period, this shows he had ample opportunity to
        motion for summary judgment, in part because                   file this complaint in a timely manner.” Id. The grievance to
        plaintiff adduced no evidence that he appealed the             which the IGRC's decision referred was a grievance regarding
        lack of a timely decision by the facility's IGRC               Defendant Richards' denial of Atarax. (Dkt. No. 92–4, Ex. 3.)
        to the next level, namely to either the facility's             Because that event occurred at Upstate Correctional Facility,
        superintendent or CORC), adopted by Decision and               there was no ambiguity about where Plaintiff's grievance
        Order (N.D.N.Y. filed Oct. 17, 2006) (Hurd, J.).               should be filed.

Here, Plaintiff declares that on the day of the first incident         Plaintiff appealed the IGRC's determination to the
with Defendant Ham, he asked a Five Points Correctional                Superintendent. (Dkt. No. 92–4, Ex. 4.) Defendant Donelli
Facility officer for a grievance form. (P.'s Decl. in Opp'n            affirmed the IGRC's determination on January 15, 2003. Id.
to Aff. of Karen Bellamy ¶ 17.) The officer did not give
Plaintiff a form and told Plaintiff that he would need to file his     Defendants assert that Plaintiff “did not appeal [Defendant
grievance at Elmira Correctional Facility, where the incident          Donelli's decision] to the CORC.” (Dkt. No. 92–3, Stmt.
had occurred. Id. Although an April 16, 2004, revision to the          Pursuant to Rule 7.1(a)(3) ¶ 8.) For this proposition, they
inmate grievance procedure specified that grievances “may              cite Exhibit 4 and to the Affidavit of Karen Bellamy. Id.
only be filed at the facility where the inmate is housed even if       Exhibit 4 shows that Plaintiff signed an “Appeal Statement”
it pertains to another facility,” (Id., at Ex. A), the procedures in   stating that he wished to appeal Defendant Donelli's decision
effect at the time Plaintiff asked for a form to file a complaint      to CORC. (Dkt. No. 92–4, Ex. 4.) The Appeal Statement
against Defendant Ham were silent as to which facility should          was signed by a grievance clerk. Id. That exhibit also shows
handle a particular grievance. Even if one assumes that the            that Defendant Brousseau responded to an inquiry regarding
Five Points officer's advice was correct under DOCS practice           the status of the grievance by stating that the grievance
at the time, it is difficult to see how Plaintiff could have filed a   had been received by CORC and was being processed. Id.
grievance at Elmira. Plaintiff was only at Elmira Correctional         However, the record before the Court does include any final
Facility for a few hours after receiving these instructions            disposition from CORC of Plaintiff's appeal. The appeal
from the officer, during which time he was handcuffed and              does not appear in a list provided in the Affidavit of Karen
shackled. (Dkt. No. 1 ¶ 10.)                                           Bellamy of grievances on which Plaintiff received a final
                                                                       decision from CORC. (Bellamy Aff. Ex. B.) Thus, Plaintiff
 *14 On December 8, 2002, Plaintiff filed a grievance at               never received a decision from CORC and did not exhaust
Upstate Correctional Facility regarding Defendant Ham's                his administrative remedies. See Mendez v. Artuz, No. 01
actions. (Dkt. No. 92–4, Ex. 4.) Defendant Brousseau, the              CIV. 4157, 2002 U.S. Dist. LEXIS 3263, at * 4, 2002 WL
IGP supervisor, returned the grievance to Plaintiff because            313796, at * 2 (S.D.N.Y. Feb.27, 2002). Even if CORC had
Plaintiff failed to submit it within fourteen days of the              acted on Plaintiff's appeal, I assume that CORC would have
incident. 39 Id.                                                       upheld the IGRC's finding and denied Plaintiff's grievance
                                                                       as untimely. In that event, I would find that Plaintiff had


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not exhausted his administrative remedies because “courts           42
                                                                            Id. (citations omitted).
consistently have found that CORC's dismissal of a grievance
appeal as untimely constitutes failure to exhaust available         43
                                                                            Id. (citations and internal quotations omitted).
administrative remedies.” Soto v. Belcher, 339 F.Supp.2d 592,
595 (S.D.N.Y.2004).                                                    2. “Sufficiently Serious”
                                                                    Defendants argue that there is not a triable issue of material
 *15 Plaintiff's failure to exhaust, however, does not end          fact regarding Plaintiff's Eighth Amendment claim against
the inquiry. The Second Circuit has held that a three-              Defendant Ham because “Plaintiff's alleged ‘enormous
part inquiry is appropriate where a prisoner has failed to          pain’ is nothing more than de minimis for Constitutional
exhaust his administrative remedies. 40 First, “the court must      purposes.” (Dkt. No. 92–10 at 22–23.)
ask whether [the] administrative remedies [not pursued by
the prisoner] were in fact ‘available’ to the prisoner.” 41         Claims that prison officials applied restraints too tightly are
Second, if those remedies were available, “the court should ...     analyzed under the Eighth Amendment as claims of excessive
inquire as to whether [some or all of] the defendants may           force. See Davidson v. Flynn, 32 F.3d 27 (2d Cir.1994). When
have forfeited the affirmative defense of non-exhaustion            prison officials are “accused of using excessive physical force
by failing to raise or preserve it ... or whether the               in violation of the Cruel and Unusual Punishments Clause, the
defendants' own actions inhibiting the [prisoner's] exhaustion      core judicial inquiry is ... whether force was applied in a good-
of remedies may estop one or more of the defendants from            faith effort to maintain or restore discipline, or maliciously
                                                                    and sadistically to cause harm.” Hudson v. McMillian, 503
raising the plaintiff's failure to exhaust as a defense.” 42
                                                                    U.S. 1, 6–7, 112 S.Ct. 995, 117 L.Ed.2d 156 (1992). The
Third, if the remedies were available and some of the
                                                                    extent of any injury suffered by the inmate “is one factor
defendants did not forfeit, and were not estopped from
                                                                    that may suggest whether the use of force could plausibly
raising, the non-exhaustion defense, “the Court should
                                                                    have been thought necessary in a particular situation or
consider whether ‘special circumstances' have been plausibly
                                                                    instead evinced such wantoness with respect to the unjustified
alleged that justify the prisoner's failure to comply with
                                                                    infliction of harm as is tantamount to a knowing willingness
the administrative procedural requirements.” 43 Justification       that it occur.” Id. at 7 (citation and quotation marks omitted).
“must be determined by looking at the circumstances which
might understandably lead ... uncounselled prisoners to fail to
grieve in the normally required way.” Giano v. Good, 380 F.3d
                                                                                  *16 In determining whether the use
670, 678 (2d Cir.2004). Here, the silence of the regulations
                                                                                 of force was wanton and unnecessary,
regarding which facility was the proper venue for Plaintiff's
                                                                                 it may also be proper to evaluate
grievance, the bad advice that Plaintiff received from the
                                                                                 the need for application of force, the
officer at Five Points, and Plaintiff's inability to follow that
                                                                                 relationship between that need and
advice because he was shackled during his entire tenure at
                                                                                 the amount of force used, the threat
Elmira create a triable issue of fact that Plaintiff's failure to
                                                                                 reasonably perceived by responsible
file a timely grievance regarding Defendant Ham's actions
                                                                                 officials, and any efforts made to
was justified. I therefore find that summary judgment is not
                                                                                 temper the severity of a forceful
appropriate on the grounds that Plaintiff failed to exhaust his
                                                                                 response. The absence of serious
administrative remedies.
                                                                                 injury is therefore relevant to the
                                                                                 Eighth Amendment inquiry, but does
40
        See Hemphill v. State of New York, 380 F.3d 680,                         not end it.
        686, 691 (2d Cir.2004). The Second Circuit has not
        yet decided whether the Hemphill rule has survived
        the Supreme Court's decision in Woodford. Chavis            Id. (citation and quotation marks omitted). In other words,
        v. Goord, No. 07–4787–pr, 2009 U.S.App. LEXIS               not “every malevolent touch by a prison guard gives rise to a
        13681, 2009 WL 1803454, at *1 (2d Cir. June 25,             federal cause of action. The Eighth Amendment's prohibition
        2009).                                                      of cruel and usual punishments necessarily excludes from
41                                                                  constitutional recognition de minimis uses of physical force,
        Hemphill, 380 F.3d at 686 (citation omitted).
                                                                    provided that the use of force is not of a sort repugnant


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to the conscience of mankind.” Id. at 9 (officers who                 2001). If prison officials ignore a grievance that raises
punched and kicked handcuffed and shackled inmate used                constitutional claims, an inmate can directly petition the
unconstitutional force although inmate required no medical            government for redress of that claim. See Flick v. Alba,
attention) (citations omitted); Davidson, 32 F.3d at 30 n.            932 F.2d 728, 729 (8th Cir.1991). “Therefore, the refusal
1 (officers who placed handcuffs too tightly on inmate in             to process an inmate's grievance or failure to see to it
retaliation for filing lawsuits used unconstitutional force           that grievances are properly processed does not create
where inmate suffered permanent scarring and numbness);               a claim under § 1983.” Cancel, 2001 WL 303713, at
compare Warren v. Purcell, No. 03 Civ. 8736, 2004 U.S. Dist.          *3; see also Torres v. Mazzuca, 246 F.Supp.2d 334, 342
LEXIS 17792, at *24, 2004 WL 1970642 (S.D.N.Y. Sept.3,                (S.D.N.Y.2003); Mahotep v. DeLuca, 3 F.Supp.2d 385, 390
2004) (officers who placed prisoner in tight restraints did not       (W.D.N.Y.1998).
violate constitution where prisoner suffered temporary pain,
numbness and swelling and no improper or wanton motive               *17 Shell v. Brzezniak, 365 F.Supp.2d 362, 369–370
                                                                    (W.D.N.Y.2005). Therefore, I recommend that the Court grant
was suggested for the officers' actions). 44
                                                                    Defendants' motion for summary judgment and dismiss the
                                                                    claims against Defendants Brousseau and Donelli for their
44      Defendants served this unpublished case on                  handling of Plaintiff's grievance regarding Defendant Ham.
        Plaintiff with their moving papers as required by
        Local Rule 7.1(a)(1). (Dkt. No. 92–11.)
                                                                       C. Frisk Room Incident/Aftermath/Grievances
Plaintiff does not allege that he was permanently injured as
                                                                    Plaintiff alleges that he threatened to sue Defendants
a result of Defendant Ham's actions. Plaintiff states that he
                                                                    Nephew, Desotelle, and Snyder if they used force to put
suffered “enormous pain” and “severe swelling” as a result of
                                                                    on his coat. (Dkt. No. 1 ¶ 15.) Plaintiff alleges that, in
being shackled so tightly. (Dkt. No. 109 at 38.) Although this
                                                                    retaliation for this threat, (1) Defendant Wright conspired
would not end the Eighth Amendment inquiry if Defendant
                                                                    with Defendant Snyder to subject Plaintiff to excessive
Ham's actions had been more egregious, there is simply no
                                                                    force; (2) Defendants Duprat, Snyder, and Bogett used
evidence in the record that Defendant Ham applied restraints
                                                                    excessive force on Plaintiff; (3) Defendants Wright, Nephew,
to Plaintiff “maliciously and sadistically to cause harm” or
                                                                    Desotelle, and Snyder falsified misbehavior reports against
in a way that was “repugnant to the conscience of mankind.”
                                                                    Plaintiff; and (4) Defendant Bezio failed to intervene to
Therefore, I recommend that the Court grant Defendants'
motion and dismiss Plaintiff's claims against Defendant Ham.        prevent the use of excessive force. 45 (Dkt. No. 1 ¶¶ 16–
                                                                    22.) He further alleges that Defendants Brousseau and Donelli
                                                                    would not allow Plaintiff to file a grievance regarding
   3. Grievances                                                    these events. (Dkt. No. 1 ¶¶ 30–31.) Finally, he alleges
Plaintiff alleges that Defendants Brousseau and Donelli             that Defendants Girdich and Eagen denied the grievance he
“refused to forward” his complaint regarding Defendant              filed regarding Defendant Brousseau and Donelli's refusal to
Ham's actions “for an investigation” (Dkt. No. 1 ¶¶ 28–             process Plaintiff's grievance. (Dkt. No. 1 ¶¶ 32–34.)
29), thus violating his First Amendment right to petition the
government. (Dkt. No. 109 at 50–51.) Defendants argue that          45     The complaint contains some language that could,
Plaintiff's allegation fails to state a constitutional violation.
                                                                           very liberally construed, assert a claim against
(Dkt. No. 92–10 at 38.) Defendants are correct.
                                                                           these Defendants for denial of Plaintiff's right
  The First Amendment protects a prisoner's right to                       of access to the courts on the theory that, at
  meaningful access to the courts and to petition the                      the time of these events, Plaintiff was being
                                                                           transported for a court appearance. Defendants
  government for the redress of grievances. See Bill
                                                                           addressed this possible claim in their motion for
  Johnson's Rest., Inc. v. NLRB, 461 U.S. 731, 741, 103
                                                                           summary judgment. (Dkt. No. 92–10 at 40–42.) In
  S.Ct. 2161, 76 L.Ed.2d 277 (1983). However, inmate
                                                                           his opposition to the motion, Plaintiff states that he
  grievance programs created by state law are not required
                                                                           did not intend to assert a claim for denial of access
  by the Constitution and consequently allegations that
                                                                           to the courts. (Dkt. No. 109 at 55.) I have therefore
  prison officials violated those procedures does not give
                                                                           not addressed Defendants' arguments.
  rise to a cognizable § 1983 claim. Cancel v. Goord, No.
  00 Civ.2042, 2001 WL 303713, *3 (S.D.N.Y. Mar. 29,


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                                                                 46      Defendants characterize Defendants Wright and
   1. Exhaustion of Administrative Remedies
                                                                         Snyder as the only defendants to the conspiracy
Defendants argue that Plaintiff failed to exhaust his
                                                                         claim. Read broadly, the complaint also alleges
administrative remedies regarding any of these claims. (Dkt.
                                                                         that Defendant Duprat conspired with Defendants
No. 92–10 at 25–26, 31.) Plaintiff declares that on January
                                                                         Wright and Snyder by calling Snyder “to arrange
13, 2003, he attempted to submit a grievance to Defendant
                                                                         a beating” of Plaintiff. (Dkt. No. 1 ¶ 21.) I
Brousseau regarding the claims. (P.'s Decl. in Opp'n to Aff.
                                                                         will include Defendant Duprat in my analysis of
of Karen Bellamy ¶ 26.) Plaintiff declares that Defendant
                                                                         Plaintiff's conspiracy claim.
Brousseau “refused to file and process the grievance ... in
order to prevent me from suing the officials named in the        47      Defendants also argue that to the extent Plaintiff's
grievance.” Id. ¶ 27.                                                    conspiracy claim is brought under 42 U.S.C. §
                                                                         1985, he has not shown that Defendants were
On April 3, 2003, Plaintiff submitted a grievance complaining            motivated by any class-based animus. (Dkt. No.
that Defendant Brousseau had refused to accept his January               92–10 at 31–32.) In his opposition to Defendants'
13 grievance. (Dkt. No. 92–4, Ex. 8.) Plaintiff requested                motion, Plaintiff states that he did not intend
“[t]hat Ms. Brousseau submit the grievance complaint in                  to raise a claim under 42 U.S.C. § 1985. (Dkt.
question to the IGRC. Alternatively, that I be allowed to                No. 109 at 44 n. 15.) Therefore, I have not
resubmit a copy of the grievance complaint in issue to the               addressed Defendants' argument regarding class-
IGRC before moving for judicial intervention.” Id. CORC                  based animus.
denied the grievance on May 28, 2003, stating that it had “not
been presented with sufficient evidence to substantiate any
                                                                   a. Meeting of the Minds
malfeasance” by Defendant Brousseau. Id.
                                                                 Defendants argue that Plaintiff has not provided any factual
                                                                 basis for a finding that Defendants had a “meeting of the
As discussed above, Second Circuit precedent holds that
                                                                 minds” as required for a conspiracy claim. (Dkt. No. 92–10 at
a defendant may be equitably estopped from raising the
                                                                 31–32.) I find that Plaintiff has raised a triable issue of fact.
exhaustion defense if he or she engaged in conduct
that hindered the plaintiff's ability to pursue his or her
                                                                 “To prove a § 1983 conspiracy, a plaintiff must show: (1)
administrative remedies. Ziemba v. Wezner, 366 F.3d 161,
                                                                 an agreement between two or more state actors or between
163–64 (2d Cir.2004). A prison official's refusal to accept
                                                                 a state actor and a private entity; (2) to act in concert to
or forward a prisoner's grievance is conduct that hinders a
                                                                 inflict an unconstitutional injury; and (3) an overt act done
plaintiff's ability to pursue administrative remedies. Sandlin
                                                                 in furtherance of that goal causing damages.” Pangburn v.
v. Poole, 575 F.Supp.2d 484, 488 (W.D.N.Y.2008). Thus,
                                                                 Culbertson, 200 F.3d 65, 72 (2d Cir.1999) (citations omitted).
Plaintiff's declaration that Defendant Brousseau refused to
accept his grievance raises a triable issue of fact that
                                                                 Plaintiff has raised a genuine issue of material fact as to all of
Defendants are estopped from asserting the exhaustion
                                                                 the elements of his § 1983 conspiracy claim. Plaintiff states
defense. Therefore, I recommend that the Court reject
                                                                 in his verified complaint that Defendant Wright told him that
Defendants' argument that they are entitled to summary
                                                                 “ ‘[t]ransportation vans don't have cameras. You're going to
judgment as a result of Plaintiff's failure to exhaust his
                                                                 learn not to spit ... [at] staff and not threaten us with lawsuits.’
administrative remedies.
                                                                 ” (Dkt. No. 1 ¶ 16.) The next day, Defendant Duprat called
                                                                 Defendant Snyder “to arrange a beating” of Plaintiff. (Dkt.
 2. Conspiracy                                                   No. 1 ¶ 21.) Defendant Snyder entered the transportation
*18 Defendants move for summary judgment of Plaintiff's          van in which Plaintiff was sitting, said “Wright, my boss,
                                                                 doesn't like [you suing us] and sent this as a reminder,”
conspiracy claim. 46 They argue that (a) Plaintiff has not
                                                                 and then punched and slapped Plaintiff until Plaintiff lost
shown that there was any meeting of the minds; and (b) the
                                                                 consciousness. (Dkt. No. 1 ¶¶ 21–22.) A reasonable jury
claim is barred by the intracorporate conspiracy doctrine. 47    could, if it found Plaintiff's testimony credible, return a verdict
(Dkt. No. 92–10 at 31–32.)                                       for Plaintiff on his conspiracy claim based on this evidence.




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                                                                         925724 (N.D.N.Y. March 26, 2007); Malone v. City
   b. Intracorporate Conspiracy Doctrine                                 of New York, No. CV–05–2882, 2006 U.S. Dist.
Defendants argue that Plaintiff's conspiracy claim is barred             LEXIS 61866, 2006 WL 2524197 (E.D.N.Y. Aug.
by the intracorporate conspiracy doctrine. (Dkt. No. 92–10               30, 2006); Caidor v. M & T Bank, No. 5:05–CV–
at 32.) Under that doctrine, employees of a single corporate             297 (FJS/GJD), 2006 U.S. Dist. LEXIS 22980,
entity are legally incapable of conspiring together. Bond v.             2006 WL 839547 (N.D.N.Y. Mar.27, 2006).
Board of Educ. of City of New York, 97–cv–1337, 1999 U.S.
                                                                   *19 Even where the intracorporate conspiracy doctrine
Dist. LEXIS 3164, at *5, 1999 WL 151702, at *2 (W.D.N.Y.
                                                                  applies, there is an exception to the doctrine where
Mar.17, 1999). “This doctrine applies to public entities and
                                                                  “individuals pursue personal interests wholly separate and
their employees.” Lee v. City of Syracuse, 603 F.Supp.2d
                                                                  apart from the entity.” Orafan v. Goord, 411 F.Supp.2d 153,
417, 442 (N.D.N.Y.2009) (citations omitted). Although the
                                                                  165 (N.D.N.Y.2006) (citation and quotation marks omitted),
Second Circuit has recognized the doctrine in the context of
                                                                  vacated and remanded on other grounds, Orafan v. Rashid,
42 U.S.C. § 1985, see Herrmann v. Moore, 576 F.2d 453, 459
                                                                  No. 06–2951, 249 Fed. Appx. 217 (2d Cir. Sept.28, 2007).
(2d Cir.1978); Girard v. 94th and Fifth Avenue Corp., 530
                                                                  I have previously found that a triable issue of fact exists
F.2d 66, 72 (2d Cir.1976), it has not extended its application
                                                                  regarding whether officers acted pursuant to their personal
of the doctrine to conspiracy claims under § 1983. Several
                                                                  interests where a prisoner alleges that officers assaulted him
district courts in the Second Circuit have, however, applied
                                                                  in retaliation for participating in a federal lawsuit. Medina
the doctrine to § 1983 cases. 48 The district court cases cited
                                                                  v. Hunt, No. 9:05–CV–1460, 2008 U.S. Dist. LEXIS 74205,
in the footnote applied the intracorporate conspiracy doctrine
                                                                  2008 WL 4426748 (N.D.N.Y. Sept.25, 2008). Other courts
to § 1983 without discussing whether it was appropriate to
                                                                  have found that the personal interest exception applies, and
do so. In Anemone v. Metropolitan Transportation Authority,
                                                                  thus allowed conspiracy claims to proceed, where it was
419 F.Supp.2d 602, 604 (S.D.N.Y.2006), the Southern District
                                                                  alleged that officers conspired to cover up their use of
squarely held that the intracorporate conspiracy doctrine
                                                                  excessive force. Hill v. City of New York, No.03 CV 1283,
should be applied to § 1983 cases because “the doctrine's logic
                                                                  2005 U.S. Dist. LEXIS 38926, 2005 WL 3591719, at *6
is sound” and not “a single case within the Second Circuit
                                                                  (E.D.N.Y. Dec. 30, 2005). I find that the exception applies
[has] held the doctrine inapplicable to Section 1983 claims.”
                                                                  here because, as in Medina, Defendants allegedly conspired
I will assume that the doctrine applies in § 1983 cases.
                                                                  to retaliate against Plaintiff for his exercise of his right to
                                                                  access the courts. Therefore, I recommend that the Court deny
48
       See Green v. Greene, No. 9:07–CV–0351 (GTS/                Defendants' motion for summary judgment of the conspiracy
       DEP), 2009 U.S. Dist. LEXIS 68186, 2009                    claim against Defendants Wright, Snyder, and Duprat.
       WL 2424353 (N.D.N.Y. Aug.5, 2009); Sebast v.
       Mahan, No. 09–cv–98 (GLS/RFT), 2009 U.S.
       Dist. LEXIS 64712, 2009 WL 2256949, at *3                    3. Excessive Force
       (N.D.N.Y. July 28, 2009); Lee v. City of Syracuse,         Defendants move for summary judgment of Plaintiff's
       603 F.Supp.2d 417 (N.D.N.Y.2009); Lukowski v.              excessive force claims. They argue that there is no “objective
       County of Seneca, No. 08–CV6098, 2009 U.S.                 evidence” that any excessive force was used. (Dkt. No. 92–
       Dist. LEXIS 14282, 2009 WL 467075 (W.D.N.Y.                10 at 33–35.) Specifically, Defendants argue that:
       Feb.24, 2009); Perrin v. Canandaigua City School
                                                                    [P]laintiff alleges that ... [D]efendants Snyder, Bogett,
       Dist., No. 08–CV–61536, 2008 U.S. Dist. LEXIS
                                                                    and Duprat punched him, slapped him, knocked him
       95280, 2008 WL 5054241 (W.D.N.Y. Nov.21,
                                                                    unconscious, and caused his ear to bleed. There is no
       2008); Rodriguez v. City of New York, –––
                                                                    objective evidence to support this conclusory allegation.
       F.Supp.2d ––––, No. 05–CV–5117, 2008 U.S. Dist.
                                                                    An unusual incident report was generated because of
       LEXIS 9966, 2008 WL 420015 (E.D.N.Y. Feb.11,
                                                                    [P]laintiff's behavior on January 3, 2003, but the report
       2008); Crews v. County of Nassau, No. 06–CV–
                                                                    specifically states that no force was used on [P]laintiff.
       2610, 2009 U.S. Dist. LEXIS 38354, 2007 WL
                                                                    To the extent [P]laintiff is claiming the alleged force
       4591325 (E.D.N.Y. Dec. 27, 2007); Little v. City
                                                                    was used in the van, after the incidents described in the
       of New York, 487 F.Supp.2d 426 (S.D.N.Y.2007);
                                                                    unusual incident report, there is no objective evidence to
       Clark v. City of Oswego, No. 5:03–CV–202 (NAM/
                                                                    support this conclusion either. Plaintiff's medical records
       DEP), 2006 U.S. Dist. LEXIS 95769, 2007 WL



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  for January 3, 2003, upon arrival at Five Points C.F.            The narrow holding of Jeffreys is not applicable here for
  indicate “arrived via van with cuffs & chains and spit net-      three reasons. First, in order for the Jeffreys exception to
  complains of pain and itching,” that [P]laintiff was escorted    apply, the plaintiff must rely “almost exclusively on his own
  to 12 building, and that [P]laintiff was given Naprosyn          testimony.” Jeffreys, 426 F.3d at 554. Here, Plaintiff is not
  and Benadryl. There is no indication of bleeding, or that        relying “almost exclusively on his own testimony.” Rather,
  [P]laintiff reported being assaulted in the January 3, 2003      because of Defendants' conduct during discovery, Plaintiff is
  entry, or the entries for January 4, 5, and 6, 2003. Plaintiff   relying on his own testimony plus adverse inferences drawn
  does report being “knocked-out and beaten everywhere” on         in his favor. As a consequence of Defendants' conduct during
  January 7, 2003, while still at Five Points C.F., but without    discovery, I ordered that Plaintiff could “ask the Court to
  any record of reporting this type of conduct for the four        draw factual inferences favorable to him based upon the
  (4) days prior to January 7, 2003, it is not credible that       missing photographs of January 3 and 10, 2003.” (Dkt. No.
  the incident to which [P]laintiff is referring occurred on       107 at 2.) Plaintiff requests that the Court draw the following
  January 3, 2003. Moreover, the January 7, 2003, entry does       inference in his favor: “That were the Defendants to provide
  not indicate whether [P]laintiff was claiming to have been       the Court with the missing photographs taken of [Plaintiff] at
  “knocked out and beaten everywhere” by staff or other            Five Points C.F. on January 3, 2003, such photographs would
  inmates. Plaintiff has no objective evidence to support his      reveal that [Plaintiff] had bruises and lacerations on his face,
  claim of excessive force.                                        right ear, and chest.” (Dkt. No. 109 at 46–47 n. 15.) The Court
                                                                   grants Plaintiff's request and draws the inference in his favor.
*20 (Id. at 34–35, citations omitted.)
                                                                   Second, in order for the Jeffreys exception to apply, Plaintiff's
Defendants refer to Plaintiff's allegations as “conclusory.”       testimony must be “contradictory or incomplete.” Jeffreys,
“Conclusory” means to “express[ ] a factual inference              426 F.3d at 554. Here, Plaintiff's testimony is neither
without stating the underlying facts on which the inference is     contradictory nor incomplete. In Jeffreys, the plaintiff, who
based.” Black's Law Dictionary 284 (7th ed.1999). Plaintiff's      alleged that police officers had beaten and defenestrated him,
allegations are not conclusory. Rather, Plaintiff describes the    confessed on at least three occasions that he had jumped
incident in detail. The ultimate determination of whether or       out of a third-story window rather than having been thrown.
not Defendants used excessive force, then, will rest largely on    Id. at 552. The plaintiff did not publicly state that he had
the finder of fact's judgment regarding Plaintiff's credibility.   been thrown out of a window by police officers until nine
                                                                   months after the incident. Id. The plaintiff could not identify
Defendants, naturally, do not find Plaintiff credible. In          any of the individuals whom he alleged participated in the
general, of course, “[c]redibility determinations ... are jury     attack or describe their ethnicities, physical features, facial
functions, not those of a judge.” Anderson v. Liberty Lobby,       hair, weight, or clothing on the night in question. Id. Here,
Inc., 477 U.S. 242, 255, 106 S.Ct. 2505, 91 L.Ed.2d 202            in contrast, Plaintiff has never given a contradictory account
(1986). See also Rule v. Brine, Inc., 85 F.3d 1002, 1011 (2d       of the events in the transportation van on January 3, 2003.
Cir.1996) (“Assessments of credibility and choices between         Although Defendants stress that Plaintiff's medical records do
conflicting versions of the events are matters for the jury, not   not show that Plaintiff reported the incident upon arrival at
for the court on summary judgment.”). Although Defendants          Five Points, Plaintiff states in his verified complaint that he
do not explicitly say so, their argument that “Plaintiff has       informed Defendant Hensel on the day of the incident that
no objective evidence” is apparently an attempt to invoke          he had been beaten by Upstate guards. He further alleges
a “narrow exception” to the general rule that credibility          that Defendant Hensel made no record of his complaint.
determinations are not to be made on summary judgment.             (Dkt. No. 1 ¶ 23.) Plaintiff's claim regarding Nurse Hensel
Jeffreys v. City of New York, 426 F.3d 549, 554 (2d Cir.2005);     is corroborated by the log book entry that shows that he
Blake v. Race, 487 F.Supp.2d 187, 202 (E.D.N.Y.2007).              was taken to see Nurse Hensel on January 3, 2003, and
In Jeffreys, the Second Circuit held that in the “rare             the fact that Defendants did not provide the Court with a
circumstance where the plaintiff relies almost exclusively         medical record of that visit with Plaintiff's other Five Points
on his own testimony, much of which is contradictory and           Medical Records. (Defs.' Resp. to P's 1st Req. for Produc.
incomplete,” the court may appropriately conclude at the           of Docs., Ex. E at 11; Bannister Aff.) As Defendants admit,
summary judgment stage that no reasonable jury would credit        Plaintiff's medical records show that within four days of the
the plaintiff's testimony. Jeffreys, 426 F.3d at 554.              incident he reported that he had been “knocked-out and beaten



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everywhere.” (Bannister Aff. ¶ 10.) In addition, unlike in          opportunity to present any evidence calling into question the
Jeffreys, Plaintiff has specifically identified the officers whom   truth of the misbehavior report[s] by refusing to attend the
he alleges beat him.                                                disciplinary hearing.” (Dkt. No. 92–10 at 26.) Defendants
                                                                    cite Brewer v. Kamas, 533 F.Supp.2d 318 (W.D.N.Y.2008). In
 *21 Third, the Jeffreys exception is most applicable where         order to analyze Brewer, a review of Second Circuit precedent
the plaintiff's version of events is contradicted by defense        governing prisoners' allegations regarding false misbehavior
testimony. In Jeffreys, for instance, one of the arresting          reports is required.
officers declared that, contrary to the plaintiff's version
of events, he was the only officer who entered the room             A prisoner's claim that a correctional officer filed a false
where the plaintiff was allegedly beaten and that he saw            misbehavior report may implicate two separate constitutional
the plaintiff jump out the open window. Jeffreys, 426 F.3d          provisions: (a) the Fourteenth Amendment right to procedural
at 551–52. Here, Plaintiff's version of events has not been         due process; or (b) the right not to be retaliated against for
contradicted by an affidavit from any of the officers whom          exercising First Amendment rights such as the right of access
he alleges used excessive force because Defendants' motion          to the courts or the right to petition the government for redress
for summary judgment is not supported by any affidavit from         of grievances.
Defendants Snyder, Duprat, or Bogett. The only proof offered
by Defendants that they did not use excessive force is a            In the procedural due process context, the Second Circuit has
notation on a January 3, 2003, unusual incident report stating      held that while a prisoner “has no constitutionally guaranteed
“Use of Force: No.” (Dkt. No. 92–5, Ex. 16.)                        immunity from being falsely or wrongly accused of conduct
                                                                    which may result in the deprivation of a protected liberty
Accordingly, I find that Plaintiff has presented sufficient         interest,” he does have “the right not to be deprived of
“objective evidence” to raise a triable issue of fact that          a protected liberty interest without due process of law.”
Defendants Snyder, Duprat, and Bogett subjected him to              Freeman v. Rideout, 808 F.2d 949, 951 (2d Cir.1986). Where a
excessive force. 49 I therefore recommend that the Court deny       prisoner is falsely accused of violating disciplinary rules, and
Defendants' motion for summary judgment of this claim.              a hearing is held on the allegedly false charges that comports
                                                                    with the procedural due process standards set forth by the
49                                                                  Supreme Court in Wolff v. McDonnell, 418 U.S. 539, 94 S.Ct.
        Read broadly, the complaint also asserts an
                                                                    2963, 41 L.Ed.2d 935 (1974), and any resulting guilty finding
        excessive force claim against Wright and
                                                                    is based on “some evidence,” the correctional officer's filing
        retaliation claims against Defendants Snyder,
                                                                    of unfounded charges does not give rise to procedural due
        Duprat, Bogett, and Wright. Defendants have not
                                                                    process liability. Freeman, 808 F.2d at 953–54.
        addressed these potential claims. I find that the
        claims are sufficient to withstand sua sponte review
                                                                     *22 Two years after its Freeman opinion, the Second Circuit
        under 28 U.S.C. § 1915(e)(2)(B).
                                                                    addressed the second variety of false misbehavior claim
                                                                    —a claim that an officer filed a false misbehavior report
   4. False Misbehavior Reports                                     in retaliation for the exercise of constitutionally protected
Plaintiff alleges that Defendants Nephew, Desotelle, Snyder,        rights—in Franco v. Kelly, 854 F.2d 584 (2d Cir.1988).
and Wright filed false misbehavior reports against him “in          In Franco, a prisoner alleged that correction officers filed
retaliation for his having threatened to sue them.” (Dkt. No.       a false misbehavior report against him in retaliation for
1 ¶¶ 17–18.) Defendants argue that (a) Plaintiff forfeited his      his cooperation with an investigation by the state Inspector
claim by refusing to attend the disciplinary hearing on the         General into incidents of inmate abuse at Attica Correctional
charges; and (b) they would have issued the misbehavior             Facility. Franco, 854 F.2d at 586. The defendants moved for
reports regardless of any alleged retaliatory motive. (Dkt. No.     summary judgment, arguing that Plaintiff could not state a
92–10 at 25–29.)                                                    claim because he had received a disciplinary hearing that
                                                                    complied with Wolff v. McDonnell and resulted in a guilty
                                                                    finding based on “some evidence.” Id. The trial court granted
   a. Forfeiture
                                                                    the defendants' motion, relying on Freeman. Id. The trial court
Defendants argue that Plaintiff “cannot establish a prima
                                                                    noted, however, “that under [t]his reading of Freeman, the
facie case of retaliation, because although he claims the
                                                                    mere provision of procedural due process could eliminate all
misbehavior report[s were] ‘falsified,’ he has forfeited his


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liability in any case in which prison officials had intentionally   This brings us to Brewer. In Brewer, a prisoner alleged that
filed false and unfounded charges.” Id. The Second Circuit          correction officers filed false misbehavior reports against him
settled “the substantial and troublesome questions raised           in retaliation for filing grievances. Brewer, 533 F.Supp.2d at
in th[e] case” by holding that “[a]lthough our decision in          323. The prisoner refused to attend his disciplinary hearing
Freeman accords prison officials wide latitude in disciplining      and was found guilty. Id. He sued the officers in federal
inmates as long as minimum constitutional procedures are            court. Id. at 324. The officers moved for summary judgment.
employed, that latitude does not encompass conduct that             Id. The court granted the motion, finding that the prisoner
infringes on an inmate's substantive constitutional rights”         could not establish that the disciplinary charges were false
such as the prisoner's First Amendment rights of access to          because (1) he refused to attend his disciplinary hearing; (2)
the courts and to petition for redress of grievances. Id. at 590    he offered no “explanation as to why he chose not to attend
(citations omitted). Accordingly, the Second Circuit reversed       the hearing so as to rebut the charges, or why it was otherwise
the trial court's judgment and remanded the matter for further      constitutionally deficient”; and (3) he did not “offer ..., in
proceedings. Id. at 590–91.                                         opposition to [d]efendants' motion, any evidence calling into
                                                                    question the truth of the ... charges.” Id. at 330. (citation
In Jones v. Coughlin, 45 F.3d 677 (2d Cir.1995), the                omitted). Based on these three factors, the court stated that
Second Circuit again clarified that the holding in Freeman is       the plaintiff “was provided with the requisite opportunity to
doctrinally different and distinct from the type of retaliation     rebut the alleged false disciplinary charges, as required by due
claim discussed in Franco. In Jones, a prisoner alleged that        process, and Plaintiff, by failing to do so, has waived his right
correction officers filed a false misbehavior report against        to further challenge the validity” of the misbehavior report.
him in retaliation for filing an administrative complaint           Id. (citation omitted).
against one of their colleagues. Jones, 45 F.3d at 678. At his
disciplinary hearing, the prisoner was denied the opportunity       Brewer is not applicable here for three reasons. First, the case
to call witnesses. Id. He was found guilty and sentenced            is factually distinguishable. In Brewer, the prisoner did not
to serve 120 days in the SHU. Id. After he had served his           offer any explanation for his refusal to attend the hearing, did
SHU sentence, DOCS official Donald Selsky reversed the              not explain why the hearing was constitutionally deficient,
decision and expunged it from the prisoner's record. Id. at 679.    and did not offer any evidence calling into question the truth
The prisoner filed suit. Id. The trial court granted the prison     of the charges. Brewer, 533 F.Supp.2d at 330. Here, Plaintiff
officials' motion for summary judgment, finding that the            has explained that he did not attend the hearing because
prisoner's allegations against the corrections officers failed to   Defendant LaClair refused to assist him prepare a defense,
state a claim under Freeman and that the prisoner's allegations     has argued that the hearing was constitutionally deficient
against the hearing officer failed because any procedural due       because Defendant Bullis did not call Defendant LaClair and
process defects in the hearing had been cured by Selsky's           an inmate as witnesses, and has offered his own testimony
reversal of the decision. Id.                                       under penalty of perjury to rebut Defendants' version of the
                                                                    events leading to the misbehavior reports.
 *23 On appeal, the Second Circuit stated that Freeman did
not provide the “proper framework” for a decision in the case       Second, Defendants overstate the holding of Brewer. The
for both “factual and doctrinal reasons.” Jones, 45 F.3d at         court did not hold that the prisoner had forfeited his
679. Factually, the case was distinguishable “if, as alleged,       opportunity to present evidence calling into question the truth
Jones was unfairly denied the right to call key witnesses           of the misbehavior report simply by refusing to attend the
in defense of the charges against him.” Id. Doctrinally, the        disciplinary hearing. Rather, the court held that the prisoner
Second Circuit stated that “we have held that a prisoner            had waived his right for three reasons, with the refusal to
has a substantive due process right not to be subjected to          attend being only one of them. Brewer, 533 F.Supp.2d at 330.
false misconduct charges as retaliation for his exercise of a
constitutional right such as petitioning the government for          *24 Third, because the prisoner in Brewer asserted a
redress of his grievances, and that this right is distinct from     retaliation claim rather than a procedural due process claim,
the procedural due process claim at issue in Freeman.” Id. at       the precedent relied upon by the Brewer court is puzzling.
679–80. The Second Circuit vacated the trial court's judgment       The portion of the decision cited at length by Defendants
and remanded for further proceedings. Id. at 680.                   relies on (1) Freeman, which is a procedural due process case;
                                                                    (2) language from Jones that discusses the ways in which



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Jones was factually distinguishable from Freeman, rather            prohibited conduct charged in the misbehavior report.” Gayle
than the language in Jones clarifying that a retaliation claim is   v. Gonyea, 313 F.3d 677, 682 (2d Cir.2002) (citations and
doctrinally different from the type of procedural due process       quotation marks omitted).
claim at issue in Freeman; and (3) quotes from Franco that
summarize the procedural due process holding in Freeman,            Here, the misbehavior reports by Defendants Nephew,
rather than quotes from Franco discussing the proper analysis       Desotelle, and Snyder charged Plaintiff with creating a
of a retaliation claim. Thus, although the prisoner in Brewer       disturbance, committing an unhygenic act, refusing a direct
raised a retaliation claim, the court analyzed it as a procedural   order, and making threats. (Dkt. No. 92–5, Ex. 11.) As the
due process claim.                                                  Second Circuit explained in Hynes v. Squillace, 143 F.3d 653
                                                                    (2d Cir.1998), the “most serious charge” in a misbehavior
Because I find that Brewer is factually distinguishable from        report that includes charges of creating a disturbance, making
Plaintiff's case, that the holding in Brewer is not as broad as     threats, and refusing a direct order is the direct order charge.
Defendants suggest, and that Brewer's legal analysis rests on       Hynes, 143 F.3d at 655, 657. Here, Plaintiff admits that he
a line of cases to which the Second Circuit has referred as         did not put on his coat when Defendant Nephew ordered him
the improper framework for analyzing a retaliation claim, I         to do so. (Dkt. No. 1 ¶ 15.) Thus, Defendants have met their
recommend that the Court reject Defendants' argument that           burden of showing that Plaintiff would have received the same
Plaintiff waived his claim regarding the allegedly false and        punishment even absent the allegedly retaliatory motive by
retaliatory misbehavior reports by failing to appear at his         demonstrating that there is no dispute that Plaintiff committed
disciplinary hearing. 50                                            the most serious of the prohibited conduct charged in the
                                                                    misbehavior report. Therefore, I recommend that the Court
50                                                                  grant Defendants' motion for summary judgment and dismiss
        I note that Howard v. Wilkerson, 768 F.Supp. 1002
                                                                    the retaliation claims against Defendants Nephew, Desotelle,
        (S.D.N.Y.1991) holds that “[a]n inmate's refusal to
                                                                    and Snyder arising from the January 2, 2003, misbehavior
        attend a disciplinary hearing waives his due process
                                                                    reports.
        objections ... only when it occurs through no fault
        of prison officials.” Howard, 768 F.Supp. at 1006
                                                                     *25 The misbehavior report by Defendant Wright charged
        (citation and quotation marks omitted) (emphasis
                                                                    Plaintiff with committing an unhygenic act, harassment, and
        added). Howard is cited in Nance v. Villafranca,
                                                                    threats. 51 (Dkt. No. 92–5, Ex. 11.) The most serious of these
        No. 91–CV–717, 1994 U.S. Dist. LEXIS 11114
                                                                    charges was the threat charge.
        (N.D.N.Y. June 20, 1994), which Defendants cite
        for a different proposition. (Dkt. No. 92–10 at 39.)
                                                                    51      Although Defendants assert that Wright charged
   b. Regardless of retaliatory motive                                      Plaintiff with disobeying a direct order, the
Defendants argue that there is “ample evidence” that                        evidence before the court does not support that
Defendants “would have issued the misbehavior report[s]                     assertion. (Dkt. No. 92–5, Exs.11–12.)
regardless of whether [P]laintiff threatened to sue                 Plaintiff admits that when Defendant Wright asked him to
them.” (Dkt. No. 92–10 at 28, 30.)                                  explain what happened in the frisk room, Plaintiff “responded
                                                                    that Wright would not believe his account of the incident,
“An allegation that a prison official filed false disciplinary      that Wright had unjustifiably interfered with [his] court trip ...
charges in retaliation for the exercise of a constitutionally       and that [Plaintiff] would sue Wright and Snyder for their
protected right ... states a claim under § 1983. A plaintiff        unlawful acts and actions.” (Dkt. No. 1 ¶ 16.) This is certainly
alleging retaliatory punishment bears the burden of showing         an admission to the harassment charge. DOCS Rule 107.11
that the conduct at issue was constitutionally protected and        provides as follows: “An inmate shall not harass an employee
that the protected conduct was a substantial or motivating          or any other person verbally or in writing. Prohibited conduct
factor in the prison officials' decision to discipline the          includes, but is not limited to, using insolent, abusive, or
plaintiff. The burden then shifts to the defendant to show          obscene language or gestures.” N.Y. Comp.Codes R. & Regs.,
that the plaintiff would have received the same punishment          tit. 7, § 270.2(B)(8)(ii). However, it is not an admission to
even absent the retaliatory motivation. The defendant can           the threat charge, which requires that “[i]nmate[s] shall not ...
meet this burden by demonstrating that there is no dispute          make any threat, spoken, in writing, or by gesture.” N.Y.
that the plaintiff committed the most serious, if not all, of the


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Comp.Codes R. & Regs., tit. 7, § 270.2(B) (3)(I). Therefore,         motion for summary judgment regarding the failure to
I recommend that the Court deny Defendants' motion for               intervene claim against Defendant Bezio. 52
summary judgment regarding the retaliation claim against
Defendant Wright.                                                    52     Read broadly, the complaint asserts a retaliation
                                                                            claim against Defendant Bezio based on these same
   5. Failure to Intervene                                                  events and a failure to intervene claim against
Plaintiff alleges that Defendant Bezio violated his                         Defendant Duprat because he was present when
constitutional rights by failing to intervene to protect Plaintiff          Defendant Snyder initially beat Plaintiff. (Dkt. No.
from Defendants Duprat, Bogett, and Snyder. (Dkt. No. 1 ¶¶                  1 ¶ 21.) Defendants have not moved for summary
19–20.) Defendants move for summary judgment, arguing                       judgment of these claims. I find that these claims
that there was no underlying constitutional violation with                  are sufficient to withstand sua sponte review under
which to intervene. (Dkt. No. 92–10 at 36–37.)                              28 U.S.C. § 1915(e)(2)(B).

Law enforcement officials can be held liable under § 1983 for           6. Grievances
not intervening in a situation where another officer is violating     *26 Plaintiff alleges that Defendants Brousseau, Donelli,
an inmate's constitutional rights. Jean–Laurent v. Wilkinson,        Girdich, and Eagen violated his constitutional rights by
540 F.Supp.2d 501, 512 (S.D.N.Y.2008) (citation omitted). A          refusing to allow him to file a grievance regarding the events
state actor may be held liable for failing to prevent another        of January 2 and 3, 2003. (Dkt. No. 1 ¶¶ 30–34.) Defendants
state actor from committing a constitutional violation if “(1)       move for summary judgment, arguing that Plaintiff has not
the officer had a realistic opportunity to intervene and prevent     stated a constitutional claim. (Dkt. No. 92–10 at 38.) As
the harm; (2) a reasonable person in the officer's position          discussed above in Section III(B)(3), Defendants are correct.
would know that the victim's constitutional rights were being        Therefore, I recommend that the Court grant Defendants'
violated; and (3) the officer does not take reasonable steps to      motion and dismiss the claims against Defendants Brousseau,
intervene.” Id. (citation omitted); see also Ricciuti v. N.Y.C.      Donelli, Girdich, and Eagen regarding the handling of
Transit Auth., 124 F.3d 123, 129 (2d Cir.1997) (“Failure to          Plaintiff's grievances.
intercede to prevent an unlawful arrest can be grounds for
§ 1983 liability.”). Whether an officer can be held liable on
a failure to intervene theory is generally a question of fact           D. Disciplinary Hearing/Sentence
for the jury to decide. See Anderson v. Branen, 17 F.3d 552,         Plaintiff raises several claims regarding the conduct of
557 (2d Cir.1994) (“Whether an officer had sufficient time           his disciplinary hearing, his disciplinary sentence, and his
to intercede or was capable of preventing the harm being             appeal of the sentence. Specifically, he claims that (1)
caused by another officer is an issue of fact for the jury           Defendant LaClair violated his right to due process by
unless, considering all the evidence, a reasonable jury could        falsifying a misbehavior report against Plaintiff to avoid
not possibly conclude otherwise.”).                                  serving as Plaintiff's pre-hearing assistant (Dkt. No. 1 ¶ 35);
                                                                     (2) Defendant Bullis violated his due process rights by failing
Here, a jury could determine that Defendant Bezio failed to          to call an inmate and Defendant LaClair as witnesses (Dkt.
intervene to protect Plaintiff. Plaintiff's verified complaint       No. 1 ¶¶ 36–37); (3) Defendant Bullis violated his Eighth
states that on the day before the incident he asked Defendant        Amendment rights by sentencing him to a 21–day loaf diet
Bezio to protect him while he was being transported to               (Dkt. No. 1 ¶ 36–37) and Defendants Weissman and Girdich
court. (Dkt. No. 1 ¶ 19.) Plaintiff alleges that Defendant           violated his Eighth Amendment rights by approving the loaf
Duprat made a threatening comment as he escorted Plaintiff to        diet (Dkt. No. 1 ¶ 38); and (4) Defendant Selsky violated
the transportation van and that Plaintiff informed Defendant         Plaintiff's right to due process by affirming Defendant Bullis'
Bezio of the threat before they reached the van. (Dkt. No. 1         disposition (Dkt. No. 1 ¶ 40).
¶ 20.) Defendant Bezio merely shrugged his shoulders. Id.
None of the defendants has filed an affidavit contradicting
                                                                       1. LaClair
Plaintiff's version of events. As discussed above, there
                                                                     Plaintiff alleges that Defendant LaClair falsified a
is a triable issue of fact that a constitutional violation
                                                                     misbehavior report against him in order to avoid serving
occurred with which Defendant Bezio could have intervened.
Therefore, I recommend that the Court deny Defendants'


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as Plaintiff's pre-hearing assistant “and for the purpose of      S.Ct. 2293, 132 L.Ed.2d 418 (1995); Tellier, 280 F.3d at 80;
depriving Benitez of due process.”   53
                                          (Dkt. No. 1 ¶ 35.)      Frazier v. Coughlin, 81 F.3d 313, 317 (2d Cir.1996).


53                                                                Here, no liberty interest is implicated. As a result of
       The only version of the events between Defendant
                                                                  being found guilty of the disciplinary charges, Plaintiff was
       LaClair and Plaintiff in evidence before the
                                                                  sentenced to a loaf diet. The Second Circuit has held that
       Court is Defendant LaClair's misbehavior report.
                                                                  the imposition of a loaf diet does not impose an atypical
       According to that report, when Defendant LaClair
                                                                  and significant hardship on inmates, even where the inmate
       went to Plaintiff's cell to assist him, Plaintiff
                                                                  alleges that the diet caused severe stomach pain and weight
       “stated ... that [LaClair] was to get [him] what
                                                                  loss. McEachin v. McGuinnis, 357 F.3d 197 (2d Cir.2004).
       he wanted.” Defendant LaClair “informed him
                                                                  Therefore, I recommend that the Court dismiss Plaintiff's due
       that what he needed had to be pertained (sic)
       to the misbehavior report. [Plaintiff] then stated         process claim against Defendant LaClair. 54
       “Get what I want or I'll fuck you up.” Defendant
       LaClair “informed him the interview was over               54     Although Defendants argue, in regard to Plaintiff's
       and left the area.” (Dkt. No. 92–5, Ex. 15 at                     other claims regarding his disciplinary hearing,
       2–3.) Although Plaintiff states in his verified                   that due process was not required because no
       complaint that Defendant LaClair “intentionally                   liberty interest was implicated by the imposition
       and maliciously falsified” the report, he does not                of the loaf diet, they did not assert that argument
       offer any other version of what happened. (Dkt. No.               regarding the claim against Defendant LaClair.
       1 ¶ 35.) He alleges that he asked Defendant Bullis                Rather, Defendants argue that Plaintiff waived
       to “interview inmate Rolan and LaClair regarding                  Defendant LaClair's assistance by threatening him.
       the acts and actions of LaClair that caused him                   (Dkt. No. 92–10 at 38–39.) Due process requires
       not to provide Benitez pre-hearing assistance,” but               that prison officials provide pre-hearing assistance
       he does not provide any information about what                    to a prisoner facing disciplinary charges who
       those interviews might have revealed. (Dkt. No. 1 ¶               is confined to the SHU. Eng v. Coughlin, 858
       36.) Due to Defendants' failure to provide Plaintiff              F.2d 889 (2d Cir.1988). “An assistant's role is to
       with pages of the SHU log book for January 14,                    act as merely a surrogate for the inmate, not a
       2003, Plaintiff asks the Court to draw an adverse                 legal advisor or advocate. [A]n assistant's role is
       inference that “were Defendants to provide the                    to perform tasks like interviewing witnesses that
       Court with the missing pages of the ... log book ...              the inmate would perform himself if her were
       such pages would not support any of the allegations               in the general population.” Jackson v. Johnson,
       of misconduct set out in the misbehavior report that              30 F.Supp.2d 613, 619 (S.D.N.Y.1998) (citations
       LaClair filed against Benitez on that date.” (Dkt.                and punctuation omitted). The assistance “must be
       No. 109 at 41 n. 14.) Plaintiff does not explain,                 provided in good faith and in the best interests of
       however, why such an inference is logical.                        the inmate.” Ayers v. Ryan, 152 F.3d 77, 81 (2d
In order to state a claim for violation of his procedural                Cir.1998) (citation omitted). An “assigned assistant
due process rights, a plaintiff must allege facts plausibly              who does nothing to assist a ... prisoner ... has failed
suggesting that he was deprived of a liberty interest without            to accord the prisoner his limited constitutional
due process of law. Tellier v. Fields, 280 F.3d 69, 79–80 (2d            due process right of assistance.” Eng, 858 F.2d
Cir.2000).                                                               at 898. Defendants cite several cases holding that
                                                                         an inmate may waive his right to assistance by
Punishment implicates a protected liberty interest where (1)             remaining silent when assistance is offered or by
the state has granted its inmates, by regulation or statute, an          refusing to sign a form requesting assistance. (Dkt.
interest in remaining free from that particular punishment;              No. 92–10 at 39, citing inter alia, Jackson, 30
and (2) the punishment imposes “an atypical and significant              F.Supp.2d at 619.) However, Defendants have not
hardship on the inmate in relation to the ordinary incidents             cited any cases holding that an inmate waives his
of prison life.” Sandin v. Conner, 515 U.S. 472, 483–84, 115             right to assistance by threatening his assistant. In
                                                                         light of my finding that Plaintiff was not deprived




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        of a liberty interest, it is not necessary to reach this     Ex. D.) Defendant Selsky denied the appeal. Id. at Ex. E.
        issue.                                                       Therefore, Plaintiff exhausted his administrative remedies as
                                                                     to his claim against Defendant Bullis.
   2. Failure to Call Witnesses
 *27 Plaintiff alleges that Defendant Bullis violated his            Plaintiff declares that on January 18, 2003, he submitted
right to due process by failing to call the witnesses that           a grievance to Defendant Brousseau complaining about
Plaintiff requested. (Dkt. No. 1 ¶ 37.) Defendants move              Defendant Bullis' imposition of, and Defendants Weissman
for summary judgment, arguing that Plaintiff cannot state            and Girdich's approval of, the loaf diet. (P.'s Decl. in Opp'n
a due process claim because he was not deprived of a                 to Aff. of Karen Bellamy, ¶ 26.) He declares that Defendant
liberty interest. (Dkt. No. 92–10 at 39–40.) As discussed            Brousseau “deliberately refused to file and process the
above, Defendants are correct. McEachin, 357 F.2d at 200.            grievance ... in order to prevent me from suing the officials
Therefore, I recommend that the Court grant Defendants'              named in the grievance.” Id. ¶ 27. Therefore, as discussed
motion for summary judgment and dismiss this claim.                  above, there is a question of fact that Defendants are estopped
                                                                     from asserting the exhaustion defense.

   3. Imposition of Loaf Diet
Plaintiff alleges that Defendant Bullis violated his Eighth             b. Deliberate Indifference
Amendment rights by imposing the loaf diet on him and                 *28 Defendants argue that Plaintiff has not raised a triable
that Defendants Weissman and Girdich violated his Eighth             issue of fact that Defendants Bullis, Weissman, and Girdich
Amendment rights by approving the punishment. (Dkt. No.              acted with deliberate indifference when they ordered and
1 ¶¶ 37–38.) Defendants move for summary judgment                    approved that the loaf diet be imposed on Plaintiff. (Dkt. No.
of the claim, arguing that (a) Plaintiff failed to exhaust           92–10 at 15–20.) Defendants are correct.
his administrative remedies; and (b) Defendants were not
deliberately indifferent. (Dkt. No. 92–10 at 14–20.)                 Where a prisoner claims that punishment imposed following
                                                                     a disciplinary hearing violates his Eighth Amendment rights,
                                                                     the proper analysis of the subjective prong of the claim
   a. Exhaustion of Administrative Remedies                          requires the court to “consider whether the [o]rder was
Defendants argue that Plaintiff did not exhaust his                  reasonably calculated to restore prison discipline and security
administrative remedies regarding his Eighth Amendment               and, in that ... context, whether the officials were deliberately
claims against Defendant Bullis because he did not appeal the        indifferent to [the prisoner's] health and safety.” Trammell v.
grievance he filed regarding Defendant Bullis' imposition of         Keane, 338 F.3d 155, 163 (2d Cir.2003).
the loaf diet to the CORC. (Dkt. No. 92–10 at 14.) Defendants
argue that Plaintiff failed to exhaust his administrative            Here, the order imposing the loaf diet on Plaintiff was
remedies regarding his Eighth Amendment claim against                reasonably calculated to restore prison discipline and security.
Defendants Weissman and Girdich because he did not file a            DOCS regulation allow the imposition of the loaf diet as
grievance at all. (Id. at 15.)                                       punishment where, inter alia, the inmate is found guilty of
                                                                     committing unhygenic acts in the SHU or the inmate is a long-
DOCS has a separate and distinct administrative process              term SHU inmate who is disruptive and who has lost all other
for inmates to appeal the result of disciplinary hearings,           available privileges. (Dkt. No. 92–8, Bezio Aff., ¶ 5.) Here,
which is not referred to as a “grievance” process. N.Y.              Plaintiff was found guilty of committing unhygenic acts in the
Comp.Codes R. & Regs. tit.7, § 701.3(e)(1)-(2). For Tier             SHU. Moreover, Plaintiff is a long-term SHU inmate (he will
III superintendent hearings, such as Plaintiff's, the inmate         remain in the SHU until June 3, 2021, and in keeplock until
must file an appeal with Donald Selsky, DOCS Director of             July 1, 2025) who has lost package, commissary, and phone
Special Housing/Inmate Disciplinary Program, pursuant to             privileges and has lost 11 years worth of good time credits.
New York Compilation of Codes, Rules and Regulations, title          (Bezio Aff., ¶ 6.) Therefore, the imposition of the loaf diet
7, section 254.8. The appeal must be filed within 30 days of         was reasonably calculated to restore prison discipline.
the inmate's receipt of the hearing officer's written disposition.
N.Y. Comp.Codes R. & Regs. tit.7, § 254.8. Plaintiff raised          There is no evidence that Defendants Bullis, Weissman,
the issue of the loaf diet in his appeal of the disciplinary         and Girdich acted with deliberate indifference when they
sentence. (P.'s Decl. in Opp'n to Aff. of Karen Bellamy,             imposed and approved of the loaf diet. To establish deliberate


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indifference, an inmate must prove that (1) the defendant         serious medical need and Defendants were not deliberately
was aware of facts from which the inference could be drawn        indifferent. (Dkt. No. 92–10 at 6, 20.)
that the inmate had a serious medical need; and (2) the
defendant actually drew that inference. Farmer, 511 U.S. at
837; Chance, 143 F.3d at 702–703. Here, although Plaintiff          1. Failure to Serve Defendant Kuhlman
told Defendant Bullis that the loaf diet would cause him          Defendants argue that the claim against Defendant Kuhlman
severe abdominal pains and constipation due to his hepatitis      must be dismissed because she was not served within 120
(Dkt. No. 1 ¶ 36), his medical record did not support his         days of the filing of the amended complaint on October 6,
assertion. Dr. Weissman declares that “there is nothing in        2004. (Dkt. No. 92–10 at 6.) Under the Federal Rules of Civil
his medical record that indicates that [Plaintiff] is medically   Procedure, a defendant must be served with the summons and
unable to receive the restricted diet penalty ... [T]he fact      complaint within 120 days 55 after the filing of the complaint.
that [P]laintiff is Hepatitis C positive does not mean he         Fed.R.Civ.P. 4(m). The court “must” extend the time for
cannot receive the restricted diet because Hepatitis C is         service for an appropriate period if the plaintiff shows good
not a contraindication for the restricted diet.” (Weissman        cause for the failure to serve. Id.
Aff. ¶¶ 14–15.) Thus, there is no evidence in the record
indicating that Defendants Bullis, Weissman, and Girdich          55      This 120–day service period is shortened, or
were aware of facts from which the inference could be drawn               “expedited,” by the Court's Local Rules of Practice
that the loaf diet would harm Plaintiff or that they drew that            (and the Court's General Order 25), which provide
inference. Moreover, Plaintiff admits that he refused to eat              that all defendants must be served with the
the loaf diet. (Dkt. No. 1 ¶ 39.) Accordingly, any weight                 summons and complaint within sixty (60) days of
loss and pain that he experienced could not have resulted                 the filing of the complaint. N.D.N.Y. L.R. 4.1(b)
from the loaf diet itself. Accordingly, I recommend that the              (emphasis added).
Court grant Defendants' motion and dismiss Plaintiff's Eighth
Amendment claims against Defendants Bullis, Weissman,             Here, on June 24, 2005, the summons was returned
and Girdich.                                                      unexecuted as to Defendant “Coleman.” (Dkt. No. 21.)
                                                                  On May 22, 2007, the Clerk's office sent Plaintiff a letter
                                                                  informing him that the Marshals Service had not been able
   4. Selsky                                                      to serve the defendant because there was no one by that
 *29 Plaintiff alleges that Defendant Selsky affirmed             name at Five Points Correctional Facility. The Clerk's office
Defendant Bullis' “disciplinary determination, even though he     provided Plaintiff with another USM–285 form and asked for
knew or should have known that Bullis violated [Plaintiff]'s      more information about the defendant. (Dkt. No. 54.) Plaintiff
clearly established due process rights.” (Dkt. No. 1 ¶ 40.)       states that he was not able to ascertain Defendant Kuhlman's
Defendants' motion for summary judgment does not directly         correct identity until after I issued orders on May 2, 2007,
address this claim. However, I find that it is subject to         and October 3, 2007, compelling defendants to respond to
sua sponte dismissal pursuant to 28 U.S.C. § 1915(e)(2)(B)        discovery. (Dkt. No. 109 at 7–8.) The docket shows that
because, as discussed above, Defendant Bullis did not violate     on January 31, 2008, Plaintiff attempted to file an amended
Plaintiff's due process rights. Therefore, I recommend that the   complaint “correctly identif[ying] defendant Kulhman by
Court dismiss the claim against Defendant Selsky.                 substituting the name ‘Coleman’ ... for ‘Kuhlman.’ ” (Dkt.
                                                                  No. 74.) On February 4, 2008, I ordered Plaintiff's motion
                                                                  stricken from the record because the deadline for filing
   E. Five Points Health Care                                     motions to amend had expired on January 30, 2006. (Dkt.
Plaintiff alleges that Defendants Hensel, Goodwin, Kuhlman,       No. 75.) I find, therefore, that Plaintiff has demonstrated good
and Costello violated his Eighth Amendment rights by failing      cause for his failure to serve Nurse Kuhlman.
to provide adequate medical care at Five Points Correctional
Facility following the alleged beating by Defendants Snyder,
Duprat, and Bogett. (Dkt. No. 1 ¶¶ 23–26.) Defendants move           2. Merits
for summary judgment, arguing that (1) Plaintiff failed to         *30 Plaintiff claims that Defendants Hensel, Goodwin,
serve Defendant Kuhlman; and (2) Plaintiff cannot raise a         Kuhlman, and Costello violated his Eighth Amendment rights
triable issue of fact that these Defendants violated his Eighth   by refusing to treat him for head pain, pain in his liver, pain in
Amendment rights because Plaintiff did not suffer from a          his left wrist, and severe body itch. Plaintiff also alleges that


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he informed Defendant Hensel that “he had ... lost blood from        The evidence, when viewed in the light most favorable to
within his right ear.” (Dkt. No. 1 ¶¶ 23–26.) Defendants argue       Plaintiff, indicates that he arrived at Five Points on January
that Plaintiff has not raised a triable issue of fact as to either   3 complaining of severe pain inflicted through excessive
the objective or subjective prong of his Eighth Amendment            force and that he received absolutely no treatment for his
medical care claim. (Dkt. No. 92–10 at 20.)                          injuries until Nurse Gardner examined him on January 7.
                                                                     Therefore, I find that Plaintiff has raised a triable issue of fact
As discussed above, the objective prong of an Eighth                 that Defendants Hensel, Goodwin, Kuhlman, and Costello
Amendment medical claim requires the court to determine              violated his Eighth Amendment right to adequate medical
whether the prisoner was deprived of adequate medical care           treatment.
and, if so, whether the inadequacy was sufficiently serious.
Salahuddin, 467 F.3d at 279–80. Where the prisoner alleges           *31 ACCORDINGLY, it is
that he was completely deprived of treatment, the court
must examine whether the inmate's medical condition is               RECOMMENDED that Defendants' motion for summary
sufficiently serious. Id. at 280. Here, because Plaintiff alleges    judgment (Dkt. No. 92) be GRANTED IN PART AND
that he was totally deprived of medical care, I must consider        DENIED IN PART; and it is further
whether the bleeding in his inner right ear, head pain, pain
in his liver, pain in his left wrist, and severe body itch           RECOMMENDED that the following claims be dismissed
are “serious medical conditions,” in other words, whether            pursuant to Defendants' motion for summary judgment: (1)
they are conditions “of urgency that may produce death,              the Eighth Amendment claims against Defendants Weissman
degeneration, or extreme pain.” Id.; Nance v. Kelly, 912 F.2d        and Richards arising from their treatment of Plaintiff's severe
605, 607 (2d Cir.1990) (Pratt, J. dissenting).                       body itch, left wrist, and right ankle; (2) the claims against
                                                                     Defendant Ham; (3) the claims against Defendants Brousseau
Defendants argue, without analysis, that none of Plaintiff's         and Donelli for their handling of Plaintiff's grievance
“conditions constitute a condition of urgency, one that may          regarding Defendant Ham; (4) the retaliation claim against
produce death, degeneration, or extreme pain.” (Dkt. No. 92–         Defendants Nephew, Desotelle, and Snyder based on their
10 at 20.) As discussed above in regard to Plaintiff's claims        filing of misbehavior reports against Plaintiff; (5) the claims
against Defendant Weissman and Richardson, I agree that              against Defendants Brousseau, Donelli, Girdich, and Eagen
Plaintiff's severe body itch is not a serious medical condition.     regarding their handling of Plaintiff's grievances regarding
However, Plaintiff's bleeding inner ear, head pain, and liver        the events of January 2 and 3, 2003; (6) the claim against
pain, as alleged, appear urgent and capable of producing             Defendant LaClair; (7) the claims against Defendant Bullis;
extreme pain. See Bjorkstrand v. DuBose, No. CIV. S–08–              and (8) the Eighth Amendment claim against Defendants
1531, 2008 WL 5386637, at * 3 (E.D.Cal. Dec.24, 2008)                Weissman and Girdich for approving the imposition of the
(finding that dried blood in ear was not a serious medical           loaf diet; and it is further
condition because “there was no emergency problem with
the left ear, such as active bleeding.”). I therefore find that      RECOMMENDED that the following claims be dismissed
Defendants have not met their burden of showing that they are        sua sponte pursuant to 28 U.S.C. § 1915(e)(2)(B): (1)
entitled to judgment as a matter of law on the issue of whether      Plaintiff's retaliation claim against Defendants Weissman and
Plaintiff suffered from a serious medical condition.                 Richards; and (2) the claim against Defendant Selsky; and it
                                                                     is further
Defendants argue that Plaintiff cannot raise a triable issue
of material fact as to deliberate indifference because the           RECOMMENDED that the following claims survive
issue of “[w]hether or not [P]laintiff needed treatment or           summary judgment and sua sponte review and proceed to
to be seen by a physician amounts to nothing more than a             trial: (1) the conspiracy claim against Defendants Wright,
disagreement with the course of treatment—not deliberate             Snyder, and Duprat; (2) the excessive force claim against
indifference.” (Dkt. No. 92–10 at 20.) As Plaintiff notes (Dkt.      Defendants Snyder, Duprat, Bogett, and Wright; (3) the
No. 109 at 37), none of the named Five Points Defendants has         retaliation claim against Defendants Snyder, Duprat, Bogett,
filed an affidavit supporting Defendants' motion for summary         and Wright arising from the use of excessive force; (4)
judgment. They have therefore not established that their             the retaliation claim against Wright arising from his filing
treatment of Plaintiff was based on their medical judgment.          of a misbehavior report against Plaintiff; (5) the failure to



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intervene claims against Defendants Bezio and Duprat; (6) the       3591719 (E.D.N.Y. Dec. 30, 2005); and Mendez v. Artuz, No.
retaliation claim against Defendant Bezio; and (7) the Eighth       01 CIV. 4157, 2002 U.S. Dist. LEXIS 3263, 2002 WL 313796
Amendment claims against Defendants Hensel, Goodwin,                (S.D.N.Y. Feb.27, 2002) on Plaintiff in accordance with the
Kuhlman, and Costello; and it is further                            Second Circuit's decision in LeBron v. Sanders, 557 F.3d 76
                                                                    (2d Cir.2009).
ORDERED that the Clerk provide Plaintiff with Form USM
285 for service on Defendant Kuhlman; and it is further              *32 Pursuant to 28 U.S.C. § 636(b)(1), the parties have ten
                                                                    days within which to file written objections to the foregoing
ORDERED that the Clerk serve copies of Miller v. Bailey,            report. Such objections shall be filed with the Clerk of
No. 05–CV–5493, 2008 U.S. Dist. LEXIS 31863, 2008 WL                the Court. FAILURE TO OBJECT TO THIS REPORT
                                                                    WITHIN TEN DAYS WILL PRECLUDE APPELLATE
1787692 (E.D.N.Y. Apr. 17, 2008); Odom v. Poirier, No. 99
Civ. 4933, 2004 U.S. Dist. LEXIS 25059, 2004 WL 2884409             REVIEW. Roldan v. Racette, 984 F.2d 85 (2d Cir.1993)
(S.D.N.Y. Dec.10, 2004); Warren v. Purcell, No. 03 Civ.             (citing Small v. Secretary of Health and Human Services, 892
8736, 2004 U.S. Dist. LEXIS 17792, 2004 WL 1970642                  F.2d 15 (2d Cir.1989)); 28 U.S.C. § 636(b)(1); Fed.R.Civ.P.
                                                                    72, 6(a), 6(e).
(S.D.N.Y. Sept.3, 2004); Bond v. Board of Educ. of City of
New York, 97–cv–1337, 1999 U.S. Dist. LEXIS 3164, 1999
WL 151702 (W.D.N.Y. Mar.17, 1999); Medina v. Hunt, No.              All Citations
9:05–CV–1460, 2008 U.S. Dist. LEXIS 74205, 2008 WL
4426748 (N.D.N.Y. Sept.25, 2008); Hill v. City of New York,         Not Reported in F.Supp.2d, 2009 WL 3486379
No.03 CV 1283, 2005 U.S. Dist. LEXIS 38926, 2005 WL

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                                                                    him from and during the incident. (Id.) Defendants Cudzilo
                    2023 WL 10354380                                and Farrell filed an answer to the complaint on July 13, 2021.
      Only the Westlaw citation is currently available.             (Dkt. No. 14) The Court issued a Case Management Order
       United States District Court, W.D. New York.                 and the parties engaged in discovery. (Dkt. No. 16)

                 Billyray STATON, Plaintiff,                        On October 3, 2022, defendants filed the instant motion for
                             v.                                     summary judgment pursuant to Rule 56 of the Federal Rules
            Patrick FARRELL, et al., Defendants.                    of Civil Procedure. (Dkt. No. 27) They included a “Notice
                                                                    to Pro Se Litigants Regarding Rule 56 Motion For Summary
                  1:20-CV-01120 LJV (MJR)                           Judgment,” as required pursuant to Rule 56(b) of the Local
                              |                                     Rules of Civil Procedure for the Western District of New
                  Signed September 29, 2023                         York. (Id.) This notice advised plaintiff that failure to respond
                                                                    to defendants’ motion for summary judgment could result in
Attorneys and Law Firms                                             his complaint being dismissed without a trial. (Id.)

Billyray Staton, Romulus, NY, Pro Se.
                                                                    On October 8, 2022, this Court issued a scheduling order
Jennifer Metzger Kimura, Kim S. Murphy, New York State              requiring plaintiff to file a response to defendants’ motion for
Attorney General's Office, Buffalo, NY, for Defendants              summary judgment by November 14, 2022. Plaintiff failed
Patrick Farrell, Justin Cudzillo.                                   to respond. On January 27, 2023, plaintiff filed a motion for
                                                                    the appointment of counsel. (Dkt. No. 29) On June 13, 2023,
                                                                    this Court denied plaintiff's motion to appoint counsel without
                                                                    prejudice, and instructed plaintiff to respond to defendants’
           REPORT AND RECOMMENDATION
                                                                    motion for summary judgment on or before July 11, 2023. 1
MICHAEL J. ROEMER, United States Magistrate Judge                   (Dkt. No. 31) Plaintiff again failed to respond to the motion
                                                                    for summary judgment.
                     INTRODUCTION
                                                                    1       The Order directing plaintiff to respond to the
 *1 This case has been referred to the undersigned pursuant to              summary judgment motion by July 11, 2023
Section 636(b)(1) of Title 28 of the United States Code, for all            was sent to Five Points Correctional Facility, the
pretrial matters and for hearing and reporting on dispositive               address for plaintiff on file with the Court at that
motions for consideration by the District Court. (Dkt. No.                  time. On June 20, 2023, the Court received a letter
28) Before the Court is defendants’ motion for summary                      from defense counsel indicating, inter alia, that
judgment pursuant to Rule 56 of the Federal Rules of Civil                  plaintiff had been transferred to Attica Correctional
Procedure. (Dkt. No. 27) For the following reasons, it is                   Facility. (Dkt. No. 32) The Court then forwarded a
recommended that the motion be granted in part and denied                   copy of the Order to plaintiff at his new address.
in part.                                                                    (Dkt. No. 33)
                                                                    On July 25, 2023, this Court issued an order stating that
                                                                    plaintiff had been given two opportunities to respond to
            PROCEDURAL BACKGROUND                                   defendants’ motion for summary judgment and had failed
                                                                    to respond. (Dkt. No. 34) The Court stated it would give
Plaintiff Billyray Staton, an inmate in the care and
                                                                    plaintiff one final opportunity to respond to defendants’
custody of the New York State Department of Corrections
                                                                    motion, on or before August 14, 2023. (Id.) The Court further
and Community Supervision (“DOCCS”), filed a pro se
                                                                    instructed that “should plaintiff fail to respond, this Court
complaint alleging that his Eighth Amendment rights were
                                                                    will make a recommendation to the District Court as to
violated when he was assaulted on March 18, 2018 at
                                                                    the outcome of defendants’ motion for summary judgment
Wende Correctional Facility by two other inmates. (Dkt.
                                                                    without a response from plaintiff, which may result in a
No. 8) Plaintiff sued Correctional Officer Justin Cudzilo and
                                                                    recommendation that plaintiff's case be dismissed.” (Id.) As of
Correctional Sergeant Patrick Farrell (collectively referred to
                                                                    the date of this Report and Recommendation, plaintiff has not
as “defendants”), alleging that they did not sufficiently protect


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filed a response to defendants’ motion for summary judgment.       court may not rely solely on the statement of undisputed
In fact, plaintiff has not actively participated in this case in   facts contained in the moving party's Rule 56.1 statement.”
many months, despite repeated outreach by the Court.               Vermont Teddy Bear Co. v. 1-800 Beargram Co., 373 F.3d
                                                                   241, 244 (2d Cir. 2004). Rather, “the district court must
                                                                   ensure that each statement of material fact is supported by
                                                                   record evidence sufficient to satisfy the movant's burden of
         SUMMARY JUDGMENT STANDARD
                                                                   production even if the statement is unopposed.” Jackson, 766
 *2 Pursuant to Federal Rule of Civil Procedure 56, summary        F.3d at 194. In doing so, “the court may rely on other evidence
judgment is to be granted where “there is no genuine dispute       in the record even if uncited.” Id.; citing Fed. R. Civ. P. 56(c)
as to any material fact and the movant is entitled to judgment     (3).
as a matter of law.” See Fed. R. Civ. P. 56. The court must
“view the evidence in the light most favorable to the party
against whom the motion was made and ... draw all reasonable
                                                                                              FACTS 2
inferences in favor of that party.” Crawford v. Franklin Credit
Mgmt. Corp., 758 F.3d 473, 486 (2d Cir. 2014). Thus, the           2       The facts described herein are taken from plaintiff's
court “should grant summary judgment if, after considering
                                                                           amended complaint and the documents attached
the evidence in the light most favorable to the nonmoving
                                                                           thereto as well as defendants’ motion for summary
party, the Court finds that no rational jury could find in favor
                                                                           judgment, including defendants’ statement of
of that party.” DeJesus v. Malloy, 531 F. Supp. 3d 650, 657
                                                                           undisputed facts and the accompanying affidavits
(W.D.N.Y. 2021), reconsideration denied, 582 F. Supp. 3d 82
                                                                           and exhibits.
(W.D.N.Y. 2022).
                                                                   At all times relevant to this lawsuit, plaintiff Billyray Staton
It is the burden of the party moving for summary judgment          was an inmate in the care and custody of DOCCS and was
to demonstrate the absence of any material facts genuinely         incarcerated at Wende Correctional Facility (“Wende”). (Dkt.
in dispute. Hathaway v. Coughlin, 841 F.2d 48, 50 (2d Cir.         No. 27-2, ¶ 8; Dkt. No. 8) At all times relevant to this
1988). Importantly, a court must not “weigh the evidence,          lawsuit, defendant Patrick Farrell was a correctional sergeant
or assess the credibility of witnesses, or resolve issues of       employed by DOCCS and working at Wende. (Dkt. No.
fact.” Rodriguez v. City of New York, 72 F.3d 1051, 1061 (2d       27-2, ¶ 9; Dkt. No. 8) At all times relevant to this lawsuit,
Cir. 1995). Ultimately, “[s]ummary judgment is inappropriate       defendant Justin Cudzilo was a correctional officer employed
when the admissible materials in the record ‘make it arguable’     by DOCCS and working at Wende. (Dkt. No. 27-2, ¶ 10; Dkt.
that the claim has merit ... for the court in considering such a   Nos. 8)
motion ‘must disregard all evidence favorable to the moving
party that the jury is not required to believe.’ ” Rogoz v. City    *3 On March 18, 2018, at approximately 5:00 p.m., Staton
of Hartfort, 796 F.3d 236, 246 (2d Cir. 2015); quoting Kaytor      was assaulted in the Wende messhall by two other inmates.
v. Electric Boat Corp., 609 F.3d 537, 545 (2d Cir. 2010).          (Dkt. No. 27-2, ¶¶ 11-14; Dkt. No. 8, pgs. 5, 7) The two
                                                                   inmates were later identified as “Dunton” and “Valdez.” (Dkt.
Rule 56 “does not allow district courts to automatically grant     No. 27-2, ¶¶ 13-14) Sergeant Farrell and Officer Cudzilo
summary judgment on a claim simply because the summary             were present and working in the messhall when the assault
judgment motion, or relevant part, is unopposed.” Jackson v.       occurred. (Dkt. No. 27-2, ¶ 12)
Fed. Exp., 766 F.3d 189, 194 (2d Cir. 2014). The district court
“may not grant the motion without first examining the moving       The assault began when Inmate Dunton removed a weapon
party's submission to determine if it has met its burden of        from his mouth, unsheathed it, and attacked Staton from
demonstrating that no material issue of fact remains for trial.”   behind. (Dkt. No 27-2, ¶ 14; Dkt. No. 8, pgs. 5, 7) Staton was
Amaker v. Foley, 274 F.3d 677, 681 (2d Cir. 2001). If it has       seated at the time of the attack and Dunton used the weapon to
not, summary judgment is inappropriate, for “no defense to         repeatedly cut and/or slash the right side of Staton's face. (Dkt.
an insufficient showing is required.” Id.; accord Adickes v.       No. 8, pg. 5; Dkt. No. 27-4, pg. 5; Dkt. No. 27-5, ¶ 7) Inmate
S.H. Kress & Co., 398 U.S. 144, 161 (1970). Moreover, “in          Valdez then joined in the attack on Staton, and a fight ensued
determining whether the moving party has met this burden of        between the three inmates. (Id.; Dkt. No. 27-3, pg. 4) Officers
showing the absence of a genuine issue for trial, the district     stationed in the messhall at the time of the incident broke up



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the fight. (Dkt. No. 27-2, ¶ 17; Dkt. No. 27-3, pg. 5; Dkt.          could recall having any contact or interactions with Staton.
No. 27-4, ¶ 9; Dkt. No. 27-5, ¶ 8) Staton received lacerations       (Dkt. No. 27-4, ¶ 13; Dkt. No. 27-5, ¶ 9)
on his face consistent with a “blade type weapon.” (Dkt. No.
27-4, pg. 5) After the incident, Staton was asked if he wanted        *4 Contrary to the claims made by Staton, Cudzilo and
to be placed in voluntary protective custody and he declined.        Farrell both aver that they did not witness Dunton remove
(Dkt. No. 27-4, pgs. 6-7)                                            a weapon from his mouth to attack Staton. (Dkt. No. 27-4,
                                                                     ¶ 11; Dkt. No. 27-5, ¶ 10) Both Cudzilo and Farrell aver
During his deposition, Staton testified that, at the time of the     that when they did see a fight break out between the three
March 18, 2018 assault, he lived in the same gallery as Inmate       inmates, they responded immediately. (Dkt. No. 27-4, ¶ 9;
Dunton. (Dkt. No. 27-3, pg. 3) Staton knew Dunton by face            Dkt. No. 27-5, ¶ 8) Cudzilo issued several verbal direct orders
but “not necessarily by name” and had little to no interaction       to the inmates to cease fighting, which they eventually did.
with him prior to the assault. (Id.) Staton further testified that   (Dkt. No. 27-5, ¶ 8) Cudzilo had his baton out but did not
he did not have any altercations or difficulties with Dunton         use it or otherwise administer force. (Id.) Cudzilo and Farrell
prior to the incident nor did he have any concern that Dunton        both aver that it “appears from [their] recollections and from
was going to assault him before the attack occurred. (Id. at         viewing the surveillance video that the fight was broken up in
12) Staton testified that he did not know Inmate Valdez at all       approximately less than (30) seconds.” (Dkt. No. 27-4, ¶ 10;
prior to the assault. (Id. at 3)                                     Dkt. No. 27-5, ¶¶ 6, 8)

Staton filed a grievance over the assault on March 28, 2018.         A surveillance video depicting the March 18, 2018 assault
(Dkt. No. 8, pg. 5) Staton stated that, on March 18, 2018,           was admitted as an exhibit during Staton's deposition. (Dkt.
he was “physically assaulted in the messhall (A-side) which          No. 27-3, pgs. 5-8) Staton was shown the video during his
resulted in “3 cuts going across [his] face[.]” (Id.) Staton's       deposition. (Id.) Both Officer Cudzilo and Sergeant Farrell
grievance further stated that “[t]here were officers in the          indicate that they viewed the surveillance video prior to the
immediate area [who] failed to prevent the assault.” (Id.)           submissions of their affidavits and both refer to the contents of
Staton's grievance was denied on April 11, 2018 and Staton           the video in their affidavits. (Dkt. No. 27-4, ¶ 6; Dkt. No. 27-5,
filed an appeal on April 17, 2018. (Id. at pg. 6) In his amended     ¶ 5) Plaintiff and defendants all agree that the video represents
complaint, Staton generally alleges that Cudzilo and Farrell         a true and accurate description of the incident on March 18,
failed to protect him when they watched two inmates assault          2018. (Dkt. No. 27-4, ¶ 6; Dkt. No. 27-5, ¶ 5; Dkt. No. 27-3,
him without intervening. (Dkt. No. 8) Staton alleges that            pg. 6) Despite all this, defendants have not submitted the
Officer Cudzilo observed an inmate remove a weapon from              surveillance video as part of the record evidence in support
his mouth, unsheathe it, and assault him, while another inmate       of their motion. Thus, the Court has had no occasion to view
joined the attack. (Id. at pg. 7) Staton further alleges that        the surveillance video which apparently depicts the incident
Sergeant Farrell and Officer Cudzilo “observed both inmates          which is the main subject of this lawsuit.
as they attack[ed] me deliberately disregarding their duty to
protect inmates.” (Id.)                                              During his deposition, Staton testified that he never heard
                                                                     officers give verbal commands to him, Dunton, and Valdez
Both Officer Cudzilo and Sergeant Farrell submitted                  to stop fighting. (Dkt. No. 27-3, pg. 4) Staton testified
affidavits in support of defendants’ motion for summary              that the assault ended “eventually [when] a few officers
judgment. (Dkt. Nos. 27-4, Dkt. No. 27-5) Cudzilo states that        physically intervened.” (Id. at pgs. 4-5) Contrary to Cudzilo
on March 18, 2018, at the time of the assault, he was stationed      and Farrell, who indicated that the fight was broken up
in A block as a recreational officer. (Dkt. 27-5, ¶ 6) His duties    “within 30 seconds,” Staton testified that approximately a
included escorting inmates to and from the messhall as well          minute and half to two minutes elapsed between the time
as observing the inmates during mealtime to ensure that they         he was attacked by Dunton and when officers intervened to
remained seated and sitting forward. (Id.) Farrell states that at    stop the assault. 3 (Id.) Staton testified that Cudzilo “observed
the time of the assault, he was stationed near the middle of the     an inmate unwrap, unsheathe a weapon, and assault me,
messhall, close to the serving line. (Dkt. No. 27-4, ¶ 7) His        and observed another inmate join into the assault before he
duties included supervising the inmates and staff. (Id.) Prior       reacted.” (Id. at 10) Staton further stated that Farrell should
to the March 18, 2018 incident, neither Cudzilo nor Farrell          not have been positioned on the side of the messhall when




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“there's somebody with a weapon in their mouth and pulling       assaulted in prison is simply not part of the penalty that
it out in front of officers.” (Id. at pg. 9)                     criminal offenders pay for their offenses against society.”)
                                                                 (internal quotation marks omitted). However, “not ... every
3                                                                injury suffered by one prisoner at the hands of another”
       Defense counsel questioned Staton regarding the
                                                                 warrants imposition of constitutional liability pursuant to 42
       contents of the surveillance video during his
       deposition. (Dkt. No. 27-3, pgs. 6-8) In discussing       U.S.C. § 1983. Id. Liability for such an injury is imposed only
       the video, defense counsel states that “we can't see      when the prison officials’ actions or omissions demonstrate
       the fight” but notes that the video does portray “the     “deliberate indifference” to the safety of the inmates in their
       officers that are responding to the incident.” (Id.       custody, “mere negligence will not suffice.” Hayes, 84 F.3d
       at pg. 7) Staton goes on to identify both Cudzilo         at 620.
       and Farrell as present in the video. (Id.) In the
                                                                 Where a claim is based on an alleged failure to protect a
       portions of the deposition transcript submitted by
                                                                 prisoner against an attack by a fellow inmate, the test for
       defendants in support of their motion, there is no
                                                                 deliberate indifference requires a plaintiff to demonstrate that:
       discussion of any time stamps that would give an
                                                                 (1) he is “incarcerated under conditions posing a substantial
       indication as to how much time elapsed between
                                                                 risk of serious harm”; and (2) the “defendant prison officials
       when the assault began and when officers broke it
                                                                 possessed sufficient culpable intent.” Id. at 620; accord
       up.
                                                                 Farmer, 114 S. Ct. at 1977. A prison official has sufficient
Also during his deposition, Staton testified that he spoke       culpable intent if he has knowledge that an inmate faces a
with Lieutenant Fisher about concerns he had for his safety      substantial risk of serious harm, and he disregards that risk by
following an incident on March 5. 4 (Dkt. No. 27-3, pgs.         failing to take reasonable measures to abate the harm. Id.; see
13-14) Staton testified that his conversation with Fisher was    Farmer, 511 U.S. at 837 (explaining that this state of mind
brief and that he “didn't tell [Fisher] what the incident was    is “more blameworthy than negligence” and is “equivalent to
because [he] didn't know.” (Id. at 13) Lieutenant Fisher asked   criminal recklessness”).
Staton if, due to his safety concerns, he wanted to be placed
in protective custody, and Staton declined. (Id.)                To the extent that Staton is asserting a § 1983 claim based on
                                                                 defendants’ alleged failure to protect him from the March 18,
4                                                                2018 assault, his claim fails as a matter of law. As explained
       Staton did not provide the year of the March 5
       incident and defense counsel did not ask Staton           below, even assuming that the March 18, 2018 assault placed
       what year he was referring to. The Court presumes         Staton at substantial risk of serious harm, no reasonable jury
       that plaintiff was referring to an incident on            could find, based on the record before the Court, that either
       March 5, 2018, approximately 13 days before the           Farrell or Cudzilo were aware that Staton faced serious risk
       March 18, 2018 assault. Also, the portions of the         of harm and disregarded that risk.
       deposition transcript submitted by defendants do
       not include a description or explanation as what          There is no evidence in the record that Staton was involved
       occurred on March 5, 2018 that caused plaintiff to        in a prior altercation with Dunton or Valdez. Likewise, there
       fear for his safety.                                      is no evidence in the record that Dunton or Valdez previously
                                                                 threatened Staton. In fact, Staton testified that he had little to
                                                                 no interaction with Dunton prior to the assault. Staton also
                       DISCUSSION                                testified that he had no reason to believe, prior to the assault,
                                                                 that Dunton intended to attack him or to otherwise cause him
Failure to Protect                                               harm. Similarly, Staton testified he did not know Valdez at all
 *5 “The Eighth Amendment requires prison officials to take      prior to the March 18, 2018 incident. Moreover, there is no
reasonable measures to guarantee the safety of inmates in        evidence in the record that Staton told any officers at Wende,
their custody.” Hayes v. New York City Dep't of Corr., 84        including Farrell or Cudzilo, that he might be attacked by
F.3d 614, 620 (2d Cir. 1996); citing Farmer v. Brennan,          Valdez or Dunton or that he was otherwise fearful of them.
511 U.S. 825, 833 (1994). “Prison officials [thus] have a        Thus, the undisputed evidence shows that there was no reason
duty ... to protect prisoners from violence at the hands of      for defendants to be on notice that there was any risk of an
other prisoners.” Farmer, 511 U.S. at 833 (“Being violently      altercation between Staton, Valdez, and Dunton.



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                                                                     Also, Staton testified that in response to his concerns about the
Absent clear notice of a risk of harm by way of (1) prior            incident on March 5, 2018, Lieutenant Fisher offered to place
altercations between plaintiff and his attacker; (2) prior threats   Staton in protective custody, which Staton declined. Thus, it
made against plaintiff by his attacker or; (3) some other reason     cannot be concluded, based on the undisputed facts in the
for prison officials to be on notice of the risk of an altercation   record, that Fisher, or any other Wende officers for that matter,
between plaintiff and his attacker, courts routinely deny            were deliberately indifferent to Staton's safety concerns. See
deliberate indifference claims, like this one, that are based        e.g., Wood v. Skinner, 98-CV-0146, 2000 U.S. Dist. LEXIS
upon surprise attacks. Fernandez v. New York Dep't Corr.             12387 (W.D.N.Y. Aug. 23, 2000) (“Moreover, the fact that
Servs., 08 CV 4294, 2010 WL 1222017, at *4 (S.D.N.Y. Mar.            plaintiff had previously refused to enter ‘protective custody’
29, 2010). See also Harris v. Poole, 03 CV 861, 2006 U.S.            undermines any inference that defendants have been -- and
Dist. LEXIS 83287 (W.D.N.Y. Nov. 15, 2006) (Plaintiff did            continue to be -- indifferent to plaintiff's health and safety....
not allege previous history of confrontation with his attacker       If anything, such refusal is indicative of plaintiff's own
and therefore did not demonstrate a factual question as to           indifference to his own health and safety.”); Simmons v. Artuz,
whether defendants knew of and disregarded an excessive              94 Civ. 6777, 1996 U.S. Dist. LEXIS 6061 (S.D.N.Y. May
risk to plaintiff's health or safety.); King v. Dep't of Corr., 95   7, 1996) (“It is undisputed that plaintiff was interviewed by
Civ. 3057, 1998 U.S. Dist. LEXIS 1825 (S.D.N.Y. Feb. 18,             a Sergeant after the first attack and that the plaintiff refused
1998) (failure to protect inmate from isolated attack did not        protective custody status. Thus, plaintiff has failed to show
sustain § 1983 claim); Rosario v. Nolan, 16-CV-0228, 2021            that defendants had the requisite knowledge and culpable
U.S. Dist. LEXIS 56039 (W.D.N.Y. Mar. 22, 2021) (where               state of mind prior to these two attacks to establish a violation
plaintiff testified that, prior to the attack, he had no problems    under Section 1983.”).
with his attacker and did not feel the need to complain to
anyone about him ... no reasonable officer could have drawn          Finally, the record reflects that the conversation regarding
an inference that plaintiff may have been in danger).                Staton's concerns for his safety following an incident on
                                                                     March 5, 2018 occurred between Staton and Lieutenant
 *6 Staton's deposition testimony seems to indicate that he          Fisher. There is no evidence in the record that Farrell or
spoke with Lieutenant Fisher about concerns he had for               Cudzilo were either present for this conversation or that
his safety following an incident on March 5, 2018. But               they were later made aware of the discussion. Thus, after
Staton admits that he did not provide Fisher with any details        considering all of the record evidence in a light most favorable
about the March 5 incident. Moreover, the record is devoid           to Staton, no reasonable jury could conclude that Farrell
of evidence that Staton identified Dunton and Valdez as              or Cudzilo were “aware of facts from which the inference
the sources of his concern. In fact, the undisputed facts            could be drawn that a substantial risk of serious harm
indicate that Staton's conversation with Fisher would not have       [to Staton] existed [and] that [they drew] that inference.”
involved either of these inmates. Staton testified that he had       Farmer, 511 U.S. at 825. See e.g., Parris v. New York
little to no interaction with Dunton and Valdez before the           Dep't Corr. Servs., 947 F. Supp. 2d 354 (S.D.N.Y. May 23,
March 18, 2018 assault and, even more significantly, that            2013) (“Because the plaintiff has alleged no facts suggesting
he had no prior indication that they planned to harm him.            that any of the defendants knew of a particular risk to the
“An official demonstrates deliberate indifference when he has        plaintiff's safety, the plaintiff has failed to state a claim that
actual or constructive notice of a specific risk and fails to take   any of the defendants was deliberately indifferent in failing
steps to protect the inmate from injury.” Arroyo v. Coughlin,        to protect him from the surprise attack.”); Wilson, 2008
92-CV-0426, 1993 U.S. Dist. LEXIS 5091 (W.D.N.Y. April               U.S. Dist. LEXIS 124326 (recommending that defendants’
8, 1993); Meriweather v. Coughlin, 879 F.2d 1037, 1048 (2d           motion for summary judgment be granted as to plaintiff's
Cir. 1989). Thus, Staton's “general, conclusory statement that       failure to protect claim where “[t]here [was] no evidence on
[he] fear[ed] for his safety, without more, [was] insufficient       the record that either named [d]efendant was warned that
information from which an inference [could] be drawn that            plaintiff's safety would be in danger should he be released
[his] safety [was] actually at risk.” Wilson v. Campbell, 9:06-      from SHU.”). 5
CV-175, 2008 U.S. Dist. LEXIS 124326 (N.D.N.Y. Feb. 11,
2008).                                                               5       A plaintiff may also state a claim for deliberate
                                                                             indifference based on a failure to protect him
                                                                             against a general risk of harm to all inmates at


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        the facility. To do so, a plaintiff must allege that
        the defendants knew of a history of prior inmate-           Here, it is undisputed that, on March 18, 2018, in the
        on-inmate attacks similar to the one he suffered            Wende messhall, Dunton removed a weapon from his mouth,
        and that the measures defendants should have                unsheathed it, and attacked Staton by cutting and slashing at
        taken in response to such prior attacks would have          his face. It is undisputed that Valdez joined in the attack on
        prevented the attack on plaintiff. See Coronado             Staton and that a fight ensued between the three inmates. It
        v. Goord, 99 Civ. 1674, 2000 U.S. Dist. LEXIS               is undisputed that Cudzilo and Farrell were present when the
        13876, (S.D.N.Y. Sept. 25, 2000). Here, the record          assault occurred. The parties also agree that the fight between
        is devoid of any evidence to suggest (1) a history of       the three inmates was stopped, at some point, by officers. It is
        serious inmate-on-inmate assaults in the messhall           further undisputed that Staton received lacerations to the right
        or at Wende in general; (2) that defendants knew of         side of his face as a result of the assault.
        any such history; or (3) that such prior assaults were
        similar enough to the attack suffered by Staton that        The remainder of the material facts surrounding the March 18,
        remedial actions would have prevented that attack.          2018 assault are in dispute. Both Cudzilo and Farrell claim
        Therefore, no reasonable jury could conclude that           that they did not see Dunton remove a weapon and attack
        defendants were deliberately indifferent in failing         Staton, and that they only became aware of the incident after
        to protect Staton against a general risk of harm.           a fight had ensued between all three inmates. Cudzilo and
        Parris, 947 F. Supp.2d at 363-64.                           Farrell further claim that as soon as they observed the fight,
                                                                    they ran over to assist in breaking it up. Conversely, Staton
 *7 For these reasons, it is recommended that defendants’
                                                                    claims that both Farrell and Cudzilo saw Dunton remove the
motion for summary judgment be granted with respect to
                                                                    weapon from his mouth and attack him, and that they also
plaintiff's failure to protect claim.
                                                                    witnessed Valdez join in the assault. Staton maintains that
                                                                    despite seeing this occur, defendants failed to intervene and
Failure to Intervene                                                stop the attack. Cudzilo maintains that the inmates stopped
“An Eighth Amendment claim that officers failed to protect          fighting after he issued several verbal orders to them. On
an inmate from an attack by a fellow inmate is ‘quite different’    the other hand, Staton testified that he never heard Cudzilo
from the claim that an officer stood by and permitted the           issue verbal orders to stop fighting and that the fight ended
attack to continue.” Smith v. Huggler, 9:20-CV-1435, 2022           when “officers eventually physically intervened.” Cudzilo
U.S. Dist. LEXIS 214750 (N.D.N.Y. Nov. 29, 2022); accord            and Farrell submit that “the inmate-on-inmate assault was
Davidson v. Cannon, 474 U.S. 344, 348 (1986). Indeed, an            broken up within thirty seconds.” However, Staton testified
officer's failure to intervene when an inmate is attacked can       that it took officers between a minute and a half and two
constitute a violation of the inmate's rights under the Eighth      minutes to intervene and break up the altercation between
Amendment. Davidson, 474 U.S. at 348.                               him, Dunton, and Valdez.

To establish liability on the part of a defendant under a failure    *8 In light of these competing narratives by plaintiff and
to intervene theory, a plaintiff must establish that (1) the        defendants, a genuine issue of material fact exists as to
officer observed or had reason to know that plaintiff was           whether Farrell and Cudzilo had a reasonable opportunity
involved in a physical altercation with another inmate; (2) the     to intervene and prevent the harm suffered by Staton, yet
officer had reasonable opportunity to intervene; (3) the officer    failed to do so. See Rosen, 667 F. Supp. 2d at 360 (summary
failed to intervene; and (4) the officer's failure to intervene     judgment denied as to prisoner's failure to intervene claim
was the proximate cause of injuries sustained by the plaintiff.     where there were questions of fact as to whether officer was
Rosen, 667 F. Supp. 2d at 355; accord Williams v. Russo, 01-        in a position to view the fight between inmates, how long
CV-6401, 2009 U.S. Dist. LEXIS 5086 (W.D.N.Y. Jan. 26,              the officer may have been watching the fight, and whether
2009). Stated another way, a correction officer can be held         the officer had a reasonable opportunity to intervene, giving
liable for failure to intervene in an attack on an inmate if the    due consideration to his own safety); Blake v. Saxton, 12
officer “displays deliberate indifference when he has adequate      Civ. 7245, 2016 U.S. Dist. LEXIS 38798 (S.D.N.Y. Mar.
time to assess a serious threat against an inmate and a fair        24, 2016) (summary judgment denied as to prisoner's claim
opportunity to protect the inmate without risk to himself, yet      that officer failed to intervene when he was attacked by
fails to intervene.” Rosen, 667 F. Supp. at 360.                    another inmate because “the reasonableness of Defendant's



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response turns squarely on when Defendant actually learned           and [verbally] direct the inmates to break it up.” (Dkt. No.
of the altercation, a fact clearly in dispute.”). Considering        27-1, pg. 22) Defendants seem to claim that any delay in
plaintiff's testimony that (1) defendants did not act after seeing   responding, or their decision not to physically intervene in the
Dunton remove a knife from his mouth and slash plaintiff             altercation, was due to the presence of the weapon and the
while another inmate joined in the attack, and (2) that it           need to wait for assistance from other officers. However, the
took officers almost two minutes to respond to the assault, a        evidence in the record does not support this version of events.
reasonable jury could conclude, should they believe plaintiff,       Both Cudzilo and Farrell state, in their affidavits, that they did
that defendants had adequate time to assess the threat to Staton     not see Dunton remove a weapon from his mouth. Further,
and a reasonable opportunity to intervene, but did not do so.        neither Cudzilo nor Farrell indicate, in their affidavits, that
                                                                     they called for back-up because they believed the situation
Defendants claim that a surveillance video confirms that             too dangerous to intervene without assistance. To the contrary,
the altercation was broken up with thirty seconds, but they          both defendants claim that as soon as they became aware of
have not submitted the video as evidence in support of their         the altercation, they acted promptly to stop it. Plaintiff claims
motion. Thus, the Court is left only with plaintiff's version        the opposite. 6
of events on the one hand and defendants’ competing version
on the other. It is well-settled that a district court may not       6       Inmate Misbehavior Reports filed after the March
make credibility determinations on a motion for summary
                                                                             18, 2018 assault indicate that additional staff
judgment. See Manganiello v. City of New York, 612 F.3d 149,
                                                                             or officers arrived at some point during the
161 (2d Cir. 2010) (“Credibility determinations, the weighing
                                                                             incident. (Dkt. No. 27-4, pg. 5; Dkt. No. 27-5,
of the evidence, and the drawing of legitimate inferences from
                                                                             pg. 5) However, these reports do not state that
the facts are jury functions, not those of a judge.”) (internal
                                                                             either Cudzilo or Farrell called these officers
quotations omitted).
                                                                             for assistance. (Id.) Moreover, neither Cudzilo
                                                                             nor Farrell's affidavits indicate that they called
Further, even assuming that the assault was broken up with
                                                                             for back-up before responding to the incident or
thirty seconds of when it commenced, this fact alone does
                                                                             that they delayed responding because they needed
not require summary judgment in favor of defendants. See
                                                                             assistance and/or feared for their own safety. (Dkt.
Smith, 2022 U.S. Dist. LEXIS 214750 (denying summary
                                                                             No. 27-4; Dkt. No. 27-5) Instead, both defendants
judgment as to inmate's claim that defendant officers failed
                                                                             aver that they responded immediately as soon as
to intervene in an attack by another inmate where defendants
                                                                             they became aware of the altercation. (Dkt. No.
maintained that the incident lasted fifteen seconds and they
                                                                             27-4, ¶ 9; Dkt. No. 27-5, ¶ 8)
immediately approached the inmates and directed them to
stop fighting, and plaintiff claimed that the attacked lasted         *9 It may be that defendants’ actions on March 18, 2018
one minute and he saw defendants standing twenty feet                were objectively reasonable, in light of all the circumstances
away and “watching the entire incident.”); Mason v. Moore,           presented, including concerns for their own safety and the
9:17-CV-1086, 2020 WL 555943, at *5 (N.D.N.Y. Jan. 13,               safety of other prisoners. However, too many questions of fact
2020) (rejecting the defendants’ argument that there was             exist as to what actually occurred on March 18, 2018 to make
no opportunity to intercede where the incident lasted only           such a determination at this stage. Indeed, upon viewing all
fifteen to twenty seconds when the plaintiff, while in the           of the record evidence in a light most favorable to plaintiff
defendants’ “full view,” was “punched and kicked multiple            and after drawing all reasonable inferences in plaintiff's favor,
times[ ]”); Figueroa v. Mazza, 825 F.3d 89 (2d Cir. 2016)            questions of fact exist as to whether defendants had adequate
(“even assuming that the assault lasted less than twenty             time to assess the threat against Staton and a fair opportunity
seconds,” the court could not hold “that the assault occurred        to protect him without risk to themselves, but still failed to
so quickly that the officers ... lacked time to intercede as a       intervene in the assault. See Harris v. Westchester Cty. Dep't of
matter of law.”).                                                    Corr., 17-CV-839, 2019 U.S. Dist. LEXIS 178392 (S.D.N.Y.
                                                                     Sept. 23, 2019) (“Whether Defendants had a reasonable
The Court rejects defendants’ argument that summary                  opportunity to intervene, and whether calling a Code 1 and
judgment is appropriate here because defendants were                 verbally telling the inmates to stop fighting was a reasonable
confronted with three inmates fighting with a weapon and             response, are material questions of fact for a jury, not this
“thus it was reasonable to immediately call for assistance           Court.”); Pearson v. Correction Officer Principe, 97 Civ.



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3746, 1999 U.S. Dist. LEXIS 1294 (S.D.N.Y. Feb. 9, 1999)              violations.”); Villante v. Vandyke, 904 Civ. 759, 2008 U.S.
(“Perhaps, [the officer] can offer a plausible explanation for        Dist. LEXIS 3408 (N.D.N. Y. Jan. 15, 2008) (“Since
the failure to intervene in a timely fashion, assuming that the       [p]laintiff has raised an issue of fact about whether
plaintiff's version of events is accurate. But, the plausibility      [d]efendants stood by and allowed other inmates to attack
of any explanation is an issue of fact for the jury.”).               him ... [d]efendants are not entitled to qualified immunity”).

Accordingly, it is recommended that defendants’ motion for            Therefore, the Court declines to grant defendants qualified
summary judgment be denied with respect to plaintiff's failure        immunity at this stage.
to intervene claim.


Qualified Immunity                                                                          CONCLUSION
The doctrine of qualified immunity shields government
                                                                      For the foregoing reasons, it is recommended that defendants’
officials performing discretionary functions from liability for
                                                                      motion for summary judgment be granted in part and denied
civil damages under federal claims insofar as their conduct
                                                                      in part. (Dkt. No. 27) Specifically, it is recommended that
does not violate clearly established statutory or constitutional
                                                                      plaintiff's failure to protect claim be dismissed but that
rights of which a reasonable person would have known. See
                                                                      plaintiff's failure to intervene claim be permitted to proceed.
Wilson v. Layne, 526 U.S. 603, 609 (1999); Ayers v. Ryan, 152
F.3d 77, 82 (2d Cir. 1998). A government official is entitled
                                                                      *10 Pursuant to 28 U.S.C. § 636(b)(1), it is hereby
to qualified immunity when “(1) [p]laintiff fails to allege a
                                                                      ORDERED that this Report and Recommendation be filed
violation of a federal right; (2) the right alleged was not clearly
                                                                      with the Clerk of Court.
established at the time of the alleged violation; or (3) the
[d]efendant's actions were objectively reasonable in light of
                                                                      Unless otherwise ordered by Judge Vilardo, any objections to
the legal rules that were clearly established at the time it was
                                                                      this Report and Recommendation must be filed with the Clerk
taken.” Burns v. Citarella, 443 F. Supp. 2d 464, 469 (S.D.N.Y.
                                                                      of Court within fourteen days of service of this Report and
2006); citing Harhay v. Town of Ellington Bd. of Educ., 323
                                                                      Recommendation in accordance with the above statute, Rules
F.3d 206, 211-12 (2d Cir. 2003). “Correction officers have a
                                                                      72(b), 6(a), and 6(d) of the Federal Rules of Civil Procedure,
clearly established duty to protect prisoners from violence at
                                                                      and W.D.N.Y. L. R. Civ. P. 72. Any requests for an extension
the hands of other prisoners.” Dennis v. Westchester Cty. Jail
                                                                      of this deadline must be made to Judge Vilardo.
Corr. Dep't, 485 Fed. App'x 478, 481 (2d Cir. 2012); accord
Farmer, 511 U.S. at 833.
                                                                      Failure to file objections, or to request an extension of time
                                                                      to file objections, within fourteen days of service of this
Defendants contend that they are entitled to qualified
                                                                      Report and Recommendation WAIVES THE RIGHT TO
immunity because their actions on March 18, 2018 were
                                                                      APPEAL THE DISTRICT COURTS ORDER. See Small v.
objectively reasonable based upon all of the circumstances
                                                                      Sec'y of Health & Human Servs., 892 F.2d 15 (2d Cir. 1989).
presented to them. Dismissal on the basis of a qualified
immunity defense is not appropriate, however, where there
                                                                      The District Court will ordinarily refuse to consider de novo
are facts in dispute that are material to a determination of
                                                                      arguments, case law and/or evidentiary material which could
reasonableness. See Thomas v. Roach, 165 F.3d 137, 143-45
                                                                      have been, but were not, presented to the Magistrate Judge
(2d Cir. 1999); Lennon v. Miller, 66 F.3d 416, 421 (2d Cir.
                                                                      in the first instance. See Paterson–Leitch Co. v. Mass. Mun.
1995).
                                                                      Wholesale Elec. Co., 840 F.2d 985, 990-91 (1st Cir. 1988).

As discussed above, there are too many unresolved factual
                                                                      Finally, the parties are reminded that, pursuant to W.D.N.Y.
disputes for the Court to determine that Cudzilo and Farrell's
                                                                      L.R.Civ.P. 72(b), written objections “shall specifically
actions in response to the March 18, 2018 assault of
                                                                      identify the portions of the proposed findings and
Staton were objectively reasonable. See Smith, 2022 U.S.
                                                                      recommendations to which objection is made and the basis for
Dist. LEXIS 214750, *21 (“Because a reasonable jury
                                                                      each objection, and shall be supported by legal authority.”
could conceivably accept Plaintiff's claim that Defendant's
                                                                      Failure to comply with these provisions may result in the
conduct was objectively unreasonable, Defendants are not
                                                                      District Court's refusal to consider the objection.
entitled to qualified immunity for alleged Eighth Amendment


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                                                           All Citations
SO ORDERED.
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                                                                The defendants then moved to supplement the record with a
                    2024 WL 1051986                             video of the underlying assault. Docket Item 36. Staton was
      Only the Westlaw citation is currently available.         given an opportunity to respond to that motion, but he never
       United States District Court, W.D. New York.             did. See Docket Items 39 and 40. After this Court granted
                                                                the unopposed motion to supplement, Docket Item 40, the
               Billyray STATON, Plaintiff,                      defendants objected to the R&R on the ground that Judge
                           v.                                   Roemer should have recommended granting their motion for
           Stewart ECKERT, et al., Defendants.                  summary judgment in full, Docket Item 41. Staton did not
                                                                respond even after this Court gave him a second opportunity
                    20-CV-1120-LJV-MJR                          to do so and directed him to show cause why the Court should
                              |                                 not rule on the objections without his response. See Docket
                    Signed March 11, 2024                       Items 42 and 43. His time to respond now has passed. 2 See
                                                                Docket Item 43.
Attorneys and Law Firms

Billyray Staton, Romulus, NY, Pro Se.                           2      In fact, Staton apparently has been absent from
                                                                       this litigation for about a year. See Docket Item
Jennifer Metzger Kimura, Kim S. Murphy, New York State                 30 (notice of change of address filed by Staton on
Attorney General's Office, Buffalo, NY, for Defendants                 March 10, 2024).
Patrick Farrell, Justin Cudzillo.
                                                                A district court may accept, reject, or modify the findings or
                                                                recommendations of a magistrate judge. 28 U.S.C. § 636(b)
                                                                (1); Fed. R. Civ. P. 72(b)(3). The court must review de novo
                  DECISION & ORDER
                                                                those portions of a magistrate judge's recommendation to
LAWRENCE J. VILARDO, UNITED STATES DISTRICT                     which a party objects. 28 U.S.C. § 636(b)(1); Fed. R. Civ.
JUDGE                                                           P. 72(b)(3). But neither 28 U.S.C. § 636 nor Federal Rule
                                                                of Civil Procedure 72 requires a district court to review the
 *1 On August 21, 2020, the pro se plaintiff, Billyray          recommendation of a magistrate judge to which no objections
Staton, commenced this action under 42 U.S.C. § 1983.           are raised. See Thomas v. Arn, 474 U.S. 140, 149-50 (1985).
Docket Item 1. On October 3, 2022, defendants Justin Cudzilo
and Patrick Farrell moved for summary judgment, Docket          This Court has carefully and thoroughly reviewed the R&R,
Item 27, and three days later, the case was referred to         the record in this case, the objections, and the materials
United States Magistrate Judge Michael J. Roemer for all        submitted to Judge Roemer. Based on that review, the Court
proceedings under 28 U.S.C. § 636(b)(1)(A) and (B), Docket      accepts and adopts Judge Roemer's recommendation to grant
Item 28. After Staton did not respond and his time to do so     in part the defendants’ motion for summary judgment. And
expired, 1 see Docket Item 34, Judge Roemer issued a Report     based on the video that Judge Roemer did not have the
and Recommendation (“R&R”) finding that the defendants’         opportunity to review, the Court grants the remainder of the
motion should be granted in part and denied in part, Docket     defendants’ motion as well.
Item 35.

1                                                                                  LEGAL PRINCIPLES
       Judge Roemer gave Staton several opportunities to
       respond and explicitly warned him that if he did not
       respond by August 14, 2023, Judge Roemer would           “A motion for summary judgment may be granted ‘if the
       “make a recommendation to the District Court ...         movant shows that there is no genuine dispute as to any
       without a response from [the] plaintiff, which may       material fact and the movant is entitled to judgment as a matter
       result in a recommendation that [the] plaintiff's case   of law.’ ” Soto v. Gaudett, 862 F.3d 148, 157 (2d Cir. 2017)
       be dismissed.” See Docket Item 35 at 2-3; see also       (quoting Fed. R. Civ. P. 56(a)). Even if a motion for summary
       Docket Items 31 and 34.                                  judgment is unopposed, the district court “may not grant the
                                                                motion without first examining the moving party's submission
                                                                to determine if it has met its burden of demonstrating that no



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material issue of fact remains for trial.” Amaker v. Foley, 274    Judge Roemer recommended that the defendants’ motion
F.3d 677, 681 (2d Cir. 2001); see Fed. Express, 766 F.3d 189,      for summary judgment be denied as to Staton's failure
194 (2d Cir. 2014).                                                to intervene claim because some of “the material facts
                                                                   surrounding the March 18, 2018[,] assault are in dispute.”
                                                                   Docket Item 35 at 14-19. He based that recommendation
                                                                   on the different stories told by Staton and the defendants
                       DISCUSSION
                                                                   about what occurred. As Judge Roemer correctly noted, the
 *2 The Court assumes the reader's familiarity with the facts      defendants say “that they did not see Dunton”—one of the
alleged in the amended complaint, see Docket Item 8, and           inmates who assaulted Staton—“remove a weapon and attack
Judge Roemer's recitation of the facts and his analysis in the     Staton”; “that they only became aware of the incident after a
R&R, see Docket Item 35.                                           fight had ensued”; and that “as soon as they observed the fight,
                                                                   they ran over to assist in breaking it up.” Id. at 15. And as
                                                                   Judge Roemer also correctly noted, Staton “claims that both
I. FAILURE TO PROTECT                                              Farrell and Cudzilo saw Dunton remove the weapon from
Judge Roemer concluded that Staton's failure to protect claim      his mouth and attack” Staton; that they “witnessed Valdez,”
“fails as a matter of law” because “no reasonable jury could       another inmate, “join in the assault”; and that “despite seeing
find ... that either Farrell or Cudzilo were aware [before the     this occur, [the] defendants failed to intervene and stop
assault] that Staton faced serious risk of harm and disregarded    the attack.” 3 Id. Moreover, Judge Roemer noted that the
that risk,” as is required to succeed on such a claim. Docket      defendants say that the “assault was broken up within thirty
Item 35 at 9-14. He therefore recommended that Staton's            seconds,” while Staton “testified that it took officers between
failure to protect claim be dismissed. Id. The parties did not     a minute and a half and two minutes to intervene and break
object to that recommendation. See Docket Items 36, 41, and        up the altercation.” Id. at 15-16.
43.
                                                                   3
Although not required to review that recommendation in the                Judge Roemer also noted that “Cudzilo maintains
absence of any objection, see Thomas, 474 U.S. at 149-50, this            that the inmates stopped fighting after he issued
Court nevertheless has reviewed Judge Roemer's R&R as well                several verbal orders to them,” while Staton
as the parties’ submissions to him. Based on that review and              “testified that he never heard Cudzilo issue verbal
the absence of any objections, the Court accepts and adopts               orders to stop fighting and that the fight ended
Judge Roemer's recommendation to grant the defendants’                    when officers eventually physically intervened.”
motion for summary judgment as to Staton's failure to protect             Docket Item 35 at 15 (internal quotation marks
claim.                                                                    omitted).
                                                                    *3 Judge Roemer found that “[i]n light of these competing
                                                                   narratives ..., a genuine issue of material fact exists as to
II. FAILURE TO INTERVENE                                           whether Farrell and Cudzilo had a reasonable opportunity
A plaintiff asserting a claim against a corrections officer        to intervene and prevent the harm suffered by Staton, yet
for failing to intervene in an assault by another inmate           failed to do so.” Id. at 16. But he also noted that while the
must show “(1) that [the defendant] observed or had reason         defendants “claim that a surveillance video confirms that the
to know that the [p]laintiff was involved in a physical            altercation was broken up with[in] thirty seconds,” they “[did]
altercation with another inmate; (2) that [the defendant] had a    not submit[ ] the video as evidence.” Id. All that was correct
reasonable opportunity to intervene to prevent the attack from     both as a matter of law and based on the record before Judge
continuing ...; (3) that in failing to intervene[, the defendant   Roemer.
was] deliberately indifferent to a substantial risk of harm
to [the p]laintiff; and (4) that [the defendant's] deliberate      After moving for leave to supplement the record, Docket Item
indifference to a substantial risk of harm ... caused [the         36, however, the defendants submitted the video referenced in
p]laintiff some harm.” Rosen v. City of New York, 667 F. Supp.     their motion for summary judgment, Docket Item 37. Staton
2d 355, 360 (S.D.N.Y. 2009) (quoting Williams v. Russo, 2009       had viewed that video, see Docket Item 36-2 at 4-5, and he
WL 185758, at *4 (W.D.N.Y. Jan. 26, 2009)).                        was given an opportunity to object to its submission, see




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                                                                                to the [m]agistrate [j]udge”); see also 28 U.S.C.
Docket Item 39, which he failed to do, see Docket Item 40.
                                                                                § 636(b)(1)(C) (after a magistrate judge “file[s]
And that video confirms the defendants’ version of events.
                                                                                his proposed findings and recommendations,” the
                                                                                district judge may “receive further evidence or
The video, which is time-stamped March 18, 2018, and begins
                                                                                recommit the matter to the magistrate judge”);
at 5:03:24 p.m., shows a large group of inmates eating.
                                                                                Fed. R. Civ. P. 72(b)(3) (“The district judge must
At approximately the 5:04:05 mark, one inmate—Dunton
—stands up, and at the 5:04:07 mark, he attacks Staton.                         determine de novo any part of the magistrate
By the 5:04:09 mark, the two inmates are fighting on the                        judge's disposition that has been properly objected
ground. Less than ten seconds later—by the 5:04:15 mark—                        to. The district judge may ... receive further
multiple officers walk over to break up the altercation. And                    evidence ....”).
by the 5:04:30 mark—about 25 seconds after Dunton left his
seat and 23 seconds after the attack began—the fighting has
                                                                                               CONCLUSION
stopped and the inmates have been separated.
                                                                        For the reasons stated above and in the R&R, the
Although most of the altercation itself is not visible in the           defendants’ motion for summary judgment, Docket Item 27,
video, there is no doubt that officers broke up the fight in less       is GRANTED. The Clerk of the Court shall close the file.
than thirty seconds, as the defendants say.
                                                                        The Court hereby certifies under 28 U.S.C. § 1915(a)(3)
In light of the video—which Judge Roemer did not                        that any appeal from this order would not be taken in good
have the benefit of viewing—no reasonable juror could                   faith and therefore denies leave to appeal as a poor person.
find that the defendants failed to intervene and exhibited              Coppedge v. United States, 369 U.S. 438, 444-45 (1962).
deliberate indifference. 4 On the contrary, the defendants and
other officers responded immediately and successfully. The              Staton must file any notice of appeal with the Clerk's Office,
defendants therefore are entitled to summary judgment on                United States District Court, Western District of New York,
Staton's failure to intervene claim.                                    within 30 days of the date of judgment in this action. Requests
                                                                        to proceed on appeal as a poor person must be filed with
4                                                                       the United States Court of Appeals for the Second Circuit in
        While this Court could have referred the
                                                                        accordance with the requirements of Rule 24 of the Federal
        defendants’ motion for summary judgment back to
                                                                        Rules of Appellate Procedure.
        Judge Roemer for consideration of the video, as a
        matter of efficiency, the Court considers the video
                                                                        *4 SO ORDERED.
        as part of its de novo review of Staton's failure to
        intervene claim. See Hynes v. Squillace, 143 F.3d
        653, 656 (2d Cir. 1998) (finding that for purposes              All Citations
        of de novo review of magistrate judge's report and
        recommendation, “the district court had discretion              Slip Copy, 2024 WL 1051986
        to consider evidence that had not been submitted

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                                                                  Currently pending before the court is defendant Waugh's
                    2013 WL 654414                                motion for summary judgment seeking dismissal of the
      Only the Westlaw citation is currently available.           excessive force claim asserted against him. In support of that
               United States District Court,                      motion, defendant argues that the amount of force applied,
                     N.D. New York.                               even by plaintiff's account, was constitutionally insignificant
                                                                  and does not support an Eighth Amendment cruel and unusual
                Jose BERMUDEZ, Plaintiff,                         punishment claim. Plaintiff has not opposed defendant's
                          v.                                      motion. For the reasons set forth below, I recommend that the
                 C.O. WAUGH, Defendant.                           defendant's motion be granted.

        Civil Action No. 9:11–CV–0947 (MAD/DEP).
                               |                                  I. BACKGROUND
                        Jan. 29, 2013.                            Plaintiff is a prison inmate currently being held in the
                                                                  custody of the New York State Department of Corrections and
Attorneys and Law Firms                                           Community Supervision (“DOCCS”). Def.'s Local Rule 7.1
                                                                  Statement (Dkt. No. 24, Attach.2) at ¶ 1. 2 At all the times
Jose Bermudez, Comstock, NY, pro se.
                                                                  relevant, plaintiff was confined at the Eastern Correctional
Hon. Eric T. Schneiderman, Attorney General of the State          Facility (“Eastern”), located in Napanoch, New York. Id.
of New York, Douglas J. Goglia, Esq., Assistant Attorney
General, of Counsel, Albany, NY, for Defendant.                   2      Because plaintiff has not opposed defendant's
                                                                         summary judgment motion, the facts set forth in
                                                                         defendant's statement of material facts, submitted
           REPORT AND RECOMMENDATION                                     pursuant to Northern District of New York Local
                                                                         Rule 7.1(a)(3), are deemed admitted by plaintiff
DAVID E. PEEBLES, United States Magistrate Judge.                        for purposes of the pending motion. See N.D.N.Y.
                                                                         L.R. 7.1(a)(3) (“The Court shall deem admitted any
 *1 This action was commenced by pro se plaintiff Jose
                                                                         properly supported facts set forth in the Statement
Bermudez, a New York State prison inmate, by the filing
                                                                         of Material Facts that the opposing party does
of a petition that has been construed by the court as
                                                                         not specifically controvert.”); see also Ketchuck v.
asserting a civil rights claim pursuant to 42 U.S.C. § 1983.
                                                                         Boyer, 2011 WL 5080404, at *2 (N.D.N.Y. Oct. 25,
Liberally interpreted, that petition alleges that defendant
                                                                         2011) (McAvoy, J.) (“The responding Statement
Waugh, a corrections officer employed at the prison facility in
                                                                         of Material Facts is not a mere formality, and the
which plaintiff was confined at the relevant times, assaulted
                                                                         courts apply this ruly strictly.” (listing cases)).
Bermudez after he refused to comply with an order that he
                                                                  On the morning of May 4, 2011, Bermudez was informed that
was allegedly exempt from obeying. 1
                                                                  he was being relocated from his cell in Eastern's west wing to
                                                                  another housing unit within the facility. Def.'s Local Rule 7.1
1      District Judge Mae A. D'Agostino construed                 Statement (Dkt. No. 24, Attach.2) at ¶ 3. In response, plaintiff
       plaintiff's petition as also asserting a claim against     prepared for the move by packing his personal property and
       another corrections officer, defendant Meineke,            proceeding to the ground floor of Eastern. Id. at ¶¶ 4–5.
       whose only alleged role in the events giving rise
       to this action was to serve Bermudez with a                When defendant Waugh, a corrections officer at Eastern,
       misbehavior report that resulted from the incident.        arrived at the ground floor, a dispute arose concerning
       Dkt. No. 7 at 7. Plaintiff's claim against defendant       the extent of plaintiff's personal property. Def.'s Local
       Meineke, however, was dismissed, sua sponte, on            Rule 7.1 Statement (Dkt. No. 24, Attach.2) at ¶ 6.
       November 1, 2011, based on Judge D'Agostino's              Specifically, defendant Waugh accused plaintiff of having
       initial review of plaintiff's claims pursuant to 28        excessive property, and ordered plaintiff several times to
       U.S.C. §§ 1915(e) and 1915A(b). Id. at 7–8.                take his property bags to the basement for inspection and
                                                                  inventorying. Id. at ¶¶ 7–13. Plaintiff refused each of those
                                                                  orders, claiming that, because he was medically exempt


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from lifting anything in excess of twenty pounds, he could                    655 n. 1 (2d Cir.1998). Tier I hearings address
not comply with defendant Waugh's directives. Id. at ¶ 14.                    the least serious infractions and can result in
Instead, plaintiff sat down in a chair, explicitly stated that he             minor punishments such as the loss of recreation
was refusing to comply with the orders, and demanded that                     privileges. Hynes, 143 F.3d 655 n. 1. Tier II
the sergeant on duty be contacted. Id. at ¶ 15.                               hearings involve more serious infractions, and can
                                                                              result in penalties which include confinement for
After another corrections officer approached the area and                     a period of time in the SHU. Id. Tier III hearings
indicated that he needed to use the cart on which plaintiff's                 address the most serious violations and can result in
personal property was situated, defendant Waugh again                         unlimited SHU confinement and the loss of “good
ordered plaintiff to remove a bag of property from the cart.                  time” credits. Id.
Def.'s Local Rule 7.1 Statement (Dkt. No. 24, Attach.2) at
¶¶ 20–21. After plaintiff complied, defendant directed him to         II. PROCEDURAL HISTORY
carry the rest of his bags. Id. at ¶ 23. Plaintiff again refused to   Plaintiff commenced this action in the Southern District of
comply with this order, and defendant Waugh “charged [him]            New York through the filing of a “Petition Pursuant to Civil
like a football player ... leaned down a little bit, ran towards      Service Law,” dated May 9, 2011. Dkt. No. 1. In that petition,
[him,] ... pushed his weight against [his] body” and either           plaintiff requests that the court initiate proceedings against
hit or punched plaintiff in the chest. Plf.'s Dep. Tr. (Dkt. No.      defendants Waugh and Meineke pursuant to, inter alia, N.Y.
24, Attach.4) at 19; see also Def.'s Local Rule 7.1 Statement         Civil Service Law § 75. See generally id. Following a review
(Dkt. No. 24, Attach.2) at ¶ 26. Immediately following                of that petition, the matter was transferred to this district by
the encounter, which lasted only “seconds,” plaintiff was             order of Chief District Judge Loretta A. Presca issued on
transported to the facility's special housing unit (“SHU”).           August 5, 2011, based on the fact that the events giving rise
Id. at ¶¶ 27, 31. Approximately one hour later, Bermudez              to plaintiff's claims arose in this district. Dkt. No. 5.
was taken to the prison infirmary, where his injuries were
examined by facility medical staff and photographed. Def.'s           Upon transfer of the matter to this district, Judge D'Agostino
Local Rule 7.1 Statement (Dkt. No. 24, Attach.2) at ¶ 32.             conducted an initial review of plaintiff's petition and
Medical records from that examination reflect that plaintiff's        accompanying in forma pauperis (“IFP”) application,
injuries from the alleged assault included only a “dime-              concluding that plaintiff qualifies for IFP status, and that
size” abrasion in an “I” pattern on his chest, some redness           his petition, liberally construed, sets forth an excessive force
and edema, and a bruise on the right side of his chest.               claim against defendant Waugh, in violation of the Eighth
Def .'s Local Rule 7.1 Statement (Dkt. No. 24, Attach.2)              Amendment pursuant to 42 U.S.C. § 1983. Dkt. No. 7 at 6–7.
at ¶ 33. Those observations are consistent with Bermudez's            The court also concluded that the petition did not assert any
deposition testimony, in which he agreed that the entirety of         cognizable claims against defendant Meineke, and ordered all
his injuries as a result of defendant Waugh's alleged assault         claims against her be dismissed with leave to replead. 4 Id.
included a “red mark” or “red bruise” on his chest. Plf.'s Dep.       at 7–8.
Tr. (Dkt. No. 24, Attach.4) at 33–36.
                                                                      4
 *2 Following the incident, plaintiff's property was inspected                Despite being given this opportunity, plaintiff has
revealing an altered hot pot, considered contraband under                     not submitted an amended complaint or petition.
prison rules. Id. at ¶¶ 29, 30. Plaintiff was subsequently issued     Now that discovery in the action is closed, defendant Waugh
a misbehavior report for possessing contraband, creating a            has moved for the entry of summary judgment dismissing
disturbance, refusing to obey a direct order, and engaging in         plaintiff's excessive force claim against him. Dkt. No. 24.
verbal harassment. Id. at ¶ 30; see also Disciplinary Incident        In his motion the defendant argues that the record evidence,
Summary (Dkt. No. 24, Attach.7) at 2–3. On May 16, 2011,              including plaintiff's own deposition testimony, demonstrates
a Tier III hearing was held on the charges, and plaintiff was         that the amount of force used against plaintiff was de minimis,
found guilty on all counts. 3 Id.                                     and does not support an Eighth Amendment violation. Id.
                                                                      Despite receiving notice of defendant's filing of the motion,
3                                                                     and the need to properly oppose it, from both defendant's
        The DOCCS conducts three types of inmate
                                                                      counsel and the court, see Dkt. Nos. 24, 25, plaintiff has failed
        disciplinary hearings. See 7 N.Y.C.R.R. § 270.3;
                                                                      to respond. See generally Docket Sheet. Defendant's motion
        see also Hynes v. Squillace, 143 F.3d 653,


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is now ripe for determination, and has been referred to me
for the issuance of a report and recommendation, pursuant to            B. Merits of Plaintiff's Excessive Force Claim
28 U.S.C. § 636(b)(1)(B) and Northern District of New York           The Eighth Amendment prohibits punishment that is
Local Rule 72.3(c). See Fed.R.Civ.P. 72(b).                          “incompatible with ‘the evolving standards of decency that
                                                                     mark the progress of a maturing society [,]’ or which ‘involve
                                                                     the unnecessary and wanton infliction of pain [.]’ “ Estelle v.
III. DISCUSSION                                                      Gamble, 429 U.S. 97, 102–03 (1976) (quoting Trop v. Dulles,
                                                                     356 U.S. 86, 100–01 (1958) and Gregg v. Georgia, 428
   A. Summary Judgment Standard                                      U.S. 153, 169–73 (1976) (internal citations omitted)). While
Summary judgment motions are governed by Rule 56 of                  the Eighth Amendment “ ‘does not mandate comfortable
the Federal Rules of Civil Procedure. Under that provision,          prisons,’ neither does it permit inhumane ones.” Farmer
the entry of summary judgment is warranted “if the movant            v. Brennan, 511 U.S. 825, 832 (1994) (quoting Rhodes v.
shows that there is no genuine dispute as to any material facts      Chapman, 452 U.S. 337, 349 (1981)).
and the movant is entitled to judgment as a matter of law.”
Fed.R.Civ.P. 56(a); see Celotex Corp. v. Catrett, 477 U.S.           A plaintiff's constitutional right against cruel and unusual
317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S.           punishment is violated by an “unnecessary and wanton
242, 247 (1986); Sec. Ins. Co. of Hartford v. Old Dominion           infliction of pain.” Whitley v. Albers, 475 U.S. 312, 319
Freight Line, Inc., 391 F.3d 77, 82–83 (2d Cir.2004). A fact         (internal quotation marks omitted); Griffin v. Crippen, 193
is “material” for purposes of this inquiry, if it “might affect      F.3d 89, 91 (2d Cir.1999). “A claim of cruel and unusual
the outcome of the suit under the governing law.” Anderson,          punishment in violation of the Eighth Amendment has two
477 U.S. at 248; see also Jeffreys v. City of New York, 426          components—one subjective, focusing on the defendant's
F.3d 549, 553 (2d Cir.2005) (citing Anderson ). A material           motive for his conduct, and the other objective, focusing on
fact is genuinely in dispute “if the evidence is such that a         the conduct's effect.” Wright v. Goord, 554 F.3d 255, 268
reasonable jury could return a verdict for the nonmoving             (2d Cir.2009) (citing Hudson, 503 U.S. at 7–8 and Blyden
party.” Anderson, 477 U.S. at 248.                                   v. Mancusi, 186 F.3d 252, 262 (2d Cir.1999)). To satisfy the
                                                                     subjective requirement in an excessive force case, the plaintiff
 *3 A party moving for summary judgment bears an initial             must demonstrate that “the defendant had the necessary level
burden of demonstrating that there is no genuine dispute             of culpability, shown by actions characterized by wantonness
of material fact to be decided with respect to any essential         in light of the particular circumstances surrounding the
element of the claim in issue; the failure to meet this burden       challenged conduct.” Wright, 554 F.3d at 268 (internal
warrants denial of the motion. Anderson, 477 U.S. at 250 n.          quotation marks omitted). This inquiry turns on “whether
4; Sec. Ins. Co., 391 F.3d at 83. In the event this initial burden   force was applied in a good faith effort to maintain or restore
is met, the opposing party must show, through affidavits or          discipline or maliciously and sadistically for the very purpose
otherwise, that there is a material dispute of fact for trial.       of causing harm.” Hudson v.. McMillian, 503 U.S. 1, 6 (1992)
Fed.R.Civ.P. 56(e); Celotex, 477 U.S. at 324; Anderson, 477          (internal quotation marks omitted), accord, Blyden, 186 F.3d
U.S. at 250.                                                         at 262. The Supreme Court has emphasized that the nature of
                                                                     the force applied is the “core judicial inquiry” in excessive
When deciding a summary judgment motion, a court must                force cases—not “whether a certain quantum of injury was
resolve any ambiguities and draw all inferences in a light           sustained.” Wilkins v. Gaddy, 130 S.Ct. 1175, 1179 (2010)
most favorable to the nonmoving party. Jeffreys, 426 F.3d at         (per curiam). Accordingly, when considering the subjective
553; Wright v. Coughlin, 132 F.3d 133, 137–38 (2d Cir.1998).         element of the governing Eighth Amendment test, a court
The entry of summary judgment is justified only in the event         must be mindful that the absence of serious injury, though
of a finding that no reasonable trier of fact could rule in          relevant, does not necessarily negate a finding of wantonness.
favor of the non-moving party. Bldg. Trades Employers' Educ.         Wilkins, 130 S.Ct. at 1179; Hudson, 503 U.S. at 9.
Ass'n v. McGowan, 311 F.3d 501, 507–08 (2d Cir.2002); see
also Anderson, 477 U.S. at 250 (finding summary judgment              *4 Additionally, courts must bear in mind that “[n]ot
appropriate only when “there can be but one reasonable               every push or shove, even if it later may seem unnecessary
conclusion as to the verdict”).                                      in the peace of a judge's chambers, violates a prisoner's
                                                                     constitutional rights.” Romano v. Howarth, 998 F.2d 101, 105
                                                                     (2d Cir.1993) (internal quotation marks omitted); see also


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Griffin, 193 F.3d at 91. “The Eighth Amendment's prohibition          can satisfy either the objective or subjective components of
of cruel and unusual punishments necessarily excludes from            an excessive force analysis. As it relates to the objective
constitutional recognition de minimis uses of physical force,         component, by his own account, plaintiff's injury only
provided that the use of force is not of a sort repugnant to the      amounted to a small “red mark” or “red bruise” on his chest.
conscience of mankind.” Hudson, 503 U.S. at 9–10 (internal            Plf.'s Dep. Tr. (Dkt. No. 24, Attach.4) at 35; see also Plf.'s
quotation marks omitted).                                             Dep. Tr. (Dkt. No. 24, Attach.4) at 7–8 (describing the use
                                                                      of force as “a simple assault” and testifying that he does not
“The objective component [of the excessive force analysis] ...        claim “that [he] was hurt severely”). Such a limited use of
focuses on the harm done, in light of ‘contemporary standards         force cannot satisfy the objective requirement “in light of
of decency.” Wright, 554 F.3d at 268 (quoting Hudson,                 ‘contemporary standards of decency.’ “ Wright, 554 F.3d at
503 U.S. at 8); see also Blyden, 186 F.3d at 263 (finding             268 (quoting Hudson, 503 U.S. at 8).
the objective component “context specific, turning upon
‘contemporary standards of decency”). In assessing this                *5 Neither can plaintiff's claim satisfy the subjective
component, a court must ask whether the alleged wrongdoing            component of an excessive force analysis. Again, by
is objectively harmful enough to establish a constitutional           plaintiff's own account, defendant Waugh used force only
violation. Wilson v. Seiter, 501 U.S. 294, 303 (1991), accord         as a result of plaintiff's explicit refusal to obey multiple
Hudson, 503 U.S. at 8; see also Wright, 554 F.3d at 268. “But         orders. See, e.g., Plf.'s Dep. Tr. (Dkt. No. 24, Attach.4) at 17
when prison officials use force to cause harm maliciously             (“[Defendant Waugh] said, ‘Now I am giving you a direct
and sadistically, ‘contemporary standards of decency always           order ....‘ I said, ‘I refuse a direct order. Call the sergeant.’ ”).
are violated. This is true whether or not significant injury          In addition, the degree of force that was applied was minimal.
is evident.” Wright, 554 F.3d at 268–69 (quoting Hudson,              Specifically, the force by defendant Waugh was applied over
503 U.S. at 9) (alterations omitted)). The extent of an               only a matter of seconds and included only a single push or
inmate's injury is but one of the factors to be considered            shove, with plaintiff admitting that defendant Waugh, when
in determining whether a prison official's use of force was           allegedly “charging” plaintiff, was not running at top speed.
“unnecessary and wanton” because “injury and force ... are            Id. at 18–19, 34. Considering all of this testimony together, I
imperfectly correlated[.]” Wilkins, 130 S.Ct. at 1178. In             find that no rational factfinder could conclude that defendant
addition, courts consider the need for force, whether the force       Waugh used force against plaintiff in a malicious or sadistic
was proportionate to the need, the threat reasonably perceived        manner, or that the force used was not in a “good faith effort
by the officials, and what, if anything, the officials did to limit   to ... restore discipline.” Hudson, 503 U.S. at 6.
their use of force. Hudson, 503 U.S. at 7; Whitley, 475 U.S.
at 321; Romano, 998 F.2d at 105.                                      This finding is consistent with that of other courts applying
                                                                      Hudson and its progeny. See, e.g., Boddie v. Schneider, 105
Finally, on a motion for summary judgment, where                      F.3d 857, 862 (finding allegations that the plaintiff was
the record evidence could reasonably permit a rational                “bumped, grabbed, elbowed, and pushed” by defendants
factfinder to find that corrections officers used force               insufficient to support to an excessive force claim); Gillard
maliciously and sadistically, dismissal of an excessive               v. Hamel, No. 09–CV–0431, 2012 WL 967064, at *4–
force claim is inappropriate. Wright, 554 F.3d at 269                 6 (N.D.N.Y. Feb. 24, 2012) (Peebles, M.J.), report and
(citing Scott v. Coughlin, 344 F.3d 282, 291 (2d Cir.2003)            recommendation adopted in its entirety by 2012 WL 960967
(reversing summary dismissal the plaintiff's complaint,               (N.D.N.Y. Mar. 21, 2012) (McAvoy, J.) (finding allegations
though suggesting that prisoner's evidence of an Eighth               that a defendant took the plaintiff's hands, twisted his wrists,
Amendment violation was “thin” as to his claim that a                 placed his knee on his neck, and rubbed his face on the
corrections officer struck him in the head, neck, shoulder,           ground while trying to subdue him in the course of an
wrist, abdomen, and groin, where the “medical records after           altercation with a fellow inmate insufficient to establish an
the ... incident with [that officer] indicated only a slight          Eighth Amendment cruel and unusual punishment claim);
injury”)).                                                            Brown v. Busch, 954 F.Supp. 588, 595–96 W.D.N.Y.1997)
                                                                      (finding the allegation that two officers pushed the plaintiff
In this case, the record evidence, even considered in the             into his cell causing a small abrasion on his neck found to be
light most favorable to plaintiff, demonstrates no dispute of         constitutionally insignificant). 5
material fact as to whether the force used by defendant Waugh



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                                                                          resulted in only a minor injury requiring no medical treatment,
5       Copies of all unreported decisions cited in this                  was anything but de mininis, and there is no record evidence
        document have been appended for the convenience                   to support a finding that defendant Waugh applied force
        of the pro se plaintiff. [Editor's Note: Attachments              maliciously and sadistically, I conclude that no reasonable
        of Westlaw case copies deleted for online display.]               factfinder could find that, by his actions, defendant Waugh
Finally, although not dispositive, it is worth noting that                violated plaintiff's Eighth Amendment right to be protected
plaintiff testified at his deposition that it was not his objective       from cruel and unusual punishment. Accordingly, it is hereby
to have his petition to be construed as a section 1983 civil              respectfully,
rights action challenging the physical force used against him
by defendant Waugh. Plf.'s Dep. Tr. (Dkt. No. 24, Attach.4) at             *6 RECOMMENDED defendant's motion for summary
8. Instead, plaintiff intended only to challenge “the fact that           judgment (Dkt. No. 24) be GRANTED, and that plaintiff's
[he] was ... forced to obey an order that[,] medically[, he] was          complaint in this action be DISMISSED in its entirety.
exempt from” obeying. Id. at 8; see also id. at 38 (“[A]s I
understand it today, this has turned now to a lawsuit that my             NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties
whole claim was something else.”).                                        may lodge written objections to the foregoing report. Such
                                                                          objections must be filed with the clerk of the court within
For all of these reasons, I recommend that plaintiff's excessive          FOURTEEN days of service of this report. FAILURE
force claim be dismissed.                                                 TO SO OBJECT TO THIS REPORT WILL PRECLUDE
                                                                          APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed.R.Civ.P.
                                                                          6(a), 6(d), 72; Roldan v. Racette, 984 F.2d 85 (2d Cir.1993).
IV. SUMMARY AND RECOMMENDATION
Plaintiff's petition in this matter has been construed by the             It is hereby ORDERED that the clerk of the court serve a
court as asserting an excessive force claim against defendant             copy of this report and recommendation upon the parties in
Waugh, based upon his application of force following                      accordance with this court's local rules.
Bermudez's refusal to obey his orders. It now appears that
in commencing this action, plaintiff did not intend to sue
defendant Waugh for damages claiming that his Eighth                      All Citations
Amendment rights were violated. In any event, because no
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rational factfinder could find that the use of force, which

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                                                                 2013, the Court received Plaintiff's objections to Magistrate
                    2013 WL 654401                               Judge Peebles' Report and Recommendation. See Dkt. No. 27.
      Only the Westlaw citation is currently available.
               United States District Court,                     Currently before the Court is Magistrate Judge Peebles'
                     N.D. New York.                              Report and Recommendation.

                Jose BERMUDEZ, Plaintiff,
                          v.                                                         II. BACKGROUND
                 C.O. WAUGH, Defendant.
                                                                 On the morning of May 4, 2011, Plaintiff was informed that
              No. 9:11–CV–0947 (MAD/DEP).                        he was being relocated from his cell in Eastern Correctional
                              |                                  Facility's (“Eastern C.F.”) west wing to another housing unit
                       Feb. 21, 2013.                            within the facility. See Dkt. No. 24–2 at ¶ 3. In response,
                                                                 Plaintiff prepared for the move by packing his personal
Attorneys and Law Firms
                                                                 property and proceeding to the ground floor. See id. at ¶¶ 4–5.
Jose Bermudez, Comstock, NY, pro se.
                                                                 When Defendant arrived at the ground floor, a dispute
Office of the New York, State Attorney General, Douglas J.       arose concerning the extent of Plaintiff's personal property.
Goglia, AAG, of Counsel, Albany, NY, for Defendant.              See id. at ¶ 6. Specifically, Defendant accused Plaintiff of
                                                                 having excessive property and ordered him several times to
                                                                 take his property bags to the basement for inspection and
     MEMORANDUM–DECISION AND ORDER                               inventorying. See id. at ¶¶ 7–13. Plaintiff refused each of
                                                                 those orders, claiming that, because he was medically exempt
Hon. MAE A. D'AGOSTINO, District Judge.                          from lifting anything in excess of twenty pounds, he could
                                                                 not comply. See id. at ¶ 14. Instead, Plaintiff sat down in a
                                                                 chair, explicitly stated that he was refusing to comply with the
                   I. INTRODUCTION
                                                                 orders, and demanded that the sergeant on duty be contacted.
 *1 This action, commenced by Plaintiff in the United            See id. at ¶ 15.
States District Court for the Southern District of New
York, was transferred to the Northern District by Order          After another corrections officer approached the area and
of Southern District Chief Judge Loretta A. Preska. See          indicated that he needed to use the cart on which Plaintiff's
Dkt. No. 5. Plaintiff, who is an inmate currently in the         personal property was situated, Defendant again ordered
custody of the New York State Department of Corrections and      Plaintiff to remove a bag from the property cart. See id. at ¶¶
Community Supervision (“DOCCS”), alleges that Defendant,         20–21. After Plaintiff complied, Defendant directed him to
a corrections officer employed at the prison facility in which   carry the rest of his bags. See id. at ¶ 23. When Plaintiff again
Plaintiff was confined at relevant times, assaulted him in       refused to comply with this order, Defendant “charged [him]
violation of the Eighth Amendment after he refused to comply     like a football player ... leaned down a little bit, ran towards
with an order that he was allegedly exempt from obeying. See     [him,] ... pushed his weight against [his] body” and either hit
Dkt. No. 1.                                                      or punched Plaintiff in the chest. See Dkt. No. 24–4 at 19;
                                                                 Dkt. No. 24–2 at ¶ 26.
On July 7, 2012, Defendant filed a motion for summary
judgment. See Dkt. No. 24. Despite receiving notice of            *2 Immediately following the encounter, which lasted only
Defendant's motion and the need to properly oppose it from       “seconds,” Plaintiff was transported to the facilities Special
both Defendant's counsel and the Court, Plaintiff failed to      Housing Unit (“SHU”). See Dkt. No. 24–2 at ¶¶ 27, 31.
respond to the motion. See Dkt. Nos. 24, 25. On January          Approximately one hour later, Plaintiff was taken to the
29, 2013, Magistrate Judge Peebles issued a Report and           prison infirmary, where his injuries were examined and
Recommendation in which he recommended that the Court            photographed by the medical staff. See id. at ¶ 32. Medical
grant Defendant's motion. See Dkt. No. 26. On February 13,       records from the examination reflect that Plaintiff's injuries
                                                                 from the alleged assault included only a “dime-size” abrasion



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in an “I” pattern on his chest, some redness and edema,             that the Court find that such “a limited use of force cannot
and a bruise on the right side of his chest. See id. at ¶ 33.       satisfy the objective requirement” of Plaintiff's excessive
The observations in the medical records are consistent with         force claim. See id. (citation omitted). Moreover, Magistrate
Plaintiff's deposition testimony, in which he agreed that the       Judge Peebles found that Plaintiff cannot satisfy the objective
entirety of his injuries included a “red mark” or “red bruise”      prong either because, “[b]y plaintiff's own account, defendant
on his chest. See Dkt. No. 24–4 at 33–36.                           Waugh used force only as a result of plaintiff's explicit refusal
                                                                    to obey multiple orders.” See id . (citing Dkt. No. 24–4 at 17).
Following the incident, Plaintiff's property was inspected          Further, Magistrate Judge Peebles noted that “the force by
revealing an altered hot pot, which is considered contraband        defendant Waugh was applied over only a matter of seconds
under prison rules. See Dkt. No. 24–2 at ¶¶ 29–30. Plaintiff        and included only a single push or shove, with plaintiff
was subsequently issued a misbehavior report for possessing         admitting that defendant Waugh, when allegedly ‘charging’
contraband, creating a disturbance, refusing to obey a direct       plaintiff, was not running at top speed.” See id. at 14–15
order, and engaging in verbal harassment. See id. at ¶ 30; Dkt.     (quoting Dkt. No. 24–4 at 18–19, 34).
No. 24–7 at 2–3. On May 16, 2011, a Tier III hearing was held
and Plaintiff was found guilty of all charges. See id.
                                                                                          III. DISCUSSION
Plaintiff commenced this action in the Southern District of
New York through the filing of a “Petition Pursuant to Civil        A. Standard of review
Service Law,” dated May 9, 2011. See Dkt. No. 1. Upon                *3 When a party files specific objections to a magistrate
transfer to this district, the Court conducted an initial review    judge's report-recommendation, the district court makes a “de
of the petition and concluded that the petition, liberally          novo determination of those portions of the report or specified
construed, sets forth an Eighth Amendment excessive force           proposed findings or recommendations to which objection
claim against Defendant. See Dkt. No. 7 at 6–7. 1                   is made.” 28 U.S.C. § 636(b)(1). However, when a party
                                                                    files “[g]eneral or conclusory objections or objections which
1                                                                   merely recite the same arguments [that he presented] to the
        The Court also concluded that the petition failed
                                                                    magistrate judge,” the court reviews those recommendations
        to assert a cognizable claim against Defendant
                                                                    for clear error. O'Diah v. Mawhir, No. 9:08–CV–322, 2011
        Meineke and ordered all claims against her to be
                                                                    WL 933846, *1 (N.D.N.Y. Mar. 16, 2011) (citations and
        dismissed with leave to replead. See Dkt. No. 7 at
                                                                    footnote omitted). After the appropriate review, “the court
        7–8. Despite being given this opportunity, Plaintiff
                                                                    may accept, reject, or modify, in whole or in part, the
        did not submit an amended complaint.
                                                                    findings or recommendations made by the magistrate judge.”
On July 2, 2012, Defendant moved for summary judgment.              28 U.S.C. § 636(b) (1).
See Dkt. No. 24. In his motion, Defendant argues that
the record evidence, including Plaintiff's own deposition           A court may grant a motion for summary judgment only
testimony, demonstrates that the amount of force used against       if it determines that there is no genuine issue of material
Plaintiff was de minimis and, therefore, does not support an        fact to be tried and that the facts as to which there is no
Eighth Amendment violation. See Dkt. No. 24–1 at 9–13.              such issue warrant judgment for the movant as a matter
Despite receiving notice of Defendant's motion and the need         of law. See Chambers v. TRM Copy Ctrs. Corp., 43 F.3d
to properly oppose it from both Defendant's counsel and the         29, 36 (2d Cir.1994) (citations omitted). When analyzing a
Court, Plaintiff failed to respond. See Dkt. Nos. 24, 25.           summary judgment motion, the court “ ‘cannot try issues of
                                                                    fact; it can only determine whether there are issues to be
On January 29, 2013, Magistrate Judge Peebles issued a              tried.’ “ Id. at 36–37 (quotation and other citation omitted).
Report and Recommendation in which he recommended                   Moreover, it is well-settled that a party opposing a motion for
that the Court grant Defendant's motion in its entirety. See        summary judgment may not simply rely on the assertions in
Dkt. No. 26. Specifically, Magistrate Judge Peebles found           its pleadings. See Celotex Corp. v. Catrett, 477 U.S. 317, 324,
that, “[a]s it relates to the objective component, by his own       106 S.Ct. 2548, 91 L.Ed.2d 265 (1986) (quoting Fed.R.Civ.P.
account, plaintiff's injury only amounted to a small ‘red mark’     56(c), (e)).
or ‘red bruise’ on his chest.” See id. at 14 (citing Dkt. No. 24–
4 at 35). Therefore, Magistrate Judge Peebles recommended



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In assessing the record to determine whether any such issues       (S.D.N.Y.1991) (citing Martinez v. California, 444 U.S. 277,
of material fact exist, the court is required to resolve all       100 S.Ct. 553, 62 L.Ed.2d 481, reh. denied, 445 U.S. 920, 100
ambiguities and draw all reasonable inferences in favor of         S.Ct. 1285, 63 L.Ed.2d 606 (1980)). As such, for a plaintiff
the nonmoving party. See Chambers, 43 F.3d at 36 (citing           to recover in a section 1983 action, he must establish a causal
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255, 106            connection between the acts or omissions of each defendant
S.Ct. 2505, 2513–14, 91 L.Ed.2d 202 (1986)) (other citations       and any injury or damages he suffered as a result of those
omitted). Where the non-movant either does not respond             acts or omissions. See id. (citing Givhan v. Western Line
to the motion or fails to dispute the movant's statement of        Consolidated School District, 439 U.S. 410, 99 S.Ct. 693, 58
material facts, the court may not rely solely on the moving        L.Ed.2d 619 (1979)) (other citation omitted).
party's Rule 56.1 statement; rather, the court must be satisfied
that the citations to evidence in the record support the
movant's assertions. See Giannullo v. City of N.Y., 322 F.3d       C. Excessive force
139, 143 n. 5 (2d Cir.2003) (holding that not verifying in the     The Eighth Amendment explicitly prohibits the infliction
record the assertions in the motion for summary judgment           of “cruel and unusual punishment.” U.S. Const. amend.
“would derogate the truth-finding functions of the judicial        VIII. The Eighth Amendment's prohibition against cruel and
process by substituting convenience for facts”).                   unusual punishment prohibits the “unnecessary and wanton
                                                                   infliction of pain.” Gregg v. Georgia, 428 U.S. 153, 173, 96
In reviewing a pro se case, the court “must view the               S.Ct. 2909, 49 L.Ed.2d 859 (1976); Sims v. Artuz, 230 F.3d
submissions by a more lenient standard than that accorded to       14, 20 (2d Cir.2000).
‘formal pleadings drafted by lawyers.’ “ Govan v. Campbell,
289 F.Supp.2d 289, 295 (N.D.N.Y.2007) (quoting Haines              To bring a claim of excessive force under the Eighth
v. Kerner, 404 U.S. 519, 520, 92 S.Ct. 594, 30 L.Ed.2d             Amendment, a plaintiff must establish both objective and
652 (1972)) (other citations omitted). The Second Circuit          subjective elements. See Blyden v. Mancusi, 186 F.3d 252,
has opined that the court is obligated to “make reasonable         262 (2d Cir.1999). The objective element is “responsive to
allowances to protect pro se litigants” from inadvertently         contemporary standards of decency” and requires a showing
forfeiting legal rights merely because they lack a legal           that “the injury actually inflicted is sufficiently serious to
education. Govan v. Campbell, 289 F.Supp.2d 289, 295               warrant Eighth Amendment protection.” Hudson, 503 U.S.
(N.D.N.Y.2007) (quoting Traguth v. Zuck, 710 F.2d 90,              at 9 (internal citations omitted); Blyden, 186 F.3d at 262.
95 (2d Cir.1983)). However, this does not mean that a              However, “the malicious use of force to cause harm constitute
pro se litigant is excused from following the procedural           [s][an] Eighth Amendment violation per se” regardless of the
requirements of summary judgment. See id. at 295 (citing           seriousness of the injuries. Blyden, 186 F.3d at 263 (citing
Showers v. Eastmond, 00 CIV. 3725, 2001 WL 527484, at              Hudson, 503 U.S. at 9); see also Wilkins v. Gaddy, 559
*2 (S.D.N.Y. May 16, 2001)). Specifically, “a pro se party's       U.S. 34, 130 S.Ct. 1175, 1178, 175 L.Ed.2d 995 (2010)
‘bald assertion,’ completely unsupported by evidence” is not       (“The ‘core judicial inquiry’ ... was not whether a certain
sufficient to overcome a motion for summary judgment. Lee v.       quantum of injury was sustained, but rather ‘whether force
Coughlin, 902 F.Supp. 424, 429 (S.D.N.Y.1995) (citing Carey        was applied in a good-faith effort to maintain or restore
v. Crescenzi, 923 F.2d 18, 21 (2d Cir.1991)).                      discipline, or maliciously and sadistically to cause harm’
                                                                   “ (quotation omitted)). “The Eighth Amendment's prohibition
                                                                   of ‘cruel and unusual’ punishments necessarily excludes from
B. Relief under 42 U.S.C. § 1983                                   constitutional recognition de minimis uses of physical force,
 *4 Section 1983 imposes liability for “conduct which              provided that the use of force is not of a sort repugnant
‘subjects, or causes to be subjected’ the complainant to a         to the conscience of mankind.” Hudson, 503 U.S. at 9–10
deprivation of a right secured by the Constitution and laws.”      (citations omitted). “ ‘Not every push or shove, even if it may
Rizzo v. Goode, 423 U.S. 362, 370–71, 96 S.Ct. 598, 46             later seem unnecessary in the peace of a judge's chambers,
L.Ed.2d 561 (1976) (quoting 42 U.S.C. § 1983). Not only            violates a prisoner's constitutional rights.’ “ Sims, 230 F.3d at
must the conduct deprive the plaintiff of rights and privileges    22 (citation omitted).
secured by the Constitution, but the actions or omissions
attributable to each defendant must be the proximate cause          *5 The subjective element requires a plaintiff to demonstrate
of the injuries and consequent damages that the plaintiff          a “necessary level of culpability, shown by actions
sustained. See Brown v. Coughlin, 758 F.Supp. 876, 881             characterized by wantonness.” Sims, 230 F.3d at 21 (citation


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omitted). The wantonness inquiry “turns on ‘whether force          inmate's chin); Virella v. Pozzi, No. 05 Civ. 10460, 2006 WL
was applied in a good-faith effort to maintain or restore          2707394, *3 (S.D.N.Y. Sept.20, 2006) (finding only a de
discipline, or maliciously and sadistically to cause harm.’ “      minimis force used where officer swung keys at the plaintiff,
Id. (quoting Hudson, 503 U.S. at 7). In determining whether a      making contact with his head and causing a bump); Espinal
defendant acted in a malicious or wanton manner, the Second        v. Goord, No. 00 Civ. 2242, 2001 WL 476070, *4, *13
Circuit has identified five factors to consider: “the extent of    (S.D.N.Y. May 7, 2001) (finding that the use of force was
the injury and the mental state of the defendant[;] ... the need   de minimis where guard struck the plaintiff in face two or
for the application of force; the correlation between that need    three times, causing his face to turn red, but resulting in no
and the amount of force used; the threat reasonably perceived      other injuries); Yearwood v. LoPiccolo, No. 95 Civ. 2544,
by the defendants; and any efforts made by the defendants to       1998 WL 474073, *1, *7 (S.D.N.Y. Aug. 10, 1998) (finding
temper the severity of a forceful response.” Scott v. Coughlin,    a de minimis use of force where guard choked the plaintiff,
344 F.3d 282, 291 (2d Cir.2003) (internal quotation marks and      hit his head with a pair of keys, and punched him in the lip);
citations omitted).                                                Show v. Patterson, 955 F.Supp. 182, 192–93 (S.D.N.Y.1997)
                                                                   (finding only a de minimis force used where officer pushed
Having carefully reviewed the entire record in this matter,        the inmate against wall); Gonzalez v. Coughlin, No. 92 Civ.
the Court finds that Magistrate Judge Peebles correctly            7263, 1996 WL 496994, *4–*5 (S.D.N.Y. Aug.21, 1996)
determined that the Court should grant Defendant's motion          (finding no excessive use of force where the plaintiff alleged
for summary judgment. Plaintiff does not dispute Defendant's       corrections officers tripped him to the ground and hit him in
account regarding the amount of force used during the              the knee); DeArmas v. Jaycox, No. 92 Civ. 6139, 1993 WL
incident in question and the resulting injury. During his          37501, *4 (S.D.N.Y. Feb.8, 1993) (finding a de minimis use
deposition, Plaintiff recounted the incident as follows:           of force where the inmate suffered a bruise and injured right
                                                                   knee after being punched and kicked once).

             He charged me like a football player.                  *6 Moreover, Magistrate Judge Peebles correctly found that
             Body was leaned down a little bit, ran                Plaintiff has failed to put forth sufficient evidence to create
             towards me. He ran for—I can't say he                 a question of fact as to the subjective element of his claim.
             was running full force, he wasn't that                By his own account, Defendant only used force as a result of
             far from me. I don't know how many                    Plaintiff's explicit refusal to obey multiple orders. See Dkt.
             feet there was. But it was like a three-              No. 24–4 at 17. Further, Plaintiff admits that the force used
             step staircase, but you have to come                  lasted only “seconds .” See id. at 18–19, 34. Considering this
             down from. He ran towards me, and                     testimony, no rational trier of fact could find that Defendant
             with his weight he pushed his weight                  used force against Plaintiff in a malicious or sadistic manner,
             on my body, and I believe with his fist               or that the force that was used was for a purpose other than a
             that he punched me in my chest area                   “good faith effort to ... restore discipline.” Hudson, 503 U.S.
             with his body weight at the same time.                at 6.

                                                                   In his objections to Magistrate Judge Peebles Report and
See Dkt. No. 24–4 at 18–19. This conduct resulted in injuries      Recommendation, Plaintiff asks this Court to forgive his
that were described by Plaintiff as only a “little red mark” or    failure to submit a response to Defendant's motion. See Dkt.
“red bruise,” which was only “a couple centimeters across.”        No. 27 at ¶ 2. Plaintiff claims that he “had no idea that this
See id. at 34–35. This de minimis use of force, which caused       matter was in discovery stage” or that discovery had now
only slight bruising, is clearly insufficient to satisfy the       closed. See id. at ¶ 3. Moreover, Plaintiff now asserts that
objective prong of an excessive force claim. See Boddie v.         he was only taken to the SHU after he “complained of the
Schnieder, 105 F.3d 857, 862 (2d Cir.1997) (holding that           assault and how it was trying to be covered-up.” See id. at ¶
inmate's claims that he was “bumped, grabbed, elbowed, and         6. Plaintiff claims that the Tier III hearing, at which he was
pushed” by prison officials insufficient); James v. Phillips,      found guilty of various charges, was procedurally defective
No. 05 Civ. 1539, 2008 WL 1700125, *4–*5 (S.D.N.Y. Apr.            and that no evidence was presented to support the finding of
9, 2008) (finding de minimis use of force when prison guard        guilt on several of the charges. See id. at ¶¶ 9–13. Moreover,
shoved inmate into door which resulted in swelling of the          Plaintiff claims that his placement in the SHU constituted



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                                                                          indicated to counsel during that deposition that he was going
cruel and unusual punishment because it was “done under a
                                                                          to “write the judge” regarding this issue and to explain that
false pretense.” See id. at ¶ 14.
                                                                          he intended for his complaint to contain these additional
                                                                          allegations. See id. Plaintiff, however, did not bring this issue
First, to the extent that Plaintiff is now attempting to allege a
                                                                          to the Court's attention until he filed his objections to the
First Amendment retaliation claim, a Fourteenth Amendment
                                                                          Report and Recommendation. Finally, the Court notes that
due process claim, and an Eighth Amendment claim regarding
                                                                          Plaintiff has not filed a motion to amend his complaint and
his SHU confinement, his claims must be rejected. It is
                                                                          the discovery that has taken place in this matter was directed
well settled that a litigant may not raise new claims not
                                                                          solely at the issue of whether Defendant used excessive
contained in the complaint in opposition to a motion for
summary judgment or in objections filed in response to a                  force in violation of the Eighth Amendment. See State Farm
Magistrate Judge's report and recommendation. See Avillan                 Ins. Co. v. Kop–Coat, Inc., 183 Fed. Appx. 36, 38–39 (2d
                                                                          Cir.2006) (citation omitted).
v. Donahoe, 483 Fed. Appx. 637, 639 (2d Cir.2012) (holding
that the district court did not err in disregarding allegations the
plaintiff raised for the first time in response to the defendant's
motion for summary judgment) (citation omitted); Shah v.                                       IV. CONCLUSION
Helen Hayes Hosp., 252 Fed. Appx. 364, 366 (2d Cir.2007)
(holding that “[a] party may not use his or her opposition to             After carefully considering Magistrate Judge Peebles' Report
a dispositive motion as a means to amend the complaint”)                  and Recommendation, Plaintiff's objections thereto, and the
(citation omitted); Jackson v. Onondaga Cnty., 549 F.Supp.2d              applicable law, and for the reasons stated herein, the Court
204, 219–20 (N.D.N.Y.2008) (holding that a pro se plaintiff's             hereby
civil rights complaint should not be effectively amended
by his new allegations presented in his response to the                   ORDERS that Magistrate Judge Peebles' January 29, 2013
defendants' motion for summary judgment). Although the                    Report and Recommendation is ADOPTED in its entirety for
Court is aware of the special solicitude afforded to pro                  the reasons stated therein; and the Court further
se litigants, construing Plaintiff's objections to the Report
and Recommendation as amending his complaint would                        ORDERS that Defendant's motion for summary judgment is
be inappropriate. In its November 1, 2011 Memorandum–                     GRANTED; and the Court further
Decision and Order, the Court granted Plaintiff an opportunity
to amend his complaint, but he declined to do so. See Dkt.                ORDERS that the Clerk of the Court shall enter judgment in
No. 7. Moreover, that decision made clear to Plaintiff that               Defendant's favor and close this case; and the Court further
the Court construed his complaint as alleging only the two
causes of action identified. See id. If Plaintiff was attempting          ORDERS that the Clerk of the Court shall serve the parties
to allege claims in his complaint in addition to those identified         with a copy of this Memorandum–Decision and Order in
by the Court, he should have moved to amend at that point or              accordance with the Local Rules.
in the eight months that followed prior to Defendant filing its
motion for summary judgment.
                                                                          IT IS SO ORDERED.

 *7 Moreover, at Plaintiff's deposition, he indicated to                  All Citations
Defendant's counsel that he originally intended for this action
to raise the above mentioned claims in addition to his                    Not Reported in F.Supp.2d, 2013 WL 654401
excessive force claim. See Dkt. No. 24–4 at 37–38. Plaintiff

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                                                                           U.S. 909, 109 S.Ct. 3224, 106 L.Ed.2d 573 (1989),
                    2012 WL 967064                                         and Beyah v. Coughlin, 789 F.2d 986, 988 (2d
      Only the Westlaw citation is currently available.                    Cir.1986)); Candelaria v. Greifinger, No. 96–CV–
               United States District Court,                               0017, 1998 WL 312375, at *2 (N.D.N.Y. June 8,
                     N.D. New York.                                        1998) (Pooler, J. and Scanlon, M.J.). In this case,
                                                                           plaintiff's request for a transfer has been rendered
               Gary GILLARD, Plaintiff,                                    moot by virtue of the fact that he is now confined
                          v.                                               in a correctional facility other than the one at which
       Scott HAMEL and Peter McNally, Defendants.                          the relevant events occurred.
                                                                    Currently pending before the court is an application by the
         Civ. Action No. 9:09–CV–0431 (TJM/DEP).                    remaining two defendants seeking the entry of summary
                              |                                     judgment dismissing plaintiff's remaining claims, both on
                       Feb. 24, 2012.                               merits and on the basis of qualified immunity. For the reasons
                                                                    set forth below, I recommend that defendants' motion be
Attorneys and Law Firms
                                                                    granted.
Gary Gillard, Pine City, NY, pro se.

Hon. Eric T. Schneiderman, Attorney General, State of               I. BACKGROUND 2
New York, Michael G. McCartin, Esq., Assistant Attorney             2     In light of the procedural posture of this case, the
General, of Counsel, Albany, NY, for Defendants.
                                                                           following recitation is derived from the record now
                                                                           before the court, with all inferences drawn and
                                                                           ambiguities resolved in favor of the plaintiff. Terry
            REPORT AND RECOMMENDATION                                      v. Ashcroft, 336 F.3d 128, 137 (2d Cir.2003).

DAVID E. PEEBLES, United States Magistrate Judge.                   Plaintiff is a prison inmate entrusted to the care and custody
                                                                    of the New York State Department of Corrections and
 *1 Pro se plaintiff Gary Gillard, a New York State prison          Community Services (“DOCCS”). See generally Complaint
inmate, has commenced this action pursuant to 42 U.S.C.             (Dkt. No. 1); see also Defendants' Local Rule 7.1(a)(3)
§ 1983, alleging that he was deprived of his civil rights by
                                                                    Statement (Dkt. No. 56–6) ¶ 1. 3 At the time the relevant
the defendants during the period of his confinement. As a
                                                                    events in this action occurred plaintiff was designated to
result of prior court decisions, the sole remaining claims in the
                                                                    the Great Meadow Correctional Facility (“Great Meadow”),
action are asserted against two corrections officers employed
                                                                    located in Comstock, New York. Complaint (Dkt. No. 1)
at the prison facility in which plaintiff was housed at the
                                                                    Preliminary Statement.
relevant times, and stem from an incident in which defendants
allegedly encouraged a fellow inmate to attack Gillard, failed
                                                                    3
to protect him from the inmate's assault, and then applied                 As will be seen, by his failure to properly
excessive force in subduing him. Plaintiff's complaint seeks               oppose defendants' motion, plaintiff is deemed to
both monetary damages and injunctive relief, including a                   have admitted the allegations of fact set forth in
                                                                           Defendants' Local Rule 7.1(a)(3) Statement. See
directive that he be transferred to another prison facility. 1
                                                                           pp. 7–9, post.

1                                                                   While as originally constituted plaintiff's complaint in this
        A federal court has no authority to decide an issue
                                                                    action broadly alleged the existence of an ongoing conspiracy
        when the relief sought can no longer be given,
                                                                    and that he was continuously harassed by prison officials at
        or is no longer needed. Martin–Trigona v. Shiff,
                                                                    Great Meadow, his claims have been winnowed significantly,
        702 F.2d 380, 386 (2d Cir.1983). It is well settled
                                                                    and now center upon an incident occurring at that facility
        in this circuit that transfer from a prison facility
                                                                    on March 13, 2009. On that date, according to the plaintiff,
        moots an action for injunctive relief involving the
                                                                    Corrections Officer Hamel directed another inmate to attack
        transferring facility. Prins v. Coughlin, 76 F.3d
                                                                    him and then stood by during the incident, refusing to stop
        504, 506 (2nd Cir.1996) (citing Young v. Coughlin,
                                                                    the ensuing fight, and later utilizing excessive force against
        866 F.2d 567, 568 n. (2d Cir.), cert. denied, 492


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the plaintiff until the encounter had ended. Complaint (Dkt.        for failure to state a claim upon which relief may be granted.
No. 1) ¶ 30; Defendants' Local Rule 7.1.(a)(3) Statement (Dkt.      Dkt. No. 27. That motion resulted in my issuance on August
No. 56–6) ¶ 3. Plaintiff alleges that defendant Hamel placed        30, 2010 of a report recommending that defendants' motion be
his knee into Gillard's kidney and lower back area, and placed      granted and that all claims in the action except those against
his forearm on Gillard's neck while in the process of placing       defendants Hamel and McNally be dismissed, with leave
restraints on his wrists, and additionally placed his knee on       to replead. Dkt. No. 52. That report and recommendation
plaintiff's neck area “with all of his weight.” Complaint (Dkt.     was adopted by Senior District Judge Thomas J. McAvoy on
No. 1) ¶ 30. Plaintiff alleges that defendant Hamel's actions       December 13, 2010. Dkt. No. 54. Despite being granted leave
caused aggravation of his pre-existing cervical and lumbar          to replead, plaintiff has not filed an amended complaint in the
back spine injuries. Id. at ¶¶ 30, 32.                              action.

As a result of the incident plaintiff was issued a misbehavior      On June 7, 2011, following the completion of discovery which
report accusing him of violent conduct and fighting. See            included the taking of plaintiff's deposition, the remaining
McCartin Decl. (Dkt. No. 56–2) Exh. B. The issuance of              two defendants moved for the entry of summary judgment
that misbehavior report was based upon an investigation             dismissing plaintiff's remaining claims. 4 Dkt. No. 56. In
which, according to prison officials, revealed that Gillard         their motion defendants argue that any force alleged to have
was the aggressor and initiated the fight with his fellow           been applied against the plaintiff did not rise to a level of
inmate. See id. That misbehavior report led to the convening        constitutional significance and that his excessive force claim
of a Tier II hearing, in which plaintiff refused to participate,    is therefore subject to dismissal, additionally asserting their
and a subsequent finding of guilt with a corresponding              entitlement to qualified immunity from suit. See generally
sentence which included a thirty-day period of disciplinary         id. Plaintiff has since responded in opposition to defendants'
keeplock confinement and a corresponding loss of package,           motion. Dkt. No. 61.
commissary, and telephone privileges. See McCartin Decl.
(Dkt. No. 56–2) Exh. B.                                             4       Plaintiff's deposition began on a sour note, with
                                                                            plaintiff refusing to answer questions posed by
II. PROCEDURAL HISTORY                                                      defendants' counsel concerning his criminal history
 *2 Plaintiff commenced this action on April 13, 2009.                      and quarreling over the refusal. See McCartin Decl.
Dkt. No. 1. In his complaint Gillard named several                          (Dkt. No. 56–2) Exhs. A at pp. 9–14/95.
defendants, including David Rock, the Superintendent at             Defendants' motion, which is now fully briefed and ripe for
Great Meadow; Corrections Counselor Howard Osborne;                 determination, has been referred to me for the issuance of a
Corrections Sergeants Michael Hoy and Matthew Sabo;                 report and recommendation, pursuant to 28 U.S.C. § 636(b)
Corrections Officers Michael Rovelli, Scott Hamel, Alfred           (1)(B) and Northern District of New York Local Rule 72.3(c).
Aubin, Peter McNally, Smith, and Ronald Lamb; Bruce                 See also Fed.R.Civ.P. 72(b).
Porter, a Maintenance Assistant at the facility; and two John
Doe defendants. See id. Although those claims were not stated
as discrete causes of action, plaintiff's complaint asserted that   III. DISCUSSION
the defendants have 1) violated his right to due process; 2)
denied him the right to correspond with those outside of the           A. Plaintiff's Failure to Submit a Local Rule 7.1(a)(3)
facility; 3) denied him access to the courts; 4) unlawfully            Statement
tampered with his incoming and outgoing mail; 5) subjected          Among the materials submitted by the defendants in support
him to cruel and unusual punishment through the use of              of their motion is a statement of material facts which, they
excessive force and the denial of power, television, and radio      contend, are not in dispute, as required by Northern District
without due process; 6) issued him false misbehavior reports;       of New York Local Rule 7.1(a)(3). In his opposition papers,
and, 7) breached their duty to protect him from harm. See           plaintiff has failed to address that statement. Before turning to
generally Plaintiff's Complaint (Dkt.No.1).                         the merits of defendants' motion the court must first address
                                                                    the significance, if any, of this failure.
Following service of process all of the named defendants,
with the exception of Scott Hamel and Peter McNalley, filed a       *3 By its terms, Local Rule 7.1(a)(3) provides that “[t]he
pre-answer motion seeking dismissal of plaintiff's complaint        Court shall deem admitted any facts set forth in the Statement


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of Material Facts that the opposing party does not specifically          purposes of this motion that plaintiff's version of
controvert.” N .D.N.Y.L.R. 7.1(a)(3). Courts in this district            those facts is true, since plaintiff is entitled to the
have consistently enforced Rule 7.1(a)(3) and its predecessor,           benefit of all inferences at this stage. Wright v.
Rule 7.1(f), by deeming facts set forth in a statement of                Coughlin, 132 F.3d 133, 137 (2d Cir.1998).
material facts not in dispute to have been admitted based
upon an opposing party's failure to properly respond. See,           B. Summary Judgment Standard
e.g., Elgamil v. Syracuse Univ., No. 99–CV–611, 2000 WL           Summary judgment motions are governed by Rule 56 of
1264122, at *1 (Aug. 22, 2000) (McCurn, S.J.) (listing cases);    the Federal Rules of Civil Procedure. Under that provision,
see also Monahan v. New York City Dep't of Corr., 214 F.3d        summary judgment is warranted when “the pleadings, the
275, 292 (2d Cir.2000) (discussing district courts' discretion    discovery and disclosure materials on file, and any affidavits
to adopt local rules like 7.1(a)(3)). 5                           show that there is no genuine issue as to any material fact
                                                                  and that the movant is entitled to judgment as a matter of
5                                                                 law.” Fed.R.Civ.P. 56(c); see Celotex Corp. v. Catrett, 477
        Copies of all unreported decisions cited in this
                                                                  U.S. 317, 322, 106 S.Ct. 2548, 2552, 91 L.Ed.2d 265 (1986);
        document have been appended for the convenience
                                                                  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247, 106 S.Ct.
        of the pro se plaintiff. [Editor's Note: Attachments
                                                                  2505, 2509–10, 91 L.Ed.2d 202 (1986); Security Ins. Co. of
        of Westlaw case copies deleted for online display.]
                                                                  Hartford v. Old Dominion Freight Line, Inc., 391 F.3d 77, 82–
In this instance, the plaintiff was pointedly warned of the       83 (2d Cir.2004). A fact is “material”, for purposes of this
consequences of failing to properly respond to defendants'        inquiry, if it “might affect the outcome of the suit under the
motion. In their notice of motion, defendants specifically        governing law.” Anderson, 477 U.S. at 248, 106 S.Ct. at 2510;
advised Gillard of the requirements of Local Rule 7.1(a)(3),      see also Jeffreys v. City of New York, 426 F.3d 549, 553 (2d
noting that “[i]n the absence of such a statement [responding     Cir.2005) (citing Anderson ). A material fact is genuinely in
to Defendants' Local Rule 7.1(a)(3) Statement], all material      dispute “if the evidence is such that a reasonable jury could
facts set forth in defendants' statement of material facts will   return a verdict for the nonmoving party.” Anderson, 477 U.S.
be deemed to be admitted by the Court.” See Notice of Motion      at 248, 106 S.Ct. at 2510.
(Dkt. No. 56) at p. 2. In addition, the court's form notice to
pro se plaintiffs of the consequences of failing to respond        *4 A party moving for summary judgment bears an initial
properly to a summary judgment motion, which was attached         burden of demonstrating that there is no genuine dispute
to plaintiff's notice of motion, advises in relevant part that    of material fact to be decided with respect to any essential
                                                                  element of the claim in issue; the failure to meet this burden
                                                                  warrants denial of the motion. Anderson, 477 U.S. at 250 n.
             [i]f you do not submit a short and                   4, 106 S.Ct. at 2511 n. 4; Security Ins., 391 F.3d at 83. In
             concise statement of material facts as               the event this initial burden is met the opposing party must
             to which you claim there are genuine                 show, through affidavits or otherwise, that there is a material
             issues in dispute, all material facts set            issue of fact for trial. Fed.R.Civ.P. 56(e); Celotex, 477 U.S.
             forth in the statement filed and served              at 324, 106 S.Ct. at 2553; Anderson, 477 U.S. at 250, 106
             by the defendant(s) shall be deemed                  S.Ct. at 2511. Though pro se plaintiffs are entitled to special
             admitted.                                            latitude when defending against summary judgment motions,
                                                                  they must establish more than mere “metaphysical doubt as
                                                                  to the material facts.” Matsushita Elec. Indus. Co. v. Zenith
See Notification of Consequences (Dkt. No. 56–1). In light        Radio Corp., 475 U.S. 574, 586, 106 S.Ct. 1348, 1356, 89
of these admonitions and plaintiff's failure to provide a Local   L.Ed.2d 538 (1986); but see Vital v. Interfaith Med. Ctr., 168
Rule 7.1(a)(3) Statement, I recommend that the court deem         F.3d 615, 620–21 (2d Cir.1999) (noting an obligation of court
him to have admitted each of the statements of fact set forth     to consider whether pro se plaintiff understood the nature of
                                                                  summary judgment process).
in Defendants' Local Rule 7.1(a)(3) Statement. 6

                                                                  When deciding a summary judgment motion, a court must
6       As to those facts not contained in the Defendants'        resolve any ambiguities, and draw all inferences from the
        Local Rule 7 .1(a)(3) Statement, I assume for             facts, in a light most favorable to the nonmoving party.



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Jeffreys, 426 F.3d at 553; Wright v. Coughlin, 132 F.3d 133,         sadistically for the very purpose of causing harm.” Hudson
137–38 (2d Cir.1998). Summary judgment is warranted only             v. McMillian, 503 U.S. 1, 6–7, 112 S.Ct. 995, 998–999, 117
in the event of a finding that no reasonable trier of fact could     L.Ed.2d 156 (1992) (applying Whitley to all excessive force
rule in favor of the non-moving party. See Building Trades           claims); Whitley, 475 U.S. at 320–21, 106 S.Ct. at 1085
Employers' Educ. Ass'n v. McGowan, 311 F.3d 501, 507–08              (quoting Johnson v. Glick, 481 F.2d 1028, 1033 (2d Cir.)
(2d Cir.2002) (citation omitted); see also Anderson, 477 U.S.        (Friendly, J.), cert. denied sub nom., John v. Johnson, 414 U.S.
at 250, 106 S.Ct. at 2511 (summary judgment is appropriate           1033, 94 S.Ct. 462, 38 L.Ed.2d 324 (1973)).
only when “there can be but one reasonable conclusion as to
the verdict”).                                                       Analysis of claims of cruel and unusual punishment requires
                                                                     both objective examination of the conduct's effect and a
                                                                     subjective inquiry into the defendant's motive for his or her
  C. Merits of Plaintiff's Claims                                    conduct. Wright v. Goord, 554 F.3d 255, 268 (2d Cir.2009)
                                                                     (citing Hudson, 503 U.S. at 7–8, 112 S.Ct. at 999 and
   1. Defendant Hamel
                                                                     Blyden v. Mancusi, 186 F.3d 252, 262 (2d Cir.1999)). As was
Plaintiff's claims against defendant Hamel appear to have two
                                                                     emphasized by the United States Supreme Court in Wilkins
components. The first alleges that he directed a fellow inmate
                                                                     v. Gaddy, however, after Hudson the “core judicial inquiry”
to attack the plaintiff and then stood idly by, failing to protect
                                                                     is focused not upon the extent of the injury sustained, but
him during the course of the ensuing fight. Plaintiff further
                                                                     instead whether the nature of the force applied was nontrivial.
asserts that after the fight Corrections Officer Hamel applied
                                                                     ––– U.S. ––––, ––––, 130 S.Ct. 1175, 1179, 175 L.Ed.2d
excessive force, twisting his wrists, placing his knee onto his
                                                                     995 (2010) (per curiam). Accordingly, when considering the
neck, and rubbing his face on the ground during the course of
                                                                     subjective element of the governing Eighth Amendment test
placing his hands in restraints.
                                                                     a court must be mindful that the absence of serious injury,
                                                                     though relevant, does not necessarily negate a finding of
   a. Excessive Force                                                wantonness since, as the Supreme Court has noted,
Plaintiff's complaint asserts a cause of action brought under
the Eighth Amendment, which outlaws punishments that
involve the “unnecessary and wanton infliction of pain” and                       [w]hen prison officials maliciously
are incompatible with “the evolving standards of decency that                     and sadistically use force to cause
mark the progress of a maturing society.” Estelle v. Gamble,                      harm, contemporary standards of
429 U.S. 97, 102, 104, 97 S.Ct. 285, 290, 291, 50 L.Ed.2d                         decency always are violated.... This
251 (1976); see also Whitley v. Albers, 475 U.S. 312, 319,                        is true whether or not significant
106 S.Ct. 1076, 1084 (1986) (citing, inter alia, Estelle ).                       injury is evident. Otherwise, the
While the Eighth Amendment does not mandate comfortable                           Eighth Amendment would permit any
prisons, neither does it tolerate inhumane treatment of those                     physical punishment, no matter how
in confinement; it is against this backdrop that the conditions                   diabolic or inhuman, inflicting less
of an inmate's confinement are subject to Eighth Amendment                        than some arbitrary quantity of injury.
scrutiny. Farmer v. Brennan, 511 U.S. 825, 832, 114 S.Ct.
1970, 1976, 128 L.Ed.2d 811 (1994) (citing Rhodes v.
Chapman, 452 U.S. 337, 349, 101 S.Ct. 2392, 2400, 69                 Hudson, 503 U.S. at 9, 112 S.Ct. at 1000 (citations omitted);
L.Ed.2d 59 (1981)).                                                  Velasquez v. O'Keefe, 899 F.Supp. 972, 973 (N.D.N.Y.1995)
                                                                     (McAvoy, C.J.) (quoting Hudson, 503 U.S. at 9, 112 S.Ct.
 *5 A plaintiff's constitutional right against cruel and unusual     at 1000); see Romaine v. Rewson, 140 F.Supp.2d 204, 211
punishment is violated by an “unnecessary and wanton                 (N.D.N.Y.2001) (Kahn, J.). Even a de minimis use of physical
infliction of pain.” Whitley, 475 U.S. at 319, 106 S.Ct. at          force can constitute cruel and unusual punishment if it is
1084 (citations and quotations omitted); Griffen v. Crippen,         “repugnant to the conscience of mankind.” Hudson, 503 U.S.
193 F.3d 89, 91 (2d Cir.1999). When an inmate alleges                at 9–10, 112 S.Ct. 1000 (citations omitted).
the use of excessive force by a corrections employee the
lynchpin inquiry is “whether force was applied in a good-            With its focus on the harm done, the objective prong of
faith effort to maintain or restore discipline or maliciously and    the inquiry is case specific and relies upon “contemporary


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standards of decency.” Wright, 554 F.3d at 268 (quoting            Officer Hamel punch, kick or throw Gillard into the wall. Id.
Hudson, 503 U.S. at 8, 112 S.Ct. at 1000) (internal quotations     at p. 32. While plaintiff claims that his neck was injured as a
omitted)). When addressing this component of an excessive          result of the actions, he also admitted having had a previous
force claim under the Eighth Amendment calculus, the court         serious neck injury. Id. at p. 71.
can consider the extent of the injury suffered by the inmate
plaintiff. While the absence of significant injury is certainly    The application of the Eighth Amendment's cruel and
relevant, it is not dispositive. Hudson, 503 U.S. at 7, 112        unusual punishment provision to claims of excessive force
S.Ct. at 999. The extent of an inmate's injury is but one of       is extremely fact specific. Dukes v. Troy Housing Auth., No.
the factors to be considered in determining a prison official's    1:08–CV–479, 2011 WL 1261317, at *7 (N.D.N.Y. Mar.31,
use of force was “unnecessary and wanton”; courts should           2011) (Scullin, S.J.). The question ultimately revolves around
also consider the need for force, whether the force was            the need for force to maintain and restore discipline and
proportionate to the need, the threat reasonably perceived by      the extent of force utilized. In this case, it is clear that
the officials, and what, if anything, the officials did to limit   corrections officers, including defendant Hamel, were faced
their use of force. Whitley, 475 U.S. at 321, 106 S.Ct. at         with situation of two inmates fighting and the need to
1085 (citing Johnson, 481 F.2d at 1033). “But when prison          restore discipline and to apply the amount of necessary
officials use force to cause harm maliciously and sadistically,    force to accomplish that end. While plaintiff alleges their
‘contemporary standards of decency are always violated....         use of force, there is no indication that he received any
This is true whether or not significant injury is evident.’ “      serious injury as a result of their actions, nor does it appear
Wright, 554 F.3d at 268–69 (quoting Hudson, 503 U.S. at 9,         from his complaint that the force utilized was excessive
112 S Ct. at 1000).                                                given the situation presented. Simply stated, the force which
                                                                   plaintiff claims was applied was de minimis, in light of the
 *6 That is not to say that “every malevolent touch by a           circumstances, and insufficient to implicate the protections of
prison guard gives rise to a federal cause of action.” Griffen,    the Eighth Amendment against cruel and unusual punishment.
193 F.3d at 91 (citing Romano v. Howarth, 998 F.2d 101,            See Smith v. City of New York, No. 04 Civ. 3286, 2010
105 (2d Cir.1993)); see also Johnson, 481 F.2d at 1033 (“Not       WL 3397683, at * 11 (S.D.N.Y.2010) (granting summary
every push or shove, even if it later may seem unnecessary         judgment as to excessive force claim finding “it does not
in the peace of a judge's chambers, violates a prisoner's          appear from plaintiff's own testimony that the handcuffs
constitutional rights”). Where a prisoner's allegations and        were unreasonably tight, and plaintiff's injuries were clearly
evidentiary proffers, if credited, could reasonably allow a        de minimis.”); see also Boddie v. Schnieder, 105 F.3d 857,
rational factfinder to find that corrections officers used force   862 (2d Cir.1997) (claim that inmate was bumped, grabbed,
maliciously and sadistically, however, summary judgment            elbowed, and pushed by two officers “not sufficiently
dismissing an excessive use of force claim is inappropriate.       serious or harmful” to meet objective element); Brown
Wrigh t, 554 F.3d at 269 (citing Scott v. Coughlin, 344            v. Busch, 954 F.Supp. 588, 595–96 (W.D.N.Y.1997) (two
F.3d 282, 291 (2d Cir.2003) (reversing summary dismissal           officers pushed inmate into cell, causing small superficial
of prisoner's complaint, though suggesting that prisoner's         abrasion on inmate's back; amount of force used was “clearly
evidence of an Eighth Amendment violation was “thin” as            de minimis ”); Maguire v. Coughlin, 901 F.Supp. 101,
to his claim that a corrections officer struck him in the          104 (N.D.N.Y.1995) (summary judgment granted dismissing
head, neck, shoulder, wrist, abdomen, and groin, where the         inmate's claim that he was “physically manhandled” during
“medical records after the ... incident with [that officer]        prison transfer; court found no evidence “that the defendants
indicated only a slight injury”)) (other citations omitted).       used more than de minimus [sic] force against plaintiff, or
                                                                   that their use of de minimus [sic] force was repugnant to the
During his deposition plaintiff testified that while he and        conscience of mankind.”).
a fellow inmate were on the ground fighting, defendant
Hamel and other officers attempted to end the altercation.
Defendants' Local Rule 7 .1(a)(3) Statement (Dkt. No. 56–6)           b. Failure to Protect
¶ 5; McCartin Decl. (Dkt. No. 56–2) Exh. 1 at p. 29. During         *7 Undeniably, prison officials have a responsibility to
that endeavor defendant Hamel took plaintiff's hands, twisted      provide a safe environment for prisoners, and an inmate
his wrists, and placed his knee on his neck. McCartin Decl.        can establish an Eighth Amendment violation by showing
(Dkt. No. 56–2) Exh. 1 at p. 29. At no time did Corrections        that he or she “incarcerated under conditions posing a
                                                                   substantial risk of serious harm and that prison official's


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acted with “deliberate indifference” to the inmate's safety.        with his fellow inmate. See McCartin Decl. (Dkt. No. 56–2)
Farmer v. Brennan, 511 U.S. 825, 834, 114 S.Ct. 1970,               Exh. 1 at p. 37.
1977, 128 L.Ed.2d 811 (1994). A corrections worker who,
though not participating, if present when an assault upon an         *8 Objectively, plaintiff's testimony itself effectively
inmate occurs may nonetheless bear responsibility for any           precludes a finding that he was exposed to conditions posing
resulting constitutional deprivation. See Anderson v. Branen,       a substantial risk to his safety. Plaintiff's speculation that
17 F.3d 552, 557 (2d Cir.1994). When examining a failure            defendant Hamel directed the other inmate to attack Gillard
to protect claim under the Eighth Amendment, a court must           is unsupported by the record, and contradicted by denials of
determine whether the inmate has demonstrated that 1) he or         both Hamel and the inmate involved. See Plaintiff's Motion
she was incarcerated under conditions posing a substantial          Response (Dkt. No. 61) pp. 26/40 and 29/40. Even when
risk of serious harm, and that 2) prison officials exhibited        crediting plaintiff's version of the events that transpired,
deliberate indifference to the inmate's plight. Farmer, 511         it is clear that before the fight there was no reason to
U.S. at 834, 837, 114 S.Ct. at 1977, 1979; Matthews, 36             believe that his well-being was in jeopardy, and during
F.Supp.2d at 124–25; Coronado v. Lefevre, 886 F.Supp. 220,          the fight plaintiff maintained the upper hand. Additionally,
224 (N.D.N.Y.1995) (Scullin, J.). As can be seen, this analysis     both plaintiff's testimony and the conceded lack of an
entails both an objective and subjective inquiry.                   injury is contradictory to the notion that, subjectively, when
                                                                    witnessing the altercation defendant Hamel became aware
In objective terms, a plaintiff must prove that an alleged          of but disregarded a serious threat of harm to plaintiff. In
deprivation is “sufficiently serious” such that it denied him       sum, the record is devoid of any evidence upon which a
or her the “minimal civilized measure of life's necessities.”       reasonable factfinder could conclude that defendant Hamel
Dawes v. Walker, 239 F.3d 489, 493–94 (2nd Cir.2001)                was aware of and disregarded an excessive risk to plaintiff's
(internal quotations and citations omitted), overruled on other     safety. Accordingly, I recommend dismissal of this aspect of
grounds, Swierkiewicz v. Sorema N.A., 534 U.S. 506, 122             plaintiff's claim against defendant Hamel as well. 7
S.Ct. 992, 152 L.Ed.2d 1 (2002). Specifically, as noted above,
in situations where an inmate's safety is at issue, that person     7      Claims involving the alleged failure of prison
must demonstrate that he or she was incarcerated under
                                                                           officials to protect an inmate from harm are
conditions posing a substantial risk of serious harm. Farmer,
                                                                           also subject to review under the Fourteenth
511 U.S. at 834, 837, 114 S.Ct. at 1977, 1979; Dawes, 239
                                                                           Amendment's substantive due process provision.
F.3d at 493; Matthews, 36 F.Supp.2d at 124–25.
                                                                           Though the requisite mental state for establishing a
                                                                           Fourteenth Amendment failure to protect claim is
To demonstrate that defendants were deliberately indifferent
                                                                           somewhat unclear, it is at least apparent that to be
to his or her plight, a plaintiff must show that prison officials
                                                                           legally cognizable under that provision, the actions
actually knew of, but disregarded, an excessive risk to his
                                                                           alleged on the part of a defendant must transcend
or her health and safety—“the official must both be aware
                                                                           mere negligence. Davidson v. Cannon, 474 U.S.
of facts from which the inference could be drawn that a
                                                                           344, 347–48, 106 S.Ct. 668, 670, 88 L.Ed.2d 677
substantial risk of serious harm exists, and he must also draw
                                                                           (1986) (lack of due care simply does not approach
the inference.” Farmer, 511 U.S. at 837, 114 S.Ct. at 1979;
                                                                           the sort of abusive government conduct that the
Matthews, 36 F.Supp.2d at 124–25.
                                                                           Due Process Clause was designed to prevent);
                                                                           Daniels v. Williams, 474 U.S. 327, 328, 106 S.Ct.
In this instance, plaintiff's deposition testimony is clear and
                                                                           662, 663, 88 L.Ed.2d 662 (1986) (same); Morales
unequivocal. Prior to the fight, he did not feel that he needed
                                                                           v. New York State Dep't of Corrs., 842 F.2d 27,
protective custody from any other inmate. See McCartin Decl.
                                                                           30 (2nd Cir.1988) (section 1983 does not provide
(Dkt. No. 56–2) Exh. 1 at p. 37. By his own admission,
                                                                           cause of action for negligent failure of prison
during the fight the other inmate never even made contact
                                                                           officials to protect an inmate from injury); Abdul–
with plaintiff, but instead failed at two attempts to punch
                                                                           Matiyn v. New York State Dept. of Corr. Servs.,
Gillard. Id. With the other inmate's third effort to swing at
                                                                           871 F.Supp. 1542, 1546–47 (N.D.N.Y.1994) (Chin,
him, Gillard grabbed his attacker, tripped him, and brought
                                                                           J.) (citing Morales). For the same reasons that
him down to the floor. Id. As plaintiff readily acknowledged
                                                                           plaintiff's failure to protect claim under the Eighth
at his deposition, he suffered no harm as a result of the fight
                                                                           Amendment fails, any such claim brought under the


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                                                                         *9 Turning to plaintiff's claims against defendant Hamel,
        Fourteenth Amendment cannot survive defendants'
                                                                        as a matter of law the record fails to support a claim of
        motion for summary judgment.
                                                                        failure to protect the plaintiff from a known harm as well
                                                                        as his claim of the use of excessive force. Simply stated,
   2. Defendant McNally
                                                                        it appears that the force involved and any resulting injuries
Defendant McNally does not appear to have been involved
                                                                        sustained by the plaintiff were de minimis and constitutionally
in the March 13, 2009 incident. See Complaint (Dkt. No.
                                                                        insignificant, particularly given that at the relevant times
1) ¶ 30. Plaintiff's complaint alleges that two days later he
                                                                        Corrections Officer Hamel and his fellow officers were acting
was informed by another individual that Officer McNally
                                                                        to restore discipline following an altercation between two
told the inmate that Gillard had raped a seven year old
girl, apparently intending that the inmate harm Gillard. Id.            inmates. 8 Accordingly, it is hereby respectfully
¶ 33. This claim, which is both purely speculative and
attenuated in nature, is insufficient to support a constitutional       8       In light of my recommendation on the merits I find
claim against defendant McNally. See McPherson v. N.Y.                          it unnecessary to address defendants' alternative
City Dep't of Educ., 457 F.3d 211, 215 n. 4 (2d Cir.2006)                       argument of entitlement to qualified immunity. See
(“speculation alone is insufficient to defeat a motion for                      Saucier v. Katz, 533 U.S. 194, 201–02, 121 S.Ct.
summary judgment”); see also Woodman v. WWOR–TV,                                2151, 150 L.Ed.2d 272 (2001); Harhay v. Town
Inc., 411 F.3d 69, 90 (2d Cir.2005) (holding that, in age                       of Ellington Bd. Of Ed., 323 F.2d 206, 211 (2d
discrimination case, allegations of defendant's knowledge of                    Cir.2003); Warren v. Town of Ellington Bd. Of Ed.,
protected ground must be supported by evidence to avoid                         323 F.3d 206, 211 (2d Cir.2003); Warren v. Keane,
summary judgment); Cusamano v. Sobek, 604 F.Supp.2d                             196 F.3d 330, 332 (2d Cir.1999) (citing Salim v.
416, 432–33, 469 (N.D.N.Y.2009) (plaintiff's contention that                    Proulx, 93 F.3d 86, 89 (2d Cir.1996)).
defendant Sobek was on the other end of a telephone
                                                                        RECOMMENDED that defendants' motion for summary
conversation was a mere “guess” insufficient to defeat a grant
                                                                        judgment (Dkt. No. 56) be GRANTED, and plaintiff's
of summary judgment with respect to a claim that defendants
                                                                        remaining claims in this action be DISMISSED.
conspired to violate plaintiff's civil rights). Moreover, during
his deposition plaintiff conceded that Corrections Officer
                                                                        NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties
McNally never physically harmed him and stated that while
                                                                        may lodge written objections to the foregoing report. Such
Officer McNally “[s]anctioned another inmate to attack
                                                                        objections must be filed with the clerk of the court within
[him]”, he admitted that the alleged attack is not part of this
                                                                        FOURTEEN days of service of this report. FAILURE
lawsuit. McCartin Decl. (Dkt. No. 56–2) Exh. 1 at pp. 53–55.
                                                                        TO SO OBJECT TO THIS REPORT WILL PRECLUDE
I therefore recommend dismissal of plaintiff's claims against
                                                                        APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed.R.Civ.P.
defendant McNally.
                                                                        6(a), 6(d), 72; Roldan v. Racette, 984 F.2d 85 (2d Cir.1993).


IV. SUMMARY AND RECOMMENDATION                                          It is hereby ORDERED that the clerk of the court serve a
Plaintiff's remaining claims in this action against defendant           copy of this report and recommendation upon the parties in
McNally appear to be nebulous, at best, and by plaintiff's own          accordance with this court's local rules.
admission are not central to this action. Based upon the record
now before the court I conclude that no reasonable factfinder
                                                                        All Citations
could find a basis to hold defendant McNally accountable for
violating plaintiff's civil rights.                                     Not Reported in F.Supp.2d, 2012 WL 967064



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                                                                *1 This pro se action brought pursuant to 42 U.S.C. §
                    2012 WL 960967                             1983 was referred to the Hon. David E. Peebles, United
      Only the Westlaw citation is currently available.        States Magistrate Judge, for a Report and Recommendation
               United States District Court,                   pursuant to 28 U.S.C. § 636(b) and Local Rule 72.3(c). No
                     N.D. New York.                            objections to the Report–Recommendation and Order dated
                                                               February 24, 2012 have been filed, and the time to do so has
              Gary GILLARD, Plaintiff,                         expired. Furthermore, after examining the record, this Court
                         v.                                    has determined that the Report–Recommendation and Order
      Scott HAMEL and Peter McNally, Defendants.               is not subject to attack for plain error or manifest injustice.
                                                               Accordingly, the Court adopts the Report–Recommendation
               No. 9:09–CV–0431 (TJM/DEP).                     and Order for the reasons stated therein.
                              |
                       March 21, 2012.                         It is therefore,

Attorneys and Law Firms                                        ORDERED that Defendants' motion for summary judgment
                                                               (Dkt.# 56) is GRANTED, and all claims in this action are
Gary Gillard, Pine City, NY, pro se.
                                                               DISMISSED.
Michael G. McCartin, Office of Attorney General, Albany,
NY, for Defendant.
                                                               IT IS SO ORDERED.

                                                               All Citations
                  DECISION & ORDER
                                                               Not Reported in F.Supp.2d, 2012 WL 960967
THOMAS J. McAVOY, Senior District Judge.


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                     2010 WL 125774
       Only the Westlaw citation is currently available.                        DECISION and ORDER
                United States District Court,
                                                               Hon. GLENN T. SUDDABY, District Judge.
                      N.D. New York.
                                                                *1 Currently before the Court in this pro se prisoner civil
               Thomas DALLIO, Plaintiff,
                                                               rights action filed by Thomas Dallio (“Plaintiff”) against
                         v.
                                                               sixteen employees of the New York State Department of
      Scott SANTAMORE; William Comstock; Frank                 Correctional Services (“Defendants”) are (1) Defendants'
     Buksa; Amos LeClaire; Alicia McGuoirk; Lawrence           motion for summary judgment (Dkt. No. 78), (2) United
       Hopkinson; Craig Ramsdell; Andrew Bouchey;              States Magistrate Judge David R. Homer's Report–
      Paul Gilmore; Donald Quinn; Roy Girdich; C.O.            Recommendation recommending that Defendants' motion be
     Gettman; Lt. O'Connell; R.N. Kimberly Perrea; R.N.        granted in part and denied in part (Dkt. No. 87), and (3)
      Lillian Riley; and R.N. Debra Smith, Defendants.         Plaintiff's Objections to the Report–Recommendation (Dkt.
                                                               No. 88). For the following reasons, Plaintiff's Objections
               No. 9:06–CV–1154 (GTS/DRH).                     are rejected; the Report–Recommendation is accepted and
                              |                                adopted in its entirety; Defendants' motion is granted in part
                        Jan. 7, 2010.                          and denied in part; and Plaintiff's Complaint is dismissed in
                                                               part.

 West KeySummary
                                                               I. RELEVANT BACKGROUND
 1       Civil Rights      Criminal law enforcement;
                                                                 A. Plaintiff's Complaint
         prisons
                                                               Plaintiff filed his Complaint in this action on September 27,
         Summary Judgment            Prisons and jails         2006. (Dkt. No. 1.)
         A genuine issue of material fact as to
         whether corrections officers used excessive force     Construed with the utmost of liberality, Plaintiff's Complaint
         in restraining a prisoner precluded summary           alleges that, between approximately November 10, 2003, and
         judgment in favor of the officers in the prisoner's   November 20, 2003, while he was incarcerated at Upstate
         Eighth Amendment excessive force action.              Correctional Facility in Malone, New York, the above-
         The prisoner struck an officer, was quickly           captioned Defendants violated his rights in the following
         restrained, and was then allegedly assaulted by       manner: (1) by subjecting him to excessive force in violation
         multiple officers, which was unreasonable and         of the Eighth Amendment; (2) by failing to intervene to
         unnecessary to sustain institutional order and        prevent others from subjecting him to excessive force, in
         safety since the prisoner was compliant and           violation of the Eighth Amendment; (3) by being deliberately
         defenseless. U.S.C.A. Const.Amend. 8.                 indifferent to his serious medical needs, in violation of
                                                               the Eighth Amendment; (4) by conspiring to violate his
         15 Cases that cite this headnote                      aforementioned constitutional rights; and (5) by committing
                                                               various torts against him (including assault, battery and
                                                               negligence) under New York State law. (See generally Dkt.
                                                               No. 1 [Plf.'s Compl.].)
Attorneys and Law Firms
                                                               More specifically, Plaintiff alleges as follows: (1) Defendants
Thomas Dallio, Malone, NY, pro se.                             Santamore, Comstock, LaClaire, Buksa, Ramsdell, and
                                                               Hopkins assaulted him after he was fully restrained in his cell;
Hon. Andrew M. Cuomo, Attorney General for the State of
                                                               (2) Defendants Gilmore and McGuoirk failed to intervene
New York, Dean J. Higgins, Esq., Assistant Attorney General,
                                                               during this incident; (3) Defendants Riley and Perrea failed
of Counsel, Albany, NY, for Defendants.
                                                               to properly treat him for his subsequent injuries; and (4)



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Defendants conspired against him by falsifying investigative         as a matter of law by the doctrine of qualified immunity, based
reports and medical records. (Id.)                                   on the current record; and (4) Plaintiff has adduced sufficient
                                                                     record evidence to establish a conspiracy claim. (Dkt. No. 85,
For a more detailed recitation of Plaintiff's factual allegations,   Attachment 2, at 1–14.) In addition, Plaintiff concedes that
the Court refers the reader to the Complaint in its entirety,        his state law claims are barred by New York Corrections Law
and Magistrate Judge Homer's Report–Recommendation.                  § 24. (Id. at 13.)
(Dkt.Nos.1, 87.)

                                                                        C. Magistrate Judge Homer's Report–
   B. Defendants' Motion for Summary Judgment and                       Recommendation
   Plaintiff's Response                                              On October 26, 2009, Magistrate Judge Homer issued
On October 1, 2008, Defendants filed a motion for summary            a Report–Recommendation recommending as follows: (1)
judgment. (Dkt. No. 78.) In their motion, Defendants                 that all of Plaintiff's claims against Defendants Bouchey,
argue that Plaintiff's Complaint should be dismissed for             Quinn, Girdich, Gettman, O'Connell, Perrea, and Riley be
the following reasons: (1) Plaintiff has failed to establish         dismissed with prejudice pursuant to Fed.R.Civ.P. 56; 1 (2)
an excessive-force claim and/or a failure-to-intervene claim         that Plaintiff's excessive-force claims and failure-to-intervene
under the Eighth Amendment because insufficient record               claims against Defendants Santamore, Comstock, McGuoirk,
evidence exists from which a rational fact finder could              LaClaire, Buksa, Ramsdell, Hopkinson and Gilmore not be
conclude either that Plaintiff was subjected to force that           dismissed pursuant to Fed.R.Civ.P. 56 due to the existence of
was sufficiently serious or that Defendants used that force          genuine issues of material fact regarding those claims; and (3)
with a sufficiently culpable mental state; (2) Plaintiff has         that Plaintiff's claims against Defendant Smith be dismissed
failed to establish a medical-indifference claim under the           without prejudice for failure to serve, pursuant to Fed.R.Civ.P.
Eighth Amendment because insufficient record evidence                4(m) and N.D.N.Y.L.R. 4.1(b). (Dkt. No. 87.)
exists from which a rational fact finder could conclude either
that Plaintiff experienced a medical need that was sufficiently      1      The Court notes that included in these claims
serious or that Defendants were deliberately indifferent to
                                                                            are all of Plaintiff's medical-indifference claims
such a medical need; (3) Defendants are protected from
                                                                            under the Eighth Amendment, and Plaintiff's
liability as a matter of law by the doctrine of qualified
                                                                            conspiracy claims. (Dkt. No. 87, at 14–20.)
immunity; (4) Plaintiff has failed to establish a conspiracy
                                                                            The Court notes also that Magistrate Judge
claim because insufficient record evidence exists from which
                                                                            Homer recommends the dismissal of all of
a rational fact finder could conclude that Defendants reached
                                                                            Plaintiff's claims against Defendants Bouchey and
an agreement to deprive Plaintiff of his constitutional rights;
                                                                            Gettman based on Plaintiff's failure to demonstrate
and (5) Plaintiff's pendant state law claims (of assault, battery
                                                                            their personal involvement in the constitutional
and negligence) should be dismissed under the Eleventh
                                                                            violations alleged. (Id. at 20–21.)
Amendment and New York Corrections Law § 24 because (a)
Plaintiff sued Defendants for damages arising out of acts that
they allegedly performed or failed to perform within the scope         D. Plaintiff's Objections
of their employment, and (b) New York Civil Law Practice             On November 4, 2009, Plaintiff timely filed his Objections
Law and Rules § 215(3) bars Plaintiff's intentional tort claims      to the Report–Recommendation. (Dkt. No. 88.) In his
on the ground of untimeliness. (Dkt. No. 78, Attachment 20,          Objections, Plaintiff asserts, inter alia, the following
at 7–18.)                                                            arguments: (1) he did not hit his head against the wall,
                                                                     but rather his injuries were caused by Defendants, a fact
 *2 On October 31, 2008, Plaintiff filed his response in             that Defendants are collectively trying to “cover up”; 2 (2)
opposition to Defendants' motion. (Dkt. No. 85.) In his              because Magistrate Judge Homer failed to refer to a number
response, Plaintiff argues as follows: (1) he has adduced            of his exhibits in the Report–Recommendation, he failed to
sufficient record evidence to establish an excessive-force           resolve all ambiguities and draw all reasonable inferences in
claim and a failure-to-intervene claim under the Eighth              his favor; (3) Plaintiff did not receive adequate due process
Amendment; (2) he has adduced sufficient record evidence             during his grievance investigation in that he was denied
to establish a medical-indifference claim under the Eighth           an opportunity to “present witnesses and other evidence in
Amendment; (3) Defendants are not protected from liability           support of his Grievance Complaint”; and (4) Defendants


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Perrea, Riley, Girdich, and O'Connell should not be dismissed     3      On de novo review, “[t]he judge may ...
from the action because the record evidence demonstrates                 receive further evidence....” 28 U.S.C. § 636(b)
that these Defendants “act[ed] in concert with each other to             (1)(C). However, a district court will ordinarily
participate in the violation of Plaintiff's Eighth Amendment             refuse to consider arguments, case law and/or
rights.” (Dkt. No. 88, at 1–5.)                                          evidentiary material that could have been, but
                                                                         was not, presented to the Magistrate Judge in the
2      More specifically, Plaintiff argues that                          first instance. See, e.g., Paddington Partners v.
       Defendant McGuoirk and the Department                             Bouchard, 34 F.3d 1132, 1137–38 (2d Cir.1994)
       of Correctional Services (“DOCS”) Inspector                       (“In objecting to a magistrate's report before the
       General's investigator tried to “cover up” the fact               district court, a party has no right to present
       that he did not hit his head. To the extent that                  further testimony when it offers no justification for
       Plaintiff is attempting to assert, for the first time,            not offering the testimony at the hearing before
       a claim against the DOCS Inspector General's                      the magistrate.”) [internal quotation marks and
       investigator, such a claim is dismissed because,                  citations omitted]; Pan Am. World Airways, Inc. v.
       among other things, the DOCS Inspector General is                 Int'l Bhd. of Teamsters, 894 F.2d 36, 40, n. 3 (2d
       not a named party Defendant. Excell v. Burge, 05–                 Cir.1990) (district court did not abuse its discretion
       CV–1231, 2008 WL 4426647, at *3 n. 4 (N.D.N.Y.                    in denying plaintiff's request to present additional
       Sept.25, 2008) (Kahn, J. adopting DiBianco, M.J.)                 testimony where plaintiff “offered no justification
       (noting that a person “not listed in the caption and ...          for not offering the testimony at the hearing before
       never served with process ... is not ... a defendant              the magistrate”).
       [in the action]”).
                                                                  4
                                                                         See also Vargas v. Keane, 93–CV–7852, 1994
II. APPLICABLE LEGAL STANDARDS                                           WL 693885, at *1 (S.D.N.Y. Dec.12, 1994)
                                                                         (Mukasey, J.) (“[Petitioner's] general objection
  A. Standard of Review Governing a Report–                              [that a] Report ... [did not] redress the constitutional
  Recommendation                                                         violations [experienced by petitioner] ... is a
When specific objections are made to a magistrate                        general plea that the Report not be adopted ...
judge's report-recommendation, the Court makes a “de                     [and] cannot be treated as an objection within the
novo determination of those portions of the report or                    meaning of 28 U.S.C. § 636.”), aff'd, 86 F.3d 1273
specified proposed findings or recommendations to which                  (2d Cir.), cert. denied, 519 U.S. 895, 117 S.Ct. 240,
objection is made.” See 28 U.S.C. § 636(b)(1)(C). 3                      136 L.Ed.2d 169 (1996).
When only general objections are made to a magistrate
judge's report-recommendation, the Court reviews the report-         B. Standard Governing a Motion for Summary
recommendation for clear error or manifest injustice. See            Judgment
Brown v. Peters, 95–CV–1641, 1997 WL 599355, at *2–                *3 Magistrate Judge Homer correctly recited the legal
3 (N.D.N.Y. Sept.22, 1997) (Pooler, J.) [collecting cases],       standard governing a motion for summary judgment. (Dkt.
                                                                  No. 87, at 8–9.) As a result, this standard is incorporated by
aff'd without opinion, 175 F.3d 1007 (2d Cir.1999). 4
                                                                  reference in this Decision and Order.
Similarly, when a party makes no objection to a portion
of a report-recommendation, the Court reviews that portion
for clear error or manifest injustice. See Batista v. Walker,     III. ANALYSIS
94–CV–2826, 1995 WL 453299, at *1 (S.D.N.Y. July                  After carefully reviewing all of the papers herein,
31, 1995) (Sotomayor, J.) [citations omitted]; Fed.R.Civ.P.       including Magistrate Judge Homer's thorough Report–
72(b), Advisory Committee Notes: 1983 Addition [citations         Recommendation, the Court can find no error (clear or
omitted]. After conducing the appropriate review, the Court       otherwise) in the Report–Recommendation. Magistrate Judge
may “accept, reject, or modify, in whole or in part, the          Homer employed the proper standards to Plaintiff's claims,
findings or recommendations made by the magistrate judge.”        accurately recited the facts surrounding these claims, and
28 U.S.C. § 636(b) (1)(C).                                        reasonably applied the law to those facts. The Court would
                                                                  only add the following three observations.



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                                                                  *4 Finally, with regard to Plaintiff's argument that he did
First, with regard to Plaintiff's argument that he did           not hit his head against the wall, but rather his injuries were
not receive adequate due process during his grievance            caused by Defendants, and Defendants are collectively trying
investigation, the Court declines to consider the due process    to “cover up” this fact, Plaintiff has failed to point to (or
claim implicitly asserted in the argument because Plaintiff      introduce in his Objections) any admissible record evidence
is asserting that due process claim for the first time in        as to when, where, or how Defendants came together and
his Objections to the Report–Recommendation. Williams v.         planned to (1) assault him, and (2) subsequently cover up the
Cooney, 01–CV–4623, 2004 WL 434600, at *2 n. 1 (S.D.N.Y.         assault. As a result, the Court rejects Plaintiff's argument that
Mar.8, 2004) (noting that a district court “has discretion       his conspiracy claim should survive summary judgment.
to review arguments which are raised for the first time in
objections to the Report”). In any event, even if the Court      For all of these reasons, Magistrate Judge Homer's Report–
were to consider this late-blossoming due process claim, the     Recommendation is accepted and adopted in its entirety.
Court would reject that claim on three alternative grounds:
(1) Plaintiff has failed to introduce any admissible record      ACCORDINGLY, it is
evidence that he exhausted his administrative remedies with
regard to this claim; (2) Plaintiff has failed to introduce      ORDERED that Magistrate Judge Homer's Report–
any admissible record evidence that he was in fact not           Recommendation (Dkt. No. 87) is ACCEPTED and
provided with an opportunity to present evidence in support      ADOPTED in its entirety; and it is further
of his grievance; and (3) “the manner in which grievance
investigations are conducted do[es] not create a protected       ORDERED that Defendants' motion for summary judgment
liberty interest.” Odom v. Poirier, 99–CV–4933, 2004 WL          (Dkt. No. 78) is GRANTED in part and DENIED in part, in
2884409, at *10 (S.D.N.Y. Dec.10, 2004) (citing Torres v.        the following regards:
Mazzuca, 246 F.Supp.2d 334, 342 [S.D.N.Y.2003] ), accord
Thomas v. Picio, 04–CV–3174, 2008 WL 820740, at *5 n. 5          (1) all of Plaintiff's claims against Defendants Bouchey,
(S.D.N.Y. Mar.26, 2008). For all of these reasons, the Court     Quinn, Girdich, Gettman, O'Connell, Perrea, and Riley
rejects Plaintiff's newly asserted due process claim.            (including all of Plaintiff's medical-indifference claims under
                                                                 the Eighth Amendment, and Plaintiff's conspiracy claims) are
Second, with regard to Plaintiff's argument that Magistrate      DISMISSED with prejudice pursuant to Fed.R.Civ.P. 56;
Judge Homer's omission of references to Plaintiff's numerous
exhibits in the Report–Recommendation is evidence that           (2) Plaintiff's claims against Defendant Smith are
Magistrate Judge Homer failed to resolve all ambiguities         DISMISSED without prejudice for failure to serve, pursuant
and draw all reasonable inferences in his favor, this            to Fed.R.Civ.P. 4(m) and N.D.N.Y.L.R. 4.1(b);
argument fails to specifically address any of Magistrate
Judge Homer's factual or legal conclusions. Instead, the         (3) remaining in this action, following the issuance
argument generally attacks the findings and conclusions of       of this Decision and Order, are Plaintiff's excessive-
the Report–Recommendation. As a result, the portion of           force claims and failure-to-intervene claims against
the Report–Recommendation challenged by the argument is          Defendants Santamore, Comstock, McGuoirk, LaClaire,
subject to only clear-error review. In any event, this portion   Buksa, Ramsdell, Hopkinson and Gilmore. (Plaintiff's claims
of Magistrate Judge Homer's Report–Recommendation, as            against these Defendants are not dismissed due to the
well as the other portions of his Report–Recommendation,         existence of genuine issues of material fact regarding those
would survive even a de novo review. Contrary to Plaintiff's     claims.)
argument, Magistrate Judge Homer relied on Plaintiff's
version of the facts (and thus on Plaintiff's exhibits) in
concluding that a question of material fact exists regarding
Plaintiff's excessive-force claims and failure-tointervene           REPORT–RECOMMENDATION AND ORDER 1
claims. For these reasons, the Court rejects Plaintiff's
                                                                 1
argument that Magistrate Judge Homer failed to resolve all               This matter was referred to the undersigned for
ambiguities and draw all reasonable inferences in his favor.             report and recommendation pursuant to 28 U.S.C.
                                                                         § 636(b) and N.D.N.Y.L.R. 72.3(c).



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                                                                 (Docket No. 78–10) ¶ 2. After the search, Santamore and
DAVID R. HOMER, United States Magistrate Judge.                  Comstock escorted Dallio back to his cell and instructed him
                                                                 to stand against the wall so that his waist chain could be
Plaintiff pro se Thomas Dallio (“Dallio”), an inmate in the
                                                                 removed. Comstock Decl. ¶¶ 1–3; Santamore Decl. V 3. The
custody of the New York State Department of Correctional
                                                                 waist chain was removed, Dallio was ordered to turn and
Services (“DOCS”), brings this civil rights action pursuant to
                                                                 proceed into his cell, and when Dallio turned, he punched
42 U.S.C. §§ 1981, 1983, and 1985 alleging that defendants,
                                                                 Comstock in the face. Comstock Decl. ¶¶ 3–5; Santamore
sixteen DOCS employees, violated his constitutional rights
                                                                 Decl. ¶¶ 5–7; Dallio Decl. (Docket No. 85–2) ¶ 6; Dallio Dep.
under the Eighth Amendment. Compl. (Docket No. 1).
                                                                 Tr. (Docket No. 78–14) at 26. A struggle ensued as Comstock,
Presently pending is the motion of fifteen of the defendants 2   Santamore, and Dallio all fell into Dallio's cell. Comstock
for summary judgment pursuant to Fed.R.Civ.P. 56. Docket         Decl. ¶ 6–8; Santamore Decl. ¶¶ 8–12.
Nos. 78, 79, 83, 84. Dallio opposes the motion. Docket No.
85. For the following reasons, it is recommended that the        *5 An alarm was sounded and a response team composed
motion be granted in part and denied in part.
                                                                 of defendants Alicia McGuoirk, Amos LaClaire, 3 Frank
                                                                 Buksa, Craig Ramsdell, Lawrence Hopkins, and Paul Gilmore
2      Defendant R.N. Debra Smith has never been                 quickly arrived at Dallio's cell. Docket No. 78, Ex. D at 28,
       served with process or other wise appeared                32–35; LaClaire Decl. (Docket No. 78–4) ¶ 1; Buksa Decl.
       in the action. See Docket Nos. 11 (summons                (Docket No. 78–5) ¶ 1; Ramsdell Decl. (Docket No. 78–
       returned unexecuted as to Smith after service             6) ¶ 2; Hopkinson Decl. (Docket No. 78–7) ¶ 2; Gilmore
       was attempted by the United States Marshals               Decl. (Docket No. 78–9) ¶¶ 3–5. Dallio immediately fell to
       Service), 36 & 38 (answers filed for 11 defendants        the ground, was restrained, and ceased physical resistance
       except Smith), 78–1 (defendants' motion herein            but was then kicked and punched over twenty times in
       filed on behalf of all defendants except Smith).          his face, abdomen, back, and legs. Dallio Decl. ¶¶ 2, 6–7,
       Under Fed.R.Civ.P. 4(m), a complaint must be              15; Dallio Dep. at 31–37. Gilmore and McGuoirk stood by
       served upon a defendant within 120 days. See              while Santamore, Comstock, LaClaire, Buksa, Ramsdell, and
       also N.D.N.Y.L.R. 4.1(b) (same). The complaint
                                                                 Hopkinson assaulted Dallio. Dallio Decl. ¶¶ 16, 18. 4 During
       herein was filed on September 27, 2006 and
                                                                 the incident, Dallio's arms (Gilmore Decl. ¶ 13; Hopkinson
       the summonses were issued on November 20,
                                                                 Decl. ¶¶ 3–4; LaClaire Decl. ¶ 2; Docket No. 78, Ex. D at 33,
       2006. Docket No. 1; Docket entry dated Nov. 20,
                                                                 35) and legs (Gilmore Decl. ¶ 12; Ramsdell Decl. ¶ 4; Buksa
       2006. Thus, more than 120 days have elapsed
                                                                 Decl. ¶ 1; Docket No. 78, Ex. D at 32, 34) were restrained,
       without completion of service of process on Smith.
                                                                 immobilized with a bed sheet (Gilmore Decl. ¶¶ 12, 14, 15;
       Accordingly, it is recommended that the complaint
                                                                 Buksa Decl. ¶¶ 1–2), and Dallio was placed under his bunk
       be dismissed without prejudice as to Smith in
                                                                 without further incident. Gilmore Decl. ¶ 16; Buksa Decl. ¶
       accordance with Rule 4(m) and Local Rule 4.1(b).
                                                                 3; Docket No. 78, Ex. D at 32. 5 Dallio was then left alone
                                                                 in his cells. 6
                       I. Background
                                                                 3
The facts are related herein in the light most favorable to              The complaint spells the name as “LeClaire.”
Dallio as the non-moving party. See subsection II(A) infra.              Compl. The correct spelling is LaClaire.” See
                                                                         LaClaire Decl. (Docket No. 78–4). The correct
                                                                         spelling will be used herein.
                                                                 4
                      A. The Incident                                    Defendants dispute Dallio's account.
                                                                 5
On November 10, 2003, defendants Scott Santamore                         A video tape was made by a surveillance camera
and William Comstock, corrections officers at Upstate                    fixed on the hallways outside Dallio's cell which
Correctional Facility, arrived at Dallio's cell to escort him            shows the events which occurred outside the
to a holding area while his cell was searched. Compl. ¶ 19;              cell but not those inside. It also contains sound
Comstock Decl. (Docket No. 78–11) ¶ 1; Santamore Decl.                   recordings of the raised voices while the parties



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       were inside the cell. See Video (Docket No. 78–           After an investigation, defendant Donald Quinn determined
       20). The video shows Dallio strike Comstock,              that “[b]ased on the documentation submitted and Inmate
       Comstock, Santamore, and Dallio then tumbling             Dallio's lack of witnesses or evidence his allegations cannot
       into Dallio's cell, and officers responding to the        be substantiated.” Docket No. 78, Ex. F at 7; see also
       cell. Dallio can be heard on the tape yell that           Docket No. 78, Ex F at 7–60 (attachments of all documents
       he was not resisting and that excessive force             and interviews considered during the investigation). The
       was occurring. Id.; see also Dallio Dep. Tr. at           grievance was denied based on the internal investigation.
       28 (testifying that he agreed that the video was          Docket No. 78, Ex. F at 3. Dallio appealed, but the denial
       an accurate depiction of what occurred in the             was affirmed, based upon both the findings of the internal
       hallway).                                                 investigation and the outcome of Dallio's disciplinary hearing.
                                                                 Docket No. 78, Ex. F at 2–3.
6      McGuoirk was then sent back to Dallio's cell to
       check on him and heard strange noises coming              On November 24, 2003, Dallio filed a complaint with the
       from his cell. McGuoirk Decl. ¶ 4. McGuoirk               Office of the DOCS Inspector General (IG) concerning the
       observed Dallio hitting his head and rubbing his          incident. Docket No. 83, Ex. E at 15–19. After another
       face against the wall multiple times. Id. ¶¶ 4–           lengthy investigation, the IG concluded that the “[m]edical
       6. McGuoirk reported this behavior to Gilmore             documentation and photo's [we]re consistent with The Use
       and the medical department. Id. ¶ 7. McGuoirk             of Force reported by [the defendants]” and that Dallio's
       then returned to Dallio's cell and observed him           allegations were unsubstantiated. Docket No. 83, Ex. E at 1–
       engaging in the same activity. Id. ¶¶ 8–9. Dallio         2; see also Docket No. 83, Ex. E at 20–180 (compilation of all
       now denies this conduct, but during an interview          the correspondence, interviews, documentation, photographs,
       with the DOCS Inspector General's investigator,           and records utilized by the IG in evaluating Dallio's
       Dallio admitted to hitting his head against the wall      complaints).
       of his cell in frustration after the incident. Docket
       No. 83, Ex. E at 169.
Later that day, Dallio was issued a misbehavior report which                         B. Medical Treatment
charged him with violating a direct order, assault on a staff
member, and violent conduct. Docket No. 78, Ex. D at              *6 After the incident, Dallio was taken to the medical
22. A disciplinary hearing was conducted on the charges          department where defendant Kimberly Perrea, a registered
and at its conclusion, Dallio was found guilty of all three      nurse, and Perrea completed a physical examination. Docket
charges. Docket No. 78, Ex. D at 17; see also Docket No.         No. 78, Ex. D at 36; Docket No. 78, Ex. F at 19; Docket No.
78, Ex. D at 68–150 (disciplinary hearing transcript). After     85, Ex. I. Examination revealed (1) bruising and superficial
administrative appeals, Dallio received a total sentence of      abrasions to the forehead, (2) bruising on both cheeks, (3)
twenty-four months in the special housing unit (SHU) 7           bruising and swelling of the bridge of Dallio's nose, (4)
and twenty-four months loss of packages, commissary, and         one superficial abrasion on the left elbow, (4) superficial
telephone privileges. Docket No.78, Ex. D at 13–16.              abrasions to the left shoulder and bruising to the left clavicle,
                                                                 (5) swelling and abrasions on the right flank, (6) a bruised
7                                                                right knee, (7) a bruised right hip with superficial abrasions,
       SHUs exist in all maximum and certain medium
                                                                 (8) redness throughout the middle and lower portions of
       security facilities. The units “consist of single-
                                                                 Dallio's spine and back, sternum, and front of the neck, and
       occupancy cells grouped so as to provide separation
                                                                 (9) superficial abrasions and redness on Dallio's right wrist.
       from the general population....” N.Y. Comp.Codes
                                                                 Docket No. 78, Ex. D at 36; Docket No. 78, Ex. F at 36;
       R. & Regs. tit. 7, § 300.2(b). Inmates are confined
                                                                 Docket No. 85 Ex. I. The medical report indicated that Dallio
       in a SHU as discipline, pending resolution of
                                                                 should cleanse the areas which received abrasions with soap
       misconduct charges, for administrative or security
                                                                 and water when he returned to his cell. Docket No. 78, Ex.
       reasons, or in other circumstances as required. Id.
                                                                 D at 49; Docket No. 78, Ex. F at 20. During his deposition,
       at pt. 301.
                                                                 Dallio testified that he suffered from internal bleeding in his
On November 24, 2003, Dallio filed a grievance against the       eye, injuries to his spinal area, difficulty walking, bruising
defendants for the alleged assault. Docket No. 78, Ex. F at 4.   throughout his face and legs, and lacerations. Dallio Dep.



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at 45–48. Defendants Lt. O'Connell and Roy Girdich both             83, Ex. E at 141–42. 8 Again on November 17, 2003, Dallio
subsequently made rounds after the incident and observed            was noted to have no difficulty with ambulation, movement,
Dallio's condition and failed to take any actions. Compl. ¶¶        or speech. Id.
35, 44–45.
                                                                    8      Dallio's examination was eventually terminated
On November 11, 2003, Dallio was examined by a non-party
                                                                           due to his behavior. Docket No. 83, Ex. E at 141–
member of the medical staff who noted Dallio's subjective
                                                                           42. It was similarly terminated on November 17
complaints of bruising on his head, legs, back and stomach,
                                                                           due to his behavior and aggression toward staff.
chest pains, and difficulty breathing. Docket No. 83, Ex. E
                                                                           Docket No. 83, Ex. E at 141.
at 144. There was no physician or nurse practitioner on duty
due to the holiday and when Dallio was informed of this,            On November 18, 2003, Dallio requested treatment for
he became upset. Id. Dallio appeared in no obvious distress         injuries suffered during the incident. Docket No. 83, Ex. E
and could breathe easily as he had no difficulty yelling at the     at 140. Dallio was offered Tylenol and Motrin, and refused
nurse. Id. Later that day, Dallio sought emergency treatment        both. Id. He again demanded to see an eye doctor. Id. On
to see a physician but was warned that his current medical          November 20, Dallio lodged his last set complaints of back
condition was not an emergency and that further abuse of the        pain. Id. He again refused pain medication and was noted to
system would result in a misbehavior report. Id.                    be waving his arms around wildly and yelling at staff. Id.
                                                                    After twenty minutes, the examination was terminated due to
On November 12 and 13, 2003, Dallio complained of a spinal          Dallio's behavior. Id.
injury from the incident. Docket No. 83, Ex. E at 143; see also
Riley Decl. (Docket No. 78–8) ¶ 5 (noting Dallio's complaints       This action followed.
of discomfort, desire to see a chiropractor, the absence of
objective signs of distress, and that he was given Tylenol
to relieve pain). Both days, Dallio was observed standing
in no distress, waving his extremities without any difficulty                               II. Discussion 9
with his range of motion, responding easily to questions and
                                                                    9
yelling at staff to express his displeasure, and was treated with          Initially Dallio alleged pendant state law claims for
pain relievers. Docket No. 83, Ex. E at 143; see also Riley                assault, battery, and negligence. However, he has
Decl. ¶ 9 (“At times from November 10, 2003 to November                    since conceded that his state law claims are barred.
15, 2003 [Dallio] frequently yelled at me....”). Additionally,             Plaintiff's Memorandum of Law (Docket No. 85–3)
Dallio complained of an injury to his right eye which was                  at 13. Accordingly, defendants' motion as to those
not noted to have occurred at the time of the incident. Docket             claims should be granted.
No. 83, Ex. E at 143; see also Riley Decl. ¶ 6 (noting that         In his complaint, Dallio alleges that defendants have violated
“medical records for November 14, 2003 reveal that other            his Eighth Amendment rights by subjecting him to excessive
medical personnel observed no injury to either of his eyes.”).      force, failing to intervene, and being deliberately indifferent
When the eye was examined, it was found to be reddened but          to his serious medical needs. Additionally, Dallio alleges that
without symptoms. Docket No. 83, Ex. E at 143. Dallio asked         defendants conspired to falsify reports and medical records
to be referred to a chiropractor for his complaints of spinal       and to remain silent about his injuries after the incident
pain. Docket No. 83, Ex. E at 143.                                  to make him appear culpable for the incident. The moving
                                                                    defendants seek summary judgment on all claims.
 *7 The following two days, November 14 and 15, 2003,
Dallio continued to complain about his eye injury. Docket
No. 83, Ex. E at 141–42. Dallio was seen by optometry on
                                                                                         A. Legal Standard
July 3, 2003 and by ophthalmology on October 9, 2003, his
eye was reddened, but no further treatment was indicated.           A motion for summary judgment may be granted if there is no
Docket No. 83, Ex. E at 141–42. Dallio was again noted              genuine issue as to any material fact if supported by affidavits
to be moving all extremities without difficulty, standing in        or other suitable evidence and the moving party is entitled to
no apparent distress, ambulating without difficulty, speaking       judgment as a matter of law. The moving party has the burden
clearly, and continually yelling at medical staff. Docket No.       to show the absence of disputed material facts by informing



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the court of portions of pleadings, depositions, and affidavits    Eighth Amendment, a plaintiff must establish both objective
which support the motion. Fed.R.Civ.P. 56; Celotex Corp. v.        and subjective elements. Blyden v. Mancusi, 186 F.3d 252,
Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548, 91 L.Ed.2d 265         262 (2d Cir.1999).
(1986). Facts are material if they may affect the outcome
of the case as determined by substantive law. Anderson v.          The objective element is “responsive to contemporary
Liberty Lobby, 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d       standards of decency” and requires a showing that “the injury
202 (1986). All ambiguities are resolved and all reasonable        actually inflicted is sufficiently serious to warrant Eighth
inferences are drawn in favor of the non-moving party. Skubel      Amendment protection.” Hudson, 503 U.S. at 9 (internal
v. Fuoroli, 113 F.3d 330, 334 (2d Cir.1997).                       citations omitted); Blyden, 186 F.3d at 262. However, “the
                                                                   malicious use of force to cause harm constitute[s][an] Eighth
The party opposing the motion must set forth facts showing         Amendment violation per se” regardless of the seriousness
that there is a genuine issue for trial. The non-moving party      of the injuries. Blyden, 186 F.3d at 263 (citing Hudson,
must do more than merely show that there is some doubt or          503 U.S. at 9). “The Eighth Amendment's prohibition of
speculation as to the true nature of the facts. Matsushita Elec.   ‘cruel and unusual’ punishments necessarily excludes from
Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S.Ct.     constitutional recognition de minimis uses of physical force,
1348, 89 L.Ed.2d 538 (1986). It must be apparent that no           provided that the use of force is not of a sort repugnant
rational finder of fact could find in favor of the non-moving      to the conscience of mankind.” Hudson, 503 U.S. at 9–10
party for a court to grant a motion for summary judgment.          (citations omitted). “ ‘Not every push or shove, even if it may
Gallo v. Prudential Residential Servs. 22 F.3d 1219, 1223–         later seem unnecessary in the peace of a judge's chambers,
24 (2d Cir.1994); Graham v. Lewinski, 848 F.2d 342, 344 (2d        violates a prisoner's constitutional rights.’ “ Sims, 230 F.3d at
Cir.1988).                                                         22 (citation omitted).

 *8 When, as here, a party seeks summary judgment against          The subjective element requires a plaintiff to demonstrate
a pro se litigant, a court must afford the non-movant special      the “necessary level of culpability, shown by actions
solicitude. Triestman v. Fed. Bureau of Prisons, 470 F.3d          characterized by wantonness.” Id. at 21 (citation omitted).
471, 477 (2d Cir.2006). However, the mere existence of some        The wantonness inquiry “turns on ‘whether force was applied
alleged factual dispute between the parties will not defeat an     in a good-faith effort to maintain or restore discipline, or
otherwise properly supported motion for summary judgment;          maliciously and sadistically to cause harm.’ “ Id. (quoting
the requirement is that there be no genuine issue of material      Hudson, 503 U.S. at 7). In determining whether defendants
fact. Anderson, 477 U.S. at 247–48.                                acted in a malicious or wanton manner, the Second Circuit
                                                                   has identified five factors to consider: “the extent of the injury
                                                                   and the mental state of the defendant[;] ... the need for the
                                                                   application of force; the correlation between that need and the
                   B. Eighth Amendment
                                                                   amount of force used; the threat reasonably perceived by the
The Eighth Amendment explicitly prohibits the infliction of        defendants; and any efforts made by the defendants to temper
“cruel and unusual punishment.” U.S. Const. amend. VIII.           the severity of a forceful response.” Scott v. Coughlin, 344
                                                                   F.3d 282, 291 (2d Cir.2003) (internal quotation marks and
                                                                   citations omitted).

                     1. Excessive Force                             *9 In this case, the moving defendants have proffered
                                                                   substantial evidence to refute Dallio's claim of excessive
Inmates enjoy an Eighth Amendment protection against the
                                                                   force. The defendants themselves have offered affidavits that
use of excessive force and may recover damages for its
                                                                   the force used was only that necessary to restrain Dallio
violation under § 1983. Hudson v. McMillian, 503 U.S.
                                                                   from assaulting officers further. Dallio was found guilty
1, 9–10, 112 S.Ct. 995, 117 L.Ed.2d 156 (1992). The
                                                                   of assault and that finding was affirmed on administrative
Eighth Amendment's prohibition against cruel and unusual
                                                                   appeal. The video tape confirms Dallio's assault on Comstock.
punishment precludes the “unnecessary and wanton infliction
                                                                   An independent investigation by the IG found no basis for
of pain.” Gregg v. Georgia, 428 U.S. 153, 173, 96 S.Ct.
                                                                   Dallio's contentions. The physical injuries allegedly suffered
2909, 49 L.Ed.2d 859 (1976); Sims v. Artuz, 230 F.3d 14, 20
                                                                   by Dallio were consistent with the self-inflicted injuries
(2d Cir.2000). To bring a claim of excessive force under the


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observed by McGuoirk. Opposed to this evidence are only
Dallio's own testimony and his voice on the video tape                *10 Accordingly, defendants' motion for summary judgment
asserting that the officers were assaulting him in his cell after    should be denied as to defendants Comstock, Santamore,
he had been restrained.                                              LaClaire, Buksa, Ramsdell, and Hopkinson on Dallio's claim
                                                                     of excessive force.
The question presented by this motion, then, is whether
any question of fact exists as to whether any defendant
used excessive force against Dallio or failed to intervene to
                                                                                        2. Failure to Intervene
prevent the use of such force. The evidence must be construed
in the light most favorable to Dallio as the non-moving              Daillo further claims that Gilmore and McGuoirk failed to
party. So construed, Dallio's testimony and statements heard         intervene when they saw the other defendants assaulting him.
on the vido tape stand in stark contrast to the substantial          Prison officials are obliged to protect prisoners from known
evidence proffered by defendants. This competing evidence            harms. Farmer, 511 U.S. at 829. “Law enforcement officials
rests on each side on the credibility of Dallio on the one           can be held liable under § 1983 for not intervening in a
hand and defendants on the other. In these circumstances,            situation where excessive force is being used by another
the governing law that the evidence must be viewed in                officer.” Jean–Laurent v. Wilkinson, 540 F.Supp.2d 501,
the light most favorable to the non-moving party leaves no           512 (S.D.N.Y.2008) (citations omitted). In order to establish
choice but to credit Dallio's version of events for purposes         liability, a plaintiff must demonstrate that “(1) the officer had
of this motion. See In re Dana Corp., 574 F.3d 128, 152              a realistic opportunity to intervene and prevent the harm; (2)
(2d Cir.2009) (holding that a court faced with a motion for          a reasonable person in the officer's position would know that
summary judgment must draw all reasonable inferences in              the victim's constitutional rights were being violated; and (3)
favor of the non-moving party and may not make credibility           the officer does not take reasonable steps to intervene.” Id.
determinations or weigh the evidence, functions which are
reserved to a jury and not a judge) (citing cases).                  Viewing the facts in the light most favorable to Dallio, he has
                                                                     raised a material issue of fact as to the failure to intervene
As described above, Dallio's evidence would concede that             of Gilmore and McGuoirk. While the two defendants may
he in fact struck Comstock but that he was quickly                   not have had advanced warning that the other defendants'
restrained in his cell and, so restrained and defenseless, was       attack against Dallio when they responded to the alarm and
struck repeatedly by Comstock, Santamore, LaClaire, Buksa,           arrived at Dallio's cell, it became clear when Dallio was
Ramsdell, and Hopkinson while Gilmore and McGuirk stood              restrained and became compliant that Gilmore and McGuoirk
by and took no steps to intervene. Despite the relatively minor      could and should intercede to prevent additional harm when
injuries Dallio suffered, the defendants' actions in assaulting      they observed six officers punching and kicking a defenseless
an inmate who was restrained and compliant could constitute          inmate. Additionally, as discussed infra, a reasonable person
a per se constitutional violation. Thus, viewing the facts in        in the officer's position would be well aware that such a
the light most favorable to Dallio, he has proffered sufficient      use of force was contrary to an individual's constitutional
evidence to raise an issue of fact as to the objective prong         rights. Thus, crediting Dallio's evidence, by standing idly by,
of the Eighth Amendment analysis to require resolution by a          Gilmore and McGuoirk failed to take no reasonable steps to
jury.                                                                intervene and terminate the violation of Dallio's constitutional
                                                                     rights. This conclusion is further supported as to Gilmore in
Furthermore, if Dallio's evidence is credited, defendants'           light of his position as a supervisor,
actions could be found wanton and malicious. The need for
force dramatically subsided once Dallio was restrained and           Therefore, defendants' motions for summary judgment on
compliant on the ground. Viewing the facts in the light most         Dallio's claim against Gilmore and McGuoirk for failing to
favorable to Dallio, defendants continued to assault him.            intervene should be denied.
This conduct could be found unreasonable and unnecessary
to sustain institutional order and safety once Dallio was
compliant. Thus, such actions, as alleged by Dallio, are more
than sufficient as well to raise a question of material fact as to                     3. Medical Treatment 10
the subjective prong of the Eighth Amendment analysis.



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10                                                                 should also be judged within the context of the surrounding
       Liberally construing Dallio's complaint, he alleges
       deliberate indifference to his cardiac conditions           facts and circumstances of the case. Smith, 316 F.3d at 185.
       as well. Defendants traditionally filed Dallio's
       medical record. Docket No. 78, Ex. G. There                  *11 Deliberate indifference requires the prisoner “to prove
       are no indications of deliberately indifferent to           that the prison official knew of and disregarded the prisoner's
       Dallio's treatment. In the four months following the        serious medical needs.” Chance v. Armstrong, 143 F.3d
       incident, Dallio was examined solely for cardiac            698, 702 (2d Cir.1998). Thus, prison officials must be
       issues on twenty different occasions, underwent             “intentionally denying or delaying access to medical care or
       four diagnostic tests, signed four refusals of              intentionally interfering with the treatment once prescribed.”
       treatment, and had one referral to a specialist.            Estelle v. Gamble, 429 U.S. 97, 104, 97 S.Ct. 285, 50 L.Ed.2d
       Additionally, from June 2005 until June 2007,               251 (1976). “Mere disagreement over proper treatment does
       Dallio's medical records reflect at least sixty related     not create a constitutional claim” as long as the treatment
       examinations for cardiac care, six diagnostic               was adequate. Chance, 143 F.3d at 703. Thus, “disagreements
       examinations revealing unremarkable results, four           over medications, diagnostic techniques (e.g., the need for X-
       specialist consultations, five trips for emergency          rays), forms of treatment, or the need for specialists ... are
       medicine, and nine treatment refusals. These 600            not adequate grounds for a section 1983 claim.” Sonds v. St.
       pages of records confirm that defendants were               Barnabas Hosp. Corr. Health Servs., 151 F.Supp.2d 303, 312
       actively involved in Dallio's care on a near-daily          (S.D.N.Y.2001).
       basis and were neither deliberately indifferent
       nor delayed any treatments. Any claims based                Defendants correctly contend that, even viewing the facts in
       on Dallio's alleged cardiac condition should,               the light most favorable to Dallio, the bleeding in his right
       therefore, be denied.                                       eye, bruises, and superficial abrasions were insufficient to
                                                                   constitute a serious medical condition either separately or in
The Eighth Amendment prohibition also extends to the               combination. In a recent decision in this district in another
provision of medical care. Hathaway v. Coughlin, 37 F.3d           case, Dallio's Eighth Amendment claims for similar injuries
63, 66 (2d Cir.1994). The test for a § 1983 claim is twofold.      sustained in another incident were deemed insufficient on a
First, the prisoner must show that the condition to which he       motion for summary judgment. See Dallio v. Herbert, No. 06–
was exposed was sufficiently serious. Farmer v. Brennan,           CV–118 (GTS/GHL), 2009 WL 2258964, at *5 (N.D.N.Y.
511 U.S. 825, 834, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994).         July 28, 2009) (granting judgment to defendants for lack of
Second, the prisoner must show that the prison official            serious injuries where Dallio suffered black eyes, bruising in
demonstrated deliberate indifference by having knowledge of        his abdomen and kidney area, kick marks to his abdomen,
the risk and failing to take measures to avoid the harm. Id.       open lacerations and bruising on his knees, lacerations on his
“[P]rison officials who actually knew of a substantial risk to     arms and wrists, a headache, and numbness in his hands and
inmate health or safety may be found free from liability if they   fingers) (citing cases).
responded reasonably to the risk, even if the harm ultimately
was not averted.” Id. at 844.                                      Even assuming that Dallio has raised a question of fact on this
                                                                   prong, he has still failed to prove deliberate indifference to
“ ‘Because society does not expect that prisoners will have        that condition. Dallio received medical attention immediately
unqualified access to healthcare,’ a prisoner must first make      after the incident, complaining of relatively minor injuries
[a] threshold showing of serious illness or injury” to state a     that only required cleansing with soap and water. Docket No.
cognizable claim. Smith v. Carpenter, 316 F.3d 178, 184 (2d        78, Ex. D at 49; Docket No. 78, Ex. F at 20. Dallio disagreed
Cir.2003) (quoting Hudson, 503 U.S. at 9). Because there is no     with this course of treatment, but such disagreements are
distinct litmus test, a serious medical condition is determined    insufficient to sustain a constitutional violation. Sonds, 151
by factors such as “(1) whether a reasonable doctor or patient     F.Supp.2d at 312.
would perceive the medical need in question as ‘important
and worthy of comment or treatment,’ (2) whether the medical       Moreover, in the following ten days, Dallio was seen by
condition significantly affects daily activities, and (3) the      the medical staff on eight of those days. Docket No.
existence of chronic and substantial pain.” Brock v. Wright,       84, Ex. E at 140–44. Thus, despite Dallio's conclusory
315 F.3d 158, 162–63 (2d Cir.2003) (citing Chance, 143 F.3d        allegations of a failure to provide medical treatment, the
698, 702 (2d Cir.1998)). The severity of the denial of care


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record demonstrates that medical staff treated Dallio on a            contentions are also insufficient to support a constitutional
near-daily basis. Such involvement with an inmate's care is           claim. Docket No. 83, Ex. E at 143. An inmate has no right
not indifferent. Additionally, examination of Dallio generally        to a physician of his or her choosing. See Dean v. Coughlin,
revealed that he was standing and waiting at his cell door,           804 F.3d 207, 215 (2d Cir.1986). Moreover, any decisions
he ambulated without any difficulty, he appeared in no                relating to the appropriateness or timing of a specialist
physical distress, and he had no problem speaking clearly,            consultation are within the purview of the medical staff and
yelling, or waving his arms at medical staff to signify               any disagreement the inmate has with the decision qualifies
his displeasure. 11 Id. Such uncontradicted determinations            as a disagreement over treatment, which is not an actionable
by multiple individuals, both parties and non-parties to              Eighth Amendment claim. Sonds v. St. Barnabas Hosp., 151
this action, belie Dallio's subjective and uncorroborated             F.Supp.2d 303, 312 (S.D.M.Y.2001).
complaints of disabling pain and indifferent treatment.
Additionally, Dallio was consistently offered pain medication         12     Medical records indicate that Dallio had seen
to increase his level of comfort. On at least two occasions,                 eye specialists on July 3 and October 9,
Dallio refused this medication. Docket No. 83, Ex. E at 140.                 2003. Docket No. 83, Ex. E at 141–42.
Dallio's voluntary actions in refusing the pain medication                   Additionally, records subsequent to the incident
cannot be attributed to any alleged delay or interference by                 indicate an ophthalmology consult within a
any defendant.                                                               month of the incident as well as multiple
                                                                             examinations by medical staff over eye problems
11                                                                           and broken glasses, glasses orders, and follow-up
        Any allegations that Dallio's progressive and
        frequent fits of rage were exaggerated or contrived                  appointments and consultations. Therefore, there
        are belied by the medical record which indicates                     is no dispute in the record on this motion that
        at least twenty-seven instances from June 2005                       Dallio's eyes were being treated in an appropriate
        until June 2007 where Dallio showed extreme                          manner and defendants' actions neither delayed
        anger and yelled at staff. Additionally, from prior                  treatment nor showed deliberate indifference to
        to the incident until January 2004, there were                       Dallio's treatment.
        seventeen similar instances where Dallio became               Accordingly, defendants' motion as to this claim should be
        argumentative and uncooperative with medical                  granted as to Perrea and Riley.
        staff generally resulting in the termination of the
        examination.
 *12 Furthermore, Dallio's contentions that he had injured                                   C. Conspiracy
his eye are not supported by any objective medical evidence.
While it is undisputed that Dallio suffered from a reddened           Dallio alleges that all defendants conspired to violate his
eye, the cause and timing of the irritation is immaterial to          constitutional rights.
this claim, for medical staff noted and evaluated the condition
and determined that it was not an emergency. Docket No. 83,
Ex. E at 143. These findings were supported by the multiple
                                                                                                1. § 1983
record entries, by multiple medical staff, which agreed that
there was no injury to the eye. Riley Decl. ¶ 6. No medical           In order to support a claim for conspiracy pursuant to § 1983,
evidence has been proffered by Dallio to the contrary. Even           there must be “(1) an agreement ...; (2) to act in concert to
if there was an injury and the multiple opposing medical              inflict an unconstitutional injury; and (3) an overt act done
conclusions were wrong, the misdiagnosis would, at worst,             in furtherance of that goal causing damages.” Ciambriello
constitute negligence. See Estelle, 429 U.S. at 107. This is still    v. County of Nassau, 292 F.3d 307, 324–25 (2d Cir.2002);
insufficient to sustain a claim for deliberate indifference. Id. at   Cusamano v. Sobek, 604 F.Supp.2d 416, 468 (N.D.N.Y.2009).
106 (“Medical malpractice does not become a constitutional            An agreement must be proven with specificity as bare
violation merely because the victim is a prisoner.”).                 allegations of a conspiracy supported only by allegations of
                                                                      conduct easily explained as individual action is insufficient.
Moreover, to the extent that Dallio contends that he should           See Iqbal v. Hasty, 490 F.3d 143,177 (2d Cir.2007); see
have been seen by a chiropractor or eye doctor, 12 such               also Gyadu v. Hartford Ins. Co., 197 F.3d 590, 591 (2d



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Cir.1999). Thus, plaintiffs must “make an effort to provide      “Section 1985 prohibits conspiracies to interfere with civil
some details of time and place and the alleged effects of        rights.” Davila v. Secure Pharmacy Plus, 329 F.Supp.2d
the conspiracy ... [including] facts to demonstrate that the     311, 316 (D.Conn.2004). To state a claim for relief under §
defendants entered into an agreement, express or tacit, to       1985(3), a plaintiff must show:
achieve the unlawful end.” Warren v. Fischl, 33 F.Supp.2d
171, 177 (E.D.N.Y.1999) (citations omitted). Conclusory,
vague, and general allegations are insufficient to support a                  (1) a conspiracy; (2) for the purpose of
conspiracy claim. Ciambriello, 292 F.3d at 325.                               depriving, either directly or indirectly,
                                                                              any person or class of persons of the
 *13 In this case, even construing the facts in the light                     equal protection of the laws, or of
most favorable to Dallio, he has failed to advance anything                   equal privileges and immunities under
more than conclusory allegations of a conspiracy. Dallio fails                the laws; and (3) an act in furtherance
to show specifically when, where, or how defendants came                      of the conspiracy; (4) whereby a
together and planned to assault him. Moreover, Dallio fails                   person is either injured in his person or
to show when or how multiple departments agreed, either                       property or deprived of any right of a
expressly or implicitly, to collaborate with one another and                  citizen of the United States.
independently perpetrate the alleged web of deceit by filing
false incident reports, medical records, and investigations.
Without anything more than a conclusory allegation that all      United Bhd. of Carpenters & Joiners of Am., Local 610 v.
defendants conspired with one another, Dallio's claims fall
                                                                 Scott, 463 U.S. 825, 828–29, 103 S.Ct. 3352, 77 L.Ed.2d
short of raising a material question as to whether defendants'
                                                                 1049 (1983); see also Iqbal v. Hasty, 490 F.3d 143, 176
actions constituted a conspiracy. 13                             (2d Cir.2007). To demonstrate that a conspiracy existed, “the
                                                                 plaintiff must prove a mutual understanding or meeting of
13                                                               the minds to violate [his or] her civil rights.” Salgado v. City
       Dallio relies on Juan v. Rafferty, 577 F.Supp. 774
       (D.N.J.1984), to support the proposition that his         of N.Y., No. 00–CV–3667 (RWS), 2001 WL 290051, at *8
       assertions that all defendants filed false reports is     (S.D.N.Y. Mar.26, 2001) (citations omitted). “In addition, the
       sufficient to withstand the current motion. Dallio's      conspiracy must be motivated by some class-based animus.”
       reliance is misplaced. In Juan, (1) defendants            Iqbal, 490 F.3d at 176 (citations omitted).
       filed a motion to dismiss as opposed to the
       present motion for summary judgement and (2)              Here, Dallio does not assert any facts giving rise to a
       the litigation was in its infancy as discovery had        conspiracy. First, Dallio vaguely assert conclusory statements
       not yet been completed. Id. at 778. Therefore,            relating to an alleged conspiracy among defendants. This
       the pleadings were sufficient at that early stage         is insufficient. See X–Men Sec., Inc. v. Pataki, 196 F.3d
       to present a basis for a claim. Id. The present           56, 71 (2d Cir.1999). Second, as discussed supra, there has
       case is at a far different point. Discovery is            been proffered no evidence relating to agreements, or even
       now complete and actual evidence rather than              communications, between the defendants, the purpose of their
       allegations of agreements among multiple parties          alleged conspiracy, or an intent by defendants to deprive
       must be advanced. Like Juan, Dallio has survived          Dallio of his civil rights. Lastly, there is no evidence that any
       the pleadings stage of the litigation. However,           alleged conspiracy was motivated by racial- or class-based
       unlike Juan, allegations alone at this stage are          animus.
       insufficient as evidence must now be presented for
       the claim to withstand the current motion. As no          Accordingly, defendants' motion for summary judgment as to
       evidence was provided, the claim fails to raise a         Dallio's claims of conspiracy should be granted.
       material question of fact.


                                                                                   D. Bouchey and Gettman
                          2. § 1985
                                                                 Defendant Andrew Bouchey was named in the complaint
                                                                 as a member of the response 20 team. Compl. (Docket No.


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1) ¶ 22. However, the undisputed evidence shows that he             Here, the second prong of the inquiry need not be reached
was not personally involved in the incident. As such, no            concerning Dallio's claims other than his Eighth Amendment
personal involvement has been shown and Bouchey is entitled         excessive force and failure to intervene claims because, as
to judgment on all claims against him. Wright v. Smith,             discussed supra, accepting all of Dallio's evidence as true,
21 F.3d 496, 501 (2d Cir.1994) ( “[P]ersonal involvement            he has not shown that any of the defendants in those claims
of defendants in alleged constitutional deprivations is a           violated his constitutional rights.
prerequisite to an award of damages under § 1983.”) (internal
quotations and citations omitted).                                  As to Dallio's excessive force and failure to intervene claims,
                                                                    it was clearly established by the incident on November 10,
 *14 Similarly, defendant C.O. Gettman was identified in            2003 that inmates had an Eighth Amendment right to be free
the complaint as the individual responsible for taking the          from excessive force and a failure to intervene. See, e.g.,
photographs subsequent to the incident. Compl. ¶¶ 36–37. All        Hudson, 503 U.S. at 9–10. Thus, accepting all of Dallio's
submissions indicate without contradiction that the individual      allegations about the incident as true, qualified immunity
responsible for these photographs was named Clarke. See             cannot be granted to defendants Santamore, Comstock,
generally Docket No. 78, Ex. D at 7. As such, no evidence           McGuoirk, LaClaire, Buksa, Ramsdell, Hopkinson, or
of any personal involvement has been shown with regard to           Gilmore since a reasonable person in their position at the time
Gettman either. Accordingly, he as well should be granted           would or should have known that the use of excessive force
judgment. Wright, 21 F.3d at 501.                                   was a constitutional violation.

                                                                     *15 Accordingly, defendants' motion for summary judgment
                                                                    on this ground should be (1) granted in the alternative as to
                   E. Qualified Immunity
                                                                    Bouchey, Quinn, Girdich, Gettman, O'Connell, Perrea, and
Defendants claim that even if Dallio's constitutional claims        Riley, and (2) denied as to Santamore, Comstock, McGuoirk,
are substantiated, they are entitled to qualified immunity.         LaClaire, Buksa, Ramsdell, Hopkinson, and Gilmore.
Qualified immunity generally protects governmental officials
from civil liability “insofar as their conduct does not violate
clearly established statutory or constitutional rights of which a                          III. Conclusion
reasonable person would have known.” Harlow v. Fitzgerald,
457 U.S. 800, 818, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982);           For the reasons stated above, it is hereby RECOMMENDED
Aiken v. Nixon, 236 F.Supp.2d 211, 229–30 (N.D.N.Y.2002)            that:
(McAvoy, J.), aff'd, 80 Fed.Appx. 146 (2d Cir. Nov.10, 2003).
However, even if the constitutional privileges “are clearly         1. Defendants' motion for summary judgment (Docket No.78)
established, a government actor may still be shielded by            be:
qualified immunity if it was objectively reasonable for the ...
official to believe that his [or her] acts did not violate those    A. GRANTED as to defendants Bouchey, Quinn, Girdich,
rights.” Smith v. City of Albany, No. 03–CV–1157, 2006 WL           Gettman, O'Connell, Perrea, and Riley as to all claims against
839525 *16 (N.D.N.Y. Mar. 27, 2006) (quoting Kaminsky               them, and these defendants should be terminated from this
v. Rosenblum, 929 F.2d 922, 925 (2d Cir.1991); Magnotti v.          action; and
Kuntz, 918 F.2d 364, 367 (2d Cir.1990) (internal citations
omitted)).                                                          B. DENIED as to defendants Santamore, Comstock,
                                                                    McGuoirk, LaClaire, Buksa, Ramsdell, Hopkinson, and
A court must first determine whether, if a plaintiff's              Gilmore as to Dallio's Eighth Amendment claims of excessive
allegations are accepted as true, there would be a                  force and failure to intervene; and
constitutional violation. Saucier v. Katz, 533 U.S. 194, 201,
121 S.Ct. 2151, 150 L.Ed.2d 272 (2001). Only if there is            2. The complaint be DISMISSED without prejudice as
a constitutional violation does a court proceed to determine        to defendant Smith pursuant to Fed.R.Civ.P. 4(m) and
whether the constitutional rights, of which a reasonable            N.D.N.Y.L.R. 4.1(b).
person would have known, were clearly established at the
time of the alleged violation. Aiken, 236 F.Supp.2d at 230.



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Pursuant to 28 U.S.C. § 636(b)(1), the parties may lodge          HHS, 892 F.2d 15 (2d Cir.1989); 28 U.S.C. § 636(b)(1);
written objections to the foregoing report. Such objections       Fed.R.Civ.P. 72, 6(a), 6(e).
shall be filed with the Clerk of the Court. FAILURE
TO OBJECT TO THIS REPORT WITHIN TEN DAYS                          All Citations
WILL PRECLUDE APPELLATE REVIEW. Roldan v.
Racette, 984 F.2d 85, 89 (2d Cir.1993); Small v. Sec'y of         Not Reported in F.Supp.2d, 2010 WL 125774

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        Only the Westlaw citation is currently available.                  REPORT AND RECOMMENDATION
                 United States District Court,
                                                                DAVID E. PEEBLES, United States Magistrate Judge.
                       N.D. New York.
                                                                 *1 Plaintiff Terry Cicio, a New York State prison inmate
             Terry CICIO, Plaintiff,
                                                                who is proceeding pro se and in forma pauperis, has
                         v.
                                                                commenced this action pursuant to 42 U.S.C. § 1983, alleging
 R. LAMORA, R. Scott, R. MacWilliams, K. Crossett, E.           deprivation of his civil rights. In his complaint Cicio, who
     Facteau, C.O. Demers, R. Woods, R. Gill, Defendants.       refused multiple orders from prison officials to exit his cell
                                                                in order to effectuate a transfer to another location, complains
           Civ. Action No. 9:08–CV–431 (GLS/DEP).
                                                                that in the course of the ensuing cell extraction, during
                               |
                                                                which he was removed through the use of force, one of
                        Feb. 24, 2010.
                                                                the corrections officers who participated exerted excessive
                                                                force causing him to suffer injuries, while the others involved
 West KeySummary                                                failed to intervene, all in violation of the Eighth Amendment's
                                                                protection against cruel and unusual punishment. As relief
                                                                for the violation, plaintiff seeks the recovery of compensatory
 1        Civil Rights      Criminal law enforcement;           and punitive damages from defendants.
          prisons
          Summary Judgment            Prisons and jails         Currently pending before the court is defendants' motion for
          Genuine issue of material fact existed as to          summary judgment seeking dismissal of plaintiff's complaint.
          whether corrections officer repeatedly hit the        In their motion defendants challenge the legal sufficiency of
          inmate after the inmate was subdued and               plaintiff's excessive force and failure to intervene claims and
          thus summary judgment was precluded on the            additionally assert their entitlement to Eleventh Amendment
          inmate's excessive force claim. The inmate            immunity from suit in their official capacities and good
          alleged in his complaint, testified under oath        faith qualified immunity from suit as individuals. Because
          at his deposition, and stated in a sworn              a reasonable factfinder could conclude from the record now
          affidavit that the corrections officer punched him    before the court that more force than necessary to subdue
          unnecessarily in the head several times during        and remove Cicio from his cell was applied maliciously
          the inmate's cell extraction. Although the cell       and sadistically by prison officials, I am constrained to
          extraction was supposed to be videotaped, the         recommend that defendants' motion be denied, except as to
          video was never recorded. Despite the fact that       plaintiff's claims against defendant Woods and those against
          the inmate's injuries were slight and were at least   defendants in their official capacities, which are subject to
          indirectly brought about by his own action of         dismissal.
          refusing handcuffs, there were credibility issues
          to be determined. U.S.C.A. Const.Amend. 8.
                                                                I. BACKGROUND 1
          35 Cases that cite this headnote                      1     In light of the procedural posture of this case, the
                                                                       following recitation is from the record now before
                                                                       the court, with all inferences drawn and ambiguities
                                                                       resolved in favor of the plaintiff. Terry v. Ashcroft,
Attorneys and Law Firms                                                336 128, 137 (2d Cir.2003). It should be noted that
                                                                       while most of the pertinent facts are undisputed,
Terry Cicio, Malone, NY, pro se.
                                                                       defendants sharply contest plaintiff's allegation
Hon. Andrew M. Cuomo, Office of the Attorney General,                  that he was unnecessarily punched by defendant
State of New York, C. Harris Dague, Esq., Asst. Attorney               MacWilliams during the forcible removal from his
General, of Counsel, Albany, NY, for Defendants.                       cell.



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Plaintiff is a prison inmate entrusted to the care and custody       guidance staff at the facility. Id. When those measures proved
of the New York State Department of Correctional Services            unsuccessful, orders were given to prepare a cell extraction
(“DOCS”). See generally Complaint (Dkt. No. 1); see also             team. Gill Aff. (Dkt. No. 35–4) ¶ 10.
Dague Decl. (Dkt. No. 35–16) ¶ 3 and Exh. A (Dkt. No.
35–17). At the times relevant to his claims, plaintiff was           At 2:30 p.m. on that day Corrections Lieutenant Andrew
designated to the Upstate Correctional Facility (“Upstate”),         Lamora issued a final order directing plaintiff to exit his cell,
located in Malone, New York. 2 Id.                                   warning that if he persisted in his refusal force would be
                                                                     applied to carry out his removal. Gill Aff. (Dkt. No. 35–4)
2                                                                    ¶¶ 11–12; Lamora Aff. (Dkt. No. 35–8) ¶¶ 8–10; see also
        Upstate is a maximum security prison comprised
                                                                     Complaint (Dkt. No. 1) Statement of Facts ¶ 4. Despite that
        exclusively of special housing unit (“SHU”) cells in
                                                                     last directive, plaintiff refused to obey defendant Lamora's
        which inmates are confined, generally though not
                                                                     command. Lamora Aff. (Dkt. No. 35–8) ¶ 9.
        always for disciplinary reasons, for twenty-three
        hours each day. See Samuels v. Selsky, No. 01 CIV.
                                                                     Following established facility protocol, prison officials took
        8235, 2002 WL 31040370, at *4 n. 11 (S.D.N.Y.
                                                                     the first step toward conducting a forcible extraction by
        Sept. 12, 2002).
                                                                     administering two one-second bursts of a chemical aerosol
The events giving rise to the claims in this action were set         into plaintiff's cell, followed by another request for voluntary
in motion on December 27, 2007, when plaintiff refused to            compliance. Gill Aff. (Dkt. No. 35–4) ¶¶ 12–13 and Exhs. A
return a razor given to him by prison officials to permit him        (Dkt. No. 34–5) and B (Dkt. No. 34–6); Lamora Aff. (Dkt.
to shave. Dague Decl. (Dkt. No. 35–16) Exh. B (Dkt. No. 35–          No. 35–8) ¶ 11. The process was repeated at two minute
18) (Transcript of Deposition of Terry Cicio, conducted on           intervals on four more occasions; each time, corrections
March 12, 2009, hereinafter cited as “Cicio Dep. Tr.”) at pp.        officers offered plaintiff the opportunity to comply with their
29–30; Gill Aff. (Dkt. No. 35–4) ¶ 5 and Exh. A (Dkt. No.            orders before administering another dose. Gill Aff. (Dkt. No.
35–5). According to Cicio, he purposefully withheld the razor        35–4) ¶¶ 12–14.
in order to prompt a transfer out of the gallery on which his
cell was located to another area. Cicio Dep. Tr. at pp. 27–28.       When the use of chemicals failed to convince Cicio
                                                                     to exit his cell, the cell extraction team that had been
Inmates at Upstate are assigned cells based upon a written           assembled, including Corrections Officers Richard Scott,
protocol designated as the Progressive Inmate Movement               Richard MacWiliams, Kurt Crossett and Christopher Demers,
System, or “PIMS”, intended to provide incentive and                 entered the cell. Gill Aff. (Dkt. No. 35–4) ¶ 17 and Exhs. A
encourage behavioral adjustment for SHU inmates. See                 (Dkt. No. 35–5) and B (Dkt. No. 35–6); Lamora Aff. (Dkt.
Dague Decl. (Dkt. No. 35–16) ¶ 8. Under the PIMS, there are          No. 35–8) ¶ 15. To accomplish the forced extraction each
three designated categories of SHU cells; level three affords        of those individuals was assigned a specific task. Lamora
the most desirable conditions, while PIMS level one inmates          Aff. (Dkt. No. 35–8) ¶ 16. Corrections Officer Scott was
enjoy the least privileges. Id.; see also Cicio Dep. Tr. at p. 27.   designated to be the first to enter the cell and, through
At the time of plaintiff's refusal of surrender his razor, he was    use of a shield, was tasked with attempting to bring Cicio
assigned to a PMS level three cell. Cicio Dep. Tr. at p. 27.         to the ground and assist with the application of handcuffs.
                                                                     Id. Corrections Officer MacWilliams' assigned role was to
 *2 On December 27, 2007, following the razor incident,              control plaintiff's arms and to assist in the take down and
plaintiff was informed that he would be relocated to a PIMS          application of handcuffs. Id. Corrections Officer Demers was
level one cell. Cicio Dep. Tr. at p. 31; Gill Aff. (Dkt. No. 35–4)   assigned to control Cicio's right leg and assist in the take down
¶ 7 and Exh. B (Dkt. No. 35–6). To effectuate the move, prison       and application of ankle restraints, and Corrections Officer
officials instructed the plaintiff to place his back to the cell     Crossett was similarly designated as the person responsible
door and his hands through the feed up slot in order to permit       for control of plaintiff's left leg, assisting in the take down, and
the application of hand restraints. Gill Aff. (Dkt. No. 35–4)        application of ankle restraints. Id. The cell extraction, which
¶ 8. Plaintiff refused that order as well as several subsequent      proceeded in accordance with this protocol, was successfully
directives to voluntarily exit his cell. Id. at ¶ 9 and Exh. A.      completed in approximately two minutes or less. Gill Aff.
Attempts were made to convince plaintiff to reconsider his           (Dkt. No. 35–4) ¶ 20; Lamora Aff. (Dkt. No. 35–8) ¶ 18; Scott
refusal; those efforts included interventions by clergy and          Aff. (Dkt. No. 35–7) ¶ 13; Demers Aff. (Dkt. No. 35–12) ¶



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13; Crossett Aff. (Dkt. No. 35–10) ¶ 13; Facteau Aff. (Dkt.
No. 35–11) ¶ 12.                                                     For the most part, the foregoing facts are not disputed by
                                                                     the plaintiff. He does, however, contend that during the
 *3 Also in accordance with the established protocol,                course of the extraction he was “repeatedly punched” by
Corrections Officer Eric Facteau was assigned to record              Corrections Officer MacWiliams, who asked “you want to
the cell extraction using a hand-held camera. Facteau Aff.           play?” Complaint (Dkt. No. 1) Statement of Facts ¶ 5; Cicio
(Dkt. No. 35–11) ¶¶ 5–6. Unfortunately, however, while               Dep. Tr. at pp. 46–47; Cicio Aff. (Dkt. No. 36) ¶¶ 10,
Corrections Officer Facteau attempted to videotape the               12. Plaintiff further alleges that while the other members
process he later discovered the tape was defective, and none         of the cell extraction team, including Sergeant R. Gill and
of the cell extraction was recorded. Id. at ¶¶ 9, 14.                Lieutenant R. Lamora, “had ample time to curb the abuse” he
                                                                     suffered, they stood by without intervening. Id. at ¶ 11.
Following the cell extraction, plaintiff was taken to a
decontamination area where his clothes were removed and
traces of the chemical aerosol were eliminated. Gill Aff. (Dkt.      II. PROCEDURAL HISTORY
No. 35–4) Exh. A (Dkt. No. 35–5). Plaintiff was thereafter           Plaintiff commenced this action on May 7, 2008. Dkt. No. 1.
brought to a holding cell to be medically examined and               Named as defendants in Cicio's complaint are Robert Woods,
photographed. Id.                                                    the superintendent at Upstate; Corrections Lieutenant Randy
                                                                     Lamora; Corrections Sergeant Robert Gill; and Corrections
During the course of the cell extraction both plaintiff and          Officers Richard Scott, Richard MacWillams, Kirk Crossett,
two of the participating corrections officers suffered injuries.     Eric Facteau, and Christopher Demers. Plaintiff's complaint
Plaintiff described his injuries as including a scratch to the       asserts a single cause of action, alleging violation of
right side of his face less than an inch long, a contusion above     his Eighth Amendment right against cruel and unusual
his left eye, a bruise on his left shoulder “the size of a quarter   punishment.
or a little bigger[, n]othing major”, and a bruise to the back
of his shoulder. Complaint (Dkt. No. 1) Statement of Facts            *4 Following joinder of issue and completion of pretrial
¶ 6; Cicio Dep. Tr. at pp. 48–52. A medical report prepared          discovery, defendants moved on August 6, 2009 for summary
following the examination notes the following with regard to         judgment dismissing plaintiff's complaint. Dkt. No. 35. In
plaintiff's injuries:                                                their motion, defendants argue that plaintiff's excessive force
                                                                     and failure to intervene claims are lacking in merit, that his
                                                                     claims against the defendants in their official capacities are
                                                                     barred by the Eleventh Amendment, and that in any event
             Inmate has small abraised/red area
                                                                     they are entitled to qualified immunity from suit against them
             to rt. upper/lateral aspect of chest.
                                                                     for damages as individuals. Id. Plaintiff has since responded
             Has small contused area to left
             lateral aspect of forehead, has small                   in opposition defendants' motion, 3 Dkt. No. 36, which is
             eccymotic area to rt. lateral aspect of                 now ripe for determination and has been referred to me for
             shoulder. No life threatening injuries.                 the issuance of a report and recommendation pursuant to 28
             No blood present. Alert and oriented.                   U.S.C. § 636(b)(1)(B) and Northern District of New York
             No signs of distress. No treatment                      72.3(c). See Fed.R.Civ.P. 72(b).
             necessary.
                                                                     3      Plaintiff opposes defendants' motion and,
                                                                            alternatively, requests that he be granted a
Gill Aff. (Dkt. No. 35–4) Exh. B (Dkt. No. 35–6). Following                 continuance so that he may pursue additional
the incident plaintiff stated to medical staff that he was “fine”           discovery. In particular, plaintiff seeks discovery
and did not wish to receive treatment. Id.; see also Cicio                  regarding the facility's alleged refusal to allow
Dep. Tr. at pp. 75–76. During the cell extraction Corrections               plaintiff to view the DOCS directives regarding use
Officer MacWilliams suffered injury to his right wrist, and                 of force, video procedures, chemical agents, and
Corrections Officer Scott injured his right hip; no other staff             cell extractions. As an initial matter, I note that
members involved reported any injuries. Gill Aff. (Dkt. No.                 the deadline for completion of discovery expired
35–4) Exh. A (Dkt. No. 35–5).                                               on March 13, 2009, Dkt. No. 28, several months



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        before defendants filed their pending motion,                 Cir.1999) (noting obligation of court to consider whether pro
        and plaintiff has shown no reason why he did                  se plaintiff understood nature of summary judgment process).
        not timely pursue the discovery now requested.
        In any event, as will be seen, none of the                     *5 When deciding a summary judgment motion, a court
        information now sought by plaintiff would impact              must resolve any ambiguities, and draw all inferences from
        my recommendation regarding the defendants'                   the facts, in a light most favorable to the nonmoving party.
        motion, especially considering that nearly all of the         Jeffreys, 426 F.3d at 553; Wright v. Coughlin, 132 F.3d 133,
        material facts are undisputed by the plaintiff.               137–38 (2d Cir.1998). 4 The entry of summary judgment is
                                                                      warranted only in the event of a finding that no reasonable
III. DISCUSSION                                                       trier of fact could rule in favor of the non-moving party.
                                                                      See Building Trades Employers' Educ. Ass'n v. McGowan,
   A. Summary Judgment Standard
                                                                      311 F.3d 501, 507–08 (2d Cir.2002) (citation omitted); see
Summary judgment motions are governed by Rule 56 of
                                                                      also Anderson, 477 U.S. at 250, 106 S.Ct. at 2511 (summary
the Federal Rules of Civil Procedure. Under that provision,
                                                                      judgment is appropriate only when “there can be but one
summary judgment is warranted when “the pleadings, the
                                                                      reasonable conclusion as to the verdict”).
discovery and disclosure materials on file, and any affidavits
show that there is no genuine issue as to any material fact
                                                                      4
and that the movant is entitled to judgment as a matter of                    With their motion defendants properly filed a
law.” Fed.R.Civ.P. 56(c); see Celotex Corp. v. Catrett, 477                   statement of materials facts alleged not to be in
U.S. 317, 322, 106 S.Ct. 2548, 2552, 91 L.Ed.2d 265 (1986);                   dispute, as required under Northern District of
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247, 106 S.Ct.                 New York Local Rule 7.1(a)(3). Dkt. No. 35–2.
2505, 2509–10, 91 L.Ed.2d 202 (1986); Security Ins. Co. of                    Under that rule when filing papers in opposition
Hartford v. Old Dominion Freight Line, Inc., 391 F.3d 77, 82–                 to defendants' motion plaintiff was required to
83 (2d Cir.2004). A fact is “material”, for purposes of this                  submit a response mirroring defendants' Local
inquiry, if it “might affect the outcome of the suit under the                Rule 7.1(a)(3) Statement and either admitting or
governing law.” Anderson, 477 U.S. at 248, 106 S.Ct. at 2510;                 denying each of the assertions contained within it
see also Jeffreys v. City of New York, 426 F.3d 549, 553 (2d                  in matching numbered paragraphs. N.D.N.Y.L.R.
Cir.2005) (citing Anderson ). A material fact is genuinely in                 7.1(a)(3). In light of plaintiff's failure to provide
dispute “if the evidence is such that a reasonable jury could                 such a statement, the court could deem the
return a verdict for the nonmoving party.” Anderson, 477 U.S.                 assertions set forth in defendants' Local Rule 7.1(a)
at 248, 106 S.Ct. at 2510.                                                    (3) Statement, including to the effect that defendant
                                                                              MacWilliams did not punch him as alleged, see
A party seeking summary judgment bears an initial burden                      Defendants' Local Rule 7.1(a)(3) Statement (Dkt.
of demonstrating that there is no genuine dispute of material                 No. 35–2) ¶¶ 34–35, to have been admitted by him.
fact to be decided with respect to any essential element of                   Id.; see, e.g., Elgamil v. Syracuse Univ., No. 99–
the claim in issue; the failure to meet this burden warrants                  CV–611, 2000 WL 1264122, at *1 (Aug. 22, 2000)
denial of the motion. Anderson, 477 U.S. at 250 n. 4, 106 S.Ct.               (McCurn, S.J.) (listing cases); see also Monahan v.
at 2511 n. 4; Security Ins., 391 F.3d at 83. In the event this                New York City Dep't of Corr., 214 F.3d 275, 292 (2d
initial burden is met, the opposing party must show, through                  Cir.2000) (discussing district courts' discretion to
affidavits or otherwise, that there is a material issue of fact for           adopt local rules like 7.1(a)(3)). In deference to his
trial. Fed.R.Civ.P. 56(e); Celotex, 477 U.S. at 324, 106 S.Ct. at             pro se status, and given that he has actively opposed
2553; Anderson, 477 U.S. at 250, 106 S.Ct. at 2511. Though                    defendants' motion and contested the claim that
pro se plaintiffs are entitled to special latitude when defending             defendant MacWilliams did not strike him, though
against summary judgment motions, they must establish more                    without minimizing the importance of Local Rule
than mere “metaphysical doubt as to the material facts.”                      7.1(a) (3), I recommend against deeming plaintiff
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.                   to have admitted the facts set forth in defendants'
574, 586, 106 S.Ct. 1348, 1356, 89 L.Ed.2d 538 (1986); but                    statement.
see Vital v. Interfaith Med. Ctr., 168 F.3d 615, 620–21 (2d
                                                                          B. Excessive Force



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Plaintiff's complaint asserts a cause of action brought under
the Eighth Amendment, which proscribes punishments that
involve the “unnecessary and wanton infliction of pain” and                         *6     [w]hen prison officials
are incompatible with “the evolving standards of decency that                      maliciously and sadistically use
mark the progress of a maturing society.” Estelle v. Gamble,                       force to cause harm, contemporary
429 U.S. 97, 102, 104, 97 S.Ct. 285, 290, 291, 50 L.Ed.2d                          standards of decency always are
251 (1976); see also Whitley v. Albers, 475 U.S. 312, 319,                         violated.... This is true whether
106 S.Ct. 1076, 1084 (1986) (citing, inter alia, Estelle ).                        or not significant injury is
While the Eighth Amendment does not mandate comfortable                            evident. Otherwise, the Eighth
prisons, neither does it tolerate inhumane treatment of                            Amendment would permit any
those in confinement; thus, the conditions of an inmate's                          physical punishment, no matter how
confinement are subject to Eighth Amendment scrutiny.                              diabolic or inhuman, inflicting less
Farmer v. Brennan, 511 U.S. 825, 832, 114 S.Ct. 1970, 1976,                        than some arbitrary quantity of
128 L.Ed.2d 811 (1994) (citing Rhodes v. Chapman, 452 U.S.                         injury.
337, 349, 101 S.Ct. 2392, 2400, 69 L.Ed.2d 59 (1981)).

A plaintiff's constitutional right against cruel and unusual       Hudson, 503 U.S. at 9, 112 S.Ct. at 1000 (citations omitted);
punishment is violated by an “unnecessary and wanton               Velasquez v. O'Keefe, 899 F.Supp. 972, 973 (N.D.N.Y.1995)
infliction of pain.” Whitley, 475 U.S. at 319, 106 S.Ct. at 1084   (McAvoy, C.J.) (quoting Hudson, 503 U.S. at 9, 112 S.Ct.
(citations and quotations omitted); Griffen v. Crippen, 193        at 1000); see Romaine v. Rewson, 140 F.Supp.2d 204, 211
F.3d 89, 91 (2d Cir.1999). The lynchpin inquiry in deciding        (N.D.N.Y.2001) (Kahn, J.). Even a de minimis use of physical
claims of excessive force against prison officials is “whether     force can constitute cruel and unusual punishment if it is
force was applied in a good-faith effort to maintain or restore    “repugnant to the conscience of mankind.” Hudson, 503 U.S.
discipline or maliciously and sadistically for the very purpose    at 9–10, 112 S.Ct. 1000 (citations omitted).
of causing harm.” Hudson v. McMillian, 503 U.S. 1, 6–7,
112 S.Ct. 995, 998–999, 117 L.Ed.2d 156 (1992) (applying           With its focus on the harm done, the objective prong of the
Whitley to all excessive force claims); Whitley, 475 U.S. at       inquiry is contextual and relies upon “contemporary standards
320–21, 106 S.Ct. at 1085 (quoting Johnson v. Glick, 481 F.2d      of decency.” Wright, 554 F.3d at 268 (quoting Hudson, 503
1028, 1033 (2d Cir.) (Friendly, J.), cert. denied sub nom .,       U.S. at 8, 112 S.Ct. at 1000) (internal quotations omitted)).
John v. Johnson, 414 U.S. 1033, 94 S.Ct. 462, 38 L.Ed.2d 324       When addressing this component of an excessive force claim
(1973)).                                                           under the Eighth Amendment calculus, the court can consider
                                                                   the extent of the injury suffered by the inmate plaintiff. While
Analysis of claims of cruel and unusual punishment requires        the absence of significant injury is certainly relevant, it is
both objective examination of the conduct's effect and a           not dispositive. Hudson, 503 U.S. at 7, 112 S.Ct. at 999. The
subjective inquiry into the defendant's motive for his or her      extent of an inmate's injury is but one of the factors to be
conduct. Wright v. Goord, 554 F.3d 255, 268 (2d Cir.2009)          considered in determining a prison official's use of force was
(citing Hudson, 503 U.S. at 7–8, 112 S.Ct. at 999 and Blyden       “unnecessary and wanton”; courts should also consider the
v. Mancusi, 186 F.3d 252, 262 (2d Cir.1999)). As was recently      need for force, whether the force was proportionate to the
emphasized by the United States Supreme Court in Wilkins           need, the threat reasonably perceived by the officials, and
v. Gaddy, however, after Hudson the “core judicial inquiry”        what, if anything, the officials did to limit their use of force.
is focused not upon the extent of the injury sustained, but        Whitley, 475 U.S. at 321, 106 S.Ct. at 1085 (citing Johnson,
instead whether the nature of the force applied was nontrivial.    481 F.2d at 1033). “But when prison officials use force
––– U.S. – – – – , ––– S.Ct. ––––, ––– L.Ed.2d – – –               to cause harm maliciously and sadistically, ‘contemporary
– , 2010 WL 596513, at *3 (Feb. 22, 2010) (per curiam).            standards of decency are always violated .... This is true
Accordingly, when considering the subjective element of the        whether or not significant injury is evident.’ “ Wright, 554
governing Eighth Amendment test a court must be mindful            F.3d at 268–69 (quoting Hudson, 503 U.S. at 9, 112 S Ct. at
that the absence of serious injury, though relevant, does not      1000).
necessarily negate a finding of wantonness since, as the
Supreme Court has noted,



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That is not to say that “every malevolent touch by a prison
guard gives rise to a federal cause of action.” Griffen, 193        Without question, the evidentiary support for plaintiff's claim
F.3d at 91 (citing Romano v. Howarth, 998 F.2d 101, 105             is far from overwhelming. Plaintiff's assertions are sharply
(2d Cir.1993)); see also Johnson, 481 F.2d at 1033 (“Not            contradicted by defendant MacWilliams who, in a sworn
every push or shove, even if it later may seem unnecessary          affidavit filed with the court, denies punching or striking
in the peace of a judge's chambers, violates a prisoner's           Cicio. MacWilliams Aff. (Dkt. No. 35–9) ¶ 13. Each of the co-
constitutional rights”). Where a prisoner's allegations and         defendants participating in the removal of the plaintiff from
evidentiary proffers, if credited, could reasonably allow a         his cell state that they did not see MacWilliams punch or
rational factfinder to find that corrections officers used force    hit him. Additional evidence tending to contradict plaintiff's
maliciously and sadistically, however, summary judgment             allegations includes the fact that it took two minutes or less
dismissing an excessive use of force claim is inappropriate.        for the corrections officers to perform the cell extraction
Wright, 554 F.3d at 269 (citing Scott v. Coughlin, 344              and the reports of medical examinations conducted of the
F.3d 282, 291 (2d Cir.2003) (reversing summary dismissal            plaintiff shortly after the incident as well as the photographs
of prisoner's complaint, though suggesting that prisoner's          of plaintiff's face, both revealing that he sustained only a
evidence of an Eighth Amendment violation was “thin” as             slight bruise, see Gill Aff. (Dkt. No. 35–4) Exh. B (Dkt.
to his claim that a corrections officer struck him in the           No. 35–6), an injury that would also be fully consistent with
head, neck, shoulder, wrist, abdomen, and groin, where the          what would be expected to result when corrections officers
“medical records after the ... incident with [that officer]         must take a resisting inmate to the floor for the purpose
indicated only a slight injury”)) (other citations omitted).        of administering arm and leg restraints. 5 Moreover, during
                                                                    his deposition, plaintiff acknowledged that the photographs
 *7 In this case, although the injuries sustained by Cicio as       accurately depict the full extent of the injuries suffered during
a result of the incident in question were admittedly slight and     the cell extraction. Cicio Dep. Tr. at 80–81.
at least indirectly brought about by his own actions, because
the governing law requires that the evidence be viewed in the       5       Not insignificantly, during his deposition plaintiff
light most favorable to the non-moving party, I am compelled
                                                                            acknowledged his realization that his refusal to
to conclude that issues of fact preclude the entry of judgment
                                                                            obey a direct order to leave his cell would result
as a matter of law in favor of the defendants. Plaintiff has
                                                                            in the use of force to accomplish that end. See
alleged in his complaint, testified under oath at his deposition,
                                                                            Cicio Dep. Tr. at p. 37. This evidence could provide
and stated in a sworn affidavit that defendant MacWilliams
                                                                            some support for a finding that defendants' acted
punched him unnecessarily in the head several times during
                                                                            reasonably.
the cell extraction. Complaint (Dkt. No. 1) Statement of Facts
¶ 5; Cicio Dep. Tr. at pp. 52–55; Cicio Aff. (Dkt. No. 36)           *8 Plaintiff's testimony that he was beaten by MacWilliams
¶ 10. According to Cicio, when the defendants entered the           stands in contrast to the seemingly overwhelming evidence
cell and hit him with a shield he immediately dropped to            that it did not occur as he alleges. Nonetheless, the weighing
the floor. Cicio Dep. Tr. at p. 64. At that point, plaintiff        of such competing evidence, no matter how weak plaintiff's
asserts, he could no longer resist because the corrections          claim may appear, presents a question of credibility that must
officers involved had his arms pinned, and could have easily        be left to the trier of fact. Griffin, 193 F.3d at 91 (“Although
handcuffed him. Id. Instead, plaintiff claims, “[MacWilliams]       appellant's excessive force claim is weak and his evidence
just kept hitting me. He hit me several times.... When I say        extremely thin, dismissal of the excessive force claim was
maliciously and sadistically when he tells me that, when he's       inappropriate because there are genuine issues of material fact
asking me if I want to play, he's hitting me. That means he's       concerning what transpired after appellant was handcuffed
doing it for his own purpose....” Id. at pp. 52, 53–54. One         and whether the guards maliciously used force against him.”).
could argue further that from the lack of a videotape recording     I view of the foregoing, I am obligated to recommend that
of the relevant events, despite orders to Corrections Officer       defendants' motion be denied as to plaintiff's excessive use of
Facteau to follow the established protocol and record the cell      force claim.
extraction, a reasonable factfinder could infer that excessive
force was applied during the incident and that a videotape
of the events would have disclosed the punches thrown by               C. Failure To Intervene
defendant MacWilliams.                                              In addition to asserting that defendant MacWilliams beat him
                                                                    excessively, plaintiff alleges that the various other defendants


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observed the incident but stood by without intervening on              7       Copies of all unreported decisions cited in this
             6
his behalf . Defendants contend that plaintiff's failure to                    document have been appended for the convenience
intervene claim similarly lacks merit.                                         of the pro se plaintiff. [Editor's Note: Attachments
                                                                               of Westlaw case copies deleted for online display.]
6       Superintendent Wood has submitted an affidavit                  *9 Although defendants deny that MacWilliams struck
        indicating that he was not present during the                  plaintiff, I have already determined that material questions
        course of the incident, and plaintiff has offered              of fact exist with respect to this issue. As to the co-
        no evidence to the contrary. See Woods Decl.                   defendants, plaintiff testified that “they had plenty of time
        (Dkt. No. 35–13) ¶ 7. Under these circumstances,               during the whole incident to actually stop [MacWilliams]
        defendant Woods is entitled to dismissal of                    from assaulting [him].” Cicio Dep. Tr. at p. 52. Once again,
        plaintiff's claims against him on the independent              though the evidence in plaintiff's favor is weak, I find that
        basis of his lack of personal involvement in                   questions of fact preclude summary judgment with respect to
        the constitutional violation alleged. Richardson v.            plaintiff's failure to intervene claim and therefore recommend
        Goord, 347 F.3d 431, 435 (2d Cir.2003) (supervisor             that this portion defendants' motion also be denied.
        cannot be liable for damages under section 1983
        solely by virtue of being a supervisor).
                                                                          D. Eleventh Amendment
A corrections worker who, though not participating, is present
                                                                       To the extent that damages are sought against them in their
while an assault upon an inmate occurs may nonetheless bear
                                                                       official capacities, defendants' motion also seeks dismissal of
responsibility for any resulting constitutional deprivation.
                                                                       those claims on the basis of the protection afforded under of
See Anderson v. Branen, 17 F.3d 552, 557 (2d Cir.1994).
                                                                       the Eleventh Amendment.
It is well-established that a law enforcement official has an
affirmative duty to intervene on behalf of an individual whose
                                                                       The Eleventh Amendment protects a state against suits
constitutional rights are being violated in his presence by
                                                                       brought in federal court by citizens of that state, regardless
other officers. See Mowry v. Noone, No. 02–CV–6257 Fe,
                                                                       of the nature of the relief sought. Alabama v. Pugh, 438
2004 WL 2202645, at *4 (W.D.N.Y. Sept.30, 2004); see also
                                                                       U.S. 781, 782, 98 S.Ct. 3057, 3057–58, 57 L.Ed.2d 1114
Curley v. Village of Suffern, 268 F.3d 65, 72 (2d Cir.2001)
                                                                       (1978). This absolute immunity which states enjoy under the
(“Failure to intercede results in [section 1983] liability where
                                                                       Eleventh Amendment extends both to state agencies, and to
an officer observes excessive force being used or has reason
                                                                       state officials sued for damages in their official capacities
to know that it will be.”) (citations omitted). 7 In order             when the essence of the claim involved seeks recovery from
to establish liability on the part of a defendant under this           the state as the real party in interest. Richards v. State of New
theory, a plaintiff must prove the use of excessive force by           York Appellate Division, Second Dep't, 597 F.Supp. 689, 691
someone other than the individual and that the defendant               (E.D.N.Y.1984) (citing Pugh and Cory v. White, 457 U.S. 85,
under consideration 1) possessed actual knowledge of the               89–91, 102 S.Ct. 2325, 2328–29, 72 L.Ed.2d 694 (1982)).
use by another corrections officer of excessive force; 2) had          To the extent that a state official is sued for damages in his
a realistic opportunity to intervene and prevent the harm              official capacity the official is entitled to invoke the Eleventh
from occurring; and 3) nonetheless disregarded that risk by            Amendment immunity belonging to the state. Kentucky v.
intentionally refusing or failing to take reasonable measures          Graham, 473 U.S. 159, 166–67, 105 S.Ct. 3099, 3105, 87
to end the use of excessive force. See Curley, 268 F.3d at             L.Ed.2d 114 (1985); Hafer v. Melo, 502 U.S. 21, 25, 112 S.Ct.
72; see also Espada v. Schneider, 522 F.Supp.2d 544, 555               358, 361, 116 L.Ed.2d 301 (1991).
(S.D.N.Y.2007). Mere inattention or inadvertence, it should
be noted, does not rise to a level of deliberate indifference          It is unclear from plaintiff's complaint whether he has sued
sufficient to support liability for failure to intervene. See, e.g.,   defendants in their individual or official capacities, or both.
Schultz v. Amick, 955 F.Supp. 1087, 1096 (N.D.Iowa 1997)               Insofar as plaintiff's damage claims against the defendants
(noting that “liability in a § 1983 ‘excessive force’ action           are brought against them in their official government-
cannot be founded on mere negligence”) (citing, inter alia,            employee capacity they are the equivalent of claims against
Daniels v. Williams, 474 U.S. 327, 335–36, 106 S.Ct. 662,              the State of New York, and they are subject to dismissal
667, 88 L.Ed.2d 662 (1986)).                                           under the Eleventh Amendment state-employee exception.
                                                                       Daisernia v. State of New York, 582 F.Supp. 792, 798–


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99 (N.D.N.Y.1984) (McCurn, J.). I, therefore, recommend               disposition of each case”, those decision makers “should be
dismissal of plaintiff's damage claims against the defendants         permitted to exercise their sound discretion in deciding which
in their official capacities.                                         of the ... prongs of the qualified immunity analysis should be
                                                                      addressed first in light of the circumstances of the particular
                                                                      case at hand.” 10 Pearson, 555 U.S. at––––, 129 S.Ct. at
   E. Qualified Immunity
                                                                      818, 821. In other words, as recently emphasized by the
In their motion defendants also rely on the doctrine of
                                                                      Second Circuit, the courts “are no longer required to make
qualified immunity, arguing that because their actions were
                                                                      a ‘threshold inquiry’ as to the violation of a constitutional
reasonable under the circumstances they are immune from
                                                                      right in a qualified immunity context, but we are free to do
suit and plaintiff's complaint should be dismissed.
                                                                      so.” Kelsey, 567 F.3d at 61 (citing Pearson, 129 S.Ct. at 821)
                                                                      (emphasis in original).
Qualified immunity shields government officials performing
discretionary functions from liability for damages “insofar as
                                                                      8
their conduct does not violate clearly established statutory or              In making the threshold inquiry, “[i]f no
constitutional rights of which a reasonable person would have                constitutional right would have been violated were
known.” Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S.Ct.                   the allegations established, there is no necessity for
2727, 2738, 73 L.Ed.2d 396 (1982) (citations omitted). “In                   further inquiries concerning qualified immunity.
assessing an officer's eligibility for the shield, ‘the appropriate          Saucier, 533 U.S. at 201, 121 S.Ct. 2151, 150
question is the objective inquiry whether a reasonable officer               L.Ed.2d 272.
could have believed that [his or her actions were] lawful,            9
                                                                             In Okin, the Second Circuit clarified that the
in light of clearly established law and the information the
                                                                             “ ‘objectively reasonable’ inquiry is part of the
officer[ ] possessed.” Kelsey v. County of Schoharie, 567
                                                                             ‘clearly established’ inquiry”, also noting that
F.3d 54, 61 (2d Cir.2009) (quoting Wilson v. Layne, 526
                                                                             “once a court has found that the law was clearly
U.S. 603, 615, 119 S.Ct. 1692, 143 L.Ed.2d 818 (1999)).
                                                                             established at the time of the challenged conduct
The law of qualified immunity seeks to strike a balance
                                                                             and for the particular context in which it occurred,
between the need to hold government officials accountable
                                                                             it is no defense for the [government] officer who
for irresponsible conduct and the need to protect them from
                                                                             violated the clearly established law to respond that
“harassment, distraction, and liability when they perform
                                                                             he held an objectively reasonable belief that his
their duties reasonably.” Pearson v. Callahan, 555 U.S. ––––,
                                                                             conduct was lawful.” Okin, 577 F.3d at 433, n. 11
129 S.Ct. 808, 815, 172 L.Ed.2d 565 (2009).
                                                                             (citation omitted).
 *10 In Saucier v. Katz, 533 U.S. 194, 121 S.Ct. 2151, 150            10     Indeed, because qualified immunity is “an
L.Ed.2d 272 (2001), the Supreme Court “mandated a two-                       immunity from suit rather than a mere defense to
step sequence for resolving government official's qualified                  liability ...”, Mitchell v. Forsyth, 472 U.S. 511,
immunity claims.” Pearson, 555 U.S. at ––––, 129 S.Ct. at                    526, 105 S.Ct. 2806, 86 L.Ed.2d 411 (1985), the
816. The first step required the court to consider whether,                  Court has “repeatedly ... stressed the importance
taken in the light most favorable to the party asserting                     of resolving immunity questions at the earliest
immunity, the facts alleged show that the conduct at issue                   possible stage in the litigation.” Pearson, ––– U.S.
violated a constitutional right, 8 Kelsey, 567 F.3d at 61,                   at ––––, 129 S.Ct. at 815 (quoting Hunter v. Bryant,
with “the second step being whether the right is clearly                     502 U.S. 224, 227, 112 S.Ct. 524, 116 L.Ed.2d 589,
established”, Okin v. Village of Cornwall–On–Hudson Police                   –––– (1991) (per curiam)).
Dept., 577 F.3d 415, 430 n. 9 (citing Saucier ). 9 Expressly          For courts engaging in a qualified immunity analysis, “the
recognizing that the purpose of the qualified immunity                question after Pearson is ‘which of the two prongs ... should
doctrine is to ensure that insubstantial claims are resolved          be addressed in light of the circumstances in the particular
prior to discovery, the Supreme Court recently retreated from         case at hand.’ “ Okin, 577 F.3d 430 n. 9 (quoting Pearson
the prior Saucier two-step mandate, concluding in Pearson             ). “The [Saucier two-step] inquiry is said to be appropriate
that because “[t]he judges of the district courts and courts          in those cases where ‘discussion of why the relevant facts
of appeals are in the best position to determine the order of         do not violate clearly established law may make it apparent
decisionmaking [that] will best facilitate the fair and efficient     that in fact the relevant facts do not make out a constitutional


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violation at all .’ “ Kelsey, 567 F.3d at 61 (quoting Pearson,     failure to intervene claims, it was clearly established by the
129 S.Ct. at 818).                                                 incident on November 10, 2003 that inmates had an Eighth
                                                                   Amendment right to be free from excessive force and a failure
“The relevant, dispositive inquiry in determining whether a        to intervene. Thus, accepting all of [plaintiff's] allegations
right is clearly established is whether it would be clear to       about the incident as true, qualified immunity cannot be
a reasonable officer that his conduct was unlawful in the          granted ... since a reasonable person in their position at the
situation he confronted.” Saucier, 533 U.S. at 202, 121 S.Ct.      time would or should have known that the use of excessive
at 2156 (citation omitted). When deciding whether a right          force was a constitutional violation.”). As a result, I have
was clearly established at the relevant time, a court should       determined that material questions of fact exist on the issue
consider                                                           of whether defendants are entitled to qualified immunity from
                                                                   suit and therefore recommend that this portion of defendants'
                                                                   motion also be denied.
             (1) whether the right in question was
             defined with “reasonable specificity”;
                                                                   IV. SUMMARY AND RECOMMENDATION
             (2) whether the decisional law of
                                                                   Given the circumstances leading up to the forcible extraction
             the Supreme Court and the [Second
                                                                   of Cicio from his cell, it is doubtful that he will be
             Circuit] support the existence of
                                                                   viewed by a jury as a particularly sympathetic plaintiff.
             the right in question; and (3)
                                                                   Plaintiff placed his own safety as well as that of others
             whether under preexisting law a
                                                                   in jeopardy by refusing a lawful order to exit his cell,
             reasonable defendant official would
                                                                   admittedly knowing that his actions would result in the use
             have understood that his or her acts
                                                                   of force to remove him. Plaintiff's refusal to obey prison
             were unlawful.
                                                                   officials' commands, however, though plainly indefensible,
                                                                   did not provide corrections officers with a license to
                                                                   exact retribution by needlessly punching him after he was
 *11 Wright v. Smith, 21 F.3d 496, 500 (2d Cir.1994)               subdued and no longer resisting, as he has alleged. Whether
(quoting Benitez v. Wolff, 985 F.2d 662, 666 (2d Cir.1993)).       Officer MacWilliams did, in fact, needlessly punch the
The objective reasonableness test will be met, and qualified       plaintiff raises a question of credibility given the conflicting
immunity enjoyed, where government officers of reasonable          accounts now before the court. I am therefore compelled to
competence could disagree as to whether by his or her alleged      conclude that the existence material questions of fact preclude
conduct the defendant would be violating the plaintiff's rights.   the court from granting defendants' motion for summary
Okin, 577 F.3d at 433 (quoting Malley v. Briggs, 475 U.S. 335,     judgment with respect to plaintiff's excessive use of force
341, 106 S.Ct. 1092, 89 L.Ed.2d 271 (1986)). “If, on the other     and failure to intervene claims and on the issue of qualified
hand, no officer of reasonable competence would conclude           immunity. Because defendants are immune from suit in their
that the conduct in question is lawful, there is no immunity.”     official capacities, however, and plaintiff has adduced no
Okin, 577 F.3d at 433 (citing Lennon v. Miller, 66 F.3d 416,       evidence that defendant Woods was personally involved in the
420–21 (2d Cir.1995)).                                             offending conduct, defendants' motion dismissing plaintiff's
                                                                   damage claims against them in their official capacities and
Undeniably, the right of a prison inmate to be free from           all claims against defendant Woods should be granted.
excessive use of force has long been established. Russo            Accordingly, it is hereby respectfully
v. City of Bridgeport, 479 F.3d 196, 212 (2d Cir.), cert.
denied, 552 U.S. 818, 128 S.Ct. 109, 169 L.Ed.2d 24 (2007).         *12 RECOMMENDED that defendants' motion for
Since I have already determined that, if credited, plaintiff's     summary judgment (Dkt. No. 35) be GRANTED to the
testimony could support a jury finding that defendants acted       extent that plaintiff's claims against defendants in their
intentionally to harm him, it follows that a rational trier        official capacities and those against defendant Woods be
of fact could also conclude that defendants' conduct was           DISMISSED but that defendants' motion otherwise be
not objectively reasonable under the circumstances. See id.;       DENIED.
see also Dallio v. Santamore, No. 9:06–CV–1154, 2010
WL 125774, at *14 (N.D.N.Y. Jan.7, 2010) (Suddaby, J.              NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties
and Homer, M.J.) (“As to [plaintiff's] excessive force and         may lodge written objections to the foregoing report. Such


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                                                                    It is hereby ORDERED that the clerk of the court serve a
objections shall be filed with the Clerk of the Court within
                                                                    copy of this report and recommendation upon the parties in
FOURTEEN days of service of this report. FAILURE
                                                                    accordance with this court's local rules.
TO SO OBJECT TO THIS REPORT WILL PRECLUDE
APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed.R.Civ.P.
6(a), 6(d), 72; Roldan v. Racette, 984 F.2d 85 (2d Cir.1993).       All Citations

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                   2013 WL 2632600                                IT IS SO ORDERED.
      Only the Westlaw citation is currently available.
               United States District Court,
                     N.D. New York.                                         REPORT AND RECOMMENDATION

                Raszell REEDER, Plaintiff,                        ANDREW T. BAXTER, United States Magistrate Judge.
                           v.
                                                                  I. Background
               M. HOGAN, et al, Defendants.
                                                                  Plaintiff commenced this action pro se, seeking damages
               No. 9:09–CV–520 (NAM/ATB).                         for injuries resulting from various incidents occurring
                             |                                    between 2007 and 2008. (Dkt. No. 1). Liberally construed,
                       June 11, 2013.                             plaintiff's original complaint set forth several First and Eighth
                                                                  Amendment claims, including excessive force, denial of
Attorneys and Law Firms                                           medical care, failure to receive proper Ramadan meals, and
                                                                  challenges to his conditions of confinement. Id.
Raszell Reeder, Malone, NY, pro se.

Hon. Eric T. Schneiderman, Attorney General for the State         On November 16, 2009, defendants filed a motion to dismiss
of New York, Adrienne J. Kerwin, Esq., Assistant Attorney         the complaint pursuant to Fed.R.Civ.P. 12(b)(6). (Dkt. No.
General, of Counsel, Albany, NY, for Defendants.                  69). While defendants' motion to dismiss was pending,
                                                                  plaintiff filed an amended complaint (“First Amended
Justin C. Levin, Assistant Attorney General.                      Complaint”) on January 4, 2010. (Dkt. No. 84). Although
                                                                  the motion to dismiss was filed prior to the First Amended
                                                                  Complaint, the only amendment to the original complaint
                           ORDER                                  was the addition of two named defendants in place of
                                                                  two of the John/Jane Doe defendants. The new defendants
NORMAN A. MORDUE, District Judge.                                 requested that they be allowed to join the pending motion to
                                                                  dismiss. (Dkt.Nos.72, 87). The court granted these requests.
 *1 The above matter comes to me following a Report–              (Dkt.Nos.77, 88).
Recommendation by Magistrate Judge Andrew T. Baxter,
duly filed on the 17th day of May 2013. Following fourteen        On September 29, 2010, then-Chief District Judge Mordue
(14) days from the service thereof, the Clerk has sent me         granted defendants' motion in part and denied it in part.
the file, including any and all objections filed by the parties   (Dkt. No. 122). On October 8, 2010, this action was referred
herein.                                                           to Magistrate Judge Victor E. Bianchini for settlement
                                                                  proceedings, pursuant to the Pro Se Prisoner Settlement
After careful review of all of the papers herein, including       Program, and the case was stayed in all other respects until
the Magistrate Judge's Report–Recommendation, and no              the proceedings were completed. (Dkt. No. 124).
objections submitted thereto, it is
                                                                  On November 1, 2010, plaintiff filed a motion to amend,
ORDERED that:                                                     together with a Second Amended Complaint. (Dkt. No. 129).
                                                                  In light of the stay, the Court did not address the motion.
1. The Report–Recommendation is hereby adopted in its             On January 31, 2011, the stay was lifted. (Dkt. No. 133).
entirety.                                                         Before this Court could address plaintiff's November 1, 2010
                                                                  motion, plaintiff filed another motion to amend on May 4,
2. Defendant William Allan's summary judgment motion              2011, together with a Third Amended Complaint. (Dkt. No.
(Dkt. No. 162) is granted, and the complaint is dismissed in      141). In an order dated June 22, 2011, this court denied
its entirety.                                                     plaintiff's motion to amend filed on May 4, 2011, but granted,
                                                                  in part, the November 1, 2010 motion. (Dkt. No. 145).
3. The Clerk of the Court shall serve a copy of this Order upon   The operative pleadings were then plaintiff's First Amended
all parties and the Magistrate Judge assigned to this case


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Complaint, filed January 4, 2010, without the claims that         In meeting its burden, the party moving for summary
were dismissed as a result of Judge Mordue's September 29,        judgment bears the initial responsibility of informing the
2010 Order, read together with plaintiff's Second Amended         court of the basis for the motion and identifying the portions
Complaint. Defendants filed a motion for summary judgment         of the pleadings, depositions, answers to interrogatories, and
on December 27, 2011. (Dkt. No. 150). Plaintiff filed a           admissions on file, together with the affidavits, if any, which
response on January 9, 2012. (Dkt. No. 154).                      it believes demonstrate the absence of a genuine issue of
                                                                  material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323,
 *2 On September 19, 2012, Judge Mordue granted                   106 S.Ct. 2548, 91 L.Ed.2d 265 (1986); Fed.R.Civ.P. 56(c)(1)
defendants' motion for summary judgment (Dkt. No. 150),           (A). If the moving party satisfies its burden, the nonmoving
and all claims against all defendants were dismissed except       party must move forward with specific facts showing that
for plaintiff's claim based on excessive force against            there is a genuine issue for trial. Salahuddin v. Goord, 467
defendant Allan, which was denied without prejudice to            F.3d 263, 272–73 (2d Cir.2006). In determining whether there
defendant Allan filing another summary judgment motion            is a genuine issue of material fact, a court must resolve all
(Dkt. No. 161). On October 19, 2012, defendant Allan filed        ambiguities, and draw all inferences, against the movant. See
his motion for summary judgment. (Dkt. No. 162). Plaintiff        United States v. Diebold, Inc. ., 369 U.S. 654, 655, 82 S.Ct.
opposed the motion. (Dkt. No. 165).                               993, 8 L.Ed.2d 176 (1962). However, when the moving party
                                                                  has met its burden, the nonmoving party must do more than
                                                                  “simply show that there is some metaphysical doubt as to
II. Facts and Contentions                                         the material facts.” Matsushita Electric Industrial Co., Ltd. v.
Plaintiff alleges that on August 25, 2008, defendants Uhler,      Zenith Radio Corp., 475 U.S. 574, 585–86, 106 S.Ct. 1348,
Allen, Marcil, and other correction officers wanted plaintiff     89 L.Ed.2d 538 (1986); see also Anderson v. Liberty Lobby,
to come out of his cell, but he “disagreed with coming out,”      Inc., 477 U.S. at 247–48.
because “they did not come with [a] camera.” (First Am.
Compl. ¶ 24, 41). A “distraction unit” was called, bringing
a camera, so plaintiff “agreed to come out,” but defendants       IV. Excessive Force
Uhler, Allen, Marcil and others still used mace “repeatedly.”      *3 Plaintiff alleges that various correction officers and a
Id. Plaintiff was placed in full restraints and escorted to the   “distraction” unit used excessive force against him on August
SHU. (First Am. Compl. ¶ 24–25; Pl.'s Dep. 109–12 (Dkt. No.       25, 2008.
162–3)).

For the reasons below, the court recommends granting                 A. Legal Standards
defendant's motion and dismissing plaintiff's complaint in its    Inmates enjoy Eighth Amendment protection against the use
entirety.                                                         of excessive force, and may recover damages under 42 U.S.C.
                                                                  § 1983 for a violation of those rights. Hudson v. McMillian,
                                                                  503 U.S. 1, 9–10, 112 S.Ct. 995, 117 L.Ed.2d 156 (1992). The
III. Summary Judgment                                             Eighth Amendment's prohibition against cruel and unusual
Summary judgment may be granted when the moving party             punishment precludes the “unnecessary and wanton infliction
carries its burden of showing the absence of a genuine issue      of pain.” Gregg v. Georgia, 428 U.S. 153, 173, 96 S.Ct. 2909,
of material fact. Fed.R.Civ.P. 56; Thompson v. Gjivoje, 896       49 L.Ed.2d 859 (1976); Sims v. Artuz, 230 F.3d 14, 20 (2d
F.2d 716, 720 (2d Cir.1990). “Only disputes over facts that       Cir.2000). To sustain a claim of excessive force under the
might affect the outcome of the suit under governing law          Eighth Amendment, a plaintiff must establish both objective
will properly preclude summary judgment.” Salahuddin v.           and subjective elements. Blyden v. Mancusi, 186 F.3d 252,
Coughlin, 674 F.Supp. 1048, 1052 (S.D.N.Y.1987) (citation         262 (2d Cir.1999).
omitted). A dispute about a genuine issue of material fact
exists if the evidence is such that “a reasonable [fact finder]   In order to satisfy the objective element of the constitutional
could return a verdict for the nonmoving party.” Anderson v.      standard for excessive force, the defendants' conduct must be
Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91        “ ‘inconsistent with the contemporary standards of decency.’
L.Ed.2d 202 (1986).                                               ” Whitely v. Albers, 475 U.S. 312, 327, 106 S.Ct. 1078, 89
                                                                  L.Ed.2d 251 (1986) (citation omitted); Hudson, 503 U.S. at
                                                                  9. “[T]he malicious use of force to cause harm constitute[s]


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[an] Eighth Amendment violation per se[,]” regardless of            so he could be removed from his cell, the extraction team used
the seriousness of the injuries. Blyden, 186 F.3d at 263            chemical agents. Id. Even after the chemical agents were used,
(citing Hudson, 503 U.S. at 9). “The Eighth Amendment's             plaintiff refused to comply, so the extraction team entered and
prohibition of ‘cruel and unusual’ punishments necessarily          restrained plaintiff. Id.
excludes from constitutional recognition de minimis uses of
physical force, provided that the use of force is not of a sort     Plaintiff disputes the reason why the extraction team came
repugnant to the conscience of mankind.” Hudson, 503 U.S.           to his cell on August 25, 2008, and claims that he complied
at 9–10 (citations omitted). “ ‘Not every push or shove, even       with instructions and stood with his back to the door so he
if it may later seem unnecessary in the peace of a judge's          could be handcuffed. (Pl.'s Dep. 103–04). Plaintiff claims that
chambers, violates a prisoner's constitutional rights.’ ” Sims,     Sergeant Rendle started spraying mace at plaintiff without
230 F.3d at 22 (citation omitted).                                  provocation or warning. (Pl.'s Dep. 104–05). Plaintiff claims
                                                                    that when the members of the extraction unit told him to get on
The subjective element requires a plaintiff to demonstrate          the floor, he complied. (Pl.'s Dep. 105–07). Plaintiff testified
the “necessary level of culpability, shown by actions               that after he was handcuffed, no more mace was sprayed.
characterized by wantonness.” Id. at 21 (citation omitted).         (Pl.'s Dep. 117). The chemical agent affected plaintiff's eyes
The wantonness inquiry “turns on ‘whether force was applied         and his breathing, and within one minute he was taken to
in a good-faith effort to maintain or restore discipline, or        the decontamination shower, and within seven minutes, the
maliciously and sadistically to cause harm.’ “ Id. (quoting         effects from the chemical agent were gone. (Pl.'s Dep. 113,
Hudson, 503 U.S. at 7). In determining whether defendants           115). Plaintiff claims that defendant Allan is responsible for
acted in a malicious or wanton manner, the Second Circuit has       the use of excessive force against him on August 25, 2008.
identified five factors to consider: the extent of the injury and   The other officers on the extraction team are not defendants
the mental state of the defendant; the need for the application     in this action. 1
of force; the correlation between that need and the amount of
force used; the threat reasonably perceived by the defendants;      1       The Use of Force Report dated August 25, 2008,
and any efforts made by the defendants to temper the severity
                                                                            indicates that R. Rendle, M. Chagnon, N. Moore,
of a forceful response.” Scott v. Coughlin, 344 F.3d 282, 291
                                                                            E. Owen, and T. Saunders assisted on the extraction
(2d Cir.2003).
                                                                            team, none of whom were named as defendants in
                                                                            this action. (Dkt. No. 162–9 at 11, 14).
   B. Application                                                   Defendant Allan was one of the lieutenants in charge of the
Plaintiff claims that on August 25, 2008, Sergeant Rendle told      Correction Emergency Response Team (CERT) at Clinton in
plaintiff to get dressed so he could return to his cell in the      August 2008. (Dkt. No. 162–9 at 1–2). The record contains
Special Housing Unit (“SHU”). (Pl.'s Dep. 101) (Dkt. No.            a declaration by defendant Allan, who affirmed that he was
162–3). Plaintiff said that he and Sergeant Rendle exchanged        called to plaintiff's cell on August 25, 2008, and he attempted
“disrespectful statements,” and he told Sergeant Rendle, “The       to convince plaintiff to comply with orders to exit his cell
door is locked, but when I catch you, you know I'm going to         so he could be escorted back to the SHU. (Dkt. No. 162–
hurt you .” (Pl.'s Dep. 101–02). Because plaintiff refused to       9 at 2). Defendant Allan affirmed that plaintiff continued to
comply with direct orders, it was apparent that plaintiff was       ignore orders to exit his cell, and defendant Allan then ordered
not going to voluntarily leave his cell, and an extraction team     Sergeant Rendle to use force to extract plaintiff from his cell.
was called.                                                         Sergeant Rendle sprayed two one-second bursts of chemical
                                                                    agents a total of five times at plaintiff. (Id.). Defendant Allan
 *4 Sergeant Rendle's report states that when he returned to        affirmed that even after the chemical agents were sprayed,
plaintiff's cell with the extraction team, plaintiff was standing   plaintiff still would not exit his cell. (Id.). The extraction
in his cell with something in his right hand. (Dkt. No. 162–9       team then entered plaintiff's cell and using body holds, placed
at 18). Sergeant Rendle ordered plaintiff several times to drop     plaintiff in restraints and escorted him to the decontamination
what he was holding in his hand, after which plaintiff threw        shower. (Id.). Plaintiff was escorted to the SHU, where he was
it against the door of the cell and retrieved what appeared         examined by defendant Nurse Farnan, who found no injuries.
to Sergeant Rendle to be feces from the toilet. Id. Sergeant        (Dkt. No. 162–9 at 15).
Rendle's report indicates that plaintiff continued to refuse to
comply with direct orders. Id. In an effort to subdue plaintiff


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                                                                     to subdue plaintiff, allowing the extraction team to enter his
Defendant Allan submitted a video of the cell extraction that
                                                                     cell and restrain him. Plaintiff was repeatedly warned and
occurred on August 25, 2008. 2 (Dkt. No. 159). The video
                                                                     refused to comply with the guards' orders. He then escalated
is approximately 30 minutes long and documents the cell
                                                                     his defiance by throwing feces at the door of his cell.
extraction team at plaintiff's cell through when he arrives at
his new cell. (Id.). The video depicts that when the extraction
                                                                     No reasonable finder of fact would credit plaintiff's claims
team arrives at the cell, plaintiff is given one last direct order
                                                                     that he was compliant with orders to exit his cell peacefully.
to exit the cell, and he is told to come to the front of the
                                                                     Defendant Allan did not authorize the use of force to
cell so he can be handcuffed through the food slot. (Id. at
                                                                     subdue plaintiff without provocation. The defendants used
2:32:30). Plaintiff approaches the door to the cell, and one
                                                                     necessary force to restore discipline and subdue plaintiff,
of the extraction team asks what is in plaintiff's hand. (Id. at
                                                                     who was aggressively refusing to comply with orders.
2:32:47). Plaintiff is repeatedly told to drop what he has in his
                                                                     In addition, defendants' actions indicate that their use of
hand. (Id. at 2:32:48, 50, 52, 55). At that point, plaintiff backs
                                                                     chemical agents was in response to the perceived threat
away from the door and goes to the floor. (Id. at 2:32:54).
                                                                     that plaintiff aggressively refuse to comply. Defendants have
He is again told repeatedly to drop what he has in his hand
                                                                     shown that there is no issue of fact as to either of the elements
(Id. at 2:32:58; 2:33:00, 04, 06, 09, 22, 24, 30, 54, 55, 56;
                                                                     of an Eighth Amendment violation. Accordingly, the claim
2:34:11, 22, 39, 42, 50), and get away from the toilet (Id.
                                                                     against defendant Allan should be dismissed. See, e.g., Alston
at 2:34:37; 2:35:08, 11, 29, 32). A member of the team is
                                                                     v. Butkiewicus, No. 3:09–CV207, 2012 WL 6093887, 2012
heard to remark, “He almost got you that time,” apparently in
                                                                     U.S. Dist. LEXIS 173770, at *40–42 (D.Conn. Dec. 7, 2012)
reference to plaintiff throwing material at the cell door. (Id. at
                                                                     (use of chemical agent did not constitute excessive force
2:35:05). After plaintiff is subdued by the extraction team, the
                                                                     when inmate refused to comply with direct orders); Carolina
camera pans over the door, showing where what appears to be
                                                                     v. Pafumi, No. 3:12–cv–163, 2013 WL 1673108, 2013 U.S.
feces have been thrown at the door. (Id. at 2:36:49–53). The
                                                                     Dist. LEXIS 55209, at *8–12 (D.Conn. April 17, 2013) (use
camera also shows a toilet that has been used, but not flushed.
                                                                     of chemical agent to subdue noncompliant inmate did not
(Id. at 2:36:55–57).
                                                                     constitute excessive force); Green v. Morse, 2009 U.S. Dist.
                                                                     LEXIS 42368, at *38, 42, 2009 WL 1401642 (use of chemical
2       The court may rely on the video of the relevant              agent on noncompliant inmate did not constitute excessive
        events in concluding that no reasonable fact finder          force).
        could credit the plaintiff's inconsistent claims
        about the incident. See, e.g., Kalfus v. New York            WHEREFORE, based on the findings above, it is
        and Presbyterian Hosp., 476 F. App'x 877, 880–
        81 (2d Cir.2012) (the video demonstrated that                RECOMMENDED, that defendant's summary judgment
        plaintiff resisted arrest by refusing to stand up            motion (Dkt. No. 162), be GRANTED, and the complaint
        or be handcuffed, and that the patrolmen used                DISMISSED IN ITS ENTIRETY.
        only reasonable force to overcome his resistance;
        no reasonable fact finder could conclude that                Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(c), the
        defendants applied excessive force); Green v.                parties have fourteen (14) days within which to file written
        Morse, 00–CV–6533, 2009 WL 1401642, 2009                     objections to the foregoing report. Such objections shall be
        U.S. Dist. LEXIS 42368, at *27 (W.D.N.Y. May                 filed with the Clerk of the Court. FAILURE TO OBJECT
        18, 2009) (this court may rely on the video                  TO THIS REPORT WITHIN FOURTEEN DAYS WILL
        evidence clearly showing that some use of force              PRECLUDE APPELLATE REVIEW. Roldan v. Racette,
        was necessary to grant summary judgment and                  984 F.2d 85, 89 (2d Cir.1993) (citing Small v. Secretary of
        dismiss plaintiff's excessive force claim) (citations        Health and Human Services, 892 F.2d 15 (2d Cir.1989)); 28
        omitted).                                                    U.S.C. § 636(b)(1); Fed.R.Civ.P. 6(a), 6(e), 72.
 *5 The video corroborates that when plaintiff approached
the door, he was not complying with orders, but instead had
                                                                     All Citations
what was apparently feces in his hand. When he was asked
to drop what he was holding, plaintiff moved away from the           Not Reported in F.Supp.2d, 2013 WL 2632600
door. Defendant Allan authorized the use of chemical agents



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                                                                  who were allegedly deliberately indifferent to detainee's
                   2002 WL 31413804                               medical needs in violation of the Fourteenth Amendment;
      Only the Westlaw citation is currently available.           and (7) New York statutory requirement that notice of claims
       United States District Court, S.D. New York.               against city employee had to be filed with city comptroller,
                                                                  as condition precedent to maintaining tort claims against
            Rodney BOOMER, Plaintiff,                             employees, applied only to claims against employees for
                       v.                                         which employees had right to indemnification from city.
 Gary M. LANIGAN, Commissioner of N.Y.C. D.O.C.S.;
                                                                  Motions granted in part, and denied in part.
  Warden Grant, OBCC/CPSU; Deputy Warden Angelo
     Rivituso, OBCC/CPSU; Deputy Moran, OBCC/
      CPSU; Captain Randy Wheeler “140”, OBCC/
     CPSU; C.O. Andre White “9256”, OBCC/CPSU;                     West Headnotes (9)
    C.O. Ervin Weatherl “14416”, OBCC/CPSU; C.O.
    Ronnie Santana “14985”, OBCC/CPSU; C.O. Elliot                 [1]    Constitutional Law            Safety and security
      Martin “122227”, OBCC/CPSU; Peter Conquet
                                                                          Prisons        Use of force
     “15369”, OBCC/CPSU; Dr. Patel, M.D., OBCC/
                                                                          Correction officer did not use excessive force, in
      CPSU; and St. Barnabas Hospital, Defendants.
                                                                          violation of due process clause of the Fourteenth
                    No. 00 Civ. 5540(DLC)                                 Amendment, when he sprayed chemical agent
                               |                                          at pre-trial detainee, after detainee refused to
                        Oct. 25, 2002.                                    follow repeated orders to remove his arm from
                                                                          food slot in his cell; officer's actions were
Synopsis                                                                  not characterized by wantonness, in that officer
Pre-trial detainee brought pro se action against city prison              used minimal, one-second burst of agent, after
officials, physician, and hospital, alleging excessive force              receiving authorization from physician to do so.
and deprivation of medical treatment in violation of the                  U.S.C.A. Const.Amend. 14.
Fourteenth Amendment in connection with a cell extraction.
On defendants' motions for summary judgment, the District                 2 Cases that cite this headnote
Court, Cote, J., held that: (1) correction officer did not use
excessive force, in violation of due process clause of the         [2]    Constitutional Law            Safety and security
Fourteenth Amendment, when he sprayed chemical agent                      Prisons        Use of force
at detainee, after detainee refused to follow repeated orders
                                                                          Cell extraction team did not use excessive
to remove his arm from food slot in his cell; (2) cell
                                                                          force, in violation of the due process clause
extraction team did not use excessive force, in violation
                                                                          of the Fourteenth Amendment, when extracting
of the due process clause of the Fourteenth Amendment,
                                                                          pre-trial detainee from his cell; video tape
when extracting detainee from his cell; (3) fact questions as
                                                                          of incident showed that team did not act
to whether officials ignored requests by detainee, who was
                                                                          with wantonness and that their use of force
known to be an epileptic, for medical care, and thus whether
                                                                          did not constitute objectively sufficient serious
they were deliberately indifferent to detainee's medical needs,
                                                                          deprivation of detainee's constitutional rights.
precluded summary judgment on detainee's due process claim
                                                                          U.S.C.A. Const.Amend. 14.
under the Fourteenth Amendment; (4) fact question as to
whether physicians were deliberately indifferent to detainee's            8 Cases that cite this headnote
medical needs, precluded summary judgment on detainee's
due process claim under the Fourteenth Amendment; (5) fact
questions as to whether officials prevented detainee from          [3]    Civil Rights       Criminal law enforcement;
pursuing grievance, precluded summary judgment on issue                   prisons
of whether detainee exhausted his administrative remedies                 Summary Judgment               Prisons and jails
under Prison Litigation Reform Act (PLRA); (6) defense
of qualified immunity was not available to any defendants,


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        Fact questions as to whether city prison officials         staff failed to handle grievance properly,
        ignored requests by pre-trial detainee, who was            precluded summary judgment on issue of
        known to be an epileptic, for medical care,                whether detainee sufficiently exhausted his
        and thus as to whether they were deliberately              administrative remedies under Prison Litigation
        indifferent to detainee's medical needs,                   Reform Act (PLRA) before bringing due process
        precluded summary judgment on detainee's due               claim under the Fourteenth Amendment against
        process claim under the Fourteenth Amendment.              officials and physicians. U.S.C.A. Const.Amend.
        U.S.C.A. Const.Amend. 14.                                  14; 42 U.S.C.A. § 1997e(a).

        9 Cases that cite this headnote                            1 Case that cites this headnote


 [4]    Civil Rights      Criminal law enforcement;          [7]   Civil Rights      Prisons, jails, and their
        prisons                                                    officers; parole and probation officers
        Summary Judgment           Prisons and jails               Defense of qualified immunity was not available
        Fact question as to whether city hospital                  to any prison official or physicians, who were
        physician's authorization of use of chemical               allegedly deliberately indifferent to pre-trial
        agent on pre-trial detainee, who was an                    detainee's medical needs in violation of the due
        epileptic, constituted deliberate indifference to          process clause of the Fourteenth Amendment;
        detainee's medical needs, precluded summary                it was clearly established at time of alleged
        judgment on detainee's due process claim                   conduct that deliberate indifference to inmate's
        under the Fourteenth Amendment. U.S.C.A.                   medical needs violated inmate's constitutional
        Const.Amend. 14.                                           rights. U.S.C.A. Const.Amend. 14; 42 U.S.C.A.
                                                                   § 1983.
        8 Cases that cite this headnote
                                                                   13 Cases that cite this headnote

 [5]    Civil Rights      Criminal law enforcement;
        prisons                                              [8]   Health       Particular procedures
        Summary Judgment           Prisons and jails               Under New York law, pre-trial detainee,
                                                                   who was epileptic, was required to present
        Fact question as to whether physicians were
                                                                   expert medical opinion evidence to support his
        deliberately indifferent to pre-trial detainee's
                                                                   medical malpractice claim against hospital and
        medical needs, in failing to treat extreme
                                                                   physicians, arising out of their treatment of him
        pain that detainee was experiencing following
                                                                   in connection with cell extraction.
        his epileptic seizure, precluded summary
        judgment on detainee's due process claim                   1 Case that cites this headnote
        under the Fourteenth Amendment. U.S.C.A.
        Const.Amend. 14.
                                                             [9]   Municipal Corporations            Applicability in
                                                                   particular cases
 [6]    Civil Rights      Criminal law enforcement;                New York statutory requirement that notice of
        prisons                                                    claims against city employee had to be filed
                                                                   with city comptroller as condition precedent
        Summary Judgment           Prisons and jails
                                                                   to maintaining tort claims against employees,
        Fact questions as to whether pre-trial detainee            applied only to claims against employees for
        was unable to appeal prison official's refusal             which employees had right to indemnification
        to accept his grievance, asserting that officials          from city. McKinney's General Municipal Law §
        and physicians were deliberately indifferent               50-k.
        to his medical needs, because of restrictions
        imposed on him, and as to whether prison                   1 Case that cites this headnote



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                                                                  walks with a cane because of an injury sustained during a fight
                                                                  with an inmate. Boomer also has a long history of back pain
                                                                  for which he has received physical therapy.
Attorneys and Law Firms

Rodney Boomer, Elmira, NY, pro se.                                1      Boomer has submitted numerous papers in
                                                                         connection with summary judgment motions filed
Concepcion A. Montoya, Corporation Counsel of the City of
                                                                         in the instant action as well as another action
New York, New York, NY, for defendants Lanigan, Grant,
                                                                         before this Court, Boomer v. Lanigman, et al., 00
Rivituso, Moran, Wheeler, White, Weather, Santana, Martin,
                                                                         Civ. 4709(DLC). In connection with the instant
and Conquet.
                                                                         action, Boomer has submitted two hand-written
Andrew Zwirling, Garbarini & Scher, New York, NY, for                    versions of his opposition under the title “Response
defendants Patel and St. Barnabas Hospital.                              in opposition to Defendants' Summary Judgment
                                                                         [motion].” The versions appear to be verbatim
                                                                         copies, although the pagination is different.
                                                                         Boomer has also submitted a sur-reply under
                  OPINION AND ORDER
                                                                         the title “Continuation Attachment Opposition
COTE, J.                                                                 response of plaintiff[']s (3) three part response
                                                                         to both counsels['] Summary Judgments” and a
 *1 Plaintiff Rodney Boomer (“Boomer”), who is proceeding                further “Declaration of Rodney Boomer.”
pro se, brought this action on July 26, 2000, pursuant to
                                                                  On September 14, 1999, Boomer was a pre-trial detainee
42 U.S.C. § 1983 (“Section 1983”), alleging excessive force
                                                                  housed in an isolation cell in the CPSU. At approximately
and deprivation of medical treatment in violation of the
                                                                  noon on September 14, Boomer began feeling “dizzy
Fourteenth Amendment in connection with a cell extraction
                                                                  headed,” which he described in his deposition testimony as
which occurred on the night of September 14, 1999, at
                                                                  “the same feeling when I'm about to go into a seizure.”
the Central Punitive Segregation Unit (“CPSU”) of the Otis
                                                                  In his verified second amended complaint, Boomer states
Bantum Correctional Center at Riker's Island, where Boomer
                                                                  that, at approximately 2:00 p.m. and again at approximately
was a pre-trial detainee. Boomer also alleges assault, battery,
                                                                  7:00 p.m., he told corrections officers, whom he is unable
and negligence under state law. On August 29, 2001, Dr.
                                                                  to identify, of his condition. The DOCS Defendants state
Patel (“Patel”) and St. Barnabas Hospital (“St.Barnabas”)
                                                                  that they have no record that Boomer informed anyone of
(collectively, the “Hospital Defendants”) moved to dismiss.
                                                                  his condition. According to Boomer, the corrections officer
By Opinion and Order dated December 17, 2001, this
                                                                  to whom he spoke at approximately 7:00 p.m. left the food
Court denied that motion. Boomer v. Lanigan, No. 00 Civ.
                                                                  slot of his cell door open and told him “to get some air”
5540(DLC), 2001 U.S. Dist. LEXIS 20838 (S.D.N.Y.2001).
Following discovery, Gary Lanigan (“Lanigan”), L. Grant           until medical personnel arrived. 2 In his second amended
(“Grant”), Randy Wheeler (“Wheeler”) and Andre White              complaint, Boomer states that no medical staff visited his
(“White”), Ervin Weatherl (“Weatherl”), Ronnie Santana            cell. Boomer thereafter refused to remove his arm from the
(“Santana”), Elliot Martin (“Martin”), and Peter Conquet          food slot of his cell door and was generally being loud and
(“Conquet”) (collectively, the “DOCS Defendants”) moved           disruptive.
for summary judgment. The Hospital Defendants also moved
for summary judgment. For the reasons stated below,               2      The DOCS Defendants state that at approximately
defendants' motions for summary judgment are granted in part             8:00 p.m., Boomer was visited by Dr. Okechukwu
and denied in part.                                                      Igwe (“Igwe”) of St. Barnabas. Igwe's notes, which
                                                                         are largely illegible, record that Boomer refused
                                                                         treatment at that time.
                      BACKGROUND                                  At approximately 9:45 p.m., a cell extraction team consisting
                                                                  of Captain Wheeler and Corrections Officers White,
The following facts are undisputed or as described by Boomer      Weatherl, Santana, Martin, and Conquet (the “Extraction
unless noted otherwise. 1 Boomer has a history of epilepsy        Team”) assembled outside Boomer's cell. Boomer states that
resulting from a head injury sometime in 1996 or 1997, and        he attempted to explain to Wheeler that he was epileptic


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and feeling sick, but that Wheeler “swiftly cut [him] off        At approximately 11:04 p.m., the video tape resumed and
by spraying chemical agent into [his] eyes, face and hair.”      continued to record until 11:33 p.m. Wheeler stated to the
A video tape made of the incident, which begins at 9:45          video camera that Boomer had been examined by medical
p.m., shows that Wheeler gave several orders to Boomer to        personnel and was being escorted to the “housing area.”
remove his left arm from the food slot, but Boomer refused       Boomer appears on the tape standing in the shower cell and
to do so. Wheeler then stated to the video camera that he        does not appear to be in any pain. He waited patiently and
received authorization from Assistant Deputy Warden Moran        watched through the shower cell door as the Team attempted
to remove plaintiff from his cell, and that he had received      to determine which key opened the door. Upon opening the
authorization from Igwe to use a chemical agent, but not an      door, the video tape shows the Team escorting Boomer to an
electronic immobilization shield. 3                              elevator and then to another floor. Boomer walked without
                                                                 any apparent pain and appeared to be calm.
3      The use of an electronic immobilization shield
                                                                 The video tape shows that when the Team then attempted
       was contraindicated because of Boomer's history of
                                                                 to insert Boomer into another holding cell, Boomer became
       epilepsy.
                                                                 physically aggressive, threatening and spitting at a corrections
 *2 According to the video tape evidence, at approximately       officer not pictured. The tape shows that a scuffle ensued
9:49 p.m., the Team opened the door of Boomer's cell slightly    between Boomer and the Team, which consisted essentially
and Wheeler sprayed a one-second burst of a chemical agent.      of the Team leaning into Boomer to hold him against the wall
The Team then closed the door and waited for the chemical        until he settled down. While they were holding him against
agent to take effect. Wheeler occasionally attempted to guide    the wall, various Team members sought to talk Boomer into
Boomer's arm back through the food slot. At approximately        voluntarily entering the holding cell. The video tape further
9:53, Boomer began to slap his hand against the outside of the   shows that after a few minutes, at approximately 11:12 p.m.,
cell door below the food slot. At approximately 9:55 p.m., his   the Team pushed him into the holding cell, and that Boomer
left arm began to shake spasmodically.                           never lost his footing when they did so. The video tape shows
                                                                 that inside the cell, the Team attempted to uncuff Boomer,
In his second amended complaint, Boomer states that Wheeler      but he resisted. The Team responded by again leaning against
ordered the Team to open and close the cell door several         Boomer, who was now seated on a bench in the cell, to hold
times while he was having convulsions and his arm was            him in place until he again settled down. The video tape shows
still hanging out of the food slot. According to the video       that at approximately 11:15 p.m., the Team ceased leaning
tape evidence, however, the door to Boomer's cell remained       against Boomer. They stood around him with only their hands
closed until approximately 9:56 p.m., when the Team entered      resting on his shoulders and talked with him as he said that he
Boomer's cell, handcuffed Boomer, who was apparently             would not stay in the holding cell and wanted to be returned
unconscious, and carried him to an elevator, took him to         to his original cell.
another floor of the CPSU, and placed him on a stretcher. At
approximately 10:04 p.m., the Team removed Boomer from            *3 The tape shows that at 11:22 p.m., Wheeler attempted
the stretcher and carried him to a shower cell. At 10:05, the    to explain to Boomer why he would remain in the holding
video tape of the incident temporarily stops.                    cell. Boomer responded with aggressive language. The Team
                                                                 continued to stand around Boomer until 11:30 p.m., when
Igwe states that at approximately 10:25 p.m., he examined        they escorted him to the medical clinic. Boomer walked
Boomer at the shower area because Boomer refused to go to        without any apparent pain or injury. At 11:33 p.m., Boomer
the examination room. Boomer states in his second amended        was inserted without incident into a holding cell in the
complaint that although he was experiencing “severe head         medical clinic. The tape then temporarily stops.
and neck pain and could have suffered a serious life
threatening head concus[s]ion or brain damage[ ] during          At 12:18 p.m., the video tape resumes. At 12:20 a.m. on
his extreme violent seizure attack,” Igwe did not conduct        September 15, Boomer was escorted out of the holding cell in
an examination of him. Igwe's notes indicate that Boomer         the medical clinic to an examining table. The tape shows that
refused a “full evaluation.” There is no video tape evidence     at 12:21 a.m., Boomer was secured to the examining table.
of Igwe's examination.                                           The tape then temporarily stops.




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At 12:25 a.m., Boomer was examined by Patel. This                            one of my arms remained extended
examination is not recorded on tape. In his second amended                   out of [the] food slot. I was flopping
complaint, Boomer states that he was “only verbally                          around violently during my seizure
interviewed but once again obtain[ed] no medical treatment                   attack and one could eas[i]ly see that
or exam” with regard to his epileptic condition.                             I was undergoing an epileptic attack.
                                                                             However, this captain continued to
The video tape resumes at 12:27 a.m. It shows the Team                       order the cell door open while one
waiting for the examination to conclude. At 12:28 a.m., the                  of my arms remained extended out
tape temporarily stops. It resumes at 12:29 a.m. and shows the               of [the] slot. They continued their
Team escorting Boomer to his original cell without incident.                 assault while I remained unconscious
At 12:32 a.m., the tape recording concludes.                                 and undergoing my seizure attack. I
                                                                             was taken to CPSU clinic and verbally
Boomer states in his second amended complaint that on                        interviewed by [a] doctor. I received
September 20, 1999, he filed an “institutional grievance                     no examination despite th[e] fact that
complaint” with respect to the cell extraction of September                  I told him my back, head, [and] neck
14, 1999. Boomer states, however, that the grievance was                     was hurting severely.
returned to him and that he was “informed that [the CPSU]
Grievance program do[es] not handle matters of staff assault,
misuse of force and lack or denial in medical issues.” Boomer
                                                                  *4 The DOCS Defendants' records do not reflect any filing
does not specify who gave him this information. In this
                                                                 of a grievance by Boomer in connection with the September
connection, Boomer has submitted an affidavit by inmate
                                                                 14, 1999 extraction. Their records show that Boomer filed
Ronald Henderson (“Henderson”) in which Henderson states
                                                                 three grievances from September 1999 to August 2000, and
that DOCS' staff frequently mishandles inmate grievances.
                                                                 that none of these addressed the September 14 extraction.

In his “Second Opposition,” Boomer states that he is unable
                                                                 Boomer admits in his “Second Opposition” that he took
to submit a copy of the grievance because his legal documents
                                                                 no action to appeal the CPSU staff's refusal to accept his
were taken from him while he was an inmate at Sing Sing
                                                                 grievance. Boomer states, however, that he “was powerless in
Correctional Facility. In connection with the St. Barnabas
                                                                 this matter because he was CPSU-confined (23) twenty-three
Defendants' Motion to Dismiss, however, Boomer did submit
                                                                 hours a day with absolutely no available hands on access to
a copy of the grievance that he states he filed. See Boomer,
                                                                 IGP [Inmate Grievance Procedure] Department, committee,
2001 U.S. Dist. LEXIS 20838, at *7. In that grievance, which
                                                                 warden or IGP staff person.”
Boomer erroneously dated September 14, 1998, Boomer
writes that he informed a corrections officer that he was
                                                                 In his second amended complaint, Boomer further states that
epileptic and feeling ill. Thereafter,
                                                                 on September 21, an “investigator from the New York City
                                                                 Commission Department of Investigation for DOCS” named
                                                                 Willoughby (“Willoughby”) visited Boomer's cell to obtain a
            [t]he officer left my food slot                      written statement regarding the cell extraction. Boomer states
            open[ ] telling me to get some air                   that Willoughby also interviewed an inmate who witnessed
            while he contact[s the] medical unit.                the extraction.
            Medical staff never showed up, and
            approximately (30) minutes later a[n]                Boomer states that he contacted Jonathan Chasan (“Chasan”)
            unknown captain and several officers                 of the New York City Prisoners' Rights Project and that
            showed up in full riot gear. As I started            Chasan obtained the video tape recordings of the September
            to explain[ ] to [the] captain that I am             14 cell extraction. Boomer states that he did not thereafter
            feeling ill and that I am a[n] epileptic             receive any more information from either Willoughby or
            person, [t]his captain swiftly cut me                Chasan.
            off by spraying chemical agent in my
            eyes, nose and face. I immediately
            went into a violent seizure attack while



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                                                                  remedies, that they are immune from liability under the
                                                                  doctrine of qualified immunity, and, with respect to the state
                          Standard
                                                                  law claims, that Boomer failed to file a notice of claim with
Summary judgment may not be granted unless the                    the Comptroller of the City of New York. Each of these issues
submissions of the parties, taken together, “show that there      is considered in turn.
is no genuine issue as to any material fact and that the
moving party is entitled to a judgment as a matter of law.”
                                                                  I. Federal Claims
Rule 56(c), Fed.R.Civ.P. The substantive law governing the
case will identify those issues that are material, and “only      A. Excessive Force
disputes over facts that might affect the outcome of the suit      [1] “[T]he right of pretrial detainees to be free from
under the governing law will properly preclude the entry          excessive force amounting to punishment is protected by
of summary judgment.” Anderson v. Liberty Lobby, Inc.,            the Due Process Clause of the Fourteenth Amendment.”
477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1987).         United States v. Walsh, 194 F.3d 37, 47 (2d Cir.1999). In
The moving party bears the burden of demonstrating the            the Second Circuit, the same standard applies to excessive
absence of a material factual question, and in making this        force claims under the Fourteenth Amendment as applies
determination the Court must view all facts in the light most     under the Eighth Amendment. Id. at 48. To establish a
favorable to the nonmoving party. Abdu–Brisson v. Delta Air       constitutional violation under either amendment, an inmate
Lines, Inc., 239 F.3d 456, 465–66 (2d Cir.), cert. denied, 534    must meet both a subjective and an objective requirement.
U.S.993, 122 S.Ct. 460, 151 L.Ed.2d 378 (2001). When the          Id. at 48–49. “[T]he subjective requirement is satisfied if
moving party has asserted facts showing that the nonmovant's      the defendant has a sufficiently culpable state of mind,
claims cannot be sustained, the opposing party must “set          shown by actions characterized by wantonness.” Id. at 50
forth specific facts showing that there is a genuine issue for    (citations omitted). The core of the inquiry is “whether force
trial,” and cannot rest on the “mere allegations or denials”      was applied in a good-faith effort to maintain or restore
of his pleadings. Fed.R.Civ.P. 56(e); see also Goenaga v.         discipline, or maliciously and sadistically to cause harm.”
March of Dimes Birth Defects Found., 51 F.3d 14, 18 (2d           Hudson v. McMillan, 503 U.S. 1, 7, 112 S.Ct. 995, 117
Cir.1995). In deciding whether to grant summary judgment,         L.Ed.2d 156 (1992). As to the objective requirement, it is
this Court must, therefore, determine (1) whether a genuine       well established in this Circuit that “[n]ot every push or
factual dispute exists based on the evidence in the record,       shove, even if it may later seem unnecessary in the peace
and (2) whether the facts in dispute are material based on the    of a judge's chambers, violates a prisoner's constitutional
substantive law at issue. Where, as here, a party is proceeding   rights.” Boddie v. Schnieder, 105 F.3d 857, 862 (2d Cir.1997)
pro se, this Court has an obligation to “read [the pro se         (citation omitted). The plaintiff must show that the violation is
party's] supporting papers liberally, and ... interpret them to   “objectively sufficiently serious or harmful enough,” Walsh,
raise the strongest arguments that they suggest.” McPherson       194 F.3d at 50, and not de minimis, id.
v. Coombe, 174 F.3d 276, 280 (2d Cir.1999). 4
                                                                  Boomer argues that the DOCS Defendants used excessive
4                                                                 force when they (1) used a chemical agent on him, (2)
       Both the Court and the defendants provided
       Boomer with a formal notice of the Rule 56                 opened and closed his cell door repeatedly while he was
       requirements for opposing defendants' summary              experiencing a seizure, (3) entered his cell, and (4) pushed
       judgment motions.                                          him into the holding cell. With respect to the use of the
                                                                  chemical agent, Boomer asserted in his second amended
                                                                  complaint that Wheeler used the spray as he was attempting
                       DISCUSSION                                 to explain his medical problems to him. Boomer has failed
                                                                  to address, however, the video tape evidence that covers the
 *5 Boomer argues that the defendants used excessive force        approximately four minutes before the spray was used. It
against him and were deliberately indifferent to his medical      shows, and Boomer has not disputed, that the Wheeler used
needs. Boomer further argues that defendants committed            a chemical agent only after repeated orders to Boomer that
assault and battery on him and were negligent in their            he remove his arm from the food slot. In his opposition,
medical care of him. The defendants deny these claims and         Boomer argues that Wheeler simply ordered him to close his
respond that Boomer failed to exhaust his administrative          food slot without asking him why he refused to do so, and


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that this somehow constitutes excessive force. Boomer has            rights are at least as great as those of a convicted prisoner.”
failed to explain, however, why he should not have obeyed            Weyant, 101 F.3d at 856.
a repeated order of a corrections officer or why Wheeler,
the commanding officer of a cell extraction team who had             “[T]he official custodian of a pretrial detainee may be found
received authorization to extract Boomer from his cell, was          liable for violating the detainee's due process rights if the
obligated to listen to Boomer's complaint.                           official denied treatment needed to remedy a serious medical
                                                                     condition and did so because of his deliberate indifference
 *6 The DOCS Defendants have also shown, and Boomer                  to that need.” Id. To prove a violation, a plaintiff must show
has not disputed, that Wheeler used a minimal, one-second            deliberate indifference under an objective and a subjective
burst of the agent, after receiving authorization to do so           test. Hathaway v. Coughlin, 99 F.3d 550, 553 (2d Cir.1996).
from Igwe. Given these undisputed facts, Boomer has not              To satisfy the objective prong, the alleged deprivation must be
presented evidence to raise an issue of fact that, as a subjective   of a “sufficiently serious” condition, one that “may produce
matter, the DOCS Defendants' actions were “characterized by          death, degeneration, or extreme pain.” Morales v. Mackalm,
wantonness.”                                                         et al., 278 F.3d 126, 132 (2d Cir.2002) (citation omitted).
                                                                     The subjective prong requires the plaintiff to demonstrate that
 [2] With respect to the other incidents which Boomer alleged        the official acted with a sufficiently culpable state of mind,
in his pleadings constituted excessive force, Boomer has             which must be “the equivalent of criminal recklessness,”
failed to address the video tape evidence that the Team did          namely, when the official “knows of and disregards an
not open and close his cell door repeatedly, that the Team           excessive risk to inmate health or safety.” Hathaway, 99
entered his cell when he was unconscious and applied no              F.3d at 553 (citation omitted). Mere negligence or medical
force whatsoever to him at that time, and that when the Team         malpractice does not constitute deliberate indifference, id.,
pushed him into the holding cell, it did so with minimal force       nor do mere differences of opinion between the prisoner and
and only after holding him in place for several minutes in an        the defendants concerning the proper course of treatment.
effort to settle him down. In his submissions in opposition to       Chance v. Armstrong, 143 F.3d 698, 703 (2d Cir.1998).
the motions for summary judgment, Boomer has essentially             Rather, officials must “intentionally deny[ ] or delay[ ] access
abandoned his excessive force allegations with respect to            to medical care or intentionally interfere with the treatment
these incidents. He has presented no evidence in response to         once prescribed.” Estelle, 429 U.S. at 104–05.
the DOCS Defendants' video tape or motion papers. Given
this undisputed evidence, Boomer cannot establish that the            *7 Boomer argues that defendants were deliberately
Team acted with “wantonness” or that their use of force              indifferent to his medical needs when they (1) failed to
constituted an objectively sufficiently serious deprivation of       provide him with medical attention after he initially reported
his constitutional rights. For these reasons, Boomer's claims        feeling dizzy, (2) used a chemical agent upon him despite his
of excessive force must be dismissed.                                epileptic condition, (3) failed thoroughly to examine him in
                                                                     the shower cell, and (4) failed thoroughly to examine him at
                                                                     12:25 a.m.
B. Deliberate Indifference to Medical Needs
 [3] While a convicted prisoner's right to medical care stems        With respect to the first issue, Boomer has raised a material
from the Eighth Amendment's ban on cruel and unusual                 question of fact as to whether he informed corrections
punishments, see Farmer v. Brennan, 511 U.S. 825, 827,               personnel that he was feeling dizzy at 2:00 p.m. and 7:00 p.m.
114 S.Ct. 1970, 128 L.Ed.2d 811 (1994), the analogous right          on September 14, and as to whether any medical personnel
of a pretrial detainee arises under the Due Process Clause           visited his cell before the Team approached his cell at
of the Fourteenth Amendment. Henderson v. Sheahan, 196               approximately 9:45 p.m. Ignoring requests for medical care
F.3d 839, 845 n. 2 (7th Cir.1999); Lopez v. LeMaster, 172            made by a prisoner known to be an epileptic may constitute
F.3d 756, 764 (10th Cir.1999); Weyant v. Okst, 101 F.3d              deliberate indifference to serious medical needs, particularly
845, 856 (2d Cir.1996); Ali v. Szabo, 81 F.Supp.2d 447,              when it is undisputed that the inmate suffered a seizure after
463 (S.D.N.Y.1999). “[W]hile the Supreme Court has not               making those requests.
precisely limned the duties of a custodial official under the
Due Process Clause to provide needed medical treatment to             [4] As to the use of the chemical agent, it is undisputed
a pretrial detainee, it is plain that an unconvicted detainee's      that Igwe was aware of Boomer's history of epilepsy when



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he authorized the use of a chemical agent during the cell
extraction. In light of the undisputed facts that Boomer            *8 [6] Each of the deliberate indifference claims that has
experienced a seizure upon being sprayed with the agent and        survived defendants' motions for summary judgment was
that he required medical attention after that seizure, Boomer      sufficiently identified in the copy of the grievance Boomer
has raised a question of fact as to whether the authorization to   asserts that he submitted to the prison. Boomer states that
use a chemical agent on an inmate with a history of epilepsy       the grievance was returned to him and that he was told, in
constituted deliberate indifference to that inmate's medical       effect, that the CPSU grievance process did not handle the
needs.                                                             claims he was grieving. Boomer failed to appeal this refusal
                                                                   to accept his grievance, but contends that he was unable to do
 [5] With respect to the final two issues, the thoroughness        so because of the restrictions associated with his confinement
of the examinations, Boomer does not dispute that Igwe             in CPSU. Boomer has also presented evidence, in the form
examined him at approximately 10:25 p.m. and that Patel            of Henderson's affidavit, that the CPSU staff often failed
examined him at approximately 12:25 a.m. Boomer's                  properly to handle grievances. Boomer presents this evidence
argument is that the examinations, neither of which was            in support of the argument that but for the CPSU staff's failure
recorded on video tape, were not thorough enough given             to handle his grievance properly, he would have exhausted
his epileptic condition and given the “excruciating” pain          his administrative remedies. This evidence creates issues
he states he was experiencing. The medical records do not          of fact regarding Boomer's exhaustion of his administrative
reflect that Boomer was given any pain medication after his        remedies.
seizure. Boomer has raised a question of fact as to whether
Igwe and Patel were deliberately indifferent to his medical
needs in failing to treat the extreme pain he states he was        D. Qualified Immunity
experiencing. Boomer has not identified other treatment that        [7] Defendants argue that they are immune from liability
his condition required and that he was denied during these         under the doctrine of qualified immunity. “Qualified
two examinations.                                                  immunity shields public officials from liability for civil
                                                                   damages if their actions were objectively reasonable, as
                                                                   evaluated in the context of legal rules that were clearly
C. Exhaustion                                                      established at the time.” Poe v. Leonard, 282 F.3d 123, 132
The Prison Litigation Reform Act (“PLRA”) provides that            (2d Cir.2002) (citation omitted). The first step in a qualified
                                                                   immunity analysis is to “determine whether the plaintiff[ ]
                                                                   ha[s] alleged a violation of a constitutional right.” African
             no action shall be brought with respect               Trade & Info. Ctr., Inc. v. Abromaitis, 294 F.3d 355, 359 (2d
             to prison conditions under section                    Cir.2002); see also Caldarola v. Calabrese, 298 F.3d 156,
             1983 of this title, or any other Federal              160 (2d Cir.2002). The second step is to “determine whether
             law, by a prisoner confined in any jail,              the right was clearly established at the time of the alleged
             prison, or other correctional facility                violation.” African Trade, 294 F.3d at 359. Thus “a qualified
             until such administrative remedies as                 immunity defense is established when ... the defendant's
             are available are exhausted.                          action did not violate clearly established law.” Poe, 282 F.3d
                                                                   at 133 (citation omitted). Because it was clearly established at
                                                                   the time of the alleged conduct that deliberate indifference to
42 U.S.C. § 1997e(a) (1994) (emphasis supplied). In Nussle         an inmate's medical needs violates an inmate's constitutional
v. Porter, 534 U.S. 516, 122 S.Ct. 983, 152 L.Ed.2d 12             rights, the defense of qualified immunity is not available to
(2002), the Supreme Court held that “the PLRA's exhaustion         any defendant who was deliberately indifferent.
requirement applies to all suits about prison life, whether
they involve general circumstances or particular episodes,” id.
                                                                   II. State Law Claims
at 532. Because Boomer's remaining deliberate indifference
to medical needs claims fall within Section 1997(e)(a)'s           A. Assault and Battery
exhaustion requirement, Boomer must have exhausted his             Under New York law, an assault is “an intentional placing
administrative remedies for those claims prior to filing his       of another person in fear of imminent harmful or offensive
complaint.                                                         contact,” and a battery is “an intentional wrongful physical



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contact with another person without consent.” United Nat'l         Hosps. Corp., 164 F.3d 789, 793 (2d Cir.1999). It is well
Ins. Co. v. Waterfront N.Y. Realty Corp., 994 F.2d 105,            established that a plaintiff suing a New York City employee
108 (2d Cir.1993); see also Johnson v. Suffolk County              must serve a notice of claim on the City if, at the time the
Police Department, 245 A.D.2d 340, 665 N.Y.S.2d 440, 440           alleged injury occurred, the employee was acting within the
(N.Y.App.Div.1997). Neither tort requires a physical injury.       scope of his duty such that the City may be required to
See Hassan v. Marriott Corp., 243 A.D.2d 406, 663 N.Y.S.2d         indemnify the employee. See, e.g., Silverman v. City of N.Y.,
558, 559 (N.Y.App.Div.1997) (“Physical injury need not be          98 Civ. 6277(ILG), 2001 WL 218943, at *8 (E.D.N.Y. Feb. 2,
present for an assault”); Zgraggen v. Wilsey, 200 A.D.2d 818,      2001); Ortega v. City of N.Y., 95 Civ. 7206(LMM), 2000 WL
606 N.Y.S.2d 444, 445 (N.Y.App.Div.1994) (“An action for           358459, at *2 (S.D.N.Y. Apr. 7, 2000); Sussman v. N.Y. City
battery may be sustained without a showing that the actor          Health & Hosp. Corp., 94 Civ. 8461(DBS), 1997 WL 334964,
intended to cause injury as a result of the intended contact.”).   at *17 (S.D.N.Y. June 16, 1997); D'Angelo v. City of N.Y., 929
The DOCS Defendants have not responded to Boomer's                 F.Supp. 129, 135 (S.D.N.Y.1996); Alifieris v. Am. Airlines,
assault and battery claim other than to argue that it is barred    Inc., 63 N.Y.2d 370, 377, 482 N.Y.S.2d 453, 472 N.E.2d 303
by his failure to file a notice of claim with the Comptroller of   (1984) (interpreting Section 50–j); cf. Shakur v. McGrath, 517
the City of New York, which is addressed below.                    F.2d 983, 985 (2d Cir.1975) (notice of claim required in suit
                                                                   against employee doctors and the City “as their indemnitor”).
                                                                   Under New York General Municipal Law Sections 50–e and
B. Negligence                                                      50–i, a plaintiff may not maintain a tort claim against a
 *9 [8] Boomer's claim that the Hospital Defendants were           municipality unless that claim has been preceded by a notice
“negligent” in their treatment of him is governed by New           of claim served upon the municipality within ninety days of
York's medical malpractice law. “To establish a claim of           the time the cause of action arose. See N.Y. Gen. Mun. Law §§
medical malpractice under New York law, a plaintiff must           50–e, -i (McKinney 1999). A plaintiff required to file a notice
prove (1) that the defendant breached the standard of care in      of claim fails to state a cause of action if he does not plead the
the community, and (2) that the breach proximately caused          following in the complaint: “that (1) the plaintiff has served
the plaintiff's injuries.” Milano v. Freed, 64 F.3d 91, 95 (2d     the notice of claim; (2) at least thirty days have elapsed since
Cir.1995) (citation omitted). “New York law further provides       the notice was filed (and before the complaint was filed); and
that, except as to matters within the ordinary experience and      (3) in that time the defendant has neglected to or refused to
knowledge of laymen, expert medical opinion evidence is            adjust or to satisfy the claim.” Hardy, 164 F.3d at 793.
required to make out both of these elements.” Id. (citing state
court cases). See also Barnes v. Anderson, 202 F.3d 150,            *10 While the notice of claim requirement is applicable
259–60 (2d Cir.1999); Einaugler v. Supreme Court, 109 F.3d         to certain claims against municipal employees, it does not,
836, 841 (2d Cir.1997). The requirement for expert medical         however, apply to all such claims. Section 50–e(1) does not
testimony applies to pro se inmate plaintiffs. See, e.g., Perez    itself create an obligation to file a notice of claim, but sets
v. State of New York, 293 A.D.2d 918, 742 N.Y.S.2d 140, 142        a ninety-day time limit for filing the notice “[i]n any case
(3d Dep't 2002).                                                   founded upon tort where a notice of claim is required by law
                                                                   as a condition precedent to the commencement of an action ...
Boomer has failed to present any expert medical testimony in       against a public corporation ... or any ... employee thereof.”
support of this claim. Since Boomer's analogous Fourteenth         N.Y. Gen. Mun. Law § 50–e(1)(a).
Amendment claims have survived summary judgment, he
will be given a further opportunity to obtain expert medical       It appears that Section 50–k is the source of the duty to file
testimony to support his state law claims of medical               a notice of claim when suing City employees. Section 50–k,
malpractice.                                                       entitled “Civil actions against employees of the city of New
                                                                   York,” provides for the defense and indemnification of City
                                                                   employees for certain tort claims. Indemnification is limited
C. Notice of Claim
                                                                   to acts that
 [9] Defendants argue that Boomer's state law claims should
be dismissed because he failed to file a notice of claim with
the Comptroller of the City of New York. In federal court,
state law notice of claim requirements apply to pendent state                   occurred while the employee was
law claims such as Boomer's. Hardy v. N.Y. City Health &                        acting within the scope of his public



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                                                                     City. Accordingly, summary judgment on Boomer's state law
                                                                     claims based on his failure to plead the filing of a notice of
            employment and in the discharge of his                   claim is not available without a further showing.
            duties and w[ere] not in violation of
            any rule or regulation of his agency
            at the time the alleged damages were
                                                                                            CONCLUSION
            sustained; the duty to indemnify ...
            shall not arise where the injury                         For the reasons stated, defendants' motions for summary
            or damage resulted from intentional                      judgment are granted in part and denied in part. They are
            wrongdoing or recklessness on the part                   granted with respect to Boomer's excessive force claim. They
            of the employee.                                         are denied with respect to Boomer's deliberate indifference
                                                                     to medical needs claims and negligence claims arising from
                                                                     the alleged failure timely to provide Boomer with medical
Id. § 50–k(3) (McKinney 1999) (emphasis supplied). Section           attention after he reported feeling dizzy, the authorization of
50–k(6) then provides that “no action or proceeding instituted       the use of a chemical agent, and the failure to treat his pain
hereunder ... shall be prosecuted or maintained against the          at the 10:25 p.m. and 12:25 a.m. examinations. They are also
city or any agency or an employee unless notice of claim
                                                                     denied with respect to the assault and battery claims. 5 A
shall have been made and served upon the city in compliance
                                                                     Scheduling Order governing the further litigation of these
with section fifty-e of this chapter.” Id. § 50–k(6). Although
                                                                     issues will also be issued.
Section 50–k(6) does not specify what constitutes an action
“instituted hereunder,” that provision is best understood to
                                                                     5
apply only to claims against a City employee for which the                   A separate Opinion will be issued relating to St.
employee has a right to indemnification. Int'l Shared Servs.,                Barnabas's claim that it cannot be held liable
Inc. v. County of Nassau, 222 A.D.2d 407, 634 N.Y.S.2d 722,                  under Section 1983 because it lacks policymaking
724 (2d Dep't 1995); Bardi v. Warren County Sheriff's Dep't,                 authority with respect to inmate health services.
194 A.D.2d 21, 603 N.Y.S.2d 90, 92 (3d Dep't 1993); see also         *11 SO ORDERED:
Reed v. Powers, 97 Civ. 7152(DLC), 2002 U.S. Dist. Lexis
5125, at *19 (S.D.N.Y. Mar. 28, 2002); Hemrie v. City of N.Y.,
96 Civ. 213(DLC), 2000 WL 1234594, at *2–3 (S.D.N.Y.                 All Citations
Aug. 31, 2000).
                                                                     Not Reported in Fed. Supp., 2002 WL 31413804
Defendants have not cited or discussed Section 50–k(6) or
shown that they may be entitled to indemnification by the

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                                                                        the district court—that there is an absence of evidence to
                                                                        support the nonmoving party's case.” PepsiCo, Inc. v. Coca–
     KeyCite Yellow Flag - Negative Treatment                           Cola Co., 315 F.3d 101, 105 (2d Cir.2002) (per curiam)
Declined to Extend by Celestin v. Angeletta, S.D.N.Y., March 19, 2021
                                                                        (internal quotation marks and citations omitted). Once the
                                                                        moving party meets this burden, the nonmoving party must
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                                                                        “set forth specific facts showing that there is a genuine
       Only the Westlaw citation is currently available.
                                                                        issue for trial,” Anderson, 477 U.S. at 255, and present such
        United States District Court, D. Connecticut.
                                                                        evidence as would allow a jury to find in his favor in order
                  Ira ALSTON, Plaintiff,                                to defeat the motion for summary judgment. Graham v. Long
                           v.                                           Island R.R., 230 F.3d 34, 38 (2d Cir.2000). Merely verifying
                                                                        the allegations of the complaint in an affidavit, however,
              BUTKIEWICUS, et al., Defendants.
                                                                        is insufficient to oppose a motion for summary judgment.
                      No. 3:09–cv–207(CSH).                             Zigmund v. Foster, 106 F.Supp.2d 352, 356 (D.Conn.2000)
                                 |                                      (citing cases).
                           Dec. 7, 2012.
                                                                        When reviewing the record, the court resolves all ambiguities
Attorneys and Law Firms                                                 and draws all permissible factual inferences in favor of the
                                                                        party against whom summary judgment is sought. Patterson
Ira Alston, Somers, CT, pro se.                                         v. County of Oneida, NY, 375 F.3d 206, 218 (2d Cir.2004).
                                                                        If there is any evidence in the record on a material issue
                                                                        from which a reasonable inference could be drawn in favor
           RULING ON DEFENDANTS' MOTION                                 of the nonmoving party, summary judgment is inappropriate.
          FOR SUMMARY JUDGMENT [Doc. # 98]                              Security Ins. Co. of Hartford v. Old Dominion Freight Line
                                                                        Inc., 391 F.3d 77, 83 (2d Cir.2004). However, “ ‘[t]he
CHARLES S. HAIGHT, JR., Senior District Judge.
                                                                        mere of existence of a scintilla of evidence in support of
 *1 In this civil rights action, the plaintiff, Ira Alston, an          the [plaintiff's] position will be insufficient; there must be
inmate in a Connecticut correctional facility, alleges that             evidence on which the jury could reasonably find for the
on several occasions in July 2007, February 2008, October               [plaintiff].’ “ Dawson v. County of Westchester, 373 F.3d 265,
2008 and January 2009, the defendants used excessive                    272 (2d Cir.2004) (quoting Anderson, 477 U.S. at 252)).
force against him by spraying him with a chemical agent
and/or confining him in restraints for an extended period.              When reviewing evidence submitted in support of a motion
The defendants, Captain Butkiewicus, Lieutenant Jackson,                for summary judgment, the court can rely on video
Lieutenant Casey, Captain Salius, Lieutenant Rae, Lieutenant            recordings. “When opposing parties tell two different stories,
Saylor, Lieutenant Riordan, Lieutenant Siwicki, Lieutenant              one of which is blatantly contradicted by the [video] record,
Harnett, Warden McGill, Deputy Warden Rose, Deputy                      so that no reasonable jury could believe it, a court should not
Warden Rodriguez, former Deputy Commissioner Murphy                     adopt that version of the facts for purposes of ruling on a
and former Commissioner Lantz, have filed a motion                      motion for summary judgment.” Scott v. Harris, 550 U.S. 372,
for summary judgment. For the reasons that follow, the                  380, 127 S.Ct. 1769, 167 L.Ed.2d 686 (2007) (holding that
defendants' motion is granted.                                          court should have viewed facts in light depicted by videotape
                                                                        rather that as presented by non-moving party).

I. Standard of Review
In a motion for summary judgment, the burden is on the                  II. Facts 1
moving party to establish that there are no genuine issues              1       The facts are taken from the defendants' Local
of material fact in dispute and that it is therefore entitled                  Rule 56(a) 1 Statement of Material Facts. Local
to judgment as a matter of law. See Fed.R.Civ.P. 56(a);                        Rule 56(a) 2 requires the party opposing summary
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256, 106                        judgment to submit a Local Rule 56(a) 2 Statement
S.Ct. 2505, 91 L.Ed.2d 202 (1986). The moving party may                        which contains separately numbered paragraphs
satisfy this burden “by showing—that is pointing out to                        corresponding to the Local Rule 56(a) 1 Statement



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       and indicates whether the opposing party admits or          were not required to provide substitute meal bags until he
       denies the facts set forth by the moving party. Each        found one acceptable, that his refusal of the morning meal
       admission or denial must include a citation to an           bag could be considered a voluntary meal refusal, and that he
       affidavit or other admissible evidence. In addition,        could file a grievance regarding the incident if he believed
       the opposing party must submit a list of disputed           that correctional staff had not acted appropriately. Despite
       factual issues. See D. Conn. L. Civ. R. 56(a)2 &            these arguments and explanation that blocking the trap was
       56(a)3.                                                     not an appropriate response, the plaintiff refused to remove
       The plaintiff has been afforded numerous                    the obstruction. After approximately thirty minutes, a nurse
       extensions of time to respond to the defendants'            and social worker were called to try to gain the plaintiff's
       motion for summary judgment. On June 28, 2012,              compliance. The plaintiff rejected their efforts. Defendant
       the plaintiff was advised that his final deadline for       Butkiewicus told the plaintiff that if he failed to comply, he
       responding to the motion was July 16, 2012 and              would receive a disciplinary report for interfering with safety
       that the deadline would not be further extended.            and security and that a chemical agent would be deployed to
       Notwithstanding that advice, the plaintiff did not          force compliance.
       respond to the motion for summary judgment
       until July 26, 2012. His response included a                After the plaintiff ignored defendant Butkiewicus' final order
       purported Local Rule 56(a) 2 Statement. However,            to remove the obstruction, a one-second burst of chemical
       even if that statement were not untimely, it does           agent was deployed into the cell. The blanket blocking the trap
       not generally contain the required citations to             rendered the chemical agent ineffective. After about a minute,
       evidence, or meet the substance of the facts alleged.       correctional staff were able to pull the blanket from the trap.
       Accordingly, the defendants' facts are deemed               Defendant Butkiewicus deployed a second burst of chemical
       admitted. See D. Conn. L. Civ. R. 56(a)1 (“All              agent into the plaintiff's cell. This time, the chemical agent
       material facts set forth in said statement will             had the desired effect. The plaintiff complied with orders to
       be deemed admitted unless controverted by the               back up to the trap so restraints could be applied to his wrists.
       statement required to be served by the opposing             The plaintiff immediately was escorted to a shower unit for
       party in accordance with Rule 56(a) 2.”).                   decontamination. His head and face were placed under the
                                                                   water for several minutes. The plaintiff did not complain that
 *2 The plaintiff currently is serving a thirty-six year
                                                                   the water was too hot and did not attempt to move his head
sentence. He was confined at Northern Correctional
                                                                   out of the shower stream.
Institution at all times relevant to this action. The plaintiff
asserts claims concerning several separate incidents.
                                                                   The plaintiff was taken to a new cell, strip-searched, given
                                                                   clean clothing and bedding and placed on in-cell restraints.
July 22, 2007 Incident                                             The plaintiff's hands were cuffed in front of his body, his legs
After the distribution of his noon meal, the plaintiff blocked     were shackled and a tether chain was applied connecting his
the food trap in his cell door with his foot and a blanket so      hands and feet. The tether chain was adjusted so the plaintiff's
correctional staff could not close and secure the trap. The        wrists could reach shoulder level when he was seated. The
plaintiff refused orders to remove the obstruction and said that   plaintiff was checked by medical staff. He accepted further
he was blocking the trap because his morning meal bag had          irrigation of his eyes to relieve residual effects of the chemical
a hole ripped in it and was altered. The plaintiff refused the     agent. When asked about any injuries, the plaintiff stated
morning bag meal and demanded another one. No substitute           that he was scratched by a female officer. The scratch was
meal bag was provided.                                             treated. The nurse checked the in-cell restraints and found
                                                                   them properly applied and spaced. The plaintiff could walk
After the plaintiff refused to permit the trap to be closed,       upright in the restraints and made no complaints.
defendant Captain Butkiewicus went to the plaintiff's cell and
ordered him to remove the obstructions. The plaintiff refused.      *3 The plaintiff was placed on modified meal status and a
Defendant Butkiewicus told the plaintiff that, if the plaintiff    fifteen minute watch. As he had been advised, he also was
removed the obstructions, he would look into the issue of          issued a disciplinary report for interfering with safety and
the morning meal. The plaintiff again refused. Defendant           security. That evening, a nurse went to the plaintiff's cell to
Butkiewicus explained to the plaintiff that correctional staff     check his restraints. The plaintiff was on the bunk, under



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the covers. He refused to come to the cell window to enable           opened, the plaintiff stuck his arm through the opening and
the nurse to check his restraints. The following morning,             prevented the trap from being closed. The plaintiff refused
defendant Lieutenant Saylor went to the plaintiff's cell to           numerous orders from defendant Casey to remove his arm.
check his restraints. The plaintiff refused to allow defendant
Saylor to check his restraints and used profanity and insulting        *4 The plaintiff told defendant Casey that he had not gotten
language toward defendant Saylor. That evening, a nurse               his 6:00 p.m. phone call and would only remove his arm if
checked the plaintiff's restraints. She found ample spacing           he got the call. Defendant Casey told the plaintiff that he did
and intact skin. The plaintiff denied any injuries and made no        not get the call because there was a Code Orange in the unit.
complaints.                                                           Staff were occupied dealing with an inmate who had harmed
                                                                      himself and had gotten behind in other duties. Defendant
In the morning of July 24, defendant Lieutenant Rae went to           Casey told the plaintiff that he would arrange for the plaintiff
the plaintiff's cell to determine whether he should be removed        to get his call later that evening if the plaintiff removed his
from in-cell restraint status. The plaintiff remained under the       hand from the trap. In response, the plaintiff demanded the
covers and refused to comply with defendant Rae's order that          phone call before 7:00 p.m.
he sit up on the bunk and show him the restraints. Defendant
Rae told the plaintiff that in-cell restraint status would be         The plaintiff refused additional orders to remove his arm
continued if he did not comply with the order. The plaintiff          from the trap and to present his hands to be cuffed. A social
refused and in-cell restraint status was continued. At about          worker was called but could not get the plaintiff to comply.
the same time, a nurse went to the plaintiff's cell to check his      Defendant Casey repeatedly told the plaintiff he did not want
restraints. The plaintiff refused to get off the bed and come         the incident to escalate and asked the plaintiff to remove his
to the window. The plaintiff said that his body was too sore          arm. The plaintiff refused to comply. Defendant Casey then
to get up. He did not complain of a headache or indicate that         issued multiple orders that the plaintiff turn around so he
he experienced difficulty speaking. That evening, the plaintiff       could be placed on in-cell restraints. The plaintiff said that he
again refused to get up and come to the trap in the cell door         was not going on in-cell restraints and demanded his phone
for his restraints to be evaluated.                                   call.

On the morning of July 25, defendant Saylor went to the               Defendant Casey finally told the plaintiff that if he did not
plaintiff's cell to evaluate in-cell restraint status. He spoke       comply, hands-on force might be used. The plaintiff was not
with staff and with the plaintiff. At the time, the plaintiff's       persuaded. Defendant Casey also warned the plaintiff that
clothing did not appear soiled and the plaintiff did not report       failure to comply would result in the issuance of a disciplinary
that he was unable to eat his meals because of the restraints,        report and loss of phone privileges. Despite repeated offers
or that he had a headache or had difficulty speaking. The             of compromise, the plaintiff demanded a phone call to cease
fifteen minute check sheet showed that the plaintiff had not          his disruptive behavior. Defendant Casey stated that, if the
engaged in disruptive behavior. At this time, the plaintiff was       plaintiff refused to permit staff to secure him, a chemical agent
complying with defendant Saylor's directions. As a result,            would be deployed. After ten minutes of warnings, defendant
defendant Saylor ordered that he plaintiff be removed from            Casey deployed a one-second burst of a chemical agent. The
in-cell restraint status. At that time, the plaintiff was evaluated   chemical agent did not have the desired effect. The plaintiff
by a nurse. The only issue was slight redness on his wrist and        refused to remove his arm and blocked the trap with his
ankles. The plaintiff did not complain about soiled clothing,         shoulder and chest. When the cell door was opened to allow a
headaches or difficulty speaking. The plaintiff was provided          second deployment of the chemical agent, the plaintiff came
a shower. Because there were no available cells, he was               to the door and challenged correctional staff.
returned to the same call after the shower.
                                                                      Additional correctional staff arrived with a safety shield.
                                                                      The plaintiff backed into his cell, but continued to refuse to
February 14, 2008 Incident                                            comply with orders. Two additional bursts of the chemical
At about 6:45 p.m., on February 14, 2008, the plaintiff, along        agent were deployed through the door and then the door was
with several other inmates, covered his cell window. All of the       closed. The plaintiff continued to refuse to back up to the trap
inmates refused orders to remove the coverings. Defendant             so restraints could be applied. The cell door was reopened,
Lieutenant Casey opened the trap in the plaintiff's cell door to      a third burst of chemical agent was deployed and the door
look in and ensure that the plaintiff was safe. When the trap


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closed. After several minutes, the chemical agent had the
desired effect and the plaintiff complied with the order to        The plaintiff complied with the order to remain on his bed
approach the trap to be restrained.                                when correctional staff entered the cell. When ordered to
                                                                   walk to the new cell, however, the plaintiff refused and told
After restraints were applied, the plaintiff was escorted to       correctional staff to drag him. When staff lifted him to a
the shower unit for decontamination. While being escorted,         sitting position and to his feet, the plaintiff passively resisted
the plaintiff began to resist staff. Another one-second burst      by remaining limp. The plaintiff was returned to the bed
of chemical agent was deployed to regain compliance. The           and mental health staff attempted to coax him to comply
chemical agent missed the plaintiff and struck the wall. While     and avoid use for hands-on force. The plaintiff refused. Four
restrained, the plaintiff was placed alone in a shower and         correctional officers lifted the plaintiff at his shoulders and
told to place his head and face under the water. The plaintiff     legs and carried him to the new cell. The plaintiff was in full
decontaminated himself under the water for three minutes.          restraints. He did not complain of pain or discomfort while he
During this time, correctional staff tended other duties in the    was being carried.
unit. After the session, defendant Casey asked the plaintiff if
he would like the shower activated for another three minutes.      En route, the plaintiff was placed on the dayroom floor
Although the plaintiff did not respond, defendant Casey            in a sitting position. The plaintiff became disruptive. He
provided the plaintiff another three-minute shower session.        repeatedly urged other inmates to refuse staff directions and
The plaintiff voluntarily stood under the water and did not        ignored orders to stop this behavior. The plaintiff then laid
complaint about the water temperature.                             down on the floor on his back with his hands comfortably
                                                                   at his waist and legs fully stretched. After five minutes, the
 *5 After the shower, the plaintiff was taken to the medical       plaintiff again was ordered to stand and walk to the new cell.
triage room and examined by a nurse. When the plaintiff            The plaintiff refused and was carried to the cell. The plaintiff
complained about burning eyes and skin, his eyes were              then was placed in four-point soft restraints for four hours as
flushed. The nurse told the plaintiff that the burning sensation   a result of his disruptive behavior of inciting other inmates.
on his skin would dissipate over time.                             Once secured, the restraints were checked by medical staff
                                                                   and found to be properly applied. The plaintiff did not
The plaintiff was strip-searched, provided clean clothing,         complain of pain or discomfort. The plaintiff was checked
including a jumpsuit tied around his waist to enable him           by medical staff every fifteen minutes. He was released from
to tend to bodily functions while restrained. The length of        four-point soft restraints after less than twelve hours.
the tether chain between his hands and feet was adjusted to
permit his wrists to reach his waist while standing erect. The      *6 The plaintiff was placed in full metal restraints and taken
nurse checked the restraints and found ample spacing. The          to another cell. The cell was clean and sanitary. The walls
plaintiff complained of left wrist pain, but the nurse observed    were clean and there were no feces, urine or blood in the
no inflammation. The plaintiff did not complaint that the          cell. The plaintiff complained that the tether chain was too
restraints were too tight or the tether too short. A fifteen       short. Medical staff checked the clearances and found them
minute watch was imposed.                                          appropriate. The plaintiff was checked every fifteen minutes.

                                                                   The following day, defendant Lieutenant Siwicki assessed the
February 15, 2008 Incident                                         plaintiff's restraint status. Based on staff accounts and the
On February 15, 2008, defendant Lieutenant Rae told the            restraint checklist, defendant Siwicki decided to remove the
plaintiff that he was going to be moved to another cell because    plaintiff from in-cell restraint status. When he told the plaintiff
they needed the plaintiff's current cell to house an inmate        that he would be removed from in-cell restraint status and
on four-point stationary restraints. The plaintiff stated that     moved to a population cell, the plaintiff refused to move.
he wanted to be taken off in-cell restraints and returned to       Defendant Siwicki decided to allow the plaintiff to remain
his original cell. Defendant Rae explained that the plaintiff's    on in-cell restraint status. He recorded the refusal using a
in-cell restraint status would be reviewed by the second           hand-held video camera. On February 17, 2008, the plaintiff
shift supervisor. The plaintiff became disruptive and refused      cooperated with his removal from incell restraint status but
to comply with the order to move. Medical and mental               remained in the same cell.
health staff attempted to intervene and gain the plaintiff's
compliance, but were unsuccessful.


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February 18, 2008 Incident                                          October 10, 2008 Incident
During lunch hour on Monday, February 18, 2008, the                  *7 The plaintiff attempted to assault two correctional
plaintiff stuffed his mattress in the food trap in the cell door,   officers by throwing a milk carton out of the food trap in
preventing it from being closed. The plaintiff complained           his cell door. Defendant Rae ordered the plaintiff to put his
that he was denied cleaning supplies to clean urine, feces          hands through the food trap to be handcuffed. The plaintiff
and blood that was smeared on his cell walls. The plaintiff         eventually complied with this order. The plaintiff was strip-
was aware that cleaning supplies were only distributed on           searched and issued new clothing before in-cell restraints
Saturday. Although the plaintiff alleged that he did not put        were applied. The plaintiff complained that the tether chain
the urine, feces and blood on the cell walls, the video of the      was too short because correctional staff had looped the chain
cell when the plaintiff was first admitted shows that the walls     over the top of the handcuff chain before securing it to the
were clean.                                                         handcuff ring. The correctional procedures, however, require
                                                                    that the tether chain be adjusted to keep the inmate's hands at
Defendant Saylor repeatedly ordered the plaintiff to remove         waist level when standing erect. Looping the chain over the
the mattress from the trap. The plaintiff refused. Defendant        handcuff chain is the accepted mean of adjusting the tether
Saylor called medical and mental health staff to try to             chain to the proper length.
persuade the plaintiff to comply with the order and to ensure
that there was no medical reason he was unable to comply.           After the restraints were applied, they were examined by
Although the plaintiff was found able to remove the mattress,       medical and custody staff. Both determined that the restraints
he refused to do so. Defendant Saylor warned the plaintiff          were properly applied. The plaintiff was placed on fifteen-
that if he failed to comply with the order, an extraction team      minute checks until the afternoon of October 12, 2008,
would be called. When the plaintiff still refused to comply, the    when defendant Rae decided to remove the plaintiff from in-
cell door was partially opened, a onesecond burst of chemical       cell restraint status. When the restraints were removed, the
agent deployed and the door closed. The plaintiff immediately       plaintiff's clothing was clean and he made no complaints that
moved to the rear of the cell and tried to cover himself with a     he was unable to use the toilet or eat any of his meals.
wet towel. In response, a second one-second burst of chemical
agent was deployed into the cell.
                                                                    January 9, 2009 Incident
The chemical agent took effect and the plaintiff complied           When defendant Lieutenant Harnett tried to distribute legal
with orders to kneel and put his arms behind his back for           mail, the plaintiff stuck his arm through the food trap
handcuffing. When the cell door was opened to remove the            preventing the trap from closing. The plaintiff refused all
plaintiff from the cell, the walls were clean. The plaintiff was    orders to remove his arm. Defendant Harnett summoned
escorted to the shower unit for decontamination. He did not         additional correctional staff to the area to assist in placing the
complain about the time spent under the shower or the water         plaintiff on in-cell restraint status. By the time the additional
temperature.                                                        staff members, along with a videocamera operator arrived,
                                                                    the plaintiff had removed his arm from the trap. Defendant
The plaintiff was taken to a new cell, provided clean clothing      Harnett ordered the plaintiff to turn around and place his arms
and placed on in-cell restraints. The restraints were applied       through the trap so handcuffs could be applied. The plaintiff
while the plaintiff was standing upright. A nurse checked the       refused, arguing that there was no need for in-cell restraint
restraints and determined that the tether was of proper length      status as he had removed his arm from the trap.
and there was proper clearance under the restraints. Medical
staff was called to provide further decontamination when the        When the plaintiff continued to refuse to comply with orders,
plaintiff complained of burning in his eyes. The plaintiff,         defendant Harnett called medical and mental health staff. The
however, refused treatment, became argumentative and would          social worker got the plaintiff to comply with the order. The
not sit still. Defendant Saylor ordered the plaintiff to calm       plaintiff was placed in handcuffs and shackles and escorted to
down and allow the nurse to flush his eyes. The plaintiff           another cell. The plaintiff repeatedly objected to being strip-
refused. The plaintiff was on fifteen minute watch until he was     searched and placed on in-cell restraint status and relaxed
released from in-cell restraint status approximately twenty-        his legs to passively disrupt the staff's ability to apply in-
four hours later.                                                   cell restraints. When the staff attempted to strip-search the
                                                                    plaintiff while he was lying on the floor, the plaintiff began


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kicking his legs. Correctional staff then physically restrained      argue that the plaintiff cannot establish any genuine issue of
the plaintiff's legs. When the plaintiff refused to stand so the     material fact regarding any claim; the evidence shows that
tether chain could be applied, defendant Harnett decided to          they acted patiently and professionally and only in response
place the plaintiff in four-point soft restraints.                   to the plaintiff's disruptive behavior.

The plaintiff continued to passively resist. Correctional staff
lifted and carried him in a prone, face down position into the          A. Eleventh Amendment
next cell and placed him, face-down on the bed. He was rolled        The defendants first argue that the Eleventh Amendment bars
onto his back and soft four-point restraints were applied.           all suits for damages against them in their official capacities.
Defendant Harnett checked the clearances and found them              The defendants are correct. However, the plaintiff alleges that
proper. The plaintiff continued to be disruptive and resist          he seeks damages from the defendants in their individual
removal of the handcuffs. Fifteen minute watches began at            capacities and only injunctive relief against the defendants in
10:15 a.m.                                                           their official capacities. See Doc. # 1–2 at 8, ¶ 24.


 *8 After fifteen minutes, medical staff entered the cell to         As there is no official capacity claim for money damages, the
take the plaintiff's vital signs. The plaintiff refused to comply.   defendants' motion for summary judgment is denied on this
The plaintiff did not respond to inquiries during the next few       ground.
checks. At 11:37 a.m., defendant Rae offered the plaintiff food
and downgraded his status to in-cell restraints.
                                                                        B. Conditions of Confinement
                                                                     It is undisputed that the treatment a prisoner receives in
When defendant Rae began removing the four-point
                                                                     prison and the conditions under which he is confined are
restraints, the plaintiff stated that defendant Harnett
                                                                     subject to scrutiny under the Eighth Amendment. See Helling
purportedly found a pen with a razor attached in the plaintiff's
                                                                     v. McKinney, 509 U.S. 25, 31, 113 S.Ct. 2475, 125 L.Ed.2d
cell in June 2008, and that the plaintiff had found a similar pen
                                                                     22 (1993); see also Rhodes v. Chapman, 452 U.S. 337, 351,
found in his cell two days earlier. The plaintiff stated that he
                                                                     101 S.Ct. 2392, 69 L.Ed.2d 59 (1981). To state an Eighth
tried to tell defendant Harnett about the second pen, an item
                                                                     Amendment claim, an inmate must allege facts demonstrating
not allowed in administrative segregation and asked that the
                                                                     the failure of prison officials to provide for inmates' “basic
pen be removed from his cell. Defendant Harnett accused the
                                                                     human needs—e.g., food, clothing, shelter, medical care, and
plaintiff of having a weapon and stated that the plaintiff would
                                                                     reasonable safety.” DeShaney v. Winnebago County Dept. of
be put on in-cell restraint status. These purported statements
                                                                     Social Servs., 489 U.S. 189, 200, 109 S.Ct. 998, 103 L.Ed.2d
were not the reasons for placing the plaintiff on restraint
                                                                     249 (1989).
status.

                                                                      *9 An inmate may prevail on an Eighth Amendment claim
After the plaintiff was secured on in-cell restraint status,
                                                                     “only where he proves both an objective element—that the
defendant Rae and a nurse checked the clearances and found
                                                                     prison officials' transgression was ‘sufficiently serious'—and
them proper. The plaintiff made no complaints about the
                                                                     a subjective element—that the officials acted, or omitted to
restraints being tight or the tether chain being short. The
                                                                     act, with a ‘sufficiently culpable state of mind,’ i.e., with
plaintiff was left in the cell with a modified meal. The
                                                                     ‘deliberate indifference to inmate health or safety.’ “ Phelps v.
following morning, defendant Harnett found the plaintiff's
                                                                     Kapnolas, 308 F.3d 180, 185 (2d Cir.2002) (quoting Farmer
behavior compliant and removed the plaintiff from in-cell
                                                                     v. Brennan, 511 U.S. 825, 834, 114 S.Ct. 1970, 128 L.Ed.2d
restraint status. At this time, the plaintiff's cell and clothing
                                                                     811 (1994)). The objective element is satisfied where the
were clean and the plaintiff made no complaints.
                                                                     inmate shows that the deprivation he alleges is sufficiently
                                                                     serious, i.e., that his confinement under the alleged conditions
III. Discussion                                                      violates contemporary standards of decency. The subjective
In this action, the plaintiff asserts federal law claims for use     element requires the inmate to show that correctional officials
of excessive force, deliberate indifference to serious medical       were aware of and disregarded a substantial risk of serious
needs, unconstitutional conditions of confinement, violation         harm. See id. at 185–86. The defendants “must both be aware
of Department of Correction procedures and verbal abuse as           of facts from which the inference could be drawn that a
well as state law claims of assault and battery. The defendants


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substantial risk of serious harm exists, and ... must also draw       See Harris v. Fleming, 839 F.2d 1232, 1235 (7th Cir.1988)
that inference.” Farmer, 511 U.S. at 837.                             (denial of toilet paper for five days and soap, toothpaste
                                                                      and toothbrush for ten days not of constitutional dimension);
Prisoners have no right to be housed in comfortable                   Martin v. Lane, 766 F.Supp. 641, 648 (N.D.Ill.1991) (denial
surroundings. Restrictions do not violate the Eighth                  of sanitary and hygiene living conditions for between three
Amendment unless they are “totally without penological                and eighteen days does not violate Eighth Amendment). The
justification,” “grossly disproportionate,” or “involve the           defendants' motion for summary judgment is granted on these
unnecessary and wanton infliction of pain.” Rhodes v.                 claims.
Chapman, 452 U.S. 337, 346, 101 S.Ct. 2392, 69 L.Ed.2d
59 (1980) (internal citations omitted). Harsh or restrictive
conditions are part of the penalty criminal offenders pay for            2. Food Portions and Lack of Eating Utensils
their crimes. Id. at 347; see, e.g., Smith v. Copeland, 87 F.3d       The plaintiff claims that he did not receive his full morning
265, 268 (8th Cir.1996) (allegation that pretrial detainee was        meal on one day and that, when confined on in-cell restraint
subjected to raw sewage for four days because of inoperative          status, he was unable to eat his modified meals because he was
toilet did not rise to level of constitutional violation); Allebach   not provided eating utensils. Neither claim is of constitutional
v. Sherrer, No. Civ. 04–287, 2005 WL 1793726, at *3–*4                dimension.
(D.N.J. Jul.27, 2005) (holding that denial of running water,
religious items, visitation, recreation, use of the telephone,        The plaintiff alleged that items were missing from his
mattress and clothing for thirty-six days did not violate the         morning meal. Even if he had not been provided any meal,
Eighth Amendment).                                                    the denial of a meal on one occasion does not constitute an
                                                                      Eighth Amendment claim. See Gill v. Hoadley, 261 F.Supp.2d
                                                                      113, 129 (N.D.N.Y.2003) (holding that complaint failed to
  1. Urine, Feces and Blood in Cell, Toilet Issues and                state Eighth Amendment claim where prisoner alleged he was
  Hygiene Products                                                    denied one meal).
The plaintiff alleges that he was unable to use the toilet while
confined on in-cell restraint status and that the cells in which      The Eighth Amendment requires “that prisoners be served
he was confined had urine, feces and blood smeared on the             ‘nutritionally adequate food that is prepared and served under
walls, sink and bunk. He also contends that he was denied             conditions which do not present an immediate danger to the
hygiene products for four days.                                       health and well being of the inmates who consume it.’ “
                                                                      Robles v. Coughlin, 725 F.2d 12, 15 (2d Cir.1983) (quoting
The video recordings submitted by the defendants belie this           Ramos v. Lamm, 639 F.2d 559, 571 (10th Cir.1980)). That
claim. The recordings show that each time the plaintiff was           the plaintiff was not provided utensils to eat oatmeal from a
placed on in-cell restraints after use of a chemical agent,           styrofoam cup, although unfortunate, is not of constitutional
he was provided clean clothing and dressed in a way that              magnitude. See Thomas v. Owens, 345 Fed. Appx. 892
enabled him to use the toilet while on in-cell restraints. The        (5th Cir.2009) (prisoner's claim that he was denied, inter
plaintiff's clothing was clean when he was removed from in-           alia, eating utensils for days held not to state an Eighth
cell restraint status. The video evidence also shows that each        Amendment claim); Stanley v. Page, 44 Fed. Appx. 13, 15
cell was clean both when the plaintiff entered and when he            (7th Cir. Aug.20, 2002) (prisoner's claim regarding denial of
left. At no time, when placed in the cells, did the plaintiff         utensils and a need to eat with his hands described only a
complain on the recordings about the cleanliness of the cells         “temporary inconvenience” and was not cognizable under the
or ask for cleaning supplies. As explained above, the court           Eighth Amendment); Martin, 766 F.Supp. at 648 (holding that
can rely on video evidence to establish the facts. In light of        a prisoner's allegations concerning the lack of eating utensils
the video evidence, the court concludes that there is no factual      were “not cognizable”).
basis for the plaintiff's claims that his cells were covered with
feces, urine and blood, and that he was unable to use the toilet.     The defendants' motion for summary judgment is granted on
                                                                      these claims.
 *10 The plaintiff also contends that he was denied hygiene
products for four days in January 2009. Even if true, the denial
of hygiene products for four days does not constitute the               3. Showering in Restraints
denial of the minimal civilized measure of life's necessities.


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The plaintiff claims that the defendants violated his Eighth
Amendment rights by requiring him to shower while wearing            The plaintiff's claim that he was short-chained lacks a factual
shackles.                                                            basis. He alleges that whenever in-cell restraints were applied,
                                                                     the tether chain was impermissibly wrapped around the
Requiring a particular inmate to shower while wearing                handcuffs. Although this happened, that fact does not mean
shackles for security reasons does not constitute an Eighth          that the plaintiff was “short-chained.” The video evidence
Amendment claim. See Branham v. Meachum, 77 F.3d 626,                clearly shows that after the in-cell restraints were applied, the
631 (2d Cir.1996); see also Sanders v. Hopkins, 131 F.3d             plaintiff was able to stand comfortably and was not required
152, 1997 WL 755276, at *2 (10th Cir.1997) (holding that             to bend over at the waist. In fact, one video shows the plaintiff
requiring an inmate in disciplinary segregation to shower            stretched out comfortably on the floor with his hands at his
in handcuffs and ankle shackles does not violate the Eighth          waist. Nor does the plaintiff complain about the restraints
Amendment); LeMaire v. Maass, 12 F.3d 1444, 1457 (9th                being too tight when they were applied. The court can rely
Cir.1993) (requiring an inmate who had assaulted prison              on this video evidence to contradict the plaintiff's allegations.
guards and fellow inmates to shower while wearing handcuffs          Accordingly, these claims are without merit.
and ankle shackles does not state a claim under the Eighth
Amendment). The defendants have presented evidence that              The plaintiff also challenges the length of time he was
the plaintiff is a dangerous inmate. He is classified as a           restrained. The plaintiff was placed on in-cell restraint status
Security Risk Group Safety Threat Member and has received            for seventy-two hours in July 2007, fifteen hours in February
over 150 disciplinary charges, over 100 of which are for             2008, fifty-three hours in October 2008, and eight hours
interfering with institutional safety and security, threats,         in January 2009. After forty-five hours of the seventy-two
fighting and assaults on correctional staff or other inmates.        hour period, however, the plaintiff was offered the chance
See Doc. # 98–3, Ex. 40. The court concludes that requiring          to be removed from in-cell restraint status and returned to
the plaintiff to shower wearing shackles does not violate the        population. The plaintiff refused to move and, therefore,
Eighth Amendment. The defendants' motion for summary                 remained on in-cell restraint status until the following day.
judgment is granted on this claim.                                   The plaintiff was confined in four-point soft restraints for four
                                                                     hours in February 2008 and one hour in January 2009.

   4. Verbal Abuse                                                   The maintenance of prison order and security are legitimate
 *11 The plaintiff alleges that several correctional staff           governmental objectives. Accordingly, use of restraints that
subjected him to verbal abuse and harassment. Although               are reasonably related to maintaining prison security, without
unprofessional and inappropriate, such conduct does not              more, does not violate the Eighth Amendment. See Dolphin
constitute a constitutional violation. See Tafari v. McCarthy,       v. Manson, 626 F.Supp. 229, 234 (D.Conn.1986) (citing Bell
714 F.Supp.2d 317, 364 (N.D.N.Y.2010) (“Verbal harassment            v. Wolfish, 442 U.S. 520, 540 (1979)). When reviewing the
itself does not rise to the level of a constitutional violation.     use of restraints under the Eighth Amendment, the court
Verbal abuse, vulgarity, and even threats are insufficient           must consider the individual circumstances surrounding the
to rise to the level of constitutional violations.” (citation        use of restraints, including the length of time restraints were
omitted)); see also Morgan v. Ward, 699 F.Supp. 1025,                imposed and the objective sought to be served. See Ferola v.
1055 (N.D.N.Y.1988) (noting that exchange of verbal insults          Moran, 633 F.Supp. 814, 820–21 (D.R.I.1985).
between inmates and guards is a constant daily ritual in
prison). Accordingly, the defendants' motion for summary              *12 As noted above, the plaintiff has a history of serious
judgment is granted on this claim.                                   disciplinary infractions. Each use of incell restraints was
                                                                     precipitated by acutely disruptive actions by the plaintiff. In
                                                                     July 2007, February 2008 and January 2009, the plaintiff
  5. Four-point and In-cell Restraints
                                                                     had stuffed objects or put body parts through the food
Finally, the plaintiff argues that his placement on four-
                                                                     trap, preventing correctional staff from closing the trap.
point restraints and in-cell restraints subjected him to
                                                                     The plaintiff disregarded repeated orders and efforts by
unconstitutional conditions of confinement. He contends that
                                                                     correctional staff to persuade him to remove the obstructions.
every time he was placed on in-cell restraints, he was short-
                                                                     In October 2008, the plaintiff attempted to assault correctional
chained, preventing him from being able to stand without
                                                                     staff through the food trap. The use of four-point restraints
bending over at the waist, and that the restraints were too tight.


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was precipitated, in February 2008, by the plaintiff while           involuntary administration of psychotropic medication. See
on in-cell restraint status inciting other inmates to disobey        Sandin v. Conner, 515 U.S. 472, 479 n. 4, 115 S.Ct. 2293, 132
orders and, in January 2009, by the plaintiff's resistance to the    L.Ed.2d 418 (1995). There is no liberty interest in avoiding
application of incell restraints.                                    confinement under more adverse conditions. See Wilkinson
                                                                     v. Austin, 545 U.S. 209, 221, 125 S.Ct. 2384, 162 L.Ed.2d
The defendants have provided evidence that the decisions             174 (2005). Confinement on in-cell restraint status or in four-
to utilize in-cell or four-point restraints were intended to         point restraints does not rise to the level of a substantive due
control the plaintiff's disruptive behavior, not to impose           process violation. See, e.g., Grinter v. Knight, 532 F.3d 567,
unnecessary punishment or the wanton infliction of pain. The         574 (6th Cir.2008) (prisoner has no liberty interest in avoiding
video evidence documents the correctional staff's compliance         confinement in four-point restraints for four hours without a
with the departmental procedures regarding imposition of the         nurse present).
restraints and the required periodic medical checks during
the time the restraints were in use. Other courts have found          *13 The plaintiff also alleges in the complaint that the
that similar uses of restraints did not violate the Eighth           defendants violated his right to due process by failing to move
Amendment. See, e.g., LeMaire, 12 F.3d at 1460 (holding              him to a particular cell. Prisoners, however, have no right
that use of in-cell or four-point restrains in accordance with       to be housed in any particular cell or area within the prison.
prison directives, even for extended periods of time, does           See Russell v. Scully, 15 F.3d 219, 221 (2d Cir.1993) (holding
not constitute an Eighth Amendment violation); Bruscino              that inmate has no due process right to be housed in any
v. Carlson, 854 F.2d 162, 166 (7th Cir.1988) (holding that           particular area of the prison). Thus, a refusal to transfer the
handcuffs, shackles and four-point restraints are reasonable         plaintiff to the cell of his choosing does not state a cognizable
measures to maintain order when dealing with violent                 constitutional claim.
inmates), cert. denied, 491 U.S. 907, 109 S.Ct. 3193, 105
L.Ed.2d 701 (1989); see also Parks v. Williams, 157 Fed.             Finally, the plaintiff contends that the defendants violated his
Appx. 5, 6 (9th Cir.2005) (noting that prison security measure       right to due process by failing to comply with correctional
taken for the protection of prison officials and the inmate          administrative directives regarding his placement on in-cell
population is constitutional if applied in good faith and not        and four-point restraint status. Failure to comply with state-
used maliciously).                                                   created procedures does not create a protected liberty interest.
                                                                     Fourteenth Amendment due process protections, therefore,
The court concludes that the video evidence demonstrates             are not implicated by the defendants' alleged failure to comply
that the defendants followed departmental procedures and             with administrative directives. See Rhodes v. Hoy, No. 9:05–
did not act maliciously. The defendants' motion for summary          CV–836, 2007 WL 1343649, at *2 (N.D.N.Y. May 5, 2007)
judgment is granted on this claim.                                   (holding that due process is not implicated by failure to
                                                                     comply with institutional administrative procedures); see also
                                                                     Levine v. Torvik, 986 F.2d 1506, 1515 (6th Cir.1993) (“A
   C. Due Process                                                    state cannot be said to have a federal due process obligation
In addition to challenging his confinement on in-cell restraint      to follow all of its procedures; such a system would result
status and in four-point soft restraints as unconstitutional         in the constitutionalizing of every state rule, and would not
conditions of confinement, the plaintiff also argues that the        be administrable.”), overruled in part on other grounds by
confinements violated his Fourteenth Amendment right to              Thompson v. Keohane, 516 U.S. 99, 111, 116 S.Ct. 457, 133
substantive due process.                                             L.Ed.2d 383 (1995).

To establish a substantive due process violation, the                The defendants' motion for summary judgment is granted on
plaintiff must identify conduct that may be considered “so           the plaintiff's due process claims.
brutal and offensive to human dignity as to shock the
conscience.” Silvera v. Department of Corrections, No. 3:09–
cv–1398(VLB), 2012 WL 877219, at * 15 (D.Conn. Mar.                     D. Use of Chemical Agents
14, 2012) (internal quotation marks and citations omitted). In       The plaintiff contends that the defendants used excessive
the prison context, the Supreme Court has found only two             force against him when they deployed chemical agents to
examples of conduct that violated an inmate's constitutionally       gain his compliance with orders. When considering the use
protected liberty interest: transfer to a mental hospital, and the   of force by correctional officers, the court must determine


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“whether force was applied in a good-faith effort to maintain       Hope v. Pelzer, 536 U.S. 730, 737, 122 S.Ct. 2508, 153
or restore discipline, or maliciously and sadistically to cause     L.Ed.2d 666 (2002) (quoting Rhodes v. Chapman, 452 U.S.
harm.” Hudson v. McMillian, 503 U.S. 1, 7, 112 S.Ct. 995,           337, 346, 101 S.Ct. 2392, 69 L.Ed.2d 59 (1981))
117 L.Ed.2d 156 (1992) (internal quotation marks and citation
omitted).                                                           The application of force in this case is the deployment of
                                                                    a chemical agent. The defendants argue that the use of the
The court considers objective and subjective components             chemical agent was warranted because the plaintiff refused
to an excessive force claim. See id. at 8. The objective            repeated orders and requests to remove obstructions from the
component relates to the level of physical force used against       food trap. The repeated orders from correctional staff and the
the inmate and whether that force is repugnant to the               requests from medical and mental health staff are documented
conscience of mankind. See id. at 9–10. The subjective              on the video evidence. Following specific warnings, the
component focuses on whether the correctional officers had a        chemical agent was used instead of hands-on force. Once
“wanton” state of mind when they were applying the allegedly        the plaintiff complied with orders, use of the chemical agent
excessive force. See id. at 8.                                      ceased. The plaintiff was immediately restrained and escorted
                                                                    to the shower area for decontamination.
An excessive force claim cannot be decided merely
by considering the extent of an inmate's injuries. See              The Supreme Court encourages courts to “give a wide range
Perkins v. Brown, 285 F.Supp.2d 279, 283 (E.D.N.Y.2003)             of deference to prison officials acting to preserve discipline
(acknowledging that claim of excessive force may be                 and security.” Whitley v. Albers, 475 U.S. 312, 321–22,
established even if the victim does not suffer serious or           106 S.Ct. 1078, 89 L.Ed.2d 251 (1986). Courts considering
significant injury) (citations omitted). Instead, the court         the use of chemical agents have held that deployment of a
uses the extent of the inmate's injuries as one factor in           chemical agent is an accepted means of controlling an unruly
determining whether the use of force could have been thought        or disruptive inmate. See, e.g., Scroggins v. Davis, 346 Fed.
necessary by correctional staff or demonstrated an unjustified      Appx. 504, 505 (11th Cir.2009) (use of chemical agent to
infliction of harm. See Hudson, 503 U.S. at 7. Other factors        subdue high-risk inmate was not excessive), cert. denied, –––
to be considered are the need for use of force, the threat          U.S. ––––, 130 S.Ct. 1711, 176 L.Ed.2d 197 (2010); Soto v.
perceived by correctional staff and the relationship between        Dickey, 744 F.2d 1260, 1271 (7th Cir.1984) (“the chemical
the perceived threat and the amount of force used. See id. For      agent was used for failure of the inmate to obey a direct
example, an inmate who does not suffer serious or significant       order and the use of mace was a reasonable response to the
injury may establish a claim for use of excessive force if          institution's legitimate security concern”), cert. denied, 470
he can show that the force used was more than de minimis            U.S. 1085, 105 S.Ct. 1846, 85 L.Ed.2d 144 (1985). When
or was repugnant to the conscience of mankind and that the          reviewing the use of a chemical agent against a recalcitrant
defendant acted with a sufficiently culpable state of mind.         inmate, the court can find a constitutional violation only
United States v. Walsh, 194 F.3d 37, 48–50 (2d Cir.1999).           where the use of the chemical agent is malicious and sadistic.
                                                                    That the use may have been objectively unreasonable is
 *14 This approach is consistent with the view that                 insufficient to establish an Eighth Amendment claim. See
“[e]xcessive force does not, in and of itself, establish malice     Howard v, Nunley, No. CV–06–00191–NVW, 2010 WL
or wantonness for Eighth Amendment purposes.” Romano v.             3785536, at *4 (E.D.Cal. Sept.24, 2010) (considering use
Howarth, 998 F.2d 101, 106 (2d Cir.1993); see, e.g., Johnson        of chemical agent against inmate who deliberately violated
v. Blaukat, 453 F.3d 1108, 1113 (8th Cir.2006) (affirming           direct orders).
denial of summary judgment on excessive force claims where
questions existed regarding, inter alia, whether actions of         The largest number of deployments of chemical agent
correctional staff “were necessary to maintain order or were        occurred on February 14, 2008. The plaintiff alleges that
excessive reactions by frustrated officers; and whether the         defendant Casey deployed a chemical agent eleven times,
amount of force used was commensurate with the situation ...        with each deployment lasting between three and five seconds.
whether verbal orders or the application of less force would        The video evidence shows this allegation an exaggeration.
have been sufficient, whether or not a warning issued before        The chemical agent was deployed between five and seven
application of the pepper spray”). “Infliction of pain that is      times, each time for one second. The number was so
‘totally without penological justification’ is per se malicious.”   large because the plaintiff refused to comply with orders.



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For example, when the cell door was opened after initial           Delaney, 677 F.Supp. 230, 232 (S.D.N.Y.1988). In addition,
deployment, the plaintiff came out of the door in a threatening    the fact that a prison official did not alleviate a significant risk
manner and taunted correctional staff. After additional            that he should have but did not perceive does not constitute
deployments, the plaintiff still refused to present his hands so   deliberate indifference. See Farmer v. Brennan, 511 U.S. 825,
restraints could be applied and told defendant Casey that he       838, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994).
would have to utilize the chemical agent more times before
the plaintiff would cooperate. See Defs .' Local Rule 56(a)        There are both subjective and objective components to the
Statement, Ex. 14.                                                 deliberate indifference standard. Hathaway v. Coughlin, 37
                                                                   F.3d 63, 66 (2d Cir.1994), cert. denied sub nom. Foote v.
 *15 The video evidence clearly shows that, on all occasions,      Hathaway, 513 U.S. 1154, 115 S.Ct. 1108, 130 L.Ed.2d
the use of a chemical agent was precipitated by the plaintiff's    1074 (1995). Objectively, the alleged deprivation must be
actions. The chemical agent was deployed only after many           “sufficiently serious.” Wilson v. Seiter, 501 U.S. 294, 298,
direct orders and attempts to persuade the plaintiff to comply.    111 S.Ct. 2321, 115 L.Ed.2d 271 (1991). The condition must
As soon as the plaintiff complied with the orders, he was          produce death, degeneration or extreme pain. Hathaway v.
restrained and escorted to the shower to be decontaminated.        Coughlin, 99 F.3d 550, 553 (2d Cir.1996). Subjectively, the
The court concludes that the video evidence clearly shows          defendant must have been actually aware of a substantial risk
that no defendant acted maliciously or wantonly regarding the      that the inmate would suffer serious harm as a result of his
use of a chemical agent. Accordingly, the defendants' motion       actions or inactions. Salahuddin v. Goord, 467 F.3d 263, 279–
for summary judgment is granted on this claim.                     80 (2d Cir.2006).

                                                                    *16 After each incident during which a chemical agent
   E. Deliberate Indifference to Medical Needs                     was deployed, the plaintiff was taken to the shower area for
The plaintiff alleges that the defendants were deliberately        decontamination. Following decontamination, medical staff
indifferent to his serious medical needs arising from the use      flushed the plaintiff's eyes if he complained of irritation.
of chemical agents and the imposition of in-cell restraints and    The residual effects of a chemical agent, however, do not
four-point soft restraints.                                        constitute a serious medical need. See Blond v. City of
                                                                   Schenectady, No. 10–CV–0598, 2010 WL 4316810, at *5
Deliberate indifference by prison officials to a prisoner's        (N.D.N.Y. Oct.25, 2010) (denial of ability to rinse eyes for
serious medical need constitutes cruel and unusual                 thirty to sixty minutes after being sprayed with chemical agent
punishment in violation of the Eighth Amendment. Estelle           was not serious medical need); Strassner v. O'Flynn, No, 04–
v. Gamble, 429 U.S. 97, 104, 97 S.Ct. 285, 50 L.Ed.2d              CV–6021CJS, 2006 WL 839411, at *8 (W.D.N.Y. Mar.27,
251 (1976). To state such a claim, the plaintiff must allege       2006) (exposure to temporary discomfort of pepper spray is
facts demonstrating sufficiently harmful acts or omissions and     not a serious medical need) (citing cases).
intent to either deny or unreasonably delay access to needed
medical care or the wanton infliction of unnecessary pain by       The plaintiff also alleges that he suffered pain from the
prison personnel. Id. at 104–06.                                   restraints. The video evidence demonstrates that, while
                                                                   confined in four-point soft restraints, the plaintiff was
Because mere negligence will not support a section 1983            checked every fifteen minutes by medical staff. On occasion,
claim, not all lapses in prison medical care constitute a          he refused to allow medical staff to take his temperature while
constitutional violation. Smith v. Carpenter, 316 F.3d 178,        on four-point restraints. Frequently, the plaintiff refused to
184 (2d Cir.2003). In addition, inmates are not entitled to the    uncover his restraints or approach the cell door for in-cell
medical treatment of their choice. See Dean v. Coughlin, 804       restraints to be checked. The plaintiff did not complain of any
F.2d 207, 215 (2d Cir.1986). Mere disagreement with prison         pain during these checks. He also alleges that he experienced
officials about what constitutes appropriate care does not state   redness or slight bruising from restraints. Such complaints
a claim cognizable under the Eighth Amendment. “So long as         do not rise to the level of a serious medical need. Other
the treatment given is adequate, the fact that a prisoner might    minor medical complaints, such as a scratch on his arm, were
prefer a different treatment does not give rise to an Eighth       addressed by the medical staff. The fact that the plaintiff
Amendment violation.” Chance v. Armstrong, 143 F.3d 698,           may have preferred a different treatment does not support an
703 (2d Cir.1998). The conduct complained of must “shock           Eighth Amendment claim.
the conscience” or constitute a “barbarous act.” McCloud v.


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                                                                    (2d Cir.2001) (collecting cases). As the court has granted
                                                                    summary judgment in favor of the defendant on the federal
The court concludes that the plaintiff has not presented any
                                                                    claim, it declines to exercise supplemental jurisdiction over
evidence that he suffered a serious medical need as a result
                                                                    the remaining state law claims.
of the incidents underlying the complaint. Accordingly, the
defendants' motion for summary judgment is granted as to any
claims for deliberate indifference to a serious medical need.
                                                                    IV. Conclusion
                                                                    The defendants' motion for summary judgment [Doc. # 98] is
                                                                    GRANTED. The Clerk is directed to enter judgment in favor
   F. State Law Claims
                                                                    of the defendants and close this case.
The plaintiff includes in his complaint various state law
claims. Where no federal claims remain in a lawsuit,
                                                                    SO ORDERED
the district court may decline to exercise supplemental
jurisdiction and leave the state law claims to be considered
by the state courts. See 28 U.S.C. § 1367(c)(3) (district           All Citations
court may decline to exercise supplemental jurisdiction
over state law claims where all federal claims have been            Not Reported in F.Supp.2d, 2012 WL 6093887
dismissed); Giordano v. City of New York, 274 F.3d 740, 754

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                                                                   Defendants’ Rule 56.1 Statement ¶ 4. The facility was in at
                    2020 WL 7028907                                least partial lockdown, under which the movement of at least
      Only the Westlaw citation is currently available.            some inmates was restricted. Id. ¶ 5; Plf. Br., Dkt. No. 88, ¶
       United States District Court, S.D. New York.                12.

               Roy TAYLOR, Plaintiff,                              Captain Katena Isaac, one of the defendant correctional
                         v.                                        officers, stopped in front of Taylor's cell on the balcony of the
          OBCC C.O. NIEVES, et al., Defendants.                    housing unit to supervise meal service to inmates in that area.
                                                                   Def. 56.1 ¶ 8. After Taylor's cell door was opened, he exited
                       17-cv-7360 (AJN)                            his cell and rushed past Isaac. Id. ¶ 9. At the time, Taylor was
                               |                                   wearing a soft cast because he had broken his wrist about six
                       Signed 11/30/2020                           months earlier. Id. ¶¶ 25, 39. Isaac asked where Taylor was
                                                                   going and told him that he was not allowed to leave his cell.
Attorneys and Law Firms                                            Id. ¶ 10. Taylor said he was going to the shower and continued
                                                                   along the balcony past Isaac, ignoring her instructions. Plf. Br.
Roy Taylor, East Elmhurst, NY, pro se.
                                                                   ¶ 6; Def. 56.1 ¶ 12. Isaac followed Taylor along the balcony
Hannah Victoria Faddis, New York City Law Department,              and sprayed him from behind with a short burst of pepper
New York, NY, Nakul Y. Shah, Hill Wallack LLP, Princeton,          spray. Def 56.1 ¶ 12.
NJ, for Defendants.
                                                                   Taylor did not react to Isaac's use of pepper spray. Id. ¶ 13.
                                                                   He continued briskly along the balcony and then broke into
                                                                   a run. Id. Around this time, correctional officer Luis Nieves
          MEMORANDUM OPINION & ORDER
                                                                   came up the stairs on the far side of the balcony to assist Isaac.
ALISON J. NATHAN, District Judge:                                  Id. ¶ 15. Taylor rounded the corner of the balcony, and as
                                                                   he approached Nieves, turned back toward Isaac and started
 *1 In this pro se prisoner case under 42 U.S.C. § 1983,           waving his hands and yelling. Id. ¶¶ 16–17. After gesturing
Roy Taylor, then a detainee at the Otis Bantum Correctional        wildly and yelling at Isaac for about thirty seconds, he turned
Center, claims that several correctional officers violated his     and again started advancing toward Nieves. Id. ¶ 18–19.
constitutional rights by pepper spraying him when he refused       Nieves told Taylor to stop and warned him that he would use
instructions to return to his cell. The City of New York           pepper spray. Id. ¶ 20. Taylor continued rushing toward him,
and the individual correctional officers move for summary          and Nieves sprayed him in the face with a second short burst
judgment. The Court concludes that the correctional officers       of pepper spray. Id. ¶ 21; Plf. Br. ¶ 6. Taylor stopped and
are entitled to qualified immunity and that Taylor has not         staggered back. Id. ¶ 22. Captain Jermaine Slack, the last of
produced evidence supporting a claim for municipal liability       the correctional officer defendants, arrived moments later and
against the City. It thus grants the motion.                       called a probe team. Id. ¶ 23. Slack handcuffed Taylor—first
                                                                   using mechanical cuffs on one arm only, and then switching
                                                                   to plastic flex cuffs with Taylor's hands positioned in front of
I. Background
                                                                   his body—and the probe team escorted Taylor to the OBCC
Taylor has not filed a statement of undisputed facts as required
                                                                   clinic. Id. ¶¶ 24–34. Staff at the clinic diagnosed Taylor with
by Local Rule 56.1 despite being served with a notice to pro
                                                                   exposure to a chemical agent and a wrist contusion. Id. ¶ 37.
se litigants explaining the requirements of that rule. See Dkt.
                                                                   He was returned to his cell with instructions to periodically
Nos. 78–79. However, mindful of its obligation to construe
                                                                   rinse his face with cold water. Id. ¶ 38. When staff examined
pro se filings liberally, Pabon v. Wright, 459 F.3d 241, 248
                                                                   him at the clinic again two days later, he had recovered his
(2d Cir. 2006), the Court construes his brief in opposition as
                                                                   full range of motion in his arm. Id. ¶ 41.
a response to the Defendants’ Rule 56.1 Statement wherever
it disputes the facts contained therein. This factual recitation
                                                                    *2 Taylor filed suit against the City and correctional
includes solely the facts on which all parties apparently agree.
                                                                   officers. The City and correctional officers move for
                                                                   summary judgment, contending that the use of force was
On April 10, 2017, Taylor was a detainee at the Otis Bantum
                                                                   objectively reasonable; that the officers are entitled to
Correctional Center (“OBCC”) on Riker's Island, New York.


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qualified immunity; and that municipal liability does not lie      849 F.3d 17, 29 (2d Cir. 2017). To succeed on an excessive
against the City. See Dkt. Nos. 74, 76.                            force claim, a pretrial detainee must prove that the use of
                                                                   force was “objectively unreasonable.” Kingsley, 576 U.S. at
In support of their motion for summary judgment, the City          391–92. “Considerations such as the following may bear on
and correctional officers presented evidence including video       the reasonableness or unreasonableness of the force used:
of the pepper spray incident from six different angles. See        the relationship between the need for the use of force and
Declaration of Hannah V. Faddis, Dkt. No. 75, Exs. E–              the amount of force used; the extent of the plaintiff's injury;
J. The video evidence is clear and comprehensive. It fully         any effort made by the officer to temper or to limit the
corroborates the account in the Rule 56.1 statement. It shows      amount of force; the severity of the security problem at issue;
Taylor leaving his cell abruptly and briskly walking past Isaac    the threat reasonably perceived by the officer; and whether
without heeding her instructions. It shows him running along       the plaintiff was actively resisting.” Id. at 397. “Running a
the curved portion of the balcony and then turning back,           prison is an inordinately difficult undertaking.” Id. at 399
yelling, and waving his arms at Isaac. It then shows Nieves        (alteration omitted) (quoting Turner v. Safley, 482 U.S. 78,
raise his pepper spray in warning as Taylor approaches, and        84–85 (1987)). Courts must thus afford prison officials some
discharge it only several seconds later as Taylor presses          latitude to make “good-faith effort[s] to maintain or restore
forward, undeterred.                                               discipline.” Boddie v. Schnieder, 105 F.3d 857, 862 (2d Cir.
                                                                   1997) (quoting Hudson v. McMillian, 503 U.S. 1, 7 (1992)).

II. Legal Standard                                                  *3 Qualified immunity protects officers who do not violate
Summary judgment is appropriate “if the movant shows that          constitutional or statutory rights of which a reasonable
there is no genuine dispute as to any material fact and the        person would have known. White v. Pauly, 137 S. Ct. 548,
movant is entitled to judgment as a matter of law.” Fed. R.        551 (2017). “[O]fficers are entitled to qualified immunity
Civ. P. 56. “An issue of fact is genuine if ‘the evidence is       under § 1983 unless (1) they violated a federal statutory or
such that a reasonable jury could return a verdict for the         constitutional right, and (2) the unlawfulness of their conduct
nonmoving party.’ A fact is material if it ‘might affect the       was ‘clearly established at the time.’ ” D.C. v. Wesby, 138
outcome of the suit under the governing law.’ ” Roe v. City of     S. Ct. 577, 589 (2018) (quoting Reichle v. Howards, 566
Waterbury, 542 F.3d 31, 35 (2d Cir. 2008) (internal citations      U.S. 658, 664 (2012)). Supreme Court precedent “do[es] not
omitted) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S.        require a case directly on point, but existing precedent must
242, 248 (1986)). “In applying this standard, [courts] ‘resolve    have placed the statutory or constitutional question beyond
all ambiguities, and credit all factual inferences that could      debate.” Ashcroft v. al–Kidd, 563 U.S. 731, 741 (2011). A
rationally be drawn, in favor of the party opposing summary        district court may consider whether qualified immunity is
judgment.’ ” Brown v. Henderson, 257 F.3d 246, 251 (2d             available without deciding whether the conduct complained
Cir. 2001) (quoting Cifra v. General Electric Co., 252 F.3d        of amounts to a constitutional violation. Pearson v. Callahan,
205, 216 (2d Cir. 2001)). “Rule 56(c) mandates the entry of        555 U.S. 223, 236 (2009).
summary judgment, after adequate time for discovery and
upon motion, against a party who fails to make a showing           The Court concludes that the correctional officers are entitled
sufficient to establish the existence of an element essential to   to qualified immunity. Second Circuit precedent clearly
that party's case, and on which that party will bear the burden    disallows the gratuitous use of pepper spray against restrained
of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322    individuals. See Tracy v. Freshwater, 623 F.3d 90, 98–99
(1986).                                                            (2d Cir. 2010). However, there is no clearly established law
                                                                   forbidding its use against individuals who refuse to comply
                                                                   with officer instructions after a warning. In Brown v. City
III. Discussion
                                                                   of New York, 862 F.3d 182, 190 (2d Cir. 2017), the Second
   A. The Defendant Correctional Officers Are Entitled             Circuit held that an officer who used pepper spray to subdue a
   to Qualified Immunity                                           suspect was entitled to qualified immunity. There, the suspect
A pretrial detainee's claim of excessive force or                  repeatedly refused to comply with the officer's instructions
unconstitutional conditions of confinement is governed by the      and to put her hands behind her back to be handcuffed. Id.
Due Process Clause of the Fourteenth Amendment. Kingsley           The court held that it was not clearly unreasonable in those
v. Hendrickson, 576 U.S. 389, 391 (2015); Darnell v. Pineiro,      circumstances to push her to the ground and pepper spray her



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repeatedly, because the officer warned her before each use of
pepper spray and she continued to refuse to comply. Id.
                                                                       B. Taylor Has Failed to Produce Evidence Supporting
The correctional officers’ treatment of Taylor was                     Municipal Liability
considerably more measured and restrained than the conduct          Under Monell v. Department of Social Services, 436 U.S.
in Brown. Isaac sprayed Taylor just once, and then, after           658 (1978), a municipality may not be held liable for
he continued to yell and move away from his cell, Nieves            constitutional violations by its employees on the basis of
sprayed him just once more. Def. 56.1 ¶¶ 12–21. Their use           respondeat superior. Zahra v. Town of Southold, 48 F.3d
of pepper spray was unaccompanied by other acts of physical         674, 685 (2d Cir. 1995). Instead, a plaintiff must establish
force. The video evidence shows that other steps they took          that a municipal policy or custom caused the constitutional
to cajole Taylor to return to his cell were ineffective, and        violation. Wray v. City of New York, 490 F.3d 189, 195 (2d Cir.
the force they used was the minimum necessary to achieve            2007). When a plaintiff's Monell claim rests on a failure to
compliance with their instructions. It further shows that, as       train, the plaintiff must establish “deliberate indifference” to
in Brown, Nieves clearly warned Taylor before using pepper          constitutional deprivations in the face of “known or obvious
spray and only did so when Taylor continued to advance.             consequences.” Outlaw v. City of Hartford, 884 F.3d 351, 373
The deference due to prison officials in maintaining discipline     (2d Cir. 2018) (quoting Bd. of Cty. Comm'rs of Bryan Cty. v.
is also greater than that due to police officers on the street.     Brown, 520 U.S. 397, 407 (1997)).
See Kingsley, 576 U.S. at 399. If the use of pepper spray in
Brown was not clearly unreasonable, the correctional officers’      Taylor has failed to demonstrate—or even plead—that the
conduct does not approach that high threshold.                      correctional officers’ conduct in this case was the result of
                                                                    a municipal policy or custom. To the contrary, he argues at
Taylor also complains that the correctional officers                length that the officers’ conduct was unreasonable because
unreasonably handcuffed him despite his prior wrist injury          it was contrary to prison policy. See, e.g., Plf. Br. ¶ 12
and exacerbated irritation from the pepper spray by washing         (contending that the correctional officers’ orders for Taylor
his face with hot water, rather than cold. However, he does not     to return to his cell were contrary to prison policy); id. ¶
dispute that Slack initially only applied mechanical handcuffs      14 (contending that the correctional officers’ use of pepper
to one of his arms, and then promptly switched to plastic flex      spray was contrary to prison policy and that the officers
handcuffs, in an apparent effort to avoid any injury. See Def       failed to follow to prison decontamination procedures). Nor
56.1 ¶¶ 25–30. Any injuries appear to be de minimis and do          does Taylor allege or offer any evidence to show that the
not support a claim of clearly unlawful conduct. See, e.g.,         officers’ conduct was the result of any systematic defect
Walton v. Lee, No. 15-cv-3080 (PGG), 2019 WL 1437912,               in training. Because Taylor bears the burden to establish
at *4 (S.D.N.Y. Mar. 29, 2019) (de minimis injury from              municipal liability, his failure to introduce any evidence to do
use of handcuffs fails to amount to excessive force). Nor is        so is fatal to his claim against the City on summary judgment.
there any clearly established law that decontamination of a         See Celotex, 477 U.S. at 322.
prisoner after use of pepper spray with hot water, rather than
cold, is constitutionally unreasonable, even where that fails to
                                                                       C. The Defendant NYPD Officers Are Not Properly
comport with a prison's internal policies.
                                                                       Joined in this Case
                                                                    After this Court directed service in this case, it instructed
 *4 Finally, Taylor raises two additional claims against the
                                                                    Taylor to amend his complaint to clarify the true names of
correctional officers. In his brief in opposition to summary
                                                                    the defendants. See Dkt. No. 33. When Taylor did so, he also
judgment, he argues that the prison discriminated against him
                                                                    added to the caption of his complaint two New York Police
by allowing “gang members” to use the showers during the
                                                                    Department officers and to the body of his complaint a new
lockdown but not allowing him to do so. In his complaint, he
                                                                    claim for wrongful arrest. See FAC ¶ 5. His factual allegations
also alleges that the officers failed to produce him to court and
                                                                    do not mention the two NYPD officers at all. The Magistrate
to allow him visits with counsel. Taylor supplies no evidence
                                                                    Judge assigned to this case ordered Taylor to amend his
—or even more specific factual allegations—in support of
                                                                    complaint to add any additional parties by June 12, 2019, and
either claim, and so the Court concludes that the officers
                                                                    the Court then extended that deadline an additional month.
are entitled to summary judgment on these claims, too. See
                                                                    See Dkt. No. 43. Taylor did not do so, and the NYPD officers
Celotex, 477 U.S. at 322.
                                                                    identified in the caption of Taylor's amended complaint have


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                                                                       The motion for summary judgment filed by the City and
not been served. The Court therefore concludes that they were
                                                                       the correctional officers (Dkt. No. 74) is GRANTED, and
not properly joined as defendants in this action.
                                                                       judgment will be entered in their favor. Taylor's wrongful
                                                                       arrest claim against the NYPD officers is dismissed without
Nor would joinder of the NYPD officers be permissible under
                                                                       prejudice. All other pending motions are DENIED as moot.
Federal Rule of Civil Procedure 20. Taylor's allegations in
                                                                       The Clerk of Court is respectfully directed to enter judgment
support of this claim are sparse. But the claim appears to
                                                                       and close the case.
relate to an entirely separate incident, occurring nearly a year
earlier, in which Taylor was arrested following an altercation
                                                                       The Court finds pursuant to 28 U.S.C. § 1915(a)(3) that any
with a man who Taylor alleges was squatting in his brother's
                                                                       appeal from this Order would not be taken in good faith and,
apartment. FAC ¶ 5. This claim does not “aris[e] out of the
                                                                       therefore, in forma pauperis status is denied for the purpose
same ... occurrence” as his claims related to the pepper spray
incident, nor does it present any “question of law or fact” in         of any appeal. See Coppedge v. United States, 369 U.S. 438,
common with his claims against the other defendants. Fed. R.           444–45 (1962).
Civ. P. 20(a)(2). Joinder would thus be improper.
                                                                       The Clerk of Court is respectfully directed to mail a copy of
 *5 The Court therefore concludes that Taylor has not and              this Order to Taylor and to note the mailing on the public
could not properly join the NYPD defendants in this action             docket.
and so dismisses the claims against them without prejudice.
                                                                       SO ORDERED.


                         Conclusion                                    All Citations

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                                                                Manhattan Detention Center, and he and two other inmates
                    2020 WL 6420181                             were subsequently transferred to the George R. Vierno Center
      Only the Westlaw citation is currently available.         (GRVC) on Rikers Island. Dkt. No. 104 ¶ 5. When he arrived
       United States District Court, S.D. New York.             at GRVC, Plaintiff asked a corrections offer which unit he
                                                                was being placed in and which gang was in control of the
              Jose M. QUINONES, Plaintiff,                      unit. Id. ¶¶ 6–7. Plaintiff was informed that he was being
                             v.                                 placed in Unit 8A, and “that the Macballas controlled the
       Captain Adam ROLLISON, Shield No. 192,                   unit.” Id. ¶ 8. The parties agree that Plaintiff did not belong
                                                                to the Macballas gang, but was instead affiliated with another
     Correction Officer Eric Wilson, Shield No. 11616,
                                                                gang. Id. ¶ 9. Plaintiff testified that he was a member of
    Correction Officer Kenny Rochez, Shield No. 5196,
                                                                the Bloodhound Brims, which is affiliated with the Bloods.
     Correction Officer Sammy Fernandez, Shield No.
                                                                See Quinones Dep., Dkt. No. 93 Ex. C., at 40:9–13, 45:21–
    5335, and Captain Carlos Blackwood, Defendants.             46:1. The two other inmates that came with Plaintiff from
                                                                MDC were affiliated with other gangs. Quinones Dep. 29:6–
                      18-cv-1170 (AJN)
                                                                11 (noting that these individuals were members of the Ape
                              |
                      Signed 11/01/2020                         and Gorilla gangs); see also Dkt. No. 104 ¶ 12. 1 Plaintiff
                                                                and the other inmates “notified the officer that their gangs had
Attorneys and Law Firms                                         problems with the Macballas and that plaintiff expected he
                                                                would be attacked.” Dkt. No. 104 ¶ 13. Nonetheless, Plaintiff
Ezra Spilke, Law Offices of Ezra Spilke, PLLC, Brooklyn,        and the other two individuals were all placed in Unit 8A. Id. ¶
NY, for Plaintiff.                                              15. Plaintiff did not inform other Department of Corrections
                                                                staff members that he was concerned for his safety. Id.
Joseph Peter Zangrilli, New York City Law Department, New
York, NY, for Defendants.
                                                                1      Plaintiff admits this fact “to the limited extent
                                                                       that Plaintiff believed the two other inmates to be
                   OPINION & ORDER                                     members of the Gorilla gang.” Dkt. No. 104 ¶
                                                                       12. However, this proposition is conclusory, not
ALISON J. NATHAN, District Judge:                                      supported by any citations to the record, and indeed
                                                                       contradicted by the record. The same is true for
 *1 In 2016, Plaintiff Jose Quinones was detained at                   other facts contained in Plaintiff's Response to
the George R. Vierno Center on Rikers Island. On his                   Defendants’ 56.1 Statement and Plaintiff's Rule
first day at that facility, another inmate violently attacked          56.1 statement. Plaintiff has therefore failed to raise
him, and a corrections officer subsequently used pepper                a genuine dispute as to certain facts. See Scott v.
spray to break up the altercation. Plaintiff now claims that           Harris, 550 U.S. 372, 380 (2007); Local Civil Rule
Defendants, a number of Department of Corrections staff,               56.1(c)–(d).
used excessive force against him in breaking up the fight and
were deliberately indifferent to his safety. Defendants have    The next morning, Plaintiff was let out of his cell and spoke
moved for summary judgment on both claims. For the reasons      with a man named Mike, who he knew from his time living
that follow, Defendants’ motion is GRANTED.                     in Harlem. Id. ¶ 19. Mike informed Plaintiff that Unit 8A
                                                                housed members of the Macballas and Patria gangs, and that
                                                                there were “two other Blood gang members also inside the
  I. BACKGROUND                                                 housing unit.” Id. ¶¶ 20–21. Plaintiff then spoke with these
                                                                “other Blood gang members” and learned that “the Bloods
                                                                shared one of the Macballas’ phones and were allowed to use
                       A. The Facts
                                                                it at certain times of the day.” Id. ¶ 22. Later that day, after
The following facts are undisputed: In November 2016,           confirming with other Blood members that he could use the
the New York Police Department arrested Plaintiff Jose          phone, Plaintiff made a phone call. Id. ¶ 24. On that call, he
Quinones. Dkt. No. 104 ¶ 3; see also Dkt. No. 93 Ex.            informed the individual with whom he was speaking that “he
D. For about two weeks, Plaintiff was incarcerated at the       rejected an offer” from Department of Corrections officers “to



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go into protective custody ... because he was trying to look      who belonged to the Trinitarian gang,” not the Macballas. Id.
cool.” Id. ¶ 25.                                                  ¶ 46. 2

 *2 While on the phone, at about 9 AM, Plaintiff was “slashed     2         Plaintiff contends that Defendants’ Exhibit K, a
by another inmate.” Id. ¶ 26. Specifically, “an inmate sliced
                                                                            New York City Department of Corrections incident
Mr. Quinones in the cheek and neck, leaving a five-inch
                                                                            report, is inadmissible because it constitutes
gash.” Dkt. No. 105 ¶ 14. The parties disagree about the exact
                                                                            hearsay. However, this incident report satisfies all
details of what happened next, but here's the (undisputed)
                                                                            requirements for the business-record exception to
gist: Officer Sammy Fernandez, a defendant in this action,
                                                                            hearsay, and the Court can thus consider it on
was working in Unit 8A at the time. Dkt. No. 104 ¶ 28.
                                                                            summary judgment. See Federal Rule of Evidence
Officer Fernandez described his job as “basically walk[ing]
                                                                            803(6); United States v. Kaiser, 609 F.3d 556, 574–
around and monitor[ing] the housing area.” Fernandez Dep.,
                                                                            75 (2d Cir. 2010).
Dkt. No. 93-8, at 25:2–47. Unit 8A contains two levels of
cells, and Officer Fernandez was on the higher level at the
time. Id. 25:11–13, 29:17–30:3 (“I was on the top tier of the
                                                                                       B. Procedural History
housing area ... I was letting inmates out of their cells.”).
After Plaintiff was attacked, Officer Fernandez ran to the        In February 2018, Plaintiff filed this action under 42 U.S.C.
stairwell, came downstairs, and “pushed his Personal Body         § 1983. More than a year later, he filed a fourth amended
Alarm immediately after he saw blood on the plaintiff.” Dkt.      complaint, which is the operative pleading in this matter.
No. 104 ¶ 30.                                                     Dkt. No. 88. He named as defendants several Department
                                                                  of Corrections staff, such as Officer Fernandez and the
Plaintiff admits that after he “was cut he turned in an
                                                                  officers who conducted his intake into GRVC. Id. ¶¶ 5–8. 3
aggressive manner towards his assailant.” Id. ¶ 31. The
                                                                  Plaintiff alleged that Defendant Fernandez had violated his
assailant and the Plaintiff continued to fight—though the
                                                                  constitutional rights by using excessive force. And Plaintiff
parties dispute who “threw the first punch.” See id. ¶ 32.
                                                                  alleged that the other Department of Corrections Staff, whom
Officer Fernandez “ordered the plaintiff and other inmate to
                                                                  the parties refer to as the “Intake Defendants,” violated the
stop,” and Plaintiff admits that Officer Fernandez said “stop”
                                                                  Fourteenth Amendment's Due Process Clause by placing
while looking at him. Dkt. No. 104 ¶ 34. Officer Fernandez
                                                                  him into Unit 8A even though he expressed that he was
further informed both inmates “that he would utilize his
                                                                  not a Macballas member, thereby acting with deliberate
chemical agent if they continued to fight.” Id. ¶ 35. Plaintiff
                                                                  indifference to his safety. See id.
subsequently threw a garbage can in the direction of the
inmate who had cut him and others who had gathered on
                                                                  3
the scene. Id. ¶ 36. Officer Fernandez then used a “two-                    Plaintiff also named as Defendant Correction
second burst of chemical agent,” and both Plaintiff and his                 Officer Jane or John Doe, Dkt. No. 88 ¶ 5, but he
assailant were sprayed. Id. ¶ 37; see also Fernandez Dep.                   subsequently consented to “dismissal of the John
55:1-16. After Officer Fernandez sprayed the chemical agent,                or Jane Doe defendants,” Dkt. No. 99 ¶ 2.
“the fight stopped and the inmates dispersed throughout the        *3 After lengthy discovery, Defendants have moved for
housing area.” Id. ¶ 39. A “probe team” then arrived and          summary judgment on all counts. That motion is now before
escorted both inmates out of the housing unit. Id. ¶ 40; see      the Court.
also id. ¶ 43 (“Approximately five minutes after the incident
the plaintiff was escorted out of the unit.”). Defendants have
also provided undisputed video footage of this entire incident.     II. LEGAL STANDARD
Def. Ex. G.                                                       Summary judgment is appropriate only where “there is no
                                                                  genuine issue as to any material fact and ... the moving
Plaintiff was soon seen in the GRVC clinic by a doctor,           party is entitled to a judgment as a matter of law.” Fed.
and was then “referred to Urgi-Care where his laceration          R. Civ. P. 56(c). A dispute is “genuine” if “the evidence is
wound was treated with Dermabond/Sterile strips.” Id. ¶¶ 41–      such that a reasonable jury could return a verdict for the
42. A subsequent Department of Corrections investigation          nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S.
determined “that the plaintiff had been slashed by an inmate      242, 248 (1986). The relevant inquiry on summary judgment



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is “whether the evidence presents a sufficient disagreement       color of state law, deprive a plaintiff of a federal right. See
to require submission to a jury or whether it is so one-sided     Gomez v. Toledo, 446 U.S. 635, 640 (1980). “A pretrial
that one party must prevail as a matter of law.” Id. at 251–      detainee who is subjected to excessive force may bring a claim
52. A court is not charged with weighing the evidence and         under § 1983.” Cunningham v. Rodriguez, No. 01-cv-1123
determining its truth, but with determining whether there         (DC), 2002 WL 31654960, at *4 (S.D.N.Y. Nov. 22, 2002).
is a genuine issue for trial. Westinghouse Elec. Corp. v.         Because the Eighth Amendment's protection from cruel and
N.Y. City Transit Auth., 735 F. Supp. 1205, 1212 (S.D.N.Y.        unusual punishment does not apply “ ‘until after conviction
1990) (quoting Anderson, 477 U.S. at 249). Moreover, if           and sentence,’ the right of pretrial detainees to be free from
the evidence for the nonmoving party is a mere scintilla or       excessive force amounting to punishment is protected by the
“not significantly probative,” the court may grant summary        Due Process Clause of the Fourteenth Amendment.” United
judgment. Anderson, 477 U.S. at 249–50. A fact is “material”      States v. Walsh, 194 F.3d 37, 47 (2d Cir. 1999) (quoting
only if it will affect the outcome of the suit under applicable   Graham v. Connor, 490 U.S. 386, 392 n.6 (1989)). “The
law, and such facts “properly preclude the entry of summary       Second Circuit applies the same standard to excessive force
judgment.” Id. at 248. Disputes over irrelevant facts will not    claims brought under the Fourteenth Amendment as under
preclude summary judgment. Id. The goal is to “isolate and        the Eighth Amendment.” Virella v. Pozzi, No. 05-cv-10460
dispose of factually unsupported claims.” Celotex Corp. v.        (RWS), 2006 WL 2707394, at *3 (S.D.N.Y. Sept. 20, 2006).
Catrett, 477 U.S. 317, 323–24 (1986).
                                                                   *4 To establish a violation of the “right of pretrial detainees
While the moving party bears the initial burden of showing        to be free from excessive force amounting to punishment,” a
that no genuine issue of material fact exists, Atl. Mut. Ins.     pretrial detainee must show that the force used against him
Co. v. CSX Lines, L.L.C., 432 F.3d 428, 433 (2d Cir. 2005),       was “objectively unreasonable.” Kingsley v. Hendrickson,
in cases where the non-moving party bears the burden of           576 U.S. 389 (2015). This inquiry is “context specific,
persuasion at trial, “the burden on the moving party may be       turning upon ‘contemporary standards of decency.’ ” Blyden
discharged by ‘showing’—that is, pointing out to the district     v. Mancusi, 186 F.3d 252, 263 (2d Cir. 1999) (quoting
court—that there is an absence of evidence to support the         Hudson v. McMillan, 503 U.S. 1, 8 (1992)). “Considerations
nonmoving party's case,” Celotex, 477 U.S. at 325. “It is         such as the following may bear on the reasonableness or
ordinarily sufficient for the movant to point to a lack of        unreasonableness of the force used: the relationship between
evidence ... on an essential element of the non-movant's          the need for the use of force and the amount of force used; the
claim.... [T]he nonmoving party must [then] come forward          extent of the plaintiff's injury; any effort made by the officer
with admissible evidence sufficient to raise a genuine issue      to temper or to limit the amount of force; the severity of the
of fact for trial....” Jaramillo v. Weyerhaeuser Co., 536 F.3d    security problem at issue; the threat reasonably perceived by
140, 145 (2d Cir. 2008) (internal citations omitted); see also    the officer; and whether the plaintiff was actively resisting.”
Goenaga v. March of Dimes Birth Defects Found., 51 F.3d           Kingsley, 576 U.S. at 397.
14, 18 (2d Cir. 1995) (“Once the moving party has made a
properly supported showing sufficient to suggest the absence      The Second Circuit has long made clear that “[n]ot every push
of any genuine issue as to a material fact, the nonmoving         or shove, even if it may later seem unnecessary in the peace
party ... must come forward with evidence that would be           of a judge's chambers, violates a prisoner's constitutional
sufficient to support a jury verdict in his favor.”).             rights.” Boddie v. Schnieder, 105 F.3d 857, 862 (2d Cir.
                                                                  1997) (quoting Johnson v. Glick, 481 F.2d 1028, 1033 (2d
                                                                  Cir. 1973)). In other words, “plaintiff must show that the
  III. DEFENDANTS’ MOTION IS GRANTED                              harm incurred was more than de minimis.” Berry v. City of
                                                                  New York Dep't of Corr., No. 12-cv-7819 (RWS), 2014 WL
           A. Plaintiff's Excessive-Force Claim                   2158518, at *5 (S.D.N.Y. May 22, 2014), aff'd sub nom.
             against Officer Fernandez Fails                      Berry v. New York City Dep't of Correction, 622 F. App'x
                                                                  10 (2d Cir. 2015). The use of pepper spray “constitutes a
The Court begins with Plaintiff's claim that Fernandez's use      significant degree of force” and can in certain cases form
of pepper spray constituted constitutionally excessive force,     the basis of a constitutional violation. Tracy v. Freshwater,
in violation of the Fourteenth Amendment. Section 1983            623 F.3d 90, 98 (2d Cir. 2010) (“Unquestionably, infliction
imposes liability on individuals who, while acting under          of pepper spray on an arrestee has a variety of incapacitating



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and painful effects....”); see Berry, 2014 WL 2158518, at           to follow their orders ... before resorting to use of force”).
*5. However, if the force was “applied in a good-faith              Indeed, despite Fernandez's warnings, Dkt. No. 104 ¶¶ 34–
effort to maintain or restore discipline, it is unlikely to be      35, Plaintiff continued his involvement in the fight and threw
repugnant to the conscience of mankind, and will not amount         a garbage can at his assailant and other inmates. Id. ¶ 36.
to excessive force under Second Circuit law.” Adilovic v. Cnty.     Though Plaintiff contends that the garbage can was thrown
of Westchester, No. 08-cv-10971 (PGG), 2011 WL 2893101,             in self-defense, and thus the Court should disregard this fact,
at *6 n. 12 (S.D.N.Y. July 14, 2011) (internal citation omitted)    Plaintiff's subjective state of mind is irrelevant—the Court
(quoting Sims v. Artuz, 230 F.3d 14, 21 (2d Cir. 2000)); accord     must determine if Fernandez's actions, in response to these
Berry, 2014 WL 2158518, at *5.                                      circumstances, was objectively reasonable. See Kingsley, 576
                                                                    U.S. at 396–97.
The Court concludes that, on the undisputed facts, no
reasonable jury could conclude that Officer Fernandez's use          *5 Plaintiff contends that he has established a genuine
of force was objectively unreasonable. See Kingsley, 576            dispute on his excessive-force claim because the pepper
U.S. at 397. To begin, the amount of force used was small.          spray entered his fresh wound. However, as the Supreme
It is undisputed that Officer Fernandez used only a two-            Court has repeatedly admonished, a “court must make [the
second burst of pepper spray against Mr. Quinones. Dkt.             objective-reasonableness] determination from the perspective
No. 104 ¶ 37. He used a similar, seconds-long spray to              of a reasonable officer on the scene, including what the officer
subdue the assailant, and the parties agree that the “plaintiff     knew at the time, not with the 20/20 vision of hindsight.”
and his assailant were both sprayed one time [each] by              Kingsley, 576 U.S. at 397. It is undisputed that Officer
Officer Fernandez.” Id. ¶ 38 (emphasis added); see also             Fernandez had just come onto the first floor of Unit 8A and
Def. Ex. G (surveillance video demonstrating that pepper            was the only officer on the scene, and had seconds to assess
spray was used only for seconds). This case is thus a far           the situation before acting. See Ex. G; Dkt. No. 104 ¶¶ 28–
cry from United States v. Praisner, in which the pretrial           29. Given the violent fight occurring before him between
detainee alleged that he had been “sprayed six times on             two inmates, using the two-second burst of pepper spray
four separate occasions over approximately 40 minutes, and          was not objectively unreasonable. This is true even though
was not decontaminated during that period.” No. 09-cr-264           Plaintiff had suffered a serious, though not-life threatening,
(MRK), 2010 WL 2574103 (D. Conn. Apr. 27, 2010).                    injury, and the pepper spray irritated his wound until he
                                                                    shortly thereafter received medical treatment. Dkt. No. 104
Moreover, even reading the record most favorably to Plaintiff,      ¶ 41. Indeed, Officer Fernandez had seconds to observe that
Officer Fernandez's use of force was proportional to the need       injury, and he still used only proportionate force to “ensure
for force. Plaintiff does not dispute, and the surveillance video   compliance of an uncooperative ... inmate,” Adilovic, 2011
of the incident clearly demonstrates, that Officer Fernandez        WL 2893101, at *6. Crucially, unlike in Tracy, there is no
employed the two-second burst of pepper spray against two           evidence that Officer Fernandez “applied pepper spray after
inmates who were in the midst of a violent fight involving          [the plaintiff] had already been handcuffed and was offering
a dangerous weapon, had been warned to stop their conduct,          no physical resistance of police commands.” 623 F.3d at
had nonetheless continued fighting, and had been specifically       98–99. To the contrary, Officer Fernandez quickly desisted
warned that failure to do so would result in the use of pepper      from using pepper spray after his initial burst ended the
spray. Dkt. No. ¶¶ 34–35.; Def. Ex. G. Plaintiff's conduct          confrontation. See Dkt. No. 104 ¶ 37 (Plaintiff concedes that
posed a risk to other inmates, himself, Officer Fernandez,          Fernandez used a “two-second burst”); id. ¶ 39; Ex. G. And
and other prison staff. The parties agree that this limited         within one hour of the incident, Plaintiff was seen and treated
force was sufficient to achieve the desired end: “After the         by medical staff. Id. ¶ 41.
chemical agent was utilized the fight stopped and the inmates
dispersed throughout the housing area.” Dkt. No. 104 ¶ 39; see      In sum, Officer Fernandez is entitled to summary judgment
also Ex. G. And Officer Fernandez's repeated warnings speak         because Plaintiff has not established a material issue of fact
to his efforts “to temper or to limit the amount of force ...       as to the objective element of his excessive-force claim.
and whether the plaintiff was actively resisting.” Kingsley,        Accord Beauvoir, 345 F. Supp. 3d at 369 (granting defendants
576 U.S. at 397; accord Beauvoir v. Falco, 345 F. Supp. 3d          summary judgment in a § 1983 case because the “use
350, 369 (holding that this factor favored summary judgment         of the pepper spray ... was permissible in the context of
because “Defendants tried multiple times to convince Plaintiff      needing to maintain a baseline of order in the prison system,”



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even though plaintiff “was not behaving belligerently or         omitted). Summary judgment should be granted on the basis
threateningly,” in part because “Plaintiff repeatedly resisted   of qualified immunity only if “no reasonable jury, looking
multiple officers’ orders”); Berry, 2014 WL 2158518, at          at the evidence in the light most favorable to, and drawing
**5–6 (finding evidence that defendant officer used pepper       all inferences most favorable to, the plaintiff, could conclude
spray to break up a violent fight between inmates insufficient   that it was objectively reasonable for the defendant to believe
to raise a genuine dispute about excessive force, and thus       that he was acting in a fashion that did not clearly violate an
granting defendants summary judgment); see also Perry v.         established federally protected right.” Lennon v. Miller, 66
Stephens, 659 F. Supp. 2d 577, 582–83 (S.D.N.Y. 2009).           F.3d 416, 420 (2d Cir. 1995) (quoting Robison v. Via, 821 F.2d
                                                                 913, 921 (2d Cir. 1987)).

                                                                  *6 Plaintiff contends that “no reasonable officer in the
               B. Officer Fernandez is Also
                                                                 Second Circuit could have believed that he was entitled to
              Entitled to Qualified Immunity
                                                                 use pepper spray on the fresh, open facial cut of the victim
Plaintiff's excessive-force claim also fails because Officer     of an ongoing attack by another inmate.” Dkt. No. 100 at
Fernandez is entitled to qualified immunity. In other words,     7. This conclusory statement, however, is not enough to
even if a reasonable jury could find that Fernandez violated     defeat summary judgment on this ground, as Plaintiff points
the Fourteenth Amendment by using excessive force, he            to no Supreme Court or Second Circuit authority to this
would still be entitled to summary judgment because he did       effect. Moreover, Plaintiff omits from this statement myriad,
not violate a clearly established constitutional right.          undisputed facts in the record. As noted, even reading the
                                                                 record most favorably to Mr. Quinones, Officer Fernandez
An officer may take advantage of qualified immunity, and         was the sole DOC staff member that responded to an
thereby avoid liability for civil damages and the burdens        inmate-on-inmate altercation involving a dangerous weapon,
of a lawsuit, if he demonstrates that his conduct “does not      observed Plaintiff and his assailant engaging in a fight, told
violate clearly established statutory or constitutional rights   Plaintiff to “stop” (which Plaintiff concedes he heard), told
of which a reasonable person would have known.” Kisela v.        Plaintiff that failure to do so would result in the use of
Hughes, 138 S. Ct. 1148, 1152 (2018) (per curiam) (internal      chemical agent against him, and observed Plaintiff move in
quotation marks omitted). “ ‘Clearly established’ means that,    an aggressive manner and throw a garbage can. Dkt. No. 104
at the time of the officer's conduct, the law was sufficiently   ¶¶ 30–38. Only then did Fernandez spray a two-second burst
clear that every reasonable official would understand that       of pepper spray to stop the conduct. Plaintiff has pointed to
what he is doing is unlawful.” Dist. of Columbia v. Wesby,       no authority—let alone binding authority—and the Court has
138 S. Ct. 577, 589 (2018) (quotation omitted). “[E]xisting      found none suggesting that this proportionate use of non-
law must have placed the constitutionality of the officer's      deadly force to regain control of a violent situation in a prison
conduct beyond debate.” Id. (quotation omitted). “This           constitutes unconstitutionally excessive force. See Wesby, 138
demanding standard protects all but the plainly incompetent      S. Ct. at 589.
or those who knowingly violate the law.” Id. (quotation
omitted). Moreover, the Supreme Court has “repeatedly            To the contrary, the Second Circuit has stated that “the use
stressed that courts must not define clearly established law     of entirely gratuitous force is unreasonable and therefore
at a high level of generality, since doing so avoids the         excessive ... no reasonable officer could have believed that
crucial question whether the official acted reasonably in the    he was entitled to use pepper spray gratuitously against a
particular circumstances that he or she faced.” Id. at 590       restrained and unresisting arrestee.” Tracy, 623 F.3d at 99
(quotation omitted). In other words, “the clearly established    n.5. Yet here, the undisputed facts establish that Officer
right must be defined with specificity.” City of Escondido,      Fernandez's use of force was not gratuitous, Plaintiff was
Cal. v. Emmons, 149 S. Ct. 500, 501 (2019) (finding that         not restrained, and Plaintiff continued his violent conduct
defining the clearly established as “the right to be free of     after twice being warned to desist. Similarly, in Rodriguez
excessive force” was too general). It is a “constitutional       v. City of New York, the plaintiff's complaint survived a
right[ ] of which a reasonable person would have known” and      Rule 12 motion because plaintiff alleged that the corrections
“reasonableness is judged against the backdrop of the law at     officers sprayed pepper spray in an indiscriminate manner
the time of the conduct.” Kisela v. Hughes, 138 S.Ct. 1148,      against him after assaulting another inmate. Case. No. 14-
1152 (2018) (per curiam) (internal citations and quotations      cv-8647 (PGG) (S.D.N.Y.), Dkt. No. 38, at 2–3, 9, 13. Yet



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here, it is undisputed that Fernandez used pepper spray in a        which as discussed above applies only to convicted prisoners.
targeted and limited manner. See Def. Ex. G. On summary             Darnell v. Pineiro, 849 F.3d 17, 35 (2d Cir. 2017).
judgment, Plaintiff must offer more than allegations that
Defendants’ conduct constituted excessive force—yet even             *7 To state a claim for deliberate indifference, plaintiff's
reading the record favorably to him, no reasonable jury             allegations must satisfy a two-prong test, referred to as
could conclude that Fernandez's use of pepper spray was             the “objective prong” and the “subjective prong” (better
or gratuitous. Because Officer Fernandez did not violate a          understood as the mens rea or mental element prong). See
clearly established right, he is entitled to qualified immunity     id. at 30–32; Taylor v. City of New York, No. 16-cv-7857
on Plaintiff's excessive-force claim. Accord Berry, 2014 WL         (NRB), 2018 WL 1737626, at **11–12 (S.D.N.Y. Mar. 27,
2158518, at **6–7 (granting qualified immunity on similar           2018). Under the first prong, the inmate must show that
facts in this posture), aff'd, 622 F. App'x at 11 (holding that     the alleged violation was “sufficiently serious to constitute
defendants were “entitled to qualified immunity”); Beauvoir,        objective deprivations of the right to due process.” Darnell,
345 F. Supp. 3d at 375–76 (same).                                   849 F.3d at 29. The second prong requires the defendant's
                                                                    deliberate indifference to the objective deprivation. See id.
                                                                    at 32. Specifically, “the pretrial detainee must prove that the
                                                                    defendant-official acted intentionally to impose the alleged
   C. Defendants Are Entitled to Summary Judgment
                                                                    condition, or recklessly failed to act with reasonable care
      on Plaintiff's Deliberate-Indifference Claim
                                                                    to mitigate the risk that the condition posed to the pretrial
The Court next considers Mr. Quinones's claim that the              detainee even though the defendant-official knew, or should
Intake Defendants—Defendants Rochez, Wilson, Rollison,              have known, that the condition posed an excessive risk to
and Blackwood—were deliberately indifferent to the risk of          health or safety.” Id. at 35. As the Second Circuit explained,
harm that other inmates posed to him. Specifically, Plaintiff       “[i]n other words, the ‘subjective prong’ (or ‘mens rea prong’)
claims that the Intake Defendants “were notified of a credible      of a deliberate indifference claim is defined objectively.”
threat to Mr. Quinones’ safety,” as it is undisputed that upon      Id. Although Darnell involved a Fourteenth Amendment
intake to GVRC that Plaintiff and the two other inmates             challenge to a prisoner's conditions of confinement, its
informed the Intake Defendants that they could not be placed        holding also applies to failure-to-protect claims. See id. at 33
in Unit 8A, because the Macballas controlled that unit and          n.9 (“[D]eliberate indifference means the same thing for each
that “their gangs had problems with the Macballas and that          type of claim under the Fourteenth Amendment.”); Taylor,
plaintiff expected he would be attacked.” Dkt. No. 104 ¶¶ 10–       2018 WL 1737626, at *12.
13. Because the Intake Defendants nonetheless placed him in
Unit 8A, Plaintiff claims that “they recklessly failed to act       Here, the undisputed facts show that Plaintiff has failed
with reasonable care to mitigate that threat.” Dkt. No. 100 at      to establish a genuine dispute as to either prong. At best,
9–10.                                                               the record evidence shows that Plaintiff informed a still-
                                                                    unidentified intake officer that he could not be housed with
“[P]rison officials have a duty to protect prisoners from           Macballas gang members, in part because of “his knowledge
violence at the hands of other prisoners.” Farmer v. Brennan,       that Macballas did not let anyone else live with them while
511 U.S. 825, 833 (1994). Therefore, “[a]llowing an attack on       inside correctional facilities.” Dkt. No. 104 ¶ 14. However,
an inmate to proceed without intervening is a constitutional        Plaintiff did not inform “any of the officers in Unit 8A about
violation in certain circumstances.” Rosen v. City of New York,     his safety concerns.” Id. ¶ 18. And another inmate in the unit,
667 F. Supp. 2d 355, 359 (S.D.N.Y. 2009). However, not              Mike, whom Plaintiff knew from his time living in Harlem,
every injury that a prisoner suffers at the hands of another        informed Plaintiff that “two other Blood gang members” also
results in constitutional liability for the officials responsible   lived in the housing unit. Id. ¶ 21. Indeed, Plaintiff admits
for that prisoner's safety. See Farmer, 511 U.S. at 834. Instead,   that he “spoke with other Blood gang members” and was
an official must act with “ ‘deliberate indifference’ to a          informed that the Macballas permitted Blood members use
substantial risk of serious harm to an inmate.” Id. at 828.         one of the telephones in the unit at certain times of the day.
When such claims are made by a pretrial detainee such as            Id. ¶ 22. It is therefore undisputed that there were multiple
Mr. Quinones, they “are governed by the Due Process Clause          Blood gang members—as well as the other inmates who were
of the Fourteenth Amendment, rather than the Cruel and              not affiliated with the Macballas, such as the two individuals
Unusual Punishments Clause of the Eighth Amendment,”                with whom Plaintiff's intake was processed—also housed in



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                                                                          not established a genuine dispute that the Intake Defendants
Unit 8A, and that these individuals were not attacked by
                                                                          acted recklessly. See Dkt. No. 104 ¶¶ 16–18. Moreover, a
Macballas. Id. ¶ 21.
                                                                          Department of Corrections report created after the incident
                                                                          identifies the assailant as a Trinitarian gang member, not a
Moreover, Plaintiff did not inform the Intake Defendants
(nor does he now contend) that there was a more specific                  Macballas member. See Def. Ex. K. It is undisputed that
threat against him, such as one made by a specific Macballa               Plaintiff never raised concerns about any gang other than
                                                                          the Macballas, and thus even with Plaintiff's statement, the
member. Cf. Rennalls v. Alfredo, 2015 WL 5730332, at *4
                                                                          Intake Defendants were not reckless in placing him in Unit
(S.D.N.Y. Sept. 30, 2015) (“A substantial risk of serious harm
can be demonstrated where there is evidence of a previous                 8A, which was controlled by the Macballas. See Dkt. No. 104
altercation between a plaintiff and an attacker, coupled with a           ¶ 46. In sum, Defendants are also entitled summary judgment
complaint by plaintiff regarding the altercation or a request by          on Plaintiff's deliberate-indifference claim. 4 Accord Anselmo
[a] plaintiff to be separated from the attacker.”); Velez v. City         v. Kirkpatrick, No. 19-cv-0350 (TJM), 2019 WL 2137469, at
of New York, No. 17-cv-9841 (GHW), 2019 WL 3495642,                       *4 (N.D.N.Y. May 16, 2019) (“[A]n inmate's communications
at *4 (S.D.N.Y. Aug. 1, 2019) (“Those cases which have                    about ‘generalized safety concerns’ or ‘vague concerns of
found officers potentially liable for failing to prevent an               future assault by unknown individuals’ are insufficient to
attack involved clear and specific threats against an inmate.”)           provide knowledge that the inmate is subject to a substantial
(collecting cases). Given these undisputed facts, Plaintiff has           risk of serious harm.” (quoting Ross v. City of New York, No.
failed to establish a genuine dispute that “the conditions,               12-CV-8545, 2014 WL 3844783, at *8 (S.D.N.Y. 2014) and
either alone or in combination, pose an unreasonable risk of              collecting cases).
serious damage to his health.” Walker, 717 F.3d at 135; accord
Velez, 2019 WL 3495642, at *4 (S.D.N.Y. Aug. 1, 2019) (“a                 4       For the same reasons, Plaintiff has not shown
number of courts in this district have found that an inmate                       that the Intake Defendants violated a clearly
informing an officer about a nebulous or untethered fear does                     established constitutional right. They have pointed
not put an officer on notice that the inmate is at risk of attack”)               to no cases, let alone binding authority, holding
(collecting cases); see, e.g., Desulma v. City of New York,                       “with specificity” that such conduct constitutes a
No. 98-cv-2078 (RMB), 2001 WL 798002, at *7 (S.D.N.Y.                             violation of the Fourteenth Amendment. See City
July 6, 2001) (although prison official knew that the plaintiff                   of Escondido, Cal. v. Emmons, 149 S. Ct. 500,
feared certain inmates and had requested protective measures,                     501 (2019). The Intake Defendants, like Officer
“given the lack of prior history of violence between [plaintiff]                  Fernandez, are therefore also entitled to qualified
and [his attackers,]” there was no reason for him “to infer the                   immunity.
existence of a threat of harm”).
                                                                             IV. CONCLUSION
 *8 For the same reason, no reasonable jury could conclude                For the reasons stated above, Defendants’ motion for
that the Intake Defendants “act[ed] intentionally to impose the           summary judgment, Dkt. No. 91, is GRANTED. The Clerk
alleged condition, or recklessly fail[ed] to act with reasonable          of Court is respectfully directed to enter judgment and close
care to mitigate the risk that the condition posed to the                 this case.
pretrial detainee even though the defendant-official knew, or
should have known, that the condition posed an excessive                  SO ORDERED.
risk to health or safety.” Darnell, 849 F.3d at 35. There are
certainly no facts in the record, and Plaintiff does not point
to any, suggesting that the Intake Defendants intentionally               All Citations
exposed Plaintiff to harm. And given the number of non-
Macballas housed in Unit 8A and the generality of Plaintiff's             Not Reported in Fed. Supp., 2020 WL 6420181
comment made to a single corrections officer, Plaintiff has

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                                                                      during “movement to and from all service areas or places of
                                                                      escort.” (Doc. # 3).
      KeyCite Yellow Flag - Negative Treatment
Distinguished by Urena v. City of New York, S.D.N.Y., September 10,
                                                                      1
2024                                                                         In support of their motion, defendants submitted a
                                                                             Local Rule 56.1 Statement, several documents, and
                   2014 WL 3887880                                           a copy of a video of the August 1, 2012, incident.
      Only the Westlaw citation is currently available.                      Despite being given multiple opportunities to do so,
               United States District Court,                                 plaintiff did not submit any papers in opposition.
                     S.D. New York.
                                                                      On June 21, 2012, plaintiff was diagnosed with asthma. A
              Gabriel José VAZQUEZ, Plaintiff,                        physician recommended that if classified as a Red ID inmate,
                                                                      plaintiff should be handcuffed in front with one hand free.
                             v.
                                                                      (Doc. # 36, Ex. B).
             Captain SPEAR 347, C/O F. Degado
            74621, C/O La. Williams, Defendants.
                                                                      On August 1, 2012, plaintiff was brought to the Bronx
                                                                      Supreme Court for a court appearance. As shown in a video
                       No. 12CV6883(VB).
                                                                      of plaintiffs encounter with defendants, Williams approached
                                |
                                                                      plaintiff in the inmate waiting room and attempted to place
                       Signed Aug. 5, 2014.
                                                                      him in rear handcuffs. Plaintiff and Williams spoke briefly
                                                                      before Williams and Delgado moved plaintiff toward the wall
                                                                      with his hands behind his back. Plaintiff resisted, and began
                MEMORANDUM DECISION
                                                                      crouching on the ground. Williams pulled plaintiff up off the
BRICCETTI, District Judge.                                            ground, and after continued resistance from plaintiff, Spears
                                                                      utilized a burst of chemical spray. Plaintiff was subdued.
 *1 Plaintiff Gabriel José Vazquez, proceeding pro se,                (Doc. # 36, Ex. C).
brings this Section 1983 action against Captain Spears
(sued as “Spear”), and Correction Officers Delgado (sued as           The next day, August 2, plaintiff was notified he was
“Degado”) and Williams, all of whom are employees of the              being placed in Red ID status based on an April 2012
New York City Department of Correction, asserting claims              incident in which he used a weapon to assault a correction
for excessive force, deliberate indifference to medical needs,        officer. Plaintiff was then examined to determine “whether
and deprivation of property.                                          the enhanced restraints were likely to cause a significant
                                                                      adverse consequence for the inmate or aggravate an inmate's
Now pending is defendants' motion (i) for summary judgment            existing condition.” The physician performing the assessment
on plaintiff's excessive force claim, and (ii) for judgment on        determined plaintiff was not cleared for rear handcuffs or
the pleadings on the remaining claims. (Doc. # 34).                   mittens, and must always have one hand free. At a hearing
                                                                      on August 7 to review the August 2 Red ID placement,
For the following reasons, the motion is GRANTED.                     plaintiff's Red ID and enhanced restraint status was upheld
                                                                      and continued. (Doc. # 3).
The Court has subject matter jurisdiction pursuant to 28
U.S.C. § 1331.                                                        Plaintiff claims that during the August 1 incident, defendants
                                                                      destroyed records of his medical status, his legal documents,
                                                                      and his “English/Spanish comfort book.” Plaintiff further
                                                                      claims he suffered an asthma attack, his breathing was
                       BACKGROUND
                                                                      labored, and he had burns on his eye and mouth as a result of
                                                                      the chemical spray used in the incident. (Doc. # 3).
At the time of the relevant events, 1 plaintiff was a pre-
trial detainee at Rikers Island. Inmates may be found to
                                                                      Plaintiff thereafter commenced the instant action.
require “Red ID” or enhanced restraint status after incidents
of violence directed at staff or other inmates. Red ID inmates
are required to wear security mitts, handcuffs, and leg irons



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                                                                    CIS Air Corp., 352 F.3d 775, 780 (2d Cir.2003). If there is
                                                                    any evidence from which a reasonable inference could be
                        DISCUSSION
                                                                    drawn in favor of the non-moving party on the issue on which
I. Legal Standards                                                  summary judgment is sought, summary judgment is improper.
                                                                    See Sec. Ins. Co. of Hartford v. Old Dominion Freight Line
A. Summary Judgment                                                 Inc., 391 F.3d 77, 83 (2d Cir.2004). However, as pertinent
 *2 The Court must grant a motion for summary judgment if           here, when “the parties tell conflicting versions of an incident
the pleadings, discovery materials before the Court, and any        and one version is supported by a videotape, the court must
affidavits show there is no genuine issue as to any material        credit that version of events.” Carolina v. Pafumi, 2013 WL
fact and it is clear the moving party is entitled to judgment as    1673108, at *3 (D.Conn. Apr. 17, 2013). 2
a matter of law. Fed.R.Civ.P. 56(c); Celotex Corp. v. Catrett,
477 U.S. 317, 322 (1986).                                           2       Plaintiff will be provided with copies of all
A fact is material when it “might affect the outcome of the suit            unpublished opinions cited in this decision See
under the governing law.... Factual disputes that are irrelevant            Lebron v. Sanders, 557 F.3d 76, 79 (2d. Cir.2009).
or unnecessary” are not material and thus cannot preclude
summary judgment. Anderson v. Liberty Lobby, Inc., 477 U.S.            B. Judgment on the Pleadings
242, 248 (1986).                                                    At any time after the pleadings close and before trial
                                                                    commences, a party may move for judgment on the pleadings
A dispute about a material fact is genuine if there is sufficient   under Rule 12(c). See Citibank, N.A. v. Morgan Stanley &
evidence upon which a reasonable jury could return a verdict        Co. Int'l, PLC, 724 F.Supp.2d 407, 414 (S.D.N.Y.2010). “The
for the non-moving party. See id. The Court “is not to resolve      standard for addressing a Rule 12(c) motion for judgment on
disputed issues of fact but to assess whether there are any         the pleadings is the same as that for a Rule 12(b)(6) motion
factual issues to be tried.” Wilson v. Nw. Mut. Ins. Co., 625       to dismiss for failure to state a claim.” Cleveland v. Caplaw
F.3d 54, 60 (2d Cir.2010) (citation omitted). It is the moving      Enters., 448 F.3d 518, 520 (2d Cir.2006).
party's burden to establish the absence of any genuine issue of
material fact. Zalaski v. City of Bridgeport Police Dep't, 613       *3 In deciding a motion to dismiss pursuant to Rule 12(b)
F.3d 336, 340 (2d Cir.2010).                                        (6), the Court evaluates the sufficiency of the complaint under
                                                                    the “two-pronged approach” suggested by the Supreme Court
If the non-moving party has failed to make a sufficient             in Ashcroft v. Iqbal. See 556 U.S. 662, 679 (2009). First,
showing on an essential element of his case on which he has         “[t]hreadbare recitals of the elements of a cause of action,
the burden of proof, then summary judgment is appropriate.          supported by mere conclusory statements,” are not entitled
Celotex Corp. v. Catrett, 477 U.S. at 323. If the non-              to the assumption of truth and are thus not sufficient to
moving party submits “merely colorable” evidence, summary           withstand a motion to dismiss. Id. at 678; Hayden v. Paterson,
judgment may be granted. Anderson v. Liberty Lobby, Inc.,           594 F.3d 150, 161 (2d Cir.2010). Second, “[w]hen there are
477 U.S. at 249–50. The non-moving party “must do more              well-pleaded factual allegations, a court should assume their
than simply show that there is some metaphysical doubt as to        veracity and then determine whether they plausibly give rise
the material facts, and may not rely on conclusory allegations      to an entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. at 679.
or unsubstantiated speculation.” Brown v. Eli Lilly & Co.,
654 F.3d 347, 358 (2d Cir.2011) (internal citations omitted).       To survive a Rule 12(b)(6) motion, the allegations in the
The mere existence of a scintilla of evidence in support of         complaint must meet a standard of “plausibility.” Ashcroft
the non-moving party's position is likewise insufficient; there     v. Iqbal, 556 U.S. at 678; Bell Atl. Corp. v. Twombly, 550
must be evidence on which the jury could reasonably find for        U.S. 544, 564 (2007). A claim is facially plausible “when the
him. Dawson v. Cnty. of Westchester, 373 F.3d 265, 272 (2d          plaintiff pleads factual content that allows the court to draw
Cir.2004).                                                          the reasonable inference that the defendant is liable for the
                                                                    misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. at 678. “The
On summary judgment, the Court construes the facts, resolves        plausibility standard is not akin to a ‘probability requirement,’
all ambiguities, and draws all permissible factual inferences       but it asks for more than a sheer possibility that a defendant
in favor of the non-moving party. Dallas Aerospace, Inc. v.         has acted unlawfully.” Id.



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Because plaintiff is proceeding pro se, the Court must
construe his submissions liberally and interpret them “to           Ultimately, the “core judicial inquiry” is whether the
raise the strongest arguments that they suggest.” Triestman         force was nontrivial and “was applied ... maliciously and
v. Fed. Bureau of Prisons, 470 F.3d 471, 474 (2d Cir.2006)          sadistically to cause harm.” Wilkins v. Gaddv. 559 U.S. at 37
(per curiam) (internal quotation marks omitted). Applying the       (internal quotation marks omitted). “Not every push or shove,
pleading rules permissively is particularly appropriate when,       even if it may later seem unnecessary in the peace of a judge's
as here, a pro se plaintiff alleges civil rights violations. See    chambers, violates a prisoner's constitutional rights.” Johnson
Sealed Plaintiff v.. Sealed Defendant, 537 F.3d 185, 191 (2d        v. Glick, 481 F.2d at 1033.
Cir.2008). “Even in a pro se case, however ... threadbare
recitals of the elements of a cause of action, supported by mere    Here, the force used in handcuffing plaintiff does not
conclusory statements, do not suffice.” Chavis v. Chappius,         satisfy the objective prong of the excessive force analysis.
618 F.3d 162, 170 (2d Cir.2010) (internal quotation marks           Defendants indisputably did not use force “repugnant to the
omitted). Nor may the Court “invent factual allegations”            conscience of mankind,” but rather used de minimis force in
plaintiff has not pleaded. Id.                                      the form of firm physical restraint. Sulkowska v. City of New
                                                                    York, 129 F.Supp.2d 274, 292 (S.D.N.Y.2001) (“Plaintiff's
                                                                    restraint by handcuffs was merely an incident of her detention,
II. Excessive Force                                                 and does not amount to the type of punishment that violates
A pre-trial detainee seeking to establish an excessive force        the Fourteenth Amendment.”). This conclusion is supported
claim under the Fourteenth Amendment must show that                 by the fact thatplaintiff does not identify any injuries arising
the conduct was objectively sufficiently serious or harmful.        from his handcuffing. See Wilkins v. Gaddv. 559 U.S. at 38
United States v. Walsh, 194 F.3d 37, 50 (2d Cir.1999). “A           (quoting Hudson v. McMillian, 503 U.S. 1, 9 (1992) (“An
claim of excessive force may be established even if the victim      inmate who complains of a ‘push or shove’ that causes
does not suffer serious or significant injury, if plaintiff can     no discernible injury almost certainly fails to state a valid
demonstrate that the amount of force used is more than              excessive force claim.”). Because the force exerted was not
de minimis, or, otherwise involves force ‘repugnant to the          sufficiently serious, plaintiff's claim that excessive force was
conscience of mankind.’ “ Cunningham v. Rodriguez, 2002             used in handcuffing him fails as a matter of law.
WL 31654960, at *4 (S.D.N.Y. Nov. 22, 2002) (quoting
United States v. Walsh, 194 F.3d at 47). However, the injuries      In addition, defendants have not been shown to have acted
caused by the defendant's conduct are useful indicia of the         in bad faith in placing plaintiff in rear handcuffs. Attached to
amount of force applied against plaintiff. See id. at *5; Wilkins   plaintiff's complaint is a referral form dated June 21, 2012,
v. Gaddy, 559 U.S. 34, 37 (2010). The objective requirement         that recommends plaintiff be handcuffed in front with one
of the excessive force analysis ultimately seeks to determine       mitten only, citing plaintiff's asthmatic condition. However,
the nature of the force exerted, not just the extent of injuries    handwritten under this recommendation is a notation that
suffered.                                                           this course of action is to be followed “if [plaintiff is] Red
                                                                    ID.” (Doc. # 36, Ex. B). Because plaintiff had not been placed
 *4 An excessive force claim in the prison context also has         into Red ID status at the time of the August 1 incident,
a subjective component. Plaintiff must show that defendant          defendants did not contradict the medical recommendation
had a “sufficiently culpable state of mind ... shown by actions     letter in placing plaintiff in rear handcuffs, and thus did not
characterized by ‘wantonness.’ “ United States v. Walsh, 194        act in bad faith.
F .3d at 50 (citations omitted). To determine whether conduct
is wanton, “a court must look to such factors as the need            *5 To the extent the excessive force claim is based on
for the application of force, the relationship between the          the use of a chemical spray, that claim likewise fails as
need and the amount of force that was used, the extent of           a matter of law. “While correction officers may not use
injury inflicted, and whether force was applied in a good faith     chemical agents in greater quantities than necessary or for
effort to maintain or restore discipline or maliciously and         the sole purpose of punishment or infliction of pain, ‘the
sadistically for the very purpose of causing harm.” Showers         use of non-dangerous quantities of [a chemical agent] in
v. Eastmond, 2001 WL 527484, at *3 (S.D.N.Y. May 16,                order to prevent a perceived future danger does not’ generally
2001) (quoting Johnson v. Glick, 481 F.2d 1028, 1033 (2d.           overstep constitutional parameters.” Geas v. DuBois, 868
Cir.1973), overruled on other grounds. Graham v. Connor,            F.Supp. 19, 24 (D.Mass.1994) (quoting Soto v. Dickey, 744
490 U.S. 386 (1989)).


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F.2d 1260, 1270 (7th Cir.1984)); accord Berry v. City of New      extreme pain.” Patterson v. Lilley, 2003 WL 21507345, at *3
York, 2014 WL 2158518, at *5 (S.D.N.Y. May 22, 2014)              (S.D.N.Y. June 30, 2003) (quoting Hathaway v. Coughlin, 37
(if pepper spray is used “in a good-faith effort to maintain      F.3d 63, 66 (2d Cir.1994)).
or restore discipline, it is unlikely to be repugnant to the
conscience of mankind, and will not amount to excessive           The second prong requires that plaintiff plausibly plead facts
force under Second Circuit law”). Thus, the use of single burst   supporting an inference that a defendant “acted or failed to
of a chemical agent, which is not a dangerous quantity, is not    act despite his knowledge of a substantial risk of serious
“an unacceptable means of controlling an unruly or disruptive     harm,” and is thus an inquiry into the defendant's state
inmate.” Carolina v. Pafumi, 2013 WL 1673108, at *2.              of mind. Farmer v. Brennan, 511 U.S. at 842. Plaintiff
                                                                  must allege the defendant official was “aware of facts from
The video of the August 1 incident shows that defendants used     which the inference could be drawn that a substantial risk of
a single, two-second burst of a chemical agent after plaintiff    serious harm exists, and [drew] the inference.” Hathaway v.
refused to comply with orders to be handcuffed. (Doc. # 36,       Coughlin, 99 F.3d 550, 553 (2d. Cir.1996) (quoting Farmer
Ex. C). Plaintiff stopped resisting after the chemical agent      v. Brennan, 511 U.S. at 837). Plaintiff's complaint must
had its desired effect. This video demonstrates that plaintiff    also allege facts sufficient to support the inference that the
was a “recalcitrant inmate,” and thus defendants' use of          defendant who had knowledge of the condition and the
chemical agents to force compliance with direct orders was        risk “ ‘disregard[ed] that risk by failing to take reasonable
not “malicious and sadistic,” but rather a good faith effort to   measures.’ “ Jennings v. Horn. 2007 WL 2265574, at *4
restore order. Carolina v. Pafumi, 2013 WL 1673108, at *3.        (S.D.N.Y. Aug. 7, 2007) (quoting Farmer v. Brennan, 511
                                                                  U.S. at 847). Thus, the state of mind required under this test
Accordingly, defendants' motion for summary judgment on           is the equivalent of criminal recklessness. See Hathaway v.
the excessive force claim is granted.                             Coughlin, 99 F.3d at 553.

                                                                   *6 Plaintiffs claim of deliberate indifference fails to meet
III. Deliberate Indifference                                      the objective prong of the analysis, as his asthmatic condition
Liberally construed, the complaint alleges defendants were        alone does not impose a substantial risk of serious harm.
deliberately indifferent to his medical needs, in violation of    See Patterson v. Lilley, 2003 WL 21507345, at *4 (“Being
his due process rights under the Fourteenth Amendment. 3          an asthmatic (a person susceptible to asthma attacks) is not
                                                                  a condition, in Eighth Amendment parlance, that is severe
3                                                                 or ‘sufficiently serious.’ ”). Plaintiff's condition might have
       Although a pre-trial detainee's right to be free
       from cruel and unusual punishment is rooted in             imposed a substantial risk of serious harm if at the time of the
       the Fourteenth Amendment's protection of due               cuffing plaintiff was already suffering from an asthma attack.
       process, Eighth Amendment analysis governs the             See Ennis v. Davies, 1990 WL 121527, at *3 (S.D.N.Y. Aug.
       merits of such a claim. See Weyant v. Okst, 101            15, 1990) (denying motion for summary judgment where
       F.3d 845, 856 (2d. Cir.1996) (citing Revere v. Mass.       plaintiff alleged he was already suffering from an asthma
       Gen. Hosp., 463 U.S. 239, 244 (1983)).                     attack when officers refused to give him his medication).
                                                                  But plaintiff has not alleged facts sufficient to support the
To state a claim for deliberate indifference to medical needs,    inference that at the time of his restraint he was suffering
an inmate must allege that (I) objectively, the medical           from an asthma attack. Because just being asthmatic is
condition is “sufficiently serious,” and (2) subjectively, the    not a sufficiently serious condition to support a deliberate
defendant had a state of mind of “deliberate indifference” to     indifference claim, plaintiff's claim fails on the first prong of
the inmate's health. Farmer v. Brennan, 511 U.S. 825, 834         the analysis.
(1994); Cuoco v. Moritsugu, 222 F.3d 99, 106 (2d. Cir.2000).
                                                                  Plaintiff's claim also fails on the second prong of the analysis,
To satisfy the first prong, plaintiff must allege the medical     as defendants' conduct, at most, evinces negligence. Plaintiff's
condition in question was so serious it imposed a “substantial    medical assessment notes he was not cleared for rear cuffing
risk of serious harm.” Mitchell v. City of New York. 2010         if declared a Red ID inmate, and his referral form states he
WL 3734098, at *2 (S.D.N.Y. Sept. 23, 2010). To create a          should have one hand free, presumably to reach for his inhaler
substantial risk of serious harm, a condition must be one         in the event of an asthma attack. (Doc. # 3). Plaintiff was
“of urgency, one that may produce death, degeneration, or


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                                                                      4
not a Red ID inmate at the time of the incident, and thus                     Although a district court ordinarily should not
defendants were under no obligation to follow the medical                     dismiss pro se claims for failure to state a
assessment. Although, by rear cuffing plaintiff when he was                   claim “without granting leave to amend at least
not demonstrating signs of an imminent attack, defendants                     once when a liberal reading of the complaint
effectively restricted his access to his inhaler, courts have                 gives any indication that a valid claim might
regularly held the denial of access to asthma medication when                 be stated,” Cuoco v. Moritsugu, 222 F.3d at
a detainee is in custody and not suffering from an asthma                     112 (quoting Gomez v. USAA Fed. Sav. Bank,
attack amounts to negligence, not deliberate indifference. See                171 F.3d 794, 795 (2d Cir.1999)), here, liberally
Patterson v. Lilley, 2003 WL 121527, at *4; Sulkowska v. City                 construed, the complaint contains no allegations
of New York, 129 F.Supp.2d at 274.                                            suggesting plaintiff has valid claims for deliberate
                                                                              indifference to medical needs or deprivation of
Accordingly, defendants' motion for judgment on the                           property that he has merely “inadequately or
pleadings on the deliberate indifference claim is granted.                    inartfully pleaded” and therefore should “be given a
                                                                              chance to reframe.” Id. On the contrary, repleading
                                                                              would be futile, because the problems with these
IV. Deprivation of Property                                                   claims are substantive, and supplementary and/or
Liberally construed, plaintiff's complaint asserts a claim for                improved pleading will not cure their deficiencies.
the deprivation of property, in contravention of his Fourteenth               Accordingly, the Court declines to grant plaintiff
Amendment right to Due Process. “[A]n unauthorized                            leave to replead.
intentional deprivation of property by a state employee does
not constitute a violation of the procedural requirements of
the Due Process Clause of the Fourteenth Amendment if a                                      CONCLUSION
meaningful post-deprivation remedy for the loss is available.”
Hudson v. Palmer, 468 U.S. 517, 533 (1984).                           Defendants' motion for summary judgment and for judgment
                                                                      on the pleadings is GRANTED.
Plaintiff has not alleged the deprivation of his medical
records, legal documents, and English/Spanish comfort book            The Clerk is directed to terminate the pending motion (Doc.
was the result of an established state procedure. Rather,             # 34) and close this case.
plaintiff alleges this was a “random and unauthorized” act.
Butler v. Castro, 896 F.2d 698, 700 (2d Cir.1990). “[B]ecause         The Court certifies under 28 U.S.C. § 1915(a)(3) that any
New York provides an adequate post-deprivation remedy                 appeal from this order would not be taken in good faith, and
in the form of state law causes of action for ... replevin            therefore in forma pauperis status is denied for the purpose
or conversion,” plaintiff's claim for the deprivation of his          of an appeal. See Coppedge v. United States, 369 U.S. 438,
property is dismissed. Dove v. City of New York, 2000 WL              444–45 (1962).
342682, at *3 (S.D.N.Y. Mar. 30, 2000).
                                                                      SO ORDERED:
*7 Accordingly, defendants' motion for judgment on the
pleadings on the deprivation of property claim is granted. 4          All Citations

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                                                                to Fed. R. Civ. P. (“FRCP”) 12(b)(6), as to any claims asserted
                    2021 WL 5989600                             against them. (Dkt. No. 19). Plaintiff opposed the motion and
      Only the Westlaw citation is currently available.         sought leave to file a 253-page amended complaint pursuant
       United States District Court, N.D. New York.             to FRCP 15(a)(2). (Dkt. Nos. 24, 28). On December 12, 2018,
                                                                I recommended that the claims against defendants Waterson
                Equarn WHITE, Plaintiff,                        (medical care) and SORC Nelson (retaliation) be dismissed
                           v.                                   and that plaintiff's motion to amend be denied. (Dkt. No.
             Randel SMITH, et al., Defendants.                  34). On March 8, 2019, the Honorable Lawrence E. Kahn
                                                                modified the recommendation in part, dismissed the medical
                 9:17-CV-1094 (LEK/ATB)                         care claim against defendant Waterson, but denied the motion
                             |                                  to dismiss plaintiff's retaliation claim against SORC Nelson.
                     Signed 10/15/2021                          (Dkt. No. 36 at 43). Judge Kahn also allowed the plaintiff to
                                                                file a proposed amended complaint with specific limitations.
Attorneys and Law Firms                                         (Dkt. No. 36 at 18, 43-44).

EQUARN WHITE, Plaintiff, pro se.
                                                                2       During the period in question, defendants
ERIK B. PINSONNAULT, Asst. Attorney General for                         Nelson and Bernier worked at Upstate as
Defendants.                                                             Supervising Offender Rehabilitation Coordinators
                                                                        (“SORC”), and defendant Leclerc was an Offender
                                                                        Rehabilitation Coordinator (“ORC”).
            REPORT-RECOMMENDATION                               On June 5, 2019, plaintiff filed his motion to amend the
                                                                complaint, together with a proposed amended complaint.
Andrew T. Baxter, United States Magistrate Judge
                                                                (Dkt. No. 44). After a review of the proposed amended
 *1 This matter has been referred to me for Report and          complaint, the court allowed the following claims to go
Recommendation by the Honorable Lawrence E. Kahn,               forward:
Senior United States District Judge. Plaintiff brought this
                                                                    (1) Eighth Amendment conditions-of-confinement claim
civil rights action asserting various constitutional claims
                                                                    related to Cell 18 against R. Smith.
arising from his confinement at Upstate Correctional Facility
(“Upstate”). (Complaint (“Compl.”)) (Dkt. No. 1).                   (2) First Amendment retaliation claims against Bernier,
                                                                    Nelson, and LeClerc.

I. Procedural History                                               (3) Eighth Amendment excessive force claim against M.
After the court's initial review of the original complaint,         Gokey related to the September 2, 2014.
the court allowed three claims to go forward: (1) an
Eighth Amendment conditions of confinement claim against            (4) Eighth Amendment deliberate medical indifference
defendant Randal Smith, 1 (Dkt. No. 4 at 28-29, 42); (2)            claims against Maynard, Marinelli, Winston, Barkman, P.
an Eighth Amendment deliberate medical indifference claim           Baker, and H. Baker.
against defendant Waterson (Id. at 23, 42); and (3) a First
                                                                    (5) Eighth Amendment deliberate medical indifference
Amendment retaliation claim against defendants LeClerc,
                                                                    claim related to his mental health medication in 2014
Nelson, and Bernier. (Dkt. No. 4 at 34, 36-37, 42).
                                                                    against Byno.

1                                                                    *2 (6) Eighth Amendment deliberate medical indifference
       Plaintiff misspelled this defendant's first name in
       the original complaint. Where relevant, the court            claim against H. Baker related to medical treatment after
       will refer to defendant Smith with the proper                the September 2014 incident.
       spelling of his first name.
                                                                    (7) Eighth Amendment conditions of confinement claims,
On March 26, 2018, defendants Smith, Waterson, and Nelson           related to Cells 13 and 15, against Maynard, Winston,
(“SORC Nelson”) 2 moved to dismiss the complaint pursuant



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    Gallagher, Fournier, Eddy, L. Gokey, Marinelli, and R.         5       Plaintiff appears to have failed to file an updated
    Smith.                                                                 change of address. The last change of address
                                                                           he filed was on June 7, 2021 and prompted
    (8) Retaliation claims against L. Gokey and R. Smith
                                                                           the court to sua sponte extend plaintiff's time to
    related to sleep deprivation and Cell 15.
                                                                           respond to defendants’ motion. (Dkt. Nos. 81,
(Dkt. No. 55 at 23-24). 3 Plaintiff filed a signed copy of                 82). Unfortunately, on June 14, 2021, the orders
his proposed amended complaint, which has become the                       were returned to the court “undeliverable.” (Dkt.
operative pleading herein, with the remaining claims noted                 No. 83). The court checked the New York City
                                                                           Department of Corrections website, which had a
above. 4 (Dkt. No. 56).
                                                                           different address listed than the address in Dkt.
                                                                           No. 81. (Dkt. No. 83). The court mailed copies of
3       My Decision and Order contains only seven                          Dkt. Nos. 81 and 82 to the address listed by the
        numbered claims because the first “claim”                          NYC Dep't of Corrections. Although the mail was
        contained two separate issues. (Dkt. No. 55 at                     not returned “undeliverable,” plaintiff has failed to
        23-24). In this Report and Recommendation, I have                  respond to the defendants’ motion by the court-
        separated what was the first claim in the Decision                 extended deadline.
        and Order into two separate claims. Thus, there are
                                                                   The facts in the plaintiff's amended complaint are disjointed,
        eight remaining claims as listed herein.
                                                                   and the amended complaint describes incidents which
4                                                                  allegedly occurred at various times between 2013 and 2018,
        Unfortunately, contrary to the court's order,
        plaintiff's amended complaint contains many                even though plaintiff was directed to restrict his amended
        claims which relate to other districts, other time         complaint to the issues remaining after Judge Kahn's March 8,
        periods, and other facilities. The court sifted            2019 order (Dkt. No. 36). Thus, rather than stating a summary
        through hundreds of paragraphs to determine the            of facts at the outset, I will discuss the facts as relevant to each
        remaining relevant facts and claims. Plaintiff's           of the remaining claims in my analysis.
        Exhibits A-X are mostly unrelated to the remaining
        claims and consist of a variety of affidavits,
                                                                   II. Summary Judgment
        documents, and photographs. (Dkt. No. 56) (Ex. A-
                                                                    *3 Summary judgment is appropriate where there exists no
        X). Exhibit B was stricken from the record by court
                                                                   genuine issue of material fact and, based on the undisputed
        order. (Dkt. No. 55 at 24).
                                                                   facts, the moving party is entitled to judgment as a matter of
Presently before the court is the defendants’ motion for           law. Fed. R. Civ. P. 56; Salahuddin v. Goord, 467 F.3d 263,
summary judgment pursuant to Fed. R. Civ. P. 56. (Dkt.             272–73 (2d Cir. 2006). “Only disputes over [“material”] facts
No. 75). On May 5, 2021, the court received a letter from          that might affect the outcome of the suit under the governing
the plaintiff advising that he had been moved and did not          law will properly preclude the entry of summary judgment.”
have copies of his legal documents. (Dkt. No. 79). The court       Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986). It must
sent plaintiff the documents associated with the summary           be apparent that no rational finder of fact could find in favor
judgment motion other than his lengthy deposition, but             of the non-moving party for a court to grant a motion for
instructed him that he could request portions of the deposition.   summary judgment. Gallo v. Prudential Residential Servs., 22
(Dkt. No. 80). Plaintiff was specifically warned in the main       F.3d 1219, 1224 (2d Cir. 1994).
document of the defendants’ motion and in Docket # 80 that
“[his] failure to file any response to the motion may result       The moving party has the burden to show the absence of
in the motion being granted since the court will not have          disputed material facts by informing the court of portions
the benefit of the plaintiff's response to consider in making      of pleadings, depositions, and affidavits which support the
its decision.” (See Dkt. Nos. 75, 80). Plaintiff has failed        motion. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
to respond to the motion, despite being given a sua sponte         If the moving party satisfies its burden, the nonmoving party
extension to do so by the court. 5 (Dkt. No. 82).                  must move forward with specific facts showing that there is
                                                                   a genuine issue for trial. Salahuddin v. Goord, 467 F.3d at
                                                                   273. In that context, the nonmoving party must do more than
                                                                   “simply show that there is some metaphysical doubt as to


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the material facts.” Matsushita Electric Industrial Co., Ltd. v.   Mancusi, 186 F.3d 252, 263 (2d Cir. 1999) (citing Hudson
Zenith Radio Corp., 475 U.S. 574, 586 (1986). In determining       v. McMillan, 503 U.S. 1, 9 (1992)) (only those deprivations
whether there is a genuine issue of material fact, a court must    denying “the minimal civilized measures of life's necessities”
resolve all ambiguities, and draw all inferences, against the      are sufficiently serious to form the basis of an Eighth
movant. See United States v. Diebold, Inc., 369 U.S. 654, 655      Amendment violation) (internal quotations and citations
(1962); Salahuddin, 467 F.3d at 272.                               omitted).

As noted, plaintiff failed to oppose defendant's motion for         *4 The subjective element of the Eighth Amendment
summary judgment, notwithstanding the fact that he was             analysis focuses on whether the defendant official acted with
notified of the consequences of failing to respond. (Dkt. Nos.     “a sufficiently culpable state of mind.” Salahuddin v. Goord,
75, 80). “Where a non-movant fails to adequately oppose a          467 F.3d 263, 280 (2d Cir. 2006) (citing Wilson v. Seiter, 501
properly supported factual assertion made in a motion for          U.S. at 300). “Deliberate indifference” requires more than
summary judgment, a district court has no duty to perform          negligence, but less than conduct undertaken for the very
an independent review of the record to find proof of a factual     purpose of causing harm. Farmer, 511 U.S. at 835. In order
dispute, even if that movant is proceeding pro se.” Jackson v.     for a prison official to act with deliberate indifference, he must
Onondaga Cty., 549 F. Supp. 2d 204, 209 (N.D.N.Y. 2008);           know of and disregard an excessive risk to an inmate's health
Evans v. Albany Cty. Corr. Facility, No. 9:05-CV-1400 (GTS/        or safety. Hathaway, 37 F.3d at 66. The official must both be
DEP), 2009 WL 1401645, at *6 & n.35 (N.D.N.Y. May 14,              aware of facts from which the inference could be drawn that a
2009) (collecting cases).                                          substantial risk of serious harm exists, and he must also draw
                                                                   the inference. Id.

III. Conditions of Confinement
                                                                       B. Analysis
   A. Legal Standards
The Eighth Amendment protects prisoners from “cruel and
unusual punishment” in the form of “unnecessary and wanton                        1. Cell 18 - December 2015 -
infliction of pain” at the hands of prison officials. Wilson                  Defendant Randal Smith (Claim # 1)
v. Seiter, 501 U.S. 294, 297 (1991); Estelle v. Gamble,
                                                                   In the amended complaint, plaintiff alleges that defendant
429 U.S. 97, 104 (1976); Sims v. Artuz, 230 F.3d 14, 20
(2d Cir. 2000). The constitutional prohibition against cruel       Randal Smith placed plaintiff “next to 18 cell” 6 in 2015
and unusual punishment includes the right to be free from          “to deprive sleep and failed to correct rodent problem which
conditions of confinement that impose an excessive risk to an      the plaintiff was eventually bittin [sic] by one.” (Amended
inmate's health or safety. Farmer v. Brennan, 511 U.S. 825,        Complaint (“AC”) ¶ 413). At his deposition, plaintiff stated
837 (1994); Hathaway v. Coughlin, 37 F.3d 63, 66 (2d Cir.          that defendant Smith was one of the “instrumental pieces in
1994). To establish an Eighth Amendment claim based on             keeping me next to inmate Reader [sic]” when plaintiff moved
unsafe or medically inappropriate living conditions, a plaintiff   “back” 7 to Upstate. (Pl.’s Dep. at 160) (Dkt. No. 75-11).
must establish that (1) he was incarcerated under conditions
which posed a substantial risk of serious harm, and (2) prison     6       This has been interpreted as plaintiff being place in
officials acted with deliberate indifference to his health or              Cell 18. The number of the cell is not relevant to
safety. See Farmer, 511 U.S. at 834.                                       the issue herein. The central claim is that defendant
                                                                           Smith placed plaintiff in a cell next to inmate Razell
“The deliberate indifference standard embodies both an                     Reeder, who was known to make a great deal of
objective and a subjective prong.” Hathaway v. Coughlin, 37                noise, allegedly preventing plaintiff from sleeping
F.3d 63, 66 (2d Cir. 1994). Under the objective standard, a                more than a few hours per night.
plaintiff must allege a deprivation “sufficiently serious” to
constitute a constitutional violation. Hathaway, 37 F.3d at        7       The records indicate that plaintiff was confined
66 (quoting Wilson v. Seiter, 501 U.S. at 298)). “Because                  at Upstate Correctional Facility (“Upstate”) from
society does not expect or intend prison conditions to                     approximately May 3, 2014 to September 25, 2014
be comfortable, only extreme deprivations are sufficient                   and, after over a year at Green Haven Correctional
to sustain a ‘conditions-of-confinement’ claim.” Blyden v.                 Facility (“Green Haven”), plaintiff was transferred


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        back to Upstate from approximately December                  160). Such general allegations are insufficient to state a
        17, 2015 to March 21, 2016. (Declaration of AG               constitutional claim. See Little v. City of New York, No. 16
        Pinsonnault (“Pins Decl.”) Exh. C).                          Civ. 0780 (PAE/JCF), 2017 WL 713895, at *5 (S.D.N.Y. Feb.
It has been stated that sleep is “critical to human existence,       3, 2017) (citing inter alia Youmans v. Schriro, No. 12 Civ.
and conditions that prevent sleep have been held to violate the      3690, 2013 WL 6284422, at *5 n.3 (S.D.N.Y. Dec. 3, 2013)
Eighth Amendment.” Walker v. Schult, 717 F.3d 119, 126 (2d           (general allegations of conditions that merely interfere with
Cir. 2013) (citing cases). Vague, conclusory, and unsupported        sleep insufficient)). Cf. Mena v. City of New York, No. 13-
allegations do not raise a triable issue of fact as to whether the   CV-2430 (RJS), 2014 WL 4652570, at *4 (S.D.N.Y. Sept.
noise level was “objectively sufficiently serious for purposes       18, 2014) (detailed allegations of unconstitutional conditions
of a conditions of confinement claim.” See Phelan v. Durniak,        of confinement, including overcrowded cell resulting in
No. 9:10-CV-666 (FJS/RFT), 2014 WL 4759937, at *10                   substantial lack of sleep).
(N.D.N.Y. Sept. 24, 2014) (citations omitted).
                                                                     Plaintiff alleges that when he returned to Upstate (in
In the amended complaint, plaintiff alleges that he was placed       December of 2015) he told defendant Smith that plaintiff
near or next to inmate Reeder twice by defendants Smith, once        hoped that Smith was not “moving [him] next to inmate
in May of 2014 in Cell # 15, and again after plaintiff was           Reeder,” and that defendant Smith said “no.” (Pl.’s Dep. at
returned to Upstate in December of 2015, while plaintiff was         160-61, AC ¶ 209). Defendant Smith states in his declaration,
                                                                     that an inmate's cell placement was not solely his decision,
in Cell # 18. 8 The plaintiff's first claim deals only with the
                                                                     and as discussed further below, during 2014 and 2015,
December 2015 placement, plaintiff claims that he was near
                                                                     Upstate was full. (Smith Decl. ¶ 7) (Dkt. No. 75-9). There
or next to Inmate Reeder for approximately one month, but
                                                                     were limited options for placement of any inmate. (Id.) Inmate
there is no indication that plaintiff suffered any adverse effects
                                                                     Reeder was assigned to a single cell, and during his 2014 stay
as the result of the loss of sleep, 9 other than “peace of mine      at Upstate, plaintiff had required a single-cell. (See Marinelli
[sic].” 10 (AC ¶ 210 & 210(B)).                                      Decl. Ex. C) (Dkt. No. 76-1). Plaintiff may have been placed
                                                                     next to Inmate Reeder in 2015, in part, because both inmates
8       The Eighth Amendment claim is separate from                  required a single cell. 11 There is no indication that defendant
        the Retaliation claim involving the same conduct.            Smith was solely responsible 12 for plaintiff's placement in
        Plaintiff claims that being placed next to Inmate            Cell # 18, nor that he was deliberately indifferent to a serious
        Reeder was, in itself, an Eight Amendment                    risk to plaintiff's health as a result of his placement near
        violation. However, he also claims that he was               Inmate Reeder.
        placed next to inmate Reeder in retaliation for
        grievances that he filed. The plaintiff's various            11     Defendant Smith also states in his declaration
        retaliation claims are discussed below.
                                                                            that Upstate was a double-bunk facility. (Smith
9                                                                           Decl. ¶ 5). There were several criteria to consider
        Plaintiff claims that he was able to get two to three
        hours of sleep per day. (AC ¶ 250(B)).                              when finding a suitable cell-mate for an inmate,
                                                                            including height, weight, age, and any known
10                                                                          gang affiliations. (Id.) Defendant Smith states
        Plaintiff's allegations regarding the 2014 placement
        did elaborate on “injuries” that he suffered as a                   that, to the extent that he made any decisions
        result of his lack of sleep. I will discuss the 2014                regarding plaintiff's placement, they were made in
        placement below.                                                    accordance with facility policy and in an effort
                                                                            to decrease the risk of any violent or any other
 *5 In addition, during his deposition, plaintiff stated that
                                                                            dangerous incident in the cell. (Id.) Since plaintiff
Inmate Reeder could “annoy a whole company.” (Pl.’s Dep.
                                                                            had a history of making “homicidal” statements
at 148). It appears that the proximity to Inmate Reeder may
                                                                            regarding cell-mates, plaintiff would have been
not have made any difference to plaintiff's ability to sleep.
                                                                            placed in a single cell. However, defendant Smith
Plaintiff also testified, without any supporting evidence, that
                                                                            did not have an independent recollection of plaintiff
defendant Smith was “one of the instrumental pieces [sic]”
                                                                            being in a cell next to Inmate Reeder. (Smith Decl.
in keeping plaintiff next to inmate Reeder. (Pl.’s Dep. at
                                                                            ¶ 8). Defendant Smith also states that he was never
160). He stated that “the problem is sleep.” (Pl.’s Dep. at



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        made aware of any excessive risk to plaintiff from
        being housed next to Inmate Reeder, during either
                                                                     2. Cell ## 13 and 15 - May through September of 2014
        2014 or 2015, and he had no intention of disturbing
                                                                     - Defendants Maynard, Winston, Gallagher, Fournier,
        plaintiff's sleep, nor of “punishing” him for any
                                                                      Eddy, L. Gokey, Marinelli, and R. Smith (Claim # 7)
        reason. (Id.)
12      In order to be liable under section 1983,                                             a. Cell # 13
        a defendant must be personally responsible
        for the unconstitutional conditions. Tangretti v.           Plaintiff claims that in May of 2014, defendants Maynard,
        Bachmann, 983 F.3d 609, 619 (2d Cir. 2020)                  Winston, Barkman, Marinelli, and Gallagher placed plaintiff
        (plaintiff must establish that the defendant violated       in a dirty cell, with “body waste” all over the mattress,
        the Eighth Amendment by his own conduct, he                 toilet, and shower area in the corners. (AC ¶ 410). Plaintiff
        must know of and disregard an excessive risk to             also alleges that the cell was “freezing,” he was not given
        plaintiff's health or safety).                              sheets, wash rag, towel, pillow/pillowcase, and he was not
                                                                    provided any clothing. (Id.) Plaintiff claims that he was given
Plaintiff claims that on December 30, 2015, he spoke to
                                                                    a pillow, towel, and wash rag after two and one half months.
defendant Smith about “moving” and asked defendant Smith
                                                                    (Id.) Plaintiff also alleges that defendant Fournier refused
to get an exterminator because there were mice and “rats” in
                                                                    to give him cleaning supplies, allegedly because plaintiff
his cell. (AC ¶ 210(A)). Plaintiff states that the mice would
                                                                    made defendant Gallagher “mad” when plaintiff tried to kill
climb up on his bed to retrieve the bread that plaintiff had
                                                                    himself. (AC ¶ 411). Although plaintiff's causes of action
saved under the mattress. (AC ¶ 210 (B)). Plaintiff claims
                                                                    generalize the claim against the named defendants, the fact
that he was “eventually” bitten by a mouse because defendant
                                                                    section of the complaint and plaintiff's deposition show that
Smith was somehow responsible for failing to correct the
                                                                    each of the defendants was only involved at specific times
rodent problem in the housing unit. (AC ¶¶ 210(B); 413).
                                                                    during the short time that plaintiff was housed in Cell #13.
During his deposition, plaintiff stated that he told defendant
Smith to “fix the conditions.” (Pl.’s Dep. at 161).
                                                                    In the fact section of the amended complaint, plaintiff claims
                                                                    that when he transferred from Downstate to Upstate, he was
 *6 In his declaration, defendant Smith states that he did not
                                                                    taken to a holding cell, where he told Officer Scott that he was
ignore a rodent problem at Upstate. (Smith Decl. ¶ 12). He
                                                                    “homicidal” and “suicidal.” (AC ¶ 71). As a result, plaintiff
states that Upstate had rodent traps, access to extermination
                                                                    was placed in a “holding cell.” (AC ¶ 72). Plaintiff claims
services, and means by which inmates could report rodent
                                                                    that Officer Scott spoke with defendant Byno, who suggested
issues. (Id.) Plaintiff has failed to respond to the defendants’
motion to contest any of the sworn facts in their declarations.     that plaintiff be sent to the infirmary for “OMH” 13 watch. 14
Although plaintiff states that he was bitten by a mouse, he         (Id.) Plaintiff states that he was on “OMH watch” until May
does not claim any adverse affect resulting from the bite, and      5, 2014, when he told defendant Maynard that he was still
he does not describe how the “rodent” problem rose to the           homicidal and would likely hurt any cell mate. (AC ¶ 73).
level of cruel and unusual punishment. The court must also          Plaintiff claims that he was brought to Cell # 13, but the
point out that, if plaintiff was saving bread under his mattress,   inmate who was in the cell would not let plaintiff in, so the
he could have been exacerbating the rodent problem himself.         inmate was taken to a different cell, while plaintiff was left
Defendant Smith could not be responsible for plaintiff placing      alone in Cell #13. (AC ¶¶ 74-75). Plaintiff claims that when
food under his mattress. Thus, plaintiff has failed to raise a      he was placed in Cell # 13, the cell was cold because the
genuine issue of material fact with respect to the conditions       ventilation system was blowing cold air, and he was not given
of his confinement in or near Cell # 18 in December of 2015,        any sheets, blanket, wash rag, towel, or pillow. The cell was
and any such claims may be dismissed as against defendant           dirty, and there were urine stains in the corners of the cell,
Smith.                                                              toilet rim, and shower. There were urine and semen stains
                                                                    on the mattress, and plaintiff alleges that defendant Maynard
                                                                    denied him any supplies. (AC ¶ 76). Plaintiff states that he
                                                                    laid in the “fetal position” all day and night, and that the cell
                                                                    was “constantly illuminated.” (Id.)




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13                                                                  I was able to clean up the cell.” (Pl.’s Dep. at 144-45, 157).
        Office of Mental Health.
                                                                    A “good officer” provided plaintiff with “everything” at that
14                                                                  time. (Pl.’s Dep. at 146).
        Plaintiff states that Officer Scott, who is not a
        defendant herein, suggested that plaintiff simply be
        placed in a single cell. (AC ¶ 72).                         Defendants first argue that plaintiff's Eighth Amendment
                                                                    claim is barred by the statute of limitations because the events
Plaintiff alleges that on May 6, 2014, defendants Winston
                                                                    forming the basis of this claim occurred in May of 2014,
and Gallagher delivered breakfast at 7:40 a.m., and plaintiff
                                                                    and plaintiff filed his original complaint on October 2, 2017.
told them that he needed cleaning supplies because the cell
                                                                    (Def.’s Br. at 22). The statute of limitations for section 1983
was filthy, and he needed sheets and the other supplies listed
                                                                    actions is three years after the plaintiff's cause of action
above. (AC ¶ 77). Plaintiff claims that defendant Winston
                                                                    accrued. See Owens v. Okure, 488 U.S. 235, 240-41 (1989).
and Gallagher told plaintiff they would see what they could
                                                                    “While state law supplies the statute of limitations for claims
do, and then they walked away. (Id.) Later on during the
                                                                    under § 1983, federal law determines when a federal claim
day, while plaintiff was in a mental health interview with
                                                                    accrues. The claim accrues when the plaintiff knows or has
defendants P. Baker and Barkman, plaintiff claims to have
                                                                    reason to know of the harm.” Eagleston v. Guido, 41 F.3d
asked about the above supplies. (AC ¶ 83). Plaintiff claims
                                                                    865, 871 (2d Cir. 1994) (internal quotation marks and citation
that these defendants told him to ask the guards, but when
                                                                    omitted).
plaintiff stated that he had already done that, defendants P.
Baker and Barkman told him that “it is what it is.” (Id.) After
                                                                    Defendants are correct in arguing that plaintiff knew or should
the interview, plaintiff states that he was brought back to
                                                                    have known of the harm at the time he was subjected to the
Cell # 13 by defendants Winston and Gallagher. (AC ¶ 84).
                                                                    allegedly unconstitutional conditions in Cell # 13 in May of
Plaintiff asked them for a new T-shirt because there was blood
                                                                    2014, and the statute of limitations would have run three years
on the one he was wearing and he informed them again that he
needed cleaning and other supplies. (Id.) Plaintiff also asked      later in May of 2017. 16 Therefore, plaintiff's claims relative
them for his “personal property,” because it had been longer        to the conditions in Cell #13 would be time barred because his
than 72 hours since he was transferred to Upstate, but he was       original complaint was not filed until October 2, 2017. (Dkt.
told that it was “not going to happen.” (Id.)                       No. 1).


 *7 Plaintiff alleges that, at approximately 5:00 or 6:00           16     Although plaintiff stayed in Cell # 13 until May
p.m. on May 6, 2014, defendant Fournier “was doing cell                    27, 2014, he testified that within five days to one
clean up.” (AC ¶ 86). Plaintiff states that he asked defendant             week of his placement, his cell was cleaned and
Fournier for cleaning supplies, but defendant Fournier denied              he was given his property on May 10, 2014. Thus,
the request, whispering to plaintiff that he should not                    any conditions of confinement claim would have
have “piss [sic] officer Gallagher off.” Plaintiff claims that             accrued on or before May 10, 2014.
defendant Fournier “saw” that plaintiff's cell was filthy and
                                                                    However, the court must also determine whether the statute of
that he had nothing in the cell but a mattress. (Id.) Plaintiff
                                                                    limitations was tolled during any part of the three year period.
states that on May 8, 2014, he received a towel, two sheets,
                                                                    The Second Circuit has held that the statute of limitations for
a blanket, and a pillowcase, but he was told that no pillows
                                                                    an inmate's section 1983 claim must be tolled while the inmate
were currently available, and there were no wash rags “up
                                                                    is actively exhausting his administrative remedies. Gonzalez
front.” (AC ¶ 86). Plaintiff repeats his statement that the cell
                                                                    v. Hasty, 651 F.3d 318, 323-24 (2d Cir. 2011). In this case,
was “constantly illuminated.” (Id.) Plaintiff states that he was
                                                                    plaintiff has attached as Exhibit A, two Central Office Review
given his personal property on May 10, 2014. 15 (AC ¶ 87).
                                                                    Committee (“CORC”) 17 decisions, one dated October 15,
                                                                    2014, denying a grievance, which the CORC form indicates
15      Claims regarding the delay in providing plaintiff           was filed on May 19, 2014, and the second dated December
        with his personal property have been dismissed.             3, 2014, which states that the grievance was filed on May 6,
        (Dkt. No. 55 at 13-14).                                     2014. (Pl.’s Ex. A) (Dkt. No. 56-2).
During plaintiff's deposition, he testified that he was in Cell #
13 for a month, and that the dirty conditions in Cell #13 lasted    17     The CORC is the highest level of an inmate's
for a week, but then he stated that “I think within five days,             administrative remedy procedure in New York


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       State. N.Y. Comp. Codes R. & Regs., tit. 7 §               No. 05 Civ. 6646, 2007 WL 946703 (S.D.N.Y. Mar. 28,
       701.5(d).                                                  2007) (finding that, as a matter of law, minor and temporary
                                                                  deprivations of property, showers and recreation “in no way
Although plaintiff has not filed the grievances themselves,
                                                                  involved the severity of treatment which must be shown to
he claims in the amended complaint that he filed various
                                                                  make out a case of cruel and unusual punishment.”). In this
grievances while he was in Cell #13, and they were
                                                                  case, even though plaintiff repeated the alleged deprivations
consolidated for review. (AC ¶ 88). It appears from reading
                                                                  in multiple paragraphs of his amended complaint, ultimately,
the CORC decisions in Exhibit A, that plaintiff raised his
                                                                  plaintiff conceded that he was subject to the allegedly
challenge to the Cell # 13 conditions of confinement in these
                                                                  unconstitutional conditions for only a few days. He moved
grievances. In its October 15, 2014 decision, the CORC stated
                                                                  into Cell # 13 on May 5, 2014, but by May 8, he testified
that
                                                                  that he had everything but a pillow, in five days he was able
                                                                  to clean his cell, and by May 10, he had been given his
                                                                  personal property. Plaintiff alleges that there were stains on
             *8 all empty cells are cleaned and
                                                                  his mattress and urine stains in the corners of the room. While
            inspected for issues prior to another
                                                                  unpleasant and perhaps unsanitary, such deprivations do not
            inmate housing there. It is noted that
                                                                  rise to the level of unconstitutional conditions. Plaintiff claims
            the grievant was placed in SHU on
                                                                  that he was “freezing,” however, he was housed in Cell #13 in
            5/4/14 and also had the opportunity
                                                                  May. While it may have been cold until he was given a blanket
            for dry and wet clean up on 5/5/14
            and 5/6/14 respectively. CO F ... denies              three days later, 18 it is unlikely that plaintiff suffered freezing
            denying the grievant cleaning supplies,               temperatures in his cell. Plaintiff has failed to allege that he
            meals or barbershop access on 5/6/14                  was subjected to unconstitutional conditions of confinement
            and states that he did not complain                   in Cell # 13, and any such claims may be dismissed against
            about unsanitary conditions that day                  all defendants.
            and had all state issued items to which
            he was entitled.... It is noted that his              18      For purposes of this analysis, the court assumes,
            property was issued to him on 5/10/14                         without finding, that plaintiff was given bedding
            after arriving at the facility separately,                    on May 8, as he stated during his deposition. The
            and the area supervisor does not recall                       court is aware that Upstate Correctional Facility is
            any complaints about cold air flowing                         in Malone, New York, and the temperatures may be
            out of the vents.                                             colder than in other parts of the state, it is unlikely
                                                                          that plaintiff would have been subjected to freezing
                                                                          temperatures in May for an extended period of
(Pl.’s Ex. A at 1). In its December 3, 2014 decision, the                 time during the day. The average low temperature
CORC again stated that “CO F ...” denied refusing plaintiff               in May in Malone, New York is 45.1 degrees
access to barbershop, cell cleanup, or meals on May 6, 2014.              Fahrenheit. https://www.weather-us.com/en/new-
(Pl.’s Ex. A at 2). Thus, plaintiff was actively exhausting his           york-usa/malone-weather-may#temperature
administrative remedies with respect to the conditions in Cell
# 13 from May 6, 2014 until December 3, 2014, and the
statute of limitations would have been tolled. If the statute                                b. Cell # 15
of limitations was tolled until December 3, 2014 or even if
                                                                  Plaintiff also alleges that defendants Smith, Eddy, Gokey, and
it were only tolled until October 15, 2014, then plaintiff's
                                                                  Marinelli placed plaintiff next to “a mentally ill” inmate to
claims with respect to the conditions in Cell #13 are timely.
                                                                  deprive him of sleep and to psychologically torture him. (AC
Notwithstanding plaintiff's timely filing, his conditions of
                                                                  ¶ 412). Plaintiff alleges that on May 27, 2014, he was told
confinement claim with respect to Cell #13 may be dismissed
                                                                  that he would be placed in a “single cell,” and he would be
on the merits.
                                                                  transferred from Cell # 13 to Cell #15. (AC ¶ 89). Plaintiff
                                                                  states that he was told that “security” made the decision to
The temporary or limited exposure to conditions that fall
below the “contemporary standards of decency” do not              move him and to keep him in a single cell. 19 (Id.)
amount to Eighth Amendment violations. See Ford v. Phillips,


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19      This should not be a surprise to plaintiff since
        on May 6, 2014, he told defendant Marinelli                    20     Defendants do not argue failure to exhaust as a
        that he was “homicidal” and did not want a                            defense.
        “bunky.” (Marinelli Decl. Ex. C). After plaintiff              Plaintiff has failed to respond in opposition to the defendants’
        was told that he would be placed in a single cell              motion for summary judgment. In the amended complaint,
        “per security,” “Pt now says he will not need OMH              plaintiff vaguely refers to a grievance that he filed on
        again.” (Id.)                                                  September of 2014: “on 9/8/14 plaintiff filed an [sic]
 *9 While plaintiff exhausted his administrative remedies              grievance about not being moved to level 3 and his
with respect to conditions in Cell #13, thus tolling the               neighbor denying him sleep.” 21 (AC ¶ 114). If true, plaintiff
statute of limitations with respect to those claims, it is             appears to have waited approximately three months to file
unclear whether the same is true for plaintiff's claims about          a grievance, notwithstanding his claim that he was being
the “conditions” in Cell #15. Plaintiff states that he was
                                                                       driven to suicide over the noise. 22 Plaintiff does not include
transferred to Cell #15 on May 27, 2014. Neither of the
                                                                       a grievance number, nor does he include any documents
grievances that are attached to the amended complaint as
                                                                       that would substantiate his statement. Thus, there is no
Exhibit A could have referred to the conditions in Cell #15
                                                                       evidence that statute of limitations was tolled by exhaustion
because both grievances were filed before May 27, 2014.
                                                                       of administrative remedies, and the plaintiff's claim relative
Once the defendant demonstrates that the statute of limitations
                                                                       to his placement in Cell #15 may be dismissed as barred by
has facially run, the burden is on plaintiff to establish tolling.
                                                                       the statute of limitations.
Whyte v. Tompkins Cty. Sheriff, No. 9:20-CV-284 (LEK/
CFH), 2020 WL 4732101, at *6 (N.D.N.Y. Aug. 14, 2020)
                                                                       21
(citing Abbas v. Dixon, 480 F.3d 636, 642 (2d Cir. 2007)).                    According to defendant Smith, an inmate begins
                                                                              on PIMS (Progressive Inmate Movement System)
In this case, plaintiff claims that the “defendants” placed him               level 1, and if he receives no disciplinary tickets
in Cell #15, knowing that the inmate in the next cell was                     within 30 days, he may be moved “up” to an
mentally ill and would make noise consistently, keeping the                   area reserved for PIMS level 2. (Smith Decl. ¶ 9;
plaintiff awake. Plaintiff asserts a wide variety of adverse                  See DOCCS Directive # 4933, 7 N.Y.C.R.R. Ch.
effects that he allegedly suffered as the result of the lack of               VI, § 303 - Standards for Special Housing Units
sleep. Any cause of action would have accrued when plaintiff                  (“SHU”)). According to Directive # 4933, PIMS is
was placed in the cell and became aware that he was suffering                 a behavioral incentive program in SHU whereby an
as the result of the inmate's noise. In his amended complaint,                inmate who completes a period free of regressions,
plaintiff states that shortly after he was moved to Cell #15, he              deprivation orders, or misbehavior reports may
began to hear “banging.” (AC ¶ 90). At the latest, plaintiff's                increase their PIMS level and accordingly their
cause of action would have accrued the day that he was                        privileges - while an inmate is designated PIMS
transferred out of Cell #15 and out of Upstate Correctional                   level 1 for 30 days, there is no indication that a
Facility on September 25, 2014.                                               level increase is automatic upon the passage of
                                                                              time - § 303.1 (a)-(c)). Plaintiff believed that he
Unlike his challenge to the conditions in Cell # 13, plaintiff                was not being moved quickly enough according to
has not filed any grievance decisions or other documents,                     the PIMS schedule. (AC ¶ 113) (Plaintiff claims
showing that he challenged his placement in Cell #15 or                       that on September 19, 2014, he asked defendant
complained about the adverse effects that he was suffering as                 Smith why he had not been moved to “PIMS 3.”)
the result of a lack of sleep. Unlike the failure to exhaust per              Plaintiff states that he was told that he was on
                                                                              PIMS 3 hold, and he needed to “ask security,”
se, 20 which the defendants have the burden to establish, the
                                                                              which plaintiff speculated was defendants Smith,
burden of establishing tolling, equitable or otherwise, is on
                                                                              L. Gokey, and Eddy. (Id.) Plaintiff stated that
the plaintiff who asserts that the statute of limitations is tolled.
                                                                              defendant Smith told plaintiff there were no
White, supra (equitable tolling); Weatherwax v. Barone, No.
                                                                              available cells, but plaintiff “knew” that one of the
No. 3:19-CV-1502(KAD), 2021 WL 4125452, at *4 (D.
                                                                              cells was “unoccupied.” (Id.)
Conn. Sept. 9, 2021) (citing Jones v. Bock, 549 U.S. 199, 216
(2007)) (exhaustion of administrative remedies).



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22                                                                 and requested to be moved to level 3 and told him about
       During plaintiff's deposition, he stated that he filed
                                                                   Reeder. (AC ¶ 95). Plaintiff claims that defendant Eddy told
       a grievance about defendant Smith “after” he was in
                                                                   plaintiff he would be “moved shortly,” but it never happened.
       Cell # 15, but plaintiff was not clear on the timing.
       (Pl.’s Dep. at 156). “That's before – that's not – this     (Id.) During plaintiff's deposition, he stated that defendant
       was not what – this is – this is when I was in – yeah,      Eddy “left [him] next to Reeder, knowing he was binging
       I think in cell fifteen and in a different cell because     [sic].” (Pl.’s Dep. at 165). Plaintiff has named defendants
                                                                   based on the fact that he may have mentioned his situation
       I was moved – I was eventually....” (Id.)
                                                                   to them, but they did not act quickly enough or remedy
 *10 In any event, defendant Smith states in his declaration,      the perceived problem. There is no indication that defendant
that he was not alone responsible for an inmate's placement
                                                                   Eddy 24 or defendant L. Gokey 25 were in a position to
in either 2015 or 2014. (Smith Decl. ¶ 5). To the extent that
                                                                   change plaintiff's cell location when he requested it or
defendant Smith was involved in any placement, particularly
                                                                   intentionally placed him near Inmate Reeder to “torture” the
in 2014, there were clearly considerations regarding the
                                                                   plaintiff. As stated above, the defendant must be personally
requirement that plaintiff be housed in a single cell based on
                                                                   involved in the alleged constitutional violation and must have
his own statements to corrections officials that he would likely
                                                                   the requisite state of mind in order to be held liable. Tangretti,
hurt any cell-mate. Defendant Laura Gokey has filed a similar
                                                                   supra. Thus, any claims relating to plaintiff's placement in
declaration, stating that she was not solely responsible for
                                                                   Cell # 15 may be dismissed as against all defendants.
inmate placement, notwithstanding her position as a Sergeant
in 2014. (L. Gokey Decl. ¶ 5) (Dkt. No. 75-3). Defendant
                                                                   24
L. Gokey reiterates that in 2014, Upstate was full, and the                Defendant Eddy has not filed a declaration in
options for placing inmates were limited. (L. Gokey Decl.                  support of the defendants’ motion. However,
¶ 6). “Space constraints were a substantial factor” in such                it is clear from the amended complaint and
placement. (Id.) Defendant L. Gokey has no independent                     from plaintiff's deposition that any claims against
recollection of plaintiff or the alleged incidents in this case,           defendant Eddy were speculative and based solely
however, she states that she was never made aware of an                    on plaintiff's assumption that this defendant was
excessive risk to plaintiff based on his cell placement at                 involved in plaintiff's placement and plaintiff's
Upstate. 23 (L. Gokey Decl. ¶ 7).                                          assumption that by mentioning his problem to the
                                                                           defendant that he was in a position to immediately
23                                                                         rectify the situation. Thus, the complaint may
       In the amended complaint, plaintiff alleges that,                   be dismissed as against defendant Eddy without
       after L. Gokey interviewed him about an alleged                     relying on a declaration by the defendant.
       sexual assault in September 2014, she was
       escorting him back to his cell, and he asked her            25      At his deposition, plaintiff clarified that his claim
       why other inmates who came “after” him were                         against defendant L. Gokey for keeping him next to
       being moved, and she told him it was because                        Reeder were more in the nature of retaliation for his
       they did not file grievances. (AC ¶ 109). Plaintiff                 alleged grievances against “her husband,” which
       states that defendant L. Gokey told him to “let                     will be discussed below. (Pl.’s Dep. at 161-62).
       it go” when he asked to file criminal charges
       against the perpetrators of the assault, but plaintiff      IV. Medical Care (Claims ## 4, 5, 6) (Defendants
       then assumes that she meant that he would get               Maynard, Marinelli, Winston, Barkman, P. Baker, H.
       a misbehavior report if he pursued the grievance.           Baker, and Byno)
       (AC ¶ 108). The amended complaint is filled
       with plaintiff's interpretations of what a defendant           A. Legal Standards
       “meant” when he or she spoke to plaintiff. Plaintiff        In order to state a claim based on constitutionally inadequate
       then told defendant L. Gokey that his neighbor              medical treatment, the plaintiff must allege “acts or omissions
       was depriving him of sleep, and she stated that she         sufficiently harmful to evidence deliberate indifference to
       would “see what she could do,” but did not do               serious medical needs.” Estelle v. Gamble, 429 U.S. 97, 106
       anything.                                                   (1976). There are two elements to the deliberate indifference
                                                                   standard. Smith v. Carpenter, 316 F.3d 178, 183–84 (2d Cir.
In the amended complaint, the only statement that plaintiff
                                                                   2003). The first element is objective and measures the severity
made about defendant Eddy was that he “spoke” with Eddy


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of the deprivation, while the second element is subjective           the second element, plaintiff must demonstrate more than
and ensures that the defendant acted with a sufficiently             a “negligent” failure to provide adequate medical care. Id.
culpable state of mind. Id. at 184 (citing inter alia Chance v.      (citing Farmer, 511 U.S. at 835–37). Instead, plaintiff must
Armstrong, 143 F.3d 698, 702 (2d Cir. 1998)).                        show that the defendant was “deliberately indifferent” to
                                                                     that serious medical condition. Id. Deliberate indifference is
                                                                     equivalent to subjective recklessness. Id. (citing Farmer, 511
                                                                     U.S. at 839–40).
                    1. Objective Element

 *11 In order to meet the objective requirement, the alleged         In order to rise to the level of deliberate indifference, the
deprivation of adequate medical care must be “sufficiently           defendant must have known of and disregarded an excessive
serious.” Benjamin v. Pillai, 794 F. App'x 8, 11 (2d Cir.            risk to the inmate's health or safety. Abreu v. Lipka, 778 F.
2019) (citing Salahuddin v. Goord, 467 F.3d 263, 279-80 (2d          App'x 28, 32 (2d Cir. 2019) (quoting Smith, 316 F.3d at 184).
Cir. 2006)). Determining whether a deprivation is sufficiently       The defendant must both be aware of the facts from which
serious also involves two inquiries. Salahuddin, 467 F.3d at         the inference could be drawn that a substantial risk of serious
279. The first question is whether the plaintiff was actually        harm exists, and he or she must draw that inference. Chance,
deprived of adequate medical care. Id. Prison officials who          143 F.3d at 702 (quoting Farmer, 511 U.S. at 837). The
act “reasonably” in response to the inmates health risk will         defendant must be subjectively aware that his or her conduct
not be found liable under the Eighth Amendment because the           creates the risk; however, the defendant may introduce proof
official's duty is only to provide “reasonable care.” Id. (citing    that he or she knew the underlying facts, but believed that
Farmer v. Brennan, 511 U.S. 825, 844–47 (1994)).                     the risk to which the facts gave rise was “insubstantial or
                                                                     non-existent.” Farmer, 511 U.S. at 844. The court stated in
The second part of the objective test asks whether the               Salahuddin that the defendant's belief that his conduct posed
purported inadequacy in the medical care is “sufficiently            no risk of serious harm “need not be sound so long as it is
serious.” Id. at 280. The court must examine how the care            sincere,” and “even if objectively unreasonable, a defendant's
was inadequate and what harm the inadequacy caused or will           mental state may be nonculpable.” Salahuddin, 467 F.3d at
likely cause the plaintiff. Id. (citing Helling v. McKinney, 509     281.
U.S. 25, 32–33 (1993)). If the “unreasonable care” consists
of a failure to provide any treatment, then the court examines        *12 Additionally, a plaintiff's disagreement with prescribed
whether the inmate's condition itself is “sufficiently serious.”     treatment does not rise to the level of a constitutional claim.
Id. (citing Smith, 316 F.3d at 185–86). However, in cases            Riddick v. Maurer, 730 F. App'x 34, 38 (2d Cir. 2018)
where the inadequacy is in the medical treatment that was            (quoting Chance, 143 F.3d at 703). Prison officials have
actually afforded to the inmate, the inquiry is narrower.            broad discretion in determining the nature and character of
Id. If the issue is an unreasonable delay or interruption of         medical treatment afforded to inmates. Sonds v. St. Barnabas
ongoing treatment, then the “seriousness” inquiry focuses            Hosp. Correctional Health Services, 151 F. Supp. 2d 303, 311
on the challenged delay itself, rather than on the underlying        (S.D.N.Y. 2001) (citations omitted). An inmate does not have
condition alone. Id. (citing Smith, 316 F.3d at 185). The court      the right to treatment of his choice. Dean v. Coughlin, 804
in Salahuddin made clear that although courts speak of a             F.2d 207, 215 (2d Cir. 1986). Because plaintiff might have
“serious medical condition” as the basis for a constitutional        preferred an alternative treatment or believes that he did not
claim, the seriousness of the condition is only one factor in        get the medical attention he desired does not rise to the level
determining whether the deprivation of adequate medical care         of a constitutional violation. Id.
is sufficiently serious to establish constitutional liability. Id.
at 280.                                                              Disagreements over medications, diagnostic techniques,
                                                                     forms of treatment, the need for specialists, and the timing
                                                                     of their intervention implicate medical judgments and not the
                                                                     Eighth Amendment. Sonds, 151 F. Supp. 2d at 312 (citing
                    2. Subjective Element
                                                                     Estelle v. Gamble, 429 U.S. at 107). Even if those medical
The second element is subjective and asks whether the official       judgments amount to negligence or malpractice, malpractice
acted with “a sufficiently culpable state of mind.” Id. (citing      does not become a constitutional violation simply because
Wilson v. Seiter, 501 U.S. 294, 300 (1991)). In order to meet        the plaintiff is an inmate. Id.; see also Daniels v. Williams,



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474 U.S. 327, 332 (1986) (noting that negligence is not             Plaintiff claims that shortly after defendant Marinelli left
actionable under § 1983). Thus, any claims of malpractice, or       plaintiff's cell, defendant Winston stopped at his cell to ask
disagreement with treatment are not actionable under § 1983.        plaintiff if he wanted to use a shaving razor because it was
                                                                    “shower day.” (AC ¶ 79). Plaintiff accepted the razor, but then
                                                                    broke it into pieces and tried to cut his wrist. (Id.) Two minutes
   B. Analysis
                                                                    later, 27 defendant Winston came back and took plaintiff to
Plaintiff alleges that defendants Marinelli, Winston,
                                                                    an interview room, where defendant Barkman told plaintiff to
Barkman, P. Baker, and H. Baker failed to send plaintiff
                                                                    stop cutting his wrist. (Id.)
to a mental observation cell and failed to allow him to see
a psychiatrist after “knowing” that plaintiff was suicidal,
                                                                    27
homicidal, and had just cut his wrist in a suicide attempt,                 Plaintiff has written the exact times in the amended
exposing him to a “potential” risk. (AC ¶ 400). Plaintiff                   complaint. The court has noted the time only to
claims that defendants H. Baker and Marinelli, “intentionally               demonstrate the speed at which the defendants
conspired” to have plaintiff stop taking his psychiatric                    reacted to plaintiff's situation, even according to
medication by giving him “wrong poisonous pills” so that                    plaintiff's own account.
he could be taken off Marinelli's “case.” (AC ¶ 404). The            *13 Plaintiff claims that, another two minutes later, he was
pills made plaintiff throw up, “etc.” (Id.) Plaintiff claims that   taken to the nurses’ station. (AC ¶ 80). At the nurses’ station,
defendant Byno failed to give plaintiff his medication for 17       plaintiff states that he told P. Baker and H. Baker that he was
days. (AC ¶ 405). Finally, plaintiff alleges that he was not        suicidal. (Id.) Plaintiff claims that defendant Marinelli came
given proper medical treatment by defendant H. Baker after          to the nurses’ station, mocked plaintiff, and told defendant
plaintiff was assaulted by officers on September 2, 2014.           P. Baker that Marinelli was not going to send plaintiff to an
                                                                    OMH Satellite, 28 and he did not consider plaintiff's act as an
In the factual portion of his amended complaint, plaintiff
                                                                    attempt to take his life. (AC ¶ 81). Eight minutes later, after
states that when he was transferred to Upstate, on May 3,
                                                                    plaintiff's wrist had been bandaged, plaintiff was sent to an
2014, he spoke to defendant Nurse Byno and told her that he
                                                                    interview room, where he allegedly told defendant Barkman
had attempted suicide at his previous facility, and that he was
on mental health medication. (AC ¶ 70). Notwithstanding this        that plaintiff had received “threat tickets” 29 on May 3 and
information, plaintiff was escorted to Cell #13. (Id.) Later,       May 4. 30 (AC ¶ 82). Plaintiff also told defendant Barkman
plaintiff told Officer Scott 26 that he was “homicidal” and         that he was not getting the proper mental health treatment.
“suicidal” and that he would hurt any cell mate. (AC ¶ 71).         (Id.) Plaintiff alleges that he told defendant P. Baker that he
                                                                    tried to hang himself three weeks earlier while he was still
26                                                                  at Downstate Correctional Facility. (AC ¶ 83). Plaintiff told
        Officer Scott is no longer a defendant herein.              defendant P. Baker about his placement on OMH Watch from
According to plaintiff, because of this statement, he was           May 3 through May 5. (Id.) Plaintiff explained that he was
taken out of Cell #13 and taken to a holding area. Officer          currently on anti-depressants, and that he still felt homicidal
Scott spoke to defendant Nurse Byno, and although Officer           and suicidal. 31 (Id.) After the interview, plaintiff was brought
Scott simply suggested that plaintiff be placed in a single         back to Cell #13. (AC ¶ 84).
cell, defendant Byno sent plaintiff to the infirmary on OMH
watch. (AC ¶ 72). Plaintiff claims that he came out of the          28      An OMH “satellite” would have been an outside
infirmary on May 5, but told defendant Maynard that he was
                                                                            facility.
still “homicidal” and would likely hurt a cell mate. (AC ¶ 73).
As stated above, plaintiff states that he was ultimately placed     29      The court assumes that plaintiff meant that
alone in Cell #13, after the inmate who was in Cell #13 was                 he received misbehavior reports for threatening
moved to a different cell. (AC ¶¶ 74-75).                                   someone.
                                                                    30
Plaintiff alleges that, on May 6 th , he told defendant Marinelli           It is unclear who plaintiff claims to have threatened
that he was still homicidal and suicidal, and that he was                   since he only arrived at Upstate on May 3, 2014.
hearing voices, but that defendant Marinelli told him he was                Plaintiff does not elaborate on these “tickets,” only
not homicidal, and he was not hearing voices. (AC ¶ 78).



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        to mention later that they were “dismissed” by              determined that plaintiff “did not require treatment.” (Pl.’s Ex.
        defendant Barkman. (AC ¶ 125).                              A at 1). The CORC response also referred to RN B as “he,”
                                                                    so plaintiff could not have been referring to defendant Byno,
31      As stated above, plaintiff also told defendant P.
                                                                    whose first name is Michele and who is a woman. 32
        Baker about the lack of supplies in Cell #13, but
        defendant Baker told plaintiff to ask the guards
                                                                    32
        about supplies, stating that “it is what it is,” when               During his deposition, plaintiff consistently
        plaintiff told defendant Baker that he had already                  referred to Nurse Byno as “she.” (See e.g. Pl.’s
        asked the guards. (AC ¶ 83).                                        Dep. at 134) (referring to Nurse Byno as “Ms.” and
                                                                            “she.”)
Plaintiff alleges that after he was transferred to Cell #15, and
placed next to Inmate Reeder, after months of banging and            *14 Plaintiff has failed to include his original grievance
other deprivations, plaintiff began to suffer hallucinations,       documents, and it is impossible to determine the exact claims
confusion, loss of impulse control, and migraines. (AC ¶¶           that were made therein. The parties have confused the issue in
91-95). Plaintiff became depressed and suicidal, and on             such a way as to make it impossible for the court to determine
September 1, 2014, he attempted to make a noose to hang             whether the statute of limitations would have been tolled
himself. (AC ¶ 97). Plaintiff claims that an officer happened to    with respect to the medical care that plaintiff received in
come by plaintiff's cell and saved his life, after which he was     May of 2014. The court will therefore, consider the merits of
sent to the infirmary for mental health observation. (Id.) On       plaintiff's claims.
September 2, 2014, while he was still on observation status,
plaintiff claims that defendant Byno came to his cell to ask        The amended complaint states that Nurse Byno allegedly
him why he tried to kill himself, and plaintiff told her that his   denied plaintiff his mental health medication from October
“mental health” [sic] being discontinued was a factor. (AC ¶        14, 2014 until October 31, 2014. (AC ¶¶ 133-35). Plaintiff
98). Plaintiff also claims that after defendant Byno's visit on     filed this action on October 2, 2017, thus, if defendant
September 2, 2014, he was assaulted, sexually and otherwise,        Byno denied plaintiff medication between October 14, 2014
by defendant M. Gokey and other John Doe officers. (AC ¶¶           and October 31, 2014, plaintiff's claim would be timely. 33
101-103).                                                           Plaintiff states that he filed a grievance, and the CORC found
                                                                    that his medication prescription was “renewed” on 10/10/14,
Plaintiff alleges that, on September 10, 2014, he was in a          11/7/14, and 5/20/15. Defendant Byno has filed a declaration,
great deal of pain due to the sexual assault. (AC ¶¶ 105,           stating that, as a nurse, she has no authority to prescribe or
106). Plaintiff alleges that he was “on his door for sick call”     to discontinue a prescription for medication. (Byno Decl. ¶¶
between 6:00 and 7:00 p.m. (AC ¶ 106). Plaintiff states that        6-7) (Dkt. No. 76-2). In addition, defendant Byno does not
he told defendant H. Baker that his anus and his testicles hurt,    recall ever failing to give plaintiff a medication that was duly
but before he could explain further, defendant Baker walked         prescribed by a physician. (Byno Decl. ¶ 8). Defendant Byno
away. (Id.) However, at approximately 10:00 p.m., defendant         states that she has no recollection of treating plaintiff at any
L. Gokey “pulled plaintiff out for an interview.” (AC ¶ 107).       time during his stay at Upstate. (Byno Decl. ¶ 9).
Defendant L. Gokey had defendant H. Baker took pictures of
plaintiff's body, but refused to take pictures of his anus and      33      Plaintiff claims that when defendant Byno was
his swollen testicles. “She” stated that “obvious injuries look
                                                                            making her rounds on October 14, 2014 to deliver
normal and fail [sic] to issue pain meds or have plaintiff stitch
                                                                            medications, she walked by the plaintiff's cell
[sic] up.” (Id.)
                                                                            without giving him any medications. (AC ¶ 133).
                                                                            Plaintiff claims that he asked defendant Byno about
Defendants again argue that plaintiff's medical care claims
                                                                            his medications on October 16, 2014, but she told
are time-barred because they accrued, if at all, prior to
                                                                            plaintiff they were “discontinued.” (AC ¶ 134).
October 2, 2014, and plaintiff filed this action on October 2,
                                                                            The following week, on October 23, 2014, plaintiff
2017. Plaintiff's Exhibit A, shows that he did include some
                                                                            claims that he asked defendant Byno about his
challenges to his medical care in his May 19, 2014 grievance,
                                                                            medication, and she showed plaintiff a letter from
which was, in part, entitled “Nurse Denied Medication.” (Pl.’s
                                                                            “Timothy Kemp” stating that plaintiff had been
Ex. A). The CORC response referred to an RN B, who
                                                                            receiving his medication regularly. (AC ¶ 135).
assessed plaintiff on multiple dates in May of 2014, and
                                                                            Plaintiff claims that defendant Byno was lying


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        about giving plaintiff his medications and lied to                  (“Inmate c/o ‘hearing voices thoughts of self-harm’
        someone who investigated “the grievance” because                    Had piece of sheet tied to cell door....”) (emphasis
        the grievance response stated that the medication                   added)).
        was “unavailable.” (AC ¶ 136). Plaintiff assumes
                                                                    35
        that because this statement was included in the                     The court also notes, that to the extent that any of
        grievance response, defendant Byno must have                        defendant Byno's conduct occurred on September
        told the investigator that the medication was                       1, 2014, rather than on the October dates, without a
        unavailable.                                                        grievance to toll the statute of limitations, any such
                                                                            claim would be time barred.
However, the plaintiff's medical records reveal that on
September 1, 2014, defendant Byno made an entry noting that          *15 Plaintiff makes various allegations against defendant
plaintiff complained of hearing voices and expressed thoughts       Marinelli, who is employed by the Central New York
of self-harm. (Byno Decl. ¶ 9 & Ex. A). Defendant Byno              Psychiatric Center (“CNYPC”) and is assigned as a
further stated that plaintiff had a piece of sheet tied to his      “Psychologist II” at Upstate. (Marinelli Decl. ¶ 1) (Dkt. No.
cell door. (Id.) The record further indicates that on September     76-1). Defendant Marinelli carries a caseload of inmates
1, 2014, defendant Byno completed an OMH 1:1 referral,              at Upstate who have mental health issues. (Id.) Defendant
and plaintiff was transferred to the infirmary for a 1:1 watch.     Marinelli's duties included performing intake interviews to
(Id. & Ex. A). In his amended complaint, plaintiff states           assess inmates’ mental status. (Id.) As part of his intake
that defendant Byno sent plaintiff for an OMH 1:1 watch in          review, defendant Marinelli asks the inmates whether they
early May based on his initial interview statements regarding       have any past history of suicide, and he also has access
                                                                    to the inmate's institutional file so that he is aware of the
suicide and homicide. 34 (AC ¶ 70, 72). Either way, defendant
                                                                    inmate's needs and requirements prior to his arrival at Upstate.
Byno was clearly attempting to treat plaintiff, to the extent
                                                                    (Marinelli Decl. ¶ 5).
that she was authorized to do so, based on his suicidal and
homicidal statements. Thus, to the extent that defendant Byno
                                                                    Defendant Marinelli states that, if an individual expresses
did have some contact with plaintiff, there is no indication that
                                                                    suicidal ideation, he is immediately taken to the infirmary and
her conduct violated plaintiff's right to proper medical care. 35   placed on “observation watch” until the staff determines that
Once again, plaintiff has failed to respond to the defendant's      the individual is no longer a threat to himself. (Marinelli Decl.
sworn statements, nor has he contradicted the medical records       ¶ 6). Generally, the watch lasts a day or two. (Id.) When the
presented. Thus, plaintiff's claims of deliberate indifference      infirmary staff makes the determination that the individual is
may be dismissed as against defendant Byno.                         no longer a danger to himself, then he is taken to his assigned
                                                                    cell. (Marinelli Decl. ¶ 7). If he is still exhibiting suicidal
34                                                                  tendencies, the inmate may be continued on watch at the
        It is unclear whether plaintiff has mistaken the date
        upon which defendant Byno “sent” him to OMH                 infirmary, or if appropriate, transferred to an OMH satellite
        watch, or whether this happened twice, once on              unit at a different facility. (Id.) In any event, an inmate is not
        May 3, 2014 (Marinelli Decl. ¶ 8 - there is no              released from the infirmary if he is still exhibiting suicidal
        individual listed as the referring staff member) and        tendencies. (Id.)
        then again on September 1, 2014, when the record
        shows that defendant Byno referred plaintiff for the        Although defendant Marinelli does not remember the
        OMH watch. Plaintiff claims that Nurse Byno was             specifics of any interaction he may have had with the plaintiff,
        the initial interviewer in May when he initially told       the medical records indicate that plaintiff was transferred to
        the officers of his mental health issues, and it was        the infirmary upon his arrival at Upstate on May 3, 2014
        defendant Byno who suggested that he be placed              because he stated that he was suicidal. (Marinelli Decl. ¶
        on OMH watch. (AC ¶¶ 70, 72). The court notes,              8). He was released on May 5, 2014 and was transferred to
        however, that plaintiff claimed that he was sent            his assigned cell. (Id.) Defendant Marinelli has attached a
        to OMH watch on September 1, 2014 because he                copy of plaintiff's progress notes while he was on observation
        tried to hang himself. The medical records indicate         from May 3 until May 5. (Marinelli Decl. Ex. A). Defendant
        that, plaintiff talked about suicide and had a sheet        Marinelli states that he would not have played any part
        hanging in his cell, not that he attempted to hang          in the decision to release the plaintiff to his cell because
        himself. (Compare AC ¶ 97 with Byno Decl. Ex. A             only the staff at the infirmary are authorized to make that



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determination. (Marinelli Decl. ¶ 9). None of the progress          returned to his cell and that he would be single-celled. (Id.)
notes are signed by defendant Marinelli, and all of the notes       As a result, “Pt now says he will not need omh again. Pt says
indicate that plaintiff was in no distress, was resting “well,”     not suicidal.” (Id.) Defendant Marinelli noted that he would
and denied any complaints. (Marinelli Decl. Ex. A).                 follow up on SHU rounds. (Id.)

Plaintiff was released from the infirmary on May 5, 2014. In        Defendant Marinelli states that, based on his progress
the amended complaint, plaintiff states that he told defendant      notes, which articulate his interaction with the plaintiff,
Sergeant Maynard that he was “homicidal” and would hurt             and the medical records indicating that plaintiff's cut was
someone else, not that he was suicidal. (AC ¶ 73). Plaintiff        small with minimal bleeding, it was his “professional
never alleges that he was placed for any period of time with        opinion as Psychologist II,” that plaintiff's cut did not
another inmate, and it is clear from the discussion below that      “constitute grounds for further action.” (Id.) The plaintiff's
it was ultimately decided to place plaintiff in a single cell.      medical records indicate that he was seen on May 7, 2014,
Thus, defendant Maynard is not responsible for any alleged          complaining only of a dry scalp and acne. (Marinelli Decl.
denial of mental health care.                                       Ex. B).

On the morning of May 6, 2014, plaintiff self-inflicted a           It appears from the records that defendant Marinelli did not
razor cut to his inner left wrist. 36
                                      (Marinelli Decl. Ex. B).      make the decision to release the plaintiff from the infirmary.
Plaintiff was treated for the cut in the infirmary at 8:40 a.m.     However, he visited plaintiff on the morning of May 6, and
(Id.) The medical records state that the cut was one half inch      plaintiff denied suicidal ideation. Rather, he claimed that he
long and one millimeter deep. (Marinelli Ex. B). The wound          was homicidal and wished to have a single cell. Defendant
was cleaned, a dressing applied, and “OMH notified.” (Id.)          Marinelli did not give plaintiff a razor, nor would he have
Defendant Marinelli saw plaintiff prior to his cutting his wrist    known that defendant Winston was making rounds offering
and again after the incident in his cell at 9:00 a.m. (Marinelli    inmates razors because it was “shower day.”
Decl. Ex. C). Defendant Marinelli's progress note states that
the wound was treated with “cleaning and band-aid.” (Id.) The       Defendant Winston is a corrections officer and is not
plaintiff told defendant Marinelli that he cut his wrist because    a medical provider. “ ‘Nonmedical personnel engage in
he was “depressed and needs to be alone.” (Id.) Defendant           deliberate indifference where they intentionally delayed
Marinelli stated that he had seen plaintiff prior to the wrist      access to medical care when the inmate was in extreme pain
cutting incident, and at that time, plaintiff told Marinelli that   and has made his medical problem known to attendant prison
he was homicidal, and needed to be single-celled, denied            personnel.’ ” Bookman v. Lindstrand, No. 9:15-CV-1542
suicidal thoughts, said he was hearing voices, but then signed      (MAD/DEP), 2018 WL 3121688, at *12 (N.D.N.Y. Feb.
his treatment plan. (Id.)                                           14, 2018), report and recommendation adopted, 2018 WL
                                                                    1470585 (N.D.N.Y. Mar. 26, 2018) (quoting Baumann v.
36                                                                  Walsh, 36 F. Supp. 2d 508, 512 (N.D.N.Y. 1999)). In his
        Defendant Marinelli has no independent
                                                                    declaration, defendant Winston states that he would not have
        recollection of this interaction with plaintiff, but
                                                                    given plaintiff a razor if he had known that plaintiff might use
        the medical records are clear in their description of
                                                                    it to harm himself. (Winston Decl. ¶ 8). Instead, the proper
        the events of May 6, 2014, including the timing of
                                                                    procedure would have been to alert a sergeant. (Id.) Plaintiff
        various actions. (Marinelli Decl. ¶ 14 & Exs. B, C).
                                                                    does not claim that he told defendant Winston that he was
 *16 When defendant Marinelli arrived at plaintiff's cell after     suicidal prior to the razor being given to plaintiff. (AC ¶
the wrist cutting incident, his notes indicate that he observed     79). The cut that plaintiff sustained was small, and he did
plaintiff speaking with the officers who were delivering            not suffer significant harm. Thus, neither defendant Winston,
breakfast. (Marinelli Decl. Ex. C). Plaintiff's interaction         nor defendant Marinelli exhibited deliberate indifference to
with the officers was normal, and his interaction with              plaintiff's medical needs.
Marinelli was normal, answering questions appropriately,
and maintaining good eye contact, “with no signs of                 After the cutting incident, defendant Marinelli made the
psychosis, depression, or anxiety.” (Id.) Plaintiff told            professional decision, based on the evidence, that plaintiff's
defendant Marinelli that he was “homicidal” and did not want        cut was not a suicide attempt, there was no reason for
a “bunky.” Plaintiff was told by security that he would be          further intervention, and that there was no significant



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risk involved. The subsequent medical records support his             37     Plaintiff appears to suspect that he was being
determination. Thus, defendant Marinelli did not act with                    given the wrong medications because they were the
deliberate indifference to plaintiff's serious medical needs                 wrong color. (AC ¶ 126).
after the incident. Plaintiff's disagreement with the care he
received or with defendant Marinelli's decision does not rise         38     Plaintiff apparently believes that this “wink”
to the level of constitutionally inadequate care. To the extent              indicated confirmation of his involvement with
that defendant Marinelli was negligent (a finding that this                  the medication tampering. (See also Pl.’s Dep.
court does not make), such negligence does not rise to the                   159-60).
level of a constitutional violation. Any medical care claims
                                                                      Plaintiff alleges that on June 11, 2014, defendant H. Baker
may be dismissed as to defendants Marinelli and Winston
                                                                      came to plaintiff's cell, and plaintiff accused Baker of giving
relative to any incidents occurring in early May of 2014.
                                                                      him the wrong medications and told defendant H. Baker that
                                                                      he would not take any more medications from him. (AC ¶
Plaintiff also alleges that on May 21, 2014, he had a video
                                                                      127). Plaintiff states that the next day he received a letter
conference with a psychiatrist, who changed the dosage
                                                                      indicating that one of his medications was now orange. (AC
of plaintiff's medication. (AC ¶ 120). Plaintiff claims that
                                                                      ¶ 128). Plaintiff claims that a nurse told him that evening
defendant Marinelli encouraged plaintiff to stop taking his
                                                                      that H. Baker had discontinued his medication. (AC ¶ 129).
mental health medications even though they were working.
                                                                      Plaintiff stated that “it usually takes 3 refusals in a row to
(Id.) However, plaintiff does not indicate that he acted on
                                                                      have M.H.U. meds discontinued.” (Id.) Plaintiff states that he
defendant Marinelli's suggestion. Plaintiff then states that on
                                                                      filed various grievances regarding these issues, which were all
May 28, 2014, defendant H. Baker gave plaintiff a large pill
                                                                      consolidated, but he has not submitted any of these grievances
that did not look familiar, and he had an adverse reaction to
                                                                      for the court's review.
the pill. (AC ¶ 121). Plaintiff states that on May 29, 2014,
defendant H. Baker gave him a yellow pill, and although
                                                                      In his declaration, defendant Marinelli states that in his
plaintiff questioned why the pill was yellow, he took the pill,
                                                                      position as Psychologist II, he had no authority to discontinue
but it made plaintiff throw up and have a migraine headache.
                                                                      medications. (Marinelli Decl. ¶ 17). Only a treating
(AC ¶ 122). On June 2, 2014, plaintiff asked an unidentified
                                                                      psychiatrist has the authority to do so. To the extent that
nurse about the colors of the pills, and she suggested that if
                                                                      medication is discontinued, it may be done for a variety of
he had a problem, he should write to the Nurse Administrator.
                                                                      reasons, including plaintiff's refusal to take the medication.
(AC ¶ 123). Apparently, on June 3, 2014, defendant H. Baker
                                                                      (Id.) Plaintiff accuses defendant H. Baker of discontinuing
gave plaintiff the correct pill, but plaintiff suspects that it was
                                                                      his medications based on deliberate indifference. However, it
because defendant H. Baker had another nurse with him. (AC
                                                                      is clear from the amended complaint that plaintiff believed
¶ 124).
                                                                      he was getting the wrong medications. 39 He was upset
 *17 Plaintiff alleges that on June 10, 2014, defendant               because, after telling defendant H. Baker that he was no
Marinelli stopped at the plaintiff's cell and told him that           longer going to accept medication from him, the medications
defendant Barkman dismissed the “homicidal tickets” that              were “discontinued” too soon because plaintiff should have
plaintiff received in the beginning of May. Defendant                 had the chance to “refuse” his medication three times. 40 In
Marinelli also asked whether plaintiff was going to “sign off”        addition, as a nurse, defendant H. Baker had no authority to
on his “meds,” but plaintiff said “no.” (AC ¶ 125). Defendant         discontinue medications. (H. Baker Decl. ¶ 10).
Marinelli asked plaintiff whether he was breaking “the deal,”
and plaintiff said yes. (Id.) Plaintiff claims that he told           39     This is even assuming that plaintiff's allegations are
                                                                37
defendant Marinelli about the different color medications,                   true.
but that defendant Marinelli said “maybe it's a sign,” and
                                                                      40
winked when plaintiff asked if he had anything to do with                    It is not clear that plaintiff's medications were
                                                                             discontinued, or that as a nurse, defendant H. Baker
“it.” 38 (AC ¶ 126). Defendant Marinelli told plaintiff that if
                                                                             could discontinue the medication. But, what is clear
he “signed off” on his medications, he would see a doctor
                                                                             is that plaintiff admits that he told defendant H.
immediately, and he told plaintiff he had three days to think
                                                                             Baker that he would no longer accept medications
about it. (Id.)
                                                                             from him.



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Plaintiff's claims against Lieutenant Barkman, and Sergeant            at Upstate is that no photographs of injuries are taken during
P. Baker are all based on vague allegations that plaintiff             sick call, and that as a nurse, defendant H. Baker was not
mentioned to them that he had mental health problems. 41               authorized to send any inmate to an outside provider. (Id.)
(AC ¶¶ 79-83). Neither officer had any authority over                  Thus, defendant H. Baker could not have taken pictures of
plaintiff's mental health care, and it is clear from the evidence      plaintiff's injuries during sick call, even if plaintiff requested
presented that, at the same time, plaintiff's mental health needs      such photographs to be taken, and defendant H. Baker was
were being monitored by medical personnel. Thus, plaintiff's           not personally responsible for any failure to refer plaintiff for
claims of the denial of constitutionally adequate medical care         treatment by an outside provider.
may be dismissed as against defendants Barkman, H. Baker,
and P. Baker.                                                          The medical records attached to defendant H. Baker's
                                                                       declaration show that plaintiff was seen on September 8,
41                                                                     2014 by Nurse Holcombe. (H. Baker Decl. Ex. A). Nurse
        Plaintiff states that when defendant Winston came
                                                                       Holcombe is not a defendant in this action, and the note
        back after plaintiff cut himself, he took plaintiff
                                                                       indicates that there were no complaints of medical needs
        for an interview with defendant Barkman, who told
                                                                       voiced or noted. (Id.) There are two entries for September 10,
        him to stop cutting himself. Later, plaintiff states
                                                                       2014. The first states that there was “NSC” (no significant
        that he told Sergeant P. Baker and Nurse H. Baker
                                                                       change), and that plaintiff “refused to answer assessment
        that he felt suicidal. (AC ¶ 80). Plaintiff states
                                                                       questions.” (Id.) The second entry notes that H. Baker
        that Sergeant Baker sent plaintiff to an interview
                                                                       “viewed [plaintiff] in holding pen per security request. Inmate
        room after he was bandaged, and plaintiff told
                                                                       claims sexual assault by staff on 9/2/14.” (Id.) The note
        defendant Barkman that he was not getting the
                                                                       indicates that plaintiff was “fully assessed,” and that there
        appropriate mental health treatment. (AC ¶ 82).
                                                                       was “no indication of trauma or injury found during [the]
        Finally, plaintiff claims that defendant Sergeant
                                                                       assessment.” (Id.) It seems unusual that, if plaintiff were
        Baker came into the room, and plaintiff told him
                                                                       suffering as he says, he would not have mentioned it to the
        all about his prior mental health problems and the
                                                                       nurse who he saw on September 8, 2014, instead of telling
        problems with his cell. (AC ¶ 83). There is no
                                                                       him or her that he had no “medical needs.” There is no
        indication that either defendant had any authority
                                                                       indication that even if defendant H. Baker failed to take
        to change plaintiff's care or were deliberately
                                                                       photographs of plaintiff's injuries, or failed to “treat” plaintiff
        indifferent to a serious risk.
                                                                       on September 10, 2014, that defendant H. Baker exhibited
 *18 Finally, plaintiff alleges that defendant H. Baker refused        deliberate indifference to plaintiff's serious medical needs.
to properly assess plaintiff's injuries after the alleged sexual       The amended complaint may thus be dismissed as against
assault on September 2, 2014. (AC ¶¶ 106-107). During                  defendant H. Baker.
plaintiff's deposition, plaintiff testified that the first time that
he asked for medical assistance and saw defendant H. Baker
after the assault was “ten days after the incident.” (Pl.’s Dep.       V. Retaliation
at 124). Plaintiff claims that, at sick call on September 10,
                                                                          A. Legal Standards
2014, 42 defendant H. Baker walked away when plaintiff tried           To state a First Amendment claim of retaliation, an inmate
to explain that he was in pain after the sexual assault, and later     must allege facts plausibly suggesting that (1) he engaged
refused to take pictures of his anus and his testicles to avoid        in speech or conduct that was protected, (2) the defendant
documenting the injury. (AC ¶¶ 106-107).                               took adverse action against the plaintiff, and (3) there was
                                                                       a causal connection between the protected conduct and the
42                                                                     adverse action. Holland v. Goord, 758 F.3d 215, 225 (2d
        Although plaintiff's deposition testimony refers to
        “ten days after the incident,” the medical records             Cir. 2014)(citations omitted). The court must keep in mind
        indicate that plaintiff saw H. Baker on sick call              that claims of retaliation are “easily fabricated” and “pose a
        September 10, 2014. (H. Baker Decl. Ex. A).                    substantial risk of unwarranted judicial intrusion into matters
                                                                       of general prison administration.” Faulk v. Fisher, 545 F.
In his declaration, defendant H. Baker states that he has no
                                                                       App'x 56, 58 (2d Cir. 2013) (quoting Bennett v. Goord, 343
recollection of interacting with plaintiff on September 10,
                                                                       F.3d 133, 137 (2d Cir. 2003)). In other words, we must
2014. (H. Baker Decl. ¶ 8). However, he states that the policy
                                                                       examine prisoners’ claims of retaliation with “skepticism


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and particular care.” Rivera v. Goord, 119 F. Supp 2d 327,
339 (S.D.N.Y. 2000) (quoting Colon v. Coughlin, 58 F.3d
                                                                             1. Defendants Bernier and Nelson (Freedom
865, 872 (2d Cir. 1995)). Accordingly, a First Amendment
                                                                            of Information (“FOIL”) Requests (Claim #2)
retaliation claim must be supported by “specific and detailed
factual allegations,” and not stated in “wholly conclusory            Plaintiff claims that defendants Denise Bernier and Tracy
terms.” Dolan v. Connolly, 794 F.3d 290, 295 (2d. Cir. 2015)          Nelson retaliated against plaintiff for filing grievances by
(quoting Flaherty v. Coughlin, 713 F.2d 10, 13 (2d Cir. 1983),        failing to provide plaintiff with requested video footage under
overruled on other grounds, Swierkiewicz v. Sorema N.A., 534          FOIL, destroying the relevant footage after this litigation
U.S. 506, 122 (2002)).                                                began, and overcharging plaintiff for FOIL requests. (AC
                                                                      ¶ 419). Defendant Bernier was the Offender Rehabilitation
 *19 In order to satisfy the final prong, “the causal connection      Coordinator (“ORC”) Supervisor and FOIL Officer at Upstate
must be sufficient to support an inference that the protected         before she retired in April of 2016. (Bernier Decl. ¶ 1)
conduct played a substantial part in the adverse action.”             (Dkt. No. 75-7). Tracy Nelson took over the position from
Cruz v. Grosso, No. 9:13-CV-30 (FJS/TWD), 2014 WL                     defendant Bernier at that time, but for a short time prior
2176256, at *6 (N.D.N.Y. May 23, 2014) (citing inter alia             to defendant Bernier's retirement, she and defendant Nelson
Colon, 58 F.3d at 873). Several factors may be considered             worked together. (Id. & Nelson Decl. ¶ 1 (Dkt. No. 75-5)).
in determining whether a causal connection exists between
the plaintiff's protected activity and a prison official's actions,   Although plaintiff claims that defendant Bernier denied
including temporal proximity between the protected activity           plaintiff FOIL requests in retaliation for some grievance
and the alleged retaliatory act, and statements by the                that he filed against her, the evidence does not support
defendant concerning his or her motivation. Cruz, 2014                plaintiff's allegations. First, plaintiff alleges that defendant
WL 2176256, at *6 (citing Colon, 58 F.3d at 872-73).                  Bernier failed to produce his requested materials before he
However, temporal proximity alone is not enough to establish          ever allegedly filed a grievance against her. (AC ¶ 211-12)
a causal connection. The Second Circuit has held that where           (plaintiff filed grievance because defendant Bernier failed
“timing is the only basis for a claim of retaliation ... an           to produce requested materials). In any event, on April 22,
inference of retaliation does not arise.” Thomas v. Waugh,            2016, after plaintiff filed his grievance, and defendant Bernier
No. 9:13-CV-0321 (MAD/TWD), 2015 WL 5750945, at                       was no longer working at Upstate, defendant Nelson met
*15 (N.D.N.Y. Sept. 30, 2015) (quoting Slattery v. Swiss              with plaintiff to discuss his complaints. (Nelson Decl. ¶ 7
Reinsurance Am. Corp., 248 F.3d 87, 95 (2d Cir. 2001)).               & Ex. A). The records show that between January 15, 2016
                                                                      and April 11, 2016, plaintiff filed twelve FOIL requests.
Even where plaintiff can make a showing of retaliatory                (Nelson Decl. Ex. A). Of those twelve requests, only two
motive, the defendant may be entitled to summary judgment             were outstanding at the time of the review, and they were
if she can show that the alleged retaliatory action would             filed 10 days prior to plaintiff's meeting with defendant
have occurred even without the improper motivation. Greer v.          Nelson. The rest had been fulfilled, most of which were
Mehiel, 805 F. App'x 25, 29 (2d Cir.), cert. denied, 141 S. Ct.       requests for videotaped materials. (Id.) Defendant Nelson
136 (2020), reh'g denied, 141 S. Ct. 217 (2020) (citing Scott         states that she followed up with plaintiff on May 10, 2016
v. Coughlin, 344 F.3d 282, 287-88 (2d Cir. 2003)) (citing Mt.         and June 6, 2016 to keep him informed about the status of
Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274,          his open requests. (Nelson Decl. ¶ 8). Other than plaintiff's
287 (1977)). See also Jordan v. Bd. of Elections, 816 F. App'x        unsupported assertion that the FOIL requests were denied due
599, 602-603 (2d Cir. 2020); Osborne v. Harris, No. 9:20-             to his grievance against defendant Bernier, there is absolutely
CV-673 (TJM/ATB), 2021 WL 1131413, at *11 (N.D.N.Y.                   no support for his claims. Plaintiff's concern that the materials
Jan. 15, 2021) (citations omitted), report-recommendation             were not produced quickly enough may not form the basis
adopted, 2021 WL 1124575 (N.D.N.Y. Mar. 24, 2021). The                for a retaliation claim. Plaintiff has not alleged any adverse
defendant bears the burden of making the showing that she             effects of the timing of the FOIL production.
would have taken exactly the same action in the absence of
an improper motive. Greer, 805 F. App'x at 29 (citing Scott,           *20 To the extent that plaintiff claims that videos were
344 F.3d at 288).                                                     “destroyed,” defendant Bernier states that it is the Department
                                                                      of Corrections and Community Supervision (“DOCCS”)
                                                                      policy to retain video tapes for a period of one year. (Bernier
  B. Analysis


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Decl. ¶ 8). This action was commenced in October of 2017.
To the extent that videos were deleted, there is no indication
                                                                         2. Defendants Bernier, LeClerc, and Nelson
that this law suit was the cause of such elimination. As shown
                                                                          (Sex Offender Counseling and Treatment
above, the plaintiff was given several videos between January
                                                                             Placement (“SOCTP”)) (Claim #2)
and April of 2016. There is no indication that any videos were
destroyed for any reason related to this plaintiff.               Plaintiff alleges that he was placed in the Sex
                                                                  Offender Counseling and Treatment Program (“SOCTP”) by
Plaintiff also claims that he was overcharged for FOIL            defendants Bernier, LeClerc, and Nelson in retaliation for
materials in retaliation for his grievances. Defendant Bernier    his grievances. Plaintiff argues that he should not have been
asserts that she was not involved in the determination of         placed in the program because his crime of conviction was not
the charges for FOIL requests. (Bernier Decl. ¶ 9-10). The        a sex offense. The court must first point out that plaintiff's due
copies of requested video footage and their cost calculations     process claims with respect to this issue have been dismissed.
were approved by a Captain within the FOIL Guidance               Only plaintiff's retaliation claims survive.
Department. Then, defendant Bernier, in her role as a FOIL
Officer, communicated the results of the FOIL request, and        Plaintiff has mistaken the criteria for placement in the
corresponding charge, set and approved by the Captain, to the     program. Defendant LeClerc is the Offender Rehabilitation
requesting inmate via FOIL Request Receipts. (Bernier Decl.       Coordinator (“ORC”) at Upstate. (LeClerc Decl. ¶ 1) (Dkt.
¶ 9). Defendant Bernier declares that she had no responsibility   No. 75-8). Defendant LeClerc states that, at the time of the
for setting the cost or method of cost calculation. (Bernier      incidents herein, the Central Office SOCTP staff reviewed
Decl. ¶ 10).                                                      an inmate for potential placement based on various criteria,
                                                                  including a guilty disciplinary disposition for a sex offence,
Defendant Nelson states that, prior to August of 2017, Upstate    threats to commit a sex offence, penal law offense of a sexual
had a policy whereby inmates who requested video footage          nature or an attempt to commit such an offense. (LeClerc
were charged based on the amount of time that an employee         Decl. ¶ 5). Thus, contrary to plaintiff's assertion, referral to
worked to produce the materials. (Nelson Decl. ¶ 9). At           the SOCTP is not dependent solely upon the inmate's crime
that rate, the price of one of plaintiff's requests was close     of conviction, but it may also be based upon the inmate's
to $100.00. (Id.) After August of 2017, pursuant to a New         behavior while incarcerated. (LeClerc Decl. ¶ 5 & Ex. A ¶ 6
York State Court order, Upstate was directed to stop charging     (Program Eligibility)).
inmates based upon an employee's hours of labor. (Nelson
Decl. ¶ 10; Bernier Decl. ¶ 11). As a result, the plaintiff's      *21 Defendant LeClerc states that an inmate's programming
charge was reduced accordingly, and defendant Nelson states       is reviewed every quarter to determine whether he is receiving
that she modified the charges for all incarcerated individuals.   the programming suitable to his needs. (LeClerc Decl. ¶
(Id.)                                                             6). When defendant LeClerc reviewed plaintiff's file, she
                                                                  determined that he had received three misbehavior reports for
It is clear from the evidence presented that neither defendant    lewd conduct, two while he was at Great Meadow, and one
Bernier, nor defendant Nelson were responsible for the            while he was at Green Haven. (LeClerc Decl. ¶ 6 & Ex. B
charges incurred by plaintiff for his FOIL requests. As stated    (Disciplinary History)). In accordance with DOCCS policy,
above, a defendant must be personally responsible for the         defendant LeClerc indicated that plaintiff might be suitable
alleged constitutional violation. Tangretti, supra. When the      for placement in the SOCTP, and referred the file to her
court ordered a change in the method of cost calculation,         supervisor, defendant Bernier. (LeClerc Decl. ¶ 7). Defendant
defendant Nelson adjusted the costs for all inmates affected      Bernier then referred plaintiff's file to the Central Office
by the overcharge. Plaintiff has failed to raise a genuine        Guidance and Counseling Unit, requesting that plaintiff be
issue of material fact regarding his retaliation claims against   reviewed for placement in the SOCTP. (LeClerc Decl. ¶ 8).
defendants Bernier and Nelson relative to his FOIL requests.
                                                                  On March 28, 2016, the Central Office Staff made the
                                                                  determination that plaintiff's placement in SOCTP was
                                                                  appropriate, and defendant LeClerc so informed the plaintiff.
                                                                  (LeClerc Decl. ¶ 9). When plaintiff questioned the timing
                                                                  of the referral, defendant LeClerc told him that the referral



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should have been made at his prior facility, but it may have      Reeder. (AC ¶ 414). However, during his deposition, plaintiff
been overlooked. (LeClerc Decl. ¶ 10). On September 14,           testified that he never had a problem with Sergeant L. Gokey
2017, Jeff McCoy, the Deputy Commissioner for Program             before plaintiff was placed in Cell #15. (Pl.’s Dep. at 149).
Services, wrote to plaintiff informing him that his placement     Plaintiff stated that he “actually thought she was a decent
in SOCTP was appropriate given his disciplinary history.          sergeant.” (Id.) Plaintiff appears 45 to have also testified that
(LeClerc Decl. ¶ 11 & Ex. C). Deputy Commissioner                 he never had a problem with Sergeant Smith prior to his
McCoy's letter to plaintiff makes the department's reasoning      placement in Cell #15. (Pl.’s Dep. at 149-50). He stated that
quite clear. The disciplinary determinations for lewd conduct     he never had a problem, but once he started filing grievances,
which influenced the determination were not made at Upstate,      “that's when everything began with these people.” (Pl.’s Dep.
and most of them took place before plaintiff was ever             at 150).
incarcerated at Upstate. Thus, is it clear that plaintiff's
placement in the SOCTP would have been made regardless            45      Plaintiff's testimony was very unclear at various
of any “retaliatory” 43 motive. Thus, any claims of retaliation
                                                                          times during his deposition. He tended to ramble
against defendants Bernier, LeClerc, and Nelson may be
                                                                          when he was asked a question, and it was not
dismissed.
                                                                          always clear to what question his answers referred.

43                                                                 *22 During his deposition, plaintiff testified that although
       This court does not find that a retaliatory motive         he had never filed a grievance against Sergeant L. Gokey, he
       existed.
                                                                  filed a grievance against “her husband.” (Pl.’s Dep. 152-53).
                                                                  Defendant Laura Gokey has filed a declaration, stating that
                                                                  in 2014, she was a Sergeant at Upstate. (Gokey Decl. ¶ 1)
             3. Defendants Gokey and Smith
                                                                  (Dkt. No. 75-3). Sergeant Gokey states that in 2014, Upstate
             (Cell 15 Placement) (Claim # 8)
                                                                  was full, there were limited options for placing inmates, 46
Plaintiff appears to allege that defendants Gokey and Smith       and the plaintiff's placement was not solely her determination.
had plaintiff placed in a cell next to Inmate Reeder in           (Gokey Decl. ¶¶ 5-6). Defendant L. Gokey also states that
retaliation for a grievance or grievances. The amended            she is not married to defendant M. Gokey. (Gokey Decl. ¶
complaint states generally that plaintiff was told that           11). Thus, plaintiff's pure speculation that Sergeant L. Gokey's
“security,” meaning “sergeants in 11 building” made the           “decision” to place plaintiff in Cell #15 was somehow in
decision to have plaintiff single-celled, and they were moving    retaliation for a grievance against M. Gokey because he was
him to Cell #15. (AC ¶ 89). During his deposition, plaintiff      her husband is clearly baseless. In any event, it is unclear
further speculated on who “security” was. 44 (Pl.’s Dep. at       when plaintiff would have filed a grievance against M. Gokey
148). Plaintiff also speculates in the amended complaint that     since plaintiff's claims against defendant M. Gokey are that
“staff knows and is fully aware” of Inmate Reeder's behavior,     he was involved in an assault on plaintiff in September of
and inmates who filed grievances are placed in the next cell      2014. Plaintiff's placement in Cell # 15 was in May of 2014.
in order to deprive them of sleep and psychologically torture     Thus, plaintiff had not yet filed a grievance against defendant
them. (AC ¶ 93).                                                  M. Gokey, and no defendant could have been retaliating for a
                                                                  grievance which had not yet been filed.
44     Plaintiff testified that “security is -- Sergeant
                                                                  46
       security is Sergeant Gokey. Security is Sergeant                   Although not stated by defendant L. Gokey in her
       Eddie [sic]; security is Sergeant Smith.” (Pl.’s Dep.              declaration, it is also clear, as discussed above,
       at 148).                                                           that plaintiff told corrections personnel that he was
                                                                          homicidal, and the decision was made that plaintiff
In the factual recitation of plaintiff's claims, he does not
                                                                          needed to be placed in a single cell, which could
identify “staff,” other than to say “sergeants in 11 building”
                                                                          also have influenced the plaintiff's placement.
were retaliating against him for filing “grievances,” nor
does he state to which grievances he was referring. In            During his deposition, plaintiff was asked whether he ever
the “Causes of Action” section of the amended complaint,          filed a grievance against defendant Smith, and plaintiff
plaintiff states that defendant L. Gokey and R. Smith were        responded that he had filed a grievance against defendant
responsible for placing plaintiff in Cell #15 next to Inmate      Smith in 2013 at Upstate. (Pl.’s Dep. at 153). Plaintiff's



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claims against defendant Smith relative to Cell # 15 placement               pending, including any appeals to the CORC.
occurred in May of 2014, after he was transferred from                       Although plaintiff states generally that he filed
another facility early in the month. Defendant Smith also                    many grievances, there is no indication that he filed
states that the decision where to place an inmate would not                  a grievance against defendants L. Gokey and R.
have been his alone. (Smith Decl. ¶ 5). Inmates were placed in               Smith, specifically referencing retaliation for his
cells based upon an inmate's height, weight, and known gang                  placement next to Reeder. The statute of limitations
affiliation, and in plaintiff's case, the housing would have to              would be an additional basis for dismissal of this
be a single cell based on the statements he made to corrections              claim.
personnel. (Id.)
                                                                     VI. Excessive Force (Claim # 3)
Defendant Smith also states that during 2014, Upstate was
full, and there were limited options for the placement of               A. Legal Standards
inmates. (Smith Decl. ¶ 7). Inmate Reeder was a “single-              *23 Inmates enjoy Eighth Amendment protection against
cell” inmate. (Smith Decl. ¶ 6). Plaintiff's status as a “single-    the use of excessive force, and may recover damages under
cell” inmate also influenced the placement. While plaintiff's        42 U.S.C. § 1983 for a violation of those rights. Hudson v.
complaints about needing a single-cell may have gotten him           McMillian, 503 U.S. 1, 9-10 (1992). To sustain a claim of
                                                                     excessive force, a plaintiff must still establish the objective
that designation, 47 they may also have been instrumental in
                                                                     and subjective elements of an Eighth Amendment claim.
his placement next to Inmate Reeder. 48 There is no indication       Blyden v. Mancusi, 186 F.3d 252, 262 (2d Cir. 1999).
that defendant Smith was responsible for placing plaintiff
in a cell in proximity to Inmate Reeder in retaliation for           In order to satisfy the objective element of the constitutional
any grievances that plaintiff might have filed. Defendants           standard for excessive force, a defendant's conduct must be
have presented evidence showing that there is no question            “ ‘inconsistent with the contemporary standards of decency.’
of material fact regarding plaintiff's retaliation claim, and        ” Whitely v. Albers, 475 U.S. 312, 327 (1986) (citation
plaintiff has failed to respond to their motion. Thus, plaintiff's   omitted); Hudson, 503 U.S. at 9. The malicious use of force to
retaliation claim against defendants L. Gokey and R. Smith           cause harm constitutes a per se Eighth Amendment violation,
may be dismissed. 49                                                 regardless of the seriousness of the injuries. Blyden, 186
                                                                     F.3d at 263 (citing Hudson, 503 U.S. at 9). “The Eighth
47                                                                   Amendment's prohibition of ‘cruel and unusual’ punishments
        It appears from defendant Marinelli's notes that
        plaintiff made many of his comments for purposes             necessarily excludes from constitutional recognition de
        of obtaining a single cell. (Marinelli Decl. Ex. C -         minimis uses of physical force, provided that the use of force
        plaintiff told staff that he was homicidal and did not       is not of a sort repugnant to the conscience of mankind.”
        want a “bunky,” but after he was told that he would          Hudson, 503 U.S. at 9-10 (citations omitted). “ ‘Not every
        get his single cell, he told staff that he would no          push or shove, even if it may later seem unnecessary
        longer need “OMH.” (Id.)                                     in the peace of a judge's chambers, violates a prisoner's
                                                                     constitutional rights.’ ” Sims, 230 F.3d at 22 (citation omitted).
48      Defendant Smith states that Upstate is a “double             With respect to this element, the law is clear that “a claim of
        bunk” facility, and only “some” inmates at Upstate           excessive force may be established even if the victim does not
        are designated to a single cell. Inmate Reeder was           suffer ‘serious’ ... or ‘significant’ injury, ... provided that the
        one of those inmates. (Smith Decl. ¶¶ 5, 6).                 amount of force used is more than ‘de minimis,’ or involves
49                                                                   force that is ‘repugnant to the conscience of mankind.’ ”
        The defendants have also argued that any                     Hudson, 503 U.S. at 7-10.
        retaliation claims against defendants L. Gokey and
        R. Smith are time-barred because the plaintiff's             The subjective element requires a plaintiff to demonstrate
        cause of action accrued in May of 2014, and                  the “necessary level of culpability, shown by actions
        plaintiff filed this action in October of 2017. As           characterized by wantonness.” Id. at 21 (citation omitted).
        discussed above, this would be true if plaintiff did         The wantonness inquiry “turns on ‘whether force was applied
        not actively pursue a grievance against these two            in a good-faith effort to maintain or restore discipline, or
        defendants which would have tolled the statute               maliciously and sadistically to cause harm.’ ” Id. (quoting
        of limitations for as long as the grievance was


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Hudson, 503 U.S. at 7). In determining whether defendants             lot of inmates say he was Michael Gokey, but I'm not ... that's
acted in a malicious or wanton manner, the Second Circuit has         what the inmates say.” (Pl.’s Dep. at 92). Plaintiff stated that
identified five factors to consider: the extent of the injury and     defendant M. Gokey was always in O.B.S., and that he was
the mental state of the defendant; the need for the application       there “at the situation because the way how [sic] Ms. Gokey,
of force; the correlation between that need and the amount of         his wife when I – when the – when the situation got brought
force used; the threat reasonably perceived by the defendants;        up, that's how I kind of figured it.” (Pl.’s Dep. at 95). “He's
and any efforts made by the defendants to temper the severity         known for this type of stuff.” (Id.)
of a forceful response.” Scott v. Coughlin, 344 F.3d 282, 291
(2d Cir. 2003).                                                       Plaintiff testified that when he told another inmate what
                                                                      happened, the other inmate told plaintiff that Michael Gokey
                                                                      did the same thing to him, and that it was his “M.O.” with the
   B. Analysis                                                        inmates. (Pl.’s Dep. at 96). That is why plaintiff was “almost
Plaintiff claims that defendant M. Gokey and other                    positive” M. Gokey was there, but admitted that he did not
unidentified correctional officers attacked him, beat him, and        know for sure, and that another inmate gave him the name.
sexually assaulted him on September 2, 2014. Once again,              (Id.) Plaintiff stated that “it could possibly be Gokey,” but “I
defendants argue that plaintiff's claim is time-barred because        don't know.” (Pl.’s Dep. at 97-98). He stated that “I'm telling
the claim would have accrued on September 2, 2014, and                you information that -- what other inmates is telling me. Like
he did not file this action until October 2, 2017. In the             every time this type of stuff came up, like he's known for the
alternative, they argue that plaintiff has failed to properly         -- that type of stuff, whatever.” (Pl.’s Dep. at 98).
assert the personal involvement of defendant Gokey in the
alleged assault.                                                      Defendant Gokey has submitted a declaration stating that on
                                                                      September 2, 2014, he was a corrections officer at Upstate.
Plaintiff claims that he filed grievances complaining about the       (M. Gokey Decl. ¶ 1) (Dkt. No. 75-4). However, September
September 2 nd assault and specifies the numbers that were            2, 2014 was defendant Gokey's regular day off, and therefore,
assigned to those grievances. (AC ¶¶ 110-11). Defendants              could not have been involved in an excessive force incident on
have not alleged, or supported any allegations, that plaintiff        that day. (M. Gokey Decl. ¶ 5). Moreover, defendant Gokey
failed to bring grievances relating to the assault. 50 Thus, the      states that when he was on duty during September of 2014,
court will proceed to the issue of personal involvement.              he was assigned to the 5:00 a.m. to 1:00 p.m. shift outside
                                                                      the facility, working with inmates who were assigned to a
50                                                                    work crew. (M. Gokey Decl. ¶ 6). Defendant M. Gokey also
        The court has stated above that, it is the
                                                                      confirms that he is not, nor was he ever, married to Sergeant
        plaintiff's burden to establish equitable or other
                                                                      L. Gokey. (M. Gokey Decl. ¶ 7). Finally, defendant M. Gokey
        tolling for the statute of limitations. Unlike the
                                                                      specifically asserts that he did not assault, or otherwise use
        claims above, where plaintiff generally asserted
                                                                      force on plaintiff on September 2, 2014. (M. Gokey Decl. ¶ 8).
        or failed to assert that he brought a grievance,
        here, plaintiff has listed grievance numbers. It
                                                                      Plaintiff has failed to respond to the defendants’ motion for
        would have been easy for defendants to make
                                                                      summary judgment. It is the plaintiff's burden to establish
        an argument that such grievance did not exist
                                                                      that the defendant was personally involved in any alleged
        or that the grievance did not toll the statute of
                                                                      constitutional violation. It is clear from plaintiff's own
        limitations. Defendants did not address equitable
                                                                      statements at his deposition that he only named defendant
        tolling in their statute of limitations argument. In
                                                                      M. Gokey because some other inmate or inmates mentioned
        any event, because the plaintiff's claim fails on
                                                                      his name and somehow assumed because M. Gokey and
        the issue of personal involvement, the court will
                                                                      defendant L. Gokey share the same name, they were married,
        not recommend dismissal based on the statute of
                                                                      and that he somehow was assaulting plaintiff because of that
        limitations.
                                                                      relationship. Defendants have established that there is no
 *24 It was apparent from plaintiff's deposition, that plaintiff      question of material fact regarding the personal involvement
did not know defendant M. Gokey. (Pl.’s Dep. at 82). Plaintiff        of defendant M. Gokey, and the plaintiff's excessive force
stated that he did not know which one was Michael Gokey, but          claim against him may be dismissed for lack of personal
he was “definitely in the vicinity.” (Id.) Plaintiff also stated “a   involvement.



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                                                                       Such objections shall be filed with the Clerk of the Court.
                                                                       FAILURE TO OBJECT TO THIS REPORT WITHIN
WHEREFORE, based on the findings above, it is
                                                                       14 DAYS WILL PRECLUDE APPELLATE REVIEW.
RECOMMENDED, that defendants’ motion for summary                       Roldan v. Racette, 984 F.2d 85 (2d Cir. 1993) (citing Small v.
judgment (Dkt. No. 75) be GRANTED, and the amended                     Secretary of Health and Human Services, 892 F.2d 15 (2d Cir.
complaint DISMISSED IN ITS ENTIRETY as against all                     1989)); 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72, 6(a), 6(e).
remaining defendants.
                                                                       All Citations
Pursuant to 28 U.S.C. § 636(b)(1), the parties have 14 days
within which to file written objections to the foregoing report.       Not Reported in Fed. Supp., 2021 WL 5989600

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                                                                 Now before the Court is a Report-Recommendation regarding
                    2021 WL 5988626                              the motion for summary judgment filed by the Honorable
      Only the Westlaw citation is currently available.          Andrew T. Baxter, recommending that Defendants’ motion
       United States District Court, N.D. New York.              for summary judgment be granted. Dkt. No. 84 (“Report-
                                                                 Recommendation”). For the reasons that follow, the Court
                Equarn WHITE, Plaintiff,                         approves and adopts the Report-Recommendation.
                           v.
             Randel SMITH, et al., Defendants.
                                                                 II. BACKGROUND
                  9:17-CV-1094 (LEK/ATB)
                                                                   A. Factual Allegations
                              |
                                                                 Petitioner's factual allegations are detailed in the Report-
                      Signed 12/17/2021
                                                                 Recommendation, familiarity with which is assumed. See
Attorneys and Law Firms                                          generally R. & R.

Equarn White, East Elmhurst, NY, Pro Se.
                                                                    B. The Report-Recommendation
Erik Boule Pinsonnault, New York State Attorney General,         After a very thorough review of the facts and claims asserted
Albany, NY, for Defendants John Marinelli, Robert Barkman,       by Plaintiff, as well as the uncontradicted record evidence
Patrick M. Baker, Luc Maynard, Randel Smith, Michael             presented by Defendants, Judge Baxter found no material
Eddy, Laura Gokey, Richard Winston, Adam Gallagher,              facts at issue and that summary judgment is appropriate as to
Brian Fournier, Heath Baker, Michele Byno, Denise Bernier,       each of Plaintiff's claims. See id. at 53.
Roxanne LeClerc, Tracy Nelson, M. Gokey.

                                                                 III. STANDARD OF REVIEW
                                                                 Within fourteen days after a party has been served with
                DECISION AND ORDER
                                                                 a copy of a magistrate judge's report-recommendation, the
Lawrence E. Kahn, Senior United States District Judge            party “may serve and file specific, written objections to the
                                                                 proposed findings and recommendations.” Fed. R. Civ. P.
I. INTRODUCTION                                                  72(b); L.R. 72.1(c). If objections are timely filed, a court
 *1 Plaintiff Equarn White commenced this pro se action on       “shall make a de novo determination of those portions of the
October 2, 2017 pursuant to 42 U.S.C. § 1983 for alleged         report or specified proposed findings or recommendations to
violations of his constitutional rights that occurred during     which objection is made.” 28 U.S.C. § 636(b). However, if no
his confinement at Upstate Correctional Facility. Dkt. No.       objections are made, or if an objection is general, conclusory,
1 (“Complaint”). On June 5, 2019 Plaintiff amended his           perfunctory, or a mere reiteration of an argument made to
complaint. Dkt. No. 44. After initial review of this amended     the magistrate judge, a district court need review that aspect
complaint, the Court allowed eight of Plaintiff's claims         of a report-recommendation only for clear error. Barnes v.
to continue including claims asserting Eighth Amendment          Prack, No. 11-CV-857, 2013 WL 1121353, at *1 (N.D.N.Y.
conditions-of-confinement, First Amendment retaliation,          Mar. 18, 2013); Farid v. Bouey, 554 F. Supp. 2d 301, 306–07
Eighth Amendment excessive force, and Eighth Amendment           (N.D.N.Y. 2008), abrogated on other grounds by Widomski
deliberate medical indifference asserted against various         v. State Univ. of N.Y. at Orange, 748 F.3d 471 (2d Cir.
defendants. See Dkt. No. 55 at 22–24.                            2014); see also Machicote v. Ercole, No. 06-CV-13320, 2011
                                                                 WL 3809920, at *2 (S.D.N.Y. Aug. 25, 2011) (“[E]ven a
On April 5, 2021, Defendants filed a motion for summary          pro se party's objections to a Report and Recommendation
judgment. Dkt. No. 75. Plaintiff requested, and the Court        must be specific and clearly aimed at particular findings
granted, additional time to respond to Defendants’ motion on     in the magistrate's proposal....”). “A [district] judge ... may
June 7, 2021. Dkt. Nos. 81, 82. However, Plaintiff never filed   accept, reject, or modify, in whole or in part, the findings or
a response. See Docket.                                          recommendations made by the magistrate judge.” § 636(b).


                                                                 IV. DISCUSSION


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 *2 Plaintiff did not file objections to the Report-
                                                            ORDERED, the amended complaint be dismissed in its
Recommendation. See Docket. Consequently, the Court
                                                            entirety as against all remaining defendants; and it is further
reviews the Report-Recommendation for clear error and
finds none. Therefore, the Court adopts the Report-
                                                            ORDERED, that the Clerk close this action; and it is further
Recommendation in its entirety.

                                                            ORDERED, that the Clerk serve a copy of this Decision and
V. CONCLUSION                                               Order on all parties in accordance with the Local Rules.
Accordingly, it is hereby:
                                                            IT IS SO ORDERED.
ORDERED, that the Report-Recommendation (Dkt. No. 84)
is APPROVED and ADOPTED in its entirety; and it is
                                                            All Citations
further
                                                            Not Reported in Fed. Supp., 2021 WL 5988626
ORDERED, that Defendants’ motion for summary judgment
(Dkt. No. 75) is GRANTED; and it is further

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                    531 F.Supp.3d 630
                                                                   Motion granted in part and denied in part.
       United States District Court, W.D. New York.
                                                                   Procedural Posture(s): Motion to Dismiss for Failure to
                Corey MAZYCK, Plaintiff,
                                                                   State a Claim.
                            v.
        Deputy Superintendent of Security Gregory
      KELLER, Sergeant Matthew W. Scull, Sergeant                   West Headnotes (44)
      Berghorn, and Officer Hendrickson, Defendants.

                     6:20-CV-06055 EAW                              [1]    Federal Civil Procedure         Insufficiency in
                              |                                            general
                      Signed 03/31/2021                                    In order to withstand a motion to dismiss for
                                                                           failure to state a claim, a party must set forth
Synopsis                                                                   enough facts to state a claim to relief that is
Background: Inmate brought § 1983 action against prison's                  plausible on its face. Fed. R. Civ. P. 12(b)(6).
deputy superintendent, correctional officer, and officer's
supervisors for failure to protect and excessive force under the
Eighth Amendment, First Amendment retaliation, conspiracy           [2]    Federal Civil Procedure         Insufficiency in
to obstruct justice, supervisory liability, and deprivation of             general
due process under the Fourteenth Amendment. Defendants
                                                                           A claim has facial plausibility, and will withstand
filed motion to dismiss for failure to state a claim.
                                                                           a motion to dismiss for failure to state a claim,
                                                                           when the plaintiff pleads factual content that
                                                                           allows the court to draw the reasonable inference
Holdings: The District Court, Elizabeth A. Wolford, J., held               that the defendant is liable for the misconduct
that:                                                                      alleged. Fed. R. Civ. P. 12(b)(6).

[1] inmate stated a claim against correctional officer for
excessive use of force;                                             [3]    Federal Civil Procedure         Insufficiency in
                                                                           general
[2] inmate stated a claim against deputy superintendent for
                                                                           Although a complaint attacked by a motion to
failure to protect;
                                                                           dismiss for failure to state a claim does not
                                                                           need detailed factual allegations, a plaintiff's
[3] inmate plausibly alleged that he was retaliated against for
                                                                           obligation to provide the grounds of his
reporting assault by correctional officer;
                                                                           entitlement to relief requires more than labels
                                                                           and conclusions; a formulaic recitation of the
[4] inmate stated a claim for conspiracy to obstruct justice;
                                                                           elements of a cause of action will not do. Fed. R.
                                                                           Civ. P. 12(b)(6).
[5] inmate stated a claim for deprivation of due process;

[6] inmate stated claims against supervisors and deputy
                                                                    [4]    Federal Civil Procedure         Insufficiency in
superintendent for failure to protect, retaliation, and
                                                                           general
deprivation of due process pursuant to theory of supervisory
liability; but                                                             In order to state a plausible claim, a complaint's
                                                                           factual allegations must be enough to raise a right
[7] inmate failed to state claim against supervisors and deputy            to relief above the speculative level. Fed. R. Civ.
superintendent for excessive use of force pursuant to theory               P. 12(b)(6).
of supervisory liability.




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 [5]    Sentencing and Punishment            Conditions
        of Confinement
                                                               [10]   Sentencing and Punishment           Use of force
        The Eighth Amendment protects prisoners from
                                                                      The Eighth Amendment's prohibition of cruel
        cruel and unusual punishment by prison officials.
                                                                      and unusual punishments necessarily excludes
        U.S. Const. Amend. 8.
                                                                      from constitutional recognition de minimis uses
                                                                      of physical force against prisoners by prison
                                                                      officials, provided that the use of force is not of
 [6]    Sentencing and Punishment            Use of force             a sort repugnant to the conscience of mankind.
        In order to state an Eighth Amendment claim                   U.S. Const. Amend. 8.
        against prison officials for excessive use of force,
        a prisoner must allege two elements: first, the
        prisoner must allege that the defendant acted          [11]   Sentencing and Punishment           Use of force
        with a subjectively sufficiently culpable state of
                                                                      Certain actions by prison officials against
        mind, and second, he must allege that the conduct
                                                                      prisoners, including the malicious use of
        was objectively harmful enough or sufficiently
                                                                      force to cause harm, constitute Eighth
        serious to reach constitutional dimensions. U.S.
                                                                      Amendment violations per se; this result follows
        Const. Amend. 8.
                                                                      because when prison officials maliciously
                                                                      and sadistically use force to cause harm,
                                                                      contemporary standards of decency are always
 [7]    Sentencing and Punishment            Use of force             violated. U.S. Const. Amend. 8.
        In order to state an Eighth Amendment claim
        against prison officials for excessive use of force,
        a prisoner must show that the defendant acted          [12]   Prisons      Use of force
        with a sufficiently culpable state of mind, shown
                                                                      Sentencing and Punishment           Use of force
        by actions characterized by wantonness in light
        of the particular circumstances surrounding the               Inmate alleged a malicious and sadistic use of
        challenged conduct. U.S. Const. Amend. 8.                     force by correctional officer, and thus inmate
                                                                      stated a § 1983 claim for excessive use of
                                                                      force under the Eighth Amendment; inmate
                                                                      alleged that officer suddenly and for no apparent
 [8]    Sentencing and Punishment            Use of force
                                                                      penological reason projected him into a wall
        For purposes of a prisoner's excessive force                  while he was wearing handcuffs, and that, when
        claim against prison officials under the Eighth               inmate asked why he was thrown into the wall,
        Amendment, the test for wantonness is whether                 officer responded that inmate was stupid and had
        the force was used in a good-faith effort to                  gotten blood on him. U.S. Const. Amend. 8; 42
        maintain or restore discipline, or maliciously and            U.S.C.A. § 1983.
        sadistically to cause harm. U.S. Const. Amend. 8.


                                                               [13]   Sentencing and Punishment           Conditions
 [9]    Sentencing and Punishment            Use of force             of Confinement
        In a prisoner's action against a prison official for          The Eighth Amendment imposes a duty on
        excessive force under the Eighth Amendment,                   prison officials to take reasonable measures to
        the determination of whether the official's                   guarantee the safety of the inmates. U.S. Const.
        conduct toward the prisoner was objectively                   Amend. 8.
        harmful enough or sufficiently serious to
        reach constitutional dimensions is context
        specific, turning upon contemporary standards of
        decency. U.S. Const. Amend. 8.


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                                                                      superintendent never replied to such letter and
 [14]    Sentencing and Punishment           Protection               failed to take any precautions to prevent harm
         from violence                                                to inmate, that inmate was attacked by other
         Not every assault against an inmate translates               inmates three days later, and that he learned at
         into constitutional liability under the Eighth               a disciplinary hearing that deputy superintendent
         Amendment for prison officials responsible for               had received the letter but chose not to place
         the victim's safety. U.S. Const. Amend. 8.                   inmate into protective custody. U.S. Const.
                                                                      Amend. 8; 42 U.S.C.A. § 1983.

 [15]    Sentencing and Punishment           Hazardous
         and unhealthful conditions                            [18]   Prisons      Protection from violence, assault,
         In order for an inmate to state a claim against              or abuse
         a prison official under the Eighth Amendment                 Sentencing and Punishment           Protection
         on the basis that the official has failed to                 from violence
         prevent harm, the inmate must plead both (a)                 It was irrelevant for purposes of inmate's § 1983
         conditions of confinement that objectively pose              claim against prison's deputy superintendent for
         an unreasonable risk of serious harm to their                failure to protect under the Eighth Amendment
         current or future health, and (b) that the official          whether injuries sustained by inmate in attack by
         acted with deliberate indifference. U.S. Const.              other inmates rose to the level of a constitutional
         Amend. 8.                                                    violation; such a claim relied upon the existence
                                                                      of a substantial risk of serious harm rather than
         1 Case that cites this headnote
                                                                      the extent of physical injuries sustained. U.S.
                                                                      Const. Amend. 8; 42 U.S.C.A. § 1983.
 [16]    Sentencing and Punishment           Deliberate
         indifference in general                                      4 Cases that cite this headnote
         Deliberate indifference under the Eighth
         Amendment means that a prison official must           [19]   Sentencing and Punishment           Protection
         know of and disregard an excessive risk to                   from violence
         inmate health or safety; the official must both be           Conditions of confinement can be deemed to
         aware of facts from which the inference could                objectively pose an unreasonable risk of serious
         be drawn that a substantial risk of serious harm             harm to an inmate's current or future health,
         exists, and he must also draw the inference. U.S.            as element of a failure to protect claim against
         Const. Amend. 8.                                             a prison official under the Eighth Amendment,
                                                                      even where no serious physical injury results.
         2 Cases that cite this headnote
                                                                      U.S. Const. Amend. 8.

 [17]    Prisons      Protection from violence, assault,              3 Cases that cite this headnote
         or abuse
         Sentencing and Punishment           Protection        [20]   Sentencing and Punishment           Protection
         from violence                                                from violence
         Inmate stated a § 1983 claim against prison's                In assessing whether the risk of an inmate's
         deputy superintendent for failure to protect under           violence against other inmates is sufficiently
         the Eighth Amendment; inmate alleged that                    serious to trigger constitutional protection under
         he wrote a letter to officer notifying him of                the Eighth Amendment, as required for an inmate
         heightened substantial risk of harm to his health            to establish a failure to protect claim against
         and safety due to a hit being ordered on him                 prison officials, the focus of inquiry must be the
         by another inmate who had been a co-defendant                existence of a substantial risk of serious harm
         and possessed a gang affiliation, that deputy



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         rather than the extent of the physical injuries
         sustained in an attack. U.S. Const. Amend. 8.
                                                               [24]   Constitutional Law        Retaliation
         5 Cases that cite this headnote
                                                                      In order to state a First Amendment retaliation
                                                                      claim sufficient to withstand a motion to
 [21]    Prisons        Protection from violence, assault,            dismiss, a plaintiff must allege (1) that the
         or abuse                                                     speech or conduct at issue was protected, (2)
         Sentencing and Punishment            Protection              that the defendant took adverse action against
         from violence                                                the plaintiff, and (3) that there was a causal
         Injuries sustained by inmate in an attack                    connection between the protected speech and the
         by other inmates were sufficiently serious to                adverse action. U.S. Const. Amend. 1.
         support a § 1983 claim against prison's deputy
                                                                      2 Cases that cite this headnote
         superintendent for failure to protect under the
         Eighth Amendment, where inmate's injuries
         included a broken tooth and several severe            [25]   Constitutional Law        Prisoners
         lacerations which required emergency treatment               Prisons      Particular violations, punishments,
         at an outside hospital and several staples and               deprivations, and conditions
         sutures. U.S. Const. Amend. 8; 42 U.S.C.A. §
                                                                      Inmate plausibly alleged that he was retaliated
         1983.
                                                                      against for reporting an assault by correctional
                                                                      officer, supporting § 1983 claim against
                                                                      correctional officer and supervisors for First
 [22]    Civil Rights       Criminal law enforcement;                 Amendment retaliation; inmate alleged that
         prisons                                                      he verbally reported the assault to officer's
         Inmate adequately alleged that prison's deputy               supervisor, that supervisor then deterred inmate
         superintendent was personally involved in                    from speaking further about the assault by
         failure by prison officials to protect inmate                informing multiple other inmates that inmate
         from attack other inmates, supporting § 1983                 was a snitch, that inmate was denied medical
         claim against deputy superintendent for failure              treatment for damage to his tooth resulting from
         to protect under the Eighth Amendment; inmate                the assault, that he was denied protective custody
         alleged that he wrote a letter informing deputy              housing and instead placed in a cell block where
         superintendent that other inmate, who had been               supervisor had previously announced that inmate
         a co-defendant, had placed a hit on him and                  was a snitch, and that the threats and cover up
         possessed a gang affiliation, and that it was                were meant to chill his speech about said assault.
         confirmed at a disciplinary hearing that deputy              U.S. Const. Amend. 1; 42 U.S.C.A. § 1983.
         superintendent received inmate's letter but failed
         to take any protective action. U.S. Const. Amend.            1 Case that cites this headnote
         8; 42 U.S.C.A. § 1983.
                                                               [26]   Civil Rights      Prisons and jails; probation
         1 Case that cites this headnote
                                                                      and parole
                                                                      Constitutional Law        Prisoners
 [23]    Civil Rights       Persons Liable in General
                                                                      Prisons      Particular violations, punishments,
         A defendant in a § 1983 action may not be held               deprivations, and conditions
         liable for damages for constitutional violations
                                                                      Inmate plausibly alleged that he engaged in
         merely because he held a high position of
                                                                      protected activity under the First Amendment
         authority; the defendant's personal involvement
                                                                      when he reported an assault by correctional
         in alleged constitutional deprivations is a
                                                                      officer, supporting § 1983 claim against officer
         prerequisite to an award of damages. 42 U.S.C.A.
                                                                      and supervisors for First Amendment retaliation,
         § 1983.


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         even though it was not clear from the complaint               objective, and the plaintiff is not required to
         when inmate made such reports or the nature                   show that he was actually deterred. U.S. Const.
         of those reports; inmate alleged that he verbally             Amend. 1.
         reported the assault to officer's supervisor and
         prison's medical clinic, and this reporting did not           1 Case that cites this headnote
         constitute mere confrontation or disagreement
         with a lawful order given by a corrections officer.    [30]   Constitutional Law        Freedom of Speech,
         U.S. Const. Amend. 1; 42 U.S.C.A. § 1983.                     Expression, and Press

         3 Cases that cite this headnote                               A plaintiff has standing to bring a First
                                                                       Amendment retaliation claim if he can show
                                                                       either that his speech has been adversely affected
 [27]    Constitutional Law         Prisons                            by the alleged government retaliation or that
         Constitutional Law         Prisoners                          he has suffered some other concrete harm. U.S.
         Not every statement an inmate makes in prison is              Const. Amend. 1.
         afforded First Amendment protection, but certain
         verbal complaints by prisoners about the conduct
         of prison officials may be considered protected        [31]   Constitutional Law        Prisoners
         action for purposes of a First Amendment                      Prisons      Particular violations, punishments,
         retaliation claim. U.S. Const. Amend. 1.                      deprivations, and conditions

         3 Cases that cite this headnote                               Inmate plainly alleged a causal connection
                                                                       between his protected activity of reporting an
                                                                       assault by correctional officer and resulting
 [28]    Constitutional Law         Prisoners                          adverse actions, supporting § 1983 claim against
         Prisons      Particular violations, punishments,              officer and supervisors for First Amendment
         deprivations, and conditions                                  retaliation; inmate alleged that, immediately
         Inmate plausibly alleged that he sustained an                 after he made his report, officer and supervisors
         injury and experienced adverse action by prison               disclosed to other inmates that he was a snitch,
         officials after reporting an assault by correctional          that he was denied medical care for damage
         officer, supporting § 1983 claim against officer              to his tooth resulting from assault, and that he
         and supervisors for First Amendment retaliation;              was denied protective custody despite the threat
         inmate alleged that, in retaliation for reporting             posed by fellow inmate who had been a co-
         the assault, he was denied medical care for                   defendant. U.S. Const. Amend. 1; 42 U.S.C.A. §
         tooth damage sustained during the assault, that               1983.
         he was denied placement in protective custody
         even though he faced risk of serious harm from
         a fellow inmate who had been a co-defendant,           [32]   Conspiracy       Obstructing justice or judicial
         and that officer and supervisors put inmate at                proceedings
         an increased risk of harm by informing other                  A conspiracy to obstruct justice need not be
         inmates that he was a snitch. U.S. Const. Amend.              shown by proof of an explicit agreement but can
         1; 42 U.S.C.A. § 1983.                                        be established by showing that the parties have
                                                                       a tacit understanding to carry out the prohibited
                                                                       conduct. 42 U.S.C. § 1985(2).
 [29]    Constitutional Law         Retaliation in general
         In the context of a First Amendment retaliation
         claim, an adverse action is defined as retaliatory     [33]   Conspiracy       Civil rights conspiracies
         conduct that would deter a similarly situated                 Conclusory, vague, and general allegations of
         individual of ordinary firmness from exercising               a conspiratorial agreement are insufficient to
         his or her constitutional rights; the test is


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         allege conspiracy to obstruct justice. 42 U.S.C. §
         1985(2).                                              [37]   Conspiracy         Personal stake or interest
                                                                      Under the personal stake exception, the
                                                                      intracorporate conspiracy doctrine does not
 [34]    Conspiracy       Civil rights conspiracies                   apply to bar conspiracy claims against
                                                                      individuals within a single entity when they are
         Inmate plausibly alleged an agreement between
                                                                      pursuing personal interests wholly separate and
         correctional officer and supervisors to obstruct
                                                                      apart from the entity.
         justice regarding allegedly excessive use of force
         by officer in violation of the Eighth Amendment;             7 Cases that cite this headnote
         inmate alleged that while he was receiving
         treatment in prison medical clinic, he overheard
         supervisor instruct other supervisor to have an       [38]   Constitutional Law         Access to courts
         officer retrieve inmate's tooth from scene of the            Prisons        Access to Courts and Public
         alleged assault and place it inside orientation              Officials
         room to create impression that tooth had actually            Inmate stated a claim that his due process rights
         been chipped during a separate assault of inmate             under the Fourteenth Amendment were violated
         which had occurred there, and that supervisor                when correctional officer and supervisors
         instructed other supervisor to not allow anyone              fabricated evidence to cover up officer's alleged
         into orientation room until pictures had been                assault of inmate by trying to make it appear
         taken to show that this was where inmate's tooth             that injuries from said assault actually resulted
         was found. U.S. Const. Amend. 8; 42 U.S.C.A.                 from a separate assault by other inmates, and to
         § 1985(2).                                                   retaliate against inmate for telling the truth about
                                                                      the other assault; inmate's claim was based on
                                                                      allegation that the cover up had tainted material
 [35]    Conspiracy       Civil rights conspiracies                   evidence and made it almost impossible for him
         Inmate's allegations against correctional officer            to litigate his underlying claim of conspiracy to
         and supervisors regarding conspiracy to obstruct             obstruct justice, based on violations of the Eighth
         justice as to excessive use of force by officer              and First Amendments. U.S. Const. Amends. 1,
         in violation of the Eighth Amendment were                    14; 42 U.S.C.A. §§ 1983, 1985(2).
         sufficient to invoke personal stake exception to
                                                                      1 Case that cites this headnote
         the intracorporate conspiracy doctrine; inmate
         alleged that supervisors fabricated evidence to
         cover up officer's assault of inmate and alleged      [39]   Civil Rights       Failure to act or protect or to
         that this conduct was not related in any way to              enforce law
         a corporate policy or management decision. U.S.              Constitutional Law         Constitutional Rights
         Const. Amend. 8; 42 U.S.C.A. § 1985(2).                      in General

         8 Cases that cite this headnote                              There is no right under the United States
                                                                      Constitution to an investigation by government
                                                                      officials; however, courts do recognize an
 [36]    Conspiracy       Intracorporate conspiracy                   inadequate investigation as sufficient to state a §
         doctrine in general                                          1983 claim when there was another recognized
         Pursuant to the intracorporate conspiracy                    constitutional right involved. 42 U.S.C.A. §
         doctrine, employees or agents of a single                    1983.
         corporate entity, acting within the scope of their
         employment, are legally incapable of conspiring
         together.                                             [40]   Constitutional Law         Retaliation in general

         4 Cases that cite this headnote                              A § 1983 claim for First Amendment retaliation
                                                                      may proceed when the plaintiff alleges that an


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         investigation was falsified for the purpose of
         retaliating against him for the exercise of his        [44]   Civil Rights       Prisons and jails; probation
         legal rights. U.S. Const. Amend. 1; 42 U.S.C.A.               and parole
         § 1983.                                                       Inmate failed to state a claim pursuant
                                                                       to theory of supervisory liability against
                                                                       correctional officer's supervisors and prison's
 [41]    Civil Rights      Criminal law enforcement;                   deputy superintendent for use of excessive
         prisons                                                       force under the Eighth Amendment, based
                                                                       on officer's alleged assault of inmate and
         Inmate stated a claim against prison's deputy
                                                                       creation of a policy or custom under which
         superintendent pursuant to theory of supervisory
                                                                       inmates were abused by corrections officers,
         liability for failure to protect under the Eighth
                                                                       even though inmate alleged that prison had
         Amendment, based on failure to properly
                                                                       a longstanding culture of brutality; inmate's
         supervise officer who allegedly assaulted
                                                                       second amended complaint lacked specific
         inmate, failure to implement a proper inmate
                                                                       allegations describing prior instances of abuse
         classification system, and failure to remedy
                                                                       by officer, or specific allegations that supervisors
         wrongs committed by officer; inmate alleged that
                                                                       or deputy superintendent were aware of or
         deputy superintendent was personally involved
                                                                       encouraged those actions. U.S. Const. Amend. 8.
         in said conduct. U.S. Const. Amend. 8.
                                                                       1 Case that cites this headnote

 [42]    Civil Rights      Criminal law enforcement;
         prisons
         Conspiracy       Prisons, jails, and convicts         Attorneys and Law Firms
         Inmate stated a claim against correctional
                                                                *635 Poupa Jenny Marashi, Marashi Legal, Bronx, NY, for
         officer's supervisors pursuant to theory of
                                                               Plaintiff.
         supervisory liability for failure to protect
         under the Eighth Amendment, First Amendment           Matthew D. Brown, New York State Office of the Attorney
         retaliation, deprivation of due process under         General, Rochester, NY, for Defendants.
         the Fourteenth Amendment, and conspiracy to
         obstruct justice, based on failure to properly
         supervise officer who allegedly assaulted
                                                                               DECISION AND ORDER
         inmate, failure to implement a proper inmate
         classification system, and failure to remedy the      ELIZABETH A. WOLFORD, United States District Judge
         wrongs committed by officer; inmate alleged
         that supervisors personally participated in said
         conduct. U.S. Const. Amend. 8; 42 U.S.C.A. §                           *636 INTRODUCTION
         1985(2).
                                                                **1 Plaintiff Corey Mazyck (“Plaintiff”) commenced this
                                                               action on January 24, 2020, against defendants Deputy
                                                               Superintendent of Security Gregory Keller, Sergeant Matthew
 [43]    Labor and Employment              Negligent           W. Scull, Sergeant Berghorn, and Officer Hendrickson
         training and supervision                              (hereinafter “Defendants”) in their individual capacities,
         Simply because a defendant serves in                  alleging claims for failure to protect, excessive force, First
         supervisory capacity does not automatically           Amendment retaliation, conspiracy, supervisory liability, and
         make every claim a plaintiff has against that         violation of due process of law, pursuant to 42 U.S.C. § 1983.
         defendant one for supervisory liability.              (Dkt. 1; Dkt. 9).

         1 Case that cites this headnote                       Presently before the Court is Defendants’ motion to dismiss
                                                               for failure to state a claim pursuant to Fed. R. Civ. P. 12(b)


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(6). (Dkt. 10). For the following reasons, Defendants’ motion             Sergeant Issac was voluntarily withdrawn as a
is granted as to the fifth cause of action for “supervisory               defendant in the second amended complaint, but
liability,” but it is otherwise denied.                                   also that he reserves the right to add him if
                                                                          discovery reveals his further involvement. (Dkt.
                                                                          17 at 13 n.2). Because Plaintiff has voluntarily
                                                                          withdrawn Sergeant Issac from the case and he is
                      BACKGROUND
                                                                          not named in the second amended complaint, which
The following facts are taken from Plaintiff's second amended             is the operative pleading in the case, the Clerk of
complaint (Dkt. 9) and are assumed true for purposes of                   Court is directed to terminate Sergeant Issac as a
this motion. During the events in question, Plaintiff was an              party on the docket. Thus, the motion to dismiss
inmate at Elmira Correctional Facility (“Elmira”). (Id. at ¶ 4).          Sergeant Issac is denied as moot.
Plaintiff arrived at Elmira on August 10, 2018. (Id. at ¶ 11).      **2 Between August 12, 2018 and August 19, 2018,
Plaintiff has “a very serious case of the chronic auto-immune      Plaintiff had “several documented encounters” with other
disease Myasthenia gravis, and as a result of such is very weak    inmates which further solidified his belief that he was
and does not have strong muscles,” which “makes [him] very         at substantial risk of serious harm. (Id. at ¶ 18). During
vulnerable to any acts of violence as he does not have the         these encounters, Plaintiff was approached and notified of J.
physical capacity to fight back or to defend himself.” (Id. at     Padilla's affiliation with the Bloods; informed that the two
¶ 12).                                                             prior attacks he suffered at other facilities were orchestrated
                                                                   by J. Padilla; and was warned and notified of a pending attack
On August 11, 2018, an arrival interview was conducted by          ordered by J. Padilla in the event Plaintiff was transferred
Sergeant Issac, 1 during which Plaintiff was asked if he “had      to Elmira. (Id. at ¶¶ 19-21). As a result of these encounters,
enemies.” (Id. at ¶ 13). Plaintiff informed Sergeant Issac that    on August 20, 2018, Plaintiff wrote a letter to defendant
he suffered two prior attacks at other facilities, and also made   Keller, notifying him of the heightened substantial risk of
Sergeant Issac aware of an “ongoing feud/beef/dispute he           harm to his health and safety, as well as of J. Padilla's gang
had with his criminal codefendant J. Padilla, as a result of       affiliation and how it “would turn the feud between himself
a written statement where Plaintiff had, in the mind of [his]      and [his] co-defendant into something much larger[.]” (Id.
co-defendant, cooperated with law enforcement, during their        at ¶ 22). Plaintiff mailed the letter to defendant Keller
criminal case.” (Id.). Sergeant Issac verified that J. Padilla     via Elmira's internal mail system. (Id.). Although defendant
was present at Elmira, and that he was undergoing a pending        Keller was “the final authority, and decision maker regarding
disciplinary Tier 3 hearing and was housed in the Special          all mat[t]ers at Elmira regarding the policy of and the
Housing Unit. (Id. at ¶ 14). Despite Plaintiff's pleas that        placement decisions for security of prisoners,” Plaintiff never
he be placed in protective custody and his concerns about          received any direct correspondence from him following his
the past two attacks he suffered and J. Padilla, Sergeant          letter, nor did defendant Keller take any precautions to prevent
Isaac told Plaintiff that protective custody was not necessary,    the heightened risk of harm. (Id. at ¶¶ 23-24).
even though the prison had a general policy of segregating
co-defendants in a “known conflict situation.” (Id. at ¶           After several days of not receiving a response from defendant
15). Sergeant Isaac instructed Plaintiff to sign a “Protective     Keller, on August 22, 2018, Plaintiff wrote a letter to his
Custody Waiver” despite Plaintiff's objections. (Id. at ¶ 16).     assigned counselor, E. Klosterman, requesting protective
Following his arrival interview, Plaintiff was released *637       custody housing based on his co-defendant status and the
from his 72-hour quarantine keep-lock status. (Id. at ¶ 17).       additional information he had received, and mailed it to him
                                                                   via the internal mail system. (Id. at ¶ 25). During this time,
1                                                                  defendant Keller still failed to act to prevent an impending
       Defendants argue that Sergeant Issac should be
                                                                   attack on Plaintiff, despite being aware of the incidents
       dismissed from the case because the second
                                                                   reported to him by Plaintiff. (Id. at ¶ 26).
       amended complaint makes no allegations against
       him. (Dkt. 10-2 at 13). Sergeant Issac was
                                                                   On August 23, 2018, at approximately 9:25 AM, Plaintiff
       named as a defendant in the complaint and first
                                                                   was attacked in the unsupervised orientation room on the
       amended complaint, but not in the second amended
                                                                   second floor of Shop 5. (Id. at ¶ 27). Specifically, “[t]wo
       complaint. In his response, Plaintiff explains that
                                                                   inmates, Roman and Rubin, assaulted Plaintiff with sharp


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foreign objects, causing Plaintiff to sustain multiple serious         attending protective custody recreation in the gym yard,
lacerations to the face and head.” (Id.). The officers assigned        calling Plaintiff a snitch while pointing at Plaintiff's multiple
to Shop 5 failed to timely respond to stop the attack, and only        bleeding lacerations.” (Id. at ¶¶ 39-41). Defendant Scull also
responded when an uninvolved inmate notified them of the               asked if anyone knew Plaintiff, and without waiting for a
incident, but many minutes had already passed, and Plaintiff           response from the inmates, stated “[w]ell, now you know
had already sustained injuries. (Id. at ¶ 28). When the officers       he's a snitch; let everybody know.” (Id. at ¶ 42). Before
responded, Plaintiff was attempting to protect himself, while          entering the clinic, defendant Scull told Plaintiff that he would
the other inmates were assaulting him in the face and head             “never make it home now because he will be killed in jail
with sharp objects. (Id. at ¶ 29). Plaintiff complied with             for being a snitch.” (Id. at ¶ 43). Plaintiff alleges that the
the officers’ orders to stop fighting and backed away from             berating by defendant Scull “was in direct retaliation for
the other inmates. (Id. at ¶ 30). Defendant Hendrickson told           [Plaintiff]’s putting into the verbal statement of the report of
Plaintiff to “face the fucking wall” and put his hands behind          the incident that Defendant Hendrickson had caused Plaintiff
his back. (Id.). Plaintiff complied with this order, and while         serious injury.” (Id. at ¶ 44).
defendant Hendrickson was placing restraints on him, he
whispered in Plaintiff's ear, “I don't want your fucking blood          **3 Plaintiff was examined by medical personnel at the
on me, and it is in your best interest to make sure that doesn't       clinic, during which Plaintiff informed them what had
happen.” (Id. at ¶ 31).                                                occurred and who had injured him, including the injuries
                                                                       inflicted by defendant Hendrickson. (Id. at ¶ 45). Plaintiff
Defendant Hendrickson told Plaintiff he was taking him to the          suffered the following injuries:
clinic due to his injuries. (Id. at ¶ 33). Plaintiff and defendant
Hendrickson exited the orientation room and Plaintiff was
guided to turn right. (Id.). Suddenly, and while Plaintiff was                          multiple lacerations and bruises, some
still in restraints, defendant Hendrickson “maliciously, and                            of which were caused by Defendant
with no lawful objective, projected Plaintiff with great force,                         Officers, in addition to the chipped
into a wall on the left side of the hallway of the second floor,                        tooth, swollen lip and shin abrasion.
seriously injuring Plaintiff,” which “considerably added to                             Plaintiff was notified by medical
his bodily bruises and lacerations,” and also caused severe                             personnel that he had a 7” laceration
injury to Plaintiff's mouth, *638 including a chipped front                             extending from the right side forehead
top right tooth and an injured lip, and a tear in his shin. (Id.                        to the right ear, a ... 5” laceration on
at ¶ 34). Plaintiff asked defendant Hendrickson why he had                              his scalp, and a 1 ¼” laceration on his
thrown him against the wall, to which defendant Hendrickson                             left cheek, and finally a 1” laceration
responded that Plaintiff was stupid and got blood on him. (Id.                          in and on the right ear.
at ¶ 36).

When Plaintiff and defendant Hendrickson reached the                   (Id. at ¶ 46).
bottom of the emergency fire steps, Plaintiff noticed that
defendant Scull was also present and escorting him to                  Plaintiff was asked by defendant Scull if he wanted protective
the clinic. (Id. at ¶ 37). Plaintiff notified defendant Scull,         custody, and Plaintiff again requested protective custody
who supervised defendant Hendrickson, that defendant                   housing, but he was not provided such housing. (Id. at ¶
Hendrickson had projected him into a wall and of his injuries.         47). Following the medical examination, defendant Berghorn,
(Id.). Defendant Scull stated “in sum and substance that               who was also a sergeant and supervisor, took photographs of
nobody will ever know Defendant Hendrickson did it, then               Plaintiff's injuries. (Id. at ¶ 48). Plaintiff was administered an
called Plaintiff ‘a dumb stupid black n****r that everyone             HIV/AIDS screening test due to blood getting on defendant
will know is a snitch’ because he would personally make sure           Hendrickson. (Id. at ¶ 49). Plaintiff was then notified that he
of it.” (Id. at ¶ 38). In an effort to ensure that Plaintiff did not   was being sent to an outside hospital due to the severity of his
inform anyone of defendant Hendrickson's actions, defendant            injuries. (Id. at ¶ 50).
Scull “took conscious shocking action against Plaintiff” and,
while they were walking the path between the gym, G Block              Plaintiff then observed and overheard defendants Scull and
and the clinic, “loudly berated Plaintiff to multiple inmates          Berghorn in the doorway of the emergency room of the clinic


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discussing the misconduct by defendant Hendrickson. (Id.               dismiss. (Dkt. 6). Thereafter, on March 6, 2020, Plaintiff
at ¶ 51). Defendant Berghorn instructed defendant Scull to             filed an amended complaint (Dkt. 8), and the Court denied
solicit an officer to retrieve Plaintiff's tooth from the second       Defendants’ motion to dismiss as moot (Dkt. 11). Plaintiff
floor hallway of Shop 5 and place it inside the Orientation            filed a second amended complaint on March 19, 2020,
room, to create the impression that his tooth had been chipped         removing the previously-named “Issac” defendant. (Dkt.
during the assault by the prisoners, rather than by defendant          9). Plaintiff's second amended complaint alleges six causes
Hendrickson in the hallway. (Id.). Defendant Berghorn also             of action: (1) an excessive force claim against defendant
instructed defendant Scull *639 that no person was to enter            Hendrickson, in violation of the Eighth Amendment; (2) a
the orientation room until pictures had been taken placing the         failure to protect claim against defendant Keller, in violation
tooth there. (Id. at ¶ 52). Plaintiff alleges that these actions and   of the Eighth Amendment; (3) a retaliation claim against
fabrication of evidence were taken to “cover up the action of          defendants Berghorn, Scull, and Hendrickson, in violation of
their subordinate Defendant Hendrickson, knowing that their            the First Amendment; (4) a claim for conspiracy to obstruct
photos and their placement of the tooth would create the false         justice against defendants Scull, Berghorn, and Hendrickson,
illusion that ... only inmates had injured Plaintiff, and that         pursuant to 42 U.S.C. § 1985(2); (5) a claim for supervisory
Defendant Hendrickson had not.” (Id. at ¶ 53).                         liability against defendants Scull, Berghorn, and Keller; and
                                                                       (6) a claim for violation of due process of law against
Plaintiff received treatment at Arnot Ogden Medical Center             defendants Scull, Berghorn, and Hendrickson, in violation of
for his lacerations, but not his chipped tooth. (Id. at ¶ 54).         the Fourteenth Amendment. (Id. at 16-23). On April 7, 2020,
He received 11 staples and 24 sutures, as well as other                Defendants filed a motion to dismiss the second amended
treatment. (Id. at ¶ 55). When he returned to Elmira, Plaintiff        complaint. (Dkt. 10). Plaintiff filed a response in opposition
was escorted back to the clinic and met by defendant Scull,            to the motion on May 15, 2020. (Dkt. 16; Dkt. 17).
who asked Plaintiff to sign paperwork following his request
for protective custody. (Id. at ¶ 56). However, defendant
Scull intentionally placed Plaintiff in G block—which is a
                                                                                               DISCUSSION
general population housing area and where defendant Scull
had earlier berated Plaintiff—to continue to retaliate against         I. Legal Standard
him for stating on incident reports, medical reports, and other         [1]     [2] “In considering a motion to dismiss for failure
documents that defendant Hendrickson had injured him. (Id.             to state a claim pursuant to Rule 12(b)(6), a district court
at ¶ 57). Plaintiff remained in G Block, at a heightened risk of       may consider the facts alleged in the complaint, documents
harm, for six days following the incident and his request for          attached to the complaint as exhibits, and documents
protective custody housing. (Id. at ¶ 59).                             incorporated by *640 reference in the complaint.” DiFolco
                                                                       v. MSNBC Cable L.L.C., 622 F.3d 104, 111 (2d Cir. 2010).
On August 29, 2018, during a disciplinary hearing, Plaintiff           A court should consider the motion by “accepting all factual
expressed his concerns regarding his current housing area.             allegations as true and drawing all reasonable inferences in
(Id. at ¶ 60). Mrs. Lyndaker, the civilian hearing officer,            favor of the plaintiff.” Trs. of Upstate N.Y. Eng'rs Pension
assured Plaintiff that she would make sure he was placed               Fund v. Ivy Asset Mgmt., 843 F.3d 561, 566 (2d Cir. 2016).
in more appropriate housing. (Id.). During the disciplinary            To withstand dismissal, a party must set forth “enough facts
hearing, either on or off the record, Plaintiff was informed           to state a claim to relief that is plausible on its face.” Bell Atl.
that defendant Keller had received Plaintiff's letter, which had       Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167
detailed and warned of the immediate risk of harm to Plaintiff,        L.Ed.2d 929 (2007). “A claim has facial plausibility when the
but he chose not to place Plaintiff in protective custody. (Id.        plaintiff pleads factual content that allows the court to draw
at ¶ 61). Following the hearing, Plaintiff was transferred to H        the reasonable inference that the defendant is liable for the
block, the protective custody housing area. (Id. at ¶ 63).             misconduct alleged.” Turkmen v. Ashcroft, 589 F.3d 542, 546
                                                                       (2d Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678,
                                                                       129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)).
                 PROCEDURAL HISTORY
                                                                        [3]    [4] “While a complaint attacked by a Rule 12(b)
 **4 Plaintiff filed his complaint on January 24, 2020. (Dkt.          (6) motion to dismiss does not need detailed factual
1). On February 14, 2020, Defendants filed a motion to                 allegations, a plaintiff's obligation to provide the grounds



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of his entitle[ment] to relief requires more than labels and           **5 [9]       [10]    [11] “The objective component of the
conclusions, and a formulaic recitation of the elements of a          Eighth Amendment test is also context specific, turning upon
cause of action will not do.” Twombly, 550 U.S. at 555, 127           ‘contemporary standards *641 of decency.’ ” Id. at 64
S.Ct. 1955 (internal quotations and citations omitted). “To           (citation omitted). “The Eighth Amendment's prohibition of
state a plausible claim, the complaint's ‘[f]actual allegations       ‘cruel and unusual’ punishments necessarily excludes from
must be enough to raise a right to relief above the speculative       constitutional recognition de minimis uses of physical force,
level.’ ” Nielsen v. AECOM Tech. Corp., 762 F.3d 214, 218             provided that the use of force is not of a sort repugnant
(2d Cir. 2014) (quoting Twombly, 550 U.S. at 555, 127 S.Ct.           to the conscience of mankind.” Hudson v. McMillian, 503
1955).                                                                U.S. 1, 9, 112 S.Ct. 995, 117 L.Ed.2d 156 (1992) (quotations
                                                                      and citation omitted). However, “certain actions, including
                                                                      the malicious use of force to cause harm, constitute Eighth
II. Plaintiff's Eighth Amendment Claims                               Amendment violations per se. This result follows because
Plaintiff's first and second claims are for violations of his         when prison officials maliciously and sadistically use force to
Eighth Amendment rights—an excessive use of force claim               cause harm, contemporary standards of decency are always
against defendant Hendrickson, and a failure to protect claim         violated.” Harris, 818 F.3d at 64 (citation omitted).
against defendant Keller. (Dkt. 9 at 15-18). Defendants
contend that Plaintiff's Eighth Amendment claims must be         [12] Plaintiff's allegations against defendant Hendrickson
dismissed because (1) Plaintiff has failed to allege that he    easily satisfy both the subjective and objective elements of
suffered a serious injury, as he suffered only a “chipped tooth an excessive use of force claim, and Defendants’ argument
and facial lacerations” (Dkt. 10-2 at 8), and (2) the claims    that Plaintiff has failed to allege that he sustained a
against defendant Keller must be dismissed because Plaintiff    “serious injury” is misplaced. Plaintiff alleges that defendant
has failed to allege that he was personally involved in the     Hendrickson, suddenly and for no apparent penological
constitutional violations, as his receipt of Plaintiff's letter, by
                                                                reason, projected Plaintiff—who was wearing handcuffs—
itself, does not amount to personal involvement (id. at 10-11). into a wall. When Plaintiff asked defendant Hendrickson why
                                                                he threw him into the wall, defendant Hendrickson replied
                                                                that Plaintiff was stupid and got blood on him. In other words,
   A. Excessive Use of Force Claim Against Defendant
                                                                Plaintiff has alleged the malicious and sadistic use of force by
   Hendrickson
                                                                defendant Hendrickson, which amounts to a per se violation
 [5]     [6]     [7]     [8] “The Eighth Amendment protects
                                                                of the Eighth Amendment. Accordingly, Defendants’ motion
prisoners from cruel and unusual punishment by prison
                                                                to dismiss Plaintiff's excessive use of force claim against
officials. To state an Eighth Amendment claim, a prisoner
                                                                defendant Hendrickson is denied.
must allege two elements, one subjective and one objective.
First, the prisoner must allege that the defendant acted with
a subjectively sufficiently culpable state of mind. Second, he     B. Failure to Protect Claim Against Defendant Keller
must allege that the conduct was objectively harmful enough      [13] [14] [15] [16] The Constitution imposes a duty on
or sufficiently serious to reach constitutional dimensions.”    prison officials to “take reasonable measures to guarantee the
Crawford v. Cuomo, 796 F.3d 252, 256 (2d Cir. 2015) (internal   safety of the inmates.” Farmer v. Brennan, 511 U.S. 825, 832,
quotations and citations omitted). “The subjective component    114 S.Ct. 1970, 128 L.Ed.2d 811 (1994) (internal quotations
of the claim requires a showing that the defendant had the      and citation omitted). However, not every assault “translates
necessary level of culpability, shown by actions characterized  into constitutional liability for prison officials responsible
by wantonness in light of the particular circumstances          for the victim's safety.” House v. City of N.Y., No. 18 Civ.
surrounding the challenged conduct.” Harris v. Miller, 818      6693 (PAE)(KNF), 2020 WL 6891830, at *11 (S.D.N.Y. Nov.
F.3d 49, 63 (2d Cir. 2016) (quotations and citations omitted).  24, 2020) (citation omitted). “To state a claim under the
For an excessive force claim, “the test for wantonness ‘is      Eighth Amendment on the basis that a defendant has failed
whether the force was used in a good-faith effort to maintain   to prevent harm, a plaintiff must plead both (a) conditions
or restore discipline, or maliciously and sadistically to cause of confinement that objectively pose an unreasonable risk of
harm.’ ” Id. (quoting Scott v. Coughlin, 344 F.3d 282, 291 (2d  serious harm to their current or future health, and (b) that
Cir. 2003)).                                                    the defendant acted with ‘deliberate indifference.’ ” Vega
                                                                      v. Semple, 963 F.3d 259, 273 (2d Cir. 2020). “Deliberate
                                                                      indifference under the Eighth Amendment standard means


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the official must know of and disregard an excessive risk             alleged failure to protect claim, where defendants “knew of a
to inmate health or safety; the official must both be aware           substantial risk prior to the February 28, 2011 attack and failed
of facts from which the inference could be drawn that a               to take reasonable measures to abate the harm”); see also
substantial risk of serious harm exists, and he must also draw        Douglas v. Annuci, No. 14-CV-6018 CJS, 2017 WL 5159194,
the inference.” Id. (alterations and quotations omitted).             at *6 (W.D.N.Y. Nov. 7, 2017) (finding that plaintiff plausibly
                                                                      pleaded a substantial risk of serious harm where the complaint
 [17] Plaintiff has plausibly alleged a failure-to-protect claim      alleged that there was “an active ‘contract’ on his life by the
against defendant Keller. Specifically, Plaintiff alleges:            Bloods gang, and that he has already been slashed by Bloods
                                                                      gang members on five occasions”).

             On August 20th, 2018, as a result                         [18]     [19]     [20]     [21] To the extent Defendants also
             of the information he had received                       contend that the injuries Plaintiff sustained due to defendant
             in the above enumerated encounters                       Keller's failure to prevent an attack are not “sufficiently
             with previously unknown inmates,                         serious” to rise to the level of a constitutional violation,
             Plaintiff wrote a letter to Defendant                    the Court rejects this argument. Most of the cases cited by
             Keller notifying him of the heightened                   Defendants for this proposition do not involve failure to
             substantial risk of harm to his health                   protect claims, as alleged by Plaintiff. (See Dkt. 10-2 at
             and safety resulting from the hit on him                 9-10). Rather, these cases involve deliberate indifference to
             ordered by his co-defendant Padilla,                     serious medical needs claims, which require that a plaintiff
             and also notified Defendant Keller of                    allege a “serious medical need.” See Charles v. Orange Cnty.,
             the co-defendant's gang affiliation and                  925 F.3d 73, 86 (2d Cir. 2019). In the context of a failure
             how it would turn the feud between                       to protect claim, “the objective prong can be satisfied even
             himself and [his] co-defendant into                      where no serious physical injury results,” and “[a]t bottom,
             something much larger, and involve                       [i]n assessing whether the risk of an inmate's violence against
             not only Padilla, but also unknown                       other inmates is ‘sufficiently serious,’ to trigger constitutional
             to Plaintiff associates, or affiliates of                protection, the focus of inquiry must be, not the extent of
             Padilla's. Plaintiff the[n] mailed the                   the physical injuries sustained in an attack, but rather the
             letter to Defendant Keller via Elmira                    existence of a ‘substantial risk of serious harm.’ ” Randle
             Correctional Facility's internal mail                    v. Alexander, 960 F. Supp. 2d 457, 473-74 (S.D.N.Y. 2013)
             system.                                                  (quotations and citation omitted). Here, Plaintiff has plainly
                                                                      alleged that he informed defendant Keller of a substantial risk
                                                                      of serious harm that existed due to the threat from J. Padilla
 **6 *642 (Dkt. 9 at ¶ 22). Plaintiff never received a                and his associates, but that defendant Keller failed to take any
response to his letter and defendant Keller did not take any          action to protect him. 2
precautions to prevent harm to Plaintiff (id. at ¶¶ 22-25), and
Plaintiff ultimately was attacked three days after he wrote the       2       Even if the focus of the failure to protect
letter to defendant Keller (id. at ¶ 27). Plaintiff further alleges           inquiry was the injuries resulting from an
that he learned at a disciplinary hearing on August 29, 2018,                 attack, Plaintiff's alleged injuries—which included
that defendant Keller had received his letter, but chose not to               a broken tooth and several severe lacerations
place Plaintiff in protective custody, which was unreasonable                 which required emergency treatment at an outside
due to the information in the letter, detailing the serious risk              hospital and several staples and sutures—are
of harm to Plaintiff. (Id. at ¶ 61). In other words, Plaintiff has            sufficiency serious. See Dabney v. Sawyer, No.
alleged that he communicated specific information relating to                 9:11-CV-0273(LEK/RFT), 2013 WL 5494074, at
a risk of serious harm—including information relating to an                   *10 (N.D.N.Y. Sept. 30, 2013) (“a broken tooth
impending attack—and that defendant Keller had knowledge                      may be considered sufficiently serious for purposes
of this information but chose to disregard the risk of harm to                of stating a medical deliberate indifference claim”);
Plaintiff by failing to place him in protective custody. Stewart              Goldston v. Albany Cnty. Sheriff Dept., No. 9:02-
v. Fisher, No. 11 Civ. 2184(HB), 2011 WL 6153084, at *6                       CV-1004, 2006 WL 2595194, at *7 (N.D.N.Y.
(S.D.N.Y. Dec. 12, 2011) (finding that plaintiff adequately                   Sept. 11, 2006) (finding that plaintiff's injuries,


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       including “a two-centimeter deep laceration on his          protect claim, based on the doctrine of supervisory liability.
       forehead that required six stitches to close” was           Id. at 89. The Second Circuit reversed, explaining:
       sufficiently serious for constitutional purposes).
                                                                     [W]hile Chapdelaine and Godding both held supervisory
 [22] [23] Defendants also argue that Plaintiff has failed to
                                                                     roles at Osborn, Morgan seeks to hold them liable only
allege defendant Keller's personal involvement. “A defendant
                                                                     for acts that they themselves committed. The crux of
in *643 a § 1983 action may not be held liable for
                                                                     Morgan's allegations against Chapdelaine and Godding is
damages for constitutional violations merely because he held
                                                                     that they violated the Eighth Amendment by ignoring his
a high position of authority. Rather, the personal involvement
                                                                     pleas for help. Morgan nowhere suggests that Chapdelaine,
of defendants in alleged constitutional deprivations is a
                                                                     Godding, or any other defendant improperly allowed a
prerequisite to an award of damages under § 1983.” Victory           subordinate prison official to commit a constitutional
v. Pataki, 814 F.3d 47, 67 (2d Cir. 2016) (internal alterations,     violation. The doctrine of supervisory liability is therefore
quotations, and citations omitted). Although in Colon v.             not implicated.
Coughlin, 58 F.3d 865, 873 (2d Cir. 1995), the Second Circuit
identified five categories of evidence that may establish the        We hold that the district court erred in dismissing Morgan's
liability of a supervisory official, more recently, in Tangreti      claims against Chapdelaine and Godding on the ground
v. Bachmann, the Second Circuit held that, post-Iqbal,               that neither was “on notice that ... Morgan faced an
“there is no special rule for supervisory liability. Instead, a      unreasonable risk to his safety.” The Inmate Request Forms
plaintiff must plead and prove that each Government-official         Chapdelaine and Godding acknowledged receiving were
defendant, through the official's own individual actions,            detailed and explicit regarding the threat Morgan believed
has violated the Constitution.” 983 F.3d 609, 618 (2d Cir.           Rodriguez posed.... In response, Godding made dismissive
2020). The Second Circuit explained that “[t]he factors              remarks to Morgan, which Morgan relayed to Chapdelaine
necessary to establish a [§ 1983] violation will vary with           in his Inmate Request Form. Chapdelaine ignored these
the constitutional provision at issue because the elements of        requests for help. These actions reflect Chapdelaine
different constitutional violations vary,” and “[t]he violation      and Godding's subjective awareness of, and deliberate
must be established against the supervisory official directly.”      indifference to, Morgan's *644 specific, repeated, and
Id. (second alteration in original) (quotations and citations        urgent expressions of fear for his safety.
omitted).
                                                                   Id. at 89-90 (internal citations omitted). Because Plaintiff has
 **7 At this stage of the case, Plaintiff has alleged defendant    alleged defendant Keller's personal involvement, Defendants’
Keller's personal involvement in the failure to protect claim.     motion to dismiss the failure to protect claim against
Plaintiff alleges that he wrote to defendant Keller directly to    defendant Keller is denied.
inform him of the specific risk of harm he faced due to J.
Padilla and that defendant Keller was aware of the risk of
                                                                   III. Plaintiff's First Amendment Retaliation Claims
harm to Plaintiff, but he failed to take any action to protect
                                                                   Against Defendants Berghorn, Scull, and Hendrickson
Plaintiff from that harm. Plaintiff further alleges that at a
                                                                    [24] Plaintiff's third claim is for First Amendment retaliation.
disciplinary hearing he received confirmation that defendant
                                                                   (Dkt. 9 at 18). “To state a First Amendment retaliation claim
Keller had received Plaintiff's letter and was therefore aware
                                                                   sufficient to withstand a motion to dismiss, a plaintiff must
of the risk of harm. In other words, contrary to Defendants’
                                                                   allege ‘(1) that the speech or conduct at issue was protected,
implication in their motion to dismiss (Dkt. 10-2 at 10-11),
                                                                   (2) that the defendant took adverse action against the plaintiff,
Plaintiff's claims against defendant Keller are not based
                                                                   and (3) that there was a causal connection between the
solely on his position as deputy superintendent of security at
                                                                   protected speech and the adverse action.’ ” Dolan v. Connolly,
Elmira, but rather on his personal involvement in the alleged
                                                                   794 F.3d 290, 294 (2d Cir. 2015) (quoting Espinal v. Goord,
constitutional deprivations.
                                                                   558 F.3d 119, 128 (2d Cir. 2009)).

The Second Circuit's recent decision in Morgan v. Dzurenda,
                                                                    [25] Plaintiff has alleged facts plausibly suggesting that
956 F.3d 84 (2d Cir. 2020), although involving a failure to
                                                                   Plaintiff was retaliated against for reporting the assault
protect claim at the summary judgment stage, is instructive
                                                                   by defendant Hendrickson. Specifically, Plaintiff alleges
on this point. In Morgan, the district court granted summary
                                                                   that he verbally reported the incident involving defendant
judgment to two prison officials on the plaintiff's failure to


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Hendrickson to his supervisor defendant Scull, after which          however, does not constitute protected speech deserving of
defendant Scull, to deter Plaintiff from further speaking           First Amendment protection.”).
about the alleged assault by defendant Hendrickson, informed
multiple inmates that Plaintiff was a snitch. (Dkt. 9 at ¶¶       The Court finds that Plaintiff has plausibly alleged that
37, 39-44). Plaintiff also reported defendant Hendrickson's       he engaged in protected activity for purposes of his First
attack to the medical clinic and was denied treatment for         Amendment retaliation claim. Plaintiff alleges that he initially
his tooth. (Id. at ¶¶ 45, 54). Plaintiff further alleges that     verbally reported the assault by defendant Hendrickson to
following the attack, he was denied protective custody            defendant Scull, and also that he reported the assault to
housing and was instead placed in G block where defendant         the medical clinic. (See, e.g., Dkt. 9 at ¶ 37 (“Plaintiff
Scull had previously announced that Plaintiff was a snitch,       notified and informed Defendant Scull, a supervisor of
and this placement was in retaliation for Plaintiff reporting the Defendant Hendrickson, and the rank of Sergeant, of
incident involving defendant Scull. (Id. at ¶¶ 57-58). Plaintiff  Defendant Hendrickson's projecting him to the wall, and the
remained in G block for six days at an increased risk of          serious injury and excessive bleeding to his mouth, around
harm. (Id. at ¶ 59). Finally, Plaintiff alleges that the threats  his teeth, lip and shins tears directly caused by Defendant
by defendant Scull, as well as the cover up instigated by         Hendrickson.”); id. at ¶ 45 (“During the examination, Plaintiff
defendants Scull and Berghorn, were meant to chill Plaintiff's    informed the medical personnel what had happened and
speech about the incident involving defendant Hendrickson.        who had injured him, including the very serious injuries
(Id. at ¶ 107).                                                   inflicted on him by Defendant Hendrickson.”)). Plaintiff
                                                                  further alleges that he stated on incident and medical
 **8 [26]       [27] Defendants argue that Plaintiff has not reports that defendant Hendrickson had injured him (id. at
alleged a First Amendment retaliation claim because he            ¶ 57 (“Regardless of Plaintiff's signature for placement into
has failed to identify the exercise of a protected right.         Protective Custody housing, Defendant Scull intentionally
(Dkt. 10-2 at 14-15). In response, Plaintiff contends that his    housed Plaintiff into G Block in order to continue to retaliate
statements to prison officials immediately after the attack       against Plaintiff for stating on incident reports, medical
and before he filed a grievance were protected speech             reports, and other documents that Defendant Hendrickson
because “[a] prisoner's statement that he ... intends to file a   had inflicted severe injury on Plaintiff.”)), although it is not
grievance is constitutionally protected speech.” (Dkt. 17 at      clear from the complaint when Plaintiff made those specific
27). “An inmate's informal complaints or requests as well as      reports or the nature of the reports. Although Plaintiff's initial
formal grievances constitute protected activity under the First   report of the actions taken by defendant Hendrickson to
Amendment. With regard to oral or verbal complaints, the          defendant Scull was verbal, it was not a mere confrontation
Second Circuit has yet to articulate a bright line rule regarding or a disagreement with a lawful order given by a corrections
constitutionally protected oral speech by an inmate.” Smith       officer. Rather, Plaintiff made a verbal report of an assault by
v. Barone, No. 3:20cv794(VLB), 2021 WL 917118, at *4              defendant Hendrickson to his supervisor.
(D. Conn. Mar. 10, 2021) (internal quotations and citations
omitted). “[A]lthough not every statement an inmate makes in       [28] Defendants next argue that Plaintiff has failed to allege
prison is afforded First Amendment protection, certain verbal     that he sustained an injury or experienced any adverse action
complaints by prisoners about the conduct of prison officials     due to his engaging in protected speech. (Dkt. 10-2 at 14-16).
may be considered protected action for purposes of a First        Specifically, Defendants contend that Plaintiff's speech was
Amendment retaliation claim.” Washington v. Fitzpatrick,          not chilled because he filed grievances regarding his claim,
No. 20 CV 911 (VB), 2021 WL 966085, at *6 (S.D.N.Y.               and he filed the instant lawsuit. (Id. at 15). Defendants further
Mar. 15, 2021) (quotations and citation omitted); but see         contend that the six days Plaintiff spent in general population
McIntosh v. United States, No. 14-CV-7889(KMK), 2016              before he was placed in protective custody is not an injury,
WL 1274585, at *26 (S.D.N.Y. Mar. 31, 2016) (“courts in           because “fear of being assaulted is not a sufficiently serious
the Second Circuit and others have distinguished between          injury.” (Id. at 15-16).
unambiguously protected activity and situations where an
inmate verbally confronts a prison official”); *645 Rossi v.       [29] [30] The Court has considered these arguments and
Goord, No. 9:00-CV-1521(LEK/DEP), 2006 WL 2811505,                finds them to be without merit. In the context of a First
at *10 n.16 (N.D.N.Y. Sept. 28, 2006) (“The questioning by        Amendment retaliation claim, “[a]n adverse action is defined
an inmate of a lawful order given by a corrections officer,       as retaliatory conduct that would deter a similarly situated



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individual of ordinary firmness from exercising his or her
constitutional rights.” Brandon v. Kinter, 938 F.3d 21, 40 (2d       IV. Plaintiff's Conspiracy to Obstruct Justice Claim
Cir. 2019) (quotations and citation omitted). While “[i]t might      Against Defendants Berghorn, Scull, and Hendrickson
seem that, because [an inmate] continued to file grievances           [32]      [33] Plaintiff's fourth claim is for conspiracy to
even after the alleged retaliation, the defendants’ actions          obstruct justice, in violation of 42 U.S.C. § 1985(2). (Dkt.
were not sufficiently adverse ... such a view misperceives           9 at 19). A conspiracy “need not be shown by proof of
what constitutes adverse action. The test is objective, and the      an explicit agreement but can be established by showing
plaintiff is not required to show that he was actually deterred.”    that the ‘parties have a tacit understanding to carry out the
Id. In other words, “[c]hilled speech is not the sine qua non        prohibited conduct.’ ” Thomas v. Roach, 165 F.3d 137, 146
of a First Amendment claim. A plaintiff has standing if he           (2d Cir. 1999) (citation omitted). However, “[c]onclusory,
can show either that his speech has been adversely affected          vague, and general allegations of a conspiratorial agreement
by the government retaliation or that he has suffered some           is insufficient to allege conspiracy under section 1985.” Berry
other concrete harm. Various non-speech related harms are            v. Fed. Bureau of Investigations, No. 3:20-cv-1116-VLB,
sufficient to give a plaintiff standing.” Dorsett v. Cnty. of        2021 WL 260255, at *6 (D. Conn. Jan. 26, 2021); see also
Nassau, 732 F.3d 157, 160 (2d Cir. 2013).                            Rolkiewicz v. City of N.Y., 442 F. Supp. 3d 627, 649 (S.D.N.Y.
                                                                     2020) (“A conspiracy need not be shown by proof of an
 **9 Here, Plaintiff alleges that he sustained injuries, beyond      explicit agreement but can be established by showing that the
just the chilling of his speech, in retaliation for his reporting    parties have a tacit understanding to carry out the prohibited
the assault by defendant Hendrickson. For example, *646              conduct. A plaintiff must, however, provide some factual
Plaintiff alleges that he was denied medical care for his tooth,     basis supporting a meeting of the minds, such that defendants
that he was denied placement in protective custody despite the       entered into an agreement, express or tacit, to achieve the
fact that he faced a risk of serious harm, and that Defendants       unlawful end.” (quoting Sanders v. Long Island Newsday, No.
informed other inmates that he was a snitch, putting him at an       CV 09-2393(JFB)(SIL), 2015 WL 5475694, at *14 (E.D.N.Y.
increased risk of harm. See Thurmond v. Thomas-Walsh, No.            July 14, 2015))).
18-CV-409(KMK), 2019 WL 1429559, at *10 (S.D.N.Y. Mar.
29, 2019) (denial of medical evaluation or treatment could            [34] Defendants contend that this claim must be dismissed
constitute adverse action for purposes of First Amendment            because (1) “Plaintiff offers only conclusory, vague, and
retaliation claim); see also Livingston v. Hoffnagle, No. 9:19-      general allegations of a conspiracy,” and (2) the individuals
CV-0353(GLS/CFH), 2019 WL 7500501, at *13 (N.D.N.Y.                  involved in the conspiracy were all employees of the New
Nov. 8, 2019) (“Courts in this Circuit have found that a             York Department of Corrections and are therefore precluded
prison official defendant's refusal of protective custody can        by the intracorporate conspiracy doctrine. (Dkt. 10-2 at 17).
be an adverse action for the purposes of a First Amendment           In response, Plaintiff contends that there are exceptions to
retaliation claim because it could cause a prisoner to fear          the intracorporate conspiracy doctrine, including where the
for his safety.” (alterations, quotations, and citation omitted)),   defendants have engaged in criminal conduct, and where the
adopted, 2020 WL 95431 (N.D.N.Y. Jan. 8, 2020).                      involved individuals are pursuing personal interests wholly
                                                                     separate from the entity. (Dkt. 17 at 24).
 [31] Finally, the Court notes that Plaintiff plainly alleges
a causal connection between the protected activity and the           Contrary to Defendants’ argument, Plaintiff's allegations
adverse actions. Defendants disclosing to other inmates that         relating to the alleged *647 conspiracy are not conclusory.
Plaintiff was a snitch, the denial of medical care for his           Plaintiff alleges that while he was in the clinic receiving
tooth, and the denial of protective custody all occurred             treatment for his injuries, he observed and heard defendants
immediately after Plaintiff initially reported the incident          Scull and Berghorn discussing the misconduct of defendant
involving defendant Hendrickson. See Espinal v. Goord, 558           Hendrickson. (Dkt. 9 at ¶ 51). Specifically, defendant
F.3d 119, 129 (2d Cir. 2009) (“[a] plaintiff can establish a         Berghorn instructed defendant Scull to solicit an officer to
causal connection that suggests retaliation by showing that          retrieve Plaintiff's tooth from the second floor hallway of
protected activity was close in time to the adverse action”).        Shop 5 and place it inside the orientation room, to create the
Accordingly, Defendants’ motion to dismiss Plaintiff's First         impression that his tooth had been chipped during the assault
Amendment retaliation claim is denied.                               by the prisoners, rather than by defendant Hendrickson in the
                                                                     hallway. (Id.). Defendant Berghorn also instructed defendant
                                                                     Scull that no one be permitted to enter the orientation room


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until pictures had been taken placing the tooth there, knowing
that the photos and placement of the tooth would create the
false illusion that only the inmates had injured Plaintiff, and V. Plaintiff's Due Process of Law/“Cover Up Claim”
that defendant Hendrickson had not. (Id. at ¶¶ 52-53). These    Against Defendants Scull, Berghorn, and Hendrickson
allegations plausibly allege an agreement by the parties to      [38] Plaintiff's sixth claim is that his due process rights
carry out prohibited conduct.                                   were violated when Defendants failed to properly investigate
                                                                his claim against defendant Hendrickson and engaged in a
 **10 [35]         [36]     [37] Nor does the intracorporate “cover up” to protect defendant *648 Hendrickson. (Dkt.
conspiracy doctrine operate to bar Plaintiff's conspiracy       9 at 22). In connection with this claim, Plaintiff alleges that
claim. Pursuant to the intracorporate conspiracy doctrine,      there was ample evidence showing he had been attacked
“employees or agents of a single corporate entity, acting       by defendant Hendrickson, but that defendants Scull and
within the scope of their employment, are legally incapable     Berghorn fabricated evidence and manufactured the cover up
of conspiring together.” Ali v. Connick, 136 F. Supp. 3d 270,   of evidence, and therefore made it impossible for Plaintiff to
282 (E.D.N.Y. 2015). However, “[a]ccording to the personal      litigate his underlying claim (id. at ¶¶ 132-34), and Plaintiff
stake exception, the intracorporate conspiracy doctrine does    was not permitted to produce evidence of his position at
not apply to bar conspiracy claims against individuals within   the disciplinary hearings brought by the prison (id. at ¶
a single entity when they are pursuing personal interests       140). Defendants argue that this claim must be dismissed
wholly separate and apart from the entity.” Id. (quotations and because “Plaintiff does not have a constitutional right to
citation omitted). “Courts have applied this exception in cases an investigation.” (Dkt. 10-2 at 16). In response, Plaintiff
where officers were alleged to have exercised excessive force   contends that he is not bringing a failure to investigate claim,
and then conspired to cover-up this alleged use of force.”      but rather a substantive due process violation “grounded in the
Rolkiewicz, 442 F. Supp. 3d at 648.                             Fourteenth Amendment, for the cover up and tainting of key
                                                                evidence which has now been hidden for use in subsequent
At this stage of the proceedings, the Court finds that          proceedings.” (Dkt. 17 at 31).
Plaintiffs’ allegations are sufficient to invoke the personal
stake exception to the intracorporate conspiracy doctrine.         [39] [40] “Although there is ... no constitutional right to
Plaintiff has alleged that defendants Scull and Berghorn          an investigation by government officials, courts do recognize
fabricated evidence to cover up the action of defendant           an inadequate investigation as sufficient to state a civil rights
Hendrickson (Dkt. 9 at ¶ 53), and that “[n]one of these acts      claim [when] there was another recognized constitutional
were in any way related to corporate policy or management         right involved.” Melendez v. Falls, No. 06-CV-6198P, 2009
decision” (id. at ¶ 111). Taking these allegations as true,       WL 529259, at *1 (W.D.N.Y. Mar. 2, 2009) (alteration,
Plaintiff has plausibly alleged that Defendants “acted other      quotations, and citations omitted). For example, “where, as
than in the normal course of their corporate duties,” by          here, the plaintiff alleges that the investigation was falsified
“using excessive force and then agreeing to cover up the          for the purpose of retaliating against him for the exercise
alleged assault by manipulating or destroying evidence.”          of his legal rights, such a claim may proceed.” Id. See also
Brown v. Annucci, No. 19 CV 9048(VB), 2021 WL 860189,             Franco v. Kelly, 854 F.2d 584, 590 (2d Cir. 1988) (“An
at *10-11 (S.D.N.Y. Mar. 8, 2021) (internal quotations and        act in retaliation for the exercise of a constitutional right is
citation omitted); see also Edwards v. Annucci, No. 17 CV         actionable under section 1983 even if the act, when taken
5018(VB), 2019 WL 1284295, at *9 (S.D.N.Y. Mar. 20,               for different reasons, would have been proper.” (alterations
2019) (explaining that “[e]mploying excessive force and           and citation omitted)). Here, Plaintiff plausibly alleges that
falsifying documents are not core functions performed in          Defendants fabricated evidence both to protect defendant
the normal course of a correction officer's duties,” and          Hendrickson, but also in retaliation for Plaintiff's exercising
“accepting plaintiff's allegations as true for purposes of        his First Amendment rights. (See, e.g., Dkt. 9 at ¶ 106 (“The
deciding this motion, plaintiff adequately pleads defendants      cover up of the force used by Defendant Hendrickson ...
acted outside the scope of their employment and in their          w[as] all inflicted as retaliation for [Plaintiff]’s assertion
own personal interest when they allegedly tried to cover up       of his right to tell the truth about the inmate attack
the beating, rendering the intracorporate conspiracy doctrine     incident that was being investigated, and also [Plaintiff]’s due
inapplicable”). Accordingly, Defendants’ motion to dismiss        process rights and rights in accessing the courts.”); id. at ¶
Plaintiff's conspiracy claim is denied.                           134 (“This cover up was performed by Defendants Scull,
                                                                  Berghorn, and Hendrickson in order to cover up Defendant


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Hendrickson's unlawful actions, and has now made it almost                      use of force had taken place (SAC ¶¶
impossible for Plaintiff to litigate this underlying claim,                     37-59)[.]
because material evidence was destroyed that showed the
tooth in the hallway, and no treatment was provided for the
tooth to cover up actions of Defendants.”)). Accordingly,          (Dkt. 17 at 22 (citations omitted)). Plaintiff further clarifies
Defendants’ motion to dismiss Plaintiff's due process claim        that he only alleges “supervisory liability claims, not any
on the basis that Plaintiff does not have a constitutional right   Monell claims.” (Id. at 21 n.9).
to an investigation is denied.
                                                               The Court first notes that the theories of supervisory liability
                                                               delineated in Colon are no longer controlling following
VI. Plaintiff's Supervisory Liability Claim Against
                                                               the Second Circuit's decision in Tangreti v. Bachmann,
Defendants Scull, Berghorn, and Keller
                                                               where the Second Circuit held that “there is no special
 **11 [41]         [42] Plaintiff's fifth cause of action is
                                                               rule for supervisory liability,” and that “a plaintiff must
for “eighth amendment—supervisory liability” against
                                                               plead and prove that each Government-official defendant,
defendants Scull, Berghorn, and Keller, based on their
                                                               through the official's own individual actions, has violated
failure to properly supervise defendant Hendrickson, failure
                                                               the Constitution.” 983 F.3d at 618 (quotations and citations
to implement a proper inmate classification system,
                                                               omitted). Accordingly, Colon is no longer controlling on this
and by failing to remedy the wrongs committed by
                                                               issue.
defendant Hendrickson and other Department of Corrections
employees. (Dkt. 9 at 20-21). Defendants contend that this
                                                                [43] The parties’ arguments addressing Plaintiff's claim
claim must be dismissed because Plaintiff does not allege that
                                                               for “supervisory liability” appear to be based on their
they created a policy or custom under which unconstitutional
                                                               misapprehension of such a claim. Simply because a defendant
practices occurred. (Dkt. 10-2 at 11-13).
                                                               serves in supervisory capacity does not automatically make
                                                               every claim a plaintiff has against that defendant one for
In response to the motion to dismiss, Plaintiff argues that
                                                               “supervisory liability.” See Morgan, 956 F.3d at 90 (doctrine
he has properly pleaded a supervisory liability claim against
                                                               of supervisory liability implicated where plaintiff contends
defendants Berghorn and Scull. *649 (Dkt. 17 at 21). Citing
                                                               that supervisory defendant improperly allowed subordinate
to the five categories delineated by the Second Circuit in
                                                               prison official to commit a constitutional violation). As
Colon v. Coughlin, 58 F.3d 865 (2d Cir. 1995), he points to
                                                               explained above, Plaintiff has plausibly alleged the personal
the following allegations in the second amended complaint
                                                               involvement of defendants Keller, Berghorn, and Scull—
which he argues support his supervisory liability claim:
                                                               all of whom hold supervisory positions—in several of
                                                               the specific constitutional deprivations alleged by Plaintiff.
                                                               Specifically, Plaintiff alleges that defendant Keller was
             [t]he SAC plausibly alleges that                  personally involved in the failure to protect claim, and
             Berghorn      and     Scull   directly            defendants Berghorn and Scull personally participated in the
             participated in the excessive force               alleged retaliation, due process, and conspiracy claims.
             violation through all five means
             iterated above. They (1) covered up                [44] However, to the extent Plaintiff attempts to hold
             evidence (SAC ¶¶ 51-53). They (2)                 defendants Keller, Berghorn, and Scull liable for actions
             did not remedy the wrong after being              taken by defendant Hendrickson only, or for creating
             informed of it by Mr. Mazyck (SAC                 a policy or custom under which inmates were abused
             ¶¶ 37-53), and (3) in covering up                 by corrections officers at Elmira, the Court agrees with
             the violation, allowed it to continue             Defendants that he has failed to state such a claim. While
             (SAC ¶¶ 37-53). Berghorn and Scull                the second amended complaint contains allegations that there
             (4) were grossly negligent regarding              is “a longstanding culture of brutality at Elmira” (Dkt.
             Hendrickson, who committed the                    9 at ¶ 78), that defendants “Keller, Scull, and Berghorn
             violation (SAC ¶¶ 37-53), and (5)                 failed to instruct, train, supervise, control, and discipline
             did not act (in a lawful manner) on               personnel in documenting uses of force and preserving
             information indicating the unlawful               evidence, contributing to the culture of lawlessness at Elmira



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and allowing abusive officers to continue their pattern of
excessive force against inmates in their custody” (id. at ¶                                 CONCLUSION
80), as well as that they were aware that “Defendants had
been involved in multiple incidents of abuse of inmates prior         **12 For the foregoing reasons, Defendants’ motion to
to their abuse of Plaintiff but did nothing to prevent that          dismiss the second amended complaint (Dkt. 10) is granted
abuse” (id. at ¶ 72), those allegations are conclusory and           in part and denied in part. Defendants’ motion is denied in
vague, and lack the required specificity to hold supervisory         all respects, except as to Plaintiff's fifth cause of action for
defendants responsible for the actions of their subordinates.        “supervisory liability,” which is dismissed. In addition, the
For example, the second *650 amended complaint lacks                 Clerk of Court is directed to terminate Sergeant Issac from
specific allegations describing prior instances of abuse by          the docket.
defendant Hendrickson, or that defendants Keller, Scull, and
Berghorn were aware of or encouraged those actions. Because          SO ORDERED.
Plaintiff has failed to allege facts plausibly suggesting that
defendants Keller, Scull, and Berghorn may be held liable
                                                                     All Citations
for the actions of their subordinates, Plaintiff's claim for
“supervisory liability” is dismissed.                                531 F.Supp.3d 630, 2021 WL 1201224


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                                                                  Plaintiff's motion for partial summary judgment is DENIED.
                                                                  and
      KeyCite Yellow Flag - Negative Treatment
Distinguished by Smith v. Collins, S.D.N.Y., October 1, 2015
                                                                  The complaint is DISMISSED in its entirety.
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       Only the Westlaw citation is currently available.          The Clerk is directed to enter judgment accordingly.
                United States District Court,
                      N.D. New York.                              IT IS SO ORDERED.

                   Jeff SMITH, Plaintiff,
                             v.                                   GEORGE H. LOWE, Magistrate Judge.
         Robert K. WOODS, Deputy Superintendent;
         Joseph R. Belarge, Captain; G.J. O'Donnell,
                                                                              REPORT-RECOMMENDATION
           Sergeant; F.S.A. Antonelli; and Wayne
            Holt, Correction Officer, Defendants.                 This matter has been referred to me for Report and
                                                                  Recommendation by the Honorable David N. Hurd, United
                         No. 9:03-CV-480.                         States District Judge, pursuant to 28 U.S.C. § 636(b) and
                                 |                                Local Rule 72.3(c) of the Rules of Practice for this Court.
                          April 24, 2006.                         In this pro se civil rights action brought under 42 U.S.C. §
                                                                  1983, Jeff Smith (“Plaintiff”) alleges that five employees of
Attorneys and Law Firms
                                                                  Upstate Correctional Facility-Deputy Superintendent Robert
Jeff Smith Plaintiff, Pro Se, New York, NY.                       K. Woods, Captain Joseph R. Belarge, Sergeant G.J.
                                                                  O'Donnel, Food Service Administrator Richard Antonelli,
Hon. Eliot Spitzer, Attorney General of the State of New          and Correction Officer Wayne Holt (“Defendants”)-violated
York, Kelly L. Munkwitz, Esq., Asst. Attorney General, of         his rights under the First, Fourth, Eighth, and Fourteenth
Counsel, Department of Law, Albany, NY, for Defendants.           Amendments by (1) retaliating against him for having
                                                                  previously filed a complaint, (2) subjecting him to an
                                                                  unreasonable search and seizure, (3) subjecting him to a
                   DECISION and ORDER                             damaged bunk bed while he was housed in the Upstate
                                                                  Correctional Facility Special Housing Unit, and (4) taking
DAVID N. HURD, District Judge.                                    away his “good time” credits without affording him due
                                                                  process. (Dkt. No. 5 [Plf.'s Am. Compl.].) 1
 *1 Plaintiff, Jeff Smith, brought this civil rights action
pursuant to 42 U.S.C. § 1983. By Report-Recommendation
                                                                  1
dated March 17, 2006, the Honorable George H.                            Given my duty to liberally construe a pro
Lowe, United States Magistrate Judge, recommended that                   se plaintiff's civil rights complaint, I construe
defendants' motion for summary judgment be granted, and                  Plaintiff's Amended Complaint as including a claim
that plaintiff's motion for partial summary judgment be                  that various Defendants violated Plaintiff's rights
denied. (Docket No. 51). The plaintiff has filed objections to           under the Fourth Amendment to be free from
the Report-Recommendation. (Docket No. 53).                              unreasonable searches and seizures. See Phillips
                                                                         v. Girdich, 408 F.3d 124, 130 (2d Cir.2005) (“We
Based upon a de novo determination of the portions of                    leave it for the district court to determine what
the report and recommendations to which the plaintiff                    other claims, if any, [the plaintiff] has raised. In
has objected, the Report-Recommendation is accepted and                  so doing, the court's imagination should be limited
adopted in whole. See 28 U .S.C. 636(b)(1). Accordingly, it              only by [the plaintiff's] factual allegations, not
is ORDERED that                                                          by the legal claims set out in his pleadings.”)
1. Defendants' motion for summary judgment is GRANTED;                   [citations omitted]. (See also Dkt. No. 5, ¶ 44 [Plf.'s
                                                                         Am. Compl., alleging that Defendants Woods and
                                                                         Holt “violat[ed] plaintiff's 4th ... Amendment[ ]



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       rights”], ¶ 15 [alleging that Defendant Belarge             For the reasons discussed below, I answer each of the six
       “had plaintiff's personal property searched by three        questions posed in Defendants' motion in the affirmative, and
       officers, one of whom was Holt”]; Dkt. No. 37, Part         I answer each of the three questions posed in Plaintiff's motion
       23, Ex. A at 26-28 [Munkowitz Decl., attaching              in the negative. As a result, I recommend that Defendants'
       transcript of deposition of Plaintiff, in which he          motion for summary judgment be granted and that Plaintiff's
       explains his claim under the Fourth Amendment               motion for partial summary judgment be denied.
       based on the alleged unjustified search and seizure
       of his property].)
                                                                   I. SUMMARY JUDGMENT STANDARD
Currently before the Court is Defendants' motion for               Under Rule 56(e) of the Federal Rules of Civil
summary judgment (Dkt. No. 37), and Plaintiff's motion             Procedure, summary judgment is warranted if “the pleadings,
for partial summary judgment (Dkt. No. 38), both brought           depositions, answers to interrogatories, and admissions on
pursuant to Rule 56 of the Federal Rules of Civil Procedure.       file, together with the affidavits, if any, show that there
Because both motions were filed on the same day (February          is no genuine issue as to any material fact and that the
11, 2005), and neither was filed in response to the other,         moving party is entitled to a judgment as a matter of law.”
I construe each motion as a “motion” and neither motion            Fed.R.Civ.P. 56(c). In determining whether a genuine issue of
as a “cross-motion.” Both Plaintiff and Defendants have
                                                                   material 2 fact exists, the Court must resolve all ambiguities
responded to each other's motion (Dkt.Nos.42, 45), and
                                                                   and draw all reasonable inferences against the moving party.
replied to the other's response (Dkt.Nos.47, 48).
                                                                   Schwapp v. Town of Avon, 118 F.3d 106, 110 (2d Cir.1997)
                                                                   (citation omitted); Thompson v. Gjivoje, 896 F.2d 716, 720
Generally, Defendants' motion raises six issues: (1) whether
                                                                   (2d Cir.1990) (citation omitted).
Plaintiff has failed to establish (or even state) a First
Amendment retaliation claim; (2) whether Plaintiff has failed
                                                                   2
to state a Fourth Amendment claim, (3) whether Plaintiff                  A fact is “material” only if it would have some
has failed to establish (or even state) an Eighth Amendment               effect on the outcome of the suit. Anderson v.
claim; (4) whether Plaintiff has failed to exhaust his available          Liberty Lobby, 477 U.S. 242, 248 (1986).
administrative remedies regarding his Eighth Amendment             However, when the moving party has met its initial burden of
claim; (5) whether Plaintiff has failed to establish (or even      establishing the absence of any genuine issue of material fact,
state) a Fourteenth Amendment due process claim; (6)               the nonmoving party must come forward with “specific facts
whether Plaintiff has failed to establish (or properly state) a    showing that there is a genuine issue for trial.” Fed.R.Civ.P.
conspiracy claim; and (7) whether Defendants are protected         56(e); see also Matsushita Electric Industrial Co., Ltd. v.
by qualified immunity. (Dkt. No. 37, Part 25 [Defs.' Mem. of       Zenith Radio Corp., 475 U.S. 574, 585-87 (1986). The
Law].)                                                             nonmoving party must do more than “simply show that
                                                                   there is some metaphysical doubt as to the material facts.”
 *2 Generally, Plaintiff's motion raises three issues: (1)         Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 477
whether Plaintiff is entitled to judgment as a matter of law on    U.S. 574, 585-86 (1986); see also Anderson v. Liberty Lobby,
his First Amendment retaliation claim; (2) whether Plaintiff       Inc., 477 U.S. 242, 247-48 (1986). “A dispute regarding
is entitled to judgment as a matter of law on his Eighth           a material fact is genuine if the evidence is such that a
Amendment claim; and (3) whether Plaintiff is entitled to          reasonable jury could return a verdict for the nonmoving
judgment as a matter of law on his Fourteenth Amendment            party.” Ross v. McGinnis, 00-CV-0275, 2004 WL 1125177, at
due process claim. (Dkt. No. 38, Part 3 [Plf.'s Mem. of Law].)     *8 (W.D.N.Y. March 29, 2004) [internal quotations omitted]
Although I liberally construe Plaintiff's Amended Complaint        [emphasis added].
as containing a Fourth Amendment claim, I do not liberally
construe his motion as requesting judgment as a matter of law      Imposed over this general burden-shifting framework is the
on his Fourth Amendment claim, especially given the burden         generous perspective with which the Court must view a pro se
on a movant under the Federal Rules of Civil Procedure. See        plaintiff's pleadings. “[I]n actions in which one of the parties
Fed.R.Civ.P. 7(b)(1) (requiring that movants “shall set forth      appears pro se, this Court is faced with the ... responsibility
the relief or order sought,” and “shall state with particularity   of granting significant liberality in how pro se pleadings are
the grounds [for the relief requested]”).                          construed.” Aziz Zarif Shabazz v. Pico, 994 F.Supp. 460, 467
                                                                   (S.D.N.Y.1998); see Haines v. Kerner, 404 U.S. 519, 520-21


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(1972) (per curiam) (pro se pleadings held “to less stringent       that “set[s] forth a specific citation to the record where the
standards than formal pleadings drafted by lawyers.”); Ortiz        factual issue arises.” 5
v. Cornetta, 867 F.2d 146, 148 (2d Cir.1989). For example,
where a plaintiff is proceeding pro se, and the defendant           5
                                                                            Local Rule 7.1(a)(3); see, e.g., Jones v.
has filed a dispositive motion, the Court must construe the
                                                                            Smithkline Beecham Corp., 309 F.Supp.2d 343,
plaintiff's complaint and opposition papers liberally so as to
                                                                            346 (N.D.N.Y.2004) (McAvoy, J.) (“[W]here
raise the strongest arguments that they suggest. See Weixel
                                                                            Plaintiff has failed to provide specific references
v. Bd. of Ed. of City of New York, 287 F.3d 138, 146 (2d
                                                                            to the record in support of her denials or has
Cir.2002) (motion to dismiss in civil rights case); Burgos v.
                                                                            otherwise failed to completely deny Defendant's
Hopkins, 14 F.3d 787, 790 (2d Cir.1994) (motion for summary
                                                                            assertions of fact, those assertions will be taken
judgment in civil rights case); Thomas v. Irving, 981 F.Supp.
                                                                            as true.”); Lee v. Alfonso, 97-CV-1741, 2004 U.S.
794, 799 (W.D.N.Y.1997) (motion for summary judgment in
                                                                            Dist. LEXIS 20746, at *15 (N.D.N.Y. Feb. 10,
civil rights case).
                                                                            2004) (Scullin, C.J.) (“Plaintiff does not offer any
                                                                            facts to support his claims that would raise an
 *3 However, although “[t]he work product of pro se litigants
                                                                            issue of fact. Nor has he overcome his failure to
should be generously and liberally construed, ... [a pro se
                                                                            respond to Defendants' Rule 7.1(a)(3) Statement.
litigant's] failure to allege either specific facts or particular
                                                                            Therefore, Defendants' version of the facts remains
laws that have been violated renders [an] attempt to oppose
                                                                            uncontroverted.”); Margan v. Niles, 250 F.Supp.2d
defendants' motion ineffectual.” Kadosh v. TRW, Inc., 91-
                                                                            63, 67 (N.D.N.Y.2003) (Hurd, J.) (“Plaintiff's
CV-5080, 1994 WL 681763, at *5 (S.D.N.Y. Dec. 5, 1994).
                                                                            Rule 7.1(a)(3) statement, which contains numerous
In other words, “[p]roceeding pro se does not otherwise
                                                                            denials, does not contain a single citation to the
relieve a [party] from the usual requirements to survive
                                                                            record. Because plaintiff's response Rule 7.1(a)
a motion for summary judgment .” Bussa v. Aitalia Line
                                                                            (3) statement does not comply with the local
Aeree Italiane S.p.A., 02-CV-10296, 2004 WL 1637014,
                                                                            rules, it has not been considered.”); Mehlenbacher
at *4 (S.D.N.Y. July 21, 2004) (citations omitted), accord,
                                                                            v. Slafrad, 99-CV-2127, 2003 U.S. Dist. LEXIS
Durran v. Selsky, 251 F.Supp.2d 1208, 1211 (W.D.N.Y.2003)
                                                                            9248, at *4 (N.D.N.Y. June 4, 2003) (Sharpe, M.J.)
(citations omitted).
                                                                            (“Since [the plaintiff] has failed to respond to the
                                                                            defendant's statements of material fact, the facts as
II. STATEMENT OF MATERIAL FACTS                                             set forth in the defendants' Rule 7.1 Statement ... are
The facts set forth in a defendant's Rule 7.1(a)(3) Statement               accepted as true.”); Adams v. N.Y. State Thruway
of Material Facts will be taken as true to the extent those                 Auth., 97-CV-1909, 2001 U.S. Dist. LEXIS 3206,
                                                                            at *2, n. 1 (N.D.N.Y. March 22, 2001) (Mordue,
facts are supported by the evidence in the record 3 and are not
                                                                            J.) (“[T]o the extent plaintiff's responses violate
specifically controverted by the plaintiff. 4
                                                                            Local Rule 7. 1, and are not properly admitted or
                                                                            denied, the Court will deem defendant's statement
3
        See Vermont Teddy Bear Co., Inc. v. 1-800                           of fact admitted by plaintiff.”); see also Holtz v.
        Beargram Co., 373 F.3d 241, 244 (2d Cir.2004)                       Rockefeller, 258 F.3d 62, 74 (2d Cir.2001) (“[A]
        (citations omitted).                                                Local Rule 56.1 statement is not itself a vehicle
4                                                                           for making factual assertions that are otherwise
        See Local Rule 7.1(a)(3) (“Any facts set forth in                   unsupported in the record.”).
        the Statement of Material Facts shall be deemed
        admitted unless specifically controverted by the            Portions of the record sufficient to create a “factual issue”
        opposing party.”).                                          include affidavits or verified complaints (which are treated as
                                                                    affidavits for purposes of summary judgment). 6 However, to
To “specifically controvert[ ]” each of the statements of
                                                                    be sufficient to create a “factual issue,” such an affidavit or
material fact in a defendant's Rule 7.1(a)(3) Statement of
                                                                    verified complaint must, among other things, be based “on
Material Facts, a plaintiff must file a response to the Statement
of Material Facts that “mirror[s] the movant's Statement            personal knowledge.” 7 An affidavit or verified complaint is
of Material Facts by admitting and/or denying each of the           not based on personal knowledge if, for example, it is based
movant's assertions in matching numbered paragraphs” and            on mere “information and belief” or hearsay. 8


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                                                                       664 (W.D.N.Y.1992) (rejecting affidavit made on
6                                                                      “secondhand information and hearsay”), aff'd, 995
      See Patterson v. County of Oneida, 375 F.2d
      206, 219 (2d. Cir.2004) (“[A] verified pleading ...              F.2d 1147 (2d Cir.1993).
      has the effect of an affidavit and may be relied          Similarly, such an affidavit or verified complaint must not
      upon to oppose summary judgment.”); Fitzgerald            be conclusory. 9 Of course, an affidavit may be conclusory
      v. Henderson, 251 F.3d 345, 361 (2d Cir.2001)
                                                                because its assertions are too general. 10 However, even
      (holding that plaintiff “was entitled to rely on
                                                                where an affidavit's assertions are specific (e.g., with respect
      [his verified amended complaint] in opposing
                                                                to time, place, persons, events, conversation, etc.), that
      summary judgment”), cert. denied, 536 U.S. 922
                                                                affidavit may still be deemed conclusory if it is (1) “largely
      (2002); Colon v. Coughlin, 58 F.3d 865, 872
                                                                unsubstantiated by any other direct evidence” and (2) “so
      (2d Cir.1993) (“A verified complaint is to be
                                                                replete with inconsistencies and improbabilities that no
      treated as an affidavit for summary judgment
                                                                reasonable juror would undertake the suspension of disbelief
      purposes.”) [citations omitted]; Fed.R.Civ.P. 56(c)
      (“The judgment sought shall be rendered forthwith         necessary to credit the allegations made in the complaint.” 11
      if the ... affidavits ... show that there is no genuine   Indeed, it has long been the rule in the Second Circuit
      issue as to any material fact....”).                      that “issues of credibility sufficient to defeat a motion for
                                                                summary judgment are not created if the contradicting or
7                                                               impeaching evidence is too incredible to be believed by
      Fed.R.Civ.P. 56(e) (“Supporting and opposing
      affidavits shall be made on personal knowledge,           reasonable minds.” Price v. Worldvision Enterprises, Inc., 455
      shall set forth such facts as would be admissible         F.Supp. 252, 266, n. 25 (S.D.N.Y.1978), aff'd without opinion,
      in evidence, and shall show affirmatively that the        603 F.2d 214 (2d Cir.1979).
      affiant is competent to the matters stated therein.”);
      see also U.S. v. Private Sanitation Indus. Ass'n          9
                                                                       See Fed.R.Civ.P. 56(e) (requiring that non-movant
      of Nassau/Suffolk, Inc., 44 F.3d 1082, 1084 (2d                  “set forth specific facts showing that there is a
      Cir.1995) [citations omitted], cert. denied sub nom,             genuine issue for trial”); Patterson, 375 F.3d at
      Ferrante v. U.S., 516 U.S. 806 (1995).                           219 (2d. Cir.2004) (“Nor is a genuine issue created
8                                                                      merely by the presentation of assertions [in an
      See Patterson, 375 F.3d at 219 (“[Rule 56(e)'s]
                                                                       affidavit] that are conclusory.”) [citations omitted];
      requirement that affidavits be made on personal
                                                                       Applegate, 425 F.2d at 97 (stating that the purpose
      knowledge is not satisfied by assertions made
                                                                       of Rule 56[e] is to “prevent the exchange of
      ‘on information and belief.’... [Furthermore, the
                                                                       affidavits on a motion for summary judgment from
      Rule's] requirement that the affiant have personal
                                                                       degenerating into mere elaboration of conclusory
      knowledge and be competent to testify to the
                                                                       pleadings”).
      matters asserted in the affidavits also means that
      the affidavit's hearsay assertion that would not be       10
                                                                       See, e.g., Bickerstaff v. Vassar Oil, 196 F.3d
      admissible at trial if testified to by the affiant is            435, 452 (2d Cir.1998) (McAvoy, C.J., sitting
      insufficient to create a genuine issue for trial.”);             by designation) (“Statements [for example, those
      Sellers v. M .C. Floor Crafters, Inc., 842 F.2d 639,             made in affidavits, deposition testimony or trial
      643 (2d Cir.1988) (“[Defendant's] affidavit states               testimony] that are devoid of any specifics,
      that it is based on personal knowledge or upon                   but replete with conclusions, are insufficient to
      information and belief.... Because there is no way to            defeat a properly supported motion for summary
      ascertain which portions of [Defendant's] affidavit              judgment.”) [citations omitted]; West-Fair Elec.
      were based on personal knowledge, as opposed to                  Contractors v. Aetna Cas. & Sur., 78 F.3d 61,
      information and belief, the affidavit is insufficient            63 (2d Cir.1996) (rejecting affidavit's conclusory
      under Rule 56 to support the motion for summary                  statements that, in essence, asserted merely that
      judgment.”); Applegate v. Top Assoc., Inc., 425                  there was a dispute between the parties over the
      F.2d 92, 97 (2d Cir.1970) (rejecting affidavit                   amount owed to the plaintiff under a contract);
      made on “suspicion ... rumor and hearsay”);                      Meiri v. Dacon, 759 F.2d 989, 997 (2d Cir.1985)
      Spence v. Maryland Cas. Co., 803 F.Supp. 649,                    (plaintiff's allegation that she “heard disparaging



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      remarks about Jews, but, of course, don't ask me                  admissible evidence or benign”), aff'd, 136 Fed.
      to pinpoint people, times or places.... It's all around           Appx. 383 (2d Cir.2005) (unreported decision).
      us” was conclusory and thus insufficient to satisfy        *4 Here, Defendants have a filed Rule 7.1 Statement
      the requirements of Rule 56[e] ), cert. denied,           of Material Facts, and supporting affidavits and exhibits.
      474 U.S. 829 (1985); Applegate, 425 F.2d at 97            (Dkt. No. 37, Parts 2-25.) Plaintiff has filed a response to
      (“[Plaintiff] has provided the court [through his         Defendants' Rule 7.1 Statement. (Dkt. No. 42, Part 1.) In
      affidavit] with the characters and plot line for a        addition, Plaintiff has filed (1) declarations and exhibits in
      novel of intrigue rather than the concrete particulars    opposition to the affidavits of Defendants Woods, Belarge,
      which would entitle him to a trial.”).                    Holt, Antonelli, and Holden (Dkt. No. 42, Parts 1, 3), and
11                                                              (2) a verified Amended Complaint (Dkt. No. 5). Finally,
      See, e.g., Jeffreys v. City of New York, 426 F.3d
                                                                because Plaintiff is proceeding pro se and this is a civil
      549, 554-555 (2d Cir.2005) (affirming grant of
                                                                rights action, I will consider, in evaluating Plaintiff's response
      summary judgment to defendants in part because
                                                                to Defendants' motion for summary judgment, Plaintiff's
      plaintiff's testimony about an alleged assault by
                                                                declaration and exhibits in support of his motion for partial
      police officers was “largely unsubstantiated by
                                                                summary judgment. (Dkt. No. 38, Parts 1, 4.)
      any other direct evidence” and was “so replete
      with inconsistencies and improbabilities that no
                                                                I address Plaintiff's responsive documents in more detail
      reasonable juror would undertake the suspension
                                                                below. However, a few general observations are appropriate
      of disbelief necessary to credit the allegations
                                                                here. Plaintiff's Rule 7.1 Response contains hardly any
      made in the complaint”) [citations and internal
                                                                citations to the record, much less any citations to admissible
      quotations omitted]; Argus, Inc. v. Eastman Kodak
                                                                evidence; rather, to the extent that Plaintiff's Rule 7.1
      Co., 801 F.2d 38, 45 (2d Cir.1986) (affirming
                                                                Response contains any citations at all, those citations are often
      grant of summary judgment to defendants in part
                                                                to other portions of Plaintiff's Response or to his Amended
      because plaintiffs' deposition testimony regarding
                                                                Complaint (which are, themselves, conclusory), or to exhibits
      an alleged defect in a camera product line was,
                                                                that do not support his denial of the fact asserted. Moreover,
      although specific, “unsupported by documentary
                                                                his Declarations and verified Amended Complaint are often
      or other concrete evidence” and thus “simply
                                                                argumentative in nature (in violation of Local Rule 7.1[a]
      not enough to create a genuine issue of fact in
                                                                [2] ) and not based on personal knowledge (but only hearsay
      light of the evidence to the contrary”); Allah v.
                                                                or pure speculation). Finally, his Declarations and verified
      Greiner, 03-CV-3789, 2006 WL 357824, at *3-4
                                                                Amended Complaint are often conclusory and replete with
      & n. 7, 14, 16, 21 (S.D.N.Y. Feb. 15, 2006)
                                                                inconsistencies and improbabilities.
      (prisoner's verified complaint, which recounted
      specific statements by defendants that they were
                                                                For example, he asserts that “[a]t no time did [he] possess[ ]
      violating his rights, was conclusory and discredited
                                                                [Inmate Alcivar's] legal materials other than [the times when
      by the evidence, and therefore insufficient to create
                                                                he and Inmates Lipman and Robles approached Defendant
      issue of fact with regard to all but one of prisoner's
      claims, although verified complaint was sufficient        Holt with such materials].” 12 However, his own letters and
      to create issue of fact with regard to prisoner's         deposition testimony contain repeated representations that he
      claim of retaliation against one defendant because        was, at other times, in possession of such materials. 13
      retaliatory act occurred on same day as plaintiff's
      grievance against that defendant, whose testimony         12      (Dkt. No. 42, Part 1, ¶ 7 [Plf.'s Response to Woods
      was internally inconsistent and in conflict with
                                                                        Aff.].)
      other evidence); Olle v. Columbia Univ., 332
      F.Supp.2d 599, 612 (S.D.N.Y.2004) (plaintiff's            13
                                                                        (See, e.g., Dkt. No. 37, Part 22, Ex. A at
      deposition testimony was insufficient evidence to                 31 [Munkowitz Decl., attaching transcript of
      oppose defendants' motion for summary judgment                    Plaintiff's deposition, in which he testifies that,
      where that testimony recounted specific allegedly                 when Defendant Holt failed to take “control” of
      sexist remarks that “were either unsupported by                   Inmate Alcivar's legal documents, Defendant Holt
                                                                        left Plaintiff “stuck with them as well as the other



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        two inmates”], 31-32 [admitting that he did not          Generally, I find such assertions by Plaintiff to be too
        return the documents to the law clerk's work station     incredible to be believed by reasonable minds.
        in the law library out of a fear that the document
        may fall into another inmate's hands], 32 [admitting     Accordingly, the following material facts, even when viewed
        that he took the documents to “honor” Inmate             most favorably to Plaintiff, are supported by evidence in the
        Alcivar's “wishes”], 33 [admitting that he took the      record, and are not specifically controverted by Plaintiff:
        documents after Inmate Alcivar's death based on
        his belief that “they were not supposed to be in
        the law library after the inmate was deceased”];
                                                                                           Background
        Dkt. No. 37, Part 18, Ex. B at 6-9 [Antonelli
        Aff., attaching letter dated 7/4/02 from Plaintiff,      1. From July of 2002 until November of 2002 (the time period
        in which he states, “There is [sic] two inmates          relevant to the allegations contained in Plaintiff's Amended
        that Peter trusted with his papers and other legal       Complaint), Plaintiff was an inmate in the care and custody
        documents, that is one inmate that housed [sic] in       of the New York State Department of Correctional Services
        the same dorm as him and myself.... Peter told me        (“DOCS”), incarcerated at the Greene Correctional Facility
        that you have copies of all his papers, those of
                                                                 (“Greene C.F.”). 17
        which are the same as the papers I have here”];
        Dkt. No. 37, Part 18, Ex. B at 10-12, 14 [Antonelli
                                                                 17
        Aff., attaching 7/16/02 letter from Plaintiff, in                 (Dkt. No. 37, Part 2, ¶ 2 [Defs.' Rule 7.1 Statement];
        which he states, “I am going to hold a copy of                    Dkt. No. 42, Part 1, ¶ 2 [Plf.'s Rule 7.1 Response];
        the complaint” in Inmate Alcivar's federal civil                  Dkt. No. 5, ¶ 4 [Am. Compl].)
        rights action]; Dkt. No. 37, Part 7 [Ex. C to Woods       *5 At all times relevant to this action, Defendant Robert
        Aff., attaching Plaintiff's 8/5/02 letter, in which he   K. Woods was the Deputy Superintendent for Security at
        states, “in the future if anything should come of a      Greene C.F.; Defendant Joseph R. Belarge was a Captain
        matter of said documents being in my possession ...      at Greene C.F.; Defendant G.J. O'Donnel was a Sergeant
        you and the administration cannot take any action        at Greene C.F.; Defendant Richard Antonelli was a Food
        against the inmate's family nor myself”] [emphasis       Services Administrator at Greene C.F.; and Defendant Wayne
        added].)
                                                                 Holt was a Corrections Officer at Greene C.F. 18
Similarly, he asserts that the documents allegedly discovered
by Defendant O'Donnell in Plaintiff's “cube” on August 31,       18       (Dkt. No. 37, Part 2, ¶¶ 4-8 [Defs.' Rule 7.1
2002, were in fact “the exact same materials intercepted by
                                                                          Statement]; Dkt. No. 42, Part 1, ¶¶ 4-8 [Plf.'s Rule
Woods through the U.S. mail.” 14 However, those documents                 7.1 Response]; Dkt. No. 5, ¶ ¶ 3, 3(a), 3(b), 3(c)
contained copies of two letters-dated July 4, 2002, and July              [Am. Compl.].)
16, 2002-from Plaintiff to Inmate Alcivar's two daughters. 15
Plaintiff offers no explanation as to why Inmate Alcivar's
daughters would be returning copies of those letters to                Plaintiff's Legal Assistance to Inmate Peter Alcivar
Plaintiff between August 19, 2006, and August 31, 2002-               and Communications with Inmate Alcivar's Daughters
the time period during which Defendant Woods allegedly
                                                                 3. At some point in 2001, Inmate Peter Alcivar filed a civil
intercepted Plaintiff's mail. 16                                 rights action against DOCS and employees of Greene C.F.
                                                                 and Woodbourne C.F. in the United States District Court for
14                                                               the Northern District of New York (civil action number 9:01-
        (Dkt. No. 42, Part 1, ¶ 5.B. [Plf.'s Response to
        Antonelli Aff.].)                                        CV-1198). 19
15      (Dkt. No. 37, Part 18 at 6-8, 10-12 [Ex. B               19
        to Antonelli Aff., attaching contraband allegedly                 (Dkt. No. 42, Part 1, ¶ 12 [Plf.'s Rule 7.1 Response];
        found in Plaintiff's “cube”].)                                    Dkt. No. 5, “Facts of the Incident,” ¶¶ 1-3 [Am.
                                                                          Compl.]; Dkt. No. 37, Part 18, Ex. B at 18-37
16      (Dkt. No. 5, ¶ 12 [Am. Compl.].)



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        [Antonelli Aff., attaching pleading and motion            Northern District of New York; that is if he (Peter) hasn't
        from lawsuit].)                                           already told both of you that I am helping him with the filing
                                                                  of his motions, etc....
4. On or about May 7, 2002, Plaintiff provided legal assistance
                                                                  Getting right to the point for the purpose of writing you, and
to Inmate Alcivar by answering a question regarding an
                                                                  letting you know what is going on with Peter's case. There is
affidavit. 20 At the time, Plaintiff was not an inmate law
                                                                  [sic] two inmates that Peter trusted with his papers and other
clerk. 21                                                         legal documents, that is one inmate that housed [sic] in the
                                                                  same dorm as him and myself....
20      (Dkt. No. 37, Part 2, ¶ 12 [Defs.' Rule 7.1
        Statement]; Dkt. No. 42, Part 1, ¶ 12 [Plf.'s Rule        I have already wrote [sic] to the court on June 24, 2002,
        7.1 Response, admitting that, on one occasion,            informing said court as to Peter's current situation.... See copy
        Plaintiff answered a question posed by Inmate             of the letter addressed to the court ... enclosed with this letter
        Alcivar regarding an affidavit, which question and        I am writing you....
        answer were communicated with the help of Inmate
        Law Clerk George Robles]; Dkt. No. 5, “Facts of           Peter told me that you have copies of all his papers, those of
        the Incident,” ¶ 2 [Am. Compl.]; Dkt. No. 37, Part        which are the same as the papers I have here....
        18 [Ex. B. to Antonelli Aff.].)
                                                                  [I]f you wish ... you all could come to the facility to see me,
21      (Dkt. No. 37, Part 2, ¶ 13 [Defs.' Rule 7.1               I would then go over the case with all of you, tell all of you
        Statement]; Dkt. No. 42, Part 1, ¶ 13 [Plf.'s Rule        what I know from Peter, the research that I have done for him
        7.1 Response].)                                           and the list of cases of authority that I have and would cite in
5. On or about May 10, 2002, Inmate Alcivar was admitted to       his motions and use at trial; I also could give you all of his
                                                                  legal documents right there....
Albany Medical Center to receive treatment for cancer. 22

                                                                  Both of you should ... let Peter know that he should not worry
22      (Dkt. No. 1, “Facts of the Incident,” ¶ 1 [Am.            about the case, it is not going to be dismissed ... because I
        Compl.]; Dkt. No. 42, Part 1, ¶ 6 [Plf.'s Response        already wrote to the court for him. 24
        to Antonelli Aff., asserting that Inmate Alcivar
        was “admitted to Albany Medical Center Hospital
        three days after Robles asked plaintiff the question      24
        [about] an affidavit and its contents”].)                         (Dkt. No. 37, Part 18, Ex. B at 6-9 [Antonelli Aff.,
                                                                          attaching letter dated 7/4/02 from Plaintiff to Raida
6. On or about July 4, 2002, Plaintiff wrote and sent a letter            and Raisa Alcivar, and letter dated 6/24/02].)
to Inmate Alcivar's two daughters about Inmate Alcivar's
                                                                  7. On or about July 6, 2002, Inmate Alcivar died at Albany
pending federal civil rights action. 23 In pertinent part, the
letter stated,                                                    Medical Center. 25


23                                                                25
        (Dkt. No. 37, Part 18, Ex. B at 6-9 [Antonelli                    (Dkt. No. 37, Part 2, ¶ 11 [Defs.' Rule 7.1
        Aff., attaching letter dated 7/4/02 from Plaintiff to             Statement]; Dkt. No. 42, Part 1, ¶ 11 [Plf.'s Rule 7.1
        Raida and Raisa Alcivar, and letter dated 6/24/02];               Response]; Dkt. No. 5, “Facts of the Incident,” ¶ 3
        Dkt. No. 37, Part 23, Ex. A at 79-80 [Munkwitz                    [Am. Compl.].)
        Dec., attaching transcript of Plaintiff's deposition,     *6 8. On or about July 16, 2002, Plaintiff wrote and sent a
        in which Plaintiff admits having written and sent         second letter to Alcivar's two daughters. 26 In pertinent part,
        the letter dated 7/4/02].)                                the letter states: “The box containing the legal documents
I am writing to inform you of my assistance to Peter [Alcivar]    should be following this letter, I am going to hold a copy of
in the above referenced matter [case number 9:01-CV-1198]         the complaint so if you should find a lawyer he or she could
where he has a Section 1983 of the U.S.C.A. Civil Rights          visit me at the facility and go over the facts the claim is based
complaint against the Department of Correctional Services         on.” 27 In addition, the last page of the letter states:
now pending in the United States District Court for the



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26                                                                 10. On or about July 16, 2002, Plaintiff wrote and sent a note
        (Dkt. No. 37, Part 2, ¶ 18 [Defs.' Rule 7.1
        Statement, asserting that Plaintiff wrote and sent         to Defendant Woods. 30 The note stated: “Please be advised
        the letter and memorandum]; Dkt. No. 42, Part              that I need to talk to you in reference to the above subject
        1, ¶ 18 [Plf.'s Rule 7.1 Response, not specifically        inmate [i.e., Inmate Alcivar] which is a matter of importance.
        denying that Plaintiff wrote and sent the letter           This must be in person at your earliest convenience. Thank
        and memorandum]; Dkt. No. 37, Part 16, ¶ 9                 you for your professional attention to this request.” 31
        [Antonelli Aff.]; Dkt. No. 37, Part 18, Ex. B at
        10-12, 14 [Antonelli Aff., attaching 7/16/02 letter,       30      (Dkt. No. 37, Part 3, ¶ 3 [Woods Aff.]; Dkt. No.
        the last page of which refers to an attached “To/
                                                                           37, Part 4, Ex A [Woods Aff.]; Dkt. No. 37, Part
        From” memorandum]; Dkt. No. 37, Part 23, Ex. A
                                                                           2, ¶ 20 [Defs.' Rule 7.1 Statement, asserting fact];
        at 81-82 [Munkwitz Decl., attaching transcript of
                                                                           Dkt. No. 42, Part 1, ¶ 20 [Plf.'s Rule 7.1 Response,
        Plaintiff's deposition, in which he admitted writing
                                                                           admitting fact].)
        and sending the letter and memorandum].)
                                                                   31
27                                                                         (Dkt. No. 37, Part 4, Ex A [Woods Aff.].)
        (Dkt. No. 37, Part 18, Ex. B at 10 [Antonelli Aff.,
        attaching 7/16/02 letter].)                                11. On or about July 21, 2002, Plaintiff wrote and sent a

NOTE: Read the “TO/From” memo form note that I made up,            second note to Defendant Woods. 32 The note stated: “Please
get it notarize [sic] and sign it in front of the notary public.   note that on the above subject date [i.e., July 16, 2002] I wrote
Make a copy for your files and send me the original.               to you requesting to see you. I must speak to you before July
It is an idea to have that note in my files so non [sic] of the    23, 2002. This matter is very important. Thank you for your
officers and staff members would ask what I am doing with          attention.” 33
Mr. Alcivar [sic] legal documents if he is no longer here. By
doing the above your [sic] are giving me consent to have said      32      (Dkt. No. 37, Part 3, ¶ 3 [Woods Aff.]; Dkt. No.
documents in my possession. 28                                             37, Part 5 [Ex. B to Woods Aff.]; Dkt. No. 37, Part
                                                                           2, ¶ 20 [Defs.' Rule 7.1 Statement, asserting fact];
                                                                           Dkt. No. 42, Part 1, ¶ 20 [Plf.'s Rule 7.1 Response,
28                                                                         admitting fact].)
        (Dkt. No. 37, Part 18, Ex. B at 10-12, 14 [Antonelli
        Aff., attaching 7/16/02 letter, the last page of which     33      (Dkt. No. 37, Part 5 [Ex. B to Woods Aff.].)
        refers to an attached “To/From” memorandum].)
                                                                   12. Defendant Woods did not respond to Plaintiff's notes for
9. On or about August 8, 2002, Plaintiff wrote and sent a
                                                                   two reasons: (1) Defendant Woods did not receive either of
third letter to Alcivar's two daughters. 29 In pertinent part,     the two notes until after the date referenced by Plaintiff (i.e.,
the letter states: “Please send me that ‘To/From’ note if you      July 23, 2002) had passed; and (2) Defendant Woods believed
already have it notarized, I told you I need it for the copy of
                                                                   that Plaintiff's notes were “cryptic.” 34
the complaint I told you that I would hold....”
                                                                   34
29                                                                         (Dkt. No. 37, Part 3, ¶¶ 4-5 [Woods Aff.]; Dkt.
        (Dkt. No. 37, Part 16, ¶ 9 [Antonelli Aff.]; Dkt.
                                                                           No. 37, Part 2, ¶ 21 [Defs.' Rule 7.1 Statement,
        No. 37, Part 18, Ex. B at 13 [Antonelli Aff.,
                                                                           asserting fact]; Dkt. No. 42, Part 1, ¶ 21 [Plf.'s
        attaching 8/8/02 letter]; Dkt. No. 37, Part 23, Ex. A
                                                                           Rule 7.1 Response, not specifically controverting
        at 81-82 [Munkwitz Decl., attaching transcript of
                                                                           either that Defendant Woods did not receive the
        Plaintiff's deposition, in which he admitted writing
                                                                           notes until after July 23, 2003, or that Defendant
        and sending the letter].)
                                                                           Woods believed the notes to be “crypic”]; Dkt. No.
                                                                           37, Part 8, Ex. D [Woods Aff., attaching Defendant
                                                                           Woods' 8/6/02 memorandum to Plaintiff stating
     Plaintiff's Communications with Defendant Woods
                                                                           that Plaintiff's two notes were “brief and very
     and the Search of Plaintiff's Prison Cell (or “Cube”)
                                                                           vague” and lacked “specifics”].)




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13. On or about August 5, 2002, Plaintiff wrote and sent          39     (Dkt. No. 5, “Facts of the Incident,” ¶ 11 [Plf.'s Am.
                                                  35
a third note to Deputy Superintendent Woods.           The note          Compl.].)
stated, in pertinent part:
                                                                  16. Meanwhile, on or about August 5, 2002, Defendant

35                                                                Holt asked Plaintiff for Inmate Alcivar's legal documents. 40
       (Dkt. No. 37, Part 3, ¶ 6 [Woods Aff.]; Dkt. No. 37,
                                                                  Plaintiff denied having such documents. 41
       Part 7, Ex. C [Woods Aff., attaching note]; Dkt. No.
       37, Part 2, ¶ 22 [Defs.' Rule 7.1 Statement, asserting
                                                                  40
       that Plaintiff wrote and sent note]; Dkt. No. 42, Part            (Dkt. No. 37, Part 2, ¶ 24 [Defs.' Rule 7.1
       1, ¶ 22 [Plf.'s Rule 7.1 Response, not specifically               Statement, asserting fact]; Dkt. No. 42, Part 1,
       controverting that Plaintiff wrote and sent note].)               ¶ 24 [Plf.'s Rule 7.1 Response, not specifically
                                                                         controverting fact]; Dkt. No. 37, Part 29, ¶ 7 [Holt
Please take notice that since you have neglected to answer
                                                                         Aff.]; Dkt. No. 5, “Facts of the Incident,” ¶ 10
the above two (2) requests [i.e., dated July 16, 2002, and
                                                                         [Plf.'s Am. Compl.].)
July 21, 2002] to meet with me about a very serious matter
concerning a <DEAD> man's legal documents, in the future          41     (Dkt. No. 37, Part 2, ¶ 24 [Defs.' Rule 7.1
if anything should come of a matter of said documents being              Statement, asserting fact]; Dkt. No. 42, Part 1,
in my possession or the inmate's family should have any                  ¶ 24 [Plf.'s Rule 7.1 Response, not specifically
questions of same and I answer those questions according to              controverting that Plaintiff denied to Defendant
law, you and the administration cannot take any action against           Holt having Inmate Alcivar's legal documents,
the inmate's family nor myself. 36                                       only citing to Paragraph 12 of Plaintiff's Rule 7.1
                                                                         Response, which is not material to the asserted
36                                                                       fact]; Dkt. No. 37, Part 29, ¶ 7 [Holt Aff.].)
       (Dkt. No. 37, Part 7 [Ex. C to Woods Aff.].)
*7 14. On or about August 6, 2002, Defendant Woods sent           17. As a result, at some point between August 5, 2002,
                                                                  and August 31, 2002, Defendant Woods directed Defendant
a memorandum to Plaintiff. 37 That memorandum stated, in
                                                                  Belarge to have Plaintiff's cell (or “cube”) searched and to
pertinent part:
                                                                  interview Plaintiff about his statements made in his August 5,

37                                                                2002, note. 42
       (Dkt. No. 37, Part 3, ¶ 6 [Woods Aff., asserting
       that he sent this memorandum]; Dkt. No. 42,                42
       Part 1, ¶ 6 [Plf.'s Response to Woods Aff.,                       (Dkt. No. 37, Part 3, ¶¶ 8, 9 [Woods Aff.]; Dkt.
       admitting that Defendant Woods sent Plaintiff this                No. 37, Part 8, ¶ 3 [Belarge Aff.]; Dkt. No. 37,
       memorandum]; Dkt. No. 37, Part 8, Ex. D [Woods                    Part 2, ¶ 25 [Defs.' Rule 7.1 Statement, asserting
       Aff., attaching the memorandum].)                                 that Defendant Woods directed Defendant Belarge
                                                                         to have Plaintiff's cell searched]; Dkt. No. 42, Part
Your August 5th letter ... makes reference to legal documents            1, ¶ 24 [Plf.'s Rule 7.1 Response, admitting that
belonging to deceased Inmate Alcivar.... I have directed Law             Defendant Woods directed Defendant Belarge to
Library Officer Holt to speak to you and recover from you any            have Plaintiff's “cube” searched].)
legal documents of deceased Inmate Alcivar.... In fact, you
should have turned over any such documents to Law Library         18. At some point on August 31, 2002 (apparently
                                                                  between 8:30 a.m. and 11:00 a.m.), Defendant Belarge
Officer Holt immediately. 38
                                                                  had Plaintiff's cell (or “cube”) searched by Defendant
                                                                  O'Donnell (and apparently Defendant Holt and two other
38     (Dkt. No. 37, Part 7, Ex. D [Woods Aff., attaching         corrections officers). 43 At some point (apparently during this
       the 8/6/02 memorandum].)                                   search), Defendant O'Donnell discovered Inmate Alcivar's
15. On August 7, 2002, Plaintiff received Defendant Woods'        legal documents (as well as various correspondence between
memorandum. 39                                                    Plaintiff and Inmate Alcivar's two daughters). 44

                                                                  43     (Dkt. No. 37, Part 8, ¶ 4 [Belarge Aff.]; Dkt. No.
                                                                         37, Part 2, ¶¶ 25-26 [Defs.' Rule 7.1 Statement];


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      Dkt. No. 42, Part 1, ¶¶ 25-26 [Plf.'s Rule 7.1                 an inmate who had been taken to the hospital due
      Response]; Dkt. No. 37, Part 17, Ex. A [Antonelli              to an illness]; Dkt. No. 45, Part 6, ¶¶ 4-5 [Belarge
      Aff., attaching misbehavior report which suggests              Reply Aff., swearing that evidence in question did
      that Defendants Belarge and O'Donnell had in their             not come from any interception of Plaintiff's mail,
      possession Inmate Alcivar's legal documents as                 but from Plaintiff's personal belongings].)
      well as various correspondence between Plaintiff        19. At approximately 11:00 a.m. on August 31, 2002,
      and Inmate Alcivar's two daughters, before those        Defendants Belarge and O'Donnell interviewed Plaintiff
      Defendants interviewed Plaintiff at 11:00 a.m.          about his statements in his August 5, 2002, note to Defendant
      on August 31, 2002]; Dkt. No. 5, “Facts of the
                                                              Woods. 45 At approximately 2:50 p.m. on August 31,
      Incident,” ¶¶ 13-14 [Plf.'s Am. Compl., stating
                                                              2002, Defendant O'Donnell stored Inmate Alcivar's legal
      that Defendant Belarge had in his possession a
                                                              documents (as well as various correspondence between
      letter that Plaintiff had written to Raisa Alcivar by
                                                              Plaintiff and Inmate Alcivar's two daughters) in an evidence
      the time he interviewed Plaintiff at 10:57 a.m. on
      August 31, 2002].)                                      locker at Greene C.F. 46

44    (Dkt. No. 37, Part 2, ¶ 26 [Defs.' Rule 7.1             45     (Dkt. No. 37, Part 2, ¶ 28 [Defs.' Rule 7.1
      Statement, asserting this fact]; Dkt. No. 42, Part
                                                                     Statement, asserting that interview took place];
      1, ¶ 26 [Plf.'s Rule 7.1 Response, not citing any
                                                                     Dkt. No. 42, Part 1, ¶ 28 [Plf.'s Rule 7.1 Response,
      admissible evidence in support of his denial of this
                                                                     admitting that interview took place despite his
      fact]; Dkt. No. 37, Part 8, ¶ 4 [Belarge Aff.]; Dkt.
                                                                     blanket statement “Deny”]; Dkt. No. 37, Part 8, ¶ 5
      No. 37, Part 3, ¶ 10 [Woods Aff.]; Dkt. No. 37, Part
                                                                     [Belarge Aff.]; Dkt. No. 5, “Facts of the Incident,”
      16, ¶ 5 [Antonelli Aff.]; Dkt. No. 37, Part 18, Ex.
                                                                     ¶¶ 13-15 [Plf.'s Am. Compl., stating that interview
      B [Antonelli Aff., attaching documents discovered
                                                                     took place at 10:57 a.m. on 8/31/02]; Dkt. No. 37,
      in Plaintiff's cell, and “Chain of Custody” Record
                                                                     Part 17, Ex. A [Antonelli Aff., attaching 8/31/02
      indicating that Defendant O'Donnell was the one
                                                                     misbehavior report, stating that the interview took
      who found the documents]; Dkt. No. 38, Part 4
                                                                     place at 11:00 a.m. on 8/31/02].)
      at 90 [exhibit to Plaintiff's motion for summary
      judgment, attaching Contraband Receipt issued by        46     (Dkt. No. 37, Part 18, Ex. B [Antonelli Aff.,
      Defendant O'Donnell]; Dkt. No. 37, Part 22, Ex. A              attaching documents discovered in Plaintiff's cell,
      at 31-33 [Munkowitz Decl., attaching transcript of             and “Chain of Custody” Record indicating that
      Plaintiff's deposition, in which he admits numerous            Defendant O'Donnell stored the documents in an
      times that, after Defendant Holt failed to take                evidence locker at 2:50 p.m. on 8/31/02]; Dkt. No.
      “control” of Inmate Alcivar's legal documents,                 37, Part 17, Ex. A at 2 [Antonelli Aff., attaching
      Plaintiff, along with two other inmates, retained              8/31/02 misbehavior report, stating that Defendant
      possession of those documents, out of a fear                   O'Donnell stored the documents in an evidence
      that those documents would be stolen by another                locker on 8/31/02].)
      inmate, and out of a sense of duty to Inmate
      Alcivar]; Dkt. No. 37, Part 18, Ex. B at 10-12,
      14 [Antonelli Aff., attaching 7/16/02 letter from                     Plaintiff's Misbehavior Report,
      Plaintiff, in which he states, “I am going to hold a                 Disciplinary Hearing, and Appeal
      copy of the complaint” in Inmate Alcivar's federal
      civil rights action]; Dkt. No. 37, Part 7 [Ex. C to     20. Relying on the documents discovered and the subsequent
      Woods Aff., attaching Plaintiff's 8/5/02 letter, in     interview conducted, Defendants Belarge and O'Donnell
      which he states, “in the future if anything should      issued Plaintiff a misbehavior report on August 31, 2002. 47
      come of a matter of said documents being in my          The misbehavior report charged Plaintiff with three offenses:
      possession ... you and the administration cannot        (1) providing legal assistance to Inmate Alcivar without
      take any action against the inmate's family nor         prior authorization in violation of Inmate Rule 180.17; (2)
      myself”]; see also Dkt. No. 37, Part 19, ¶ 3 [Holden    exchanging legal materials with Inmate Alcivar without
      Aff., testifying that at some point in the summer       authorization in violation of Inmate Rule 113.15; and (3)
      of 2002 Plaintiff told Holden that he was helping


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soliciting materials from Inmate Alcivar's family members                services” from Inmate Alcivar's daughters].) See
without authorization in violation of Inmate Rule 103.20.    48          also 7 N.Y.C.R.R. § 270.02[B][4][ii].
                                                                  *8    22. On September 6, 2002, Plaintiff received a
47     (Dkt. No. 37, Part 8, ¶ 6 [Belarge Aff.]; Dkt. No. 37,     disciplinary hearing, conducted by Defendant Antonelli. 52
       Part 17, Ex. A [Antonelli Aff., attaching 8/31/02          Defendant Antonelli found Plaintiff guilty of all three charges,
       misbehavior report].)                                      and imposed the following penalties: 90 days in S.H.U., 90
48                                                                days loss of packages privileges, 90 days loss of commissary
       (Dkt. No. 37, Part 17, Ex. A [Antonelli Aff.,              privileges, 90 days loss of telephone privileges, and three
       attaching 8/31/02 misbehavior report]; Dkt. No. 37,
                                                                  months loss of “good time” credits . 53 In reaching his finding
       Part 2, ¶ 29 [Defs.' Rule 7.1 Statement, asserting
                                                                  of guilt, Defendant Antonelli relied on (1) the assertions by
       this fact]; Dkt. No. 42, Part 1, ¶ 29 [Plf.'s Response,
                                                                  Defendants Belarge and O'Donnell in Plaintiff's misbehavior
       admitting receipt of the misbehavior report, and
                                                                  report that Plaintiff had made certain admissions to them
       not specifically denying that he was charged with
                                                                  during an interview, (2) Defendant Antonelli's belief that
       the three offenses stated in Defendants' assertion of
                                                                  Plaintiff had made certain admissions in his correspondence
       fact].)
                                                                  to Inmate Alcivar's daughters, and (3) Defendant Antonelli's
21. During the time period at issue (i.e., May through            understanding that certain legal materials belonging to Inmate
August of 2002), Rule 180.17 of DOCS' Standards of
                                                                  Alcivar had been found in Plaintiff's cell (or “cube”). 54
Inmate Behavior prohibited inmates from providing legal
assistance to other inmates without prior approval from the
                                                                  52     (Dkt. No. 37, Part 2, ¶ 30 [Defs.' Rule 7.1
Superintendent or his designee; 49 Rule 113.15 of DOCS'
                                                                         Statement, asserting this fact]; Dkt. No. 42, Part 1,
Standards of Inmate Behavior prohibited inmates from
                                                                         ¶ 30 [Plf.'s Response, admitting this fact].)
exchanging personal property (such as legal materials) with
other inmates without authorization; 50 and Rule 103.20 of        53     (Dkt. No. 37, Part 2, ¶ 31 [Defs.' Rule 7.1
DOCS' Standards of Inmate Behavior prohibited inmates                    Statement, asserting this fact]; Dkt. No. 42, Part 1,
from requesting or soliciting goods or services from any                 ¶ 31 [Plf.'s Response, admitting this fact].)
person other than an immediate family member without the
                                                                  54     (Dkt. No. 37, Part 16, ¶¶ 4-6, 11 [Antonelli Aff.,
consent or approval of the Superintendent or his designee. 51
                                                                         asserting this fact]; Dkt. No. 42, Part 1, ¶¶ 4-6,
                                                                         11 [Plf.'s Response to Antonelli Aff., admitting
49     (Dkt. No. 37, Part 16, ¶ 7 [Antonelli Aff.]; Dkt. No.             part of this fact, not specifically controverting the
       37, Part 2, ¶ 14 [Defs.' Rule 7.1 Statement, asserting            rest of this fact, and, in any event not citing any
       this fact]; Dkt. No. 42, Part 1, ¶ 14 [Plf.'s Response,           admissible evidence in support of any denial of
       not denying this fact, only asserting that he received            this fact]; Dkt. No. 38, Part 4 at 43-44 [exhibit to
       permission to assist Inmate Alicvar from Defendant                Plaintiff's motion for summary judgment, attaching
       Holt].) See also 7 N.Y.C.R.R. § 270.02[B][26][vii].               Defendant Antonelli's written hearing decision];
50                                                                       Dkt. No. 5, ¶ 17 [Am. Compl., acknowledging
       (Dkt. No. 37, Part 3, ¶ 7 [Woods Aff.]; Dkt. No. 37,
                                                                         that Defendant Antonelli had, in reaching his
       Part 16, ¶ 8 [Antonelli Aff.]; Dkt. No. 37, Part 2, ¶
                                                                         decision, relied on, among other things, Plaintiff's
       10 [Defs.' Rule 7.1 Statement, asserting this fact];
                                                                         misbehavior report and various letters between
       Dkt. No. 42, Part 1, ¶ 10 [Plf.'s Response, admitting
                                                                         Plaintiff and Inmate Alcivar's daughters].)
       this fact].) See also 7 N.Y.C.R.R. § 270.02[B][14]
       [v].                                                       23. Also on September 6, 2002, Plaintiff appealed Defendant
                                                                  Antonelli's disciplinary decision to Donald Seksky, Director
51     (Dkt. No. 37, Part 16, ¶ 9 [Antonelli Aff.]; Dkt. No.      of DOCS' Special Housing/Inmate Disciplinary Program,
       37, Part 2, ¶ 19 [Defs.' Rule 7.1 Statement, asserting     who affirmed that decision on October 28, 2002. 55 Plaintiff's
       this fact]; Dkt. No. 42, Part 1, ¶ 19 [Plf.'s Response,    appeal did not complain about any lack or denial of witnesses
       not specifically denying this fact, only denying           at his disciplinary hearing; similarly, Mr. Selky's appellate
       that he indeed requested or solicited “goods or
                                                                  decision did not address such a complaint. 56



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                                                                        ¶ 37 [Plf.'s Response, not specifically controverting
55                                                                      this fact, and, in any event not citing any admissible
       (Dkt. No. 37, Part 2, ¶ 32 [Defs.' Rule 7.1
       Statement, asserting this fact]; Dkt. No. 42, Part 1,            evidence in support of any denial of this fact]; Dkt.
                                                                        No. 37, Part 3, ¶¶ 9, 13 [Wood Aff.]; Dkt. No. 37,
       ¶ 32 [Plf.'s Response, admitting this fact]; Dkt. No.
       42, Part 23 at 46-48 [Munkowitz Decl., attaching                 Part 8, ¶¶ 3, 9 [Belarge Aff.]; Dkt. No. 42, Part 23
                                                                        at 35-37 [Munkowitz Decl., attaching transcript of
       transcript of Plaintiff's deposition, in which he
                                                                        Plaintiff's deposition, asserting that such a meeting
       discusses the appeal]; Dkt. No. 38, Part 3 at 46,
                                                                        took place between Defendants Woods and Belarge
       68 [exhibits to Plaintiff's motion for summary
                                                                        at some point].)
       judgment, attaching his appeal and Mr. Selsky's
       affirmance].)                                             61     (Dkt. No. 37, Part 2, ¶ 3 8 [Defs.' Rule 7.1
56                                                                      Statement, asserting this fact]; Dkt. No. 42, Part
       (Dkt. No. 42, Part 23 at 46-48 [Munkowitz
                                                                        1, ¶ 3 8 [Plf.'s Response, admitting this fact];
       Decl., attaching transcript of Plaintiff's deposition,
                                                                        Dkt. No. 37, Part 8, ¶ 9 [Belarge Aff.]; Dkt. No.
       in which he discusses his one-page appeal and
                                                                        42, Part 22 at 35-37 [Munkowitz Decl., attaching
       acknowledges that it did not complain about any
                                                                        transcript of Plaintiff's deposition, asserting that
       lack or denial of witnesses]; Dkt. No. 38, Part 3 at
                                                                        such a meeting took place between Defendants
       46, 68 [exhibits to Plaintiff's motion for summary
                                                                        Belarge and O'Donnell at some point].)
       judgment, attaching his appeal and Mr. Selsky's
       affirmance].)                                             26. Both meetings (which were held prior to the issuance
24. On October 24, 2002, Greene C.F. officials conducted a       of Plaintiff's misbehavior report on August 31, 2002) were

discretionary review of Plaintiff's SHU sentence. 57 Based       held according to standard procedure at Greene C.F. 62
upon this review, Plaintiff's SHU time was reduced from 90       Specifically, the purpose of the meetings was to discuss how

days to 75 days. 58 However, Plaintiff's good time loss was      to investigate whether Plaintiff had violated prison rules. 63

unaffected by the discretionary review. 59
                                                                 62     (Dkt. No. 37, Part 2, ¶ 39 [Defs.' Rule 7.1
57                                                                      Statement, asserting this fact]; Dkt. No. 42, Part 1,
       (Dkt. No. 37, Part 2, ¶ 31 [Defs.' Rule 7.1
                                                                        ¶ 39 [Plf.'s Response, not specifically controverting
       Statement, asserting this fact]; Dkt. No. 42, Part 1, ¶
                                                                        that the pre-misbehavior report meeting between
       3 1 [Plf.'s Response, admitting part of this fact, not
                                                                        Defendants Woods and Belarge, and the pre-
       specifically controverting the rest of this fact, and,
                                                                        misbehavior report meeting between Defendants
       in any event not citing any admissible evidence in
                                                                        Belarge and O'Donnell, were held according to
       support of any denial of this fact]; Dkt. No. 37, Part
                                                                        standard procedure at Greene C.F., and, in any
       8, ¶ 8 [Belarge Aff.].)
                                                                        event not citing any admissible evidence in support
58                                                                      of any denial of this fact]; Dkt. No. 37, Part
       (Id.)
                                                                        3, ¶ 13 [Wood Aff.]; Dkt. No. 37, Part 8, ¶ 9
59                                                                      [Belarge Aff.]; Dkt. No. 37, Part 19, ¶ 2 [Holden
       (Id.)
                                                                        Aff., disclaiming any knowledge about an alleged
                                                                        unlawful meeting between Defendants Woods,
               Meetings Between Defendants                              Belarge, and O'Donnell concerning Plaintiff].)
               Woods, Belarge and O'Donnell
                                                                 63     (Dkt. No. 37, Part 2, ¶¶ 37-39 [Defs.' Rule 7.1
25. At some point between August 5, 2002, and August                    Statement, asserting this fact]; Dkt. No. 42, Part
31, 2002, Defendant Woods met with Defendant Belarge                    1, ¶¶ 37-39 [Plf.'s Response, not specifically
to discuss Plaintiff. 60 Defendant Belarge then met with                controverting this fact, and, in any event not
Defendant O'Donnell to discuss Plaintiff. 61                            citing any admissible evidence in support of
                                                                        any denial of this fact]; Dkt. No. 37, Part 3, ¶
60                                                                      13 [Wood Aff.]; Dkt. No. 37, Part 8, ¶¶ 3, 9
       (Dkt. No. 37, Part 2, ¶ 37 [Defs.' Rule 7.1                      [Belarge Aff.]; Dkt. No. 37, Part 19, ¶ 2 [Holden
       Statement, asserting this fact]; Dkt. No. 42, Part 1,            Aff., disclaiming any knowledge about an alleged


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       unlawful meeting between Defendants Woods,                         of this fact]; Dkt. No. 37, Part 8, ¶¶ 11-12 [Belarge
       Belarge, and O'Donnell concerning Plaintiff].)                     Aff.]; Dkt. No. 37, Parts 9-12 [Ex. A to Belarge
                                                                          Aff., attaching photographs]; Dkt. No. 48, Parts 4,
                                                                          8-17 [Defs.' reply affidavits and exhibits, attaching
                 Plaintiff's Bunk(s) in SHU                               photographs].)

27. As a result of his disciplinary conviction, Plaintiff was     67      (Dkt. No. 37, Part 8, ¶¶ 11-12 [Belarge Aff.];
housed in Greene C.F.'s SHU from approximately September                  Dkt. No. 37, Parts 9-12 [Ex. A to Belarge Aff.,
6, 2002, to November 21, 2002. 64                                         attaching photographs]; Dkt. No. 48, Parts 4,
                                                                          8-17 [Defs.' reply affidavits and exhibits, attaching
64                                                                        photographs].)
       (Dkt. No. 5, ¶¶ 26, 37 [Am. Comp.]; Dkt. No. 37,
       Part 23, Ex. A at 57-58 [Munkwitz Decl., attaching         68      (Dkt. No. 37, Part 2, ¶ 43 [Defs.' Rule 7.1
       transcript of Plaintiff's deposition]; Dkt. No. 42,                Statement, asserting this fact]; Dkt. No. 42, Part
       Part 1, ¶ 43 [Plf.'s Rule 7.1 Response, stating,                   1, ¶ 43 [Plf.'s Rule 7.1 Response, not specifically
       “Plaintiff left S-Block November 21, 2002....”].)                  controverting this fact, and in any event not citing
28. At no point (either during or after the above-described               any admissible evidence in support of any denial
time period) did Plaintiff file any written grievances, or                of this fact]; Dkt. No. 37, Part 8, ¶¶ 13-14 [Belarge
submit any letters of complaint, about an alleged defect in any           Aff.]; Dkt. No. 37, Parts 13-15, Ex. B [Belarge
of the bunk beds that he was assigned while in SHU. 65                    Aff., attaching work orders]; Dkt. No. 48, Parts 4-5
                                                                          [Defs.' reply affidavit and exhibits, attaching work
65                                                                        orders].)
       (Dkt. No. 37, Part 2, ¶ 41 [Defs.' Rule 7.1
       Statement, asserting this fact]; Dkt. No. 42, Part 1,
                                                                  III. ANALYSIS
       ¶ 41 [Plf.'s Response, not specifically controverting
       this fact]; Dkt. No. 37, Part 23, Ex. A at 58-62              A. Whether Plaintiff Has Failed to Establish (or Even
       [Munkwitz Decl., attaching transcript of Plaintiff's          State) a First Amendment Retaliation Claim
       deposition, in which he acknowledged this fact];            *9 In their memorandum of law, Defendants argue that
       Dkt. No. 48, Part 6 [Belin Aff.].)                         Plaintiff has failed to establish (or even state) a First
29. On February 8, 2005, Defendant Belarge had photographs        Amendment retaliation claim against Defendant Antonelli
taken of the bunk beds that Plaintiff was assigned while          because (1) he fails to establish that he had been engaging in
he was in SHU; and on April 22, 2005, Defendant Belarge           speech or conduct that is protected by the First Amendment,
had photographs taken of the other bunk beds that Plaintiff       and (2) in any event, he fails to establish a causal link
                                                                  between that protected activity and any adverse action against
suggests he may have been assigned. 66 Those photographs
                                                                  him by Defendant Antonelli. (Dkt. No. 37, Part 25 at
are made part of the record at Exhibit A to the February 10,
                                                                  15-16 [Defs.' Mem. of Law].) Liberally construed, Plaintiff's
2005, Affidavit of Defendant Belarge, and at Exhibits A and
                                                                  response papers argue that (1) he had a constitutionally
B to the April 29, 2005, Affidavit of Kenneth Scattergood. 67     protected liberty right to make an oral and written complaint
Between September 6, 2002, and February 10, 2005, there           about Defendant Antontelli's management of the prison
was no record of any repairs made to any of the bunk beds that    mess hall, and (2) as a result of Plaintiff's complaints (and
Plaintiff was assigned while in SHU; and between September        an “encounter” between Plaintiff and Antonelli one week
6, 2002, and April 22, 2005, there was no record of any repairs   before Plaintiff's disciplinary hearing), Defendant Antonelli
made to any of the other bunk beds that Plaintiff suggests he     retaliated against Plaintiff during Plaintiff's disciplinary
may have been assigned while in SHU. 68                           hearing by, among other things, depriving Plaintiff of his
                                                                  statutorily protected right to receive “good time” credits
66                                                                (which would have accelerated Plaintiff's release on parole).
       (Dkt. No. 37, Part 2, ¶ 42 [Defs.' Rule 7.1
       Statement, asserting this fact]; Dkt. No. 42, Part         (Dkt. No. 42, Part 2 at 9 [Plf.'s Response].)
       1, ¶ 42 [Plf.'s Rule 7.1 Response, not specifically
       controverting this fact, and in any event not citing       Claims of retaliation like those asserted by Plaintiff find their
       any admissible evidence in support of any denial           roots in the First Amendment. See Gill v. Pidlypchak, 389 F.3d



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379, 380-81 (2d Cir.2004). Central to such claims is the notion    been taken based on the proper reasons alone. Graham v.
that in a prison setting, corrections officials may not take       Henderson, 89 F.3d 75, 79 (2d Cir.1996) (citations omitted).
actions which would have a chilling effect upon an inmate's
exercise of First Amendment rights. See Gill, 389 F.3d at           *10 Here, Plaintiff's claim fails for several reasons. I
381-383. Because of the relative ease with which claims of         acknowledge that the First Amendment protects, not only
retaliation can be incanted, however, courts have scrutinized      the filing of written grievances and complaints, but, under
such retaliation claims with “skepticism and particular care.”     some circumstances, the making of oral complaints to
Colon v. Coughlin, 58 F.3d 865, 872 (2d. Cir.1995); see also       corrections officers. 69 However, even assuming Plaintiff
Flaherty v. Coughlin, 713 F.2d 10, 13 (2d Cir.1983). As the        had a constitutionally protected right to make both written
Second Circuit has noted,                                          and oral complaints about Defendant Antonelli, no evidence
                                                                   exists establishing (or even suggesting) that any complaints
          [t]his is true for several reasons. First,               by Plaintiff against Defendant Antonelli impacted Defendant
          claims of retaliation are difficult to                   Antonelli's disciplinary decision.
          dispose of on the pleadings because
          they involve questions of intent and                     69
                                                                           See Malik'El v. N.Y. State DOCS, 96-CV-0669,
          are therefore easily fabricated. Second,                         1998 U.S. Dist. LEXIS 5471, at *7 & n.
          prisoners' claims of retaliation pose a                          1 (N.D.N.Y. March 4, 1998) (Sharpe, M.J .)
          substantial risk of unwarranted judicial                         (under circumstances, plaintiff's oral complaint to
          intrusion into matters of general prison                         corrections officer might state a First Amendment
          administration. This is so because                               claim), adopted by 1998 U.S. Dist. 5465 (N.D.N.Y.
          virtually any adverse action taken                               Apr. 8, 1998) (Pooler, D.J.); but see Rodriguez
          against a prisoner by a prison official-                         v. Phillips, 66 F.3d 470, 479 (2d Cir.1995)
          even those otherwise not rising to the                           (“In the context of the confrontation described
          level of a constitutional violation-can                          in [the plaintiff's] own words, there was no
          be characterized as a constitutionally                           clearly established First Amendment right to
          proscribed retaliatory act.                                      approach and speak to Officer Rubin.”) (emphasis
                                                                           added); Garrido v. Coughlin, 716 F.Supp. 98, 101
                                                                           (S.D.N.Y.1989) (plaintiff's “verbal confrontation”
                                                                           with corrections officer was not protected speech
Dawes v. Walker, 239 F.3d 489, 491 (2d Cir.2001) (citations                or conduct under the First Amendment).
omitted), overruled on other grounds, Swierkewicz v. Sorema        For example, no evidence exists that Plaintiff submitted any
N.A., 534 U.S. 506 (2002).                                         grievances or complaints against Defendant Antonelli, only
                                                                   that he submitted a letter to Deputy Superintendent Eldred
To prevail on a First Amendment claim under 42 U.S.C.              complaining about “Mess Hall Dishwashing Machines”
§ 1983, a Plaintiff must prove by the preponderance of
                                                                   approximately three weeks before the disciplinary hearing. 70
the evidence that: (1) the speech or conduct at issue was
“protected”; (2) the defendants took “adverse action” against      Plaintiff's letter did not mention Defendant Antonelli. 71
the plaintiff-namely, action that would deter a similarly          In any event, no evidence exists indicating that Defendant
situated individual of ordinary firmness from exercising his or    Antonelli knew about any grievances against him by Plaintiff
her constitutional rights; and (3) there was a causal connection   at the time of Plaintiff's disciplinary hearing. 72 Similarly, no
between the protected speech and the adverse action-in other       evidence exists that he ever confronted Defendant Antonelli
words, that the protected conduct was a “substantial or            with an oral complaint about the mess hall-other than
motivating factor” in the defendants' decision to take action      Plaintiff's vague and uncorroborated assertions that he “met”
against the plaintiff. Mount Healthy City Sch. Dist. Bd. of        with, or had an “encounter” with, Defendant Antonelli about
Educ. v. Doyle, 429 U.S. 274, 287 (1977); Gill, 389 F.3d at 380    the mess hall before the disciplinary hearing. 73 Finally, the
(citing Dawes v. Walker, 239 F.3d 489, 492 [2d. Cir.2001] ).       record evidence establishes that Defendant Antonelli could,
Under this analysis, adverse action taken for both proper and      and indeed would, have reached the same disciplinary hearing
improper reasons may be upheld if the action would have            decision (and imposed the same penalties) despite any such



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complaints or grievances by Plaintiff (i.e., based upon the                with Defendant Antonelli]; Dkt. No. 37, Part 23,
evidence as presented to him at Plaintiff's disciplinary hearing           Ex. A at 89 [Munkwitz Decl., attaching transcript
decision). 74                                                              of Plaintiff's deposition, in which Plaintiff states
                                                                           that, days before the disciplinary hearing, he “met”
70                                                                         with Defendant Antonelli about the condition of the
       (Dkt. No. 48, Parts 6-7, ¶ 6 [Berlin Aff., testifying
                                                                           “utensils, dish washing machines, et cetera” in the
       that the only grievance on file from Plaintiff, from
                                                                           mess hall].)
       between August 2002 to December 2002 was a
       grievance dated 8/8/02 about the legal mail limit at        74
                                                                           (See, supra, Statement of Fact Nos. 22-23 [stating
       Greene C.F., attaching that grievance at Exhibit A];                evidence upon which Defendant Antonelli based
       Dkt. No. 37, Part 24 [Munkowitz Decl., attaching                    his hearing decision, and fact that the decision was
       Plaintiff's 8/16/02 letter of complaint to Deputy                   affirmed on appeal].)
       Superintendent Eldred regarding the “Mess Hall
                                                                   As a result, I recommend that the Court dismiss Plaintiff's
       Dishwashing Machines”]; Dkt. No. 37, Part 23, Ex.
                                                                   First Amendment retaliation claim.
       A at 86-90 [Munkwitz Decl., attaching transcript of
       Plaintiff's deposition].)
71                                                                    B. Whether Plaintiff Has Failed to State a Fourth
       (Dkt. No. 37, Part 24 [Munkowitz Decl.,
                                                                      Amendment Claim
       attaching Plaintiff's 8/16/02 letter of complaint
                                                                   I do not construe Defendants' memorandum of law as
       to Deputy Superintendent Eldred regarding the
                                                                   expressly arguing that any Fourth Amendment claim asserted
       mess hall dishwashing machines, not mentioning
                                                                   by Plaintiff should be dismissed for failure to state a claim
       any specifics, much less the name or position of
                                                                   under Rule 12(b)(1) of the Federal Rules of Civil Procedure,
       Defendant Antonelli]; Dkt. No. 37, Part 23, Ex. A
                                                                   which permits motions to dismiss for “lack of jurisdiction
       at 86-90 [Munkwitz Decl., attaching transcript of
                                                                   over the subject matter” of a claim. However, I do construe
       Plaintiff's deposition, in which Plaintiff admits this
                                                                   that memorandum of law, as well as defense counsel's
       fact].)
                                                                   questions of Plaintiff during his deposition, as suggesting
72                                                                 that Plaintiff has failed to assert a Fourth Amendment claim
       (Dkt. No. 37, Part 17, ¶ 13 [Antonelli Aff.,
       testifying that “I ... understand that plaintiff            (regarding the search of his property by Defendants at
       alleges that I retaliated against him based upon            Greene C.F.) over which federal courts have subject matter
       a grievance that plaintiff made against me. I am            jurisdiction. 75
       not aware of any grievances filed by plaintiff
       against me”]; Dkt. No. 42, Part 1, ¶ 12 [Plf.'s             75      (Dkt. No. 37, Part 25 at 8-9 [Defs.' Mem. of
       Response to Antonelli Aff., containing no response
                                                                           Law, addressing the conclusory nature of Plaintiff's
       to Paragraph 13 of Antonelli's affidavit, and
                                                                           claims about a “conspiracy” against him, the
       asserting conclusorily that “[the tier office] had
                                                                           subject of which included the search of his
       chosen Antonelli to preside over plaintiff's tier
                                                                           property]; Dkt. No. 37, Part 22, Ex. A at 14
       hearing on September 6, 2002 ... and that was due to
                                                                           [Munkwitz Decl., attaching transcript of Plaintiff's
       Antonelli's encounter with plaintiff one week prior
                                                                           deposition, in which defense counsel stated, “I
       to holding said hearing,” without providing any
                                                                           don't see how the [F]ourth [A]mendment gives
       specifics about the alleged “encounter,” without
                                                                           you a right to be free from harmful situations.
       providing any assertion that it was Antonelli who
                                                                           So I would like you to explain that to me,” and
       was motivated by the alleged “encounter,” and
                                                                           Plaintiff stated, “[T]he [F]ourth [A]mendment does
       without providing reason to believe Plaintiff had
                                                                           not apply to the specific paragraph that you are
       personal knowledge of the Tier Office's motivation
                                                                           referring to,” i.e., Paragraph 43 of the Amended
       in assigning Antonelli as the hearing officer].)
                                                                           Complaint], 22 [in which defense counsel asked,
73                                                                         “Is there anything else in your second cause of
       (Dkt. No. 42, Part 1¶ 12 [Plf.'s Response to
       Antonelli Aff., asserting that, one week before the                 action ...” other than a due process claim, and
       disciplinary hearing, Plaintiff had an “encounter”                  Plaintiff answered, “Not at this point, ma‘am”
                                                                           even though that cause of action cites the Fourth


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       Amendment], 26 [in which defense counsel asked,                       even though the cause of action cites the Fourth
       “You have a constitutional right to be free from                      Amendment], 28 [in which defense counsel asked,
       search and seizure as an inmate?” and Plaintiff                       “Are you alleging that the facts in paragraph 15
       answered, “As an inmate, no, ma‘am”].) See                            give rise to a constitutional claim for search and
       Clissuras v. CUNY, 359 F.3d 79, 81 n. 3 (2d                           seizure?” and Plaintiff answered, “Yes, ma‘am”].)
       Cir.2004) (treating a “suggestion” to the court, in         78
       the form of a letter, that subject matter jurisdiction                (Dkt. No. 5, ¶ 14 [Am. Compl.].)
       was lacking as a request for a dismissal order under         *11 The problem with Plaintiff's Fourth Amendment claim
       Rule 12[h][3] ).                                            is that, even if the search occurred as Plaintiff alleged, that
Under Rule 12 of the Federal Rules of Civil Procedure,             search was of a prisoner's cell (or “cube”). “[T]he Fourth
“[w]henever it appears by suggestion of the parties or             Amendment proscription against unreasonable searches does
otherwise that the court lacks jurisdiction of the subject         not apply within the confines of a prison cell.” Hudson v.
matter, the court shall dismiss the action.” Fed.R.Civ.P. 12(h)    Palmer, 468 U.S. 517, 526 (1984). 79 Nor does the Fourth
(3). Thus, the Court has a duty to examine whether or not it has   Amendment proscription apply within the confines of a prison
subject matter jurisdiction over Plaintiff's attempted Fourth      “cube.” 80 Indeed, Plaintiff appears to recognize this point of
Amendment claim.
                                                                   law. 81

Here, I find that the Court does not have subject matter
                                                                   79
jurisdiction (pursuant to 42 U.S.C. § 1983 or otherwise)                     See also Tinsley v. Greene, 95-CV-1765, 1997
over that claim, which is asserted in Paragraphs 44 and                      WL 160124, at *7 (N.D.N.Y. March 31, 1997)
                                                                             (“Plaintiff thus may assert no cause of action
15 of Plaintiff's Amended Complaint. 76 Specifically, the
                                                                             here based on an alleged violation of his
allegations contained in Paragraph 15 of his Amended
                                                                             Fourth Amendment rights.”); Demaio v. Mann,
Complaint are the sole factual basis for Plaintiff's Fourth
                                                                             877 F.Supp. 89, 95 (N.D.N.Y.) (“Searches of
Amendment claim. 77 In pertinent part, that paragraph alleges                prison cells, even arbitrary searches, implicate no
that on “August 31, 2002, 11:20 A.M., Belarge ... had                        protected constitutional rights.”), aff'd, 122 F.3d
plaintiff's personal property searched [for Alcivar's materials]             1055 (2d Cir.1995).
by three officers, one of whom was Holt....” 78
                                                                   80
                                                                             See Freeman v. Goord, 02-CV-9033, 2005 U.S.
76                                                                           Dist. LEXIS 32019, at *5 & n. 4 (S.D.N.Y.
       (See Dkt. No. 5, ¶ 44 [Plf.'s Am. Compl., alleging
                                                                             Dec. 7, 1995) (granting defendants' motion for
       that Defendants Woods and Holt “violat[ed]
                                                                             summary judgment, in part because plaintiff had no
       plaintiff's 4th ... Amendment [ ] rights”], ¶ 15
                                                                             reasonable expectation of privacy, under the Fourth
       [alleging that Defendant Belarge “had plaintiff's
                                                                             Amendment, in his cell, which plaintiff referred
       personal property searched by three officers, one
                                                                             to as his “cube”); Rodriguez v. Coughlin, 795
       of whom was Holt”]; Dkt. No. 37, Part 23, Ex.
                                                                             F.Supp. 609, 611, 613 (W.D.N.Y.1992) (granting
       A at 14-22, 26-28 [Munkowitz Decl., attaching
                                                                             defendants' motion for summary judgment, in part
       transcript of deposition of Plaintiff, in which he
                                                                             because prison officials have same need, and right,
       explains his claim under the Fourth Amendment
                                                                             to search prisoner's “cell” as his “cubicle”).
       based on the alleged unjustified search and seizure
       of his property].)                                          81        (Dkt. No. 37, Part 22, Ex. A at 26 [Munkwitz
77                                                                           Decl., attaching transcript of Plaintiff's deposition,
       (Dkt. No. 37, Part 22, Ex. A at 14 [Munkwitz
                                                                             in which defense counsel asked, “You have a
       Decl., attaching transcript of Plaintiff's deposition,
                                                                             constitutional right to be free from search and
       in which Plaintiff stated, “[T]he [F]ourth
                                                                             seizure as an inmate?” and Plaintiff answered, “As
       [A]mendment does not apply to” Plaintiff's first
                                                                             an inmate, no, ma‘am”].)
       cause of action], 22 [in which defense counsel
       asked, “Is there anything else in your second cause         I note that I do not liberally construe Plaintiff's Amended
       of action ...” other than a due process claim, and          Complaint as asserting a Fourth Amendment claim against
       Plaintiff answered, “Not at this point, ma‘am”              Defendant Woods for (allegedly) unreasonably searching and



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seizing various pieces of Plaintiff's outgoing and incoming    established that Defendants were deliberately indifferent to
mail in August of 2002. However, even if I did so construe     Plaintiff's health or safety. (Dkt. No. 37, Part 25 at 11,
that Amended Complaint, I would conclude that this Court       13-14 [Defs.' Mem. of Law].) Liberally construed, Plaintiff's
would not have subject matter jurisdiction over that claim.    response papers argue that (1) he has established a deprivation
The only portion of Plaintiff's Amended Complaint that         that is “sufficiently serious” through his evidence that he
regards such a search and seizure by Defendant Woods of        experienced a back injury while in SHU as a result of his
Plaintiff's mail is vague and conclusory. 82 Even taking as    “twisted bunk,” and (2) he has established such deliberate
true Plaintiff's allegations, the mail in question consisted   indifference through his testimony that he orally complained
of clearly identifiable contraband (e.g., legal materials      to Defendants Woods and Belarge (as well as others) of his
belonging to Inmate Alcivar in packages to, or from, persons   back injury and the fact that they “ignored” his complaints.
                                                               (Dkt. No. 42, Part 2 at 13-15 [Plf.'s Response].)
bearing the last name of Alcivar). 83 I fail to see how
any search and confiscation of such contraband would have
                                                               “[A] prison official violates the Eighth Amendment only
violated the Fourth Amendment. Indeed, such a search and
                                                               when two requirements are met. First, the deprivation must
confiscation would appear to have been expressly authorized
                                                               be, objectively, ‘sufficiently serious'.... [Second,] a prison
by DOCS Directive No. 4422 (which regards the Inmate
                                                               official must have a ‘sufficiently culpable state of mind.’ “
Correspondence Program). 84                                    Farmer v. Brennan, 511 U.S. 825, 834 (1994). “In prison-
                                                               conditions cases that state of mind is one of deliberate
82                                                             indifference to inmate health or safety....” Farmer, 511 U.S.
       (Dkt. No. 5, ¶ 12 [Am. Compl.].)
                                                               at 834.
83     I note that the alleged “interception” by Defendant
       Woods of these packages was preceded by a letter         *12 With regard to the first element, “the plaintiff must
       from Plaintiff to Woods referring to “documents         demonstrate that the conditions of his confinement resulted
       [belonging to Inmate Alcivar] being in [Plaintiff's]    in ‘unquestioned and serious deprivations of basic human
       possession” and referring to Inmate Alcivar's           needs' or ‘deprive inmates of the minimal civilized measures
       family members. Furthermore, I note that the            of life's necessities.’ “ Davidson v. Murray, 371 F.Supp.2d
       alleged contents of these packages would have           361, 370 (W .D.N.Y.2005) (citing Rhodes v. Chapman, 452
       reasonably appeared (at the very least) to consist      U.S. 337, 347 [1981] ). “As recognized by the Supreme Court
       of contraband (i.e., allegedly being the same           in Rhodes, ‘the Constitution does not mandate comfortable
       documents that later gave rise to three disciplinary    prisons,’ ... and conditions that are ‘restrictive and even
       charges against Plaintiff, which charges resulted in    harsh ... are part of the penalty that criminal offenders pay for
       a conviction that was affirmed on appeal).              their offenses against society.’ “ Davidson, 371 F.Supp.2d at
84                                                             370 (quoting Rhodes, 452 U.S. at 347, 349).
       See, e.g., DOCS Directive No. 4422, § III.B.17.
       (“Inmates shall not be permitted to use their
                                                               With regard to the second element, “[i]n prison-conditions
       correspondence privileges to solicit ... services,
                                                               cases [the requisite] state of mind is one of deliberate
       or goods.”), § III.G.1. (“All incoming general
                                                               indifference to inmate health or safety....” Farmer, 511 U.S.
       correspondence will be opened and inspected for ...
                                                               at 834. “[D]eliberate indifference describes a state of mind
       photocopied materials, or contraband.”) (5/18/02).
                                                               more blameworthy than negligence.” Id. at 835. “Deliberate
As a result, I recommend that the Court dismiss Plaintiff's    indifference” exists if an official “knows of and disregards an
Fourth Amendment claim.                                        excessive risk to inmate health or safety; the official must both
                                                               be aware of facts from which the inference could be drawn
                                                               that a substantial risk of serious harm exists, and he must also
   C. Whether Plaintiff Has Failed to Establish (or Even
                                                               draw the inference.” Id. at 837.
   State) an Eighth Amendment Claim
In their memorandum of law, Defendants argue that Plaintiff
has failed to establish (or even state) an Eighth Amendment      1. Sufficiently Serious Deprivation
claim because (1) Plaintiff has not established (or even       Plaintiff alleges that he was                diagnosed      with
alleged) a deprivation that is “sufficiently serious” for      “spondylolisthesis”   85
                                                                                          in September of 2002 as a result of
purposes of the Eighth Amendment, and (2) he has not


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sleeping on a defective bed. 86 As far as I can tell from               conditions there, which included his allegedly
available reported decisions, all federal courts faced with             defective bunk].)
evidence of such an injury on a dispositive motion in a         89      (Dkt. No. 37, Part 23 at 42-43, 53, 58 [Munkowitz
prisoner civil rights case explicitly or implicitly assume,
                                                                        Decl., attaching transcript of Plaintiff's deposition
for the sake of argument, that the injury constitutes a
                                                                        testimony, in which Plaintiff testifies that he was
serious medical need. 87 I do not make such an assumption               not asserting any claim regarding the medical
here because, unlike the prisoners in those other civil                 treatment that he received, or that the medical staff
rights cases, Plaintiff does not allege that his Eighth                 was deliberately indifferent to a serious medical
Amendment deprivation consisted of his “spondylolisthesis”              need].)
but his defective (or “twisted”) bunk bed. In addition
                                                                This is apparently why Defendants, in their motions papers,
to being supported by the express language of Plaintiff's
                                                                do not challenge Plaintiff's allegation that he suffered from
Amended Complaint, 88 this reading of Plaintiff's allegations
                                                                “spondylolisthesis,” but do challenge his allegation that he
is supported by his testimony in his deposition that he is
                                                                was assigned a bunk bed that was in any way defective. 90
not asserting a claim that the medical staff was deliberately
                                                                In support of that argument, Defendants submit evidence that
indifferent to any serious medical need. 89
                                                                none of the bunk beds to which Plaintiff was assigned while
                                                                in SHU (1) showed any visible defects (much less the defect
85     “Spondylolisthesis” is defined as “forward               that Plaintiff alleges, i.e., being “twisted”) at or after the time
       movement of the body of one of the lower lumbar          in question, and (2) were either complained about by other
       vertebrae on the vertebra below it, or upon the          inmates or repaired at or after the time in question. 91
       sacrum.” Rowland v. Hildreth, 92-CV-6140, 1993
       U.S. Dist. LEXIS 10233, at *35, n. 6 (S.D.N.Y. July      90      (Dkt. No. 37, Part 25 at 14 [Defs.' Mem. of Law,
       27, 1993) (citing Stedman's Medical Dictionary at
                                                                        arguing that “plaintiff cannot demonstrate that his
       1456 [25th ed.1990] ).
                                                                        bunk was ‘damaged’ in any manner,” citing record
86                                                                      evidence in an attempt to support that argument].)
       (Dkt. No. 5, ¶ 27 [Am. Compl.]; Dkt. No. 38,
       Part 4 at 58-62 [Plf.'s Motion for Summary               91
                                                                        (See, supra, Statement of Fact No. 29.)
       Judgment, attaching medical records repeatedly
       stating “spondylolisthesis”]; Dkt. No. 37, Part 23        *13 More convincing, however, is the temporal disconnect
       at 54-58 [Munkowitz Decl., attaching transcript of       between the onset of Plaintiff's back injury and his assignment
       Plaintiff's deposition testimony, in which Plaintiff     to the allegedly defective bunk bed in question. Although
       describes his injury generally].)                        Defendants do not appear to argue that the onset of Plaintiff's
                                                                injury pre-dated his assignment to the allegedly defective
87
       See Villante v. N.Y. State DOCS, 96-CV-1484, 2002
                                                                bunk bed, 92 there is evidence indicating that Plaintiff's
       U.S. Dist. LEXIS 26279, at *4, 8-9 (N.D.N.Y.
                                                                back injury existed before he was assigned to the allegedly
       March 28, 2002) (Mordue, J.), adopting report-
                                                                defective bunk bed (i.e., Bunk Number “OS-A1-20(b)”) on
       recommendation, 2002 U.S. Dist. LEXIS, at
       *11-12 (N.D.N.Y. Oct. 26, 2001) (Homer, M.J.);           September 23, 2002. 93 There is even evidence indicating that
       Rowland, 1993 U.S. Dist. LEXIS 10233, at *13-16,         Plaintiff's back injury existed before he was admitted to SHU
       30; Smith v. Umar, 89-CV-6988, 1989 U.S. Dist.           on September 6, 2002. 94
       LEXIS 14170, at *4-6, 8-10 (E.D.Pa. Nov. 28,
       1989).                                                   92      (Dkt. No. 37, Part 25 at 11, 13-14 [Defs.' Mem. of
88                                                                      Law].)
       (Dkt. No. 5, ¶¶ 35, 37, 38, 43 [Am. Compl.,
       alleging that Defendants-who are non-medical             93
                                                                        (Compare Dkt. No. 42, Part 1, ¶¶ 10(a), 11
       personnel-violated Plaintiff's Eighth Amendment                  [Plf.'s Response to Belarge Aff., swearing that
       rights by placing him in, and keeping him in,                    he was assigned to the allegedly “dilapidated”
       SHU, despite knowing of the allegedly substandard                bunk in question-Bunk Number “OS-A1-20(b)”-on
                                                                        9/23/02, after having been assigned to two different



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       SHU cells, i.e., first in Cell “SH-0013” and then
       in Cell “B1-18”] with Dkt. No. 5, ¶¶ 26-27 [Plf.'s          2. Deliberate Indifference
       Am. Compl., containing a sworn allegation that the       Even if Plaintiff had established a “sufficiently serious”
       onset of his back injury was on or before 9/13/02,       deprivation for purposes of the Eighth Amendment, I would
       and that the date of diagnosis was 9/20/02] and Dkt.     find that he has not established that Defendants acted with
       No. 42, Part 1, ¶ 15 [Plf.'s Response to Belarge         deliberate indifference to Plaintiff's health or safety.
       Aff., swearing that he orally complained to Belarge
       about the bunk on 9/18/02] and Dkt. No. 37, Part         To the extent that Plaintiff alleges that any of the Defendants
       23 at 58 [Munkowitz Decl., attaching transcript of       “knew” that Plaintiff would be assigned to an allegedly
       Plaintiff's deposition testimony, in which Plaintiff     defective bunk (Bunk Number “OS-A1-20(b)” in Cell
       testifies that he first requested sick call on 9/9/02,   “A1-20”) before Plaintiff began his incarceration in the
       or three days after his admission to SHU].)              Greene C.F. SHU on September 6, 2002, I find that
                                                                those allegations are wholly conclusory and without any
94                                                              evidentiary support whatsoever in the record. (Dkt. No. 5, ¶¶
       (Dkt. No. 38, Part 4 at 58-62 [Plf.'s Motion
       for Summary Judgment, attaching medical record           3 5, 37, 39, 43 [Am. Compl.].)
       printed on 9/9/02 containing a typed notation,
       apparently entered on 8/23/02 stating, “Reason for       However, Plaintiff also asserts (rather conclusorily) that
       Consultation: H/O sciatica type pain which has           Defendants knew about the allegedly defective bunk after
       responded to PT in the past. I request a repeat          Plaintiff was assigned to it. 96 More specifically, Plaintiff
       treatment series for 6 weeks” and noting that            submits testimony that (1) he orally complained to Defendant
       Plaintiff was 51 years old at the time] [emphasis        Woods about the bunk in question on or about September 27,
       added].)                                                 2002, (2) Plaintiff orally complained to Defendant Belarge
Even if Plaintiff were alleging that his back injury existed    about the bunk in question on September 18, 2002, and (3)
before September 6, 2002, but that his injury was exacerbated   Plaintiff orally complained to other corrections officers about
by his various bunk beds while in SHU, I would reach the        the bunk in question at various other times. 97 Setting aside
same conclusion. As I described above, the first element        the lack of any testimony (of which I am aware) that Plaintiff
of the Eighth Amendment's two-part test is “objective,” not     ever orally complained to Defendants O'Donnell, Antontelli
“subjective.” Simply stated, the Eighth Amendment does          or Holt, there is a fatal flaw with Plaintiff's reliance on this
not mandate “comfortable” bunk beds. 95 For these reasons,      evidence.
I find that Plaintiff has failed to establish a “sufficiently
serious” deprivation for purposes of the Eighth Amendment.      96     (Dkt. No. 5, ¶ 38 [Am. Compl.].)
                                                                97
95                                                                     (See, e.g., Dkt. No. 42, Part 1, ¶ 15 [Plf.'s Response
       See Faunce v. Gomez, No. 97-16943, 1998
                                                                       to Belarge Aff., swearing that he orally complained
       U.S.App. LEXIS. 22703, at *3 (9th Cir. Sept.
                                                                       to Belarge about the bunk on September 18, 2002];
       14, 1998) (affirming district court's grant of
                                                                       compare Dkt. No. 42, Part 1, ¶ 14 [Plf.'s Response
       summary judgment to defendants in part because
                                                                       to Woods Aff., swearing that his oral complaint to
       the plaintiff's Eighth Amendment claim was
                                                                       Woods was made on September 27, 2002] with Dkt.
       premised on his complaint that his mattress was
                                                                       No. 42, Part 2 at 13 [Mem. of Law, arguing that his
       uncomfortable and his bedding was insufficient);
                                                                       oral complaint to Woods was made on September
       Page v. Kirby, 314 F.Supp.2d 619, 620 (N.D.W.Va.)
                                                                       12, 2002].)
       (dismissing prisoner's Eighth Amendment claim
       premised on complaint that his mattress was              The problem is that, even if this evidence is true, there is
       uncomfortable); Levi v. District of Columbia,            no evidence that Defendants or anyone “ignored” Plaintiff's
       92-CV-2653, 1993 U.S. Dist. LEXIS 1948, at               oral complaints. Indeed, the evidence shows that Plaintiff
       *5 (D.D.C. Feb. 24, 1993) dismissing prisoner's          was assigned to the allegedly defective bunk bed for only
       Eighth Amendment claim premised on complaint             about two weeks (between September 23, 2002, and October
       that his mattress was uncomfortable).                    7, 2002), and that he was then moved in response to his
                                                                oral complaints. 98 Any assertion by Plaintiff that Defendants



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Woods and Belarge, upon hearing Plaintiff orally complain            24, November 5, November 8, and November 18, 2002; (3)
about the bunk, told Plaintiff to “[t]ell the officer about it” or   an MRI examination on January 10, 2003; and (4) being
“tell it to the officer on the unit” does not indicate deliberate    provided “pain killers” on September 13, 2002, five packets
indifference by supervisors such as Defendants Woods or              of Naproxen (500 mg. each) on December 11, 2002, and more
Belarge, especially given that Plaintiff was subsequently then       “pain killers” on or after January 10, 2003, along with a back
purposely assigned to a different bunk. 99                           brace. 100

98                                                                   100
        (Dkt. No. 37, Part 8, ¶ 11 [Belarge Aff., identifying               (Dkt. No. 5, ¶¶ 26-33 [Am. Compl.].)
        second bunk Plaintiff was assigned while in “S-              Finally, I note that the evidence shows that, on October
        Block” as Bunk Number “OS-A1-20(b)”]; Dkt.                   24, 2002, Greene C.F. officials shortened Plaintiff's stay in
        No. 42, Part 1, ¶ 11 [Plf.'s Response to Belarge             SHU 15 days (reducing his sentence in SHU from 90 days
        Aff., admitting that fact], ¶ 10(a) [swearing that he
                                                                     to 15 days). 101 Under the circumstances, I find that no
        was assigned to the allegedly “dilapidated” bunk
                                                                     reasonable fact-finder could conclude, based on the record
        in question on 9/23/02], ¶ 10(b) [swearing that, at
                                                                     before me, that Defendants acted with deliberate indifference
        9:45 p.m. on or about 10/7/02-fourteen days after
                                                                     to Plaintiff's health or safety
        9/23/02-he was purposely moved to a cell “with a
        better bunk,” i.e., Cell “B2-40”].) Any assertions
                                                                     101
        by Plaintiff to the contrary are purely conclusory,                 (See, supra, Statement of Fact No. 24.)
        self-contradictory, and frankly too incredible to be         As a result, I recommend that the Court dismiss Plaintiff's
        believed by reasonable minds. (Dkt. No. 5, ¶ 28              Eighth Amendment claim.
        [Am. Compl., alleging conclusorily that his verbal
        complaints about his bunk bed “went unsolved”];
        compare Dkt. No. 37, Part 23 at 58 [Munkowitz                   D. Whether Plaintiff Has Failed to Exhaust His Available
        Decl., attaching transcript of Plaintiff's deposition           Administrative Remedies Regarding His Eighth
        testimony, in which Plaintiff testifies that he was             Amendment Claim
        assigned to the same bunk bed during his entire              In their memorandum of law, Defendants argue Plaintiff
        stay in SHU] with Dkt. No. 42, Part 1, ¶ 11                  has failed to established that he exhausted his available
        [Plf.'s Response to Belarge Aff., admitting that he          administrative remedies regarding his Eighth Amendment
        served his time in SHU in four different cells],             claim because he acknowledges that he did not file a written
        ¶ 10(a) [swearing that he was not assigned to                administrative grievance with respect to the alleged condition
        the allegedly “dilapidated” bunk in question until           of his bunk bed. (Dkt. No. 37, Part 25 at 11-13 [Defs.' Mem. of
        9/23/02, despite his admission to SHU on 9/6/02,             Law].) Liberally construed, Plaintiff's response papers argue
        and that it was the third such bunk to which he had          that (1) no administrative remedy was available because a
        been assigned in SHU], ¶ 10(b) [swearing that, at            complaint about a defective bunk bed is not a grievable matter,
        9:45 p.m. on or about 10/7/02-fourteen days after            (2) even if a complaint about a bunk bed were a grievable
        9/23/02-he was purposely moved to a cell “with a             matter, he was misled by the Supervisor of the Inmate
        better bunk,” i.e., Cell “B2-40”].)
99                                                                   Grievance Resolution Committee (“IGRC”) into believing
        (Compare Dkt. No. 42, Part 1, ¶ 14 [Plf.'s Response          that the matter was not grievable, and (3) in any event,
        to Woods Aff.] and Dkt. No. 42, Part 1, ¶ 15 [Plf.'s         although he did not file a written grievance regarding his
        Response to Belarge Aff.] with Dkt. No. 42, Part 1,          bunk, he filed several oral complaints regarding the bunk
        ¶ 10(c) [Plf.'s Response to Belarge Aff.].)                  (i.e., to Defendant Woods, Defendant Belarge, the IGRC
 *14 In addition, the evidence shows that no one at Greene           Supervisor, and various other corrections officers and/or
C.F. in any way interfered with the prompt and adequate              sergeants). (Dkt. No. 42, Part 2 at 13-15 [Plf.'s Response].)
medical care provided to Plaintiff regarding his back. Plaintiff
acknowledges that his medical care at Greene C.F. included           The Prison Litigation Reform Act of 1995 (“PLRA”) requires
the following: (1) a CAT scan on October 17, 2002, and               that prisoners who bring suit in federal court must first
second CAT scan at some point between October 22, 2002,              exhaust their available administrative remedies: “No action
and December 11, 2002, (2) physical therapy on October               shall be brought with respect to prison conditions under §


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1983 ... by a prisoner confined in any jail, prison, or other       omitted). Third, if the remedies were available and some
correctional facility until such administrative remedies as are     of the defendants did not forfeit, and were not estopped
available are exhausted.” 42 U.S.C. § 1997e. The Department         from raising, the non-exhaustion defense, “the Court should
of Correctional Services (“DOCS”) has available a well-             consider whether ‘special circumstances' have been plausibly
established three-step grievance program:                           alleged that justify the prisoner's failure to comply with the
                                                                    administrative procedural requirements.” Id. (citations and
                                                                    internal quotations omitted).
          First, an inmate is to file a
          complaint with the Grievance Clerk. An
          inmate grievance resolution committee                       1. Availability of Administrative Remedies
          (“IGRC”) representative has seven                         Plaintiff admits (repeatedly) that he filed no written grievance
          working days to informally resolve
                                                                    about his bunk bed. 102 He argues, however, that no written
          the issue. If there is no resolution,
                                                                    grievance could have been filed, because a defective bunk bed
          then the full IGRC conducts a hearing
                                                                    is not a grievable matter. In support of this argument, he offers
          and documents the decision. Second,
                                                                    only conclusory assertions, testimony containing (at best)
          a grievant may appeal the IGRC
                                                                    inadmissible hearsay, and documents that are completely
          decision to the superintendent, whose
          decision is documented. Third, a grievant                 immaterial to the fact in question. 103 Defendants, on the
          may appeal to the central office                          other hand, offer the affidavit of IGRC Supervisor Marilyn
          review committee (“CORC”), which                          Berlin, who swears, inter alia, that “[c]omplaints about
          must render a decision within twenty                      maintenance issues and cell conditions [such as defective
          working days of receiving the appeal, and                 bunk beds] are proper subjects of grievances.” (Dkt. No.
          this decision is documented.                              48, Part 6, ¶ 3 [Berlin Aff.].) As a result, I must reject
                                                                    Plaintiff's unsupported assertion that a defective bunk bed is
                                                                    not grievable.

                                                                    102
 *15 White v. The State of New York, 00-CV-3434, 2002                       (Dkt. No. 37, Part 23 at 58, 61, 63,
U.S. Dist. LEXIS 18791, at *6 (S.D.N.Y. Oct 3, 2002)                        65 [Munkowitz Decl., attaching transcript of
(citing N.Y. Comp.Codes R. & Regs. Tit. 7, § 701.7).                        Plaintiff's deposition].)
Generally, if a prisoner has failed to follow each of these steps   103
prior to commencing litigation, he has failed to exhaust his                (See, e.g., Dkt. No. 42, Part 2 at 13-15 [Plf.'s
administrative remedies. Rodriguez v. Hahn, 209 F.Supp.2d                   Response Mem. of Law, in which Plaintiff appears
344, 347-48 (S.D.N.Y.2002); Reyes v. Punzal, 206 F.Supp.2d                  to argue-without any citation to evidence-that
431, 433 (W.D.N.Y.2002).                                                    he orally complained about his bunk bed to
                                                                            an unidentified IGRC Supervisor, whom Plaintiff
However, the Second Circuit has recently held that a three-                 alleges orally informed him that a defective bunk
part inquiry is appropriate where a defendant contends that                 bed is not a grievable matter]; Dkt. No. 37, Part 23
a prisoner has failed to exhaust his available administrative               at 60, 63, 65 [Munkowitz Decl., attaching transcript
remedies, as required by the PLRA. See Hemphill v. State                    of Plaintiff's deposition, apparently alluding to the
of New York, 380 F.3d 680, 686, 691 (2d Cir.2004). First,                   same hearsay remark by the IGRC Superintendent];
“the court must ask whether [the] administrative remedies                   Dkt. No. 38, Part 4 at 50, 52, 54, 66 [Plf.'s Motion
[not pursued by the prisoner] were in fact ‘available’ to                   for Summary Judgment, attaching, as exhibits,
the prisoner.” Hemphill, 380 F.3d at 686 (citation omitted).                documents regarding Plaintiff's grievance about the
Second, if those remedies were available, “the court should ...             grounds for his disciplinary conviction and not his
inquire as to whether [some or all of] the defendants may                   allegedly defective bunk bed].)
have forfeited the affirmative defense of non-exhaustion by         This does not end the inquiry, however, because “a remedy
failing to raise or preserve it ... or whether the defendants'      that prison officials prevent a prisoner from utilizing is not an
own actions inhibiting the [prisoner's] exhaustion of remedies      ‘available’ remedy under [the Prison Litigation Reform Act].”
may estop one or more of the defendants from raising the            Miller v. Norris, 247 F.3d 736, 740 (8th Cir.2001), cited by
plaintiff's failure to exhaust as a defense.” Id. (citations        Abney v. McGinnis, 380 F.3d 663, 669 (2d Cir.2004) (holding


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that “[t]he defendants' failure to implement the multiple
rulings in [plaintiff's] favor rendered administrative relief          3. “Special Circumstances” Justifying Failure to Exhaust
‘unavailable’ under the PLRA.”). More specifically, case law        Finally, Plaintiff provides no evidence that “special
exists supporting the proposition that, assuming plaintiff was      circumstances” exist justifying his failure to exhaust his
instructed by prison officials, contrary to prison regulations,     available administrative remedies. Plaintiff alleges that, on
that he could not file a grievance, and plaintiff indeed did        several occasions during the relevant time period, he made
not initiate the grievance process by filing that grievance         oral complaints about his allegedly defective bunk bed to
in reliance on that misrepresentation, “the formal grievance        various employees of Greene C.F., including Defendants
proceeding required by [the prison grievance system] was            Woods and Belarge. For the sake of argument, I will
never ‘available’ to [plaintiff] within the meaning of [the         set aside the vagueness of this allegation, its incredibility
PLRA].” See Brown v. Croak, 312 F.3d 109, 112-113 (3d               given numerous other inconsistencies and improbabilities
Cir.2002), cited by Giano v. Goord, 380 F.3d 670, 677 n. 6          in Plaintiff's papers, and its total lack of support by any
(2d Cir.2004).                                                      corroborating evidence. The problem with Plaintiff's reliance
                                                                    on this allegation is that, even if it were true, it would not
 *16 Here, however, I can find absolutely no evidence in            justify Plaintiff's failure to file a written grievance about his
the record before me that IGRC Supervisor Berlin (or any            bunk bed.
prison official at Greene C.F.) at any time advised Plaintiff
that a defective bunk bed is not a grievable matter. Again, in      Plaintiff was 51 years old at the time of this incident; he
support of his argument that the IGRC made such a remark            had been incarcerated in several New York State correctional
to him, Plaintiff offers only vague testimony containing (at        facilities before the incident; and he had even attended a year
best) inadmissible hearsay, and documents that are immaterial       of law school. 106 He admits that, at the time of the incident,
to the fact in question. 104 Plaintiff's vague and conclusory       he was familiar with the grievance process at Greene C.F. 107
argument is made even more incredible in light of IGRC              Indeed, he had filed grievances immediately before and
Supervisor Berlin's sworn statement denying that Plaintiff          during this very time period. 108 Simply stated, it would have
ever orally complained to her about his (allegedly) defective       been unreasonable for Plaintiff to believe that he could fulfill
bunk bed, or that she told him that the matter was not              the grievance requirement-which included a requirement
grievable. 105                                                      that the IGRC's decision be appealed to the Greene C.F.
                                                                    Superintendent and then to CORC before exhaustion had
104                                                                 occurred-by making some oral complaints to various passers
        (See, e.g., Dkt. No. 42, Part 2 at 13-15 [Plf.'s
                                                                    by, whomever they might be.
        Response Mem. of Law]; Dkt. No. 37, Part 23 at
        60, 63, 65 [Munkowitz Decl., attaching transcript
                                                                    106
        of Plaintiff's deposition]; Dkt. No. 38, Part 4 at 50,              (Dkt. No. 37, Part 23 at 6-11 [Munkowitz Decl.,
        52, 54, 66 [Plf.'s Motion for Summary Judgment,                     attaching transcript of Plaintiff's deposition]; Dkt.
        attaching exhibits regarding a grievance about a                    No. 38, Part 4 at 58 [Plf.'s Motion for Summary
        different matter].)                                                 Judgment, attaching medical record showing his
                                                                            date of birth].)
105     (Dkt. No. 48, Part 6, ¶¶ 4-5, 8-11 [Berlin Aff.].)
                                                                    107     (Dkt. No. 37, Part 23 at 59 [Munkowitz Decl.,
   2. Estoppel                                                              attaching transcript of Plaintiff's deposition].)
Defendants have preserved their affirmative defense of non-         108     (Dkt. No. 38, Part 4 at 50 [Plf.'s Motion
exhaustion by raising it in their Answer. (Dkt. No. 17, ¶
                                                                            for Summary Judgment, attaching Plaintiff's
29 [Defs.' Answer] ) Moreover, no evidence (or even an
                                                                            grievance dated 9/18/02, about the grounds for his
argument) exists that any Defendant is estopped from raising
                                                                            disciplinary conviction]; Dkt. No. 48, Part 7 [Defs.
this defense because of his or her actions inhibiting Plaintiff's
                                                                            Reply, attaching grievance dated 8/7/02, about mail
exhaustion of remedies; Plaintiff merely argues that a non-
                                                                            room, and appeal from decision regarding that
party to this action (the IGRC Supervisor) advised him that
                                                                            grievance].)
his allegedly defective bunk bed was not a grievable matter.




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As a result of Plaintiff's failure to exhaust his available                upon the lack of evidentiary support for plaintiff's
administrative remedies, I recommend that his Eighth                       retaliation claims ... is sufficient to cast the burden
Amendment claim be dismissed.                                              upon the plaintiff to come forward with evidence
                                                                           demonstrating the existence of genuinely disputed
                                                                           material issues of fact at trial with regard to those
   E. Whether Plaintiff Has Failed to Establish (or Even                   claims.”) [citations omitted].
   State) a Fourteenth Amendment Due Process Claim
 *17 In their memorandum of law, Defendants argue that              110
                                                                           See Griffin v. Selsky, 326 F.Supp.2d 429,
Plaintiff's due process claim (which is based on the manner                430 (W.D.N.Y.2004); McNair v. Jones, 01-
in which his disciplinary hearing was conducted, and which                 CV03253, 2003 U.S. Dist. LEXIS 15825, at *7-8
sought damages only and not injunctive relief) is not                      (S.D.N.Y.2003); Dawes v. Dibiase, 91-CV-0479,
cognizable because a judgment in his favor would necessarily               1997 WL 376043, at *7-8 (N.D.N.Y. July 3, 1997)
imply the invalidity of his disciplinary conviction (which                 (McAvoy, J.).
resulted in a loss of good-time credits and thus affected
                                                                    111
the overall length of Plaintiff's confinement) and Plaintiff               (See, e.g., Dkt. No. 5, ¶ 18 [Am. Compl.,
has not established that that conviction has been reversed,                containing sworn allegation that Plaintiff was
expunged, or invalidated. (Dkt. No. 37, Part 25 at 10-11                   sentenced to three months loss of good-time
[Defs.' Mem. of Law, citing, inter alia, Heck v. Humphrey,                 credits]; Dkt. No. 42, Part 1 [Plf.'s Response to
512 U .S. 477 (1994) and Edwards v. Balisok, 520 U.S.                      Belarge Aff., admitting Defendants' assertion that
641 (1997) ].) Liberally construed, Plaintiff's response papers            the discretionary review of Plaintiff's disciplinary
argue (without any legal support) that, even though Plaintiff's            sentence did not affect Plaintiff's loss of good-time
loss of his good-time credits had not been invalidated on                  credits]; Dkt. No. 38, Part 4 at 32 [Plf.'s Motion for
appeal, for Defendants to obtain summary judgment “they                    Summary judgment, attaching disciplinary hearing
must prove their innocence beyond a shadow of a reasonable                 decision, showing sentence imposed]; Dkt. No. 42,
doubt,” which (he argues) they have not done. (Dkt. No. 42,                Part 2 at 13 [Plf.'s Response, arguing that “even
Part 2 at 10-13 [Plf.'s Response].)                                        though plaintiff's good time was not reversed,
                                                                           expunged, or declared invalid, that by itself does
I reject Plaintiff's argument, and specifically his proffered              not make plaintiff's claims ‘not cognizable’....”].)
legal standard on this motion for summary judgment.                 As a result, I recommend that Plaintiff's Fourteenth
Under the circumstances, Defendants have met their modest           Amendment due process claim be dismissed.
threshold burden with regard to this issue. 109 To avoid
dismissal on summary judgment grounds, Plaintiff must
                                                                       F. Whether Plaintiff Has Failed to Establish (or Even
introduce evidence raising a question of fact as to (1) whether
                                                                       State) a Claim for Conspiracy
or not his disciplinary conviction affected the overall length
                                                                    In their memorandum of law, Defendants argue that Plaintiff
of Plaintiff's confinement by resulting in a loss of good-
                                                                    has failed to establish (or even state) a claim for conspiracy
time credits or (2) whether or not his disciplinary conviction
                                                                    because (1) such a claim falls not under 42 U.S.C. § 1983 but
has been reversed, expunged, or invalidated. 110 He has not         42 U.S.C. § 1985, which applies specifically to conspiracies,
done so. Indeed, the evidence shows (and Plaintiff concedes)        (2) to succeed on a conspiracy claim under 42 U.S.C. § 1985,
that (1) Plaintiff's disciplinary conviction affected the overall   Plaintiff must allege and show “a meeting of the minds,” and
length of Plaintiff's confinement by resulting in a loss of good-   (3) Plaintiff has not alleged and shown such a meeting of
time, and (2) his disciplinary conviction was not reversed,         the minds but has offered mere speculative and conclusory
expunged, or invalidated. 111                                       allegations of conspiracy, see, e.g., Dkt. No. 5, ¶¶ 21-22
                                                                    (Am.Compl.). (Dkt. No. 37, Part 25 at 8-9 [Defs.' Mem. of
109                                                                 Law].) Liberally construed, Plaintiff's response argues that
        See Celotex Corp. v. Catrett, 477 U.S. 317, 323-324
        (1986); Ciaprazi v. Goord, 02-CV-0915, 2005                 the evidence does establish such a meeting of the minds
        WL 3531464, at *8 (N .D.N.Y. Dec. 22, 2005)                 because (1) in their affidavits, Defendants Woods, Antonelli,
        (Sharpe, J.) (adopting Report-Recommendation by             and Belarge all swear that they met to plan a strategy
        Peebles, M.J.) (“[D]efendants' decision to rely ...         regarding Plaintiff, and (2) that strategy clearly violated
                                                                    DOCS' policies and procedures, which never involve a group


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of high-ranking officials (such as a deputy superintendent,        personal knowledge of such a fact. Furthermore, as a matter
captain, and sergeant) meeting to plan a strategy regarding an     of common sense, it seems to me that where (as here) an
inmate, but which involve merely letting a disciplinary charge     inmate has made a mysterious representation to a deputy
be filed and decided by a hearing officer. (Dkt. No. 42, Part      superintendent implying that he has possession of a deceased
2 at 7-8 [Plf.'s Response].)                                       inmate's legal materials, it would be entirely conceivable
                                                                   (and appropriate) for the deputy superintendent to initiate an
 *18 I agree with Defendants largely for the reasons stated,       investigation of the matter, which investigation would involve
and based upon the cases cited, in their memorandum of             lawful meetings with subordinates.
law. (Dkt. No. 37, Part 25 at 8-9 [Defs.' Mem. of Law].)
Plaintiff's attempted conspiracy claim, which is asserted          In any event, I need not base my recommendation on
under 42 U.S.C. § 1983, should actually be asserted under          Plaintiff's lack of personal knowledge or on my common
42 U.S.C. § 1985. See Webb v. Goord, 340 F.3d 105, 110             sense: the fact is that Plaintiff has adduced absolutely no
(2d. Cir.2003) (construing Section 1983 claim styled as            evidence in support of his vague and conclusory allegation
“Conspiracy to Violate Civil Rights” as Section 1985 claim).       that Defendants Woods, Belarge and O'Donnell entered into
To maintain an action under Section 1985, a plaintiff “must        an agreement to achieve an unlawful end. As a result,
provide some factual basis supporting a meeting of the minds,      I recommend that the Court dismiss Plaintiff's conspiracy
such that defendants entered into an agreement, express or         claim.
tacit, to achieve the unlawful end.” Webb, 340 F.3d at 110
[internal quotation marks and citations omitted]. Where a
plaintiff does not provide such a factual basis, but only             G. Whether Defendants Are Protected by Qualified
conclusory, vague or general allegations, such a conspiracy           Immunity
claim fails. Id. (dismissing conclusory allegation “that any        *19 In their memorandum of law, Defendants argue that they
such meeting of the minds occurred among any or all of             are entitled to qualified immunity because they could not have
the defendants”); Boddie v. Schneider, 105 F.3d 857, 862           reasonably known that their conduct was in violation of a
(2d. Cir.1997) (dismissal of “conclusory, vague or general         clearly established statutory or constitutional right. (Dkt. No.
allegations of conspiracy to deprive a person of constitutional    37, Part 25 at 17 [Defs.' Mem. of Law].) Liberally construed,
rights” is proper).                                                Plaintiff's response argues (without citing any evidence) that,
                                                                   under the circumstances, any reasonable person would have
Here, Plaintiff's conspiracy claim is conclusory, vague and        reasonably known their conduct was violating Plaintiff's
general. It is uncontroverted that, at some point between          clearly established constitutional rights. (Dkt. No. 42, Part 2
August 5, 2002, and August 31, 2002, a meeting took                at 15-17 [Plf.'s Response].)
place between Defendant Woods and Defendant Belarge,
and a meeting took place between Defendant Belarge and             Again, I must reject Plaintiff's conclusory argument.
Defendant O'Donnell, and that the purpose of both meetings         “Once qualified immunity is pleaded, plaintiff's complaint
was to discuss Plaintiff. (See, supra, Statement of Fact Nos.      will be dismissed unless defendant's alleged conduct,
25-26.) The issue is whether the purpose of that meeting was       when committed, violated ‘clearly established statutory or
“to achieve an unlawful end” or to simply investigate whether      constitutional rights of which a reasonable person would have
Plaintiff had violated prison rules.                               known.’ “ Williams, 781 F .2d at 322 (quoting Harlow v.
                                                                   Fitzgerald, 457 U.S. 800, 815 [1982] ). Regarding the issue
Defendants offer evidence that the purpose of the meeting          of whether a particular right was clearly established, courts
was to lawfully investigate Plaintiff, and Plaintiff has offered   in this circuit consider three factors:
no evidence to the contrary. Plaintiff merely argues that
DOCS' policies and procedures would never involve a group                    (1) whether the right in question was
of high-ranking officials (such as a deputy superintendent,                  defined with ‘reasonable specificity’;
captain, and sergeant) meeting to discuss a Plaintiff. Even if               (2) whether the decisional law of the
Plaintiff had made this assertion in an affidavit or declaration             Supreme Court and the applicable circuit
rather than in a memorandum of law, I would have difficulty                  court support the existence of the right
imagining how Plaintiff (despite his legal training and                      in question; and (3) whether under
considerable experience as an inmate) could possibly have                    preexisting law a reasonable defendant



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          official would have understood that his or              sake of argument, that Plaintiff is claiming he had, among
          her acts were unlawful.                                 others, the following rights: (1) a right to have Defendant Holt
                                                                  take control of Inmate Alcivar's legal materials when Plaintiff
                                                                  offered those materials to Defendant Holt, and to later
                                                                  acknowledge his failure to take control of those materials;
Jermosen v. Smith, 945 F.2d 547, 550 (2d Cir.1991) (citations     (2) a right to have Defendant Woods personally visit Plaintiff
                                                                  in his “cube,” and not launch a disciplinary investigation
omitted), cert. denied, 503 U.S. 962 (1992). 112 Regarding the
                                                                  against him, following Plaintiff's notes to Defendant Woods;
issue of whether a reasonable person would have known he
                                                                  (3) a right to have Defendants Belarge and O'Donnell
was violating such a clearly established right, this “objective
                                                                  not open or read Plaintiff's correspondence to and from
reasonableness” 113 test is met if “officers of reasonable        Inmate Alcivar's two daughters, following Plaintiff's notes to
competence could disagree on [the legality of defendant's         Defendant Woods; (4) a right to have Defendant Antonelli
actions].” Malley v. Briggs, 475 U.S. 335, 341 (1986); see        recuse himself based on the (alleged) fact that Plaintiff
also Malsh v. Correctional Officer Austin, 901 F.Supp. 757,       and Defendant Antonelli, one week before the disciplinary
764 (S.D.N.Y.1995) (citing cases); Ramirez v. Holmes, 921         hearing, had had an “encounter” regarding the conditions of
F.Supp. 204, 211 (S.D.N.Y.1996). As the Supreme Court             the equipment in the prison mess hall; and (5) a right to be
explained,                                                        either transferred to a new cell in SHU, or provided with
                                                                  a new bunk bed in SHU, immediately upon making an oral
112                                                               complaint about his bunk bed to Defendants Woods, Belarge,
       See also Calhoun v. N.Y.S. Div. of Parole, 999 F.2d
       647, 654 (2d Cir.1993); Prue v. City of Syracuse,          O'Donnell, Antonelli and/or Holt (or upon the observations of
       26 F.3d 14, 17-18 (2d Cir.1994).                           that bunk bed by those Defendants).
113
       See Anderson v. Creighton, 107 S.Ct. 3034,                  *20 As an initial matter, it is unclear to me that any of
       3038 (1987) ( “[W]hether an official protected             these rights were “clearly established” in the summer and fall
       by qualified immunity may be held personally               of 2002 (or are clearly established now). In any event, even
       liable for an allegedly unlawful official action           if these rights were clearly established, it appears entirely
       generally turns on the ‘objective reasonableness           reasonable to me for Defendants to have concluded that their
       of the action.’ ”) (quoting Harlow, 457 U.S. at            treatment of Plaintiff did not violate these rights (or any
       819); Benitez v. Wolff, 985 F.2d 662, 666 (2d              rights). Simply stated, I can find no evidence in the record that
       Cir.1993) (qualified immunity protects defendants          Defendants Holt, Woods, Belarge, O'Donnell or Antonelli
       “even where the rights were clearly established,           did anything wrong. At the very least, officers of reasonable
       if it was objectively reasonable for defendants to         competence could have disagreed as to the lawfulness of
       believe that their acts did not violate those rights”).    Defendants' actions..
[T]he qualified immunity defense ... provides ample
protection to all but the plainly incompetent or those who        As a result, even if the Court does not dismiss all of
knowingly violate the law.... Defendants will not be immune       Plaintiff's claims for the reasons stated earlier in this Report-
if, on an objective basis, it is obvious that no reasonably       Recommendation, I recommend that the Court dismiss all of
competent officer would have concluded that a warrant should      Plaintiff's claims based on qualified immunity.
issue; but if officers of reasonable competence could disagree
on this issue, immunity should be recognized.
                                                                     H. Plaintiff's Motion for Partial Summary Judgment
Malley, 475 U.S. at 341. Furthermore, courts in the
                                                                  Based on the above reasons, I find that Plaintiff's motion for
Second Circuit recognize that “the use of an ‘objective
                                                                  partial summary judgment-which (at best) contains arguments
reasonableness' standard permits qualified immunity claims
                                                                  regarding the issues discussed above-is without merit. I reach
to be decided as a matter of law.” Malsh, 901 F.Supp. at 764
                                                                  this conclusion for the independent reason that Plaintiff's
(citing Cartier v. Lussier, 955 F.2d 841, 844 [2d Cir.1992]
                                                                  Rule 7.1 Statement of Material Facts (Dkt. No. 38, Part 2)
[citing Supreme Court cases] ).
                                                                  generally does not contain any citations to the record; and, to
                                                                  the extent that Rule 7.1 Statement does contain citations to
Here, based on my liberal construction of all of Plaintiff's
                                                                  the record, the record generally does not actually support the
motion papers and response papers, I will assume, for the
                                                                  facts asserted. See N.D .N.Y. L.R. 7.1(a)(3) ( “Failure of the


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moving party to submit an accurate and complete Statement
                                                                    Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(c), the
of Material Facts shall result in a denial of the motion.”)
                                                                    parties have ten days within which to file written objections
[emphasis in original].
                                                                    to the foregoing report. Such objections shall be filed with
                                                                    the Clerk of the Court. FAILURE TO OBJECT TO THIS
As a result, I recommend the denial of Plaintiff's motion for
                                                                    REPORT WITHIN TEN DAYS WILL PRECLUDE
partial summary judgment.
                                                                    APPELLATE REVIEW. Roldan v. Racette, 984 F.2d 85,
                                                                    89 (2d Cir.1993) (citing Small v. Sec'y of Health and Human
ACCORDINGLY, it is
                                                                    Svcs., 892 F.2d 15 [2d Cir.1989] ); 28 U.S.C. § 636(b);
RECOMMENDED that Defendants' motion for summary                     Fed.R.Civ.P. 6(a), 6(e), 72.
judgment (Dkt. No. 37) be GRANTED; and it is further
                                                                    All Citations
RECOMMENDED that Plaintiff's motion for partial
summary judgment (Dkt. No. 38) be DENIED.                           Not Reported in F.Supp.2d, 2006 WL 1133247

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                                                                two unidentified “Doe” defendants, as originally filed that
                   2012 WL 4486086                              pleading asserted an array of claims stemming from incidents
      Only the Westlaw citation is currently available.         occurring at two separate correctional facilities.
               United States District Court,
                     N.D. New York.                             In response to plaintiff's complaint the sole remaining named
                                                                defendant has moved for dismissal of all claims against him
                Benji D. REED, Plaintiff,                       for failure to state a plausible cause of action upon which
                           v.                                   relief may be granted. The plaintiff, in turn, has applied for
              John DOE No. 1; John Doe No                       leave to amend his complaint, and for appointment of counsel
                                                                to represent him pro bono. For the reasons set forth below,
                2; and M. Soto, Defendants.
                                                                I recommend that defendant's motion to dismiss be granted,
        Civil Action No. 9:11–CV–0250 (TJM/DEP).                and will deny plaintiff's application for leave to amend, on the
                              |                                 basis of futility in light of my recommendation regarding the
                       July 26, 2012.                           legal sufficiency of his existing claims, as well as his request
                                                                for assignment of counsel.
Attorneys and Law Firms

Benji D. Reed, Elmira, NY, pro se. 1                            I. BACKGROUND 2
                                                                2
1                                                                     The following recitation is drawn principally from
       The court's records list the plaintiff as being
                                                                       plaintiff's amended complaint, the contents of
       confined in the Southport Correctional Facility
                                                                       which have been accepted as true for purposes of
       “Southport”, based upon a change of address
                                                                       the pending motion. See Erickson v. Pardus, 551
       notice filed by Reed on February 22, 2012.
                                                                       U.S. 89, 94, 127 S.Ct. 2197, 2200, 167 L.Ed.2d
       See Dkt. No. 20. According to publically
                                                                       1081 (2007) (citing Bell Atl. Corp. v. Twombly,
       available information, however, Reed is now being
                                                                       550 U.S. 544, 555–56, 127 S.Ct. 1955, 1965,
       held in the Elmira Correctional Facility. See
                                                                       167 L.Ed.2d 929 (2007)); see also Cooper v.
       http//nysdoccslookup.doccs.ny.gov. GCA00P00/
                                                                       Pate, 378 U.S. 546, 546, 84 S.Ct. 1733, 1734,
       WINQ130 (screenshot attached. Plaintiff is
                                                                       12 L.Ed.2d 1030 (1964). In light of the severance
       reminded of his obligation under the court's rules
                                                                       and transfer of plaintiff's claims arising out of his
       to notify the court and defendants' counsel of
                                                                       confinement at the Southport Correctional Facility
       any further address changes in order to facilitate
                                                                       to the Western District of New York, I have
       communications with him. See N.Y.N.D.L.R.
                                                                       included only the facts relevant to his remaining
       10.1(c)(2).
                                                                       claims, all of which involve events at the Eastern
Hon. Eric T. Schneiderman, Attorney General of the State of            Correctional Facility (“Eastern”).
New York, James Seaman, Esq., Assistant Attorney General,
                                                                Plaintiff is a prison inmate entrusted to the custody of the
Albany, NY, for Defendant Soto.
                                                                New York State Department of Corrections and Community
                                                                Supervision (“DOCCS”). See generally Complaint (Dkt. No.
                                                                1). At the times relevant to the claims remaining in the action,
      REPORT, RECOMMENDATION AND ORDER                          he was designated to Eastern, located in Napanoch, New
                                                                York. Id. at ¶ 3.
DAVID E. PEEBLES, United States Magistrate Judge.

 *1 Plaintiff Benji D. Reed, a New York State prison            The events giving rise to plaintiff's claims were set in motion
inmate who is proceeding pro se and in forma pauperis,          on September 14, 2010, when Reed developed an illness
has commenced this action pursuant to 42 U.S.C. § 1983          he attributed to food consumed in the mess hall at Eastern.
against various prison officials, alleging deprivation of his   Complaint (Dkt. No. 1) ¶¶ 32–37. Plaintiff maintains that the
civil rights. While the scope of his complaint has been         food causing his intestinal issues was known by defendant
winnowed, and it now raises only claims of cruel and unusual    John Doe No. 1 to have been contaminated, and should have
punishment and unlawful retaliation against one named and       been inspected by defendant John Doe No. 2 prior to being
                                                                served to the inmates. Complaint (Dkt. No. 1) ¶¶ 41–42.


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                                                                         (Pooler, D.J. & Homer, M.J.) (citing, inter alia,
Plaintiff was initially treated on the following day at                  Green v. Bauvi, 46 F.3d 189, 192 (2d Cir.1995))
the facility's medical clinic, along with several other                  (Copies of all unreported decisions cited in this
affected inmates, and given “dymotabs” to address the                    document have been appended for the convenience
condition. Complaint (Dkt. No. 1) ¶ 38. The medication was               of the pro se plaintiff.). Inmate conditions while
subsequently discontinued on that same day, however, and                 keeplocked are substantially the same as in the
plaintiff was confined to his cell and placed on a water diet            general population, the primary exception being
for one day. Id. at ¶¶ 39–40.                                            that keeplocked inmates do not leave their cells
                                                                         for out-of-cell programs, and are usually allowed
While at Eastern, plaintiff was designated to undergo alcohol            less time out of their cells on the weekends. Lee v.
and substance abuse treatment in a program (“ASAT”)                      Coughlin, 26 F.Supp.2d 615, 628 (S.D.N.Y.1998).
overseen by defendant M. Soto, a counselor at the facility.              [Editor's Note: Attachments of Westlaw case copies
See Complaint (Dkt. No. 1) ¶¶ 6, 31. Based apparently                    deleted for online display.]
upon his absence from ASAT treatment while confined
                                                                  4
to his cell due to illness, plaintiff received a misbehavior             Plaintiff's opposition memorandum also intimates
report authored by defendant M. Soto accusing him of lying               that he lost good time credits as a result of the
regarding his location on September 15, 2010, after being                relevant events. See Plaintiff's Memorandum (Dkt.
asked why he did not appear for ASAT treatment, and for                  No. 18) at p. 6 of 18. There is no factual support
failing to follow facility rules regarding attendance in the             for this statement, however, in either plaintiff's
program. Complaint (Dkt. No. 1) ¶ ¶ 46–47. At a subsequent               complaint or the attached exhibits.
disciplinary hearing conducted to address the accusations set     Plaintiff was subsequently transferred out of Eastern and into
forth in the misbehavior report, however, the charges were        the Southport Correctional Facility, located in Pine City, New
dismissed. Id. at ¶ 49.                                           York, in December 2010. Complaint (Dkt. No. 1) ¶ 71.

 *2 Following plaintiff's return to the ASAT program he was
called into defendant Soto's office and, after a conversation     II. PROCEDURAL HISTORY
during which Reed refused to discuss the conviction that led      Plaintiff commenced this action on March 8, 2011.
to his incarceration, he was forced by Soto to sign a refusal     Complaint (Dkt. No. 1). Plaintiff's complaint named the
to participate in ASAT training. Id. at ¶¶ 50–56. Plaintiff       two Doe defendants, M. Soto, and seven corrections
was then removed from the ASAT program and escorted to            employees assigned to Southport as defendants, and asserted
his cell, where he remained in keeplock pending a hearing         claims under the Eighth Amendment to the United States
stemming from the issuance of a new misbehavior report            Constitution, the Americans With Disabilities Act, 42 U.S.C.
                                                                  § 12,101 et seq., and section 504 of the Rehabilitation
alleging his refusal to participate in the ASAT program. 3
                                                                  Act of 1973, 29 U.S.C. § 794, additionally setting forth a
Id. at ¶¶ 57–61. At a subsequent hearing, conducted on
                                                                  pendent claim of negligence. By order issued on August 2,
October 12, 2010, Reed was exonerated of all charges and was
                                                                  2011, based upon an initial review of plaintiff's complaint
permitted to return to the ASAT program. Id. at ¶¶ 64–65. As
                                                                  and accompanying in forma pauperis application, Senior
a result of issuance of the two misbehavior reports, while at
                                                                  District Judge McAvoy ordered all claims arising from events
Eastern plaintiff was keeplock-confined for a total of fourteen
                                                                  occurring at Southport severed, and directed that those claims
days. 4 See Plaintiff's Memorandum (Dkt. No. 18) p. 6 of 18.      be transferred to the Western District of New York. Dkt. No. 4.

3                                                                 In lieu of answering plaintiff's complaint defendant Soto, the
       Keeplock is a form of confinement restricting an
       inmate to his or her cell, separating the inmate from      sole remaining named defendant in this action, moved on
       others, and depriving the inmate of participation          October 17, 2011 for dismissal of plaintiff's claims, pursuant
       in normal prison activities. Gittens v. LeFevre, 891       to Rule 12(b)(6) of the Federal Rules of Civil Procedure.
       F.2d 38, 39 (2d Cir.1989); Warburton v. Goord, 14          Dkt. No. 11. In his motion defendant argues that plaintiff's
       F.Supp.2d 289, 293 (W.D.N.Y.1998) (citing Gittens          complaint fails to allege a plausible claim upon which relief
       ); Tinsley v. Greene, No. 95–CV–1765, 1997 WL              may be granted, and that in any event he is entitled to
       160124, at *2 n. 2 (N.D.N.Y. Mar. 31, 1997)



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qualified immunity from suit. Id. Plaintiff has since submitted   complaint, they must be supported by factual allegations.”
a response in opposition to defendant's motion. Dkt. No. 18.      Ashcroft, 129 S.Ct. at 1950.

Following the filing of defendant's dismissal motion, plaintiff   To withstand a motion to dismiss, a complaint must plead
moved on December 7, 2011 for leave to file an amended            sufficient facts which, when accepted as true, state a claim
complaint, pursuant to Rule 15(a) of the Federal Rules of         that is plausible on its face. Ruotolo v. City of New York,
Civil Procedure. Dkt. No. 14. In his motion Reed asserts that     514 F.3d 184, 188 (2d Cir.2008) (citing Twombly, 550 U.S. at
amendment is sought to permit elimination of the claims and       570, 127 S.Ct. at 1974). As the Second Circuit has observed,
references to the defendants affected by the transfer to the      “[w]hile Twombly does not require heightened fact pleading
Western District of New York, and to clarify and expand upon      of specifics, it does require enough facts to ‘nudge [plaintiff's]
facts set forth in his original complaint relating to events at   claims across the line from conceivable to plausible.’ “ In
Eastern. See Motion for Leave to Amend (Dkt. No. 14) ¶¶           re Elevator Antitrust Litig., 502 F.3d 47, 50 (2d Cir.2007)
1–2. Plaintiff has also requested appointment of counsel to       (quoting Twombly, 550 U.S. at 570, 127 S.Ct. at 1974).
represent him in the action, pro bono. Dkt. No. 15. Defendant
Soto has since responded in opposition to those motions,          In deciding a Rule 12(b)(6) dismissal motion, the court must
by letter dated January 6, 2011 from his counsel, Megan A.        accept the material facts alleged in the complaint as true and
Brown, Esq., arguing that the motion for leave to amend           draw all inferences in favor of the non-moving party. Cooper
should be denied as futile for the same reasons as set forth in   v. Pate, 378 U.S. 546, 546, 84 S.Ct. 1723, 1734 (1964);
his dismissal motion, and taking no position with regard to       Miller v. Wolpoff & Abramson, LLP, 321 F.3d 292, 300 (2d
plaintiff's request for appointment of counsel. Dkt. No. 17.      Cir.2003), cert. denied, 540 U.S. 823, 124 S.Ct. 153, 157
                                                                  L.Ed.2d 44 (2003); Burke v. Gregory, 356 F.Supp.2d 179,
 *3 Defendant's dismissal motion, which is now ripe for           182 (N.D.N.Y.2005) (Kahn, J.). The burden undertaken by a
determination, has been referred to me for the issuance of a      party requesting dismissal of a complaint under Rule 12(b)
report and recommendation, pursuant to 28 U.S.C. § 636(b)         (6) is substantial; the question presented by such a motion
(1)(B) and Northern District of New York Rule 72.3(c). See        is not whether the plaintiff is likely ultimately to prevail,
Fed.R.Civ.P. 72(b). The remaining two motions brought by          “ ‘but whether the claimant is entitled to offer evidence to
the plaintiff fall within my non-consensual jurisdiction, and     support the claims.” Log On America, Inc. v. Promethean
therefore will be addressed in the form of an order from this     Asset Mgmt. L.L.C., 223 F.Supp.2d 435, 441 (S.D.N.Y.2001)
court.                                                            (quoting Gant v. Wallingford Bd. of Educ., 69 F.3d 669, 673
                                                                  (2d Cir.1995) (citations and quotations omitted)).

III. DISCUSSION                                                    *4 When assessing the sufficiency of a complaint against
                                                                  this backdrop, particular deference should be afforded to a pro
   A. Standard of Review
                                                                  se litigant whose complaint merits a generous construction
Defendant's motion to dismiss a complaint, brought pursuant
                                                                  by the court when determining whether it states a cognizable
to Rule 12(b)(6) of the Federal Rules of Civil Procedure,
                                                                  cause of action. Erickson v. Pardus, 551 U.S. 89, 94, 127
calls upon a court to gauge the facial sufficiency of that
                                                                  S.Ct. 2197, 2200, 167 L.Ed.2d 1081 (2007) (“ ‘[A] pro
pleading, utilizing as a backdrop a pleading standard which,
                                                                  se complaint, however inartfully pleaded, must be held to
though unexacting in its requirements, “demands more
                                                                  less stringent standards than formal pleadings drafted by
than an unadorned, the-defendant-unlawfully-harmed me
                                                                  lawyers”) (quoting Estelle v. Gamble, 429 U.S. 97, 106, 97
accusation” in order to withstand scrutiny. Ashcroft v. Iqbal,
                                                                  S.Ct. 285, 292, 50 L.Ed.2d 251 (1976) (internal quotations
556 U.S. 662, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009)
                                                                  omitted)); Davis v. Goord, 320 F.3d 346, 350 (2d Cir.2003)
(citing Bell Atlantic Corp. v. Twombly, 550 U.S. 554, 555,
                                                                  (citation omitted); Donhauser v. Goord, 314 F.Supp.2d 119,
127 S.Ct. 1955, 167 L.Ed.2d 929, ––––, (2007)). Rule 8(a)
                                                                  121 (N.D.N.Y.2004) (Hurd, J.).
(2) of the Federal Rules of Civil Procedure requires that a
complaint contain “a short and plain statement of the claim
showing that the pleader is entitled to relief.” Fed.R.Civ.P.       B. Plaintiff's Retaliation Claim
8(a)(2). While modest in its requirement, that rule commands      Plaintiff alleges that defendant Soto, motivated by Reed's
that a complaint contain more than mere legal conclusions;        use of the medical facilities at Eastern, issued two false
“[w]hile legal conclusions can provide the framework of a         misbehavior reports to him in September 2010. In response,


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Soto argues that plaintiff's vague and conclusory allegations      F.3d 857, 862 (2d Cir.1997); Freeman v. Rideout, 808 F.2d
offered in support of this retaliation claim are insufficient to   949, 951 (2d Cir.1986), cert. denied, 485 U.S. 982, 108 S.Ct.
survive a motion to dismiss.                                       1273, 99 L.Ed.2d 484 (1988)). The further assertion that the
                                                                   false misbehavior report was prompted by the accused inmate
When adverse action is taken by prison officials against           having engaged in protected activity, however, can suffice to
an inmate, motivated by the inmate's exercise of a right           support a cognizable claim of unlawful retaliation. Franco,
protected under the Constitution, including the provisions         854 F.2d at 589.
of the Eighth Amendment, a cognizable retaliation claim
under 42 U.S.C. § 1983 lies. See Franco v. Kelly, 854              5       In his motion defendant Soto has assumed, for the
F.2d 584, 588–90 (2d Cir.2008). Claims by inmates that
                                                                           sake of argument, that plaintiff's resort to seeking
adverse actions taken by prison workers are, of course, easily
                                                                           medical treatment within the facility constituted
incanted, and inmates often attribute adverse action, including
                                                                           protected activity sufficient to trigger the First
the issuance of misbehavior reports, to retaliatory animus;
                                                                           Amendment's protection against retaliation, and I
courts must therefore approach such claims “with skepticism
                                                                           will do likewise.
and particular care.” Dawes v. Walker, 239 F.3d 489, 491
(2d Cir.2001) (citing Flaherty v. Coughlin, 713 F.2d 10, 13        Having assumed plaintiff's ability to establish that he engaged
(2d Cir.1983)), overruled on other grounds, Swierkiewicz v.        in protected activity, the court's focus turns next to the
Sorema N.A., 534 U.S. 506, 122 S.Ct. 992, 152 L.Ed.2d 1            question of whether he has sufficiently alleged that he
(2002); Davis, 320 F.3d at 352 (same).                             experienced adverse action at the hands of the defendant.
                                                                   In the prison context, “[o]nly retaliatory conduct that would
In order to state a prima facie claim under section 1983 for       deter a similarly situated individual of ordinary firmness
retaliatory conduct, a plaintiff must advance non-conclusory       from exercising his or her constitutional rights constitutes an
allegations establishing that 1) the conduct at issue was          adverse action for a claim of retaliation.” Dawes, 239 F.3d
protected; 2) the defendants took adverse action against the       at 493; see also Davis, 320 F.3d at 353. The adverse action
plaintiff; and 3) there was a causal connection between the        inquiry is a contextual one. Davis, 320 F.3d at 353. Courts
protected activity and the adverse action-in other words, that     should bear in mind that “[p]risoners may be required to
the protected conduct was a “substantial or motivating factor”     tolerate more ... than average citizens, before a [retaliatory]
in the prison officials' decision to take action against the       action taken against them is considered adverse.” Id.
plaintiff. Mount Healthy City Sch. Dist. Bd. of Educ. v. Doyle,
429 U.S. 274, 287, 97 S.Ct. 568, 576, 50 L.Ed.2d 471 (1977);       The adverse action alleged by the plaintiff in support of
Dillon v. Morano, 497 F.3d 247, 251 (2d Cir.2007); Dawes,          his retaliation claim consists of the issuance of two false
239 F.3d at 492 (2d Cir.2001). If the plaintiff succeeds in        misbehavior reports. The filing of a false misbehavior report
carrying this burden, then to avoid liability the defendants       can qualify as an adverse action for purposes of a First
must show by a preponderance of the evidence that they             Amendment retaliation. See Gill v. Pidlypchak, 389 F.3d 379,
would have taken action against the plaintiff “even in the         384 (2d Cir.2004). The false misbehavior reports at issue
absence of the protected conduct.” Mount Healthy, 429 U.S.         led to plaintiff's keeplock cell confinement for a period of
at 287, 97 S.Ct. at 576. If taken for both proper and improper     fourteen days. At this early procedural juncture, I am unable
reasons, state action may be upheld if the action would have       to conclude that this allegation is insufficient to support a
been taken based on the proper reasons alone. Graham v.            plausible finding of adverse action. See Edwards v. Horn,
Henderson, 89 F.3d 75, 79 (2d Cir.1996) (citations omitted).       No.2012 WL 76012, at * 16 (S.D.N.Y. Mar. 8, 2012) (citing
                                                                   Gill, 389 F.3d at 384) (false misbehavior report and placement
 *5 Affording plaintiff the deference which he is due as a pro     in keeplock constitutes adverse action)).
se litigant and broadly construing his complaint, it appears
that plaintiff is claiming the September misbehavior reports       The third requirement for pleading a cognizable retaliation
were issued in retaliation for his having sought medical           claim involves linking the protected activity and adverse
                                                                   action alleged. It is in connection with this element that
treatment due to a sudden illness. 5 As defendant correctly
                                                                   plaintiff's retaliation claim fails. In cases involving claims of
argues, the mere allegation that a false misbehavior report
                                                                   retaliation based on the filing of allegedly false misbehavior
has been issued to an inmate, standing alone, does not rise to
                                                                   reports, “[t]he difficulty lies in establishing a retaliatory
level of constitutional significance. Boddie v. Schnieder, 105
                                                                   motive.” Barclay v. New York, 477 F.Supp.2d 546, 558


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(N.D.N.Y.2007). When evaluating whether a misbehavior              Defendant also interprets plaintiff's complaint as alleging that
report is the product of retaliatory animus, an analysis most      he was generally harassed by Soto, and that Soto stated to
typically undertaken on a motion for summary judgment,             other inmates that Reed was a monster with whom they
courts generally look to several factors as bearing upon           should not associate. These allegations appear to be calculated
any potential nexus between the protected conduct and the          to state a violation of his Eighth Amendment's right to be
misbehavior report, including “temporal proximity, prior           free from cruel and unusual punishment. Reed's complaint,
good discipline, finding of not guilty at the disciplinary         however, fails to allege any conduct that would warrant
hearing, and statements by defendants as to their motives.” Id.    Eighth Amendment protection. As a general matter, mere
(citations omitted); see also Rivera v. Goord, 119 F.Supp.2d       verbal harassment, including that accompanied by the use
327, 339 (S.D.N.Y.2000).                                           of profanity, without any corresponding physical injury does
                                                                   not support a cognizable claim under section 1983, however
 *6 In this instance, plaintiff's complaint is lacking in any      boorish and unprofessional the alleged conduct may be. See
factual allegations that would establish the requisite nexus       Purcell v. Coughlin, 790 F.2d 263, 265 (2d Cir.1986); Gill
between his visit to the prison infirmary and defendant Soto's     v. Hoadley, 261 F.Supp.2d 113, 129 (N.D.N.Y.2003); Aziz
issuance of misbehavior reports. Indeed, in his complaint          Zarif Shabazz v. Pico, 994 F.Supp. 460, 474 (S.D.N.Y.1998).
Reed hypothesizes that Soto disbelieved his explanation            Nor do threats amount to a constitutional violation. Malsh
concerning his whereabouts at the time of his absence from         v. Austin, 901 F.Supp. 757, 763 (S.D.N.Y.1995). Because
the ASAT program, prompting him to issue the misbehavior           plaintiff's complaint lacks allegations that would plausibly
reports. See, e.g., Complaint (Dkt. No. 1) ¶¶ 54, 65.              support an Eighth Amendment violation claim, I recommend
This allegation by the plaintiff suggests a non-retaliatory        dismissal of that cause of action, to the extent that his
motivation for defendant's issuance of the misbehavior             complaint may properly be construed as raising such a claim.
reports at issue.

In light of the plaintiff's failure to state facts sufficient         D. Leave to Amend
to satisfy this critical element of a retaliation claim, I          *7 Following the filing of plaintiff's dismissal motion,
recommend that the defendant's motion be granted, and              plaintiff sought leave to amend his complaint to flesh out
that plaintiff's retaliation cause of action under the First       certain factual allegations in support of his claims. See Dkt.
Amendment be dismissed.                                            No. 14. At this juncture the court must determine whether to
                                                                   permit the amendment now sought, and additionally whether
                                                                   the plaintiff should be granted leave to amend in any event in
   C. Verbal Harassment/False Misbehavior Report Claims            an effort to cure the deficiencies perceived with regard to his
Liberally construed, plaintiff's complaint could be interpreted    existing claims against defendant Soto.
as also asserting a claim, independent of retaliation, under the
Eighth Amendment for harassment and for issuance of false
misbehavior reports.                                                  1. Leave to Amend Generally
                                                                   Motions for leave to amend are governed by Rule 15(a) of the
As was previously observed, the mere issuance of a false           Federal Rules of Civil Procedure which provides, in pertinent
misbehavior report, standing alone, is insufficient to support a   part, that unless amendment as a matter of right is permitted-
cognizable claim under the Eighth Amendment or otherwise           under circumstances not applicable here-a party may amend
on behalf of a prison inmate; a “prison inmate has no general      its pleading “only with the opposing party's written consent
constitutional right to be free from being falsely accused in a    or the court's leave. The court should freely give leave when
misbehavior report.” Boddie v. Schnieder, 105 F.3d 857, 862        justice so requires.” Fed.R.Civ.P. 15(a). Under Rule 15(a),
(2d Cir.1997) (citing Freeman v. Rideout, 808 F.2d 949, 951        leave to amend ordinarily should be liberally granted absent
(2d Cir.1986), cert. denied, 485 U.S. 982, 108 S.Ct. 1273,         undue delay, bad faith, dilatory tactics, undue prejudice in
99 L.Ed.2d 484 (1988)). As such, plaintiff's claim related to      being served with the proposed pleading, or futility. Foman v.
the filing of a false misbehavior report, independent of his       Davis, 371 U.S. 178, 182, 83 S.Ct. 227, 230, 9 L.Ed.2d 222
First Amendment retaliation cause of action, is subject to         (1962); Elma RT v. Landesmann Int'l Mktg. Corp., No. 98–
dismissal.                                                         CIV.–662, 2000 WL 297197, at *3 (S.D.N.Y. Mar. 22, 2000)
                                                                   (citing Foman ).




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Notwithstanding the familiar and well-accepted precept that                 (citing, inter alia, McCleskey v. Kemp, 481 U.S.
leave to amend should be granted freely and is typically                    279, 292, 107 S.Ct. 1756, 1767, 95 L.Ed.2d
permitted, if a claim contained in a proposed amended                       262 (1987)). The plaintiff must also show that
complaint would be vulnerable in the face of a Rule 12(b)                   the disparity in treatment “cannot survive the
(6) motion, then permitting amendment would be an act of                    appropriate level of scrutiny which, in the prison
futility that should not be sanctioned. See, e.g., Saxholm AS               setting, means that he must demonstrate that
v. Dynal, Inc., 938 F.Supp. 120, 124 (E.D.N.Y.1996); In re                  his treatment was not reasonably related to
Boesky Sec. Litig., 882 F.Supp. 1371, 1379 (S.D.N.Y.1995).                  [any] legitimate penological interests.” Phillips
If, on the other hand, a proposed claim sets forth facts and                v. Girdich, 408 F.3d 124, 129 (2d Cir.2005)
circumstances that may entitle the pleader to relief, then                  (quoting Shaw v. Murphy, 532 U.S. 223, 225,
futility is not a proper basis on which to deny the right to                121 S.Ct. 1475, 149 L.Ed.2d 420 (2001) (internal
amend. Saxholm, 938 F.Supp. at 124 (citing Allstate Ins. v.                 quotation marks omitted)).
Administratia Asigurarilor De Stat, 875 F.Supp. 1022, 1029                  While plaintiff's complaint alleges that he
(S.D.N.Y.1995) and Mathon v. Marine Midland Bank, N.A.,                     was treated differently than another inmate,
875 F.Supp. 986, 1003 (E.D.N.Y.1995) (leave to replead                      conspicuously absent from his proposed
granted where court could not say that under no circumstances               amended complaint is the allegation of any
would proposed claims provide a basis for relief)).                         fact plausibly suggesting that the difference
                                                                            in treatment was the result of an intentional
The court has reviewed plaintiff's proposed amended                         or purposeful discrimination directed at an
complaint, and finds that it suffers from the same deficiencies             identifiable or suspect class. For this reason, I
as are noted above with respect to his initial complaint.                   find that the proposed amended complaint does
Accordingly, plaintiff's motion for leave to file the proposed              not state a plausible equal protection claim.
amended complaint accompanying his motion will be denied
on basis of futility. 6 Ruffolo v. Oppenheimer & Co., 987            2. Leave to Amend to Cure Perceived Deficiencies
F.2d 129, 131 (2d Cir.1993) (citations omitted); accord Brown      *8 Ordinarily, a court should not dismiss a complaint filed
v. Peters, 95–CV–1641, 1997 WL 599355, at *1 (N.D.N.Y.            by a pro se litigant without granting leave to amend at least
Sep.22, 1997) (Pooler, J.) (“[T]he court need not grant leave     once if there is any indication that a valid claim might be
to amend where it appears that amendment would prove to be        stated. Branum v. Clark, 927 F.2d 698, 704–05 (2d Cir.1991)
unproductive or futile.”) (citation omitted).                     (emphasis added); see also Fed.R.Civ.P. 15(a) (leave to amend
                                                                  “shall be freely given when justice so requires”); see also
6                                                                 Mathon, 875 F.Supp. at 1003 (leave to replead granted where
       In his proposed amended complaint plaintiff seeks
                                                                  court could not say that under no circumstances would
       to add a claim for denial of equal protection,
                                                                  proposed claims provide a basis for relief). The court must
       alleging that because he was issued a misbehavior
                                                                  next determine whether plaintiff is entitled to the benefit of
       report for exercising his right to seek medical care
                                                                  this general rule, given the procedural history of the case.
       while another inmate was permitted to attend the
       medical clinic, his right to equal protection was
                                                                  I am unable to conclude that if given the opportunity plaintiff
       denied. See Proposed Amended Complaint (Dkt.
                                                                  nonetheless would be unable to set forth allegations sufficient
       No. 14–1) ¶ 60.
                                                                  to avoid dismissal of his claims at this early stage in the
          The Equal Protection Clause directs state actors
                                                                  litigation. If he opts to amend, however, the plaintiff is
          to treat similarly situated people alike. See City
                                                                  advised that the law requires that “complaints relying on
          of Cleburne, Texas v. Cleburne Living Ctr.,
                                                                  the civil rights statutes are insufficient unless they contain
          473 U.S. 432, 439, 105 S.Ct. 3249, 3254, 87
                                                                  some specific allegations of fact indicating a deprivation
          L.Ed.2d 313 (1985). To prove a violation of
                                                                  of rights, instead of a litany of general conclusions that
          the Equal Protection Clause, a plaintiff must
                                                                  shock but have no meaning.” Hunt v. Budd, 895 F.Supp. 35,
          demonstrate that he or she was treated differently
                                                                  38 (N.D.N.Y.1995) (McAvoy, C.J.) (citing Barr v. Abrams,
          than others similarly situated as a result of
                                                                  810 F.2d 358, 363 (2d Cir.1987) (other citations omitted));
          intentional or purposeful discrimination directed
                                                                  Pourzandvakil v. Humphry, No. 94–CV–1594, 1995 U.S.
          at an identifiable or suspect class. See Giano v.
                                                                  Dist. LEXIS 7136, at *24–25 (N.D.N.Y. May 22, 1995)
          Senkowski, 54 F.3d 1050, 1057 (2d Cir.1995)


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(Pooler, D.J.) (citation omitted). Such an amended complaint                    any special reason in th[e] case why
will replace the existing second amended complaint, and                         appointment of counsel would be more
therefore must be a wholly integrated and complete pleading                     likely to lead to a just determination.
that does not rely upon or incorporate by reference any
pleading or document previously filed with the court. See
Harris v. City of N.Y., 186 F.3d 243, 249 (2d Cir.1999)            Id. at 61–62; see also Terminate Control Corp. v. Horowitz,
(citing Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1128     28 F.3d 1335, 1341 (2d Cir.1994) (citing Hodge). As can
(2d Cir.1994)); see also Fed.R.Civ.P. 10(a). The proposed          be seen, of the criteria enunciated by the Second Circuit to
amended complaint also specifically allege facts indicating        be considered when determining whether assignment of pro
the involvement of each of the named defendants in the             bono counsel is appropriate, the most important is the merits
constitutional deprivations alleged, providing sufficient detail   —that is, “whether the indigent's position [is] likely to be of
to establish the they were tangibly connected to those             substance.” Cooper, 877 F.2d at 172 (citations and internal
deprivations. See Bass v. Jackson, 790 F.2d 260, 263 (2d           quotations omitted). Where a plaintiff does not provide a
Cir.1986).                                                         court with evidence, as opposed to mere allegations, relating
                                                                   to his or her claims, that party does not meet this threshold
                                                                   requirement. See Herman v. Runyon, No. 96 CIV. 6080, 1997
   E. Appointment of Counsel
                                                                   WL 118379, at *1 (S.D.N.Y. Mar. 17, 1997).
In addition to seeking leave to amend, plaintiff has applied to
the court for appointment of counsel. As a threshold matter,
                                                                   Each case must be decided on its own facts. Velasquez v.
prior to requesting appointment of pro bono counsel, a party
                                                                   O'Keefe, 899 F.Supp. 972, 974 (N.D.N.Y.1995) (McAvoy, J.)
must first demonstrate that he or she has been unable to obtain
                                                                   (citing Hodge, 802 F.2d at 61). Although the Constitution
counsel through the private sector or public interest firms.
                                                                   guarantees indigent litigants “meaningful access” to the
Cooper v. A. Sargenti Co., Inc., 877 F.2d 170, 173–74 (2d
                                                                   courts, it does not entitle all such parties to receive the benefit
Cir.1989) (quoting Hodge v. Police Officers, 802 F.2d 58,
                                                                   of pro bono representation. Hodge, 802 F.2d at 60. While,
61 (2d Cir.1986)). Given that plaintiff has not provided the
                                                                   as was previously indicated, the appointment of counsel to
court with information regarding any efforts by him to obtain
                                                                   represent indigent parties in civil suits is authorized by statute,
counsel, his request is subject to denial on this basis alone.
                                                                   when that authority is exercised the court is required to call
                                                                   upon attorneys to donate their time pro bono to the benefit
Turning to the merits of his application, I find that Reed
                                                                   of indigent litigants and the court. Accordingly, in deference
has not demonstrated entitlement to appointment of counsel
                                                                   to the limited resources available to the court to serve the
under the applicable statute. 28 U.S.C. § 1915(e)(1) affords
                                                                   interests of the many indigent litigants who pursue claims
district courts broad—though not limitless—discretion in
                                                                   before it, and recognizing the “thankless burden” associated
determining whether to appoint counsel to represent indigent
                                                                   with such assignments, Miller v. Pleasure, 296 F.2d 283, 285
civil litigants. Hodge, 802 F.2d at 60. In Hodge, the Second
                                                                   (2d Cir.1961), cert. denied, 370 U.S. 964, 82 S.Ct. 1592, 8
Circuit noted that when exercising that discretion the court
                                                                   L.Ed.2d 830 (1962), courts should not grant such applications
                                                                   indiscriminately, but instead must exercise good judgment
                                                                   and restraint in doing so. Cooper, 877 F.2d at172.
              *9 should first determine whether
             the indigent's position seems likely                  In this instance, plaintiff has failed to make a sufficient
             to be of substance. If the claim                      showing to warrant appointment of counsel to represent him
             meets this threshold requirement,                     at this early stage in the litigation. Plaintiff's application for
             the court should then consider the                    appointment of counsel will therefore be denied, without
             indigent's ability to investigate the
                                                                   prejudice to renewal. 7
             crucial facts, whether conflicting
             evidence implicating the need for
                                                                   7
             crossexamination will be the major                            In accordance with the customary practice of this
             proof presented to the fact finder, the                       court, once a case passes through the discovery and
             indigent's ability to present the case,                       motion phases and becomes trial ready, pro bono
             the complexity of the legal issues and                        counsel is usually appointed for an indigent pro



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       se inmate litigant to assist in preparation for and               357358, at * 2 (W.D.N.Y. Jan.24, 2005) (citing
       during the trial, either as attorney of record or as              Valentin v. Dinkins, 121 F.3d 72, 76 (2d Cir.1997))
       standby counsel.                                                  (district court should assist pro se incarcerated
                                                                         litigants with their inquiry into the identities of
IV. SUMMARY AND RECOMMENDATION                                           unknown defendants and “may pursue any course
The claims now remaining before this court, following                    that it deems appropriate to a further inquiry into
severance and transfer of a portion of plaintiff's original              the identity” of the unknown defendant); Harvey
complaint to the Western District of New York, include                   v. Corrections Officer, 9:09–CV–0517 (N.D.N.Y.)
causes of action against two John Doe defendants arising                 (LEK/GHL) (order filed 6/1/09 permitting plaintiff
from plaintiff's alleged investigation of contaminated food,             to name superintendent as a defendant for purposes
as well as claims of retaliation, harassment, and cruel and              of service and discovery).
unusual punishment against defendant M. Soto. Because the          *10 Turning to plaintiff's pending motions, I conclude that
Doe defendants in this case have not yet been identified and      his motion for leave to amend should be denied, based
thus have not yet appeared in the action, the court has not       upon futility, but that he nonetheless should be afforded an
been called upon to gauge the sufficiency of plaintiff's claims   opportunity to further amend his complaint in an effort to
against those defendants. 8 Turning to plaintiff's claims         cure the deficiencies cited in this report and recommendation
against defendant Soto, based upon a review of the allegations    in connection with his allegations against defendant Soto. I
set forth in plaintiff's complaint, I recommend that all claims   further find, however, that he has failed to establish a basis
against defendant Soto be dismissed, with leave to replead,       for appointment of counsel to represent him, pro bono, at this
and find it unnecessary to address his alternative argument, to   early procedural juncture in this litigation.
the effect that he is entitled to qualified immunity from suit.
                                                                  Based upon the foregoing it is hereby respectfully,
8      Because only “persons” may act under color of
       state law, a complaint seeking money damages               RECOMMENDED that the motion of defendant M. Soto to
       pursuant to § 1983 must name one or more                   dismiss plaintiff's claims against him in this action (Dkt. No.
       individuals as defendants. See Walker v. State             11) be GRANTED, and that all claims against that defendant
       of Connecticut, No. 3:06CV165, 2006 WL                     be DISMISSED, with leave to file an amended complaint
       1981783, *2 (D.Conn.2006); Connor v. Hurley,               as directed above within thirty days from the date of the
       No. 00Civ.8354LTSAJP, 2004 WL 885828, at * 3               filing a decision and order acting upon my recommendation
       (S.D.N.Y.2004). It is not uncommon for a pro se            of dismissal; and it is further
       plaintiff to include a “John Doe” or other unknown
       defendants, together with named defendants in a            ORDERED, that plaintiff's motions for leave to amend (Dkt.
       complaint. Generally, in such cases the complaint          No. 14) and for appointment of counsel (Dkt. No. 15) be
       is served upon the named defendants, and the               DENIED in all respects, without prejudice to renewal.
       plaintiff is directed to pursue discovery to identify
       the John Doe(s) and to thereafter seek leave to            NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties
       amend the complaint to name them as defendants.            may lodge written objections to the foregoing report. Such
       In the event the plaintiff chooses to abandon his          objections shall be filed with the Clerk of the Court within
       claims against defendant Soto, leaving only the two        FOURTEEN days of service of this report. FAILURE
       “Doe” defendants in the case, I recommend the              TO SO OBJECT TO THIS REPORT WILL PRECLUDE
       court allow plaintiff to name the superintendent           APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed.R.Civ.P.
       of Eastern as a defendant—even though there is             6(a), 6(d), 72; Roland v. Racette, 984 F.2d 85 (2d Cir.1993).
       no suggestion of his or her personal involvement
       in the alleged constitutional violations—solely            It is hereby ORDERED that the clerk of the court serve a
       for the purpose of effecting service and so that           copy of this Report and Recommendation upon the parties in
       issue may be joined. In that event, once issue             accordance with this court's local rules.
       is joined, plaintiff may seek through discovery
       the identity of the John Doe defendant(s). See
       Peralta v. Doe, No. 04–CV–6559P, 2005 WL


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                                                                  Report–Recommendation and Order, pp. 18–20. Magistrate
                   2012 WL 4486085                                Judge Peebles denied Plaintiff's motion for appointment of
      Only the Westlaw citation is currently available.           counsel [Dkt. No. 15], without prejudice to renewal, because
               United States District Court,                      Plaintiff “failed to make a sufficient showing to warrant
                     N.D. New York.                               appointment of counsel to represent him at this early stage in
                                                                  the litigation.” Id. p. 25; see also id. pp. 22–25.
                  Benji D. REED, Plaintiff,
                             v.                                   Defendant Soto objects to the recommendation to the extent
               John DOE NO. 1; John Doe No                        that it recommends that Plaintiff be granted leave to file an
                                                                  amended complaint, arguing that Plaintiff already had ample
                2; and M. Soto, Defendants.
                                                                  opportunity to do so but failed to state a claim upon which
               No. 9:11–CV–0250 (TJM/DEP).                        relief can be granted. Def. Obj. [dkt. # 24]. Plaintiff objects
                              |                                   by asserting that the complaint does contain sufficient factual
                       Sept. 27, 2012.                            allegations to set forth a plausible claim of retaliation, or, in
                                                                  the alternative, he should be granted leave to file an amended
Attorneys and Law Firms                                           complaint to assert a retaliation claim. Pl. Obj. [dkt. # 26].
                                                                  He also argues that he should be appointed counsel “for the
Benji D. Reed, Elmira, NY, pro se.
                                                                  sole purpose of ascertaining the names of the two John Doe
James Seaman, New York State Attorney General, Albany,            defendants.” Id.
NY, for Defendants.
                                                                  II. STANDARD OF REVIEW
                                                                  When objections to a magistrate judge's report and
                  DECISION & ORDER                                recommendation are lodged, the district court makes a “de
                                                                  novo determination of those portions of the report or specified
THOMAS J. McAVOY, Senior District Judge.
                                                                  proposed findings or recommendations to which objection is
I. INTRODUCTION                                                   made.” See 28 U.S.C. § 636(b)(1)(C); see also United States
 *1 This pro se action brought pursuant to 42 U.S.C.              v. Male Juvenile, 121 F.3d 34, 38 (2d Cir.1997) (The Court
§ 1983 was referred by this Court to the Hon. David               must make a de novo determination to the extent that a party
E. Peebles, United States Magistrate Judge, for a Report          makes specific objections to a magistrate's findings.). “[E]ven
and Recommendation pursuant to 28 U.S.C. § 636(b) and             a pro se party's objections to a Report and Recommendation
Local Rule N.D.N.Y. 72.3(c). In his July 26, 2012 Report–         must be specific and clearly aimed at particular findings
Recommendation and Order, Magistrate Judge Peebles                in the magistrate's proposal, such that no party be allowed
recommended that “the motion of defendant M. Soto to              a second bite at the apple by simply relitigating a prior
dismiss plaintiff's claims against him in this action (Dkt. No.   argument.” Machicote v. Ercole, 2011 WL 3809920, at * 2
11) be GRANTED, and that all claims against that defendant        (S.D.N.Y., Aug.25, 2011) (citations and interior quotation
be DISMISSED, with leave to file an amended complaint as          marks omitted); DiPilato v. 7–Eleven, Inc., 662 F.Supp.2d
directed [in the ReportRecommendation and Order] within           333, 340 (S.D.N.Y.2009) (same). By the same reasoning, a
thirty days from the date of the filing of a decision and order   party may not advance new theories that were not presented to
acting upon my recommendation of dismissal.” Rep. Rec., p.        the magistrate judge in an attempt to obtain this second bite at
28 [dkt. # 22].                                                   the apple. See Calderon v. Wheeler, 2009 WL 2252241, at *1,
                                                                  n. 1 (N.D.N.Y. July 28, 2009); Green v. City of New York, 2010
In the Report–Recommendation and Order, Magistrate Judge          WL 148128, at * 4 (E.D.N.Y. Jan.14, 2010) (“[N]ew claims ...
Peebles also addressed Plaintiff's motions (1) for leave to       presented in the form of, or along with, ‘objections ...’ should
file an amended complaint [Dkt. No. 14], and (2) to appoint       be d ism issed.”) (citations omitted).
counsel [Dkt. No. 15]. Magistrate Judge Peebles denied
Plaintiff's motion for leave to amend because the proposed         *2 General or conclusory objections, or objections which
amended complaint submitted with the motion did not contain       merely recite the same arguments presented to the magistrate
allegations setting forth plausible claims. See July 26, 2012     judge, are reviewed for clear error. Farid v. Bouey, 554
                                                                  F.Supp.2d 301, 306 n. 2 (N.D.N.Y.2008); see Frankel v.


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N.Y.C., 2009 WL 465645 at *2 (S.D.N.Y. Feb.25, 2009). After                     (2d Cir.1994)); see also Fed.R.Civ.P. 10(a).
reviewing the report and recommendation, the Court may                          The proposed amended complaint [must]
“accept, reject, or modify, in whole or in part, the findings or                also specifically allege facts indicating the
recommendations made by the magistrate judge. The judge                         involvement of each of the named defendants
may also receive further evidence or recommit the matter to                     in the constitutional deprivations alleged,
the magistrate judge with instructions.” 28 U.S.C. § 636(b)                     providing sufficient detail to establish the they
(1)(C).                                                                         were tangibly connected to those deprivations.
                                                                                See Bass v. Jackson, 790 F.2d 260, 263 (2d
                                                                                Cir.1986).
III. DISCUSSION
With this standard in mind, and after having reviewed              Inasmuch as the re-pled claims must be accordance
Defendant's and Plaintiff's objections, the Court determines to    with the parameters set forth contained in the Report–
adopt the recommendation for the reasons stated in Magistrate      Recommendation and Order, see fn. 1, supra, the Court rejects
Judge Peebles's thorough report.                                   Defendant's objection to this portion of the recommendation.
                                                                   See Cortec Industries, Inc. v. Sum Holding L.P., 949 F.2d
Plaintiff's attempts to reargue the positions he took before       42, 48 (2d Cir.1991) ( “It is the usual practice upon granting
Magistrate Judge Peebles are insufficient. The Court               a motion to dismiss to allow leave to replead.”) (citations
finds no error in Magistrate Judge Peebles's analysis or           omitted), cert den., 503 U.S. 960, 112 S.Ct. 1561, 118 L.Ed.2d
determinations. Moreover, Plaintiff is granted leave to re-        208 (1992); Hughes v. Anderson, 2011 WL 5829658, at *
plead his claims, so he suffers no prejudice by dismissal.         1 (2d Cir. Nov.21, 2011) (“As a general matter (excepting
Should he elect to do so, Plaintiff should take care to re-plead   clearly frivolous cases), it is improper for a district court to
his retaliation claim with more particularity as to (1) what he    dismiss a complaint with prejudice for failure to state a claim
asserts was the retaliatory conduct, and (2) what he believes      without giving the plaintiff notice and an opportunity to be
                                                                   heard and to offer an amended pleading.”) (summary order)
was the motivation for this conduct. See Rep. Rec. p. 21. 1
                                                                   (citing Perez v. Ortiz, 849 F.2d 793, 797 (2d Cir.1988)).

1      As Magistrate Judge Peebles stated:                         To the extent that Plaintiff's objections challenge Magistrate
           If he opts to amend, however, the plaintiff             Judge Peebles's determinations to deny (1) leave to file
           is advised that the law requires that                   the previously proposed amended complaint, and (2)
           “complaints relying on the civil rights statutes        appointment of counsel, the objections are in the nature of an
           are insufficient unless they contain some               appeal. A district court judge reviewing a magistrate judge's
           specific allegations of fact indicating a               non-dispositive pretrial order may not modify or set aside any
           deprivation of rights, instead of a litany of           part of that order unless it is clearly erroneous or contrary
           general conclusions that shock but have no              to law. Labarge v. Chase Manhattan Bank, N.A., 1997 WL
           meaning.” Hunt v. Budd, 895 F.Supp. 35, 38              583122, at * 1 (N.D.N.Y. Sept.3, 1997) (Pooler, D.J.) (citing
           (N.D.N.Y.1995) (McAvoy, C.J.) (citing Barr              28 U.S.C. § 636(b)(1)(A); FED. R. CIV. P. 72(a); N.D.N.Y.
           v. Abrams, 810 F.2d 358, 363 (2d Cir.1987)              LOCAL RULE 72.1(b)); Mathias v. Jacobs, 167 F.Supp.2d
           (other citations omitted)); Pourzandvakil v.            606, 621–23 (S.D.N.Y.2001). Findings are clearly erroneous
           Humphry, No. 94–CV–1594, 1995 U.S.                      when the reviewing court is firmly convinced the lower court
           Dist. LEXIS 7136, at *24–25, 1995 WL                    decided an issue in error. Lanzo v. City of New York, 1999
           316935 (N.D.N.Y. May 22, 1995) (Pooler,                 WL 1007346, *2–3 (E.D.N.Y. Sept.21, 1999). This standard
           D.J.) (citation omitted). Such an amended               imposes a heavy burden on the objecting party, and only
           complaint will replace the existing second              permits reversal where the district court determines that the
           amended complaint, and therefore must be a              magistrate judge “abused his broad discretion over resolution
           wholly integrated and complete pleading that            of discovery matters.” Labarge, 1997 WL 583122, at * 1;
           does not rely upon or incorporate by reference          see Mathias, 167 F.Supp.2d at 621–23; Lanzo, 1999 WL
           any pleading or document previously filed               1007346, *3.
           with the court. See Harris v. City of N.Y., 186
           F.3d 243, 249 (2d Cir.1999) (citing Shields v.          *3 The Court finds no error or abuse of discretion by
           Citytrust Bancorp, Inc., 25 F.3d 1124, 1128             Magistrate Judge Peebles and, therefore, affirms Magistrate


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                                                                     (30) days from the date of the filing of this Decision and
Judge Peebles's decisions in these regards for the reason set
                                                                     Order.
forth in the Report–Recommendation and Order at pages 18–
20 and 22–25.
                                                                     To the extent that Plaintiff's objections can be construed as
                                                                     appeals from Magistrate Judge Peebles's determinations to
IV. CONCLUSION                                                       deny Plaintiff's motions to amend the complaint [Dkt. No.
For the reasons discussed above, the Court adopts Magistrate         14], and to appoint counsel [Dkt. No. 15], Magistrate Judge
Judge Peebles's July 26, 2012 Report–Recommendation and              Peebles's determinations are AFFIRMED.
Order in its entirety. Therefore, Defendant M. Soto's motion
to dismiss Plaintiff's claims against him in this action (Dkt.
                                                                     IT IS SO ORDERED.
No. 11) is GRANTED, and all claims against Defendant Soto
are DISMISSED. Plaintiff is granted leave to file an amended         All Citations
complaint. An amended complaint, if one is filed, must be
in accordance with the directions contained in the Report–           Not Reported in F.Supp.2d, 2012 WL 4486085
Recommendation and Order, and must be filed within thirty

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                                                                genuine dispute as to any material fact and the movant is
                    2012 WL 976035                              entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a).
      Only the Westlaw citation is currently available.         The party moving for summary judgment bears the initial
               United States District Court,                    burden of showing, through the production of admissible
                     N.D. New York.                             evidence, that no genuine issue of material fact exists.
                                                                Salahuddin v. Goord, 467 F.3d 263, 272–73 (2d Cir.2006).
                 Allen MORRIS, Plaintiff,                       Only after the moving party has met this burden is the
                          v.                                    nonmoving party required to produce evidence demonstrating
              Calvin RABSATT, P. Barr, Sgt.                     that genuine issues of material fact exist. Salahuddin, 467
                                                                F.3d at 272–73. The nonmoving party must do more than “rest
              McLear, J. Rupert, Defendants.
                                                                upon the mere allegations ... of the [plaintiff's] pleading” or
              No. 9:10–CV–0041 (MAD/GHL).                       “simply show that there is some metaphysical doubt as to the
                              |                                 material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio
                       Jan. 31, 2012.                           Corp., 475 U.S. 574, 585–86, 106 S.Ct. 1348, 89 L.Ed.2d 538
                                                                (1986). Rather, a dispute regarding a material fact is genuine
Attorneys and Law Firms                                         “if the evidence is such that a reasonable jury could return a
                                                                verdict for the nonmoving party.” Anderson v. Liberty Lobby,
Allen Morris, Sonyea, NY, pro se.
                                                                Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202
Hon. Eric T. Schneiderman, Attorney General for the State of    (1986). In determining whether a genuine issue of material 2
New York, William J. Mccarthy, Jr., Esq., of Counsel, Albany,   fact exists, the Court must resolve all ambiguities and draw
NY, for Defendants.                                             all reasonable inferences against the moving party. Major
                                                                League Baseball Props., Inc. v. Salvino, Inc., 542 F.3d 290,
                                                                309 (2d Cir.2008).
     REPORT–RECOMMENDATION AND ORDER
                                                                2       A fact is “material” only if it would have some
GEORGE H. LOWE, United States Magistrate Judge.                         effect on the outcome of the suit. Anderson, 477
                                                                        U.S. at 248.
 *1 This pro se prisoner civil rights action, commenced
pursuant to 42 U.S.C. § 1983, has been referred to me           In filing this motion for summary judgment, Defendants filed
for Report and Recommendation by the Honorable Mae A.           a Statement Pursuant to Rule 7.1(a)(3) in compliance with the
D'Agostino, United States District Judge, pursuant to 28        Local Rules of this District. 3 (Dkt. No. 34–1.) Plaintiff did
U.S.C. § 636(b) and Local Rule 72.3(c). Plaintiff Allen         not file a response to this Statement, in contravention of this
Morris alleges that Defendants falsely accused him of having
                                                                Rule. 4 Where a plaintiff has failed to properly respond to a
a weapon in his cell to retaliate against him for making
                                                                defendant's Statement of Material Facts (a/k/a its “Rule 7.1
complaints against the Cape Vincent Correctional Facility and
                                                                Statement”), the facts as set forth in that Rule 7.1 Statement
the Jefferson County Public Defender's Office. (Dkt. No. 9 ¶
6.) Currently pending before the Court is Defendants' motion    will be accepted as true 5 to the extent that (1) those facts are
for summary judgment pursuant to Federal Rules of Civil         supported by the evidence in the record, 6 and (2) the non-
Procedure 56. 1 (Dkt. No. 34.) For the reasons that follow, I   moving party, if he is proceeding pro se, has been specifically
recommend that Defendants' motion be granted.                   advised of the potential consequences of failing to respond to
                                                                the movant's motion for summary judgment. See Champion,
1                                                               76 F.3d at 486; cf . N.D.N.Y. L.R. 56.2 (imposing on movant
       Also pending is Plaintiff's motion to compel             duty to provide such notice to pro se opponent). The Court
       discovery and strike documents. (Dkt. No. 32.) It        notes that Defendants provided Plaintiff with this District's
       will be addressed below.                                 “Notification of the Consequences of Failing to Respond to a
                                                                Summary Judgment Motion.” (Dkt. No. 34 at 3. 7 )
I. LEGAL STANDARD GOVERNING MOTIONS FOR
SUMMARY JUDGMENT
                                                                3
Under Federal Rule of Civil Procedure 56, summary                       Local Rule 7.1(a)(3) provides, in part: “Any motion
judgment is warranted “if the movant shows that there is no             for summary judgment shall contain a Statement


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       of Material Facts. The Statement of Material
       Facts shall set forth, in numbered paragraphs,             II. FACTUAL BACKGROUND
       each material fact about which the moving party             *2 Plaintiff was, at the time of the events relevant to this
       contends there exists no genuine issue. Each fact          action, an inmate at Riverview Correctional Facility. (Dkt.
       listed shall set forth a specific citation to the record   No. 34–3 at 17:7–9. 8 ) On November 25, 2009, Defendant
       where the fact is established.”                            Correction Officer Rupert received a “snitch note” on his desk
                                                                  stating that Plaintiff had a weapon in his cube. (Dkt. No. 34–
4
       See N.D.N.Y. L.R. 7.1(a)(3) (“The opposing party           7 ¶ 6.) This was reported to Defendant Sergeant McLear, who
       shall file a response to the Statement of Material         directed Defendant Barr to conduct a pat frisk of Plaintiff and
       Facts. The non-movant's response shall mirror the          a search of his cube. (Dkt. No. 34–6 ¶ 7; Dkt. No. 34–7 ¶ 12.)
       movant's Statement of Material Facts by admitting          Defendant Barr carried out the pat frisk and search. (Dkt. No.
       and/or denying each of the movant's assertions in          34–6 ¶ 9.) During Defendant Barr's search of the cube, an item
       matching numbered paragraphs. Each denial shall            of contraband was discovered; it was a rolled-up can top with
       set forth a specific citation to the record where the      black electrical tape on one end. Id. ¶¶ 10–11. Defendant Barr
       factual issue arises.”).                                   notified Defendant McLear, who escorted Plaintiff first to
5                                                                 the infirmary and then to the Special Housing Unit (“SHU”).
       See N.D.N.Y. L.R. 7.1(a)(3) (“The Court shall
                                                                  (Dkt. No. 34–5 ¶¶ 9–10.) Defendant Barr wrote up an Inmate
       deem admitted any facts set forth in the Statement
                                                                  Misbehavior Report. (Dkt. No. 34–6 ¶ 14.)
       of Material Facts that the opposing party does not
       specifically controvert.” ) (emphasis in original).
                                                                  8      Citations to Plaintiff's deposition refer to the page
6
       See Vermont Teddy Bear Co., Inc. v. 1–800                         numbers of the transcript.
       Beargram Co., 373 F.3d 241, 244 (2d Cir.2004)
                                                                  Plaintiff alleges that Defendant Barr's actions were “clearly a
       (“[W]here the non-movant party chooses the
                                                                  set-up” because Defendant Rupert had the misbehavior report
       perilous path of failing to submit a response to
                                                                  on his desk before the search was conducted. (Dkt. No. 9 ¶
       a summary judgment motion, the district court
                                                                  6; Dkt. No. 34–3 at 16:20–25.) Plaintiff maintains that the
       may not grant the motion without first examining
                                                                  weapon did not belong to him. (Dkt. No. 34–3 at 9:1–6.)
       the moving party's submission to determine if
       it has met its burden of demonstrating that no
                                                                  Plaintiff alleges that Defendants retaliated against him
       material issue of fact remains for trial.... If the
                                                                  because he had previously made complaints against the
       evidence submitted in support of the summary
                                                                  Superintendent of Cape Vincent Correctional Facility and
       judgment motion does not meet the movant's
                                                                  the Jefferson County Public Defender's Office. (Dkt. No. 9
       burden of production, then summary judgment
                                                                  ¶ 6.) He claims that Defendants knew about his complaints
       must be denied even if no opposing evidentiary
                                                                  because when he arrived at Riverview along with several
       matter is presented.... [I]n determining whether the
                                                                  other inmates, a non-party corrections officer asked him
       moving party has met this burden of showing the
                                                                  which one of them had “the drug case.” (Dkt. No. 34–3 at
       absence of a genuine issue for trial, the district court
                                                                  18:7–15 and 19:21–23.) It is not clear from the record whether
       may not rely solely on the statement of undisputed
                                                                  or not Plaintiff confirmed that it was he who was involved.
       facts contained in the moving party's Rule 56.1
       Statement. It must be satisfied that the citation to
                                                                  At the time of Plaintiff's deposition on March 18, 2011, he
       evidence in the record supports the assertion.”)
                                                                  had two lawsuits pending in the Northern District of New
       (internal quotation marks and citations omitted).
                                                                  York. One was Morris v. Barkley, 09–CV–1413 (N.D.N.Y.),
7                                                                 wherein Plaintiff alleged he was improperly charged with
       The Court advises Defendants that there is an
       updated “Notification of the Consequences of               possession of drugs while incarcerated at Cape Vincent
       Failing to Respond to a Summary Judgment                   Correctional Facility. Id. at Dkt. No. 8 ¶ 6. The other case was
       Motion” form on the Northern District website              Morris v. Jefferson County Public Defender's Office, 09–CV–
       (www . nynd.uscourts.gov) under the “e-Library”            1412 (N.D.N.Y.), wherein he alleged ineffective assistance
       link.                                                      of counsel. Id. at Dkt. No. 1 ¶ 6. However, both of these
                                                                  lawsuits were filed on December 21, 2009, which was nearly
                                                                  a month after the events alleged in this action. Plaintiff may


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have filed grievances or made verbal complaints with respect      In New York state prisons, the Department of Corrections and
to his claims against Cape Vincent Correctional Facility and      Community Supervision (“DOCCS”) has a well-established
against the Jefferson County Public Defender's Office, but        three-step inmate grievance program (“IGP”), which is the
there is no reference in the record before the Court about        proper procedure for exhausting most, but not all, claims.
any complaints made prior to the search of Plaintiff's cube on    N.Y. Comp.Codes R. & Regs. tit. 7, § 701.7 (2010). First,
November 25, 2009.                                                an inmate must file a complaint with the facility's IGP clerk
                                                                  within twenty-one calendar days of the alleged occurrence.
Defendants have now moved for summary judgment. (Dkt.             N.Y. Comp.Codes R. & Regs. tit. 7, § 701.5(a) (2010). A
No. 34.) Plaintiff has opposed the motion. (Dkt. No. 41.)         representative of the facility's inmate grievance resolution
Defendants have filed a letter in reply, essentially resting on   committee (“IGRC”) has sixteen calendar days from receipt
the arguments made in their motion. (Dkt. No. 43.)                of the grievance to informally resolve the issue. Id . at (b)
                                                                  (1). If there is no such informal resolution, then the full IGRC
 *3 Prior to Defendants' motion for summary judgment,             conducts a hearing within sixteen calendar days of receipt
Plaintiff filed a motion to compel certain items of discovery     of the grievance, and issues a written decision within two
and to strike certain documents provided by Defendants as         working days of the conclusion of the hearing. Id. at (b)(2).
part of the discovery process. (Dkt. No. 32.) Defendants did      At the second step, a grievant may appeal the IGRC decision
not file a response to this motion.                               to the facility's superintendent within seven calendar days
                                                                  of receipt of the IGRC's written decision. Id. at (c). At the
                                                                  third step, a grievant may appeal to the Central Office Review
III. ANALYSIS                                                     Committee (“the CORC”) within seven working days of
                                                                  receipt of the superintendent's written decision. Id. at (d). “To
  A. Exhaustion of Administrative Remedies
                                                                  properly exhaust administrative remedies, an inmate must file
Defendants argue that this action must be dismissed because
                                                                  an appeal with the CORC .” Torres v. Carry, 672 F.Supp.2d
Plaintiff failed to exhaust his administrative remedies. (Dkt.
                                                                  338, 343 (S.D.N.Y.2009).
No. 34–2 at 4–6. 9 ) Defendants also made this argument in an
earlier motion to dismiss this action. (Dkt. No. 20.) Plaintiff   *4 DOCCS also has an expedited procedure for inmates
submits that he is excused from this requirement because this
                                                                  who wish to file a grievance alleging harassment. 10 N.Y.
action pertains to matters that are “non-grievable.” (Dkt. No.
                                                                  Comp.Codes R. & Regs. tit. 7, § 701.8 (2010). Under
9 ¶ 4; Dkt. No. 41 ¶¶ 6–7.)
                                                                  this procedure, the inmate is required to file a grievance
                                                                  with the facility's IGP clerk as under the normal program.
9      Citations to Defendant's Memorandum of Law                 Id. (a). Rather than being reviewed under the normal
       refer to the internal page numbers of the document.        guidelines, however, the grievance “must be forwarded to
Under the Prison Litigation Reform Act (“PLRA”), “[n]o            the superintendent by close of business that day.” Id. (b).
action shall be brought with respect to prison conditions under   The superintendent “shall promptly determine whether the
§ 1983 ... by a prisoner confined in any jail, prison, or other   grievance, if true, would represent a bona fide case of
correctional facility until such administrative remedies as       harassment ... If not, then it shall be returned to the IGRC for
are available are exhausted.” 42 U.S.C. § 1997e(a). “[T]he        normal processing.” Id. (c). If the superintendent determines
PLRA's exhaustion requirement applies to all inmate suits         that the grievance presents a “bona fide harassment issue,”
about prison life, whether they involve general circumstances     he must either initiate an in-house investigation, request an
or particular episodes, and whether they allege excessive         investigation by the Inspector General's office, or request
force or some other wrong.” Porter v. Nussle, 534 U.S. 516,       an investigation by the New York State Police, Bureau of
532, 122 S.Ct. 983, 152 L.Ed.2d 12 (2002). In order to            Criminal Investigation. Id. (d). If the inmate is dissatisfied
properly exhaust administrative remedies under the PLRA,          with the superintendent's response or if the superintendent
inmates are required to complete the administrative review        fails to respond to the grievance, the inmate may appeal to the
process in accordance with the rules applicable to the            CORC. Id. (g)-(h).
particular institution to which they are confined. Jones v.
Bock, 549 U.S. 199, 218, 127 S.Ct. 910, 166 L.Ed.2d 798           10      The regulations define “harassment” as “employee
(2007).                                                                   misconduct meant to annoy, intimidate or harm an




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       inmate.” N.Y. Comp.Codes R. & Regs. tit. 7, §                *5 Plaintiff's failure to exhaust, however, does not end
       701.2(e) (2010).                                            the inquiry. The Second Circuit has held that a three-part
                                                                   inquiry is appropriate where a prisoner has failed to exhaust
DOCCS has a separate and distinct administrative process
for inmates to appeal the result of disciplinary hearings,         his available administrative remedies. Hemphill v. State of
which is not referred to as a “grievance” process. In fact, the    New York, 380 F.3d 680, 686, 691 (2d Cir.2004). 11 First,
regulations specifically state that the results of disciplinary    “the court must ask whether [the] administrative remedies
hearings are “non-grievable.” N.Y. Comp.Codes R. & Regs.           [not pursued by the prisoner] were in fact ‘available’ to
tit. 7, § 701.3(e) (1)-(2) (2010). Rather than “grieving” the      the prisoner.” Hemphill, 380 F.3d at 686 (citation omitted).
result, an inmate who is dissatisfied with the result of a Tier    Second, if those remedies were available, “the court should ...
II hearing must file an appeal with the facility superintendent    inquire as to whether [some or all of] the defendants may
within seventy-two hours of receiving the written disposition      have forfeited the affirmative defense of non-exhaustion by
of the disciplinary hearing. N.Y. Comp.Codes R. & Regs. tit.       failing to raise or preserve it ... or whether the defendants'
7, § 253.8 (2010). An inmate who is dissatisfied with the result   own actions inhibiting the [prisoner's] exhaustion of remedies
of a Tier III hearing must file an appeal to the commissioner      may estop one or more of the defendants from raising the
within thirty days of receiving the written disposition. N.Y.      plaintiff's failure to exhaust as a defense.” Id. (citations
Comp.Codes R. & Regs. tit. 7, § 254.8 (2010). The filing of        omitted). Third, if the remedies were available and some
such an appeal constitutes exhaustion under the PLRA. Davis        of the defendants did not forfeit, and were not estopped
v. Barrett, 576 F.3d 129, 132 (2d Cir.2009).                       from raising, the non-exhaustion defense, “the court should
                                                                   consider whether ‘special circumstances' have been plausibly
DOCCS' regulations note that if an inmate is unsure whether        alleged that justify the prisoner's failure to comply with the
an issue is grievable or nongrievable, he should “file a           administrative procedural requirements.” Id. (citations and
grievance and the question will be decided through the             internal quotations omitted).
grievance process.” N.Y. Comp.Codes. R. & Regs. tit. 7, §
701.3(e).                                                          11     The Second Circuit has not yet decided whether
                                                                          the Hemphill rule has survived the Supreme Court's
It is clear that Plaintiff did not properly follow either the             decision in Woodford, 548 U.S. 81, 126 S.Ct. 2378,
standard three-step procedure or the expedited procedure for              165 L.Ed.2d 368. Chavis v. Goord, No. 07–4787–
allegations of harassment by staff. Both of those procedures              pr, 2009 U.S.App. LEXIS 13681, at *4, 2009 WL
require an inmate to file a grievance with the IGP clerk, which           1803454, at *1 (2d Cir. June 25, 2009).
Plaintiff admits on the face of his complaint he did not do.
                                                                   Here, neither of the first two Hemphill inquiries save
(Dkt. No. 9 ¶ 4.)
                                                                   Plaintiff's complaint. As discussed above, administrative
                                                                   remedies were available to Plaintiff. Defendants have
Plaintiff states that he was not required to file a grievance
                                                                   preserved the exhaustion defense by raising it in their
because the issues that concerned him were “non-grievable.”
                                                                   answer. (Dkt. No. 26 ¶ 9.) Plaintiff has not indicated
Id. DOCCS' regulations specifically state that the results of
                                                                   that Defendants inhibited his exhaustion of administrative
disciplinary hearings are “non-grievable.” N.Y. Comp.Codes
                                                                   remedies in any way. Thus, the Court must consider whether
R. & Regs. tit. 7, § 701.3(e)(1)(2) (2010). However, Plaintiff
                                                                   special circumstances have been plausibly alleged that
did not have a disciplinary hearing. (Dkt. No. 34–3 at 7:12–
                                                                   justify Plaintiff's failure to comply with the administrative
14.) Therefore, there was nothing to appeal. Plaintiff testified
                                                                   procedural requirements.
that he was escorted to the SHU after the incident and that
he remained there for seven days before “the ticket was
                                                                   Justification “must be determined by looking at the
expunged off his record” and he was “released and restored
                                                                   circumstances which might understandably lead ...
back to population status.” (Dkt. No. 9 at 6; Dkt. No. 34–3 at
                                                                   uncounselled prisoners to fail to grieve in the normally
7:16–17.) It does not appear that Plaintiff's issue was “non-
                                                                   required way.” Giano v. Good, 380 F.3d 670, 678 (2d
grievable,” as that term is utilized by DOCCS' regulations.
                                                                   Cir.2004). Plaintiff argued in his response to Defendants'
Therefore, this Court finds that Plaintiff failed to exhaust his
                                                                   motion to dismiss that he could not exhaust his administrative
administrative remedies.
                                                                   remedies by filing a grievance because the results of
                                                                   disciplinary hearings and matters under investigation by



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the Inspector General are “non-grievable.” (Dkt. No. 21 at          Claims of retaliation find their roots in the First Amendment.
1.) As discussed above, there was no disciplinary hearing           See Gill v. Pidlypchak, 389 F.3d 379, 380–81 (2d Cir.2004).
held. DOCCS regulations clearly state that if an inmate is          Central to such claims is the notion that in a prison setting,
unsure whether an issue is grievable or non-grievable, he           corrections officials may not take actions that would have a
should “file a grievance and the question will be decided           chilling effect upon an inmate's exercise of First Amendment
through the grievance process.” N .Y. Comp.Codes. R.                rights. See Gill, 389 F.3d at 381–383. Because of the
& Regs. tit. 7, § 701.3(e). On the other hand, “a letter            relative ease with which claims of retaliation can be incanted,
to the Superintendent who then commences an Inspector               however, courts have scrutinized such retaliation claims with
General investigation can constitute ‘special circumstances'        particular care. See Flaherty v. Coughlin, 713 F.2d 10, 13 (2d
that satisfy the PLRA requirement that prison officials be          Cir.1983). As the Second Circuit has noted,
afforded time and opportunity to address prisoner complaints
internally.” Hairston v. LaMarche, No. 05 Civ. 6642, 2006
U.S. Dist. LEXIS 55436, at * 32, 2006 WL 2309592, at *9                          [t]his is true for several reasons. First,
                            12                                                   claims of retaliation are difficult to
(S.D.N.Y. Aug. 10, 2006).
                                                                                 dispose of on the pleadings because
12                                                                               they involve questions of intent and
        A copy of this case was provided to Plaintiff with
                                                                                 are therefore easily fabricated. Second,
        Defendants' motion papers. (Dkt. No. 34–3 at 44–
                                                                                 prisoners' claims of retaliation pose
        55.)
                                                                                 a substantial risk of unwarranted
 *6 In this Court's Report–Recommendation on Defendants'                         judicial intrusion into matters of
motion to dismiss, later adopted by the Hon. Lawrence E.                         general prison administration. This is
Kahn, I stated that “Plaintiff's complaint and his opposition                    so because virtually any adverse action
to the motion to dismiss plausibly suggest that Defendant                        taken against a prisoner by a prison
Rabsatt forwarded Plaintiff's letter to the Inspector General                    official—even those otherwise not
for investigation. This suggestion may, of course, be refuted                    rising to the level of a constitutional
through evidence at a later stage in this litigation.” (Dkt. Nos.                violation—can be characterized as a
23 at 9–10, 24.) Defendants have now come forward with                           constitutionally proscribed retaliatory
evidence to refute this claim. A declaration by Defendant                        act.
Rabsatt has been submitted stating that he did not forward
Plaintiff's complaint to the Inspector General's office for
investigation. (Dkt. No. 34–4 ¶ 12.) Moreover, Defendants
                                                                    Dawes v. Walker, 239 F.3d 489, 491 (2d Cir.2001) (citations
also submitted a letter from DOCCS stating that “[t]he
                                                                    omitted), overruled on other grounds, Swierkewicz v. Sorema
Inspector General's office has no record of any investigation
                                                                    N.A., 534 U.S. 506, 122 S.Ct. 992, 152 L.Ed.2d 1 (2002).
concerning this allegation.” (Dkt. No. 34–3 at 57. 13 ) In
light of this evidence, and the fact that Plaintiff has offered     To prevail on a First Amendment claim under 42 U.S.C.
nothing to dispute it, I recommend that Defendants' motion          § 1983, a plaintiff must prove by the preponderance of
for summary judgment be granted because Plaintiff failed to         the evidence that: (1) the speech or conduct at issue was
exhaust his administrative remedies.                                “protected”; (2) the defendants took “adverse action” against
                                                                    the plaintiff—namely, action that would deter a similarly
13                                                                  situated individual of ordinary firmness from exercising his or
        Page number refers to the number assigned by the
        ECF system.                                                 her constitutional rights; and (3) there was a causal connection
                                                                    between the protected speech and the adverse action—in
   B. Retaliation                                                   other words, that the protected conduct was a “substantial or
Even if Plaintiff had not failed to exhaust his administrative      motivating factor” in the defendants' decision to take action
remedies, Defendants should still be granted summary                against the plaintiff. Mount Healthy City Sch. Dist. Bd. of
judgment because Plaintiff cannot sustain a claim for               Educ. v. Doyle, 429 U.S. 274, 287, 97 S.Ct. 568, 50 L.Ed.2d
retaliation.                                                        471 (1977); Gill, 389 F.3d at 380 (citing Dawes v. Walker, 239
                                                                    F.3d 489, 492 [2d. Cir.2001] ). Due to the fact that Plaintiff
                                                                    cannot demonstrate a causal connection between his alleged


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complaints and the discovery of a weapon in his cube, I              exercise of a federal constitutional right and an allegedly
recommend that Defendants be granted summary judgment.               retaliatory action.’ “ Id. (quoting Gorman–Bakos v. Cornell
                                                                     Coop. Extension, 252 F.3d 545, 554 (2d Cir.2001)). The
 *7 The filing of a grievance against prison officials is            Second Circuit has held that the passage of “only six months”
constitutionally protected conduct. Scott v. Coughlin, 344           is sufficient to support an inference of a causal connection.
F.3d 282, 288 (2d Cir.2003); Graham v. Henderson, 89 F.3d            Id. (citing Gorman–Bakos, 252 F.3d at 555 (suggesting the
75, 80 (2d Cir.1996). “Prisoners ... have a constitutional           lapse of five months between protected activity and retaliation
right of access to the courts and to petition the government         may show a causal connection). As discussed above, Plaintiff
for the redress of grievances.” Colon v. Coughlin, 58 F.3d           filed his lawsuits against the Cape Vincent Correctional
865, 872 (2d Cir.1995). Filing a lawsuit is constitutionally         Facility and the Jefferson County Public Defender's Office
protected activity. Houston v. Zen Zen, 388 F.Supp.2d 172,           on December 21, 2009, which was after the search of his
174 (W.D.N.Y.2005). Therefore, Plaintiff's filing of a lawsuit       cubicle occurred; therefore, the lawsuits themselves cannot
or grievance is protected conduct, and satisfies the first prong     have caused the alleged retaliation. If he is alleging that the
of the Mt. Healthy criteria.                                         retaliation occurred as a result of other complaints he made,
                                                                     there is no evidence regarding if or when such a complaint
The Second Circuit defines “ ‘adverse action’ objectively,           or grievance was made, so there is no way to determine the
as retaliatory conduct ‘that would deter a similarly                 temporal proximity of Plaintiff's complaints and the search of
situated individual of ordinary firmness from exercising ...         his cubicle.
constitutional rights.’ “ Gill v. Pidlypchak, 389 F.3d 379, 381
(2d Cir.2004) (quoting Davis v. Goord, 320 F.3d 346, 353 (2d          *8 There is no evidence in the record regarding Plaintiff's
Cir.2003), superceded by 320 F.3d 346, 2003 WL 360053 (2d            disciplinary history. Regarding the third factor, vindication
Cir. Feb.10, 2003)) (emphasis in original). It is possible, for      of the inmate after a hearing may constitute circumstantial
the sake of argument, that if Plaintiff's allegations were true,     evidence of a defendant's retaliatory motive. Gayle, 313
the actions of the corrections officers could be considered          F.3d at 683 (“A false reason for the report's issuance would
adverse.                                                             support the inference that the real reason was the improper
                                                                     one: retaliation.”). However, as stated above, no disciplinary
The final part of the analysis centers on whether Plaintiff can      hearing took place.
show a causal connection between his protected activity and
the discovery of a weapon in his cube. Several factors may           The fourth factor involves analyzing any statements by the
be considered in determining whether a causal connection             defendant concerning his or her motivation. In support of
exists between the plaintiff's protected activity and a prison       the instant motion, Defendants have come forward with a
official's actions. Baskerville v. Blot, 224 F.Supp.2d 723,          declaration from each Defendant stating that he was not aware
732 (S.D.N.Y.2002) (citing Colon v. Coughlin, 58 F.3d 865,           of Plaintiff's complaints on the day of the search of Plaintiff's
873 (2d Cir.1995)). Those factors include: (i) the temporal          cube. (Dkt. No. 34–4 ¶ 15; Dkt. No. 34–5 ¶ 17; Dkt. No.
proximity between the protected activity and the alleged             34–6 ¶ 23; Dkt. No. 34–7 ¶ 18.) Plaintiff has not submitted
retaliatory act; (ii) the inmate's prior good disciplinary record;   anything to refute this evidence. He claims the officers knew
(iii) vindication at a hearing on the matter; and (iv) statements    about his complaints because another, non-defendant sergeant
by the defendant concerning his or her motivation. Id. (citing       asked who had the “drug case.” (Dkt. No. 34–3 at 18:7–15.)
Colon, 58 F.3d at 872–73). “The causal connection must be            However, there is no evidence in the record that Defendants
sufficient to support an inference that the protected conduct        themselves knew about any complaints or took any action as
played a substantial part in the adverse action.” Id.                a result of such knowledge.

Regarding temporal proximity, “[a] plaintiff can establish a         Plaintiff has not presented sufficient evidence to establish
causal connection that suggests retaliation by showing that          a triable issue of fact regarding whether the corrections
protected activity was close in time to the adverse action.”         officers retaliated against him. Therefore, I recommend that
Espinal v. Goord, 558 F.3d 119, 129 (2d Cir.2009) (citations         Defendants' motion for summary judgement be granted.
omitted). No bright line test has been drawn “ ‘to define
the outer limits beyond which a temporal relationship is
too attenuated to establish a causal relationship between the          C. Motion to Compel and Motion to Strike



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                                                                        Procedure 12(f). (Dkt. No. 32 ¶ 11.) Federal Rule of
Prior to the filing of the motion for summary judgment,
                                                                        Civil Procedure 12(f) permits a court to “strike from a
Plaintiff filed a motion to compel. (Dkt. No. 32.) He is seeking
                                                                        pleading an insufficient defense or any redundant, immaterial,
a copy of the “snitch note,” documents relating to a purported
                                                                        impertinent, or scandalous matter.” However, the documents
investigation by DOCCS' Inspector General, a copy of the
                                                                        given to Plaintiff were provided as part of the discovery
minutes from his deposition of March 18, 2011, and a copy
                                                                        process, and are not part of a pleading. Complaints, answers,
of Defendants' Notice of Compliance. Id. ¶ 6.
                                                                        counterclaims, and crossclaims are all pleadings. Fed.R.Civ.P.
                                                                        7. Rule 7 does not encompass discovery materials. Therefore,
As an initial matter, Defendants have already established
                                                                        Plaintiff's motion to strike is denied.
that the Inspector General's office did not conduct any
investigation into Plaintiff's allegations. (Dkt. No. 34–3 at 57;
                                                                        *9 ACCORDINGLY, it is
Dkt. No. 34–4 ¶ 12.) This Court is satisfied that Plaintiff was
provided with a copy of Defendants' Notice of Compliance
                                                                        RECOMMENDED that Defendants' motion for summary
because it was included in his motion to compel. (Dkt. No.
                                                                        judgment (Dkt. No. 34) be GRANTED; and it is further
32 at 18. 14 ) It is quite probable that Plaintiff was provided
a copy of the minutes of his deposition because the copy
                                                                        ORDERED that Plaintiff's motion to compel (Dkt. No. 32) is
submitted in support of Defendants' motion contains two
                                                                        DENIED; and it is further
errata sheets with Plaintiff's signature. (Dkt. No. 34–3 at 5–
6. 15 ) In any event, a copy was provided to Plaintiff with             ORDERED that Plaintiff's motion to strike (Dkt. No. 32) is
Defendants' motion. (Dkt. No. 34–3.) The only remaining                 DENIED.
item requested is the “snitch note.” Even if produced, this note
would not cure the fatal flaws in Plaintiff's claims, namely,           Pursuant to 28 U.S.C. § 636(b)(1), the parties have
his failure to exhaust administrative remedies and his inability        fourteen days within which to file written objections
to show a causal connection between any complaints and the              to the foregoing report. Such objections shall be filed
search of his cube. Therefore, Plaintiff's motion to compel is          with the Clerk of the Court. FAILURE TO OBJECT
denied.                                                                 TO THIS REPORT WITHIN FOURTEEN DAYS WILL
                                                                        PRECLUDE APPELLATE REVIEW. Roldan v. Racette,
14                                                                      984 F.2d 85 (2d Cir.1993) (citing Small v. Secretary of Health
        This citation utilizes the page number assigned by
        the ECF system.                                                 and Human Services, 892 F.2d 15 (2d Cir.1989)); 28 U.S.C.
                                                                        § 636(b)(1); Fed.R.Civ.P. 72, 6(a).
15      This citation utilizes the page numbers assigned by
        the ECF system.
                                                                        All Citations
The motion to compel also includes a motion to “strike”
some of the documents submitted to Plaintiff by Defendants              Not Reported in F.Supp.2d, 2012 WL 976035
as part of discovery, pursuant to Federal Rule of Civil

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                                                                  On August 30, 2023, Plaintiff requested an extension of
    KeyCite Blue Flag – Appeal Notification                       the deadline to file objections, and the Court granted his
Appeal Filed by Santos v. Schroeder, 2nd Cir., January 23, 2024
                                                                  request in part, extending the deadline until September
                                                                  18, 2023. (Dkt. Nos. 113–14). As no objections to the
                     2023 WL 9377500
                                                                  Report-Recommendation were filed by that deadline, on
       Only the Westlaw citation is currently available.
                                                                  September 27, 2023, the Court reviewed the Report-
        United States District Court, N.D. New York.
                                                                  Recommendation for clear error, found none, adopted the
                Francisco SANTOS, Plaintiff,                      Report-Recommendation, and dismissed Plaintiff's case.
                            v.                                    (Dkt. No. 115).
             B. SCHROEDER, et al., Defendants.
                                                                  On September 28, 2023, the Court received objections from
                    9:19-cv-1610 (BKS/TWD)                        Plaintiff, which were signed on September 17, 2023. (Dkt.
                                |                                 No. 117). Plaintiff states that he placed a copy of his
                    Signed November 3, 2023                       objections in the mail at his facility on September 17, 2023.
                                                                  (Id., at 2). Under the “prison mailbox rule,” the date of
Attorneys and Law Firms                                           filing is deemed to be the date that the prisoner plaintiff
                                                                  delivered his complaint to a prison guard for mailing to
Plaintiff pro se: Francisco Santos, 13-A-0532, Wende              court, which is presumed to be the date that the complaint
Correctional Facility, P.O. Box 1187, Alden, NY 14004.            was signed. See Houston v. Lack, 487 U.S. 266, 276 (1988);
                                                                  Noble v. Kelly, 246 F.3d 93, 97 (2d Cir. 2001). Therefore, the
For Defendants: Letitia James, Attorney General of the State
                                                                  Court will consider Plaintiff's objections as timely, vacate the
of New York, Nicholas W. Dorando, Assistant Attorney
                                                                  decision and judgment dated September 27, 2023, and review
General, of Counsel, The Capitol, Albany, NY 12224.
                                                                  Plaintiff's objections. 1


      MEMORANDUM-DECISION AND ORDER                               1       For these reasons, the Court will grant Plaintiff's
                                                                          motion filed on November 1, 2023, which seeks
Brenda K. Sannes, Chief United States District Judge:                     reconsideration and to vacate the decision and
                                                                          judgment on the basis that his objections were
I. INTRODUCTION
                                                                          timely under the prison mailbox rule. (Dkt. No.
 *1 This decision follows on the heels of the Court's
                                                                          119).
Memorandum-Decision & Order dated September 27, 2023.
(Dkt. No. 115). As background, Plaintiff Francisco Santos
commenced this civil rights action asserting claims under 42      II. DISCUSSION
U.S.C. § 1983 arising out of his incarceration. (Dkt. Nos. 1,     Plaintiff alleges First Amendment retaliation claims against
51). On February 21, 2023, Defendants filed a motion for          Defendants Corrections Officer (“CO”) Schroeder, CO
summary judgment under Federal Rule of Civil Procedure            Kassen, Sgt. Sirvent, Lt. Masner, and Inmate Grievance
56 seeking dismissal of Plaintiff's claims. (Dkt. No. 99). On     Program (“IGP”) Supervisor Parmiter. (See Dkt. Nos. 50–51).
August 9, 2023, Plaintiff filed a response, (Dkt. No. 109), and   In general, Plaintiff alleges that after he filed a grievance,
a reply was filed on August 16, 2023, (Dkt. No. 111). This        Defendants caused him to receive a misbehavior report and
matter was referred to United States Magistrate Judge Thérèse     spend 19 days in “keeplock” confinement and also failed to
Wiley Dancks who, on August 22, 2023, issued a Report-            file a later grievance. (Id.). The Court assumes familiarity
Recommendation recommending that Defendants’ motion for           with the rest of the factual background set forth by Magistrate
summary judgment be granted. (Dkt. No. 112). Magistrate           Judge Dancks in the Report-Recommendation. (Dkt. No.
Judge Dancks advised the parties that under 28 U.S.C. §           112, at 4–6). The Court adopts Magistrate Judge Dancks's
636(b)(1), they had fourteen days within which to file written    summary of the applicable law, which has not drawn an
objections to the Report-Recommendation and that failure to       objection from the parties.
do so within fourteen days would preclude appellate review.
(Id., at 20).                                                      *2 As an initial matter, Plaintiff claims that there was
                                                                  an “abuse of discretion in denying the Amendment and


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Supplement of the Complaint to confirm with the evidence           here, CO Schroeder states that on August 18, 2019, he
made available after the closing of discovery through Court's      “noticed Plaintiff exiting the Inmate bathroom with used
orders, prior to the filing of the instant Second Motion           paper towels in his hands.” (Dkt. No. 99-3, at 3). According to
(Dkt. #99) for Summary Judgment by the Defendants.” (Dkt.          CO Schroeder, he ordered Plaintiff to “return to the bathroom
No. 117, at 6, 22). This objection appears to concern a            and throw away the paper towels, as directed by the sign in the
ruling made by Magistrate Judge Dancks on January 23,              bathroom.” (Id.). CO Schroeder states that “Plaintiff ignored
2023. (Dkt. No. 96). However, the Court's review is strictly       my orders, walked by me, and threw the used paper towels
limited to the Magistrate Judge's Report-Recommendation            away in the upper Visit Room trash can.” (Id.).
regarding Defendants’ summary judgment motion. To the
extent Plaintiff protests rulings made earlier in this case that   Plaintiff's version of this incident differs in important
do not concern the Report-Recommendation, such objections          respects. Plaintiff testified that he came out of the bathroom
are improper at this stage and will be disregarded.                with a paper towel in his hand, and CO Schroeder “started
                                                                   telling me that I got to throw it out.” (Dkt. No. 99-2, at
Turning to the Report-Recommendation, Magistrate Judge             35). According to Plaintiff, “[t]hinking nothing of it I threw
Dancks recommended denying summary judgment on                     [the paper towel] in the garbage that's nearest to him.” (Id.).
exhaustion grounds, finding that there was an issue of fact as     Plaintiff testified that “[a]t that point [CO Schroeder] didn't
whether administrative remedies were available to Plaintiff.       say specifically which garbage so I just threw it out on the
(Dkt. No. 112, at 9). On this topic, Plaintiff appears to object   garbage that was right in front of him.” (Id.). Plaintiff testified
to an “[o]versight of the disputed material facts regarding        that CO Schroeder then told him, “I got to grab it from the
to the thwarted administration remedies” by Defendant IGP          garbage can, pick it up and go back to the bathroom and throw
Supervisor Parmiter. (Dkt. No. 117, at 7). But Plaintiff does      it in the garbage can inside the bathroom.” (Id., at 36). Plaintiff
not explain this objection. Therefore, the Court has reviewed      further testified that he did not follow this order because it was
Magistrate Judge Dancks's exhaustion finding for clear error,      “inhumane,” “degrad[ing],” and “not within the authorized
and finding none, adopts it.                                       policy.” (Id.).

As to the merits, Magistrate Judge Dancks recommended               *3 Based on the forgoing, the Court finds that there is an
granting summary judgment on Plaintiff's First Amendment           issue of fact as to whether Plaintiff refused a direct order.
retaliation claim against CO Schroeder because “Defendants         On one hand, CO Schroeder states that he ordered Plaintiff
have established CO Schroeder would have issued the                to return to the bathroom and throw away the paper towels,
misbehavior report regardless of any retaliatory animus            which Plaintiff refused to do. In contrast, Plaintiff testified
he may have had against Plaintiff.” (Dkt. No. 112, at              that CO Schroeder initially only ordered Plaintiff to throw
15). Magistrate Judge Dancks also recommended granting             away the paper towels and Plaintiff obeyed this order by
summary judgment on Plaintiff's First Amendment retaliation        throwing them in the visit room garbage can. Plaintiff testified
claims against CO Kassen, Sgt. Sirvent, Lt. Masner, and IGP        that CO Schroeder then issued a second order to remove the
Supervisor Parmiter because Plaintiff failed to show that they     paper towels from the visit room garbage can and put them
“had a motive to retaliate against him for his grievance against   in the bathroom garbage can. It is this second order which
CO Schroeder,” and failed to raise an issue of fact as to          Plaintiff admits refusing to obey. But CO Schroeder's affidavit
causation, i.e. that his protected conduct was a “substantial or   does not even mention giving such an order. Thus, the parties’
motivating factor in his discipline[.]” (Id., at 19).              conflicting testimony raises issues of fact as to what exactly
                                                                   CO Schroeder said to Plaintiff in ordering him to throw away
                                                                   the paper towels and what Plaintiff did in response.
   A. CO Schroeder
Plaintiff claims that Magistrate Judge Dancks erred in finding     These issues of fact preclude summary judgment on Plaintiff's
that Defendants established that CO Schroeder “issued the
                                                                   First Amendment retaliation claim. 2 There is no dispute
misbehavior report because Plaintiff disobeyed a direct order
                                                                   that Plaintiff engaged in protected activity by filing a
and not necessarily based on any retaliatory motive[.]” (Dkt.
                                                                   grievance against CO Schroeder on July 26, 2019, and that
No. 117, at 12). Relatedly, Plaintiff claims that Magistrate
                                                                   CO Schroeder took an adverse action when he issued a
Judge Dancks abused her discretion and improperly resolved
                                                                   misbehavior report against Plaintiff on August 18, 2019 for
“clearly disputed material facts,” including whether or not
                                                                   allegedly disobeying a direct order, which caused Plaintiff to
Plaintiff refused a direct order. (Id., at 21–22). As relevant


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spend 19 days in keeplock confinement. Viewing the facts            issue, that is not proper basis for an objection. Therefore, the
in the light most favorable to Plaintiff, he did not disobey        Court will only review for clear error. See Ortiz v. Barkley,
a direct order, and therefore, the Court cannot conclude that       558 F. Supp. 2d 444, 451 (S.D.N.Y. 2008) (recognizing that
CO Schroeder would have issued the misbehavior report               clear error review applies to arguments that simply “rehash”
regardless of any retaliatory animus he may have had against        those made to the Magistrate Judge). Having reviewed this
Plaintiff. Rather, Plaintiff has raised an issue of fact as to      portion of the Report-Recommendation for clear error, the
whether retaliatory animus was the but-for cause of CO              Court finds none.
Schroeder's action. See Nieves v. Bartlett, 139 S. Ct. 1715,
1722 (2019) (stating that but-for causation applies to First         *4 In any event, even if Plaintiff had made a proper
Amendment retaliation claims). Therefore, the Court declines        objection, the Court would reach the same ultimate
to adopt the portion of the Report-Recommendation regarding         conclusion as Magistrate Judge Dancks. There is no dispute
CO Schroeder.                                                       that the August 18, 2019 misbehavior report was issued by
                                                                    CO Schroeder. (Dkt. No. 51-1, at 44–45). Plaintiff has not
2                                                                   adduced any evidence that CO Kassen, Sgt. Sirvent, or Lt.
        Having found an issue of fact regarding whether
                                                                    Masner participated in issuing the misbehavior report, and his
        Plaintiff disobeyed a direct order, the Court
                                                                    vague allegations of conspiracy are insufficient to show their
        declines to address Plaintiff's related arguments
                                                                    personal involvement in any retaliation, much less intent and
        that there are issues of fact as to the signage in the
        bathroom and spoliation of evidence. (See Dkt. No.          causation. See Boddie v. Schnieder, 105 F.3d 857, 862 (2d
        117, at 6–8).                                               Cir. 1997) (dismissing prisoner's claim that officers conspired
                                                                    to retaliate against him as “unsupported, speculative, and
                                                                    conclusory”) (internal quotation marks omitted). Therefore,
   B. CO Kassen, Sgt. Sirvent, Lt. Masner, and IGP
                                                                    CO Kassen, Sgt. Sirvent, and Lt. Masner are entitled to
   Supervisor Parmiter
                                                                    summary judgment on Plaintiff's First Amendment retaliation
As relevant here, Plaintiff alleges that CO Kassen, Sgt.
                                                                    claims against them.
Sirvent, and Lt. Masner “conspired with CO Schroeder to
issue the false misbehavior report in retaliation for Plaintiff's
                                                                    Plaintiff's claim against IGP Supervisor Parmiter fares no
July 26, 2019, grievance against CO Schroeder.” (Dkt. No.
                                                                    better. According to Plaintiff, IGP Supervisor Parmiter
51-1, at 13–14, 20–22). Plaintiff also alleges that he submitted
                                                                    retaliated against him by refusing to file his September
a grievance on September 1, 2019 against CO Schroeder,
                                                                    1, 2019 grievance against CO Schroeder, CO Kassen, Sgt.
CO Kassen, Sgt. Sirvent, and Lt. Masner regarding the
                                                                    Sirvent, and Lt. Masner. (Dkt. No. 51-1, at 28–29). Plaintiff
misbehavior report, but IGP Supervisor Parmiter refused to
                                                                    alleges that IGP Supervisor Parmiter said that she would not
file it. (Id., at 28–29). Addressing these claims, Magistrate
                                                                    file or process his grievance because she “did not feel like
Judge Dancks found that “Plaintiff has not demonstrated
                                                                    doing so.” (Id., at 28). But this comment does not reflect any
CO Kassen, Sgt. Sirvent, Lt. Masner, and Parmiter had a
                                                                    retaliatory motive. Further, the record contains evidence of a
motive to retaliate against him for his grievance against CO
                                                                    legitimate, non-retaliatory motive: IGP Supervisor Parmiter
Schroeder.” (Dkt. No. 112, at 19). Magistrate Judge Dancks
                                                                    sent a memo to Plaintiff on September 17, 2019 stating
further found that Plaintiff's “conclusory and speculative
                                                                    that his grievance was untimely. (Id., at 64). IGP Supervisor
allegations are insufficient to support ‘an inference of a causal
                                                                    Parmiter also sent a memo to Plaintiff on September 24, 2019
connection between’ the protected conduct and the alleged
                                                                    stating that he could provide mitigating circumstances for
false misbehavior report and refusal to file a grievance.” (Id.).
                                                                    the untimely grievance, (id., at 66), an invitation that is not
                                                                    consistent with retaliation.
Plaintiff objects that Magistrate Judge Dancks incorrectly
found that he failed to prove an inference of a causal
                                                                    Plaintiff cites, as evidence of IGP Supervisor's Parmiter's
connection between his protected activity and these
                                                                    retaliatory intent, a comment she allegedly made on
Defendants’ actions. (Dkt. No. 117, at 12). Specifically,
                                                                    September 27, 2019, that “if [Plaintiff] value[s] [his] life, [he]
Plaintiff cites comments allegedly made by CO Kassen
                                                                    shall not make any further attempts to file [the September
and IGP Supervisor Parmiter as evidence of causation and
                                                                    1, 2019 Grievance], because next time it will be more than
retaliatory intent. (Id., at 19). But Magistrate Judge Dancks
                                                                    a ‘Kee[p]lock’ confinement.” (Dkt. No. 117, at 19) (quoting
evaluated these comments and found otherwise. (Dkt. No.
                                                                    Dkt. No. 109, at 67). But any inference of retaliatory intent
112, at 17–19). To the extent Plaintiff wishes to relitigate the


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                                                                      ORDERED that the Court's Memorandum-Decision & Order
that could be drawn from this comment is undermined
                                                                      (Dkt. No. 115) and Judgment (Dkt. No. 116) shall be
by Plaintiff's testimony that he believed IGP Supervisor
                                                                      VACATED; and it is further
Parmiter was “assisting [to] cover up the retaliation that was
already taking place.” (Dkt. No. 99-2, at 51). In other words,
                                                                      ORDERED that the Report-Recommendation, (Dkt. No.
even accepting Plaintiff's version of events, IGP Supervisor
                                                                      112), is ADOPTED in part and REJECTED in part as
Parmiter was driven by a desire to cover up for her colleagues’
                                                                      stated above; and it is further
alleged conspiracy to issue the false misbehavior report. And
as described above, these conspiracy allegations are entirely
                                                                      ORDERED that Defendants’ motion for summary judgment
speculative.
                                                                      (Dkt. No. 99) is GRANTED in part and DENIED in part;
                                                                      and it is further
In sum, on this record, considering all of the evidence in
the light most favorable to Plaintiff, the Court finds that no
                                                                       *5 ORDERED that Plaintiff's First Amendment retaliation
reasonable jury could find that Plaintiff's grievance against
                                                                      claims against Defendants CO Kassen, Sgt. Sirvent, Lt.
CO Schroeder was the but-for cause of an adverse action
by IGP Supervisor Parmiter. Accordingly, IGP Supervisor               Masner, and IGP Supervisor Parmiter are DISMISSED with
                                                                      prejudice; and it is further
Parmiter is entitled to summary judgment on Plaintiff's First
Amendment retaliation claim against her. 3
                                                                      ORDERED that Plaintiff's First Amendment retaliation
                                                                      claim against Defendant CO Schroeder shall proceed; and it
3      The Court reaches this conclusion without relying              is further
       on IGP Supervisor Parmiter's Declaration, which
       as Plaintiff points out, was submitted to the Court            ORDERED that the Clerk serve a copy of this Order upon
       unsigned. (Dkt. No. 99-4, at 1–5).                             the parties in accordance with the Local Rules.

III. CONCLUSION                                                       IT IS SO ORDERED.
For these reasons, it is hereby

ORDERED that Plaintiff's motion for reconsideration/to                All Citations
vacate (Dkt. No. 119) is GRANTED; and it is further
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                                                                        Adams, Smith, and Rock were also dismissed from
                    2016 WL 5219995                                     this action. Id.
      Only the Westlaw citation is currently available.          Presently pending before the Court is defendants' motion
       United States District Court, N.D. New York.              to dismiss Flemming’s claims pursuant to Federal Rule of
                                                                 Civil Procedure (“Fed. R. Civ. P.”) 12(b)(6) for failure to
            Woodrow FLEMMING, Plaintiff,                         state a claim upon which relief may be granted. Dkt. No.
                          v.                                     32. Flemming filed a response in opposition to defendants'
       Matthew J. KING; David Bilow, Defendants.                 motion. Dkt. No. 34. For the following reasons, it is
                                                                 recommended that defendants' motion be granted in part, and
                 No. 14-CV-316 (DNH/CFH)                         denied in part.
                              |
                      Signed 06/20/2016

Attorneys and Law Firms                                                                 I. Background

WOODROW FLEMMING, P.O. Box 146 New York, New                     The facts are reviewed in the light most favorable to
York 10039, Plaintiff Pro Se.                                    Flemming as the non-moving party. See subsection III(A)
                                                                 infra. Because a portion of Flemming’s claims were dismissed
HON. ERIC T. SCHNEIDERMAN Attorney General for the               upon initial review of the complaint, Flemming’s allegations
State of New York The Capitol, OF COUNSEL: ORIANA                are summarized below only to the extent that they are relevant
CARRAVETTA, ESQ. Assistant Attorney General, Albany,             to the pending motion.
New York 12224-0341 Attorney for Defendants.


                                                                           A. Flemming’s Recitation of the Facts
    REPORT-RECOMMENDATION AND ORDER 1
                                                                 Flemming alleges that, on March 24, 2011, defendant King
1                                                                assaulted him, and defendant Bilow pushed him to the ground.
       This matter was referred to the undersigned for
       report and recommendation pursuant to 28 U.S.C.           Compl. at 5. Both incidents occurred outside the draft room
       § 636(b) and N.D.N.Y.L.R. 72.3(c).                        at Upstate C.F. Id. Flemming also alleges that, on this same
                                                                 date, he was threatened by “officers” 3 and told not to file any
Christian F. Hummel, U.S. Magistrate Judge                       more grievances. Id.

 *1 Plaintiff pro se Woodrow Flemming (“Flemming”),              3
formerly an inmate in the custody of the New York State                 Although not identified in his complaint, Flemming
Department of Corrections and Community Supervision                     identifies the officers who threatened him as
(“DOCCS”), brings this action pursuant to 42 U.S.C. § 1983              defendants King and Bilow in his opposition
alleging that defendants King and Bilow: (1) used excessive             papers. See Dkt. No. 34 at 3, ¶ 13.
force on him in violation of the Eighth Amendment; and (2)
assaulted him in retaliation for his filing grievances against
                                                                                        II. Discussion 4
correction staff, in violation of the First Amendment. 2 See
Dkt. No. 1 (“Compl.”) at 5. Although no longer incarcerated,     4      All unpublished opinions cited to by the Court
Flemming was incarcerated at Upstate Correctional Facility
                                                                        in this Report-Recommendation and Order are,
(“Upstate C.F.”) at all relevant times.
                                                                        unless otherwise noted, attached to this Report-
                                                                        Recommendation and Order.
2      Following initial review of the complaint filed
       in this action, District Judge David N. Hurd
       dismissed Flemming’s Eighth Amendment medical                                  A. Legal Standard
       indifference claims against defendants Adams,
       Smith, and Rock. Dkt. No. 5 at 10. Defendants



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Under Fed. R. Civ. P. 12(b)(6), a defendant may move                               read into pro se submissions claims
to dismiss a complaint for a plaintiff’s “failure to state a                       that are not consistent with the pro
claim upon which relief can be granted.” When considering                          se litigant’s allegations or arguments
such a motion, a court must “construe plaintiff[’s] complaint                      that the submissions themselves do
liberally, accepting all factual allegations in the complaint                      not suggest that we should not
as true, and drawing all reasonable inferences in plaintiff[’s]                    excuse frivolous or vexatious filings
favor.” Selevan v. N.Y. Thruway Auth., 584 F.3d 82, 88 (2d                         by pro se litigants, and that pro se
Cir. 2009) (quoting Holmes v. Grubman, 568 F.3d 326, 335                           status does not exempt a party from
(2d Cir. 2009)) (internal quotation marks omitted). However,                       compliance with relevant rules of
this “tenet is inapplicable to legal conclusions, and threadbare                   procedural and substantive law ....
recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Harris v. Mills, 572
F.3d 66, 72 (2d Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S.    Id. (internal quotation marks, citations, and footnote omitted);
662, 664 (2009)) (internal quotation marks and alterations         see also Sealed Plaintiff v. Sealed Defendant #1, 537 F.3d
omitted).                                                          185, 191-92 (2d Cir. 2008) (“On occasions too num erous
                                                                   to count, we have reminded district courts that ‘when [a]
 *2 Accordingly, to survive a motion to dismiss, a complaint       plaintiff proceeds pro se, ... a court is obliged to construe his
must state a claim for relief that is “ ‘plausible on its          pleadings liberally.” (internal citations omitted)). However,
face.’ ” Iqbal, 556 U.S. at 678 (quoting Bell Atlantic             “there are circumstances where an overly litigious inmate,
Corp. v. Twombly, 550 U.S. 544, 570 (2007) (explaining             who is quite familiar with the legal system and with pleading
that the plausibility test “does not impose a probability          requirements, may not be afforded [the] special solicitude’
requirement ... it simply calls for enough fact to raise a         or status that is normally afforded pro se litigants.” Standley
reasonable expectation that discovery will reveal evidence of      v. Dennison, No. 9:05-CV-1033 (GLS/GHL), 2007 WL
illegal [conduct].”)); see also Arar v. Ashcroft, 585 F.3d 559,    2406909, at *7 (N.D.N.Y. Aug. 21, 2007) (quoting Smith
569 (2d Cir. 2009) (holding that “[o]n a motion to dismiss,        v. Burge, No. 03-CV-0955, 2006 WL 2805242, at *3 &
courts require enough facts to state a claim to relief that        n.3 (N.D.N.Y. Sept. 28, 2005) (Kahn, J., adopting report-
is plausible ....”) (internal citations omitted). Determining      recommendation of Lowe, M.J.) (citations omitted)).
whether plausibility exists is “a context-specific task that
requires the reviewing court to draw on its judicial experience    This Court has already diminished the special solicitude
and common sense.” Iqbal, 556 U.S. at 679.                         afforded to Flemming. In a Memorandum-Decision and Order
                                                                   entered July 16, 2015, this Court reviewed Flemming’s
                                                                   extensive litigation history within the Second Circuit. See
                    B. Special Solicitude                          Dkt. 22 at 7-8. At that time, Flemming had filed nearly
                                                                   sixty civil rights in the Second Circuit. Id. at 7. Based
Ordinarily, where a party seeks judgment against a pro se          on Flemming’s lengthy history of filing complaints in the
litigant, a court must afford the non-movant special solicitude.   Second Circuit, this Court diminished the special solicitude
See Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 477         that would normally be afforded to him as a pro se litigant at
(2d Cir. 2006). As the Second Circuit stated,                      the pleading stage of this action. 5 Id. at 9. Thus, the Court
                                                                   will decide defendants' motion to dismiss bearing in mind
                                                                   Flemming’s diminished status as a pro se litigant.
               [t]here are many cases in which we
               have said that a pro se litigant is                 5       The Court also notes that, in a separate action
               entitled to special solicitude, that a
                                                                           brought by Flemming on January 12, 2015, District
               pro se litigant’s submissions must
                                                                           Judge Hurd determined that Flemming is not
               be construed liberally, and that such
                                                                           entitled to the special solicitude normally afforded
               submissions must be read to raise
                                                                           to a pro se litigant, based on Flemming’s history
               the strongest arguments that they
                                                                           as an “experienced and vexatious pro se plaintiff.”
               suggest. At the same time, our cases
               have also indicated that we cannot



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       Flemming v. Rock, No. 9:15-CV-30, 2016 WL                   Eighth Amendment claim. See Benjamin, 2012 WL 5289513,
       632248, at *2 (N.D.N.Y. Feb. 16, 2016).                     at *3 (finding that the plaintiff failed to meet the objective
                                                                   element of his excessive force claim where he failed to allege
                                                                   any injury).
                     C. Excessive Force
                                                                   As to the subjective element of his excessive force claim,
 *3 A prisoner plaintiff seeking to demonstrate a claim of
                                                                   Flemming’s allegations against defendants King and Bilow
excessive force must satisfy both objective and subjective
                                                                   fail to provide the context of the alleged incident. Although
components. The subjective component determines whether
                                                                   the Second Circuit has previously allowed a prisoner’s Eighth
the defendants acted “with a sufficiently culpable state
                                                                   Amendment excessive force claim to proceed despite that
of mind.” Hudson v. McMillian, 503 U.S. 1, 21 (1992)
                                                                   the “claim [was] weak and [the] evidence extremely thin,”
(citation omitted). This component requires a showing that the
                                                                   Griffin, 193 F.3d at 91, Flemming has lost the full benefit of
defendants “had the necessary level of culpability, showing
                                                                   the special solicitude normally afforded to pro se litigants in
by actions characterized by ‘wantonness’ ” in light of the
                                                                   this Court, due to his lengthy and sometimes abusive litigation
particular circumstances surrounding the challenged conduct.
                                                                   history. See Dkt. No. 22. Given that Flemming has failed
Blyden v. Mancusi, 186 F.3d 252, 262 (2d Cir. 1999) (quoting
                                                                   to plead against King and Bilow both the context by which
Wilson v. Seiter, 501 U.S. 294, 299 (1991)); see, e.g., Sims
                                                                   the alleged force was used or any injuries sustained, he has
v. Artuz, 230 F.3d 14, 21 (2d Cir. 2000); Davidson v. Flynn,
                                                                   failed to state a claim upon which relief may be granted.
32 F.3d 27, 30 n.2 (2d Cir. 1994). T he objective component
                                                                   See Iqbal, 556 U.S. at 678 (“A pleading that offers labels
is demonstrated where the alleged conduct is “ ‘sufficiently
                                                                   and conclusions ... a formulaic recitation of the elements of
serious' by objective standards.’ ” Griffin v. Crippen, 193 F.3d
                                                                   a cause of action ... [or] naked assertions devoid of further
89, 91 (2d Cir. 1999) (quoting Farmer v. Brennan, 511 U.S.
                                                                   factual enhancement” does not suffice.) (internal quotation
825, 834 (1994)) (additional citation omitted). “The objective
                                                                   marks and citations omitted). Flemming has failed to meet
component of the Eighth Amendment test is also context
                                                                   the subjective element of the analysis because he does not
specific, turning upon ‘contemporary standards of decency.’
                                                                   allege facts to show that either defendant acted “maliciously”
” Blyden, 186 F.3d at 263 (quoting Hudson, 503 U.S. at 8)
                                                                   or “wantonly” as required to adequately state a claim of
(additional citation omitted).
                                                                   excessive force. See Boddie v. Schneider, 105 F.3d 857, 862
                                                                   (2d Cir. 1997) (dismissing excessive force claim where the
Here, Flemming claims that he was “assaulted” by defendant
                                                                   plaintiff failed to allege any facts to show that the defendants
King and “push [sic] down by [ ] Bilow to the ground.”
                                                                   had “used force maliciously and sadistically to cause harm”)
Compl. at 5. Defendants allege that Flemming’s complaint
                                                                   (internal quotation marks and citation omitted). Indeed, a
fails to meet the pleading standard articulated in Iqbal. Dkt.
                                                                   complaint does not suffice “where the well-pleaded facts do
No. 32-1 at 8. Defendants further argue that, even assuming
                                                                   not permit the court to infer more than a mere possibility
that the allegations are true, the use of force alleged by
Flemming is de minimis. Id. at 8-9.                                of misconduct[.]” 6 Id. at 679. Thus, Flemming has failed to
                                                                   plausibly allege the subjective element of his excessive force
As to the objective element of Flemming’s excessive force          claim.
claims, he has failed to allege he suffered an injury. “The
Second Circuit has noted its agreement with other circuits         6      The Court further notes that District Judge Hurd
that ‘some degree of injury is ordinarily required to state               dismissed Flemming’s excessive force claims
a claim [of excessive force.]’ ” Benjamin v. Flores, No.11-               in Flemming v. Rock, 2016 WL 632248, at
CV-4216 (ARR), 2012 WL 5289513, at *3 (E.D.N.Y. Oct.                      *3, and noted that the dismissed claims were
23, 2012) (quoting United States v. Walsh, 194 F.3d 37,                   nearly identical to excessive force claims asserted
50 (2d Cir. 1999)). Although the objective element may be                 by Flemming in a prior action—Flemming v.
satisfied even if the prisoner does not show a “serious” injury,          Santamore, No. 9:15-CV-29 (DNH/CFH). Judge
Flemming’s failure to allege any injury at all falls short of             Hurd further noted that those claims were nearly
satisfying pleading requirements. See Hudson, 503 U.S. at 7               identical to the excessive force claims asserted in
(“The absence of serious injury is ... relevant to the Eighth             two other complaints filed by Flemming in the
Amendment inquiry, but does not end it.”). Thus, Flemming                 Northern District of New York. Flemming v. Rock,
has failed to plausibly allege the objective element of his               2016 WL 632248, at *2 n.4. Upon review of the


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        complaint in Flemming v. Rock, the Court notes              791 F. Supp. 2d 353, 366 (S.D.N.Y. 2011) (quoting Dawes,
        that Flemming’s excessive force claims—which                239 F.3d at 292-93).
        were dismissed for failure to state a claim upon
        which relief may be granted—are very similar to             Here, Flemming alleges in his second cause of action that he
        the excessive claims asserted in this case, albeit          was threatened by defendants King and Bilow. Compl. at 5.
        against different defendants. See Flemming v.               He also states that he told King and Bilow that he would file
        Rock, No. 9:15-CV-30, Dkt. No. 1.                           a lawsuit against them. Id. He then states, in a separate cause
                                                                    of action, that King and Bilow assaulted him. Id.
 *4 Accordingly, it is recommended that defendants' motion
on this ground be granted.
                                                                    To satisfy the first element of a retaliation claim, Flemming
                                                                    must show that he engaged in a protected activity. Flemming
                                                                    states that he threatened to file a lawsuit against defendants
              D. First Amendment Retaliation                        King and Bilow. Compl. at 5. Courts in this Circuit have
                                                                    routinely found that a prisoner’s threat of filing a grievance or
Courts are to “approach [First Amendment] retaliation claims
                                                                    lawsuit constitutes protected activity. See Gibson v. Fischer,
by prisoners ‘with skepticism and particular care[.]’ ” See,
                                                                    No. 9:10-cv-0968 (LEK/TWD), 2014 WL 7178346, at *15
e.g., Davis v. Goord, 320 F.3d 346, 352 (2d Cir. 2003)
                                                                    (N.D.N.Y. Dec. 15, 2014) (denying summary judgment
(quoting Dawes v. Walker, 239 F.3d 489, 491 (2d Cir. 2001),
                                                                    as to retaliation claim where the plaintiff threatened to
overruled on other grounds by Swierkiewicz v. Sorema, N.
                                                                    file a grievance); Sprau v. Coughlin, 997 F. Supp. 390,
A., 534 U.S. 506 (2002)). A retaliation claim under section
                                                                    393 (W.D.N.Y. 1998) (finding a prisoner’s threat to file a
1983 may not be conclusory and must have some basis in
                                                                    complaint sufficient to establish protected activity); but see
specific facts that are not inherently implausible on their face.
                                                                    Henry v. Dinelle, No. 9:10-CV-0456 (GTS/DEP), 2011 WL
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); South Cherry
                                                                    5975027, at *7 (N.D.N.Y. Nov. 29, 2011) (finding that a
St., LLC v. Hennessee Group LLC, 573 F.3d 98, 110 (2d Cir.
                                                                    prisoner’s statement implying that he would be consulting an
2009). “ To prove a First Amendment retaliation claim under
                                                                    attorney about whether to file a grievance was not protected
Section 1983, a prisoner must show that ‘(1) that the speech
                                                                    activity).
or conduct at issue was protected, (2) that the defendant took
adverse action against the plaintiff, and (3) that there was
                                                                     *5 As to the second prong, although Flemming states that
a causal connection between the protected speech and the
                                                                    he was assaulted by defendant King, and pushed down by
adverse action.’ ” Espinal v. Goord, 558 F.3d 119, 128 (2d
                                                                    defendant Bilow, the Court has stated above in section III.C,
Cir. 2009) (quoting Gill v. Pidlypchak, 389 F.3d 379, 380
                                                                    supra, that Flemming has failed to state an excessive force
(2d Cir. 2004), overruled on other grounds by Swierkiewicz,
                                                                    claim against defendants Kind and Bilow. However, for the
534 U.S. 506 (2002)). If the plaintiff meets this burden, the
                                                                    purposes of First Amendment retaliation analysis, the Court
defendants must show, by a preponderance of the evidence,
                                                                    notes that a physical assault constitutes adverse action. See
that they would have taken the adverse action against the
                                                                    Baskerville v. Blot, 224 F. Supp. 2d 723, 731-32 (S.D.N.Y.
plaintiff “even in the absence of the protected conduct.”
                                                                    2002) (finding that a retaliatory assault constitutes adverse
Mount Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429
                                                                    action). Indeed, the alleged assault need not rise to the
U.S. 274, 287 (1977). “Types of circumstantial evidence that
                                                                    level of an Eighth Amendment excessive force violation in
can show a causal connection between the protected conduct
                                                                    order to be considered an adverse action for purposes of
and the alleged retaliation include temporal proximity, prior
                                                                    First Amendment retaliation analysis. The alleged adverse
good discipline, finding of not guilty at the disciplinary
                                                                    action need only be “ ‘capable of deterring a person of
hearing, and statements by defendants as to their motives.”
                                                                    ordinary firmness’ from exercising the constitutional right
See Barclay v. New York, 477 F. Supp. 2d 546, 558 (N.D.N.Y.
                                                                    in question.” Nelson v. McGrain, No. 6:12-CV-6292(MAT),
2007). In order to prove an adverse action, a plaintiff must
                                                                    2015 WL 7571911, at *2 (W.D.N.Y. Nov. 24, 2015) (quoting
show that the defendant's “ ‘retaliatory conduct ... would
                                                                    Hill v. Lappin, 630 F.3d 468, 472 (6th Cir. 2010)) (emphasis
deter a similarly situated individual of ordinary firmness from
                                                                    in original) (citation omitted). Thus, at this stage of the
exercising his or her constitutional rights .... Otherwise, the
                                                                    pleadings, Flemming has satisfied the second prong. See id.
retaliatory act is simply de minimis, and therefore outside the
                                                                    (concluding that retaliatory acts were more than de minimis
ambit of constitutional protection.’ ” Roseboro v. Gillespie,
                                                                    acts of harassment). 7



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                                                                     sufficient facts to state a plausible claim. While this Court
                                                                     diminished the special solicitude afforded to Flemming at
7      Defendants assert in their Memorandum of Law                  the pleading stage of the proceedings, it did not completely
       in support of their motion that the adverse action            abolish the leniency with which his pleadings are to be
       prong of Flemming’s retaliation claim consists only           construed. See Sealed Plaintiff, 537 F.3d at 191. Thus,
       of a claim that officers threatened him to cease his          the Court finds that Flemming has stated a plausible
       filing grievances. Dkt. No. 32-1 at 6-7. They base            First Amendment retaliation claim to overcome defendants'
       this argument on Flemming’s use of the form civil             motion.
       rights complaint, stating that because he alleges
       threats in the section labeled “second cause of               Accordingly, it is recommended that defendants' motion on
       action” and a physical assault in the section labeled         this ground be denied.
       “third cause of action,” he has failed to satisfy
       the second prong of First Amendment retaliation
       analysis. Id. at 7. The Court rejects this argument.
       Upon initial review, District Judge Hurd interpreted                                 III. Conclusion
       Flemming’s complaint as stating that Flemming
                                                                     *6 For the reasons stated above, it is hereby:
       was assaulted for threatening to initiate a lawsuit.
       Dkt. No. 3 at 5-6. The undersigned will do the                  RECOMMENDED that defendants Matthew J. King and
       same.                                                           David Bilow’s motion for dismissal under Rule 12(b)(6)
Lastly, as to the third prong, plaintiff states that on March          (Dkt. No. 32) of plaintiff Woodrow Flemming’s complaint
24, 2011, he was threatened by King and Bilow to not file              (Dkt. No. 1) be
any more grievances. Compl. at 5. He then states that he
                                                                          1. GRANTED as to the Eighth Amendment excessive
threatened to file a lawsuit against defendants King and
                                                                             force claims against defendants King and Bilow.
Bilow. Id. That same day, he was allegedly assaulted by King,
and pushed down by Bilow. Id. Claims of retaliation “must                 2. DENIED as to the First Amendment retaliation claims
be ‘supported by specific and detailed factual allegations,’                 against defendants King and Bilow; and it is further
‘not stated in wholly conclusory terms.’ ” Friedl v. City of
New York, 210 F.3d 79, 86 (2d Cir. 2000) (quoting Flaherty             ORDERED that the Clerk serve a copy of this Report-
v. Coughlin, 713 F.2d 10, 13 (2d Cir. 1983)). The only                 Recommendation and Order on the parties in accordance
circumstantial evidence supporting the finding of a causal             with Local Rules.
connection is Flemming’s assertions that the alleged assaults
committed by both defendants happened on the same day that           Pursuant to 28 U.S.C. § 636(b)(1), the parties m ay lodge
he threatened to file a lawsuit against those same defendants.       written objections to the foregoing report. Such objections
See Compl. at 5. However, this temporal proximity, coupled           shall be filed with the Clerk of the Court. FAILURE TO
with the common identity between the officers who Flemming           OBJECT TO THIS REPORT WITHIN FOURTEEN
verbalized his threat to, and the officers who allegedly             (14) DAYS WILL PRECLUDE APPELLATE REVIEW.
assaulted him, are sufficient to establish the third prong           Roldan v. Racette, 984 F.2d 85, 89 (2d Cir. 1993); Small v.
of Flemming’s First Amendment retaliation claim. See                 Sec'y of HHS, 892 F.2d 15 (2d Cir. 1989); see also 28 U.S.C.
Vogelfang v. Capra, 889 F. Supp. 2d 489, 518 (S.D.N.Y.               § 636(b)(1); FED. R. CIV. P. 72, 6(a), 6(e).
2012) (denying motion to dismiss retaliation claim where the
plaintiff alleged temporal proximity, coupled with a common
identity between the subject of the plaintiff’s grievance and        DATED: June 20, 2016.
the officer who issued a false misbehavior report).
                                                                     All Citations

Although Flemming’s pleadings lack specificity, the Court            Not Reported in Fed. Supp., 2016 WL 5219995
finds that at this stage in the proceedings, he has alleged

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                                                               defendants' motion for summary judgment be granted in part
                   2016 WL 5173282                             and denied in part. See ECF No. 37. Defendants have filed
     Only the Westlaw citation is currently available.         timely objections and plaintiff has filed a response. See ECF
      United States District Court, N.D. New York.             Nos. 39, 40.

            Woodrow FLEMMING, Plaintiff,                       Based upon a de novo review of the Report-Recommendation,
                          v.                                   the Report-Recommendation is accepted in whole. See 28
       Matthew J. KING; David Bilow, Defendants.               U.S.C. § 636(b)(1).

                  9:14-CV-0316 (DNH/DEP)                       Therefore, it is ORDERED that:
                              |
                      Signed 09/21/2016                        1. Defendants Matthew J. King and David Bilow’s motion for
                                                               dismissal pursuant to Federal Rule of Civil Procedure 12(b)
Attorneys and Law Firms                                        (6) (ECF No. 32) of plaintiff Woodrow Flemming’s complaint
                                                               (ECF No. 1) is:
WOODROW FLEMMING, P.O. Box 146, New York, NY
10039, Plaintiff pro se.                                         (a) GRANTED as to the Eighth Amendment excessive
                                                                 force claims against defendants King and Bilow; and
HON. ERIC T. SCHNEIDERMAN, Attorney General for the
State of New York, The Capital, OF COUNSEL: ORIANNA              (b) DENIED as to the First Amendment retaliation claims
CARRAVETTA, ESQ., Assistant Attorney General, Albany,            against defendants King and Bilow; and
NY 12224-0341.
                                                               2. The Clerk serve a copy of this Decision and Order upon
                                                               plaintiff in accordance with the Local Rules.
                DECISION and ORDER
                                                               IT IS SO ORDERED.
DAVID N. HURD, United States District Judge

 *1 Pro se plaintiff Woodrow Flemming brought this civil       All Citations
rights action pursuant to 42 U.S.C. § 1983. On June 20,
2016, the Honorable Christian F. Hummel, United States         Not Reported in Fed. Supp., 2016 WL 5173282
Magistrate Judge, advised by Report-Recommendation that

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      Only the Westlaw citation is currently available.                             I. Failure to Respond
       United States District Court, N.D. New York.
                                                                Flynn failed to submit any opposition papers to Defendants'
               Bruce FLYNN, Plaintiff,                          motion for summary judgment. Flynn was notified of the
                         v.                                     consequences of failing to respond to a summary judgment
       Joe WARD and Lief Wellenstein, Defendants.               motion by Defendants and the Court. Dkt. Nos. 64-1 and
                                                                65. However, “[t]he fact that there has been no response
                No. 15-CV-1028 (TJM/CFH)                        to a summary judgment motion does not ... mean that the
                              |                                 motion is to be granted automatically.” Champion v. Artuz,
                     Signed 06/06/2018                          76 F.3d 483, 486 (2d Cir. 1996). Even in the absence of
                              |                                 a response, Defendants are entitled to judgment only if the
                      Filed 06/07/2018                          material facts demonstrate their entitlement to judgment as a
                                                                matter of law. Id.; FED. R. CIV. P. 56(c). While “[a] verified
Attorneys and Law Firms
                                                                complaint is to be treated as an affidavit ... and [may] be
                                                                considered in determining whether material issues of fact
Bruce Flynn, 10-A-1558, Elmira Correctional Facility, P.O.
                                                                exist[,]” see Colon v. Coughlin, 58 F.3d 865, 872 (2d Cir.
Box 500, Elmira, NY 14902, pro se.
                                                                1995) (citations omitted), Flynn's Amended Complaint is not
Attorney General for the State of New York, OF COUNSEL:         verified. 2 Thus, the Amended Complaint does not have the
BRIAN W. MATULA, ESQ., Assistant Attorney General,              “force and effect of an affidavit.” See Tafari v. Brown, No.
The Capitol, Albany, New York 12224-0341, Attorney for          9:10-CV-1065 (GTS/DRH), 2012 WL 1098447, at *7, n. 8
Defendant.                                                      (N.D.N.Y. Mar. 30, 2012) (collecting cases). Despite this fact,
                                                                the Court may consider the exhibits attached to the Amended
                                                                Complaint. See Dawkins v. Williams, 511 F. Supp. 2d 248,
    REPORT-RECOMMENDATION AND ORDER 1                           255 (N.D.N.Y. 2007) (considering the exhibits annexed to
                                                                the pro se plaintiff's amended complaint when deciding the
1                                                               defendant's motion for summary judgment even though that
       This matter was referred to the undersigned for
       report and recommendation pursuant to 28 U.S.C.          pleading was not verified). Defendants do not dispute the
       § 636(b) and N.D.N.Y.L.R. 72.3(c).                       authenticity of the exhibits and, in fact, utilized the exhibits
                                                                during Flynn's deposition and cite to the exhibits in support
                                                                of the motion. Dkt. No. 64-2 ¶¶ 46-48; Dkt. No. 64-4; Dkt.
CHRISTIAN F. HUMMEL, U.S. MAGISTRATE JUDGE
                                                                No. 64-7 at 1-2. 3 Additionally, a copy of Flynn's deposition
 *1 Plaintiff pro se Bruce Flynn (“Flynn” or “Plaintiff”),      transcript is annexed as an exhibit to Defendants' motion.
an inmate who was, at all relevant times, in the custody of     Dkt. No. 64-4. Consequently, the facts set forth in Defendants'
the New York Department of Corrections and Community            Rule 7.1 Statement of Material Facts 4 are accepted as true,
Supervision (“DOCCS”), brings this action pursuant to 42        but only as to those facts that are not disputed by Flynn's
U.S.C. § 1983 against Defendants Acting Superintendent Joe      sworn testimony or the exhibits annexed to the Amended
Ward (“Defendant” or “Ward”) and C.O. Lief Wellenstein          Complaint. See N.D.N.Y. L.R. 7.1(a)(3) (“The Court shall
(“Defendant” or “Wellenstein”) for violations of his rights     deem admitted any properly supported facts set forth in
under the First Amendment. Dkt. No. 20 (“Am. Compl.”).          the Statement of Facts that the opposing party does not
Additional defendants were named, but the claims against        specifically controvert.”) (emphasis omitted).
them have since been dismissed. Dkt. No. 22. Presently before
the undersigned is Defendants' motion for summary judgment      2
and dismissal of the Amended Complaint pursuant to Rule                The Amended Complaint is not notarized and does
56 of the Federal Rules of Civil Procedure (“Fed. R. Civ.              not contain any statement from Flynn certifying
P.”). Dkt. No. 64. Flynn did not oppose the motion. For the            the veracity of the document under the penalty of
following reasons, it is recommended that Defendants' motion           perjury.
be granted in part and denied in part.


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3                                                                  From October 2011 until March 5, 2015, inmates in the
       Citations to page numbers refer to the pagination
                                                                   LTPC had physical access to the law library from 4:30 p.m.
       generated by CM/ECF, not the page numbers
                                                                   until 5:45 p.m. Dkt. No. 20-1 at 2; Dkt. No. 64-4 at 35-36.
       generated by the parties.
                                                                   On March 5, 2015, Captain Goppert issued a memorandum
4                                                                  advising the LTPC Population that their law library services
       Local Rule 7.1(a)(3) states:
         Summary Judgment Motions                                  would be “modified.” Dkt. No. 20-1 at 1. In accordance with
         Any motion for summary judgment shall contain             Facility Operations Manual 21.04 5 and Directive #4833, 6
         a Statement of Material Facts. The Statement              LTPC inmate requests for legal assistance from the law library
         of Material Facts shall set forth, in numbered            must be made in writing and forwarded to the law library
         paragraphs, each material fact about which                officer through the facility mail. Dkt. No. 20-1 at 3. Inmates
         the moving party contends there exists no                 were permitted two requests each day. Dkt. No. 64-4 at 36;
         genuine issue. Each fact listed shall set forth a         Dkt. No. 64-2 ¶ 34.
         specific citation to the record where the fact is
         established.                                              5      Mid-State C.F. Facility Operations Manual No.
         The opposing party shall file a response to the
                                                                          21.04 provided, in relevant part:
         Statement of Material Facts. The non-movant's
                                                                            3. Inmates in SHU areas may request, in writing,
         response shall mirror the movant's Statement
                                                                            legal assistance from the Law Library.
         of Material Facts by admitting and/or denying
                                                                            a. All requests for assistance must be sent to the
         each of the movant's assertions in matching
                                                                            Law Library Officer vi a facility mail and each
         numbered paragraphs. Each denial shall set forth
                                                                            request should document what kind of service is
         a specific citation to the record where the factual
                                                                            needed.
         issue arises. The non-movant's response may
                                                                            c. SHU inmates will only be allowed to have two
         also set forth any additional material facts that
                                                                            (2) legal research resources in their possession
         the non-movant contends are in dispute. Any
                                                                            at a time. Pick-up and delivery of legal materials
         facts set forth in the Statement of Material Facts
                                                                            will be made on a daily basis, Monday through
         shall be deemed admitted unless specifically
                                                                            Sunday.
         controverted by the opposing party.
                                                                          Dkt. No. 20-1 at 17.
       Local Rule 7.1(a)(3).
                                                                   6      DOCCS Directive #4833 provided, in pertinent
                                                                          part:
                       II. Background
                                                                            Cell Study Services: Inmates prohibited by their
                                                                            confinement status from visiting the Law Library
                           A. Facts                                         shall be allowed to study Law Library materials
                                                                            in their cells and obtain legal services normally
 *2 The facts are related herein in the light most favorable                available to general population inmates. Such
to Flynn as the nonmoving party. See subsection III(A) infra.               inmates may request, in writing, a maximum of
The facts recited are for the relevant time period as referenced            two items per day and these will be delivered,
in the Amended Complaint.                                                   if available, within 24 hours of receipt of the
                                                                            request. Inmates may retain said legal materials
At the time of the incidents described in the Amended                       for a period of not less than 16 hours nor more
Complaint, Flynn was confined in the Long Term Protective                   than 24 hours.
Custody Unit (“LTPC”) at Mid-State Correctional Facility                  Dkt. No. 20-1 at 5.
(“Mid-State C.F.”). See generally Am. Compl. Wellenstein
was a law library officer at Mid-State C.F. Dkt. No. 64-4
at 35-36. Ward was the Superintendent at Mid-State C.F. Id.                               1. Grievances
at 10. From December 2014 through June 2015, Flynn filed
numerous requests for legal materials/legal assistance. Dkt.       On January 6, 2015; February 14, 2015; and February
No. 20-2.                                                          17, 2015, Flynn filed grievances claiming that Wellenstein
                                                                   refused to make copies of his legal work or perform “word”



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and “key number searches” on the computer. Dkt. No. 64-5          appealed the decision to CORC and on September 21, 2015,
at 4-7. The grievances were consolidated (MS-28194-15) and        the Superintendent's decision was affirmed. Id. at 18.
on March 11, 2015, the Superintendent responded that Flynn
was being properly assisted. 7 Id. at 8. Flynn appealed the       9      See Footnote 7, supra.
decision to the Central Office Review Committee (“CORC”),
                                                                  On May 14, 2015, Flynn filed a grievance claiming that
and, on January 20, 2016, CORC upheld the Superintendent's
                                                                  Wellenstein refused to provide books. Dkt. No. 20-3 at 46.
determination. Id. at 3.

                                                                  On July 21, 2015, Flynn filed a grievance claiming that
7      The signature of the Superintendent is illegible.          Wellenstein refused to provide envelopes and deliberately
On March 10, 2015, Flynn filed a grievance claiming that          amended his documents. Dkt. No. 20-6 at 2.
Wellenstein refused to accept his March 8, 2015 request and
overcharged him for copies. Dkt. No. 20-3 at 12.                  On August 1, 2015, August 7, 2015, and August 10, 2015,
                                                                  Flynn filed grievances against Wellenstein claiming that he
 *3 On April 5, 2015, Flynn filed a grievance alleging that       refused to make copies of documents “in retaliation for the 2
Wellenstein (1) denied him access to the courts; (2) fraud; (3)   most recent grievances against him.” Dkt. No. 64-5 at 26-28.
destruction of property; (4) refused to provide legal materials   The grievances were consolidated (MS-22079-15) and on
or assistance; and (5) refused to respond to weekend requests     August 27, 2015, after an investigation, the Superintendent
(MS-21943-15). Dkt. No. 64-5 at 10-16. On May 6, 2015,            denied the grievances. 10 Id. at 29. Flynn appealed the
the Superintendent responded that Flynn's concerns were           decision to CORC and on October 21, 2015, CORC affirmed
being properly addressed. 8 Id. at 17. Flynn appealed the         the Superintendent's decision. Id. at 24.
decision to CORC and on October 21, 2015, CORC upheld
the Superintendent's determination. Id. at 9.                     10     See Footnote 7, supra.
                                                                  On August 20, 2015, Flynn filed a grievance (MS-22105-15)
8      See Footnote 8, supra.                                     claiming that Wellenstein threatened him and told him, “if I
On April 17, 2015, Flynn filed a grievance claiming that          did not stop with my grievances that he, C.O.’s Jordan and
Wellenstein unlawfully ordered him to remain out of his cell      Miller were going to set me up again like they have done
while he made rounds. Dkt. No. 20-3 at 33.                        numerous times in the past.” Dkt. No. 20-6 at 10.


On April 28, 2015, Flynn filed a grievance claiming that          On October 23, 2015, Flynn filed a grievance claiming
Wellenstein was deliberately harassing him and destroying his     that Wellenstein refused to provide copies and purposefully
documents. Dkt. No. 20-3 at 34.                                   delayed his access to the courts (MS-22183-15). Dkt. No.
                                                                  64-5 at 31. On November 10, 2015, after an investigation,
On April 30, 2015, Flynn filed a grievance charging               the Superintendent determined that Flynn was being provided
Wellenstein with repeated verbal harassment. Dkt. No. 20-3 at     with Law Library services pursuant to Directive #4483. 11 Id.
42. Flynn claimed that Wellenstein came to his cell, accused      at 33. Flynn appealed to CORC, and on February 17, 2016,
Flynn of smoking, entered the cell, and pushed Flynn aside.       CORC upheld the determination. Id. at 30.
Id. Flynn alleged that Wellenstein made “a couple of smart
remarks” and was “angry” over the numerous grievances             11     See Footnote 7, supra.
Flynn filed. Id.
                                                                  On November 6, 2015, Flynn filed a grievance
On May 6, 2015; May 8, 2015; and May 11, 2015, Flynn              (MS-22200-15) claiming that Wellenstein's behavior
filed grievances accusing Wellenstein of destroying copies,       prohibited him from conducting meaningful research. Dkt.
harassment, and threatening behavior. Dkt. No. 64-5 at 19-21.     No. 64-5 at 37. On December 15, 2015, after an investigation,
The grievances were consolidated (MS-21970-15), and, on           the Superintendent denied the grievance. 12 Id. at 38. Flynn
July 14, 2015, after an investigation, the Superintendent         appealed the decision to CORC, and on March 23, 2016,
issued a decision denying the grievances. 9 Id. at 22-23. Flynn   CORC affirmed the determination. Id. at 36.




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12                                                                             monitor our alleged activities, and in
       See Footnote 7, supra.
                                                                               this incident no 3-way call was made
 *4 On January 14, 2016, Flynn filed a grievance claiming                      & this is retaliation for my litigation.
that the photocopier was not functioning properly because
Wellenstein manipulated the memory function. Dkt. No. 20-6
at 61.
                                                                   Dkt. No. 20-6 at 9.

                                                                   On August 24, 2015, Wellenstein issued a misbehavior report
                  2. Misbehavior Reports                           charging Flynn with threats and harassment. Dkt. No. 20-6
                                                                   at 12. Wellenstein reported that Flynn told him, “[o]ne day
On April 30, 2015, Wellenstein issued a misbehavior report         when I get out, I am going to see you selling flowers on the
charging Flynn with smoking. 13 Dkt. No. 20-6 at 70. After a       corner and then I will take care of you the way I want to.” Id.
Tier II disciplinary hearing, Flynn was sentenced to eighteen      After a Tier II disciplinary hearing, Flynn was sentenced to
days in keeplock confinement. Id. Flynn served his sentence        thirty days in keeplock confinement. Id. at 70. The sentence
from April 30, 2015 until May 18, 2015. Id.                        was suspended until December 8, 2015. Id.

13                                                                 On November 12, 2015, Officer U. Upshaw issued Flynn a
       The misbehavior report is not part of the record.
                                                                   misbehavior report charging him with smoking, arson, false
On August 1, 2015, Officer Koscielniak issued Flynn a              statements, and possessing flammable material. Dkt. No.
misbehavior report charging him with violating facility rules      20-6 at 24. After a disciplinary hearing, the charges were
related to smoking. Dkt. No. 20-6 at 6. After a Tier II            dismissed. Id. at 25.
disciplinary hearing, the hearing officer sentenced Flynn
to a thirty day loss of recreation, commissary, and phone/         On November 18, 2015, Wellenstein issued a misbehavior
package privileges. Id. at 70. On August 1, 2015, Wellenstein      report charging Flynn with harassment. Dkt. No. 20-6 at 16.
issued a second misbehavior report charging Flynn with             The misbehavior report was dismissed by the hearing officer.
disobeying a direct order. Dkt. No. 20-6 at 5. After a Tier II     Am. Compl. ¶ 125.
disciplinary hearing, the hearing officer sentenced Flynn to a
thirty day loss of recreation, commissary, and phone/package       On December 11, 2015, Wellenstein issued a misbehavior
privileges for thirty days, but the sentence was suspended         report charging Flynn disobeying a direct order and
until November 16, 2015. Id. at 70.                                harassment. Dkt. No. 20-6 at 26. The ticket was dismissed by
                                                                   the hearing officer. Am. Compl. at ¶ 130.
On August 17, 2015, Officer Alsante issued Flynn a
misbehavior report charging him with placing a three-way
call in violation of facility rules. Dkt. No. 20-6 at 8. Alsante
noted that, on August 17, 2015, “[a]t approx. 9:05 p.m., at                               3. Legal Work
the request of C.O. J. Jordan, I began monitoring 10-2 SHU
                                                                    *5 In 2013, Flynn filed a Habeas Corpus petition in this
phone[.]” Id. As a result of the report, Flynn was placed
                                                                   Court. See Flynn v. J. Colvin, No. 9:13-CV-1247 (JKS)
in keeplock for eighteen days from August 17, 2015 until
                                                                   (N.D.N.Y. 2013). On October 19, 2015, Flynn filed an action
September 4, 2015. Id. at 8, 70. Flynn appealed the decision
                                                                   in the Court of Claims against Wellenstein charging him
to Ward claiming that Jordan asked Alsante to monitor his
                                                                   with deliberately destroying legal documents. Dkt. No. 20-6
telephone call “as part of a campaign of harassment that CO
                                                                   at 27-28. In 2014 and 2015, Flynn was researching and
Wellenstein has launched against those inmates in 10-2 who
                                                                   gathering exhibits in support of a writ of error coram nobis to
are trying to access the law library and [c]ourts.” Id. at 9.
                                                                   vacate his conviction. Dkt. No. 64-4 at 17. In 2014 and 2015,
Flynn further noted:
                                                                   Flynn was also working on a petition for the Department of
                                                                   Veterans' Affairs to increase his disability benefits, Article
                                                                   78 petitions, a foreclosure action, and commenced litigation
             CO W has written 4 misbehavior                        in the Court of Claims. Dkt. No. 64-4 at 18, 21, 25, 29. On
             reports against me & encourages other                 August 24, 2015, Flynn commenced the within action. Dkt.
             CO's to do the same, as well as                       No. 1.



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During his deposition, Flynn testified that did not know the
                                                                                         A. Legal Standard
procedural posture of any of his actions or petitions, could not
recall whether deadlines were in place in any litigation, and       A motion for summary judgment may be granted if there is
could not remember the details of each petition and action.         no genuine issue as to any material fact, it was supported
Dkt. No. 64-4 at 17-31. Flynn testified that his legal work         by affidavits or other suitable evidence, and the moving
was lost and therefore, without being able to refer to his legal    party is entitled to judgment as a matter of law. See FED
records, he could not state whether he suffered any negative        R. CIV. P. 56(a). The moving party has the burden to show
consequences in any legal matter. Id. at 31-32, 44, 107.            the absence of disputed material facts by providing the court
                                                                    with portions of pleadings, depositions, and affidavits which
In June 2016, Flynn was transferred out of Mid-State C.F. Dkt.      support the motion. See FED R. CIV. P. 56; Celotex Corp.
No. 25.                                                             v. Catrett, 477 U.S. 317, 323 (1986). Facts are material if
                                                                    they may affect the outcome of the case as determined by
                                                                    substantive law. See Anderson v. Liberty Lobby, Inc., 477
                   B. Procedural History                            U.S. 242, 248 (1986). All ambiguities are resolved and all
                                                                    reasonable inferences drawn in favor of the non-moving party.
On August 24, 2015, Flynn filed the Complaint in this action.       See Skubel v. Fuoroli, 113 F.3d 330, 334 (2d Cir. 1997).
Dkt. No. 1. In a Decision and Order filed December 4, 2015
(“December Order”), the Court reviewed the Complaint in              *6 The party opposing the motion must set forth facts
accordance with 28 U.S.C. § 1915(e)(2)(B) and 28 U.S.C. §           showing that there is a genuine issue for trial, and must do
1915A, and determined that the Complaint failed to state a          more than show that there is some doubt or speculation as
claim upon which relief could be granted and, therefore, was        to the true nature of the facts. See Matsushita Elec. Indus.
subject to dismissal. Dkt. No. 11. In light of his pro se status,   Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).
Flynn was afforded an opportunity to submit an amended              For a court to grant a motion for summary judgment, it must
complaint. Dkt. No. 11 at 18. On February 25, 2016, Flynn           be apparent that no rational finder of fact could find in favor
filed an Amended Complaint. Dkt. No. 20. Upon review of             of the non-moving party. See Gallo v. Prudential Residential
the Amended Complaint, the Court directed Wellenstein and           Servs., Ltd. P'ship., 22 F.3d 1219, 1223-24 (2d Cir. 1994);
Ward to respond to the First Amendment claims related to            Graham v. Lewinski, 848 F.2d 342, 344 (2d Cir. 1998).
access to the courts and retaliation. Dkt. No. 22 at 14, 26, 29.
                                                                    Where, as here, a party seeks judgment against a pro se
                                                                    litigant, a court must afford the non-movant special solicitude.
                                                                    See Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 477
                      III. Discussion 14                            (2d Cir. 2006). As the Second Circuit has stated,
14                                                                    [t]here are many cases in which we have said that a pro se
        All unpublished opinions cited to by the
        undersigned in this Report-Recommendation are,                litigant is entitled to “special solicitude,” ... that a pro se
        unless otherwise noted, attached to this Report-              litigant's submissions must be construed “liberally,” ... and
        Recommendation.                                               that such submissions must be read to raise the strongest
                                                                      arguments that they “suggest,” ... At the same time, our
In the Amended Complaint, Flynn alleges that his First
                                                                      cases have also indicated that we cannot read into pro se
Amendment right to access the courts was violated and
                                                                      submissions claims that are not “consistent” with the pro se
further, that Wellenstein retaliated against him for filing
                                                                      litigant's allegations, ... or arguments that the submissions
grievances. See generally Am. Compl. Defendants move for
                                                                      themselves do not “suggest,” ... that we should not “excuse
summary judgment arguing that (1) Flynn failed to allege any
                                                                      frivolous or vexatious filings by pro se litigants,” ... and
“actual injury” to sustain a First Amendment claim; (2) Flynn
                                                                      that pro se status “does not exempt a party from compliance
cannot establish a retaliation claim against Wellenstein; (3)
                                                                      with relevant rules of procedural and substantive law,”...
Flynn's supervisory claims against Ward must be dismissed;
and (4) Flynn failed to exhaust his administrative remedies         Id. (citations and footnote omitted); see also Sealed Plaintiff
with respect to retaliatory conduct. See generally Dkt. No. 64.     v. Sealed Defendant, 537 F.3d 185, 191–92 (2d Cir. 2008).




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                                                                    working on in 2015, the procedural posture of any pending
                                                                    litigation, or whether he was subject to any Court imposed
                    B. First Amendment
                                                                    deadlines. Dkt. No. 64-4 at 12-31. Flynn testified that he filed
                                                                    actions in the Court of Claims against Wellenstein related
                     1. Access to Courts                            to the destruction of his legal work, and that the actions
                                                                    were dismissed, but he could not attribute that dismissal to
Flynn claims that Wellenstein deliberately “mixed up” and           Wellenstein's actions or inactions. Id. at 25-26, 29, 30. Flynn
destroyed legal exhibits, refused to accept legal requests, and     explained that he could not provide any specific information
failed to provide legal materials, assistance, and copies. See      related to Court deadlines or legal matters because he was
generally, Am. Compl. As a result, Flynn claims that he was         compelled to send his legal work home and it was lost. Dkt.
prevented from filing a writ of coram nobis, a petition for         No. 64-4 at 18-19, 25, 31, 45. Flynn testified:
habeas relief, a petition with the Department of Veterans'
Affairs, an Article 78 petition, and an appeal with the
New York State Retirement System and missed deadlines in
                                                                                 ... Most of my legal work was shipped
pending litigation. See id. Defendants argue, even assuming
                                                                                 —sent home. They forced me to send
that Flynn had demonstrated a material issue of fact as to
                                                                                 most of my legal work home, so—and
whether Defendants acted deliberately and maliciously in
                                                                                 I haven't been able to get my legal
failing to provide him with legal assistance and materials,
                                                                                 work sent to me. Then they lost a box
the record does not support Flynn's conclusory claim that he
                                                                                 of legal work, so.
suffered an actual injury caused by the Defendants. Dkt. No.
64-6 at 4.

Undoubtedly, prisoners have a constitutional right to               Dkt. No. 64-4 at 18.
meaningful access to the courts. See Bounds v. Smith,
430 U.S. 817, 824 (1977); Lewis v. Casey, 518 U.S. 343,             The record however, lacks any facts related to who directed
350 (1996) (“The right that Bounds acknowledged was the             Flynn to send his legal work home, when or what portion of
(already well-established) right of access to the courts.”). This   his work was misplaced or lost, and who was responsible for
right is implicated when prison officials “actively interfer[e]     his missing legal work.
with inmates' attempts to prepare legal documents[ ] or file
them[.]” Lewis, 518 U.S. at 350 (internal citations omitted).       Even if the undersigned accepts Flynn's explanation, the
To establish a denial of access to the courts claim, a plaintiff    docket reports for cases pending in this Court, as well as
must satisfy two prongs. First, a plaintiff must show that          Flynn's litigation history, belie his First Amendment claims.
the defendant acted deliberately and maliciously. See Davis         In October 2013, Flynn filed a Petition for Habeas Corpus
v. Goord, 320 F.3d 346, 351 (2d Cir. 2003). Second, the             relief. See Flynn v. Colvin, No. 9:13-CV-1247 (JKS), Dkt.
plaintiff must demonstrate that he suffered an actual injury,       No. 1 (N.D.N.Y. Oct. 7, 2013). From February 2014 until June
“i.e., [the defendant] took or was responsible for actions that     2016, Flynn filed several submissions in that case including
hindered a plaintiff's efforts to pursue a legal claim.” Monsky     various motions, an application for counsel, a reply to his
v. Moraghan, 127 F.3d 243, 247 (2d Cir. 1997) (internal             petition, and objections to Court Orders. Id.; Dkt. Nos. 20,
citations, quotation marks, and alterations omitted) (quoting       22, 24, 26, 27, 29, 31, 33, 34, 35, 36, 38. In December 2016,
Lewis, 518 U.S. at 329); Davis, 320 F.3d at 351 (internal           the Petition was denied and Judgment was entered. Id.; Dkt.
quotation marks omitted). “[A] delay in being able to work          Nos. 47, 48. Nothing in the record suggests that the Petition
on one's legal action or communicate with the courts does           was denied for failure to comply with deadlines, prosecute,
not rise to the level of a constitutional violation.” Benjamin      or purse the action.
v. Kerik, 102 F. Supp. 2d 157, 164 (S.D.N.Y. 2000) (citation
omitted), aff'd sub nom. Benjamin v. Fraser, 264 F.3d 175 (2d       In August 2015, Flynn commenced the within action by filing
Cir. 2001).                                                         an eighteen page complaint with over two hundred pages of
                                                                    exhibits, together with a motion to proceed IFP, an inmate
 *7 Here, while Flynn made several claims in his Amended            authorization form, a motion to appoint counsel, and a motion
Complaint related to pending legal matters, Flynn testified at      for preliminary injunctive relief. Dkt. Nos. 1, 2, 3, 4, 5. From
his deposition that he could not recall what litigation he was      August 2015 until June 2016, Flynn filed letters, motions, and



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a fifty-four page Amended Complaint. Dkt. No. 6, 8, 10, 12,        are insufficient. See id. at 214 (citing Flaherty v. Coughlin,
16, 18, 20, 23. Flynn has clearly been able to proceed in his      713 F.2d 10, 13 (2d Cir. 1983) (explaining that “claim[s]
litigation of this case, despite his claims otherwise.             supported by specific and detailed factual allegations ... ought
                                                                   usually be pursued with full discovery.”) ). If the plaintiff
In December 2017 and March 2018, the Appellate Division            establishes these elements, the burden shifts to the defendants
issued Orders dismissing two such petitions. See Flynn             to show by a preponderance of the evidence that they would
v. Annucci, 156 A.D.3d 1105 (3d Dep't 2017); Flynn v.              have taken the same action against the plaintiff absent his
Annucci, 159 A.D.3d 1181, 1182 (3d Dep't 2018). In the 2018        engaging in the protected conduct. See Graham v. Henderson,
Order, the Court affirmed the disciplinary determination after     89 F.3d 75, 79 (2d Cir. 1996).
considering the documentary evidence, hearing testimony,
and misbehavior report. Flynn, 159 A.D.3d at 1182. The             To satisfy the first element of a retaliation claim, a plaintiff
record lacks facts establishing that these cases were dismissed    must show that he engaged in a protected activity. See Espinal
due to Flynn's inability to prosecute or purse the matters or      v. Goord, 558 F.3d 119, 128 (2d Cir. 2009). In the prison
Defendants' behavior. See Davis, 320 F.3d at 352 (holding          context, “adverse action” is objectively defined as conduct
that a plaintiff must show that there is “a causal connection      “that would deter a similarly situated individual of ordinary
between the protected speech and the adverse action.”)             firmness from exercising ... constitutional rights.” Davis v.
(citation omitted).                                                Goord, 320 F.3d 346, 353 (2d Cir. 2003). “[A]dverse action
                                                                   taken for both proper and improper reasons may be upheld if
To summarize, Flynn has failed to show that Defendants'            the action would have been taken based on the proper reasons
actions hindered his efforts to pursue a legal claim. Flynn was    alone.” Jackson, 549 F. Supp. 2d at 215.
able to file several submissions in this Court, demonstrating
that Defendants' alleged conduct did not prevent him from          The plaintiff bears the burden of establishing that “the
litigating actions. Flynn has failed to provide evidence of any    protected conduct was a substantial or motivating factor in
type of actual injury which occurred as a result of Defendants'    the prison officials' decision to discipline the plaintiff.” Gayle,
actions. Flynn has failed to identify which legal claims were      313 F.3d at 682. A plaintiff “may do so with circumstantial
frustrated, if they were meritorious, and how his access           evidence if it is ‘sufficiently compelling[.]’ ” Kotler v.
to legal materials, supplies, or the law library would have        Donelli, 382 F. App'x 56, 57-58 (2d Cir. 2010) (summary
supported the viability of such claims. In the absence of any      order) (quoting Bennett v. Goord, 343 F.3d 133, 137 (2d Cir.
evidence that Flynn suffered any actual injury precluding him      2003) ). “Types of circumstantial evidence that can show
from pursuing any judicial action, it is recommended that          a causal connection between the protected conduct and the
Defendants' motion for summary judgment on this ground             alleged retaliation include temporal proximity, prior good
should be granted.                                                 disciplinary record, finding of not guilty at the disciplinary
                                                                   hearing, and statements by defendants as to their motives.”
                                                                   Barclay v. New York, 477 F. Supp. 2d 546, 588 (N.D.N.Y.
                                                                   2007) (citations omitted). Temporal proximity between the
                        2. Retaliation
                                                                   protected activity and the adverse action “must be very close.”
 *8 To state an actionable claim for retaliation under the First   Meyer v. Shulkin, ––– F. App'x ––––, 2018 WL 480478, at *2
Amendment, a prisoner must establish by a preponderance            (2d Cir. Jan. 19, 2018) (citation omitted).
of the evidence that: (1) the speech or conduct at issue was
protected; (2) the defendant took adverse action against the
plaintiff; and (3) there was a causal connection between                        There is no bright line to define
the protected speech and the adverse action. See Gill v.                        the outer limits beyond which a
Pidlypchak, 389 F.3d 379, 380 (2d Cir. 2004) (internal                          temporal relationship is too attenuated
quotation marks and citation omitted); Tafari v. McCarthy,                      to establish a causal relationship, so
714 F.Supp.2d 317, 347 (N.D.N.Y. 2010). Courts must                             courts judge the permissible inferences
view retaliation claims with care and skepticism to avoid                       that can be drawn from temporal
judicial intrusion into matters of prison administration. See                   proximity in the context of particular
Jackson v. Onondaga Cnty., 549 F. Supp. 2d 204, 214-15                          cases. However, courts have found
(N.D.N.Y. 2008). Therefore, conclusory allegations alone                        that six and eight month gaps



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             between the protected conduct and                        chill a person of ordinary firmness from continuing to engage
             adverse action were sufficient, while in                 in First Amendment activity.”); Sloane v. Mazzuca, No. 04
             other circumstances three months was                     CV 8266(KMK), 2006 WL 3096031, at *13-14 (S.D.N.Y.
             considered too long.                                     Oct. 31, 2006) (concluding that the defendant's conduct of
                                                                      throwing a food tray at plaintiff did not amount to adverse
                                                                      action); cf. Williams v. Hesse, No. 9:16-CV-01343 (GTS/
Burton v. Lynch, 664 F.Supp.2d 349, 367 (S.D.N.Y. 2009)               TWD), 2018 WL 1363759, at *7-8 (N.D.N.Y. Feb. 2, 2018)
(internal quotation marks and citations omitted).                     (concluding that the defendants' threats coupled with spitting
                                                                      chewing tobacco in the plaintiff's face that resulted in “severe
Flynn claims that Wellenstein assaulted him, threatened him,          burning, pain, and a temporary loss of vision in his right
denied him access to the court, and filed misbehavior reports         eye for nearly six hours, and a severe headache for days”
in retaliation for Flynn's grievances against Wellenstein.            constituted adverse action) Moreover, there is no indication
See generally Am. Compl. It is well-settled that the filing           that plaintiff sought medical treatment or experienced severe
of a grievance constitutes protected speech under the First           pain or suffering as a consequence of the alleged assault. See
Amendment. See Graham, 89 F.3d at 80; Franco v. Kelly,                Williams, 2018 WL 1363759, at *7-8. Therefore, because the
854 F.2d 584, 589 (2d Cir. 1988) (“Moreover, intentional              undersigned finds that Wellenstein's alleged assault does not
obstruction of a prisoner's right to seek redress of grievances       amount to adverse action, it is recommended that Defendants'
is precisely the sort of oppression that section 1983 is              motion on this ground be granted.
intended to remedy.”) (alteration and internal quotation marks
omitted); see also Roseboro, 791 F. Supp. 2d at 367 (finding
that the filing of a grievance is a protected activity); Mateo                             b. Access to Courts
v. Fischer, 682 F. Supp. 2d 423, 433 (S.D.N.Y. 2010) (same).
Thus, for each allegation, Flynn has satisfied the first prong of     Flynn alleges that Wellenstein denied him access to the law
First Amendment retaliation analysis. Thus, the Court turns           library and to the courts in retaliation for filing grievances.
to whether Flynn has established that he suffered an adverse          Dkt. No. 20 ¶¶ 57, 59, 118, 119, 120, 122. Although a
action and a causal connection between the protected conduct          defendant's underlying action may not amount to a violation
and the adverse action.                                               of a constitutionally protected right, this does not preclude
                                                                      such action from consideration as an adverse action. See
                                                                      Shariff v. Poole, 689 F. Supp. 2d 470, 478-79 (W.D.N.Y.
                                                                      2010). “ ‘An act in retaliation for the exercise of a
                           a. Assault
                                                                      constitutional right is actionable under § 1983 even if the act
 *9 Flynn alleges that Wellenstein assaulted him on April             when taken for different reasons would have been proper.’
30, 2015 in retaliation for filing grievances. See Am. Compl.         ” Id. (quoting Franco, 854 F.2d at 588); see Nei v. Dooley,
¶ 54. With respect to the second prong of the analysis,               372 F.3d 1003, 1007 (8th Cir. 2004) (rejecting the defendants'
Defendants claim that the alleged action, i.e., pushing, was          argument that “[a]s for the inmates' claim that they were
de minimis and thus, not an adverse action. The undersigned           retaliated against for filing their lawsuit by being denied
agrees. Although an alleged assault need not rise to the              access to the prison law library, the officials contend the
level of an Eighth Amendment excessive force violation in             district court should have construed the claim as one of denied
order to be considered an adverse action for purposes of              access to the courts, requiring proof of actual injury, rather
First Amendment retaliation analysis, Flynn's allegations that        than one of retaliation) (citation omitted).” Thus, even though
Wellenstein “push[ed] him around,” see Am. Compl. ¶ 54, are           the undersigned has recommended dismissal of plaintiff's
de minimis. See Rivera v. Goord, 119 F. Supp. 2d 327, 340             access to the courts claim, Wellenstein's underlying conduct
(S.D.N.Y. 2000) (“[E]ven though [the plaintiff] has alleged           may still be assessed as adverse action.
that the actions of [the defendants] were motivated by [the
plaintiff's] filing of grievances, the alleged acts of retaliation,   It is well-settled that the denying an inmate access to the law
even if assumed to be true, are de minimis; [the plaintiff]           library or destroying legal material constitutes adverse action.
states only that [the defendants] ‘shoved’ him while taking           See Guillory v. Haywood, No. 9:13-CV-01564 (MAD), 2015
him to the ‘box’ (i.e., Green Haven's Special Housing Unit,           WL 268933, at *17 (N.D.N.Y. Jan. 21, 2015) (“Furthermore,
or “SHU”). Such actions, even if proven at trial, would not           refusing to allow Plaintiff to go to the law library knowing



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that it would prevent an inmate from filing papers in a             or I will write you up. I will set you up for grieving me
pending lawsuit in a timely manner would arguably deter             all the time.” Id. ¶ 58. Assessing these statements in the
a similarly situated individual of ordinary firmness from           light most favorable to Flynn as the non-moving party, the
exercising ... constitutional rights.”) (internal quotation marks   statements are sufficient to support “an inference of a causal
and citation omitted); see also Jean-Laurent v. Lane, No. 9:11-     connection between” plaintiff's grievances and Wellenstein's
CV-186 (NAM/TWD), 2013 WL 600213, at *10 (N.D.N.Y.                  alleged denial of legal materials and/or the law library.
Jan. 24, 2013), report and recommendation adopted, 2013 WL          Baskerville v. Blot, 224 F. Supp. 2d 723, 732 (S.D.N.Y.
599893 (N.D.N.Y. Feb. 15, 2013) (“Destruction of Plaintiff's        2002). Moreover, Wellenstein has not provided an affidavit or
legal material and documents for his Second Circuit appeal          other evidence to refute Flynn's testimony. Therefore, there
constitutes an adverse action for purposes of the retaliation       is a genuine triable issue of fact for a jury to consider. See
analysis.”). Thus, Flynn has established the second prong of        Ramos v. O'Connell, 28 F. Supp. 2d 796, 803 (W.D.N.Y. 1998)
the retaliation analysis.                                           (denying summary judgment where the defendants failed to
                                                                    submit affidavits or documents to contradict the plaintiff's
With respect to the third prong, Flynn must establish a             account). Therefore, affording plaintiff special solicitude, it
causal connection “sufficient to support the inference ‘that        is recommended that Defendants' motion on this ground be
the speech played a substantial part’ in the [ ] adverse [ ]        denied.
action.” Diesel v. Town of Lewisboro, 232 F.3d 92, 107
(2d Cir. 2000) (quoting Ezekwo v. NYC Health & Hosps.
Corp., 940 F.2d 775, 780-81 (2d Cir. 1991) ). As to temporal
                                                                                              c. Threats
proximity, the record indicates that on March 10, 2015; April
5, 2015; April 30, 2015; May 6, 2015; May 8, 2015; May 11,          Verbal harassment and threats are generally not considered
2015; May 14, 2015; July 21, 2015; August 7, 2015; October          conduct “that would deter a similarly situation individual
23, 2015; and November 6, 2015, Flynn filed grievances              of ordinary firmness of exercising constitutional rights.”
against Wellenstein. See Dkt. N. 64-7. Although there is            Cabassa v. Smith, No. 9:08-CV-0480 (LEK/DEP), 2009 WL
no “bright line” establishing the time frame appropriate for        1212495, at *7 (N.D.N.Y. Apr. 30, 2009) (citing Gill, 389
establishing temporal proximity, the short gap between the          F.3d at 380) (additional citation omitted). Verbal threats
protected conduct and adverse action appears sufficiently           however, may constitute adverse action for purpose of a First
close to support an indication of a causal connection. See          Amendment retaliation if the threats are sufficiently specific.
Espinal, 558 F.3d at 129 (holding that passage of six months        Barrington v. New York, 806 F. Supp. 2d 730, 746 (S.D.N.Y.
between protected conduct and adverse action sufficiently           2011); see also Ford v. Palmer, 539 F. App'x 5, 6 (2d Cir. 2013)
supported an inference of a causal connection); see, e.g.,          (summary order) (finding that a verbal threat constituted
Morales v. Mackalm, 278 F.3d 126, 131 (2d Cir. 2002)                adverse action where corrections officer threatened to poison
(concluding that the short time frame between grievance and         the plaintiff in retaliation for filing his grievances).
retaliatory action, along with allegation of the defendant's
involvement, sufficed to support an inference of a retaliatory      Here, Flynn testified that Wellenstein threatened him and told
motive), abrogated on other grounds, Porter v. Nussle, 534          him not to go to the law library. Dkt. No. 64-4 at 93-94. Upon
U.S. 516 (2002).                                                    further questioning, Flynn testified:

 *10 However, “temporal proximity alone cannot create                 Q. Okay. When did he make threats about not going to the
a genuine issue of material as to whether the motivation              law library?
behind [the defendant's] actions was retaliation.” Parks v.
                                                                      A. I don't recall.
Blanchette, 144 F.Supp.3d 282, 336-37 (D. Conn. 2015).
Additional circumstantial evidence supports the conclusion            Q. What about threats in writing you up, when did he say
that Wellenstein's conduct may have been motivated by                 that?
Flynn's complaints. On May 8, 2015, Flynn contends that
Wellenstein stated, “don't you dare file any more grievances          A. I don't recall.
or I will slap you silly and write misbehavior reports to stop
you from requesting anything.” Am. Compl. ¶ 56. On May 11,
2015, Wellenstein stated “don't [you] dare request anything



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                                                                   of a retaliation claim.”) (citation omitted); Bartley, 2006 WL
  Q. Do you recall the sum and substance of any of the             1289256 at *7 (holding that a misbehavior report which
  conversations about not going to the law library or about        resulted in the temporary loss of commissary privileges does
  writing you up?                                                  not constitute adverse action because the penalty was de
                                                                   minimis).
  A. I don't recall right now.

Dkt. No. 64-4 at 94.                                                *11 As a result of the misbehavior reports issued by
                                                                   Koscielniak and Wellenstein on August 1, 2015, Flynn
Flynn did not document or report the threats. Dkt. No. 64-4        suffered a temporary loss of privileges. Dkt. No. 20-6 at 70.
at 96. Based upon the record, the Court concludes that             Flynn was not sentenced to any disciplinary confinement or
Wellenstein's alleged threats are not sufficiently specific to     penalized as a result of the November 12, 2015, November
constitute adverse action. See Bartley v. Collins, No. 95 Civ.     18, 2015 and December 11, 2015 misbehavior reports. Dkt.
10161, 2006 WL 1289256, at *2-4 (S.D.N.Y. May 10, 2006)            No. 20-6 at 25; Am. Compl. ¶¶ 125, 130. Therefore, because
(finding no adverse action where a corrections officer tells a     Flynn has failed to show that he suffered an adverse action as
plaintiff that he is going to “get [him]” for filing a lawsuit);   a result of the aforementioned tickets, the undersigned need
Alicea v. Howell, 387 F. Supp. 2d 227, 237 (W.D.N.Y. 2005)         not determine whether there is a causal connection between
(finding no adverse action where a prison official told an         Flynn's protected conduct and these misbehavior reports.
inmate that he would “have to pay the consequences” for            Accordingly, it is recommended that Defendants' motion for
filing a grievance against her).                                   summary judgment and dismissal of retaliation claims based
                                                                   upon the August 1, 2015; November 12, 2015; November 18,
Accordingly, it is recommended that Defendants' motion for         2015; and December 11, 2015 reports be granted. 16
summary judgment and dismissal of retaliation claims on this
ground be granted. 15                                              16     See Footnote 17, supra.
                                                                   The Court reaches a different conclusion however, with
15     In light of my recommendation that Flynn's                  respect to the remaining misbehavior reports. As a result of
       retaliation claim based upon threats be dismissed           the April 30, 2015 and August 18, 2015 tickets, Flynn was
       in its entirety based on the merits, I find it              sentenced to eighteen days in keeplock. Dkt. No 20-6 at 70.
       unnecessary to address the alternative failure to           As a result of the August 24, 2015 misbehavior report, Flynn
       exhaust arguments related to this claim.
                                                                   received a thirty day keeplock sentence. 17 Id. Accordingly,
                                                                   Flynn has established the second prong of the retaliation
                                                                   analysis with respect to these misbehavior reports. Having
                  d. Misbehavior Reports
                                                                   found that Flynn satisfied the first and second prong of the
Flynn alleges that Wellenstein filed misbehavior reports,          retaliation analysis with respect to these tickets, the Court
and directed other officers to file misbehavior reports, in        turns to whether the record establishes a causal connection
retaliation for grievances. Am. Compl. ¶¶ 55, 70, 71, 73,          between the protected conduct and the adverse action.
79. A defendant's retaliatory filing of a falsified misbehavior
report that results in disciplinary segregated confinement         17     Defendants argue that a suspended sentence does
constitutes adverse action. See Gill, 389 F.3d at 384 (finding            not constitute an adverse action. Dkt. No. 64-6 at
that a false misbehavior report that resulted in the plaintiff's          18. Defendants claim, without evidentiary support,
placement in keeplock constituted adverse action). Courts in              that Flynn did not serve keeplock or lose any
this Circuit have held that a temporary loss of privileges does           privileges as a result of this misbehavior report.
not constitute adverse action. See Smith v. City of New York,             Id. The record before the Court establishes that the
No. 14 CIV. 5927, 2017 WL 2172318, at *6 (S.D.N.Y. May                    thirty day sentence was suspended until December
16, 2017); see also Monko v. Cusack, No. 9:11-CV-1218                     8, 2105. Dkt. No. 20-6 at 70. There is however,
(GTS/TWD), 2013 WL 5441724, at *11 (N.D.N.Y. Sept. 27,                    a genuine issue of fact regarding whether Flynn
2013) (“... the temporary loss of privileges such as the post-            served the keeplock sentence. Construing the facts
adjustment privileges lost by Plaintiff for thirty-six days are           in a light most favorable to the pro se, non-moving
de minimis and do not constitute adverse action for purposes



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       party, the Court finds that Defendants have failed to       Hynes v. Squillace, 143 F.3d 653, 657 (2d Cir. 1998).
       meet their burden of proof with regard to this issue.       “Defendants [may meet] their burden of showing that they
                                                                   would have disciplined the plaintiff even in the absence of
                                                                   the protected conduct if ‘it was undisputed that [the inmate
                       i. April 30, 2015                           plaintiff] had in fact committed the prohibited conduct’ for
                                                                   which he had been cited in a misbehavior report.” Id. (citing
On April 30, 2015, Wellenstein issued Flynn a misbehavior
                                                                   Lowrance v. Achtyl, 20 F.3d 529, 535 (2d Cir. 1994) ).
report for smoking. Am. Compl. ¶ 55; Dkt. No. 64-6 at 14.
Flynn contends that this misbehavior was in retaliation for his
                                                                   In September 2013 and March 2015, Flynn was charged
April 16, 2015 and April 28, 2015 grievances. Am. Compl.
                                                                   with smoking at Mid-State C.F. Dkt. No. 20-6 at 70.
¶ 55. First, the undersigned notes that the April 16, 2015
                                                                   Flynn was found guilty of those charges. Id. During his
grieves conduct by the “law library relief officer” and makes
                                                                   deposition, Flynn admitted that he smoked in his cell in
no mention of Wellenstein. See Dkt. No. 20-3 at 31. Absent
                                                                   the past and conceded that he “had several disciplinary
evidence by plaintiff that Wellenstein either was the library
                                                                   issues with smoking[.]” Dkt. No. 64-4 at 95-96. However,
relief officer or knew of the contents of said grievance, the
                                                                   Flynn maintains that on April 30, 2015, he was not smoking
April 16, 2015 grievance cannot be the basis for his retaliation
                                                                   in his cell. Id. As discussed supra, Wellenstein has not
claim. See Tafari, 714 F. Supp. 2d at 374 (concluding that
                                                                   provided any sworn testimony in support of the motion,
the plaintiff failed to establish a causal connection where the
                                                                   and, thus, has not met his burden of establishing that he
defendant was not named in the original grievance). Second,
                                                                   would have filed the misbehavior report even in the absence
as to the April 28, 2015 grievance, although the temporal
                                                                   of the protected conduct. Accordingly, there is an genuine
proximity of two days sufficiently supports an inference
                                                                   dispute as to whether Flynn committed the charged conduct.
of causal connection, temporal proximity “without more,
                                                                   See Gayle, 313 F.3d at 684 (denying summary judgment
is insufficient to survive summary judgment.” Roseboro
                                                                   where it is disputed whether the plaintiff committed the
v. Gillespie, 791 F. Supp. 2d 353, 370 (S.D.N.Y. 2011)
                                                                   prohibited conduct). Therefore, the undersigned recommends
(citing inter alia Ayers v. Stewart, 101 F.3d 687, 1996 WL
                                                                   that Defendants' motion for summary judgment, on this basis,
346049 (Table), at *1 (2d Cir. 1996) (“[The plaintiff's]
reliance on circumstantial evidence of retaliation-namely, the     be denied. 18
proximity of the disciplinary action to his complaint where no
misbehavior reports were previously filed against him-does         18      See Footnote 15, supra.
not suffice to defeat summary judgment.”) ). As to statements
regarding Wellenstein's motivations, the record indicates that
on May 8, 2015, Wellenstein stated, “don't you dare file any                            ii. August 17, 2015
more grievances or I will slap you silly and write misbehavior
                                                                   The August 17, 2015 misbehavior report was written by
reports to stop you from requesting anything.” Am. Compl.
                                                                   Officer Alsante. Dkt. No. 20-6 at 8. To establish a retaliation
¶ 56. Assessing this statement in the light most favorable
                                                                   claim, a plaintiff must show “a genuine issue of material fact
to Flynn as the non-moving party, the undersigned finds it
                                                                   that the protected conduct was a substantial or motivating
sufficient to support “an inference of a causal connection
                                                                   factor in his discipline.” Graham, 89 F.3d at 81. “[I]t is
between” plaintiff's grievances and Wellenstein's alleged
                                                                   difficult to establish one defendant's retaliation for complaints
filing of misbehavior reports. Baskerville, 224 F. Supp. 2d at
                                                                   against another defendant.” Hare v. Hayden, No. 09 Civ. 3135,
732.
                                                                   2011 WL 1453789, at *4 (S.D.N.Y. Apr. 14, 2011) (citing
                                                                   Wright v. Goord, 554 F.3d 255, 274 (2d Cir. 2009) ).
 *12 Wellenstein argues that even assuming the evidence
creates a material question of fact as to whether he had
                                                                   Here, Flynn did not file any grievances or complaints
retaliatory intent, he would have issued the misbehavior
                                                                   against Alsante. The record lacks any evidence establishing
report even in the absence of the protected conduct. “[T]he
                                                                   why Alsante would file a false misbehavior report against
conclusion that the state action would have been taken in the
                                                                   Flynn, on Wellenstein's behalf, beyond Flynn's conclusory
absence of improper motives is readily drawn in the context
                                                                   allegations. Without more, the evidence does not present
of prison administration where we have been cautioned to
                                                                   a genuine issue of material fact for a jury to resolve.
recognize that prison officials have broad administrative and
                                                                   See Ciaprazi v. Goord, No. 9:02-CV-915 (GLS/DEP), 2005
discretionary authority over the institutions they manage.”


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WL 3531464, at *9 (N.D.N.Y. Dec. 22, 2005) (entering               Flynn contends that Ward was personally involved in the
summary judgment on retaliation claim where the plaintiff          alleged constitutional violations by denying his grievances.
cited only past grievances filed against corrections officers
other than the officer who disciplined the plaintiff); see also    Supervisory officials may not be held liable merely because
Alicea v. Maly, No. 9:12-CV-203 (MAD/TWD), 2015 WL                 they held a position of authority. See Black v. Coughlin, 76
4326114, at *14 (N.D.N.Y. July 14, 2015); Guillory v. Ellis,       F.3d 72, 74 (2d Cir. 1996). However, supervisory personnel
No. 9:11-CV-600 (MAD/ATB), 2014 WL 4365274, at *18                 may be considered “personally involved” if:
(N.D.N.Y. Aug. 29, 2014). Accordingly, it is recommended
that Defendants' motion for summary judgment and dismissal           (1) the defendant participated directly in the alleged
of retaliation claims based upon this misbehavior report be          constitutional violation;

granted. 19                                                          (2) the defendant, after being informed of the violation
                                                                     through a report or appeal, failed to remedy the wrong;
19     See Footnote 17, supra.
                                                                     (3) the defendant created a policy or custom under
                                                                     which unconstitutional practices occurred, or allowed the
                     iii. August 24, 2015                            continuance of such a policy or custom;

On August 24, 2015, Wellenstein issued plaintiff a                   (4) the defendant was grossly negligent in supervising
misbehavior report alleging that Flynn threatened and                subordinates who committed the wrongful acts; or
verbally harassed him. Dkt. No. 20-6 at 12. Plaintiff contends
                                                                     (5) the defendant exhibited deliberate indifference to the
that this misbehavior report was in retaliation for his August
                                                                     rights of inmates by failing to act on information indicating
20, 2015 and August 22, 2015 grievances. Am. Compl. ¶ 79.
                                                                     that unconstitutional acts were occurring.
However, as Defendants note, during his deposition, plaintiff
admitted that he “made a smart remark about [Wellenstein]          Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995) (citing
selling flowers for a living,” but that Wellenstein “took that     Williams v. Smith, 781 F.2d 319, 323–24 (2d Cir. 1986) ).
to a whole different level.” Dkt. No. 64-4 at 91, 93, 95.
Thus, as plaintiff admitted to making the statement that is        Writing letters and grievances to a defendant is insufficient
the basis for the August 24, 2015 misbehavior report, the          to establish notice and personal involvement. Smart v. Goord,
evidence suggests that “plaintiff committed the most serious,      441 F.Supp.2d 631, 643 (S.D.N.Y. 2006) (“Commissioner ...
if not all, of the prohibited conduct charged in the misbehavior   cannot be held liable on the sole basis that he did not act
report.” Gayle, 313 F.3d at 682. Therefore, Defendants have        in response to letters of protest sent by [plaintiff]....”). Also,
established a non-retaliatory reason for the filing of the         it is within the purview of a superior officer to delegate
August 24, 2015 misbehavior report. See Hynes v. Squillace,        responsibility to others. See Vega v. Artus, 610 F.Supp.2d
143 F.3d 653, 657 (2d Cir. 1998) (concluding that plaintiff's      185, 198 (N.D.N.Y. 2009) (finding no personal involvement
admission of the underlying conduct established a “proper,         where “the only involvement of the supervisory official was
non-retaliatory reason[ ] for filing the misbehavior report.”).    to refer the inmate's complaint to the appropriate staff for
Accordingly, it is recommended that Defendants' motion on          investigation”) (citing Ortiz-Rodriguez v. N.Y. State Dep't of
this ground be granted.                                            Corr. Servs., 491 F.Supp.2d 342, 347 (W.D.N.Y. 2007) ).

                                                                   “[I]t is well-established that the review, denial or affirmance
                  C. Supervisory Liability                         of a denial of a grievance is insufficient to establish personal
                                                                   involvement.” Perilla v. Fischer, No. 13-CV-398M, 2013
 *13 Defendants argue that Flynn's claims against Ward must        WL 5798557, at *7 (W.D.N.Y. Oct. 28, 2013) (citing inter
be dismissed because Ward was not personally involved in           alia Farrell v. Burke, 449 F.3d 470, 484 (2d Cir. 2006)
any constitutional violations. Dkt. No. 64-6 at 20-23. Flynn       (citation omitted) ). “[W]hile personal involvement cannot
does not allege, nor does the record support the conclusion        be founded solely on supervision, liability can be found
that Ward directly participated in any alleged constitutional      if the official proactively participated in reviewing the
violations. Construing the Amended Complaint liberally,            administrative appeals as opposed merely to rubber-stamping
                                                                   the results.” Molano v. Bezio, No. 10-CV-6481, 2012 WL



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1252630, at *5 (W.D.N.Y. Apr. 13, 2012) (citing Collins v.
Ferguson, 804 F.Supp.2d 134, 140 (W.D.N.Y. 2011), Black v.
                                                                                              D. Exhaustion
Coughlin, 76 F.3d 72, 74–75 (2d. Cir. 1996) ).
                                                                      As an alternative ground for dismissal of the retaliation
The record before the Court contains Superintendent                   claims, Defendants contend that the motion for summary
responses related to six grievances. Dkt. No. 64-5 at 8,              judgment must be granted because Flynn failed to exhaust
17, 22-23, 29, 33, 38. As noted supra, the signature of               his administrative remedies through available grievance
the Superintendent who executed the response, in each                 procedures. See Dkt. No. 64-2 at 23-26. The PLRA requires
instance, is illegible. See Part II(A)(1). In response to the         that a prisoner exhaust any administrative remedies available
May 6, 2015 grievance (MS-21970-15), the Superintendent               to him or her before bringing an action for claims arising out
concluded that, “[i]n this investigation, the grievant alleges        of his or her incarceration. See Porter v. Nussle, 534 U.S.
that he is not being provided assistance with law library             516, 524 (2002); see also Woodford v. Ngo, 548 U.S. 81,
requests, his copies are purposely damaged and he is being            82 (2006). “The PLRA's exhaustion requirement is designed
retaliated against for filing complaints.” Dkt. No. 64-5              to ‘afford [ ] corrections officials time and opportunity to
at 22. Defendants argue that Ward was not involved in                 address complaints internally before allowing the initiation
that grievance and attribute only two grievances to Ward:             of a federal case.’ ” Johnson v. Testman, 380 F.3d 691,
MS-22079-15 and MS 22200-15. Dkt. No. 64-6 at 22-23.                  697 (2d Cir. 2004) (citing Porter, 534 U.S. at 524-25). The
While Defendants concede that additional grievances were              exhaustion requirement applies “ ‘to all inmate suits about
appealed to the Superintendent, Defendants claim that the             prison life, whether they involve general circumstances or
remaining grievance responses were not issued by Ward                 particular episodes, and whether they allege excessive force
and thus, Ward was not involved in the decision-making                or some other wrong.’ ” Mauldin v. Kiff, No. 11-CV-107-
process or investigation regarding these grievances. These            A, 2014 W L 2708434, at *4 (W.D.N.Y. June 16, 2014)
arguments are asserted by counsel in the Memorandum of                (quoting Porter, 534 U.S. at 532). Further, the exhaustion
Law, but notably absent from the record is any affidavit              requirement applies even where the prisoner seeks relief
or declaration from Ward. Without such evidence, a factual            not available in the administrative grievance process, such
dispute exists as to whether Ward proactively participated in         as money damages. Porter, 534 U.S. at 524. To exhaust
the decision-making process related to Flynn's grievances. As         administrative remedies, the inmate must complete the full
such, there is triable issue of material fact for a jury to resolve   administrative review process set forth in the rules applicable
with respect to Ward's personal involvement in Wellenstein's          to the correctional facility in which he or she is incarcerated.
alleged retaliatory conduct. See Celotex Corp., 477 U.S. at           See Jones v. Bock, 549 U.S. 199, 218 (2007) (internal citation
323. Accordingly, Defendants' motion against Ward on this             omitted).
ground should be denied.
                                                                      “The mere fact that an inmate plaintiff filed some grievance
 *14 A different conclusion is reached however, with respect          prior to filing suit is not enough. The grievance must also
to Flynn's First Amendment claims based upon access to the            have related to the subject matter of the federal lawsuit.”
courts. Absent an underlying constitutional violation by a            Allah v. Poole, 506 F. Supp. 2d 174, 180 (W.D.N.Y. 2007)
subordinate, there can be no supervisory liability. Hernandez         (citation omitted). The scope of a plaintiff's federal claim may
v. Keane, 341 F.3d 137, 145 (2d Cir. 2003); see Elek v. Inc.          not exceed that of the grievance. Donahue v. Bennett, No.
Vill. of Monroe, 815 F.Supp.2d 801, 808 (S.D.N.Y. 2011)               02-CV-6430, 2004 WL 1875019, at *8 (W.D.N.Y. Aug. 17,
(collecting cases for the proposition that “because plaintiff         2004).
has not established any underlying constitutional violation,
she cannot state a claim for 1983 supervisory liability”). As         Although the Supreme Court has deemed exhaustion
discussed supra, Flynn failed to raise an issue of material           mandatory, the Second Circuit has recognized that “certain
fact with respect to his First Amendment claim based upon             caveats apply.” Ruggiero v. County of Orange, 467 F.3d
access to courts. Accordingly, the undersigned recommends             170, 175 (2d Cir. 2006) (citation omitted). Until recently,
that Defendants' motion for summary judgment and dismissal            courts in this district followed a three-part test established
of Flynn's First Amendment claims against Ward based upon             by the Second Circuit in Hemphill v. New York, 380 F.3d
access to the courts be granted.                                      680, 686 (2d Cir. 2004). Under the test established in
                                                                      Hemphill, a plaintiff's failure to exhaust could be excused



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if the plaintiff established that his or her failure to exhaust     days after receipt of the superintendent's determination. Id.
was justified by “special circumstances.” Id. However, the          §§ 701.5(d)(i)-(ii). CORC must “review each appeal, render
Supreme Court recently held that “[c]ourts may not engraft an       a decision on the grievance, and transmit its decision to the
unwritten ‘special circumstances’ exception onto the PLRA's         facility, with reasons stated, for the [inmate], the grievance
exhaustion requirement.” Ross v. Blake, 136 S. Ct. 1850,            clerk, the superintendent, and any direct parties within thirty
1862 (2016). As such, the special circumstances exception           (30) calendar days from the time the appeal was received.”
previously promulgated by the Second Circuit in Hemphill,           Id. § 701.5(d)(3)(ii).
is no longer consistent with the statutory requirements of the
PLRA. See Williams v. Priatno, 829 F.3d 118, 123 (2d Cir.           Flynn testified that he was familiar with the grievance process
2016).                                                              and filed “numerous” grievances in 2015. Dkt. No. 64-4
                                                                    at 41-44. As discussed supra, the record contains copies of
 *15 Although the Supreme Court's decision in                       six (6) grievances that Flynn appealed to CORC and thus,
Ross eliminates the “special circumstances” exception               Defendants concede, exhausted. 20 The record contains a
promulgated by Hemphill, courts must still consider the             certification attesting to the veracity of the grievance records.
PLRA's “textual exception to mandatory exhaustion.”                 Dkt. No. 64-5 at 2.
Ross, 136 S. Ct. at 1858. Under this exception, courts
must determine whether administrative remedies were                 20      Flynn filed additional grievances, but the record
“available” to a prisoner. Id. The Supreme Court identified
                                                                            does not contain proof that these grievances were
three circumstances where administrative remedies may
                                                                            exhausted. To wit, Flynn testified that “at least two
be unavailable to a prisoner. First, “an administrative
                                                                            or three” of his grievances “made it to Albany.”
procedure is unavailable when (despite what regulations or
                                                                            Dkt. No. 64-4 at 46. Flynn could not recall which
guidance materials may promise) it operates as a simple
                                                                            grievances were appealed and testified that while
dead end—with officers unable or consistently unwilling
                                                                            nothing prevented him from exhausting of all his
to provide any relief to aggrieved inmates.” Id. at 1859
                                                                            grievances, he did not appeal certain grievances
(citing Booth v. Churner, 532 U.S. 731, 736, 738 (2001)
                                                                            because they were “repetitive.” Id.
). “Next, an administrative scheme might be so opaque
that it becomes, practically speaking, incapable of use.” Id.       With respect to the exhausted grievances, Defendants argue
Lastly, administrative remedies are unavailable where “prison       that Flynn's retaliation claims were not properly exhausted
administrators thwart inmates from taking advantage of a            because these grievances did not contain allegations that
grievance process through machination, misrepresentation, or        Wellenstein retaliated against Flynn when he assaulted him
intimidation.” Id. at 1860.                                         and issued misbehavior reports. Dkt. No. 64-6 at 25-26.
                                                                    Defendants have not provided an affidavit from any DOCCS'
Here, there is no dispute that at all relevant times, DOCCS had     employee with personal knowledge to support Defendants'
in place a three-step inmate grievance program. N.Y. COMP.          contention that there is no connection between Flynn's
CODES R. & REGS. tit. 7, § 701.5 (2015). First, the inmate          grievances and the matters raised in the federal court
must file a complaint with an inmate grievance program              complaint. Once again, Defendants rely upon the unsupported
(“IGP”) clerk within twenty-one days of the alleged action.         statements by counsel without evidentiary support. Upon
Id. § 701.5(a)(1). An IGP representative has sixteen calendar       review of the record, the undersigned finds that has exhausted
days to informally resolve the issue. Id. § 701.5(b)(1). If no      his remaining retaliation claims. In the May 6, 2015
informal resolution occurs, the full IGP committee must hold        grievance, Flynn claimed that Wellenstein provided distorted
a hearing within sixteen days of receipt of the grievance and       copies of court forms and asserted, “[t]his is the 3 rd time he
must issue a written decision within two working days after         has deliberately ruined copies to the point they are unusable.
the conclusion of the hearing. Id. §§ 701.5(b)(2)(i)-(ii). If the   This is deliberate harassment and the denial of legal copies.”
determination is unfavorable to the inmate, the inmate may          Dkt. No. 64-5 at 21. In the May 8, 2015 grievance, Flynn
appeal the IGRC's determination to the facility superintendent      claimed:
within seven calendar days of receipt of the determination.
Id. § 701.5(c)(1). If the superintendent's determination is
unfavorable to the inmate, the inmate may appeal to the
                                                                                 *16 On 5/8/15 at 5:05 p.m. C.O
Central Office Review Committee (“CORC”) within seven
                                                                                 Wellenstein came to my cell and


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            started kicking the cell door and                     Civ.4477, 2004 WL 766433, at *8 (S.D.N.Y. Apr. 12, 2004).
            slaming [sic] feed up door, verbally                  Accordingly, it is recommended that Defendants' Motion
            harassing me and making numerous                      for Summary Judgment, insofar as it raises the affirmative
            threats. For months C.O. Wellenstein                  defense of nonexhaustion, be denied.
            has been harassing me. As a result of
            his harassment I am afraid to use the
            law library services and request legal
                                                                                         IV. Conclusion
            material.
                                                                  WHEREFORE, based on the findings set forth above, it is
                                                                  hereby:
Dkt. No. 64-5 at 19.
                                                                  RECOMMENDED, that Defendants' motion for summary
On July 14, 2015, the Superintendent responded and                judgment (Dkt. No. 64) be GRANTED IN PART:
categorized these claims as “retaliation” claims in response
to filing prior complaints. Dkt. No. 64-5 at 22. The                (1) Insofar as it seeks dismissal of Flynn's First Amendment
Superintendent conducted an investigation and interviewed           access to the courts claims against Wellenstein and Ward;
Wellenstein. Id.
                                                                    (2) Insofar as it seeks dismissal of Flynn's retaliation claims
                                                                    against Wellenstein and Ward related to misbehavior
In the August 7, 2015 grievance, Flynn reiterated his
                                                                    reports issued on August 1, 2015, August 17, 2015, August,
harassment complaints claiming that, “Wellenstein has
                                                                    24, 2015, November 12, 2015, November 18, 2015, and
refused to make copies in retaliation for the 2 most recent
                                                                    December 11, 2015;
grievances against him. His refusal to make copies is
harassment[.]” Dkt. No. 64-5 at 26-28. On August 27, 2015,          (3) Insofar as it seeks dismissal of Flynn's First Amendment
the Superintendent issued a response finding that the grievant      retaliation claims against Wellenstein and Ward for the
“has not substantiated his claim that he has been the victim        April 30, 2015 assault; and
of harassment by staff[.]” Id. at 29. The Superintendent noted
that Wellenstein denied the allegations. Dkt. No. 64-5 at           (4) Insofar as it seeks dismissal of Flynn's First Amendment
29. In his Appeal Statement, Flynn argued that Wellenstein          retaliation claims against Wellenstein and Ward for threats,
continues to deter him from using the law library “in
                                                                    the motion be GRANTED; and it is further
retaliation for filing grievances[.]” Id. On October 21, 2015,
CORC issued a decision quoting Directive #4040, Section
                                                                  RECOMMENDED, that Defendants' Motion for Summary
701.6(b) related to prohibited “reprisals” against an inmate
                                                                  Judgment (Dkt. No. 64) be DENIED IN PART:
who utilizes the grievance process. 21 Id. at 24.
                                                                    (1) Insofar as it seeks dismissal of Flynn's First Amendment
21                                                                  retaliation claims against Wellenstein and Ward based on
       Section 701.6(b) provides:
         Reprisals prohibited. No reprisals of any kind             access to courts and the misbehavior report issued on April
         shall be taken against an inmate or employee               30, 2015; and
         for good faith utilization of this grievance
                                                                     *17 (2) Insofar as it seeks dismissal of plaintiffs
         procedure. An inmate may pursue a complaint
                                                                    retaliation claims for access to the courts and the April 30,
         that a reprisal occurred through the grievance
                                                                    2015 misbehavior report due to nonexhaustion, the motion
         mechanism. A grievant shall not receive a
                                                                    be DENIED; and it is
         misbehavior report based solely upon an
         allegedly false statement made by the inmate to
                                                                  ORDERED, that copies of this Report-Recommendation and
         the grievance committee.
                                                                  Order be served on the parties in accordance with the Local
       N.Y. COMP. CODES R. & REGS. tit. 7, § 701.6.
                                                                  Rules.
Drawing all inferences in Flynn's favor, the Court finds that
the facts alleged in Flynn's grievances encompass the facts set   IT IS SO ORDERED.
forth in the Amended Complaint. See Curry v. Fischer, No. 02



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                                                                              to the fourteen-day period, meaning that you have
Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(c),
                                                                              seventeen days from the date the Order was mailed
the parties have fourteen days within which to file written
                                                                              to you to serve and file objections. FED. R. CIV. P.
objections to the foregoing report. Such objections shall be
                                                                              6(d). If the last day of that prescribed period falls
filed with the Clerk of the Court. FAILURE TO OBJECT
                                                                              on a Saturday, Sunday, or legal holiday, then the
TO THIS REPORT WITHIN FOURTEEN (14) DAYS
                                                                              deadline is extended until the end of the next day
WILL PRECLUDE APPELLATE REVIEW. Roldan v.
                                                                              that is not a Saturday, Sunday, or legal holiday. Id.
Racette, 984 F.2d 85, 89 (2d Cir. 1993) (citing Small v.
                                                                              § 6(a)(1)(C).
Secretary of Health and Human Servs., 892 F.2d 15 (2d Cir.
1989) ); 28 U.S.C. § 636(b)(1); FED R. CIV. P. 6(a), 6(e),
                                                                      All Citations
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22        If you are proceeding pro se and are served with this
          Order by mail, three additional days will be added

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                                                                   For the reasons set forth below, Defendants' Motion to
                                                                   Dismiss is DENIED in part and GRANTED in part.
      KeyCite Yellow Flag - Negative Treatment                     Defendants' Motion for Partial Summary Judgment is
Distinguished by Allah v. Greiner, S.D.N.Y., April 30, 2007
                                                                   GRANTED.
                    2006 WL 3096031
       Only the Westlaw citation is currently available.
                United States District Court,                                              I. Background
                      S.D. New York.
                                                                   The following facts are drawn from Plaintiff's Initial
                 Derek SLOANE, Plaintiff,                          Complaint, Amended Complaint, and all relevant attached
                           v.                                      materials. 1
              W. MAZZUCA, et al., Defendants.
                                                                   1       Early in the Amended Complaint, Plaintiff claims
                      No. 04 CV 8266(KMK).
                                                                           he “repeats and realleges each and every allegation
                                  |
                                                                           set forth above.” (Am. Compl. IV Statement of
                           Oct. 31, 2006.
                                                                           Claim 5.) Based on Plaintiff's usage of this phrase
Attorneys and Law Firms                                                    in documents he has submitted to the Court, it
                                                                           appears that he understands this phrase to mean
Derek Sloane, Valhalla, NY, pro se.                                        that he realleges allegations made in previously
                                                                           submitted documents. (Pl.'s Mem. Opp. Mot. to
Benjamin J. Lee, Esq., New York State Office of the Attorney
                                                                           Dismiss 1 (“Pl.'s Resp.”).) As a pro se Plaintiff,
General, New York, NY, for Defendants.
                                                                           Sloane is subject to a more liberal pleading
                                                                           standard, which requires that the Court consider
                                                                           factual allegations in Sloane's opposition papers to
                    OPINION AND ORDER                                      supplement allegations in his Initial and Amended
                                                                           Complaints. See Collins v. Goord, 438 F.Supp.2d
KENNETH M. KARAS, District Judge.
                                                                           399, 403 n. 1 (S.D.N.Y.2006); Fox v. Fischer,
 *1 Derek Sloane, pro se Plaintiff, brings this action against             No. 04 Civ. 6718, 2005 WL 1423580, at *2 n. 1
ten corrections officers and officials, pursuant to 42 U.S.C.              (S .D.N.Y. June 14, 2005); Verley v. Goord, No. 02
§ 1983. Plaintiff alleges that Defendants retaliated against               Civ. 1182, 2004 WL 526740, at *5 (S.D.N.Y. Jan.
him for his refusal, purportedly on religious grounds, to                  23, 2004). Therefore, the Court will consider facts
consent to a Purified Protein Derivative Test (“PPD Test”)                 alleged in the Complaint, Amended Complaint,
for the detection of latent tuberculosis (“TB”) while he was               and opposition papers as long as there is no
incarcerated at the Fishkill Correctional Facility (“Fishkill”).           disagreement between the documents.
Plaintiff further alleges that he was the subject of racially-     The events underlying Plaintiff's complaints all took place
motivated taunting and otherwise improper retaliation by
                                                                   at the Fishkill Correctional Facility. 2 Plaintiff claims that
prison officers.
                                                                   he was placed on a one-year confinement hold based on his
                                                                   refusal to take a PPD test while he was incarcerated at Fishkill.
Defendants move to dismiss pursuant to Fed.R.Civ.P. 12(b)
                                                                   (Compl. IV Statement of Claim 8.) Plaintiff states that he
(6), claiming, inter alia, that Plaintiff failed to exhaust his
                                                                   refused to take the PPD test because of his religious beliefs.
administrative remedies under the Prison Litigation Reform
                                                                   (Compl. IV Statement of Claim 3-4.) Plaintiff insists that his
Act of 1995 (“PLRA”), 42 U.S.C. § 1997e, and that Plaintiff
                                                                   religious beliefs are sincerely held, even though he failed
failed to state a claim upon which relief can be granted.
                                                                   to identify his religion in his Initial Complaint or Amended
Defendants have also moved to convert their Motion to
                                                                   Complaint, and he failed to explain why his religion prohibits
Dismiss into a Motion for Summary Judgment pursuant to
                                                                   him from taking a PPD test. (Hr'g Tr. 9-11, Aug. 22, 2006.)
Fed.R.Civ.P. 56, in the event that the Court must look to
materials outside the pleadings to rule on their motion.




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2                                                                         and has dismissed Geno as a defendant in the
       Sloane is currently an inmate at the Westchester
                                                                          Amended Complaint. (Am.Compl.1.)
       County Jail.
Plaintiff alleges that on March 23, 2003, he was transferred      7       Plaintiff's Initial Complaint lists Mazzuca, Ercole,
from the Clinton Correctional Facility to the Fishkill secure             Valhos, Padgett, Venne, Conklin, Woodward,
housing unit (“SHU”). (Am. Compl. IV Statement of Claim                   Geulu and Melton in Section III of the Complaint,
2.) He alleges that the PPD test was administered on May                  which is where the Plaintiff is required to name
8, 2003 (Compl. IV-A 9), and that after he refused the test,              the “Parties” to the action. (Compl.3.) The form
he was placed in a confinement cell. (Compl. IV Statement                 Plaintiff used to prepare his Complaint warns
of Claim 8.) 3 Plaintiff was subsequently transferred to the              Plaintiff to: “Make sure that the defendant(s) listed
Elmira Correctional Facility in early 2004.                               above are identical to those contained in the caption
                                                                          on page 1.” (Id.) Plaintiff did not heed those
3                                                                         instructions, because the caption does not include
       The exact duration of Plaintiff's hold in the SHU
                                                                          Melton's name. (Compl.) Furthermore, Plaintiff
       is unclear. Plaintiff claimed on April 2, 2004, in
                                                                          identified only Mazzuca, Melton and Lopiccolo
       a grievance filed from the Elmira Correctional
                                                                          in Section III of his Amended Complaint, but
       Facility (“Elmira”), that he has been on “a t .b.
                                                                          Mazzuca, along with Ercole, Valhos, Padgett,
       hold for 2 years in the box,” (Compl. Ex. Elmira
                                                                          Venne, Conklin, Geulu and Woodward appear on
       Grievance 2, EL26-403-04), which is inconsistent
                                                                          the caption page. (Am.Compl.) Adding further
       with claims made in his Complaint where he states
                                                                          confusion, in the body of Plaintiff's Amended
       that he has been in the SHU since March 24, 2003.
                                                                          Complaint, he lists the following Defendants:
       (Compl. IV Statement of Claim 10.)
                                                                          Mazzuca, Ercole, Melton, Lopiccolo, Valhos,
Sloane claims that after he refused to take the PPD test,                 Venne, and Geulu, while dismissing Geno as a
several prison officials and officers conspired to retaliate              Defendant. (Am.Compl.1.)
against him on the basis of his religion and race. He named ten
                                                                   *2 Plaintiff alleges that the retaliation against him began on
defendants 4 to this action: Superintendent William Mazzuca,      May 8, 2003, when CO DiGregonio-who is not a defendant in
Deputy Superintendent for Security R. Ercole, Lieutenant          this action-issued Plaintiff a misbehavior ticket as a warning
Michael Melton, 5 Lieutenant V. Lopiccolo, Sergeant K.            for failure to comply with the PPD test requirements. 8
Conklin, and Corrections Officers (“CO”) Michael Venne,           (Compl. IV Statement of Claim 3.) Plaintiff alleges that the
Nick Valhos, T. Geulu, 6 R. Padgett, and R. Woodward. 7           fifteen misbehavior reports 9 issued against him between May
                                                                  8, 2003, and January 9, 2004, constitute a pattern of retaliation
4      The Court has adopted Plaintiff's spelling of              against him by prison officials and corrections officers 10 on
       Defendants' names.                                         account of his religion. 11 (Compl. IV Statement of Claim
5                                                                 4.) In addition to the various misbehavior reports which were
       Lieutenant M. Melton was terminated as a party to
                                                                  filed against him, Plaintiff alleges that Defendants Mazzuca
       this case on June 6, 2005. (Doc. No. 19.)
                                                                  and Ercole “ran a campaign” of harassing him in retaliation
6                                                                 for refusing to take the PPD test. (Compl. IV Statement of
       Although Plaintiff lists “T. Geulu, C.O.” as a
       Defendant in both his Complaint and Amended                Claim 6.)
       Complaint, Fishkill officials are not aware of
       any employee by that name. (Defs.' Supplemental            8       Records incorporated into the Amended Complaint
       Mem. of Law in Further Supp. of the Mot. to                        indicate that CO DiGregonio issued Plaintiff
       Dismiss the Am. Compl. 1 (“Defs.' Supplemental                     a misbehavior ticket on May 8, 2003.
       Mem.”).) After investigating the allegations in the                (Am.Compl.Ex.) At 8:15 a.m., CO DiGregonio
       Complaint, Defendants' counsel informed Plaintiff                  ticketed Plaintiff for making threats, harassing
       that they believed “T. Geulu” was CO Thomas                        corrections staff, and refusing to obey a direct
       Geno. (Benjamin J. Lee Letter to the Court, Feb.                   order. (Id.) Sergeant Conkling also issued Plaintiff
       18, 2005.) Nonetheless, Plaintiff has continued to                 a misbehavior ticket on the same day at 10:35 a.m.,
       maintain his allegations against the unknown Geulu



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      charging Plaintiff with making threats and refusing             order, interfered with an employee, and failed to
      to obey a direct order. (Id.)                                   follow staff directions. (Lee.Decl.Ex. C .)
9                                                             11
      Plaintiff's misbehavior reports, grievances, and                In his pleadings, Plaintiff failed to identify what
      grievance appeals are all either incorporated by                religion required his refusal to take the PPD
      reference or attached as supplemental exhibits                  test, let alone what religious basis he relied upon
      to the Amended Complaint. When citing these                     in refusing the test. At oral argument, Plaintiff
      documents, the Court will generally refer to the                indicated that he was a Muslim, however, when
      corresponding exhibits in the Lee Declaration,                  asked which sect of Islam he followed (Shia or
      where the documents are reprinted, as they are well             Sunni), Plaintiff merely claimed that he was an
      organized in that submission.                                   “American Muslim.” (Hr'g Tr. 10-11.) Further,
                                                                      Plaintiff could not cite at oral argument, any
10    Plaintiff's misbehavior reports, with issuing                   religious text, such as the Koran, which prohibited
      officer's name, are listed here for completeness:               him from taking the PPD test. (Id. at 11.)
      (1) May 8, 2003, 8:15 a.m. (CO DiGregonio):
                                                              Plaintiff asserts that in addition to religiously-motivated
      Plaintiff made threats, harassed corrections staff,
                                                              retaliation, he was subjected to racially-motivated retaliation.
      and refused to obey a direct order; (2) May 8,
                                                              Plaintiff claims that Defendants issued misbehavior citations
      2003, 10:35 a.m. (Sgt.Conklin): Plaintiff failed to
                                                              in response to his filing grievances against members of the
      promptly follow a direct order, engaged in threats
                                                              prison staff, which Plaintiff identifies as part of a “pattern of
      and verbal harassment; (3) June 26, 2003, 8:45 a.m.
                                                              harassing ethnic minorities.” (Compl. IV Statement of Claim
      (CO Straley): Plaintiff engaged in violent conduct,
                                                              5-6, 9.)
      disturbed the facility, and disobeyed a direct order;
      (4) July 14, 2003, 9:00 a.m. (CO Manning):
                                                              In his Amended Complaint, Plaintiff qualified and expanded
      Plaintiff destroyed, altered, and tampered with
                                                              his retaliation claim, stating that although he could “not
      state property; (5) July 14, 2003, 2:50 p.m.
                                                              say actually if [the guards retaliated against him] for his
      (CO Phillips): Plaintiff destroyed, altered, and
                                                              religious beliefs,” he had determined that there were several
      counterfeited property; (6) July 28, 2003, 9:00 a.m.
                                                              other reasons why Defendants retaliated against him. (Am.
      (CO Manning): Plaintiff damaged state property;
                                                              Compl. IV Statement of Claim 3 (extraneous punctuation
      (7) July 29, 2003, 9:00 a.m. (CO Manning):
                                                              omitted).) For example, Plaintiff claims that Defendants
      Plaintiff damaged state property; (8) August 18,
                                                              retaliated against him because he was scheduled to come
      2003, 2:13 p.m. (CO Laporte): Plaintiff engaged
                                                              before the parole board, and in order to adversely affect his
      in conduct that disturbed the order of the facility;
                                                              parole hearing, the Defendants taunted him with “a variety
      (9) October 14, 2003, 4:50 p.m. (CO Venne):
                                                              of alleged misdeeds.” (Am. Compl. IV Statement of Claim
      Plaintiff engaged in harassment and threats; (10)
                                                              4-7.) During approximately the same period of time that
      November 9, 2003, 11:10 p.m. (CO Venne):
                                                              Sloane claims he was retaliated against, he filed twelve inmate
      Plaintiff obstructed visibility of his cell and kept
                                                              grievances, and appealed five of these grievances to the
      an unclean cell; (11) November 21, 2003, 10:35
      a.m. (Sgt.Conkling): Plaintiff lied, destroyed state    Central Office Review Committee (“CORC”). 12 (Lee Decl.
      property, and obstructed visibility of his cell; (12)   Exs. A, B.) Sloane claims that these grievances themselves
      December 31, 2003, 11:15 a.m. (CO Padgett):             prompted retaliation by prison officials who conspired to
      Plaintiff failed to promptly obey orders, obstructed    “find grounds for issuing tickets” against him. (Am. Compl.
      the visibility of his cell, and kept an unclean cell;   IV Statement of Claim 4.)
      (13) January 7, 2004, 12:45 p .m. (CO Valhos):
      Plaintiff refused to obey a direct order, interfered    12      Sloane's twelve grievances were as follows: (1)
      with an employee, and failed to comply with mess                April 3, 2003: inmate grievance FCF 24097-03,
      hall policies; (14) January 9, 2004, 7:15 a.m. (CO              alleging a denial of legal copies. This grievance
      Valhos): Plaintiff engaged in threats, violent and              was appealed to the CORC, which issued a final
      disturbing conduct, interfered with an employee,                determination on May 28, 2003; (2) April 14,
      and wasted food; (15) January 9, 2004, 9:08 a.m.                2003: inmate grievance FCF 24114-03, alleging
      (CO Padgett): Plaintiff refused to obey a direct                insufficient supplies in S-block. This grievance


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       was appealed to the CORC, which issued a                    harassment by staff nor has sufficient evidence been produced
       final determination on June 4, 2003; (3) April              to support such a conclusion.” (Id.)
       24, 2003: inmate grievance FCF 24160-03,
       alleging misplacement of his legal documents. This           *3 In grievance FCF 24522-03, Sloane claimed that “a white
       grievance was appealed to the CORC, which issued            officer” responded to Sloane with, “That(s) a good boy [sic],”
       a final determination on June 25, 2003; (4) May             after Sloane had complied with the officer's command to take
       9, 2003: inmate grievance FCF 24171-03, alleging            down a towel which was obstructing a clear view of Sloane's
       denial of supplies and a racist remark concerning           cell. 13 (Id.) Plaintiff made no allegation in his grievance
       slavery made by prison staff; (5) June 10, 2003:            that this incident was spurred by Plaintiff's religious beliefs.
       inmate grievance FCF 24248-03, alleging denial of           After reviewing the results of an investigation into Sloane's
       legal copies; (6) June 24, 2003: inmate grievance           allegations, the CORC determined that Sloane's appeal was
       FCF 24296-03, alleging prison staff listened to his         “without merit.” (Id.)
       privileged tape; (7) July 22, 2003: inmate grievance
       FCF 24372-03, alleging a request to type legal              13      Reports collected by the New York State
       documents was not granted; (8) September 11,
                                                                           Department of Correctional Services' (“DOCS”)
       2003: inmate grievance FCF 24520-03, alleging
                                                                           subsequently identified CO Venne as the alleged
       denial of library materials; (9) September 18, 2003:
                                                                           offending officer. (Lee Decl. Ex. B.)
       inmate grievance FCF 24522-03, alleging CO
       Venne made an inappropriate comment to Plaintiff.
       This grievance was appealed to the CORC, which
                                                                                            II. Discussion
       issued a final determination on October 22, 2003;
       (10) January 14, 2004: inmate grievance FCF                    A. Legal Standard
       24865-04, alleging an unidentified officer spit in          When considering a motion to dismiss pursuant to
       his food; (11) January 14, 2004: inmate grievance           Fed.R.Civ.P. 12(b)(6), a court must limit itself to facts stated
       FCF 24866-04, alleging prison staff threw a food            in the complaint, documents attached to the complaint, and
       tray at him. This grievance was appealed to the             documents incorporated into the complaint via reference.
       CORC, which issued a final determination on                 See Newman & Schwartz v. Asplundh Tree Expert Co., 102
       March 3, 2004; (12) April 2, 2004: While at Elmira,         F.3d 660, 662 (2d Cir.1996) (citation omitted). Where a
       Plaintiff filed inmate grievance EL26-403-04,               party proceeds pro se, the Court is obligated to “read [the
       alleging his TB confinement constituted religious           pro se party's] supporting papers liberally, and ... interpret
       discrimination. (Lee Decl. Exs. A, B.)                      them to raise the strongest arguments that they suggest.”
Only two of the five grievances appealed by Sloane-FCF             Burgos v. Hopkins, 14 F.3d 787, 790 (2d Cir.1994); see also
24866-04 and FCF 24522-03-postdated Sloane's refusal to            Davis v. Kelly, 160 F.3d 917, 922 (2d Cir.1998) (“Though
take the PPD test and were appealed to the CORC. In neither        a court need not act as an advocate for pro se litigants,
of these two grievances did Plaintiff allege any religious-        in pro se cases there is a greater burden and a correlative
based retaliation. In grievance FCF 24866-04, Plaintiff            greater responsibility upon the district court to insure that
accused Defendants Conklin, Geulu, Padgett, Valhos, and            constitutional deprivations are redressed and that justice is
Woodward of participating in a “racially motivated incident”       done.” (quotation and citation omitted)). However, even when
in which Conklin allegedly threw a breakfast tray at Plaintiff.    assessing a pro se plaintiff's claim under the Rule 12(b)
(Lee Decl. Ex. B.) Plaintiff further accused Valhos of             (6) standard, “a conclusory allegation ... without evidentiary
engaging in a “cover-up” to protect Defendant Conklin.             support or allegations of particularized incidents, does not
(Id.) Plaintiff also alleged a “pattern of ... persistent racial   state a valid claim.” Butler v. Castro, 896 F.2d 698, 700 (2d
taunting” fueled by a conspiracy among the named officers          Cir.1990).
and Mazzuca and Ercole to keep the “incidents alive.” (Id.)
Plaintiff made no indication in this grievance that prison         When a court considers materials outside the pleadings,
staff were retaliating against him because of his religion.        conversion of a motion to dismiss to one for summary
On appeal, the CORC concluded that Plaintiff “has not              judgment may be appropriate. However, before converting a
substantiated his claim that he has been the victim of             motion, the court ordinarily is to provide notice to the parties.
                                                                   See Fed.R.Civ.P. 12(b). In particular, the court should appraise



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a pro se litigant of the consequences of failing to adequately
respond to a motion for summary judgment. See Vital v.            “If the evidence is such that, when viewed in the light most
Interfaith Med. Ctr., 168 F.3d 615, 620-21 (2d Cir.1999).         favorable to the nonmoving party, a reasonable fact finder
However, such notice, even to pro se plaintiffs, is not always    could return a verdict for that party, then a genuine issue of
required. “The essential inquiry is whether the [the parties]     material fact exists, and summary judgment is not warranted.”
should reasonably have recognized the possibility that the        Magan v. Lufthansa German Airlines, 339 F.3d 158, 161 (2d
motion might be converted into one for summary judgment           Cir.2003) (citing Green Door Realty Corp. v. TIG Ins. Co.,
or [were] taken by surprise and deprived of reasonable            329 F.3d 282, 286-87 (2d Cir.2003)); see also Pinto v. Allstate
opportunity to meet facts outside the pleadings.” Gurary v.       Ins. Co., 221 F.3d 394, 398 (2d Cir.2000). The genuine issue
Winehouse, 190 F.3d 37, 43 (2d Cir.1999) (internal quotation      of material fact “is not required to be resolved conclusively
marks omitted).                                                   in favor of the party asserting its existence; rather, all that
                                                                  is required is that sufficient evidence supporting the claimed
On August 22, 2006, the Court engaged Plaintiff in a              factual dispute be shown to require a jury or judge to resolve
colloquy, in which the Court made clear that Defendants           the parties' differing versions of the truth at trial.” First Nat'l
were seeking to convert their Motion to Dismiss into              Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 288-89 (1968).
one for summary judgment, particularly relating to the
question of exhaustion of administrative remedies. (Hr'g
Tr. 3-4.) Plaintiff acknowledged that he understood that             B. Exhaustion of Administrative Remedies
Defendants were pursuing a Motion for Summary Judgment            Before the Court turns to Defendants' Motion to Dismiss for
in the alternative when he filed his Opposition to Summary        failure to state a claim, the Court considers whether Plaintiff
Judgment. (Id .) Indeed, Plaintiff's responding papers            has exhausted all available administrative remedies.
expressly discuss summary judgment standards. (Pl.'s Reply
Opp'n.) Furthermore, Defendants alerted Plaintiff, pursuant       The PLRA provides that “[n]o action shall be brought with
to Local Civil Rule 12. 1, that they would seek to convert        respect to prison conditions under Section 1983 of this title,
their Motion to Dismiss into one for summary judgment.            or any other Federal law, by a prisoner confined in any jail,
(Local Rule 12.1 Notice to Pro Se Litigant Opposing Mot.          prison, or other correctional facility until such administrative
Dismiss Treated as Mot. Summ. J.) Other district courts           remedies as are available are exhausted.” 42 U.S.C. §
have converted motions to dismiss into motions for summary        1997e(a). As noted by the Supreme Court, Congress enacted
judgment in PLRA cases where, as here, it is clear to             the PLRA to “reduce the quantity and improve the quality of
both parties that Court likely will convert the motion,           prisoner suits” by allowing prison officials to initially address
particularly as it relates to the question of proper exhaustion   prisoner complaints through internal processes. Porter v.
of administrative remedies. See Collins, 438 F.Supp.2d            Nussle, 534 U.S. 516, 524-25 (2002). The PLRA's exhaustion
at 411-12 (collecting cases). Thus, the Court may apply           requirement “applies to all inmate suits about prison life,”
summary judgment principles to the exhaustion question. See       including the constitutional and retaliation complaints alleged
McCoy v. Goord, 255 F.Supp.2d 233, 248 (S.D.N.Y .2003)            by the Plaintiff here. Id. at 532.
(“[N]onexhaustion should be resolved as early as possible by
the court.”).                                                     Exhaustion is not a jurisdictional predicate, see Richardson
                                                                  v. Goord, 347 F.3d 431, 434 (2d Cir.2003), but an
 *4 A motion for summary judgment, pursuant to                    affirmative defense. See Jenkins v. Haubert, 179 F.3d 19,
Fed.R.Civ.P. 56(b) and (c), “shall be rendered forthwith if       28-29 (2d Cir.1999). “[D]efendants bear the burden of
the pleadings, depositions, answers to interrogatories, and       proof and prisoner plaintiffs need not plead exhaustion
admissions on file, together with the affidavits, if any, show    with particularity.” McCoy, 255 F.Supp.2d at 248; accord
that there is no genuine issue as to any material fact and that   Anderson v. XYZ Corr. Health Servs., Inc., 407 F.3d 674,
the moving party is entitled to a judgment as a matter of         677 (4th Cir.2005) (summarizing law of the majority of
law.” The burden is on the movant to show that there is no        circuits, including the Second Circuit, which holds that
genuine factual dispute. See Giannullo v. City of New York,       exhaustion of administrative remedies under the PLRA is
322 F.3d 139, 140 (2d Cir.2003). All reasonable inferences        not a pleading requirement). Nonetheless, a complaint may
must be made in the non-movant's favor. Id. (citing Anderson      be dismissed if plaintiff's failure to exhaust administrative
v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)).                remedies is apparent from the face of the complaint. See
                                                                  Anderson, 407 F.3d at 682; McCoy, 255 F.Supp.2d at 249,


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251. However, “[b]y characterizing non-exhaustion as an            to the exhaustion claims. 14 See Collins, 438 F.Supp.2d at
affirmative defense, the Second Circuit suggests that the issue    411 n. 13 (noting Woodford's potential impact on the law of
of exhaustion is generally not amenable to resolution by way       the Second Circuit but deciding exhaustion claims under the
of a motion to dismiss.” Nicholson v. Murphy, No. 302 Civ.         Second Circuit's three-part inquiry); Hernandez v. Coffey, No.
1815, 2003 WL 22909876, at *6 (D.Conn. Sept. 19, 2003);            99 Civ. 11615, 2006 WL 2109465, at *3 (S.D.N.Y. July 26,
see also McCoy, 255 F.Supp.2d at 249-50 (“[I]f, as is usually      2006) (same). The three-part exhaustion test is discussed in
the case, it is not clear from the face of the complaint whether   seriatim.
the plaintiff exhausted, a [motion to dismiss] is not the proper
vehicle.”). “Rather, the defendants must present proof of non-     14     In any event, the Court does not believe that
exhaustion.” Nicholson, 2003 WL 22909876, at *6.
                                                                          anything in Woodford would change the result in
                                                                          this case. See Ruggiero, 2006 WL 2973034, at *4
 *5 This past Term, the Supreme Court considered the
                                                                          (“[Appellant] could not have prevailed even under
PLRA's exhaustion requirement and held that, “[p]roper
                                                                          [the Circuit's] pre-Woodford case law.”).
exhaustion demands compliance with an agency's deadlines
and other critical procedural rules because no adjudicative
system can function effectively without imposing some                 1. Whether Administrative Remedies were “Available” to
orderly structure on the course of its proceedings.” Woodford         the Prisoner
v. Ngo, --- U.S. ----, 126 S.Ct. 2378, 2385 (June 22, 2006)        Before dismissing a complaint filed under the PLRA for
(footnote omitted). Thus, the Court's decision requires that       failure to exhaust, the Court must “establish the availability
there be “proper exhaustion,” id. at 2385, before a case may       of an administrative remedy from a legally sufficient source.”
succeed in federal court. Concurring in the judgment, Justice      Snider v. Melindez, 199 F.3d 108, 114 (2d Cir.1999). “To
Breyer left open the possibility that the Court's adoption of      be ‘available’ under the PLRA, a remedy must afford ‘the
the “proper exhaustion” requirement of the PLRA may still          possibility of some relief for the action complained of.’ “
allow for exceptions to exhaustion recognized by the Second        Abney v. McGinnis, 380 F.3d 663, 667 (2d Cir.2004) (quoting
Circuit. Id. at 2393 (citing Giano v. Goord, 380 F.3d 670, 677     Booth v. Churner, 532 U.S. 731, 738 (2001)). In making
(2d Cir.2004)).                                                    this determination, “courts should be careful to look at the
                                                                   applicable set of grievance procedures.” Id. at 668 (quoting
In the Second Circuit, a district court must consider three        Mojias v. Johnson, 351 F.3d 606, 610 (2d Cir.2003)); see also
factors before the court can decide whether the prisoner has       Taylor v. New York City Dep't of Corr., No. 03 Civ.1929, 2004
failed to exhaust available administrative remedies. Those         WL 2979910, at *6 (S.D.N.Y. Dec. 22, 2004).
three factors are: (1) whether administrative remedies were
“available” to the prisoner; (2) whether the defendants are         *6 In some circumstances, a defendant's behavior will
estopped from asserting an exhaustion defense; and (3)             render an administrative remedy unavailable. See Hemphill,
whether special circumstances exist that excuse the prisoner       380 F.3d at 687. “Exhaustion may be achieved in situations
from the exhaustion requirements. See Paese v. Hartford Life       where prison officials fail to timely advance the inmate's
Accident Ins. Co., 449 F.3d 435, 445 (2d Cir.2006); Hemphill       grievance or otherwise prevent him from seeking his
v. New York, 380 F.3d 680, 686-92 (2d Cir.2004); Giano, 380        administrative remedies.” Abney, 380 F.3d at 667 (citation
F.3d at 677.                                                       omitted); see also Hemphill, 380 F.3d at 688-89 (determining
                                                                   that threats from guards which prevent the filing of a
The Second Circuit has not addressed how the three-part            grievance would make the remedy unavailable) (citing
approach outlined above has been affected by Woodford. In          Ziemba v. Wezner, 366 F.3d 161, 162 (2d Cir.2004)).
fact, just before the issuance of this Opinion, the Second         Additionally, an administrative remedy is unavailable in
Circuit declined to “determine what effect Woodford has on         “instances where the prisoner obtains a favorable disposition
[its] case law in this area.” Ruggiero v. County of Orange,        of his grievance, only to find, after the time for filing an
---F.3d ----, No. 05-4774-cv, 2006 WL 2973034, at *4 (2d           administrative appeal has expired, that the relief he had
Cir. Oct. 18, 2006). Until such time as the Court of Appeals       won was not forthcoming.” Giano, 380 F.3d at 677 (citation
considers the impact of Woodford, if any, on its prior rulings,    omitted).
this Court must follow the law of the Second Circuit. The
Court will therefore apply the current law of this Circuit         In this case, the administrative procedures that Woodford
                                                                   requires Plaintiff to properly exhaust are the administrative


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procedures established by DOCS. The DOCS program
includes a three-step administrative mechanism called the
Inmate Grievance Program (“IGP”), which provides an                   3. Special Circumstances
avenue for prisoners to resolve complaints about the                *7 Next, the Court must consider any special circumstances
conditions of their incarceration. See N.Y. Correct. Law § 139.    which may have frustrated an inmate's grievance. In Giano,
The IGP requires that an inmate first file a complaint with        the Second Circuit determined that “there are certain ‘special
the Inmate Grievance Review Committee (“IGRC”) within              circumstances' in which, though administrative remedies may
                                                                   have been available and though the government may not
fourteen days of the challenged event. 15 See 7 N.Y.C .R.R.
                                                                   have been estopped from asserting the affirmative defense
§ 701.7(a)(1); see also Collins, 438 F.Supp.2d at 410. The
                                                                   of non-exhaustion, the prisoner's failure to comply with
IGRC must then respond within seven days. See 7 N.Y.C.R.R.
                                                                   administrative procedural requirements may nevertheless
§ 701.7(a)(3). The inmate may then appeal an adverse IGRC
                                                                   have been justified.” 380 F.3d at 676 (citations omitted).
decision to the superintendent of the facility. Id. at 701.7(b);
                                                                   In Giano, the plaintiff's reasonable interpretation of DOCS
see also Collins, 438 F.Supp.2d at 410. Finally, the inmate
                                                                   regulations constituted the “special circumstances” justifying
may appeal to the DOCS CORC. See 7 N.Y.C.R.R. § 701.7(c);
                                                                   his failure to exhaust. Id.
see also Collins, 438 F.Supp.2d at 410. The IGP also permits
“matters not decided within the time limits [to] be appealed
to the next step .” 7 N.Y.C.R.R. § 701.8. A few aspects of            C. Exhaustion Analysis
prison life, such as complaints concerning outside agencies,       Defendants do not argue, and they would be unsuccessful if
are not grievable. See 7 N.Y.C.R.R. § 701.3(f). However, an        they did, that it is apparent from the face of the Complaints
inmate may otherwise grieve “virtually any issue affecting         (and Plaintiff's other pleadings) that Plaintiff has not properly
their confinement.” Flanagan v. Maly, No. 99 Civ. 12336,           exhausted his administrative remedies. Instead, in support
2002 WL 122921, at *1 (S.D.N.Y. Jan. 29, 2002) (citations          of their claim that Plaintiff has not properly exhausted
omitted).                                                          his administrative remedies, Defendants submit documents
                                                                   and affidavits beyond Plaintiff's pleadings. Plaintiff has
15                                                                 responded in kind with references to documents outside the
       Although an inmate has fourteen calendar days
       from the date of an incident to file a grievance,           pleadings he has filed. And, as previously noted, Plaintiff
       the IGP supervisor may toll the deadline on the             has acknowledged that he was on notice that Defendants'
       basis of “mitigating circumstances.” 7 N.Y.C.R.R.           motion regarding the exhaustion claim could (and should)
       § 701.7(a)(1); Hemphill, 380 F.3d at 682 n. 3. In this      be converted to a summary judgment motion. Accordingly,
       case, neither Plaintiff nor Defendants argue that the       the Court will consider the additional items submitted by
       fourteen-day time period was waived or tolled in            the parties and evaluate the exhaustion claim under summary
       any of Plaintiff's grievances.                              judgment principles. See Taylor, 2004 WL 2979910, at *4
                                                                   (converting defendants' motion to dismiss to one for summary
   2. Estoppel                                                     judgment where defendants submitted additional documents
Under the Second Circuit's three-part inquiry, the Court must      and Plaintiff was on notice of possibility of conversion of
also inquire as to “whether the defendants may have forfeited      motion).
the affirmative defense of non-exhaustion by failing to raise
or preserve it ... or whether the defendants' own actions          Defendants argue that many of Plaintiff's grievances were
inhibiting the inmate's exhaustion of remedies may estop           not properly exhausted, and they offer the sworn declaration
one or more of the defendants from raising the plaintiff's         of Karen Bellamy (“Bellamy Decl.”), the Assistant to the
failure to exhaust as a defense.” Hemphill, 380 F.3d at 686        Director of the Inmate Grievance Program at DOCS, to carry
(citations omitted). Under this analysis, for example, the         their burden of demonstrating non-exhaustion. Bellamy is
Second Circuit has held that defendants may be estopped            responsible for “maintaining records of appeals of grievances
from raising a non-exhaustion affirmative defense where            filed by inmates” and she “oversee[s] the computer records
prison officials prevented an inmate from exhausting his           that DOCS maintains of all appeals made to the Central
administrative remedies. See Ziemba, 366 F.3d at 162-63            Office Review Committee....” (Id. ¶ 2) DOCS' Directive #
(estopping defendants where they had prevented exhaustion          4040 “requires that grievance files and logs be maintained
of remedies by beating and threatening the inmate, denying         for at least the current year plus the previous four calendar
him grievance forms, and transferring him to another prison).      years.” (Id. ¶ 3) Furthermore, the CORC maintains grievance


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appeals to CORC dating back to 1990. (Id.) “[R]etaliation             In addition, Defendants have not prevented Plaintiff from
and conspiracy [claims] may be grieved through the inmate             pursuing the available administrative remedies, and Plaintiff
grievance program.” (Id. ¶ 5)                                         has not argued otherwise. See Hernandez, 2006 WL 2109465,
                                                                      at *4 (citations omitted).
It is clear based on Defendants' submissions, which Plaintiff
does not contest, that administrative remedies were available         The third part of the exhaustion test has also been satisfied.
to Sloane under the IGP. There is also nothing in the record          There are no special circumstances which would excuse
that suggests that Sloane's efforts to utilize the IGP were           Plaintiff from availing himself of administrative remedies.
frustrated by prison officials. 16 Therefore, the first part of the   Plaintiff has not asserted that he was inhibited in his pursuit
exhaustion test has been met; administrative remedies were            of administrative remedies, nor has he suggested that his
available to Sloane.                                                  interpretation of DOCS regulations differed from that of
                                                                      prison officials, as in Giano.
16      The Court notes that Plaintiff was transferred
                                                                      All of Plaintiff's claims in this action could have been pursued
        in early 2004 to Elmira “due to inappropriate
                                                                      through the IGP, and since none of the three factors the
        behavior.” (Lee Decl. Ex. B.) Although in Ziemba,
                                                                      Court must consider excuses Plaintiff's failure to properly
        the Second Circuit noted that the transfer of
                                                                      exhaust his remedies, the Court must now determine which of
        a prisoner contributed to a pattern of behavior
                                                                      Plaintiff's claims were properly exhausted. From the materials
        which estopped the defendants from raising the
                                                                      submitted by Defendants, most of which are either attached or
        non-exhaustion defense, 366 F.3d at 162-64, a
                                                                      referred to in Plaintiff's Complaints, it is evident that Plaintiff
        number of courts have determined that transfer by
                                                                      filed a total of twelve grievances through the IGP. (Lee Decl.
        itself does not prevent a Plaintiff from exhausting
                                                                      Exs. A, B.) These twelve grievances can be placed into three
        available administrative remedies. See, e.g., Sims
                                                                      categories. The first category consists of grievances which
        v. Blot, No. 00 Civ. 2524, 2003 WL 21738766,
                                                                      Plaintiff filed before the alleged date of the PPD test. The
        at *4 (S.D.N.Y. July 25, 2003) (determining that
                                                                      second category consists of grievances which were filed but
        failure to exhaust administrative remedies is not
                                                                      not appealed, and therefore, not properly exhausted. The third
        excused by transfer to another facility); Thomas
                                                                      category is comprised of properly exhausted grievances.
        v. Henry, No. 02 Civ. 2584, 2002 WL 922388,
        at *2 (S.D.N.Y. May 7, 2002) (finding transfer
        of prisoner from a city to a state prison did not                1. Grievances Which Pre-date the PPD Test
        relieve him of obligation to pursue the grievance             Plaintiff attached a number of grievances to his Initial
        procedures); Santiago v. Meinsen, 89 F.Supp.2d                Complaint, three of which pre-date Plaintiff's assertion that
        435, 440-41 (S.D.N.Y.2000) (determining that                  prison officials conspired to retaliate against Plaintiff for
        Plaintiff should not be “rewarded” for failing to             refusing to take the May 8, 2003, PPD test. 17 In those
        participate in grievance procedure before being               grievances, Plaintiff claimed, respectively, that he was denied
        transferred).                                                 access to his legal files, that the S-block facility did not stock
 *8 The second part of the exhaustion test asks if Defendants         adequate office supplies, and that Plaintiff's legal documents
are estopped from raising exhaustion as a defense. Here,              were misplaced. (Lee Decl. Ex. A.) Since all of these events
they are not. Defendants first raised the PLRA exhaustion             took place before Plaintiff refused the PPD test, they could
defense in their Motion to Dismiss. (Defs.' Mem. of Law               not have been in retaliation for his refusal of the test, nor
in Supp. of their Mot. to Dismiss the Compl. 7-9) Other               could they all be part of a conspiracy aimed at harming
courts in this district have held that an exhaustion defense          Plaintiff for refusing the test. 18 In addition, Plaintiff has not
was not waived when defendants timely raised the defense              alleged that he sustained any injury as a result of the conduct
in their second amended answer. See Legal Aid Soc'y v.                underlying these grievances, which means that section 1983 is
City of New York, 114 F.Supp.2d 204, 222 (S.D.N.Y.2000).              not available to him as a remedy for these instances of alleged
In this case, Defendants have exceeded that standard, and             misconduct. See Moore v. Gardner, 199 F.Supp.2d 17, 28
asserted the exhaustion defense in both their Motion to               (W.D.N.Y.2002) (denying section 1983 claim for confiscation
Dismiss the initial Complaint, and their Motion to Dismiss            of legal papers because plaintiff sustained no injury).
the Amended Complaint. (Defs' Supplemental Mem. 8-12)



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17                                                                      January 14, 2004: Plaintiff filed inmate grievance
       The three grievances, filed on April 3, 2003, April
                                                                        FCF 24865-04, alleging an unidentified officer spit
       14, 2003, and April 24, 2003, were FCF 24097-03,
                                                                        in his food.
       FCF 24114-03, and FCF 24160-03, respectively.
       (Lee Decl. Ex. A.)                                       The impact of Plaintiff's failure to exhaust his administrative
                                                                remedies is fatal, because the gravamen of Plaintiff's
18     Though not dispositive, the April 3 and April 14         complaint in this section 1983 action is found in a grievance
       grievances were granted, which would seem to             Plaintiff filed at Elmira-EL 26403-04-which was not fully
       undermine Plaintiff's claims that he was the victim      exhausted. This is the only grievance alleging that Plaintiff's
       of a conspiracy. (Lee Decl. Ex. A.) Furthermore,         TB confinement constituted religious discrimination. (Lee
       Plaintiff has not argued at any point that the denial    Decl. Ex. A.)
       of access to his legal files or access to supplies has
       hindered his ability to exhaust his administrative
       remedies.                                                   3. Properly Exhausted Claims
                                                                Defendants concede that two of Plaintiff's grievances were
   2. Claims Not Exhausted                                      properly exhausted. On September 18, 2003, Plaintiff
 *9 Defendants argue that most of Plaintiff's claims were       filed inmate grievance FCF 24522-03, alleging that CO
not fully exhausted and in support, they have offered a         Venne made an inappropriate comment to Plaintiff. This
computer printout which lists all of Plaintiff's grievances     grievance was appealed to the CORC, which issued a final
which were appealed to CORC. (Bellamy Decl. Ex. A.)             determination on October 22, 2003. (Bellamy Decl. Ex. A.)
Based on that computer record, Defendants contend that “the     On January 14, 2004, Plaintiff filed inmate grievance FCF
only grievances that inmate Sloane has appealed at Fishkill     24866-04, alleging that prison staff threw a food tray at him.
Correctional Facility after May 8, 2003 ... are one grievance   (Id.) This grievance was appealed to the CORC, which issued
for alleged inappropriate comments by a corrections officer     a final determination on March 3, 2004. (Id.) Since these
(FCF 24522-03) and a grievance for a food tray allegedly        two grievances were the only fully exhausted grievances, the
being thrown at him (FCF 24866-04).” 19 (Bellamy Decl.          Court will limit Sloane, in accord with the PLRA, to claims
¶ 6.) Plaintiff has not challenged Defendants' claim that       raised in grievances FCF 24522-03 and FCF 24866-04. The
only these two grievances were appealed to the CORC, and,       Court cannot consider any allegation by Sloane made in his
therefore, the remaining grievances were not fully exhausted.   complaints or papers that does not appear in either grievance.
See Woodford, 126 S.Ct. at 2385 (defining proper exhaustion);
Gibson v. Goord, 280 F.3d 221, 224 (2d Cir.2002) (noting
                                                                   D. Individual Defendants
that unappealed grievances are deemed to be unexhausted
                                                                The Court now turns to the question of which of the
grievances). The Court agrees with Defendants that only two
                                                                named Defendants were identified by Sloane in his two
of Plaintiff's grievances were fully exhausted.
                                                                exhausted grievances. The allegation of a defendant's
                                                                personal involvement in any alleged constitutional violation
19     Plaintiff failed to exhaust his remedies for the         is a prerequisite to a damage award for personal injury under
       following grievances: (1) May 9, 2003: Plaintiff         section 1983. See Wright v. Smith, 21 F.3d 496, 501 (2d
       filed inmate grievance FCF 24171-03, alleging            Cir.1994). In Plaintiff's two properly exhausted grievances,
       denial of supplies and a racist remark concerning        he names seven individuals, but Defendants Melton and
       slavery made by prison staff; (2) June 10, 2003:         Lopiccolo are not among them. Because Plaintiff failed to
       Plaintiff filed inmate grievance FCF 24248-03,           name Melton or Lopiccolo in either grievance, claims against
       alleging denial of legal copies; (3) June 24, 2003:      these Defendants are dismissed. See Roper v. Hynes, No.
       Plaintiff filed inmate grievance FCF 24296-03,           05 Civ. 7664, 2006 WL 2773032, at *9 (S.D.N.Y. Sept. 27,
       alleging prison staff listened to his privileged tape    2006) (dismissing section 1983 action for lack of personal
       recording; (4) July 22, 2003: Plaintiff filed inmate     involvement) (citing Alfaro Motors, Inc. v. Ward, 814 F.2d
       grievance FCF 24372-03, alleging a request to type       883, 886 (2d Cir.1987)); Luckerson v. Goord, No. 00 Civ.
       legal documents was not granted; (5) September           9508, 2002 WL 1628550, at *2 (S.D.N.Y. July 22, 2002)
       11, 2003: Plaintiff filed inmate grievance FCF           (finding that litigating a federal suit based on allegations that
       24520-03, alleging denial of library materials; (6)



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were never made at the administrative level would make a            an individual defendant in a supervisory role was personally
“mockery of the exhaustion requirement”).                           involved in a constitutional violation, cannot withstand
                                                                    dismissal.”); Madison v. Mazzuca, No. 02 Civ. 10299, 2004
 *10 Plaintiff also makes allegations against Superintendent        WL 3037730, at * 10 (S.D.N.Y. Dec. 30, 2004) (dismissing
Mazzuca and Deputy Superintendent for Security Ercole,              “wholly conclusory” allegations of supervisory culpability).
both of whom are properly categorized as supervisory                Therefore, any claims against Defendants Mazzuca and
personnel. The personal involvement of a supervisory official       Ercole are dismissed. Thus, the following Defendants are
in a section 1983 action can be established by showing that:        the remaining parties to this lawsuit: Sergeant Conklin, COs
                                                                    Venne, Valhos, Geulu, Padgett, and Woodward.

             (1) the defendant participated directly
                                                                      E. Section 1983
             in the alleged constitutional violation,
                                                                    To state a claim under section 1983, Plaintiff must show that
             (2) the defendant, after being informed
                                                                    defendants, while acting “under color of state law,” deprived
             of the violation through a report or
                                                                    Plaintiff of his constitutional or statutory rights. Shabazz v.
             appeal, failed to remedy the wrong,
                                                                    Vacco, No. 97 Civ. 3761, 1998 WL 901737, at *2 (S.D.N.Y.
             (3) the defendant created a policy or
                                                                    Dec. 28, 1998) (citing Pitchell v. Callan, 13 F.3d 545, 547-48
             custom under which unconstitutional
                                                                    (2d Cir.1994)); see also 42 U.S.C. § 1983.
             practices occurred, or allowed the
             continuance of such a policy or
                                                                    While pro se complaints are to be liberally construed and
             custom, (4) the defendant was grossly
                                                                    interpreted “to raise the strongest argument that they suggest,”
             negligent in supervising subordinates
                                                                    Graham v. Henderson, 89 F.3d 75, 79 (2d Cir.1996) (citation
             who committed the wrongful acts, or
                                                                    omitted), the Court must dismiss a section 1983 complaint
             (5) the defendant exhibited deliberate
                                                                    if it fails to set forth specific factual allegations indicating a
             indifference to the rights of inmates
                                                                    deprivation of constitutional rights. See Alfaro Motors, 814
             by failing to act on information
                                                                    F.2d at 887 (“[B]road, simple, and conclusory statements are
             indicating that unconstitutional acts
                                                                    insufficient to state a claim under § 1983.”); Shabazz, 1998
             were occurring.
                                                                    WL 901737, at *2 (“[T]he court will dismiss a complaint that
                                                                    consist[s] of nothing more than naked assertions, and set[s]
                                                                    forth no facts upon which a court could find a [constitutional]
Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir.1995) (citation
                                                                    violation.”) (citations and quotation marks omitted). The
omitted).
                                                                    Second Circuit has “repeatedly held, [that] complaints relying
                                                                    on ... civil rights statutes are insufficient unless they contain
Plaintiff's claims against the supervisory Defendants fail, as
                                                                    some specific allegations of fact indicating a deprivation of
neither Defendant has been alleged to be involved in any
                                                                    rights, instead of a litany of general conclusions that shock
of the conduct underlying Plaintiff's exhausted grievances.
                                                                    but have no meaning.” Barr v. Abrams, 810 F.2d 358, 363 (2d
Plaintiff has also failed to allege that any of the five Colon
                                                                    Cir.1987).
factors for supervisory officials has been met. Rather, Plaintiff
generally asserts that Mazzuca and Ercole “ran a campaign of
keeping incidents alive” (Compl. IV Statement of Claim 6),             1. Inappropriate Comments
but he does little more than offer conclusory statements that        *11 Plaintiff alleges that he was the target of an
Mazzuca and Ercole, both of whom sit high atop the prison           inappropriate comment by a “white officer,” who was later
hierarchy, conspired against him. Such conclusory allegations       identified by DOCS to be CO Venne. Plaintiff alleges that
are insufficient to sustain a claim. See Collins, 438 F.Supp.2d     after he complied with CO Venne's directive to remove a
at 420 (dismissing claim against DOCS officials who had no          towel from his cell which was obstructing the officer's view
direct role in subject of plaintiff's complaint (citing Colon,      into the cell, Venne responded by saying, “That(s) [sic] a good
58 F.3d at 874)); see also Davis v. County of Nassau,               boy.”
355 F.Supp.2d 668, 677 (E.D.N.Y.2005) (“A complaint that
essentially regurgitates the relevant ‘personal involvement’        The alleged comment is not actionable under section 1983 for
standard, without offering any facts indicating that, or how,       two reasons. First, verbal harassment-even potentially racist


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harassment-“unaccompanied by any injury no matter how                issue Plaintiff misbehavior citations as part of a scheme to
inappropriate, unprofessional, or reprehensible it might seem,       keep “incidents alive.”
does not constitute the violation of any federally protected
right and is therefore not actionable under 42 U.S.C. §              To successfully assert a section 1983 claim for conspiracy,
1983.” Shabazz v. Pico, 994 F.Supp. 460, 474 (S.D.N.Y.1998)          plaintiff must show: (1) an agreement between two or more
(collecting cases) (citations and punctuation omitted); see          state actors or between a state actor and a private entity; (2)
also Purcell v. Coughlin 790 F.2d 263, 265 (2d Cir.1986) (per        to act in concert to inflict an unconstitutional injury; and (3)
curiam) (“The claim that a prison guard called Purcell names         an overt act done in furtherance of that goal causing harm
also did not allege any appreciable injury and was properly          to plaintiff. See Pangburn v. Culbertson, 200 F.3d 65, 72 (2d
dismissed.” (citing McCann v. Coughlin, 698 F.2d 112, 126            Cir.1999). The Court is mindful, however, that “conspiracies
(2d Cir.1983)); Ramirez v. Holmes, 921 F.Supp. 204, 210              are by their very nature secretive operations, and may have to
(S.D.N.Y.1996) (“Allegations of threats or verbal harassment,        be proven by circumstantial, rather than direct, evidence.” Id.
without any injury or damage, do not state a claim under             at 72 (citation and quotations omitted). Nonetheless, claims
42 U.S.C. § 1983.”). Second, Plaintiff has no section 1983           of conspiracy, as with all civil rights causes of action, must be
claim even assuming, arguendo, that there is a racial subtext        plead with some specificity. See Roper, 2006 WL 2773032,
to the comment, because discriminatory statements are not            at *9 (noting that conspiracy claims must be plead with
actionable under section 1983. See Wright v. Santoro, 714            specificity); Brewster v. Nassau County, 349 F.Supp.2d 540,
F.Supp. 665, 667 (S.D.N.Y.1989) (noting that discriminatory          547 (E.D.N.Y.2004) (same).
statements reflecting racial prejudice are not actionable under
section 1983 where not connected to any physical injury),            Plaintiff has failed to allege, with any specificity, that
aff'd, 891 F.2d 278 (2d Cir.1989). Therefore, this cause of          Defendants formed an agreement to conspire against Plaintiff,
action is dismissed for failure to state a claim.                    or that there was a “meeting of the minds.” The mere fact
                                                                     that Defendants are DOCS employees, and have encountered
                                                                     Plaintiff on various occasions, by itself, is not sufficient to
   2. Food Tray Incident                                             state a claim for conspiracy. See Webb v. Goord, 340 F.3d 105,
Sloane alleges that CO Conklin threw a food tray at him in           110-11 (2d Cir.2003) (holding that plaintiffs failed to allege in
what Plaintiff says was a racially-motivated incident. Sloane        a non-conclusory manner any meeting of the minds); Sommer
further alleges that CO Valhos participated in a “cover up” to       v. Dixon, 709 F.2d 173, 175 (2d Cir.1983) (“A complaint
conceal the food tray incident. Sloane does not claim that he        containing only conclusory, vague, or general allegations of
was struck by the tray.                                              conspiracy ... cannot withstand ... dismiss[al].”).

The food tray incident is not actionable under section 1983.         In addition, to the extent Plaintiff alleges that the “persistent
Plaintiff has not identified which of his constitutional or          racial taunting” he faces is verbal harassment, those claims
statutory rights was violated by the officers. Furthermore,          are not actionable under section 1983. See supra, Part
physical contact that falls short of producing an injury is          II.E.1. Finally, Sloane's conspiracy claim also fails because
not actionable under section 1983. See Boddie v. Schnieder,          he relies on unsupported, conclusory statements for his
105 F.3d 857, 862 (2d Cir.1997) (holding that plaintiff's            conspiracy allegation. For example, Plaintiff has not alleged
allegations that he was “bumped, grabbed, elbowed, and               with any specificity how Defendants acted in concert to
pushed” did not present a viable section 1983 claim (citing          injure Plaintiff. This mandates dismissal of this claim. See
Romano v. Howarth, 998 F.2d 101, 105 (2d Cir.1993))). Here,          Ciambriello v. County of Nassau, 292 F.3d 307, 325 (2d
there was no physical contact, and thus no actionable section        Cir.2002) (“[C]onclusory, vague, or general allegations that
1983 injury. Further, because the alleged act of throwing a          the defendants have engaged in a conspiracy to deprive the
food tray by itself is not actionable in the absence of any          plaintiff of his constitutional rights are properly dismissed.”);
injury, neither is any alleged cover up. Therefore, this cause       McCoy, 255 F.Supp.2d at 259 (allegations of conspiracy were
of action is dismissed for failure to state a claim.                 too broad and conclusory). Therefore, this cause of action is
                                                                     dismissed for failure to state a claim.

  3. Conspiracy
 *12 Next, Sloane alleges that he is a victim of a “pattern of ...     4. Retaliation
persistent racial taunting” which is fueled by a conspiracy to


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Although Plaintiff's complaints and papers do not clearly             for retaliation based on misbehavior tickets issued against
allege that the conduct underlying his exhausted claims form          plaintiff had to be exhausted).
the basis of a First Amendment retaliation claim, the Court
will assume that Plaintiff has alleged retaliation. To state a        However, the Court will now consider the retaliation claim
claim of retaliation for exercise of First Amendment rights,          that arguably could be based on Plaintiff's two exhausted
Plaintiff must make non-conclusory allegations establishing:          grievances. Plaintiff alleges that two discrete events-one
(1) that the speech or conduct at issue was protected; (2) that       alleging an inappropriate comment by a corrections officer
the defendant took adverse action against the plaintiff; and          and one where a food tray was allegedly thrown at him-
(3) that there was a causal connection between the protected          constitute retaliation against Plaintiff. The first prong of a
speech and the adverse action. See Dawes v. Walker, 239               retaliation claim requires that the speech or conduct at issue
F.3d 489, 492 (2d Cir.2001), overruled on other grounds               was protected. These events, if precipitated because of animus
by Swierkiewicz v. Sorema N.A., 534 U .S. 506 (2002);                 towards Plaintiff's “American Muslim” identity, arguably
Holmes v. Grant, No. 03 Civ. 3426, 2006 WL 851753, at                 satisfy the first prong for a retaliation claim, because prisoners
*15 (S.D.N.Y. Mar. 31, 2006). Because prisoners' claims of            have a constitutional right to the free exercise of their religion.
retaliation are prone to abuse, the Court approaches Plaintiff's      See Ford v. McGinnis, 352 F.3d 582, 588 (2d Cir.2003).
claims with justifiable caution and some skepticism. See
Allah v. Greiner, No. 03 Civ. 3789, 2006 WL 357824, at                The second prong of a retaliation claim requires an adverse
*3 (S.D.N.Y. Feb. 15, 2006) (citing Flaherty v. Coughlin,             action, which is an act “that would deter a similarly
713 F.2d 10, 13 (2d Cir.1983) (“[C]laims by prisoners                 situated individual of ordinary firmness from exercising ...
that particular administrative decisions have been made for           constitutional rights.” Gill v. Pidlypchak, 389 F.3d 379, 380
retaliatory purposes are prone to abuse .”)). That is because         (2d Cir.2004) (citing Davis v. Goord, 320 F.3d 346, 353 (2d
“[v]irtually every prisoner can assert ... [a claim of retaliation]   Cir.2003)). Adverse actions are measured objectively, even
as to every decision which he or she dislikes.” Flaherty, 713         if the plaintiff was not deterred. Id. (citing Davis, 320 F.3d
F.2d at 13. Thus, to survive a Motion to Dismiss, a retaliation       at 353-54). If the adverse action is one that does not deter
claim must be pled with specificity. See Ramsey v. Goord, No.         an individual of ordinary firmness, however, the retaliatory
05 Civ. 47A, 2005 WL 2000144, at *7 (W.D.N.Y. Aug. 13,                act “is simply de minimis and therefore outside the ambit of
2005); Allah, 2004 WL 1713811, at *1; Prince v. Edwards,              constitutional protection.” Davis, 320 F.3d at 353.
No. 99 Civ. 8650, 2000 WL 633382, at *1 (S.D.N.Y. May 17,
2000).                                                                To determine whether retaliatory acts are de minimis, “the
                                                                      court's inquiry must be ‘tailored to the different circumstances
 *13 Read charitably, Plaintiff has alleged that his time spent       in which retaliation claims arise,’ bearing in mind that
in the SHU confinement cell, numerous misbehavior reports,            ‘[p]risoners may be required to tolerate more ... than average
and two incidents with corrections officers, were the products        citizens, before a [retaliatory] action taken against them is
of retaliation on account of Plaintiff's “American Muslim”            considered adverse.’ “ Davis v. Goord, 320 F.3d at 353
religious identity. With respect to the first claim, that Plaintiff   (quoting Thaddeus -X v. Blatter, 175 F.3d 378, 398 (6th
was placed in a confinement cell in retaliation for his exercise      Cir.1999)). “Thus, in retaliation actions by prisoners, courts
of his religion, that claim is rejected on summary judgment           have found that a range of potentially retaliatory acts by
grounds for failure to exhaust available administrative               prison officers are legally insufficient to state a retaliation
remedies. As noted above, no properly exhausted grievance             claim.” Salahuddin v. Mead, No. 95 Civ. 8581, 2002 WL
made any allegations of misconduct based on Plaintiff's               1968329, at *4 (S.D.N.Y. Aug. 26, 2002).
supposedly religious objection to the PPD test, and the one
grievance that relied on this claim was never appealed.                *14 Neither of Plaintiff's exhausted claims rises to the
Plaintiff cannot circumvent the exhaustion requirement by             level of constitutional significance and both are merely de
simply cloaking his claims under the guise of “retaliation.”          minimis for reasons explained in this Opinion. See supra
Indeed, any allegations of retaliation based on misbehavior           Part II.E. The conduct at issue falls far short of crossing
reports is also rejected on summary judgment grounds,                 the threshold for adverse actions when compared to other
because Plaintiff failed to exhaust administrative remedies           retaliation cases which were brought forth in the Second
available for grieving retaliation claims. See Lawrence v.            Circuit. See Morales v. Mackalm, 278 F.3d 126, 131-32 (2d
Goord, 304 F.3d 198, 200 (2d Cir.2002) (noting that claim             Cir.2002) (finding that an officer's reference to plaintiff as



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a “stoolie,” intended to stigmatize plaintiff as an informant,      v. Lappin, No. Civ.A. 7:04CV00625, 2004 WL 3334806, at
was insufficient to support a claim for retaliation), abrogated     *2 (W.D.Va. Oct. 26, 2004) (“ ‘Temporal proximity’ between
on other grounds by Porter, 534 U.S. at 532; Dawes, 239             the inmate's protected activity and the allegedly retaliatory,
F.3d at 493 (concluding that an officer's references to plaintiff   official action ‘is simply too slender a reed on which to rest’
as a “rat” and an “informant,” combined with plaintiff's            a § 1983 retaliation claim.” (quoting Wagner v. Wheeler, 13
conclusory allegations that the references exposed him to           F.3d 86, 90-91 (4th Cir.1993))).
assault from other inmates, were insufficient to support a
claim for retaliation); Rivera v. Goord, 119 F.Supp.2d 327,          *15 The remaining factors also militate strongly against
340 (S.D.N.Y.2000) (dismissing retaliation claim against            Plaintiff's claim: Plaintiff has not alleged that his troubles
defendant who “shoved” an inmate on the ground that the             with prison officials began on the day he refused the PPD
harm was de minimis).                                               test; the IGP has not vindicated any of his retaliation claims;
                                                                    and Plaintiff has not pointed to any evidence of a retaliatory
The third prong requires a causal connection between the            motive, other than his conclusory claims. In fact, Plaintiff has
protected speech and the adverse action. Courts may consider        made no attempt in any of his papers to connect the officers
a number of factors when examining the causal connection            named in the two exhausted grievances to his refusal to take
requirement, such as: (1) the temporal proximity between            the PPD test or his religious beliefs. Only CO DiGregonio,
the protected activity and the alleged retaliatory act; (2) the     who is not named by Plaintiff in either exhausted grievance,
inmate's prior good disciplinary record; (3) vindication at a       had a connection to the PPD test, because DiGregonio
hearing on the matter; and (4) statements by the defendant          issued Plaintiff with a misbehavior ticket for his refusal to
concerning his motivation. See Baskerville v. Blot, 224             take the PPD test. Plaintiff failed to exhaust that grievance,
F.Supp.2d 723, 732 (S.D.N.Y.2002) (citing Colon, 58 F.3d at         however. Plaintiff's allegations are conclusory, and “[e]ven
872-73).                                                            at the motion to dismiss stage ... plaintiff must offer more
                                                                    than mere conclusory allegations that a causal connection
None of these four factors supports an inference “of a causal       existed between the protected conduct and the adverse
connection between the adverse actions and the protected            action.” Holmes, 2006 WL 851753, at *15 (citing Dawes,
conduct.” Id. (citing Dawes, 239 F.3d 432). Plaintiff has           239 F.3d at 491-92); see also Flaherty, 713 F.2d at 13 (“[A]
failed to allege any series of events which plausibly could         complaint which alleges retaliation in wholly conclusory
suggest that prison officials retaliated against Plaintiff for      terms may safely be dismissed on the pleadings alone”); Smith
his refusal to take the PPD test. The first factor, temporal        v. Masterson, No. 05 Civ. 2897, 2006 WL 2883009, at *
proximity, weighs against Plaintiff. Plaintiff refused the PPD      14 (S.D.N.Y. Sept. 29, 2006) (“Because Plaintiff has failed
test on May 8, 2003, and the conduct underlying his two             to make specific and detailed factual allegations tending to
exhausted grievances took place on September 8, 2003 and            show any causal connection between his success at having
January 14, 2004, at least a full four months after Plaintiff's     disciplinary charges dismissed and the alleged conduct of the
refusal to take the PPD test. And, more than four months            DOCS Defendants, his retaliation claim must be dismissed.”).
separated the first and the second alleged incident. The lapse      Because Plaintiff “has no factual basis for the claim other than
of time between the PPD test and the alleged retaliation            an adverse administrative decision ... the costs of discovery
strongly suggests that there is no causal connection between        should not be imposed on defendants.” Flaherty, 713 F.2d at
these events. See Cobian v. New York City, No. 99 Civ.              13. Therefore, Plaintiff's retaliation claim, to the extent he
10533, 2000 WL 1782744, at *18 (S.D.N.Y. Dec. 6, 2000)              alleges one, and even if exhausted, is dismissed for failure to
(report and recommendation) (finding a lapse of over four           state a claim.
months, standing alone, is insufficient to justify an inference
of a causal connection in employment context), aff'd, 23
Fed. Appx. 82 (2d Cir.2001); cf. Jordan v. Garvin, No. 01             F. Qualified Immunity
Civ. 4393, 2004 WL 302361, at *6 (S.D.N .Y. Feb. 17,                Defendants argue that they are protected from suit under the
2004) (finding that lapse of two days permitted an inference        qualified immunity doctrine. The doctrine applies in cases
of causal connection). Plaintiff has only met the temporal          such as this one, where an inmate has brought a civil rights
proximity factor in the most rudimentary sense, because his         action against prison officials. See Freeman v. Goord, No.
refusal of the PPD test pre-dates the alleged retaliation, but      02 Civ. 9033, 2005 WL 3333465, at * 11 (S.D.N.Y. Dec. 7,
that alone is not enough to meet the third prong. See Williams      2005) (citing Luna v. Pico, 356 F.3d 481, 490 (2d Cir.2004)).
                                                                    The qualified immunity doctrine shields government officials


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performing discretionary functions from liability if “their
                                                                         G. Eleventh Amendment
conduct does not violate clearly established statutory or
                                                                      To the extent that Plaintiff is suing Defendants in their
constitutional rights of which a reasonable person would
                                                                      official capacities, such claims are barred by the Eleventh
have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818
                                                                      Amendment. See Kentucky v. Graham, 473 U.S. 159, 169
(1982); see also Wilson v. Layne, 526 U.S. 603, 609 (1999).
                                                                      (1985) (holding claim for damages against state officials in
A right is clearly established if (1) the underlying law is           their official capacity is considered claim against the state
defined with reasonable clarity, (2) the Supreme Court or the
                                                                      and, therefore, is barred by the Eleventh Amendment); Hafer
Second Circuit recognizes that right, and (3) a reasonable
                                                                      v. Melo, 502 U.S. 21, 25 (1991) (same); Davis v. New York,
defendant would understand that his conduct was unlawful.
                                                                      316 F.3d 93, 101 (2d Cir.2002) (same).
See Anderson v. Recore, 317 F.3d 194, 197 (2d Cir.2003).

 *16 The “first step” in a qualified immunity analysis is
to “determine whether the alleged conduct violates any                                        III. Conclusion
constitutionally protected right at all. Conduct that does not
                                                                      For the foregoing reasons, Defendants' motion to dismiss is
violate any constitutional right certainly does not violate
                                                                      DENIED in part and GRANTED in part. Defendants' Motion
a constitutional right that was ‘clearly established’ at the
                                                                      for Partial Summary Judgment is GRANTED. The Clerk of
time the conduct occurred.” Mozzochi v. Borden, 959 F.2d
                                                                      the Court is directed to close this case.
1174, 1179 (2d Cir.1992) (citing Siegert v. Gilley, 500
U.S. 226 (1991)). Because the conduct that Sloane has
                                                                      SO ORDERED.
properly exhausted does not rise to a constitutional violation,
Defendants are entitled to qualified immunity. The Court,
therefore, need not consider the remainder of the qualified           All Citations
immunity inquiry.
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                                                                      and DENIED IN PART. Plaintiff's motions in limine and to
                                                                      appoint counsel (ECF No. 140) are DENIED WITHOUT
     KeyCite Yellow Flag - Negative Treatment                         PREJUDICE TO RENEW.
On Reconsideration in Part Houston v. Coveny,   W.D.N.Y.,   May 14,
2020


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                                                                                            BACKGROUND 1
      Only the Westlaw citation is currently available.
       United States District Court, W.D. New York.                   1       The Court draws these facts from the parties’
                Tyrone HOUSTON, Plaintiff,                                    Rule 56 Statements, which are undisputed unless
                           v.                                                 otherwise noted. ECF No. 127-1; ECF No. 135.
               R. COVENY, et al., Defendants.                         On September 22, 2015, Plaintiff was an inmate at Five Points
                                                                      Correctional Facility. On that day around 8:10 a.m., Plaintiff
                    Case # 14-CV-6609-FPG                             was heading to the law library when Defendant directed
                               |                                      him to put his hands on the wall for a pat frisk. Defendant
                      Signed 03/09/2020                               submitted a sworn declaration wherein he averred that part
                                                                      of his job that morning “was to conduct random searches of
Attorneys and Law Firms
                                                                      inmates for contraband” and that he frisked Plaintiff “as part
Tyrone Houston, Beacon, NY, pro se.                                   of a random search of inmates traveling in that part of the
                                                                      prison at that time of the day.” ECF No. 127-3 ¶¶ 4, 6. Plaintiff
Gary M. Levine, New York State Office of the Attorney                 alleges that Defendant said: “Put your hands on the wall—
General, Rochester, NY, for Defendants.                               you want to keep writing me up? Now I'm going to fuck you.”
                                                                      ECF No. 135 at 1.


                  DECISION AND ORDER                                  Two weeks earlier, on September 8, 2015, Plaintiff wrote
                                                                      a letter to the Superintendent of Five Points complaining
HON. FRANK P. GERACI, JR., Chief Judge                                about two other corrections officers. In that letter, Plaintiff
                                                                      wrote that he wanted the Superintendent to “stop allowing
                                                                      prisoner guard [C]ady to illegally encourage and influence
                      INTRODUCTION
                                                                      their judgments.” ECF No. 138 at 16. Defendant affirmed that
 *1 On October 28, 2014, pro se Plaintiff Tyrone Houston              he did not know about the September 8 letter when he frisked
sued numerous Defendants pursuant to 42 U.S.C. § 1983 for             Plaintiff on September 22. ECF No. 127-3 ¶ 7. Nonetheless,
alleged violations of his constitutional rights. ECF No. 1.           Plaintiff believes that the letter was the reason for Defendant's
Defendant Lester Cady is the only remaining defendant in this         actions that day.
case. ECF No. 119. Plaintiff alleges that Defendant subjected
him to sexual abuse, excessive force, and retaliation on three        Defendant pat frisked Plaintiff over his clothes while inmates
occasions—September 22, 2015 and December 22 and 31,                  passed them in the hallway and another corrections officer
2015—in violation of his First and Eighth Amendment rights.           stood next to Defendant and searched Plaintiff's papers.
ECF No. 85.                                                           Security cameras recorded the interaction, and this footage
                                                                      was submitted to the Court. The video reveals that the entire
On October 28, 2019, Defendant moved for summary                      interaction lasted about three minutes and that Defendant
judgment pursuant to Federal Rule of Civil Procedure 56.              had his hands on Plaintiff for about one minute and fifteen
ECF No. 127. Plaintiff made a cross motion for summary                seconds. Defendant avers that he frisked Plaintiff “in a
judgment. ECF No. 137. In Plaintiff's reply to his motion for         professional and thorough manner” the same way he frisks all
summary judgment, he appears to bring motions in limine               other inmates. ECF No. 127-3 ¶ 9.
and to appoint counsel. ECF No. 140 at 6, 9. For the
reasons that follow, Plaintiff's motion for summary judgment           *2 Plaintiff tells a very different story about the pat frisk. He
(ECF No. 137) is DENIED and Defendant's motion for                    alleges that Defendant “violently” pulled his pants upward,
summary judgment (ECF No. 127) is GRANTED IN PART                     which squeezed his genital and rectal areas tightly, kicked his



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right foot, and squeezed his penis “real hard twice, causing        non-moving party's favor may be drawn, a court will deny
painful swelling and bloody urinations.” ECF No. 138 at 2.          summary judgment. Id.
Defendant admits touching Plaintiff's buttocks and genitals
as part of the pat frisk but maintains that he “did not do this     Once the movant has adequately shown the absence of
for any sexual gratification” and “did not squeeze any part of      a genuine issue of material fact, the burden shifts to the
[P]laintiff's genitals.” ECF No. 127-3 ¶¶ 14-15.                    nonmoving party to present evidence sufficient to support a
                                                                    jury verdict in its favor, without simply relying on conclusory
The undisputed facts about the December 22 and 31 incidents         statements or contentions. Goenaga v. March of Dimes Birth
are sparse. According to Defendant, Plaintiff alleges that he       Defects Found., 51 F.3d 14, 18 (2d Cir. 1995) (citing Fed.
frisked him on those days the same way he frisked him on            R. Civ. P. 56(e)). “[F]actual issues created solely by an
September 22. Defendant also asserts that the December 22           affidavit crafted to oppose a summary judgment motion are
incident was not the subject of a grievance and that neither the    not ‘genuine’ issues for trial.” Hayes v. N.Y. City Dep't of
December 22 nor December 31 incidents were fully appealed.          Corr., 84 F.3d 614, 619 (2d Cir. 1996). To survive a motion
Therefore, Plaintiff did not properly exhaust claims related to     for summary judgment on § 1983 claims, the plaintiff must
those incidents.                                                    offer concrete evidence from which a reasonable juror could
                                                                    conclude that the defendants deprived him of the rights,
Plaintiff's Second Amended Complaint reveals that, on               privileges, or immunities guaranteed to him by law. See
December 22, Defendant allegedly hit Plaintiff in the left knee     Johnson v. Davis, No. 12-CV-2449, 2015 WL 1286764, at *2
so hard that it bent, made threatening comments to him, stole       (E.D.N.Y. Mar. 20, 2015).
his program card, and put him in keeplock in retaliation for
Plaintiff's grievance about the September 22 incident. ECF           *3 Here, in light of Plaintiff's pro se status, the Court will
No. 85 at 4-5. Defendant avers that he does not recall pat          construe his opposition papers liberally “to raise the strongest
frisking Plaintiff on December 22 and that prison officials         arguments that they suggest.” Triestman v. Fed. Bureau
advised him that there is no known grievance related to this        of Prisons, 470 F.3d 471, 474 (2d Cir. 2009) (quotation
date. ECF No. 127-3 ¶ 17. Nonetheless, Defendant states             and citation omitted). Nevertheless, proceeding pro se does
that he conducts all his frisks in the same manner “for the         not relieve Plaintiff from the usual summary judgment
purpose of institutional safety and not for the intent of sexual    requirements. See Wolfson v. Bruno, 844 F. Supp. 2d 348, 354
gratification.” Id.                                                 (S.D.N.Y. 2011).

On December 31, Defendant allegedly “sexually and
maliciously” pat frisked Plaintiff by “touching and hitting
                                                                                            DISCUSSION
his genitalia area hard” and threatened to put contraband in
Plaintiff's cell and beat his head into the wall. ECF No. 85 at     Plaintiff alleges that Defendant subjected him to sexual
5. Plaintiff also claims that Defendant rammed his arm into         abuse, excessive force, and retaliation on three occasions
Plaintiff's back and “hit [his] genitalia hard twice,” which        —September 22, 2015 and December 22 and 31, 2015—in
caused painful swelling to his left testicle. Id. Defendant avers   violation of his First and Eighth Amendment rights. ECF No.
that he did not touch Plaintiff “with any intent of sexual          85. The Court addresses each claim for each incident in turn.
gratification” on that day. ECF No. 127-3 ¶ 16.

                                                                    I. September 22, 2015 Incident

                    LEGAL STANDARD                                     A. Sexual Abuse Claim
                                                                    A corrections officer violates an inmate's Eighth Amendment
A court grants summary judgment when the moving party
                                                                    right to be free from cruel and unusual punishment when he
demonstrates that there are no genuine issues of material fact
                                                                    makes “intentional contact with an inmate's genitalia or other
and that it is entitled to judgment as a matter of law. See
                                                                    intimate area” and that contact “serves no penological purpose
Fed. R. Civ. P. 56(a)-(b); Celotex Corp. v. Catrett, 477 U.S.
                                                                    and is undertaken with the intent to gratify the officer's sexual
317, 322 (1986). It is the movant's burden to establish the
                                                                    desire or humiliate the inmate.” Telesford v. Wenderlich, No.
nonexistence of any genuine issue of material fact. If there
                                                                    16-CV-6130 CJS, 2018 WL 4853667, at *9 (W.D.N.Y. Oct.
is record evidence from which a reasonable inference in the



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5, 2018) (citing Crawford v. Cuomo, 796 F.3d 252, 254 (2d            the Eighth Amendment, particularly when plaintiffs did not
Cir. 2015) [hereinafter “Crawford I”]).                              allege any associated pain due to the pat frisk).

A single incident may “reach constitutional significance if           *4 Because there is an issue of fact, Defendant's and
sufficiently severe or serious,” but, “[a]t the same time, there     Plaintiff's motions for summary judgment are DENIED with
are searches of an intensely personal nature that are not            respect to Plaintiff's sexual abuse claim.
properly the subject of a lawsuit.” Id. (quotation marks and
citations omitted). A court's “principal inquiry is whether the
contact is incidental to legitimate official duties, such as a          B. Excessive Force Claim
justifiable pat frisk or strip search, or by contrast whether it     To determine whether prison officials used excessive force
is undertaken to arouse or gratify the officer or humiliate the      in violation of the Eighth Amendment, a court considers
inmate.” Id. (citation omitted).                                     “whether force was applied in a good-faith effort to maintain
                                                                     or restore discipline, or maliciously and sadistically to cause
Here, Plaintiff insists that the pat frisk involved the squeezing    harm.” Hudson v. McMillian, 503 U.S. 1, 7 (1992). To
of his genitals and that Defendant said “I'm going to fuck           succeed on such a claim, a plaintiff must prove objective and
you” while frisking him. ECF No. 135 at 1, 4. Another inmate         subjective elements. Id. at 7-8.
averred to hearing the same. ECF No. 135 at 27. Defendant
argues that he conducted a random pat frisk on Plaintiff             The objective element is “contextual and responsive to
in a “professional and thorough manner” without squeezing            contemporary standards of decency,” id. at 8-9 (quotation
Plaintiff's genitals to search for contraband but makes no           and citation omitted), and requires that “the injury actually
mention of whether he spoke to Plaintiff during the frisk. ECF       inflicted is sufficiently serious to warrant Eighth Amendment
No. 127-3 at 1-2.                                                    protection.” Blyden v. Mancusi, 186 F.3d 252, 262 (2d Cir.
                                                                     1999). Thus, the Eighth Amendment “necessarily excludes
The alleged manner of the pat frisk of Plaintiff's genitals          from constitutional recognition de minimis uses of physical
coupled with Defendant's alleged comments as overheard               force, provided that the use of force is not of a sort repugnant
by another inmate create a question of fact as to whether            to the conscience of mankind.” Hudson, 503 U.S. at 9-10
the pat frisk was “undertaken with the intent to gratify the         (quotation marks and citation omitted). “Consequently, not
officer's sexual desire or humiliate the inmate.” See Hayes v.       every malevolent touch by a prison guard gives rise to a
Dahkle, No. 9:16-CV-1368 (TJM/CFH), 2018 WL 7356343,                 federal cause of action.” Id. at 9 (citation omitted).
at *12 (N.D.N.Y. Dec. 11, 2018), report and recommendation
adopted, 2019 WL 689234 (N.D.N.Y. Feb. 19, 2019)                     The subjective component “requires a showing that the
(collecting cases indicating that “offensive remarks” made           defendant had the necessary level of culpability, shown by
during pat frisk would not violate Eighth Amendment unless           actions characterized by wantonness in light of the particular
the comments allude to officer's current or future sexual            circumstances surrounding the challenged conduct.” Sims
contact with the inmate); Shepherd v. Fisher, No. 08-CV-9297         v. Artuz, 230 F.3d 14, 21 (2d Cir. 2000) (quotation marks
(RA), 2017 WL 666213, at *19 (S.D.N.Y. Feb. 16, 2017)                and citations omitted). Whether the defendant's conduct was
(denying summary judgment on plaintiff's sexual abuse claim          “wanton” turns on “whether force was applied in a good-faith
where officer commented during pat frisk that “he was going          effort to maintain or restore discipline, or maliciously and
to fuck [plaintiff] in [his] ass with [a hand] scanner.” (internal   sadistically to cause harm.” Blyden, 186 F.3d at 262-63.
quotation marks omitted)); cf. Torres v. City of New York,
No. 17 Civ. 6604 (GBD) (DCF), 2019 WL 4784756, at *5                 Plaintiff claims that he suffered bloody urine, a swollen
(S.D.N.Y. Sept. 30, 2019) (dismissing plaintiff's sexual abuse       testicle, and bladder wall thickening as a result of Defendant's
claim where officer touched his buttocks during contraband           pat frisk. ECF No. 135 at 8-9, 15. An inmate injury report
search but officer had not “said anything of a sexual nature         from the day of the incident indicates that Plaintiff's anus and
during the course of the search”); Allen v. Graham, No.              scrotum were examined and showed “excoriations/redness/
9:16-CV-0047 (GTS/ATB), 2017 WL 5957742, at *6 n.6,                  swelling.” ECF No. 138 at 22. Yet, a progress note from a
7 (N.D.N.Y. Dec. 1, 2017) (collecting cases holding that             medical visit the day after the alleged incident states that there
pat frisks involving only touching of plaintiffs’ genitals           are “no visible injuries” to Plaintiff's scrotum or anus. ECF
accompanied by “inappropriate” comments do not violate               No. 135 at 29. Plaintiff points to the results of a urinalysis that
                                                                     shows Plaintiff's urine is positive for the presence of blood


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and a progress note indicating Plaintiff has a swollen left         the letter when he randomly selected Plaintiff for a pat frisk.
testicle as further proof of his injuries. ECF No. 135 at 31;       ECF No. 127 at 1-2. Otherwise, there is little information in
ECF No. 141. The urinalysis was conducted on a sample of            the record pertaining to Defendant's mental state precipitating
Plaintiff's urine taken 17 days after the incident. ECF No. 135     the pat frisk.
at 30-31. The progress note showing Plaintiff has a swollen
testicle is dated more than four years after the incident. ECF      There is no question that “conducting pat frisks on prisoners
No. 141.                                                            is a necessary procedure to ensure safety and security of
                                                                    prisons, and correction officers are authorized to conduct
The nature of these alleged injuries, if caused by Defendant's      random pat frisks on free movement inmates going to or
part frisk, creates a question of fact as to whether they are       coming from services and programs.” Tavares v. City of New
more than de minimis. See Brown v. Jones, 471 F. App'x 420,         York, No. 08 Civ. 3782(PAE)(JCF), 2011 WL 5877550, at
420-21 (5th Cir. 2012) (vacating grant of summary judgment          *6 (S.D.N.Y. Oct. 17, 2011) (quotation and citation to record
to officer on excessive force claim where plaintiff alleged that    omitted). However, given the nature of Plaintiff's injuries, the
“during a pat down search [the officer] struck him in the groin     temporal proximity of the grievance letter to the incident, and
and squeezed his testicles.... result[ing] in both immediate and    the seeming lack of threat or need for force as indicated by
continuing pain, as well as an injury that resulted in blood in     the video evidence, there is a question of fact as to whether
his urine”); Scalpi v. Amorim, No. 14-CV-2126 (KMK), 2018           Defendant acted wantonly in how he conducted the pat frisk.
WL 1606002, at *19-20 (S.D.N.Y. Mar. 29, 2018) (indicating          See Santiago v. C.O. Campisi Shield No. 4592, 91 F. Supp.
allegations “that [the defendant] struck [plaintiff] so hard        2d 665, 673 (S.D.N.Y. 2000) (“[P]laintiff has satisfied his
in the testicles that his testicles were swollen and he was         burden on [the subjective excessive force] element by merely
urinating blood,” and “[t]o this day, [the] [p]laintiff maintains   pleading a scenario in which the use of force could not have
he suffers from pain in his testicular area and has blood in his    been in good faith.”); cf. Hayes, 2018 WL 7356343, at *13
urine” would allow excessive force claim to survive summary         (ruling plaintiff had not satisfied summary judgment burden
judgment (citation omitted)).                                       on subjective element of excessive force claim when record
                                                                    was clear that force was justified in response to plaintiff's
 *5 There is also a question of fact as to whether Defendant        assault on staff member). But see Fox v. Lee, No. 9:15-
acted wantonly. The Second Circuit has considered the               CV-0390 (TJM/CFH), 2018 WL 1211111, at *24 (N.D.N.Y.
following factors when assessing whether a defendant acted          Feb. 25, 2018) (denying plaintiff's summary judgment motion
maliciously or wantonly in applying force:                          on excessive force claim where plaintiff “self-serving[ly]”
                                                                    alleged officer was “furious” at him for filing grievance
                                                                    and record lacked other evidence of officer's mental state);
             [T]he extent of the injury and the                     Caldwell v. Crossett, No. 9:09–CV–576 (LEK/RFT), 2010
             mental state of the defendant, as well                 WL 2346337, at *4 (N.D.N.Y. May 24, 2010) (finding that
             as the need for the application of                     grabbing of plaintiff's testicles during pat frisk, resulting in
             force; the correlation between that                    “exchange of words” and plaintiff being slammed against a
             need and the amount of force used;                     wall, did not satisfy subjective element of excessive force
             the threat reasonably perceived by the                 claim because force was used to ensure compliance with
             defendants; and any efforts made by                    orders).
             the defendants to temper the severity
             of a forceful response.                                Accordingly, with respect to Plaintiff's excessive force
                                                                    claim, both Plaintiff's and Defendant's motions for summary
                                                                    judgment are DENIED.
Scott v. Coughlin, 344 F.3d 282, 291 (2d Cir. 2003) (quotation
and citation omitted).
                                                                      C. Retaliation Claim
                                                                    To prevail on a First Amendment retaliation claim, a plaintiff
Plaintiff alleges that he was frisked in this manner for naming
                                                                    must show that: (1) he engaged in constitutionally protected
Defendant in a grievance letter prior to the frisk, complaining
                                                                    speech or conduct; (2) the defendant took adverse action
of Defendant's encouragement and influence on other guards’
                                                                    against him; and (3) there is a causal link between the
judgment. ECF No. 138 at 16. Defendant denies knowledge of
                                                                    protected conduct and the adverse action. Williams v. King,


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763 F. App'x 36, 38 (2d Cir. 2019) (citation omitted)              the incident was never the subject of a grievance complaint
(summary order). Adverse action is conduct “that would             and that the December 31, 2015 complaint was never
deter a similarly situated individual of ordinary firmness from    fully appealed—thus, Plaintiff has failed to exhaust his
exercising ... constitutional rights.” Davis v. Goord, 320 F.3d    administrative remedies for either incident. ECF No. 127-5 at
346, 353 (2d Cir. 2003).                                           4-5. Plaintiff argues that the December 22, 2015 incident was
                                                                   consolidated with his December 31, 2015 grievance and thus
 *6 Because courts “recognize both the near inevitability of       he has exhausted his administrative remedies. ECF No. 135
decisions and actions by prison officials to which prisoners       at 11.
will take exception and the ease with which claims of
retaliation may be fabricated, [they] examine prisoner's           The exhaustion process is as follows:
claims of retaliation with skepticism and particular care.”
Colon v. Coughlin, 58 F.3d 865, 872 (2d Cir. 1995). Here,            Pursuant to the [Prison Litigation Reform Act] [“PLRA”],
Plaintiff alleges that he was frisked and threatened for naming      “[n]o action shall be brought with respect to prison
Defendant in a grievance letter written two weeks prior.             conditions under section 1983 of this title, or any other
Defendant denies knowledge of the letter when he randomly            Federal law, by a prisoner confined in any jail, prison,
selected Plaintiff for a pat frisk. ECF No. 127 at 1-2.              or other correctional facility until such administrative
                                                                     remedies as are available are exhausted.” 42 U.S.C. §
There is no dispute that Plaintiff's use of the prison grievance     1997e(a).
system is a protected activity. Hayes v. Dahkle, No. 9:16-
                                                                     “To satisfy that requirement, prisoners in New York
CV-1368 (TJM/CFH), 2017 WL 9511178, at *7 (N.D.N.Y.
                                                                     must ordinarily follow a three-step DOCS grievance
Oct. 30, 2017), report and recommendation adopted as
                                                                     process. The first step in that process is the filing
modified, 2018 WL 555513 (N.D.N.Y. Jan. 19, 2018)
                                                                     of a grievance with the Inmate Grievance Resolution
(collecting cases). However, “pat frisks, even if conducted
                                                                     Committee [(“IGRC”)]. Next, the inmate may appeal an
for retaliatory reasons, cannot constitute an adverse action
                                                                     adverse decision to the prison superintendent. Finally, the
as required to support a First Amendment retaliation
                                                                     inmate may appeal the superintendent's decision to the
claim” because “prisoners have no legitimate expectation of
                                                                     Central Office Review Committee (“CORC”). In general,
privacy.” Amaker v. Fischer, No. 10-CV-0977A (Sr), 2014
                                                                     it is only upon completion of all three levels of review that
WL 8663246, at *8 (W.D.N.Y. Aug. 27, 2014), report and
                                                                     a prisoner may seek relief in federal court under § 1983.”
recommendation adopted, 2015 WL 1822541 (W.D.N.Y. Apr.
                                                                     Crenshaw v. Syed, 686 F. Supp. 2d 234, 236 (W.D.N.Y.
22, 2015) (internal quotation and citation omitted). Thus, a
                                                                     2010) (citations omitted) (granting motion for summary
pat frisk of the type Plaintiff alleges does not constitute an
                                                                     judgment filed in lieu of answer because plaintiff did not
adverse action for purposes of a retaliation claim. Joseph v.
                                                                     file grievances or appeals to CORC).
Annucci, No. 18-cv-7197 (NSR), 2020 WL 409744, at *5
(S.D.N.Y. Jan. 23, 2020) (holding a “pat frisk ... in which           *7 In addition to the normal grievance process, when
[officer] ‘squeez[ed]’ and ‘pok[ed]’ [plaintiff's] chest, arms,      an inmate in the custody of DOCCS makes an allegation
legs, and ‘private parts’ was not retaliatory); Amaker, 2014         of sexual abuse, the allegation is referred to the Inspector
WL 8663246, at *8 (holding an officer's pat frisk consisting of      General's Office, which performs an investigation. See
“rubbing plaintiff's penis, fondling and squeezing plaintiff's       Amador v. Andrews, 655 F.3d 89 (2d Cir. 2011) (“[A]n IG
buttocks and running his index finger across plaintiff's anus”       investigation of alleged acts of sexual abuse is an integral
was not retaliatory).                                                part of the internal grievance procedure.”). The Inspector
                                                                     General's determination following its investigation can
Accordingly, with respect to Plaintiff's retaliation claim,          also be appealed to CORC. Id. (“[A]n IG determination
Defendant's motion for summary judgment is GRANTED and               about abuse of an inmate can be appealed to CORC
Plaintiff's motion for summary judgment is DENIED.                   when the determination is reported to and accepted by the
                                                                     superintendent.”).

II. Failure to Exhaust Administrative Remedies for the             Omaro v. Annucci, 68 F. Supp. 3d 359, 363 (W.D.N.Y. 2014).
December 22, 2015 and December 31, 2015 Incidents
Defendant argues that any allegations stemming from the
December 22, 2015 incident should be dismissed because


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It appears from the record that Plaintiff's December 22                   issues and made within ten days of each other were
grievance was never received by the IGRC, or, in the                      consolidated into one grievance).
alternative, was consolidated with the December 31 grievance
                                                                   5
complaint. In any event, while complaint FPT-31235-16                     The “Violation Hearing Disposition” Plaintiff
appears to have been appealed to the prison superintendent,               submitted indicating that a Tier I hearing
it was not appealed to CORC. ECF No. 134 at 8, 10-11.                     was scheduled to address the allegations of
Therefore, Plaintiff has not exhausted his administrative                 misbehavior against Plaintiff from the December
remedies for either the December 22 or 31 incidents.                      22 incident appears to relate to the process for
                                                                          determining whether Plaintiff committed the acts
It is clear from the record that Plaintiff made two separate              of misbehavior alleged, and does not relate to the
                                                                          grievance process for Plaintiff's complaint against
grievance complaints, one dated December 22, 2015 2 and
                                                                          Defendant stemming from that incident. ECF No.
one dated December 31, 2015. ECF No. 135 at 34, 38-39.
                                                                          135 at 35, 36.
Both the December 22 and December 31 complaints are
labeled with Grievance Number FPT-31235-16. ECF No. 135            A February 3, 2016 notice from the Superintendent stated
at 34, 38-39. Only the December 31 complaint is labeled            that “the allegations contained in [the FPT-31235-2016]
with Prison Rape Elimination Act (“PREA”) number 2016-01           complaint have been investigated as a PREA. #2016-01
and only the December 31 complaint is stamped as being             [sic]. The investigation found that the allegations could not
received by the IGRC on January 7, 2016. ECF No. 127-4 at 7,       be substantiated. Grievance is denied.” ECF No. 134 at
13. Defendant submitted a log report of Plaintiff's grievances     8. A February 5, 2016 letter from the Inmate Grievance
from 2015 and 2016 showing ostensibly only one grievance           Program Supervisor stated that Plaintiff's complaint was filed
                                                                   as FPT-31235-16 and that Plaintiff's “PREA allegations will
for the December 31 incident. 3 ECF No. 127-4 at 5-6. The
                                                                   be deemed exhausted upon filing for Prison Litigation Reform
two complaints may in fact have been consolidated, 4 making
                                                                   Act (PLRA) purposes. [Plaintiff's] additional allegations
it plausible that only one grievance would be noted in the
                                                                   (harassment, retaliation, denial of meals, false misbehavior
correctional facility's log report. However, there is no copy of
                                                                   report, etc.) will be investigated and addressed.” ECF No. 135
the December 22 complaint in the record that bears a stamp
                                                                   at 43. Thus, the December 31 complaint was appealed to the
from the IGRC. Thus, there is no evidence in the record that
                                                                   Superintendent.
indicates the December 22 complaint was ever received by
the IGRC. 5                                                         *8 However, CORC records Defendant submitted showing
                                                                   Plaintiff's closed cases do not list complaint FPT-31235-16,
2                                                                  which indicates that it was never appealed to CORC. ECF
       The complaint is dated at the top as “11/22/15”
       but dated and signed at the bottom on December              No. 134 at 10-11. Therefore, Plaintiff has not exhausted his
       22, 2015 and discusses the December 22, 2015                administrative remedies for either the December 22 or 31
       incident. Thus, the Court assumes the complaint             incidents.
       was made on December 22, 2015.
                                                                   Accordingly, with respect to any claims stemming from the
3      The log report is accompanied by a certification            December 22 and December 31, 2015 incidents, Defendant's
       signed by Brenda Griffin, an office assistant for           motion is GRANTED, and Plaintiff's motion is DENIED.
       DOCCS, attesting to the veracity of the log
       report. ECF No. 127-4 at 5. Plaintiff's allegations
       that Defendant has made “false and misleading               III. Qualified Immunity
       representations” concerning the veracity of the log         Defendant argues that even if a question of fact exists as to
       report or that Defendant “altered” or “doctored” the        any of the above alleged claims, summary judgment should
       log report and his medical records are conclusory           be granted in his favor because he is entitled to qualified
       and unsubstantiated. ECF No. 127-4 at 5; ECF No.            immunity. The Court disagrees.
       138 at 5-6; ECF No. 140 at 1, 5.
4
       See generally Fox, 2018 WL 1211111, at *5 (noting                       A state official is entitled to qualified
       plaintiff's grievance complaints alleging similar                       immunity unless a plaintiff pleads



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            facts showing (1) that the official                   Eighth Amendment. Defendant's reliance on Shaw v. Prindle,
            violated a statutory or constitutional                661 F. App'x 16, 19 (2d Cir. 2016) (summary order) is
            right, and (2) that the right was                     unpersuasive. There, the Second Circuit held that a pat frisk
            clearly established at the time of the                was not violative of the Eighth Amendment where it was
            challenged conduct. A right is clearly                clearly conducted to search for contraband the officer had
            established when its contours ... are                 just seen despite the inmate's allegations that the search
            sufficiently clear that, at the time of the           of his crotch and buttocks was excessive and involved
            challenged conduct, every reasonable                  the massaging of his rectum and groin. Here, in contrast,
            official would have understood that                   and as in Crawford I, the pat search was random and
            what he is doing violates that                        involved demeaning comments and very specific allegations
            right. [G]eneral statements of the                    of Plaintiff having his penis squeezed “real hard twice,
            law are not inherently incapable                      causing painful swelling and bloody urinations.” ECF No.
            of giving fair and clear warning                      138 at 2.
            to officers, but existing precedent
            must have placed the statutory or                      *9 Furthermore, Crawford II makes clear that Defendant
            constitutional question beyond debate.                is not entitled to qualified immunity because the Second
            The dispositive question is whether                   Circuit's August 11, 2015 decision in Crawford I was issued
            the violative nature of the particular                prior to the September 22, 2015 incident that gives rise
            conduct is clearly established.                       to Plaintiff's alleged constitutional violations. Accordingly,
                                                                  Defendant is not entitled to qualified immunity.

Crawford v. Cuomo, 721 F. App'x 57, 58-59 (2d Cir. 2018)
                                                                  IV. Plaintiff's Motions in Limine and to Appoint Counsel
(summary order) (internal quotations and citations omitted)
                                                                  Plaintiff appears to make a motion for appointment of counsel
[hereinafter “Crawford II”].
                                                                  and a motion in limine to allow his own testimony in lieu of
                                                                  a medical expert to establish that he saw blood in his urine.
Here, there can be no dispute that Plaintiff pleaded Eighth
                                                                  ECF No. 140 at 6, 9.
Amendment sexual abuse and excessive force violations
and that his right to be free from those abuses was clearly
                                                                  There is no constitutional right to appointed counsel in civil
established at the time of the September 22, 2015 incident.
                                                                  cases. Under 28 U.S.C. § 1915(e), the Court may appoint
Crawford I firmly established “an inmate's right to be free
                                                                  counsel to assist indigent litigants. See, e.g., Sears, Roebuck
of sexual abuse in light of evolving standards of decency,”
                                                                  & Co. v. Charles Sears Real Estate, Inc., 865 F.2d 22, 23
building on the Second Circuit's previous statement in Boddie
                                                                  (2d Cir. 1988). The assignment of counsel in civil cases is
v. Schnieder, 105 F.3d 857 (2d Cir. 1997) that “sexual abuse of
                                                                  within the trial court's discretion. In re Martin-Trigona, 737
a prisoner by a corrections officer may in some circumstances
                                                                  F.2d 1254, 1260 (2d Cir. 1984). The Court must consider the
violate the prisoner's right to be free from cruel and unusual
                                                                  issue of appointment carefully, because “every assignment
punishment.” Id. at 58, 59. In Crawford I, the Second Circuit
                                                                  of a volunteer lawyer deprives society of a volunteer lawyer
held that a pat frisk of an inmate leaving the mess hall
                                                                  available for a deserving cause.” Cooper v. A. Sargenti Co.,
in which the officer “squeezed” and “fondled” the inmate's
                                                                  877 F.2d 170, 172 (2d Cir. 1989). In determining whether to
penis and made “demeaning comments” of a sexual nature
                                                                  assign counsel, the Court considers several factors, including
was a violation of the inmate's Eighth Amendment rights,
                                                                  whether the indigent is able to investigate the facts concerning
particularly because the officer's comments “suggest[ed] that
                                                                  his claim; whether the legal issues are complex; and whether
[the officer] undertook the search in order to arouse himself,
                                                                  there are special reasons why the appointment of counsel
humiliate [the inmate], or both.” Crawford I, 796 F.3d at
                                                                  would be more likely to lead to a just determination. See
258-59.
                                                                  Hendricks v. Coughlin, 114 F.3d 390, 392 (2d Cir. 1997);
                                                                  Hodge v. Police Officers, 802 F.2d 58, 61-62 (2d Cir. 1986).
Similarly, in the present case, Defendant allegedly squeezed
Plaintiff's penis and made a demeaning comment stating
                                                                  The appointment of counsel is not warranted in this case.
that he was going to “fuck” the Plaintiff. Thus, Defendant's
                                                                  The remaining claims in this case are not complex, and
alleged conduct was clearly established as violative of the
                                                                  from reading Plaintiff's submissions, he is articulate and has


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                                                                     Cross Motion for Summary Judgment (ECF No. 137) is
demonstrated the ability to adequately present his own claims.
In addition, there are no special reasons that would favor the       DENIED. Plaintiff's motions in limine and to appoint counsel
appointment of counsel.                                              (ECF No 140) are DENIED WITHOUT PREJUDICE TO
                                                                     RENEW. Only Plaintiff's Eighth Amendment sexual abuse
Finally, the motion to allow Plaintiff's own testimony is            and excessive force claims stemming from the September 22,
one more properly brought prior to the pre-trial conference.         2015 pat frisk survive summary judgment. The Court has set
                                                                     a trial date for July 13, 2020. The Court will issue a separate
Accordingly, Plaintiff's motions in limine and to appoint
                                                                     pre-trial order setting a date for a pre-trial conference.
counsel are DENIED WITHOUT PREJUDICE TO RENEW.

                                                                     IT IS SO ORDERED.

                      CONCLUSION
                                                                     All Citations
Defendant's Motion for Summary Judgment (ECF No. 127)
is GRANTED IN PART and DENIED IN PART. Plaintiff's                   Not Reported in Fed. Supp., 2020 WL 1151345


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                                                                 1       Defendants Ginger Eggler, “Ginsin,” and Alan
                     2020 WL 409744                                      Hanson have not been served. (See ECF Nos. 10,
      Only the Westlaw citation is currently available.                  11, and 15; Defendants’ Memorandum of Law in
       United States District Court, S.D. New York.                      Support of Their Motion to Dismiss, ECF No. 80
                                                                         (“Defs.’ Mot.”) at 8, n.1.)
               Rodney JOSEPH, Plaintiff,
                                                                 Pursuant to Federal Rule of Civil Procedure 12(b)(1) and
                         v.
                                                                 12(b)(6), the Represented Defendants have moved to dismiss
          Anthony ANNUCCI, et al., Defendants.
                                                                 the Complaint. (See ECF No. 79.) Plaintiff has not responded
                        18-cv-7197 (NSR)                         to the motion; thus, per a memorandum endorsement dated
                                |                                August 5, 2019, the Court deemed the motion fully submitted.
                        Signed 01/23/2020                        (See ECF No. 81.) For the following reasons, the Represented
                                                                 Defendants’ unopposed motion to dismiss is GRANTED in
Attorneys and Law Firms                                          part and DENIED in part.

Rodney Joseph, Napanoch, NY, pro se.

Rebecca Lynn Johannesen, NYS Office of the Attorney                                    BACKGROUND
General, New York, NY, for Defendants.
                                                                 I. Factual Allegations
                                                                 The following facts are derived from the Complaint or matters
                                                                 of which the Court may take judicial notice and are taken
                   OPINION & ORDER
                                                                 as true and constructed in the light most favorable to pro se
NELSON S. ROMÁN, United States District Judge:                   Plaintiff for the purposes of this motion. See Ashcroft v. Iqbal,
                                                                 556 U.S. 662, 678 (2009); Nicosia v. Amazon.com, Inc., 834
 *1 Pro se Plaintiff, Rodney Joseph (“Plaintiff”), formerly      F.3d 220, 230 (2d Cir. 2016).
incarcerated at Sullivan Correctional facility, brings this
action under 42 U.S.C. § 1983, asserting claims of deliberate
indifference to his medical needs, forcible touching, assault,      a. Plaintiff's Medical Condition and Treatment
retaliation, denial of due process, and impeding religious       Plaintiff asserts that in or about 2008, after suffering a heart
practice. (See Complaint (“Compl.”), ECF No. 2.) Plaintiff       attack, he was placed on diabetic medications by a Sullivan
sues 44 medical staff members, kitchen staff members,            Correctional Facility (“Sullivan”) doctor. (Compl. at 18.)
correctional officers, and correctional officials employed       Sometime in 2016, however, he was taken off the diabetic
by the New York State Department of Corrections and              medications by the medical staff at Sullivan. (Id.) Shortly after
Community Supervision (“DOCCS”), including Anthony               being taken off the diabetic medications, Plaintiff began to
Annucci, William Keyser, Edward Burnett, Gail Williams,          suffer pain in his arms, difficulty breathing, and an increased
Angelo Justiniano, Corey Proscia, Joseph Maxwell, Lane           heart rate. (Id.) He complained to the Medical Department
Kortright, Swany Reid, Frank Decker, Samuel Encarnacion,         on a sick call visit, but only received 30 days off from work.
Stainislaus Ogbonna, Jefrysson Aldana, Scott Christie,           (Id.) Plaintiff asserts that the pain got worse and he kept going
Colleen Bennett, Tanya Pomeroy, Wladyslaw Sidorowicz,            to sick call but nothing was done to alleviate his pain. (Id.)
Janice Wolf, S.T. Herman, Epifanio Tolentio, Kevin Miller,       In or about June 2017, after going to emergency sick call
Wayne Jordan, William Beach, Renee Askew, Michael Wood,          with “unbearable pain,” Plaintiff suffered another heart attack
Van Fuller, Gina Maliga, Heather Wyatt, William Elberth,         and was rushed to a hospital where he underwent quadruple-
Kellyanne Giminiani, Christopher Conway, Blain Reddish,          bypass heart surgery. (Id.) Plaintiff asserts the following: the
Mark Puerschner, David Jurgens, Edward Bonnell, Shaun            medical staff taking him off the diabetic medications led to
Braisington, Joseph Franke, Matthew DeFrank, Chester             his heart attack; he is presently in severe pain but is not
Stungis, Robert Depaolo, and Adam Jarosz (the “Represented       receiving all of the recommended medications prescribed by
                                                                 a specialist; and he is possibly suffering the symptoms of
Defendants”). 1 (Id.)
                                                                 another imminent heart attack or stroke. (Id. at 18–19.)




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                                                                      sends unspecified threatening messages to him through other
   b. January 11, 2018 Incident                                       correction officers. (Id.)
 *2 Plaintiff also asserts forcible touching and assault claims
against Defendant Correctional Officer Wyatt (“Wyatt”)
stemming from an incident that occurred on or about January
11, 2018. (Id. at 19.) Plaintiff alleges that, on January 10,                              LEGAL STANDARD
2018, he filed a grievance against Wyatt. (Id.) He alleges that
                                                                      I. Rule 12(b)(6)
after he filed the grievance, when he delivered feed-up bags
                                                                      To survive a 12(b)(6) motion to dismiss, “a complaint must
for other inmates, Wyatt ordered him on the wall for a pat frisk
                                                                      contain sufficient factual matter, accepted as true, to ‘state a
although he had previously been pat frisked when he left the
                                                                      claim for relief that is plausible on its face.’ ” Ashcroft v. Iqbal,
kitchen. (Id.) Plaintiff claims that while he was on the wall,
                                                                      556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
Wyatt “started squeezing and poking in the areas where [he]
                                                                      550 U.S. 554, 570 (2007)). Factual allegations must “nudge
had [his] quadruple-by-pass surgery, chest, arms, legs, and
                                                                      [a plaintiff's] claim from conceivable to plausible.” Twombly,
private parts.” (Id. at 20.) Plaintiff alleges that Wyatt's actions
                                                                      550 U.S. at 570. A claim is plausible when the plaintiff pleads
caused him chest pains and led to a one-week hospital stay
                                                                      facts which allow the court to draw a reasonable inference
at Albany Medical Center because most of his arteries were
                                                                      the defendant is liable. Iqbal, 556 U.S. at 678. To assess the
blocked. (Id.)
                                                                      sufficiency of a complaint, the court is “not required to credit
                                                                      conclusory allegations or legal conclusions couched as factual
   c. Officers’ Retaliation                                           allegations.” Rothstein v. UBS AG, 708 F.3d 82, 94 (2d Cir.
Plaintiff asserts that Wyatt acted in retaliation for Plaintiff's     2013). While legal conclusions may provide the “framework
filing of the grievance against her. (Id.) Plaintiff also claims      of a complaint,” “threadbare recitals of the elements of a
that he was subjected to retaliation by other correction officers     cause of action, supported by mere conclusory statements, do
for the filing of grievances. (Id.) He claims the following           not suffice.” Iqbal, 556 U.S. at 678–79. When a motion to
retaliatory actions: he was issued a fabricated misbehavior           dismiss a complaint is unopposed, a court should nevertheless
report and his job assignment was taken away on or about              “assume the truth of a pleading's factual allegations and test
June 20, 2018, despite an “excellent work evaluation”;                only its legal sufficiency.” McCall v. Pataki, 232 F.3d 321,
DOCCS staff would not allow him to notify his family when             322 (2d Cir. 2000).
he was admitted to an outside hospital, or allow him to call his
family; his cell was unreasonably searched five out of seven           *3 Pro se complaints are to be liberally construed. Estelle
days; he was denied access to medication; and his religious           v. Gamble, 429 U.S. 97, 106 (1976). They must be held to
callout was cancelled without a security reason. (Id. at 21–22.)      less stringent standards than complaints written by lawyers,
                                                                      and only dismissed when the plaintiff can prove “no set of
                                                                      facts in support of his claim which would entitle him to
   d. Incident with Correctional Officer Elberth                      relief.” Estelle, 429 U.S at 106 (quoting Conley v. Gibson,
Finally, Plaintiff alleges that while conducting a pat frisk,         335 U.S. 41, 45–46 (1957)). This “is particularly so when
Correctional Officer Elberth (“Elberth”) told him to reach            the pro se plaintiff alleges that [his] civil rights have been
back with his left hand and take off his right boot. (Id.             violated.” Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185,
at 22.) When Plaintiff told Elberth that he was unable to             191 (2d Cir. 2008). Pro se complaints must be interpreted as
stretch out like that because of his medical issues, Elberth          raising the strongest claims they suggest, but “must still state
grabbed his left leg and pulled it back in a manner that caused       a plausible claim for relief.” Hogan v. Fischer, 738 F.3d 509,
Plaintiff's chest and face to hit the wall, causing him pain.         515 (2d Cir. 2013).
(Id.) Plaintiff claims that Elberth then did the same thing to
his right leg, despite Plaintiff informing Elberth that he was
in pain. (Id.) After the incident, Plaintiff went to emergency        II. Rule 12(b)(1)
medical and had to be rushed to the hospital for a “minor             “A case is properly dismissed for lack of subject matter
heart attack.” (Id.) Plaintiff claims that the attack was caused      jurisdiction under Rule 12(b)(1) when the district court
by Elberth's actions, and now every time he sees Elberth, the         lacks the statutory or constitutional power to adjudicate it.”
officer threatens him. (Id.) Plaintiff asserts that Elberth also      Makarova v. U.S., 201 F.3d 110, 113 (2d Cir. 2000). A plaintiff
                                                                      asserting subject matter jurisdiction in a federal court bears



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the burden of proving that jurisdiction by the preponderance       Grullon v. City of New Haven, 720 F.3d 133, 138–39 (2d
of the evidence. Id. The court must take all facts in the          Cir. 2013). “[P]ersonal involvement of Defendants in alleged
complaint as true and draw all inferences in favor of the party    constitutional deprivations is a prerequisite to an award of
asserting jurisdiction. Fountain v. Karim, 838 F.3d 129, 134       damages under [42 U.S.C. § 1983.]” McKinnon v. Patterson,
(2d Cir. 2000). As with Rule 12(b)(6), when dealing with           568 F.2d 930, 934 (2d Cir. 1977). “The general doctrine
Rule 12(b)(1), the Court construes the allegations in a pro se     of respondeat superior does not suffice and a showing of
plaintiff's complaint in the light most favorable to the pro se    some personal responsibility of the Defendant is required.”
plaintiff. Makarova, 201 F.3d at 113.                              Al-Jundi v. Estate of Rockefeller, 885 F.2d 1060 (2d Cir.
                                                                   1989); Monell v. New York City Dept. of Social Services,
                                                                   436 U.S. 658, 692–95 (1978). Supervisory officials may be
III. 42 U.S.C. § 1983 Claims                                       personally involved within the meaning of § 1983 only if he
Section 1983 provides, in relevant part, that: “[e]very person     or she participated in unlawful conduct. See Williams v. Smith,
who, under color of any statute, ordinance, regulation,            781 F.2d 319, 323–24 (2d Cir. 1986). “A Plaintiff must thus
custom, or usage, of any State ... subjects, or causes to          allege a tangible connection between the acts of a Defendant
be subjected, any citizen of the United States ... to the          and the injuries suffered.” Bass v. Jackson, 790 F.2d 260,
deprivation of any rights, privileges, or immunities secured       263 (2d Cir. 1986). “[A] Plaintiff must plead that each
by the Constitution and laws, shall be liable to the party         Government-official defendant, through the official's own
injured.” 42 U.S.C. § 1983. Section 1983 “is not itself a source   individual actions, has violated the Constitution.” Ashcroft v.
of substantive rights, but a method for vindicating federal        Iqbal, 556 U.S. 662, 676 (2009). In the context of a prisoner's
rights elsewhere conferred by those parts of the United States     lawsuit, a Plaintiff must show “more than the linkage in
Constitution and federal statutes that it describes.” Baker v.     the prison chain of command” to state a claim against a
McCollan, 443 U.S. 137, 144 n.3 (1979); see Cornejo v. Bell,       supervisory defendant. Ayers v. Coughlin, 780 F.2d 205, 210
592 F.3d 121, 127 (2d Cir. 2010). To state a claim under           (2d Cir. 1985).
§ 1983, a plaintiff must allege two essential elements: “(1)
that the defendants deprived him of a right ‘secured by the         *4 Here, Plaintiff fails to allege facts of any personal
Constitution or laws of the United States’; and (2) that they      involvement by the 40 aforementioned defendants. They
did so ‘under color of state law.’ ” Giordano v. City of New       are named in the caption only. The body of the Complaint
York, 274 F.3d 740, 750 (2d Cir. 2001) (quoting Am. Mfrs.          does not contain any factual allegations naming them, or
Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 49–50 (1999)).             indicating that they violated the law or injured the Plaintiff in
                                                                   some manner. For this reason, the claims against Defendants
                                                                   Annucci, Keyser, Burnett, Williams, Justiniano, Proscia,
                       DISCUSSION                                  Maxwell, Kortright, Reid, Decker, Encarnacion, Ogbonna,
                                                                   Aldana, Christie, Eggler, Bennett, Pomeroy, Sidorowicz,
I. Defendants Who Are Only Named in the Caption                    Wolf, Herman, Jordan, Tolentio, Miller, Beach, Askew,
As an initial matter, Defendants Annucci, Keyser, Burnett,         Wood, Maliga, Giminiani, Conway, Reddish, Puerschner,
Williams, Justiniano, Proscia, Maxwell, Kortright, Reid,           Ginsin, Jurgens, Bonnell, Braisington, Franke, Defrank,
Decker, Encarnacion, Ogbonna, Aldana, Christie, Eggler,            Depaolo, Stungis, and Jarosz are dismissed without prejudice
Bennett, Pomeroy, Sidorowicz, Wolf, Herman, Jordan,                for lack of personal involvement.
Tolentio, Miller, Beach, Askew, Wood, Maliga, Giminiani,
Conway, Reddish, Puerschner, Ginsin, Jurgens, Bonnell,
Braisington, Franke, Defrank, Depaolo, Stungis, and Jarosz         II. Eighth Amendment Medical Indifference
are only named in the caption and the complaint contains           The Eighth Amendment prohibits the infliction of “cruel
no allegations that they violated the law or otherwise caused      and unusual punishments.” U.S. Const. amend. VIII.
injury to the Plaintiff.                                           Consequently, the government is obligated to provide
                                                                   adequate medical care to incarcerated people, and the failure
Plaintiff fails to assert personal involvement on the part of      to do so is a violation of the Eighth Amendment and gives
these 40 defendants in this matter. In order to hold a defendant   rise to a deliberate indifference claim under § 1983. Estelle
responsible for a constitutional deprivation, Plaintiff must       v. Gamble, 429 U.S. 97, 103–05 (1976). In order to make a
demonstrate, inter alia, the defendant's personal involvement.     claim of medical indifference, a prisoner must show that there
                                                                   is: (1) an objectively serious medical need and (2) subjective


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deliberate indifference, which measures whether the prison         to Plaintiff's alleged medical indifference claim, Plaintiff is
official acted with a sufficiently culpable state of mind.         granted leave to replead that claim.
Harrison v. Barkley, 219 F.3d 132, 136–38 (2d Cir. 2000). The
defendant must have actual notice of the prisoner's serious
medical need. Koehl v. Dalsheim, 85 F.3d 86, 88 (2d Cir.           III. Retaliation Under the First Amendment
1986). The subjective standard for deliberate indifference is       *5 Plaintiff's claims against several prison officials
essentially criminal recklessness: the official must “know[ ] of   regarding alleged retaliatory action sound in the First
and disregard[ ] an excessive risk to inmate health or safety.”    Amendment. To properly assert a First Amendment
Farmer v. Brennan, 511 U.S. 825, 837 (1994). Therefore, “the       retaliation claim, a plaintiff has the burden of demonstrating:
defendant's belief that his conduct poses no serious harm ...      “(1) that the speech or conduct at issue was protected, (2) that
need not be sound as long as it is sincere.” Salahuddin v.         the defendant took adverse action against the plaintiff, and
Goord, 467 F.3d 263, 281 (2d Cir. 2006). Further, the charged      (3) that there was a causal connection between the protected
official must be aware that there is a substantial risk of harm.   speech and the adverse action.” Scott v. Coughlin, 344 F.3d
Id.                                                                282, 287 (2d Cir. 2003). “Only retaliatory conduct that would
                                                                   deter a similarly situated individual of ordinary firmness
Defendant does not allege that any Defendant was involved          from exercising his or her constitutional rights constitutes
in his medical care or treatment—his Complaint mentions            an adverse action for a claim of retaliation ... Otherwise the
that “DOCCS Staff” took him off the diabetic medications,          retaliatory act is simply de minimis and therefore outside the
and that he made complaints to the “Medical Department”            ambit of constitutional protection.” Dawes v. Walker, 239
at sick call. (See Compl. at 18.) While chest pain resulting       F.3d 489, 493 (2d Cir. 2001), overruled on other grounds,
from clogged arteries and heart attacks surely constitute          Swierkewicz v. Sorema, 534 U.S. 506 (2002) (citations
                                                                   omitted).
serious medical conditions, 2 Plaintiff has failed to allege
any Defendant's involvement in, let alone any Defendant's
                                                                   “Prisoners may be required to tolerate more than public
deliberate indifference to, Plaintiff's medical care. Therefore,
                                                                   employees, who may be required to tolerate more than
Plaintiff's Eighth Amendment claim is dismissed without
                                                                   average citizens, before a [retaliatory] action taken against
prejudice.
                                                                   them is considered adverse.” Id. In addition, the “casual
                                                                   connection” element requires plaintiffs to prove that an
2      “[S]evere chest pain, a symptom consistent with a           adverse action relates to protected First Amendment activity
       heart attack, is a serious medical condition under          —that is, the plaintiff must present evidence from which
       the objective prong of the Eighth Amendment's               a jury could conclude that the plaintiffs protected First
       deliberate indifference standard.” Melvin v. Cty.           Amendment activity was “a substantial or motivating factor”
       of Westchester, No. 14-CV-2995 (KMK), 2016                  in the prison official's adverse action against the plaintiff.
       WL 1254394, at *5 (S.D.N.Y. Mar. 29, 2016)                  Graham v. Henderson, 89 F.3d 75, 79 (2d Cir. 1996). “To
       (quoting Mata v. Saiz, 427 F.3d 745, 754 (10th              survive a motion to dismiss, such claims must be ‘supported
       Cir. 2005)); Mandala v. Coughlin, 920 F. Supp.              by specific and detailed factual allegations,’ not stated ‘in
       342, 353 (E.D.N.Y. 1996) (noting that “ignoring             wholly conclusory terms.’ ” Friedl v. City of New York, 210
       a prisoner's complaints of chest pains where the            F.3d 79, 85-86 (2d Cir. 2000) (quoting Flaherty v. Coughlin,
       prisoner later died of a heart attack” has been found       713 F.2d 10, 13 (2d Cir. 1983)).
       to constitute a sufficiently serious injury).
It is possible that Plaintiff intended to bring claims against     The Second Circuit has repeatedly held that a court must
certain named defendants from the caption, whom he has             assess a claim of retaliation with “skepticism and particular
identified as serving in medical roles at Sullivan: Ginger         care” because such claims are “easily fabricated” by inmates.
Eggler (Nurse Administrator 1); Colleen Bennett (Nurse             Dawes, 239 F.3d at 491. Such claims create a “substantial
Administrator 2); Wladyslaw Sidorowicz (Facility Doctor);          risk of unwarranted judicial intrusion into matters of general
and Janice Wolf a/k/a Janice Wolf-Friedman (Facility               prison administration” because:
Doctor). To the extent that Plaintiff can provide more factual
allegations relating to these four defendants with respect




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                                                                    First Amendment rights”). Furthermore, the Complaint does
                                                                    not link the cell searches to any particular defendant. (See
             virtually any adverse action taken                     Compl. at 21.) Accordingly, even if retaliatory in nature,
             against a prisoner by a prison official                Plaintiff's claims against Defendants Wyatt, Hanson, and any
             —even those otherwise not rising                       other defendants regarding these incidents must be dismissed
             to the level of a constitutional                       with prejudice. 3
             violation—can be characterized as a
             constitutionally proscribed retaliatory                3       To the extent that Plaintiff's allegation suggest
             act.... Given that such adversity
                                                                            that Defendant Wyatt used excessive force, these
             is an ever-present concomitant of
                                                                            allegations also fail to state a claim upon which
             prison life, the opportunities to
                                                                            relief can be granted. The actions alleged by
             characterize its manifestations as
                                                                            Plaintiff do not rise to the level of a constitutional
             actionable retaliation are far greater
                                                                            violation. See Kalwasinski v. Artuz, No. 02 CV
             than that for society at large.
                                                                            2582 (LBS), 2003 WL 22973420, at *7 (S.D.N.Y.
                                                                            Dec. 18, 2003) (rejecting Eighth Amendment claim
                                                                            where defendant's action in pressing plaintiff's
Id. (internal citations and quotations omitted).                            face into a wall while conducting a pat frisk was
                                                                            “consistent with a good faith attempt to maintain
                                                                            prison discipline and order” and lacked “malicious”
   a. January 11, 2018 Incident and Cell Searches
                                                                            intent).
Plaintiff alleges that Defendant Wyatt retaliated against him
                                                                            To the extent that Plaintiff alleges that Defendant
because he filed a grievance against Wyatt on January 10,
                                                                            Wyatt committed offenses under the New York
2018, when Plaintiff discussed the grievance with Defendant
                                                                            State Penal Law, this claim must be dismissed
Sergeant Fuller. (Compl. at 19.) Plaintiff alleges that this
                                                                            because the law does not provide a private right
retaliation took the form of a pat frisk on January 11, 2018,
                                                                            of action to enforce rights allegedly created by this
in which Wyatt “squeez[ed]” and “pok[ed]” his chest, arms,
                                                                            provision. See Casey Sys., Inc. v. Firecom, Inc.,
legs, and “private parts.” (Id. at 20.) Plaintiff further alleges
                                                                            No. 94 CIV. 9327 (KTD), 1995 WL 704964, at
that Area Sergeant Defendant Hanson told him that “if [he]
                                                                            *3 (S.D.N.Y. Nov. 29, 1995) (“As a general rule,
did not sign off on this grievance, [he] was going to have
                                                                            when a statute is contained solely within the Penal
a whole lot of problems.” (Id. at 20.) Additionally, Plaintiff
                                                                            Law Section, the legislature intended it as a police
alleges that his cell was searched in an “unreasonable manner”
                                                                            regulation to be enforced only by a court of criminal
five out of seven days. (Id. at 21.)
                                                                            jurisdiction.”).

On these issues, Plaintiff has failed to state a claim for
                                                                       b. Loss of Job Assignment
relief because “cell searches and pat frisks, even if conducted
                                                                     *6 Plaintiff further alleges that his job assignment was taken
for retaliatory reasons, cannot constitute an adverse action
                                                                    away from him due to a “fabricated misbehavior report”
as required to support a First Amendment retaliation
                                                                    as retaliation for Plaintiff's filing of harassment grievances.
claim.” Amaker v. Fischer, No. 10-CV-0977A SR, 2014
                                                                    (Compl. at 21.) Plaintiff notes that despite his “excellent
WL 8663246, at *8 (W.D.N.Y. Aug. 27, 2014), report
                                                                    work evaluation,” the proffered basis for his termination was
and recommendation adopted, No. 10-CV-0977, 2015 WL
                                                                    that Plaintiff “do[es] not get along with other inmates and
1822541 (W.D.N.Y. Apr. 22, 2015). This is “because inmates
                                                                    staff.” (Id.) This claim similarly fails on the pleadings.
have no reasonable expectation of privacy in their prison
cells” and therefore “no constitutional right to be free from
                                                                    Defendants are correct that inmates do not have any
cell searches of any kind, including retaliatory cell searches.”
                                                                    constitutional, statutory, or regulatory right to any prison job.
Rodriguez v. McClenning, 399 F. Supp. 2d 228, 239 (S.D.N.Y.
                                                                    Gill v. Mooney, 824 F.2d 192, 194 (2d Cir. 1987) (“New
2005); see also Henry v. Annetts, No. 08 Civ. 286, 2010
                                                                    York law does not give a prisoner ‘any statutory, regulatory
WL 3220332, at *2 (S.D.N.Y. July 22, 2010) (“Cell searches
                                                                    or precedential right to his prison job.’ ”). Furthermore,
and pat frisks are an ordinary part of prison life and ... do
                                                                    the thin allegations contained in the complaint are “wholly
not deter the average inmate from continuing to exercise ...
                                                                    conclusory with no plausible nexus between the grievance


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and the misbehavior report.” White v. Bergenstock, No. 08            McKinnon v. Patterson, 568 F.2d 930, 934 (2d Cir. 1977), this
Civ. 717, 2009 WL 4544390, at *7 (N.D.N.Y. Nov. 25, 2009).           claim must be dismissed without prejudice.
Plaintiff's Complaint does not contain any allegations as to
the nature of the misbehavior report that led to the loss of his
job, who wrote the misbehavior report, nor does it connect           V. First Amendment Free Exercise
the writer of that misbehavior report to the grievances in            *7 Plaintiff's next claim pertains to the exercise of his
any way. See Bouknight v. Shaw, No. 08 CIV 5187(PKC),                religious beliefs, which he claims were infringed by an
2009 WL 969932, at *6 (S.D.N.Y. Apr. 6, 2009) (finding               “intentional” cancellation of his religious “call-out.” (Compl.
plaintiff's allegation that officer “wrote [him] up for revenge”     at 22.) Plaintiff alleges that “there is no security reason for
was conclusory and insufficient to state a plausible retaliation     this.” (Id.)
claim).
                                                                     “The Free Exercise Clause of the First Amendment is an
Consequently, these claims are dismissed without prejudice.          ‘unflinching pledge to allow our citizenry to explore ...
To the extent that Plaintiff can provide more factual                religious beliefs in accordance with the dictates of their
allegations relating to the author of the misbehavior report and     conscience.’ ” Jackson v. Mann, 196 F.3d 316, 320 (2d
a connection between Plaintiff's grievance, the misbehavior          Cir. 1999) (quoting Patrick v. LeFevre, 745 F.2d 153, 157
report, and loss of Plaintiff's job, Plaintiff is granted leave to   (2d Cir. 1984)). “Prisoners have long been understood to
replead his claim.                                                   retain some measure of the constitutional protection afforded
                                                                     by the First Amendment's Free Exercise Clause.” Ford v.
                                                                     McGinnis, 352 F.3d 582, 588 (2d Cir. 2003). The Second
IV. First Amendment Freedom of Speech                                Circuit has acknowledged, however, that “although prisoners
Plaintiff additionally asserts that “DOCCS staff” did not            do not abandon their constitutional rights at the prison door,
allow him to notify his family about his treatment at an             lawful incarceration brings about the necessary withdrawal
outside hospital, and that he was not allowed to call them.          or limitation of many privileges and rights, a retraction
(Compl. at 21.) This amounts to a First Amendment freedom            justified by the considerations underlying our penal system.”
of speech claim, which is a cognizable claim under §                 Salahuddin v. Goord, 467 F.3d 263, 274 (2d Cir. 2006)
1983. See Morgan v. LaVallee, 526 F.2d 221, 225 (2d                  (internal quotation marks and citations omitted).
Cir. 1975) (“A prison inmate's rights to communicate with
family and friends are essentially First Amendment rights            To establish a free exercise claim, courts in this Circuit have
subject to § 1983 protection.”). First Amendment rights “may         generally required inmate plaintiffs to plead that the disputed
not be infringed without good cause,” and “there must be             conduct substantially burdened a sincerely held religious
a showing of a substantial governmental interest serving             belief. See Turner v. Sidorowicz, No. 12-CV-7048 (NSR),
the legitimate and reasonable needs and exigencies of the            2016 WL 3938344, at *5 (S.D.N.Y. July 18, 2016); Holland
institutional environment ... to warrant such limitations upon       v. Goord, 758 F.3d 215, 220–23 (2d Cir. 2014). Defendants
an individual inmate's rights to communicate.” Id. (internal         “then bear the relatively limited burden of identifying the
citations omitted). But, as courts considering prison telephone      legitimate penological interests that justify the impinging
restrictions have agreed, “an inmate has no right to unlimited       conduct[.]” Salahuddin, 467 F.3d at 275.
telephone use.” Pitsley v. Ricks, No. 96-CV-0372NAMDRH,
2000 WL 362023, at *4 (N.D.N.Y. Mar. 31, 2000) (citing               In the present action, Plaintiff has again failed to allege
support from First, Sixth, Seventh, Eighth, Fifth, and Ninth         that any Defendant was involved in the cancellation of
Courts of Appeals). The same holds true with regard to               his religious call out. Plaintiff does not specify how often
mailing non-legal letters. See Corby v. Conboy, 457 F.2d 251,        or why his callout was canceled. Without more, Plaintiff
254 (2d Cir. 1972) (“[A] prisoner's right to mail letters to his     cannot plausibly allege that his sincerely held religious beliefs
family or friends is not absolute.”).                                were “substantially burdened.” See Williams v. Weaver,
                                                                     No. 9:03CV0912(LEK/GHL), 2006 WL 2794417, at *5
In any case, allegations of infringement of rights must have         (N.D.N.Y. Sept. 26, 2006) (denial of access to two weekly
some specificity. Again, Plaintiff has failed to allege that         religious services does not constitute substantial burden);
any Defendant in this action was involved in this denial. For        c.f. George v. Cty. of Westchester, NY, No. 13 CV 4511
the reasons outlined above, because a defendant's personal           VB, 2014 WL 1508612, at *4 (S.D.N.Y. Apr. 10, 2014)
involvement is a necessary element of a 1983 claim, see              (finding substantial burden plausibly alleged where plaintiff


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was denied congregate religious services “repeatedly” over         (Id.) Plaintiff further specifies that Elberth retorted, “How
two periods totaling approximately ten months). Accordingly,       does that feel?”, to which Plaintiff responded that he was in
this claim is also dismissed without prejudice.                    pain. (Id.) Elberth then repeated the action using Plaintiff's
                                                                   right leg. (Id.) Subsequently, Plaintiff suffered a “minor heart
                                                                   attack.” (Id.)
VI. Eighth Amendment Excessive Force
Next, Plaintiff's description of the incident with Correctional    Defendants argue that the amount of force described by
Officer Elberth may be read to present an Eighth Amendment         Plaintiff was commensurate with the need to conduct a pat
excessive force claim. The Eighth Amendment prohibits the          frisk and does not rise to the level of a constitutional violation.
infliction of “cruel and unusual punishments.” U.S. Const.         The Court recognizes that “a pat frisk, involving some
amend. VIII. For a prisoner to prevail on a claim asserting that   physical contact, is a standard procedure inside a prison.”
he was subjected to cruel and unusual punishment, he must          Beckles v. Bennett, No. 05 CIV. 2000 (JSR), 2008 WL 821827,
prove both “an objective element—that the prison officials’        at *20 (S.D.N.Y. Mar. 26, 2008). As such, allegations of
transgression was ‘sufficiently serious’—and a subjective          aggressive pat frisks have generally not been found to be
element—that the officials acted, or failed to act, with a         “sufficiently serious” to present viable excessive force claims.
‘sufficiently culpable state of mind.’ ” Phelps v. Kapnolas,       See Tavares v. City of New York, No. 08 CIV. 3782 PAE JCF,
308 F.3d 180, 185 (2d Cir. 2002) (quoting Farmer v. Brennan,       2011 WL 5877550, at *6 (S.D.N.Y. Oct. 17, 2011), report and
511 U.S. 825, 834 (1994)).                                         recommendation adopted, No. 08 CIV. 3782 PAE, 2011 WL
                                                                   5877548 (S.D.N.Y. Nov. 23, 2011) (finding “actions taken
 *8 The objective prong, requiring the alleged conduct to be       consistent with a forceful pat frisk—the most serious contact
“ ‘sufficiently serious’ to reach constitutional dimensions,”      alleged by the plaintiff—are not sufficiently ‘repugnant to the
Hogan v. Fischer, 738 F.3d 509, 515 (2d Cir. 2013), is a           conscience of mankind,’ to give rise to an Eighth Amendment
context-specific standard that focuses on the harm done given      claim.”); Kalwasinski v. Artuz, No. 02 CV 2582 (LBS), 2003
“contemporary standards of decency.” Wright v. Goord, 554          WL 22973420, at *6 (S.D.N.Y. Dec. 18, 2003) (pressing
F.3d 255, 268 (2d Cir. 2009) (quoting Hudson v. McMillian,         inmate's face into the wall while conducting pat frisk was
503 U.S. 1, 8 (1992)). The Supreme Court has explained that        “commensurate with the need to conduct a pat frisk”); Rivera
“[w]hen prison officials maliciously and sadistically use force    v. Goord, 119 F. Supp. 2d 327, 342 (S.D.N.Y. 2000) (finding
to cause harm, contemporary standards of decency always are        level of force applied in “aggressive pat frisks” does not rise to
violated.” Hudson, 503 U.S. at 9. Therefore, “the malicious        a constitutional violation); see also Anderson v. Sullivan, 702
use of force to cause harm constitutes an ‘Eighth Amendment        F. Supp. 424, 427 (S.D.N.Y. 1988) (no excessive force found
violation[ ] per se ... whether or not significant injury is       where, while handcuffing plaintiff, officer pulled plaintiff's
evident.” Griffin v. Crippen, 193 F.3d 89, 91 (2d Cir. 1999).      hands behind his back and pushed him against a bar).
Nevertheless, “a de minimis use of force will rarely suffice to
state a constitutional claim.” Romano v. Howarth, 998 F.2d         While the level of force alleged here by Plaintiff may not, on
101, 105 (2d Cir. 1993). “Not every push or shove, even            its own, rise to the level of a constitutional violation, Plaintiff
if it may later seem unnecessary in the peace of a judge's         has alleged extenuating circumstances that distinguish his
chambers, violates a prisoner's constitutional rights.” Lebron     case from those involving run-of-the-mill pat frisks. Plaintiff
v. Mrzyglod, No. 14-CV-10290(KMK), 2019 WL 3239850,                alleges that he informed Elberth of his medical condition
at *14 (S.D.N.Y. July 18, 2019).                                   and heart surgery, which prevented him from moving his
                                                                   body as Elberth had instructed. Plaintiff further alleges
                                                                   that he did suffer physical pain as a result of Elberth's
   a. Excessive Force Analysis
                                                                   actions—and informed Elberth of this—but that Elberth
Here, during the course of a pat frisk, Plaintiff alleges that
                                                                   disregarded Plaintiff's condition and continued to forcefully
Elberth instructed him to reach back with his left hand and
                                                                   move Plaintiff's legs. Plaintiff has thus averred sufficient facts
take off his right boot. (Compl. at 22.) Plaintiff did not
                                                                   to plausibly claim that force was applied “maliciously and
comply, and instead told Elberth that “he could not reach
                                                                   sadistically for the very purpose of causing harm,” rather
back like that because he had a Qua[dru]ple By Pass and
                                                                   than “in a good faith effort to maintain or restore discipline.”
was unable to stretch back like that.” (Id.) In response,
                                                                   Hudson, 503 U.S. at 6; see also Santiago v. Westchester Cty.,
Elberth grabbed Plaintiff's left leg and pulled it back in a
                                                                   No. 13–CV–1886, 2014 WL 2048201, at *5 (S.D.N.Y. May
manner that caused Plaintiff's chest and face to hit the wall.


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19, 2014) (finding allegations that a prison official “threw        dismiss can only be sustained if plaintiff cannot state any facts
[the] [p]laintiff to the ground, twisted his arm, [and] picked      that would prevent the application of qualified immunity).
him up off the ground while squeezing his throat ... lead to a
plausible inference that the force inflicted was malicious and      It is well-settled that freedom from the use of excessive force
wanton”).                                                           is a clearly established constitutional right. See, e.g., Atkins
                                                                    v. Cty. of Orange, 372 F. Supp. 2d 377, 401 (S.D.N.Y. 2005),
 *9 This conclusion is reached by construing the allegations        aff'd on other grounds sub nom. Bellotto v. Cty. of Orange,
in the Complaint in a light most favorable to Plaintiff, and        248 F. App'x 232 (2d Cir. 2007). As discussed above, the
bearing in mind Plaintiff's status as a pro se litigant. Evidence   Complaint sufficiently alleges a violation of Plaintiff's clearly
uncovered during discovery may ultimately prove that the            established constitutional right to be free from excessive force
force employed by Defendant Elberth was done in a good              under the Eighth Amendment. Further, “nothing at this stage
faith effort to maintain or restore discipline, but such a          of the proceedings suggests that [the defendant] reasonably
determination is best resolved on a motion for summary              believed his actions to be lawful at the time of the challenged
judgment or at trial. See Olutosin v. Lee, No. 14-CV-685            act.” Santiago, 2014 WL 2048201, at *5. Consequently, the
(NSR), 2016 WL 2899275, at *9 (S.D.N.Y. May 16, 2016);              Court does not find the application of qualified immunity to
Landy v. Irizarry, 884 F. Supp. 788, 797 (S.D.N.Y. 1995)            be warranted at this juncture.
(“[T]he fact intensive inquiry of whether a particular use
of force was reasonable is best left for a jury to decide.”)
(collecting cases). As such, Defendants’ motion to dismiss          VII. Defendant Fuller
is denied as to Plaintiff's excessive force claims against          The only other Defendant named in the Complaint, Defendant
Defendant Elberth.                                                  Fuller, is also not alleged to have been personally involved
                                                                    in any constitutional violation. Plaintiff's only allegation
                                                                    against Defendant Fuller is that Plaintiff and Defendant
   b. Qualified Immunity Defense                                    Fuller engaged in a discussion about Plaintiff's intent to
Defendants argue that Defendant Elberth should be entitled to       file a grievance against Defendant Wyatt. (Compl. at 19.)
the defense of qualified immunity. The doctrine of qualified        These allegations fail to show Defendant Fuller's personal
immunity gives officials ‘breathing room to make reasonable         involvement in any constitutional violation, and for the same
but mistaken judgments about open legal questions.’ ”               reasons as previously stated, he is therefore dismissed from
Ziglar v. Abbasi, 137 S. Ct. 1843, 1866 (2017) (quoting             this action without prejudice.
Ashcroft v. al-Kidd, 563 U.S. 731, 743 (2011)). As such,
“qualified immunity shields both state and federal officials
from suit unless [1] the official violated a statutory or
                                                                                           CONCLUSION
constitutional right that [2] was clearly established at the time
of the challenged conduct.” Terebesi v. Torreso, 764 F.3d            *10 For the foregoing reasons, Defendants’ unopposed
217, 230 (2d Cir. 2014) (internal quotation marks omitted).         motion to dismiss is GRANTED in part and DENIED in part.
To determine whether a right was clearly established, the           The motion is denied as to Plaintiff's excessive force claims
Court looks to: (1) whether the right was defined with              against Defendant Elberth. The motion is granted as follows:
“reasonable specificity”; (2) whether the Supreme Court and
the applicable circuit court support the existence of the right;    The following of Plaintiff's claims are dismissed with
and (3) whether under existing law a reasonable defendant           prejudice:
would have understood that the conduct was unlawful. See
Gonzalez v. City of Schenectady, 728 F.3d 149, 161 (2d
Cir. 2013). “In this Circuit, a defendant may [raise qualified                   •     Plaintiff's First Amendment
immunity in a pre-answer motion to dismiss], but the defense                         retaliation    claims      against
is held to a higher standard than if it were asserted in a motion                    Defendants Wyatt, Hanson, and
for summary judgment.” Sledge v. Bernstein, No. 11 CV.                               any other defendants regarding the
7450(PKC)(HBP), 2012 WL 4761582, at *4 (S.D.N.Y. Aug.                                January 11, 2018 incident and cell
2, 2012); see also McKenna v. Wright, 386 F.3d 432, 436 (2d                          searches.
Cir. 2004) (a defense of qualified immunity in a motion to



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                                                                  The Clerk of the Court is respectfully directed to terminate
The following of Plaintiff's claims are dismissed without         Defendants Annucci, Keyser, Burnett, Williams, Justiniano,
prejudice:                                                        Proscia, Maxwell, Kortright, Reid, Decker, Encarnacion,
                                                                  Ogbonna, Aldana, Christie, Eggler, Bennett, Pomeroy,
  • Plaintiff's Eighth Amendment medical indifference             Sidorowicz, Wolf, Herman, Jordan, Tolentio, Miller, Beach,
    claims against Eggler, Bennett, Sidorowicz, and Wolf;         Askew, Wood, Maliga, Giminiani, Conway, Reddish,
                                                                  Puerschner, Ginsin, Jurgens, Bonnell, Braisington, Franke,
  • Plaintiff's First Amendment retaliation claim regarding
                                                                  Defrank, Depaolo, Stungis, Jarosz, Fuller, Wyatt, and Hanson.
    the loss of his job assignment;
                                                                  The Clerk of the Court is directed to mail a copy of this
  • Plaintiff's First Amendment freedom of speech claim;          Opinion to Plaintiff at his last address listed on ECF and file
                                                                  proof of service on the docket.
  • Plaintiff's First Amendment free exercise claim; and
                                                                  *11 SO ORDERED.
  • All remaining claims against Defendants Annucci,
    Keyser, Burnett, Williams, Justiniano, Proscia, Maxwell,
    Kortright, Reid, Decker, Encarnacion, Ogbonna,                Attachment
    Aldana, Christie, Eggler, Bennett, Pomeroy, Sidorowicz,
    Wolf, Herman, Jordan, Tolentio, Miller, Beach,
    Askew, Wood, Maliga, Giminiani, Conway, Reddish,
    Puerschner, Ginsin, Jurgens, Bonnell, Braisington,
    Franke, Defrank, Depaolo, Stungis, Jarosz, and Fuller.

Accordingly, the Clerk of the Court is respectfully directed to
terminate the Represented Defendants’ Motion to Dismiss at
ECF No. 79.

Plaintiff shall have thirty-five days from the date of this
Opinion, on or before February 27, 2020, to amend the
Complaint as to those claims that are dismissed without
prejudice. Because Plaintiff's amended complaint will
completely replace, not supplement, the original complaint,
any facts or claims that Plaintiff wishes to remain—aside from
those claims dismissed with prejudice per this Order—must
be included in the amended complaint. An Amended Civil
Rights Complaint form is attached to this Opinion. If Plaintiff
elects to file an amended complaint, Defendants shall have
thirty days from the date of Plaintiff's filing to respond.

If Plaintiff does not file an amended complaint within thirty-
five days, and he cannot show good cause to excuse such a
failure, those claims dismissed without prejudice by this order
will be deemed dismissed with prejudice, and the Complaint
(ECF No. 2) will serve as the operative complaint in this
action to which remaining Defendants should respond. The
remaining Defendant Elberth is directed to file an answer
to the Complaint on or before March 19, 2020. The parties
are directed to confer, complete, and submit to the Court the
attached case management plan on or before April 9, 2020.




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                                                                 appeal, to which we refer only as necessary to explain our
                    2024 WL 3886996                              decision to affirm.
      Only the Westlaw citation is currently available.
      United States Court of Appeals, Second Circuit.            This case arises out of an incident during Hundley's
                                                                 incarceration at the Elmira Correctional Facility (the
         Crushaun HUNDLEY, Plaintiff-Appellee,                   “Facility”). In mid-December 2017, Hundley filed a series of
                             v.                                  grievances, complaining that he was repeatedly mishandled
   A. FRUNZI, Correction Officer, C. May, Correction             and assaulted by correction officers during random and
                                                                 unnecessary pat-frisks in the Facility. On December 20, 2017,
   Officer, T. Mallare, Sergeant, Defendants-Appellants,
                                                                 Sergeant Mallare visited Hundley's cell to interview him
  R. Snyder, Correction Officer, B. O'Rourke, Correction
                                                                 about the grievances he had filed, which also contained
     Officer, Carroll, Captain, Lesley Pottinger, Nurse,
                                                                 language threatening officers if the alleged mistreatment
    John Doe, Correction Officers #1–20, Defendants.             continued. Officers Frunzi and May were present to conduct a
                                                                 “pat-frisk” of Hundley prior to that interview. During the cell
                  23-581-pr; 23-6932 (Con)
                                                                 visit, an altercation erupted between Hundley and Officers
                              |
                                                                 May and Frunzi, resulting in Hundley sustaining a broken
                      August 21, 2024
                                                                 rib. According to Hundley, after the pat-frisk the two officers
Appeal from a judgment of the United States District Court       started punching him without any justification and banged his
for the Western District of New York (Charles J. Siragusa,       head on a metal desk while Sergeant Mallare told him “this
Judge).                                                          is what happens when you send letters up front threatening
                                                                 officers.” Joint App'x at 144. Hundley further testified that,
UPON DUE CONSIDERATION, IT IS HEREBY                             once he was handcuffed on the ground, one of the officers
ORDERED, ADJUDGED, AND DECREED that the                          pulled down his pants and shoved an object in his rectum.
judgment, entered on March 10, 2023, is AFFIRMED.                According to Officers May and Frunzi, during the pat-frisk
                                                                 outside the cell, Hundley “came off the wall,” and they needed
Attorneys and Law Firms
                                                                 to use force while he struggled with them, which included
                                                                 the officers using a bearhug to bring Hundley to the floor and
FOR PLAINTIFF-APPELLEE: Edward Sivin, Sivin, Miller
                                                                 handcuff him. Joint App'x at 269, 295. Both officers denied
& Roche LLP, New York, New York.
                                                                 punching Hundley, banging his head, or sticking an object in
FOR DEFENDANTS-APPELLANTS: Beezly J. Kiernan,                    his rectum.
Assistant Solicitor General of Counsel (Barbara D.
Underwood, Solicitor General, Andrea Oser, Deputy Solicitor      Hundley filed the instant complaint asserting claims pursuant
General, on the brief), for Letitia James, Attorney General of   to Section 1983, alleging that he was subject to excessive
the State of New York, Albany, New York.                         force in violation of the Eighth Amendment and to retaliation
                                                                 for filing grievances in violation of the First Amendment.
PRESENT: JOSEPH F. BIANCO, MYRNA PÉREZ,                          After discovery, the case proceeded to trial, during which
ALISON J. NATHAN, Circuit Judges.                                Hundley and all three defendants testified. Before the case
                                                                 was submitted to the jury, the parties disputed the framing
                                                                 of the questions on the verdict sheet, and Hundley's counsel
                   SUMMARY ORDER                                 agreed that Hundley's theory of retaliation relates to the
                                                                 incident on December 20, and not its aftermath. 1
 *1 Defendants-Appellants Sergeant Thomas Mallare
and Correction Officers Archie Frunzi and Corey May
                                                                 1
(collectively, “Defendants”) appeal from the district court's           Hundley's complaint also alleged, as a basis of
judgment, entered after a jury trial, awarding compensatory             his retaliation claim, that Defendants filed a false
and punitive damages to Plaintiff-Appellee Crushaun                     misbehavior report against him after the incident.
Hundley on his First Amendment retaliation claim brought                However, Hundley's counsel abandoned this theory
under 42 U.S.C. § 1983. We assume the parties’ familiarity              of the claim at trial in order to simplify the
with the underlying facts, procedural history, and issues on            verdict sheet with respect to a damages award.
                                                                        Some testimony about the misbehavior reports and


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        false statements contained therein was elicited from        claims, but rather on whether there was sufficient evidence
        Defendants at trial as relevant to their credibility as     to support a finding of liability on the claim as to which the
        witnesses.                                                  plaintiff prevailed. See Matusick v. Erie Cnty. Water Auth.,
 *2 The jury delivered a split verdict, finding against             757 F.3d 31, 52–53 (2d Cir. 2014).
Hundley on his excessive force claim but in favor of Hundley
on his retaliation claim, and awarding him compensatory and         Here, it is clear from the verdict sheet and the jury instructions
punitive damages. Defendants subsequently moved to vacate           that the jury's verdicts on the excessive force and retaliation
and set aside the jury verdict pursuant to Federal Rule of Civil    claims, which contained no special interrogatories, were
Procedure 49 and, with respect to the retaliation claim, for        general verdicts. Lavoie v. Pac. Press & Shear Co., a Div.
judgment as a matter of law under Rule 50(b), to alter or           of Canron Corp., 975 F.2d 48, 54 (2d Cir. 1992); see also
amend the judgment under Rule 59(e), or in the alternative          Jarvis v. Ford Motor Co., 283 F.3d 33, 56 (2d Cir. 2002)
for a new trial under Rule 59(a). The district court denied the     (Sotomayor, J.) (“[W]here a jury is instructed to apply legal
motion and entered judgment in favor of Hundley.                    principles and assign liability, the answers to the questions
                                                                    submitted to the jury are not special verdicts, despite the
On appeal, Defendants challenge only the district court's           use of those words in the title appended to the form, and
denial of their motion for a new trial on the retaliation claim.    Rule 49(a) therefore does not apply.” (internal quotation
They argue that they are entitled to a new trial because the        marks and citation omitted)). Accordingly, because the claims
jury's split verdicts on the excessive force and retaliation        in this case involved a general verdict and there is no
claims are “ineluctably inconsistent.” Appellants’ Br. at 2         basis to challenge the sufficiency of the evidence to support
(internal citation omitted). Specifically, Defendants assert that   liability on the retaliation claim (and Defendants made no
a jury finding that they did not use excessive force during the     such challenge below), the district court acted well within
incident is equivalent to a finding that they acted in good faith   its discretion in denying a retrial solely due to any alleged
in their use of force, and, therefore, that their actions during    inconsistency between the verdicts. See Matusick, 757 F.3d at
the incident could not have been retaliatory in nature.             52–53; accord Saeed v. Kreutz, 606 F. App'x 595, 598–99 (2d
                                                                    Cir. 2015) (summary order).
We review the denial of a motion for a new trial under Rule
59(a) for abuse of discretion. SEC v. DiBella, 587 F.3d 553,         *3 In any event, the verdicts were not irreconcilably
563 (2d Cir. 2009). “We have held that a motion for a new           inconsistent. We emphasize that, “when faced with an
trial ordinarily should not be granted unless the trial court       apparent inconsistency, we must adopt a view of the case,
is convinced that the jury has reached a seriously erroneous        if there is one, that resolves any seeming inconsistency,
result or that the verdict is a miscarriage of justice.” Munafo     making every attempt to reconcile the jury's findings, by
v. Metro. Transp. Auth., 381 F.3d 99, 105 (2d Cir. 2004)            exegesis if necessary.” Ali v. Kipp, 891 F.3d 59, 65 (2d
(alteration adopted) (internal quotation marks and citation         Cir. 2018) (internal quotation marks and citations omitted);
omitted).                                                           accord Harris v. Niagara Mohawk Power Corp., 252 F.3d
                                                                    592, 598 (2d Cir. 2001).
Under our precedent, “ineluctably inconsistent” special
verdict answers require retrial. Id. (internal quotation marks,     Defendants argue that the verdicts on the two claims are
citation, and emphasis omitted); see also Fed. R. Civ. P.           irreconcilable because the same conduct of the Defendants
49(a) (special verdicts). However, the same is not true for         provided the basis for both claims. In particular, because there
inconsistent general verdicts on separate claims. See Cash          was no dispute that Hundley satisfied the objective element
                                                                    of an excessive force claim under the Eighth Amendment,
v. Cnty. of Erie, 654 F.3d 324, 343 (2d Cir. 2011) (“[A]ny
                                                                    Defendants argue that, “[i]n rejecting plaintiff's Eighth
inconsistency between general verdicts on [plaintiff's] federal
                                                                    Amendment claim, the jury therefore necessarily found that
and state claims would not necessarily require retrial.”);
                                                                    defendants’ use of force failed to satisfy the subjective
accord Globus v. L. Rsch. Serv., Inc., 418 F.2d 1276, 1290
                                                                    element of that claim requiring a sadistic and malicious use
n.17 (2d Cir. 1969) (“It has been said again and again ...
                                                                    of force—i.e., bad faith—and found instead that defendants
that consistent jury verdicts are not, in themselves, necessary
                                                                    used force in a good-faith attempt to restrain plaintiff.”
attributes of a valid judgment.”). In other words, with respect
to a general verdict, the focus is not on any purported             Appellants’ Br. at 18; see also Baskerville v. Mulvaney,
inconsistency between the jury's verdicts as to the separate        411 F.3d 45, 47–48 (2d Cir. 2005) (describing elements of



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Eighth Amendment excessive force claim). Thus, relying on           “there's no room outside the gallery.” Joint App'x at 156.
Baskerville, Defendants contend that “a jury finding that force     In summation, Hundley's counsel argued that the pat-frisk
was applied in good faith precludes a finding of retaliation,       “was a pretext for an assault,” that Defendants lied about
based on that same use of force, on a First Amendment claim.”       the pat-frisk taking place outside the cell, and that the entire
Appellants’ Br. at 18.                                              purpose of visiting Hundley's cell—including the pat-frisk—
                                                                    was retaliation. Id. at 376; see also id. at 378 (arguing to the
On this record, we find Defendants’ argument unpersuasive.          jury that “pat-frisks inside an inmate's cell are clearly, clearly
As conceded by Defendants at oral argument, a court                 disallowed” and, thus, “if [Defendants] were to admit that
must consider the jury instructions along with the verdict          they did a pat-frisk inside the cell, they would be admitting
sheet in examining whether a seemingly inconsistent verdict         from the outset that they were up to no good” and “[s]o they
can be reconciled based upon the evidence heard by the              had to say it was outside the cell”); id. at 385 (“[T]his wasn't a
jury. See, e.g., Baskerville, 411 F.3d at 49–50 (analyzing          spontaneous event. This wasn't something that kind of started
jury instructions in connection with claim of inconsistent          off small and escalated into an excessive force incident. This
verdicts). In this case, an examination of the jury instructions    was planned. Those three guys arrived on H block with a plan
on each claim (which Defendants did not challenge below and         to beat up Mr. Hundley and whatever else they were planning
do not challenge on appeal) reveals at least two independent        to do to him.”).
ways in which the jury's general verdicts can be reconciled.
                                                                    When faced with conflicting versions of events, “[a]s in most
First, the jury instructions did not limit the alleged “adverse     trials, and especially in one where participants are giving
action” underlying Hundley's retaliation claim to the alleged       their accounts of events occurring rapidly and in a highly
assault by Defendants that resulted in his broken rib, but rather   charged atmosphere, the jurors were not required to accept the
included any conduct by Defendants during the December              entirety of either side's account, but were free to accept bits
20 incident with Hundley that met the applicable legal              of testimony from several witnesses and to make reasonable
standard. Indeed, the district court broadly instructed the         inferences from whatever testimony they credited.” Haywood
jury that “retaliatory conduct that would deter a similarly         v. Koehler, 78 F.3d 101, 105 (2d Cir. 1996). This trial record
situated individual of ordinary firmness from exercising his        allowed the jury to balance all of the evidence from the
constitutional rights constitutes an adverse action for a claim     incident and rationally conclude, after making the necessary
of retaliation.” Joint App'x at 527; see Hayes v. Dahlke, 976       credibility determinations, that the pat-frisk was done solely
F.3d 259, 272 (2d Cir. 2020) (describing legal elements of          for the purpose of harassing and retaliating against Hundley
a retaliation claim). Therefore, even if the jury concluded         because he filed grievances about pat-frisks and that such
that Defendants’ use of force in subduing Hundley did not           conduct would deter a similarly situated person of reasonable
violate the Eighth Amendment, they could have found that            firmness from filing such grievances in the future. Those
other aspects of the incident met the applicable standard. For      factual findings support liability on the retaliation claim even
example, the jury could have found under that instruction           if the subsequent use of force was justified once Hundley
that the pat-frisk of Hundley, immediately prior to the use of      “came off the wall” during the pat-frisk. 2 Joint App'x at
force, was performed solely to retaliate against Hundley for        279. Because the jury's general verdict under the instructions
filing grievances about inappropriate and unwarranted pat-          provided by the district court rationally allowed for this
frisks in the Facility, and would deter a similarly situated        separate theory of liability on the retaliation claim, the district
individual from exercising his First Amendment rights,              court did not abuse its discretion in denying Defendants’
thereby providing a basis for liability on the retaliation claim.   motion for a new trial based on purportedly inconsistent
                                                                    verdicts.
 *4 Although Defendants suggest that there was insufficient
evidence to support a jury verdict under that particular theory,    2       Defendants suggest that the jury could not
we disagree. The jury heard four accounts of what transpired
                                                                            rationally find that the pat-frisk was retaliatory
during the incident, one from each party to this appeal.
                                                                            because, when asked to describe the pat-frisk
Hundley testified that the pat-frisk occurred inside his cell in
                                                                            during the trial, Hundley testified it was a “[n]ormal
contravention of prison procedures, and that it would have
                                                                            pat-frisk” and, as noted supra, that he “had no
been impossible for the officers to have initiated the frisk,
                                                                            complaints of the pat-frisk.” Joint App'x at 137.
as Defendants claimed, immediately outside his cell, because
                                                                            However, in context, a jury could have reasonably


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        construed that testimony to mean that there was
        nothing unusual about the manner of the pat-frisk           Although Defendants note that we have explained that “the
        (as opposed to the earlier pat-frisks about which           use of force ‘maliciously and sadistically’ merely describes a
        he had complained), rather than a concession that           bad-faith use of force,” Appellants’ Br. at 19 (citing Blyden
        the pat-frisk itself as part of a purported interview       v. Mancusi, 186 F.3d 252, 263 (2d Cir. 1999)), the jury
        about his grievances was not itself retaliatory.            was not instructed about “good faith” or “bad faith” in this
        Indeed, as noted supra, Hundley testified that the          case. Because Defendants did not ask the district court to
        pat-frisk was conducted inside his cell in violation        include any such language in the instructions on the excessive
        of the Facility's protocol, contrary to Defendants’         force claim, the district court did not abuse its discretion
        testimony that it was performed outside the cell.           in determining that Defendants were not entitled to a new
                                                                    trial based on seemingly inconsistent verdicts that potentially
Second, as the district court explained, the instructions also
                                                                    arose from confusion created by the agreed-upon instruction.
allowed the jury to rationally find that the force was not
used maliciously and sadistically, and thus did not violate         Globus, 418 F.2d at 1289–90 (rejecting challenge to a
Hundley's Eighth Amendment rights, but was still retaliatory.       jury's verdict as inconsistent where, inter alia, “[defendant's]
More specifically, the jury was instructed that, to prevail         strategy in trying the case may have contributed to any
on the excessive force claim, Hundley must prove “that the          confusion the jury may have experienced”).
defendant[ ] you are considering used force against [him]
maliciously and sadistically, for the very purpose of causing       Finally, although Defendants heavily rely upon our decision
[him] harm.” Joint App'x at 523–24. The district court further      in Baskerville to support their position, that reliance is
instructed the jury:                                                misplaced. To be sure, in Baskerville, we held that the district
                                                                    court did not err in determining that, once the jury found
                                                                    in favor of the defendant on the plaintiff's excessive force
                                                                    claim, the retaliation claim did not need to be submitted to
             To act “maliciously” means to
                                                                    the jury because it failed as a matter of law. 411 F.3d at 50.
             intentionally do a wrongful act without
                                                                    However, unlike here, the jury charge in Baskerville on the
             just cause or excuse, with an intent to
                                                                    defendants’ subjective intent on the excessive force claim
             inflict injury or under circumstances
                                                                    “explicitly allowed the jury to consider ‘whether the force
             that show an evil intent. To act
                                                                    was applied in order to retaliate against the plaintiff for his
             “sadistically” means to do a wrongful
                                                                    religious expression ....’ ” Id. at 49. We thus concluded that the
             act with extreme or excessive cruelty.
                                                                    district court's post-verdict dismissal of the retaliation claim
                                                                    was appropriate because the instruction provided the jury
                                                                    with the opportunity to consider the defendants’ retaliatory
 *5 Joint App'x at 524. Although the jury was never                 motivation in connection with the excessive force claim. And,
instructed about the “good-faith” use of force, Defendants          although it did not put that First Amendment claim squarely
argue that “[a] finding that force was not applied maliciously      before the jury, “it did put all alleged conduct or harm in [the]
and sadistically ... necessarily implies a good-faith use           case that could possibly form the basis of [that] claim[ ] before
of force and precludes a finding of retaliatory animus.”            the jury.” Id. at 50. Moreover, the Baskerville instruction
Appellants’ Br. at 19.                                              on excessive force explained to the jury that the subjective
                                                                    element of the excessive force claim “turn[ed] upon whether
We disagree based on the instructions provided to this jury.        the force was applied in a good-faith effort to maintain
Under these instructions, the jury could have found that            or restore discipline, or maliciously or sadistically to cause
defendants did use some degree of unnecessary force against         harm.” Id. at 48 (emphasis added). After describing the factors
Hundley during the cell visit to retaliate against him for filing   that could support a finding of maliciousness (including a
a grievance, but did not intend to “inflict injury” and did not     retaliatory motive), the instruction stated: “If, on the other
commit “a wrongful act with extreme or excessive cruelty,”          hand, reflection upon these factors leads you to find that the
and that Hundley's rib was broken when the retaliatory plan         defendants acted in a good-faith effort to maintain and restore
unintentionally got out of control and Hundley fell to the          discipline, no constitutional violation has occurred because
ground. If the jury made those factual findings, it could have      the subjective component of the claim has not been satisfied.”
rationally concluded under the instructions that Defendants         Id. Therefore, we concluded that, “[i]f the jury found, as it
were liable for retaliation, but not excessive force.


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                                                                                    the defendants beyond the alleged excessive force
did, that the officers’ use of force did not violate the Eighth
                                                                                    itself (such as the pat-frisk here) could provide a
Amendment, they necessarily found that it was justified and
                                                                                    separate adverse action for the retaliation claim.
applied in good faith, and given this, there was no evidence
                                                                                    Indeed, the district court had granted the motion for
that could have logically and consistently supported a finding
                                                                                    judgment as a matter of law because Barnes had
for [plaintiff] on ... [his] religious retaliation claim.” Id. at 50.
                                                                                    not introduced “admissible evidence of retaliatory
                                                                                    intent” at trial with respect to one incident, and with
 *6 The components of the jury instruction that were critical
                                                                                    respect to another incident, “because the grievance
to our holding in Baskerville are completely absent in this case
                                                                                    that the Plaintiff wrote and relied upon in support
—namely, here, the jury was never instructed to consider the
                                                                                    of the retaliation claim, was not received until after
alleged retaliatory motive in connection with the “malicious
                                                                                    th[e] date” of the alleged force. D. Ct. Dkt. 9:13-
and sadistic” element of the excessive force claim, nor was
                                                                                    cv-164-DJS, ECF No. 790 at 14. Moreover, as in
the subjective intent element with regard to the excessive
                                                                                    Baskerville, the jury was instructed in Barnes that,
force claim framed as a binary choice between force applied
                                                                                    to find in plaintiff's favor in connection with the
“in a good-faith effort to maintain or restore discipline” and
                                                                                    subjective element of the excessive force claim,
that applied “maliciously or sadistically to cause harm.” Id.
                                                                                    plaintiff must prove that “the Defendant acted
at 48. Thus, our analysis in Baskerville is inapposite and did
                                                                                    maliciously and sadistically for the purpose of
not require the district court in this case to conclude that the
                                                                                    causing harm, and not in a good faith effort to
verdicts on the excessive force and retaliation claims, based
                                                                                    maintain or restore discipline.” Id., ECF No. 738 at
on the jury instructions, were irreconcilable and required a
                                                                                    18. As noted above, this “good faith” language was
new trial. 3
                                                                                    completely absent from the instructions in this case.

3                                                                           In sum, we conclude that the district court did not abuse
        For the same reasons, we conclude that our recent
                                                                            its discretion in denying Defendants’ motion for a new trial
        holding in Barnes v. Rock, No. 22-2902, 2024 WL
                                                                            based on purportedly inconsistent verdicts.
        2973709 (2d Cir. June 13, 2024) (summary order),
        does not dictate a different result in this case. In
                                                                                                          ***
        Barnes, relying upon Baskerville, we held that the
        district court did not err in granting judgment as
                                                                            We have considered Defendants’ remaining arguments and
        a matter of law on a prisoner's retaliation claim
                                                                            find them to be without merit. Accordingly, we AFFIRM the
        because “[t]he jury verdict that [defendants] did
                                                                            judgment of the district court.
        not subject [plaintiff] to excessive force precludes
        a finding that the same, objectively serious conduct
        was exercised in retaliation for grievances filed                   All Citations
        against them.” Id. at *1. However, there is no
        indication in Barnes that the evidence at trial                     Not Reported in Fed. Rptr., 2024 WL 3886996
        allowed the jury to find that any other conduct by

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                                                                        one Defendant. (See Compl. 3–4.) Defendants have
                    2021 WL 4392485                                     provided additional identifying information in their
      Only the Westlaw citation is currently available.                 Memorandum of Law. (See Defs.' Mem. 1.)
       United States District Court, S.D. New York.

        Llewellyn Sinclair GEORGE, Plaintiff,                                            I. Background
                          v.                                        A. Factual Background
    COUNTY OF WESTCHESTER, et al., Defendants.                   The alleged facts, which are accepted as true for purposes
                                                                 of resolving this Motion, are as follows. On April 4, 2019,
                   No. 20-CV-1723 (KMK)
                                                                 while incarcerated at the Westchester County Jail, Plaintiff
                             |
                                                                 approached the desk of Vanlierop, who was conducting a tour
                     Signed 09/24/2021
                                                                 of the “2 southwest housing unit” in her capacity as a “sector
Attorneys and Law Firms                                          supervisor.” (Compl. 6.) 2 Plaintiff tried to hand Vanlierop a
                                                                 grievance (the “First Grievance”), but Vanlierop “glanced” at
Llewellyn Sinclair George, White Plains, NY, Pro se Plaintiff.   the grievance, “turned away,” and stated, “you know I don't do
                                                                 grievances.” (Id.) Later that day, Lopez was touring the upper
Jordan Silver, Esq., Westchester County Attorney, White
                                                                 tier of the same housing unit when Plaintiff attempted to hand
Plains, NY, for Defendants.
                                                                 him the same grievance. (Id. at 6.) Lopez read the grievance,
                                                                 handed it back to Plaintiff, and said, “I'm not getting into the
                                                                 middle of this mess.” (Id. at 7.)
                   OPINION & ORDER
                                                                 2
KENNETH M. KARAS, District Judge:                                       Although Vanlierop was not initially named as a
                                                                        Defendant, (see Compl. 3–4), the Court directed the
 *1 Plaintiff Llewellyn Sinclair George (“Plaintiff”),                  Clerk of Court to add her as a Defendant on April
proceeding pro se, brings this Action pursuant to 42 U.S.C.             21, 2020, (Ord. of Serv. 1).
§ 1983 against the County of Westchester (the “County”),
                                                                 Five days later, on the morning of April 9, 2019, Plaintiff's
Assistant Warden La Fonda Spaulding (“Spaulding”),
                                                                 cell was being searched by two male officers when Vanlierop
Assistant Warden Eric Middleton (“Middleton”), Sergeant
                                                                 entered the cell and “confiscated” a separate grievance
Daniel Lopez (“Lopez”), Sergeant Matthew Kitt (“Kitt”),
                                                                 Plaintiff had prepared (the “Second Grievance”) regarding
Captain Andre Mabra (“Mabra”), Captain Christopher
                                                                 Vanlierop's refusal to accept the First Grievance. (See id.
Roberts (“Roberts”), and Captain Natasha Vanlierop
                                                                 at 7, 10.) Shortly thereafter, Vanlierop issued a fabricated
(“Vanlierop”; collectively, “Defendants”), alleging that
                                                                 misbehavior report against Plaintiff in retaliation for the
Defendants violated his rights under the First, Eighth, and
Fourteenth Amendments to the U.S. Constitution. (Compl. 2–       Second Grievance. (See id.) 3
6 (Dkt. No. 2); Ord. of Serv. 1 (Dkt. No. 9); Defs.' Mem. of
                                                                 3
Law in Supp. of Mot. (“Defs.' Mem.”) 1 (Dkt. No. 30).) 1                Although at one point the Complaint does not draw
Before the Court is Defendants' Motion To Dismiss pursuant              a clear distinction between the First Grievance
to Rule 12(b)(6) of the Federal Rules of Civil Procedure (the           and the Second Grievance, (see Compl. 7), it
“Motion”). (See Defs.' Not. of Mot. (Dkt. No. 28).) For the             also suggests that the grievance confiscated by
reasons that follow, Defendants' Motion is granted in part and          Vanlierop addressed Vanlierop's refusal to process
denied in part.                                                         Plaintiff's initial grievance, (see id. at 7, 10), which
                                                                        necessarily indicates that Plaintiff had written
1                                                                       a second grievance after Vanlierop refused to
       Because Plaintiff's Complaint includes several
                                                                        process the first. Specifically, Plaintiff suggests
       handwritten pages interspersed within a standard
                                                                        that the misbehavior report issued by Vanlierop
       complaint form, the Court will refer to the ECF
                                                                        was made in retaliation for the grievance she had
       page stamp at the top of each page. Note that
                                                                        seized, (see id. at 7), and Plaintiff alleges that the
       Plaintiff's Complaint refers to Defendant Spaulding
                                                                        misbehavior report was issued in retaliation for a
       as “A. Spaulding” and omits first names for all but


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        grievance regarding “Defendant Vanlierop's refusal            Plaintiff alleges that as a result of Defendants' actions,
        to accept and process [P]laintiff's grievance,” (id.          specifically their “constant threats and taunting,” he suffered
        at 10). Construing the Complaint liberally, the               “mental anguish and psychological issues,” as well as a
        Court therefore assumes there were two distinct               “loss of sleep.” (Id. at 8.) Plaintiff “was repeatedly seen”
        grievances: (1) the First Grievance (the subject of           by the Office of Mental Health at the Westchester County
        which is unclear), and (2) the Second Grievance,              Jail and was prescribed medication—Plaintiff does not
        which addressed Vanlierop's refusal to accept the             identify which one(s)—“to cope with the trauma caused
        First Grievance. It is the Second Grievance which             by the [D]efendants.” (Id.) He seeks a “permanent court
        Vanlierop allegedly confiscated, and for which                order” requiring administrators at the Westchester County
        she allegedly issued a false misbehavior report in            Department of Correction “to record all future disciplinary
        retaliation. (See id. at 7, 10.)                              hearings by audio/video.” (Id.) He also seeks $100,000 in
 *2 Around 11:30 A.M. on the following day (April 10),                compensatory damages and $60,000 in punitive damages.
Mabra and Kitt stopped by Plaintiff's cell door with the              (Id.)
housing unit officer. (Id. at 7.) Mabra ordered the housing
unit officer to open Plaintiff's door, which she did. (Id.) While        B. Procedural History
Kitt and the housing unit officer stood outside Plaintiff's           Plaintiff filed his Complaint on February 26, 2020. (Dkt. Nos.
cell and “act[ed] as lookouts,” Mabra entered Plaintiff's cell        1–2.) On April 8, 2020, the Court granted Plaintiff leave to
and “inquire[d] about” Plaintiff's grievance against Vanlierop.       proceed in forma pauperis. (Dkt. No. 6.) On April 21, 2020,
(Id. at 7, 9.) Before Plaintiff could respond, Mabra, using           the Court dismissed Plaintiff's claims against the Westchester
a “stiff open palm,” “shoved” Plaintiff against his cell wall         County Department of Correction and directed the Clerk of
and “demanded that [P]laintiff retract the contents of [his]          Court to add Vanlierop and the County as Defendants. (Dkt.
grievance.” (Id. at 9.) Plaintiff told Mabra “to go to hell.” (Id.)
                                                                      No. 9.) 5 On August 10, 2020, Defendants filed a pre-motion
Mabra, while exiting Plaintiff's cell, said, “I'm going to make
                                                                      letter outlining the grounds for their proposed motion to
your accommodations here a little more lengthy, your ass
                                                                      dismiss. (Dkt. No. 21.) Having received no response from
won't be making it home.” (Id.) 4                                     Plaintiff, the Court adopted a briefing schedule for the Motion
                                                                      on August 25, 2020. (Dkt. No. 22.) Defendants filed the
4                                                                     instant Motion and supporting papers on October 9, 2020.
        Quotations     from     Plaintiff's   submissions
        occasionally reflect minor corrections to spelling            (See Not. of Mot.; Decl. of Jordan L. Silver, Esq., in Supp.
        and grammar.                                                  of Mot. (Dkt. No. 29); Defs.' Mem.) Plaintiff failed to oppose
                                                                      the Motion, (see Dkt. No. 32), and on November 24, 2020,
After Vanlierop had issued the fabricated misbehavior report
                                                                      the Court deemed the Motion fully submitted, (Dkt. No. 33).
against Plaintiff, Defendant Roberts conducted a disciplinary
hearing. (Id. at 10.) At the hearing, Roberts denied Plaintiff's
                                                                      5
“repeated[ ] request[s]” to call witnesses and present audio                 The Court dismissed claims against the
and video evidence.” (Id.) Before the hearing had begun,                     Westchester County Department of Correction
Roberts stated that he had received several comments from the                because municipal agencies or departments do
“warden's office” indicating “that they were pissed off about                not have the capacity to be sued under New
[Plaintiff's] treatment of Defendant Vanlierop.” (Id.) Plaintiff             York law. See Omnipoint Commc'ns, Inc. v.
alleges that, contrary to Roberts' written disposition, he did               Town of LaGrange, 658 F. Supp. 2d 539, 552
not plead guilty to any of the charges. (Id. at 11.) He further              (S.D.N.Y. 2009) (“In New York, agencies of a
alleges that Roberts' handling of the hearing was “improperly                municipality are not suable entities.”); Hall v.
influenced by the warden's office.” (Id.) At the conclusion of               City of White Plains, 185 F. Supp. 2d 293,
the hearing, Roberts imposed a penalty of “several days of                   303 (S.D.N.Y. 2002) (“Under New York law,
cell confinement and loss of good time.” (Id. at 10.) Plaintiff              departments which are merely administrative arms
subsequently appealed the hearing disposition to Spaulding                   of a municipality do not have a legal identity
and Middleton. (Id. at 11.) He alleges that the outcome of                   separate and apart from the municipality and cannot
these appeals “[was] improper and unjust.” (Id.)                             sue or be sued.” (collecting cases)); see also N.Y.
                                                                             GEN. MUN. LAW § 2 (“The term ‘municipal
                                                                             corporation,’ as used in this chapter, includes only



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       a county, town, city and village.”). The Court              “[W]hen ruling on a defendant's motion to dismiss, a judge
       nevertheless concluded that in light of Plaintiff's         must accept as true all of the factual allegations contained
       pro se status and his “clear intention to assert            in the complaint,” Erickson v. Pardus, 551 U.S. 89, 94
       claims against the County of Westchester,” it would         (2007) (per curiam), and “draw[ ] all reasonable inferences
       construe the Complaint as asserting claims against          in favor of the plaintiff,” Daniel v. T&M Prot. Res., Inc.,
       the County. (Dkt. No. 9.) Likewise, given Plaintiff's       992 F. Supp. 2d 302, 304 n.1 (S.D.N.Y. 2014) (citing Koch
       intention to assert claims against Vanlierop, the           v. Christie's Int'l PLC, 699 F.3d 141, 145 (2d Cir. 2012)).
       Court directed that Vanlierop be added as a                 Additionally, “[i]n adjudicating a Rule 12(b)(6) motion, a
       Defendant. (Id.)                                            district court must confine its consideration to facts stated
                                                                   on the face of the complaint, in documents appended to the
                                                                   complaint or incorporated in the complaint by reference, and
                        II. Discussion                             to matters of which judicial notice may be taken.” Leonard
                                                                   F. v. Isr. Disc. Bank of N.Y., 199 F.3d 99, 107 (2d Cir. 1999)
   A. Standard of Review
                                                                   (quotation marks omitted); see also Wang v. Palmisano, 157
 *3 The Supreme Court has held that although a complaint
                                                                   F. Supp. 3d 306, 317 (S.D.N.Y. 2016) (same). However,
“does not need detailed factual allegations” to survive a
                                                                   when the complaint is from a pro se plaintiff, the Court may
motion to dismiss, “a plaintiff's obligation to provide the
                                                                   consider “materials outside the complaint to the extent that
‘grounds’ of his [or her] ‘entitlement to relief’ requires more
                                                                   they are consistent with the allegations in the complaint,”
than labels and conclusions, and a formulaic recitation of
                                                                   Alsaifullah v. Furco, No. 12-CV-2907, 2013 WL 3972514, at
the elements of a cause of action will not do.” Bell Atl.
                                                                   *4 n.3 (S.D.N.Y. Aug. 2, 2013) (quotation marks omitted),
Corp. v. Twombly, 550 U.S. 544, 555 (2007) (alteration
                                                                   including “documents that a pro se litigant attaches to his
and citation omitted). Indeed, Rule 8 of the Federal Rules
                                                                   opposition papers,” Agu v. Rhea, No. 09-CV-4732, 2010
of Civil Procedure “demands more than an unadorned,
                                                                   WL 5186839, at *4 n.6 (E.D.N.Y. Dec. 15, 2010) (italics
the-defendant-unlawfully-harmed-me accusation.” Ashcroft
                                                                   omitted), statements by the plaintiff “submitted in response
v. Iqbal, 556 U.S. 662, 678 (2009). “Nor does a complaint
                                                                   to [a] defendant['s] request for a pre-motion conference,”
suffice if it tenders naked assertions devoid of further factual
                                                                   Jones v. Fed. Bureau of Prisons, No. 11-CV-4733, 2013 WL
enhancement.” Id. (alteration and quotation marks omitted).
                                                                   5300721, at *2 (E.D.N.Y. Sept. 19, 2013), “documents either
Rather, a complaint's “[f]actual allegations must be enough to
                                                                   in [the] plaintiff['s] possession or of which [the] plaintiff[ ]
raise a right to relief above the speculative level.” Twombly,
                                                                   had knowledge and relied on in bringing suit,” Chambers v.
550 U.S. at 555. Although “once a claim has been stated
                                                                   Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002) (quotation
adequately, it may be supported by showing any set of facts
                                                                   marks omitted), and “his opposition memorandum,” Gadson
consistent with the allegations in the complaint,” id. at 563,
                                                                   v. Goord, No. 96-CV-7544, 1997 WL 714878, at *1 n.2
and a plaintiff must allege “only enough facts to state a
                                                                   (S.D.N.Y. Nov. 17, 1997).
claim to relief that is plausible on its face,” id. at 570, if a
plaintiff has not “nudged [his] claims across the line from
                                                                   Where, as here, a plaintiff proceeds pro se, the court
conceivable to plausible, the[ ] complaint must be dismissed,”
                                                                   must “construe[ ] [his] [complaint] liberally and interpret[ ]
id.; see also Iqbal, 556 U.S. at 679 (“Determining whether
                                                                   [it] to raise the strongest arguments that [it] suggest[s].”
a complaint states a plausible claim for relief will ... be a
                                                                   Sykes v. Bank of Am., 723 F.3d 399, 403 (2d Cir. 2013)
context-specific task that requires the reviewing court to draw
                                                                   (quotation marks omitted). However, “the liberal treatment
on its judicial experience and common sense. But where the
                                                                   afforded to pro se litigants does not exempt a pro se
well-pleaded facts do not permit the court to infer more than
                                                                   party from compliance with relevant rules of procedural
the mere possibility of misconduct, the complaint has alleged
                                                                   and substantive law.” Bell v. Jendell, 980 F. Supp. 2d 555,
—but it has not ‘show[n]’—‘that the pleader is entitled to
                                                                   559 (S.D.N.Y. 2013) (quotation marks omitted); see also
relief.’ ” (alteration in original) (citation omitted) (quoting
                                                                   Caidor v. Onondaga County, 517 F.3d 601, 605 (2d Cir.
FED. R. CIV. P. 8(a)(2))); id. at 678–79 (“Rule 8 marks
                                                                   2008) (“[P]ro se litigants generally are required to inform
a notable and generous departure from the hypertechnical,
                                                                   themselves regarding procedural rules and to comply with
code-pleading regime of a prior era, but it does not unlock the
                                                                   them.” (citation and italics omitted)).
doors of discovery for a plaintiff armed with nothing more
than conclusions.”).
                                                                     B. Analysis


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Although Plaintiff does not identify the precise nature of his      here.”); Nji v. Heath, No. 13-CV-200, 2013 WL 6250298, at
claims under the First, Eighth, and Fourteenth Amendments,          *6 (S.D.N.Y. Dec. 2, 2013) (“[I]nmate grievance programs
the Court interprets the Complaint to raise eight distinct          created by state law are not required by the Constitution
claims. Specifically, the Complaint claims (i) that Vanlierop       and consequently[,] allegations that prison officials violated
and Lopez improperly refused to accept Plaintiff's First            those procedures do[ ] not give rise to a cognizable §
Grievance (the “Grievance Claim”), (see Compl. 6–7); (ii)           1983 claim.” (citation omitted)); Mimms v. Carr, No. 09-
that Vanlierop retaliated against Plaintiff in response to the      CV-5740, 2011 WL 2360059, at *10 (E.D.N.Y. June 9, 2011)
Second Grievance by confiscating this grievance and filing a        (“It is well-established that prison grievance procedures do
false misbehavior report (the “Vanlierop Retaliation Claim”),       not create a due-process-protected liberty interest.”), aff'd,
(see id. at 7, 10); (iii) that Mabra also retaliated against        548 F. App'x 29 (2d Cir. 2013); Torres v. Mazzuca, 246
Plaintiff in response to the Second Grievance by entering           F. Supp. 2d 334, 342 (S.D.N.Y. 2003) (“Prison grievance
Plaintiff's cell, shoving him against a wall, and demanding         procedures do not confer any substantive right upon an
that he retract the contents of the Second Grievance (the           inmate requiring the procedural protections envisioned by
“Mabra Retaliation Claim” and, together with the Vanlierop          the Fourteenth Amendment.”). “Rather, in the event that
Retaliation Claim, the “Retaliation Claims”), (see id. at 7, 9);    prison officials ignore a grievance that raises constitutional
(iv) that Mabra used excessive force when demanding that            claims, the proper avenue to seek relief is ... directly
Plaintiff retract the contents of the Second Grievance (the         petitioning the government for redress of his claims.” Harris
“Excessive Force Claim”), (see id. at 9); (v) that Kitt failed to   v. Westchester Cnty. Dep't of Corr., No. 06-CV-2011, 2008
intervene when Mabra was assaulting Plaintiff (the “Failure         WL 953616, at *5 (S.D.N.Y. Apr. 3, 2008) (collecting cases).
to Intervene Claim”), (see id. at 7, 9); (vi) that Roberts,         Consequently, “courts regularly dismiss claims brought to
by denying Plaintiff the opportunity to call witnesses and          remedy alleged violations of inmate grievance procedures.”
present audio and video evidence at his disciplinary hearing,       Martinez v. Schriro, No. 14-CV-3965, 2017 WL 87049, at
violated Plaintiff's procedural due process rights (the “Roberts    *3 (S.D.N.Y. Jan. 9, 2017) (alteration omitted). Accordingly,
Procedural Due Process Claim”), (see id. at 10–11); (vii)           any due process claim against Vanlierop and Lopez based
that Spaulding and Middleton, by affirming Roberts' decision,       on their purported interference with the grievance process is
also violated Plaintiff's procedural due process rights (the        dismissed.
“Spaulding/Middleton Procedural Due Process Claim” and,
together with the “Roberts Procedural Due Process Claim,”
the “Procedural Due Process Claims”), (see id. at 11); and
                                                                                     2. The Retaliation Claims
(viii) that the County should be liable for the foregoing
violations (the “Monell Claim”). The Court will address these       “Prisoners have a constitutional right to petition the
claims in order.                                                    government, and it is a violation of § 1983 for prison
                                                                    officials to retaliate against prisoners for the exercise of
                                                                    that right.” Perkins v. Perez, No. 17-CV-1341, 2019 WL
                   1. The Grievance Claim                           1244495, at *13 (S.D.N.Y. Mar. 18, 2019) (citation omitted).
                                                                    To state a First Amendment claim of retaliation, an inmate
 *4 As discussed, Plaintiff alleges that Vanlierop and Lopez        must allege “(1) that the speech or conduct at issue was
refused to accept the First Grievance. (Id. at 6–7.) To             protected, (2) that the defendant took adverse action against
the extent Plaintiff asserts a discrete claim based on these        the [inmate], and (3) that there was a causal connection
allegations, the Court must dismiss the claim.                      between the protected conduct and the adverse action.”
                                                                    Holland v. Goord, 758 F.3d 215, 225 (2d Cir. 2014) (citation
“It is well-established that inmates do not have a protected        and alteration omitted). An adverse action is any “retaliatory
liberty interest in the processing of their prison grievances.”     conduct that would deter a similarly situated individual of
Crichlow v. Fischer, No. 15-CV-6252, 2017 WL 920753,                ordinary firmness from exercising his or her constitutional
at *7 (W.D.N.Y. Mar. 7, 2017); see also Corley v. City              rights.” Davis v. Goord, 320 F.3d 346, 353 (2d Cir. 2003)
of New York, No. 14-CV-3202, 2017 WL 4357662, at *7                 (quotation marks omitted). In determining whether a prison
(S.D.N.Y. Sept. 28, 2017) (“[The] [p]laintiff did not have a        official's conduct constitutes adverse action, “the court's
liberty interest to access the [prison's] grievance program that    inquiry must be tailored to the different circumstances in
would provide a basis for a constitutional due process claim        which retaliation claims arise, bearing in mind that prisoners



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may be required to tolerate more than average citizens.”         filing of a false misbehavior report. (See Compl. 7, 10.)
Id. (quotation marks and alterations omitted). “[B]ecause        Although inmates have no constitutional right to be free
virtually any adverse action taken against a prisoner by         from a cell search, including retaliatory searches, see, e.g.,
a prison official—even those otherwise not rising to the         Joseph v. Annucci, No. 18-CV-7197, 2020 WL 409744, at
level of a constitutional violation—can be characterized as      *5 (S.D.N.Y. Jan. 23, 2020) (stating that inmates have “no
a constitutionally proscribed retaliatory act,” the Second       constitutional right to be free from cell searches of any kind,
Circuit has instructed that district courts must “approach       including retaliatory cell searches” (citation omitted)), they
prisoner retaliation claims with skepticism and particular       may nevertheless “assert a retaliation claim for retaliatory
care.” Dolan v. Connolly, 794 F.3d 290, 295 (2d Cir. 2015)       conduct in connection with a cell search,” Hill v. Laird, No.
(quotation marks omitted); see also Graham v. Henderson, 89      06-CV-126, 2014 WL 1315226, at *8 (E.D.N.Y. Mar. 31,
F.3d 75, 79 (2d Cir. 1996) (“Retaliation claims by prisoners     2014), including a prison official's seizure of legal documents
are prone to abuse since prisoners can claim retaliation for     or administrative grievances, Smith v. City of New York, No.
every decision they dislike.” (quotation marks omitted)).        03-CV-7576, 2005 WL 1026551, at *3 (S.D.N.Y. May 3,
Accordingly, First Amendment retaliation claims must be          2005) (holding on summary judgment that the defendants'
“supported by specific and detailed factual allegations” and     “destruction of [the plaintiff's] legal papers” constituted
may not be stated “in wholly conclusory terms.” Dolan, 794       “an adverse action substantial enough to satisfy the second
F.3d at 295 (citation omitted).                                  prong of the retaliation test”). At this early stage of the
                                                                 case, Plaintiff's allegation that Vanlierop seized the Second
 *5 As noted, Plaintiff alleges that Vanlierop and Mabra both    Grievance is sufficient to state an adverse action. See Yunus v.
retaliated against him in response to the Second Grievance       Jones, No. 16-CV-1282, 2017 WL 9511176, at *9 (N.D.N.Y.
—Vanlierop by confiscating the grievance and filing a false      Aug. 23, 2017) (concluding that “the allegation that [the]
misbehavior report, (see Compl. 7, 10), and Mabra by             defendant ... confiscated [the] plaintiff's personal property”—
entering Plaintiff's cell, shoving him against a wall, and       including prison grievances—“in retaliation for the exercise
demanding a retraction, (id. at 7, 9). The Court will evaluate   of his First Amendment grievance rights [was] sufficient to
each claim separately under the three-part test set out in       withstand a motion to dismiss”), report and recommendation
Holland.                                                         adopted, 2017 WL 5956762 (N.D.N.Y. Dec. 1, 2017);
                                                                 Guillory v. Haywood, No. 13-CV-1564, 2015 WL 268933,
                                                                 at *21 (N.D.N.Y. Jan. 21, 2015) (order adopting report
                                                                 & recommendation) (holding that the plaintiff adequately
             a. The Vanlierop Retaliation Claim
                                                                 stated a claim for retaliation where he alleged that his legal
With respect to the first prong of the Holland test, the         documents were confiscated shortly after complaints over
Complaint plausibly alleges that Vanlierop's actions against     his treatment at the prison facility); Gomez v. Graham, No.
Plaintiff came in response to a form of protected conduct        14-CV-201, 2014 WL 5475348, at *5 (N.D.N.Y. Oct. 29,
—namely, Plaintiff's preparation of the Second Grievance.        2014) (concluding that “[a]t th[e] early juncture of” a motion
“It is well-established that inmates' filing of grievances is    to dismiss, allegations that the plaintiff's legal papers were
a constitutionally protected exercise of their right under the   confiscated were sufficient to state a retaliation claim).
First Amendment to petition the government for the redress
of grievances.” Mateo v. Bristow, No. 12-CV-5052, 2013 WL         *6 Similarly, although “a prison inmate has no general
3863865, at *4 (S.D.N.Y. July 16, 2013) (citing Graham, 89       constitutional right to be free from being falsely accused
F.3d at 80); see also Terry v. Hulse, No. 16-CV-252, 2018 WL     in a misbehavior report,” Boddie v. Schnieder, 105 F.3d
4682784, at *10 (S.D.N.Y. Sept. 28, 2018) (same); Roseboro       857, 862 (2d Cir. 1997); see also Thomas v. Calero, 824
v. Gillespie, 791 F. Supp. 2d 353, 367 & n.21 (S.D.N.Y.          F. Supp. 2d 488, 499 (S.D.N.Y. 2011) (noting that “[t]he
2011) (same; collecting cases). Thus, Plaintiff's allegations    Second Circuit has long held ... that a prison inmate has no
with respect to Vanlierop are sufficient to satisfy the first    constitutional right to be free from being falsely accused in a
prong of the Holland test.                                       misbehavior report”), there is an exception where the inmate
                                                                 can “show either (1) that he was disciplined without adequate
With respect to Holland’s second prong, Plaintiff alleges        due process as a result of the report; or (2) that the report
two distinct forms of possibly adverse action by Vanlierop       was issued in retaliation for exercising a constitutionally
—(1) her confiscation of the Second Grievance and (2) her        protected right,” Willey v. Kirkpatrick, 801 F.3d 51, 63



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(2d Cir. 2015) (quotation marks omitted); see also Cook              issued just one day after the plaintiff had a confrontation
v. Quattrocchi, No. 19-CV-11659, 2020 WL 564082, at *2               with the defendants). “Although temporal proximity between
(S.D.N.Y. Feb. 5, 2020) (same). Here, Vanlierop allegedly            constitutionally protected activity and potentially retaliatory
issued the false misbehavior report in retaliation for Plaintiff's   activity generally will not, on its own, allow a plaintiff to
participation in constitutionally protected conduct—namely,          withstand a motion to dismiss,” Salahuddin v. Mead, No.
his preparation of the Second Grievance—and thus, the                95-CV-8581, 2002 WL 1968329, at *6 n.6 (S.D.N.Y. Aug.
Complaint sufficiently alleges an adverse action based on            26, 2002), courts may “exercise [their] judgment about the
Vanlierop's issuance of the misbehavior report. See Gill v.          permissible inferences that can be drawn from temporal
Pidlypchak, 389 F.3d 379, 384 (2d Cir. 2004) (concluding that        proximity in the context of particular cases,” Quezada v.
the plaintiff sufficiently alleged an adverse action based on        Roy, No. 14-CV-4056, 2017 WL 6887793, at *10 (S.D.N.Y.
the defendants' filing of false misbehavior reports in response      Dec. 14, 2017) (quotation marks omitted). Though Plaintiff
to the plaintiff's prior grievance submissions); Arriaga v.          appears to rely solely on the temporal proximity between his
Gage, No. 16-CV-1628, 2019 WL 2053990, at *6 (S.D.N.Y.               protected conduct and Vanlierop's alleged retaliation, some
May 9, 2019) (concluding on a motion to dismiss that                 courts in this District have found that, at the pleadings stage
allegedly false misbehavior reports issued in retaliation for        of a case, such close temporal proximity is sufficient to
the plaintiff's grievances “qualif[ied] as adverse actions”);        establish a causal connection, particularly where, as here, the
Mateo v. Fischer, 682 F. Supp. 2d 423, 434 (S.D.N.Y. 2010)           defendant appears to retaliate in response to grievance of
(concluding that the defendants' alleged retaliation—“[f]iling       which he (or she) was the subject. See Vogelfang v. Capra,
a false misbehavior report about [the plaintiff]” in response        889 F. Supp. 2d 489, 518 (S.D.N.Y. 2012) (concluding, for
to the plaintiff's submission of a grievance—“would deter a          purposes of a motion to dismiss, that where the defendant
similarly situated person of ordinary firmness from exercising       filed a false misbehavior report against the plaintiff three
his First Amendment rights,” and therefore “qualifie[d] as an        days after the plaintiff had filed a grievance against that
adverse action”).                                                    defendant, “[t]he temporal proximity of th[o]se two events,
                                                                     as well as the common identity between the subject of [the
Finally, in considering whether “there was a causal                  plaintiff's] grievance and the author of the [misbehavior
connection between the protected conduct and the adverse             report], plausibly suggest[ed]” a causal connection); Mateo,
action” under Holland's third prong, see 758 F.3d at 225,            682 F. Supp. 2d at 435 (concluding that, on a motion to
“a court may infer an improper or retaliatory motive in              dismiss, the plaintiff's allegation that the defendant filed a
the adverse action from: (1) the temporal proximity of the           false misbehavior report one day after the plaintiff filed
filing to the grievance and the disciplinary action; (2) the         a sexual harassment grievance against the defendant was
inmate's prior good disciplinary record; (3) vindication at a        sufficient to plead the causation element of his retaliation
hearing on the matter; and (4) statements by the defendant           claim). 7 Consistent with these cases, the Court concludes that
regarding his motive for disciplining the plaintiff,” Thomas         Plaintiff has adequately alleged the causation element of his
v. DeCastro, No. 14-CV-6409, 2019 WL 1428365, at *9                  retaliation claim.
(S.D.N.Y. Mar. 29, 2019) (citation omitted). Here, Plaintiff
alleges that Vanlierop seized the Second Grievance and issued        6      Plaintiff does not specify precisely when he
the false misbehavior report on or around April 9, (see Compl.
                                                                            drafted the Second Grievance, but it necessarily
7, 10)—only five days after the incident that was the subject of
                                                                            was sometime between April 4 and April 9. See
the Second Grievance, (see id. at 6, 10). 6 The Second Circuit              generally n.3 supra.
has “held that temporal proximity between protected conduct
and an adverse action constitutes circumstantial evidence of         7      Note, however, that Plaintiff may not rely on
retaliation.” Harnage v. Brighthaupt, 168 F. Supp. 3d 400,                  temporal proximity alone to survive a summary
413 (D. Conn. 2016) (quoting Faulk v. Fisher, 545 F. App'x                  judgment motion. See, e.g., Bryant v. Goord, No.
56, 58 (2d Cir. 2013)), aff'd, 720 F. App'x 79 (2d Cir. 2018);              99-CV-9442, 2002 WL 553556, at *2 (S.D.N.Y.
see also Washington v. Afify, 681 F. App'x 43, 46 (2d Cir.                  Apr. 12, 2002) (“Although the temporal proximity
2017) (summary order) (same); Mateo, 2013 WL 3863865,                       of the filing of the grievance and the issuance of
at *6 (finding a “plausible inference” that the defendants                  the misbehavior report is circumstantial evidence
issued a misbehavior report in retaliation for the plaintiff's              of retaliation, such evidence, without more, is
past grievances based in part on the fact that the report was               insufficient to survive summary judgment.”).



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 *7 Accordingly, the Vanlierop Retaliation Claim survives            contents of” the Second Grievance; and (3) Mabra's act of
the instant Motion.                                                  shoving Plaintiff against the wall. (See Compl. 9.)

                                                                     With respect to the first action, “verbal threats may qualify
                                                                     as adverse actions” in the prison retaliation context only
               b. The Mabra Retaliation Claim
                                                                     where they are “sufficiently specific and direct.” White v.
Mabra allegedly retaliated against Plaintiff in response to          Westchester County, No. 18-CV-730, 2018 WL 6726555,
the Second Grievance by entering his cell, shoving him               at *17 (S.D.N.Y. Dec. 21, 2018) (quotation marks omitted)
against a wall, demanding that Plaintiff retract the contents        (collecting cases); see also Terry v. Hulse, No. 16-CV-252,
of the Second Grievance, and then threatening Plaintiff that         2018 WL 4682784, at *11 (S.D.N.Y. Sept. 28, 2018) (same);
he would “make [Plaintiff's] accommodations ... a little             Mateo, 682 F. Supp. 2d at 434 (explaining that “[t]he less
more lengthy,” such that Plaintiff “[wouldn't] be making it          direct and specific a threat, the less likely it will deter an
home.” (Compl. 7, 9.) “As a general matter, it is difficult to       inmate from exercising his First Amendment rights”). “Thus,
establish one defendant's retaliation for complaints against         vague intimations of some unspecified harm generally will
another defendant,” Kotler v. Boley, No. 17-CV-239, 2018             not rise to the level of adverse action for the purpose of
WL 4682026, at *4 n.2 (S.D.N.Y. Sept. 28, 2018) (collecting          a First Amendment retaliation claim.” Bumpus v. Canfield,
cases)—in this case, Mabra's retaliation for complaints              495 F. Supp. 2d 316, 326 (W.D.N.Y. 2007). Here, Mabra's
against Vanlierop. But courts have recognized an exception           alleged threat is more benign than many threats which courts
where, for example, the defendant made clear that he or she          in the Second Circuit have found insufficient to constitute
was retaliating on behalf of a colleague. See, e.g., Headley         an adverse action. See Terry, 2018 WL 4682784, at *11
v. Fisher, No. 06-CV-6331, 2008 WL 1990771, at *18                   (dismissing a First Amendment retaliation claim because
(S.D.N.Y. May 7, 2008) (finding that the plaintiff adequately        the alleged threat was insufficiently specific and direct even
alleged a retaliation claim where the defendant hit him and          where corrections officers stated that “they were gonna kill”
stated, “this is for CO. Simpson,” the defendant against whom        the plaintiff (record citation and alteration omitted)); see also
the plaintiff had filed a grievance). That is the case here, where   Albritton v. Morris, No. 13-CV-3708, 2016 WL 1267799, at
Mabra allegedly made clear that he was acting in response to         *18 (S.D.N.Y. Mar. 30, 2016) (dismissing First Amendment
the grievance concerning Vanlierop. (See Compl. 9 (alleging          retaliation claims because a corrections officer's statements
that Mabra entered Plaintiff's cell and “inquire[d] about            to a plaintiff that his “grievances were unlikely to succeed”
the grievance that [P]laintiff had written against Defendant         and that the officer “would handle things ‘his way’ ” were
Vanlierop” before shoving Plaintiff and demanding that he            insufficiently specific or direct); Barrington v. New York, 806
“retract the contents of the grievance” against Vanlierop).) For     F. Supp. 2d 730, 746 (S.D.N.Y. 2011) (granting summary
reasons discussed with respect to Vanlierop in Part II.B.2.a,        judgment in favor of a defendant who told an inmate that
supra, the Court concludes that Plaintiff has adequately             “ ‘me and my boys ... going to get you’ while brandishing
alleged Holland's first and third elements with respect to           a copy of a grievance”); Bilal v. N.Y. State Dep't of Corr.,
Mabra. That is, the Complaint plausibly suggests that Mabra's        No. 09-CV-8433, 2010 WL 2506988, at *16 (S.D.N.Y. June
allegedly retaliatory actions were in response to Plaintiff's        21, 2010) (“Neither [the defendant's] comment ... that [the
exercise of constitutionally protected conduct (his preparation      plaintiff] was ‘lucky’ because correction officers ‘usually
of the Second Grievance), and Mabra's actions occurred on            fuck people up for writing a bunch of bullshit grievances’ nor
April 10, just one day after Vanlierop seized the Second             his ... comment that ‘[y]ou're not the only one who can write.
Grievance, (see Compl. 7), which itself had only been drafted        I'm willing to bet you'll break or get broke up,’ was a ‘direct’
within the past several days, see notes 3 & 6 supra, thereby         or ‘specific’ threat.” (alteration and record citations omitted)),
establishing the necessary causal connection.                        aff'd sub nom., Bilal v. White, 494 F. App'x 143 (2d Cir.
                                                                     2012); cf. White, 2018 WL 6726555, at *14 (“This allegation
The only question remaining is whether Mabra's conduct               constitutes a specific, clear threat made in response to [the]
constitutes adverse action so as to satisfy Holland's second         [p]laintiff's prospective grievance against [the] [d]efendant ....
prong. Here, there are three discrete actions to consider:           [The defendant] threatened physical harm to [the] [p]laintiff,
(1) Mabra's threat to Plaintiff (“[Y]our ass won't be making         and did so with particularity, by pointing to the inmates who
it home”); (2) Mabra's demand that Plaintiff “retract the            would harm [the] [p]laintiff and explaining why they would




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harm him at her direction.”). In sum, Plaintiff has failed to      Salgado v. NYS Dep't of Corr. & Cmty. Supervision, No.
allege an adverse action based on Mabra's alleged threat.          13-CV-1108, 2016 WL 6311296, at *3, *8 (W.D.N.Y. Sept.
                                                                   15, 2016) (concluding that slamming the plaintiff's finger
 *8 With respect to Mabra's second action, case law suggests       in a cell window and beating him constituted adverse
that where a defendant demands that an inmate withdraw             action for purposes of retaliation claim); Baskerville, 224 F.
a prison grievance, such a demand does not give rise               Supp. 2d at 726, 732 (holding that a “retaliatory assault”
to a retaliation claim unless the demand is accompanied            in which the plaintiff was placed in a chokehold, shoved
by a sufficiently specific and direct threat. Here, because        into the bars of his cell, and choked until he “was on the
Mabra's threat was not sufficiently specific or direct, his        verge of collapsing” “sufficiently describe[d] adverse conduct
alleged demand that Plaintiff “retract the contents” of the        that would deter a reasonable inmate from exercising his
Second Grievance does not constitute an adverse action. See        constitutional rights”). By contrast, courts have found that
Rodriguez v. Patchen, No. 13-CV-1086, 2018 WL 2122877,             shoving an inmate or comparable conduct is insufficient
at *9 (W.D.N.Y. Mar. 1, 2018) (concluding on summary               to constitute an adverse action. See Flynn v. Ward, No.
judgment that the defendant's alleged “threat[ ] to use physical   15-CV-1028, 2018 WL 3195095, at *9 (N.D.N.Y. June 7,
violence against [the] [p]laintiff unless [he] withdrew his        2018) (observing that “[a]lthough an alleged assault need
inmate grievance” did not establish a retaliation claim because    not rise to the level of an Eighth Amendment excessive
“physical violence” constituted a vague threat), report and        force violation in order to be considered an adverse action
recommendation adopted, 2018 WL 2119768 (W.D.N.Y. May              for purposes of First Amendment retaliation analysis, [the
8, 2018); Bartley v. Collins, No. 95-CV-10161, 2006 WL             plaintiff's] allegations that [a defendant] ‘push[ed] him
1289256, at *6 (S.D.N.Y. May 10, 2006) (concluding on              around’ ” was “de minimis” and therefore insufficient
summary judgment that “verbal threats such as ‘we [are]            to constitute adverse action (record citation omitted) (last
going to get you, you better drop the [law]suit,’ do not rise to   alteration in original)), report and recommendation adopted,
the level of adverse action” (footnote omitted)); cf. St. Pierre   2018 WL 3193201 (N.D.N.Y. June 28, 2018); Rivera v.
v. Semple, No. 14-CV-1866, 2015 WL 6872442, at *4 (D.              Goord, 119 F. Supp. 2d 327, 340 (S.D.N.Y. 2000) (concluding
Conn. Nov. 9, 2015) (finding that the plaintiff adequately         that particular defendants' “alleged acts of retaliation”—“
stated a retaliation claim against a nurse who threatened          ‘shov[ing]’ [the plaintiff] while taking him to the [Special
to continue to stop providing him with his prescribed pain         Housing Unit (“SHU”)]”—“even if assumed to be true,
medication unless he withdrew a grievance against her). Thus,      [were] de minimis ... [and] would not chill a person
Plaintiff cannot state a retaliation claim against Mabra based     of ordinary firmness from continuing to engage in First
on Mabra's demand that he retract the Second Grievance.            Amendment activity” (italics omitted)); see also, e.g., Myers
                                                                   v. Saxton, No. 20-CV-465, 2021 WL 149062, at *7 (N.D.N.Y.
With respect to Mabra's third action, physical assault may,        Jan. 15, 2021) (“[I]n this circuit, courts have routinely
depending on its severity, constitute an adverse action            concluded that the type of physical assault suffered by [the]
for purposes of a First Amendment retaliation claim. See           plaintiff in this case (i.e., having a food tray thrown at him)
Flemming v. King, No. 14-CV-316, 2016 WL 5219995, at               is de minimis for purposes of a retaliation claim and is not
*5 (N.D.N.Y. June 20, 2016), report and recommendation             sufficient to satisfy the adverse action element.”); Woodward
adopted, 2016 WL 5173282 (N.D.N.Y. Sept. 21, 2016);                v. Afify, No. 14-CV-856, 2018 WL 9875253, at *11 (W.D.N.Y.
see also Baskerville v. Blot, 224 F. Supp. 2d 723, 731–            Sept. 28, 2018) (“[V]iewing the allegations here in the light
32 (S.D.N.Y. 2002) (holding that a “retaliatory assault”           most favorable to [the] plaintiff, the [c]ourt concludes that a
sufficiently described an adverse action for purposes of a         single punch is an insufficient adverse action to meet even
retaliation claim). Notably, “the alleged assault need not rise    the lower standard required in a First Amendment retaliation
to the level of an Eighth Amendment excessive force violation      claim.”), report and recommendation adopted, 2019 WL
in order to be considered an adverse action for purposes of        5394217 (W.D.N.Y. Oct. 22, 2019). Accordingly, Plaintiff has
First Amendment retaliation analysis.” Flemming, 2016 WL           failed to allege an adverse action taken by Mabra.
5219995, at *5. Even in light of this lower standard, however,
Mabra's alleged action is still insufficient to constitute an       *9 Because Plaintiff has failed to allege adequately the
adverse action. The cases in which courts have recognized          “adverse action” prong of his retaliation claim against Mabra,
assault as a form of adverse action have involved markedly         the Court dismisses the Mabra Retaliation Claim.
more violent conduct than that alleged here. See, e.g.,



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                                                                   “forcefully ‘compressed’ against the wall” was not a violation
                                                                   of the Eighth Amendment and noting that “[c]ourts in this
                3. The Excessive Force Claim
                                                                   Circuit have routinely found such types of minimal injuries
To the extent Plaintiff alleges a distinct excessive force claim   and pain insufficiently serious or harmful to satisfy the
against Mabra based on his act of shoving Plaintiff into his       objective element of the Eighth Amendment analysis” (citing
cell wall, (see Compl. 9), this claim fails for reasons already    cases)), report and recommendation adopted, 2011 WL
discussed: Just as the act of shoving an inmate fails to satisfy   5877548 (S.D.N.Y. Nov. 23, 2011); James v. Phillips, No.
the relaxed standard necessary to allege an “adverse action,”      05-CV-1539, 2008 WL 1700125, at *5 (S.D.N.Y. Apr. 9,
it necessarily fails to satisfy the more demanding standard        2008) (concluding that a guard's “shov[ing] of an inmate”
necessary to establish an Eighth Amendment excessive force         constituted a de minimis use of force that could not give rise
claim.                                                             to a viable excessive force claim); Show v. Patterson, 955
                                                                   F. Supp. 182, 192–93 (S.D.N.Y. 1997) (concluding that the
The Eighth Amendment's guarantee of freedom from “cruel            alleged force—“pushing [the plaintiff] against the wall”—
and unusual punishment” encompasses “restraints on prison          was “de minimis and thus not protected by the Eighth
officials, who may not, for example, use excessive physical        Amendment”); Bryan v. Admin. of F.C.I. Otisville, 897 F.
force against prisoners.” Farmer v. Brennan, 511 U.S. 825,         Supp. 134, 137 (S.D.N.Y. 1995) (“The Second Circuit has
832 (1994). “[An] [a]nalysis of cruel and unusual punishment       deemed brief confrontations between prisoners and guards
claims requires both objective examination of the conduct's        such as the pushing incident alleged here insignificant
effect and a subjective inquiry into the defendant's motive for    for Eighth Amendment purposes.”). Accordingly, the Court
the conduct.” Manley v. Grossman, No. 13-CV-1974, 2017             dismisses the Excessive Force Claim.
WL 4326541, at *8 (S.D.N.Y. Sept. 27, 2017). The objective
element focuses on the harm done “in light of contemporary
standards of decency,” Wright v. Goord, 554 F.3d 255, 268                        4. The Failure to Intervene Claim
(2d Cir. 2009) (quotation marks omitted), and asks whether
“the deprivation alleged is ‘sufficiently serious,’ or ‘harmful     *10 Construed liberally, the Complaint raises a claim for
enough,’ to reach constitutional dimensions,” Romano v.            failure to intervene against Kitt. (Compl. 7, 9.)
Howarth, 998 F.2d 101, 105 (2d Cir. 1993) (citing Wilson v.
Seiter, 501 U.S. 294, 298, 303 (1991)). “Not every push or         Under the Eighth Amendment, prison officials must “take
shove, even if it may later seem unnecessary in the peace          reasonable measures to guarantee the safety of inmates in
of a judge's chambers, violates a prisoner's constitutional        their custody.” Hayes v. N.Y. C. Dep't of Corr., 84 F.3d 614,
rights.” Boddie v. Schnieder, 105 F.3d 857, 862 (2d Cir. 1997)     620 (2d Cir. 1996). Moreover, “[l]aw enforcement officials,
(citation omitted). The subjective element requires a showing      including prison officials, can be held liable under § 1983
that the defendant “had the necessary level of culpability,        for failing to intervene in a situation where another official is
shown by actions characterized by wantonness' in light             violating an inmate's constitutional rights, including the use of
of the particular circumstances surrounding the challenged         excessive force, in their presence.” McRae v. Gentile, No. 14-
conduct.” Wright, 554 F.3d at 268 (citation omitted).              CV-783, 2015 WL 7292875, at *2 (N.D.N.Y. Oct. 20, 2015),
                                                                   report and recommendation adopted, 2015 WL 7300540
Here, even assuming Plaintiff could satisfy the subjective         (N.D.N.Y. Nov. 18, 2015); see also Anderson v. Branen,
element of his excessive force claim, the Court finds no basis     17 F.3d 552, 557 (2d Cir. 1994) (“It is widely recognized
to conclude that the alleged use of force was “objectively         that all law enforcement officials have an affirmative duty
‘harmful enough’ or ‘sufficiently serious’ ” to violate the        to intervene to protect the constitutional rights of citizens
Eighth Amendment. Crawford v. Cuomo, 796 F.3d 252,                 from infringement by other law enforcement officers in their
256 (2d Cir. 2015) (citation omitted). Courts in the Second        presence.” (collecting cases)), reh'g denied, 27 F.3d 29 (2d
Circuit have found that comparable uses of force—where a           Cir. 1994). Specifically, “[a]n officer who fails to intercede
corrections officer forcefully shoves or pushes an inmate—         is liable for the preventable harm caused by the actions of
are insufficient to satisfy the objective prong of an excessive    the other officers where that officer observes or has reason
force claim. See, e.g., Tavares v. City of New York, No.           to know that excessive force is being used,” provided there
08-CV-3782, 2011 WL 5877550, at *5–6 (S.D.N.Y. Oct.                was “a realistic opportunity to intervene to prevent the harm
17, 2011) (holding that a pat frisk where the plaintiff was        from occurring.” Rahman v. Acevedo, No. 08-CV-4368, 2011



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WL 6028212, at *8 (S.D.N.Y. Dec. 5, 2011) (alteration and          (2d Cir. 2004) (citation and alteration omitted), cert. denied
quotation marks omitted).                                          sub nom., McBride v. Ortiz, 543 U.S. 1187 (2005). The
                                                                   Supreme Court has held that inmates retain due process rights
“However, ‘there can be no failure to intervene claim without      in prison disciplinary proceedings. See Wolff v. McDonnell,
a primary constitutional violation.’ ” Sanabria v. Tezlof, No.     418 U.S. 539, 563–72 (1974) (describing the procedural
11-CV-6578, 2016 WL 4371750, at *5 (S.D.N.Y. Aug. 12,              protections that inmates are to receive when subject to
2016) (quoting Forney v. Forney, 96 F. Supp. 3d 7, 13              significant disciplinary punishment).
(E.D.N.Y. 2015)); see also Posner v. City of New York, No. 11-
CV-4859, 2014 WL 185880, at *8 (S.D.N.Y. Jan. 16, 2014)            With respect to the first requirement, “[p]rison discipline
(explaining that “[b]ecause [the] [d]efendants [were] entitled     implicates a liberty interest when it ‘imposes atypical
to summary judgment on [the] [p]laintiff's primary claims          and significant hardship on the inmate in relation to the
that they violated her constitutional rights, it follow[ed] that   ordinary incidents of prison life.’ ” Ortiz, 380 F.3d at 654
they [were] entitled to summary judgment on her failure-to-        (quoting Sandin v. Conner, 515 U.S. 472, 484 (1995)). When
intervene ... claim[ ] as well”); Matthews v. City of New York,    evaluating whether an inmate has suffered “atypical and
889 F. Supp. 2d 418, 443–44 (E.D.N.Y. 2012) (observing that        significant hardship,” courts must compare the conditions
a “failure to intervene claim is contingent upon the disposition   imposed upon that inmate with the conditions “endured by
of the primary claims underlying the failure to intervene          prisoners in [the] general population, as well as prisoners
claim”). Because Plaintiff failed to state an excessive force      in administrative and protective confinement, assuming such
claim against Mabra, it necessarily follows that the Failure       confinements are imposed in the ordinary course of prison
to Intervene Claim against Kitt—which is premised on Kitt          administration.” Welch v. Bartlett, 196 F.3d 389, 393 (2d Cir.
allegedly turning a blind eye while Mabra entered Plaintiff's      1999). When evaluating the severity of an inmate's hardship,
cell—must also fail. See, e.g., Forney, 96 F. Supp. 3d at 13       courts should consider both the duration and the conditions of
(explaining that because “all of [the] [p]laintiff's primary [§]   confinement. Dawkins v. Gonyea, 646 F. Supp. 2d 594, 606
1983 claims ha[d] been dismissed, [the] [d]efendants' motion       (S.D.N.Y. 2009).
to dismiss [the] [p]laintiff's failure to intervene claim” also
had to be granted). Accordingly, the Court dismisses the           Regarding the process an inmate is due, a disciplinary
Failure to Intervene Claim.                                        hearing comports with due process when an inmate receives
                                                                   “advance written notice of the charges; a fair and impartial
                                                                   hearing officer; a reasonable opportunity to call witnesses
                                                                   and present documentary evidence; and a written statement
           5. The Procedural Due Process Claims
                                                                   of the disposition, including supporting facts and reasons
Plaintiff alleges that after Vanlierop issued a false              for the action taken.” Luna v. Pico, 356 F.3d 481, 487 (2d
misbehavior report in retaliation for the Second Grievance,        Cir. 2004). “Prison disciplinary proceedings,” however, “are
“a disciplinary hearing was conducted by Defendant Roberts,        not part of a criminal prosecution, and the full panoply of
during which [P]laintiff's repeat[ed] request[s] ... to present    rights due a defendant in such proceedings does not apply.”
audio and video evidence, as well as to call witnesses[,]”         Smith v. Fischer, 803 F.3d 124, 127 (2d Cir. 2015) (quoting
were “denied.” (Compl. 10.) Plaintiff also alleges that            Wolff, 418 U.S. at 556). Ultimately, a guilty finding in an
Roberts' “handling of the disciplinary hearing was improperly      inmate disciplinary hearing only needs to be supported by
influenced by the warden's office,” which had apparently           “some evidence from which the conclusion ... could be
notified Roberts that it was displeased with Plaintiff's           deduced.” Superintendent v. Hill, 472 U.S. 445, 455 (1985)
“treatment of Defendant Vanlierop.” (Id. at 10–11.) At the         (quotation marks omitted). The Second Circuit has explained
end of the hearing, the punishment imposed by Roberts was          that “[j]udicial review of this ‘some evidence’ standard is
“several days of cell confinement and loss of good time.” (Id.     narrowly focused.” Sira v. Morton, 380 F.3d 57, 76 (2d Cir.
at 10.)                                                            2004). Such review “does not require examination of the
                                                                   entire record, independent assessment of the credibility of
 *11 “To present a due process claim, a plaintiff must             witnesses, or weighing of the evidence. Instead, the relevant
establish (1) that he possessed a liberty interest and (2) that    question is whether there is any evidence in the record that
the defendant(s) deprived him of that interest as a result of      could support the conclusion reached by the disciplinary
insufficient process.” Ortiz v. McBride, 380 F.3d 649, 654         board.” Id. (quoting Hill, 472 U.S. at 455–56). Finally, “the



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Second Circuit has said that its ‘conception of an impartial        normal SHU conditions may not implicate a prisoner's
decisionmaker is one who, inter alia, does not prejudge the         liberty interest, [the Second Circuit has] explicitly noted that
evidence and who cannot say, with ... utter certainty ..., how he   SHU confinements of fewer than 101 days could constitute
would assess evidence he has not yet seen.’ ” Rahman, 2011          atypical and significant hardships if the conditions were
WL 6028212, at *7 (quoting Patterson v. Coughlin, 905 F.2d          more severe than the normal SHU conditions ... or a more
564, 570 (2d Cir. 1990)) (italics omitted).                         fully developed record showed that even relatively brief
                                                                    confinements under normal SHU conditions were, in fact,
                                                                    atypical.” Id. at 65 (citation omitted). “In the absence of a
                                                                    detailed factual record,” the Second Circuit has “affirmed
       a. The Roberts Procedural Due Process Claim
                                                                    dismissal of due process claims only in cases where the
As noted, Plaintiff alleges that he was sentenced to “several       period of time spent in SHU was exceedingly short—less
days of cell confinement,” along with “loss of good                 than ... 30 days ... spent in SHU—and there was no indication
time.” (Compl. 10.) Based on the latter allegation—but              that the plaintiff endured unusual SHU conditions.” Id. at
not the former—Plaintiff has adequately alleged a “liberty          66 (collecting cases); see also, e.g., Colon v. Annucci, 344
interest sufficient to trigger due process protections during his   F. Supp. 3d 612, 633–34 (S.D.N.Y. 2018) (holding that
administrative hearing.” Davis v. Barrett, 576 F.3d 129, 133        the plaintiff's “30-day keeplock confinement alone [was]
(2d Cir. 2009). However, his vague allegation that Roberts          insufficient to create a liberty interest triggering due process
“denied” his “repeat[ed] request[s]” to “present audio and          protections” (collecting cases)); Walker v. Quiros, No. 11-
video evidence, as well as to call witnesses,” (Compl. 10), is      CV-82, 2014 WL 7404550, at *8 (D. Conn. Sept. 30, 2014)
insufficient to allege a procedural violation by Roberts.           (“In the absence of a more detailed factual record, a term
                                                                    of segregated confinement shorter than [30] days generally
 *12 The Second Circuit has explained that “[t]he length            does not create a constitutional liberty interest.”); Houston v.
of disciplinary confinement is one of the guiding factors           Cotter, 7 F. Supp. 3d 283, 298 (E.D.N.Y. 2014) (“Absent a
in applying Sandin’s ‘atypical and significant hardship’            detailed factual record, courts typically affirm dismissals of
test.” Hanrahan v. Doling, 331 F.3d 93, 97 (2d Cir.                 due process claims where the period of time spent in SHU
2003). It is not, however, the only relevant factor. “The           was short—e.g., [30] days—and there was no indication of
conditions of confinement are a distinct and equally important      unusual conditions.” (italics omitted)).
consideration in determining whether a confinement in SHU
rises to the level of ‘atypical and severe hardship.’ ” Palmer      Here, Plaintiff alleges merely that he was sentenced to
v. Richards, 364 F.3d 60, 64 (2d Cir. 2004) (quotation              “several days of cell confinement,” along with “loss of
marks omitted). Accordingly, courts must consider both the          good time.” (Compl. 10.) 8 Plaintiff offers no allegations
conditions of disciplinary confinement and their duration, as       regarding the severity or atypicality of the conditions
“especially harsh conditions endured for a brief interval and       he experienced in disciplinary confinement. Without such
somewhat harsh conditions endured for a prolonged interval          allegations, “several days” in disciplinary confinement is
might both be atypical.” Sealey v. Giltner, 197 F.3d 578, 586       insufficient to trigger a liberty interest in his disciplinary
(2d Cir. 1999).                                                     hearing. See Washington v. Fitzpatrick, No. 20-CV-911, 2021
                                                                    WL 966085, at *9 (S.D.N.Y. Mar. 15, 2021) (holding that
Although the Second Circuit has “explicitly avoided a               the plaintiff's allegation that he was sentenced to 30 days in
bright line rule that a certain period of SHU confinement           keeplock confinement, during which he was denied various
automatically fails to implicate due process rights,” it has        privileges such as phone calls, television, and commissary
nevertheless established certain “guidelines for use by district    access, did “not plausibly plead a liberty interest”); Ruggiero
courts in determining whether a prisoner's liberty interest         v. Way, No. 19-CV-3631, 2020 WL 5126112, at *9 (S.D.N.Y.
was infringed.” Palmer, 364 F.3d at 64. For example, the            Aug. 31, 2020) (holding that where the plaintiff alleged he
Second Circuit has explained that where a plaintiff is confined     was confined to SHU for 30 days, without “any allegation that
in SHU for an “intermediate duration” of between 101 and            he endured unusual SHU conditions during his confinement,”
305 days, “development of a detailed record” regarding              the plaintiff “ha[d] not pleaded deprivation of a cognizable
the conditions of confinement as compared to “ordinary              interest in liberty”); Brown v. Murphy, No. 16-CV-710, 2019
prison conditions” is required. Id. at 64–65 (quotation marks       WL 2325777, at *2–3 (S.D.N.Y. May 30, 2019) (holding
omitted). Moreover, “although shorter confinements under            that the plaintiff's 30-day period in keeplock confinement did



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not constitute an atypical and significant hardship where the        witnesses.” (Compl. 10.) Courts have held that such vague,
complaint was “devoid of any allegations of the conditions of        conclusory allegations are insufficient to establish the second
his keeplock confinement”); Colon, 344 F. Supp. 3d at 633–           prong of a procedural due process claim. See McFadden
34 (dismissing due process claim where the plaintiff alleged         v. Annucci, No. 18-CV-6684, 2021 WL 463829, at *9
that he was sentenced to 30 days in keeplock confinement             (S.D.N.Y. Feb. 9, 2021) (“Simply alleging that he was
and failed to “allege any facts suggesting that he was exposed       denied the right to call witnesses, present documents or
to any conditions of confinement more harsh than typical             to ‘confront accusations’ is wholly conclusory and does
keeplock”). Accordingly, Plaintiff has failed to allege a liberty    not state a claim upon which relief can be granted.”);
interest based on his time in disciplinary confinement.              Banks v. Royce, No. 18-CV-4738, 2020 WL 5038590,
                                                                     at *4 (S.D.N.Y. Aug. 26, 2020) (concluding that the
8                                                                    plaintiff's allegation—that the defendants “denied [him]
        Plaintiff has attached to his Complaint a
        document labeled “Disciplinary Hearing Officers              [his] procedural due process when they prevented [him]
        Report.” (See Compl. 18.) Under a section labeled            from presenting evidence in the form of witnesses and
        “Confinement Sanctions Imposed,” the document                documents”—was “the type of ‘unadorned, the-defendant-
        indicates that Plaintiff was sentenced to keeplock           unlawfully-harmed-me’ allegation” that is insufficient to state
        confinement, (see id.), which is “a type of                  a claim (citations omitted)); see also Rush v. Canfield, 649
                                                                     F. App'x 70, 71 (2d Cir. 2016) (summary order) (holding
        residential segregation,” Brown v. Markham, No.
                                                                     that the plaintiff's “assertion that he was ‘denied the right to
        16-CV-710, 2018 WL 1918625, at *1 (S.D.N.Y.
                                                                     call witnesses’ ” was “a bare legal conclusion incapable of
        Apr. 20, 2018). Although the number of days to
                                                                     surviving a motion to dismiss” (citation omitted)). Likewise,
        which he was sentenced appears to be 22, because
                                                                     Plaintiff's allegation that Roberts was improperly swayed
        the writing is almost illegibly faint, the Court
        cannot determine with certainty how long Plaintiff           by the warden's office, (see Compl. 10–11), is merely a
        was confined in keeplock.                                    “[c]onclusory allegation[ ] of bias,” which “[is] not enough
                                                                     to show that a plaintiff received constitutionally insufficient
 *13 Plaintiff also alleges, however, that he suffered a “loss       process,” Banks, 2020 WL 5038590, at *4 (collecting cases);
of good time,” (Compl. 10), and the Disciplinary Hearing             see also Fabricio v. Griffin, No. 16-CV-8731, 2019 WL
Officers Report attached to his Complaint indicates that he          1059999, at *9 (S.D.N.Y. Mar. 6, 2019) (holding that the
did lose a certain number of days of his good-time behavior          plaintiff's “conclusory allegation[ ]” that the hearing officer
allowance, (see id. at 18). It is well-established that “the loss    was biased failed to state a procedural due process claim).
of good time credit can implicate a liberty interest.” Jenkins v.
Cordero, No. 17-CV-1592, 2018 WL 456311, at *4 (S.D.N.Y.             Accordingly, the Court dismisses the Roberts Procedural Due
Jan. 17, 2018) (citing Wolff, 418 U.S. at 556–57); see also,         Process Claim.
e.g., Gulley v. Roach, No. 02-CV-908, 2004 WL 2331922,
at *5 (W.D.N.Y. Oct. 15, 2004) (“Loss of good time credits
implicates a prisoner's liberty interest.”). Thus, Plaintiff's
allegation that he lost good time credits, which is corroborated     b. The Spaulding/Middleton Procedural Due Process Claim
by the document attached to his Complaint, is sufficient to
                                                                     As discussed, Plaintiff also alleges that the outcome of his
establish a liberty interest in his disciplinary proceedings. See,
                                                                     “appeals to Defendants Spaulding and Middleton's office
e.g., Rivers v. Paige, No. 12-CV-6593, 2014 WL 897094,
                                                                     [was] improper and unjust.” (Compl. 11.) “It is well settled
at *3 (W.D.N.Y. Mar. 6, 2014) (holding that the plaintiff
                                                                     that, in order to establish a defendant's individual liability
adequately alleged a liberty interest in his disciplinary hearing
                                                                     in a suit brought under § 1983, a plaintiff must show the
based on allegation that he had “lost 30 days of good time
                                                                     defendant's personal involvement in the alleged constitutional
credit”).
                                                                     deprivation.” Falls v. Pitt, No. 16-CV-8863, 2021 WL
                                                                     1164185, at *31 (S.D.N.Y. Mar. 26, 2021) (quoting Grullon
But while Plaintiff has adequately alleged a liberty interest in
                                                                     v. City of New Haven, 720 F.3d 133, 138 (2d Cir. 2013))
his disciplinary hearing, his allegations regarding procedural
                                                                     (alteration omitted). There has been a long-running split
deficiencies are too vague and conclusory to establish a
                                                                     in the Second Circuit as to “whether an allegation that a
procedural due process claim. As noted, Plaintiff alleges
                                                                     defendant affirmed a disciplinary proceeding is sufficient
merely that Roberts “denied” his “repeat[ed] request[s]”
                                                                     to establish” that defendant's personal involvement in the
to “present audio and video evidence, as well as to call


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underlying constitutional violation. Samuels v. Fischer,            a constitutional tort.” Id. at 691. Thus, “to prevail on a claim
168 F. Supp. 3d 625, 643 (S.D.N.Y. 2016) (surveying                 against a municipality under [§] 1983 based on acts of a public
authority on both sides) (alterations and quotation marks           official, a plaintiff is required to prove: (1) actions taken under
omitted). Relying on the Second Circuit's 2020 decision in          color of law; (2) deprivation of a constitutional or statutory
Tangreti v. Bachmann, 983 F.3d 609 (2d Cir. 2020)—which             right; (3) causation; (4) damages; and (5) that an official
eliminated special standards for supervisory liability and          policy of the municipality caused the constitutional injury.”
required that alleged constitutional violations be “established     Roe v. City of Waterbury, 542 F.3d 31, 36 (2d Cir. 2008)
against the supervisory official directly,” id. at 618—at least     (citing Monell, 436 U.S. at 690–91). The fifth element reflects
two courts in this District have found that a defendant's           the notion that a Monell defendant “may not be held liable
“fail[ure] to correct another officer's violation” at a prison      under § 1983 solely because it employs a tortfeasor.” Bd. of
disciplinary hearing “does not suffice” to establish that           Cnty. Comm'rs of Bryan Cnty. v. Brown, 520 U.S. 397, 403
defendant's personal involvement in the alleged constitutional      (1997). In other words, a municipality may not be held liable
violation, Washington, 2021 WL 966085, at *10 (alteration           under § 1983 “by application of the doctrine of respondeat
and citation omitted); see also Smart v. Annucci, No. 19-           superior.” Pembaur v. City of Cincinnati, 475 U.S 469, 478
CV-7908, 2021 WL 260105, at *5 (S.D.N.Y. Jan. 26,                   (1986) (italics omitted). Rather, “municipalities may only be
2021) (dismissing due process claim based on the hearing            held liable when the municipality itself deprives an individual
officer's “deni[al] [of the] [p]laintiff's administrative appeal”   of a constitutional right.” Newton v. City of New York, 566 F.
because, under Tangreti, such an allegation “cannot support         Supp. 2d 256, 270 (S.D.N.Y. 2008). A plaintiff may satisfy
the inference” that the officer was personally involved in the      the fifth element by alleging one of the following:
alleged constitutional violation). Thus, even if Roberts had
committed a constitutional violation at Plaintiff's disciplinary
hearing, it seems doubtful that Plaintiff could state a claim                    (1) a formal policy officially endorsed
against Spaulding and Middleton based on their affirmance                        by the municipality; (2) actions taken
of Roberts' determination. But the Court need not resolve the                    by government officials responsible
claim against Spaulding and Middleton on this basis. Here,                       for establishing the municipal policies
given “the absence of any underlying constitutional violation”                   that caused the particular deprivation
at Plaintiff's disciplinary hearing to begin with, “Plaintiff                    in question; (3) a practice so consistent
cannot maintain a cause of action against Defendant[s]                           and widespread that, although not
[Spaulding and Middleton] based on” their affirmance of                          expressly authorized, constitutes a
Roberts' determination. Hinton v. Prack, No. 12-CV-1844,                         custom or usage of which a
2014 WL 4627120, at *13 (N.D.N.Y. Sept. 11, 2014);                               supervising policy-maker must have
see also Barnes v. Annucci, No. 15-CV-777, 2019 WL                               been aware; or (4) a failure by
1387460, at *15 (N.D.N.Y. Mar. 12, 2019) (explaining                             policymakers to provide adequate
that “because no constitutional violation occurred” at the                       training or supervision to subordinates
plaintiff's disciplinary hearing, “and there was no wrong to                     to such an extent that it amounts to
remedy,” the plaintiff could not state a due process claim                       deliberate indifference to the rights of
against a defendant based on his affirmance of the disciplinary                  those who come into contact with the
determination), report and recommendation adopted, 201 WL                        municipal employees.
1385297 (N.D.N.Y. Mar. 27, 2019).

 *14 For these reasons, the Court also dismisses the                Brandon v. City of New York, 705 F. Supp. 2d 261, 276–
Spaulding/Middleton Procedural Due Process Claim.                   77 (S.D.N.Y. 2010) (citations omitted). Moreover, a plaintiff
                                                                    also must establish an “affirmative” causal link between the
                                                                    municipality's policy, custom, or practice and the alleged
  6. The Monell Claim
                                                                    constitutional injury. City of Okla. City v. Tuttle, 471 U.S. 808,
To the extent Plaintiff intends to assert a claim against the
                                                                    824 n.8 (1985).
County pursuant to Monell v. Department of Social Services,
436 U.S. 658 (1978), his claim fails. “Congress did not intend
                                                                    Here, the Complaint is utterly devoid of any allegations that
municipalities to be held liable [under § 1983] unless action
                                                                    would establish the fifth element of a Monell claim. (See
pursuant to official municipal policy of some nature caused


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generally Compl.) Plaintiff does not allege, for example, that
the County officially endorsed a formal policy of retaliating
against inmates who file grievances, or of depriving them                                       III. Conclusion
of procedural due process at disciplinary hearings. Brandon,
705 F. Supp. 2d at 276. Nor does he describe actions by                 *15 For the reasons stated above, the Court dismisses the
“government officials responsible for establishing the policies        Grievance Claim, the Mabra Retaliation Claim, the Excessive
that caused the particular deprivation in question,” or a              Force Claim, the Failure to Intervene Claim, the Procedural
“practice so consistent and widespread” that it “constitutes a         Due Process Claims, and the Monell Claim. The Vanlierop
custom or usage of which a supervising policy-maker must               Retaliation Claim survives.
have been aware.” Id. at 276–77. Likewise, the Complaint
says nothing with respect to the County's alleged failure “to          Because this is the first adjudication of Plaintiff's claims
provide adequate training or supervision to subordinates.” Id.         on the merits, the dismissed claims are dismissed without
at 277. Because Plaintiff offers no allegations to establish the       prejudice. Plaintiff may file an amended complaint within
fifth element of a municipal liability claim, any such claim           30 days of the date of this Opinion & Order. The amended
must be dismissed. See Jackson v. Westchester County, No.              complaint should contain appropriate changes to remedy the
18-CV-7207, 2019 WL 3338020, at *4 (S.D.N.Y. July 25,                  deficiencies identified in this Opinion & Order. Plaintiff
2019) (dismissing Monell claim where the plaintiff failed              is advised that the amended complaint will replace, not
to “allege the existence of any policy, any actions taken              supplement, the instant Complaint, and therefore must
or decisions made by any ... policymaking officials, any               contain all of the claims, factual allegations, and exhibits that
systemic failures to train or supervise, or any practices so           Plaintiff wishes the Court to consider. If Plaintiff fails to abide
widespread that they practically have the force of law”                by the 30-day deadline, his claims may be dismissed with
and failed to “provide any factual details regarding ...               prejudice.
other [purported] lawsuits and grievances” on similar issues
(collecting cases)); see also McKenzie v. City of Mount                The Clerk of Court is respectfully directed to terminate the
Vernon, No. 18-CV-603, 2018 WL 6831157, at *7 (S.D.N.Y.                instant Motion, (Dkt. No. 28), and mail a copy of this Opinion
Dec. 28, 2018) (dismissing Monell claim where the plaintiff            & Order to Plaintiff.
did “not allege any facts suggesting a policy or custom that
led to [the] alleged” constitutional deprivation); 5 Borough
                                                                       SO ORDERED.
Pawn, LLC v. City of New York, 640 F. Supp. 2d 268,
300 (S.D.N.Y. 2009) (dismissing Monell claim where the                 All Citations
“plaintiffs fail[ed] to allege any facts showing that there is
a [municipal] policy—unspoken or otherwise—that violates               Not Reported in Fed. Supp., 2021 WL 4392485
the Federal Constitution”).

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                                                                       for the sake of consistency, the Court will refer
                    2019 WL 8015209                                    to him as Defendant Pflueger, as reflected on the
      Only the Westlaw citation is currently available.                docket. (See generally docket sheet.)
       United States District Court, N.D. New York.

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     Facility; Officer Scott Jones, Auburn Correctional         B. Procedural History...––––
     Facility, formerly known as C.O. Smith; and C.O.
    M. Gould, Auburn Correctional Facility, Defendants.         C. Statement of Undisputed Material Facts...––––

                  9:18-CV-0291 (DNH/ML)                         D. Parties’ Briefing on Defendants’ Motion for Summary
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                      Signed 11/26/2019

Attorneys and Law Firms                                         II. RELEVANT LEGAL STANDARDS...––––
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SETH LOGAN, Plaintiff, Pro Se, 117 Avery Avenue, Buffalo,
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New York 14210.

LETITIA A. JAMES, OF COUNSEL: AIMEE COWAN,                      B. Standard Governing Exhaustion of Administrative
ESQ., Assistant Attorney General, Attorney General for the      Remedies...––––
State of New York, Counsel for Defendants, 300 South State
Street, Suite 300, Syracuse, New York 13202.
                                                                III. ANALYSIS...––––
                                                                A. Plaintiff's Failure to Oppose the Merits of Defendants’
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MIROSLAV LOVRIC, United States Magistrate Judge
                                                                AUB-67567-15...––––
 *1 This matter has been referred to me for a Report and
Recommendation by the Honorable David N. Hurd, United           C. Whether Plaintiff's First Amendment Retaliation
States District Judge. Currently before the Court, in this      Claims Should Nevertheless be Dismissed...––––
civil rights action filed by Seth Logan (“Plaintiff”) against
Superintendent Graham, Auburn Correctional Facility, C.O.       D. Doctrine of Qualified Immunity...––––

Pflueger, 1 Auburn Correctional Facility, Officer Scott
Jones, Auburn Correctional Facility, formerly known as          I. RELEVANT BACKGROUND
C.O. Smith, and C.O. M. Gould, Auburn Correctional
Facility (collectively “Defendants”), is Defendants’ motion        A. Plaintiff's Claims
for summary judgment pursuant to Fed. R. Civ. P. 56. (Dkt.      Generally, liberally construed, Plaintiff's Complaint asserts
No. 28). For the reasons set forth below, I recommend that      claims of retaliation against Defendants in violation of the
Defendants’ motion be granted in part and denied in part.       First Amendment. (Dkt. No. 1; Dkt. No. 6.) The Court's
                                                                Decision and Order dated May 4, 2018, thoroughly outlines
1                                                               Plaintiff's allegations and claims. (Dkt. No. 6.)
       The Court notes that Defendants sometimes refer
       to Defendant Pflueger as Defendant “Plfueger” or
       “Pfleuger.” (See Dkt. No. 28, Attach. 1; Dkt. No.          B. Procedural History
       28, Attach. 3; Dkt. No. 28, Attach. 10.) However,



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On March 8, 2018, Plaintiff commenced this action by filing      Unless otherwise noted, the following facts were asserted and
a verified Complaint against Defendants, Lieutenant Vasill,      supported by Defendants in their Rule 7.1 Statement and not
and Lieutenant Abate (Dkt. No. 1) together with a motion         denied by Plaintiff in a Rule 7.1 Response. (Compare Dkt.
for leave to proceed in forma pauperis (Dkt. No. 2). On          No. 28, Attach. 1 [Defs.’ Rule 7.1 Statement] with Dkt. No.
May 4, 2018, the Court granted Plaintiff's motion to proceed     39 [Pl.’s Response].)
in forma pauperis. (Dkt. No. 6.) In addition, the Court
ordered that Plaintiff's retaliation claims against Defendants   1. Plaintiff was convicted in 2009 of Attempted Assault in the
survive sua sponte review, but the Court dismissed Plaintiff's   First and Second Degree.
remaining claims including those against Lieutenant Vasill
and Lieutenant Abate. (Id.)                                      2. All claims in this matter arose out of Plaintiff's confinement
                                                                 at Auburn Correctional Facility (“Auburn”), as a result of his
On January 25, 2019, Defendants filed a letter motion            felony convictions in 2009.
requesting dismissal for failure to prosecute. (Dkt. No.
27.) On March 6, 2019, Defendants filed a motion for             3. Plaintiff was released from prison to the Division of Parole
summary judgment pursuant to Fed. R. Civ. P. 56 and a            on January 7, 2019. 2
motion to dismiss for lack of prosecution. (Dkt. No. 28.)
These motions were referred to United Stated Magistrate          2       The Court notes that the citation provided
Judge David E. Peebles for a Report and Recommendation.
                                                                         by Defendants for this fact does not support
On March 27, 2019, Magistrate Judge Peebles issued a
                                                                         the fact asserted. See New York State
Report and Recommendation, which recommended that (1)
                                                                         Dep't of Corr. And Comty. Servs., http://
the Complaint be dismissed based on Plaintiff's failure
                                                                         nysdoccslookup.doccs.ny.gov/GCA00P00/WIQ3/
to prosecute and to comply with the Court's orders and
                                                                         WINQ130 (last visited November 25, 2019).
local rules of practice, and (2) that Defendants’ motion
                                                                         However, the Court deems the fact admitted
for summary judgment be denied as moot. (Dkt. No. 30.)
                                                                         because Plaintiff failed to deny it. Estate of
On April 15, 2019, Plaintiff filed a change of address
                                                                         D.B. by Briggs v. Thousand Islands Cent. Sch.
with the Court. (Dkt. No. 32.) As a result, on April 15,
                                                                         Dist., 327 F. Supp. 3d 477, 485 n.2 & n.13
2019, United States District Judge David N. Hurd sua
                                                                         (N.D.N.Y. 2018) (Suddaby, C.J.) (“where a non-
sponte granted an extension of time to file objections to
                                                                         movant neither admits nor disputes a fact, the
United Stated Magistrate Judge David E. Peebles's Report-
                                                                         response is deemed an admission”); Costello
Recommendation of March 27, 2019. (Dkt. No. 33.) Plaintiff
                                                                         v. N.Y. State Nurses Ass'n, 783 F. Supp. 2d
did not file any objections to the Report-Recommendation
                                                                         656, 661 n.5 (S.D.N.Y. 2011) (disregarding the
dated March 27, 2019. (See generally Docket Sheet.)
                                                                         plaintiff's responses to the defendant's statement of
                                                                         material facts not in dispute where the plaintiff's
 *2 On July 3, 2019, the Court denied Defendants’ motion to
                                                                         response paragraphs did not specifically dispute the
dismiss and referred to me for consideration of Defendants’
                                                                         defendant's statements or consisted of “conclusory
motion for summary judgment. (Dkt. No. 35.) On July 3,
                                                                         allegations, speculation, or conjecture.”); In re
2019, Plaintiff was provided another opportunity to oppose
                                                                         Horowitz, 14-CV-36884, 2016 WL 1039581, at *1
Defendants’ motion with a response due by August 20, 2019,
                                                                         n.2 (Bankr. S.D.N.Y. Mar. 15, 2016) (stating that,
and a reply due by August 26, 2019. (See text notice dated
                                                                         “a response contending to neither admit or deny an
7/3/19.) On September 9, 2019, the Court issued a text
                                                                         allegation does not create a genuine issue of fact”);
order granting Plaintiff yet another opportunity to oppose
                                                                         accord, Piacente v. Int'l Union of Bricklayers
Defendants’ motion with a deadline of September 30, 2019.
                                                                         & Allied Craftworkers, 11-CV-1458, 2015 WL
(Dkt. No. 37.)
                                                                         5730095, at *2 n.3 (S.D.N.Y. Sept. 30, 2015).
On October 1, 2019, Plaintiff filed a response in opposition     4. In his Complaint, Plaintiff claims that on May 9, 2015,
to Defendants’ motion. (Dkt. No. 39.)                            Defendant Pflueger stopped Plaintiff in the Auburn recreation
                                                                 yard, accused Plaintiff of being a white supremacist and stated
                                                                 that he would be searching Plaintiff's cell for gang material.
  C. Statement of Undisputed Material Facts



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5. Plaintiff alleges that the next day, on May 10, 2015,
Defendant Pflueger threatened him while Plaintiff was exiting      18. Plaintiff alleges that Defendant Pflueger fired him as a
his cell, stating that Plaintiff “ain't gonna be around here for   feed up porter in retaliation for the grievance that Plaintiff
long. They're gonna get you. We're not sure how yet or for         filed dated May 10, 2015.
what, but it's gonna happen.”
                                                                   19. Plaintiff's only basis for this belief is that there was “no
6. According to Plaintiff, Defendant Pflueger did not make         other reason” for Defendant Pflueger to fire him.
any specific threats about anything that he specifically was
going to do to Plaintiff.                                          20. Based on Plaintiff's behavior on the morning of June
                                                                   17, 2015, Defendant Pflueger authored a misbehavior report
7. Plaintiff filed a grievance on May 10, 2015, complaining        dated June 17, 2015, that charged Plaintiff with several
about the alleged incident of May 9, 2015.                         DOCCS Directive violations including disobeying a direct
                                                                   order, creating a disturbance, harassment, and making threats.
8. Defendant Pflueger responded to the grievance by memo
and stated that he stopped Plaintiff in the yard on May 9,         21. Defendant Correction Officer Scott Jones endorsed the
2015 after observing tattoos that could be interpreted as gang     misbehavior report as a witness to a portion of these events.
affiliation tattoos.
                                                                   22. At the time Defendant Jones endorsed the misbehavior
9. Defendant Pflueger stated that he passed the information        report dated June 17, 2015, he had no knowledge that Plaintiff
on to the Early Warning Box—which is an avenue to convey           had filed a grievance against Defendant Pflueger on May 10,
information to Auburn Correctional Facility's intelligence         2015.
unit—and denied threatening or harassing Plaintiff in any
way.                                                               23. Plaintiff testified that he had never interacted with
                                                                   Defendant Jones before this incident on June 17, 2015.
 *3 10. Plaintiff alleges that over a month later, on June 17,
2015, Defendant Pflueger fired Plaintiff from his job as a feed    24. Plaintiff testified that he had no basis to believe that at
up porter.                                                         the time Defendant Jones endorsed the misbehavior report,
                                                                   Defendant Jones knew that Plaintiff had filed any grievances
11. Plaintiff was employed as a feed up porter at Auburn for       against Defendant Pflueger.
approximately one month until he was terminated on June 17,
2015.                                                              25. Plaintiff filed a grievance regarding the incident on June
                                                                   17, 2015, but that grievance was denied.
12. A feed up porter's duties include retrieving food trays from
the mess hall and feeding inmates who are confined to their        26. Defendant Pflueger was never counseled or disciplined as
cell for disciplinary reasons.                                     a result of the incident on June 17, 2015.

13. On the morning of June 17, 2015, Defendant Pflueger            27. As a result of the misbehavior report dated June 17, 2015,
witnessed Plaintiff pass an unidentified item into the cell of     Plaintiff was found guilty of all charges at a disciplinary
another inmate.                                                    hearing and sentenced to 30 days of keep-lock confinement.

14. Defendant Pflueger ordered Plaintiff to return to his cell.    28. Plaintiff filed another grievance dated July 21, 2015,
                                                                   which alleged that on July 8, 2015, he received a false report
15. Plaintiff yelled profanities as he went back to his cell.      authored by Defendant Correction Officer Mark Gould in
                                                                   which, Defendant Gould recommended Plaintiff be placed in
16. While in his cell, Plaintiff yelled “that faggot               administrative segregation.
motherfucker fired me.”
                                                                   29. Defendant Gould recommended that Plaintiff be placed in
17. Plaintiff shouted these profanities loud enough to             administrative segregation based on information he received
communicate with another inmate on a different floor.              from confidential informants, that Plaintiff planned to assault



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Defendant Pflueger when he was released from keep-lock            41. Further, Plaintiff does not know who transported his
confinement.                                                      property to his new cell in the Special Housing Unit.

30. Plaintiff was given a hearing with respect to whether he      42. Plaintiff filed another grievance alleging that on August
should be in administrative segregation.                          4, 2015, and August 6, 2015, Defendant Pflueger threatened
                                                                  Plaintiff while he was training another officer.
31. Plaintiff agreed with the recommendation to be placed in
administrative segregation.                                       43. Defendant Pflueger responded to the grievance and
                                                                  affirmed that on August 4, 2015, and August 6, 2015, he
32. Plaintiff did not know Defendant Gould prior to his           showed various new officers the Special Housing Unit area,
recommendation that Plaintiff be placed in administrative         but they did not stop at Plaintiff's cell and he certainly never
segregation.                                                      made any threatening or harassing statements to Plaintiff.

 *4 33. Plaintiff testified that he believed Defendant Gould      44. Plaintiff testified that at no point during his incarceration
made the recommendation to place Plaintiff in administrative      did Defendant Pflueger use any force against him.
segregation on behalf of Defendant Pflueger in retaliation for
Plaintiff's grievances, because “there [was] no other reason      45. Plaintiff is not alleging any physical injuries with respect
[for Defendant Gould] to do it.”                                  to any of his claims.

34. Plaintiff admitted he has no direct evidence that Defendant   46. The only basis on which Plaintiff brings retaliation claims
Gould recommended administrative segregation based on the         against Defendant Graham is because he denied Plaintiff's
grievances filed by Plaintiff against Defendant Pflueger.         grievances and allowed Defendant Pflueger's behavior to
                                                                  continue.
35. Plaintiff has no evidence that Defendant Gould even knew
about any grievances filed by Plaintiff against Defendant         47. Other than the grievances he filed, Plaintiff never sent
Pflueger.                                                         Defendant Graham any other correspondence about these
                                                                  incidents and he never spoke with Defendant Graham in
36. Plaintiff is not aware of any conversations that              person about them.
Defendant Gould had with Defendant Pflueger in which they
discussed that Defendant Gould should file an administrative
segregation recommendation based on false information.
                                                                             Exhaustion of Administrative Remedies

37. Plaintiff also alleged that after he was removed from his     48. Plaintiff was familiar with the grievance process at
cell in the Special Housing Unit on July 9, 2015, items went      Auburn Correctional Facility during the relevant time period.
missing after another inmate witnessed Defendant Pflueger
enter Plaintiff's cell.                                           49. Plaintiff was aware of how to properly file a grievance and
                                                                  where to appeal if he disagreed with the decision.
38. Defendant Pflueger did not pack Plaintiff's cell and he did
not remove any of Plaintiff's property.                           50. More specifically, Plaintiff was aware that a grievance
                                                                  must be submitted to the Inmate Grievance Review
39. The only basis for Plaintiff's contention that Defendant      Committee (“IGRC”) and a decision by the IGRC could be
Pflueger destroyed his property is that Michael Betters,          appealed to the Superintendent.
another inmate, reported seeing Defendant Pflueger enter
Plaintiff's cell.                                                 51. Further, Plaintiff was aware that a decision by the
                                                                  Superintendent could be appealed to the Central Office
40. According to Plaintiff, Michael Betters could not actually    Review Committee (“CORC”).
see Defendant Pflueger in Plaintiff's cell.




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52. Plaintiff testified that if an inmate does not receive a     appellate review of the prison superintendent by CORC.
response to his appeal to CORC, he must write to CORC and        (Id.) Defendants argue that Plaintiff failed to appeal the
inquire as to the status of his appeal.                          prison superintendent's decision with respect to grievances
                                                                 AUB-67199-15 and AUB-675667-15, to CORC and thus, the
 *5 53. Plaintiff filed Grievance AUB-67199-15, in which         claims contained in those grievances should be dismissed for
he complained that he was “labeled a gang member” by             Plaintiff's failure to exhaust his administrative remedies. (Id.)
Defendant Pflueger.
                                                                 3       Defendants acknowledge that there are “certain
54. After an investigation, the Superintendent denied
                                                                         caveats” to the PLRA's exhaustion requirement,
Plaintiff's grievance and Defendant Pflueger was never
                                                                         however Defendants argue that those caveats are
counseled or disciplined.
                                                                         inapplicable here.

55. Plaintiff also filed Grievance AUB-67567-15, in which        Second, Defendants argue that Plaintiff's first amendment
he complained that on July 8, 2015, he received a false          retaliation claims should be dismissed because (a) with
report authored by Defendant Gould in which Defendant            respect to Defendant Pflueger, (i) he lacks authority to “fire”
Gould recommended Plaintiff be placed in administrative          an inmate from his job, (ii) the record lacks any evidence
segregation.                                                     of a causal connection between Plaintiff's grievance of May
                                                                 10, 2015, and the misbehavior report of June 17, 2015,
56. Grievance AUB 67567-15 also alleged that after Plaintiff     except temporal proximity, which is insufficient to survive a
was removed from his cell in the Special Housing Unit on July    motion for summary judgment, (iii) the misbehavior report
9, 2015, items went missing after another inmate witnessed       of June 17, 2015, was truthful and Plaintiff admitted that
Defendant Pflueger packing Plaintiff's cell.                     he was appropriately charged with creating a disturbance
                                                                 and harassment, (iv) Defendants presented non-retaliatory
57. Defendant Graham         denied    Plaintiff's   Grievance   reasons for Defendant Pflueger “firing” Plaintiff from his
AUB-67567-15.                                                    porter duties and authoring the misbehavior report of June
                                                                 17, 2015, (v) the alleged verbal harassment and threats are
                                                                 not considered adverse actions for purposes of retaliation,
  D. Parties’ Briefing on Defendants’ Motion for                 (vi) even if the alleged verbal harassment and threats did
  Summary Judgment                                               constitute an adverse action, Plaintiff failed to demonstrate
                                                                 any evidence of a causal connection, (vii) there is no
                                                                 evidence of a causal connection between Defendant Gould's
          1. Defendants’ Memorandum of Law
                                                                 recommendation that Plaintiff be placed in administrative
Generally, in support of their motion for summary judgment,      segregation and Plaintiff's grievances filed against Defendant
Defendants assert three arguments. (See generally Dkt. No.       Pflueger, (viii) there is no evidence that Defendant Pflueger
28, Attach. 3 [Defs.’ Mem. of Law].)                             removed or destroyed Plaintiff's property, and (ix) there is no
                                                                 evidence of a causal nexus between the grievances he filed
First, Defendants argue that Plaintiff failed to exhaust         and Defendant Pflueger allegedly destroying his property; (b)
his administrative remedies with respect to grievances           with respect to Defendant Jones, (i) there is no evidence that
AUB-67199-15 and AUB-675667-15. (Id.) More specifically,         he had any knowledge that Plaintiff filed a grievance against
Defendants argue that the Prison Litigation Reform Act           Defendant Pflueger, and (ii) the record is devoid of any
requires prisoners who bring a lawsuit in federal court to       evidence establishing why he would file a false misbehavior
first exhaust their available administrative remedies; this      report against Plaintiff on behalf of Defendant Pflueger;
requirement is mandatory such that, failure to comply subjects   (c) with respect to Defendant Gould, (i) Plaintiff agreed
                                                                 with the recommendation that he remain in administrative
the complaint to dismissal. 3 (Id.) Further, Defendants argue
                                                                 segregation, (ii) there is no evidence in the record to support
that the New York State Department of Corrections and
                                                                 a causal connection between Plaintiff's grievance against
Community Services (“DOCCS”) has the following three-
                                                                 Defendant Pflueger on May 10, 2015, and Defendant Gould's
tiered administrative review and appeals process for prisoner
                                                                 administrative segregation recommendation on July 21, 2015,
grievances: (1) review by the IGRC, (2) appellate review
                                                                 and (iii) there is no evidence that Defendant Gould was aware
of the IGRC decision by the prison superintendent, and (3)
                                                                 of Plaintiff's grievance against Defendant Pflueger; and (d)


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with respect to Defendant Graham, (i) in the event that the          Generally, in opposition to Defendants’ motion for summary
claims against Defendants Pflueger, Jones, and Gould are             judgment, Plaintiff acknowledged his failure to meet
dismissed, the claims against Defendant Graham must also             deadlines and asked that the Court consider “many mitigating
be dismissed because there is no supervisor liability where          factors that have contributed to this short coming” including
there is no established underlying constitutional violation,         his release from prison, the requirements of his parole, and his
and (ii) even if the claims against Defendants Pflueger,             criminal history. (Dkt. No. 39.) In addition, Plaintiff asserts
Jones, and Gould are not dismissed, the claims against               that “all these Motions to Dismiss this complaint have been
Defendant Graham still should be dismissed because he                based on timeliness.” (Id.) Plaintiff did not file a response to
was not personally involved in the alleged constitutional            Defendants’ Statement of Material Facts, an affidavit setting
violations. (Id.)                                                    forth any factual assertions, an opposition memorandum of
                                                                     law, or any document that responded to Defendants’ legal
 *6 Third, Defendants argue that, in the alternative, they           arguments. (See generally Dkt. No. 39.) In addition, Plaintiff
are entitled to dismissal pursuant to the doctrine of qualified      did not request any additional time to provide a more thorough
immunity. (Id.)                                                      response to Defendants’ motion. (Id.)


                                                                     II. RELEVANT LEGAL STANDARDS
     2. Defendants’ First Supplemental Letter Brief
                                                                        A. Standard Governing a Motion for Summary
Generally in their first supplemental letter brief, Defendants          Judgment
re-assert the arguments set forth in their memorandum of law         Under Fed. R. Civ. P. 56, summary judgment is warranted if
and assert that (1) Plaintiff has repeatedly failed to oppose        “the movant shows that there is no genuine dispute as to any
Defendants’ motion despite being provided with notice of the         material fact and that the movant is entitled to a judgment as
consequences of failing to respond to the motion two times,          a matter of law.” Fed. R. Civ. P. 56(a). A dispute of fact is
and (2) as a result of Plaintiff's failure to respond, the Court     “genuine” if “the [record] evidence is such that a reasonable
should deem (a) Defendants’ factual assertions as true, and (b)      jury could return a verdict for the [non-movant].” Anderson
Plaintiff to have consented to the legal arguments contained
                                                                     v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). 4 As for
in Defendants’ memorandum of law. (Dkt. No. 36.)
                                                                     the materiality requirement, a dispute of fact is “material” if
                                                                     it “might affect the outcome of the suit under the governing
                                                                     law.... Factual disputes that are irrelevant or unnecessary will
    3. Defendants’ Second Supplemental Letter Brief                  not be counted.” Anderson, 477 U.S. at 248.

Generally in their second supplemental letter brief,                 4
Defendants re-assert the arguments set forth in their                       As a result, “[c]onclusory allegations, conjecture
memorandum of law and assert that (1) Plaintiff sent                        and speculation ... are insufficient to create a
Defendants a “Response to Dispositive Motions,” which                       genuine issue of fact.” Kerzer v. Kingly Mfg., 156
incorrectly indicated that Defendants’ motion is based solely               F.3d 396, 400 (2d Cir. 1998) (citation omitted).
on Plaintiff's timeliness and otherwise failed to address                   As the Supreme Court has explained, “[The non-
Defendants’ arguments as to the merits of his claims, (2)                   movant] must do more than simply show that there
Plaintiff has now failed to oppose Defendants’ motion three                 is some metaphysical doubt as to the material
times after receiving notice that his response was required,                facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith
and (3) despite Plaintiff's request in his response for additional          Radio Corp., 475 U.S. 574, 585-86 (1986).
time to respond, the Court should not grant this request              *7 In determining whether a genuine issue of material fact
because their motion has been pending for nearly one year            exists, the Court must resolve all ambiguities and draw all
and Plaintiff “has been given great latitude with respect to the     reasonable inferences against the movant. Anderson, 477
Court's deadlines in this matter.” (Dkt. No. 38.)                    U.S. at 255. In addition, “[the movant] bears the initial
                                                                     responsibility of informing the district court of the basis for
                                                                     its motion, and identifying those portions of the ... [record]
                                                                     which it believes demonstrate[s] the absence of any genuine
     4. Plaintiff's “Response to Dispositive Motions”
                                                                     issue of material fact.” Celotex v. Catrett, 477 U.S. 317,


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323-24 (1986). However, when the movant has met its initial       8      Among other things, Local Rule 7.1(a)(3) requires
burden, the non-movant must come forward with specific                   that the non-movant file a response to the movant's
facts showing a genuine issue of material fact for trial. Fed.           Statement of Material Facts, which admits or
R. Civ. P. 56(a), (c), (e).                                              denies each of the movant's factual assertions in
                                                                         matching numbered paragraphs, and supports any
Implied in the above-stated burden-shifting standard is the              denials with a specific citation to the record where
fact that, where a non-movant willfully fails to respond to a            the factual issue arises. N.D.N.Y. L. R. 7.1(a)(3).
motion for summary judgment, a district court has no duty
to perform an independent review of the record to find proof      9
                                                                         Cusamano, 604 F. Supp. 2d at 427 & n.6 (citing
of a factual dispute–even if that non-movant is proceeding               cases); see also Prestopnik v. Whelan, 253 F. Supp.
pro se. 5 (This is because the Court extends special solicitude          2d 369, 371 (N.D.N.Y. 2003) (Hurd, J.) (holding
to the pro se litigant largely by ensuring that he or she has            that the Court is not required to “perform an
received notice of the consequences of failing to properly               independent review of the record to find proof of a
                                                                         factual dispute.”).
respond to the motion for summary judgment.) 6 As has often
been recognized by both the Supreme Court and Second              Similarly, in this District, where a non-movant has willfully
Circuit, even pro se litigants must obey a district court's       failed to respond to a movant's properly filed and facially
procedural rules. 7                                               meritorious memorandum of law, the non-movant is deemed
                                                                  to have “consented” to the legal arguments contained in that
5                                                                 memorandum of law under Local Rule 7.1(b)(3). 10 Stated
       Cusamano v. Sobek, 604 F. Supp. 2d 416, 426 &
                                                                  another way, when a non-movant fails to oppose a legal
       n.2 (N.D.N.Y. 2009) (Suddaby, J.) (citing cases).
                                                                  argument asserted by a movant, the movant may succeed
6                                                                 on the argument by showing that the argument possesses
       Cusamano, 604 F. Supp. 2d at 426 & n.3 (citing
       cases).                                                    facial merit, which has appropriately been characterized as
                                                                  a “modest” burden. See N.D.N.Y. L.R. 7.1(b)(3) (“Where a
7
       Cusamano, 604 F. Supp. 2d at 426-27 & n.4 (citing          properly filed motion is unopposed and the Court determined
       cases).                                                    that the moving party has met its burden to demonstrate
Of course, when a non-movant willfully fails to respond to a      entitlement to the relief requested therein....”); Rusyniak
motion for summary judgment, “[t]he fact that there has been      v. Gensini, 07-CV-0279, 2009 WL 3672105, at *1, n.1
no [such] response ... does not ... [by itself] mean that the     (N.D.N.Y. Oct. 30, 2009) (Suddaby, J.) (collecting cases);
motion is to be granted automatically.” Champion v. Artuz,        Este-Green v. Astrue, 09-CV-0722, 2009 WL2473509, at *2
76 F.3d 483, 486 (2d Cir. 1996). Rather, as indicated above,      & n.3 (N.D.N.Y. Aug. 7, 2009) (Suddaby, J.) (collecting
the Court must assure itself that, based on the undisputed        cases).
material facts, the law indeed warrants judgment for the
movant. Champion, 76 F.3d at 486; Allen v. Comprehensive          10
                                                                         See, e.g., Beers v. GMC, 97-CV-0482, 1999
Analytical Group, Inc., 140 F. Supp. 2d 229, 232 (N.D.N.Y.               U.S. Dist. LEXIS 12285, at *27-31 (N.D.N.Y.
2001) (Scullin, C.J.); N.D.N.Y. L.R. 7.1(b)(3). What the non-            March 17, 1999) (McCurn, J.) (deeming plaintiff's
movant's failure to respond to the motion does is lighten the            failure, in his opposition papers, to oppose several
movant's burden.                                                         arguments by defendants in their motion for
                                                                         summary judgment as consent by plaintiff to the
For these reasons, this Court has often enforced Local Rule              granting of summary judgment for defendants with
7.1(a)(3) by deeming facts set forth in a movant's statement             regard to the claims that the arguments regarded,
of material facts to be admitted, where (1) those facts are              under Local Rule 7.1[b][3]); Devito v. Smithkline
supported by evidence in the record, and (2) the non-movant              Beecham Corp., 02-CV-0745, 2004 WL 3691343,
has willfully failed to properly respond to that statement 8 –           at *3 (N.D.N.Y. Nov. 29, 2004) (McCurn, J.)
even when the non-movant was proceeding pro se. 9                        (deeming plaintiff's failure to respond to “aspect”
                                                                         of defendant's motion to exclude expert testimony
                                                                         as “a concession by plaintiff that the court should
                                                                         exclude [the expert's] testimony” on that ground).



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                                                                   the facility's superintendent within a certain number of days of
   B. Standard Governing Exhaustion of Administrative              receipt of the IGRC's written decision. The superintendent is
   Remedies                                                        to issue a written decision within a certain number of days of
 *8 The Prison Litigation Reform Act of 1995 (“PLRA”)              receipt of the grievant's appeal. Third, a grievant may appeal
requires that prisoners who bring suit in federal court must       to CORC within a certain number of days of receipt of the
first exhaust their available administrative remedies: “No         superintendent's written decision. CORC is to render a written
action shall be brought with respect to prison conditions          decision within a certain number of days of receipt of the
under § 1983 ... by a prisoner confined in any jail, prison, or    appeal.
other correctional facility until such administrative remedies
as are available are exhausted.” 42 U.S.C. § 1997e. The            11
PLRA was enacted “to reduce the quantity and improve the                   See also Murray v. Palmer, 03-CV-1010, 2010 WL
quality of prisoner suits” by “afford[ing] corrections officials           1235591, at *1 & n.1 (N.D.N.Y. Mar. 31, 2010)
time and opportunity to address complaints internally before               (citation omitted) (Suddaby, J.).
allowing the initiation of a federal case.” Porter v. Nussle,      12      The Court uses the term “a certain number of
534 U.S. 516, 524-25 (2002). In this regard, exhaustion serves
                                                                           days” rather than a particular time period because
two major purposes. First, it protects “administrative agency
                                                                           (1) since the three-step process was instituted, the
authority” by giving the agency “an opportunity to correct
                                                                           time periods imposed by the process have changed,
its own mistakes with respect to the programs it administers
                                                                           and (2) the time periods governing any particular
before it is haled into federal court, and it discourages
                                                                           grievance depend on the regulations and directives
disregard of the agency's procedures.” Woodford v. Ngo, 548                pending during the time in question.
U.S. 81, 89 (2006). Second, exhaustion promotes efficiency
because (a) “[c]laims generally can be resolved much more          In addition, “[t]he regulations [ ] provide that if the plaintiff
quickly and economically in proceedings before an agency           does not get a ‘receipt’ from the CORC within 45 days of
than in litigation in federal court,” and (b) “even where a        the date he filed his appeal, he should contact the IGP to
controversy survives administrative review, exhaustion of          make sure that his appeal was ‘received.’ ” Bell v. Napoli, 17-
the administrative procedure may produce a useful record           CV-0850, 2018 WL 6506072, at *5 (N.D.N.Y. Dec. 11, 2018)
for subsequent judicial consideration.” Woodford, 548 U.S.         (Baxter, M.J.) (citing 7 N.Y.C.R.R. § 701.5(d)(3)(i)).
at 89. “[T]he PLRA's exhaustion requirement applies to all
inmate suits about prison life, whether they involve general       It is important to note that these procedural requirements
circumstances or particular episodes, and whether they allege      contain several safeguards. For example, if an inmate could
excessive force or some other wrong.” Porter, 534 U.S. at          not file such a complaint within the required time period after
532.                                                               the alleged occurrence, he or she could apply to the facility's
                                                                   IGP Supervisor for an exception to the time limit based on
In accordance with the PLRA, DOCCS has made available              mitigating circumstances. If that application was denied, the
a well-established inmate grievance program. 7 N.Y.C.R.R.          inmate could file a complaint complaining that the application
§ 701.7. Generally, the DOCCS Inmate Grievance Program             was wrongfully denied. 13 Moreover, any failure by the IGRC
(“IGP”) involves the following three-step procedure for            or the superintendent to timely respond to a grievance or
the filing of grievances. 7 N.Y.C.R.R. §§ 701.5, 701.6(g),         first-level appeal, respectively, can–and must–be appealed to
701.7. 11 First, an inmate must file a complaint with the          the next level, including CORC, to complete the grievance
facility's IGP clerk within a certain number of days of the        process. 14
alleged occurrence. 12 If a grievance complaint form is not
readily available, a complaint may be submitted on plain           13
                                                                           See Murray, 2010 WL 1235591, at *2 & n.3 (citing
paper. A representative of the facility's IGRC has a certain               Groves v. Knight, 05-CV-0183, Decision and Order
number of days from receipt of the grievance to informally                 at 3 (N.D.N.Y. filed Aug. 4, 2009), an appeal from
resolve the issue. If there is no such informal resolution, then           which was subsequently dismissed as frivolous, see
the full IGRC conducts a hearing within a certain number of                Groves v. Knight, No. 09-3641, Mandate (2d Cir.
days of receipt of the grievance, and issues a written decision            Filed Jan. 15, 2010)).
within a certain number of days of the conclusion of the
hearing. Second, a grievant may appeal the IGRC decision to



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14     7 N.Y.C.R.R. § 701.6(g) (“[M]atters not decided
                                                                   Pursuant to Local Rule 7.1(b)(3), by failing to oppose
       within the time limits may be appealed to the next
                                                                   Defendants’ motion, Plaintiff has effectively consented to the
       step.”); see also Murray, 2010 WL 1235591, at *2
                                                                   granting of the relief sought. That rule provides as follows:
       & n.4 (collecting cases).
 *9 Generally, if a prisoner has failed to properly follow
each of the required three steps of the above-described
                                                                               Where a properly filed motion is
grievance procedure prior to commencing litigation, he has
                                                                               unopposed and the Court determines
failed to exhaust his administrative remedies, and his claims
                                                                               that the moving party has met its
are subject to dismissal. Woodford, 548 U.S. at 93; Porter, 534
                                                                               burden to demonstrate entitlement to
U.S. at 524; Ruggiero v. Cnty. of Orange, 467 F.3d 170, 175
                                                                               the relief requested therein, the non-
(2d Cir. 2006). However, a plaintiff's failure to exhaust does
                                                                               moving party's failure to file or serve
not end the inquiry. The Second Circuit has held that a three-
                                                                               any papers as this Rule requires shall
part inquiry is appropriate where a defendant contends that
                                                                               be deemed as consent to the granting
a prisoner has failed to exhaust his available administrative
                                                                               or denial of the motion, as the case may
remedies, as required by the PLRA. Hemphill v. State of New
                                                                               be, unless good cause is shown.
York, 380 F.3d 680, 686, 691 (2d Cir. 2004), accord, Ruggiero,
467 F.3d at 175. First, “the court must ask whether [the]
administrative remedies [not pursued by the prisoner] were
                                                                   N.D.N.Y. L.R. 7.1(b)(3); see also Jackson v. Fed. Express,
in fact ‘available’ to the prisoner.” Hemphill, 380 F.3d at 686
                                                                   766 F.3d 189, 194 (2d Cir. 2014) (holding that the district
(citation omitted). Second, if those remedies were available,
                                                                   courts may enter summary judgment in favor of the
“the court should ... inquire as to whether [some or all of] the
                                                                   moving party where the non-moving party fails to respond
defendants may have forfeited the affirmative defense of non-
                                                                   in opposition, but not without first “ensur[ing] that each
exhaustion by failing to raise or preserve it ... or whether the
                                                                   statement of material fact is support by record evidence
defendants’ own actions inhibiting the [prisoner's] exhaustion
                                                                   sufficient to satisfy the movant's burden of production” and
of remedies may estop one or more of the defendants from
                                                                   “determin[ing] whether the legal theory of the motion is
raising the plaintiff's failure to exhaust as a defense.” Id.
                                                                   sound”).
[citations omitted]. Third, if the remedies were available and
some of the defendants did not forfeit, and were not estopped
                                                                   In this case, Plaintiff has not responded to the merits of
from raising, the non-exhaustion defense, “the Court should
                                                                   Defendants’ motion. The motion was properly filed by
consider whether ‘special circumstances’ have been plausibly
                                                                   Defendants, and Defendants through their motion have met
alleged that justify the prisoner's failure to comply with the
                                                                   their burden of demonstrating entitlement to some of the relief
administrative procedural requirements.” Id. [citations and
                                                                   requested. With respect to the question of whether Defendants
internal quotations omitted]. 15
                                                                   have met their burden, I note that the “burden of persuasion is
                                                                   lightened such that, in order to succeed, [their] motion need
15     The Court notes that the Supreme Court recently             only be ‘facially meritorious.’ ” See Rodriguez v. Goord, 04-
       eliminated this third inquiry, and courts are no            CV-0358, 2007 WL 4246443, at *1 (N.D.N.Y. Nov. 27, 2007)
       longer permitted to excuse a prisoner's failure to          (Scullin, J., adopting Report-Recommendation on clear error
       exhaust his administrative remedies because of              review) (finding that determination of whether a movant has
       “special circumstances.” Ross v. Blake, 136 S. Ct.          satisfied its burden to demonstrate entitlement to a dismissal
       1850, 1856-57 (2016).                                       under Local Rule 7.1(b)(3) “is a more limited endeavor than
                                                                   a review of a contested motion to dismiss” (citing cases)).
III. ANALYSIS
                                                                   Because Defendants have accurately cited both proper legal
   A. Plaintiff's Failure to Oppose the Merits of                  authority and evidence in the record supporting the grounds
   Defendants’ Summary Judgment Motion                             on which their motion is based with respect to Defendants
Before turning to the merits of Defendants’ motion, a              Jones and Gould as set forth below, and Plaintiff has
threshold issue to be addressed is the legal significance of       failed to respond in opposition to the merits of the motion
Plaintiff's failure to oppose the merits of Defendants’ motion.    for summary judgment, I find that Defendants’ motion is



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facially meritorious. Jackson, 766 F.3d at 194. Accordingly,       dated July 21, 2015, and that he appealed the denial of
I recommend that the Court grant Defendants’ motion with           these grievances to the facility superintendent. The parties
respect to Defendants Jones and Gould on this basis.               only dispute whether Plaintiff completed the third step in the
                                                                   grievance process by appealing to CORC.
 *10 It should also be noted that there are additional
consequences flowing from Plaintiff's failure to file an           Defendants submitted proof in admissible form by way of an
opposition to Defendants’ Local Rule 7.1(a)(3) Statement           affidavit from Rachael Seguin, the custodian of the records
of Material Facts. Local Rule 7.1 provides, in relevant part,      maintained by CORC. (Dkt. No. 28, Attach. 16.) In her
that “[t]he Court shall deem admitted any properly supported       affidavit, Ms. Seguin stated that she searched record appeals
facts set forth in the Statement of Material Facts that the        received by CORC filed by Plaintiff, and her search revealed
opposing party does not specifically controvert.” N.D.N.Y.         “no appeal for Grievance AUB-67199-15” and “no appeal for
L.R. 7.1(a)(3) (emphasis in original). Courts in this district     Grievance AUB-67567-15.” (Id. at ¶¶11-12.)
have routinely enforced this rule in cases where a non-
movant has failed to properly respond. See, e.g., Elgamil          However, with respect to grievance AUB-67199-15, Plaintiff
v. Syracuse Univ., 99-CV-0611, 2000 WL 1264122, at *1              alleged in his verified Complaint 16 that “[o]n [July 3,
(N.D.N.Y. Aug. 22, 2010) (McCurn, J.) (listing cases).             2015, he] received [the denial from the Superintendent]
Undeniably, pro se litigants are entitled to some measure          and requested that it be appealed to the Central Office
of forbearance when defending against summary judgment             Review Committee.” (Dkt. No. 1 at 5.) Similarly, Plaintiff
motions. Jemzura v. Public Serv. Comm'n, 961 F. Supp. 406,         testified that after receiving the denial of his grievance from
415 (N.D.N.Y. 1997) (McAvoy, J.). The deference owed to            the Superintendent, he appealed to CORC. (Dkt. No. 28,
pro se litigants, however, does not extend to relieving them of    Attach. 5 at 46.) Moreover, Plaintiff alleged in his verified
the ramifications associated with the failure to comply with       Complaint that on August 15, 2015, he “composed a letter
the court's local rules. Robinson v. Delgado, 96-CV-0169,          to the C.O.R.C. Inmate Grievance Program Supervisor Karen
1998 WL 278264, at *2 (N.D.N.Y. May 22, 1998) (Pooler,             Bellamy inquiring as to whether or not request for appeal
J., adopting Report-Recommendation on clear error review.).        was received.” (Dkt. No. 1 at 5.) Likewise, Plaintiff testified
Stated differently, “a pro se litigant is not relieved of his      that he wrote a letter to CORC asking about the status of his
duty to meet the requirements necessary to defeat a motion         appeal. (Dkt. No. 28, Attach. 5 a 46.) Furthermore, Plaintiff
for summary judgment.” Latouche v. Tompkins, 09-CV-0308,           alleged in his verified Complaint that on September 2, 2015,
2011 WL 1103045, at *1 (N.D.N.Y. Mar. 23, 2011) (Mordue,           he “composed a letter to Auburn C.F. I.G.P. Supervisor Cheryl
J.).                                                               Parmiter inquiring as to whether or not [his] appeal was
                                                                   submitted as requested.” (Dkt. No. 1 at 5.) Similarly, Plaintiff
Here, because Plaintiff was warned of the consequences of          testified that “I believe that one I never received a response
failing to properly respond to Defendants’ Local Rule 7.1          from Central Office. So I wrote Albany's – Auburn's I.G.R.C.
Statements (Dkt. No. 28 at 2; text notice dated July 3, 2019),     and asked them what happened and they said they never
and he has failed to do so, I recommend that the Court             received an appeal.” (Dkt. No. 28, Attach. 5 at 46.)
deem the facts contained in Defendants’ Local Rule 7.1(a)
(3) Statements as having been admitted to the extent they are      16     “Although ‘a plaintiff's pro se status does not
supported by accurate record citations. See, e.g., Latouche,
                                                                          allow him to rely on conclusory allegations or
2011 WL 1103045, at *1; see also Champion v. Artuz, 76
                                                                          unsubstantiated speculation to overcome a motion
F.3d 483, 486 (2d Cir. 1996). As to any facts not contained
                                                                          for summary judgment,’ Almonte v. Florio, 02-
in Defendants’ Local Rule 7.1(a)(3) Statements, in light of
                                                                          CV-6722, 2004 WL 60306, at *3 n.10 (S.D.N.Y.
the procedural posture of this case, the Court is “required
                                                                          Jan. 13, 2004) (citation and italics omitted), where
to resolve all ambiguities and draw all permissible factual
                                                                          a plaintiff ‘verifie[s] his complaint by attesting
inferences” in favor of Plaintiff. Terry, 336 F.3d at 137.
                                                                          under penalty of perjury that the statements in
                                                                          the complaint [are] true and to the best of his
  B. Exhaustion of Grievances AUB-67199-15 and                            knowledge,’ the ‘verified complaint is to be treated
  AUB-67567-15                                                            as an affidavit for summary judgment purposes,’
There is no dispute in this case that Plaintiff filed grievances          Colon v. Coughlin, 58 F.3d 865, 872 (2d Cir.
AUB-67199-15 dated May 10, 2015, and AUB-67567-15


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        1995).” King v. Puershner, 17-CV-1373, 2019 WL               create a factual dispute material to the issue of whether
        4519692, at *1 n.1 (S.D.N.Y. Sept. 19, 2019).                Plaintiff exhausted his administrative remedies.”); Smith v.
 *11 In addition, with respect to grievance AUB-67567-15,            Kelly, 985 F. Supp. 2d 275, 289 (N.D.N.Y. 2013) (Suddaby, J.)
Plaintiff alleged in his verified Complaint that “[o]n [August       (granting the defendants’ motion for summary judgment on
15, 2015, he] received [the denial from the superintendent]          the issue of exhaustion where the plaintiff failed to “identify
and requested that it be appealed to the C.O.R.C.” (Dkt.             the name of the ‘IGRC's supervisor’ who purportedly told
No. 1 at 6.) Moreover, Plaintiff's verified Complaint alleged        him that a new prisoner does not file a grievance at Auburn
that on September 29, 2015, he “composed another letter to           C.F. if it pertains to the prisoner's previous facility, nor does
C.O.R.C.’s I.G.P. Supervisor Karen Bellamy informing her of          he specify the date, means or location of this purported
all grievances he was awaiting decisions on ... as he hadn't         communication.”).
yet received receipt of appeal for this grievance.” (Dkt. No.
1 at 6.)                                                             Mindful that a court should not resolve credibility issues
                                                                     when deciding a motion for summary judgment, and
Generally, conclusory allegations that an inmate appealed the        that Defendants bear the ultimate burden of proving
superintendent's grievance denial to CORC are insufficient           that Plaintiff did not exhaust his administrative remedies,
                                                                     I conclude that there appears to be a material issue
to withstand a motion for summary judgment. See Gibbs v.
                                                                     of fact regarding whether Plaintiff appealed grievances
Gadway, 19-CV-0281, 2019 WL 5191506, at *3 (N.D.N.Y.
Oct. 15, 2019) (Stewart, M.J.) (recommending dismissal               AUB-67199-15 and AUB-67567-15. 17 As a result, I
based on the plaintiff's failure to exhaust his administrative       recommend that Defendants’ motion be denied on this basis.
remedies where the plaintiff made “a purely conclusory
allegation that he appealed the grievance denial to CORC.”).         17      The Court notes that this conclusion is based
                                                                             on the special solicitude afforded to Plaintiff
However, the case law implies that where a plaintiff sets forth              as a pro se litigant. Further, the Court notes
the date that he or she appealed the grievance to CORC, that                 that the evidence in the record to support the
may be enough to survive a motion for summary judgment.                      exhaustion of Plaintiff's administrative remedies
C.f. Gibbs v. Gadway, 19-CV-0281, 2019 WL 5191506, at                        is sparse. See c.f. Richardson v. Eberth, 14-
*3 (N.D.N.Y. Oct. 15, 2019) (Stewart, M.J.) (recommending                    CV-6138, 2016 WL 1271078, at *2-3 (W.D.N.Y.
dismissal of the plaintiff's claims for failure to exhaust his               Mar. 29, 2016) (dismissing based on failure to
administrative remedies where the plaintiff “has not provided                exhaust administrative remedies where the plaintiff
a copy of the grievance appeal or even asserted what date                    attached a copy of his original grievance which
he filed the appeal.”); Gough v. Morris, 16-CV-1107, 2018                    did not “bear any indicia that it was received
WL 7199494, at *3 (N.D.N.Y. Dec. 14, 2018) (Stewart,                         or provided to any individual at the jail for
M.J.) (recommending dismissal based on the plaintiff's failure               transmission to the CORC” and his affidavit
to exhaust his administrative remedies where he testified                    submitted in opposition failed to provide any
that he appealed the superintendent's response to CORC but                   specific details to support his allegation that he
there was no evidence in the record that (a) the grievance                   appealed his grievance to CORC (e.g. it did not
or the superintendent's response were appealed to CORC                       state what specific person he gave it to in the
and, (b) despite not receiving a response from CORC, the                     prison, on what date he gave the appeal to anyone
plaintiff testified that he did not write to CORC to follow-                 at the prison, or any other pertinent or specific
up); Campbell v. Prue, 16-CV-0004, 2018 WL 4635708, at                       information to support his allegations)); Toliver v.
*5 (N.D.N.Y. July 3, 2018) (Hummel, M.J.) (“Although [the                    Stefinik, 12-CV-0077, 2016 WL 3349316, at *6
plaintiff] alleges that he filed [a] grievance ..., plaintiff does           (June 15, 2016) (D'Agostino, J.) (dismissing for
not state when he filed such grievance.... Further, plaintiff                failure to exhaust administrative remedies where
has not provided a copy of the alleged grievance or the                      the plaintiff submitted a copy of a formal grievance
Marcy IGRC's denial of that grievance.”); Toliver v. Stefinik,               dated March 9, 2011, that was not reflected in the
12-CV-0077, 2016 WL 3349316, at *6 (N.D.N.Y. June 15,                        defendants’ records but where the plaintiff alleged
2016) (D'Agostino, J.) (“vague and conclusory allegations ...                that he “circulated” the grievance to the defendants
[regarding] grievances ... do not, in light of the documentation
Defendants have provided about Plaintiff's grievance history,


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        and it was unclear whether the grievance was ever           him or her, and the evidence tending to link the two.
        submitted to IGRC).                                         When such claims, which are exceedingly case specific, are
                                                                    alleged in only conclusory fashion, and are not supported
   C. Whether Plaintiff's First Amendment Retaliation               by evidence establishing the requisite nexus between any
   Claims Should Nevertheless be Dismissed                          protected activity and the adverse action complained of,
 *12 A cognizable claim of retaliation pursuant to 42 U.S.C.        a defendant is entitled to the entry of summary judgment
§ 1983 lies when prison officials take an adverse action            dismissing plaintiff's retaliation claims. Flaherty v. Coughlin,
against an inmate that is motivated by the inmate's exercise        713 F.2d 10, 13 (2d Cir. 1983), overruled on other grounds,
of a constitutional right, including the free speech provisions     Swierkiewicz v. Sorema N.A., 534 U.S. 506 (2002).
of the First Amendment. See Friedl v. City of N.Y., 210 F.3d
79, 85 (2d Cir. 2000) (“In general, a section 1983 claim will
lie where the government takes negative action against an
                                                                                       1. Defendant Pflueger
individual because of his exercise of rights guaranteed by
the Constitution or federal laws.”). As the Second Circuit          Plaintiff alleges that Defendant Pflueger retaliated against
has repeatedly cautioned, however, because such claims are          him during four separate incidents: (1) firing Plaintiff as
easily incanted and inmates often attribute adverse action,         a feed up porter and filing a false misbehavior report on
including the issuance of misbehavior reports, to retaliatory       June 17, 2015, (2) verbal harassment on (a) an unspecified
animus, courts must approach such claims “with skepticism           dated in June or July 2015, (b) August 4, 2015, and (c)
and particular care.” Dawes v. Walker, 239 F.3d 489, 491 (2d        August 6, 2015, (3) causing Defendant Gould to file a
Cir. 2001), overruled on other grounds by Swierkiewicz v.           false administrative segregation recommendation, and (4) the
Sorema N.A., 534 U.S. 506 (2002); accord, Davis v. Goord,           destruction of Plaintiff's personal property.
320 F.3d 346, 352 (2d Cir. 2003).

To state a prima facie claim pursuant to 42 U.S.C. § 1983 for
retaliatory conduct, a plaintiff must advance non-conclusory                      a. Incident on June 17, 2015 18
allegations establishing that (1) the conduct at issue was
                                                                    18
protected, (2) the defendants took adverse action against the              Defendants argue that Defendant Pflueger, as a
plaintiff, and (3) there was a causal connection between the               correction officer, would not have had authority
protected activity and the adverse action–in other words, that             to fire Plaintiff as a feed up porter. (Dkt. No. 28,
the protected conduct was a “substantial or motivating factor”             Attach. 3 at 17-18; Dkt. No. 28, Attach. 10 at
in the prison officials’ decision to take action against the               ¶11.) However, there is evidence in the record that
plaintiff. Mount Healthy City Sch. Dist. Bd. of Educ. v. Doyle,            disputes this assertion and creates an issue of fact
429 U.S. 274, 287 (1977); Dillon v. Morano, 497 F.3d 247,                  for trial. (Dkt. No. 28, Attach. 5 at 49.)
251 (2d Cir. 2007); Garrett v. Reynolds, No. 99-CV-2065,             *13 Defendants argue that Plaintiff's retaliation claim with
2003 WL 22299359, at *4 (N.D.N.Y. Oct. 3, 2003) (Sharpe,            respect to the incidents on June 17, 2015, fails based on
M.J.).                                                              the third element, that there is no evidence in the record to
                                                                    support the contention that Plaintiff was retaliated against for
If the plaintiff carries this burden, then to avoid liability the
                                                                    his protected speech. 19
defendants must show by a preponderance of the evidence
that they would have taken action against the plaintiff even
                                                                    19
in the absence of the protected conduct. Mount Healthy, 429                It is undisputed that Plaintiff engaged in
U.S. at 287. If taken for both proper and improper reasons,                constitutionally protected speech by the filing of
state action may be upheld if the action would have been taken             grievances. (Dkt. No. 1 at 5-7; Dkt. No. 28,
based on the proper reasons alone. Graham v. Henderson, 89                 Attach. 11; Dkt. No. 28, Attach. 12; Dkt. No.
F.3d 75, 79 (2d Cir. 1996) (citations omitted).                            28, Attach. 14; Dkt. No. 28, Attach. 15; Dkt.
                                                                           No. 28, Attach. 18; Dkt. No. 28, Attach. 19.) See
Analysis of retaliation claims thus requires careful                       also Flood v. Cappelli, 18-CV-3897, 2019 WL
consideration of the protected activity in which the inmate                3778736, at *7 (S.D.N.Y. Aug. 2, 2019) (collecting
plaintiff has engaged, the adverse action taken against                    cases) (holding that the filing of a grievance is



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       protected speech). In addition, the alleged actions        *14 Here, in addition to temporal proximity connecting
       taken by Defendants constitute adverse actions            Plaintiff's grievance of May 10, 2015, to the incident on
       because they would deter a prisoner of “ordinary          June 17, 2015, 20 Defendant Pflueger's alleged statements
       firmness” from exercising his rights. See Johnson         provide circumstantial evidence of causation. Plaintiff's
       v. Schiff, 17-CV-8000, 2019 WL 4688542, at                verified Complaint alleged that on August 4, 2015, Defendant
       *24 (S.D.N.Y. Sept. 26, 2019) (collecting cases)          Pflueger said to another correction officer, “[t]his is also
       (holding that the filing of a false misbehavior report    where we keep idiots like this guy who think they can snitch
       against a prisoner is an adverse action); Hayes v.        on officers and nothing's going to happen to them,” and
       Dahkle, 16-CV-1368, 2017 WL 9511178, at *11               “[h]ow'd that work out for you stupid? You want to help me
       (N.D.N.Y. Oct. 30, 2017) (Hummel, M.J.) (holding          explain to him how our grievance procedure works?” (Dkt.
       that the “filing of a falsified misbehavior report        No. 1 at 24-25.) Moreover, the verified Complaint alleged
       that results in disciplinary segregated confinement       that on August 6, 2015, Defendant Pflueger said, “[o]h, and
       constitutes adverse action.”); Casey v. Pallito, 12-      just so you know, I didn't forget about your latest grievance
       CV-0284, 2016 WL 96157, at *7 (D. Vt. Jan.                either. You better say a prayer to your White Supremacist
       7, 2016) (holding that terminating a prisoner's           God that I'm not here on the day they bring you down to
       employment is an “adverse action.”); Chavis v.            the draft room, because I'll be watching the change sheet.
       Struebel, 317 F. Supp. 2d 232, 238 (W.D.N.Y.              You're not gonna make it outta here in 1 piece.” (Dkt. No. 1
       2004) (noting that “assigning the inmate [to] less        at 25.) These statements provide circumstantial evidence that
       desirable work assignments satisfies the adverse          Defendant Pflueger's actions on June 17, 2015, firing Plaintiff
       action requirement” for purposes of a prisoner's          from his job as a feed up porter and filing a misbehavior
       First Amendment retaliation claim).                       report against him that ultimately resulted in his placement
In considering whether there is a “causal connection between     in keep-lock confinement for thirty days, were in retaliation
the protected speech and the adverse action, a court may         for Plaintiff's grievance of May 10, 2015. See Cole v. N.Y.S.
consider a number of factors, including any statements made      Dep't of Corr. and Cmty. Supervision, 14-CV-0539, 2016 WL
by the defendant concerning his motivation and the temporal      5394752, at *26 (N.D.N.Y. Aug. 25, 2016) (Peebles, M.J.)
proximity between the protected activity and the defendant's     (finding an issue of fact as to retaliation where the defendant
adverse action.” Roseboro v. Gillespie, 719 F. Supp. 2d 353,     allegedly said (a) “Happy Anniversary” in reference to prior
366 (S.D.N.Y. 2011); see also Tuitt v. Chase, 11-CV-0776,        assaults and a lawsuit that resulted from those assaults, and (b)
2013 WL 877439, at *7 (N.D.N.Y. Jan. 30, 2013) (Dancks,          that the assault was “payback” for the plaintiff's grievances);
M.J.), report and recommendation adopted, 2013 WL 877617         Roland v. McMonagle, 12-CV-6331, 2015 WL 5918179, at
(N.D.N.Y. Mar. 8, 2013) (factors relevant to a consideration     *6 (S.D.N.Y. Oct. 9, 2015) (finding an issue of fact as to
of causal connection “include: (i) the temporal proximity        retaliation where there was evidence that the defendants were
between the protected activity and the alleged retaliatory       aware of the plaintiff's complaints and mocked him for filing
act; (ii) the inmate's prior good disciplinary record; (iii)     grievances). 21
vindication at a hearing on the matter; and (iv) statements by
the defendant concerning his or her motivation”). The Second     20      “In assessing temporal proximity, the Second
Circuit has “held that temporal proximity between protected
                                                                         Circuit has established that no more than six
conduct and an adverse action constitutes circumstantial
                                                                         months between the protected activity and the
evidence of retaliation,” but has also “consistently required
                                                                         adverse action establishes the temporal proximity
some further evidence of retaliatory animus before permitting
                                                                         sufficient to support an inference of causal
a prisoner to proceed to trial on a retaliation claim.”
                                                                         connection.” Hayes v. Dahkle, 16-CV-1368, 2017
Washington v. Afify, 681 F. App'x 43, 46 (2d Cir. 2017);
                                                                         WL 9511178, at *9 (N.D.N.Y. Oct. 30, 2017)
see also Thomas v. Waugh, 13-CV-0321, 2015 WL 5750945,
                                                                         (Hummel, M.J.) (citing King v. McIntyre, 11-
at *4 (N.D.N.Y. Sept. 30, 2015) (D'Agostino, J. adopting
                                                                         CV-1457, 2015 WL 1781256, at *5 (N.D.N.Y. Apr.
Report-Recommendation on de novo review) (citing Slattery
                                                                         8, 2016)). Here Plaintiff was fired as a feed up
v. Swiss Reinsurance Am. Corp., 248 F.3d 87, 95 (2d Cir.
                                                                         porter and Defendant Pflueger filed an allegedly
2001)) (“temporal proximity alone is insufficient to establish
                                                                         false misbehavior report on June 17, 2015, which
an inference of retaliation.”).
                                                                         is “well within the Second Circuit's six-month time



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        frame for establishing a causal connection between           demonstrating proper, non-retaliatory reasons for filing the
        [P]laintiff's filing of a grievance” on May 10, 2015.        misbehavior report.”).
        Hayes, 2017 WL 9511178, at *10.
                                                                      *15 As a result, I recommend that Defendants’ motion for
21      While Defendant Pflueger denies making the                   summary judgment be granted with respect to the allegedly
        statements on August 4, 2015, and August 6, 2015,            false misbehavior report of June 17, 2015, and be denied with
        (Dkt. No. 28, Attach. 10 at ¶¶ 25-25), “[t]he court,         respect to the “firing” of Plaintiff as a feed up porter.
        when faced with conflicting sworn statements,
        must leave such credibility determinations to a
        reasonable fact finder to determine.” Mack v. Wood,
        17-CV-1146, 2019 WL 5197230, at *7 (N.D.N.Y.                                    b. Verbal Harassment
        July 26, 2019) (Baxter, M.J.).
                                                                     Plaintiff alleges that sometime in June or July 2015, he
As a result, the burden shifts to Defendants to show by a            was verbally harassed when Defendant Pflueger told another
preponderance of the evidence that they would have taken             officer that he was going to “kick [P]laintiff's f******
action against the plaintiff even in the absence of the protected    a**.” (Dkt. No. 1 at 19.) In addition, Plaintiff alleges that on
conduct. Mount Healthy, 429 U.S. at 287.                             August 4, 2015, Defendant Pflueger said to another correction
                                                                     officer, “[t]his is also where we keep idiots like this guy who
With respect to the “firing” of Plaintiff as a feed up               think they can snitch on officers and nothing's going to happen
porter, Defendants submitted a non-retaliatory reason—that           to them,” and “[h]ow'd that work out for you stupid? You
Defendant Pflueger observed Plaintiff pass an unidentified           want to help me explain to him how our grievance procedure
object into the cell of another inmate. (Dkt. No. 28, Attach.        works?” (Dkt. No. 1 at 24-25.) 22 Moreover, Plaintiff alleges
10 at ¶13.) However, Plaintiff testified that he did not pass        that on August 6, 2015, Defendant Pflueger said, “[o]h, and
any unidentified items into another inmate's cell. (Dkt. No.         just so you know, I didn't forget about your latest grievance
28, Attach. 5 at 51-52.) As a result, I find that a material issue   either. You better say a prayer to your White Supremacist God
of fact remains for trial.                                           that I'm not here on the day they bring you down to the draft
                                                                     room, because I'll be watching the change sheet. You're not
However, with respect to the allegedly false misbehavior             gonna make it outta here in 1 piece.” (Dkt. No. 1 at 25.)
report, Plaintiff admitted some of the allegations contained in
the misbehavior report. More specifically, Plaintiff admitted        22
that he yelled profanities as he walked back to his cell                    While this statement suggests retaliatory animus
and that while in his cell, he made derogatory statements                   about Plaintiff's placement in administrative
about Defendant Pflueger loud enough to be heard by an                      segregation, for the reasons set forth in Part
inmate on a different floor. (Dkt. No. 28, Attach. 5 at 54-55.)             III.C.1.c. infra, there is no evidence before the
This admission “suggests that ‘plaintiff committed the most                 Court that Defendant Pflueger had any role in
serious, if not all, of the prohibited conduct charged in the               Plaintiff's administrative segregation placement
misbehavior report.’ ” Flynn v. Ward, 15-CV-1028, 2018 WL                   (other than being the alleged target of Plaintiff's
3195095, at *12 (N.D.N.Y. June 7, 2018) (Hummel, M.J.)                      planned of attack). In addition, Plaintiff accepted
(quoting Gayle v. Gonyea, 313 F.3d 677, 682 (2d Cir. 2002)).                the recommendation that he be placed in
As a result, Defendants have established a non-retaliatory                  administrative segregation. (Dkt. No. 1 at 21-22.)
reason for the filing of the misbehavior report of June 17,          In this Circuit, allegations of verbal harassment or threats
2015. Flynn, 2018 WL 3195095, at *12 (citing Hynes v.                are generally an insufficient basis for an inmate's § 1983
Squillace, 143 F.3d 653, 657 (2d Cir. 1998) (concluding that         claim. See Purcell v. Coughlin, 790 F.2d 263, 265 (2d
plaintiff's admission of the underlying conduct established a        Cir. 1986) (“The claim that a prison guard called Purcell
“proper, non-retaliatory reason[ ] for filing the misbehavior        names also did not allege any appreciable injury and was
report.”)); see also Hynes v. Squillace, 143 F.3d 653, 657           properly dismissed”); Hayes v. Dahkle, 16-CV-1368, 2017
(2d Cir. 1998) (where plaintiff admitted to committing the           WL 9511178, at *7 (N.D.N.Y. Oct. 30, 2017) (Hummel, M.J.)
most serious, if not all, of the prohibited conduct charged          (“[v]erbal harassment absent injury, is generally insufficient
in the misbehavior report, “defendants met their burden of           to rise to the level of a constitutional violation”); Tafari
                                                                     v. Paul, 06-CV-0603, 2009 WL 3260075, at *1 (W.D.N.Y.



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Oct. 8, 2009) (allegations of verbal harassment or abuse,           and seriousness ‘to deter an inmate from exercising his
“without a showing of an actual injury, are insufficient to         First Amendment rights.’ ” Hayes, 2017 WL 9511178, at *8
support a § 1983 claim”) (citing Lewis v. Casey, 518 U.S. 343,      (quoting Quezada v. Roy, 14-CV-4056, 2015 WL 5970355, at
349-50 (1996)); Alexander v. Deming, 03-CV-0147, 2009 WL            *21 (S.D.N.Y. Oct. 13, 2015)).
1044561, at *5 (W.D.N.Y. Apr. 16, 2009) (“Courts within the
Second Circuit have held that threats of disciplinary action        As a result, to the extent the Complaint is construed
and verbal harassment without injury are insufficient to state      as alleging that these incidents of verbal harassment
a constitutional violation”) (citing cases); Ramirez v. Holmes,     were adverse actions—as opposed to evidence of a
921 F. Supp. 204, 210 (S.D.N.Y. 1996) (“Allegations of              causal connection with respect to other adverse actions—I
threats or verbal harassment, without any injury or damage,         recommend dismissal of these claims.
do not state a claim under 42 U.S.C. § 1983.”). “Such
statements are only sufficiently adverse for the purpose
of a First Amendment retaliation claim if they ‘would
                                                                           c. Causing Defendant Gould to File a False
deter a similarly situated individual of ordinary firmness of
                                                                          Administrative Segregation Recommendation
exercising constitutional rights.’ Verbal threats may constitute
[an] adverse action if the threat is sufficiently specific. ‘The    Plaintiff has failed to adduce evidence in the record that
less direct and specific a threat, the less likely it will deter    Defendant Pflueger directed or caused Defendant Gould to
an inmate from exercising his First Amendment rights.’ ”            file a false misbehavior report against Plaintiff. In fact,
Hayes, 2017 WL 9511178, at *7 (citations omitted). “The             Defendant Gould affirmed that he “had no knowledge at
line between de minimis verbal harassment and retaliatory           the time [his] recommendation was made that Plaintiff had
adverse action ... [hinges] on the specificity and seriousness      filed any grievances against Defendant [Pflueger].” (Dkt.
of the words used.” Quezada v. Roy, 14-CV-4056, 2015 WL             No. 28, Attach. 6 at ¶ 11.) In addition, Plaintiff testified
5970355, at *21 (S.D.N.Y. Oct. 13, 2015).                           that (1) he did not know Defendant Gould before Defendant
                                                                    Gould made the recommendation that Plaintiff be placed in
 *16 “Mindful that inmates ‘may be required to tolerate             administrative segregation (Dkt. No. 28, Attach. 5 at 63),
more than average citizens[ ] before a retaliatory action           (2) he has no recollection of ever seeing Defendant Gould
taken against them is considered adverse’ ” Davis, 320              before the recommendation (id.), and (3) he is not aware of
F.3d at 353, I conclude that Defendant Pflueger's alleged           any conversations that Defendant Gould had with Defendant
statements constitute vague threats that lack the specificity       Pflueger, in which, they discussed that Defendant Gould
and seriousness “to deter an inmate from exercising his             should file an administrative segregation recommendation
First Amendment rights” as no real threat exists. Id.; see          based on false information (id. at 65).
Hayes, 2017 WL 9511178, at *8 (holding that where a
correction officer allegedly verbally harassed the plaintiff        The contention that Defendant Pflueger retaliated against
on two occasions “warning him to not get comfortable in             Plaintiff by causing Defendant Gould to file a false
his housing unit because ‘you mess with one of us (C.O.’s)          administrative segregation recommendation is merely a
you got to deal with all of us’ and informing plaintiff that        conclusory allegation, which is insufficient to establish
‘[another correction officer] said hi!’ .... constitute vague       genuine issue of material fact for trial. In addition, this
threats that lack the specificity and seriousness ‘to deter an      contention is sheer surmise on Plaintiff's part and unsupported
inmate from exercising his First Amendment rights’ as no real       by the record. (Dkt. No. 28, Attach. 5 at 64 (Plaintiff testified
threat exists.”).                                                   that the basis for his belief that Defendant Gould filed the
                                                                    recommendation on Defendant Pflueger's behalf is “[b]ecause
Furthermore, with respect to Defendant Pflueger's alleged           there is no other reason to do it.”)); Cole, 2016 WL 5394752,
threats of physical injury, Plaintiff “does not ... allege that     at *27.
these threats were followed by any physical injury[,] and as
a result, they are not actionable.” LaRocco v. N.Y.C. Dep't         As a result, I recommend dismissal of Plaintiff's retaliation
of Corr., 99-CV-9759, 2001 WL 1029044, at *5 (S.D.N.Y.              claim against Defendant Pflueger with respect to this
Aug. 31, 2001). “Absent an appreciable injury following             allegation.
in close time to the threat of force [Defendant Pflueger's
alleged] statement[ ], albeit inappropriate, lack the specificity



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                                                                       wholly unsupported.”) Flynn v. Ward, 15-CV-1028, 2018 WL
                                                                       3195095, at *12 (N.D.N.Y. June 7, 2018) (Hummel, M.J.)
      d. Destruction of Plaintiff's Personal Property
                                                                       (recommending dismissal of retaliation claims where “[t]he
Plaintiff failed to adduce any evidence that Defendant                 record lacks any evidence establishing why Alsante would
Pflueger destroyed (or confiscated or threw away) Plaintiff's          file a false misbehavior report against Flynn, on Wellenstein's
personal property. The only evidence that Plaintiff presents in        behalf, beyond Flynn's conclusory allegations.”). Without
support of his contention, is that another inmate (housed three        more, the evidence does not present a genuine issue of
cells away) witnessed Defendant Pflueger in Plaintiff's cell.          material fact for a jury to resolve. Flynn, 2018 WL 3195095;
(Dkt. No. 1 at 23.) However, Plaintiff admitted that the other         see Wright, 554 F.3d at 274 (dismissing retaliation claim
inmate “was inside his cell, so he couldn't see [Defendant             against a correction officer when the only alleged basis
Pflueger] inside [Plaintiff's] cell.” (Dkt. No. 28, Attach. 5 at       for retaliation was a complaint about an incident involving
71.) Moreover, it is undisputed that other individuals were            another correction officer); Alicea v. Maly, 12-CV-0203,
involved in the removal of Plaintiff's property from his cell          2015 WL 4326114, at *14-15 (N.D.N.Y. July 14, 2015)
and the transportation of that property to the special housing         (D'Agostino, J.) (dismissing retaliation claim which alleged
unit. (Id.; Dkt. No. 1 at 23.) Plaintiff is speculating that           that Correction Officer Trinidad retaliated against the plaintiff
because the other inmate saw Defendant Pflueger in Plaintiff's         for protected actions he took with respect to Correction
cell, that Defendant Pflueger is responsible for Plaintiff's           Officer Freeman, where the plaintiff alleged a close personal
alleged missing personal property. However, this speculation           friendship between Trinidad and Freeman and the record
is insufficient to create a material issue of fact for trial because   was “devoid of any specifics, but replete with conclusions”);
no reasonable juror could conclude that Defendant Pflueger             Guillory v. Ellis, 11-CV-0600, 2014 WL 4365274, at *18
took an adverse action against Plaintiff by destroying his             (N.D.N.Y. Aug. 28, 2014) (D'Agostino, J.) (“[I]t is difficult
property.                                                              to establish one defendant's retaliation for complaints against
                                                                       another defendant.”); Roseboro v. Gillespie, 791 F. Supp. 2d
 *17 As a result, I recommend dismissal of Plaintiff's                 353, 369 (S.D.N.Y. 2011) (plaintiff failed to provide any basis
retaliation claim against Defendant Pflueger with respect to           to believe that a correction counselor would retaliate for a
this allegation.                                                       grievance that she was not personally named in); Ciaprai
                                                                       v. Goord, 02-CV-0915, 2005 WL 3531464, at *9 (N.D.N.Y.
                                                                       Dec. 22, 2005) (Sharpe, J.) (entering summary judgment on
                                                                       retaliation claim where the plaintiff cited only past grievances
                      2. Defendant Jones
                                                                       filed against correction officers other than the officer who
Plaintiff failed to show a genuine issue of material fact              disciplined the plaintiff).
that his protected conduct was a substantial or motivating
factor in Defendant Jones's endorsement of Defendant                   As a result, I recommend that Plaintiff's retaliation claim
Pflueger's misbehavior report dated June 17, 2015. Graham              against Defendant Jones be dismissed.
v. Henderson, 89 F.3d 75, 81 (2d Cir. 1996). “[I]t is difficult
to establish one defendant's retaliation for complaints against
another defendant.” Hare v. Hayden, 09-CV-3135, 2011 WL                                     3. Defendant Gould
1453789, at *4 (S.D.N.Y. Apr. 14, 2011) (citing Wright v.
Goord, 554 F.3d 255, 274 (2d Cir. 2009)).                              For the reasons set forth above in Parts III.C.1.c. and
                                                                       III.C.2. of this Report-Recommendation, I find that the
Here, Plaintiff did not file any grievances or complaints              record lacks evidence establishing a causal connection
against Defendant Jones. The record lacks any evidence                 between Defendant Gould's recommendation that Plaintiff be
establishing why Defendant Jones would endorse a false                 placed in administrative segregation and Plaintiff's grievances
misbehavior report against Plaintiff, on Defendant Pflueger's          against Defendant Pflueger, beyond Plaintiff's conclusory
behalf, beyond Plaintiff's conclusory allegations. See Hill v.         allegations. As a result, I recommend that Plaintiff's
Chalanor, 128 F. App'x 187, 189 (2d Cir. 2005) (holding                retaliation claim against Defendant Gould be dismissed.
that the plaintiff's claim of a causal connection between
defendant “Oliver's threats and the alleged actions of the
other defendants in connection with Hill's medical care is


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                                                                    and adopting that majority approach); Marom v. City of New
                                                                    York, 15-CV-2017, 2016 WL 916424, at *15 (S.D.N.Y. 2016)
                    4. Defendant Graham
                                                                    (reasoning that Iqbal supported the specific constitutional
 *18 The Second Circuit has previously indicated that               provision approach, and finding that all the Colon factors
supervisory defendants may be considered personally                 might be viable for false arrest and excessive force claims
involved only if they “(1) directly participated in the alleged     that were based on a reasonableness standard, but that the
constitutional violation, (2) failed to remedy that violation       second, fourth, and fifth factors would not apply to a First
after learning of it through a report or appeal, (3) created,       Amendment retaliation claim because such claim contains an
or allowed to continue, a policy or custom under which              intent requirement)).
the violation occurred, (4) had been grossly negligent in
managing subordinates who caused the violation, or (5)              The Court agrees with the specific constitutional provision
exhibited deliberate indifference to the rights of inmates by       approach discussed above because it is the most consistent
failing to act on information indicating that the violation         with the guidance provided in Iqbal. See Iqbal, 556 U.S.
was occurring.” Rasheen v. Adner, 356 F. Supp. 3d 222,              at 676 (noting that, “[t]he factors [related to whether
233 (N.D.N.Y. Jan. 28, 2019) (Hurd, D.J.) (citing Colon v.          a government official's individual actions violated the
                                                                    Constitution] necessary to establish a Bivens violation will
Coughlin, 58 F.3d 865, 873 (2d Cir. 1995)). 23
                                                                    vary with the constitutional provision at issue,” discussing
                                                                    that the First and Fifth Amendments require that the official
23      “In addition to satisfying one of these requirements,       acted with a discriminatory purpose, and rejecting the
        a plaintiff must also establish that the supervisor's       argument that supervisors should be held liable on such claims
        actions were the proximate cause of the plaintiff's         merely because they knew of a subordinate's discriminatory
        constitutional deprivation.” Raspardo v. Carlone,           purpose). The Court will therefore consider only the first and
        770 F.3d 97, 116 (2d Cir. 2014).                            third Colon factors because Plaintiff's claims are pursuant to
The Supreme Court's decision in Iqbal has raised the question       the First Amendment.
of whether all of the Colon factors continue to be viable.
Keyes v. Annucci, 19-CV-0372, 2019 WL 4602240, at *17                *19 “[A] retaliation claim under the First amendment
(N.D.N.Y. Sept. 23, 2019) (Suddaby, C.J.) (citing Montanez          requires a showing of discriminatory intent, [and as a result,]
v. City of Syracuse, 16-CV-0550, 2019 WL 315058, at *17             supervisory liability will be imposed only if Plaintiff[ ]”
(N.D.N.Y. Jan. 23, 2019) (Sannes, J.)). Neither the Second          establishes “that the officials either (a) directly participated in
Circuit nor the Supreme Court have made any findings on             the alleged constitutional violation, or (b) created, or allowed
this issue. Keyes, 2019 WL 4602240, at *17. “Courts within          to continue, a policy or custom under which the violation
the Second Circuit have taken various approaches post-Iqbal,        occurred.” Keyes, 2019 WL 4602240, at *19.
from finding that only the first and third factors remain viable,
to continuing to apply all factors in the absence of Second         “[W]hile personal involvement cannot be founded solely on
Circuit guidance, to considering the specific constitutional        supervision, liability can be found if the official proactively
provision underlying the claim and applying all the Colon           participated in reviewing the administrative appeals as
factors to claims that rely on a standard of unreasonable           opposed merely to rubber-stamping the results.” Molano v.
conduct or deliberate indifference but declining to apply           Bezio, 10-CV-6481, 2012 WL 1252630, at *5 (W.D.N.Y. Apr.
all of them where the claim requires instead a showing              13, 2012) (citing Collins v. Ferguson, 804 F. Supp. 2d 134,
of discriminatory intent.” Id. (see Montanez, 2019 WL               140 (W.D.N.Y. 2011); Black v. Coughlin, 76 F.3d 72, 74-75
315058, at *17-18 (collecting cases) (adopting the specific         (2d Cir. 1996)).
constitutional provision approach and applying all the Colon
factors to the plaintiff's Fourteenth Amendment claims              The record before the Court contains superintendent
because they did not require a showing of discriminatory            responses related to four grievances. (Dkt. No. 28, Attach.
intent); Carpenter v. Apple, 15-CV-1269, 2017 WL 3887908,           11 at 1; Dkt. No. 28, Attach. 12 at 2; Dkt. No. 28, Attach.
at *9-10 (N.D.N.Y. Sept. 5, 2017) (Suddaby, C.J.) (noting           14 at 1; Dkt. No. 28, Attach. 15 at 6; Dkt. No. 28, Attach.
that the majority of district courts have continued to apply        18 at 1; Dkt. No. 28, Attach. 19 at 1.) However, the
all of the Colon factors “where the constitutional violation        signature of the superintendent who executed the response,
at issue does not require a showing of discriminatory intent”       in each instance, is illegible. While Defendants argue that



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                                                                         conclusory qualified immunity arguments that fail to address
Defendant Graham merely rubber stamped the results of the
                                                                         the particular facts or cite any relevant cases)).
investigation, “notably absent from the record is any affidavit
or declaration from [Defendant Graham]” and absent “such
                                                                         ACCORDINGLY, it is
evidence, a factual dispute exists as to whether [Defendant
Graham] proactively participated in the decision-making
                                                                         RECOMMENDED that Defendants’ motion for summary
process related to [Plaintiff's] grievances.” Flynn, 2018 WL
                                                                         judgment (Dkt. No. 28) be DENIED with respect to Plaintiff's
3195095, at *13.
                                                                         retaliation claims against (1) Defendant Pflueger for firing
                                                                         Plaintiff as a feed up porter, and (2) Defendant Graham as
As such, I find that there is a triable issue of material fact for
                                                                         superintendent and GRANTED with respect to Plaintiff's
a jury to resolve with respect to Defendant Graham's personal
                                                                         retaliation claims against (1) Defendants Jones, (2) Defendant
involvement in Defendant Pflueger's alleged retaliatory
                                                                         Gould, and (3) Defendant Pflueger for allegedly (a) filing
conduct. Flynn, 2018 WL 3195095, at *13 (citing Celotex v.
                                                                         a false misbehavior report against Plaintiff on June 17,
Catrett, 477 U.S. 317, 323 (1986)). Therefore, I recommend
                                                                         2015, (b) verbally harassing Plaintiff, (c) causing Defendant
that Defendants’ motion with respect to Defendant Graham
                                                                         Gould to file an improper recommendation of administrative
be denied.
                                                                         segregation, and (d) destroying Plaintiff's property.

   D. Doctrine of Qualified Immunity                                      *20 Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule
Finally, Defendants argue that, in any event, they are shielded          72.1(c), the parties have fourteen (14) days within which
from liability based on the doctrine of qualified immunity.              to file written objections to the foregoing report. Such
                                                                         objections shall be filed with the Clerk of the Court.
Qualified immunity shields federal and state officials from              FAILURE TO OBJECT TO THIS REPORT WITHIN
suit “ ‘unless [1] the official violated a statutory or                  FOURTEEN DAYS WILL PRECLUDE APPELLATE
constitutional right that [2] was clearly established at the time        REVIEW. Roldan v. Racette, 984 F.2d 85, 89 (2d Cir. 1993)
of the challenged conduct.’ ” Terebesi v. Torreso, 764 F.3d              (citing Small v. Sec. of Health & Human Servs., 892 F.2d 15
217, 230 (2d Cir. 2014) (quoting Reichle v. Howards, 566 U.S.            (2d Cir. 1989)); 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a),
658, 664 (2012)). “A right is ‘clearly established’ if ‘it would         6(e), 72.
be clear to a reasonable officer that his conduct was unlawful
in the situation he confronted.’ ” Beckles v. City of New York,          It is hereby respectfully ORDERED that the Clerk of the
492 F. App'x 181, 182 (2d Cir. 2012) (quoting Saucier v. Katz,           Court shall file a copy of this Report-Recommendation on
533 U.S. 194, 202 (2001)).                                               the docket of this case and serve a copy upon the parties in
                                                                         accordance with the local rules. 24
Here, while Defendants summarize general caselaw, their
argument in support of the qualified immunity defense is                 24
                                                                                 The Clerk shall also provide Plaintiff with copies of
one paragraph long, entirely conclusory, and unsupported by
                                                                                 all unreported decisions cited herein in accordance
any facts. Accordingly, it is recommended that Defendants’
                                                                                 with Lebron v. Sanders, 557 F.3d 76 (2d Cir. 2009)
motion on this ground, be denied. Thomas v. Delany, 17-
                                                                                 (per curiam).
CV-1023, 2019 WL 4247807, at *19 (N.D.N.Y. Aug. 13,
2019) (Hummel, M.J.) (citing Roberts v. Hobbs, 10-CV-0174,
                                                                         All Citations
2010 WL 5888777, at *6 (E.D. Ark. Nov. 8, 2010) (summarily
denying dispositive motion containing unsupported and                    Not Reported in Fed. Supp., 2019 WL 8015209

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                                                                    defendant Pflueger and the supervisory claims against
                     2020 WL 871197                                 defendant Graham.
      Only the Westlaw citation is currently available.
       United States District Court, N.D. New York.                 Based upon a de novo review of the portions of the Report-
                                                                    Recommendation to which defendants objected, the Report-
                   Seth LOGAN, Plaintiff,                           Recommendation is accepted and adopted in all respects. See
                              v.                                    28 U.S.C. § 636(b)(1).
      Superintendent GRAHAM, Auburn Correctional
                                                                    Therefore, it is
        Facility; C.O. Pflueger, Auburn Correctional
     Facility; Officer Scott Jones, Auburn Correctional
                                                                    ORDERED that
     Facility, formerly known as C.O. Smith; and C.O.
    M. Gould, Auburn Correctional Facility, Defendants.             1. Defendants’ motion for summary judgment is GRANTED
                                                                    in part and DENIED in part;
                    9:18-CV-291 (DNH/ML)
                               |
                                                                    2. The motion is GRANTED with respect to plaintiff's
                       Signed 02/21/2020
                                                                    retaliation claims against (1) defendant Jones, (2) defendant
Attorneys and Law Firms                                             Gould, and (3) defendant Pflueger for allegedly (a) filing
                                                                    a false misbehavior report against plaintiff on June 17,
SETH LOGAN, Plaintiff pro se, 177 Avery Avenue, Buffalo,            2015, (b) verbally harassing plaintiff, (c) causing defendant
NY 14216.                                                           Gould to file an improper recommendation of administrative
                                                                    segregation, and (d) destroying plaintiff's property and those
HON. LETITIA JAMES, Attorney General for the State of               claims are DISMISSED;
New York, OF COUNSEL: AIMEE COWAN, ESQ., Ass't
Attorney General, Attorney for Defendants, 300 South State          3. Defendants Jones and Gould are DISMISSED from this
Street, Suite 300, Syracuse, NY 13202.                              action;

                                                                    4. The motion is DENIED with respect to plaintiff's retaliation
                  DECISION and ORDER                                claims against (1) defendant Pflueger for firing plaintiff as a
                                                                    feed up porter, and (2) defendant Graham as Superintendent
DAVID N. HURD, United States District Judge
                                                                    (relative to defendant Pflueger's alleged retaliatory conduct
 *1 Pro se plaintiff Seth Logan brought this civil rights action    of firing plaintiff as a feed up porter) and those claims shall
pursuant to 42 U.S.C. § 1983. On November 26, 2019, the             proceed to trial;
Honorable Miroslav Lovric, United States Magistrate Judge,
advised by Report-Recommendation that defendants’ motion            5. Trial is tentatively scheduled for September 14, 2020 at
for summary judgment be granted in part and denied in               9:30 a.m. in Utica, New York. Pre-trial submissions are due
part. Specifically, Magistrate Judge Lovric recommended that        on or before August 31, 2020;
defendants’ motion for summary judgment be denied with
respect to plaintiff's retaliation claims against (1) defendant     6. The parties are reminded that they have the option of
Pflueger for firing plaintiff as a feed up porter, and (2)          referring this case to Magistrate Judge Lovric pursuant to 28
defendant Graham as Superintendent, and granted with                U.S.C. § 636(c) and based on his familiarity with the case,
respect to plaintiff's retaliation claims against (1) defendant     but are free to withhold consent without adverse substantive
Jones, (2) defendant Gould, and (3) defendant Pflueger              consequences. The parties are directed to advise the Court on
for allegedly (a) filing a false misbehavior report against         or before April 8, 2020 whether or not a consent to a jury trial
plaintiff on June 17, 2015, (b) verbally harassing plaintiff, (c)   before him will be executed; and
causing defendant Gould to file an improper recommendation
of administrative segregation, and (d) destroying plaintiff's       7. If plaintiff wishes to renew his motion for the appointment
property. Defendants timely filed objections to the Report-         of pro bono trial counsel, he must do so within thirty (30) days
Recommendation with respect to the retaliation claim against        of the date of this Decision and Order. If plaintiff makes such



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a motion, the Clerk is directed to mail him a long form IFP
application.                                                      All Citations

*2 IT IS SO ORDERED.                                              Not Reported in Fed. Supp., 2020 WL 871197

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                                                                        one Defendant. (See Compl. 3–4.) Defendants have
                    2021 WL 4392485                                     provided additional identifying information in their
      Only the Westlaw citation is currently available.                 Memorandum of Law. (See Defs.' Mem. 1.)
       United States District Court, S.D. New York.

        Llewellyn Sinclair GEORGE, Plaintiff,                                            I. Background
                          v.                                        A. Factual Background
    COUNTY OF WESTCHESTER, et al., Defendants.                   The alleged facts, which are accepted as true for purposes
                                                                 of resolving this Motion, are as follows. On April 4, 2019,
                   No. 20-CV-1723 (KMK)
                                                                 while incarcerated at the Westchester County Jail, Plaintiff
                             |
                                                                 approached the desk of Vanlierop, who was conducting a tour
                     Signed 09/24/2021
                                                                 of the “2 southwest housing unit” in her capacity as a “sector
Attorneys and Law Firms                                          supervisor.” (Compl. 6.) 2 Plaintiff tried to hand Vanlierop a
                                                                 grievance (the “First Grievance”), but Vanlierop “glanced” at
Llewellyn Sinclair George, White Plains, NY, Pro se Plaintiff.   the grievance, “turned away,” and stated, “you know I don't do
                                                                 grievances.” (Id.) Later that day, Lopez was touring the upper
Jordan Silver, Esq., Westchester County Attorney, White
                                                                 tier of the same housing unit when Plaintiff attempted to hand
Plains, NY, for Defendants.
                                                                 him the same grievance. (Id. at 6.) Lopez read the grievance,
                                                                 handed it back to Plaintiff, and said, “I'm not getting into the
                                                                 middle of this mess.” (Id. at 7.)
                   OPINION & ORDER
                                                                 2
KENNETH M. KARAS, District Judge:                                       Although Vanlierop was not initially named as a
                                                                        Defendant, (see Compl. 3–4), the Court directed the
 *1 Plaintiff Llewellyn Sinclair George (“Plaintiff”),                  Clerk of Court to add her as a Defendant on April
proceeding pro se, brings this Action pursuant to 42 U.S.C.             21, 2020, (Ord. of Serv. 1).
§ 1983 against the County of Westchester (the “County”),
                                                                 Five days later, on the morning of April 9, 2019, Plaintiff's
Assistant Warden La Fonda Spaulding (“Spaulding”),
                                                                 cell was being searched by two male officers when Vanlierop
Assistant Warden Eric Middleton (“Middleton”), Sergeant
                                                                 entered the cell and “confiscated” a separate grievance
Daniel Lopez (“Lopez”), Sergeant Matthew Kitt (“Kitt”),
                                                                 Plaintiff had prepared (the “Second Grievance”) regarding
Captain Andre Mabra (“Mabra”), Captain Christopher
                                                                 Vanlierop's refusal to accept the First Grievance. (See id.
Roberts (“Roberts”), and Captain Natasha Vanlierop
                                                                 at 7, 10.) Shortly thereafter, Vanlierop issued a fabricated
(“Vanlierop”; collectively, “Defendants”), alleging that
                                                                 misbehavior report against Plaintiff in retaliation for the
Defendants violated his rights under the First, Eighth, and
Fourteenth Amendments to the U.S. Constitution. (Compl. 2–       Second Grievance. (See id.) 3
6 (Dkt. No. 2); Ord. of Serv. 1 (Dkt. No. 9); Defs.' Mem. of
                                                                 3
Law in Supp. of Mot. (“Defs.' Mem.”) 1 (Dkt. No. 30).) 1                Although at one point the Complaint does not draw
Before the Court is Defendants' Motion To Dismiss pursuant              a clear distinction between the First Grievance
to Rule 12(b)(6) of the Federal Rules of Civil Procedure (the           and the Second Grievance, (see Compl. 7), it
“Motion”). (See Defs.' Not. of Mot. (Dkt. No. 28).) For the             also suggests that the grievance confiscated by
reasons that follow, Defendants' Motion is granted in part and          Vanlierop addressed Vanlierop's refusal to process
denied in part.                                                         Plaintiff's initial grievance, (see id. at 7, 10), which
                                                                        necessarily indicates that Plaintiff had written
1                                                                       a second grievance after Vanlierop refused to
       Because Plaintiff's Complaint includes several
                                                                        process the first. Specifically, Plaintiff suggests
       handwritten pages interspersed within a standard
                                                                        that the misbehavior report issued by Vanlierop
       complaint form, the Court will refer to the ECF
                                                                        was made in retaliation for the grievance she had
       page stamp at the top of each page. Note that
                                                                        seized, (see id. at 7), and Plaintiff alleges that the
       Plaintiff's Complaint refers to Defendant Spaulding
                                                                        misbehavior report was issued in retaliation for a
       as “A. Spaulding” and omits first names for all but


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        grievance regarding “Defendant Vanlierop's refusal            Plaintiff alleges that as a result of Defendants' actions,
        to accept and process [P]laintiff's grievance,” (id.          specifically their “constant threats and taunting,” he suffered
        at 10). Construing the Complaint liberally, the               “mental anguish and psychological issues,” as well as a
        Court therefore assumes there were two distinct               “loss of sleep.” (Id. at 8.) Plaintiff “was repeatedly seen”
        grievances: (1) the First Grievance (the subject of           by the Office of Mental Health at the Westchester County
        which is unclear), and (2) the Second Grievance,              Jail and was prescribed medication—Plaintiff does not
        which addressed Vanlierop's refusal to accept the             identify which one(s)—“to cope with the trauma caused
        First Grievance. It is the Second Grievance which             by the [D]efendants.” (Id.) He seeks a “permanent court
        Vanlierop allegedly confiscated, and for which                order” requiring administrators at the Westchester County
        she allegedly issued a false misbehavior report in            Department of Correction “to record all future disciplinary
        retaliation. (See id. at 7, 10.)                              hearings by audio/video.” (Id.) He also seeks $100,000 in
 *2 Around 11:30 A.M. on the following day (April 10),                compensatory damages and $60,000 in punitive damages.
Mabra and Kitt stopped by Plaintiff's cell door with the              (Id.)
housing unit officer. (Id. at 7.) Mabra ordered the housing
unit officer to open Plaintiff's door, which she did. (Id.) While        B. Procedural History
Kitt and the housing unit officer stood outside Plaintiff's           Plaintiff filed his Complaint on February 26, 2020. (Dkt. Nos.
cell and “act[ed] as lookouts,” Mabra entered Plaintiff's cell        1–2.) On April 8, 2020, the Court granted Plaintiff leave to
and “inquire[d] about” Plaintiff's grievance against Vanlierop.       proceed in forma pauperis. (Dkt. No. 6.) On April 21, 2020,
(Id. at 7, 9.) Before Plaintiff could respond, Mabra, using           the Court dismissed Plaintiff's claims against the Westchester
a “stiff open palm,” “shoved” Plaintiff against his cell wall         County Department of Correction and directed the Clerk of
and “demanded that [P]laintiff retract the contents of [his]          Court to add Vanlierop and the County as Defendants. (Dkt.
grievance.” (Id. at 9.) Plaintiff told Mabra “to go to hell.” (Id.)
                                                                      No. 9.) 5 On August 10, 2020, Defendants filed a pre-motion
Mabra, while exiting Plaintiff's cell, said, “I'm going to make
                                                                      letter outlining the grounds for their proposed motion to
your accommodations here a little more lengthy, your ass
                                                                      dismiss. (Dkt. No. 21.) Having received no response from
won't be making it home.” (Id.) 4                                     Plaintiff, the Court adopted a briefing schedule for the Motion
                                                                      on August 25, 2020. (Dkt. No. 22.) Defendants filed the
4                                                                     instant Motion and supporting papers on October 9, 2020.
        Quotations     from     Plaintiff's   submissions
        occasionally reflect minor corrections to spelling            (See Not. of Mot.; Decl. of Jordan L. Silver, Esq., in Supp.
        and grammar.                                                  of Mot. (Dkt. No. 29); Defs.' Mem.) Plaintiff failed to oppose
                                                                      the Motion, (see Dkt. No. 32), and on November 24, 2020,
After Vanlierop had issued the fabricated misbehavior report
                                                                      the Court deemed the Motion fully submitted, (Dkt. No. 33).
against Plaintiff, Defendant Roberts conducted a disciplinary
hearing. (Id. at 10.) At the hearing, Roberts denied Plaintiff's
                                                                      5
“repeated[ ] request[s]” to call witnesses and present audio                 The Court dismissed claims against the
and video evidence.” (Id.) Before the hearing had begun,                     Westchester County Department of Correction
Roberts stated that he had received several comments from the                because municipal agencies or departments do
“warden's office” indicating “that they were pissed off about                not have the capacity to be sued under New
[Plaintiff's] treatment of Defendant Vanlierop.” (Id.) Plaintiff             York law. See Omnipoint Commc'ns, Inc. v.
alleges that, contrary to Roberts' written disposition, he did               Town of LaGrange, 658 F. Supp. 2d 539, 552
not plead guilty to any of the charges. (Id. at 11.) He further              (S.D.N.Y. 2009) (“In New York, agencies of a
alleges that Roberts' handling of the hearing was “improperly                municipality are not suable entities.”); Hall v.
influenced by the warden's office.” (Id.) At the conclusion of               City of White Plains, 185 F. Supp. 2d 293,
the hearing, Roberts imposed a penalty of “several days of                   303 (S.D.N.Y. 2002) (“Under New York law,
cell confinement and loss of good time.” (Id. at 10.) Plaintiff              departments which are merely administrative arms
subsequently appealed the hearing disposition to Spaulding                   of a municipality do not have a legal identity
and Middleton. (Id. at 11.) He alleges that the outcome of                   separate and apart from the municipality and cannot
these appeals “[was] improper and unjust.” (Id.)                             sue or be sued.” (collecting cases)); see also N.Y.
                                                                             GEN. MUN. LAW § 2 (“The term ‘municipal
                                                                             corporation,’ as used in this chapter, includes only



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       a county, town, city and village.”). The Court              “[W]hen ruling on a defendant's motion to dismiss, a judge
       nevertheless concluded that in light of Plaintiff's         must accept as true all of the factual allegations contained
       pro se status and his “clear intention to assert            in the complaint,” Erickson v. Pardus, 551 U.S. 89, 94
       claims against the County of Westchester,” it would         (2007) (per curiam), and “draw[ ] all reasonable inferences
       construe the Complaint as asserting claims against          in favor of the plaintiff,” Daniel v. T&M Prot. Res., Inc.,
       the County. (Dkt. No. 9.) Likewise, given Plaintiff's       992 F. Supp. 2d 302, 304 n.1 (S.D.N.Y. 2014) (citing Koch
       intention to assert claims against Vanlierop, the           v. Christie's Int'l PLC, 699 F.3d 141, 145 (2d Cir. 2012)).
       Court directed that Vanlierop be added as a                 Additionally, “[i]n adjudicating a Rule 12(b)(6) motion, a
       Defendant. (Id.)                                            district court must confine its consideration to facts stated
                                                                   on the face of the complaint, in documents appended to the
                                                                   complaint or incorporated in the complaint by reference, and
                        II. Discussion                             to matters of which judicial notice may be taken.” Leonard
                                                                   F. v. Isr. Disc. Bank of N.Y., 199 F.3d 99, 107 (2d Cir. 1999)
   A. Standard of Review
                                                                   (quotation marks omitted); see also Wang v. Palmisano, 157
 *3 The Supreme Court has held that although a complaint
                                                                   F. Supp. 3d 306, 317 (S.D.N.Y. 2016) (same). However,
“does not need detailed factual allegations” to survive a
                                                                   when the complaint is from a pro se plaintiff, the Court may
motion to dismiss, “a plaintiff's obligation to provide the
                                                                   consider “materials outside the complaint to the extent that
‘grounds’ of his [or her] ‘entitlement to relief’ requires more
                                                                   they are consistent with the allegations in the complaint,”
than labels and conclusions, and a formulaic recitation of
                                                                   Alsaifullah v. Furco, No. 12-CV-2907, 2013 WL 3972514, at
the elements of a cause of action will not do.” Bell Atl.
                                                                   *4 n.3 (S.D.N.Y. Aug. 2, 2013) (quotation marks omitted),
Corp. v. Twombly, 550 U.S. 544, 555 (2007) (alteration
                                                                   including “documents that a pro se litigant attaches to his
and citation omitted). Indeed, Rule 8 of the Federal Rules
                                                                   opposition papers,” Agu v. Rhea, No. 09-CV-4732, 2010
of Civil Procedure “demands more than an unadorned,
                                                                   WL 5186839, at *4 n.6 (E.D.N.Y. Dec. 15, 2010) (italics
the-defendant-unlawfully-harmed-me accusation.” Ashcroft
                                                                   omitted), statements by the plaintiff “submitted in response
v. Iqbal, 556 U.S. 662, 678 (2009). “Nor does a complaint
                                                                   to [a] defendant['s] request for a pre-motion conference,”
suffice if it tenders naked assertions devoid of further factual
                                                                   Jones v. Fed. Bureau of Prisons, No. 11-CV-4733, 2013 WL
enhancement.” Id. (alteration and quotation marks omitted).
                                                                   5300721, at *2 (E.D.N.Y. Sept. 19, 2013), “documents either
Rather, a complaint's “[f]actual allegations must be enough to
                                                                   in [the] plaintiff['s] possession or of which [the] plaintiff[ ]
raise a right to relief above the speculative level.” Twombly,
                                                                   had knowledge and relied on in bringing suit,” Chambers v.
550 U.S. at 555. Although “once a claim has been stated
                                                                   Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002) (quotation
adequately, it may be supported by showing any set of facts
                                                                   marks omitted), and “his opposition memorandum,” Gadson
consistent with the allegations in the complaint,” id. at 563,
                                                                   v. Goord, No. 96-CV-7544, 1997 WL 714878, at *1 n.2
and a plaintiff must allege “only enough facts to state a
                                                                   (S.D.N.Y. Nov. 17, 1997).
claim to relief that is plausible on its face,” id. at 570, if a
plaintiff has not “nudged [his] claims across the line from
                                                                   Where, as here, a plaintiff proceeds pro se, the court
conceivable to plausible, the[ ] complaint must be dismissed,”
                                                                   must “construe[ ] [his] [complaint] liberally and interpret[ ]
id.; see also Iqbal, 556 U.S. at 679 (“Determining whether
                                                                   [it] to raise the strongest arguments that [it] suggest[s].”
a complaint states a plausible claim for relief will ... be a
                                                                   Sykes v. Bank of Am., 723 F.3d 399, 403 (2d Cir. 2013)
context-specific task that requires the reviewing court to draw
                                                                   (quotation marks omitted). However, “the liberal treatment
on its judicial experience and common sense. But where the
                                                                   afforded to pro se litigants does not exempt a pro se
well-pleaded facts do not permit the court to infer more than
                                                                   party from compliance with relevant rules of procedural
the mere possibility of misconduct, the complaint has alleged
                                                                   and substantive law.” Bell v. Jendell, 980 F. Supp. 2d 555,
—but it has not ‘show[n]’—‘that the pleader is entitled to
                                                                   559 (S.D.N.Y. 2013) (quotation marks omitted); see also
relief.’ ” (alteration in original) (citation omitted) (quoting
                                                                   Caidor v. Onondaga County, 517 F.3d 601, 605 (2d Cir.
FED. R. CIV. P. 8(a)(2))); id. at 678–79 (“Rule 8 marks
                                                                   2008) (“[P]ro se litigants generally are required to inform
a notable and generous departure from the hypertechnical,
                                                                   themselves regarding procedural rules and to comply with
code-pleading regime of a prior era, but it does not unlock the
                                                                   them.” (citation and italics omitted)).
doors of discovery for a plaintiff armed with nothing more
than conclusions.”).
                                                                     B. Analysis


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Although Plaintiff does not identify the precise nature of his      here.”); Nji v. Heath, No. 13-CV-200, 2013 WL 6250298, at
claims under the First, Eighth, and Fourteenth Amendments,          *6 (S.D.N.Y. Dec. 2, 2013) (“[I]nmate grievance programs
the Court interprets the Complaint to raise eight distinct          created by state law are not required by the Constitution
claims. Specifically, the Complaint claims (i) that Vanlierop       and consequently[,] allegations that prison officials violated
and Lopez improperly refused to accept Plaintiff's First            those procedures do[ ] not give rise to a cognizable §
Grievance (the “Grievance Claim”), (see Compl. 6–7); (ii)           1983 claim.” (citation omitted)); Mimms v. Carr, No. 09-
that Vanlierop retaliated against Plaintiff in response to the      CV-5740, 2011 WL 2360059, at *10 (E.D.N.Y. June 9, 2011)
Second Grievance by confiscating this grievance and filing a        (“It is well-established that prison grievance procedures do
false misbehavior report (the “Vanlierop Retaliation Claim”),       not create a due-process-protected liberty interest.”), aff'd,
(see id. at 7, 10); (iii) that Mabra also retaliated against        548 F. App'x 29 (2d Cir. 2013); Torres v. Mazzuca, 246
Plaintiff in response to the Second Grievance by entering           F. Supp. 2d 334, 342 (S.D.N.Y. 2003) (“Prison grievance
Plaintiff's cell, shoving him against a wall, and demanding         procedures do not confer any substantive right upon an
that he retract the contents of the Second Grievance (the           inmate requiring the procedural protections envisioned by
“Mabra Retaliation Claim” and, together with the Vanlierop          the Fourteenth Amendment.”). “Rather, in the event that
Retaliation Claim, the “Retaliation Claims”), (see id. at 7, 9);    prison officials ignore a grievance that raises constitutional
(iv) that Mabra used excessive force when demanding that            claims, the proper avenue to seek relief is ... directly
Plaintiff retract the contents of the Second Grievance (the         petitioning the government for redress of his claims.” Harris
“Excessive Force Claim”), (see id. at 9); (v) that Kitt failed to   v. Westchester Cnty. Dep't of Corr., No. 06-CV-2011, 2008
intervene when Mabra was assaulting Plaintiff (the “Failure         WL 953616, at *5 (S.D.N.Y. Apr. 3, 2008) (collecting cases).
to Intervene Claim”), (see id. at 7, 9); (vi) that Roberts,         Consequently, “courts regularly dismiss claims brought to
by denying Plaintiff the opportunity to call witnesses and          remedy alleged violations of inmate grievance procedures.”
present audio and video evidence at his disciplinary hearing,       Martinez v. Schriro, No. 14-CV-3965, 2017 WL 87049, at
violated Plaintiff's procedural due process rights (the “Roberts    *3 (S.D.N.Y. Jan. 9, 2017) (alteration omitted). Accordingly,
Procedural Due Process Claim”), (see id. at 10–11); (vii)           any due process claim against Vanlierop and Lopez based
that Spaulding and Middleton, by affirming Roberts' decision,       on their purported interference with the grievance process is
also violated Plaintiff's procedural due process rights (the        dismissed.
“Spaulding/Middleton Procedural Due Process Claim” and,
together with the “Roberts Procedural Due Process Claim,”
the “Procedural Due Process Claims”), (see id. at 11); and
                                                                                     2. The Retaliation Claims
(viii) that the County should be liable for the foregoing
violations (the “Monell Claim”). The Court will address these       “Prisoners have a constitutional right to petition the
claims in order.                                                    government, and it is a violation of § 1983 for prison
                                                                    officials to retaliate against prisoners for the exercise of
                                                                    that right.” Perkins v. Perez, No. 17-CV-1341, 2019 WL
                   1. The Grievance Claim                           1244495, at *13 (S.D.N.Y. Mar. 18, 2019) (citation omitted).
                                                                    To state a First Amendment claim of retaliation, an inmate
 *4 As discussed, Plaintiff alleges that Vanlierop and Lopez        must allege “(1) that the speech or conduct at issue was
refused to accept the First Grievance. (Id. at 6–7.) To             protected, (2) that the defendant took adverse action against
the extent Plaintiff asserts a discrete claim based on these        the [inmate], and (3) that there was a causal connection
allegations, the Court must dismiss the claim.                      between the protected conduct and the adverse action.”
                                                                    Holland v. Goord, 758 F.3d 215, 225 (2d Cir. 2014) (citation
“It is well-established that inmates do not have a protected        and alteration omitted). An adverse action is any “retaliatory
liberty interest in the processing of their prison grievances.”     conduct that would deter a similarly situated individual of
Crichlow v. Fischer, No. 15-CV-6252, 2017 WL 920753,                ordinary firmness from exercising his or her constitutional
at *7 (W.D.N.Y. Mar. 7, 2017); see also Corley v. City              rights.” Davis v. Goord, 320 F.3d 346, 353 (2d Cir. 2003)
of New York, No. 14-CV-3202, 2017 WL 4357662, at *7                 (quotation marks omitted). In determining whether a prison
(S.D.N.Y. Sept. 28, 2017) (“[The] [p]laintiff did not have a        official's conduct constitutes adverse action, “the court's
liberty interest to access the [prison's] grievance program that    inquiry must be tailored to the different circumstances in
would provide a basis for a constitutional due process claim        which retaliation claims arise, bearing in mind that prisoners



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may be required to tolerate more than average citizens.”         filing of a false misbehavior report. (See Compl. 7, 10.)
Id. (quotation marks and alterations omitted). “[B]ecause        Although inmates have no constitutional right to be free
virtually any adverse action taken against a prisoner by         from a cell search, including retaliatory searches, see, e.g.,
a prison official—even those otherwise not rising to the         Joseph v. Annucci, No. 18-CV-7197, 2020 WL 409744, at
level of a constitutional violation—can be characterized as      *5 (S.D.N.Y. Jan. 23, 2020) (stating that inmates have “no
a constitutionally proscribed retaliatory act,” the Second       constitutional right to be free from cell searches of any kind,
Circuit has instructed that district courts must “approach       including retaliatory cell searches” (citation omitted)), they
prisoner retaliation claims with skepticism and particular       may nevertheless “assert a retaliation claim for retaliatory
care.” Dolan v. Connolly, 794 F.3d 290, 295 (2d Cir. 2015)       conduct in connection with a cell search,” Hill v. Laird, No.
(quotation marks omitted); see also Graham v. Henderson, 89      06-CV-126, 2014 WL 1315226, at *8 (E.D.N.Y. Mar. 31,
F.3d 75, 79 (2d Cir. 1996) (“Retaliation claims by prisoners     2014), including a prison official's seizure of legal documents
are prone to abuse since prisoners can claim retaliation for     or administrative grievances, Smith v. City of New York, No.
every decision they dislike.” (quotation marks omitted)).        03-CV-7576, 2005 WL 1026551, at *3 (S.D.N.Y. May 3,
Accordingly, First Amendment retaliation claims must be          2005) (holding on summary judgment that the defendants'
“supported by specific and detailed factual allegations” and     “destruction of [the plaintiff's] legal papers” constituted
may not be stated “in wholly conclusory terms.” Dolan, 794       “an adverse action substantial enough to satisfy the second
F.3d at 295 (citation omitted).                                  prong of the retaliation test”). At this early stage of the
                                                                 case, Plaintiff's allegation that Vanlierop seized the Second
 *5 As noted, Plaintiff alleges that Vanlierop and Mabra both    Grievance is sufficient to state an adverse action. See Yunus v.
retaliated against him in response to the Second Grievance       Jones, No. 16-CV-1282, 2017 WL 9511176, at *9 (N.D.N.Y.
—Vanlierop by confiscating the grievance and filing a false      Aug. 23, 2017) (concluding that “the allegation that [the]
misbehavior report, (see Compl. 7, 10), and Mabra by             defendant ... confiscated [the] plaintiff's personal property”—
entering Plaintiff's cell, shoving him against a wall, and       including prison grievances—“in retaliation for the exercise
demanding a retraction, (id. at 7, 9). The Court will evaluate   of his First Amendment grievance rights [was] sufficient to
each claim separately under the three-part test set out in       withstand a motion to dismiss”), report and recommendation
Holland.                                                         adopted, 2017 WL 5956762 (N.D.N.Y. Dec. 1, 2017);
                                                                 Guillory v. Haywood, No. 13-CV-1564, 2015 WL 268933,
                                                                 at *21 (N.D.N.Y. Jan. 21, 2015) (order adopting report
                                                                 & recommendation) (holding that the plaintiff adequately
             a. The Vanlierop Retaliation Claim
                                                                 stated a claim for retaliation where he alleged that his legal
With respect to the first prong of the Holland test, the         documents were confiscated shortly after complaints over
Complaint plausibly alleges that Vanlierop's actions against     his treatment at the prison facility); Gomez v. Graham, No.
Plaintiff came in response to a form of protected conduct        14-CV-201, 2014 WL 5475348, at *5 (N.D.N.Y. Oct. 29,
—namely, Plaintiff's preparation of the Second Grievance.        2014) (concluding that “[a]t th[e] early juncture of” a motion
“It is well-established that inmates' filing of grievances is    to dismiss, allegations that the plaintiff's legal papers were
a constitutionally protected exercise of their right under the   confiscated were sufficient to state a retaliation claim).
First Amendment to petition the government for the redress
of grievances.” Mateo v. Bristow, No. 12-CV-5052, 2013 WL         *6 Similarly, although “a prison inmate has no general
3863865, at *4 (S.D.N.Y. July 16, 2013) (citing Graham, 89       constitutional right to be free from being falsely accused
F.3d at 80); see also Terry v. Hulse, No. 16-CV-252, 2018 WL     in a misbehavior report,” Boddie v. Schnieder, 105 F.3d
4682784, at *10 (S.D.N.Y. Sept. 28, 2018) (same); Roseboro       857, 862 (2d Cir. 1997); see also Thomas v. Calero, 824
v. Gillespie, 791 F. Supp. 2d 353, 367 & n.21 (S.D.N.Y.          F. Supp. 2d 488, 499 (S.D.N.Y. 2011) (noting that “[t]he
2011) (same; collecting cases). Thus, Plaintiff's allegations    Second Circuit has long held ... that a prison inmate has no
with respect to Vanlierop are sufficient to satisfy the first    constitutional right to be free from being falsely accused in a
prong of the Holland test.                                       misbehavior report”), there is an exception where the inmate
                                                                 can “show either (1) that he was disciplined without adequate
With respect to Holland’s second prong, Plaintiff alleges        due process as a result of the report; or (2) that the report
two distinct forms of possibly adverse action by Vanlierop       was issued in retaliation for exercising a constitutionally
—(1) her confiscation of the Second Grievance and (2) her        protected right,” Willey v. Kirkpatrick, 801 F.3d 51, 63



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(2d Cir. 2015) (quotation marks omitted); see also Cook              issued just one day after the plaintiff had a confrontation
v. Quattrocchi, No. 19-CV-11659, 2020 WL 564082, at *2               with the defendants). “Although temporal proximity between
(S.D.N.Y. Feb. 5, 2020) (same). Here, Vanlierop allegedly            constitutionally protected activity and potentially retaliatory
issued the false misbehavior report in retaliation for Plaintiff's   activity generally will not, on its own, allow a plaintiff to
participation in constitutionally protected conduct—namely,          withstand a motion to dismiss,” Salahuddin v. Mead, No.
his preparation of the Second Grievance—and thus, the                95-CV-8581, 2002 WL 1968329, at *6 n.6 (S.D.N.Y. Aug.
Complaint sufficiently alleges an adverse action based on            26, 2002), courts may “exercise [their] judgment about the
Vanlierop's issuance of the misbehavior report. See Gill v.          permissible inferences that can be drawn from temporal
Pidlypchak, 389 F.3d 379, 384 (2d Cir. 2004) (concluding that        proximity in the context of particular cases,” Quezada v.
the plaintiff sufficiently alleged an adverse action based on        Roy, No. 14-CV-4056, 2017 WL 6887793, at *10 (S.D.N.Y.
the defendants' filing of false misbehavior reports in response      Dec. 14, 2017) (quotation marks omitted). Though Plaintiff
to the plaintiff's prior grievance submissions); Arriaga v.          appears to rely solely on the temporal proximity between his
Gage, No. 16-CV-1628, 2019 WL 2053990, at *6 (S.D.N.Y.               protected conduct and Vanlierop's alleged retaliation, some
May 9, 2019) (concluding on a motion to dismiss that                 courts in this District have found that, at the pleadings stage
allegedly false misbehavior reports issued in retaliation for        of a case, such close temporal proximity is sufficient to
the plaintiff's grievances “qualif[ied] as adverse actions”);        establish a causal connection, particularly where, as here, the
Mateo v. Fischer, 682 F. Supp. 2d 423, 434 (S.D.N.Y. 2010)           defendant appears to retaliate in response to grievance of
(concluding that the defendants' alleged retaliation—“[f]iling       which he (or she) was the subject. See Vogelfang v. Capra,
a false misbehavior report about [the plaintiff]” in response        889 F. Supp. 2d 489, 518 (S.D.N.Y. 2012) (concluding, for
to the plaintiff's submission of a grievance—“would deter a          purposes of a motion to dismiss, that where the defendant
similarly situated person of ordinary firmness from exercising       filed a false misbehavior report against the plaintiff three
his First Amendment rights,” and therefore “qualifie[d] as an        days after the plaintiff had filed a grievance against that
adverse action”).                                                    defendant, “[t]he temporal proximity of th[o]se two events,
                                                                     as well as the common identity between the subject of [the
Finally, in considering whether “there was a causal                  plaintiff's] grievance and the author of the [misbehavior
connection between the protected conduct and the adverse             report], plausibly suggest[ed]” a causal connection); Mateo,
action” under Holland's third prong, see 758 F.3d at 225,            682 F. Supp. 2d at 435 (concluding that, on a motion to
“a court may infer an improper or retaliatory motive in              dismiss, the plaintiff's allegation that the defendant filed a
the adverse action from: (1) the temporal proximity of the           false misbehavior report one day after the plaintiff filed
filing to the grievance and the disciplinary action; (2) the         a sexual harassment grievance against the defendant was
inmate's prior good disciplinary record; (3) vindication at a        sufficient to plead the causation element of his retaliation
hearing on the matter; and (4) statements by the defendant           claim). 7 Consistent with these cases, the Court concludes that
regarding his motive for disciplining the plaintiff,” Thomas         Plaintiff has adequately alleged the causation element of his
v. DeCastro, No. 14-CV-6409, 2019 WL 1428365, at *9                  retaliation claim.
(S.D.N.Y. Mar. 29, 2019) (citation omitted). Here, Plaintiff
alleges that Vanlierop seized the Second Grievance and issued        6      Plaintiff does not specify precisely when he
the false misbehavior report on or around April 9, (see Compl.
                                                                            drafted the Second Grievance, but it necessarily
7, 10)—only five days after the incident that was the subject of
                                                                            was sometime between April 4 and April 9. See
the Second Grievance, (see id. at 6, 10). 6 The Second Circuit              generally n.3 supra.
has “held that temporal proximity between protected conduct
and an adverse action constitutes circumstantial evidence of         7      Note, however, that Plaintiff may not rely on
retaliation.” Harnage v. Brighthaupt, 168 F. Supp. 3d 400,                  temporal proximity alone to survive a summary
413 (D. Conn. 2016) (quoting Faulk v. Fisher, 545 F. App'x                  judgment motion. See, e.g., Bryant v. Goord, No.
56, 58 (2d Cir. 2013)), aff'd, 720 F. App'x 79 (2d Cir. 2018);              99-CV-9442, 2002 WL 553556, at *2 (S.D.N.Y.
see also Washington v. Afify, 681 F. App'x 43, 46 (2d Cir.                  Apr. 12, 2002) (“Although the temporal proximity
2017) (summary order) (same); Mateo, 2013 WL 3863865,                       of the filing of the grievance and the issuance of
at *6 (finding a “plausible inference” that the defendants                  the misbehavior report is circumstantial evidence
issued a misbehavior report in retaliation for the plaintiff's              of retaliation, such evidence, without more, is
past grievances based in part on the fact that the report was               insufficient to survive summary judgment.”).



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 *7 Accordingly, the Vanlierop Retaliation Claim survives            contents of” the Second Grievance; and (3) Mabra's act of
the instant Motion.                                                  shoving Plaintiff against the wall. (See Compl. 9.)

                                                                     With respect to the first action, “verbal threats may qualify
                                                                     as adverse actions” in the prison retaliation context only
               b. The Mabra Retaliation Claim
                                                                     where they are “sufficiently specific and direct.” White v.
Mabra allegedly retaliated against Plaintiff in response to          Westchester County, No. 18-CV-730, 2018 WL 6726555,
the Second Grievance by entering his cell, shoving him               at *17 (S.D.N.Y. Dec. 21, 2018) (quotation marks omitted)
against a wall, demanding that Plaintiff retract the contents        (collecting cases); see also Terry v. Hulse, No. 16-CV-252,
of the Second Grievance, and then threatening Plaintiff that         2018 WL 4682784, at *11 (S.D.N.Y. Sept. 28, 2018) (same);
he would “make [Plaintiff's] accommodations ... a little             Mateo, 682 F. Supp. 2d at 434 (explaining that “[t]he less
more lengthy,” such that Plaintiff “[wouldn't] be making it          direct and specific a threat, the less likely it will deter an
home.” (Compl. 7, 9.) “As a general matter, it is difficult to       inmate from exercising his First Amendment rights”). “Thus,
establish one defendant's retaliation for complaints against         vague intimations of some unspecified harm generally will
another defendant,” Kotler v. Boley, No. 17-CV-239, 2018             not rise to the level of adverse action for the purpose of
WL 4682026, at *4 n.2 (S.D.N.Y. Sept. 28, 2018) (collecting          a First Amendment retaliation claim.” Bumpus v. Canfield,
cases)—in this case, Mabra's retaliation for complaints              495 F. Supp. 2d 316, 326 (W.D.N.Y. 2007). Here, Mabra's
against Vanlierop. But courts have recognized an exception           alleged threat is more benign than many threats which courts
where, for example, the defendant made clear that he or she          in the Second Circuit have found insufficient to constitute
was retaliating on behalf of a colleague. See, e.g., Headley         an adverse action. See Terry, 2018 WL 4682784, at *11
v. Fisher, No. 06-CV-6331, 2008 WL 1990771, at *18                   (dismissing a First Amendment retaliation claim because
(S.D.N.Y. May 7, 2008) (finding that the plaintiff adequately        the alleged threat was insufficiently specific and direct even
alleged a retaliation claim where the defendant hit him and          where corrections officers stated that “they were gonna kill”
stated, “this is for CO. Simpson,” the defendant against whom        the plaintiff (record citation and alteration omitted)); see also
the plaintiff had filed a grievance). That is the case here, where   Albritton v. Morris, No. 13-CV-3708, 2016 WL 1267799, at
Mabra allegedly made clear that he was acting in response to         *18 (S.D.N.Y. Mar. 30, 2016) (dismissing First Amendment
the grievance concerning Vanlierop. (See Compl. 9 (alleging          retaliation claims because a corrections officer's statements
that Mabra entered Plaintiff's cell and “inquire[d] about            to a plaintiff that his “grievances were unlikely to succeed”
the grievance that [P]laintiff had written against Defendant         and that the officer “would handle things ‘his way’ ” were
Vanlierop” before shoving Plaintiff and demanding that he            insufficiently specific or direct); Barrington v. New York, 806
“retract the contents of the grievance” against Vanlierop).) For     F. Supp. 2d 730, 746 (S.D.N.Y. 2011) (granting summary
reasons discussed with respect to Vanlierop in Part II.B.2.a,        judgment in favor of a defendant who told an inmate that
supra, the Court concludes that Plaintiff has adequately             “ ‘me and my boys ... going to get you’ while brandishing
alleged Holland's first and third elements with respect to           a copy of a grievance”); Bilal v. N.Y. State Dep't of Corr.,
Mabra. That is, the Complaint plausibly suggests that Mabra's        No. 09-CV-8433, 2010 WL 2506988, at *16 (S.D.N.Y. June
allegedly retaliatory actions were in response to Plaintiff's        21, 2010) (“Neither [the defendant's] comment ... that [the
exercise of constitutionally protected conduct (his preparation      plaintiff] was ‘lucky’ because correction officers ‘usually
of the Second Grievance), and Mabra's actions occurred on            fuck people up for writing a bunch of bullshit grievances’ nor
April 10, just one day after Vanlierop seized the Second             his ... comment that ‘[y]ou're not the only one who can write.
Grievance, (see Compl. 7), which itself had only been drafted        I'm willing to bet you'll break or get broke up,’ was a ‘direct’
within the past several days, see notes 3 & 6 supra, thereby         or ‘specific’ threat.” (alteration and record citations omitted)),
establishing the necessary causal connection.                        aff'd sub nom., Bilal v. White, 494 F. App'x 143 (2d Cir.
                                                                     2012); cf. White, 2018 WL 6726555, at *14 (“This allegation
The only question remaining is whether Mabra's conduct               constitutes a specific, clear threat made in response to [the]
constitutes adverse action so as to satisfy Holland's second         [p]laintiff's prospective grievance against [the] [d]efendant ....
prong. Here, there are three discrete actions to consider:           [The defendant] threatened physical harm to [the] [p]laintiff,
(1) Mabra's threat to Plaintiff (“[Y]our ass won't be making         and did so with particularity, by pointing to the inmates who
it home”); (2) Mabra's demand that Plaintiff “retract the            would harm [the] [p]laintiff and explaining why they would




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harm him at her direction.”). In sum, Plaintiff has failed to      Salgado v. NYS Dep't of Corr. & Cmty. Supervision, No.
allege an adverse action based on Mabra's alleged threat.          13-CV-1108, 2016 WL 6311296, at *3, *8 (W.D.N.Y. Sept.
                                                                   15, 2016) (concluding that slamming the plaintiff's finger
 *8 With respect to Mabra's second action, case law suggests       in a cell window and beating him constituted adverse
that where a defendant demands that an inmate withdraw             action for purposes of retaliation claim); Baskerville, 224 F.
a prison grievance, such a demand does not give rise               Supp. 2d at 726, 732 (holding that a “retaliatory assault”
to a retaliation claim unless the demand is accompanied            in which the plaintiff was placed in a chokehold, shoved
by a sufficiently specific and direct threat. Here, because        into the bars of his cell, and choked until he “was on the
Mabra's threat was not sufficiently specific or direct, his        verge of collapsing” “sufficiently describe[d] adverse conduct
alleged demand that Plaintiff “retract the contents” of the        that would deter a reasonable inmate from exercising his
Second Grievance does not constitute an adverse action. See        constitutional rights”). By contrast, courts have found that
Rodriguez v. Patchen, No. 13-CV-1086, 2018 WL 2122877,             shoving an inmate or comparable conduct is insufficient
at *9 (W.D.N.Y. Mar. 1, 2018) (concluding on summary               to constitute an adverse action. See Flynn v. Ward, No.
judgment that the defendant's alleged “threat[ ] to use physical   15-CV-1028, 2018 WL 3195095, at *9 (N.D.N.Y. June 7,
violence against [the] [p]laintiff unless [he] withdrew his        2018) (observing that “[a]lthough an alleged assault need
inmate grievance” did not establish a retaliation claim because    not rise to the level of an Eighth Amendment excessive
“physical violence” constituted a vague threat), report and        force violation in order to be considered an adverse action
recommendation adopted, 2018 WL 2119768 (W.D.N.Y. May              for purposes of First Amendment retaliation analysis, [the
8, 2018); Bartley v. Collins, No. 95-CV-10161, 2006 WL             plaintiff's] allegations that [a defendant] ‘push[ed] him
1289256, at *6 (S.D.N.Y. May 10, 2006) (concluding on              around’ ” was “de minimis” and therefore insufficient
summary judgment that “verbal threats such as ‘we [are]            to constitute adverse action (record citation omitted) (last
going to get you, you better drop the [law]suit,’ do not rise to   alteration in original)), report and recommendation adopted,
the level of adverse action” (footnote omitted)); cf. St. Pierre   2018 WL 3193201 (N.D.N.Y. June 28, 2018); Rivera v.
v. Semple, No. 14-CV-1866, 2015 WL 6872442, at *4 (D.              Goord, 119 F. Supp. 2d 327, 340 (S.D.N.Y. 2000) (concluding
Conn. Nov. 9, 2015) (finding that the plaintiff adequately         that particular defendants' “alleged acts of retaliation”—“
stated a retaliation claim against a nurse who threatened          ‘shov[ing]’ [the plaintiff] while taking him to the [Special
to continue to stop providing him with his prescribed pain         Housing Unit (“SHU”)]”—“even if assumed to be true,
medication unless he withdrew a grievance against her). Thus,      [were] de minimis ... [and] would not chill a person
Plaintiff cannot state a retaliation claim against Mabra based     of ordinary firmness from continuing to engage in First
on Mabra's demand that he retract the Second Grievance.            Amendment activity” (italics omitted)); see also, e.g., Myers
                                                                   v. Saxton, No. 20-CV-465, 2021 WL 149062, at *7 (N.D.N.Y.
With respect to Mabra's third action, physical assault may,        Jan. 15, 2021) (“[I]n this circuit, courts have routinely
depending on its severity, constitute an adverse action            concluded that the type of physical assault suffered by [the]
for purposes of a First Amendment retaliation claim. See           plaintiff in this case (i.e., having a food tray thrown at him)
Flemming v. King, No. 14-CV-316, 2016 WL 5219995, at               is de minimis for purposes of a retaliation claim and is not
*5 (N.D.N.Y. June 20, 2016), report and recommendation             sufficient to satisfy the adverse action element.”); Woodward
adopted, 2016 WL 5173282 (N.D.N.Y. Sept. 21, 2016);                v. Afify, No. 14-CV-856, 2018 WL 9875253, at *11 (W.D.N.Y.
see also Baskerville v. Blot, 224 F. Supp. 2d 723, 731–            Sept. 28, 2018) (“[V]iewing the allegations here in the light
32 (S.D.N.Y. 2002) (holding that a “retaliatory assault”           most favorable to [the] plaintiff, the [c]ourt concludes that a
sufficiently described an adverse action for purposes of a         single punch is an insufficient adverse action to meet even
retaliation claim). Notably, “the alleged assault need not rise    the lower standard required in a First Amendment retaliation
to the level of an Eighth Amendment excessive force violation      claim.”), report and recommendation adopted, 2019 WL
in order to be considered an adverse action for purposes of        5394217 (W.D.N.Y. Oct. 22, 2019). Accordingly, Plaintiff has
First Amendment retaliation analysis.” Flemming, 2016 WL           failed to allege an adverse action taken by Mabra.
5219995, at *5. Even in light of this lower standard, however,
Mabra's alleged action is still insufficient to constitute an       *9 Because Plaintiff has failed to allege adequately the
adverse action. The cases in which courts have recognized          “adverse action” prong of his retaliation claim against Mabra,
assault as a form of adverse action have involved markedly         the Court dismisses the Mabra Retaliation Claim.
more violent conduct than that alleged here. See, e.g.,



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                                                                   “forcefully ‘compressed’ against the wall” was not a violation
                                                                   of the Eighth Amendment and noting that “[c]ourts in this
                3. The Excessive Force Claim
                                                                   Circuit have routinely found such types of minimal injuries
To the extent Plaintiff alleges a distinct excessive force claim   and pain insufficiently serious or harmful to satisfy the
against Mabra based on his act of shoving Plaintiff into his       objective element of the Eighth Amendment analysis” (citing
cell wall, (see Compl. 9), this claim fails for reasons already    cases)), report and recommendation adopted, 2011 WL
discussed: Just as the act of shoving an inmate fails to satisfy   5877548 (S.D.N.Y. Nov. 23, 2011); James v. Phillips, No.
the relaxed standard necessary to allege an “adverse action,”      05-CV-1539, 2008 WL 1700125, at *5 (S.D.N.Y. Apr. 9,
it necessarily fails to satisfy the more demanding standard        2008) (concluding that a guard's “shov[ing] of an inmate”
necessary to establish an Eighth Amendment excessive force         constituted a de minimis use of force that could not give rise
claim.                                                             to a viable excessive force claim); Show v. Patterson, 955
                                                                   F. Supp. 182, 192–93 (S.D.N.Y. 1997) (concluding that the
The Eighth Amendment's guarantee of freedom from “cruel            alleged force—“pushing [the plaintiff] against the wall”—
and unusual punishment” encompasses “restraints on prison          was “de minimis and thus not protected by the Eighth
officials, who may not, for example, use excessive physical        Amendment”); Bryan v. Admin. of F.C.I. Otisville, 897 F.
force against prisoners.” Farmer v. Brennan, 511 U.S. 825,         Supp. 134, 137 (S.D.N.Y. 1995) (“The Second Circuit has
832 (1994). “[An] [a]nalysis of cruel and unusual punishment       deemed brief confrontations between prisoners and guards
claims requires both objective examination of the conduct's        such as the pushing incident alleged here insignificant
effect and a subjective inquiry into the defendant's motive for    for Eighth Amendment purposes.”). Accordingly, the Court
the conduct.” Manley v. Grossman, No. 13-CV-1974, 2017             dismisses the Excessive Force Claim.
WL 4326541, at *8 (S.D.N.Y. Sept. 27, 2017). The objective
element focuses on the harm done “in light of contemporary
standards of decency,” Wright v. Goord, 554 F.3d 255, 268                        4. The Failure to Intervene Claim
(2d Cir. 2009) (quotation marks omitted), and asks whether
“the deprivation alleged is ‘sufficiently serious,’ or ‘harmful     *10 Construed liberally, the Complaint raises a claim for
enough,’ to reach constitutional dimensions,” Romano v.            failure to intervene against Kitt. (Compl. 7, 9.)
Howarth, 998 F.2d 101, 105 (2d Cir. 1993) (citing Wilson v.
Seiter, 501 U.S. 294, 298, 303 (1991)). “Not every push or         Under the Eighth Amendment, prison officials must “take
shove, even if it may later seem unnecessary in the peace          reasonable measures to guarantee the safety of inmates in
of a judge's chambers, violates a prisoner's constitutional        their custody.” Hayes v. N.Y. C. Dep't of Corr., 84 F.3d 614,
rights.” Boddie v. Schnieder, 105 F.3d 857, 862 (2d Cir. 1997)     620 (2d Cir. 1996). Moreover, “[l]aw enforcement officials,
(citation omitted). The subjective element requires a showing      including prison officials, can be held liable under § 1983
that the defendant “had the necessary level of culpability,        for failing to intervene in a situation where another official is
shown by actions characterized by wantonness' in light             violating an inmate's constitutional rights, including the use of
of the particular circumstances surrounding the challenged         excessive force, in their presence.” McRae v. Gentile, No. 14-
conduct.” Wright, 554 F.3d at 268 (citation omitted).              CV-783, 2015 WL 7292875, at *2 (N.D.N.Y. Oct. 20, 2015),
                                                                   report and recommendation adopted, 2015 WL 7300540
Here, even assuming Plaintiff could satisfy the subjective         (N.D.N.Y. Nov. 18, 2015); see also Anderson v. Branen,
element of his excessive force claim, the Court finds no basis     17 F.3d 552, 557 (2d Cir. 1994) (“It is widely recognized
to conclude that the alleged use of force was “objectively         that all law enforcement officials have an affirmative duty
‘harmful enough’ or ‘sufficiently serious’ ” to violate the        to intervene to protect the constitutional rights of citizens
Eighth Amendment. Crawford v. Cuomo, 796 F.3d 252,                 from infringement by other law enforcement officers in their
256 (2d Cir. 2015) (citation omitted). Courts in the Second        presence.” (collecting cases)), reh'g denied, 27 F.3d 29 (2d
Circuit have found that comparable uses of force—where a           Cir. 1994). Specifically, “[a]n officer who fails to intercede
corrections officer forcefully shoves or pushes an inmate—         is liable for the preventable harm caused by the actions of
are insufficient to satisfy the objective prong of an excessive    the other officers where that officer observes or has reason
force claim. See, e.g., Tavares v. City of New York, No.           to know that excessive force is being used,” provided there
08-CV-3782, 2011 WL 5877550, at *5–6 (S.D.N.Y. Oct.                was “a realistic opportunity to intervene to prevent the harm
17, 2011) (holding that a pat frisk where the plaintiff was        from occurring.” Rahman v. Acevedo, No. 08-CV-4368, 2011



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WL 6028212, at *8 (S.D.N.Y. Dec. 5, 2011) (alteration and          (2d Cir. 2004) (citation and alteration omitted), cert. denied
quotation marks omitted).                                          sub nom., McBride v. Ortiz, 543 U.S. 1187 (2005). The
                                                                   Supreme Court has held that inmates retain due process rights
“However, ‘there can be no failure to intervene claim without      in prison disciplinary proceedings. See Wolff v. McDonnell,
a primary constitutional violation.’ ” Sanabria v. Tezlof, No.     418 U.S. 539, 563–72 (1974) (describing the procedural
11-CV-6578, 2016 WL 4371750, at *5 (S.D.N.Y. Aug. 12,              protections that inmates are to receive when subject to
2016) (quoting Forney v. Forney, 96 F. Supp. 3d 7, 13              significant disciplinary punishment).
(E.D.N.Y. 2015)); see also Posner v. City of New York, No. 11-
CV-4859, 2014 WL 185880, at *8 (S.D.N.Y. Jan. 16, 2014)            With respect to the first requirement, “[p]rison discipline
(explaining that “[b]ecause [the] [d]efendants [were] entitled     implicates a liberty interest when it ‘imposes atypical
to summary judgment on [the] [p]laintiff's primary claims          and significant hardship on the inmate in relation to the
that they violated her constitutional rights, it follow[ed] that   ordinary incidents of prison life.’ ” Ortiz, 380 F.3d at 654
they [were] entitled to summary judgment on her failure-to-        (quoting Sandin v. Conner, 515 U.S. 472, 484 (1995)). When
intervene ... claim[ ] as well”); Matthews v. City of New York,    evaluating whether an inmate has suffered “atypical and
889 F. Supp. 2d 418, 443–44 (E.D.N.Y. 2012) (observing that        significant hardship,” courts must compare the conditions
a “failure to intervene claim is contingent upon the disposition   imposed upon that inmate with the conditions “endured by
of the primary claims underlying the failure to intervene          prisoners in [the] general population, as well as prisoners
claim”). Because Plaintiff failed to state an excessive force      in administrative and protective confinement, assuming such
claim against Mabra, it necessarily follows that the Failure       confinements are imposed in the ordinary course of prison
to Intervene Claim against Kitt—which is premised on Kitt          administration.” Welch v. Bartlett, 196 F.3d 389, 393 (2d Cir.
allegedly turning a blind eye while Mabra entered Plaintiff's      1999). When evaluating the severity of an inmate's hardship,
cell—must also fail. See, e.g., Forney, 96 F. Supp. 3d at 13       courts should consider both the duration and the conditions of
(explaining that because “all of [the] [p]laintiff's primary [§]   confinement. Dawkins v. Gonyea, 646 F. Supp. 2d 594, 606
1983 claims ha[d] been dismissed, [the] [d]efendants' motion       (S.D.N.Y. 2009).
to dismiss [the] [p]laintiff's failure to intervene claim” also
had to be granted). Accordingly, the Court dismisses the           Regarding the process an inmate is due, a disciplinary
Failure to Intervene Claim.                                        hearing comports with due process when an inmate receives
                                                                   “advance written notice of the charges; a fair and impartial
                                                                   hearing officer; a reasonable opportunity to call witnesses
                                                                   and present documentary evidence; and a written statement
           5. The Procedural Due Process Claims
                                                                   of the disposition, including supporting facts and reasons
Plaintiff alleges that after Vanlierop issued a false              for the action taken.” Luna v. Pico, 356 F.3d 481, 487 (2d
misbehavior report in retaliation for the Second Grievance,        Cir. 2004). “Prison disciplinary proceedings,” however, “are
“a disciplinary hearing was conducted by Defendant Roberts,        not part of a criminal prosecution, and the full panoply of
during which [P]laintiff's repeat[ed] request[s] ... to present    rights due a defendant in such proceedings does not apply.”
audio and video evidence, as well as to call witnesses[,]”         Smith v. Fischer, 803 F.3d 124, 127 (2d Cir. 2015) (quoting
were “denied.” (Compl. 10.) Plaintiff also alleges that            Wolff, 418 U.S. at 556). Ultimately, a guilty finding in an
Roberts' “handling of the disciplinary hearing was improperly      inmate disciplinary hearing only needs to be supported by
influenced by the warden's office,” which had apparently           “some evidence from which the conclusion ... could be
notified Roberts that it was displeased with Plaintiff's           deduced.” Superintendent v. Hill, 472 U.S. 445, 455 (1985)
“treatment of Defendant Vanlierop.” (Id. at 10–11.) At the         (quotation marks omitted). The Second Circuit has explained
end of the hearing, the punishment imposed by Roberts was          that “[j]udicial review of this ‘some evidence’ standard is
“several days of cell confinement and loss of good time.” (Id.     narrowly focused.” Sira v. Morton, 380 F.3d 57, 76 (2d Cir.
at 10.)                                                            2004). Such review “does not require examination of the
                                                                   entire record, independent assessment of the credibility of
 *11 “To present a due process claim, a plaintiff must             witnesses, or weighing of the evidence. Instead, the relevant
establish (1) that he possessed a liberty interest and (2) that    question is whether there is any evidence in the record that
the defendant(s) deprived him of that interest as a result of      could support the conclusion reached by the disciplinary
insufficient process.” Ortiz v. McBride, 380 F.3d 649, 654         board.” Id. (quoting Hill, 472 U.S. at 455–56). Finally, “the



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Second Circuit has said that its ‘conception of an impartial        normal SHU conditions may not implicate a prisoner's
decisionmaker is one who, inter alia, does not prejudge the         liberty interest, [the Second Circuit has] explicitly noted that
evidence and who cannot say, with ... utter certainty ..., how he   SHU confinements of fewer than 101 days could constitute
would assess evidence he has not yet seen.’ ” Rahman, 2011          atypical and significant hardships if the conditions were
WL 6028212, at *7 (quoting Patterson v. Coughlin, 905 F.2d          more severe than the normal SHU conditions ... or a more
564, 570 (2d Cir. 1990)) (italics omitted).                         fully developed record showed that even relatively brief
                                                                    confinements under normal SHU conditions were, in fact,
                                                                    atypical.” Id. at 65 (citation omitted). “In the absence of a
                                                                    detailed factual record,” the Second Circuit has “affirmed
       a. The Roberts Procedural Due Process Claim
                                                                    dismissal of due process claims only in cases where the
As noted, Plaintiff alleges that he was sentenced to “several       period of time spent in SHU was exceedingly short—less
days of cell confinement,” along with “loss of good                 than ... 30 days ... spent in SHU—and there was no indication
time.” (Compl. 10.) Based on the latter allegation—but              that the plaintiff endured unusual SHU conditions.” Id. at
not the former—Plaintiff has adequately alleged a “liberty          66 (collecting cases); see also, e.g., Colon v. Annucci, 344
interest sufficient to trigger due process protections during his   F. Supp. 3d 612, 633–34 (S.D.N.Y. 2018) (holding that
administrative hearing.” Davis v. Barrett, 576 F.3d 129, 133        the plaintiff's “30-day keeplock confinement alone [was]
(2d Cir. 2009). However, his vague allegation that Roberts          insufficient to create a liberty interest triggering due process
“denied” his “repeat[ed] request[s]” to “present audio and          protections” (collecting cases)); Walker v. Quiros, No. 11-
video evidence, as well as to call witnesses,” (Compl. 10), is      CV-82, 2014 WL 7404550, at *8 (D. Conn. Sept. 30, 2014)
insufficient to allege a procedural violation by Roberts.           (“In the absence of a more detailed factual record, a term
                                                                    of segregated confinement shorter than [30] days generally
 *12 The Second Circuit has explained that “[t]he length            does not create a constitutional liberty interest.”); Houston v.
of disciplinary confinement is one of the guiding factors           Cotter, 7 F. Supp. 3d 283, 298 (E.D.N.Y. 2014) (“Absent a
in applying Sandin’s ‘atypical and significant hardship’            detailed factual record, courts typically affirm dismissals of
test.” Hanrahan v. Doling, 331 F.3d 93, 97 (2d Cir.                 due process claims where the period of time spent in SHU
2003). It is not, however, the only relevant factor. “The           was short—e.g., [30] days—and there was no indication of
conditions of confinement are a distinct and equally important      unusual conditions.” (italics omitted)).
consideration in determining whether a confinement in SHU
rises to the level of ‘atypical and severe hardship.’ ” Palmer      Here, Plaintiff alleges merely that he was sentenced to
v. Richards, 364 F.3d 60, 64 (2d Cir. 2004) (quotation              “several days of cell confinement,” along with “loss of
marks omitted). Accordingly, courts must consider both the          good time.” (Compl. 10.) 8 Plaintiff offers no allegations
conditions of disciplinary confinement and their duration, as       regarding the severity or atypicality of the conditions
“especially harsh conditions endured for a brief interval and       he experienced in disciplinary confinement. Without such
somewhat harsh conditions endured for a prolonged interval          allegations, “several days” in disciplinary confinement is
might both be atypical.” Sealey v. Giltner, 197 F.3d 578, 586       insufficient to trigger a liberty interest in his disciplinary
(2d Cir. 1999).                                                     hearing. See Washington v. Fitzpatrick, No. 20-CV-911, 2021
                                                                    WL 966085, at *9 (S.D.N.Y. Mar. 15, 2021) (holding that
Although the Second Circuit has “explicitly avoided a               the plaintiff's allegation that he was sentenced to 30 days in
bright line rule that a certain period of SHU confinement           keeplock confinement, during which he was denied various
automatically fails to implicate due process rights,” it has        privileges such as phone calls, television, and commissary
nevertheless established certain “guidelines for use by district    access, did “not plausibly plead a liberty interest”); Ruggiero
courts in determining whether a prisoner's liberty interest         v. Way, No. 19-CV-3631, 2020 WL 5126112, at *9 (S.D.N.Y.
was infringed.” Palmer, 364 F.3d at 64. For example, the            Aug. 31, 2020) (holding that where the plaintiff alleged he
Second Circuit has explained that where a plaintiff is confined     was confined to SHU for 30 days, without “any allegation that
in SHU for an “intermediate duration” of between 101 and            he endured unusual SHU conditions during his confinement,”
305 days, “development of a detailed record” regarding              the plaintiff “ha[d] not pleaded deprivation of a cognizable
the conditions of confinement as compared to “ordinary              interest in liberty”); Brown v. Murphy, No. 16-CV-710, 2019
prison conditions” is required. Id. at 64–65 (quotation marks       WL 2325777, at *2–3 (S.D.N.Y. May 30, 2019) (holding
omitted). Moreover, “although shorter confinements under            that the plaintiff's 30-day period in keeplock confinement did



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not constitute an atypical and significant hardship where the        witnesses.” (Compl. 10.) Courts have held that such vague,
complaint was “devoid of any allegations of the conditions of        conclusory allegations are insufficient to establish the second
his keeplock confinement”); Colon, 344 F. Supp. 3d at 633–           prong of a procedural due process claim. See McFadden
34 (dismissing due process claim where the plaintiff alleged         v. Annucci, No. 18-CV-6684, 2021 WL 463829, at *9
that he was sentenced to 30 days in keeplock confinement             (S.D.N.Y. Feb. 9, 2021) (“Simply alleging that he was
and failed to “allege any facts suggesting that he was exposed       denied the right to call witnesses, present documents or
to any conditions of confinement more harsh than typical             to ‘confront accusations’ is wholly conclusory and does
keeplock”). Accordingly, Plaintiff has failed to allege a liberty    not state a claim upon which relief can be granted.”);
interest based on his time in disciplinary confinement.              Banks v. Royce, No. 18-CV-4738, 2020 WL 5038590,
                                                                     at *4 (S.D.N.Y. Aug. 26, 2020) (concluding that the
8                                                                    plaintiff's allegation—that the defendants “denied [him]
        Plaintiff has attached to his Complaint a
        document labeled “Disciplinary Hearing Officers              [his] procedural due process when they prevented [him]
        Report.” (See Compl. 18.) Under a section labeled            from presenting evidence in the form of witnesses and
        “Confinement Sanctions Imposed,” the document                documents”—was “the type of ‘unadorned, the-defendant-
        indicates that Plaintiff was sentenced to keeplock           unlawfully-harmed-me’ allegation” that is insufficient to state
        confinement, (see id.), which is “a type of                  a claim (citations omitted)); see also Rush v. Canfield, 649
                                                                     F. App'x 70, 71 (2d Cir. 2016) (summary order) (holding
        residential segregation,” Brown v. Markham, No.
                                                                     that the plaintiff's “assertion that he was ‘denied the right to
        16-CV-710, 2018 WL 1918625, at *1 (S.D.N.Y.
                                                                     call witnesses’ ” was “a bare legal conclusion incapable of
        Apr. 20, 2018). Although the number of days to
                                                                     surviving a motion to dismiss” (citation omitted)). Likewise,
        which he was sentenced appears to be 22, because
                                                                     Plaintiff's allegation that Roberts was improperly swayed
        the writing is almost illegibly faint, the Court
        cannot determine with certainty how long Plaintiff           by the warden's office, (see Compl. 10–11), is merely a
        was confined in keeplock.                                    “[c]onclusory allegation[ ] of bias,” which “[is] not enough
                                                                     to show that a plaintiff received constitutionally insufficient
 *13 Plaintiff also alleges, however, that he suffered a “loss       process,” Banks, 2020 WL 5038590, at *4 (collecting cases);
of good time,” (Compl. 10), and the Disciplinary Hearing             see also Fabricio v. Griffin, No. 16-CV-8731, 2019 WL
Officers Report attached to his Complaint indicates that he          1059999, at *9 (S.D.N.Y. Mar. 6, 2019) (holding that the
did lose a certain number of days of his good-time behavior          plaintiff's “conclusory allegation[ ]” that the hearing officer
allowance, (see id. at 18). It is well-established that “the loss    was biased failed to state a procedural due process claim).
of good time credit can implicate a liberty interest.” Jenkins v.
Cordero, No. 17-CV-1592, 2018 WL 456311, at *4 (S.D.N.Y.             Accordingly, the Court dismisses the Roberts Procedural Due
Jan. 17, 2018) (citing Wolff, 418 U.S. at 556–57); see also,         Process Claim.
e.g., Gulley v. Roach, No. 02-CV-908, 2004 WL 2331922,
at *5 (W.D.N.Y. Oct. 15, 2004) (“Loss of good time credits
implicates a prisoner's liberty interest.”). Thus, Plaintiff's
allegation that he lost good time credits, which is corroborated     b. The Spaulding/Middleton Procedural Due Process Claim
by the document attached to his Complaint, is sufficient to
                                                                     As discussed, Plaintiff also alleges that the outcome of his
establish a liberty interest in his disciplinary proceedings. See,
                                                                     “appeals to Defendants Spaulding and Middleton's office
e.g., Rivers v. Paige, No. 12-CV-6593, 2014 WL 897094,
                                                                     [was] improper and unjust.” (Compl. 11.) “It is well settled
at *3 (W.D.N.Y. Mar. 6, 2014) (holding that the plaintiff
                                                                     that, in order to establish a defendant's individual liability
adequately alleged a liberty interest in his disciplinary hearing
                                                                     in a suit brought under § 1983, a plaintiff must show the
based on allegation that he had “lost 30 days of good time
                                                                     defendant's personal involvement in the alleged constitutional
credit”).
                                                                     deprivation.” Falls v. Pitt, No. 16-CV-8863, 2021 WL
                                                                     1164185, at *31 (S.D.N.Y. Mar. 26, 2021) (quoting Grullon
But while Plaintiff has adequately alleged a liberty interest in
                                                                     v. City of New Haven, 720 F.3d 133, 138 (2d Cir. 2013))
his disciplinary hearing, his allegations regarding procedural
                                                                     (alteration omitted). There has been a long-running split
deficiencies are too vague and conclusory to establish a
                                                                     in the Second Circuit as to “whether an allegation that a
procedural due process claim. As noted, Plaintiff alleges
                                                                     defendant affirmed a disciplinary proceeding is sufficient
merely that Roberts “denied” his “repeat[ed] request[s]”
                                                                     to establish” that defendant's personal involvement in the
to “present audio and video evidence, as well as to call


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underlying constitutional violation. Samuels v. Fischer,            a constitutional tort.” Id. at 691. Thus, “to prevail on a claim
168 F. Supp. 3d 625, 643 (S.D.N.Y. 2016) (surveying                 against a municipality under [§] 1983 based on acts of a public
authority on both sides) (alterations and quotation marks           official, a plaintiff is required to prove: (1) actions taken under
omitted). Relying on the Second Circuit's 2020 decision in          color of law; (2) deprivation of a constitutional or statutory
Tangreti v. Bachmann, 983 F.3d 609 (2d Cir. 2020)—which             right; (3) causation; (4) damages; and (5) that an official
eliminated special standards for supervisory liability and          policy of the municipality caused the constitutional injury.”
required that alleged constitutional violations be “established     Roe v. City of Waterbury, 542 F.3d 31, 36 (2d Cir. 2008)
against the supervisory official directly,” id. at 618—at least     (citing Monell, 436 U.S. at 690–91). The fifth element reflects
two courts in this District have found that a defendant's           the notion that a Monell defendant “may not be held liable
“fail[ure] to correct another officer's violation” at a prison      under § 1983 solely because it employs a tortfeasor.” Bd. of
disciplinary hearing “does not suffice” to establish that           Cnty. Comm'rs of Bryan Cnty. v. Brown, 520 U.S. 397, 403
defendant's personal involvement in the alleged constitutional      (1997). In other words, a municipality may not be held liable
violation, Washington, 2021 WL 966085, at *10 (alteration           under § 1983 “by application of the doctrine of respondeat
and citation omitted); see also Smart v. Annucci, No. 19-           superior.” Pembaur v. City of Cincinnati, 475 U.S 469, 478
CV-7908, 2021 WL 260105, at *5 (S.D.N.Y. Jan. 26,                   (1986) (italics omitted). Rather, “municipalities may only be
2021) (dismissing due process claim based on the hearing            held liable when the municipality itself deprives an individual
officer's “deni[al] [of the] [p]laintiff's administrative appeal”   of a constitutional right.” Newton v. City of New York, 566 F.
because, under Tangreti, such an allegation “cannot support         Supp. 2d 256, 270 (S.D.N.Y. 2008). A plaintiff may satisfy
the inference” that the officer was personally involved in the      the fifth element by alleging one of the following:
alleged constitutional violation). Thus, even if Roberts had
committed a constitutional violation at Plaintiff's disciplinary
hearing, it seems doubtful that Plaintiff could state a claim                    (1) a formal policy officially endorsed
against Spaulding and Middleton based on their affirmance                        by the municipality; (2) actions taken
of Roberts' determination. But the Court need not resolve the                    by government officials responsible
claim against Spaulding and Middleton on this basis. Here,                       for establishing the municipal policies
given “the absence of any underlying constitutional violation”                   that caused the particular deprivation
at Plaintiff's disciplinary hearing to begin with, “Plaintiff                    in question; (3) a practice so consistent
cannot maintain a cause of action against Defendant[s]                           and widespread that, although not
[Spaulding and Middleton] based on” their affirmance of                          expressly authorized, constitutes a
Roberts' determination. Hinton v. Prack, No. 12-CV-1844,                         custom or usage of which a
2014 WL 4627120, at *13 (N.D.N.Y. Sept. 11, 2014);                               supervising policy-maker must have
see also Barnes v. Annucci, No. 15-CV-777, 2019 WL                               been aware; or (4) a failure by
1387460, at *15 (N.D.N.Y. Mar. 12, 2019) (explaining                             policymakers to provide adequate
that “because no constitutional violation occurred” at the                       training or supervision to subordinates
plaintiff's disciplinary hearing, “and there was no wrong to                     to such an extent that it amounts to
remedy,” the plaintiff could not state a due process claim                       deliberate indifference to the rights of
against a defendant based on his affirmance of the disciplinary                  those who come into contact with the
determination), report and recommendation adopted, 201 WL                        municipal employees.
1385297 (N.D.N.Y. Mar. 27, 2019).

 *14 For these reasons, the Court also dismisses the                Brandon v. City of New York, 705 F. Supp. 2d 261, 276–
Spaulding/Middleton Procedural Due Process Claim.                   77 (S.D.N.Y. 2010) (citations omitted). Moreover, a plaintiff
                                                                    also must establish an “affirmative” causal link between the
                                                                    municipality's policy, custom, or practice and the alleged
  6. The Monell Claim
                                                                    constitutional injury. City of Okla. City v. Tuttle, 471 U.S. 808,
To the extent Plaintiff intends to assert a claim against the
                                                                    824 n.8 (1985).
County pursuant to Monell v. Department of Social Services,
436 U.S. 658 (1978), his claim fails. “Congress did not intend
                                                                    Here, the Complaint is utterly devoid of any allegations that
municipalities to be held liable [under § 1983] unless action
                                                                    would establish the fifth element of a Monell claim. (See
pursuant to official municipal policy of some nature caused


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generally Compl.) Plaintiff does not allege, for example, that
the County officially endorsed a formal policy of retaliating
against inmates who file grievances, or of depriving them                                       III. Conclusion
of procedural due process at disciplinary hearings. Brandon,
705 F. Supp. 2d at 276. Nor does he describe actions by                 *15 For the reasons stated above, the Court dismisses the
“government officials responsible for establishing the policies        Grievance Claim, the Mabra Retaliation Claim, the Excessive
that caused the particular deprivation in question,” or a              Force Claim, the Failure to Intervene Claim, the Procedural
“practice so consistent and widespread” that it “constitutes a         Due Process Claims, and the Monell Claim. The Vanlierop
custom or usage of which a supervising policy-maker must               Retaliation Claim survives.
have been aware.” Id. at 276–77. Likewise, the Complaint
says nothing with respect to the County's alleged failure “to          Because this is the first adjudication of Plaintiff's claims
provide adequate training or supervision to subordinates.” Id.         on the merits, the dismissed claims are dismissed without
at 277. Because Plaintiff offers no allegations to establish the       prejudice. Plaintiff may file an amended complaint within
fifth element of a municipal liability claim, any such claim           30 days of the date of this Opinion & Order. The amended
must be dismissed. See Jackson v. Westchester County, No.              complaint should contain appropriate changes to remedy the
18-CV-7207, 2019 WL 3338020, at *4 (S.D.N.Y. July 25,                  deficiencies identified in this Opinion & Order. Plaintiff
2019) (dismissing Monell claim where the plaintiff failed              is advised that the amended complaint will replace, not
to “allege the existence of any policy, any actions taken              supplement, the instant Complaint, and therefore must
or decisions made by any ... policymaking officials, any               contain all of the claims, factual allegations, and exhibits that
systemic failures to train or supervise, or any practices so           Plaintiff wishes the Court to consider. If Plaintiff fails to abide
widespread that they practically have the force of law”                by the 30-day deadline, his claims may be dismissed with
and failed to “provide any factual details regarding ...               prejudice.
other [purported] lawsuits and grievances” on similar issues
(collecting cases)); see also McKenzie v. City of Mount                The Clerk of Court is respectfully directed to terminate the
Vernon, No. 18-CV-603, 2018 WL 6831157, at *7 (S.D.N.Y.                instant Motion, (Dkt. No. 28), and mail a copy of this Opinion
Dec. 28, 2018) (dismissing Monell claim where the plaintiff            & Order to Plaintiff.
did “not allege any facts suggesting a policy or custom that
led to [the] alleged” constitutional deprivation); 5 Borough
                                                                       SO ORDERED.
Pawn, LLC v. City of New York, 640 F. Supp. 2d 268,
300 (S.D.N.Y. 2009) (dismissing Monell claim where the                 All Citations
“plaintiffs fail[ed] to allege any facts showing that there is
a [municipal] policy—unspoken or otherwise—that violates               Not Reported in Fed. Supp., 2021 WL 4392485
the Federal Constitution”).

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      Only the Westlaw citation is currently available.                             I. Failure to Respond
       United States District Court, N.D. New York.
                                                                Flynn failed to submit any opposition papers to Defendants'
               Bruce FLYNN, Plaintiff,                          motion for summary judgment. Flynn was notified of the
                         v.                                     consequences of failing to respond to a summary judgment
       Joe WARD and Lief Wellenstein, Defendants.               motion by Defendants and the Court. Dkt. Nos. 64-1 and
                                                                65. However, “[t]he fact that there has been no response
                No. 15-CV-1028 (TJM/CFH)                        to a summary judgment motion does not ... mean that the
                              |                                 motion is to be granted automatically.” Champion v. Artuz,
                     Signed 06/06/2018                          76 F.3d 483, 486 (2d Cir. 1996). Even in the absence of
                              |                                 a response, Defendants are entitled to judgment only if the
                      Filed 06/07/2018                          material facts demonstrate their entitlement to judgment as a
                                                                matter of law. Id.; FED. R. CIV. P. 56(c). While “[a] verified
Attorneys and Law Firms
                                                                complaint is to be treated as an affidavit ... and [may] be
                                                                considered in determining whether material issues of fact
Bruce Flynn, 10-A-1558, Elmira Correctional Facility, P.O.
                                                                exist[,]” see Colon v. Coughlin, 58 F.3d 865, 872 (2d Cir.
Box 500, Elmira, NY 14902, pro se.
                                                                1995) (citations omitted), Flynn's Amended Complaint is not
Attorney General for the State of New York, OF COUNSEL:         verified. 2 Thus, the Amended Complaint does not have the
BRIAN W. MATULA, ESQ., Assistant Attorney General,              “force and effect of an affidavit.” See Tafari v. Brown, No.
The Capitol, Albany, New York 12224-0341, Attorney for          9:10-CV-1065 (GTS/DRH), 2012 WL 1098447, at *7, n. 8
Defendant.                                                      (N.D.N.Y. Mar. 30, 2012) (collecting cases). Despite this fact,
                                                                the Court may consider the exhibits attached to the Amended
                                                                Complaint. See Dawkins v. Williams, 511 F. Supp. 2d 248,
    REPORT-RECOMMENDATION AND ORDER 1                           255 (N.D.N.Y. 2007) (considering the exhibits annexed to
                                                                the pro se plaintiff's amended complaint when deciding the
1                                                               defendant's motion for summary judgment even though that
       This matter was referred to the undersigned for
       report and recommendation pursuant to 28 U.S.C.          pleading was not verified). Defendants do not dispute the
       § 636(b) and N.D.N.Y.L.R. 72.3(c).                       authenticity of the exhibits and, in fact, utilized the exhibits
                                                                during Flynn's deposition and cite to the exhibits in support
                                                                of the motion. Dkt. No. 64-2 ¶¶ 46-48; Dkt. No. 64-4; Dkt.
CHRISTIAN F. HUMMEL, U.S. MAGISTRATE JUDGE
                                                                No. 64-7 at 1-2. 3 Additionally, a copy of Flynn's deposition
 *1 Plaintiff pro se Bruce Flynn (“Flynn” or “Plaintiff”),      transcript is annexed as an exhibit to Defendants' motion.
an inmate who was, at all relevant times, in the custody of     Dkt. No. 64-4. Consequently, the facts set forth in Defendants'
the New York Department of Corrections and Community            Rule 7.1 Statement of Material Facts 4 are accepted as true,
Supervision (“DOCCS”), brings this action pursuant to 42        but only as to those facts that are not disputed by Flynn's
U.S.C. § 1983 against Defendants Acting Superintendent Joe      sworn testimony or the exhibits annexed to the Amended
Ward (“Defendant” or “Ward”) and C.O. Lief Wellenstein          Complaint. See N.D.N.Y. L.R. 7.1(a)(3) (“The Court shall
(“Defendant” or “Wellenstein”) for violations of his rights     deem admitted any properly supported facts set forth in
under the First Amendment. Dkt. No. 20 (“Am. Compl.”).          the Statement of Facts that the opposing party does not
Additional defendants were named, but the claims against        specifically controvert.”) (emphasis omitted).
them have since been dismissed. Dkt. No. 22. Presently before
the undersigned is Defendants' motion for summary judgment      2
and dismissal of the Amended Complaint pursuant to Rule                The Amended Complaint is not notarized and does
56 of the Federal Rules of Civil Procedure (“Fed. R. Civ.              not contain any statement from Flynn certifying
P.”). Dkt. No. 64. Flynn did not oppose the motion. For the            the veracity of the document under the penalty of
following reasons, it is recommended that Defendants' motion           perjury.
be granted in part and denied in part.


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3                                                                  From October 2011 until March 5, 2015, inmates in the
       Citations to page numbers refer to the pagination
                                                                   LTPC had physical access to the law library from 4:30 p.m.
       generated by CM/ECF, not the page numbers
                                                                   until 5:45 p.m. Dkt. No. 20-1 at 2; Dkt. No. 64-4 at 35-36.
       generated by the parties.
                                                                   On March 5, 2015, Captain Goppert issued a memorandum
4                                                                  advising the LTPC Population that their law library services
       Local Rule 7.1(a)(3) states:
         Summary Judgment Motions                                  would be “modified.” Dkt. No. 20-1 at 1. In accordance with
         Any motion for summary judgment shall contain             Facility Operations Manual 21.04 5 and Directive #4833, 6
         a Statement of Material Facts. The Statement              LTPC inmate requests for legal assistance from the law library
         of Material Facts shall set forth, in numbered            must be made in writing and forwarded to the law library
         paragraphs, each material fact about which                officer through the facility mail. Dkt. No. 20-1 at 3. Inmates
         the moving party contends there exists no                 were permitted two requests each day. Dkt. No. 64-4 at 36;
         genuine issue. Each fact listed shall set forth a         Dkt. No. 64-2 ¶ 34.
         specific citation to the record where the fact is
         established.                                              5      Mid-State C.F. Facility Operations Manual No.
         The opposing party shall file a response to the
                                                                          21.04 provided, in relevant part:
         Statement of Material Facts. The non-movant's
                                                                            3. Inmates in SHU areas may request, in writing,
         response shall mirror the movant's Statement
                                                                            legal assistance from the Law Library.
         of Material Facts by admitting and/or denying
                                                                            a. All requests for assistance must be sent to the
         each of the movant's assertions in matching
                                                                            Law Library Officer vi a facility mail and each
         numbered paragraphs. Each denial shall set forth
                                                                            request should document what kind of service is
         a specific citation to the record where the factual
                                                                            needed.
         issue arises. The non-movant's response may
                                                                            c. SHU inmates will only be allowed to have two
         also set forth any additional material facts that
                                                                            (2) legal research resources in their possession
         the non-movant contends are in dispute. Any
                                                                            at a time. Pick-up and delivery of legal materials
         facts set forth in the Statement of Material Facts
                                                                            will be made on a daily basis, Monday through
         shall be deemed admitted unless specifically
                                                                            Sunday.
         controverted by the opposing party.
                                                                          Dkt. No. 20-1 at 17.
       Local Rule 7.1(a)(3).
                                                                   6      DOCCS Directive #4833 provided, in pertinent
                                                                          part:
                       II. Background
                                                                            Cell Study Services: Inmates prohibited by their
                                                                            confinement status from visiting the Law Library
                           A. Facts                                         shall be allowed to study Law Library materials
                                                                            in their cells and obtain legal services normally
 *2 The facts are related herein in the light most favorable                available to general population inmates. Such
to Flynn as the nonmoving party. See subsection III(A) infra.               inmates may request, in writing, a maximum of
The facts recited are for the relevant time period as referenced            two items per day and these will be delivered,
in the Amended Complaint.                                                   if available, within 24 hours of receipt of the
                                                                            request. Inmates may retain said legal materials
At the time of the incidents described in the Amended                       for a period of not less than 16 hours nor more
Complaint, Flynn was confined in the Long Term Protective                   than 24 hours.
Custody Unit (“LTPC”) at Mid-State Correctional Facility                  Dkt. No. 20-1 at 5.
(“Mid-State C.F.”). See generally Am. Compl. Wellenstein
was a law library officer at Mid-State C.F. Dkt. No. 64-4
at 35-36. Ward was the Superintendent at Mid-State C.F. Id.                               1. Grievances
at 10. From December 2014 through June 2015, Flynn filed
numerous requests for legal materials/legal assistance. Dkt.       On January 6, 2015; February 14, 2015; and February
No. 20-2.                                                          17, 2015, Flynn filed grievances claiming that Wellenstein
                                                                   refused to make copies of his legal work or perform “word”



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and “key number searches” on the computer. Dkt. No. 64-5          appealed the decision to CORC and on September 21, 2015,
at 4-7. The grievances were consolidated (MS-28194-15) and        the Superintendent's decision was affirmed. Id. at 18.
on March 11, 2015, the Superintendent responded that Flynn
was being properly assisted. 7 Id. at 8. Flynn appealed the       9      See Footnote 7, supra.
decision to the Central Office Review Committee (“CORC”),
                                                                  On May 14, 2015, Flynn filed a grievance claiming that
and, on January 20, 2016, CORC upheld the Superintendent's
                                                                  Wellenstein refused to provide books. Dkt. No. 20-3 at 46.
determination. Id. at 3.

                                                                  On July 21, 2015, Flynn filed a grievance claiming that
7      The signature of the Superintendent is illegible.          Wellenstein refused to provide envelopes and deliberately
On March 10, 2015, Flynn filed a grievance claiming that          amended his documents. Dkt. No. 20-6 at 2.
Wellenstein refused to accept his March 8, 2015 request and
overcharged him for copies. Dkt. No. 20-3 at 12.                  On August 1, 2015, August 7, 2015, and August 10, 2015,
                                                                  Flynn filed grievances against Wellenstein claiming that he
 *3 On April 5, 2015, Flynn filed a grievance alleging that       refused to make copies of documents “in retaliation for the 2
Wellenstein (1) denied him access to the courts; (2) fraud; (3)   most recent grievances against him.” Dkt. No. 64-5 at 26-28.
destruction of property; (4) refused to provide legal materials   The grievances were consolidated (MS-22079-15) and on
or assistance; and (5) refused to respond to weekend requests     August 27, 2015, after an investigation, the Superintendent
(MS-21943-15). Dkt. No. 64-5 at 10-16. On May 6, 2015,            denied the grievances. 10 Id. at 29. Flynn appealed the
the Superintendent responded that Flynn's concerns were           decision to CORC and on October 21, 2015, CORC affirmed
being properly addressed. 8 Id. at 17. Flynn appealed the         the Superintendent's decision. Id. at 24.
decision to CORC and on October 21, 2015, CORC upheld
the Superintendent's determination. Id. at 9.                     10     See Footnote 7, supra.
                                                                  On August 20, 2015, Flynn filed a grievance (MS-22105-15)
8      See Footnote 8, supra.                                     claiming that Wellenstein threatened him and told him, “if I
On April 17, 2015, Flynn filed a grievance claiming that          did not stop with my grievances that he, C.O.’s Jordan and
Wellenstein unlawfully ordered him to remain out of his cell      Miller were going to set me up again like they have done
while he made rounds. Dkt. No. 20-3 at 33.                        numerous times in the past.” Dkt. No. 20-6 at 10.


On April 28, 2015, Flynn filed a grievance claiming that          On October 23, 2015, Flynn filed a grievance claiming
Wellenstein was deliberately harassing him and destroying his     that Wellenstein refused to provide copies and purposefully
documents. Dkt. No. 20-3 at 34.                                   delayed his access to the courts (MS-22183-15). Dkt. No.
                                                                  64-5 at 31. On November 10, 2015, after an investigation,
On April 30, 2015, Flynn filed a grievance charging               the Superintendent determined that Flynn was being provided
Wellenstein with repeated verbal harassment. Dkt. No. 20-3 at     with Law Library services pursuant to Directive #4483. 11 Id.
42. Flynn claimed that Wellenstein came to his cell, accused      at 33. Flynn appealed to CORC, and on February 17, 2016,
Flynn of smoking, entered the cell, and pushed Flynn aside.       CORC upheld the determination. Id. at 30.
Id. Flynn alleged that Wellenstein made “a couple of smart
remarks” and was “angry” over the numerous grievances             11     See Footnote 7, supra.
Flynn filed. Id.
                                                                  On November 6, 2015, Flynn filed a grievance
On May 6, 2015; May 8, 2015; and May 11, 2015, Flynn              (MS-22200-15) claiming that Wellenstein's behavior
filed grievances accusing Wellenstein of destroying copies,       prohibited him from conducting meaningful research. Dkt.
harassment, and threatening behavior. Dkt. No. 64-5 at 19-21.     No. 64-5 at 37. On December 15, 2015, after an investigation,
The grievances were consolidated (MS-21970-15), and, on           the Superintendent denied the grievance. 12 Id. at 38. Flynn
July 14, 2015, after an investigation, the Superintendent         appealed the decision to CORC, and on March 23, 2016,
issued a decision denying the grievances. 9 Id. at 22-23. Flynn   CORC affirmed the determination. Id. at 36.




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12                                                                             monitor our alleged activities, and in
       See Footnote 7, supra.
                                                                               this incident no 3-way call was made
 *4 On January 14, 2016, Flynn filed a grievance claiming                      & this is retaliation for my litigation.
that the photocopier was not functioning properly because
Wellenstein manipulated the memory function. Dkt. No. 20-6
at 61.
                                                                   Dkt. No. 20-6 at 9.

                                                                   On August 24, 2015, Wellenstein issued a misbehavior report
                  2. Misbehavior Reports                           charging Flynn with threats and harassment. Dkt. No. 20-6
                                                                   at 12. Wellenstein reported that Flynn told him, “[o]ne day
On April 30, 2015, Wellenstein issued a misbehavior report         when I get out, I am going to see you selling flowers on the
charging Flynn with smoking. 13 Dkt. No. 20-6 at 70. After a       corner and then I will take care of you the way I want to.” Id.
Tier II disciplinary hearing, Flynn was sentenced to eighteen      After a Tier II disciplinary hearing, Flynn was sentenced to
days in keeplock confinement. Id. Flynn served his sentence        thirty days in keeplock confinement. Id. at 70. The sentence
from April 30, 2015 until May 18, 2015. Id.                        was suspended until December 8, 2015. Id.

13                                                                 On November 12, 2015, Officer U. Upshaw issued Flynn a
       The misbehavior report is not part of the record.
                                                                   misbehavior report charging him with smoking, arson, false
On August 1, 2015, Officer Koscielniak issued Flynn a              statements, and possessing flammable material. Dkt. No.
misbehavior report charging him with violating facility rules      20-6 at 24. After a disciplinary hearing, the charges were
related to smoking. Dkt. No. 20-6 at 6. After a Tier II            dismissed. Id. at 25.
disciplinary hearing, the hearing officer sentenced Flynn
to a thirty day loss of recreation, commissary, and phone/         On November 18, 2015, Wellenstein issued a misbehavior
package privileges. Id. at 70. On August 1, 2015, Wellenstein      report charging Flynn with harassment. Dkt. No. 20-6 at 16.
issued a second misbehavior report charging Flynn with             The misbehavior report was dismissed by the hearing officer.
disobeying a direct order. Dkt. No. 20-6 at 5. After a Tier II     Am. Compl. ¶ 125.
disciplinary hearing, the hearing officer sentenced Flynn to a
thirty day loss of recreation, commissary, and phone/package       On December 11, 2015, Wellenstein issued a misbehavior
privileges for thirty days, but the sentence was suspended         report charging Flynn disobeying a direct order and
until November 16, 2015. Id. at 70.                                harassment. Dkt. No. 20-6 at 26. The ticket was dismissed by
                                                                   the hearing officer. Am. Compl. at ¶ 130.
On August 17, 2015, Officer Alsante issued Flynn a
misbehavior report charging him with placing a three-way
call in violation of facility rules. Dkt. No. 20-6 at 8. Alsante
noted that, on August 17, 2015, “[a]t approx. 9:05 p.m., at                               3. Legal Work
the request of C.O. J. Jordan, I began monitoring 10-2 SHU
                                                                    *5 In 2013, Flynn filed a Habeas Corpus petition in this
phone[.]” Id. As a result of the report, Flynn was placed
                                                                   Court. See Flynn v. J. Colvin, No. 9:13-CV-1247 (JKS)
in keeplock for eighteen days from August 17, 2015 until
                                                                   (N.D.N.Y. 2013). On October 19, 2015, Flynn filed an action
September 4, 2015. Id. at 8, 70. Flynn appealed the decision
                                                                   in the Court of Claims against Wellenstein charging him
to Ward claiming that Jordan asked Alsante to monitor his
                                                                   with deliberately destroying legal documents. Dkt. No. 20-6
telephone call “as part of a campaign of harassment that CO
                                                                   at 27-28. In 2014 and 2015, Flynn was researching and
Wellenstein has launched against those inmates in 10-2 who
                                                                   gathering exhibits in support of a writ of error coram nobis to
are trying to access the law library and [c]ourts.” Id. at 9.
                                                                   vacate his conviction. Dkt. No. 64-4 at 17. In 2014 and 2015,
Flynn further noted:
                                                                   Flynn was also working on a petition for the Department of
                                                                   Veterans' Affairs to increase his disability benefits, Article
                                                                   78 petitions, a foreclosure action, and commenced litigation
             CO W has written 4 misbehavior                        in the Court of Claims. Dkt. No. 64-4 at 18, 21, 25, 29. On
             reports against me & encourages other                 August 24, 2015, Flynn commenced the within action. Dkt.
             CO's to do the same, as well as                       No. 1.



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During his deposition, Flynn testified that did not know the
                                                                                         A. Legal Standard
procedural posture of any of his actions or petitions, could not
recall whether deadlines were in place in any litigation, and       A motion for summary judgment may be granted if there is
could not remember the details of each petition and action.         no genuine issue as to any material fact, it was supported
Dkt. No. 64-4 at 17-31. Flynn testified that his legal work         by affidavits or other suitable evidence, and the moving
was lost and therefore, without being able to refer to his legal    party is entitled to judgment as a matter of law. See FED
records, he could not state whether he suffered any negative        R. CIV. P. 56(a). The moving party has the burden to show
consequences in any legal matter. Id. at 31-32, 44, 107.            the absence of disputed material facts by providing the court
                                                                    with portions of pleadings, depositions, and affidavits which
In June 2016, Flynn was transferred out of Mid-State C.F. Dkt.      support the motion. See FED R. CIV. P. 56; Celotex Corp.
No. 25.                                                             v. Catrett, 477 U.S. 317, 323 (1986). Facts are material if
                                                                    they may affect the outcome of the case as determined by
                                                                    substantive law. See Anderson v. Liberty Lobby, Inc., 477
                   B. Procedural History                            U.S. 242, 248 (1986). All ambiguities are resolved and all
                                                                    reasonable inferences drawn in favor of the non-moving party.
On August 24, 2015, Flynn filed the Complaint in this action.       See Skubel v. Fuoroli, 113 F.3d 330, 334 (2d Cir. 1997).
Dkt. No. 1. In a Decision and Order filed December 4, 2015
(“December Order”), the Court reviewed the Complaint in              *6 The party opposing the motion must set forth facts
accordance with 28 U.S.C. § 1915(e)(2)(B) and 28 U.S.C. §           showing that there is a genuine issue for trial, and must do
1915A, and determined that the Complaint failed to state a          more than show that there is some doubt or speculation as
claim upon which relief could be granted and, therefore, was        to the true nature of the facts. See Matsushita Elec. Indus.
subject to dismissal. Dkt. No. 11. In light of his pro se status,   Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).
Flynn was afforded an opportunity to submit an amended              For a court to grant a motion for summary judgment, it must
complaint. Dkt. No. 11 at 18. On February 25, 2016, Flynn           be apparent that no rational finder of fact could find in favor
filed an Amended Complaint. Dkt. No. 20. Upon review of             of the non-moving party. See Gallo v. Prudential Residential
the Amended Complaint, the Court directed Wellenstein and           Servs., Ltd. P'ship., 22 F.3d 1219, 1223-24 (2d Cir. 1994);
Ward to respond to the First Amendment claims related to            Graham v. Lewinski, 848 F.2d 342, 344 (2d Cir. 1998).
access to the courts and retaliation. Dkt. No. 22 at 14, 26, 29.
                                                                    Where, as here, a party seeks judgment against a pro se
                                                                    litigant, a court must afford the non-movant special solicitude.
                                                                    See Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 477
                      III. Discussion 14                            (2d Cir. 2006). As the Second Circuit has stated,
14                                                                    [t]here are many cases in which we have said that a pro se
        All unpublished opinions cited to by the
        undersigned in this Report-Recommendation are,                litigant is entitled to “special solicitude,” ... that a pro se
        unless otherwise noted, attached to this Report-              litigant's submissions must be construed “liberally,” ... and
        Recommendation.                                               that such submissions must be read to raise the strongest
                                                                      arguments that they “suggest,” ... At the same time, our
In the Amended Complaint, Flynn alleges that his First
                                                                      cases have also indicated that we cannot read into pro se
Amendment right to access the courts was violated and
                                                                      submissions claims that are not “consistent” with the pro se
further, that Wellenstein retaliated against him for filing
                                                                      litigant's allegations, ... or arguments that the submissions
grievances. See generally Am. Compl. Defendants move for
                                                                      themselves do not “suggest,” ... that we should not “excuse
summary judgment arguing that (1) Flynn failed to allege any
                                                                      frivolous or vexatious filings by pro se litigants,” ... and
“actual injury” to sustain a First Amendment claim; (2) Flynn
                                                                      that pro se status “does not exempt a party from compliance
cannot establish a retaliation claim against Wellenstein; (3)
                                                                      with relevant rules of procedural and substantive law,”...
Flynn's supervisory claims against Ward must be dismissed;
and (4) Flynn failed to exhaust his administrative remedies         Id. (citations and footnote omitted); see also Sealed Plaintiff
with respect to retaliatory conduct. See generally Dkt. No. 64.     v. Sealed Defendant, 537 F.3d 185, 191–92 (2d Cir. 2008).




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                                                                    working on in 2015, the procedural posture of any pending
                                                                    litigation, or whether he was subject to any Court imposed
                    B. First Amendment
                                                                    deadlines. Dkt. No. 64-4 at 12-31. Flynn testified that he filed
                                                                    actions in the Court of Claims against Wellenstein related
                     1. Access to Courts                            to the destruction of his legal work, and that the actions
                                                                    were dismissed, but he could not attribute that dismissal to
Flynn claims that Wellenstein deliberately “mixed up” and           Wellenstein's actions or inactions. Id. at 25-26, 29, 30. Flynn
destroyed legal exhibits, refused to accept legal requests, and     explained that he could not provide any specific information
failed to provide legal materials, assistance, and copies. See      related to Court deadlines or legal matters because he was
generally, Am. Compl. As a result, Flynn claims that he was         compelled to send his legal work home and it was lost. Dkt.
prevented from filing a writ of coram nobis, a petition for         No. 64-4 at 18-19, 25, 31, 45. Flynn testified:
habeas relief, a petition with the Department of Veterans'
Affairs, an Article 78 petition, and an appeal with the
New York State Retirement System and missed deadlines in
                                                                                 ... Most of my legal work was shipped
pending litigation. See id. Defendants argue, even assuming
                                                                                 —sent home. They forced me to send
that Flynn had demonstrated a material issue of fact as to
                                                                                 most of my legal work home, so—and
whether Defendants acted deliberately and maliciously in
                                                                                 I haven't been able to get my legal
failing to provide him with legal assistance and materials,
                                                                                 work sent to me. Then they lost a box
the record does not support Flynn's conclusory claim that he
                                                                                 of legal work, so.
suffered an actual injury caused by the Defendants. Dkt. No.
64-6 at 4.

Undoubtedly, prisoners have a constitutional right to               Dkt. No. 64-4 at 18.
meaningful access to the courts. See Bounds v. Smith,
430 U.S. 817, 824 (1977); Lewis v. Casey, 518 U.S. 343,             The record however, lacks any facts related to who directed
350 (1996) (“The right that Bounds acknowledged was the             Flynn to send his legal work home, when or what portion of
(already well-established) right of access to the courts.”). This   his work was misplaced or lost, and who was responsible for
right is implicated when prison officials “actively interfer[e]     his missing legal work.
with inmates' attempts to prepare legal documents[ ] or file
them[.]” Lewis, 518 U.S. at 350 (internal citations omitted).       Even if the undersigned accepts Flynn's explanation, the
To establish a denial of access to the courts claim, a plaintiff    docket reports for cases pending in this Court, as well as
must satisfy two prongs. First, a plaintiff must show that          Flynn's litigation history, belie his First Amendment claims.
the defendant acted deliberately and maliciously. See Davis         In October 2013, Flynn filed a Petition for Habeas Corpus
v. Goord, 320 F.3d 346, 351 (2d Cir. 2003). Second, the             relief. See Flynn v. Colvin, No. 9:13-CV-1247 (JKS), Dkt.
plaintiff must demonstrate that he suffered an actual injury,       No. 1 (N.D.N.Y. Oct. 7, 2013). From February 2014 until June
“i.e., [the defendant] took or was responsible for actions that     2016, Flynn filed several submissions in that case including
hindered a plaintiff's efforts to pursue a legal claim.” Monsky     various motions, an application for counsel, a reply to his
v. Moraghan, 127 F.3d 243, 247 (2d Cir. 1997) (internal             petition, and objections to Court Orders. Id.; Dkt. Nos. 20,
citations, quotation marks, and alterations omitted) (quoting       22, 24, 26, 27, 29, 31, 33, 34, 35, 36, 38. In December 2016,
Lewis, 518 U.S. at 329); Davis, 320 F.3d at 351 (internal           the Petition was denied and Judgment was entered. Id.; Dkt.
quotation marks omitted). “[A] delay in being able to work          Nos. 47, 48. Nothing in the record suggests that the Petition
on one's legal action or communicate with the courts does           was denied for failure to comply with deadlines, prosecute,
not rise to the level of a constitutional violation.” Benjamin      or purse the action.
v. Kerik, 102 F. Supp. 2d 157, 164 (S.D.N.Y. 2000) (citation
omitted), aff'd sub nom. Benjamin v. Fraser, 264 F.3d 175 (2d       In August 2015, Flynn commenced the within action by filing
Cir. 2001).                                                         an eighteen page complaint with over two hundred pages of
                                                                    exhibits, together with a motion to proceed IFP, an inmate
 *7 Here, while Flynn made several claims in his Amended            authorization form, a motion to appoint counsel, and a motion
Complaint related to pending legal matters, Flynn testified at      for preliminary injunctive relief. Dkt. Nos. 1, 2, 3, 4, 5. From
his deposition that he could not recall what litigation he was      August 2015 until June 2016, Flynn filed letters, motions, and



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a fifty-four page Amended Complaint. Dkt. No. 6, 8, 10, 12,        are insufficient. See id. at 214 (citing Flaherty v. Coughlin,
16, 18, 20, 23. Flynn has clearly been able to proceed in his      713 F.2d 10, 13 (2d Cir. 1983) (explaining that “claim[s]
litigation of this case, despite his claims otherwise.             supported by specific and detailed factual allegations ... ought
                                                                   usually be pursued with full discovery.”) ). If the plaintiff
In December 2017 and March 2018, the Appellate Division            establishes these elements, the burden shifts to the defendants
issued Orders dismissing two such petitions. See Flynn             to show by a preponderance of the evidence that they would
v. Annucci, 156 A.D.3d 1105 (3d Dep't 2017); Flynn v.              have taken the same action against the plaintiff absent his
Annucci, 159 A.D.3d 1181, 1182 (3d Dep't 2018). In the 2018        engaging in the protected conduct. See Graham v. Henderson,
Order, the Court affirmed the disciplinary determination after     89 F.3d 75, 79 (2d Cir. 1996).
considering the documentary evidence, hearing testimony,
and misbehavior report. Flynn, 159 A.D.3d at 1182. The             To satisfy the first element of a retaliation claim, a plaintiff
record lacks facts establishing that these cases were dismissed    must show that he engaged in a protected activity. See Espinal
due to Flynn's inability to prosecute or purse the matters or      v. Goord, 558 F.3d 119, 128 (2d Cir. 2009). In the prison
Defendants' behavior. See Davis, 320 F.3d at 352 (holding          context, “adverse action” is objectively defined as conduct
that a plaintiff must show that there is “a causal connection      “that would deter a similarly situated individual of ordinary
between the protected speech and the adverse action.”)             firmness from exercising ... constitutional rights.” Davis v.
(citation omitted).                                                Goord, 320 F.3d 346, 353 (2d Cir. 2003). “[A]dverse action
                                                                   taken for both proper and improper reasons may be upheld if
To summarize, Flynn has failed to show that Defendants'            the action would have been taken based on the proper reasons
actions hindered his efforts to pursue a legal claim. Flynn was    alone.” Jackson, 549 F. Supp. 2d at 215.
able to file several submissions in this Court, demonstrating
that Defendants' alleged conduct did not prevent him from          The plaintiff bears the burden of establishing that “the
litigating actions. Flynn has failed to provide evidence of any    protected conduct was a substantial or motivating factor in
type of actual injury which occurred as a result of Defendants'    the prison officials' decision to discipline the plaintiff.” Gayle,
actions. Flynn has failed to identify which legal claims were      313 F.3d at 682. A plaintiff “may do so with circumstantial
frustrated, if they were meritorious, and how his access           evidence if it is ‘sufficiently compelling[.]’ ” Kotler v.
to legal materials, supplies, or the law library would have        Donelli, 382 F. App'x 56, 57-58 (2d Cir. 2010) (summary
supported the viability of such claims. In the absence of any      order) (quoting Bennett v. Goord, 343 F.3d 133, 137 (2d Cir.
evidence that Flynn suffered any actual injury precluding him      2003) ). “Types of circumstantial evidence that can show
from pursuing any judicial action, it is recommended that          a causal connection between the protected conduct and the
Defendants' motion for summary judgment on this ground             alleged retaliation include temporal proximity, prior good
should be granted.                                                 disciplinary record, finding of not guilty at the disciplinary
                                                                   hearing, and statements by defendants as to their motives.”
                                                                   Barclay v. New York, 477 F. Supp. 2d 546, 588 (N.D.N.Y.
                                                                   2007) (citations omitted). Temporal proximity between the
                        2. Retaliation
                                                                   protected activity and the adverse action “must be very close.”
 *8 To state an actionable claim for retaliation under the First   Meyer v. Shulkin, ––– F. App'x ––––, 2018 WL 480478, at *2
Amendment, a prisoner must establish by a preponderance            (2d Cir. Jan. 19, 2018) (citation omitted).
of the evidence that: (1) the speech or conduct at issue was
protected; (2) the defendant took adverse action against the
plaintiff; and (3) there was a causal connection between                        There is no bright line to define
the protected speech and the adverse action. See Gill v.                        the outer limits beyond which a
Pidlypchak, 389 F.3d 379, 380 (2d Cir. 2004) (internal                          temporal relationship is too attenuated
quotation marks and citation omitted); Tafari v. McCarthy,                      to establish a causal relationship, so
714 F.Supp.2d 317, 347 (N.D.N.Y. 2010). Courts must                             courts judge the permissible inferences
view retaliation claims with care and skepticism to avoid                       that can be drawn from temporal
judicial intrusion into matters of prison administration. See                   proximity in the context of particular
Jackson v. Onondaga Cnty., 549 F. Supp. 2d 204, 214-15                          cases. However, courts have found
(N.D.N.Y. 2008). Therefore, conclusory allegations alone                        that six and eight month gaps



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             between the protected conduct and                        chill a person of ordinary firmness from continuing to engage
             adverse action were sufficient, while in                 in First Amendment activity.”); Sloane v. Mazzuca, No. 04
             other circumstances three months was                     CV 8266(KMK), 2006 WL 3096031, at *13-14 (S.D.N.Y.
             considered too long.                                     Oct. 31, 2006) (concluding that the defendant's conduct of
                                                                      throwing a food tray at plaintiff did not amount to adverse
                                                                      action); cf. Williams v. Hesse, No. 9:16-CV-01343 (GTS/
Burton v. Lynch, 664 F.Supp.2d 349, 367 (S.D.N.Y. 2009)               TWD), 2018 WL 1363759, at *7-8 (N.D.N.Y. Feb. 2, 2018)
(internal quotation marks and citations omitted).                     (concluding that the defendants' threats coupled with spitting
                                                                      chewing tobacco in the plaintiff's face that resulted in “severe
Flynn claims that Wellenstein assaulted him, threatened him,          burning, pain, and a temporary loss of vision in his right
denied him access to the court, and filed misbehavior reports         eye for nearly six hours, and a severe headache for days”
in retaliation for Flynn's grievances against Wellenstein.            constituted adverse action) Moreover, there is no indication
See generally Am. Compl. It is well-settled that the filing           that plaintiff sought medical treatment or experienced severe
of a grievance constitutes protected speech under the First           pain or suffering as a consequence of the alleged assault. See
Amendment. See Graham, 89 F.3d at 80; Franco v. Kelly,                Williams, 2018 WL 1363759, at *7-8. Therefore, because the
854 F.2d 584, 589 (2d Cir. 1988) (“Moreover, intentional              undersigned finds that Wellenstein's alleged assault does not
obstruction of a prisoner's right to seek redress of grievances       amount to adverse action, it is recommended that Defendants'
is precisely the sort of oppression that section 1983 is              motion on this ground be granted.
intended to remedy.”) (alteration and internal quotation marks
omitted); see also Roseboro, 791 F. Supp. 2d at 367 (finding
that the filing of a grievance is a protected activity); Mateo                             b. Access to Courts
v. Fischer, 682 F. Supp. 2d 423, 433 (S.D.N.Y. 2010) (same).
Thus, for each allegation, Flynn has satisfied the first prong of     Flynn alleges that Wellenstein denied him access to the law
First Amendment retaliation analysis. Thus, the Court turns           library and to the courts in retaliation for filing grievances.
to whether Flynn has established that he suffered an adverse          Dkt. No. 20 ¶¶ 57, 59, 118, 119, 120, 122. Although a
action and a causal connection between the protected conduct          defendant's underlying action may not amount to a violation
and the adverse action.                                               of a constitutionally protected right, this does not preclude
                                                                      such action from consideration as an adverse action. See
                                                                      Shariff v. Poole, 689 F. Supp. 2d 470, 478-79 (W.D.N.Y.
                                                                      2010). “ ‘An act in retaliation for the exercise of a
                           a. Assault
                                                                      constitutional right is actionable under § 1983 even if the act
 *9 Flynn alleges that Wellenstein assaulted him on April             when taken for different reasons would have been proper.’
30, 2015 in retaliation for filing grievances. See Am. Compl.         ” Id. (quoting Franco, 854 F.2d at 588); see Nei v. Dooley,
¶ 54. With respect to the second prong of the analysis,               372 F.3d 1003, 1007 (8th Cir. 2004) (rejecting the defendants'
Defendants claim that the alleged action, i.e., pushing, was          argument that “[a]s for the inmates' claim that they were
de minimis and thus, not an adverse action. The undersigned           retaliated against for filing their lawsuit by being denied
agrees. Although an alleged assault need not rise to the              access to the prison law library, the officials contend the
level of an Eighth Amendment excessive force violation in             district court should have construed the claim as one of denied
order to be considered an adverse action for purposes of              access to the courts, requiring proof of actual injury, rather
First Amendment retaliation analysis, Flynn's allegations that        than one of retaliation) (citation omitted).” Thus, even though
Wellenstein “push[ed] him around,” see Am. Compl. ¶ 54, are           the undersigned has recommended dismissal of plaintiff's
de minimis. See Rivera v. Goord, 119 F. Supp. 2d 327, 340             access to the courts claim, Wellenstein's underlying conduct
(S.D.N.Y. 2000) (“[E]ven though [the plaintiff] has alleged           may still be assessed as adverse action.
that the actions of [the defendants] were motivated by [the
plaintiff's] filing of grievances, the alleged acts of retaliation,   It is well-settled that the denying an inmate access to the law
even if assumed to be true, are de minimis; [the plaintiff]           library or destroying legal material constitutes adverse action.
states only that [the defendants] ‘shoved’ him while taking           See Guillory v. Haywood, No. 9:13-CV-01564 (MAD), 2015
him to the ‘box’ (i.e., Green Haven's Special Housing Unit,           WL 268933, at *17 (N.D.N.Y. Jan. 21, 2015) (“Furthermore,
or “SHU”). Such actions, even if proven at trial, would not           refusing to allow Plaintiff to go to the law library knowing



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that it would prevent an inmate from filing papers in a             or I will write you up. I will set you up for grieving me
pending lawsuit in a timely manner would arguably deter             all the time.” Id. ¶ 58. Assessing these statements in the
a similarly situated individual of ordinary firmness from           light most favorable to Flynn as the non-moving party, the
exercising ... constitutional rights.”) (internal quotation marks   statements are sufficient to support “an inference of a causal
and citation omitted); see also Jean-Laurent v. Lane, No. 9:11-     connection between” plaintiff's grievances and Wellenstein's
CV-186 (NAM/TWD), 2013 WL 600213, at *10 (N.D.N.Y.                  alleged denial of legal materials and/or the law library.
Jan. 24, 2013), report and recommendation adopted, 2013 WL          Baskerville v. Blot, 224 F. Supp. 2d 723, 732 (S.D.N.Y.
599893 (N.D.N.Y. Feb. 15, 2013) (“Destruction of Plaintiff's        2002). Moreover, Wellenstein has not provided an affidavit or
legal material and documents for his Second Circuit appeal          other evidence to refute Flynn's testimony. Therefore, there
constitutes an adverse action for purposes of the retaliation       is a genuine triable issue of fact for a jury to consider. See
analysis.”). Thus, Flynn has established the second prong of        Ramos v. O'Connell, 28 F. Supp. 2d 796, 803 (W.D.N.Y. 1998)
the retaliation analysis.                                           (denying summary judgment where the defendants failed to
                                                                    submit affidavits or documents to contradict the plaintiff's
With respect to the third prong, Flynn must establish a             account). Therefore, affording plaintiff special solicitude, it
causal connection “sufficient to support the inference ‘that        is recommended that Defendants' motion on this ground be
the speech played a substantial part’ in the [ ] adverse [ ]        denied.
action.” Diesel v. Town of Lewisboro, 232 F.3d 92, 107
(2d Cir. 2000) (quoting Ezekwo v. NYC Health & Hosps.
Corp., 940 F.2d 775, 780-81 (2d Cir. 1991) ). As to temporal
                                                                                              c. Threats
proximity, the record indicates that on March 10, 2015; April
5, 2015; April 30, 2015; May 6, 2015; May 8, 2015; May 11,          Verbal harassment and threats are generally not considered
2015; May 14, 2015; July 21, 2015; August 7, 2015; October          conduct “that would deter a similarly situation individual
23, 2015; and November 6, 2015, Flynn filed grievances              of ordinary firmness of exercising constitutional rights.”
against Wellenstein. See Dkt. N. 64-7. Although there is            Cabassa v. Smith, No. 9:08-CV-0480 (LEK/DEP), 2009 WL
no “bright line” establishing the time frame appropriate for        1212495, at *7 (N.D.N.Y. Apr. 30, 2009) (citing Gill, 389
establishing temporal proximity, the short gap between the          F.3d at 380) (additional citation omitted). Verbal threats
protected conduct and adverse action appears sufficiently           however, may constitute adverse action for purpose of a First
close to support an indication of a causal connection. See          Amendment retaliation if the threats are sufficiently specific.
Espinal, 558 F.3d at 129 (holding that passage of six months        Barrington v. New York, 806 F. Supp. 2d 730, 746 (S.D.N.Y.
between protected conduct and adverse action sufficiently           2011); see also Ford v. Palmer, 539 F. App'x 5, 6 (2d Cir. 2013)
supported an inference of a causal connection); see, e.g.,          (summary order) (finding that a verbal threat constituted
Morales v. Mackalm, 278 F.3d 126, 131 (2d Cir. 2002)                adverse action where corrections officer threatened to poison
(concluding that the short time frame between grievance and         the plaintiff in retaliation for filing his grievances).
retaliatory action, along with allegation of the defendant's
involvement, sufficed to support an inference of a retaliatory      Here, Flynn testified that Wellenstein threatened him and told
motive), abrogated on other grounds, Porter v. Nussle, 534          him not to go to the law library. Dkt. No. 64-4 at 93-94. Upon
U.S. 516 (2002).                                                    further questioning, Flynn testified:

 *10 However, “temporal proximity alone cannot create                 Q. Okay. When did he make threats about not going to the
a genuine issue of material as to whether the motivation              law library?
behind [the defendant's] actions was retaliation.” Parks v.
                                                                      A. I don't recall.
Blanchette, 144 F.Supp.3d 282, 336-37 (D. Conn. 2015).
Additional circumstantial evidence supports the conclusion            Q. What about threats in writing you up, when did he say
that Wellenstein's conduct may have been motivated by                 that?
Flynn's complaints. On May 8, 2015, Flynn contends that
Wellenstein stated, “don't you dare file any more grievances          A. I don't recall.
or I will slap you silly and write misbehavior reports to stop
you from requesting anything.” Am. Compl. ¶ 56. On May 11,
2015, Wellenstein stated “don't [you] dare request anything



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                                                                   of a retaliation claim.”) (citation omitted); Bartley, 2006 WL
  Q. Do you recall the sum and substance of any of the             1289256 at *7 (holding that a misbehavior report which
  conversations about not going to the law library or about        resulted in the temporary loss of commissary privileges does
  writing you up?                                                  not constitute adverse action because the penalty was de
                                                                   minimis).
  A. I don't recall right now.

Dkt. No. 64-4 at 94.                                                *11 As a result of the misbehavior reports issued by
                                                                   Koscielniak and Wellenstein on August 1, 2015, Flynn
Flynn did not document or report the threats. Dkt. No. 64-4        suffered a temporary loss of privileges. Dkt. No. 20-6 at 70.
at 96. Based upon the record, the Court concludes that             Flynn was not sentenced to any disciplinary confinement or
Wellenstein's alleged threats are not sufficiently specific to     penalized as a result of the November 12, 2015, November
constitute adverse action. See Bartley v. Collins, No. 95 Civ.     18, 2015 and December 11, 2015 misbehavior reports. Dkt.
10161, 2006 WL 1289256, at *2-4 (S.D.N.Y. May 10, 2006)            No. 20-6 at 25; Am. Compl. ¶¶ 125, 130. Therefore, because
(finding no adverse action where a corrections officer tells a     Flynn has failed to show that he suffered an adverse action as
plaintiff that he is going to “get [him]” for filing a lawsuit);   a result of the aforementioned tickets, the undersigned need
Alicea v. Howell, 387 F. Supp. 2d 227, 237 (W.D.N.Y. 2005)         not determine whether there is a causal connection between
(finding no adverse action where a prison official told an         Flynn's protected conduct and these misbehavior reports.
inmate that he would “have to pay the consequences” for            Accordingly, it is recommended that Defendants' motion for
filing a grievance against her).                                   summary judgment and dismissal of retaliation claims based
                                                                   upon the August 1, 2015; November 12, 2015; November 18,
Accordingly, it is recommended that Defendants' motion for         2015; and December 11, 2015 reports be granted. 16
summary judgment and dismissal of retaliation claims on this
ground be granted. 15                                              16     See Footnote 17, supra.
                                                                   The Court reaches a different conclusion however, with
15     In light of my recommendation that Flynn's                  respect to the remaining misbehavior reports. As a result of
       retaliation claim based upon threats be dismissed           the April 30, 2015 and August 18, 2015 tickets, Flynn was
       in its entirety based on the merits, I find it              sentenced to eighteen days in keeplock. Dkt. No 20-6 at 70.
       unnecessary to address the alternative failure to           As a result of the August 24, 2015 misbehavior report, Flynn
       exhaust arguments related to this claim.
                                                                   received a thirty day keeplock sentence. 17 Id. Accordingly,
                                                                   Flynn has established the second prong of the retaliation
                                                                   analysis with respect to these misbehavior reports. Having
                  d. Misbehavior Reports
                                                                   found that Flynn satisfied the first and second prong of the
Flynn alleges that Wellenstein filed misbehavior reports,          retaliation analysis with respect to these tickets, the Court
and directed other officers to file misbehavior reports, in        turns to whether the record establishes a causal connection
retaliation for grievances. Am. Compl. ¶¶ 55, 70, 71, 73,          between the protected conduct and the adverse action.
79. A defendant's retaliatory filing of a falsified misbehavior
report that results in disciplinary segregated confinement         17     Defendants argue that a suspended sentence does
constitutes adverse action. See Gill, 389 F.3d at 384 (finding            not constitute an adverse action. Dkt. No. 64-6 at
that a false misbehavior report that resulted in the plaintiff's          18. Defendants claim, without evidentiary support,
placement in keeplock constituted adverse action). Courts in              that Flynn did not serve keeplock or lose any
this Circuit have held that a temporary loss of privileges does           privileges as a result of this misbehavior report.
not constitute adverse action. See Smith v. City of New York,             Id. The record before the Court establishes that the
No. 14 CIV. 5927, 2017 WL 2172318, at *6 (S.D.N.Y. May                    thirty day sentence was suspended until December
16, 2017); see also Monko v. Cusack, No. 9:11-CV-1218                     8, 2105. Dkt. No. 20-6 at 70. There is however,
(GTS/TWD), 2013 WL 5441724, at *11 (N.D.N.Y. Sept. 27,                    a genuine issue of fact regarding whether Flynn
2013) (“... the temporary loss of privileges such as the post-            served the keeplock sentence. Construing the facts
adjustment privileges lost by Plaintiff for thirty-six days are           in a light most favorable to the pro se, non-moving
de minimis and do not constitute adverse action for purposes



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       party, the Court finds that Defendants have failed to       Hynes v. Squillace, 143 F.3d 653, 657 (2d Cir. 1998).
       meet their burden of proof with regard to this issue.       “Defendants [may meet] their burden of showing that they
                                                                   would have disciplined the plaintiff even in the absence of
                                                                   the protected conduct if ‘it was undisputed that [the inmate
                       i. April 30, 2015                           plaintiff] had in fact committed the prohibited conduct’ for
                                                                   which he had been cited in a misbehavior report.” Id. (citing
On April 30, 2015, Wellenstein issued Flynn a misbehavior
                                                                   Lowrance v. Achtyl, 20 F.3d 529, 535 (2d Cir. 1994) ).
report for smoking. Am. Compl. ¶ 55; Dkt. No. 64-6 at 14.
Flynn contends that this misbehavior was in retaliation for his
                                                                   In September 2013 and March 2015, Flynn was charged
April 16, 2015 and April 28, 2015 grievances. Am. Compl.
                                                                   with smoking at Mid-State C.F. Dkt. No. 20-6 at 70.
¶ 55. First, the undersigned notes that the April 16, 2015
                                                                   Flynn was found guilty of those charges. Id. During his
grieves conduct by the “law library relief officer” and makes
                                                                   deposition, Flynn admitted that he smoked in his cell in
no mention of Wellenstein. See Dkt. No. 20-3 at 31. Absent
                                                                   the past and conceded that he “had several disciplinary
evidence by plaintiff that Wellenstein either was the library
                                                                   issues with smoking[.]” Dkt. No. 64-4 at 95-96. However,
relief officer or knew of the contents of said grievance, the
                                                                   Flynn maintains that on April 30, 2015, he was not smoking
April 16, 2015 grievance cannot be the basis for his retaliation
                                                                   in his cell. Id. As discussed supra, Wellenstein has not
claim. See Tafari, 714 F. Supp. 2d at 374 (concluding that
                                                                   provided any sworn testimony in support of the motion,
the plaintiff failed to establish a causal connection where the
                                                                   and, thus, has not met his burden of establishing that he
defendant was not named in the original grievance). Second,
                                                                   would have filed the misbehavior report even in the absence
as to the April 28, 2015 grievance, although the temporal
                                                                   of the protected conduct. Accordingly, there is an genuine
proximity of two days sufficiently supports an inference
                                                                   dispute as to whether Flynn committed the charged conduct.
of causal connection, temporal proximity “without more,
                                                                   See Gayle, 313 F.3d at 684 (denying summary judgment
is insufficient to survive summary judgment.” Roseboro
                                                                   where it is disputed whether the plaintiff committed the
v. Gillespie, 791 F. Supp. 2d 353, 370 (S.D.N.Y. 2011)
                                                                   prohibited conduct). Therefore, the undersigned recommends
(citing inter alia Ayers v. Stewart, 101 F.3d 687, 1996 WL
                                                                   that Defendants' motion for summary judgment, on this basis,
346049 (Table), at *1 (2d Cir. 1996) (“[The plaintiff's]
reliance on circumstantial evidence of retaliation-namely, the     be denied. 18
proximity of the disciplinary action to his complaint where no
misbehavior reports were previously filed against him-does         18      See Footnote 15, supra.
not suffice to defeat summary judgment.”) ). As to statements
regarding Wellenstein's motivations, the record indicates that
on May 8, 2015, Wellenstein stated, “don't you dare file any                            ii. August 17, 2015
more grievances or I will slap you silly and write misbehavior
                                                                   The August 17, 2015 misbehavior report was written by
reports to stop you from requesting anything.” Am. Compl.
                                                                   Officer Alsante. Dkt. No. 20-6 at 8. To establish a retaliation
¶ 56. Assessing this statement in the light most favorable
                                                                   claim, a plaintiff must show “a genuine issue of material fact
to Flynn as the non-moving party, the undersigned finds it
                                                                   that the protected conduct was a substantial or motivating
sufficient to support “an inference of a causal connection
                                                                   factor in his discipline.” Graham, 89 F.3d at 81. “[I]t is
between” plaintiff's grievances and Wellenstein's alleged
                                                                   difficult to establish one defendant's retaliation for complaints
filing of misbehavior reports. Baskerville, 224 F. Supp. 2d at
                                                                   against another defendant.” Hare v. Hayden, No. 09 Civ. 3135,
732.
                                                                   2011 WL 1453789, at *4 (S.D.N.Y. Apr. 14, 2011) (citing
                                                                   Wright v. Goord, 554 F.3d 255, 274 (2d Cir. 2009) ).
 *12 Wellenstein argues that even assuming the evidence
creates a material question of fact as to whether he had
                                                                   Here, Flynn did not file any grievances or complaints
retaliatory intent, he would have issued the misbehavior
                                                                   against Alsante. The record lacks any evidence establishing
report even in the absence of the protected conduct. “[T]he
                                                                   why Alsante would file a false misbehavior report against
conclusion that the state action would have been taken in the
                                                                   Flynn, on Wellenstein's behalf, beyond Flynn's conclusory
absence of improper motives is readily drawn in the context
                                                                   allegations. Without more, the evidence does not present
of prison administration where we have been cautioned to
                                                                   a genuine issue of material fact for a jury to resolve.
recognize that prison officials have broad administrative and
                                                                   See Ciaprazi v. Goord, No. 9:02-CV-915 (GLS/DEP), 2005
discretionary authority over the institutions they manage.”


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WL 3531464, at *9 (N.D.N.Y. Dec. 22, 2005) (entering               Flynn contends that Ward was personally involved in the
summary judgment on retaliation claim where the plaintiff          alleged constitutional violations by denying his grievances.
cited only past grievances filed against corrections officers
other than the officer who disciplined the plaintiff); see also    Supervisory officials may not be held liable merely because
Alicea v. Maly, No. 9:12-CV-203 (MAD/TWD), 2015 WL                 they held a position of authority. See Black v. Coughlin, 76
4326114, at *14 (N.D.N.Y. July 14, 2015); Guillory v. Ellis,       F.3d 72, 74 (2d Cir. 1996). However, supervisory personnel
No. 9:11-CV-600 (MAD/ATB), 2014 WL 4365274, at *18                 may be considered “personally involved” if:
(N.D.N.Y. Aug. 29, 2014). Accordingly, it is recommended
that Defendants' motion for summary judgment and dismissal           (1) the defendant participated directly in the alleged
of retaliation claims based upon this misbehavior report be          constitutional violation;

granted. 19                                                          (2) the defendant, after being informed of the violation
                                                                     through a report or appeal, failed to remedy the wrong;
19     See Footnote 17, supra.
                                                                     (3) the defendant created a policy or custom under
                                                                     which unconstitutional practices occurred, or allowed the
                     iii. August 24, 2015                            continuance of such a policy or custom;

On August 24, 2015, Wellenstein issued plaintiff a                   (4) the defendant was grossly negligent in supervising
misbehavior report alleging that Flynn threatened and                subordinates who committed the wrongful acts; or
verbally harassed him. Dkt. No. 20-6 at 12. Plaintiff contends
                                                                     (5) the defendant exhibited deliberate indifference to the
that this misbehavior report was in retaliation for his August
                                                                     rights of inmates by failing to act on information indicating
20, 2015 and August 22, 2015 grievances. Am. Compl. ¶ 79.
                                                                     that unconstitutional acts were occurring.
However, as Defendants note, during his deposition, plaintiff
admitted that he “made a smart remark about [Wellenstein]          Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995) (citing
selling flowers for a living,” but that Wellenstein “took that     Williams v. Smith, 781 F.2d 319, 323–24 (2d Cir. 1986) ).
to a whole different level.” Dkt. No. 64-4 at 91, 93, 95.
Thus, as plaintiff admitted to making the statement that is        Writing letters and grievances to a defendant is insufficient
the basis for the August 24, 2015 misbehavior report, the          to establish notice and personal involvement. Smart v. Goord,
evidence suggests that “plaintiff committed the most serious,      441 F.Supp.2d 631, 643 (S.D.N.Y. 2006) (“Commissioner ...
if not all, of the prohibited conduct charged in the misbehavior   cannot be held liable on the sole basis that he did not act
report.” Gayle, 313 F.3d at 682. Therefore, Defendants have        in response to letters of protest sent by [plaintiff]....”). Also,
established a non-retaliatory reason for the filing of the         it is within the purview of a superior officer to delegate
August 24, 2015 misbehavior report. See Hynes v. Squillace,        responsibility to others. See Vega v. Artus, 610 F.Supp.2d
143 F.3d 653, 657 (2d Cir. 1998) (concluding that plaintiff's      185, 198 (N.D.N.Y. 2009) (finding no personal involvement
admission of the underlying conduct established a “proper,         where “the only involvement of the supervisory official was
non-retaliatory reason[ ] for filing the misbehavior report.”).    to refer the inmate's complaint to the appropriate staff for
Accordingly, it is recommended that Defendants' motion on          investigation”) (citing Ortiz-Rodriguez v. N.Y. State Dep't of
this ground be granted.                                            Corr. Servs., 491 F.Supp.2d 342, 347 (W.D.N.Y. 2007) ).

                                                                   “[I]t is well-established that the review, denial or affirmance
                  C. Supervisory Liability                         of a denial of a grievance is insufficient to establish personal
                                                                   involvement.” Perilla v. Fischer, No. 13-CV-398M, 2013
 *13 Defendants argue that Flynn's claims against Ward must        WL 5798557, at *7 (W.D.N.Y. Oct. 28, 2013) (citing inter
be dismissed because Ward was not personally involved in           alia Farrell v. Burke, 449 F.3d 470, 484 (2d Cir. 2006)
any constitutional violations. Dkt. No. 64-6 at 20-23. Flynn       (citation omitted) ). “[W]hile personal involvement cannot
does not allege, nor does the record support the conclusion        be founded solely on supervision, liability can be found
that Ward directly participated in any alleged constitutional      if the official proactively participated in reviewing the
violations. Construing the Amended Complaint liberally,            administrative appeals as opposed merely to rubber-stamping
                                                                   the results.” Molano v. Bezio, No. 10-CV-6481, 2012 WL



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1252630, at *5 (W.D.N.Y. Apr. 13, 2012) (citing Collins v.
Ferguson, 804 F.Supp.2d 134, 140 (W.D.N.Y. 2011), Black v.
                                                                                              D. Exhaustion
Coughlin, 76 F.3d 72, 74–75 (2d. Cir. 1996) ).
                                                                      As an alternative ground for dismissal of the retaliation
The record before the Court contains Superintendent                   claims, Defendants contend that the motion for summary
responses related to six grievances. Dkt. No. 64-5 at 8,              judgment must be granted because Flynn failed to exhaust
17, 22-23, 29, 33, 38. As noted supra, the signature of               his administrative remedies through available grievance
the Superintendent who executed the response, in each                 procedures. See Dkt. No. 64-2 at 23-26. The PLRA requires
instance, is illegible. See Part II(A)(1). In response to the         that a prisoner exhaust any administrative remedies available
May 6, 2015 grievance (MS-21970-15), the Superintendent               to him or her before bringing an action for claims arising out
concluded that, “[i]n this investigation, the grievant alleges        of his or her incarceration. See Porter v. Nussle, 534 U.S.
that he is not being provided assistance with law library             516, 524 (2002); see also Woodford v. Ngo, 548 U.S. 81,
requests, his copies are purposely damaged and he is being            82 (2006). “The PLRA's exhaustion requirement is designed
retaliated against for filing complaints.” Dkt. No. 64-5              to ‘afford [ ] corrections officials time and opportunity to
at 22. Defendants argue that Ward was not involved in                 address complaints internally before allowing the initiation
that grievance and attribute only two grievances to Ward:             of a federal case.’ ” Johnson v. Testman, 380 F.3d 691,
MS-22079-15 and MS 22200-15. Dkt. No. 64-6 at 22-23.                  697 (2d Cir. 2004) (citing Porter, 534 U.S. at 524-25). The
While Defendants concede that additional grievances were              exhaustion requirement applies “ ‘to all inmate suits about
appealed to the Superintendent, Defendants claim that the             prison life, whether they involve general circumstances or
remaining grievance responses were not issued by Ward                 particular episodes, and whether they allege excessive force
and thus, Ward was not involved in the decision-making                or some other wrong.’ ” Mauldin v. Kiff, No. 11-CV-107-
process or investigation regarding these grievances. These            A, 2014 W L 2708434, at *4 (W.D.N.Y. June 16, 2014)
arguments are asserted by counsel in the Memorandum of                (quoting Porter, 534 U.S. at 532). Further, the exhaustion
Law, but notably absent from the record is any affidavit              requirement applies even where the prisoner seeks relief
or declaration from Ward. Without such evidence, a factual            not available in the administrative grievance process, such
dispute exists as to whether Ward proactively participated in         as money damages. Porter, 534 U.S. at 524. To exhaust
the decision-making process related to Flynn's grievances. As         administrative remedies, the inmate must complete the full
such, there is triable issue of material fact for a jury to resolve   administrative review process set forth in the rules applicable
with respect to Ward's personal involvement in Wellenstein's          to the correctional facility in which he or she is incarcerated.
alleged retaliatory conduct. See Celotex Corp., 477 U.S. at           See Jones v. Bock, 549 U.S. 199, 218 (2007) (internal citation
323. Accordingly, Defendants' motion against Ward on this             omitted).
ground should be denied.
                                                                      “The mere fact that an inmate plaintiff filed some grievance
 *14 A different conclusion is reached however, with respect          prior to filing suit is not enough. The grievance must also
to Flynn's First Amendment claims based upon access to the            have related to the subject matter of the federal lawsuit.”
courts. Absent an underlying constitutional violation by a            Allah v. Poole, 506 F. Supp. 2d 174, 180 (W.D.N.Y. 2007)
subordinate, there can be no supervisory liability. Hernandez         (citation omitted). The scope of a plaintiff's federal claim may
v. Keane, 341 F.3d 137, 145 (2d Cir. 2003); see Elek v. Inc.          not exceed that of the grievance. Donahue v. Bennett, No.
Vill. of Monroe, 815 F.Supp.2d 801, 808 (S.D.N.Y. 2011)               02-CV-6430, 2004 WL 1875019, at *8 (W.D.N.Y. Aug. 17,
(collecting cases for the proposition that “because plaintiff         2004).
has not established any underlying constitutional violation,
she cannot state a claim for 1983 supervisory liability”). As         Although the Supreme Court has deemed exhaustion
discussed supra, Flynn failed to raise an issue of material           mandatory, the Second Circuit has recognized that “certain
fact with respect to his First Amendment claim based upon             caveats apply.” Ruggiero v. County of Orange, 467 F.3d
access to courts. Accordingly, the undersigned recommends             170, 175 (2d Cir. 2006) (citation omitted). Until recently,
that Defendants' motion for summary judgment and dismissal            courts in this district followed a three-part test established
of Flynn's First Amendment claims against Ward based upon             by the Second Circuit in Hemphill v. New York, 380 F.3d
access to the courts be granted.                                      680, 686 (2d Cir. 2004). Under the test established in
                                                                      Hemphill, a plaintiff's failure to exhaust could be excused



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if the plaintiff established that his or her failure to exhaust     days after receipt of the superintendent's determination. Id.
was justified by “special circumstances.” Id. However, the          §§ 701.5(d)(i)-(ii). CORC must “review each appeal, render
Supreme Court recently held that “[c]ourts may not engraft an       a decision on the grievance, and transmit its decision to the
unwritten ‘special circumstances’ exception onto the PLRA's         facility, with reasons stated, for the [inmate], the grievance
exhaustion requirement.” Ross v. Blake, 136 S. Ct. 1850,            clerk, the superintendent, and any direct parties within thirty
1862 (2016). As such, the special circumstances exception           (30) calendar days from the time the appeal was received.”
previously promulgated by the Second Circuit in Hemphill,           Id. § 701.5(d)(3)(ii).
is no longer consistent with the statutory requirements of the
PLRA. See Williams v. Priatno, 829 F.3d 118, 123 (2d Cir.           Flynn testified that he was familiar with the grievance process
2016).                                                              and filed “numerous” grievances in 2015. Dkt. No. 64-4
                                                                    at 41-44. As discussed supra, the record contains copies of
 *15 Although the Supreme Court's decision in                       six (6) grievances that Flynn appealed to CORC and thus,
Ross eliminates the “special circumstances” exception               Defendants concede, exhausted. 20 The record contains a
promulgated by Hemphill, courts must still consider the             certification attesting to the veracity of the grievance records.
PLRA's “textual exception to mandatory exhaustion.”                 Dkt. No. 64-5 at 2.
Ross, 136 S. Ct. at 1858. Under this exception, courts
must determine whether administrative remedies were                 20      Flynn filed additional grievances, but the record
“available” to a prisoner. Id. The Supreme Court identified
                                                                            does not contain proof that these grievances were
three circumstances where administrative remedies may
                                                                            exhausted. To wit, Flynn testified that “at least two
be unavailable to a prisoner. First, “an administrative
                                                                            or three” of his grievances “made it to Albany.”
procedure is unavailable when (despite what regulations or
                                                                            Dkt. No. 64-4 at 46. Flynn could not recall which
guidance materials may promise) it operates as a simple
                                                                            grievances were appealed and testified that while
dead end—with officers unable or consistently unwilling
                                                                            nothing prevented him from exhausting of all his
to provide any relief to aggrieved inmates.” Id. at 1859
                                                                            grievances, he did not appeal certain grievances
(citing Booth v. Churner, 532 U.S. 731, 736, 738 (2001)
                                                                            because they were “repetitive.” Id.
). “Next, an administrative scheme might be so opaque
that it becomes, practically speaking, incapable of use.” Id.       With respect to the exhausted grievances, Defendants argue
Lastly, administrative remedies are unavailable where “prison       that Flynn's retaliation claims were not properly exhausted
administrators thwart inmates from taking advantage of a            because these grievances did not contain allegations that
grievance process through machination, misrepresentation, or        Wellenstein retaliated against Flynn when he assaulted him
intimidation.” Id. at 1860.                                         and issued misbehavior reports. Dkt. No. 64-6 at 25-26.
                                                                    Defendants have not provided an affidavit from any DOCCS'
Here, there is no dispute that at all relevant times, DOCCS had     employee with personal knowledge to support Defendants'
in place a three-step inmate grievance program. N.Y. COMP.          contention that there is no connection between Flynn's
CODES R. & REGS. tit. 7, § 701.5 (2015). First, the inmate          grievances and the matters raised in the federal court
must file a complaint with an inmate grievance program              complaint. Once again, Defendants rely upon the unsupported
(“IGP”) clerk within twenty-one days of the alleged action.         statements by counsel without evidentiary support. Upon
Id. § 701.5(a)(1). An IGP representative has sixteen calendar       review of the record, the undersigned finds that has exhausted
days to informally resolve the issue. Id. § 701.5(b)(1). If no      his remaining retaliation claims. In the May 6, 2015
informal resolution occurs, the full IGP committee must hold        grievance, Flynn claimed that Wellenstein provided distorted
a hearing within sixteen days of receipt of the grievance and       copies of court forms and asserted, “[t]his is the 3 rd time he
must issue a written decision within two working days after         has deliberately ruined copies to the point they are unusable.
the conclusion of the hearing. Id. §§ 701.5(b)(2)(i)-(ii). If the   This is deliberate harassment and the denial of legal copies.”
determination is unfavorable to the inmate, the inmate may          Dkt. No. 64-5 at 21. In the May 8, 2015 grievance, Flynn
appeal the IGRC's determination to the facility superintendent      claimed:
within seven calendar days of receipt of the determination.
Id. § 701.5(c)(1). If the superintendent's determination is
unfavorable to the inmate, the inmate may appeal to the
                                                                                 *16 On 5/8/15 at 5:05 p.m. C.O
Central Office Review Committee (“CORC”) within seven
                                                                                 Wellenstein came to my cell and


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            started kicking the cell door and                     Civ.4477, 2004 WL 766433, at *8 (S.D.N.Y. Apr. 12, 2004).
            slaming [sic] feed up door, verbally                  Accordingly, it is recommended that Defendants' Motion
            harassing me and making numerous                      for Summary Judgment, insofar as it raises the affirmative
            threats. For months C.O. Wellenstein                  defense of nonexhaustion, be denied.
            has been harassing me. As a result of
            his harassment I am afraid to use the
            law library services and request legal
                                                                                         IV. Conclusion
            material.
                                                                  WHEREFORE, based on the findings set forth above, it is
                                                                  hereby:
Dkt. No. 64-5 at 19.
                                                                  RECOMMENDED, that Defendants' motion for summary
On July 14, 2015, the Superintendent responded and                judgment (Dkt. No. 64) be GRANTED IN PART:
categorized these claims as “retaliation” claims in response
to filing prior complaints. Dkt. No. 64-5 at 22. The                (1) Insofar as it seeks dismissal of Flynn's First Amendment
Superintendent conducted an investigation and interviewed           access to the courts claims against Wellenstein and Ward;
Wellenstein. Id.
                                                                    (2) Insofar as it seeks dismissal of Flynn's retaliation claims
                                                                    against Wellenstein and Ward related to misbehavior
In the August 7, 2015 grievance, Flynn reiterated his
                                                                    reports issued on August 1, 2015, August 17, 2015, August,
harassment complaints claiming that, “Wellenstein has
                                                                    24, 2015, November 12, 2015, November 18, 2015, and
refused to make copies in retaliation for the 2 most recent
                                                                    December 11, 2015;
grievances against him. His refusal to make copies is
harassment[.]” Dkt. No. 64-5 at 26-28. On August 27, 2015,          (3) Insofar as it seeks dismissal of Flynn's First Amendment
the Superintendent issued a response finding that the grievant      retaliation claims against Wellenstein and Ward for the
“has not substantiated his claim that he has been the victim        April 30, 2015 assault; and
of harassment by staff[.]” Id. at 29. The Superintendent noted
that Wellenstein denied the allegations. Dkt. No. 64-5 at           (4) Insofar as it seeks dismissal of Flynn's First Amendment
29. In his Appeal Statement, Flynn argued that Wellenstein          retaliation claims against Wellenstein and Ward for threats,
continues to deter him from using the law library “in
                                                                    the motion be GRANTED; and it is further
retaliation for filing grievances[.]” Id. On October 21, 2015,
CORC issued a decision quoting Directive #4040, Section
                                                                  RECOMMENDED, that Defendants' Motion for Summary
701.6(b) related to prohibited “reprisals” against an inmate
                                                                  Judgment (Dkt. No. 64) be DENIED IN PART:
who utilizes the grievance process. 21 Id. at 24.
                                                                    (1) Insofar as it seeks dismissal of Flynn's First Amendment
21                                                                  retaliation claims against Wellenstein and Ward based on
       Section 701.6(b) provides:
         Reprisals prohibited. No reprisals of any kind             access to courts and the misbehavior report issued on April
         shall be taken against an inmate or employee               30, 2015; and
         for good faith utilization of this grievance
                                                                     *17 (2) Insofar as it seeks dismissal of plaintiffs
         procedure. An inmate may pursue a complaint
                                                                    retaliation claims for access to the courts and the April 30,
         that a reprisal occurred through the grievance
                                                                    2015 misbehavior report due to nonexhaustion, the motion
         mechanism. A grievant shall not receive a
                                                                    be DENIED; and it is
         misbehavior report based solely upon an
         allegedly false statement made by the inmate to
                                                                  ORDERED, that copies of this Report-Recommendation and
         the grievance committee.
                                                                  Order be served on the parties in accordance with the Local
       N.Y. COMP. CODES R. & REGS. tit. 7, § 701.6.
                                                                  Rules.
Drawing all inferences in Flynn's favor, the Court finds that
the facts alleged in Flynn's grievances encompass the facts set   IT IS SO ORDERED.
forth in the Amended Complaint. See Curry v. Fischer, No. 02



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                                                                              to the fourteen-day period, meaning that you have
Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(c),
                                                                              seventeen days from the date the Order was mailed
the parties have fourteen days within which to file written
                                                                              to you to serve and file objections. FED. R. CIV. P.
objections to the foregoing report. Such objections shall be
                                                                              6(d). If the last day of that prescribed period falls
filed with the Clerk of the Court. FAILURE TO OBJECT
                                                                              on a Saturday, Sunday, or legal holiday, then the
TO THIS REPORT WITHIN FOURTEEN (14) DAYS
                                                                              deadline is extended until the end of the next day
WILL PRECLUDE APPELLATE REVIEW. Roldan v.
                                                                              that is not a Saturday, Sunday, or legal holiday. Id.
Racette, 984 F.2d 85, 89 (2d Cir. 1993) (citing Small v.
                                                                              § 6(a)(1)(C).
Secretary of Health and Human Servs., 892 F.2d 15 (2d Cir.
1989) ); 28 U.S.C. § 636(b)(1); FED R. CIV. P. 6(a), 6(e),
                                                                      All Citations
72. 22
                                                                      Not Reported in Fed. Supp., 2018 WL 3195095
22        If you are proceeding pro se and are served with this
          Order by mail, three additional days will be added

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                                                                       for the sake of consistency, the Court will refer
                    2019 WL 8015209                                    to him as Defendant Pflueger, as reflected on the
      Only the Westlaw citation is currently available.                docket. (See generally docket sheet.)
       United States District Court, N.D. New York.

                   Seth LOGAN, Plaintiff,                                        TABLE OF CONTENTS
                              v.                                I. RELEVANT BACKGROUND...––––
      Superintendent GRAHAM, Auburn Correctional                A. Plaintiff's Claims...––––
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     Facility; Officer Scott Jones, Auburn Correctional         B. Procedural History...––––
     Facility, formerly known as C.O. Smith; and C.O.
    M. Gould, Auburn Correctional Facility, Defendants.         C. Statement of Undisputed Material Facts...––––

                  9:18-CV-0291 (DNH/ML)                         D. Parties’ Briefing on Defendants’ Motion for Summary
                              |                                 Judgment...––––
                      Signed 11/26/2019

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                                                                A. Standard Governing a Motion for Summary
SETH LOGAN, Plaintiff, Pro Se, 117 Avery Avenue, Buffalo,
                                                                Judgment...––––
New York 14210.

LETITIA A. JAMES, OF COUNSEL: AIMEE COWAN,                      B. Standard Governing Exhaustion of Administrative
ESQ., Assistant Attorney General, Attorney General for the      Remedies...––––
State of New York, Counsel for Defendants, 300 South State
Street, Suite 300, Syracuse, New York 13202.
                                                                III. ANALYSIS...––––
                                                                A. Plaintiff's Failure to Oppose the Merits of Defendants’
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MIROSLAV LOVRIC, United States Magistrate Judge
                                                                AUB-67567-15...––––
 *1 This matter has been referred to me for a Report and
Recommendation by the Honorable David N. Hurd, United           C. Whether Plaintiff's First Amendment Retaliation
States District Judge. Currently before the Court, in this      Claims Should Nevertheless be Dismissed...––––
civil rights action filed by Seth Logan (“Plaintiff”) against
Superintendent Graham, Auburn Correctional Facility, C.O.       D. Doctrine of Qualified Immunity...––––

Pflueger, 1 Auburn Correctional Facility, Officer Scott
Jones, Auburn Correctional Facility, formerly known as          I. RELEVANT BACKGROUND
C.O. Smith, and C.O. M. Gould, Auburn Correctional
Facility (collectively “Defendants”), is Defendants’ motion        A. Plaintiff's Claims
for summary judgment pursuant to Fed. R. Civ. P. 56. (Dkt.      Generally, liberally construed, Plaintiff's Complaint asserts
No. 28). For the reasons set forth below, I recommend that      claims of retaliation against Defendants in violation of the
Defendants’ motion be granted in part and denied in part.       First Amendment. (Dkt. No. 1; Dkt. No. 6.) The Court's
                                                                Decision and Order dated May 4, 2018, thoroughly outlines
1                                                               Plaintiff's allegations and claims. (Dkt. No. 6.)
       The Court notes that Defendants sometimes refer
       to Defendant Pflueger as Defendant “Plfueger” or
       “Pfleuger.” (See Dkt. No. 28, Attach. 1; Dkt. No.          B. Procedural History
       28, Attach. 3; Dkt. No. 28, Attach. 10.) However,



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On March 8, 2018, Plaintiff commenced this action by filing      Unless otherwise noted, the following facts were asserted and
a verified Complaint against Defendants, Lieutenant Vasill,      supported by Defendants in their Rule 7.1 Statement and not
and Lieutenant Abate (Dkt. No. 1) together with a motion         denied by Plaintiff in a Rule 7.1 Response. (Compare Dkt.
for leave to proceed in forma pauperis (Dkt. No. 2). On          No. 28, Attach. 1 [Defs.’ Rule 7.1 Statement] with Dkt. No.
May 4, 2018, the Court granted Plaintiff's motion to proceed     39 [Pl.’s Response].)
in forma pauperis. (Dkt. No. 6.) In addition, the Court
ordered that Plaintiff's retaliation claims against Defendants   1. Plaintiff was convicted in 2009 of Attempted Assault in the
survive sua sponte review, but the Court dismissed Plaintiff's   First and Second Degree.
remaining claims including those against Lieutenant Vasill
and Lieutenant Abate. (Id.)                                      2. All claims in this matter arose out of Plaintiff's confinement
                                                                 at Auburn Correctional Facility (“Auburn”), as a result of his
On January 25, 2019, Defendants filed a letter motion            felony convictions in 2009.
requesting dismissal for failure to prosecute. (Dkt. No.
27.) On March 6, 2019, Defendants filed a motion for             3. Plaintiff was released from prison to the Division of Parole
summary judgment pursuant to Fed. R. Civ. P. 56 and a            on January 7, 2019. 2
motion to dismiss for lack of prosecution. (Dkt. No. 28.)
These motions were referred to United Stated Magistrate          2       The Court notes that the citation provided
Judge David E. Peebles for a Report and Recommendation.
                                                                         by Defendants for this fact does not support
On March 27, 2019, Magistrate Judge Peebles issued a
                                                                         the fact asserted. See New York State
Report and Recommendation, which recommended that (1)
                                                                         Dep't of Corr. And Comty. Servs., http://
the Complaint be dismissed based on Plaintiff's failure
                                                                         nysdoccslookup.doccs.ny.gov/GCA00P00/WIQ3/
to prosecute and to comply with the Court's orders and
                                                                         WINQ130 (last visited November 25, 2019).
local rules of practice, and (2) that Defendants’ motion
                                                                         However, the Court deems the fact admitted
for summary judgment be denied as moot. (Dkt. No. 30.)
                                                                         because Plaintiff failed to deny it. Estate of
On April 15, 2019, Plaintiff filed a change of address
                                                                         D.B. by Briggs v. Thousand Islands Cent. Sch.
with the Court. (Dkt. No. 32.) As a result, on April 15,
                                                                         Dist., 327 F. Supp. 3d 477, 485 n.2 & n.13
2019, United States District Judge David N. Hurd sua
                                                                         (N.D.N.Y. 2018) (Suddaby, C.J.) (“where a non-
sponte granted an extension of time to file objections to
                                                                         movant neither admits nor disputes a fact, the
United Stated Magistrate Judge David E. Peebles's Report-
                                                                         response is deemed an admission”); Costello
Recommendation of March 27, 2019. (Dkt. No. 33.) Plaintiff
                                                                         v. N.Y. State Nurses Ass'n, 783 F. Supp. 2d
did not file any objections to the Report-Recommendation
                                                                         656, 661 n.5 (S.D.N.Y. 2011) (disregarding the
dated March 27, 2019. (See generally Docket Sheet.)
                                                                         plaintiff's responses to the defendant's statement of
                                                                         material facts not in dispute where the plaintiff's
 *2 On July 3, 2019, the Court denied Defendants’ motion to
                                                                         response paragraphs did not specifically dispute the
dismiss and referred to me for consideration of Defendants’
                                                                         defendant's statements or consisted of “conclusory
motion for summary judgment. (Dkt. No. 35.) On July 3,
                                                                         allegations, speculation, or conjecture.”); In re
2019, Plaintiff was provided another opportunity to oppose
                                                                         Horowitz, 14-CV-36884, 2016 WL 1039581, at *1
Defendants’ motion with a response due by August 20, 2019,
                                                                         n.2 (Bankr. S.D.N.Y. Mar. 15, 2016) (stating that,
and a reply due by August 26, 2019. (See text notice dated
                                                                         “a response contending to neither admit or deny an
7/3/19.) On September 9, 2019, the Court issued a text
                                                                         allegation does not create a genuine issue of fact”);
order granting Plaintiff yet another opportunity to oppose
                                                                         accord, Piacente v. Int'l Union of Bricklayers
Defendants’ motion with a deadline of September 30, 2019.
                                                                         & Allied Craftworkers, 11-CV-1458, 2015 WL
(Dkt. No. 37.)
                                                                         5730095, at *2 n.3 (S.D.N.Y. Sept. 30, 2015).
On October 1, 2019, Plaintiff filed a response in opposition     4. In his Complaint, Plaintiff claims that on May 9, 2015,
to Defendants’ motion. (Dkt. No. 39.)                            Defendant Pflueger stopped Plaintiff in the Auburn recreation
                                                                 yard, accused Plaintiff of being a white supremacist and stated
                                                                 that he would be searching Plaintiff's cell for gang material.
  C. Statement of Undisputed Material Facts



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5. Plaintiff alleges that the next day, on May 10, 2015,
Defendant Pflueger threatened him while Plaintiff was exiting      18. Plaintiff alleges that Defendant Pflueger fired him as a
his cell, stating that Plaintiff “ain't gonna be around here for   feed up porter in retaliation for the grievance that Plaintiff
long. They're gonna get you. We're not sure how yet or for         filed dated May 10, 2015.
what, but it's gonna happen.”
                                                                   19. Plaintiff's only basis for this belief is that there was “no
6. According to Plaintiff, Defendant Pflueger did not make         other reason” for Defendant Pflueger to fire him.
any specific threats about anything that he specifically was
going to do to Plaintiff.                                          20. Based on Plaintiff's behavior on the morning of June
                                                                   17, 2015, Defendant Pflueger authored a misbehavior report
7. Plaintiff filed a grievance on May 10, 2015, complaining        dated June 17, 2015, that charged Plaintiff with several
about the alleged incident of May 9, 2015.                         DOCCS Directive violations including disobeying a direct
                                                                   order, creating a disturbance, harassment, and making threats.
8. Defendant Pflueger responded to the grievance by memo
and stated that he stopped Plaintiff in the yard on May 9,         21. Defendant Correction Officer Scott Jones endorsed the
2015 after observing tattoos that could be interpreted as gang     misbehavior report as a witness to a portion of these events.
affiliation tattoos.
                                                                   22. At the time Defendant Jones endorsed the misbehavior
9. Defendant Pflueger stated that he passed the information        report dated June 17, 2015, he had no knowledge that Plaintiff
on to the Early Warning Box—which is an avenue to convey           had filed a grievance against Defendant Pflueger on May 10,
information to Auburn Correctional Facility's intelligence         2015.
unit—and denied threatening or harassing Plaintiff in any
way.                                                               23. Plaintiff testified that he had never interacted with
                                                                   Defendant Jones before this incident on June 17, 2015.
 *3 10. Plaintiff alleges that over a month later, on June 17,
2015, Defendant Pflueger fired Plaintiff from his job as a feed    24. Plaintiff testified that he had no basis to believe that at
up porter.                                                         the time Defendant Jones endorsed the misbehavior report,
                                                                   Defendant Jones knew that Plaintiff had filed any grievances
11. Plaintiff was employed as a feed up porter at Auburn for       against Defendant Pflueger.
approximately one month until he was terminated on June 17,
2015.                                                              25. Plaintiff filed a grievance regarding the incident on June
                                                                   17, 2015, but that grievance was denied.
12. A feed up porter's duties include retrieving food trays from
the mess hall and feeding inmates who are confined to their        26. Defendant Pflueger was never counseled or disciplined as
cell for disciplinary reasons.                                     a result of the incident on June 17, 2015.

13. On the morning of June 17, 2015, Defendant Pflueger            27. As a result of the misbehavior report dated June 17, 2015,
witnessed Plaintiff pass an unidentified item into the cell of     Plaintiff was found guilty of all charges at a disciplinary
another inmate.                                                    hearing and sentenced to 30 days of keep-lock confinement.

14. Defendant Pflueger ordered Plaintiff to return to his cell.    28. Plaintiff filed another grievance dated July 21, 2015,
                                                                   which alleged that on July 8, 2015, he received a false report
15. Plaintiff yelled profanities as he went back to his cell.      authored by Defendant Correction Officer Mark Gould in
                                                                   which, Defendant Gould recommended Plaintiff be placed in
16. While in his cell, Plaintiff yelled “that faggot               administrative segregation.
motherfucker fired me.”
                                                                   29. Defendant Gould recommended that Plaintiff be placed in
17. Plaintiff shouted these profanities loud enough to             administrative segregation based on information he received
communicate with another inmate on a different floor.              from confidential informants, that Plaintiff planned to assault



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Defendant Pflueger when he was released from keep-lock            41. Further, Plaintiff does not know who transported his
confinement.                                                      property to his new cell in the Special Housing Unit.

30. Plaintiff was given a hearing with respect to whether he      42. Plaintiff filed another grievance alleging that on August
should be in administrative segregation.                          4, 2015, and August 6, 2015, Defendant Pflueger threatened
                                                                  Plaintiff while he was training another officer.
31. Plaintiff agreed with the recommendation to be placed in
administrative segregation.                                       43. Defendant Pflueger responded to the grievance and
                                                                  affirmed that on August 4, 2015, and August 6, 2015, he
32. Plaintiff did not know Defendant Gould prior to his           showed various new officers the Special Housing Unit area,
recommendation that Plaintiff be placed in administrative         but they did not stop at Plaintiff's cell and he certainly never
segregation.                                                      made any threatening or harassing statements to Plaintiff.

 *4 33. Plaintiff testified that he believed Defendant Gould      44. Plaintiff testified that at no point during his incarceration
made the recommendation to place Plaintiff in administrative      did Defendant Pflueger use any force against him.
segregation on behalf of Defendant Pflueger in retaliation for
Plaintiff's grievances, because “there [was] no other reason      45. Plaintiff is not alleging any physical injuries with respect
[for Defendant Gould] to do it.”                                  to any of his claims.

34. Plaintiff admitted he has no direct evidence that Defendant   46. The only basis on which Plaintiff brings retaliation claims
Gould recommended administrative segregation based on the         against Defendant Graham is because he denied Plaintiff's
grievances filed by Plaintiff against Defendant Pflueger.         grievances and allowed Defendant Pflueger's behavior to
                                                                  continue.
35. Plaintiff has no evidence that Defendant Gould even knew
about any grievances filed by Plaintiff against Defendant         47. Other than the grievances he filed, Plaintiff never sent
Pflueger.                                                         Defendant Graham any other correspondence about these
                                                                  incidents and he never spoke with Defendant Graham in
36. Plaintiff is not aware of any conversations that              person about them.
Defendant Gould had with Defendant Pflueger in which they
discussed that Defendant Gould should file an administrative
segregation recommendation based on false information.
                                                                             Exhaustion of Administrative Remedies

37. Plaintiff also alleged that after he was removed from his     48. Plaintiff was familiar with the grievance process at
cell in the Special Housing Unit on July 9, 2015, items went      Auburn Correctional Facility during the relevant time period.
missing after another inmate witnessed Defendant Pflueger
enter Plaintiff's cell.                                           49. Plaintiff was aware of how to properly file a grievance and
                                                                  where to appeal if he disagreed with the decision.
38. Defendant Pflueger did not pack Plaintiff's cell and he did
not remove any of Plaintiff's property.                           50. More specifically, Plaintiff was aware that a grievance
                                                                  must be submitted to the Inmate Grievance Review
39. The only basis for Plaintiff's contention that Defendant      Committee (“IGRC”) and a decision by the IGRC could be
Pflueger destroyed his property is that Michael Betters,          appealed to the Superintendent.
another inmate, reported seeing Defendant Pflueger enter
Plaintiff's cell.                                                 51. Further, Plaintiff was aware that a decision by the
                                                                  Superintendent could be appealed to the Central Office
40. According to Plaintiff, Michael Betters could not actually    Review Committee (“CORC”).
see Defendant Pflueger in Plaintiff's cell.




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52. Plaintiff testified that if an inmate does not receive a     appellate review of the prison superintendent by CORC.
response to his appeal to CORC, he must write to CORC and        (Id.) Defendants argue that Plaintiff failed to appeal the
inquire as to the status of his appeal.                          prison superintendent's decision with respect to grievances
                                                                 AUB-67199-15 and AUB-675667-15, to CORC and thus, the
 *5 53. Plaintiff filed Grievance AUB-67199-15, in which         claims contained in those grievances should be dismissed for
he complained that he was “labeled a gang member” by             Plaintiff's failure to exhaust his administrative remedies. (Id.)
Defendant Pflueger.
                                                                 3       Defendants acknowledge that there are “certain
54. After an investigation, the Superintendent denied
                                                                         caveats” to the PLRA's exhaustion requirement,
Plaintiff's grievance and Defendant Pflueger was never
                                                                         however Defendants argue that those caveats are
counseled or disciplined.
                                                                         inapplicable here.

55. Plaintiff also filed Grievance AUB-67567-15, in which        Second, Defendants argue that Plaintiff's first amendment
he complained that on July 8, 2015, he received a false          retaliation claims should be dismissed because (a) with
report authored by Defendant Gould in which Defendant            respect to Defendant Pflueger, (i) he lacks authority to “fire”
Gould recommended Plaintiff be placed in administrative          an inmate from his job, (ii) the record lacks any evidence
segregation.                                                     of a causal connection between Plaintiff's grievance of May
                                                                 10, 2015, and the misbehavior report of June 17, 2015,
56. Grievance AUB 67567-15 also alleged that after Plaintiff     except temporal proximity, which is insufficient to survive a
was removed from his cell in the Special Housing Unit on July    motion for summary judgment, (iii) the misbehavior report
9, 2015, items went missing after another inmate witnessed       of June 17, 2015, was truthful and Plaintiff admitted that
Defendant Pflueger packing Plaintiff's cell.                     he was appropriately charged with creating a disturbance
                                                                 and harassment, (iv) Defendants presented non-retaliatory
57. Defendant Graham         denied    Plaintiff's   Grievance   reasons for Defendant Pflueger “firing” Plaintiff from his
AUB-67567-15.                                                    porter duties and authoring the misbehavior report of June
                                                                 17, 2015, (v) the alleged verbal harassment and threats are
                                                                 not considered adverse actions for purposes of retaliation,
  D. Parties’ Briefing on Defendants’ Motion for                 (vi) even if the alleged verbal harassment and threats did
  Summary Judgment                                               constitute an adverse action, Plaintiff failed to demonstrate
                                                                 any evidence of a causal connection, (vii) there is no
                                                                 evidence of a causal connection between Defendant Gould's
          1. Defendants’ Memorandum of Law
                                                                 recommendation that Plaintiff be placed in administrative
Generally, in support of their motion for summary judgment,      segregation and Plaintiff's grievances filed against Defendant
Defendants assert three arguments. (See generally Dkt. No.       Pflueger, (viii) there is no evidence that Defendant Pflueger
28, Attach. 3 [Defs.’ Mem. of Law].)                             removed or destroyed Plaintiff's property, and (ix) there is no
                                                                 evidence of a causal nexus between the grievances he filed
First, Defendants argue that Plaintiff failed to exhaust         and Defendant Pflueger allegedly destroying his property; (b)
his administrative remedies with respect to grievances           with respect to Defendant Jones, (i) there is no evidence that
AUB-67199-15 and AUB-675667-15. (Id.) More specifically,         he had any knowledge that Plaintiff filed a grievance against
Defendants argue that the Prison Litigation Reform Act           Defendant Pflueger, and (ii) the record is devoid of any
requires prisoners who bring a lawsuit in federal court to       evidence establishing why he would file a false misbehavior
first exhaust their available administrative remedies; this      report against Plaintiff on behalf of Defendant Pflueger;
requirement is mandatory such that, failure to comply subjects   (c) with respect to Defendant Gould, (i) Plaintiff agreed
                                                                 with the recommendation that he remain in administrative
the complaint to dismissal. 3 (Id.) Further, Defendants argue
                                                                 segregation, (ii) there is no evidence in the record to support
that the New York State Department of Corrections and
                                                                 a causal connection between Plaintiff's grievance against
Community Services (“DOCCS”) has the following three-
                                                                 Defendant Pflueger on May 10, 2015, and Defendant Gould's
tiered administrative review and appeals process for prisoner
                                                                 administrative segregation recommendation on July 21, 2015,
grievances: (1) review by the IGRC, (2) appellate review
                                                                 and (iii) there is no evidence that Defendant Gould was aware
of the IGRC decision by the prison superintendent, and (3)
                                                                 of Plaintiff's grievance against Defendant Pflueger; and (d)


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with respect to Defendant Graham, (i) in the event that the          Generally, in opposition to Defendants’ motion for summary
claims against Defendants Pflueger, Jones, and Gould are             judgment, Plaintiff acknowledged his failure to meet
dismissed, the claims against Defendant Graham must also             deadlines and asked that the Court consider “many mitigating
be dismissed because there is no supervisor liability where          factors that have contributed to this short coming” including
there is no established underlying constitutional violation,         his release from prison, the requirements of his parole, and his
and (ii) even if the claims against Defendants Pflueger,             criminal history. (Dkt. No. 39.) In addition, Plaintiff asserts
Jones, and Gould are not dismissed, the claims against               that “all these Motions to Dismiss this complaint have been
Defendant Graham still should be dismissed because he                based on timeliness.” (Id.) Plaintiff did not file a response to
was not personally involved in the alleged constitutional            Defendants’ Statement of Material Facts, an affidavit setting
violations. (Id.)                                                    forth any factual assertions, an opposition memorandum of
                                                                     law, or any document that responded to Defendants’ legal
 *6 Third, Defendants argue that, in the alternative, they           arguments. (See generally Dkt. No. 39.) In addition, Plaintiff
are entitled to dismissal pursuant to the doctrine of qualified      did not request any additional time to provide a more thorough
immunity. (Id.)                                                      response to Defendants’ motion. (Id.)


                                                                     II. RELEVANT LEGAL STANDARDS
     2. Defendants’ First Supplemental Letter Brief
                                                                        A. Standard Governing a Motion for Summary
Generally in their first supplemental letter brief, Defendants          Judgment
re-assert the arguments set forth in their memorandum of law         Under Fed. R. Civ. P. 56, summary judgment is warranted if
and assert that (1) Plaintiff has repeatedly failed to oppose        “the movant shows that there is no genuine dispute as to any
Defendants’ motion despite being provided with notice of the         material fact and that the movant is entitled to a judgment as
consequences of failing to respond to the motion two times,          a matter of law.” Fed. R. Civ. P. 56(a). A dispute of fact is
and (2) as a result of Plaintiff's failure to respond, the Court     “genuine” if “the [record] evidence is such that a reasonable
should deem (a) Defendants’ factual assertions as true, and (b)      jury could return a verdict for the [non-movant].” Anderson
Plaintiff to have consented to the legal arguments contained
                                                                     v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). 4 As for
in Defendants’ memorandum of law. (Dkt. No. 36.)
                                                                     the materiality requirement, a dispute of fact is “material” if
                                                                     it “might affect the outcome of the suit under the governing
                                                                     law.... Factual disputes that are irrelevant or unnecessary will
    3. Defendants’ Second Supplemental Letter Brief                  not be counted.” Anderson, 477 U.S. at 248.

Generally in their second supplemental letter brief,                 4
Defendants re-assert the arguments set forth in their                       As a result, “[c]onclusory allegations, conjecture
memorandum of law and assert that (1) Plaintiff sent                        and speculation ... are insufficient to create a
Defendants a “Response to Dispositive Motions,” which                       genuine issue of fact.” Kerzer v. Kingly Mfg., 156
incorrectly indicated that Defendants’ motion is based solely               F.3d 396, 400 (2d Cir. 1998) (citation omitted).
on Plaintiff's timeliness and otherwise failed to address                   As the Supreme Court has explained, “[The non-
Defendants’ arguments as to the merits of his claims, (2)                   movant] must do more than simply show that there
Plaintiff has now failed to oppose Defendants’ motion three                 is some metaphysical doubt as to the material
times after receiving notice that his response was required,                facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith
and (3) despite Plaintiff's request in his response for additional          Radio Corp., 475 U.S. 574, 585-86 (1986).
time to respond, the Court should not grant this request              *7 In determining whether a genuine issue of material fact
because their motion has been pending for nearly one year            exists, the Court must resolve all ambiguities and draw all
and Plaintiff “has been given great latitude with respect to the     reasonable inferences against the movant. Anderson, 477
Court's deadlines in this matter.” (Dkt. No. 38.)                    U.S. at 255. In addition, “[the movant] bears the initial
                                                                     responsibility of informing the district court of the basis for
                                                                     its motion, and identifying those portions of the ... [record]
                                                                     which it believes demonstrate[s] the absence of any genuine
     4. Plaintiff's “Response to Dispositive Motions”
                                                                     issue of material fact.” Celotex v. Catrett, 477 U.S. 317,


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323-24 (1986). However, when the movant has met its initial       8      Among other things, Local Rule 7.1(a)(3) requires
burden, the non-movant must come forward with specific                   that the non-movant file a response to the movant's
facts showing a genuine issue of material fact for trial. Fed.           Statement of Material Facts, which admits or
R. Civ. P. 56(a), (c), (e).                                              denies each of the movant's factual assertions in
                                                                         matching numbered paragraphs, and supports any
Implied in the above-stated burden-shifting standard is the              denials with a specific citation to the record where
fact that, where a non-movant willfully fails to respond to a            the factual issue arises. N.D.N.Y. L. R. 7.1(a)(3).
motion for summary judgment, a district court has no duty
to perform an independent review of the record to find proof      9
                                                                         Cusamano, 604 F. Supp. 2d at 427 & n.6 (citing
of a factual dispute–even if that non-movant is proceeding               cases); see also Prestopnik v. Whelan, 253 F. Supp.
pro se. 5 (This is because the Court extends special solicitude          2d 369, 371 (N.D.N.Y. 2003) (Hurd, J.) (holding
to the pro se litigant largely by ensuring that he or she has            that the Court is not required to “perform an
received notice of the consequences of failing to properly               independent review of the record to find proof of a
                                                                         factual dispute.”).
respond to the motion for summary judgment.) 6 As has often
been recognized by both the Supreme Court and Second              Similarly, in this District, where a non-movant has willfully
Circuit, even pro se litigants must obey a district court's       failed to respond to a movant's properly filed and facially
procedural rules. 7                                               meritorious memorandum of law, the non-movant is deemed
                                                                  to have “consented” to the legal arguments contained in that
5                                                                 memorandum of law under Local Rule 7.1(b)(3). 10 Stated
       Cusamano v. Sobek, 604 F. Supp. 2d 416, 426 &
                                                                  another way, when a non-movant fails to oppose a legal
       n.2 (N.D.N.Y. 2009) (Suddaby, J.) (citing cases).
                                                                  argument asserted by a movant, the movant may succeed
6                                                                 on the argument by showing that the argument possesses
       Cusamano, 604 F. Supp. 2d at 426 & n.3 (citing
       cases).                                                    facial merit, which has appropriately been characterized as
                                                                  a “modest” burden. See N.D.N.Y. L.R. 7.1(b)(3) (“Where a
7
       Cusamano, 604 F. Supp. 2d at 426-27 & n.4 (citing          properly filed motion is unopposed and the Court determined
       cases).                                                    that the moving party has met its burden to demonstrate
Of course, when a non-movant willfully fails to respond to a      entitlement to the relief requested therein....”); Rusyniak
motion for summary judgment, “[t]he fact that there has been      v. Gensini, 07-CV-0279, 2009 WL 3672105, at *1, n.1
no [such] response ... does not ... [by itself] mean that the     (N.D.N.Y. Oct. 30, 2009) (Suddaby, J.) (collecting cases);
motion is to be granted automatically.” Champion v. Artuz,        Este-Green v. Astrue, 09-CV-0722, 2009 WL2473509, at *2
76 F.3d 483, 486 (2d Cir. 1996). Rather, as indicated above,      & n.3 (N.D.N.Y. Aug. 7, 2009) (Suddaby, J.) (collecting
the Court must assure itself that, based on the undisputed        cases).
material facts, the law indeed warrants judgment for the
movant. Champion, 76 F.3d at 486; Allen v. Comprehensive          10
                                                                         See, e.g., Beers v. GMC, 97-CV-0482, 1999
Analytical Group, Inc., 140 F. Supp. 2d 229, 232 (N.D.N.Y.               U.S. Dist. LEXIS 12285, at *27-31 (N.D.N.Y.
2001) (Scullin, C.J.); N.D.N.Y. L.R. 7.1(b)(3). What the non-            March 17, 1999) (McCurn, J.) (deeming plaintiff's
movant's failure to respond to the motion does is lighten the            failure, in his opposition papers, to oppose several
movant's burden.                                                         arguments by defendants in their motion for
                                                                         summary judgment as consent by plaintiff to the
For these reasons, this Court has often enforced Local Rule              granting of summary judgment for defendants with
7.1(a)(3) by deeming facts set forth in a movant's statement             regard to the claims that the arguments regarded,
of material facts to be admitted, where (1) those facts are              under Local Rule 7.1[b][3]); Devito v. Smithkline
supported by evidence in the record, and (2) the non-movant              Beecham Corp., 02-CV-0745, 2004 WL 3691343,
has willfully failed to properly respond to that statement 8 –           at *3 (N.D.N.Y. Nov. 29, 2004) (McCurn, J.)
even when the non-movant was proceeding pro se. 9                        (deeming plaintiff's failure to respond to “aspect”
                                                                         of defendant's motion to exclude expert testimony
                                                                         as “a concession by plaintiff that the court should
                                                                         exclude [the expert's] testimony” on that ground).



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                                                                   the facility's superintendent within a certain number of days of
   B. Standard Governing Exhaustion of Administrative              receipt of the IGRC's written decision. The superintendent is
   Remedies                                                        to issue a written decision within a certain number of days of
 *8 The Prison Litigation Reform Act of 1995 (“PLRA”)              receipt of the grievant's appeal. Third, a grievant may appeal
requires that prisoners who bring suit in federal court must       to CORC within a certain number of days of receipt of the
first exhaust their available administrative remedies: “No         superintendent's written decision. CORC is to render a written
action shall be brought with respect to prison conditions          decision within a certain number of days of receipt of the
under § 1983 ... by a prisoner confined in any jail, prison, or    appeal.
other correctional facility until such administrative remedies
as are available are exhausted.” 42 U.S.C. § 1997e. The            11
PLRA was enacted “to reduce the quantity and improve the                   See also Murray v. Palmer, 03-CV-1010, 2010 WL
quality of prisoner suits” by “afford[ing] corrections officials           1235591, at *1 & n.1 (N.D.N.Y. Mar. 31, 2010)
time and opportunity to address complaints internally before               (citation omitted) (Suddaby, J.).
allowing the initiation of a federal case.” Porter v. Nussle,      12      The Court uses the term “a certain number of
534 U.S. 516, 524-25 (2002). In this regard, exhaustion serves
                                                                           days” rather than a particular time period because
two major purposes. First, it protects “administrative agency
                                                                           (1) since the three-step process was instituted, the
authority” by giving the agency “an opportunity to correct
                                                                           time periods imposed by the process have changed,
its own mistakes with respect to the programs it administers
                                                                           and (2) the time periods governing any particular
before it is haled into federal court, and it discourages
                                                                           grievance depend on the regulations and directives
disregard of the agency's procedures.” Woodford v. Ngo, 548                pending during the time in question.
U.S. 81, 89 (2006). Second, exhaustion promotes efficiency
because (a) “[c]laims generally can be resolved much more          In addition, “[t]he regulations [ ] provide that if the plaintiff
quickly and economically in proceedings before an agency           does not get a ‘receipt’ from the CORC within 45 days of
than in litigation in federal court,” and (b) “even where a        the date he filed his appeal, he should contact the IGP to
controversy survives administrative review, exhaustion of          make sure that his appeal was ‘received.’ ” Bell v. Napoli, 17-
the administrative procedure may produce a useful record           CV-0850, 2018 WL 6506072, at *5 (N.D.N.Y. Dec. 11, 2018)
for subsequent judicial consideration.” Woodford, 548 U.S.         (Baxter, M.J.) (citing 7 N.Y.C.R.R. § 701.5(d)(3)(i)).
at 89. “[T]he PLRA's exhaustion requirement applies to all
inmate suits about prison life, whether they involve general       It is important to note that these procedural requirements
circumstances or particular episodes, and whether they allege      contain several safeguards. For example, if an inmate could
excessive force or some other wrong.” Porter, 534 U.S. at          not file such a complaint within the required time period after
532.                                                               the alleged occurrence, he or she could apply to the facility's
                                                                   IGP Supervisor for an exception to the time limit based on
In accordance with the PLRA, DOCCS has made available              mitigating circumstances. If that application was denied, the
a well-established inmate grievance program. 7 N.Y.C.R.R.          inmate could file a complaint complaining that the application
§ 701.7. Generally, the DOCCS Inmate Grievance Program             was wrongfully denied. 13 Moreover, any failure by the IGRC
(“IGP”) involves the following three-step procedure for            or the superintendent to timely respond to a grievance or
the filing of grievances. 7 N.Y.C.R.R. §§ 701.5, 701.6(g),         first-level appeal, respectively, can–and must–be appealed to
701.7. 11 First, an inmate must file a complaint with the          the next level, including CORC, to complete the grievance
facility's IGP clerk within a certain number of days of the        process. 14
alleged occurrence. 12 If a grievance complaint form is not
readily available, a complaint may be submitted on plain           13
                                                                           See Murray, 2010 WL 1235591, at *2 & n.3 (citing
paper. A representative of the facility's IGRC has a certain               Groves v. Knight, 05-CV-0183, Decision and Order
number of days from receipt of the grievance to informally                 at 3 (N.D.N.Y. filed Aug. 4, 2009), an appeal from
resolve the issue. If there is no such informal resolution, then           which was subsequently dismissed as frivolous, see
the full IGRC conducts a hearing within a certain number of                Groves v. Knight, No. 09-3641, Mandate (2d Cir.
days of receipt of the grievance, and issues a written decision            Filed Jan. 15, 2010)).
within a certain number of days of the conclusion of the
hearing. Second, a grievant may appeal the IGRC decision to



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14     7 N.Y.C.R.R. § 701.6(g) (“[M]atters not decided
                                                                   Pursuant to Local Rule 7.1(b)(3), by failing to oppose
       within the time limits may be appealed to the next
                                                                   Defendants’ motion, Plaintiff has effectively consented to the
       step.”); see also Murray, 2010 WL 1235591, at *2
                                                                   granting of the relief sought. That rule provides as follows:
       & n.4 (collecting cases).
 *9 Generally, if a prisoner has failed to properly follow
each of the required three steps of the above-described
                                                                               Where a properly filed motion is
grievance procedure prior to commencing litigation, he has
                                                                               unopposed and the Court determines
failed to exhaust his administrative remedies, and his claims
                                                                               that the moving party has met its
are subject to dismissal. Woodford, 548 U.S. at 93; Porter, 534
                                                                               burden to demonstrate entitlement to
U.S. at 524; Ruggiero v. Cnty. of Orange, 467 F.3d 170, 175
                                                                               the relief requested therein, the non-
(2d Cir. 2006). However, a plaintiff's failure to exhaust does
                                                                               moving party's failure to file or serve
not end the inquiry. The Second Circuit has held that a three-
                                                                               any papers as this Rule requires shall
part inquiry is appropriate where a defendant contends that
                                                                               be deemed as consent to the granting
a prisoner has failed to exhaust his available administrative
                                                                               or denial of the motion, as the case may
remedies, as required by the PLRA. Hemphill v. State of New
                                                                               be, unless good cause is shown.
York, 380 F.3d 680, 686, 691 (2d Cir. 2004), accord, Ruggiero,
467 F.3d at 175. First, “the court must ask whether [the]
administrative remedies [not pursued by the prisoner] were
                                                                   N.D.N.Y. L.R. 7.1(b)(3); see also Jackson v. Fed. Express,
in fact ‘available’ to the prisoner.” Hemphill, 380 F.3d at 686
                                                                   766 F.3d 189, 194 (2d Cir. 2014) (holding that the district
(citation omitted). Second, if those remedies were available,
                                                                   courts may enter summary judgment in favor of the
“the court should ... inquire as to whether [some or all of] the
                                                                   moving party where the non-moving party fails to respond
defendants may have forfeited the affirmative defense of non-
                                                                   in opposition, but not without first “ensur[ing] that each
exhaustion by failing to raise or preserve it ... or whether the
                                                                   statement of material fact is support by record evidence
defendants’ own actions inhibiting the [prisoner's] exhaustion
                                                                   sufficient to satisfy the movant's burden of production” and
of remedies may estop one or more of the defendants from
                                                                   “determin[ing] whether the legal theory of the motion is
raising the plaintiff's failure to exhaust as a defense.” Id.
                                                                   sound”).
[citations omitted]. Third, if the remedies were available and
some of the defendants did not forfeit, and were not estopped
                                                                   In this case, Plaintiff has not responded to the merits of
from raising, the non-exhaustion defense, “the Court should
                                                                   Defendants’ motion. The motion was properly filed by
consider whether ‘special circumstances’ have been plausibly
                                                                   Defendants, and Defendants through their motion have met
alleged that justify the prisoner's failure to comply with the
                                                                   their burden of demonstrating entitlement to some of the relief
administrative procedural requirements.” Id. [citations and
                                                                   requested. With respect to the question of whether Defendants
internal quotations omitted]. 15
                                                                   have met their burden, I note that the “burden of persuasion is
                                                                   lightened such that, in order to succeed, [their] motion need
15     The Court notes that the Supreme Court recently             only be ‘facially meritorious.’ ” See Rodriguez v. Goord, 04-
       eliminated this third inquiry, and courts are no            CV-0358, 2007 WL 4246443, at *1 (N.D.N.Y. Nov. 27, 2007)
       longer permitted to excuse a prisoner's failure to          (Scullin, J., adopting Report-Recommendation on clear error
       exhaust his administrative remedies because of              review) (finding that determination of whether a movant has
       “special circumstances.” Ross v. Blake, 136 S. Ct.          satisfied its burden to demonstrate entitlement to a dismissal
       1850, 1856-57 (2016).                                       under Local Rule 7.1(b)(3) “is a more limited endeavor than
                                                                   a review of a contested motion to dismiss” (citing cases)).
III. ANALYSIS
                                                                   Because Defendants have accurately cited both proper legal
   A. Plaintiff's Failure to Oppose the Merits of                  authority and evidence in the record supporting the grounds
   Defendants’ Summary Judgment Motion                             on which their motion is based with respect to Defendants
Before turning to the merits of Defendants’ motion, a              Jones and Gould as set forth below, and Plaintiff has
threshold issue to be addressed is the legal significance of       failed to respond in opposition to the merits of the motion
Plaintiff's failure to oppose the merits of Defendants’ motion.    for summary judgment, I find that Defendants’ motion is



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facially meritorious. Jackson, 766 F.3d at 194. Accordingly,       dated July 21, 2015, and that he appealed the denial of
I recommend that the Court grant Defendants’ motion with           these grievances to the facility superintendent. The parties
respect to Defendants Jones and Gould on this basis.               only dispute whether Plaintiff completed the third step in the
                                                                   grievance process by appealing to CORC.
 *10 It should also be noted that there are additional
consequences flowing from Plaintiff's failure to file an           Defendants submitted proof in admissible form by way of an
opposition to Defendants’ Local Rule 7.1(a)(3) Statement           affidavit from Rachael Seguin, the custodian of the records
of Material Facts. Local Rule 7.1 provides, in relevant part,      maintained by CORC. (Dkt. No. 28, Attach. 16.) In her
that “[t]he Court shall deem admitted any properly supported       affidavit, Ms. Seguin stated that she searched record appeals
facts set forth in the Statement of Material Facts that the        received by CORC filed by Plaintiff, and her search revealed
opposing party does not specifically controvert.” N.D.N.Y.         “no appeal for Grievance AUB-67199-15” and “no appeal for
L.R. 7.1(a)(3) (emphasis in original). Courts in this district     Grievance AUB-67567-15.” (Id. at ¶¶11-12.)
have routinely enforced this rule in cases where a non-
movant has failed to properly respond. See, e.g., Elgamil          However, with respect to grievance AUB-67199-15, Plaintiff
v. Syracuse Univ., 99-CV-0611, 2000 WL 1264122, at *1              alleged in his verified Complaint 16 that “[o]n [July 3,
(N.D.N.Y. Aug. 22, 2010) (McCurn, J.) (listing cases).             2015, he] received [the denial from the Superintendent]
Undeniably, pro se litigants are entitled to some measure          and requested that it be appealed to the Central Office
of forbearance when defending against summary judgment             Review Committee.” (Dkt. No. 1 at 5.) Similarly, Plaintiff
motions. Jemzura v. Public Serv. Comm'n, 961 F. Supp. 406,         testified that after receiving the denial of his grievance from
415 (N.D.N.Y. 1997) (McAvoy, J.). The deference owed to            the Superintendent, he appealed to CORC. (Dkt. No. 28,
pro se litigants, however, does not extend to relieving them of    Attach. 5 at 46.) Moreover, Plaintiff alleged in his verified
the ramifications associated with the failure to comply with       Complaint that on August 15, 2015, he “composed a letter
the court's local rules. Robinson v. Delgado, 96-CV-0169,          to the C.O.R.C. Inmate Grievance Program Supervisor Karen
1998 WL 278264, at *2 (N.D.N.Y. May 22, 1998) (Pooler,             Bellamy inquiring as to whether or not request for appeal
J., adopting Report-Recommendation on clear error review.).        was received.” (Dkt. No. 1 at 5.) Likewise, Plaintiff testified
Stated differently, “a pro se litigant is not relieved of his      that he wrote a letter to CORC asking about the status of his
duty to meet the requirements necessary to defeat a motion         appeal. (Dkt. No. 28, Attach. 5 a 46.) Furthermore, Plaintiff
for summary judgment.” Latouche v. Tompkins, 09-CV-0308,           alleged in his verified Complaint that on September 2, 2015,
2011 WL 1103045, at *1 (N.D.N.Y. Mar. 23, 2011) (Mordue,           he “composed a letter to Auburn C.F. I.G.P. Supervisor Cheryl
J.).                                                               Parmiter inquiring as to whether or not [his] appeal was
                                                                   submitted as requested.” (Dkt. No. 1 at 5.) Similarly, Plaintiff
Here, because Plaintiff was warned of the consequences of          testified that “I believe that one I never received a response
failing to properly respond to Defendants’ Local Rule 7.1          from Central Office. So I wrote Albany's – Auburn's I.G.R.C.
Statements (Dkt. No. 28 at 2; text notice dated July 3, 2019),     and asked them what happened and they said they never
and he has failed to do so, I recommend that the Court             received an appeal.” (Dkt. No. 28, Attach. 5 at 46.)
deem the facts contained in Defendants’ Local Rule 7.1(a)
(3) Statements as having been admitted to the extent they are      16     “Although ‘a plaintiff's pro se status does not
supported by accurate record citations. See, e.g., Latouche,
                                                                          allow him to rely on conclusory allegations or
2011 WL 1103045, at *1; see also Champion v. Artuz, 76
                                                                          unsubstantiated speculation to overcome a motion
F.3d 483, 486 (2d Cir. 1996). As to any facts not contained
                                                                          for summary judgment,’ Almonte v. Florio, 02-
in Defendants’ Local Rule 7.1(a)(3) Statements, in light of
                                                                          CV-6722, 2004 WL 60306, at *3 n.10 (S.D.N.Y.
the procedural posture of this case, the Court is “required
                                                                          Jan. 13, 2004) (citation and italics omitted), where
to resolve all ambiguities and draw all permissible factual
                                                                          a plaintiff ‘verifie[s] his complaint by attesting
inferences” in favor of Plaintiff. Terry, 336 F.3d at 137.
                                                                          under penalty of perjury that the statements in
                                                                          the complaint [are] true and to the best of his
  B. Exhaustion of Grievances AUB-67199-15 and                            knowledge,’ the ‘verified complaint is to be treated
  AUB-67567-15                                                            as an affidavit for summary judgment purposes,’
There is no dispute in this case that Plaintiff filed grievances          Colon v. Coughlin, 58 F.3d 865, 872 (2d Cir.
AUB-67199-15 dated May 10, 2015, and AUB-67567-15


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        1995).” King v. Puershner, 17-CV-1373, 2019 WL               create a factual dispute material to the issue of whether
        4519692, at *1 n.1 (S.D.N.Y. Sept. 19, 2019).                Plaintiff exhausted his administrative remedies.”); Smith v.
 *11 In addition, with respect to grievance AUB-67567-15,            Kelly, 985 F. Supp. 2d 275, 289 (N.D.N.Y. 2013) (Suddaby, J.)
Plaintiff alleged in his verified Complaint that “[o]n [August       (granting the defendants’ motion for summary judgment on
15, 2015, he] received [the denial from the superintendent]          the issue of exhaustion where the plaintiff failed to “identify
and requested that it be appealed to the C.O.R.C.” (Dkt.             the name of the ‘IGRC's supervisor’ who purportedly told
No. 1 at 6.) Moreover, Plaintiff's verified Complaint alleged        him that a new prisoner does not file a grievance at Auburn
that on September 29, 2015, he “composed another letter to           C.F. if it pertains to the prisoner's previous facility, nor does
C.O.R.C.’s I.G.P. Supervisor Karen Bellamy informing her of          he specify the date, means or location of this purported
all grievances he was awaiting decisions on ... as he hadn't         communication.”).
yet received receipt of appeal for this grievance.” (Dkt. No.
1 at 6.)                                                             Mindful that a court should not resolve credibility issues
                                                                     when deciding a motion for summary judgment, and
Generally, conclusory allegations that an inmate appealed the        that Defendants bear the ultimate burden of proving
superintendent's grievance denial to CORC are insufficient           that Plaintiff did not exhaust his administrative remedies,
                                                                     I conclude that there appears to be a material issue
to withstand a motion for summary judgment. See Gibbs v.
                                                                     of fact regarding whether Plaintiff appealed grievances
Gadway, 19-CV-0281, 2019 WL 5191506, at *3 (N.D.N.Y.
Oct. 15, 2019) (Stewart, M.J.) (recommending dismissal               AUB-67199-15 and AUB-67567-15. 17 As a result, I
based on the plaintiff's failure to exhaust his administrative       recommend that Defendants’ motion be denied on this basis.
remedies where the plaintiff made “a purely conclusory
allegation that he appealed the grievance denial to CORC.”).         17      The Court notes that this conclusion is based
                                                                             on the special solicitude afforded to Plaintiff
However, the case law implies that where a plaintiff sets forth              as a pro se litigant. Further, the Court notes
the date that he or she appealed the grievance to CORC, that                 that the evidence in the record to support the
may be enough to survive a motion for summary judgment.                      exhaustion of Plaintiff's administrative remedies
C.f. Gibbs v. Gadway, 19-CV-0281, 2019 WL 5191506, at                        is sparse. See c.f. Richardson v. Eberth, 14-
*3 (N.D.N.Y. Oct. 15, 2019) (Stewart, M.J.) (recommending                    CV-6138, 2016 WL 1271078, at *2-3 (W.D.N.Y.
dismissal of the plaintiff's claims for failure to exhaust his               Mar. 29, 2016) (dismissing based on failure to
administrative remedies where the plaintiff “has not provided                exhaust administrative remedies where the plaintiff
a copy of the grievance appeal or even asserted what date                    attached a copy of his original grievance which
he filed the appeal.”); Gough v. Morris, 16-CV-1107, 2018                    did not “bear any indicia that it was received
WL 7199494, at *3 (N.D.N.Y. Dec. 14, 2018) (Stewart,                         or provided to any individual at the jail for
M.J.) (recommending dismissal based on the plaintiff's failure               transmission to the CORC” and his affidavit
to exhaust his administrative remedies where he testified                    submitted in opposition failed to provide any
that he appealed the superintendent's response to CORC but                   specific details to support his allegation that he
there was no evidence in the record that (a) the grievance                   appealed his grievance to CORC (e.g. it did not
or the superintendent's response were appealed to CORC                       state what specific person he gave it to in the
and, (b) despite not receiving a response from CORC, the                     prison, on what date he gave the appeal to anyone
plaintiff testified that he did not write to CORC to follow-                 at the prison, or any other pertinent or specific
up); Campbell v. Prue, 16-CV-0004, 2018 WL 4635708, at                       information to support his allegations)); Toliver v.
*5 (N.D.N.Y. July 3, 2018) (Hummel, M.J.) (“Although [the                    Stefinik, 12-CV-0077, 2016 WL 3349316, at *6
plaintiff] alleges that he filed [a] grievance ..., plaintiff does           (June 15, 2016) (D'Agostino, J.) (dismissing for
not state when he filed such grievance.... Further, plaintiff                failure to exhaust administrative remedies where
has not provided a copy of the alleged grievance or the                      the plaintiff submitted a copy of a formal grievance
Marcy IGRC's denial of that grievance.”); Toliver v. Stefinik,               dated March 9, 2011, that was not reflected in the
12-CV-0077, 2016 WL 3349316, at *6 (N.D.N.Y. June 15,                        defendants’ records but where the plaintiff alleged
2016) (D'Agostino, J.) (“vague and conclusory allegations ...                that he “circulated” the grievance to the defendants
[regarding] grievances ... do not, in light of the documentation
Defendants have provided about Plaintiff's grievance history,


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        and it was unclear whether the grievance was ever           him or her, and the evidence tending to link the two.
        submitted to IGRC).                                         When such claims, which are exceedingly case specific, are
                                                                    alleged in only conclusory fashion, and are not supported
   C. Whether Plaintiff's First Amendment Retaliation               by evidence establishing the requisite nexus between any
   Claims Should Nevertheless be Dismissed                          protected activity and the adverse action complained of,
 *12 A cognizable claim of retaliation pursuant to 42 U.S.C.        a defendant is entitled to the entry of summary judgment
§ 1983 lies when prison officials take an adverse action            dismissing plaintiff's retaliation claims. Flaherty v. Coughlin,
against an inmate that is motivated by the inmate's exercise        713 F.2d 10, 13 (2d Cir. 1983), overruled on other grounds,
of a constitutional right, including the free speech provisions     Swierkiewicz v. Sorema N.A., 534 U.S. 506 (2002).
of the First Amendment. See Friedl v. City of N.Y., 210 F.3d
79, 85 (2d Cir. 2000) (“In general, a section 1983 claim will
lie where the government takes negative action against an
                                                                                       1. Defendant Pflueger
individual because of his exercise of rights guaranteed by
the Constitution or federal laws.”). As the Second Circuit          Plaintiff alleges that Defendant Pflueger retaliated against
has repeatedly cautioned, however, because such claims are          him during four separate incidents: (1) firing Plaintiff as
easily incanted and inmates often attribute adverse action,         a feed up porter and filing a false misbehavior report on
including the issuance of misbehavior reports, to retaliatory       June 17, 2015, (2) verbal harassment on (a) an unspecified
animus, courts must approach such claims “with skepticism           dated in June or July 2015, (b) August 4, 2015, and (c)
and particular care.” Dawes v. Walker, 239 F.3d 489, 491 (2d        August 6, 2015, (3) causing Defendant Gould to file a
Cir. 2001), overruled on other grounds by Swierkiewicz v.           false administrative segregation recommendation, and (4) the
Sorema N.A., 534 U.S. 506 (2002); accord, Davis v. Goord,           destruction of Plaintiff's personal property.
320 F.3d 346, 352 (2d Cir. 2003).

To state a prima facie claim pursuant to 42 U.S.C. § 1983 for
retaliatory conduct, a plaintiff must advance non-conclusory                      a. Incident on June 17, 2015 18
allegations establishing that (1) the conduct at issue was
                                                                    18
protected, (2) the defendants took adverse action against the              Defendants argue that Defendant Pflueger, as a
plaintiff, and (3) there was a causal connection between the               correction officer, would not have had authority
protected activity and the adverse action–in other words, that             to fire Plaintiff as a feed up porter. (Dkt. No. 28,
the protected conduct was a “substantial or motivating factor”             Attach. 3 at 17-18; Dkt. No. 28, Attach. 10 at
in the prison officials’ decision to take action against the               ¶11.) However, there is evidence in the record that
plaintiff. Mount Healthy City Sch. Dist. Bd. of Educ. v. Doyle,            disputes this assertion and creates an issue of fact
429 U.S. 274, 287 (1977); Dillon v. Morano, 497 F.3d 247,                  for trial. (Dkt. No. 28, Attach. 5 at 49.)
251 (2d Cir. 2007); Garrett v. Reynolds, No. 99-CV-2065,             *13 Defendants argue that Plaintiff's retaliation claim with
2003 WL 22299359, at *4 (N.D.N.Y. Oct. 3, 2003) (Sharpe,            respect to the incidents on June 17, 2015, fails based on
M.J.).                                                              the third element, that there is no evidence in the record to
                                                                    support the contention that Plaintiff was retaliated against for
If the plaintiff carries this burden, then to avoid liability the
                                                                    his protected speech. 19
defendants must show by a preponderance of the evidence
that they would have taken action against the plaintiff even
                                                                    19
in the absence of the protected conduct. Mount Healthy, 429                It is undisputed that Plaintiff engaged in
U.S. at 287. If taken for both proper and improper reasons,                constitutionally protected speech by the filing of
state action may be upheld if the action would have been taken             grievances. (Dkt. No. 1 at 5-7; Dkt. No. 28,
based on the proper reasons alone. Graham v. Henderson, 89                 Attach. 11; Dkt. No. 28, Attach. 12; Dkt. No.
F.3d 75, 79 (2d Cir. 1996) (citations omitted).                            28, Attach. 14; Dkt. No. 28, Attach. 15; Dkt.
                                                                           No. 28, Attach. 18; Dkt. No. 28, Attach. 19.) See
Analysis of retaliation claims thus requires careful                       also Flood v. Cappelli, 18-CV-3897, 2019 WL
consideration of the protected activity in which the inmate                3778736, at *7 (S.D.N.Y. Aug. 2, 2019) (collecting
plaintiff has engaged, the adverse action taken against                    cases) (holding that the filing of a grievance is



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       protected speech). In addition, the alleged actions        *14 Here, in addition to temporal proximity connecting
       taken by Defendants constitute adverse actions            Plaintiff's grievance of May 10, 2015, to the incident on
       because they would deter a prisoner of “ordinary          June 17, 2015, 20 Defendant Pflueger's alleged statements
       firmness” from exercising his rights. See Johnson         provide circumstantial evidence of causation. Plaintiff's
       v. Schiff, 17-CV-8000, 2019 WL 4688542, at                verified Complaint alleged that on August 4, 2015, Defendant
       *24 (S.D.N.Y. Sept. 26, 2019) (collecting cases)          Pflueger said to another correction officer, “[t]his is also
       (holding that the filing of a false misbehavior report    where we keep idiots like this guy who think they can snitch
       against a prisoner is an adverse action); Hayes v.        on officers and nothing's going to happen to them,” and
       Dahkle, 16-CV-1368, 2017 WL 9511178, at *11               “[h]ow'd that work out for you stupid? You want to help me
       (N.D.N.Y. Oct. 30, 2017) (Hummel, M.J.) (holding          explain to him how our grievance procedure works?” (Dkt.
       that the “filing of a falsified misbehavior report        No. 1 at 24-25.) Moreover, the verified Complaint alleged
       that results in disciplinary segregated confinement       that on August 6, 2015, Defendant Pflueger said, “[o]h, and
       constitutes adverse action.”); Casey v. Pallito, 12-      just so you know, I didn't forget about your latest grievance
       CV-0284, 2016 WL 96157, at *7 (D. Vt. Jan.                either. You better say a prayer to your White Supremacist
       7, 2016) (holding that terminating a prisoner's           God that I'm not here on the day they bring you down to
       employment is an “adverse action.”); Chavis v.            the draft room, because I'll be watching the change sheet.
       Struebel, 317 F. Supp. 2d 232, 238 (W.D.N.Y.              You're not gonna make it outta here in 1 piece.” (Dkt. No. 1
       2004) (noting that “assigning the inmate [to] less        at 25.) These statements provide circumstantial evidence that
       desirable work assignments satisfies the adverse          Defendant Pflueger's actions on June 17, 2015, firing Plaintiff
       action requirement” for purposes of a prisoner's          from his job as a feed up porter and filing a misbehavior
       First Amendment retaliation claim).                       report against him that ultimately resulted in his placement
In considering whether there is a “causal connection between     in keep-lock confinement for thirty days, were in retaliation
the protected speech and the adverse action, a court may         for Plaintiff's grievance of May 10, 2015. See Cole v. N.Y.S.
consider a number of factors, including any statements made      Dep't of Corr. and Cmty. Supervision, 14-CV-0539, 2016 WL
by the defendant concerning his motivation and the temporal      5394752, at *26 (N.D.N.Y. Aug. 25, 2016) (Peebles, M.J.)
proximity between the protected activity and the defendant's     (finding an issue of fact as to retaliation where the defendant
adverse action.” Roseboro v. Gillespie, 719 F. Supp. 2d 353,     allegedly said (a) “Happy Anniversary” in reference to prior
366 (S.D.N.Y. 2011); see also Tuitt v. Chase, 11-CV-0776,        assaults and a lawsuit that resulted from those assaults, and (b)
2013 WL 877439, at *7 (N.D.N.Y. Jan. 30, 2013) (Dancks,          that the assault was “payback” for the plaintiff's grievances);
M.J.), report and recommendation adopted, 2013 WL 877617         Roland v. McMonagle, 12-CV-6331, 2015 WL 5918179, at
(N.D.N.Y. Mar. 8, 2013) (factors relevant to a consideration     *6 (S.D.N.Y. Oct. 9, 2015) (finding an issue of fact as to
of causal connection “include: (i) the temporal proximity        retaliation where there was evidence that the defendants were
between the protected activity and the alleged retaliatory       aware of the plaintiff's complaints and mocked him for filing
act; (ii) the inmate's prior good disciplinary record; (iii)     grievances). 21
vindication at a hearing on the matter; and (iv) statements by
the defendant concerning his or her motivation”). The Second     20      “In assessing temporal proximity, the Second
Circuit has “held that temporal proximity between protected
                                                                         Circuit has established that no more than six
conduct and an adverse action constitutes circumstantial
                                                                         months between the protected activity and the
evidence of retaliation,” but has also “consistently required
                                                                         adverse action establishes the temporal proximity
some further evidence of retaliatory animus before permitting
                                                                         sufficient to support an inference of causal
a prisoner to proceed to trial on a retaliation claim.”
                                                                         connection.” Hayes v. Dahkle, 16-CV-1368, 2017
Washington v. Afify, 681 F. App'x 43, 46 (2d Cir. 2017);
                                                                         WL 9511178, at *9 (N.D.N.Y. Oct. 30, 2017)
see also Thomas v. Waugh, 13-CV-0321, 2015 WL 5750945,
                                                                         (Hummel, M.J.) (citing King v. McIntyre, 11-
at *4 (N.D.N.Y. Sept. 30, 2015) (D'Agostino, J. adopting
                                                                         CV-1457, 2015 WL 1781256, at *5 (N.D.N.Y. Apr.
Report-Recommendation on de novo review) (citing Slattery
                                                                         8, 2016)). Here Plaintiff was fired as a feed up
v. Swiss Reinsurance Am. Corp., 248 F.3d 87, 95 (2d Cir.
                                                                         porter and Defendant Pflueger filed an allegedly
2001)) (“temporal proximity alone is insufficient to establish
                                                                         false misbehavior report on June 17, 2015, which
an inference of retaliation.”).
                                                                         is “well within the Second Circuit's six-month time



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        frame for establishing a causal connection between           demonstrating proper, non-retaliatory reasons for filing the
        [P]laintiff's filing of a grievance” on May 10, 2015.        misbehavior report.”).
        Hayes, 2017 WL 9511178, at *10.
                                                                      *15 As a result, I recommend that Defendants’ motion for
21      While Defendant Pflueger denies making the                   summary judgment be granted with respect to the allegedly
        statements on August 4, 2015, and August 6, 2015,            false misbehavior report of June 17, 2015, and be denied with
        (Dkt. No. 28, Attach. 10 at ¶¶ 25-25), “[t]he court,         respect to the “firing” of Plaintiff as a feed up porter.
        when faced with conflicting sworn statements,
        must leave such credibility determinations to a
        reasonable fact finder to determine.” Mack v. Wood,
        17-CV-1146, 2019 WL 5197230, at *7 (N.D.N.Y.                                    b. Verbal Harassment
        July 26, 2019) (Baxter, M.J.).
                                                                     Plaintiff alleges that sometime in June or July 2015, he
As a result, the burden shifts to Defendants to show by a            was verbally harassed when Defendant Pflueger told another
preponderance of the evidence that they would have taken             officer that he was going to “kick [P]laintiff's f******
action against the plaintiff even in the absence of the protected    a**.” (Dkt. No. 1 at 19.) In addition, Plaintiff alleges that on
conduct. Mount Healthy, 429 U.S. at 287.                             August 4, 2015, Defendant Pflueger said to another correction
                                                                     officer, “[t]his is also where we keep idiots like this guy who
With respect to the “firing” of Plaintiff as a feed up               think they can snitch on officers and nothing's going to happen
porter, Defendants submitted a non-retaliatory reason—that           to them,” and “[h]ow'd that work out for you stupid? You
Defendant Pflueger observed Plaintiff pass an unidentified           want to help me explain to him how our grievance procedure
object into the cell of another inmate. (Dkt. No. 28, Attach.        works?” (Dkt. No. 1 at 24-25.) 22 Moreover, Plaintiff alleges
10 at ¶13.) However, Plaintiff testified that he did not pass        that on August 6, 2015, Defendant Pflueger said, “[o]h, and
any unidentified items into another inmate's cell. (Dkt. No.         just so you know, I didn't forget about your latest grievance
28, Attach. 5 at 51-52.) As a result, I find that a material issue   either. You better say a prayer to your White Supremacist God
of fact remains for trial.                                           that I'm not here on the day they bring you down to the draft
                                                                     room, because I'll be watching the change sheet. You're not
However, with respect to the allegedly false misbehavior             gonna make it outta here in 1 piece.” (Dkt. No. 1 at 25.)
report, Plaintiff admitted some of the allegations contained in
the misbehavior report. More specifically, Plaintiff admitted        22
that he yelled profanities as he walked back to his cell                    While this statement suggests retaliatory animus
and that while in his cell, he made derogatory statements                   about Plaintiff's placement in administrative
about Defendant Pflueger loud enough to be heard by an                      segregation, for the reasons set forth in Part
inmate on a different floor. (Dkt. No. 28, Attach. 5 at 54-55.)             III.C.1.c. infra, there is no evidence before the
This admission “suggests that ‘plaintiff committed the most                 Court that Defendant Pflueger had any role in
serious, if not all, of the prohibited conduct charged in the               Plaintiff's administrative segregation placement
misbehavior report.’ ” Flynn v. Ward, 15-CV-1028, 2018 WL                   (other than being the alleged target of Plaintiff's
3195095, at *12 (N.D.N.Y. June 7, 2018) (Hummel, M.J.)                      planned of attack). In addition, Plaintiff accepted
(quoting Gayle v. Gonyea, 313 F.3d 677, 682 (2d Cir. 2002)).                the recommendation that he be placed in
As a result, Defendants have established a non-retaliatory                  administrative segregation. (Dkt. No. 1 at 21-22.)
reason for the filing of the misbehavior report of June 17,          In this Circuit, allegations of verbal harassment or threats
2015. Flynn, 2018 WL 3195095, at *12 (citing Hynes v.                are generally an insufficient basis for an inmate's § 1983
Squillace, 143 F.3d 653, 657 (2d Cir. 1998) (concluding that         claim. See Purcell v. Coughlin, 790 F.2d 263, 265 (2d
plaintiff's admission of the underlying conduct established a        Cir. 1986) (“The claim that a prison guard called Purcell
“proper, non-retaliatory reason[ ] for filing the misbehavior        names also did not allege any appreciable injury and was
report.”)); see also Hynes v. Squillace, 143 F.3d 653, 657           properly dismissed”); Hayes v. Dahkle, 16-CV-1368, 2017
(2d Cir. 1998) (where plaintiff admitted to committing the           WL 9511178, at *7 (N.D.N.Y. Oct. 30, 2017) (Hummel, M.J.)
most serious, if not all, of the prohibited conduct charged          (“[v]erbal harassment absent injury, is generally insufficient
in the misbehavior report, “defendants met their burden of           to rise to the level of a constitutional violation”); Tafari
                                                                     v. Paul, 06-CV-0603, 2009 WL 3260075, at *1 (W.D.N.Y.



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Oct. 8, 2009) (allegations of verbal harassment or abuse,           and seriousness ‘to deter an inmate from exercising his
“without a showing of an actual injury, are insufficient to         First Amendment rights.’ ” Hayes, 2017 WL 9511178, at *8
support a § 1983 claim”) (citing Lewis v. Casey, 518 U.S. 343,      (quoting Quezada v. Roy, 14-CV-4056, 2015 WL 5970355, at
349-50 (1996)); Alexander v. Deming, 03-CV-0147, 2009 WL            *21 (S.D.N.Y. Oct. 13, 2015)).
1044561, at *5 (W.D.N.Y. Apr. 16, 2009) (“Courts within the
Second Circuit have held that threats of disciplinary action        As a result, to the extent the Complaint is construed
and verbal harassment without injury are insufficient to state      as alleging that these incidents of verbal harassment
a constitutional violation”) (citing cases); Ramirez v. Holmes,     were adverse actions—as opposed to evidence of a
921 F. Supp. 204, 210 (S.D.N.Y. 1996) (“Allegations of              causal connection with respect to other adverse actions—I
threats or verbal harassment, without any injury or damage,         recommend dismissal of these claims.
do not state a claim under 42 U.S.C. § 1983.”). “Such
statements are only sufficiently adverse for the purpose
of a First Amendment retaliation claim if they ‘would
                                                                           c. Causing Defendant Gould to File a False
deter a similarly situated individual of ordinary firmness of
                                                                          Administrative Segregation Recommendation
exercising constitutional rights.’ Verbal threats may constitute
[an] adverse action if the threat is sufficiently specific. ‘The    Plaintiff has failed to adduce evidence in the record that
less direct and specific a threat, the less likely it will deter    Defendant Pflueger directed or caused Defendant Gould to
an inmate from exercising his First Amendment rights.’ ”            file a false misbehavior report against Plaintiff. In fact,
Hayes, 2017 WL 9511178, at *7 (citations omitted). “The             Defendant Gould affirmed that he “had no knowledge at
line between de minimis verbal harassment and retaliatory           the time [his] recommendation was made that Plaintiff had
adverse action ... [hinges] on the specificity and seriousness      filed any grievances against Defendant [Pflueger].” (Dkt.
of the words used.” Quezada v. Roy, 14-CV-4056, 2015 WL             No. 28, Attach. 6 at ¶ 11.) In addition, Plaintiff testified
5970355, at *21 (S.D.N.Y. Oct. 13, 2015).                           that (1) he did not know Defendant Gould before Defendant
                                                                    Gould made the recommendation that Plaintiff be placed in
 *16 “Mindful that inmates ‘may be required to tolerate             administrative segregation (Dkt. No. 28, Attach. 5 at 63),
more than average citizens[ ] before a retaliatory action           (2) he has no recollection of ever seeing Defendant Gould
taken against them is considered adverse’ ” Davis, 320              before the recommendation (id.), and (3) he is not aware of
F.3d at 353, I conclude that Defendant Pflueger's alleged           any conversations that Defendant Gould had with Defendant
statements constitute vague threats that lack the specificity       Pflueger, in which, they discussed that Defendant Gould
and seriousness “to deter an inmate from exercising his             should file an administrative segregation recommendation
First Amendment rights” as no real threat exists. Id.; see          based on false information (id. at 65).
Hayes, 2017 WL 9511178, at *8 (holding that where a
correction officer allegedly verbally harassed the plaintiff        The contention that Defendant Pflueger retaliated against
on two occasions “warning him to not get comfortable in             Plaintiff by causing Defendant Gould to file a false
his housing unit because ‘you mess with one of us (C.O.’s)          administrative segregation recommendation is merely a
you got to deal with all of us’ and informing plaintiff that        conclusory allegation, which is insufficient to establish
‘[another correction officer] said hi!’ .... constitute vague       genuine issue of material fact for trial. In addition, this
threats that lack the specificity and seriousness ‘to deter an      contention is sheer surmise on Plaintiff's part and unsupported
inmate from exercising his First Amendment rights’ as no real       by the record. (Dkt. No. 28, Attach. 5 at 64 (Plaintiff testified
threat exists.”).                                                   that the basis for his belief that Defendant Gould filed the
                                                                    recommendation on Defendant Pflueger's behalf is “[b]ecause
Furthermore, with respect to Defendant Pflueger's alleged           there is no other reason to do it.”)); Cole, 2016 WL 5394752,
threats of physical injury, Plaintiff “does not ... allege that     at *27.
these threats were followed by any physical injury[,] and as
a result, they are not actionable.” LaRocco v. N.Y.C. Dep't         As a result, I recommend dismissal of Plaintiff's retaliation
of Corr., 99-CV-9759, 2001 WL 1029044, at *5 (S.D.N.Y.              claim against Defendant Pflueger with respect to this
Aug. 31, 2001). “Absent an appreciable injury following             allegation.
in close time to the threat of force [Defendant Pflueger's
alleged] statement[ ], albeit inappropriate, lack the specificity



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                                                                       wholly unsupported.”) Flynn v. Ward, 15-CV-1028, 2018 WL
                                                                       3195095, at *12 (N.D.N.Y. June 7, 2018) (Hummel, M.J.)
      d. Destruction of Plaintiff's Personal Property
                                                                       (recommending dismissal of retaliation claims where “[t]he
Plaintiff failed to adduce any evidence that Defendant                 record lacks any evidence establishing why Alsante would
Pflueger destroyed (or confiscated or threw away) Plaintiff's          file a false misbehavior report against Flynn, on Wellenstein's
personal property. The only evidence that Plaintiff presents in        behalf, beyond Flynn's conclusory allegations.”). Without
support of his contention, is that another inmate (housed three        more, the evidence does not present a genuine issue of
cells away) witnessed Defendant Pflueger in Plaintiff's cell.          material fact for a jury to resolve. Flynn, 2018 WL 3195095;
(Dkt. No. 1 at 23.) However, Plaintiff admitted that the other         see Wright, 554 F.3d at 274 (dismissing retaliation claim
inmate “was inside his cell, so he couldn't see [Defendant             against a correction officer when the only alleged basis
Pflueger] inside [Plaintiff's] cell.” (Dkt. No. 28, Attach. 5 at       for retaliation was a complaint about an incident involving
71.) Moreover, it is undisputed that other individuals were            another correction officer); Alicea v. Maly, 12-CV-0203,
involved in the removal of Plaintiff's property from his cell          2015 WL 4326114, at *14-15 (N.D.N.Y. July 14, 2015)
and the transportation of that property to the special housing         (D'Agostino, J.) (dismissing retaliation claim which alleged
unit. (Id.; Dkt. No. 1 at 23.) Plaintiff is speculating that           that Correction Officer Trinidad retaliated against the plaintiff
because the other inmate saw Defendant Pflueger in Plaintiff's         for protected actions he took with respect to Correction
cell, that Defendant Pflueger is responsible for Plaintiff's           Officer Freeman, where the plaintiff alleged a close personal
alleged missing personal property. However, this speculation           friendship between Trinidad and Freeman and the record
is insufficient to create a material issue of fact for trial because   was “devoid of any specifics, but replete with conclusions”);
no reasonable juror could conclude that Defendant Pflueger             Guillory v. Ellis, 11-CV-0600, 2014 WL 4365274, at *18
took an adverse action against Plaintiff by destroying his             (N.D.N.Y. Aug. 28, 2014) (D'Agostino, J.) (“[I]t is difficult
property.                                                              to establish one defendant's retaliation for complaints against
                                                                       another defendant.”); Roseboro v. Gillespie, 791 F. Supp. 2d
 *17 As a result, I recommend dismissal of Plaintiff's                 353, 369 (S.D.N.Y. 2011) (plaintiff failed to provide any basis
retaliation claim against Defendant Pflueger with respect to           to believe that a correction counselor would retaliate for a
this allegation.                                                       grievance that she was not personally named in); Ciaprai
                                                                       v. Goord, 02-CV-0915, 2005 WL 3531464, at *9 (N.D.N.Y.
                                                                       Dec. 22, 2005) (Sharpe, J.) (entering summary judgment on
                                                                       retaliation claim where the plaintiff cited only past grievances
                      2. Defendant Jones
                                                                       filed against correction officers other than the officer who
Plaintiff failed to show a genuine issue of material fact              disciplined the plaintiff).
that his protected conduct was a substantial or motivating
factor in Defendant Jones's endorsement of Defendant                   As a result, I recommend that Plaintiff's retaliation claim
Pflueger's misbehavior report dated June 17, 2015. Graham              against Defendant Jones be dismissed.
v. Henderson, 89 F.3d 75, 81 (2d Cir. 1996). “[I]t is difficult
to establish one defendant's retaliation for complaints against
another defendant.” Hare v. Hayden, 09-CV-3135, 2011 WL                                     3. Defendant Gould
1453789, at *4 (S.D.N.Y. Apr. 14, 2011) (citing Wright v.
Goord, 554 F.3d 255, 274 (2d Cir. 2009)).                              For the reasons set forth above in Parts III.C.1.c. and
                                                                       III.C.2. of this Report-Recommendation, I find that the
Here, Plaintiff did not file any grievances or complaints              record lacks evidence establishing a causal connection
against Defendant Jones. The record lacks any evidence                 between Defendant Gould's recommendation that Plaintiff be
establishing why Defendant Jones would endorse a false                 placed in administrative segregation and Plaintiff's grievances
misbehavior report against Plaintiff, on Defendant Pflueger's          against Defendant Pflueger, beyond Plaintiff's conclusory
behalf, beyond Plaintiff's conclusory allegations. See Hill v.         allegations. As a result, I recommend that Plaintiff's
Chalanor, 128 F. App'x 187, 189 (2d Cir. 2005) (holding                retaliation claim against Defendant Gould be dismissed.
that the plaintiff's claim of a causal connection between
defendant “Oliver's threats and the alleged actions of the
other defendants in connection with Hill's medical care is


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                                                                    and adopting that majority approach); Marom v. City of New
                                                                    York, 15-CV-2017, 2016 WL 916424, at *15 (S.D.N.Y. 2016)
                    4. Defendant Graham
                                                                    (reasoning that Iqbal supported the specific constitutional
 *18 The Second Circuit has previously indicated that               provision approach, and finding that all the Colon factors
supervisory defendants may be considered personally                 might be viable for false arrest and excessive force claims
involved only if they “(1) directly participated in the alleged     that were based on a reasonableness standard, but that the
constitutional violation, (2) failed to remedy that violation       second, fourth, and fifth factors would not apply to a First
after learning of it through a report or appeal, (3) created,       Amendment retaliation claim because such claim contains an
or allowed to continue, a policy or custom under which              intent requirement)).
the violation occurred, (4) had been grossly negligent in
managing subordinates who caused the violation, or (5)              The Court agrees with the specific constitutional provision
exhibited deliberate indifference to the rights of inmates by       approach discussed above because it is the most consistent
failing to act on information indicating that the violation         with the guidance provided in Iqbal. See Iqbal, 556 U.S.
was occurring.” Rasheen v. Adner, 356 F. Supp. 3d 222,              at 676 (noting that, “[t]he factors [related to whether
233 (N.D.N.Y. Jan. 28, 2019) (Hurd, D.J.) (citing Colon v.          a government official's individual actions violated the
                                                                    Constitution] necessary to establish a Bivens violation will
Coughlin, 58 F.3d 865, 873 (2d Cir. 1995)). 23
                                                                    vary with the constitutional provision at issue,” discussing
                                                                    that the First and Fifth Amendments require that the official
23      “In addition to satisfying one of these requirements,       acted with a discriminatory purpose, and rejecting the
        a plaintiff must also establish that the supervisor's       argument that supervisors should be held liable on such claims
        actions were the proximate cause of the plaintiff's         merely because they knew of a subordinate's discriminatory
        constitutional deprivation.” Raspardo v. Carlone,           purpose). The Court will therefore consider only the first and
        770 F.3d 97, 116 (2d Cir. 2014).                            third Colon factors because Plaintiff's claims are pursuant to
The Supreme Court's decision in Iqbal has raised the question       the First Amendment.
of whether all of the Colon factors continue to be viable.
Keyes v. Annucci, 19-CV-0372, 2019 WL 4602240, at *17                *19 “[A] retaliation claim under the First amendment
(N.D.N.Y. Sept. 23, 2019) (Suddaby, C.J.) (citing Montanez          requires a showing of discriminatory intent, [and as a result,]
v. City of Syracuse, 16-CV-0550, 2019 WL 315058, at *17             supervisory liability will be imposed only if Plaintiff[ ]”
(N.D.N.Y. Jan. 23, 2019) (Sannes, J.)). Neither the Second          establishes “that the officials either (a) directly participated in
Circuit nor the Supreme Court have made any findings on             the alleged constitutional violation, or (b) created, or allowed
this issue. Keyes, 2019 WL 4602240, at *17. “Courts within          to continue, a policy or custom under which the violation
the Second Circuit have taken various approaches post-Iqbal,        occurred.” Keyes, 2019 WL 4602240, at *19.
from finding that only the first and third factors remain viable,
to continuing to apply all factors in the absence of Second         “[W]hile personal involvement cannot be founded solely on
Circuit guidance, to considering the specific constitutional        supervision, liability can be found if the official proactively
provision underlying the claim and applying all the Colon           participated in reviewing the administrative appeals as
factors to claims that rely on a standard of unreasonable           opposed merely to rubber-stamping the results.” Molano v.
conduct or deliberate indifference but declining to apply           Bezio, 10-CV-6481, 2012 WL 1252630, at *5 (W.D.N.Y. Apr.
all of them where the claim requires instead a showing              13, 2012) (citing Collins v. Ferguson, 804 F. Supp. 2d 134,
of discriminatory intent.” Id. (see Montanez, 2019 WL               140 (W.D.N.Y. 2011); Black v. Coughlin, 76 F.3d 72, 74-75
315058, at *17-18 (collecting cases) (adopting the specific         (2d Cir. 1996)).
constitutional provision approach and applying all the Colon
factors to the plaintiff's Fourteenth Amendment claims              The record before the Court contains superintendent
because they did not require a showing of discriminatory            responses related to four grievances. (Dkt. No. 28, Attach.
intent); Carpenter v. Apple, 15-CV-1269, 2017 WL 3887908,           11 at 1; Dkt. No. 28, Attach. 12 at 2; Dkt. No. 28, Attach.
at *9-10 (N.D.N.Y. Sept. 5, 2017) (Suddaby, C.J.) (noting           14 at 1; Dkt. No. 28, Attach. 15 at 6; Dkt. No. 28, Attach.
that the majority of district courts have continued to apply        18 at 1; Dkt. No. 28, Attach. 19 at 1.) However, the
all of the Colon factors “where the constitutional violation        signature of the superintendent who executed the response,
at issue does not require a showing of discriminatory intent”       in each instance, is illegible. While Defendants argue that



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                                                                         conclusory qualified immunity arguments that fail to address
Defendant Graham merely rubber stamped the results of the
                                                                         the particular facts or cite any relevant cases)).
investigation, “notably absent from the record is any affidavit
or declaration from [Defendant Graham]” and absent “such
                                                                         ACCORDINGLY, it is
evidence, a factual dispute exists as to whether [Defendant
Graham] proactively participated in the decision-making
                                                                         RECOMMENDED that Defendants’ motion for summary
process related to [Plaintiff's] grievances.” Flynn, 2018 WL
                                                                         judgment (Dkt. No. 28) be DENIED with respect to Plaintiff's
3195095, at *13.
                                                                         retaliation claims against (1) Defendant Pflueger for firing
                                                                         Plaintiff as a feed up porter, and (2) Defendant Graham as
As such, I find that there is a triable issue of material fact for
                                                                         superintendent and GRANTED with respect to Plaintiff's
a jury to resolve with respect to Defendant Graham's personal
                                                                         retaliation claims against (1) Defendants Jones, (2) Defendant
involvement in Defendant Pflueger's alleged retaliatory
                                                                         Gould, and (3) Defendant Pflueger for allegedly (a) filing
conduct. Flynn, 2018 WL 3195095, at *13 (citing Celotex v.
                                                                         a false misbehavior report against Plaintiff on June 17,
Catrett, 477 U.S. 317, 323 (1986)). Therefore, I recommend
                                                                         2015, (b) verbally harassing Plaintiff, (c) causing Defendant
that Defendants’ motion with respect to Defendant Graham
                                                                         Gould to file an improper recommendation of administrative
be denied.
                                                                         segregation, and (d) destroying Plaintiff's property.

   D. Doctrine of Qualified Immunity                                      *20 Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule
Finally, Defendants argue that, in any event, they are shielded          72.1(c), the parties have fourteen (14) days within which
from liability based on the doctrine of qualified immunity.              to file written objections to the foregoing report. Such
                                                                         objections shall be filed with the Clerk of the Court.
Qualified immunity shields federal and state officials from              FAILURE TO OBJECT TO THIS REPORT WITHIN
suit “ ‘unless [1] the official violated a statutory or                  FOURTEEN DAYS WILL PRECLUDE APPELLATE
constitutional right that [2] was clearly established at the time        REVIEW. Roldan v. Racette, 984 F.2d 85, 89 (2d Cir. 1993)
of the challenged conduct.’ ” Terebesi v. Torreso, 764 F.3d              (citing Small v. Sec. of Health & Human Servs., 892 F.2d 15
217, 230 (2d Cir. 2014) (quoting Reichle v. Howards, 566 U.S.            (2d Cir. 1989)); 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a),
658, 664 (2012)). “A right is ‘clearly established’ if ‘it would         6(e), 72.
be clear to a reasonable officer that his conduct was unlawful
in the situation he confronted.’ ” Beckles v. City of New York,          It is hereby respectfully ORDERED that the Clerk of the
492 F. App'x 181, 182 (2d Cir. 2012) (quoting Saucier v. Katz,           Court shall file a copy of this Report-Recommendation on
533 U.S. 194, 202 (2001)).                                               the docket of this case and serve a copy upon the parties in
                                                                         accordance with the local rules. 24
Here, while Defendants summarize general caselaw, their
argument in support of the qualified immunity defense is                 24
                                                                                 The Clerk shall also provide Plaintiff with copies of
one paragraph long, entirely conclusory, and unsupported by
                                                                                 all unreported decisions cited herein in accordance
any facts. Accordingly, it is recommended that Defendants’
                                                                                 with Lebron v. Sanders, 557 F.3d 76 (2d Cir. 2009)
motion on this ground, be denied. Thomas v. Delany, 17-
                                                                                 (per curiam).
CV-1023, 2019 WL 4247807, at *19 (N.D.N.Y. Aug. 13,
2019) (Hummel, M.J.) (citing Roberts v. Hobbs, 10-CV-0174,
                                                                         All Citations
2010 WL 5888777, at *6 (E.D. Ark. Nov. 8, 2010) (summarily
denying dispositive motion containing unsupported and                    Not Reported in Fed. Supp., 2019 WL 8015209

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                                                                    defendant Pflueger and the supervisory claims against
                     2020 WL 871197                                 defendant Graham.
      Only the Westlaw citation is currently available.
       United States District Court, N.D. New York.                 Based upon a de novo review of the portions of the Report-
                                                                    Recommendation to which defendants objected, the Report-
                   Seth LOGAN, Plaintiff,                           Recommendation is accepted and adopted in all respects. See
                              v.                                    28 U.S.C. § 636(b)(1).
      Superintendent GRAHAM, Auburn Correctional
                                                                    Therefore, it is
        Facility; C.O. Pflueger, Auburn Correctional
     Facility; Officer Scott Jones, Auburn Correctional
                                                                    ORDERED that
     Facility, formerly known as C.O. Smith; and C.O.
    M. Gould, Auburn Correctional Facility, Defendants.             1. Defendants’ motion for summary judgment is GRANTED
                                                                    in part and DENIED in part;
                    9:18-CV-291 (DNH/ML)
                               |
                                                                    2. The motion is GRANTED with respect to plaintiff's
                       Signed 02/21/2020
                                                                    retaliation claims against (1) defendant Jones, (2) defendant
Attorneys and Law Firms                                             Gould, and (3) defendant Pflueger for allegedly (a) filing
                                                                    a false misbehavior report against plaintiff on June 17,
SETH LOGAN, Plaintiff pro se, 177 Avery Avenue, Buffalo,            2015, (b) verbally harassing plaintiff, (c) causing defendant
NY 14216.                                                           Gould to file an improper recommendation of administrative
                                                                    segregation, and (d) destroying plaintiff's property and those
HON. LETITIA JAMES, Attorney General for the State of               claims are DISMISSED;
New York, OF COUNSEL: AIMEE COWAN, ESQ., Ass't
Attorney General, Attorney for Defendants, 300 South State          3. Defendants Jones and Gould are DISMISSED from this
Street, Suite 300, Syracuse, NY 13202.                              action;

                                                                    4. The motion is DENIED with respect to plaintiff's retaliation
                  DECISION and ORDER                                claims against (1) defendant Pflueger for firing plaintiff as a
                                                                    feed up porter, and (2) defendant Graham as Superintendent
DAVID N. HURD, United States District Judge
                                                                    (relative to defendant Pflueger's alleged retaliatory conduct
 *1 Pro se plaintiff Seth Logan brought this civil rights action    of firing plaintiff as a feed up porter) and those claims shall
pursuant to 42 U.S.C. § 1983. On November 26, 2019, the             proceed to trial;
Honorable Miroslav Lovric, United States Magistrate Judge,
advised by Report-Recommendation that defendants’ motion            5. Trial is tentatively scheduled for September 14, 2020 at
for summary judgment be granted in part and denied in               9:30 a.m. in Utica, New York. Pre-trial submissions are due
part. Specifically, Magistrate Judge Lovric recommended that        on or before August 31, 2020;
defendants’ motion for summary judgment be denied with
respect to plaintiff's retaliation claims against (1) defendant     6. The parties are reminded that they have the option of
Pflueger for firing plaintiff as a feed up porter, and (2)          referring this case to Magistrate Judge Lovric pursuant to 28
defendant Graham as Superintendent, and granted with                U.S.C. § 636(c) and based on his familiarity with the case,
respect to plaintiff's retaliation claims against (1) defendant     but are free to withhold consent without adverse substantive
Jones, (2) defendant Gould, and (3) defendant Pflueger              consequences. The parties are directed to advise the Court on
for allegedly (a) filing a false misbehavior report against         or before April 8, 2020 whether or not a consent to a jury trial
plaintiff on June 17, 2015, (b) verbally harassing plaintiff, (c)   before him will be executed; and
causing defendant Gould to file an improper recommendation
of administrative segregation, and (d) destroying plaintiff's       7. If plaintiff wishes to renew his motion for the appointment
property. Defendants timely filed objections to the Report-         of pro bono trial counsel, he must do so within thirty (30) days
Recommendation with respect to the retaliation claim against        of the date of this Decision and Order. If plaintiff makes such



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a motion, the Clerk is directed to mail him a long form IFP
application.                                                      All Citations

*2 IT IS SO ORDERED.                                              Not Reported in Fed. Supp., 2020 WL 871197

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                                                                 (“DOCCS”) directive. One of the corrections officers who
                    2022 WL 17097590                             searched the cell stated that he found a weapon under
      Only the Westlaw citation is currently available.          Morrow's bed—a nine-inch piece of flat metal that had been
      United States Court of Appeals, Second Circuit.            sharpened to a point. Morrow was administratively charged
                                                                 with possession of a weapon but claimed the weapon was
       Neb MORROW, III, Plaintiff-Appellant,                     planted. Morrow further asserted that Bauersfeld, an attorney
                          v.                                     acting as the Commissioner's Hearing Officer, wrongfully
 BAUERSFELD, Commissioner's Hearing Officer (CHO),               found Morrow guilty of the weapon possession charge
                                                                 after conducting a disciplinary hearing notwithstanding the
   Auburn Correctional Facility, Defendant-Appellee,
                                                                 officers’ alleged violation of the DOCCS's directive. That
         Harold Graham, Superintendent, Sergeant
                                                                 decision was later overturned on administrative appeal and
         Van Fleet, Superintendent of D-Block, J.
                                                                 the charge expunged because of the officers’ violation of the
         Perkins, Corrections Officer in D-Block,                DOCCS search procedure directive, but only after Morrow
         Auburn Correctional Facility, Defendants.               had spent a significant period of time in restricted custody
                                                                 due to the disciplinary sanction. Morrow brought this First
                         21-2928-cv
                                                                 Amendment retaliation claim against Bauersfeld, alleging
                              |
                                                                 that Bauersfeld's decision to sustain the charge against him
                      November 22, 2022
                                                                 was part of an ongoing pattern of retaliation arising out
Appeal from a judgment of the United States District Court       of his filing of constitutionally-protected grievances. 1 We
for the Northern District of New York (Hurd, J.).                assume the parties’ familiarity with the underlying facts, the
                                                                 procedural history, and the issues on appeal, to which we refer
UPON DUE CONSIDERATION, IT IS HEREBY                             only as necessary to explain our decision to affirm.
ORDERED, ADJUDGED, AND DECREED that the
judgment of the district court is AFFIRMED.                      1      Morrow also named the corrections officers as
Attorneys and Law Firms                                                 defendants, but his claims against those defendants
                                                                        were dismissed by the district court as time-barred.
FOR PLAINTIFF-APPELLANT: Neb Morrow, III, pro se,                       He does not challenge that decision on appeal.
Ossining, NY.
                                                                 We review a district court's grant of summary judgment de
FOR DEFENDANT-APPELLEE: Kate H. Nepveu, Assistant                novo, construing facts in the light most favorable to the non-
Solicitor General of Counsel, Victor Paladino, Senior            moving party and resolving all ambiguities and drawing all
Assistant Solicitor General, Barbara D. Underwood, Solicitor     reasonable inferences against the moving party. Kee v. City
General, for Letitia James, Attorney General State of New        of New York, 12 F.4th 150, 157–58 (2d Cir. 2021). Summary
York, Albany, NY.                                                judgment should only be granted if “the movant shows that
                                                                 there is no genuine dispute as to any material fact and the
PRESENT: DENNIS JACOBS, RICHARD C. WESLEY,                       movant is entitled to judgment as a matter of law.” Fed. R.
JOSEPH F. BIANCO, Circuit Judges.                                Civ. P. 56(a).

                                                                 To establish a First Amendment retaliation claim under
                   SUMMARY ORDER                                 Section 1983, “a prisoner must show (1) that the speech or
                                                                 conduct at issue was protected, (2) that the defendant took
 *1 Plaintiff-appellant Neb Morrow, III, proceeding pro se,      adverse action against the plaintiff, and (3) that there was
appeals the district court's grant of summary judgment in        a causal connection between the protected speech and the
favor of defendant-appellee Brian Bauersfeld with respect        adverse action.” Burns v. Martuscello, 890 F.3d 77, 84 (2d
to Morrow's retaliation claim under 42 U.S.C. § 1983.            Cir. 2018) (internal quotation marks and citation omitted). If
Morrow alleged that, after he filed several grievances while     a plaintiff establishes these elements, a defendant may still
incarcerated at Sing Sing Correctional Facility, the defendant   avoid liability by establishing that he “would have taken the
officers searched his cell without him present, in violation     adverse action even in the absence of the protected conduct.”
of a Department of Corrections and Community Supervision



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Brandon v. Kinter, 938 F.3d 21, 40 (2d Cir. 2019) (internal         the protected conduct and the alleged retaliation); cf. Espinal
quotation marks and citation omitted).                              v. Goord, 558 F.3d 119, 129 (2d Cir. 2009) (holding that
                                                                    temporal proximity was established where six months had
 *2 Here, it is undisputed that Morrow's filing of grievances       elapsed and it was “plausible that the officers waited to exact
is protected activity and the disciplinary sanction constitutes     their retaliation at an opportune time”).
an adverse action. See, e.g., Gill v. Pidlypchak, 389
F.3d 379, 384 (2d Cir. 2004) (“[Plaintiff] has sufficiently         In any event, we have repeatedly held that temporal proximity
alleged ... participation in protected activity: the use of the     alone is insufficient for a prisoner's retaliation claim to survive
prison grievance system.”); see also id. (holding that the          summary judgment. See, e.g., Blue v. Koren, 72 F.3d 1075,
filing of false misbehavior reports resulting in disciplinary       1085 (2d Cir. 1995) (“[A] temporal sequence may fuel ...
sanctions satisfied the “adverse action” element). Therefore,       suspicions [of retaliatory motive]” but was insufficient to
as Bauersfeld concedes, the sole element at issue is causation.     allow retaliation claim to survive summary judgment); see
To satisfy the causal element of a retaliation claim, a plaintiff   also Washington v. Afify, 681 F. App'x 43, 46 (2d Cir. 2017)
must “introduce evidence sufficient to support the inference        (summary order) (“Although we have held that temporal
that the speech played a substantial part in the adverse action.”   proximity between protected conduct and an adverse action
Brandon, 938 F.3d at 40 (internal quotation marks and citation      constitutes circumstantial evidence of retaliation, we have
omitted). In the absence of direct evidence, circumstantial         consistently required some further evidence of retaliatory
evidence may satisfy a plaintiff's burden if it is “sufficiently    animus before permitting a prisoner to proceed to trial on a
compelling.” Bennett v. Goord, 343 F.3d 133, 139 (2d Cir.           retaliation claim.”); accord Faulk v. Fisher, 545 F. App'x 56,
2003). We have considered as circumstantial evidence, among         58 (2d Cir. 2013) (summary order) (collecting cases).
other things, the temporal proximity between speech and an
adverse action and subsequent findings that the adverse action      The only other evidence upon which Morrow relies to
was unjustified. See, e.g., id. at 138.                             support an inference of retaliatory intent is the reversal of
                                                                    Bauersfeld's decision on administrative appeal. However, as
In response to Bauersfeld's summary judgment motion,                with the temporal proximity evidence, any inference from
Morrow provided no direct evidence that Bauersfeld was              this reversal is substantially undermined by the surrounding
motivated by retaliatory animus. Instead, Morrow contended          circumstances. It is undisputed that Bauersfeld is not an
that the timing of Bauersfeld's decision, as well as the fact       official against whom Morrow previously filed grievances,
that it was later overturned, supplied sufficient circumstantial    but instead a civilian employee who had “little to no
evidence to preclude summary judgment on the causation              contact” with the corrections officers allegedly involved in
issue. The district court, however, concluded “[a]fter careful      the misconduct in his cell. Supp. App'x at 162; see Wright
review of the underlying record, there is insufficient evidence     v. Goord, 554 F.3d 255, 274 (2d Cir. 2009) (holding no
from which a jury could find the causation requirement              rational juror could find retaliatory motive by a corrections
satisfied on these facts.” Supp. App'x at 245. We agree.            officer where, inter alia, inmate's grievance letter did not
                                                                    name that officer and that officer was not a participant in
As an initial matter, the strength of any inference drawn           the alleged misconduct). Additionally, the record reveals no
from the temporal proximity between the grievances and              evidence about how the hearing took place, Bauersfeld's
the disciplinary action must be examined in light of the            conduct at the hearing, or any prior interactions between
circumstances. Here, it is uncontroverted that Bauersfeld did       Bauersfeld and Morrow that could support retaliatory intent.
not play any role in the search that prompted the grievances,       Moreover, Bauersfeld's determination was not reversed for
and the occurrence and timing of Morrow's hearing were set          lack of substantial evidence, but rather because, under the
by regulation, not Bauersfeld. Therefore, because Bauersfeld        DOCCS directive, Morrow “should have [had] the ability to
had no control over the timing of the hearing, any inference        view [the] cell search in its entirety upon being removed.”
from the temporal proximity between the protected activity          Supp. App'x at 196. In other words, that reversal on appeal
and the adverse action following the hearing is substantially       did not call into question Bauersfeld's credibility assessments
weakened. See McCullough v. Wyandanch Union Free                    or his finding that Morrow possessed a weapon in his cell, but
Sch. Dist., 187 F.3d 272, 280 (2d Cir. 1999) (concluding            rather reversed the sanction on procedural grounds.
that “when scrutinized” the surrounding factual context
“render[s] unremarkable any temporal connection” between



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                                                                       Cir. 2001) (“Although all inferences must be drawn in favor
 *3 Therefore, this record is distinguishable from cases
                                                                       of the nonmoving party, mere speculation and conjecture is
in which the circumstantial evidence (including temporal
                                                                       insufficient to preclude the granting of [a summary judgment]
proximity and the circumstances surrounding the inmate's
                                                                       motion.”).
vindication on the charges) was sufficient to preclude
summary judgment on the issue of retaliatory animus. See,
                                                                       In sum, we agree with the district court that the circumstantial
e.g., Bennett, 343 F.3d at 138 (holding evidence precluded
                                                                       evidence proffered by Morrow is an insufficient basis from
summary judgment where, in addition to the temporal
                                                                       which a rational jury could find that Bauersfeld's decision in
proximity of the adverse actions to the protected activity,
                                                                       the disciplinary proceeding against Morrow was motivated, in
such actions were not overturned on “procedural or technical
                                                                       substantial part, by retaliatory animus. Therefore, the district
grounds” but rather were all “found to have been devoid
                                                                       court properly granted summary judgment in Bauersfeld's
of factual support,” including one instance where “the
                                                                       favor on the retaliation claim.
hearing officer [was] reprimanded for failing to develop a
record supporting the conclusion he had reached”); Jones
                                                                                                    ***
v. Coughlin, 45 F.3d 677, 679–80 (2d Cir. 1995) (holding
that plaintiff's testimony about retaliatory threats, along with
                                                                       We have considered all of Morrow's remaining arguments and
the sequence of events and expungement of disciplinary
                                                                       find in them no basis for reversal. Accordingly, we AFFIRM
charge, was sufficient to preclude summary judgment). In
                                                                       the judgment of the district court.
contrast to those cases, given the paucity of circumstantial
evidence in this record, any inference of retaliatory animus
from Bauersfeld's failure to recognize the procedural defect in        All Citations
the search would be based on sheer speculation. See generally
Harlen Assocs. v. Inc. Vill. of Mineola, 273 F.3d 494, 499 (2d         Not Reported in Fed. Rptr., 2022 WL 17097590

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                                                                  (Dkt. No. 44). Magistrate Judge Lovric advised the parties
                    2020 WL 1329159                               that under 28 U.S.C. § 636(b)(1), they had fourteen days
      Only the Westlaw citation is currently available.           to file written objections to the report and that the failure
       United States District Court, N.D. New York.               to object to the report within fourteen days would preclude
                                                                  appellate review. (Dkt. No. 44, at 36). No objections to the
                Jeffrey YOUNG, Plaintiff,                         Report-Recommendation were filed.
                           v.
         S. SHIPMAN and R. Sawyer, Defendants.
                                                                  II. STANDARD OF REVIEW
                   9:18-cv-00782 (BKS/ML)                         As no objections to the Report-Recommendation were filed
                               |                                  and the time for filing objections has expired, the Court
                      Signed 03/23/2020                           reviews the Report-Recommendation for clear error. See
                                                                  Petersen v. Astrue, 2 F. Supp. 3d 223, 228–29 (N.D.N.Y.
Attorneys and Law Firms                                           2012); Fed. R. Civ. P. 72(b) advisory committee's note to 1983
                                                                  amendment.
Plaintiff, pro se: Jeffrey Young, 89-A-4618, Sing Sing
Correctional Facility, 354 Hunter Street, Ossining, NY 10562.
                                                                  III. DISCUSSION
For Defendants: Letitia James, Attorney General of the
State of New York, David A. Rosenberg, Assistant Attorney            A. Exhaustion of Mandatory Administrative Remedies
General, of Counsel, The Capitol, Albany, NY 12224.               Magistrate Judge Lovric recommended granting Defendants’
                                                                  motion for summary judgment and dismissing the Amended
                                                                  Complaint without prejudice because Plaintiff commenced
      MEMORANDUM-DECISION AND ORDER                               this action before receiving a decision on his appeal from the
                                                                  Central Office Review Committee (“CORC”). (Dkt. No. 44,
Hon. Brenda K. Sannes, United States District Judge:              at 21–27). Plaintiff submitted his appeal to the CORC on April
                                                                  27, 2018, (Dkt. No. 39-11, ¶ 12), which the CORC received on
I. INTRODUCTION
                                                                  May 10, 2018. 1 (Id. ¶ 13). Thus, the CORC was required to
 *1 Plaintiff Jeffrey Young, a New York State inmate
                                                                  respond by June 9, 2018. See 7 N.Y.C.R.R. § 701.5(d)(2)(ii).
proceeding pro se, commenced this civil rights action
                                                                  Plaintiff signed the Complaint that commenced this action on
under 42 U.S.C. § 1983, raising claims arising out of
                                                                  June 22, 2018; the mailing envelope is postmarked June 26,
his incarceration at the Clinton Correctional Facility. (Dkt.
                                                                  2018. (Dkt. No. 1, at 5; Dkt. No. 1-3). The Complaint was
Nos. 1, 10). Following review under 28 U.S.C. § 1915,
                                                                  docketed with this Court on July 2, 2018. (Dkt. No. 1). Under
the following claims survived: First Amendment retaliation
                                                                  the prison mailbox rule, Plaintiff's Complaint is deemed
claims against Defendants Stephen Shipman and Roxanne
                                                                  filed upon its delivery to prison authorities for mailing. See
Sawyer and a First Amendment free exercise claim against
                                                                  Arzuaga v. Quiros, 781 F.3d 29, 33 (2d Cir. 2015). The
Defendant Shipman. (Dkt. No 15). Defendants moved for
                                                                  record does not reflect what date he delivered the Complaint
summary judgment under Rule 56 of the Federal Rules of
                                                                  to prison officials. Construing the record in the light most
Civil Procedure arguing, inter alia, that Plaintiff failed to
                                                                  favorable to Plaintiff to reflect the longest period of time
exhaust his administrative remedies and that his retaliation
                                                                  before he commenced suit, Plaintiff commenced this action
claims failed as a matter of law. (Dkt. No. 39). The parties
                                                                  on June 26, 2018, seventeen days after the thirty-day time
filed responsive papers. (Dkt. Nos. 41, 42).
                                                                  period to respond had expired. 2 A declaration submitted with
This matter was referred to United States Magistrate Judge        Defendants’ summary judgment motion stated that as of July
Miroslav Lovric who, on February 12, 2020, issued a Report-       5, 2019, over one year after the CORC's deadline had passed,
Recommendation recommending that Defendants’ motion for           Plaintiff's appeal was still pending, (Dkt. No. 39-11, ¶ 15),
summary judgment be granted and the Amended Complaint             and Plaintiff's summary judgment filing states that, as of July
be dismissed without prejudice with respect to Plaintiff's free   30, 2019, he still had not received a response from the CORC,
exercise claim against Defendant Shipman and with prejudice       (Dkt. No. 41, at 35 n.1). The record does not reflect the current
with respect to the retaliation claims against both Defendants.   status of Plaintiff's appeal.



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1                                                              recommendation adopted, 2018 WL 3727357, 2018 U.S.
       Courts, including Magistrate Judge Lovric in this
       case, have sometimes calculated the thirty days         Dist. LEXIS 131450 (N.D.N.Y. Aug. 6, 2018); High v. Switz,
       within which the CORC must respond to prisoner          No. 17-cv-1067, 2018 WL 3736794, 2018 U.S. Dist. LEXIS
       appeals from the date the appeal was sent to the        114403 (N.D.N.Y. July 9, 2018), report and recommendation
       CORC. (See Dkt. No. 44, at 24 (explaining that          adopted sub nom. High v. PA Switz, 2018 WL 3730175,
       the “decision by CORC was due” “30 days after           2018 U.S. Dist. LEXIS 131446 (N.D.N.Y. Aug. 6, 2018) with
       the prisoner's filing of his appeal to CORC”)). The     Dublino v. Schenk, No. 19-cv-381, 2020 WL 263664, 2020
       applicable regulation, however, states that “[t]he      U.S. Dist. LEXIS 8214 (N.D.N.Y. Jan. 17, 2020); Staples
       CORC shall review each appeal, render a decision        v. Patane, No. 17-cv-0703, 2018 WL 7361009, 2018 U.S.
       on the grievance, and transmit its decision to the      Dist. LEXIS 207971 (N.D.N.Y. Dec. 7, 2018), report and
       facility, with reasons stated, for the grievant, the    recommendation adopted, 2019 WL 757937, 2019 U.S. Dist.
       grievance clerk, the superintendent, and any direct     LEXIS 26563 (N.D.N.Y. Feb. 20, 2019); Berkley v. Ware,
       parties within thirty (30) calendar days from the       No. 16-cv-1326, 2018 WL 3736791, 2018 U.S. Dist. LEXIS
       time the appeal was received.” 7 N.Y.C.R.R. §           113521 (N.D.N.Y. July 6, 2018), report and recommendation
       701.5(d)(2)(ii) (emphasis added).                       adopted, 2018 WL 3730173, 2018 U.S. Dist. LEXIS 131445
                                                               (N.D.N.Y. Aug. 6, 2018).
2      Because Magistrate Judge Lovric calculated from
       the date Plaintiff sent his appeal to the CORC,         This Court has previously concluded that administrative
       rather than the date the CORC received the              remedies were unavailable under Ross in a case where the
       appeal, and used the date Plaintiff signed the          Plaintiff waited sixty-nine days past the CORC's 30-day
       Complaint rather than the date of postmark,             deadline to commence an action. See Sherwood, 2019 WL
       Magistrate Judge Lovric calculated that Plaintiff       4564881, 2019 U.S. Dist. LEXIS 160295. Here, considering
       waited “approximately twenty-six days” beyond           the short time period within which Plaintiff filed his
       the CORC's thirty-day deadline before initiating        complaint and the intra-Circuit split on this issue, the
       this action. (Dkt. No. 44, at 23).                      Court does not find clear error in Magistrate Judge Lovric's
                                                               determination. See Warr v. Liberatore, No. 13-cv-6508, 2018
 *2 Magistrate Judge Lovric determined that the CORC's
                                                               WL 3237733, at *5, 2018 U.S. Dist. LEXIS 111126, at *13–
delay during the short time Plaintiff waited before
                                                               14 (W.D.N.Y. July 3, 2018) (explaining, in the context of
commencing this action is not a delay “that could render
                                                               a motion for reconsideration, that “considering the split in
the grievance process unavailable.” (Dkt. No. 44, at 25). As
                                                               authority ... defendants have not demonstrated that [district
Magistrate Judge Lovric noted, there is a split of authority
                                                               court's decision was] clearly erroneous”). Accordingly, the
in this Circuit, under the Supreme Court's decision in Ross
                                                               Court adopts Magistrate Judge Lovric's recommendation that
v. Blake, ––– U.S. ––––, 136 S. Ct. 1850, 195 L.Ed.2d
                                                               Plaintiff failed to exhaust his administrative remedies.
117 (2016) and the Second Circuit's decision in Williams v.
Priatno, 829 F.3d 118 (2d Cir. 2016), regarding what kind
                                                               Over one year and two months passed between the CORC's
of delay by the CORC in deciding a prisoner's grievance
                                                               deadline to respond to Plaintiff's appeal and Plaintiff filing his
renders exhaustion unavailable. Compare, e.g., Sherwood
                                                               summary judgment opposition. At that point, the CORC had
v. Senecal, No. 17-cv-00899, 2019 WL 4564881, at *2–4,
                                                               still not responded. In deference to Plaintiff's pro se status, and
2019 U.S. Dist. LEXIS 160295, at *4–8 (N.D.N.Y. Sept.
                                                               absent any briefing regarding why dismissal with prejudice
20, 2019); Mayandeunas v. Bigelow, No. 18-cv-1161, 2019
                                                               would be warranted here, the Court will dismiss this action
WL 3955484, at *4, 2019 U.S. Dist. LEXIS 142452, at
                                                               without prejudice. See Salim v. Patnode, No. 18-cv-57, 2018
*10–11 (N.D.N.Y. Aug. 22, 2019) (Suddaby, C.J.); Lovell
                                                               WL 6381059, at *3, 2018 U.S. Dist. LEXIS 205998, at *6
v. McAuliffe, No. 18-cv-0685, 2019 WL 4143361, 2019
                                                               (N.D.N.Y. Dec. 6, 2018). This decision does not, therefore,
U.S. Dist. LEXIS 74402 (N.D.N.Y. May 1, 2019), report
                                                               preclude Plaintiff from refiling his lawsuit.
and recommendation adopted, 2019 WL 4142593, 2019
U.S. Dist. LEXIS 147890 (N.D.N.Y. Aug. 30, 2019); Bell
v. Napoli, No. 17-cv-850, 2018 WL 6506072, 2018 U.S.             B. Retaliation Claims
Dist. LEXIS 208503 (N.D.N.Y. Dec. 11, 2018); Yates v.           *3 Magistrate Judge Lovric recommended dismissing
Smith, No. 17-cv-1227, 2018 WL 4635715, 2018 U.S.              Plaintiff's retaliation claims against Defendants with
Dist. LEXIS 116276 (N.D.N.Y. July 11, 2018), report and        prejudice for the reasons set forth in Defendants’


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memorandum of law, as supplemented in the Report-                   Dkt. No. 44, at 35). At issue here is Magistrate Judge Lovric's
Recommendation. (Dkt. No. 44, at 32–37). Magistrate Judge           determination that Plaintiff failed to raise a triable issue of
Lovric concluded that Plaintiff failed to establish a causal        fact as to whether there was a causal connection between
connection between his protected conduct and the alleged            his protected activity—the grievance filed against Sawyer
adverse actions.                                                    on March 8, 2018—and the adverse actions on March 23,
                                                                    2018. 3 There is no dispute, as Magistrate Judge Lovric
To establish a First Amendment retaliation claim, the plaintiff     found, that there is close temporal proximity between the
must demonstrate: “(1) that the speech or conduct at issue          protected conduct and the alleged adverse actions. (Dkt. No.
was protected, (2) that the defendant took adverse action           44, at 33).
against the plaintiff, and (3) that there was a causal connection
between the protected speech and the adverse action.”               3       In addition to the alleged adverse action of
Brandon v. Kinter, 938 F.3d 21, 40 (2d Cir. 2019) (quoting
                                                                            filing a false misbehavior report, Plaintiff alleges
Gill v. Pidlypchak, 389 F.3d 379, 380 (2d Cir. 2004)). In
                                                                            that Shipman prevented Plaintiff from attending
the prison context, “adverse action” is conduct “that would
                                                                            Jumu'ah. (See Dkt. No. 15, at 4–5; Dkt. No. 39-2,
deter a similarly situated individual of ordinary firmness from
                                                                            at 15; Dkt. No 39-2, at 15; Dkt No. 41, at 39; Dkt.
exercising ... constitutional rights.” Davis v. Goord, 320 F.3d
                                                                            No. 44, at 34 n.13).
346, 353 (2d Cir. 2003). This inquiry must be “tailored to
the different circumstances in which retaliation claims arise,”
bearing in mind that “[p]risoners may be required to tolerate
                                                                                        a. Defendant Shipman
more ... than average citizens, before a [retaliatory] action
taken against them is considered adverse.” Dawes v. Walker,         As Magistrate Judge Lovric noted, Plaintiff alleges that
239 F.3d 489, 493 (2d Cir. 2001), overruled on other grounds        on the day in question he overheard Sawyer tell Shipman
by Swierkiewicz v. Sorema N.A., 534 U.S. 506, 122 S.Ct. 992,        that Plaintiff filed a grievance against her. (Dkt. No. 44,
152 L.Ed.2d 1 (2002).                                               at 33). Magistrate Lovric found that: “[e]ven if the Court
                                                                    were to credit Plaintiff's allegations, which are contrary
“Once the plaintiff carries his initial burden, ‘the defendants     to Defendants’ sworn declarations, the allegations are still
must show by a preponderance of the evidence that they              insufficient to support a causal connection.” (Id.) (record
would have disciplined the plaintiff even in the absence of         citations omitted). In support of his determination, Magistrate
the protected conduct.’ ” Hynes v. Squillace, 143 F.3d 653,         Judge Lovric cited to the facts that: (1) courts in this Circuit
657 (2d Cir. 1998) (quoting Graham v. Henderson, 89 F.3d            have declined “to find evidence of a causal connection where
75, 80 (2d Cir. 1996) (internal quotation marks omitted)).          a plaintiff alleged retaliation by a defendant for complaints
Because of “the near inevitability of decisions and actions         against other officers or employees”; (2) Plaintiff does not
by prison officials to which prisoners will take exception and      claim that either Defendant made a statement reflecting
the ease with which claims of retaliation may be fabricated,”       retaliatory intent; and (3) “temporal proximity alone is
prisoners’ claims of retaliation are examined with “skepticism      insufficient.” (Dkt. No. 44, at 33).
and particular care.” Colon v. Coughlin, 58 F.3d 865, 872
(2d Cir. 1995) (citing Flaherty v. Coughlin, 713 F.2d 10, 13         *4 However, crediting the Plaintiff's allegations in their
(2d Cir. 1983), overruled on other grounds by Swierkiewicz          full context, as the Court must, the Court concludes that
v. Sorema N.A., 534 U.S. 506, 122 S.Ct. 992, 152 L.Ed.2d 1          Magistrate Judge Lovric clearly erred in failing to draw
(2002)).                                                            all reasonable inferences in Plaintiff's favor. To be sure,
                                                                    Shipman and Sawyer each submitted declarations denying
                                                                    having conversations about Plaintiff. (See Dkt. No. 39-7, ¶
                    1. Plaintiff's Burden                           18; Dkt. No. 39-9, ¶ 7). “But the disparity between [the
                                                                    parties’ declarations] itself creates a credibility issue that is
Defendants did not challenge whether Plaintiff engaged in           not readily amenable to resolution on summary judgment.”
a protected activity or whether Shipman's alleged conduct           Colon, 58 F.3d at 873. 4 Crediting this alleged conversation,
constituted an adverse action. Moreover, Magistrate Judge           and construing the facts in the light most favorable to Plaintiff,
Lovric assumed that Plaintiff could establish an adverse            Plaintiff has advanced more than just temporal proximity to
action as to Defendant Sawyer. (Dkt. No. 39-2, at 11, 15;           support a causal connection. Id. (explaining that if temporal


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proximity “represented the sum total” of the plaintiff's proof,    that during his interaction with Shipman, Plaintiff cursed
that might be sufficient to grant summary judgment on his          Shipman. (Dkt. No. 39-5, at 66). The misbehavior report
retaliation claim).                                                charged Plaintiff with creating a disturbance, interference
                                                                   with an employee, and refusing a direct order to go back to
4                                                                  his seat. (Dkt. No. 39-7, ¶ 12). 6
       Defendants cite Roseboro v. Gillespie, 791 F. Supp.
       2d 353, 368 (S.D.N.Y. 2011) for the proposition
       that “conclusory allegations of conversations               5       Plaintiff submitted a prison logbook indicating that
       where grievances were allegedly discussed are                       Jumu'ah had been called at either 12:20 p.m. or
       insufficient to demonstrate a causal connection for                 12:22 p.m. (Dkt. No. 41, at 28, 29).
       retaliation purposes.” (Dkt. No. 39-2, at 13). In
                                                                   6
       Roseboro, however, the Plaintiff merely alleged                     The misbehavior report states that Shipman told
       that he “once saw [guards] talking.” Roseboro, 791                  Plaintiff at approximately 12:50 that Jumu'ah
       F. Supp. 2d at 368. Here, by contrast, Plaintiff                    services had not been called. (Dkt. No. 39-10, at 2).
       has described overhearing the substance of the               *5 The fact that there is no evidence that Defendants made a
       conversation between Defendants and also notes              statement of retaliatory intent is a factor to consider, but that
       that they stopped talking once they realized he was         Plaintiff cannot adduce evidence of such a statement is not
       in earshot. (Dkt. No. 39-5, at 50–51; Dkt. No. 41,          fatal to his claim. Gayle v. Gonyea, 313 F.3d 677, 684 (2d Cir.
       at 35).                                                     2002) (rejecting defendants’ argument that plaintiff “failed to
Plaintiff testified to the following version of the events. He     meet his evidentiary burden because he has failed to submit
heard a “crackling over the loud speaker and the walkie            direct evidence that the [misbehavior] report was filed as a
talkie” immediately when he returned from the mess hall,           retaliatory measure”); see also Vaher v. Town of Orangetown,
(Dkt. No. 39-5, at 27), and he saw Sawyer “point[ ] out            133 F. Supp. 3d 574, 596 (S.D.N.Y. 2015) (“Direct evidence
all the three Muslims that w[ere] in the tailor shop,” both        of retaliatory intent is not required” to overcome summary
of which led Plaintiff to assume “the [Jumu'ah] service had        judgment on a First Amendment retaliation claim.).
been called.” (Id. at 30; Dkt. No. 41, at 35 & n.1). 5 Plaintiff
approached Shipman who said that they did not call Jumu'ah.        Moreover, while as a general matter, it is difficult to establish
(Dkt. No. 39-5, at 30). Then, Sawyer, after overhearing a          one defendant's retaliation for complaints against another
conversation involving Plaintiff and other prisoners in the        defendant, the cases cited in the Report-Recommendation are
tailor shop, “confronted Plaintiff” and “in an angry tone”         factually distinguishable from the present case. In Woodward
asked if he was talking to her. (Id. at 30–31). Plaintiff          v. Afify, the plaintiff's allegations lacked temporal proximity:
responded that he was not, and Shipman went to Sawyer              the court explained that it “strains credulity that an officer
to inquire “what was going on.” (Id.). Shipman followed            would retaliate against an inmate for lawsuits the inmate
Sawyer as she “marched back to her desk,” and asked, “What         filed years prior against other individuals.” No. 14-cv-00856,
the hell just happened?” (Id.). Sawyer responded “Oh, you          2018 WL 9875253, at *13, 2018 U.S. Dist. LEXIS 169547,
mean Young? He wrote me up.” According to Plaintiff, who           at *42 (W.D.N.Y. Sept. 28, 2018) (emphasis added), report
was then near the officer desk area to get a rag, Shipman          and recommendation adopted, 2019 WL 5394217, 2019 U.S.
and Sawyer “became silent.” (Id.). Plaintiff then returned to      Dist. LEXIS 182722 (W.D.N.Y. Oct. 22, 2019). In Wright v.
his worktable. (Dkt. No. 41, at 35). Shortly after, Plaintiff      Goord, the plaintiff wrote a letter—the protected activity—
again asked to attend religious service, and Shipman became        addressed to certain guards, none of whom were involved
belligerent. (Id.; Dkt. No. 10, at 2). Plaintiff “request[ed]      in an alleged retaliatory assault against plaintiff. 554 F.3d
for the guards to contact the watch commander or area              255, 274 (2d Cir. 2009). Here, by contrast, Sawyer endorsed
sergeant.” (Dkt. No. 41, at 39–40). Plaintiff testified that       the misbehavior report issued against Plaintiff. In Hare v.
Shipman and Sawyer then looked at each other. (Id. at 35;          Hayden, the plaintiff failed to establish that one prison
Dkt. No. 39-5, at 64). Shipman then ordered Plaintiff out of       guard “had a motive to retaliate arising from [plaintiff's]
the tailor shop at which point Shipman told Plaintiff “you are     complaints” against another guard. No. 09-cv-3135, 2011
not going to ... Jumu'ah services.” (Dkt. No. 39-5, at 30–31;      WL 1453789, at *4, 2011 U.S. Dist. LEXIS 40683, at
Dkt. No. 41, at 35). Plaintiff alleges that Shipman issued him a   *12 (S.D.N.Y. Apr. 14, 2011). Here, however, Plaintiff has
misbehavior report, which Sawyer endorsed, falsely claiming        adduced evidence that Defendants were discussing Plaintiff's
                                                                   grievance against Sawyer moments before the events giving


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rise to the misbehavior report and the denial of Jumu'ah            Plaintiff with the same misbehavior report regardless of the
transpired.                                                         grievance filed against Sawyer. 8 (Dkt. No. 39-2, at 14–15).
                                                                    However, Plaintiff denies the allegations in the misbehavior
On this record, Plaintiff has raised a genuine issue of material    report. (Dkt. No. 39-5, at 66; Dkt. No. 41, at 19). Accordingly,
fact as to whether filing a grievance against Sawyer “was           viewing the evidence in the light most favorable to Plaintiff,
a substantial or motivating factor in [Shipman's] decision          Defendants have not “met their burden of establishing as a
to” issue Plaintiff an allegedly false misbehavior report and       matter of law that [Plaintiff] would have been punished to
prevent him from attending Jumu'ah services. See Graham,            the same extent” he was punished “regardless of the alleged
89 F.3d at 79.                                                      retaliation.” Gayle, 313 F.3d at 684 (citing Graham, 89 F.3d
                                                                    at 80).


                    b. Defendant Sawyer                             8       Sawyer similarly stated in her declaration that
                                                                            she would have endorsed the misbehavior
With respect to Sawyer, Magistrate Judge Lovric concluded
                                                                            report “regardless of any prior grievance by
that Plaintiff only adduced evidence of temporal proximity
                                                                            Plaintiff.” (Dkt. No. 39-9, ¶ 14).
to establish a causal connection between the grievance filed
against her and the false misbehavior report filed against          Thus, at this stage, viewing the evidence in the light most
                                                                    favorable to Plaintiff, he has raised a triable issue of fact as to
Plaintiff. (Dkt. No. 44, at 35–36). 7 The Court disagrees. As
                                                                    whether there was a causal connection between his protected
with Sawyer, Plaintiff has adduced circumstantial evidence
                                                                    conduct and the alleged adverse actions. See Brandon, 938
beyond temporal proximity to support a causal connection.
                                                                    F.3d at 41. Accordingly, the Court rejects the Magistrate
                                                                    Judge's recommendation that summary judgment be granted
7
        Magistrate Judge Lovric “assumed arguendo”                  with prejudice on Plaintiff's retaliation claim. The Court has
        that Sawyer's endorsement of the allegedly false            reviewed the remainder of the Report-Recommendation for
        misbehavior report constituted adverse action after         clear error and found none. The remainder of the Report-
        noting that endorsing a false misbehavior report            Recommendation is therefore adopted.
        could arguably deter a similarly situated individual
        from exercising his constitutional rights. (Dkt. No.
        44, at 35–36). The Court concurs. See Higgins               IV. CONCLUSION
        v. Coombe, No. 95-cv-8696, 1997 WL 328623,                  For these reasons, it is
        at *7, 12, 1997 U.S. Dist. LEXIS 8418, at *22,
        36 (S.D.N.Y. June 16, 1997) (denying defendants’            ORDERED that the Report-Recommendation and Order
        motion to dismiss, including against a defendant            (Dkt. No. 44) is ADOPTED in part and REJECTED in part
        who “allegedly ‘endorsed’ the false misbehavior             as described above; and it is further
        report” at issue).
                                                                    ORDERED that Defendants’ motion for summary judgment
Thus, Plaintiff has raised a genuine issue of material fact as to
                                                                    (Dkt. No. 39) is GRANTED in part, and the Amended
whether filing a grievance against Sawyer “was a substantial
                                                                    Complaint is DISMISSED WITHOUT PREJUDICE for
or motivating factor in [her] decision” to endorse Shipman's
                                                                    failure to exhaust administrative remedies; and it is further
allegedly false misbehavior report. See Graham, 89 F.3d at 79.

                                                                    ORDERED that the Clerk is directed to close this case; and
                                                                    it is further
                   2. Defendants’ Burden
                                                                    ORDERED that the Clerk serve a copy of this Order upon
 *6 Having found that Plaintiff established a prima facie           the parties in accordance with the Local Rules.
retaliation claim, the burden “shifts to the defendants to show
that, as a matter of law, [Plaintiff] would have been punished      IT IS SO ORDERED.
to the same extent regardless of the alleged retaliation.”
Gayle, 313 F.3d at 684 (citing Graham, 89 F.3d at 80).
Defendants argue that Shipman would still have charged



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                    2020 WL 5792467                              During the time period relevant to Plaintiff's allegations,
      Only the Westlaw citation is currently available.          roughly September 2016 through January 2017, Plaintiff was
       United States District Court, N.D. New York.              housed at Coxsackie Correctional Facility. Dkt. No. 102-3,
                                                                 Blair Decl. at ¶ 3; Dkt. No. 115-3 at ¶¶ 2-3. 1 During this
               Gabriel GILMORE, Plaintiff,                       time, Defendant Blair was employed as a Registered Nurse at
                           v.                                    Coxsackie. Blair Decl. at ¶ 1. Though the parties dispute their
                   BLAIR, Defendant.                             frequency and legitimacy, the record establishes that during
                                                                 this period Plaintiff had a documented history of numerous
                   9:18-CV-463 (GLS/DJS)                         medical complaints. Blair Decl. at ¶¶ 13-15; Dkt. No. 103,
                              |                                  Pl.’s Med. Records; Dkt. No. 115-4 at ¶¶ 8 & 13. This included
                      Signed 06/30/2020                          requesting emergency sick call on numerous occasions that
                                                                 medical staff at Coxsackie deemed unwarranted. Blair Decl.
Attorneys and Law Firms
                                                                 at ¶ 15.
GABRIEL GILMORE, 04-B-387, Plaintiff, Pro Se, Attica
Correctional Facility, Box 149, Attica, New York 14011.          1       Plaintiff has submitted numerous documents in
                                                                         opposition to the Motion which are referred to
OF COUNSEL: NICHOLAS L. ZAPP, ESQ., Assistant                            throughout this opinion by reference to their docket
Attorney General, HON. LETITIA JAMES, Attorney                           number.
General of the State of New York, Attorney for Defendants,
The Capitol, Albany, New York 12224.                             On November 29, 2016, Plaintiff again requested emergency
                                                                 sick call and according to Nurse Blair raised issues other
                                                                 than those made in the sick call request. Id. at ¶ 16; Pl.’s
                                                                 Med. Records at p. 14. As a result, Defendant issued Plaintiff
     REPORT-RECOMMENDATION and ORDER
                                                                 an inmate misbehavior report. Blair Decl. at ¶ 17 & Ex. B.
DANIEL J. STEWART, United States Magistrate Judge                Following a hearing, Plaintiff was found not guilty of the
                                                                 charges lodged in the misbehavior report. Dkt. No. 102-6,
 *1 Plaintiff, presently an inmate in the custody of the         Pl.’s Dep. at p. 33.
New York State Department of Corrections and Community
Supervision (“DOCCS”), brings this pro se action pursuant to     Plaintiff also alleges that his food was tampered with on
42 U.S.C. § 1983, alleging the violation of his constitutional   January 23, 2017. Specifically, he claims that he was given
rights. Dkt. No. 1, Compl. Defendant has now filed a Motion      a food tray by a corrections officer who he cannot name and
for Summary Judgment seeking dismissal of the Complaint.         that a medication to which he had previously had an adverse
Dkt. Nos. 102 & 103. Plaintiff opposes the Motion. Dkt. No.      reaction had been placed in the food. Pl.’s Dep. at pp. 35-41.
115. For the reasons which follow, the Court recommends that     Defendant denies any role in tampering with Plaintiff's food.
the Motion be granted.                                           Blair Decl. at ¶¶ 20-21.

                                                                 Defendant has offered evidence from two DOCCS officials
                                                                 that Plaintiff filed no grievance regarding the two incidents of
                    I. BACKGROUND
                                                                 alleged retaliation at issue in this case. See generally Dkt. No.
The Complaint originally named multiple Defendants. See          102-4, Hale Decl.; Dkt. No. 102-5, Seguin Decl.
generally Compl. In a June 5, 2018 Decision and Order,
the District Court dismissed all claims other than a First
Amendment retaliation claim against Defendant Blair. Dkt.                       II. LEGAL STANDARD FOR
No. 13. The gravamen of the retaliation claim is that                             SUMMARY JUDGMENT
Defendant issued a misbehavior report to Plaintiff falsely
accusing him of abusing facility health services procedures      Pursuant to FED. R. CIV. P. 56(a), summary judgment is
and then played a role in tampering with Plaintiff's food. Id.   appropriate only where “there is no genuine dispute as to any
at p. 18.                                                        material fact and the movant is entitled to judgment as a matter



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of law.” The moving party bears the burden to demonstrate              Defendant seeks summary judgment on three grounds: (1)
through “pleadings, depositions, answers to interrogatories,           Plaintiff's alleged failure to exhaust available administrative
and admissions on file, together with [ ] affidavits, if any,”         remedies; (2) on the merits of Plaintiff's retaliation claim; and
that there is no genuine issue of material fact. F.D.I.C. v.           (3) on the ground of qualified immunity. The Court considers
Giammettei, 34 F.3d 51, 54 (2d Cir. 1994) (quoting Celotex             each argument in turn.
Corp. v. Catrett, 477 U.S. 317, 323 (1986)).

 *2 To defeat a motion for summary judgment, the non-
                                                                        A. Exhaustion under the Prison Litigation Reform Act
movant must set out specific facts showing that there is a
genuine issue for trial and cannot rest merely on allegations
or denials of the facts submitted by the movant. FED. R. CIV.                             1. The Grievance Process
P. 56(c); see also Scott v. Coughlin, 344 F.3d 282, 287 (2d
                                                                       The PLRA provides, in pertinent part, that “[n]o action shall
Cir. 2003) (“Conclusory allegations or denials are ordinarily
                                                                       be brought with respect to prison conditions under section
not sufficient to defeat a motion for summary judgment when
                                                                       1983 of this title, or any other Federal law, by a prisoner
the moving party has set out a documentary case.”); Rexnord
                                                                       confined in any jail, prison, or other correctional facility until
Holdings, Inc. v. Bidermann, 21 F.3d 522, 525-26 (2d Cir.
                                                                       such administrative remedies as are available are exhausted.”
1994). To that end, sworn statements are “more than mere
                                                                       42 U.S.C. § 1997e(a). The Supreme Court has held that “the
conclusory allegations subject to disregard ... they are specific
                                                                       PLRA's exhaustion requirement applies to all inmate suits
and detailed allegations of fact, made under penalty of perjury,
                                                                       about prison life, whether they involve general circumstances
and should be treated as evidence in deciding a summary
                                                                       or particular episodes, and whether they allege excessive
judgment motion” and the credibility of such statements is
                                                                       force or some other wrong.” Porter v. Nussle, 534 U.S. 516,
better left to a trier of fact. Scott v. Coughlin, 344 F.3d at 289
                                                                       532 (2002) (citation omitted). Exhaustion in prisoner cases
(citing Flaherty v. Coughlin, 713 F.2d 10, 13 (2d Cir. 1983)
                                                                       covered by § 1997e(a) is mandatory. Id. at 524; Ross v. Blake,
and Colon v. Coughlin, 58 F.3d 865, 872 (2d Cir. 1995)).
                                                                       136 S. Ct. 1850, 1856 (2016) (stating that the mandatory
                                                                       language of § 1997e(a) forecloses judicial discretion to craft
When considering a motion for summary judgment, the
                                                                       exceptions to the requirement). Furthermore, § 1997e(a)
court must resolve all ambiguities and draw all reasonable
                                                                       requires “proper exhaustion,” which means using all steps of
inferences in favor of the non-movant. Nora Beverages, Inc.
                                                                       the administrative process and complying with “deadlines and
v. Perrier Group of Am., Inc., 164 F.3d 736, 742 (2d Cir.
                                                                       other critical procedural rules.” Woodford v. Ngo, 548 U.S.
1998). “[T]he trial court's task at the summary judgment
                                                                       81, 93 (2006). The defendant bears the burden of proving that
motion stage of the litigation is carefully limited to discerning
                                                                       the administrative remedies available to the plaintiff were not
whether there are any genuine issues of material fact to be
                                                                       exhausted prior to the initiation of a civil action. Howard v.
tried, not to deciding them. Its duty, in short, is confined at this
                                                                       Goord, 1999 WL 1288679, at *3 (E.D.N.Y. Dec. 28, 1999).
point to issue-finding; it does not extend to issue-resolution.”
Gallo v. Prudential Residential Servs., Ltd. P'ship, 22 F.3d
                                                                        *3 In New York, the administrative remedies consist of
1219, 1224 (2d Cir. 1994). Furthermore, where a party is
                                                                       a three-step Inmate Grievance Program (“IGP”). First, a
proceeding pro se, the court must “read [his or her] supporting
                                                                       grievance is submitted to the Inmate Grievance Resolution
papers liberally, and ... interpret them to raise the strongest
                                                                       Committee (“IGRC”), a committee comprised of both
arguments that they suggest.” Burgos v. Hopkins, 14 F.3d
                                                                       inmates and facility employees. 7 N.Y.C.R.R. § 701.5(b). An
787, 790 (2d Cir. 1994); see also Soto v. Walker, 44 F.3d
                                                                       inmate must submit a grievance “within 21 calendar days of
169, 173 (2d Cir. 1995). Nonetheless, summary judgment is
                                                                       the alleged occurrence.” Id. at § 701.5(a). An inmate may
appropriate “[w]here the record taken as a whole could not
                                                                       request an extension of the time limit within forty-five days
lead a rational trier of fact to find for the non-moving party.”
                                                                       of the date of the alleged occurrence. Id. at § 701.6(g). The
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.
                                                                       IGRC reviews and investigates the formal complaint and then
574, 587 (1986).
                                                                       issues a written determination. Id. at § 701.5(b). Second, upon
                                                                       appeal of the IGRC decision, the superintendent of the facility
                                                                       reviews the IGRC's determination and issues a decision. Id.
                       III. DISCUSSION                                 at § 701.5(c). Finally, upon appeal of the superintendent's
                                                                       decision, the Central Office Review Committee (“CORC”)


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makes the final administrative determination. Id. at §             Apart from claims that his efforts to file a grievance may
701.5(d). Only upon exhaustion of all three levels of review       have been interfered with, a claim that will be discussed
may a prisoner seek relief in federal court. Bridgeforth v.        below, Plaintiff's opposition papers do not offer evidence that
Bartlett, 686 F. Supp. 2d 238, 239 (W.D.N.Y. 2010) (citing,        a timely grievance regarding either the November 2016 or
inter alia, Porter v. Nussle, 534 U.S. at 524); see also Neal v.   January 2017 incidents was filed. As noted above, DOCCS
Goord, 267 F.3d 116, 121 (2d Cir. 2001), overruled on other        regulations require a grievance be filed within 21 days of the
grounds by Porter v. Nussle, 534 U.S. 516.                         event giving rise to the grievance. Williams v. Priatno, 829
                                                                   F.3d 118, 119 (2d Cir. 2016) (citing 7 N.Y.C.R.R. § 701.5(a)
An expedited procedure exists for grievances regarding             (1)). At his deposition, Plaintiff testified that he only “started
alleged harassment; this procedure also requires that the          trying to make complaints” on January 23, 2017. Pl.’s Dep.
grievant receive a response from CORC in order to                  at p. 33. He offered no specifics about the nature of those
exhaust. 7 N.Y.C.R.R. § 701.8. Pursuant to this expedited          complaints, however. Id. The earliest date offered by Plaintiff
procedure, the inmate may first report the incident to the         as to any written action regarding the events at issue here
employee's immediate supervisor. Id. at § 701.8(a). The            appears to be a May 2, 2017 letter to the New York State
inmate's allegations are then given a grievance number and         Office of the Inspector General. See Dkt. No. 115-1 at p.
the superintendent (or his designee) must promptly decide          10. Plaintiff's extensive opposition papers show no earlier
whether the grievance, if true, would represent a bona             attempt by him to make DOCCS officials aware of these
fide case of harassment. Id. at §§ 701.8(b) & (c). If the          alleged incidents. In fact, the earliest date offered by Plaintiff
superintendent determines the grievance to be a case of            regarding written communication with DOCCS appears to be
harassment, he must render a decision within 25 days; the          Plaintiff's June 2017 grievance regarding medical care which
grievant may then appeal that determination to CORC. Id. at        mentions neither of these incidents nor Defendant Blair. Hale
§§ 701.8 (d)-(h).                                                  Decl. at Ex. A. There is, therefore, simply no evidence of
                                                                   a timely grievance regarding these incidents as required to
                                                                   exhaust remedies under the PLRA. Reeder v. Uhler, 2019 WL
                                                                   4686351, at *3 (N.D.N.Y. Sept. 26, 2019) (citing Woodford
      2. Plaintiff's Failure to Fully Exhaust his Claims
                                                                   v. Ngo, 548 U.S. at 83).
Here the record before the Court establishes that no timely
grievance was filed regarding either Defendant's alleged            *4 Plaintiff's opposition does establish that he wrote
retaliation in November 2016 or alleged involvement in             numerous complaints to prison officials and others outside of
food tampering in January 2017. The records of Coxsackie           DOCCS. Dkt. No. 115-1 at pp. 9, 10, 14, & 15. “Generally,
Correctional Facility indicate that no grievance was filed         ‘the law is well-settled that informal means of communicating
                                                                   and pursuing a grievance, even with senior prison officials,
regarding either claim. Hale Decl. at ¶ 12. 2 Records from
                                                                   are not sufficient under the PLRA.’ ” Berman v. Durkin,
CORC further demonstrate that no appeal to CORC was ever
                                                                   2017 WL 1215814, at *7 (N.D.N.Y. Mar. 10, 2017), report
taken of any grievance related to these two claims. Seguin
                                                                   and recommendation adopted, 2017 WL 1207834 (N.D.N.Y.
Decl. at ¶¶ 13-18. This evidence is sufficient to establish
                                                                   Mar. 31, 2017) (quoting Timmons v. Schriro, 2015 WL
that no grievance was filed regarding these claims. Powell v.
                                                                   3901637, at *3 (S.D.N.Y. June 23, 2015)) (citing cases);
Schriro, 2015 WL 7017516, at *7 (S.D.N.Y. Nov. 12, 2015).
                                                                   Salmon v. Bellinger, 2016 WL 4411338, at *4 (N.D.N.Y.
                                                                   July 5, 2016), report and recommendation adopted, 2016 WL
2      Plaintiff's opposition makes much of a claim that           4275733 (N.D.N.Y. Aug. 12, 2016) (“Letters sent outside
       Hale's Declaration is untrue because he did not             of the grievance process ... are insufficient to satisfy the
       work at Coxsackie Correctional Facility at the time         exhaustion requirement”); see also Macias v. Zenk, 495 F.3d
       of the events in question. See Dkt. No. 115-2 at ¶¶         37, 44 (2d Cir. 2007) (“Alerting the prison officials as to
       2-4. The Court notes that Hale's Declaration does           the nature of the wrong for which redress is sought, does
       not claim that he worked at Coxsackie at this time          not constitute ‘proper exhaustion.’ ”) (internal quotations,
       and is explicitly offered based on his knowledge of         citations, and alterations omitted). Those letters, therefore, did
       DOCCS procedure and a review of records. Hale               not exhaust Plaintiff's administrative remedies.
       Decl. at ¶¶ 1-2.




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The exhaustion requirement is designed to permit                 WL 6512859, at *6 (W.D.N.Y. Dec. 20, 2017) (“Plaintiff's
prison officials to address inmate concerns before the           decision to affirmatively participate at all three levels in the
commencement of litigation. Jones v. Bock, 549 U.S. 199,         inmate grievance program demonstrates that the program was
204 (2007). An inmate must exhaust the entire DOCCS              neither a dead-end nor so opaque that Plaintiff could not avail
three-step process to exhaust a claim under the PLRA.            himself of it.”).
Seuffert v. Donovan, 2016 WL 859815, at *4 (N.D.N.Y. Feb.
5, 2016), report and recommendation adopted, 2016 WL              *5 Plaintiff's opposition does raise an allegation that
796090 (N.D.N.Y. Feb. 26, 2016). Here, the facts establish       his attempts to file grievances were somehow thwarted
that Plaintiff proceeded to this Court before fully exhausting   by DOCCS personnel. Dkt. No. 115-1. His conclusory
the available DOCCS procedures. He thus failed to fully          allegations in this regard, however, are insufficient to raise
exhaust.                                                         a question of fact. Richard v. Leclaire, 2019 WL 4233184,
                                                                 at *3 (N.D.N.Y. Sept. 6, 2019); Aviles v. Tucker, 2016 WL
                                                                 4619120, at *4 (S.D.N.Y. Sept. 1, 2016). Plaintiff alleges,
                                                                 for example, that he attempted to send an appeal by certified
         3. Whether Plaintiff's Failure to Exhaust
                                                                 mail to Karen Bellamy, then a DOCCS official at CORC, but
         Administrative Remedies May be Excused
                                                                 that facility staff refused to process his mail. Id. at p. 9. This
A prisoner's failure to exhaust administrative remedies may      accusation, made in a memo addressed to Ms. Bellamy, makes
nonetheless be excused if remedies were unavailable to           no reference to having filed a grievance at the facility level,
the inmate. Ross v. Blake, 136 S. Ct. at 1858. As the            however. Id. The Court also notes that while Plaintiff has a
Supreme Court stated in Ross, “[a]n inmate ... must exhaust      copy of this memo and many other correspondence dated well
available remedies, but need not exhaust unavailable ones.”      after the incidents at issue here, id. at pp. 7-14, he has not
Id. The Court provided three potential circumstances in which    provided the Court with a copy of any grievance, grievance
administrative remedies may be unavailable: (1) where the        decision, or grievance appeal related to those issues. See,
administrative procedure technically exists but operates as a    e.g., Gibbs v. Gadway, 2019 WL 5191506, at *5 (N.D.N.Y.
“dead end – with officers unable or consistently unwilling       Oct. 15, 2019), report and recommendation adopted, 2020
to provide any relief to aggrieved inmates”; (2) where           WL 1227156 (N.D.N.Y. Mar. 13, 2020) (conclusory claim
the administrative scheme is “so opaque that it becomes,         unsupported by copies of grievances allegedly filed subject to
practically speaking, incapable of use”; and (3) where prison    dismissal) (citing cases); Blake v. Porlier, 2019 WL 7484052,
administrators “thwart inmates from taking advantage of a        at *5 (N.D.N.Y. Oct. 4, 2019), report and recommendation
grievance process through machination, misrepresentation, or     adopted, 2020 WL 58613 (N.D.N.Y. Jan. 6, 2020) (same).
intimidation.” Id. at 1859-60. Plaintiff bears the burden of     Nor does Plaintiff identify the date any grievance was filed or
establishing that the grievance procedures were unavailable      anything else about the process that would render his claims
within the meaning of Ross. Martin v. Wyckoff, 2018 WL           less conclusory.
7356771, at *5 (N.D.N.Y. Oct. 16, 2018), report and
recommendation adopted, 2019 WL 689081 (N.D.N.Y. Feb.            For these reasons, the Court recommends that the Motion for
19, 2019).                                                       Summary Judgment be granted based on Plaintiff's failure to
                                                                 exhaust his administrative remedies. The Court will, however,
Plaintiff clearly argues that he should be excused from          also address the remaining grounds for Defendant's Motion.
the exhaustion requirement. See generally Dkt. No. 115-1.
Plaintiff has filed many grievances while an inmate in
DOCCS’ custody. See Sequin Decl. at Ex. A. “This shows                    B. Merits of Plaintiff's Retaliation Claim
that Plaintiff did not view the filing of grievances as a dead
end. It also demonstrates that he clearly understood DOCCS’      “To prevail on a First Amendment retaliation claim, an
inmate grievance policy and could navigate it when he wished     inmate must establish ‘(1) that the speech or conduct at
to pursue a grievance. As such, the first two exceptions         issue was protected, (2) that the defendant took adverse
identified under Ross are not applicable here.” Walker v.        action against the plaintiff, and (3) that there was a causal
Ball, 2018 WL 1415212, at *5 (N.D.N.Y. Feb. 16, 2018),           connection between the protected conduct and the adverse
report and recommendation adopted, 2018 WL 1406632               action.’ ” Holland v. Goord, 758 F.3d 215, 225 (2d Cir.
(N.D.N.Y. Mar. 20, 2018); see also Gonzalez v. Coburn, 2017      2014) (quoting Espinal v. Goord, 558 F.3d 119, 128 (2d



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Cir. 2009)). The plaintiff must establish that “the protected         *6 Nor can Plaintiff establish an adverse action related to the
conduct was a substantial or motivating factor” behind the           issuance of the misbehavior report. In the context of inmate
retaliatory action. Graham v. Henderson, 89 F.3d 75, 79              retaliation claims, adverse action is viewed objectively and
(2d Cir. 1996). The Second Circuit has warned that “courts           requires the Court to ask whether the action taken with respect
must approach prisoner claims of retaliation with skepticism         to the inmate “would deter a similarly situated individual of
and particular care.” Dawes v. Walker, 239 F.3d 489, 491             ordinary firmness from exercising ... constitutional rights.”
(2d Cir. 2001) (citing Flaherty v. Coughlin, 713 F.2d 10,            Gill v. Pidlypchak, 389 F.3d 379, 381 (2d Cir. 2004) (quoting
13 (2d Cir. 1983)). This is true because given the nature            Davis v. Goord, 320 F.3d 346, 353 (2d Cir. 2003)). Courts
of a retaliation claim they are “easily fabricated” and as a         have long recognized that if the alleged retaliation is not
result “virtually any adverse action taken against a prisoner        something that would deter an individual from exercising
by a prison official - even those otherwise not rising to the        their rights, the alleged conduct is de minimis and “outside the
level of a constitutional violation - can be characterized as a      ambit of constitutional protection.” McFadden v. Friedman,
constitutionally proscribed retaliatory act.” Dawes v. Walker,       2015 WL 5603433, at *9 (N.D.N.Y. Sept. 23, 2015).
239 F.3d at 491.
                                                                     The filing of a false misbehavior report that results in some
Plaintiff claims Defendant took two retaliatory actions against      form of punishment that cannot be labelled de minimis has
him: the issuance of a misbehavior report and having                 been found sufficient to constitute adverse actions. See, e.g.,
something placed in his food to make him ill. Under                  Reed v. Doe No. 1, 2012 WL 4486086, at *5 (N.D.N.Y. July
the applicable standards neither claim survives summary              26, 2012) (finding that the “filing of a false misbehavior
judgment.                                                            report can qualify as an adverse action for the purposes of
                                                                     a First Amendment retaliation” where the report resulted
                                                                     in a fourteen-day term in keeplock confinement), report
                                                                     and recommendation adopted, 2012 WL 4486085 (N.D.N.Y.
                    1. Misbehavior Report
                                                                     Sept. 27, 2012); Tafari v. McCarthy, 714 F. Supp. 2d 317,
Defendant issued a Misbehavior Report to Plaintiff on                373 (N.D.N.Y. 2010) (finding that a misbehavior report that
November 26, 2016, related to Plaintiff's abuse of facility          resulted in SHU confinement constituted an adverse action).
emergency sick call procedures. Blair Decl. at ¶ 17 & Ex. B.         However, the mere filing of a misbehavior report alone,
Plaintiff was found not guilty of the three charges set forth        without evidence of other repercussions, does not constitute
in the Misbehavior Report. See Compl. at pp. 18 & 67; Pl.’s          an adverse action. Bartley v. Collins, 2006 WL 1289256, at
Dep. at p. 33. Plaintiff claims the report was issued to retaliate   *7 (S.D.N.Y. May 10, 2006) (finding misbehavior report that
against him for his frequent requests for medical attention.         resulted in plaintiff's temporary loss of privileges did not
Dkt. No. 115-4 at ¶ 17. Defendant denies any retaliatory             amount to adverse action but misbehavior report that resulted
motivation in issuing the report. Blair Decl. at ¶ 18. As to         in keeplock confinement for ten days did). “Typically, courts
this claim, Plaintiff cannot establish either that he engaged        require a showing of additional punishment above the filing
in protected activity or that Defendant took adverse action          of a misbehavior report to find an adverse action.” Vidal
against him. Accordingly, summary judgment is appropriate            v. Valentin, 2019 WL 3219442, at *8 (S.D.N.Y. July 17,
as to this claim.                                                    2019); see also Flynn v. Ward, 2018 WL 3195095, at
                                                                     *10-11 (N.D.N.Y. June 7, 2018), report and recommendation
Courts have not recognized a freestanding right to request           adopted, 2018 WL 3193201 (N.D.N.Y. June 28, 2018)
medical attention as a protected activity sufficient to support a    (same). In this case, Plaintiff was found not guilty of the
retaliation claim. Ross v. Koenigsmann, 2016 WL 11480164,            charges. Pl.’s Dep. at p. 33. There is no evidence he suffered
at *17 (N.D.N.Y. Sept. 8, 2016), report and recommendation           any adverse consequence in the form of lost privileges or
adopted, 2016 WL 5408163 (N.D.N.Y. Sept. 28, 2016) (citing           restricted confinement as a result of the report. He, therefore,
cases); see also Brown v. White, 2010 WL 985184, at *12              cannot show and indeed has not alleged an adverse action
(N.D.N.Y. Mar. 15, 2010). Plaintiff's claim in this regard thus      from the issuance of the misbehavior report.
is insufficient to establish the first element of his retaliation
claim.
                                                                                       2. Food Tampering Claim




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As already discussed, Plaintiff has failed to adequately allege   at pp. 34 & 40-42. The record, however, fails to raise a
that he was engaged in protected activity. See Point III(B)(1)    triable issue about Defendant's role in this alleged incident.
supra. 3 This retaliation claim also fails because he cannot      Plaintiff has no specific evidence that any medication was
                                                                  in fact placed in his food on the day in question. His claim
establish a causal connection to Defendant. 4
                                                                  is based largely on the supposition that the unnamed officer,
                                                                  who Plaintiff says is a “bad” officer would not have given
3      To the extent Plaintiff's claim here alleges that          him a food tray absent some nefarious purpose. See id. at pp.
       the retaliation was motivated by his being found           35, 36, & 44. He did not see anyone place anything in his
       not guilty of the misbehavior report, that too fails       food. Id. at p. 44. In fact, Plaintiff's deposition testimony could
       to establish a protected activity that can serve as        not specifically identify whether it was a corrections officer,
       the basis for a retaliation claim. “Being found not        Defendant, or another nurse at the facility who allegedly
       guilty, however, is not protected activity, or for that    placed the medication in the food. Id. at pp. 40-41. He alleges,
       matter, ‘activity’ at all, on plaintiff's part.” Taylor    without specific evidence, only that the three were “working
       v. Fischer, 841 F. Supp. 2d 734, 737 (W.D.N.Y.             as a team.” Id. at p. 45.
       2012); see also Davis v. Jackson, 2018 WL 358089
       at *10-11 (S.D.N.Y. Jan. 8, 2018) (same).                  As previously discussed, inmate retaliation claims can be
4                                                                 “easily fabricated.” Dawes v. Walker, 239 F.3d at 491.
       The Court assumes without deciding that tampering
                                                                  Courts, therefore, require more than conclusory allegations to
       with an inmate's food would satisfy the adverse
                                                                  support such a claim. Here, Plaintiff fails to offer evidence
       action requirement. Compare Santos v. Keenan,
                                                                  beyond speculation and theories of his own design. Plaintiff's
       2020 WL 2859202, at *14 (W.D.N.Y. Feb. 6,
                                                                  “conclusory statements alone ... fail to adequately provide
       2020), report and recommendation adopted, 2020
                                                                  this Court any factual specifics by which we could evaluate
       WL 1025189 (W.D.N.Y. Mar. 3, 2020) (food
                                                                  the plausibility of his claims.” Melecio v. Fischer, 2011
       tampering “may be adverse action[ ]” with James
                                                                  WL 6987299, at *8 (N.D.N.Y. Sept. 27, 2011), report and
       v. Mosko, 2016 WL 8671478, at *6 (W.D.N.Y.
                                                                  recommendation adopted, 2012 WL 92846 (N.D.N.Y. Jan. 11,
       July 22, 2016), report and recommendation
                                                                  2012).
       adopted, 2017 WL 397474 (W.D.N.Y. Jan. 30,
       2017) (conclusory allegation of food tampering
                                                                  For these reasons, Defendant is entitled to summary judgment
       insufficient to establish adverse action)).
                                                                  on Plaintiff's retaliation claim.
 *7 A retaliation plaintiff must establish a causal connection
between a protected activity and an adverse action. Holland v.
Goord, 758 F.3d at 22. But to survive dismissal Plaintiff “must
                                                                                      C. Qualified Immunity
advance non-conclusory allegations.” Garcia v. S.U.N.Y.
Health Scis. Ctr. of Brooklyn, 280 F.3d 98, 106 (2d Cir. 2001).   Qualified immunity provides a “shield[ ] ... from civil
In a summary judgment motion, this requires the non-movant        damages liability unless the official violated a statutory
to proffer “some tangible proof” of a causal connection and       or constitutional right that was clearly established at the
Plaintiff “may not rely on conclusory assertions of retaliatory   time of the challenged conduct.... To be clearly established,
motive.” Washington v. Cty. of Rockland, 373 F.3d 310, 321        a right must be sufficiently clear that every reasonable
(2d Cir. 2004). Defendant Blair denies the allegation that he     official would have understood that what he is doing violates
had any role in tampering with Plaintiff's food. Blair Decl.      that right.” Reichle v. Howards, 566 U.S. 658, 664 (2012)
at ¶¶ 20-21. In the face of express denials on the part of        (internal quotation marks and citations omitted). Qualified
Defendant of any role in the allegedly retaliatory events, the    immunity attaches if “ ‘officers of reasonable competence
opposition to the Motion for Summary Judgment does not rise       could disagree’ on the legality of the defendant's actions.”
above such conclusory allegations and is insufficient to defeat   Lennon v. Miller, 66 F.3d 416, 420 (2d Cir. 1995) (quoting
the Motion.                                                       Malley v. Briggs, 475 U.S. 335, 341 (1986)). In other words,
                                                                  qualified immunity “provides ample protection to all but the
Plaintiff states that his food was tampered with on January       plainly incompetent or those who knowingly violate the law.”
23, 2017, by placing H.I.V. medication to which he had            Malley v. Briggs, 475 U.S. at 341. Although it is not the case
previously had an adverse reaction in his food. Pl.’s Dep.        that “an official action is protected by qualified immunity



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                                                                          RECOMMENDED, that Defendant's Motion for Summary
unless the very action in question has previously been held
                                                                          Judgment (Dkt. No. 102) be GRANTED and that the
unlawful ... it is to say that in the light of pre-existing law the
                                                                          Complaint be DISMISSED; and it is
unlawfulness must be apparent.” Anderson v. Creighton, 483
U.S. 635, 640 (1987).
                                                                          ORDERED, that Plaintiff's letter requests to submit
                                                                          additional documents in opposition to the Motion and for a
 *8 While the general right to be free from retaliation is well
                                                                          conference (Dkt. Nos. 127 & 132) are DENIED as moot; and
established, this Court has previously recognized that “there is
                                                                          it is further
no ‘clearly established right’ under the First Amendment for
inmates to request medical attention.” Ross v. Koenigsmann,
                                                                          ORDERED, that the Clerk of the Court serve a copy of this
2016 WL 11480164, at *18 (N.D.N.Y. Sept. 8, 2016), report
                                                                          Report-Recommendation and Order upon the parties to this
and recommendation adopted, 2016 WL 5408163 (N.D.N.Y.
                                                                          action.
Sept. 28, 2016). Other courts have more recently continued
to recognize that no such right is clearly established. James
                                                                          Pursuant to 28 U.S.C. § 636(b)(1), the parties have fourteen
v. Gage, 2019 WL 6251364, at *7 (S.D.N.Y. Nov. 21, 2019)
                                                                          (14) days within which to file written objections to the
(“a constitutional right to request medical attention is not
                                                                          foregoing report. Such objections shall be filed with the Clerk
clearly established”) (citing cases). Given the lack of a clearly
                                                                          of the Court. FAILURE TO OBJECT TO THIS REPORT
established right Defendant could not have known that acting
                                                                          WITHIN FOURTEEN (14) DAYS WILL PRECLUDE
against Plaintiff, if he in fact did so, would constitute unlawful
                                                                          APPELLATE REVIEW. Roldan v. Racette, 984 F.2d 85, 89
retaliation. As a result, the lack of clearly established law
                                                                          (2d Cir. 1993) (citing Small v. Sec'y of Health and Human
finding a right to request medical treatment is an additional
                                                                          Servs., 892 F.2d 15 (2d Cir. 1989)); see also 28 U.S.C. §
basis for granting summary judgment.
                                                                          636(b)(1); FED. R. CIV. P. 72 & 6(a).


                      IV. CONCLUSION                                      All Citations

For the reasons stated herein, it is hereby                               Not Reported in Fed. Supp., 2020 WL 5792467



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                                                                   Only specific objections warrant de novo review. See Almonte
                    2020 WL 5775203                                v. N.Y. State Div. of Parole, No. Civ. 904CV484, 2006 WL
      Only the Westlaw citation is currently available.            149049, at *3-5 (N.D.N.Y. Jan. 18, 2006). Objections that
       United States District Court, N.D. New York.                are general, conclusory, frivolous, or a mere reiteration of an
                                                                   argument already made to the Magistrate Judge trigger only
               Gabriel GILMORE, Plaintiff,                         clear error review. See id. at *4-5.
                           v.
                   BLAIR, Defendant.                               The majority of Gilmore's objections fail to address the
                                                                   findings made by Judge Stewart. Gilmore's remaining
                   9:18-cv-463 (GLS/DJS)                           arguments are “general, conclusory, perfunctory, [and] a mere
                              |                                    reiteration of ... argument[s] [already] made,” which trigger
                     Signed 09/28/2020                             review only for clear error. See Rahman v. Fischer, No.
                                                                   9:10-cv-1496, 2014 WL 688980, at *1 (N.D.N.Y. Feb. 20,
Attorneys and Law Firms                                            2014) (collecting cases); Almonte, 2006 WL 149049, at *4
                                                                   (explaining that resubmitting the same arguments previously
Gabriel Gilmore, Attica, NY, pro se.
                                                                   made “fails to comply with the specificity requirement”).
Nicholas Luke Zapp, New York State Attorney General,
Albany, NY, for Defendant.                                         Upon review of the R&R, there is no apparent, let alone clear,
                                                                   error in Judge Stewart's analysis, which squarely addresses
                                                                   Gilmore's arguments and provides multiple, appropriate
                                                                   reasons for granting Blair's motion for summary judgment.
                  SUMMARY ORDER
                                                                   (Dkt. No. 134.) Accordingly, the R&R, is adopted in its
Gary L. Sharpe, U.S. District Judge                                entirety, and the complaint is dismissed.

 *1 On June 30, 2020, Magistrate Judge Daniel J. Stewart           Accordingly, it is hereby
issued a Report-Recommendation and Order (R&R), which
recommends that defendant Blair's motion for summary               ORDERED that the Report-Recommendation and Order
judgment be granted, and that plaintiff pro se Gabriel             (Dkt. No. 134) is ADOPTED in its entirety; and it is further
Gilmore's complaint, (Dkt. No. 1, Compl.), be dismissed.
(Dkt. No. 134.) Pending before the court are Gilmore's             ORDERED that Blair's motion for summary judgment (Dkt.
                       1                                           No. 102) is GRANTED; and it is further
objections to the R&R. (Dkt. No. 137.)

1                                                                  ORDERED that Gilmore's              complaint    (Compl.)     is
       After Judge Stewart issued the R&R, Gilmore filed
                                                                   DISMISSED; and it is further
       a supplement to his response in opposition to Blair's
       motion for summary judgment. (Dkt. No. 135.)
                                                                   ORDERED that the Clerk close this case; and it is further
       Gilmore was already afforded an extension of time
       to respond, (Dkt. No. 117), and he did, in fact, file
                                                                   ORDERED that the Clerk provide a copy of this Summary
       a response in opposition, (Dkt. No. 115), which
                                                                   Order to the parties.
       was considered by Judge Stewart, (Dkt. No. 134).
       As such, the opportunity to file a supplement has
       long since passed, and the late supplement will             IT IS SO ORDERED.
       not be considered. As to Gilmore's letter filed
       on September 24, 2020, (Dkt. No. 139), which                All Citations
       is construed as a request for a status update on
       his case, the court believes this Summary Order             Not Reported in Fed. Supp., 2020 WL 5775203
       squarely addresses his request.


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                                                                       Properties v. Pine Run Ltd., 1991 WL 280719, at *7 (S.D.N.Y.
                                                                       Dec. 26, 1991). Due to the complexity of the action and the
     KeyCite Yellow Flag - Negative Treatment                          number of claims being brought by plaintiff, the Court elects
Declined to Extend by DeJesus v. City of New York, S.D.N.Y., October
                                                                       to review the entire case de novo. For reasons to be explained
28, 2014
                                                                       below, defendants' motion to dismiss is granted in part and
                    2006 WL 851753                                     denied in part. 1
      Only the Westlaw citation is currently available.
               United States District Court,                           1       The Report also recommended the dismissal of
                     S.D. New York.                                            plaintiff's claims for excessive force and for
                                                                               conspiracy. On the face of the complaint, plaintiff
               Brandon HOLMES, Plaintiff,
                                                                               is not bringing either an excessive force claim and
                             v.
                                                                               or a § 1983 conspiracy claim. Even if plaintiff's
      Correction Officer J. GRANT et al., Defendants.
                                                                               complaint was liberally interpreted to be attempting
                                                                               to state a conspiracy claim, he has not made
                   No. 03 Civ. 3426 RJH RLE.
                                                                               any nonconclusory allegations establishing that
                                |
                                                                               there was an agreement between multiple state
                        March 31, 2006.
                                                                               actors to deprive him of his civil rights. See
                                                                               Brewster v. Nassau County, 349 F.Supp.2d 540,
                                                                               547 (citing Sommer v. Dixon, 709 F.2d 173, 175
         MEMORANDUM OPINION AND ORDER
                                                                               (2d Cir.1983)) (noting that in order to make out
HOLWELL, J.                                                                    a conspiracy claim, plaintiff must allege (1) an
                                                                               agreement between two or more state actors or
 *1 Plaintiff Brandon Holmes, currently incarcerated in                        between a state actor and a private entity (2) to
Southport Correctional Facility (“Southport”), brings a pro                    act in concert to inflict an unconstitutional injury;
se complaint under 42 U.S.C. § 1983 (2000), seeking                            and (3) an overt act done in furtherance of that
monetary damages and declaratory and injunctive relief                         goal, and causing some harm); see also Walter v.
against defendants James Grant et al., corrections officers,                   Jastremski, 430 F.3d 560, 564 n. 5 (2d Cir.2005)
staff, and prison superintendents of the New York State                        (citing Ciambriello v. County of Nassau, 292 F.3d
Department of Correctional Services (“DOCS”), alleging                         307, 325 (2d Cir.2002)) (“[C]onclusory or general
violation of his constitutional rights. According to a liberal                 allegations are insufficient to state a claim for
reading of plaintiff's pro se pleadings, plaintiff alleges denial              conspiracy under § 1983....”).
of due process, cruel and unusual punishment, malicious
prosecution, and retaliation. Defendants William Kivett, A.
Baker, J. Smith, Brian Sweeney, Daniel Connolly, Matt                                         BACKGROUND
Mullin, Kenneth Colao, James Grant, J. Decklbaum, David
                                                                       Plaintiff has set forth extensive factual allegations in his
Miller, Superintendent Eisensmidt, Officer McCreery, and
                                                                       complaint, which the Court shall accept as true for the
William P. Scott have filed a motion to dismiss all claims
                                                                       purposes of this 12(b)(6) motion. In addition, both parties
or, in the alternative, to transfer any claims not dismissed
                                                                       have submitted a number of exhibits. The Court takes
to the Northern District of New York. On October 25,
                                                                       judicial notice of those exhibits that constitute public records.
2005, Magistrate Judge Ronald L. Ellis issued a Report
                                                                       Fed.R.Evid. 201; see also Chambers v. Time Warner, 282 F.3d
and Recommendation (the “Report”) recommending that this
                                                                       147, 153 (2d Cir.2002).
Court grant defendants' motion to dismiss all of plaintiff's
claims.
                                                                       1. The July 2000 Shawangunk Hearing
Under 28 U.S.C. § 636(b)(1) and Fed.R.Civ.P. 72(b), this               Plaintiff's lengthy story begins on June 29, 2000.
Court is required to undertake a de novo review of those               While confined at the Shawangunk Correctional Facility
portions of the Report to which specific written objections            (“Shawangunk”), plaintiff was involved in a fight with several
have been made. The Court, in its discretion, may also                 correction officers and was administratively charged with,
undertake a de novo review of the entire case. See Pine Run


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inter alia, an assault on six of them, including defendants
Ryan, Bertone, Kivett, and McCreery. (Amend.Compl.¶¶ 20,
70.) A disciplinary hearing was scheduled to commence on              2. Shawangunk SHU Confinement from June through August
July 5, 2000. (Id. ¶ 21.)                                             2000
                                                                      In the SHU, inmates are confined to their cells for twenty-
From June 29 to the conclusion of the hearing on July 21,             three to twenty-four hours of the day. (Id. ¶ 62.) Plaintiff
plaintiff was held in the Shawangunk Special Housing Unit             alleges that SHU confinement is also noisy, unhygienic, and
(“SHU”). (Id. ¶ 46.) On June 29, defendant Connolly ordered           inmates throw feces as weapons. (Id.) SHU places a number
that plaintiff be placed in “mechanical restraint,” consisting        of substantial restrictions on inmate privileges, including,
of handcuffs and leg irons, whenever he left his cell, and            inter alia, visitation with family being conducted behind
be placed on exercise deprivation, resulting in plaintiff being       plexiglass instead of “full-contact” visitation, limited exercise
confined to his cell for twenty-four hours a day. (Id. ¶¶ 23,         and rehabilitation opportunities, and the denial of televisions,
63.) In these June 29 orders, Connolly concluded that plaintiff       radios and the like. (Id. ¶¶ 64-69.)
“assault[ed] ... staff resulting in injuries to 2 sergeants and 3
officers.” (Id. ¶ 23; Pl.'s Aff., Ex. 1.) These orders remained       Plaintiff, first confined to the Shawangunk SHU on June 29
in effect until approximately July 11. (Amend.Compl.¶ 23.)            pending the Shawangunk hearing, continued to be confined
                                                                      there following its verdict. (Id. ¶ 46.) SHU prisoners are
 *2 The hearing began on July 5, with Connolly acting as              normally given some privileges if they successfully complete
hearing officer. (Id. ¶ 21.) Plaintiff objected to Connolly           thirty days of “good behavior,” but plaintiff alleges that
acting as the hearing officer, since he was the same official         Connolly falsified his records to deny him these privileges.
who had ordered plaintiff's restraints and exercise deprivation       (Id. ¶ 45.) Frustrated by this, plaintiff, by his own admission,
and was allegedly predisposed against plaintiff. (Id. ¶ 24.)          received two inmate misbehavior reports (“IMRs”) for
Connolly declined to recuse himself. (Id.) Plaintiff alleges          incidents on August 10 and August 15. (Id. ¶ 45; Defs.' Aff.
that Connolly conducted the hearing in a biased and unfair            Ex. A, at 5.) Plaintiff was sentenced to thirty days of SHU
manner and introduced evidence after the close of the hearing         confinement and thirty days of “keeplock” confinement as a
that was used to support his determination of plaintiff's guilt.      result of these two IMRs. 2 (Defs.' Aff. Ex. A, at 5.) Plaintiff
(Id. ¶¶ 25, 42.) Plaintiff also alleges that Connolly “distorted”     does not deny the bad conduct underlying these two IMRs
his mother's testimony (id. ¶ 27); did not properly weigh             or claim that the subsequent disciplinary hearings for these
the fact that photos of plaintiff, showing his alleged injuries,      IMRs denied him due process.
were of poor quality (id. ¶ 28); and refused to acknowledge a
defense of justification (id. ¶ 29). Plaintiff further alleges that   2       Plaintiff uses the term “keeplock” to refer to
Connolly refused to allow plaintiff assistance from a prison                  conditions where inmates are confined for twenty-
counselor for a surprise witness that Connolly called (id. ¶ 36)              three hours a day in a general population housing
and refused to allow plaintiff to call any witnesses, claiming                unit cell. (Amend.Compl.¶ 149.)
that they would be redundant (id. ¶¶ 38, 44).
                                                                       *3 On August 30, plaintiff was transferred briefly to the
Because he was confined in the SHU, plaintiff was unable              Downstate Correctional Facility (“Downstate”) before being
to marshal evidence for his defense. Plaintiff was assisted           transferred to Southport's SHU. (Id. ¶ 46.) At Southport,
in his preparations for the hearing by Correction Counselor           plaintiff was under a “restraint” order, and forced to wear
Chapperino. (Id. ¶ 31) According to plaintiff, however,               handcuffs and waist chains, including during exercise periods.
Chapperino provided little to no assistance. Chapperino, inter        (Id. ¶¶ 48-49.)
alia, refused to retrieve documents for plaintiff, claiming
that they were irrelevant (id.) and not only did not interview
                                                                      3. The August 2000 Shawangunk IMRs
witnesses on plaintiff's behalf but actively pressured and
                                                                      On September 18, 2000, the sentence arising out of the June
threatened witnesses not to testify (id. ¶ 33).
                                                                      29 Shawangunk incident was reversed and a new hearing was
                                                                      ordered on the grounds that the hearing officer, Connolly, had
Plaintiff was ultimately found guilty at the hearing on July 21
                                                                      been involved in “pre-hearing assessment” of plaintiff when
and sentenced to five years in the SHU, a $99 restitution fee,
                                                                      he issued the restraint and exercise deprivation orders. (Id. ¶¶
and loss of miscellaneous privileges. (Id. ¶ 41.)
                                                                      117-18; Pl.'s Aff., Ex. 5.) Plaintiff, however continued to be


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confined in Southport SHU, to begin serving the sentences           (“IGP”); the prison superintendent, defendant Miller; and the
received for the two August IMRs. (Amend. Compl. ¶ 48;              DOCS Central Office Review Committee (“CORC”), but his
Defs.' Aff. Ex. A, at 5.)                                           requests to have the lights turned off were denied. (Id. ¶¶ 54,
                                                                    61; Pl. Aff., Ex. 8.) These conditions continued for thirty-
Plaintiff was transferred to the Eastern Correctional Facility      five days until plaintiff was transferred on November 1, 2000.
(“Eastern”) SHU on September 25. (Amend.Compl.¶ 52.)                (Amend.Compl.¶ 61.)
Plaintiff continued to be confined at Eastern until he was
transferred on November 1. (Id. ¶ 61.) Between November 1
and November 7, plaintiff was confined for some time at both        5. The Defendants' Filing of Criminal Assault Charges
Downstate and Southport. (Id. ¶¶ 61, 119.) Sometime during           *4 On July 8, 2000, the six officers involved in the June
the first week of November, DOCS officials decided not to           29, 2000 incident at Shawangunk filed a felony complaint
hold a second administrative hearing against plaintiff for the      for charges of assault in the second degree against plaintiff
June 29 Shawangunk incident. (Id . ¶ 119)                           in Ulster County. (Id. ¶ 70; Pl. Aff., Ex. 5(b).) On August
                                                                    15, 2000, plaintiff was arraigned on six counts of assault in
On November 7, 2000, plaintiff was transferred to the Sing          the second degree. (Amend.Compl.¶ 98.) In October 2000,
Sing Correctional Facility (“Sing Sing”). (Id. ¶ 120.) Plaintiff    the six officers testified before the grand jury. (Id. ¶¶ 99,
alleges that he was supposed to be released into the general        109.) Plaintiff alleges that defendants Kivett and McCreery
population but was instead kept under keeplock status. (Id. ¶       perjured themselves before the grand jury. (Id. ¶¶ 71, 99, 111.)
121.) Prison records show, however, that this keeplock time         Plaintiff does not allege that defendants Ryan and Bertone
was the remainder of the sentence that plaintiff was serving        committed perjury. (See id. ¶ 109.) Plaintiff chose to testify
for the August IMRs. (Defs.' Aff. Ex. A, at 5.) Plaintiff           before the grand jury on October 12 and October 19, 2000;
complained to a corrections officer and filed a grievance           he was forced to do so while wearing mechanical restraints.
through the DOCS inmate grievance program protesting his            (Id. ¶ 107.) The grand jury indicted plaintiff for the Ryan
keeplock status. (Id. ¶ 125.) On November 17, plaintiff             and Bertone assaults but dismissed the other four charges of
was released from keeplock confinement. (Id. ¶ 126.) At a           assault. (Id. ¶ 100.) Plaintiff alleges that the grand jury was
grievance hearing, plaintiff claims he was told that he had         not properly instructed on self-defense and that, had they been
“pissed somebody off” and that that was the cause for his           so instructed, he would not have been indicted on any counts.
                                                                    (Id. ¶ 110.)
confinement. (Id. ¶ 127.) 3

3                                                                   6. The December 2000 Sing Sing IMR for Mess Hall
        Plaintiff was sentenced to thirty days SHU time
        and thirty days keeplock time as a result of the            Violations
        August IMRs. As indicated here, he actually spent           On December 17, 2000, defendant Deckelbaum filed an IMR
        more than thirty days in the SHU, from September            against plaintiff for loss/damage of property, failing to have an
        18 through October 31. Part of this SHU time                identification card, mess hall violations, and impersonation.
        was administrative confinement because he had to            (Id. ¶ 130.) Plaintiff alleges that this IMR was a false
        testify in front of the grand jury for his criminal         accusation. (Id.) Plaintiff admits that he did not have his
        assault charges. (See Amend. Compl. ¶ 104.)                 identification card and acknowledges that he had an extra
                                                                    food ration but maintains that he received it from his neighbor.
4. The Twenty-Four Hour Lighting in Eastern SHU                     (Id. ¶¶ 127, 134.) On December 22, plaintiff was sentenced to
As noted, plaintiff was confined in the Eastern SHU between         “counsel and reprimand,” with no disciplinary sentence, for
September 25 and October 31, 2000. (Id. ¶ 53.) The Eastern          this IMR. (Id. ¶ 132.) Sometime within the week, Deckelbaum
SHU has a policy of leaving cell lights on twenty-four              warned plaintiff that next time he would not be so “lucky” and
hours a day. (Id. ¶ 54.) Plaintiff alleges that he could not        that he would “get [his].” (Id. ¶ 133.) Plaintiff alleges that he
sleep and suffered injury as a result of this policy, including     filed a grievance about Deckelbaum in December but that the
fatigue, loss of appetite, migraine headaches, and a “violent       grievance was never processed. (Id. ¶ 135.)
aggravation of rashes.” (Id. ¶ 55.) Plaintiff sought medical
treatment for his conditions on October 10. (Id. ¶ 56.) Plaintiff
                                                                    7. The March 2001 Sing Sing IMR
complained to correction officers and filed administrative
grievances through the DOCS Inmate Grievance Program


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On March 1, 2001, plaintiff was involved in a fight with             156.) On May 18, 2001, plaintiff was charged with fighting,
another inmate named LaFontaine and charged with an IMR              again with LaFontaine (the “Five Points IMR”). (Id. ¶ 158.)
(the “Sing Sing IMR”). (Id. ¶ 138.) Plaintiff maintains that this    Plaintiff alleges that defendant Sweeney approached him,
was a one-on-one fight but that defendant Grant exaggerated          ostensibly to investigate the allegations, but instead warned
the IMR filed against him, accusing him of “double-teaming”          plaintiff that he would “get all of [his] time owed here.” (Id.
LaFontaine with another inmate. (Id. ¶ 139.) Plaintiff alleges       ¶¶ 159-60.) At the hearing, held on May 21, plaintiff pled not
that he asked Grant why he had falsified the IMR, to which           guilty to all charges and intimated that he was the victim of
Grant replied that plaintiff “pissed some real serious people        a “set-up.” (Id. ¶ 162.) Read liberally, plaintiff's complaint
off.” (Id. ¶ 142.) At a hearing held on March 7, plaintiff           alleges that he never fought with LaFontaine the second
pled guilty to fighting but maintained that he did so one-           time at all and that defendants fabricated the charge. (Id.)
on-one. (Id. ¶ 140.) The hearing official, defendant Colao,          The hearing officer, defendant Rich, did not allow plaintiff
found plaintiff guilty of both fighting and the “double-team”        to call witnesses or present evidence. (Id. ¶ 163.) On May
assault and sentenced plaintiff to a ninety-day keeplock             25, plaintiff was found not guilty of fighting LaFontaine but
sentence and the loss of nine months of “good time” credit.          found guilty of violent conduct. (Id. ¶ 164.) Plaintiff was
(Id. ¶¶ 146-47.) Plaintiff alleges that Colao made off-the-          sentenced to ninety-day SHU confinement and the loss of
record remarks that plaintiff liked “knocking staff around,”         ninety days of “good time” credit. (Id. ¶ 166.)
purportedly in reference to the June 29, 2000 Shawangunk
incident. (Id. ¶ 148.)                                               4       The date differs in two different paragraphs of the
                                                                             complaint.
8. The March 2001 Conversion of Plaintiff's Keeplock                 Plaintiff alleges that he served nearly sixty days in the SHU as
Sentence to SHU Confinement                                          a result of this incident, although it is not clear from the face
 *5 On March 19, 2001, plaintiff was transferred from the            of the complaint when this SHU sentence began or ended and
keeplock sentence he was serving at Shawangunk to the                how much of that time was administrative confinement and
Upstate SHU. (Id. ¶¶ 144, 149.) Plaintiff alleges that his           how much of it was punitive. (Id.) The results of the May 25
sentence of keeplock confinement was changed to harsher              hearing were reversed and expunged on July 13, 2001. (Id.)
SHU confinement out of retaliation. (Id. ¶¶ 149-52.) At
Upstate, plaintiff was confined in his cell with another
prisoner for twenty-four hours a day (Id. ¶ 149), presumably         10. Denial of Access to Courts
until he was again transferred on May 17.                            Upon his sentencing for the Five Points IMR, plaintiff
                                                                     requested to return to his general population cell in order to
Upon his arrival at Upstate, defendant Kivett allegedly came         separate his legal material from his cellmate's property. (Id. ¶
up to plaintiff, asked him how he “beat the ticket” as to            170.) Defendant Mullen told plaintiff that he could not return
the June 2000 Shawangunk incident, and threatened him.               to his cell for any purpose whatsoever. (Id. ¶ 171.) As a result,
(Id. ¶¶ 72-73.) Plaintiff's property was held for eight days         plaintiff's trial transcript for his original murder conviction
following plaintiff's transfer to Upstate and, when ultimately       was lost. (Id. ¶ 172.) Plaintiff alleges that he exhausted his
returned to plaintiff, was covered in pancake syrup. (Id. ¶          grievances as to this matter and filed a complaint with Inmate
74.) Plaintiff alleges that correction officials implied that this   Claims. (Id. ¶ 173.) The trial transcript was never located. (Id.)
was in retaliation for assaulting Kivett. (Id.) Plaintiff states
further that, on April 30, 2001, prison officials gave him his        *6 On June 18, 2001, plaintiff began his trial for the
meal without the standard veal ration, again in retaliation. (Id.    Ryan and Bertone assaults stemming from the June 2000
¶¶ 76-77.) Plaintiff alleges that he filed a grievance with the      Shawangunk incident. (Id. ¶ 80.) Defendant Kivett testified
IGP about the food and syrup incidents, linking the two as           against plaintiff at his trial. (Id.) Plaintiff was acquitted of all
continued retaliation, but that it was never received by the         charges. (Id.)
grievance committee. (Id. ¶ 78.)
                                                                     On July 11, 2001, plaintiff was transferred back to Upstate.
                                                                     (Id. ¶ 81.) Plaintiff alleges Kivett came up to plaintiff, said
9. The May 2001 Five Points IMR                                      that “you beat us again” in reference to plaintiff's successful
On either May 11 or 17, 2001, 4 plaintiff was transferred to the     defense against the assault charges, and intimated there would
Five Points Correctional Facility (“Five Points”). (Id. ¶¶ 80,       be further retaliation. (Id. ¶ 82.) On July 14, when plaintiff


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went to receive his property that had been shipped to him from
his previous prison, he noticed that some of his legal material
                                                                                              DISCUSSION
was missing. (Id. ¶ 83.) Plaintiff therefore refused to sign the
prison property inventory forms. (Id.) Plaintiff alleges that the       *7 Plaintiff's numerous claims are addressed below. After
same correction officer who was involved in the missing food           resolving the issue of exhaustion, the Court will address the
incident in April 2001 told him that this was “Kivett's problem        claims in the order laid out in the original complaint.
now,” implying that Kivett was the “puppeteer” behind these
acts of retaliation. (Id. ¶ 85.)
                                                                       1. Exhaustion of Administrative Remedies
On July 24, 2001, plaintiff was transferred to the Clinton             As plaintiff is a prison inmate, he is barred by the Prison
Correctional Facility (“Clinton”). (Id. ¶ 89-90.) Upon his             Litigation Reform Act (“PLRA”) from bringing federal
departure, plaintiff alleges that defendant Smith asked                claims “until such administrative remedies as are available
plaintiff if he believed that Kivett would “miss [him].” (Id.          are exhausted.” 42 U.S.C. § 1997e(a) (2000). Inmates in
¶ 89.) Plaintiff's property was not distributed to him because         New York State are subject to the Inmate Grievance Program
he did not sign the inventory forms at Upstate. (Id. ¶ 90.)            instituted by the Department of Correctional Services
When plaintiff finally received his property one week later,           (“DOCS”). Hemphill v. New York, 380 F.3d 680, 682 (2d
he received only four out of his eight property bags. (Id. ¶ 91.)      Cir.2004); see also N.Y. Comp.Codes R. & Regs. tit. 7, §
Plaintiff alleges that defendants Kivett, Smith, and Comstock          701.1. Inmates must file any grievance with a Grievance
threw away plaintiff's legal material. (Id. ¶¶ 83, 86, 93.)            Clerk within fourteen calendar days of the alleged incident,
Plaintiff identifies the specific legal material that was stolen or    although “mitigating circumstances” may toll the deadline.
destroyed and alleges that the loss of this material prevented         N.Y. Comp.Codes R. & Regs. tit 7, § 701.7(a)(1). The
him from filing a renewal motion to stop the clock for the             grievance is then subject to review by an Inmate Grievance
purposes of the Antiterrorism and Effective Death Penalty Act          Resolution Committee (“IGRC”). Id. § 701.7(a)(3)-(4). If
in a timely manner, presumably for a habeas petition. (Id. ¶           unsatisfied with the result, inmates can appeal to the facility
94.)                                                                   superintendent and, subsequently, to the Central Office
                                                                       Review Committee (“CORC”) for a final administrative
Sometime between July 11 and 24, plaintiff was informed that           determination. Id. § 701.7(b)-(c).
the grievance he filed about the food and syrup incidents was
never received by the grievance committee. (Id. ¶ 95.) On              In order for such grievances to constitute an exhaustion of
August 10, 2001, plaintiff re-filed this grievance at Upstate          state claims, grievances must be specific, not generalized:
by mail and further grieved the loss and destruction of his            “[I]nmates must provide enough information about the
property. (Id.; see also Pl.'s Aff., Ex. 21 at 4-7.)                   conduct of which they complain to allow prison officials to
                                                                       take appropriate responsive measures.” Johnson v. Testman,
On August 30, 2001, plaintiff's grievance was rejected on the          380 F.3d 691, 697 (2d Cir.2004). Strict adherence to the
grounds that he was no longer a prisoner of Upstate and had            DOCS three-tiered system is not required, however, provided
to file grievances at his current facility. (Amend. Compl. ¶ 96;       that plaintiff has utilized remedies sufficient to put the
see also Pl.'s Aff., Ex. 21 at 9.) Plaintiff re-filed this grievance   defendants on notice. Id. (citing Porter v. Nussle, 534 U.S.
with the Clinton IGP. (Amend. Compl. ¶ 96; see also Pl's Aff.,         516, 524-25 (2002)) (noting that the purpose of the grievance
Ex. 21 at 10-14.) The grievance committee rejected his claim           requirement is to put defendants on notice so that they
for the legal papers, directing him to file with Inmate Claims.        have an opportunity to address complaints and holding
(Pl.'s Aff., Ex. 21 at 15-17.)                                         that “[u]ncounselled inmates navigating prison administrative
                                                                       procedures without assistance cannot be expected to satisfy a
Aside from the specific grievances mentioned above, plaintiff          standard more stringent than that of notice pleading” in filing
further alleges that he has grieved all incidents and exhausted        grievances); see also Braham v. Casey, 425 F.3d 177, 183 (2d
all of his administrative remedies in a “blanket” grievance            Cir.2005) (citing same).
allegation. (Amend. Compl. at D.)
                                                                       Exhaustion under the PLRA is not a jurisdictional question;
                                                                       failure to exhaust is an affirmative defense that is waiveable.
                                                                       Richardson v. Goord, 347 F.3d 431, 434 (2d Cir.2003);



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Jenkins v. Haubert, 179 F.3d 19, 28-29 (2d Cir.1999). As such,
the burden is on the defendant of proving plaintiff's failure
to exhaust his administrative remedies. See, e.g., Hallet v.          a. Is There a Protected Liberty Interest?
New York State Dep't of Corr. Svcs., 109 F.Supp.2d 190, 197        In analyzing plaintiff's claim, the Court must first examine
(S.D.N.Y.2000); Warren v. Purcell, 2004 WL 1970642, at *5          whether he had any liberty interest in avoiding SHU
n. 8 (S.D.N.Y. Sept. 3, 2004) (“It bears emphasis that it is       confinement. Plaintiff has no right to due process unless a
not the plaintiff's burden to plead the elements of exhaustion     liberty interest has been infringed. Palmer v. Richards, 364
in the complaint itself, but rather, the defendant's burden to     F.3d 60, 64 (2d Cir.2004) (citing Scott v. Albury, 156 F.3d
raise and prove failure to exhaust in its answer or motion to      283, 287 (2d Cir.1998) (per curiam)). A prisoner's liberty
dismiss.”). Mere conclusory statements by a defendant that         interest is implicated by prison discipline, such as SHU
an inmate has failed to exhaust his remedies is insufficient       confinement, only when the discipline imposes an “atypical
to meet this burden. Hallet, 109 F.Supp.2d at 197; see also        and significant hardship” on the inmate in relation to the
Gonzales v. Officer in Charge of Barber Shop, 2000 WL              ordinary incidents of prison. Id. (citing Sandin v. Conner,
274184, at *3 (S.D.N.Y. Mar. 13, 2000) (declining to dismiss       515 U.S. 472, 484 (1995)). Factors relevant to determining
on grounds of exhaustion because premature at motion to            whether the plaintiff endured an “atypical and significant
dismiss stage to resolve dispute between parties as to whether     hardship” include “the extent to which the conditions of
exhaustion was necessary and/or achieved); Nicholson v.            the disciplinary segregation differ from other routine prison
Murphy, 2003 WL 22909876, at *6 (D.Conn. Sept. 19, 2003)           conditions” and “the duration of the disciplinary segregation
(“By characterizing non-exhaustion as an affirmative defense,      imposed compared to discretionary confinement.” Id. (citing
the Second Circuit suggests that the issue of exhaustion is        Wright v. Coughlin, 132 F.3d 133, 136 (2d Cir.1998)). A
generally not amenable to resolution by way of a motion to         plaintiff's administrative and punitive confinement should be
dismiss. Rather, the defendants must present proof of non-         aggregated for the purposes of determining the duration of the
exhaustion.”). Furthermore, if a complaint has both exhausted      disciplinary segregation. See Sealy v. Giltner, 197 F.3d 578,
claims and unexhausted claims, only the unexhausted claims         587 (2d Cir.1999).
should be dismissed. Contrary to defendants' argument, the
presence of unexhausted claims does not require the Court to       In general, a prisoner has no protected liberty interest
dismiss the complaint in its entirety. Ortiz v. McBride, 380       in avoiding normal SHU confinement that lasted less
F.3d 649, 663 (2d Cir.2004).                                       than 101 days. See id. at 589-90. If SHU conditions are
                                                                   especially harsh, however, confinement for less than 101
 *8 The defendants have moved to dismiss four of                   days can implicate a liberty interest. See Palmer, 364 F.3d
plaintiff's claims on the grounds that he has not exhausted        at 64-65 (2d Cir.2004) (“[W]e have explicitly noted that
administrative remedies: the claim for malicious prosecution,      SHU confinements of fewer than 101 days could constitute
the claims arising out of the August 2000 IMRs, and the            atypical and significant hardships if the conditions were more
claims arising out of the pancake syrup and veal incidents.        severe than the normal SHU conditions of Sealey or a more
The defendants have not, however, attached any evidence            fully developed record showed that even relatively brief
refuting plaintiff's allegation that he has exhausted all of       confinements under normal SHU conditions were, in fact,
his administrative remedies. The defendants' conclusory            atypical.”) (citing Ortiz v. McBride, 323 F.3d at 195 & n .1).
statements, absent more, are insufficient to meet their burden.
As such, the Court declines to dismiss any of plaintiff's claims    *9 Plaintiff was confined in the SHU from June 29 to
for failure to exhaust.                                            September 18, 2000 for events related to the July 2000
                                                                   Shawangunk hearing. Plaintiff's confinement from September
                                                                   18 onwards was for the separate August 2000 IMRs filed
2. Denial of Due Process: The July 2000 Shawangunk                 by separate officers. While the Second Circuit has held that
Hearing                                                            SHU confinement can be aggregated, defendant Connolly
Plaintiff brings a claim against defendant Connolly for            cannot be held responsible for aggregated SHU time unrelated
depriving him of liberty without due process of law. Plaintiff     and subsequent to his actions. 5 See Sealy, 197 F.3d at 587
alleges that his confinement in the SHU deprived him of a          (“With regard to the durational aspect of the atypicality
protected liberty interest and that the hearing held from July     issue, we must focus only on the interval during which
5 through July 21, 2000 was so manifestly unfair as to be a        [the defendant] is responsible, since, on this appeal, it is
deprival of due process.


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his alleged denial of procedural due process for which           significant,” and therefore the Court cannot say that there was
[plaintiff] seeks [damages].”) As the sentence attributable to   no infringement of a liberty interest as a matter of law. 8
defendant Connolly was only eighty-one days, below the 101-
day threshold, this confinement does not implicate a liberty     7
                                                           6
                                                                        Plaintiff does allege that prisoners confined in the
interest, so long as the SHU confinement was “normal.” See              SHU who successfully complete thirty days of
Ortiz, 380 F.3d at 655.                                                 “good behavior” usually receive more privileges
                                                                        (Amend.Compl.¶ 45) and that due to falsification
5                                                                       of reports by defendant Connolly, plaintiff did
       While plaintiff theoretically has a liberty interest in
       avoiding the confinement imposed after September                 not receive these “good behavior” privileges.
       18, 2000, for the separate IMRs he received in                   Even assuming that prisoners generally do get
       August, plaintiff has made no allegations that he                increased SHU privileges after thirty days, these
       was deprived of due process as to those incidents                SHU privileges do not constitute a protected liberty
       and has not named any of the officers involved with              interest for the purposes of due process. Farid v.
       those incidents as defendants in this action.                    Ellen, 2006 WL 59517, at *6 (S.D.N.Y. Jan. 11,
6                                                                       2006).
       The Second Circuit, without delineating the
       full scope of what constitutes “normal” SHU               8      While the Second Circuit held that eighteen days
       conditions, has stated that conditions in which                  of SHU confinement without exercise did not
       prisoners “are kept in solitary confinement for                  constitute a protected liberty interest in Arce v.
       twenty-three hours a day, provided one hour of                   Walker, 139 F.3d 329, 336 (2d Cir.1998), that
       exercise in the prison yard per day, and permitted               case was decided on summary judgment where
       two showers per week” are considered normal.                     “[t]he district court ... sufficiently examined the
       Ortiz, 380 F.3d at 655.                                          circumstances of Arce's segregation and articulated
Plaintiff has made no cognizable allegations that his                   the facts on which its conclusion was predicated.”
confinement from July 11 to September 18, 2000, was not
                                                                    b. Was There a Deprivation of Due Process?
“normal.” 7 He does allege that his confinement from June
                                                                 Even if plaintiff has a protected liberty interest, in order to
29 to July 11, 2000, was abnormal, however, in that he was
                                                                 survive defendant's 12(b)(6) motion, plaintiff must also allege
denied exercise time and confined to his cell for twenty-
                                                                 that defendant imposed this sentence without providing due
four hours a day and was forced to wear handcuffs and leg
                                                                 process. Ortiz, 380 F.3d at 655. Plaintiff alleges that he was
irons whenever he left his cell. (Amend. Compl. ¶¶ 23, 63;
                                                                 denied due process because: defendant Connolly was a biased
Pl. Aff., Ex. 1.) The fact that he was confined in his cell
                                                                 officer who had predetermined plaintiff's guilt, plaintiff
for twenty-four hours a day for thirteen days and forced to
                                                                 was denied competent employee assistance in preparing his
wear restraints whenever he left his cell may be sufficient to
                                                                 defense, plaintiff was not allowed to call witnesses, and
establish that his confinement was “atypical and significant”
                                                                 plaintiff was not allowed to “comment on the evidence.”
and thus implicates a liberty interest. See Ortiz, 380 F.3d
at 651, 654 (finding that plaintiff's allegation that he was,
                                                                  *10 An inmate's right to assistance is limited, and an inmate
inter alia, confined in his SHU cell for twenty-four hours a
                                                                 has no right to full counsel. Silva v. Casey, 992 F.2d 20, 22
day for the first three weeks of a ninety-day confinement,
                                                                 (2d Cir.1993) (per curiam). In situations when an inmate is
was not permitted an hour of daily exercise, and was denied
                                                                 unable to “marshal evidence and present a defense,” however,
regular showers stated “a hardship sufficiently ‘atypical and
                                                                 such as when he is confined to an SHU, he has the right to
significant’ to survive a motion to dismiss”); Palmer, 364
                                                                 some assistance. Id. (citing Eng v. Coughlin, 858 F.2d 889,
F.3d at 62, 66 (plaintiff who was confined in the SHU for
                                                                 898 (2d Cir.1988)). Such assistance should, at least, include
seventy-seven days and was deprived of personal effects,
                                                                 gathering evidence, obtaining documents and relevant tapes,
mechanically restrained whenever he was taken outside of
                                                                 and interviewing witnesses. Eng, 858 F.2d at 898.
his cell, and not allowed to have family visitations, survived
a motion for summary judgment). Absent a further factual
                                                                 Here, plaintiff was confined in the SHU pending his
record, it cannot be said that the conditions plaintiff was
                                                                 hearing and therefore was entitled to employee assistance.
subject to from June 29 to July 11 were not “atypical and
                                                                 In his complaint, plaintiff alleges that his assistant refused


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to retrieve documents for him on the grounds that they
were irrelevant. Furthermore, not only did his assistant not          *11 Here, Connolly originally sentenced plaintiff to a five-
interview witnesses, plaintiff alleges that his assistant actively   year sentence in the SHU. (Amend.Compl.¶ 41.) A five-
pressured and threatened witnesses not to testify. If true,          year sentence clearly triggers due process protection, and
this certainly falls short of the required level of employee         Connolly should clearly have known that plaintiff's liberty
assistance and, as such, implies that plaintiff was denied due       interests were at stake. See Palmer, 364 F.3d at 67 (citing
process.                                                             Hanrahan, 331 F.3d at 99 (stating that no “credible argument”
                                                                     could be made that it was not “clearly established” that a ten-
An inmate also has a right to call witnesses, and a hearing          year solitary confinement disciplinary sentence would trigger
officer “may not refuse to interview an inmate's requested           due process protections); Tellier v. Fields, 280 F.3d 69, 85
witness without assigning a valid reason.” Ayers v. Ryan, 152        (2d Cir.2000) (finding it was objectively unreasonable to
F.3d 77, 81 (2d Cir.1998) (citing Fox v. Coughlin, 893 F.2d          confine the plaintiff in SHU for 514 days without providing
475, 478 (2d Cir.1990) (per curiam)). The burden is not on           due process and that officials were therefore not entitled
the plaintiff to show that the official's conduct was “arbitrary     to qualified immunity)). Furthermore, it will be defendant's
and capricious” but is on the hearing officer to prove that the      burden to show the nonexistence of a clearly established right
denial of witnesses is “logically related to preventing undue        and his entitlement to qualified immunity, Palmer, 364 F.3d
hazards to ‘institutional safety or correctional goals.” ’ Fox,      at 67 (citing Tellier, 280 F.3d at 84), so dismissal on this basis
893 F.2d at 478. Where, as here, plaintiff allegedly sought          would be premature on a motion to dismiss.
to present witnesses to contradict his accusers' account of
events, the hearing officer is not permitted to exclude them
on grounds of redundancy without an interview and some                  d. Conclusion
showing that their testimony would have been redundant. Id.          A court may dismiss claims under Rule 12(b)(6) “only if it is
As such, the denial of witnesses at plaintiff's hearing may be       clear that no relief could be granted under any set of facts that
shown to have violated due process.                                  could be proved consistent with the allegations.” Ruiz v. E.J.
                                                                     Elec. Co., 2005 WL 3071276, at *2 (S.D.N.Y. Nov. 15, 2005).
It has “long been established” that an inmate has the right          As plaintiff has alleged conditions of his SHU confinement
to an impartial hearing officer. Black v. Coughlin, 76 F.3d          that may give rise to a protected liberty interest and has
72, 76 (2d Cir.1996). Given the alleged conduct of defendant         alleged facts that establish that his disciplinary hearing may
Connolly during the hearing, coupled with the fact that he was       have violated due process, plaintiff has made out a cognizable
the same officer who had ordered the mechanical restraints           claim. As such, the defendants' motion to dismiss due process
and exercise deprivation before the hearing began, there is at       claims arising out of the July 2000 Shawangunk hearing is
least an inference of bias that plaintiff should be given the        denied.
opportunity to prove.

                                                                     3. Cruel and Unusual Punishment: Eastern SHU's Twenty-
   c. Is There Qualified Immunity?                                   Four Hour Lighting Policy
Prison officials performing tasks entrusted to their discretion      Plaintiff brings claims against defendants David Miller, the
typically “are shielded from liability for civil damages insofar     superintendent of Eastern, and Two Unknown Officers of
as their conduct does not violate clearly established statutory      Eastern Prison Special Housing Unit, for cruel and unusual
or constitutional rights of which a reasonable person would          punishment inflicted during the thirty-five days he was
have known.” Palmer, 364 F.3d at 67. Whether plaintiff's             confined at Eastern by the twenty-four hour lighting policy at
liberty interest was clearly established depends, in turn, on        the Eastern SHU.
whether the duration and conditions of plaintiff's confinement
in the SHU not only infringed a liberty interest but also were       In order to prevail on an Eighth Amendment claim due to
of such a degree that an officer in defendant's position should      the conditions of a prisoner's confinement, a plaintiff must
have known that plaintiff's liberty interests were at stake. Id.     show “both an objective element-that the prison officials'
In analyzing qualified immunity, the Court should look to            transgression was sufficiently serious-and a subjective
the sentence initially imposed, regardless of the time actually      element-that the officials acted, or omitted to act, with
served. Hanrahan v. Doling, 331 F.3d 93, 98 (2d Cir.2003)            a sufficiently culpable state of mind, i.e., with deliberate
(citing Saucier v. Katz, 533 U.S. 194, 207 (2001)).                  indifference to inmate health or safety.” Phelps v. Kapnalos,


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308 F.3d 180, 185 (2d Cir.2002) (citations and internal           change their lighting policy; Keenan v. Hall, 83 F.3d
quotation marks omitted). As to the objective element, “states    1083, 1091-92 (9th Cir.1996) (citing LeMaire favorably
must not deprive prisoners of their basic human needs-e.g.,       and denying defendant's summary judgment motion with
food, clothing, shelter, medical care, and reasonable safety.     respect to plaintiff's Eighth Amendment claim where plaintiff
Nor may prison officials expose prisoners to conditions that      produced evidence of sleeping problems due to twenty-four
pose an unreasonable risk of serious damage to [their] future     hour lighting despite defendant's contrary evidence that such
health.” Id. (citations and internal quotation marks omitted)     lighting would not cause sleeping problems).
(denying motion to dismiss plaintiff's cruel and unusual
punishment claim where plaintiff claimed he had been fed          Defendants' motion to dismiss cruel and unusual process
nutritionally deficient food for fourteen days). As to the        claims arising from the Eastern SHU's twenty-four hour
subjective element, “[t]his deliberate indifference element is    lighting policy is therefore denied.
equivalent to the familiar standard of recklessness as used
in criminal law. Whether a prison official had the requisite
knowledge of a substantial risk is a question of fact subject     4. Denial of Access to the Courts
to demonstration in the usual ways, including inference from      Plaintiff alleges that defendants Kivett, Smith, and Comstock
circumstantial evidence ... and a factfinder may conclude that    intentionally destroyed his legal papers in July 2001, thereby
a prison official knew of a substantial risk from the very fact   preventing him from filing a motion to stop the clock in order
that the risk was obvious.” Id. at 186 (citations and internal    to file a timely habeas petition. 9
quotation marks omitted).
                                                                  9       Plaintiff's complaint, read liberally, can also be
 *12 Plaintiff here has alleged specific injury resulting                 read to bring claims against defendants Mullen
directly from Eastern's twenty-four hour lighting policy and              and Eisensmidt for denying him access to his cell
the resultant sleep deprivation, namely “fatigue during the               after he was sentenced to the SHU in May 2001,
day, loss of appetite, vomiting, migraine headaches, anxiety,             resulting in the loss of some of his legal papers.
elevation of blood pressure, and a violent aggravation of                 Mere negligence resulting in the loss of legal
rashes all over [his] body.” (Amend.Compl.¶ 55.) Plaintiff                papers, however, does not state an actionable claim;
alleges that he complained numerous times to correction                   plaintiff “must allege facts demonstrating that
officers and through a grievance that was specifically denied             defendants deliberately and maliciously interfered
by the Eastern superintendent, defendant David Miller.                    with his access to the courts.” Smith v. O'Connor,
Plaintiff's allegations, if true, can sustain a claim both that           901 F.Supp. 644, 649 (S.D.N.Y.1995) (emphasis
this lighting policy posed an objectively unreasonable risk               added); see also Love v. Coughlin, 714 F.2d 207,
to his health and that prison officials knew that there was a             208-09 (2d Cir.1983) (per curiam) (holding that a
substantial risk and failed to act. See Ciaprazi v. Goord, 2005           negligent loss of legal documents is not actionable
WL 3531464, at *2, *10 (N.D.N.Y. Dec. 22, 2005) (adopting                 if the state provides an adequate compensatory
magistrate judge's report denying defendant's motion to                   remedy). As such, the defendants' motion to
dismiss plaintiff's Eighth Amendment claim alleging cruel                 dismiss any claims arising out of a negligent loss
and unusual conditions in the Upstate SHU including, inter                of plaintiff's legal papers is granted, and the Court
alia, exposure to light for nineteen hours per day); Amaker               shall consider only those claims where plaintiff
v. Goord, 1999 WL 511990, at *7, *8 (S.D.N.Y. July 20,                    alleges that the defendants deliberately stole his
1999) (holding that a plaintiff's allegations that the lighting           legal papers.
conditions in the SHU were poor and that defendants knew
about them but failed to fix them would satisfy both the          Petitioners have a constitutional right of access to the courts,
objective and subjective prongs of the cruel and unusual          arising from the First Amendment, the Due Process Clause,
punishment test); see also LeMaire v. Maass, 745 F.Supp.          and the Privileges and Immunities Clause of Article IV. See,
623, 636 (D.Or.1990) (“There is no legitimate penological         e.g., Colon v.. Coughlin, 58 F.3d 865 (2d Cir.1995); Morello v.
justification for requiring plaintiff to suffer physical and      James, 810 F .2d 344, 346 (2d Cir.1987). To prove a violation
psychological harm by living in constant illumination. This       of that right, a plaintiff must demonstrate that state action
practice is unconstitutional.”), vacated 12 F.3d 1444, 1459       hindered his efforts to pursue a nonfrivolous legal claim and
(9th Cir.1993) after, inter alia, prison officials agreed to      that consequently he suffered some actual concrete injury.
                                                                  Lewis v. Casey, 518 U.S. 343, 350 (1996). The “point of


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recognizing any access claim is to provide some effective          damages, plaintiff will have to prove that he would have
vindication for a separate and distinct right to seek judicial     prevailed in his habeas petition. An award of damages in
relief for some wrong.” Christopher v. Harbury, 536 U.S. 403,      plaintiff's access claim, therefore, would necessarily imply
414-15 (2002). The right to access to the courts, therefore, is    the invalidity of plaintiff's underlying conviction, contrary to
“ancillary to the underlying claim, without which a plaintiff      the rule of Heck. Cf. Barnwell v. West, 2006 WL 381944, at
would suffer no injury from being denied access.” Id. at 415.      *3 n. 3, *4 (adopting unobjected-to portion of a magistrate
Furthermore, when the access claim “looks backward” (i.e.,         judge's report and recommendation finding that plaintiff may
seeks recompense for a lost opportunity to seek some order         not pursue compensatory or punitive damages under Heck
of relief), “the complaint must identify a remedy that may be      in an access claim where the underlying claim is a habeas
awarded as recompense but not otherwise available in some          petition). Defendants' motion to dismiss plaintiff's access
suit that may yet be brought.” Id. (emphasis added); see also      claim is therefore granted.
Hoard v. Reddy, 175 F.3d 531, 533 (7th Cir.1999) (finding
there is no access claim where prisoner has some other route       10
                                                                          As the Seventh Circuit noted in Hoard, “[i]n the
to challenging the validity of his conviction).                           setting of Heck, there is nothing corresponding to a
                                                                          colorable claim; either the conviction was invalid,
 *13 First, although plaintiff claims he is forever barred                in which case the defendant suffered a legally
from pursuing his habeas petition, an alternative course of               cognizable harm, or it is not and he did not.” Id. at
action with respect to this claim is to file his habeas petition          534.
and request equitable tolling in light of defendants' alleged
destruction of his legal materials. See Valverde v. Stinson, 224
                                                                   5. Malicious Prosecution
F.3d 129, 133 (2d Cir.2000) (holding that confiscation of a
                                                                   Plaintiff brings claims against defendants Ryan, Bertone,
prisoner's habeas corpus petition “shortly before the filing
                                                                   Kivett, and McCreery for pressing charges and bringing a
deadline may justify equitable tolling and permit the filing
                                                                   malicious prosecution against him for assault, on the basis of
of a petition after the statute of limitations ordinarily would
                                                                   the June 2000 Shawangunk incident.
have run”). Furthermore, in this case the alleged nonfrivolous
underlying cause of action is plaintiff's habeas petition, and
                                                                   To bring a § 1983 claim for malicious prosecution, a plaintiff
the lost remedy of that habeas petition is his release. But
                                                                   must show “(1) the initiation or continuation of a criminal
plaintiff is not seeking injunctive relief here; rather he is
                                                                   proceeding against plaintiff; (2) termination of the proceeding
seeking damages under § 1983. This, as defendants argue,
                                                                   in plaintiff's favor; (3) lack of probable cause for commencing
implicates Heck v. Humphrey' s bar against § 1983 claims
                                                                   the proceeding; and (4) actual malice as a motivation for
for damages on any theory that implies that a conviction is
                                                                   defendant's actions,” along with a “post-arraignment seizure”
invalid, unless he can “prove that the conviction or sentence
                                                                   that implicates the Fourth Amendment. Jocks v. Tavernier,
has been reversed on direct appeal, expunged by executive
                                                                   316 F.3d 128, 136 (2d Cir.2003); Singer v. Fulton County
order, declared invalid by a state tribunal authorized to make
                                                                   Sheriff, 63 F.3d 110, 116 (2d Cir.1995) (in order to prevail
such determination, or called into question by a federal
                                                                   on a § 1983 claim for malicious prosecution, plaintiff must
court's issuance of a writ of habeas corpus.” 512 U.S. at
                                                                   show that “injuries were caused by the deprivation of liberty
486-87. Although plaintiff must only establish that his claim
                                                                   guaranteed by the Fourth Amendment.”).
is nonfrivolous, or colorable, in order to make out his access
to courts claim, this does not avoid the holding of Heck,
                                                                    *14 Plaintiff has failed to establish the required post-
because the remedy in an access to courts claim (where
                                                                   arraignment seizure necessary for a federal § 1983 claim.
injunctive relief is not sought) are damages to compensate
                                                                   As plaintiff was already incarcerated at the time of the
for the loss of the underlying action. Nance v. Vieregge,
                                                                   assault proceeding, he suffered no new seizure. An inmate
147 F.3d 589, 591-92 (7th Cir.1998); Hoard, 175 F.3d at
                                                                   already incarcerated has not suffered any unconstitutional
533-34 (emphasis added) (“If a prisoner whose access to
                                                                   deprivation of liberty as a result of being charged with new
the courts is being blocked in violation of the Constitution
                                                                   criminal offenses and being forced to appear in court to
cannot prove that, had it not been for the blockage, he would
                                                                   defend himself. Wright v. Kelly, 1998 WL 912026, at *3
have won his case, or at least settled it for more than $0
                                                                   (W.D.N.Y. Oct. 16, 1998); see also, e.g., Rauso v. Romero,
(the point emphasized in Lewis ) he cannot get damages
                                                                   2005 WL 1320132, at *2 (E.D. Pa. June 2, 2005) (“Here,
but he can get an injunction.”). 10 In order to be awarded         moreover, plaintiff did not sustain a ‘deprivation of liberty


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consistent with the concept of a seizure’ ... since he was       a false IMR against him in March 2001 by exaggerating
already in prison at the time.”) (citing Donohue v. Gavin,       a fight between plaintiff and another inmate, (5) filing a
280 F.3d 371, 380 (3d Cir.2002)); Turner v. Schultz, 130         false IMR against him in May 2001, falsely accusing him
F.Supp.2d 1216, 1225 (D.Colo.2001) (“Mr. Turner has cited,       of fighting with another inmate; (6) destroying his legal
and I have found, no clearly established law that states that    material; and (7) confining him in keeplock in Sing Sing in
an already lawfully incarcerated prisoner is seized for Fourth   November 2000 beyond his sentence. Plaintiff also brings a
Amendment purposes when he is charged with an additional         general claim of retaliation against the defendants; reading
crime. Because Mr. Turner was already effectively ‘seized,’      his complaint liberally, plaintiff alleges that the retaliatory
throughout the time period in question, it is doubtful whether   acts included (8) converting his keeplock sentence to SHU
the additional prosecution could result in an actionable         confinement in March 2001; (9) pouring pancake syrup over
seizure.”) (citing Taylor v. Meacham, 82 F.3d 1556, 1561 n.      his belongings; and (10) giving him his evening meal without
5 (10th Cir.1996)). 11                                           the veal ration in April 2001. Plaintiff alleges that defendants
                                                                 retaliated against him because plaintiff successfully appealed
11                                                               his July 2000 Shawangunk hearing and challenged, and was
       Plaintiff argues that even if he was not seized for
                                                                 ultimately acquitted of, the related criminal assault charges
       the purposes of the Fourth Amendment, he has
                                                                 brought by the defendants.
       a substantive due process right in remaining free
       of prosecutions. Substantive due process, however,
                                                                 It is well established that prison officials may not retaliate
       does not encompass the right to be free from
                                                                 against inmates for exercising their constitutional rights. See,
       prosecution. Murphy v. Lynn, 118 F.3d 938, 944
                                                                 e .g., Gayle v. Gonyea, 313 F.3d 677, 682 (2d Cir.2002);
       (2d Cir.1997) (citing Albright v. Oliver, 510 U.S.
                                                                 Franco v. Kelly, 854 F.2d 584, 589 (2d Cir.1988). Courts,
       266, 274-75 (1994) (plurality opinion); id. at 281
                                                                 however, “must approach prisoner claims of retaliation with
       (Kennedy, J., concurring in the judgment); id. at
                                                                 skepticism and particular care” because claims are easily
       288-89 (Souter, J., concurring in the judgment)).
                                                                 fabricated and because these claims may cause unwarranted
       Plaintiff argues that the rule adopted above would
                                                                 judicial interference with prison administration. Dawes v.
       basically allow prison officials to initiate all sorts
                                                                 Walker, 239 F.3d 489, 491 (2d Cir.2001), overruled on other
       of prosecutions against inmates, confident in the
                                                                 grounds by Swierkiewicz v. Sorema N.A., 534 U.S. 506 (2002);
       fact that they could not be sued under § 1983
                                                                 see also Gill v. Pidlypchack, 389 F .3d 39, 385 (2d Cir.2004).
       because the prisoners were already “seized.” In
       such an event, however, plaintiff's remedy is a
                                                                  *15 To sustain a First Amendment retaliation claim, a
       state malicious prosecution claim, which does not
                                                                 prisoner must demonstrate the following: “(1) that the speech
       have § 1983's requirement of a post-arraignment
                                                                 or conduct at issue was protected, (2) that the defendant took
       seizure. (In this case, however, the New York one-
                                                                 adverse action against the plaintiff, and (3) that there was
       year statute of limitations period for a malicious
                                                                 a causal connection between the protected speech and the
       prosecution, N.Y. C.P.L.R. 215(3), has long since
                                                                 adverse action.” Gill, 389 F.3d at 380 (citing Dawes v. Walker,
       passed.)
                                                                 239 F.3d 489, 492 (2d Cir.2001)).
Plaintiff has not stated a cognizable claim for malicious
prosecution under § 1983, and, as such, defendants' motion to    It is not disputed plaintiff's appeal of his July 2000
dismiss this claim is granted.                                   disciplinary conviction and defense against criminal assault
                                                                 charges, is protected conduct. 12 As such, plaintiff has met
                                                                 the first prong of the retaliation test.
6. Retaliation
Plaintiff brings claims against defendants for retaliation,
                                                                 12
alleging that defendants retaliated against him by: (1)                 Courts have held that procedural due process does
falsifying his behavior report during his August 2000                   not mandate that prison officials must provide
Shawangunk SHU confinement to justify denying him                       an appeals procedure for disciplinary hearings.
privileges; (2) filing false IMRs against him in August 2000;           See, e.g., Hernandez v. Selsky, 2006 WL 566476,
(3) filing a false IMR against him in December 2000 for                 at *3 (N.D.N.Y. Mar. 7, 2006) (citing Wolff v.
loss/damage of property, failing to have an identification              McDonnell, 418 U.S. 539, 563-70 (1974)); Gates
card, mess hall violations, and impersonation; (4) filing               v. Selsky, 2005 WL 2136914, at *8 (W.D.N.Y.


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        Sept. 2, 2005). Nonetheless, given that New York            once served him a meal without veal are de minimis. See
        State does provide such a procedure, plaintiff              Snyder v. McGinnis, 2004 WL 1949472, at *11 (W.D.N.Y.
        has a substantive constitutional right to avail             Sept. 2, 2004) (granting a motion to dismiss because the
        himself of it. See Franco, 854 F.2d at 589 (2d              denial of food on two occasions is de minimis and not
        Cir.1988) (noting that retaliation that does not            actionable). As they would not have deterred a person of
        implicate procedural due process can nonetheless            ordinary firmness from exercising his constitutional rights,
        be unconstitutional if it infringes upon a prisoner's       they do not give rise to a cognizable retaliation action.
        substantive right “to petition government for               As such, defendants' motion to dismiss any retaliation
        redress of grievances.”) Plaintiff's exercise of the        claims stemming from those incidents is granted. The
        DOCS disciplinary appeal procedure is therefore             other alleged actions, however, namely that the defendants
        protected conduct.                                          filed false IMRs against plaintiff, kept him in keeplock,
        Defending oneself against criminal assault charges          transferred him to the SHU, and stole his legal papers,
        is protected conduct as well. It goes without saying        are sufficiently serious to constitute adverse actions. See
        that plaintiff, like all persons, has a constitutional      Franco, 854 F.2d at 589 (filing false misbehavior reports
        right to defend himself in court against criminal           can constitute retaliatory action); Auleta v. LaFrance, 233
        charges. U.S. Const. amends. V, VI, XIV.                    F.Supp.2d 396, 402 (N.D.N.Y.2002) (placing a prisoner in
The second prong concerns whether adverse action was                keeplock for seven and a half days properly construed as
taken against plaintiff. For the purposes of retaliation, an        an adverse action); Lashley v. Wakefield, 367 F.Supp.2d
adverse action is defined as one “that would deter a similarly      461, 467 (W.D.N.Y.2005) (finding that keeplock confinement
situated individual of ordinary firmness from exercising ...        from nine to twenty days sufficiently adverse to support a
constitutional rights.” Gill, 389 F.3d at 380 (citing Davis         retaliation claim); Davis v. Kelly, 160 F.3d 917, 920 (2d
v. Goord, 320 F.3d 346, 353 (2d Cir.2003)). The test is an          Cir.1998) (noting that prison authorities may not transfer
objective one that applies even if the plaintiff in question        an inmate in retaliation for the exercise of constitutionally
was not himself subjectively deterred. Id. (citing Davis, 320       protected rights, even though a prisoner has no liberty interest
F.3d at 353-54). If the action would not deter an individual        in remaining at a particular correctional facility); Smith v.
of ordinary firmness, however, the retaliatory act “is simply       City of New York, 2005 WL 1026551, at *3 (S.D.N.Y.
de minimis and therefore outside the ambit of constitutional        May 3, 2005) (noting that theft of legal papers substantial
protection.” Davis, 320 F.3d at 353.                                enough to qualify as adverse action for purposes of retaliation
                                                                    claim). The question, therefore, is whether plaintiff has
The final prong is the requirement of a causal connection           made nonconclusory allegations that give rise to a causal
between the protected conduct and the adverse action. In            connection between these actions and his protected conduct.
determining whether a causal connection exists between the
plaintiff's protected activity and a prison official's actions,
                                                                       a. Loss of SHU Privileges
a number of factors may be considered, including: (1) the
                                                                     *16 Plaintiff first brings a retaliation claim against defendant
temporal proximity between the protected activity and the
                                                                    Connolly. Plaintiff alleges that Connolly falsified his records
alleged retaliatory act; (2) the inmate's prior good disciplinary
                                                                    in August 2000 to reflect that he “fail[ed] to conform
record; (3) vindication at a hearing on the matter; and
                                                                    to standards of good behavior” as an excuse to deny
(4) statements by the defendant concerning his motivation.
                                                                    him additional privileges out of retaliation for appealing
Baskerville v. Blot, 224 F.Supp.2d 723, 732 (S.D.N . Y.2002)
                                                                    Connolly's disposition of the July 2000 Shawagunk hearing.
(citing Colon, 58 F.3d at 872-73). At this stage, it is not
                                                                    (Amend.Compl.¶ 45.) Given that this alleged falsification
appropriate to weigh the evidence or decide whether the
                                                                    took place only days or weeks after the hearing itself,
claimant will ultimately prevail. Id. at 728. Even at the motion
                                                                    and given the fact that Connolly issued the pre-hearing
to dismiss stage, however, plaintiff must offer more than
                                                                    confinement orders, acted as the hearing officer at the hearing
mere conclusory allegations that a causal connection existed
                                                                    itself, and oversaw plaintiff's SHU confinement after the
between the protected conduct and the adverse action. Dawes,        hearing, plaintiff's allegations give rise to an inference that
239 F.3d at 491-92.                                                 there is a causal connection between plaintiff's protected
                                                                    conduct in challenging the hearing and Connolly's alleged
As a preliminary matter, the Court notes that plaintiff's           retaliatory conduct. As such, this claim withstands a motion
allegations that defendants poured syrup on his property and        to dismiss.


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                                                                   SHU confinement just days after he was released from his
                                                                   March 2001 sentence. Plaintiff alleges that the May fight
   b. The August 2000 IMRs                                         with LaFontaine never occurred, and that the defendants
Plaintiff has not satisfied the causation element of his           fabricated the entire charge. (See Amend. Compl. ¶ 165.) This
retaliation claim with regard to the August 2000 IMRs.             allegation, combined with Sweeney's alleged statement that
Plaintiff has not alleged any facts in his complaint that          plaintiff “would get all of [his] time owed here,” and the
could establish a causal connection between the Shawangunk         fact that the findings of this hearing were ultimately reversed
hearing and the IMRs, or any details about the IMRs                and expunged, states a colorable claim of retaliation. See
whatsoever. In fact, in his complaint, plaintiff admits that the   Baskerville, 224 F.Supp.2d at 732-33.
IMRs were deserved and that he was indeed misbehaving
out of frustration. As plaintiff has not pleaded any causal
connection between these IMRs and his protected conduct               f. Destruction of Legal Material
beyond wholly broad, conclusory statements, defendants'             *17 Plaintiff brings a retaliation claim against defendants
motion to dismiss is granted.                                      Kivett, Smith, and Comstock for destroying his legal material
                                                                   in July 2001 in retaliation for successfully defending himself
                                                                   during his criminal trial for assault charges in June. The theft
  c. The December 2000 IMR                                         of his legal material took place just weeks after plaintiff was
Plaintiff has not alleged facts that would give rise to            acquitted, giving rise to an inference of causality. See Smith,
a retaliation claim with regard to the December 2000               2005 WL 1026551, at *4. In addition, plaintiff alleges that
IMR issued by defendant Deckelbaum. Plaintiff has not              Kivett came up to plaintiff and said, “you beat us again”
proffered any nonconclusory allegations showing any causal         and sarcastically stated that he would “make sure [plaintiff]
connection between the July 2000 Shawangunk hearing and            received [his] property” and made comments as a direct
Deckelbaum's IMR for lack of ID and mess hall violations           response to plaintiff's acquittal at trial. (Amend.Compl.¶ 82.)
or that Deckelbaum acted out of retaliation, especially            Plaintiff here has alleged enough nonconclusory facts linking
considering that plaintiff admits that he did not have ID and      the theft of his legal papers to his constitutionally protected
had received an extra ration from another inmate. As such,         right to defend himself in court to withstand a motion to
defendants' motion to dismiss is granted.                          dismiss. See Smith, 2005 WL 1026551, at *4 (finding that
                                                                   defendant's statement “I don't like you, I'm pretty sure you
                                                                   know why” combined with “highly suspicious timing” of
   d. The March 2001 IMR and Hearing
                                                                   destruction of plaintiff's property was sufficient to defeat
Plaintiff has not alleged facts that would give rise to a
                                                                   defendant's motion for summary judgment).
retaliation claim with regard to the March 2001 IMR written
up by defendant Grant and the resultant hearing presided
over by defendant Colao. Plaintiff has not proffered any              g. The November 2000 Keeplock
nonconclusory allegations showing a causal connection with         Plaintiff has not alleged facts that would give rise to a
the July 2000 Shawangunk hearing and the IMR plaintiff             retaliation claim with regard to the ten days of keeplock that
received for fighting, especially considering that plaintiff       he served from November 7 to November 17, 2000. This
admits that he was fighting. Even if plaintiff alleges that        time was attributable to the IMRs plaintiff received in August.
defendants falsified his IMR to exaggerate the seriousness of      Plaintiff has offered no nonconclusory allegations to establish
the fight, plaintiff has not advanced allegations that would       that this keeplock time was the result of retaliation. As such,
establish that they filed the IMR because of the Shawangunk        defendants' motion to dismiss is granted.
hearing. As such, defendants' motion to dismiss is granted.

                                                                      h. The March to May 2001 SHU Confinement
   e. The May 2001 IMR                                             Plaintiff has not alleged facts that would give rise to a
Plaintiff has, however, alleged sufficient facts to give rise      retaliation claim with regard to defendants' conversion of his
to an inference of a causal connection with respect to the         keeplock status to SHU time in March 2001. Plaintiff has
May 2001 IMR and resultant hearing. Plaintiff alleges that         proffered no nonconclusory allegations that could establish
defendants Sweeney, Scott, and Rich falsely accused him            a causal connection linking this transfer to any protected
of fighting with LaFontaine in order to ensure his return to       conduct sufficient to state a claim for retaliation.



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                                                                    with inmate LaFontaine, but that his sentence was improperly
                                                                    converted from a keeplock sentence to an SHU sentence.
   i. Conclusion
Plaintiff has alleged sufficient nonconclusory facts to make        Defendants originally moved to dismiss this claim on the
out a claim for retaliation against defendant Connolly for          grounds that it arises out of the March 2001 Sing Sing hearing,
falsifying his records to deny him SHU privileges in August         which has not been overturned. In support of their motion,
2000; against defendants Sweeney, Scott, and Rich for falsely       defendant argued that plaintiff lost nine months of “good
accusing him of fighting in May 2001; and against defendants        time” credit at the hearing and is therefore barred by Heck v.
Kivett, Smith, and Comstock for destroying his legal material       Humphrey, supra, from any claims arising out of that hearing
out of retaliation. The defendants' motion to dismiss all other     unless and until it is overturned. (Defs.' Supp. Mem. of Mot. to
claims of retaliation is granted.                                   Dismiss 17.) Plaintiff argues in response (Pl.'s Objections to
                                                                    the Report 9), and defendants concede (Defs.' Mem. In Opp'n
                                                                    to Pl.'s Objections 7), however, that Heck does not apply here,
7. Abuse of Process
                                                                    as plaintiff is serving a life sentence, and the loss of good time
Plaintiff brings a claim for abuse of process, alleging that the
                                                                    credits therefore has no effect on the length of his sentence.
defendants brought these various criminal and administrative
                                                                    Gomez v. Kaplan, 2000 WL 1458804, at *12 (S.D.N.Y. Sept.
charges against plaintiff for the purpose of abusing the
                                                                    29, 2000) (citing Jenkins, 179 F .3d 19); see also Farid v.
process.
                                                                    Ellen, 2006 WL 59517, at *8 & n. 2 (S.D . N.Y. Jan. 11, 2006).
                                                                    As such, plaintiff's claim is not barred by Heck.
State law provides the elements of the cause of action for a
claim of abuse of process in § 1983 suits. Brewster v. Nassau
                                                                    Plaintiff's claim, however, is not that the March 2001 Sing
County, 349 F.Supp.2d 540, 550 (E.D.N.Y.2004). Under New
                                                                    Sing hearing lacked due process. Plaintiff maintains instead
York law, abuse of process has three essential elements: (1)
                                                                    that he is entitled to additional due process before the
regularly issued process, either civil or criminal, (2) an intent
                                                                    keeplock sentence he received at the Sing Sing hearing can
to do harm without excuse or justification, and (3) use of
                                                                    be properly converted into an SHU sentence, since SHU
process in a perverted manner to obtain a collateral objective.
                                                                    conditions entail harsher deprivations than keeplock. (See
Curiano v. Suozzi, 469 N.E.2d 1324, 1326 (N.Y.1984). In
                                                                    Pl.'s Objections to the Report 12.)
order to bring a claim for malicious process, plaintiff must
allege “the improper use of the process after it has issued.” Id.
                                                                    To prevail in his due process claim, plaintiff “must establish
(emphasis added). “A malicious motive alone, however, does
                                                                    both that the confinement or restraint creates an ‘atypical
not give rise to a cause of action for abuse of process.” Id.
                                                                    and significant hardship’ under Sandin, and that the state has
                                                                    granted its inmates, by regulation or by statute, a protected
 *18 Plaintiff has not alleged any facts to sustain a claim
                                                                    liberty interest in remaining free from that confinement
for abuse of process. While plaintiff has alleged that the
                                                                    or restraint.” Frazier v. Coughlin, 81 F.3d 313, 317 (2d
defendants brought criminal assault charges against him in
                                                                    Cir.1996); see also Sealey, 197 F.3d at 51. Plaintiff alleges
Ulster County and have filed numerous prison administrative
                                                                    that this SHU confinement lasted for fifty-nine days, during
charges against him, he does not allege that they did so to
                                                                    which time he was confined to his cell and an adjacent area
abuse the process. Even assuming plaintiffs brought these
                                                                    for twenty-four hours a day. Given that twenty-four hour
charges out of malice or had other improper motives in
                                                                    confinement may be “atypical and significant,” see Ortiz, 380
bringing these charges, a bad motive alone does not give rise
                                                                    F.3d at 655, plaintiff may have a protected liberty interest
to an abuse of process claim. As a result, defendants' motion
                                                                    in avoiding this confinement, despite the fact that it lasted
to dismiss this cause of action is granted.
                                                                    for less than 101 days. See Palmer, 364 F.3d at 64-65.
                                                                    The remaining issue is whether plaintiff was entitled to an
8. Denial of Due Process: The March to May 2001 Upstate             additional hearing before his transfer to the Upstate SHU.
SHU Confinement
Plaintiff alleges that he was deprived of due process stemming       *19 New York prison regulations permit inmates to
from his confinement in the Upstate SHU from March 19               be confined in the SHU for “disciplinary confinement,
to May 17, 2001. Plaintiff alleges that he was sentenced to         administrative segregation, protective custody, detention,
ninety days under keeplock as a result of his March 1 fight         keeplock confinement, and ‘for any other reason, with the



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approval of the deputy commissioner for facility operations.”     keeplock and Upstate SHU, cannot point to any regulation
’ See, e.g., Gonzales v. Narcato, 363 F.Supp.2d 486, 493          entitling him to an additional hearing prior to his transfer
(E.D.N.Y.2005) (emphasis added) (citing Trice v.. Clark,          to Upstate, and therefore cannot show that he has been
1996 WL 257578, at *3 (S.D.N.Y. May 16, 1996)). Admission         deprived of a protected liberty interest without due process.
to SHU pursuant to a keeplock sentence is authorized under        Cf. Rimmer-Bey v. Brown, 62 F.3d 789, 790-91 (6th Cir.1995)
New York Regulations. See N.Y. Comp.Codes. R. & Regs. tit.        (dismissing plaintiff's due process claim and finding that
7, § 301.6. Section 301.6 is the New York Regulation relating     prisoner not entitled to reclassification hearing when, after
to keeplock admissions and authorizes placement of inmates        being found guilty of major misconduct and placed in punitive
in SHU “at a medium or minimum security correctional              detention for thirty days, he was released into administrative
facility or Upstate Correctional Facility” “for confinement       segregation instead of to the general prison population, since
pursuant to a disposition of a disciplinary (Tier II) or          the subsequent reclassification to administrative segregation
superintendent's (Tier III) 13 hearing.” Id. (emphasis added).    was based upon findings of guilt at a full evidentiary hearing).
Furthermore subparts (c) through (h) of section 301.6 clearly
contemplate that inmates sentenced to keeplock status may be       *20 Defendants' motion to dismiss plaintiff's due process
assigned to SHU, subject to the property, visiting, package,      claim with respect to the conversion of his keeplock sentence
commissary, telephone, and correspondence limitations set         into SHU time is therefore granted.
forth in section 302.2(a)-(j). Id.; see also Chavis v. Kienert,
2005 WL 2452150, at *10 (N.D.N.Y. Sept. 30, 2005)
                                                                  9. Cruel and Unusual Punishment: Upstate SHU's Twenty-
(stating that “upon admission to Upstate Correctional Facility,
                                                                  Four Hour Double-Celling Policy
plaintiff was confined in SHU to serve out his Coxsackie
                                                                  Plaintiff brings an Eighth Amendment claim alleging that
Correctional Facility keeplock sentence and that New York
                                                                  Upstate SHU's practice of confining two prisoners in a single
Regulations specifically authorize such confinement” and
                                                                  SHU cell for twenty-four hours a day constitutes cruel and
further finding that because plaintiff did not raise any claim
                                                                  unusual punishment.
that deprivations suffered were contrary to section 302.2(a)-
(j), no liberty interest was implicated).
                                                                  To establish a claim for cruel and unusual punishment, “a
                                                                  prisoner must prove that the conditions of his confinement
13     “New York conducts three types of disciplinary             violate contemporary standards of decency.” Phelps, 308
       hearings for its inmates. Tier I hearings address the      F.3d at 185. While the Eighth Amendment bars prison
       least serious infractions and have as their maximum        officials from depriving prisoners of their “basic human
       punishment loss of privileges such as recreation.          needs” and prohibits exposing them to conditions that
       Tier II hearings address more serious infractions          “pose an unreasonable risk of serious damage to [their]
       and may result in 30 days of confinement in a              future health,” it “does not mandate comfortable prisons.”
       Special Housing Unit (‘SHU’). Tier III hearings            Id. Furthermore, to bring a claim for cruel and unusual
       concern the most serious violations and may result         punishment, plaintiff must allege that the defendants acted
       in unlimited SHU confinement (up to the length of          with “deliberate indifference,” i.e. that they “must both be
       the sentence) and recommended loss of ‘good time’          aware of facts from which the inference could be drawn that
       credits.” Hynes v. Squillace, 143 F.3d 653, 655 n.         a substantial risk of serious harm exists, and [they] must also
       1 (2d. Cir.1998).                                          draw the inference.” Id.
While it is “firmly established that through its regulatory
scheme, New York State has created a liberty interest in          Unlike his claim for the twenty-four hour lighting in Eastern
prisoners remaining free from disciplinary confinement,”          SHU, plaintiff has not alleged facts that would support either
Ciaprazi, 2005 WL 3531464, at *11, plaintiff may only             the objective or the subjective prong for Upstate's double-
sustain a cause of action to vindicate the infringement of that   celling policy. While he has alleged specific health problems
liberty interest where he has been deprived of due process,       resulting from his exposure to the lighting, plaintiff here
Ortiz, 380 F.3d at 655. As noted, plaintiff does not allege       has not alleged that double-celling poses an unreasonable
that the March 2001 Sing Sing hearing denied him due              risk, or any risk at all, to his health. Furthermore, while
process. Plaintiff has been afforded a full evidentiary hearing   plaintiff alleged that he complained about the 24-hour lighting
on the misconduct underlying the time spent in Sing Sing          policy to his guards and filed grievances with the IGP,
                                                                  the prison superintendent, and the CORC, plaintiff has not


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                                                                          In addition, even if venue were proper in the Southern
alleged that he filed any grievances or complained about
                                                                          District, the Court may transfer claims “for the convenience
the double-celling to anyone sufficient to put the defendants
                                                                          of the parties, in the interest of justice.” 28 U.S.C. § 1404(a).
on notice that a substantial risk of serious harm exists. As
                                                                          As plaintiff could have brought his claims in the Northern
plaintiff has not made out a cognizable claim for cruel and
                                                                          District, the majority of the events arose there, and the
unusual punishment due to Upstate's double-celling policy,
                                                                          majority of defendants reside there, it would be in the interests
the defendants' motion to dismiss is granted.
                                                                          of justice to transfer this case even if venue were proper
                                                                          here. See, e.g., Shariff v. Goord, 2005 WL 2087840, at *7
10. Venue                                                                 (S.D.N.Y. Aug. 26, 2005). Furthermore, as plaintiff resides
Defendants have moved to dismiss plaintiff's action on the                in the Western District and has already brought this action
grounds of improper venue or, in the alternative, to transfer             outside his home district, he has already demonstrated that
the action to the Northern District of New York. A civil                  laying venue elsewhere in the state is not unduly burdensome.
action wherein jurisdiction is not founded solely on diversity            See Madison v. Mazzuca, 2004 WL 3037730, at *15 (S.D.N.Y.
of citizenship may, except as otherwise provided by law, be               Dec. 30, 2004).
brought only in (1) a judicial district where any defendant
resides, if all defendants reside in the same State, (2) a judicial       Plaintiff's surviving claims shall be transferred to the
district in which a substantial part of the events or omissions           Northern District of New York pursuant to 28 U.S.C. §
giving rise to the claim occurred, or a substantial part of               1406(a) or, in the alternative, 28 U.S.C. § 1404(a).
property that is the subject of the action is situated, or (3) a
judicial district in which any defendant may be found, if there
is no district in which the action may otherwise be brought.
                                                                                                 CONCLUSION
28 U.S.C. § 1391(b).
                                                                          Defendants' motion to dismiss [25] plaintiff's claims against
 *21 Once a proper venue objection has been raised, the                   (I) defendant Connolly for denial of due process arising out of
burden is on the plaintiff to show that venue is proper, and              his July 2000 Shawangunk hearing; (2) defendants Miller and
he must show that venue is proper as to each claim against                Two Unknown Officers of Eastern Prison Special Housing
each defendant. See, e.g., Degrafinreid v. Ricks, 2004 WL                 Unit for cruel and unusual punishment arising out of the 24-
2793168, at *6 (S.D.N.Y. Dec. 6, 2004). For the purposes                  hour lighting policy at Eastern; (3) defendant Connolly for
of venue, state officers “reside” in the district where they              retaliation (by falsifying plaintiff's SHU records to deny him
perform their official duties. Amaker v. Haponik, 198 F.R.D.              privileges in August 2000); (4) defendants Sweeney, Scott,
386, 391 (S.D.N.Y.2000); Baker v. Coughlin, 1993 WL                       and Rich for retaliation for falsely filing an IMR against
356852, at *2 (S.D.N.Y. Sept. 9, 1993). If a case is improperly           him in May 2001 and sentencing him to the SHU; and (5)
venued, the district court may either dismiss the case or, in             defendants Kivett, Smith, and Comstock for retaliation for
the interest of justice, transfer it to a district in which venue         stealing his legal material in July 2001 is DENIED.
is proper. 28 U.S.C. § 1406(a).
                                                                          Defendants' motion to dismiss [25] all of plaintiff's remaining
None of plaintiff's surviving claims are properly venued                  claims is GRANTED. Furthermore, defendants' motion to
in the Southern District. All of the remaining defendants                 transfer venue is hereby GRANTED. The Clerk of this Court
are DOCS officials who work in the Northern or Western                    is directed forthwith to take all steps necessary to transfer the
Districts. Furthermore, all of the incidents for which there              remainder of this case to the Northern District of New York.
are cognizable claims occurred at Shawangunk, Eastern, and
Upstate, all of which are in the Northern District, and Five              *22 SO ORDERED.
Points, which is in the Western District. Plaintiff has not made
a showing that “a substantial part of the events or omissions
giving rise” to any cognizable claim arose in the Southern                All Citations
District.
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                                                                       rights action, plaintiff's criminal history provides
                   2013 WL 1024667                                     part of the justification for his confinement in
      Only the Westlaw citation is currently available.                administrative segregation. Moreover, plaintiff has
               United States District Court,                           consistently alleged that certain defendants were
                     N.D. New York.                                    substantially motivated by his prior crimes in
                                                                       violating plaintiff's constitutional rights. (See, e.g.,
             Ralph Buck PHILLIPS, Plaintiff,                           Second Amended Complaint ¶¶ 12, 30, Dkt. No.
                          v.                                           52).
             B. LECUYER, et al., Defendants.                   In his first amended complaint, plaintiff asserted 28 claims
                                                               against 24 defendants, arising from events at both Elmira and
                No. 9:08–CV–878 (FJS/ATB).                     Clinton. (Dkt. No. 10). In March 2009, defendants filed a
                               |                               motion to dismiss the amended complaint pursuant to Rule
                        Feb. 19, 2013.                         12(b)(6) of the Federal Rules of Civil Procedure. (Dkt. No.
                                                               46). In response to that motion, plaintiff filed a motion to
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                                                               amend his complaint further, which Judge Scullin granted.
Ralph Buck Phillips, pro se.                                   (Dkt.Nos.47, 51).

James B. Mcgowan, Ass't Att'y Gen., for the Defendants.        Defendants moved to dismiss the second amended complaint.
                                                               (Dkt. No. 76). In a Memorandum–Decision and Order filed on
                                                               August 29, 2011, Judge Scullin granted defendants' motion in
           REPORT–RECOMMENDATION                               part and denied it in part, but afforded plaintiff the opportunity
                                                               to file a third amended complaint. (Dkt. No. 95 at 36–38 &
ANDREW T. BAXTER, United States Magistrate Judge.
                                                               n. 12). 2 Plaintiff did not file a further amended complaint.
 *1 Currently before this court is the motion for summary      Accordingly, his second amended complaint (Dkt. No. 52),
judgment filed by the eleven remaining defendants, seeking     as modified by Judge Scullin's August 29, 2011 opinion, is
dismissal of the pro se plaintiff's civil rights claims that   the operative pleading in this action. The surviving claims
survived a prior motion to dismiss. This matter has been       include (a) Eighth Amendment excessive force and failure to
referred to me by Senior U.S. District Judge Frederick J.      protect claims against defendants LeBel, Doyle, Kirkpatrick,
Scullin, Jr. for Report and Recommendation, pursuant to 28     and Marinaccio (First, Second, and Third Causes of Action);
U.S.C. § 636(b) and Local Rules N.D.N .Y. 72.3(c).             (b) procedural due process claims (Fourth Cause of Action),
                                                               relating to plaintiff's initial administrative segregation hearing
Plaintiff, an inmate of the Department of Corrections          and a disciplinary hearing before Curtis Drown; 3
and Community Supervision (“DOCCS”), commenced this
civil rights action in August 2008. Plaintiff pled guilty      2
                                                                       Judge Scullin's opinion was reported as Phillips v.
to aggravated murder and attempted murder following his                Roy, 9:08–CV–878 (FJS/ATB), 2011 WL 3847265
escape from Erie County jail and his shooting of two                   (N.D.N.Y. Aug. 29, 2011), which accepted in part
New York State Troopers, one of whom died from his                     and rejected in part a Report–Recommendation by
injuries. 1 People v. Phillips, 56 A.D.3d 1163, 867 N.Y.S.2d           U.S. Magistrate Judge David E. Peebles, reported
324 (4th Dep't 2008). Following those convictions, plaintiff           as Phillips v. Fischer, 2010 WL 7375637 (N.D.N.Y.
initially was received into DOCCS custody at the Elmira                September 27, 2010). This case was reassigned
Correctional Facility (“Elmira”) on December 21, 2006, for             from Magistrate Judge Peebles to me on October
processing, and he was thereafter transported to the Clinton           22, 2010, for administrative reasons. (Dkt. No. 87).
Correctional Facility (“Clinton”), located in Dannemora, New
                                                               3
York. (Second Amended Complaint (“2d Am. Compl.”) ¶¶ 6,                Mr. Drown died in March 2011, and the
10, Dkt. No. 52).                                                      representative of his estate has been substituted as
                                                                       a defendant, pursuant to Fed.R.Civ.P. 25(a). (Dkt.
1                                                                      No. 113).
       While the circumstances surrounding an inmate's
       prior offenses are typically not relevant in a civil


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(c) a First Amendment claim alleging the denial of religious        Summary judgment is appropriate where there exists no
services against defendant Racette (Seventh Cause of Action);       genuine issue of material fact and, based on the undisputed
(d) an Eighth Amendment medical indifference claim                  facts, the moving party is entitled to judgment as a matter
against defendants LeCuyer and Lashway (Tenth Cause of              of law. Fed.R.Civ.P. 56; Salahuddin v. Goord, 467 F.3d 263,
Action), relating to the alleged deprivation of appropriate         272–73 (2d Cir.2006). “Only disputes over [“material”] facts
pain medication; (e) Eighth Amendment conditions-of-                that might affect the outcome of the suit under the governing
confinement and First Amendment retaliation claims against          law will properly preclude the entry of summary judgment.”
defendants Allan, Bosco and Uhler (Fifteenth, Nineteenth            Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986). It must
and Twenty–Sixth Causes of Action), relating to frequent            be apparent that no rational finder of fact could find in favor
transfers of plaintiff to noisy and unsanitary SHU cells and his    of the non-moving party for a court to grant a motion for
placement in a “freezing and filthy” mental health observation      summary judgment. Gallo v. Prudential Residential Servs., 22
cell for three days. Phillips v. Roy, 2011 WL 3847265, at 19        F.3d 1219, 1224 (2d Cir.1994).
n. 12. 4
                                                                    The moving party has the burden to show the absence of
4                                                                   disputed material facts by informing the court of portions
           The relevant facts will be discussed below, in the
                                                                    of pleadings, depositions, and affidavits which support the
           analysis of each surviving claim.
                                                                    motion. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
 *2 Defendants filed their summary judgment motion,                 If the moving party satisfies its burden, the nonmoving party
seeking dismissal of all remaining claims on August 17, 2012.       must move forward with specific facts showing that there is
(Dkt.Nos.133–135). After being granted an extension of time,        a genuine issue for trial. Salahuddin v. Goord, 467 F.3d at
plaintiff filed a response to the motion on October 25, 2012.       273. In that context, the nonmoving party must do more than
(Dkt. No. 139). 5 The defendants filed a reply on October 30,       “simply show that there is some metaphysical doubt as to
2012. (Dkt. No. 141).                                               the material facts.” Matsushita Electric Industrial Co., Ltd. v.
                                                                    Zenith Radio Corp., 475 U.S. 574, 586 (1986). However, in
5                                                                   determining whether there is a genuine issue of material fact,
           On the same date, plaintiff also filed his fourth
                                                                    a court must resolve all ambiguities, and draw all inferences,
           motion seeking appointment of counsel. (Dkt. No.
                                                                    against the movant. See United States v. Diebold, Inc ., 369
           140).
                                                                    U.S. 654, 655 (1962); Salahuddin v. Goord, 467 F.3d at 272.
For the reasons set forth below, this court recommends that
defendants' motion for summary judgment be denied in part
and granted in part. In particular, this court recommends           II. Excessive Force and Failure–to–Intervene Claims
that summary judgment be denied with respect to the
                                                                       A. Background
following claims: (a) plaintiff's Eighth Amendment excessive
                                                                    The Second Amended Complaint alleges that defendants
force claim against defendants LeBel and Doyle and the
                                                                    LeBel and Doyle assaulted plaintiff on December 21, 2006,
failure-to-protect claim against defendant Marinaccio (First,
                                                                    following a strip frisk at Elmira. (2d Am.Compl.¶¶ 6–8).
Second, and Third Causes of Action) and (b) plaintiff's
                                                                    Specifically, plaintiff asserts that, after he was re-clothed in
Eighth Amendment conditions-of-confinement claim against
                                                                    state prison garb, defendant LeBel whispered something to
defendants Allan and Uhler relating to the transfers of plaintiff
                                                                    someone just outside of the strip frisk room, and then angrily
among various SHU cells (Nineteenth and Twenty–Sixth
                                                                    told plaintiff, “Your days of media glory are over!” (Id. ¶ 6).
Causes of Action). The court recommends dismissal of the
                                                                    Plaintiff alleges that defendant LeBel grabbed plaintiff by the
remaining claims, including all surviving claims against
                                                                    throat and violently slammed his head against a wall, causing
defendants Kirkpatrick, the estate of Curtis Drown, Racette,
                                                                    plaintiff briefly to black out. (Id. ¶ 6). Defendant LeBel then
LeCuyer, Lashway, and Bosco.
                                                                    pinned plaintiff to the wall while squeezing his throat with
                                                                    his right hand, severely restricting plaintiff's ability to breathe
                                                                    and causing plaintiff to see black spots. (Id. ¶ 6). Meanwhile,
                          DISCUSSION                                defendant Doyle allegedly struck plaintiff's left hip with the
                                                                    heel of his right hand, while placing his left hand on plaintiff's
I. Summary Judgment                                                 chest to pin him against the wall. (Id. ¶ 7).




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 *3 “Only a few seconds” after the alleged assault began,           where defendants LeBel and Doyle were conducting the strip
Deputy Superintendent of Security Henderson drew back               frisk of plaintiff. (Disc. Hrg. Tr. at 6). Dep. Sup. Henderson
the curtain in the strip frisk room, and, after assessing           heard “possibly angry voices” in the room and then a “thud,”
the situation briefly, instructed the other officers to “knock      causing him to open the curtain and enter the strip frisk room.
it off.” (2d Am.Compl.¶ 8). Defendants LeBel and Doyle              He witnessed defendants LeBel and Doyle applying force to
allegedly did not stop their assault on plaintiff until Dep. Sup.   pin plaintiff to the wall and saw C.O. Doyle use his right palm
Henderson more forcefully directed them to “knock the shit          to strike plaintiff's left leg or hip. Henderson issued an order
off.” (Id. ¶ 8). Once the curtain was opened, plaintiff saw         “to knock it off” and “all three parties within the booth seemed
defendants Kirkpatrick and Marinaccio and another unknown           to relax,” ending the use of force. (Disc. Hrg. Tr. at 6–7).
correction officer just outside the room, watching the alleged
attack, but not moving to intervene. (Id. ¶ 8). Later that           *4 Dep. Sup. Henderson interviewed the plaintiff and
day, while being transported, under video surveillance, to          the various officers present during the incident, but neither
Clinton by several of the defendants, plaintiff allegedly heard     Henderson, nor the other officers outside of the room, could
Correction Officer (“C.O.”) Marinaccio say, to C.O. LeBel,          confirm whether the plaintiff provoked the use of force by
“I tried to warn you guys ....“ At that point defendant LeBel       coming off the wall. (Disc. Hrg. Tr. at 8–9). Henderson also
allegedly put his finger to his lips to made a “shhh” gesture,      testified that he did not personally observe plaintiff exhibiting
which caused defendant Marinaccio to stop talking. (Id. ¶ 10).      any non-compliant behavior that day. (Disc. Hrg. Tr. at 11).
                                                                    After the incident, Dep. Sup. Henderson warned plaintiff that
Plaintiff was examined by a nurse following the incident in the     he was a “high profile” inmate and that he should keep in
strip frisk room. Plaintiff allegedly complained that his throat    mind that there might not always be a supervisor present
was sore, his head hurt, and he had a “wicked charley horse,”       who could quickly respond to a situation like the one that
but had no serious injuries. (2d Am.Compl. ¶ 8). The nurse          occurred that day. (Disc. Hrg. Tr. at 7–8). As discussed
observed two superficial red marks” on each side of plaintiff's     further below, the hearing officer found plaintiff guilty of
neck, but no swelling or bleeding, which was confirmed by           the disciplinary charges, but the disposition was later vacated
photographs of the plaintiff taken during the examination.          on administrative appeal because of the officer's failure to
(Use of Force Report, Dkt. No. 133–12 at 8–11, 13). During          reconcile the conflicting testimony of C.O. LeBel and Dep.
his deposition, plaintiff testified that his throat and neck were   Sup. Henderson.
sore for several days. He also testified that, a day after the
incident, a black and blue mark appeared on his leg, which          In his decision regarding defendants' motion to dismiss,
was sore for about a week. (Pl.'s Dep. at 54–56, Dkt. No. 133–      Judge Scullin found that the Second Amended Complaint
16).                                                                stated a claim of excessive force against defendants
                                                                    LeBel and Doyle, and a claim for failure to intervene
After this use of force, defendants LeBel and Doyle alleged         against defendants Kirkpatrick and Marinaccio. Judge Scullin
that plaintiff “turned off the wall [of the strip frisk room]       dismissed plaintiff's claim against defendant Henderson for
towards staff,” in direct contravention of their orders. (Use       his alleged failure to intervene more promptly to stop the
of Force Report, Dkt. No. 133–12 at 5, 7). The correction           alleged assault. Phillips v. Roy, 2011 WL 3847265, at *7.
officers claimed that they used force against plaintiff to secure
him against the wall and that C.O. Doyle used the palm of
his right hand to strike plaintiff's left leg to prevent him from     B. Applicable Law
kicking the staff. (Id.).
                                                                       1. Excessive Force
                                                                    Inmates enjoy Eighth Amendment protection against the use
C.O. LeBel filed a misbehavior report against plaintiff
                                                                    of excessive force, and may recover damages under 42 U.S.C.
alleging that plaintiff refused to obey a direct order and failed
                                                                    § 1983 for a violation of those rights. Hudson v. McMillian,
to comply with frisk/search procedures. (Dkt. No. 133–15
                                                                    503 U.S. 1, 9–10 (1992). The Eighth Amendment's
at 3). At the disciplinary hearing, plaintiff and C.O. LeBel
                                                                    prohibition against cruel and unusual punishment precludes
presented their conflicting versions of the incident during the
                                                                    the “unnecessary and wanton infliction of pain.” Gregg v.
strip frisk on December 2 Pt. (Disc. Hrg. Tr. at 2–4, 12–
                                                                    Georgia, 428 U.S. 153, 173 (1976); Sims v.. Artuz, 230 F.3d
14, Dkt. No. 133–15 at 12–14, 22–24). Dep. Sup. Henderson
                                                                    14, 20 (2d Cir.2000). To sustain a claim of excessive force
testified that he was standing outside of the room at Elmira
                                                                    under the Eighth Amendment, a plaintiff must establish both


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objective and subjective elements. Blyden v. Mancusi, 186            possessed actual knowledge of the use by another correction
F.3d 252, 262 (2d Cir.1999).                                         officer of excessive force; (2) had a realistic opportunity
                                                                     to intervene and prevent the harm from occurring; and (3)
In order to satisfy the objective element of the constitutional      nonetheless disregarded that risk by intentionally refusing or
standard for excessive force, the defendants' conduct must be        failing to take reasonable measures to end the use of excessive
“ ‘inconsistent with the contemporary standards of decency.’ “       force. Id.; Jean–Laurent v. Wilkinson, 540 F.Supp.2d 501, 512
Whitely v. Albers, 475 U.S. 312, 327 (1986) (citation omitted);      (S.D.N.Y.2008) (citation omitted).
Hudson, 503 U.S. at 9. “[T]he malicious use of force to
cause harm constitute[s][an] Eighth Amendment violation per          6
                                                                            See also Curley v. Village of Suffern, 268 F.3d 65,
se [,]” regardless of the seriousness of the injuries. Blyden,              72 (2d Cir.2001) (“Failure to intercede results in
186 F.3d at 263 (citing Hudson, 503 U.S. at 9). “The Eighth                 [section 1983] liability where an officer observes
Amendment's prohibition of ‘cruel and unusual’ punishments                  excessive force being used or has reason to know
necessarily excludes from constitutional recognition de                     that it will be.”); Anderson v. Branen, 17 F .3d
minimis uses of physical force, provided that the use of force              552, 557 (2d Cir.1994) (“all law enforcement
is not of a sort repugnant to the conscience of mankind.”                   officials have an affirmative duty to intervene to
Hudson, 503 U.S. at 9–10 (citations omitted). “ ‘Not every                  protect the constitutional rights of citizens from
push or shove, even if it may later seem unnecessary                        infringement by other law enforcement officers in
in the peace of a judge's chambers, violates a prisoner's                   their presence”).
constitutional rights.’ “ Sims, 230 F.3d at 22 (citation omitted).
                                                                        C. Analysis
 *5 The subjective element requires a plaintiff to demonstrate
                                                                     In support of their motion for summary judgment, defendants
the “necessary level of culpability, shown by actions
                                                                     contend that the brief use of force against plaintiff was
characterized by wantonness.” Id. at 21 (citation omitted).
                                                                     de minimis and was not maliciously intended to harm
The wantonness inquiry “turns on ‘whether force was applied
                                                                     him. (Defs.' Mem. of Law at 33–34, Dkt. No. 133–18).
in a good-faith effort to maintain or restore discipline, or
                                                                     The defendants also contend that defendants Marinaccio
maliciously and sadistically to cause harm.’ “ Id. (quoting
                                                                     and Kirkpatrick did not have a reasonable opportunity to
Hudson, 503 U.S. at 7). In determining whether defendants
                                                                     intervene to stop the use of force any faster than Dep. Sup.
acted in a malicious or wanton manner, the Second Circuit has
                                                                     Henderson did. (Id. at 34–35). The court concludes that
identified five factors to consider: the extent of the injury and
                                                                     there are disputed issues of material fact that preclude the
the mental state of the defendant; the need for the application
                                                                     dismissal of the excessive force claims against defendants
of force; the correlation between that need and the amount of
                                                                     LeBel and Doyle and the failure-to-intervene claim against
force used; the threat reasonably perceived by the defendants;
                                                                     defendant Marinaccio. However, the court will recommend
and any efforts made by the defendants to temper the severity
                                                                     the dismissal of the claim against defendant Kirkpatrick
of a forceful response.” Scott v. Coughlin, 344 F.3d 282, 291
                                                                     because no rational fact finder could conclude that he had a
(2d Cir.2003).
                                                                     reasonable opportunity to intervene to stop the use of force
                                                                     before Dep. Sup. Henderson did so.
   2. Failure to Intervene
A correction officer who is present while an assault upon
                                                                        1. Excessive Force
an inmate occurs may bear responsibility for any resulting
                                                                     Defendants LeBel and Doyle have acknowledged that they
constitutional deprivation, even if he did not directly
                                                                     used force on December 21, 2006, purportedly to subdue
participate. See, e.g., Tafari v. McCarthy, 714 F.Supp.2d
                                                                     plaintiff after he came off the wall, contrary to orders, and
317, 342 (N.D.N.Y. May 24, 2010); Cicio v. Graham,
                                                                     attempted to kick one of the officers. Defendants emphasize
No. 9:08–CV–534 (NAM/DEP), 2010 WL 980272, at *13
                                                                     that, during his deposition, the plaintiff speculated that C.O.
(N.D.N.Y. Mar. 15, 2010). A law enforcement official has an
                                                                     LeBel and C.O. Doyle were not trying to “really hurt” him,
affirmative duty to intervene on behalf of an individual whose
                                                                     but were attempting to provoke him into active resistance so
constitutional rights are being violated by other officers in his
                                                                     that they could subdue him with greater violent force. (Pl.'s
or her presence. Id. 6 In order to establish liability under this    Dep. at 49–50). Defendants also argue that the lack of medical
theory, a plaintiff must prove that the defendant in question (1)    documentation of any serious injuries to plaintiff corroborates



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that the use of force against him was de minimis and was not      against a wall, kicked and hit several times, and had his neck
applied with malice. (Defs.' Mem. of Law at 33–34).               pressed against the wall until he was choked unconscious
                                                                  and could also find that this use of force is inconsistent
 *6 However, plaintiff has consistently described a much          with contemporary standards of decency, was not de minimis,
more vicious assault than the defendants admit, involving         and was with malicious intent and not for the purpose of
defendant LeBel violently slamming plaintiff's head against a     maintaining order).
wall and choking plaintiff until he briefly lost consciousness.
Although the medical examination of plaintiff did not reveal      The same authority supports this court's conclusion that there
any serious injuries, 7 the nurse detected two red marks on       are also disputed issues of material fact as to whether the
plaintiff's neck, which provide some corroboration of his         defendants used force against plaintiff maliciously, rather
claim that he was choked. Dep. Sup. Henderson stated that he      than in a good faith effort to maintain discipline and order. In
intervened after he heard a “thud” from the strip frisk room,     his complaint and in his deposition, plaintiff adamantly denies
which plaintiff claims was the sound of his head hitting the      coming off the wall or doing anything to necessitate the use of
concrete wall. (Pl.'s Dep. at 59).                                force to maintain control over him. Sgt. Henderson's reaction
                                                                  to the incident—telling the correction officers to “knock it
7                                                                 off,” as opposed to intervening to assist them in controlling
       While plaintiff may have few, if any, compensable
                                                                  the plaintiff—and his observation that plaintiff had otherwise
       injuries, that does not support dismissal on
                                                                  been compliant that day, provide some factual support for
       summary judgment. See, e.g., Gibeau v. Nellis, 18
                                                                  plaintiff's contention that he was not resisting the officers.
       F.3d 107, 110 (2d Cir.1994) (while plaintiff may
                                                                  Plaintiff's allegation that, just prior to the assault, defendant
       not have proved compensable injuries caused by
                                                                  LeBel angrily told him that his days of media glory were
       the use of excessive force, he still could be entitled
                                                                  over, was not rebutted in the declarations of defendants LeBel
       to a judgment under Section 1983 and an award
                                                                  (Dkt. No. 133–12) or Doyle (Dkt. No. 133–9), and Dep. Sup.
       of nominal damages at trial); Ventura v. Sinha, 01–
                                                                  Henderson testified to hearing “possibly angry voices” in the
       CV–434S, 2008 WL 365866, at *7 (W.D.N.Y. Feb.
                                                                  strip frisk room just before he intervened. On this record, a
       11, 2008) (the extent of plaintiff's injuries provides
                                                                  reasonable fact finder could conclude that defendants LeBel
       no basis for dismissal of his claim if it is determined
                                                                  and Doyle applied force against plaintiff wantonly, and were
       that the blows directed at him were not de minimis
                                                                  not acting in good faith to maintain order. The material
       for Eighth Amendment purposes) (citing Hudson,
                                                                  issues of fact should preclude a grant of summary judgment
       503 U.S. at 10).
                                                                  on plaintiff's excessive force claim and on the defendant's
The court concludes that there are disputed issues of material    contention that they are entitled to qualified immunity. 8
fact with respect to whether the force applied to plaintiff
was more than de minimis and would satisfy the objective          8       Qualified      immunity       generally      protects
element of Eighth Amendment standards. See, e.g., Alexander
                                                                          governmental officials from civil liability “insofar
v. Deming, 03–CV–147, 2009 WL 1044561, at *10 (W.D.N.Y.
                                                                          as their conduct does not violate clearly established
Apr. 16, 2009) (denying summary judgment on claim of
                                                                          statutory or constitutional rights of which a
excessive force where plaintiff alleged that the defendant
                                                                          reasonable person would have known.” Harlow v.
threatened, choked and hit plaintiff's head against the wall,
                                                                          Fitzgerald, 457 U.S. 800, 818 (1982). However,
causing a bump on his head); Finch v. Servello, 06–CV–1448
                                                                          even if the constitutional privileges are clearly
(TJM/DRH), 2008 WL 4527758, at *5 (N.D.N.Y. Sept. 29,
                                                                          established, a government actor may still be
2008) (allegation that defendant verbally harassed plaintiff,
                                                                          shielded by qualified immunity “if it was
choked him, slammed him against the wall, and dragged him
                                                                          objectively reasonable for the public official to
back to his cell, all while plaintiff was unable to defend
                                                                          believe that his acts did not violate those rights.”
himself, could reasonably be found repugnant to society's
                                                                          Kaminsky v. Rosenblum, 929 F.2d 922, 925 (2d
standards and suffice to raise a question of fact whether
                                                                          Cir.1991) (citing Magnotti v. Kuntz, 918 F.2d 364,
defendants acted with malice for the very purpose of causing
                                                                          367 (2d Cir.1990). To the extent there are material
harm); Ventura v. Sinha, 01–CV–434S, 2008 WL 365866,
                                                                          issues of fact as to whether defendants used force
at *6 (W.D.N.Y. Feb. 11, 2008) (a jury could reasonably
                                                                          against plaintiff wantonly and maliciously, there
credit plaintiff's claim that he was verbally abused, slammed
                                                                          is necessarily an issue of fact as to whether it


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       was objectively reasonable for them to believe              Sgt. Marinaccio acknowledged that he and another officer
       that their use of force did not violate the Eighth          (who is not named as a defendant) were directly outside the
       Amendment. See, e.g., Finch v. Servello, 2008 WL            room where plaintiff was being frisked. (Marinaccio Decl. ¶
       4527758, at *5 (the Eighth Amendment clearly                8, Dkt. No. 133–11). Sgt. Marinaccio alleges that he heard
       prohibited a corrections officer from assaulting            an usual noise from the room and then saw C.O. Doyle
       or intentionally inflicting harm on an inmate,              reacting and striking plaintiff on the thigh. (Id. ¶ 9). Defendant
       so the material issues of fact as to whether                Marinaccio further states, “Before I could respond to assess
       defendants maliciously used force against plaintiff         the situation, Deputy Superintendent Henderson rushed past
       precluded a grant of summary judgment on the                me and intervene[d].” (Id. ¶ 10).
       basis of qualified immunity); Brown v. Catania,
       3:06cv73, 2007 WL 879081, at *9 (D.Conn. Mar.               Plaintiff claims that, just prior to initiating the “assault,”
       21, 2007) (where plaintiff alleged that one of              defendant LeBel whispered something to someone outside of
       the arresting officers wrapped her legs around              the strip frisk room. (Pl.'s Dep. at 44). The Second Amended
       plaintiff's waist and choked him, causing him to            Complaint (¶ 6) alleges that, after the incident in the strip
       lose consciousness, there were questions of fact            frisk room, as plaintiff was being transporting from Elmira
       material to the reasonableness of the force used,           to Clinton, Sgt. Marinaccio started to tell C.O. LeBel “I tried
       and the question of qualified immunity therefore            to warn you guys. .... “ Both of these allegations, which
       cannot be resolved on summary judgment).                    defendant Marinaccio's declaration does not address, provide
                                                                   some factual support for plaintiff's claim that Sgt. Marinaccio
   2. Failure to Intervene                                         knew plaintiff was going to be assaulted, could have stepped
 *7 Plaintiff's claim that defendants Marinaccio and               in before Dep. Sup. Henderson did so, but did not intervene.
Fitzpatrick failed to intervene to stop the “assault” by           Notwithstanding the very brief duration of the alleged attack
defendants LeBel and Doyle survived defendants' motion to          on plaintiff, there is a material issue of fact as to whether
dismiss. Plaintiff acknowledged, during his deposition, that       defendant Marinaccio had a reasonable opportunity to prevent
he did not know who was outside of the room while he was           or stop the “assault” and whether he violated plaintiff's Eighth
being frisked by C.O. LeBel and C.O. Doyle. (Pl.'s Dep. at         Amendment rights by making no effort to intervene.
42–43). When Dep. Sup. Henderson pulled open the curtain
and entered the room, plaintiff saw Sgt. Marinaccio and Lt.         *8 Based on the foregoing, this court recommends that the
Fitzpatrick standing behind Dep. Sup. Henderson, but did not       failure-to-intervene claim against defendant Fitzpatrick be
know how long they had been at the scene or whether they           dismissed. While it is a very close call, the court concludes
had any interest in participating in what had been happening       that summary judgment should be denied with respect to the
in the strip frisk room. (Pl.'s Dep. at 52–53, 63–65).             failure-to-intervene claim against defendant Marinaccio.

Lt. Fitzpatrick has filed a declaration stating that he was
                                                                   III. Due Process Claims
about 20 feet away from the strip frisk room and did not
know there was anything “out of the ordinary” occurring               A. Background
there until he was signaled to come to the area by Dep. Sup.       On December 22, 2006 George Seyfert, a DOCCS Deputy
Henderson. (Kirkpatrick Decl. ¶¶ 4–9, 12–16, Dkt. No. 133–         Inspector General, issued a recommendation to place plaintiff
10). Fitzpatrick's statement clearly indicates that he did not     in administrative segregation, contending that Phillips
know of an impending assault and could not have reasonably         constituted “a threat to the safety and security of staff and
taken any action to intervene in the incident before Dep.          any institution in which he is confined.” (Dkt. No. 133–3 at
Sup. Henderson reacted and stopped the use of force against        3–4). On December 28, 2006, an administrative segregation
plaintiff. Because plaintiff has not offered any information       hearing was convened by Curtis Drown, at which plaintiff was
that contradicts defendant Fitzpatrick's version of the relevant   allowed to respond to Dep. Insp. Gen. Seyfert's allegations.
events, no reasonable fact finder could conclude that Lt.
                                                                   (Ad. Seg. Tr., Dkt. No. 139–6 at 3–19). 9 Following the
Fitzpatrick violated plaintiff's Eighth Amendment rights by
                                                                   hearing, Hearing Officer Drown, emphasizing plaintiff's
failing to intervene.
                                                                   history of escapes and escape attempts, determined that it was
                                                                   necessary to separate plaintiff from the general population “to
                                                                   protect the safety and security of the facility and staff.” (Ad.


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Seg. Tr. at 17; Ad. Seg. Hearing Disposition, Dkt. No. 133–          the testimony of Officer LeBel was credible and established
3 at 14).                                                            that plaintiff failed to obey a direct order or follow frisk
                                                                     procedures. (Disc. Hrg. Tr. at 15). Hearing Officer Drown
9                                                                    imposed a punishment of 200 days of SHU confinement,
        During the hearing, plaintiff acknowledged, inter
                                                                     beginning on December 21, 2006, but suspended 100 days of
        alia, that, while in custody, he had periodic verbal
                                                                     that period, which could be re-imposed if plaintiff committed
        conflicts and at least two fist fights with other
                                                                     further infractions over the next 120 days. (Disc. Hrg.
        inmates. (Ad. Seg. Tr. at 7). He admitted that he
                                                                     Disposition, Dkt. No. 133–15 at 9–10; Racette Decl. ¶¶ 44–
        had removed both handcuffs and shackles while
                                                                     49, Dkt. No. 133–13).
        in custody, using a paperclip, and he offered to
        demonstrate how he did so to the Hearing Officer.
                                                                      *9 Plaintiff filed a timely appeal of the disciplinary hearing,
        (Ad. Seg. Tr. at 8). Plaintiff described his escape
                                                                     arguing that he had fully complied with frisk procedures
        from a county jail by using a screwdriver taken
                                                                     and the orders of the officers conducting the strip frisk
        from a supervisor's office to cut through the roof.
                                                                     on December 21st, and claiming that the officers assaulted
        (Ad. Seg. Tr. at 13). He admitted that he formulated
                                                                     him without provocation. (Dkt. No. 133–15 at 30–33). The
        and executed his escape plan in as little as three
                                                                     only mention of the hearing officer in plaintiff's appeal
        days, after learning that he was facing a return
                                                                     was the comment that Curtis Drown “rolled his eyes and
        to state custody. (Ad. Seg. Tr. at 14). Plaintiff
                                                                     appeared not to care” when plaintiff offered his version of
        acknowledged that, while a fugitive, he wore a
                                                                     the events on December 21st. (Dkt. No. 113–15 at 31–32).
        stolen New York State Trooper's uniform while
                                                                     On March 7, 2007, Dep. Com'r Donald Selsky reversed
        he pistol-whipped and threatened a bounty hunter.
                                                                     the disciplinary determination, based on the hearing officer's
        (Ad. Seg. Tr. at 15). Although he denied intending
                                                                     “failure to resolve inconsistencies in testimony of employee
        to kill any police officer, plaintiff admitted firing
                                                                     witnesses.” (Dkt. No. 133–15 at 34–35).
        an assault rifle at the camouflaged New York State
        troopers who were trying to recapture him, killing
                                                                     Plaintiff asserted due process claims arising from the
        one of them. (Ad. Seg. Tr. at 16).
                                                                     administrative segregation and disciplinary hearing against
Plaintiff filed a timely appeal of Hearing Officer Drown's           several defendants, but all of the defendants other
determination, contending that Dep. Insp. Gen. Seyfert               than Curtis Drown were dismissed by Judge Scullin in
initiated the Administrative Segregation proceedings to              response to defendants' motion to dismiss. Phillips v. Roy,
further punish plaintiff for the murder and attempted murder         2011 WL 3847265, at *3–4 (dismissing claims against
of New York State troopers and arguing that his limited              defendant Seyfert and the defendants who periodically
disciplinary history while in New York State custody, as             reviewed whether plaintiff should remain in administrative
opposed to his misconduct in county or other facilities, did         segregation). Hearing Officer Drown was not named as a
not justify administrative segregation. (Dkt. No. 133–3 at 27–       defendant until plaintiff filed his Second Amended Complaint
30). His appeal made no mention of Hearing Officer Drown             in June of 2009. (See Dkt. Nos. 1, 10, 52).
or his conduct at the hearing. Deputy Commissioner Donald
Selsky denied plaintiff's appeal (Dkt. No. 133–3 at 32), and         In the Second Amended Complaint, plaintiff first alleged that
plaintiff thereafter remained in custody in the Special Housing      Hearing Officer Drown made the following comment during
Unit (“SHU”) at Clinton, receiving the required review of his        the December 28, 2006 administrative segregation hearing,
administrative custodial status every 60 days. Phillips v. Roy,      while the device recording the hearing was turned off:
2011 WL 3847265, at *4.

On December 21, 2006, defendant LeBel filed a misbehavior
                                                                                  You just don't know when to shut the
report alleging that plaintiff refused to obey a direct order and
                                                                                  fuck up, do you. Do you really think I
failed to comply with frisk/search procedures in connection
                                                                                  give a shit about what you say. I don't.
with the strip frisk of plaintiff at Elmira on that day. (Dkt. No.
                                                                                  Your gonna be tortured for the rest
133–15 at 3). On January 3, 2007, Curtis Drown conducted a
                                                                                  of your life in prison for what you've
disciplinary hearing, at which plaintiff, Dep. Superintendent
                                                                                  done, Phillips.
Henderson, and Officer LeBel testified. (Disc. Hrg. Tr., Dkt.
No. 133–15 at 11–25). Hearing Officer Drown found that


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                                                                    *10 The court concludes that plaintiff failed to exhaust his
(2d Am.Compl.¶ 13). Plaintiff also alleged, for the first time     administrative remedies with respect to his surviving due
in the Second Amended Complaint, that Hearing Officer              process claim and recommends dismissal of the claim on that
Drown made the following off-the-record comments during            basis. In the alternative, the court notes that no reasonable fact
the January 3, 2007 disciplinary hearing:                          finder would conclude that plaintiff was deprived of a liberty
                                                                   interest in connection with his disciplinary confinement.

             Mr. Phillips, your [sic] in prison for
             shooting and killing police officers.                   B. Applicable Law
             You don't really believe you'll be
                                                                      1. Disciplinary Confinement
             treated fairly, do you?
                                                                   To begin a due process analysis, the court must determine
                                                                   whether plaintiff had a protected liberty interest in remaining
                                                                   free from the confinement that he challenges, and then
(2d Am.Compl.¶ 12). As noted elsewhere herein, plaintiff           determine whether the defendants deprived plaintiff of that
did not assert that Hearing Officer Drown made any
                                                                   liberty interest without due process. Giano v. Selsky, 238 F.3d
such off-the-record comments during the hearings in his
                                                                   223, 225 (2d Cir.2001); Bedoya v. Coughlin, 91 F.3d 349,
administrative appeals from those hearings. Those alleged
                                                                   351 (2d Cir.1996). In Sandin v. Conner, 515 U.S. 472, 484
off-the-record comments by Hearing Officer Drown were
                                                                   (1995), the Supreme Court held that although states may
central to Magistrate Judge Peebles and Senior District Judge
                                                                   create liberty interests for inmates that are protected by due
Scullin's conclusion that the Second Amended Complaint
                                                                   process, “these interests will be generally limited to freedom
stated a viable due process claim against Curtis Drown by
                                                                   from restraint which, while not exceeding the sentence in such
indicating that he was a biased hearing officer. Phillips v.
                                                                   an unexpected manner as to give rise to protection by the
Fischer, 2010 WL 7375637, at *6; Phillips v. Roy, 2011 WL
                                                                   Due Process Clause of its own force ..., nonetheless imposes
3847265, at *3.
                                                                   atypical and significant hardship on the inmate in relation to
                                                                   the ordinary incidents of prison life.”
As noted, Curtis Drown died in March 2011, and his estate
was substituted as a defendant in this action. Defendants'
                                                                   The Second Circuit has explicitly avoided a bright line rule
summary judgment motion argues that plaintiff's due process
                                                                   that a certain period of confinement in a segregated housing
claim against the estate of Curtis Drown should be dismissed
                                                                   unit (“SHU”) or under similar conditions automatically gives
because (a) plaintiff did not exhaust his administrative
                                                                   rise to due process protection. See Sims v. Artuz, 230 F.3d
remedies by raising the alleged bias of Hearing Officer
                                                                   14, 23 (2d Cir.2000); Colon v. Howard, 215 F.3d 227, 234
Drown during his appeals of the administrative segregation
                                                                   (2d Cir.2000). Instead, cases in this Circuit have created
and disciplinary hearings; (b) the determinations in the
                                                                   guidelines for use by district courts in determining whether a
administrative segregation and disciplinary hearings did not
                                                                   prisoner's liberty interest was infringed. Palmer v. Richards,
implicate a liberty interest triggering due process protections;
                                                                   364 F.3d 60, 64–66 (2d Cir.2004). A confinement longer than
and (c) the defendant is entitled to qualified immunity because
                                                                   an intermediate one, and under “normal SHU conditions” is “a
a reasonable official in Curtis Drown's position could not
                                                                   sufficient departure from the ordinary incidents of prison life
believe that the dispositions he imposed would implicate a
                                                                   to require procedural due process protections under Sandin.”
federally protected liberty interest. (Defs.' Mem. of Law at
                                                                   Colon v. Howard, 215 F.3d at 231 (finding that a prisoner's
1). Plaintiff's opposition to the defense motion to dismiss
                                                                   liberty interest was infringed by 305–day confinement).
his remaining due process claims continues to focus on
                                                                   Shorter confinements under normal SHU conditions may
Curtis Drown's alleged off-the-record comments as support
                                                                   not implicate a prisoner's liberty interest. However, “SHU
for plaintiff's contention that he was deprived of his right to
                                                                   confinements of fewer than 101 days could constitute atypical
a fair and impartial hearing officer. (Pl.'s Mem. of Law at
                                                                   and significant hardships if the conditions were more severe
15–16, Dkt. No. 139). Plaintiff also argues that his prolonged
                                                                   than the normal SHU conditions ... or a more fully developed
confinement in SHU did deprive him of a liberty interest. (Id.
                                                                   record showed that even relatively brief confinements under
at 17).
                                                                   normal SHU conditions were, in fact, atypical.” Palmer v.
                                                                   Richards, 364 F .3d at 65 (citations omitted). In the absence of
                                                                   a detailed factual record, cases in this Circuit typically affirm


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dismissal of due process claims where the period of time           requires only that the inmate must receive some notice of the
spent in SHU was short—e.g., 30 days—and there was no              reasons for the placement and an opportunity to present his
indication that the plaintiff endured unusual SHU conditions.      views to the prison official charged with deciding whether to
Id. at 65–66 (collecting cases).                                   transfer the inmate into administrative segregation. Samms v.
                                                                   Fischer, No. 9:10–CV–349 (GTS/GHL), 2011 WL 3876528,
The due process protections afforded inmates facing                at *10 (N.D.N.Y. Mar. 25, 2011) (Report–Recommendation),
disciplinary hearings that affect a liberty interest include       adopted, 2011 WL 3876522 (N.D.N.Y. Aug. 31, 2011). 10
advance written notice of the charges, a fair and impartial        The inmate's opportunity to present his views need not be as
hearing officer, a hearing that affords the inmate the             formal as that required for disciplinary proceedings; rather,
opportunity to call witnesses and present documentary              the officials may conduct an informal and non-adversarial
evidence, and a written statement of the evidence upon which       review of the information in support of the inmate's transfer
the hearing officer relied in making his determination. Sira v.    into administrative custody. Id. (citations omitted).
Morton, 380 F.3d 57, 69 (2d Cir.2004) (citing, inter alia, Wolff
v. McDonnell, 418 U.S. 539, 563–67 (1974)). The hearing            10
                                                                          The court in Samms relied upon Hewitt v. Helms,
officer's findings must be supported by “some” “reliable
                                                                          459 U.S. 460, 476 (1983), for its statement of
evidence.” Id. (citing, inter alia, Superintendent v. Hill, 472
                                                                          the applicable due process requirements. The court
U.S. 445, 455 (1985)).
                                                                          did note that although the Hewitt analysis for
                                                                          determining the existence of a liberty interest was
   2. Administrative Segregation                                          overruled in Sandin, the Hewitt decision was still
 *11 In Arce v. Walker, 139 F.3d 329, 334–35 (2d Cir.1998),               instructive in determining the appropriate level
the Second Circuit made it clear that even though the prison              of procedural safeguards once a liberty interest
condition at issue in Sandin was an inmate's challenge to                 is found. 2011 WL 3876528, at *10 n. 4 (citing
his confinement in “disciplinary” segregation, the Sandin                 Wilkinson v. Austin, 545 U.S. 209, 229 (2005)).
analysis is properly applied to determine whether non-             In accordance with New York regulations, plaintiff in this case
punitive, “administrative” segregation implicates a state-         was given the benefit of a formal administrative segregation
created liberty interest. Once the court determines that           hearing. Judge Scullin reasonably assumed that due process
a liberty interest exists, then the distinction between            would require that such a hearing officer was “fair and
administrative and disciplinary segregation determines how         impartial.” Phillips v. Roy, 2011 WL 3847265, at *3.
much process is due.

New York regulations governing administrative segregation             3. Exhaustion of Administrative Remedies
provide that an inmate receive a hearing within fourteen           The Prison Litigation Reform Act, (PLRA), 42 U.S.C.
days of entering administrative segregation. 7 N.Y.C.R.R. §        § 1997e(a), requires an inmate to exhaust all available
301.4(a). “Administrative segregation admission results from       administrative remedies prior to bringing a federal civil rights
a determination by the facility that the inmate's presence         action. This requirement applies to all inmate suits about
in general population would pose a threat to the safety            prison life, whether they involve general circumstances or
and security of the facility.” 7 N.Y.C.R.R. § 301.4(b).            particular episodes, and regardless of the subject matter of
Once it is determined that administrative segregation is           the claim. See Giano v. Goord, 380 F.3d 670, 675–76 (2d
appropriate, the inmate's status must be reviewed every sixty      Cir.2004) (citing Porter v. Nussle, 534 U.S. 516, 532 (2002)
days. 7 N.Y.C.R.R. § 301.4(d). Inmates in administrative           (exhaustion requirement applies, inter alia, to excessive force
segregation are housed in the SHU and are subject to most          claims). Inmates must exhaust their administrative remedies
of the same restrictions as inmates housed for disciplinary        even if they are seeking only money damages that are not
reasons. 7 N.Y.C.R.R. § 301.4(c) (administrative segregation       available in prison administrative proceedings. Id. at 675.
inmates will be subject to the same rules and regulations as
those disciplinary inmates who have completed 30 days of            *12 The failure to exhaust is an affirmative defense that
satisfactory adjustment).                                          must be raised by the defendants. Jones v. Bock, 549 U.S.
                                                                   199, 216 (2007); Johnson v. Testman, 380 F.3d 691, 695 (2d
If it is determined that the inmate had a liberty interest in      Cir.2004). As an affirmative defense, it is the defendants'
remaining free of administrative segregation, due process          burden to establish that plaintiff failed to meet the exhaustion


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requirements. See, e.g, Key v. Toussaint, 660 F.Supp.2d 518,       may be sufficient to exhaust administrative remedies.”)
523 (S.D.N.Y.2009) (citations omitted).                            (citation omitted) (Report–Recommendation), adopted, 2011
                                                                   WL 13826 (N.D.N.Y. Jan. 4, 2011); Barksdale v. Frenya,
The Supreme Court held that, in order to properly                  9:10–CV–00831 (MAD/DEP), 2012 WL 4107805, at *8 &
exhaust administrative remedies, an inmate must complete           n. 13 (N.D.N.Y. Aug. 17, 2012) (Report–Recommendation),
the administrative review process in accordance with the           adopted, 2012 WL 4107801 (N.D.N.Y. Sept. 19, 2012). 11
applicable state rules. Jones v. Bock, 549 U.S. at 218–19
(citing Woodford v. Ngo, 548 U.S. 81 (2006)). In Woodford,         11
                                                                            See also Matter of Cowart v. Coughlin, 193 A.D.2d
the Court held that “proper” exhaustion means that the
                                                                            887, 597 N.Y.S.2d 821, 822 (3d Dep't 1993)
inmate must complete the administrative review process in
                                                                            (inmate's claim, inter alia, that the hearing officer
accordance with the applicable procedural rules, including
                                                                            was biased was waived at his Article 78 proceeding
deadlines, as a prerequisite to bringing suit in federal court.
                                                                            challenging the hearing determination because the
548 U.S. at 90–103.
                                                                            inmate failed to raise the bias issue at the tier III
                                                                            hearing).
To properly exhaust administrative remedies with respect to
a civil rights claim, a prisoner typically is required to follow
available inmate grievance procedures. However, when an                 C. Analysis
inmate is raising a due process claim relating to a disciplinary
                                                                      1. Failure to Exhaust Administrative Remedies
hearing, he may exhaust his administrative remedies by
                                                                    *13 As noted, plaintiff's surviving due process claim
pursuing an administrative appeal of the disciplinary
                                                                   is based on the allegation that Hearing Officer Drown
determination which raises the particular objection(s) to the
                                                                   was biased, as demonstrated by the alleged off-the-
hearing officer's conduct. See, e.g., Davis v. Barrett, 576 F.3d
                                                                   record comments he made at the administrative segregation
129, 132 (2d Cir.2009) (plaintiff raised, in his administrative
appeal, his objections to the hearing officer's conduct, and       and disciplinary hearings. 12 Plaintiff's appeal of the
could not pursue a separate grievance under New York's             administrative segregation determination made no reference
regulations; plaintiff's successful appeal of his administrative   to Curtis Drown's conduct at the hearing or any comments the
hearing constitutes exhaustion under the PLRA for purposes         hearing officer made suggesting that he was not impartial and
of rendering his due process claim ripe for adjudication in        fair. Because plaintiff's appeal utterly failed to provide notice
federal court).                                                    to DOCCS of the basis for his current due process claim, he
                                                                   has not properly exhausted his administrative remedies and
A key concern underlying the PLRA's exhaustion rule is             the claim should be dismissed. See, e.g., Khalild v. Reda,
that the administrative appeal adequately apprise prison           00Civ.7691, 2003 WL 42145, at *4–5 (S.D.N.Y. Jan. 23,
officials of the particular conduct of the hearing officer about   2003) (plaintiff failed to exhaust his current Section 1983
which the inmate is complaining. Id. at 133 (because the           claim—that his due process rights were violated because
plaintiff properly contested the particular manner in which        the disciplinary hearing commenced two days later than
the officer conducted the hearing with his administrative          allowed by regulation—because his administrative appeal did
appeal, he satisfied the exhaustion requirement). Accordingly,     not raise or even allude to that issue, thus denying prison
in order to exhaust a due process claim with respect to            officials the opportunity to address and correct the issue—the
a disciplinary hearing, the plaintiff's administrative appeal      touchstone of exhaustion); accord, Donato v. Phillips, 9:04–
must specify the alleged misconduct of the hearing officer         CV–1160 (TJM), 2007 WL 168238, at *5 (N.D.N.Y. Jan. 18,
with sufficient particularity to satisfy “the purposes of          2007). Accordingly, this court recommends that plaintiff's due
the exhaustion requirement of § 1997a(e), by giving the            process claim with respect to his administrative segregation
state an opportunity to correct any errors and avoiding            hearing be dismissed for failure to exhaust administrative
premature federal litigation.” Flanagan v. Maly, 99 CIV            remedies.
12336, 2002 WL 122921, at *2 (S.D.N.Y. Jan. 29, 2002);
Bennett v. Fischer, 9:09–CV–1236 (FJS/DEP), 2010 WL                12       As Judge Peebles concluded previously, in
5525368, at *8–9 & n. 15 (N.D.N.Y. Aug. 17, 2010) (“An                      addressing defendant's motion to dismiss,
appeal from a disciplinary hearing that presents the precise                plaintiff's complaint does not appear to raise any
procedural infirmities raised in the section 1983 action ...                due process defects in the hearings other than



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       the alleged bias of the hearing officer. Phillips v.        thereafter, plaintiff was in SHU at Clinton on administrative
       Fischer, 2010 WL 7375637, at *5–6.                          segregation status. 15
In his appeal of the disciplinary determination, plaintiff
did not mention the alleged, explicitly biased, off-the-           14
                                                                          See Hanrahan v. Doling, 331 F.3d 93, 98 & n. 7
record comments by Curtis Drown that plaintiff belatedly                  (2d Cir.2003) (the duration of actual confinement
quoted in his Second Amended Complaint. However, in                       as well as the success of any subsequent
his appeal papers, plaintiff stated that Drown “rolled his                administrative appeals, may well be relevant in
eyes and appeared not to care” when plaintiff offered his                 assessing whether there is sufficient evidence of
version of the relevant underlying events. The passing                    a due process violation) (citing Colon v. Howard,
and completely subjective observation that Curtis Drown                   215 F.3d 227, 231 & n. 4 (2d Cir.2000) (the
“appeared” disinterested in the plaintiff's testimony was not             SHU “confinement actually served” may be the
sufficient to give DOCCS officials notice that plaintiff was              “appropriate focus” in determining whether an
objecting that the hearing officer was not impartial, nor did             inmate has alleged a due process violation under
it provide DOCCS a fair opportunity to address that issue                 Sandin)). See also Sealey v. Giltner, 197 F.3d
administratively. 13 Accordingly, this court recommends that              578, 587 (2d Cir.1999) (focusing on the 101
plaintiff's due process claim with respect to his disciplinary            days of confinement for which the defendant bore
hearing should also be dismissed on exhaustion grounds.                   responsibility, including the effect of reversal of
However, because the question of whether plaintiff exhausted              the defendant's order of administrative segregation,
his administrative remedies through his appeal of the later               in determining whether plaintiff had a protected
disciplinary determination is a closer question, this court will          liberty interest).
also address an alternative ground for dismissal of this claim
                                                                   15
—plaintiff's failure to establish that he was deprived of a               “[W]here a prisoner's placement in restrictive
protected liberty interest.                                               confinement has both a punitive and an
                                                                          administrative, non-punitive basis, the placement
13                                                                        decision will not be found to have impaired a
       Cf. Rosales v. Bennett, 297 F.Supp.2d 637, 641
                                                                          protected liberty interest.” Rosenberg v. Meese,
       (W.D.N.Y.2004) (the factual basis for the claim
                                                                          622 F.Supp. 1451, 1468–69 (S.D.N.Y.1985) (citing
       of bias of the hearing officer was presented in
                                                                          Sher v. Coughlin, 739 F.2d 77, 81–82 (2d
       plaintiff's appeal of the disciplinary hearing in
                                                                          Cir.1984)). The period of plaintiff's confinement on
       which he alleged that the hearing officer “did
                                                                          the disciplinary charges overlapped with a period
       not believe ... the officer who filed the report
                                                                          that he would have served in SHU anyway because
       against plaintiff ... was capable of fabricating
                                                                          of his administrative segregation status. Because
       the report” and that plaintiff “was also denied
                                                                          plaintiff has no viable due process claim relating
       his right to a fair and impartial fact finder”).
                                                                          to his administrative segregation because of his
       Rosales is distinguishable from this case because
                                                                          failure to exhaust his administrative remedies, he
       the administrative appeal in that case included a
                                                                          arguably also does not have a liberty interest
       much more explicit notice that the inmate was
                                                                          with respect to the concurrent period during
       objecting that the hearing officer was not fair and
                                                                          which he confined for punitive reasons. Cf. Sher
       impartial.
                                                                          v. Coughlin, 739 F.2d at 81–82 (applying dual
                                                                          motivation analysis of Mt. Healthy City School
  2. Liberty Interest                                                     Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 285–
As noted above, Curtis Drown sentenced plaintiff to 200                   87 (1977) in holding that, if prison officials had
days in SHU on the disciplinary charges against him, with                 administrative reasons for transferring plaintiff into
100 days suspended. Plaintiff's disciplinary term in SHU                  restrictive confinement that did not trigger due
began on December 21, 2006, and was ended on or about                     process protection, the fact that they may have
March 7, 2007, when the disciplinary sentence was reversed                been also motivated by a desire to punish the
on appeal. Thus, plaintiff spent approximately 77 days in                 plaintiff would not impair any protected liberty
SHU confinement attributable to Curtis Drown's disciplinary               interest). It should be noted that the administrative
determination. 14 During this same time period, and                       segregation imposed under New York law in this



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        case, unlike the administrative confinement in the             solitary confinement for 23 hours per day, one hour of
        Reclassification Unit in Sher, may implicate a                 exercise outside of the cell, limited showers per week, and
        liberty interest protected by due process. In this             the loss of various privileges. The Sealey court found that
        case, however, plaintiff's due process claims with             plaintiff suffered no deprivation of a liberty interest, despite
        respect to his administrative segregation were lost            his allegations that the SHU cells were considerably noisier
        because of his failure to exhaust administrative               than those in general population, 16 and that “a few times,”
        remedies.                                                      other prisoners threw feces at him. Id. at 581, 589.
 *14 DOCCS records indicate that plaintiff was confined
in his first SHU cell (# 002) until April 24, 2007, during             16
                                                                               See also Hamilton v. Fisher, 9:10–CV–1066
all of the 77 days that he was confined as a result of the                     (MAD/RFT), 2012 WL 987374, at *8 (N.D.N.Y.
Hearing Officer Drown's disciplinary determination. (Internal                  Feb. 29, 2012) (“An inmate normally cannot state a
Movement History, Dkt. No. 133–8 at 2). At his deposition,                     valid claim based on ‘inmate-generated’ noise as an
plaintiff testified that he hoped to stay in 2–cell because                    impermissibly harsh condition of confinement.”)
it was the quietest SHU cell. (Pl.'s Dep. at 99). Plaintiff                    (citing, inter alia, Griffin v. Coughlin, 743
has also acknowledged that, during his confinement in his                      F.Supp. 1006, 1018 (N.D.N.Y.1990)) (Report–
first cell in SHU—also the initial term of his administrative                  Recommendation), adopted, 2012 WL 987122
segregation—his cell was clean and freshly painted, and he                     (N.D.N.Y. Mar. 22, 2012).
had no hygiene problems with his food. (Pl.'s Dep. at 24;
                                                                       The conditions which plaintiff alleged he experienced over
Pl .'s Mem. of Law at 28). However, plaintiff claimed that
                                                                       the first 77 days of SHU confinement properly attributed
the two neighboring inmates were mentally ill, and the noise,
                                                                       to Curtis Drown's disciplinary determination were not more
banging, and screaming disturbed his sleep at all hours of the
                                                                       severe than “normal” SHU conditions as defined by Sealey,
day and night. (Pl.'s Dep. at 24). Plaintiff also testified that the
                                                                       and did not give rise to a protected liberty interest. This court
company beyond his cell, in which he stayed for 23 hours per
                                                                       concludes that defendants' motion for summary judgment
day, was filthy and there was a stench “probably comparable
                                                                       on plaintiff's due process claims relating to his disciplinary
to a zoo.” (Id.).
                                                                       hearing should also be granted on that basis. See also Smith
                                                                       v. Taylor, 149 F. App'x 12, 13 (2d Cir.2005) (the district court
The only reference in the Second Amended Complaint
                                                                       correctly granted summary judgment and dismissed Smith's
about SHU conditions prior to March 2007, when plaintiff's
                                                                       due process claims because Smith failed to offer evidence that
confinement on the disciplinary charges ended, is the
                                                                       his SHU confinement for 45 days involved conditions more
allegation that, in February 2007, plaintiff began writing to the
                                                                       onerous than those generally present in the SHU); Pilgrim v.
mental health unit at Clinton complaining that his mentally ill
                                                                       Bruce, 9:05–CV–198 (GLS/GHL), 2008 WL 2003792, at *15
neighbors in SHU were “acting out” and “seriously imposing
                                                                       (N.D.N.Y. May 7, 2008) (plaintiff's conclusory allegations,
upon plaintiff's mental faculties.” (2d Am.Compl.¶ 26). It was
                                                                       which notably do not include claims that he was denied food,
not until the summer of 2007, well after plaintiff completed
                                                                       clothing, bedding, heat, running water, toiletries, or medicine
his term of disciplinary confinement, that he began making
                                                                       during his 60 days in keeplock, fail to establish that he was
frequent and more substantial grievances and complaints
                                                                       subjected to more severe conditions than in normal restrictive
about the conditions of confinement that he experienced in
                                                                       confinement); Holland v. Goord, 05–CV–6295, 2006 WL
SHU. (2d Am. Compl. ¶ 27; Pl.'s Mem. of Law, Ex. D, Dkt.
                                                                       1983382, at *7 (W.D.N.Y. July 13, 2006) (77 days in keeplock
No. 139–5 at 3–65 & Ex. G, Dkt. No. 139–6 at 110–141).
                                                                       during which plaintiff was deprived of TV, phone, packages,
                                                                       and commissary, was unable to go to Muslim services and
Restrictive confinements of less than 101 days under normal
                                                                       classes did not create a protected liberty interest (citing,
SHU conditions, as defined in Sealey v. Giltner, 197 F.3d
                                                                       inter alia, Arce v. Walker, 139 F.3d 329, 332 (2d Cir.1998)
578, 589 (2d Cir.1999), would not constitute atypical and
                                                                       (deprivation of exercise and access to communal religious
significant hardships giving rise to a liberty interest protected
                                                                       services did not rise to a level of “an atypical and significant
by due process. Palmer v. Richards, 364 F.3d at 65. The
conditions of a SHU are “doubtless unpleasant and somewhat             hardship”)). 17
more severe than those of general population.” Sealey v.
Giltner, 197 F.3d at 589. The SHU conditions which Sealey              17      Second Circuit cases that have found a possible
found not to create a liberty interest over 101 days included                  liberty interest in SHU confinements of less


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       than 101 days are distinguishable because they                   at *10 n. 16. Claims under the RLUIPA are
       involved more substantial evidence that the inmate               analyzed utilizing principles similar to those which
       suffered conditions more severe than “normal”                    inform the analysis of plaintiff's free exercise
       SHU restrictions. Cf. Palmer v. Richards, 364                    claim, although there are subtle distinctions
       F.3d at 66 (77–day SHU confinement could                         between the two provisions and their application
       implicate due process rights where plaintiff alleged             in a prison setting. See Salahuddin v. Goord,
       that he was deprived of his property, personal                   467 F.3d 263, 273–74 (2d Cir.2006) (RLUIPA
       clothing, grooming equipment, hygienic products,                 protects inmates by providing that a government
       reading and writing materials, communication                     shall not “impose a substantial burden” on
       with his family, personal food and vitamin                       the “religious exercise” of inmates in certain
       supplements, and placed in mechanical restraints                 institutions unless the government shows that
       during escorts); Welch v. Bartlett, 196 F.3d 389,                the burden furthers a compelling governmental
       393–94 (2d Cir.1999) (90–day SHU confinement                     interest by the least restrictive means). As noted
       could implicate due process rights where plaintiff               above, Judge Scullin, after dismissing many of
       alleged that he received inadequate toilet paper,                plaintiff's claims under Fed.R.Civ.P. 12(b)(6),
       soap and cleaning supplies, a filthy mattress, and               provided him with an opportunity to file a third
       infrequent changes of clothes); Davis v. Barrett,                amended complaint, which plaintiff chose not to
       576 F.3d at 134–35 (given plaintiff's allegations                do. Plaintiff's Memorandum of Law (Dkt. No. 139)
       that (1) his cell had no furniture, and thus all items,          in opposition to the summary judgment motion did
       including his clothes and food tray, had to be kept              not address defendants' arguments to dismiss the
       on the floor; (2) that his mattress was “infected”               claim based on the denial of plaintiff's request to
       with body waste; and (3) that his cell was subject               attend congregate religious services. Accordingly,
       to “daily” flooding, and feces and urine thrown                  the court will address plaintiff's claim, as pled in
       by other inmates, an issue of fact exists as to the              the Second Amended Complaint, as one under the
       actual conditions of plaintiff's 55 days of SHU                  First Amendment. See, e.g., Jones v. Goord, 435
       confinement and summary judgment should not                      F.Supp.2d 221, 259–64 (S.D.N.Y.2006) (declining
       have been granted on his due process claim).                     to address possible RLUIPA claims where plaintiff
                                                                        did not plead one and did not seek to amend to add
IV. Denial–of–Religious–Service Claims                                  one).
                                                                 19
  A. Background                                                         Plaintiff also alleged that a facility Rabbi violated
 *15 The Second Amended Complaint (¶ 15) alleges that, on               his First Amendment rights by denying him
December 26, 2006, plaintiff submitted requests to defendant            the opportunity to engage, in his SHU cell,
Racette, the Deputy Superintendent of Security, seeking                 in “smudging,” a Native American religious
permission to attend congregate Native American religious               ceremony. (2d Am.Compl.¶ 15). Judge Scullin
ceremonies approximately ten times per year, which request              dismissed this claim in response to defendants'
was ignored. Judge Scullin denied defendants' motion to                 motion to dismiss. Phillips v. Roy, 2011 WL
dismiss this First Amendment claim 18 because defendants                3847625, at *8–9.
had not presented any legitimate penological justification for   In support of the defense motion for summary judgment,
denying plaintiff the opportunity to attend group religious      defendant Racette filed a sworn declaration stating that
services. Phillips v. Roy, 2011 WL 3847625, at *8. 19            DOCCS regulations prohibited inmates housed in the SHU
                                                                 from attending congregate religious services. (Racette Decl.
18                                                               ¶¶ 21–24, Dkt. No. 133–13). Dep. Sup. Racette also set
       In his Report and Recommendation, Magistrate
                                                                 forth, in considerable detail, the reasons why he considered
       Judge Peebles observed that plaintiff's Second
                                                                 plaintiff, in particular, to pose a danger to the safety and
       Amended Complaint did not contain a claim
                                                                 security of the facility, which defendant Racette contended
       under the Religious Land Use and Institutionalized
                                                                 provided substantial penological justification for his denial
       Persons Act of 2000 (“RLUIPA”), although the
                                                                 of plaintiff's request to participate in religious services in
       allegations in the complaint could support such
                                                                 the general population setting. (Id. ¶¶ 25–33). While plaintiff
       a claim. Phillips v. Fischer, 2010 WL 7375637,


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contests many of the grounds upon which the defendants rely
in determining he was a serious security risk, his admitted             C. Analysis
prior conduct provides substantial penological justification         By virtue of his position as Deputy Superintendent for
for restricting him from general population activities such          Security at Clinton, defendant Racette reviewed, every 60
as congregate religious services. Accordingly, this court            days, the determination that plaintiff presented a threat to the
concludes that no reasonable fact finder could conclude that         security of the facility who should remain in administrative
the defendants violated plaintiff's First Amendment rights by        segregation in the SHU. (Racette Decl. ¶¶ 8–11). Defendant
excluding him from such religious services.                          Racette repeatedly determined that plaintiff continued to
                                                                     create such a security threat, based on, inter alia:

   B. Applicable Law
The free exercise clause of the First Amendment affords                           Mr. Phillips' admitted escape from a
inmates at least some measure of constitutional protection                        local, secure facility; his admission
of their right, in appropriate circumstances, to participate in                   to the shooting of three State
congregate religious services. See Salahuddin v. Coughlin,                        Police members in an effort to
993 F.2d 306, 308 (2d Cir.1993) (“It is well established                          avoid being taken into State custody;
that prisoners have a constitutional right to participate in                      his demonstrated admitted ability
congregate religious services .”) (citing cases). That First                      to remove restraints; his admitted
Amendment right, however, is limited by valid penological                         possession of a CB radio while in a
concerns, including those relating to institutional security.                     State prison; his admitted possession
Pell v. Procunier, 417 U.S. 817, 822 (1974) (“... a prison                        of contraband, including weapons,
inmate retains those First Amendment rights that are not                          even while within administrative
inconsistent with his status as a prisoner or with the legitimate                 segregation; his admitted ability
penological objectives of the corrections system .”); O'Lone                      to remove his own handcuffs
v. Estate of Shabazz, 482 U.S. 342, 348 (1987); Salahuddin,                       with a simple paper clip; his
993 F.2d at 308. As the Second Circuit has observed, the                          admitted tampering with locks and
determination of whether a refusal to permit attendance at a                      other security devices while in
religious service impinges upon inmates' First Amendment                          administrative segregation; and his
free exercise right is “one of reasonableness, taking into                        many threats to staff and the general
account whether the particular [act] affecting [the] right ...                    security of the facility.
is ‘reasonably related to legitimate penological interests.’
“ Benjamin v. Coughlin, 905 F.2d 571, 574 (2d Cir.1990)
(quoting Turner v. Safley, 482 U.S. 78, 89 (1987)); Ford v.          (Racette Decl. ¶¶ 25–26).
McGinnis, 352 F.3d 582, 588 (2d Cir.2003); Farid v. Smith,
850 F.2d 917, 925 (2d Cir.1988).                                     Plaintiff denies that he presented a significant security risk in
                                                                     a secure state prison and has offered various explanations of
 *16 This Circuit has clearly stated that it is error to             why some of his conduct could not reasonably be perceived
assume that prison officials are justified in limiting appellant's
                                                                     as creating a security threat. (Pl.'s Dep. at 88–98). 20
free exercise rights simply because the prisoner is in
disciplinary confinement. Young v. Coughlin, 866 F.2d 567
                                                                     20
(2nd Cir.1989). As the Young court stated: “[N]ot every                      For example, plaintiff claimed that a piece of metal,
prisoner in segregation lawfully can be prevented from                       which prison officials classified as a weapon, was
attending church services in the chapel ... [because] [n]ot                  only used by him as a weight on the end of
all segregated prisoners are potential troublemakers....” Id.                a long line which he used to pass items, such
at 570 (citing LaReau v. MacDougall, 473 F.2d 974, 979                       as magazines, back and forth between his cell
n. 9 (2d Cir.1972)). Prison officials must make individual                   and that of other inmates. (Pl.'s Dep. at 88–
determinations on a case-by-case basis as to the need for                    92). While plaintiff admitted that he possessed a
exclusion. Id. (citing Leon v. Harris, 489 F.Supp. 221, 225                  working, homemade CB radio and local map while
(S.D.N.Y.1980)).                                                             previously confined at Auburn prison, he claimed
                                                                             that he only used these items to communicate


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        driving directions to passing truckers. (Pl.'s Dep.
        at 17–18). Plaintiff's purported “innocent” uses            V. Medical Indifference Claims
        for such contraband does not eliminate substantial
                                                                       A. Background
        security issues arising from his possession and use
                                                                    The tenth cause of action in the Second Amended Complaint
        of such items.
                                                                    accuses Nurse Administrator Brian LeCuyer and Nurse
However, plaintiff has admitted, inter alia, that (1) he had        Practitioner Amber Lashway of deliberate indifference to
previously removed both handcuffs and shackles while in             plaintiff's serious medical needs. That claim is based upon
custody, using a paperclip (Ad. Seg. Tr. at 8) and he tried to      the delay in granting plaintiff's request that Neurontin be
conceal a paperclip at least once while at Clinton (Pl.'s Dep.      prescribed for “chronic and severe” back pain, instead
at 29, 93–94); (2) he had escaped from a county jail by using a     of the over-the-counter pain medication he was initially
stolen screwdriver to cut through the roof (Ad. Seg. Tr. at 13);    provided. (2d Am.Compl.¶¶ 19–21). Judge Scullin denied
(3) he formulated and executed his escape plan in as little as      defendants' motion to dismiss this claim, finding it “barely
three days (Ad. Seg. Tr. at 14); (4) while a fugitive, he wore      plausible,” Phillips v. Roy, 2011 WL 3847625, at *10,
a stolen New York State Trooper's uniform while he pistol-          and Magistrate Judge Peebles noted “it appears likely that
whipped and threatened a bounty hunter (Ad. Seg. Tr. at 15);        plaintiff's deliberate indifference claim does in fact implicate
(5) although he never intended to kill a police officer, he fired   nothing more than a disagreement over the course of
an assault rifle at the camouflaged New York State troopers         treatment [,]” Phillips v. Fischer, 2010 WL 7375637, at *13.
who were trying to recapture him, killing one of them (Ad.
Seg. Tr. at 16); (6) he threatened to kill Lt. Allan at Clinton     In support of the defense motion for summary judgment,
(Pl.'s Dep. at 110); and (7) he had periodic verbal conflicts       defendants Lashway and LeCuyer have filed sworn
while in custody and at least two incidents of fist fights with     declarations and documented plaintiff's medical history.
other inmates (Ad. Seg. Tr. at 7).                                  Plaintiff's medical records confirm that, in late January
                                                                    2007, he complained of back pain and requested Neurontin,
 *17 The conduct which plaintiff admits, before and during          which had been prescribed for him during a previous
his incarceration in state prison, provides ample legitimate        DOCCS confinement in 2004. (Ambulatory Health Record
penological justification for the conclusion that plaintiff         (“AHR”), Dkt. No. 134–2 at 51). Defendant Lashway,
created a substantial risk to the security of the facility and      a Nurse Practitioner (“N.P.”) who then provided primary
should not be allowed to participate in religious services with     medical care at Clinton and was authorized to prescribe
the general population of the facility. The court concludes         medication, initially treated plaintiff with over-the-counter
there are no material issues of fact relating to the viability      pain medications. (Lashway Decl. ¶¶ 4–7, 50, Dkt. No.
of plaintiff's free-exercise-of-religion claim and recommends       134–2; Pl.'s Dep. at 75–76, 79). Defendant Lashway also
that this First Amendment claim be dismissed on summary             recommended physical therapy, which plaintiff declined
judgment. See, e.g., Aliym v. Miles, 679 F.Supp. 1, 2               because he exercised regularly in the SHU, which helped him
(W.D.N.Y.1988) (granting summary judgment dismissing                manage his back pain. (Id.).
First Amendment claim challenging prison prohibition on
attendance at congregate worship services by SHU inmates             *18 Plaintiff originally agreed to conservative treatment
considered to be a threat to other inmates, staff, and the          without the use of Neurontin, understanding that N.P.
security of the facility); Matiyn v. Henderson, 841 F.2d 31, 37     Lashway viewed that medication as a “last resort.” (Pl.'s
(2d Cir.1988) (“we agree with the district judge's ... holding      Dep. at 74, 75–76). Between January 2007 and March 2008,
that [plaintiff] was prevented from attending communal              plaintiff was seen by the medical staff at least 16 times for a
services [while in administrative segregation] for reasons          variety of medical issues. (AHR, Dkt. No. 134–2 at 42–50).
related to legitimate penological objectives, and that his [First   The medical notes indicate that plaintiff complained of back
Amendment] claim was therefore without merit”); O'Lone v.           pain twice during this time period, both during the summer of
Estate of Shabazz, 482 U.S. at 350–51 (prison officials did not     2007, and he was then prescribed ibuprofen. (AHR, Dkt. No.
violate inmate's rights, by assigning him to outside work detail    134–2 at 45–46).
that prevented him from attending weekly congregational
service, because rules relating to outside assignments were         Medical records indicate that on March 30, 2008, plaintiff
reasonably related to legitimate penological objectives).           again complained of back pain and refused any further
                                                                    over-the-counter pain medication because “they don't


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work.” (AHR, Dkt. No. 134–2 at 41). 21 On May 1, 2008,            scheduling nursing care at Clinton; he did not have the
plaintiff was again seen by the medical staff for cervical pain   authority to provide primary care to inmates or prescribe
and stated that he had been prescribed Neurontin in the past.     medication, and was not directly involved in plaintiff's care.
(AHR, Dkt. No. 134–2 at 40). The medical staff prescribed         (LeCuyer Decl. ¶ ¶ 4–6, 8, Dkt. No. 134–3). R.N. LeCuyer
Motrin and ordered an x-ray of plaintiff's cervical spine,        responded to plaintiff's letter on June 3rd, by advising him
                                                                  that he should address his concerns at his next scheduled
which was performed on May 6 t' , resulting in a diagnosis
                                                                  appointment with his primary care provider. (LeCuyer Decl.
of spondylolisthesis 22 and a suggested referral for more
                                                                  ¶ 14). 24
comprehensive x-rays and an MRI. (Dkt. No. 134–2 at 40, 70–
71). On May 23, 2008, plaintiff again requested medication
                                                                  24
for back pain and was prescribed Motrin. (AHR, Dkt. No.                   Plaintiff's June 1st letter stated that he had, since
134–2 at 39). On May 27, 2008, plaintiff told the medical                 December 2006, “continually filed grievances
staff he was not getting back pain relief from Motrin and                 concerning my extreme back pain .” In his
wanted Neurontin prescribed. The provider notes reflected                 opposition papers, plaintiff did include a number
uncertainty about the true level of plaintiff's back pain and             of his prior grievances about what he viewed as
stated that plaintiff had been observed doing pull ups and                inadequate medical care for a variety of medical
other vigorous exercise in the SHU with no evidence of                    problems. (Dkt. No. 139–6 at 80–101). The
limping or pain. (AHR, Dkt. No. 134–2 at 38).                             grievances filed between December 2006 and June
                                                                          2008 only mentioned delays in treatment for back
21                                                                        pain a couple of times, and never complained that
          Plaintiff was next seen by the Clinton medical staff
                                                                          he had been denied Neurontin. (Dkt. No. 139–6 at
          on April 9, 2008, based on a complaint of dry lips.
                                                                          80, 81, 95, 100).
          (AHR, Dkt. No. 134–2 at 41).
                                                                  After plaintiff reported, during three medical appointments
22        “Spondylolisthesis is a condition in which a            in July and August, that Motrin and similar over-the-counter
          bone (vertebra) in the spine slips out of the           medications were not working, the medical staff prescribed
          proper position onto the bone below it .”               Neurontin, starting on September 4, 2008, which alleviated
          PubMed Health, http://www .ncbi.nlm.nih.gov/            “98 percent of his back pain.” (AHR, Dkt. No. 134–2 at 33–
          pubmedhealth/PMH0002240/.                               34, 132; Pl.'s Aff. ¶ 101, Dkt. No. 139–3).
Plaintiff complained again of back pain on May 30 and June
10, 2008, and he was then scheduled for further x-rays. (AHR,
                                                                     B. Applicable Law
Dkt. No. 134–2 at 36–37). A more thorough series of x-rays
                                                                   *19 In order to state an Eighth Amendment claim based
was performed on June 18, 2008, resulting in a diagnosis
                                                                  on constitutionally inadequate medical treatment, the plaintiff
of “severe spondylolisthesis at L5–S 1.” (Dkt. No. 134–2 at
                                                                  must allege “acts or omissions sufficiently harmful to
74). 23                                                           evidence deliberate indifference to serious medical needs.”
                                                                  Estelle v. Gamble, 429 U.S. 97, 106 (1976). There are
23                                                                two elements to the deliberate indifference standard. Smith
          The medical staff discussed an MRI with plaintiff,
          who advised that he had undergone an MRI during         v. Carpenter, 316 F.3d 178, 183–84 (2d Cir.2003). The
          a prior period of confinement at Clinton. The June      first element is objective and measures the severity of the
          19, 2008 medical notes indicated that the staff was     deprivation, while the second element is subjective and
          going to try to find the report of the prior MRI.       ensures that the defendant acted with a sufficiently culpable
          (AHR, Dkt. No. 134–2 at 35–36).                         state of mind. Id. at 184 (citing inter alia Chance v. Armstrong,
                                                                  143 F.3d 698, 702 (2d Cir.1998)).
On or about June 1, 2008, plaintiff wrote Nurse Administrator
LeCuyer complaining that he was being denied medical
                                                                  The objective prong of the standard is satisfied “when (a) the
attention for the pain and numbness caused by compressed
                                                                  prisoner was ‘actually deprived of adequate medical care,’
discs in his lower back, but he did not specify that he was
                                                                  meaning prison officials acted unreasonably in response to
being denied Neurontin in favor of over-the-counter pain
                                                                  an inmate health risk under the circumstances, and (b) ‘the
medication. (Dkt. No. 134–3 at 12–13). Defendant LeCuyer
                                                                  inadequacy in medical care is sufficiently serious.’ Bellotto
was a Registered Nurse (“R.N.”) who was responsible for
                                                                  v. County of Orange, 248 F. App'x 232, 236 (2d Cir.2007)


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(quoting Salahuddin v. Goord, 467 F.3d 263, 279–80 (2d            (2d Cir.1986)). Even negligence in diagnosing or treating
Cir.2006)). If the “unreasonable care” consists of a failure      an inmate's medical condition does not constitute deliberate
to provide any treatment, then the court examines whether         indifference. Farmer v. Brennan, 511 U.S. at 835. Thus,
the inmate's condition itself is “sufficiently serious.” Smith    any claims of medical malpractice, or disagreement with
v. Carpenter, 316 F.3d 178, 185–86 (2d Cir.2003). When            treatment are not actionable under Section 1983. Ross v. Kelly,
a prisoner alleges “a temporary delay or interruption in          784 F.Supp. 35, 44–45 (W.D.N.Y.), aff'd, 970 F.2d 896 (2d
the provision of otherwise adequate medical treatment,”           Cir.1992) (table).
the court must focus on the seriousness of the particular
risk of harm that resulted from the challenged delay or
interruption, rather than the prisoner's underlying medical          C. Analysis
condition alone.” Id. at 185. The standard for determining        This court will assume, without deciding, that there are
when a deprivation or delay in a prisoner's medical need          material issues of fact as to whether the delay in providing
is sufficiently serious contemplates a condition of urgency       different medication to plaintiff to treat his back pain had
that may result in degeneration of the patient's condition or     sufficiently serious medical consequences to satisfy the
extreme pain. Bellotto v. County of Orange, 248 F. App'x          objective prong of the Eighth Amendment standards for
at 236 (citing Chance v. Armstrong, 143 F.3d 698, 702 (2d         medical care. The court finds, however that, based upon
Cir.1998) and Smith v. Carpenter, 316 F.3d at 187 (actual         the conclusive evidence regarding the course of plaintiff's
medical consequences are highly relevant)).                       medical treatment, he cannot establish that either defendants
                                                                  Lashway or LeCuyer acted with deliberate indifference to his
The subjective prong of the deliberate indifference test          serious medical needs. Accordingly, this court recommends
is satisfied when an official “knows that inmates face a          that the plaintiff's claim for constitutionally deficient medical
substantial risk of serious harm and disregards that risk by      care be dismissed.
failing to take reasonable measures to abate it.” Farmer v.
Brennan, 511 U.S. 825, 847 (1994). A plaintiff is not required    Prison officials have broad discretion in determining the
to show that a defendant acted or failed to act “for the very     nature and character of medical treatment afforded to inmates.
purpose of causing harm or with knowledge that harm will          Sonds v. St. Barnabas Hosp. Correctional Health Services,
result,” but must show that the official was aware of facts       151 F.Supp.2d at 311. An inmate does not have the right
from which one could infer that “a substantial risk of serious    to treatment of his choice. Ross v. Kelly, 784 F.Supp. at
harm” exists, and that the official drew that inference. Id.      45 (citing, inter alia, Dean v. Coughlin, 804 F.2d at 215).
at 835, 837. The defendant must be subjectively aware that        In order to establish “deliberate indifference,” plaintiff must
his or her conduct creates the risk; however, the defendant       demonstrate more than a “negligent” failure to provide
may introduce proof that he or she knew the underlying            adequate medical care. Salahuddin v. Goord, 467 F.3d at
facts, but believed that the risk to which the facts gave rise    280 (citing Farmer, 511 U.S. at 835–37). Instead, plaintiff
was “insubstantial or non-existent.” Farmer v. Brennan, 511       must show that the defendant acted with the equivalent of
U.S. at 844. Thus, the court stated in Salahuddin that the        subjective recklessness. Id. (citing Farmer, 511 U.S. at 839–
defendant's belief that his conduct posed no risk of serious      40).
harm “need not be sound so long as it is sincere,” and “even if
objectively unreasonable, a defendant's mental state may be       The medical records summarized above reflect that the
nonculpable.” Salahuddin, 467 F.3d at 281.                        Clinton medical staff did not callously ignore plaintiff's
                                                                  complaint of back pain, but provided a consistent course of
 *20 A difference of opinion between a prisoner and               treatment. Plaintiff does not dispute that defendant Lashway,
prison officials regarding medical treatment does not, as a       his primary care physician, was always willing to provide
matter of law, constitute deliberate indifference. Chance v.      medication for his back pain, “except for Neurontin.” (Pl.'s
Armstrong, 143 F.3d at 703. Nor does the fact that an inmate      Dep. at 79). Although plaintiff suggests that the defendants
feels that he did not get the level of medical attention he       ignored repeated requests for Neurontin for close to two years
deserved, or that he might prefer an alternative treatment,       (2d Am.Compl.¶¶ 19–21), the medical records and grievances
support a constitutional claim. Sonds v. St. Barnabas Hosp.       indicate that plaintiff did not begin to complain that the over-
Correctional Health Services, 151 F.Supp.2d 303, 311              the-counter medications provided to him were not reasonably
(S.D.N.Y.2001) (citing Dean v. Coughlin, 804 F.2d 207, 215        managing his back pain until March 2008. 25 Over the next



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five months, the Clinton medical staff ordered x-rays and took      use of Neurontin made him “violent” and that, following
other steps to clarify the nature of plaintiff's back problems      his prior release from custody, he decided to wean himself
and the extent of his pain, and then, in early September            from the use of Neurontin. Plaintiff also told defendant
2008, agreed to prescribe Neurontin. Even if the delay in           Lashway that, while he was out of jail, he managed his back
changing plaintiff's medication reflected negligence or even        pain with regular physical exercise and over-the-counter pain
malpractice, it does not constitute deliberate indifference. See,   medications. (Pl.'s Dep. at 67–69, 76, 78). Nurse Lashway
e.g., Estelle v. Gamble, 429 U.S. at 100–101, 106–107 (inmate       personally observed plaintiff engaging in vigorous physical
who alleged doctors did not credit his repeated assertions that     exercise outside of his SHU cell, and, for a time, concluded
severe back pain should preclude him from manual labor did          that the safest way to manage plaintiff's back pain was a
not state a claim for deliberate indifference where the medical     conservative treatment plan of exercise and over-the-counter
staff repeatedly saw and treated him, even if their lack of         pain medication. (Lashway Decl. ¶¶ 28–33, 38–39, 46–56).
diagnosis and inadequate treatment constituted malpractice).
                                                                    While plaintiff and N.P. Lashway clearly had a disagreement
25                                                                  as to the most appropriate medication to treat plaintiff's
        See e.g., Emerson v. New York State Dep't of
                                                                    back pain, such a disagreement does not constitute deliberate
        Corr. Servs., 9:08–CV–824 (NAM/ATB), 2011
                                                                    indifference. See, e.g., Evans v. Manos, 336 F.Supp.2d
        U.S. Dist. LEXIS 116377, at *28 (N.D.N.Y. Sept.
                                                                    255, 262, 263 (W.D.N.Y.2004) (inmate's opinion that doctor
        9, 2011) (plaintiff's suggestion that the prison
                                                                    should have prescribed something stronger than Advil and a
        medical staff completely failed to address his pain
                                                                    back brace does not give rise to an issue of fact as to whether
        with medication during parts of 2006 and 2007
                                                                    his constitutional rights were violated); Veloz v. New York, 339
        does not create an issue of fact in the face of
                                                                    F.Supp.2d 505, 525 (S.D.N.Y.2004) (inmate's disagreement
        the overwhelming documentary evidence to the
                                                                    with his medical provider about whether he needed something
        contrary—the declarations of his treating doctors,
                                                                    stronger than Tylenol for his back pain did not constitute
        which are, in turn, corroborated by the applicable
                                                                    deliberate indifference to a serious medical need); Morrison
        DOCS medical records) (citing, inter alia, Flaherty
                                                                    v. Mamis, 08 Civ. 4302, 2008 WL 5451639, at *10 (S.D.N.Y.
        v. Coughlin, 713 F.2d 10, 13 (2d Cir.1983) (“mere
                                                                    Dec. 18, 2008) (doctor refusing to switch prescription pain
        conclusory allegations or denials are insufficient
                                                                    killers for an inmate complaining of back pain and migraines
        to withstand a motion for summary judgment once
                                                                    does not give rise to an deliberate indifference claim)
        the moving party has set forth a documentary
                                                                    (Report and Recommendation), adopted, 2009 WL 2168845
        case”) (Report–Recommendation), adopted, 2011
                                                                    (S.D.N.Y. July 20, 2009). Nurse Lashway's expressed
        U.S. Dist. LEXIS 112521 (N.D.N.Y. Sept. 30,
                                                                    concerns about the serious side effects of Neurontin, and
        2011); Brown v. White, 9:08–CV–200 (GLS/ATB),
                                                                    the fact that defendant admitted the medication had made
        2010 WL 985184, at *8 (N.D.N.Y. Mar. 15, 2010)
                                                                    him violent in the past, properly influenced her professional
        (plaintiff's conclusory suggestion that defendant
                                                                    treatment decisions and strongly rebuts plaintiff's conclusory
        nurse completely refused to provide any medical
        attention on a particular date is insufficient to           allegations of deliberate indifference. 26 Defendant Lashway
        create a dispute of fact in the face of the sworn           could also reasonably consider the objective evidence that
        declaration and supporting documentary evidence             plaintiff was exaggerating his pain—e.g., his observed
        in the record).                                             ability to engage in vigorous exercise without apparent
                                                                    physical limitation or pain—in delaying the prescription of
 *21 N.P. Lashway advises that the use of the anti-seizure
                                                                    a medication with more serious side effects for an “off-
medication Neurontin to treat back pain has not been
                                                                    label” use. “The mere fact that [DOCCS] physicians in
approved by the FDA and that the drug has a variety of
                                                                    other facilities may have previously provided plaintiff with
serious adverse side effects, including increasing the risk
                                                                    some of the treatments and accommodations he demanded
of suicide and/or violence. (Lashway Decl. ¶¶ 40–46; Pl.'s
                                                                    at [Clinton] does not render the medical decisions of [N.P.
Dep. at 78). While such use of the drug by a qualified
                                                                    Lashway] ‘deliberate indifference.’ “ Gillespie v. New York
medical provider is allowable, N.P. Lashway contends “it
                                                                    State Dept. of Correctional Services, 9:08–CV–1339 (TJM/
was entirely appropriate to rely upon ... less invasive and
                                                                    ATB), 2010 WL 1006634, at *6, (N.D.N.Y. Feb. 22, 2010)
dangerous approaches before resorting to off-label usages of
                                                                    (citing cases) (Report–Recommendation), adopted, 2010 WL
Neurontin to treat plaintiff's reported back pain.” (Lashway
                                                                    1006643 (N.D.N.Y. Mar 19, 2010).
Decl. ¶¶ 43, 46). Plaintiff advised N.P. Lashway that his prior


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                                                                    prior grievances against them, by causing plaintiff to be held
26                                                                  for observation in the Office of Mental Health (“OMH”)
        Cf. Wright v. Genovese, 694 F.Supp.2d 137, 160–
                                                                    Unit at Clinton, where he was allegedly subjected to cruel
        61 (N.D.N .Y. Mar. 9, 2010) (concern about
                                                                    and unusual conditions of confinement for three days. (See
        prescribing narcotic pain medication, on which
        inmates with possible substance abuse issues                also 2d Am. Compl. ¶¶ 26–29). The nineteenth cause of
        could become dependent, may inform a medical                action alleges that defendant Allan further retaliated against
        judgment about what drug to prescribe) (collecting          plaintiff by causing him to be moved to a different SHU
                                                                    company which was unsanitary and excessively noisy, in
        cases), aff'd, 415 F. App'x 313 (2d Cir. Mar. 23,
        2011).                                                      violation of plaintiff's Eighth Amendment rights. (See also
                                                                    2d Am. Compl. ¶ 32). Plaintiff's twenty-sixth cause of
 *22 With respect to defendant LeCuyer, he was not                  action charges defendant Allan and Donald Uhler with
authorized to provide primary care to inmates or to prescribe       punishing plaintiff with frequent “retaliatory” transfers to
medication. After receiving plaintiff's complaint (which did        various SHU cells at Clinton which subjected plaintiff to
not even specify his objections to the medications provided),       severe mental and emotional distress, again contrary to the
R.N. LeCuyer reviewed plaintiff's medical records and saw           Eighth Amendment. (See also 2d Am. Compl. ¶¶ 32, 39–
no indication that plaintiff was not receiving appropriate          40). Magistrate Judge Peebles and Senior District Judge
treatment. (LeCuyer Decl. ¶ 25). In the absence of any              Scullin construed these overlapping causes of action as
evidence that defendant LeCuyer knew that N.P. Lashway              stating plausible First Amendment retaliation claims and/or
had maliciously denied plaintiff appropriate medication, his        Eighth Amendment claims of unconstitutional conditional of
reliance on the medical judgment of plaintiff's primary care        confinement. Phillips v. Fischer, 2010 WL 7375637, at *14–
provider could not constitute deliberate indifference. See, e.g.,   15, 16–18; Phillips v. Roy, 2011 WL 3847265, at *12, 14–15.
Gillespie v. New York State Dept. of Correctional Services,
2010 WL 1006634, at *6 & n. 11 (Nurse–Administrator                 On November 30, 2007, pursuant to an administrative mail
who deferred to or confirmed the treatment decisions of the         watch targeting plaintiff, Lt. Allan intercepted an outgoing
primary doctor was not deliberately indifferent) (citing Smith      letter in which plaintiff suggested that he was considering
v. Woods, 9:05–CV–1439 (LEK/DEP), 2008 WL 788573 at                 hanging himself. (Allan Decl. ¶¶ 80–83, Dkt. No. 133–1). In
*9 (N.D.N.Y. Mar. 20, 2008) (unless other members of the            support of their motions for summary judgment, defendants
medical staff knew, or reasonably should have known, that           Bosco and Allan argue that the suicidal reference in this
the primary doctor was engaged in deliberate indifference to        letter provided a clear, non-retaliatory reason for their referral
plaintiff's serious medical need, they could not be liable under    of plaintiff to OHM observation. They further contend that
the Eighth Amendment for failing to intercede in plaintiff's        neither defendant had any influence or control over the
care)). 27                                                          conditions of plaintiff's brief OMH confinement. (Defs.'
                                                                    Mem. of Law at 27–29, 31–32). This court agrees with the
27                                                                  defendants' position and recommends granting their motion
        Defendant LeCuyer would also be entitled to
        qualified immunity under these circumstances. See           for summary judgment with respect to the fifteenth cause of
        Cuoco v. Moritsugu, 222 F.3d 99, 110–11 (2d                 action.
        Cir.2000) (prison Health Services Administrator
        was entitled summary judgment on qualified                   *23 With respect to the nineteenth and twenty-sixth causes
        immunity grounds because there was no evidence              of action, defendants Allan and Uhler argue that the clear
        that, as a non-doctor, he had the authority to              security threat that plaintiff posed to the facility established
        intervene in an admittedly medical decision made            a non-retaliatory reason for his various cell transfers, and
        by qualified professionals).                                contend that transfers among similar cells in the same SHU
                                                                    unit could not constitute “adverse action” that would support
                                                                    a retaliation claim. (Defs.' Mem. of Law at 29–31). The
VI. Retaliation/Conditions–of–Confinement Claims
                                                                    court recommends dismissal of the retaliation claim based
  A. Background                                                     on the conclusion that, even if the defendants harbored
The fifteenth cause of action in the Second Amended                 some retaliatory intentions, the plaintiff would still have
Complaint accuses defendants William Allan and Maureen              been periodically transferred between different SHU cells for
Bosco of conspiring to retaliate against plaintiff for filing       legitimate penological reasons. Defendants Allan and Uhler



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further argue that plaintiff cannot demonstrate that they were     an inmate's health or safety. Farmer v. Brennan, 511 U.S.
aware of or responsible for the conditions of confinement in       825, 837 (1994); Hathaway v. Coughlin, 37 F.3d 63, 66 (2d
the various SHU cells to which plaintiff was assigned during       Cir.1994). To establish an Eighth Amendment claim based on
his confinement at Clinton. (Defs.' Mem. of Law at 31–32).         unsafe or medically inappropriate living conditions, a plaintiff
This court concludes that there are disputed issues of material    must establish that (1) he was incarcerated under conditions
fact with respect to defendant Allan and Uhler's personal          which posed a substantial risk of serious harm, and (2) prison
involvement in the conditions of plaintiff's SHU confinement,      officials acted with deliberate indifference to his health or
and concludes that the Eighth Amendment claims against             safety. See Farmer, 511 U.S. at 834.
them should not be dismissed.
                                                                    *24 “The deliberate indifference standard embodies both
                                                                   an objective and a subjective prong.” Hathaway v. Coughlin,
  B. Applicable Law                                                37 F.3d 63, 66 (2d Cir.1994). Under the objective standard,
                                                                   a plaintiff must allege a deprivation “sufficiently serious”
   1. Retaliation
                                                                   to constitute a constitutional violation. Hathaway, 37 F.3d
In order to establish a viable claim of retaliation under
                                                                   at 66 (quoting Wilson v. Seiter, 501 U.S. at 298). “Because
the First Amendment, plaintiff must show first, that he
                                                                   society does not expect or intend prison conditions to
engaged in constitutionally protected conduct, and second,
                                                                   be comfortable, only extreme deprivations are sufficient
that the conduct was a substantial motivating factor for
                                                                   to sustain a ‘conditions-of-confinement’ claim.” Blyden v.
“adverse action” taken against him by defendants. Bennett
                                                                   Mancusi, 186 F.3d 252, 263 (2d Cir.199) (citing Hudson v.
v. Goord, 343 F.3d 133, 137 (2d Cir.2003). The plaintiff
                                                                   McMillan, 503 U.S. 1, 9 (1992) (only those deprivations
must establish a causal connection between the protected
                                                                   denying “the minimal civilized measures of life's necessities”
conduct or speech and the adverse action. Gill v. Pidlypchak,
                                                                   are sufficiently serious to form the basis of an Eighth
389 F.3d 379, 380 (2d Cir.2004). The Second Circuit has
                                                                   Amendment violation) (internal quotations and citations
defined “adverse action” in the prison context as “retaliatory
                                                                   omitted).
conduct ‘that would deter a similarly situated individual of
ordinary firmness from exercising ... constitutional rights.’ “
                                                                   The subjective element of the Eighth Amendment analysis
Gill v. Pidlypchak, 389 F.3d at 381 (citations omitted). This
                                                                   focuses on whether the defendant official acted with “a
objective test applies even if the plaintiff was not himself
                                                                   sufficiently culpable state of mind.” Salahuddin v. Goord,
subjectively deterred from exercising his rights. Id.
                                                                   467 F.3d 263, 280 (2d Cir.2006) (citing Wilson v. Seiter, 501
                                                                   U.S. at 300). “Deliberate indifference” requires more than
The court must keep in mind that claims of retaliation
                                                                   negligence, but less than conduct undertaken for the very
are “easily fabricated” and “pose a substantial risk of
                                                                   purpose of causing harm. Farmer, 511 U.S. at 835. In order for
unwarranted judicial intrusion into matters of general
                                                                   a prison official to act with deliberate indifference, he must
prison administration.” Bennett, 343 F.3d at 137 (citation
                                                                   know of and disregard an excessive risk to an inmate's health
omitted). Accordingly, plaintiff must set forth non-conclusory
                                                                   or safety. Hathaway, 37 F.3d at 66. The official must both be
allegations. Id. Even if plaintiff makes the appropriate
                                                                   aware of facts from which the inference could be drawn that a
showing, defendants may avoid liability if they demonstrate
                                                                   substantial risk of serious harm exists, and he must also draw
that they would have taken the adverse action even in the
                                                                   the inference. Id.
absence of the protected conduct. Id. (citing, inter alia, Mount
Healthy Sch. Dist. v. Doyle, 429 U.S. 274, 287 (1977)).
                                                                      3. Personal Involvement
                                                                   Personal involvement is a prerequisite to the assessment of
   2. Conditions of Confinement
                                                                   damages in a section 1983 case, and respondeat superior
The Eighth Amendment protects prisoners from “cruel and
                                                                   is an inappropriate theory of liability for any constitutional
unusual punishment” in the form of “unnecessary and wanton
                                                                   claim. Wright v. Smith, 21 F.3d 496, 501 (2d Cir.1994);
infliction of pain” at the hands of prison officials. Wilson v.
                                                                   Richardson v. Goord, 347 F.3d 431, 435 (2d Cir.2003). In
Seiter, 501 U.S. 294, 297 (1991); Estelle v. Gamble, 429 U.S.
                                                                   Williams v. Smith, 781 F.2d 319, 323–24 (2d Cir.1986), the
97, 104 (1976). The constitutional prohibition against cruel
                                                                   Second Circuit detailed the various ways in which a defendant
and unusual punishment includes the right to be free from
                                                                   can be personally involved in a constitutional deprivation, and
conditions of confinement that impose an excessive risk to
                                                                   thus be subject to individual liability.


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                                                                    29). Plaintiff complained about his condition to unknown
A supervisory official is personally involved if that official      prison/OMH staff over the weekend, but was not released
directly participated in the infraction. Id. The defendant may      back to the SHU until the following Monday, after being told
have been personally involved if, after learning of a violation     by someone on the OHM staff that it was a “grave error” to
through a report or appeal, he or she failed to remedy the          place him on a suicide watch. (Id.).
wrong. Personal involvement may also exist if the official
created a policy or custom under which unconstitutional             Lt. Allan, who was supervising an ongoing “mail watch” of
practices occurred or allowed such a policy or custom to            plaintiff's correspondence, has stated that he referred plaintiff
continue. Id. Finally, a supervisory official may be personally     to OMH for an evaluation after reviewing an outgoing letter
involved if he or she were grossly negligent in managing            from plaintiff which stated, in pertinent part:
subordinates who caused the unlawful condition or event.
Id. See also Iqbal v. Hasty, 490 F.3d at 152–53 (stating that
defendant could be liable under section 1983 if he failed                        I am sooo [sic] overwhelmed with
to remedy a constitutional violation after learning of it, or                    grieving—may be [sic] I'll hang up—
was grossly negligent in managing subordinates who caused                        but I'll have to jerk-off while I'm doin'
violation); Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir.1995).                   it—may be [sic] I'll die with a stiff
                                                                                 cock. Then they can photograph that
                                                                                 and give the pictures to their wives and
  C. Application
                                                                                 daughters to prove mine is bigger!
    1. Confinement for OMH Observation
 *25 Plaintiff alleges that in August 2007, he filed a
complaint with defendant Bosco, the OHM Unit Chief at               (Allan Decl. ¶ 82, Dkt. No. 133–1; Pl.'s 11/29/07 Ltr. at 3,
Clinton, accusing her of “purposeful neglect” of mentally           Dkt. No. 133–3 at 37). Lt. Allan noted that “hanging up”
ill inmates housed in SHU, including a specific neighbor of         is prison slang for attempted suicide by hanging and is a
plaintiff who created frequent disturbances and unsanitary          basis for a mental health referral, specifically listed on the
conditions, by smearing feces over his body and cell. (2d           appropriate DOCCS form. (Allan Decl. ¶ 83; 11/30/07 Mental
Am.Compl.¶ 27). Defendant Bosco allegedly ignored the               Health Referral, Dkt. No. 133–3 at 33). Plaintiff has since
letter, but, when later making rounds in SHU, told plaintiff to     admitted writing the letter, knowing that he was subject to a
“mind your own business.” (Id.).                                    mail watch, and acknowledges that his letter was the basis
                                                                    for Lt. Allan's OMH referral. (Pl.'s Dep. at 83–84). Although
On Friday, November 30, 2007, plaintiff was escorted                plaintiff alleged that Lt. Allan retaliated against him in various
to OMH for an interview with defendant Bosco about                  ways for “filing grievances against the administration” and
his “suicide note.” Plaintiff stated that “he may be a bit          for what plaintiff was “writing in [his] letters[,]” plaintiff does
‘homicidal’ occasionally (jokingly) but never suicidal” and         not specifically identify grievances or written complaints
demanded to see the note. When defendant Bosco declined             directed to or focused on defendant Allan prior to November
to show plaintiff the note, plaintiff told her “since she           2007. (2d Am. Compl. ¶¶ 32, 35; Pl.'s Aff. ¶¶ 103–105, Dkt.
wanted to play games, she would be in his lawsuit.” (2d             No. 139–3 at 19–20). 28
Am.Compl.¶ 28). Stating that she felt “threatened,” Ms.
Bosco terminated the interview and advised plaintiff that she       28      Plaintiff did file grievances and complaints
would hold plaintiff for observation over the weekend. (Id.;
                                                                            explicitly relating to Lt. Allan well after plaintiff's
Pl.'s 12/26/2007 Grievance at 3, Dkt. No. 139–4 at 130).
                                                                            referral to OMH in November 2007. (See, e.g., Pl.'s
                                                                            11/14/08 Grievance, Dkt. No. 133–3 at 63–69).
Plaintiff, allowed to wear only a patient smock, was then
placed, by other staff members, in a mental health cell for          *26 Lt. Allan contends that, after making the referral, he had
observation for a period of three days, subjecting him to a cell    no responsibility over whether the mental health professionals
that was “bitter” cold and filthy, infested with cockroaches,       at OMH would keep plaintiff for observation or treatment,
with walls smeared with feces, a sink filled with feces, urine in   or over the conditions under which plaintiff might be housed
puddles on the floor, an inoperable toilet “full of shit,” and no   in the OMH. (Allan Decl. ¶¶ 87–90). During his deposition,
toilet paper, soap, or other hygiene products. (2d Am.Compl.¶       plaintiff testified that he did not know whether Lt. Allan had



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any responsibility for the condition of the OMH observation        Defendant Bosco has stated that she did not direct that
cells. (Pl.'s Dep. at 85).                                         plaintiff be assigned to any particular observation cell in
                                                                   the OMH, and that she was not directly responsible for his
Defendant Bosco is a licensed social worker with a master's        continuing observations while he was in OMH. (Bosco Decl.
degree in that field. (Bosco Decl. ¶ 3, Dkt. No. 134–              ¶ ¶ 41–42). She stated that she had no responsibility for the
1). On November 30, 2007, she read Lt. Allan's OMH                 day-to-day conditions of the observation cells, and that she
referral and plaintiff's letter with the reference to “hanging     relied on other OMH and DOCCS staff “to assess and address
up” and decided to interview plaintiff to assess his mental        plaintiff's needs while house in an OBS cell .” (Bosco Decl.
health, and in particular, his suicide risk. (Bosco Decl.          ¶¶ 22, 42). As noted above, plaintiff complained about the
¶ 29–30). Plaintiff denied being suicidal, but stated he           conditions in his observation cell to OMH/DOCCS staff other
“may be ‘homicidal’ occasionally” and threatened to sue            than defendants Bosco and Allan, and he acknowledged that
defendant Bosco. As documented by her contemporaneous              he was “not sure” that Chief Bosco had any responsibility for
medical records, defendant Bosco determined that, because          the condition of those cells. (Pl.'s Dep. at 85).
of plaintiff's failure to cooperate with the interview, she
could not complete a proper assessment of plaintiff. (Bosco
Decl. ¶¶ 31–36, 38; Dkt. No. 134–1 at 21–25). Accordingly,            a. Retaliation Claim
she terminated plaintiff's interview and directed that he be       The undisputed facts in the record establish that the suicidal
admitted to the OMH observation unit “in a safe holding            ideations referenced in plaintiff's letter and his failure to
environment in order to assess his level of suicidality.” (Id.).   cooperate with his mental health assessment provided a
Defendant Bosco contends that she placed plaintiff in OMH          clear, non-retaliatory basis for defendant Allan to make the
observation to ensure that his mental health needs were            referral to OMH and for defendant Bosco to order plaintiff
being appropriately addressed, not because of any retaliatory      to be held over the weekend for observation. Whether or
motivation regarding plaintiff's prior complaints. (Bosco          not plaintiff's letter reflected sincere thoughts of suicide,
                                                                   the DOCCS/OHM staff would have been derelict in their
Decl. ¶ 25). 29 She acknowledges that, following further
                                                                   duties to ignore the evidence that plaintiff might resort to
observation and interviews by other OMH staff, it was
                                                                   self-harm. Even if either defendant harbored any retaliatory
determined that “plaintiff was no longer in need of Mental
                                                                   motives—and plaintiff's conclusory allegations are extremely
Health Services and he was discharged” back to the SHU on
or about December 3, 2007. (Bosco Decl. ¶ 39 & Dkt. No.            thin in that regard 31 —his First Amendment claims fail
                                                                   because no reasonable fact finder would conclude that the
134–1 at 28–41). 30
                                                                   defendants would not have taken the same actions based on
                                                                   the indications that plaintiff presented a suicide risk. See
29     Defendant Bosco appears to acknowledge that                 Graham v. Henderson, 89 F.3d 75, 79 (2d Cir.1996) (if taken
       plaintiff made prior complaints about OMH's                 for both proper and improper reasons, state action may be
       failure to prevent mental health patients from              upheld if the action would have been taken based on the
       creating disruptive and unsanitary conditions in            proper reasons alone); Watson v. Wright, 9:08–CV–62 (NAM/
       the Clinton SHU. She stated that, while it was              ATB), 2011 WL 4527789, at *11–12 (N.D.N.Y. Aug. 4, 2011)
       not unusual for her to receive complaints from              (the defendant physician provided rational, medically-based
       inmates, to the extent plaintiff was complaining            reasons for stopping plaintiff's medication; even if plaintiff
       about matters within her area of responsibility,            had made a showing of retaliatory or discriminatory motive,
       “nothing in Mr. Phillip's complaint demonstrated            defendants would avoid liability under section 1983 because
       real insight worthy of any particular note.” (Bosco         they have demonstrated that they would have made the same
       Decl. ¶¶ 17–23).                                            treatment decision, even in the absence of the allegedly
30                                                                 improper motivation) (Report—Recommendation), adopted,
       Plaintiff was moved to a second OMH observation
                                                                   2011 WL 4528931 (N.D.N.Y. Sept. 28, 2011). The retaliation
       cell on December 2, 2007, after three days of
                                                                   claim against defendant Allan would also be subject to
       confinement in the first cell about which he
                                                                   dismissal on the independent ground that he lacked the
       complained. He was transferred back to the SHU on
                                                                   responsibility or authority to make the medical determination
       December 3rd. (Internal Movement History, Dkt.
       No. 133–8 at 2).                                            that plaintiff should be admitted for OMH observation. 32




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31                                                               for three days be dismissed. See, e.g., Green v. Bauvi, 792
       Plaintiff's conclusory and general allegations that
       defendants Allan and Bosco conspired to retaliate         F.Supp. 928, 941–942 (S.D.N.Y.1992) (inmate may recover
       against him are insufficient to support a viable          damages for unconstitutional conditions of confinement only
       Section 1983 claim. A civil rights conspiracy             from persons who created or were responsible for those
       must be proven with specificity, as bare claims of        conditions); Gonzales v. Carpenter, 9:08–CV–629 (LEK/
       illegal agreement, supported only by allegations of       ATB), 2011 WL 768990, at *5 (N.D.N.Y. Jan. 3, 2011) (in
       conduct easily explained as individual action, are        the absence of any factual allegations that the defendant
       insufficient. See Iqbal v. Hasty, 490 F.3d 143, 177       correctional officer had any control over the conditions in
                                                                 the OMH satellite unit in another facility, the 1983 claims
       (2d Cir.2007), rev'd on other grounds sub nom.
                                                                 against him based on plaintiff's confinement there should
       Ashcroft v. Iqbal, 556 U.S. 662 (2009). See also
                                                                 be dismissed for lack of personal involvement) (Report–
       Gyadu v. Hartford Ins. Co., 197 F.3d 590, 591 (2d
                                                                 Recommendation), adopted, 2011 WL 767546 (N .D.N.Y.
       Cir.1999). Thus, plaintiffs must “make an effort
                                                                 Feb. 25, 2011).
       to provide some details of time and place and the
       alleged effects of the conspiracy ... [including] facts
       to demonstrate that the defendants entered into an           2. Cell Transfers Within the SHU
       agreement, express or tacit, to achieve the unlawful      Plaintiff alleges that defendants Uhler and Allan subjected
       end.” Warren v. Fischl, 33 F.Supp.2d 171, 177             him to “excessive cell moves” within the Clinton SHU “based
       (E.D.N.Y.1999) (citations omitted).                       on retaliatory harassment.” These cell transfers resulted
32                                                               in plaintiff's confinement in filthy and unsanitary cells,
       See, e.g., McQuilkin v. Central New York
                                                                 previously occupied by mentally ill inmates who “made
       Psychiatric Center, 9:08–CV–975 (TJM/DEP),
                                                                 it a point to splash ‘feces' about the cell” or cells “in
       2010 WL 3765847, at *15 (N.D.N.Y. Aug. 27,
                                                                 proximity to seriously mentally ill who created an atmosphere
       2010) (plaintiff's claim that he was transferred to
                                                                 of continuous noise and unsanitary living conditions.” (2d
       a psychiatric facility, in retaliation for serving a
                                                                 Am.Compl.¶¶ 32, 39).
       notice of summons on the prison superintendent,
       fails because the record reflects that the transfer
                                                                 The Second Amended Complaint specifically references the
       decision was made by OHM care providers
                                                                 December 26, 2007 transfer of plaintiff from an “open cell”
       following an evaluation of plaintiff's mental status)
                                                                 to a “shielded cell” on a company “used for assaultive
       (Report–Recommendation), adopted, 2010 WL
                                                                 and disruptive inmates ....“ (2d Am.Compl.¶ 32). Plaintiff
       3765715 (N.D.N.Y. Sept. 20, 2010). See also
                                                                 claims that defendant Uhler explained the transfer by telling
       Cuoco v. Moritsugu, 222 F.3d 99, 111 (2d Cir.2000)
                                                                 him: “I'd say Lt. Allan doesn't care for what your [sic]
       (because they lack the authority to intervene in
                                                                 writing in your letters, but don't quote me on it.” (Id.). The
       medical decisions, the failure of non-doctors at a
                                                                 Second Amended Complaint also points to a “retaliatory”
       prison to intercede in the medical treatment of an
                                                                 cell transfer by defendant Uhler, on or about June 19, 2008,
       inmate is not unreasonable and supports summary
                                                                 that placed plaintiff in a filthy cell (# 3) previously occupied
       judgment on qualified immunity grounds).
                                                                 by a mentally ill inmate. (2d Am.Compl.¶ 40). Prior to this
                                                                 transfer, plaintiff admittedly provoked a verbal confrontation
   b. Conditions–of–Confinement Claim
                                                                 with a neighboring, mentally ill inmate and then “exploded
 *27 With respect to plaintiff's Eighth Amendment claims
                                                                 abrasively verbally towards defendant [Uhler] until he left
regarding the conditions in his observation cell, defendants
                                                                 the company.” Shortly thereafter, plaintiff claims, a correction
Allan or Bosco both allege that they had neither control
                                                                 officer told him he was moving and said: “You know better
over, nor responsibility for, the conditions of plaintiff's
                                                                 than to speak to the captain that way.” (Id.).
confinement during the weekend he spent in the OMH.
Plaintiff acknowledges that he interacted with OHM/DOCCS
                                                                 Over the two and one-half years between the time of his
staff other than the named defendants with respect to
                                                                 arrival at Clinton and the date on which he filed the Second
the conditions in his OMH cell, and he provides no
evidence of Lt. Allan or Chief Bosco's personal involvement.     Amended Complaint, 33 plaintiff was moved a total of nine
Accordingly, this court recommends that plaintiff's possible     times between nine different SHU cells. (Allan Decl. ¶ 55;
Eighth Amendment claim regarding his OMH incarceration           Internal Movement History, Dkt. No. 133–8 at 2). Defendants



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Uhler and Allan contend that plaintiff was periodically moved     items between inmates in different cells; and violating prison
between SHU cells in an effort to address the serious security    rules by using mail to harass and threaten others, and to solicit
risk that he posed and to interdict his antisocial behaviors.     personal advice about a DOCCS employee. (Allan Decl. ¶¶
(Uhler Decl. ¶¶ 30–32, 34, 36–39, Dkt. No. 133–14; Allan          25–38, 42–43 & Exs. C–F, Dkt. Nos. 133–4–134–7; Uhler
Decl. ¶¶ 45, 48, 50–51). As Lt. Allan explained, DOCCS'           Decl. ¶¶ 31, 35–38).
policy to move SHU inmates
                                                                  34      Plaintiff was transferred to a new cell on February
33     Plaintiff has acknowledged that as the relevant                    18, 2009, the same day he was charged with
       time frame relating to his claims of excessive cell                throwing a food tray at a correction officer and
       moves. (Pl.'s Dep. at 86).                                         threatening to throw feces at him. (Allan Decl. ¶
                                                                          30 & Ex. F, Dkt. No. 133–7). According to Capt.
    *28 enhances security of the prison by trying to limit                Uhler, plaintiff was, in some instances, transferred
   the opportunities of inmates in a particular cell location             to cells “which had security features which would
   from forming alliances with the immediately neighboring                limit his ability to tamper with cell doors, and
   inmates, by limiting the opportunity of an inmate to                   would allow, among other things, Plexiglas shields
   become so familiar with a particular cell as to develop                to be put in place in an effort to limit his ability
   and attempt an escape, by limiting the opportunity of an               to assault staff with food, urine and feces, which
   inmate to manipulate fixtures and other features of the                plaintiff would often threaten to do and reportedly
   cell to create and secret contraband including weapons,                did from time to time.” (Uhler Decl. ¶ 36).
   by interfering with the inmates' ability to have a steady      35      Defendant Allan alleges that plaintiff's November
   supply from [sic] contraband, by limiting the ability of the
                                                                          10, 2008 transfer resulted from damage to the door
   inmate to supply contraband to other inmates, by providing
                                                                          in his cell and the need to move plaintiff so it could
   additional opportunities for staff to discover contraband,
                                                                          be repaired. (Allan Decl. ¶ 28–29 & Dkt. No. 133–
   by congregating inmates who need additional supervision
                                                                          3 at 63–69).
   in areas of enhanced security and observation, and by
   allowing staff to utilize the variety of security features     In contemporaneous internal responses to plaintiff's
   which are available in differing cells.                        complaints, defendant Uhler explains the reasoning behind
   (Allan Decl. ¶ 51). The determination of the particular        the two cell transfers that plaintiff specifically discusses in the
   cell to which a SHU inmate will be reassigned, and who         Second Amended Complaint. In a May 6, 2008 Memorandum
   his neighboring inmates may be, are usually strongly           to Clinton Superintendent Artus, Capt. Uhler states that
   influenced by the availability of cell space; and a cell       plaintiff was moved to 1 Company, 1 Cell on December 26,
   transfer of one inmate often requires that other inmates be    2007, because he was caught attempting to smuggle mail out
   moved at the same time. (5/6/2008 Uhler Mem. to Artus,         of the facility through another inmate, which resulted in a
   Dkt. No. 139–5 at 57; 7/20/200[8] Uhler Mem. to Artus,         guilty disposition on a misbehavior report. (Dkt. No. 139–5 at
   Dkt. No. 139–5 at 37; Pl.'s Dep. at 109).                      57; see also Allan Decl., Ex. D, Dkt. No. 133–5). In a July 20,
In explaining the specific concerns that prompted plaintiff's     2008 Memorandum, 36 Capt. Uhler informs Sup. Artus that
periodic cell transfers, the defendants point to plaintiff's      plaintiff's June 19, 2008 transfer from SHU 9 cell to SHU 3
prior history of escapes and the commission of homicide           cell “was clearly based on security reasons” because inmate
and other violent crimes, as summarized above, which              Phillips was a “high escape risk” and it is “appropriate to
provided the basis for his confinement in administrative          periodically move such inmate[ ] due to his history.” (Dkt.
segregation. (Allan Decl. ¶¶ 12–22). They also describe           No. 139–5 at 37).
plaintiff's checkered disciplinary history at Clinton, which
included numerous incidents of threats to assault and kill        36
     34
                                                                          This memorandum is dated “7/20/07, but it is clear
staff;    verbal harassment of other inmates and staff;
                                                                          from the context of the document that it was created
intentionally damaging or tampering with cell doors and
                                                                          in 2008.
locks; 35 possession of contraband, including weapons, paper
                                                                   *29 During his deposition, plaintiff acknowledged that some
clips (which plaintiff claims he can use to escape from
                                                                  of his cell movements likely related to his damaging the doors
restraints), and materials used to surreptitiously exchange
                                                                  or tampering with the locks to his cells (Pl.'s Dep. at 88,


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95–97, 104–105); his possession of “weapons” or materials        a sickening smell by smearing feces in his cell, the staff
used to exchange items with inmates in other cells (Pl.'s        responded by hosing down the cell, but plaintiff claims that
Dep. at 88–91); and his threat to kill Lt. Allan and other       the staff left fecal matter in the corridor which was not
threats and verbal outbursts directed at staff (Pl.'s Dep. at    removed for another two days, despite frequent complaints.
110, 114, 116–18). Plaintiff claims, however, that, in causing   (Pl.'s 10/9/2007 Grievance, Dkt. No. 133–14 at 50).
his periodic transfers between SHU cells, defendants Uhler
and Allan acted with a retaliatory motive because of the          *30 Defendants Allan acknowledges that he has supervisory
frequent complaints and grievances he filed. Plaintiff did,      responsibility with respect to the Clinton SHU, and Capt.
in fact, file numerous grievances and complaints during          Uhler has stated that he made daily rounds of the SHU. (Allan
his tenure at Clinton, and Lt. Allan and Capt. Uhler were        Decl. ¶ 5; 5/6/2008 Uhler Mem. to Artus, Dkt. No. 139–
sometimes the subjects or recipients of those grievances and/    5 at 57; 5/19/08 Uhler revised Mem. to Phillips, Dkt. No.
or were periodically involved in responding to them. (See,       139–5 at 34). However, these defendants contend that they
e.g., Pl.'s 1/11/2008 Ltr. to Uhler, Dkt. No. 139–5 at 55–56;    reasonably relied on subordinate staff to ensure the day-to-day
Pl.'s 1/17/2008 Ltr. to Uhler, Dkt. No. 139–5 at 51–54; Pl.'s    cleanliness of SHU cells and were not personally involved in,
1/23/2008 Ltr. to Uhler, Dkt. No. 139–5 at 48–50; 2/7/2008       or responsible for, any unsanitary or other adverse conditions
Uhler Mem. to Phillips, Dkt. No. 139–5 at 46; Pl.'s 4/14/2008    that plaintiff may have been exposed to. (Uhler Decl. ¶¶ 12–
Grievance, Dkt. No. 139–5 at 8–13; Pl.'s 4/23/2008 Ltr. to       13; Allan Decl. ¶¶ 65–66, 71–72).
Uhler, Dkt. No. 139–5 at 62–64; 5/19/2008 revised Uhler
Mem. to Phillips, Dkt. No. 139–5 at 34; Pl.'s 7/9/2008 Ltr. to   Plaintiff acknowledged that Lt. Allan and Capt. Uhler
Fischer, Dkt. No. 139–5 at 41–44; 7/22/2008 Allan Mem. to        delegated responsibility to subordinate staff to clean cells,
DSS Racette, Dkt. No. 139–4 at 111; 7/27/200[8] Uhler Mem.       but stated that Lt. Allan was informed about whether cells
to Artus, Dkt. No. 139–5 at 37; Pl.'s 11/10/2008 Grievance,      were cleaned. (Pl.'s Dep. at 100–101). Although Clinton SHU
Dkt. No. 139–5 at 14–19; 11/20/2008 Allan Mem. to Uhler,         inmates were not provided opportunities to periodically clean
Dkt. No. 133–3 at 66; 2/3/2009 Uhler Mem. to Artus, Dkt.         their cells when plaintiff first arrived, they were allowed to
No. 139–5 at 36).                                                do so following plaintiff's September 6, 2007 grievance, and
                                                                 were then offered cleaning supplies three times per week.
Starting in September 2007, plaintiff frequently filed           (Pl.'s Dep. at 101–102). 37 Plaintiff acknowledged that the
grievances and complaints that he was housed in SHU near         cleanliness of the SHU company, as opposed to individual
mentally ill patients who allegedly created constant noise       cells, improved somewhat thereafter. (Pl.'s Dep. at 102).
and disturbances and who generated a terrible stench because     Plaintiff was provided an opportunity to thoroughly clean
of their poor personal hygiene and their tendency to smear       each new cell to which he was moved, and, as long as he had
feces about their cells. (Pl.'s 9/6/2007 Grievance, Dkt. No.     soap and shampoo, he cleaned his cell daily. (Pl.'s Dep. at 101,
133–14 at 38–41; Pl.'s 10/9/2007 Grievance, Dkt. No. 133–        103).
14 at 49–52; Pl.'s 4/10/2008 Ltr. to Artus, Dkt. No. 139–5
at 26–28; Pl.'s 4/11/2008 Ltr. to LeClaire, Dkt. No. 139–5       37     The response to plaintiff's September 6, 2007
at 29–31; Pl.'s 4/23/2008 Ltr. to Uhler, Dkt. No. 139–5 at
                                                                        grievance corroborates his position that SHU
62–64; Pl.'s 7/9/2008 Ltr. to Fischer, Dkt. No. 139–5 at 41–
                                                                        inmates were given regular opportunities to clean
44; Pl.'s 9/23/2008 Ltr. to LaValley, Dkt. No. 139–6 at 137–
                                                                        their cells only after he complained. (Dkt. No. 133–
39). Capt. Uhler and Lt. Allan were involved in investigating
                                                                        14 at 41, 42).
some of plaintiff's specific grievances about the unsanitary
conditions in and around his SHU cell and contended that         However, plaintiff alleges that, notwithstanding DOCCS'
remedial action had been taken or that plaintiff's complaints    claims that SHU cells are cleaned before an inmate is
were unfounded. (Uhler Decl. ¶¶ 14, 18–19, 23–25 & Ex.           transferred in, each cell to which he was moved after leaving
B, Dkt. No. 133–14 at 38–73; 5/19/2008 r evised Uhler            his first SHU cell was “filthy” and/or “disgusting,” and
Mem. to Phillips, Dkt. No. 139–5 at 34; 7/20/200[8] Uhler        sometimes unsanitary and smeared with human waste. (Pl.'s
Mem. to Artus, Dkt. No. 139–5 at 37; Allan Decl. ¶¶ 67–          Dep. at 101; Pl.'s Aff. ¶ 106; Pl .'s Mem. of Law at 28). As
70). Plaintiff contends that the defendants' responses to his    noted above, the Second Amended Complaint (¶ 40) alleges
complaints were often completely inadequate. For example,        that, on June 19, 2008, plaintiff was transferred to a “filthy”
after plaintiff complained that a neighboring inmate created     cell previously occupied by a mental health inmate. (See



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also Pl.'s 7/9/2008 Ltr. to Fischer, Dkt. No. 139–5 at 41–44).    v. Gillespie, 791 F.Supp.2d 353, 370–71 (S.D.N.Y.2011)
Plaintiff specifically alleges that he was moved, on November     (collecting cases). For a prolific author of grievances and
10, 2008, into # 13 Cell, which was “splattered” with feces       complaints like this plaintiff, relying solely on the temporal
from ceiling to floor and had a toilet “caked” with feces,        link between a protected communication and an adverse
notwithstanding the claim that the “third man” on the SHU         action to establish causation would make every adverse action
staff cleaned the cell. (Pl.'s 11/10/2008 Grievance, Dkt. No.     by prison officials, no matter how strongly supported by
133–3 at 63–68). 38 In his March 8, 2009 grievance, plaintiff     penological justification, an act of retaliation. Given that
renewed his complaint that the DOCCS staff was not cleaning       claims of retaliation are “easily fabricated” and “pose a
the company, as claimed, and the company had a stench from        substantial risk of unwarranted judicial intrusion into matters
unwashed bodies and fruit flies. (Dkt. No. 133–14 at 68–73).      of general prison administration,” Bennett v. Goord, 343 F.3d
                                                                  at 137, inferences of retaliation must have less tenuous factual
38                                                                support.
       Plaintiff's September 6, 2007 and October 9, 2007
       grievances complained of the stench from cell # 13
                                                                  Plaintiff makes but one factual allegation that, in his mind,
       when it was occupied by a “mental health inmate”
                                                                  suggests a causal link between truly protected speech and
       who purportedly defecated in the corner of his cell
                                                                  a SHU cell transfer, on December 26, 2007: he claims
       and smeared feces on the walls. (Dkt. No. 133–14
                                                                  that, when plaintiff inquired why he was being moved,
       at 38–41, 49–52).
                                                                  Capt. Uhler stated: “I'd say Lt. Allan doesn't care for what
                                                                  your [sic] writing in your letters ....“ (2d Am.Compl.¶ 32).
  a. Retaliation Claim                                            However, as documented above, the December 26, 2007
The facts in the record clearly establish that defendants         transfer immediately followed the issuance of a misbehavior
Uhler and Allan had a strong, legitimate penological              report against plaintiff for attempting to kite a letter to
basis for periodically transferring plaintiff between different   another DOCCS inmate, which disciplinary charge was later
SHU cells. 39 In many instances, plaintiff concedes that          sustained at a hearing. (Dkt. No. 139–5 at 57; see also
particular cell transfers resulted from specific instances of     Allan Decl., Ex. D, Dkt. No. 133–5). That violation followed
his misconduct or anti-social behavior, which would not           another disciplinary infraction in October 2007 involving an
constitute protected activity under the First Amendment.          outgoing letter written by plaintiff which included threats,
                                                                  harassment, and solicitation of violent conduct. (Allan Decl.
39                                                                ¶ 25 & Ex. C, Dkt. No. 133–4). Given that Lt. Allan
       The court will assume, as Judge Scullin did, that
       a cell transfer within the same SHU unit can               supervised the mail watch of plaintiff's correspondence, Capt.
       constitute “adverse action” for the purposes of a          Uhler's reference to Lt. Allan's reaction to what plaintiff was
       retaliation claim. Particularly in light of the fact       “writing in his letters” clearly refers to plaintiff's violation of
       that plaintiff alleges that he was transferred to          prison correspondence rules, not letters he wrote complaining
       cells that were, unlike his first SHU cell, filthy         about prison conditions. 40 Plaintiff's disciplinary infractions
       and unsanitary, that appears to be a reasonable            involving personal correspondence clearly do not constitute
       assumption. Phillips v. Roy, 2011 WL 3847265, at           protected activity and would provide a clear, non-retaliatory
       *11 (citing Holmes v. Grant, 03 Civ. 3426, 2006            reason to move plaintiff to another cell. Moreover, as the
       WL 851753, at *15 (S.D.N.Y. Mar. 31, 2006) (a              Second Amended Complaint notes (at ¶ 32), the December
       transfer to SHU, which the plaintiff alleged to be         26, 2007 transfer moved plaintiff into a “shielded” cell with
       noisy and unhygenic, could serve as the basis for a        an additional security feature, which would be penologically
       retaliation claim).                                        justified given the strong evidence that plaintiff presented a
                                                                  serious security threat. (See Uhler Decl. ¶ 36).
 *31 Clearly, during the relevant time period that plaintiff
was being transferred among SHU cells, plaintiff also
                                                                  40
engaged in protected conduct, such as filing grievances                   It should also be noted, based on plaintiff's
and written complaints. However, while the fact that                      various grievances and complaints and the DOCCS
protected activity was close in time to an adverse action                 responses to them, referenced above, that, although
can establish a causal connection that suggests retaliation,              plaintiff had submitted several grievances before
such circumstantial evidence of retaliation, without more, is             his December 2007 transfer, his flurry of letters
insufficient to survive summary judgment. See, e.g., Roseboro             of complaint to various DOCCS officials did


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       not start until January 2008. It is also clear                    had to “smell and breath[e] in the atrocious
       that, while Lt. Allan was primarily involved in                   odor of feces being thrown” are sufficient to
       the mail watch of plaintiff, he played a much                     plausibly suggest that plaintiff was subjected to
       less active role than Capt. Uhler in responding                   unconstitutional conditions of confinement) (citing
       to plaintiff's various grievances and complaints,                 Gaston v. Coughlin, 249 F.3d 156, 166 (2d
       which further demonstrates that Capt. Uhler's                     Cir.2001) (finding that triable issue of fact existed
       reference to Lt. Allan's reaction to plaintiff's                  where prisoner alleged that he was, inter alia,
       letters related to plaintiff's abusive outgoing                   exposed, for several days, to human feces directly
       personal correspondence, not letters of complaint                 in front of his cell) (Report–Recommendation),
       to DOCCS.                                                         adopted, 2011 WL 3876522 (N.D.N.Y. Aug. 31,
Based on the current record, this court concludes that, even             2011). The defendants' declarations suggest that
if the defendants harbored some retaliatory motives, no                  they responded appropriately when the plaintiff
reasonable fact finder would conclude that the defendants                complained about unsanitary and disruptive
would not have made the cell transfers based on the security             conditions in the SHU, but plaintiff asserts that
risk posed by the plaintiff and/or his particular misconduct.            the unsanitary conditions persisted and recurred
Accordingly, this court recommends that plaintiff's retaliation          despite repeated complaints. That would create
claim against defendants Uhler and Allan be dismissed. See               an issue of fact as to whether the defendants
Bennett v. Goord, 343 F.3d at 137 (DOCS defendants may                   acted with “deliberate indifference,” which would
avoid liability on a section 1983 retaliation claim if they              also preclude summary judgment, including on the
demonstrate that they would have taken the same adverse                  grounds of claimed qualified immunity.
action against the plaintiff even if he had not engaged in        The court concludes that, at a minimum, there are material
protected conduct) (citing Mount Healthy Sch. Dist. v. Doyle,     issues of fact as to whether defendants Uhler and Allan
429 U.S. at 287).                                                 were personally involved with respect to the objectionable
                                                                  conditions of plaintiff's SHU confinement at Clinton. As
                                                                  discussed above, Capt. Uhler and Lt. Allan were clearly
   b. Conditions–of–Confinement Claim                             aware of and involved in addressing many of plaintiff's
 *32 As noted, defendants Uhler and Allan have moved to           frequent complaint about the conditions of his confinement.
dismiss the Eighth Amendment claim against them on the            By virtue of making frequent rounds in the SHU and/or
basis that they were not personally involved with respect to      follow-up communications with plaintiff, they were in a
the condition of plaintiff's SHU confinement because they         position to learn whether offensive or unsanitary conditions
reasonably relied on subordinate staff to maintain the SHU        were, in fact, adequately addressed by their subordinate staff.
unit in a sanitary and otherwise constitutionally adequate        The factual dispute between the defendants and the plaintiff
manner. (Defs.' Mem. of Law at 32). The defendants do             as to whether the allegedly unconstitutional conditions of
not argue that no rational fact finder could conclude that        confinement persisted or recurred creates an issue of fact
plaintiff could otherwise satisfy the objective and subjective    as to whether Capt. Uhler and Lt. Allan were personally
components of his conditions-of-confinement claim. 41             involved in that they “failed to remedy the wrong” or were
                                                                  “grossly negligent in managing subordinates who caused the
41                                                                unlawful condition[s].” Williams v. Smith, 781 F.2d at 323–
       There would appear to be material issues of
       fact with respect to each prong of the Eighth              24. See, e.g., Gaston v. Coughlin, 249 F.3d 156, 166 (2d
       Amendment analysis. Transferring plaintiff to SHU          Cir.2001) (plaintiff's statement that the defendants had actual
       cells that were smeared with human feces or                knowledge of the inhumane conditions to which he was
       where he was subjected to the smell of feces               subjected in SHU—which we were not conclusory because
       from neighboring cells, could qualify as creating          it was premised on the assertion that those men “made
       a substantial risk of harm to the plaintiff's health.      daily rounds” of SHU—should have led the district court to
       See, e.g., Samms v. Fischer, 9:10–CV–0349 (GTS/            deny summary judgment with respect to plaintiff's Eighth
       GHL), 2011 WL 3876528, at *14 (N.D.N.Y. Mar.               Amendment claim). Accordingly, this court recommends
       25, 2011) (plaintiff's allegations that there were         that the motion for summary judgment be denied with
       “human feces smeared all over the rec cages”               respect to plaintiff's conditions-of-confinement claim against
       over a period of several months and that he                defendants Uhler and Allan.


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                                                                        42      As discussed above, this court is recommending
                                                                                dismissal of the following claims in the Second
VII. Motion for Appointment of Counsel                                          Amended Complaint that had survived defendants'
Plaintiff has filed a fourth motion for appointment of counsel                  prior motion to dismiss: (a) the Eighth Amendment
in this action. (Dkt. No. 140). Senior District Judge Scullin,                  excessive force and failure to protect claims against
Magistrate Judge Peebles, and this court have each denied a                     defendant Kirkpatrick (First and Second Causes
previous motion for appointment of counsel by plaintiff at                      of Action); (b) the due process claim against the
various stages of the litigation. (Dkt.Nos.7, 11, 130). Each                    estate of Curtis Drown (Fourth Cause of Action);
prior order has reviewed the relevant legal standards for                       (c) the claim alleging the denial of religious
appointment of counsel to indigent plaintiffs and concluded                     services against defendant Racette (Seventh Cause
both that this action is not unduly complex and that plaintiff                  of Action); (d) an Eighth Amendment medical
has shown that he has been able to effectively litigate this                    indifference claim against defendants LeCuyer and
action. Plaintiff has continued to demonstrate the ability to                   Lashway (Tenth Cause of Action); (e) the Eighth
effectively litigate this action in connection with the pending                 Amendment conditions-of-confinement and First
motion for summary judgment.                                                    Amendment retaliation claims against defendants
                                                                                Allan and Bosco relating to plaintiff's confinement
 *33 My last order denied plaintiff's motion for appointment                    in an OMH observation cell for three days
of counsel “without prejudice to renew at the time of the trial                 (Fifteenth Cause of Action); and (f) the First
in this matter.” (Dkt. No. 130 at 5). If, after Judge Scullin's                 Amendment retaliation claims against defendants
review of this court's recommendations, some of plaintiff's                     Allan and Uhler relating to transfers of plaintiff
claims survive for a trial, this court will reconsider appointing               among various SHU cells (Nineteenth and Twenty–
counsel to represent plaintiff.                                                 Sixth Causes of Action).
                                                                        ORDERED, that plaintiff's motion for appointment of
WHEREFORE, based on the findings above, it is
                                                                        counsel (Dkt. No. 140) is denied without prejudice to renewal
                                                                        following the decision of Senior U.S. District Judge Scullin
RECOMMENDED, that defendants' motion for summary
                                                                        with respect to this Report–Recommendation.
judgment (Dkt.Nos.133–135) be DENIED IN PART, with
respect to (a) the Eighth Amendment excessive force claim
                                                                        Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(c), the
against defendants LeBel and Doyle and the failure-to-protect
                                                                        parties have fourteen (14) days within which to file written
claim against defendant Marinaccio (First, Second, and Third
                                                                        objections to the foregoing report. Such objections shall be
Causes of Action) and (b) the Eighth Amendment conditions-
                                                                        filed with the Clerk of the Court. FAILURE TO OBJECT
of-confinement claim against defendants Allan and Uhler
                                                                        TO THIS REPORT WITHIN FOURTEEN DAYS WILL
relating to the transfers of plaintiff among various SHU cells
(Nineteenth and Twenty–Sixth Causes of Action), and it is               PRECLUDE APPELLATE REVIEW. Roldan v. Racette,
further                                                                 984 F.2d 85, 89 (2d Cir.1993) (citing Small v. Sec. of Health &
                                                                        Human Servs., 892 F.2d 15 (2d Cir.1989)); 28 U.S.C. § 636(b)
RECOMMENDED, that defendants' motion for summary                        (1); Fed.R.Civ.P. 6(a), 6(e), 72.
judgment be GRANTED IN PART, in that the remaining
claims in the Second Amended Complaint against the                      All Citations
                       42
remaining defendants        be DISMISSED, and it is further
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                                                                   retaliated against him for bringing this lawsuit challenging the
                    2023 WL 4032831                                program.
      Only the Westlaw citation is currently available.
       United States District Court, W.D. New York.                Before the Court is Defendants’ motion to dismiss Plaintiff's
                                                                   claims under Rule 12(b)(6) for failure to state a claim. For the
               Sanjay TRIPATHY, Plaintiff,                         reasons set forth below, the motion to dismiss is GRANTED.
                           v.
              Ryan BROTZ, et al., Defendants.
                                                                                         BACKGROUND
                  Case # 6:22-cv-06469-FPG
                               |                                   On May 30, 2018, a jury convicted Plaintiff of criminal sexual
                    Signed June 15, 2023                           act in the first degree, sexual abuse in the first degree, and
                                                                   related offenses in New York State Supreme Court, New York
Attorneys and Law Firms
                                                                   County, and the court thereafter sentenced him to seven years’
                                                                   imprisonment. His conviction was affirmed by the Appellate
Sanjay Tripathy, Morrisville, NC, Pro Se.
                                                                   Division, First Department, and the Court of Appeals denied
Heather Lynn McKay, New York State Attorney General's              leave to appeal. On November 22, 2022, Plaintiff's judgment
Office Department of Law, Rochester, NY, Neil Shevlin,             of conviction was vacated pursuant to CPL § 440.10 and was
Michael James Keane, New York State Office of the Attorney         released on his own recognizance pending a new trial.
General, New York, NY, for Defendants.
                                                                   Plaintiff began this lawsuit in June 2021 while incarcerated
                                                                   at the Fishkill Correctional Facility. Plaintiff was transferred
                 DECISION AND ORDER                                to Collins in October 2021, and in January 2022, Plaintiff
                                                                   amended his complaint to name Dr. Brotz as a Defendant
FRANK P. GERACI, JR., United States District Judge                 in this action. According to Plaintiff, Dr. Brotz, the
                                                                   psychologist responsible for administering the SOCTP
                                                                   at Collins, repeatedly infringed plaintiff's statutory and
                     INTRODUCTION
                                                                   constitutional rights. Plaintiff alleges Dr. Brotz rejected his
 *1 Plaintiff Sanjay Tripathy, proceeding pro se, brings           requests to participate in the SOCTP without having to lie.
claims under 42 U.S.C. §§ 1983 and 1985; the Religious             He also claims Dr. Brotz improperly “overrode” an initial
Land Use and Institutionalized Persons Act (“RLUIPA”),             assessment that found Plaintiff belonged in a “low-risk” tier
42 U.S.C. § 2000cc; the Racketeer Influenced and Corrupt           of the SOCTP, and decided the nature of Plaintiff's crimes
Organizations Act (“RICO”), 18 U.S.C. § 1961; and the              instead warranted placement in the longer, “moderate-risk”
New York False Claims Act (“NYFCA”), State Finance                 tier. Finally, Plaintiff contends Dr. Brotz retaliated against
Law, §§ 187-194, against Anthony Annucci, Jeff McKoy,              him for objecting to her conduct via letters, grievances, and
New York Department of Corrections and Community                   the instant lawsuit, by charging Plaintiff with disciplinary
Services (“DOCCS”) Deputy Commissioner of Programs,                infractions.
and Brian McCallister, Director of the DOCCS Sex Offender
Counseling and Treatment Program (“SOCTP”) and Dr. Ryan            Plaintiff seeks monetary damages, as well as a declaratory
Brotz, the SOCTP psychologist for Collins Correctional             judgment that Defendants violated his constitutional and
Facility (“Collins”).                                              statutory rights.


Plaintiff was previously incarcerated at Fishkill Correctional
Facility and then transferred to Collins prior to being released                       LEGAL STANDARD
on his own recognizance on November 23, 2022 after
his conviction was vacated. Plaintiff alleges his statutory        To survive a motion to dismiss, a complaint must plead
and constitutional rights were violated by Defendants’             “enough facts to state a claim to relief that is plausible on its
administration of the SOCTP at Collins, and Defendants             face,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007),
                                                                   and “allow[ ] the court to draw the reasonable inference that



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the defendant is liable for the misconduct alleged,” Ashcroft       (2d Cir. 2014) (citing Washington v. Gonyea, 731 F.3d 143,
v. Iqbal, 556 U.S. 662, 678 (2009). When addressing a motion        145–46 (2d Cir. 2013) (per curiam)); see also Sossamon
to dismiss, a district court must accept as true all factual        v. Texas, 563 U.S. 277, 293 (2011). Plaintiff's claims for
statements alleged in the complaint and draw all reasonable         monetary damages are, therefore, not cognizable.
inferences in favor of the nonmoving party. Vietnam Ass'n for
Victims of Agent Orange v. Dow Chem. Co., 517 F.3d 104,             Because Plaintiff's claims for injunctive and declaratory relief
115 (2d Cir. 2008).                                                 under RLUIPA are moot without exception and Plaintiff's
                                                                    claims for monetary damages are not cognizable, all of
                                                                    Plaintiff's claims under RLUIPA are dismissed.

                        DISCUSSION
                                                                       II. Free Exercise
  I. RLUIPA
                                                                    Plaintiff claims to be a “life-long Hindu” who believes that
 *2 Plaintiff complains that his religious faith was
                                                                    one of “Hinduisms core tenets ... is to neither lie, provide
substantially burdened by the Defendants during his
                                                                    untrue facts, commit perjury or falsity ... in conduct of
participation in the SOCTP while incarcerated at Collins.
                                                                    one's life, interactions and spiritual journey.” ECF No. 52
As redress for this alleged infringement upon his religious
                                                                    at 12. Plaintiff alleges that his Hindu faith was substantially
exercise, Plaintiff brings a claim under RLUIPA seeking
                                                                    burdened during his participation in SOCTP because SOCTP
monetary damages against Defendants, as well as injunctive
                                                                    required Plaintiff to:
and declaratory relief.
                                                                      “openly and honestly discuss the behavior that resulted
A person's “transfer from a prison facility generally moots           in [his] incarceration and referral to the program,
claims for declaratory and injunctive relief against officials        demonstrate acceptance of responsibility for the conduct
of that facility.” Salahuddin v. Goord, 467 F.3d 263 (2d              that resulted in [his] criminal conviction, and demonstrate
Cir. 2006); see ECF No. 69. However, there are exceptional            an understanding of [his] sexual offending behavior and
situations, where review would be required if “(1) the plaintiff      cycle of abuse.”
[has] a reasonable expectation that [they] will be subject to the
same challenged action again, and (2) the challenged conduct        Id. at 13 (quoting letter response from Defendant McKoy
[is] of too short a duration to be fully litigated before its       regarding requirements of the SOCTP). Plaintiff alleges that
cessation.” Exxon Mobil Corp. v. Healey, 28 F.4th 383, 395          these program requirements substantially burden his Hindu
(2d Cir. 2022).                                                     faith because he is “an innocent man illegally incarcerated,”
                                                                    ECF No. 52 at 1, and “accept[ing] responsibility for the
Plaintiff was released from DOCCS custody as of November            (alleged) sexual assault is clearly a lie (untrue fact, falsity,
23, 2022, and therefore, his claims for injunctive and              perjury).” Id. at 14.
declaratory relief are moot. Further, since Plaintiff does not
allege that he anticipates being subjected to SOCTP again           Arising from these facts, Plaintiff brings claims against
               1
in the future, there is no “demonstrated probability of             Defendants for monetary damages as well as injunctive and
recurrence.” Id. Accordingly, Plaintiff's claims for injunctive     declaratory relief under the Free Exercise clause of the
and declaratory relief are moot without exception.                  First Amendment. As discussed, supra, as a consequence of
                                                                    Plaintiff's release from DOCCS custody, Plaintiff's equitable
1                                                                   claims are moot. To the extent he seeks prospective injunctive
        Although Plaintiff awaits a new trial, he maintains
                                                                    relief if he is convicted anew following the new trial, such a
        his innocence and confidence that he will
                                                                    claim is unripe for determination because Plaintiff may not
        be exonerated. Accordingly, an assertion that
                                                                    be returned to Collins to participate in the SOCTP with these
        he would be subject to SOCTP anew would
                                                                    Defendants. Plaintiff's claims would not evade review as he
        be inconsistent with the position he maintains
                                                                    could file a new claim should he be returned to a correctional
        regarding his innocence.
                                                                    facility in the future. The Court will, therefore, only consider
Moreover, “RLUIPA does not authorize claims for monetary            the claim for monetary damages against Defendants in their
damages against state officers in either their official or          individual capacities. 2
individual capacities.” Holland v. Goord, 758 F.3d 215, 224



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2                                                                  and to violate their beliefs in order to obtain government
       Plaintiff also brings claims for monetary damages
       against Defendants in their official capacities,            benefits”) (citing Thomas v. Review Bd. of Ind. Employment
       but those claims are not cognizable because the             Sec. Div., 450 U.S. 707, 709 (1981)); accord Jolly v. Coughlin,
       Eleventh Amendment precludes suits against state            76 F.3d 468, 477 (2d Cir. 1996).
       officials in their official capacities. Davis v. New
                                                                   Since, according to Plaintiff “accept[ing] responsibility for
       York, 316 F.3d 93, 101–02 (2d Cir. 2002).
                                                                   the (alleged) sexual assault,” would be lying, and lying
 *3 To state a free exercise claim under the First Amendment,      violates his religious beliefs, he was faced with the choosing
“[t]he prisoner must show at the threshold that the disputed       between: (1) following his religion—not lying—and losing
conduct substantially burdens his sincerely held religious         “benefits ... including good time credits (go home earliest
beliefs.” Salahuddin v. Goord, 467 F.3d 263, 274–75 (2d            release date of 5/15/2024), lowest possible SORA registration
Cir. 2006). “The defendants then bear the relatively limited       level with minimal parole supervision conditions, and
burden of identifying the legitimate penological interests that    avoidance of potential civil confinement,” on the one hand,
justify the impinging conduct,” although “the burden remains       ECF No. 52 at 13, and (2) abandoning the precepts of his
with the prisoner to show that these articulated concerns were     religion in order to obtain the benefits of SOCTP on the
irrational.” Id.                                                   other hand. Accordingly, Plaintiff has sufficiently alleged a
                                                                   substantial burden on his religious exercise.
At this stage of the litigation, where Defendants have
challenged, under Rule 12(b)(6), Plaintiff's pleading of his
free exercise claims, the Court need not address whether              B. Qualified Immunity
Defendants may be able to make an adequate showing of              The doctrine of qualified immunity protects government
a “legitimate penological interest” for their alleged conduct.     officials “from liability for civil damages insofar as their
Lloyd v. City of New York, 43 F. Supp. 3d 254, 264 (S.D.N.Y.       conduct does not violate clearly established statutory or
2014) (“This being a motion to dismiss, Defendants have            constitutional rights of which a reasonable person would have
not answered, and so have not yet articulated any “legitimate      known.” Pearson v. Callahan, 555 U.S. 223, 231 (2009)
penological interest” or “compelling state interest” that          (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)).
would justify the alleged “substantial burden” on Plaintiffs’      “Unless the plaintiff's allegations state a claim of violation
sincerely held religious beliefs under the Free Exercise           of clearly established law, a defendant pleading qualified
Clause.”). Rather, the Court need only consider Defendants’        immunity is entitled to dismissal [pursuant to Rule 12(b)(6)]
contention that, on its face, the Amended Complaint does           before the commencement of discovery.” Mitchell v. Forsyth,
not sufficiently plead that Defendants imposed a “substantial      472 U.S. 511, 526 (1985).
burden” on Plaintiff's exercise of his Hindu faith.
                                                                    *4 “In making this determination, we consider Supreme
                                                                   Court and Second Circuit precedent as it existed at the
   A. Substantial Burden                                           time of the challenged conduct.” McGowan v. United
A substantial burden on religious exercise exists “when an         States, 825 F.3d 118, 124 (2d Cir. 2016) (per curiam). The
inmate is required to choose between following the precepts        “clearly established” inquiry “must be undertaken in light
of her religion and forfeiting benefits on the one hand, and       of the specific context of the case, not as a broad general
abandoning one of the precepts of her religion ... on the          proposition,” Saucier v. Katz, 533 U.S. 194, 201 (2001), and
other hand,” in order to obtain the benefits. Smith v. Goord,      “turns on the objective legal reasonableness of the action,
541 F. App'x 133, 134 (2d Cir. 2013) (summary order).              assessed in light of the legal rules that were clearly established
In other words, a “substantial burden” need not involve            at the time it was taken,” Pearson, 555 U.S. at 244.
the prohibition of religious practice (as in, for example,
prohibiting attendance at a religious service). Rather, coercive   It is not “clearly established,” either in the Second
conduct that, directly or indirectly, tends to force the           Circuit or elsewhere, that the “acceptance of responsibility”
individual to restrict the practice of his religion may well be    requirement of the SOCTP violates Plaintiff's right to free
sufficient. See, e.g., Westchester Day Sch., 504 F.3d 338, 348     exercise of religion. Other circuits have found that similarly
(2d Cir. 2007) (noting that a substantial burden will be found     situated defendants are entitled to qualified immunity for
where, by denying benefits, “the state puts undue pressure         similar free exercise claims related to inmate sexual offender
on the adherents [of a religious belief] to alter their behavior   treatment programs. See Hydrick v. Hunter, 500 F.3d 978,


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992 (9th Cir. 2007), judgment vacated on other grounds,
Hunter v. Hydrick, 556 U.S. 1256 (2009) (“To the extent             3      Plaintiff brings his procedural due process claim
that the claim relies on a First Amendment right not                       under both the Fifth and Fourteenth Amendments,
to participate in treatment sessions, the Defendants have                  but the Fifth Amendment Due Process Clause
qualified immunity, because the law on this point is not                   applies only to the federal government, and not to
clearly established.”); Aruanno v. Spagnuolo, 292 F. App'x.                state or municipal governments. See Dusenbery v.
184, 187, 2008 WL 2746229, *2 (3d Cir. 2008) (“[E]ven                      United States, 534 U.S. 161, 167 (2002) (“The Due
if we were to conclude that Aruanno had a right to refrain                 Process Clause of the Fifth Amendment prohibits
from disclosing his past sexual history and we have not                    the United States, as the Due Process Clause of
so concluded, we could not hold that the right is clearly                  the Fourteenth Amendment prohibits the States,
established under the First Amendment [right to refrain from               from depriving any person of property without due
speaking], and that it was one of which defendants should                  process of law.”).
have been aware.”). Similarly, another court in this district
also found that defendants facing identical claims were              *5 Plaintiff's objection to the process employed in deciding
entitled to qualified immunity. See Bush v. Goord, No. 03-          to place him in the moderate-risk SOCTP does not assert
CV-759S, 2009 WL 790358, at *9 (W.D.N.Y. Mar. 25, 2009).            any deprivation of a liberty interest. Rather, Plaintiff merely
Accordingly, because Plaintiff's free exercise claim is not         objects to the length of time that he must participate in the
clearly established under Second Circuit or Supreme Court           moderate-risk SOCTP, as opposed to the low-risk SOCTP, in
precedent, Defendants here are entitled to qualified immunity       order to obtain the benefits of SOCTP, including good time
on Plaintiff's free exercise claim. Accordingly, Plaintiff's free   credits and conditions of parole supervision.
exercise claims are dismissed.
                                                                    As a matter of first principles, inmates have no constitutional
                                                                    right to participate in prison programs which might expedite
   III. Due Process                                                 release. Abed v. Armstrong, 209 F.3d 63, 67 (2d Cir. 2000)
Plaintiff alleges that his procedural and substantive due           (where good time credit is a discretionary matter, inmate
process rights have been violated as a result of Defendants’        has no liberty interest in the opportunity to earn good time
decision to place him in the “moderate-risk SOCTP”                  credit); see N.Y. Correct. Law § 803 (outlining New York's
rather than the “low-risk [SOCTP].” ECF No. 52 at 14.               discretionary good time credit program). Because inmates do
Plaintiff was placed in the moderate-risk SOCTP following a         not have a constitutional right to participate in programs that
recommendation from Dr. Brotz. Plaintiff alleges that this risk     award good time credits, inmates cannot have a constitutional
determination was improper because Dr. Brotz increased his          right to participate in one such program over another.
risk-level by relying on information in Plaintiff's Presentence
Investigation Report, which Plaintiff disputes as incorrect.        Additionally, according to Plaintiff, his earliest possible
ECF No. 52 at 14-23. As a result of this due process violation,     release date would have been May 15, 2024. ECF No. 52 at
Plaintiff's SOCTP participation would last 12 months, instead       13. Meanwhile, his participation in the moderate-risk SOCTP
of 6 months. Id. at 14.                                             was scheduled to be completed sometime between July 31
                                                                    and October 31, 2022. Id. at 9. Therefore, even if Plaintiff
                                                                    had asserted a liberty interest, no additional time would have
                                                                    been added to his term of imprisonment as a result of his
             A. Procedural Due Process Claim
                                                                    participation in the longer SOCTP.
The Fourteenth Amendment 3 prohibits the government from
                                                                    Accordingly, because Plaintiff does not have a protected
depriving citizens of life, liberty or property without due
                                                                    liberty interest in participating in any SOCTP and his
process of law. See e.g., Wilkinson v. Austin, 545 U.S.
                                                                    participation in the longer program did not extend the length
209 (2005). To state a claim for procedural due process
                                                                    of his sentence, Plaintiff has not demonstrated a deprivation
under the Fourteenth Amendment, Plaintiff must demonstrate
                                                                    of a liberty interest and his due process claim relating to
“(1) that Defendants deprived him of a cognizable interest
                                                                    the decision to place him in the moderate-risk SOCTP is
in ‘life, liberty, or property,’ (2) without affording him
                                                                    dismissed.
constitutionally sufficient process.” Proctor v. LeClaire, 846
F.3d 597, 608 (2d Cir. 2017).



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                                                                   Dr. Brotz on April 4, 2022; 5 (3) being subjected to a search
            B. Substantive Due Process Claim                       of his cell on April 11, 2022; (4) having his cell moved
                                                                   involuntarily from D4 to D3 on April 19, 2022; 6 (5) receipt
To demonstrate a violation of his substantive due process          of a Behavioral Contract on May 6, 2022; and (6) that prison
rights, Plaintiff must “identify the constitutional right at
                                                                   officials destroyed his grievance related to the April 4 th
stake,” and then “must demonstrate that the state action was
                                                                   Inmate Misbehavior Report.
so egregious, so outrageous, that it may fairly be said to
shock the contemporary conscience.” Hurd v. Fredenburgh,
                                                                   4
984 F.3d 1075, 1087 (2d Cir. 2021) (quotation omitted).                   Inmate Counseling Notification at ECF No. 52-6 at
                                                                          2. Grievance Denial, Id. at 11.
Plaintiff asserts a constitutional right in obtaining liberty      5      ECF No. 52-6 at 13. Plaintiff filed a
without being forced to participate in SOCTP. ECF No. 52
                                                                          grievance related thereto at ECF No. 52-6 at
at 13. In other words, Plaintiff argues that he should be able
                                                                          14-16 (COL-0132-22). Plaintiff's grievance was
to obtain good time credits that entitle him to parole without
                                                                          dismissed at ECF No. 52-6 at 29 pursuant to
having to participate in the SOCTP. However, “prisoners
                                                                          Directive 440 Section 701.5(b)(4)(i)(c)(4) and
do not have a protected liberty interest in parole where the
                                                                          701.3(e)(2) (“an individual decision or disposition
relevant statutory scheme endows prison authorities with
                                                                          resulting from a disciplinary proceeding ... is not
discretion over the decision whether to grant it.” Edwards v.
                                                                          grievable”). Following an investigation, Plaintiff
Goord, 362 F. App'x 195, 196 (2d Cir. 2010) (summary order)
                                                                          was found not guilty of the charged activity in
(citing Greenholtz v. Inmates of Nebraska Penal and Corr.
                                                                          the disciplinary ticket, rendering the disciplinary
Complex, 442 U.S. 1, 7 (1979); Barna v. Travis, 239 F.3d
                                                                          action not grievable. Plaintiff filed another
169, 171 (2d Cir. 2001)). Under New York law, good time
                                                                          grievance relating to the dismissal of the underlying
credits “may be granted for ... progress and achievement in
                                                                          grievance, and the response was the same at ECF
an assigned treatment program,” but “may [also] be withheld,
                                                                          No. 52-6 at 31.
forfeited or canceled in whole or in part for ... failure to
perform properly in the duties or program assigned.” N.Y.          6      ECF No. 52-6 at 36.
Correct. Law § 803 (emphasis added). Thus, the award of
good time credits that Plaintiff seeks was discretionary and       To state a retaliation claim, a prisoner must allege “(1) that
not a constitutional right.                                        the speech or conduct at issue was protected, (2) that the
                                                                   defendant took adverse action against the plaintiff, and (3)
Because Plaintiff has not identified a constitutional right that   that there was a causal connection between the protected
was at stake, Plaintiff has not demonstrated a violation of his    speech and the adverse action.” Fabricio v. Annucci, 790
substantive due process rights. This claim is dismissed.           F. App'x 308, 311 (2d Cir. 2019) (summary order) (quoting
                                                                   Espinal v. Goord, 558 F.3d 119, 128 (2d Cir. 2009)).

   IV. Retaliation                                                 Alleged adverse actions must be sufficiently adverse to
 *6 Prisoner retaliation claims are approached “with               “deter a similarly situated individual of ordinary firmness
skepticism and particular care, because virtually any              from exercising [his] constitutional rights,” Fabricio, 790 F.
adverse action taken against a prisoner by a prison                App'x at 311 (quoting Davis, 320 F.3d at 353). However,
official—even those otherwise not rising to the level              “[p]risoners may be required to tolerate more than ... average
of a constitutional violation—can be characterized as a            citizens, before a retaliatory action taken against them is
constitutionally proscribed retaliatory act.” Davis v. Goord,      considered adverse.” Dawes v. Walker, 239 F.3d 489, 493
320 F.3d 346, 352 (2d Cir. 2003).                                  (2d Cir. 2001) overruled on other grounds, Swierkiewicz v.
                                                                   Sorema N.A., 534 U.S. 506 (2002). To sufficiently allege
Plaintiff alleges that Defendants have retaliated against          a causal connection, Plaintiff's allegations must support an
him because he filed the present lawsuit. He alleges the           inference that the protected conduct was “a substantial or
following six instances of retaliation: (1) receipt of an Inmate   motivating factor for the adverse actions taken by prison
Counseling Notification from Dr. Brotz on December 30,             officials.” Dorsey, 468 F. App'x at 27 (quoting Bennett v.
2022; 4 (2) receipt of an Inmate Misbehavior Report from           Goord, 343 F.3d 133, 137 (2d Cir. 2003)).



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                                                                   his Amended Complaint, Dr. Brotz explained that the Plaintiff
In addressing the causal connection requirement, a court           was told not to use Dr. Brotz's first name citing Public Officers
may consider the temporal proximity between the protected          Law 87(2)(f), but Plaintiff did so anyway. ECF No. 52-6
conduct and the alleged retaliatory act. See Edwards v. Horn,      at 2. Therefore, on the record before this Court, it appears
2012 WL 760172, *17 (S.D.N.Y. 2012). However, “the                 that a substantial motivating factor for issuing the counseling
temporal proximity must be very close,” in order to support        notification was Plaintiff's own insubordination.
an inference of causality. Clark Cnty. Sch. Dist. v. Breeden,
532 U.S. 268, 273 (2001) (collecting cases that demonstrate        While the counseling notification and the amendment of the
that a 3-month period between the protected activity and the       lawsuit to name Dr. Brotz as a defendant are close in time,
adverse action is not close enough to infer causality).            the counseling notification was issued first. The counseling
                                                                   memo was issued December 22, 2021, and then Plaintiff
 *7 The right to file a lawsuit is constitutionally protected,     added Dr. Brotz as a defendant on January 3, 2022. Where
therefore, Plaintiff easily meets the first prong of the test      the alleged adverse action takes place prior to the protected
with respect to each alleged act of retaliation. See Graham        speech, a causal connection is not sufficiently alleged.
v. Henderson, 89 F.3d 75, 80 (2d Cir. 1996) (“The right            See Marrero v. Kirkpatrick, No. 08-CV-6237, 2012 WL
to petition government for redress of grievances—in both           2685143, at *5 (W.D.N.Y. July 6, 2012) (“[T]he counseling
judicial and administrative forums—is among the most               memo ... was issued to Plaintiff prior to his filing the first
precious of the liberties safeguarded by the Bill of Rights.”).    formal grievance .... Thus, Plaintiff has not shown a causal
The Court will, therefore, proceed in analyzing whether each       connection between the grievances he filed and the October
instance of alleged retaliation includes an adverse action and     15th counseling memo.”). Accordingly, Plaintiff has not
whether Plaintiff has sufficiently alleged a causal connection     sufficiently alleged a causal connection between his protected
between his protected speech and the alleged adverse action.       speech and the inmate counseling memo.


   A. Inmate Counseling Notification.                                 B. Discipline Ticket.
“Counseling sessions and counseling memos that do not              A misbehavior report issued in retaliation for an inmate's
place the employee in an ‘active disciplinary process’ do          exercise of a protected activity may constitute an adverse
not constitute adverse employment actions ‘as a matter of          action. See Gayle v. Gonyea, 313 F.3d 677, 682 (2d Cir. 2002)
law.’ ” Stallworth v. New York, No. 16-CV-03059, 2017              (“An allegation that a prison official filed false disciplinary
WL 4355897, at *19 (S.D.N.Y. July 27, 2017), report                charges in retaliation for the exercise of a constitutionally
and recommendation adopted, No. 16CIV3059, 2017 WL                 protected right, such as the filing of a grievance, states a
4342148 (S.D.N.Y. Sept. 28, 2017) (quoting Tepperwien v.           claim under [Section] 1983.”). Nevertheless, Plaintiff does
Entergy Nuclear Operations, Inc., 663 F.3d 556, 570 (2d            not allege any facts from which an inference of causality
Cir. 2011)). Although this alleged retaliation happened in         could be made. Plaintiff's only argument is that these adverse
the context of a prison and not employment, prisoners are          actions took place after he filed his lawsuit and he believes
expected “to tolerate more than ... average citizens, before a     that the Defendants were trying to punish him for vindicating
retaliatory action taken against them is considered adverse.”      his rights. However, “[t]o infer causation from the very fact
Dawes, 239 F.3d at 493. Therefore, if a counseling memo in         that one activity preceded another, however, is insufficient
the employment context does not constitute an adverse action,      here to adequately plead retaliatory intent.” Edwards v. Horn,
it certainly cannot constitute an adverse action in the prison     No. 10 CIV. 6194, 2012 WL 760172, at *17 (S.D.N.Y.
context. Like Stallworth, the Inmate Counseling Notification       Mar. 8, 2012). While temporal proximity may give rise to
that Plaintiff complains of here did not initiate an active        circumstantial evidence of causality, “the temporal proximity
disciplinary process, so it cannot constitute an adverse action.   must be very close.” Breeden, 532 U.S. at 273. Here, the
                                                                   timing of the adverse action is not sufficiently proximate to
Even if the Inmate Counseling Notification did constitute an       the protected activity. The discipline ticket was issued on
adverse action, Plaintiff has not sufficiently alleged a causal    April 4, 2022, more than three months after Dr. Brotz was
connection because he does not allege facts that suggest that      added as a Defendant to the lawsuit and nearly 10 months after
his lawsuit was a substantial motivating factor in Dr. Brotz's     the lawsuit was originally filed in June 2021.
decision to issue the Inmate Counseling Notification. On the
face of the counseling notification that Plaintiff attaches to


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                                                                    normal course as a part of his participation in the SOCTP.
   C. Dorm Transfer.                                                ECF No. 60-1 at 5 (Dr. Brotz's Response to Behavior Contract
 *8 The transfer of a prisoner is not considered an adverse         Grievance, “Behavioral Contracts, like other interventions,
action unless it results in the prisoner being subjected to         are designed to act as interventions; specifically, a way to
more onerous conditions. See Coleman v. Sutton, 530 F.              assist participants in getting back on track when they are
Supp. 2d 451, 453 (W.D.N.Y. 2008) (prisoner failed to state a       struggling in a particular area.”). For these reasons, the
retaliation claim where he did not allege that conditions into      Behavioral Contract was not an adverse action and was not
which he was transferred were more onerous than his original        causally related to Plaintiff's protected speech.
placement). Here, Plaintiff only alleges that he was moved
from D4 to D3, but does not allege that he was subject to
more onerous conditions in D3. Accordingly, this transfer that         F. Destroying Grievances.
Plaintiff complains of is not an adverse action.                    Plaintiff's allegation regarding grievances being destroyed
                                                                    is implausible on its face and frivolous. To support this
                                                                    claim, Plaintiff refers to the grievance he submitted regarding
   D. Cell Search.                                                  Dr. Brotz's disciplinary ticket relating to the assistance he
The one instance that Plaintiff's cell was searched is not an       provided to a fellow inmate to file a FOIL request. ECF
adverse action. See Dorsey v. Fisher, 468 F. App'x 25, 27 (2d       No. 60-1 at 21. The relevant documentation related to this
Cir. 2012) (“allegations that [defendant] ordered or otherwise      alleged adverse action shows that the disciplinary ticket at
conducted two searches of plaintiff's cell and two searches of
                                                                    issue was resolved in Plaintiff's favor on April 5, 2022. 7 On
his person over a six-month period are insufficient to show
                                                                    April 14, 2022, Plaintiff was then notified that his grievance
adverse action.”). Moreover, the contention that the search
                                                                    based on the disciplinary ticket was dismissed pursuant
was ordered by Dr. Brotz is speculative as Plaintiff asserts
                                                                    to Directive 440 Sections 701.5(b)(4)(i)(c)(4) and 701.3(e)
nothing more than his suspicion of Dr. Brotz's involvement
                                                                    (2) (“an individual decision or disposition resulting from a
without any actual facts. Finally, in this claim, Plaintiff also
                                                                    disciplinary proceeding ... is not grievable”); ECF No. 52-6
asserts in speculative and conclusory fashion that he believes
                                                                    at 29. Plaintiff appealed the dismissal on April 15, 2022, and
his legal papers were “potentially copied.” ECF No. 52 at 24.
                                                                    the dismissal was upheld. ECF No. 52-6 at 31. Following
Such allegations do not rise to the level of an adverse action
                                                                    the denial of his appeal, on April 18, 2022, Plaintiff filed a
because Plaintiff has not alleged that as a result of this search
                                                                    new grievance alleging that his grievance tickets were being
his “efforts to pursue a nonfrivolous claim” were frustrated.
                                                                    improperly destroyed to protect Dr. Brotz. ECF No. 52-6
Collins v. Goord, 581 F. Supp. 2d 536, 573 (S.D.N.Y. 2008).
                                                                    at 31. Plaintiff received a response to that grievance, which
On the contrary, Plaintiff could not plausibly allege that his
                                                                    reiterated the reasons for dismissing the prior grievance.
efforts to pursue his claims have been frustrated because
                                                                    Plaintiff allegations are implausible on their face because he
Plaintiff has multiple lawsuits pending before this Court and
                                                                    provides documentation that shows that his grievances are
he frequently files voluminous letters to amend and litigate
                                                                    not being destroyed at all, but instead are being responded to
his allegations. The search of Plaintiff's cell was, therefore,
                                                                    and addressed repeatedly pursuant to official prison grievance
not an adverse action.
                                                                    policy.


   E. Behavioral Contract.                                          7      ECF No. 52-6 at 25.
Like the Inmate Counseling Notification, the Behavioral
                                                                     *9 In sum, Plaintiff's allegations of retaliation are meritless
Contract did not place plaintiff in an active disciplinary
                                                                    and frivolous. The Inmate Counseling Notification, the
process and therefore cannot constitute an adverse action.
                                                                    Dorm Transfer, the Cell Search, the Behavioral Contract are
See Stallworth, No. 16CV03059, 2017 WL 4355897, at *19.
                                                                    not adverse actions. The alleged destruction of Plaintiff's
The Behavioral Contract also suffers from the same temporal
                                                                    grievance did not occur. While the disciplinary ticket may
infirmities as the other alleged adverse actions—it was issued
                                                                    be considered an adverse action, Plaintiff fails to allege any
on June 6, 2022, six months after Dr. Brotz was added to
                                                                    facts that could form the basis of a reasonable inference of
the lawsuit. Plaintiff also does not allege any other facts
                                                                    causation, other than stating his strong suspicion of causation.
showing that the lawsuit was a substantial motivating factor
                                                                    Without more, where, as here, the plaintiff alleges the ultimate
in Dr. Brotz's choice to issue the Behavioral Contract. Rather,
                                                                    fact of retaliation in a conclusory and speculative manner, he
on the face of the Behavioral Contract, it was issued in the
                                                                    fails to state a claim for retaliation. Dorsey v. Fisher, 468 F.


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App'x 25, 27 (2d Cir. 2012) (summary order) (citing Flaherty        money or property.” Id. Because the decision did not involve
v. Coughlin, 713 F.2d 10, 13 (2d Cir. 1983)).                       a request or demand for money or property, this decision was
                                                                    not a “claim” as defined in the statute. Since Plaintiff fails to
Because Plaintiff fails to allege any adverse action, other         allege any facts that Defendants made a “claim” and could not
than the discipline ticket, but also fails to sufficiently allege   plausibly do so based on the facts alleged in the complaint,
a causal connection between the discipline ticket and his           Plaintiff's claim under the NYFCA must be dismissed.
protected speech, Plaintiff has not sufficiently alleged a
plausible claim of retaliation. Accordingly, Plaintiff's claims
of retaliation are dismissed.                                          VI. RICO
                                                                    Plaintiff alleges that “Defendants colluded as an organization
                                                                    (DOCCS employees) and did it in a pattern over time
  V. False Claims                                                   (systemic overrides) and Petitioner (via money lost/
Plaintiff argues that Defendants violated the New York False        used by his family/friends business led to losses) borne
Claims Act (“NYFCA”) 8 “when they created and used an               financial losses demonstrating RICO violation (by DOCCS
unapproved document ... to override Petitioner into moderate        Defendants/Employees).” ECF No. 52 at 32.
risk.” ECF No. 60 at 13. Because this override resulted in a
longer program duration, Plaintiff contends that Defendants          *10 RICO provides a private cause of action for treble
did so intentionally in order to obtain more money from the         damages to “[a]ny person injured in his business or property
government to pay for the longer program. ECF No. 52 at 23.         by reason of a violation of section 1962 of this chapter.”
                                                                    18 U.S.C. § 1964(c). Section 1962 specifies the prohibited
8                                                                   criminal activities. 18 U.S.C. § 1962(a)-(d). Each prohibited
        Plaintiff does not specify whether he is relying on
                                                                    criminal activity requires alleging a “pattern of racketeering
        the federal FCA or the New York FCA, however,
                                                                    activity” or the “collection of unlawful debt.” Id.
        since the relevant government entity at issue is the
        State of New York Department of Corrections and
                                                                    In order for a plaintiff to state a claim for damages under
        Community Services which administers SOCTP,
                                                                    RICO, he must allege the violation of “criminal RICO,”
        this Court has construed his claim under the New
                                                                    18 U.S.C. § 1962. Moss v. Morgan Stanley Inc., 719 F.2d
        York FCA.
                                                                    5, 17 (2d Cir. 1983). In so doing, a plaintiff must allege
Because the NYFCA mirrors the federal False Claims Act              the existence of seven constituent elements: “(1) that the
(“FCA”) in many respects, “it is appropriate to look toward         defendant (2) through the commission of two or more acts
federal law when interpreting the New York act.” United             (3) constituting a “pattern” (4) of “racketeering activity” (5)
States v. Cath. Health Sys. of Long Island Inc., No. 12-            directly or indirectly invests in, or maintains an interest in, or
CV-4425, 2017 WL 1239589, at *7 (E.D.N.Y. 2017). To state           participates in (6) an “enterprise” (7) the activities of which
a claim under the federal FCA, the plaintiff must show “the         affect interstate or foreign commerce.” Id. (citing 18 U.S.C.
defendants (1) made a claim, (2) to the government, (3) that is     § 1962(a)-(c)) (citations omitted).
false or fraudulent, (4) knowing of its falsity, and (5) seeking
payment from the federal treasury.” Coyne v. Amgen, Inc., 717       Plaintiff's RICO claim misses the mark by many miles
F. App'x 26, 28 (2d Cir. 2017) (summary order).                     because he fails to allege a critical element of the criminal
                                                                    RICO violation—a pattern of “racketeering activity.”
The statute NYFCA defines a “claim” as “any request or              Plaintiff's sole allegation of a predicate racketeering act that
demand, whether under a contract or otherwise, for money or         allegedly violated criminal RICO was Defendants decision to
property ... that is presented to an officer, employee, or agent    override his placement in the low-risk SOCTP and place him
of the state or a local government.” NY State Fin Section           in the moderate-risk SOCTP. ECF No. 52 at 32. However,
188(1). The override decision at the center of Plaintiff's          such an act does not fall within the statutory definition
NYFCA claim involved analyzing Plaintiff's criminal risk to         of a “racketeering activity,” which requires that the act
reoffend and resulted in a determination of which SOCTP             be indictable under an enumerated section of the United
program was most suitable to address those risks. Placing           States Code or involve “murder, kidnapping, gambling, arson,
Plaintiff in the moderate-risk program did not result in any        robbery, bribery, extortion, dealing in obscene matter, or
direct payment from the government's treasury. Therefore,           dealing in a controlled substance ... which is chargeable
this decision did not involve “any request or demand ... for        under State law ...” See generally, 18 U.S.C. § 1961.


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A prison administrator's decision to override an inmate's             member of a protected class” such assertion is not enough to
placement in a treatment program is a far cry from any                “demonstrate that the officers selected their course of action
potential “racketeering activity.” Further, Plaintiff also fails to   because of his race.”).
sufficiently allege a “pattern.” The override that he complains
of only once, and a “ ‘pattern of racketeering activity’ requires     Because Plaintiff fails to allege that Defendants were
at least two acts of racketeering activity.” 18 U.S.C.A. § 1961.      motivated by a class-based discriminatory intent, Plaintiff's
                                                                      claim for conspiracy under Section 1985(3) must be
Because Plaintiff fails to allege that Defendants have engaged        dismissed.
in a pattern of racketeering activity, Plaintiff's RICO claim
must be dismissed.

                                                                                       B. Section 1983 Conspiracy
   VII. CONSPIRACY
                                                                      To state a claim for Section 1983 conspiracy, a plaintiff
Plaintiff brings claims under both Sections 1985(3) and
                                                                      must allege “(1) an agreement between a state actor and a
1983 alleging that Defendants conspired to deprive him of
                                                                      private party; (2) to act in concert to inflict an unconstitutional
his rights in two ways. First, he asserts that “(Defendants)
                                                                      injury; and (3) an overt act done in furtherance of that goal
engaged in conspiracy, collusion when they forced Petitioner
                                                                      causing damages.” Ciambriello v. Cty. of Nassau, 292 F.3d
to lie (provide untrue facts and admit to sexually offending
                                                                      307, 324-25 (2d Cir. 2002). A complaint that contains “only
behavior) in violation of his core and sincerely held religious
                                                                      conclusory, vague, or general allegations that the defendants
beliefs.” ECF No. 60 at 13. Next, he asserts that “they also
                                                                      have engaged in a conspiracy to deprive the plaintiff of his
engaged in a conspiracy when they deliberately, wrongly
                                                                      constitutional rights,” or “diffuse and expansive allegations,”
overrode Petitioner to Moderate (instead of risk) in systemic
                                                                      is properly dismissed; to be viable, a complaint must allege
defraud of taxpayer funds.” Id.
                                                                      “specific instances of misconduct.” Id. at 325 (internal
                                                                      quotation marks omitted). A plaintiff is not required to list
                                                                      the place and date of defendants’ meetings and the summary
                 A. Section 1985 Conspiracy                           of their conversations when he pleads conspiracy, see Fisk
                                                                      v. Letterman, 401 F. Supp. 2d 362, 376 (S.D.N.Y. 2005), but
A conspiracy claim under Section 1985(3) requires a plaintiff         at the very least the pleadings must present “specific facts
to allege: “1) a conspiracy; 2) for the purpose of depriving,         tending to show agreement and concerted action.” Bacquie
either directly or indirectly, any person or class of persons of      v. City of New York, No. 99CIV.10951, 2000 WL 1051904,
the equal protection of the laws, or of equal privileges and          at *1 (S.D.N.Y. July 31, 2000). Without “a meeting of the
immunities under the laws; and 3) an act in furtherance of the        minds, the independent acts of two or more wrongdoers do
conspiracy; 4) whereby a person is either injured in his person       not amount to a conspiracy.” Fisk, 401 F. Supp. 2d at 376.
or property or deprived of any right or privilege of a citizen
of the United States.” Dolan v. Connolly, 794 F.3d 290, 296           Here, Plaintiff's complaint contains “only conclusory, vague,
(2d Cir. 2015) (quoting Britt v. Garcia, 457 F.3d 264, 269 n.         or general allegations.” Id. The facts in Plaintiff's complaint
4 (2d Cir. 2006)). The conspiracy must also be “motivated             amount to allegations of independent acts by the various
by some racial or perhaps otherwise class-based, invidious            Defendants. Respecting the override decision, Plaintiff states
discriminatory animus.” Cine SK8, Inc. v. Town of Henrietta,          that it was “initiated by D-Brotz” and “approved by D-
507 F.3d 778, 791 (2d Cir. 2007).                                     Mcallister.” ECF No. 52 at 15. However, Plaintiff also
                                                                      alleges that it was D-Brotz's role in administering the
 *11 Critically, Plaintiff fails to allege a class-based animus       program to make a recommendation and D-Mcallister's
that motivated Defendants in the acts that they took toward           role in administering the program to approve and deny D-
him. Plaintiff asserts that he is Hindu and sincerely holds a         Brotz's recommendation. Id. At no point does he allege a
religious belief that he cannot lie. However, merely asserting        conversation or agreement between these two Defendants.
membership a particular class is insufficient to assert that          Essentially, Plaintiff has merely alleged that the Defendants
Defendants were motivated by Plaintiff's membership in such           were independently executing the responsibilities of their
class. See Thomas v. Roach, 165 F.3d 137, 147 (2d Cir.                respective roles within the prison administration. Respecting
1999) (Ruling that, although, plaintiff “who is black, is a



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                                                                     For the foregoing reasons, Defendants’ motion to dismiss the
the alleged conspiracy to force Plaintiff to lie, he offers no
                                                                     Amended Complaint, ECF. No. 77, is GRANTED. Plaintiff's
facts whatsoever to support a claim of conspiracy.
                                                                     Amended Complaint, ECF No. 52, is DISMISSED in its
                                                                     entirety. Plaintiff's motion to refer this case to a magistrate
Because Plaintiff fails to allege a meeting of the minds, his
                                                                     judge, ECF No. 83, is DENIED as moot.
allegations respecting Defendants’ independent acts do not
amount to a conspiracy and his claim of a Section 1983
                                                                     *12 IT IS SO ORDERED.
conspiracy is dismissed.


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                      CONCLUSION
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                                                                  pursuant to Federal Rule of Civil Procedure 12(b)(6). (Doc.
                    2024 WL 4844792                               Nos. 101, 103.) Roman opposes those motions. (See Doc.
      Only the Westlaw citation is currently available.           No. 106.) For the reasons discussed below, the County
      United States District Court, E.D. Pennsylvania.            Defendants’ motion is granted in part and denied in part, and
                                                                  Aramark's motion is granted.
          Graham B.C. ROMAN, Plaintiff,
                       v.                                         1       In December 2023, a jury found Roman guilty
       COUNTY OF CHESTER, et al., Defendants.                             on many of those charges, and in April
                                                                          2024, he was sentenced to between 10.5 and
             CIVIL ACTION NO. 23-1662-KSM                                 21 years’ incarceration. See Commonwealth v.
                            |                                             Roman, Nos. CP-15-CR-003306-2021, CP-15-
                 Filed November 20, 2024                                  CR-003288-2021, Criminal Dockets (Chester
                                                                          Cnty. Ct. Comm. Pl.). Roman is currently confined
Attorneys and Law Firms
                                                                          at SCI Rockview.
Graham B.C. Roman, Bellefonte, PA, Pro Se.                        2       The individual Defendants are: Warden Ronald
David J. MacMain, Matthew R. Estberg, MacMain                             Phillips; Deputy Warden Ocie Miller; Director Tim
Leinhauser PC, West Chester, PA, for Defendants County                    Mulrooney; Major Morgan L. Taylor; Captain Peter
of Chester, Ronald Phillips, Ocie Miller, Tim Mulrooney,                  Sergi; Sergeant Matthew Taylor; Sergeant Mark Di
Morgan L. Taylor, Peter Sergi, Matthew Taylor, Mark Di                    Orio; Deputy Warden George Roberts.
Orio, Deputy Warden Roberts.                                      3       Roman incorrectly identifies Aramark Correctional
John R. Ninosky, Marshall Dennehey, P.C., Camp Hill, PA,                  Services, LLC as “Aramark Food Provider Inc.” in
for Defendant Prime Care Inc.                                             his pleadings. (See Doc. No. 103 at 1.)

Theresa Giamanco, Bennett Bricklin & Saltzburg LLC,               I. FACTUAL BACKGROUND
Marlton, NJ, for Defendant Aramark Food Provider Inc.             Roman's Complaint is lengthy and somewhat difficult to
                                                                  follow. However, taking the allegations in the Complaint as
                                                                  true and viewing them liberally as the Court must, Roman
                     MEMORANDUM                                   alleges that while he was detained at CCP he was denied
                                                                  access to necessary medical care and CCP officials retaliated
MARSTON, District Judge                                           against him for submitting complaints and grievances. (Doc.
                                                                  No. 17 at 8.)
 *1 Pro se Plaintiff Graham B.C. Roman was held at
Chester County Prison (“CCP”) from August 21, 2021
through June 18, 2024 while he awaited trial and then                A. Medical Care
sentencing on multiple charges for child sex offenses. See        First, Roman argues that he was denied necessary dental and
Commonwealth v. Roman, Nos. CP-15-CR-0003288-2021,                mental health care while at CCP.
CP-15-CR-003306-2021, Criminal Dockets (Chester Cnty.
Ct. Comm. Pl.). 1 He brings claims under 42 U.S.C. §
1983 for violations of his First, Eighth, and Fourteenth
                                                                                          1. Dental Care
Amendment rights against the County of Chester, multiple
prison officials 2 (collectively, the “County Defendants”),       Roman suffers from osteogenesis imperfecta, which
PrimeCare Medical, Inc. (the prison's medical services            is more commonly known as “brittle bone disease.”
provider), and Aramark Correctional Services, LLC 3 (the          See https://www.niams.nih.gov/health-topics/osteogenesis-
prison's food services provider). (See Doc. No. 17 at 4–8; Doc.   imperfecta (last visited Apr. 23, 2024). It is a genetic disorder
No. 30 at 11.) The County Defendants and Aramark have each        characterized by fragile bones that break easily. Id. According
submitted a motion to dismiss Roman's Amended Complaint           to Roman, his condition requires regular preventative and
and Supplemental Complaint (collectively, “the Complaint”)



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corrective dental treatment “due to higher rate of decay” and        In addition to suffering from osteogenesis imperfecta, Roman
“tooth chips.” (Doc. No. 17 at 14.)                                  also claims that he suffers from “severe mental health
                                                                     disabilit[ies]” that “he has battled since the age of (13).” (Doc.
Roman claims he informed a PrimeCare employee of his                 No. 17 at 15.) According to Roman, he told this to the
condition during his intake exam on August 21, 2021 and              PrimeCare employee during his intake examination, but CCP
told him that he had scheduled appointments for dental               officials nevertheless refused to house him “on the mental
care before he reported to CCP, which would need to be               health block (M)” or to let him attend “appointments.” (Id. at
rescheduled with the prison's dentist. (Id.; see also id. at 24.)    24.)
According to Roman, the PrimeCare employee performing
the exam responded that the prison's policy does “not allow
the Dentist to correct or repair ... only extract or leave              B. Retaliation
until released.” (Doc. No. 17 at 14; see also id. at 24.)            While at CCP, Roman filed numerous complaints against
Roman claims extraction is not a viable option because he            the correctional officers overseeing his confinement. Roman
cannot “replace teeth due to bone weakness and prior jaw             claims the County Defendants have retaliated against him
fractures.” (Id. at 14.) Despite allegedly needing corrective        for those complaints in that they used the prison's suicide
care when he entered CCP, Roman claims that he “was given            prevention policy to sexually harass him, refused to escort
treatment” only “after 20+ months of delay” and significant          him to necessary medical appointments, interfered with his
suffering. (Id.; see also id. at 12 (alleging that he was “refused   attempts to file grievances, and repeatedly moved him from
corrective action and proventitive [sic] action while housed         cell to cell for no penological purpose.
as a pre-trial detainee for 19 months straight”).)

 *2 Roman did finally see a dentist in April 2023. On April                              1. Suicide Prevention
26, 2023, he was examined and told that a prior dentist had
“made [a] few mistakes.” (Id. at 21.) When Roman asked               First, Roman claims that he was sexually harassed by
the Primecare dentist why he was being denied “corrective            Defendant Sergeant Mark DiOrio. At some unidentified
and preventitive [sic] care over a period of 20 months with a        time, Sergeant DiOrio instituted CCP's suicide prevention
genetic Bone Disability, [the dentist] could not explain except      policy against Roman after “a[n] argument.” (Doc. No. 17
to say the policy [and] customs in place limit the[ ] options        at 10.) Roman alleges that even though he was “compliant,”
of care,” in that dentists “are only approved to medicate            “nonaggressive,” and told Sergeant DiOrio that he had
or extract teeth.” (Id. at 21.) The dentist also told him that       “NO suicidal or homicidal thoughts,” Sergeant DiOrio
unidentified “officers refused to escort [Roman] on April 19th       nevertheless “forced” him to go to medical. (Id. at 10, 15.) Per
when [the dentist initially] order[e]d a[n] appointment.” (Id.)      the prison's suicide prevention policy, Roman was required to
The next day, Roman saw the dentist again. The dentist               change out of his clothes and into a “suicide smo[c]k,” but
explained that he had “reported the extream [sic] injur[ie]s         according to Roman, the smock was “way to[o] small,” and
due to 20 months delay” to CCP administration and told               he was required to drape the smock “over [his] shoulder ... to
them that Roman “need[s] a specialist/surg[e]on to ... prevent       cover [his] private parts.” (Id. at 16.) He claims that Sergeant
any more damage and possibly extractions, root cannal [sic],         DiOrio watched him as he changed into the smock and that
cavity repair[.]” (Id.)                                              female prison staff were on the block during this time. (Id.)
                                                                     Roman alleges that he asked Sergeant DiOrio for permission
While CCP searched for a specialist, Roman was placed on             to file a complaint under the Prison Rape Elimination Act
a prescribed soft food diet beginning May 31, 2023. (Doc.            (“PREA”) related to the incident, but was “refused PREA
No. 30 at 10; id. at 21.) Roman claims that Aramark, despite         access for over 2 hours until Sgt. Mark Diorio allowed
being aware of Roman's dietary needs, denied “his prescribed         it.” (Id.) Roman was “released the next day after investigation
medical diet ... [for] NO reason, causing further injury to [his]    proved [he] was not suicidal.” (Id. at 16–17.)
teeth.” (Id. at 7, 9–10, 14–15, 18, 21.)


                                                                                           2. Medical Escorts
                    2. Mental Health Care




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Next, Roman claims he was “refused medical/dental visits         moved Roman from cell 32 because it lacked “power
due to staff refusing to escort [him] to appointments due        [and] cable access” after having been damaged the previous
to classification status.” (Id. at 23.) Roman also alleges       day. (Id. at 19.) Sergeant Ramos also allegedly “emailed
that he “became a target for months” after filing the PREA       security over the fear [that Roman] was being targeted by”
complaint, in that Sergeant DiOrio “refused” to provide          other officers, who were “using cell moves as punishment
“medical escorts.” (Id. at 17.) Also, as noted above, Roman      to expressing grievance issues involving Sgt. Taylor, Sgt.
alleges that on April 26, 2023, his dentist told him that        DiOrio.” (Id.; see also id. at 33–34, 37–38.) The next day,
unidentified “officers refused to escort [Roman] on April 19th   February 22, Sergeant Taylor returned Roman to cell 32,
when [the dentist initially] order[e]d a[n] appointment.” (Id.   telling Roman that he should not have gone “over [Sergeant
at 21.)                                                          Taylor's] head by being moved by a different Sgt. ‘Ramos’ ”
                                                                 and that Roman “will learn [a] lesson now[.]” (Id. at 19.) Later
                                                                 that afternoon, Sergeant Ramos moved Roman back to the
                                                                 undamaged cell, and the next morning, February 23, Sergeant
                 3. Grievance Interference
                                                                 Taylor again ordered that Roman be returned to cell 32. (Id.)
 *3 Third, Roman alleges that Defendant Sergeant Taylor          Allegedly, Sergeant Taylor asked Roman if he wanted to
interfered with Roman's “grievance requests and inmate           “keep playing games” and told Roman that “this is [Sergeant
request slips.” (Id. at 17.) Roman claims he “made extensive     Taylor's] house” and “this is what happens when you go
reports to [CCP's] medical/mental health” department and the     against him[.]” (Id. at 19–20.) The next shift, Sergeant Ramos
“security department” and “all defendants in administration,”    again returned Roman to an undamaged cell and told Roman
but “to no avail” because “the request slips” were never         that security had been “informed to end this retaliation.” (Id.
received. (Id.) Roman believes they were not received            at 20.)
because Sergeant Taylor “screens[,] interferes, and returns”
the grievances “with a[n] answer (NO)!” (Id.) Roman
                                                                 II. PROCEDURAL HISTORY
nevertheless concedes that he was able to appeal at least one
                                                                 Roman filed this action on April 27, 2023. (Doc. No. 2.)
grievance denial to Defendant Captain Sergi, who upheld the
                                                                 On May 15, 2023, he filed an amended complaint (Doc. No.
denial. (Id.; see also id. at 20, 31, 61.) And the documents
                                                                 17) against PrimeCare and all the County Defendants except
attached to the Complaint show that at least two grievances
                                                                 Deputy Warden Roberts, and on June 23, 2023, he submitted
were appealed to Defendant Warden Phillips, who similarly
                                                                 what the Court has interpreted as a supplemental complaint
upheld the denials. (Id. at 36, 60–61.)
                                                                 (Doc. No. 30), which named Deputy Warden Roberts and
                                                                 Aramark as additional Defendants.

                     4. Cell Transfers                           On August 23, 2023, the Court granted Roman's motion for
                                                                 appointment of counsel, referred this matter to the Court's
Last, Roman alleges that all the individual Defendants “were     Prisoner Civil Rights Panel, and stayed the action pending
involved in a campaign of harassment towards” Roman,
                                                                 resolution of that referral. (Doc. No. 56.) 4 When no attorney
moving Roman from “cell to cell” as a punishment for
                                                                 volunteered to represent Roman, the Court lifted the stay
his “many attempts to file a grievance” against unidentified
                                                                 on February 26, 2024. (Doc. No. 98.) One month later,
officers. (Id. at 11.) Roman claims he was “moved (18) times
                                                                 the County Defendants and Aramark moved to dismiss the
in under (17) months” with “around 5 moves” due his “own
                                                                 Complaint. (Doc. Nos. 101, 103.) PrimeCare did not join
actions,” and the remaining 13 moves “based on provoked
                                                                 either motion and instead, filed an answer to the Complaint.
retaliation that [began on] 06/08/2022,” when he filed his
                                                                 (Doc. No. 102.)
PREA complaint. (Id. at 18.) Roman claims there was “no
penological security based reason” for the continued moves,
                                                                 4
and that it can “be assumed” the moves were meant to cause              While the case was stayed, the Court denied three
Roman to suffer “a mental break down.” (Id. at 11.)                     motions for a temporary restraining order and/or a
                                                                        preliminary injunction filed by Roman. (Doc. Nos.
Roman discusses one instance in detail, alleging that he was            59, 86, 96.)
moved five times over a three-day period in February 2023.
On February 21, 2023, nondefendant “Sergeant Ramos”              III. STANDARD OF REVIEW


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 *4 As noted above, the County Defendants and Aramark                  complaint ‘at any time’ if it determines that the complaint is
have moved to dismiss the Complaint under Federal Rule of              frivolous, malicious, or fails to state a claim.”). The standard
Civil Procedure 12(b)(6). (See Doc. Nos. 101, 103.) “A 12(b)           under this screening provision is the same standard that
(6) motion tests the sufficiency of the allegations contained          governs a dismissal under Rule 12(b)(6). See Tourscher v.
in the complaint.” Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d            McCullough, 184 F.3d 236, 240 (3d Cir. 1999).
Cir. 1993). In deciding a motion to dismiss under Rule 12(b)
(6), a court must consider whether the complaint contains
“sufficient factual matter, accepted as true, to ‘state a claim to     IV. DISCUSSION
relief that is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S.   Roman's claims arise under 42 U.S.C. § 1983. 5 Section 1983
662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting              states, in relevant part:
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955,
167 L.Ed.2d 929 (2007)). “A claim has facial plausibility
when the plaintiff pleads factual content that allows the court                     Every person who, under color of any
to draw the reasonable inference that the defendant is liable                       statute, ordinance, regulation, custom,
for the misconduct alleged.” Id. (citing Bell Atl. Corp., 550                       or usage, of any State ..., subjects, or
U.S. at 556, 127 S.Ct. 1955). “Threadbare recitals of the                           causes to be subjected, any citizen of
elements of a cause of action, supported by mere conclusory                         the United States ... to the deprivation
statements, do not suffice.” Id. (citing Bell Atl. Corp., 550                       of any rights, privileges, or immunities
U.S. at 555, 127 S.Ct. 1955.) “Although the plausibility                            secured by the Constitution and laws,
standard does not impose a probability requirement, it does                         shall be liable to the party injured in an
require a pleading to show more than a sheer possibility                            action at law ....
that a defendant has acted unlawfully.” Connelly v. Lane
Const. Corp., 809 F.3d 780, 786 (3d Cir. 2016) (internal
quotation marks and citations omitted). It is the defendant's          42 U.S.C. § 1983. “[T]o state a claim under § 1983, a plaintiff
burden to show that a complaint fails to state a claim. See            must allege, first, the violation of a right secured by the
Hedges v. United States, 404 F.3d 744, 750 (3d Cir. 2005)              Constitution or laws of the United States, and second, that
(explaining that on a Rule 12(b)(6) motion to dismiss, the             the alleged deprivation was committed or caused by a person
“defendant bears the burden of showing that no claim has               acting under color of state law.” Jenkins v. Cordova, Civ. No.
been presented”).                                                      22-6482 (KM) (CLW), 2023 WL 3453635 *4, 2023 U.S. Dist.
                                                                       LEXIS 84428 *9 (D.N.J. May 15, 2023) (citing Harvey v.
In resolving a Rule 12(b)(6) motion, “a court must consider            Plains Twp. Police Dep't, 635 F.3d 606, 609 (3d Cir. 2011)).
only the complaint, exhibits attached to the complaint, matters
of public record, as well as undisputedly authentic documents          5
if the complainant's claims are based upon these documents.”                  Roman's Complaint also references 37 Pa. Code §
Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010). To                      95.223(4) (see Doc. No. 17 at 8), which requires
determine whether a complaint filed by a pro se litigant states               state correctional institutions to have a “written
a claim, a court must accept the facts alleged as true, draw all              local policy” that “permit[s] every inmate to
reasonable inferences in favor of the plaintiff, and “ask only                make a request or submit a grievance to the
whether that complaint, liberally construed, contains facts                   prison administration, the judiciary or other proper
sufficient to state a plausible ... claim.” Shorter v. United                 authorities without censorship as to substance.”
States, 12 F.4th 366, 374 (3d Cir. 2021) (cleaned up); see also               Even assuming Roman has alleged a violation of §
Vogt v. Wetzel, 8 F.4th 182, 185 (3d Cir. 2021) (pro se filings               95.223(4), that regulation does not create a private
are construed liberally).                                                     cause of action, nor is a violation of the regulation
                                                                              the proper subject of a civil rights action brought
Additionally, because Roman is proceeding in forma                            under § 1983. See Yunik v. McVey, Civil Action No.
pauperis, the Court may independently screen his Complaint                    08-1706, 2010 WL 4777623, at *5 (W.D. Pa. Nov.
and dismiss improper claims pursuant to 28 U.S.C. § 1915(e)                   16, 2010) (“To the extent that Plaintiff seeks to sue
(2)(B)(ii). See Brown v. Sage, 941 F.3d 655, 662 (3d Cir. 2019)               Mr. Mangino for violations of state laws and rules,
(“To repeat, the statute requires a court to dismiss an IFP                   we find that such fails to state a claim under Section
                                                                              1983 because in order to state a claim under Section


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        1983, the Plaintiff must allege a violation of his          6       Roman also raises deliberate indifference claims
        federal rights and not merely a violation of state                  against the County Defendants for the denial of
        law.”).                                                             mental health treatment, claiming that the County
 *5 “In evaluating a § 1983 claim, courts must ‘identify                    refused to house Roman on the “mental health
the exact contours of the underlying right said to have been                block” and denied Roman's requests for mental
violated’ and ‘determine whether the plaintiff has alleged a                health “appointments.” (Doc. No. 17 at 15, 24.)
deprivation of a constitutional right at all.’ ” Moore v. Luffey,           The County Defendants do not address these claims
767 F. App'x 335, 339 (3d Cir. 2019) (quoting Chavarriaga v.                in their motion, so the Court will allow them
N.J. Dep't of Corr., 806 F.3d 210, 222 (3d Cir. 2015)). When                to proceed to discovery as against the County.
a § 1983 claim is brought against an individual defendant,                  The Court will, however, dismiss these claims as
the court must “next determine whether the plaintiff has                    against the individual County Defendants because
demonstrated the ‘defendant's personal involvement in the                   an independent review of the Complaint shows that
alleged wrongs.’ ” Id. (quoting Chavarriaga, 806 F.3d at 222).              Roman has not alleged that any individual was
When the claim is brought against a local government or                     personally involved in the alleged denial of mental
municipality, however, the court cannot hold the municipality               health treatment. See Moore, 767 F. App'x at 339.
liable on “a vicarious liability theory rooted in respondeat        7
superior.” Mulholland v. County of Berks, 706 F.3d 227, 237                 In his opposition brief, Roman asserts that
(3d Cir. 2013); see also Monell v. Dep't of Soc. Servs., 436                Defendants also failed to timely provide him with
U.S. 658, 690, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978) (holding                special shoes, which he argues were medically
that local governments and municipalities are also considered               necessary. (Doc. No. 106 at 7.) The Court does not
persons under § 1983). Instead, local governments and                       consider this issue because it is not raised in his
municipalities may be sued directly under § 1983 only when                  Complaint. See Pa. ex rel. Zimmerman v. PepsiCo.,
“the action that is alleged to be unconstitutional implements or            Inc., 836 F.2d 173, 181 (3d Cir. 1988) (explaining
executes a policy statement, ordinance, regulation, or decision             that a complaint may not be amended by a plaintiff's
officially adopted and promulgated by that body's officers.”                brief in opposition to a motion to dismiss); Ernst v.
Monell, 436 U.S. at 690, 98 S.Ct. 2018.                                     Union Cnty. Conservation Dist., No. 21-1702, 2023
                                                                            WL 6276698, at *12 n.65 (M.D. Pa. Sept. 26, 2023)
Here, Roman contends that Defendants are liable under §                     (same).
1983 because they: (1) violated his Eighth and Fourteenth
Amendment rights when they were deliberately indifferent
                                                                                          1. Legal Standard
to his serious medical needs, and (2) violated his First
Amendment rights when they retaliated against him for filing        Because Roman was a pretrial detainee while at CCP, his
a PREA complaint and multiple grievances. (See Doc. Nos.            medical treatment claims are governed by the Fourteenth
17, 30.) The County Defendants and Aramark argue that               Amendment's Due Process Clause—which “protects pretrial
Roman's § 1983 claims fail because he has not alleged               detainees from ‘any and all punishment’ ”—not the
constitutional violations, and in the alternative, he has not       Eighth Amendment's prohibition on cruel and unusual
alleged facts to support a finding of individual or municipal       punishment. Happel v. Bishop, 1:23-CV-13-SPB-RAL, 2024
liability. (Doc. Nos. 101, 103.)                                    WL 1508561, at *10 (W.D. Pa. Feb. 22, 2024) (quoting
                                                                    Montgomery v. Aparatis Dist. Co., 607 F. App'x 184, 187 (3d
                                                                    Cir. 2015)); see also Hubbard v. Taylor, 399 F.3d 150, 167
   A. Deliberate Indifference to Serious Medical Needs
                                                                    n.23 (3d Cir. 2005) (recognizing “distinction between pretrial
First, Roman brings Eighth and Fourteenth Amendment
                                                                    detainees’ protection from ‘punishment’ under the Fourteenth
claims for deliberate indifference to medical needs, which
                                                                    Amendment, on the one hand, and convicted inmates’
are based on Defendants delaying access to preventative and
                                                                    protection from punishment that is ‘cruel and unusual’ under
corrective dental care and failing to provide appropriate meals
                                                                    the Eighth Amendment, on the other”); Montgomery v. Ray,
under Roman's prescribed soft food diet. (Doc. No. 17 at 12,
                                                                    145 F. App'x 738, 740 (3d Cir. 2005) (“While the due process
14, 21, 24; Doc. No. 30 at 7, 9–10, 14–15, 18, 21.) 6 , 7           rights of a pre-trial detainee are at least as great as the Eighth
                                                                    Amendment protections available to a convicted prisoner,
                                                                    the proper standard for examining such claims is ... whether


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the conditions of confinement (or here, inadequate medical        “prison officials may not, with deliberate indifference to the
treatment) amounted to punishment prior to an adjudication        serious medical needs of the inmate, opt for ‘an easier or less
of guilt.” (cleaned up)). Although the two standards are          efficacious treatment’ of the inmate's condition.” Spruill, 372
not identical, the Eighth Amendment analysis informs the          F.3d at 228 (quoting West v. Keve, 571 F.3d 158, 162 (3d Cir.
Fourteenth Amendment analysis, serving “as a floor for due        1978)).
process inquiries into medical and non-medical conditions of
pretrial detainees.” Montgomery, 145 F. App'x at 740 (citing
Hubbard, 399 F.3d at 165–67). “To state a claim under the
                                                                                    2. Delay in Dental Care
Eighth Amendment, an inmate must allege: (1) a serious
medical need; and (2) behavior on the part of prison officials    The Court begins with Roman's claim that the County
constituting deliberate indifference to that need.” Happel,       Defendants were deliberately indifferent to his serious
2024 WL 1508561, at *10 (citing Estelle v. Gamble, 429 U.S.       medical needs when they delayed access to preventative and
97, 106 (1976)).                                                  corrective dental care for more than 20 months.

 *6 Under the first prong, a “medical need is serious, ...
if it is one that has been diagnosed by a physician as
                                                                                    a. Constitutional Violation
requiring treatment or one that is so obvious that a lay
person would easily recognize the necessity for a doctor's        The County Defendants do not explicitly dispute that Roman
attention.” Monmouth Cnty. Corr. Institutional Inmates v.         suffered from a serious medical need, and the Court has
Lanzaro, 834 F.2d 326, 347 (3d Cir. 1987) (internal quotation     no problem finding that Roman's need was “serious” when
marks omitted). “The seriousness of an inmate's medical need      he saw the prison's dentist in April 2023. (See Doc. No.
may also be determined by reference to the effect of denying      17 at p. 23 (alleging that at that time, two teeth “were
treatment.” Id. When a denial or delay of adequate care           extracted ..., [t]hree other teeth have gone from cavity to
results in the “unnecessary and wanton infliction of pain,” id.   broken and decaying including a front visible tooth at risk of
(quoting Estelle, 429 U.S. at 103, 97 S.Ct. 285), or “causes an   needed extraction, multiple cavit[ie]s still exist” and Roman
inmate to suffer a life-long handicap or permanent loss, the      was enduring “extream [sic] pain, sensitivity, infection even
medical need is considered serious,” id.
                                                                  after antibiotics are given”).) 8 It is unclear, however, when
                                                                  Roman's injuries first developed. Roman alleges that when
Under the second prong, an official acts with “deliberate
                                                                  he entered CCP he told PrimeCare employees that he had
indifference” when the official knows of and disregards an
                                                                  scheduled appointments for dental care, but he does not
excessive risk to inmate health or safety; the official must
                                                                  explain the nature of those appointments or allege the nature
both be aware of facts from which the inference could be
                                                                  of the injuries, if any, that he suffered at the time. (Id.
drawn that a substantial risk of serious harm exists, and
he must also draw the inference.” Farmer v. Brennan, 511          at 14, 24.) 9 Nevertheless, given that Roman requested
U.S. 825, 837, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994); see        “corrective” treatment during his intake exam, submitted
also Pearson v. Prison Health Serv., 850 F.3d 526, 534 (3d        numerous requests for dental treatment in the months that
Cir. 2017) (deliberate indifference can be shown by a prison      followed, and ultimately suffered serious and substantial
official “intentionally denying or delaying access to medical     injuries to multiple teeth, the Court finds that Roman has
care or intentionally interfering with the treatment once         sufficiently alleged a serious medical need for purposes of this
prescribed” (internal citations and quotation marks omitted)).    motion.
This is a subjective inquiry. See Moore, 767 F. App'x at
340. Not every complaint of inadequate prison medical care        8      The Court also has no trouble finding that the
rises to the level of deliberate indifference. Anderson v.               prison officials were not deliberately indifferent
Price, No. 22-3058, 2023 WL 5814664, at *2 (3d Cir. Sept.                to Roman's serious medical need in April 2023
8, 2023). Allegations of medical malpractice, negligence,                because the prison dentist provided immediate
and mere disagreement regarding proper medical treatment                 treatment while CCP administrators searched for a
are insufficient to establish a constitutional violation. See            specialist.
Spruill v. Gillis, 372 F.3d 218, 235 (3d Cir. 2004); Hayes v.
Gilmore, 802 F. App'x 84, 88 (3d Cir. 2020). Nonetheless,



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9      Although not in the body of his Complaint, Roman
                                                                 Accordingly, the Court finds that Roman has alleged a
       does state in a grievance attached to his Complaint
                                                                 plausible constitutional violation by the County in connection
       that he “chipped [his] teeth a few weeks after
                                                                 with the extended delay surrounding his dental treatment.
       being arrested.” (Doc. No. 17 at 52.) But that alone
       does not necessarily show that he suffered from a
       serious medical need. See Tormasi v. Hayman, Civil
       Action No. 09-5780 (JAP), 2010 WL 716068, at                                  b. Individual Liability
       *1 (D.N.J. Mar. 1, 2010) (dismissing the plaintiff's
       Eighth Amendment claims related to chipped tooth          Next, the County Defendants argue that even if Roman
       for those periods where the plaintiff “experienced        has stated plausible constitutional violations, the Fourteenth
       no pain or bleeding,” and where he “experienced           Amendment claims should be dismissed as against the
       minor bleeding and/or slight degree of pain”); id.        individual County Defendants because he has not alleged
       at *2 (dismissing the plaintiff's claim related to        any individual's “personal involvement in the alleged
       the “preservation of Plaintiff's tooth” because it        wrongdoing.” (Doc. No. 101 at 19 (quoting Mincy, 508
       “facially fails to state a claim under the Eighth         F. App'x at *103); see also id. at 22 (“Warden Phillips,
       Amendment”).                                              Maj. Taylor, Deputy Warden Miller, Director Mulrooney,
                                                                 Capt. Sergi, and Deputy Warden Roberts have no personal
 *7 Assuming that Roman did suffer from a serious medical
                                                                 involvement with Plaintiff ....”).) The Court agrees that
need when he entered CCP on August 21, 2021, the County
                                                                 Roman has not alleged any facts from which the Court can
Defendants argue that they were not deliberately indifferent
                                                                 infer any individual Defendant's personal involvement in the
to that medical need because Roman “was seen by a dentist
                                                                 substantial delay of dental care. Although he claims CCP's
on April 26 and April 27, 2023.” (Doc. No. 101 at 21.) But
                                                                 dentist told him in April 2023 that unidentified “officers”
that treatment occurred more than 20 months after Roman
                                                                 failed to bring Roman to an appointment the dentist had
entered the prison. As this Court previously explained (see
                                                                 scheduled the week prior, Roman has not attributed that
Doc. No. 25 at 7 n.5), a substantial delay in treatment for
                                                                 failure to any named Defendant. Likewise, Roman states
non-medical reasons can itself rise to the level of deliberate
                                                                 in conclusory terms that Sergeant DiOrio denied Roman
indifference. See, e.g., Monmouth Cnty. Corr. Institutional
                                                                 medical escorts, but he does not allege when those denials
Inmates, 834 F.2d at 346 (“[I]f necessary medical treatment
                                                                 occurred or otherwise tie Sergeant DiOrio's conduct to
is delayed for non-medical reasons, a case of deliberate
                                                                 the lack of adequate dental care. Accordingly, the Court
indifference has been made out.” (cleaned up)); Parkell v.
                                                                 dismisses Roman's Fourteenth Amendment claims as against
Danberg, 883 F.3d 313, 337 (3d Cir. 2016) (explaining that
                                                                 the individual Defendants. See Moore, 767 F. App'x at 339
a correctional official is deliberately indifferent when they
                                                                 (explaining that the plaintiff must allege “the ‘defendant's
“delay[ ] necessary medical treatment based on a non-medical
                                                                 personal involvement in the alleged wrongs’ ” (quoting
reason; or ... prevent[ ] a prisoner from receiving needed or
                                                                 Chavarriaga, 806 F.3d at 222)). The dismissal is, however,
recommended medical treatment” (quoting Rouse v. Plantier,
                                                                 without prejudice, and Roman will be given an opportunity to
182 F.3d 192, 197 (3d Cir. 1999))); Harrison v. Barkley,
                                                                 amend his Complaint to the extent he can do so in good faith.
219 F.3d 132, 137–38 (2d Cir. 2000) (finding deliberate
indifference where the plaintiff “adduced evidence to show ...
that his cavity was left untreated for one year”).
                                                                                     c. Municipal Liability
Attempting to address the significant delay, the County
                                                                 The County Defendants similarly argue that Roman has failed
Defendants assert that “from the time of his intake on August
                                                                 to allege facts to support a finding of municipal liability
29, 2021, until filing his Compliant [sic] on April 27, 2023,
                                                                 under Monell because he has made only “vague references
Plaintiff was seen by a dentist at CCP six (6) times.” (Doc.
                                                                 to policy,” which “fall[ ] woefully short of the proof needed
No. 101 at 21.) They do not, however, provide any supporting
                                                                 to support a Monell claim.” (Doc. No. 101 at 24.) In the
documentation for this assertion, nor is it supported by the
                                                                 same breath, however, the County Defendants concede that
allegations in the Complaint, which this Court must accept as
                                                                 Roman has identified an official CCP policy at the root of
true in deciding the motions to dismiss. In other words, the
                                                                 his dental injuries: “Plaintiff states that prison policy is to
Court must at this stage take as true Roman's allegations that
                                                                 either extract an inmate's tooth or to treat the inmate for
he went 20 months without receiving any dental care.


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pain until they are released.” (Id.) Roman has tied this policy   McTernan v. City of York, 564 F.3d 636, 658–59 (3d Cir. 2009)
to his alleged constitutional violation, explaining that when     (explaining that to allege an actionable municipal custom,
he asked for corrective dental care, he was repeatedly told       the complaint must identify the custom with specificity
that it was not an option under the prison's extract or wait      and demonstrate “knowledge and acquiescence by the
policy. (See Doc. No. 17 at 14, 24.) Neither waiting nor          decisionmaker”); Bielevicz v. Dubinon, 915 F.2d 845, 851 (3d
extracting was an appropriate course of treatment for Roman,      Cir. 1990) (“[T]o sustain a § 1983 action against the City,
however, because his injuries allegedly were not responding       plaintiffs must simply establish a municipal custom coupled
to antibiotic treatment and he suffers from osteogenesis          with causation—i.e., that policymakers were aware of similar
imperfecta and cannot later replace teeth that are extracted.     unlawful conduct in the past, but failed to take precautions
(Id. at 14.)                                                      against future violations, and that this failure, at least in part,
                                                                  led to their injury.”). Because Roman alleges that he suffered
 *8 The County Defendants argue that these allegations are        a constitutional injury as a result of CCP's official policy
nevertheless insufficient because the extract or wait policy is   regarding dental treatment, he need not also allege knowledge
“a commonly used policy in prisons and jails throughout the       and acquiescence.
country as they have limited resources and must allocate those
resources to treat the maximum number of inmates.” (Doc.          Accordingly, the Court denies the County Defendants’ motion
No. 101 at 24.) But the County's justification for the extract    to dismiss Roman's Fourteenth Amendment claim for delayed
or wait policy does not render it immune from suit when that      dental care as against the County.
policy results in a constitutional violation, nor does the fact
that other prisons have adopted similar policies.
                                                                                         3. Soft Food Diet
Last, the County Defendants argue that Roman's allegations
are insufficient because he “has not and is unable to identify    Roman also brings Fourteenth Amendment claims against
any patterns of similar constitutional violations against         Aramark, alleging that the company was deliberately
Chester County or CCP which would have put Defendants             indifferent to his serious medical needs when it failed to
on notice that the current dental treatment policy was in         provide a soft food diet as prescribed by Roman's dentist,
violation of the [C]onstitution.” (Doc. No. 101 at 25–26.) This   “causing further injury to [Roman's] teeth.” (Doc. No. 30 at
confuses the “policy” prong of the Monell analysis with the       7, 9–10, 14–15, 18, 21.)
“custom” prong. As explained above, a municipality may be
held liable under § 1983 only “when the alleged constitutional
transgression implements or executes a policy, regulation
                                                                                    a. Constitutional Violation
or decision officially adopted by the governing body or
informally adopted by them.” Beck v. City of Pittsburgh, 89       Aramark does not contest that Roman has alleged a serious
F.3d 966, 971 (3d Cir. 1996) (citing Monell, 436 U.S. 658, 98     medical need, in that his dentist prescribed a soft food
S.Ct. 2018, 56 L.Ed.2d 611). Put differently, a municipality      diet. See Talley v. Amarker, No. CIV.A. 95-7284, 1996 WL
“may not be held liable on a theory of vicarious liability        528867, at *2 (E.D. Pa. Mar. 7, 1996) (“Plaintiff has alleged
rooted in respondeat superior,” but it may be held liable “when   a serious medical need because he has alleged that his
the injury inflicted is permitted under its adopted policy        diet was medically prescribed.”). Instead, Aramark argues
or custom.” Mulholland v. County of Berks, 706 F.3d 227,          that Roman's claim fails because Roman has not shown
237 (3d Cir. 2013) (citing Beck, 89 F.3d at 971). “Policy         deliberate indifference, and more specifically, has failed to
is made when a decisionmaker possessing final authority to        “assert any facts suggesting that an Aramark individual acted
establish municipal policy with respect to the action issues      intentionally, delayed medical treatment for a non-medical
an official proclamation, policy, or edict.” Mulholland, 706      reason, or prevented the Plaintiff from receiving medical
F.3d at 237 (quotation marks omitted). And a “course of           treatment.” (Doc. No. 103-2 at 9–10.) Liberally construing
conduct is considered to be a ‘custom’ when, though not           the allegations in the Complaint, the Court finds Roman has
authorized by law, such practices of state officials are so       sufficiently alleged deliberate indifference.
permanent and well-settled as to virtually constitute law.”
Id. (quotation marks omitted). Allegations of knowledge and        *9 A food provider acts with deliberate indifference when
acquiescence are required only under the custom prong. See        it fails to provide a specific diet despite knowing that it



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is medically required. See Talley, 1996 WL 528867, at *2           private companies providing prison medical services under
(finding the “plaintiff has alleged both serious medical needs     contract”). Roman has not identified an Aramark policy or
and deliberate indifference” where he “alleged that Aramark        alleged any facts to suggest an Aramark custom was the cause
failed to provide him with his diet over a period of six           of the delay of his soft food diet. Accordingly, Aramark's
weeks, even though they were aware that it was medically           motion to dismiss is granted. Roman will, however, be given
required”); Skelton v. Branganza, Civil No. 19-18597 (RMB-         an opportunity to amend his Complaint to include such
SAK), 2024 WL 939688, at *7 (D.N.J. Mar. 4, 2024) (“It             allegations if he can do so in good faith. If Roman chooses
is plausible that the Dietician Defendants were aware that         to amend his Complaint, he should be mindful of the Court's
the diets they designed, as alleged in the TAC, did not            discussion of Monell throughout this Memorandum.
comply with medically prescribed diets for prisoners with
diabetes and other conditions. Plaintiff's claims of deliberate                                  ***
indifference to a serious medical need can proceed against the
Dietician Defendants.”).                                           In sum, Roman's Fourteenth Amendment claims against the
                                                                   County for the 20-month delay of necessary dental care
Here, Roman alleges that he was prescribed a soft food diet        and the denial of mental health care services may proceed.
on May 31, 2023, and that as of June 19, 2023, when he             The Court dismisses without prejudice Roman's Fourteenth
signed his supplemental complaint, Aramark “continue[d] to         Amendment claims against the individual County Defendants
provide meals that are against medical prescription.” (Doc.        and Aramark.
No. 30 at 10; id. at 21 (copy of “Medical Diet Order
Form,” prescribing “Dental Soft Diet”).) In addition, Roman
attaches to his Complaint multiple request slips—directed to          B. Retaliation
correctional officers, Aramark's Office, and Roman's dentist       In addition to his Fourteenth Amendment claims, Roman
—which suggest Aramark was aware that Roman needed a               alleges that the County Defendants violated his First
“soft food diet.” (See id. at 15 (June 17, 2023 grievance slip     Amendment rights when they retaliated against him for filing
to “Aramark Office,” asking the recipient to “[p]lease help        grievances and a PREA complaint. To state a plausible First
end the delay of a medical based ‘soft dental diet’ that was       Amendment retaliation claim, a prisoner must allege: (1) he
prescribed by Dr. Zarkoski in order to prevent further injury”);   engaged in constitutionally protected conduct; (2) he suffered
id. at 16 (June 17, 2023 grievance slip alleging that “going on    an adverse action sufficient to deter a person of ordinary
(18) days Ive [sic] been delayed my Dental Soft Diet which         firmness from exercising his constitutional rights; and (3)
has left me vulnerable to injury”).)                               the constitutionally protected conduct was “a substantial or
                                                                   motivating factor” for the adverse action. Rauser v. Horn, 241
The Court finds these allegations sufficient at this stage to      F.3d 330, 333 (3d Cir. 2001); Coit v. Garman, 812 F. App'x
state a plausible constitutional violation.                        83, 86 (3d Cir. 2020). Roman has identified four allegedly
                                                                   adverse actions: (1) using the prison's suicide prevention
                                                                   policy to sexually harass him; (2) interfering with his ability to
                                                                   file additional grievances; (3) preventing him from attending
                    b. Municipal Liability                         medical appointments; and (4) moving him from cell to cell
                                                                   for no penological purpose. The Court considers whether
Aramark argues that even if Roman has stated a constitutional
                                                                   Roman has stated a constitutional claim as to each action in
violation, his Fourteenth Amendment claim nevertheless fails
                                                                   turn.
because Roman has not alleged facts to satisfy Monell. (Doc.
No. 103-2 at 6–9.) As a private company providing services to
pretrial detainees pursuant to a municipal contract, Aramark
stands in the same shoes as the municipality. See Natale v.                            1. Suicide Prevention
Camden Cnty. Corr. Facility, 318 F.3d 575, 583–84 (3d Cir.
2003); Whitehurst v. Lackawanna County, CIVIL ACTION                *10 First, Roman claims that he was sexually harassed by
NO. 3:17-cv-00903, 2020 WL 6106616, at *16 (M.D. Pa.               Defendant Sergeant Mark DiOrio when, at some unidentified
Mar. 5, 2020) (citing Natale for the proposition that “§ 1983      time, Sergeant DiOrio instituted CCP's suicide prevention
liability for constitutional violations based on a municipal       policy against Roman after “a[n] argument.” (Doc. No. 17
entity's policies and customs has been extended to apply to        at 10.) Roman alleges that even though he was “compliant,”



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“nonaggressive,” and told Sergeant DiOrio that he had             Oliver v. Calderon, Case No. 6:17-cv-1792-Orl-31TBS, 2019
“NO suicidal or homicidal thoughts,” Sergeant DiOrio              WL 1254844, at *5 (M.D. Fla. Mar. 19, 2019) (“Plaintiff's
nevertheless “forced” him to go to a cell without “toilet paper   allegations that Defendants prevented him from attending
[or] soap” and to change into a “suicide smo[c]k” that was        medical appointments and denied him medical treatment as
too small while Sergeant DiOrio watched. (Id. at 10, 15–16.)      a result of filing grievances, if proven true, support a First
According to Roman, Sergeant DiOrio was “attempt[ing] to ...      Amendment violation.”). That leaves the third prong of the
punish[ ]” Roman “using a policy of suicide prevention.” (Id.     constitutional inquiry: causal connection.
at 10; see also id. at 15 (“Defendants herein named throughout
complaint have targeted plaintiff by using customs in place       “To establish the requisite causal connection a plaintiff
for suicide prevention to punish plaintiff ....”).) Roman has     usually must prove either (1) an unusually suggestive
not, however, tied this “punishment” to any constitutionally      temporal proximity between the protected activity and the
protected activity under the First Amendment. (See id. at         allegedly retaliatory action, or (2) a pattern of antagonism
10, 15–16 (claiming that the policy was instituted because        coupled with timing to establish a causal link.” Ruttle v.
of an “argument”).) As such, Roman has not alleged a              Brady, No. 22-3000, 2023 WL 5554648, at *2 (3d Cir.
plausible constitutional violation, and the Court must grant      Aug. 29, 2023) (quoting Lauren W. ex rel. Jean W. v.
the County Defendants’ motion to dismiss this claim. Roman        DeFlaminis, 480 F.3d 259, 267 (3d Cir. 2007)). Roman filed
will, however, be given leave to amend.                           his PREA complaint in early June 2022. (See Doc. No. 17
                                                                  at 16 (“Recorded phone calls to Prea on 06/08/22”).) Roman
                                                                  identifies only one date when he was denied a medical escort
                                                                  after that complaint was filed: April 19, 2023. (Doc. No. 17
                     2. Medical Escorts
                                                                  at 21.) 10 A ten-month delay is not “unusually suggestive.”
Next, Roman claims he has been denied medical visits “due         See Yu v. U.S. Dep't of Veterans Affairs, 528 F. App'x 181, 185
to staff refusing to escort [him] to appointments.” (Doc. No.     (3d Cir. 2013) (defining “unusually suggestive” as “within a
17 at 23; see also id. at 21 (alleging correctional officers      few days but no longer than a month”). Neither has Roman
“refused to escort” Roman to a dental appointment on April        alleged a “pattern of antagonism” by Sergeant DiOrio, which
19, 2023).) In one portion of his Complaint, Roman claims         “coupled with timing” could “establish a causal link.” Ruttle,
this refusal was “due to [his] classification status” (id. at     2023 WL 5554648, at *2.
23), which does not implicate the First Amendment. See
Thomas v. Independence Township, 463 U.S. 285, 295 (3d            10     As noted above, Roman has not alleged that
Cir. 2006) (finding “the plaintiffs have adequately pled First
                                                                         Sergeant DiOrio is the officer responsible for his
Amendment retaliation claims” where “the complaint alleges
                                                                         missed dental appointment.
that the Individual Defendants have engaged in a campaign of
harassment and intimidation against plaintiffs for exercising      *11 Because Roman has not alleged a plausible
their First Amendment rights” (emphasis added)). In another       constitutional violation, the Court grants the County
portion of his Complaint, however, Roman claims that he           Defendants’ motion to dismiss this claim. Roman will,
“became a target” in the months after filing his PREA             however, be given leave to amend.
complaint, in that Sergeant DiOrio “refused” to provide
“medical escorts.” (Id. at 17.)
                                                                                   3. Grievance Interference
A prisoner's filing of a PREA complaint is constitutionally
protected conduct. See Robinson v. Palco, No. 21-298, 2022        Third, Roman alleges that Defendant Sergeant Taylor
WL 3009746, at *3 (3d Cir. 2022) (“The misconducts, as            interfered with Roman's “grievance requests and inmate
well as the resulting sanctions, were explicitly issued in        request slips.” (Doc. No. 17 at 17.) Roman claims he
response to Robinson's filing of PREA complaints, which           “made extensive reports to [CCP's] medical/mental health”
we have concluded ‘implicates conduct protected by the            department and the “security department” and “all defendants
First Amendment.’ ”) (quoting Mitchell v. Horn, 318 F.3d          in administration,” but it was “to no avail” because “the
523, 531 (3d Cir. 2003)). And at least one federal district       request slips” were never received. (Id.) Roman believes they
court has found that interference with required medical           were not received by upper management because Sergeant
appointments can rise to the level of an “adverse action.” See    Taylor “screens[,] interferes, and returns” the grievances



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“with a[n] answer (NO)!” (Id.) Once again, Roman has not          18); see also Dillard v. Talamantes, Civil No. 1:15-CV-974,
tied the alleged interference to any constitutionally protected   2018 WL 1518565, at *11 (M.D. Pa. Mar. 28, 2018) (“Dillard
activity under the First Amendment. And even if we viewed         speculates that defendant Nye moved him to a different
the initial filing of the grievances as the constitutionally      cell for the sole purpose of harassing and punishing him.
protected activity, the denial of those grievances was “not an    However, Dillard concedes that on at least one occasion,
‘adverse action’ for retaliation purposes.” Owens v. Coleman,     he in fact requested a cell change because he did not get
629 F. App'x 163, 167 (3d Cir. 2015). Because Roman has not       along with his cellmate due to their age difference.”). As to
alleged a plausible constitutional violation, the Court grants    the remaining 13 transfers, Roman discusses only one set
the County Defendants’ motion to dismiss this claim. Roman        of transfers in detail, alleging that he was moved five times
will, however, be given leave to amend.                           between February 21, 2023 and February 23, 2023, when
                                                                  Sergeant Taylor and nondefendant Sergeant Ramos moved
                                                                  Roman between cell 32—which lacked “cable access”—and
                                                                  other cells that had cable access. (Doc. No. 17 at 19.)
                      4. Cell Transfers

Last, Roman alleges that all the individual Defendants “were       *12 “[U]nder some circumstances, a prison transfer may
involved in a campaign of harassment towards” Roman,              constitute an adverse action sufficient to deter a person of
moving Roman from “cell to cell” as a punishment for              ordinary firmness from exercising his constitutional rights.”
his “many attempts to file a grievance” against unidentified      Chruby v. Bearjar, CIVIL ACTION NO. 3:17-cv-01631,
officers. (Doc. No. 17 at 11.) Specifically, Roman claims         2018 WL 4537404, at *12 (M.D. Pa. Aug. 27, 2018).
he was “moved (18) times in under (17) months” with               “For example, a transfer into administrative or restrictive
13 moves “based on provoked retaliation that [began on]           confinement, a less desirable cell or location within the
06/08/2022” when Roman filed his PREA complaint against           prison, or a dangerous cell block might represent an adverse
                                                                  action.” Lawson v. Crowther, Civil Action No. 17-39 Erie,
Sergeant DiOrio. (Id. at 18.) 11 Grievances and informal oral
                                                                  2018 WL 6524380, at *3 (W.D. Pa. Oct. 30, 2018) (collecting
complaints are protected conduct for purposes of a First
                                                                  cases); see also Palmore v. Hornberger, 813 F. App'x 68, 70
Amendment retaliation claim. See Watson v. Rozum, 834
                                                                  (3d Cir. 2020) (“[B]eing placed in lockdown, being moved
F.3d 417, 422 (3d Cir. 2016) (written grievances); Mack v.
                                                                  to restricted housing, and being issued misconduct charges
Warden Loretto FCI, 839 F.3d 286, 300 (3d Cir. 2016) (oral
                                                                  are more than ‘de minimis’ adverse actions.” (quoting McKee,
grievances). However, the Court cannot find that Roman's
                                                                  436 F.3d at 170)); Dunbar v. Barone, 487 F. App'x 721, 723
cell transfers, when viewed collectively or individually,
                                                                  (3d Cir. 2012) (“In the prison context, ... the following actions
constituted an adverse action.
                                                                  were sufficient to establish adversity: several months in
                                                                  disciplinary confinement; denial of parole, financial penalties,
11     In his opposition brief, Roman also asserts he             and transfer to an institution whose distance made regular
       was “involved in ‘Jailhouse lawyer’ aid to others          family visits impossible; and placement in administrative
       at the time the retaliation began as well as               segregation that severely limited access to the commissary,
       complaints to multiple prison board members, local         library, recreation, and rehabilitative programs.”) Dunbar
       news papers and Disability Rights Pennsylvania             v. Barone, 487 F. App'x 721, 723 (3d Cir. 2012) (emphases
       Attorneys, right before Defendants ... began their         added). In such cases, the cell transfers “have a strong
       active [c]ampaign of [h]arassment through non-             deterrent effect.” Dillard v. Talamantes, CIVIL NO. 1:15-
       stop cell transfers and harassment.” (Doc. No. 106         CV-974, 2018 WL 1518565, at *11 (M.D. Pa. Mar. 28, 2018);
       at 15.) Because these allegations are not included         see also Griffin v. Malisko, No. 1:18-cv-01155, 2018 WL
       in the Complaint, the Court does not consider              5437743, at *3 (M.D. Pa. Oct. 29, 2018). In contrast, cell
       them. See Pa. ex rel. Zimmerman, 836 F.2d at 181           transfers that result in only “[t]emporary inconveniences ...
       (explaining that a complaint may not be amended            do not meet this standard.” Griffin, 2018 WL 5437743, at *3.
       by a plaintiff's brief in opposition to a motion to        “[W]hether a prisoner has met this prong of his retaliation
       dismiss); Ernst, 2023 WL 6276698, at *12 n.65              claim will,” however, “depend on the facts of the particular
       (same).                                                    case.” Dillard, 2018 WL 1518565, at *11.
Notably, Roman concedes that “around 5” of the transfers
were justified by his “own actions.” (See Doc. No. 17 at



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For example, the plaintiff in Griffin argued that his transfer            plaintiff[’]s belongings and legal material was
to a new cell with a shower that produced “brown water”                   damaged due to the excessive cell transfers and
was an adverse action. Id. at *3 & n.1. The district court                the belongings being thrown in the cell by
disagreed, finding that the plaintiff had not satisfied this              defendants.” (Doc. No. 106 at 17.) Again, these
element of his retaliation claim because “his transfer from               allegations are not included in the Complaint, so
one cellblock to another similar cellblock is insufficient to             the Court does not consider them. See Pa. ex rel.
deter a person of ordinary firmness from exercising his                   Zimmerman, 836 F.2d at 181 (explaining that a
constitutional rights.” Id. The court emphasized that the                 complaint may not be amended by a plaintiff's brief
plaintiff had failed to “allege for how long the water was                in opposition to a motion to dismiss); Ernst, 2023
allegedly brown” and that it “was clear from the complaint                WL 6276698, at *12 n.65 (same).
that Plaintiff suffered no physical harm from the brown water”     *13 Because Roman has not alleged a plausible
and was “only temporarily housed in this cell.” Id.; see          constitutional violation, the Court grants the County
also Owens, 629 F. App'x at 167 (“Owens’ mere assertion           Defendants’ motion to dismiss this claim. Roman will,
that Appellees retaliated against him by placing him in a         however, be given leave to amend.
cell with a faulty shower does not meet the[ ] elements”
of a First Amendment retaliation claim.); Dillard, 2018 WL                                     ***
1518565, at *11 (“Simply moving Dillard to a different
cell, and failing to allow him to [reside] with the inmate of     Roman has not alleged any plausible claims of First
his choice in a cleaner, quieter cell, cannot be considered       Amendment retaliation. Accordingly, the County Defendants’
‘adverse actions’ sufficient to deter a person of ordinary        motion to dismiss is granted as to his First Amendment claims
firmness from exercising his constitutional rights.”); Lawson     with the understanding that Roman will be granted leave to
v. Crowther, Civil Action No. 17-39 Erie, 2018 WL 6524380,        amend.
at *3 (W.D. Pa. Oct. 30, 2018) (“While transferring between
equivalent cells within a short period of time may have been
an annoyance, the Court cannot conclude that it would deter a        C. Punitive Damages
person of ordinary firmness from exercising his constitutional    Last, the County seeks dismissal of Roman's request for
rights.”).                                                        punitive damages as against it, arguing that the Complaint
                                                                  “contain[s] no allegations that” the County was “motivated
Here, like the plaintiffs in Griffin, Owens, Dillard, and         by an evil motive, [was] recklessly indifferent to Plaintiff's
Lawson, Roman has not alleged that his cell transfers rise to     constitutional rights, or had any prior personal animosity
the level of adverse actions. The only difference between cell    towards Plaintiff.” (Doc. No. 101 at 27.) “A jury may be
32 and Roman's preferred cell is that cell 32 lacked “cable       permitted to assess punitive damages in an action under §
access,” meaning Roman could not use his “$300 TV” during         1983 when the defendant's conduct is shown to be motivated
the few hours that he was housed in that cell in February 2023.   by evil motive or intent, or when it involves reckless or callous
(Doc. No. 17 at 19.) 12 The denial of cable, especially for       indifference to the federally protected rights of others.” Smith
such a short period of time, is a de minimis consequence that     v. Wade, 461 U.S. 30, 56, 103 S.Ct. 1625, 75 L.Ed.2d 632
does not rise to the level of an adverse action. See Snider v.    (1983). Although the Court agrees Roman's allegations of
Alvarez, CIVIL ACTION NO. 18-801, 2020 WL 6395499,                intent are sparse, we find it more appropriate to address
at *18 (M.D. Pa. Nov. 2, 2020) (finding that “turning off         this issue at summary judgment. Accordingly, the County's
[the prisoner's] cable-TV for two weeks” did not “meet the        request is denied, with the understanding that the County may,
level of adverse action”); cf. Newmones v. Ransom, No. 1:21-      if warranted, seek dismissal of the punitive damages request
CV-00276-RAL, 2022 WL 4536296, at *5 (W.D. Pa. Sept.              after discovery.
28, 2022) (“The deprivation of cleaning supplies, showers,
and recreation are de minimis inconveniences and not adverse
                                                                  V. CONCLUSION
actions.”).
                                                                  For the reasons discussed above, Roman's Fourteenth
                                                                  Amendment claims against the County survive to the extent
12     In his opposition brief, Roman argues that he              Roman alleges CCP's policies resulted in delayed dental care
       “has clearly proven he suffered some ‘[a]dverse            and the denial of mental health care. The Court also declines
       [a]ction’ at the hands of defendants when


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                                                                    amend is limited, and any new pleading should not exceed the
to strike Roman's request for punitive damages at this time.
                                                                    scope of this Memorandum.
Roman's remaining claims against the County, all of his
claims against the individual County Defendants, and his
claim against Aramark are dismissed. Roman will, however,           All Citations
be given an opportunity to file an amended complaint to
address the issues discussed in this Memorandum to the extent       Slip Copy, 2024 WL 4844792
he can do so in good faith. Roman is warned that leave to

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